Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 1 of 729




                                                             Haiti AR_000377
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 2 of 729




                                                              Haiti AR_000378
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 3 of 729




                                                             Haiti AR_000379
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 4 of 729




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 5 of 729




                                                              Haiti AR_000381
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 6 of 729




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 7 of 729




                                                              Haiti AR_000383
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 8 of 729




                                                             Haiti AR_000384
    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 9 of 729

                                                                            Refugee, Asylum and
                                                                                Int’l Operations
                                                                              Research Division
                              Haiti: Country Conditions Update
                                      August 2022-October 2022
                                    Last Updated: October 13, 2022

According to a UN News article published on September 26, Helen La Lime, head of the United
Nations mission in Haiti, stated that an “economic crisis, a gang crisis, and a political crisis have
converged into a humanitarian catastrophe” in Haiti. 1 The article further noted that:

        The UN estimates that at least 1.5 million people in the Caribbean country have
        been directly impacted by recent unrest, with gender-based violence, and in
        particular rape, being used systematically.

        The economic crisis has caused food prices to soar, while fuel is often available
        only on the black market.

        Protests broke out in Haiti after the Prime Minister announced on 11 September
        that the Government will reduce some $400 million in fuel subsidies in efforts to
        increase revenue for social programmes.

        By the following day, barricades had been erected throughout the country,
        prompting a nationwide shutdown, with the situation persisting in the capital for a
        full five days.

        One of the largest gang alliances also blocked the main fuel terminal there on 12
        September. The siege lasted for over a week, despite concerted operations by the
        police over the weekend. 2

Protests had previously taken place in late August, as the movement calling for acting Prime
Minister Ariel Henry to be removed gathered steam. 3

In mid-October, Reuters reported that a U.S. Department of State spokesman had indicated that
the situation in Haiti "has grown dire.” 4 BBC News stated in August that “an estimated 60% of
Port-au-Prince is now classed as ‘lawless’ by human rights groups.” 5

On October 7, the government of Haiti requested “security assistance to confront gangs” from the
international community. 6 That request remained under review by the U.S. Department of State as
of October 11. 7 In the meantime, the U.S. Coast Guard is sending a cutter “to patrol the waters

1
  Security Council urged to act in face of ‘humanitarian catastrophe’ in Haiti, UN News, Sep. 26, 2022.
2
  Security Council urged to act in face of ‘humanitarian catastrophe’ in Haiti, UN News, Sep. 26, 2022.
3
  Sanon, Evens, Haitians launch protests, demand ouster of prime minister, The Associated Press, Aug. 22, 2022.
4
  Haiti's situation is dire and cannot persist, State Department says, Reuters, Oct. 11, 2022.
5
  Gebreab, Efrem and Isaac, Harold, It's like a warzone - Haitians surrounded by turf wars, BBC News, Aug. 8,
2022.
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  Haiti's situation is dire and cannot persist, State Department says, Reuters, Oct. 11, 2022.
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  Haiti's situation is dire and cannot persist, State Department says, Reuters, Oct. 11, 2022.

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                                                                                                Haiti AR_000385
    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 10 of 729

                                                                            Refugee, Asylum and
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around Port-au-Prince at the request of the Haitian government.” 8 Civil society groups in Haiti
have expressed concern that foreign military intervention will usher in more violence. 9

In addition, the United Nations and the Haitian government have reported a new cholera outbreak,
with the first cases detected between October 1 and 2. 10 These are the first cases reported in more
than three years, as Haiti had attempted to eradicate the disease after a cholera outbreak killed
approximately 10,000 people following the 2010 earthquake. 11 Cholera “spreads easily and can
cause severe diarrhea and dehydration that can be deadly.” 12 As of October 12, at least 18 people
had died 13 and there had been 189 cholera-related hospitalizations since the beginning of this new
outbreak. 14

Médecins Sans Frontières (MSF) explained how the conditions as of early October impacted the
ability to access medical care in Haiti:

        This resurgence of cholera is taking place at a time when Haitian people face
        enormous difficulties in accessing healthcare. Insecurity and violence, coupled with
        severe shortages of fuel and drinking water, have forced many health facilities to
        reduce their activities and in some cases to stop them altogether. In addition to this,
        people who need treatment find it increasingly difficult to move around as public
        transportation is scarcely available due to a lack of fuel in the country. 15

The following list represents a sample of reports, commentary, and articles published since
August 2022 that describe the multifaceted crisis in Haiti:

General

    x   Haiti's situation is dire and cannot persist, State Department says, Reuters, Oct. 11, 2022.

    x   Cursino, Malu, Haiti in a humanitarian catastrophe - UN envoy, BBC News, Sep. 27,
        2022.

    x   Haiti facing ‘humanitarian catastrophe’, says UN envoy, Al Jazeera, Sep. 27, 2022.

8
  Hansler, Jennifer and Atwood, Kylie, US deploying delegation to Haiti amid security and humanitarian crises,
CNN, Oct. 12, 2022.
9
  Taylor, Luke, ‘More bullets, more bloodshed’: Haiti aid groups warn against request for foreign forces, The
Guardian, Oct. 9, 2022.
10
   Mérancourt, Widlore, Kasulis Cho, Kelly, and Coletta, Amanda, Cholera resurfaces in Haiti as gangs hinder
access to water, hospitals, The Washington Post, Oct. 3, 2022.
11
   Mérancourt, Widlore, Kasulis Cho, Kelly, and Coletta, Amanda, Cholera resurfaces in Haiti as gangs hinder
access to water, hospitals, The Washington Post, Oct. 3, 2022.
12
   Coto, Dánica, Concerns grow as cholera spreads through Haiti’s prisons, The Associated Press, Oct. 12, 2022.
13
   Coto, Dánica, Concerns grow as cholera spreads through Haiti’s prisons, The Associated Press, Oct. 12, 2022.
14
   Disease Outbreak News: Cholera - Haiti (12 October 2022), World Health Organization, Oct. 13, 2022.
15
   MSF responds to a resurgence of cholera cases amid insecurity and violence, Médecins Sans Frontières (MSF),
Oct. 4, 2022.

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  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 11 of 729

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                                                                       Int’l Operations
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   x     Security Council urged to act in face of ‘humanitarian catastrophe’ in Haiti, UN News,
         Sep. 26, 2022.

Food, Fuel, and Water Shortages

   x     Shellenberger, Michael, Haiti Riots Triggered by IMF Advice To Cut Fuel
         Subsidies, Forbes, Sep. 22, 2022.

   x     Milfort, Milo, Kurmanaev, Anatoly, and Paultre, Andre, Haiti unrest worsens misery as
         residences face water shortage, Reuters, Sep. 18, 2022.

   x     Haiti Unrest Worsens Hunt for Water as Storm Approaches, Voice of America, Sep. 17,
         2022.

   x     Fuel Hike Plunges Haiti Into Near Anarchy, The New York Times, Sep. 16, 2022.

   x     Sanon, Evens, and Coto, Dánica, Many still seeking food, shelter a year after Haiti
         quake, The Associated Press, Aug. 21, 2022.

Gang Violence

   x     Taylor, Luke, They have no fear and no mercy’: gang rule engulfs Haitian capital, The
         Guardian, Sep. 18, 2022.

   x     Police in Haiti blame gang members for slaying of 3 officers, The Associated Press, Sep.
         15, 2022.

   x     Gebreab, Efrem and Isaac, Harold, It's like a warzone - Haitians surrounded by turf wars,
         BBC News, Aug. 8, 2022.

   x     Video: Haiti’s gangs: What can be done to loosen their grip?, Al Jazeera, Aug. 8, 2022.

Health

   x     Disease Outbreak News: Cholera - Haiti (12 October 2022), World Health Organization,
         Oct. 13, 2022.

   x     Coto, Dánica, Concerns grow as cholera spreads through Haiti’s prisons, The Associated
         Press, Oct. 12, 2022.

   x     Mérancourt, Widlore, Kasulis Cho, Kelly, and Coletta, Amanda, Cholera resurfaces in
         Haiti as gangs hinder access to water, hospitals, The Washington Post, Oct. 3, 2022.



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                                                                                   Haiti AR_000387
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 12 of 729

                                                                    Refugee, Asylum and
                                                                        Int’l Operations
                                                                      Research Division
    x   Haiti hospitals prepare to close as gangs blockade fuel supplies, Al Jazeera, Sep. 27,
        2022.

    x   Lives being lost in Haiti as life-saving health services risk coming to “standstill”, United
        Nations Children's Fund (UNICEF), Sep. 26, 2022.

Natural Disasters

    x   Mérancourt, Widlore and Coletta, Amanda, A year after deadly earthquake, Haitians feel
        ‘abandoned’, The Washington Post, Aug. 21, 2022.

Political Crisis:

    x   Ellsworth, Brian, Haiti activists rally at White House seeking end of U.S. support for
        Henry, Reuters, Oct. 9, 2022.

    x   Bernal, Rafael, More than 100 groups call on Biden to drop support for Haitian prime
        minister, The Hill, Sep. 16, 2022.

    x   Sanon, Evens, and Coto, Dánica, Haiti reveals ‘colossal loss’ of $4M worth of corruption,
        The Associated Press, Aug. 26, 2022.

Protests

    x   Buschschlüter, Vanessa, Haiti crisis: Clashes and looting as anger boils over, BBC News,
        Oct. 11, 2022.

    x   Mérancourt, Widlore and Coletta, Amanda, Steep fuel price hikes spark violent protests
        in Haiti, The Washington Post, Sep. 16, 2022.

    x   Sanon, Evens, Haiti to raise fuel prices, setting off street protests, The Associated Press,
        Sep. 14, 2022.

    x   Haiti sees more protests as fuel price hike worsens public anger, Al Jazeera, Sep. 14,
        2022.

    x   Sanon, Evens, Thousands across Haiti demand ouster of PM in new protest, The
        Associated Press, Sep. 7, 2022.

    x   Photos: Haitian protesters call for the PM to resign, Al Jazeera, Aug. 30, 2022.

    x   Sanon, Evens, Haitians launch protests, demand ouster of prime minister, The Associated
        Press, Aug. 22, 2022.


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                                                                                     Haiti AR_000388
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 13 of 729

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                                                                      Int’l Operations
                                                                    Research Division
Request for Foreign Intervention

   x   Coto, Dánica, US to pull visas of Haitian officials, send assistance, The Associated Press,
       Oct. 12, 2022.

   x   Hansler, Jennifer and Atwood, Kylie, US deploying delegation to Haiti amid security and
       humanitarian crises, CNN, Oct. 12, 2022.

   x   Taylor, Luke, ‘More bullets, more bloodshed’: Haiti aid groups warn against request for
       foreign forces, The Guardian, Oct. 9, 2022.

   x   Haiti government prepares to ask for ‘specialized armed force’ from abroad, The
       Guardian, Oct. 7, 2022.

   x   Thomas, Merlyn, Haiti asks world for military help to curb chaos, BBC News, Oct. 7,
       2022.

   x   Ellsworth, Brian and Isaac, Harold, Haiti to seek a foreign armed force to combat gangs,
       decree says, Reuters, Oct. 7, 2022.




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    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 14 of 729

                                                                                Refugee, Asylum and
                                                                                    Int’l Operations
                                                                                      Research Unit
                          Temporary Protected Status (TPS) Considerations
                                              Haiti
                                       June 2021-July 2022

                                                      Overview

According to Agence France-Presse, “Haiti today is mired by grinding poverty, murderous
gangs who control large parts of the capital, and political chaos.” 1 The second half of 2021 in
Haiti was marked by two major events: “the assassination of President Jovenel Moïse on 7 July,
and an earthquake with a magnitude of 7.2 that struck south-western Haiti on 14 August.” 2 The
investigation into the assassination remains “stalled” more than a year later. 3 The earthquake
affected “more than 800,000 people, including 340,000 children,” and caused “an estimated
US$1.6 billion in economic losses.” 4

The United Nations Security Council reported in February 2022 that “gang violence continues to
terrorize communities across Haiti.” 5 The number of gangs in Port-au-Prince has “skyrocketed”
since the assassination of President Moïse in July 2021. 6 According to the United Nations Office
for the Coordination of Humanitarian Affairs (UNOCHA), “violent clashes between armed
gangs have dominated socio-economic life in the Port-au-Prince metropolitan area” since June
2021, and “[t]he security situation has deteriorated significantly and reached new levels since the
end of April 2022.” 7 Haiti faces other challenges as well, including “civil unrest, a power
vacuum at all levels, ineffective law enforcement and a flood of firearms onto the island.” 8

In a March 2022 report about conditions in Haiti for returnees, Human Rights Watch noted that:

         Returns to Haiti are life-threatening now, and will continue to be so, until security
         conditions in Haiti improve. [...] Haiti is experiencing a dire security situation,
         including loss of government control over strategic areas to the hands of dangerous
         armed gangs, widely believed to be financed by politicians and to have police
         officers on their payroll. Violence has worsened an already severe humanitarian
         crisis. 9



1
  Haiti's colonial debt burden sparks debate -- but official silence, Agence France-Presse, May 24, 2022.
2
  Country Office Annual Report 2021: Haiti, United Nations Children’s Fund (UNICEF), p.1, Mar. 2022.
3
  A year after Haiti’s president assassinated, investigation stalls amid political crisis, Agence France-Presse, Jul. 7,
2022.
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  Country Office Annual Report 2021: Haiti, United Nations Children’s Fund (UNICEF), p.1, Mar. 2022.
5
  Haiti’s Road to Sustainable Democracy Dependent on Rebuilding Crumbling Institutions, Inclusive Dialogue,
Timely Elections, Special Representative Tells Security Council, United Nations Security Council, Feb. 19, 2022.
6
  In Haiti, gang violence strains aid operations and demands new approaches, The New Humanitarian, Feb. 7, 2022.
7
  Haiti: Impact of the deteriorating security situation on humanitarian access: Background note - 8 July 2022, UN
Office for the Coordination of Humanitarian Affairs (OCHA), Jul. 8, 2022.
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  Haiti’s Road to Sustainable Democracy Dependent on Rebuilding Crumbling Institutions, Inclusive Dialogue,
Timely Elections, Special Representative Tells Security Council, United Nations Security Council, Feb. 19, 2022.
9
  Haitians Being Returned to a Country in Chaos, Human Rights Watch, Mar. 24, 2022.

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     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 15 of 729

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The United States Agency for International Development (USAID) summarized the findings of
the United Nations’ 2022 Humanitarian Needs Overview (HNO) for Haiti:

        Food insecurity, political instability, violence related to organized criminal group
        (OCG) activity, limited access to essential services, and exposure to natural
        hazards—including the August 2021 earthquake and tropical storms—have further
        escalated humanitarian needs during 2022, according to the UN. Areas affected by
        the August 2021 earthquake—including Grand’Anse, Nippes, and Sud
        departments—are among the regions with the greatest humanitarian needs, as well
        as Ouest, Nord-Ouest, and Centre departments, where recurring drought has
        exacerbated acute food insecurity conditions; significant humanitarian needs also
        persist in areas along the Haiti-Dominican Republic border. 10

Per the United Nations Security Council, “4.9 million people — 43 per cent of the
population” of Haiti need humanitarian assistance in 2022. 11

                                                    Security

In a travel advisory issued on July 5, 2022, the U.S. Department of State categorized Haiti as
“Level 4: Do not travel” due to “kidnapping, crime, and civil unrest.” 12 The travel advisory also
noted that:

        Kidnapping is widespread and victims regularly include U.S. citizens. Kidnappers
        may use sophisticated planning or take advantage of unplanned opportunities, and
        even convoys have been attacked. Kidnapping cases often involve ransom
        negotiations and U.S. citizen victims have been physically harmed during
        kidnappings. Victim’s families have paid thousands of dollars to rescue their family
        members.

        Violent crime, such as armed robbery and carjacking, is common. Travelers are
        sometimes followed and violently attacked and robbed shortly after leaving the
        Port-au-Prince international airport. Robbers and carjackers also attack private
        vehicles stuck in heavy traffic congestion and often target lone drivers, particularly
        women. [...]

        Protests, demonstrations, tire burning, and roadblocks are frequent, unpredictable,
        and can turn violent. [...] Local police generally lack the resources to respond
        effectively to serious criminal incidents. 13

10
   Haiti: Complex Emergency Fact Sheet #5 Fiscal Year (FY) 2022, U.S. Agency for International Development
(USAID), May 4, 2022.
11
   Haiti’s Road to Sustainable Democracy Dependent on Rebuilding Crumbling Institutions, Inclusive Dialogue,
Timely Elections, Special Representative Tells Security Council, United Nations Security Council, Feb. 19, 2022.
12
   Haiti Travel Advisory, U.S. Department of State, Jul. 5, 2022.
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   Haiti Travel Advisory, U.S. Department of State, Jul. 5, 2022.

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     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 16 of 729

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In its most recent country security report published in December 2021, the U.S. Department of
State’s Overseas Security Advisory Council (OSAC) reported on the expansion of gangs in
Haiti:

        Violent criminal gangs pose a growing challenge to state authority, including de
        facto control of territory. The previous two years have witnessed the emergence of
        a new federation uniting urban criminal gangs that control entire neighborhoods
        and extended their reach. This expansion has enabled a wave of kidnappings that
        increasingly target affluent Haitians, although average Haitians have also been
        kidnapping victims. [...]

        There are reports of gangs expanding operations outside of Port-au-Prince, leading
        to increased crime on major routes of travel. Smaller groups of criminals take
        advantage of social unrest and create barricades across roadways to extort anyone
        trying to pass. The Haitian National Police (HNP) has a limited ability to respond
        to this widespread phenomenon.

        Homicides continue to be a major concern. 14

According to UN News, gang violence reached “unprecedented” levels in Haiti in June 2021, as
gangs vied for territorial control in heavily populated areas of Port-au-Prince. 15 In a situation
report dated June 8, 2021, UNOCHA noted that the violence caused displacements that resulted
in “secondary issues, such as the disruption of community-level social functioning, family
separation, increased financial burdens on host families, forced school closures, loss of
livelihoods and a general fear among the affected populations.” 16 In late June 2021, one
prominent gang leader reportedly announced “he was launching a revolution” against Haiti’s
“business and political elites.” 17

Violence has continued to escalate as gangs fight for control of territory. 18 InSight Crime
reported in July 2022 that “kidnappings in the first six months [of 2022] increased 171 percent
compared to the same period last year.” 19 Per The Associated Press, the United Nations Human
Rights Council documented “934 killings, 684 injuries and 680 kidnappings” in Port-au-Prince
from January to June 2022. 20 Neighborhood raids by gangs have caused the closure of “schools,
businesses, and hospitals.” 21 In a May 2022 press release, the United Nations Office of the High
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   Haiti Country Security Report, U.S. Department of State’s Overseas Security Advisory Council (OSAC), Dec. 22,
2021.
15
   ‘Unprecedented’ rise in gang violence across Haiti’s capital displaces thousands, UN News, Jun. 10, 2021.
16
   Haiti: Displacement in Port-au-Prince Situation Report No. 1 - As of 8 June 2021, UN Office for the Coordination
of Humanitarian Affairs (UNOCHA), Jun. 8, 2021.
17
   Haiti gang leader launches 'revolution' as violence escalates, Reuters, Jun. 24, 2022.
18
   In worsening gang fighting in Haiti, 20 dead, thousands displaced, Al Jazeera, Apr. 28, 2022.
19
   Den Held, Douwe, Kidnappings of UN Staff, Diplomats in Haiti Could Help Police Get More Funding, InSight
Crime, Jul. 6, 2022.
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   UN decries rising death toll, rights violations in Haiti, The Associated Press, Jul. 18, 2022.
21
   Sanon, Evens, and Coto, Dánica, Gangs strangle Haiti’s capital as deaths, kidnappings soar, The Associated Press,
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                                                                                                 Haiti AR_000392
     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 17 of 729

                                                                             Refugee, Asylum and
                                                                                 Int’l Operations
                                                                                   Research Unit
Commissioner for Human Rights (OHCHR) described the terror being visited on Haiti’s
population by gangs:

        Extreme violence has been reported, including beheadings, chopping and burning
        of bodies, and the killing of minors accused of being informants for a rival gang.
        Sexual violence, including gang rape of children as young as 10, has also been used
        by armed gang members to terrorize and punish people living in areas controlled
        by rival gangs. Sources also reported the presence of minors in the gangs.

        “Armed violence has reached unimaginable and intolerable levels in Haiti,”
        [Michele] Bachelet [the United Nations High Commissioner for Human Rights]
        said. 22

According to Reuters, “turf wars between gangs in April and May killed 150 people and forced
some 10,000 from their homes.” 23 Ten days of gun battles in Cité Soleil in July 2022 “killed at
least 300 people and left some 160 wounded. The battles have intensified of late in the northern
and north-eastern districts of Port-au-Prince, threatening to cut off the capital from the rest of the
country.” 24 Gang violence has limited access to other parts of the country, as conveyed by the
World Food Programme (WFP) in a July 2022 report:

        The complete blockage of the road leading to the impoverished southern peninsula
        for a year has cut off at least 3.5 million people from the capital — restricting access
        to markets, basic services and essential humanitarian assistance. Recent clashes
        have also compromised access to the north.” 25

The Washington Post noted this past June that some analysts estimate that gangs “control 60
percent of the country and are on the brink of becoming, collectively, a ‘proto state.’” 26 On July
30, 2022, The New York Times reported that:

        Gangs are increasing their chokehold on Haiti’s capital, using bulldozers to raze
        entire neighborhoods, overwhelming poorly armed police and taking their violence
        to within blocks of the seat of government.




22
   Haiti: Bachelet deeply disturbed by human rights impact of deteriorating security situation in Port-au-Prince,
Office of the High Commissioner for Human Rights (OHCHR), May 17, 2022.
23
   Isaac, Harold and Ellsworth, Brian, Haiti marks anniversary of Moise murder as gang violence spirals, Reuters,
Jul. 7, 2022.
24
   Da Rin, Diego, New Gang Battle Lines Scar Haiti as Political Deadlock Persists, International Crisis Group, Jul.
27, 2022.
25
   Haiti: Violence fuels hunger amid political instability, World Food Programme (WFP), Jul. 18, 2022.
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   Mérancourt, Widlore, and Coletta, Amanda, Haiti’s gangs use TikTok, Instagram, Twitter to recruit and terrorize,
The Washington Post, Jun. 11, 2022.

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                                                                                                 Haiti AR_000393
     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 18 of 729

                                                                           Refugee, Asylum and
                                                                               Int’l Operations
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        While Haitians have endured relentless bloodshed and tragedy for years, the
        escalation of lawlessness in recent weeks and the government’s inability to exert
        control has terrified the nation.

        Government agencies and ministries have urged employees to stay home as gangs
        expand their territory and are now close to the presidential palace, the interior
        ministry, the central bank and the national penitentiary, where hungry prisoners are
        threatening to riot, officials warn. 27

UN News reported that some gangs had resorted “to extreme tactics to control locals such as
denying them access to drinking water and food.” 28 The Associated Press noted that these tactics
have “aggravated malnutrition.” 29

In July 2022, “a major fuel terminal [was] forced to halt operations due to a turf war between
rival gangs in a town outside the capital that has killed at least 50 people.” 30 The New York Times
previously described the manner in which gangs exert control over access to fuel in Haiti, where
even electricity is dependent on gasoline-powered generators:

        A severe fuel shortage is pushing the nation to the brink of collapse because gangs,
        not the government, rule about half of the nation’s capital.

        With gangs holding up fuel trucks at will, truck drivers have refused to go to work,
        setting off a nationwide strike by transportation workers and paralyzing a nation
        dependent on generators for much of its power. [...]

        Jimmy Cherizier, one of the country’s most feared gang leaders, acknowledged that
        his criminal network was blocking the delivery of fuel. His intention, Mr. Cherizier
        said, was not to hurt ordinary people, but to put pressure on Haiti’s political and
        business elite and push for the prime minister’s resignation. [...]

        In many countries, a fuel shortage would mean transportation is disrupted. In Haiti,
        where the electrical grid is unreliable, all the services and institutions that keep the
        country running — banks, hospitals, cell towers, businesses — get their power from
        generators, said Maarten Boute, the chief executive of Digicel Haiti, the country’s
        largest mobile and broadband network provider.

        Without fuel, “everything just shuts down,” Mr. Boute said. 31

27
    Abi-Habib, Maria, and Paultre, Andre, Gangs Advance on the Seat of Haitian Government Power: ‘Haitians Are
Hostages’, July 30, 2022.
28
    Haiti: UN sounds alarm over worsening gang violence across Port-au-Prince, UN News, Jul. 16, 2022.
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   Isaac, Harold and Ellsworth, Brian, Haiti demonstrators block Port-au-Prince roads to protest fuel shortages,
Reuters, Jul. 13, 2022.
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    Kitroeff, Natalie and Abi-Habib, Maria, Gangs Rule Much of Haiti. For Many, It Means No Fuel, No Power, No
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                                                                                               Haiti AR_000394
     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 19 of 729

                                                                            Refugee, Asylum and
                                                                                Int’l Operations
                                                                                  Research Unit
                                                Political Crisis

After Jovenel Moïse’s assassination on July 7, 2021, Claude Joseph, the acting prime minister at
the time, took charge of the country. 32 Joseph resigned several days later “after a brief power
struggle with the nation’s appointed prime minister, Ariel Henry.” 33 Moïse had appointed Henry
as prime minister two days before the assassination, but Moïse died before Henry could be sworn
in. 34 Claude Joseph had argued that Ariel Henry did not have a “right to the leadership position
without the swearing-in ceremony.” 35 In its 2022 Freedom in the World Report, Freedom House
indicated that a group of diplomats known as the Core Group influenced Joseph’s decision to step
down:

        The assassination set off a dispute among the local political, civic, and economic
        actors as to who should head the executive branch, but key diplomatic
        representatives in the country—known as the Core Group—called on Henry to lead
        a new government, and Joseph stepped down. [...]

        The assassination of President Moïse and its aftermath represented a further
        degradation of the democratic autonomy of Haitian citizens and politicians. In
        addition to the violence and criminality associated with the murder itself, many
        observers decried the role of the Core Group—comprising ambassadors or
        representatives from Brazil, Canada, France, Germany, Spain, the United States,
        the European Union, the Organization of American States, and the United
        Nations—in confirming Ariel Henry as the new acting prime minister and acting
        president. In a September 2021 resignation letter, the US special envoy to Haiti,
        Daniel Foote, denounced the diplomatic endorsement of Henry, arguing that it
        improperly sidelined an alternative plan advanced by a commission of Haitian civil
        society representatives, which called for a longer transition period to enable
        thorough institutional reforms before any elections or political settlement. 36

As The New Humanitarian reported in February 2022, Ariel Henry failed to leave office on
February 7, the day that Jovenel Moïse’s term would have ended. 37 The media outlet assessed
that this decision “prolongs the political uncertainty and raises the prospect of renewed
violence,” and also noted that “[n]o date has been set for new general elections […] largely due


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   Freedom in the World 2022: Haiti, Freedom House, Feb. 28, 2022.
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   Obert, Jess DiPierro and Dupraz-Dobias, Paula, In Haiti, gang violence strains aid operations and demands new
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     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 20 of 729

                                                                             Refugee, Asylum and
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to the gang violence and insecurity.” 38 Henry is a suspect in the assassination of Jovenel Moïse,
and he has “fired government officials who summoned him for questioning in the case.” 39

The last presidential elections were held in Haiti in November 2016. 40 Parliamentary elections
were scheduled for 2019 but “have yet to be held.” 41 Reuters reported in March 2022 that Henry
“has promised to hold elections but has made little progress in creating an elections council - a
crucial first step for holding a vote.” 42

The New Humanitarian reported in February 2022 that “[e]lections are meant to take place this
year, but no date has been set – largely because of the gang violence, and due to infighting between
Henry and civil society groups who want a transitional two-year government to assume power.” 43
Many of those civil society groups have united into an opposition coalition that is now referred to
as the Montana Accord, 44 which has advocated the removal of Ariel Henry and the institution of a
transitional government “to restore security before ultimately holding elections.” 45

The Montana Accord argues that Ariel Henry’s government is illegitimate and unconstitutional.46
In a February 2022 article, The New York Times cited analysts who noted that while the Montana
Accord’s proposed transitional government “would also be unconstitutional,” it would
nevertheless:

        have more legitimacy than the Henry government because the group — made up of
        civil society organizations and powerful political figures — represents a wider array
        of the population than the current government, which was voted in with an
        abysmally low turnout. 47


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   Obert, Jess DiPierro and Dupraz-Dobias, Paula, In Haiti, gang violence strains aid operations and demands new
approaches, The New Humanitarian, Feb. 7, 2022.
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   Abi-Habib, Maria, A Year Since a President’s Murder, Haitians Keep Waiting to Hit Rock Bottom, The New
York Times, Jul. 6, 2022.
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   Fauriol, Georges A., Haiti’s Problematic Electoral Dynamics, Global Americans, Dec. 21, 2021.
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   Fauriol, Georges A., Haiti’s Problematic Electoral Dynamics, Global Americans, Dec. 21, 2021.
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   Ellsworth, Brian, Seven U.S. members of Congress call on Biden to withdraw support for Haiti's Henry, Reuters,
Mar. 17, 2022.
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   Obert, Jess DiPierro, Can Haiti’s gangs help build a better future for the country?, The New Humanitarian, Feb.
14, 2022.
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   The name “Montana Accord” also refers to “a power-sharing transition plan ratified by over 900 groups.” See:
Schuller, Mark, Why Haiti Advocacy Needs New Strategies, NACLA, Mar. 2, 2022.
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   Abi-Habib, Maria and Kitroeff, Natalie, Haiti Opposition Group Calls on U.S. to End Support for Current
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Government, The New York Times, Feb. 6, 2022. The “abysmally low” voter turnout mentioned here refers to the
turnout for the November 2016 presidential “redo” election, which Jovenel Moïse won. See: Charlemagne,
Catherine, The Record Low Voter Participation in Haiti’s 2016 Election, Haïti Liberté, Dec. 28, 2016. Ariel Henry
is in office because Moïse named him as prime minister just days before he was assassinated, and Henry’s
government includes the remnants of the Moïse administration.

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     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 21 of 729

                                                                          Refugee, Asylum and
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                                                  Economy

The World Bank provided an overview of Haiti’s economic difficulties in June 2022:

        Haiti's economic and social development continues to be hindered by political
        instability, increasing violence, [and an] unprecedented level of insecurity,
        exacerbating fragility. Haiti remains the poorest country in the LAC 48 region and
        among the poorest countries in the world. In 2021, Haiti had a GDP 49 per capita of
        US$1,815, the lowest in the LAC region and less than a fifth of the LAC average
        of US$15,092. On the UN’s Human Development Index, Haiti ranked 170 out of
        189 countries in 2020. [...]

        Past marginal gains in poverty reduction have been undone by a succession of
        crises, including the COVID19 pandemic and the assassination of the President
        Jovenel Moïse, and natural hazard shocks, such as the August 2021 earthquake and
        tropical storm Grace. Latest estimates put the 2021 poverty rate, using a lower-
        middle income country poverty line of US$ 3.2, at 52.3 percent, up from 51 percent
        in 2020. Haiti is also among the countries with the greatest inequality in the region.
        This is largely due to two thirds of the poor living in rural areas and the adverse
        conditions for agricultural production, creating a welfare gap between urban and
        rural areas. The richest 20 percent of its population holds more than 64 percent of
        its total wealth, while the poorest 20 percent has less than one percent. 50

In May 2022, The New York Times released a multi-part report titled “The Ransom” about its
extensive investigation into Haiti’s payments to France and the United States for the debt that Haiti
incurred to secure its independence and that “cost Haiti from $21 billion to $115 billion in lost
economic growth.” 51 National Public Radio (NPR) noted that these payments – which were
essentially reparations to former slaveholders – have had a lasting negative impact on Haiti’s
development. 52

                                        Healthcare & COVID-19

In August 2021, USAID reported that Haiti’s health sector:

        continues to face significant challenges. Weak governance and coordination, geographic
        and financial barriers to access health services, shortages of essential medicines, and the
        difficulty of attracting and retaining qualified health professionals, are all chronic
        struggles for the Ministry of Health (MOH). 53
48
   Latin America and the Caribbean.
49
   Gross Domestic Product.
50
   The World Bank in Haiti, The World Bank, Jun. 14, 2022.
51
   Nagourney, Eric, 6 Takeaways About Haiti’s Reparations to France, The New York Times, May 20, 2022.
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   Rosalsky, Greg, 'The Greatest Heist In History': How Haiti Was Forced To Pay Reparations For Freedom,
National Public Radio (NPR), Oct. 5, 2021.
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   Haiti: Health, U.S. Agency for International Development (USAID), Aug. 3, 2021.

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     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 22 of 729

                                                                               Refugee, Asylum and
                                                                                   Int’l Operations
                                                                                     Research Unit

Gang violence and kidnappings have affected the health sector in Haiti where—according to the
United Nations Integrated Office in Haiti (BINUH)—doctors and healthcare workers are among
the most targeted individuals for kidnappings, and violence has led to closures of healthcare
facilities:

         Kidnappings continued to be a feature of Haitian daily life and a source of
         revenue for gangs. While kidnappers have not spared any social group, doctors,
         lawyers, health-care workers, professors and human rights defenders are some of
         the categories most affected, while kidnapped women and girls are highly likely to
         be subjected to sexual and gender-based violence during their captivity. To protest
         against kidnapping, health-care workers, students and public transportation drivers
         demonstrated around the capital from 14 to 16 March [2022]. Private hospitals and
         clinics joined these protests by holding a work stoppage. [...]

         Gang violence interrupted specialized emergency and paediatric services; on 1
         April [2022], Médecins sans frontières temporarily closed its Cité Soleil hospital
         out of fear for the safety of its personnel and patients. 54

Médecins sans Frontières (Doctors Without Borders, MSF) said in July 2021 that the “permanent
state of insecurity limits people’s access to healthcare. The healthcare system is already
extremely unequal, with private healthcare available only to those who can afford it, while public
health facilities lack essential resources.” 55 In August 2021, MSF permanently closed its hospital
in Martissant, a neighborhood near Port-au-Prince, due to security concerns. 56 In October 2021,
MSF issued a press release explaining that Haiti’s fuel shortage forced them “to limit patients”
and only treat “life-threatening emergencies,” while also noting that “many other medical
structures, both private and public, have also had their services disrupted.” 57 Security problems
continued to negatively impact MSF’s operations and access to medical care in general through
July 2022. 58

Haiti received its first doses of COVID-19 vaccine in July 2021, prior to which it was the only
country in Latin America without any doses. 59 In mid-June 2022, BINUH reported that:

         Haiti has experienced five waves of COVID-19, the last three having coincided
         with the emergence of different variants of the virus. As at 6 June, 30,892 cases of

54
   Report of the Secretary-General [S/2022/481], UN Security Council: United Nations Integrated Office in Haiti
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   Four questions on the tumultuous situation in Haiti, Médecins sans Frontières (MSF), Jul. 14, 2021.
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   Médecins sans Frontières closes hospital in Haiti amid rising gang violence, Agence France-Presse, Aug. 3, 2021.
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   Dozens of people hit by stray bullets as fierce violence flares up again in Port-au-Prince, Médecins sans Frontières
(MSF), Jul. 29, 2022. See also: Haiti: Attacks on medical staff leave population without health care, Médecins sans
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     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 23 of 729

                                                                            Refugee, Asylum and
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        COVID-19 and 835 deaths have been reported, while the current rates of incidence
        and hospitalization remain very low. Vaccination efforts continue with ample
        quantities of vaccines available in the country. Nevertheless, absorption rates
        among the population remain low owing to operational constraints and vaccine
        hesitancy. Currently, there are 148 active vaccination sites in Haiti; however, as at
        29 May, only 1.8 per cent of the eligible population was fully vaccinated. 60

                            Natural Disasters & Environmental Concerns

According to The World Bank, Haiti is “highly vulnerable” to “natural hazards, such as
hurricanes, flooding, and earthquakes.” 61 Haiti placed third on the 2021 Global Climate Risk
Index 62 “among the countries most affected by extreme weather events from 2000 to 2019.” 63

On August 14, 2021, Haiti’s southern peninsula was struck by a 7.2 magnitude earthquake:

        The 7.2-magnitude earthquake on 14 August 2021, with its epicentre 13 km
        southeast of Petit Troup de Nippes (Nippes department) had a severe impact on
        Haiti’s departments of Sud, Nippes and Grand ‘Anse. The Haitian General
        Directorate of Civil Protection (DGPC) reported 2,248 deaths; 12,763 injured
        people; and 329 people who remain missing; this institution has identified 53,815
        destroyed homes and 83,770 damaged homes.

        Following the 14 August earthquake, more than 900 aftershocks have been
        registered; of these, 400 have had a magnitude of 3 or more. This includes a 4.85
        magnitude aftershock on 18 August that provoked the collapse of already damaged
        structures. Following the rapid assessment done by the Haitian departmental health
        directorates, with PAHO/ WHO support, a total of 88 health centres have been
        identified as severely damaged (28) and slightly damaged (60).3 According to a
        satellite assessment by the World Bank, quoted by the DGPC, the country has
        approximately 1.5 billion US dollars (or 10 per cent of Haiti’s gross domestic
        product) in economic damage and losses. 64




60
   Report of the Secretary-General [S/2022/481], UN Security Council: United Nations Integrated Office in Haiti
(BINUH), p.13, Jun. 13, 2022.
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   Carrasco, Naraya, Varotto, Francesco, and Wrede, Peter, Haiti’s Path to Building Financial Resilience Against
Disasters, The World Bank Group, Oct. 13, 2021.
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   Global Climate Risk Index 2021, GermanWatch, Jan. 25, 2021. The Global Climate Risk Index for 2022 has not
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   Haiti, World Food Programme, undated, accessed on Aug. 2, 2022,
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   Haiti: Earthquake - Operation 6-month Update, EmergeQF\$SSHDOʋ0'5+7, International Federation of
Red Cross and Red Crescent Societies (IFRC), Jun. 1, 2022.

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     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 24 of 729

                                                                          Refugee, Asylum and
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Tropical Storm Grace hit three days later, causing flooding in “many of the same areas” hit
by the earthquake and hindering “rescue and relief efforts in the aftermath of the
earthquake.” 65

According to the United Nations Children's Fund (UNICEF), the August 2021 earthquake
affected over 800,000 people and “worsened the already difficult humanitarian situation in the
country,” causing “damages and economic losses” of approximately “US$1.6 billion, about 10
per cent of the country’s gross domestic product.” 66

                             Housing Shortage & Internal Displacement

One of Haiti’s long-term challenges is a shortage of “adequate, affordable housing.” 67 USAID
has identified four major factors contributing to Haiti’s housing challenges: 1) a lack of quality
housing; 2) unplanned urban growth in informal settlements that “lack access to basic services
and are often located in high-risk zones”; 3) limited capacity on the part of the government to
manage the housing shortage; and 4) unclear land tenure, particularly in low-income areas where
“land tenure is governed by a range of informal arrangements between renters and owners.” 68

The International Displacement Monitoring Centre (IDMC) noted a number of factors that
contributed to displacement in Haiti in 2021:

        Haiti is highly vulnerable to a range of natural hazards, including hurricanes, floods
        and earthquakes. The country has also been struggling with a contracting economy
        and deepening poverty that were driving instability and insecurity even before the
        onset of Covid-19. Criminal and gang violence have been on the increase since
        2018. These factors combined to trigger an increasing number of internal
        displacements associated with both disasters and violence in 2021. [...]

        Around 220,000 people were living in displacement as a result of disasters across
        the country at the end of the year [2021].

        The disasters of 2021 added to an already fragile situation marked by escalating
        gang violence that triggered 20,000 new movements, an increase of 157 per cent
        on 2020 and the highest figure for this type of displacement ever recorded for the
        country. Most took place between January and June, but the violence continued in
        the second half of the year as criminal gangs took advantage of the instability
        caused by the assassination of the country’s president, Jovenel Moïse, on 7 July.


65
   Country Profile: Haiti 2021, International Displacement Monitoring Centre (IDMC), last updated May 18, 2022.
66
   Earthquake Haiti Humanitarian Situation Report No. 8, United Nations Children's Fund (UNICEF), p.2, Dec. 10,
2021.
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   Housing & Settlements – Haiti, U.S. Agency for International Development (USAID), last updated Aug. 3, 2021,
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     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 25 of 729

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        Gang activity also impeded the delivery of assistance to areas affected by both
        violence and disasters. 69

                                               Food Insecurity

In March 2022, the Integrated Food Security Phase Classification (IPC) categorized Haiti as
experiencing “acute food insecurity,” with 44% of the population at the crisis level or worse. 70
The WFP notes that Haiti “has one of the highest levels of chronic food insecurity in the world
with more than half of its total population chronically food insecure and 22 percent of children
chronically malnourished.” 71

The WFP described the gravity of the hunger crisis facing “almost half the population of Haiti”
in a July 2022 article:

        With almost half the population of Haiti already facing hunger, rising inflation, high
        costs of food and fuel and the deteriorating security situation are pushing Haitians
        over the edge.

        Hunger levels are set to rise as the war in Ukraine continues to impact global
        supplies and surging gang violence restricts movements of goods in the country.
        The island nation is particularly vulnerable to shocks in the global food and fuel
        markets as it imports 70 percent of its cereals. Haiti is already seeing a staggering
        inflation of 26 percent. 72

The New Humanitarian reported in February 2022 that the prices of some staples had increased
significantly, especially in the southern peninsula after the earthquake:

        In the capital [Port-au-Prince], a bag of rice weighing roughly 2.7 kilograms has
        doubled in price to 500 gourdes ($5) in the last few years, while a pack of pasta has
        nearly doubled to 55 gourdes, said Adeline Chéry, a 56-year-old who works as a
        cook in a private home.

        Things are worse in the southern peninsula, which was most affected by the August
        earthquake. In Jérémie, nearly 200 kilometres west of Port-au-Prince, a 12.5-
        kilogram sack of rice costs 3,600 gourdes ($35), said hair braider Roselène Milfor,
        36. “Even when I'm able to make 500 gourdes ($5), you can't make it last,” she told
        The New Humanitarian by phone.



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   Country Profile: Haiti 2021, International Displacement Monitoring Centre (IDMC), last updated May 18, 2022.
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   Haiti: Integrated Food Security Phase Classification Snapshot, Integrated Food Security Phase Classification
(IPC), Mar. 16, 2022.
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   WFP Haiti Country Brief, April 2022, World Food Programme (WFP), May 25, 2022.
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   Piorr, Theresa, Haiti: Violence fuels hunger amid political instability, World Food Programme (WFP), Jul. 18,
2022.

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     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 26 of 729

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         When there’s no food, some Haitians consume dirt cakes – discs made of mud, salt,
         and vegetable shortening that contain trace amounts of fat and minerals. The cakes,
         also known as “galettes”, are sometimes given to pregnant women and children for
         indigestion. 73

The August 2021 earthquake hit “[o]ne of Haiti’s main food-producing regions, the southern
Tiburon Peninsula.” 74 The New Humanitarian reported in February 2022 that the 2021
earthquake and subsequent storms damaged crops and irrigation systems, and “destroyed
markets, storage facilities, and food processing plants – hits the agricultural sector could ill
afford, especially as much of the maize production comes from the verdant south.” 75

Haiti’s prisons have been hit hard by a malnutrition crisis, where “54 prison deaths related to
malnutrition were documented in Haiti between January and April” of 2022. 76 In June, eight
people reportedly died of malnutrition in a prison “that ran out of food two months” earlier. 77 A
June 2022 BINUH report noted that “[t]he situation continued to deteriorate in Haitian prisons as
the authorities struggled, owing to insufficient funding, to provide two meals daily to
prisoners.” 78




73
   Jean, Sarah, Mary, Evens, and Win, Thin Lei, Can Haiti rebuild a food system broken by disaster, historical
injustice, and neglect?, The New Humanitarian, Feb. 2, 2022.
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   Jean, Sarah, Mary, Evens, and Win, Thin Lei, Can Haiti rebuild a food system broken by disaster, historical
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   Jean, Sarah, Mary, Evens, and Win, Thin Lei, Can Haiti rebuild a food system broken by disaster, historical
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   Sanon, Evens and Coto, Dánica, Official: 8 more die as Haiti prisons lack food, water, The Associated Press, Jun.
23, 2022.
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       <86A0C8>=4E4=C8=A42>A34378BC>AH>5C74*(% 60?8=8=C4;;864=2438BB4<8=0C8>=
       0=38=034@D0C4A4B>DA28=60=3A4B?>=B420?018;8C84BA4BD;C438=')148=6D=?A4?0A43C>
       8=8C80;;H<0=064C74E>;D<40=3B?443>5F7827<86A0=CB8;;460;;H2A>BB438=C>C74*=8C43
       (C0C4B8=0B7>AC?4A8>3>5C8<4 ==2834=C><<0=3%>BC%BC>>3D?1H*(%0=3
       BD??>AC431H=D<4A>DB5434A0;BC0C4;>20;;0F4=5>A24<4=C2><?>=4=CB0=3=>=
       6>E4A=<4=C0;>A60=8I0C8>=B#$B;43455>ACBC><0=064C74"" DA8=6C74 30H
       ""')BD??>AC431H8=C4A=0;0=34GC4A=0;?0AC=4AB4=2>D=C4A43  <86A0=CB
       <0:8=68;;460;4=CAHB44:8=6?0BB0648=C>C74*=8C43(C0C4B 
       ')50243B86=85820=C270;;4=64BF74=C7>DB0=3B>5?A8<0A8;H08C80==0C8>=0;B8;;460;;H
       2A>BB438=C>C74*=8C43(C0C4B8=     0CC74F48A30<0=3022D<D;0C43D=34A=40C7C74
       4;'8>%>AC>5=CAH'!%$=C4A=0C8>=0;A8364 C>=4?>8=CC74<0BB>5
       BD1942CBD=34A=40C7C741A8364A4027430??A>G8<0C4;H     <86A0=CB5A><38554A4=C


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       2>D=CA84B *(%0;>=6F8C78=C4A=0;0=34GC4A=0;?0AC=4AB502432>=38C8>=B2>=B8BC4=C
       F8C7C7>B4>50<0BB20BD0;CHCH?44E4=C?D1;82740;C70=37D<0=8C0A80=2A8B8B ;A403H
       50243F8C7>E4A2A>F343C4<?>A0AH7>;38=65028;8C84B0=3;8<8C436A>D=30=308ACA0=B?>AC
       20?018;8C84B')2>D;3=>CA4;>20C4BD1942CBC>B054A5028;8C84B 4=E8A>=<4=CB5A><C74
       1A83648=0=4G?438C8>DB<0==4A2><<4=BDA0C4F8C7C74=443 "0=H>5C74BD1942CB
       BD554A8=65A><740C4G70DBC8>=>A>C74A2>=38C8>=B=424BB8C0C438<<4380C4<43820;
       0CC4=C8>= 338C8>=0;;H<86A0=CBA4@D8A43F0C4A0=3=>DA8B7<4=CF78;4F08C8=65>A30HB
       8=0A40BC70C1420<48=2A40B8=6;HD=B0=8C0AH 
       (D??>AC431H<D;C8?;4B42C>AB8=C4A=0;0=34GC4A=0;?0AC=4ABC74=2834=C><<0=34A
       4<?;>H43>E4A        ;0F4=5>A24<4=C0=3BD??>AC?4AB>==4;C>5443?A>E834
       64=4A0;0=3<43820;20A4CA0=B?>AC0=3?A>24BBC74<86A0=CB>E4AC74 30HB?0= $=
       (4?C4<14A      ')CA0=B?>AC43C74;0BCA4<08=8=6<86A0=CB5A><D=34A=40C7C74
       1A83640=35>A<0;;HA4CDA=432><<0=3>5>?4A0C8>=B102:C>4;'8>(C0C8>= DA8=6C74
       ""')5>ACD=0C4;H383=>C4G?4A84=240=H<86A0=C340C7BE8>;4=C4E4=CB>ADB4>5
       5>A248=2834=CB 
     /88/43"9'9+2+39
        
        %F8;;?A>C42C>DA=0C8>=NB1>A34AB?4AB>==4;8=5A0BCAD2CDA40=34=BDA4C74740;C70=3
        B054CH>5C74CA0E4;8=6?D1;82F78;4<0=068=6C7445542CB>50;0=3<0BB<86A0C8>=BDA64 
        %F8;;?A>E8340338C8>=0;<0=?>F4A0=3A4B>DA24BC>4;'8>(42C>A0=384;3$55824
        C>4=BDA41>A34AB42DA8CH8=2>>A38=0C8>=F8C7(C0C40=3!>20;;0F4=5>A24<4=C?0AC=4AB 
        
     39+11/-+3)+;+398+'*/3-94;+39
        
            0  (8=24D=4>5      8=C744;'8>(C0C8>='(0A40>5A4B?>=B818;8CH;0A64
                =D<14AB>5<86A0=CB1460=2>=6A460C8=60CC741>D=30AH54=24=40AC74               
                          MF08C8=6C>CDA=C74<B4;E4B8=C>;0F4=5>A24<4=C0=3>A34A%0CA>;
                064=CB )74A4F0B=>B74;C4A0CC78B;>20C8>=5>A<86A0=CB4B?4280;;H50<8;84BF8C7
                ED;=4A01;4?4AB>=BB<0;;278;3A4=0=3?A46=0=C54<0;4BF4A42>=B8BC4=C;H
                4G?4A84=28=6<43820;8BBD4B3D4C>C74740C0=34G?>BDA4C>C744;4<4=CB 
                
            1  $=D;H       ')8<?;4<4=C430C4<?>A0AHBC068=60A40D=34AC74'!
                %$=C4A=0C8>=0;A8364C>0;;>FC745A44;H2>=6A460C8=6<86A0=CBB74;C4A5A><
                C744;4<4=CBF78;4C74HF08C43C>BDAA4=34AC>>A34A%0CA>;064=CB D4C>C74
                =D<14A>5<86A0=CB2>=6A460C8=60CC78B;>20C8>=')?A>E8343B42DA8CH 544C
                >5C4<?>A0AH54=28=6F0C4A5>DA;867C?;0=CBCF4;E4?>AC0?>CC84B70=3F0B78=6
                BC0C8>=B0=33D<?BC4ABC><08=C08=B0=8C0C8>=0=3C>?A4E4=CC74B?A403>538B40B4
                0B<D270B?>BB81;4F8C7;8<8C43A4B>DA24B 
                
            2  $=0E4A06414CF44= C>          <86A0=CBF4A4BC0643D=34AC741A8364F78;4
                ')0AA0=6435>ACA0=B?>AC0C8>=C>E0A8>DBBC0C8>=B0=3>C74A(42C>AB5>A
                ?A>24BB8=6 ;0A64?>AC8>=C74B4<86A0=CBF4A408C80= )74834=C8584320C0;HBC

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               C70C20DB430A0?838=2A40B48=<86A0=CBBC0643D=34AC74=C4A=0C8>=0;A8364F0B
               C74B7>AC=>C82420=24;0C8>=>5)8C;4 4G?D;B8>=5;867CB5A><(4?C4<14A    
               D=C8;(4?C4<14A       C>08C8 )7A>D67?DCF0B8=C4AAD?C430B <86A0=CB
               C70CF4A4?A>24BB435>A4G?D;B8>=5;867CB703C>14A4?A>24BB43C7A>D67>C74A
               0E08;01;438B?>B8C8>=0;?0C7F0HB ')F0B0;A403H7>;38=60??A>G8<0C4;H       
               <86A0=CB8=C4<?>A0AH7>;38=65028;8C84B>E4A8CB20?028CHF74=C74<0BB
               <86A0C8>=4E4=C1460= )74=D<14A>5BC0643<86A0=CBA0?83;H8=2A40B435A><
                >=(4?C4<14A         C>07867>5  >=(4?C4<14A       
        
     #/2+1/3+4,;+398
    0H ,43=4B30H(4?C4<14A        
       • ')7>;38=6  8=2DBC>3H D=?A>24BB43
       • )8C;4 ;867CBC>08C80=24;;43
       • )>C0;')%$A8364=2>D=C4AB
    0H )7DAB30H(4?C4<14A       
       • )>C0;')%$=2>D=C4AB
    
    0HA830H(4?C4<14A      
       • )>C0;')%$=2>D=C4AB
           
    0H(0CDA30H(4?C4<14A          
       • DAA4=CBC0C4>5')%$8B BD1942CBD=34AC741A8364 ">BC0A4834=C858430B
           08C80=<86A0=CB 
       • #D<14AB>58;;460;2A>BB8=6B1468=C>A0?83;H8=2A40B4
           
    0H(D=30H(4?C4<14A        
       • ')7>;38=6  8=2DBC>3H   D=?A>24BB43
       • 338C8>=0;')%$=2>D=C4AB
       • C>C0;>5  <86A0=CB0A4A4?>AC43C>14BC0643D=34AC74')%$A8364

    0H">=30H(4?C4<14A         
       • 338C8>=0;')%$=2>D=C4AB
       • C>C0;>5 <86A0=CB0A4BC0643D=34AC74')%$A8364
    
    0H)D4B30H(4?C4<14A         
       • 338C8>=0;')%$=2>D=C4AB
       • C>C0;>5  <86A0=CB0A4BC0643D=34AC74')%$A8364
       • =C4;;864=24A4?>ACB5D;;270AC4A1DB4B0AA8E48=8D3032D=0F8C7<>A4>=C74F0H

    0H,43=4B30H(4?C4<14A        
       •  <86A0=CBBC0643D=34AC74')%$A8364
       • 4;'8>(42C>AA4@D4BCB0338C8>=0;<0=?>F4A0=3$0BB8BC0=24
       • $E4AC8<46D830=248BD?30C435>A0;;*(%<0=?>F4A

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    0H)7DAB30H(4?C4<14A         
       • =2>D=C4AB8=2A40B4C>>E4A       ?4A30H0=3A0?83;H8=2A40B4
       • C>C0;>5  <86A0=CB0A4BC0643D=34AC74')%$A8364
       • =8C80;A4@D4BCC>2;>B4C744;'8>%$8BBD1<8CC43
       • E80C8>=$?4A0C8>=B8B38A42C43C>A4BD<408C80=5;867CB1468==8=6=4GCF44:
       • $0BB8BC0=241468=BC>0AA8E48=<0BB

    0H A830H(4?C4<14A       
       • ')7>;38=6  8=2DBC>3H   D=?A>24BB43
       • C>C0;>5 <86A0=CB0A4BC0643D=34AC74')%$A8364
       • $4G?0=3B5>A0338C8>=0;$CA02:8=60=3CA0=B?>AC0C8>=2>>A38=0C8>=
       • 4;'8>(42C>A1468=BCA0=B?>AC8=6<86A0=CBC>>C74A(42C>AB5>A?A>24BB8=60BB8BC0=24
       • (+>;D=C44A>A24A40274B7867F0C4A<0A:>5 ?4AB>==4;
       • DA40D>5%A8B>=BA40274B7867F0C4A<0A:>5 ?4AB>==4;
       • )4G0B%(1468=BA4;>20C8=6D?C>       CA>>?4ABC>0BB8BC8=B42DA8=6C741>A34A
       • )4G0B#0C8>=0;D0A38B02C8E0C430=31468=BC>0AA8E48=4;'8>
       • ')%$2;>B4B0C  7>DAB0=3A4A>DC4BCA05582C>C7406;4%0BB%$ 
       • 06;4%0BB%$4=CAH;0=4B0A4A43D243C>>=4;0=4>54=CAH5>A0;;2A>BB1>A34A
          CA05582
       • ;;4;'8>(42C>A742:?>8=CB2;>B43
       • ($">18;4><<0=34=C4A"0AA8E4B0=3142><4B>?4A0C8>=0;0B%
    
    0H (0CDA30H(4?C4<14A        
       • 7867F0C4A<0A:>5  <86A0=CBBC0643D=34AC74')%$1A8364
       • $DCB834C4<?4A0CDA4A40278=6 J07A4=748C 
       • >E4A=<4=C>5"4G82>$"8=2A40B4B455>ACBC>34C4A<86A0=CB8=8D3032D=0
       • $"4BC01;8B74302C8E42742:?>8=CB>=7867F0HB;4038=68=C>C74(C0C4>5
          >07D8;0"4G82> ;;1DB4BF8C7<86A0=CB0A4148=6CDA=430A>D=3 
       • '$8=2A40B4B<0=?>F4ABD??>ACC>4;'8>(42C>A

    0H (D=30H(4?C4<14A         
       • ')7>;38=6 8=2DBC>3H  D=?A>24BB43
       • C>C0;>5  <86A0=CB0A4BC0643D=34AC74')%$1A8364
       • )4G0B%(78CB07867F0C4A<0A:>5          ?4AB>==4;
       • 8ABC)8C;4 G?D;B8>=;867CBC>08C81468=
       • 4;'8>%>;8244?0AC<4=C34?;>H43C>0BB8BC
       • 8==4H>D=CH(74A855NB$5582434?;>H43C>0BB8BC
       • +0;+4A34>D=CH(74A855NB$5582434?;>H43C>0BB8BC

    0H ">=30H(4?C4<14A       
      • C>C0;>5  <86A0=CB0A4BC0643D=34AC74')%$1A8364
      • (")A40274B7867F0C4A<0A:>5 ?4AB>==4;5>A<43820;0BB8BC0=24
      • (0==C>=8>8A44?0AC<4=C?4AB>==4;0AA8E45>A<43820;0BB8BC0=24

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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 32 of 729




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 Case 6:23-cv-00007 Document  93-4 Filed
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     "9'9/89/)8:9)42+8('8+*439.+/3,472'9/43,742+ 1189'9/89/)8'7+
        57+1/2/3'7>8:(0+)994).'3-+'3*8.4:1*(+)438/*+7+*:34,,/)/'1
           0  )>C0;=2>D=C4AB)0=3)   
                       •#>=CAH/>=4>=58A<43 
                       •4;'8>/>=4  
                       •=2>D=C4AB"4G820=#0C8>=0;B0A40<4=01;4C>)8C;4 8<<4380C40=3
                         C74A45>A43>=>C70E40=0BB86=43/>=48=4
           1  8B?>B8C8>=A40:3>F=
                       •4?>AC01;4??A474=B8>=B)  
                       •)8C;4 4;0H43)  
                       •)8C;4 <<4380C4) 
           2  4<>6A0?782B
                       •0<8;H*=8C"* 
                       •(8=6;43D;CB(B0=3"B 
                       •*=022><?0=84378;3A4=*B
            %40:>;38=60C%$A8364F0B  >=                  
           4  %40:0H               7030C>C0;>5 4=2>D=C4AB
            8674BC8=2DBC>3H=D<14A >=                ')>=;H
           6  8C8I4=B78?
                       •C>C0;>5D=8@D4>D=CA84B>58C8I4=B78?F4A44=2>D=C4A43 
                       •)>?>D=CA84B>50;;4=2>D=C4AB
                                08C8  
                                78;4   
                               D10      
                               +4=4ID4;0  
                               A0I8; 
                       •08C80=BD1942CBCA0E4;43C7A>D67<D;C8?;42>D=CA84B?A8>AC>4=C4A8=6C74
                         *=8C43(C0C4B (><4BD1942CB5A><78;4A0I8;>A>C74A2>D=CA84B<0H
                         14;>=6C>08C80=0<8;H*=8CB1DC70E428C8I4=B78?8=C742>D=CAH8=
                         F7827C74HF4A41>A= 
                       •(44>D=CAHA40:3>F===4G5>A05D;;;8BC>5C742>D=CA84B0=3
                         4=2>D=C4AB 
           7  )>C0;=D<14A?A>24BB435>A)8C;4 4G?D;B8>=C>08C8F0BF8C7 
                4G?4;;433DA8=6C74A4?>AC8=6?4A8>3 
                       •B>5(4?C4<14A          08C80=B70E4144=4G?4;;431H08A2A05C
                         0338C8>=0;5;867CB0A44G?42C43
           8  )74A4F4A4          !0F=5>A24<4=C0=3BD??>AC?4AB>==4;F7>A4B?>=343C>C74
                ""'454AC>==4G5>A064=2H1A40:3>F=
           9  >=CA02CB5>A ?>AC0?>CC84B 70=3F0B78=6BC0C8>=B0=31D;:CA0B718=B
                F4A4DB43C>BD??>ACC74<86A0=CBC78BF0BF7>;;H8=BD558284=C1DC0;B>4G70DBC43
                C>C0;A468>=0;BD??;84B



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          :  '43A>BB?A>E8343       7H684=4:8CB4027:8C2>=C08=430A0I>A1;034C70C703
              C>14A4<>E43?A8>AC>8BBD0=24
          ;  ,>A;34=CA0; 8C274=0=3;>20;2>=CA02C43E4=3>AB?A>E8343  <40;B308;H
              C><86A0=CB>=0E4A064 
          2 %<43820;?4AB>==4;A4B?>=343C> 20;;B5>A0BB8BC0=24C>4E0;D0C40=3CA40C
              <86A0=CB C>C0;>5 <86A0=CBA4@D8A4303E0=24320A40=3F4A4A454AA43C>
              (")<43820;?4AB>==4; "86A0=CBF4A4CA40C435>A0E0A84CH>58BBD4B
              A0=68=65A><B48IDA4BC>A4B?8A0C>AH38BCA4BB "43820;C40<B34;8E4A43>=4101H
              0CC74%$1A83640=3 >C74ABF4A41>A=0C;>20;7>B?8C0;B C>C0;>5 
              <86A0=CBF4A4CA0=B?>AC43C>;>20;7>B?8C0;B05C4A148=64E0;D0C431H")
              <43820;?4AB>==4; #.+7+<+7+?+74*+'9.8*:7/3-9.+
          =  >A34A%0CA>;(40A270=3'4B2D4C40<BBD224BB5D;;H?4A5>A<43F0C4AA4B2D4B
              8=C74'8>A0=34'8E4A ">BCF0C4AA4B2D4B>22DAA43>=(4?C4<14A           
              A4B2D4B
          >      CA0=B?>AC1DB4B0=3 CA0=B?>ACE0=BF4A4BDA6438=C>4;'8>5>A0BB8BC0=24 
              )74A402CD0;A4@D8A4<4=CF0B       1DBB4B1DCC74A4@D8A4<4=C2>D;3=>C14<4C
              5A><2DAA4=C6>E4A=<4=C ?A8E0C4B42C>ABD??;84B
                   •    *(%1DB4B
                   •    >=CA02C(4AE824B1DB4B
                   •   *=8C43(C0C4B"0AB70;(4AE8241DB4B
                   •     DA40D>5%A8B>=1DB4B
                   •    ;40B4B1DB4B
                   •    +0=B
                   •   2>=CA02C43E0=B
        
     '<3,47)+2+39'3*":55479 '793+78
          0  8A0=3"0A8=4$?4A0C8>=B
          1  $55824>584;3$?4A0C8>=B
           4?0AC<4=C>5><4;0=3(42DA8CH+>;D=C44A>A24
          3  <<86A0C8>=0=3DBC><B=5>A24<4=C=5>A24<4=C0=3'4<>E0;$?4A0C8>=B
              (?4280;'4B?>=B4)40<'$ (')
          4  ><4;0=3(42DA8CH=E4BC860C8>=B(?4280;'4B?>=B4)40<( (')
          5  4?0AC<4=C>5DBC824$DA40D>5%A8B>=B$%
          6  40;C70=3D<0=(4AE824B(
          7  )4G0B4?0AC<4=C>5%D1;82(054CH%(
          8  )4G0B"8;8C0AH4?0AC<4=C)4G0B#0C8>=0;D0A3
          9  +0;+4A34>D=CH(74A855NB$55824++($
          :  8CH>54;'8>"0H>ANB$55824
          ;  4;'8>%>;8244?0AC<4=C'%
          <  )4G0B%0A:B0=3,8;3;8544?0AC<4=C)%,
          =  (0==C>=8>8A44?0AC<4=C(
          >  )4G0B=CA0BC0C48A4"DCD0;83(HBC4<)"(
          ?  #0C8>=0;=BC8CDC4>5"86A0C8>=>5"4G82>#"

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                                            in TXSD Page 35 of 729




       @ "8BB8>=>A34A>?4#$06;4%0BB)-
       A +0;+4A34>A34AD<0=8C0A80=>0;8C8>=#$4;'8>)-
       B ,>A;34=CA0; 8C274=#$

 !41+8'3*!+85438/(/1/9/+8
   )74* ( >A34A%0CA>;F0BC74;403><?>=4=C270A643F8C7<0=068=6C74""3D4C>
   BC0CDC>AH0DC7>A8CH )74=2834=C><<0=3%>BC%F0BBC>>3D?>=(4?C4<14A 
        0=3C74=2834=C><<0=34AF0BA4B?>=B81;45>A2>>A38=0C8>=F8C7BD??>AC8=6
   5434A0;BC0C4;>20;?0AC=4AB0=3=>=6>E4A=<4=C0;>A60=8I0C8>=B )742>=3D2C43
   308;H>?4A0C8>=0;1A845BF8C7BD??>AC8=6?0AC=4AB5>AB8CD0C8>=0;0F0A4=4BB0BF4;;0BC0B:
   0BB86=<4=CB '4B?>=B818;8C84BF4A41A>:4=3>F=8=C>C74BD??>AC20C46>A84B>5
   3<8=8BCA0C8E4(D??>AC=C4;;864=24(D??>AC$?4A0C8>=0;(D??>AC!>68BC820;(D??>AC
   0=3"43820;(D??>AC )74')(42C>A7845<08=C08=43A4B?>=B818;8CH>52>=CA>;;8=6C74
   >DC4A?4A8<4C4A0=3B42DA8CH?0CA>;BF8C78=C742A>F3B8=C742>=C08=<4=CI>=4F7827
   055>A343C74018;8CHC>?A>E834B42DA8CH0=38<<4380C4<43820;0BB8BC0=24F74==424BB0AH




 #+).3/)'1 +7,472'3)+
   )742DAA4=C?A>24BB8=6?0C7F0HB8=?;0240A4034@D0C45>A=>A<0;<86A0=C0=3B40B>=0;
   5;>F >F4E4AC74B744AE>;D<4>5C74<0BB<86A0C8>=>E4AF74;<43C7A>D67?DCF8C78=
   %0=3( %4AB>==4;%5028;8CH7>;38=6 34C4=C8>=20?028C84B0=3
   CA0=B?>AC0C8>=6A>D=30=308A0A4F7>;;H8=BD558284=CC>B054;H<0=064C78BCH?4>5"0BB
   "86A0C8>=4E4=C (H=27A>=8I0C8>=14CF44=*(%0=3'$<0=854BCB2>=C8=D4BC>4E>;E4
   C>342A40B4?A>24BB8=60=3CA0=B54A>52DBC>3HC8<4

 6:/52+39 +7,472'3)+
   ;;4@D8?<4=C?4A5>A<430B4G?42C43 4;'8>(42C>A0=3%028;8C84B"08=C4=0=24
   0=3@D8?<4=C"5028;8C0C43<0=H2>=CA02CB8=BD??>AC>5;854BDBC08=8=65D=2C8>=B



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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 36 of 729




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 Case 6:23-cv-00007 Document  93-4 Filed
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          4  %")BF4A48<<4380C4;HA4@D4BC430=3A438A42C43C>BD??>AC<43820;=443B 
          5  $+4G?>BDA40=3>C74A2>=C068>DB38B40B4B?A4038=0<0BB<86A0C8>=4E4=C
              2>=C8=D4BC>140B054CH8BBD45>A;0F4=5>A24<4=C0=3C7464=4A0;?D1;82 
              "D;C8?;4%4<?;>H44B34?;>H43C>4;'8>A4?>AC43C4BC8=6?>B8C8E45>A
              $+48C74A3DA8=6>A8<<4380C4;H05C4AC748A34?;>H<4=C0BF4;;0B>=4064=C
              2>=CA02C8=6((8=542C8>= 
          6  2>=C8=D0;;H<>=8C>A438=5>A<0C8>=5A><1>C70=C8;0F4=5>A24<4=C0=30=C8
              8<<86A0=CC7A40C6A>D?B "0=H#0C8>=0;(42DA8CH8BBD4BF4A4<8C860C433DA8=6
              C74<0BB<86A0C8>=4E4=CC>8=2;D34CF>B?4280;8=C4A4BC<86A0=CBF8C7=0C8>=0;
              B42DA8CH2>=24A=B148=60??A474=3430=3C748=C4A24?C8>=>50?>BB81;4E8>;4=C
              02C>A0CC744;'8>%>AC>5=CAH 
        
     422:3/)'9/434,/7+)9/438;+398'3*.'3-+894 1'38
       =2834=C2><<0=32>=3D2C43308;HB2743D;430=370BCH<44C8=6BF8C70;;4G42DC8E4
       ;4034ABC7A>D67>DCC74"" ><<D=820C8>=F0B034@D0C4C>4=BDA4>?4A0C8>=0;
       4G?42C0C8>=B0=3A4@D8A4<4=CBF4A42;40A5>ABD??>AC8=6;0F4=5>A24<4=C?4AB>==4; $=
       B8C4E8B8CB1H403@D0AC4AB?4AB>==4;0=3,78C4>DB4>558280;B4=BDA43C745D;;B2>?4>5
       C744E4=CF0BD=34ABC>>35>A<0G8<D<BD??>AC>5A4B>DA24B0=3?;0==4302C8>=B 
    "97'9+-/)422:3/)'9/438
       (CA0C4682><<D=820C8>=B(CA0C><0=3%%D1;825508AB%0A402A8C820;A>;4C>
       4=BDA4;4034AB78?0C0;;;4E4;B0BF4;;0BC74<43800=3C7464=4A0;?D1;8270E4C74
       ?4AB?42C8E4>5C74064=CB>=C746A>D=3<0=068=6C74"" >C7')(CA0C><0=3
       %%0A42>;>20C438=4;'8>0=3BH=27A>=8I4BC74<4BB068=6 4;'8>(42C>A
       (CA0C><703144=<4BB068=6C74DB4>5C741A83640B0BC068=6;>20C8>=5>A;0A646A>D?B
       >5<86A0=CB0AA8E8=6B8=24D;H        )78B2A40C430=03E0=C064F8C7C744;'8>
       "0H>A0=3;>20;;0F4=5>A24<4=C>558280;B0BC74HF4A40;A403H0F0A4>5C74B8CD0C8>=
       145>A4C74<0BB<86A0C8>=4E4=C>22DAA43 4;'8>(42C>A703?A4E8>DB;H?>BC43C74DB4
       >5C741A83640=32DAA4=CB8CD0C8>=>=B>280;<4380=4F0AC82;4B38BCA81DC43?7>C>B0=3
       4E4=703>=6A4BB8>=0;E8B8CB0CC74;>20C8>=145>A4C74<0BB<86A0C8>=4E4=C 
       $=(4?C4<14A         =D<14ABBC06430CC741A83641460=C>A0?83;H8=2A40B4 D4C>
       C74?A4E8>DB4=6064<4=CBF8C7C748CH>54;'8>A4B>DA24B1460=C>0AA8E48=BD??>AC
       >5C74455>ACB "4BB068=6F0B?DC>=7>;3D=C8;?A4BB2>=54A4=24B2>D;31474;3C70CF4A4
       0??A>E431HC74$55824>5%D1;825508AB$% )74>=;H<4BB068=6C70C(CA0C><
       A4;40B43F0BC74%$2;>BDA4C>C74$55824>5>=6A4BB8>=0;5508AB$>=
       (4?C4<14A         "43800=32><<D=8CH<4<14ABF4A4C74>=;H4=C8C84B38BCA81DC8=6
       8=5>A<0C8>=F782720DB43C74>A34A%0CA>;C>;>B42>=CA>;>5C74<4BB068=6 
       7845$AC8I?A>E83430B7>AC8=C4AE84FF8C7;>20; #(>=(4?C4<14A         0=3
       74;305>A<0;?A4BB2>=54A4=24>=(4?C4<14A         )74((42A4C0AH0;B>74;30
       ?A4BB2>=54A4=24>=(4?C4<14A         403@D0AC4AB0??A>E0;F0BA4@D8A435>A0;;
       B>280;<4380?>BCB )7440A;H0=32>=B8BC4=CA4;40B4>5D=2>=BCA08=43022DA0C4<4BB068=6

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       5A><C74>A34A%0CA>;F>D;370E4?A>E83430<>A47>;8BC82E84FC>C74?D1;820=3>C74A
       ;0F4=5>A24<4=C064=284B 
       4C08;8=6<4380BD??>AC0=30338C8>=0;(CA0C><?4AB>==4;40A;H8=C742A8B8BF0B=44343
       C><0=064<D;C8?;4B8C4E8B8CBF7827>E4AF74;<43C74B<0;;4;'8>(CA0C><C40<        
     3;/7432+39'143)+738
       (D<<4AC4<?4A0CDA4BA4027430B78670B J0=3F40C74AC7A40C4=43C74B054CH>5C74
       <86A0=CBC70C8;;460;;H2A>BB43C741>A34A0=3C74;0F4=5>A24<4=C?4AB>==4;<0=068=6
       >=B24=48BBD4B 338C8>=0;;H<86A0=CB703=>F0C4A5>>3>AB74;C4AC>?A>C42C
       C74<B4;E4B5A><C744=E8A>=<4=C0;70I0A3B "43820;BD??>ACF0B=443435>A>=B8C4
       0BB8BC0=245>A<8=>A0=303E0=243<43820;20A4 %")BF4A4C7458ABCC>BDA64C>C74
       0A405>;;>F431H(")?4AB>==4;5>A0=8=2A40B4320?018;8CH0=320?028CH /4A>
       50C0;8C84B>22DAA433DA8=6C74"" 
     .>8/414-/)'125')98"97+88'3*'9/-:+25')9
       )74270>C82B24=40=37867;4E4;>52>>A38=0C8>=A4@D8A43;>=67>DAB>5F>A:8=0E4AH
       BCA4BB5D;4=E8A>=<4=C !4034AB78?0=3?4AB>==4;?4A5>A<8=6C0B:BC>20A45>AC74
       <86A0=CB4=3DA43?7HB820;0=3<4=C0;4G70DBC8>=C>4=BDA4B>;DC8>=BF4A420AA843
       C7A>D67C><0=064C74"" "0=30C43>E4AC8<45DAC74AA43D243A4BC2H2;4B )74
       0AA8E0;>50338C8>=0;7867;4E4;;4034AB78?0=334C08;4ABF0B=4434340A;H8=C74<0BB
       <86A0C8>=4E4=CC>A43D24?7HB820;0=3?7HB8>;>6820;8<?02CB %(C0C40=3!>20;;0F
       4=5>A24<4=C0BF4;;0B0;;BD??>AC?4AB>==4;A>B4C>C74270;;4=64B>5C742A8B8BC70C
       ?A>3D24307867;HBD224BB5D;A4B>;DC8>=>5C74"" 
+88438+'73+*/88:+87+)422+3*'9/438
     #/91+ 1/-.98'3)+11+*
            0  $=(4?C4<14A       ')(C055F0B8=5>A<431H '$C70C)8C;4 5;867CB
                BD??>AC8=6C744G?D;B8>=>5<86A0=CB5A><C74*=8C43(C0C4BF>D;31420=24;;43 
                *(%F0BA4@D8A43C>A4?A>24BB7D=3A43B>5<86A0=CBD=34A%0A>;4)F7827
                2A40C430=8<<4380C4102:;>6>5=40A;H>E4A       <86A0=CB 338C8>=0;;H8C8B
                14;84E43C7470;C8=4G?D;B8>=BF0B2><<D=820C438<<4380C4;HF8C78=C7408C80=
                ?>?D;0C8>=2A40C8=60=03343?D;;502C>A0=30ADB7C>2A>BB8;;460;;H8=C>C74* ( 
            1  =;4D>5)8C;4 4G?D;B8>=0=34G?42C43C4A<8=0C8>=>5)8;4 0DC7>A8CH
                *(%0=3(?0AC=4ABB7>D;3B44:0;C4A=0C8E4>?C8>=BC>8<<4380C4;HA4<>E4
                0<4=01;4<86A0=CB5A><2DBC>3HD?>=2><?;4C8>=>5?A>24BB8=6 
             3E0=243F0A=8=6=443BC>1468E4=F74=4G?D;B8>=5;867CB0A420=24;;438=
                >A34AC>0E>83038BAD?C8>=8=C7A>D67?DC3D4C>A4?A>24BB8=6A4@D8A4<4=CB 
        
     +1!/4 148:7+
            0  ')(C0552>>A38=0C43F8C7'!(C0555>AB4E4A0;30HB?A8>AC>C742;>BDA4>5C74
                '!%$ $=(4?C4<14A           *(%5>A<0;;H<034C74A4@D4BCC742;>B4
                C744;'8>%$3D4C>8=2A40B8=6=D<14A>5<86A0=CBD=34AC741A83640=35>A

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               B42DA8CH0=3B054CH2>=24A=B $=C744E4=8=6>5(4?C4<14A       C744;'8>
               84;3$558242;>B43C744;'8>%$ 338C8>=0;;HC7406;4%0BB%$C74
               =40A4BC%$0??A>G8<0C4;H <8;4B0F0HF0BA43D243C>>=4;0=43D4C>$$
               <0=?>F4ABD??>AC8=6C74"" )742;>BDA4BA4BD;C438=B86=85820=C34;0HB5>A
               0;;4BB4=C80;0=32><<4A280;2A>BB1>A34ACA0E4;5A><8D3032D=0C>%843A0B
               #46A0B 
           1  =5DCDA4""B%$2;>BDA4BB7>D;3142>=B834A4338B2DBB430=3?;0==43F8C7
               $$C>144=60643BF85C;HC>033A4BBB42DA8CH2>=24A=B )74%$2;>BDA4
               <8C860C43A8B:BC>C74<86A0=CB38A42C;H14;>FC741A8364%$5>>C?A8=CB42DA8CH
               0=30;;>F43"4G820=0DC7>A8C84B0=>??>ACD=8CHC>38B?4AB4<86A0=CBBC06430;>=6
               C74'8>A0=34'8E4AC7DBA43D28=62A>BB1>A34A02C8E8CH0CC74,48A0<0=3C74
               >0C'0<?2A>BB8=6B 
        
     /-7'39#7'385479'9/43447*/3'9/43:88+8
           0  (;02:43BD558284=CCA0=B?>AC0C8>=0=3C74A4F0B=><0BBCA0=B?>AC0C8>=
               2>>A38=0C8>=<4270=8B<F8C78=C744?0AC<4=CC>A4;>20C4C74<0BB>5<86A0=CB
               8=4;'8> %0=3'$CA0=B?>AC0C8>=20?018;8C84BF4A40;B>;8<8C43 $
               DA40D>5%A8B>=B0BB8BC43%1H?A>E838=61DBB4B0=33A8E4ABC70C2>D;33A8E4
               14H>=3C74C8<4A4BCA82C8>=BB4C5>AC78=2DAA4=C%CA0=B?>AC0C8>=2>=CA02CB )74
               ><<8BB8>=4ANB2C8>=A>D?0BB8BC43F8C7C74A40;;>20C8>=>5%
               2>=CA02C431DB4B0=32><<D=820C4338A42C;HF8C7C74C>2>>A38=0C40338C8>=0;
               CA0=B?>AC0C8>=C7A>D67>DCC74(>DC74A=*=8C43(C0C4B0=3C>08C80BF4;; 
           1  BC01;8B70B20;01;4786720?028CH%CA0=B?>AC0C8>=2>=CA02C B20;01;4
               2>=CA02CF8;;0;;>F%C>8=2A40B4>AA438A42C2>=CA02C43CA0=B?>AC0C8>=0BB4CB
               C7A>D67>DCC74=0C8>=>AC7A>D67>DC4BC01;8B743A468>=BC>14CC4ABD??>ACB42C>AB
               F74=<86A0=C5;>FB34E4;>?0=3>A4E>;E4 
           2  BC01;8B78=C4A0=38=CA0064=2H"$*BC>4G?0=3CA0=B?>AC0C8>=20?028CH
               8<<4380C4;HF8C78=7>DAB=>C30HB 
            BC74""4<4A643')4G?0=343C748AB42C>ACA0=B?>AC0C8>=24;;5A><0
               <8=8<0;;HBC055432>>A38=0C8>=4;4<4=CC70C<>BC;H2>>A38=0C43<>E4<4=CF8C78=
               B42C>AC>05D;;HBC05543D=8C2><?A8B43>5BD1942C<0CC4A4G?4ACBF7>2>>A38=0C43
               34C08=44<>E4<4=C5A><C748=2834=CB8C4C>%B0=3BC0C8>=B8=0=3>DCB834>5
               ') 
               
     !'3/,+8988:+8
           0  *(%3>4B=>C70E40224BBC>'$BHBC4<B>5A42>A3DC8;8I435>A?0BB4=64A
               <0=854BCB=>A3>4B'$70E40224BBC>*(%NB34C4=C8>=<>3D;48=4 )78B
               ;02:>50224BB5>A24B*(%064=CBC><0=D0;;H4=C4A=0<4B0=330C4B>518AC7C>
               64=4A0C4<0=854BCA>BC4AB5>A'$ )78B?A>24BB8B=>C4558284=CKC74?A>24BBC>
               64=4A0C40<0=854BC5>A0=4G?D;B8>=5;867C>5  ?0BB4=64ABA4@D8A4B<0=
               7>DABC>?A>3D245A><')?4AB>==4;0;>=4 
            *(%0=3'$BHBC4<B<DBC14;8=:43C>64=4A0C4?0BB4=64A<0=854BCB<>A4
               4558284=C;H>A(B7>D;370E40B8=6D;0A?A>24BB8=6BHBC4<C70C022><<>30C4B

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               0;;4?0AC<4=C0;A4@D8A4<4=CB5A><8=C0:4 ?A>24BB8=620A40=32DBC>3H0=3
               58=0;;H1>>:>DC <0=854BC8=6 C8B0;B>A42><<4=343*(%<08=C08='$C40<B
               8<143343>=B8C40C*(%B42C>AB>AC4<?>A0AH7>;38=65028;8C84BC>4G?438C4
               <0=854BC2>>A38=0C8>= 
            %0=3'$5D=2C8>=B8=0<0BB<86A0C8>=4E4=C0A48=C4ACF8=43F8C7F70C%
               8=C4A382CB A40C4AE>;D<4B>5?4>?;4=443C>14BF85C;H0=345542C8E4;H<>E431H
               '$C>4G?0=343'$7>;38=620?028C84B02A>BBC74=0C8>= 
        
     +'*/+1*422'3*43897:)9
           0  )74!403%84;3>>A38=0C>A!2>=BCAD2C?A>E834B0=834=C85843%
               ;4034A38A42C43C>34E4;>?0=3<08=C08=0A468>=0;10B43?A4?0A43=4BB?;0=C70C
               8=2>A?>A0C4B2>>A38=0C43?;0==8=60=3;4E4A064BC74A4B>DA24B0=320?018;8C84B>5
               0;;%><?>=4=CBF8C78=0A468>= ;C7>D67C744;'8>""F0AA0=C43
               D=858434<4A64=2H0=37D<0=8C0A80=A4B?>=B4B5A><%(0=3;>20;;0F
               4=5>A24<4=CA4B>DA24BC74!2>=BCAD2CF0B=>C02C8E0C43 
           1  C8BA42><<4=3435>A%;4034AB78?C>2>=B834A0CF70C?>8=C3DA8=602A8B8B
               BD270BC744;'8>""0!02C8E0C8>=8BF0AA0=C43 )A8664A?>8=CB<0H
               =443C>14834=C85843C70CF>D;30BB8BCF8C7!02C8E0C8>=A4@D8A4<4=CB 
               
     +9+39/43'5')/9>
            4;'8>(42C>ANB')C>C0;34C4=C8>=20?028CH8B        0=370B144=0E4A068=6
                ?4A24=C>E4A20?028CH0C0=H68E4=C8<4F7827A4BD;CB8=4G24BB8E4C8<48=
               2DBC>3H0=3>E4A2A>F38=60C4E4AHBC0C8>=8=2;D38=6C74B>5CB834?A>24BB8=6
               5028;8CH8=06;4%0BB ')0;>=6F8C7*(%(42C>AB0;>=6C74(>DC7F4BC
               >A34A(,2>=C8=D4C>4G?4A84=24>E4A2A>F38=60C;4E4;B=>CB44=145>A4 
               )74A48B=>8=3820C8>=C70C '$34C4=C8>=20?028CHF8;;4E4A8=2A40B4C><44C
               C745;>F>5<86A0=CB8;;460;;H4=C4A8=6C74*=8C4B(C0C4BC7A>D674;'8>(42C>A>A
               0=H(,B42C>A  '$=443BC>8<<4380C4;H033A4BBC748AB7>AC50;;8=
               7>;38=620?028CH02A>BBC74=0C8>= 
            C8BA42><<4=343C70C*(%&8=2>;;01>A0C8>=F8C7'$C0:4>F=4AB78?
               >5C7434C4=C8>=B?024?A>1;4<0=3F8C7C74BD??>AC>50;;?4AC8=4=C(
               ?0AC=4AB4<10A:>=0'468>=0;%A>24BB8=60=34C4=C8>=4=C4AB'%
               8=8C80C8E4C70CF8;;0;;4E80C4>E4A2A>F38=68=')!')0=3'+B?4285820;;H
               0BF4;;0BC74A4BC>5C74(, "D;C8?;4'%5028;8C84B24=CA0;;H;>20C438=C74
               B>DC7F4BC>AB>DC724=CA0;0A40>5)4G0B0=3BD??>AC431H(?0AC=4AB
               F>D;314A4B?>=B81;45>A>DB8=6%A>24BB8=60=3C74?A>?4A38B?>B8C8>=>5
               <86A0=CB )7424=C4ABF>D;30;B>B4AE40=3C7424=CA0;CA0=B?>AC0C8>=
               2>>A38=0C8>=7D1 =8C80;7>;38=620?028C84B           B7>D;314B20;01;40=3
               60D6431H2DAA4=C8=2DBC>3H=D<14AB?A>942C8>=B5>A4E>;E8=6;0A64<86A0C8>=
               E>;D<4740343C>>DAB>DC7F4BC1>A34A0=3?A>24BB8=6C8<4B 
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     +8/-3'9+*7+'8'9,47":55479/3--+3)/+8
           0  !0F=5>A24<4=C2><<0=30=3BD??>AC8=64;4<4=CBB7>D;3142>=B834A43F74=
               4BC01;8B78=6C74;>20C8>=>5C74=2834=C><<0=3%>BC% )74%8=4;
               '8>F0B2><?A8B43>50">18;4><<0=34=C4A"?A>E83431H*(%
               ($ )74"F0B;>20C430??A>G8<0C4;H           H0A3B0F0H5A><C74<86A0=C
               BC068=60A40 ;C7>D67"$'$0=3)4G0B%(703A4?A4B4=C0C8>=8=C74%
               =>>C74ABD??>AC8=62><?>=4=CB>A064=284BF4A4BC0643=40A1H 
           1  ,74=4BC01;8B78=6C74%C744?DCHB0=3?;0==4ABB7>D;30;;>20C4
               039024=C>A=40A1H5>>C?A8=CB5>ABD??>AC5434A0;BC0C40=3;>20;!?0AC=4ABC>
               B8CD0C4C748A2><<0=34;4<4=CB >=B834A2;8<0C42>=CA>;;43B74;C4AB5>A
               2>>?4A0C8=6064=2H<44C8=6B0=36>E4A=<4=C>A=>=6>E4A=<4=C34;460C8>=
               E8B8CB 
        
     !+-/43'14(/1+422'3*+39+78
           0  ')3>4B=>C?>BB4BB8CB>F="0=3C74A45>A4A4@D4BC43($NB"F7827
               0AA8E43>=(4?C4<14A CF4=CH5>DA7>DAB05C4A8CF0BA4@D4BC43 %A8>AC>
               4BC01;8B78=60;>20C8>=5>AC74%C74BC055<08=C08=430<>18;4?>BCDA4>=
               5>>C>A8=E4782;4B 
           1  )74A42><<4=3BC74?A>2DA4<4=C>5B42C>A"BC>BD??>AC5DCDA48=2834=CB 
               C0<8=8<D<>=4"2>D;3BD??>AC<D;C8?;4B42C>ABDB8=60A468>=0;2>=24?C 
               >A4G0<?;4>=424=CA0;;H;>20C43"2>D;3BD??>AC8=2834=CB5A><'8>A0=34
               +0;;4HC>4;'8>(42C>A )78BB7>D;34E>;E4C>4E4AHB42C>A70E8=60="
               F8C75DAC74A018;8CHC>2A40C44G?0=3432;8<0C42>=CA>;;43C4=CBCAD2CDA4BC>
               BD??;4<4=C5>A<D;C8?;4!?0AC=4A2>;;01>A0C8>= 
               
     +78433+14*-/3-
            )74A4F4A4        ;0F4=5>A24<4=C58ABCA4B?>=34A0=3BD??>AC?4AB>==4;
               8=C4A=0;0=34GC4A=0;C>(BD??>AC8=6C744;'8>"" 4;'8>)-70B0=
               0??A>G8<0C4?>?D;0C8>=>5       0=3;8<8C43;>368=6>?C8>=BC7A>D67>DCC74
               ;>20;0=3A468>=0;42>=><84B "0=H34?;>H43?4AB>==4;2>D;3=>CB42DA4;>368=6
               F8C78=0<8;4A038DB0=3CA0E4;43>E4A      <8;4B5A><C748A;>368=6B8C4BC>C74
               4;'8>%$308;H ')2>>A38=0C43F8C7C748CH>54;'8>C>B42DA4 
               A4CA>58CC43;>368=6B?024B0CC74;>20;2>=E4=C8>=24=C4AC7A>D672>=CA02CD0;
               B4AE824B<0340E08;01;4C>(4<?;>H44B 
            CC74>=B4C>50=8<<8=4=C""B42C>ABB7>D;38<<4380C4;H4G0<8=4;>368=6
               0E08;018;8CH0=31468=2><<D=820C8=6F8C72>=CA02CD0;B4AE824A4?A4B4=C0C8E4BC>
               B42DA40E08;01;4;>368=6022><<>30C8>=B0=3>C74A0BB>280C43A4B>DA24BC>
               BD??>AC34?;>H43?4AB>==4; 
        
     "+38/9/;+425'792+39+*3,472'9/43')/1/9/+8"
           0  )7438BB4<8=0C8>=>5A4;4E0=C8=5>A<0C8>=5>A""B8B2A8C820;5>A(42C>ABF74=
               ?A4?0A8=65>A<0BB<86A0C8>=<0=064<4=C0=30;;>C74A;0F4=5>A24<4=C
               >?4A0C8>=B ">BC*(%(42C>AB3>=>C70E4C74018;8CHC>2><<D=820C47867

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               ;4E4;;0F4=5>A24<4=C0=3B4=B8C8E48=5>A<0C8>=5A><C74=C4;;864=24><<D=8CH
               F8C7>DC(4=B8C8E4><?0AC<4=C43=5>A<0C8>=028;8C84B( 
           1  ;;*(%(42C>AB<DBC70E40224BBC>(B;>20C430C34B86=0C43B8C4BF8C78=0
               B42C>A>AF8C78=A40B>=01;42><<DC8=638BC0=24BC>A4248E4?4AC8=4=C
               8=5>A<0C8>=>A>C74AB4=B8C8E4;0F4=5>A24<4=C8=5>A<0C8>= E4=?>AC01;4
               B>;DC8>=B;8:4.D<0(42C>ANB20?018;8CHF>D;3140224?C01;40224BB (=443B
               C>8=E4BC8=(1D8;3>DCB5>A0;;*(%(42C>AB 
       
     +5'792+394,+,+38+47/8/8!+85438+47)+!":55479
            E4=F8C7C742><18=43A4B>DA24B5A><(0=3$')4G?4A84=243
               B86=85820=C270;;4=64B0CC74>=B4C>5C74<0BB<86A0C8>=4E4=C"" )74<>BC
               B86=85820=C270;;4=64BF4A4C74CA0=B?>AC0C8>=7>DB8=654438=6B42DA8CH0=3
               F4;50A4>5<86A0=CB 
            (42C>AB?;0==8=65>A0=""B7>D;32>=B834A4?0AC<4=C>5454=B4>
               '4@D4BCB5>ABB8BC0=24'5>AA8B8B'4B?>=B4>A24'4;4<4=CB )74
               'F0B0=0??A>E433DCH34B2A8?C8>=5>A'. 7>F4E4A>383=>C
               0??A>E4C74'5>A'. B4?0A0C4>AD?30C43'8BA4@D8A435>AC78B
               5D=2C8>=C>140E08;01;4C>%3DA8=60<0BB<86A0C8>=4E4=C 'F>D;3
               ?A>E834(F8C70BB8BC0=24C>4=70=245>A24?A>C42C8>=<43820;0E80C8>=0=3
               4=68=44A8=620?018;8C84B ">A4B?4285820;;HC74'B7>D;38=2;D340338C8>=0;
               BD??>AC5D=2C8>=BC>8=2;D34!A8E4AB786720?028CH)A0=B?>AC0C8>=+4782;4B
               786720?028CH84;3>;38=6(CAD2CDA4BB42DA8CH5D=2C8>=B0BB>280C43F8C7C74
               BC0=3D?>5786720?028CH584;37>;38=6BCAD2CDA4B<43820;0=3786720?028CH
               58G43F8=6BD??>AC5>A<>E8=61>C7%?4AB>==4;0=3<86A0=CB >'B0A4
               BD1<8CC43C7A>D67C74%G42DC8E464=C0BA4@D8A4<4=CB0A4834=C858431H
               % )78B'=443BC>140??A>E43H40A;H0;;0BB>280C4302C8>=B4G42DC01;4
               F8C7?A4B4CC8<4;8=4BF74=%834=C8584B4<4A68=68=2834=CB0=32>=C8=D4BC>
               4E>;E4F8C7C744G?0=38=6""?A>1;4<B4CB8<?02C8=6C742>D=CAH 
            )74B?443=D<14A0=35A4@D4=2H>5""BA4@D8A4>?A42>>A38=0C43
               0BB8BC0=24C70C8B8<<4380C4;HA4B?>=B8E40=3068;4 (0;F0HB;>>:B8=C4A=0;;H
               145>A4B44:8=60BB8BC0=24>DCB834C7434?0AC<4=C %2DAA4=C;H3>4B=>C70E4
               C74>A60=82A4B>DA24BC>58;;C74E0A8>DB20?018;8CH60?B834=C858433DA8=6;0A64
               <0BB<86A0C8>=4E4=CB 
"$!&
)74B4E4=C44= 30H"0BB"86A0C8>=E4=C""A4@D8A430F7>;4>56>E4A=<4=CA4B?>=B4
C>4=BDA4C74B054CHA0?83CA0=B?>AC0=34558284=C?A>24BB8=6>5<86A0=CB5A><38554A4=C
2>D=CA84BC70C8;;460;;H2A>BB438=C>C74*=8C43(C0C4B0=32>=6A460C43D=34AC744;'8>%>AC>5
=CAH=C4A=0C8>=0;A8364 )74""F0BD=;8:40=HC78=6C70C%7034=2>D=C4A438=8CB
78BC>AH0=30C8CB?40:  <86A0=CBF4A4BC0643D=34AC741A8364 %C4<?>A0AH7>;38=6
5028;8C84BF4A40;A403H>E4A20?028CH0=3;>20;A4B>DA24BF4A48=034@D0C4C><0=064C74B?443
0=3E>;D<4>5<86A0=CB5;>F8=68=C>C74*=8C43(C0C4B (C0C4!>20;0=3><<D=8CH?0AC=4AB

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A4B?>=343C>%NBBD??>ACA4@D4BC0=34G70DBC430;;0E08;01;4A4B>DA24BC>0BB8BC8=<0=068=6
C744E4=C ;;(>DC7F4BC>A34A%0CA>;(42C>AB0BB8BC431HB4=38=6?4AB>==4;0=3A4B>DA24BC>
4;'8>0=37D=3A43B>5>A34A%0CA>;064=CB0=3%>55824AB5A><02A>BBC742>D=CAH0AA8E43
C>0BB8BC 

<0BB8E4455>ACC>20A45>AC74<86A0=CNBB054CH0=310B82=443BF0BD=34AF0H0B6A>D=30=308A
CA0=B?>AC0C8>=A4;>20C43C7>DB0=3B>5<86A0=CBC>5028;8C84B02A>BBC74(>DC7F4BC>A34A5>A
?A>24BB8=6 )78BD=?A42434=C4378BC>A820;A4B?>=B4C>C74""BD224BB5D;;H?A4E4=C430=H;>BB
>5;8540=3CA40C437D=3A43B>5<86A0=CB8==443>5<43820;0BB8BC0=24 )74$55824>584;3
$?4A0C8>=B?;0H430:4HA>;48=0BB8BC8=6C74>A34A%0CA>;0=38=C742;>BDA4>5C74%>AC>5=CAH
F0BC74CDA=8=6?>8=CC70C8=2A40B43B054CH0=3608=4306A40C4AA4B?>=B45A><C74>E4A=<4=C>5
"4G82>0=3>558280;B8=C74#0C8>=0;0?8C0;'468>= )74A4B?>=B41HC74(C0C4>5)4G0B0=3C74
BDA64>54?0AC<4=C>5%D1;82(054CH)A>>?4ABF0B<>=D<4=C0; 

=C4;;864=240=3>?4=B>DA24A4?>AC8=670E48=3820C43C70CC4=B>5C7>DB0=3B<>A4<86A0=CB0A4
CA0E4;8=6C>C74B>DC74A=1>A34A>5C74*=8C43(C0C4BC70C8=C4=3C><0:48;;460;4=CAH 
)A0=B=0C8>=0;$A60=8I43A8<4)$4;4<4=CB70E44G?;>8C43?>;82H270=64B0=30A4
5028;8C0C8=6C74<>E4<4=C>5<86A0=CBC7A>D67C74,4BC4A=4<8B?74A4C>C74* ( (>DC74A=
>A34AF8C7?A>58C148=6C74?A8<0AH3A8E8=6502C>A #0C8>=0;(42DA8CH2>=C8=D4BC>140C6A40C4A
A8B:0B%2>;;0?B4BA4B>DA24B0=3?4AB>==4;C><0=064;0A646A>D?B>5<86A0=CB )$F8;;
2>=C8=D4C>4G?;>8C>DA1>A34A8=0A40B;45CED;=4A01;4F78;4%0CC4=3BC>""0BC74H>22DA 
%>;82H270=64B0=38=2A40B4320?028CH0=320?018;8C84B>50;;2><?>=4=CB0=3064=284BC70C70E4
0A>;48=>A34A(42DA8CH0=3C74A41H#0C8>=0;(42DA8CHC748<<86A0C8>=?A>24BB0=3C74
34C4=C8>= 039D3820C8>=2>=C8=DD<0A4=443435>AC747D<0=40=34558284=C<0=064<4=C>5<0BB
<86A0C8>= 

%"
    • ==4G>D=CAHA40:3>F=>5=2>D=C4AB
    • ==4G(D??>AC8=6%4AB>==4;0=3BB4C!8BC
    • ==4G%7>C>B

=3>5'4?>AC




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 45 of 729




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     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 46 of 729

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    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 48 of 729

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    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 49 of 729

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    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 50 of 729

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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 51 of 729




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 52 of 729




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 53 of 729




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  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 54 of 729




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18%5;&1/@;>%'1D<1>51:/10-:A:<>1/101:@10:A9.1>;2953>-:@-<<>141:?5;:?@4-@
<8-/10%'5:-/>5@5/-8?@-@1.E;B1>C41895:3@>-:?<;>@-@5;:<>;/1??5:3-:001@1:@5;:
/-<-/5@51? /;9<81D5??A1=A5/78E.1/-91/4-;@5/-?91>31:/E"<1>-@5;:?5:/>1-?10-:0
9A8@5<81/;9<;:1:@?-:0;A@?501-31:/51??A>3109-:<;C1>-:0>1?;A>/1?@;@41->1- '41
A:5=A1?5@A-@5;:050:;@-88;C2;>.1?@<>-/@5/1?@;.159<8191:@-:0191>35:3<>-/@5/1?.1/-91
@41<-@42;>C->02;>-/>5?5?1B1:@@41;>01>#-@>;84-0:;@1:/;A:@1>105:5@?45?@;>E 
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     
   • /@5B-@1@41%135;:);>%135;:+?
          '411-0#5180;;>05:-@;>5?05>1/@10@;01B18;<-:09-5:@-5:-
             #%135;:#>1<->10:1??#8-:@4-@5:/;><;>-@1?@41/;;>05:-@10<8-:?-:0
             81B1>-31?@41>1?;A>/1?-:0/-<-.585@51?;21-/4"#""-:0 "/;9<;:1:@
             C5@45:@41>135;: 
          '41#%135;:#>1<->10:1??#8-:C5881?@-.85?4-#%135;: -?? 53>-@5;:
             '-?7;>/1       ' '41    '<>;B501?@41;>3-:5F-@5;:-82>-91C;>7@;
             2-/585@-@1@41-??53:91:@;2>;81?@;<->@5/5<-@5:3-31:/51?0125:1<>;/1??1?2;>
             5:@>-01<->@91:@-8/;88-.;>-@5;:-:001@1/@-9-??953>-@5;:1B1:@;>;@41>
             /;:@5:31:/E;<1>-@5;: 
          "<1>-@5;:)5358-:@&1:@>E&;A@4C1?@01?/>5.1?@41.-?5/;>3-:5F-@5;:-:0
             ?@>A/@A>1.EC45/4@41       'C58801<8;E>1?;A>/1?-:005>1/@9A8@5-31:/E
             ;<1>-@5;:?@;-00>1??-<;@1:@5-8;>2A88?/-819-??953>-@5;:1B1:@ 
   • #8-:-//;>05:3@;- -??-?A-8@E'E<1B1:@
          :/>1-?1/-<-/5@E-:0/-<-.585@E2;>21105:39105/-8@>-:?<;>@-@5;:-:04;805:3 
          ;:@>-/@?C1>11?@-.85?410C5@48;/-8>1?@-A>-:@?@;<>1<->191-8? *;>801:@>-8
             5@/41:.>;A34@5:2;>91-8<>1<-:005?@>5.A@5;: '41E-8?;/;:?;850-@108;/-8
             91-8/;:@>-/@?5:@;;:1#/;:@>-/@ 
          &1/@;> &&<1>?;::18C1>1A?10@;>1/15B1-:005?@>5.A@12;;0-:0C-@1>C4581
             A:52;>910-31:@?/;:@5:A10?1/A>5@E-:0@>-:?<;>@;<1>-@5;:? 
          & '5?-?@1> 105/-8??5?@-:/1'1-9C-?-/@5B-@102;>5:/>1-?10
             9105/-8?A<<;>@  '/-:<>;B501-0B-:/1081B18/->1;:?5@1 
          A>1-A;2#>5?;:"#.A?0>5B1>?>1=A5>1001<A@5F-@5;:@;<>;B501?A<<;>@@;
             # ;/-8#"C-?-.81@;/;:0A/@@4101<A@5F-@5;: <<>;D59-@18E
             4;A>81-0@591C-?:11010@;1:?A>1/;9<85-:/1 '41;995??5;:1>?/@5;:
             >;A</;;>05:-@10"#?A<<;>@ 
          88&*&1/@;>?-??5?@10C5@44;805:3<>;/1??10-:0A:<>;/1??10953>-:@?@;
             >10A/1@41@;@-8:A9.1>?5:%'?@-310-@@41#".>5031 
          ;:?501>-88-B-58-.81;<1>-@5;:-8-:0;<1>-@5;:-8?A<<;>@>1?;A>/1?@;?A<<;>@
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          -88?2;>;@41>2101>-8?@-@1-:08;/-8-??5?@-:/1?4;A80@-71<8-/1-?1->8E-?
             <;??5.81 



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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 55 of 729




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       ;:?501>8595@-@5;:?;28;/-8 %";225/1-:0/;:@>-/@10@>-:?<;>@-@5;:
          ?1>B5/1? 
       '>-:?<;>@-@5;:;;>05:-@5;:188/;:?5?@?;2?A.61/@9-@@1>1D<1>@?5:28534@
          ;<1>-@5;:?-:0@>-:?<;>@-@5;:/;;>05:-@5;:.1@C11:?1/@;>?-:0/;:@>-/@A-8
          ?1>B5/1? 
       ;;>05:-@101@-5:11@>-:?<;>@-@5;:C5@4>1/15B5:3?1/@;>?-:0501:@52E@>-:?<;>@5:3
          /;9<;:1:@?#;:@>-/@10(&#" 
       ;;>05:-@128534@9-:521?@>1=A5>191:@?.1@C11:@>-:?<;>@5:3?@-@5;: ?-:0
           %"
       ;;>05:-@1@>-:?<;>@-@5;:@;28534@85:1?
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       @@41;:?1@;2-:5995:1:@        ?1/@;>??4;A80599105-@18E1D-95:18;035:3
          -B-58-.585@E-:0.135:/;99A:5/-@5:3C5@4/;:@>-/@A-8?1>B5/1>1<>1?1:@-@5B1?@;
          ?1/A>1-B-58-.818;035:3-//;99;0-@5;:?-:0;@41>-??;/5-@10>1?;A>/1?@;
          ?A<<;>@01<8;E10<1>?;::18 
       :5:?@-:/1?C41>18;035:3@4>;A34@418;/-81/;:;9E5?:;@-B-58-.81
          /;99A:5/-@1C5@48;/-8;225/5-8?2;><;@1:@5-8;<@5;:??A/4-?>1@>;25@@5:3/5@E
          ;225/1?<-/1;>/;:B1:@5;:/1:@1>? 
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       -C:2;>/191:@/;99-:0-:0?A<<;>@5:318191:@??4;A80.1/;:?501>10C41:
          1?@-.85?45:3@418;/-@5;:;2@41:/501:@;99-:0#;?@# '41#?4;A80.1
          /;9<>5?10;2- ;.581;99-:01:@1> 8;/-@10-<<>;<>5-@18E05?@-:/10
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          -06-/1:@;>:1->.E2;;@<>5:@?2;>?A<<;>@2101>-8?@-@1-:08;/-8<->@:1>?@;
          ?5@A-@1@415>/;99-:018191:@? ;:?501>/859-@1/;:@>;8810?418@1>?2;>
          /;;<1>-@5:3-31:/E911@5:3?-:03;B1>:91:@;>:;:3;B1>:91:@01813-@5;:
          B5?5@? 
• //;A:@-.585@E
       01:@52E-:1D<1051:@<>;/1??@;-//;A:@2;>953>-:@?1:@1>5:3-:1?@-.85?410
          /;:@-5:91:@->1- %'A@585F10-@5/71@?E?@19@;@>-/7@41:A9.1>;2953>-:@?
          9-75:31:@>E5:@;@41(& '41?-91@5/71@?E?@19C-?-8?;A?10@;<>5;>5@5F1@41
          ;>01>;29;B191:@;2953>-:@?0A>5:3@>-:?<;>@ 
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       01:@52E8;/-@5;: ?2;> 105/-8?5@1??A/4-?9;.5814;?<5@-8?-:001/;:@-95:-@5;:
          ?5@1? 
       ;:?501>@418;/-@5;: ?2;>21105:3?1>B5/1?@4-@-22;>0?-<>-/@5/-805?@-:/12>;9
          /;:@-5:91:@->1-? 
• 005@5;:-8E351:1-:0&-:5@-@5;:??5?@-:/1
       105/-8>1/;991:0-@5;:-?<1>#"225/1;24512 105/-8"225/1>5? <;>@-
          6;4:?<1> <1>?;:? 
       -:0C-?45:3&@-@5;:? <1>        <1>?;:?5?>1/;991:010 



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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 56 of 729




         ;;>05:-@12;>-005@5;:-8.A87C-@1>0185B1>E-:0C-@1>.A22-8;?@-@5;:?2;>
             0>5:75:3C-@1>-:0<1>?;:-84E351:1 
         ;88-<?5.81<8-?@5/C-@1>/;:@-5:1>?<-??10;A@A<;:->>5B-82;>5:05B50A-8A?1C588
             ?A<<;>@@41>1/;991:010-9;A:@;2C-@1>2;>-01=A-@18521?A?@-5:91:@ 
         1/;:@-95:-@5;:?@-@5;:?2;>-31:@?<;C1>C-?41>?2;>.;;@?-:0C-@1> .81-/4
             .A/71@?2;>0A:75:3 
•   :?A>1-:1->8E?5@1B5?5@.E#$#1>?;::18*45@1;A?1"225/5-8?;>
     ;995??5;:1>/@5;:>;A<
         5>?@4-:0B5?A-8-??1??91:@810@;3>1-@1>?A<<;>@ !1C?-:0;@41>;225/5-8
             >1<;>@5:30;:;@<>;B501@41?-9159<-/@-?.15:3;:?5@1 
         :?A>1025:-:/5-8-??5?@-:/1-@-9;>1>-<50-<<>;B-8>-@1
         ":/1@41$B5?5@C-?0;:11D<1/@ 4;A>?2;>2A:05:3@;?@->@28;C5:3 
•   ?@-.85?4-%135;:-8;99A:5/-@5;:%1<>1?1:@-@5B1@;-??5?@8;/-8#"
         ;/-8#"C-?;B1>C418910C5@4/;;>05:-@5:3/;:3>1??5;:-8-:0053:5@->E?5@1
             B5?5@? 
         '-875:3<;5:@?-:0.>5125:3919;?C1>131:1>-@102>;9@41%135;:-8
             %1<>1?1:@-@5B1@4-@-??5?@10@414512-:0
         :?A>10.1@@1>/;;>05:-@5;:C5@4 105--:0!"?
         88;C10<1>?;::18@;2;/A?;:@41;<1>-@5;:-8>1=A5>191:@?
•   !1C%1=A1?@?2;>??5?@-:/1%:110@;.11?@-.85?410C5@4;
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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 57 of 729




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   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 58 of 729




Rescue Beacons and
Unidentified Remains


Fiscal Year 2022 Report to Congress

                                             U.S. Customs and Border Protection




                                                                 Haiti AR_000434
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 59 of 729




Message from the Deputy Commissioner of CBP
                      March 29, 2022

I am pleased to submit the following report, “Rescue Beacons and
Unidentified Remains,” which has been prepared by U.S. Customs
and Border Protection (CBP).

The report has been compiled pursuant to direction set forth in the
Missing Persons and Unidentified Remains Act of 2019 (P.L. 116–
277). The report explains CBP’s response to the Committee’s
request to establish a Missing Migrant Program (MMP) regarding
preventing the loss of lives of migrants attempting to enter the
United States.

Pursuant to congressional requirements, this report is being provided
to the following Members of Congress:


       The Honorable Gary C. Peters
       Chairman, Senate Committee on Homeland Security and Governmental Affairs

       The Honorable Rob Portman
       Ranking Member, Senate Committee on Homeland Security and Governmental Affairs

       The Honorable Bennie G. Thompson
       Chairman, House Committee on Homeland Security

       The Honorable John Katko
       Ranking Member, House Committee on Homeland Security


I would be pleased to respond to any questions you may have. Please do not hesitate to contact
my office at (202) 344-2001.

                                     Sincerely,



                                     Troy A. Miller
                                     Deputy Commissioner
                                     U.S. Customs and Border Protection




                                                  i
                                                                                Haiti AR_000435
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 60 of 729




Executive Summary

The Department of Homeland Security and CBP are committed to preventing the loss of life of
migrants attempting to enter the United States. In 2017, CBP’s U.S. Border Patrol (USBP)
began implementing new procedures, partnerships, and databases to assist in locating and
identifying migrants who are reported lost or missing. Through partnerships with federal, state,
tribal, and local agencies, along with nongovernmental organizations (NGO) and foreign
consular offices, USBP now has a standardized, active MMP in all nine USBP Southwest Border
sectors.

Since its inception, MMP has improved response times for 911 calls, increased the number of
rescue beacons, and implemented 911 rescue placards with information that assists rescue
personnel with locating migrants in distress. In addition, these efforts have improved
information flow with and between federal agencies; state, tribal, and local governments; NGOs,
and foreign consular offices associated with locating and identifying migrants in danger or those
migrants who may have died during the journey to the United States. In Fiscal Year (FY) 2021,
USBP MMP implemented an Internal Operating Procedure, which increased standardization and
led to enhanced reporting.

FY 2021 presented many unprecedented challenges in border security. In addition to dealing
with the consequences of the COVID-19 global pandemic, CBP experienced a historic influx of
irregular migration, stressing capacity limitations and requiring the flexing of personnel to
address localized surges. USBP recorded a record number of migrant encounters (1,662,167),
migrant rescues (12,857), and unfortunately, migrant deaths (568). While this is concerning,
migrant rescues and migrant deaths could have been much higher if not for the humanitarian
efforts and resources dedicated to the MMPs.

As USBP Sector MMPs continue to mature, CBP will continue to communicate the dangers of
the border region on multiple media platforms, will increase collaboration with internal and
external stakeholders to enhance situational awareness of the border region, and will continue to
educate the public on the risks associated with irregular migration caused by criminal
organizations.




                                                ii
                                                                                  Haiti AR_000436
      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 61 of 729




                  Rescue Beacons and Unidentified Remains

Table of Contents
I.      Legislative Language........................................................................................................1

II.     Background.......................................................................................................................3
        A. CBP Migrant Death Mitigation...................................................................................3
        B. CBP Rescue Efforts ....................................................................................................4

III.    Discussion.........................................................................................................................5
        A. Migrant Rescues .........................................................................................................8
        B. Rescue Beacons ........................................................................................................10
        C. 911 Placards..............................................................................................................11
        D. MMP Future Requirements ......................................................................................11

IV. Conclusion ......................................................................................................................13

V.      Appendices......................................................................................................................14
        Appendix A. List of Abbreviations................................................................................14
        Appendix B. Map of Migrant Rescues and Rescue Beacons ........................................15
        Appendix C. Map of Migrant Deaths and Rescue Beacons ..........................................16




                                                                      iii
                                                                                                                         Haiti AR_000437
     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 62 of 729




I.      Legislative Language

This document was compiled pursuant to direction set forth in the Missing Persons and
Unidentified Remains Act of 2019 (P.L. 116–277), which states:

(a) UNIDENTIFIED REMAINS.—
       (1) REPORTING REQUIREMENT.— Not later than 1 year after the date of enactment
       of this Act, and annually thereafter, the Commissioner of U.S. Customs and Border
       Protection shall submit a report to the appropriate committees of Congress regarding all
       unidentified remains discovered, during the reporting period, on or near the border
       between the United States and Mexico, including—
         (A) for each deceased person—
             (i) the cause and manner of death, if known;
             (ii) the sex, age (at time of death), and country of origin (if such information is
             determinable); and (iii) the location of each unidentified remain;
         (B) the total number of deceased people whose unidentified remains were discovered
         by U.S. Customs and Border Protection during the reporting period;
         (C) to the extent such information is available to U.S. Customs and Border Protection,
         the total number of deceased people whose unidentified remains were discovered by
         Federal, State, local or Tribal law enforcement officers, military personnel, or medical
         examiners offices;
         (D) the efforts of U.S. Customs and Border Protection to engage with nongovernmental
         organizations, institutions of higher education, medical examiners and coroners, and
         law enforcement agencies—
             (i) to identify and map the locations at which migrant deaths occur; and
             (ii) to count the number of deaths that occur at such locations; and
         (E) a detailed description of U.S. Customs and Border Protection’s Missing Migrant
         Program, including how the program helps mitigate migrant deaths while maintaining
         border security.

        (2) PUBLIC DISCLOSURE.—Not later than 30 days after each report required under
        paragraph (1) is submitted, the Commissioner of U.S. Customs and Border Protection
        shall publish on the website of the agency the information described in subparagraphs
        (A), (B), and (C) of paragraph (1) during each reporting period.

(b) RESCUE BEACONS.—Not later than 1 year after the date of enactment of this Act, and
annually thereafter, the Commissioner of U.S. Customs and Border Protection shall submit a
report to the appropriate committees of Congress regarding the use of rescue beacons along the
border between the United States and Mexico, including, for the reporting period—
        (1) the number of rescue beacons in each border patrol sector;
        (2) the specific location of each rescue beacon;
        (3) the frequency with which each rescue beacon was activated by a person in distress;
        (4) a description of the nature of the distress that resulted in each rescue beacon
        activation (if such information is determinable); and



                                                1
                                                                                 Haiti AR_000438
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 63 of 729




   (5) an assessment, in consultation with local stakeholders, including elected officials,
   nongovernmental organizations, and landowners, of necessary additional rescue beacons
   and recommendations for locations for deployment to reduce migrant deaths.




                                           2
                                                                            Haiti AR_000439
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 64 of 729




II. Background

A. CBP Migrant Death Mitigation
U.S. Customs and Border Protection (CBP) initiated the Missing Migrant Program (MMP) in
2017 to prevent the loss of life of migrants during their journey to the United States.

MMP is a humanitarian effort, led by the U.S. Border Patrol (USBP), that focuses on border
safety, locating migrants reported missing, rescuing migrants in distress, preventing migrant
deaths, and identifying and reunifying decedents with their families in the border region. Guided
by the Missing Persons and Unidentified Remains Act of 2019, MMP institutionalizes procedures
for third-party missing migrant reports, providing a focal point for collaboration and integration
with internal and external stakeholders such as medical examiners and coroners, non-
governmental organizations (NGO), academia, and other law enforcement agencies.

In collaboration with CBP’s Intergovernmental Public Liaison Office, MMP participates in NGO
Days, where CBP hosts NGOs and provides operational briefings, facility tours, border tours,
and a presentation on the local MMP. These types of engagements strengthen our partnerships
and establish strong lines of communication for future coordination.

Through MMP, CBP has improved its ability to locate migrants reported missing by conducting
more efficient searches of CBP databases for migrants previously encountered by CBP,
increasing the number of rescue beacons and 911 rescue placards deployed to reduce rescue
times, and coordinating rescue efforts with internal and external partners. The border region is a
harsh environment, and in some rescue scenarios, minutes can be the difference between life and
death. Understanding this urgency and promoting processes and procedures that maximize
efficiencies, MMP focuses on four lines of effort to reduce migrant deaths.

The four lines of effort for MMP are as follows:

    x Prevent
      o Strategic messaging with internal and external stakeholders to highlight the dangers of
        irregular migration;
      o Informed deployment of rescue equipment; and
      o Improved information flow from foreign consulates and NGOs.
    x Locate
      o Improved response time for 911 calls and rescues;
      o Database queries; and
      o Physical location determinations.
    x Identify
      o Biographic information exchange of decedents with NGOs, foreign consular offices,
        medical examiners offices, and federal, state and local partners, as appropriate.
    x Reunite
      o Assist with the return of subjects to their native countries and their families; and


                                                   3
                                                                                  Haiti AR_000440
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 65 of 729




       o   Provide closure for families of migrants who perished.

B. CBP Rescue Efforts
MMP has identified four categories of searches to apply the appropriate resources, to minimize
search times, and to enhance the chances of locating missing migrants. The categories are:

Category 1 – Subject Query
    x USBP searches its databases to determine if a subject has previously been encountered;
    x The subject’s name, date of birth, place of birth, and last known location are recorded;
       and
    x The subject’s record either is located or not located via database searches and results are
       shared with MMP partners.

Category 2 - Search and Rescue
    x USBP receives and records the subject’s biographic information, last known location,
       and other information pertinent to the situation;
    x USBP shares recorded information and coordinates the search-and-rescue operations
       with partners; and
    x USBP reports the disposition of the subject (located or not located) and additional
       information to partners.

Category 3 - Search and Recovery
    x USBP facilitates a missing migrant search, as described above.
    x If the migrant is deceased, the global positioning system location of the remains is
       reported to the appropriate agency and the landowner, if applicable, is notified.

Category 4 - Identification of Remains
    x In addition to those actions listed in Category 3:
       o USBP coordinates with the local medical examiner to identify the remains;
       o USBP searches the National Missing and Unidentified Persons System for
           identification of the remains; and
       o USBP reports any possible identity matches to federal, state, local, and international
           partners, as appropriate.

In Fiscal Year (FY) 2021, USBP recorded 568 migrant deaths and conducted 3,423 rescue events
resulting in 12,857 rescued migrants. In addition to being an increase from FY 2020, where
USBP reported 254 decedents and rescued 5,336 migrants, this also represents a record number
for USBP in both migrant rescues and migrant deaths.




                                                4
                                                                                 Haiti AR_000441
   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 66 of 729




 III. Discussion

 FY 2021 marked a significant increase in both migrant rescues and migrant deaths along the
 Southwest border. A few factors led to this increase. First, USBP recorded 1,662,167
 encounters, marking a staggering 310 percent increase from FY 2020, where 405,036 encounters
 were recorded. Additionally, as the USBP MMPs continue to mature and expand their
 partnerships at the federal, state, and local levels, they have become increasingly more aware of
 reportable incidents, also accounting for an increase in fiscal year reporting.

 The tables below demonstrate the significant increase in migrant deaths in every Southwest
 border sector in FY 2021. Mexican national decedents were the highest nationality reported,
 accounting for 59 percent of the overall total. The South Texas region accounted for 54 percent
 of the reported decedents with 305.

  Table 1
                   Southwest Border Migrant Deaths Reported by Sector
            Sector            FY 2017     FY 2018     FY 2019 FY 2020                  FY 2021
  Rio Grande Valley             104           96         69           58                 130
  Laredo                         84           69         78           57                  75
  Del Rio                        18           20         38           34                 100
  Big Bend                        3           10          3           15                  39
  El Paso                         8            6         20           10                  39
  Tucson                         73           58         61           43                  78
  Yuma                            2            1          7            7                  30
  El Centro                       2           17         17           17                  45
  San Diego                       4            4          7           13                  32
  Totals                        298          281        300         254                  568

Table 2
                                   Migrant Death by Type
       Type of Death               FY 2017    FY 2018    FY 2019            FY 2020      FY 2021
Environmental Exposure-Heat           68          95       110                104          219
Environmental Exposure-Cold            2          28         7                  7           21
Train-Related                          2           0         0                  1            1
Motor-Vehicle-Related                  2           5        11                  9           41
Water-Related                         91          54        66                 41           78
Other                                 51          36        21                 20           86
Undetermined                          35          37        60                 42           73
Skeletal Remains                      47          26        25                 30           49
 Totals                              298         281       300                254          568




                                                 5
                                                                                  Haiti AR_000442
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 67 of 729




Table 3
                       Migrant Death by Nationality
        Nationality    FY 2017    FY 2018     FY 2019    FY 2020   FY 2021
 Bangladesh                  1          2            1        0          0
 Brazil                      7          1            1        0          4
 China                       0          0            1        0          1
 Colombia                    0          1            0        0          2
 Cuba                        1          0            0        0          4
 Dominican Republic          2          0            3        0          0
 Ecuador                     6          2            6        4         12
 El Salvador                15          8            7        2         19
 Guatemala                  20         20           21       11         32
 Honduras                   10         14           16       11         30
 India                       0          0            1        0          0
 Kazakhstan                  1          0            0        0          0
 Mexico                     98        117          124      136        334
 Nicaragua                   1          1            2        0          4
 Peru                        0          1            0        0          0
 Romania                     1          0            0        0          0
 Venezuela                   0          0            0        1          1
 Unknown                  135         114          117       89        125
 Totals                   298         281          300      254        568




                                    6
                                                               Haiti AR_000443
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 68 of 729




 Table 4
        Southwest Border Deaths by Gender, Age Group, and Discoverer
      Gender        FY 2017     FY 2018     FY 2019    FY 2020     FY 2021
 Female                   18          15          28          22        101
 Male                    151         164         178         148        364
 Unknown                 129         102          94          84        103
 Totals                        298           281            300           254           568
      Age Group          FY 2017       FY 2018       FY 2019       FY 2020       FY 2021
 0 - 17                          9             4              8             7             8
 18 - 25                        29            44             43            46           110
 26 - 35                        43            39             53            42           114
 36 - 45                        30            32             40            27            75
 46 - 55                         6             9             12             9            37
 56 and Older                    2             2              3             6            13
 Unknown                       179           151            141           117           211
 Totals                        298           281            300           254           568
    Discoverer           FY 2017       FY 2018       FY 2019       FY 2020       FY 2021
 USBP                         201           201           226           200           448
 Other                         97            80            74            54           120
 Totals                       298           281           300           254           568

The majority of reported migrant deaths were male, accounting for 64 percent of the overall
total. Thirty-nine percent were between the ages of 18-35, however 37 percent of the decedent’s
ages remain unknown. Similar to previous fiscal years, USBP agents discovered the majority of
reported migrant deaths, accounting for 79 percent of the total in FY 2021.

Migrant deaths were highest during the months of June (105), August (95), and September (76),
which accounted for 49 percent of all reported migrant deaths in FY 2021. In those same
months, USBP averaged approximately 187,000 migrant encounters per month. The extreme
temperatures along the Southwest border during these months were a contributing factor, often
leading to heat-related injuries. Heat exposure continues to be the leading identified cause of
migrant deaths along the southwest border.

It is also important to note that migrants are often ill-prepared to make the journey across border
waterways and through the harsh terrain of the desert. Transnational criminal organizations
engaged in human smuggling typically disregard migrant safety over profit, and underplay the
dangers of the environment, misinform migrants on the travel distance, abandon them when they
are injured, or leave them behind if they cannot keep up with the group causing them to become
lost.




                                                 7
                                                                                   Haiti AR_000444
 A. Migrant Rescues
 The number of individuals rescued and overall rescue events by USBP increased drastically in FY 2021. This is largely driven by the
 310 percent increase in overall USBP encounters, which rose from 405,036 in FY 2020, to 1,662,167 in FY 2021. Additionally, there
 was a significant increase in motor-vehicle rescues, specifically with tractor-trailers, which accounted for 47 percent of overall
 reported rescues. The overwhelming majority, or 95 percent, of the motor-vehicle rescues were reported in the Laredo Sector.

 USBP also reported an increase in rescues associated with 911 calls. In FY 2021, USBP reported 4,724 rescues from 911 calls, which
 is a 136 percent increase from FY 2020, where USBP reported 1,586 rescues. In FY 2021, the MMP Internal Operating Procedure
 was implemented across all Southwest border sectors, promoting standardization in reporting and accounting for rescue efforts
 recorded under the MMP. This data highlights the extraordinary amount of resources USBP has dedicated to this humanitarian
 mission and to preventing the loss of life in the border region.

Table 5
                                        Number of Rescue Incidents and People
Sector                           Rescue Incidents                                                      People
                   FY 2017 FY 2018 FY 2019 FY 2020 FY 2021         FY 2017 FY 2018                   FY 2019 FY 2020         FY 2021
Rio Grande
Valley                  355        345         184         138          508      1,191       1,623        794         304           949
Laredo                  248        278         310         317          568      1,242       1,509      2,453       3,549         7,109
Del Rio                  50         60         108         104          906         99         114        480         202         2,096
Big Bend                 12         27          13          66          190         26          71         45         150           748
El Paso                  19         10          20           4          526         44          17         40          12           688
Tucson                  476        574         570         423          164        757         926        930         774           233
Yuma                       2        10          23          35          137          6          20         82         114           424
El Centro                  4         9          30          69          158          4          14         78         171           328
San Diego                27         13          16          40          266         48          25         19          60           282
Totals                  1,193     1,326      1,274       1,196        3,423      3,417       4,319      4,921       5,336        12,857
                                                                                                                                          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 69 of 729




                                                                  8
                                                                                                                     Haiti AR_000445
Table 6
                                                  Number of Rescues by Type
Rescue Type                                     Incidents                                People
                              FY 2017   FY 2018 FY 2019 FY 2020 FY 2021 FY 2017 FY 2018 FY 2019 FY 2020 FY 2021
Environmental Exposure-Heat       366       480       380      458     1,664   725 1,209     924  1,159   3,760
Environmental Exposure-Cold        49        56        64       56       317   112   118     132    139     961
Water-Related                      54        53       239      206       136   131    86     742    384     249
Other                             509       543       444      315     1,075   829   945     768    631   1,713
Motor-Vehicle-Related             215       188       138      152       209 1,620 1,938   2,343  2,979   5,999
Train-Related                       0         6         9        9        22     0    23      12     44     175
Totals                          1,193     1,326     1,274    1,196     3,423 3,417 4,319   4,921  5,336  12,857
                                                                                                                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 70 of 729




                                                        9
                                                                                             Haiti AR_000446
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 71 of 729




B. Rescue Beacons
USBP is utilizing a rescue beacon suitability model to determine the most suitable deployment
locations using spatial data science. Data sets, such as historic trends, land access, elevation, and
Agent response time, can be weighted according to criteria unique to each sector, allowing for
maximum effectiveness in each operating environment.

USBP has deployed 160 rescue beacons in high-traffic areas, many with unreliable or no cellular
phone coverage. Additionally, these areas historically have been near locations where migrant
remains have been discovered or multiple rescues have occurred. The use of these beacons has
proven useful over the years for providing a means of alerting USBP to migrants in distress;
however, the nature of distress that led to the specific activation of a deployed rescue beacons is
a data point that is not captured by USBP’s systems. USBP does have the ability to record a
disposition for a rescue beacon activation.

In FY 2021, USBP reported 83 successful rescues associated with rescue beacon activations.
While this number is relatively small compared to the overall number of beacons, USBP
identified a technological gap where the “rescue” had to be manually entered into the system at
the time of processing, and this was at times omitted. Given the implementation of the Internal
Operating Procedure and the standardization of reporting, USBP anticipates an increase in
reported rescues associated with rescue beacon activations in the future.

Additionally, USBP is transitioning from the legacy, fixed rescue beacons to a mobile rescue
beacon platform. Along with the added capability of adjusting to shifts in migration patterns,
mobile beacons are less expensive and have a smaller footprint, leading to more permissions
from landowner access requests. Currently, 50 of the deployed beacons, or 31 percent, are
mobile rescue beacons. USBP will continue to collaborate with local stakeholders regarding
rescue beacon locations and additional recommendations to reduce migrant deaths.




                        Fixed Rescue Beacon                     Mobile Rescue Beacon




                                                 10
                                                                                    Haiti AR_000447
    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 72 of 729




C. 911 Placards
In FY 2021, USBP continued the implementation of the 911 rescue placard system. These
placards are placed in areas where rescue beacons were impractical or not able to be deployed
because harsh terrain or land ownership access issues. There are currently 2,279 rescue placards
deployed in strategic locations along the southwest border. In FY 2021, 207 recorded rescues
were associated with this type of rescue equipment.




x    The 911 placards are a simple and accessible rescue aid that are deployed almost anywhere
     there is cell phone coverage.
x    If migrants have access to both a cell phone (which is common) and cellular battery life,
     they will be able to call 911 for help.
x    The informational placards provide migrants with a unique location identifier that the
     migrants can use to contact emergency management services to assist with locating them.
x    911 placards are placed on existing infrastructure and do not require any changes to the
     landscape.
x    USBP is developing a tracking mechanism for evaluating the system’s effectiveness versus
     a rescue beacon, considering cellular network coverage.

D. MMP Future Requirements
The dynamic border environment requires a strategy that is adaptive and responsive. CBP is
committed to MMPs lines of effort and will evolve with the ever-changing landscape. To that
end, CBP will focus efforts on multi-platform strategic messaging to accurately highlight the
dangers of irregular migration and combat the false narrative portrayed by smugglers and
criminal organizations. These efforts will include print, radio, social media, and others to
properly educate the targeted population. The criminal element uses social media very
effectively to advertise their illegal services and is responsible for many of these migrant deaths.

MMP will continue to engage with foreign and regional partners to increase trust and credibility,
improve feedback, and identify initiatives to partner to multiply the effectiveness of operations.
Specifically, MMP will enhance partnerships with the Office of Medical Examiners and NamUs
to build situational awareness and increase program effectiveness. MMP will promote


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                                                                                    Haiti AR_000448
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 73 of 729




transparency to achieve the desired outcome of maximized program capabilities through
mutually beneficial partnerships with internal and external stakeholders.

Technology changes fast and quickly becomes obsolete. MMP will continue to capitalize on
innovative solutions to meet program needs. Partnering with Industry, MMP is currently in the
process of piloting a Commercial Off the Shelf rescue beacon to deploy in the rugged terrain
along the Southwest border. The Commercial Off the Shelf model will reduce the construction
time and resources while increasing capability standardization. MMP is also researching drone
technology to increase situational awareness on the border using limited resources.

Finally, MMP is committed to continuously evaluating program data to make sound resource and
strategic decisions to improve outcomes. This will inform resource allocation, ensure mission
alignment, provide accountability to stakeholders, and influence the resource acquisition process.
MMP is currently piloting a 911 Emergency Management Portal in south Texas, which is a
multi-tiered system for recording and managing MMP activities within a given environment.
Based on significant increases in rescue response rates and data management, CBP will
determine the necessary resources for program expansion.




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                                                                                  Haiti AR_000449
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 74 of 729




IV. Conclusion

CBP is unwavering in its mission and aims to rise to every challenge with which it is faced. We
are committed to these humanitarian efforts and will continue to dedicate the appropriate levels
of resources to make the border region safer. We cannot do it alone, and we welcome the
opportunity to partner with our stakeholders in this shared mission to save lives.

As previously stated, CBP faced unprecedented challenges in FY 2021 but responded with equal
vigor and commitment. USBP alone conducted 12,857 successful rescues, setting an agency
record. The MMPs continue to be resourced and expanded, providing CBP with greater
humanitarian capabilities to match the threat. As the largest federal law enforcement agency in
the United States, CBP will continue to meet these existing and emerging humanitarian
challenges head on.




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 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 75 of 729




V. Appendices

Appendix A. List of Abbreviations
Abbreviation         Definition
CBP                  U.S. Customs and Border Protection
FY                   Fiscal Year
MMP                  Missing Migrant Program
NGO                  Nongovernmental Organizations
USBP                 U.S. Border Patrol




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 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 76 of 729




Appendix B. Map of Migrant Rescues and Rescue Beacons




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                                                               Haiti AR_000452
 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 77 of 729




Appendix C. Map of Migrant Deaths and Rescue Beacons




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                                                               Haiti AR_000453
SWLandBorderEncountersbyFYandCountryGroup:Productiondataasof9/6/2022
                                                ENCOUNTERS
                                Counts                                  Percentage             100.0%
         Mexico        NCA        Other           Total        Mexico   NCA        Other
2000      1,540,683 19,340 6,398 1,566,421      98.4%      1.2%       0.4%    90.0%
2001      1,201,510 21,127 8,775 1,231,412      97.6%      1.7%       0.7%
2002      902,042 21,138 7,161 930,341    97.0%      2.3%       0.8%    80.0%
2003      867,256 30,348 9,130 906,734    95.6%      3.3%       1.0%
                                                                                                70.0%
2004      1,074,330 51,462 14,455 1,140,247       94.2%      4.5%       1.3%
2005      1,103,162 114,040 52,028 1,269,230        86.9%      9.0%       4.1%
                                                                                                60.0%
2006      1,058,026 89,249 21,034 1,168,309       90.6%      7.6%       1.8%
2007      882,216 52,640 19,540 954,396     92.4%      5.5%       2.0%    50.0%
2008      727,494 46,616 18,299 792,409     91.8%      5.9%       2.3%
2009      565,248 39,935 13,930 619,113     91.3%      6.5%       2.2%    40.0%
2010      467,461 43,590 16,362 527,413     88.6%      8.3%       3.1%
2011      344,013 40,505 16,540 401,058     85.8%     10.1%       4.1%    30.0%
2012      316,890 88,322 20,893 426,105     74.4%     20.7%       4.9%
                                                                                                20.0%
2013      317,562 140,442 31,608 489,612      64.9%     28.7%       6.5%
2014      285,502 248,063 36,483 570,048      50.1%     43.5%       6.4%
                                                                                                10.0%
2015      253,660 142,341 48,855 444,856      57.0%     32.0%     11.0%
2016      256,083 227,458 75,450 558,991      45.8%     40.7%     13.5%      0.0%
2017      181,519 187,539 46,141 415,199      43.7%     45.2%     11.1%             2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017 2018 2019 2020 2021 2022
2018      221,711 258,413 39,820 519,944      42.6%     49.7%       7.7%
                                                                                                                                                   Mexico    NCA    Other
2019      237,067 623,569 116,593 977,229        24.3%     63.8%     11.9%
2020      297,692 106,760 53,614 458,066      65.0%     23.3%     11.7%
2021      655,591 701,049 378,043 1,734,683         37.8%     40.4%     21.8%
2022      807,236 541,088 1,029,008 2,377,332          34.0%     22.8%     43.3%
                                                                                                                                                                                                                               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 78 of 729




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SWLandBorderEncountersbyExpeditedRemovalsandCredibleFear:2013Ͳ2022Q3
                                   Expedited                                                                  Asa%of
          TotalEncounters                           CredibleFear          Asa%ofER
                                    Removal                                                                   Encounters
2013      489,612      236,330 38,981             16%                               8%
2014      570,048      229,389 54,230             24%                              10%
2015      444,856      180,679 50,043             28%                              11%
2016      558,991      228,019 97,575             43%                              17%
2017      415,199      160,397 71,121             44%                              17%
2018      519,944      214,808 99,825             46%                              19%
2019      977,229      223,291 101,734               46%                              10%
2020      458,066        91,765 25,705            28%                               6%
2021      1,734,683         84,707 69,635            82%                               4%
2022Q3    1,710,734         84,513 55,119            65%                               3%
Notes: Results based on source data as of June 30, 2022 and OIS Enforcement Lifecycle methodology as of May 31, 2021.
Source: DHS Office of Immigration Statistics Enforcement Lifecycle.
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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 80 of 729




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 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 81 of 729


Sent from my Verizon, Samsung Galaxy smartphone
Get Outlook for Android


From:
Sent: Saturday, December 10, 2022, 4:42 PM
To:
Cc:
Subject: RE: Updated data - decompression

Looping in                the MCC Section Chief.




Thank you,


National Incident Commander
Southwest Border Coordination Center
US Customs and Border Protection
Department of Homeland Security




From:
Sent: Wednesday, December 7, 2022 12:04 AM
To:
Subject: Updated data - decompression

Shane – can you point me to the right POC to update this data to reflect the month of November?




Acting Director, Border and Immigration Policy
U.S. Department of Homeland Security


                                                                                   Haiti AR_000457
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 82 of 729




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  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 83 of 729




https://www.cbp.gov/newsroom/local-media-release/cbp-law-enforcement-assist-42-haitian-
migrants-after-landing-key


CBP, Law Enforcement Assist 42 Haitian
Migrants after Landing in Key Biscayne.
Release Date
Wed, 08/25/2021 - 12:00

MIAMI – U.S. Customs and Border Protection (CBP) operational components, Air and Marine
Operations (AMO), the U.S. Border Patrol, along with other law enforcement partners,
responded to a maritime smuggling event on Tuesday afternoon near Key Biscayne where 42
Haitian nationals were found. A Good Samaritan call alerted agencies to a vessel that ran
aground, and migrants attempting to make their way to shore.




                                            Miami CBP agents provide care and assistance
to Haitian nationals off the coast of Florida.

“These maritime smuggling efforts are extremely dangerous. Often, smugglers do not have life
jackets, their passengers cannot swim, their vessels are not seaworthy. said Rony Chinchilla,
CBP Marine Unit Supervisory Marine Interdiction Agent. “Without these strong partnerships,
curbing the flow of maritime smuggling and saving lives would be nearly impossible.”

When AMO agents reached the grounded vessel, 23 women and children were found below deck
thirsty, tired and some overcome by the heat. All were safely transferred over to an AMO
vessel. A mother and son were transferred over to responding Emergency Medical Services at
nearby Marina for care and treatment.




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  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 84 of 729




                                          Miami US Coast Guard and CBP Marine patrol off
the Florida coast after maritime smuggling event.

 Collaboration from the U.S. Coast Guard, Florida Fish and Wildlife Conservation Commission,
and local Florida law enforcement partners proved key to a safe outcome.

All the migrants were taken into Border Patrol custody where they will be interviewed and
processed for removal proceedings. An investigation regarding the incident is ongoing.

AMO safeguards our Nation by anticipating and confronting security threats through our aviation
and maritime law enforcement expertise, innovative capabilities, and partnerships at the border
and beyond. With approximately 1,800 federal agents and mission support personnel, 240
aircraft and 300 marine vessels operating throughout the United States, Puerto Rico, and U.S.
Virgin Islands, AMO serves as the nation’s experts in airborne and maritime law enforcement.

U.S. Customs and Border Protection is the unified border agency within the Department of
Homeland Security charged with the management, control and protection of our nation's borders
at and between official ports of entry. CBP is charged with securing the borders of the United
States while enforcing hundreds of laws and facilitating lawful trade and travel.

Tags:
Border Security
,
Air and Marine Operations
,
Smuggling
,
U.S. Border Patrol

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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 85 of 729




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 86 of 729




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 87 of 729




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 88 of 729




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 89 of 729




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 90 of 729




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  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 91 of 729




US Border Patrol Apprehends 64 Haitians
Who Were Abandoned by Smugglers in
Mona Island
Release Date
Wed, 10/19/2022 - 12:00

AGUADILLA, Puerto Rico –US Border Patrol Agents apprehended Wednesday 64 Haitian
migrants who were abandoned by smugglers on Mona Island Tuesday morning.




64 haitian migrants are transferred from a US Coast Guard cutter in Mayaguez Puerto Rico

““Unscrupulous smugglers are exploiting vulnerable migrants and lying to them for financial
gain,” indicated Scott Garrett, Acting Chief Patrol Agent for Ramey Sector. ““Smugglers lied to
these migrants leaving them on an uninhabited natural reserve with complete disregard for their
safety.”

On Oct. 18, Park Rangers from the Puerto Rico Department of Environmental and Natural
Resources (PRDENR) contacted the Ramey Border Patrol Sector indicating that they
encountered a group of 104 undocumented migrants that were abandoned in the islands early in
morning.

On Oct. 19, the US Coast Guard cutter Joseph Napier transferred the 64 Haitian migrants to the
custody of Ramey Border Patrol Agents at the Mayaguez Port of Entry.

Three females who are pregnant were transported to a local hospital for medical examination.

Agents transported the group to the Ramey Station for immigration processing.

Mona island is an ecological reserve held by the Puerto Rican government and is not
permanently inhabited.



                                                                                Haiti AR_000467
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 92 of 729




The Ramey Sector is one of the twenty-one Sectors spread out across the United States.
Encompassing the U.S. territorial islands of Puerto Rico and the Virgin Islands, it is the only
Border Patrol Sector located outside the continental United States. The Sector's entire border
area is made up of coastline and its area of responsibility is made up of some 6,000 square miles
of land and water area, including the twelve-mile band of territorial water surrounding the
Islands.

For anonymous tips contact us at 1(800)981-1313.

Follow us on Twitter: @CBPCaribbean

U.S. Customs and Border Protection is the unified border agency within the Department of
Homeland Security charged with the comprehensive management, control, and protection of our
nation’s borders, combining customs, immigration, border security, and agricultural protection
at and between official ports of entry.

Tags:
Border Security
,
Smuggling
,
U.S. Border Patrol

   x   Last Modified: October 20, 2022

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    Share This Page.

Press Officer
   x   Name: Jeffrey Quinones

       Email:

       jeffrey.h.quinones@cbp.dhs.gov

       Phone:

CBP Public Affairs
Contact Information for Media:
Phone:(202) 344-1780
Email: CBPMEDIARELATIONS@cbp.dhs.gov
All Other Inquiries: (202) 325-8000

https://www.cbp.gov/newsroom/local-media-release/us-border-patrol-apprehends-64-haitians-who-were-
abandoned-smugglers



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   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 93 of 729




DHS/ICE/ERO Data on Haitian repatriations FY 2022 – FY 2023 YTD

                   Flights Completed          T-42 Expulsions   Title 8 Removals
 September              58 flights                 6,208                 9
  October               21 flights                 1,784               246
 November               9 flights                   451                459
 December               29 flights                 2,899               299
   January              36 flights                 3,923                18
  February              13 flights                 1,083                35
    March               10 flights                  685                 85
     April              16 flights                 1,579                63
     May                36 flights                 3,968                14
     June               5 flights                   386                 32
     July               2 flights                    0                  19
   August               2 flights                    0                  50
 September               1 flight                    0                  36
  October               0 flights                    0                   0
 November               0 flights                    0                   0
 December*               1 flight                    0                  20
 * December data is updated through 12/14/2022.




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 99 of 729




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Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 100 of 729




   TRAFFICKING IN PERSONS REPORT
                             JULY 2022




                                                               Haiti AR_000476
   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 101 of 729




MESSAGE FROM THE SECRETARY OF STATE

Dear Reader:

Everyone should be free. And yet, through force, fraud, and coercion, human traffickers violate this most basic right. Traffickers’
exploitative practices affect every country in the world, including the United States, by diminishing and destroying our communities,
sense of security, and the global economy. This year’s Trafficking in Persons Report turns the spotlight to more clearly illuminate
the impact of human trafficking on our global community and on actions we can take as individuals, and as a society, to combat
this deplorable crime everywhere it occurs, especially in the most at-risk communities.

The pages that follow highlight the incredible strides and achievements of survivor leaders and individuals with lived experience
of human trafficking, including their role as valued anti-trafficking experts. They built, and continue to sustain, the movement to
combat human trafficking in a manner that reﬂects the realities and needs of those currently experiencing exploitation. However,
much work remains to create opportunities for responsibly engaging and elevating survivors’ expertise. Their voices are critical to
crafting successful anti-trafficking responses, and we hope the report’s introduction serves as a resource for our global partners
seeking to improve their anti-trafficking efforts by integrating survivors’ expertise.

Through the special topic boxes in this report, we explore key issues of grave and urgent concern, including the inequitable impact
of human trafficking on vulnerable and marginalized populations.

This year’s report is released in the midst of an unprecedented humanitarian crisis. Russia’s senseless continued invasion of Ukraine
and its devastating attacks across that country have inﬂicted unfathomable pain and suffering and forced millions of Ukrainian
citizens and others to ﬂee seeking safety. We are deeply concerned about the risks of human trafficking faced by individuals
internally displaced by the war, as well as those ﬂeeing Ukraine, an estimated 90 percent of whom are women and children. The
food insecurity and other broader effects of Russia’s war exacerbate trafficking risks around the globe.

Let us stand together and press for accountability from those leaders who condone and support human trafficking, create conditions
ripe for mass exploitation, and perpetuate this fundamental insult to human dignity. Those that perpetrate, condone, or support
this crime must be held accountable.

Throughout the report, a unifying theme emerges—human trafficking affects us all. Its impact ripples across the fabric of our global
community. We must work together, and in partnership with survivor leaders, to effectively address this crime.




                                                                       Sincerely,




                                                                                                           Haiti AR_000477
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 102 of 729




                                                               Haiti AR_000478
    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 103 of 729




MESSAGE FROM THE SENIOR OFFICIAL

Dear Reader:

As a critical means to continuously improve anti-trafficking efforts, stakeholders should engage with survivors of human trafficking;
to listen to, learn from, and lift the voices of those with lived experience. This year’s introduction centers on survivor engagement
and highlights the vital role that survivors of human trafficking play in developing and implementing survivor-led, trauma-informed,
and comprehensive victim-centered approaches to human trafficking.

The Department of State continues to prioritize the integration of survivor expertise into our work. Here, the U.S. Advisory Council
on Human Trafficking has been a vital component in our ability to ensure that the strategies we put in place are victim-centered
and trauma-informed. Council members come from diverse backgrounds with distinctive experiences. Their contributions and
recommendations are invaluable. It is critical that survivor leaders have a seat at the table, but we need to do more. We also rely
on our work with the Human Trafficking Expert Consultant Network—which consists of experts with lived experience of human
trafficking. Their assistance has helped us develop survivor-informed programs, policies, and resources for our government
and beyond, including the introductory essay of this report. As a movement, we must engage survivors early and often in the
development of our policies and programs and learn from stakeholders who prioritize meaningful consultation with those with
lived experience, to share best practices globally.

Another key priority, which also requires the counsel of survivors, is increasing our efforts to meaningfully incorporate equity in our
anti-trafficking work. For example, systemic racism continues to create socioeconomic inequalities that traffickers exploit. This year’s
country narratives prioritize integrating an equity-based approach, including by enhancing our reporting on underserved communities
and assessing delivery of justice and services to victims among these populations. We are committed to drawing attention to the
vulnerabilities that human traffickers routinely exploit, especially as they pertain to individuals from marginalized or underserved
communities, and ensuring governments are able to identify and assist all victims. As you read through the report, I also urge you to
look closely at the special interest boxes that highlight forced labor and the transition to clean energy, how the climate crisis increases
trafficking risks of people everywhere, and the harmful costs associated with the People’s Republic of China’s Belt and Road initiative.


Through these partnerships and listening to the expertise of those with lived experience, we can continue to improve our
anti-trafficking efforts even in the face of an unconscionable war of choice placing millions at risk, historically high levels of displaced
persons around the globe, economic anxiety, and the disruptions of climate change. Despite the signiﬁcant challenges, the global
community has been steadfast in our anti-trafficking efforts. We will press on in our efforts and look forward to doing so together.




                                                                           Sincerely,




                                                                                                                 Haiti AR_000479
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 104 of 729




                                                               Haiti AR_000480
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 105 of 729




Migrant workers pick tomatoes on a
farm in the United States. Low-wage
and migrant workers face riskier
employment conditions, including
restricted movement, minimal
oversight mechanisms, withheld
wages, and increasing debts—all
indicators of human trafficking.



                                                                          Haiti AR_000481
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 106 of 729




                                                                              Table of Contents

                    SURVIVOR ENGAGEMENT IN THE ANTI-TRAFFICKING FIELD:
                    HISTORY, LESSONS LEARNED, AND LOOKING FORWARD                                                 2

                    UNDERSTANDING HUMAN TRAFFICKING                                                              31

TOPICS OF SPECIAL INTEREST

                    Forced Labor: The Hidden Cost of China’s Belt and Road Initiative                            36

                    Forced Labor and the Clean Energy Transition: Finding A Responsible Way Forward              38

                    The Climate Crisis: Exacerbating Vulnerabilities and the Looming Increase of Exploitation    41

                    Promising Practices in Data Collection, Management, and Dissemination                       44

                    Linking Efforts to Combat Corruption and Trafficking in Persons                              46



                    CHILD SOLDIERS PREVENTION ACT LIST                                                           50

                    WHEN THE GOVERNMENT IS THE TRAFFICKER:
                    STATE-SPONSORED TRAFFICKING IN PERSONS                                                       51

                    METHODOLOGY                                                                                  52

                    TVPA MINIMUM STANDARDS FOR THE ELIMINATION OF TRAFFICKING IN PERSONS                         58

                    GLOBAL LAW ENFORCEMENT DATA                                                                  62

                    2022 TIP REPORT HEROES                                                                       64

                    TIER PLACEMENTS AND REGIONAL MAPS                                                            69

                    HOW TO READ A COUNTRY NARRATIVE                                                              76

                    COUNTRY NARRATIVES                                                                           77

                    RELEVANT INTERNATIONAL CONVENTIONS                                                          608

                    STOPPING HUMAN TRAFFICKING AND SEXUAL EXPLOITATION AND ABUSE BY
                    INTERNATIONAL PEACEKEEPERS AND CIVILIAN PERSONNEL                                           609

                    INTERNATIONAL, REGIONAL, AND SUB-REGIONAL ORGANIZATIONS COMBATING
                    TRAFFICKING IN PERSONS                                                                      611

                    ANNUAL REPORT ON THE USE OF CHILD SOLDIERS                                                  615




THIS REPORT IS AVAILABLE ONLINE


                                                                                                    HaitiIN
                                                                                        2022 TRAFFICKING  AR_000482
                                                                                                            PERSONS REPORT |1
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 107 of 729



                                                          “Human trafficking is an unconscionable attack
                                                          on the dignity of the most vulnerable among us.
                                                                                        Action can’t wait.”
                                                                                                      President Joseph R. Biden Jr.




         SURVIVOR ENGAGEMENT IN
         THE ANTI-TRAFFICKING FIELD:
         HISTORY, LESSONS LEARNED,
         AND LOOKING FORWARD
         Please note that this introduction contains substantial input from the Human Trafficking Expert Consultant Network (the
         Network). The purpose of the Network is to engage experts, particularly those with lived experience of human trafficking,
         to provide expertise and input on Department of State anti-trafficking policies, strategies, and product.

         Survivors of human trafficking play a vital role in combating this crime. Their perspective and experience should be taken
         into consideration to better address this crime and to craft a better response to it. They run organizations, advocate
         before legislatures, train law enforcement officers, conduct public outreach, and collaborate with government officials
         on local and national levels. They serve the anti-trafficking community and society at large as doctors, lawyers, mental
         health professionals, and more. Engaging survivors as partners is critical to establishing effective victim-centered,
         trauma-informed, and culturally competent anti-trafficking polices and strategies that address prevention, protection,
         and prosecution efforts. Meaningful engagement means collaborating with survivors in all aspects of anti-trafficking
         efforts such as developing practices, policies, and strategies, as well as prioritizing survivor leadership of those efforts
         whenever possible.

         The goal of this introduction is to highlight and emphasize the importance of meaningful survivor engagement – speciﬁcally
         with experts with lived experience of human trafficking for whom sufficient time has passed since their victimization –
         and to share context, lessons learned, and guidance to governments, international organizations, civil society, private
         sector entities, and other stakeholders who wish to further their survivor engagement efforts. While many anti-trafficking
         stakeholders have long consulted survivors in their work, it is imperative that this engagement be done in a responsible
         and meaningful way and that stakeholders develop and improve upon their approaches to doing so. This effort will
         bolster inclusivity, help prevent sensationalism, and reduce potential re-traumatization of survivors. It will also promote
         more effective criminal justice responses that provide remedies for victims and survivors and help prevent trafficking
         crimes. This year’s introduction seeks to establish a solid foundation for how to responsibly engage survivors through
         trauma-informed approaches that promote transparency, trust, equity, inclusivity, and commitment to collaboration.




2| 2022 TRAFFICKING IN PERSONS REPORT                                                                      Haiti AR_000483
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 108 of 729




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                                                                                                    RE PO     |3
                                                                                                                 3
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 109 of 729




      A child’s bike sits under drying
      clothes in one country in the East
      Asia and Paciﬁc region where
      communities continue to face
      rising temperatures and heavy
      rains. While climate change does
      not discriminate, underserved
      and marginalized communities
      are more likely to experience
      its impacts and, consequently,
      are even more vulnerable to
      trafficking.




          The background, learnings, and promising practices offered in the sections to follow are informed primarily by survivor
          leaders, as well as anti-trafficking practitioners and allies in the ﬁeld, creating a collective basis of understanding upon
          which the anti-trafficking community can build.

          Integrating survivors and their perspective and expertise into the development and execution of anti-trafficking policy,
          programming, and public awareness efforts is essential. This recognition has prompted governments and stakeholders to
          consider the best mechanisms to incorporate survivor input and to establish adequate support, including compensation,
          for survivor leaders. Solutions to combat human trafficking and serve victims are most effective when designed and
          informed by those who have survived it.




4| 2022 TRAFFICKING IN PERSONS REPORT                                                                       Haiti AR_000485
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 110 of 729
In Nepal, an adult domestic
worker cleans a home.
Domestic workers are
particularly vulnerable to
human trafficking because
they are often isolated in
the homes where they work
and their employers control
their access to food and
transportation, as well as
their identity documents.




   HUMAN TRAFFICKING DEFINED
   The Trafficking Victims Protection Act of 2000, as amended (TVPA), deﬁnes “severe
   forms of trafficking in persons” as:

         E sex trafficking in which a commercial sex act is induced by force, fraud, or coercion, or in which
             the person induced to perform such an act has not attained 18 years of age; or
         E the recruitment, harboring, transportation, provision, or obtaining of a person for labor or services,
           through the use of force, fraud, or coercion for the purpose of subjection to involuntary servitude,
           peonage, debt bondage, or slavery.

   A victim need not be physically transported from one location to another for the crime
   to fall within this deﬁnition.



                                                                                              HaitiINAR_000486
                                                                                 2022 TRAFFICKING     PERSONS REPORT |5
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 111 of 729




         TERMINOLOGY

         As noted in the 2021 report of the U.S. Advisory Council on Human Trafficking (the Council), there are myriad terms
         survivors use to identify themselves. While some individuals who have experienced trafficking choose to embrace the
         title “survivor,” others do not. Terminology regarding human trafficking varies based on a country’s respective laws and
         language(s). The word “survivor” is not generally deﬁned by law, nor is it universally used or accepted in the context
         of human trafficking. In some countries, “survivor” may refer to those who have experienced historical, collective, or
         cultural trauma.

         Within the United States, there are some widely used terms for individuals who have experienced human trafficking
         and subsequently decided to engage in anti-trafficking related work on a professional level. Individuals may prefer to
         be referred to as “survivor leaders,” “survivor advocates,” or “subject matter experts with lived experience of human
         trafficking.” Some may have other titles or prefer not to identify based on this experience at all. In recognizing individuals’
         full life experiences, skill sets, and professional goals, it is important to always ask someone how they want to be identiﬁed.
         Policymakers and stakeholders should not assume that someone who identiﬁes as a “survivor leader,” “survivor advocate,”
         or “expert with lived experience of human trafficking” should be referred to as such in a professional setting or that
         identiﬁcation as a survivor leader makes it acceptable to inquire about someone’s personal experience with human
         trafficking. For simplicity and consistency, the terms “survivor” and “survivor leader” are used throughout this introduction.

         Other important terms used in this introduction and in country narratives within this report include:

             E Victim: In the United States, the term “victim” means a person who has suffered direct physical, emotional, or
               pecuniary harm as a result of the commission of a crime. As in the United States, in some other countries “victims”
               are expressly afforded certain rights and services to assist during and in the aftermath of the commission
               of that crime. For these reasons, country narratives within this report still make extensive use of this term.
               Adopting survivor and trauma-informed approaches should not conﬂict or compete with the provision of
               assistance entitled to victims.




6| 2022 TRAFFICKING IN PERSONS REPORT                                                                        Haiti AR_000487
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 112 of 729




E Victim-centered approach: Stakeholders place the crime victim’s priorities, needs, and interests at the center
  of their work with the victim; providing nonjudgmental assistance, with an emphasis on self-determination, and
  assisting victims in making informed choices; ensuring restoration of victims’ feelings of safety and security
  are a priority; and safeguarding against policies and practices that may inadvertently re-traumatize victims.
  A victim-centered approach should also incorporate a trauma-informed, survivor-informed, and culturally
  competent approach.

E Survivor-informed approach: A program, policy, intervention, or product that is designed, implemented, and
  evaluated with intentional leadership, expertise, and input from a diverse community of survivors to ensure
  that the program, policy, intervention, or product accurately represents their needs, interests, and perceptions.

E Trauma-informed approach: A trauma-informed approach recognizes signs of trauma in individuals and the
  professionals who help them and responds by integrating knowledge about trauma into policies, procedures,
  practices, and settings and by seeking to actively resist re-traumatization. This approach includes an
  understanding of the vulnerabilities and experiences of trauma survivors, including the prevalence and physical,
  social, and emotional impact of trauma. A trauma-informed approach places priority on restoring the survivor’s
  feelings of safety, choice, and control. Programs, services, agencies, and communities can be trauma-informed.

E Culturally competent approach: Cultural and linguistic competence is a set of congruent behaviors, attitudes,
  and policies that come together in a system, agency, or among professionals that enables effective work in
  cross-cultural situations. ‘Culture’ refers to integrated patterns of human behavior that include the language,
  thoughts, communications, actions, customs, beliefs, values, and institutions of racial, ethnic, religious, or social
  groups. ‘Competence’ implies having the capacity to function effectively as an individual and an organization
  within the context of the cultural beliefs, behaviors, and needs presented by consumers and their communities.




                                                                                                HaitiINAR_000488
                                                                                   2022 TRAFFICKING     PERSONS REPORT |7
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 113 of 729




                                                                                                    Boats sit at port in Taiwan.
                                                                                                    Fo r ce d l a b o r i n t h e
                                                                                                    fishing sector remains a
                                                                                                    signiﬁcant concern. With
                                                                                                    isolated activity and vessels
                                                                                                    spending months to years at
                                                                                                    sea, it is difficult for victims
                                                                                                    of labor trafficking to leave
                                                                                                    their exploitative situation.




         Historical Background and Reﬂections
         Over the past two decades, there have been notable developments in the anti-trafficking movement, including the
         ongoing elevation of survivor leaders as inﬂuential decision-makers. Survivors have been instrumental in advocating
         for and guiding the incorporation of victim-centered, survivor-informed, trauma-informed, and culturally competent
         approaches in anti-trafficking efforts on a local and global scale.

         First and foremost, it is important to acknowledge and address survivors’ long-term suffering and struggle to overcome
         exceptional challenges to establish and solidify their role as leaders in the anti-trafficking movement. When the anti-
         trafficking movement launched in the United States in the 1990s, trafficking survivors had few options for tailored support.
         Prior to the adoption of the TVPA and the UN TIP Protocol, individuals who had survived human trafficking experiences
         were served primarily by organizations lacking an understanding of human trafficking. The lack of dedicated and diverse
         services for victims of trafficking further marginalized and endangered survivors. Additionally, victims and survivors
         also faced stigmatization by some of the media’s misleading, yet inﬂuential, portrayal of survivors as either criminals or
         individuals who “are damaged for life and will never recover.” Furthermore, there were few opportunities for survivors
         who were willing to participate in the development of solutions related to service delivery, nor were there training or
         employment opportunities for survivor leaders. As the anti-trafficking ﬁeld grew, survivors were mostly called on to
         share stories of their trafficking experience and faced barriers and competition to participate as legitimate partners or
         experts in anti-trafficking policy and programming efforts.




8| 2022 TRAFFICKING IN PERSONS REPORT                                                                          Haiti AR_000489
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 114 of 729



   “Our plan centers on the key pillars of U.S. and global anti-trafficking efforts:
   prevention, protection, prosecution, and partnerships. We are focused on the
 most vulnerable. And based on my experience, the most vulnerable are women
      and girls, racial and ethnic minorities, LGBTQI+ people, Indigenous people,
 people with disabilities, migrants, and children in the foster care system. When
    we identify who is most vulnerable, we can tailor our tactics and improve our
 strategy, we can look at what is putting communities at risk in order to improve
  our prevention efforts, and we can look at ways to reach those communities to
                  ensure that support is trauma-informed and survivor-centered.”
                                                                                                              Kamala D. Harris,
                                                                                                             U.S. Vice President




The long-standing trend of engaging survivors solely to share their trafficking experience is not always an appropriate or
meaningful way to engage survivors. Storytelling can be a powerful tool to shed light on the reality of human trafficking;
however, it can easily cause survivors to relive the trauma they experienced. It can also be harmful if survivors’ stories are
used without their consent or a survivor feels compelled to accept a paid speaking request to share their story because
of their economic situation. Survivors should not be engaged solely for storytelling purposes; yet survivors should not be
dissuaded from sharing their story if they choose to do so. The recommendations in the later part of this introduction have
been offered by survivors as promising practices in ethical storytelling. It is essential that in moving forward, governments,
anti-trafficking organizations, the media, and private sector entities reﬂect on past policies, practices, and actions, as
well as acknowledge unintentional harm to survivors, and commit to change for the better.




             “For those who began to identify as survivors, the feeling of being oppressed was, in essence,
              replicated by the very organizations that they relied on for aid, even more so for those with diverse
              identities. Survivors who were committed advocates were overlooked as experts and were competed
              against or replaced by agency endorsed non-survivor advocates causing them to lose training and
              employment opportunities. As Dr. Countryman-Roswurm noted, they were ‘rarely genuinely lifted
              up, respected, treated as equal partners, or supported and followed as competent leaders.’”


                                                                                                   Dawn Schiller,
               Training Director, L.A. County Project, Coalition to Abolish Slavery and Human Trafficking (CAST),
                                                      Human Trafficking Lived Experience Expert and Consultant




                                                                                                         HaitiINAR_000490
                                                                                            2022 TRAFFICKING     PERSONS REPORT |9
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 115 of 729




         While there is still signiﬁcant room for improvement, it is important to recognize the progress made thus far. Many
         survivors have overcome real and serious challenges and made remarkable strides forward, such as pursuing advanced
         degrees and founding NGOs that advance anti-trafficking priorities. In response to survivors’ advocacy efforts, the global
         anti-trafficking community has taken tangible steps toward more meaningful survivor engagement. Governments, anti-
         trafficking organizations, and private sector entities are now developing strategies and creating opportunities to build
         more meaningful working relationships with survivors. Though signiﬁcant work towards meaningful improvement remains,
         efforts taken to date demonstrate survivors’ role as qualiﬁed experts, leaders, and equal partners in the development
         and implementation of anti-trafficking efforts. Throughout the past decade in the United States, survivor leaders have
         developed, drafted, and shaped signiﬁcant landmark legislation in support of more effective anti-trafficking efforts. One
         of the major accomplishments resulting from these efforts was the establishment of the United States Advisory Council
         on Human Trafficking, noted below. Other recently enacted U.S. legislation has explicitly recognized the necessity of
         survivor engagement, for example to inform development of human trafficking training requirements for health care
         and social service providers; to improve detection of human trafficking related ﬁnancial transactions when surveilling
         money laundering and counter-terrorist ﬁnancing activities; and to enhance efforts to combat crime, including human
         trafficking, affecting American Indians and Alaska Natives.

         The anti-trafficking ﬁeld has signiﬁcantly progressed in its understanding and practice of survivor engagement. Yet, there
         are still important lessons to learn for any government, anti-trafficking organization, or private sector entity seeking to
         further their survivor engagement efforts. Some recommendations based on lessons learned thus far are highlighted
         below under “Considerations for Engagement.”



         Models for Engagement
         Now more than ever, anti-trafficking stakeholders are incorporating survivor expertise and input at all stages of developing
         and implementing policies, procedures, and programs. Within the government space, as well as the NGO community,
         various models to include survivor expertise have emerged, such as advisory councils and boards and consultant
         mechanisms, as well as training and technical assistance centers. Government agencies at all levels should explore formal
         platforms to meaningfully engage survivors as subject matter experts and equal partners to become more survivor-
         informed in their policies and program implementation. Regardless of the model, governments and organizations must
         ensure the application of a victim-centered, trauma-informed, and culturally competent approach; provide competitive
         compensation for survivors’ expertise and contributions; and be willing to dedicate resources and explore ways to
         implement the changes recommended by survivor leaders. While further evaluation is needed to discover other promising
         initiatives globally, the following mechanisms showcase notable developments that may serve as a model to others.




10| 2022 TRAFFICKING IN PERSONS REPORT                                                                    Haiti AR_000491
     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 116 of 729


                 “Our narrative must not merely be inspiring, but the lessons that lie
                                         within them must be turned into solutions.”
                                                                                         Honorable Shandra Woworuntu,
                                                 Chair of the OSCE International Survivors of Trafficking Advisory Council,
                                                      CEO of Mentari Human Trafficking Survivor Empowerment Program




Advisory Councils and Boards
   E United States Advisory Council on Human Trafficking (Council): In 2015, the Survivors of Human Trafficking
     Empowerment Act, which was passed as part of the Justice for Victims of Trafficking Act, established the Council.
     The establishment of the Council, an idea originated by survivors and the world’s ﬁrst survivor engagement
     mechanism of its kind, created a formal platform for human trafficking survivors to provide input on federal
     policies and marked a signiﬁcant breakthrough in the anti-trafficking movement. The Council advises and makes
     recommendations on federal anti-trafficking policies to the President’s Interagency Task Force to Monitor and
     Combat Trafficking in Persons, a cabinet-level entity created by the TVPA, which consists of 20 agencies across
     the federal government responsible for coordinating U.S. government-wide efforts to combat trafficking in
     persons. Each member of the Council is a survivor of human trafficking, and together they represent a diverse
     range of backgrounds and experiences. Members of the Council are appointed by the President for two-year
     terms. Since it was established, the Council has produced ﬁve reports containing recommendations for the U.S.
     government related to rule of law, public awareness, victim services, labor laws, grantmaking, survivor-informed
     leadership, and underserved populations. After years of advocacy from the Council and other survivor leaders,
     the U.S. Congress included provisions in the William M. (Mac.) Thornberry National Defense Authorization
     Act for Fiscal Year 2021 (P.L. 116-283) to compensate the Council for its work and contributions to federal
     government anti-trafficking efforts.

   E International Survivors of Trafficking Advisory Council (ISTAC): Established in 2021, the ISTAC currently
     consists of 21 survivor leaders from across OSCE’s 57 member states, representing a diverse range of expertise
     and backgrounds. The ISTAC provides advice, guidance, and recommendations to the OSCE Office for Democratic
     Institutions and Human Rights (ODIHR), and through ODIHR to the OSCE participating states, on matters
     pertaining to combating human trafficking, including but not limited to: draft legislation, policies, and state
     practices; implementation of relevant OSCE participating states’ commitments; research, drafting, and reviewing
     of material related to the international normative framework for combating human trafficking; and educational
     and capacity-building efforts undertaken by ODIHR to combat human trafficking in the OSCE region. For
     example, the ISTAC contributed to ODIHR’s updated version of its National Referral Mechanism (NRM) Handbook
     to provide guidance to OSCE participating states on establishing and strengthening NRMs. The ISTAC also
     provides guidance to survivor leaders on the tools necessary to foster the growth of national and international
     survivor networks and promotes the standardization of survivor-related terminology within anti-trafficking
     frameworks. Members are compensated for certain ISTAC-related work, including participation in trainings
     and speaking engagements.

  E Albania’s Advisory Board for Victims of Trafficking: The Coalition of Shelters for Victims of Trafficking in Albania
    has an Advisory Board for Victims of Trafficking composed of survivors of trafficking, with its own Regulation
    and Code of Conduct. The Board advises shelters on addressing the speciﬁc needs of victims in relation to
    identiﬁcation, protection, and support and on consistently improving the shelters’ policies and practices.




                                                                                                  HaitiINAR_000492
                                                                                     2022 TRAFFICKING     PERSONS REPORT |11
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 117 of 729


    Fruit of the oil palm: forced labor has been
    documented in the production of palm
    oil in Malaysia and Indonesia.




           Additionally, the Government of Canada, as part of its National Strategy to Combat Human Trafficking 2019-2024,
           committed to establishing a Survivor Advisory Committee comprising survivors of human trafficking to provide a platform
           in which individuals with lived experiences can inform and provide their unique and invaluable recommendations to the
           Government of Canada on current and future federal anti-human trafficking policies and initiatives. The Inter-Agency
           Coordination Group against Trafficking in Persons, composed of UN and regional organizations, released its ﬁrst Plan of
           Action in late 2020, which includes strengthening its engagement and partnerships with survivor councils and associations,
           as well as among other stakeholders, to ensure a human rights-based approach.

           Consultant and Training and Technical Assistance Mechanisms
           Within the United States, federal agencies have developed training and technical assistance centers and consultant
           mechanisms comprising survivor leaders and other relevant subject matter experts to bolster stakeholder and government
           efforts to combat trafficking. These mechanisms exist within the Departments of Justice, Health and Human Services,
           State, and Homeland Security. Additionally, the Department of Health and Human Services (HHS) created the Human
           Trafficking Leadership Academy (HTLA), which seeks to develop and expand survivor-informed services, offering
           leadership development opportunities to survivor leaders and allied professionals. The ﬁrst class of HTLA fellows informed
           the “Toolkit for Building Survivor-Informed Organizations.”

           Internationally, governments have also consulted with survivor leaders to improve their anti-trafficking efforts. For
           example, the Governments of the Philippines and the United Kingdom sought survivor input to inform the provision of
           protection services. The Government of the United Kingdom engaged directly with survivors to better understand their
           recovery needs and experiences with the NRM. It also solicited survivor input for the creation of an inspection regime
           for government-commissioned victim support services. In the Philippines, the Inter-Agency Council Against Trafficking
           conducted virtual focus group discussions with trafficking survivors to seek feedback on protection services, case
           management, and challenges in the provision of services.




12| 2022 TRAFFICKING IN PERSONS REPORT                                                                     Haiti AR_000493
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 118 of 729




                           PHILIPPINES – QATAR – UNITED KINGDOM

                              Malaya’s husband became very sick and could not work in their home
                              country of the Philippines, so she sought work abroad to support them
                              both. An employment agency found her a job as a domestic worker in
                              Qatar, where her employer paid her less than the agreed upon salary
                              in her work contract and refused to give her time off. The employer
                              refused to allow Malaya to leave her job and physically and emotionally
                              abused her. Finally, her employer took Malaya to the UK to work for his
                              sister where she was also trapped in domestic servitude, not allowed
                              outside, and had to sleep on the ﬂoor. One day while her employer was
                              asleep, Malaya escaped to a nearby church where members of a Filipino
                              workers’ union provided her shelter and referred her to victim services.




                                                                           Haiti
                                                             2022 TRAFFICKING INAR_000494
                                                                                 PERSONS REPORT |13
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 119 of 729



                                       “...Because this is a global problem we have to have a global
                                            coalition to confront it, one that cuts across government,
                                                 business, civil society, all other parts of our society.”
                                                                                                                    Antony J. Blinken,
                                                                                                                U.S. Secretary of State




         The Governments of Guyana, Rwanda, and the Netherlands have consulted survivors on updates to their respective national
         action plans—critical to informing future whole of government approaches to address human trafficking. Additionally,
         the Organization of American States acknowledged the importance of survivor engagement in developing national
         policies and programs in its 2015-2018 Work Plan against Trafficking in Persons in the Western Hemisphere. Survivor
         leaders have also established their own organizations and continue work as independent contractors to advise NGOs,
         government agencies, and international and regional organizations on implementing survivor-informed and trauma-
         informed approaches in policymaking and service delivery.

         Considerations for Engagement
         In the face of new and evolving challenges, survivor leaders are the most equipped to advise on adapting efforts and
         ensuring appropriate, effective, and uninterrupted services for victims and survivors. Learning from survivor leaders and
         integrating their expertise into program and policy development not only improves anti-trafficking efforts but also can
         help address emerging challenges and longstanding systemic issues that drive vulnerabilities and perpetuate trauma.
         Survivor leaders speciﬁcally can play an integral role in applying an equity lens to anti-trafficking practices to prevent
         and address discrimination in all its forms. Additionally, the challenges and widespread trauma associated with the
         ongoing COVID-19 pandemic and implications of climate-associated crises resulting from extreme weather conditions
         or environmental degradation have made a survivor-informed and trauma-informed approach more important than
         ever. Governments, private sector entities, and organizations should consider engaging survivor leaders to develop
         effective risk mitigation and management plans that ensure the incorporation of survivor-informed, trauma-informed,
         victim-centered, and culturally competent approaches; meet the needs of survivors; and minimize the chances of
         re-traumatization during crises.

         There are several important considerations when engaging survivor leaders. Stakeholders should clearly articulate the
         scope and purpose of the engagement, as well as desired skills and outcomes. This will help inform how to identify
         potential partners. Survivors and other experienced leaders in the ﬁeld recommend a trauma-informed strategy for
         identifying participants, whether as potential council or board members or consultants and reaching out to them to
         inform them of the opportunity. There must be complete transparency with the individual on how their information was
         obtained and why they are being contacted. Since no single individual can speak on behalf of all survivors, efforts must
         be made to mitigate tokenization by including individuals with a range of subject matter expertise and lived experiences
         (i.e., survivors of different forms of trafficking and experiences of trafficking at different ages, as well as expertise on a
         range of subjects). Council or board members, employees, and consultants should also represent a range of personal
         and professional experiences and backgrounds (i.e., sexual orientation, gender identity, expression, sex characteristics,
         ethnicity, race, religion, socioeconomic background, age, etc.).




14| 2022 TRAFFICKING IN PERSONS REPORT                                                                      Haiti AR_000495
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 120 of 729




                           ISRAEL

                              Amira was a Palestinian transgender woman living on the streets in a
                              city in the West Bank. She was a sex trafficking victim who had been
                              blackmailed and threatened when she tried to leave. When she was 19
                              years old, she ﬂed to Israel because of her fear of persecution as a member
                              of the LGBTQI+ community and sought recognition as a trafficking
                              victim. However she was deported because of her illegal immigration
                              status. A year later, she again ﬂed the West Bank and returned to Israel
                              where authorities arrested her on immigration charges and detained her
                              for three months. With the help of an Israeli NGO, authorities granted
                              Amira a temporary stay permit, but did not give her a work permit.
                              Officials also did not recognize her as a trafficking victim, which would
                              have afforded her a work permit, housing, legal aid, and other forms of
                              assistance under law. She constantly lived in fear of deportation when
                              her residency permit would expire. After months of living in various NGO
                              shelters without the right to legally work or make money of her own, she
                              died by suicide. Several Israeli NGOs continue to provide assistance to
                              Palestinian LGBTQI+ individuals who ﬂee the West Bank, but they face
                              challenges assisting this community because of discrimination and lack
                              of legal protection frameworks for this vulnerable population.




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            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 121 of 729




         When working with survivor leaders, it is key for governments and international, regional, and anti-trafficking organizations
         to consider ﬁnancial hardships survivor leaders may face because of their trafficking experience and seek to alleviate
         those hardships. For example, survivors may have limited access to and complicated relationships with traditional banking
         institutions. If possible and appropriate, governments and stakeholders should ﬁnd a way to cover upfront, reimbursable
         costs and determine strategies for limiting costs; they should also create a system for survivor leaders to invoice for labor
         fees and reimbursable expenses quickly and easily (if it is not possible to eliminate those costs). It is also necessary to
         build organizational capacity to be trauma-informed, ensuring all staff are familiar with trauma-informed principles and
         approaches, and to avoid re-traumatization of survivors during meetings, at public events, or through process-related
         tasks. This will also promote effective engagements and solution-oriented collaboration. Additional support can include
         providing access to mental health services such as counseling support or contracting an independent/third party to
         facilitate trauma-informed engagements and manage logistics.




                                                                                                            A child miner displays a
                                                                                                            speck of gold in Uganda.
                                                                                                            In Uganda, children as
                                                                                                            young as seven are
                                                                                                            forced to mine for gold
                                                                                                            in harsh and dangerous
                                                                                                            conditions.




16| 2022 TRAFFICKING IN PERSONS REPORT                                                                      Haiti AR_000497
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 122 of 729




                                                                                                                Two women apply their
                                                                                                                makeup. The LGBTQI+
                                                                                                                community in South
                                                                                                                America is particularly
                                                                                                                vulnerable to sexual
                                                                                                                exploitation due to
                                                                                                                social stigma, little
                                                                                                                access to community
                                                                                                                suppor t , and laws
                                                                                                                criminalizing same-sex
                                                                                                                relationships.




Private Sector Partnerships and Employment Pathways
Private sector entities also beneﬁt from incorporating survivor engagement and expertise into the development and
implementation of their company policies, codes of conduct, and strategic planning; whether they seek to prevent forced
labor in their global supply chains, prevent commercial sexual exploitation from occurring anywhere in their business
operations, or both. Additionally, the ﬁnancial sector can create an environment in which ﬁnancial stability and accessibility
are supported through banking systems that are accessible and navigable for survivors.

In the United States, partnerships have emerged between private sector companies and anti-trafficking service providers
to create employment pathways and programs for survivors to pursue a job in a speciﬁc ﬁeld or industries of interest.
These innovative partnerships not only increase the availability of jobs in more industries but also create important
opportunities for continuing education, professional development, ﬁnancial freedom, and self-sufficiency, as well as
help safeguard against revictimization.

                   “Many survivors wish to leave their trafficking experiences in the past. If organizations
                    and service providers are only equipping survivors to work within the anti-trafficking
                    sector, it limits the potential of survivors and may cause further harm by keeping
                    survivors feeling trapped in a field that is tied to their trafficking experience.”

                                                     U.S. Advisory Council on Human Trafficking, 2021 report




                                                                                                       Haiti
                                                                                         2022 TRAFFICKING INAR_000498
                                                                                                             PERSONS REPORT |17
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 123 of 729



                             “We can’t talk about partnership, collaboration, and policies as
                         fundamental international frameworks to combat human trafficking
                                        without including survivor leaders as stakeholders.”
                                                                                                         Malaika Oringo,
                                                                      CEO of Footprint to Freedom and Member of the
                                                                 International Survivors of Trafficking Advisory Council




                                              Critical components of these partnerships include comprehensive
                                              skills training, appropriate employment placement, trauma-informed
                                              support, and a competitive wage. For these partnerships to develop,
                                              companies must implement conﬁdentiality policies that ensure a safe
                                              space for survivors and allow them to be treated as equals among
                                              staff, while precluding identiﬁcation of survivors without their consent.

                                              Additionally, private sector partnerships with survivor leaders can
                                              provide promising opportunities to elevate survivor expertise. Survivor
                                              leaders have long advocated for organizations to hire survivors to
                                              deliver trainings on human trafficking awareness and identiﬁcation,
                                              as well as on strategies to combat the crime. Survivors can provide
                                              unique perspectives that can help companies identify how trafficking
                                              situations may present within certain kinds of systems and industries
                                              or implement organizational change to hire and better support
                                              employees with varying levels of trauma, including trauma resulting
                                              from human trafficking.

                                              Within the private sector, survivors can also play a pivotal role with
                                              ﬁnancial institutions; this is critical as such institutions are required
                                              to report on money laundering transactions and are uniquely
                                              positioned to detect and combat human trafficking. It is estimated
                                              that human trafficking, both sex trafficking and forced labor, generate
                                              more than $150 billion in illicit proﬁt for the traffickers and those
                                              who help facilitate the crime. Those proﬁts often pass through
                                              traditional ﬁnancial institutions or are used by traffickers to purchase
                                              real property or other personal assets. Survivor leaders can advise
                                              ﬁnancial institutions and train staff on how trafficking may present on
                                              bank records and credit card transactions of individuals experiencing
                                              trafficking. Financial institutions should collaborate with survivors and
                                              other institutions to share information and standardize best practices
                                              to combat human trafficking, as well as to improve survivors’ access
                                              to banking and ﬁnancial services.




18| 2022 TRAFFICKING IN PERSONS REPORT                                                       Haiti AR_000499
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 124 of 729




                                         ESTABLISHING ADVISORY
                                         COUNCILS OR BOARDS

                                         When establishing an advisory council or board, it
                                         is especially important to ensure it operates as an
                                         independent body, autonomous from the organization,
                                         government, or entity it is to advise. This independence
                                         enables the council or board to provide objective advice
                                         and recommendations and safeguards members from
                                         being inﬂuenced or pressured from larger organizations
                                         to make certain decisions, change priorities, or weaken
                                         recommendations. The council or board should have
                                         the authority to establish its own governing bylaws,
                                         protocols, and procedures, as well as deliver its advice
                                         and recommendations with a uniﬁed voice, having each
                                         member contribute equally and collaboratively as a
                                         voting member of the body.

                                         A council or board should also have administrative and
                                         trauma-informed support through an independent
                                         third-party structure. This support should include
                                         staff to facilitate coordination with the entity to which
                                         it is meant to advise and support understanding of
                                         that entity’s authorities, capacities, and limitations
                                         respective to its mandates and mission. In addition to
                                         providing support for members, a third party could also
                                         facilitate a grievance mechanism for both the members
                                         of the council or board and the entities for which they
                                         advise. This mechanism is especially important as it
                                         would create a channel for feedback if members of the
                                         council or board feel harmed or re-traumatized in any
                                         way, as well as for them to advocate for any needed
                                         support during their engagements.

                                         It is also important for organizations or governments
                                         to continually evaluate, reﬂect, and adapt to ensure
                                         engagement with members remains respectful and
                                         positive. For example, check to make sure members
                                         are being treated as an entity of experts and that no
                                         one member is singled out in any way. Apply a trauma-
                                         informed approach to ensure that both members of the
                                         council or board and the entities for which they advise
                                         are working in ways that foster trust and collaboration.
                                         Ensure training on trauma, trauma-informed approaches,
                                         survivor leadership, and self-care is provided to all those
                                         who engage with members of a council or board.




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                                                          2022 TRAFFICKING IN AR_000500
                                                                              PERSONS REPORT |19
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 125 of 729




         Recommendations and Promising Practices
         It is widely acknowledged that integrating a trauma-informed approach is essential to meaningful and responsible survivor
         engagement. The following recommendations from survivor leaders are practical ways to implement trauma-informed
         approaches for all anti-trafficking stakeholders.



                         “Meaningful inclusion of survivors is not simply providing services to survivors, building
                          capacity of survivors or bringing a survivor to a meeting. Creating leadership positions
                          for survivors is a small part of it. Meaningful inclusion requires a shift in culture.”

                                                                                                Sophie Otiende,
                                                    Chief Executive Officer, Global Fund to End Modern Slavery




         IMPLEMENTING A TRAUMA-INFORMED APPROACH

         According to the HHS Substance Abuse and Mental Health Services Administration (SAMHSA), a program, organization,
         or system that is trauma-informed:

             E realizes the widespread impact of trauma and understands potential paths for recovery;

             E recognizes the signs and symptoms of trauma in clients, families, staff, and others involved with the system and
               responds by fully integrating knowledge about trauma into policies, procedures, and practices; and

             E seeks to actively resist re-traumatization.

         A trauma-informed lens upholds each person as an active agent of their own recovery process, the ability of individuals
         to recognize symptoms of trauma in others, and the integration of a “do no harm” approach into the creation of policies,
         procedures, and practices. Furthermore, trauma-informed practices build upon understanding the impact of trauma
         not only on individuals seeking services but also on staff members and consultants working within an organization.
         SAMHSA’s Six Key Principles of a Trauma-Informed Approach (safety; trustworthiness and transparency; peer support;
         collaboration and mutuality; empowerment, voice, and choice; and cultural, historical, and gender issues) should also
         guide organizational responses to trauma, aiming to create and protect psychological and physical safety within the
         organization, foster trust through transparency, provide peer support, and level power differences through collaboration,
         empowerment, and cultural humility.




20| 2022 TRAFFICKING IN PERSONS REPORT                                                                          Haiti AR_000501
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 126 of 729




                           MEXICO - UNITED STATES

                              Alejandra and Leticia left their home in Tijuana when a local recruiter
                              promised to ﬁnd them good jobs in California. The recruiter provided them
                              with fraudulent documents and allowed the young women to stay with
                              her for three weeks after arrival, but when the jobs never materialized,
                              the recruiter forced them to leave her house. The women left with nothing
                              and to survive took a loan from a local farmer in exchange for performing
                              farm work. The employer took their identiﬁcation documents until they
                              could pay off their debt and charged them for transportation and other
                              fraudulent fees. He threatened them with deportation if they did not work
                              faster. The young women sought assistance from a labor organization in
                              the community that called the local police. Eventually, authorities arrested
                              the perpetrators, identiﬁed the two women as trafficking victims, and
                              referred them to organizations to receive assistance and care.




                                                                             Haiti
                                                               2022 TRAFFICKING INAR_000502
                                                                                   PERSONS REPORT |21
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 127 of 729




         Ethical Storytelling
             E Do not engage survivors solely to tell the story of their trafficking experience.

             E Never share a survivors’ story without their permission.

             E Employ a robust, informed consent process when featuring a survivor’s story. This means being
               transparent with how and in what setting a survivor’s story might be used and conﬁrming with the
               survivor whether they continue to consent to that use. If circumstances surrounding use of the survivor’s
               story change, give the survivor the opportunity to approve how their story will subsequently be used
               and allow them to withdraw their consent at any point. Survivors should have control over their stories.

             E If featuring a survivor’s story in fundraising materials, ensure that your organization has obtained
               consent from the survivor to use their story for this purpose.

             E Ensure language used in all communication material (internal and public) is both trauma-informed and
               survivor-informed, as well as culturally sensitive, inclusive, and empowering. Work with survivors on
               communication materials, especially with those whose stories you are sharing, to avoid sensationalism
               and re-traumatization, including in photography and graphics.

         Including Survivors in Decision-Making and Addressing Barriers to Survivor Inclusion
         and Leadership
             E Give survivors the opportunity to continuously identify areas for professional development.

             E Offer academic scholarships for continuing education and fund opportunities for professional
               development, leadership training, and networking so survivors can build the experience necessary to
               get a job or leadership position in the ﬁeld of their choice.

             E Ask individuals how they want to be introduced; do not automatically introduce someone as a survivor
               of trafficking. This empowers those who have experienced exploitation to identify in a manner they
               choose. Understand that this may change over their lifetime. Treat them as more than the traumas
               they experienced and foster their strengths. Many survivor leaders want to be valued as professionals
               separate from their lived experience.

             E Always compensate survivors for their time, expertise, and contributions in a timely manner, whether
               they are participating in a focus group or providing consultant services.

             E Continuously and appropriately access survivor expertise at all appropriate stages throughout program
               development, implementation, and evaluation.




22| 2022 TRAFFICKING IN PERSONS REPORT                                                                  Haiti AR_000503
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 128 of 729




                           INDIA

                              Silkworm factory owners forced Aabharana and her mother to work 11
                              hours a day in terrible conditions to pay down a family loan while paying
                              them only 200 rupees (US $2.69) a day. Eventually, the factory owner
                              doubled the amount of their debt and forced them to continue working
                              through threats and physical violence. While Aabharana and her mother
                              were initially fearful, they shared their story with government officials and
                              requested a certiﬁcate of release from the factory. The authorities ruled
                              in their favor and issued the release certiﬁcate providing proof that their
                              debt was cancelled. The officials then escorted them from the factory.




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                                                               2022 TRAFFICKING IN AR_000504
                                                                                   PERSONS REPORT |23
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 129 of 729




             E Create opportunities to elevate expertise from survivor leaders in a variety of ways (i.e., panel discussions,
               report writing, etc.). Have them participate in the design of the engagement.

             E Be as transparent as possible to foster trust and build genuine collaboration with survivor leaders.
               Outline clear goals, expectations, and timelines for survivor input on projects—and be clear about the
               ways in which their expertise is intended to be and has been utilized in shaping approaches.

         Employing Survivors and Ensuring a Trauma-Informed Work Environment
             E Invite a diversity of survivor leaders to apply for positions within your anti-trafficking organization.

             E Understand that not everyone who has experienced trafficking will publicly disclose their experience
               as a survivor. No matter the reason behind the decision, respect the individual’s choice not to disclose.
               Individuals should have full agency in their decision to publicly disclose, when and how to share their
               story, and what (if any) their role is in the anti-trafficking movement.

             E Acknowledge that human trafficking survivors are more likely to live with complex trauma, which can
               heighten their risk of re-traumatization when working on anti-trafficking issues. Create an environment
               of safety for all so that if a survivor is triggered and has a trauma response, they do not feel as though
               they must hide or that they will be looked down on or lose employment or other opportunities. There
               should not be any stigma or expressions of condemnation signaling that they do not belong or are not
               qualiﬁed for this work. If appropriate, organize optional support groups within the organizations that
               offer best practices for dealing with potential re-traumatization.

             E Recognize that trauma is not unique to an individual who identiﬁes as a survivor leader; nearly every
               individual has experienced trauma, and it affects everyone differently. The way survivors are treated
               should mirror the way other staff members without lived experience of human trafficking are treated,
               and vice versa. Provide training and resources, such as an onsite licensed clinician, on trauma and
               trauma-informed approaches for staff at all levels. Failing to provide adequate resources to mitigate
               re-traumatization and vicarious trauma can be detrimental to the mental health of all staff.

             E Implement self-care as part of organizational culture to build resilience and help mitigate vicarious
               trauma, including executive leadership modeling self-care best practices and encouraging staff to
               engage in healthy coping skills and take care of their emotional and physical health. Organizations can
               also implement paid mental health days, self-care plans as part of employee reviews, and organization-
               wide education encompassing individual wellness.

             E Create grievance policies for what all staff should do if they feel harmed or re-traumatized by organization
               policies, programs, or other staff within the organization. Ensure survivors have a role in problem-solving.




24| 2022 TRAFFICKING IN PERSONS REPORT                                                                      Haiti AR_000505
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 130 of 729




                           NIGERIA - LEBANON

                              Chichima left her home in Nigeria when she was offered a monthly
                              salary of US $1,000 for a teaching position in Lebanon, but the offer
                              was a lie told by a trafficker. Upon arrival, the trafficker forced Chichima
                              to work as a domestic worker, laboring long hours for little pay. When
                              she tried to leave, her employer said that he had “purchased her” for
                              US $1,000 and that she had to do what he said. Making things worse,
                              Chichima discovered that under Lebanon’s sponsorship system, she
                              could not leave the country without her employer’s consent, meaning
                              Chichima’s employer could legally restrict her freedom of movement.
                              Chichima is among thousands of people without freedom of movement
                              or employment due to the sponsorship system in the Middle East, which
                              inhibits trafficking victims from leaving their exploitative situations.




                                                                            Haiti
                                                              2022 TRAFFICKING IN AR_000506
                                                                                  PERSONS REPORT |25
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 131 of 729



                                         “I have put a face on a human trafficking crime and begun
                                                to shatter the stereotype that men are not for sale.”
                                                                                                                       Jerome Elam,
                                                                Advocate and President and CEO of Trafficking in America Task Force
                                                                     and Member of the International Survivors of Trafficking Council




         Establishing Administrative Processes for a Trauma-Informed Workplace
             E Ensure that beneﬁts include mental health care for all staff members, regardless of survivorship status
               or disclosure of lived experience.

             E Evaluate hiring practices so that survivors have equal access to employment opportunities. Consider
               prioritizing and institutionalizing survivor leadership by creating a budget line within the organization
               for consultations with and employment of survivor leaders.

             E Establish compensation policies for subject matter experts who are either consultants or contractors,
               including appropriate compensation for such expert consultation (i.e., do not supplement or replace
               compensation for expert consultation with gift cards or vouchers unless it is preferred by the consultant).
               Ensure survivors in leadership positions are compensated commensurate with other leadership positions
               or expert consultants.

             E Contract a third-party evaluator with lived experience of human trafficking to assess the organization’s
               integration of survivor leadership and trauma-informed approaches.

         Addressing Mistakes
             E Admit mistakes and make clear your organization wants to do better in this area; establish an anonymous
               feedback loop to give the opportunity for individuals to share feedback. Be a conscious listener and
               communicate updates on implementing these changes to survivor leaders and broadly throughout
               the organization.

             E Assess organizational mission, vision, values, and processes. Make necessary changes and reﬂect
               feedback from survivor leaders.

             E Become an organization that is resilient and adaptable to change as best practices for trauma-informed
               and survivor-centered care evolve.




26| 2022 TRAFFICKING IN PERSONS REPORT                                                                    Haiti AR_000507
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 132 of 729
                                                                                                           A survivor of human trafficking in
                                                                                                           India shares her experience of debt
                                                                                                           bondage. In South Asia, bonded
                                                                                                           labor often involves using family
                                                                                                           debt as a means of coercion as part
                                                                                                           of the trafficking scheme. For this
                                                                                                           photo story, the woman shared how
                                                                                                           she would like to be photographed.




Practices for Ensuring Inclusivity and Diversity
Ensuring inclusivity and diversity is essential to the application and success of survivor engagement practices. It is
also key to share decision-making on human trafficking matters with survivors who have lived through the crime and
navigated the aftermath and with those who are leaders in marginalized and vulnerable communities that traffickers
often target. This means survivors of all forms of trafficking must be included in anti-trafficking efforts and should reﬂect
the communities they serve.

Ensuring Representation of Diverse Backgrounds and Lived Experience
    E Understand and promote the idea that there is no ‘typical’ survivor or story.

    E Given the vast array of underserved populations across the globe, a wide range of survivor leaders
      must be engaged, including diversity in race or ethnicity, gender identities, religion, culture, and areas
      of lived experience and expertise.

    E Provide the opportunity for local survivor-led organizations and survivor leaders from marginalized
      groups to not only participate but also lead the process from concept to completion.




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                                                                                        2022 TRAFFICKING IN AR_000508
                                                                                                            PERSONS REPORT |27
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 133 of 729




         Engaging Underrepresented Survivors
             E Create safe spaces for survivors from marginalized and underserved populations to contribute and
               lead. Prioritize empowerment of and professional development for such survivors, as well as address
               barriers to participation for underrepresented groups.

             E Value and seek input from survivors and survivor-led organizations that reﬂect underrepresented
               backgrounds and experiences and underserved communities, such as those from racial and ethnic
               minority groups, Indigenous persons, LGBTQI+ persons, persons with disabilities, immigrants and
               migrants, and populations experiencing housing instability or substance use, to provide insights into
               emerging trends and new solutions.



         Acknowledging Cultural Differences and Engaging Survivors
         Internationally
         Promising practices identiﬁed within one context and country may not apply in another. Engaging local survivor leaders
         and survivor-led organizations prior to designing and implementing anti-trafficking efforts within a different country,
         or region within the same country, is essential. Doing this will establish trust with the community and safeguard against
         potential harm from culturally insensitive approaches.

             E Always respect and acknowledge the cultural identity of every victim and survivor while reinforcing
               their dignity and potential. When engaging with or providing services to people of different cultures,
               it is essential not to assume people of the same ethnic background have the same beliefs or cultural
               practices.

             E When soliciting input to inform anti-trafficking policies and strategies, ensure accessible, appropriate
               translation and intentional advertisement of your request to address disability and language barriers
               and access local expertise.

             E Offer alternative ways to compensate survivors for their time and expertise, especially for those who
               may not have bank accounts and rely on cash transfers and mobile banking applications.

             E Research survivor-led and survivor-informed programs overseas and exchange information and learnings
               if or when the opportunity arises. Contextualize learnings, both successes and failures, for application
               efforts being planned, implemented, and evaluated in other countries, as appropriate.

             E Be aware of and unbiased to the differences in laws and government practices when looking for how
               promising practices vary across the globe.




28| 2022 TRAFFICKING IN PERSONS REPORT                                                                  Haiti AR_000509
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 134 of 729




                            GHANA

                              A woman claiming to be a relative offered Kunto, a 16-year-old boy from
                              Ghana, a trip to meet his extended family and to attend a more prestigious
                              school in the capital city, Accra. Instead of Accra, traffickers sent Kunto to
                              a remote ﬁshing village on Lake Volta and sold him to work on a ﬁshing
                              boat. For years, the traffickers physically abused Kunto and forced him to
                              do dangerous work, including routinely swimming to the bottom of the
                              lake to free tangled nets. Eventually, a local NGO identiﬁed and referred
                              Kunto to assistance. Kunto worked with local law enforcement and social
                              workers to help identify other children exploited in the ﬁshing industry.
                              Although he missed years of school, Kunto was determined to continue
                              his education and is currently pursuing his dream of becoming a doctor.




                                                                             Haiti
                                                               2022 TRAFFICKING IN AR_000510
                                                                                   PERSONS REPORT |29
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 135 of 729




         From Survivor Engagement to Survivor Leadership
         Despite signiﬁcant progress, there must be continued learning on how to best recognize and engage survivor leaders as
         experts in anti-trafficking efforts. In partnership with survivors, anti-trafficking stakeholders should focus on strengthening
         trauma-informed approaches and ensuring that promising practices reﬂect the speciﬁc needs of a wide range of trafficking
         experiences; funding research and evaluation and engaging survivor leaders throughout all stages; standardizing language
         and deﬁnitions to allow for clear and concise understanding of terms and approaches; and prioritizing equity and
         meaningful inclusion so that survivors engaged are reﬂective of the myriad of experiences of human trafficking.

         A cornerstone to implementing these recommendations is to ensure survivor leaders are at the front and center of
         efforts to combat this crime. This approach requires a change in mindset and culture to support, normalize, and secure
         the meaningful and ongoing inclusion of survivors as leaders, experts, and equal partners in decision-making processes.
         Many survivors advocate for a future that includes an increased focus on ensuring sustainable and empowered living
         and addressing the holistic and long-term needs of survivors through the creation of survivor-informed anti-trafficking
         initiatives and responses. By strengthening survivor engagement and making every effort to ensure survivors’ full
         participation in the anti-trafficking movement, we can better prevent and prosecute human trafficking while also ensuring
         survivor prosperity.

                     “Survivor engagement is a crucial part of partnership within human trafficking prevention. Government
                      agencies have an obligation to ensure survivor input in policy and project development, not to
                      mention implementation and funding priorities. Knowing how to work with survivors in a respectful
                      and equitable way is not a skill that happens overnight. We continue to learn at the Minnesota
                      Department of Health Safe Harbor program and actively seek out survivor feedback and participation
                      throughout all of our endeavors so we can ensure our efforts are meeting the needs of those most
                      impacted.”

                                                                                                         Caroline Palmer,
                                                             JD, Safe Harbor Director, Violence Prevention Programs Unit,
                                                  Injury & Violence Prevention Section, Minnesota Department of Health




30| 2022 TRAFFICKING IN PERSONS REPORT                                                                       Haiti AR_000511
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 136 of 729




UNDERSTANDING HUMAN TRAFFICKING
“Trafficking in persons,” “human trafficking,” and “modern slavery” are umbrella terms – often used interchangeably – to
 refer to a crime whereby traffickers exploit and proﬁt at the expense of adults or children by compelling them to perform
 labor or engage in commercial sex. When a person younger than 18 is used to perform a commercial sex act, it is a crime
 regardless of whether there is any force, fraud, or coercion involved.

The United States recognizes two primary forms of trafficking in persons: forced labor and sex trafficking. The basic
meaning of these forms of human trafficking and some unique characteristics of each are set forth below, followed by
several key principles and concepts that relate to all forms of human trafficking.

More than 175 nations have ratiﬁed or acceded to the UN TIP Protocol, which deﬁnes trafficking in persons and contains
obligations to prevent and combat the crime.

The TVPA and the UN TIP Protocol contain similar deﬁnitions of human trafficking. The elements of both deﬁnitions can
be described using a three-element framework focused on the trafficker’s 1) acts; 2) means; and 3) purpose. All three
elements are essential to form a human trafficking violation.




                                                                                                            An older tuk-tuk driver
                                                                                                            waits for a client in India.
                                                                                                            Tuk-tuk and taxi drivers
                                                                                                            may be the ﬁrst point of
                                                                                                            contact for victims as they
                                                                                                            transport people between
                                                                                                            airports, bus terminals, and
                                                                                                            train stations. Drivers who
                                                                                                            have received training or
                                                                                                            educational resources on
                                                                                                            human trafficking may be
                                                                                                            able to identify and help
                                                                                                            individuals at risk.




                                                                                                    Haiti
                                                                                      2022 TRAFFICKING INAR_000512
                                                                                                          PERSONS REPORT |31
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 137 of 729




                                                                                                   In human trafficking cases, the
                                                                                                   relationship between victim and
                                                                                                   trafficker may involve trauma
                                                                                                   bonding. The most common
                                                                                                   meaning of trauma bonding is
                                                                                                   when a trafficker uses rewards and
                                                                                                   punishments within cycles of abuse
                                                                                                   to foster a powerful emotional
                                                                                                   connection with the victim. This
                                                                                                   woman, a Muslim survivor of
                                                                                                   trafficking whose trafficker used
                                                                                                   a similar scheme, collaborated with
                                                                                                   the photographer and provided
                                                                                                   her consent to be portrayed in a
                                                                                                   candid snapshot.




         Forced Labor
         Forced labor, sometimes also referred to as labor trafficking, encompasses the range of activities involved when a person
         uses force, fraud, or coercion to exploit the labor or services of another person.

         The “acts” element of forced labor is met when the trafficker recruits, harbors, transports, provides, or obtains a person
         for labor or services.

         The “means” element of forced labor includes a trafficker’s use of force, fraud, or coercion. The coercive scheme can
         include threats of force, debt manipulation, withholding of pay, conﬁscation of identity documents, psychological coercion,
         reputational harm, manipulation of the use of addictive substances, threats to other people, or other forms of coercion.

         The “purpose” element focuses on the perpetrator’s goal to exploit a person’s labor or services. There is no limit on the
         location or type of industry. Traffickers can commit this crime in any sector or setting, whether legal or illicit, including
         but not limited to agricultural ﬁelds, factories, restaurants, hotels, massage parlors, retail stores, ﬁshing vessels, mines,
         private homes, or drug trafficking operations.

         All three elements are essential to constitute the crime of forced labor.




32| 2022 TRAFFICKING IN PERSONS REPORT                                                                         Haiti AR_000513
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 138 of 729



        “Knowledge is the most powerful tool that we can use to ﬁght this horrible
             crime. The more the wider society understands the challenges and the
            nature of the crime, and has access to reliable and credible information,
        the more likely we are to overcome it… and reduce incidence of this crime.”
                                                                                                          Dr. Horace Chang,
                                                            Jamaican Deputy Prime Minister and Minister of National Security




There are certain types of forced labor that are frequently distinguished for emphasis or because they are widespread:

Domestic Servitude
“Domestic servitude” is a form of forced labor in which the trafficker requires a victim to perform work in a private
 residence. Such circumstances create unique vulnerabilities. Domestic workers are often isolated and may work alone
 in a house. Their employer often controls their access to food, transportation, and housing. What happens in a private
 residence is hidden from the world—including from law enforcement and labor inspectors— resulting in barriers to victim
 identiﬁcation. Foreign domestic workers are particularly vulnerable to abuse due to language and cultural barriers, as
 well as a lack of community ties. Some perpetrators use these types of conditions as part of their coercive schemes to
 compel the labor of domestic workers with little risk of detection.

Forced Child Labor
The term “forced child labor” describes forced labor schemes in which traffickers compel children to work. Traffickers
often target children because they are more vulnerable. Although some children may legally engage in certain forms of
work, forcing or coercing children to work remains illegal. Forms of slavery or slavery-like practices—including the sale
of children, forced or compulsory child labor, and debt bondage and serfdom of children—continue to exist, despite legal
prohibitions and widespread condemnation. Some indicators of forced labor of a child include situations in which the
child appears to be in the custody of a non-family member and the child’s work ﬁnancially beneﬁts someone outside
the child’s family; or the denial of food, rest, or schooling to a child who is working.



Sex Trafficking
Sex trafficking encompasses the range of activities involved when a trafficker uses force, fraud, or coercion to compel
another person to engage in a commercial sex act or causes a child to engage in a commercial sex act.

The crime of sex trafficking is also understood through the “acts,” “means,” and “purpose” framework. All three elements
are required to establish a sex trafficking crime (except in the case of child sex trafficking where the means are irrelevant).

The “acts” element of sex trafficking is met when a trafficker recruits, harbors, transports, provides, obtains, patronizes,
or solicits another person to engage in commercial sex.

The “means” element of sex trafficking occurs when a trafficker uses force, fraud, or coercion. Coercion in the case of
sex trafficking includes the broad array of means included in the forced labor deﬁnition. These can include threats of
serious harm, psychological harm, reputational harm, threats to others, and debt manipulation.

The “purpose” element is a commercial sex act. Sex trafficking can take place in private homes, massage parlors, hotels,
or brothels, among other locations, as well as on the internet.




                                                                                                       Haiti
                                                                                         2022 TRAFFICKING IN AR_000514
                                                                                                             PERSONS REPORT |33
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 139 of 729




         Child Sex Trafficking
         In cases where an individual engages in any of the speciﬁed “acts” with a child (under the age of 18), the means element
         is irrelevant regardless of whether evidence of force, fraud, or coercion exists. The use of children in commercial sex is
         prohibited by law in the United States and most countries around the world.



         Key Principles and Concepts
         These key principles and concepts relate to all forms of trafficking in persons, including forced labor and sex trafficking.

         Consent
         Human trafficking can take place even if the victim initially consented to providing labor, services, or commercial sex acts.
         The analysis is primarily focused on the trafficker’s conduct and not that of the victim. A trafficker can target a victim
         after a victim applies for a job or migrates to earn a living. The trafficker’s exploitative scheme is what matters, not a
         victim’s prior consent or ability to meaningfully consent thereafter. Likewise, in a sex trafficking case, an adult victim’s
         initial willingness to engage in commercial sex acts is not relevant where a perpetrator subsequently uses force, fraud, or
         coercion to exploit the victim and cause them to continue engaging in the same acts. In the case of child sex trafficking,
         the consent of the victim is never relevant as a child cannot legally consent to commercial sex.

         Movement
         Neither U.S. law nor international law requires that a trafficker or victim move across a border for a human trafficking
         offense to take place. Trafficking in persons is a crime of exploitation and coercion, and not movement. Traffickers can
         use schemes that take victims hundreds of miles away from their homes or exploit them in the same neighborhoods
         where they were born.

         Debt Bondage
         “Debt bondage” is focused on human trafficking crimes in which the trafficker’s primary means of coercion is debt
          manipulation. U.S. law prohibits perpetrators from using debts as part of their scheme, plan, or pattern to compel a
          person to work or engage in commercial sex. Traffickers target some individuals with an initial debt assumed willingly
          as a condition of future employment, while in certain countries traffickers tell individuals they “inherited” the debt
          from relatives. Traffickers can also manipulate debts after the economic relationship begins by withholding earnings or
          forcing the victim to assume debts for expenses like food, housing, or transportation. They can also manipulate debts
          a victim owes to other people. When traffickers use debts as a means to compel labor or commercial sex, they have
          committed a crime.




34| 2022 TRAFFICKING IN PERSONS REPORT                                                                     Haiti AR_000515
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 140 of 729


                  “I will continue to ﬁght against human trafficking in all its forms. All
                  of us must remain vigilant—constantly aware that the cost of human
                  trafficking is not just far away—across the ocean in a distant country.
                    It’s a moral crisis of international proportions that has reached our
                                                 shores—right here in our own backyard.”
                                                                                         U.S. Senator Bob Menendez, (D-NJ),
                                                                         Chairman of the Senate Foreign Relations Committee




Non-Penalization
Governments should not penalize or prosecute victims of trafficking in persons for the unlawful acts traffickers compelled
them to commit. This principle aims to protect victims from being held legally responsible for conduct that was not
their choice, but rather was driven by traffickers. If a government has penalized or punished a victim in such a way, the
government should vacate the conviction and/or expunge the victim’s record.

State-Sponsored Human Trafficking
While the TVPA and UN TIP Protocol call on governments to proactively address trafficking crimes, some governments
are part of the problem, directly compelling their citizens into sexual slavery or forced labor schemes. From forced labor in
local or national public work projects, military operations, and economically important sectors, or as part of government-
funded projects or missions abroad, officials use their power to exploit their nationals. To extract this work, governments
coerce by threatening the withdrawal of public beneﬁts, withholding salaries, failing to adhere to limits on national service,
manipulating the lack of legal status of stateless individuals and members of minority groups, threatening to punish family
members, or conditioning services or freedom of movement on labor or sex. In 2019, Congress amended the TVPA to
acknowledge that governments can also act as traffickers, referring speciﬁcally to a “government policy or pattern” of
human trafficking, trafficking in government-funded programs, forced labor in government-affiliated medical services
or other sectors, sexual slavery in government camps, or the employment or recruitment of child soldiers.

Unlawful Recruitment or Use of Child Soldiers
Another manifestation of human trafficking occurs when government forces or any non-state armed group unlawfully
recruits or uses children – through force, fraud, or coercion – as soldiers or for labor or services in conﬂict situations.
Children are also used as sex slaves. Sexual slavery, as referred to here, occurs when armed groups force or coerce
children to “marry” or be raped by commanders or combatants. Both male and female children are often sexually
abused or exploited by members of armed groups and suffer the same types of devastating physical and psychological
consequences associated with sex trafficking.

Accountability in Supply Chains
Forced labor is well documented in the private economy, particularly in agriculture, ﬁshing, manufacturing, construction,
and domestic work; but no sector is immune. Sex trafficking occurs in several industries as well. Most well-known is the
hospitality industry, but the crime also occurs in connection with extractive industries where activities are often remote
and lack meaningful government presence. Governments should hold all entities, including businesses, accountable
for human trafficking. In some countries, the law provides for corporate accountability in both the civil and criminal
justice systems. U.S. law provides such liability for any legal person, including a business that beneﬁts ﬁnancially from
its involvement in a human trafficking scheme, provided that the business knew or should have known of the scheme.




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                                                                                        2022 TRAFFICKING IN AR_000516
                                                                                                            PERSONS REPORT |35
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 141 of 729




         TOPICS OF SPECIAL INTEREST


         Forced Labor: The Hidden Cost of
         China’s Belt and Road Initiative
         Since 2013, the Peoples Republic of China (PRC) has been implementing the Belt and Road Initiative (BRI)—a trillion-dollar
         infrastructure development and economic integration strategy connecting at least 144 countries around the world with raw materials,
         technological and ﬁnancial resources, and labor for large-scale projects in construction, mining, and manufacturing, among other
         sectors. Most BRI projects employ PRC nationals and are managed by PRC-owned enterprises. The program has enabled the PRC
         to ﬁnd a home for its own excess manufacturing capacity and surplus laborers, while ensuring its continued access to invaluable
         raw material inputs, edging out other world powers from international development partnerships and economic cooperation,
         securing intelligence, and amassing political, military, and economic leverage over participating countries through the accrual
         and manipulation of debt.

         Between the macroeconomic ripples of this system is a tragic human cost: forced labor. PRC and host country nationals employed
         in some BRI construction projects, mining operations, and factories in African, European, Middle Eastern, Asian, Paciﬁc, Latin
         American, and Caribbean countries experience deceptive recruitment into debt bondage, arbitrary wage garnishing or withholding,
         contract irregularities, conﬁscation of travel and identity documentation, forced overtime, and resignation penalties, as well as
         intimidation and threats, physical violence, denial of access to urgent medical care, poor working and living conditions, restricted
         freedom of movement and communication, and retaliation for reported abuses. Those who escape often ﬁnd themselves at the
         mercy of local immigration authorities, who are not always trained to receive or care for trafficking victims.




36| 2022 TRAFFICKING IN PERSONS REPORT                                                                           Haiti AR_000517
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 142 of 729



Last year, a man from a rural community in the PRC hoping to raise money for his family responded to a recruitment ad for a high-
paying steel production job in Indonesia. When he arrived, his employers took his passport, told him he would be paid signiﬁcantly
less than he was promised, and forced him to work hours far beyond the schedule to which he had agreed. Within months, he was
sneaking away from his workstation to post surreptitious pictures of himself online with handwritten notes begging for someone
to help him get home. His family contacted the local PRC consular services to try and pressure the factory to return his passport,
but to no avail. He and four other laborers eventually managed to pool their money to hire a PRC national broker to help them
leave the country, but the broker just took their money and brought them to yet another PRC-affiliated industrial park in Indonesia
where they toiled for months under similarly abusive conditions. They continued saving money until they could pay a smuggler to
take them to Malaysia, but when they reached their destination, the smuggler dumped them in the water off the coast. They had
to swim to shore, where they were shot at, arrested, and detained by the local authorities.

Stories like this are not uncommon in dozens of BRI countries. The PRC has not created a central governing body for the BRI,
nor has it made public a full list of BRI-affiliated projects. Historically, PRC authorities have not exercised sufficient oversight of
recruitment channels, contracts, or labor conditions to prevent abuses, and PRC diplomatic services have routinely failed to identify
or assist those exploited within the program. Many of these vulnerabilities intensiﬁed during the COVID-19 pandemic, when local
travel restrictions, slowed hiring practices, and reentry bans imposed by the PRC government prevented workers from leaving and
reporting abusive conditions. For example, at one BRI project in Papua New Guinea, nearly half of PRC workers reported being
unable to return home in 2021 due to the pandemic.

All countries should be able to pursue development opportunities without sacriﬁcing their respect for human rights. Countries
interested in or currently hosting BRI projects must ensure their citizens, PRC nationals, and other migrant workers are protected
from human trafficking. If a BRI project employs local workers, the host government must scrutinize recruitment channels and
contracts to ensure its citizens are not lured under false pretenses and exploited. Governments must enhance their physical inspection
of BRI worksites to monitor working conditions and screen for forced labor indicators—especially document withholding; these
inspections must be frequent and unannounced, to avoid giving project leadership time to conceal their abuses, and they must
involve victim—centered interview methods that prevent retaliation against workers. Countries must also ensure PRC nationals and
other migrant workers feel comfortable coming forward to report their abuses, rather than made to fear deportation due to visa
irregularities. This can be achieved through outreach and awareness raising in key BRI project areas and training for immigration
authorities. If forced labor is detected, countries must be prepared to receive and protect victims—be it through shelter services,
medical care, or consular assistance in the case of PRC nationals and other migrant workers who wish to return home — and to
initiate and support relevant criminal investigations and/or civil remediation.

Participating countries must also be aware that vigilance is crucial not only at BRI worksites but also in their surrounding communities
as well. Sex trafficking, child forced labor in hazardous work, and exploitative marriages featuring elements of sex trafficking and
forced labor have reportedly increased in some areas where BRI construction projects are underway. The displacement of local
communities to make room for BRI projects—often carried out with little or no timely compensation for those who lose their homes
—compounds many of these vulnerabilities.

Without greater attention to these details, countries may not be able to safely or ethically beneﬁt from BRI-affiliated projects, and
the implications go beyond infrastructure. The international community is paying increasingly close attention to, and making policy
and investment decisions based on, the eradication of forced labor from global supply chains.

But countries do not have to face these challenges alone; to best protect against the human rights and reputational implications
of forced labor in BRI projects, governments should be ready to foster and partner with a robust civil society that includes shelter
organizations, direct service providers, watchdog groups, survivors, and NGOs conducting awareness raising.




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                                                                                                2022 TRAFFICKING IN AR_000518
                                                                                                                    PERSONS REPORT |37
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 143 of 729




         TOPICS OF SPECIAL INTEREST


         Forced Labor and the Clean Energy Transition:
         Finding A Responsible Way Forward
         Forced labor in supply chains is a pervasive and pernicious element of the global marketplace, affecting individuals, businesses, and
         governments across a variety of industries and regions of the world. Although progress toward supply chains free of forced labor
         has been generally slow moving in most industries, the increasing demand for clean energy technologies to address the climate
         crisis presents an opportunity to emphasize the importance of establishing new clean energy supply chains that uphold human
         rights, enable countries to meet global climate targets, and generate economic growth. The accelerating growth of renewable
         electricity worldwide has led to the emergence of a new global energy economy, increased demand for key mineral inputs, and
         expanded mining and extraction activities. Coupling respect for human rights as resources with mobilization towards accelerating
         the clean energy transition will reduce the number of individuals vulnerable to labor abuses, including forced labor, as well as the
         risk of climate disasters.

         Silicon metal for solar photovoltaic (PV) modules and cobalt for electric vehicle (EV) batteries are examples of inputs needed
         for important clean energy technologies that are often sourced from areas with long and complicated histories of human rights
         abuses, including forced labor and forced child labor. Credible evidence indicates that manufacturers of silicon metal—used by
         the solar supply chain and other sectors—in the Xinjiang Uyghur Autonomous Region (Xinjiang) of the Peoples Republic of China
         (PRC)–directly engage in state-sponsored forced labor programs targeting predominantly Muslim Uyghurs and members of other
         ethnic and religious minority groups, amid the ongoing genocide and other crimes against humanity. Direct use of forced labor in
         the solar industry appears concentrated in the raw material mining and silicon metal production processes, increasing the risk that
         downstream component producers (e.g., solar cells and solar modules) are using tainted supplies. In the Democratic Republic of
         the Congo (DRC), artisanal and small-scale mining of cobalt has been associated with forced child labor and other abuses. These
         examples highlight the urgent need for adherence to environmental, social, and governance (ESG) standards in extractive sector
         supply chains to avoid labor and human rights abuses and ensure a just energy transition.




38| 2022 TRAFFICKING IN PERSONS REPORT                                                                            Haiti AR_000519
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 144 of 729



Silica in the PRC
In the drive to decarbonize the global economy, one of the most important options for renewable power is PVs, used to convert
sunlight into electricity. The PRC dominates global solar supply chains, including the supply and processing of silicon metal, solar–
grade polysilicon, and the ingots, wafers, and cells that ultimately form a ﬁnished solar panel. The PRC accounts for 77 percent
of global polysilicon production, 45 percent of which originates in Xinjiang, where the PRC government is carrying out a mass
detention and political indoctrination campaign that subjects predominantly Muslim Uyghurs and members of other ethnic and
religious minority groups to forced labor under the guise of “vocational training.” The world’s largest supplier of silicon metal,
Hoshine Silicon Industry, has operations in Xinjiang and has been found to be directly involved in state–sponsored forced labor
programs in the region.

Evidence indicates that solar products and input at nearly every step of the production process in the PRC, from raw silicon material
mining to ﬁnal solar module assembly, are linked to known or probable forced labor programs. Some of the world’s largest suppliers
of solar panel materials and components reportedly have ties to the Xinjiang Production and Construction Corp, a state–owned
economic and paramilitary organization that has been sanctioned by the U.S. government for serious human rights abuses. Because
nearly half of global polysilicon production occurs in Xinjiang, much of the global solar energy supply chain currently includes
components likely made with forced labor from that region.


Cobalt in the DRC
As part of the clean–energy transition, increasing demand for EVs is driving exponential increases in demand for cobalt, a key
component in most rechargeable lithium–ion batteries used in EVs. Because the DRC has large cobalt reserves, the country plays
an important role in EV battery supply chains. Today, about 70 percent of global cobalt is mined in the DRC, with approximately 10
to 30 percent produced by artisanal miners operating in dangerous conditions. Despite nascent efforts to formalize and regulate
the artisanal mining sector, poverty–driven child labor remains prevalent. Since 2015, the TIP Report narratives on the DRC have
highlighted forced labor of children in artisanal cobalt mines. Integrating artisanal and small–scale mining into mainstream
economies and ensuring local communities beneﬁt from extractive activities are central to creating sustainable supply chains. In
2020, the DRC joined the Global Battery Alliance’s Cobalt Action Partnership, which is a means of fostering transparent, veriﬁable,
and responsible artisanal and small–scale mining in cobalt supply chains.


The Way Forward
The urgent need to tackle the climate crisis presents governments and the private sector with both a challenge and an opportunity
to build new critical supply chains that incorporate human rights, transparency, and sustainability standards by design and prevent
human trafficking. With the right array of coordinated and focused policies and efforts, governments, industry leaders, and civil
society stakeholders can accelerate current efforts to make all supply chains more responsible, transparent, and traceable. These
efforts are not only critical to support the clean energy transition, but also are vital to eliminating labor and human rights abuses
and increasing the resilience and responsibility of global manufacturing chains.

Improving sector governance, including protections for labor rights, through adherence to the highest ESG standards, can help
ensure stable supply chains that support the clean energy transition. Regarding the sustainable production of critical energy
minerals, several public and private sector initiatives have examined mineral supply chains and can inform policy decisions regarding
minerals sourcing and positive sectoral governance.

  E The Organization for Economic Co–operation and Development’s Due Diligence Guidance for Responsible Supply Chains of
      Minerals from Conﬂict–Affected and High–Risk Areas promotes accountability and transparency in supply chains coming
      from conﬂict zones.

  E The Intergovernmental Forum on Mining, Minerals, Metals and Sustainable Development’s Guidance for Governments: Managing
      artisanal and small–scale mining provides guidance on sectoral management as well as supporting local communities by
      bringing informal mining sectors into the formal economy.




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                                                                                              2022 TRAFFICKING IN AR_000520
                                                                                                                  PERSONS REPORT |39
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 145 of 729



            E The Initiative for Responsible Mining Assurance’s Standard for Responsible Mining deﬁnes good practices for what responsible
                mining should look like at the industrial scale including environmental and social aspects.

            E The Initiative for Responsible Mining Assurance’s Standard for Responsible Mineral Processing deﬁnes best practices at
                operations beyond the mine gate and focuses on development and production of minerals.

            E Government to government initiatives, such as the Department of State’s Energy Resource Governance Initiative, also serve to
                build governance capacity in energy mineral rich developing economies to create more responsible and resilient mining sectors.

            E The Department of Homeland Security’s U.S. Customs and Border Protection (CBP) issued a Withhold Release Order (WRO)
                instructing customs officials to detain shipments containing silica-based products made by Hoshine and its subsidiaries.

          Science and technology innovations can also support just and equitable supply chains. For example, evolution in battery chemistry
          toward lower cobalt content and/or advances in recycling provide pathways for reducing raw-material extraction and limiting
          associated human rights and ESG problems.

          A clean energy transition is essential to combating the climate crisis; however, it is equally essential for that transition to respect
          human rights. Those involved at all stages of the supply chain must be provided safe and fair employment, free of exploitation.
          Governments and industries can leverage existing frameworks to establish and enforce a new global standard in transparent and
          safe supply chain operations and, in doing so, may usher in a new future not only for energy but for all stakeholders involved in
          the energy transition.




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                  FICKING IN PERSONS REPORT                                                                            Haiti AR_000521
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 146 of 729




TOPICS OF SPECIAL INTEREST


The Climate Crisis: Exacerbating Vulnerabilities
and the Looming Increase of Exploitation
The climate crisis, and the many ways it will reshape the world, necessitates that governments everywhere sharpen their focus
not only on taking action to limit the severity of this crisis but also on mitigating the worst outcomes for vulnerable populations.
Political and civil instability and economic uncertainty exacerbate pre-existing human trafficking vulnerabilities. Crisis situations
often expose deﬁciencies in the efforts of governments, international organizations (IOs), and the global community to protect
and support vulnerable populations from human trafficking. Climate change-linked events such as wildﬁres, droughts, ﬂooding,
extreme weather conditions, heat waves, environmental degradation, and rapid ice loss have cost hundreds of thousands of lives and
billions of dollars in damages. While climate change does not discriminate, displaced populations, vulnerable migrants, Indigenous
communities, women and children, and minority populations are more likely to experience its impacts and, consequently, are likely
to become even more vulnerable to exploitation. Global and government commitments to combat human trafficking and protect
the world’s most vulnerable from further exploitation must accelerate given such trends.


Climate Change - A Humanitarian Crisis
Climate change is a threat multiplier. It exacerbates risks and creates numerous insecurities that place more people at risk. The
UNHCR 2021 Mid-Year Trends Report estimated that by the ﬁrst half of 2021, millions of people around the globe were forcibly
displaced due to generalized violence, human rights violations, armed conﬂicts, and increasing threats caused by climate change.
As environmental conditions worsen, the percentage of those vulnerable to exploitation will increase. The UN Environment
Programme indicates that human trafficking has the potential to increase by 20-30 percent during humanitarian disasters due to
lost livelihoods and disrupted families.




                                                                                                            Haiti
                                                                                              2022 TRAFFICKING IN AR_000522
                                                                                                                  PERSONS REPORT |41
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 147 of 729




         Displaced Populations and Refugees
         Asylum-seekers, IDPs, and refugees are at very high risk of trafficking due to their lack of legal, ﬁnancial, and food security. Limited
         access to legal protections such as identity documents and citizenship rights exacerbate displaced populations’ vulnerabilities to
         traffickers. Climate change has the potential to become one of the main drivers of population displacement, internally and across
         international borders. Extreme weather can cause sudden and long-term damage to homes and communities. Some studies have
         estimated 150 million people could be displaced due to the climate crisis by 2050. Moreover, people that are forced to leave their
         homes due to extreme weather events generally do not beneﬁt from legal protections under international refugee law, leaving
         them particularly vulnerable. Without effective strategies, a uniform understanding of the movement of populations caused by
         climate change and its implications, and international mechanisms to protect these populations, a rapidly warming planet presents
         geopolitical risks and threatens the survival of marginalized societies.


         Women and Children
         Climate variability and extreme weather impact human health and safety, food and water security, and socio-economic conditions
         globally, but with especially severe effects in Sub-Saharan Africa, Central America and the Caribbean, and Asia, with particularly
         negative repercussions on women and children. NGO studies show that drops in crop productivity or increases in pest, ﬂood, and
         drought damage have a signiﬁcant impact on food security and, consequently, the livelihoods of women. The International Labour
         Organization has reported that economic and food insecurity are directly linked to an increase of both forced child labor and child
         sex trafficking. Experts are concerned that rising temperatures will exacerbate women’s and children’s vulnerability to human
         trafficking. As a result of high youth populations and labor-heavy industries like agriculture, domestic services, and manufacturing,
         children and youth in climate-vulnerable countries are often forced to work in dangerous, vulnerable, or isolated situations. With
         limited options for work, women and children become more vulnerable to sexual exploitation and familial trafficking.

         In addition, traffickers frequently target girls and exploit the vulnerabilities created by compounded, systemic inequalities, such as
         a lack of access to education, which are driven by cultural norms that undervalue women and girls. In more rural and low-income
         countries, social expectations often result in girls being pulled out of school to complete domestic and agricultural chores. With
         natural disasters, droughts, ﬂoods, extreme weather, increased exposure to zoonotic (diseases that can be transmitted naturally
         from animals to humans) and vector-borne diseases, and air pollution, those expectations only increase for girls, further delaying
         girls’ return to education. The NGO Malala Fund found that four million girls in low and lower-middle income countries will be
         prevented from completing their education due to climate change and, consequently, will be more vulnerable to exploitation.




42| 2022 TRAFFICKING IN PERSONS REPORT                                                                               Haiti AR_000523
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 148 of 729



Marginalized Populations, including Indigenous Populations
Racial and ethnic minority groups, the LGBTQI+ community, and Indigenous populations are extremely vulnerable to exploitation
due to social, legal, and cultural marginalization. Marginalized groups are more likely to endure human rights abuses, racism,
discrimination, and trauma and have limited access to job opportunities and community resources, including healthcare. These same
groups are more likely to be affected by climate change as it places them in more vulnerable situations. Indigenous communities
are often at additional risk due to their symbiotic relationships with the environments in which they live. Extreme weather events
that are exacerbated by climate change, such as high temperatures, severe ﬂooding, drought, tornadoes, and high–winds—and their
resulting destructive impacts on land and modern infrastructure and, therefore, food and water sources—disrupt local economies
and force displacement. Those inhabiting coastal regions and low–income urban communities are more likely to be affected by
the damage of severe weather and, consequently, be more vulnerable to exploitation, while limited access to resources increases
their vulnerability to traffickers’ coercive tactics.


Taking Action: Governments, International Organizations, and Community Activists
Signiﬁcant legal and governmental action is required to protect and support those impacted by the climate crisis. Lack of action
will expose an overwhelming number of people to the risk of trafficking. Climate change and its many repercussions also hinder
strides that governments and the global community have undertaken to address and prevent human trafficking. Leaders, activists,
governments, NGOs, and IOs are increasing efforts to protect those most vulnerable by mitigating and preparing for climate–related
disasters, developing programs for those displaced by climate change, and advocating for rights of those marginalized and most
vulnerable to climate change and exploitation. All such efforts should be informed not only by climate experts but also by survivor
leaders and other individuals who have experienced displacement or other vulnerabilities as a result of climate change.




EXAMPLES OF PROACTIVE ACTIONS TAKEN TO COMBAT CLIMATE
CHANGE AND REDUCE EXPLOITATION INCLUDE:
  E The UN has unveiled six key actions governments can take to prepare for the climate crisis. The actions include
    accelerating decarbonization, investing in green jobs and sustainable growth, further implementing sustainable
    solutions, confronting climate risks, and advancing cooperation, as no country can succeed alone. With these
    actions, governments can mitigate the impact of climate change and better protect those most vulnerable to
    exploitation.

  E The NGO Refugees International created the Climate Displacement Program. The program plays an important
    role in advancing, developing, and promoting solutions to ensure that people displaced due to climate-related
    disasters receive humanitarian assistance and are not subject to human rights abuses.

  E President Biden issued an Executive Order instructing U.S. Federal agencies to develop and work with
    international multi-stakeholder initiatives on protections for those displaced by climate change that will offer
    more legal protections and reduce exploitation.




                                                                                                          Haiti
                                                                                            2022 TRAFFICKING IN AR_000524
                                                                                                                PERSONS REPORT |43
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 149 of 729




         TOPICS OF SPECIAL INTEREST


         Promising Practices in Data Collection,
         Management, and Dissemination
         Collection and analysis of data is imperative for governments to understand the manifestation of human trafficking within its
         borders and among its nationals abroad, to track progress towards anti-trafficking goals, and to innovate responses to trafficking
         in partnership with key stakeholders. Unbiased and comprehensive data is crucial to highlighting trends, informing decision-making
         on domestic policies and priorities, updating anti-trafficking legislation, and appropriately allocating resources, from the local to
         the national level. Governments should work to attain the necessary technological tools and create data infrastructure to effectively
         integrate data systems across government agencies, ensuring standardized and comprehensive collection and, as appropriate,
         integrate civil society datasets with conﬁdentiality policies to protect survivors. While advanced software and database systems
         can be helpful, they are not essential to building informative data. Instead, consistency and usability across stakeholders, integration
         into existing administrative data systems, and security of victims’ identities are key.

         When approaching data infrastructure, the following are important considerations:

           E Government ownership and stakeholder buy-in are prerequisites for creating data collection infrastructure that will be fully
               adopted by all stakeholders, which is needed to build trafficking in persons data and integrate it within existing administrative
               data systems. All government agencies identifying and providing services to victims and investigating and prosecuting cases
               of trafficking should work to provide input on their current data practices, their interactions with victims and perpetrators,
               language accessibility for those collecting and entering data, and technology requirements to create adoptable systems.
               Incorporation of NGO data should also be considered, while being cognizant of privacy, sensitive law enforcement information,
               and duplicative data from multiple agencies assisting the same victims or investigating the same cases. Methods of input
               should be considered for all contributors to ensure the system is usable in their daily workﬂows.




44| 2022 TRAFFICKING IN PERSONS REPORT                                                                               Haiti AR_000525
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 150 of 729



  E Uniform data is necessary to combine data across agencies to compare trends internally and, when collaborating across
     borders, with other governments. IOM created international trafficking data standards for governments and civil society to
     promote uniformity across data collection systems and facilitate sharing across governments. These data standards can be
     found at https://www.ctdatacollaborative.org/relatedresources/tools/htcds. Governments may consider these guidelines to
     ensure robust and standardized collection and adoption of appropriate conﬁdentiality standards.

  E Victim identiﬁcation and protection data, or data generated from agencies working directly with victims, is crucial to
     understanding the following: the effectiveness of victim identiﬁcation efforts across sectors; the success of law enforcement
     investigations, awareness, and identiﬁcation efforts for the protection of victims; and the quality and effectiveness of services
     provided by a country’s protection infrastructure. Victim identiﬁcation and protection data is particularly challenging to
     collect and standardize given that strict conﬁdentiality protocols must be followed to protect victims’ identities and avoid
     re-traumatization, and data collection and standardization efforts often span several government agencies and civil society
     organizations.

  E Disaggregating prosecution data is essential to understanding the effectiveness of anti-trafficking legislation. Since traffickers
     are sometimes charged, prosecuted, and convicted under other statutes, such as immigration or commercial sex-related
     offenses, it is key to properly classify the charges under which traffickers are convicted to assess the effectiveness and use
     of anti-trafficking laws to successfully prosecute sex and labor trafficking cases as trafficking in persons. Additionally, details
     about the crime, including the type of trafficking and demographic information of both traffickers and victims, should be
     collected to determine if there are gaps in application of anti-trafficking laws.

  E Hotline/helpline data, collected by both government agencies and civil society, also provide critical information on trafficking
     trends and the needs of victims through providing a mechanism to connect victims to services and funnel information to law
     enforcement. Hotline operators and civil society may assist victims who do not interact with governmental systems; however,
     given the necessary conﬁdentiality of hotlines, the use of anonymized and aggregated data can make preventing duplication
     difficult when analyzing hotline data. Civil society and governments may have different thresholds for classiﬁcation of victims.
     Also, victims may not provide consent, and aggregation may not be possible due to small numbers. For these reasons, close
     collaboration is needed to standardize and reconcile information and safeguard victims’ identities. Additionally, hotlines rely
     on public awareness, so their data may overrepresent certain populations. For this reason, hotline data cannot demonstrate
     prevalence, but can supplement other data sources to inform on trends and highlight gaps in services or accountability in
     investigations.

Finally, governments should facilitate and encourage independent research on trafficking trends. The academic community can
often be a resource in establishing data collection systems, data governance, and data literacy campaigns. When governments
share appropriate information with the academic community, it can result in new insights and further innovative responses to
human trafficking.




Country Examples of Innovative Human Trafficking Data Collection,
Management, and Dissemination:
Philippines. The Government of the Philippines created the Integrated Case Management System, which is a single
technology platform leveraged by several government agencies to address longstanding issues around interagency
coordination needed to assist Filipino trafficking victims, who are often exploited outside the country, and to prosecute
their traffickers.

Uganda. In partnership with an NGO, Uganda’s Office of the Director of Public Prosecutions developed the Trafficking
in Persons Mobile App Platform, which collects and disseminates standardized data pertaining to human trafficking
investigations and prosecutions, enabling government agencies to track suspected and convicted traffickers and trends
in trafficking in persons.

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                                                                                               2022 TRAFFICKING IN AR_000526
                                                                                                                   PERSONS REPORT |45
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 151 of 729




         TOPICS OF SPECIAL INTEREST


         Linking Efforts to Combat Corruption
         and Trafficking in Persons
         On December 6, 2021, the White House released the ﬁrst United States Strategy on Countering Corruption. It outlines a whole-
         of-government approach that includes an emphasis on better understanding and responding to the transnational dimensions of
         corruption, along with steps to reduce the ability of corrupt actors to use the U.S. and international ﬁnancial systems to hide assets
         and launder their illicit proceeds. This commitment to combat corruption supports another long-time priority of the United States:
         to combat trafficking in persons in all its forms; to prosecute and punish perpetrators, including by conﬁscating their ill-gotten
         gains; and to assist and protect the victims of this crime.

         The U.S. Strategy on Countering Corruption highlights human traffickers among those that beneﬁt the most from environments
         with endemic corruption. A 2021 research report by UNODC and the Bali Process on People Smuggling, Trafficking in Persons and
         Related Transnational Crime also highlights the role of corruption in facilitating trafficking in persons and perpetuating impunity
         for traffickers. Another paper published in 2021 by TRACE illustrates the role corruption plays in facilitating human trafficking by
         highlighting individual cases of trafficking victims from around the world, covering multiple sectors and contexts, including ﬁshing,
         domestic service, the kafala system, and construction in advance of the FIFA World Cup, among others. The paper highlights how
         impunity remains the norm in many places and industries, as both human traffickers and the corrupt officials who facilitate these
         crimes operate with little fear of prosecution.




46| 2022 TRAFFICKING IN PERSONS REPORT                                                                             Haiti AR_000527
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 152 of 729



Trafficking-related corruption is committed by a range of government officials from junior law enforcement officers to senior officials
at the highest level. Officials engage in corruption, for example, by assisting unscrupulous or unlicensed recruitment agencies
during the recruitment of workers for overseas employment, providing false documentation, and enabling illegal movements
across borders and immigration controls. They can also facilitate or turn a blind eye to ongoing illicit activities such as prostitution
or drug cultivation or facilitate the acquisition, sale, or border crossing of goods that may have been produced by forced labor.
Perhaps most perniciously, corrupt officials who accept bribes hamper criminal justice proceedings by obstructing the reporting
and gathering of evidence, inﬂuencing witnesses, tipping off traffickers of pending raids and investigations, or otherwise interfering
with the prosecution of perpetrators of illegal activities. Through selective law enforcement, governments may fail to investigate
or prosecute traffickers, while in other cases authorities may target political opponents with unfounded trafficking allegations.
Corruption by the police and the judiciary emboldens human traffickers to operate with impunity, contributes to the loss of public
trust, and facilitates the further victimization of the very individuals they are supposed to protect from crime. Some government
officials abuse their position of authority to extort sex or forced labor from individuals in their care in exchange for access to food,
medicine, education, or other beneﬁts or goods.

Earlier research by the UNODC points out that trafficking in persons could not occur on a large scale without corruption. It
notes that “trafficking in persons and corruption are closely linked criminal activities, whose interrelation is frequently referred
to in international fora;” and yet, the linkages between the two crimes are mostly overlooked in the actual development and
implementation of anti-trafficking policies and programs.

The international anti-corruption framework includes several instruments and initiatives that can be used to further anti-trafficking
efforts. One such instrument is the 2003 United Nations Convention against Corruption (UNCAC), which is the only legally binding
and virtually universal anti-corruption instrument with 189 States Parties. While the Convention does not speciﬁcally deﬁne
“corruption,” it does cover different forms that corruption can take, such as bribery, trading in inﬂuence, abuse of functions, and
various acts of corruption in the private sector. Most, if not all, of the mandatory provisions in the UNCAC support and complement
international obligations under the 2000 United Nations Convention against Transnational Organized Crime (UNTOC) UN TIP
Protocol, also widely ratiﬁed with 190 Parties to the UNTOC and 178 Parties to its TIP Protocol. Under the UNCAC, States Parties are
obligated, under the fundamental principles of their legal systems, to establish public procurement systems based on transparency
and competition; to criminalize forms of domestic and foreign bribery; to criminalize the laundering of proceeds of a crime; and to
the greatest extent possible within its domestic legal system, to freeze, seize, and conﬁscate such proceeds. States Parties also are
obligated to cooperate with other States Parties on criminal anti-corruption investigations, prosecutions, and judicial proceedings
of Convention-related offenses; and promote the participation of civil society in the ﬁght against corruption. Both the UNCAC
and the UNTOC have peer review mechanisms that assess States Parties’ compliance with the respective conventions that include
recommendations and identiﬁcation of speciﬁc needs for technical assistance.

The Organization for Economic Co-operation and Development’s (OECD) Convention on Combating Bribery of Foreign Public
Officials in International Business Transactions (the Anti-Bribery Convention), ratiﬁed by 44 members (38 OECD countries and six
non-members), is the ﬁrst anti-corruption instrument to focus on the supply side of bribery, namely the persons or entities offering,
promising, or giving bribes—whether directly or through intermediaries. States Parties agree to establish bribery of foreign public
officials as a criminal offense under their national laws and to investigate, prosecute, and sanction this offense. The OECD Working
Group on Bribery monitors the implementation and enforcement of the Convention and related instruments and recognizes that
achieving progress requires efforts at the national level, as well as multilateral cooperation.




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                                                                                                2022 TRAFFICKING IN AR_000528
                                                                                                                    PERSONS REPORT |47
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 153 of 729



         The United Nations Inter-Agency Coordination Group Against Trafficking in Persons (ICAT), through its November 2021 Call for
         Action on Trafficking in Persons, identiﬁed corruption as one of the drivers of human trafficking and called for a global government
         response to address the underlying social and structural inequalities that enable environments where corruption takes root; to
         tackle trafficking in persons in a holistic manner that also addresses corruption and impunity; and to enhance investigations of
         corruption and illicit ﬁnancial ﬂows associated with trafficking and the related seizure of proceeds of crime.

         As the main policymaking body in Vienna on criminal justice issues, the UN Commission on Crime Prevention and Criminal Justice
         (CCPCJ) complements the UNTOC and its TIP Protocol. The TIP Protocol is the central international framework to prevent and combat
         human trafficking, and it provides a ﬂoor for government action, similar to the congressionally mandated minimum standards that
         are used to assess governments’ efforts in TIP Report country narratives. The implementation of the TIP Protocol is often raised
         in the context of CCPCJ discussion, particularly through resolutions negotiated each year. Other fora such as the G7 Roma Lyon
         Group (RLG) also address corruption and trafficking in persons. The RLG focuses on crime and terrorism issues, including both
         corruption and trafficking in persons, among others.

         Under U.S. law, the TVPA requires the Secretary of State to describe government efforts to combat trafficking each year and places
         great focus on corruption and complicity, which undermine such efforts. As part of the Minimum Standards indicia of “serious and
         sustained efforts,” the TVPA requires an assessment of whether a government took law enforcement action against officials who
         participated in, facilitated, condoned, or were otherwise complicit in human trafficking crimes. Furthermore, the TVPA directs the
         Secretary to consider, as proof of a country’s failure to make signiﬁcant effort to fully meet the Minimum Standards, a government
         policy or pattern of trafficking; trafficking in government-funded programs; forced labor (in government-affiliated medical services,
         agriculture, forestry, mining, construction, or other sectors); sexual slavery in government camps, compounds, or outposts; or
         employing or recruiting child soldiers. Thus, concerns of official complicity in trafficking crimes weigh heavily in the TIP Report’s
         country assessments. In cases of official complicity in trafficking crimes in a country, the relevant TIP Report narrative encourages
         the government, often as a top recommendation, to increase efforts to hold complicit officials accountable or reform an existing
         government policy or pattern of trafficking – underlining the importance of ensuring state entities and officials do not perpetrate
         the crime.


         Recommendations for Linking and Furthering Anti-corruption and Anti-trafficking Efforts:
         The following recommendations draw from various sources and are based on a multi-sectoral approach involving government
         entities, multilateral institutions, the private sector, and civil society, including trafficking survivors. They aim to proactively link
         efforts to prevent and combat both corruption and trafficking in persons.

           E Ensure robust, transparent criminal investigation and prosecution of government officials who allegedly facilitate or perpetrate
               trafficking crimes, including through corrupt practices or trafficking-related selective law enforcement.

           E Establish comprehensive anti-money laundering laws and enforce them, monitor seizure/conﬁscation of proceeds—including
               from offshore accounts and cryptocurrency—and provide training/assistance/tools to governments, banks, etc., to enhance
               these efforts, in line with legislation, treating trafficking in persons as a predicate offence to money laundering, in line with
               the UNTOC.

           E Conduct ﬁnancial investigations. Curb illicit ﬁnancing, including through enhanced investigations of corruption associated
               with human trafficking along with the related freezing, seizing, and conﬁscating of proceeds of this crime and through
               enhanced training of relevant public and private entities, such as law enforcement, ﬁnancial intelligence units, tax authorities,
               and banking institutions, using red ﬂag indicators to help identify transactions related to human trafficking.

           E Include corruption when addressing core drivers and facilitators of trafficking in persons, and link anti-corruption efforts with
               those designed to tackle transnational organized crime such as human trafficking, including understanding and disrupting
               networks, tracking ﬂows of money and assets, and improving information sharing with international and non-governmental
               partners, as appropriate.




48| 2022 TRAFFICKING IN PERSONS REPORT                                                                               Haiti AR_000529
    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 154 of 729




E Recognize that combating corruption and transnational organized crime are mutually reinforcing by underscoring the
   importance of effectively implementing international obligations under the UNCAC and UNTOC in the development and
   execution of anti-trafficking policies and programs, as well as incorporate as relevant recommendations from the UNCAC
   and UNTOC COP reviews.

E Bolster the existing international anti-corruption architecture in reinforcing the approach of corruption as a global problem
   that also facilitates trafficking in persons by addressing the transnational aspects of corruption through human and ﬁnancial
   resourcing, intelligence analysis, foreign assistance, and robust public-private partnerships that include the private sector,
   multilateral organizations, banking institutions, civil society, and media actors, with a view to eliminate safe havens for
   corrupt actors and their criminal proceeds.

E Increase digital expertise and appropriate usage of new technology in anti-trafficking investigations and responses, including
   collection of evidence, sharing of information, and presenting evidence in court.

E Establish transparent public, private, and institutional procurement and acquisition systems.

E Incorporate measures to address corruption and impunity in anti-trafficking strategies, using a multi-stakeholder approach
   that incorporates the expertise and recommendations from trafficking victims and survivor leaders.

E Encourage the private sector to develop effective internal controls, ethics, and compliance measures to prevent and detect
   bribery of foreign public officials and to prevent human trafficking, including in supply chains.

E Provide support for civil society, survivor, and media reporting on corrupt practices related to trafficking, to include anonymous
   reporting mechanisms and whistleblower protection.




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                                                                                            2022 TRAFFICKING    AR_000530
                                                                                                             IN PERSONS REPORT |49
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 155 of 729




         CHILD SOLDIERS PREVENTION ACT LIST
         Section 402 of the Child Soldiers Prevention Act, as amended (CSPA) requires publication in the annual TIP Report of
         a list of foreign governments identiﬁed during the previous year as having governmental armed forces, police, or other
         security forces, or government-supported armed groups that recruit or use child soldiers, as deﬁned in the CSPA. These
         determinations cover the reporting period beginning April 1, 2021 through March 31, 2022.

         For the purpose of the CSPA, and generally consistent with the provisions of the Optional Protocol to the Convention
         on the Rights of the Child on the involvement of children in armed conﬂict, the term “child soldier” means:

              i. any person under 18 years of age who takes a direct part in hostilities as a member of governmental
                   armed forces, police, or other security forces;
              ii. any person under 18 years of age who has been compulsorily recruited into governmental armed forces,
                   police, or other security forces;
              iii. any person under 15 years of age who has been voluntarily recruited into governmental armed forces,
                   police, or other security forces; or
              iv. any person under 18 years of age who has been recruited or used in hostilities by armed forces distinct
                   from the armed forces of a state.

         The term “child soldier” includes any person described in clauses (ii), (iii), or (iv) who is serving in any capacity, including
         in a support role, such as a “cook, porter, messenger, medic, guard, or sex slave.”

         Governments identiﬁed on the list are subject to restrictions, in the following ﬁscal year, on certain security assistance and
         commercial licensing of military equipment. The CSPA prohibits assistance to governments that are identiﬁed in the list
         under the following authorities: International Military Education and Training, Foreign Military Financing, Excess Defense
         Articles, and Peacekeeping Operations, with exceptions for some programs undertaken pursuant to the Peacekeeping
         Operations authority. The CSPA also prohibits the issuance of licenses for direct commercial sales of military equipment
         to such governments. Beginning October 1, 2022, and effective throughout Fiscal Year 2023, these restrictions will apply
         to the listed countries, absent a presidential waiver, applicable exception, or reinstatement of assistance pursuant to
         the terms of the CSPA. The determination to include a government in the CSPA list is informed by a range of sources,
         including ﬁrst-hand observation by U.S. government personnel and research and credible reporting from various UN
         entities, international organizations, local and international NGOs, and international and domestic media outlets.




50| 2022 TRAFFICKING IN PERSONS REPORT                                                                        Haiti AR_000531
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 156 of 729




The 2022 CSPA List Includes Governments of the following countries:

               Afghanistan                                       Iran                                   South Sudan

                   Burma                                         Mali                                        Syria

       Central African Republic                                Russia                                    Venezuela

          Congo, Democratic                                   Somalia                                       Yemen
             Republic of the




WHEN THE GOVERNMENT IS THE TRAFFICKER: STATE-SPONSORED
TRAFFICKING IN PERSONS

While the TVPA and the UN TIP Protocol call on governments to proactively address trafficking crimes, some governments
are part of the problem, directly compelling their citizens into sex trafficking or forced labor. From forced labor in local or
national public work projects, military operations, economically important sectors, or as part of government-funded projects
or missions abroad to sexual slavery on government compounds, officials use their power to exploit their nationals. To extract
this work or service, governments coerce by threatening the withdrawal of public beneﬁts, withholding salaries, failing to
adhere to limits on national service, manipulating the lack of legal status of stateless individuals and other minority groups,
threatening to punish family members, or conditioning services, food, or freedom of movement on labor or sex.

In 2019, Congress amended the TVPA to acknowledge that governments can also act as traffickers, referring speciﬁcally
to a “government policy or pattern” of human trafficking, human trafficking in government-funded programs, forced
labor in government-affiliated medical services or other sectors, sexual slavery in government camps, or the employment
or recruitment of child soldiers. While the TVPA already directs the Secretary to consider the extent to which officials
participated in, facilitated, condoned, or were otherwise complicit in trafficking when determining tier rankings, this new
section more directly links government involvement in trafficking crimes to a Tier 3 ranking.

The 2022 Trafficking in Persons Report includes the following 11 governments with a documented “policy or pattern” of
human trafficking, trafficking in government-funded programs, forced labor in government-affiliated medical services or
other sectors, sexual slavery in government camps, or the employment or recruitment of child soldiers:


       Afghanistan                           Cuba                    Korea, Democratic                    South Sudan
                                                                    People’s Republic of
          Burma                            Eritrea                                                             Syria
                                                                             Russia
       China,                                Iran                                                         Turkmenistan
 People’s Republic of



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                                                                                       2022 TRAFFICKING INAR_000532
                                                                                                           PERSONS REPORT |51
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 157 of 729




         METHODOLOGY
         The Department of State prepared this Report using information from U.S. embassies, government officials, nongovernmental
         and international organizations, published reports, news articles, academic studies, consultations with authorities and
         organizations in every region of the world, and information submitted to tipreport@state.gov. This email address provides
         a means by which organizations and individuals can share information with the Department of State throughout the year
         on government progress in addressing human trafficking.

         U.S. diplomatic posts and domestic agencies reported on the human trafficking situation and governmental action to
         ﬁght trafficking based on thorough research that included meetings with a wide variety of government officials, local
         and international NGO representatives, officials of international organizations, journalists, academics, and survivors. U.S.
         missions overseas are dedicated to covering human trafficking issues year-round. The 2022 Trafficking in Persons Report
         covers government efforts undertaken from April 1, 2021 through March 31, 2022.



        Tier Placement
         The Department places each country in this Report onto one of four tiers, as mandated by the TVPA. This placement is based
         not on the size of a country’s problem but on the extent of government efforts to meet the TVPA’s minimum standards
         for the elimination of human trafficking (see page 58-61), which are generally consistent with the Palermo Protocol.

         While Tier 1 is the highest ranking, it does not mean that a country has no human trafficking problem or that it is doing
         enough to address the crime. Rather, a Tier 1 ranking indicates that a government has made efforts to address the problem
         that meet the TVPA’s minimum standards. To maintain a Tier 1 ranking, governments need to demonstrate appreciable
         progress each year in combating trafficking. Tier 1 represents a responsibility rather than a reprieve.

         Tier rankings and narratives in the 2022 Trafficking in Persons Report reﬂect an assessment of the following:

             E enactment of laws prohibiting severe forms of trafficking in persons, as deﬁned by the TVPA, and
               provision of criminal punishments for trafficking crimes;

             E criminal penalties prescribed for human trafficking crimes with a maximum of at least four years’
               deprivation of liberty, or a more severe penalty;

             E implementation of human trafficking laws through vigorous prosecution of the prevalent forms of
               trafficking in the country and sentencing of traffickers;

             E proactive victim identiﬁcation measures with systematic procedures to guide law enforcement and




52| 2022 TRAFFICKING IN PERSONS REPORT                                                                     Haiti AR_000533
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 158 of 729




                    PEOPLE’S REPUBLIC OF CHINA (PRC) - INDONESIA

                              PRC nationals Li Wei and Mao Chen lived in the PRC and needed work. An
                              employment broker promised to help them get a job in rural Indonesia
                              as part of the PRC’s Belt and Road Initiative promising that the company
                              would pay for their ﬂight, shelter, food, and salary. But once Li Wei and
                              Mao Chen arrived at the worksite—a smelting facility—they encountered
                              a completely different situation than promised. The employer seized their
                              passports and forced them to work 16-hour shifts with no pay and live
                              in tiny quarters under the watch of armed guards. When Li Wei caught
                              COVID-19, security guards forced him to continue working. A few months
                              later, a subcontractor took over Li Wei and Mao Chen’s contracts. This
                              new employer also denied the men access to their passports and forced
                              them to work long hours. Li Wei was able to escape from the facility but
                              remains in Indonesia without money or documentation to return home.
                              Mao Chen continues to suffer in conditions of forced labor at the hands
                              of the subcontractor.




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                                                                                                     RE    R T |53
                                                                                                        P OR
                                                                                                           RT   | 53
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 159 of 729




                other government-supported front-line responders in the process of victim identiﬁcation;

             E government funding and partnerships with NGOs to provide victims with access to primary health care,
               counseling, and shelter, allowing them to recount their trafficking experiences to trained counselors
               and law enforcement in an environment of minimal pressure;

             E victim protection efforts that include access to services and shelter without detention and with legal
               alternatives to removal to countries in which victims would face retribution or hardship;

             E the extent to which a government ensures victims are provided with legal and other assistance and that,
               consistent with domestic law, proceedings are not prejudicial to victims’ rights, dignity, or psychological
               well-being;

             E the extent to which a government ensures the safe, humane, and to the extent possible, voluntary
               repatriation and reintegration of victims;

             E governmental measures to prevent human trafficking, including efforts to curb practices identiﬁed as
               contributing factors to human trafficking, such as employers’ conﬁscation of foreign workers’ passports
               and allowing labor recruiters to charge fees to prospective migrants; and

             E governmental efforts to reduce the demand for commercial sex acts and international sex tourism.


         Tier rankings and narratives are NOT affected by the following:

             E efforts, however laudable, undertaken exclusively by nongovernmental actors in the country;

             E general public awareness events—government-sponsored or otherwise—lacking concrete ties to the
               prosecution of traffickers, protection of victims, or prevention of trafficking; and

             E broad-based law enforcement or developmental initiatives.




54| 2022 TRAFFICKING IN PERSONS REPORT                                                                    Haiti AR_000535
      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 160 of 729



A Guide to the Tiers
Tier 1
Countries whose governments fully meet the TVPA’s minimum standards for the elimination of trafficking.

Tier 2
Countries whose governments do not fully meet the TVPA’s minimum standards but are making signiﬁcant efforts to
bring themselves into compliance with those standards.

Tier 2 Watch List
Countries whose governments do not fully meet the TVPA’s minimum standards but are making signiﬁcant efforts to
bring themselves into compliance with those standards, and for which:

    E the estimated number of victims of severe forms of trafficking is very signiﬁcant or is signiﬁcantly
      increasing and the country is not taking proportional concrete actions; or

    E there is a failure to provide evidence of increasing efforts to combat severe forms of trafficking in
      persons from the previous year, including increased investigations, prosecutions, and convictions of
      trafficking crimes, increased assistance to victims, and decreasing evidence of complicity in severe
      forms of trafficking by government officials.

Tier 3
Countries whose governments do not fully meet the TVPA’s minimum standards and are not making signiﬁcant efforts
to do so.

The TVPA, as amended, lists additional factors to determine whether a country should be on Tier 2 (or Tier 2 Watch List)
versus Tier 3:

    E the extent to which the country is a country of origin, transit, or destination for severe forms of trafficking;

    E the extent to which the country’s government does not meet the TVPA’s minimum standards and, in
      particular, the extent to which officials or government employees have been complicit in severe forms
      of trafficking;

    E reasonable measures that the government would need to undertake to be in compliance with the
      minimum standards in light of the government’s resources and capabilities to address and eliminate
      severe forms of trafficking in persons;

    E the extent to which the government is devoting sufficient budgetary resources to investigate and
      prosecute human trafficking, convict and sentence traffickers; and obtain restitution for victims of
      human trafficking; and

    E the extent to which the government is devoting sufficient budgetary resources to protect victims and
      prevent the crime from occurring.




                                                                                                        Haiti
                                                                                          2022 TRAFFICKING IN AR_000536
                                                                                                              PERSONS REPORT |55
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 161 of 729



         In addition, the TVPA directs the Secretary of State to consider, as proof of a country’s failure to make signiﬁcant efforts
         to fully meet the TVPA’s minimum standards, a government policy or pattern of: trafficking; trafficking in government-
         funded programs; forced labor (in government-affiliated medical services, agriculture, forestry, mining, construction, or
         other sectors); sexual slavery in government camps, compounds, or outposts; or employing or recruiting child soldiers.

         The TVPA also provides that any country that has been ranked Tier 2 Watch List for two consecutive years and that would
         otherwise be ranked Tier 2 Watch List for the next year will instead be ranked Tier 3 in that third year. The Secretary of
         State is authorized to waive this automatic downgrade only once, in that third year, based on credible evidence that a
         waiver is justiﬁed because the government has a written plan that, if implemented, would constitute making signiﬁcant
         efforts to meet the TVPA’s minimum standards for the elimination of trafficking and is devoting sufficient resources
         to implement the plan. The following year, a country must either go up to Tier 2 or down to Tier 3. Finally, the TVPA
         limits a country to one year on Tier 2 Watch List after that country received a waiver to stay on the Watch List and was
         subsequently downgraded to Tier 3.



         Funding Restrictions for Tier 3 Countries
         Pursuant to the TVPA, governments of countries on Tier 3 may be subject to certain restrictions on foreign assistance,
         whereby the President may determine not to provide U.S. government nonhumanitarian, nontrade-related foreign
         assistance as deﬁned in the TVPA. In addition, the President may determine to withhold funding for government official or
         employee participation in educational and cultural exchange programs in the case of certain Tier 3 countries. Consistent
         with the TVPA, the President may also determine to instruct the U.S. Executive Director of each multilateral development
         bank and the International Monetary Fund to vote against and use their best efforts to deny any loans or other uses of the
         institutions’ funds to a designated Tier 3 country for most purposes (except for humanitarian, trade-related, and certain
         development-related assistance). Alternatively, the President may waive application of the foregoing restrictions upon
         a determination that the provision to a Tier 3 country of such assistance would promote the purposes of the TVPA or is
         otherwise in the national interest of the United States. The TVPA also authorizes the President to waive these restrictions
         if necessary to avoid signiﬁcant adverse effects on vulnerable populations, including women and girls, and children.



         Applicable assistance restrictions apply for the next Fiscal Year, which begins October 1, 2022.




56| 2022 TRAFFICKING IN PERSONS REPORT                                                                    Haiti AR_000537
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 162 of 729
                                                   Worldwide, governments have historically
                                                   marginalized and continue to marginalize Indigenous
                                                   persons economically and politically, causing
                                                   Indigenous persons to become disproportionately
                                                   affected by environmental degradation and armed
                                                   conﬂict and increasing their vulnerability to sex
                                                   trafficking and forced labor.




                                                                   Haiti
                                                     2022 TRAFFICKING IN AR_000538
                                                                         PERSONS REPORT |57
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 163 of 729




        TVPA MINIMUM STANDARDS FOR THE
        ELIMINATION OF TRAFFICKING IN PERSONS
         Trafficking Victims Protection Act of 2000, Div. A of Pub. L. No. 106-386, § 108,
         as amended.
            1. The government of the country should prohibit severe forms of trafficking in persons and punish acts
               of such trafficking.

             2. For the knowing commission of any act of sex trafficking involving force, fraud, coercion, or in which
                the victim of sex trafficking is a child incapable of giving meaningful consent, or of trafficking which
                includes rape or kidnapping or which causes a death, the government of the country should prescribe
                punishment commensurate with that for grave crimes, such as forcible sexual assault.

             3. For the knowing commission of any act of a severe form of trafficking in persons, the government of
                the country should prescribe punishment that is sufficiently stringent to deter and that adequately
                reﬂects the heinous nature of the offense.

            4. The government of the country should make serious and sustained efforts to eliminate severe forms
               of trafficking in persons.




58| 2022 TRAFFICKING IN PERSONS REPORT                                                                   Haiti AR_000539
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 164 of 729




                    VENEZUELA-EGYPT
                        VENEZUELA-EGYPT

                              Kali grew up in
                                           in Venezuela
                                              Venezuela with
                                                        with her
                                                             hermother
                                                                 motherand
                                                                        andtwo
                                                                            twoyounger
                                                                                youngerbrothers.
                                                                                          brothers.
                              She was completing an engineering degree before her university closed
                              due to the
                                     the crisis
                                         crisis in
                                                 inVenezuela.
                                                   Venezuela.AtAta afamily
                                                                      family
                                                                           party,
                                                                             party,
                                                                                  she
                                                                                    she
                                                                                      learned
                                                                                        learned
                                                                                              of of
                                                                                                 anan
                                                                                                    auau
                              pair opportunity offered through an online international hiring company,
                              which promised
                                      promised to
                                                topay
                                                   payfor
                                                        forthe
                                                            theemployee’s
                                                                 employee’stravel,
                                                                             travel,
                                                                                   housing,
                                                                                     housing,
                                                                                            food,
                                                                                              food,
                                                                                                  and
                                                                                                    and
                              salary. Kali
                                      Kaliworked
                                           worked with
                                                  with the
                                                       the company
                                                            company to ﬁnd a job and ﬁnally accepted a
                              position with a wealthy family in Egypt that the hiring company claimed
                              to have veriﬁed.
                                       veriﬁed. Upon
                                                 Uponarrival,
                                                       arrival,she
                                                                shewas
                                                                    wastaken
                                                                         takentoto
                                                                                 a mansion
                                                                                   a mansionwhere
                                                                                              where
                                                                                                  thethe
                              employer conﬁscated her passport and forced her to live in the property’s
                              basement with
                              basement   withseven
                                               sevenother
                                                     otherwomen.
                                                            women. They
                                                                      They
                                                                        held
                                                                           held
                                                                             her her
                                                                                 andand
                                                                                      the women
                                                                                           the women
                              captive and forced them
                                                  them to
                                                        to work
                                                           work18-hour
                                                                 18-hourdays
                                                                        dayscleaning
                                                                              cleaningand
                                                                                        andproviding
                                                                                              providing
                              childcare for no pay. One
                                                    One day
                                                         day while
                                                             while dropping
                                                                   dropping off
                                                                            off her employer’s son at
                              school, Kali met a woman who spoke Spanish. The Thewoman
                                                                                  womanintroduced
                                                                                            introduced
                              her to a group of Venezuelan women who
                                                                   who agreed
                                                                       agreed to
                                                                              to help
                                                                                 helpher
                                                                                      herescape.
                                                                                         escape. The
                              women informed the Venezuelan embassy of Kali’s domestic servitude.
                              After three months of planning, Kali escaped.
                                                                   escaped. She now lives in Panama.




                                                                           Haiti
                                                             2022 TRAFFICKING IN AR_000540
                                                                                 PERSONS REPORT |59
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 165 of 729




         Indicia of “Serious and Sustained Efforts”
             1. Whether the government of the country vigorously investigates and prosecutes acts of severe forms of
                trafficking in persons, and convicts and sentences persons responsible for such acts, that take place wholly
                or partly within the territory of the country, including, as appropriate, requiring incarceration of individuals
                convicted of such acts. For purposes of the preceding sentence, suspended or signiﬁcantly reduced sentences
                for convictions of principal actors in cases of severe forms of trafficking in persons shall be considered, on
                a case-by-case basis, whether to be considered an indicator of serious and sustained efforts to eliminate
                severe forms of trafficking in persons. After reasonable requests from the Department of State for data
                regarding investigations, prosecutions, convictions, and sentences, a government which does not provide
                such data, consistent with a demonstrably increasing capacity of such government to obtain such data,
                shall be presumed not to have vigorously investigated, prosecuted, convicted or sentenced such acts.

            2. Whether the government of the country protects victims of severe forms of trafficking in persons and
               encourages their assistance in the investigation and prosecution of such trafficking, including provisions for
               legal alternatives to their removal to countries in which they would face retribution or hardship, and ensures
               that victims are not inappropriately incarcerated, ﬁned, or otherwise penalized solely for unlawful acts as a
               direct result of being trafficked, including by providing training to law enforcement and immigration officials
               regarding the identiﬁcation and treatment of trafficking victims using approaches that focus on the needs
               of the victims.

            3. Whether the government of the country has adopted measures to prevent severe forms of trafficking in
               persons, such as measures to inform and educate the public, including potential victims, about the causes
               and consequences of severe forms of trafficking in persons, measures to establish the identity of local
               populations, including birth registration, citizenship, and nationality, measures to ensure that its nationals
               who are deployed abroad as part of a diplomatic, peacekeeping, or other similar mission do not engage in
               or facilitate severe forms of trafficking in persons or exploit victims of such trafficking, a transparent system
               for remediating or punishing such public officials as a deterrent, measures to prevent the use of forced labor
               or child labor in violation of international standards, effective bilateral, multilateral, or regional information
               sharing and cooperation arrangements with other countries, and effective policies or laws regulating foreign
               labor recruiters and holding them civilly and criminally liable for fraudulent recruiting.

            4. Whether the government of the country cooperates with other governments in the investigation and
               prosecution of severe forms of trafficking in persons and has entered into bilateral, multilateral, or regional
               law enforcement cooperation and coordination arrangements with other countries.

            5. Whether the government of the country extradites persons charged with acts of severe forms of trafficking
               in persons on substantially the same terms and to substantially the same extent as persons charged with
               other serious crimes (or, to the extent such extradition would be inconsistent with the laws of such country
               or with international agreements to which the country is a party, whether the government is taking all
               appropriate measures to modify or replace such laws and treaties so as to permit such extradition).




60| 2022 TRAFFICKING IN PERSONS REPORT                                                                      Haiti AR_000541
    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 166 of 729




6. Whether the government of the country monitors immigration and emigration patterns for evidence of
   severe forms of trafficking in persons and whether law enforcement agencies of the country respond to
   any such evidence in a manner that is consistent with the vigorous investigation and prosecution of acts of
   such trafficking, as well as with the protection of human rights of victims and the internationally recognized
   human right to leave any country, including one’s own, and to return to one’s own country.

 7. Whether the government of the country vigorously investigates, prosecutes, convicts, and sentences public
    officials, including diplomats and soldiers, who participate in or facilitate severe forms of trafficking in persons,
    including nationals of the country who are deployed abroad as part of a diplomatic, peacekeeping, or other
    similar mission who engage in or facilitate severe forms of trafficking in persons or exploit victims of such
    trafficking, and takes all appropriate measures against officials who condone or enable such trafficking. A
    government’s failure to appropriately address public allegations against such public officials, especially once
    such officials have returned to their home countries, shall be considered inaction under these criteria. After
    reasonable requests from the Department of State for data regarding such investigations, prosecutions,
    convictions, and sentences, a government which does not provide such data, consistent with a demonstrably
    increasing capacity of such government to obtain such data, shall be presumed not to have vigorously
    investigated, prosecuted, convicted, or sentenced such acts.

8. Whether the percentage of victims of severe forms of trafficking in the country that are non-citizens of
   such countries is insigniﬁcant.

9. Whether the government has entered into effective, transparent partnerships, cooperative arrangements,
   or agreements that have resulted in concrete and measurable outcomes with -

        a. domestic civil society organizations, private sector entities, or international nongovernmental
           organizations, or into multilateral or regional arrangements or agreements, to assist the government’s
           efforts to prevent trafficking, protect victims, and punish traffickers; or
        b. the United States toward agreed goals and objectives in the collective ﬁght against trafficking.

10. Whether the government of the country, consistent with the capacity of such government, systematically
    monitors its efforts to satisfy the criteria described in paragraphs (1) through (8) and makes available
    publicly a periodic assessment of such efforts.

11. Whether the government of the country achieves appreciable progress in eliminating severe forms of
    trafficking when compared to the assessment in the previous year.

12. Whether the government of the country has made serious and sustained efforts to reduce the demand for –
      a. commercial sex acts; and
      b. participation in international sex tourism by nationals of the country.




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                                                                                        2022 TRAFFICKING IN AR_000542
                                                                                                            PERSONS REPORT |61
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 167 of 729


            Countries in the 2022 TIP Report that are not Party to the Protocol to Prevent, Suppress
              and Punish Trafficking In Persons, Especially Women and Children, supplementing
                    the United Nations Convention against Transnational Organized Crime




                                 Bhutan                                   Marshall Islands                                  South Sudan

                              Congo,                                            Pakistan                                         Tonga
                           Republic of the
                                                                        Papua New Guinea                                        Uganda
                                    Iran
                                                                         Solomon Islands                                        Vanuatu
                        Korea, Democratic
                       People’s Republic of                                     Somalia                                          Yemen




        GLOBAL LAW ENFORCEMENT DATA
        The 2003 reauthorization of the TVPA added to the original law a new requirement that foreign governments provide the
        Department of State with data on trafficking investigations, prosecutions, convictions, and sentences in order to fully meet
        the TVPA’s minimum standards for the elimination of trafficking (Tier 1). The 2004 TIP Reportcollected this data for the ﬁrst
        time. The 2007 TIP Report showed for the ﬁrst time a breakout of the number of total prosecutions and convictions that related
        to labor trafficking, placed in parentheses.


                                                                                                                                    NEW OR AMENDED
          YEAR              PROSECUTIONS                    CONVICTIONS                      VICTIMS IDENTIFIED
                                                                                                                                      LEGISLATION

           2015                19,127 (857)                   6,615 (456)                       77,823 (14,262)                               30

           2016              14,939 (1,038)                   9,072 (717)                       68,453 (17,465)                               25

           2017                17,471 (869)                   7,135 (332)                       96,960 (23,906)                                5

           2018               11,096 (457)                    7,481 (259)                       85,613 (11,009)                                5

           2019               11,841 (1,024)                  9,548 (498)                       118,932 (13,875)                               7

           2020                9,876 (1,115)                   5,011 (337)                      109,216 (14,448)                              16

           2021               10,572 (1,379)                  5,260 (374)                       90,354 (21,219)                               15

        The above statistics are estimates derived from data provided by foreign governments and other sources and reviewed by the Department of State. Aggregate
        data ﬂuctuates from one year to the next due to the hidden nature of trafficking crimes, dynamic global events, shifts in government efforts, and a lack of
        uniformity in national reporting structures. The numbers in parentheses are those of labor trafficking prosecutions, convictions, and victims identiﬁed.




62| 2022 TRAFFICKING IN PERSONS REPORT                                                                                                 Haiti AR_000543
Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 168 of 729

                                                   A ladder descends into a mine. Mining is a highly
                                                   hazardous sector and considered a worst form of
                                                   child labor. Children are especially at risk as they are
                                                   commonly used to enter narrow mine shafts where
                                                   adults do not ﬁt and are exposed to highly toxic
                                                   substances that can have profound health effects.




                                                                   Haiti
                                                     2022 TRAFFICKING IN AR_000544
                                                                         PERSONS REPORT |63
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 169 of 729




         2022 TIP REPORT HEROES
         Each year, the Department of State honors individuals around the world who have devoted their lives to the ﬁght against
         human trafficking. These individuals include NGO workers, lawmakers, government officials, survivors of human trafficking,
         and concerned citizens. They are recognized for their tireless efforts—despite some working in challenging environments
         where human trafficking concerns remain pervasive and facing resistance, opposition, or threats to their lives—to protect
         victims, punish offenders, and mitigate the underlying factors that cause vulnerabilities traffickers often target.

         For more information about current and past TIP Report Heroes, please visit the TIP Report Heroes Global Network at
         www.tipheroes.org.




64| 2022 TRAFFICKING IN PERSONS REPORT                                                                   Haiti AR_000545
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 170 of 729


MOHAMMED TARIQUL ISLAM                                                MAJOR MOHAMMAD AL-KHLAIFAT
BANGLADESH                                                            JORDAN




Mohammed Tariqul Islam is a tireless advocate for victims             Major Mohammad al-Khlaifat has striven to eliminate human
of human trafficking whose work has helped increase the               trafficking in Jordan by leading the Public Security Directorate’s
Bangladesh government’s capacity to investigate and prosecute         Counter Trafficking Unit (CTU), a police unit with embedded
traffickers. Mr. Islam has led anti-trafficking organizations that    Ministry of Labor and Ministry of Health (MOH) personnel,
have facilitated assistance to more than 2,000 trafficking victims.   and also by proactively identifying and supporting trafficking
He has worked diligently with victims of human trafficking to         victims. Since becoming acting head of the CTU in July 2020,
either provide or connect them to the services they need in many      Major Khlaifat has led efforts to strengthen cooperation between
of these cases. In 2017, Mr. Islam started the Bangladesh branch of   Jordanian government agencies, civil society, and international
the UK-based NGO Justice & Care, where he currently serves as         NGOs. He initiated new ways to collaborate with the Ministry
country director. Justice & Care’s work spans almost every aspect     of Social Development and the Jordanian Women’s Union (a
of anti-trafficking work, including direct implementation of victim   women’s shelter NGO) to ensure trafficking victims received
services, repatriation of survivors, and assisting law enforcement    responsive and equitable protection and support services. He
and the judiciary with trafficking cases.                             also coordinated between the Public Security Directorate and
                                                                      Ministry of Justice to launch a new case management system that
Mr. Islam has also supported the Bangladeshi government’s
                                                                      improved collaboration between investigators and prosecutors.
anti-trafficking efforts to achieve measurable progress in key
areas, including those that address recommendations in the            Major Khlaifat formalized information-sharing efforts between
2021 TIP Report. For example, Mr. Islam has organized cross-          the CTU and the Public Security Directorate’s Vice Unit, which
border consultations between Bangladesh and India to increase         generated a third of the CTU’s trafficking cases in 2021. He
collaboration on victim repatriation efforts. Additionally, Mr.       leveraged relationships gained from a prior assignment as an
Islam’s close working relationship with the Ministry of Home          air marshal to reach a formal agreement between the CTU and
Affairs helped facilitate a strong partnership between the public     Civil Aviation Regulatory Authority that increased screening
and private sector, including by helping the Ministry draft its       for potential trafficking victims at Jordan’s airports. He also
National Plan of Action (2018-2022) to combat human trafficking.      guided police liaisons in refugee camps to screen for trafficking
Mr. Islam’s trusted advice, authentic perspective, and frontline      indicators. To continue operations under pandemic conditions,
experiences make him a leader and respected voice in shaping          he deployed COVID-19 tests with the MOH to allow CTU officers
Bangladesh’s response to trafficking.                                 to safely address the needs of victims. Major Khlaifat has proven
                                                                      instrumental in collaborating with partners, including the U.S.
                                                                      government, to combat human trafficking.




                                                                                                              Haiti
                                                                                                2022 TRAFFICKING IN AR_000546
                                                                                                                    PERSONS REPORT |65
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 171 of 729


         JUDGE CORNELIUS WENNAH                                                IRENA DAWID-OLCZYK
         LIBERIA                                                               POLAND




         In a post-conﬂict country facing resource challenges and weak         Ms. Dawid-Olczyk is a human rights activist and President of
         rule of law, Judge Wennah has demonstrated tireless devotion          La Strada Poland who has devoted much of her professional
         to improve Liberia’s anti-trafficking record. He was sworn in         life to assisting human trafficking victims. In 1995, she
         as a Residential Judge early this year. Prior to this position, he    co-founded what is now known as the La Strada Foundation
         was Head of Felonious Crimes and a prosecutor in the Ministry         Against Trafficking in Persons and Slavery—a leading NGO based
         of Justice (MOJ), investigating, prosecuting, and advising on         in Warsaw that provides comprehensive assistance to trafficking
         anti-trafficking matters and other crimes. He is distinguished        victims. For years, she has advocated for the creation of a strong
         for developing anti-trafficking training curricula and serving as     system of assistance and support for trafficking victims. In 2009,
         a trainer on a country-wide project.                                  she conceptualized and secured funding from the Ministry of
                                                                               the Interior and Administration for the National Intervention and
         In his last four years as a prosecutor, he prosecuted seven
                                                                               Consultation Center for Victims of Human Trafficking (KCIK). Every
         trafficking cases, winning ﬁve and losing one, with one remaining
                                                                               year, La Strada has successfully competed to run KCIK, which
         under appeal. These numbers are signiﬁcant given Liberia’s overall
                                                                               directly assists more than 200 victims of human trafficking,
         low number of trafficking cases prosecuted in the past few years.
                                                                               providing them with safe shelter, psychological and medical
         Judge Wennah has also advocated for the inclusion of traditional
                                                                               care, legal counseling, and other needed services. Ms. Dawid-
         leaders and civil society organizations in Liberia’s National Anti-
                                                                               Olczyk also created several training programs on combating
         Trafficking Task Force.
                                                                               human trafficking and generated the idea to organize a Human
         Since 2020, Judge Wennah has assisted the International               Trafficking Film Festival in Warsaw. She is a consultant for ﬁlms,
         Development Law Organization to develop international-                theater plays, and television programs that feature human
         standard-level human trafficking training curriculum for judges,      trafficking and appears in media as an expert on human trafficking.
         prosecutors, and law enforcement personnel, all to raise awareness
                                                                               Ms. Dawid-Olczyk has been an important partner for the Polish
         and strengthen justice sector actors’ capacities to prevent and
                                                                               government for years, and her organization has been the
         address human trafficking. Judge Wennah was instrumental in
                                                                               government’s primary partner in providing assistance to trafficking
         the development and adoption of a trafficking bench book for
                                                                               victims. Since the beginning of the refugee crisis on the Poland-
         judges and a handbook for law enforcement and prosecutors—
                                                                               Ukraine border, La Strada has been actively involved in prevention
         harmonizing international standards and local practice—without
                                                                               and public awareness activities. The organization prepared
         compromising on best practices, lessons learned, or international
                                                                               guidelines with basic safety rules for refugees from Ukraine
         standards.
                                                                               and staffed a hotline to respond to dangerous situations that
                                                                               could be connected to human trafficking.




66| 2022 TRAFFICKING IN PERSONS REPORT                                                                           Haiti AR_000547
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 172 of 729


APINYA TAJIT                                                             KATERYNA CHEREPAKHA
THAILAND                                                                 UKRAINE




Ms. Apinya is the Deputy Director of the Stella Maris Seafarer’s         Kateryna Cherepakha is the president of La Strada Ukraine, an NGO
Center, an NGO in Thailand. Stella Maris provides pastoral care,         established in 1997 to combat trafficking in persons, gender-based
services, and support for workers in the Thai ﬁshing industry.           violence, and domestic violence; ensure gender equality; and
Ms. Apinya has dedicated herself for more than seven years to            protect the rights of children. She spearheads the organization’s
combating human trafficking in Thailand, and she has worked              strategic planning, collaborates extensively with national and
tirelessly to assist workers exploited in forced labor. She has helped   international stakeholders, and is engaged in advocacy, monitoring,
hundreds of workers in the ﬁshing sector from various countries,         capacity-building efforts, training, and networking.
including Thailand, Indonesia, Cambodia, Burma, and Bangladesh,
and has also played an active role in raising awareness of child         Ms. Cherepakha began at La Strada Ukraine as a human trafficking
trafficking. Ms. Apinya visits schools throughout the country to         prevention hotline consultant in 1998. She assisted in the expansion
educate more than 10,000 students each year.                             of the hotline from a weekly service to an around-the-clock toll-
                                                                         free resource that supports victims of human trafficking, gender-
Ms. Apinya provides assistance to Thai authorities in the victim
                                                                         based violence, and domestic violence daily. Since the start of
identiﬁcation process, which can be especially difficult as ﬁshing
                                                                         Russia’s war against Ukraine, the telephone and online hotline has
vessels are out to sea for months at a time. In one instance,
                                                                         seen a manifold increase in calls for assistance. It has remained
authorities did not initially identify workers on a refrigerated cargo
                                                                         open under her leadership and as a result, thousands of Ukrainians
ship as victims of trafficking. Upon Ms. Apinya’s request, however,
                                                                         have been able to access crucial information, advice, and assistance
authorities conducted a new round of screening for these workers
                                                                         to keep themselves safe from trafficking and exploitation.
and, with her assistance, identiﬁed all of the workers as trafficking
victims. Her assistance often does not end when individuals              Additionally, Ms. Cherepakha is an OSCE National Expert on
are identiﬁed as victims of trafficking, however; she also helps         developing and conducting training courses for emergency, police,
them reintegrate into society and avoid revictimization. Using           and hotline personnel, including in addressing gender-based
her in-depth knowledge, Ms. Apinya has helped Thai authorities           violence and domestic violence cases, and effectively handling
understand the lives of ﬁshermen. Through several trainings for          calls from children. As a Council of Europe National Expert, she
anti-trafficking authorities, Ms. Apinya helped to improve their         contributed to the development of the “Combating violence
capacity to detect indicators of exploitation at sea.                    against women and domestic violence: A practical manual for
                                                                         police officers” in 2020. Not only has Ms. Cherepakha represented
                                                                         trafficking victims, but she also has been an outspoken advocate
                                                                         for gender equality.




                                                                                                                  Haiti
                                                                                                    2022 TRAFFICKING IN AR_000548
                                                                                                                        PERSONS REPORT |67
                   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 173 of 729


   A survivor of human trafficking
   reflects on her journey.
   Governments and NGOs
   often play an important role
   in providing comprehensive
   p rote c tive s e r vi ce s to
   survivors of human trafficking.
   As part of a photo story, the
   photographer collaborated
   w i t h t h i s s u r v i vo r to
   understand how she would
   like to be presented.




68| 2022 TRAFFICKING IN PERSONS REPORT                                          Haiti AR_000549
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 174 of 729




TIER PLACEMENTS AND REGIONAL MAPS
TIER 1

ARGENTINA            CANADA                  FINLAND                  LITHUANIA             SLOVENIA
AUSTRALIA            CHILE                   FRANCE                   LUXEMBOURG            SPAIN
AUSTRIA              COLOMBIA                GEORGIA                  NAMIBIA               SWEDEN
THE BAHAMAS          CYPRUS                  GERMANY                  NETHERLANDS           TAIWAN
BAHRAIN              CZECH REPUBLIC          GUYANA                   PHILIPPINES           UNITED KINGDOM
BELGIUM              ESTONIA                 ICELAND                  SINGAPORE             UNITED STATES OF AMERICA


TIER 2

ALBANIA              CROATIA                 KENYA                    NEPAL                 SRI LANKA
ANGOLA               DENMARK                 KOREA, REPUBLIC OF       NEW ZEALAND           ST. VINCENT
ARMENIA              DOMINICAN REPUBLIC      KOSOVO                   NIGER                   AND THE GRENADINES
AZERBAIJAN           ECUADOR                 KYRGYZ REPUBLIC          NIGERIA               SUDAN
BANGLADESH           EGYPT                   LAOS                     NORTH MACEDONIA       SURINAME
BARBADOS             FIJI                    LATVIA                   NORWAY                SWITZERLAND
BELIZE               THE GAMBIA              LEBANON                  OMAN                  TAJIKISTAN
BENIN                GHANA                   LESOTHO                  PAKISTAN              TANZANIA
BOLIVIA              GREECE                  LIBERIA                  PANAMA                THAILAND
BOSNIA               GUATEMALA               MALAWI                   PARAGUAY              TIMOR-LESTE
 AND HERZEGOVINA     HONDURAS                MALDIVES                 PERU                  TOGO
BOTSWANA             HUNGARY                 MALTA                    POLAND                TUNISIA
BRAZIL               INDIA                   MARSHALL ISLANDS         PORTUGAL              TURKEY
BURUNDI              IRAQ                    MAURITIUS                QATAR                 UGANDA
CABO VERDE           IRELAND                 MEXICO                   ROMANIA               UKRAINE
CENTRAL              ISRAEL                  MICRONESIA               RWANDA                UNITED ARAB EMIRATES
 AFRICAN REPUBLIC    ITALY                   MOLDOVA                  SAUDI ARABIA          URUGUAY
CONGO,               JAMAICA                 MONGOLIA                 SEYCHELLES            UZBEKISTAN
 REPUBLIC OF THE     JAPAN                   MONTENEGRO               SIERRA LEONE          VANUATU
COSTA RICA           JORDAN                  MOROCCO                  SLOVAK REPUBLIC
COTE D’IVOIRE        KAZAKHSTAN              MOZAMBIQUE               SOLOMON ISLANDS


TIER 2 WATCH LIST

ALGERIA              CHAD                    ETHIOPIA                 MALI                  TONGA
ANTIGUA              COMOROS                 GABON                    MAURITANIA            TRINIDAD AND TOBAGO
AND BARBUDA          CONGO, DEMOCRATIC       GUINEA                   PALAU                 ZAMBIA
ARUBA                 REPUBLIC OF THE        HAITI                    PAPUA NEW GUINEA      ZIMBABWE
BHUTAN               DJIBOUTI                HONG KONG                SAINT LUCIA
BULGARIA             EL SALVADOR             INDONESIA                SENEGAL
BURKINA FASO         EQUATORIAL GUINEA       KUWAIT                   SERBIA
CAMEROON             ESWATINI                MADAGASCAR               SOUTH AFRICA


TIER 3
AFGHANISTAN          CHINA,                  GUINEA-BISSAU            MALAYSIA              SYRIA
BELARUS               PEOPLE’S REPUBLIC OF   IRAN                     NICARAGUA             TURKMENISTAN
BRUNEI               CUBA                    KOREA, DEMOCRATIC        RUSSIA                VENEZUELA
BURMA                CURAĆAO                   PEOPLE’S REPUBLIC OF   SINT MAARTEN          VIETNAM
CAMBODIA             ERITREA                 MACAU                    SOUTH SUDAN


SPECIAL CASE

LIBYA               SOMALIA                  YEMEN



                                                                                         Haiti
                                                                           2022 TRAFFICKING IN AR_000550
                                                                                               PERSONS REPORT |69
                    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 175 of 729




                     MAURITANIA              MALI
CABO VERDE
                                                                   NIGER                 CHAD
                                                                                                                SUDAN              ERITREA
                 SENEGAL
  THE GAMBIA                                 BURKINA
   GUINEA-BISSAU                              FASO                                                                                               DJIBOUTI
                        GUINEA                      BENIN
                                                                NIGERIA
          SIERRA LEONE               COTE                                                    CENTRAL           SOUTH              ETHIOPIA
                                    D’IVOIRE GHANA                                           AFRICAN           SUDAN
                                                                                             REPUBLIC                                                  SOMALIA
                     LIBERIA                            TOGO           CAMEROON

                                              EQUATORIAL GUINEA
                                                                                           DEMOCRATIC
                                                                                   REP.                    UGANDA               KENYA
                                                                                    OF      REPUBLIC
                                                                        GABON     CONGO
                                                                                             OF THE RWANDA
                                                                                             CONGO BURUNDI

                                                                                                                      TANZANIA                         SEYCHELLES




                                                                                                                                                   COMOROS
                                                                                    ANGOLA
                                                                                                          ZAMBIA


                                                                                                                                     MALAWI
                                                                                                             ZIMBABWE
                                                                                                                           MOZAMBIQUE      MADAGASCAR
                                                                                  NAMIBIA                                                                             MAURITIUS

                                                                                               BOTSWANA



             AFRICA                                                                                                       ESWATINI


                                                                                              SOUTH AFRICA             LESOTHO




             Boundary representation is not authoritative.




             TIER PLACEMENTS

                   TIER 1                      TIER 2                      TIER 2 WATCH LIST                         TIER 3                    SPECIAL CASE

                                                                                                                            VICTIMS                    NEW OR AMENDED
                            YEAR                     PROSECUTIONS                      CONVICTIONS
                                                                                                                          IDENTIFIED                     LEGISLATION

                            2015                         1,517 (53)                         719 (8)                       12,125 (3,531)                          6

                            2016                         1,293 (54)                        1,120 (21)                   18,296 (13,205)                           4

                            2017                         1,325 (98)                        515 (34)                      26,517 (5,902)                           2

                            2018                         1,253 (37)                       1,190 (29)                     24,407(3,749)                            2

                            2019                          955 (71)                        2,122 (32)                     42,517 (1,284)                           2

                            2020                         1,493 (251)                       382 (107)                     28,538 (6,947)                           8

                            2021                        1,686 (265)                        659 (68)                      11,450 (3,643)                           3


             The above statistics are estimates derived from data provided by foreign governments and other sources and reviewed by the Department of State. Aggregate data
             ﬂuctuates from one year to the next due to the hidden nature of trafficking crimes, dynamic global events, shifts in government efforts, and a lack of uniformity in
             national reporting structures. The numbers in parentheses are those of labor trafficking prosecutions, convictions, and victims identiﬁed.


 70| 2022 TRAFFICKING IN PERSONS REPORT                                                                                                           Haiti AR_000551
       Case 6:23-cv-00007MONGOLIA
                            Document 93-4 Filed on 03/24/23 in TXSD Page 176 of 729
                                                                                                                           Occupied by the
                                                                                                                           Soviet Union in 1945,
                                                                                           NORTH KOREA
                                                                                                                           administered by Russia,
                                    CHINA                                                  SOUTH KOREA                     claimed by Japan
                                                                                                      JAPAN




                                                       Macau S.A.R.
                                                                               Taiwan
                                   BURMA
                                                                      Hong Kong S.A.R.
                                               LAOS

                                            THAILAND   VIETNAM

                                                 CAMBODIA                           PHILIPPINES

                                                                                                                    FEDERATED STATES
                                                                                                                      OF MICRONESIA
                                                                                                      PALAU                                     MARSHALL ISLANDS
                                                            BRUNEI
                                                   MALAYSIA
                                                   SINGAPORE



                                                            I N D O N E S I A
                                                                                                               PAPUA NEW GUINEA    SOLOMON
                                                                                                                                    ISLANDS
                                                                                        TIMOR-LESTE




                                                                                                                                               VANUATU       FIJI



                                                                                                                                                                       TONGA




EAST ASIA                                                                                   AUSTRALIA




& PACIFIC                                                                                                                                      NEW ZEALAND

Boundary representation is not authoritative.




TIER PLACEMENTS

      TIER 1                      TIER 2                         TIER 2 WATCH LIST                            TIER 3

                                                                                                                   VICTIMS                    NEW OR AMENDED
               YEAR                     PROSECUTIONS                         CONVICTIONS
                                                                                                                 IDENTIFIED                     LEGISLATION

               2015                          3,414 (193)                       1,730 (130)                      13,990 (3,533)                        10

               2016                           2,137 (51)                        1,953 (31)                        9,989 (310)                            7

               2017                          2,949 (77)                         3,227 (72)                        4,915 (669)                            0

               2018                          2,351 (63)                         1,275 (16)                        5,466 (291)                            1

               2019                          3,276 (86)                        3,662 (20)                        14,132 (7,687)                          2

               2020                          1,838 (70)                         1,502 (12)                        2,884 (691)                            1

               2021                          1,440 (73)                         1,066 (60)                       3,348 (859)                             0


The above statistics are estimates derived from data provided by foreign governments and other sources and reviewed by the Department of State. Aggregate data
ﬂuctuates from one year to the next due to the hidden nature of trafficking crimes, dynamic global events, shifts in government efforts, and a lack of uniformity in
national reporting structures. The numbers in parentheses are those of labor trafficking prosecutions, convictions, and victims identiﬁed.


                                                                                                                                     Haiti
                                                                                                                       2022 TRAFFICKING INAR_000552
                                                                                                                                           PERSONS REPORT |71
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 177 of 729
      ICELAND
                                                                                                                 FINLAND
                                                                                  SWEDEN

                                                                  NORWAY



                                                                                                                ESTONIA


                                                                                                               LATVIA                     R U S S I A
                                                                   DENMARK
                                                                                                         LITHUANIA
                                                                                                       RUS.
            IRELAND                                     NETHERLANDS
                                                                                                                  BELARUS
                                           UNITED
                                          KINGDOM                                           POLAND
                                                    BELGIUM          GERMANY
                                                                                     CZECH
                                                                   LUX.             REPUBLIC                               UKRAINE
                                                                                                  SLOVAKIA

                                                         SWITZERLAND             AUSTRIA HUNGARY                          MOLDOVA

                                                   FRANCE                     SLOVENIA                    ROMANIA
                                                                       ITALY CROATIA BOS.&
                                                                                                      SERBIA
                                                                                               HER.
                                                                                                        KOSOVO       BULGARIA
                                                                                    MONTENEGRO                                                           GEORGIA
                                                                                                              NORTH MACEDONIA
                                                                                                                                                        ARMENIA
                PORTUGAL
                                      SPAIN                                                             GREECE
                                                                                             ALBANIA                              TURKEY                        AZERBAIJAN


                                                                                MALTA                                      CYPRUS




       EUROPE
        Boundary representation is not authoritative.




       TIER PLACEMENTS

             TIER 1                      TIER 2                      TIER 2 WATCH LIST                           TIER 3

                                                                                                                       VICTIMS                   NEW OR AMENDED
                    YEAR                       PROSECUTIONS                      CONVICTIONS
                                                                                                                     IDENTIFIED                    LEGISLATION

                      2015                        4,990 (272)                      1,692 (245)                       11,112 (3,733)                         8

                      2016                        2,703 (201)                       1,673 (40)                      13,349 (3,192)                          3

                      2017                        2,548 (179)                       1,257 (53)                      12,750 (3,330)                          0

                      2018                        2,394 (234)                       1,379 (80)                      16,838 (2,675)                          1

                      2019                        2,896 (106)                       1,346 (41)                       17,383 (1,369)                         2

                      2020                         2,355 (101)                       1,291 (33)                      18,173 (1,082)                         2

                      2021                         3,285 (86)                       1,905 (92)                       21,347 (2,124)                         5


       The above statistics are estimates derived from data provided by foreign governments and other sources and reviewed by the Department of State. Aggregate data
       ﬂuctuates from one year to the next due to the hidden nature of trafficking crimes, dynamic global events, shifts in government efforts, and a lack of uniformity in
       national reporting structures. The numbers in parentheses are those of labor trafficking prosecutions, convictions, and victims identiﬁed.


72| 2022 TRAFFICKING IN PERSONS REPORT                                                                                                      Haiti AR_000553
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 178 of 729




                                              TUNISIA                                                               SYRIA
                                                                                                     LEBANON
   MOROCCO                                                                                         ISRAEL                      IRAQ                         IRAN
                                                                                                                JORDAN

                        ALGERIA                                                                                                              KUWAIT
                                                              LIBYA
                                                                                              EGYPT                                                  BAHRAIN
                                                                                                                                                         QATAR
                                                                                                                             SAUDI ARABIA                 U.A.E.

                                                                                                                                                                   OMAN




                                                                                                                                          YEMEN




NEAR EAST
Boundary representation is not authoritative.




TIER PLACEMENTS
      TIER 1                      TIER 2                      TIER 2 WATCH LIST                         TIER 3                    SPECIAL CASE

                                                                                                               VICTIMS                   NEW OR AMENDED
             YEAR                       PROSECUTIONS                      CONVICTIONS
                                                                                                             IDENTIFIED                    LEGISLATION
               2015                          480 (31)                         343 (31)                       6,068 (156)                            0

               2016                         996 (591)                        1,187 (582)                      3,292 (185)                           4

               2017                          974 (112)                         104 (11)                       1,834 (53)                            0

               2018                          738 (10)                          155 (7)                        2,675 (83)                            0

               2019                          788 (44)                         419 (22)                        3,619 (35)                            0

               2020                         533 (106)                         414 (84)                       3,461 (1,827)                          0

               2021                         869 (356)                         353 (88)                       3,440 (1,127)                           1


The above statistics are estimates derived from data provided by foreign governments and other sources and reviewed by the Department of State. Aggregate data
ﬂuctuates from one year to the next due to the hidden nature of trafficking crimes, dynamic global events, shifts in government efforts, and a lack of uniformity in
national reporting structures. The numbers in parentheses are those of labor trafficking prosecutions, convictions, and victims identiﬁed.


                                                                                                                               Haiti
                                                                                                                 2022 TRAFFICKING IN AR_000554
                                                                                                                                     PERSONS REPORT |73
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 179 of 729
                                                                           KAZAKHSTAN




                                                                 UZBEKISTAN
                                                                                                     KYRGYZSTAN


                                                    TURKMENISTAN
                                                                                          TAJIKISTAN




                                                                       AFGHANISTAN



                                                                                                                                                    BHUTAN
                                                                                 PAKISTAN                                      NEPAL




                                                                                                                   INDIA


                                                                                                                                             BANGLADESH




       SOUTH &
       CENTRAL ASIA                                                                                                          SRI LANKA


        Boundary representation is not authoritative.                                                        MALDIVES


       TIER PLACEMENTS

             TIER 1                      TIER 2                      TIER 2 WATCH LIST                         TIER 3

                                                                                                                      VICTIMS                    NEW OR AMENDED
                    YEAR                       PROSECUTIONS                      CONVICTIONS
                                                                                                                    IDENTIFIED                     LEGISLATION
                      2015                        6,930 (225)                       1,468 (16)                     24,867 (1,191)                          0

                      2016                         6,297 (72)                       2,193 (19)                      14,706 (464)                            5

                      2017                        8,105 (264)                       1,063 (48)                     40,857 (11,813)                          2

                      2018                         3,102 (41)                       2,465 (9)                      24,544 (1,841)                           1

                      2019                        2,602 (616)                       1,156 (349)                    28,929 (3,227)                           1

                      2020                        2,747 (532)                        834 (74)                     45,060 (3,275)                            3

                      2021                         1,910(479)                        483 (17)                     38,426 (12,426)                           2


       The above statistics are estimates derived from data provided by foreign governments and other sources and reviewed by the Department of State. Aggregate data
       ﬂuctuates from one year to the next due to the hidden nature of trafficking crimes, dynamic global events, shifts in government efforts, and a lack of uniformity in
       national reporting structures. The numbers in parentheses are those of labor trafficking prosecutions, convictions, and victims identiﬁed.


74| 2022 TRAFFICKING IN PERSONS REPORT                                                                                                      Haiti AR_000555
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 180 of 729


                                                   CANADA




                                                                                                                                            Aruba*
                                                                                                                                            Curaçao*
                                                                                                                                            Sint Maarten*
                                                           UNITED STATES
                                                                                                                                                                             Sint Maarten
                                                                                                                                                          Aruba



                                                                                                                                                                         Curaçao



                                                                                                                                            Islands not shown to scale
                                                                                                                                            or relative position.

                                                                                                                                                     *Aruba, Curaçao, and Sint Maarten
                                                                                                                                                   are semi-autonomous entities within
                                                                                                  THE BAHAMAS                                           the Kingdom of the Netherlands
                                                          MEXICO
                                                                                                                                                           located in the Caribbean Sea.
                                                                                         CUBA               DOMINICAN
                                                                                                            REPUBLIC
                                                                                        JAMAICA
                                                                                BELIZE              HAITI                    ANTIGUA AND BARBUDA
                                                                                     HONDURAS
                                                                   GUATEMALA                                   ST. LUCIA
                                                                                                                                  BARBADOS
                                                                                        NICARAGUA
                                                                   EL SALVADOR                                              ST. VINCENT AND THE GRENADINES
                                                                                           PANAMA                            TRINIDAD
                                                                           COSTA RICA                                       AND TOBAGO
                                                                                                            VENEZUELA
                                                                                                                            GUYANA
                                                                                                                                      SURINAME

                                                                                                  COLOMBIA


                                                                                        ECUADOR



                                                                                                PERU

                                                                                                                                  BRAZIL




WESTERN                                                                                                          BOLIVIA



                                                                                                                           PARAGUAY




HEMISPHERE                                                                                             CHILE




                                                                                                                ARGENTINA

Boundary representation is not authoritative.                                                                                  URUGUAY




TIER PLACEMENTS
      TIER 1                      TIER 2                       TIER 2 WATCH LIST                            TIER 3

                                                                                                                   VICTIMS                    NEW OR AMENDED
             YEAR                       PROSECUTIONS                      CONVICTIONS
                                                                                                                 IDENTIFIED                     LEGISLATION
               2015                         1,796 (83)                         663 (26)                          9,661 (2,118)                               6

               2016                         1,513 (69)                         946 (24)                           8,821 (109)                                2

               2017                         1,571 (139)                        969 (114)                        10,011 (2,139)                               1

               2018                         1,252 (72)                         1,017 (177)                      11,683 (2,370)                              0

               2019                         1,324 (101)                        843 (34)                          12,352 (273)                               0

               2020                          910 (55)                          588 (27)                          11,100 (626)                                2

               2021                         1,382 (120)                        794 (49)                         12,343 (1,040)                               4


The above statistics are estimates derived from data provided by foreign governments and other sources and reviewed by the Department of State. Aggregate data
ﬂuctuates from one year to the next due to the hidden nature of trafficking crimes, dynamic global events, shifts in government efforts, and a lack of uniformity in
national reporting structures. The numbers in parentheses are those of labor trafficking prosecutions, convictions, and victims identiﬁed.


                                                                                                                                    Haiti
                                                                                                                      2022 TRAFFICKING IN AR_000556
                                                                                                                                          PERSONS REPORT |75
                      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 181 of 729

     HOW TO READ A COUNTRY NARRATIVE
     This page shows a sample country narrative. The tier ranking justiﬁcation appears in the ﬁrst paragraph of each country narrative
     and includes language that explicitly highlights the factors supporting a given tier ranking. The Prosecution, Protection, and
     Prevention sections of each country narrative describe how a government has or has not addressed the relevant TVPA minimum
     standards (see pages 58-61), during the reporting period. This truncated narrative gives a few examples.


                                          The country’s tier ranking is based on the government’s efforts
                                          to combat trafficking as measured against the TVPA minimum                                                                                TVPA Minimum
                                           standards and compared to its efforts in the preceding year.
                                                                                                                                                                                Standard 4(2)—whether
                                                                                                                                                                            the government ensures victims
                                                                                                                                                                          are not penalized for the unlawful
                                                                                                                                                                           acts their traffickers forced them
                                     COUNTRY X: TIER 2 WATCH LIST                                          Country X commonly ﬁnes and detains potential trafficking       to commit and encourages victim
                                                                                                                                                                          participation in investigations and
                                                                                                           victims for unlawful acts their traffickers forced them to commit,
                                                                                                           such as immigration violations and leaving from their sponsors,
                                                                                                                                                                         prosecutions, including by providing
                                                                                                           without determining whether the individuals are victims of     legal alternatives to their removal
                                    The Government of X does not fully meet the minimum standards          trafficking.                                                            from the country.
                                    for the elimination of trafficking but is making signiﬁcant efforts
                                    to do so. These efforts included undertaking awareness raising         Country X sometimes offers temporary relief from deportation
                Synopsis of key     efforts and reaffirming its commitment to enact anti-trafficking       so that victims can testify as witnesses against their employers.
                 developments       legislations. However, the government did not demonstrate              However, victims were generally not permitted to leave the
                that support the    overall increasing efforts compared to the previous reporting          country if there is a pending case. The government did not
                  country’s tier    period. The government did not show evidence of overall                routinely encourage victims to assist in trafficking investigations
                    ranking.        progress in prosecuting and punishing trafficking offenders and        or consistently offer victims alternatives to removal to countries
                                    identifying victims of trafficking. Therefore, X remained on Tier      where they may face retribution or hardship.
                                    2 Watch List for the second consecutive year.

                                                                                                           PREVENTION                                                                        TVPA
                                    PRIORITIZED RECOMMENDATIONS:                                           Country X increased efforts to prevent trafficking in persons                   Minimum
                                    Enact the draft comprehensive anti-trafficking legislation •           during the reporting period. While the government made no                   Standard 4(3)—
                                    Signiﬁcantly increase efforts to investigate and prosecute             apparent effort to amend provisions of Country X’s sponsorship          whether the government
    Prioritized
                                    trafficking offenses, and convict and punish trafficking offenders     law to help prevent the forced labor of migrant workers, the
recommendations                                                              TVPA  Minimumto identify                                                                             is making adequate efforts
                                    • Institute and consistently apply formal    procedures                government did start to enforce other parts of the law to the
   for how the                                                         Standards    1-3—whether                                                                                       to prevent human
                                    victims of trafficking among vulnerable      groups, such as those     beneﬁt of migrant workers. One provision in the sponsorship
 government can                                                       the or
                                                                          government                                                                                                      trafficking.
                                    arrested for immigration violations       commercialprohibits
                                                                                          sex • Collect,   law continues to require foreign workers to request exit permits
 better meet the
                                    disaggregate, analyze and disseminate
                                                                        all forms of trafficking law
                                                                                counter-trafficking        from their sponsors in order to leave Country X. Although this
 TVPA minimum
                                    enforcement data.                  and prescribes adequate             may increase migrant workers’ vulnerability to forced labor, the
   standards.
                                                                        criminal punishments.              law created a new process through which a laborer who was                     Summary of the
                                                                                                           not granted an exit permit due to a sponsor’s refusal or other                 government’s
                                    PROSECUTION                                                            circumstances can seek one by other means. The Ministry of                   efforts to prevent
                                    The Government of Country X decreased efforts to investigate           Labor sponsored media campaigns and organized informational                  human trafficking.
                                    and prosecute trafficking offenses during the reporting period.        workshops for officials, NGOs, and labor recruitment agencies.
                                    Country X does not prohibit all forms of trafficking, but it           However, the government did not provide anti-trafficking
                                    criminalizes slavery under Section 321 and forced labor under          training or guidance to its diplomatic personnel during the
                                    Section 322 of its criminal law. The prescribed penalty for forced     reporting period. The government has a national plan of
                 Summary of the     labor—up to six months’ imprisonment—is not sufficiently               action to address trafficking in persons, but did not publicly
                  government’s      stringent. Article 297 prohibits forced or coerced prostitution,       disseminate the plan or take steps to implement it during the
                 anti-trafficking   and the prostitution of a child below age 15 even if there was no      reporting period. The government did not implement any
                  laws and law      compulsion or redress; the prescribed penalty is up to 15 years’       public awareness campaigns aimed at reducing the demand
                  enforcement       imprisonment, which is commensurate with penalties prescribed          for commercial sex acts in Country X, but it convicted two of
                     efforts.       for other serious crimes, such as rape. Draft revisions to the         its nationals for soliciting children for sex in other countries and
                                    penal code have not yet been enacted. An unconﬁrmed report             sentenced them to 10 years’ imprisonment.
                                    indicates that four traffickers were charged with fraudulently                                                                                          TVPA Minimum
                                    issuing visas to workers who they then exploited. Two were                                                                                         Standard 4(12)—whether
        TVPA Minimum
                                    reportedly deported, and two were reportedly convicted. The            TRAFFICKING PROFILE                                                        the government has made
    Standard 4(1)—whether           government did not conﬁrm nor deny the existence of this case.         As reported over the past ﬁve years, human traffickers exploit           efforts to reduce the demand
  the government vigorously         The government did not report any investigations, prosecutions,        domestic and foreign victims in Country X, and traffickers               for commercial sex acts, and,
 investigates and prosecutes        or convictions of government employees complicit in human              exploit victims from Country X abroad. Men and women
                                    trafficking offenses.                                                                                                                           if applicable, participation in
trafficking offenses; convicts                                                                             from South and Southeast Asia, East Africa, and the Middle
                                                                                                           East voluntarily travel to Country X as laborers and domestic             international sex tourism by
    and punishes trafficking
                                                                                                           servants, but some subsequently face conditions indicative                        its nationals.
    offenders; and provides
     data on these actions.         PROTECTION                                                             of involuntary servitude. These conditions include threats of
                                    Country X maintained minimal efforts to protect victims                            TVPA Minimum
                                                                                                           serious harm, including threats of legal action and deportation;
                                    of trafficking during the reporting period. Although health                  Standard
                                                                                                           withholding     of4(7)—whether
                                                                                                                              pay; restrictions on freedom of movement,
                                    care facilities reportedly refer suspected abuse cases to the               the government
                                                                                                           including               has made
                                                                                                                       the conﬁscation    of passports and travel documents
                                    government anti-trafficking shelter for investigation, the               adequate
                                                                                                           and  physical,efforts to and
                                                                                                                           mental,  address
                                                                                                                                        sexualthe
                                                                                                                                                abuse. In some cases, arriving           Overview of human
                                    government continues to lack a systematic procedure for law            migrant    workersinhave
                                                                                                              involvement             found that the terms of employment
                                                                                                                                or facilitation                                            trafficking in the
                                    enforcement to identify victims of trafficking among vulnerable        in Country    X are
                                                                                                                  of human     wholly different
                                                                                                                             trafficking  by      form those they agreed to              country and factors
                                    populations, such as foreign workers awaiting deportation              in their  home countries.     Individuals employed as domestic               affecting vulnerability
  Summary of the                                                                                                 government     employees.
                                    and women arrested for involvement in commercial sex; as a             servants are particularly vulnerable to trafficking since they                to trafficking of the
   government’s                                                                                                                                                                           country’s nationals
                                    result, victims may be punished and automatically deported             are not covered under the provisions of the labor law. A small
 efforts to ensure                                                                                                                                                                              abroad.
                                    without being identiﬁed as victims or offered protection.              number of foreign workers transit Country X and are forced
trafficking victims
                                     The government reported that the Ministry of the Interior has         to work on farms in Country Y. Country X is also a destination
 are identiﬁed and
                                    a process by which it refers victims to the trafficking shelter;       for women who migrate and become involved in commercial
provided adequate
                                    however, this process is underutilized in practice. The trafficking    sex, but the extent to which these women are subjected to sex
    protection.
                                    shelter assisted 24 individuals during the reporting period and        trafficking is unknown.
                                    provided them with a wide range of services,including full
                                    medical treatment and legal and job assistance.


                                                                  TVPA Minimum
                                                             Standard 4(2)—whether
                                                           the government adequately
                                                          protects victims of trafficking
                                                             by identifying them and
                                                          ensuring they have access to
                                                               necessary services.



76| 2022 TRAFFICKING IN PERSONS REPORT                                                                                                                        Haiti AR_000557
 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 182 of 729




COUNTRY
NARRATIVES




                                                                 Migrant workers sit near a
                                                                 construction site. Workers in
                                                                 the construction industry are
                                                                 highly vulnerable to human
                                                                 trafficking and are typically
                                                                 paid low wages to do jobs
                                                                 often referred to as “three
                                                                 D” jobs for “dirty, dangerous,
                                                                 and difficult.”




                                                                Haiti AR_000558                   77
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 183 of 729
AFGHANISTAN                                                                                  to 15 years’ imprisonment and the imposition of the death penalty if
               AFGHANISTAN: TIER 3                                                           exploitation for armed ﬁghting resulted in the victim’s death. Article
                                                                                             510 of the 2018 criminal code criminalized sex trafficking and labor
              The United States has not recognized the Taliban or another entity as          trafficking, including Bacha bazi. Article 511 prescribed penalties of ﬁve
              the government of Afghanistan. All references to “the pre-August 15            to 10 years’ imprisonment for trafficking offenses involving adult male
              government” refer to the Islamic Republic of Afghanistan. References           victims and 10 to 16 years’ imprisonment if the victim was a woman
              to the Taliban reﬂect events both prior to and after August 15.                or child or exploited in Bacha bazi. These penalties were sufficiently
                                                                                             stringent and, with respect to sex trafficking, commensurate with those
              Afghanistan does not fully meet the minimum standards for the
                                                                                             for other serious crimes, such as rape. Article 512 outlined aggravating
              elimination of trafficking and, even considering the impact of the
                                                                                             factors and increased penalties to 16 to 20 years’ imprisonment for
              COVID-19 pandemic on its anti-trafficking capacity, is not making
                                                                                             sex trafficking or forced armed ﬁghting and between 20 to 30 years’
              signiﬁcant efforts to do so; therefore Afghanistan remained on Tier 3.
                                                                                             imprisonment if the victim who was forced to ﬁght died while subjected
              On August 15, 2021, the Taliban culminated its takeover of Kabul. On
                                                                                             to trafficking. While the 2018 penal code also speciﬁcally criminalized
              September 7, 2021, the Taliban announced a so-called interim government
                                                                                             more crimes related to Bacha bazi, some of which would constitute
              made up almost entirely of male Taliban ﬁghters, clerics, and political
                                                                                             trafficking offenses, it also prescribed lower penalties for certain acts
              leaders. As of December 2021, the Taliban announced most of its “interim
                                                                                             constituting Bacha bazi than those prescribed under Article 510. Most
              cabinet” but had not outlined steps or a timeline to establish a new
                                                                                             of these penalties were not sufficiently stringent nor commensurate
              permanent government. Substantial personnel turnover and closing
                                                                                             with the penalties prescribed for other serious crimes, such as rape. The
              of some ministries related to the August 15 Taliban takeover severely
                                                                                             pre-August 15 government also used the 2009 Law on the Elimination
              hindered Afghanistan’s ability to maintain consistent anti-trafficking
                                                                                             of Violence Against Women (EVAW) to prosecute and convict sex
              efforts and report on those efforts for this reporting period. Despite
                                                                                             traffickers. After the August 15 takeover, the Taliban reported prior laws
              the lack of signiﬁcant efforts, the pre-August 15 government took some
                                                                                             remained in effect unless they violated the Taliban’s interpretation of
              steps to address trafficking, including developing awareness materials
                                                                                             sharia, as determined by Taliban courts. The Taliban did not report by
              to train government officials on human trafficking. However, during the
                                                                                             the end of the reporting period whether any laws related to trafficking
              reporting period, there was a pattern of employing or recruiting child
                                                                                             would be amended or upheld and implemented. Observers reported
              soldiers, both by the pre-August 15 government and by the Taliban after
                                                                                             that after August 15, the justice system became dysfunctional, without
              August 15. The pre-August 15 government continued a government
                                                                                             much clarity of applicable laws and change in personnel.
              pattern of sexual slavery in government compounds (Bacha bazi—a
              practice in which men exploit boys for social and sexual entertainment).       Insecurity across the country hindered collection of law enforcement
              After August 15, the Taliban did not investigate, prosecute, or convict any    statistics. The pre-August 15 government did not report any law
              traffickers, nor did it identify or protect any trafficking victims or make    enforcement efforts between the beginning of the reporting period
              any efforts to prevent trafficking. The Taliban shut down shelters and         on April 1 and August 15, compared with the previous reporting period,
              protective services for victims of crime, including trafficking victims—       when it investigated 185 cases of Bacha bazi, investigated 50 suspects
              leaving vulnerable populations without support. The Taliban continued          (though it was unclear how many of these suspects were involved in
              to undermine the rights of women, minorities, and other vulnerable             human trafficking or other crimes), and prosecuted an unknown number
              populations, increasing internal displacement and irregular migration,         of cases. The pre-August 15 government’s efforts were hindered by
              further exacerbating vulnerabilities to trafficking.                           decades of conﬂict and a deteriorating security situation, widespread
                                                                                             corruption, and the COVID-19 pandemic. The pre-August 15 government
                                                                                             implemented awareness trainings to increase understanding of human
                       AFGHANISTAN TIER RANKING BY YEAR                                      trafficking, including the distinction between migrant smuggling and
                   1                                                                         human trafficking, and developed awareness materials it planned to
                   2                                                                         deliver to all government employees, with support from a foreign
                2WL                                                                          donor. After August 15, the Taliban did not report any investigations,
                                                                                             prosecutions, or convictions of trafficking crimes. After August 15, the
                   3
                         2015      2016      2017    2018   2019   2020    2021    2022
                                                                                             Taliban appointed personnel in the Ministry of Justice, Supreme Court,
                                                                                             appeal courts, and at the Attorney General Office. The Taliban abolished
                                                                                             the Ministry of Women Affairs and specialized courts addressing the
                                                                                             elimination of violence against women. Experts reported vulnerable
                                                                                             women were left without protection within the formal justice system.
              PRIORITIZED RECOMMENDATIONS:
              Cease the unlawful recruitment and use of children by the Taliban and          The pre-August 15 government did not report any investigations,
              demobilize children from all armed groups with adequate protection             prosecutions, or convictions of government employees complicit in
              and reintegration support. • Recognize and use existing anti-trafficking       human trafficking crimes between April 1 and August 15; however,
              laws to combat human trafficking. • While respecting due process,              corruption and official complicity in trafficking crimes remained
              investigate, prosecute, and convict perpetrators of labor and sex              signiﬁcant concerns, inhibiting law enforcement action. Reports indicated
              trafficking, including Bacha bazi, and the unlawful recruitment and use        that security forces and pro-government militias’ recruitment of children
              of child soldiers, including by Taliban members. • Ensure the re-opening       for Bacha bazi continued between April 1 and August 15. Additionally,
              of victim shelters throughout the country. • Proactively identify victims      some security forces and pro-government militias—some of which
              of all forms of trafficking, including victims of Bacha bazi, and provide      may have received direct ﬁnancial support from the pre-August 15
              them with appropriate protection services, including shelter and long-         government—recruited boys speciﬁcally for the purpose of Bacha bazi.
              term care for demobilized child soldiers. • Designate a speciﬁc entity to      The pre-August 15 government did not prosecute any security officers
              coordinate inter-ministerial anti-trafficking efforts. • Draft, ﬁnalize, and   for Bacha bazi—despite consistent reports of official complicity in
              implement a National Action Plan (NAP) to combat trafficking in persons.       Bacha bazi. Eight police officers were arrested in 2021 in connection
                                                                                             with Bacha bazi incidents and were not prosecuted for perpetrating
              PROSECUTION                                                                    Bacha bazi as a separate crime but rather charged for “moral crimes,”
              The Taliban decreased anti-trafficking law enforcement efforts since           sodomy, or other crimes. Observers reported insecurity and corruption
              its August 15 takeover. Under the pre-August 15 government, the 2017           remained after the August 15 takeover. After August 15, the Taliban did
              Law to Combat Crimes of Trafficking in Persons and Smuggling of                not report any efforts to address Bacha bazi.
              Migrants criminalized sex trafficking and labor trafficking, including
                                                                                             The Taliban created a “commission for the puriﬁcation of the ranks,”
              Bacha bazi. The law prescribed penalties between ﬁve and eight years’
                                                                                             composed of senior Taliban members from security ministries, to
              imprisonment. These penalties were sufficiently stringent and, with
                                                                                             address complaints of abuse of authority by Taliban members; observers
              respect to sex trafficking, commensurate with those for other serious
                                                                                             reported the commission expelled 4,000 Taliban members as of February
              crimes. Aggravating factors increased the maximum sentence to 10
                                                                                             2022. The violations committed by these individuals remain unknown.
  78                                                                                                                                     Haiti AR_000559
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 184 of 729




                                                                                                                                                               AFGHANISTAN
Observers reported women were prevented from ﬂeeing abusive                   identifying trafficking victims after August 15, the Taliban likely detained
situations by punishments imposed by the Taliban for “moral crimes,”          or arrested some unidentiﬁed trafficking victims.
increasing their vulnerability to trafficking. Under the pre-August 15
government, security forces continued to unlawfully recruit and use           PREVENTION
children in combat and support roles. There were multiple reports of          The Taliban has made no efforts to prevent trafficking in persons
security forces and pro-government militias unlawfully recruiting children    since the August 15 takeover, and its actions continued to amplify the
for a variety of tasks, ranging from cooking to cleaning. Before and          magnitude of trafficking crimes in the country. Under the pre-August
after August 15, the Taliban recruited and used children in combat and        15 government, the High Commission on Combating Trafficking in
non-combat roles. The Taliban used children in combat roles, including        Persons, the government’s anti-trafficking inter-ministerial committee
to plant and detonate improvised explosive devices (IEDs) and to              led by the MOJ, was responsible for implementing anti-trafficking
carry out suicide and other dangerous attacks—often recruiting them           policies. The pre-August 15 government instructed officials from various
through coercion, fraud, and false promises. Experts noted thousands          government agencies to create focal points to streamline coordination
of children may remain in the Taliban ranks. The Taliban denied its use       and communication on anti-trafficking efforts, to include arresting and
of children, reporting their code of conduct prohibited boys with no          prosecuting officials involved in Bacha bazi and the recruitment of child
facial hair from being allowed onto the battleﬁeld or military bases;         soldiers. Additionally, provincial-level anti-trafficking commissions in 16
however, they made no use of formalized age veriﬁcation mechanisms            provinces were chaired by the respective provincial governors; however,
to ensure recruits were older than age 18.                                    there were no reports as to how frequently these commissions met
                                                                              or their effectiveness. The pre-August 15 government developed and
PROTECTION                                                                    approved a new NAP to combat human trafficking; however, the NAP
The Taliban severely decreased efforts to protect victims since the           was not implemented prior to the Taliban takeover. The Taliban made
August 15 takeover and continued to directly facilitate child trafficking.    no efforts to prevent trafficking in persons since the August 15 takeover
The Taliban did not report identifying any trafficking victims after          and their actions exacerbated trafficking crimes in the country. The
August 15. The pre-August 15 government did not report identifying any        pre-August 15 government did not operate an anti-trafficking hotline.
victims between April 1 and August 15, compared with 550 potential            Since the August 15 takeover, the Taliban did not designate a lead
trafficking victims in the previous reporting period. The pre-August 15       anti-trafficking agency or entity to coordinate anti-trafficking efforts.
government maintained a National Referral Mechanism (NRM), but it was         Additionally, the Taliban did not report any activities to prevent human
not clear if it was utilized. Additionally, the pre-August 15 government,     trafficking or raise awareness, despite a large number of vulnerable
in collaboration with an international organization and a foreign donor,      Afghans internally displaced or migrating through irregular means to
provided training for government officials, border police, academics,         other countries.
community and religious leaders, and all relevant service providers on
how to identify, refer, and assist victims using the NRM. The Taliban did     TRAFFICKING PROFILE
not report by the end of the reporting period whether it would utilize        As reported over the past ﬁve years, human traffickers exploit domestic
the NRM maintained by the pre-August 15 government.                           and foreign victims in Afghanistan, and traffickers exploit victims
                                                                              from Afghanistan abroad. Internal trafficking is more prevalent than
Prior to the August 15 Taliban takeover, NGOs, entirely dependent on
                                                                              transnational trafficking. Traffickers exploit men, women, and children
foreign donor funding, provided the majority of care to trafficking
                                                                              in bonded labor, a form of forced labor by which traffickers offer loans
victims; the pre-August 15 government reported enrolling child victims
                                                                              and manipulate the debts to coerce workers into continued employment.
in school. An NGO provided support services and life skills training for
                                                                              The pandemic, economic crisis, drought, and food insecurity increased
vulnerable youth and victims of trafficking, including Bacha bazi victims,
                                                                              the risk of exploitation by traffickers, particularly in bonded labor,
under the pre-August 15 government. Observers reported that among
                                                                              as individuals took out loans to cover expenses and paid increasing
victims, it was more challenging for girls to reintegrate after trafficking
                                                                              prices to migrant smugglers. Since the Taliban takeover on August 15,
compared to boys due to societal shame; girls were presumed to be
                                                                              vulnerabilities to exploitation have intensiﬁed, damaging victim support
complicit and “tarnished” after exploitation as a trafficking victim. The
                                                                              networks, limiting the freedom of movement and rights of women and
pre-August 15 government punished demobilized child soldiers by
                                                                              girls, displacing minorities, intensifying the refugee crisis, instilling fear
placing them in detention facilities and did not report if it had referred
                                                                              within the population, and increasing internal displacement, including
any child soldiers to appropriate care.
                                                                              forced displacements. Traffickers compel entire families to work in
Under the pre-August 15 government, authorities penalized victims for         bonded labor in the brickmaking industry, predominately in eastern
unlawful acts that traffickers compelled them to commit, and reports          Afghanistan, and in carpet weaving countrywide. Former members of
indicate the Taliban routinely arrested, imprisoned, and penalized adult      the Afghan National Security Forces and others associated with the
and child trafficking victims. Under the pre-August 15 government,            Ghani government, internally displaced persons, forced deportees,
authorities often placed victims of Bacha bazi in juvenile rehabilitation     voluntary refugee returnees, irregular migrants, and refugees were at
centers because they faced violence if they returned to their families,       a high risk of exploitation. Due to the current economic crisis, many
and no other shelters were available. Some female trafficking victims         may become dependent on the opium trade for survival, particularly as
could not access the formal justice system because cultural norms             the prices have increased due to continued uncertainty in the country.
precluded their engagement with male judicial officials. When female          Experts have noted that the opium trade has been one of the main
sex trafficking victims did access formal justice, officials penalized some   sources of income for non-state actors in Afghanistan and the Taliban
of them for “moral crimes” such as sex outside of marriage. Under the         and other groups have collected taxes from farmers growing the crop
pre-August 15 government, authorities sometimes detained victims of           in the past—many Afghans may be at risk of exploitation in the opium
Bacha bazi in the absence of sufficient shelters for boys and placed          trade, in forced labor in the ﬁelds or as mules to transport the drugs.
them in juvenile rehabilitation centers—some victims may have been            In previous years, NGOs conﬁrmed reports of children used to support
penalized rather than the perpetrators of the crime.                          opium poppy cultivation and harvesting, as well as drug production
After August 15, protection services were mostly obsolete; NGOs               and smuggling.
were non-operational in most provinces due to lack of funding, fear of        Most Afghan trafficking victims are children forced to work in carpet
repercussions, and restrictions imposed by the Taliban. NGOs noted            making, brick kilns, domestic servitude, sex trafficking (including Bacha
the Taliban closed shelters, damaging support networks for victims            bazi), domestic work, herding livestock, begging, poppy cultivation and
and vulnerable populations, and reported many shelters were looted            harvesting, salt mining, drug smuggling, weapons trafficking, and truck
and taken over by members of the Taliban and staff were harassed or           driving. IO experts have indicated that child labor increased after the
threatened. According to experts, the majority of shelters for victims of     Taliban takeover, noting that 9 percent of children ages 5 to 17 (1.06
crime remained closed at the end of the reporting period. Reportedly,         million) are involved in child labor and boys are more vulnerable than
some civil society actors faced killings, enforced disappearances,            girls to be victims of trafficking, especially in Bacha bazi. High levels
and detention by the Taliban. Due to a lack of formal procedures for          of debt have also driven some families to sell their children to work as

                                                                                                                                 Haiti AR_000560                 79
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 185 of 729
AFGHANISTAN   indentured servants or marry off underaged daughters in exchange                the need to act against the LGBTQI+ community for their own safety.
              for a dowry payment; some families force their children into labor with         The LGBTQI+ community faced discrimination, violence, and danger
              physical violence or knowingly sell their children into sex trafficking,        during the pre-August 15 government; according to experts, this has
              including Bacha bazi. Some parents with substance use issues reportedly         worsened since the Taliban took power. The Taliban reported human
              force their children into labor, street begging, and sex trafficking. Victims   rights would be respected within the framework of Islamic law, which
              alleged some law enforcement and judiciary officials requested sexual           would not include LGBTQI+ rights, and that LGBTQI+ individuals are
              favors in exchange for pursuing cases. In 2019, 165 boys in Logar province      against Sharia law. This leaves LGBTQI+ individuals at a high risk of
              reported widespread sexual abuse by government teachers, principals,            trafficking as they are left out of social services, are coerced due to their
              and local law enforcement, including requiring children to have sex in          sexual orientation, or seek informal methods to escape Afghanistan—as
              exchange for passing grades and subjecting boys to sex trafficking in           they fear passing through checkpoints or going into a passport office.
              Bacha bazi. Some boys who reported sexual abuse and sex trafficking             The Taliban prohibits women from traveling without a mahram, leaving
              to police reported police officers then raped them.                             lesbians and bisexual women not able to escape exploitative situations
                                                                                              on their own.
              Prior to August 15, 2021, Afghan security forces and non-state armed
              groups continued to unlawfully recruit or use children in combat and            Ethnic and religious minorities, such as Hazara Shiites, Ahmadi Muslims,
              support roles, as in previous reporting periods. Before and after August        Sikhs, Hindus, Baha’is, and Christians, are increasingly vulnerable to
              15, the Taliban and other non-state armed groups continued to unlawfully        exploitation due to the threats and danger they face from the Taliban
              recruit or use children in combat and support roles. The Taliban recruit—       and ISIS-K. Ethnic and religious minorities are forced to hide in fear or
              at times through coercion, fraud, and false promises—and use children           to seek ways to leave the country, putting them at increased risk of
              in combat roles, including to plant and detonate IEDs and to carry out          exploitation. Muslim Shiite populations have been historically targeted
              suicide and other dangerous attacks. Groups such as the Taliban and             by the Taliban and ISIS-K—they are at increased risk due to displacement
              the Islamic State in Khorasan Province (ISIS-K) used children in direct         by the Taliban and attacks by the Taliban and non-state actors, such
              hostilities, to plant and detonate IEDs, to carry weapons, to spy, and to       as ISIS-K.
              guard bases. Child soldiers were pressed into service with the Taliban,
                                                                                              Afghan men, women, and children pay intermediaries to assist them
              ISIS-K, and other groups and were imprisoned without regard to their age.
                                                                                              in ﬁnding employment abroad, primarily in Iran, Pakistan, and Europe;
              The Taliban recruits child soldiers from its madrassas in Afghanistan and
                                                                                              some intermediaries and employers force Afghans into labor or sex
              Pakistan that provide military training and religious indoctrination, and
                                                                                              trafficking. The substantial increase in the number of individuals
              it sometimes provides families cash payments or protection in exchange
                                                                                              seeking to ﬂee Afghanistan, combined with the closure of borders and
              for sending their children to these schools. Armed groups target children
                                                                                              diplomatic missions and passport offices in Afghanistan, has increased
              from impoverished and rural areas—displaced children are at a higher
                                                                                              the vulnerability of Afghans, as many migrate through irregular means.
              risk for recruitment by armed groups. The Taliban abducts and coerces
                                                                                              Many Afghans have sought refuge in neighboring countries, particularly
              adult women into forced labor. The Taliban maintains detention facilities
                                                                                              Pakistan and Iran. Some Afghan women and girls who are sold to
              in which it compels detainees, including child and adult sex trafficking
                                                                                              husbands in Afghanistan, India, Iran, and Pakistan are exploited in sex
              victims charged with “moral crimes,” into forced labor.
                                                                                              trafficking and domestic servitude by their new husbands. According
              Traffickers exploit children as young as 9 years old in Bacha bazi. In          to an international organization, the economic effects of the pandemic,
              northern provinces, many Bacha bazi traffickers were community elders           the security situation, and political instability, as well as other factors
              or private citizens. In southern provinces, Bacha bazi perpetrators were        such as drought in several provinces, exacerbated the problem of
              more commonly police, military, and local government officials under            families selling girls into marriages. Some women and girls were forced
              the pre-August 15 government. Bacha bazi survivors reported to NGOs             into marriage to escape Afghanistan after the Taliban takeover. Some
              an “overwhelming understanding that Bacha bazi is committed by                  Afghan parents forcibly send boys to Iran to work to pay for their dowry
              the powerful,” including military commanders (under the pre-August              in an arranged marriage. Afghan boys and men are subjected to forced
              15 government) and community leaders. International organizations               labor and debt bondage in agriculture and construction, primarily in
              reported cases of Bacha bazi by nearly all armed groups. Under the              Iran, Pakistan, Greece, Turkey, and the Gulf states. Since August 15, many
              pre-August 15 government, perpetrators of Bacha bazi sometimes                  Afghan refugees fear being deported back to Afghanistan, which makes
              offered bribes or used relationships with law enforcement, prosecutors,         them less likely to report exploitation to foreign authorities—particularly
              and judges to evade punishment.                                                 in Iran, Pakistan, Turkey, Europe, and Central Asia. Traffickers in Iran,
                                                                                              including Iranian criminal groups, exploit Afghan children in forced
              After August 15, restrictions on the movement of women and girls, and
                                                                                              labor as beggars and street vendors and in forced criminality, including
              severely diminished access to employment and education, increased
                                                                                              drug trafficking and the smuggling of fuel and tobacco. Iranian police
              their vulnerability to trafficking. Women-headed households are at an
                                                                                              sometimes detain, torture, and extort Afghan child trafficking victims
              increased risk of poverty and vulnerability to trafficking. Freedom of
                                                                                              before deportation. Turkish authorities sometimes beat Afghan asylum-
              movement for women, including LGBTQI+ women, has been largely
                                                                                              seekers and push them back into Iran, where they may face deportation
              restricted unless accompanied by a mahram (close male relative)—the
                                                                                              back to Afghanistan, and some families are separated in the process.
              Taliban have detained women who were found without a mahram in
                                                                                              The Iranian government and the Islamic Revolutionary Guards Corps
              some provinces and denied some women medical treatment because
                                                                                              continue to force and coerce Afghan migrants, including children as
              they were not accompanied by a mahram. Prior to August 15, nine out
                                                                                              young as 12 years old, to ﬁght in Iranian-led and -funded Shia militias
              of 10 women experienced at least one form of intimate partner violence
                                                                                              deployed to Syria by threatening them with arrest and deportation to
              in their lifetime—many of these women have been forced to return to
                                                                                              Afghanistan. Smuggling networks transport Afghan nationals living in
              their families after the Taliban closed women’s shelters throughout the
                                                                                              Iran to Europe and subject them to sex trafficking and force them to
              country. Women in Afghanistan may be reluctant to seek help or escape
                                                                                              work in restaurants to pay off debts incurred by smuggling fees. Some
              from an abusive situation, including trafficking, due to “honor killings,”
                                                                                              Afghan traffickers have subjected Afghan boys to Bacha bazi in Germany,
              which are sometimes carried out by family members. It was previously
                                                                                              Hungary, North Macedonia, and Serbia. Traffickers have subjected women
              reported that women and girls have been charged for Zina (sex outside
                                                                                              and girls from the People’s Republic of China (PRC), Iran, Pakistan, the
              of marriage)—some women and girls have been convicted of Zina after
                                                                                              Philippines, Sri Lanka, and Tajikistan to sex trafficking in Afghanistan.
              being raped or forced into sex trafficking. International organizations
                                                                                              Under the pretense of high-paying employment opportunities, some
              reported there is an institutionalization of largescale and systemic
                                                                                              labor recruiting agencies lure foreign workers to Afghanistan from South
              gender-based discrimination and violence against women and girls.
                                                                                              and Central Asia and subject them to forced labor after arrival. Afghans
              According to experts, LGBTQI+ individuals are among the groups in               who resettled in Ukraine after the Taliban takeover face increased
              Afghanistan most vulnerable to exploitation, particularly under the             vulnerabilities as they ﬂee the conﬂict caused by the Russian invasion.
              Taliban. LGBTQI+ individuals have been attacked, sexually assaulted,
              and directly threatened by the Taliban—many have been abused by
              family members and neighbors who support the Taliban or believe in

  80                                                                                                                                        Haiti AR_000561
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 186 of 729




                                                                                                                                                                ALBANIA
                                                                                 sufficiently stringent and, with respect to sex trafficking, commensurate
 ALBANIA: TIER 2                                                                 with those prescribed for other serious crimes, such as rape. The
                                                                                 Albanian State Police (ASP) investigated 61 cases with 27 suspects
The Government of Albania does not fully meet the minimum standards              (15 suspects for adult trafficking and 12 suspects for child trafficking),
for the elimination of trafficking but is making signiﬁcant efforts to do        compared with 31 cases with 32 suspects in 2020. The ASP investigated
so. The government demonstrated overall increasing efforts compared              no suspects for “knowingly soliciting or patronizing a sex trafficking
with the previous reporting period, considering the impact of the                victim to perform a commercial sex act,” compared with four in 2020.
COVID-19 pandemic on its anti-trafficking capacity; therefore Albania            The General Prosecution Office (GPO) prosecuted 60 cases with 19
remained on Tier 2. These efforts included investigating more cases and          defendants (six defendants for adult trafficking and 13 defendants for
prosecuting and convicting signiﬁcantly more traffickers. The government         child trafficking), an increase compared with two cases with 12 defendants
identiﬁed more victims and increased resources to NGO-run shelters.              in 2020. Separately, the Special Structure against Corruption and
The government adopted the 2021-2023 National Action Plan (NAP)                  Organized Crime (SPAK) prosecuted two new cases and continued two
and allocated resources to the NAP. However, the government did not              cases from previous years. Courts convicted 11 traffickers, a signiﬁcant
meet the minimum standards in several key areas. Official complicity in          increase compared with no convictions in 2020; all traffickers were
trafficking crimes remained a concern, with the government reporting             convicted for child trafficking. Judges sentenced ﬁve traffickers with
no prosecutions or convictions of officials despite serious allegations          imprisonment between eight years and 25 years and two traffickers
and the government dismissing a police officer from his position. The            with imprisonment between two years and eight years; four traffickers
government continued to inconsistently implement screening efforts for           received probation. Lenient sentences, such as probation, undercut
vulnerable populations—particularly undocumented migrants, asylum                efforts to hold traffickers accountable, weakened deterrence, created
seekers, Romani and Balkan-Egyptian communities, and children—and                potential security and safety concerns for victims, and were not equal
mobile victim identiﬁcation units (MIU) remained underfunded and                 to the seriousness of the crime. Observers reported continued delays
understaffed despite identifying most of the victims every year. The             in court proceedings due to the pandemic.
government lacked resources for long-term care, employment, and                  ASP’s Criminal Police Department Directorate of Investigations of
other reintegration efforts for survivors, and the government-run hotline        Narcotics and Trafficking maintained an Anti-Trafficking Unit, which
continued to not function.                                                       investigated trafficking in persons in addition to drug and contraband
                                                                                 trafficking. The government continued judicial reforms that changed
          ALBANIA TIER RANKING BY YEAR
                                                                                 prosecutorial jurisdiction for trafficking cases; SPAK and the Special Court
      1                                                                          of Appeals on Corruption and Organized Crime have jurisdiction over
                                                                                 trafficking cases related to organized crime, while GPO and district courts
     2
                                                                                 prosecuted trafficking cases without an organized crime nexus. However,
   2WL                                                                           GRETA, prosecutors, and other observers reported district prosecutors
      3                                                                          did not have the specialized experience and capacity to prosecute
             2015     2016      2017     2018   2019   2020   2021     2022      trafficking cases successfully. GRETA and observers reported authorities
                                                                                 confused overlapping elements of “exploitation of prostitution” and
                                                                                 trafficking and at times applied the lesser charge because it required
                                                                                 less specialization and time or due to the false belief that trafficking
PRIORITIZED RECOMMENDATIONS:                                                     crimes required a transnational element. Limited resources, capacity, and
Vigorously investigate, prosecute, and convict traffickers—including             reports of constant turnover within law enforcement created additional
complicit officials—under Articles 110(a) and 128(b) of the criminal             obstacles to maintaining capacity to investigate trafficking, including
code. • Sentence convicted traffickers to prison terms consistent with           a lack of resources to investigate trafficking through virtual means.
prescribed penalties and train judges at all levels of the judiciary to          The government, mainly in cooperation with NGOs and international
take the severity of trafficking into account when issuing sentences.            organizations, trained police officers, judges, prosecutors, labor
• Improve the sustainability of, and law enforcement participation in,           inspectors, and victim coordinators on various anti-trafficking issues.
mobile trafficking victim identiﬁcation units. • Increase efforts to screen      The government reported permanently dismissing a police officer for
vulnerable populations and train police, labor inspectors, and other             “prostitution and maintaining a brothel,” and in 2020, the government
front-line officials on proactive identiﬁcation of victims. • Institutionalize   suspended ﬁve police officials, including the Director of the Border and
and provide training for law enforcement, prosecutors, and judges on             Emigration Directorate of Tirana and three chiefs of units, after media
investigating and prosecuting trafficking cases, including guidance on           reported a story alleging their complicity in an organized trafficking
issues of consent and coercion in the context of labor and sex trafficking.      operation. The government conducted an investigation into the officers
• Continue to increase funding and create funding mechanisms that                involved, which is reportedly still under investigation by the Tirana
allocate adequate ﬁnancial and other resources on a consistent and               Prosecution Office. The government extradited a suspected trafficker
regular basis to the NGO-run shelters for trafficking victims. • Expand the      from North Macedonia and appointed a liaison prosecutor to the EU.
jurisdiction of labor inspectors to inspect businesses that are not legally      GPO sent nine rogatory letters and received four rogatory letters from
registered. • Increase reintegration services, including access to mental        foreign authorities.
health services for victims and education for child victims. • Implement
victim-centered approaches and victim-witness protection measures                PROTECTION
during investigation, prosecution, and court proceedings. •Train judges          The government increased victim protection efforts. The government and
on restitution in criminal cases, establish procedures to seize assets           NGOs identiﬁed 154 potential victims and ﬁve official victims, compared
from traffickers, and create effective methods to allocate restitution           with 81 potential victims and ﬁve official victims in 2020. Of these, 61
in a timely manner. • Integrate Romani groups into decision-making               were sex trafficking victims, 65 forced labor victims, and 33 victims
processes regarding victim protection. • Reinstate the government-run            of multiple types of exploitation; 99 were female, and 60 were male;
anti-trafficking hotline and incorporate hotline numbers in awareness            112 were children, and 47 were adults; and three were foreign victims,
campaigns.                                                                       two from Romania and one from Serbia. The government maintained
                                                                                 a multidisciplinary national referral mechanism (NRM) with standard
PROSECUTION                                                                      operating procedures (SOPs) for identifying and referring victims to
The government increased law enforcement efforts. Articles 110(a)                services. First responders referred potential victims to law enforcement
and 128(b) of the criminal code criminalized sex trafficking and labor           and state social services, which conducted joint interviews to officially
trafficking and prescribed penalties of eight to 15 years’ imprisonment          recognize victims. The law provided equal services for both potential
for a trafficking offense involving an adult victim, and 10 to 20 years’         and officially recognized victims. MIUs in eight regions, consisting of
imprisonment for an offense involving a child victim. These penalties were       social workers from NGOs and police officers, identiﬁed most of the


                                                                                                                                   Haiti AR_000562                81
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 187 of 729
ALBANIA
          victims every year, but the units’ sustainability was uncertain due to the    The government reported interviews and testimonies took place in
          lack of permanent staff, formalization, and resources; MIUs identiﬁed 126     the presence of a psychologist, and prosecutors separated victims and
          potential victims (45 in 2020). Experts reported police did not participate   defendants during trials to prevent re-traumatization. The government
          consistently in the MIUs despite signing a memorandum of understanding        maintained the Development Center for Criminal Justice for Minors with
          that formalized their participation. Experts also stated law enforcement      four part-time prosecutors and a judicial police officer responsible for
          rarely initiated cases when civil society identiﬁed a potential victim, but   child protection in criminal proceedings. The government maintained
          ASP noted that deﬁnitional differences with civil society regarding what      22 victim assistance coordinators who provided legal assistance and
          constituted trafficking caused obstacles in identiﬁcation. Observers          guided victims in accessing services; the government appointed victim
          continued to report border police lacked resources, interpreters, and         assistance coordinators to all victims assisting in prosecutions. Victims
          knowledge to screen consistently or implement SOPs for undocumented           could obtain restitution through criminal proceedings or compensation
          migrants and asylum seekers. As in previous years, ASP did not screen         through civil suits. However, judges generally rejected restitution in
          individuals in commercial sex for indicators of trafficking during raids      criminal proceedings, and civil suits required victims to submit new
          and investigations of commercial sex establishments, and the Labor            testimonies, causing re-traumatization. Additionally, civil courts dismissed
          Inspectorate lacked the training to identify victims of forced labor.         or closed civil suits if criminal courts dropped the case or acquitted
          Law enforcement justiﬁed cases of potential domestic servitude and            the defendant. Courts granted compensation to only two victims in
          forced labor in forced marriages involving Romani and Balkan-Egyptian         cases from 2010 and 2018 but did not disburse compensation to the
          communities as traditional cultural practices and customs.                    victims—the case from 2018 remained under appeal.
          The government operated one specialized shelter and supported three
          specialized NGO-run shelters. The government allocated 22 million leks
                                                                                        PREVENTION
                                                                                        The government increased efforts to prevent trafficking. The national
          ($207,650) to NGO-run shelters to support 30 staff salaries, compared
                                                                                        coordinator led the Office of the National Anti-Trafficking Coordinator
          with 17.6 million leks ($166,120) in 2020. The government provided
                                                                                        (ONAC) and overall anti-trafficking efforts. The State Committee against
          an additional 6.8 million leks ($64,180) for food support to NGO-run
                                                                                        Trafficking in Persons, composed of relevant ministry representatives,
          shelters in 2021 and 2020. The government allocated 20.9 million leks
                                                                                        monitored and implemented various anti-trafficking efforts, though it
          ($197,260) to the government-run shelter, compared with 29.3 million
                                                                                        did not meet in 2021. The government also maintained the National
          leks ($276,550) in 2020. The government also transferred 10.2 million
                                                                                        Anti-trafficking Task Force, composed of ministry officials, civil society
          leks ($96,270) to a fund of seized criminal assets for victim support
                                                                                        representatives, and other participants who monitored the NRM; the
          services, compared with 4.6 million leks ($43,420) in 2020. Although
                                                                                        NRM met once. The government drafted and adopted the NAP and
          the government increased resources to NGO-run shelters in 2021,
                                                                                        allocated 412.6 million leks ($3.9 million) for its implementation. ONAC
          NGO-run shelters continued to operate under ﬁnancial constraints
                                                                                        produced a report assessing the implementation of the NAP but did
          and relied on outside sources for operating costs. NGO-run shelters
                                                                                        not publish periodic newsletters on anti-trafficking activities in 2021.
          reported no funding delays from the government, as in previous years.
                                                                                        Twelve regional anti-trafficking committees comprising local officials and
          However, experts reported the bidding process for social programs with
                                                                                        NGOs worked on local victim assistance and referrals mechanisms. The
          municipal governments was not transparent and that no funds were
                                                                                        Advisory Board of Victims of Trafficking consisted of three survivors who
          dispersed to shelters.
                                                                                        provided recommendations on anti-trafficking efforts and participated
          The four specialized shelters constituted the National Coalition of           in awareness campaigns, but the board remained inactive due to the
          Anti-Trafficking Shelters (NCATS); victims who required services not          pandemic. The government, in cooperation with civil society, conducted
          available in one shelter were referred to another shelter within the          awareness campaigns for schoolchildren, students, government officials,
          coalition. NCATS and the government provided assistance to all official       and the public. The government maintained a legal framework for
          and potential victims in both 2021 and 2020, including food, mental           regulating and licensing private sector employers and recruitment
          health counseling, legal assistance, health care, educational services,       agencies, including prohibiting worker-paid recruitment fees; the labor
          employment services, assistance to victims’ children, ﬁnancial support,       inspectorate investigated one recruitment agency operating without a
          long-term accommodation, social activities, vocational training, and          license and two foreign businesses operating without health and social
          post-reintegration follow-up. NGO-run shelters allowed adult victims          insurance. However, labor inspectors did not have authority to inspect
          to leave the shelter voluntarily; the state-run shelter required victims      informal work activities, including unregistered businesses. Law on
          to receive permission from the shelter director for their security. One       public procurement disqualiﬁed companies—including administrative
          NGO-run shelter provided specialized services for victims younger             personnel, leadership, or supervisory bodies convicted of trafficking
          than the age of 18 and rented apartments for male victims, where              or exploitation of children—from competition for public contracts.
          they received assistance from NGOs. Observers reported the shelters           The government’s anti-trafficking’s hotline did not function in 2021 or
          in the NCATS had professional staff and good quality of care, and the         2020. The government did not make efforts to reduce the demand for
          government reported good cooperation between NCATS and government             commercial sex.
          institutions. The government and NGOs provided vocational training for
          109 victims; however, experts reported a lack of resources for long-term      TRAFFICKING PROFILE
          care, employment, and other reintegration efforts, particularly for child     As reported over the past ﬁve years, human traffickers exploit domestic
          victims and victims with children. National Employment Services offices       and foreign victims in Albania, and traffickers exploit victims from Albania
          prioritized jobseekers from vulnerable groups, including trafficking          abroad. Traffickers exploit Albanian women and children in sex trafficking
          victims; 43 victims registered with the employment office for employment      and forced labor within the country, especially during tourist season.
          opportunities. Foreign victims had access to the same services as             Traffickers use false promises such as marriage or employment offers
          domestic victims; the law provided foreign victims a three-month              to exploit victims in sex trafficking. Traffickers commonly force children
          “reﬂection period” with temporary residency status and authorization          to beg or perform other types of compelled labor, such as selling small
          to work for up to two years. The government did not provide any               items, and also force children into criminality, including burglary and
          temporary residency statuses but repatriated two victims to Romania.          narcotics distribution. Traffickers exploit Albanian children, mainly from
          Due to a lack of formal identiﬁcation procedures and as it had reported       the Romani and Balkan-Egyptian communities, for seasonal work and
          in previous years, the government may have detained or deported some          forced begging. Isolated reports stated that traffickers exploit children
          potential victims, including women in commercial sex, irregular migrants,     through forced labor in cannabis ﬁelds in Albania, and some traffickers
          and asylum seekers. The government reported ﬁve victims cooperated            are likely involved in drug trafficking. Traffickers exploit Albanian victims
          in investigations and prosecutions and received legal assistance. SPAK        in sex trafficking in countries across Europe, particularly Belgium,
          possessed equipment that allowed testimony via video conferences,             Germany, Greece, Italy, Kosovo, the Netherlands, North Macedonia,
          though it did not record how often it was used (one case in 2020).            Norway, Switzerland, and the United Kingdom (UK). Albanian migrants
          Victims who testiﬁed against traffickers had access to the witness            who seek employment in Western Europe are vulnerable to exploitation
          protection program, though no victims participated in the program.            in forced labor and forced criminality, particularly in the UK. Foreign
                                                                                        victims from European countries, The Gambia, and the Philippines
 82                                                                                                                                   Haiti AR_000563
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 188 of 729




                                                                                                                                                                ALGERIA
are exploited in sex trafficking and forced labor in Albania. Traffickers       labor indicators among Cuban medical professionals, Democratic
adapt operations to the impacts of the pandemic and shift recruitment           People’s Republic of Korea (DPRK) workers, and People’s Republic of
and advertisement tactics to online means, particularly social media.           China (PRC) nationals employed at worksites affiliated with the PRC’s
Undocumented migrants, asylum seekers, and refugees traveling,                  Belt and Road Initiative and refer them to appropriate services.
being smuggled, or voluntarily resettled in Albania, particularly women
and unaccompanied children, are vulnerable to trafficking. Experts              PROSECUTION
report children with mental and physical disabilities were increasingly         The government increased law enforcement efforts. Algeria criminalized
vulnerable to trafficking.                                                      most forms of sex trafficking and all forms of labor trafficking under
                                                                                Section 5 of its penal code and prescribed penalties of three to 10
                                                                                years’ imprisonment and ﬁnes of 300,000 to 1 million Algerian dinar
                                                                                ($2,170 to $7,230). These penalties were sufficiently stringent and,
 ALGERIA: TIER 2 WATCH LIST                                                     with regard to sex trafficking, commensurate with those prescribed
                                                                                for other serious crimes, such as rape. Inconsistent with international
                                                                                law, Section 5 required a demonstration of force, fraud, or coercion to
The Government of Algeria does not fully meet the minimum standards
                                                                                constitute a child sex trafficking offense and therefore did not criminalize
for the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                                all forms of child sex trafficking. Article 143 of Law 12-15 stated that
The government made key achievements during the reporting period,
                                                                                crimes committed against children, including those involving sexual
considering the impact of the COVID-19 pandemic, on its anti-trafficking
                                                                                exploitation, would be vigorously penalized; it generally referenced
capacity; therefore Algeria was upgraded to Tier 2 Watch List. These
                                                                                other penal code provisions that could potentially be applied to child sex
achievements included identifying more trafficking victims and increasing
                                                                                trafficking offenses that did not involve force, fraud, or coercion. Article
investigations and prosecutions, while continuing to convict traffickers.
                                                                                319 bis of the penal code, which criminalized the buying and selling of
In addition, the government provided shelter to at least ﬁve potential
                                                                                children younger than the age of 18, prescribed penalties of ﬁve to 15
child trafficking victims. The government also continued partnering
                                                                                years’ imprisonment and a ﬁne for individuals convicted of committing or
with international organizations to train officials on trafficking and to
                                                                                attempting to commit this crime; however, this law could be interpreted
conduct public awareness campaigns. Despite these achievements,
                                                                                to include such non-trafficking crimes as migrant smuggling or illegal
government identiﬁcation of and services for trafficking victims remained
                                                                                adoption. Since 2018, the government has continued to coordinate with
insufficient. Due to the government’s ineffective screening measures
                                                                                an international organization to draft a standalone anti-trafficking law
for trafficking victims among vulnerable populations, such as African
                                                                                that would remove the requirement of a demonstration of force, fraud,
migrants, refugees, asylum-seekers, and individuals in commercial sex,
                                                                                or coercion for child sex trafficking crimes and institutionalize victim
authorities continued to punish some potential unidentiﬁed victims for
                                                                                protection measures. The Prime Minister’s Office ﬁnalized the draft
unlawful acts traffickers compelled them to commit. The government’s
                                                                                legislation and referred it to the Council of Ministers and legislature for
ongoing measures to deport undocumented migrants without effective
                                                                                consideration at the end of the reporting period.
screening for trafficking indicators deterred some victims among this
population from reporting trafficking crimes to the police or seeking           The General Directorate of National Security (DGSN) maintained seven
much-needed assistance. The government did not track and was unable             police brigades to combat human trafficking and illegal immigration;
to report if identiﬁed victims received protection services.                    ﬁve additional brigades supported the seven specialized brigades as
                                                                                necessary. The Gendarmerie maintained 50 special brigades dedicated
                                                                                to managing children’s issues, including child trafficking. In 2021, the
         ALGERIA TIER RANKING BY YEAR                                           Gendarmerie investigated 2,147 cases linked to irregular migration and
     1                                                                          migrant smuggling and reported some of these cases may have involved
     2                                                                          trafficking. The government reported investigating at least six trafficking
   2WL                                                                          cases (three sex trafficking cases, two forced labor cases, including one on
                                                                                domestic servitude, and one for an unspeciﬁed purpose of exploitation)—
     3
            2015     2016      2017     2018   2019   2020    2021    2022
                                                                                these were the ﬁrst trafficking investigations the government reported
                                                                                in two years. In the reporting period, the government prosecuted 35
                                                                                alleged traffickers under trafficking provisions of the penal code, three
                                                                                for sex trafficking crimes and 32 for unspeciﬁed forms of trafficking.
PRIORITIZED RECOMMENDATIONS:                                                    This was a signiﬁcant increase from zero prosecutions initiated in the
Finalize and implement standardized procedures for victim identiﬁcation         previous reporting period and 13 alleged traffickers prosecuted in the
and screening for use by border, security, and law enforcement officials        reporting period before that. The government convicted three sex
who come in contact with vulnerable populations, such as undocumented           traffickers during the reporting period; this was similar compared with the
foreign migrants, asylum seekers, refugees, and individuals in commercial       previous reporting period when the government convicted ﬁve traffickers.
sex. • Increase investigations, prosecutions, and convictions of sex and        Sentences ranged from three years’ imprisonment and a 1 million dinar
labor traffickers. • Amend the trafficking provision of the penal code to       ($7,230) ﬁne to 20 years’ imprisonment; two of the convicted traffickers
remove the requirement of a demonstration of force, fraud, or coercion          were convicted and sentenced in absentia, and the government issued
for child sex trafficking offenses. • Finalize and implement a formal           warrants for their arrest. The government upheld two convictions on
national victim referral mechanism to refer victims to appropriate care. •      appeal. The government did not report any investigations, prosecutions,
Train law enforcement, judiciary, labor inspectorate, health care officials,    or convictions of government officials complicit in trafficking crimes.
and social workers on victim identiﬁcation and referral procedures. •           The government maintained four courts dedicated to cases involving
Create a mechanism to identify trafficking victims among vulnerable             transnational organized crime, under which it classiﬁed trafficking within
populations for unlawful acts traffickers compelled them to commit              the Algerian judicial system; these courts adjusted to the pandemic by
before arresting, prosecuting, deporting, or otherwise punishing them.          at times limiting in-person participation in court processes and allowing
• Ensure victims of all forms of trafficking are referred to and receive        video testimony. Officials acknowledged one of the biggest obstacles
protection services, including appropriate shelter, adequate medical            to prosecuting cases was identifying trafficking crimes, in part because
and psycho-social care, and legal assistance. • Ensure the safe and, to         of a lack of well-trained investigators and judicial officials, as well as
the greatest extent possible, voluntary repatriation of foreign victims,        limited public awareness. The government, at times in coordination with
including through collaboration with relevant organizations and source          international organizations, conducted multiple anti-trafficking trainings
country embassies, and provide foreign victims with legal alternatives to       for law enforcement, judicial officials, border security officials, and labor
their removal to countries where they may face retribution or hardship.         inspectors on trafficking indicators and distinguishing between migrant
• Continue efforts to raise public awareness on the indicators and risks        smuggling; identifying, assisting, and interviewing victims; ﬁnancial
of trafficking. • Approve and dedicate sufficient resources to implement        investigative tools; and other trafficking-related topics.
the 2022-2024 national anti-trafficking action plan. • Screen for forced
                                                                                                                                  Haiti AR_000564                83
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 189 of 729
ALGERIA                                                                                  committee for a signiﬁcant portion of the reporting period—stalled
          PROTECTION
          The government modestly increased efforts to identify victims but              government progress on a range of governance initiatives, including anti-
          authorities continued to penalize unidentiﬁed victims. In the reporting        trafficking efforts. The inter-ministerial anti-trafficking committee, led by
          period, the government identiﬁed 22 trafficking victims but did not            the Ministry of Foreign Affairs, continued to coordinate the government’s
          detail whether they were sex trafficking or forced labor victims. This         efforts during the reporting period. The government allocated the
          was an increase from both the previous reporting period, when the              committee an annual budget of 12 million dinars ($86,780) that it could
          government did not identify any trafficking victims, and from the              use to implement the 2019-2021 action plan, but it did not provide a
          reporting period before that when the government identiﬁed 14 victims.         breakdown of resource allocation for implementation. The presidential
          The government did not consistently screen for trafficking among               decree that formally institutionalized the anti-trafficking committee
          vulnerable migrants, including those that it deported throughout the           required it to submit a report to the president on the trafficking situation
          year, nor among individuals in commercial sex, refugees, or asylum-            in Algeria. The 2019-2021 national action plan also required the committee
          seekers—populations highly vulnerable to trafficking. The government           to submit quarterly factsheets on activities; however, it did not provide
          did not have comprehensive standard operating procedures (SOPs) or             a report or factsheets in 2021. The government drafted a 2022-2024
          a formal mechanism to identify and refer victims to protection services;       national action plan which was pending ﬁnal approval at the end of the
          however, during the reporting period, the government partnered with an         reporting period. The government organized multiple public awareness
          international organization to draft government-wide victim identiﬁcation       campaigns in Arabic and French during the reporting period, at times in
          SOPs and an NRM. The government reported individual agencies used              coordination with an international organization, including ads on public
          their own victim identiﬁcation SOPs and an informal referral system to         transportation, radio campaigns, public brieﬁngs, and other events. The
          ensure victims received access to medical and psychological services           National Council on Human Rights, which monitored and evaluated
          and shelter. The government did not ﬁnalize the referral mechanism or          human rights issues in Algeria, continued to lead a sub-committee
          the SOPs by the end of the reporting period.                                   dedicated to human trafficking issues. The government continued to
                                                                                         operate three hotlines, which were operational 24 hours a day and a
          Unidentiﬁed victims continued to face punishment—such as arrest,               public website to report abuse and other crimes, including potential
          detention, prosecution, and deportation—for immigration violations,            trafficking crimes; none of the hotlines reported receiving trafficking
          prostitution, and other unlawful acts traffickers compelled them to            allegations in 2021. The government conducted 153,537 unannounced
          commit. For example, border and other security authorities continued           workplace inspections in 2021 and reported no cases of forced labor;
          to regularly deport African migrants—a population highly vulnerable            however, the government acknowledged it had limited capacity to
          to trafficking. Authorities also reported lacking the manpower and             intervene in Algeria’s large informal job market where most cases of
          capability to systematically screen each migrant for trafficking indicators.   forced labor occur in Algeria. The government did not make efforts to
          As a result, reports indicate authorities sometimes expelled migrants          reduce the demand for commercial sex acts.
          outside of official deportation procedures, at times leaving migrants
          in the desert at the Mali and Niger borders. Officials continued to rely
                                                                                         TRAFFICKING PROFILE
          on victims to report abuses to authorities, yet civil society groups
                                                                                         As reported over the past ﬁve years, human traffickers exploit domestic
          observed that most trafficking victims in Algeria were undocumented
                                                                                         and foreign victims in Algeria, and traffickers exploit victims from Algeria
          migrants who typically did not report trafficking crimes to the police or
                                                                                         abroad. Undocumented sub-Saharan migrants, primarily from Mali,
          ﬁle lawsuits against their traffickers. Although public services, such as
                                                                                         Niger, Burkina Faso, Cameroon, Guinea, Liberia, and Nigeria, are most
          healthcare and education, were available and free for foreign nationals in
                                                                                         vulnerable to labor and sex trafficking in Algeria, mainly due to their
          Algeria, many undocumented migrants avoided seeking public services,
                                                                                         irregular migration status, poverty, and in some cases language barriers.
          including out of fear of deportation. The government’s deportation
                                                                                         During the reporting period, an international organization reported an
          operations further discouraged foreign trafficking victims from making
                                                                                         increase in trafficking victims identiﬁed among undocumented migrants
          their presence known to authorities.
                                                                                         in Algeria. Unaccompanied women and women traveling with children
          Victim protection services remained inadequate. The government did not         are particularly vulnerable to sex trafficking and forced domestic work.
          provide shelter or other protection services speciﬁcally tailored to the       Refugees and asylum-seekers are also vulnerable to trafficking either
          needs of trafficking victims, nor did it track the resources it allocated to   before or during their migration to Algeria. In some instances, traffickers
          protection services during the reporting period. However, the government       use false promises of work, such as in a beauty salon or restaurant, to
          continued to report the Ministries of Health and National Solidarity, as       recruit migrants to Algeria where they ultimately exploit them in sex
          well as other ministries, could provide foreign and domestic trafficking       trafficking or forced labor. More often, sub-Saharan African adults, often
          victims with free services as needed, to include shelter, food, medical        en route to Europe or in search of employment, enter Algeria voluntarily
          services, interpretation, legal consultations, psychological counseling,       as undocumented, frequently with the assistance of smugglers or
          and repatriation assistance; the Ministry of Solidarity, Family, and           criminal networks. Many migrants, impeded in their initial attempts
          Women’s Affair’s Child Protection Center provided shelter to at least ﬁve      to reach Europe, remain in Algeria and work in Algeria’s informal job
          potential child trafficking victims. The government reported providing         market until they can continue their journey. While facing limited
          an unspeciﬁed number of victims medical, legal, and psychological              opportunities in Algeria, many migrants illegally work in construction
          services; the government referred some foreign victims to NGOs and             and some engage in commercial sex acts to earn money to pay for their
          international organizations for assistance. The government reported it         onward journey to Europe, which increases their risk of sex trafficking
          allowed relief from deportation for identiﬁed trafficking victims for an       and debt bondage. Traffickers often use restaurants, houses, or informal
          indeﬁnite period of time and allowed all foreign victims to stay in Algeria    worksites to exploit victims, making it difficult for authorities to locate
          temporarily; however, it did not grant work permits to trafficking victims     traffickers and victims. Some migrants become indebted to smugglers,
          while under temporary residency status. The government reported it             who subsequently exploit them in forced labor and sex trafficking upon
          could provide victims with access to a lawyer, police protection, and          arrival in Algeria. For example, some employers reportedly force adult
          video testimony during trial; however, it did not report providing any         male and child migrants to work in the construction sector to pay for
          during the reporting period. Trafficking victims were legally entitled to      smuggling fees for onward migration, where employers restrict migrants’
          ﬁle civil suits against their offenders, but the government did not report     movement and withhold their salaries. Many female migrants in the
          cases in which victims did so during the reporting period. Courts could        southern city of Tamanrasset—the main transit point into Algeria for
          order restitution for victims if the perpetrator was convicted, but the        migrants—are exploited in debt bondage through domestic servitude,
          government did not provide an instance in which this occurred during           forced begging, and sex trafficking as they work to repay smuggling
          the reporting period.                                                          debts. Some migrants also fall into debt to fellow nationals who control
                                                                                         segregated ethnic neighborhoods in Tamanrasset; these individuals pay
          PREVENTION                                                                     migrants’ debts to smugglers and then force the migrants into bonded
          The government maintained efforts to prevent human trafficking. The            labor or commercial sex. Tuareg and Maure smugglers and traffickers
          pandemic and vacancies in the government related to political and              in northern Mali and southern Algeria force or coerce men to work as
          economic uncertainties—including the presidency of the anti-trafficking        masons or mechanics; women to wash dishes, clothes, and cars; and
 84                                                                                                                                    Haiti AR_000565
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 190 of 729




                                                                                                                                                                  ANGOLA
children to draw water from wells in southern Algeria. Victims also report
experiencing physical and sexual abuse at the hands of smugglers and                     ANGOLA TIER RANKING BY YEAR
traffickers. Civil society and international organizations reported in               1
2019 that migrant women pay smuggling networks to transport them
                                                                                     2
internally within the country from Tamanrasset to Algiers and they
sometimes experience sexual violence during the journey; in some                   2WL
cases, once arriving in Algiers, the networks force the women into                   3
domestic servitude or commercial sex in informal brothels in order to                       2015     2016      2017    2018   2019     2020     2021    2022
pay the smuggling fees.
Foreign women and girls, primarily sub-Saharan African migrants,
are exploited in sex trafficking in bars and informal brothels, typically
                                                                                PRIORITIZED RECOMMENDATIONS:
by members of their own communities, including in cities such as
                                                                                Implement and train front-line officials on the NRM and SOPs for the
Tamanrasset and Algiers. In 2019, civil society organizations reported
                                                                                proactive identiﬁcation of victims among vulnerable groups, including
anecdotally that criminal networks exploit young adult women from
                                                                                returned Angolans from Namibia and foreign nationals such as migrants
sub-Saharan Africa, ages 18-19, in sex trafficking in Algeria. Many
                                                                                and refugees, particularly in Lunda Norte, as well as North Korean and
sub-Saharan migrant women in southern Algeria willingly enter into
                                                                                Cuban workers, and refer trafficking victims to appropriate services. •
relationships with migrant men who provide basic shelter, food, income,
                                                                                Increase efforts to investigate and prosecute trafficking crimes, especially
and safety, in return for sex, cooking, and cleaning. While many of these
                                                                                sex trafficking and labor trafficking in the construction sector and in
relationships are purportedly consensual, these women are at risk of
                                                                                animal herding, and sentence convicted traffickers to prison terms
trafficking. In 2019, an NGO reported that Algerian women and girls
                                                                                commensurate with the severity of human trafficking crimes. • Increase
are also vulnerable to sex trafficking rings, often as a result of ﬁnancial
                                                                                efforts to provide shelter, counseling, and medical care for trafficking
difficulties or after running away from their homes; these incidents are
                                                                                victims, either directly or in partnership with NGOs or international
reportedly clandestine in nature and therefore difficult for authorities
                                                                                organizations. • Dedicate resources to address vulnerabilities of returned
and civil society actors to identify.
                                                                                Angolan migrants from Namibia and screen for human trafficking
Criminal begging rings are common and are reportedly increasing in              indicators during the ongoing climate crisis in Huíla, Cunene, and Namibe
Algeria. Media sources suggest leaders of begging networks coerce               provinces. • Amend Article 178 to criminalize all forms of internal sex
or force sub-Saharan African migrant children to beg through the use            trafficking. • Establish and implement policies to formally disconnect
of punishment. In 2020, a civil society organization estimated criminal         the requirement of participation in investigations and prosecutions
begging networks exploit more than 6,000 unaccompanied migrant                  for victim identiﬁcation and to receive official trafficking victim status.
children in Algeria. Local leaders suggest migrant children may also            • Train and support law enforcement officials, prosecutors, and the
be coerced into work by their parents as a result of extreme economic           judiciary on implementing the anti-trafficking provisions in Angolan
pressures. According to credible sources in 2017, Nigerien female migrants      law. • Expand the collection of law enforcement and victim protection
begging in Algeria, who often carry children—sometimes rented from              data for trafficking cases, speciﬁcally the number of victims referred
their mothers in Niger—may be forced labor victims. Furthermore,                and provided protective services, and compile data from all provinces.
according to observers in 2017, Nigerien children, ranging from four to         • Support the provision of legal identity documents among vulnerable
eight years old, are brought to Algeria by trafficking networks with the        populations, including at-risk undocumented migrants, refugees, and
consent of their parents and forced to beg for several months in Algeria        stateless individuals.
before being returned to their families in Niger. During the previous
reporting period, media reported alleged traffickers fraudulently recruited     PROSECUTION
55 Bangladeshi workers for work in Spain and instead exploited them             The government maintained anti-trafficking law enforcement efforts. In
in forced labor in the Algerian construction sector. Cuban medical              November 2020, the government amended the anti-trafficking articles
professionals and DPRK nationals working in Algeria may have been               of the penal code, taking effect in February 2021. Laws 38/20 and
forced to work by the Cuban and DPRK governments, respectively. PRC             39/20 revoked the prior anti-trafficking legislation and the 2014 Law
nationals employed in Algeria at worksites affiliated with the PRC’s            on the Criminalization of Infractions Surrounding Money Laundering,
Belt and Road Initiative were vulnerable to forced labor, including in          slightly increasing the penalties for some trafficking offenses. Article 177
the construction sector.                                                        criminalized slavery, with penalties of seven to 15 years’ imprisonment,
                                                                                and the buying or selling of a child younger than the age of 14 for
                                                                                the purpose of adoption or slavery, with penalties of ﬁve to 10 years’
                                                                                imprisonment. Article 178 criminalized the labor trafficking of adults
 ANGOLA: TIER 2                                                                 and children and prescribed penalties of four to 10 years’ imprisonment.
                                                                                Article 189 criminalized some forms of domestic adult sex trafficking and
                                                                                prescribed penalties of one to eight years’ imprisonment. Article 190
The Government of Angola does not fully meet the minimum standards
                                                                                criminalized transnational adult sex trafficking and prescribed penalties
for the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                                of two to 10 years’ imprisonment. Article 196 criminalized child sex
The government demonstrated overall increasing efforts compared with
                                                                                trafficking and prescribed penalties of ﬁve to 15 years’ imprisonment.
the previous reporting period, considering the impact of the COVID-19
                                                                                These penalties were all sufficiently stringent and, with respect to sex
pandemic on its anti-trafficking capacity; therefore Angola remained
                                                                                trafficking, commensurate with those prescribed for other grave crimes,
on Tier 2. These efforts included providing supportive services to all
                                                                                such as rape. The 2020 amendment removed “sexual exploitation” as
victims participating in investigations; approving the national referral
                                                                                a purpose of a trafficking crime in Article 178. Because the other anti-
mechanism (NRM) and standard operating procedures (SOPs) and
                                                                                trafficking articles did not criminalize all forms of internal sex trafficking,
funding the national action plan (NAP); convicting two traffickers;
                                                                                Angolan law no longer criminalized all forms of sex trafficking.
cooperating with foreign governments to successfully repatriate victims;
and increasing training for front-line officials and awareness efforts to the   The government initiated 13 human trafficking investigations with 15
public. However, the government did not meet the minimum standards              suspects and continued six investigations from the previous reporting
in several key areas. Efforts to proactively identify and refer victims         period, compared with 10 investigations initiated in the previous reporting
remained inadequate in key transit areas despite the government’s               period and 15 investigations initiated in 2020. The government did not
development of new protocols and increased trainings of front-line              initiate any new prosecutions but continued the prosecution of ﬁve
officials. The government did not have regulations or oversee labor             alleged traffickers from one sex trafficking case investigation initiated
recruitment agencies beyond periodic labor inspections.                         in 2019 and convicted two traffickers. This was a decrease from 13
                                                                                traffickers prosecuted and convicted in the previous reporting period.
                                                                                In an investigation from 2019, one trafficker convicted of aiding illegal

                                                                                                                                     Haiti AR_000566               85
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 191 of 729
ANGOLA   immigration for trafficking of children—from the Democratic Republic           to care, which were developed in partnership with an international
         of the Congo (DRC) forced to perform domestic work—received a                  organization. In addition, the government approved SOPs for Assistance
         sentence of four years in prison and was ordered to pay restitution to         to Child Victims of Violence. To promulgate the NRM, the government
         the victims. In an investigation from 2020, one trafficker was convicted       trained 41 law enforcement, border protection, customs and immigration
         of sex trafficking and sentenced to one year and six months in prison and      officials, and members of local human rights committees on these
         ordered to pay restitution. Because of the pandemic, courts remained           victim identiﬁcation and referral procedures with support from an
         open but operated in a limited capacity during the reporting period.           international organization. Both the NRM and SOPs were disseminated
                                                                                        to provincial human rights committees in all provinces; however, victims
         The government did not report any investigations, prosecutions, or
                                                                                        in rural communities had less access to resources and services than in
         convictions of government employees complicit in human trafficking
                                                                                        urban areas.
         crimes; however, corruption and complicity remained signiﬁcant concerns,
         inhibiting law enforcement action during the year. The government              The government encouraged victim cooperation in the investigation
         reported that investigations initiated during the previous reporting           and prosecution of trafficking crimes; however, both access to care and
         period of several officials from the civil registration office and migration   immigration-related beneﬁts were contingent upon the commencement
         and foreigners service who were allegedly involved in trafficking crimes       of a criminal investigation and the victim’s testimony. Angolan law
         were ongoing. In the past, well-connected individuals conﬁscated land          permitted live teleconference testimony, allowing foreign-born victims
         from members of the San Indigenous group, which forced many San                to pursue repatriation to their home countries while still participating
         to work as indentured servants on land they previously owned. For the          in trials, although the government did not report any cases warranting
         second consecutive year, the government did not report whether it              use of this capability during the reporting period. While foreign victims
         investigated or resolved the disputes, including whether the land was          remained in the country, Angolan law provided for immigration relief,
         returned to the San. The government did not report any updates on              including temporary residence documents and the right to seek asylum.
         two additional cases for the second consecutive year. These included           While cooperating with law enforcement, all victims could access
         the case of an Angolan border guard in Cunene province charged in              government-provided legal representation, medical and mental health
         2020 for conspiracy to force a woman and ﬁve boys into exploitative            services, some ﬁnancial support, family tracing assistance, and access
         labor and a second case of an Angolan army officer charged in 2020             to education, while having immunity from crimes committed as a result
         with smuggling involving a possible trafficking nexus. Additionally, law       of their trafficking. In both convictions during the reporting period,
         enforcement did not consistently or effectively enforce laws against the       judges ordered restitution paid to the victim and the State, which was an
         commercial sexual exploitation of children.                                    increase from no orders of restitution in the previous reporting period.
                                                                                        The government cooperated with Congolese officials to repatriate two
         Multiple law enforcement agencies were mandated to investigate human
                                                                                        child trafficking victims in Uige Province to the DRC. However, despite a
         trafficking. In addition to the police, the Criminal Investigation Services
                                                                                        high prevalence of transnational trafficking, law enforcement routinely
         and Court of Minors could investigate child trafficking. The Ministry
                                                                                        detained and deported undocumented migrants crossing the Angolan-
         of the Interior, as part of Humanitarian Border Management training,
                                                                                        Congolese border without screening for potential exploitation. As a
         conducted six anti-trafficking workshops in the provinces of Luanda,
                                                                                        result, authorities may have detained and deported trafficking victims
         Bengo, Malanje, Huambo, Cuanza Norte, and Cuando Cubango, which
                                                                                        for unlawful acts committed as a result of their trafficking, including
         involved a total of 180 participants, including officials from the National
                                                                                        alleged immigration violations.
         Police, Immigration Services (SME), Border Guard Police, Civil Protection
         and Fire Service, and Criminal Investigation Service. The Ministry of
         Social Action, Family and Promotion of Women (MASFAMU) conducted
                                                                                        PREVENTION
                                                                                        The government maintained efforts to prevent human trafficking. The
         two trainings for government officials on the systems of referral and
                                                                                        Inter-ministerial Commission to Combat Trafficking in Persons, led by
         protection for children, including trafficking in persons. The Ministry
                                                                                        MJHR and the National Directorate of Human Rights, met regularly.
         of Justice and Human Rights (MJHR) held three workshops on human
                                                                                        For the third consecutive year, the government funded its 2020-2025
         trafficking and asylum law and rights in the provinces of Moxico, Lunda
                                                                                        NAP on Preventing and Combating Trafficking in Persons, which was
         Norte, and Lunda Sul for 121 participants. The government also signed
                                                                                        implemented by the Commission, in collaboration with international
         agreements with South Africa and DRC establishing new cooperation
                                                                                        organizations and NGOs. The government made signiﬁcant progress in
         protocols on combatting transnational crime, including human trafficking.
                                                                                        expanding local human rights committees—creating 90 new committees,
                                                                                        bringing the total to 163 committees at the provincial, municipal, and
         PROTECTION
                                                                                        commune levels; the government trained these committees to increase
         The government increased its overall protection efforts. Through its
                                                                                        victim identiﬁcations and referrals and broaden awareness raising
         investigations and identiﬁcation efforts, the government reported
                                                                                        activities. The government conducted eight awareness workshops,
         identifying 26 trafficking victims, including adults and children and
                                                                                        lectures, and seminars in Luanda, Quiçama, Viana, and Cacuaco. The
         victims of sex and labor trafficking from Angola, DRC, South Africa,
                                                                                        government conducted awareness raising programming on both human
         and Namibia, and supporting identiﬁed victims who participated in
                                                                                        trafficking and child sex tourism through radio, television, and social
         investigations, providing or coordinating shelter, basic needs, medical
                                                                                        media, and it updated and continued distributing its awareness raising
         care, and education. Government hotlines identiﬁed 50 child trafficking
                                                                                        brochure on trafficking in persons. The government did not report data
         victims; however, these victims may also have been counted in the
                                                                                        collection efforts on human trafficking cases or victim identiﬁcations
         government statistics, making the total number of identiﬁed victims
                                                                                        and referrals during the reporting period.
         uncertain. These efforts compared with identifying and referring to care
         19 trafficking victims in the previous reporting period. The government,       Systemic corruption among labor officials and lack of resources prevented
         through the National Institute of Children (INAC), operated separate           effective enforcement of labor laws, including against forced labor.
         child support centers in all 18 provinces, providing food, shelter, basic      The government did not have procedures to oversee and regulate
         education, and family reuniﬁcation for crime victims younger than              labor recruitment beyond periodic labor inspections. The government
         age 18. Additionally, MASFAMU managed a national network of safe               employed 266 labor inspectors trained on human trafficking, who
         houses for women, counseling centers, and children’s centers, which            conducted 9,088 inspections, which was an increase from the last
         trafficking victims could access. NGOs and religious organizations also        reported year of 5,461 in 2020; however, no instances of forced or child
         operated shelters and provided services for victims, which received            labor were identiﬁed through labor inspections. Personnel and ﬁnancial
         limited ﬁnancial support by the government. The government could               deﬁciencies hampered efforts to identify forced and child labor, with a
         also provide foster care and family tracing services for child trafficking     lack of funding to cover transportation expenses for labor inspectors,
         victims, as well as legal representation, social workers, and counseling       and limiting inspections to the formal economy, where only one-quarter
         to all victims.                                                                of Angolans work. In addition, despite the presence of young children in
                                                                                        forced and child labor, labor inspectors focused on children ages 14-17
         During the reporting period, the government approved, but must still
                                                                                        who had the legal authority to work.
         adopt, SOPs for identiﬁcation of trafficking victims and a NRM for
         Protection and Assistance to Victims of Trafficking for their referral
 86                                                                                                                                 Haiti AR_000567
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 192 of 729




                                                                                                                                                            ANTIGUA AND BARBUDA
The government demonstrated mixed efforts to document individuals
within the country. It continued its mass registration campaign and,          ANTIGUA AND BARBUDA: TIER
in 2021, issued more than one million Angolans their ﬁrst identity
documents. The program did not include undocumented migrants,                 2 WATCH LIST
refugees, or stateless individuals, who faced ongoing vulnerabilities
to trafficking. NGOs reported some police conﬁscated and destroyed           The Government of Antigua and Barbuda does not fully meet the
refugees’ documents during mass arrests. The MJHR operated a hotline         minimum standards for the elimination of trafficking but is making
for potential victims of crime and public reporting, and the INAC and        signiﬁcant efforts to do so. These efforts included investigating more
the Integrated Center for Public Safety operated a separate hotline          trafficking cases, training officials from the Family and Social Services
for crimes against children. The Foreign Ministry, in partnership with       Division for the ﬁrst time, and continuing to have funding available
the MJHR, integrated trafficking training into its diplomatic training       for the National Action Plan (NAP). However, the government did not
program. The government did not make efforts to reduce the demand            demonstrate overall increasing efforts compared with the previous
for commercial sex acts.                                                     reporting period, even considering the impact of the COVID-19
                                                                             pandemic on its anti-trafficking capacity. The government did not
TRAFFICKING PROFILE                                                          identify any victims for the second consecutive year, nor did it initiate
As reported over the past ﬁve years, human traffickers exploit domestic      any prosecutions or convict any traffickers. Therefore Antigua and
and foreign victims in Angola, and traffickers exploit victims from          Barbuda was downgraded to Tier 2 Watch List.
Angola abroad. Traffickers exploit Angolans, including children as young
as 12 years old, in forced labor in the brick-making, domestic service,
                                                                                      ANTIGUA & BARBUDA TIER RANKING BY YEAR
construction, agriculture, ﬁsheries, and artisanal diamond mining sectors.
                                                                                  1
Angolan girls as young as 13 years old are victims of sex trafficking, and
girls in domestic work within private homes in Angola are vulnerable to           2
labor trafficking. Angolan adults use children younger than 12 in forced       2WL
criminal activity because children cannot be criminally prosecuted. As
                                                                                  3
a result of the pandemic, “handlers” increasingly bring poor children to                 2015     2016      2017     2018      2019    2020   2021   2022
Luanda for street work, including begging, shoe shining, car washing, and
parking assistance, where they are vulnerable to forced labor from their
handlers and other traffickers. Extreme poverty and economic decline
in recent years have led to an increase in the number of children living     PRIORITIZED RECOMMENDATIONS:
on the street, especially in urban areas of the capital. The provinces of    Vigorously investigate, prosecute, convict, and punish traffickers. •
Luanda and Benguela and the border provinces of Cunene, Lunda Norte,         Increase efforts to identify victims through proactive screening of at-
Namibe, Uige, and Zaire are the most high-risk areas for trafficking         risk populations, such as migrants, individuals in commercial sex, and
activities. Cunene province continued to experience widespread and           People’s Republic of China (PRC) national and Cuban workers on foreign
severe drought, forcing children in some villages to drop out of school      government-affiliated programs. • Draft, fund, and implement a new anti-
to gather water, dig wells, and herd cattle or relocate to urban areas       trafficking NAP for all agencies. • Reduce delays in court proceedings.
where they faced increased vulnerabilities. Severe malnutrition across       • Implement government-wide standard operating procedures to
the southwestern provinces of Angola increased migration into Namibia        proactively identify victims and refer them to care and train front line
in search of food.                                                           officials in trafficking indicators. • Increase trauma-informed training
Transnational traffickers take advantage of Angola’s numerous unsecured,     on trafficking for NGOs and service providers to improve their ability
informal, and heavily used border crossings. Traffickers take some           to care for potential trafficking victims. • Train police, prosecutors,
Angolan boys to Namibia for forced labor in cattle herding and force         and judicial officials on evidence collection and management for use
others to serve as couriers to transport illicit goods as part of a scheme   in judicial proceedings. • Provide anti-trafficking training to diplomats.
to skirt import fees in cross-border trade with Namibia. Other recruiters
take Angolan adults and children to Namibia for work in agriculture,         PROSECUTION
construction, mineral extraction, and unlicensed street vending, where       The government maintained limited prosecution efforts. The 2010
they may be exploited by employers. Traffickers exploit Angolan women        Trafficking in Persons (Prevention) Act criminalized sex trafficking and
and children in forced labor in domestic service and sex trafficking in      labor trafficking and prescribed penalties of up to 20 years’ imprisonment
South Africa, Namibia, and European countries, including the Netherlands     and a ﬁne for offenses involving an adult victim and up to 25 years’
and Portugal.                                                                imprisonment and a ﬁne for those involving a child victim. These
                                                                             penalties were sufficiently stringent and, with respect to sex trafficking,
Trafficking networks recruit and transport Congolese girls as young as 12
                                                                             commensurate with those for other serious crimes, such as rape.
years old from Kasai Occidental in the DRC to Angola for labor and sex
trafficking. Undocumented Congolese migrants, including children, enter      The government initiated ﬁve trafficking investigations during the
Angola for work in diamond-mining districts, where traffickers exploit       reporting period, one for sex trafficking, one for labor trafficking, and
some in forced labor or sex trafficking in mining camps. Traffickers also    three for unspeciﬁed exploitation; this compared with zero investigations
exploit adult and child Congolese economic migrants in forced labor in       during the previous reporting period and 10 in 2019. The government
construction. Women from Brazil, Cuba, DRC, Namibia, and Vietnam in          did not report initiating any prosecutions for the second consecutive
commercial sex in Angola may be victims of sex trafficking, including        year, compared to three prosecutions in 2019. Authorities continued
in massage businesses. People’s Republic of China (PRC) national-            to prosecute three suspected traffickers from 2018; all three were
owned companies with large construction or mining contracts bring            on bail. The government did not convict any traffickers for the third
PRC workers to Angola, which increased during the pandemic; some             consecutive year. The government did not report any investigations,
companies do not disclose the terms and conditions of the work at the        prosecutions, or convictions of government employees complicit in
time of recruitment. There are reports that PRC-owned and -operated          trafficking offenses; in past reporting periods, police officers reportedly
construction companies exploit Brazilian, PRC, Kenyan, Namibian,             received administrative sanctions instead of being tried under the
Southeast Asian, and possibly Congolese migrants in forced labor,            trafficking law. Authorities directed all police units, including those
including through withholding passports, threats of violence, denial of      investigating trafficking cases, to continue to enforce pandemic-related
food, and conﬁnement. These companies also at times coerce workers           restrictions, including nighttime curfews and the closure of bars, clubs,
to operate in unsafe conditions, which sometimes reportedly result in        and other social venues; law enforcement also experienced personnel
death. The North Korean and Cuban governments may have forced                shortages due to the pandemic.
their respective citizens to work in Angola, including at least 256 Cuban    The government reported courts experienced reduced capacity and
doctors sent to Angola to combat the pandemic.                               interruptions due to the imposition of pandemic protocols, thereby
                                                                             limiting the number of cases of all types that could be prosecuted during
                                                                                                                                      Haiti AR_000568           87
                          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 193 of 729
ANTIGUA AND BARBUDA   the reporting period. The Eastern Caribbean Court of Appeal in St. Lucia       obtain protection orders or advocate with relevant authorities to obtain
                      continued with virtual appeal hearings without disruptions and could           assistance to help individuals in danger leave the country. However, the
                      hear trafficking and other cases. The pandemic signiﬁcantly disrupted          government did not report receiving any requests for or using any of
                      the national courts’ criminal division. The government reported that           these methods during the reporting period. The government did not
                      serious criminal cases, including trafficking cases, required in-person        report any cases where a victim had sought restitution, although the
                      jury trials unless the defendant was pleading guilty or in rare instances      law allowed for a victim to do so. The government reported no cases
                      where the case involved no witnesses. As jury trials by law could not          of victims being detained, ﬁned, or jailed for unlawful acts traffickers
                      take place remotely, authorities prosecuted almost no trafficking or           compelled them to commit.
                      other serious criminal cases for the entire reporting period after jury
                                                                                                     The government funded and trained seven officers from the Family and
                      trials ceased in March 2020 due to the pandemic. The government
                                                                                                     Social Services Division for the ﬁrst time on trafficking laws and victim
                      reported this led to substantial court backlogs, exacerbating already
                                                                                                     protection. The government also trained police, customs, immigration,
                      existing substantial delays.
                                                                                                     and labor officials on victim identiﬁcation and referral.
                      The Trafficking in Persons Prevention Unit (TIP Unit) included four
                      full-time staff and an unspeciﬁed number of law enforcement officers           PREVENTION
                      drawn from the police, immigration service, Coast Guard, and the Office        The government maintained prevention efforts. The pandemic impacted
                      of National Drug Control Policy, all of whom were knowledgeable about          the country’s economy and severely limited the government’s capacity
                      trafficking, victim services, and investigations. The TIP Unit served as       to meet its commitments and obligations. The Solicitor General led
                      the investigative arm of the national coordinating body, the Trafficking       the TPPC, which served as the national coordinating body for anti-
                      in Persons (Prevention) Committee (TPPC), and was solely responsible           trafficking efforts with representatives from across the government
                      for investigating trafficking, implementing the national trafficking           and one NGO; the TPPC carried out enforcement, research, and victim
                      prevention objectives, and increasing anti-trafficking awareness efforts       advocacy functions. The TPPC oversaw the TIP Unit. The TPPC met
                      to improve overall efficiency. Due to the pandemic, the government             once during the reporting period, compared with monthly before the
                      suspended random inspections of businesses suspected of being                  pandemic. The government revised its anti-trafficking NAP to account for
                      involved in commercial sex.                                                    the impact of the pandemic; NGOs participated in the implementation
                                                                                                     of the NAP. The government provided the TPPC with its own annual
                      PROTECTION                                                                     budget to facilitate its operations and activities. The government did
                      The government maintained negligible protection efforts. The government        not report speciﬁc budget data related to its anti-trafficking efforts but
                      did not identify or refer to care any victims for the second consecutive       reported it continued to fund the NAP despite pandemic-related budget
                      year, compared to two victims in 2019. The government had formal               reallocations for other government activities. However, government
                      written procedures to guide law enforcement, immigration, and social           ﬁnancial resources including salaries for anti-trafficking officials were
                      services officials in the screening and identiﬁcation of potential victims,    under severe strain in 2021 as a result of the pandemic, and prior to the
                      although observers noted the government used them inconsistently               pandemic, government agencies cited lack of funding as a key deﬁciency.
                      with potential forced labor victims.                                           The government postponed most of the planned activities included in
                                                                                                     the NAP due to the pandemic. The government published an annual
                      While the government did not identify or report providing care to
                                                                                                     report containing general information on trafficking and a summary of
                      victims during the year, services remained available and may have served
                                                                                                     its anti-trafficking efforts as it had done in prior years.
                      potential victims. Under the TPPC, a senior police officer chaired the
                      Cases Task Force, which was responsible for screening and identifying          The government continued to carry out public awareness activities.
                      trafficking victims and referring victims to an assigned victim care           The Directorate of Gender Affairs raised awareness about trafficking
                      officer for care and protection. The officer could establish the victim’s      through billboards, public service announcements, media appearances,
                      needs, including medical, lodging, counseling, meals, and clothing. The        workshops, and knowledge exchanges. The Directorate of Gender Affairs
                      government reported it did not have shelters for trafficking victims           consulted with NGOs to avoid messaging containing stereotypes or
                      due to concerns about maintaining location conﬁdentiality, but rather          racialized narratives. Authorities funded and carried out a broad-based
                      utilized safe spaces for adults and children on privately owned properties     anti-trafficking awareness campaign via billboards, national television,
                      and manned and secured by the Cases Task Force and selected law                and other media, with campaign materials available in several languages.
                      enforcement agencies based on needs; these safe spaces were solely             The government maintained a hotline for domestic abuse and gender-
                      for trafficking victims. A child could receive additional services from        based violence that could receive calls regarding trafficking but received
                      the Family and Social Services Division. The government reported there         no such calls during the reporting period; the government could also
                      was no time limit to victim care services. The Directorate of Gender           receive anonymous calls through the crime stoppers number or via the
                      Affairs reported its Support and Referral Center for victims of any            TPPC’s social media page. According to authorities, people preferred
                      form of gender-based violence could also offer services and support            to call either emergency numbers other than the dedicated hotline or
                      to trafficking victims, in some instances including legal assistance and       individual members of the TPPC with whom they were familiar.
                      emergency accommodation.
                                                                                                     The government reported the only registered labor recruitment agency
                      The government could provide temporary residency status as an                  was government-run and did not charge fees; the government did not
                      alternative to removal to countries where victims may face hardship or         recruit on a large scale. The government implemented procedures for
                      retribution by traffickers; this assistance was not contingent on assisting    the issuance of work permits to foreign nationals to strengthen labor
                      law enforcement. Victims could obtain a work permit or leave the country       laws, the economic migration process, and protection for workers,
                      after the Cases Task Force approved a satisfactory risk assessment. The        including against trafficking; foreign nationals could not enter the
                      government reported all victims who sought housing in a safe space             country until the Ministry of Labor (MOL) approved a work permit and
                      subsequently requested to return home. In these cases, the government          could not start work before obtaining a permit, and MOL interviewed
                      contacted an international organization and the relevant local trafficking     all applicants for renewal permits. The government reported workers
                      unit in the country of origin for reintegration. The government informed       involved in programs arranged through a foreign government could
                      potential victims of their rights, including that their participation in       not switch employers but could return home. The government reported
                      investigations and prosecutions was voluntary; victims could also decline      the 1975 labor code set labor monitoring standards for foreign laborers
                      any or all assistance offered. The government reported victims could           and that authorities monitored their work per the law. The government
                      speak to the Directorate of Gender Affairs, a social worker, or another        granted amnesty to all undocumented workers and reported it would
                      appropriate third party, including NGOs, to report cases or access             not deport any. To raise awareness among migrant laborers on the risks
                      the judicial system in addition to or instead of law enforcement. The          of trafficking, the government, in coordination with an international
                      government had a policy of not disclosing a victim’s location, providing       organization, posted labor laws and regulations on government and
                      security at the victim’s location and in transit, allowing for testimony via   other websites, posted signage at all ports of entry, and conducted
                      video link, and not disclosing a victim’s identity to the public or media.     awareness training for frontline workers (immigration, police, customs,
                      The Directorate of Gender Affairs could also assist in helping victims         and labor officers) on how to interview and communicate with migrant
   88                                                                                                                                            Haiti AR_000569
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 194 of 729




                                                                                                                                                             ARGENTINA
workers. The government did not make efforts to reduce the demand            the crime, rather than aggravating factors, consistent with the 2000 UN
for commercial sex acts. The government did not report on efforts to         TIP Protocol. • Restructure the witness protection program to address
prevent sex tourism. The government did not provide anti-trafficking         trafficking victims’ needs and prevent abuse by agents. • Increase
training to its diplomatic personnel. The government did not enter into      availability of mid- to long-term assistance for victims, including legal,
any new agreements with other countries.                                     medical, and employment services. • Increase the number of labor
                                                                             inspections and ensure that inspections are conducted in informal
TRAFFICKING PROFILE                                                          sectors and rural areas. • Consistently implement victim restitution
As reported over the past ﬁve years, traffickers exploit domestic and        procedures. • Improve efforts to collect and integrate data on law
foreign victims in Antigua and Barbuda, and traffickers exploit victims      enforcement statistics and victim assistance.
from Antigua and Barbuda abroad. Individuals from minority communities
are at higher risk of trafficking. Documented and undocumented               PROSECUTION
migrants from the Caribbean region, notably Jamaica, Guyana, and the         The government maintained prosecution efforts. Law 26.842 of
Dominican Republic, were identiﬁed as victims of sex trafficking and         2012 criminalized labor trafficking and sex trafficking and prescribed
forced labor in previous years. Authorities reported in previous years       punishments of four to eight years’ imprisonment for offenses involving
that traffickers exploited victims in multiple-destination trafficking,      an adult victim and 10 to 15 years for those involving a child victim.
arriving in Antigua and Barbuda for a few months before their traffickers    These penalties were sufficiently stringent and, with respect to sex
exploited them in other Caribbean countries such as St. Kitts and Nevis      trafficking, commensurate with those prescribed for other serious
and Barbados. Intraregional air traffic stopped due to the pandemic in       crimes, such as rape. Inconsistent with the deﬁnition of trafficking
March 2020; the government reported fewer potential foreign victims          under international law, the law established the use of force, fraud, or
may have arrived in the country as a result. Although travel from the        coercion as aggravating factors rather than essential elements of the
United States and the United Kingdom resumed by the end of the               crime; penalties were increased to ﬁve to 10 years’ imprisonment if such
reporting period, the government reported traffickers did not commonly       factors were involved. The law also deﬁned trafficking broadly to include
exploit victims on these routes. Sex trafficking occurs in bars, taverns,    facilitating or proﬁting from the prostitution of others and the illegal
and brothels, including with girls; most of these businesses were shut       sale of organs without the use of force, fraud, or coercion. Due to these
down for a majority of the reporting period. Forced labor, including of      inclusions, it was unknown how many of the cases prosecuted under
children, occurs in domestic service and the retail sector, particularly     Law 26.842 involved trafficking offenses as deﬁned by international law.
in family-owned businesses. Cubans working in Antigua and Barbuda            The special prosecutor’s Human Trafficking and Exploitation Unit
may have been forced to work by the Cuban government. PRC nationals          (PROTEX) opened 175 investigations (101 for sex trafficking, 58 for
working in Antigua and Barbuda may have been forced to work on               labor trafficking, six involving both sex and labor trafficking, and 10
PRC-affiliated programs.                                                     for unspeciﬁed exploitation for other crimes of exploitation) in 2021,
                                                                             compared with 220 investigations (130 for sex trafficking and 90 for
                                                                             labor trafficking) in 2020, and 252 in 2019. The government prosecuted
                                                                             107 suspected traffickers in 48 cases (24 for sex trafficking and 24 for
 ARGENTINA: TIER 1                                                           labor trafficking) in 2021, compared with prosecuting 26 suspected
                                                                             traffickers in 21 cases (14 for sex trafficking, ﬁve for labor trafficking,
The Government of Argentina fully meets the minimum standards                and two for both sex and labor trafficking) in 2020. The government
for the elimination of trafficking. The government continued to              convicted 31 traffickers (24 sex traffickers and seven labor traffickers),
demonstrate serious and sustained efforts during the reporting               compared with convicting 26 traffickers (22 for sex trafficking and
period, considering the impact of the COVID-19 pandemic on its anti-         four for labor trafficking) in 2020. The courts sentenced convicted
trafficking capacity; therefore Argentina remained on Tier 1. These          traffickers to between three and 15 years’ imprisonment. Prosecutors
efforts included prosecuting and convicting more traffickers, including      levied charges against three alleged sex traffickers, ﬁrst arrested in
a complicit official; awarding restitution to 35 victims in three cases;     2019; officials reported the three defendants allegedly used their
and identifying more trafficking victims. Although the government            connection to the motorsports community to recruit women to work
                                                                             as “promoters” or models at racetracks, then forced them to engage in
meets the minimum standards, it did not allocate a dedicated budget
                                                                             commercial sex. Law enforcement reported seven investigations involving
to anti-trafficking efforts and did not have specialized shelters for male
                                                                             religious organizations; in one such investigation, officials raided a fringe
victims. Official complicity in trafficking crimes remained a concern.
                                                                             religious group that compelled its members to work for its leaders’
The national anti-trafficking law considered force, fraud, or coercion
                                                                             beneﬁt, arresting six suspected traffickers and identifying 12 victims. In
to be aggravating factors rather than essential elements of the crime.
                                                                             an ongoing case, prosecutors levied charges against 29 alleged labor
                                                                             traffickers tied to an evangelical church; law enforcement identiﬁed
         ARGENTINA TIER RANKING BY YEAR                                      roughly 40 additional victims during the reporting period, bringing
     1                                                                       the total number of victims associated with the case to approximately
                                                                             100. Federal courts remained open throughout the reporting period,
     2
                                                                             although many procedures were held virtually, in accordance with
   2WL                                                                       pandemic-related restrictions. PROTEX reported the government’s
     3                                                                       ongoing movement restrictions and other pandemic-mitigation measures
            2015     2016      2017       2018   2019   2020   2021   2022   reduced its operating capacity; it minimized the impact of these policies
                                                                             through increased use of virtual tactics, including collecting virtual
                                                                             testimony. Officials reported increased difficulty in investigating instances
                                                                             of sex trafficking, which they attributed to the discrepancy between
PRIORITIZED RECOMMENDATIONS:                                                 law enforcement officers’ routine investigative tactics and traffickers’
Strengthen efforts to investigate, prosecute, and convict traffickers.•      increased use of online platforms and private residences to exploit
Improve victim assistance to include more specialized shelters and           victims during the pandemic. Although the government’s federal
dedicated shelters for male victims. • Sentence convicted traffickers        trafficking investigations database, the Integrated Criminal Information
to adequate penalties, which should involve signiﬁcant prison terms.•        System on the Crime of Trafficking in Persons (SISTRATA), was meant to
Document and address official complicity in trafficking through              include input from nearly all provincial governments, it remained difficult
prosecution and conviction. • Provide dedicated funding to fully             to obtain comprehensive data and analyze trends across reporting
implement the national action plan. • Strengthen coordination among          periods as federal and provincial authorities still commonly compiled
the federal and provincial governments and NGOs. • Revitalize efforts        law enforcement statistics separately. The government continued to
to address labor trafficking, including prosecuting and convicting labor     train law enforcement officials to use the database.
traffickers and proactively identifying victims. • Revise the human
trafficking law to make force, fraud, or coercion essential elements of
                                                                                                                               Haiti AR_000570                89
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 195 of 729
ARGENTINA   Corruption and official complicity in trafficking crimes remained               Human Trafficking (REDAVIT) database, developed with the support of
            signiﬁcant obstacles to anti-trafficking efforts, particularly at the local     an international organization, became operational in March 2021; the
            and regional levels, and hindered law enforcement action during the year.       database recorded victims’ biographical information and their use of
            The government reported opening two investigations involving public             applicable services.
            officials accused of complicity in trafficking crimes; in one of these cases,
                                                                                            Federal officials had formal procedures for victim identiﬁcation and
            law enforcement investigated allegations of labor exploitation, which may
                                                                                            assistance; however, in practice, the procedures to identify victims
            have amounted to trafficking, against judicial sector officials. Authorities
                                                                                            among vulnerable populations varied by province. The government
            prosecuted only a small number of cases involving official complicity
                                                                                            encouraged officials to add pandemic-speciﬁc steps to these procedures
            in trafficking. However, the government reported convicting at least
                                                                                            in 2021, requiring them to brief victims on COVID-19 and how to prevent
            three complicit officials during the reporting period—its ﬁrst convictions
                                                                                            its spread. Some front-line responders had a limited understanding of
            involving officials complicit in trafficking crimes since 2018—including a
                                                                                            trafficking. SENAF and the provincial governments shared responsibility
            municipal employee in the Buenos Aires metropolitan area, who courts
                                                                                            for mid- and long-term assistance to adult victims, overseen by provincial
            sentenced to 13 years’ imprisonment for complicity in sex trafficking.
                                                                                            coordination centers; experts noted the need for more integrated and
            In one case ﬁrst reported in 2019, the government convicted a military
                                                                                            comprehensive victim assistance. Regional governments in an unspeciﬁed
            officer of sex trafficking and sentenced him to 10 years’ imprisonment.
                                                                                            number of provinces operated anti-trafficking centers that provided
            In another case where authorities suspected a Buenos Aires area
                                                                                            psychological, social, medical, and judicial assistance to trafficking
            brothel was operating under the protection of complicit police officers,
                                                                                            victims. The government reportedly had four specialized shelters for
            judges convicted 11 traffickers and ordered restitution to the victims;
                                                                                            trafficking victims across various provinces. SENAF reported operating
            the government did not report how many, if any, of the 11 traffickers
                                                                                            one of these shelters speciﬁcally to serve foreign victims regardless of
            convicted were public officials. The government conﬁrmed prosecution
                                                                                            gender or age. In 2021, the SENAF shelter served 39 foreign victims.
            remained ongoing in a 2020 case against a member of the Cordoba
                                                                                            Shelters modiﬁed their services to comply with pandemic mitigation
            public prosecutor’s staff who allegedly exploited a young woman’s
                                                                                            recommendations, providing staff and residents with personal protective
            drug dependence to force her into commercial sex. The government
                                                                                            equipment, setting shifts for mealtimes, and converting office spaces
            reported that the 2019 prosecution of a former police chief, indicted in
                                                                                            to bedrooms to reduce crowding in sleeping areas. The government
            2019 for allegedly exploiting approximately 20 victims in sex trafficking,
                                                                                            could provide services to male trafficking victims, but it often placed
            resumed in September 2021 and remained ongoing at the end of the
                                                                                            them in other government-funded shelters or in hotels for temporary
            reporting period. The government reported prosecutors awaited a trial
                                                                                            housing, rather than specialized trafficking shelters. NGOs reported
            date in the 2010 case against two public officials allegedly involved in
                                                                                            a need for specialized shelters, long-term housing, skills training and
            the sexual exploitation of victims in Buenos Aires private residences.
                                                                                            employment, childcare, legal assistance, and ﬁnancial assistance for
            Official complicity appeared infrequently in media reporting.
                                                                                            victims after testifying in court cases; some officials expressed concern
            The government conducted anti-trafficking trainings for prosecutors,            that many shelters did not distinguish between trafficking victims and
            law enforcement, and judicial officials in both virtual and in-person           victims of other violent crimes, limiting access to specialized care. The
            formats. Training covered topics such as traffickers’ recruitment tactics       Ministry of Labor launched a pilot program to encourage trafficking
            for local law enforcement officials in Chaco province; labor trafficking        survivors’ reentry into the labor market; the 29 survivor-participants
            indicators for provincial law enforcement officers; and application of          received support in seeking employment and a monthly stipend. Certain
            the anti-trafficking law for officials across several agencies. PROTEX          assistance programs required victims to complete complex procedures
            reported cooperating with Paraguayan officials in an investigation              to maintain eligibility. Foreign victims had the same access to care as
            initiated based on a call to the nationwide 1-4-5 trafficking hotline; the      Argentine nationals; however, foreign victims were sometimes unaware
            government maintained trafficking-speciﬁc cooperation agreements with           of available services. The national government did not report funding
            other governments in the region. Officials reported a 2019 extradition          allocations to support victim assistance. Observers reported provincial
            request remained pending at the end of the reporting period.                    and local governments dedicated insufficient funding to victim services.
                                                                                            The government encouraged victim participation in trafficking trials
            PROTECTION                                                                      through an assistance framework whereby victims had access to
            The government increased protection efforts. The Rescue Program
                                                                                            psychological and legal support while preparing to testify. NGOs
            was the government office responsible for coordinating short-term
                                                                                            expressed concern for victims’ welfare and risk of re-traumatization while
            emergency victim services; a separate entity, the National Secretariat for
                                                                                            supporting cases against traffickers. In particular, observers indicated
            Childhood, Adolescence, and Family (SENAF), assisted foreign victims,
                                                                                            the Undersecretariat of Criminal Policy’s witness protection program was
            child victims, and victims identiﬁed in the autonomous city of Buenos
                                                                                            ill-suited to the needs of trafficking victims and posed a re-traumatization
            Aires. The government reported identifying and assisting a total of 1,434
                                                                                            risk. The courts offered victims participating in trials the option to provide
            victims—including those assisted by SENAF and other government
                                                                                            testimony via live video, recordings, or written statements; during the
            entities—compared with 933 victims in 2020, 1,438 victims in 2019,
                                                                                            reporting period, all trafficking victims participating in trials delivered
            and 1,501 victims in 2018. The Rescue Program reported identifying
                                                                                            video or written testimonies, as required by the courts’ pandemic
            1,337 of these victims in 2021. Of the 1,434 identiﬁed victims, 945 were
                                                                                            mitigation measures. The Rescue Program provided tribunals with
            victims of labor exploitation, and 331 were victims of sex trafficking; the
                                                                                            an assessment of victims’ psychological state and ability to assist in a
            government was unable to specify a form of trafficking for the remaining
                                                                                            trafficker’s prosecution, as well as what accommodations the victims
            128 victims. The government provided incomplete demographic data
                                                                                            might need in doing so. The government maintained a trust fund for
            on identiﬁed victims; there were at least 538 female, 680 male, and
                                                                                            trafficking victims, comprised of traffickers’ forfeited assets and required
            six transgender victims. At least 114 of the victims were children. More
                                                                                            criminal courts to award victim restitution at the time of traffickers’
            than 75 percent of victims in 2021 were Argentine nationals; officials
                                                                                            convictions. Victims could also ﬁle civil suits against traffickers to receive
            also identiﬁed foreign victims, including from Bolivia, Colombia, the
                                                                                            additional compensation, although victims had limited success in securing
            Dominican Republic, Paraguay, Peru, Senegal, Syria, Uruguay, and
                                                                                            compensation through civil suits. Courts granted between 1 million and
            Venezuela. The government reported observing an increase in victims
                                                                                            6 million pesos ($9,280 to $55,680) in restitution to each of 35 victims
            self-reporting their exploitation. The government funded repatriation
                                                                                            in three cases ending in criminal conviction in 2021. In another, ongoing
            for ﬁve Argentine victims exploited in trafficking abroad, compared
                                                                                            trafficking case, the courts authorized officials to auction seized assets in
            with funding repatriation of at least 10 Argentine trafficking victims
                                                                                            preparation for victim restitution at the case’s conclusion. Despite these
            in 2020. SENAF coordinated an unspeciﬁed number of repatriations
                                                                                            cases, observers reported prosecutors and judges still inconsistently
            for foreign victims from several countries, including Brazil, Paraguay,
                                                                                            prioritized ﬁnancial restitution in trafficking cases.
            and the People’s Republic of China (PRC). The National Directorate of
            Migration reported training 700 public officials on the identiﬁcation           The government trained inspectors and other Ministry of Labor officials
            and referral of trafficking victims amongst migrant populations since           on labor trafficking indicators. Labor inspectors used guidelines for
            it established its anti-trafficking unit in the previous reporting period.      the identiﬁcation of trafficking during inspections; inspectors ﬁled 31
            The government reported its new Registry for Assistance to Victims of           reports of trafficking indicators during inspections in 2021, identifying 221
 90                                                                                                                                        Haiti AR_000571
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 196 of 729




                                                                                                                                                               ARMENIA
potential victims. The Ministry of Labor reported 90 percent of victims        TRAFFICKING PROFILE
identiﬁed by labor inspectors were men and 85 percent were Argentine           As reported over the past ﬁve years, human traffickers exploit domestic
nationals. Civil society actors anecdotally reported observing increased       and foreign victims in Argentina, and Argentine adults and children
inspection activity. The Executive Committee for the Fight Against             are victims of sex and labor trafficking in other countries. Traffickers
Trafficking and Exploitation of People and the Protection and Assistance       exploit victims from other Latin American and Caribbean countries
of Victims (“Executive Committee”) coordinated with civil society and          in Argentina, particularly the Dominican Republic, Paraguay, Peru,
regional law enforcement to respond to reports of forced labor in rural        Bolivia, Uruguay, Venezuela, and Brazil. Transgender Argentines are
agricultural sites, including olive processing outﬁts, culminating in the      exploited in sex trafficking within the country and in Western Europe.
identiﬁcation of more than 150 labor trafficking victims in 2021. In one       Officials indicate traffickers may exploit the additional vulnerabilities
instance, national officials identiﬁed eight potential trafficking victims,    of individuals, especially women, with disabilities or mental illnesses.
forced to eat and sleep in tents where alleged traffickers compelled           Adults and children from Argentina, particularly the northern provinces;
them to harvest eucalyptus leaves, after a volunteer ﬁreman observed           Bolivia; Paraguay; Peru; and other countries are exploited in forced labor.
trafficking indicators at the site and reported them to a provincial           Traffickers exploit victims in forced labor in the garment sector; ranching;
labor authority.                                                               agriculture, including the cultivation and harvest of olives, onions, and
                                                                               lettuce; forestry; street vending; charcoal and brick production; domestic
PREVENTION                                                                     work; and small businesses. Traffickers exploit victims from the PRC and
The government increased prevention efforts. The Federal Council               South Korea; PRC citizens working in supermarkets are vulnerable to
for Human Trafficking and the Executive Committee oversaw the                  debt bondage. Traffickers exploited women seeking to work as models
implementation of the government’s 2020-2022 national action plan              or promoters in sex trafficking at racetracks. Traffickers exploit children
to combat human trafficking. The biennial plan outlined 100 speciﬁc            participating in youth sports clubs in sex trafficking. Revelations in
activities to combat trafficking; the Executive Committee reported the         2018 of an active child sex trafficking ring in Argentina’s minor soccer
government completed 67 of the plan’s activities in 2021. Although the         league that victimized youth athletes raised concerns about child sex
Federal Council incorporated three civil society organizations in its          trafficking in domestic sports and athletic clubs. Religious sects and
regular meetings, some observers reported the government offered               other organizations serve as fronts for traffickers. Traffickers compel
limited opportunities for civil society to contribute to its efforts. The      trafficking victims to transport drugs internally and across the country’s
Federal Council required civil society participants to be legally recognized   borders. Traffickers increasingly utilize social media and other online
as NGOs in Argentina; observers noted some NGOs found the costs                platforms to recruit and exploit victims. Civil society reports indicate
associated with maintaining this status prohibitive. The government did        many traffickers (38 percent) are women; some of these women were
not allocate a speciﬁc budget for the plan, instead relying on ministries to   themselves trafficking victims. Official complicity, mainly at the sub-
support activities from their own budgets; observers remained concerned        national level, is pervasive and continues to hinder the government’s
about the government’s ability to fund its anti-trafficking initiatives and    efforts to combat trafficking.
support civil society programs. Law 1694/06 prohibited worker-paid
recruitment fees, and authorities had the ability to penalize foreign
labor recruiters for fraudulent recruiting; however, the government did
not report assessing any penalties during the reporting period. Given
the increased vulnerability of migrants due to widespread job loss and
                                                                                ARMENIA: TIER 2
movement restrictions during the pandemic, the government again
extended expiration dates and deadlines associated with several visa           The Government of Armenia does not fully meet the minimum standards
categories, which decreased their vulnerability to trafficking.                for the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                               The government demonstrated overall increasing efforts compared with
The government continued to implement awareness campaigns, including           the previous reporting period, considering the impact of the COVID-19
one, initiated in 2016, outlining sex trafficking risks and encouraging the    pandemic, if any, on its anti-trafficking capacity; therefore Armenia
public to report print advertisements for commercial sex so that law           remained on Tier 2. These efforts included prosecuting more traffickers
enforcement can investigate. It also held several awareness workshops          and identifying more victims. Courts convicted a labor trafficker for the
accessible to the general public and launched a new campaign to promote        ﬁrst time since 2014. The government adopted screening indicators for
public awareness of the government’s nationwide 1-4-5 trafficking
                                                                               use by social workers, amended procedures to standardize data collection
hotline through signage in bus stations and other venues. PROTEX
                                                                               and information sharing, and provided comprehensive training to relevant
officials presented at several trafficking awareness webinars hosted by
                                                                               staff. However, the government did not meet the minimum standards in
domestic and international civil society groups; these virtual events were
                                                                               several key areas. Police continued to repeatedly interrogate victims for
accessible to wide audiences. NGOs and experts remained concerned
                                                                               long hours though reportedly within legal limits. First responders did
by child sex tourism, although there were no reported investigations or
                                                                               not consistently screen vulnerable populations for trafficking indicators,
prosecutions in the reporting period related to this crime. The Secretariat
                                                                               while police in some remote areas lacked information and training to
of Tourism launched a new campaign to raise awareness of sex trafficking
                                                                               inform victims of their rights and victims continued to face low access
in the tourism industry and led a regional working group on combating
sex tourism. The Ministry of Justice and Human Rights operated the             to justice, including an absence of victim-centered procedures and
nationwide 1-4-5 trafficking hotline with response assistance from the         formal victim-witness protection measures. The government maintained
Rescue Program. Fifteen provincial governments regularly publicized the        its prior year funding level for the implementation of the 2020-2022
national hotline in 2021. The Rescue Program trained hotline operators         national action plan (NAP), but the Ministerial Council did not meet.
on application of the trafficking law and emerging trends. There were
1,624 hotline calls during the year, compared with 1,340 in 2020 and                    ARMENIA TIER RANKING BY YEAR
1,809 in 2019. The government reported it investigated 1,276 of these               1
reports, compared with 631 in 2020, although some reports described                 2
related crimes, such as sexual exploitation, rather than trafficking. In one
                                                                                 2WL
investigation initiated by a hotline call, regional officials arrested three
suspected traffickers and identiﬁed two 16-year-old girls exploited in              3
                                                                                          2015      2016      2017     2018   2019    2020   2021    2022
sex trafficking. The government continued to produce several annual
assessments of its anti-trafficking efforts, including PROTEX’s regular
evaluation of trafficking-related calls to the national hotline and the
Federal Council’s annual progress report on the biennial plan. The
government did not make efforts to reduce the demand for commercial
sex acts.


                                                                                                                                     Haiti AR_000572             91
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 197 of 729
ARMENIA                                                                                   a lack of evidence nor reclassify any cases, compared with dropping
          PRIORITIZED RECOMMENDATIONS:
          Vigorously investigate, prosecute, and convict traffickers under Articles       seven forced labor cases and one sex trafficking case due to a lack of
          132 and 132-2. • Increase proactive identiﬁcation efforts, including            evidence and reclassifying one sex trafficking case in 2020. The Police
          implementing standard operating procedures for screening trafficking            Academy and Justice Academy maintained classes on trafficking
          victims and training officials on screening for trafficking among               for police, judges, prosecutors, and investigators, and the Ministry
          individuals in commercial sex, migrants, refugees, and other at-risk            of Defense trained military police officers on anti-trafficking issues.
          populations.• Implement legal authorities for labor inspectors to conduct       The government did not conduct any international investigations or
          regular inspections, including non-legal employers, and identify victims        extraditions in 2021 or 2020.
          through unannounced visits. • Provide advanced training to investigators
          and prosecutors on trafficking investigations and prosecutions, including       PROTECTION
          evidence collection and victim-centered interview techniques. • Establish       The government increased protection efforts. The government identiﬁed
          and implement preventative measures for child labor and potential               32 victims, an increase compared with nine victims in 2020. Of these, 24
          child trafficking in state childcare institutions. • Increase access to         were victims of sex trafficking and eight were victims of forced labor;
          justice during court proceedings, such as establishing victim-centered          there were 23 were women, seven boys, and two girls; and all victims
          policies to reduce re-traumatization, strengthen conﬁdentiality, and            were Armenians. The 2014 Law on Identiﬁcation and Assistance to
          provide victim-witness protection. • Increase resources for reintegration       Victims of Human Trafficking and Exploitation prescribed identiﬁcation,
          services for victims. • Establish formal procedures for repatriating            referral, and assistance procedures for relevant actors. In 2021, the
          trafficking victims from abroad. • License, regulate, and educate local         government developed screening indicators for social workers and
          employment agencies and agents so they can help prevent the forced              adopted procedures to identify child victims among children not
          labor of Armenians abroad. • Train judges on restitution in criminal            enrolled in school. Police reported inspecting businesses involved in
          cases, establish procedures to seize assets from traffickers, and create        commercial sex, using checklists to screen individuals in commercial sex,
          effective methods to allocate restitution in a timely manner.                   and training officers on trafficking indicators; however, the government
                                                                                          did not report the number of inspections nor did it identify any victims
          PROSECUTION                                                                     through these efforts. Experts continued to report that officials did
          The government increased law enforcement efforts. Articles 132 and 132-2        not proactively identify victims and instead relied on victims to self-
          of the criminal code criminalized sex trafficking and labor trafficking and     identify, and observers continued to report ﬁrst responders did not
          prescribed penalties of ﬁve to eight years’ imprisonment, which were            consistently screen vulnerable populations for trafficking indicators,
          sufficiently stringent and, with regard to sex trafficking, commensurate        particularly individuals in commercial sex and foreign migrant workers.
          with those for serious crimes, such as rape. The government investigated        The government trained staff from the State Migration Service and child
          15 cases, compared with 16 cases in 2020; eight were sex trafficking            care institutions on identifying trafficking victims.
          cases, and seven were forced labor cases. The government prosecuted
                                                                                          The government provided temporary shelter, emergency medical
          eight defendants, compared with two in 2020; ﬁve were prosecuted
                                                                                          services, and psychological aid to potential trafficking victims during
          for sex trafficking, and three were prosecuted for labor trafficking. The
                                                                                          the “pre-identiﬁcation stage,” a stage where the government collected
          government continued to prosecute three defendants from previous
                                                                                          information on a potential victim within a maximum of 10 days. The
          years. Courts convicted one sex trafficker and one labor trafficker, the ﬁrst
                                                                                          Victim Identiﬁcation Commission (VIC), which consists of representatives
          forced labor conviction since 2014, compared with one sex trafficker in
                                                                                          from the Ministry of Labor and Social Affairs (MOLSA), PGO, police, and
          2020. Judges sentenced the sex trafficker to 12 years’ imprisonment; the
                                                                                          NGOs, officially recognized victims based on information collected during
          labor trafficker received a sentence of seven years’ imprisonment, but it
                                                                                          the “pre-identiﬁcation stage;” the VIC met six times. The government
          was later changed to a two-year suspended sentence after judges used
                                                                                          amended procedures to standardize data collection and information
          the trafficker’s health, age, cooperation, and guilty plea as mitigating
                                                                                          sharing, which allowed the VIC to fully monitor individual cases and
          circumstances. The government reported an ongoing investigation of
                                                                                          share cases with relevant government institutions. In previous years,
          a human resource officer and the head of a psychiatric institution that
                                                                                          civil society reported the referral procedures functioned well, and they
          opened an unregistered store in the psychiatric hospital and coerced a
                                                                                          had positive cooperation with the government. However, NGOs reported
          patient to work in the store from 2002 to 2018. The government reported
                                                                                          one case involving 15 victims that did not fully meet the deﬁnition of
          some delays in investigations due to pandemic mitigation measures, but
                                                                                          trafficking, while government representatives on the VIC reported it
          courts continued to make virtual and remote trials available.
                                                                                          met the deﬁnition and overruled their assessment. The case involved
          The Armenian Police (AP) maintained an Anti-Trafficking Unit                    a trafficker that threatened to hurt family members of individuals
          (ATU) that conducted initial investigations and referred cases to the           detained or missing in the 2020 hostilities over Nagorno-Karabakh,
          Investigative Committee (IC) for an in-depth investigation. Local police        unless the victims sent nude photos and videos; a judge convicted the
          units designated an officer as the main point of contact for trafficking        trafficker under the trafficking article but the case was under review
          within their jurisdiction. The government maintained a manual for local         by an appeals court.
          police on monitoring businesses that were prone to exploitation and
                                                                                          The government allocated approximately 40 million drams ($82,470)
          on interviewing vulnerable communities; however, law enforcement
                                                                                          for victim protection efforts, including operational costs for an NGO-
          did not proactively pursue investigations and relied on victims to
                                                                                          run shelter in 2021 and 2020. The government and local NGOs jointly
          self-identify. Observers continued to report an absence of victim-
                                                                                          provided legal, medical, and psycho-social support; housing; a one-
          centered approaches within law enforcement procedures, and local
                                                                                          time monetary compensation of 250,000 drams ($515); and access to
          investigators in some remote areas lacked the skills to properly interview
                                                                                          social, educational, and employment projects. The government allowed
          victims. Guidelines restricted interviews to four hours for adults, and
                                                                                          legal guardians of child victims to also receive the one-time monetary
          the government adopted a law, which took effect in January 2021, that
                                                                                          compensation. Sixteen victims received free health care (one in 2020),
          restricted interviews for children to 90 minutes in the presence of a
                                                                                          and two victims received the one-time monetary compensation (one
          psychologist. However, observers continued to report police repeatedly
                                                                                          in 2020). The government maintained a cooperation agreement and
          interrogated victims for long hours, including children, increasing the
                                                                                          partially funded one specialized NGO-run shelter to provide services
          risk of re-victimization, though NGO observers noted police complied
                                                                                          to victims; the NGO-run shelter assisted three identiﬁed victims (10 in
          with legal parameters regarding the length of interrogation. Additionally,
                                                                                          2020). The NGO-run shelter required adult victims to notify staff when
          investigations did not incorporate gender-sensitive approaches, such
                                                                                          they left shelters unescorted, but victims were free to leave if they no
          as the use of female medical professionals for invasive examinations
                                                                                          longer wanted assistance. Additionally, the NGO-run shelter provided
          of female victims. While the IC or PGO continued to drop or reclassify
                                                                                          male victims with separate rooms or rented apartments, but there were
          trafficking cases referred by local police due to a lack of evidence, a
                                                                                          no male victims in need of shelter in 2021, compared with one male victim
          practice that was not unique to trafficking cases, PGO created a working
                                                                                          receiving shelter accommodation in 2020. The NGO-run shelter provided
          group to review all trafficking cases from 2018 to 2019 to identify any
                                                                                          personal protective equipment and COVID-19 tests, and it adopted social
          legal or procedural issues. Authorities did not drop any cases due to
                                                                                          distancing measures, including a space for victims to quarantine while

 92                                                                                                                                   Haiti AR_000573
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 198 of 729




                                                                                                                                                                          ARUBA
waiting for COVID-19 test results. The government provided vocational                 TRAFFICKING PROFILE
training classes to victims, but civil society continued to provide the bulk          As reported over the past ﬁve years, human traffickers exploit domestic
of reintegration and long-term support services without government                    and foreign victims in Armenia, as well as victims from Armenia abroad.
funding. Additionally, the government did not include trafficking victims             Traffickers exploit some of the Armenian migrants who seek employment
in the list of vulnerable people eligible for state housing. The NGO-run              in Russia, the United Arab Emirates (UAE), and Turkey in forced labor,
shelter and childcare institutions accommodated child victims, but                    often through recruitment fraud and exorbitant recruitment fees
experts reported a shortage of accommodation and foster families                      charged by labor brokers. Armenian women may also be exploited in
for children, which resulted in some cases where authorities returned                 sex trafficking in the UAE and Turkey. Armenian women may be exploited
children to family members who were involved in their exploitation.                   in sex and labor trafficking and forced begging within the country.
The government allocated funds for repatriation in 2020 for the ﬁrst                  Some children work in agriculture, construction, and service provision
time, although no victims required repatriation in 2021 or 2020. The                  within the country, where they are vulnerable to labor trafficking.
government provided foreign victims the same services as Armenian                     Ukrainian, Belarusian, and Russian women working as dancers in
victims. The law entitled foreign victims to a 30-day reﬂection period                Armenian nightclubs are vulnerable to sex trafficking. Traffickers may
in which victims could recover before deciding whether to cooperate                   target Iranian and Indian migrants who willingly seek employment in
with law enforcement. The law also entitled foreign victims to receive                the informal sector for exploitation in forced labor. Men in rural areas
a permanent residence permit, but applications required evidence of                   with little education and children staying in state childcare institutions
employment; no foreign victim required a permit in 2021 and 2020.                     remain highly vulnerable to labor trafficking.
Due to a lack of consistent identiﬁcation procedures for trafficking
indicators, authorities may have detained and deported individuals in
commercial sex and foreign migrant workers who were unidentiﬁed
victims. According to experts, law enforcement officers in some remote                 ARUBA: TIER 2 WATCH LIST•
areas may lack information and training to inform victims of their rights
to protection or assistance. Victims hesitated to assist in prosecutions              The Government of Aruba does not fully meet the minimum standards
due to a lack of conﬁdentiality in public testimonies—creating a fear of              for the elimination of trafficking but is making signiﬁcant efforts to do so.
retaliation from traffickers—and stigmatization from their families and               These efforts included identifying more potential victims, investigating
communities. Authorities did not fully protect victims’ rights during                 more trafficking cases, and producing a new ﬁlm-based awareness
court proceedings, and victims, including children, appeared in front                 campaign illustrating undocumented migrants’ vulnerability to trafficking.
of their traffickers in court, which may have caused re-traumatization.               However, the government did not demonstrate overall increasing efforts
The government continued to lack a formal victim-witness protection                   compared to the previous reporting period, even considering the impact
program. The Criminal Procedure Code and a 2016 decree mandated
                                                                                      of the COVID-19 pandemic, if any, on its anti-trafficking capacity. The
some victim-witness protection measures, but none were used in 2021
                                                                                      government did not prosecute or convict any traffickers for the third
and 2020. Judges did not issue restitution during criminal proceedings,
                                                                                      consecutive year, and officials sometimes relied on victims to self-
and victims did not ﬁle civil suits for compensation in 2021 or 2020. In
                                                                                      identify as such, limiting their ability to hold traffickers accountable
previous years, judges did not issue damages in civil suits, asserting that
                                                                                      through criminal prosecution. Anti-trafficking efforts depended on ad
victims did not substantiate the ﬁnancial damages they had suffered.
                                                                                      hoc funding allotments, rather than a dedicated budget, limiting the
The law allowed investigators to place defendants’ property in custody
                                                                                      long-term viability of key initiatives. In addition, working-level officials
to fund potential civil claims, but this rarely occurred in practice.
                                                                                      conﬂated trafficking in persons and migrant smuggling, hindering
                                                                                      the effectiveness of prosecution, prevention, and protection efforts.
PREVENTION
The government increased prevention efforts. The Anti-trafficking                     Because the government has devoted sufficient resources to a written
Ministerial Council and the Inter-Agency Working Group against                        plan that, if implemented, would constitute signiﬁcant efforts to meet
Trafficking in Persons (IWGTP) monitored and carried out anti-trafficking             the minimum standards, Aruba was granted a waiver per the Trafficking
efforts; the Ministerial Council did not meet (once in 2020) and IWGTP                Victims Protection Act from an otherwise required downgrade to
held two virtual meetings in 2021 (once in 2020). The government                      Tier 3. Therefore Aruba remained on Tier 2 Watch List for the third
implemented the NAP and allocated approximately 40 million drams                      consecutive year.
($82,470) in 2021 and 2020. However, observers reported many of
the goals and projects in the NAP depended on funding from donors
                                                                                                ARUBA TIER RANKING BY YEAR
and international organizations, which the government did not fund.
                                                                                            1
The government did not conduct any new research on trafficking in
2021 and 2020. The government organized a country-wide awareness                            2

campaign targeting the public, students, children and their parents,                     2WL
ﬁrst responders, and asylum seekers. The government funded an                               3
anti-trafficking website and hosted an annual award ceremony for                                   2015     2016      2017   2018    2019     2020     2021     2022
journalists publishing trafficking stories. For the ﬁrst time, MOLSA
solicited feedback from trafficking survivors and victims on assistance
measures to amend the 2015 law on victim assistance. The government
did not regulate or monitor labor recruitment agencies. In 2020, the                  PRIORITIZED RECOMMENDATIONS:
Health and Labor Inspection Body conducted 28 labor inspections—the                   Vigorously investigate and prosecute alleged traffickers. • Proactively
ﬁrst inspections since 2015—but did not have jurisdiction to conduct                  identify victims among all vulnerable groups, including women in
inspections of “non-legal” employers such as small farms or illegal                   commercial sex, detained migrants, domestic workers, and migrants
businesses. AP and MOLSA both maintained a 24-hour hotline for                        working in construction, supermarkets, and retail. • Train law enforcement
trafficking, and the Ombudsperson operated a 24-hour hotline for                      officials, prosecutors, judges, coast guard officers, and labor inspectors
human rights-related issues, including trafficking; hotlines received                 on victim-centered and trauma-informed approaches to trafficking cases.
202 calls, but the government did not report the number of potential                  • Establish dedicated funding for anti-trafficking efforts, including for
victims identiﬁed or investigations resulting from calls. The government              full-time staff members. • Decouple victim identiﬁcation and assistance
did not make efforts to reduce the demand for commercial sex acts.                    procedures from the investigation and prosecution of trafficking crimes
                                                                                      and empower non-law enforcement officials to designate trafficking


• Aruba is a semi-autonomous entity of the Kingdom of the Netherlands. For the purpose of this report, Aruba is not a “country” to which the minimum standards for
  the elimination of trafficking in the Trafficking Victims Protection Act apply. This narrative reﬂects how Aruba would be assessed if it were a separate, independent
  country. However, the Kingdom is an important contributor to the Government of Aruba’s anti-trafficking efforts
                                                                                                                                            Haiti AR_000574                93
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 199 of 729
ARUBA   victims as such. • Convict traffickers, as appropriate, and sentence them to   and Venezuela. Authorities screened seven additional individuals
        signiﬁcant prison terms. • Complete the construction of the multipurpose       for trafficking indicators, compared with 10 additional individuals
        shelter for victims of crimes, including human trafficking. • Improve          in 2020, but determined them to be victims of other crimes. The
        coordination and information-sharing with anti-trafficking counterparts        government indicated an international organization identiﬁed four
        across the Kingdom of the Netherlands. • Increase referral of possible         more trafficking victims, in addition to the seven government-identiﬁed
        trafficking victims among Venezuelan migrants and refugees through             potential victims. The government classiﬁed victims as “potential,”
        consistent use of guidelines for proactive identiﬁcation. • Formalize          “presumed,” or “conﬁrmed” victims. The government did not provide
        agreements with local NGOs and private sector accommodations                   services to potential victims, who were typically associated with early-
        to shelter adult and child victims. • Promote awareness of human               stage investigations; the government only provided care services
        trafficking, as distinct from migrant smuggling, through trafficking-          to presumed or conﬁrmed victims. However, the government tied
        speciﬁc materials and campaigns.                                               victims’ status and access to services to the associated criminal case
                                                                                       against a trafficker. If a prosecutor determined not to pursue trafficking
        PROSECUTION                                                                    charges, the government discontinued services for associated victims.
        The government maintained prosecution efforts. Article 2:239 of                Observers expressed concern that the link between victim assistance
        the penal code criminalized sex trafficking and labor trafficking and          and the success of the criminal proceedings against traffickers limited
        prescribed penalties of up to eight years’ imprisonment or a ﬁne for           victims’ access to critical services. JIUMM assigned one potential victim
        offenses involving a victim 16 years of age or older and up to 12 years’       status as a “presumed victim” of labor trafficking, which made her
        imprisonment or a ﬁne for those involving a victim younger than the            eligible to receive services. The government reported referring one
        age of 16. These penalties were sufficiently stringent and, with respect       presumed victim to services in 2021, compared with referring no victims
        to sex trafficking, commensurate with those prescribed for other serious       in 2020. The victim declined shelter but received basic care services
        crimes, such as kidnapping. The government continued to revise a draft         and an informal stay of deportation; when prosecutors determined
        amendment to the anti-trafficking law, initiated during the previous           to pursue migrant smuggling charges, rather than human trafficking
        reporting period, to increase penalties for trafficking offenses; the          charges, the government phased out assistance. Multidisciplinary teams
        amendment remained pending at the end of the reporting period.                 consisting of police, labor officers, immigration officials, and civil society
                                                                                       representatives deployed when investigations called for raids or site
        Authorities reported conducting 17 preliminary trafficking investigations,
                                                                                       visits. The government had an agreement with civil society organizations
        compared with 13 preliminary investigations in 2020 and one investigation
                                                                                       to facilitate the identiﬁcation of trafficking victims among vulnerable
        in 2019. Authorities ultimately halted or investigated, under related
                                                                                       migrant groups by allowing potential victims to remain anonymous
        criminal statutes, nine preliminary trafficking investigations in 2021,
                                                                                       and receive services from civil society organizations during the initial
        compared with the same number of cases in 2020. The government
                                                                                       investigation; no victims used the anonymous self-reporting mechanism
        sometimes halted investigations of potential trafficking crimes when
                                                                                       in 2021. The anti-trafficking task force (TMMA) continued to provide
        victims did not self-identify as such and declined to participate. Officials
                                                                                       law enforcement and social services officials with a checklist of the
        did not report prosecuting or convicting any traffickers for the third
                                                                                       most common signs of trafficking, which they used in concert with
        consecutive year. In 2021, authorities continued to prosecute one
                                                                                       the government’s QRCs. The government reported officials screened
        case of labor trafficking involving two suspects, initiated in 2018. The
                                                                                       undocumented migrants for trafficking indicators during detainment
        government did not report investigating, prosecuting, or convicting any
                                                                                       interviews. Observers, however, expressed concern detention center staff
        government employees complicit in trafficking offenses.
                                                                                       and other officials were insufficiently equipped to identify trafficking.
        The Human Trafficking and Migrant Smuggling Unit (UMM), a joint                The government reported it trained 320 detention center, Department
        unit comprised of law enforcement officials from the Aruban Police             of Integration and Management of Foreigners (DIMAS), immigration,
        Force and the Royal Dutch Military Police, led trafficking investigations.     and other officials to recognize trafficking indicators and refer victims.
        Another interdisciplinary unit (JIUMM) conducted preliminary reviews of        The government had a basic victim referral mechanism and worked
        possible trafficking crimes, such as tips from the hotline or civil society;   with an international organization to draft an updated protocol, which
        it determined whether to refer cases to UMM for full investigation, refer      remained unﬁnished at the end of the reporting period.
        them to other units for investigation under a different criminal statute,
                                                                                       CMMA established a working group with civil society actors to coordinate
        or close a case. JIUMM referred seven preliminary investigations to UMM
                                                                                       on victim identiﬁcation and referral; the group met monthly during the
        for full investigation; by contrast, UMM conducted two full trafficking
                                                                                       reporting period. The government maintained informal agreements
        investigations in 2020. The government reported it provided basic
                                                                                       with local NGOs and private sector accommodations to shelter adult
        trafficking-awareness training to law enforcement officials. While senior
                                                                                       and child victims of trafficking. Through these arrangements, the
        government officials distinguished between trafficking and migrant
                                                                                       government could secure emergency short-term shelter for victims and
        smuggling, observers expressed concern that non-specialized officials,
                                                                                       longer-term shelter for adult female victims, despite a lack of trafficking-
        such as law enforcement officers and prosecutors, did not have an
                                                                                       speciﬁc shelters. Authorities could place unaccompanied child victims
        adequate understanding of trafficking; across the government, Aruba
                                                                                       in foster care centers or foster homes, and civil society organizations
        addressed human trafficking and migrant smuggling via the same
                                                                                       or local churches could accommodate adult male victims. Officials
        institutions, possibly contributing to conﬂation of the crimes. Many
                                                                                       conducted risk assessments before deciding whether victims could
        officials used “Quick Reference Cards” (QRCs), supplied by the Kingdom
                                                                                       leave shelters unchaperoned; they restricted victims’ movement if their
        of the Netherlands and distributed at the conclusion of trafficking
                                                                                       lives were threatened. The government reported it continued to work
        awareness trainings, that included relevant criminal articles; a list of
                                                                                       on a longstanding plan to expand shelter capacity for male victims and
        trafficking indicators; standard operating procedures to use following
                                                                                       families via new facilities; in 2021, the government experienced delays in
        identiﬁcation of a potential trafficking case; and contact information
                                                                                       obtaining required permits for new structures but began renovating the
        to use when referring victims. Aruban authorities cooperated with
                                                                                       site’s existing buildings. Authorities did not report any victims assisted
        international law enforcement agencies on two cases, including an
                                                                                       the government in the prosecution of traffickers.
        international investigation initiated after Aruban officials ﬁelded a
        trafficking report via a reporting hotline.                                    Foreign victims were entitled to the same rights and protection as
                                                                                       Arubans. The law authorized the extension of temporary immigration
        PROTECTION                                                                     relief for foreign victims for three to six months on a case-by-case basis
        The government slightly increased protection efforts. The government           and allowed foreign victims to change employers if they were suspected
        reported identifying seven potential trafficking victims—four potential        of exploiting workers. Authorities did not report any victims received
        sex trafficking victims and three potential labor trafficking victims—in       these beneﬁts but indicated most foreign victims not participating in
        2021, compared with four victims in 2020, zero in 2019, two in 2018,           the trials against traffickers returned to their home countries, except
        and 71 in 2017. Of the seven potential victims identiﬁed, three were           when a safe return was not possible. The criminal code enabled victims
        girls, two were women, and two were men; the government identiﬁed              to receive restitution during criminal proceedings or to ﬁle civil suits, to
        potential victims from Colombia, the Dominican Republic, Finland,              seek compensation not to exceed 50,000 ﬂorin ($28,090) for ﬁnancial

 94                                                                                                                                   Haiti AR_000575
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 200 of 729




                                                                                                                                                              AUSTRALIA
and emotional damages, although none did so in 2021. The Bureau                acts, such as robberies and drug-related offenses. Women in regulated
of Victim Assistance operated a hotline for potential victims of all           and unregulated commercial sex, domestic workers, and employees of
crimes, including trafficking; the government reported three trafficking-      small retail shops are most at risk of trafficking.
related calls to the hotline, compared with eight in 2020, leading to
the identiﬁcation of one potential victim; by contrast, the government
identiﬁed two victims via the hotline in 2020.
                                                                                AUSTRALIA: TIER 1
PREVENTION
The government slightly increased prevention efforts, which remained
                                                                               The Government of Australia fully meets the minimum standards for the
modest. The National Coordinator on Human Trafficking and Migrant
                                                                               elimination of trafficking. The government continued to demonstrate
Smuggling continued to lead the government’s anti-trafficking efforts,
                                                                               serious and sustained efforts during the reporting period, considering
with support from the TMMA and CMMA. All three entities had dual
                                                                               the impact of the COVID-19 pandemic on its anti-trafficking capacity;
responsibility for both anti-trafficking and anti-smuggling efforts.
                                                                               therefore Australia remained on Tier 1. These efforts included convicting
Authorities continued to implement the 2018-2022 national action
                                                                               more traffickers, ordering two convicted traffickers to pay restitution to a
plan, which lacked dedicated resources for its implementation. Instead,
                                                                               victim, increasing funding to NGOs for community prevention programs,
authorities ﬁnanced anti-trafficking activities via ad hoc allotments,
                                                                               and developing a monitoring and evaluation plan to track implementation
including periodic infusions from the Kingdom of the Netherlands, which
                                                                               of its 2020-2025 national action plan (NAP). Although the government
limited the capacity and stability of these efforts across prosecution,
                                                                               meets the minimum standards, it did not adequately screen vulnerable
protection, and prevention. The government reported it funded the
                                                                               groups traffickers may target, including domestic workers, international
CMMA’s project manager, the entity’s only dedicated staff member, via
                                                                               students, and migrant workers; this may have resulted in the government’s
a one-time funding extension granted by the Ministry of Justice (MOJ).
                                                                               detention or deportation of unidentiﬁed victims.
The CMMA submitted a proposal to the MOJ to formalize its institutional
status and obtain long-term funding for the project manager position;
the proposal remained pending at the conclusion of the reporting period.                AUSTRALIA TIER RANKING BY YEAR
The four Kingdom countries agreed to update an existing memorandum                  1
of understanding on human trafficking and migrant smuggling in 2022.                2
Officials raised awareness of human trafficking and the hotline in                2WL
multiple languages via social media, posters, and ﬂyers. Authorities
                                                                                    3
continued to utilize awareness materials produced in a 2011 campaign                       2015     2016      2017       2018   2019    2020   2021   2022
intended to inform migrants of numerous risks, including trafficking.
The government applied for and received funding from the Netherlands
for this campaign. In 2021, CMMA created and distributed a new short
ﬁlm about undocumented migrants’ vulnerability to trafficking via              PRIORITIZED RECOMMENDATIONS:
social media and its trafficking-awareness website. The government             Continue to strengthen efforts to investigate and prosecute trafficking
continued to administer the airport-based campaign supported by an             crimes pursuant to trafficking laws, with increased focus on pursuing
international organization, although it noted border closures limited the      labor trafficking crimes instead of labor or employment violations, and
campaign’s visibility. The government provided trafficking-awareness           sentence convicted traffickers to signiﬁcant prison terms. • Increase
training to government officials from parliament, the ministry of ﬁnance,      efforts to proactively identify trafficking victims among vulnerable
the judiciary, and the ministry of education, as well as civil society; the    groups, such as undocumented migrants, asylum-seekers, agricultural
CMMA also trained officials on the responsibilities of the CMMA, TMMA,         and hospitality industry workers, visa holders, and domestic workers,
and UMM. In 2021, the government primarily conducted virtual awareness-        and refer those victims to appropriate government authorities. • Further
raising activities, including social media campaigns and webinars. It          de-link the provision of services from participation in the criminal justice
opened some of these events to officials from neighboring countries.           process and increase services available to victims unable or unwilling
Officials had procedures to screen adult entertainers and performed            to participate in the criminal justice process. • Ensure the statutory
inspections during the year once the government relaxed its pandemic           deﬁnition of trafficking under the criminal code does not require
mitigation measures, allowing adult entertainment venues to reopen;            movement of the victim as an element of the crime. • Continue efforts
the government did not issue adult entertainment visas to foreigners in        to train police, immigration officials, and other front-line officers, both
2021. Normally, a Kingdom of the Netherlands policy required individuals       offshore and onshore, to recognize indicators of trafficking and respond
on adult entertainment visas, primarily Colombian women, to meet               to suspected cases of both sex and labor trafficking. • Establish the
with consular officers to ensure the applicants knew their rights and          National Labour Hire Registration Scheme with sufficient compliance
had a copy of their work agreement before picking up their in-ﬂight            tools. • Increase training for judges, prosecutors, and law enforcement
letter at a Kingdom of the Netherlands embassy. Upon arrival, such             officials on the application of trafficking laws, elements of trafficking,
visa recipients normally received information about their rights, risks,       investigative techniques, evidence collection speciﬁc to trafficking
and resources. The government did not report efforts to reduce the             cases, and alternatives to victim testimony. • Conduct initial screening
demand for commercial sex acts.                                                interviews with potential victims in a safe and neutral location and in
                                                                               the presence of a social service professional. • Establish a national
TRAFFICKING PROFILE                                                            compensation scheme for trafficking victims. • Continue to implement
As reported over the past ﬁve years, human traffickers exploit domestic        or fund awareness campaigns, particularly among rural communities
and foreign victims in Aruba. Traffickers exploit Venezuelan women in          and migrant populations, including international students, vulnerable
sex trafficking and foreign adults of all genders in forced labor in Aruba’s   to forced labor. • Continue to strengthen efforts to prosecute and
service and construction industries. Arriving Venezuelans commonly             convict Australian child sex tourists. • Increase efforts to investigate
overstay their visas, leaving many with expired documentation and a            and hold accountable foreign diplomats posted in Australia suspected
corresponding increased risk for trafficking. Families, business owners,       of complicity in trafficking.
and criminals exploit some of these Venezuelans in forced labor in
domestic service, construction, and commercial sex, respectively.              PROSECUTION
Supermarket managers subject People’s Republic of China-national               The government increased law enforcement efforts. Divisions 270 and 271
men and women to forced labor in grocery stores; business owners               of the Commonwealth Criminal Code, when read together, criminalized
and families subject Indian men to forced labor in the retail sector and       sex trafficking and labor trafficking. Inconsistent with international law,
domestic service, respectively; and Arubans force Caribbean and South          the deﬁnition of “trafficking” under Division 271 required the element
American women into domestic servitude. Officials reported increases in        of movement of a victim. However, Division 270, which criminalized
forced criminality, where traffickers compel victims to commit unlawful        “slavery,” “servitude,” and “forced labor” offenses, could be utilized to
                                                                                                                                       Haiti AR_000576         95
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 201 of 729
AUSTRALIA   prosecute trafficking crimes that did not involve victim movement. Division      NGO-implemented support program. Despite pandemic restrictions on
            271 prescribed penalties of up to 12 years’ imprisonment for offenses            travel, the government also assisted 10 potential Australian trafficking
            involving an adult victim and up to 25 years’ imprisonment for those             victims abroad, compared with 11 the previous year; it was not clear
            involving a child victim. These penalties were sufficiently stringent and,       how many of these individuals were victims of trafficking as deﬁned by
            with regard to sex trafficking, commensurate with those prescribed for           international law compared with victims of forced marriage or individuals
            other serious crimes, such as rape. Division 270 prescribed penalties of         vulnerable to forced marriage.
            up to 25 years’ imprisonment for slavery, up to 15 years’ imprisonment
                                                                                             Authorities identiﬁed most victims through the efforts of joint agencies,
            for servitude, and up to nine years’ imprisonment for forced labor. These
                                                                                             health care facilities, task forces, and cooperative action with foreign
            penalties were all sufficiently stringent.
                                                                                             governments. Authorities continued to utilize a list of indicators to
            In 2021, the government referred 150 cases of suspected trafficking crimes       identify trafficking victims and refer them to services. Observers reported
            for possible investigation, compared with 233 cases the previous year,           authorities often linked trafficking to migration and continued to
            which had included cases of exit trafficking, organ trafficking, harboring,      inadequately screen for indicators of trafficking in the agricultural and
            and forced marriage. Authorities initiated prosecutions of three alleged         hospitality industries and among offshore migrants. Despite persistent
            traffickers, compared with four the previous reporting period. Authorities       reports of sexual exploitation, forced labor, and multiple trafficking
            continued prosecutions of 19 defendants begun in previous reporting              indicators among foreign workers in Australia under the auspices
            periods. Courts convicted and sentenced eight traffickers to signiﬁcant          of the Working Holiday Visa scheme and Seasonal Worker Program
            prison terms, compared with two convictions the previous reporting               (SWP), authorities did not report proactively screening for trafficking
            period. Courts convicted two traffickers of slavery under section 270.3(1)       indicators among such workers. In the Working Holiday Visa program, the
            of the criminal code, along with non-trafficking related charges, and two        government’s requirement of completing 88 days to obtain a second-year
            traffickers of forced labor under 270.6A of the criminal code, along with        or third-year visa was a key driver for why such visa recipients acquiesce
            non-trafficking related charges. In one case, courts ordered two traffickers     to legally non-compliant or exploitative conditions. The government
            to pay 45,000 Australian dollars ($32,730) and 25,000 Australian dollars         did not report screening seasonal workers who left their employer for
            ($18,180) in restitution to the victim. In 2021, the government prosecuted       trafficking indicators, which may have resulted in authorities detaining
            31 defendants for planning or engaging in sexual activity with children          and deporting unidentiﬁed trafficking victims. Observers reported some
            overseas; some of these cases were initiated in prior reporting periods.         victims may have been reluctant to communicate with law enforcement
            These efforts led to four convictions of child sex tourists, compared            officers due to fear of detention and deportation and the existence of
            with 38 prosecutions with one conviction reported in 2020. Authorities           language barriers. Government policy sought to prevent victims from
            continued to pursue labor, immigration, or employment violations in lieu         being held in immigration detention or otherwise arrested for unlawful
            of trafficking charges, which may have resulted in suspected traffickers         acts traffickers compelled them to commit; however, due to a lack of
            receiving only ﬁnes and other civil penalties that were inadequate to deter      formal identiﬁcation procedures, authorities may have deported or
            trafficking crimes. The government did not report any investigations,            detained some unidentiﬁed victims. Observers reported that publicized
            prosecutions, or convictions of government employees complicit in                reports of high-level government officials’ engagement in commercial
            human trafficking crimes. The government reported pandemic-related               sex may have discouraged sex trafficking victims from seeking support
            delays in some court cases that required a jury; the courts allowed for          from government providers.
            remote court appearances and focused on facilitating early resolution
                                                                                             Authorities provided formally identiﬁed trafficking victims and potential
            of cases to address these delays. Authorities reported that despite
                                                                                             victims with accommodation, living expenses, legal advice, health
            pandemic-related restrictions, such as domestic lockdowns and border
                                                                                             services, vocational training, and counseling through the support
            closures, law enforcement maintained dedicated staffing levels to address
                                                                                             program. The government allocated 2.84 million Australian dollars
            trafficking in persons and modern slavery crimes.
                                                                                             ($2.07 million) from the federal budget to the support program in the
            The government trained police, labor inspectors, immigration officers,           2021-2022 funding year, none of which was pandemic-related support,
            prosecutors, and health care and community front-line workers on a               compared with 4.3 million Australian dollars ($3.13 million) during the
            variety of topics, including human trafficking investigations, evidence          2020-2021 funding year, of which 1.8 million was for pandemic-related
            and information collection, anti-trafficking enforcement policies and laws,      support. Only the police had the legal authority to refer victims to
            victim identiﬁcation and referral, and victim support services. In addition,     the support program; experts reported this requirement prevented
            the government trained government officials to identify, assess, and             some victims from accessing needed support services. The support
            mitigate modern slavery risks in procurement processes. The government           program had ﬁve “streams” that were tailored to the needs of the
            also trained prosecutors and judicial officials on trafficking-related laws.     particular victim. The assessment and intensive support stream within
            Front-line officers stated that an anti-trafficking training activity designed   the support program assisted victims for up to 45 days, irrespective
            to develop investigative skills did not contain applicable operational and       of whether they were willing or able to assist with the investigation or
            practical skills, such as interviewing vulnerable witnesses and compiling        prosecution of a human trafficking or slavery-related crime. The extended
            evidence. In a 2021 report by the Australian Institute of Criminology,           intensive support stream allowed for an additional 45 days of access
            prosecutors identiﬁed explaining and proving difficult concepts at               to the program on a case-by-case basis for victims willing to assist
            trial as one of the greatest challenges of prosecuting trafficking               with investigation or prosecution but not yet able to do so for reasons
            cases. Prosecutors raised concerns with inconsistent interpretation,             including age, ill health, trauma, or a practical impediment. Children who
            understanding, and application of human trafficking and slavery crimes           were suspected victims of trafficking were automatically entitled to the
            among prosecutorial and judicial officials. Prosecutors relied heavily on        extended support program if it was in their best interest. The temporary
            victim testimony due to the difficulty of corroborating evidence, and            trial support stream assisted victims giving evidence pertaining to
            the average time for court proceedings was 2.5 to 3.4 years, hindering           a human trafficking related prosecution. The justice support stream
            cooperation from victims. Observers reported authorities discussed               aided victims until the ﬁnalization of their case investigation and/or
            measures to reduce overreliance on victim testimonies; also discussed            prosecution. The forced marriage support stream provided those in or
            was the lack of special investigative measures to corroborate evidence           at risk of forced marriage—who may or may not have been trafficking
            that have led to cases being investigated and prosecuted under non-              victims according to international standards—with up to 200 days of
            trafficking statutes or dismissed.                                               support without being required to participate in a criminal investigation
                                                                                             or prosecution against perpetrators. NGOs continued to report some
            PROTECTION                                                                       support services for victims were contingent on participation in law
            The government maintained efforts to protect victims. Authorities                enforcement investigations and the government would cease provision
            identiﬁed 34 victims, compared with 25 victims the previous year; for            of services when investigations ended. The government did not report
            the remainder of victims from the previous year, the form of exploitation        how it provided services to adults unable or unwilling to participate in
            was not reported. Four of the potential victims were younger than 18             law enforcement investigations.
            years old. Similar to the previous reporting period, authorities referred
                                                                                             The government provided temporary and permanent visas to eligible
            all those identiﬁed as potential victims to the Australian government’s
                                                                                             victims. In 2021, the government provided 18 temporary stay visas to
 96                                                                                                                                       Haiti AR_000577
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 202 of 729




                                                                                                                                                            AUSTRALIA
foreign trafficking victims, compared with 28 victims in 2020, despite       In 2021, the Australian Transaction Reports and Analysis Centre created
border closures that signiﬁcantly reduced travel to Australia. Fewer than    and distributed its ﬁrst written guide of ﬁnancial indicators of trafficking
ﬁve individuals were granted permanent “referred stay” visas, the same       to businesses. The government established an intergovernmental network
as in 2020; this included victims and their immediate family members,        to address labor exploitation in public procurement across state, territory,
although some of these cases may have been victims of forced marriage        and commonwealth jurisdictions. The Fair Work Ombudsman continued
rather than trafficking. Courts ordered two convicted traffickers to         to prioritize prevention of potential labor exploitation—including human
pay restitution to one victim. The government did not have a national        trafficking—amongst migrant workers, focusing on awareness in domestic
victim compensation system for crime victims, and victims relied on          workers and among international students. In November 2021, the Fair
civil proceedings to access compensation. The government operated a          Work Commission established a minimum wage for horticulture workers.
national anti-trafficking hotline but did not report the number of cases
                                                                             The government did not implement a recommendation (from the
initiated from calls to the hotline.
                                                                             February 2019 Migrant Workers Taskforce Report) to create a national
                                                                             Labour Hire Registration Scheme requiring recruitment agencies in
PREVENTION                                                                   designated high-risk industries to register with the government and
The government maintained efforts to prevent trafficking. The Modern
                                                                             employers to use only these registered agencies. Similar registration
Slavery and Human Trafficking Branch within the Australian Border
                                                                             schemes had been implemented in Queensland and South Australia
Force (ABF) led the government’s domestic response to trafficking;
                                                                             in 2018, Victoria in 2019, and the Australian Capital Territory in 2021.
the ABF was the chair of the Australian Interdepartmental Committee
                                                                             In November 2021, Parliament introduced the “Protecting Migrant
on Human Trafficking and Slavery (IDC), which coordinated the
                                                                             Workers” Bill 2021. The legislation aimed to increase protections for
government’s anti-trafficking policy framework and led the 2020-
                                                                             non-Australian workers and introduced new criminal offenses related
2025 NAP implementation efforts. In addition, the Operational Working
                                                                             to coercing migrant workers to accept work arrangements to fulﬁll visa
Group (OWG), a subcommittee of the IDC, focused on operational issues
                                                                             requirements; the bill was pending at the end of the reporting period.
and information-sharing in relation to the support program; the OWG
reported meeting more frequently about pandemic-related impacts              An NGO reported concern the government did not effectively monitor
on trafficking victims. The government, in consultation with NGOs,           and enforce labor laws in rural parts of Australia, heightening risks
developed a monitoring and evaluation plan to measure NAP progress.          of forced labor. Domestic workers within Australia—especially in the
The IDC drafted and delivered to Parliament a report on government           state of Western Australia, those lacking a contract, or residing within
anti-trafficking efforts completed in 2017 to 2020.                          diplomatic households—remained extremely vulnerable to exploitation
                                                                             due to the lack of clear protective oversight mechanisms relevant to
The government funded multiple research projects conducted by an
                                                                             these populations. However, in December 2021, the Western Australian
academic institution and NGO, and it awarded 1.67 million Australian
                                                                             government changed the deﬁnition of “employee” to include domestic
dollars ($1.2 million) to seven NGOs to implement community
                                                                             work as part of its industrial relations framework to bring such work under
prevention programs in Australia, compared with 393,380 Australian
                                                                             state regulation. In September 2021, the Select Committee on Temporary
dollars ($286,090) for the 2020-2021 period. NGOs implementing
                                                                             Migration in Parliament released a report with 40 recommendations to
these programs focused on forced labor, survivor engagement to
                                                                             improve Australia’s temporary visa system; one of the recommendations
inform national policy, migrant worker rights, trafficking indicators,
                                                                             included the removal of the 88-day requirement with respect to farm
Modern Slavery Act reporting, and increased trafficking awareness and
                                                                             work to be eligible for a second or third Working Holiday Visa. In June
community collaboration of anti-trafficking activities. The government
                                                                             2021, the government had removed the 88-day requirement for British
conducted awareness campaigns targeting visa holders and the public.
                                                                             citizens under the Working Holiday Visa as part of the Australia-UK
Observers in Paciﬁc Island Countries (PICs) reported concern that many
                                                                             Free Trade Agreement; however, the requirement remained for all other
migrant workers did not fully understand their offers or conditions
                                                                             nationalities. Under the SWP, workers’ employment and immigration
of employment prior to arriving in Australia, despite receiving and
                                                                             status were tied to a speciﬁc employer; observers noted this increased
reading their letter of offer and employment before arrival. Observers
                                                                             migrant workers’ vulnerability to forced labor.
also noted many migrant workers did not know their workplace rights.
The government conducted a campaign targeting seasonal workers,              In March 2022, the government released its second installment of its
who are vulnerable to trafficking, on the consequences of absconding;        International Engagement Strategy on Human Trafficking and Modern
the campaign warned visa holders against leaving their designated            Slavery; the update focused on increasing cooperation with international
employer to ﬁnd other work.                                                  partners to address trafficking in the region. The government continued
                                                                             to work with other governments by engaging in anti-trafficking dialogue,
The Modern Slavery Act 2018 required businesses and entities with annual
                                                                             sharing information, conducting trainings, and providing technical
revenue of 100 million Australian dollars ($72.73 million) or greater to
                                                                             assistance. Australia maintained policy and legislative frameworks to
publish an annual modern slavery statement detailing their efforts to
                                                                             prevent, detect, disrupt, investigate, and prosecute child sexual abuse
combat modern slavery in their supply chains and operations, among
                                                                             and exploitation, including crimes that occurred online, within Australia
other provisions. The government published its second Modern Slavery
                                                                             and overseas. The government made efforts to reduce the demand for
statement, in compliance with the act, and updated the publicly available
                                                                             participation in international sex tourism by its citizens by publishing
online registry of all submitted statements. The government posted
                                                                             materials for passport applicants outlining the application of Australian
more than 2,500 statements from businesses, covering nearly 6,000
                                                                             child sex trafficking laws to Australians overseas and by conducting
entities operating in more than 23 different industries on the registry,
                                                                             law enforcement efforts with international law enforcement partners.
which was the second submission period under the act. The government
                                                                             The government cancelled 67 passports and denied seven to child sex
developed and disseminated guidance documents, including on how
                                                                             offenders, which was the third year the government implemented these
the pandemic may have increased forced labor risks in supply chains,
                                                                             legal authorities. In addition, authorities provided 132 notiﬁcations to
to assist businesses with the implementation of the act’s requirements.
                                                                             foreign law enforcement regarding traveling Australian and foreign
In addition, the government conducted 34 educational engagements
                                                                             national child sex offenders. The government did not make efforts to
with businesses to support the understanding and completion of the
                                                                             reduce the demand for commercial sex acts within Australia.
act’s requirements. However, observers noted the act provided no
ﬁnancial penalty to companies for non-compliance and a majority of
                                                                             TRAFFICKING PROFILE
companies that did report failed to fully address the mandatory reporting
                                                                             As reported over the past ﬁve years, human traffickers exploit domestic
requirements of forced labor risks in their supply chains; an NGO analyzed
                                                                             and foreign victims in Australia, and traffickers exploit victims from
102 company statements published in the ﬁrst reporting cycle of the
                                                                             Australia abroad. Traffickers primarily exploit women and men in
Modern Slavery Act and found that less than a third of companies took
                                                                             forced labor and, to a lesser extent, women and girls in sex trafficking.
action to address modern slavery risks in their supply chains. Several
                                                                             Traffickers exploit a small number of children, primarily teenage
NGOs urged the government to strengthen its enforcement framework
                                                                             Australian and foreign girls, in sex trafficking within the country. Some
of the act and require companies to take steps to prevent forced labor.
                                                                             women from Asia and, to a lesser extent, Eastern Europe and Africa

                                                                                                                               Haiti AR_000578                97
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 203 of 729
AUSTRIA   migrate to Australia to work legally or illegally in a number of sectors,   government provided assistance to more victims and provided funding
          including commercial sex. After their arrival, traffickers compel some      to an NGO to launch a mentorship program for trafficking survivors.
          of these women to enter or remain in commercial sex in both legal           Finally, the government adopted a new national action plan (NAP)
          and illegal commercial sex establishments, as well as massage parlors       and created an awareness campaign for those ﬂeeing Russia’s war on
          and private apartments. Traffickers hold some foreign women—and             Ukraine. Although the government meets the minimum standards, the
          sometimes girls—in captivity and exploit them through physical and          government prosecuted fewer traffickers, and gaps remained in the
          sexual violence and intimidation, manipulate them through illegal drugs,    identiﬁcation of victims among vulnerable populations, including children
          and force them to pay off unexpected or inﬂated debts. Traffickers          and asylum-seekers. The government did not maintain a standardized
          attempt to evade authorities by allowing victims to carry their passports   law enforcement database on investigations, prosecutions, convictions,
          while in commercial sex establishments and frequently moving the            and sentencing.
          victims to different locations to prevent them from establishing
          relationships with civil society or other victims. Traffickers isolate
          foreign women and girls from Australian women to inhibit information                 AUSTRIA TIER RANKING BY YEAR
          sharing about rights, regulations, and work standards in commercial sex          1
          establishments; foreign women and girls are likely uninformed about              2
          legal commercial sex laws and regulations and are more vulnerable to           2WL
          exploitation. Some victims of sex trafficking and some women who
                                                                                           3
          migrate to Australia for arranged or forced marriages are exploited                     2015     2016      2017     2018   2019   2020   2021    2022
          by their husbands or families in domestic servitude. Unscrupulous
          employers and labor agencies exploit some men and women from
          Asia and several Paciﬁc Islands who are recruited to work temporarily
          in Australia to forced labor in agriculture, cleaning, construction,        PRIORITIZED RECOMMENDATIONS:
          hospitality and tourism, and domestic service. An investigation by the      Thoroughly investigate and prosecute alleged traffickers and sentence
          Fair Work Ombudsman found that some fraudulent foreign contracting          convicted traffickers to adequate penalties, which should involve
          companies exploit farm workers in bonded labor. There are reported          signiﬁcant prison terms, consistent with those imposed for other
          cases of forced labor and other forms of exploitation in the agriculture    serious crimes such as rape. • Increase efforts to identify victims among
          and horticulture sectors, where victims (often foreign migrants and         vulnerable groups—including children, asylum-seekers, and individuals
          often from Asia) are threatened against leaving their jobs or seeking       in commercial sex—and ensure all victims have access to services. •
          help. Traffickers may exploit temporary migrants, including individuals     Strengthen the protection system for children, including by ensuring
          on working holiday visas, and international students in forced labor,       each unaccompanied child is quickly appointed a guardian, to prevent
          especially when based in remote regions with limited access to              trafficking among this vulnerable population. • Increase efforts to
          support. Some identiﬁed victims are foreign citizens on student visas       identify victims of labor trafficking, such as by expanding training to help
          who pay signiﬁcant placement and academic fees. Unscrupulous                front-line responders recognize indicators of labor trafficking, including
          employers may coerce students to work in excess of the terms of             subtle means of fraud or coercion. • Strengthen efforts to guarantee
          their visas, making them vulnerable to trafficking by exploiting fears      effective access to compensation for victims, including by enforcing court
          of deportation for immigration violations. Migrant workers may have         compensation orders. • Uniformly apply the non-punishment provision
          a lack of awareness of Australian workplace laws, access to health          for unlawful acts traffickers compel victims to commit and codify in
          care, legal protections available to the domestic workforce, and            law the non-punishment of victims. • Standardize the government law
          support due to volatile employment and uncertain visa conditions,           enforcement database on investigations, prosecution, convictions,
          as well as language barriers; they are more vulnerable to trafficking.      and sentencing to include all cases of trafficking and disaggregate
          Some foreign diplomats allegedly exploit domestic workers in forced         information on convictions and sentencing where defendants have
          labor in Australia. Changes in 2019 to entitlements for diplomats in        committed multiple crimes. • Appoint an independent national anti-
          Australia may slightly reduce the overall number of foreign domestic        trafficking rapporteur.
          workers in the country. Instances of forced labor in domestic service are
          sometimes undetected or unacknowledged by authorities and thus not
                                                                                      PROSECUTION
          captured in official statistics. Some ﬁshing vessels that transit or dock
                                                                                      The government maintained law enforcement efforts. Article 104a
          at Australian ports use physical abuse to force men to perform labor.
                                                                                      of the criminal code criminalized sex trafficking and labor trafficking
          Victims of domestic servitude in Australia work in extremely isolated
                                                                                      and prescribed penalties of six months to ﬁve years’ imprisonment for
          circumstances with little to no oversight or regulation. Asylum-seekers,
                                                                                      offenses involving an adult victim and one to 10 years’ imprisonment
          detained for attempting to reach Australia by sea or waiting in country
                                                                                      for those involving a child victim. These penalties were sufficiently
          for application decisions, may have increased vulnerability to forced
                                                                                      stringent and, with respect to sex trafficking, commensurate with those
          labor or sex trafficking due to displacement, economic instability, and
                                                                                      prescribed for other serious crimes, such as kidnapping. Authorities
          lack of access to basic resources and community support networks.
                                                                                      also prosecuted sex trafficking under Article 217, which criminalized all
          Reports show heightened risks of child sexual exploitation, some of
                                                                                      transnational prostitution and prescribed penalties of one to 10 years’
          which may be child sex trafficking, which may be due to pandemic-
                                                                                      imprisonment when a trafficker induced a foreign national to engage
          related economic impacts. A small number of Australian residents
                                                                                      in prostitution by force, fraud, or coercion. The government conducted
          may facilitate and engage in commercial sex and child sex tourism
                                                                                      61 investigations involving at least 94 suspects under Article 104a,
          abroad, including in Thailand.
                                                                                      compared with 61 investigations involving at least 102 suspects in 2020.
                                                                                      The government initiated prosecutions under Article 104a against three
                                                                                      defendants and continued seven ongoing prosecutions, compared with
                                                                                      13 total prosecutions in 2020. Courts convicted ﬁve traffickers under
           AUSTRIA: TIER 1                                                            Article 104a, compared with four in 2020. The government prosecuted
                                                                                      16 defendants and convicted seven under Article 217, but it did not
          The Government of Austria fully meets the minimum standards for the         specify how many involved trafficking crimes. In contrast to the Austrian
          elimination of trafficking. The government continued to demonstrate         court register, the government statistics agency classiﬁed multi-offense
          serious and sustained efforts during the reporting period, considering      convictions by the crime that carried the most severe punishment; some
          the impact of the COVID-19 pandemic on its anti-trafficking capacity;       trafficking crimes may have been recorded as other offenses. The most
          therefore Austria remained on Tier 1. These efforts included establishing   recent data on prison sentences published by the government statistics
          comprehensive guidelines on victim identiﬁcation and referral procedures    agency was from 2020, when courts sentenced three traffickers under
          for a wide range of stakeholders, including health and social service       Article 104a to terms of imprisonment ranging from two to three years.
          providers, and asylum and immigration authorities. Moreover, the            Additionally, under Article 217, courts convicted three traffickers to

 98                                                                                                                                   Haiti AR_000579
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 204 of 729




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sentences ranging from fully suspended to three years’ imprisonment.             victims for indicators of trafficking and referred identiﬁed victims to
Despite the lack of comprehensive data for 2021, individual case reports         NGOs for assistance. The government maintained a separate national
provided some sentencing information. In April 2021, a court convicted           referral mechanism to identify and refer child trafficking victims. Law
two traffickers to seven and eight years’ imprisonment on sex trafficking        enforcement agencies intensiﬁed efforts to monitor social media
charges for forcing a relative into commercial sex, and in October 2021,         platforms to identify sex trafficking victims. Pandemic lockdowns
a court convicted a trafficker to three years’ imprisonment for exploiting       between November 2020 and May 2021 and between November and
foreign workers for labor at an iron forging company.                            December 2021 hampered victim identiﬁcation efforts, particularly the
                                                                                 identiﬁcation of trafficking victims in the legal commercial sex industry,
The Federal Crime Office’s (FCO) human trafficking and smuggling
                                                                                 as the industry moved increasingly online and underground.
service led the government’s efforts to investigate trafficking crimes
and coordinated joint investigations with foreign law enforcement                The government allocated €1.47 million ($1.67 million) to specialized
when necessary. In December 2021, the FCO human trafficking and                  anti-trafficking NGOs to provide shelter, services, and legal support to
smuggling service launched a restructuring process to include in its             victims in 2021, compared with €1.43 million ($1.62 million) in 2020.
mandate social security fraud and illegal gambling cases, in an effort to        Government funding accounted for the bulk of support for these
enhance coordination of cases involving all of these often interrelated          organizations. Government-funded NGOs provided shelter, medical and
crimes. Many public prosecutors’ offices had specialized anti-trafficking        psychological care, legal assistance, and German language classes to
divisions, and some courts had specialized judges. Although the judicial         adult victims, including specialized services for victims with disabilities.
system was fully functioning, courts had occasional difficulties securing        Foreign victims had the same access to services as domestic victims. One
witness testimonies due to COVID-19 travel restrictions. An international        government-funded NGO reported it increased tailored assistance for
organization expressed concern that authorities were sometimes                   women with disabilities and transgender women and girls, offered victims
confused about whether to charge a suspected trafficker under Article            the option of private accommodations, and launched a mentorship
104a or Article 217, as the transnational prostitution statute pre-dated         program for survivors. The city of Vienna funded a government-run
the trafficking law but still applied to trafficking crimes. The international   center for unaccompanied migrant children, including child trafficking
organization noted this confusion could lead to gaps in data collection,         victims, offering legal, medical, psychological, social, and language
including with respect to data on victim identiﬁcation. The government           assistance; the center reported it did not provide assistance to any
continued to jointly investigate cases with other government or law              child trafficking victims in 2021. The government’s anti-trafficking task
enforcement entities. In June 2021, Austrian law enforcement arrested            force published annual guidelines on child victim identiﬁcation and
seven suspected traffickers and identiﬁed 22 victims during Europol-led          continued distributing brochures on children’s rights. An NGO reported
police operations focused on labor exploitation.                                 that out of 5,770 unaccompanied children who applied for asylum in
                                                                                 2021, 4,489 (78 percent) went missing; observers noted these missing
The government, assisted by an NGO, provided specialized training to
                                                                                 children were highly vulnerable to trafficking and recommended the
authorities, including law enforcement, border control, labor inspectors,
                                                                                 government assign a guardian to unaccompanied children immediately
and diplomatic, consular, and judicial personnel. Law enforcement
                                                                                 upon identiﬁcation. In January 2022, the Ministry of Interior submitted
officials received mandatory training on trafficking as part of their basic
                                                                                 for inter-ministerial review a comprehensive concept for a national
training and had opportunities for additional training and seminars
                                                                                 center for child trafficking victims. The government provided training to
throughout their careers. The FCO conducted a training for ﬁnance police,
                                                                                 NGOs working with migrants and asylum-seekers to help them identify
customs, and revenue authorities focused on traffickers’ exploitation of
                                                                                 trafficking victims among these groups. The government funded NGOs
victims to fraudulently collect government social security funds. The
                                                                                 to provide training on victim identiﬁcation for law enforcement, labor
FCO continued efforts to train law enforcement on digital methods
                                                                                 inspectors, detention and asylum center authorities, border control,
of combating trafficking in response to a rising trend in traffickers’
                                                                                 revenue officials, and military, diplomatic, and consular personnel. The
use of social media and online recruitment. National and provincial
                                                                                 FCO created online consultation hours for police officers with trafficking
authorities cooperated with authorities from other countries, including
                                                                                 specialists to further improve law enforcement identiﬁcation efforts
neighboring EU countries, to investigate and prosecute trafficking
                                                                                 and developed short videos for police officers describing the crime of
cases. In 2021, the government requested mutual legal assistance in 28
                                                                                 trafficking and distinguishing it from human smuggling.
cases and executed 16 requests for mutual legal assistance from foreign
officials, whereas in 2020 there were 50 cases and 16 executed requests.         The law provided for the protection of victims’ rights during criminal
Authorities reported no new cases of forced labor in foreign diplomatic          proceedings. NGOs were permitted to accompany victims to hearings
households; the government did not report the status of an ongoing               and interviews. Courts provided trauma-informed methods for presenting
case from 2019. The government did not report any investigations,                evidence and testimony when victims needed protection from traffickers
prosecutions, or convictions of government employees complicit in                during the investigation and prosecution phases. Victim protection
human trafficking crimes.                                                        procedures granted victims a 30-day reﬂection period to decide whether
                                                                                 to assist in the prosecution of their traffickers; some NGOs reported
PROTECTION                                                                       concerns about inconsistencies in the reﬂection period and noted victims
The government increased protection efforts. The government’s victim             were not always informed of this right. Victims’ access to services was
identiﬁcation statistics were the same as the number of victims that             not dependent on their willingness to participate in the criminal process.
received services during the year. One government-funded NGO reported            Ministry of Justice (MOJ)-funded NGOs provided psycho-social and legal
it provided services to 334 female victims and their children in 2021 (314 in    assistance during criminal proceedings to approximately 110 trafficking
2020), of whom police referred 75 victims (24 men and 51 women). Some            victims in 2021, compared with 150 in 2020. The provision of legal aid
of these victims may have been children, as the organization provided            was constrained by gaps in the identiﬁcation of victims; experts noted
assistance to women and girls ages 15 years and older. Another NGO,              cases in which victims were not properly identiﬁed and therefore unable
which provided government-funded services for male victims, reported             to access specialized legal assistance. Foreign trafficking victims from
assisting 61 victims in 2021 (62 in 2020). While the majority of victims         outside the EU had the right to temporary residency, with possible
were foreign nationals, the government identiﬁed 42 Austrian victims             annual extensions, which allowed access to employment; victims from
in 2021, an increase compared with 13 in 2020. Although identiﬁcation            EU member states did not require residence permits. The government
statistics did not disaggregate labor and sex trafficking cases, the majority    granted nine residence permits and extended 13 permits to trafficking
of identiﬁed victims were exploited in sex trafficking. Experts noted,           victims in 2021, compared with seven new permits and 18 extensions in
however, that the relatively low number of identiﬁed forced labor cases          2020. Victims who chose to return to their country of origin received
with foreign national victims could be attributed to authorities’ failure        repatriation assistance from government-funded NGOs.
to recognize labor trafficking indicators rather than to low prevalence.
                                                                                 Victims could ﬁle civil suits against traffickers for damages and
The 2021-2023 NAP established comprehensive guidelines on victim
                                                                                 compensation, even in the absence of a criminal prosecution, and could
identiﬁcation and referral procedures for a wide range of stakeholders,
                                                                                 still pursue civil suits in the event of an acquittal in a criminal case. Courts
including health and social service providers, and asylum and immigration
                                                                                 could award restitution upon criminal conviction; in 2021, courts awarded
authorities. Authorities used guidelines and checklists to screen potential
                                                                                 restitution to nine victims in trafficking cases, compared with eight in
                                                                                                                                     Haiti AR_000580                 99
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 205 of 729
AUSTRIA   2020. Experts expressed concern that access to compensation and               a 24-hour trafficking hotline with interpretation available in multiple
          restitution remained rare in trafficking cases; furthermore, compensation     languages. The hotline received 650 calls and emails in 2021; the
          awards were unevenly enforced, as it was the victim’s responsibility          government reported these calls led to numerous investigations and
          to enforce the order through a claim with legal authorities. NGOs also        the identiﬁcation and referral of victims.
          documented cases where compensation was stalled by the return of the
                                                                                        The foreign ministry continued efforts to prevent trafficking among
          victim to their home country. The government continued to include the
                                                                                        employees of foreign diplomatic households by holding events to inform
          topic of victim compensation in its trainings and seminars for prosecutors
                                                                                        them of their rights and by requiring them to obtain identiﬁcation cards
          and judges, and the MOJ increased its cooperation with the Ministry of
                                                                                        in person. The government continued partnering with neighboring
          Finance to improve law enforcement’s access to ﬁnancial information;
                                                                                        governments and regional organizations to combat transnational
          prosecutors can use the information to obtain judicial orders needed
                                                                                        trafficking; the FCO continued programs with the People’s Republic of
          for seizing assets, which can be awarded to victims as compensation in
                                                                                        China (PRC) and Nigeria to combat cross-border trafficking and improve
          judicial criminal proceedings. Authorities forgave administrative ﬁnes
                                                                                        and expand joint investigations and, in January 2022, established an
          for illegal commercial sex or immigration violations if the individual
                                                                                        exchange program with Romanian police to increase coordination on
          was found to be a victim of trafficking. However, authorities may have
                                                                                        human smuggling and trafficking cases, with a focus on cases involving
          detained unidentiﬁed victims due to gaps in victim identiﬁcation.
                                                                                        Romanian citizens forced into begging. The government provided funding
          Observers noted courts did not consistently apply the non-punishment
                                                                                        for projects to combat trafficking in a range of countries in the EU and
          provision for identiﬁed victims and cited the lack of a speciﬁc legal
                                                                                        Africa, as well as Cambodia and Nicaragua, and signed an agreement with
          provision on the non-punishment of victims of trafficking. Experts
                                                                                        Israel on combating cybercrime, including combating human trafficking
          noted gaps in the government’s referral process for suspected cases
                                                                                        and sexual exploitation of children. The government maintained efforts
          of exploitation among asylum-seekers; some migrants who showed
                                                                                        to reduce the demand for commercial sex acts by continuing to distribute
          signs of trafficking may have been sent to other countries in the EU
                                                                                        awareness materials to the public on the possibility of sex trafficking in
          without receiving services due to the government’s enforcement of EU
                                                                                        commercial sex. The government also continued efforts to reduce the
          regulations on asylum-seekers.
                                                                                        demand for participation in international sex tourism by its citizens by
                                                                                        training law enforcement and raising awareness among travel agencies
          PREVENTION                                                                    and the broader public. The government continued to enforce public
          The government modestly increased efforts to prevent trafficking. A
                                                                                        procurement guidelines for the elimination of labor trafficking in the
          national anti-trafficking task force led the government’s efforts and
                                                                                        purchase of goods and services. In June 2021, the government completed
          included representatives from federal ministries, provincial governments,
                                                                                        a project to analyze the use of tools and initiatives to counter trafficking in
          NGOs, business and labor interest groups, and civil society. The task
                                                                                        international supply chains; the government used the results for training
          force met four times and included working groups to address issues of
                                                                                        purposes and as part of new procurement guidelines. The 2021-2023
          particular concern, including child trafficking, labor exploitation, and
                                                                                        NAP prioritized combating forced labor in supply chains.
          non-punishment of victims. The working group on labor exploitation
          created informational material for foreign childcare workers to increase
                                                                                        TRAFFICKING PROFILE
          their knowledge of their rights. The government adopted the 2021-
                                                                                        As reported over the past five years, human traffickers exploit
          2023 NAP in July 2021. Civil society representatives who were not
                                                                                        predominantly foreign victims in Austria, although traffickers also
          official members of the task force were periodically invited to attend
                                                                                        exploit domestic victims. Traffickers exploit women and girls from Austria,
          task force meetings, and regional human rights coordinators covering
                                                                                        Eastern Europe (especially Bulgaria, Hungary, Romania, Serbia, and
          anti-trafficking issues were regularly represented on the task force.
                                                                                        Slovakia), Southeast Asia, the PRC, Nigeria, and South America in sex
          The government did not publish its ﬁnalized implementation report
                                                                                        trafficking. More than 95 percent of identiﬁed victims are foreign women
          assessing its progress in combating trafficking under its 2018-2020
                                                                                        subjected to sex trafficking, and approximately 65 percent of trafficking
          NAP. A senior foreign ministry official headed the task force and served
                                                                                        victims come from EU member states. An increasing number of men,
          as the national anti-trafficking coordinator; Austria did not have an
                                                                                        transgender, and transsexual persons are identiﬁed as sex trafficking
          independent anti-trafficking rapporteur to evaluate the effectiveness
                                                                                        victims. Traffickers exploit women from Nigeria and the PRC in sex
          of government efforts.
                                                                                        trafficking in massage parlors and brothels; many of the Nigerian victims
          The government organized and funded public awareness events                   arrive in Austria as asylum-seekers. Traffickers use the lack of protections
          and programs, including a hybrid virtual and in-person conference             and stigmas of the commercial sex industry to exploit Austrian women
          for approximately several hundred participants from civil society,            in sex trafficking. Sex trafficking is concentrated in urban areas but
          international organizations, and members of the diplomatic and consular       also occurs in smaller towns. Traffickers working in well-developed
          corps; the conference highlighted traffickers’ use of illicit ﬁnancial ﬂows   networks recruit sex trafficking victims with fraudulent offers of
          and stressed the importance of providing fair compensation to victims. In     employment in restaurants and domestic service or by posing as potential
          March 2022, the government initiated a prevention campaign targeting          romantic partners. Traffickers increasingly use online recruitment and
          refugees ﬂeeing Ukraine; the government created posters in English            advertisements to lure victims, a phenomenon accelerated by the
          and Ukrainian with the trafficking hotline number to distribute at rail       pandemic. Most traffickers are Austrian men or men from the same
          and bus stations and reception centers. The government also continued         country as their victim; many are members of international organized
          its program to raise awareness in schools, subsidized anti-trafficking        crime groups. Observers note labor trafficking is increasing. Traffickers
          publications and television programming, and funded outreach activities       exploit men and women from Eastern Europe, Southeast Asia, and the
          to individuals in commercial sex. In December 2021, a government-funded       PRC in forced labor, primarily in restaurants, construction, agriculture,
          NGO launched online awareness-raising activities targeting potential          health care, transportation, and domestic service, including in diplomatic
          foreign childcare workers. The government and government-funded               households. Seasonal migrant workers are especially vulnerable to labor
          NGOs continued outreach activities to migrant workers, including              trafficking, particularly during the harvest seasons. Traffickers exploit
          undocumented workers and trained labor inspectors on trafficking              children, persons with physical and intellectual disabilities, and Roma
          indicators. Authorities required a quality certiﬁcate for agencies            in forced begging. Children, especially Romani girls, are also exploited
          employing nursing care personnel to prevent them from engaging in             in forced criminality. Traffickers use Austria as a transit point to move
          labor exploitation. Observers noted the labor inspectorate’s mandate          victims to other European countries. Unaccompanied children, many of
          was limited to addressing health and safety conditions, which they            whom go missing each year, are vulnerable to trafficking. As of March
          claimed hindered inspectors’ ability to respond to other exploitative         2022, more than 175,000 refugees from Ukraine, predominantly women
          work conditions; however, Austrian authorities stated human trafficking       and children, have crossed the Austrian border seeking sanctuary;
          and labor exploitation are now required components of inspectors’ basic       approximately 10,000 of these refugees have remained in Austria and
          training and inspectors were required to report suspected cases to police.    are vulnerable to trafficking.
          Austrian embassies and consulates in source countries informed visa
          applicants of the potential dangers of trafficking. The FCO operated

 100                                                                                                                                   Haiti AR_000581
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 206 of 729




                                                                                                                                                                 AZERBAIJAN
                                                                                defendants from previous years. Courts convicted 16 traffickers, compared
 AZERBAIJAN: TIER 2                                                             with 15 traffickers in 2020; 14 for sex trafficking and two for forced
                                                                                labor. Judges continued to issue stronger sentences with 14 traffickers
The Government of Azerbaijan does not fully meet the minimum                    receiving imprisonment of seven to 10 years. Judges also issued fewer
standards for the elimination of trafficking but is making signiﬁcant           suspended sentences; one trafficker received a suspended sentence, and
efforts to do so. The government demonstrated overall increasing efforts        another received probation, compared with three traffickers receiving
compared with the previous reporting period, considering the impact             suspended sentences in 2020, 28 in 2019, and 20 in 2018. Officials
of the COVID-19 pandemic on its anti-trafficking capacity; therefore            reported judges issued suspended sentences to traffickers due to the
Azerbaijan was upgraded to Tier 2. These efforts included convicting            “2018 decree on humanization of punishment,” which required judges to
slightly more traffickers and continuing to issue more signiﬁcant               issue more alternative punishments to imprisonment; however, in 2020,
sentences and fewer suspended sentences than in previous years. The             the government disseminated additional guidelines clarifying the decree
government increased victim protection efforts, including identifying           did not include trafficking. Courts conducted virtual proceedings due
more victims and increasing funding toward victim assistance and                to the pandemic and prioritized serious crimes, including trafficking,
the Ministry of Internal Affairs (MIA)-run anti-trafficking shelter. The        but as a result, courts required more time to process cases.
government amended laws to expand victim identiﬁcation efforts to               The MIA maintained an Anti-Trafficking Department (ATD) that
include the State Migration Service (SMS) and measures to prevent               investigated most trafficking cases. Authorities often failed to recognize
revictimization of foreign national victims. However, the government did        psychological coercion as a means of control or required a transnational
not meet the minimum standards in several key areas. The government             element for trafficking, which led to internal sex trafficking cases
investigated and prosecuted fewer suspects and lacked proactive                 reclassiﬁed as lesser offenses. In previous years, GRETA and international
identiﬁcation efforts, particularly for Azerbaijani victims of internal         organizations reported most investigations were reactive and lacked
trafficking and victims of forced labor. While the MIA funded repairs for       corroborative evidence for victim testimony; law enforcement noted
an NGO-run shelter and funded another NGO-run shelter to buy land               standard procedures required a complaint from a victim to initiate
for a new shelter, the government allocated fewer resources to NGOs,            an investigation, which hindered the ability to conduct proactive
including operational costs for NGO-run shelters. The government                investigations. The government did not report any investigations,
continued its moratorium on scheduled and unannounced labor                     prosecutions, or convictions of government employees complicit in
inspections through 2022.                                                       human trafficking crimes. The government trained police, prosecutors,
                                                                                judges, attorneys, and SMS officials on various anti-trafficking issues.
                                                                                The government provided information to INTERPOL but did not provide
         AZERBAIJAN TIER RANKING BY YEAR
     1
                                                                                information on international investigations or extraditions. The European
                                                                                Court on Human Rights ruled in October 2021 that the government did
     2
                                                                                not effectively investigate forced labor claims by migrant workers in
   2WL                                                                          2009 and ordered the government to pay €5,000 ($5,670) to each of
     3                                                                          the 33 Bosnian victims that ﬁled the case.
            2015     2016      2017        2018   2019   2020   2021   2022
                                                                                PROTECTION
                                                                                The government increased victim protection efforts. The government
                                                                                officially identiﬁed 95 victims, compared with 94 in 2020; 94 were adult
PRIORITIZED RECOMMENDATIONS:                                                    female sex trafficking victims and one was an adult male victim of forced
Vigorously investigate, prosecute, and convict traffickers. • Sentence          labor; none were foreign victims. The government lacked proactive
convicted traffickers to adequate penalties, which should involve               identiﬁcation efforts for Azerbaijani victims of internal trafficking,
signiﬁcant prison terms. • Increase proactive identiﬁcation efforts,            and as a result, most officially identiﬁed victims were Azerbaijani
particularly for internal trafficking, forced labor, and child trafficking. •   victims identiﬁed in destination countries or foreign victims exploited
Increase and allocate adequate funding to NGO-run shelters providing            in Azerbaijan. Officials identiﬁed one Azerbaijani victim of internal
victim support services. • Develop and implement standard operating             trafficking (eight in 2020). The government did not report information
procedures (SOPs) and indicators for screening trafficking victims and          on children and parents “involved in begging for the purpose of helping
train officials on screening for trafficking among individuals in commercial    their parents” in 2021 or 2020, but observers reported police declined
sex, migrants, children begging, and other at-risk populations. • Train         to investigate potential forced child begging cases and returned most
investigators, prosecutors, and judges on victim-centered approaches to         children to their parents without investigating the role of the family
trafficking cases, including for children, and provide advanced training        in the children’s exploitation, leaving these children vulnerable to
on trafficking investigations and prosecutions. • Lift the moratorium on        further harm. The government had SOPs for victim identiﬁcation and
scheduled and unannounced labor inspections.• Strengthen the capacity           amended a law to formally expand victim identiﬁcation efforts to include
of the Labor Inspectorate to identify and refer victims of forced labor.        the SMS. The government trained law enforcement, social workers,
• Adopt and implement speciﬁc procedures to protect potential child             psychologists, and shelter staff on victim identiﬁcation. However, ﬁrst
victims, including identiﬁcation and referral procedures, indicators,           responders, including law enforcement, immigration, and social services
and interview questions. • Train judges on restitution in criminal cases        personnel, were either unaware of the procedures or did not consistently
and inform all identiﬁed victims of their right to pursue compensation          follow or understand them, and observers continued to report the
and encourage them to do so. • Allow victims to enter MIA-run shelters          lack of screening of vulnerable populations for trafficking indicators,
and receive services while they are seeking all required documents.             including women, children, LGBTQI+ persons in commercial sex, and
                                                                                foreign migrant workers. Additionally, the government lacked policies
PROSECUTION                                                                     tailored to children, such as interview questions, indicators, and referral
The government maintained prosecution efforts. The 2005 Law on the              procedures. SOPs required ﬁrst responders to refer potential victims
Fight against Trafficking in Persons and Article 144-1 of the criminal          within 24 hours to ATD, which officially identiﬁed victims based on an
code criminalized sex trafficking and labor trafficking and prescribed          investigation. NGOs and the government provided support services to
penalties of ﬁve to 10 years’ imprisonment for offenses involving adult         some potential victims; however, individuals without official recognition
victims and eight to 12 years’ imprisonment for offenses involving              did not receive the one-time government-provided allowance and did not
child victims. These penalties were sufficiently stringent and, with            have the ability to bring a civil claim against the alleged traffickers. Civil
respect to sex trafficking, commensurate with those prescribed for              society referred 15 potential victims to ATD in 2021; however, only one of
other serious crimes, such as rape. Law enforcement investigated 15             the potential victims was determined by ATD to be a trafficking victim.
cases with 14 suspects, compared with 18 cases with 20 suspects in
                                                                                The government allocated 124,700 manat ($73,350) for victim assistance,
2020; 14 were sex trafficking cases and one was a forced labor case.
                                                                                compared with 119,000 manat ($70,000) for victim assistance in 2020.
The government prosecuted 16 new defendants, compared with 21
                                                                                The government also allocated 124,700 manat ($73,350) to the MIA-run
defendants in 2020. The government continued to prosecute three
                                                                                                                                   Haiti AR_000582               101
                   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 207 of 729
BAHAMAS, THE   shelter, compared with 113,346 manat ($66,670) in 2020. The State            consider trafficking as a high priority, it highlighted good communication
               Support Agency to NGOs allocated 151,500 manat ($89,120) to fund             with ATD, including responsiveness to recommendations and concerns.
               11 NGO projects but diverted approximately 32,500 manat ($19,120)            The ATD recognized 16 NGO leaders with monetary awards of 1,000
               toward pandemic mitigation efforts, compared with 172,000 manat              manat ($590) for their anti-trafficking efforts in 2021 and 2020. ATD
               ($101,180) for 19 NGO projects in 2020. This included 19,200 manat           allocated 20,000 manat ($11,760) to an NGO to create a documentary
               ($11,290) for operational costs for two NGO-run shelters, a decrease         on trafficking, and the government organized awareness campaigns
               compared with 30,000 manat ($17,650) in 2020. However, MIA funded            targeting students and the public and distributed brochures on the risks
               repairs and improved roads for one NGO-run shelter and allocated             of trafficking to citizens traveling abroad and foreigners coming into
               30,000 manat ($17,650) for the other NGO-run shelter to buy land to          Azerbaijan. The government funded an NGO to conduct research on
               build a new shelter. Government funding overall was still inadequate         forced labor in agriculture and publicly released an annual assessment
               for NGO-run shelters, which remained severely underfunded, and               of the country’s anti-trafficking efforts, including prosecution data and
               restrictive legislation governing foreign grants limited NGOs’ ability       protection efforts. ATD operated a trafficking hotline, which received
               to receive funding from external donors. Many NGO-run shelter staff          4,506 calls (5,705 calls in 2020); however, the calls did not initiate
               who provided support services worked on a voluntary basis. The MIA           any trafficking investigations compared with calls helping identify 10
               operated a shelter for trafficking victims, which provided accommodation,    victims and initiating three investigations in 2020. The government
               ﬁnancial assistance, legal assistance, and medical and psycho-social         did not make efforts to reduce the demand for commercial sex acts.
               support. The MIA-run shelter had separate areas for women, men,              A presidential decree in 2015 prevented the Labor Inspectorate from
               and children but limited freedom of movement and required victims            conducting spontaneous employment inspections, which restricted
               to submit an application to leave the shelter. The MIA-run shelter also      proactive investigations and victim identiﬁcation efforts. In 2021, the
               accommodated potential victims for up to one month, but longer               government extended its moratorium on scheduled and unannounced
               stays required victims to cooperate with law enforcement; 90 officially      labor inspections through 2022. Although inspectors were permitted to
               recognized victims and one potential victim received support at the          request information from employers and relevant employees in order
               shelter (80 officially recognized victims and one potential victim in        to investigate complaints, complaint response did not include worksite
               2020). The MIA-run shelter provided the only accommodation for male          inspections. The Ministry of Labor and Social Protection reported it
               victims. The government provided a resettlement allowance of 700             investigated 1,508 labor violations, compared with 8,512 in 2020; the
               manat ($410) for officially recognized victims; all officially identiﬁed     government did not report whether any cases were investigated for
               victims received the resettlement allowance. Victim Assistance Centers       forced labor.
               (VACs) in Baku and Goychay provided legal, psychological, medical,
               and employment assistance to officially recognized and potential             TRAFFICKING PROFILE
               victims; VACs assisted 52 officially recognized victims and 18 potential     As reported over the past ﬁve years, human traffickers exploit domestic
               victims (32 officially recognized victims in 2020). The government           and foreign victims in Azerbaijan, and traffickers exploit victims from
               also assisted in enrolling 28 officially recognized victims in vocational    Azerbaijan abroad. Traffickers exploit Azerbaijani men and boys in
               courses, supported 11 with ﬁnding employment, and reunited 56 with           forced labor within the country and in Qatar, Russia, Turkey, and the
               their families. Observers reported low pay for VAC employees led to          United Arab Emirates (UAE). Traffickers exploit women and children
               high staff turnover and decreased service quality due to inexperienced       from Azerbaijan in sex trafficking within the country and in Iran, Malaysia,
               staff assisting victims. In previous years, the government awarded some      Pakistan, Qatar, Russia, Turkey, and the UAE. Traffickers exploit victims
               contracts to organizations with no experience and jeopardized victim         from the People’s Republic of China, Russia, Tajikistan, Turkmenistan,
               safety and assistance quality. The government referred 89 victims to         Ukraine, and Uzbekistan in both sex trafficking and forced labor. In
               NGO-run shelters (80 in 2020). SMS assisted two foreign national victims     previous years, Azerbaijan has been used as a transit country for victims
               to obtain a temporary residence permit (none in 2020).                       of sex and labor trafficking from Central Asia to Iran, Turkey, and the
                                                                                            UAE. Within the country, some children are exploited in forced begging
               Observers reported law enforcement’s attitude toward victims improved,
                                                                                            and forced labor as roadside vendors and at tea houses and Wedding
               but authorities may have penalized sex trafficking victims with
                                                                                            facilities. Oil workers are vulnerable to forced labor with lengthy shifts
               administrative ﬁnes for alleged “prostitution” crimes due to an absence
                                                                                            and allegations of labor violations, including withheld wages and annual
               of screening efforts. In previous years, an international organization
                                                                                            leave. In 2018, there were isolated reports that local officials mobilized
               referred foreign migrant workers who displayed indicators of trafficking,
                                                                                            and forced some public-sector employees to participate in the autumn
               but ATD did not recognize any as a victim, and authorities subsequently
                                                                                            cotton harvest. However, civil society and government officials reported
               deported some. Authorities did not use victim-witness protection
                                                                                            no instances of forced labor in the 2021 and 2020 cotton harvest due to
               measures for trafficking victims. In previous years, GRETA and other
                                                                                            widespread use of affordable harvesting machinery. Low-level police
               international organizations reported prosecutors believed such measures
                                                                                            solicit bribes from individuals in commercial sex and brothels operated
               were unnecessary for trafficking victims and noted the lack of licensed
                                                                                            under the purview of district police chiefs. NGOs report increasing
               attorneys providing legal assistance to victims due to low pay. However,
                                                                                            online recruitment, including social media applications, for fraudulent
               the government reported a licensed attorney provided legal assistance
                                                                                            or suspicious jobs abroad.
               to 30 officially recognized victims in 2021. Children testiﬁed without a
               child psychologist or attorney to communicate legal terminology in a
               child-friendly manner, which may have caused further trauma to these
               children. The government amended a law to include measures to assess
               and prevent revictimization of foreign victims. Judges did not issue          BAHAMAS, THE: TIER 1
               restitution in criminal cases, and no cases were ﬁled for compensation
               in civil suits. The government reported conﬁscating property, cash,          The Government of The Bahamas fully meets the minimum standards for
               securities, and other assets from traffickers and transferring it to a       the elimination of trafficking. The government continued to demonstrate
               victim assistance fund; 16 officially recognized victims and ﬁve potential   serious and sustained efforts during the reporting period considering
               victims received ﬁnancial assistance from the fund.                          the impact of the COVID-19 pandemic on its anti-trafficking capacity;
                                                                                            therefore The Bahamas remained on Tier 1. These efforts included
               PREVENTION                                                                   convicting a trafficker, providing support for victims repatriated abroad,
               The government maintained prevention efforts. The national coordinator       making efforts to provide compensation to a victim, increasing funding
               (NC) led government-wide anti-trafficking efforts, but the lack of           for victim services, and coordinating with governments in the region on
               cooperation between agencies hindered interagency coordination.              a virtual forum to share challenges and best practices on prosecuting
               The NC managed a working group with relevant government ministries           trafficking and improving interagency collaboration. Although the
               to coordinate anti-trafficking efforts and implement the 2020-2024           government meets the minimum standards, it did not initiate any new
               National Action Plan (NAP); the working group did not meet due to the        prosecutions, identiﬁed fewer victims, and did not comprehensively
               pandemic in 2021. While civil society reported the government did not

  102                                                                                                                                    Haiti AR_000583
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 208 of 729




                                                                                                                                                             BAHAMAS, THE
implement its victim identiﬁcation protocol, especially among at-risk         worked closely with RBPF investigators to prosecute cases; they also
groups including Haitian migrants.                                            offered legal advice to the victim and the RBPF investigative team. The
                                                                              government reported police, defense, health, and immigration officials
                                                                              continued to execute the government’s trafficking response despite the
        THE BAHAMAS TIER RANKING BY YEAR                                      pandemic, including by screening potential victims. Pandemic-related
    1                                                                         lockdowns in 2020 exacerbated criminal trial delays, but the judiciary
    2                                                                         continued modernization efforts to address the backlog, including
  2WL                                                                         the digitization of records. While the government did not assign any
                                                                              courts speciﬁcally to handle trafficking cases, prosecutors brought all
    3
          2015      2016     2017      2018   2019   2020   2021    2022
                                                                              trafficking cases before the Magistrate’s and Supreme Courts. Experts
                                                                              reported concerns about excessive pretrial detention due to criminal
                                                                              justice system delays, preventing even the most serious criminal cases
                                                                              from advancing in a timely manner. Observers noted the lack of judges
PRIORITIZED RECOMMENDATIONS:                                                  and prosecutors in the country contributed to signiﬁcant backlogs in all
Increase efforts to investigate, prosecute, and convict traffickers,          cases; courts easily granted bail (due in part to prison overcrowding),
including officials complicit in sex or labor trafficking, and impose         even to defendants accused of violent crimes, and law enforcement
sufficient sentences. • Improve efforts to identify victims and refer         did not have the resources to fully uphold the law. Immigration officials
them to services, particularly among vulnerable groups, including             may have solicited Haitian migrants for bribes to prevent detention. The
underserved stateless persons, migrants and asylum-seekers from Haiti         government provided training to defense officials and law enforcement
and Venezuela, LGBTQI+ individuals, and Cuban nationals working on            on case reporting, victim and perpetrator proﬁles, methods, victim
government-sponsored programs. • Reduce delays in court proceedings.          identiﬁcation, and elements of trafficking. Due to the pandemic, the
• Train labor inspectors on trafficking, victim identiﬁcation, and referral   government conducted most anti-trafficking training virtually. The
to services. • Raise awareness of trafficking risks among vulnerable          anti-trafficking Committee participated in numerous international
groups in partnership with NGOs and provide migrants with information         meetings on trafficking, both in person and virtually, which resulted in
on trafficking and workers’ rights. • Remove a requirement for migrants       new networks for collaboration and potential future MOUs.
switching jobs to obtain a letter of release from their employer. • Take
steps to eliminate recruitment fees charged to workers by labor recruiters    PROTECTION
and ban employee-paid recruitment fees. • Provide a dedicated shelter         The government slightly increased efforts to protect victims. The
for trafficking victims. • Improve regular data collection and record         government identiﬁed one Colombian adult female sex trafficking
keeping, including prosecution statistics. • Provide victims an alternative   victim during the reporting period, compared with two victims in 2020
to speaking with law enforcement. • Provide vulnerable individuals with       and ﬁve victims in 2019. Authorities implemented a formal protocol to
trauma-informed assistance and interpretation in their language prior to,     guide front-line responders in identifying both sex and labor trafficking
during, and after screening for trafficking, including through the hotline.   victims and referring them to services. The protocol had a detailed,
• Develop, execute, and publish a robust monitoring and evaluation            victim-centered approach to the screening process, including the use
framework for anti-trafficking policies and efforts. • Provide survivors      of qualiﬁed interpreters of the same gender to assure reporting and
who have returned home the opportunity to give input on policies.             comprehension of all communication. However, observers reported
                                                                              uneven application of the protocol, especially with vulnerable populations
PROSECUTION                                                                   such as undocumented Haitian migrants and stateless children. In
The government slightly decreased law enforcement efforts. The                addition, due to a lack of training on the protocol, authorities may
Trafficking in Persons (Prevention and Suppression) Act 2008 (TIP Act)        have detained some unidentiﬁed trafficking victims. The government
criminalized sex trafficking and labor trafficking and prescribed penalties   reported it screened all migrants arriving by sea for trafficking indicators
up to life imprisonment. These penalties were sufficiently stringent, and     and screened migrants arriving by land as they came into contact with
with regard to sex trafficking, commensurate with penalties prescribed        authorities. Immigration officers referred potential victims to the RBPF
for other serious crimes, such as rape.                                       for further investigation. However, observers reported authorities did
                                                                              not use formal protocols to screen all migrants and continued to abuse
The government initiated investigation of one sex trafficking case            migrants—particularly those of Haitian descent. Authorities reported
involving two suspects, compared with 13 cases (11 for sex trafficking        screening individuals for trafficking indicators during routine checks of
and two for labor trafficking) in 2020 and 16 investigations in 2019.         nightclubs. The government did not report screening Cuban medical
The government did not initiate any new prosecutions, compared with           workers for trafficking indicators.
two prosecutions initiated in both 2020 and 2019. The government
continued prosecution of one alleged sex trafficker from a previous           Authorities provided care including rent or accommodation, food, travel
reporting period and reported another seven suspected traffickers             expenses, stipends, and school supplies and uniforms for four victims,
awaited the start of their trials. The government convicted one Bahamian      including the adult Colombian female, one Bahamian female, and two
female trafficker in December 2021 for the sex trafficking of two girl        Bahamian children. The government also repatriated the Colombian
victims under the TIP Act and other laws, the same number as in               victim. The government’s spending on trafficking victims’ care and
2020 and compared with no convictions in 2019. The Chief Magistrate           prevention activities apart from the pandemic was 48,462 Bahamian
sentenced the trafficker to penalties consistent with a plea agreement,       dollars ($48,462), compared with 41,351 Bahamian dollars ($41,351) in
including nine months and three days in prison for each of 12 counts,         the previous reporting period. The government also provided 26,930
with concurrent sentences; three years of probation and a $5,000              Bahamian dollars ($26,930) for rent and food assistance needs resulting
ﬁne; and 12 months of counseling; and it required the trafficker to give      speciﬁcally from the pandemic, compared with 47,651 Bahamian dollars
evidence in a related trafficker prosecution. The government did not          ($47,651) for the provision of such care to four victims in the previous
report any investigations, prosecutions, or convictions of government         reporting period. The government had a formal process to guide officials
officials complicit in trafficking crimes.                                    in transferring victims to governmental or non-governmental options
                                                                              for short- or long-term care.
The National Trafficking in Persons Inter-Ministerial Committee (anti-
trafficking Committee) Task Force maintained an investigative unit. The       The Department of Social Services (DSS) oversaw the support for victims
Royal Bahamian Police Force (RBPF) Missing and Exploited Section              by service providers, attorneys, and law enforcement. The Department
investigated sex and labor trafficking offenses; in addition, the RBPF had    could also provide furniture, payment of utility bills, placement in
a specialized Sexual Offenses Unit that handled sex crimes, including         school, medical care, psychological and psychiatric attention as needed,
sex trafficking. The RBPF representatives on the Task Force, who served       counseling, transportation, assistance with shopping, securing legal
as investigators, determined if there was enough evidence to pursue           documents, resumé preparation, job placement assistance, facilitation
prosecution with the Office of the Director of Public Prosecutions.           of payment of stipends, and wiring of money abroad. The government
Trained prosecutors in the Office of the Director of Public Prosecutions      provided legal aid to victims only for each victim’s trafficking case.
                                                                                                                                Haiti AR_000584              103
                   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 209 of 729
BAHAMAS, THE   Department of Health practitioners screened patients for trafficking             PREVENTION
               indicators and could refer patients for further evaluation or care. The          The government slightly increased prevention efforts. Ministry of
               government typically provided most services for victims, but NGOs                National Security officials led the government’s overall efforts to
               could also provide services to victims, including housing, food, meals           combat trafficking and chaired the anti-trafficking Committee, whose
               and water, hygiene supplies, clothing, ﬁnancial assistance, medical              membership included representatives from nine government agencies,
               and psychiatric care, and a non-threatening, neutral environment for             three NGOs, a foreign embassy as a regular observer, and the Task Force.
               authorities to conduct interviews. Authorities placed referred child             The Task Force comprised the same members and activated in response
               victims in a DSS childcare facility. The government did not have a               to individual cases; it monitored investigations and prosecutions, victim
               dedicated shelter for trafficking victims; however, the government               identiﬁcation procedures, and victim care. The TIP Committee Secretariat
               could provide accommodations to victims or refer them to an NGO for              consisted of three full-time, seconded government officials from the
               shelter. Authorities continued to place victims in NGO-managed shelters          Ministry of National Security (Chair), the RBPF, and DSS. During the
               shared with domestic violence victims. The government considered                 reporting period, the Ministry of Social Services seconded a victim
               victim preference when determining the appropriate shelter, and                  care officer to work full time with TIP Committee leadership. The TIP
               victims could choose not to reside in a shelter. The government did              Committee members worked on additional cases besides trafficking.
               not report any cases of victims with disabilities; however, the national         The TIP Committee, which continued to meet virtually every other week
               anti-trafficking budget included resources to make accommodations, if            during the pandemic, briefed the Minister of National Security weekly
               necessary. Shelters did not restrict the movements of victims, allowed           on anti-trafficking developments. The TIP Committee coordinated
               them to leave for employment, and provided advisory services. The                policy recommendations, provided advice on trafficking matters, made
               government provided services to victim-witnesses for the length of               recommendations to strengthen national anti-trafficking initiatives, and
               the trial and continued to provide services after completion of the trial        identiﬁed opportunities for training, dissemination of information, and
               until the victim was either resettled within the country or, if applicable,      public awareness. Observers noted the government did not regularly
               in the country of origin. Victims who chose to return to their country           collect data on investigations, prosecutions, and convictions and could
               of origin also received continued ﬁnancial support.                              not respond to requests for data information in a timely or coordinated
               In the previous reporting period, a court awarded a Venezuelan victim            manner. Governmental ministries, agencies, and departments had
               10,000 Bahamian dollars ($10,000) in compensation in a civil suit for the        operational specialized anti-trafficking units. The government had an
               ﬁrst time. The Task Force made multiple attempts during the reporting            anti-trafficking national action plan for 2019-2023. The government
               period to deliver the compensation payment to the Venezuelan victim in           pursued changes to policies based on input from trafficking survivors,
               cooperation with a foreign embassy and an NGO from a different foreign           including increased activities for and engagement with victims during
               country; the process was ongoing at the end of the reporting period.             investigations. Observers noted victims’ desire to return to their home
               Victim participation in trafficking investigations and prosecutions was          countries as soon as possible limited the effectiveness of these reforms.
               voluntary, though encouraged. One child victim-witness participated              The government funded anti-trafficking initiatives through the national
               in the investigation of a trafficker during the reporting period. The law        anti-trafficking budget, which was included within the Ministry of National
               granted victims immunity from prosecution. Courts closed trafficking             Security’s annual budget. The Task Force had a dedicated budget of
               trials and—as the law mandated non-disclosure of victims’ names, under           95,000 Bahamian dollars ($95,000), which was the same budget as in
               penalty of prosecution—the media could not publish the identity of a             2020 and 2019; full funding remained available during the pandemic.
               victim. Bahamian law permitted victim testimony via live television links        Funding for trafficking-related work in other ministries came from the
               and for the reading of written statements into evidence, but this did not        general budgets for those ministries or departments. The government
               happen during the reporting period. Authorities advised victims of their         did not employ any speciﬁc methodology to research and assess
               rights with respect to the law, could appoint a designated caseworker to         trafficking during the reporting year apart from information sharing
               provide support for the victim, and could provide witness protection. The        within the anti-trafficking Committee. The government participated in
               government prevented re-traumatization by limiting the scope of initial          two research projects: one in cooperation with a foreign government
               interviews and limiting contact with the trafficker. The government did          and another in cooperation with an international organization.
               not offer victims an alternative to speaking with law enforcement, such
               as social workers or NGOs. The government gave a police security detail          The Ministry of National Security maintained a dedicated English-
               for foreign victims moving to and from the airport and for victims moving        speaking trafficking hotline in operation 24 hours a day, funded by
               to and from the designated shelter, including for court appearances,             the national security budget, while an NGO had its own emergency
               during which a police officer and a DSS representative stayed with the           hotline to report all forms of physical, sexual, and emotional abuse.
               victim. The government encouraged victims returning from abroad for              Both hotlines remained fully operational during the reporting period
               participation in a trial to bring a family member with them for additional       but did not result in the identiﬁcation of any victims. The government
               support. The country lacked a visa classiﬁcation for victims of crime,           advertised the hotline through English media and some Mandarin, Creole,
               but foreign victims were entitled to the same assistance and services            and Spanish brochures placed in public spaces. The TIP Committee
               provided to Bahamian victims. Authorities did not tie beneﬁts to foreign         continued its awareness campaigns on billboards in Nassau, including
               victims’ willingness to cooperate with law enforcement or to testify in          at the international airport, along with virtual and in-person educational
               court, and the outcomes of legal proceedings did not affect victims’             campaigns and training. In July 2021, the government recognized World
               temporary immigration status. Foreign nationals had the option to remain         Day Against Trafficking in Persons through public awareness raising
               in the jurisdiction with legal status or to return to their country of origin;   activities. In May 2021, the TIP Committee, with support from a foreign
               the government reported it did not deport victims. Foreign victims who           government, organized the ﬁrst annual Regional TIP Forum (TIPCOM)
               decided to stay in the country received assistance in obtaining legal            for working-level TIP committee leaders in the Caribbean, who shared
               residency for humanitarian purposes, which included a standardized               challenges and best practices on prosecuting traffickers and improving
               certiﬁcate that resembled the asylum certiﬁcate but did not identify the         interagency collaboration, among other topics.
               holder as a trafficking victim and enabled the holder to work legally.           The constitution prohibited forced labor. Bahamian trafficking and
               However, foreign victims—particularly irregular migrants—may not have            labor laws did not explicitly prohibit charging workers recruitment
               felt comfortable enough to report crimes to law enforcement officers             fees, switching contracts, and withholding wages to compel service.
               who could identify them as victims. During the reporting period, there           The Department of Labor did not train labor inspectors on trafficking or
               were no reported cases of Bahamians being exploited in trafficking               report whether surprise inspections resulted in trafficking investigations,
               abroad, and the Bahamian government did not identify any exploited               but the trafficking screening questionnaire for labor inspectors asked
               nationals requiring funding for repatriation. The government trained             them to determine if an employee’s job situation was different from what
               DSS officials, tourism and hospitality staff, health care workers, and           was promised or expected and if payment was withheld or deducted.
               NGOs on victim identiﬁcation and care and elements of trafficking.               The government reported the Department of Immigration granted work
                                                                                                permits that were speciﬁc in nature, and that the Immigration Board
                                                                                                reviewed applications for every job over six months to prevent the

  104                                                                                                                                        Haiti AR_000585
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 210 of 729




                                                                                                                                                                BAHRAIN
issuance of unqualiﬁed permits and to protect against exploitation. The        victims, speciﬁcally those arrested for immigration violations or engaging
government allowed migrant workers to change employers in a timely             in commercial sex. In addition, the government did not provide adequate
manner without special permission but required a letter of release from        legal protections for domestic workers, a population highly vulnerable
the previous employer, which could increase the risk for trafficking. The      to exploitation, including trafficking. Finally, authorities sometimes
Department of Labor, through the Public Employment Services Unit,              treated forced labor—including cases of unpaid or withheld wages,
worked with private sector organizations to recruit Bahamians for              passport retention, and related abuses—as labor law violations, rather
speciﬁc projects. The Department of Labor conducted unannounced                than potential trafficking crimes.
inspections to detect forced labor in domestic and global supply chains.
When an employer submitted a request for a work certiﬁcate for a
non-Bahamian to work in the country, authorities issued anti-trafficking               BAHRAIN TIER RANKING BY YEAR
brochures to the employer, but staff rarely interacted with the prospective        1
employee prior to arrival in the country. During the reporting period, the         2
government received no reports of workers recruited through knowingly            2WL
fraudulent job offers, contract switching, and conﬁscating or otherwise
                                                                                   3
denying workers access to their identity documents. Authorities began
                                                                                          2015     2016      2017     2018   2019    2020    2021     2022
discussions with an international organization to establish an MOU
on multiple issues relating to migration, including trafficking and its
impact on immigrants. The government did not make efforts to reduce
the demand for commercial sex acts. The government did not make
efforts to reduce the demand for participation in child sex tourism. The
                                                                               PRIORITIZED RECOMMENDATIONS:
                                                                               Increase legal protections for domestic workers by including this
government provided anti-trafficking training to its diplomats.
                                                                               population in all relevant articles of Bahraini labor law. • Expand visa
                                                                               sponsorship reform to allow domestic workers to change jobs without
TRAFFICKING PROFILE                                                            employer consent and allow domestic workers to self-sponsor with
As reported over the past ﬁve years, traffickers exploit domestic and
                                                                               Flexi Permit. • Increase efforts to investigate, prosecute, and convict
foreign victims in The Bahamas, and traffickers exploit victims from The
                                                                               traffickers, particularly suspects of labor trafficking, including domestic
Bahamas abroad. Traffickers recruit migrant workers, especially those
                                                                               servitude.• Increase investigations and prosecutions of potential forced
from Haiti, Jamaica, the Dominican Republic, the People’s Republic of
                                                                               labor cases involving passport retention, non-payment of wages, and
China (PRC), Costa Rica, Cuba, Colombia, Venezuela, the Philippines,
                                                                               other indicators as trafficking crimes by expanding training for all officials
and the United States through false offers of employment, through
                                                                               on the differences between labor violations and forced labor crimes
advertisements in foreign newspapers and social media; upon arrival,
                                                                               and improving identiﬁcation of forced labor victims. • Draft and adopt
traffickers subject them to sex trafficking and forced labor, including
                                                                               legislation prohibiting passport conﬁscation with deterrent penalties
in domestic service and in sectors with low-skilled labor. The proﬁle
                                                                               and ensure officials are trained to consider passport conﬁscation as a
of prosecuted traffickers has been primarily female in the past ﬁve
                                                                               trafficking indicator. • Ensure all frontline officials—including immigration
years. Individuals born to a non-Bahamian father in The Bahamas, to a
                                                                               and police officers outside the specialized trafficking unit—receive
female citizen, or to foreign born parents do not automatically receive
                                                                               adequate training on proactive victim identiﬁcation and screening
Bahamian citizenship or documentation and are at heightened risk
                                                                               protocols, speciﬁcally when encountering vulnerable groups, such as
of trafficking. Unaccompanied migrant children, individuals lured for
                                                                               domestic workers, migrant workers, undocumented workers, Cuban
employment, those involved in commercial sex and exotic dancing,
                                                                               medical mission workers, and individuals in commercial sex. • Expand
irregular migrants, stateless persons, LGBTQI+ individuals (particularly
                                                                               and clearly deﬁne legal protections for Flexi Permit holders to ensure
from poor communities), and migrants displaced by Hurricane Dorian
                                                                               they are protected from labor law violations or employer abuse and have
have been trafficking victims or are particularly vulnerable to trafficking.
                                                                               adequate grievance mechanisms through labor courts. • Fully implement
In particular, irregular migrants living in informal settlements on the
                                                                               the Wage Protection System, including by holding accountable violators
Hurricane Dorian-ravaged islands of Abaco and Grand Bahama, as
                                                                               with deterrent penalties. • Mandate the use of the standard contract for
well as those who ﬂed to New Providence after the storm, exist in what
                                                                               all domestic worker recruitment—either through a regulated recruitment
observers call “dark spaces,” which deter reporting abuse. In January
                                                                               agency or directly by an employer and ensure the standard contract is
2022, the government signed an official agreement with the Cuban
                                                                               on ﬁle with the government—to mitigate contract switching. • Ensure
government to temporarily host 50 nurses to provide medical care during
                                                                               that victim’s ability to receive shelter does not depend on conﬁrmation
the pandemic. Cuban medical professionals may have been forced to
                                                                               of a trafficking crime from the Public Prosecutor. • Continue to conduct
work by the Cuban government. The high unemployment rate—reported
                                                                               national anti-trafficking awareness campaigns, strategically targeting
to have exceeded 40 percent—resulting from the pandemic may have
                                                                               migrants, domestic workers, and employers.
increased vulnerabilities for potential victims.
                                                                               PROSECUTION
                                                                               The government increased law enforcement efforts. The anti-trafficking
                                                                               law, No.1 of 2008, criminalized sex trafficking and labor trafficking and
 BAHRAIN: TIER 1                                                               prescribed penalties ranging from three to 15 years’ imprisonment, plus
                                                                               a ﬁne and the cost of repatriating the victim(s). These penalties were
The Government of Bahrain fully meets the minimum standards for the            sufficiently stringent and, with respect to sex trafficking, commensurate
elimination of trafficking. The government continued to demonstrate            with penalties prescribed for other serious crimes, such as rape. During
serious and sustained efforts during the reporting period, considering         the reporting period, the Ministry of Interior (MOI) investigated 43 cases
the impact of the COVID-19 pandemic on its anti-trafficking capacity;          (98 alleged traffickers)—26 were for sex trafficking and 18 for forced
therefore Bahrain remained on Tier 1. These efforts included convicting        labor—an increase compared with the investigation of 19 cases—15
labor traffickers for the ﬁrst time since 2018 and increasing forced labor     sex trafficking and four forced labor—in the previous reporting period.
investigations and prosecutions. The government referred cases that            Four cases, including three sex trafficking cases and one case of forced
originated as labor violations as potential trafficking crimes for criminal    labor, remained under investigation at the close of the reporting period.
investigation and prosecution, and it launched a trafficking-speciﬁc           Officials prosecuted 54 alleged sex traffickers and two alleged labor
hotline managed by the police that resulted in the identiﬁcation of            traffickers, an increase compared with the prosecution of 27 alleged sex
trafficking cases. The government also identiﬁed and referred to care          traffickers the year prior. The government’s prosecution of an additional
                                                                               four alleged sex traffickers and one alleged labor trafficker was pending
more victims overall and identiﬁed forced labor victims for the ﬁrst time
                                                                               at the close of the reporting period. The forced labor prosecutions—the
in two years. Although the government meets the minimum standards,
                                                                               government’s ﬁrst in at least ﬁve years—involved two cases of domestic
it did not routinely utilize its proactive identiﬁcation procedures, which
                                                                               workers in debt bondage after their employers forced the workers to
may have resulted in the penalization of some potential and unidentiﬁed
                                                                               illegitimately reimburse the employers for recruitment fees from their
                                                                                                                                    Haiti AR_000586             105
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 211 of 729
BAHRAIN   wages. Courts convicted 50 sex traffickers, an increase compared with          The government trained—directly and in partnership with Gulf states
          the conviction of 22 sex traffickers during the previous reporting period      and international organizations—police and investigators from CID’s
          and sentenced them to between three and 15 years’ imprisonment                 anti-trafficking unit, all judges and prosecutors, and LMRA staff on topics
          plus a ﬁne in accordance with the law. For the ﬁrst time since 2018,           related to trafficking, including identiﬁcation of forced labor cases and
          courts convicted two traffickers in one case for forced labor, which           victims, evidence collection in forced labor cases, policies and laws,
          involved a female worker who was lured by false promises to leave her          regionally-focused training on combating trafficking in the Gulf and
          employer and then sold to one perpetrator who exploited the victim             South East Asia, and “Train the Trainer” programs. However, police units
          in sex trafficking. After refusing to work in commercial sex, the ﬁrst         outside of CID’s anti-trafficking unit and other ﬁrst responders, such as
          perpetrator physically abused the victim and forced her to work in his         immigration officials, did not receive adequate training in identifying
          home as a domestic worker without pay, where she was sexually abused           potential victims or screening for trafficking indicators when coming
          by the second perpetrator. After escaping the ﬁrst perpetrator’s home,         into contact with vulnerable populations, which may have left potential
          the victim was able to contact police and was subsequently referred            victims unidentiﬁed in the law enforcement system. Investigators from
          to care. The two convicted traffickers received 10 years’ imprisonment         CID’s anti-trafficking unit who were trained on screening and identifying
          and a ﬁne of 2,000 Bahraini dinar ($5,310). The government required            trafficking indicators often accompanied immigration officials on raids
          convicted traffickers to pay all costs associated with the repatriation        and immigration inspection visits throughout the year to provide victim
          of the victims and planned to deport all non-Bahraini traffickers upon         identiﬁcation expertise.
          the completion of their sentences. The government did not report any
          investigations, prosecutions, or convictions of government employees           PROTECTION
          complicit in human trafficking crimes.                                         The government increased overall efforts to protect victims. The
                                                                                         government identiﬁed 33 trafficking victims, including 29 adult sex
          MOI’s Directorate of Criminal Investigation and Forensic Science (CID)
                                                                                         trafficking victims, two child sex trafficking victims, and two victims of
          maintained a police unit dedicated to trafficking investigations. The
                                                                                         forced labor, compared with the identiﬁcation of 19 adult sex trafficking
          Trafficking in Persons Prosecutor’s Office (PPO) prosecuted all trafficking
                                                                                         victims in the previous reporting period. The government did not report
          crimes under the 2008 anti-trafficking law and ensured victims had
                                                                                         identifying or assisting any male victims. All the victims were from
          access to legal recourse and adequate protection services and assistance.
                                                                                         Indonesia, Thailand, and Bangladesh. The government continued to
          Officials reported trafficking cases were regularly fast-tracked to the
                                                                                         utilize its NRM to proactively identify trafficking victims, ensure proper
          High Criminal Court, bypassing the lower courts, to accelerate the justice
                                                                                         documentation of cases, refer cases to the MOI and PPO for an official
          process. In July 2021, CID established two hotlines; one for potential
                                                                                         determination as a trafficking case, and provide protection services
          trafficking cases and one for cases involving employers demanding
                                                                                         to victims until case resolution or voluntary repatriation. Officials
          payment from workers to transfer visa sponsorship and change jobs.
                                                                                         provided 30-page, bilingual English-Arabic NRM booklets to all relevant
          CID reported it would coordinate with the Labor Market Regulatory
                                                                                         ministries, labor-source country embassies, and NGO stakeholders. The
          Authority (LMRA) to start legal proceedings in credible cases of an
                                                                                         LMRA reported their digitized case management process under the
          employer’s extortion of a worker. The government did not identify
                                                                                         NRM continued to increase in speed and overall effectiveness in case
          any trafficking cases through the national anti-trafficking hotline, but
                                                                                         management and coordination of support to victims. Police stations,
          four cases (including three trafficking cases and one case of passport
                                                                                         other government entities, NGOs, and foreign embassies directly referred
          retention) were identiﬁed through CID’s trafficking-speciﬁc hotline, which
                                                                                         victims to the LMRA.
          received 591 calls since its launch in July 2021, and were subsequently
          investigated and referred for criminal prosecution during the year.            The LMRA’s Expatriate Protection Center (EPC) served workers regardless
                                                                                         of their gender or legal status in the country and sheltered presumed
          NGOs and civil society reported that although the government provided
                                                                                         trafficking victims, those who experienced severe labor exploitation, and
          training to officials on identifying cases and victims of forced labor,
                                                                                         those who were vulnerable to exploitation. According to the procedures
          frontline authorities nevertheless sometimes recorded instances of
                                                                                         of the NRM, a victim could only become eligible for accommodation at
          non-payment of wages and passport conﬁscation as labor violations
                                                                                         the EPC after the PPO conﬁrmed the individual as a trafficking victim. In
          and rarely referred these cases to the PPO for investigation as potential
                                                                                         instances where the PPO did not identify an individual as a trafficking
          trafficking cases. The government reported workers continued to be
                                                                                         victim, but rather as someone who experienced labor exploitation,
          able to ﬁle a grievance against an employer in a labor court if arbitration
                                                                                         the LMRA may have offered that individual shelter depending on
          was unsuccessful. Migrant workers reported that the Ministry of Labor
                                                                                         the severity of the case. Observers expressed concern that because
          and Social Development (MOLSD)’s arbitration process often resulted in
                                                                                         authorities rarely identiﬁed indicators of forced labor as a trafficking
          settlements in favor of the employer. The LMRA’s Protective Inspection
                                                                                         crime, some unidentiﬁed victims may have been unable to access the
          Directorate (PID) and Grievances and Protections Directorate (GPD),
                                                                                         shelter or receive protective care. The EPC provided all 33 identiﬁed
          established in 2019 and housed within the MOJ’s Labor Case Coordination
                                                                                         trafficking victims with shelter, food, clothing, medical care, religious
          section, continued to make efforts to identify and refer labor trafficking
                                                                                         support, psycho-social counseling, rehabilitation, transportation, familial
          cases to criminal prosecution, speciﬁcally those that originated as labor
                                                                                         reuniﬁcation, translation services, legal counsel, and repatriation;
          violations. The PID had a mandate to identify, investigate, and document
                                                                                         the government reported it also offered job placement in Bahrain to
          labor violations with a focus on those with a nexus to trafficking; it
                                                                                         victims, but no victims utilized this option during the reporting period.
          was staffed by labor inspection officers trained by two international
                                                                                         The government reported pandemic-related mitigation measures were
          organizations. The GPD was able to receive, register, and document all
                                                                                         put in place at the EPC, including the provision of personal protective
          labor-related criminal cases. Both directorates were incorporated into
                                                                                         equipment such as hand sanitizer, gloves, and face masks to those
          the government’s broader national referral mechanism (NRM). Officials
                                                                                         admitted to the shelter. Additionally, it was routine for all residents and
          reported all labor violations submitted to the LMRA were screened by
                                                                                         staff to be tested for COVID-19. The government provided all conﬁrmed
          case workers at three levels. If the GPD subsequently identiﬁed a potential
                                                                                         trafficking victims who remained in Bahrain for the duration of their
          trafficking crime through screening, it referred the case to the PID to
                                                                                         trial with monthly compensation of 93 Bahraini dinar ($250)—via its
          conduct a full investigation. The LMRA could formally refer potential
                                                                                         Victim Assistance Fund. LMRA provided additional funding, as needed,
          trafficking cases directly to CID for criminal investigation; however, PID’s
                                                                                         for victim repatriation and daily GPD expenditures, such as payroll and
          investigators could only informally refer potential trafficking cases to
                                                                                         operational expenses. Observers expressed concern that once victims
          the PPO via email, which then sent the case back to CID to conduct a
                                                                                         were able to return to work in Bahrain, they were again placed in a
          separate investigation before referring the case formally to prosecution.
                                                                                         situation where their employer controlled their residence and work
          This procedural constraint may have hindered the government’s ability
                                                                                         visa, heightening their vulnerability to exploitation and re-trafficking
          to effectively prosecute potential labor trafficking crimes that originated
                                                                                         due to the nature of the sponsorship system. The government reported
          as labor violations. Nonetheless, the LMRA referred ﬁve potential forced
                                                                                         trafficking victims were eligible to sponsor themselves through the Flexi
          labor cases to the CID (through formal channels) and four potential
                                                                                         Permit program as an alternative option to remain in Bahrain to work;
          forced labor cases to the PPO (through informal channels) during the
                                                                                         the government also reported it could use victim assistance funds to pay
          year but did not report on the outcome of those referrals.

 106                                                                                                                                  Haiti AR_000587
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 212 of 729




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the costs of a Flexi Permit for a victim. However, during the year, none       that would be forfeited in the event the company violated employees’
of the identiﬁed victims became Flexi Permit holders. The government           rights and required each employer to provide workers accommodation
reported it increased the staff at the LMRA’s EPC to handle the increased      that met the LMRA’s standards. The LMRA’s PID inspectors conducted
number of cases of vulnerable or exploited workers and trafficking             recruitment agency inspections and monitored for employment and
victims associated with the pandemic during the year. Embassies of             immigration violations. The LMRA increased PID personnel by 45 percent
labor-source countries reported providing housing on a temporary               during the year to expand the number of workplace inspections; PID shut
basis for some potential victims involved in labor disputes or abusive         down 26 unlicensed agencies and referred them for civil prosecution. PID
situations who refused to go to the EPC or were unable to reach it.            also rejected the renewal of three agencies’ licenses and canceled four
                                                                               applications for violating LMRA’s terms and conditions. Furthermore,
The government did not universally employ its proactive identiﬁcation
                                                                               the LMRA referred nine cases for criminal and civil prosecution under
procedures among vulnerable groups, such as undocumented migrant
                                                                               the anti-trafficking law and the labor law identiﬁed through workplace
workers—including those who ﬂed their employers, domestic workers,
                                                                               inspections during the reporting period. In coordination with CID and
and individuals in commercial sex—therefore, some potential victims may
                                                                               MOL, PID inspectors also conducted four inspection visits to labor
have remained unidentiﬁed in the law enforcement system. Furthermore,
                                                                               camps; PID referred one case of forced labor to the PPO for further
during the reporting period, observers reported authorities did not screen
                                                                               investigation from these inspections. In May 2021, the government
all individuals for trafficking indicators before deportation. In addition,
                                                                               launched its Wage Protection System (WPS) for private sector workers.
observers noted the government did not identify potential trafficking
                                                                               Under the WPS, employers were obligated to pay wages electronically
victims during raids, and individuals in commercial sex were commonly
                                                                               to workers via ﬁnancial institutions authorized by the Central Bank of
detained and deported without being screened for trafficking indicators.
                                                                               Bahrain. The government designed the system to alert the LMRA to
Some migrant workers who ﬂed abusive employment situations of their
                                                                               instances of non- or delayed-payment of wages with violators subject
visa sponsor chose not to report abuse out of fear of deportation. Bahraini
                                                                               to penalties and legal action. The government implemented the WPS in
officials provided comprehensive protective assistance to trafficking
                                                                               three phases, with the third and ﬁnal phase launched in January 2022
victims, regardless of their willingness to participate in investigations
                                                                               to encompass any employer with one or more employees; all employers
and court proceedings of their traffickers, and relieved them from all
                                                                               were given a six-month grace period from the start of their phase to
legal and ﬁnancial penalties related to unlawful acts traffickers compelled
                                                                               implement WPS regulations. Employers of domestic workers were not
them to commit. The government reported it shared with all victims
                                                                               required to enroll in the system; a total of 24 employers had voluntarily
a full evaluation of their cases and their legal right to restitution in
                                                                               registered to pay domestic workers through the WPS at the close of the
the event of a conviction. The protection of witnesses in all periods
                                                                               reporting period. While the government stated employers who failed to
of criminal proceedings was enshrined in law, and the government
                                                                               comply with the WPS would be ﬁned and barred from receiving work
reported identities were kept conﬁdential through the stages of the
                                                                               permits, NGOs expressed concern that WPS penalties against violators
NRM, regardless of whether the individual was declared a victim of
                                                                               were weak thereby reducing the incentive for an employer to comply.
trafficking. The government reported victims could testify via written
                                                                               NGOs reported officials still preferred to mediate WPS wage disputes
correspondence, video recording, a closed-circuit live video, or in private;
                                                                               between the employer and employee, rather than hold the non-compliant
the government provided the option to testify via closed-circuit live
                                                                               employer accountable with penalties. Non- and delayed-payment of
video to 40 victims and potential victims during the reporting period.
                                                                               wages continued to be common practice; the LMRA reported it received
In response to the pandemic, officials implemented remote procedures
                                                                               2,097 claims of unpaid wages from workers during the year.
for virtual litigations to take place. The government reported victims
could speak in their native language in court proceedings with assistance      The government continued to implement its Flexi Permit program,
of an interpreter, while all case-related documents were required to           whereby foreign nationals could reside and work in Bahrain without a
be translated into Arabic before being presented to judges. Observers          visa sponsor, thereby reducing the power imbalance between employer
reported concerns that, because court documents were presented solely          and employee inherent in the kafala or sponsorship-based employment
in Arabic, attempts to seek redress for vulnerable migrants, including         system. Migrant workers who retained a valid visa were eligible to
potential trafficking victims, remained difficult. Workers infrequently        enroll in the program without the consent of their employer after
ﬁled complaints against employers due to distrust of the legal system,         the termination or expiry of their work permit. The Flexi Permit cost
protracted court processes, inability to afford legal representation,          432 Bahraini dinar ($1,150) for one year and included a work permit,
lack of interpretation and translation services, concern over potential        health insurance, a refundable deposit for travel tickets, an extension
loss of residence permits during proceedings, and fear of additional           of residency timeframes, and waived immigration ﬁnes incurred while
mistreatment due to employer reprisal. During the reporting period,            the worker was undocumented. Since its inception in July 2017, the Flexi
the government repatriated all 33 identiﬁed victims to their countries         Permit has reportedly regularized thousands of undocumented workers.
of origin at the victims’ request.                                             Successful Flexi Permit applicants could work any full- or part-time job
                                                                               with any chosen employer—including multiple jobs concurrently with
PREVENTION                                                                     various employers—and were able to directly negotiate wages and
The government maintained efforts to prevent trafficking. In January           working hours; however, some categories of migrant workers, most
2022, the government reinstated the National Committee to Combat               notably domestic workers, were excluded from eligibility. While the
Trafficking in Persons (NCCTIP) after a one-year hiatus and reported           government had twice temporarily extended eligibility of the Flexi Permit
the committee planned to create a new national action plan by the end          to domestic workers who left their employers or had expired work visas
of 2022. In December 2021, the government, in collaboration with two           (most recently in the amnesty period concluding in December 2020)
international organizations, launched the ﬁrst training of the trainers        and has stated that Flexi Permits could be given to domestic workers
program at its Regional Center of Excellence and Capacity Building for         on a case-by-case basis, the government did not report giving any
Combating Trafficking. The training targeted ﬁrst responders, including        domestic workers a Flexi Permit during the reporting period.
those in media, healthcare, aviation, and labor inspection, as well as
                                                                               Some NGOs and labor rights organizations continued to express concerns
shelter supervisors, judges, and prosecutors, to become capable of
                                                                               that the Flexi Permit was not a suitable alternative for low-income workers
sharing expertise on victim identiﬁcation and train others in their ﬁeld.
                                                                               who may not be able to afford the high cost of the permit and in some
Article 23 of Bahraini Law No.19 of 2006 prohibited “for any person to         cases must ﬁnd work to pay for the visa, thereby possibly perpetuating
receive any moneys or obtain any beneﬁt or advantage from an employee          the cycle of debt “bondage.” Rights groups also expressed the need to
in lieu of issuing him a work permit or in return for the employment of        ensure protections for Flexi Permit holders; as holders who work on a
such an employee or his retention in his job.” During the reporting year,      freelance basis or in short-term employment are not required to have a
PPO received six cases of such violations for prosecution. The LMRA            contract with their employer, and rarely do, heightening their vulnerability
continued to oversee the issuing of licenses and regulation of recruitment     to wage disputes or other issues related to temporary employment with a
agencies through quarterly inspection visits and other measures. For           temporary employer without protection under the labor law. Furthermore,
example, the government continued to require all recruitment agencies to       because Flexi Permit holders are not categorized as “employees,” the
submit a security deposit equivalent of 10,000 Bahraini dinar ($26,530)        labor law does not offer them protection. Flexi Permit holders cannot
                                                                                                                                 Haiti AR_000588              107
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 213 of 729
BAHRAIN   ﬁle grievances or complaints with the labor courts as other workers          worker could also register a complaint to the court directly if the employer
          covered under the law could; rather, Flexi Permit holders could only ﬁle     refused to return the passport; however, in most cases, once the LMRA,
          cases against employers in civil courts. Additionally, a migrant worker      MOLSD, or police approached the employer, they returned the passport
          could not apply for a Flexi Permit before arriving in Bahrain. A worker      to the employee and the worker chose not to pursue criminal charges
          was only eligible for the program once their visa expired, their contract    against the employer. The LMRA reported it received 3,899 claims of
          ended, or they were undocumented—which continued to put migrant              passport retention through the NRM and retrieved and returned 3,702
          workers in vulnerable situations where their sponsor or employer was         passports to migrant workers in 2021. Police generally did not consider
          tied to their legal immigration status when ﬁrst arriving in the country.    passport retention to be an indicator of trafficking, instead considering it
          Since 2011, the government allowed private sector migrant workers            stolen property if the employer refused to return the passport. Officials
          freedom to change jobs without their employer’s consent after one year       stated if the employer refused to return the passport to the employee,
          of employment; during the reporting period, 14.65 percent of Bahrain’s       the LMRA could prohibit it from obtaining new or renewing existing
          migrant worker population changed employers. However, the LMRA               work permits and could refer the employer to law enforcement for legal
          still had to approve the transfer. Domestic workers did not have the         action. Officials referred one case of passport retention—identiﬁed by
          ability to change jobs or extend their residency visas without employer      MOI’s hotline—for criminal prosecution during the year.
          consent. The government reported all workers were able to terminate
                                                                                       The government also made efforts to prevent vulnerable migrant
          employment at any time, with a notice period according to their contract,
                                                                                       workers, including domestic workers, from further exploitation by
          and leave the country permanently without employer consent. However,
                                                                                       ensuring pandemic-mitigation measures were accessible, regardless
          reports that employers continued to expect employees to procure an
                                                                                       of residency status. The government reported the LMRA’s PID, the
          exit permit suggested low awareness of the policy.
                                                                                       Ministry of Health (MOH), and the MOI coordinated 27 ﬁeld campaigns
          Articles 19 and 40 of the Labor Law established limited protections for      to mitigate the spread of COVID-19 by conducting visits to migrant
          domestic workers, which include agricultural workers, home security          workers’ accommodations to administer vaccinations and booster shots
          guards, nannies, drivers, and cooks who work for the employer or family      for workers, speciﬁcally for those who were reluctant to visit hospitals
          members, requiring employers to provide a labor contract specifying          to receive vaccinations due to their legal status. In partnership with an
          annual leave and bonuses and that such workers must be paid at least         international organization, the government announced plans to launch
          monthly. However, Article 22, which prohibited contract switching or         a campaign in 2022 to raise awareness on migrant worker rights, but it
          changes to preset work conditions outlined in the contract, was not          had not yet launched it by the end of the reporting period. During the
          applicable to domestic workers, effectively increasing their vulnerability   previous reporting period, the LMRA launched a website (endtrafficking.
          to forced labor. Labor inspectors were unable to conduct unannounced         bh) featuring information on trafficking and resources for foreign
          inspections of domestic workers’ accommodations and investigate              workers; however, NGOs reported key information on the website was
          allegations of abuse in the absence of an official complaint, which may      only available in English, limiting its application. The LMRA continued to
          have left some victims at risk of exploitation and without protection. The   provide booklets outlining labor rights in 13 languages common among
          LMRA continued to disseminate to all registered recruitment agencies in      expatriate and migrant worker populations and distributed them to such
          Bahrain copies of the standard labor contract, which required domestic       populations upon their arrival at the Bahrain International Airport and
          workers to sign, prior to their arrival, a comprehensive work agreement      at the LMRA when applying for initial or renewed residency cards. The
          that outlined labor rights and employment obligations. The contract          EPC’s trafficking hotline collected reports and educated workers about
          aimed to strengthen protections for domestic workers by requiring            their rights and available services in nine languages 24 hours a day,
          employers to disclose duties, hours to be worked, salary, rest hours, and    seven days a week. The government advertised the hotline’s number and
          weekly days off. Domestic workers, brought into Bahrain by recruitment       mandate through pamphlets given to each migrant worker upon arrival
          agencies, were able to accept or reject an employment contract in            in Bahrain and on the LMRA’s social media platforms and website. The
          their respective countries of origin, and the LMRA maintained copies         government reported the LMRA’s trafficking hotline received 13,006 calls
          of signed contracts to assist in any future labor disputes. The LMRA         during the year; however, no trafficking cases or victims were identiﬁed
          maintained streamlined processes for obtaining initial visas and visa        through the hotline. The government continued to uphold memoranda
          renewals for domestic workers. The inclusion of domestic workers in          of understanding with several labor source countries, including Pakistan,
          the Expatriate Management System, along with all other expatriate            that focused on oversight of recruitment agencies and protection of
          workers, increased the LMRA’s oversight capacity by standardizing            migrant workers in Bahrain. The government reported it partnered with
          the application process and retaining all worker-employee documents          an international organization to create orientation programs for migrant
          on the LMRA’s electronic systems. However, NGOs expressed concern            workers but did not report if it began implementing such programs
          that the standard contract lacked mandatory working conditions as it         by the close of the reporting period. The government made efforts to
          remained up to the employer to determine working hours, minimum              reduce the demand for commercial sex acts by continuing to enforce
          wage, and rest time. In contrast, title seven of the labor law stipulated    the law that makes prostitution illegal. The government provided anti-
          a maximum daily limit of eight working hours for other private sector        trafficking training for its diplomatic personnel.
          workers. Additionally, NGOs noted that many vulnerable domestic
          workers whom they encountered did not know the contents of their             TRAFFICKING PROFILE
          contract due to language barriers. Furthermore, domestic workers rarely      As reported over the past ﬁve years, human traffickers exploit foreign
          had a copy of their contract in their possession. NGOs also reported         victims in Bahrain. Men and women, primarily from India, Bangladesh,
          that because it was not compulsory to use a recruitment agency to            Pakistan, Philippines, Nepal, Egypt, Sri Lanka, Jordan, and Yemen, among
          recruit a domestic worker, those who hired domestic workers directly         other countries, migrate voluntarily to Bahrain to work as semi-skilled
          did not need to provide a standard contract. Instead, the government         or unskilled laborers in the construction and service industries and
          required a pledge of the employer’s obligations toward the domestic          domestic work sector—including agricultural workers, home security
          worker, which is not enforceable in a court of law.                          guards, nannies, drivers, and cooks, among others. Men from India and
                                                                                       Bangladesh account for the vast majority of Bahrain’s male domestic
          Bahraini law did not explicitly prohibit passport retention, even when
                                                                                       workers. The number of migrant workers from African states, such as
          the employee objected from the practice. The government reported
                                                                                       Senegal, Cameroon, Uganda, and The Gambia had previously increased,
          that instances of passport retention were generally prosecuted under
                                                                                       but observers noted pandemic impacts and difficulty in obtaining work
          Article 395 of the Bahraini penal code as a “breach of trust,” though
                                                                                       permits have slowed the number of African workers coming to Bahrain.
          such prosecutions were rare. Instead, passport retention was frequently
                                                                                       Furthermore, during the pandemic, the government reportedly stopped
          handled administratively, when migrant workers ﬁled a grievance
                                                                                       approving work permits for nationals from certain countries, citing “a
          for passport withholding with the police, the MOLSD, or the LMRA.
                                                                                       record of unethical recruitment,” security concerns, analysis of data
          When handled by the LMRA, instances of passport retention were
                                                                                       from the NRM, and a lack of diplomatic representation; most African
          reportedly screened by trained GPD staff for indicators of trafficking.
                                                                                       workers do not have diplomatic representation in Bahrain. Prior to
          Representatives of labor-source country embassies reported cases
                                                                                       the pandemic, foreigners comprised approximately 80 percent of the
          handled by LMRA resulted in expedient and fair disposition of cases. A

 108                                                                                                                                Haiti AR_000589
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 214 of 729




                                                                                                                                                               BANGLADESH
total Bahraini workforce, the majority being unskilled or semi-skilled       particularly domestic workers, at risk of trafficking by limiting their ability
construction or maintenance workers. Likely due to pandemic-related          to change employers or leave the country and by giving employers the
job loss, the economic downturn, and an increased desire for workers         unilateral power to control the status of residency permits.
to repatriate, Bahrain’s migrant workforce decreased in 2020. The
government reported there were roughly 80,000 domestic workers in
Bahrain at the end of the reporting period, 85 percent of whom were
female, predominantly from the Philippines, Ethiopia, India, Indonesia,       BANGLADESH: TIER 2
Kenya, and Sri Lanka—approximately 15,000 more workers than in
the previous reporting period. Domestic workers from African nations
                                                                             The Government of Bangladesh does not fully meet the minimum
are increasingly at risk of forced labor and arrive in Bahrain via direct
                                                                             standards for the elimination of trafficking but is making signiﬁcant
recruitment from local employers in which workers pay brokers or
                                                                             efforts to do so. The government demonstrated overall increasing efforts
middlemen in their home country to match them with a visa sponsor
                                                                             compared with the previous reporting period, considering the impact
in Bahrain. Some employers subject migrant workers to forced labor
                                                                             of the COVID-19 pandemic on its anti-trafficking capacity; therefore
in Bahrain; indicators include passport retention, strict conﬁnement,
                                                                             Bangladesh remained on Tier 2. These efforts included increasing
contract substitution, non-payment of wages, debt bondage, threats
                                                                             investigations, prosecutions, and convictions against human traffickers,
or intimidation, and physical or sexual abuse. NGO and labor-source
                                                                             including upholding the dismissal of a member of Parliament involved in a
countries continue to report an increase in incidents of unpaid wages
                                                                             labor trafficking case. In August 2021, the seven Anti-Trafficking Tribunals
and debt bondage, especially among construction and unskilled workers.
                                                                             resumed operations and the Rangpur and Rajshahi tribunals became the
Furthermore, reports of unpaid overtime pay and denied vacation time
                                                                             third and fourth courts to record trafficking convictions. The government
have become more frequent. Some migrant workers are not given or
                                                                             also ratiﬁed the protocol to the ILO’s forced labor convention as part
are not in possession of their employment contracts and are generally
                                                                             of efforts against forced labor. However, the government did not meet
unfamiliar with the employment terms contained therein. Public opinion
                                                                             the minimum standards in several key areas. The government identiﬁed
supporting the practice of employers retaining workers’ passports to
                                                                             fewer potential trafficking victims compared with the previous reporting
ensure they do not ﬂee, coupled with the fact that passport conﬁscation
                                                                             period and victim care remained insufficient. The government continued
is not explicitly prohibited by Bahraini law, enabled this pervasive
                                                                             to allow recruitment agencies to charge high recruitment fees to migrant
practice to continue.
                                                                             workers and did not consistently address sub-agents conducting illegal
Nationals of countries without diplomatic or consular presence in            recruitment operations, leaving workers vulnerable to trafficking. The
Bahrain, most signiﬁcantly from African countries, are particularly          government did not uniformly employ standard operating procedures
vulnerable to trafficking, as are domestic workers, who are only partially   (SOPs) to identify trafficking victims among vulnerable populations,
protected under Bahraini labor law and signiﬁcantly isolated in their        resulting in the penalization of some returning migrant workers and
place of work. Government and NGO representatives report physical            potential sex trafficking victims. In addition, the government pursued
and sexual abuse of female domestic workers; controlled freedom              policy changes that would force potential labor trafficking victims to
of movement, withholding of workers’ identity cards and passports,           go through civil arbitration prior to initiating criminal investigations.
restrictions on outside communication, and employer coercion to
prevent employees from reporting exploitation are signiﬁcant problems
in Bahrain. Since the onset of the pandemic in 2020 and subsequent                    BANGLADESH TIER RANKING BY YEAR
                                                                                  1
movement restrictions, NGOs continue to report an increase in non-
payment of wages and coercion of domestic workers who were forced to             2
stay in their employer’s home and work after completing their contracts.       2WL
During the reporting period, many migrant workers returned home or
                                                                                  3
sought other employment without receiving a salary from previous                         2015     2016     2017     2018   2019    2020     2021     2022
employment and without end-of-service payment or beneﬁts, likely
due to workers’ fear of lengthy court proceedings coupled with the
difficulty of receiving renumeration from a business that closed during
the pandemic. Cuban nationals working in Bahrain may have been forced
                                                                             PRIORITIZED RECOMMENDATIONS:
to work by the Cuban government.
                                                                             Increase prosecutions and seek convictions for trafficking crimes,
While the government maintained regulatory authority over recruitment        particularly of labor traffickers and complicit government officials,
agencies, some migrant workers arrive in Bahrain independently of            while respecting due process. • Take steps to eliminate recruitment fees
regulated agencies. Many workers are paired with employers through           charged to workers by licensed labor recruiters and ensure employers
intermediaries in Bahrain and unlicensed recruiters in their respective      pay recruitment fees. • Adopt formal victim identiﬁcation procedures
countries of origin; back-and-forth movement between Saudi Arabia            and screening processes to prevent penalization of potential victims
and Bahrain via the King Fahad Causeway also contributes to this             and improve case registration. • Disseminate and implement standard
vulnerability, as Saudi nationals are able to sponsor foreign workers        guidelines for provision of adequate victim care referral to protective
in Bahrain. Local press and media report traffickers recruit women to        services and build the capacity of service providers. • Expand services
Bahrain via social media platforms or Bahrain-based acquaintances            for trafficking victims, especially adult male victims, foreign victims, and
under false pretenses of high-paying jobs in the hospitality and domestic    victims exploited abroad. • Allow NGOs improved access to trafficking
sectors and subsequently force them into sex trafficking. Traffickers also   victims in government shelters to provide services without a court order
convince other women, mostly domestic workers already in Bahrain, to         and improve overall collaboration with such organizations for more
leave their employers with false promises of higher paying jobs; after       effective partnership on anti-trafficking efforts. • Increase investigations
being recruited, traffickers exploit some women in commercial sex            and prosecutions of credible allegations of trafficking of Rohingya,
through physical threats and debt-related coercion. Some NGOs report         including cases that do not involve movement. • Continue collaboration
that due to pandemic-related shutdowns of the service industry, workers      with the Inter-Sector Coordination Group to implement measures
who lose their jobs are consequently exploited in the commercial sex         protecting Rohingya from traffickers. • Strengthen the capacity of
trade. Some unscrupulous employers bring migrant workers to Bahrain          Anti-Trafficking Tribunal personnel to prosecute and adjudicate human
under the “free visa” scheme—whereby workers pay an employer a               trafficking cases and expand tribunals to heavy caseload areas to
recurring fee to sponsor their work visa while performing work for           improve services for trafficking victims. • Enhance training for officials,
other employers in violation of local labor law—which can render them        including law enforcement, labor inspectors, immigration officers, and
vulnerable to trafficking due to their illegal working status. Expatriates   health care providers, on identiﬁcation of trafficking cases and victim
residing in Bahrain long-term are also reportedly complicit in the           referrals to services. • Fully implement and monitor for compliance the
“free visa” scheme. Although notable reforms are underway, Bahrain’s         registration requirements for recruitment agents, dalals, and brokers who
sponsorship-based employment system continues to put some workers,           supply labor to recruiting agencies. • Improve quality of pre-departure
                                                                                                                                  Haiti AR_000590              109
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 215 of 729
BANGLADESH   trainings for migrant workers, including sessions on labor rights, labor       additional high caseload areas, including announcing plans in November
             laws, and access to justice and overseas assistance. • Ensure potential        2021 to open an eighth tribunal in Cox’s Bazar. Most of the tribunals had
             labor trafficking victims have the right to ﬁle complaints under the           manageable caseloads compared to the wider court system. Despite
             Prevention and Suppression of Human Trafficking Act (PSHTA) and seek           the renewed tribunal activity, officials did not effectively investigate
             adjudication for criminal offenses rather than restricting cases to labor      and prosecute cases, and political inﬂuence over the courts remained
             dispute issues. • Enable labor inspectors to ﬁle cases in labor or criminal    a concern. The government reportedly trained 16 judges and 16 public
             courts as appropriate. • Establish clear procedures for Rohingya to ﬁle        prosecutors on human trafficking. In addition, observers noted that
             complaints in the legal system and train law enforcement and camp              tribunal judges, prosecutors, and staff may require further anti-trafficking
             management on the procedures. • Improve inter-ministerial coordination         training and incentives to effectively try cases while respecting due
             and increase monitoring to prevent commercial sexual exploitation of           process. For cases heard outside of the tribunals, observers had
             children, particularly children who are experiencing homelessness or           previously noted the government generally did not dedicate sufficient
             use the streets as a source of livelihood, as well as the children of adults   resources to pre-trial investigations and cases languished due to a
             engaged in commercial sex in brothels. • Adopt a revised and resourced         lack of evidence or case backlogs. The government continued to allow
             2018-2025 National Plan of Action that incorporates greater attention          mobile courts, established under the executive branch, to adjudicate
             to prosecution and protection efforts, including dedicating resources          labor violations, although the courts could not address labor trafficking
             to enhance victim care. • Establish standard guidelines for investigating      claims. Some village courts, ﬁve-person panels of local government
             transnational trafficking cases.                                               officials and villagers, adjudicated trafficking cases but could only
                                                                                            administer ﬁnancial penalties.
             PROSECUTION                                                                    Some officials did not understand human trafficking and at times
             The government increased overall law enforcement efforts. The
                                                                                            conﬂated it with migrant smuggling. Some officials continued to deny the
             2012 Prevention and Suppression of Human Trafficking Act (PSHTA)
                                                                                            existence of internal trafficking, especially child sex trafficking, despite
             criminalized sex trafficking and labor trafficking and prescribed penalties
                                                                                            ongoing evidence of child sex trafficking in licensed brothels. Police
             of ﬁve years to life imprisonment and a ﬁne of not less than 50,000
                                                                                            and prosecutors often did not collaborate well with one another during
             Bangladeshi Taka (BDT) ($581). Bonded labor was treated as a separate
                                                                                            the law enforcement process, which led to delays and the formation of
             offense with lesser prescribed penalties of ﬁve to 12 years’ imprisonment
                                                                                            weak cases for prosecution. In cross-border cases, Bangladeshi officials
             and a ﬁne of not less than 50,000 BDT ($581). These penalties were
                                                                                            often did not travel abroad to collect evidence and did not know how
             sufficiently stringent and, with regard to sex trafficking, commensurate
                                                                                            to request international evidence. However, the Bangladesh police
             with those prescribed for other serious crimes, such as kidnapping.
                                                                                            and prosecutors of the Anti-Human Trafficking Tribunals cooperated
             The government increased investigations, prosecutions, and convictions         on transnational cases with agencies in Australia, Canada, India, and
             against human trafficking, although it did not take adequate steps to          South Africa. In one notable case, the government cooperated with
             address internal sex trafficking or official complicity, both of which         Indian police against a transnational group that recruited Bangladeshi
             remained pervasive. The government investigated 594 cases under the            girls and exploited the children in sex trafficking in India using TikTok.
             PSHTA, including 132 sex trafficking cases, 182 forced labor cases, and        The government also maintained mutual legal assistance pacts with
             280 cases for unspeciﬁed exploitation, and continued to investigate            South Africa and India to support investigations of trafficking cases and
             449 cases from previous years. This compared with the investigation of         maintained extradition treaties with India, South Africa, and Thailand
             348 cases and continued investigation of 138 cases during the previous         to ensure that traffickers returned to face trial.
             reporting period. The police initiated prosecution of 620 suspects
                                                                                            The government did not sufficiently investigate and prosecute trafficking
             (96 for sex trafficking, 166 for forced labor, and 358 for unspeciﬁed
                                                                                            cases involving the exploitation of Rohingya refugees. Despite continued
             exploitation)—an increase from the 517 individuals the government
                                                                                            reports of traffickers exploiting Rohingya in forced labor and sex
             prosecuted the previous reporting period, including 184 sex trafficking
                                                                                            trafficking within Bangladesh, most Rohingya-related cases reported
             and 333 forced labor cases. Special tribunals enabled the government
                                                                                            by law enforcement involved movement via boat, cases that might
             to signiﬁcantly increase the disposal of human trafficking cases. The
                                                                                            have amounted to migrant smuggling without elements of trafficking.
             courts and the Anti-Trafficking Tribunals convicted 18 traffickers in 11
                                                                                            Although the PSHTA includes a provision for non-citizens to ﬁle trafficking
             cases, including 18 people for sex trafficking and no convictions for
                                                                                            cases, the government did not establish clear legal reporting mechanisms
             labor trafficking or undeﬁned trafficking crimes. This was an increase
                                                                                            within refugee camps, which impeded Rohingyas’ access to justice and
             from courts convicting seven traffickers the previous reporting year.
                                                                                            increased impunity for offenders. Police and international humanitarian
             The government may have reported some non-human trafficking
                                                                                            actors maintained multiple help desks in several refugee camps to
             cases in its statistics, including potential cases of migrant smuggling.
                                                                                            provide legal assistance to female and child refugee crime victims, but
             Although the courts experienced many months of lockdowns due to
                                                                                            public distrust of police and security services deterred many victims
             the pandemic, the government lifted the restrictions in August 2021.
                                                                                            of crimes, including trafficking, from approaching law enforcement
             The government reported more than 5,000 trafficking cases remained
                                                                                            for assistance. International organizations continued to allege some
             pending investigation or prosecution as of September 2021 but that the
                                                                                            Bangladeshi officials facilitated trafficking of Rohingya, including by
             case disposal rate increased considerably. The government directed
                                                                                            accepting bribes from traffickers to gain access to camps.
             limited resources toward prosecution efforts during the reporting
             period. The government acknowledged investigations, prosecutions, and          Official complicity in human trafficking, trafficking-related corruption, and
             convictions for trafficking remained inadequate compared to the scale of       impunity for traffickers remained serious concerns, continuing to inhibit
             the problem. The government continued to train police officers through         law enforcement action during the year. The government was reluctant
             an anti-trafficking module at the police academy. The government               to acknowledge or investigate such claims, claiming there was no official
             also continued to train and provide in-kind support to international           complicity during the reporting period. Some law enforcement officers
             organization- and NGO-run trainings for judicial, immigration, and             and prosecutors allegedly decided which cases to investigate and try in
             border officials. The government did not report whether police and other       court based on the political and ﬁnancial connections of the accused.
             relevant officials received training on the 2017 PSHTA implementing rules.     For example, some labor attachés, local politicians, judges, and police
                                                                                            allegedly requested bribes from victims and their families to pursue
             The seven Anti-Trafficking Tribunals—judges and special prosecutors
                                                                                            cases. Recruitment agencies reportedly exploited official corruption to
             assigned to hear human trafficking cases and address the substantial
                                                                                            proﬁt from overseas migration, including potential trafficking crimes.
             case backlog—resumed operations in August 2021 after pandemic-
                                                                                            Observers alleged some officials from district employment and manpower
             related delays. The tribunals reportedly reduced case backlogs and
                                                                                            offices facilitated human trafficking and some traffickers in rural areas
             achieved signiﬁcant case disposal rates compared to similar periods in
                                                                                            had political connections that enabled them to operate with impunity.
             2020. The Rangpur and Rajshahi tribunals became the third and fourth
                                                                                            Observers also said some local politicians convinced victims to accept
             courts to record convictions for trafficking, following convictions in the
                                                                                            payment from recruitment sub-agents to not report fraudulent or
             Dhaka and Barishal tribunal courts during the previous reporting period.
                                                                                            exploitative labor recruitment actions to police. Other observers reported
             The government intended to expand the Anti-Trafficking Tribunals to
                                                                                            some police conducted slow and ﬂawed investigations to allow traffickers
  110                                                                                                                                     Haiti AR_000591
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 216 of 729




                                                                                                                                                               BANGLADESH
to evade punishment, including when suspects were fellow officers.            in commercial sex and, as a result, may have penalized sex trafficking
Allegations of government corruption included officials working near          victims for unlawful acts that traffickers compelled them to commit.
international border crossings and police accepting bribes to release         Police enforcement operations on hotel-based commercial sex resulted
victims to their traffickers. In registered brothels, some police charged     in law enforcement ﬁling many cases under PSHTA sections 12 and
bribes to ignore abuse within the establishments, to forego checking          13, accusing young women and girls of criminal behavior without
for the required documentation that each individual was older than 18,        attempting to screen for victimization with trafficking indicators. Similarly,
and to procure fraudulent documents for girls as young as 10 years old.       NGOs previously reported law enforcement conducted operations in
                                                                              brothels and arrested foreign national women in commercial sex for
Because a number of government officials, including parliamentarians,
                                                                              visa violations without efforts to screen for trafficking. NGOs reported
maintained close ties to foreign employment agencies, there were
                                                                              some authorities detained and ﬁned foreign national trafficking victims
concerns such officials had conﬂicts of interest in approving migrant-
                                                                              in transit for failure to carry a passport and may have deported some
friendly practices, such as allowing for prosecution of abusive recruitment
                                                                              victims without screening for trafficking; officials sometimes identiﬁed
agencies and increasing protections for migrant workers. In June 2021,
                                                                              these individuals as trafficking victims and treated them as such. Law
the Bangladeshi Supreme Court upheld a High Court verdict dismissing
                                                                              enforcement at the borders intercepted and charged at least 55 people
a plea deal that attempted to preserve the parliamentary membership
                                                                              under the penal sections of the passport control order, despite evidence
of a Bangladeshi parliamentarian convicted in Kuwait of bribing Kuwaiti
                                                                              that these individuals had been brought to the Indian border under
officials to bring more than 20,000 Bangladeshi migrant workers into
                                                                              fraudulent pretenses for the purpose of trafficking. The government
the country. Parliament had previously revoked the member’s seat
                                                                              previously penalized some returning Bangladeshi migrant workers
following his conviction and imprisonment in Kuwait for bribery, and
                                                                              with substantial indicators of trafficking on ambiguous charges of
it initiated an investigation into the accused’s wife, also a member of
                                                                              “damaging the image of the nation” without appropriately screening
parliament who was convicted in Kuwait on a related but lesser charge,
                                                                              for trafficking. The government sentenced some of these potential
and other family members. During the reporting period, police also
                                                                              victims to jail terms, although the government eventually granted bail
arrested a close associate of the former parliamentarian who allegedly
                                                                              to the victims. The government had previously arrested and charged 81
managed the illicit proceeds by moving funds between multiple bank
                                                                              migrant workers, returned from Vietnam, for damaging the country’s
accounts. Media reported that from 2015 to 2018, Malaysian employment
                                                                              image by protesting their payment of recruitment fees for jobs that
agencies and 10 Bangladeshi recruitment agencies bribed officials and
                                                                              never materialized in front of the Bangladesh embassy in Vietnam. A
politicians in both countries to create a monopoly on recruitment of
                                                                              court granted bail to the migrant workers and ordered an investigation,
Bangladeshi workers. The monopoly increased the recruitment fees
                                                                              although the government did not report its results. The government
charged to workers from 37,000 BDT ($430) to more than 400,000 BDT
                                                                              previously arrested 219 Bangladeshi workers who had returned from
($4,650) per person—higher than the government’s legal maximum—
                                                                              Kuwait, Qatar, and Bahrain for allegedly committing similar ambiguous
which increased Bangladeshi migrant workers’ vulnerability to debt-
                                                                              offenses abroad. In November 2020, authorities released the migrant
based coercion. In November 2021, police arrested ﬁve staff members
                                                                              workers on bail; the government did not provide updates concerning
of recruitment agencies for bribing airport officials and sending
                                                                              the potential victims. Previously, the government occasionally required
workers abroad using false documents. Similar cases demonstrated
                                                                              victims of labor exploitation, including labor trafficking, to remain at
recruiting agents were directly complicit in labor exploitation by force
                                                                              embassies overseas to pursue a civil case against their employers; many
or deception. The government did not report any other investigations,
                                                                              victims wanted to return home and thus could not pursue cases. The
prosecutions, or convictions of government employees complicit in
                                                                              government did not ﬁle any trafficking cases in destination countries
human trafficking offenses.
                                                                              but did assist with investigations in Australia, Canada, India, South
                                                                              Africa, and Togo.
PROTECTION
The government decreased protection efforts. It identiﬁed fewer potential     Protective services remained strained due to the pandemic and limited
victims than in the previous reporting period and maintained severely         government resources. The government had a standard policy to refer
inadequate victim protection, especially for Bangladeshi trafficking          victims to services, although it required a court-order mechanism to
victims identiﬁed overseas. The government identiﬁed 1,138 potential          do so. During the reporting period, the Department of Social Services
trafficking victims, a signiﬁcant decrease from 6,866 in the previous         (DSS) formally adopted comprehensive Survivor Services Guidelines
reporting period; however, the government did not report details of           and referral directories to ensure minimum standards of care in
this number and, in the past, had included smuggled migrants in the           government-run shelters. Authorities commonly referred victims to
overall number. In comparison, NGOs and international organizations           government-run shelter homes for protection services, although the
reported identifying at least 580 sex trafficking victims, 6,378 labor        government occasionally referred victims to NGO-run shelters. Though
trafficking victims, and 717 victims of unspeciﬁed exploitation. Among        the government referred 5,480 victims to shelters, it did not report how
the sex trafficking victims, organizations reported 429 women, 10 men,        many victims it referred to government shelters versus NGO-run shelters,
111 female children, 10 male children, and 20 LGBTQI+ individuals, while      preventing comparison with the 126 victims referred to government
the labor trafficking victims included 4,328 men, 1,902 women, 93 female      shelters and 167 victims referred to NGO-run shelters in the previous
children, 41 male children, and 14 LGBTQI+ individuals.                       reporting period. NGOs and international organizations provided referrals
                                                                              to 618 sex trafficking victims, 543 labor trafficking victims, and 446
The Ministry of Home Affairs (MHA), the government’s lead agency
                                                                              victims of unspeciﬁed exploitation. The government and NGO-operated
for combating trafficking, had SOPs for proactive trafficking victim
                                                                              shelters decreased the services available to trafficking victims in response
identiﬁcation; however, the government did not report whether the
                                                                              to pandemic restrictions. For example, social distancing requirements in
SOPs were widely disseminated or used. Observers noted there was no
                                                                              a shelter in Cox’s Bazar reduced the number of survivors who could be
standard victim identiﬁcation procedure; many law enforcement agencies
                                                                              assisted to only 10 to 15 individuals at one time. With partial funding from
attempted to follow the PSHTA with signiﬁcant misunderstandings and
                                                                              a foreign government, the Ministry of Social Welfare (MSW) operated
lacked a formal procedure for identifying victims. Some police officers
                                                                              some longer-term shelters for women and child victims of violence,
used a checklist to proactively identify victims when they came into
                                                                              including trafficking victims, which could provide similar care. MSW
contact with individuals in commercial sex establishments; however,
                                                                              shelters, however, required a court order referral. The government also
the government did not formally adopt or disseminate the checklist,
                                                                              required NGOs and international organizations to obtain a court order
and its use was inconsistent. The government, in partnership with an
                                                                              to provide additional services to victims in government shelters. Some
international organization, developed a rapid victim identiﬁcation mobile
                                                                              victims reported abuse within the shelters. In addition, the government
application during the reporting period, although the application was not
                                                                              required trafficking victims without legal residence in Bangladesh to
yet ﬁnalized or approved for official use. The government also maintained
                                                                              remain in shelter homes until repatriation to their country of origin.
several general helplines to report crime, including human trafficking.
                                                                              Despite legal guidelines to administer services equitably, the government
Law enforcement did not uniformly employ SOPs to identify trafficking         did not consistently view adult men as trafficking victims, and the
victims among vulnerable populations, including individuals engaged           government did not routinely identify or provide equitable services to

                                                                                                                                 Haiti AR_000592                 111
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 217 of 729
BANGLADESH   male victims. While some NGO shelters could house male victims, the            of foreign victims of human trafficking identiﬁed in Bangladesh. The
             majority of both government and NGO shelters could not; however,               government worked with an international organization to repatriate 35
             most NGOs could provide non-shelter services to adult male victims.            Bangladeshi trafficking victims from Lebanon, Libya, Malaysia, Vanuatu,
             The government did not report how many trafficking victims its police          and Vietnam. The government formed an inter-ministerial committee
             and MSW shelters assisted during the reporting period.                         to identify trafficking victims among deported returnees from Libya.
                                                                                            Trafficking victims of Bangladeshi origin are likely to be deported or
             The government provided services to 442 sex trafficking victims, 2,420
                                                                                            turned away without screening for trafficking in destination or transit
             labor trafficking victims, and 1,410 victims of unspeciﬁed exploitation
                                                                                            countries, particularly India. The MHA and the Government of India
             during the reporting period. In comparison, NGOs and international
                                                                                            continued to ﬁnalize victim identiﬁcation and repatriation SOPs. The
             organizations provided services to 751 sex trafficking victims, 4,656
                                                                                            governments facilitated, and NGOs funded, repatriation of trafficking
             labor trafficking victims, and 557 victims of other exploitation. The
                                                                                            victims from India, but without a ﬁnal, adopted SOP, the lengthy
             government reported these services included eight victim support
                                                                                            and complex approval system resulted in some Bangladeshi victims
             centers for women and children that provided free food, clothing,
                                                                                            languishing in Indian shelters for years. Both governments coordinated
             medical care, and education to 34 trafficking victims. Counter Trafficking
                                                                                            several repatriation initiatives over the previous year, including a group
             Committee (CTC) members and police used referral directories developed
                                                                                            of 21 women and children in 2022. Border closures due to the pandemic
             by a partner organization to refer victims and at-risk individuals to
                                                                                            temporarily halted repatriation services, often resulting in signiﬁcant
             services, although the absence of well-established protocols created
                                                                                            distress for trafficking survivors in shelters waiting to return home from
             challenges referring identiﬁed victims to appropriate services. Police
                                                                                            destination countries.
             operated multiple centers for women and child victims of violence,
             including trafficking, in each of Bangladesh’s eight divisions, offering       While the 2012 PSHTA mandated creation of a fund to assist victims
             short-term shelter, medical services, and psychological care. In response      in seeking compensation from their traffickers, the government had
             to pandemic-related restrictions, the Ministry of Women and Children           not yet created the fund. Trafficking victims were encouraged to ﬁle
             Affairs created psycho-social support options through cell phone and           cases under the PSHTA, although an alternative system of arbitration
             email. Government-run hospitals also had one-stop centers to assist            existed with MEWOE. All trafficking victims could ﬁle civil suits seeking
             female victims of crime, although it was unclear whether and how               compensation, and trafficking victims had the right to pursue restitution
             officials referred women to these centers. The government’s NGO Affairs        from defendants in criminal cases, although restitution through out-
             Bureau previously withheld approval for foreign funding to some NGOs           of-court settlements between victims and traffickers remained more
             working on some human rights or humanitarian issues, which may have            common. These settlements typically involved victims recanting their
             affected availability and provision of services to vulnerable populations,     testimony, effectively eliminating the possibility of the trafficker facing
             including trafficking victims. The pandemic limited resources and strained     a criminal conviction. Overseas Bangladeshi workers who secured their
             the ability of NGOs to offer victim services. The PSHTA entitled victims       employment through MEWOE could lodge complaints with MEWOE
             to protection during judicial proceedings, including police security,          to seek restitution for labor and recruitment violations, including
             and allowed victims to provide testimony via video conference. While           allegations of forced labor, through an arbitration process. However,
             some victims participated in the investigation and prosecution of their        trafficking-related corruption impeded the process, which often yielded
             traffickers, the government and NGOs noted insufficient implementation         minimal awards. At least one NGO reported the Bureau of Manpower
             of the protection provision contributed to a lack of participation by          and Employment Training (BMET), which facilitated the arbitration,
             most trafficking victims. The government offered free legal services           prohibited NGO advocates from accompanying migrant workers, forcing
             to trafficking victims through public and special prosecutors, as well         workers to arbitrate claims alone against both powerful recruitment
             as legal and ﬁnancial support through the Bangladesh National Legal            agencies and BMET. MEWOE reported it settled 22 complaints against
             Aid Organization. The government allocated funding to provide legal            recruitment agents in FY 2020-2021, compelling them to pay 1.52 million
             services to trafficking victims through the district offices of the National   BDT ($17,670) to migrant workers, compared with 424 recruitment agents
             Legal Aid Service Organization (NLASO). Government-run District Legal          compelled to pay 24.04 million BDT ($279,530) in compensation in 2020;
             Aid Committees could also offer free legal services to victims, although       MEWOE did not report whether any complaints involved forced labor.
             the services were insufficiently publicized among eligible survivors. The      MEWOE also operated a desk at the Dhaka airport, providing up to 5,000
             government did not provide legal alternatives to removal of foreign            BDT ($58) and information on available NGO services to returning female
             trafficking victims to countries where they might face hardship or             migrant workers, including trafficking victims. Because the government
             retribution. However, foreign victims of trafficking were legally entitled     did not consistently initiate criminal investigations into migrant workers
             to the same beneﬁts as Bangladeshi nationals under the PSHTA. In               exploited abroad and civil remedies remained inadequate, civil society
             addition, NGOs and international organizations could care for foreign          organizations ran alternate dispute resolution systems to assist labor
             trafficking victims. NGOs provided temporary care to Rohingya trafficking      trafficking victims in obtaining some ﬁnancial remedies.
             victims in safe homes, but most returned to the refugee camps, where
             they remained vulnerable to re-trafficking. The government allowed             PREVENTION
             some NGOs to provide shelter services without a court order in Cox’s           The government maintained efforts to prevent trafficking. MHA remained
             Bazar, although the organizations needed to ﬁrst receive permission            the focal ministry for anti-trafficking efforts and continued to lead the
             from officials overseeing the refugee camps.                                   inter-ministerial committee for combating human trafficking, which met
                                                                                            bi-monthly to coordinate government activities. During the reporting
             The Ministry of Expatriates’ Welfare and Overseas Employment (MEWOE)
                                                                                            year, several MHA officials with responsibilities for coordinating anti-
             maintained 29 labor offices, or labor welfare wings, in embassies and
                                                                                            trafficking efforts transitioned to new government positions, leading
             consulates in 26 major destination countries to provide welfare services
                                                                                            to some loss of institutional knowledge and impeding long-term anti-
             to Bangladeshi migrant workers through labor attachés trained on
                                                                                            trafficking efforts. The National Authority, an institution that serves as
             trafficking issues. These labor attachés were responsible for reviewing and
                                                                                            a government-wide supervisory body on combating trafficking, met
             verifying employment documents. International organizations continued
                                                                                            regularly, but civil society reported the National Authority was not
             to report these labor wings had neither the staffing nor the resources to
                                                                                            formally institutionalized. The government considered expanding the
             assist the large number of migrant workers, especially at embassies in
                                                                                            National Authority’s membership—including to civil society participants—
             the Gulf with large numbers of Bangladeshi workers. MEWOE operated
                                                                                            to improve its effectiveness. The government also did not clarify the
             ﬁve safe houses abroad for workers with strong indicators of trafficking
                                                                                            distinct roles of the National Authority versus the inter-ministerial
             who ﬂed abusive employers, but it did not report how many individuals
                                                                                            committee. The government began to revise its 2018-2022 anti-trafficking
             or victims the shelters assisted. While the government funded some
                                                                                            national action plan (NAP), including extending the NAP through 2025.
             trafficking victim repatriation, it often took so long that victims funded
                                                                                            The government previously harmonized NAP implementation with
             it themselves and incurred additional debt. The government relied on
                                                                                            funded Sustainable Development Goals to cover costs associated with 95
             NGOs to support victims upon repatriation. The government made
                                                                                            percent of the plan. The government directed most NAP funding toward
             minimal efforts to assist Bangladeshi sex and labor trafficking victims
                                                                                            prevention efforts; thus, observers recommended officials increase the
             abroad, although the PSHTA included provisions for the repatriation

  112                                                                                                                                    Haiti AR_000593
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 218 of 729




                                                                                                                                                               BANGLADESH
plan’s coverage of prosecution, protection, partnerships, and monitoring        more than 450 percent of the government’s ﬁxed recruitment price for
and evaluation. The government reported that the PSHTA and NAP were             the total labor migration process in 2018. According to the research, the
developed through a multi-stakeholder participatory process, including          government’s ﬁxed recruitment fee for Saudi Arabia was equivalent to
anti-trafficking organizations and human trafficking survivors. In addition     a Bangladeshi worker’s salary for ﬁve and a half months, and workers in
to the National Authority, which coordinated intragovernmental efforts,         reality paid fees equivalent to more than two years of salary. Observers
the government supported several other task forces and committees               assessed the high cost of legal migration drives some prospective
to monitor progress on anti-human trafficking and to harmonize anti-            migrants to illegal agents who facilitate human trafficking using false
trafficking efforts between government agencies, NGOs, and international        promises of overseas employment. The Bangladesh Association of
organizations. These included the National Coordination Committee to            International Recruiting Agencies (BAIRA) acknowledged migrant
Combat Human Trafficking, Committee to Monitor the National Plan of             workers frequently paid sub-agents—or dalals—fees in addition to the
Action for Combatting Human Trafficking, and the Vigilance Task Force           legal amount BAIRA agents charged before the workers began the
(VTF). The Rescue, Recovery, Repatriation, and Reintegration (RRRI)             formal recruitment process. Dalals also directly connected workers to
Task Force primarily focused on trafficking cases involving women               overseas jobs by providing fake visas and other documentation and,
and children and coordinated with Indian counterparts. Furthermore,             in some cases, incorrect information about the migration process and
the government continued to support counter trafficking committees              the job in the destination country. Observers stated a migrant worker’s
(CTCs) at district, sub-district, and union levels to facilitate coordination   ﬁnancial situation, not skills or abilities, often determined job placement.
between local governments and civil society to combat human trafficking.        Although the government did not prohibit worker-paid recruitment
MHA did not make its annual reports on human trafficking public, and            fees, some officials have advocated for employer-paid recruitment fee
anti-trafficking law enforcement data was published online but did not          models and ethical recruitment practices.
always contain current statistics.
                                                                                The government required recruitment agencies or authorized
The government maintained 15 bilateral labor agreements, in part                representatives to receive approval to recruit workers for overseas
intended to protect Bangladeshi workers abroad, and reported that the           employment. BAIRA oversaw 1,442 licensed labor recruitment agencies.
agreements were fully implemented, although there was no evidence               MEWOE had the authority to register recruiting dalals and required
the government enforced the agreements. A Bangladesh and Malaysia               brokers to register sub-agents and representatives. MEWOE suspended
ﬁve-year agreement, signed in December 2021, anticipates the hiring             183 recruitment agencies in FY 2020-2021 for operating in violation of
of one million Bangladeshi workers, although Malaysian authorities              the law, including breach of employment contracts and recruitment
sought to limit recruitment to only 25 agencies. The Government                 regulations. MEWOE did not report how it was monitoring existing
of Bangladesh has urged Malaysia to keep the recruitment agency                 or new agents for compliance. NGOs stated the government needed
selection process fair and transparent to avoid any form of monopoly.           to do more to bring all recruiting companies into compliance with
The MEWOE also prepared a draft memorandum of understanding                     this directive. MEWOE continued to develop a classiﬁcation system
with the Government of Libya to facilitate labor migration following            to rank licensed recruiting agencies into four categories based on
the removal of restrictions in November 2021. At the beginning of the           compliance with the law, including adherence to government-ﬁxed
pandemic, the government took steps to prepare for the anticipated              recruitment fees, number of branch offices, frequency of complaints,
repatriation of Bangladeshi workers, including by providing a one-time          and other considerations. The government’s VTF—a multiagency effort
payment for returning migrant workers and encouraging destination               to monitor and enforce compliance of rules and regulations during the
countries to protect migrant worker jobs and provide ﬁnancial support           migration process and prevent irregular migration—continued operations
for workers who had been laid off.                                              against corrupt recruitment agencies, travel agencies, and dalals, who
                                                                                operated in rural locations and connected prospective migrant workers
For Bangladeshis who migrated during the pandemic, the government
                                                                                to licensed employment agencies. The VTF-operated mobile courts
continued to require pre-departure training, including safe migration and
                                                                                received complaints, took legal action against agencies and institutions,
anti-trafficking components, and a 30-day pre-departure training course
                                                                                disseminated migration information to agencies, and prevented human
for female domestic workers. The government offered safe migration
                                                                                trafficking under the pretenses of labor migration. Mobile courts
information through numerous district employment and manpower
                                                                                prescribed ﬁnes or imprisonment; ﬁnes were inadequate penalties
offices and training centers. However, it was unclear how many migrants
                                                                                to deter the crime. VTF mobile courts convicted some recruitment
were aware of these services and accessed them before traveling abroad.
                                                                                agents and issued sentences for varying terms of imprisonment and
Bangladesh Overseas Employment and Services Limited (BOESL), the
                                                                                imposed ﬁnes of 950,000 BDT ($11,050) for labor trafficking-related
government-run recruiting agency, organized district-level job fairs to
                                                                                offenses under the 2013 OEMA, which included sending migrant workers
increase awareness of ethical recruitment and safe migration methods
                                                                                abroad unlawfully, charging unlawful recruitment fees, and fraudulent
among potential migrants. The District Employment and Manpower Office
                                                                                recruitment.
(DEMO) and Technical Training Centers also provided pre-departure
training for migrant workers on topics such as labor rights, labor laws,        In October 2021, recruiting agencies petitioned the government to
and access to overseas assistance. In addition, the government made             amend the PSHTA to require that workers who receive clearance from
BMET-certiﬁed pre-departure orientation sessions available online for           BMET, the government agency responsible for preparing and certifying
migrant workers. However, BMET reportedly allowed some recruitment              outbound Bangladeshi workers, and travel abroad legally must ﬁle any
agencies to prohibit brieﬁngs by NGOs on topics “against recruiting             allegations against the recruiting agencies under the OEMA rather than
agencies’ interests.”                                                           the PHSTA. The home minister affirmed that trafficking complaints by
                                                                                migrant workers lodged with police should be referred to BMET for
The MEWOE began the process of amending the Overseas Employment
                                                                                resolution. The revised process would prevent potential victims from ﬁling
and Migration Act (OEMA), 2013—which will be known as the
                                                                                a criminal case with police until BMET failed to resolve the complaints.
Overseas Employment and Migration Act, (Revised) 2022—to bring
                                                                                The revised process would also beneﬁt recruiting agencies because
recruiting agents and representatives under greater accountability
                                                                                the penalties under the OEMA are less severe than those under the
and transparency. OEMA criminalized fraudulent recruitment and
                                                                                PHSTA. If formally adopted, the change would require handling human
unlawful recruitment fees; however, these provisions still permitted the
                                                                                trafficking as a labor issue involving negotiation and arbitration rather
government to set legal recruitment fees at rates between 85,000 BDT
                                                                                than a criminal offense. The government’s decision to restrict potential
and 262,000 BDT ($990-$3,050), high enough to render many migrant
                                                                                labor trafficking cases to arbitration through the BMET prevented law
workers indebted and vulnerable to trafficking through debt-based
                                                                                enforcement from arresting recruitment agents who may continue to
coercion, and observers noted many migrants paid more than the legally
                                                                                facilitate migrant transit despite signiﬁcant risks.
permissible rates. The government established ﬁxed recruitment fees
for 16 labor-receiving countries, with the largest number of Bangladeshi        In January 2022, the government ratiﬁed ILO P029—Protocol of
workers. However, workers continued to pay large fees that were greater         2014 to the Forced Labour Convention, 1930, as part of its efforts to
than the ﬁxed amount to pay for service charges, airfares, passports, visas,    declare domestic and export-oriented sectors free of child and forced
medical charges, and other expenses. A research organization reported           labor. In March 2022, the government submitted its ratiﬁcation for the
Bangladeshi migrant workers traveling to Saudi Arabia on average paid           International Labor Organization’s Minimum Age Convention, 1973
                                                                                                                                  Haiti AR_000594               113
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 219 of 729
BANGLADESH   (No.138), which requires establishing a minimum age for employment           families sent their children to beg or exposed them to commercial
             and represented a further step to eliminate child labor. The Department      sexual exploitation.
             of Inspection for Factories and Establishments (DIFE) is the only
                                                                                          Bangladesh is the world’s sixth largest migrant-sending country and
             authority responsible for enforcing labor laws related to child labor and
                                                                                          the eighth largest country receiving remittances, according to an
             may ﬁle cases in labor courts regarding labor law violations, including
                                                                                          international organization. Traffickers exploit some Bangladeshi men,
             child labor. However, DIFE only had authority to ﬁle cases in labor
                                                                                          women, and children who migrate willingly to work in the Middle East
             courts—not criminal courts—and the labor courts have never referred
                                                                                          and Southeast Asia, especially Brunei, Malaysia, and the Maldives, in
             a case to the criminal courts. In 2020-2021, fewer than half of DIFE’s
                                                                                          forced labor. Traffickers also exploit Bangladeshis in forced labor in South
             positions were ﬁlled, and there were no inspectors dedicated to child
                                                                                          Asia, Southern and Eastern Africa, Europe, and the United States. Many
             labor. While international organizations estimated 93 percent of child
                                                                                          Bangladeshis migrate for work each year through illegal channels, and
             labor—including forced child labor—took place in the informal sector,
                                                                                          traffickers target them. The number of migrants attempting to reach
             inspectors were not empowered to monitor the informal sector. NGOs
                                                                                          Europe via the Mediterranean increased signiﬁcantly during the reporting
             estimated child labor increased by 30 to 40 percent in 2020, due to
                                                                                          period, and many migrants fell victim to trafficking before leaving
             the pandemic. Staffing and resources to inspect for labor violations,
                                                                                          Bangladesh or while en route to Europe. Before departure, many workers
             including forced and child labor, remained severely inadequate, and
                                                                                          assume debt to pay high recruitment fees, imposed legally by recruitment
             inspectors regularly conducted announced inspections, which gave
                                                                                          agencies belonging to BAIRA and illegally by unlicensed sub-agents;
             employers time to hide children or exploitative conditions. DIFE labor
                                                                                          this places workers at risk of debt-based coercion. Although one study
             inspectors did not receive routine training on forced labor and labor
                                                                                          found that the cost of migration has decreased slightly in recent years,
             trafficking. The government has not conducted a child labor survey
                                                                                          Bangladeshi workers continue to pay the highest migration fees in the
             since 2013. The government continued to conduct national awareness
                                                                                          region. Some recruitment agencies, agents, and employers also commit
             campaigns through print media, television, radio, and text messages, as
                                                                                          recruitment fraud, including contract switching; this includes promising
             well as through its sub-district level CTCs, at times in partnership with
                                                                                          women and children jobs and exploiting them in sex trafficking upon
             NGOs. Most campaign materials were only available in Bangla, which
                                                                                          arrival. In recent years, authorities identiﬁed more than 100 Bangladeshi
             presented a possible barrier for foreign victims.
                                                                                          male forced labor victims in construction in Vanuatu, and officials
             The government continued to allow international organizations and            received thousands of complaints of non-payment of wages and contract
             NGOs to provide some assistance to refugees. However, Rohingya               switching among the 30,000 Bangladeshi migrant workers in Brunei.
             refugees did not enjoy freedom of movement in Bangladesh, and access         More than 69,000 of the 234,000 Bangladeshi workers in Maldives are
             to education remained difficult for Rohingya youth. Though a pilot           undocumented, and some report passport retention, underpayment or
             program to introduce the Burmese national curriculum in the camps to         non-payment of wages, and fraudulent recruitment. In Saudi Arabia,
             some Rohingya ages 11 to 13 resumed in September 2021 after pandemic-        traffickers exploit through labor trafficking a substantial number of
             related closures, the government continued to bar Rohingya from Bangla       the hundreds of thousands of Bangladeshi female domestic workers.
             language schools, closed informal schools established by the Rohingya
                                                                                          Traffickers exploit Bangladeshi women and girls in forced labor and
             community, prevented Rohingya from working legally, and restricted
                                                                                          sex trafficking abroad, including in India, Pakistan, and Gulf countries.
             their movement, all of which increased vulnerability to trafficking. The
                                                                                          Traffickers sold some women—who migrated through Bangladeshi
             government collaborated with the Inter-Sector Coordination Group—
                                                                                          recruitment agencies to Lebanon or Jordan for domestic work—into
             responsible for coordinating all activities of implementing organizations
                                                                                          forced labor. Some People’s Republic of China (PRC) national traffickers
             in the Rohingya camps—to disseminate TIP-related awareness raising
                                                                                          force Bangladeshi women, speciﬁcally Indigenous women from the
             messages among Rohingya populations and the host communities.
                                                                                          Chittagong Hill Tracts, into sex trafficking and domestic servitude through
             The government facilitated access for international organizations and
                                                                                          arranged marriages. Some traffickers falsify identity documents to make
             NGOs to conduct outreach activities, meetings, and anti-trafficking
                                                                                          children appear older than age 18 to send them abroad. The bodies of
             activities in Rohingya camps. However, pandemic restrictions allowed
                                                                                          many deceased Bangladeshi domestic workers have been repatriated
             only small-scale programs to continue.
                                                                                          from the Middle East, including the body of a 13-year-old girl sent to
             The government provided basic anti-trafficking training to military and      Saudi Arabia through a labor recruiter with a falsiﬁed passport listing
             police officers prior to their deployment as peacekeepers and provided       her age as 27. A study reported that nearly all the deceased migrant
             anti-trafficking training for its diplomatic personnel. The government       workers had died of unnatural causes in destination countries, including
             reported the demotion of one repatriated peacekeeper for a sexual            Gulf states. During 2020, NGOs reported traffickers used promises of
             assault involving a child in Haiti in 2017. Commercial sex is legal in       employment in “COVID-19 free” locations to attract victims. Traffickers
             registered brothels, and the individuals involved—including foreign          have reportedly become increasingly sophisticated at deceiving the
             nationals—must receive documentation from police conﬁrming their             families of victims to delay ﬁling of missing persons reports.
             consent and appropriate age. While the government operated a program
                                                                                          Traffickers continue to exploit adults and children from all regions
             for women from lower socioeconomic backgrounds who sought to cease
                                                                                          of the country in Bangladesh’s legal brothels, many illegal brothels,
             participation in commercial sex, it did not make efforts to reduce the
                                                                                          and private hotels. Traffickers use false promises of work to lure poor
             demand for commercial sex acts. The government did not make efforts
                                                                                          women and children into sex trafficking and fabricate exorbitant debts
             to reduce the demand for child sex tourism, although the government
                                                                                          the women and girls as young as 10 must repay. Child sex trafficking
             plans to address child sex tourism in its updated National Plan of Action.
                                                                                          remained widespread; one organization estimated that 30,000 girls are
                                                                                          sexually exploited in Bangladesh. Experts estimate that 20,000 children
             TRAFFICKING PROFILE                                                          are both growing up in and exploited in commercial sex in Bangladeshi
             As reported over the past ﬁve years, traffickers exploit domestic and
                                                                                          brothels. Several women and girls reported traffickers preyed on them
             foreign victims in Bangladesh, and traffickers exploit victims from
                                                                                          and sold them to brothels, after the women ﬂed abusive child marriages.
             Bangladesh abroad. The effects of the pandemic resulted in increased
                                                                                          Other women reported they had grown up in brothels because their
             vulnerability for a wider segment of Bangladeshi society. The most
                                                                                          mothers were engaged in commercial sex and brothel owners forced
             at-risk groups included victims of child marriage and gender-based
                                                                                          them into commercial sex when they were children. In some registered
             violence; poor and marginalized persons; people who lost jobs due
                                                                                          brothels, owners force children to take steroids to appear older. In
             to the pandemic; seasonal laborers recruited from northwest districts
                                                                                          legal brothels, some police charge bribes to ignore abuse within the
             for destinations in India; poorly educated and unemployed youth and
                                                                                          establishment, forego checking for required documentation that each
             students; people affected by natural disasters and climate change;
                                                                                          individual is older than 18, and to procure fraudulent documentation
             Rohingya refugees; and people attempting to reach other countries
                                                                                          for children as young as 10 years old. Traffickers have increasingly lured
             through irregular migration. Pandemic restrictions and revenue losses had
                                                                                          potential victims through social media, including Facebook, Instagram,
             devastating economic consequences for Bangladesh’s most vulnerable
                                                                                          TikTok, and mobile messages. Some traffickers force sex trafficking
             families. As needs increased in both rural areas and urban slums, some
                                                                                          victims to become addicted to drugs and use addiction to keep them
                                                                                          in sex trafficking and involuntary unlawful acts. Sex traffickers exploit
  114                                                                                                                                  Haiti AR_000595
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 220 of 729




                                                                                                                                                            BARBADOS
children experiencing homelessness or using the streets as a source of       efforts compared with the previous reporting period, considering
livelihood in exchange for food, shelter, protection, and money. NGOs        the impact of the COVID-19 pandemic on its anti-trafficking capacity;
describe increasingly widespread job losses, wage cuts, and poverty in       therefore Barbados was upgraded to Tier 2. These efforts included
rural areas and urban slums due to the pandemic, which forces some           signiﬁcantly increasing investigations; initiating two prosecutions and
children into begging and commercial sex. A study found that child sex       doing so for the ﬁrst time since 2013; identifying a victim for the ﬁrst
trafficking victims are forced to take more clients at lower wages and       time since 2016; improving victim screening, including by assessing
experience more violence and sickness than adults voluntarily engaged        whether authorities inappropriately incarcerated victims; making
in commercial sex.                                                           efforts to address complicity among police officers; and launching a
Traffickers often used debt-based coercion to compel workers into labor,     public awareness campaign. However, the government did not meet
exploiting an initial debt assumed by a worker as part of the employment     the minimum standards in several key areas. The government has
terms. Traffickers force adults and children to work in the shrimp and       never secured a trafficking conviction under the Trafficking in Persons
ﬁsh processing industries, aluminum, tea, garment factories, brick           Prevention Act (TIPPA). The anti-trafficking law did not provide penalties
kilns, dry ﬁsh production, and shipbreaking. Traffickers force children      that were commensurate with other serious crimes. The government
younger than 14 years into domestic work, including through torture          did not contribute to training for any officials.
and restricting their movement. In 2018, a survey by an international
organization found more than 400,000 children in domestic work in
                                                                                      BARBADOS TIER RANKING BY YEAR
Bangladesh. A 2021 report found that at least 28 children were tortured
                                                                                  1
and 10 children died while working as housemaids. Bangladeshi children
are at risk for forced labor in tanneries. Traffickers coerce children           2
experiencing homelessness into criminality or force them to beg, and           2WL
begging ringmasters sometimes maim children to increase earnings.
                                                                                  3
Traffickers force children, especially in border areas, to produce and                   2015     2016     2017       2018   2019    2020   2021   2022
transport drugs, particularly a type of methamphetamine called yaba.
A survey found that some Bangladeshi families were subject to debt
bondage in shrimp farming. Another study estimated that approximately
40,000 children are enslaved for nine months at dry ﬁsh processing           PRIORITIZED RECOMMENDATIONS:
units, while their parents receive money advances against the children’s     Proactively screen vulnerable groups, including children, migrants, and
salaries. Traffickers use coercive debts to force Bangladeshi families and   Cuban workers, for trafficking indicators beyond points of entry and
Indian migrant workers to labor in brick kilns, shrimp farming, and on tea   identify victims among these populations. • Vigorously investigate,
estates. One organization estimated more than 25,000 children work           prosecute, and convict traffickers with adequate sentences, including
in deplorable conditions in the Keraniganj industrial district’s garment     substantial imprisonment, and reduce court backlog for trafficking
factories, including many children who became indentured and serve           cases. • Amend the anti-trafficking law to remove sentencing provisions
as collateral for their parents’ loans. NGOs allege some officials allow     that allow ﬁnes in lieu of imprisonment for sex trafficking crimes.
human traffickers to operate at India-Bangladesh border crossings and        • Finish updating victim screening and referral standard operating
maritime embarkation points.                                                 procedures (SOPs), regularly train frontline workers on the SOPs, and
Bangladesh hosts nearly one million Rohingya in refugee camps and            improve coordination with NGOs for victim referral. • Provide regular
host communities in Cox’s Bazar near the Burmese border and in other         victim identiﬁcation and referral training for law enforcement officials,
parts of the country, approximately 750,000 of whom arrived after            prosecutors, and judges to recognize trafficking indicators, improve
August 2017. Traffickers exploit Rohingya men, women, and children from      evidence-gathering, and implement the anti-trafficking law.• Fully
refugee camps in sex and labor trafficking both within Bangladesh and        implement the National Action Plan (NAP). • Provide trafficking victims,
transnationally. Traffickers transport Rohingya girls within Bangladesh to   including potential victims, with adequate accommodations and access
Chittagong and Dhaka and transnationally to India, Malaysia, and Nepal       to trauma-informed service providers. • Update and modernize labor
for sex trafficking, sometimes using false promises of jobs or marriage;     laws on recruitment and public procurement to prevent trafficking and
some traffickers “trade” these girls over the internet. As reported in       protect victims. • Continue to increase awareness of human trafficking
previous reporting periods, local criminal networks take Rohingya women      among the public.
from refugee camps at night, exploit them in sex trafficking, and bring
them back to the camps during the day. International organizations           PROSECUTION
allege some Bangladeshi officials facilitate trafficking of Rohingya,        The government increased prosecution efforts. The TIPPA criminalized
including accepting bribes from traffickers to gain access to camps.         sex trafficking and labor trafficking. The penalties prescribed for adult
Rohingya girls and boys are recruited from camps and forced to labor         trafficking were up to 25 years’ imprisonment, a ﬁne of up to 1 million
as shop hands, ﬁshers, rickshaw pullers, and domestic workers. Some          Barbados dollars (BDS) ($495,050), or both. The penalties prescribed
Bangladeshi ﬁshermen use debt-based coercion to exploit Rohingya men         for child trafficking were up to life imprisonment, a ﬁne of up to 2 million
if they place their shelter on the ﬁsherman’s land. Some Rohingya men        BDS ($990,100), or both. These penalties were sufficiently stringent.
who ﬂed to Bangladesh from Burma decades ago have been trapped               However, by allowing for a ﬁne in lieu of imprisonment, the prescribed
in forced labor through debt-based coercion to Bangladeshi ﬁshermen          punishment for sex trafficking was not commensurate with those
for decades. In 2016, some traffickers sold into forced labor Rohingya       for other serious crimes, such as rape. The government continued a
and Bangladeshi migrants, who traveled by boat to Southeast Asia and         process, begun in the previous reporting period with the assistance of
could not pay ransoms. Multiple NGOs and humanitarian officials assess       a foreign government, to revise the sentencing guidelines for human
Rohingyas’ statelessness and inability to receive formal schooling or to     trafficking and other crimes in order to eliminate ﬁnes as an alternative
work legally have increased their vulnerability to traffickers. Tourists     to imprisonment; the process remained ongoing at the end of the
increase demand for child sex tourism, including exploitation of Rohingya    reporting period.
girls, near Cox’s Bazar.
                                                                             The government reported it initiated 40 investigations during the
                                                                             reporting period, 25 for sex trafficking and 15 for labor trafficking, and
                                                                             continued three investigations from previous reporting periods. This
 BARBADOS: TIER 2                                                            compared with two new investigations each in 2020 and 2019. The
                                                                             government initiated prosecution of two Barbadian men for suspected
                                                                             sex trafficking. The government had not reported initiating a prosecution
The Government of Barbados does not fully meet the minimum                   since 2013, and that prosecution remained pending. The government
standards for the elimination of trafficking but is making signiﬁcant        has never convicted a trafficker under the 2016 TIPPA, reﬂecting long
efforts to do so. The government demonstrated overall increasing             lags between arrests and prosecutions across the justice system; the

                                                                                                                                    Haiti AR_000596         115
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 221 of 729
BARBADOS   closest trafficking cases pending prosecution predated the 2016 TIPPA         the National Task Force Against Trafficking in Persons (Task Force) for
           by several years. The government did not report any investigations,           service provision. The Sex Crimes and Trafficking Unit also could place
           prosecutions, or convictions of government employees complicit in             victims in protective care and refer them to an NGO-operated safe
           trafficking offenses. In response to advocacy from civil society groups,      house, although it did not do so this reporting period. The government
           the government implemented a new regulation that prohibited police            designated the Gender Affairs Bureau as the government coordinator
           officers from moonlighting as security officers in adult entertainment        for local NGO assistance to victims.
           venues and bars to avoid any actual or perceived conﬂict of interest in       The government reported it provided services to the victim identiﬁed,
           the police’s role in deterring, detecting, and responding to trafficking      including a child psychologist and counseling, other medical care, and
           and other crimes.                                                             ﬁnancial assistance for school and day-to-day expenses. Under the TIPPA,
           The Sex Crimes and Trafficking Unit of the Barbados Police Service            all victims, including those with disabilities, had to be provided safe
           (BPS) investigated all potential human trafficking cases, while the           shelter, counseling, healthcare, and information regarding their rights. A
           Department of the Director of Public Prosecutions (DPP) was responsible       foreign victim of trafficking and the victim’s accompanying dependent
           for prosecuting trafficking cases. These entities had island-wide             children could receive, for the duration of their stay and at the relevant
           jurisdiction and their responsibilities extended beyond trafficking.          minister’s discretion, support that included housing or safe shelter,
           There were no courts solely dedicated to hearing trafficking cases; any       education and training opportunities, psychological counseling, legal
           such cases could be heard in one of the ﬁve criminal courts. Serious          assistance, help with obtaining documents, living expenses, and medical
           criminal cases, including trafficking cases, required in-person jury trials   assistance. Authorities could interview victims to ascertain their housing
           unless the defendant was pleading guilty or in rare instances where the       and general health care needs. The government had the capacity and
           case involved no witnesses. By law, these jury trials could not take place    ﬁnancial resources to provide all services except housing, but reported no
           remotely, and therefore authorities prosecuted few trafficking or other       victims needed these services during the reporting period. There was no
           serious criminal cases during the reporting period due to the pandemic.       specialized shelter for trafficking victims. Female trafficking victims and
           The government reported this exacerbated an already substantial court         their dependents could reside at an NGO-operated women’s domestic
           backlog, including the 2013 case. The government reported the BPS,            shelter; however, this shelter did not have the resources for trafficking
           the DPP, and the courts had dedicated budgets, with the Sex Crimes            victims and previously provided inadequate care. The government
           and Trafficking Unit funded through the BPS budget. The government            had a separate agreement with an NGO to provide accommodations
           reported these entities had adequate ﬁnancial resources during the            to male victims. Adult victims could leave shelters unchaperoned and
           reporting period. The government reported essential services, including       could work while receiving assistance. The children’s care board could
           the BPS, worked throughout the pandemic but reported authorities had          provide care for any identiﬁed child victims.
           to forego some operational aspects, including raids. The Sex Crimes           The TIPPA authorized the government to provide safeguards for
           and Trafficking Unit had fewer officers due to the pandemic. The              victims’ identities and those of their families, issue work permits,
           government continued to report difficulties with evidence gathering,          and provide transportation and security during legal proceedings.
           particularly data collection and analysis. The police began to replace        Authorities allowed trafficking victims and witnesses to provide testimony
           paper-based records with a fully digitized case management system             virtually, including from other countries, but did not report using these
           during the previous reporting period to comprehensively capture crime         measures. Prosecutors processed trafficking cases through a voluntary
           and violence data, including trafficking; the transition was ongoing          bill of indictment; victims provided evidence only one time to avoid re-
           at the end of the reporting period. The government included human             traumatization. The government could accommodate victims who wished
           trafficking within introductory trainings for police; the government          to be repatriated in a safe place; they could return without unreasonable
           did not otherwise fund or provide training. The government reported           delay. The government maintained an informal policy allowing foreign
           that if a sex tourism case was associated with human trafficking, the         victims to receive temporary legal status as an alternative to their
           suspect could be tried for crimes committed abroad; but it did not report     removal to countries where they would face hardship or retribution by
           initiating any such prosecutions. The government cooperated with a            traffickers. The Minister of National Security could authorize victims,
           foreign government on one investigation, which involved a popular social      on a case-by-case basis, to remain and work in the country; however,
           media site. The government cooperated with international partners in          the government did not report granting this status during the reporting
           the investigation of two migrant smuggling operations that included           period. Government policy permitted victims to leave the country
           potential trafficking crimes.                                                 and return for hearings, but the government did not report any such
                                                                                         instances. The TIPPA allowed courts to order restitution from a trafficker
           PROTECTION                                                                    after a conviction; however, no victims received restitution. Victims
           The government slightly increased efforts to protect victims. The             could request government assistance to receive compensation. The
           government identiﬁed one child sex trafficking victim; the government         government, in collaboration with a foreign government, trained BPS
           had not identiﬁed a victim since 2016, when the government identiﬁed          officers on trafficking crimes and victim identiﬁcation.
           eight victims. The BPS utilized an interview checklist to screen potential
           trafficking victims. The Sex Crimes and Trafficking Unit and the              PREVENTION
           Immigration Department worked with an international organization to           The government increased prevention efforts. The Attorney General
           update victim screening procedures; the project remained ongoing at the       headed the Task Force, which included representatives from nine
           end of the reporting period. The BPS conducted regular surveillance of        government entities and a non-governmental professional women’s
           individuals in commercial sex for case intelligence and victim screening,     organization; the Task Force also worked with other government entities
           although adult entertainment clubs were closed due to the pandemic.           as needed. The Task Force and another NGO began to collaborate by
           The government reported law enforcement screened for trafficking              having Task Force Public Service Announcements placed on the NGO’s
           indicators when detaining or arresting individuals involved in commercial     social media platforms. The Task Force met three times during the
           sex, migrants, or other vulnerable groups; however, the government            reporting period, and the sub-committee on prevention met bi-weekly.
           reported there were few such opportunities due to the pandemic. The           The government allocated 125,000 BDS ($61,880) to implement the
           Sex Crimes and Trafficking Unit collaborated with the Drug Squad              2021-2023 NAP for two years. The government used the results of a
           to screen individuals incarcerated for movement of illicit drugs for          study on the nature and extent of trafficking in the country to launch
           indicators of human trafficking. The government reported it did not           an English-language public awareness campaign in March 2022. The
           receive any victim referrals from NGOs or civil society organizations.        campaign encompassed public service announcements, social media
           The government reported that Cuban medical professionals worked               messaging, free memorabilia containing anti-trafficking slogans, and
           under a Cooperation Agreement between the two countries, for which            banners in public areas to alert the public to human trafficking. The
           the government provided support and funding.                                  government consulted with an international organization to avoid
           Government authorities and NGOs used a formal process for victim care         harmful or stereotypical messaging and ensure quality control. The
           as required by law, by which the Sex Crimes and Trafficking Unit would        prevention sub-committee also prepared and launched a six-month
           identify a potential victim and then refer them to other members of           school, discussion series, and social media platform development

 116                                                                                                                                  Haiti AR_000597
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 222 of 729




                                                                                                                                                            BELARUS
communications work plan. The pandemic continued to severely impact         investigated, prosecuted, or convicted any traffickers under its trafficking
Barbados’ ability to implement other aspects of its NAP in 2021.            statute and did not provide adequate protection services to trafficking
                                                                            victims. Media and NGO reports indicated authorities returned many
The government took signiﬁcant measures to mitigate the economic
                                                                            third-country migrants and asylum seekers who arrived in the country
and social effects of the pandemic, including through economic stimulus
                                                                            as part of the state-sponsored migration crisis to their countries of origin
initiatives and expanded social support programs that involved all
                                                                            without comprehensively screening them for trafficking. Moreover, as part
government ministries and consumed extensive human and ﬁnancial
                                                                            of its broader repression of civil society and independent, pro-democracy
resources, including those used for anti-trafficking efforts. The Labor
                                                                            activism, the government widely limited the activities of civil society
Department regulated recruitment agencies under the Recruiting
                                                                            organizations, including organizations providing support to trafficking
of Workers Act; however, the law did not identify the responsible
                                                                            victims, and did not provide funding or in-kind assistance to NGOs. The
agency for the associated enforcement functions. There were no labor
                                                                            government did not report conducting awareness raising activities, and
recruiters or brokers operating in the country during the reporting
                                                                            its efforts to prevent labor trafficking remained inadequate. For the ﬁfth
period. The Employment and Career Counseling Service offered services
                                                                            consecutive year, the government did not report investigating or ﬁling
for workers recruited for employment overseas, including in the United
                                                                            charges related to illegal recruitment of migrant workers.
States, Canada, and the United Kingdom. The government promulgated
(through mass media) the Protocol to Address Migrant Labor Conditions,
which described the legal framework governing employers, explained                  BELARUS TIER RANKING BY YEAR
employees’ rights, and served to sensitize employers, employees, and            1
the public about possible labor violations. The government reported
                                                                                2
it drafted updated public procurement legislation to reﬂect current
standards but did not ﬁnalize or release it during the reporting period.      2WL
The government reported migrant workers could enter and leave the               3
country at will if they observed all health protocols. The government                  2015     2016      2017     2018   2019    2020    2021    2022
reported it made no changes to these workers’ immigration status
and made pandemic-related beneﬁts available to anyone residing in
the country.
                                                                            PRIORITIZED RECOMMENDATIONS:
The government operated a police hotline number that could receive
                                                                            Increase resources devoted to trafficking victim assistance and protection
information on potential trafficking crimes; authorities did not report
                                                                            within Belarus in such a manner that improves effectiveness, including
receiving any trafficking information from the hotline. The professional
                                                                            for state-owned territorial centers for social services and for NGOs. •
women’s association on the Task Force and the NGO, with which the
                                                                            Vigorously investigate and prosecute cases of forced labor and sex
Task Force began to collaborate during the reporting period, each
                                                                            trafficking under Articles 181 and 181-1. • Increase labor inspections to
operated a hotline that could receive trafficking-related calls but did
                                                                            identify internal forced labor and investigate illegal recruitment practices.
not receive any such calls. Authorities reported that all Barbadian
                                                                            • Continue to proactively screen all vulnerable groups, including migrants
diplomats received training, including on human trafficking, before
                                                                            and individuals in commercial sex, for indicators of trafficking. • Raise
taking up overseas postings. The government did not make efforts to
                                                                            awareness about the voluntary nature of subbotniks and increase
reduce the demand for commercial sex acts. The government did not
                                                                            training to government officials at both the national and regional
make efforts to reduce child sex tourism.
                                                                            level to ensure coercive measures are not used to elicit participation.
                                                                            • Continue to expand trainings for all relevant officials on the national
TRAFFICKING PROFILE                                                         identiﬁcation and referral mechanism (NRM) and allocate sufficient
As reported over the past ﬁve years, human traffickers exploit domestic
                                                                            resources for its full implementation. • Increase funding for services
and foreign victims in Barbados. Documented and undocumented                that provide child sex trafficking victims with services specialized to
migrants from Guyana, Haiti, Jamaica, and Venezuela are at high risk for    their needs, continue to refer all identiﬁed victims to care facilities,
trafficking, although individuals from Colombia, the Dominican Republic,    and ensure criminal justice actors use a trauma-informed approach in
and Saint Vincent and the Grenadines are increasingly vulnerable. The       child trafficking cases. • Increase victims’ access to free legal aid and
government’s strict entry protocols due to the pandemic caused a            ensure defense attorneys receive training on trafficking and a trauma-
signiﬁcant reduction in the number of people from source countries          informed approach. • Train judges on restitution in criminal cases,
entering Barbados in 2021. Cuban medical workers provided health            establish procedures to seize assets from traffickers, and create effective
services in response to the pandemic during the reporting period. Cuban     methods to allocate restitution to ensure victims receive restitution in
athletic coaches work in the country. Cuban nationals in the country        a timely manner. • Amend or repeal the penal provisions in sections
may have been forced to work by the Cuban government. Previously,           193(1), 339, 342, 367, 368, and 369(2) of the criminal code to clarify
traffickers operated as part of an organization; more recently, they        that no penalties involving compulsory labor may be imposed for the
appear to operate individually. Authorities have noted an increase in       peaceful expression of political views and ensure that children are not
use of social media as a means of recruiting victims, which may have        subjected to compulsory labor as punishment.
increased further due to the pandemic. Media reported research shared
in March 2021 suggested that Barbadians are largely unaware about the       PROSECUTION
extent of human trafficking in the country. However, the government         The government decreased law enforcement efforts. Article 181 of the
reported its 2021 survey revealed a high level of public awareness          criminal code criminalized sex trafficking and labor trafficking and
regarding trafficking.                                                      prescribed penalties ranging from three to seven years’ imprisonment
                                                                            and forfeiture of assets for offenses involving adult victims and seven
                                                                            to 15 years’ imprisonment and forfeiture of assets for those involving
                                                                            child victims. These penalties were sufficiently stringent and, with regard
 BELARUS: TIER 3                                                            to sex trafficking, commensurate with penalties prescribed for other
                                                                            serious crimes, such as rape. The government reported it conducted 111
                                                                            trafficking-related investigations but—contrary to previous years—did not
The Government of Belarus does not fully meet the minimum standards
                                                                            report if any investigations were conducted under article 181 (in 2020,
for the elimination of trafficking and is not making signiﬁcant efforts
                                                                            the government reported continuing three trafficking investigations
to do so, even considering the impact of the COVID-19 pandemic on
                                                                            under Article 181). For the third year in a row, the government did not
its anti-trafficking capacity; therefore Belarus was downgraded to Tier
                                                                            report initiating any investigations under Article 181-1, which criminalized
3. Despite the lack of signiﬁcant efforts, the government took some
                                                                            the use of forced labor. The government reported prosecuting 46
steps to address trafficking, including conducting trafficking-related
                                                                            suspected traffickers but—contrary to previous years—did not report
investigations and prosecutions and identifying and referring to services
                                                                            if any of these prosecutions were conducted under Articles 181 or 181-1
more trafficking victims. However, the government did not report if it
                                                                                                                                 Haiti AR_000598            117
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 223 of 729
BELARUS   (the government initiated one trafficking prosecution under Article 181         Vulnerable children between the ages of three and 18 could receive
          in 2020 and four in 2019). The government did not report convicting             shelter and basic provisions at centers run by the education ministry;
          any traffickers under Articles 181 or 181-1 in 2021 or 2020. Media reports      children could stay at these centers for a maximum of six months,
          indicated law enforcement investigated several sex trafficking cases;           after which they were returned to their family, assigned to a foster
          however, it is unknown if any were investigated under Articles 181 or           family, or transferred to an orphanage or boarding institution. The
          181-1. Observers reported some investigations and court hearings were           government provided child friendly rooms for interviews, the provision
          impacted by investigators, judges, or authorities being forced to isolate       of assistance, and reintegration services at a select number of these
          for COVID-19-related mitigation; courts limited attendance during               centers. The government did not report if any child trafficking victims
          hearings and adjourned some trials or suspended proceedings due                 received services at these facilities. The government did not report if
          to participants’ COVID-19 infections. Some court sessions used video            it implemented recommended changes issued by an NGO in 2020 to
          conferencing to minimize the risk of infection.                                 improve the use of the rooms and interviewing techniques. Although
                                                                                          the government amended the criminal code in January 2021 to require
          The Main Department for Drug Control and Combating Trafficking in
                                                                                          the recording of testimony of victims and witnesses younger than the
          Human Beings led law enforcement efforts. The government did not
                                                                                          age of 14 during pre-trial investigation for later use in court, observers
          report if it provided training to law enforcement. Law enforcement,
                                                                                          expressed concern that child sex trafficking victims continued to be
          prosecutors, and judges participated in trafficking seminars organized
                                                                                          subjected to multiple questionings, including in court hearings, and in a
          by an international organization. The government did not report any
                                                                                          non-friendly environment. Observers noted authorities penalized some
          investigations, prosecutions, or convictions of government employees
                                                                                          sex trafficking victims for unlawful acts traffickers compelled them to
          complicit in trafficking crimes.
                                                                                          commit. Media and NGO reports indicated authorities returned many
                                                                                          third-country migrants and asylum seekers who arrived in the country
          PROTECTION
                                                                                          as part of the state-sponsored migration crisis to their countries of origin
          The government demonstrated uneven protection efforts; while it
                                                                                          without comprehensively screening them for trafficking. Observers
          identiﬁed and referred to services signiﬁcantly more trafficking victims,
                                                                                          also reported authorities did not consistently screen individuals in
          the government did not provide adequate protection services and
                                                                                          commercial sex for trafficking indicators and authorities dismissed claims
          widely limited the activities of civil society organizations, including
                                                                                          by Belarusians who stated they had been subjected to forced labor in
          organizations providing support to trafficking victims. The government
                                                                                          Russia. Victims were entitled to free legal assistance, and victims could
          identiﬁed 244 conﬁrmed trafficking victims, an increase from 109 in 2020.
                                                                                          request protection measures to include the non-disclosure of information,
          For the second year in a row, the government did not report how many
                                                                                          exemption from attending hearings, delivering testimony remotely, and
          potential victims applied for official status; in 2019, the government
                                                                                          closed court sessions. However, observers noted the legal aid provided
          reported 251 potential victims applied for official victim status. Of the
                                                                                          to victims was inadequate; defense attorneys able to represent victims
          244 conﬁrmed victims, 241 were exploited in sex trafficking, and three
                                                                                          were in short supply and many attorneys providing free legal aid were
          were victims of forced labor; 118 were children. Traffickers exploited 213 of
                                                                                          not familiar with trafficking and a victim-centered approach. Courts could
          the conﬁrmed victims in Belarus and 31 abroad. Government authorities
                                                                                          grant restitution from traffickers in criminal cases, but the government
          identiﬁed the majority of conﬁrmed trafficking victims. NGOs indicated
                                                                                          did not report if victims were granted restitution in 2021.
          they assisted 74 trafficking victims, an increase from 44 in 2020; 39
          victims were exploited abroad (including 34 in Russia, three in Poland,
          and two in the People’s Republic of China (PRC)), and 35 victims were
                                                                                          PREVENTION
                                                                                          The government decreased efforts to prevent trafficking. The minister of
          exploited in Belarus. Authorities and civil society followed an NRM to
                                                                                          interior served as the national coordinator on trafficking issues and led
          identify and refer victims to services. NGOs reported a variance in the
                                                                                          implementation of the 2020-2022 State Program on Combating Crime
          degree of cooperation with regional law enforcement. The government
                                                                                          and Corruption, which included anti-trafficking activities. Interdisciplinary
          reported referring 113 victims to NGOs and international organizations
                                                                                          bodies, composed of representatives from law enforcement, education,
          for reintegration services, compared with 55 in 2020. In prior years, the
                                                                                          healthcare, labor, and social welfare sectors, as well as judiciary, media,
          government reported some victims declined services.
                                                                                          clergy, and civil society, met on an annual basis to discuss implementation
          The government’s victim assistance services, while free, continued to be        of the NRM. Anti-trafficking cooperation at the regional level was
          underutilized and suffered from burdensome bureaucratic requirements,           established through memoranda of cooperation with each region. The
          delays in service delivery, and inconsistent quality of service, sometimes      government did not report if regional interdisciplinary working groups
          leading victims to choose to pay for necessary services elsewhere or            convened in 2021.
          ﬁnd support through NGOs. The government did not have trafficking-
                                                                                          The government did not report conducting any public awareness
          speciﬁc facilities available to care for victims, but local authorities
                                                                                          campaigns. The government did not report if it funded or provided in-
          operated approximately 138 “crisis rooms” that offered temporary shelter,
                                                                                          kind assistance to NGOs. The Ministry of Interior continued to operate a
          including beds, meals, and personal hygiene products, to vulnerable
                                                                                          hotline for safe travel abroad to inform potential Belarusian labor migrants,
          adults, including victims of trafficking, regardless of nationality; the
                                                                                          identify illegal recruitment practices, and route calls reporting potential
          government did not report if trafficking victims used these facilities in
                                                                                          incidents of trafficking to specialized NGOs. For the ﬁfth consecutive
          2021. According to the law, victims’ access to services was not dependent
                                                                                          year, the government did not report if it investigated or ﬁled charges
          on their willingness to participate in the criminal process. Foreign victims
                                                                                          against companies related to illegal recruitment in 2021; comparatively,
          were legally entitled to the same beneﬁts as Belarusian victims. However,
                                                                                          it charged 50 companies in 2016, the last year for which data was
          observers reported in some investigations conducted under Articles 171
                                                                                          available. The government did not report if labor inspectors conducted
          and 171.1, victims were required to participate in investigations to access
                                                                                          inspections in 2021; efforts remained inadequate to enforce and deter
          protection services. Observers continued to report most victims sought
                                                                                          violations. The government continued to participate in multilateral
          assistance at private shelters because the government’s centers were
                                                                                          anti-trafficking activities to include coordinating the Group of Friends
          poorly equipped and lacked qualiﬁed caregivers trained in trafficking.
                                                                                          United against Human Trafficking at the UN and leading efforts to
          Moreover, observers noted that children and persons with disabilities
                                                                                          strengthen the implementation of the UN’s Global Plan of Action to
          often lacked access to government services and that some services,
                                                                                          Combat Trafficking in Persons. Contrary to such multilateral efforts,
          including medical assistance and legal aid, were not provided in remote
                                                                                          in a politically motivated act of retaliation for European Union policy,
          areas. NGOs and an international organization provided the majority
                                                                                          the government orchestrated a migration crisis along its borders with
          of victim assistance; however, the government did not provide direct
                                                                                          Latvia, Lithuania, and Poland starting in May 2021; this signiﬁcantly
          ﬁnancial support to NGOs. The government took politically motivated
                                                                                          increased these migrants’ vulnerabilities to trafficking as law enforcement
          steps to limit or ban the activities and foreign funding of civil society
                                                                                          did not consistently screen migrants for trafficking indicators, and in
          groups, including some dedicated to anti-trafficking activities. In
                                                                                          some instances, authorities forced migrants to attempt irregular border
          September 2021, the government liquidated one of the country’s leading
                                                                                          crossings. The government did not make efforts to reduce the demand
          NGOs providing assistance to trafficking victims.


 118                                                                                                                                    Haiti AR_000599
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 224 of 729




                                                                                                                                                             BELGIUM
for commercial sex acts. The government did not report providing anti-          views) performed compulsory labor at penal colonies as a part of their
trafficking training to its troops prior to their deployment as peacekeepers.   sentences during the reporting period.

TRAFFICKING PROFILE
As reported over the past ﬁve years, human traffickers exploit domestic
and foreign victims in Belarus, and traffickers exploit victims from Belarus     BELGIUM: TIER 1
abroad. Data collected by NGOs suggests the majority of trafficking
victims are men subjected to forced labor, primarily in Russia. Belarusian
                                                                                The Government of Belgium fully meets the minimum standards for the
victims are exploited primarily in Belarus and Russia, as well as in Poland,
                                                                                elimination of trafficking. The government continued to demonstrate
Turkey, and other countries in Europe, Eurasia, and the Middle East.
                                                                                serious and sustained efforts during the reporting period, considering
Some Belarusian women traveling for foreign employment in the adult
                                                                                the impact of the COVID-19 pandemic on its anti-trafficking capacity;
entertainment and hotel industries are subjected to sex trafficking. The
                                                                                therefore Belgium remained on Tier 1. These efforts included increasing
government has identiﬁed Belarusian, Moldovan, Russian, Ukrainian,
                                                                                investigations, more than doubling the number of prosecutions, and
and Vietnamese victims exploited in Belarus. The majority of traffickers
                                                                                releasing a national action plan (NAP). The government identiﬁed
are Belarusian citizens. Traffickers increasingly use online methods to
                                                                                significantly more trafficking victims and increased funding for
coerce victims into forced labor and sex trafficking.
                                                                                services. Moreover, the government funded a new residence center for
In May 2021, the government orchestrated a migration crisis along               unaccompanied girls who were potential trafficking victims. Although
its borders with Latvia, Lithuania, and Poland. Belarusian authorities          the government meets the minimum standards, courts suspended or
facilitated the entry into Belarus of thousands of migrants and asylum          partially-suspended the majority of convicted traffickers’ sentences,
seekers, mostly from Iraq but also from other Middle Eastern countries          which weakened deterrence, did not adequately reﬂect the nature of the
and countries in sub-Saharan Africa and Central Asia. Belarusian                crime, and undercut broader efforts to ﬁght trafficking. The government
authorities facilitated their onward travel to the borders of Latvia,           also imposed several conditions on victims to access services, including
Lithuania, and Poland; authorities encouraged and, in some instances,           participation in a criminal case, which constrained victim identiﬁcation
forced migrants to attempt irregular border crossings. Authorities              and limited crucial services for victims. The government continued to
reportedly did not allow international organizations comprehensive              report inconsistent law enforcement data.
access to the migrants, and authorities did not consistently screen them
for trafficking indicators. These migrants remain vulnerable to trafficking.
                                                                                        BELGIUM TIER RANKING BY YEAR
The government continues the practice of subbotniks, or voluntary service           1
days (held on Saturdays). One national-level subbotnik, announced                   2
by government decree, was held during the reporting period, as were
several regional, district, and local-level subbotniks organized by regional,     2WL
district, and local authorities. As an alternative form of participation,           3
participants can allocate a portion of a single day’s salary toward                        2015     2016      2017     2018   2019    2020   2021   2022
government projects announced by the authorities prior to the subbotnik.
Historically, individuals have been subjected to government reprisals
for failure to participate in subbotniks. In past years, observers reported
authorities threatened individuals who refused to work with ﬁnes or             PRIORITIZED RECOMMENDATIONS:
unpaid premium compensation. However, contrary to previous years,               Increase efforts to convict traffickers and sentence convicted traffickers
approximately 500,000 citizens abstained from participating in the              to adequate penalties, which should involve serving signiﬁcant prison
national subbotnik in 2020. Observers did not report any retaliation            terms. • Vigorously investigate and prosecute suspected traffickers
for nonparticipation in 2021 or 2020. Government decrees announcing             and train law enforcement on increasing trends, including the use of
subbotniks are required to state their voluntary nature. The authorities        online platforms to recruit and exploit victims. • Train ﬁrst responders
have previously corrected subbotnik announcements that fell afoul of the        on the child victim identiﬁcation and referral protocol to ensure it
law and rebuked implicated officials. In 2018, the UN Special Rapporteur        is used effectively in practice and secure adequate funding for the
on the Situation of Human Rights in Belarus reported authorities                provision of services for child trafficking victims. • Ensure victims have
obligate—disguised as strong encouragement—some factory workers,                access to the full range of services regardless of whether they choose
civil servants, and school children to participate in harvesting on state-      to participate in judicial processes. • Implement trauma-informed and
owned farms or in street cleaning. However, the UN Special Rapporteur           victim-centered procedures during trial proceedings to minimize the
did not report on subbotniks in the 2019, 2020, or 2021 reports to the          risk of re-traumatization and ensure all victims, not just those under
Human Rights Council. Historically, sources alleged authorities sometimes       threat of physical violence, have access to witness protection services.
required university and high school students to participate in public works     • Coordinate and centralize the collection of timely trafficking data
projects without compensation, but no known cases were identiﬁed in the         across the government to effectively analyze efforts. • Improve victims’
reporting period. In 2019, media reported some university students in a         ability to access court-ordered restitution in criminal cases and ensure
rural area in the Vitsebsk region claimed they were forced to participate       victims exploited by means other than physical violence have full access
in apple picking during the harvest season, but no similar cases were           to victim compensation. • Revise the deﬁnition of human trafficking
identiﬁed in the reporting period. In previous years, reports indicated         under Belgian law to more closely align with the deﬁnition in the 2000
some state university students who failed to participate in harvesting          UN TIP Protocol.
risked the loss of housing in subsidized dormitories or penalization
during exams, but no known cases were identiﬁed. The UN Special                 PROSECUTION
Rapporteur noted in 2020 its continued concern over the practice of             The government modestly increased law enforcement efforts. Belgium
forced labor in places of detention, especially with regards to children        criminalized sex and labor trafficking through a 2005 amendment to
and youth; the report generally does not provide time frames during             the 1995 Act Containing Measures to Repress Trafficking in Persons,
which speciﬁc incidents of concern occurred. The ILO Committee of               which prescribed penalties of one to 15 years’ imprisonment and a ﬁne
Experts noted its continued concern in 2018 that, although there had            for offenses involving adult victims and 10 to 20 years’ imprisonment
been no recently reported cases, some provisions of the Belarusian              and a ﬁne for those involving a child victim. These penalties were
criminal code, which included forced labor as possible punishment, are          sufficiently stringent and, with respect to sex trafficking, commensurate
worded broadly enough to lend themselves to application as a means              with penalties prescribed for other serious crimes, such as kidnapping.
of punishment for the expression of views opposed to the government.            Belgium’s deﬁnition of trafficking in persons was broader than the
Some human rights activists also raised concerns that political prisoners       deﬁnition in the 2000 UN TIP Protocol. Inconsistent with the deﬁnition
(imprisoned and sentenced based on the peaceful expression of political         of trafficking under international law, the law established the use of
                                                                                force, fraud, or coercion as aggravating factors, rather than essential
                                                                                                                                     Haiti AR_000600         119
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 225 of 729
BELGIUM
          elements of the crime. Additionally, Belgian law also allowed the failure        in 2021, compared with 820 referrals in 2020. First responders followed
          of an employer to meet the prevailing wage and working conditions to             a national victim referral protocol to identify victims and refer them to
          constitute “exploitation,” and the government included these cases in            care, and the government organized outreach activities and awareness-
          its prosecution data. GRETA reported this overly broad deﬁnition could           raising campaigns targeting frontline professionals, including hospital
          lead to confusion between trafficking and other criminal offenses and            and social workers. The government trained immigration and asylum
          possible difficulties in mutual legal assistance with foreign governments        officers on victim identiﬁcation. Observers noted that local police
          that used a deﬁnition more consistent with the UN TIP Protocol.                  often struggled to identify trafficking, were overburdened by too many
                                                                                           responsibilities, faced high rates of turnover, and lacked specialized
          The government did not report anti-trafficking data consistently from
                                                                                           anti-trafficking officers. Moreover, experts recommended increased
          year to year, making it difficult to assess its law enforcement efforts.
                                                                                           training for law enforcement on the identiﬁcation of trafficking on online
          Despite recommendations from GRETA in both its 2013 and 2017
                                                                                           platforms. Experts reported particular challenges in identifying child
          evaluation reports, the government lacked a coherent system to collect
                                                                                           victims, in spite of a sharp increase in the number of unaccompanied
          law enforcement and victim data for trafficking cases, which hindered
                                                                                           migrant children entering the country in recent years. Many authorities
          its ability to track and evaluate its efforts. Authorities investigated
                                                                                           who did not specialize in trafficking cases reportedly could not recognize
          383 cases in 2021, compared with 373 cases in 2020. The government
                                                                                           trafficking indicators and confused child trafficking with other crimes
          prosecuted an unknown number of defendants in 95 cases in 2021, an
                                                                                           such as smuggling and child abuse. Authorities sometimes failed to
          increase compared with an unknown number of defendants in 38 cases
                                                                                           follow the victim referral protocol and did not properly notify child
          in 2020 and 73 cases in 2019. Authorities reported 103 convictions in
                                                                                           protective services when they identiﬁed an unaccompanied child victim.
          2020, the most recent year for which data was available, compared with
                                                                                           Gaps in identiﬁcation efforts, such as with child victims, made these
          112 convictions in 2019. Courts sentenced 97 convicted traffickers to
                                                                                           victims vulnerable to penalization for crimes traffickers compelled
          prison terms in 2020 (100 in 2019); however, 55 of the sentences were
                                                                                           them to commit. The government reported three working groups
          suspended or partially suspended (57 in 2019). Of the prison sentences
                                                                                           advised service providers on the identiﬁcation of child victims, and the
          issued, including those that were suspended or partially suspended,
                                                                                           government began conducting a comprehensive revision of the national
          nine (19 in 2019) were for less than one year, 47 were for one to three
                                                                                           referral mechanism, including the referral procedures for child victims.
          years, 35 were for three to ﬁve years, and six were for ﬁve to 10 years.
          Experts attributed the high number of suspended sentences to several             The government funded three specialized NGO-run shelters and allocated
          factors, including the law’s overly broad deﬁnition of human trafficking,        approximately €428,000 ($485,260) for each shelter, compared with
          judges’ lack of understanding of the severity of labor trafficking crimes,       €419,000 ($475,060) in 2020; the shelters also received funding
          and application of lighter sentences for traffickers with minimal roles          from regional and local governments. NGO-run shelters provided
          in an organization. The failure to sentence the majority of traffickers          psycho-social, medical, and legal care and were open to all adult
          to signiﬁcant terms of imprisonment weakened deterrence, may have                victims regardless of gender, immigration status, or nationality. The
          undercut broader efforts to hold traffickers accountable, and did not            independent Federal Migration Centre (Myria), in its capacity as the
          adequately address the nature of the crime.                                      national rapporteur, provided oversight and coordination for the shelters.
                                                                                           Authorities placed child trafficking victims in government-funded
          The government mandated trafficking trainings for judicial officials who
                                                                                           shelters for foreign unaccompanied children; children in these centers
          were on the career track to become magistrates and who may eventually
                                                                                           were assigned a mentor to protect their interests. A government-
          become judges, and trafficking was included in basic training courses for
                                                                                           funded temporary residence center for unaccompanied female potential
          law enforcement. The government conducted a training on trafficking
                                                                                           trafficking victims between the ages of 14 and 18 began operations
          investigations and a training on victim identiﬁcation and prosecution
                                                                                           in January 2022. The center offered shelter, legal assistance, and
          of trafficking cases for law enforcement and judicial authorities. A
                                                                                           tailored follow-on assistance plans; the center did not require victims
          joint sex trafficking investigation with Moldovan authorities resulted
                                                                                           to participate in the investigation of a trafficker to receive support.
          in three arrests and the identiﬁcation of six victims and nine potential
                                                                                           GRETA reported the government’s child safety services lacked sufficient
          victims. In November 2021, authorities participated in a EUROPOL
                                                                                           capacity to accommodate unaccompanied child victims. In December
          operation focused on sex trafficking, forced criminality, and forced
                                                                                           2021, the government reported it was only able to accommodate 16
          begging; the operation led to the arrest of 212 suspects, the initiation
                                                                                           out of 30 unaccompanied migrant children who sought shelter at a
          of 327 investigations, and the identiﬁcation of 650 potential victims
                                                                                           Brussels reception center, noting that the child protection system for
          throughout the 29 participating countries. The government did not
                                                                                           unaccompanied children had not been overwhelmed to this degree
          report how many, if any, arrests, investigations, or potential victims
                                                                                           since 2015. Shelters for unaccompanied children reported many children
          identiﬁed during these two operations occurred in Belgium or involved
                                                                                           went missing from the shelters each year, some of whom may have
          Belgian nationals. Authorities cooperated with foreign authorities to
                                                                                           been victims of trafficking; the agency responsible for these shelters
          extradite three suspected traffickers to Belgium: two Hungarian citizens
                                                                                           reported 2,642 children went missing between 2018 and 2020, with
          residing in Switzerland and one Indian citizen residing in Armenia. The
                                                                                           583 going missing in 2020 alone.
          government transferred four convicted traffickers: one to Bulgaria, one to
          Romania, one Thai citizen to the United States, and one Nigerian citizen         The government conditioned its victim assistance services on three
          to Italy. The government reported prosecuting a city council official for        criteria: victims had to break off all contact with the trafficker, agree to
          human trafficking for offering a homeless man shelter in a thermal spa           counseling at a specialized shelter, and assist in the prosecution of the
          in return for unpaid work on the property; it was unclear if force, fraud,       trafficker. Identiﬁed victims were eligible for a 45-day reﬂection period
          or coercion were present in the case. The government did not report              during which they could decide whether to assist law enforcement;
          any other investigations, prosecutions, or convictions of government             foreign victims who did not agree to these conditions were repatriated
          employees complicit in human trafficking crimes.                                 to their country of origin. Potential victims had access to social services
                                                                                           during this reﬂection period. The government granted foreign victims
          PROTECTION                                                                       who participated in investigations and prosecutions three-month
          The government increased efforts to protect victims. The government              residence and work permits and protective services. If a public prosecutor
          formally identiﬁed and assisted 151 victims (including 86 victims of             conﬁrmed the individual was a trafficking victim, they could receive a
          labor exploitation, 33 victims of sexual exploitation, and 32 victims of         six-month residence and work permit, renewable until the end of the
          unspeciﬁed forms of exploitation), an increase from 91 in 2020 but similar       criminal case. Victims who were not citizens of EU member states could
          to 159 in 2019. Due to the broad deﬁnition of labor exploitation under           obtain permanent residency only upon the successful conviction and
          Belgium’s anti-trafficking law, data on the identiﬁcation of labor trafficking   sentencing of traffickers; in the absence of a conviction, authorities
          victims may have included cases that do not constitute trafficking crimes        could grant residence permits for indeﬁnite lengths of time to non-
          under the international law deﬁnition. Law enforcement identiﬁed the             EU victims if authorities were able to bring formal charges against
          majority of victims, followed by NGOs and social services. There were            the trafficker. Victims who chose not to accept the conditions were
          also many cases of victims who self-identiﬁed. The three government-             eligible for other types of assistance, including access to temporary
          funded shelters received 1,055 referrals of victims and potential victims        housing and psycho-social care, and non-EU victims could apply for

 120                                                                                                                                    Haiti AR_000601
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 226 of 729




                                                                                                                                                               BELIZE
humanitarian residency. Nonetheless, observers noted the conditions            TRAFFICKING PROFILE
the government attached to victim assistance were difficult for many           As reported over the past ﬁve years, sex and labor traffickers exploit
victims to meet, especially in the case of child victims. Few child            foreign and domestic victims in Belgium. Foreign victims come primarily
victims received residence permits, and GRETA expressed concern that           from Asia (including the People’s Republic of China, India, and Thailand),
residency for non-EU child victims was contingent upon cooperation             Eastern Europe (especially Albania, Hungary, Romania, and Ukraine),
with law enforcement instead of factors relating to the best interest of       and North and Sub-Saharan Africa (primarily Morocco and Nigeria). Sex
the child. The government issued 202 residence permits for trafficking         traffickers exploit Belgian women and girls, some of whom are recruited
victims in 2021, compared with 174 in 2020.                                    by local traffickers. Sex traffickers exploit foreign children, including
During criminal proceedings, witness protection laws provided only             Romani and Nigerian girls; the latter are recruited through extensive
those victims under physical threat of violence or living abroad options       trafficking networks in Nigeria. Thai criminal organizations exploit Thai
to testify via video. The law had a speciﬁc provision for child victims        women for sex in massage establishments that are frequently managed
that allowed courts to permit video testimony. Prosecutors could seize         by Belgian citizens. Traffickers recruit girls from Eastern Europe on
assets of suspected traffickers during an investigation and could request      social media by posing as potential romantic partners. Belgian citizens
restitution for victims in court through the conﬁscation of these assets;      participate in international child sex tourism. Labor traffickers exploit
for the third consecutive year, the government did not report if courts        male victims in restaurants, bars, sweatshops, horticulture, fruit farms,
granted restitution. Victims could claim compensation in local courts          construction, cleaning businesses, and retail shops; they exploit men
but often had to prove their case involved the intentional act of physical     and women in domestic service, including in the diplomatic community.
violence to receive compensation. Victims could also seek compensation         Within the Romani community, traffickers exploit Romani children in
through the Commission for Financial Assistance to Victims of Intentional      forced begging and forced criminality. Asylum-seekers who have their
Acts of Violence; in 2021, the commission awarded €12,500 ($14,170)            applications for legal status denied, migrants transiting through Belgium
to one trafficking victim (the same amount awarded to two victims              to the UK, and unaccompanied migrant children are highly vulnerable to
in 2020). The high costs of legal representation discouraged victim            trafficking. Thousands of refugees, predominantly women and children,
cooperation in criminal and civil proceedings. Additionally, foreign           who are ﬂeeing Russia’s full-scale invasion of Ukraine, have crossed the
victims were only granted relief from deportation or other penalties if        Belgian border seeking sanctuary and are vulnerable to trafficking.
they assisted in the prosecution of their trafficker.

PREVENTION
The government increased efforts to prevent trafficking. The                    BELIZE: TIER 2
Interdepartmental Coordination Unit coordinated government-wide
anti-trafficking efforts and monitored the implementation of the NAP;          The Government of Belize does not fully meet the minimum standards
the government released the 2021-2025 NAP in June 2021. The Ministry of        for the elimination of trafficking but is making signiﬁcant efforts to do so.
Justice (MOJ) chaired the unit, which included key government ministries       The government demonstrated overall increasing efforts compared with
and agencies, as well as representatives of the three government-funded        the previous reporting period, considering the impact of the COVID-19
shelters and Myria. Myria served as the secretariat for the unit and as        pandemic on its anti-trafficking capacity; therefore Belize was upgraded
the independent national rapporteur, and it produced its own annual            to Tier 2. These achievements included convicting two traffickers and
report on government anti-trafficking efforts. The government held             applying adequate sentences; expanding the size of its Anti-Trafficking
several awareness-raising events as part of a UN campaign in July 2021         (A-TIP) Police Unit, which increased investigations; improving data
and participated in an EU awareness campaign focused on combating
                                                                               collection and case monitoring; opening a shelter for unaccompanied
sex trafficking. The MOJ created awareness-raising leaﬂets targeting
                                                                               children at risk for trafficking in cooperation with an international
the construction sector and beauty salons and a leaﬂet on the “lover-
                                                                               organization; and prioritizing anti-trafficking funding and implementation
boy” phenomenon. In March 2022, the government launched an online
                                                                               of the National Action Plan (NAP). However, the government did not
and social media campaign to raise awareness among refugees ﬂeeing
                                                                               meet the minimum standards in several key areas. The government did
Russia’s full-scale invasion of Ukraine about the risk of trafficking and to
                                                                               not adequately address official complicity in trafficking crimes, reports of
inform them of their rights in Belgium. The three government-funded
                                                                               which remained common; did not adequately oversee labor recruitment
NGOs maintained a hotline available 24/7; the government did not report
                                                                               or investigate allegations of trafficking; and did not take measures to
if any calls led to the identiﬁcation of trafficking victims.
                                                                               reduce demand for commercial sex. Authorities reportedly did not
The Labor Inspectorate conducted inspections throughout the reporting          consistently screen migrants, refugees, or asylum seekers for trafficking
period, but the government did not report the number of inspections.           and may have deported or arrested unidentiﬁed trafficking victims
Labor inspectors referred 95 potential victims to authorities for further      due to weak victim identiﬁcation and a lack of formal identiﬁcation
review; the government did not report if any of these referrals led to the     procedures such as frontline officer guidelines.
identiﬁcation of victims. The government maintained an online toolbox
to provide information for businesses on how to prevent forced labor
in their organizations and supply chains. Some migrant workers were                     BELIZE TIER RANKING BY YEAR
not allowed to change employers without obtaining authorization                     1
from the government, increasing their vulnerability to trafficking. The             2
government continued a widely used program that subsidized the wages
                                                                                 2WL
of domestic workers and criminalized exploitative practices, such as
the conﬁscation of passports and contract switching. The government                 3
                                                                                           2015      2016      2017   2018   2019    2020    2021     2022
maintained a system to prevent the exploitation of domestic employees
of foreign diplomats by placing awareness-raising ﬂyers in the consular
sections of Belgian embassies and consulates abroad. Myria highlighted
the particular vulnerability to trafficking of diplomatic domestic staff
and recommended that the government systematically interview these             PRIORITIZED RECOMMENDATIONS:
workers when issuing or renewing special identity cards to prevent or          Implement the anti-trafficking law by vigorously investigating and
detect possible abuses. The government did not make efforts to reduce          prosecuting traffickers, including child sex tourists and officials allegedly
the demand for commercial sex acts or for participation in international       complicit in trafficking crimes, and imposing signiﬁcant prison sentences
sex tourism by its citizens; however, the law permitted the prosecution        upon those convicted. • Consistently apply formal procedures to identify
of Belgian citizens for participating in child sex tourism.                    victims among vulnerable groups, including children at risk of familial
                                                                               trafficking; People’s Republic of China (PRC) national and Cuban overseas
                                                                               workers, including medical professionals; and migrants, refugees, and
                                                                               asylum seekers, and refer identiﬁed victims to services. • Ensure labor and

                                                                                                                                    Haiti AR_000602            121
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 227 of 729
BELIZE   liquor license inspectors comply with domestic law and policy requiring       One Supreme Court Justice specialized in hearing trafficking cases,
         inspections of workplaces and identiﬁcation of victims. • Increase efforts    which led to processing delays. The government reported retroﬁtting
         to identify forced labor by mandating recruiter participation in the          only some courtrooms with protective shields due to the pandemic,
         national labor recruiter registry and conducting prevention programs          which limited the scheduling of court proceedings. The Supreme Court
         with migrant workers. • Increase the A-TIP Council’s engagement               halted the hearing of trafficking cases twice due to the pandemic,
         with survivors, including by establishing accessible mechanisms for           and the judicial sector lacked the capacity and resources to adopt a
         receiving and providing compensation for survivor input when forming          virtual platform. However, the government reported trafficking cases
         policies, programs, and trainings. • Ensure restitution is paid even in       were the ﬁrst to resume after almost a year of pandemic-related court
         cases where the trafficker is indigent. • Increase efforts to investigate     closures, and the pandemic did not affect authorities’ ability to conduct
         online trafficking. • Strengthen monitoring of alleged traffickers out        investigations. The government did not reassign officers of the A-TIP
         on bail, reduce court delays including by having more judges to hear          Police Unit to other tasks despite additional police duties and increased
         cases, and enable the courts to function virtually including with victim      workload during the pandemic.
         video testimony. • Provide adequate funding, including to NGOs, for
                                                                                       The A-TIP Police Unit added three new police officers to assist with
         specialized victim services including legal support for all victims,
                                                                                       investigations and trafficking-related matters, nearly doubling the size of
         including men and children. • Increase training for and efforts to pursue
                                                                                       the unit to eight designated officers. The unit coordinated its trafficking
         ﬁnancial crime investigations in tandem with human trafficking cases. •
                                                                                       investigations with officials from the Department of Immigration; the
         Improve coordination between the A-TIP Police Unit and the Department
                                                                                       Ministry of Human Development, Families, and Indigenous Affairs and
         of Labor. • Take measures to reduce the demand for commercial sex.
                                                                                       its associated departments; the Social Security Board; and the Office
                                                                                       of the Director of Public Prosecutions. The government used Standard
         PROSECUTION
                                                                                       Operating Procedures requiring the A-TIP Police Unit agents accompany
         The government slightly increased prosecution efforts. The 2013
                                                                                       immigration officers when conducting operations to identify suspected
         Trafficking in Persons (TIP) (Prohibition) Act criminalized sex trafficking
                                                                                       traffickers. The A-TIP Police Unit referred (for prosecution) cases
         and labor trafficking and prescribed penalties of up to eight years’
                                                                                       to an office of the Director of Public Prosecutions. The 2013 human
         imprisonment for offenses involving adult victims and up to 12 years’
                                                                                       trafficking law required all officials to report suspected trafficking cases
         imprisonment for offenses involving child victims. These penalties were
                                                                                       to the A-TIP Police Unit for investigation. The A-TIP Police Unit had an
         sufficiently stringent and, with respect to sex trafficking, commensurate
                                                                                       ongoing partnership with an NGO to provide office space, a dedicated
         with other serious crimes, such as rape. Additionally, the 2013 Commercial
                                                                                       vehicle, and ongoing technical investigative assistance in trafficking
         Sexual Exploitation of Children (Prohibition) (CSEC) Act criminalized
                                                                                       cases. The NGO reported the office space provided a secure, private,
         various offenses relating to the prostitution of anyone younger than
                                                                                       and non-threatening location for interviewing trafficking victims and
         18. Under the TIP Prohibition Act, traffickers that were government
                                                                                       witnesses, collecting evidence, and planning operations. In October 2021,
         officials and diplomats may be imprisoned for up to 15 years and must
                                                                                       the Ministry of Human Development introduced a trafficking module
         leave public office.
                                                                                       in its legal case management system to enhance the monitoring and
         The A-TIP Police Unit was the police’s dedicated unit for conducting          evaluation processes of government responses to trafficking cases. Law
         trafficking investigations and operations. The A-TIP Police Unit initiated    enforcement authorities lacked equipment and personnel to conduct
         15 trafficking investigations against 20 individuals, including six cases     large-scale trafficking investigations effectively, although the government
         for potential sex trafficking, three for labor trafficking, and six for       reported improvements following the October 2021 foreign government
         unspeciﬁed exploitation; compared with ﬁve new investigations in 2020,        donation of a new vehicle. In addition, the police force including the
         10 new investigations in 2019, and three in 2018. Eight sex trafficking       A-TIP Police Unit was spread across a large geographical area, leaving
         investigations against 19 individuals and seven labor trafficking             most stations and sub-stations understaffed and unable to pursue
         investigations against six individuals remained ongoing from previous         trafficking investigations adequately.
         reporting periods. These included ongoing investigations into two high-
                                                                                       The government did not report any new investigations, prosecutions,
         ranking, retired government officials—a police officer and an immigration
                                                                                       or convictions of government employees complicit in human trafficking
         officer—under investigation for alleged labor trafficking of a Salvadoran
                                                                                       crimes; however, corruption and official complicity in trafficking crimes
         national while in government service; the government did not initiate
                                                                                       remained concerns, especially among lower-level officials. Civil society
         any new investigations or prosecutions of allegedly complicit officials
                                                                                       organizations reported some police officers took bribes to do the
         during the reporting period.
                                                                                       following: ignore incidents of trafficking, not report potential perpetrators
         Authorities initiated one new sex trafficking prosecution under the           and identify victims, alert establishments where trafficking was likely to
         anti-trafficking laws of four Belizean adults, three men and one woman,       occur of pending law enforcement action, and stonewall or sabotage
         during the reporting period. The government continued prosecution             investigations of reported cases within their jurisdiction. Bars and
         of ﬁve cases of six individuals under the anti-trafficking law, including     nightclubs were closed through most of the reporting period due
         of two men and two women for sex trafficking and one also charged             to the pandemic, resulting in authorities receiving fewer reports of
         with labor trafficking and two individuals, a man and a woman, for labor      suspected sex trafficking from NGOs. The government continued to
         trafficking. Two of these cases closed during the reporting period; courts    prohibit the practice of off-duty police officers providing security for
         acquitted one woman, and prosecutors dropped another case after the           bars and nightclubs where commercial sex occurred in order to limit
         victim declined to participate in the prosecution; three cases against        police complicity in trafficking crimes that frequently took place in these
         four individuals, three men and a woman, remained open at the end             establishments. The government and NGOs reported no violations of
         of the reporting period. The government reported delay in initiating          the prohibition during the reporting period. Officers caught breaching
         prosecutions due to the pandemic and the complexity of ongoing                the policy were required to appear before a Police Department tribunal
         investigations. These efforts compared with prosecution of one new            for internal disciplinary action. Civil society organizations also reported
         suspect for sex and labor trafficking crimes in 2020 and continued            some illegal brothels moved out of restaurants and bars and into private
         prosecution of ﬁve alleged traffickers from previous reporting periods.       residences, moving sex trafficking further underground and making
         The Supreme Court convicted two Belizean sex traffickers in one familial      reporting cases more difficult.
         trafficking case from 2019, compared with no convictions in 2020 and          The A-TIP Police Unit acted as the primary provider for counter-trafficking
         a conviction of one trafficker for sex and labor trafficking in 2019. In      training—including law enforcement techniques such as collecting
         September 2021, the Supreme Court convicted two child sex traffickers         evidence, victim screening and identiﬁcation, fraudulent document
         under the CSEC Act, the fourth conviction in the country’s history. The       detection, and cybercrime investigation—throughout the country,
         court sentenced an adult male to 12 years’ imprisonment for procuring         training prison officials, immigration officers, customs agents, and
         a child for sexual exploitation and sentenced the mother of the 14-year-      any other officials who may come in contact with potential trafficking
         old victim to 10 years’ imprisonment for “child prostitution.” The child      victims. The government trained police and provided a venue and other
         victim remained in the care of the Ministry of Human Development at           amenities for training police and prosecutors.
         the end of the reporting period.
 122                                                                                                                                 Haiti AR_000603
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 228 of 729




                                                                                                                                                             BELIZE
Authorities cooperated with counterparts in neighboring countries              authorities denied entry to several migrants and the government did
on judicial and law enforcement efforts. In May 2021, authorities held         not report screening these migrants. The government reported the
bilateral anti-trafficking discussions with a neighboring country following    screening process emphasized that victims could not be penalized for
an increase in the number of traffickers and women and children                unlawful acts they were compelled to commit, including immigration
trafficked from the foreign country found and identiﬁed in Belize. A           violations. Due to a lack of formal identiﬁcation procedures for the
mutual legal assistance treaty with Taiwan for criminal cases came             entirety of the reporting period, authorities may have detained and
into effect in July 2021.                                                      arrested some unidentiﬁed trafficking victims. Victims’ fear of detention
                                                                               or deportation may have contributed to their reluctance to report
PROTECTION                                                                     trafficking to law enforcement officers. The government reported that
The government increased efforts to protect victims. Authorities               for foreign victims, authorities contacted the relevant embassies for
identiﬁed three conﬁrmed victims in 2021, compared to 20 potential             potential consular services. Victims identiﬁed during the screening
victims in 2020, 24 potential victims in 2019, and 17 potential victims in     process could also apply for refugee status. The government reported
2018. The government modiﬁed and improved its victim identiﬁcation             adapting several victim protection procedures due to the pandemic,
and conﬁrmation procedures during the reporting period, resulting in           including virtual communications, keeping departments on-call instead
more accurate victim data. The victims included one Guatemalan and             of on-site, social distancing, quarantining victims, and providing health
one Belizean girl exploited in sex trafficking and one Salvadoran man          screenings. Observers reported more consistency in victim identiﬁcation
exploited in labor trafficking. NGOs identiﬁed a further six trafficking       than in previous years but stated gaps still existed, such as authorities
victims, including one Honduran woman exploited in labor trafficking           failing to respond to credible reports from NGOs of potential trafficking
and one Mexican man and four Colombian men exploited in unspeciﬁed             victims, possibly leading to fewer identiﬁed victims and weak victim
trafficking. The government referred all nine victims to government            protection. The government did not report screening Cuban medical
services, the same as in the prior reporting period. The government            professionals in the country for trafficking indicators.
did not provide repatriation support for the Honduran, Mexican, and
                                                                               Pandemic-related restrictions and personnel shortages affected the
Colombian victims because the victims’ own countries repatriated them.
                                                                               delivery of social services related to trafficking. DHS was the lead agency
In August 2021, during a screening of 11 women for potential immigration
                                                                               for victim care. The law required DHS to provide victims with essential
violations, authorities identiﬁed a foreign woman who was a trafficking
                                                                               services. During the reporting period, victims and potential victims used
victim in her country of origin. Authorities supported the female victim
                                                                               government-funded services or NGO services the government reimbursed
in testifying against her traffickers in another country while continuing
                                                                               including housing, stipends, medical, counseling, education, food,
to provide her victim services through the end of the reporting period.
                                                                               clothing, help with legal documents, and repatriation (with the assistance
The Police A-TIP Unit screened prison inmates, to identify potential
                                                                               of foreign diplomatic missions and an international organization). The
trafficking victims who may have been mistakenly penalized due to
                                                                               government reported other generally available services included dental
insufficient screening, and identiﬁed one victim.
                                                                               care, psychiatric services, prenatal care, placements, contact with family
The government reported, as part of the existing protocols, the A-TIP          members (depending on risk assessment), contact with respective
Police Unit coordinated with the Immigration Department, Public Health         embassies, hygiene kits, infant care, recreational outings (depending
Department, and the Department of Human Development when planning              on risk assessment), assistance with adjusting immigration status, and
operations to ensure services were available to potential victims. The         educational and life skills training. Children were allowed access to the
A-TIP Police Unit trained, both jointly with an NGO and on its own, officers   educational system until 14 years old, the age limit for compulsory
from each of these Departments on topics of victim identiﬁcation and           education. The government covered the costs for all these services,
referral to services. Standard Operating Procedures (SOPs) required            which were provided through the duration of criminal proceedings and
that social workers from the Department of Human Services (DHS)                as part of the re-integration process. The government reported that due
be available to support victims during interviews and other official           to the scarcity of mental health services in the public system, private
interactions. The government reported the A-TIP Council regularly              providers delivered medical and counseling services. Per the SOP, DHS
reviewed and updated the SOPs with assistance from an NGO. Social              had the ability to procure subsidized services for disabled persons, if
workers and investigators also collected victim input and provided this        needed, including sign language interpretation; the government did not
to DHS; the government reported DHS used this feedback to improve              report using this service. The government assigned two social workers,
and adjust programs and care. Law enforcement officers, immigration,           with English, Spanish, and basic sign language skills, to all trafficking
and social services agents used the SOPs when conducting interviews            cases to support victims. A DHS social worker always accompanied
and screening potential victims, including migrants and individuals in         the A-TIP Police Unit investigators when they interviewed victims.
commercial sex. The SOPs also outlined procedures for the identiﬁcation        Authorities allowed victims to speak only with a social worker until
and removal of potential victims from trafficking situations. The A-TIP        they were comfortable speaking to the A-TIP Police Unit. The A-TIP
Council, in coordination with an NGO and funded by a foreign donor, did        Council reported the number of certiﬁed social workers was low. Social
not yet begin implementation of identiﬁcation and referral guidelines          workers chaperoned victims to medical and legal appointments. NGOs
for frontline officers, including police officers, immigration personnel,      that work closely with the government noted that while gaps remained,
customs officers, medical officers, social workers, and private companies      government services have recently improved.
offering essential services such as electricity, water, telecommunications,
                                                                               The government placed identiﬁed adult victims and their families in
and social security. In August 2021, the A-TIP Police Unit, with support
                                                                               DHS’s Alternative Care Unit; authorities referred unaccompanied children
from an NGO, hired a Victims’ Services Coordinator to help police
                                                                               to the Child Protection System. The government reported a trained
officers with victim services during investigations. The A-TIP Police
                                                                               social worker conducted a risk assessment to determine placement and
Unit, under the guidance and direction of the A-TIP Council, also trained
                                                                               other services for potential victims; DHS placed victims into the least
prison guards and other prison officials on victim identiﬁcation. The
                                                                               restrictive among the range of options. Experts expressed concerns
A-TIP Police Unit provided refresher training for prison guards. The
                                                                               about the lack of education on trafficking for some foster parents, uneven
government reported the A-TIP Police Unit had trained female officers
                                                                               coordination and communication between government agencies and
to conduct screenings for female victims. The government reported
                                                                               foster parents, and limited availability of psycho-social care in general,
screening could occur in English or Spanish.
                                                                               including for trafficking victims. The government placed adults at
The government screened for trafficking victims as part of an international    shelters operated by DHS and several NGOs; it placed children in the
operation against criminal migrant smuggling networks. In July 2021, the       foster care system—funded by the government—or a group home, and
Cabinet approved the Protocols for Accompanied and Unaccompanied               the government reported DHS always notiﬁed shelters and homes of
Migrant Children in Belize, and the government trained frontline officers      arriving victims. The government lacked sufficient public shelter space
from the relevant departments as instructors. The protocols outlined           for all victims and partnered with two domestic violence NGOs, one of
how to refer migrant children, some of whom may be trafficking victims,        which received government funding, to provide shelter and services to
to the appropriate authorities for care. The government did not report         adult female trafficking victims. In the previous reporting period, the
whether officials consistently used the new protocols; NGOs reported           Ministry of Human Development, Families, and Indigenous Affairs made
                                                                                                                                Haiti AR_000604              123
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 229 of 729
BELIZE   arrangements with an NGO to shelter male victims for the ﬁrst time; the    cuts, the government allocated 200,000 Belizean dollars ($100,000)
         government did not report any male victims using the shelter during the    for anti-trafficking activities, consistent with the past three years.
         reporting period. The Ministry of Human Development, in partnership
                                                                                    The A-TIP Council’s Focal Point, which served as an interagency
         with an international organization, also established a temporary shelter
                                                                                    coordinator and manager, systematically documented the government’s
         for unaccompanied children, many of whom were at risk for trafficking.
                                                                                    efforts on human trafficking in the areas of prevention, prosecution,
         The government reported it did not limit protection services by time or    protection, and partnerships and maintained an associated database.
         make them conditional upon victim cooperation with law enforcement;        The module also included a multi-agency online platform to investigate,
         services extended beyond the disposition of legal cases. If there were     track, and manage cases of human trafficking and provided a platform
         considerable safety concerns, the government would place victims in        for accurate reporting and analysis. With funding from an international
         safe houses only known to social workers and police officers working       organization, the A-TIP Council also created and implemented a new
         on the case. The government did not provide any victims with witness       Human Trafficking Management Information System for law enforcement
         protection; police could provide 24-hour security for some victims. The    and social services. The system assisted with the data migration of
         government reported victims could stay in separate chambers from           trafficking cases from previous years, including the current reporting
         their accused traffickers during court proceedings. The government         period. The A-TIP Council began development of training manuals. The
         allowed victims to provide testimony through video but lacked the          government published an infographic annual report on the dynamics
         equipment necessary to do so. As an interim measure, victims had           of trafficking in the country in March 2022. The government reported
         the option of testifying from behind a screen in the court, protecting     it also contributed to the regional Coalition Against Human Trafficking
         the victim’s identity. The government reported pandemic-related            and Migrant Smuggling, which published data on human trafficking for
         social distancing impacted in-person interviews of victims, with some      Central America, Mexico, and the Dominican Republic. The government,
         victims not comfortable providing detailed information under the           with the ﬁnancial support of an international organization, conducted
         new regulations that required victims to remain physically distanced       a gap analysis to review the government’s overall effectiveness in
         from social workers and investigators while making their report. The       combating trafficking.
         law also allowed for written statements to be provided as evidence
                                                                                    The A-TIP Council coordinated with a local NGO, with funding from
         in cases where repatriated foreign victims did not wish to return. The
                                                                                    an international organization, to build a social media page for the
         government reported counseling was available during testimony. The
                                                                                    A-TIP Council, coordinate four awareness sessions on mainstream
         government reported it encouraged victims to participate in the legal
                                                                                    television shows, create trafficking indicator cards for transportation
         process but did not compel them; in past years, court delays and fear
                                                                                    workers, and produce four informational videos. The A-TIP Council
         of retaliation by traffickers may have led foreign national victims to
                                                                                    provided technical guidance for the projects, reviewed the campaign
         decline or withdraw cooperation with law enforcement and return to
                                                                                    materials produced, and served as subject matter experts on television
         their home countries. Even those who wished to assist in prosecution
                                                                                    to ensure messaging did not legitimize or perpetuate harmful or
         were sometimes unavailable to do so, having chosen repatriation or
                                                                                    racialized narratives or stereotypes about what victims, survivors, and
         onward migration in the years between. The government provided
                                                                                    perpetrators may look like. Campaign material was readily available to
         foreign victims of human trafficking with the same victim services as
                                                                                    the public in both English and Spanish. The government coordinated
         domestic victims. Authorities did not deport foreign victims identiﬁed
                                                                                    with a neighboring country to conduct general awareness campaigns
         in potential trafficking cases; these victims could receive temporary
                                                                                    in both countries. An NGO operated a 24-hour “crime stoppers” hotline,
         residency status and work permits regardless of their cooperation
                                                                                    which could receive calls on trafficking crimes and be used to reach the
         with investigations or prosecutions. The government would facilitate
                                                                                    police; the police reported no trafficking investigations resulted from
         work permits free of cost and, unless there were safety concerns, it
                                                                                    hotline calls during the reporting period. In November 2021, the A-TIP
         allowed adult victims to move freely and obtain employment. The
                                                                                    Council developed a toll-free telephone line, donated by an NGO and a
         government could offer repatriation assistance to victims if they
                                                                                    telecommunication company, for the purposes of reporting suspected
         chose to return to their countries of origin pending trial proceedings,
                                                                                    trafficking cases and providing information to the public on how to
         although it did not do so during the reporting period; an international
                                                                                    detect them. Printed materials for the awareness campaign included
         organization coordinated repatriation. A court could order restitution
                                                                                    the toll-free number. The government provided awareness sessions for
         upon a trafficker’s conviction through a formal request during the
                                                                                    government officials, high school teachers, NGOs, and members of the
         criminal case, but the A-TIP Council reported that the court did not
                                                                                    public. The government reported the pandemic signiﬁcantly impacted
         award an application for restitution in the case of familial trafficking
                                                                                    the ability to lead large gatherings in person, resulting in the majority
         due to the indigent status of the traffickers.
                                                                                    of awareness activities being conducted online.
         The government did not allocate a speciﬁc amount within the anti-
                                                                                    Liquor licensing boards routinely failed to conduct inspections of
         trafficking budget for victim services for the second year in a row. The
                                                                                    restaurants where commercial sex, including potential sex and labor
         government reported the Ministry of Human Development, Families,
                                                                                    trafficking crimes, allegedly took place. In December 2021, the A-TIP Unit
         and Indigenous Peoples’ Affairs purchased a van for the transportation
                                                                                    hosted a human trafficking awareness session for liquor licensing board
         of victims. The government waived the signiﬁcant import tax for a van
                                                                                    members to highlight their role in reducing trafficking. As part of its job
         an NGO purchased to transport trafficking and CSEC victims.
                                                                                    preparedness training program for workers, the government offered
                                                                                    worker rights sessions that included information on human trafficking
         PREVENTION                                                                 and conducted quarterly labor rights workshops with entrepreneurs and
         The government increased its prevention efforts. The government
                                                                                    small businesses. The labor code required labor recruiters to register with
         continued to implement and fund a national action plan for 2021-
                                                                                    the national labor recruiter registry, but the government reported that
         2023. The government’s national coordinating body for counter-
                                                                                    none did so. Although the Department of Labor reported strengthening
         trafficking efforts was the A-TIP Council, headed by the Ministry of
                                                                                    regulations related to recruitment and that the Ministries of Immigration
         Human Development, Families, and Indigenous Peoples’ Affairs. The
                                                                                    and Agriculture led discussions with employers to implement the new
         A-TIP Council chair also served simultaneously in several other official
                                                                                    terms, observers noted these efforts were not effective. The A-TIP
         positions due to personnel and resource limitations. The A-TIP Council
                                                                                    Council, the Ministry of Human Development, and several NGOs and
         was composed of key ministries and two NGOs. While trafficking
                                                                                    civil society partners reported conducting outreach in English and
         survivors did not participate directly in anti-trafficking efforts, they
                                                                                    Spanish to migrant workers vulnerable to trafficking to advise them
         provided their experiences to DHS to improve and adjust programs and
                                                                                    of their rights. Foreign workers must obtain a work permit from the
         care provided to trafficking victims, as well as screening procedures,
                                                                                    Employment Permit Committee before they engaged in any form of
         training protocols, and updated legislation. The A-TIP Council met
                                                                                    paid work; this body included a social service officer responsible for
         quarterly during the reporting period. The A-TIP Council held two in-
                                                                                    identifying vulnerable groups or individuals. The government did not
         persons meetings: a high-level meeting involving cabinet ministers
                                                                                    have deﬁned guidelines for foreign worker recruitment; a migrant worker
         and a symposium with its member agencies. Despite broad budget
                                                                                    recruitment policy an international organization assisted to develop in

 124                                                                                                                             Haiti AR_000605
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 230 of 729




                                                                                                                                                                 BENIN
the previous reporting period remained under review. A separate draft
temporary employment policy excluded foreign workers from certain                BENIN: TIER 2
job positions that were especially at risk for trafficking, including bar
and nightclub waitresses, cooks, common laborers, small business clerks         The Government of Benin does not fully meet the minimum standards
and managerial staff, waitresses in other establishments, supervisors,          for the elimination of trafficking but is making signiﬁcant efforts to do
security guards, domestic workers, caregivers, and construction helpers.        so. The government demonstrated overall increasing efforts compared
Labor inspectors reported a shortage of qualiﬁed personnel, vehicles,           with the previous reporting period, considering the impact of the
fuel, and operating funds to conduct adequate inspections for labor             COVID-19 pandemic on its anti-trafficking capacity; therefore Benin
violations. The government was a signatory to several treaties that             remained on Tier 2. These efforts included convicting more traffickers
uphold workers’ rights, including the CARIFORUM-EU Economic                     and identifying more potential trafficking victims, including a signiﬁcant
Partnership Agreement that included the elimination of forced labor.            increase in identiﬁcation of potential child labor trafficking victims, and
The government did not make efforts to reduce the demand for                    referring those victims to protection services. However, the government
commercial sex acts. The law allowed for Belizean citizens to be tried          did not meet the minimum standards in several key areas. Authorities
for trafficking and child sex tourism crimes committed abroad; the              investigated and prosecuted fewer trafficking cases and did not report
government did not report investigating any cases of child sex tourism          identifying any foreign victims of trafficking. Additionally, the government
during the reporting period. The government reported sponsoring                 did not have adequate protection services for adults.
billboards to combat child sex tourism at the international airport and
border crossing points. The government trained diplomats posted in
                                                                                         BENIN TIER RANKING BY YEAR
three foreign countries on trafficking. The government participated
                                                                                     1
in a multi-country program to identify and deny tourist entry to
registered sex offenders. In 2021, the government joined an international            2
development bank project to develop a set of regional protocols for               2WL
a coordinated response to trafficking including sharing technology
                                                                                     3
and best practices.                                                                         2015     2016      2017   2018   2019     2020     2021    2022

TRAFFICKING PROFILE
As reported over the past ﬁve years, human traffickers exploit domestic
and foreign victims in Belize, and traffickers exploit victims from Belize      PRIORITIZED RECOMMENDATIONS:
abroad. Groups considered most at risk for trafficking in Belize include        Expand training for law enforcement, prosecutors, judges, and judicial
migrants, children, individuals experiencing economic difficulties              staff on the 2018 penal code articles 499-504 to increase their ability
including pandemic-related unemployment, and LGBTQI+ persons. Sex               to investigate, prosecute, and convict traffickers, including fraudulent
traffickers exploit Belizean and foreign adults and girls and LGBTQI+           labor recruiters. • Develop an information management system for
persons, primarily from Central America, in bars, nightclubs, hotels, and       the Ministries of Justice, Interior, Labor, Foreign Affairs, and other
brothels. Due to the pandemic, sex trafficking has mostly moved to more         relevant government agencies—in coordination with international
tightly controlled, illegal brothels rather than bars and clubs—which           organizations—to improve access and utilization of law enforcement
were closed from March 2020 to March 2022—and involve a network                 and judicial statistics. • Seek signiﬁcant prison terms for convicted
of taxi operators who provide a connection between individuals in               traffickers in accordance with penal code articles 499-504 or the
commercial sex and patrons; the change has made reporting more                  2006 child trafficking law, while respecting due process. • Develop
difficult as the commercial sex trade moves further underground.                and implement standard operating procedures (SOPs) for proactive
Tourism-related industries lure laborers through the offer of legitimate        identiﬁcation of adult trafficking victims and their subsequent referral
service jobs and exploit them in sex trafficking. These illicit operations      to care or incorporate identiﬁcation of adult TIP victims into existing
are typically small in scale and unconnected to organized transnational         SOPs. • Collaborate with NGOs and international organizations to
trafficking rings. Family members facilitate the sex trafficking of             increase the government’s capacity to provide shelter and services to
Belizean women and girls, including through an arrangement where                more trafficking victims, including adults. • Expand implementation of
a wealthy male will offer payment or gifts to a family in exchange for          the 2011 bilateral anti-trafficking agreement with the Republic of the
sex from a young, usually female, family member. This practice has              Congo and the multilateral agreement with Burkina Faso and Togo to
expanded to Guatemalan victims unable to pay school fees in Belize.             increase law enforcement coordination and investigate, prosecute, and
Although most victims in the country are Belizean, foreign adults               convict perpetrators of transnational trafficking cases, while respecting
and children—particularly from Central America, Mexico, Cuba, Haiti,            due process. • Finalize the multilateral agreement with Togo and Nigeria
and Asia—migrate voluntarily to Belize or stop en route to the United           to increase information-sharing and cooperation on transnational
States in search of work, and traffickers often exploit victims using false     investigations.
promises of relatively high-paying jobs or take advantage of migrants’
illegal status and exploit them in forced labor in restaurants, shops,          PROSECUTION
domestic work, and agriculture. The law does not provide asylum seekers         The government maintained insufficient law enforcement efforts.
with work permits, placing them at constant threat of deportation               Existing laws criminalized sex trafficking and labor trafficking. Articles
that could increase their vulnerability to trafficking. The number of           499-504 of the Penal Code criminalized all forms of labor trafficking
labor trafficking crimes and scale of labor trafficking operations likely       and some forms of sex trafficking and prescribed penalties of 10 to 20
decreased in 2021 as a result of pandemic-related border closures               years imprisonment; these penalties were sufficiently stringent, and with
and increased patrols that also limited illegal crossings. PRC nationals        respect to sex trafficking, commensurate with other grave crimes, such
and Indian nationals may be exploited in Belize in domestic service.            as rape. The 2006 Act Relating to the Transportation of Minors and the
PRC nationals may be vulnerable to forced labor on ﬁshing vessels               Suppression of Child Trafficking (Act 2006-04) criminalized all forms of
registered in Belize. PRC nationals working in construction in Belize,          child sex trafficking and labor trafficking and prescribed penalties of 10
during previous reporting periods, may have been forced to work,                to 20 years’ imprisonment. These penalties were sufficiently stringent
including by PRC-affiliated enterprises. Cuban workers in Belize may            and, with respect to sex trafficking, commensurate with those for other
be forced to work by the Cuban government. In tourist regions, foreign          serious crimes, such as rape.
child sex tourists, primarily from the United States, exploit child sex
trafficking victims. NGOs report some police and immigration officers           The government did not report any new investigations during the
take bribes in return for ignoring trafficking, facilitating illegal entries,   reporting period, compared with investigating 49 cases during the
failing to report suspected victims and perpetrators, and failing to act        previous reporting period. The government continued investigations of 25
on reported cases under their jurisdiction.                                     cases from the previous reporting period that may have included potential
                                                                                trafficking crimes. The government reported prosecuting four cases of
                                                                                trafficking, including three adult trafficking cases and one child trafficking
                                                                                                                                    Haiti AR_000606              125
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 231 of 729
BENIN   case, compared with prosecuting 72 cases of child trafficking during           Social Promotion Centers in more populated communes such as Parakou,
        the previous reporting period. The government reported prosecuting             Cotonou, and Porto Novo. Victims in rural areas had limited access to
        an additional 223 cases of gender-based violence, which may have               services. The Ministry of Health’s SOPs for providing health services to
        included some trafficking cases, compared with prosecuting 72 cases            individuals in commercial sex included a presumption that any minor
        of child trafficking the previous reporting period and 323 cases that          involved in commercial sex was a sex trafficking victim; however,
        may have contained exploitative aspects under related statutes. The            victim screening was inconsistent. The government has not developed
        government reported convicting 11 individuals of trafficking, two of sex       a corresponding directive or procedure for the identiﬁcation of adult
        trafficking and nine of labor trafficking, compared with no convictions in     trafficking victims. Due to a lack of formal identiﬁcation procedures,
        the previous reporting period. The government also reported convicting         authorities likely detained some unidentiﬁed trafficking victims.
        19 individuals originally charged with sex trafficking of lesser crimes.
                                                                                       The government had procedures to provide legal aid services to victims
        The government reported all 11 individuals convicted of trafficking
                                                                                       to support their participation in criminal proceedings, but due to
        received prison sentences but did not specify the length; in previous
                                                                                       lack of funding, such services were rarely available. Beninese law did
        reporting periods, courts reportedly sentenced the majority of convicted
                                                                                       not provide legal alternatives to the removal of trafficking victims to
        traffickers to prison terms substantially shorter than the 10-20 years’
                                                                                       countries in which victims would face retribution or hardship, although
        imprisonment required by Benin’s Penal Code for trafficking. Some judicial
                                                                                       the government considered cases involving foreign child trafficking
        officials asserted that more stringent prison terms may exacerbate the
                                                                                       victims for immigration relief on an ad hoc basis.
        vulnerability of some child victims when the perpetrators are relatives.
        Officials reported police and prosecutors often did not understand or
                                                                                       PREVENTION
        uniformly interpret the trafficking law, which resulted in traffickers being
                                                                                       The government maintained efforts to prevent trafficking in persons.
        charged with other crimes.
                                                                                       The Anti-Trafficking in Persons Technical Commission coordinated
        The Ministry of Justice (MOJ) noted the lack of an effective data collection   the government’s anti-trafficking efforts. It was chaired by the Chief
        system resulted in the need for officials to contact individual courts to      of Staff of the Minister of Planning and Development and comprised
        obtain case details. Many police stations lacked the technology and            the ministries of Development, Justice, Labor, and Social Affairs. The
        capacity necessary to maintain electronic databases; judicial personnel        commission met on an ad hoc basis, and some efforts were limited
        and most courts continued to record cases on paper, creating challenges        due to the pandemic. The Minister of State in charge of Development
        in compiling and sharing law enforcement statistics. The government            and Coordination of Government Action’s General Directorate for
        did not report prosecuting or convicting government officials complicit        Evaluation and the Observatory for Social Change had working level
        in human trafficking crimes, although some civil servants may have             responsibility for the government’s anti-trafficking efforts. The National
        exploited children through the traditional practice of vidomegon. The          Monitoring and Coordination Working Group for Child Protection, which
        government reported a customs official who allegedly facilitated human         monitored child trafficking cases, met for the ﬁrst time since 2015.
        trafficking was ﬁred but did not report any action taken against the           The government reported it continued to implement the country’s
        official. The government partnered with an international organization          2020-2024 anti-trafficking national action plan; however, it dedicated
        to train judges, police officers, ministry officials, and private sector       inadequate resources.
        actors on the 2006 Act Relating to the Transportation of Minors and the
                                                                                       The government continued implementing its social services data
        Suppression of Child Trafficking. Pandemic-related restrictions limited
                                                                                       management system to track child protection cases, including child
        the government’s ability to participate in some international trafficking
                                                                                       trafficking. Data was publicly available yet remained incomplete as not all
        investigations. The government cooperated with the Governments of
                                                                                       staff were equipped or trained to input data. Child Protection Committees,
        Gabon, Togo, and the Republic of the Congo on investigations and
                                                                                       comprised of local officials, police, and NGO representatives in all of
        repatriations of trafficking victims. The government did not report what
                                                                                       Benin’s 77 communes, met regularly to discuss strategies to address child
        actions it took under the 2011 bilateral anti-trafficking agreement with
                                                                                       protection issues, including child trafficking. The government trained
        the Republic of the Congo or the multilateral agreement with Burkina
                                                                                       market traders on child protection issues, organized a conference on
        Faso and Togo. The government did work with the Governments of Togo
                                                                                       child exploitation in the construction sector, and in conjunction with an
        and Gabon, as well as INTERPOL, to successfully repatriate 39 Beninese
                                                                                       international organization, conducted an awareness raising campaign
        minors who had been trafficked to both countries.
                                                                                       in border areas and cities where children faced a high risk of trafficking.
                                                                                       In coordination with an international organization, the Ministry of Social
        PROTECTION                                                                     Affairs ran a child protection hotline, which received 14,963 actionable
        The government maintained overall efforts to identify and protect
                                                                                       calls regarding child abuse, including potential exploitation. The hotline
        trafficking victims. The government reported identifying 701 trafficking
                                                                                       was operational 24 hours a day and was staffed with French and
        victims, including 151 sex trafficking victims (111 children and 40 adults,
                                                                                       local language speakers. There were no hotlines available for adult
        including 25 victims who identiﬁed as LGBTQI+) and 550 labor trafficking
                                                                                       trafficking victims.
        victims, all children. This compared with identifying 363 potential victims
        in the previous reporting period. The government referred all 701 victims      The government conducted 1,015 labor inspections, including in sectors
        to social services, compared with providing services to all 363 potential      with high instances of child labor, and reported identifying 620 instances
        victims identiﬁed during the previous reporting period. The government         of child labor trafficking. The government trained new labor inspectors
        reported that in conjunction with NGOs, it identiﬁed 543 child forced          on child trafficking. The government regulated formal recruitment
        labor victims and referred all identiﬁed victims to services.                  agencies, but authorities did not take action against informal employment
                                                                                       agents who facilitated trafficking. Some illicit recruiters continued to
        The Ministry of Social Affairs and Microﬁnance, OCPM, MOJ, Ministry of
                                                                                       recruit Beninese victims abroad with fraudulent employment promises.
        Foreign Affairs, and various international donors and NGOs coordinated
                                                                                       The government did not report any measures to reduce the demand
        to identify, assist, and repatriate child trafficking victims. OCPM operated
                                                                                       for commercial sex acts. The Ministry of Foreign Affairs used a code
        a temporary shelter for child victims in Cotonou with a capacity of 160
                                                                                       of conduct for diplomats that prohibited Beninese nationals deployed
        children (80 boys and 80 girls), but due to pandemic safety measures,
                                                                                       abroad from engaging in or facilitating trafficking in persons; however,
        the capacity was reduced to 120. The shelter offered child victims
                                                                                       it did not report providing training to officials. A foreign government
        legal services, medical, and psychological assistance and served as a
                                                                                       provided anti-trafficking training to Beninese troops prior to their
        short-term shelter while officials worked to place children in long-term
                                                                                       deployment as peacekeepers. Although not explicitly reported as human
        NGO shelters. NGOs coordinated with Ministry of Social Affairs and
                                                                                       trafficking, there were seven open cases of alleged sexual exploitation with
        Microﬁnance representatives to reunite children with their families.
                                                                                       trafficking indicators by Beninese peacekeepers deployed to various UN
        Observers noted limited shelter capacity hindered service provision
                                                                                       peacekeeping missions. These include two allegations in 2020 and one
        and access to justice for some victims. The Ministry of Social Affairs
                                                                                       in 2021 against Beninese military personnel deployed with the mission in
        and Microﬁnance’s network of Social Promotion Centers (Centres de
                                                                                       the Democratic Republic of the Congo (MONUSCO); one in 2019 and one
        Promotion Sociale) continued to provide basic services for adult and
                                                                                       in 2020 against military and police personnel, respectively, deployed with
        child trafficking victims in all of Benin's 77 communes, with additional

 126                                                                                                                                Haiti AR_000607
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 232 of 729




                                                                                                                                                                 BHUTAN
the mission in the CAR (MINUSCA); one in 2018 against a police officer           anti-trafficking National Action Plan (NAP). However, the government
deployed to the now-closed mission in Haiti (MINUSTAH); and one in 2016          did not demonstrate overall increasing efforts compared with the
against a military officer deployed to the mission in Mali (MINUSMA). The        previous reporting period, even considering the impact of the COVID-19
government did not report on the accountability measures taken, if any,          pandemic on its anti-trafficking capacity. Bhutan’s trafficking laws do not
for these open cases by the end of the reporting period.                         criminalize all forms of child sex trafficking. The government reported
                                                                                 investigating one potential human trafficking case and did not initiate
TRAFFICKING PROFILE                                                              new prosecutions against traffickers, and overall identiﬁcation efforts
As reported over the past ﬁve years, human traffickers exploit domestic          remained insufficient. Because the government has devoted sufficient
and foreign victims in Benin, and traffickers exploit victims from Benin         resources to a written plan that, if implemented, would constitute
abroad. Trafficking in the country is predominantly internal. The majority       signiﬁcant efforts to meet the minimum standards, Bhutan was granted
of child trafficking victims are from rural areas and are most often             a waiver per the Trafficking Victims Protection Act from an otherwise
victims of labor trafficking. Children from low-income families and              required downgrade to Tier 3. Therefore Bhutan remained on Tier 2
those without birth documents are especially at risk; officials report           Watch List for the third consecutive year.
parent illiteracy and single-parent households also increase children’s
risk of exploitation. The pandemic exacerbated some risk factors for
trafficking, including poverty and school absences. Some community                        BHUTAN TIER RANKING BY YEAR
members and relatives use the promise of education or employment to                   1
recruit Beninese children from northern rural areas to the more urban                 2
southern corridor and exploit them in forced labor in domestic servitude,
                                                                                   2WL
markets, farming, as “apprentices” engaged in various trades, and in
handicraft manufacturing. Beninese traffickers include farmers, traders,              3
                                                                                            2015      2016     2017     2018   2019    2020    2021    2022
artisans, small factory owners, and civil servants; some belong to criminal
networks, and others may have been former trafficking victims. Adults
are exploited in sex and labor trafficking.
The government reported traffickers exploit children living in the lakeside      PRIORITIZED RECOMMENDATIONS:
areas of Benin—including the commune of So Ava in southeast Benin—in             Amend anti-trafficking laws to ensure that a demonstration of force,
debt bondage. Criminal elements operate in urban areas under the guise           fraud, or coercion is not required to constitute a child sex trafficking
of informal employment agents and recruit children for domestic work in          offense, consistent with international law. • Vigorously investigate,
private residences, where house managers and families exploit them in            prosecute, and convict traffickers and adequately sentence convicted
domestic servitude. Some parents follow a traditional practice known             traffickers. • Increase identiﬁcation of trafficking victims. • Disseminate
as vidomegon, which involves sending children to wealthier families for          information and train officials on the amended Penal Code Section 154
educational or vocational opportunities; some of these families then             and the implementation of anti-trafficking laws. • Train and instruct labor
subject the children to forced labor, often in domestic service and open-        inspectors to screen cases of labor violations for indicators of forced
air markets, or sexual exploitation. The government reported criminals           labor, including nonpayment of wages, and refer to police for criminal
exploit girls in sex trafficking in Cotonou and Malanville. Officials reported   investigation. • Take steps to eliminate all recruitment fees charged to
traffickers exploit boys, girls, and women from Djougou and Bassila in           workers by recruitment agents and investigate claims of nonpayment of
the northwest of the country; Parakou in the northeast; Zakpota, Djida,          wages, contract switching, and illegal fees charged by agents. • Accede
and Agbaizoun in the central region; in the Adja region and in Lobogo            to the 2000 UN TIP Protocol.
in the southwest; and in Pobe and Sakete in the southeast. Traffickers
exploit these groups in labor and sex trafficking.                               PROSECUTION
Beninese children are sent to Nigeria, Gabon, the Republic of the Congo,         The government maintained anti-trafficking law enforcement efforts.
and to a lesser extent other West and Central African countries for              The law criminalized all forms of labor trafficking and some forms of
domestic servitude and other forms of forced labor. Togolese victims             sex trafficking. Section 154 criminalized all forms of adult sex trafficking,
increasingly transit through Benin in route to other destinations. Benin has     adult labor trafficking, and child labor trafficking. However, the law
been the largest source country for trafficking victims in the Republic of       deﬁned trafficking to require a demonstration of force, fraud, or coercion,
the Congo, with the department of Oueme in southeast Benin historically          which is inconsistent with international law for child sex trafficking,
an area traffickers used to recruit child victims. Child marriage remains        thereby failing to criminalize all forms of child sex trafficking. Similarly,
prevalent nationwide, with some families forcing girls into marriages            Section 224 of The Child Care and Protection Act (CCPA) criminalized
as a result of generational poverty; these girls may then be subjected           child trafficking but, inconsistent with international law, also required
to sex trafficking or domestic servitude.                                        a demonstration of force, fraud, or coercion to constitute a child sex
                                                                                 trafficking offense and therefore did not criminalize all forms of child
Reports indicate criminal groups fraudulently recruit young Beninese             sex trafficking. Section 379 of the penal code deﬁned “trafficking a
women for domestic work in Lebanon, Algeria, and Persian Gulf countries          person for prostitution” as selling, buying, or transporting a person
and subsequently exploit them in forced labor or sex trafficking. In past        into or outside of Bhutan for the purposes of prostitution. Section 154
reporting periods, traffickers and their accomplices have sent child             of the Penal Code prescribed punishment ranging from three to ﬁve
victims to their destinations alone and met the victims upon arrival.            years’ imprisonment, Section 379 prescribed from ﬁve years to life
International organizations report some adult labor migrants use airports,       imprisonment, and Section 224 of the CCPA prescribed from ﬁve to nine
primarily in Togo—but also in the neighboring countries of Burkina Faso          years’ imprisonment. These punishments were sufficiently stringent and,
and Nigeria—to circumvent anti-trafficking screening procedures put in           with respect to sex trafficking, commensurate with penalties prescribed
place by the government at Cotonou’s international airport, increasing           for other serious crimes, such as abduction.
the migrants’ vulnerability to human trafficking.
                                                                                 The government initiated one potential trafficking investigation
                                                                                 and continued to investigate a 2019 case involving 160 Bhutanese
                                                                                 women exploited in domestic servitude in Iraq, compared with no new
 BHUTAN: TIER 2 WATCH LIST                                                       investigations initiated in the previous reporting period. The government
                                                                                 did not report initiating any prosecutions, compared with one prosecution
                                                                                 initiated in the previous reporting period against three suspects in a
The Government of Bhutan does not fully meet the minimum standards               2018 labor trafficking case involving Bhutanese nationals in Mumbai,
for the elimination of trafficking but is making signiﬁcant efforts to           and it continued prosecution of two cases. However, the Office of the
do so. These efforts included increasing convictions of traffickers and          Attorney General (OAG) initiated preliminary procedures to prosecute
the number of potential trafficking victims identiﬁed and referred to            15 alleged traffickers in one case, which remained pending by the end
services. In addition, the government drafted and launched a resourced           of the reporting period. In June 2021, the government convicted three
                                                                                                                                      Haiti AR_000608            127
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 233 of 729
BHUTAN   traffickers following the reinvestigation and prosecution of the 2018         constrained government resources, the government conducted training
         Mumbai case during previous reporting periods, compared with no               on SOPs for officials, including judges, labor inspectors, and diplomatic
         convictions during the previous reporting period. The court sentenced         staff. RBP also trained 514 personnel on the amended Penal Code Section
         one defendant to 54 months in prison for trafficking under Section 154        154 and the implementation of anti-trafficking laws, interviewing victims,
         of the penal code and the other two defendants to 18 months in prison         and the government’s SOP on trafficking.
         for attempted collusion in trafficking. The government did not report
                                                                                       When the government identiﬁed trafficking victims, RBP and other
         taking action against the employment agencies involved in the 2019 case
                                                                                       agencies could refer them to the NCWC or an NGO for care. The
         of Bhutanese domestic workers in Iraq. The OAG did not pursue further
                                                                                       government ﬁnanced civil society organizations to operate shelters.
         appeals following the dismissal of trafficking charges in a 2018 case in
                                                                                       The NCWC and NGOs could refer men, women, and children to two NGO-
         which a suspect was charged with child trafficking for forced domestic
                                                                                       run facilities that provided counseling, medical services, and long-term
         labor of an 8-year-old girl. Despite indicators of trafficking, including
                                                                                       shelter to victims of crime. In 2020, the government expanded funding
         severe physical abuse that required hospitalization and amputations,
                                                                                       to include a second shelter in the capital and allocated an additional
         two courts acquitted the defendant of forced labor and convicted
                                                                                       100,000 Bhutanese ngultrum (Nu) ($1,300) to NGOs providing shelter
         the employer of illegal transportation of a child. Royal Bhutan Police
                                                                                       services. One shelter had case management officers in ﬁve districts,
         (RBP) reportedly screened for trafficking in enforcement operations,
                                                                                       and the other had the ability to assign counselors to visit crime victims
         including at worksites, businesses, and border areas, but did not identify
                                                                                       outside the capital on an ad hoc basis.
         any trafficking victims. RBP maintained “women and child protection”
         units at three police stations and “women and child protection” desks         Ministries did not have dedicated budgets to support trafficking victims,
         at 11 additional police stations. RBP also maintained one “women and          which created gaps in services in some reported cases. The NCWC
         child protection” division at its headquarters in Thimphu. All officers       maintained a budget to assist vulnerable women and children, including
         and personnel in these units and offices were trained on “women and           trafficking victims. The NCWC could also provide case management
         child friendly policy procedures,” including a victim-centered approach       assistance and legal aid. The NCWC and partner organizations provided
         during investigations of trafficking cases.                                   legal counseling to 42 trafficking survivors during the reporting period.
                                                                                       The pandemic-related government lockdown and movement restrictions
         In mid-2018, some Bhutanese participants in a government-approved
                                                                                       hampered NCWC and NGO efforts to provide some services, including
         work-study program in Japan reported indicators of forced labor. The
                                                                                       requiring the government to postpone livelihood training and awareness
         OAG charged the recruitment agency with 2,887 counts of forgery
                                                                                       programs. A civil society partner conducted vocational training for 16
         and 730 counts of larceny by deception, and the government charged
                                                                                       repatriated human trafficking victims. The NCWC and NGOs provided
         the Director-General of the Ministry of Labor and Human Resources
                                                                                       counseling and psychological support services virtually, as well as in-
         with four criminal offenses, including illegal issuance of a certiﬁcate of
                                                                                       person services. The NCWC and partner agencies conducted telephone
         registration to an employment agency without required documentation.
                                                                                       counselling services with trafficking survivors in the Middle East to
         For the third year, the prosecution of both cases was ongoing at the
                                                                                       provide psycho-social support and prevent re-traumatization. The
         close of the reporting period.
                                                                                       government continued to use its multi-sectoral response policy to guide
         The government did not report any investigations, prosecutions, or            officials referring or transferring survivors of trafficking for services.
         convictions of government employees complicit in human trafficking            The government sought to provide services to all trafficking survivors
         crimes. Some officials continued to lack an understanding of human            regardless of nationality. The NCWC also launched a child protection
         trafficking, especially internal and transnational forced labor, although     framework to establish best practices and interagency responsibilities
         recent high-proﬁle cases have helped increased awareness. Limited             for addressing child protection issues, including trafficking.
         police resources often hindered thorough investigations, and a lack of
                                                                                       The government maintained procedures, including witness protection,
         training for law enforcement on victim-centered investigations impeded
                                                                                       to support trafficking victims participating in the investigations and
         formation of strong cases. In some cases, successful anti-trafficking
                                                                                       prosecutions of alleged traffickers. In addition, the penal code allowed
         law enforcement efforts relied on persistent individual officers. In
                                                                                       human trafficking victims to ﬁle civil suits against traffickers and courts
         partnership with an international organization, the Department of Law
                                                                                       to order traffickers to pay appropriate damages and reparation for loss
         and Order (DLO) continued to support anti-trafficking trainings for law
                                                                                       or injury caused to the victim. No traffickers or defendants were ordered
         enforcement and prosecutors.
                                                                                       to pay damages to a trafficking victim during the reporting period. The
                                                                                       immigration department mandated that authorities report suspected
         PROTECTION                                                                    foreign trafficking victims identiﬁed within Bhutan to the NCWC before
         The government increased protection efforts during the reporting
                                                                                       initiating deportation for immigration violations. Bhutanese law did
         period. The government identiﬁed 22 labor trafficking victims, including
                                                                                       not provide legal alternatives to the removal of trafficking victims
         eight Bhutanese women exploited in Oman and 14 Bhutanese women
                                                                                       to countries in which victims would face retribution or hardship. The
         exploited in Iraq. This compared with no victims identiﬁed during the
                                                                                       government continued to pursue a bilateral agreement, initiated in
         previous reporting period. The government funded the repatriation of
                                                                                       the previous reporting period, with the Government of the United
         at least eight trafficking victims from Oman and screened an additional
                                                                                       Arab Emirates to combat human trafficking through an exchange of
         18 potential victims repatriated from Oman. The National Commission
                                                                                       information and expertise, protection and support for victims, and
         for Women and Children (NCWC) provided eight identiﬁed victims with
                                                                                       cooperation during repatriations. However, the lack of formal diplomatic
         counselling services. The government reported that it offered counselling
                                                                                       relationships or mutual law enforcement agreements with migrant
         services to 14 identiﬁed victims, although the victims did not accept these
                                                                                       worker destination countries hindered RBP efforts to investigate some
         services. The government continued to provide services to 160 women
                                                                                       potential trafficking cases.
         who were identiﬁed as victims of domestic servitude and trafficking
         in Iraq in December 2019 and repatriated in the previous reporting
                                                                                       PREVENTION
         period. A government-funded organization provided services, including
                                                                                       The government slightly increased efforts to prevent human trafficking.
         shelter homes and food, for identiﬁed victims. The Ministry of Labor and
                                                                                       The DLO led the government’s anti-trafficking task force, composed of
         Human Resources (MOLHR) and a government-funded program also
                                                                                       government and civil society members. In July 2021, the government
         provided skills training for identiﬁed victims. The government provided
                                                                                       published its national prevention strategy (NPS), which was developed
         assistance and an employment program for nearly 25,000 vulnerable
                                                                                       in the previous reporting period, in collaboration with civil society and
         individuals experiencing pandemic-related economic needs, including
                                                                                       other relevant stakeholders. In July 2021, the government also published
         monthly income support for women repatriated from Iraq and Oman
                                                                                       the results of a country assessment of human trafficking in Bhutan
         and former drayang (karaoke bars) employees.
                                                                                       conducted during the previous reporting period. The anti-trafficking task
         The government had SOPs on trafficking victim identiﬁcation and referral      force drafted a new NAP as part of the government’s broader prevention
         to care. The NCWC also had procedures to guide labor inspectors,              strategy and officially launched the NAP in January 2022 with a budget
         immigration officials, and teachers in the identiﬁcation of child victims     of more than 1 billion Nu ($13 million). The government and civil society
         and at-risk youth and refer them to services. Although the pandemic           partners conducted awareness campaigns to combat trafficking during
 128                                                                                                                                Haiti AR_000609
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 234 of 729




                                                                                                                                                              BHUTAN
the reporting period. In partnership with an international organization, the    fulﬁlling their contractual obligations even when agency registrations
DLO continued to support public awareness events on human trafficking           were suspended or terminated. The Department of Employment and
for groups including students, airport officials, local government officials,   Entrepreneurship monitored the registered BOEAs through site visits
and the general public. The government funded a hotline staffed by              and written reports. In 2018, the MOLHR signed a memorandum with the
counselors to support victims of gender-based violence, including               Government of Japan on a technical intern training program to formalize
survivors of trafficking, and established district-level helplines operated     collaboration and reduce trafficking risks. The implementation of the
by local officials and civil society organizations; the government did not      program was delayed due to the pandemic. The government maintained
report identifying any trafficking victims through the hotlines during          its intent to repatriate any intern participants wishing to return to
the reporting period.                                                           Bhutan and did not receive any complaints during the reporting period.
The government closed all entertainment venues in March 2020 due to             The government did not make efforts to reduce the demand for
the pandemic and did not reopen any by the end of the reporting period.         commercial sex acts. The government reported that diplomatic
In January 2022, the government issued an executive order permanently           personnel received anti-trafficking training prior to transferring to
closing the Drayangs, which involved potentially exploitative working           foreign assignments. The government reported it provided anti-trafficking
conditions, following an extended review of proposed guidelines to              training to its troops prior to their deployment as peacekeepers. Bhutan
provide greater oversight of the entertainment venues. The government           is not a party to the 2000 UN TIP Protocol; however, the government
introduced skills training and employment programs for approximately            reported ongoing efforts to ratify the UNTOC and TIP Protocol, which
556 former drayang employees.                                                   remained awaiting parliamentary debate and conﬁrmation at the end
                                                                                of the reporting period.
The MOLHR registered foreign migrant workers in Bhutan, monitored
working conditions, and produced and disseminated pamphlets advising
workers of their rights. The Department of Labor (DOL), within the
                                                                                TRAFFICKING PROFILE
                                                                                As reported over the past ﬁve years, human traffickers exploit domestic
MOLHR, had a total of 34 labor officers, including 23 labor inspectors,
                                                                                and foreign victims in Bhutan, and traffickers exploit victims from Bhutan
but inspectors lacked adequate anti-trafficking training and sufficient
                                                                                abroad. Unregistered and unscrupulous foreign employment recruitment
funding for child labor inspections. The July 2018-June 2019 DOL annual
                                                                                agencies and sub-agents increasingly operate through social media to
report documented 147 complaints of nonpayment of wages, compared
                                                                                target unemployed or economically disadvantaged individuals. Some
to 211 in the previous reporting period; the 2019-2020 report had yet
                                                                                traffickers posing as recruiters offer ostensibly well-paying jobs overseas
to be published by the end of the reporting period. As in the previous
                                                                                but exploit Bhutanese in forced labor. Some agencies have subjected
reporting period, the government did not report the disposition of
                                                                                Bhutanese students in work-study programs in Japan and Malaysia with
labor complaints, including whether it levied civil or criminal penalties.
                                                                                indicators of forced labor, including fraudulent contracts, nonpayment
The DOL generally mediated claims of nonpayment of wages, and it
                                                                                of wages, and passport retention. Bhutanese citizens continued to
did not report violators to police for criminal investigation of potential
                                                                                work in the hospitality, retail, and service sectors in the Gulf, including
forced labor offenses or penalize employers if they paid the outstanding
                                                                                in Bahrain, Kuwait, Qatar, and the UAE, and in India, Thailand, and the
wages. The MOLHR did not have the ability to inspect private homes
                                                                                United Kingdom through global training and placement academies.
for labor violations and relied on the RBP to investigate or for potential
                                                                                Some participants reported indicators of trafficking, including illegal
victims to self-identify.
                                                                                recruitment fees and wage deductions, restricted movement, passport
Government regulations on overseas employment allowed most agents               retention, and nonpayment of wages. In recent years, traffickers sent
to charge Bhutanese migrant workers a recruitment fee of one month’s            Bhutanese women to Iraq and Oman for forced labor in domestic work.
salary along with a limited number of recruitment expenses, except              Although pandemic-related restrictions temporarily reduced the number
for costs associated with a visa or work permit. Recruitment fees               of migrant workers, a growing number of Bhutanese citizens have
were not charged to Bhutanese workers who travel overseas through               resumed seeking employment abroad, particularly in the Gulf states.
direct placement programs or by Bhutanese companies who bring                   The government reported repatriating more than 4,815 Bhutanese
foreign workers to Bhutan. Foreign workers were required to pay fees            citizens since the start of the pandemic.
for a work permit and medical check-up, which amounted to about
                                                                                Traffickers have exploited Bhutanese women and girls in sex and labor
20 percent of one month’s wages. The government implemented a
                                                                                trafficking, including in forced domestic labor and caregiving, through
new policy requiring Bhutanese migrant workers to receive approval
                                                                                debt bondage and threats of physical abuse. Bhutanese women and
from the MOLHR prior to traveling overseas. The MOLHR also required
                                                                                girls, who worked as entertainers in Drayangs prior to the permanent
any Bhutanese traveling overseas for employment to participate in a
                                                                                closure of the businesses nationwide, were vulnerable to labor and sex
predeparture orientation on human trafficking and the risks of overseas
                                                                                traffickers. Drayang workers often came from rural areas and signed
employment. The MOLHR posted online announcements to warn potential
                                                                                contracts they could not access; some female drayang entertainers
migrant workers of false advertisements and to encourage applicants
                                                                                reportedly worked in commercial sex, some of which traffickers may have
to verify overseas job advertisements. The Department of Adult and
                                                                                facilitated. Media outlets and NGOs report an increase in commercial sex
Higher Education (DAHE) issued a notiﬁcation warning job seekers and
                                                                                by Bhutanese and Indian women in the Bhutan-India border’s growing
students to avoid unregistered labor and educational consultants. The
                                                                                hospitality and entertainment districts—including hotels, massage
Ministry of Foreign Affairs also issued a trafficking-prevention brochure
                                                                                parlors, and nightclubs—some of which might be forced.
for migrants planning to travel for employment. Individual police officers
continued to educate migrant workers about trafficking when they                Relatives transport rural Bhutanese to urban areas for employment in
applied for the mandatory police clearance. The MOLHR continued to              domestic work, which at times may involve forced labor. Media outlets
monitor recruitment agencies that assisted Bhutanese citizens older than        have reported instances of child labor within Bhutan’s restaurant and
age 21 seeking work overseas. The MOLHR could take action against               automobile workshop industries, some of which had indicators of
agents conducting recruitment or placements without a license. During           forced labor. Prior to the pandemic, the expanding construction sector
the reporting period, the MOLHR continued to monitor ﬁve licensed               increased the demand for low-skilled foreign labor. Male Indian migrant
agencies and one agency it had suspended during previous reporting              workers—including in the construction and hydropower sectors—often
periods. The government previously suspended registration of all new            receive advances before beginning work in Bhutan. Some workers
labor recruitment agencies and agents; the government did not report            subsequently report unauthorized deductions and nonpayment of
if it had reinstated new registrations. The MOLHR had 11 registered             wages. Traffickers have exploited Indian child domestic workers in
Bhutanese Overseas Employment Agents (BOEAs) when the Overseas                  Bhutan. Bhutan’s small stateless persons population lacks access to
Employment Program was ﬁrst implemented in 2013. Only four registered           documentation necessary to attend school, rendering stateless children
agents are currently operational; six out of the total registered agents        vulnerable to traffickers.
were delisted and penalized due to non-compliance of regulations,
while one withdrew. The registration of new BOEAs remains on hold.
Labor regulations held BOEAs responsible for supporting migrants and

                                                                                                                                 Haiti AR_000610              129
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 235 of 729
BOLIVIA                                                                                   crimes. The law prescribed penalties of 10 to 15 years’ imprisonment
           BOLIVIA: TIER 2                                                                for offenses involving adults, 12 to 18 years’ imprisonment for offenses
                                                                                          involving children ages 14 to 18, and 15 to 20 years’ imprisonment for
          The Government of Bolivia does not fully meet the minimum standards             offenses involving children younger than 14, which were sufficiently
          for the elimination of trafficking but is making signiﬁcant efforts to do so.   stringent and commensurate with penalties prescribed for other grave
          The government demonstrated overall increasing efforts compared with            crimes, such as rape. Article 321 did not require a showing of force, fraud,
          the previous reporting period, considering the impact of the COVID-19           or coercion for victims younger than 14 years of age but did require a
          pandemic on its anti-trafficking capacity; therefore Bolivia remained           demonstration of such means for offenses involving children ages 14
          on Tier 2. The efforts included increasing trafficking investigations,          to 17. Additionally, Article 322 criminalized the purchase of sex with a
          convicting more traffickers, identifying more victims, and increasing           minor and prescribed penalties of eight to 12 years’ imprisonment for
          training for law enforcement officers and prosecutors to combat human           offenses involving victims 14 to 17 years of age. Penalties increased
          trafficking. Authorities adopted a new victim identiﬁcation protocol and        by one-third for offenses involving children younger than 14. While
          referral mechanism and trained department officials on its use. However,        the Criminal Code included separate criminal offenses for trafficking
          the government did not meet the minimum standards in several key                in persons and migrant smuggling, one government agency was
          areas. Authorities prosecuted fewer traffickers, specialized services for       responsible for both crimes, and that agency often conﬂated the
          all victims nationwide remained scarce, and efforts to address forced           two crimes in its collection of data and response to perpetrators and
                                                                                          potential victims of trafficking.
          labor were negligible.
                                                                                          The Ministry of Justice (MOJ) reported authorities investigated 62
                                                                                          trafficking cases, compared with 39 cases in 2020. The national police
                  BOLIVIA TIER RANKING BY YEAR
                                                                                          reported 419 open complaints of potential trafficking crimes at the end
              1
                                                                                          of 2021, including 252 from previous years. In 2021, officials prosecuted
              2                                                                           22 cases of trafficking (12 for sex trafficking, ﬁve for forced labor, and
            2WL                                                                           ﬁve for other forms of servitude) compared with 32 prosecutions in
                                                                                          2020 (14 for sex trafficking, 17 for labor trafficking, and four for other
              3
                     2015      2016      2017    2018   2019   2020     2021    2022      forms of servitude). Insufficient efforts to coordinate on data collection
                                                                                          often led to confusing data difficult to reconcile. The government had
                                                                                          department-level specialized prosecutors in all nine departments
                                                                                          focused on human trafficking and migrant smuggling cases. Authorities
          PRIORITIZED RECOMMENDATIONS:                                                    convicted 12 traffickers (ﬁve for sex trafficking and seven for labor
          Provide victim protection services for all trafficking victims and provide      trafficking) compared with no convictions in 2020. Data provided was
          services nationwide. • Increase efforts to investigate, prosecute, and          likely duplicative or contradictory, as no single agency was responsible
          convict traffickers, including perpetrators of forced labor and forced          for maintaining comprehensive protection or law enforcement data. In
          criminality. • Appoint specialized labor inspectors and train all labor         previous years, the majority of arrested suspects, including traffickers,
          inspectors on victim identiﬁcation and criminal referral of forced labor        served time in pre-trial detention without ever receiving a ﬁnal sentence
          cases. • Expand training of officials on the use of established protocols       and often avoided justice by paying bribes to corrupt officials to avoid
          for the proactive identiﬁcation of trafficking victims among vulnerable         prosecution. General backlogs in the judiciary, insufficient resources
          populations and for the referral of victims to care services. • Finalize,       and personnel, and inadequate training of law enforcement officials
          approve, and fund the 2021-2025 National Action Plan (NAP). • Develop           hindered effective law enforcement efforts. In addition, police officials
          and implement a centralized data collection system on trafficking to            rotated into new positions every three months to one year, resulting in
          reconcile duplicative data stored across different systems. • Screen            a cyclical loss of institutional knowledge and impeding specialization
          displaced Venezuelan migrants for trafficking indicators, including             in the investigation of trafficking crimes.
          individuals in commercial sex and those working in high-risk sectors. •         Corruption and official complicity in trafficking crimes remained
          Amend the anti-trafficking law to ensure that a demonstration of force,         signiﬁcant concerns, inhibiting law enforcement action during the
          fraud, or coercion is not required to constitute a child sex trafficking        year. The government did not report investigating, prosecuting, or
          offense. • Direct Ministry of Health staff to screen vulnerable populations     convicting any government employees complicit in human trafficking
          for trafficking indicators when conducting medical screenings. • Provide        crimes. Civil society organizations reported that low-level official
          interpreters to assist law enforcement officials investigating child            complicity in trafficking crimes persisted. The government trained
          sex tourism cases in popular tourist locations. • Increase the time             law enforcement, prosecutors, judges, and immigration personnel
          law enforcement officials serve in anti-trafficking units to preserve           on human trafficking investigations and prosecutions, including the
          institutional knowledge. • Expedite the issuance of humanitarian visas          proactive identiﬁcation of victims in nightclubs and establishments
          for victims of trafficking. • Train officials on the difference between         where trafficking was prevalent. Authorities coordinated with foreign
          human smuggling and human trafficking. • Apply the anti-trafficking             governments to investigate trafficking cases, assist victims, and when
          law apolitically and non-discriminatorily.                                      appropriate, repatriate them. In 2021, authorities reportedly coordinated
                                                                                          with the Governments of Argentina, Brazil, Paraguay, and Peru to
          PROSECUTION                                                                     repatriate victims identiﬁed domestically and abroad, including a notable
          The government increased prosecution efforts. Law 263 of 2012—the               operation with Peruvian officials that led to the identiﬁcation of 20
          Comprehensive Law against Trafficking and Smuggling of Persons—                 trafficking victims in the Peruvian mining town of La Rinconada.
          criminalized labor trafficking and some forms of sex trafficking through
          amendments to Bolivia’s Criminal Code and prescribed penalties of               PROTECTION
          10 to 15 years’ imprisonment for adult trafficking and 15 to 20 years’          The government increased protection efforts. Authorities reported
          imprisonment for child trafficking. These penalties were sufficiently           identifying 594 trafficking victims in 2021, compared with 300 victims
          stringent and, with respect to sex trafficking, commensurate with               identiﬁed in 2020. While the government did not report how many
          penalties for other serious crimes, such as rape. Inconsistent with             victims it referred to services nationwide, authorities reported assisting
          the deﬁnition of trafficking under international law, the deﬁnition of          eight victims, and an NGO in La Paz reported government officials
          trafficking under Article 281-bis required a demonstration of force,            referred 44 trafficking victims to services. NGOs noted an increase in
          fraud, or coercion to constitute a child sex trafficking offense and            the number of Venezuelan victims of trafficking as a result of an inﬂux
          therefore did not criminalize all forms of child sex trafficking. Article       of Venezuelan migrants arriving in the country. In 2021, authorities
          281-bis deﬁned trafficking broadly to include illegal adoption without          approved and began using a victim identiﬁcation protocol and referral
          the purpose of exploitation, the sale of organs, and unlawful biomedical        mechanism, and MOJ officials trained several department stakeholders
          research. Article 321 of the Criminal Code criminalized pimping using           responsible for victim identiﬁcation and protection on its use. The
          force, fraud, or coercion and was used to prosecute sex trafficking             government’s overlapping legal framework and understanding of

 130                                                                                                                                   Haiti AR_000611
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 236 of 729




                                                                                                                                                              BOSNIA AND HERZEGOVINA
human trafficking and related crimes limited victim identiﬁcation              The autonomous department of Cochabamba launched a new hotline
efforts. Authorities confused human trafficking with other crimes,             the public could use to report trafficking crimes.
such as child pornography, general labor exploitation, sexual abuse,
                                                                               Authorities partnered with international organizations and NGOs to
and migrant smuggling, hindering their ability to identify trafficking
                                                                               promote trafficking awareness and train government officials and
victims. Authorities from the Ministry of Health did not receive training
                                                                               members of the public to prevent the crime. The government did not
on victim identiﬁcation and did not screen for trafficking indicators
                                                                               make efforts to reduce the demand for commercial sex acts. The Institute
despite periodically administering medical tests to individuals in
                                                                               for Normalization of Quality, a semi-autonomous government agency,
commercial sex, a population vulnerable to sex trafficking.
                                                                               operated a “triple seal” certiﬁcation program for sugar producers whose
There were ﬁve specialized shelters that could assist female victims of        ﬁnal products were certiﬁed to be free of child labor, discrimination,
trafficking, including three located and funded by department authorities      and forced labor. In January 2022, authorities issued the triple seal to
in Cochabamba, Potosi, and Santa Cruz and two NGO-operated shelters            the largest sugar producer in the country responsible for 40 percent
in La Paz. There was a sixth inactive shelter in La Paz that could assist      of the market. This was the second sugar producer to receive the triple
underage female victims of trafficking; however, for unknown reasons it        seal since the certiﬁcation was created. Media reporting indicated 80
remained non-functional. Law enforcement officials were often unable           percent of the exported and 60 percent of the internal sugar market
to secure safe accommodations for trafficking victims, particularly in         were free from child labor, discrimination, and forced labor.
departments without multi-use facilities. Law enforcement officers
could give victims money for hotel rooms for the night in the hope             TRAFFICKING PROFILE
victims could seek greater support from local government authorities           As reported over the past ﬁve years, human traffickers exploit domestic
or get back in touch with family members. The government did not               and foreign victims in Bolivia, and traffickers exploit victims from Bolivia
report providing specialized services to adult male victims but could          abroad. Traffickers exploit Bolivian adults and children in sex trafficking
provide basic assistance for them at migrant shelters. Authorities could       and forced labor within the country and abroad. To a more limited extent,
refer underage male trafficking victims to NGOs, private shelters, and         traffickers exploited women from neighboring countries, including Brazil,
religious organizations for assistance, but it did not report doing so         Colombia, and Paraguay, in sex trafficking in Bolivia. Traffickers exploit
during the reporting period.                                                   an increasing number of Venezuelan victims in sex trafficking and forced
                                                                               labor within the country. In 2021, authorities reported a notable surge
The government had several mechanisms to encourage victims to
                                                                               in the number of Venezuelan and Haitian victims of sex trafficking and
cooperate in cases against traffickers, but officials did not report using
                                                                               forced labor in the country. Traffickers subject some migrants from The
these during the reporting period. Foreign victims who assisted in the
                                                                               Gambia, Venezuela, Chile, and the Caribbean traveling to or through
case against their traffickers could receive a humanitarian visa, but
                                                                               Bolivia to sex trafficking and forced labor. Traffickers exploited children
the process often took years, and victims could not work during that
                                                                               in sex tourism in rural Indigenous communities in the north of the La
time. While authorities did not report how many victims of trafficking
                                                                               Paz department, in and around the city of Rurrenabaque, and in tourist
received humanitarian visas, if any, NGOs reported authorities treated
                                                                               areas in the departments of La Paz and Beni, openly advertising to
foreign victims of trafficking fairly, following legal standards, and those
                                                                               tourists speaking Hebrew and Arabic. Rural and poor Bolivians, most
identiﬁed had access to the same services as Bolivian victims. According
                                                                               of whom are Indigenous, and LGBTQI+ youth are particularly at risk for
to civil society actors, government officials worked with their foreign
                                                                               sex and labor trafficking. Bolivian women and girls are exploited in sex
counterparts to facilitate repatriation in a timely fashion when victims
                                                                               trafficking within Bolivia and neighboring countries such as Argentina,
sought that remedy. The government had a protocol for the repatriation
                                                                               Brazil, Chile, Panama, and Peru. Within the country, traffickers exploit
of victims identiﬁed abroad but did not report if it repatriated or
                                                                               Bolivian adults and children in forced labor in domestic work, mining,
provided support to the 20 Bolivian victims identiﬁed in the Peruvian
                                                                               ranching, and agriculture. Forced criminality continues to be a problem;
mining town of La Rinconada. The government had Gesell chambers
                                                                               media outlets reported cases of children forced to commit crimes, such
in every department, and in lieu of testifying in person, victims could
                                                                               as robbery and drug production, and others exploited in forced begging.
provide recorded testimony or submit a written statement to the court.
                                                                               In 2019, traffickers forced a Bolivian victim into criminality by compelling
Under Bolivian law, victims and prosecutors could request restitution for
                                                                               her to smuggle drugs into Malaysia. Traffickers exploit Bolivians in
damages from the sentencing judge. When victims did not participate
                                                                               forced labor in Argentina, Brazil, and Chile in sweatshops, agriculture,
in the case against the traffickers, they or prosecutors could still ﬁle
                                                                               brick-making, domestic work, textile factories, and the informal sector.
restitution claims within three months of sentencing. The government
                                                                               Traffickers continue to use social media as the primary recruitment tool,
did not report whether any victim or prosecutor sought restitution
                                                                               luring vulnerable individuals with fraudulent employment opportunities
in trafficking cases. Authorities did not report penalizing victims for
                                                                               and then exploiting them in forced labor or sex trafficking. Civil society
unlawful acts traffickers compelled them to commit.
                                                                               organizations noted a pattern of exploitation in which older trafficking
                                                                               victims became recruiters of younger victims.
PREVENTION
The government maintained prevention efforts. The Plurinational Council
against Human Trafficking and Smuggling, chaired by the Ministry of
Justice (MOJ), was responsible for coordinating anti-trafficking efforts
at the national level. Two sub-ministerial units were responsible for           BOSNIA AND HERZEGOVINA:
coordinating anti-trafficking efforts at the technical level. The council
convened in March, June, and December. In the past, observers noted a           TIER 2
lack of interagency coordination, in part due to overlapping mandates.
The 2016-2020 NAP expired, and authorities held some meetings for              The Government of Bosnia and Herzegovina does not fully meet the
the development of a new ﬁve-year plan to combat trafficking but did           minimum standards for the elimination of trafficking but is making
not ﬁnalize or approve a new NAP by the end of the reporting period.           signiﬁcant efforts to do so. The government demonstrated overall
The government had a federal registry and required all employment              increasing efforts compared with the previous reporting period,
agencies to register and provide the Ministry of Labor (MOL) with all          considering the impact of the COVID-19 pandemic on its anti-trafficking
recruitment and job placement records; however, authorities did not            capacity; therefore Bosnia and Herzegovina remained on Tier 2. These
report reviewing or investigating any applications that raised trafficking     efforts included increasing overall prosecution efforts with the state,
concerns. The MOL did not report conducting any labor inspections or           Republika Srpska (RS), and Brcko District (BD) convicting more
training inspectors to identify human trafficking crimes in 2021. The          traffickers and the Federation of Bosnia and Herzegovina (Federation)
government did not report training officials on the identiﬁcation of forced    investigating and prosecuting more suspects. Judges issued more
labor indicators during the reporting period. Authorities in the La Paz        sentences with signiﬁcant prison terms, and the State Prosecutor’s Office
metropolitan area maintained a hotline for citizens and victims to report      (SPO) created a specialized department and staffed the department
trafficking crimes. However, authorities did not report identifying any        with three prosecutors. The government updated standard operating
victims or starting any investigations as a result of calls to this hotline.   procedures (SOPs) for victim identiﬁcation and identiﬁed victims
                                                                                                                                 Haiti AR_000612                131
                             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 237 of 729
BOSNIA AND HERZEGOVINA   from irregular migration ﬂows for the ﬁrst time. The Federation, RS,          stringent and, with regard to sex trafficking, commensurate with those
                         BD, and all 10 cantons adopted their action plans, and two cantons            for serious crimes, such as rape.
                         approved and disbursed honorariums for each member of the local               SPO initiated two investigations on two suspects in both 2021 and 2020
                         coordinating teams (LCT). However, the government did not meet the            and prosecuted two defendants, compared with one defendant in 2020.
                         minimum standards in several key areas. The government identiﬁed fewer        State courts convicted one trafficker, compared with no convictions in
                         victims, and law enforcement continued to lack capacity, resources, and       2020. State judges sentenced the trafficker to one year of imprisonment.
                         technical knowledge, which hindered their ability to conduct effective        Federation authorities investigated 16 suspects, a signiﬁcant increase
                         and victim-centered investigations and prosecutions. Authorities did          compared with three in 2020. Federation prosecutors prosecuted
                         not investigate cases of potential forced child begging and forced labor      11 defendants, an increase compared with three in 2020. Federation
                         involving Roma but rather justiﬁed them as traditional cultural practices     courts convicted seven traffickers, compared to 10 traffickers in 2020.
                         and customs and returned children to their families, even when parents        Federation judges issued sentences ranging from 21 months to eight
                         were involved in their exploitation. The government lacked proactive          years’ imprisonment to four traffickers and did not report sentencing
                         identiﬁcation efforts, resulting in victims penalized for unlawful acts       information for the other three traffickers. RS authorities investigated
                         traffickers compelled them to commit, particularly with misdemeanor           two suspects, compared with four in 2020. RS authorities prosecuted
                         charges for petty crimes.                                                     one defendant, compared with three in 2020. RS courts convicted
                                                                                                       two traffickers, compared with no convictions in 2020. RS judges
                                                                                                       sentenced one trafficker to ﬁve years and six months’ imprisonment
                                 BOSNIA AND HERZEGOVINA TIER RANKING BY YEAR
                                                                                                       and did not report sentencing information for the other trafficker. BD
                             1
                                                                                                       authorities investigated three suspects in both 2021 and 2020. BD
                             2                                                                         authorities prosecuted three defendants, compared with two in 2020.
                           2WL                                                                         BD courts convicted one trafficker, compared with no convictions in
                             3
                                                                                                       2020. A BD judge sentenced the trafficker to ﬁve years and two months’
                                   2015      2016     2017      2018     2019   2020   2021   2022     imprisonment. The government reported law enforcement personnel
                                                                                                       suffered from COVID-19 infections, including the majority of officers
                                                                                                       handling trafficking cases at the State Investigation and Protection Agency
                                                                                                       (SIPA), which delayed some investigations. While judges increasingly
                         PRIORITIZED RECOMMENDATIONS:                                                  issued sentences with signiﬁcant prison terms, court proceedings lasted
                         Vigorously investigate, prosecute, and convict traffickers and impose         many years, and in previous years, judges often issued sentences below
                         adequate penalties, which should involve signiﬁcant prison terms. •           minimum penalties by citing unreasonable “mitigating circumstances”
                         Allocate sufficient funding for NGO-run shelters and NGOs providing           to decrease the sentences. Additionally, the government reported
                         legal assistance. • Train ﬁrst responders on victim identiﬁcation and         traffickers avoided imprisonment by utilizing a law that allowed convicted
                         referral and increase proactive identiﬁcation efforts, particularly for       perpetrators to buy their way out of up to one year of imprisonment for
                         migrants, refugees, asylum seekers, and Roma. • Implement the law that        100 convertible marks ($60) a day.
                         exempts victims from penalties for unlawful acts their traffickers compel     SIPA maintained an operational team with 20 officers across four regional
                         them to commit, particularly victims of sex trafficking, forced begging,      offices, and Tuzla Canton in the Federation maintained a specialized
                         and forced criminality. • Establish and implement policies to formally        trafficking unit in addition to trafficking liaison officers in all police
                         disconnect identiﬁcation procedures and official victim status from           units within the canton. Sarajevo Canton assigned two police officers
                         cooperation on investigations and prosecutions. • Increase resources,         within each of the seven police stations as liaison officers, but observers
                         personnel, and training for law enforcement to investigate complex            reported at least one station head was not aware of who was assigned as
                         trafficking cases. • Institutionalize and implement screening procedures      a liaison officer. In 2021, the SPO created the Department for Combating
                         for irregular migrant ﬂows. • Train judges to understand the severity of      Trafficking in Human Beings and Illegal Migration and staffed it with
                         trafficking when issuing sentences and sensitize prosecutors and judges       three specialized prosecutors. RS, BD, and other Federation cantons did
                         to the issues of secondary trauma and victim-centered approaches.             not have specialized officers, although organized crime and corruption
                         • Establish procedures to ensure trafficking cases are handled by             units were designated to investigate trafficking. Authorities continued
                         trained prosecutors. • Standardize victim assistance throughout the           to regularly investigate and prosecute sex trafficking, forced begging,
                         country, including the ability to access assistance and support outside of    and trafficking cases involving family members under lesser crimes, such
                         shelters and specialized assistance for male victims. • Integrate Romani      as “enticement to prostitution,” “child negligence,” and “enticement to
                         advocates into decision-making processes regarding victim protection.         child prostitution.” Law enforcement continued to report that the lack
                         • Train judges on restitution in criminal cases, establish procedures to      of capacity, resources, and technical knowledge hindered their ability to
                         seize assets from traffickers, and create effective methods to allocate       conduct effective investigations. For example, the government reported
                         restitution in a timely manner.                                               difficulties in meeting the evidentiary requirement of trafficking due to
                                                                                                       a lack of resources and knowledge to conduct specialized investigative
                         PROSECUTION                                                                   measures to corroborate victim testimony. Prosecutors reported they were
                         The government increased law enforcement efforts. Bosnia and                  evaluated on reaching overall monthly case quotas, which incentivized
                         Herzegovina (BiH) consisted of two entities within the state—the              pursuing trafficking crimes as lesser offenses that are easier and faster
                         Federation and RS. Each entity has political, legislative, and judicial       to prosecute, while police experienced obstacles in investigating
                         authority. BD was a self-governing area under the jurisdiction of the         trafficking crimes involving multiple cantons or entities, due to a lack
                         state. Entity-level authorities addressed domestic trafficking offenses       of communication and coordination with cantonal prosecutors. The Chief
                         internal to their territories, and state-level authorities addressed cases    State Prosecutor chaired the anti-trafficking strike force (strike force)
                         with international aspects. Article 186 of the state-level criminal code      that coordinated law enforcement efforts across entities on trafficking
                         criminalized sex trafficking and labor trafficking only in cases where the    cases. In previous years, the strike force was largely ineffective due to a
                         victim was exploited in a country in which he or she did not reside or        lack of participation and the state failing to disburse operational funds;
                         have citizenship; it prescribed penalties of one to 10 years’ imprisonment.   however, the government approved and allocated 80,000 convertible
                         Articles 210a and 210b of the Federation’s criminal code criminalized         marks ($46,400) for honorariums and operational expenses in both
                         sex and labor trafficking and prescribed a minimum penalty of ﬁve             2021 and 2020. The strike force met monthly, and in cooperation with
                         years’ imprisonment. Article 145 of RS’s criminal code criminalized sex       a foreign government in 2020, established a network of prosecutors
                         and labor trafficking and prescribed a minimum penalty of three years’        and investigators to facilitate coordination across BiH; as a result, most
                         imprisonment. RS amended Article 146 to increase the minimum sentence         prosecutors’ offices, except in the RS, appointed a point of contact for
                         of child trafficking from ﬁve to 20 years. Article 207a of BD’s criminal      trafficking cases to participate in the network. The government did not
                         code criminalized sex and labor trafficking and prescribed a minimum          report any investigations, prosecutions, or convictions of government
                         penalty of ﬁve years’ imprisonment. These penalties were sufficiently         employees complicit in trafficking crimes. The SPO cooperated with

    132                                                                                                                                             Haiti AR_000613
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 238 of 729




                                                                                                                                                               BOSNIA AND HERZEGOVINA
authorities from Croatia, Montenegro, Serbia, and Slovenia on trafficking       by the State Anti-trafficking Coordinator. The government disbursed
cases. Additionally, the SPO continued a joint investigative team with          funds to NGOs based on the number of assisted victims; however,
Swedish authorities to investigate a forced labor case; authorities charged     the government amended the 2022 funding requirements to allow all
three suspects in BiH and ﬁve suspects in Sweden for trafficking. The           allocated funds to be disbursed—regardless of the number of assisted
government continued its joint investigation with French authorities            victims—to compensate for the lack of funding in 2021, provided BiH
initiated in 2015 of a BiH and Croatian married couple alleged to have          adopts a budget sometime in 2022. The government, in cooperation
forced six Romani children to pickpocket in France. SPO indicted eight          with NGOs, provided accommodation, psycho-social support, medical
defendants in May 2018, but the court did not order authorities to place        assistance, and legal assistance; however, no mechanisms were in place
defendants in custody during court proceedings, and as a result, one            to assist victims with services outside of shelters, including at centers
defendant was in Turkey reportedly involved in another forced begging           for social welfare (CSW). While access to care was not standardized and
case, two defendants were at-large, and Italian authorities arrested one        was based on bylaws that were not legally binding, the government, in
defendant. In June 2014, the SPO issued the biggest indictment for              cooperation with an NGO, drafted guidelines and standards on providing
trafficking in BiH’s history against 13 BiH nationals accused of exploiting     assistance to victims, particularly children. NGO-run shelters allowed
672 individuals in the construction industry in Azerbaijan in 2009;             victims to leave voluntarily after informing the staff and law enforcement.
judges acquitted all defendants involved in the case in December 2019           NGO-run shelters appointed a guardian for each child victim, and one
and rejected SPO prosecutors’ appeals in April 2021. The government             NGO-run shelter accommodated male trafficking victims but did not
reported the lack of bilateral agreements regarding witness protection          offer specialized services; NGO-run shelters assisted 56 victims (41 in
created obstacles for witnesses and victims to participate effectively          2020). Authorities reported developing a reintegration plan for each
in international investigations. Police academies maintained basic              victim, including vocational training, but the government did not provide
courses on trafficking, and the government (with ﬁnancial and technical         funding for reintegration programs, and observers reported victims
assistance from an international organization) trained police, border           spent, at times, multiple years at shelters due to slow court proceedings
police, prosecutors, and judges on various trafficking issues.                  and a lack of reintegration opportunities. The law provided repatriation
                                                                                assistance to BiH citizens identiﬁed abroad and foreigners identiﬁed in
PROTECTION                                                                      BiH; one victim required repatriation assistance in 2021 and one in 2020.
The government decreased victim protection efforts. The government              Foreign victims were eligible for a humanitarian visa allowing them to
identiﬁed 61 trafficking victims, a decrease compared with 80 in 2020. Of       temporarily live and work in BiH, and victims were permitted a 30-day
these, six were victims of sex trafficking, 54 were victims of forced labor,    reﬂection period to determine whether they wanted to request a visa;
and one victim’s exploitation was unspeciﬁed; there were six women,             no victims required a humanitarian visa (one in 2020).
one man, 27 boys, and 27 girls; and ﬁve foreign national victims. Two
                                                                                The government penalized victims for unlawful acts traffickers compelled
bylaws provided SOPs for identifying and referring victims to services,
                                                                                them to commit due to inadequate identiﬁcation efforts; authorities
including a list of general indicators, but observers continued to report
                                                                                penalized victims of sex trafficking, forced begging, and forced criminality
some ﬁrst responders did not know or consistently use the guidelines
                                                                                with misdemeanor charges for petty crimes with some victims owing
and lacked the knowledge to accurately identify trafficking victims.
                                                                                10,000 to 15,000 convertible marks ($5,800 to $8,700) after receiving
The government updated SOPs during the reporting period by adding
                                                                                multiple ﬁnes. The government reported SOPs incorporated non-
the labor inspectorate, NGOs, and the education system to the list of
                                                                                penalization standards but acknowledged authorities still penalized
institutions responsible for victim identiﬁcation and developed new
                                                                                victims due to a lack of knowledge of the SOPs exacerbated by frequent
screening indicators speciﬁc to the type of exploitation. The government
                                                                                rotations and turnover. Sub-state laws against “enticement to prostitution”
operated seven drop-in centers for children and a mobile team for
                                                                                permitted law enforcement to treat children ages 14 years and older as
vulnerable children in Sarajevo that conducted outreach work. The mobile
                                                                                juveniles willingly engaged in commercial sex instead of victims of rape or
team identiﬁed 150 victims (165 in 2020), and drop-in centers provided
                                                                                sex trafficking; there were six prosecutions of enticement to prostitution
children with academic tutoring, hot meals, and laundry services (373
                                                                                in 2020. The law provided witness protection and free legal aid, but
in 2020). The government, with ﬁnancial and technical assistance from
                                                                                lower courts did not possess necessary technical equipment to organize
NGOs, established six new mobile teams. However, drop-in centers
                                                                                testimonies with adequate protection and conﬁdentiality measures.
lacked resources, capacity, and staff and could only provide basic food,
                                                                                Additionally, the government relied on an NGO to provide free legal aid but
workshops, and short-term accommodation for a small number of
                                                                                did not disburse funding to the NGO despite an agreement to do so. The
children. Law enforcement and social workers justiﬁed cases of potential
                                                                                government did not consistently conduct victim-centered investigations
forced child begging and forced labor involving Roma as traditional
                                                                                and prosecutions. For example, prosecutors did not need certiﬁcation
cultural practices and customs and sometimes returned children to their
                                                                                to work with children and often interrogated child victims without a
families even when parents were involved in their exploitation; in 2021,
                                                                                psychologist or social worker present. Police did not consistently notify
prosecutors returned 16 children to family members who were involved
                                                                                victims’ lawyers when conducting interviews, and some courts required
in their exploitation. In previous years, ﬁrst responders, including Border
                                                                                victims to testify with no prior notiﬁcation or preparation. Victims could
Police, local police, and Service for Foreigners’ Affairs, lacked standard
                                                                                obtain restitution through criminal proceedings or compensation through
guidelines and trafficking indicators for irregular migration ﬂows, interview
                                                                                civil suits; in 2019, a district court awarded a victim 7,500 convertible
questions, and interpreters, as well as general capacity to screen the
                                                                                marks ($4,350), but the victim has not received the restitution because
large inﬂux of migrants and refugees. However, the government, in
                                                                                seized properties and assets of the traffickers went toward the state
cooperation with an NGO, trained Border Police and staff from the Service
                                                                                budget rather than restitution. Judges generally rejected restitution in
for Foreigner’s Affairs on identifying victims within irregular migration
                                                                                criminal proceedings and encouraged victims to seek compensation by
ﬂows, and as a result, authorities identiﬁed four victims within the
                                                                                ﬁling civil suits, according to observers, who noted civil suits required
migrant population accommodated at the temporary reception center
                                                                                victims to submit new testimonies and medical examinations, causing
in Blazuj—the ﬁrst time authorities identiﬁed victims within irregular
                                                                                re-traumatization, despite the government convicting their trafficker
migration ﬂows. First responders referred potential trafficking victims
                                                                                in criminal proceedings.
to law enforcement, which conducted an interview and had authority to
officially recognize victims. However, observers reported the interview
                                                                                PREVENTION
and identiﬁcation procedures lacked transparency, and authorities often
                                                                                The government increased efforts to prevent trafficking. The government
required victims to cooperate with investigations and prosecutions to
                                                                                continued to implement the 2020-2023 national strategy, and the
receive assistance and support.
                                                                                State Coordinator continued to produce annual reports and organized
The government did not disburse funds to NGOs due to the lack of a state        three coordination meetings. The national strategy required the state,
budget stemming from an extended political crisis. Despite the lack of          Federation, RS, BD, and cantonal governments to adopt their own action
funding, NGOs continued to provide services to victims in 2021. In 2020,        plans; the state, Federation, RS, BD, and all 10 cantons adopted their
the government partly funded ﬁve NGO-run shelters through a victim              action plans during the reporting period. The government maintained 18
protection fund with 130,000 convertible marks ($75,410) administered           LCTs: 11 in the Federation (10 cantonal and one at the Federation entity

                                                                                                                                  Haiti AR_000614              133
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 239 of 729
BOTSWANA   level); six in the RS, and one in BD. LCTs consisted of government and         Amend the anti-trafficking law to remove sentencing provisions that
           NGO representatives and an MOI official as the coordinator. Sarajevo           allow ﬁnes in lieu of imprisonment. • Create and implement standard
           Canton approved and disbursed honorariums for each LCT member of               operating procedures (SOPs) to identify trafficking victims and refer
           300 convertible marks ($170) per month for an annual total of 72,000           them to care, and train stakeholders on their use to increase victim
           convertible marks ($41,760). Herzegovina Neretva Canton also allocated         identiﬁcation and screening among vulnerable populations, including
           200 convertible marks ($120) for each LCT member for an annual total           the San community, cattle farm workers, migrants, refugees, and Cuban
           of 19,200 convertible marks ($11,140). The government, with ﬁnancial           medical workers. • Conduct comprehensive training for prosecutors
           and technical assistance from NGOs, trained LCT members, organized             and judges on Botswana’s 2014 anti-trafficking law and workshops to
           discussions with the Romani community on trafficking, and recruited and        foster collaboration and more effectively adjudicate trafficking cases.
           trained 25 Romani activists to join LCTs. The government, in partnership       • Fund and implement the anti-trafficking National Action Plan (NAP).
           with civil society, conducted an awareness campaign targeting children,        • Routinely inspect cattle farms, including in Ghanzi, to ensure children
           students, and the public. State-level institutions regulated recruitment       are not engaged in forced labor. • Increase access to emergency and
           agencies and required agencies to obtain a license and register, but           long-term shelter, counseling, and medical care for trafficking victims
           labor inspectors lacked resources to adequately inspect recruitment            by dedicating adequate funding to NGOs. • Work with NGOs to increase
           agencies and did not report if they inspected any agencies during the          freedom of movement and work opportunities for trafficking victims
           reporting period. The government did not make efforts to reduce the            residing in shelters. • Support the provision of legal identity documents
           demand for commercial sex acts. The government did not provide                 among vulnerable populations, including Indigenous peoples, at-risk
           anti-trafficking training for its diplomatic personnel.                        undocumented migrants, refugees, and stateless individuals. • Implement
                                                                                          strong regulations and oversight of labor recruitment companies, including
           TRAFFICKING PROFILE                                                            by eliminating recruitment fees charged to migrant workers and holding
           As reported over the past ﬁve years, human traffickers exploit domestic        fraudulent labor recruiters criminally accountable. • Conduct public
           and foreign victims in BiH, and traffickers exploit victims from BiH abroad.   awareness campaigns, particularly in rural areas.
           In 2020, traffickers exploited foreign victims from North Macedonia and
           Pakistan. In previous years, victims from Afghanistan, Cuba, Gambia, Libya,    PROSECUTION
           Serbia, Sri Lanka, and neighboring Balkan countries were exploited in          The government increased anti-trafficking law enforcement efforts. The
           BiH. Traffickers exploit BiH women and girls in sex trafficking within the     2014 Anti-Human Trafficking Act criminalized sex trafficking and labor
           country in private residences and motels. Romani children are exploited in     trafficking and deﬁned trafficking broadly to include all child labor.
           forced begging, forced criminality, sex trafficking, and domestic servitude    The law prescribed penalties of up to 25 years’ imprisonment, a ﬁne
           in forced marriages. Foreign women and girls from other European               of 500,000 pula ($42,700), or both, which were sufficiently stringent;
           countries are vulnerable to sex trafficking within the country. Traffickers    however, by allowing for a ﬁne in lieu of imprisonment, with regard to
           exploit BiH victims in sex trafficking and forced labor in construction        sex trafficking, these penalties were not commensurate with those for
           and other sectors in neighboring Balkan countries and other countries          other serious crimes, such as rape. Section 57 of the 2009 Children’s
           across Europe. Thousands of migrants and refugees from Afghanistan,            Act criminalized inducing, coercing, or encouraging a child to engage in
           Bangladesh, Iraq, Morocco, Pakistan, Syria, and neighboring countries          prostitution and prescribed penalties of two to ﬁve years’ imprisonment or
           traveling through, stranded in, or being smuggled through BiH are              a ﬁne of 50,000 pula ($4,270), or both, penalties which were signiﬁcantly
           vulnerable to trafficking, particularly women and unaccompanied children.      lower than those prescribed under the 2014 anti-trafficking act. The
                                                                                          government drafted amendments to the 2014 anti-trafficking act to align
                                                                                          with international standards; however, adoption remained pending by
                                                                                          the end of the reporting period. The government and an international
            BOTSWANA: TIER 2                                                              organization previously drafted implementing regulations for the 2014
                                                                                          act to make it easier for judges and prosecutors to use and submitted
                                                                                          them to the Human Trafficking (Prohibition) Committee, which remained
           The Government of Botswana does not fully meet the minimum
                                                                                          pending approval by the end of the reporting period.
           standards for the elimination of trafficking but is making signiﬁcant
           efforts to do so. The government demonstrated overall increasing efforts       The government reported investigating one sex trafficking case and
           compared to the previous reporting period, considering the impact              continuing ﬁve case investigations from previous reporting periods,
           of the COVID-19 pandemic on its anti-trafficking capacity; therefore           compared with initiating three labor trafficking investigations in the
           Botswana remained on Tier 2. These efforts included prosecuting and            previous reporting period. The government prosecuted two suspects
           convicting traffickers and courts sentencing traffickers to adequate           for sex trafficking and continued prosecutions against 17 suspects from
           prison terms for the ﬁrst time; cooperating with foreign governments           previous reporting periods. This compared with two new prosecutions
           on trafficking investigations; identifying more victims and referring all      and 11 continued prosecutions in the previous reporting period. The
           victims to care; and conducting public awareness activities. However,          government convicted four traffickers under its anti-trafficking law, two for
           the government did not meet the minimum standards in several key               sex trafficking, one for labor trafficking, and one unspeciﬁed, compared
           areas. Despite officials’ acknowledgment of forced labor of adults and         with no convictions in the previous reporting period. In the ﬁrst conviction
           children in the San community on cattle farms, neither law enforcement         in two years, the government sentenced a Zimbabwean trafficker to 10
           nor labor inspectors made concerted efforts to investigate or address the      years in prison, which was the ﬁrst prison sentence in several years and
           crime. The government continued to lack formal procedures to identify          a shift from ﬁnes and suspended sentences imposed previously. The
           and refer victims to care.                                                     government did not report sentences for the other convictions. Pandemic
                                                                                          restrictions restricted law enforcement efforts to gather evidence and
                                                                                          collaborate with regional partners. The government also reported that
                    BOTSWANA TIER RANKING BY YEAR
                                                                                          border closures resulted in a smaller caseload. Courts did not operate
                1
                                                                                          for a signiﬁcant portion of the reporting period and used virtual courts,
                2                                                                         when possible, resulting in a backlog of cases. Observers also noted
             2WL                                                                          the slow pace of Botswana’s judicial system and the lack of qualiﬁed
                                                                                          interpreters hindered authorities’ ability to prosecute trafficking crimes.
                3
                      2015      2016     2017       2018   2019   2020   2021   2022      The government did not report any investigations, prosecutions, or
                                                                                          convictions of government employees complicit in human trafficking
                                                                                          crimes; however, corruption and official complicity in trafficking crimes
                                                                                          remained signiﬁcant concerns, inhibiting law enforcement action
           PRIORITIZED RECOMMENDATIONS:                                                   during the year. Neither labor inspectors nor law enforcement reported
           Signiﬁcantly increase efforts to investigate, prosecute, and convict           investigating private farms in Ghanzi acknowledged by officials to hold San
           traffickers, and seek substantial sentences for convicted traffickers. •       individuals in conditions indicative of forced labor. In addition, observers

 134                                                                                                                                    Haiti AR_000615
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 240 of 729




                                                                                                                                                                 BOTSWANA
reported some local governments and labor inspectors provided advance            a survey to NGOs and ministries to assess the effectiveness of the
notice to the farm owners before inspection. Authorities acknowledged            government anti-trafficking efforts and produce a bi-annual public
corruption as a general impediment to law enforcement efforts.                   report on trafficking in persons; however, the report was not released
                                                                                 during the reporting period. The government collected and analyzed
The Directorate of Public Prosecution (DPP) continued to support
                                                                                 human trafficking data but did not report contributing to a centralized
specialized anti-trafficking units and monitored the investigation and
                                                                                 anti-trafficking database.
prosecution of trafficking cases. Due to restrictions on large gatherings
during the pandemic, the government did not conduct training for DPP             As in previous years, MOJ held a public awareness-raising event on World
and other officials. The police academy continued to include a human             Day Against Trafficking in Persons in July 2021 and conducted radio
trafficking module in its curriculum to educate recruits and in its in-service   programming in June and July 2021. The government trained district
training for officers on the anti-trafficking law, victim identiﬁcation, and     councils on human trafficking legal frameworks, referral processes,
investigation of human trafficking cases. The government cooperated              and the NAP, including in Kgalagadi, Chobe, North West, Francistown,
with the Governments of South Africa, Zimbabwe, Eswatini, and                    Ghanzi, Kweneng, and Southern districts. The government held seven
Tanzania on one trafficking prosecution and ﬁve investigations during            additional awareness raising events on human trafficking for job seekers,
the reporting period. The government reported signing a memorandum               at-risk youth, university students, journalists, civil society organizations,
of understanding with the Government of Zimbabwe to formalize                    and the public. Pandemic-related school closures hampered efforts to
cooperation on child trafficking cases.                                          conduct awareness activities with students; other campaigns faced
                                                                                 delays due to reallocation of funds.
PROTECTION                                                                       Labor inspectors did not adequately monitor for forced labor, particularly
The government maintained efforts to identify and protect trafficking
                                                                                 in remote areas; pandemic-restrictions on government travel further
victims. The government identiﬁed 31 trafficking victims, compared with
                                                                                 hampered efforts. The government did not report training inspectors on
three victims identiﬁed in the previous reporting period. The government
                                                                                 identifying human trafficking. Inspectors also lacked funding and covered
did not have formal procedures to proactively identify trafficking victims
                                                                                 large swaths of territory that made routine inspections impossible. Labor
and did not fully operationalize the 2014 law’s victim referral measures;
                                                                                 inspectors reportedly did not visit Ghanzi province, where officials
however, in the case of child trafficking, the government used existing
                                                                                 acknowledged private cattle farmers exploited San individuals in
child protection procedures to referral child victims to care. Primarily,
                                                                                 conditions indicative of forced labor since 2014. The government largely
law enforcement held responsibility for victim identiﬁcation, and the
                                                                                 permitted child labor in agriculture, in some cases forced, to continue
Department of Social Protection administered and facilitated the
                                                                                 without oversight; the government did not identify any child labor
provision of services. The government reported referring all identiﬁed
                                                                                 victims in 2021. Enrollment in school required an identity document,
victims to care, which was provided by a combination of government
                                                                                 usually a birth certiﬁcate or other national card known as an omang.
and NGO-run facilities. NGO-operated facilities provided shelter, medical
                                                                                 Many San families did not have either document, which rendered their
care, and other services, as in previous reporting periods. The government
                                                                                 children unable to enroll in school and more likely to work on farms,
offered shelter, necessities, counseling, and other services to trafficking
                                                                                 at times in exploitative conditions. The government required licensure
victims through government-supported NGO shelters for crime victims.
                                                                                 and standards for labor recruiters under the Employment Act; however,
The government could also provide temporary shelter for adult victims
                                                                                 there were no procedures to screen for potential trafficking in the labor
in hotels. NGO shelters did not permit adult trafficking victims to work
                                                                                 recruitment process. Without means for enforcement, the government
or to leave shelters without a chaperone. The government provided 2.78
                                                                                 relied on recruitment agencies to proactively screen and self-report.
million pula ($237,400) to NGOs providing care for trafficking victims.
                                                                                 Moreover, Botswana law did not prohibit labor recruitment practices that
This compared with spending 650,000 pula ($55,510) in 2020 and 4.69
                                                                                 traffickers commonly exploit, including charging of recruitment fees,
million pula ($400,510) in 2019 for victim care.
                                                                                 conﬁscation of workers’ passports, unilateral contract switching, and
The government repatriated six trafficking victims who sought voluntary          withholding of wages. The government continued collaboration with
repatriation in the previous reporting period but could not previously be        an international organization to identify foreign recruitment agencies
accommodated due to pandemic-related restrictions, and it repatriated            operating within the country but did not report any progress on efforts.
three additional victims. The government reported that the case of               The Botswana Police Service operated a hotline for gender-based
three Zimbabwean child victims who received deportation relief while             violence, which was equipped to accept human trafficking inquiries
cooperating with law enforcement remained ongoing. The government                and make referrals. Additionally, the Ministry of Labor and Home Affairs
did not have a formal policy of providing longer-term shelter, residency,        operated a hotline for labor-related problems, including forced labor.
or legal alternatives to removal to countries in which foreign trafficking       Neither hotline reported receiving any calls related to trafficking during
victims would face retribution or hardship. To support participation             the reporting period. The government did not make efforts to reduce
in court proceedings, the government provided victims identiﬁed in               the demand for commercial sex. The government trained diplomatic
previous years with transportation and protection services, and it               personnel on human trafficking prior to deployment. The government
conducted all victim testimony in closed courtrooms as requested                 did not report providing anti-trafficking training to its troops prior to
during the reporting period. The government also cooperated with                 their deployment as peacekeepers.
foreign governments to facilitate trafficking victims’ participation in trials
after repatriation. Botswana law provides for restitution for trafficking        TRAFFICKING PROFILE
victims after conviction of their trafficker, but the government did not         As reported over the past ﬁve years, human traffickers exploit domestic
report any orders of restitution during the reporting period. Due to a           and foreign victims in Botswana, and traffickers exploit victims from
lack of formal identiﬁcation procedures, authorities may have detained           Botswana abroad. Many trafficking victims in Botswana are Central
some unidentiﬁed trafficking victims among vulnerable populations.               African economic migrants intercepted by traffickers while transiting
                                                                                 Botswana to South Africa. Traffickers transport some child sex trafficking
PREVENTION                                                                       victims through Botswana en route to exploitation in South Africa.
The government increased prevention efforts. The Human Trafficking               Within Botswana, traffickers target unemployed women, the rural poor,
(Prohibition) Committee, established under the Ministry of Justice               agricultural workers, and children. Some relatives force their family
(MOJ), coordinated the government’s anti-trafficking efforts and met             members into domestic work, cattle herding, and commercial sex.
regularly during the reporting period. The Committee led implementation          Some parents in poor rural communities send their children to work
of the 2018-2022 NAP to which the government devoted 1.19 million                for wealthier families as domestic servants in cities or in agriculture
pula ($101,370) to support district councils’ anti-trafficking efforts           and cattle farming in remote areas, increasing their vulnerability to
and 622,980 pula ($53,200) for national coordination and capacity                forced labor. Extended family members may subject young Batswana
building. This compared with equivalent of approximately $92,000                 domestic workers to conditions indicative of forced labor, including
towards implementation in previous reporting periods. The MOJ began              denial of education and basic necessities, conﬁnement, and verbal,
development of a new NAP in conjunction with the Committee, other                physical, or sexual abuse. Criminals exploit some Batswana girls and
stakeholders, and trafficking survivors. MOJ created and distributed             women in commercial sex within the country, including in bars and
                                                                                                                                   Haiti AR_000616               135
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 241 of 729
BRAZIL   along major highways. Officials acknowledged the forced labor of adults          enforcement officials on victim identiﬁcation to prevent the penalization of
         and children of the San ethnic minority group in private cattle farms in         victims for unlawful acts traffickers compelled them to commit. • Increase
         Botswana’s rural west, particularly in Ghanzi district. Most cattle farm         the number of specialized anti-trafficking offices, especially in Mato Grosso
         owners are white emigres from South Africa, whose relationships with             do Sul, Piaui, Rondônia, Roraima, and Santa Catarina. • Prosecute and
         local government officials allow them to avoid inspection. Restrictions on       convict officials complicit in trafficking. • Improve interagency, federal,
         freedom of movement and inability to obtain permission to work render            and state coordination efforts to combat trafficking, including among
         the approximately 800 refugees, most located in Dukwi refugee camp,              law enforcement. • Implement a victim identiﬁcation protocol for law
         vulnerable to traffickers. There are reports child refugees are exploited        enforcement officials on trafficking indicators and proactive identiﬁcation
         in sex trafficking around the camp, including by foreign truck drivers           of victims and train them on its use. • Amend the 2016 anti-trafficking
         transiting Botswana. Botswana’s laws allow for conviction of political           law to criminalize child sex trafficking without elements of force, fraud,
         prisoners, and the government may have subjected such prisoners to               or coercion in accordance with the 2000 UN TIP Protocol. • Allocate
         unlawful forced labor for private gain, including to private contractors         resources to local guardianship councils to increase specialized services
         outside of prisons.                                                              for child trafficking victims, including case management assistance. •
                                                                                          Increase and fund efforts to raise awareness of trafficking, including
         Traffickers transport Batswana to Zimbabwe for forced labor. Organized
                                                                                          child sex tourism, on television, social media, and in print form, especially
         trafficking rings subject some Batswana women to trafficking internally
                                                                                          in communities along highways where human trafficking is prevalent.
         or transport women from neighboring areas, including South Africa,
                                                                                          • Implement the Third National Action Plan. • Empower the National
         Zimbabwe, Nigeria, the Democratic Republic of the Congo, and East
                                                                                          Committee to Combat Human Trafficking (CONATRAP) to fulﬁll its
         Africa, and subject them to sex trafficking in Botswana. Some traffickers
                                                                                          mandate to support expansion of the anti-trafficking office network. •
         recruit victims through social media, including through advertisements
                                                                                          Implement and train officials to use the 2020 victim referral protocol.
         for fake employment opportunities. Traffickers exploit Zimbabwean
         and Namibian individuals in forced labor in agriculture in Botswana.
         Traffickers likely exploit some undocumented Zimbabwean children in
                                                                                          PROSECUTION
                                                                                          The government increased law enforcement efforts. Article 149a of the
         commercial sex and forced labor in Botswana. Cuban medical personnel,
                                                                                          penal code criminalized some forms of sex trafficking and all forms
         working in nine cities and villages across Botswana, may have been
                                                                                          of labor trafficking and prescribed penalties of four to eight years’
         forced to work by the Cuban government. Bangladeshi traffickers bring
                                                                                          imprisonment and a ﬁne, which were sufficiently stringent and, with
         Bangladeshi women to Botswana for sex trafficking.
                                                                                          respect to sex trafficking, commensurate with those prescribed for other
                                                                                          serious crimes, such as rape. Inconsistent with international law, Article
                                                                                          149a required force, fraud, or coercion for child sex trafficking cases and
          BRAZIL: TIER 2                                                                  therefore did not criminalize all forms of child sex trafficking. However,
                                                                                          Article 244a of the child and adolescent statute criminalized inducing
                                                                                          a child to engage in sexual exploitation without the need to prove the
         The Government of Brazil does not fully meet the minimum standards               use of force, fraud, or coercion and prescribed penalties of four to 10
         for the elimination of trafficking but is making signiﬁcant efforts to do        years’ imprisonment and a ﬁne, which were sufficiently stringent and
         so. The government demonstrated overall increasing efforts compared              commensurate with those prescribed for other serious crimes, such as
         with the previous reporting period, considering the impact of the                rape. Additionally, Article 149 of the penal code prescribed penalties of
         COVID-19 pandemic, if any, on its anti-trafficking capacity; therefore           two to eight years’ imprisonment and a ﬁne. It prohibited “slave labor,”
         Brazil remained on Tier 2. These efforts included investigating and              or reducing a person to a condition analogous to slavery, and deﬁned
         prosecuting more traffickers, identifying more trafficking victims, and          forced labor to include degrading work conditions and exhausting work
         continuing to issue regular updates to its public registry of slave labor        hours, going beyond situations in which people are held in service through
         offenders (the “dirty list”). However, the government did not meet the           force, fraud, or coercion.
         minimum standards in several key areas. The government did not report
                                                                                          Law enforcement data provided by the government reﬂected efforts
         any ﬁnal trafficking convictions, and officials continued to punish most
                                                                                          made under federal jurisdiction. Authorities reported initiating 285
         labor traffickers with administrative penalties instead of prison, which
                                                                                          investigations (64 sex trafficking investigations and 221 slave labor
         neither served as an effective deterrent nor provided justice for victims.
                                                                                          investigations), compared with initiating 206 slave labor investigations
         The government reported limited efforts to combat sex trafficking or
                                                                                          in 2020 and 296 (40 for sex trafficking and 256 for slave labor) in
         to identify sex trafficking victims among highly vulnerable populations,
                                                                                          2019. There were 299 ongoing investigations (53 for sex trafficking
         such as children and LGBTQI+ persons; some officials demonstrated a
                                                                                          and 246 for slave labor) initiated in previous years, some dating to
         ﬂawed understanding of the human trafficking crime, leaving victims
                                                                                          2013, compared with 237 ongoing investigations (all for slave labor)
         vulnerable to penalization for unlawful acts traffickers compelled them
                                                                                          reported in 2020. The government prosecuted 49 new cases under the
         to commit. Victim protection mechanisms, including shelter services,
                                                                                          anti-trafficking law (11 for alleged sex trafficking and 38 for alleged slave
         remained inadequate and varied substantially by state.
                                                                                          labor) in 2021, compared with prosecuting 14 new cases in 2020 (all for
                                                                                          sex trafficking) and 56 in 2019 (four for sex trafficking and 52 for slave
                  BRAZIL TIER RANKING BY YEAR                                             labor). The government reported 599 ongoing trafficking prosecutions
              1                                                                           (43 for sex trafficking and 556 for slave labor) in courts of ﬁrst and
              2
                                                                                          second instance, compared with 512 ongoing prosecutions (six for sex
                                                                                          trafficking and 506 for slave labor) in 2020. In 2021, the government
           2WL                                                                            reported two initial convictions—one for sex trafficking and one for sex
              3                                                                           and labor trafficking, both subject to appeal—and no ﬁnal convictions
                    2015      2016      2017    2018   2019    2020     2021    2022      under the anti-trafficking law, compared with three ﬁnal trafficking
                                                                                          convictions under a related statute criminalizing the facilitation of human
                                                                                          trafficking and six initial labor trafficking convictions, subject to appeal,
                                                                                          in 2020. Media reported the Brazilian Supreme Court upheld the slave
         PRIORITIZED RECOMMENDATIONS:                                                     labor convictions of two traffickers who appealed their case; the court
         Vigorously investigate, prosecute, and convict in cases of sex trafficking,      sentenced them to six and three years’ imprisonment, respectively, for
         including child sex tourism. • Increase efforts to proactively identify          exploiting 26 people in conditions analogous to slavery. Brazil allowed
         trafficking victims. • Provide shelter and specialized assistance to victims     successive appeals in criminal cases, including trafficking, before courts
         of sex trafficking and forced labor. • Prosecute and convict labor traffickers   could issue a ﬁnal conviction and sentence. Many convicted traffickers
         in criminal courts and punish traffickers with signiﬁcant prison terms. •        appealed their convictions several times, in both lower and appeals
         Compile comprehensive data on victim identiﬁcation; victim assistance;           courts. Media reports showed that adjudication of cases could take four
         and investigations, prosecutions, and convictions at the federal and state       to 10 years. Traffickers sometimes served their sentence under house
         level, disaggregated between sex and labor trafficking cases. • Train law
 136                                                                                                                                    Haiti AR_000617
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 242 of 729




                                                                                                                                                               BRAZIL
arrest or in prison work release programs, leaving to work during the            program designed to prevent suspected child sex tourists from entering
day and returning to prison overnight; these punishments were not                the country. The government continued to coordinate with British,
commensurate with the serious nature of the trafficking crime and did            Portuguese, Spanish, and U.S. counterparts, as well as international law
not effectively deter traffickers. Observers reported the judicial system        enforcement entities, on trafficking cases; in one such investigation,
did not experience pandemic-related delays during the reporting period;          Brazilian officials coordinated with Portuguese and Spanish authorities to
courts remained open throughout 2021. The government reported law                arrest seven alleged sex traffickers accused of recruiting as many as 100
enforcement officials conducted anti-trafficking investigations as normal,       Brazilian women, including children, to work for a fraudulent modeling
without any pandemic-related limitations.                                        agency, then forcing them to engage in commercial sex. The government
                                                                                 reported extraditing one foreign suspected trafficker to face trial in
The government treated forced labor as a distinct crime from human
                                                                                 another country and coordinating with the Belarusian government to
trafficking. Labor inspectors and labor prosecutors had primary authority
                                                                                 extradite a Brazilian suspected trafficker to face trial in Brazil.
over cases of slave labor and could apply civil penalties. The federal
police and public ministry handled the investigation and prosecution
of severe slave labor cases and had the authority to pursue criminal
                                                                                 PROTECTION
                                                                                 The government maintained protection efforts. In 2021, the government
charges against labor traffickers. However, the government favored
                                                                                 reported identifying 441 trafficking victims, compared with identifying
administrative penalties in cases of slave labor. Authorities in populous
                                                                                 and providing protection services to 357 potential trafficking victims in
states had a limited understanding of sex trafficking and mostly focused
                                                                                 2020. Among these victims, there were 221 men, 139 women, 51 boys,
on cases of transnational sex trafficking. Anecdotal reports indicated
                                                                                 and 30 girls; the government did not specify how many were victims
some government authorities had difficulty conceptualizing individuals
                                                                                 of sex trafficking, as opposed to labor trafficking. The government
in commercial sex as potential trafficking victims, which inhibited law
                                                                                 also reported identifying 1,937 victims of labor exploitation during 443
enforcement action against traffickers and likely led to authorities
                                                                                 slave labor inspections; however, the government did not specify how
overlooking potential victims. When authorities identiﬁed exploitation of
                                                                                 many, if any, of these were trafficking victims, as opposed to victims of
individuals in commercial sex, including potential victims of sex trafficking,
                                                                                 other forms of exploitation. As in previous years, the government did
they sometimes considered them victims of slave labor and referred
                                                                                 not report the total number of cases of forced labor as deﬁned under
them to the Public Labor Ministry (MPT) or the Special Secretariat for
                                                                                 international law. By comparison, authorities inspected 266 companies
Social Security and Labor.
                                                                                 and identiﬁed 943 victims of labor exploitation in 2020; in a 2021
Interagency coordination and data collection efforts were inadequate.            analysis, officials assessed as probable trafficking victims 223 of 936
Data remained spread across multiple databases at the federal and state          victims of labor exploitation identiﬁed in 2020. Several government
level, making it difficult to obtain and analyze comprehensive data. The         agencies at various levels collected data on victim identiﬁcation and
Brazilian Federal Police (PF) was the primary law enforcement entity             assistance; however, only the Ministry of Citizenship and Ministry of Labor
charged with responding to trafficking crimes. In 2021, the PF increased         reported victim identiﬁcation data in 2021. Brazil’s lack of a centralized
staffing for its central anti-trafficking units and made provisions for          database and inconsistent reporting made it difficult to analyze data,
temporary staffing expansions during busy periods. The PF had a local            perform year-to-year comparisons, and draw conclusions. Civil society
unit in every state and participated in the investigation of most trafficking    observers noted the demographic proﬁles of trafficking victims varied
crimes. However, the PF’s coordination with state and municipal entities         considerably across available sources, based on the variables each entity
varied considerably. In some states, the PF and state and municipal              tracked, as well as the population to which it catered; the Ministry of
entities did not cooperate or communicate effectively; in others, observers      Health’s records, for example, frequently included more female victims
reported successful coordination between local, state, and federal entities      than did law enforcement sources. In previous reporting periods, the
streamlined investigations and raids. Law enforcement units at all levels        government’s reported victim identiﬁcation efforts varied from state
had insufficient funding, expertise, and staff to investigate trafficking.       to state; select rural states, such as Parana, often identiﬁed an outsized
Observers reported police occasionally misclassiﬁed trafficking cases,           share of the victims identiﬁed in a given year, while more populous
suggesting such cases were under-reported.                                       states identiﬁed relatively few. Observers suggested the government
The government did not report any investigations, prosecutions, or               devoted insufficient resources to identifying victims of slave labor in
convictions of government employees complicit in human trafficking               female-dominated areas of work, including domestic labor. Federal labor
offenses; however, it added two former public employees, a retired public        inspectors reportedly shared with victims of slave labor information on
prosecutor and a former mayor, to its public registry of individuals and         basic resources available to them. The government did not report how
companies guilty of slave labor, known as the “dirty list.” Corruption and       many slave labor victims received such information in 2021 or 2020.
official complicity in trafficking crimes remained signiﬁcant concerns,          Many, but not all, victims of slave labor had access to three months of
inhibiting law enforcement action during the year. Media reported the            unemployment insurance; the government reported that 1,687 slave labor
former prosecutor co-owned a farm where, in 2018, officials identiﬁed            victims received unemployment insurance in 2021, compared with 713
18 victims of slave labor; the victims lived in crude structures, which          of the 942 victims identiﬁed in 2020. The government did not report
lacked running water, on the property where their employer compelled             what other services, if any, slave labor victims received.
them to harvest açai. The government did not report any additional               The government had an updated protocol for victim assistance and
developments related to cases of official complicity from previous               referral, developed in consultation with an international NGO in 2020.
years, including the October 2016 investigation of an elected official           However, observers reported implementation of the 2020 protocol
who was arrested and removed from his position in Parana state after             was incomplete and some officials at the federal, state, and local level
allegations of his involvement in a child sex trafficking ring. Similarly,       continued to rely on victim identiﬁcation guidance from 2013, which
there were no updates on the prosecution’s appeal of an inadequate               predated the 2016 anti-trafficking law. However, the government did not
sentence given to a civil police investigator in 2016 for his involvement        report training any officials to use either resource during the reporting
in a sex trafficking ring involving children.                                    period; there was no indication that authorities in most states proactively
During the reporting period, the government offered limited training             or consistently identiﬁed victims of sex trafficking, child sex tourism, or
opportunities; it did not report anti-trafficking training for prosecutors,      forced labor, especially forced criminality. Labor inspectors identiﬁed
judges, or law enforcement officials. Civil society observers reported law       victims of slave labor while conducting impromptu inspections into
enforcement and judicial sector officials demonstrated a limited, albeit         businesses or employers suspected of using slave labor. According
improving, understanding of trafficking crimes; these observers also             to some government officials, judges demonstrated an incomplete
reported state and municipal officials were signiﬁcantly less proﬁcient          understanding of the irrelevance of initial consent; they inconsistently
than their federal counterparts. The government reportedly required new          identiﬁed trafficking victims as such when the victim initially consented
labor judges to receive training on slave labor and human trafficking,           to perform a certain job or service in which they were later coerced
but it did not report recruiting new judges in 2021; by contrast, 76             or forced to provide labor or services against their will. The MOJPS
new judges completed the training in 2019, the last year for which               maintained eight “advanced posts” at locations, such as airports and
data was available. The government continued to participate in a U.S.
                                                                                                                                  Haiti AR_000618              137
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 243 of 729
BRAZIL   bus stations, where authorities could screen for trafficking indicators;        had measures to encourage victims to testify in cases against traffickers,
         it operated the same number of posts in 2020 and nine in 2019.                  including allowing remote live video testimony. However, authorities
                                                                                         have never reported using these measures in trafficking cases. Observers
         Law 13.344 mandated the government provide victims with temporary
                                                                                         continued to express concern about the under-reporting of trafficking
         shelter; legal, social, and health assistance; and protection against re-
                                                                                         crimes, attributing it in part to victims’ lack of awareness of protection
         victimization. Implementation of the law was inconsistent across states.
                                                                                         services and fear that ﬁling complaints would lead to further exploitation,
         Authorities continued to operate 16 state-level and one municipal-level
                                                                                         deportation, or other harm. The law entitled foreign victims of trafficking
         anti-trafficking offices (NETPs). NETPs operated interagency networks
                                                                                         and other rights violations to a residence permit. The government did not
         that could serve as the ﬁrst point of contact for victims who had been
                                                                                         report issuing any residence permits under this provision in 2021, whether
         identiﬁed by any means, including NGOs; however, most NETPs did not
                                                                                         to trafficking victims or victims of other crimes, compared with 12 in 2020.
         provide services to victims directly and were only open during the day.
                                                                                         The government could assist victims of trafficking with repatriation, but
         Most agencies with equities participated in the network, and NETPs could
                                                                                         authorities have not reported assisting any victims since 2017.
         refer victims of adult sex trafficking to Specialized Social Service Centers
         (CREAS) serving vulnerable populations, victims of forced labor to the
         Secretariat of Labor Inspections (SIT), and child victims of trafficking to
                                                                                         PREVENTION
                                                                                         The government maintained efforts to prevent trafficking. The MOJPS
         guardianship councils. The government did not report the number of
                                                                                         oversaw the inter-ministerial group responsible for the implementation of
         victims NETPs assisted in 2021, compared with assisting 156 potential
                                                                                         the 2016-2022 Third National Action Plan; MOJPS did not report the plan’s
         victims in 2020. Adult victims referred to CREAS could receive assistance
                                                                                         operational budget in 2021, compared with a budget of 443,840 reais
         from non-specialized psychologists and social workers; the government
                                                                                         ($78,310) in 2020 and 639,246 reais ($112,780) in 2019. The MOJPS also
         reported its network of CREAS assisted 441 victims in 2021, compared
                                                                                         funded the seven-member CONATRAP advisory committee, which included
         with assisting 357 potential victims in 2020. A government official
                                                                                         representatives from federal government agencies and NGOs. In 2021,
         indicated that the NETPs were not distributed in a balanced way across
                                                                                         CONATRAP issued updates to its committee bylaws. The MOJPS worked
         the country. Wealthier states, such as Sao Paulo, supplemented their
                                                                                         with an international organization and foreign government to produce and
         NETPs’ budgets, allowing for more effective assistance and coordination
                                                                                         release a three-year analysis on trafficking trends. Coordination between
         teams comprised of police officers, prosecutors, labor inspectors, labor
                                                                                         agencies at the national and state levels remained uneven and varied in
         prosecutors, and mental health professionals. Federal funding, however,
                                                                                         efficacy. At the state government level, officials from different agencies in
         was limited and insufficient to adequately fund or equip NETPs in the
                                                                                         16 states coordinated to address trafficking independently from the federal
         absence of supplemental state-level funding. Many states did not have
                                                                                         government and in a decentralized manner through the state NETPs. The
         NETPs, including border states where trafficking was prevalent. Civil
                                                                                         MPT did not report any 2021 activities related to its technical cooperation
         society reported some regional governments diverted NETPS resources
                                                                                         agreement with PF, focused on increasing information sharing on cases
         to support pandemic mitigation efforts. The government did not report
                                                                                         of child labor and slave labor or its working group assigned to develop
         whether it maintained its partnership with an LGBTQI+ organization to
                                                                                         standard operating procedures for government officials working with
         increase the protection of transgender trafficking victims.
                                                                                         child victims of sexual exploitation, including sex trafficking.
         Some NETPs and CREAS could provide limited short-term shelter; the
                                                                                         Most awareness-raising efforts in Brazil focused on addressing child or
         federal government did not fund specialized or long-term shelters for
                                                                                         slave labor more broadly; few campaigns attempted to raise awareness
         trafficking victims. The government had a national network of non-
                                                                                         of sex trafficking and child sex tourism. Throughout the year and to
         specialized government and civil society shelters serving vulnerable
                                                                                         commemorate World Day against Trafficking, municipal and state
         populations, such as individuals experiencing homelessness, victims of
                                                                                         governments hosted workshops, trainings, performances, and roundtable
         domestic violence, and the elderly. Of these shelters, the government
                                                                                         discussions to raise awareness of human trafficking. Officials in Rio
         reported more than 3,700 could receive trafficking victims, although far
                                                                                         Grande do Sul distributed pamphlets outlining trafficking indicators and
         fewer served trafficking victims in practice. In 2019, the most recent year
                                                                                         hosted trafficking awareness seminars. In the federal district, officials
         for which data was available, 32 of these shelters reported providing
                                                                                         launched a campaign to reduce children’s vulnerability to trafficking
         services to at least one trafficking victim each. The government did
                                                                                         and other forms of exploitation by registering births and issuing identity
         not report how many trafficking victims these shelters assisted during
                                                                                         documents. The government reported partnering with NGOs to produce
         the reporting period. There were no specialized shelters for male
                                                                                         online seminars and a range of awareness materials, including a web
         victims of trafficking. States did not have specialized shelters for child
                                                                                         series on active government-funded anti-trafficking programs. PRF
         sex trafficking victims, and guardianship councils often lacked the
                                                                                         officials continued to operate a database to identify critical locations
         expertise and resources to adequately identify, refer, and support child
                                                                                         along highways where the commercial sexual exploitation of children was
         victims. Some states placed victims in shelters for migrants, individuals
                                                                                         prevalent and coordinated with MPT and the Brazilian Association for the
         experiencing homelessness, or victims of domestic violence. The state of
                                                                                         Defense of Women, Children and Youth to include human trafficking in its
         Sao Paulo, for example, had two main shelters where trafficking victims
                                                                                         mapping efforts. The federal government launched a public awareness
         could receive assistance—one was a state government-funded shelter
                                                                                         initiative to promote regularization of domestic workers’ employment
         where female victims and their children could receive health beneﬁts,
                                                                                         status, which would reduce their vulnerability to trafficking. In the ﬁrst
         education, food, and housing for three to six months; the other was an
                                                                                         half of 2020, government-operated human rights hotlines received
         NGO-operated shelter that provided temporary assistance for refugees
                                                                                         156 calls related to human trafficking and 4,069 calls related to labor
         and trafficking victims. When space in these shelters was unavailable,
                                                                                         exploitation, including slave labor. Hotline operators could refer victims to
         Sao Paulo officials housed trafficking victims in other non-specialized
                                                                                         local resources including police, state prosecutor’s offices, social workers,
         shelters and, occasionally, hotels. Rio de Janeiro, Brazil’s second most
                                                                                         guardianship councils, CRAS, CREAS, and the labor inspectorate. Some
         populous city, did not have any specialized shelters for victims of sex
                                                                                         states, including Sao Paulo, operated their own human rights hotlines.
         trafficking. Officials from the MPT used assets forfeited from traffickers to
                                                                                         The government did not indicate whether it initiated any investigations
         provide care to victims of slave labor. To increase and expedite access to
                                                                                         from calls to the hotlines.
         care for forced labor victims, state governments could participate in the
         Integrated Action Program through MPT, which coordinated vocational             Authorities did not make efforts to reduce the demand for commercial sex
         training, sought restitution from traffickers, and arranged job placements.     acts. However, authorities made efforts to reduce the demand for forced
         Authorities did not report providing training to any guardianship council       labor. The SIT published a “dirty list,” or Lista suja, which made public the
         social workers on the worst forms of child labor, including trafficking,        names of individuals and businesses found guilty of using slave labor, twice
         in 2021 or 2020, compared with training 242 social workers in 2019.             annually. In its most recent iteration, released in October 2021, the list
                                                                                         included 66 employers, compared with 113 in October 2020. The SIT added
         Authorities sometimes penalized victims for unlawful acts traffickers
                                                                                         32 new employers to the list in 2021, compared with 44 new employers in
         compelled them to commit. Due to inadequate application of formal
                                                                                         2020. The government acknowledged the decrease in new additions to
         identiﬁcation and screening procedures, officials occasionally arrested
                                                                                         the list in 2021 and 2020, attributing them to pandemic-related capacity
         foreign women for alleged drug trafficking crimes committed under
                                                                                         reductions; officials continued to work through the backlog caused by
         coercion and as a result of their trafficking situation. The government
 138                                                                                                                                   Haiti AR_000619
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 244 of 729




                                                                                                                                                                BRUNEI
several months’ inactivity during 2020. Individuals and companies on the        Brazilian and foreign victims, especially from Bolivia, South Africa, and
list were prohibited from accessing credit by public or private ﬁnancial        Venezuela, to engage in criminal activity, including drug trafficking, in
institutions; the government reported its civil lawsuits against seven banks    Brazil and neighboring countries. Cuban medical workers who departed
that continued extending credit to businesses included on the “dirty list,”     Brazil in 2018, after the Cuban government ended Cuban medical worker
initiated in 2019, remained ongoing in 2021. While the “dirty list” remains     participation in Brazil’s Mais Medicos program, continued to pursue a
one of Brazil’s most effective tools to reduce the demand for slave labor,      class-action lawsuit against an international organization for its role in
the inadequate criminalization of these crimes hindered efforts to combat       their alleged exploitation. In the lawsuit, Cuban workers who were part of
labor trafficking. Officials issued administrative penalties to 266 employers   the Mais Medicos program in Brazil allege they were forced to work by the
guilty of slave labor in 2020, compared with 106 employers in 2019. The         Cuban government, as part of a triangular arrangement facilitated by an
government indicated the government’s staff of labor inspectors shrunk          international organization. NGOs and officials report some police officers
for at least the ﬁfth consecutive year. Labor inspectors had access to an       ignore the exploitation of children in sex trafficking, patronize brothels,
online course on slave labor and human trafficking, but the government          and rob and assault women in commercial sex, impeding identiﬁcation
did not report how many inspectors utilized this programming.                   of sex trafficking victims.

TRAFFICKING PROFILE
As reported over the past ﬁve years, human traffickers exploit domestic
and foreign victims in Brazil, and traffickers exploit victims from Brazil       BRUNEI: TIER 3
abroad. Traffickers exploit women and children from Brazil and from
other South American countries, especially Paraguay, in sex trafficking
                                                                                The Government of Brunei does not fully meet the minimum standards
in Brazil. Gangs and organized criminal groups have subjected women
                                                                                for the elimination of trafficking and is not making signiﬁcant efforts
and girls to sex trafficking in the states of Rio Grande do Sul and Santa
                                                                                to do so, even considering the impact of the COVID-19 pandemic on its
Catarina. Traffickers also exploit Brazilian women in sex trafficking abroad,
                                                                                anti-trafficking capacity; therefore Brunei was downgraded to Tier 3.
especially in Western Europe and the People’s Republic of China (PRC).
                                                                                Despite the lack of signiﬁcant efforts, the government took some steps
Traffickers lure Brazilian women abroad with false promises to exploit
                                                                                to address trafficking, including initiating a labor trafficking prosecution,
them in sex trafficking; traffickers have feigned offers of successful music
                                                                                increasing investigations of potential trafficking crimes, and continuing
careers to entice Brazilian women to travel to South Korea, where they
                                                                                construction of dedicated male and female trafficking shelters. However,
are forced into commercial sex. Traffickers have exploited Brazilian men
                                                                                for the ﬁfth consecutive year, the government did not convict any
and transgender women in sex trafficking in Spain and Italy. Transgender
                                                                                traffickers under its trafficking statute. For the second consecutive year,
women are one of the most vulnerable populations in Brazil. According
                                                                                the government did not identify any trafficking victims. The government
to a study conducted in 2019, 90 percent of transgender women in Brazil
                                                                                continued to detain, deport, and charge potential victims for crimes
are in commercial sex, and of those in Rio de Janeiro, more than half are
                                                                                without employing a victim-centered approach to discern if traffickers
in a situation at high risk for human trafficking. Demand for transgender
                                                                                compelled the victims to engage in the unlawful acts.
women in commercial sex in Brazil is elevated relative to other countries,
as are rates of violence against transgender women. Traffickers often
require transgender victims to pay them for protection and daily housing                 BRUNEI TIER RANKING BY YEAR
fees. When they are unable to pay, traffickers beat them, starve them,               1
and force them into commercial sex. Traffickers deceive transgender                 2
Brazilian women with offers of gender reassignment surgery, planning
to exploit them in sex trafficking when they are unable to repay the cost         2WL
of the procedure. Traffickers exploit children in sex trafficking along             3
Brazil’s highways, including BR-386, BR-116, and BR-285. Child sex tourism                 2015      2016      2017    2018   2019    2020   2021     2022
remains a problem, particularly in resort and coastal areas; many child
sex tourists are from Europe and the United States.
Migrants—especially Bolivian, Filipino, Haitian, Paraguayan, and PRC            PRIORITIZED RECOMMENDATIONS:
national migrants—and people living near any of Brazil’s border areas           Increase efforts to investigate, prosecute, convict, and punish both sex
are vulnerable to trafficking. Traffickers have exploited PRC women             and labor traffickers, including complicit government officials, with
in sex trafficking in Rio de Janeiro. Venezuelan migrants were highly           strong penalties. • Widely disseminate standard operating procedures
vulnerable to sex trafficking and forced labor in Brazil. Traffickers recruit   (SOPs) for victim identiﬁcation, and train all relevant officials on the
Venezuelans—those living in Brazil and those still in Venezuela—via             procedures, emphasizing a focus on vulnerable populations, such as
online advertisements and social media platforms offering fraudulent            individuals in commercial sex, domestic workers, LGBTQI+ individuals, and
job opportunities and later exploiting them in sex trafficking in major         migrant workers, including People’s Republic of China (PRC) nationals
cities like Sao Paulo and Rio de Janeiro. Traffickers increasingly relied on    employed at worksites affiliated with PRC-based companies. • Cease
digital means to recruit both sex and labor trafficking victims. Experts        the inappropriate arrest, deportation, and punishment of trafficking
indicated the government convicted fewer than 5 percent of entities             victims for crimes traffickers compelled them to commit. • Train judges
charged with slave labor.                                                       on accurate and effective implementation of trafficking laws, including
Most identiﬁed trafficking victims are people of color, and many are            through understanding the many ways coercion can be applied. • Train
Afro-Brazilian or otherwise of African descent; 63 percent of trafficking       investigators and prosecutors on building trafficking cases, including
victims served at NETPs in 2020 identiﬁed as Black or Brown. Traffickers        collecting evidence to corroborate victim testimony. • Increase protective
exploit Brazilian men—notably Afro-Brazilian men—and, to a lesser extent,       services to provide incentives for victims to participate in investigations
women and children, in situations that could amount to labor trafficking        and prosecutions, including by allowing at-will communication with
in both rural areas (including in ranching, agriculture, charcoal production,   people outside shelter facilities and issuing work permits to all victims.
salt industries, logging, and mining) and cities (construction, factories,      • Establish a formal communication mechanism to regularly collaborate
restaurants, and hospitality). Traffickers exploit adults and children from     and learn from foreign government embassies about suspected trafficking
other countries—including Bolivia, Paraguay, Haiti, and the PRC—in forced       crimes. • Ensure migrant worker contracts and information on their rights
labor and debt-based coercion in many sectors, including construction,          and obligations under Brunei law are available in migrant workers’ primary
the textile industry (particularly in Sao Paulo), and small businesses.         languages and that workers can retain a copy. • Issue guidelines on the
Traffickers exploit Brazilians in forced labor for some producers of sugar,     prohibition of recruitment agencies charging or receiving worker-funded
coffee, garlic, charcoal, and carnauba wax. Traffickers exploit Brazilian       fees and enforce the prohibition. • Implement the victims’ fund to allow
women and children, as well as girls from other countries in the region,        those funds to be paid directly to victims as compensation. • Strengthen
in forced labor for domestic servitude. Traffickers exploit Brazilians in       efforts to enforce laws prohibiting acts that facilitate trafficking, such as
forced labor in other countries, including in Europe. Traffickers force         retention or conﬁscation of migrant workers’ identity documents and
                                                                                                                                     Haiti AR_000620            139
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 245 of 729
BRUNEI   partial or full withholding of wages. • Offer foreign victims long-term           PROTECTION
         alternatives to removal from the country. • Expand comprehensive and              The government decreased efforts to protect victims. The government
         visible anti-trafficking awareness campaigns directed at employers of             had SOPs for victim identiﬁcation, referral, and protection and reportedly
         foreign workers and buyers of commercial sex.                                     used the SOPs to screen potential trafficking cases. However, for the
                                                                                           second consecutive year, the government did not report identifying
         PROSECUTION                                                                       any trafficking victims. In addition, the SOPs did not contain adequate
         The government increased law enforcement efforts. The 2019 Anti-                  measures to screen for trafficking indicators among LGBTQI+ individuals
         Trafficking in Persons Order criminalized sex trafficking and labor               or adults arrested for involvement in commercial sex. In some cases,
         trafficking and prescribed penalties of four to 30 years’ imprisonment            authorities employed identiﬁcation measures only after detaining
         and ﬁnes of between 10,000 and 1 million Brunei dollars (BND) ($7,400             potential victims following law enforcement operations, such as raids
         and $739,640), which were sufficiently stringent and, with respect to sex         in which police arrested foreign women for involvement in commercial
         trafficking, commensurate with penalties prescribed for other serious             sex. Officials may have also detained and deported unidentiﬁed
         offenses, such as rape. The penal code also criminalized travel outside the       trafficking victims for labor or immigration violations. Observers
         country for commercial sex with children, prescribing a punishment of             reported authorities prosecuted seven potential trafficking victims
         up to 10 years’ imprisonment, a ﬁne, or both. The government may have             and sentenced them for immigration violations, despite them exhibiting
         also utilized Chapter 120 Section 5 of the Women and Girls Prosecution            multiple trafficking indicators. Foreign government officials continued
         Act, which addresses “living on or trading in prostitution,” to prosecute         to report Bruneian authorities deported several of their citizens after
         potential sex trafficking crimes. The act prescribed penalties of up to ﬁve       their Bruneian employers withheld wages or medical care and then
         years’ imprisonment and a ﬁne of up to $20,000, which were signiﬁcantly           reported to immigration officials that the migrant workers had run
         lower than those available under the trafficking law.                             away. Observers reported the practice of detention and deportation
         Royal Brunei Police Force (RBPF), labor, and immigration officers referred        perpetuated victims’ fear of communicating with law enforcement
         134 suspected trafficking crimes to the human trafficking unit (HTU) for          officers, exacerbating signiﬁcant identiﬁcation and service provision
         review and potential investigation, a decrease compared with 147 cases in         gaps. Observers noted a need for foreign government embassies and
         2020. The HTU was responsible for formally identifying trafficking cases          the government to develop a formal communication mechanism to
         and reviewed case reports to look for trafficking crimes, particularly in         increase collaboration on reports of suspected trafficking crimes.
         cases involving commercial sex, unpaid wages, workers ﬂeeing their                The government did not report allocating any funding for or directly
         place of employment, or physical abuse of workers. The government                 providing to victims protection services during the reporting period.
         investigated 14 cases as potential trafficking crimes, four for sex trafficking   In the previous reporting period, the government allocated 331,000
         and 10 for forced labor, compared with three investigations the previous          BND ($244,820) for trafficking victim protective services; 100,000
         year. The government prosecuted its ﬁrst labor trafficking case. Despite          BND ($73,960) to a trafficking victim assistance fund; and 231,000
         a 2004 law criminalizing labor trafficking and repeated reports that              BND ($170,860) to the construction of two trafficking victim shelters
         a signiﬁcant number of migrant workers in Brunei exhibited multiple               to separately accommodate female and male victims, each intended
         trafficking indicators, the government had never prosecuted a labor               to house up to 20 victims. The government reported construction of
         trafficking case. Authorities investigated, and the attorney general’s            the shelters remained ongoing at the end of the reporting period.
         chambers (AGC) charged, an alleged trafficker with six counts of people           The government did not report providing any protective services. The
         trafficking, and the case was ongoing at the end of the reporting period.         government maintained a secure, general-purpose shelter and could
         For the ﬁfth consecutive year, courts did not convict any traffickers             provide medical care, counseling, psychological assessment, clothing,
         under its trafficking statute; the government’s most recent trafficking           meals, and access to vocational training programs and recreational
         convictions were of three traffickers in 2016. In practice, investigators         activities to female trafficking victims and male trafficking victims younger
         required proof of physical force, fraud, or physical coercion for a trafficking   than the age of 18. The government indicated it could house adult male
         crime. As a result, and inconsistent with the 2019 law, officials did             victims, if identiﬁed, in local hotels until the completion of the trafficking
         not investigate or prosecute as trafficking cases in which the alleged            shelter. Shelter officials have permitted victims to make calls home in
         traffickers used non-physical forms of coercion. Observers indicated              the presence of an official from their embassy, who could interpret the
         that an overreliance on victim testimony and lack of special investigative        conversation for authorities. The government has allowed victims to
         measures to corroborate evidence led to cases being investigated and              freely leave the shelter without a chaperone and stated it could assist
         prosecuted under non-trafficking statutes. Government officials ascribed          victims to ﬁnd alternative employment. The Departments of Labor and
         poor prosecutorial efforts to high evidentiary standards, including the           Immigration could grant victims temporary work passes on an ad hoc
         deﬁnition of exploitation, under the anti-trafficking law, despite the            basis; the government did not report granting any victims work passes.
         law’s consistency with the 2000 UN TIP Protocol. Observers reported a             The government reported it maintained a 24-hour trafficking and labor
         fundamental lack of understanding about the pervasiveness of trafficking          hotline; however, the number was not included on any government online
         in Brunei and an institutional lack of understanding of labor-related             resources, and police were unaware of its existence. Law enforcement
         trafficking indicators, including passport retention and nonpayment of            officials stated that reports of suspected trafficking crimes must be made
         wages, among government officials that hindered anti-trafficking efforts.         in person at a police station, limiting reports of trafficking cases for law
         In addition, observers reported that authorities did not investigate all          enforcement action. The government did not have legal alternatives to
         alleged potential trafficking crimes and focused their efforts on crimes          removal for victims who may face hardship or retribution upon return
         committed by foreign perpetrators rather than Bruneian criminals.                 to their home countries.
         The government did not report any investigations, prosecutions, or
         convictions of government employees complicit in human trafficking                PREVENTION
         crimes; however, corruption and official complicity in trafficking crimes         The government decreased efforts to prevent trafficking. The
         remained signiﬁcant concerns, inhibiting law enforcement action. The              government’s interagency anti-trafficking committee met quarterly.
         government prosecuted government officials involved in visa fraud under           The government continued implementation of its National Action Plan,
         non-trafficking laws. Law enforcement officials cooperated with foreign           developed in November 2020. Brunei’s 2004 Employment Agencies
         governments on ongoing international trafficking cases; however, the              Order (EAO) mandated licensing and regulation of recruitment agents.
         government reportedly did not cooperate with foreign governments on               The EAO prohibited agencies from charging or receiving any form of fees,
         domestic trafficking prosecutions when cases involved foreign nationals.          remuneration, proﬁt, or compensation; however, the labor department
         The government trained RBPF, immigration, labor, and anti-vice officers           still did not issue guidelines on this prohibition, and authorities did not
         on victim identiﬁcation and protective services. In addition, the NTHT            implement oversight of this provision.
         provided training to law enforcement officials and employers on worker            The Department of Labor required foreign workers to sign their contracts
         rights and employment laws.                                                       in the presence of a labor officer to prevent forgery, ensure compliance
                                                                                           with the law, and enable the labor official to provide information to
                                                                                           the worker on their rights and obligations. The government provided
 140                                                                                                                                      Haiti AR_000621
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 246 of 729




                                                                                                                                                            BULGARIA
sample migrant worker contracts and employment rights pamphlets in            to implement the national anti-trafficking strategy. However, the
the primary languages of regional labor-source countries; however, all        government did not demonstrate overall increasing efforts compared
contracts were written the same and did not provide position descriptions     with the previous reporting period, even considering the impact of
or speciﬁc details based on the workers’ employment. The government           the COVID-19 pandemic on its anti-trafficking capacity. Authorities
did not ensure the contracts were in the workers’ primary language or         investigated and convicted signiﬁcantly fewer traffickers, marking the
that workers retained a copy of the contract. Although Bruneian law           lowest number of reported investigations and convictions since the
prohibited employers from withholding wages more than seven days or           government has been reporting trafficking data. Courts continued
retaining employees’ passports, foreign embassies continued to report         to issue suspended sentences for most convicted traffickers, which
their citizens commonly experienced both practices. The government            weakened deterrence, did not adequately reﬂect the nature of the crime,
reported pandemic restrictions hindered its ability to conduct anti-          and undercut broader efforts to ﬁght trafficking. Victim identiﬁcation
trafficking roadshows and awareness campaigns. However, a government-         and assistance data remained unreliable and unclear and contained
owned media outlet continued to publish articles, in English and Malay,       duplications from previous years, making it difficult to discern an
on trafficking and labor rights to spread awareness and educate the           accurate picture of the trafficking situation and compare annual data.
public on the rights of foreign workers.                                      Moreover, uncoordinated child protection services persisted, and although
                                                                              authorities identiﬁed 42 child trafficking victims, the government did not
When labor officials inspected worksites, they only required migrant
                                                                              report assisting any of them. Furthermore, despite a non-punishment
workers to show a copy of their passport and visa; authorities did not
                                                                              provision, authorities penalized trafficking victims for crimes traffickers
report ﬁning any employers for not renewing expired workers’ passports
                                                                              compelled them to commit. The lack of resources, legal authority to
held by the employer, compared with 462 employers the previous year,
                                                                              pursue labor trafficking cases, and sufficient training impeded labor
or for labor rights violations, compared with ﬁve employers ﬁned the
                                                                              officials’ ability to enforce laws effectively. Finally, corruption in law
previous year. The government did not take administrative or legal action
                                                                              enforcement and the judiciary continued to hinder progress, and alleged
against employers for passport retention. The government inspected
                                                                              complicity in trafficking crimes persisted with impunity. Therefore
the living conditions of 18 dormitories and required one employer to
                                                                              Bulgaria was downgraded to Tier 2 Watch List.
relocate workers, citing cleanliness and safety issues; the government
did not report conducting any trafficking-related screening during these
inspections. The government continued to oppose foreign governments’                  BULGARIA TIER RANKING BY YEAR

proposals to establish a minimum wage and require that each worker                1
have a position description. Brunei did not have a minimum wage; salary           2
payments were negotiated in individual contracts. The government did            2WL
not provide labor officials with legal guidance to determine the fairness
                                                                                  3
of the contracts. The 2009 Employment Order did not require employers                    2015     2016      2017      2018   2019    2020   2021   2022
to provide a written record of terms to employees not covered under
the order, such as domestic workers and ﬁshing crews. The government
did not make efforts to reduce the demand for commercial sex acts. The
government did not provide anti-trafficking training to its troops prior      PRIORITIZED RECOMMENDATIONS:
to their deployment as peacekeepers. While the government reported            Vigorously investigate, prosecute, and convict traffickers, including
some diplomats attended an anti-trafficking training presented by a           complicit government officials. • Sentence convicted traffickers to
foreign government, it did not report whether it provided regular anti-       signiﬁcant prison terms and ensure they serve those sentences in practice.
trafficking training to its diplomatic personnel.                             • Establish and implement a comprehensive data system for collecting
                                                                              and collating victim identiﬁcation and assistance data and provide
TRAFFICKING PROFILE                                                           comparable annual data that does not include duplications from previous
As reported over the past ﬁve years, human traffickers exploit foreign        years. • Implement the non-punishment provision ensuring trafficking
victims in Brunei. There are approximately 75,000 foreign workers in          victims are not inappropriately incarcerated, ﬁned, or otherwise penalized
Brunei, mainly from Indonesia, the Philippines, Bangladesh, and the PRC.      solely for unlawful acts traffickers compelled them to commit and
Men and women migrate to Brunei primarily for domestic service, retail,       provide guidance to authorities on its application. • Ensure all child
and construction work. Individuals from the PRC may have been forced          victims receive assistance by signiﬁcantly increasing cooperation among
to work in Brunei at projects run by PRC-based companies. Upon arrival,       the various authorities engaged in child protection and the referral of
traffickers exploit some migrant workers through involuntary servitude,       child victims. • Expand labor inspectors’ legal authority to identify and
debt-based coercion, contract switching, non-payment of wages, passport       pursue labor trafficking cases and provide training for inspectors on
conﬁscation, physical abuse, or conﬁnement. Although it is illegal for        recognizing trafficking indicators. • Proactively identify and refer to
employers to withhold the wages from their employees for more than            assistance potential trafficking victims, especially among vulnerable
seven days, some employers withhold wages to recoup labor broker or           populations, such as asylum-seekers, individuals in commercial sex,
recruitment fees or to compel the continued service of workers. Retention     and children in residential care, and provide training for officials on
of migrant workers’ travel documents by employers or agencies remains         victim identiﬁcation. • Issue prosecutorial guidelines redirecting more
a widespread practice, although the law prohibits it. Anti-LGBTQI+            trafficking cases to the National Investigative Service (NIS) to help
laws place some LGBTQI+ individuals at higher risk of extortion and           institute specialization at the pre-trial level. • Introduce a sustainable
psychological coercion, while already being disproportionately vulnerable     ﬁnancial mechanism for victim services and allocate adequate funding for
to trafficking. Traffickers may force some female migrants who arrive in      the victim protection program. • Increase the number of police officers
Brunei on tourist visas into sex trafficking. Some traffickers who exploit    and labor inspectors investigating trafficking crimes, particularly labor
migrants in Malaysia or Indonesia for sex or labor trafficking use Brunei     trafficking crimes. • Enhance efforts to train law enforcement officials,
to transit victims. Trafficking experts in Brunei receive threats from        prosecutors, and judges to understand the severity of sex trafficking
traffickers for their advocacy and involvement in anti-trafficking efforts.   and labor trafficking crimes and their impact on victims. • Provide
                                                                              additional dedicated shelters for trafficking victims and renew contracts
                                                                              for existing shelters. • Provide qualiﬁed legal counsel and courtroom
                                                                              protections for victims assisting prosecutions. • Develop and adopt a
 BULGARIA: TIER 2 WATCH LIST                                                  new 2022-2026 national strategy to combat trafficking and adopt the
                                                                              annual national program to implement the strategy’s activities. • Utilize
                                                                              ﬁnancial assets seized from convicted traffickers to supplement victim
The Government of Bulgaria does not fully meet the minimum standards
                                                                              services and victim compensation.
for the elimination of trafficking but is making signiﬁcant efforts to do
so. These efforts included prosecuting signiﬁcantly more suspected
                                                                              PROSECUTION
traffickers, ordering restitution, and drafting an annual national program
                                                                              The government decreased law enforcement efforts. Articles 159a-159d
for combating trafficking and victim protection with increased funding
                                                                              of the criminal code criminalized sex trafficking and labor trafficking and
                                                                                                                                    Haiti AR_000622         141
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 247 of 729
BULGARIA   prescribed penalties of two to eight years’ imprisonment and a ﬁne for          migration and socioeconomic conditions as well as the pandemic.
           crimes involving adult victims and three to 10 years’ imprisonment and          Furthermore, problems persisted within the judicial system, such as
           a ﬁne for those involving child victims. These penalties were sufficiently      a bureaucratic judicial process that resulted in lengthy trials and the
           stringent and, with respect to sex trafficking, commensurate with               absence of specialized trafficking prosecutors. The random assignment
           penalties prescribed for other serious crimes, such as rape. Overall,           of cases in regional prosecutors’ offices inhibited specialization. The NIS,
           legislative and regulatory processes slowed in 2021 due to political            which employed trained and experienced lawyers, retained the resources
           instability as the country had a caretaker government for seven months,         for specialization, but had limited jurisdiction over trafficking cases.
           the absence of a working parliament, and the pandemic. Pandemic-                Practitioners reported guidelines from the prosecutor general could
           related mitigation procedures and entry requirements hindered law               redirect more trafficking cases to the NIS and help institute specialization.
           enforcement investigations as many trafficking victims remained in              NGOs also reported that overall prosecutors continued to lack knowledge
           their country of exploitation and traffickers’ increasing use of online         in handling trafficking cases and sensitivity toward trafficking victims.
           recruitment and encrypted communications made gathering evidence                According to an NGO, a major challenge to investigating and prosecuting
           for successful prosecutions difficult. Furthermore, while courts remained       labor trafficking cases was the lack of a common understanding among
           open in 2021, judges routinely rescheduled cases, including trafficking         law enforcement and judges about what constituted forced labor. In 2021,
           cases, due to pandemic-related illnesses. During the reporting period,          the National Commission for Combatting Trafficking in Human Beings
           authorities investigated 53 cases (42 sex trafficking, seven labor              (NCCTHB), the agency that coordinated the government’s anti trafficking
           trafficking, four unspeciﬁed), marking a multi-year decline from 74 in          efforts, addressed knowledge gaps by training investigators, prosecutors,
           2020 and 84 in 2019 and the lowest number of reported investigations            judges, and civil society and trade union representatives throughout
           since the government has been reporting trafficking data. Authorities           the year on various topics, such as approaches to investigations and
           prosecuted 77 alleged traffickers (71 sex trafficking, one labor trafficking,   prosecutions, detecting labor trafficking cases, and victim identiﬁcation,
           ﬁve unspeciﬁed), a signiﬁcant increase from 45 in 2020 (73 in 2019).            referral, and assistance.
           Courts convicted 27 traffickers (26 sex trafficking, one labor trafficking),
           a signiﬁcant decrease from 42 in 2020 and 61 in 2019 and the lowest             PROTECTION
           number of reported convictions since the government has been reporting          The government decreased protection efforts. The prosecution service
           trafficking data. Judges sentenced only 11 of 27 convicted traffickers          was responsible for formally identifying potential trafficking victims
           to imprisonment and suspended most convicted traffickers’ sentences,            and, in 2021, reported identifying 416 victims (282 sex trafficking, 107
           which weakened deterrence, did not adequately reﬂect the nature of the          labor trafficking, 27 unspeciﬁed), compared with 413 in 2020. Of the
           crime, and undercut broader efforts to ﬁght trafficking. As in previous         416 identiﬁed victims, 42 were child victims (18 sex trafficking, three
           years, the government did not report the range of prison sentences              labor trafficking, 21 unspeciﬁed), compared with 30 in 2020. Authorities
           imposed on convicted traffickers. Regional police, prosecutors, and courts      identiﬁed one foreign victim (three in 2020). Statistics included victims
           handled cases that did not involve organized crime. The Specialized             from investigations and prosecutions initiated in previous years and
           Criminal Court for organized crime and corruption and its prosecutors’          remained ongoing, raising concerns that the data reported did not
           office presided over and prosecuted trafficking cases involving organized       provide an accurate picture of the trafficking situation. The Council
           crime. The General Directorate for Combating Organized Crime (GDBOP)            of Europe also noted difficulty assessing the scope of the trafficking
           maintained a specialized police unit for investigating trafficking cases        problem as the victim data collection system was not comprehensive
           involving organized crime, primarily international cases. In 2021, GDBOP        or coherent. The NCCTHB also informally collected data on potential
           participated in one new joint investigation team with France and the            victims and, in 2021, reported the same statistics as the prosecution
           assistance of EUROPOL and Eurojust as well as other international               service contrary to previous years. In the past, the NCCTHB’s statistics
           cases. In one case, authorities from Bulgaria and the United Kingdom            signiﬁcantly differed, calling into question why the NCCTHB changed its
           (UK) cooperated on a labor trafficking investigation that resulted in the       methodology. For instance, in 2020, the NCCTHB identiﬁed 60 potential
           arrest of two Bulgarian traffickers who awaited extradition to the UK.          victims, compared with 413 identiﬁed by the prosecution service, and
           According to observers, authorities regularly seized ﬁnancial assets from       the NCCTHB’s statistics reﬂected a multi year decline (94 in 2019 and
           convicted traffickers, but the government did not utilize the proceeds          130 in 2018), which directly contradicted the increase indicated by the
           from those assets to supplement victim services or victim compensation.         prosecution service’s statistics (340 in 2019 and 376 in 2018). Moreover,
                                                                                           the number of victims assisted remained unclear as some victims
           Corruption in law enforcement and the judiciary, impunity or lack of
                                                                                           received assistance from multiple agencies, possibly leading to double
           meaningful sentences for complicit officials, and selective prosecution
                                                                                           counting, and the government did not report whether the numbers
           impeded effective progress. NGOs reported alleged complicity in
                                                                                           were cumulative, like the statistics for identiﬁed victims, thus further
           smaller towns by law enforcement officials who were reluctant to
                                                                                           complicating data consistency. In 2021, the government reported 42
           investigate trafficking cases because they either knew the traffickers
                                                                                           adult victims out of 416 identiﬁed victims (approximately 10 percent)
           or feared retaliation. Additionally, media outlets reported some police
                                                                                           received assistance, compared with 26 adult and child victims in 2020.
           officers took payments to turn a blind eye toward women exploited in
                                                                                           The State Agency for Child Protection (SACP) did not report assisting
           commercial sex. In 2021, authorities arrested a police chief and several
                                                                                           any child trafficking victims in 2021 despite authorities identifying 42.
           subordinates for multiple crimes, including protecting traffickers;
           prosecutors charged the chief and one officer with non-trafficking-related      The national referral mechanism (NRM) outlined the procedures for
           crimes. In another complicity case, Spanish authorities prosecuted the          identiﬁcation, referral, and victim assistance. NGOs alleged some
           mayor of a Bulgarian town and seven accomplices on sex trafficking              authorities did not proactively look for trafficking indicators and
           charges, but the government did not report taking law enforcement               could not effectively identify victims, especially among vulnerable
           action on the case.                                                             groups such as asylum-seekers, migrants, children in residential care,
                                                                                           individuals exploited in commercial sex, and members of the Romani
           Generally, the framework for anti-trafficking legislation was weak,
                                                                                           community. NGOs and international organizations reported stigma
           contributed to ineffective investigations, and resulted in few convictions
                                                                                           and fear of isolation among migrants and cultural issues among the
           or convictions with lenient sentences. In 2021, the government proposed
                                                                                           Romani community created extreme difficulties for all practitioners in
           a reform that would dissolve the specialized courts and prosecutors’
                                                                                           identifying trafficking crimes. Some law enforcement officials viewed
           offices, whose mandate included trafficking cases involving organized
                                                                                           Roma as people who chose a lifestyle that included sexual exploitation
           crime. Experts were split on the merits of the closure of the specialized
                                                                                           and either did not need support or could not be identiﬁed as trafficking
           court system, but at least one expert prosecutor criticized the reform and
                                                                                           victims. Authorities, NGOs, and the NCCTHB referred victims to services.
           lack of political will to address ways to support prosecuting trafficking
                                                                                           While NGOs and international organizations reported greater NRM
           cases and assisting victims, such as amending legislation to lower the
                                                                                           awareness and generally good coordination, some NGOs remarked
           burden of proof required to prosecute trafficking crimes and allow
                                                                                           the referral process was inﬂexible and bureaucratic, citing different
           seized assets from traffickers to fund victim services. NGOs attributed
                                                                                           agencies’ multiple and overlapping requirements. The government
           the decline in prosecutions and convictions to decreased outbound
                                                                                           provided counseling, shelter, and reintegration assistance to domestic

 142                                                                                                                                     Haiti AR_000623
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 248 of 729




                                                                                                                                                              BULGARIA
and foreign victims. In 2021, the government paid 184,357 lev ($106,940)       assess the implementation of the 2017-2021 national strategy. Experts
to NGO service providers for victim health care and psychological and          interviewed government officials, NGOs, and independent observers and
social assistance, compared with 117,560 lev ($68,190). Experts noted          prepared a report with recommendations for the 2022-2026 national
the victim protection program was chronically underfunded, hampering           strategy. Additionally, the NCCTHB published an annual report of the
implementation of a fully-ﬂedged victim-centered approach, and the             government’s anti-trafficking efforts, monitored the activities of the 10
ﬁnancial resources invested did not correspond with the actual needs.          local anti-trafficking commissions, and assessed the quality of services
The government continued contracting NGOs to operate crisis centers            provided at the specialized government-run shelters and crisis centers.
and shelters. The government provided 27 crisis centers (eight for             In 2021, the NCCTHB conducted multiple national awareness campaigns,
adults and 19 for children) for victims of violence, including trafficking.    including a campaign on sex trafficking targeting students and children.
Observers noted the limited number of dedicated shelters for trafficking       The government also participated in an international campaign led by
victims remained problematic with only three throughout the country            EUROPOL and Slovakia, raising awareness of sex trafficking. The NCCTHB
in Burgas, Soﬁa, and Varna. The Burgas shelter remained open after the         maintained a phone line, email, and website for the public to inquire
government extended the contract for another 12 months. The Soﬁa               about or report trafficking-related crimes through which it identiﬁed
shelter contract was set to expire in November 2022. Child victims             129 potential trafficking victims. The Ministry of Justice continued to
could stay in crisis centers for up to six months at which point SACP          support an NGO-run hotline for victims of violence, including trafficking,
could place them with relatives, a foster family, or another residential       allocating 64,980 lev ($37,690), compared with 65,000 lev ($37,700)
care institution. An underdeveloped foster care system often resulted in       in 2020. Separately, the government supported a dedicated NGO-run
SACP placing children in shelters for victims of trafficking or domestic       hotline through burden sharing, such as transportation costs, and
violence. SACP monitored child victims for 12 months with the option           consultative services, including advice on assistance and identiﬁcation,
to extend. A UN special rapporteur report found sexual exploitation            and promoted the hotline through social media. The hotline referred 21
prevalent among children in residential care, particularly children from       trafficking-related cases to authorities who identiﬁed 29 potential victims.
marginalized communities, and a lack of systematic and reliable data           The government made efforts to reduce the demand for commercial
on the scope of the problem. The report also identiﬁed insufficient            sex acts by conducting an awareness campaign aimed at buyers of
cooperation among the various authorities engaged in child protection          commercial sex. In 2021, UNHCR reported cases of violent pushbacks
inhibited provision of assistance to child victims. NGOs also reported         of asylum-seekers and migrants along the borders with Greece and
challenges in the coordination and referral of child victims due to an         Turkey—an illegal practice under international and EU human rights laws
overly bureaucratic approach of child protection officials who sometimes       as well as a practice that potentially increased a persons’ vulnerability
prioritized paperwork over children’s needs. SACP operated the 24-hour         to trafficking, exacerbated distrust of foreign officials, and disallowed
hotline for children. The National Council on Child Protection maintained      for the reporting of any exploitation experienced.
referral services and accommodation for unaccompanied children.
                                                                               Experts noted systemic issues, such as the lack of resources, limited legal
Bulgarian law allowed foreign victims who cooperated with law                  authority to identify and pursue labor trafficking cases, and insufficient
enforcement to stay and work in Bulgaria for the duration of criminal          training that impeded labor officials’ ability to enforce laws effectively.
proceedings before deportation. For foreign victims who chose not to           Bulgarian labor laws prohibited employers and labor agents from
assist in investigations, the government provided a 40-day recovery            charging recruitment fees, withholding identity documents, unilaterality
period (70 days for foreign child victims) before repatriation. Observers      changing employment contracts, and delaying payment of workers’
noted many victims did not cooperate with law enforcement because              wages. NGOs criticized the government for failing to identify and
they did not believe the judicial system would protect them, effectively       prosecute cases of severe labor exploitation, alleging the government
administer justice, or convict perpetrators with meaningful sentences.         focused instead on labor law violations that carried administrative
The law exempted trafficking victims from punishment for unlawful              sanctions. In 2021, the General Labor Inspectorate (GLI) conducted
acts traffickers compelled them to commit; however, practitioners              1,035 inspections of labor recruitment ﬁrms, temporary employment
noted this law did not provide full exemption as force was not always          agencies, overseas companies, employers sending “posted workers” to
applied. Some experts said police generally did not understand that            EU countries, and cases involving foreign workers in Bulgaria; it identiﬁed
people in commercial sex were vulnerable to trafficking or that the non-       3,657 violations and imposed 266 ﬁnes. In addition, GDBOP participated
punishment provision for crime victims could apply to them. According          in international operations to combat labor trafficking, including joint
to media outlets, authorities prosecuted at least two trafficking victims      days for action targeting exploitation in the agricultural industry. During
for commercial sex crimes in 2021. The government provided repatriation        the reporting period, the government continued outreach work on labor
assistance to Bulgarian citizens but had no designated funds, relying on       trafficking, including information sessions and workshops with vulnerable
an international organization or institutions in the destination countries     groups and the development and distribution of information brochures
to cover costs. In 2021, the international organization repatriated 41         to foreign seasonal workers hired at Bulgarian resorts. The Ministry
victims; it was unclear if any of them received government-funded              of Labor and Social Policy maintained labor offices in EU countries
services following their return to Bulgaria. While the law provided free       with large Bulgarian communities and considered high-risk trafficking
legal assistance to victims, qualiﬁed legal aid was difficult to access,       destinations; the offices provided information and advice to job seekers
especially when victims were outside of the jurisdiction of the court          on trafficking and reported cases to the NCCTHB for repatriation.
reviewing the case. The process for seeking compensation remained
                                                                               Since the start of Russia’s full-scale invasion of Ukraine, more than
overly bureaucratic and discouraged victims from ﬁling civil suits. In 2021,
                                                                               200,000 Ukrainian refugees arrived in Bulgaria and nearly 100,000
a court ordered a trafficker to pay 20,000 lev ($11,600) in restitution.
                                                                               remained in country. The government set up a taskforce to process
                                                                               Ukrainian refugees and launched a website with information on legal
PREVENTION                                                                     status, employment, medical assistance, human trafficking, and temporary
The government marginally increased prevention efforts. The NCCTHB
                                                                               protection, among others. As of April 2022, the government granted
continued to implement the 2017-2021 national anti-trafficking strategy
                                                                               temporary protection to 51,291 refugees who, in turn, received access
and drafted the accompanying annual national program for combating
                                                                               to free emergency medical services and access to the labor market. The
trafficking and victim protection with a budget of 461,600 lev ($267,750),
                                                                               Ministry of Health directed the regional health administrations and the
an increase from 440,400 lev ($255,450) in 2020. Political instability
                                                                               emergency centers to organize and coordinate access to healthcare
negatively impacted the work of the NCCTHB, which did not convene
                                                                               for all Ukrainian refugees arriving in Bulgaria. The Ministry of Justice
for more than a year under the two caretaker governments and did not
                                                                               extended free legal aid service to Ukrainian asylum-seekers available in all
execute critical functions, such as extending and renewing contracts
                                                                               regional counseling centers and presented an accelerated naturalization
for victim shelters. Furthermore, the NCCTHB struggled with limited
                                                                               procedure for Ukrainians of Bulgarian heritage. With the assistance of
ﬁnancial and human resources and multiple rotations at the deputy
                                                                               an international organization, the government created anti-trafficking
minister level for most of 2021. NGOs expressed concerns about the lack
                                                                               information and prevention materials targeted at Ukrainian refugees
of high-level government support and public commitment to combating
                                                                               and distributed these through local anti-trafficking coordinators, partner
trafficking and the negative impact it had on the NCCTHB staff. Despite
                                                                               institutions and organizations, and the NCCTHB. In coordination with an
the setbacks, in 2021, the NCCTHB funded an academic institute to
                                                                               international organization, the government trained    state
                                                                                                                                 Haiti     and non-state
                                                                                                                                       AR_000624              143
                   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 249 of 729
BURKINA FASO   frontline responders on victim identiﬁcation. While experts commended          affected areas, including potential trafficking victims. However, the
               the government for its efforts to register and accommodate refugees,           government did not demonstrate overall increasing efforts compared
               they noted the need to focus on long-term contingency planning and             with the previous reporting period, even considering the impact of
               to include comprehensive budgeting that matches resources to needs.            the COVID-19 pandemic, on its anti-trafficking capacity. Substantial
                                                                                              personnel turnover related to the January 2022 coup d’état—followed
               TRAFFICKING PROFILE                                                            by the formation of a transition government—hindered Burkina Faso’s
               As reported over the past ﬁve years, human traffickers exploit domestic        ability to maintain consistent anti-trafficking efforts and accurately
               and foreign victims in Bulgaria, and traffickers exploit victims from          report on the efforts for this reporting period. The government did not
               Bulgaria abroad. Bulgaria remains one of the primary source countries of       report any prosecutions or convictions for the third consecutive year
               human trafficking in the EU. Vulnerable groups include the unemployed,         and did not effectively screen vulnerable populations for trafficking
               children in residential care, individuals in commercial sex, and members       indicators. Shelter and services, especially for adult victims, remained
               of the Romani community. According to the NCCTHB and shelter staff,            insufficient. The national anti-trafficking committee did not meet or
               most victims are individuals with disabilities and those with mental           coordinate anti-trafficking activities. The government did not adequately
               health conditions. Traffickers exploit Bulgarian women and children in         address complicity in trafficking crimes, including allegations local
               sex trafficking throughout Western Europe and in Bulgaria, particularly        officials exploited internally displaced persons (IDPs) in sex trafficking.
               in the capital, resort areas, and border towns. Bulgarians of Turkish          Therefore Burkina Faso remained on Tier 2 Watch List for the second
               ethnicity and Romani women and girls account for most of the sex               consecutive year.
               trafficking victims identiﬁed in Bulgaria. Authorities report an increase
               in internal sex trafficking, which they attribute to international travel
               restrictions resulting from the pandemic. Also due to the pandemic,                     BURKINA FASO TIER RANKING BY YEAR
               traffickers increasingly use the internet and social media to recruit               1
               victims. Traffickers typically recruit and exploit women and girls from             2
               poorer regions of the country. Family- or clan-based organizations and
                                                                                                2WL
               independent traffickers are overwhelmingly of Romani ethnicity and
               usually know the victims, who are also Roma. According to authorities, sex          3
                                                                                                          2015     2016      2017     2018   2019    2020     2021     2022
               trafficking rings typically consist of Bulgarian traffickers who cooperate
               with foreign nationals in destination countries but have no direct ties to
               foreign organized crime groups. Reports indicate a rise in the number
               of cases of women and girls from marginalized communities forced to
               marry third-country nationals. Reports also indicate a growing number          PRIORITIZED RECOMMENDATIONS:
               of cross-border labor trafficking cases. Traffickers exploit Bulgarian men     Increase efforts to investigate, prosecute, and convict traffickers—
               and boys in forced labor across Europe, predominantly in agriculture,          including those who exploit children in forced begging and complicit
               construction, and the service sector. Traffickers exploit Romani children      officials—while respecting due process, and sentence convicted traffickers
               in forced labor, particularly begging and pickpocketing in Austria,            to signiﬁcant prison terms, as prescribed in the 2008 anti-trafficking law.
               France, and Sweden. The majority of labor trafficking victims are of           • Finalize and implement a handover protocol for children associated with
               Romani origin or come from poor regions of the country with high               non-state armed groups in collaboration with international organizations
               levels of unemployment. Traffickers force Bulgarian men with disabilities      and prioritize reintegration of these children. • Develop and ﬁnalize a
               into street begging abroad. Media outlets reported trafficking-related         national action plan to combat trafficking and allocate resources to its
               abuses in the public procurement process, including non-payment or             implementation. • Increase the quantity and quality of services available
               late payment to workers hired by subcontracting companies in the               to all victims, including adults, in coordination with civil society. • Increase
               agriculture, construction, and service sectors. According to NGOs, some        nationwide trafficking data collection on law enforcement and victim
               traffickers use legitimate business structures and employ various methods      identiﬁcation efforts. • Train law enforcement and security officials on
               for evasion, such as fake self-employment and posted work frauds.              the standard operating procedures to identify victims among vulnerable
               Reports indicate an increase in child trafficking cases. NGOs report the       populations, such as women in commercial sex, children associated with
               exploitation of children in small family owned shops, textile production,      non-state armed groups, and Cuban overseas workers, including medical
               restaurants, and construction businesses. A UN special rapporteur              professionals, and refer trafficking victims to protective services. • Train
               report found child sexual exploitation prevalent among children living         law enforcement, prosecutors, and the judiciary on investigating and
               in government-run institutions, particularly children from marginalized        prosecuting trafficking cases. • Increase oversight of labor recruitment
               communities. Asylum-seekers and migrants from Afghanistan, Syria,              agencies and hold fraudulent labor recruiters criminally accountable.
               and Iraq, some of whom may be or may become trafficking victims,               • Increase funding and resources for police and security force units
               transit Bulgaria en route to Western Europe. Thousands of Ukrainian            charged with investigating trafficking crimes. • Strengthen the national
               refugees, predominantly women and children, who are ﬂeeing Russia’s            anti-trafficking committee’s authority to coordinate the government’s
               full-scale invasion of Ukraine and seeking sanctuary in Bulgaria, are highly   anti-trafficking response by providing ﬁnancial and in-kind resources,
               vulnerable to trafficking. Government corruption in law enforcement            convening regular meetings, sharing data, and promoting coordination
               and the judiciary continues to enable some trafficking crimes, and             with regional and provincial sub-committees and the national committee
               officials have been investigated for suspected involvement in trafficking.     on the worst forms of child labor. • Increase public awareness campaigns
                                                                                              on all forms of trafficking, including child forced begging and trafficking
                                                                                              that does not involve movement, in collaboration with civil society.


                BURKINA FASO: TIER 2                                                          PROSECUTION
                                                                                              The government did not report undertaking anti-trafficking law
                WATCH LIST                                                                    enforcement efforts. Articles 511-1 to 511-5 of the penal code criminalized
                                                                                              sex trafficking and labor trafficking and prescribed penalties of ﬁve to 10
                                                                                              years’ imprisonment and ﬁnes of 1 million to 5 million West African CFA
               The Government of Burkina Faso does not fully meet the minimum                 francs (FCFA) ($1,720-$8,590) for offenses involving a victim older than
               standards for the elimination of trafficking but is making signiﬁcant          the age of 15, and 11 to 20 years’ imprisonment and a ﬁne of 2 million to
               efforts to do so. These efforts included establishing child protection units   10 million FCFA ($3,440-$17,190) for those involving a victim 15 years
               in law enforcement offices throughout the country, identifying potential       old or younger. These penalties were sufficiently stringent and, with
               trafficking victims, and continuing its program with Quranic teachers          respect to sex trafficking, commensurate with penalties prescribed for
               to prevent child forced begging. The government, in collaboration              other serious crimes, such as rape.
               with international organizations and foreign donors, implemented a
                                                                                              Insecurity across the country hindered the government’s collection of
               humanitarian response plan to assist vulnerable people in conﬂict-
                                                                                              law enforcement statistics. The government did not report any trafficking
  144                                                                                                                                          Haiti AR_000625
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 250 of 729




                                                                                                                                                               BURKINA FASO
investigations, compared with one investigation during the previous           The government operated two shelters in Ouagadougou for victims of
reporting period. For the third consecutive year, the government did          crime, including trafficking victims; the shelters were open 24 hours per
not report any prosecutions or convictions of traffickers. However, civil     day, provided food and medical assistance, and could accommodate
society and media reported the government prosecuted and convicted            long-term stays for both adults and children. The government did not
at least ﬁve traffickers. Courts reportedly sentenced three traffickers       report the number of trafficking victims, if any, it referred to the shelters.
engaged in unknown forms of exploitation to two years’ imprisonment           Outside of the capital, the Ministry of Women, National Solidarity,
and a ﬁne; two traffickers reportedly received fully suspended sentences,     Family and Humanitarian Action (Ministry of Women) operated 34
which did not serve to deter or adequately reﬂect the nature of the           regional centers for victims of crime that provided short-term services,
crime. Corruption and official complicity in trafficking crimes remained      including psycho-social, and food assistance. These centers operated
signiﬁcant concerns, inhibiting law enforcement action during the year.       during weekly business hours when they had sufficient funding,
Media reported local officials involved in a humanitarian food assistance     although the centers could provide short-term shelter to some adults
program exploited female IDPs in sex trafficking between October 2020         and children when necessary. The centers relied heavily on local NGOs
and May 2021; the reporting alleged local authorities and volunteers          and international organizations for support. When trafficking victims
responsible for registering food aid beneﬁciaries solicited women             outside of Ouagadougou required shelter, authorities nearly always
for sex in exchange for registration. The Minister of Women initiated         placed victims with host families or NGOs. Outside of Ouagadougou,
an investigation of the case but did not report any actions taken by          there were no shelters or services speciﬁcally for adults. Long-term
the end of the reporting period. In the past, authorities alleged some        care for all victims remained inadequate, and service providers lacked
officials exerted pressure over police and the judiciary to drop labor        the funding and resources to support victim services and reintegration.
trafficking cases, especially in the mining sector. In July 2018, a federal   The lack of support subsequently increased victims’ vulnerability to re-
court in New York entered a default judgment against a former Burkina         trafficking. The government worked with international organizations and
Faso diplomat who had been assigned to Burkina Faso’s Mission to the          foreign donors to implement its humanitarian response plan, providing
UN. In October 2019, the court awarded the plaintiff approximately            shelter, food, and essential supplies to millions of vulnerable people in
$784,000. The plaintiff (the diplomat’s former domestic worker) had           conﬂict-affected areas, including potential trafficking victims. The 2015
alleged, among other things, violations of the TVPA and federal and           law on the prevention and repression of violence against women and
state labor laws after his employer allegedly forced him to work long         girls mandated measures for victim support, including the establishment
hours under intolerable conditions. The judgment appears to remain            of free emergency integrated support centers to offer comprehensive
unpaid, and the government did not report taking any actions to hold          services for female victims of violence, including sex trafficking, and
the diplomat accountable for the third consecutive year. Although not         the creation of a government support fund for victims. The government
explicitly reported as human trafficking, an international organization       operated four of these support centers. The government did not report
reported there were two new allegations submitted in 2021 of alleged          how many victims, if any, it referred to the support centers or provided
sexual exploitation with trafficking indicators by Burkinabe peacekeepers     support from the fund.
deployed to the UN peacekeeping mission in the Democratic Republic
                                                                              The 2008 anti-trafficking law and 2018 penal code contained provisions
of the Congo (DRC) in 2021. UN-led investigations into these open
                                                                              to protect victims’ identities and encourage their participation in
cases remained pending, and the government had not yet reported the
                                                                              prosecutions against their alleged traffickers by allowing for closed
accountability measures taken, if any, by the end of the reporting period.
                                                                              sessions to hear victim testimony, excusing victims from appearing
The government established child protection units comprised of law            at hearings, and allowing social workers to accompany child victims.
enforcement and protection actors in offices throughout the country           Victims could access legal services through the government’s legal
to identify and support vulnerable children, including child trafficking      aid fund for vulnerable populations. However, the government did not
victims. Under its 2019 law enforcement cooperation agreement with            report utilizing these provisions during the reporting period. The law
Cote d’Ivoire, Burkinabe and Ivorian security forces conducted joint          allowed victims to obtain restitution, but the government did not report
operations to identify potential trafficking victims. The government          pursuing restitution in any cases. In addition, victims could ﬁle civil suits
also signed a memorandum of understanding to enhance trafficking              against traffickers, but no victims reportedly did so, in part due to lack
cooperation with Nigeria in December 2021. The government did                 of awareness. Foreign victims who faced hardship or retribution in their
not report providing anti-trafficking training to law enforcement or          country of origin could apply for asylum, but there were no reports
the judiciary for the second consecutive year; however, stakeholders          trafficking victims applied for asylum during the reporting period.
reported the government provided some support for an NGO-facilitated
                                                                              Since victim identiﬁcation procedures were not in use nationwide or
training for law enforcement and social workers under the government’s
                                                                              uniformly implemented where in use, officials likely detained some
2019 tripartite agreement with Togo and Benin on transnational child
                                                                              unidentiﬁed victims. The government inappropriately detained 18
trafficking.
                                                                              children ages 12 to 17 years old for alleged association with violent
                                                                              extremist groups, some of whom may have been trafficking victims; 15
PROTECTION                                                                    of the children remained in detention at the end of the reporting period.
The government maintained protection efforts. The government did
                                                                              Authorities held the children in a high security prison separately from
not report identifying any trafficking victims, but one official reported
                                                                              adult detainees and allowed international organizations and NGOs access
authorities identiﬁed at least 399 potential child trafficking victims in
                                                                              to provide specialized care, including legal services. In many cases,
2021. This compared with identifying 380 potential victims, including
                                                                              authorities held detainees, including children allegedly associated with
70 children identiﬁed en route to possible exploitation in mining and
                                                                              violent extremist groups, without charge or trial for longer periods than
310 potential victims identiﬁed as part of the government’s campaign
                                                                              the maximum sentence for the alleged offense; this included terrorism
to remove vulnerable children from the street, including talibés (Quranic
                                                                              cases. Detainees, including children allegedly associated with violent
students) exploited in forced begging, during the previous year; the
                                                                              extremist groups, faced harsh conditions, including inadequate food and
government did not report continuing this campaign. The government
                                                                              water, and poor sanitation, heating, ventilation, lighting, and medical
did not report how many potential victims, if any, it referred to services.
                                                                              care. The government did not ﬁnalize a previously drafted protocol for
Authorities and front-line responders had standard victim identiﬁcation
                                                                              the handover of children associated with non-state armed groups to
and referral procedures in some regions. In addition, the government
                                                                              civilian protection actors for the second consecutive year.
had a case management guide for law enforcement and social service
providers to facilitate the uniform referral of child victims of crime,
                                                                              PREVENTION
including trafficking victims, to care. However, the government did not
                                                                              The government decreased efforts to prevent trafficking. The Ministry
report whether officials used these procedures during the reporting
                                                                              of Women, also responsible for the government’s response to the
period. The government continued to coordinate with an international
                                                                              humanitarian crisis, nominally led the government’s national anti-
organization to screen for trafficking indicators among refugees and
                                                                              trafficking coordination committee. The committee did not meet or
IDPs but did not report identifying any potential victims among these
                                                                              conduct capacity building activities during the reporting period for the
populations.
                                                                              second consecutive year; it continued to lack the resources and a national
                                                                                                                                 Haiti AR_000626               145
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 251 of 729
BURMA   action plan to coordinate the government’s anti-trafficking response         Traffickers exploit children from neighboring countries, including Cote
        and take proactive measures to combat trafficking. Some regional and         d’Ivoire, Ghana, Guinea, Mali, Niger, and Nigeria, in forced labor and
        provincial sub-committees coordinated local efforts and held awareness       sex trafficking. Traffickers fraudulently recruit women from other West
        raising campaigns. However, the sub-committees also lacked resources         African countries for employment in Burkina Faso and subsequently
        and funding for day-to-day operations. The government’s national             exploit them in forced labor in restaurants or domestic service. Traffickers
        coordination committee on the worst forms of child labor, including          recruit Nigerian women and girls for employment in shops and salons
        child trafficking, continued to implement its 2019-2023 national strategy    and instead exploit them in sex trafficking in mining regions, often
        and validated a new 2022-2023 operational action plan.                       through the use of debt bondage. Cuban overseas workers, including
                                                                                     medical professionals, working in Burkina Faso may have been forced
        The Ministry of Women continued its program with Quranic teachers
                                                                                     to work by the Cuban government. Burkina Faso is a transit country for
        to promote child protection and prevent forced begging; to date, the
                                                                                     traffickers transporting children from Mali to Cote d’Ivoire and women
        government partnered with 122 Quranic teachers. The Ministry of
                                                                                     and girls from Cote d’Ivoire to Saudi Arabia; it is a transit country for
        Women operated a hotline to report child abuse and launched a new
                                                                                     Ghanaian migrants traveling to Libya and Italy, some of whom are
        hotline to report gender-based violence, including potential trafficking
                                                                                     trafficking victims.
        cases; the hotlines received more than 436 calls and referred at least 30
        individuals to services. The government did not report any policies to
        regulate labor recruitment or prevent the fraudulent recruitment and
        exploitation of Burkinabe nationals abroad. The government conducted
        labor inspections but could not access all regions of the country due         BURMA: TIER 3
        to insecurity; the government did not report identifying any potential
        trafficking victims during the inspections. The Ministry of Justice, Human   Burma does not fully meet the minimum standards for the elimination of
        Rights, and Civic Promotion worked with international NGOs to deploy         trafficking and is not making signiﬁcant efforts to do so, even considering
        mobile courts to remote villages to issue birth certiﬁcates and national     the impact of the COVID-19 pandemic on its anti-trafficking capacity;
        identity documents to local populations. The government did not              therefore Burma remained on Tier 3. During the reporting period, the
        report any efforts to reduce the demand for commercial sex acts. The         military continued a policy or pattern of use of children and adults
        government did not report providing any anti-trafficking training to its     for forced labor. Despite the lack of signiﬁcant efforts, the regime
        diplomatic personnel. The government, with funding from a foreign donor,     investigated only limited numbers of potential trafficking cases and
        provided anti-trafficking training to its troops prior to their deployment   identiﬁed only a limited number of victims. However, the regime did
        as peacekeepers. However, although not explicitly reported as human          not report prosecution of any military or deposed civilian government
        trafficking, there were two open cases of alleged sexual exploitation        officials involved in the use of adults and children for forced labor, and
        with trafficking indicators by Burkinabe peacekeepers deployed to the        it prevented civil society organizations from providing essential services
        UN peacekeeping mission in the DRC.                                          to trafficking victims. The February 2021 military coup that deposed
                                                                                     the democratically elected government exacerbated conﬂict between
        TRAFFICKING PROFILE                                                          the military and both pro-democracy People’s Defense Force (PDF)
        As reported over the past ﬁve years, human traffickers exploit domestic      groups and ethnic armed organizations (EAOs) throughout the country,
        and foreign victims in Burkina Faso, and traffickers exploit victims
                                                                                     dislocating hundreds of thousands of people—most of them from ethnic
        from Burkina Faso abroad. Traffickers fraudulently recruit Burkinabe
                                                                                     minority communities—and political dissidents, many of whom were at
        children under the pretext of educational opportunities and instead
                                                                                     risk of trafficking as a result of their displacement. Efforts to combat
        exploit them as farm hands, gold panners and washers in artisanal
                                                                                     trafficking declined dramatically after the coup as the military regime
        mines, street vendors, and domestic servants. In some cases, parents
                                                                                     shifted its focus away from other justice sector priorities and toward
        knowingly allow their children to be exploited in domestic servitude
                                                                                     persecution of the pro-democracy opposition. The regime also enforced
        to supplement family income. An international organization estimates
                                                                                     policies that discriminated against its political opposition, Rohingya
        between 200,000-300,000 children work in artisanal mining sites,
                                                                                     communities, and other religious and ethnic minorities, which further
        some of whom may be trafficking victims. Traffickers exploit girls in sex
        trafficking in Ouagadougou and in mining towns. Unscrupulous Quranic         increased their vulnerability to trafficking. The regime likely penalized
        teachers force or coerce talibés to beg in Quranic schools, sometimes        victims for unlawful acts traffickers compelled them to commit.
        with parents’ knowledge. Traffickers transport Burkinabe children—
        including children experiencing homelessness—to Cote d’Ivoire, Mali,                  BURMA TIER RANKING BY YEAR
        Senegal, and Niger for forced labor in artisanal mining, forced begging,          1
        and cocoa production, as well as sex trafficking. Traffickers recruit
                                                                                         2
        women for ostensibly legitimate employment in Lebanon, Qatar, Saudi
        Arabia, and—to a lesser extent—Europe and subsequently exploit them            2WL
        in sex trafficking. Traffickers also exploit Burkinabe women in domestic          3
        servitude in the Middle East. In 2018, an international organization                     2015     2016     2017    2018    2019     2020     2021     2022
        repatriated approximately 588 Burkinabe adults from Libya, some
        of whom traffickers exploited in sex trafficking and forced labor in
        construction and agriculture.
        Between September 2019 and September 2021, the number of IDPs
                                                                                     PRIORITIZED RECOMMENDATIONS:
                                                                                     Cease official involvement in compelling civilians to perform any type of
        in Burkina Faso grew from nearly 300,000 people to more than 1.4
                                                                                     forced labor, including for the military, by enforcing existing prohibitions
        million people, an increase of more than 350 percent. Forcibly displaced
                                                                                     on forced labor and fully implementing associated military command
        persons migrating from rural areas to urban centers are vulnerable to
                                                                                     orders against all forms of forced labor, and by prosecuting, convicting,
        forced labor and sex trafficking. Violent extremist groups exploit women
                                                                                     and imprisoning any officials involved in the practice. • Cease all unlawful
        and children, including IDPs, in forced labor and sex trafficking, and
                                                                                     recruitment and use of children by armed forces, including in non-
        reportedly coerce individuals to carry out attacks and otherwise act as
                                                                                     combatant roles. • Provide legal status to and facilitate high security
        accomplices. Violent extremist groups continued to recruit and use child
                                                                                     official identity documents for stateless persons and other vulnerable
        soldiers during the reporting period, and observers reported instances
                                                                                     populations, including children, to decrease their vulnerability to trafficking.
        of child soldier recruitment are increasing. School closures and regional
                                                                                     • Eliminate restrictions on freedom of movement for all populations in
        and economic instability increase children’s vulnerability to trafficking
                                                                                     Burma, including IDPs, ethnic minority groups, and political dissidents.
        and recruitment by armed groups. Armed groups leverage economic
                                                                                     • Restore cooperation with the United Nations (UN) to facilitate ending
        vulnerability to recruit children, sometimes with familial support, by
                                                                                     the unlawful recruitment or use of children by the military and relevant
        promising large sums of money and gifting motorcycles. Armed groups
                                                                                     EAOs. • Investigate, prosecute, and convict traffickers, including civilian
        also target talibés due to the boys’ lack of economic alternatives.

 146                                                                                                                                 Haiti AR_000627
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 252 of 729




                                                                                                                                                                    BURMA
brokers, military, and other officials complicit in the unlawful recruitment       The regime did not report comprehensive law enforcement data. In 2021,
or use of child soldiers, and impose signiﬁcant prison terms. • Proactively        ATIPD investigated 12 cases involving 39 alleged traffickers: Three cases
identify and protect all trafficking victims, especially those among               involved forced marriage with indicators of sex or labor trafficking; two
communities displaced by conﬂict and internal migrants working in the              cases involved labor trafficking; three cases involved sex trafficking; and
ﬁshing and agricultural sectors. • Train police and immigration, judicial,         one case involved other forms of exploitation. The MOLA did not report
social service personnel on anti-trafficking laws and victim identiﬁcation,        or verify the prosecution status of cases investigated in 2021. The regime
referral, and assistance best practices. • Utilize, widely distribute, and train   reported it convicted 158 individuals with sentences ranging from three
relevant authorities at the national and local levels on standard operating        to 20 years’ imprisonment, but the regime did not disaggregate this data,
procedures (SOPs) on the Return, Reintegration, and Rehabilitation of              and it included cases initiated in prior reporting periods. In comparison,
Victims of Trafficking in Persons. • Prioritize and increase resources for         in 2020, the civilian government initiated 93 trafficking investigations,
victim protection, including victim shelters, provision of services for male       96 prosecutions involving 297 suspects, obtained 201 convictions, and
victims, and reintegration support for former child soldiers. • Amend the          acquitted 22 perpetrators. Unlike in 2020 under the civilian government,
anti-trafficking law to explicitly state that a demonstration of force, fraud,     the regime did not report if it prosecuted brokers for crimes involving
or coercion is not required to constitute a child sex trafficking crime. •         illegal recruitment practices under the Overseas Employment Act. The
Finalize implementing regulations for the Child Rights Law, and in particular      regime reportedly cooperated—in limited ways—with the People’s Republic
those related to accountability for crimes involving the recruitment and           of China (PRC) and Thai government law enforcement agencies along
use of child soldiers. • Reform law enforcement based on human rights              their shared borders with Burma. The regime did not report conducting
principles, including prioritizing the protection of civilians and crime           anti-trafficking trainings for its overseas representatives.
prevention, and human trafficking crimes.
                                                                                   Prominent human rights organizations, the UN, and the pro-democracy
                                                                                   National Unity Government (NUG) documented human rights abuses
PROSECUTION                                                                        committed by the regime throughout the reporting period, including
The regime decreased law enforcement efforts in comparison to the
                                                                                   regime-condoned forced labor. Throughout the reporting period, media
deposed civilian government, as it did not adequately enforce anti-
                                                                                   and other local sources reported cases of the military forcibly using adults
trafficking laws and focused its judicial efforts on suppressing the
                                                                                   and children in roles such as portering, cooking, farming, construction,
population. The regime used the police to undermine the pro-democracy
                                                                                   and human shields. Additionally, international observers reported the
movement and arrested approximately 13,000 people, including some
                                                                                   military continued to use children in combat roles in some instances. In
children, of which 9,000 remained in detention as of March 2022. As a
                                                                                   April and May 2021, regime-controlled media published photos showing
result, the public largely feared interaction with the police and lost faith
                                                                                   regime security forces forcing adults and children at gunpoint to clear
in regime law enforcement entities. Furthermore, under the regime, the
                                                                                   barricades, sandbags, and other debris from urban streets. Local media
Ministry of Legal Affairs (MOLA—formerly the Union Attorney General’s
                                                                                   also reported in December 2021 that the military forced children of
Office) and the Myanmar Police Force (MPF) Anti-Trafficking in Persons
                                                                                   military members—some as young as 12 years old—to participate in
Division (ATIPD) did not continue their respective anti-trafficking law
                                                                                   mandatory military training, including weapons training. As in the previous
enforcement and prosecutorial efforts or their coordination efforts as they
                                                                                   reporting period under the civilian government, the regime also did not
did under the civilian government during the previous reporting period.
                                                                                   report punitive measures for military personnel who subjected adults
Additionally, from June to August 2021, police and judicial offices largely
                                                                                   to forced labor nor did it prosecute civilians involved in the recruitment
closed due to the ongoing pandemic, causing delays in investigations and
                                                                                   of child soldiers. Although there were several credible allegations of sex
trials and impacting the regime law enforcement’s ability to effectively
                                                                                   and labor trafficking committed by complicit officials within the civilian
enforce laws. Escalating conﬂict across the country from October 2021
                                                                                   government during the previous reporting period, the regime did not
to March 2022—due to the military coup—decreased effectiveness of
                                                                                   report if it continued to address these allegations.
regime law enforcement throughout the country.
The 2005 Anti-Trafficking in Persons Law criminalized all forms of labor           PROTECTION
trafficking and some forms of sex trafficking and prescribed penalties of          The regime decreased victim identiﬁcation and protection efforts in
ﬁve to 10 years’ imprisonment and a ﬁne for trafficking crimes involving           comparison to the deposed civilian government. Regime law enforcement
male victims, and penalties of 10 years’ to life imprisonment for trafficking      authorities did not report if they screened for trafficking among vulnerable
crimes involving female or child victims. These punishments were                   populations, including Rohingya, persons in commercial sex, and internally
sufficiently stringent and, with regard to sex trafficking, commensurate           displaced persons (IDPs) despite the displacement of more than 525,000 as
with those prescribed for other serious crimes, such as rape. Inconsistent         of March 2022. Furthermore, regime efforts to screen for trafficking among
with international law, the 2005 Anti-Trafficking in Persons Law required          returning migrant workers was inconsistent and insufficient. The regime did
a demonstration of force, fraud, or coercion to constitute a child sex             not implement or utilize the National SOPs on the Return, Reintegration,
trafficking crime and therefore did not criminalize all forms of child sex         and Rehabilitation of Victims of Trafficking, which were formally adopted
trafficking. The Child Rights Law, enacted in 2019, criminalized all forms         during the previous reporting period under the civilian government.
of child sex trafficking, thereby addressing this gap. The law prescribed          Nevertheless, the regime reportedly identiﬁed 15 sex trafficking victims,
penalties of one to 10 years’ imprisonment and a ﬁne of 1 million to 2             four labor trafficking victims, and one victim of other forms of exploitation.
million kyat ($570-$1,130), which were also sufficiently stringent and             The regime, however, did not report referring or providing protection
commensurate with those prescribed for other serious crimes, such as               services to any of the identiﬁed victims. In comparison, during the previous
rape. The regime made no progress in drafting the necessary implementing           reporting period, the police under the civilian government identiﬁed 118
regulations for the Child Rights Law. Forced labor and the unlawful                trafficking victims.
recruitment and use of children in military non-combatant roles are
                                                                                   Regime authorities likely arrested and detained trafficking victims for
criminal offenses under the 2005 Anti-Trafficking in Persons Law, the
                                                                                   unlawful acts traffickers compelled them to commit. The regime arbitrarily
2012 Wards and Village Tracts Administration Act, Section 374 of the
                                                                                   arrested and detained more than 1,000 children, some of whom may have
Penal Code, and the Child Rights Law. The deposed civilian government
                                                                                   been trafficking victims or child soldiers; most of these children did not
drafted legislation in 2019 to replace the 2005 anti-trafficking law to
                                                                                   have access to a lawyer, and some experienced mistreatment or abuse in
criminalize all forms of trafficking in accordance with international law and
                                                                                   detention. The regime reversed the deposed civilian government’s policy
expand law enforcement mandates for certain interagency stakeholders;
                                                                                   not to charge Rohingya with immigration violations; the regime also issued
however, the regime made no attempt to ﬁnalize the draft legislation
                                                                                   a directive for authorities to resume detention and legal actions against
during the reporting period. The military cited provisions in military law to
                                                                                   the Rohingya, including imprisonment of up to two years with hard labor,
punish individuals who used or recruited children for forced labor in non-
                                                                                   on immigration-related charges. Under this directive, the regime charged
combat roles; punishments included demotions, pension reductions, and
                                                                                   hundreds of Rohingya with such charges during the reporting period.
geographic reassignments, which were disproportionately low compared
to the seriousness of the crime. The military did not adequately enforce its       Unlike the deposed civilian government in the previous reporting period,
own command orders related to forced labor of civilians or child soldiers.         the regime did not provide essential services to domestic or foreign

                                                                                                                                      Haiti AR_000628               147
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 253 of 729
BURMA   trafficking victims nor support civil society organizations that provided        National Action Plan for 2020-2021 on the prevention of death, injury, and
        such services. Many international NGOs and civil society organizations           sexual harassment of children in armed conﬂict. Although the deposed
        were persecuted by the regime or could not partner with the regime,              civilian government granted formal permission to the UN to enter into child
        causing many programs—including provision of care for trafficking                soldier demobilization agreements with EAOs, there was little progress
        victims—to cease or experience severe resource shortages. Furthermore,           on implementation of a joint action plan between the UN and the EAO,
        after the coup, the regime threatened legal aid networks and detained            the Democratic Karen Benevolent Army, in 2021.
        lawyers who provided Pro bono assistance to human rights defenders
                                                                                         According to the 2014 census, approximately one quarter of Burma’s
        and other clients—including potential trafficking victims—which forced
                                                                                         residents lacked access to citizenship or identity documents, signiﬁcantly
        some networks to shut down. Services for trafficking victims remained
                                                                                         increasing their vulnerability to traffickers in Burma and in other countries.
        limited, including shelters and specialized services such as psychosocial
                                                                                         The regime, however, did not provide identity documents or accelerate
        counseling. Shelters operated by the Ministry of Social Welfare, Relief,
                                                                                         citizenship veriﬁcation processes for undocumented Rohingya—as the
        and Resettlement (MSWRR) experienced staffing gaps, including lack
                                                                                         civilian government did during the previous reporting period—thus
        of case managers and experienced social workers, which negatively
                                                                                         exacerbating their vulnerabilities to trafficking. Regime policies limiting
        impacted the care trafficking victims received at the shelters; some
                                                                                         freedom of movement in some jurisdictions continued to hinder access to
        shelters closed because of expanding conﬂict and the pandemic. The
                                                                                         employment and education for some communities, especially in IDP camps
        MSWRR did not report providing direct assistance to trafficking victims,
                                                                                         housing Rohingya and other ethnic minority groups, further aggravating
        whereas during the previous reporting period it provided assistance to
                                                                                         economic conditions that may have contributed to individuals pursuing
        331 victims. The government-maintained labor attachés in Malaysia,
                                                                                         irregular migration and employment channels known to engender forced
        Republic of Korea, and Thailand whose responsibilities included assisting
                                                                                         labor and sex trafficking. Unlike in the previous reporting period, the
        trafficking victims abroad. The regime did not institute measures to
                                                                                         regime did not investigate cases involving brokers or labor recruiters
        protect children from being used by the military in combat roles nor did
                                                                                         suspected of illegal recruitment practices under the Overseas Employment
        it protect children and adults from being recruited and used for forced
                                                                                         Act. The regime outlawed most major labor unions, persecuted labor
        labor by military and civilian brokers and recruiters. The Central Body
                                                                                         activists, and took steps to undermine the tripartite labor mechanism.
        for Suppression of Trafficking in Persons (CBTIP)—the anti-trafficking
                                                                                         The regime maintained a memorandum of understanding (MOU) with
        interagency coordinating body—continued to be in charge of the Central
                                                                                         Thailand to facilitate labor recruitment into the Thai ﬁshing sector through
        Fund for Trafficking Victim Support to coordinate disbursement of funds
                                                                                         a formalized, government-to-government hiring process. However, official
        for victim assistance, but it did not report how much it disbursed. The
                                                                                         overseas recruitment agencies suspended operations due to the pandemic.
        CBTIP reportedly provided approximately $5,620 to 10 trafficking victims
                                                                                         Nevertheless, most vessel owners continued to staff their crews through
        in ﬁscal year 2021 (October 1, 2020-September 30, 2021), but it did not
                                                                                         unregulated and unlicensed Thai and Burmese intermediaries charging
        provide the details of the assistance provided. The regime did not report
                                                                                         high recruitment fees that continued to place Burmese ﬁshermen at risk
        if the justice sector supported victim participation in the investigation and
                                                                                         of debt-based coercion into forced labor. The regime did not prohibit
        prosecution of alleged traffickers. The regime did not report if it continued
                                                                                         worker-paid recruitment fees, which created vulnerabilities to trafficking
        to implement a court program, which was initiated in 2019, that allowed
                                                                                         among migrant workers. Moreover, the regime’s process to issue work
        video testimony for victims. The regime—like the civilian government in
                                                                                         certiﬁcates to Thai migrant workers required workers to pay exorbitant
        the previous reporting period—did not provide legal alternatives to the
                                                                                         fees to brokers and regime representatives to renew their certiﬁcates;
        removal of foreign victims to countries where they may face hardship or
                                                                                         corruption was reportedly rampant within the program.
        retribution, nor did it provide temporary legal status to any foreign victims.
                                                                                         TRAFFICKING PROFILE
        PREVENTION                                                                       As reported over the past ﬁve years, human traffickers subject adults
        The regime decreased efforts to prevent trafficking in comparison to the
                                                                                         and children to forced labor and women and children to sex trafficking,
        civilian government. The CBTIP was largely ineffective in its anti-trafficking
                                                                                         both in Burma and abroad. Since 2020, the pandemic continues to cause
        efforts; it did not report the number of times it met during the reporting
                                                                                         thousands of economic migrants to return to Burma from abroad, while
        period. The regime did not report if it implemented or provided funding
                                                                                         traditional cross-border migration to Thailand and the PRC decreased
        for the 2017-2021 national plan of action to combat human trafficking;
                                                                                         because of travel restrictions and border closures, which limited irregular
        the plan ended in December 2021, and the regime did not report efforts
                                                                                         migration. Additionally, the economic devastation and sharply deteriorating
        to develop a new action plan. Overall awareness raising decreased under
                                                                                         political stability caused by the coup created new patterns of economic
        the regime compared to the previous reporting period. CBTIP reportedly
                                                                                         migration in the country, displaced hundreds of thousands of people, and
        posted 31 anti-trafficking billboards across 17 townships and published
                                                                                         increased ﬁnancial hardship for a wide swatch of the country, which created
        articles and other anti-trafficking messages in regime-controlled media.
                                                                                         increasing vulnerabilities to trafficking. As of June 2021, more than 114,000
        In comparison, the civilian government organized 417 awareness raising
                                                                                         internal migrant workers left Yangon because of the conﬂict and loss of
        campaigns during the previous reporting period. The regime hosted the
                                                                                         livelihood and returned to Rakhine State and the Ayeyarwady region.
        ninth annual Anti-Trafficking in Persons Day in September 2021, during
                                                                                         Conﬂict in Chin, Kayah, and Karen States led civilians to ﬂee to Thailand
        which the minister for home affairs delivered public remarks. The ATIPD
                                                                                         and India, where they risk exploitation. Burmese economic migrants,
        continued to operate nine anti-trafficking hotlines, but it did not report if
                                                                                         including Rohingya, continue to migrate to Thailand and other parts of
        calls to the hotline resulted in the identiﬁcation of any victims or criminal
                                                                                         southeast Asia via irregular channels; these migrants are vulnerable to
        investigations; civil society organizations reported in December 2021
                                                                                         trafficking because of their irregular or illegal immigration status. Civil
        that the hotlines did not function in practice. In comparison, during the
                                                                                         society partners reported in 2021 an estimated 500 Vietnamese women
        previous reporting period under the civilian government, ATIPD received
                                                                                         in commercial sex in Wa State Special Administrative Region, an area with
        1,326 calls through its hotlines, which led to one trafficking investigation.
                                                                                         minimal regime control; some of these women reported indicators of sex
        The national forced labor complaints mechanism, which went into effect
                                                                                         trafficking. Similar media reports involving Thai and Malaysian women
        in February 2020, did not function during the reporting period, and the
                                                                                         continue to surface related to the Shwe Ko Ko casino on the Burmese
        regime stopped publishing data about complaints received through its
                                                                                         border with Thailand.
        public website. The regime did not take steps to reduce the demand for
        commercial sex acts or child sex tourism. It did not provide anti-trafficking    Years of violence and ethnic conﬂict in Rakhine State continues to drive
        training for diplomats and labor attaches.                                       out migration of Rohingya, many of whom are at high risk of sex and
                                                                                         labor trafficking—especially via transport to other countries for economic
        The regime did not take efforts to prohibit or prevent the forcible use of
                                                                                         migration. Children in Kachin and northern Shan States are particularly
        children and adults in non-combat roles, such as portering, cooking, camp
                                                                                         vulnerable to sex traffickers operating near the PRC border. In Kachin,
        maintenance, and farming, nor did it enforce a 2014 directive prohibiting
                                                                                         displaced women and girls are also vulnerable to sex and labor trafficking,
        the use of children by the military. The regime ceased all cooperation
                                                                                         including forced concubinism—leading to forced childbearing—via forced
        and coordination with the UN to implement the UN joint action plan on
                                                                                         or fraudulent marriages to PRC national men arranged by deceptive or
        the recruitment and use of children. The regime did not report on any
                                                                                         coercive brokers who use fraudulent offers of employment or promises
        substantive efforts to implement the deposed civilian government’s
 148                                                                                                                                    Haiti AR_000629
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 254 of 729




                                                                                                                                                                BURUNDI
of a better life. Traffickers recruit victims through in-person connections,    wage garnishing and withholding, forced and arbitrary cost-sharing of
digital platforms, and—increasingly, due to the pandemic—social media. An       pesticides, penalty fees, coerced overtime, identity document retention,
academic study from 2019 found that 2,800 out of 5,000 Kachin and Shan          and restricted freedom of movement on banana plantations in Kachin
women returning to Burma after experiencing forced marriage in the PRC          State. Communities displaced by environmental degradation resulting
had been subjected to forced childbearing. Migrant smuggling and human          from the establishment and operation of these plantations, which are
trafficking networks reportedly target girls living in Rakhine IDP camps        often PRC-owned, are also vulnerable to trafficking, including on lands
and subject them to forced labor and sex trafficking in Malaysia. Absent        they previously occupied and through internal economic migration to
oversight and enforcement measures in non-government-controlled                 other parts of the country. In Kachin State, adults and children are also at
areas, often in border zones, women and girls from these border regions         risk of forced labor in jade prospecting throughout refuse areas created
and elsewhere in Southeast Asia may be vulnerable to sex trafficking in         by larger mining operations, as well as in road and dam construction.
casinos and Special Economic Zones owned or operated by EAOs and                A majority of these prospectors are reportedly addicted to opiates or
PRC and Thai companies. Criminals in EAO-controlled areas reportedly            methamphetamines, which some traffickers—including members of
force children, especially boys, to serve as drug mules in Shan, Kachin,        EAOs and government-supported militias—may intentionally facilitate
and Karen States.                                                               and exploit to retain their labor. Crime syndicates subject women and
                                                                                girls to sex trafficking in massage parlors located in close proximity to
Military personnel, civilian brokers, informal civilian intermediaries,
                                                                                these refuse mining areas, often in partnership with local government
military-backed militias, border guard forces, and EAOs continue to
                                                                                and law enforcement officials. Forced eviction from new mining sites
unlawfully recruit or use child soldiers, particularly children from ethnic
                                                                                and resulting economic hardships make some communities in Kachin,
minority groups. International observers reported in 2021 that the military
                                                                                Shan, and Karen States more vulnerable to trafficking. The government
continues to use children in support roles; the formal recruitment and
                                                                                operates as many as 47 prisons and 48 labor camps called “agriculture and
use of children for combat roles remains low. Civilian recruiters in some
                                                                                livestock breeding career training centers” and “manufacturing centers,”
cases coerce or offer incentives to children or their families through false
                                                                                respectively. The labor camps house thousands of inmates across the
promises about working conditions, salary, and promotion opportunities.
                                                                                country, likely including some political prisoners. Eighteen of these camps
EAOs force men and boys to serve through intimidation, coercion, threats,
                                                                                feature government-managed mining operations. According to previous
arbitrary taxation, and violence. Some EAOs abduct or recruit children,
                                                                                limited reporting, authorities at times may subject these incarcerated
including from IDP camps, to ﬁght against the military. The military has
                                                                                populations to unlawful prison labor or conditions with indicators of
employed the same tactics in the past, although most children identiﬁed
                                                                                forced labor for private gain.
in military service initially enter under the auspices of civilian brokers or
enlist at the behest of their own families. The military, informal civilian     Traffickers subject children to sex trafficking or to forced labor, at times
brokers, and some EAOs also use deception and various forms of coercion,        through debt-based coercion, in teashops, small businesses, the agricultural
including threats of ﬁnancial and physical harm, to compel adult victims        and construction sectors, in domestic work, and in begging. A small number
into short-term forced labor. Under the auspices of the legacy counter-         of foreign child sex tourists exploit Burmese children. Discriminatory
insurgency strategy of “self-reliance,” some military authorities in areas      enforcement of laws places some LGBTQI+ individuals at higher risk of
with active conﬂict subject members of local populations—mostly men,            extortion and psychological coercion by law enforcement. Discriminatory
but also women and children—to forced labor in portering, construction,         hiring practices complicate access to formal sector employment for
cleaning, cooking, and public infrastructure projects. Since the February       LGBTQI+ individuals and persons diagnosed with HIV/AIDS, forcing
2021 coup, similar tactics have been used across the country, including         some to seek opportunities in unregulated sectors known for trafficking
in majority Bamar regions.                                                      vulnerabilities—particularly among transgender persons in commercial sex.
Traffickers subject Burmese males transiting Thailand en route to Indonesia
and Malaysia to forced labor, primarily in ﬁshing and other labor-intensive
industries. Recruitment agencies in Burma and other Southeast Asian
countries lure ﬁshermen with promises of high wages, and then charge             BURUNDI: TIER 2
fees, and curtailment deposits to assign them fake identity and labor
permit documents while sending them to ﬁsh long hours in remote                 The Government of Burundi does not fully meet the minimum standards
waters on vessels operating under complex multinational ﬂagging and             for the elimination of trafficking but is making signiﬁcant efforts to do so.
ownership arrangements. Senior crew aboard vessels in the Thai and              The government demonstrated overall increasing efforts compared with
Taiwanese ﬁshing ﬂeets subject some Burmese men to forced labor                 the previous reporting period, considering the impact of the COVID-19
through debt-based coercion, passport conﬁscation, contract switching,          pandemic on its anti-trafficking capacity; therefore Burundi was upgraded
wage garnishing and withholding, threats of physical or ﬁnancial harm,          to Tier 2. These efforts included increased investigations, prosecutions,
or fraudulent recruitment; they also subject some to physical abuse and         and convictions of trafficking crimes, including investigating, and
force them to remain aboard vessels in international waters for years at        arresting allegedly complicit officials. The government established
a time without coming ashore. Informal brokers also lure Burmese men            the new Consultation and Monitoring Commission on Prevention and
onto offshore ﬁshing and shrimping rafts in Burmese waters, where               Repression of Trafficking in Persons (National Commission on Trafficking)
traffickers conﬁne and physically abuse them to retain their labor for          to lead the government’s anti-trafficking efforts. It identiﬁed more
months at a time. There are some reports of boys subjected to forced            trafficking victims among Burundian migrants abroad compared to
labor in Burma’s ﬁshing industry as well. Companies operating under             the previous year and supported their repatriation, and it referred
the auspices of the Japanese government’s “Technical Intern Training            all identiﬁed victims to care. The government ﬁnalized and began
Program” have exploited Burmese nationals in forced labor in food               to implement interim standard operating procedures (SOPs) to
processing, manufacturing, construction, and ﬁshing.                            systematically identify and refer trafficking victims to appropriate
                                                                                care. It continued to operate a dedicated trafficking hotline, which led
Traffickers subject members of Burma’s vulnerable populations to sex
                                                                                to the identiﬁcation of potential trafficking cases. The government
trafficking and forced labor in seasonal strawberry and longan harvesting,
                                                                                also took steps to increase protections for Burundian migrants abroad,
year-round orange farming, manufacturing in registered and unregistered
                                                                                including by establishing bilateral agreements with the Kingdom of Saudi
factories, and construction of roads and city government facilities across
                                                                                Arabia (KSA). However, the government did not meet the minimum
the border in northwestern Thailand. Traffickers use deceptive recruitment
                                                                                standards in several key areas. The government did not identify any
tactics and immigration status-based coercion to subject migrant workers
                                                                                trafficking victims in Burundi and largely relied on international and
from Shan State to forced labor on sugarcane plantations in the PRC’s
                                                                                non-governmental partners to provide victim assistance. It did not
Yunnan Province. Illegal logging operations near the PRC border may
                                                                                develop a new national action plan (NAP). A lack of officials’ awareness
subject local communities to forced labor. Local traffickers use deceptive
                                                                                on the trafficking law and the difference between migrant smuggling
tactics to recruit men and boys into forced labor on oil palm and rubber
                                                                                and human trafficking continued to impede successful investigation
plantations; in bamboo, teak, and rice harvesting; and in riparian ﬁshing.
                                                                                and prosecution of trafficking crimes.
IDPs from the Sagaing, Bago, Irrawaddy, Mandalay, and Tanintharyi regions,
as well as from Shan and Rakhine States, experience contract discrepancies,
                                                                                                                                  Haiti AR_000630               149
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 255 of 729
BURUNDI                                                                                      remained pending. In February 2021, the government collaborated
                   BURUNDI TIER RANKING BY YEAR                                              with the Kenyan government to investigate and extradite a Burundian
               1                                                                             diplomatic official accused of trafficking 89 Burundians. The government
               2                                                                             reported it dismissed, arrested, and detained the official in prison until
            2WL                                                                              May 2021, when conditional release was granted while awaiting trial; the
                                                                                             case remained pending at the end of the reporting period. Observers
               3
                                                                                             alleged trafficking networks included officials handling passport and
                     2015      2016      2017     2018   2019    2020     2021     2022
                                                                                             travel documents at the Commissary General of Migration, a division of
                                                                                             the Ministry of Interior.
                                                                                             The government maintained a data collection system on law enforcement
          PRIORITIZED RECOMMENDATIONS:                                                       efforts to combat human trafficking, which included information compiled
          Proactively identify trafficking victims by screening for trafficking indicators   from courts, magistrates, and prosecutors from all 18 provinces. However,
          among vulnerable populations. • Continue increasing efforts to investigate,        the government’s capacity to update and analyze the data was limited,
          prosecute, and convict traffickers, including officials complicit in trafficking   and observers reported additional resources and training were needed
          crimes. • Finalize and implement SOPs on victim identiﬁcation and referral         for the data collection system to be fully effective. The government
          to care and train officials on the new procedures. • In partnership with           reported the Ministry of Justice had 58 anti-trafficking coordinators
          NGOs, expand protective services for victims, including by allocating              located throughout the country to oversee communication between
          resources and providing separate shelters for children and adults. • Increase      government agencies and coordinate law enforcement procedures on
          training for law enforcement and judicial officials on the trafficking law         trafficking cases. The government trained 280 police officers from the
          and investigating and prosecuting trafficking cases, and ensure trafficking        Judicial Police on topics such as trafficking victim identiﬁcation and
          cases are distinguished from migrant smuggling. • Develop a national-level         investigation procedures for human trafficking cases. The government
          data collection system on victim identiﬁcation, protection, and referral           provided anti-trafficking training to government officials in partnership
          efforts. • Develop and implement strong regulations and oversight of               with an international organization, including 191 judges, 14 diplomatic
          labor recruitment companies that are consistently enforced, including              staff, 34 newly nominated Burundian diplomats, and 250 police officers.
          eliminating recruitment fees charged to migrant workers, and holding               The government continued to distribute the 2014 anti-trafficking law
          fraudulent labor recruiters criminally accountable. • Draft, ﬁnalize, and          (translated into Kirundi) to law enforcement, magistrates, and judicial
          implement a NAP to combat trafficking. • Digitalize the Judicial Police            officials in all provinces.
          record keeping system to better manage and follow up on trafficking cases.
                                                                                             Although the government increased training for law enforcement and
                                                                                             immigration officials during the reporting period, government officials
          PROSECUTION                                                                        reported a lack of awareness on the trafficking law, as well as a lack of
          The government increased law enforcement efforts. Burundi’s 2014
                                                                                             understanding on the difference between migrant smuggling and human
          Counter-Trafficking Law criminalized sex trafficking and labor trafficking.
                                                                                             trafficking, which impeded successful investigation and prosecution of
          The law prescribed penalties of ﬁve to 10 years’ imprisonment and a
                                                                                             trafficking crimes. Authorities appeared to dismiss trafficking cases on the
          ﬁne of 100,000 to 500,000 Burundian francs ($50 to $250), and in
                                                                                             grounds that parents of victims permitted their children to be recruited
          cases involving children, the law prescribed penalties of 10 to 15 years’
                                                                                             for work inside and outside the country; law enforcement often failed
          imprisonment and a ﬁne of 500,000 to 2 million Burundian francs ($250
                                                                                             to recognize trafficking indicators in these instances, creating obstacles
          to $1,010). These penalties were sufficiently stringent and, with respect
                                                                                             for successful convictions. Observers reported many arrests were not
          to sex trafficking, commensurate with those prescribed for other serious
                                                                                             elevated to prosecution because of insufficient evidence, corruption,
          crimes, such as rape.
                                                                                             and interference of high-ranking officials. The government reported
          The government investigated 92 new cases during the reporting period               the pandemic continued to hinder law enforcement’s ability to collect
          (72 for forced labor, eight for sex trafficking, and 12 involving unspeciﬁed       evidence, including victim testimony, during trafficking investigations
          exploitation), compared with 32 cases in 2020 and eight cases in 2019,             due to limitations on in-person meetings. The government also reported
          and continued three investigations initiated in the previous reporting             limited capacity to shift meetings online due to low internet access and
          period. The government initiated prosecution of 42 new cases during the            internet disruptions throughout the country. Additionally, the government
          reporting period, compared with 28 cases in 2020 and 11 cases in 2019,             reported that existing language barriers made participation difficult in
          and continued ﬁve prosecutions initiated in the previous reporting period.         some online trainings.
          The government convicted nine traffickers during the reporting period
          compared with three in 2020. The government reported four traffickers              PROTECTION
          were sentenced to seven years in prison and a ﬁne of 200,000 Burundian             The government made mixed protection efforts. The government identiﬁed
          francs ($100) and damages of 300,000 francs ($150), three traffickers              194 human trafficking victims, all Burundi nationals identiﬁed abroad,
          were sentenced to ﬁve years in prison, and two traffickers were sentenced          which included 193 forced labor victims and one sex trafficking victim,
          to two years’ imprisonment on child trafficking charges. Law enforcement           compared with 174 victims, including 45 identiﬁed abroad and 129 identiﬁed
          reported collaborating with foreign officials in Saudi Arabia, Tanzania, and       in Burundi in 2021. The government did not report identifying any victims
          Uganda on trafficking cases. The government collaborated with Tanzanian            in Burundi, which was a signiﬁcant decrease from those identiﬁed in the
          officials in support of a prosecution of two alleged traffickers involving         previous reporting period. The government collaborated with foreign
          two Burundian boys; the government provided accommodation and                      governments to repatriate all 194 victims, including 130 from Saudi Arabia
          witness protection for the victims to remain in Tanzania and participate           and the remains of a victim who reportedly died from mistreatment in
          in the judicial proceedings before being repatriated. The government               Saudi Arabia. The government provided consular and legal assistance
          sent diplomatic notes to the Ugandan, Tanzanian, Rwandan, and Kenyan               to these victims, including providing travel documents and facilitating
          governments to increase screening for trafficking among Burundian                  their return and reintegration into their home communities. International
          migrants traveling to Gulf countries in April 2021.                                organizations identiﬁed 1,380 potential trafficking victims during the
                                                                                             reporting period compared with 428 in 2021. The government reported
          The government increased criminal investigations, prosecutions, and
                                                                                             all identiﬁed victims were referred to government and NGO-run shelters
          convictions of officials complicit in trafficking crimes; however, corruption
                                                                                             for care and assistance, compared with 174 victims referred in the previous
          and official complicity in trafficking crimes remained signiﬁcant concerns
                                                                                             reporting period. The government continued to draft formal SOPs for
          during the reporting period. The government reported taking disciplinary
                                                                                             victim identiﬁcation and referral to care; however, in collaboration with
          actions against ﬁve police officials suspected of providing travel documents
                                                                                             local and international partners, the government developed interim
          to potential trafficking victims in June 2021. Observers reported the
                                                                                             procedures and began implementation during the reporting period.
          government charged the ﬁve officers with crimes related to trafficking
          and received 15 days’ suspension and disciplinary transfers, although              The government provided comprehensive care services, in collaboration
          they remained free on conditional release while the investigations                 with international organizations and NGOs, for identiﬁed trafficking

 150                                                                                                                                      Haiti AR_000631
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 256 of 729




                                                                                                                                                                    BURUNDI
victims, including temporary shelter, medical and psychosocial care, legal        The government continued its partnership with an international
assistance, and education and training to victims at ﬁve centers located in       organization to implement a three-year national anti-trafficking program.
Bujumbura, Muyinga, Rumonge, Gitega, and Cibitoke provinces. In addition          The Ministry of Interior, Community Development, and Public Security
to these ﬁve centers, the government used other centers, including IDP            conducted anti-trafficking awareness activities for local administrators. The
sites, as temporary shelters for trafficking victims repatriated from abroad.     government, in partnership with an international organization, conducted
In partnership with an international organization, the government provided        awareness campaigns in the Makamba, Rumonge, and Muyinga regions,
tailored assistance to trafficking victims ranging from immediate and basic       where the majority of trafficking victims originate. The inter-ministerial
needs to reintegration through income generating activities. Access to            anti-trafficking committee operated a dedicated hotline for human
services were largely limited to only these ﬁve centers requiring victims         trafficking victims, which identiﬁed 33 cases involving potential victims
to travel to the provinces where the centers are located. To offset travel        abroad. Law enforcement operated a 24-hour hotline for potential victims
expenses to the centers, the government and its partners provided ﬁnancial        of crime, including victims of human trafficking, though the government
assistance to victims. The government reported offering the option for            did not report whether the hotline received any calls related to suspected
victims to remain in shelters to ensure their security for especially sensitive   trafficking cases. Additionally, the government operated a hotline for
cases. The government did not provide separate shelters for children and          victims of human rights violations, including trafficking in persons.
adults. The government did not operate any shelters speciﬁcally dedicated         Hotlines accommodated Kirundi, French, and Kiswahili speakers and the
to trafficking victims; however, the government continued to operate              government advertised the toll-free numbers via media outlets, billboards,
Humura Center in Gitega, which offered protection services to foreign and         and during government workshops and training sessions.
domestic victims of sexual abuse, gender-based violence, and trafficking.
                                                                                  The government, for the ﬁrst time, passed a comprehensive law on
The government collaborated with NGOs to offer temporary and long-term
                                                                                  immigration in November 2021, which will regulate immigration and
shelter, medical care, ﬁnancial assistance, training for income-generating
                                                                                  emigration matters, including by providing protections for vulnerable
activities, legal assistance, family reuniﬁcation, community and school
                                                                                  migrant populations and defining government agencies’ various
reintegration, and guidance on engaging with law enforcement. An NGO-
                                                                                  responsibilities. In January 2021, the Ministry of Labor suspended all
run center in Bujumbura offered medical and psycho-social assistance
                                                                                  labor recruitment agencies in an effort to protect citizens from traffickers,
as well as legal assistance to victims of various abuses, including human
                                                                                  which remained in effect at the end of the reporting period; however,
trafficking. There were four additional NGO-run shelters that trafficking
                                                                                  such an approach may have increased vulnerability to trafficking for
victims could utilize; all NGOs operated with little to no funding from
                                                                                  intending migrant workers by eliminating formal recruitment channels.
the government.
                                                                                  The government did not have effective policies or laws regulating labor
The government reported victims were not required to participate in               recruiters. Observers noted the government’s ability to regulate labor
law enforcement investigations to access protection services and the              recruitment companies and ensure they are not engaging in trafficking
government took steps to ensure victims’ identities were held conﬁdential         remained a signiﬁcant concern. In December 2020, the Council of Ministers
during the subsequent investigation process. The government reported              announced recommendations to prosecute labor recruitment agencies
police and local administrators escorted victims to their respective              complicit in human trafficking; the government did not report prosecuting
families and provided protection on the way. In addition, the delegation          such agencies. The government participated in discussions with the
provided advice to families on how to take care of the victims and mitigate       Kingdom of Saudi Arabia to establish bilateral agreements to enhance
potential discrimination or stigma from their communities. The government         protections for migrant workers; in October 2021, the government signed
reported victims were presented with alternatives to speaking with law            two bilateral agreements with the KSA. The government reported it
enforcement during investigations. The government offered limited funds           began discussions with Qatar, and the United Arab Emirates (UAE) to
to some NGOs for victims’ assistance.                                             establish similar bilateral agreements on migrant worker protections.
                                                                                  The government increased border security and surveillance to identify
The 2016 law for the protection of witnesses, victims, and the vulnerable
                                                                                  and deter traffickers who cross via unofficial border crossings. The
outlined provisions for the protection of witnesses and victims; the
                                                                                  government increased efforts to reduce the demand for commercial
government reported providing witness protection support to 194
                                                                                  sex acts by increasing inspections and control of documents for adults
victims during the reporting period, compared with 123 witnesses during
                                                                                  traveling with children. Additionally, the government reported that it
the previous reporting period. Labor laws continued to lack sufficient
                                                                                  continued to apply the 2020 law on social protection in its domestic and
protection for domestic workers or employees in the informal economy,
                                                                                  global supply chains, including insurance and social security provisions.
leaving the population vulnerable to trafficking. Burundian law allowed
                                                                                  The government provided anti-trafficking training to its diplomatic staff,
prosecutors to request restitution in trafficking cases. The government
                                                                                  and 34 diplomats and other staff members of Burundi’s embassies. The
reported one case where restitution of an undisclosed amount was
                                                                                  government provided anti-trafficking training to its troops prior to their
ordered; however, the government did not report if the victim received
                                                                                  deployment.
any amount of restitution by the end of the reporting period. Due to a
lack of formal identiﬁcation procedures, authorities may have detained
some unidentiﬁed trafficking victims related to criminal acts traffickers
                                                                                  TRAFFICKING PROFILE
                                                                                  As reported over the past ﬁve years, human traffickers exploit domestic
compelled them to commit. The law provided foreign trafficking victims
                                                                                  and foreign victims in Burundi and traffickers exploit Burundian victims
with legal alternatives to their removal to countries where they may face
                                                                                  abroad. Burundi continued to be a source country for victims who are
hardship or retribution, subject to judicial decision, and allowed the
                                                                                  subjected to forced labor and sex trafficking, both within the country and
government to grant temporary residency. The government did not report
                                                                                  in destinations in East Africa, particularly Tanzania, Kenya, and Uganda,
identifying any foreign victims who could beneﬁt from this protection
                                                                                  which can be ﬁnal destinations or often serve as transit points to Gulf
during the reporting period.
                                                                                  countries such as Saudi Arabia, Oman, the UAE, and Kuwait. Observers
                                                                                  reported most traffickers now use land and public transport to leave
PREVENTION
                                                                                  Burundi and then ﬂy from the neighboring countries to destination
The government maintained prevention efforts. The government’s
                                                                                  countries. As the result of a complex political, economic, and security
inter-ministerial anti-trafficking committee led anti-trafficking policy
                                                                                  crisis that began in 2015, by March 2022, more than 259,376 Burundians
coordination and collaboration with civil society; however, its ability to
                                                                                  remained in neighboring countries as refugees, including but not limited
drive national anti-trafficking efforts continued to be limited by resource
                                                                                  to Tanzania, Uganda, Rwanda, and the Democratic Republic of the
constraints. In January 2022, the government established the National
                                                                                  Congo (DRC). Throughout 2021, an international organization continued
Commission on Trafficking, mandated by the 2014 Anti-Trafficking Act,
                                                                                  the voluntary returns and repatriation of more than 60,000 Burundian
and it assumed leadership over the government’s anti-trafficking efforts
                                                                                  refugees, some of whom returned without formal assistance, increasing
and began convening regularly. The government continued to implement
                                                                                  their vulnerabilities to trafficking. Returning refugees are generally required
its 2019-2020 NAP through the end of the reporting period, despite its
                                                                                  to live within camps until reintegration into their communities and have
expiration in October 2020. The government reported its efforts to develop
                                                                                  limited access to education and livelihood opportunities. An international
a national-level data collection system on victim identiﬁcation, protection,
                                                                                  organization reported some refugees spontaneously return to Burundi
and referral efforts were hampered by lack of funding and training.
                                                                                                                                      Haiti AR_000632               151
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 257 of 729
CABO VERDE   without formal assistance and without adequate identity documentation,           disappearing in border provinces suggesting traffickers recruited children
             which signiﬁcantly increases their vulnerability to trafficking. IDPs and        to forced labor in cattle herding in Tanzania. NGOs reported recruiters
             returning refugees, particularly single mothers and widows, frequently lack      from neighboring countries frequently visit border towns in search of
             access to basic services, food, money, and permanent accommodation,              Burundian child workers. Observers alleged male tourists from East
             which increases their vulnerability to trafficking. Observers reported           Africa and the Middle East, as well as Burundian government employees,
             returning refugees have insufficient assistance upon arrival and most do         including teachers, police officers, military, and prison officials, are
             not have families to support them or homes to return to, which increases         complicit in child sex trafficking.
             vulnerability to exploitation.
                                                                                              International organizations report the Batwa minority, Burundians living in
             In April 2020, Burundi experienced severe ﬂooding that displaced more            border provinces, and women—speciﬁcally young and Muslim women—
             than 35,000 people; many were placed in IDP camps and did not have               are particularly vulnerable to forced labor and sex trafficking. Traffickers
             access to income-generating activities, increasing their vulnerability to        fraudulently recruit young women from poverty-stricken rural communities,
             traffickers. Observers reported traffickers increased activity due to the        particularly border provinces such as Cankuzo, Cibitoke, Kayanza, Kirundo,
             government’s attention on the natural disaster. Observers reported an            and Muyinga, for work in the Middle East, Tanzania, or Kenya as domestic
             increase in fraudulent offers to work abroad. International organizations        servants, and victims may be subjected to abusive labor conditions and
             reported the pandemic-related closure of land, water, and air borders            physical and sexual abuse. Traffickers fraudulently recruit some young
             restricted trade and seasonal migration for Burundians and refugees              adult Burundian women for jobs, but instead subject them to forced
             alike, limiting economic growth and increasing their vulnerability to            labor and sex trafficking in the People’s Republic of China, Kenya, Kuwait,
             traffickers. Observers reported young boys and girls found work as               Saudi Arabia, Oman, Qatar, and Yemen. Observers report victims transit
             peddlers, domestic workers, wait-staff, or construction laborers and were        through Kenya and Tanzania for short-term stays before reaching their
             forced to work excessive hours, denied payment, and were sexually and            ﬁnal destination. Observers noted Burundian nationals were trafficking
             physically abused. Government and NGOs reported sexual exploitation              victims in Nigeria. In 2017, Burundian and Kenyan recruitment agencies
             of young girls from refugee and IDP camps is common as men from                  fraudulently recruited several adult Burundian women, who were identiﬁed
             host communities promise gifts, pocket money, and tuition funds in               in Kuwait, for work as domestic workers and receptionists. However,
             exchange for sex.                                                                upon arrival, traffickers subjected them to forced labor and conﬁscated
                                                                                              their passports, paid them less than what was agreed, restricted their
             Burundi’s challenging security environment, endemic poverty, and low
                                                                                              movement, and forced them to work excessive hours without breaks.
             education levels create an opportunity for criminals, including traffickers,
             to take advantage of Burundians in precarious or desperate situations. Due
             to regional instability, observers sporadically report recruitment of children
             as young as 15 years old by armed groups who force them to participate in
             anti-government activities. In 2018 and 2020, an international organization       CABO VERDE: TIER 2
             reported separating four and 10 Burundian children, respectively, from
             armed groups in the DRC; the international organization reported children        The Government of Cabo Verde does not fully meet the minimum
             received assistance and were repatriated.                                        standards for the elimination of trafficking but is making signiﬁcant
                                                                                              efforts to do so. The government demonstrated overall increasing
             The government and an international organization reported traffickers
                                                                                              efforts compared with the previous reporting period, considering
             have changed their transportation methods, due to increased vigilance at
                                                                                              the impact of the COVID-19 pandemic, if any, on its anti-trafficking
             Bujumbura’s international airport. Observers noted traffickers now opted
                                                                                              capacity; therefore Cabo Verde remained on Tier 2. These efforts included
             for transportation by land, usually by buses that serve the region, and then
                                                                                              prosecuting a trafficker for the ﬁrst time in three years, convicting the
             ﬂy from neighboring countries. Additionally, the government reported
                                                                                              same trafficker, and launching standard operating procedures (SOPs)
             traffickers are increasingly using unofficial border crossings to transit
                                                                                              for victim identiﬁcation and referral to services. The government’s
             to neighboring countries. Both economic necessity and coercion push
                                                                                              Institute for Children and Adolescents (ICCA) identiﬁed and referred
             children and young adults into labor, including domestic service, forced
                                                                                              vulnerable children, including some potential trafficking victims, to
             labor on plantations or small farms throughout Burundi, in gold mines in
                                                                                              care. However, the government did not meet the minimum standards
             several provinces around the country, in informal commerce in the streets
                                                                                              in several key areas. Government agencies charged with combating
             of larger cities, charcoal production, manufacturing, construction, cattle
                                                                                              trafficking continued to lack sufficient resources and training, and
             herding, street vending, begging, and in the ﬁshing industry. Traffickers
                                                                                              overall victim identiﬁcation and protection efforts remained inadequate.
             operate as networks to provide successful transnational coordination
                                                                                              The Observatory for Monitoring and Rapid Identiﬁcation of Situations
             and include victims’ relatives, neighbors, and friends, who recruit them
                                                                                              of Trafficking in Persons (the Observatory), while intended to lead
             under false pretenses to exploit them in forced labor and sex trafficking.
                                                                                              national efforts, lacked the capacity and mandate to coordinate anti-
             Traffickers increased recruitment of Burundians working in Tanzania and
                                                                                              trafficking activities.
             the DRC. Traffickers recruited victims from their hometowns and were
             paid commissions upon successful recruitment; recruiters often were
             Burundians, but handlers, guides, and receiving personnel have been                      CABO VERDE TIER RANKING BY YEAR
             foreigners. Some families are complicit in the exploitation of children              1
             and adults with disabilities, accepting payment from traffickers who run
                                                                                                  2
             forced street begging operations. The government reported orphans
             are particularly at risk of trafficking for forced labor in Burundi and in         2WL
             neighboring countries such as Tanzania, Kenya, and Uganda. International             3
             organizations report cases of parents lying about their children’s age to                   2015     2016      2017        2018   2019   2020   2021   2022
             meet minimum age employment laws or to receive compensation for
             offering their children for forced labor. Traffickers fraudulently recruit
             children from rural areas and those separated from or unaccompanied by
             parents for forced labor in domestic service and sex trafficking in private      PRIORITIZED RECOMMENDATIONS:
             homes, guesthouses, and entertainment establishments; the children               Implement and train law enforcement, labor inspectors, child protection
             frequently experience non-payment of wages and verbal and physical               actors, and other officials on the SOPs to proactively identify trafficking
             abuse. Observers report traffickers recruit Burundian refugees in Rwanda,        victims, including among vulnerable populations, such as children
             Uganda, and the DRC for sexual exploitation and forced labor. NGOs               referred to ICCA shelters, child laborers and children experiencing
             report that ﬁshermen exploit some boys in the Lake Tanganyika ﬁsheries           homelessness; individuals in commercial sex; and migrant and overseas
             in forced labor and some girls and young women in domestic servitude             workers (including People’s Republic of China (PRC), Cuban, and
             and sex trafficking in restaurants and bars around the lake. Traffickers         ECOWAS nationals), and refer trafficking victims to care. • Increase
             exploit Burundian adults and children in forced labor in agricultural work,      efforts to vigorously investigate, prosecute, and convict traffickers
             particularly in Tanzania. NGOs reported a signiﬁcant number of children          using the anti-trafficking provision of the penal code, Article 271-A and
  152                                                                                                                                            Haiti AR_000633
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 258 of 729




                                                                                                                                                             CABO VERDE
sentence convicted traffickers to signiﬁcant prison terms in accordance      identifying and referring one forced labor victim to care during the
with the law. • Increase nationwide trafficking data collection on law       previous reporting period. The ICCA, which had personnel located on all
enforcement and victim identiﬁcation efforts and develop a system            nine islands, identiﬁed and provided assistance to at least 133 vulnerable
to compile and share data among agencies. • Ensure all trafficking           children, which may have included potential trafficking victims, in 2021,
cases are prosecuted through the judicial system without political           compared with 196 vulnerable children the previous year. ICCA did not
interference, rather than resolved through non-judicial means. • Train       report screening victims referred to its shelters for trafficking indicators.
law enforcement and judicial officials on the anti-trafficking provision
                                                                             In September 2021, the government ﬁnalized and launched SOPs for
of the penal code, Article 271-A. • Empower the Observatory to better
                                                                             trafficking victim identiﬁcation and referral to services in partnership with
coordinate the government’s anti-trafficking response and increase
                                                                             an international organization and foreign donor. However, the government
stakeholders’ participation in Observatory activities. • Strengthen
                                                                             had not yet fully implemented the newly-adopted procedures or
international law enforcement cooperation to prevent, investigate,
                                                                             conducted any trainings for officials on the procedures by the end of
and prosecute cases of child sex tourism. • Increase efforts to raise
                                                                             the reporting period; therefore, victim identiﬁcation and protection
public awareness of human trafficking, including child sex trafficking
                                                                             efforts remained limited. DEF officers had written victim identiﬁcation
and domestic servitude.
                                                                             procedures but did not consistently receive training on them. The Ministry
                                                                             of Justice (MJ), in collaboration with an international organization,
PROSECUTION                                                                  previously developed a child protection case management system for
The government increased law enforcement efforts. Article 271-A
                                                                             protection actors to identify and track child victims of exploitation,
of the penal code criminalized sex trafficking and labor trafficking
                                                                             including child trafficking; however, it was not operationalized for the
and prescribed penalties of four to 10 years’ imprisonment; these
                                                                             second consecutive year.
penalties were sufficiently stringent and, with regard to sex trafficking,
commensurate with penalties prescribed for other serious crimes,             There were no shelters or services speciﬁcally for trafficking victims, but
such as rape.                                                                government-funded agencies provided emergency services, shelter, and
                                                                             psycho-social care to at-risk populations and female and child victims
The government’s capacity to collect anti-trafficking statistics and
                                                                             of crime, including potential trafficking victims. Law enforcement and
comprehensively report on law enforcement actions was limited. The
                                                                             ﬁrst responders could refer child victims to ICCA, victims requiring
government initiated one investigation into an alleged forced labor
                                                                             long-term care to the Public Ministry, adult female victims to the Cabo
case. The government continued eight investigations from previous
                                                                             Verdean Institute for Gender Equality (ICIEG) or NGOs, and foreign
reporting periods and closed four others due to insufficient evidence.
                                                                             victims to the High Authority for Migration (AAI) or an international
This compared with initiating one investigation and continuing 11
                                                                             organization. ICCA operated a national network to assist child victims
investigations during the previous reporting period. The government
                                                                             of crime, including with referral to care and legal support, and operated
initiated prosecution of and convicted one Cabo Verdean child sex
                                                                             15 centers on eight of Cabo Verde’s nine inhabited islands that provided
trafficker, compared with zero prosecutions and zero convictions
                                                                             care for child victims of sexual abuse, violence, and abandonment,
during the previous reporting period. This was the ﬁrst trafficking
                                                                             including at least two centers located on both the islands of Santiago
prosecution and conviction in three years. The court convicted the
                                                                             and Sao Vicente that provided 24-hour emergency care. The government
trafficker under penal code provisions on “pimping,” sentenced her to ﬁve
                                                                             funded and provided police security to ICCA and ICIEG shelters. AAI
years’ imprisonment, and ordered her to pay 400,000 escudos ($4,110)
                                                                             opened the ﬁrst of ﬁve planned centers to assist and provide social
in restitution. A case involving three defendants charged in April 2019
                                                                             services to migrants.
with trafficking in persons and employment of undocumented foreign
workers on the island of Sal remained pending trial. The government          Law enforcement had policies to interview sex trafficking victims
did not report any investigations, prosecutions, or convictions of           in collaboration with psychologists and, in cases of child victims, in
government employees for complicity in human trafficking crimes. One         collaboration with the victims’ parents, as appropriate. The government
contact reported a concern that some law enforcement officials failed        did not report providing these beneﬁts to any victims during the
to fully investigate potential trafficking crimes.                           reporting period. Authorities noted it was difficult to provide meaningful
                                                                             protection to victim-witnesses due to the small population and close-
Some law enforcement and justice system officials lacked adequate
                                                                             knit community. The government continued providing in-kind support
understanding of trafficking crimes and anti-trafficking laws, and the
                                                                             to an NGO project seeking to enhance the justice system’s capacity to
justice system was overburdened, resulting in weak and inconsistent
                                                                             support child victims of sexual abuse, including trafficking. Cabo Verdean
efforts to identify, investigate, and prosecute trafficking cases. The
                                                                             law provided legal alternatives to the removal of foreign victims to
government made some efforts to train law enforcement on combating
                                                                             countries where they may face hardship or retribution; authorities did
human trafficking. The government trained new police officers on
                                                                             not report providing these beneﬁts to any victims. The law provided
trafficking victim identiﬁcation using a training module previously
                                                                             for restitution, and in one case noted above, the court awarded a victim
developed by an international organization. The government also
                                                                             400,000 escudos ($4,110) in restitution. The government did not report
provided anti-trafficking training to border police (DEF) officers. An
                                                                             if the restitution was paid by the end of the reporting period. In addition,
international organization trained law enforcement and justice officials
                                                                             victims could ﬁle civil suits against traffickers, but no victims reportedly
on cybercrime investigations, which included a component on combating
                                                                             did so, in part due to lack of awareness. Due to limited use of formal
child sex tourism, with some government support. Judicial Police (PJ)
                                                                             identiﬁcation procedures and screening of vulnerable populations,
presence was limited to the four islands with international airports
                                                                             including individuals in commercial sex and migrants, some victims
and the most signiﬁcant tourism activity, affecting the government’s
                                                                             may have remained unidentiﬁed within the law enforcement system.
ability to identify trafficking victims, investigate crimes, and collect
comprehensive data. Information sharing between agencies remained
                                                                             PREVENTION
inadequate, and officials reported additional coordination between the
                                                                             The government maintained prevention efforts. The Observatory,
PJ, National Police (PN), and prosecutors was needed. Government social
                                                                             led by MJ, coordinated the government’s efforts to combat human
service providers often resolved intra-familial abuse cases, which could
                                                                             trafficking and included officials from the PN, PJ, ICCA, ICIEG, Ministry
include child sex trafficking, through non-judicial means.
                                                                             of Family, Inclusion, and Social Development (MFIDS), other government
                                                                             institutions, and civil society organizations. However, it lacked the
PROTECTION                                                                   capacity and resources to effectively lead the government’s efforts.
The government maintained mixed protection efforts. Weak case
                                                                             The Observatory met twice during the reporting period, compared to
management and data collection hindered the government’s ability to
                                                                             meeting once during the previous reporting period. The government had
track victim-related statistics, and as in previous years, the government
                                                                             a 2018-2021 anti-trafficking national action plan (NAP) and allocated 7
did not provide comprehensive data on the number of trafficking victims
                                                                             million escudos ($72,000) for anti-trafficking activities, including the
it identiﬁed and referred to services. The government identiﬁed and
                                                                             implementation of the NAP, the same amount allocated the previous
referred one forced labor victim to an international organization for
                                                                             year. Observers reported the Observatory lacked authority and struggled
care, but the victim reportedly declined services. This compared with
                                                                                                                               Haiti AR_000634               153
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 259 of 729
CAMBODIA   to ensure all members fully participated in meetings and met their               its anti-trafficking capacity; therefore Cambodia was downgraded to
           reporting commitments. The government made minimal efforts to raise              Tier 3. Despite the lack of signiﬁcant efforts, the government took some
           public awareness of trafficking; however, it conducted some awareness            steps to address trafficking, including continuing to arrest, prosecute,
           raising campaigns focused on child sexual abuse and exploitation.                and convict traffickers, proactively screening for and identifying victims,
           ICCA continued to support municipal Committees for the Defense of                and assisting in the repatriation of Cambodian trafficking victims and
           Children’s and Adolescents’ Rights to prevent child abuse, including             those vulnerable to trafficking abroad. However, endemic corruption
           child trafficking.                                                               continued to impede overall law enforcement operations, holding
           ICCA continued to operate two drop-in centers for vulnerable children            traffickers accountable, and victim service provision. Authorities did
           through its Nos Kaza project, which aimed to reduce the vulnerability            not investigate or hold criminally accountable any officials involved
           of children who were homeless or used the streets as a source of                 in the large majority of credible reports of complicity, in particular
           livelihood. ICCA operated a hotline linked to the PN hotline to report           with unscrupulous business owners who subjected thousands of men,
           cases of violence against children, including trafficking. The government        women, and children throughout the country to human trafficking in
           did not report training hotline workers to differentiate trafficking from        entertainment establishments, brick kilns, and online scam operations.
           similar crimes, and officials did not report identifying any trafficking         Therefore, officials also failed to proactively identify trafficking victims
           victims as a result of calls to the hotline. The government made some            among these highly vulnerable populations. The government did
           efforts to reduce the demand for commercial sex that equated to                  not provide adequate protection services for victims domestically or
           child sex trafficking, but it did not make efforts to reduce demand for          overseas and relied heavily on foreign donors and NGOs to provide
           other forms of commercial sex. The government continued enforcing                much-needed care.
           the Ethics Code of Conduct for Tourism, which included provisions to
           counter child sex tourism. The Children and Adolescent Committee to
                                                                                                    CAMBODIA TIER RANKING BY YEAR
           Prevent and Combat Sexual Abuse and Exploitation coordinated the
                                                                                                1
           government’s efforts combating child sexual abuse, including child sex
           tourism; however, officials reported the committee did not function                  2
           effectively. The government did not provide anti-trafficking training              2WL
           to its diplomatic personnel.
                                                                                                3
                                                                                                       2015     2016     2017       2018   2019   2020    2021    2022
           TRAFFICKING PROFILE
           As reported over the past ﬁve years, human traffickers exploit domestic
           and foreign victims in Cabo Verde, and to a lesser extent, traffickers
           exploit victims from Cabo Verde abroad. Traffickers exploit boys and             PRIORITIZED RECOMMENDATIONS:
           girls, some of whom may be foreign nationals, in sex trafficking on Brava,       Investigate and prosecute trafficking offenses and convict, while
           Santiago, Fogo, Sal, Sao Vicente, and Boa Vista, sometimes through               respecting due process, and adequately penalize sex and labor
           child sex tourism. In the past, observers reported tourists perpetrated          traffickers, including complicit officials, with signiﬁcant prison sentences.
           child sexual abuse on the islands of Sal, Boa Vista, Sao Vicente, Fogo,          • Increase funding to anti-trafficking law enforcement units and disburse
           and Maio. In some cases, parents have encouraged their daughters’                it in advance of investigations, rather than by reimbursement. • Fully
           exploitation in commercial sex by tourists, especially Cabo-Verdean              implement victim identiﬁcation guidelines and train officials in all
           Americans, as potential marriage could result in immigrant visas to              areas of the country on its provisions. • Allocate increased resources
           the United States or remittances to support the family. Traffickers have         to anti-human trafficking police to better facilitate the monitoring of
           exploited West African women, including Nigerians and Senegalese,                defendants released under judicial supervision pending trial. • Increase
           in sex trafficking. Traffickers exploit West African women in domestic           or start unannounced labor inspections in high-vulnerability professions,
           servitude. On Sao Vicente, traffickers have coerced girls as young as 12         especially at brick kilns, entertainment venues, construction sites, and
           years old in sexual exploitation in exchange for drugs. Cabo Verdean             plantations, with a focus on identifying debt bondage and holding
           children engaged in begging, domestic work, street vending, car                  business owners accountable to the law. • Increase law enforcement
           washing, construction, garbage picking, ﬁshing, and agriculture are              efforts against online scam operations, including allegations of forced
           vulnerable to trafficking; children used in illicit activities, including drug   labor, and against officials complicit in such operations and associated
           trafficking, are also vulnerable to human trafficking. Children living in        trafficking crimes. • Increase the availability of services for male victims,
           impoverished neighborhoods with little state presence are also at risk           especially men and boys exploited in commercial ﬁshing abroad. •
           of trafficking, especially sex trafficking. West African migrants may            Incentivize domestic and foreign victims’ participation in criminal
           transit the archipelago en route to exploitive situations in Europe.             and civil proceedings, including by establishing a victim’s fund and
           Cuban overseas workers, including medical professionals, working in              granting permission to work, temporary residency, or other relevant
           Cabo Verde may be forced to work by the Cuban government. Some                   immigration status to foreign victims wishing to remain in country
           adult migrants from ECOWAS countries and the PRC receive low wages               during proceedings. • Implement a system for monitoring, collecting,
           and work without contracts, rendering them vulnerable to forced labor            and reporting data on anti-trafficking prosecution and victim protection
           and sex trafficking. In 2018, alleged labor traffickers exploited four PRC       efforts and disseminate data among the relevant government agencies
           nationals (two girls and two men) in the retail sector; some observers           in a manner that protects victims’ identities and privacy. • Eliminate
           suspect there may be organized syndicates engaging in similar forced             recruitment or placement fees charged to workers by Cambodian labor
           labor exploitation in the country. During a previous reporting period,           recruiters and ensure they are instead paid by employers. • Increase
           the government investigated a PN officer for complicity in a forced              inspection and oversight of lending institutions, including private
           labor case; the government reported investigators found insufficient             micro-ﬁnance organizations, to reduce vulnerability to debt-based
           evidence to bring charges against the officer, and the case was closed.          coercion among economically disadvantaged communities. • Allow
           In previous reporting periods, observers reported Nigerian criminal              restitution upon conviction of the trafficker and establish and train the
           syndicates exploited Cabo Verdean women in sex trafficking in Brazil,            relevant officials on procedures for calculating and granting restitution.
           and labor traffickers exploited a Cabo Verdean man in Europe.                    • Establish and allocate resources to implement systematic procedures
                                                                                            at diplomatic missions to assist Cambodian victims abroad, including
                                                                                            in countries without Cambodian diplomatic representation. • Amend
                                                                                            regulations on labor recruitment licensure and contract requirements
            CAMBODIA: TIER 3                                                                to include strengthened language on worker protections and labor
                                                                                            rights. • Strengthen efforts to inspect private labor recruitment agencies
           The Government of Cambodia does not fully meet the minimum standards             and their sub-licensed brokers for fraudulent recruitment and other
           for the elimination of trafficking and is not making signiﬁcant efforts          trafficking indicators. • Incorporate NGO input into the policy for
           to do so, even considering the impact of the COVID-19 pandemic on                formally transferring custody of child victims.

 154                                                                                                                                        Haiti AR_000635
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 260 of 729




                                                                                                                                                              CAMBODIA
PROSECUTION                                                                     Citing resource constraints, prosecutors and investigating judges did
The government maintained law enforcement efforts. The 2008 Law                 not advance all of the trafficking cases for which police had supplied
on the Suppression of Human Trafficking and Commercial Sexual                   evidence. Local experts continued to report that cases involving foreign
Exploitation criminalized sex trafficking and labor trafficking and             suspects were more likely to result in trafficking convictions than
prescribed penalties of seven to 15 years’ imprisonment for offenses            cases involving Cambodian suspects, for whom charges were often
involving an adult victim and 15 to 20 years’ imprisonment for those            reduced to less serious offenses. NGOs reported law enforcement did
involving a child victim; these penalties were sufficiently stringent and,      not adequately respond to reports of trafficking allegations in remote
with respect to sex trafficking, commensurate with those prescribed for         or less developed areas of the country due to capacity limitations.
other serious crimes, such as rape. NGOs reported that, in practice, the        Endemic corruption at many levels of government continued to severely
government did not issue criminal penalties under the anti-trafficking          limit the ability of individual officials to make progress in holding
law for labor traffickers; instead, it utilized the labor law to issue ﬁnes     traffickers accountable. In some cases, local or provincial authorities
and/or short jail sentences of six days to one month, which did not             neglected cases of complicity, so national authorities intervened to
represent sufficient punishment to deter future crimes or provide               investigate and prosecute such cases. During the reporting period, NGOs
justice for victims.                                                            reported trafficking victims accused Cambodian officials of colluding
The government did not maintain a centralized record or database                with labor brokers to commit human trafficking crimes. NGOs alleged
of investigations and judicial proceedings, therefore overall law               police and other officials were complicit in online scam operations that
enforcement data was incomplete, precluding the ability to compare              forced hundreds of PRC, Southeast Asian, and other foreign nationals
investigations, prosecutions, and convictions from previous years.              to work in call centers in Sihanoukville and other locations. Observers
Unlike in the previous reporting period, the police did not report              alleged prosecutors and judges accepted bribes in return for dismissal
comprehensive data on anti-trafficking investigations conducted in 2021.        of charges, acquittals, and reduced sentencing. Corrupt officials often
According to some media reports, authorities arrested 370 suspected             thwarted progress in cases where the perpetrators were believed to
traffickers, which included 332 labor brokers, but the government               have political, criminal, or economic ties to government officials. Despite
did not report an update on these arrests. In 2021, Ministry of Justice         consistent credible allegations of complicity in human trafficking
(MOJ) personnel manually collected prosecution and conviction data              crimes, the government did not prosecute or convict the large majority
from each district court throughout the country. Nevertheless, as in            of complicit government employees. Law enforcement raids on sex
the prior reporting period, judicial authorities may have included              trafficking establishments were sometimes unsuccessful due to advance
cases of rape and other crimes outside the standard deﬁnition of                warning from working-level police. Some police reportedly protected
trafficking in their reported data; therefore, the true number of trafficking   sex trafficking establishments in exchange for monthly payments from
prosecutions and convictions was likely lower than reported. In 2021,           the business owners or sexual favors from the victims. Authorities
the government prosecuted 109 suspected traffickers involved in 64              often overlooked, denied, or downplayed labor abuses—including
cases under the anti-trafficking law; four of these cases involved sex          forced child labor—in factories and at brick kilns and colluded with
trafficking, 37 involved forced labor, and 23 involved unspeciﬁed forms         brick manufacturers to arrest, jail, and return indentured laborers who
of exploitation. The government convicted 38 traffickers, including             had attempted to escape.
one for sex trafficking and 35 for forced labor. Of these cases, in April       The government—in collaboration with and funding from NGOs and
2021, authorities arrested and convicted a two-star military general            other donors—provided training to police, prosecutors, judges, and
and six other traffickers for exploiting 28 nationals from the People’s         other government officials. These trainings included 256 sessions
Republic of China (PRC); the court sentenced the military general to            and workshops on anti-trafficking laws, investigative techniques, and
four years’ imprisonment. In comparison to this data, in 2020 the police        evidence collection for 12,814 law enforcement officers and seven
reported authorities arrested 94 suspects—48 suspects involved in 37            trainings for 286 participants on victim identiﬁcation and protection
cases of “non-sexual human trafficking” and 46 suspects involved in             guidelines. Despite these trainings, many police—particularly in rural
21 cases of sex trafficking. The government prosecuted 348 cases of             areas—remained unaware of how to conduct anti-trafficking work, as
trafficking in 2020, but the government did not disclose the number             most did not receive training on basic law enforcement techniques.
of individuals prosecuted; it also convicted 440 traffickers. However,          Moreover, law enforcement and judicial officials lacked the necessary
some of the cases reported in 2020 likely did not meet the deﬁnition            equipment to handle trafficking cases appropriately, including
of human trafficking under international law and also accounted for             vehicles, computer and communications equipment, and forensic
cases from prior years.                                                         tools. Additionally, the government required the funding of all anti-
The pandemic continued to hinder government efforts to prosecute                trafficking investigative work to be conducted through reimbursement,
perpetrators and heighten awareness of trafficking among officials.             forcing individual police units to personally cover relevant expenses. NGO
Cambodian courts shut down between April and May 2021, temporarily              contacts reported some officers waited months for this reimbursement,
halting judicial activity including anti-trafficking investigations, and then   which was sometimes not repaid in full, and that the ensuing ﬁnancial
resumed operations at a reduced capacity for several months afterwards.         hardships made some police units more susceptible to corruption. Local
The government reported it cooperated with the governments of the               organizations and some officials continued to stress an urgent need
United States, Thailand, and the PRC on human trafficking investigations;       for more sophisticated evidence collection techniques—including more
it also maintained memoranda of understanding (MOUs) outlining cross-           undercover investigations—to decrease reliance on witness testimony
border anti-trafficking investigations with Thailand and Vietnam, as well       and improve efforts to detect and combat sex trafficking. MOJ officials
as an extradition treaty with the former. The government continued              reported their concern that revising the law or issuing new regulations
to cooperate with the United States through a law enforcement task              to speciﬁcally authorize undercover investigation authority in trafficking
force dedicated to combating online child sexual exploitation and other         cases could lead to abuse of power by the police.
child sex crimes. In 2021, the police arrested four individuals for online
child sexual exploitation under the anti-trafficking law after U.S. law         PROTECTION
enforcement referred nine potential cases.                                      The government maintained limited victim protection efforts. Despite
                                                                                having victim identiﬁcation guidelines developed by the Ministry of
Nationwide, law enforcement authorities often did not take appropriate
                                                                                Social Affairs, Veterans, and Youth Rehabilitation (MOSAVY) in 2017, law
action against suspected or convicted traffickers. Judicial police lacked
                                                                                enforcement agencies’ victim identiﬁcation, referral, and repatriation
the resources to monitor defendants released on “judicial supervision”
                                                                                efforts remained disparate and underdeveloped. Due to insufficient
pending trial, allowing some to ﬂee prior to their trial dates, which
                                                                                victim identiﬁcation efforts, authorities penalized potential foreign
only left courts the option to convict offenders in absentia. Authorities
                                                                                victims for unlawful acts traffickers compelled them to commit, such
rarely issued arrest warrants for absconded defendants unless NGOs
                                                                                as immigration violations. Nevertheless, the government identiﬁed a
were available to assist in tracking and apprehending them. Further
                                                                                total of 364 trafficking victims in 2021 after screening for trafficking
compounding this challenge, Cambodian criminal procedural code
                                                                                among 8,370 Cambodian migrants working abroad. In comparison,
featured no guidelines, monitoring provisions, or language outlining
                                                                                the government identiﬁed 417 victims in 2020. Similar to the previous
speciﬁc law enforcement duties with regard to judicial supervision.
                                                                                                                                 Haiti AR_000636              155
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 261 of 729
CAMBODIA   reporting period, however, overall victim identiﬁcation ﬁgures may have       overseas due to unattended hotlines and unresponsive staff. Victims
           included victims of crimes that did not meet standard deﬁnitions of           identiﬁed in countries without Cambodian diplomatic representation
           sex trafficking or forced labor.                                              had access to even less support. In Malaysia, Cambodian officials
                                                                                         repatriated 376 migrant workers back to Cambodia, 39 of whom officials
           MOSAVY continued to operate a migrant transit center in the border
                                                                                         identiﬁed as trafficking victims. The government ﬁnalized an agreement
           city of Poipet where transit center officials—including trained social
                                                                                         with Thailand to establish standard operating procedures (SOPs) on
           workers—screened for and identiﬁed an unknown number of trafficking
                                                                                         the repatriation and reintegration of Cambodian trafficking victims. In
           victims among adult and child migrants at the center. After transit
                                                                                         August 2021, the government—in cooperation with Thai authorities—
           officials screened migrants for trafficking, they provided an unreported
                                                                                         identiﬁed and repatriated 21 Cambodian trafficking victims from
           number of victims with reintegration services or referred them to
                                                                                         Thailand; the government referred them for resettlement assistance.
           NGO shelters. In December 2021, the government opened a new
                                                                                         From January to September 2021, the Ministry of Interior (MOI) worked
           migrant transit center in Battambang Province, but officials did not
                                                                                         with PRC authorities to repatriate more than 300 Cambodian women
           report how many trafficking victims they identiﬁed or assisted in this
                                                                                         who were recruited through false promises of work in the PRC and
           center. Government social affairs officials regularly accompanied police
                                                                                         forced into marriages with PRC nationals; many of these women were
           during law enforcement activities, such as raids, to provide assistance
                                                                                         likely trafficking victims. The Ministry of Foreign Affairs and International
           to identiﬁed victims; if they were not present, police were trained to
                                                                                         Cooperation (MFAIC) facilitated the return of 10,406 undocumented
           screen for victims before referring them to a social affairs office. Local
                                                                                         Cambodian migrant workers from the PRC, Indonesia, Laos, Malaysia,
           police sometimes referred victims directly to NGOs, who reported the
                                                                                         Singapore, Thailand, and Vietnam; this compared to 10,574 returned
           overall referral process was quick and victims could access NGO-run
                                                                                         Cambodian migrant workers during the previous reporting period.
           shelters within hours of being identiﬁed. Despite this process, the
                                                                                         After MOSAVY conducted preliminary interviews of these returnees, it
           government continued to implement a regulation barring NGOs from
                                                                                         referred all of them to local NGOs for care and reintegration assistance,
           representing individuals seeking formal recognition as trafficking
                                                                                         but—as in the previous reporting period—it did not report identifying any
           victims. Under this arrangement, victims were required to approach
                                                                                         trafficking victims among them. The number of Cambodian returnees
           the Ministry of Interior (MOI) for the formal identiﬁcation needed to
                                                                                         who experienced forced labor and sex trafficking abroad was likely
           access protection services. Some anti-trafficking NGOs reported a lack
                                                                                         much higher than reported due to insufficient victim identiﬁcation
           of cooperation with the authorities, which hindered the operations of
                                                                                         procedures, as well as an increasing tendency among these groups
           key anti-trafficking NGOs.
                                                                                         to return via informal migration channels.
           MOSAVY reported it provided services to 404 Cambodian and foreign
                                                                                         The government did not require trafficking victims to participate in
           trafficking victims, including from the PRC, Thailand, Malaysia, Vietnam,
                                                                                         trafficking investigations or prosecutions in order to receive protection
           Singapore, and Indonesia. In comparison in 2020, MOSAVY referred
                                                                                         services. There were no legal provisions to offer work permits, temporary
           220 Cambodian victims and “other vulnerable migrants” to NGO
                                                                                         residency, or other immigration status to foreign victims wishing to
           services. The government could provide trafficking victims with a food
                                                                                         remain in Cambodia to participate in civil or criminal proceedings. The
           allowance, living stipend for three months, job training, and reintegration
                                                                                         government required the repatriation of foreign victims, except in rare
           assistance, but—as in the previous reporting period—MOSAVY relied
                                                                                         cases, and did not provide legal alternatives to their removal regardless
           heavily on ﬁnancial support from NGOs to cover these services.
                                                                                         of whether they would face hardship or retribution upon return to
           The government did not have the capacity or resources available to
                                                                                         their countries of origin. While awaiting repatriation, the government
           provide adequate protection services, including shelter, to trafficking
                                                                                         generally allowed foreign victims temporary residence at NGO shelters.
           victims; it therefore continued to rely heavily on donor countries,
                                                                                         During the previous reporting period, MOJ instructed provincial courts
           international organizations, and NGOs to provide or support provision
                                                                                         to implement a child-friendly judicial program allowing for video-
           of such services to trafficking victims. MOSAVY maintained guidelines
                                                                                         conferencing technology as an alternative to direct cross-examination
           outlining minimum standards for residential care of trafficking victims.
                                                                                         of victims in front of the accused; it did not, however, report if courts
           MOSAVY also managed long-term care and other assistance for child
                                                                                         universally implemented this program in 2021. As in previous years,
           trafficking victims who could not reintegrate into their communities. The
                                                                                         Cambodia’s weak and corrupt judicial system and the lack of adequate
           government, however, did not facilitate formal transfer of the custody
                                                                                         victim and witness protection, exacerbated by a lengthy trial process
           of child trafficking victims to NGOs, leaving NGOs that accepted child
                                                                                         and fear of retaliation by traffickers, hindered victims’ willingness
           victims into their care vulnerable to court action. Provisions allowing for
                                                                                         to cooperate in many cases. NGOs reported victims preferred out-
           ﬁnancial settlements in lieu of harsher sentencing further discouraged
                                                                                         of-court settlements over court proceedings as the fastest way to
           some families from consenting to temporary guardianship at shelters;
                                                                                         obtain monetary compensation. Cambodian law outlined channels
           absent family consent, government officials, at times, returned children
                                                                                         for victim restitution, yet restitution through direct cash payments
           to high-risk environments, leaving them vulnerable to re-victimization.
                                                                                         was commonly used as a method to settle criminal cases. However,
           The government authorized public health facilities to provide free
                                                                                         restitution was difficult to obtain due to a legal requirement delaying
           medical services to all migrant workers in Cambodia, including foreign
                                                                                         payment until after the completion of a trafficker’s jail term; convicted
           trafficking victims; this policy relieved NGOs of the ﬁnancial burden
                                                                                         traffickers’ frequent abscondment further complicated this arrangement.
           of providing medical care to this vulnerable population. Despite the
                                                                                         Observers noted Cambodia lacked a standard operating procedure
           prominence of male labor trafficking victims, government assistance
                                                                                         for determining how to calculate restitution or compensation. Victims
           for this population remained limited, including shelters. However, the
                                                                                         rarely received the amount promised, and many victims’ families settled
           government continued to cooperate with an NGO to provide services
                                                                                         out of court with traffickers or accepted bribes to drop the relevant
           to male victims exploited in the Thai commercial ﬁshing industry. The
                                                                                         charges. Nevertheless, the government cooperated with two NGOs to
           Ministry of Labor and Vocational Training (MOLVT) also provided
                                                                                         secure $83,200 in restitution for trafficking victims, including cases of
           vocational training and other programs to identify job opportunities
                                                                                         child sexual exploitation, in 2021.
           for male trafficking victims from the commercial ﬁshing industry, but
           it did not report how many victims beneﬁted from these programs.
           Service provider NGOs noted that an acute lack of reintegration services
                                                                                         PREVENTION
                                                                                         The government maintained prevention efforts. The National Committee
           and cultural stigma surrounding the experience of forced labor at sea
                                                                                         for Counter Trafficking (NCCT) and its secretariat coordinated anti-
           catalyzed re-trafficking among ﬁshermen returning home.
                                                                                         trafficking activities, continued to implement a 2019-2023 national
           The government continued to provide basic care to or assist in the            anti-trafficking action plan, and initiated a mid-year review of the action
           repatriation of Cambodian victims who were exploited abroad but               plan to evaluate its achievements and remaining challenges. The NCCT
           relied on donor organizations to ﬁnance the repatriation. Cambodian           produced an annual report documenting the government’s holistic
           diplomatic missions overseas also lacked adequate funding and capacity        anti-trafficking efforts. The NCCT chaired 274 meetings in 2021 with
           to provide basic assistance to or repatriate victims; some victims were       various ministries to elevate the importance of human trafficking within
           reportedly unable to secure assistance from Cambodian consular services       the government; it did not report how many meetings it conducted in

 156                                                                                                                                   Haiti AR_000637
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 262 of 729




                                                                                                                                                             CAMBODIA
the previous reporting period. The NCCT regularly invited trafficking           government ﬁned the businesses a total of 233 million riels ($58,520)
survivors to attend meetings and workshops in order to improve                  for labor violations. The MOLVT maintained offices at the provincial
policies through survivors’ experiences and recommendations. The                level to monitor recruitment agencies and address complaints from
secretariat of the NCCT maintained six working groups to monitor the            workers, including potential incidents of trafficking; however, it did
efforts of the interagency committee, as well as those of its provincial        not report how many complaints these offices received in 2021. The
subcommittees. Subsidiary provincial committees to counter trafficking          government also did not conduct inspections of recruitment agencies
(PCCT), four of which continued to receive modest central government            that were allegedly involved in trafficking crimes.
funds, coordinated efforts at the local level to mirror the activities of the
                                                                                The MOLVT did not report providing pre-departure orientation to
NAP. Each PCCT maintained customized provincial-level action plans
                                                                                Cambodians migrating abroad for work, unlike in 2020 when it reported
outlining how to report cases of trafficking to police, victim protection
                                                                                providing orientation to 20,360 Cambodians. Many Cambodians were
efforts, and prevention activities. The NCCT and various PCCTs—in
                                                                                reportedly unaware of how to apply for travel documentation or how
cooperation with relevant ministries and NGO partners—conducted
                                                                                much it should cost—leaving them at higher risk of travel through
156 anti-trafficking trainings for 5,720 government officials in 2021.
                                                                                informal, more vulnerable means—and the government did not take
A Monitoring Working Group (MWG) strengthened the work of the
                                                                                sufficient steps to publicize that information. In 2021, the NCCT reported
NCCT at the provincial level by meeting with provincial officials and
                                                                                Cambodian soldiers and police along the Thai border prevented 3,581
assessing areas of improvement, but it did not report how many times
                                                                                Cambodian migrant workers from entering Thailand, 1,325 of whom
the MWG traveled to the provinces or how many officials it engaged.
                                                                                were women and 131 were children; however, the NCCT did not report if
The Minister of Women’s Affairs and the NCCT Vice Chair co-hosted a
                                                                                it screened these migrants for trafficking or referred them to protection
bilateral meeting on human trafficking with a foreign government in
                                                                                services. Officials provided food to 1,270 Cambodian migrant workers
October 2021, which was attended by senior Cambodian government
                                                                                at risk of or identiﬁed as trafficking victims in Thailand and helped two
officials. The government provided anti-trafficking training to Cambodian
                                                                                workers resolve a labor dispute with a foreign employer. In South Korea,
diplomatic personnel as a part of their orientation prior to deploying
                                                                                Cambodian officials made 87 visits to worksites with Cambodian workers
abroad. The NCCT provided anti-trafficking training to two units of
                                                                                and resolved 137 labor disputes, while in Japan Cambodian officials made
Cambodian peacekeepers before their deployment to Lebanon and
                                                                                27 visits to worksites with a signiﬁcant number of Cambodian workers
the Central African Republic. The government did not report its anti-
                                                                                and helped resolve 74 labor disputes. The government did not report
trafficking budget in 2021, unlike in 2020 when it reported a budget
                                                                                if officials identiﬁed any trafficking victims among these labor dispute
of approximately 2.2 billion riels ($543,080). NGOs reported the
                                                                                cases. The government maintained two labor recruitment agreements
government’s weak funding for anti-trafficking activities led some
                                                                                with Saudi Arabia, a domestic worker recruitment agreement with Hong
NGOs to cover the expenses of government activities.
                                                                                Kong, and a bilateral cooperative agreement with India. The MFAIC
The government—in collaboration with various donors and NGOs—                   continued to implement consular screening measures to reduce the sex
disseminated information about trafficking laws, safe migration, child          and labor trafficking of Cambodian women via forced and fraudulent
labor, and strategies to combat trafficking to law enforcement, other           marriages, including by assessing applicants against trafficking victim
government personnel, and the general population. The government                proﬁles jointly developed with the PRC in 2016. However, the MFAIC
organized 192 anti-trafficking awareness raising campaigns across               did not report identifying potential victims during these screenings.
the country, incorporated anti-trafficking messaging in thousands of            The government also continued implementing a regulation passed in
public events (such as town halls and community council meetings),              2018 requiring foreign men to pay a fee if intending to return to their
and senior officials spoke publicly about human trafficking. In 2021,           home countries with a Cambodian spouse; because this regulation only
the Ministry of Education, Youth, and Sports—in cooperation with                applied to air travel, observers reported an increase in the number of
NGOs—implemented a school curriculum to educate students and                    Cambodian women traveling through unsafe overland channels for
teachers about human trafficking. The Anti-Human Trafficking Juvenile           marriage migration to the PRC.
Police (AHTJP) and MOI continued to operate a hotline for victims and
                                                                                The MOLVT maintained an action plan aimed at reducing child labor and
witnesses to report human trafficking crimes; the government publicized
                                                                                debt bondage in the service, agricultural, mining, and energy sectors
the hotline on government websites and social media sites, required
                                                                                by 2025 through awareness raising, legal action, and collaboration
guesthouses and hotels in all 25 provinces to publicize the hotline, and
                                                                                with civil society funded in part through the national budget. MOLVT
worked with an NGO focused on child sex trafficking to place placards
                                                                                officials continued to deny the existence of child labor—including
of the hotline number in taxis and tuk-tuks throughout the country. The
                                                                                forced child labor—and debt-based coercion within the brick industry.
government reported the hotline received 21 calls—the same number of
                                                                                The MOLVT visited 170 brick kilns and sugar and cassava plantations
calls during the last reporting period—but none of them were human
                                                                                where officials identiﬁed 350 cases of vulnerable children living on
trafficking cases. The AHTJP also continued to utilize its social media
                                                                                the kilns and plantations; it provided these children with educational
site for the public to report suspected incidents of human trafficking,
                                                                                opportunities and other forms of assistance, but it did not identify
but it did not report how many cases it received. The Ministries of
                                                                                any trafficking victims. NGOs claimed police were often unaware that
Labor and Foreign Affairs operated hotlines for Cambodians working
                                                                                detection of crimes at brick kilns fell under their investigative purview;
abroad to seek assistance and report cases of human trafficking; the
                                                                                the AHTJP conﬁrmed they viewed brick kiln inspections as under
Cambodian embassy in Thailand received 1,109 calls, the embassy in
                                                                                the MOLVT’s purview and would only investigate kilns if the MOLVT
South Korea received 186 calls, and the embassy in Japan received
                                                                                referred a case to them. The AHTJP did not report any such referrals
540 calls. However, the government did not report if any of these calls
                                                                                during the reporting period. Authorities often conducted inspections
resulted in the identiﬁcation of trafficking victims.
                                                                                with advance notiﬁcation to the kiln owners, enabling them to avoid
The government did not have a ban on the imposition of worker-paid              ﬁnes or conceal abuses by removing children from the kilns before an
recruitment or placement fees. Observers noted the high costs, complex          inspection. In 2021, the government—in cooperation with NGOs—led a
administrative requirements, and restrictive provisions inherent to the         study to identify the needs of bilingual Khmer-Thai Cambodian children
formal migration process drove a majority of Cambodian labor migrants           living in Cambodia’s Koh Kong Province and Thailand’s Trat Province;
to pursue informal pathways to working abroad. The MOLVT held 75                the goal of the study was to improve access to education for these
training sessions for recruitment agencies and labor brokers on ethical         children as they moved across the border with their migrant parents
recruitment practices to protect the rights of migrant workers. The             and to reduce the risk of trafficking and child labor. In July 2021, the
government worked in cooperation with an international organization             government launched a new action plan to prevent and respond to online
to conduct labor inspections of garment factories, but a COVID-19               child sexual exploitation for 2021-2025, but the government did not
outbreak in February 2021 suspended in-person inspections, and the              report additional details about actions it took to implement the plan.
government had to rely on virtual assessments for the remainder of the          The Ministry of Tourism, in collaboration with the NCCT, made efforts
year. Nevertheless, MOLVT and MOI officials conducted 2,966 inspections         to reduce the demand for commercial sex acts through workshops for
at factories and other businesses where they found 28,863 foreign               staff in the tourism sector and government officials on child sexual
workers, of whom 466 were without legal work documentation; the                 exploitation in the tourism industry; it also continued to produce
                                                                                                                                Haiti AR_000638              157
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 263 of 729
CAMBODIA
           public-facing materials targeting potential consumers of commercial           kilns, as children are forced to work alongside their parents through
           sex with children. However, as in prior years, the government generally       debt-based coercion. An NGO study conducted in 2017 found nearly all
           focused on deterring foreign perpetrators of child sex tourism, rather        of brick kilns surveyed throughout the country featured indicators of
           than targeting the local population that constituted the main source          forced labor via debt-based coercion. An extensive, largely unregulated
           of demand for commercial sex with children in Cambodia.                       network of predatory micro-ﬁnance organizations and private creditors
                                                                                         contributes to this arrangement by proactively advertising loans to
           TRAFFICKING PROFILE                                                           families in vulnerable communities and connecting them with the kilns.
           As reported over the past ﬁve years, human traffickers exploit domestic       Rural farming families are at higher risk of this form of forced labor
           and foreign victims in Cambodia, and traffickers exploit victims from         due to economic hardships ensuing from climate change; unseasonal
           Cambodia abroad. NGOs and labor unions reported in 2020 that                  rain patterns and subsequent loss of crops push many farmers to
           foreign labor brokers are fraudulently recruiting foreign migrants,           take out large loans for new irrigation or pesticide systems, and brick
           including from Bangladesh, the PRC, and Nepal, to work in PRC-                kiln owners often purchase these loans as a means of securing and
           invested and other construction sites in Cambodia where some are              retaining their labor. Extended rainy seasons also delay the brick-drying
           indebted to recruitment ﬁrms and experience passport conﬁscation. In          process, reducing these bonded kiln workers’ pay and forcing many to
           2021, the media reported that traffickers also subject PRC, Southeast         become further indebted to the kiln owners. To dissuade workers from
           Asian, and other country nationals to forced criminality in online scam       ﬂeeing abusive conditions, some kiln owners reportedly allow only
           operations run by local PRC-organized criminal groups in call centers         select members of family units to be absent for public holidays or to
           located in Cambodia. Cambodian adults and children migrate to other           seek medical care at any given time. Some workers report continued
           countries within the region and increasingly to the Middle East for           conﬁnement and forced labor in the kilns long after they have repaid
           work; traffickers force many to work on ﬁshing vessels, in agriculture,       their debts. Cambodian families may also experience conditions
           in construction, in factories, and in domestic service—often through          indicative of forced labor in the clay extraction process required for
           debt-based coercion—or exploit them in sex trafficking. Migrants using        brick making. Traffickers exploit children as young as 13 in domestic
           irregular migration channels, predominantly with the assistance of            servitude and in brothels to pay off family debts accrued through this
           unlicensed brokers, are at an increased risk of trafficking, although         system. Communities displaced by illegal logging operations supplying
           those using licensed recruiting agents also become victims of forced          the brick kilns with timber for fuel may be at elevated risk of trafficking,
           labor or sex trafficking. Companies operating under the auspices of           including in logging itself and elsewhere as a result of ensuing economic
           the Japanese government’s “Technical Intern Training Program” have            hardships. In previous years, North Koreans working in Cambodia may
           exploited Cambodian nationals in forced labor in food processing,             have been forced to work by the North Korean government. Pursuant
           manufacturing, construction, and ﬁshing. Children from impoverished           to a 2017 UN Security Council resolution requiring the repatriation of
           families are vulnerable to forced labor, often with the complicity of         all North Korean nationals earning income overseas by the end of 2019,
           their families, including in domestic service and forced begging or           subject to limited exceptions, the government reportedly repatriated
           street vending in Thailand and Vietnam. Undocumented Cambodian                North Korean labor migrants covered under the relevant provision.
           labor migrants working in Thailand—who constituted an estimated
                                                                                         All of Cambodia’s 25 provinces are sources for human trafficking. Sex
           30-40 percent of the 1.5 to 2 million Cambodians there before the
                                                                                         trafficking is largely clandestine; Cambodian and ethnic Vietnamese
           pandemic—are at high risk of trafficking due to their immigration
                                                                                         women and girls move from rural areas to cities and tourist destinations,
           status, as are undocumented Cambodians working in Vietnam. The
                                                                                         where criminals exploit them in sex trafficking in brothels and, more
           pandemic affected established migration patterns and certain sectors
                                                                                         frequently, clandestine sex establishments at beer gardens, massage
           in 2020, such as construction, which placed some vulnerable groups
                                                                                         parlors, salons, karaoke bars, retail spaces, and non-commercial sites. In
           at greater risk of trafficking than in previous years. Between February
                                                                                         recent years, the rapidly growing and largely unregulated presence of
           2020 to February 2021, more than 150,000 Cambodian labor migrants
                                                                                         PRC national-owned casinos, entertainment establishments, and other
           returned to Cambodia from other countries, primarily Thailand, due to
                                                                                         commercial enterprises in Preah Sihanouk Province led to an increase
           industry closures caused by the pandemic.
                                                                                         of local sex trafficking and forced labor among Cambodian women
           Traffickers continue to recruit signiﬁcant numbers of Cambodian men           and girls, although Cambodia’s 2020 ban on online gambling and the
           and boys in Thailand to work on ﬁshing boats and exploit them in forced       subsequent shuttering of many PRC national-owned casinos and other
           labor on Thai-owned and -operated vessels in international waters.            entertainment establishments has reduced such trafficking. Cambodian
           Cambodian victims escaping from their traffickers have been identiﬁed         men form the largest source of demand for children exploited in sex
           in Fiji, Indonesia, Malaysia, Mauritius, Papua New Guinea, Senegal, and       trafficking; however, men from elsewhere in Asia, Australia, Europe,
           South Africa. Cambodian men working on Thai-owned and -operated               South Africa, and the United States travel to Cambodia to engage in
           ﬁshing vessels report deceptive recruitment tactics, severe physical          child sex tourism, increasingly facilitated through social media contact.
           abuse, underpayment or nonpayment of wages, restricted access                 Thousands of urban children left behind by families migrating abroad
           to medical care, and conﬁnement at sea for years at a time without            for work are particularly vulnerable to sex trafficking and forced labor.
           permission to come ashore. Traffickers recruit women and some girls           The prevalence of child sex trafficking and child sex tourism reportedly
           from rural areas under false pretenses to travel to the PRC to enter into     declined in 2020 due to reduced international travel and pandemic-
           marriages with PRC-national men. These women incur thousands of               related quarantine requirements. However, NGOs and law enforcement
           dollars of debt to brokers facilitating the transaction; the men force some   officials reported the pandemic increased incidents of online child sexual
           of these women to work in factories or exploit them in sex trafficking        exploitation in 2020, and incidents continued to increase through 2021.
           to repay this debt. Some parents reportedly receive between $1,500            Vietnamese women and children, many of whom are victims of debt-
           and $3,000 from marriage brokers to send their daughters to the PRC           based coercion, travel to Cambodia and are exploited in sex trafficking.
           for marriage. Cambodian women serving willingly as illegal surrogates         NGOs report that criminal gangs transport some Vietnamese victims
           for PRC families are vulnerable to conﬁnement and domestic servitude.         through Cambodia before they are exploited in Thailand and Malaysia.
           Stateless persons, namely in ethnic Vietnamese communities, are at            Traffickers in Cambodia are most commonly family or community
           higher risk of trafficking due to lack of identity documentation necessary    members or small networks of independent brokers. Some Cambodian
           for access to formal employment, education, marriage registration, the        orphanages purchase local children from economically disadvantaged
           court system, or the right to own land.                                       families and subject them to malnutrition and unclean living conditions in
                                                                                         their facilities for the purpose of attracting and proﬁting from charitable
           The proprietors of brick kilns subject many of the more than 10,000
                                                                                         donations; some of these children are at further risk of sex trafficking
           Cambodians living at such kilns, including nearly 4,000 children, to
                                                                                         and domestic servitude as a result of poor government oversight of
           multigenerational debt-based coercion, either by buying off their pre-
                                                                                         adoption processes.
           existing loans, or by requiring them to take out new loans as a condition
           of employment or to cover medical expenses resulting from injuries
           incurred while working. NGO reports in 2016, 2019, and 2021 have
           conﬁrmed cases of child labor—including forced child labor—in brick
 158                                                                                                                                  Haiti AR_000639
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 264 of 729




                                                                                                                                                            CAMEROON
                                                                             PROSECUTION
 CAMEROON: TIER 2 WATCH                                                      The government made mixed anti-trafficking law enforcement efforts. The
 LIST                                                                        2011 anti-trafficking law criminalized some forms of sex trafficking and all
                                                                             forms of labor trafficking. Inconsistent with international law, Cameroon’s
                                                                             legal framework required a demonstration of force, fraud, or coercion to
The Government of Cameroon does not fully meet the minimum                   constitute a child sex trafficking crime, and therefore did not criminalize
standards for the elimination of trafficking but is making signiﬁcant        all forms of child sex trafficking. The law prescribed penalties of 10 to
efforts to do so. These efforts included prosecuting and convicting          20 years’ imprisonment and a ﬁne of 50,000 to 1 million Central African
more alleged traffickers. The government extended the 2020-2021              francs (CFA) ($86 - $1,730), which were sufficiently stringent and, with
national action plan (NAP) for an additional two years and conducted         respect to some forms of sex trafficking, commensurate with penalties
a range of trafficking awareness activities. It also launched a toll-free    prescribed for other serious crimes, such as rape. If the trafficking crime
hotline to report human trafficking cases and established anti-trafficking   involved a victim who was age 15 or younger, the penalties increased to 15
committees in each of the divisions of the East Region. However, the         to 20 years’ imprisonment and a ﬁne of 100,000 to 10 million CFA ($170
government did not demonstrate overall increasing efforts compared           to $17,300). The law prescribed separate penalties for debt bondage,
with the previous reporting period, even considering the impact of the       which ranged from ﬁve to 10 years’ imprisonment and a ﬁne of 10,000
COVID-19 pandemic, on its anti-trafficking capacity. Authorities did         to 500,000 CFA ($17 - $860) and were also sufficiently stringent. The
not report investigating allegations of security forces involvement in       law was published in French and English, the two official languages of
the sexual exploitation of women. The government investigated fewer          the government. The English version conﬂated trafficking in persons and
trafficking cases and identiﬁed fewer victims. It did not pass draft         migrant smuggling crimes by referring to trafficking in persons crimes, as
anti-trafficking legislation, pending since 2012, that would remove the      deﬁned under international law, as “slavery in persons,” while referring
requirement of force, fraud, or coercion for child sex trafficking and       to smuggling-related crimes as “trafficking in persons.” Increasing the
correct the current law’s confusion involving trafficking in persons         potential for conﬂating smuggling and trafficking in persons, Article 342
and migrant smuggling. The government has not taken any action in            of Cameroon’s 2016 Penal Code prohibited both “trafficking in persons”
response to reports of diplomats exploiting individuals in forced labor      and “slavery in persons.” Legislation drafted in 2012 to address victim
from previous reporting periods. Officials did not widely disseminate        and witness protection and correct inconsistencies with international
standard operating procedures (SOPs) on victim identiﬁcation and             law remained pending for the ninth consecutive year.
referral to law enforcement or ﬁrst responders. Because the government
has devoted sufficient efforts to meet the minimum standards, Cameroon       The government investigated 93 cases compared with 205 cases in
was granted a waiver per the Trafficking Victims Protection Act from an      2020. The government reported prosecuting 57 suspects in 48 cases,
otherwise required downgrade to Tier 3. Therefore Cameroon remained          compared with prosecuting four suspects in an unknown number of
on Tier 2 Watch List for a third consecutive year.                           cases in 2020. Officials reported convicting at least seven traffickers
                                                                             under Section 342(1) of the Penal Code—sentencing them to between
                                                                             one and ﬁve years’ imprisonment and a ﬁne of 100,000 CFA ($170),
        CAMEROON TIER RANKING BY YEAR                                        compared with convicting 2 traffickers in 2020. Officials reported the
    1                                                                        court of appeal acquitted two traffickers sentenced to life and 15 years’
    2                                                                        of imprisonment in the previous reporting period. Additionally, regional
                                                                             MINAS authorities reported referral of 14 cases to the courts in the South
  2WL
                                                                             Region in September 2021.
    3
           2015     2016     2017       2018   2019   2020   2021   2022     The government did not report any prosecutions or convictions of
                                                                             government officials complicit in human trafficking crimes; however,
                                                                             corruption and official complicity in trafficking crimes remained signiﬁcant
                                                                             concerns, inhibiting law enforcement action. Additionally, the government
PRIORITIZED RECOMMENDATIONS:                                                 did not disclose efforts to investigate allegations of government security
Vigorously investigate and prosecute trafficking crimes, including           forces sexually exploiting women in the Southwest Region or soldiers
complicit officials, and adequately sentence convicted traffickers. •        from the 42nd Motorized Infantry Battalion who NGOs reported forcibly
Disseminate and train government officials on the National Referral          recruited community members in the Far North Region to stand watch
System and Standard Operating Procedures (NRS/SOP) on victim                 against Boko Haram incursions during the previous reporting period. In
identiﬁcation and referral and systematically and proactively identify       June 2021, the Department of State suspended for ﬁve years the A-3 visa
trafficking victims. • Amend the anti-trafficking law to remove the          sponsorship privileges afforded to Cameroon bilateral mission members
requirement of force, fraud, or coercion for child sex trafficking crimes    because the government declined to waive diplomatic immunity for
and to make a clear distinction between trafficking and smuggling. •         U.S. criminal proceedings involving mistreatment of a domestic worker
Further expand training for law enforcement and judicial officials, on the   and has not initiated its own prosecution. Between 2017 and 2019, a
anti-trafficking section of the penal code to increase the effectiveness     Cameroonian diplomat posted in the United States engaged in alleged
of investigations and prosecutions while respecting the rule of law and      criminal violations related to human trafficking. Because of diplomatic
human rights and administer sufficiently stringent sentences to those        immunity, the United States could not commence prosecution, and the
convicted. • Continue formal collaboration and coordination between          Government of Cameroon declined to waive immunity to allow the case
government ministries and with NGOs on proactively identifying and           to proceed. The government did not report taking any action to hold
protecting victims. • Implement a systemic victim-witness program            the diplomat accountable for the second consecutive year. The diplomat
to increase protective services for victims participating in the criminal    left the United States in 2021. Additionally, between 2015 and 2017, a
justice process and prevent re-traumatization. • Increase ﬁnancial and       Cameroonian diplomat posted in the United States allegedly engaged
human resources to the government’s anti-trafficking inter-ministerial       in visa fraud related to a child domestic worker. Because of diplomatic
committee (IMC), and regularly convene the committee in coordination         immunity, the United States could not commence prosecution, nor did the
with NGOs and international organizations. • Publicize information to        government report taking any action for the ﬁfth consecutive year to hold
citizens on their rights as foreign workers and sources of assistance        the diplomat accountable. The diplomat left the United States in 2018.
while abroad. • Expand the investigation of labor recruiters and agencies    Ongoing insecurity in the Far North Region as well as armed violence
suspected of fraudulent recruitment—including unlicensed recruiters          in the Northwest and Southwest regions between the government and
and intermediaries—and prosecute those complicit in trafficking. •           Anglophone separatists hindered the government’s law enforcement
Develop a robust and comprehensive data collection system to capture         efforts due to the closure of courts and lack of official access in some
government-wide anti-trafficking efforts.                                    areas. In many instances, cases were settled outside of the court system
                                                                             to avoid lengthy and burdensome court proceedings. Over the course
                                                                             of the reporting period, the General Delegation for National Security

                                                                                                                               Haiti AR_000640              159
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 265 of 729
CAMEROON   reported conducting training on the Penal Code for 154 police officers,        NGOs stated police and immigration officials’ screening efforts at
           compared with no trainings in the previous reporting period.                   Douala’s international airport prevented some potential victims from
                                                                                          traveling to the Middle East as a result of human trafficking schemes. The
           PROTECTION                                                                     Ministry of Employment and Vocational Training (MINEFOP) reported
           The government made mixed efforts to identify and protect victims.             auditing sixty companies and private labor placement offices compared
           Although the government did not maintain comprehensive statistics,             with none during the previous year, which led to the suspension and
           officials reported identifying 90 potential trafficking victims compared       closure of companies that were not adhering to the new regulations
           with 752 potential victims in 2020. The government did not report how          in April 2021. Decree No. ° 2021/2124/PM of April 14, 2021, established
           many victims were referred to care. However, the Ministry of Social Affairs    minimum operating requirements to establish a temporary job placement
           (MINAS) stated it provided assistance to an unknown number of trafficking      agency. Officials denied the accreditation of 10 labor recruitment
           victims during the reporting period, including shelter, basic assistance,      ﬁrms for violations potentially related to trafficking, issued warnings
           psycho-social support, health care, as well reintegration services at ﬁve      to 16 temporary employment placement ﬁrms suspected of human
           MINAS-run social centers in Yaounde and Douala; this compared with             trafficking; and suspended nine ﬁrms for trafficking-related concerns.
           MINAS reporting assistance to all 752 victims identiﬁed in the previous        MINEFOP officials reported publishing a list of licensed recruitment
           reporting period. MINAS also offered livelihoods training for victims at the   agencies annually, although the scope of dissemination was limited.
           Betamba Childhood Institute in the country’s Center Region. In January         MINEFOP reported it did not have a system to prevent traffickers from
           2022, the government opened a new short-term shelter for returning             exploiting workers once agencies placed them in overseas employment.
           adult and child migrants, including trafficking victims. The government        Increasing their vulnerability to trafficking, Cameroonians frequently
           had SOPs to guide officials in proactive identiﬁcation and referral of         used unauthorized recruiters to seek employment abroad.
           trafficking victims. However, the government did not report implementing
                                                                                          The lack of birth certiﬁcates remained a factor increasing the vulnerability
           or widely disseminating them to law enforcement or ﬁrst responders.
                                                                                          of individuals to exploitation. The government estimated at least 1.6 million
           The government had insufficient resources to address trafficking, which        children enrolled in schools in 2019 did not have birth certiﬁcates. An NGO
           hindered the government’s protection services. MINAS had the authority         attributed the lack of birth certiﬁcates to internal and external problems
           to admit children subjected to abuse—including trafficking victims—to          faced by the government such as poor record keeping, staff shortages,
           government institutions for vulnerable children, which offered shelter,        and violence and insecurity in the Northwest and Southwest regions.
           food, medical as well as psychological care, education, vocational training,   The government reported providing anti-trafficking training to its troops
           and family tracing. Private centers funded by NGOs and regulated by            prior to their deployment as peacekeepers. The government did not
           MINAS provided care for an unknown number of child victims. One                report providing anti-trafficking training to its diplomatic personnel. The
           NGO reported it identiﬁed and provided services to ﬁve victims. The            government made efforts to reduce the demand for commercial sex acts.
           government launched an initiative to return children vulnerable to
           trafficking in urban centers to their families or place them in MINAS-run      TRAFFICKING PROFILE
           shelters; the government did not report how many children it assisted          As reported over the past ﬁve years, human traffickers exploit domestic
           through this program. MINAS reported providing livelihoods and basic           and foreign victims in Cameroon, and traffickers exploit victims from
           needs support to 21,098 IDPs and 39,518 children from IDP families             Cameroon abroad. Pandemic-related border closures likely reduced the
           vulnerable to trafficking. NGOs reported thousands of Cameroonian              scale of transnational exploitation, according to experts. However, the
           workers remained in Middle Eastern countries, many of whom were at             economic impacts of the pandemic, combined with ongoing violence in
           risk of exploitation in domestic servitude or sex trafficking.                 the Northwest and Southwest regions, contributed to a sharp increase
                                                                                          in the number of victims exploited domestically. According to the
           The government did not have a formal policy to provide protections to
                                                                                          government study conducted during the reporting period, traffickers are
           victims participating in investigations and prosecutions. The government
                                                                                          using the Gulf of Guinea to move Cameroonian children to Côte d’Ivoire for
           did not report providing protection for any victims cooperating with
                                                                                          exploitation in cocoa farming and Malian, Burkinabe, Beninese, or Togolese
           trafficking investigations in spite of experts claiming trafficking
                                                                                          children to Cameroon for exploitation in farming in the North, West, and
           networks threatened victims during their trials. Victims were entitled
                                                                                          Northwest regions of Cameroon. High unemployment rates and economic
           to restitution from convicted traffickers; however, the government did
                                                                                          uncertainty continued to drive many, especially women, to contemplate
           not report awarding restitution. Due to the limited use of the victim
                                                                                          economic migration under questionable circumstances, leaving them
           identiﬁcation procedures and understanding of the crime among officials,
                                                                                          vulnerable to traffickers. Government officials, NGO representatives,
           authorities may have detained or deported some unidentiﬁed victims.
                                                                                          and media outlets stated the insecurity in some regions increased the
           The government could grant temporary residency status to foreign
                                                                                          risk of human trafficking during the reporting period due to the more
           victims who, if deported, may face hardship or retribution; however, it did
                                                                                          than one million IDPs, diminished police and judicial presence, as well
           not report providing this accommodation during the reporting period.
                                                                                          as deteriorated economic and educational conditions. The four years of
                                                                                          intermittent school closures in the Northwest and Southwest regions have
           PREVENTION
                                                                                          resulted in some parents sending their children to stay with intermediaries
           The government increased prevention efforts. The government’s IMC
                                                                                          who instead of providing education and safety, exploit the children in
           convened regularly and extended the existing 2021-2022 NAP for
                                                                                          domestic servitude.
           two additional years. The IMC held three working sessions with local
           anti-trafficking NGOs to discuss recommendations for the NAP during            Child traffickers often use the promise of education or a better life in urban
           the reporting period. MINAS continued its public awareness campaign            areas to convince rural parents to entrust their children to intermediaries,
           directed toward the general public and vulnerable children to inform           who then exploit the children in sex trafficking or forced labor; parents
           Cameroonians on trafficking indicators. The IMC organized awareness-           may play an active role early in the process due to their desire to remove
           raising activities in schools for students, teachers, and administrative       their children from areas impacted by violence. Criminals coerce women,
           staff. The government partnered with local NGOs and an international           IDPs, children experiencing homelessness, and orphans into sex trafficking
           organization to organize three awareness raising activities in three cities    and forced labor throughout the country. Some labor recruiters lure
           focused on trafficking in persons and migrant smuggling in December            children and adolescents from economically disadvantaged families
           2021. In preparation for the January 2022 African Cup of Nations, MINAS        to cities with the prospect of employment and then subject victims
           organized a workshop in October 2021 to train law enforcement officials,       to labor or sex trafficking. Traffickers exploit Cameroonian children in
           social workers, and local representatives on human trafficking. The Minister   domestic service, restaurants, as well as begging or vending on streets
           of Social Affairs, in collaboration with an international organization,        and highways. Additionally, criminal elements force Cameroonian children
           launched a dedicated human trafficking hotline on January 18, 2022. The        to work in artisanal gold mining, gravel quarries, ﬁshing, animal breeding,
           Cameroon Human Rights Commission also operated a hotline to report             and agriculture (on onion, cotton, tea, and cocoa plantations), as well
           human rights violations, including human trafficking. The government           as in urban transportation assisting bus drivers and in construction to
           did not report whether any victims were identiﬁed from the hotlines            run errands, work, or provide security. A government study highlighted
           during the reporting period.                                                   Cameroon, Equatorial Guinea, and the maritime Gulf of Guinea area are

 160                                                                                                                                     Haiti AR_000641
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 266 of 729




                                                                                                                                                                 CANADA
the main channels through which traffickers move children intended for           migrants report Cameroonian trafficking networks in Morocco coerce
exploitation in domestic servitude in Gabon. Media reporting indicates           women into sex trafficking.
exploitation in Cameroon’s ﬁshing sector is widespread.
Observers note pandemic travel restrictions likely decreased child
sex tourism in 2020; past reports highlighted Kribi and Douala as two
centers of the crime, primarily perpetrated by nationals of Belgium,              CANADA: TIER 1
Chad, France, Germany, Nigeria, Switzerland, and Uganda. Criminals
exploited Cameroonians in forced labor and sex trafficking in the                The Government of Canada fully meets the minimum standards for the
Bonaberi neighborhood in Douala—which hosts hundreds of IDPs,                    elimination of trafficking. The government continued to demonstrate
according to NGOs.                                                               serious and sustained efforts during the reporting period, considering
                                                                                 the impact of the COVID-19 pandemic on its anti-trafficking capacity;
Foreign business owners and herders force children from neighboring
                                                                                 therefore Canada remained on Tier 1. These efforts included identifying
countries including Benin, the Central African Republic, Chad, Equatorial
                                                                                 more possible victims of forced labor among temporary foreign workers;
Guinea, and Nigeria to labor in spare parts shops or cattle grazing in
                                                                                 issuing new operational guidance on detecting money laundering linked
northern Cameroon; many traffickers share the nationality of their victims.
                                                                                 to human trafficking; and launching new government procurement
The number of children traffickers exploit as they transit the country en
                                                                                 guidelines for suppliers and their subcontractors to prevent forced labor
route to Gabon and Equatorial Guinea decreased due to border closures
                                                                                 from occurring in government supply chains. Although the government
related to the pandemic. Observers reported officials from the Republic of
                                                                                 meets the minimum standards, it did not provide comprehensive data
Turkey and the People’s Republic of China in Cameroon may unwittingly
                                                                                 on victims provided with government-funded services nationwide. The
facilitate transnational human trafficking by granting visas to Africans
                                                                                 government’s efforts to identify victims, to provide protections to all
with little oversight. Cameroonian banks may have assisted criminal
                                                                                 victims—particularly forced labor victims—and to investigate and to
networks involved in fraudulent recruitment by validating income and
                                                                                 prosecute forced labor crimes, remained inadequate. The range, quality,
employment oversight requirements, as well as opening “ghost” bank
                                                                                 and timely delivery of trafficking-speciﬁc services varied nationwide,
accounts for victims to demonstrate false income levels.
                                                                                 and service providers reported a shortage of victim services, including
Observers reported there were 933,000 IDPs in Cameroon at the end of             emergency shelters and longer-term housing.
2021, a decrease from 977,000 reported in 2019. In addition to IDPs, there
were approximately 476,000 refugees in the country as of December
31, 2021. Traffickers may prey on both IDPs and refugees due to their                    CANADA TIER RANKING BY YEAR
economic instability and sometimes-limited access to formal justice.                 1
Boko Haram’s activities on the border with Nigeria continued to displace             2
many of these refugees. There continued to be reports of hereditary                2WL
slavery in northern chiefdoms.
                                                                                     3
Observers previously reported government security forces engaged in                         2015     2016     2017     2018   2019    2020     2021    2022
commercial sex with women in the Southwest Region divisions of Ndian,
Buea, Ekona, and Muyuka, using food insecurity and their authority as
leverage. Some community neighborhood watch groups, known as
vigilance committees, may also use and recruit children in operations            PRIORITIZED RECOMMENDATIONS:
against Boko Haram and other non-state armed groups, although there is           Vigorously investigate and prosecute trafficking crimes, including forced
no evidence to suggest the government was providing material support             labor and child sex tourism, and seek adequately strong sentences on
to these speciﬁc groups. Anglophone separatists recruited and used               par with the severity of the crimes for convicted traffickers. • Increase
child soldiers in the Southwest and Northwest regions, both for ﬁghting          proactive identiﬁcation of victims, particularly male victims and forced
government forces and for gathering intelligence, according to observers.        labor victims, through screening among vulnerable populations and
Traffickers exploit Cameroonians from disadvantaged social strata, in            proactive outreach and assistance to migrant workers. • Signiﬁcantly
particular from rural areas, in forced labor and sex trafficking in the Middle   increase trauma-informed specialized services and shelter available
East (especially Kuwait and Lebanon), Europe (including Switzerland              to all victims, including male victims and foreign national victims,
and Cyprus) multiple African countries (including Benin and Nigeria),            throughout the country, in partnership with civil society and through
the United States, and Thailand. Most Cameroonians exploited abroad              ongoing dedicated funding from federal and provincial governments.
are between the ages of 20 and 38, and come from the Northwest,                  • Enact a policy protecting victims from punishment for unlawful acts
Southwest, Littoral, Center, South, and West regions. Fraudulent labor           traffickers compel them to commit. • Increase nationwide trafficking
brokers recruit some Cameroonian women for domestic work in the                  data collection, including timely consolidation of investigations,
Middle East, where traffickers exploit them in sex trafficking or domestic       prosecutions, and convictions disaggregated by type of exploitation,
servitude. Pandemic border closures diminished, but did not eliminate,           numbers of identiﬁed victims, and assistance provided. • Enact and
the risk that criminals exploit some economic migrants in search of              implement legal amendments to prohibit worker-paid recruitment fees
opportunity in Libya, or while in transit through Niger. NGOs reported           and strengthen protections for temporary foreign workers in Canada.
Nigerians in the eastern states of that country exploited Cameroonian            • Increase coordination and communication among federal, provincial,
refugees displaced by the crisis in Cameroon’s Northwest and Southwest           and territorial actors and strengthen provincial interagency efforts. •
regions in forced labor and sex trafficking.                                     Establish a survivor-led advocacy council to assist in policy development
                                                                                 and ensure members are duly compensated for their work. • Amend
Trafficking networks generally consist of local community members,               the criminal code and Immigration and Refugee Protection Act to
including religious leaders and trafficking victims who have become              include deﬁnitions of trafficking that are consistent with international
perpetrators. These networks advertise jobs through the internet, as             law. • Increase information-sharing and cooperation with First Nations,
well as other media, and recruit and sell other Cameroonians directly            Métis, and Inuit Indigenous communities and NGOs to address the
to families in need of domestic workers. Traffickers used the internet           disproportionate impact of trafficking on those communities. • Increase
to recruit victims through fake websites, highlighting opportunities in          training for government officials, particularly prosecutors and judges,
trades such as the fashion industry, modeling, entertainment, education,         emphasizing the importance of charging and prosecuting under
and information technology. Advocates working on trafficking issues              trafficking statutes, rather than lesser offenses, and ordering restitution
report the government’s awareness-raising activities targeting fraudulent        upon trafficking convictions. • Increase partnerships with the private
recruitment have raised awareness among vulnerable populations, but              sector, including ﬁnancial institutions, to prevent trafficking. • Vigorously
have caused intermediaries to operate with greater discretion, often             enforce laws and policies to address trafficking in the federal supply chain.
directing victims to travel to the Middle East through neighboring
countries, including Nigeria. International organizations, NGOs, and
                                                                                                                                     Haiti AR_000642             161
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 267 of 729
CANADA
         PROSECUTION                                                                    linked to human trafficking. FINTRAC provided information and shared
         The government maintained law enforcement efforts. Criminal code               best practices with stakeholders in the private sector and NGOs, as
         sections 279.01 and 279.011 criminalized sex trafficking and labor             well as across Canadian, international, and multilateral government
         trafficking, prescribing penalties of four to 14 years’ imprisonment for       entities. NGOs noted a continued imbalance in the government’s anti-
         trafficking of adults and ﬁve to 14 years’ imprisonment for trafficking        trafficking efforts, with limited attention to and understanding of forced
         of children; these penalties were sufficiently stringent and, with respect     labor. Coordination challenges among federal, provincial, territorial,
         to sex trafficking, commensurate with those for serious crimes, such as        and municipal authorities limited the effectiveness of anti-trafficking
         rape. Inconsistent with the deﬁnition of trafficking under international       law enforcement efforts, particularly on cases that spanned multiple
         law, the law did not establish the use of force, fraud, or coercion as         jurisdictions. The government’s lack of a coordinated data collection
         an essential element of the crime. Section 279.02 also criminalized            system made it difficult for authorities to collect reliable, timely, and
         receiving ﬁnancial or any other material beneﬁt from trafficking and           consolidated data to assess efforts and respond to trends.
         prescribed a maximum penalty of 10 years’ imprisonment for offenses            The Canadian Police College provided a human trafficking investigators
         involving adult victims and a mandatory minimum of two years’ to a             course that trained police on understanding the scope of trafficking
         maximum of 14 years’ imprisonment for offenses involving child victims.        crimes, fostering trust between law enforcement and victims, and
         Section 279.03 criminalized withholding or destroying documents                overcoming challenges in investigating and prosecuting trafficking
         to facilitate trafficking and prescribed a maximum penalty of ﬁve              cases. The Royal Canadian Mounted Police (RCMP) provided an online
         years’ imprisonment in cases involving adult victims and a mandatory           introduction to a human trafficking course completed by law enforcement
         minimum of one year to a maximum of 10 years’ imprisonment in cases            officials, including front-line police who had limited knowledge of or
         involving child victims. Section 286.1 criminalized purchasing commercial      experience with trafficking investigations. The Canadian Border Services
         sex acts from an individual under 18 years of age and prescribed a             Agency provided an online training course on human trafficking to new
         minimum penalty of six months and a maximum penalty of 10 years’               recruits. The government’s training academy for new police recruits
         imprisonment. The Immigration and Refugee Protection Act (IRPA)                included trafficking awareness in its training curriculum. FINTRAC
         established a separate crime of “human smuggling and trafficking” to           regularly made presentations during the human trafficking investigator
         mean “no person shall knowingly organize the coming into Canada of             courses at the provincial and federal levels to educate law enforcement
         one or more persons by means of abduction, fraud, deception or use or          officials on using ﬁnancial intelligence in human trafficking investigations.
         threat of force or coercion.” Inconsistent with the deﬁnition of trafficking   The RCMP’s operational manual, updated in 2021, provided guidelines
         under international law, this provision did not include exploitation as        and procedures for investigating human trafficking cases. During the
         an essential element of the crime.                                             reporting period, the RCMP developed new resources for police including
         Government officials at the federal, provincial, and municipal levels          a trafficking victim interview guide, a police officer’s handbook, and
         investigated and prosecuted trafficking crimes, but the government             a presentation on detecting human trafficking for generalized police
         did not report comprehensive law enforcement data at each of these             and traffic officials. The government reported police cooperated with
         levels. The federal government did not maintain a national database. The       foreign law enforcement officials on several open investigations during
         Uniform Crime Reporting (UCR) system included provincial and municipal         the reporting period. The government did not report any investigations,
         data but did not disaggregate between sex and labor trafficking. The           prosecutions, or convictions of government employees complicit in
         UCR data is available each July for the previous calendar year, and for        trafficking offenses.
         2020, the government reported investigating a total of 515 incidents
         that led to 241 individuals charged with trafficking crimes; this compared     PROTECTION
         with 511 trafficking incidents investigated and 270 individuals charged        The government maintained protection efforts; it identiﬁed more
         in 2019 and 340 incidents investigated and 236 individuals charged in          possible labor trafficking victims but did not report how many received
         2018. Employment and Social Development Canada (ESDC) reported                 services. The government did not report complete data on the number of
         identifying and referring to law enforcement 115 suspected forced              victims identiﬁed. RCMP officers identiﬁed 63 victims in 2021, compared
         labor cases within the temporary foreign worker program in 2021,               to 80 victims in 2020 and 119 in 2019. Identiﬁed victims included 46
         an increase from 45 forced labor investigations between April and              women, two men, and 15 girls. In addition, ESDC identiﬁed 115 potential
         December 2020 and 32 forced labor investigations between April and             forced labor victims among temporary foreign workers, an increase
         October 2019. Immigration, Refugees and Citizenship Canada, which              from 45 potential victims identiﬁed by ESDC in the previous reporting
         conducted administrative investigations of potential human trafficking         period. The government provided several handbooks, guidelines,
         cases among immigration and refugee cases, initiated approximately 25          and other resources to front-line officials—including police, justice
         new large-scale investigations involving allegations of human trafficking      practitioners, and border officials—to enable them to proactively
         in 2021, compared with 37 in 2020 and 20 in 2019.                              identify indicators of trafficking among the populations they served.
                                                                                        RCMP officers followed a policy to facilitate trafficking victims’ referral
         Federal, provincial, and municipal authorities prosecuted 245 suspected
                                                                                        to services, while referral procedures for other front-line institutions
         traffickers and convicted 100 traffickers between January 1 and December
                                                                                        varied by jurisdiction. The government provided funding to an NGO to
         11, 2021. In 2019, authorities prosecuted 185 suspects and convicted
                                                                                        operate a national human trafficking hotline. Hotline staff developed
         50 traffickers. Courts imposed sentences ranging from eight to 18
                                                                                        a national referral directory and maintained partnerships with nearly
         years’ imprisonment for convicted child traffickers; in 2020, courts
                                                                                        900 service providers to facilitate victim referral to local emergency,
         imposed sentences between seven years and eight years, six months’
                                                                                        transition, or long-term support services. Public Safety Canada (PSC)
         imprisonment for convicted traffickers. The government reported courts
                                                                                        operated a toll-free number that victims of any type of crime could
         acquitted some defendants of trafficking charges but convicted them
                                                                                        call to access information and service referral.
         under other sections of the criminal code. The government reported
         authorities prosecuted the majority of trafficking cases at the provincial     Provinces and territories were primarily responsible for the delivery
         level, though it did not provide complete data on provincial-level             of victim services, with the federal government providing funding to
         prosecutions and convictions. Some provinces and municipalities                service providers. The government did not report complete data on
         maintained specialized anti-trafficking law enforcement units. Many            victims receiving government-funded services. The federal government
         courts continued to operate over virtual platforms, sometimes causing          allocated 1.34 million Canadian dollars ($1.05 million) to Justice Canada’s
         logistical challenges to ensure victims and witnesses had access to            Victims Fund to support trafficking victims and groups at high risk of
         reliable equipment and internet connections.                                   exploitation, compared with 930,200 Canadian dollars ($728,420)
                                                                                        in 2020. Through this fund, the government provided funding to
         The Financial Transactions and Reports Analysis Centre of Canada
                                                                                        organizations implementing 10 projects to improve services for trafficking
         (FINTRAC) updated its Operational Alert, a resource for assisting the
                                                                                        victims and develop and deliver training for law enforcement officers
         private sector to detect the laundering of illicit proceeds from sex
                                                                                        and service providers in the provinces and territories. Implementing
         trafficking, with additional money laundering and contextual indicators
                                                                                        organizations reported providing services to approximately 744 victims
         developed from analysis of 100,000 sampled ﬁnancial transactions
                                                                                        and vulnerable individuals through government-funded projects
 162                                                                                                                                  Haiti AR_000643
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 268 of 729




                                                                                                                                                            CANADA
between January and November 2021. In comparison, organizations                The pandemic continued to negatively impact the availability of and
estimated providing services to approximately 220 individuals during           victims’ access to services. A survey conducted by an NGO revealed
a nine-month period (April-December) in 2020.                                  service providers had to signiﬁcantly adjust their operations during the
                                                                               pandemic, including by reducing hours or moving services online, and
Each province or territory provided some services for victims, often
                                                                               the loss of in-person services, particularly counseling, was detrimental
in collaboration with NGOs, though the government did not collect
                                                                               to victims. Lack of consistent access to resources, such as a computer,
comprehensive data on the amount of funding or number of victims
                                                                               reliable internet connection, and privacy, limited some victims’ ability
served at the provincial and territorial level. Models for service provision
                                                                               to beneﬁt from online services, and limited options for in-person
varied across the country in response to provincial demographics,
                                                                               assistance may have placed victims at higher risk of re-exploitation.
priorities, and budgets. In some provinces, victims accessed government
                                                                               NGOs operating shelters in Ottawa reported a weeks-long protest in
services through police or the courts, while other provinces offered
                                                                               January and February 2022 caused disruptions to shelter services and
victims more comprehensive individual support. Victims could typically
                                                                               effectively conﬁned some victims to shelters to avoid harassment by
access emergency housing, food, medical services, psychological care,
                                                                               protesters.
safety planning, and court preparation and accompaniment. Some
jurisdictions offered additional legal services to victims of sexual           Canadians who were victims of trafficking crimes that occurred outside
offenses, including sex trafficking, and many provinces and territories        Canada could be eligible to receive ﬁnancial assistance for travel,
provided counseling services beyond the duration of a trial. Assistance        psychological services, and other expenses through the Victims Fund, as
was available for both Canadian and foreign victims, as well as male and       well as assistance from Canadian consular officials abroad, though the
female victims, but service providers reported they primarily served           government did not report providing this assistance to any victims during
Canadian women and girls. Several provincial governments funded or             the reporting period. Global Affairs Canada officials had procedures to
implemented trafficking-speciﬁc programming. The Government of                 proactively identify potential trafficking victims working in diplomatic
Alberta continued funding a multisectoral coalition, which included            households in Canada, including through verifying payroll records and
survivors, to provide services to victims and coordinate a provincial          conducting random and systematic interviews with domestic workers
response to trafficking; the Government of British Columbia funded             in diplomatic households, but it did not report identifying any victims
an office that developed and coordinated the provincial strategy and           during the year. The government provided alternatives to removal for
worked to enhance victims’ access to services; and the Government              foreign trafficking victims who faced danger or hardship in their home
of Ontario funded a government entity that provided coordination               countries. Foreign trafficking victims could apply for a temporary
and services in the province. Ontario also continued implementation            resident permit (TRP), which allowed them to remain in Canada under
of a ﬁve-year, 307 million Canadian dollar ($240.41 million) strategy          regularized immigration status, receive access to healthcare, including
to combat trafficking that included committing 96 million Canadian             psychological services, and in some cases apply for a work permit.
dollars ($75.18 million) over ﬁve years to 27 community-based projects,        Officials issued short-term TRPs for up to 180 days or long-term TRPs
including survivor-led programming and Indigenous-speciﬁc services.            for three years. Authorities did not require victims to participate in
In December 2021, the Government of Québec released an action plan             an investigation or prosecution to be eligible for a TRP, and victims
and announced 150 million Canadian dollars ($117.46 million) over ﬁve          could apply directly without a referral from law enforcement or service
years toward activities combating sexual exploitation, including sex           providers. The government reported authorities prioritized trafficking-
trafficking. In Manitoba, police and NGOs continued to assist victims          related TRP applications, including throughout the pandemic. Between
through a collaborative response team and implement a prevention               January and November 2021, the government issued 65 TRPs to foreign
strategy funded by the provincial government. In December 2021,                trafficking victims and their dependents; this compared with 110 TRPs
the Manitoba government announced 3 million Canadian dollars                   issued to trafficking victims in 2020. TRP holders could apply for fee-
($2.35 million) in funding to an Indigenous women-led organization             exempt work permits, and the government reported providing permits
to provide support for women trauma survivors, including trafficking           to approximately 46 trafficking victims and their dependents in 2021.
victims. The Government of Nova Scotia provided 1.4 million Canadian
                                                                               Canadian law provided various protections to victims and other
dollars ($1.1 million) toward implementation of a provincial approach to
                                                                               witnesses participating in trials, many of which were mandatory
combat human trafficking and sexual exploitation; this funding included
                                                                               for children and available to adults at a judge’s discretion. These
initiatives to strengthen support for Black and Indigenous victims and
                                                                               protections included video testimony, the presence of a support
the re-opening of a resource center for Indigenous women who were
                                                                               person during testimony, a ban on publishing names of or releasing
vulnerable to exploitation. The Nova Scotia government also funded
                                                                               identifying information about witnesses, and closing courtrooms to the
a youth safe house with the capacity to provide specialized trafficking
                                                                               public. Authorities did not report how frequently courts afforded these
victim services and 24-hour support to two residents at a time for up to
                                                                               protections to trafficking victims during trials. Through the Victims
three months, as well as follow-up services after victims left the shelter.
                                                                               Fund, the government funded organizations providing training on
The Government of British Columbia administered a grant program
                                                                               trauma-informed practices for criminal justice officials. NGOs reported
using civil forfeiture proceeds to support community-led projects on
                                                                               a lack of victim-centered methods re-traumatized some victims during
crime prevention and victim assistance; in its 2021-2022 funding cycle,
                                                                               court proceedings. Courts could order traffickers to pay restitution to
it awarded 570,000 Canadian dollars ($446,360) to 16 organizations
                                                                               victims under Canadian criminal law, and the provinces of Alberta,
implementing projects related to human trafficking.
                                                                               Manitoba, and Ontario had laws allowing trafficking victims to seek
NGOs operated shelters nationwide for victims of violence, mostly              civil redress. Some provinces had compensation or ﬁnancial beneﬁts
women and their accompanying children; the government funded                   programs for crime victims. The government did not report whether
some shelters, but only a few provided beds speciﬁcally for trafficking        any victims received restitution, sought civil redress, or were awarded
victims. Service providers reported there was an insufficient supply of        compensation through provincial programs in 2021. The government
emergency shelters, medium- to long-term housing, and specialized              did not have a law or policy protecting victims from punishment for
medical and psychological services to meet the needs of trafficking            unlawful acts traffickers compelled them to commit; there were no
victims; they also reported some available shelter options were not            reports, however, that authorities penalized victims for such acts.
adequate for victims to receive appropriate, trauma-informed care.
Through the Victims Fund, the government continued to provide an               PREVENTION
annual allocation of more than 3.3 million Canadian dollars ($2.58             The government increased prevention efforts. PSC continued to lead
million) to support multidisciplinary, child-friendly advocacy centers         the government’s federal interagency task force to combat trafficking,
that enhance trauma-informed assistance to child victims of abuse,             which oversaw implementation of federal anti-trafficking measures
including human trafficking, during the criminal justice process. In           under the strategic framework of the government’s National Strategy to
addition, the government provided supplemental funding to assist               Combat Human Trafficking 2019-2024. The national strategy included
child advocacy centers to adapt their services and meet increased              57.22 million Canadian dollars ($44.81 million) in funding over ﬁve years
demand during the pandemic.                                                    and 10.28 million Canadian dollars ($8.05 million) annually after 2024. It
                                                                               created a governance structure composed of senior leaders from relevant
                                                                                                                               Haiti AR_000644              163
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 269 of 729
CANADA   government agencies and coordinated government anti-trafficking               with businesses, local governments, and other stakeholders. During
         and related activities, including online sexual exploitation of children,     the reporting period, the Minister of Labour committed to leading an
         gender-based violence, and the disproportionate impact of violence            effort to introduce legislation aimed at eliminating forced labor from the
         on Indigenous women and girls and LGBTQI+ individuals. During the             global supply chains of Canadian businesses. The government began
         reporting period, the government convened an annual meeting of the            implementing a 2020 amendment to its Custom Tariff that prohibited
         Assistant Deputy Ministers Roundtable and a meeting of the Directors-         the importation of goods produced by forced labor. In October 2021,
         General Steering Committee, and relevant government departments               the government seized a shipment of women and children’s clothing
         developed and implemented a system for sharing information and                from the People’s Republic of China (PRC) on suspicion the goods were
         updates on a monthly basis. PSC published the ﬁrst two annual progress        produced with forced labor; after further review of the case, authorities
         reports on Canada’s key results and achievements under the national           released the shipment and allowed it to enter Canada.
         strategy. The national strategy called for the establishment of a survivor-
                                                                                       The government implemented the ﬁrst phase of a ﬁve-year national
         led advisory committee, though the government did not create it during
                                                                                       awareness campaign through advertisements on social media, search
         the year. To facilitate coordination and collaboration among federal,
                                                                                       engines, news websites, radio, in cinemas, and through in-person events;
         provincial, and territorial governments, PSC chaired meetings of the
                                                                                       public surveys informed campaign materials, which the government
         Federal, Provincial, and Territorial (FPT) Trafficking in Persons Working
                                                                                       designed to raise awareness of human trafficking, address common
         Group, and Justice Canada led the FPT Coordinating Committee of
                                                                                       misperceptions of the crime, educate the public on warning signs, and
         Senior Officials Working Group on Human Trafficking.
                                                                                       provide information for reporting suspected cases. The RCMP provided
         The government announced a series of proposed amendments to the               virtual training on human trafficking to school resource officers across
         Immigration and Refugee Protection Regulations that would increase            the country and distributed presentations for use in local communities.
         protections for temporary foreign workers in Canada; the proposed
                                                                                       GAC increased its efforts to prevent sexual exploitation within the
         amendments included a new prohibition on worker-paid recruitment
                                                                                       delivery of foreign assistance, including by promoting internal trainings
         fees, a requirement for employers to provide an employment agreement,
                                                                                       to educate staff on the issue and how to respond to abuses; updating
         and increased employer responsibility for providing access to healthcare.
                                                                                       the relevant clause in funding agreements to include stronger language
         The amendments would also add a prohibition on employer retaliation
                                                                                       on expectations of partners; and establishing a permanent unit
         against workers who report complaints, provide greater authorities
                                                                                       within GAC on the prevention of sexual exploitation and abuse. The
         for officials to screen new employer applications for compliance, and
                                                                                       government made limited efforts to reduce the demand for participation
         strengthen government monitoring and oversight mechanisms for
                                                                                       in international child sex tourism by its citizens; some efforts included
         temporary foreign worker programs. These changes did not come into
                                                                                       distributing publications warning Canadians traveling abroad about
         effect during the reporting period.
                                                                                       penalties under Canadian law and directing personnel in its overseas
         The government provided more than 6 million Canadian dollars ($4.7            diplomatic missions to report suspected cases to local law enforcement
         million) to six community organizations across the country working            and INTERPOL. The government, however, did not report any data
         to increase temporary foreign workers’ knowledge of their rights,             on child sex tourism investigations, prosecutions, or convictions. The
         support them in navigating the impacts of the pandemic, and assist            government made efforts to reduce the demand for commercial sex
         them in exercising their rights while living and working in Canada.           acts through public messaging and awareness-raising activities.
         Through this funding, the government supported activities tailored
         to the needs and experiences of this vulnerable population, including         TRAFFICKING PROFILE
         services and information in workers’ ﬁrst language; events and services       As reported over the past ﬁve years, human traffickers exploit domestic
         during hours workers were likely to be available; free transportation or      and foreign victims in Canada, and traffickers exploit victims from
         virtual or phone-based options; outreach visits to workers in isolated        Canada abroad. Women and children from Indigenous communities,
         locations; and legal services. The government permitted temporary             migrants and new immigrants, LGBTQI+ persons, persons with
         foreign workers, on valid employer-speciﬁc work permits and who               disabilities, at-risk youth, runaway youth, and youth in the child
         experienced abuse or were at risk of abuse in the context of their            welfare system are at high risk for trafficking. Traffickers lure girls and
         employment in Canada, to apply for an open work permit; such permits          young women, including some who are not socially or economically
         allowed a worker to leave an abusive situation and change employers           disadvantaged, into deceptive romantic relationships or through offers
         without losing status to work in Canada. The government issued new            of economic opportunity and exploit them in sex trafficking. Traffickers
         guidance on the abuse of workers in the context of the pandemic. The          exploit Canadian victims within and across the country and sometimes
         government reported immigration officials had guidelines for processing       abroad, mainly in the United States. Traffickers exploit foreign women,
         potential victims of trafficking who sought open work permits, though         primarily from Asia and Eastern Europe, in sex trafficking in Canada. Sex
         the government did not provide statistics on the number of trafficking        traffickers exploit victims in hotels, illicit storefronts disguised as spas,
         victims or other vulnerable migrants who applied for or received open         massage parlors, or strip clubs, and in private residences. Trafficking
         work permits. The government temporarily extended the program to              operations increasingly used online payment methods and investment
         agricultural workers from Trinidad and Tobago who were stranded in            tools in efforts to conceal ﬁnancial transactions. Traffickers exploit
         Canada during the pandemic. The government implemented a policy               legal foreign workers from Eastern Europe, Asia, Latin America, the
         during the pandemic to allow additional time for foreign nationals            Caribbean, and Africa in forced labor in a variety of sectors, including
         to renew their temporary immigration status and to permit some                agriculture, construction, food processing, restaurants, hospitality, and
         work permit applicants to work legally while their applications were          domestic service, including isolated reports of incidents in diplomatic
         pending; these measures may have mitigated trafficking risks among            households. Migrant workers in the caregiving and agricultural sectors
         some foreign nationals who would have lost their immigration status           were at the highest risk of forced labor due to language barriers, isolated
         during the pandemic.                                                          worksites, and limited access to protections. Some foreign nationals
                                                                                       are exploited by traffickers with ties to organized crime networks in
         The government commissioned an independent organization to conduct
                                                                                       victims’ home countries. Canadians travel abroad to purchase sex acts
         a risk assessment of human trafficking in the government’s supply
                                                                                       from child victims in other countries, and foreign nationals purchase
         chains. Public Services and Procurement Canada launched a revised
                                                                                       sex acts from child victims in Canada. Traffickers in Canada operate
         Code of Conduct for Procurement that included labor and human rights
                                                                                       individually and via family-based connections; some are affiliated with
         standards for all suppliers, including an expectation that suppliers and
                                                                                       street gangs and transnational organized crime.
         their subcontractors do not engage in any form of human trafficking.
         The government began adding a new clause to its contracts allowing
         authorities to terminate contracts with a supplier engaged in forced
         labor. Government Affairs Canada (GAC) trained approximately 800
         domestic and overseas staff in its Trade Commissioners Service on the
         government’s responsible business conduct policies, with the intent
         to increase trade commissioners’ capacity to engage on these issues
 164                                                                                                                                 Haiti AR_000645
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 270 of 729




                                                                                                                                                               CENTRAL AFRICAN REPUBLIC
                                                                                which were sufficiently stringent and, with respect to sex trafficking,
 CENTRAL AFRICAN REPUBLIC:                                                      commensurate with penalties prescribed for other serious offenses,

 TIER 2                                                                         such as kidnapping. If the crime involved a child victim of sex trafficking
                                                                                or forced labor similar to slavery, the prescribed penalties increased
                                                                                to ﬁve to 10 years’ imprisonment with hard labor. The government, in
The Government of the Central African Republic (CAR) does not fully             collaboration with international organizations, drafted new trafficking
meet the minimum standards for the elimination of trafficking but is            legislation, which was pending review by the national assembly at the
making signiﬁcant efforts to do so. The government demonstrated                 end of the reporting period.
overall increasing efforts compared to the previous reporting period,
                                                                                The government reported initiating eight trafficking investigations
considering the impact of the COVID-19 pandemic, on its anti-trafficking
                                                                                and continuing 30 investigations from the previous reporting period,
capacity; therefore CAR remained on Tier 2. The government investigated
                                                                                compared with initiating 33 investigations in the previous reporting
more trafficking cases, and for the ﬁrst time in ﬁve years, convicted a
                                                                                period. The government reported prosecuting two suspects compared
trafficker. Officials ﬁnalized standard operating procedures (SOPs) for
                                                                                with none in the previous reporting period. For the ﬁrst time in ﬁve years,
the identiﬁcation and referral to care for trafficking victims. Additionally,
                                                                                the government convicted a trafficker for forced labor of children under
the government launched a new hotline for reporting violence against
                                                                                Article 151 of the criminal code. The court ordered a suspended one-year
women, including trafficking. However, the government did not meet
                                                                                sentence. The government reported court hearings were suspended for
the minimum standards in several key areas. Victim services remained
                                                                                two months due to pandemic restrictions during the reporting period.
inadequate. Central African Armed Forces (FACA) officers forcibly
recruited and used at least one child during the reporting period. The          The government did not report any prosecutions or convictions of
national assembly did not ﬁnalize the pending anti-trafficking legislation      government employees complicit in human trafficking crimes; however,
during the reporting period, and official complicity in human trafficking       corruption and official complicity in trafficking crimes remained
remained signiﬁcant concerns.                                                   signiﬁcant concerns, hindering law enforcement action during the
                                                                                year. The government investigated a customs agent suspected of
                                                                                sex trafficking 12 victims, including 11 girls and one woman; the case
         CENTRAL AFRICAN REPUBLIC TIER RANKING BY YEAR                          remained pending trial at the end of the reporting period. Individual FACA
     1                                                                          soldiers—violating command directives—forcibly recruited at least one
    2                                                                           child and used seven children in support roles to serve at checkpoints
  2WL                                                                           and run errands. FACA continued to collaborate and provide material
                                                                                support to a Kremlin-backed Wagner Group, which forcibly recruited
     3
            2015     2016      2017     2018      2019   2020   2021   2022
                                                                                and used children to gather intelligence and as laborers.
                                                                                In partnership with international organizations, the government provided
                                                                                12 trainings for government officials on trafficking indicators, trafficking
                                                                                penal code, and victim identiﬁcation and referral. Most government
PRIORITIZED RECOMMENDATIONS:                                                    officials lacked an understanding of human trafficking, hindering the
Cease the recruitment and use of child soldiers by all government forces,       government’s ability to investigate trafficking crimes and identify victims.
hold complicit officials accountable, and expand efforts to sensitize           Authorities partnered with ﬁve UN Police (UNPOL) mentors to assist in
all national security forces on CAR’s anti-child soldiering directives.         law enforcement operations. Years of destabilizing conﬂict exacerbated
• Cease support to and coordination with armed groups—including                 by continued violence during the reporting period severely limited
the Kremlin-backed Wagner Group—that unlawfully recruit and use                 formal judicial capacity outside the capital, leading to the frequent use
children. • Coordinate with international organizations to demobilize           of customary dispute resolution methods through which traditional
and provide reintegration services to child soldiers, cease detention of        chiefs or community leaders administered punishment for criminal acts.
former child soldiers, and increase efforts to minimize their re-recruitment
by armed groups. • Vigorously investigate and prosecute trafficking             PROTECTION
crimes, including complicit officials, and adequately sentence convicted        The government demonstrated mixed victim protection efforts. The
traffickers. • Train officials to use the SOPs for victim identiﬁcation and     country’s anti-trafficking committee reported UMIRR officials identiﬁed
referral to care and proactively identify trafficking victims. • Expand         19 victims (six adult men, one adult woman, and 12 girls; 10 victims were
anti-trafficking training for police and gendarmerie to effectively             exploited in sex trafficking and nine were exploited in labor trafficking),
investigate trafficking cases, identify victims, and refer them to care, in     compared with identifying 34 trafficking victims in the previous reporting
partnership with NGOs. • Relevant ministries allocate additional ﬁnancial       period. The government created UMIRR in 2015 and operationalized the
and in-kind resources to support the Mixed Unit for Rapid Intervention          unit in 2017 to prevent sexual violence against women and children; it
and Repression of Sexual Violence to Women and Children’s (UMIRR)               serves as the lead government agency on providing protective services
operations. • Include trafficking-speciﬁc training to judges, magistrates,      for trafficking victims. Observers noted that most trafficking victims
and prosecutors in the country’s judicial academies and expand training         were individuals predominantly living in conﬂict or crisis zones and
for existing justice sector officials. • Increase the number of court           overwhelmingly members of the minority Ba’Aka community. Authorities
hearings—separate from informal mediation—for suspected trafficking             provided services to all 19 identiﬁed victims and referred all victims to
cases. • Increase referrals of victims to services in partnership with          government-supported NGOs for provision of services. The government
NGOs and international organizations, and ensure trafficking victims            continued to provide services to more than 30 victims identiﬁed in
are not punished for unlawful acts traffickers compel them to commit.           the previous reporting period. The government, in partnership with an
• Expand radio programming in French and Sangho to raise awareness              international organization, ﬁnalized SOPs for victim identiﬁcation and
of the crime in Bangui in partnership with civil society, traditional and       referral to care and conducted training for officials on the procedures.
religious leaders, as well as international organizations to enhance the        Due to limited use of formal identiﬁcation procedures and a lack of
public’s ability to identify and refer trafficking crimes to law enforcement    anti-trafficking training, authorities may have arrested or detained
officers. • Provide additional staff and resources—in coordination              some unidentiﬁed victims.
with international organizations—to support the government’s anti-
                                                                                UMIRR continued to provide services to trafficking victims, including
trafficking focal point within the presidency as well as the Anti-Trafficking
                                                                                medical and psycho-social support in partnership with NGOs and UN
Coordination Bureau. • Strengthen coordination between civil society,
                                                                                organizations. The government reported legal aid services were provided
NGOs, and the government on victim services.
                                                                                by donor-funded organizations. While foreign national victims and
                                                                                CAR citizens are entitled to the same services, UMIRR officials reported
PROSECUTION                                                                     long-term assistance was not available to foreign national victims.
The government increased anti-trafficking law enforcement efforts.
                                                                                The government repatriated two victims from Cameroon during the
Article 151 of the penal code criminalized sex trafficking and labor
                                                                                reporting period. Additionally, international organizations aided in the
trafficking and prescribed penalties of ﬁve to 10 years’ imprisonment
                                                                                                                                  Haiti AR_000646              165
                               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 271 of 729
CENTRAL AFRICAN REPUBLIC   voluntary return of one trafficking victim. Officials reported that some        servitude, and community members exploit Aka (pygmy) minorities
                           safe housing options for victims were not available due to pandemic             in domestic servitude, especially in the southwest of the country.
                           restrictions to reduce overcrowding, which created difficulty ﬁnding            Authorities’ prejudice against individuals in commercial sex—despite
                           shelters for some victims.                                                      its prevalence—hinders victims’ access to justice and assistance. Some
                                                                                                           government workers reportedly coerced women into sex in exchange
                           The Ministry for the Promotion of Women, Families and Children
                                                                                                           for government employment or documents and services to which they
                           partnered with a local organization to assist 33 child sex trafficking
                                                                                                           were entitled. Fraudulent labor recruiters attract foreigners from nearby
                           victims in Bangui and provided them with counseling, health education,
                                                                                                           countries such as Chad and Libya to enter the country undocumented
                           and life-skills and vocational training. During the reporting period, the
                                                                                                           to work in CAR’s mining sector; armed groups capture and exploit some
                           government assisted MINUSCA in screening 134 children (117 boys
                                                                                                           of these economic migrants in forced labor.
                           and 17 girls) used by armed groups to facilitate their enrollment in
                           demobilization programs and demobilized 78 children (64 boys and                Some relatives or community members coerce girls into forced marriages
                           14 girls) used by armed groups. In coordination with an international           and subsequently exploit the girls in domestic servitude or sex trafficking.
                           organization, the government provided an unknown number of children             Stemming from severe poverty throughout the country, a government
                           (some of whom were identiﬁed in previous reporting periods) shelter,            official stated husbands may coerce their wives to engage in commercial
                           psycho-social services, and reintegration assistance, compared with             sex to cover household expenses, with little recourse from authorities.
                           demobilizing 855 child soldiers in 2020. Government and international           Officials note family members also exploit children in forced labor and
                           organizations reported ﬁve former child soldiers remained in detention          sex trafficking to supplement family income.
                           in the Ngaragba prison due to a lack of alternative placement options
                                                                                                           Observers reported Central African criminal elements engage in the
                           for their referral and care (two were detained in 2019, one in 2020, and
                                                                                                           sex trafficking of girls as young as 13 in maisons de joie (houses of
                           two in July and August 2021).
                                                                                                           joy) throughout Bangui. Maisons de joie are private residences with
                           The government reported adult victims supported law enforcement                 little official oversight where CAR nationals serve alcohol and food
                           efforts against alleged traffickers; courts held closed door trials for cases   to middle- and upper-class customers as a cover to exploit girls and
                           involving children. The government did not provide witness protection           women in commercial sex. Criminals reportedly take advantage of
                           to victims but collaborated with local organizations to provide legal aid.      abject poverty across the country to recruit women and girls with the
                           Authorities did not report providing legal alternatives to the removal of       promise of money for their children or families.
                           foreign victims to countries where they may face hardship or retribution.
                                                                                                           Violent conﬂict since 2012 has resulted in chronic instability and the
                           The law allowed victims to ﬁle civil suits against the government or
                                                                                                           internal displacement of 632,240 people, increasing the vulnerability
                           their alleged traffickers for restitution; however, the government did
                                                                                                           of adults and children to forced labor and sex trafficking. Observers
                           not report any victims ﬁling civil suits during the reporting period.
                                                                                                           noted individuals or communities living in conﬂict, crisis, or post-disaster
                                                                                                           settings, minorities, and undocumented migrants are at particular risk
                           PREVENTION                                                                      of sex trafficking and forced labor. Observers also reported 2.8 million
                           The government maintained efforts to prevent trafficking. The
                                                                                                           people were in need of humanitarian assistance and more than 717,000
                           government’s inter-ministerial National Committee for Trafficking
                                                                                                           people were internally displaced as of June 2021.
                           in Persons (National Committee), led by a presidentially appointed
                           advisor, continued to coordinate government anti-trafficking efforts            Escalating pre- and post-election violence resulted in armed groups
                           and convened regularly. The National Committee drafted and ﬁnalized             recruiting and using more child soldiers, with nearly 3,000 recruited
                           a 2022-2023 national action plan to combat human trafficking. The               into combat since the country’s December 2020 elections. The coalition
                           government, in coordination with local NGOs, trained journalists, social        of six armed groups (Mouvement Patriotique pour la Centrafrique
                           workers, and parliamentarians on trafficking. In partnership with NGOs,         [MPC], Return, Reclamation, and Rehabilitation [3R], Union pour la
                           the government also trained local authorities and officials from the            Paix en Centrafrique [UPC], Front Populaire pour la Renaissance de la
                           Ministry of Territorial Administration in March and developed plans             Centrafrique [FPRC], Anti-Balaka Mokom, and Anti-Balaka Ndomate),
                           to expand these trainings to provinces. The government continued to             intent on overthrowing the democratically elected government—the
                           carry out awareness-raising campaigns in collaboration with local NGOs          Coalition of Patriots for Change (CPC)—continued to recruit child
                           and funded a weekly radio program on countering human trafficking.              soldiers during the reporting period. Additionally, individual militias
                           The government continued to collaborate with UNPOL on its annual                associated with Anti-Balaka; Ex- Seleka; FPRC; Lords Resistance Army;
                           awareness campaigns against sexual exploitation and abuse. UMIRR                3R; UPC; and other armed groups continued to forcibly recruit and use
                           continued to operate its hotline dedicated to gender-based violence             child soldiers in CAR before and after the creation of the CPC. Multiple
                           staffed by French and local-language speakers. In partnership with              sources alleged armed groups in southeastern CAR—areas outside
                           international organizations, the government launched a hotline for              of governmental control—kidnapped children and coerced them into
                           violence against women, including trafficking. Officials did not report         serving as child soldiers, in addition to forcing community members
                           taking any measures to reduce the demand for commercial sex acts,               into forced labor as porters, cooks, and other support roles, or in illegal
                           nor providing anti-trafficking training for its diplomatic personnel.           mining operations. International organizations reported armed groups
                           An international organization also worked in coordination with local            recruited children to serve as combatants, servants, child brides, and
                           authorities on awareness campaigns against sexual exploitation and              sex slaves in 2020; armed groups also subjected children to forced labor
                           abuse, including among its own staff, through its conduct and discipline        in the mining sector. Additionally, observers reported FACA forcibly
                           unit. In September 2021, the UN secretary-general withdrew 450                  recruited at least one child and used seven children in support roles to
                           Gabonese peacekeepers serving in the UN Multidimensional Integrated             man checkpoints, run errands, and gather information in 2021; forces
                           Stabilization Mission in the CAR (MINUSCA) following allegations against        from a Russia-backed group forcibly recruited a child in CAR to gather
                           the contingent of widespread, systematic sexual exploitation.                   intelligence during the reporting period.
                                                                                                           Since the conﬂict began in 2012, armed groups have recruited more
                           TRAFFICKING PROFILE                                                             than 17,000 children. Militias primarily recruited and used child soldiers
                           As reported over the past ﬁve years, human traffickers exploit domestic         from the prefectures of Vakaga, Haute-Kotto, Haut-Mbomou, Nana-
                           and foreign victims in CAR, and traffickers exploit victims from CAR            Grebizi, Nana-Mambere, and Basse-Kotto; these areas were under
                           abroad. Observers report traffickers primarily exploit CAR nationals            intermittent government control during the reporting period. Although
                           within the country and in smaller numbers in Cameroon, Chad, Nigeria,           some children may initially join locally organized community defense
                           Republic of the Congo, Democratic Republic of the Congo, Sudan, and             groups to protect their families from opposing militias, many commanders
                           South Sudan. Perpetrators—including transient merchants, herders, and           maintain inﬂuence over these children even after they are demobilized,
                           non-state armed groups—exploit children in domestic servitude, sex              increasing their risk of re-recruitment. Inadequately funded reintegration
                           trafficking, as well as in forced labor in agriculture, artisanal gold and      programming, continuing instability, and a lack of economic opportunity
                           diamond mines, shops, restaurants and bars, and street vending within           throughout the country exacerbate the risks of re-recruitment among
                           CAR. Also, within the country, some relatives exploit children in domestic

    166                                                                                                                                                 Haiti AR_000647
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 272 of 729




                                                                                                                                                                CHAD
former child soldiers. Some demobilized child soldiers face violent—and       PROSECUTION
at times deadly—reprisals from their communities following reintegration.     The government decreased overall law enforcement efforts. Law 006/
                                                                              PR/2018 on Combatting Trafficking in Persons criminalized sex trafficking
                                                                              and labor trafficking. Article 7 of Law 006/PR/2018 prescribed penalties
                                                                              of four to 30 years’ imprisonment and a ﬁne of 250,000 to 5 million
 CHAD: TIER 2 WATCH LIST                                                      Central African CFA francs (CFA) ($432 to $8,650); these penalties were
                                                                              sufficiently stringent and, with regard to sex trafficking, commensurate
The Government of Chad does not fully meet the minimum standards              with penalties prescribed for other serious crimes, such as rape.
for the elimination of trafficking but is making signiﬁcant efforts to do     The Ministry of Justice reported initiating the investigation of 41 alleged
so. These efforts included investigating trafficking cases and ﬁnalizing      labor traffickers during the reporting period. The government did not
a one-year National Action Plan (NAP) for 2021-2022. The government,          report any prosecutions or convictions of traffickers. This compared
in collaboration with an international organization, ﬁnalized and began       with investigating, prosecuting, and convicting three traffickers in the
implementation of its standard operating procedures (SOPs) and a              previous reporting period. Observers noted magistrates often do not
National Referral Mechanism (NRM) for victim identiﬁcation and referral       have access to the internet, electricity, or telephones, making it difficult
to care. However, the government did not demonstrate overall increasing       to compile and report law enforcement data. Observers noted some
efforts compared with the previous reporting period, even considering         communities resolved issues—including criminal offenses—through
the impact of the COVID-19 pandemic on its anti-trafficking capacity.         traditional or Islamic courts as opposed to the codiﬁed judicial system.
Substantial personnel turnover related to the April 2021 death of the
                                                                              The government did not report any investigations, prosecutions, or
former President and subsequent formation of the transition government
                                                                              convictions of government employees complicit in human trafficking
hindered Chad’s ability to maintain consistent anti-trafficking efforts and
                                                                              crimes; however, corruption and official complicity in trafficking crimes
accurately report on those efforts for this reporting period. Authorities
                                                                              remained signiﬁcant concerns, hindering law enforcement action during
did not report prosecuting or convicting any traffickers and did not
                                                                              the year. Reports of complicity from previous reporting periods included
report identifying any trafficking victims. The government did not report
                                                                              government-affiliated security forces proﬁting from illicit activity such
conducting any awareness campaigns. Because the government has
                                                                              as forced labor in cattle herding throughout the country’s rural areas
devoted sufficient resources to a written plan that, if implemented, would
                                                                              and along its borders, as well as officials forcing prisoners to work on
constitute signiﬁcant efforts to meet the minimum standards, Chad
                                                                              private enterprises separate from their legal sentences being served.
was granted a waiver per the Trafficking Victims Protection Act from
                                                                              Observers reported some local government officials and security forces
an otherwise required downgrade to Tier 3. Therefore Chad remained
                                                                              may cover up allegations of trafficking crimes or not pursue cases to
on Tier 2 Watch List for the third consecutive year.
                                                                              protect suspected traffickers, and reported complicit officials intimidate
                                                                              victims from pursuing criminal cases. In September 2021, the Ministry of
        CHAD TIER RANKING BY YEAR
                                                                              Justice, in collaboration with an international organization, conducted
    1
                                                                              anti-trafficking trainings for judicial officials in N’Djamena and Moussoro.
    2
  2WL                                                                         PROTECTION
                                                                              The government maintained insufficient efforts to protect victims.
    3
          2015      2016      2017   2018   2019   2020     2021    2022      Authorities did not report identifying any potential trafficking victims,
                                                                              compared with 19 potential victims identiﬁed in the previous reporting
                                                                              period. An international organization reported the Chadian Special
                                                                              Anti-Terrorism Unit (DGSAT) intercepted 23 potential child trafficking
PRIORITIZED RECOMMENDATIONS:                                                  victims in northern Chad and referred them to care. The Association for
While respecting due process, increase efforts to investigate and             the Reintegration of Children and the Defense of Human Rights (ARED)
prosecute trafficking crimes, including complicit officials, and adequately   reported 60 complaints of potential human trafficking through its 20
sentence convicted traffickers. • Train officials to use the SOPs and NRM     focal points nationwide. Additionally, local NGOs identiﬁed 48 labor
for victim identiﬁcation and referral to care and proactively identify        trafficking victims (all boys younger than the age of 18) and referred them
trafficking victims, including among vulnerable populations such as           to care. Authorities did not proactively screen vulnerable populations for
Cuban healthcare professionals and People’s Republic of China (PRC)           trafficking indicators. In September 2021, the government, in collaboration
nationals employed at worksites affiliated with the PRC’s Belt and Road       with an international organization, ﬁnalized and began implementation
Initiative. • Formally inaugurate and staff the National Committee to         of SOPs and an NRM for victim identiﬁcation and referral to care.
Combat Trafficking in Persons (NCCTIP) and include civil society in its       The Ministry of Women, Family, and National Solidarity, in partnership
activities. • Provide speciﬁc anti-trafficking training to law enforcement    with an international organization and local NGOs, continued to operate
officials to improve case investigation and victim identiﬁcation and          transit centers that served as temporary shelters throughout the country.
referral to appropriate care and training on the distinctions between         These transit centers provided temporary housing, food, and education
human trafficking and migrant smuggling. • Incorporate human trafficking      to victims of gender-based violence and other crimes, including potential
awareness into basic training for law enforcement and judicial officials,     victims of trafficking. Officials did not report providing services to
in coordination with international organizations and donors. • Establish      trafficking victims in these facilities during the reporting period. Privately-
a specialized anti-trafficking unit in the Judicial Police to ensure          run orphanages may have provided assistance to child trafficking victims,
officers effectively investigate suspected trafficking crimes under the       although these organizations did not report details. Services continued
country’s 2018 trafficking law. • Include anti-trafficking training for all   to be limited to urban areas and were largely inaccessible to much of
new magistrates and prosecutors attending the Ministry of Justice’s           Chad’s rural population.
training college in N’Djamena. • Increase the provision of shelter and
                                                                              The government did not have a formal policy to offer temporary or
protective services to all trafficking victims, in coordination with NGOs
                                                                              permanent residency for foreign victims of trafficking and did not report
and international organizations. • Implement and consistently enforce
                                                                              identifying any foreign victims. Due to limited use of the new formal
strong regulations and oversight of labor recruitment companies and
                                                                              identiﬁcation procedures, authorities may have arrested, detained, and
hold fraudulent labor recruiters criminally accountable. • Beginning in
                                                                              penalized some unidentiﬁed victims.
N’Djamena, use local community radio stations to raise public awareness
of human trafficking and incorporate the High Islamic Council, tribal
leaders, and other members of the traditional justice system into
                                                                              PREVENTION
                                                                              The government increased efforts to prevent trafficking. Law 06/PR/2018
sensitization campaigns. • Establish a mechanism for the collection or
                                                                              designated NCCTIP as the government’s inter-ministerial entity to
storage of anti-trafficking law enforcement data.
                                                                              coordinate anti-trafficking efforts, and in February 2021, the Minister of
                                                                              Justice signed a decree formally establishing the NCCTIP. However, the
                                                                                                                                  Haiti AR_000648               167
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 273 of 729
CHILE
        government did not officially inaugurate or staff the NCCTIP by the end          Belt and Road Initiative may have been vulnerable to forced labor.
        of the reporting period. In July 2021, the Minister of Justice launched a        Cuban nationals working in Chad on medical missions may have been
        Multisectoral Technical Committee (MTC) to conduct the government’s              forced to work by the Cuban government
        anti-trafficking activities in the interim. The government implemented
        its 2021-2022 anti-trafficking NAP and allocated resources to implement
        the plan. In September 2021, the Ministry of Justice in collaboration
        with an international organization, trained local media organizations             CHILE: TIER 1
        on the trafficking in persons law and how to accurately cover human
        trafficking cases in their reporting. The pandemic’s deleterious impact on
                                                                                         The Government of Chile fully meets the minimum standards for the
        government budgets, as well as overall operations, impeded authorities’
                                                                                         elimination of trafficking. The government continued to demonstrate
        implementation of anti-trafficking initiatives.
                                                                                         serious and sustained efforts during the reporting period, considering
        The government did not report conducting or contributing in-kind                 the impact of the COVID-19 pandemic, if any, on its anti-trafficking
        resources for any awareness-raising activities during the reporting period.      capacity; therefore Chile remained on Tier 1. These efforts included
        National radio stations such as FM Liberté (FM Liberty) continued to raise       awarding restitution to three trafficking victims, amending the penal
        awareness on human trafficking. Observers reported high illiteracy rates         code to increase the maximum penalty for trafficking crimes, contracting
        among the population hindered the government’s ability to increase               an NGO to oversee services for child trafficking victims during a period
        awareness of human trafficking.                                                  of bureaucratic transition, and issuing residency permits to 16 trafficking
                                                                                         victims. Although the government meets the minimum standards, Chilean
        The government had laws and regulations on labor recruitment; however,
                                                                                         courts issued lenient sentences to convicted traffickers, resulting in a
        the government did not conduct inspections or screen intending
                                                                                         pattern of suspended sentences that could undercut nationwide efforts
        migrants for trafficking indicators in the labor recruitment process. The
                                                                                         to ﬁght trafficking. Victim services provision remained uneven, with
        government ratiﬁed the International Convention on the Protection of
                                                                                         limited access to care for male victims and victims outside the capital.
        Rights of All Migrant Workers and Members of Their Families in February
        2022 to increase protections for migrant workers. The government
        did not make efforts to reduce the demand for commercial sex acts.                       CHILE TIER RANKING BY YEAR
        A lack of identity documentation remained a risk factor for trafficking              1
        in Chad, and the government did not report whether it continued to
                                                                                             2
        implement the 2013 birth registration policy requiring universal issuances
        of uniform birth certiﬁcates. The government, in collaboration with a              2WL
        foreign donor, provided anti-trafficking training to some of its troops              3
        prior to their deployment as peacekeepers. Authorities did not provide                      2015     2016      2017   2018   2019    2020     2021    2022
        anti-trafficking training for its diplomatic personnel.

        TRAFFICKING PROFILE
        As reported over the past ﬁve years, human traffickers exploit domestic          PRIORITIZED RECOMMENDATIONS:
        and foreign victims in Chad, and traffickers exploit Chadian victims             Sentence traffickers to adequate penalties, which should include
        abroad. Families frequently entrust their children to relatives or               signiﬁcant imprisonment, as required by Articles 411 and 367 of the
        intermediaries to receive education, apprenticeship, goods, or money;            penal code. • Vigorously investigate, prosecute, and as appropriate,
        some relatives or intermediaries subsequently force or coerce children           convict traffickers, including domestic child sex traffickers, under Article
        to work in domestic service or cattle herding. Individuals associated            411 of the penal code. • Provide suitable, safe shelter for child and male
        with small- and medium-scale enterprises force children to beg in urban          trafficking victims as required by law and expand access to specialized
        areas and exploit them as agricultural laborers on farms; in northern            shelters for all victims, including outside the capital. • Increase training
        gold mines and charcoal production; and as domestic workers across               on application of Article 411 for judges and prosecutors. • Actively screen
        the country. In the Lake Chad region, community members exploit some             for trafficking victims among vulnerable migrant groups. • Continue
        children in catching, smoking, and selling ﬁsh. Elders of some traditional       efforts to disrupt systematic child abuse, including trafficking, in care
        Quranic schools known as mouhadjirin coerce children from small rural            facilities serving trafficking victims and hold violators accountable.
        villages into begging, street vending, or other forms of forced labor            • Provide victims access to a full range of services, including long-
        throughout the country.                                                          term rehabilitation. • Develop guidelines for officials to screen for
                                                                                         trafficking indicators for children involved in illicit activities to ensure
        Cattle herders force some children to work along traditional routes for
                                                                                         the government does not penalize trafficking victims for unlawful acts
        grazing cattle and, at times, cross ill-deﬁned international borders into
                                                                                         traffickers compelled them to commit. • Consistently support victim
        Cameroon, the Central African Republic, Sudan, and Nigeria. Traffickers
                                                                                         efforts to seek restitution.
        in rural areas sell children in markets for use in cattle or camel herding. In
        some cases, military or local government officials exploit with impunity
        child herders in forced labor. Additionally, experts allege officials force
                                                                                         PROSECUTION
                                                                                         The government maintained prosecution efforts. Article 411-quater of the
        prisoners to work on private enterprises separate from their legal
                                                                                         penal code criminalized sex trafficking and labor trafficking, prescribing
        sentences. Criminal elements exploit some rural Chadian girls, who travel
                                                                                         penalties ranging from ﬁve years and one day to 20 years’ imprisonment
        to larger towns in search of work, in child sex trafficking or domestic
                                                                                         and a ﬁne for offenses involving an adult victim and 10 years and one day
        servitude. According to observers, Chadian mercenaries—recruited
                                                                                         to 20 years’ imprisonment and a ﬁne for those involving a child. These
        to Libya to take up arms in the conﬂict—facilitated human trafficking.
                                                                                         penalties were sufficiently stringent and, with regard to sex trafficking,
        Chad hosts more than one million refugees, internally displaced persons,         commensurate with those prescribed for other serious crimes, such as
        and asylum seekers as of January 2022; these populations may be                  rape. Chilean officials continued to investigate and prosecute many
        vulnerable to trafficking based on their economic instability and lack of        internal child sex trafficking cases under Article 367 of the penal code,
        access to support systems. While many individuals crossing clandestinely         which penalized “promoting or facilitating the prostitution of minors.”
        into Libya for economic reasons initially used the services of smugglers,        Although Article 367 prescribed penalties ranging from three years and
        traffickers exploit some of these irregular migrants in commercial sex           one day to 20 years’ imprisonment, many child sex trafficking crimes
        or forced labor. Terrorist groups Boko Haram and the Islamic State               were subject to penalties of only three years and one day to ﬁve years’
        West Africa Province (ISIS-WA) forcibly abducted children to serve               imprisonment under this provision, signiﬁcantly lower than the penalties
        as child soldiers, suicide bombers, child brides, and forced laborers.           available under Article 411-quater. Under mandatory sentencing laws,
        Community-based armed groups tasked with defending people and                    judges frequently suspended or commuted sentences of less than ﬁve
        property in rural areas likely recruit and use children in armed conﬂict.        years’ imprisonment, even when adjudicating cases of human trafficking
        PRC nationals employed in Chad at worksites affiliated with the PRC’s            and other serious crimes. During the reporting period, the government
 168                                                                                                                                   Haiti AR_000649
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 274 of 729




                                                                                                                                                              CHILE
approved an amendment raising the maximum penalty for trafficking              The government did not report how many child trafficking victims
offenses involving adult or child victims under Article 411-quater from        it identiﬁed in 2021, compared with two each in 2020 and 2019; the
15 to 20 years’ imprisonment.                                                  government instead reported identifying 30 child victims of commercial
                                                                               sexual exploitation—a broader categorization that included victims of
Law enforcement initiated 184 trafficking investigations in 2021 (120
                                                                               trafficking, as well as certain non-trafficking crimes. The government
child sex trafficking investigations under Article 367, 32 sex trafficking
                                                                               reported all adult victims identiﬁed in 2021 were foreign citizens,
investigations under Article 411, and 32 labor trafficking investigations
                                                                               primarily from Bolivia, Colombia, Haiti, and Venezuela. The government
under Article 411), compared with 193 investigations initiated (136
                                                                               had a uniform reporting mechanism and a set of internal resources
child sex trafficking investigations under Article 367, 39 sex trafficking
                                                                               on trafficking indicators to guide public agencies’ efforts to identify
investigations under Article 411, and 18 for labor trafficking under Article
                                                                               potential trafficking; it provided additional support for agencies reporting
411) in 2020 and 171 in 2019. Authorities prosecuted 10 alleged traffickers
                                                                               potential victims for the ﬁrst time.
in 2021 (four for child sex trafficking under Article 367 and two for sex
trafficking and four for labor trafficking under Article 411), compared        The MP’s Regional Victims and Witness Assistance Unit (URAVIT)
with seven alleged traffickers in 2020 (two for child sex trafficking under    provided assistance to all 49 identiﬁed adult trafficking victims in 2021.
Article 367 and ﬁve for labor trafficking under Article 411) and 22 in         The National Service of Women and Gender Equality (SERNAMEG)
2019 (four under Article 367 and 18 under Article 411). There were ﬁve         reported it provided shelter services to 10 adult women victims in 2021,
ongoing labor trafficking prosecutions initiated in previous reporting         compared with 16 in 2020. The MITP’s protocol on victim assistance
periods. The government convicted seven traffickers in 2021 (two child         entitled victims to safe housing, health services, psychological services,
sex traffickers under Article 367 and three sex traffickers and two labor      legal assistance, education, employment assistance, and regularization
traffickers under Article 411), compared with six traffickers in 2020 (one     of migratory status. The Ministry of Interior’s Victim Assistance Network
child sex trafficker under Article 367 and three sex traffickers and two       (RAV) and URAVIT coordinated housing for victims; the government
labor traffickers under Article 411) and six in 2019 (two under Article        could place up to 10 female trafficking victims at a time in SERNAMEG’s
367 and four under Article 411).                                               specialized shelter for trafficking victims. The government placed
                                                                               most female victims, including those located outside the capital, in
Judges issued sentences ranging from ﬁve to 12 years’ imprisonment
                                                                               SERNAMEG’s domestic violence shelters or NGO-run shelters. URAVIT
for the ﬁve traffickers convicted under Article 411; courts sentenced
                                                                               could arrange housing in hotels for male victims on a case-by-case
the two traffickers convicted under Article 367 to 18 months’ overnight
                                                                               basis; however, there were no shelters for male victims. The provision of
imprisonment and four years’ continuous imprisonment, respectively.
                                                                               victim services remained uneven across the country, and NGOs reported
Courts also levied ﬁnes against six of the convicted traffickers. Two
                                                                               funding was inadequate to provide necessary services, especially
traffickers convicted under Article 411 received suspended sentences,
                                                                               adequate shelter for children and male victims. The government did
compared with four traffickers (three convicted under Article 411 and one
                                                                               not fund most NGOs that provided victim assistance; most agencies
under Article 367) in 2020. In general, most convicted traffickers in Chile
                                                                               did not have speciﬁc line items in their budgets for victim assistance.
ultimately served parole or probation without post-trial imprisonment.
                                                                               Reintegration services, such as education and job placement assistance,
In the past ﬁve years, judges sentenced 11 of 57 convicted traffickers
                                                                               were insufficient, and officials reported victims had limited access to
to penalties above the mandatory minimum. Judges suspended the
                                                                               adequate mental health services.
sentences of more than 55 percent of traffickers convicted since 2017,
which weakened deterrence. Judges often held accused traffickers               URAVIT budgeted 35.4 million Chilean pesos ($42,020) to provide
in pretrial detention. The government continued to investigate and             housing and other basic needs for trafficking victims and potential
prosecute individuals that engaged in commercial sex with children,            victims in 2021, down from approximately 84 million Chilean pesos
resulting in four convictions in 2021, compared with two convictions in        ($99,700) in 2020. SERNAMEG allocated 129.7 million Chilean pesos
2020 and eight in 2019. Judges convicted and sentenced three of these          ($153,950) in funding for its NGO-operated shelter for women victims
individuals to periods of probation; in one case, the courts sentenced         of trafficking, smuggled women, and their children, compared with
the convicted individual to 541 days’ conditional imprisonment, allowing       allocating 136 million pesos ($161,420) in 2020 and 127 million pesos
him to serve probation in lieu of imprisonment.                                ($150,740) in 2019. The government provided victims legal representation
                                                                               under the victim assistance protocol; the Ministry of Justice provided
The national investigations police (PDI) had three specialized anti-
                                                                               legal representation to child victims, SERNAMEG provided it to women
trafficking units operating in Arica, Iquique, and Santiago. The
                                                                               victims, and MITP’s civil society members provided representation for
government continued to use special pandemic-mitigation measures,
                                                                               male victims.
allowing prosecutors to work remotely and courts to hold most hearings
via videoconference; the national prosecutor’s office (MP) noted most          The government restructured and renamed its child protection agency,
criminal trials proceeded with modest delays throughout the reporting          which was responsible for most services for child trafficking victims; in
period. The government exchanged nine cooperation requests with                2021, SENAME became Better Childhood. Better Childhood, like SENAME,
Argentina, Colombia, Mexico, Peru, and Venezuela. Authorities’ use             was responsible for providing basic services to child trafficking victims
of electronic transmission of cooperation requests facilitated the             through a network of programs for child victims of commercial sexual
continuation of these exchanges during the pandemic. The government’s          exploitation and care facilities; during the transition, Better Childhood
interagency task force on trafficking (MITP) provided specialized training     contracted an NGO to ensure child trafficking victims received care
to investigators, attorneys, advisors, and staff on a range of trafficking     without interruption. Better Childhood did not report its budget allocation
issues; it delivered most trainings virtually in 2021. Law enforcement         for child and adolescent victim services in 2021, compared with 3.26
could use a software system to search for evidence of official complicity      billion pesos ($3.87 million) in 2020, 3.37 billion pesos ($4 million)
in trafficking cases. The government continued to investigate two cases        in 2019, and 3 billion pesos ($3.56 million) in 2018. Better Childhood
of alleged official complicity: a 2020 case involving a law enforcement        assisted 1,417 children in 2021 and 1,371 children in 2020, compared with
officer accused of obstructing a sex trafficking investigation and another     1,477 children in 2019, 1,459 children in 2018, and 1,350 children in 2017;
case involving a National Service for Minors (SENAME) care facility            Better Childhood did not track how many of the children it assisted
director allegedly involved in the commercial sexual exploitation of           were trafficking victims. The government did not report the number of
two children under her supervision—allegations which, if proven, would         child or adolescent victims of commercial sexual exploitation included
amount to sex trafficking under the international law deﬁnition.               in the worst forms of child labor registry in 2021, compared with 80,
                                                                               eight of whom were sex trafficking victims, in 2020. Better Childhood
PROTECTION                                                                     continued to decommission the agency’s Specialized Redress Centers
The government maintained victim protection efforts. MITP coordinated          under Direct Administration (CREADs), the facilities that served most
the government’s anti-trafficking efforts, including victim assistance. The    child trafficking victims under SENAME’s care, replacing them with
government identiﬁed 49 adult trafficking victims in 2021, compared            smaller “family-style residences.” According to government reports,
with 47 adult victims (21 men and 26 women) in 2020 and 37 in 2019.            children in CREADs were at severe risk of rights violations and sexual
The government did not report victims’ gender or specify how many              abuse. The government closed one CREAD in 2021, leaving three of the
traffickers exploited in sex trafficking, as opposed to labor trafficking.     original 11 facilities operational.
                                                                                                                                 Haiti AR_000650              169
                                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 275 of 729
CHINA, PEOPLE'S REPUBLIC OF
                              The government issued 16 no-fee visas for foreign trafficking victims,        garment sectors; and domestic service. Traffickers subject Chinese and
                              compared to 11 in 2020. These visas were valid for up to one year and         Haitian immigrants to sex trafficking and forced labor and Colombian
                              renewable for up to two additional years if the victim reported the           women to sex trafficking. Chilean authorities identiﬁed a signiﬁcant
                              trafficking crime to the prosecutor’s office. Foreign victims received        number of children involved in illicit activities, including drug trafficking
                              the same victim services and courtroom accommodations—such as                 and theft; some of these children may have been trafficking victims.
                              teleconference, witness protection, and video testimony—as Chilean            Traffickers subject Chilean men to labor trafficking in Peru and Chilean
                              victims. URAVIT continued to use a video interpretation service, adopted      women to sex trafficking in Argentina, as well as other countries.
                              as a pandemic-mitigation measure, to facilitate safe exchanges between        Foreign traffickers worked in tandem with Chilean traffickers to exploit
                              law enforcement and victims of all crimes, including trafficking victims,     victims. Most convicted traffickers were Chilean, Ecuadorian, or Bolivian
                              providing access to interpretation in sign language, regional Indigenous      citizens; men and women were equally represented among convicted
                              languages, Haitian Creole, and Chinese. Despite these efforts, the            traffickers. An international organization expressed concern striking
                              government reported challenges in encouraging victims to participate          workers in certain industries could be imprisoned and forced to work.
                              in a full trial. The government had until 2022 to gradually implement a       Police often frequent brothels in small towns, and labor inspectors in
                              2019 law to reduce re-traumatization of child and adolescent victims          rural areas maintain relationships with local businesses, dissuading
                              through required video testimony facilitated by an expert intermediary;       potential trafficking victims from reporting exploitation and fueling
                              six regions operated under the new requirement in 2021. The government        perceptions of complicity.
                              provided an intensive training course on video testimony to 26 PDI
                                                                                                            Officials recognize growing migrant communities, especially irregular
                              officials. Victims could receive restitution or compensation through
                                                                                                            Venezuelan migrants, as increasingly at risk of trafficking. Migrants’
                              criminal or civil cases, respectively; in 2021, the courts awarded three
                                                                                                            vulnerability to trafficking increased during the COVID-19 pandemic, with
                              victims 10 million pesos ($11,870) each in restitution upon the conviction
                                                                                                            more than 30 percent experiencing job loss with limited alternatives amid
                              of the trafficker who exploited them in sex trafficking.
                                                                                                            regional movement restrictions. Due to the pandemic, the government
                                                                                                            closed national borders to non-resident foreign nationals from March
                              PREVENTION                                                                    2020 until October 2021; land borders remained closed through
                              The government maintained modest prevention efforts. The Ministry
                                                                                                            December 2021. With official crossings closed, officials continued to
                              of Interior continued to lead the MITP, which included government
                                                                                                            detect large numbers of irregular migrants entering Chile, primarily
                              agencies, international organizations, and local NGOs. The task force
                                                                                                            Venezuelans via northern land borders. Stricter immigration laws also
                              met more frequently than in the previous reporting period, holding
                                                                                                            contributed to heightened vulnerability in migrant populations, especially
                              two general meetings during the reporting period; its subcommittee
                                                                                                            Venezuelans. Under its new immigration framework, effective April
                              on victim assistance met separately seven times. The MITP continued
                                                                                                            2021 but retroactive to the March 2020 border closure, the government
                              informal implementation of a draft 2019-2022 national action plan,
                                                                                                            did not permit irregular migrants or those entering the country on a
                              which had not been approved at the ministerial level and was not public.
                                                                                                            tourist visa to alter their residency status in-country; undocumented
                              There was no federal allocation to fund the implementation of the draft
                                                                                                            migrants present in Chile before March 2020 could regularize their status,
                              plan; instead, each agency contributed to implementation from its own
                                                                                                            reducing their vulnerability to trafficking, via a special dispensation
                              budget. Personnel and budget constraints affected several agencies with
                                                                                                            through January 2022. Civil society actors and government officials both
                              victim protection and trafficking prevention responsibilities. Observers
                                                                                                            expressed concern the conﬂuence of increased irregular arrivals and the
                              noted a need for more robust coordination and data-sharing among
                                                                                                            new regulations would increase migrants’ vulnerability to trafficking.
                              government agencies.
                                                                                                            The same immigration reform law included a provision to expressly
                              The government held awareness-raising events throughout the year,             prohibit the deportation of identiﬁed trafficking victims.
                              targeting the general public and officials who might encounter trafficking
                              victims in the course of their duties; the majority of these events took
                              place online. Several agencies operated hotlines that could take calls
                              on trafficking victims. The government reported operators received             CHINA, PEOPLE'S REPUBLIC
                              trafficking-related calls to these hotlines but did not report the number
                              of investigations initiated from hotline calls during the reporting period,    OF: TIER 3
                              compared with at least 15 investigations in 2020. Labor inspectors were
                              trained to identify trafficking indicators and conducted more than            The Government of the People’s Republic of China (PRC) does not fully
                              75,000 worksite inspections, during which they identiﬁed 218 child labor      meet the minimum standards for the elimination of trafficking and is
                              violations, some of which may have constituted trafficking offenses;          not making signiﬁcant efforts to do so, even considering the impact
                              this compares with 65,000 inspections and identiﬁcation of 66 child           of the COVID-19 pandemic on its anti-trafficking capacity; therefore
                              labor violations in the previous reporting period. The labor inspectorate     the PRC remained on Tier 3. Despite the lack of signiﬁcant efforts, the
                              imposed sanctions and levied ﬁnes against offenders. The national             government took some steps to address trafficking, including by initiating
                              tourism service, in collaboration with Better Childhood, continued its        its ﬁrst reported prosecution of a domestic case of trafficking without
                              certiﬁcation of tourism organizations and establishments that adhere          transnational elements since 2017; approving a new national action plan
                              to best practices for the prevention of child sex trafficking; businesses     for 2021-2030; and co-sponsoring and participating in anti-trafficking
                              participated in an anti-trafficking training during the certiﬁcation          training symposia. However, during the reporting period there was a
                              process. The government did not make efforts to reduce the demand             government policy or pattern of widespread forced labor, including
                              for commercial sex acts during the reporting period.                          through the continued mass arbitrary detention of Uyghurs, ethnic
                                                                                                            Kazakhs, ethnic Kyrgyz, and members of other Turkic and/or Muslim
                              TRAFFICKING PROFILE                                                           minority groups in the Xinjiang Uyghur Autonomous Region (Xinjiang)
                              As reported over the past ﬁve years, human traffickers exploit domestic       under the guise of “vocational training” and “deradicalization.” Authorities
                              and foreign victims in Chile and, to a lesser extent, traffickers exploit     continued to implement these policies in other provinces; targeted
                              Chilean victims abroad. Chilean women and children are exploited in           other religious minorities under their auspices; and sought the coerced
                              sex trafficking within the country, as are women and girls from Asia and      repatriation and internment of religious and ethnic minorities living
                              other Latin American countries, particularly Colombia. Government             abroad through the use of surveillance, harassment, threats against them
                              reporting indicates Bolivian, Colombia, Paraguayan, and Thai migrants are     and their family members, and extradition requests. The government
                              especially vulnerable to trafficking. Children staying in child protection    also reportedly continued to place ethnic Tibetans in vocational training
                              centers are at risk of potential abuse, including trafficking. Some           and manufacturing jobs as part of an ostensible “poverty alleviation” and
                              traffickers may recruit children staying in child protection centers.         “labor dispatch program” that featured overt coercive elements. PRC
                              Traffickers exploit adults and children—primarily from other Latin            nationals reportedly suffered forced labor in several countries in Asia,
                              American countries, as well as Asia—in forced labor in Chile in mining;       the Middle East, Africa, and Europe hosting Belt and Road Initiative (BRI)
                              agriculture; construction; street vending; the hospitality, restaurant, and

     170                                                                                                                                                  Haiti AR_000651
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 276 of 729




                                                                                                                                                            CHINA, PEOPLE'S REPUBLIC OF
projects, within which PRC authorities exercised insufficient oversight of    PROSECUTION
relevant recruitment channels, contracts, and labor conditions, and PRC       The government decreased law enforcement efforts, including by
diplomatic services routinely failed to identify or assist those exploited.   continuing to apply extensive law enforcement and paramilitary resources
For the ﬁfth consecutive year, the government did not report complete         toward the mass detention and forced labor of members of ethnic and
law enforcement data, nor did it report identifying any trafficking victims   religious minority groups. The criminal code criminalized some forms of
or referring them to protection services.                                     sex trafficking and labor trafficking. Various provisions of the criminal
                                                                              code could be used to prosecute sex trafficking crimes. Article 240
                                                                              criminalized “the abduction and sale of women or children,” which
        CHINA (PRC) TIER RANKING BY YEAR
                                                                              included abduction by deceit, kidnapping, purchasing, selling, sending,
    1
                                                                              receiving, and transferring for the purpose of sale; however, unlike the
    2                                                                         deﬁnition of trafficking in persons under international law, Article 240
  2WL                                                                         did not explicitly link these acts to a purpose of exploitation. Article
    3
                                                                              240 prescribed penalties of ﬁve to 10 years’ imprisonment and ﬁnes
           2015     2016      2017         2018   2019   2020   2021   2022   for the abduction and sale of women and children. If an abducted
                                                                              woman was then forced into “prostitution,” the penalties increased
                                                                              to 10 years’ to life imprisonment, ﬁnes, and conﬁscation of property.
                                                                              These penalties were sufficiently stringent and commensurate with
PRIORITIZED RECOMMENDATIONS:                                                  the penalties prescribed for other serious crimes, such as rape. Article
Abolish the arbitrary detention and forced labor of persons in internment     241 criminalized the purchase of abducted women or children and
camps and affiliated manufacturing sites in Xinjiang and other provinces      prescribed a maximum penalty of three years’ imprisonment, short-
and immediately release and pay restitution to the individuals detained       term detention, or controlled release; like Article 240, it did not require
therein. • End forced labor in government facilities, in nongovernmental      that the purchase be for the purpose of exploitation. Penalties under
facilities converted to government detention centers, and by government       this provision were not alone sufficiently stringent; however, Article 241
officials outside of the penal process. • Cease all coercive labor transfer   stipulated that if an individual purchased an abducted woman or child
and compulsory vocational training programs, as well as discriminatory        and then subjected them to “forcible sexual relations,” they would face
hiring and targeted urban resettlement displacement policies, that            additional penalties under the criminal code’s rape provisions. Article
place Uyghurs, Tibetans, and members of other ethnic and religious            358 criminalized forced prostitution and prescribed penalties of ﬁve
minority groups at risk of trafficking. • Cease the use of harassment,        to 10 years’ imprisonment; if the crime involved a child younger than
threats, and illegal discriminatory immigration policies as measures to       the age of 14, the penalties increased to 10 years’ to life imprisonment
coerce the return to Xinjiang and subsequent forced labor of PRC ethnic       in addition to ﬁnes or conﬁscation of property. These penalties were
and religious minorities living abroad. • In conjunction with receiving       sufficiently stringent and commensurate with the penalties prescribed
countries, increase oversight of recruitment, contracts, and working          for other serious crimes, such as rape. Article 359 criminalized harboring
conditions associated with BRI project worksites; enforce bans on the         prostitution or luring or introducing others into prostitution, and it
imposition of worker-paid recruitment fees and security deposits; and         prescribed a maximum of ﬁve years’ imprisonment and a ﬁne; if the
train PRC consular services to identify and assist PRC national victims       crime involved a girl younger than the age of 14, it prescribed a minimum
of forced labor abroad, including in BRI projects. • Amend legislation to     of ﬁve years’ imprisonment and a ﬁne. These penalties were sufficiently
criminalize all forms of sex trafficking and forced labor as deﬁned under     stringent; however, the penalties prescribed for crimes involving girls
international law and, respecting due process, vigorously investigate,        ages 14 to 17 were not commensurate with the penalties prescribed
prosecute, and impose prison sentences on perpetrators of forced              for other serious crimes, such as rape. Labor trafficking crimes could
labor and sex trafficking, including complicit government officials.          be prosecuted under Article 244, which criminalized forcing a person
• Institute and systematize proactive, formal procedures to identify          “to work by violence, threat, or restriction of personal freedom” and
trafficking victims throughout the country—including male victims,            recruiting, transporting, or otherwise assisting in forcing others to
labor trafficking victims, PRC victims returning from abroad, and victims     labor, and prescribed three to 10 years’ imprisonment and a ﬁne. These
among vulnerable groups, such as migrant workers, PRC and foreign             penalties were sufficiently stringent.
ﬁshermen, foreign women, North Korean workers, and PRC women                  Although the central government continued to prosecute and convict
and children arrested on “prostitution” charges—and train front-line          PRC nationals for trafficking crimes, authorities did not collect or
officers on their implementation. • Increase oversight of seafarer labor      report comprehensive law enforcement data. Partial public records
conditions in the PRC ﬁshing industry, including by banning illegal and       of anti-trafficking enforcement continued to feature crimes outside
unregistered recruitment agencies; mandating international vessel             the deﬁnition of trafficking according to international law (including
registration; collecting and publishing information on vessel licensure,      migrant smuggling, child abduction, custody disputes, forced marriage,
registered operating areas, and crew manifests; conducting random             and fraudulent adoption), making it difficult to assess progress. The
onboard inspections; and working with port country authorities to             government continued to handle most cases with indicators of forced
investigate and criminally prosecute distant water ﬂeet (DWF) forced          labor as administrative issues through the Ministry of Justice (MOJ)
labor crimes. • Cease penalization of victims for unlawful acts that          and seldom initiated prosecutions of such cases under anti-trafficking
traffickers compelled them to commit and ensure authorities do not            statutes; observers noted authorities were more likely to persecute human
subject trafficking victims to extended detention, punishment, or             rights advocates and organizations drawing attention to forced labor
deportation, including by immediately screening individuals suspected         than to enforce labor laws. Some courts likely continued to prosecute
of “prostitution” offenses for sex trafficking indicators and referring       trafficking crimes under laws pertaining to domestic violence, labor
identiﬁed victims to protection services. • Expand victim protection          contract violations, and child abuse, all of which prescribed lesser
services, including comprehensive counseling and medical, reintegration,      penalties. In prior years, authorities did not disaggregate conviction data
and other rehabilitative assistance for male and female victims of sex and    by the relevant criminal code statutes, and courts reportedly prosecuted
labor trafficking. • Provide legal alternatives to foreign victims’ removal   the vast majority of these cases under Article 358—especially for those
to countries where they would face hardship or retribution, particularly      involving commercial sexual exploitation—rather than under Article 240.
North Korea. • Increase the transparency of government efforts to
combat trafficking and provide disaggregated data on investigations           For the ﬁfth consecutive year, the Ministry of Public Security (MPS) did
and prosecutions, victim identiﬁcation, and service provision, including      not report the number of investigations initiated of possible trafficking
by continuing to share relevant data with international partners; and         cases (1,004 in 2016), but it claimed 700 cases from prior years remained
apply the 2000 UN TIP Protocol to Hong Kong.                                  under investigation. Eighty-six prosecutions initiated in prior years also
                                                                              remained in process (unreported in 2020); authorities did not provide
                                                                              further information on the status of these cases or the nature of the
                                                                              relevant alleged crimes. Authorities did not report data on prosecutions
                                                                              initiated in 2021. However, an early 2022 case involving the forced
                                                                                                                               Haiti AR_000652                 171
                                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 277 of 729
CHINA, PEOPLE'S REPUBLIC OF   concubinage and childbearing of a PRC woman in Jiangsu province                  authorities co-hosted, supported, and participated in several training
                              garnered widespread coverage in state-controlled media, generating               symposia on victim identiﬁcation, referral, and service provision in 2021—
                              rare public outrage that culminated in the PRC’s ﬁrst prosecution of a           while continuing to demonstrate signiﬁcant shortcomings in all three
                              trafficking case without transnational elements since 2017; the case,            areas. For the ﬁfth consecutive year, the government did not report how
                              which involved two alleged traffickers, was ongoing at the end of the            many victims it identiﬁed or referred to protection services, although
                              reporting period. It led to a new national MPS campaign to address               media reports indicated authorities continued to remove some victims
                              backlogged abduction and trafficking cases, as well as an interagency            from their exploitative situations. The government delayed or altogether
                              policy coordination process to consider increasing the penalties for             ceased the identiﬁcation and repatriation of foreign trafficking victims
                              trafficking crimes. Media reports indicated at least one PRC court               while diverting law enforcement resources to pandemic mitigation
                              prosecuted and convicted a trafficker for luring PRC nationals abroad            measures in 2021. Based on media and NGO reports, authorities continued
                              with false promises of high-paying employment at BRI worksites; no               to prioritize the identiﬁcation of women and girls in sex trafficking
                              further information on this case was available. Unlike in 2020, the              to the near total exclusion of efforts to identify forced labor victims.
                              government did not provide data on the number of cases of “women                 The overly narrow deﬁnitions inherent to the PRC’s anti-trafficking
                              trafficking and child abduction,” “forced prostitution,” or forced labor it      statutes signiﬁcantly limited the scope of victim identiﬁcation among
                              concluded in 2021 (compared with 546 cases, 475, and 38, respectively,           key demographics; in practice, authorities did not screen men or boys
                              in 2020). Courts reported convicting nine traffickers, although none of          older than the age of 14 for any signs of exploitation in sex trafficking or
                              the criminal code articles applied were trafficking-speciﬁc (unreported          forced labor. Authorities claimed to have used an app-based system to
                              in 2020; 2,355 convictions in 2019); further information on case speciﬁcs        track and remove more than 4,300 missing children from exploitation in
                              was unavailable. The government again did not provide complete                   the ﬁrst nine months of 2021 (compared with 4,600 in 2020), some of
                              sentencing information, but penalties imposed in the aforementioned              whom were likely victims of trafficking; like the previous year, authorities
                              nine cases ranged from one to 15 years’ imprisonment with ﬁnes ranging           did not provide relevant statistics or information on identiﬁcation or
                              from 5,000 to 50,000 renminbi ($780 -$7,850), compared with at least             referral measures (compared with 120 victims identiﬁed among more
                              one conviction ranging from ﬁve to three years’ imprisonment in 2020.            than 4,000 children in 2019). The Ministry of Human Resources and
                                                                                                               Social Services (MOHRSS) operated and publicized three 24-hour
                              Authorities engaged in law enforcement cooperation with European,
                                                                                                               hotlines that could beneﬁt potential trafficking victims—one for labor
                              Central Asian, and Southeast Asian governments to investigate cases of
                                                                                                               issues, one for child protection, and one for gender-based violence—but
                              PRC citizens subjected to trafficking abroad, as well as cases involving
                                                                                                               authorities did not provide statistics on their use.
                              foreign nationals subjected to trafficking within the PRC. The government
                              maintained anti-trafficking agreements with the ﬁve other Lower Mekong           The PRC lacked a standardized national referral mechanism, but MPS
                              countries to jointly address trafficking via the forced and fraudulent           maintained written instructions promulgated in 2016 for law enforcement
                              marriage of their citizens to PRC-based individuals; some provincial             officers throughout the country aiming to clarify procedures for
                              governments maintained their own similar agreements with counterpart             identifying trafficking victims among individuals in commercial sex
                              entities in bordering countries. Authorities also reported maintaining           and forced or fraudulent marriage. MPS officials reportedly maintained
                              coordinative anti-trafficking mechanisms with law enforcement and                a procedure to screen for trafficking indicators among individuals
                              interior ministry counterparts in 34 countries. Some law enforcement             arrested on suspicion of “prostitution” crimes. Authorities reportedly
                              personnel in neighboring countries continued to report their PRC                 worked with an international organization to begin formulating new
                              counterparts were unresponsive to requests for bilateral cooperation             victim identiﬁcation guidelines in 2020 but did not report on the status
                              on cross-border trafficking cases, while others reported the PRC’s               of this work for the second consecutive year. A 2016 policy limiting
                              cumbersome law enforcement bureaucracy hindered joint operations.                the detention of individuals arrested for alleged criminal sex to 72
                              Some foreign officials noted jurisdictional challenges when attempting           hours remained in place. Despite the existence of these procedures,
                              to pursue trafficking investigations inside of special economic zones            law enforcement officials in prior years arrested and detained foreign
                              operated by PRC national-owned companies in Lower Mekong countries.              women on suspicion of “prostitution” crimes without screening them for
                                                                                                               indicators of sex trafficking—sometimes for as long as eight months—
                              For the ﬁrst time since 2017, the government reported allocating funding
                                                                                                               before deporting them for immigration violations; observers noted
                              to support capacity-building training for law enforcement on prosecuting
                                                                                                               this likely continued in 2021. Because authorities did not universally
                              trafficking cases. PRC media outlets occasionally published accounts
                                                                                                               implement identiﬁcation or referral procedures across law enforcement
                              of corrupt officials arrested for allegedly shielding or proﬁting from
                                                                                                               efforts, it was likely police arrested and detained unidentiﬁed PRC
                              criminal organizations engaged in commercial sex rings known to
                                                                                                               trafficking victims for unlawful acts traffickers compelled them to
                              perpetrate sex trafficking. In previous years, officials found guilty of these
                                                                                                               commit. Authorities may have detained some victims of sex trafficking—
                              crimes reportedly faced expulsion from the Chinese Communist Party,
                                                                                                               alongside individuals with drug addictions and men arrested for
                              termination of their official positions, ﬁnes, and referral to the judicial
                                                                                                               commissioning sex acts—in government “rehabilitation camps” known
                              system. However, authorities did not provide statistics on the number of
                                                                                                               to feature forced labor conditions.
                              investigations, prosecutions, or convictions resulting from these efforts.
                              Despite continued reports of law enforcement officials beneﬁting from,           The government did not provide data on victim service provision in
                              permitting, or directly facilitating sex trafficking and forced labor, the       2021. The government previously reported maintaining at least 10
                              government did not report any investigations, prosecutions, convictions,         shelters speciﬁcally dedicated to care for PRC trafficking victims, as
                              or administrative ﬁnes or demotions of law enforcement officials                 well as eight shelters for foreign trafficking victims and more than
                              allegedly involved in the crime. Officials at multiple levels, including         2,300 multi-purpose shelters nationwide that could accommodate
                              central party-state officials, were also complicit in state-sponsored forced     trafficking victims; it did not provide any information on these shelters
                              labor by directing the PRC’s mass detention, political indoctrination,           for the third consecutive year. The Ministry of Civil Affairs, the All-China
                              and labor dispatch campaign against members of Turkic and/or Muslim              Women’s Federation, and community-based NGOs could provide victims
                              minority groups, and some officials reportedly proﬁted directly from             with shelter, medical care, counseling, legal aid, and social services.
                              this system. Authorities reportedly subjected Tibetans and members               Access to specialized care depended heavily on victims’ location and
                              of other ethno-religious groups to similar abuses. Xinjiang officials            gender; experts noted ad hoc referral procedures and an acute lack
                              continued to obstruct meaningful access for international observers to           of protection services in the south, and that male victims were far
                              sites across the province that would otherwise facilitate investigations         less likely to receive care nationwide. The law entitled foreign victims
                              into credible allegations of forced labor.                                       to the same beneﬁts as PRC nationals, but this varied signiﬁcantly
                                                                                                               in practice. In previous years, rural border officials received reports
                              PROTECTION                                                                       involving the sex trafficking and forced labor of some foreign women
                              The government decreased efforts to protect victims, including by                and girls via forced and fraudulent marriage to PRC men, and officials
                              continuing to facilitate the forced labor of its citizens domestically, and      provided them with temporary shelter and helped to fund and escort
                              by failing to identify or provide services to PRC citizens subjected to          their repatriation. However, this assistance was reportedly ad hoc, often
                              forced labor abroad. In conjunction with international organizations, PRC        heavily bureaucratic, and less prevalent among front-line officers working

     172                                                                                                                                                    Haiti AR_000653
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 278 of 729




                                                                                                                                                                CHINA, PEOPLE'S REPUBLIC OF
farther inland, where some foreign victims escaped, reported these             The government continued to restrict access of UN agencies attempting
abusive circumstances to the authorities, and were summarily arrested          to monitor and assist refugees near the PRC’s border with the DPRK.
and forcibly returned to their PRC “husbands”—sometimes in exchange
for bribes from the men’s families. Widespread stigma against victims          PREVENTION
of sex trafficking likely continued to discourage many from accessing          The government decreased efforts to prevent trafficking. PRC authorities
protection services. MOHRSS reportedly could provide compensation              continued to amplify the magnitude of trafficking crimes in the country
and some protection services to labor trafficking victims, but authorities     and abroad, including by perpetrating genocide and continuing to use
did not report information on the number of victims MPS referred for           emerging technologies to carry out discriminatory surveillance and ethno-
these services. Implementation of a law placing foreign NGOs in the PRC        racial proﬁling measures designed to subjugate and exploit minority
under MPS supervision continued to impose burdensome requirements              populations in forced labor in internment camps under the pretext of
and restrictions on the activities of civil society organizations, including   combating violent extremism and other social ills. The PRC continued its
those able to provide services for trafficking victims and communities         policies of mass detention and political indoctrination against more than
vulnerable to the crime. Foreign embassies in the PRC could provide            one million Uyghurs, ethnic Kazakhs, ethnic Kyrgyz, and members of other
shelter or other protection services to victims, but pandemic mitigation       Turkic and/or Muslim minority groups in Xinjiang, and it continued to
measures likely limited these services in 2021.                                expand these policies through the transfer of thousands of detainees into
                                                                               forced labor in dozens of other provinces, according to NGO estimates
Authorities did not condition access to victim care on cooperation with
                                                                               and media reports. Authorities forcibly transferred thousands of Uyghur
law enforcement, but they did require victims to provide information
                                                                               youth into manufacturing jobs throughout the PRC to ﬁll labor shortages
to police. The law entitled victims to request criminal prosecution
                                                                               in quarantine zones. National policies officially imposed deradicalization
and claim compensation through civil lawsuits against traffickers; the
                                                                               duties on Xinjiang-based commercial entities and trade unions, further
government did not report whether any victims beneﬁted from this
                                                                               cementing their role in state-sponsored forced labor under the guise of
provision in 2021, and observers assessed authorities likely did not
                                                                               public security measures. Local governments and businesses received
apply this beneﬁt equitably across all cases. Some forced marriage
                                                                               tax breaks and ﬁnancial subsidies for establishing new manufacturing
cases, many of which continued to demonstrate corollary indicators of
                                                                               sites and accepting or transferring detainees for these purposes, and
sex trafficking and forced labor, were mediated at the village collective
                                                                               officials reportedly received promotions and other beneﬁts for their role
level; these proceedings rarely culminated in a guilty verdict through
                                                                               in the process. According to official PRC government documents, local
which to grant restitution to the victims. In prior years, MOJ officials
                                                                               governments at times arrested Muslims arbitrarily or based on spurious
reportedly provided some Pro bono legal assistance to trafficking
                                                                               criminal charges and administrative violations—including violation of birth
victims, but government-affiliated NGO observers noted some victims
                                                                               restrictions—in order to meet detention quotas established speciﬁcally
faced difficulties accessing these services or paying for their own
                                                                               for this internment system. Reports indicate authorities partially staffed
representation. The judicial system did not require victims to testify
                                                                               internment camp facilities using forced labor, including among vocational
against traffickers in court and allowed prosecutors to submit previously
                                                                               and language instructors. Authorities sent many detained individuals
recorded statements as evidence; however, authorities required some
                                                                               approved to “graduate” from these facilities to external manufacturing
foreign victims to stay in the PRC to assist in police investigations until
                                                                               sites in close proximity to the camps or in other provinces and subjected
their conclusion.
                                                                               them to forced labor; authorities transferred others and likely subjected
The government’s previously reported victim assistance abroad—                 them to forced labor within a separate—and growing—formal prison
including its eight border liaison offices with Burma, Laos, and Vietnam,      system. The government continued to transfer some members of non-
along with victim funds, hotlines, and government-to-government                interned minority communities designated arbitrarily as “rural surplus
agreements to assist victims—was not efficacious. The government               labor” to other areas within Xinjiang as part of a “poverty alleviation”
did not report data on victim repatriation in 2021, but an international       program and exploit them in forced labor. Authorities also used the
organization conﬁrmed authorities assisted in the repatriation of some         threat of internment to coerce members of some Muslim communities
Southeast Asian victims to their countries of origin. PRC officials            directly into forced labor in manufacturing. The government continued
operating in other countries may have facilitated the sex trafficking of       to subject Xinjiang’s ethnic minority communities to severe travel
PRC nationals abroad through lax visa and immigration procedures.              restrictions, including through prohibitions on access to passports,
PRC authorities reportedly harassed, threatened, attempted to discredit,       which compounded their vulnerability to arbitrary detention and state-
and sought the extradition of Uyghur and ethnic Kazakh forced labor            sponsored forced labor. The Ministry of Foreign Affairs continued to
survivors seeking asylum abroad in retaliation for their contact with          conﬁscate, cancel, or refuse to renew the PRC passports of Uyghurs
foreign media outlets.                                                         and other Muslims living abroad, including those with legal permanent
The government did not report any measures to screen for, or identify,         resident status or citizenship in other countries, as a coercive measure
forced labor indicators among the thousands of vulnerable migrant              to lure them back to Xinjiang and likely detain them within the camps.
seafarers employed on PRC national-owned DWF vessels, nor within               There were also reports that authorities threatened, detained, and forcibly
its extensive coastal offshore ﬁshing ﬂeet. The government did not             hospitalized these individuals’ family members in Xinjiang in an attempt
report conducting any training on victim identiﬁcation or assistance           to silence them and/or coerce their return. The PRC continued to seek
for its diplomatic services abroad. PRC consular officials often did not       the extradition of Muslim individuals who sought asylum abroad after
take steps to proactively identify, respond to, or assist PRC nationals        ﬂeeing exploitation in forced labor, among other human rights abuses, in
subjected to forced labor under the auspices of BRI projects overseas,         Xinjiang. Nationwide, some school districts continued to compel ethnic
including when victims reported abuses to local PRC diplomatic missions.       Han students to participate in internship programs featuring forced
PRC municipal authorities were sometimes responsive to BRI-related             labor indicators, including compulsory factory labor.
complaints ﬁled in conjunction with an international organization,             Authorities reportedly continued to place thousands of rural Tibetan
including by requiring foreign-based PRC-run companies to follow               herders and farmers in “military-style” vocational training and
victim protection, compensation, and repatriation protocols in some            manufacturing jobs around the country under the auspices of a quota-
cases. PRC ﬁshermen subjected to forced labor were generally unable            based “surplus labor” transfer program ostensibly intended as a “poverty
to report abuses to local authorities or access protection services            alleviation” measure. Although the program did not feature overt arrests
when returning to the PRC. The government did not undertake efforts            or enforced disappearances, observers noted the system was likely
to identify trafficking victims within the PRC’s highly vulnerable North       highly coercive, given individuals’ relative inability to refuse participation
Korean migrant population, nor did it provide suspected North Korean           amid the central government’s pervasive system of social control in
trafficking victims with legal alternatives to repatriation. Although          Tibetan areas. Some of these Tibetans were subsequently subjected to
signiﬁcantly fewer North Korean nationals transited the PRC while              forced labor in manufacturing. Authorities also exacerbated Tibetans’
seeking asylum in third countries due to pandemic-related border               vulnerability to trafficking by systematically dismantling the Tibetan
closures, authorities continued to detain North Korean asylum-seekers          rural economy through mass enforced relocations, and by forcing those
and forcibly return some to North Korea, where they likely faced severe        who sought work in the state sector to renounce all ties to the Dalai
punishment or death, including in forced labor camps; the government           Lama as a condition of employment.
did not report screening these individuals for indicators of trafficking.                                                         Haiti AR_000654                173
                                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 279 of 729
CHINA, PEOPLE'S REPUBLIC OF
                              The PRC government did not report continuing to implement or                     sanctions on foreign government officials critical of PRC abuses; and
                              expand pilot programs initiated in prior years to reduce vulnerabilities         pressure on international companies. Authorities publicly reported
                              among foreign seafarers hired informally or illegally to work onboard            instituting new inspection protocols in Xinjiang in an effort to further
                              vessels in the PRC’s global ﬁshing ﬂeet. PRC-owned and affiliated                dispel allegations of forced labor in the region; observers assessed
                              companies continued to employ PRC and foreign nationals at BRI                   these protocols as neither credible nor sufficient to meaningfully deter
                              project worksites abroad; the government did not exercise adequate               state-sponsored forced labor there.
                              oversight of recruitment procedures, which often featured worker-paid
                                                                                                               Academics and experts noted the gender imbalance created by the
                              fees driving indebtedness to unregistered brokers, nor did it take steps
                                                                                                               previous One-Child Policy likely continued to contribute to trafficking
                              to ensure worker contracts were free of abusive contract provisions.
                                                                                                               crimes in the PRC. The government hukou (household registration)
                              Many PRC nationals employed at BRI worksites abroad initially entered
                                                                                                               system continued to contribute to the vulnerability of internal migrants
                              destination countries on tourist visas and were forced to work without
                                                                                                               by reducing access to social services, particularly for PRC victims
                              contracts. In recognition of this insufficiency, authorities maintained
                                                                                                               returning from exploitation abroad, and by driving hundreds of millions
                              policies and regulatory standards issued in 2017 barring the collection
                                                                                                               of individuals to live and work illegally outside the jurisdiction of their
                              of recruitment fees or security deposits from job applicants, banning
                                                                                                               registration. The government continued to address some of these
                              the use of tourist visas for travel to work in BRI destination countries,
                                                                                                               vulnerabilities by requiring local governments to provide a mechanism for
                              and instructing companies on safeguarding labor rights; however, these
                                                                                                               migrant workers to obtain residency permits. However, these residency
                              were largely nonbinding, and the government did not report efforts to
                                                                                                               permits were disproportionately unavailable to rural ethnic Han migrants
                              enforce them. International visibility into BRI recruitment processes, labor
                                                                                                               and members of ethnic minority groups, exacerbating their constrained
                              contracts, and working conditions was constrained in part due to the PRC
                                                                                                               access to employment and social services. The government did not make
                              government’s failure to establish a single governing entity for the program
                                                                                                               efforts to reduce the demand for commercial sex acts. The government
                              or to publish a list of worldwide BRI projects, bilateral negotiations for
                                                                                                               did not report investigating or prosecuting any PRC citizens for child
                              which were kept secret. In recent years, NGOs in countries receiving PRC
                                                                                                               sex tourism, despite widespread reports of the crime. While the PRC
                              migrant workers through other bilateral agreements reported the PRC
                                                                                                               government included Macau in its succession to the 2000 UN TIP
                              government ignored abusive and potentially illegal contract stipulations,
                                                                                                               Protocol in 2010, it stated the protocol “shall not apply” to Hong Kong.
                              including fees and provisions requiring immediate repatriation for
                              pregnancies or illnesses, which placed some PRC workers at higher
                                                                                                               TRAFFICKING PROFILE
                              risk of debt or punitive deportation as coercive measures to retain their
                                                                                                               As reported over the past ﬁve years, human traffickers exploit domestic
                              labor; the government did not take steps to address these vulnerabilities
                                                                                                               and foreign victims in the PRC, and they exploit victims from the PRC
                              during the reporting period. The PRC government’s exertion of political
                                                                                                               abroad. Traffickers also use the PRC as a transit point to subject foreign
                              pressure and operating restrictions on NGOs in Hong Kong had a negative
                                                                                                               individuals to trafficking in other countries throughout Asia and in
                              impact on anti-trafficking coordination with the local authorities there.
                                                                                                               international maritime industries. Highly organized criminal syndicates
                              The PRC government did not report holding an annual inter-ministerial            and local gangs subject PRC women and girls to sex trafficking within the
                              meeting to coordinate anti-trafficking efforts for the second consecutive        PRC. Traffickers typically recruit them from rural areas and take them to
                              year. In April 2021, the State Council published its Action Plan against         urban centers, using a combination of fraudulent job offers and coercion
                              Trafficking in Persons (2021-2030), developed under the guidance of MPS          by imposing large travel fees, conﬁscating passports, conﬁning victims, or
                              and in consultation with academic and juvenile protection experts. The           physically and ﬁnancially threatening victims to compel their engagement
                              new action plan focused on preventing fraudulent adoption, combating             in commercial sex. The PRC’s national household registry system (hukou)
                              cyber-facilitated sex trafficking crimes, and improving labor recruitment        continues to restrict rural inhabitants’ freedom to legally change their
                              procedures, with an emphasis on women and girls; it contained no explicit        residence, placing the PRC’s internal migrant population—estimated
                              mention of men or boys and few mentions of forced labor. For the ﬁfth            to exceed 169 million people—at high risk of forced labor in brick kilns,
                              consecutive year, the government did not report its funding for anti-            coal mines, and factories. Some of these businesses operate illegally
                              trafficking activities in furtherance of the action plan (more than 55 million   and take advantage of lax government enforcement. PRC nationals
                              renminbi, or $8.63 million, in 2016). In September, the State Council also       in several countries are subjected to conditions indicative of forced
                              launched a National Program for Women’s Development (2021-2023)                  labor at BRI worksites owned, managed, and/or operated with partial
                              that included trafficking prevention elements, but authorities did not           or full investment by PRC-based companies, PRC nationals, or the PRC
                              report information on implementation activities in 2021. The All-China           government. African and Asian men reportedly experience conditions
                              Women’s Federation, which was designated to lead or support dozens of            indicative of forced labor aboard PRC-ﬂagged and PRC national-owned,
                              workstreams in the national action plan, maintained provincial chapters;         foreign-ﬂagged ﬁshing vessels operating worldwide in the PRC’s DWF;
                              one such chapter drew criticism in 2021 for allegedly misappropriating           men from other regions may be in forced labor aboard these vessels
                              more than $1.5 million—a quarter of its annual budget—for “personal              as well. Women and girls from South Asia, Southeast Asia, and several
                              expenses.” National and local authorities conducted media outreach               countries in Africa experience forced labor in domestic service, forced
                              campaigns on some forms of trafficking, although the content thereof             concubinage leading to forced childbearing, and sex trafficking via
                              generally focused on child abduction and forced and fraudulent marriage.         forced and fraudulent marriage to PRC men. Traffickers target adults
                              Officials co-sponsored and participated in trafficking prevention training       and children with developmental disabilities and children whose parents
                              activities in conjunction with international organizations. Observers            have left them with relatives to migrate to the cities—estimated at 6.4
                              noted the government’s construction of border fences as a pandemic               million—and subject them to forced labor and forced begging. State
                              mitigation strategy may have curbed transnational trafficking between            bodies reportedly subject members of Muslim minority groups and
                              Guangxi and Vietnam in 2021. PRC peacekeepers participated in a brief            Tibetans to forced labor as part of arbitrary mass detention, political
                              UN training course on the risks of human trafficking prior to deployment         indoctrination, and labor transfer schemes.
                              to Sudan, South Sudan, and Cyprus.
                                                                                                               State-sponsored forced labor is prevalent in the PRC. In 2013, the National
                              PRC authorities did not take any steps to alter course in response               People’s Congress ratiﬁed a decision to abolish “Re-education through
                              to mounting public concern regarding Xinjiang abuses and the                     labor” (RTL), a punitive system that subjected individuals to extra-
                              contamination of international supply chains with goods produced                 judicial detention involving forced labor, from which the government
                              by state-sponsored forced labor there in 2021. To the contrary, the              reportedly proﬁted. The government closed most RTL facilities by
                              government and affiliated commercial entities engaged in a concerted             October 2015; however, the government reportedly converted some
                              campaign to dispel these accusations through vehement denial in public           RTL facilities into state-sponsored drug rehabilitation facilities or
                              messaging; state-ordered politically motivated academic research;                administrative detention centers where, according to civil society
                              falsiﬁed cotton production and harvest mechanization data; localized             and media reports, forced labor continues. State-sponsored forced
                              propaganda campaigns targeting consumers in trade partner countries;             labor persists under the government’s mass detention and political
                              the establishment of false supply chain policy initiatives as alternatives       indoctrination campaign against predominantly Muslim and/or Turkic
                              to preexisting international monitoring and compliance programs; new             minorities in the Xinjiang Uyghur Autonomous Region (Xinjiang).
     174                                                                                                                                                    Haiti AR_000655
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 280 of 729




                                                                                                                                                             CHINA, PEOPLE'S REPUBLIC OF
Authorities have utilized discriminatory surveillance technologies,           and Construction Corps (Bingtuan)—an economic and paramilitary
including facial recognition and DNA sequencing technology, and               organization with administrative control over several areas in the region
arbitrary administrative and criminal provisions to detain more than one      comprising approximately 2.8 million personnel. According to NGO
million ethnic Muslims, including Uyghurs, ethnic Hui, ethnic Kazakhs,        reports, Bingtuan regiments manage at least 36 agricultural prison
ethnic Kyrgyz, ethnic Tajiks, and ethnic Uzbeks in as many as 1,200           farms throughout Xinjiang; unlike the aforementioned mass detention
“Vocational Skills Education and Training Centers”—internment camps           campaign, this system primarily subjects ethnic Han inmates—many of
designed to erase ethnic and religious identities under the pretext of        whom may be victims of arbitrary detention—to forced labor. Bingtuan
“deradicalization.” Camp authorities reportedly force some individuals        authorities also force inmates to build new prison facilities in several
to work in staff positions within the camps, including in sewing and          areas of the province and may subject inmates to forced labor in coal,
Mandarin language instruction. During detention within—and following          Uranium, and asbestos mining, as well as in lead and zinc smelting and
“graduation” from—these facilities, government authorities and/or             fertilizer production. Authorities also subject some Xinjiang residents to
authorized commercial entities subject many of these individuals to           forced labor in silica mining and processing for use in solar components,
forced labor in adjacent or off-site factories producing garments,            aluminum alloy, and silicone. The Bingtuan reportedly forces half a
automotive components, footwear, carpets, yarn, food products,                million Uyghur adults and children to pick and process cotton, tomatoes,
construction materials, holiday decorations, building materials, solar        sugar beets, and possibly apples and peanuts. The impact of formal
power equipment, polysilicon and other renewable energy components,           discriminatory employment policies barring Uyghurs from jobs in many
consumer electronics, bedding, hair products, cleaning supplies, personal     sectors—including in the annual cotton harvest—reportedly drives
protective equipment face masks, chemicals, pharmaceuticals, and other        thousands of Uyghur farmers out of their communities in search of
goods for domestic and international distribution. Coercive conditions        alternative work, placing them at higher risk of forced labor. The same
reportedly include threats of physical violence, conﬁscation of travel        is true of the government’s targeted forced displacement programs,
and identity documents, forcible drug intake, physical and sexual abuse,      including the Bingtuan’s construction of new settlements designated
and torture, among others. Local governments have reportedly used the         for ethnic Han internal migrants, as well as its seizure of land from small-
threat of internment to coerce some members of these communities              scale and subsistence farmers in Uyghur communities. This calculated
directly into forced labor. A small number of ethnic Han individuals          land expropriation makes Uyghur farmers more likely to fall victim to
and members of other religious minority groups, including Jehovah’s           coercive labor transfer programs; some are even subjected to forced
Witnesses, are also reportedly in detention within this system. Authorities   labor on the land they had previously occupied. In some instances, the
offer tax breaks and other ﬁnancial subsidies incentivizing PRC national-     government reportedly relocates entire Uyghur farming communities to
owned companies to open factories in close proximity to the internment        areas without agricultural prospects and in close proximity to factories
camps and to receive transferred detainees at satellite manufacturing         in order to facilitate their forced labor in textile production. Observers
sites in other provinces, and local governments receive additional funds      note many Uyghur communities remain vulnerable to trafficking in other,
for each inmate forced to work in these sites at a fraction of minimum        ostensibly voluntary labor transfer situations, given the PRC government’s
wage or without any compensation. The government has transported              comprehensive control over nearly all aspects of life in Xinjiang.
at least 80,000 of these individuals to other provinces for forced labor
                                                                              The government subjects some Tibetans to arbitrary detention featuring
under the guise of poverty alleviation and industrial aid programs;
                                                                              similar political indoctrination and forced prison labor practices in
authorities have formally convicted many more, perhaps hundreds of
                                                                              the Tibet Autonomous Region (Tibet) and in neighboring provinces.
thousands, under spurious criminal charges and transferred them to
                                                                              Authorities have placed thousands of rural Tibetans in “military-style”
more than 100 urban prisons throughout the country, where they suffer
                                                                              vocational training and manufacturing jobs around the country under the
additional forced labor conditions. In total, the PRC has reportedly
                                                                              auspices of a quota-based “surplus labor” transfer program ostensibly
placed 2.6 million members of minority communities in agricultural
                                                                              intended as a poverty alleviation measure. Although the program does
and manufacturing jobs within Xinjiang and across the country through
                                                                              not feature arrests or enforced disappearances, observers note the
state-sponsored “surplus labor” and “labor transfer” initiatives featuring
                                                                              system is likely highly coercive, given individuals’ relative inability to
overt forced labor indicators.
                                                                              refuse participation amid the central government’s pervasive system
Authorities in some localities also subject the families of men arbitrarily   of social control in Tibetan areas. Reports indicate companies subject
detained in Xinjiang to forced labor in their absence. Internment of          some of these Tibetans to forced labor in factories. Authorities also
these communities in false vocational training centers excludes them          reportedly subject some Buddhist clerics to political indoctrination
from genuine educational and vocational training and opportunities,           activities and forced labor in monasteries repurposed as factories. The
thereby exacerbating survivors’ poverty and subsequent vulnerability          government’s forced urban resettlement programs require Tibetans to
to trafficking. Contacts report families separated by this system are also    bear a large portion of resettlement costs, placing many of them in debt
more likely to fall below the poverty line and are therefore at higher        and consequently at higher risk of forced labor. Elsewhere, religious
risk of sex trafficking and forced labor. Authorities place the young         and political activists held in legal education facilities continue to
children of interned individuals in Xinjiang in state-run boarding schools,   report forced labor occurring in pretrial detention and outside of penal
orphanages, and “child welfare guidance centers,” and force them to           sentences. The government subjects Christians and members of other
participate in political indoctrination activities and report on their        religious groups to forced labor as part of detention for the purpose of
families’ religious activities. Authorities reportedly place older children   ideological indoctrination; survivors report having been forced to work
among these groups in vocational schools, where some may be victims           in brick kilns, food processing centers, and factories manufacturing
of forced labor. Authorities have arbitrarily detained some Kazakhstani       clothing and housewares. Law enforcement officials detain some PRC
and Kyrgyzstani citizens visiting family in Xinjiang; their children, now     and foreign women on “prostitution” charges without due process in
unaccompanied abroad, are also at elevated risk of trafficking. NGOs          “custody and education” centers, where they are subjected to forced
report ethnic Han men may be increasingly able to force Uyghur and other      labor. International media report local authorities force children in some
Muslim women into marriages under the government’s discriminatory             government-supported work-study programs to work in factories. Some
ethnic assimilation policies, placing them at higher risk of forced labor     school districts compel students into forced labor in manufacturing
in domestic service and other forms of exploitation. Members of these         under the guise of mandatory internships. Although information is
Muslim minority groups attempting to seek asylum abroad are vulnerable        limited, PRC nationals may experience conditions indicative of forced
to immigration-related administrative and criminal charges in destination     labor at large-scale rare earth mining operations within the PRC, and
countries, as well as to PRC extradition and refoulement.                     rural communities displaced by these activities and by concomitant
                                                                              environmental contamination may themselves be vulnerable to sex
Xinjiang authorities issued a notice in 2017 abolishing rural obligatory
                                                                              and labor trafficking.
labor under the Hashar system, in which they had reportedly subjected
thousands of Uyghur adults and children to forced labor in government         Some host country nationals, PRC nationals, and other migrant workers
infrastructure projects and agriculture each year. Despite this policy        employed at large-scale BRI and other PRC-affiliated construction
change, similar forms of state-sponsored forced labor continue in             projects, mining operations, and factories in African, European, Middle
Xinjiang, including under the auspices of the Xinjiang Production             Eastern, Asian and Paciﬁc, and Latin American and Caribbean countries
                                                                                                                                Haiti AR_000656               175
                                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 281 of 729
CHINA, PEOPLE'S REPUBLIC OF   experience conditions indicative of forced labor. These include deceptive    severe verbal and physical abuse, denial of access to healthcare, restricted
                              recruitment into debt bondage; arbitrary wage garnishing or withholding;     communication, document retention, arbitrary garnishing or nonpayment
                              contract irregularities, including absence of contracts; conﬁscation of      of wages, and other forced labor indicators, often while being forced
                              travel and identity documentation; forced overtime; resignation penalties;   to remain at sea for months or years at a time. This statistic does not
                              false promises of payment for return ﬂights, which traffickers then          include PRC national-owned DWF vessels that are ﬂagged or registered
                              use as collateral to retain their labor beyond the length of the original    through front companies in other countries; the true number of DWF
                              contracts; intimidation and threats; physical violence; denial of access     vessels with PRC national beneﬁcial ownership may therefore be much
                              to urgent medical care; poor working and living conditions; restricted       higher than reported. Many DWF crewmembers are recruited through
                              freedom of movement and external communication; and retaliatory              unlicensed or poorly regulated informal brokerage networks within
                              ﬁrings, including after refusing to have sexual relations with employers     the PRC and abroad, exacerbating their risk of indebtedness through
                              and reporting sexual abuse. Pandemic-related travel restrictions in          the imposition of unregulated hiring fees, commissions, and expenses
                              many of these countries and reentry restrictions imposed by the PRC          accrued while being forced to reside in dormitories in the months
                              government compound these vulnerabilities. In particular, the PRC            leading up to their deployment. PRC ﬁshing operators in turn require
                              government’s constrained ability to send new workers overseas for BRI        DWF crewmembers to pay “guarantee money” that places them at
                              projects during the pandemic may have incentivized some companies            further risk of debt-based coercion. Some DWF senior vessel crew
                              to conﬁne PRC nationals at BRI worksites beyond the length of their          members also subject these ﬁshermen to forced criminality in illegal,
                              contracts under the pretext of public health restrictions. Some PRC          unreported, and unregulated (IUU) ﬁshing and smuggling—including
                              nationals reportedly recruit local children from the communities in          in areas under the jurisdiction of other coastal states—making them
                              which BRI projects are underway and subject them to forced labor in          vulnerable to unjust civil and criminal liabilities in port countries. Some
                              hazardous work.                                                              PRC national-owned ﬁshing vessels reportedly operate in violation of
                                                                                                           UN sanctions off the coast of North Korea and in the Indian Ocean while
                              Traffickers, including those working for PRC national-run crime syndicates
                                                                                                           evading detection by maritime authorities, including by falsifying vessel
                              and with facilitation from PRC national-owned businesses, subject
                                                                                                           registration numbers; the crew members aboard these ships are also
                              PRC men, women, and children to forced labor and sex trafficking in
                                                                                                           vulnerable to forced labor in IUU ﬁshing.
                              more than 80 other countries. They force PRC men, women, and girls
                              to work in restaurants, shops, agricultural operations, and factories in     PRC traffickers subject women and children from neighboring Asian
                              overseas Chinese diaspora communities. Traffickers promise some PRC          countries, Africa, and the Americas to forced labor and sex trafficking
                              nationals jobs abroad and then force them to engage in online gambling,      within the PRC. Traffickers promise African and South American women
                              internet, and telephone scams. Traffickers also reportedly subject some      legitimate jobs in the PRC and force them into commercial sex upon
                              PRC nationals to forced criminality in cryptocurrency mining and in the      arrival. The PRC government’s birth-limitation policy and a cultural
                              cultivation, processing, and distribution of recreational drugs. PRC men     preference for sons created a skewed sex ratio of 105 boys to 100 girls
                              in Africa, Europe, Maritime Southeast Asia, the Middle East, and South       in the PRC, which observers assert continues to drive the demand for
                              America experience conditions indicative of forced labor in factories,       commercial sex and for foreign women to enter or be deceived into
                              construction sites, and logging and mining operations; these conditions      brokered marriages with PRC men—both of which may be procured and
                              include non-payment of wages, restrictions on movement, withholding          retained by force or coercion. Traffickers kidnap or recruit women and
                              of passports, and physical abuse. PRC national-owned manufacturing           girls through marriage brokers and transport them to the PRC, where
                              facilities in South Africa have reportedly subjected PRC nationals to        some are subjected to sex trafficking or forced labor. Illicit brokers
                              forced labor in the manufacturing of pandemic-related medical protective     increasingly facilitate the forced and fraudulent marriage of South Asian,
                              garments. Traffickers subject PRC women and girls to sex trafficking         Southeast Asian, Northeast Asian, and African women and girls to PRC
                              throughout the world, including in major cities, construction sites,         men for fees of up $30,000. The men—sometimes in partnership with
                              remote mining and logging camps, and areas with high concentrations          their parents—often incur large debts to cover these fees, which they
                              of PRC migrant workers. Companies operating under the auspices of            attempt to recover by subjecting the women and girls to forced labor
                              the Japanese government’s “Technical Intern Training Program” have           or sex trafficking. Some PRC men reportedly circumvent this brokerage
                              subjected PRC nationals to forced labor, often through debt bondage,         system by traveling to Southeast Asian capitals and entering into legal
                              in food processing, manufacturing, construction, and ﬁshing. Traffickers     marriages with local women and girls, then return to the PRC and
                              also subject PRC seafarers to forced labor on board ﬁshing vessels           compel them into commercial sex. There are also reports of PRC men
                              in Taiwan’s highly vulnerable DWF, in Papua New Guinea’s exclusive           and their parents deceiving local and Southeast Asian women and girls
                              economic zone and surrounding maritime territories, and on foreign-          into fraudulent marriages in the PRC, then conﬁning them in forced
                              ﬂagged cargo vessels operating in the Paciﬁc Ocean.                          concubinage involving rape leading to forced pregnancy. In cases where
                                                                                                           this forced pregnancy leads to childbirth, the men and their parents
                              PRC traffickers operating abroad subject local populations to sex
                                                                                                           sometimes use the child as collateral to retain the women’s forced labor
                              trafficking in several countries in Africa, the Mediterranean region, and
                                                                                                           or sexual slavery, or use the women’s immigration status as coercion to
                              South America. PRC traffickers also subject women and girls in other
                                                                                                           dissuade them from reporting their abuses to the authorities. Traffickers
                              Asian countries to sex trafficking and forced labor in sham businesses and
                                                                                                           also reportedly lure women from Burma, Vietnam, and Cambodia to the
                              entertainment establishments, including PRC national-owned casinos,
                                                                                                           PRC under similar false pretenses, blindfold and transport them, then
                              constructed near large-scale PRC-affiliated infrastructure and investment
                                                                                                           subject them to forcible artiﬁcial insemination in unregulated hospital
                              projects—at times under the auspices of the BRI—and in special economic
                                                                                                           facilities; they conﬁne groups of these women in private residences
                              zones with limited local government oversight. PRC national-owned
                                                                                                           until they give birth and then drive them across international borders
                              factories and agricultural plantations in Burma reportedly subject local
                                                                                                           to their home countries with impunity. A small number of PRC women
                              and internal migrant populations to forced labor; the same may also
                                                                                                           are reportedly subjected to sex trafficking and forced labor via forced
                              be true for PRC-owned logging operations there. Crime syndicates
                                                                                                           or fraudulent marriages to Taiwanese men. Exploitative marriages
                              headed by PRC nationals reportedly assist traffickers in Southeast
                                                                                                           featuring elements of sex trafficking and forced labor have reportedly
                              Asian countries in the production of counterfeit travel documents to
                                                                                                           increased in some foreign countries where BRI construction projects
                              facilitate trans-border trafficking. PRC national-owned companies
                                                                                                           are underway. Mongolian boys are at high risk of forced labor and sex
                              operating under the auspices of the BRI also subject Southeast Asian
                                                                                                           trafficking under visa regimes that enable them to work indeﬁnitely as
                              migrant workers to forced labor at manufacturing facilities throughout
                                                                                                           herders, horse jockeys, and circus performers across the PRC border,
                              the Balkan region. Congolese men and boys experience conditions
                                                                                                           provided they return with a chaperone once a month. African residents
                              indicative of forced labor in PRC national-owned mining operations in
                                                                                                           of the PRC, displaced through discriminatory eviction policies related to
                              the Democratic Republic of the Congo.
                                                                                                           the pandemic, may be at higher risk of sex trafficking and forced labor
                              Many men from countries in Africa, Asia (especially Indonesia and the        due to ensuing homelessness and other economic hardships.
                              Philippines), and other regions employed on many of the 2,900 PRC-
                                                                                                           Many North Korean refugees and asylum-seekers living without formal
                              ﬂagged DWF ﬁshing vessels operating worldwide experience contract
                                                                                                           immigration status in the PRC are particularly vulnerable to trafficking.
                              discrepancies, excessive working hours, degrading living conditions,
     176                                                                                                                                                Haiti AR_000657
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 282 of 729




                                                                                                                                                                 COLOMBIA
Traffickers lure, drug, detain, or kidnap some North Korean women upon         PROSECUTION
their arrival in the PRC and compel them into commercial sex in brothels       The government maintained mixed prosecution efforts for sex trafficking
and bars, through internet sex sites, or in relation to forced marriage.       cases and did not investigate, prosecute, or convict any cases of forced
Traffickers—often North Korean “minders”—also subject these women              labor, despite the identiﬁcation of victims of such crimes. Article 188A
to forced labor in agriculture, in domestic service, and at restaurants,       of the penal code criminalized sex and labor trafficking and prescribed
karaoke bars, coffee shops, and factories; the “minders” reportedly            punishments of 13 to 23 years’ imprisonment plus ﬁnes between 800
restrict their freedom of movement and communication, garnish their            and 1,500 times the monthly minimum salary. Penalties under Article
wages, and at times force them to engage in commercial sex with PRC            188A were sufficiently stringent and, with respect to sex trafficking,
customers. According to media and NGO reports, the DPRK government             commensurate with those prescribed for other serious crimes, such as
subjects North Korean citizens to forced labor in the PRC as part of its       rape. Article 188A of the penal code is inconsistent with the deﬁnition
proliferation ﬁnance system, likely with the knowledge of PRC officials;       of trafficking under international law as the law did not include force,
this includes forced labor in hotels, restaurants, and in remote cyber         fraud, or coercion as an essential element of a trafficking crime. The
operations. PRC national-owned manufacturing facilities reportedly             law criminalized forced child recruitment and forced criminal activity
also subject North Korean workers to forced labor in the production of         by illegal armed groups under separate statutes, and authorities did
protective medical garments for international export.                          not view these crimes as human trafficking. Child sex trafficking and
                                                                               child sex tourism crimes were most often investigated and prosecuted
                                                                               under the induction into prostitution law, which prescribed penalties
                                                                               that were not commensurate with those of human trafficking and other
 COLOMBIA: TIER 1                                                              serious crimes.
                                                                               Authorities did not provide sufficient details on the cases investigated,
The Government of Colombia fully meets the minimum standards                   prosecuted, or convicted and, because Colombia’s law was broad, it
for the elimination of trafficking. The government continued to                was unclear if the cases reported constituted trafficking as deﬁned in
demonstrate serious and sustained efforts during the reporting period,         international law. In 2021, law enforcement officials arrested 132 suspects
considering the impact of the COVID-19 pandemic on its anti-trafficking        for possible trafficking crimes, compared with 38 in 2020, 40 in 2019,
capacity; therefore Colombia remained on Tier 1. These efforts included        and 85 in 2018. The attorney general’s office (AGO) investigated 226
increasing investigations, identifying more victims, adopting a new            possible cases of trafficking, compared with 185 in 2020, 203 in 2019,
victim identiﬁcation protocol for labor inspectors, and improving              and 180 in 2018. The government reported prosecuting 36 cases of sex
the existing centralized system for victim referral. In addition, the          trafficking, involving 70 defendants, compared with 65 cases in 2020,
government announced the creation of a special law enforcement                 75 in 2019, and 88 in 2018. There was a notable decrease in the number
unit for the investigation of forced recruitment of child soldiers and         of convictions. Authorities reported convicting eight traffickers—four
increased prevention efforts to mitigate child sex tourism. Although           whose cases were under appeal at the end of 2021—compared with
the government meets the minimum standards, trafficking convictions            22 in 2020, 36 in 2019, and 34 in 2018. Authorities did not prosecute
decreased signiﬁcantly, and authorities did not criminally prosecute or        or convict any new cases of forced labor. Authorities did not have a
convict cases of official complicity. Proactive victim identiﬁcation efforts   protocol to connect labor inspectors with police and, although officials
were generally insufficient, particularly among migrants, and services         identiﬁed victims of forced labor, authorities did not criminally investigate
for forced labor and adult victims were inadequate. The government did         cases of forced labor. Prosecutors’ inability to increase convictions for
not make efforts to criminally investigate, prosecute, and convict cases       trafficking crimes may be related to an absence of adequate protection
of forced labor, resulting in impunity for labor traffickers and leaving       mechanisms, which can affect victims’ willingness to cooperate with law
unidentiﬁed victims without protection in critical sectors.                    enforcement in cases against their traffickers. The AGO did not keep a
                                                                               record of sentences prescribed for trafficking crimes and, as a result, it
                                                                               was difficult to assess whether traffickers received punishment stringent
        COLOMBIA TIER RANKING BY YEAR                                          enough to deter the crime. There were numerous laws criminalizing
    1                                                                          trafficking crimes, which likely created confusion among prosecutors and
    2                                                                          judicial officials and led to a disjointed and ineffective law enforcement
                                                                               and prosecutorial response. In 2021, the Constitutional Court ruled in
  2WL
                                                                               favor of a trafficking survivor who, with the support of NGOs, ﬁled a case
    3                                                                          against the state after officials from the AGO inaccurately classiﬁed the
           2015     2016      2017      2018   2019   2020   2021    2022      case as induction into prostitution instead of human trafficking, which
                                                                               left her and her family unprotected, vulnerable, and unable to access to
                                                                               services available to victims of human trafficking under Colombian law.

PRIORITIZED RECOMMENDATIONS:                                                   Illegal armed groups and criminal organizations continued to forcibly
Make efforts to combat forced labor by enhancing proactive victim              recruit and use child soldiers for armed conﬂict and exploit them in forced
identiﬁcation and increasing criminal investigations, prosecutions, and        labor and sex trafficking. In August, the Special Jurisdiction for Peace
convictions of labor traffickers. • Vigorously investigate, prosecute, and     (JEP) presented a strategy to prioritize an inquiry into crimes involving
convict traffickers, including complicit officials. • Take steps towards       the forced recruitment of child soldiers that took place between 1996
amending policies to fund civil society actors to increase specialized         and 2016 as part of “macro case 07.” In 2021, the JEP called 26 former
services for all victims of trafficking, including shelter care for adult      members of the Revolutionary Armed Forces of Colombia (FARC-EP)
victims of trafficking and victims of forced labor. • Draft a victim           to testify on the recruitment of child soldiers, compared with 15 in 2020.
identiﬁcation protocol for law enforcement and border officials and            The government created a special task force against the recruitment of
train authorities on its use. • Develop a record-keeping system to track       children and indicated it would deploy 2,200 police officers to support
anti-trafficking investigations, prosecutions, convictions, and sentencing     the armed forces in the protection of children and criminal investigation
data. • Train prosecutors on the elements of human trafficking and the         of child recruiters. As part of that initiative, authorities released a list of
use of Article 188A of the penal code to investigate and prosecute all         the 30 most-wanted child soldier recruiters. In 2020, an NGO reported
trafficking crimes, such as child sex tourism, forced criminality, forced      impunity in cases of forced child recruitment and ongoing concern
labor, and the unlawful recruitment or use of child soldiers under             that Colombian illegal armed groups continued to strengthen their
trafficking provisions. • Increase efforts to combat child sex trafficking     operations using children in Colombia and nearby Venezuela. Authorities
in the tourism sector, especially in coastal cities. • Revise the deﬁnition    conducted operations to disrupt the illicit activities of illegal armed
of human trafficking under Colombian Law to align more closely with            groups, including several airstrikes that led to the death of approximately
the 2000 UN TIP Protocol deﬁnition.                                            six child soldiers. In response, when discussing the event with media
                                                                               outlets, a high-level official deemed child soldiers recruited by armed
                                                                               groups as “war machines,” which demonstrated a complete disregard
                                                                                                                                   Haiti AR_000658               177
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 283 of 729
COLOMBIA   for the need to treat such children primarily as victims. Authorities did        In 2021, the Operating Center for the Fight Against Human Trafficking
           not acknowledge that forcible recruitment of children by illegal armed           (COAT) began operating as a centralized entity to refer cases involving
           groups is a form of human trafficking.                                           children using the existing protocol developed by the Colombian
                                                                                            Institute for Family Wellbeing (ICBF). The government did not have
           Corruption and official complicity in trafficking crimes remained
                                                                                            referral protocols in cases involving adult victims or anyone exploited
           signiﬁcant concerns. Officials reported opening 40 investigations into
                                                                                            in forced labor. In 2020, authorities adopted victim referral protocols in
           official complicity in trafficking crimes between 2010 and 2021; this
                                                                                            13 departments but did not indicate how many officials the government
           included the 2021 case of a prosecutor and a law enforcement official
                                                                                            trained or how many victims it referred to services using these protocols.
           indicted for trafficking crimes. Authorities did not indicate how many of
                                                                                            With the support of an international organization and a foreign
           the 40 investigations led to prosecutions or convictions. Last year, officials
                                                                                            government, authorities ﬁnalized the victim identiﬁcation protocol for
           from the inspector general’s office noted judicial leniency toward public
                                                                                            labor inspectors that was pending since 2016. The MOL disseminated
           officials involved in trafficking crimes. While the government investigated
                                                                                            the protocol to 136 labor inspectors in seven regions but did not train the
           and frequently arrested complicit officials, authorities often opted for
                                                                                            labor inspectors to use it, despite the government’s concern with forced
           disciplinary measures in lieu of prison time, a response that was not
                                                                                            labor in sectors such as legal and illegal mining, emerald extraction, coal,
           commensurate with the severity of the crime and hindered efforts to
                                                                                            domestic service, agriculture near the coffee belt, cattle herding, and
           combat trafficking. Authorities did not provide updates to the complicity
                                                                                            crop harvesting. The protocol did not include a referral mechanism for
           cases reported last year, including the investigation of a local government
                                                                                            criminal prosecution if inspectors detected indicators of forced labor. In
           official from the Engativa neighborhood of Bogota for complicity in a
                                                                                            addition, the government offered some training on victim identiﬁcation
           transnational sex trafficking case; the case of officers from the national
                                                                                            and assistance as part of its prevention campaigns.
           police who were allegedly notifying traffickers of upcoming raids; or
           the case of the public servants who knowingly falsiﬁed documentation             Authorities provided emergency assistance to the 181 victims identiﬁed,
           for underage victims who were later exploited in Mexico and Spain.               including 54 who received temporary shelter. Of the 181 victims identiﬁed,
           Sources reported there was complicity in the police department and               158 received at least one service from the available medium-term
           the attorney general’s office in the city of Cartagena, in which child sex       assistance provisions. Immigration officials did not report referring
           trafficking, including child sex tourism, involving both Colombian and           the 21 victims they identiﬁed to care, and it was unclear what services
           foreign exploiters was prevalent. Authorities provided training—in some          were provided to the 170 child soldiers identiﬁed by the MOD. The
           cases with the support of international organizations—to immigration             government did not provide shelter to forced labor victims or adult
           officials, police, and members of the AGO on the law, understanding              trafficking victims. The ICBF reportedly assisted 158 child soldiers in
           trafficker recruitment tactics, and the investigation and prosecution            2021, compared with 144 in 2020, 180 in 2019, and 196 in 2018. An
           of trafficking crimes. The ombudsman’s office trained approximately              international organization veriﬁed 106 children were recruited by illegal
           1,100 public officials, including military and police, on the proactive          armed groups, compared with 66 in 2020, 99 in 2019, and 292 in 2018. To
           identiﬁcation of victims. Authorities collaborated with many countries           the same international organization, ICBF officials reported assisting 77
           in the region and international organizations on trafficking-related             demobilized children that separated from illegal armed groups between
           law enforcement operations. In 2021, civil society organizations from            January and September 2021, compared with 192 in 2020, 180 in 2019,
           Ecuador recommended updating bilateral agreements between the two                and 196 in 2018. The ICBF did not provide details of the assistance
           countries to improve law enforcement cooperation in cases of trafficking.        provided to victims of child sex trafficking or forced child labor.
                                                                                            The Ministry of Interior (MOI) and the ICBF were responsible for victim
           PROTECTION                                                                       protection; the former was responsible for protecting adult victims, and
           The government maintained protection efforts. As in previous years,
                                                                                            the latter was responsible for protecting and assisting child victims.
           services remained cursory and efforts insufficient. The government
                                                                                            Victim services included emergency assistance, including medical and
           identiﬁed more victims, but it did not make efforts to provide shelter or
                                                                                            psychological examination, clothing, hygiene kits, issuance of travel and
           adequate care for adults and victims of forced labor. The government
                                                                                            identity documents, and shelter for ﬁve days with a maximum extension
           identiﬁed 181 victims of trafficking, of whom 112 were exploited in sex
                                                                                            of ﬁve additional days. In fewer cases, and after administrative approval,
           trafficking, 18 in forced labor, two in forced begging, eight in indentured
                                                                                            authorities provided medium-term assistance, including educational
           servitude, and 32 unknown. In addition, the government reported
                                                                                            services, job skills training, assistance with job placement, economic
           identifying nine individuals in servile marriage, but it was unclear if
                                                                                            support, and legal assistance, including witness protection. Year to
           these individuals were forced or coerced to marry for the purposes
                                                                                            year, authorities allocated funding for victim protection and assistance
           of exploitation. Of these victims, 39 were men, and 14 identiﬁed as
                                                                                            under the national budget and mainly used it for victim repatriation and
           LGBTQI+. This compared with 100 victims identiﬁed in 2020, of whom
                                                                                            technical assistance for regional and municipal trafficking in persons
           71 were exploited in sex trafficking, four in forced labor, nine in forced
                                                                                            committees. Funding was not used to provide shelter or meaningful
           begging, two in indentured servitude, four in servile marriage, and 14
                                                                                            care directly to victims, given that by decree, national authorities relied
           unknown. Immigration authorities identiﬁed 21 victims of trafficking.
                                                                                            solely on individual departments and municipalities for the provision
           In addition, the Ministry of Defense (MOD) identiﬁed 170 child soldiers,
                                                                                            of services. This led to an inconsistent approach across the country
           compared with 63 in 2020. Other government entities and stakeholders
                                                                                            that often left victims unprotected and unable to navigate access to
           also reported work with this population, and there may be overlap within
                                                                                            adequate and necessary services for their recovery.
           this data. Some data was duplicative or contradictory, as no single
           agency was responsible for maintaining comprehensive protection                  ICBF authorities did not fund physical spaces where child victims
           or law enforcement data, and because Colombia’s law was broad, it                could go and, as a result, coordination for services was left to the last
           was unclear if the cases reported constituted trafficking as deﬁned in           minute, making it unreliable and difficult to obtain. The ICBF partially
           international law.                                                               funded two shelters for child victims, at least one of which had a
                                                                                            multi-disciplinary team trained to work with victims of sexual abuse,
           In previous years, the government reported that law enforcement officials
                                                                                            including sex trafficking; however, funding was insufficient to provide
           used a victim identiﬁcation protocol developed by an international
                                                                                            the comprehensive assistance victims needed. Local ICBF officials in
           organization; however, many law enforcement officials working on
                                                                                            Bogota operated a shelter for underage victims of commercial sexual
           trafficking cases were unaware of any protocol to identify victims.
                                                                                            exploitation that could provide care for trafficking victims but did not
           Experts indicated that in some cases, law enforcement officials retrieved
                                                                                            report how many victims received care in 2021. Authorities sometimes
           data from victims’ phones for evidentiary purposes and did not refer
                                                                                            placed victims in hotels on a case-by-case basis. Lack of funding for civil
           the victims to adequate services. In July 2021, the constitutional court
                                                                                            society organizations hindered the government’s ability to mitigate the
           ordered the government to develop a victim identiﬁcation protocol
                                                                                            crime; victims who did not receive adequate care were less able and
           to help officials identify victims, including among migrants. However,
                                                                                            willing to assist authorities in the case against their traffickers and less
           authorities did not report ﬁnalizing the victim identiﬁcation protocol
                                                                                            likely to provide input for the improvement of the overall response. The
           by the end of the year.
                                                                                            government did not have shelter services for adult victims or anyone
                                                                                            exploited in forced labor.
 178                                                                                                                                     Haiti AR_000659
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 284 of 729




                                                                                                                                                                     COLOMBIA
Government officials did not report deporting trafficking victims during          ﬁne recruitment agencies for fraudulent employment opportunities
the reporting period. In 2021, immigration authorities reported screening         once cases were ﬁnalized; only three ﬁnalized investigations since 2019
migrants for trafficking indicators; however, the absence of a formal             have resulted in ﬁnes. Authorities did not report if any ﬁnalized case
victim identiﬁcation protocol to screen migrants for trafficking indicators,      in 2021 was referred for criminal investigation. Authorities cooperated
particularly near border crossings, could have led to the deportation             with foreign governments to investigate cases of trafficking, including a
of unidentiﬁed victims. Venezuelan women in commercial sex—many                   case with Ecuador that led to the arrest of six individuals for trafficking
of whom may have been victims of trafficking—were not screened for                crimes. The government did not make any efforts to reduce the demand
trafficking indicators, and if believed to be working in the country illegally,   for commercial sex during the reporting period.
authorities often deported them back to Venezuela, punishing them
for immigration violations and crimes that their traffickers may have             TRAFFICKING PROFILE
compelled to commit. The Ministry of Foreign Affairs (MFA) received               As reported over the past ﬁve years, human traffickers exploit domestic
31 requests for repatriation but did not indicate how many it approved.           and foreign victims in Colombia, and traffickers exploit victims from
This compared with 17 repatriations in 2020, 33 in 2019, and seven in             Colombia abroad. Traffickers exploit Colombian adults and children in
2018. MFA officials did not indicate how much funding the government              sex trafficking and forced labor in Colombia and Latin America, Asia,
provided for the repatriation of victims.                                         and Europe. Traffickers exploit Colombians in Israel and the United Arab
                                                                                  Emirates, mainly Dubai. According to a Colombian government agency, in
PREVENTION                                                                        2019, nearly 55 percent of transnational trafficking cases with a Colombia
The government increased prevention efforts. The Interagency Committee            nexus involved Colombian victims exploited in trafficking in Turkey.
for the Fight Against Trafficking in Persons (ICFTP), chaired by the MOI          Traffickers lured victims with fraudulent employment opportunities
and comprising 16 government entities, conducted four virtual technical           later to exploit them in sex trafficking and forced labor. In 2019, 38
advisory meetings, compared with ﬁve meetings in 2020, three in                   percent of victims in domestic trafficking cases were from Bogotá and
2019, and two in 2018. All departments had territorial plans to combat            Antioquia Department, and 44 percent of domestic cases were identiﬁed
trafficking. In 2021, the MFA deﬁned and updated the territorial plans            in Bogotá. Government reports released in 2019 indicate that since 2013
to improve coordination with the tourism, hotel, and services sector to           roughly 90 percent of victims identiﬁed in Colombia were adults. Groups
amplify an ongoing prevention campaign, which reached employees,                  at high risk for trafficking include displaced Venezuelans, LGBTQI+
clients, and hotel guests. Authorities continued using the 2020-2024              individuals, Afro-Colombians, members of Indigenous communities,
national action plan. In 2021, officials appropriated some funding from           individuals with disabilities, internally displaced persons, and those
the total 3.11 billion Colombian pesos ($770,980) the government                  living in areas where illegal armed groups and criminal organizations
allocated for all anti-trafficking efforts. The government continued with         are active. An international NGO interviewed 2,216 Venezuelan migrants
the implementation of previously established awareness campaigns, and             who arrived in Colombia between 2019 and 2021, of which 907 reported
as focus increased to reduce child sex trafficking in the tourism sector,         experiencing trafficking or exploitation—324 of those in 2021. Sex
many efforts centered around amplifying such campaigns in key locations,          trafficking of Colombian women and children occurs within the country
such as Cartagena. In 2021, the Ministry of Commerce (MOC) adopted                and around the world. Colombian women and children are victims of sex
a national action plan to increase crime prevention efforts—including             trafficking within Colombia in areas with tourism and large extractive
for human trafficking—in the tourism sector. As part of this initiative,          industries. Transgender Colombians and Colombian men in commercial
authorities trained public servants, tourism service providers, unions,           sex are vulnerable to sex trafficking within Colombia and Europe.
and service providers, among others. In addition, the MOC launched                Traffickers exploit Colombian nationals in forced labor, mainly in mining to
an awareness campaign through local media, government social media                extract coal, alluvial gold, and emeralds; agriculture in coffee harvesting
pages, and tourist information stands to educate tourists on ways to              and palm production; begging in urban areas; and domestic service.
prevent and eradicate commercial sexual exploitation of children in the           Traffickers exploit Colombian children working in the informal sector
tourism sector. The national police conducted an awareness campaign               and street vending in forced labor. Illegal armed groups, particularly
against child sex tourism that included a mobile information booth and            in the departments of Choco, Norte de Santander, Córdoba, Nariño,
a robust educational campaign. In 2021, the Ministry of Labor (MOL)               and Cauca, forcibly recruit children, including Venezuelan, Indigenous,
indicated inspections remained virtual, which likely limited their ability        and Afro-Colombian youth, to serve as combatants and informants, to
to identify indicators of trafficking.                                            harvest illicit crops, and to exploit in sex trafficking. In 2021, JEP officials
                                                                                  announced that between 1996 and 2016, 18,677 children were recruited
Colombia continued to operate a 24-hour anti-trafficking hotline,
                                                                                  and used by the FARC-EP for the armed conﬂict, with the majority of
which in 2021 received 1,382 calls, of which 116 were possible cases of
                                                                                  cases taking place between 1996 and 2016. Between 2017 and 2019, early
trafficking that were referred to the COAT for further action. Officials did
                                                                                  alert systems identiﬁed 182 municipalities where children were vulnerable
not report how many led to criminal investigations or prosecutions. The
                                                                                  to forced recruitment by illegal armed groups. Several illegal armed
AGO monitored a general hotline for citizens to report crimes (Line-122),
                                                                                  groups, including ELN, Segunda Marquetalia, FARC-D, Clan del Golfo,
and authorities indicated 21 calls were for trafficking crimes in 2021. The
                                                                                  are known to operate in areas where vulnerable people may be exploited
government operated a cellphone app where the public could report
                                                                                  through human trafficking and other illicit activities. Women, children,
cases of trafficking in 2021; authorities identiﬁed Venezuelan victims
                                                                                  and adolescents who separate from the ranks of illegal armed groups
in the country and Colombian victims in Mexico, Turkey, and Turks
                                                                                  are vulnerable to trafficking. Traffickers recruit vulnerable women and
and Caicos. Reporting via the app was not anonymous and may have
                                                                                  girls in dire economic circumstances, mostly Colombians and displaced
hindered reporting of crimes due to fear of reprisal.
                                                                                  Venezuelans, into “webcam modeling,” a phenomenon that grew due
In response to the inﬂux of more than 1.8 million Venezuelans into                to the pandemic. In some cases, traffickers drugged women and girls
the country since 2016, in February 2021, the government granted                  using fear and coercion through debt and extortion to force victims to
temporary protected status (TPS) to migrants who arrived before January           perform live streaming sex acts. Government officials and civil society
2021, likely reducing their vulnerability to trafficking. TPS increased           organizations have expressed concern about the burgeoning webcam
access to ﬁnancial assistance for Venezuelan households, access to the            industry and its ties to sex trafficking. Displaced Venezuelans, including
education system for school-aged children, health insurance, access to            women, children, transgender individuals, and undocumented migrants,
employment, and immediate help to cover basic needs. By November                  were the most vulnerable to sex trafficking and forced labor. Traffickers
2021, authorities had pre-registered 1.5 million people. The government           target impoverished women and girls to exploit them in sex trafficking;
had policies to regulate recruitment agencies, including those placing            this vulnerable population represented 80 percent of sex trafficking
workers abroad, and had regulations that prohibited worker recruitment            cases. In 2021, more than 130,000 migrants—mostly Haitians—transited
fees. In 2021, the MOL reported conducting nine investigations into               the town of Necoclí intending to cross the Darién gap, many of whom
recruitment agencies for fraudulent employment claims and ﬁnalized                were highly vulnerable to human trafficking. Youth living under poor
one investigation, compared with 18 investigations and ﬁve ﬁnalized in            social and economic conditions are at a high risk of human trafficking.
2020 and 17 investigations and 29 ﬁnalized in 2019. Investigations into           The pandemic led to an economic contraction of 6.8 percent, creating
fraudulent activity could carry over from previous years. Officials could         hardships and likely increasing the vulnerability to trafficking of LGBTQI+
                                                                                                                                      Haiti AR_000660                179
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 285 of 729
COMOROS   individuals, undocumented migrants, and Indigenous communities that              penalties were sufficiently stringent. However, the penalties prescribed
          relied on the informal sector.                                                   for adult sex trafficking were not commensurate with those prescribed
                                                                                           for other grave crimes, such as rape. The government coordinated with
                                                                                           an international organization to draft the country’s ﬁrst standalone
                                                                                           anti-trafficking law; the draft was pending approval by the National
           COMOROS: TIER 2 WATCH LIST                                                      Assembly at the end of the reporting period.
                                                                                           The government investigated four trafficking cases— three for forced
          The Government of Comoros does not fully meet the minimum standards              labor and one involving both sex and labor trafficking—during the
          for the elimination of trafficking but is making signiﬁcant efforts to           reporting period, compared with zero investigations since 2014. The
          do so. The government made key achievements during the reporting                 government initiated one trafficking prosecution—the country’s ﬁrst—
          period, considering the impact of the COVID-19 pandemic, if any, on              involving a French-Comorian man accused of exploiting a Malagasy girl in
          its anti-trafficking capacity; therefore Comoros was upgraded to Tier            forced labor in Comoros. The government has never reported convicting a
          2 Watch List. These achievements included investigating trafficking              trafficker. The government did not report any investigations, prosecutions,
          crimes (for the ﬁrst time since 2014) and initiating the country’s ﬁrst          or convictions of government employees allegedly complicit in human
          trafficking prosecution. The government identiﬁed trafficking victims for        trafficking offenses. The police lacked basic resources, including vehicles,
          the ﬁrst time since 2013 and referred all victims to protective services.        fuel, and equipment, which limited their ability to investigate trafficking
          The government, in partnership with an international organization,               cases. While discouraged by the government, families or village elders
          developed and implemented standard operating procedures (SOPs)                   continued to settle many allegations of sexual violence, possibly including
          for victim identiﬁcation and provided training on the procedures to              sex trafficking and child domestic servitude, informally through traditional
          officials on all three islands (Grande Comore, Anjouan, and Mohéli). The         means without recourse to the formal court system. For the second
          government also conducted anti-trafficking awareness campaigns for the           consecutive year, the government increased law enforcement training
                                                                                           efforts. The government, both independently and in partnership with
          ﬁrst time in three years. Despite these achievements, the government
                                                                                           international organizations, trained police, gendarmerie, immigration
          has never reported convicting a trafficker; remained without a national
                                                                                           authorities, and other officials on anti-trafficking enforcement, policies,
          referral mechanism (NRM) to refer victims to appropriate care; did not
                                                                                           and laws. Comorian authorities collaborated with Ivorian authorities
          ﬁnalize a multi-year national action plan (NAP) to combat trafficking;
                                                                                           to investigate a forced labor case. The government also pursued
          and did not allocate speciﬁc funding for anti-trafficking efforts, including
                                                                                           collaboration with French authorities to investigate a forced labor
          activities conducted by the Anti-Trafficking Task Force.
                                                                                           case on Mayotte; however, due to local inaction on the case, Comorian
                                                                                           authorities attempted to have the suspect extradited to Comoros.
                  COMOROS TIER RANKING BY YEAR
              1                                                                            PROTECTION
              2                                                                            The government increased victim protection efforts. The government,
            2WL
                                                                                           in partnership with an international organization, identiﬁed eight
                                                                                           trafficking victims—the ﬁrst victims identiﬁed since 2013—and referred
              3                                                                            all victims and their dependents to care. Of the eight victims identiﬁed,
                     2015     2016     2017      2018   2019   2020     2021     2022
                                                                                           traffickers exploited six in forced labor and two in both forced labor and
                                                                                           sex trafficking; three were exploited in Comoros, and ﬁve were exploited
                                                                                           abroad in Cote d’Ivoire, Oman, Tanzania, and on Mayotte; two were
          PRIORITIZED RECOMMENDATIONS:                                                     male, and six were female; six were adults, and two were children; and
          Vigorously investigate and prosecute alleged traffickers, including              four victims were Comorian nationals, while the other four were foreign
          any complicit officials, and sentence convicted traffickers to penalties         nationals from Burundi and Madagascar. The government, in partnership
          as prescribed in the penal code. • Systematically and proactively                with an international organization, developed the country’s ﬁrst SOPs
          identify trafficking victims by screening for trafficking indicators among       for victim identiﬁcation, which included a manual and questionnaire.
          vulnerable populations, including children in domestic work, children            The government disseminated the SOPs and provided training to law
          attending Quranic schools, and Comorians repatriated from the French             enforcement authorities and listening centers (Service d’ecoute) on
          Department of Mayotte, and refer all victims to appropriate services.            all three islands in late 2021. Using the newly established SOPs, the
          • Finalize and implement a formal NRM to refer victims to appropriate            government increased efforts to screen vulnerable populations, including
          care. • Amend trafficking provisions in the penal code to prescribe              foreign migrants and victims of abuse, for trafficking indicators; in
          penalties for adult sex trafficking that are commensurate with penalties         previous years, the government regularly deported potential victims
          prescribed for other grave crimes, such as rape. • Allocate dedicated            without screening for trafficking indicators. The government remained
          funding for the Anti-Trafficking Task Force to fully implement its activities.   without an NRM to refer victims to protection services; however, officials,
          • Increase anti-trafficking training to all front-line officials, including      in partnership with an international organization, began drafting an
          law enforcement, social workers, health service providers, prosecutors,          NRM to complement the new victim identiﬁcation SOPs.
          judges, and civil society. • Finalize, implement, and fund a multi-year          The government partnered with international organizations and local
          NAP to combat trafficking.• Increase collaboration with French officials         NGOs to offer assistance to all eight identiﬁed victims, including
          to address the trafficking of Comorians on Mayotte. • Implement and              temporary housing, medical care, counseling, job training, and voluntary
          consistently enforce strong regulations and oversight of labor recruitment       repatriation for foreign victims; however, the services on Anjouan and
          companies, including eliminating recruitment fees charged to migrant             Mohéli were limited compared with services available on Grand Comore.
          workers and holding fraudulent labor recruiters criminally accountable. •        The government continued to provide ﬁnancial support, including
          Expand anti-trafficking public awareness campaigns to all three islands,         salaries for employees and office space, to the listening centers. For
          speciﬁcally targeting vulnerable populations on Anjouan and Mohéli. •            the ﬁrst time, the government provided anti-trafficking training to
          Develop national-level data collection on trafficking crimes, including          listening center staff. The listening centers, with assistance from civil
          anti-trafficking law enforcement efforts and trafficking victims identiﬁed.      society, provided temporary housing to one trafficking victim and
                                                                                           continued to offer medical care, psycho-social counseling, and legal
          PROSECUTION                                                                      assistance mostly to women and children who were victims of abuse
          The government increased anti-trafficking law enforcement efforts.
                                                                                           and violence, including potential trafficking victims. The government
          February 2021 amendments to the criminal code criminalized sex
                                                                                           continued operating listening centers in four locations—two on Grande
          trafficking and labor trafficking. Article 266-11 of the new criminal
                                                                                           Comore, one on Anjouan, and one on Mohéli. In 2021, the listening
          code prescribed penalties of seven to 10 years’ imprisonment and a
                                                                                           centers reported providing assistance to at least 186 women and
          ﬁne of 30 million Comorian francs ($69,000) for crimes involving an
                                                                                           children on Grande Comore, compared with at least 256 in 2020. The
          adult victim, and 10 to 20 years’ imprisonment and a ﬁne of 30 million
                                                                                           listening centers recorded these persons as victims of abuse; however,
          Comorian francs ($69,000) for those involving a child victim. These
 180                                                                                                                                    Haiti AR_000661
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 286 of 729




                                                                                                                                                              CONGO, DEMOCRATIC REPUBLIC OF THE
some of these victims may have been trafficking victims. There were no         Comore for access to schooling and other socio-economic beneﬁts; these
trafficking-speciﬁc shelters available to victims in the country. Due to       children are vulnerable to physical and sexual abuse and forced labor
the recent development of victim identiﬁcation SOPs in late 2021, some         in domestic servitude. Most Comorian children ages 3 to 7 (and some
victims may have remained unidentiﬁed within the law enforcement               as old as 14) study at informal neighborhood Quranic schools headed
system during the reporting period. Comorian law allowed victims of            by private instructors, where they may be vulnerable to exploitation
crime, including trafficking, to receive restitution from the government       through coercion and forced labor as ﬁeld hands or domestic servants as
or from traffickers through civil suits; however, there were no reports        payment for instruction. These children may also be subject to physical
that trafficking victims received restitution. Despite requirements of         and sexual abuse. The estimated 3,000-4,000 unaccompanied Comorian
the 2015 child labor law, the government did not establish a support           children on Mayotte are especially vulnerable to domestic servitude and
fund for children vulnerable to trafficking.                                   sex trafficking. Comorians may be at high risk for transnational trafficking
                                                                               due to a lack of adequate border controls, corruption of government
PREVENTION                                                                     officials, and the existence of international criminal networks involved
The government maintained efforts to prevent trafficking. The Secretary        in migrant smuggling. Traffickers exploit Malagasy girls in domestic
General continued to oversee the interagency Anti-Trafficking Task             servitude in Comoros; these individuals often also experience sexual
Force, composed of representatives of relevant government agencies,            abuse and may be vulnerable to sex trafficking. Economic migrants
the listening centers, and international organizations, to lead the            and asylum-seekers attempting to reach Mayotte from other African
government’s anti-trafficking efforts. The task force met regularly in         countries, primarily Madagascar, Burundi, and the Democratic Republic
2021 to plan awareness campaigns, coordinate on trafficking cases, and         of the Congo, are increasingly transiting Comoros; traffickers may
develop plans to establish an anti-trafficking department within the           exploit these irregular migrants in forced labor or sex trafficking in
government. The federal budget did not include a dedicated allocation          various transit points.
for anti-trafficking programs led by the task force; however, the task force
received funds on an ad hoc basis from the Ministry of Foreign Affairs
and international organizations to conduct anti-trafficking activities.
The government did not have a long-term, multi-year anti-trafficking            CONGO, DEMOCRATIC
NAP; however, the task force continued to implement the 2020 NAP,
which delegated speciﬁc, short-term actions to relevant government              REPUBLIC OF THE: TIER 2
agencies. The task force reported drafting an updated multi-year NAP
but did not complete a ﬁnal version by the end of the reporting period.         WATCH LIST
For the ﬁrst time in three years, the government, in partnership with
international organizations, conducted awareness campaigns targeting           The Government of the Democratic Republic of the Congo (DRC) does
local authorities, religious leaders, and the general public on Grand          not fully meet the minimum standards for the elimination of trafficking
Comore; however, the government did not report conducting awareness            but is making signiﬁcant efforts to do so. These efforts included ﬁnalizing
campaigns targeting vulnerable populations on Anjouan or Mohéli. The           standard operating procedures (SOPs) for victim identiﬁcation and
government continued to fund two toll-free emergency lines for all             referral to services and partnering with NGOs to identify more trafficking
three islands, which were used to report crimes to the listening centers;      victims. The government investigated, prosecuted, and convicted
however, the government did not track call data related to potential           traffickers, including complicit officials. The government’s Agency for
victims of human trafficking.                                                  the Prevention and the Fight Against Trafficking in Persons (APLTP)-
The Ministry of Labor employed four labor inspectors who were                  led inter-ministerial committee and technical working group continued
responsible for implementing the 2015 child labor law prohibiting              coordinating the government’s anti-trafficking response. However, the
child trafficking; however, they did not receive training on the relevant      government did not demonstrate overall increasing efforts compared
trafficking laws and did not receive operational resources to conduct          with the previous reporting period, even considering the impact of the
labor inspections of informal work sites, where children were especially       COVID-19 pandemic on its anti-trafficking capacity. Congolese National
vulnerable to forced labor. The government did not have effective policies     Army (FARDC) officers continued coordinating with an armed group,
or laws to govern labor recruiters and did not report holding anyone           despite allegations that it has previously forcibly recruited and used
civilly or criminally liable for fraudulent recruitment. In 2016, the labor    children. Authorities penalized victims for unlawful acts traffickers
ministry signed an agreement with several labor recruitment agencies to        compelled them to commit, and corruption and official complicity
facilitate review of the transnational recruitment processes and monitor       in trafficking crimes remained signiﬁcant concerns. The government
job advertisements in an effort to identify recruitment activities that        did not adopt comprehensive anti-trafficking legislation for the third
might endanger Comorians seeking overseas employment; however,                 consecutive year. Because the government has devoted sufficient
the government has made minimal efforts to regulate labor recruitment          resources to a written plan that, if implemented, would constitute
agencies since then. In February 2022, the government established an           signiﬁcant efforts to meet the minimum standards, the DRC was granted
informal task force to oversee working conditions of Comorians living          a waiver per the Trafficking Victims Protection Act from an otherwise
and working abroad. The government did not provide anti-trafficking            required downgrade to Tier 3. Therefore the DRC remained on Tier 2
training to its diplomatic personnel, nor did it make efforts to reduce        Watch List for the third consecutive year.
demand for commercial sex acts.
                                                                                        CONGO (DRC) TIER RANKING BY YEAR
TRAFFICKING PROFILE                                                                 1
As reported over the past ﬁve years, human traffickers exploit domestic
and foreign victims in Comoros, and traffickers exploit victims from                2
Comoros abroad. Traffickers exploit women and children from rural                 2WL
areas in urban cities, such as Moroni, in forced labor; these individuals           3
may also be vulnerable to sex trafficking. Traffickers exploit Comorian                    2015     2016      2017     2018   2019    2020   2021   2022
adults in forced labor in agriculture, construction, and domestic work
on Mayotte, a French department, and continental Africa. Traffickers
exploit Comorians in domestic servitude in the Middle East. Traffickers        PRIORITIZED RECOMMENDATIONS:
and employers on Anjouan may subject children, some of whom were               Expand efforts to enforce the law and to sensitize all FARDC officers
abandoned by parents who left to seek economic opportunities in                on the need to cease the unlawful recruitment and use of children and
other countries, to forced labor in domestic service, roadside and             hold accountable officials who recruit or use children. • Increase efforts
market vending, baking, ﬁshing, and agriculture. Poor rural families,          to investigate and prosecute suspected traffickers and—if convicted in
often on Anjouan and Mohéli, frequently send their children to live            a transparent trial—adequately sentence traffickers in accordance with
with wealthier relatives or acquaintances in urban areas or on Grande          the law, including complicit officials. • Finalize pending legislation that
                                                                                                                                     Haiti AR_000662             181
                                        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 287 of 729
CONGO, DEMOCRATIC REPUBLIC OF THE   criminalizes all forms of trafficking and prescribes penalties that are        prosecutions of two FARDC soldiers accused of kidnapping children
                                    sufficiently stringent, and with respect to sex trafficking, commensurate      for the purpose of sexual enslavement and arrested an officer for his
                                    with penalties prescribed for other serious crimes. • Implement and            alleged role in a child trafficking ring; both cases remained pending at
                                    train front-line officials on the SOPs to proactively identify trafficking     the end of the reporting period.
                                    victims, including among vulnerable populations, such as individuals in
                                                                                                                   Although the government investigated, prosecuted, and convicted
                                    commercial sex, street begging, and artisanal mining, and refer victims
                                                                                                                   government officials complicit in human trafficking crimes, corruption
                                    to appropriate care in coordination with civil society and international
                                                                                                                   and complicity in trafficking crimes remained signiﬁcant concerns,
                                    organizations. • Allocate sufficient ﬁnancial and human resources,
                                                                                                                   inhibiting law enforcement action during the year. Observers reported
                                    including dedicated personnel, for the APLTP to execute its mandate
                                                                                                                   widespread government complicity, including allegations government
                                    fully. • Improve efforts to collect and share comprehensive data on sex
                                                                                                                   officials directly engaged in trafficking, helped facilitate the crime, and
                                    trafficking—as distinct from other sexual violence crimes—and forced
                                                                                                                   obstructed justice. Although not explicitly reported as human trafficking,
                                    labor. • Increase public awareness of human trafficking and enhance
                                                                                                                   the UN reported there was one new allegation, submitted in 2021, of
                                    the public’s ability to identify and report trafficking crimes, including by
                                                                                                                   alleged sexual exploitation with trafficking indicators by Congolese
                                    using radio in French and local languages and increasing engagement
                                                                                                                   peacekeepers deployed to the UN peacekeeping mission in the Central
                                    with civil society.
                                                                                                                   African Republic (CAR). There were also pending allegations of sexual
                                                                                                                   exploitation against Congolese peacekeepers deployed to CAR reported
                                    PROSECUTION                                                                    in previous years, including four reported in 2019, one in 2017, and one in
                                    The government maintained mixed law enforcement efforts. Congolese
                                                                                                                   2016. The government had not yet reported the accountability measures
                                    law criminalized all forms of sex trafficking and some forms of labor
                                                                                                                   taken, if any, for the open cases at the end of the reporting period.
                                    trafficking. However, the lack of a comprehensive anti-trafficking legal
                                    framework continued to exacerbate officials’ limited understanding of          The FARDC unlawfully recruited at least six children formerly associated
                                    trafficking and their conﬂation of the offense with other crimes, such as      with an armed group and used them as informants and combatants
                                    illegal international adoption. Article 174(j) of the 2006 Sexual Violence     during the reporting period. The FARDC continued to collaborate and
                                    Law criminalized child sex trafficking and prescribed penalties of 10          provide material support to NDC-Renove (NDC-R), despite allegations
                                    to 20 years’ imprisonment. Section 174(e) criminalized sexual slavery          that it had previously forcibly recruited and used child soldiers.
                                    and prescribed penalties ranging from ﬁve to 20 years’ imprisonment            During the reporting period, an international organization issued a
                                    and a ﬁne of 200,000 Congolese francs ($100). These penalties were             report ﬁnding more than 80 of its staff members, including national and
                                    sufficiently stringent and commensurate with those prescribed for              international workers, allegedly sexually abused and exploited victims,
                                    other serious crimes. Article 174(c), which criminalized the “forced           which at times included sex trafficking—soliciting sex in exchange for
                                    prostitution” of adults, prescribed penalties of three months to ﬁve           jobs or promotions, while working as part of an international mission
                                    years’ imprisonment; these penalties were sufficiently stringent but not       responding to the Ebola outbreak between 2018 to 2020. The government
                                    commensurate with those prescribed for other serious crimes, such as           did not report initiating any investigations or prosecutions of the alleged
                                    rape. Articles 182 and 183 of the 2009 Child Protection Law 09/001 also        perpetrators by the end of the reporting period. For the third consecutive
                                    criminalized the “procurement” of children and child sexual slavery and        year, the government did not report investigating 142 cases involving
                                    prescribed penalties of ﬁve to 20 years’ imprisonment and 10 to 20 years’      sexual slavery NGOs reported to provincial courts in Ituri province in 2019.
                                    imprisonment with a ﬁne between 8,000 and 1 million Congolese francs
                                    ($4-$503), respectively; these penalties were sufficiently stringent and       Limited information management and data collection capabilities, poor
                                    commensurate, with respect to sex trafficking, with other serious crimes,      understanding of the crime, weak judicial systems, and broad government
                                    such as rape. Article 187 criminalized child labor, including forced child     corruption hindered law enforcement efforts. The government, in
                                    labor, and prescribed penalties of one to three years’ imprisonment and        collaboration with international organizations and foreign donors, trained
                                    a ﬁne between 100,000 and 200,000 Congolese francs ($50 to $100);              law enforcement, social workers, labor inspectors, and security agents on
                                    these penalties were not sufficiently stringent with respect to forced         human trafficking legal frameworks, identifying and protecting victims,
                                    child labor. Article 326 of the 2002 Labor Code criminalized adult forced      data collection, and investigative techniques. The Congolese National
                                    labor and prescribed penalties of up to six months’ imprisonment or a          Police (PNC) incorporated human trafficking training in its community
                                    ﬁne of 30,000 Congolese francs ($15); this penalty was not sufficiently        policing program curriculum. Observers reported limited understanding
                                    stringent. Congolese law also criminalized the enlistment of persons           of trafficking among local officials impeded law enforcement efforts
                                    younger than 18 years old into the armed forces and the police, which          and likely led to underreporting of trafficking crimes. During the
                                    carried penalties of 10 to 20 years’ imprisonment. The comprehensive           previous reporting period, APLTP launched a judicial training program
                                    trafficking legislation—drafted by the APLTP and the Ministry of Human         on prosecuting trafficking cases in coordination with an international
                                    Rights in partnership with an international organization—remained              organization. The APLTP and the Ministry of Interior collaborated with
                                    pending for the third consecutive year.                                        an international organization to begin implementing an anti-trafficking
                                                                                                                   law enforcement data collection system. The government did not report
                                    Courts and police units operated at a reduced capacity due to the              cooperating with foreign counterparts on law enforcement activities
                                    pandemic. The government reported investigating at least ﬁve trafficking       but regularly cooperated with INTERPOL on trafficking investigations.
                                    cases, initiating prosecution of at least one alleged trafficker, and          The government had a bilateral agreement with the Republic of the
                                    convicting four traffickers and one complicit official in 2021. This           Congo but did not report conducting activities as part of the agreement.
                                    compared with investigating six cases, initiating prosecutions of 13 alleged
                                    traffickers, and convicting four traffickers during the previous year; the     PROTECTION
                                    government did not report how many prosecutions it continued from              The government maintained protection efforts. The government
                                    2020. Courts sentenced one police officer to ﬁve years’ imprisonment           reportedly identiﬁed 256 victims, including 155 forced labor victims,
                                    for child sex trafficking. In November 2021, the court convicted two           86 sex trafficking victims, and 15 victims where the form of trafficking
                                    sex traffickers from the People’s Republic of China (PRC), sentencing          was unknown, and referred them to care in coordination with NGOs.
                                    one to three months and the other to 10 years’ imprisonment. As part           This compared with 207 victims identiﬁed and referred to care during
                                    of this case, the government investigated, prosecuted, and convicted           the previous reporting period. The government, in collaboration with
                                    one complicit government employee who forged legal documents                   international organizations, ﬁnalized SOPs to systematically identify and
                                    allowing the trafficking victims to remain in the DRC, and the court           refer trafficking victims to appropriate care and began disseminating the
                                    sentenced him to 10 years’ imprisonment; however, the government               procedures to relevant stakeholders to initiate their implementation. The
                                    also ﬁned eight of the victims 1.99 million Congolese francs ($1,000)          PNC’s Child Protection and Sexual Violence Directorate also had a formal
                                    each for illegal stay in the country. In September 2021, a military court      mechanism in place with local NGOs to screen for possible trafficking
                                    convicted and sentenced an ex-rebel leader to life imprisonment for            victims among vulnerable groups, and the PNC, in collaboration with
                                    crimes against humanity, including child soldiering, and ordered him to        civil society, followed screening procedures to identify child labor and
                                    pay 596.34 million Congolese francs ($300,000) to 87 trafficking victims       trafficking victims at mining sites.
                                    in restitution. In the previous reporting period, the military initiated
      182                                                                                                                                                       Haiti AR_000663
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 288 of 729




                                                                                                                                                                CONGO, DEMOCRATIC REPUBLIC OF THE
The Ministry of Social Affairs was the primary government agency                plan, these were not sufficient for its full implementation. The APLTP
responsible for coordinating provision of victim services, including            continued its national awareness-raising campaign consisting of three
medical care, psycho-social support, legal aid, and socioeconomic               tracks focused on educating the general population about the dangers
reintegration services. The government did not report the total number          of human trafficking; establishing a national hotline; and training
of victims it provided these services. The government did not provide           government authorities on identiﬁcation and referral procedures, as well
specialized services to trafficking victims as distinct from other vulnerable   as identifying strategies for prosecuting trafficking cases under existing
groups, and there were no government-run shelters for trafficking victims.      legal frameworks. It conducted public campaigns and held trainings for
As such, officials usually referred victims to NGO-run shelters. NGOs also      journalists, community leaders, social workers, and labor inspectors to
provided victim services, including vocational and educational training,        raise awareness of human trafficking. The Ministry of Interior produced
medical and psycho-social care, and legal support. Due to pandemic-             an annual report on the country’s anti-trafficking efforts. An APLTP
related mitigation measures, NGOs, at times, limited their services and         delegation traveled to Niger to meet with the National Agency for the
could not always provide shelter for victims. The government reported it        Fight against Trafficking in Persons and the Illicit Transport of Migrants
provided ﬁnancial assistance for one victim but did not report providing        and share best practices in combating trafficking.
other ﬁnancial or in-kind assistance to NGOs caring for victims during
                                                                                The government continued efforts to prevent FARDC recruitment
the reporting period. The government provided repatriation support
                                                                                and use of children. The FARDC, in collaboration with an international
to foreign national victims, including to at least 12 potential trafficking
                                                                                organization, screened new recruits to verify their ages; authorities
victims during the reporting period. Foreign and Congolese victims
                                                                                identiﬁed and prevented 62 children from entering basic training. The
were eligible for the same services. The government did not report
                                                                                FARDC separated and reintegrated the children with their families and
providing legal alternatives to the removal of foreign victims to countries
                                                                                issued administrative punishments to the recruiters. In collaboration
where they may face hardship or retribution. As part of its national
                                                                                with an international organization, the government’s Joint Technical
disarmament, demobilization, and reintegration plan, the government
                                                                                Working Group (JTWG)—comprised of government ministries, NGOs,
continued partnering with an international organization and NGOs to
                                                                                and international organizations—continued implementing its national
identify and remove child soldiers from armed groups operating in
                                                                                action plan to end child recruitment and met monthly. The government
eastern DRC. Officials referred children separated from armed groups
                                                                                continued collaborating with an international organization to train
to international organizations for services, including psycho-social,
                                                                                security and law enforcement officials on age veriﬁcation and care
medical, and reintegration support. However, rising insecurity hindered
                                                                                procedures. In the previous reporting period, the Ministry of Defense—in
officials’ access to these areas and subsequently limited screening and
                                                                                close coordination with an international organization—engaged directly
demobilization efforts.
                                                                                with armed group commanders to end and prevent the recruitment
Officials afforded protections to victims testifying in legal proceedings on    and use of child soldiers.
an ad hoc basis. Courts were authorized to provide measures concealing
                                                                                The government did not effectively regulate foreign labor recruiters
witnesses’ identities, such as using physical screens, testifying in adjacent
                                                                                and did not report taking measures to hold fraudulent labor recruiters
rooms, or submitting written testimony in lieu of appearing in person.
                                                                                accountable. The government did not report continuing investigations of
However, these protections were only available if speciﬁcally requested
                                                                                Indian and Pakistani labor recruiters initiated in 2020. The government
by a victim’s lawyer, and infrastructure challenges and severe resource
                                                                                continued to uphold standards for labor recruitment and placement
constraints limited their availability and effectiveness. NGOs reported
                                                                                agencies, which required agencies to have a National Business
defendants’ family members frequently intimidated witnesses and
                                                                                Identiﬁcation Certiﬁcate, a business license, and a tax ID number and
victims. Victims often lacked transportation, lodging, psychological,
                                                                                to be officially recognized by the Ministry of Labor. However, Congolese
or medical support during legal proceedings. Victims could ﬁle civil
                                                                                law does not criminalize fraudulent labor recruitment, thereby limiting
suits against traffickers, but none reportedly did so, and victims rarely
                                                                                the government’s ability to penalize agencies for such actions and deter
received compensation. The law allowed victims to obtain restitution,
                                                                                future violations.
but in practice, defendants rarely paid it. In September 2021, a military
court ordered the leader of an armed group to pay 596.34 million                The Minister of Human Rights continued implementing an August
Congolese francs ($300,000) in restitution to 87 trafficking victims,           2020 decree to increase oversight of mining communities, including
but the government did not report whether the restitution was paid.             a zero-tolerance policy for forced child labor in the mining sector. As
                                                                                part of this effort, the government, in cooperation with an international
Authorities penalized victims for unlawful acts traffickers compelled
                                                                                organization, continued certifying artisanal mining sites in eastern DRC
them to commit. Due to a lack of training on victim identiﬁcation and
                                                                                as conﬂict-free and child labor-free. Ministry of Mines officials visited and
screening procedures and the frequency of arbitrary arrest in the
                                                                                screened 700 mines for labor violations, including trafficking; this was
country, authorities detained unidentiﬁed victims. During the reporting
                                                                                a signiﬁcant increase from 125 mines during the previous year, in part
period, authorities ﬁned eight PRC national trafficking victims 1.99
                                                                                due to the Ministry’s hiring and training of 63 new mine site inspectors.
million Congolese francs ($1,000) each for illegal stay in the country.
                                                                                The Minister of Mines, after a review process conducted by government
Authorities, at times, remanded sex trafficking victims in custody during
                                                                                officials and civil society stakeholders to ensure the mine was not
investigations. In 2021, authorities detained 160 children as young as 3
                                                                                subject to labor violations, validated 238 mining sites in 2021. As part
years old, including potential trafficking victims, for alleged association
                                                                                of the certiﬁcation process, the APLTP and PNC, in collaboration with
with armed groups, compared with 85 children in 2020; ﬁve children
                                                                                civil society, screened for child labor and child trafficking victims, and
remained in detention at the end of the year. Authorities held children
                                                                                when victims were identiﬁed, referred them to care. The government
in local detention cells—which suffered from overcrowding, lack of food
                                                                                did not report how many trafficking victims, if any, it identiﬁed and
and health services, and poor sanitation—for periods ranging from two
                                                                                referred to care as a result of the inspections, but it did report closing
days to four months before releasing them to child protection actors.
                                                                                an unknown number of mines to deter unlawful practices related to
Local authorities usually, but not uniformly, granted international child
                                                                                trafficking. Observers reported limited administrative capacity and
protection actors access to the detained children.
                                                                                funding hindered provincial departments’ ability to monitor mining sites;
                                                                                informants, including government officials, allegedly warned companies
PREVENTION                                                                      about upcoming inspections, allowing miners to hide child laborers.
The government increased efforts to prevent trafficking. The APLTP
coordinated the government’s anti-trafficking efforts and led the               The government operated a hotline for reporting sexual and gender-
interagency trafficking in persons committee, as well as a technical            based violence, and as a result of calls to the hotline, identiﬁed and
working commission, and both bodies met regularly. The government               referred an unknown number of trafficking victims to care. In January
increased the APLTP’s 2022 budget by 66 percent, allowing it to hold            2022, the government began providing anti-trafficking training to
regular technical committee meetings and cover its operating expenses.          diplomats prior to their departure. The government did not provide
                                                                                anti-trafficking training for FARDC troops prior to their deployment
The government continued implementing its 2020-2024 anti-trafficking
                                                                                abroad as part of international peacekeeping missions; although not
national action plan; while it allocated resources to implement the
                                                                                explicitly reported as human trafficking, there were seven open cases
                                                                                                                                  Haiti AR_000664               183
                             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 289 of 729
CONGO, REPUBLIC OF THE   of alleged sexual exploitation with trafficking indicators by Congolese        recruitment by armed groups. Observers noted children in mining areas
                         peacekeepers deployed to the UN peacekeeping mission in CAR. The               are vulnerable to sexual violence, including sex trafficking, in part due
                         government did not make efforts to reduce the demand for commercial            to traditional and religious beliefs correlating harming children and sex
                         sex acts.                                                                      with protection against death or successful mining. Congolese workers
                                                                                                        in PRC national-owned cobalt mines may be exploited in forced labor;
                         TRAFFICKING PROFILE                                                            observers reported workers faced wage violations, physical abuse,
                         As reported over the past ﬁve years, human traffickers exploit domestic        employment without contracts, and restricted movement—all potential
                         and foreign victims in the DRC, and traffickers exploit victims from           indicators of forced labor. Children are vulnerable to forced labor in
                         the DRC abroad. Most trafficking is internal and involves forced labor         small-scale agriculture, domestic work, street begging, vending, and
                         in artisanal mining sites, agriculture, domestic servitude, or armed           portering. Children from the Republic of the Congo may transit through
                         group recruitment of children in combat and support roles, as well as          the DRC en route to Angola or South Africa, where traffickers may
                         sex trafficking. As in years past, traffickers took advantage of families      exploit them in domestic servitude. Undocumented Congolese migrants,
                         eager to lessen economic costs and seek opportunities for their children.      including children, enter Angola for work in diamond-mining districts,
                         Some traffickers were individuals or family members who promised               where traffickers exploit some in forced labor or sex trafficking in mining
                         victims or victims’ families educational or employment opportunities           camps. Congolese migrants expelled from Angola are also vulnerable to
                         but instead exploited victims in forced labor as domestic workers, street      trafficking. Some criminal elements coerce Congolese women and girls
                         vendors, and gang members or exploited them in sex trafficking. The            into forced marriages, where they are highly vulnerable to domestic
                         capital region serves as a source for sex trafficking victims, with criminal   servitude or sex trafficking.
                         networks and community members facilitating the movement of women
                                                                                                        Congolese women and children migrate to other countries in Africa, the
                         and girls. In urban centers such as Kinshasa, Lubumbashi, and Goma,
                                                                                                        Middle East, and Europe, where traffickers exploit them in sex trafficking
                         some foreign workers in the beauty industry reported employers failed
                                                                                                        or forced labor in agriculture, diamond mines, or domestic service. Illicit
                         to honor contracts, controlled their passports, and forced workers to
                                                                                                        labor recruiters may fraudulently recruit women and force or coerce
                         pay exorbitant ﬁnes to leave the country before their contracts expired.
                                                                                                        them into domestic work abroad through false promises of education
                         Decades-long instability in eastern DRC—notably North Kivu, Ituri, South       or employment opportunities. During the previous reporting period,
                         Kivu, and Tanganyika provinces—continued, resulting in armed groups            individuals associated with a construction company in Kinshasa may
                         and criminal networks engaging in unlawful child soldier recruitment           have exploited Indian and Pakistani workers in forced labor in the DRC;
                         and use, forced labor in artisanal mining, and sex trafficking and slavery-    authorities reported the suspects conﬁscated the workers’ passports,
                         like practices. In 2020, experts reported there were more than 500,000         controlled their movements, and withheld their salaries. International
                         refugees and ﬁve million IDPs—the largest IDP population in Africa; these      health workers and UN peacekeepers allegedly sexually exploited
                         individuals are vulnerable to trafficking due to their lack of economic        victims while deployed in the DRC. Although not explicitly reported
                         stability and access to justice. Children in the Kasai region are vulnerable   as human trafficking, the UN reported there were 13 new allegations
                         to forced begging schemes facilitated by criminals in Kasai and Kinshasa;      submitted in 2021 of sexual exploitation with trafficking indicators by
                         victims reported traffickers drugged them and forced them to beg. The          UN peacekeepers from Benin, Burkina Faso, Malawi, Peru, Tanzania,
                         APLTP and NGOs reported years of cyclical displacement stemming                and Uruguay deployed to the DRC.
                         from escalating insecurity in Ituri Province (bordering South Sudan
                         and Uganda) has increased the vulnerability of thousands of children
                         experiencing homelessness without support networks who criminal
                         elements—including armed groups and community members—coerce                    CONGO, REPUBLIC OF THE:
                         into sex trafficking or forced labor. Community and family members,
                         as well as loosely organized illicit networks, force children across the        TIER 2
                         border into the Republic of the Congo where criminal actors coerce the
                         children to commit theft.                                                      The Government of the Republic of the Congo does not fully meet the
                         Armed groups (most egregiously Mai Mai Mazembe, Mai Mai Nyatura,               minimum standards for the elimination of trafficking but is making
                         and Mai Mai Apa na Pale; NDC-R, Alliance des Forces de Resistance              signiﬁcant efforts to do so. The government demonstrated overall
                         Congolaise [AFRC]; Kamuina Nsapa; Raia Mutomboki; Democratic Forces            increasing efforts compared with the previous reporting period,
                         for the Liberation of Rwanda [FDLR]; ISIS-DRC, known locally as Allied         considering the impact of the COVID-19 pandemic, on its anti-trafficking
                         Democratic Forces [ADF]; and Cooperative for Development of the                capacity; therefore the Republic of the Congo remained on Tier 2. These
                         Congo [CODECO]) continue to abduct and forcibly recruit Congolese              efforts included ﬁnalizing an updated national action plan (NAP) for the
                         adults and children as combatants and human shields. Additionally,             Ministry of Social Affairs (MSA) for 2022-2023, initiating investigations
                         armed groups forcibly recruit adults and children to serve in support          of trafficking cases, and providing care to the majority of identiﬁed
                         roles, such as guards, porters, cleaners, cooks, messengers, spies, and        victims. The government also identiﬁed potential victims among the
                         tax collectors at mining sites; some armed groups also force women             Indigenous population in Betou. However, the government did not meet
                         and girls into marriage or sexual slavery. Child soldiers, separated           the minimum standards in several key areas. The government did not
                         from armed groups and reintegrated into society, remain vulnerable to          screen proactively for trafficking among vulnerable populations and
                         re-recruitment as rehabilitation services for children suffering severe        did not report identifying any victims during the reporting period. The
                         psychological trauma remain inadequate and stigmatization may                  government did not take any proactive measures to address official
                         interfere with community reintegration. Some FARDC officers continue           complicity. The lack of a standardized and centralized ﬁling system for
                         to recruit and use children, mainly in espionage or support roles. In          hard copy trafficking case dossiers continued to create a backlog in
                         2021, the FARDC recruited at least six children formerly associated with       court cases and hinder countrywide efforts.
                         an armed group and used them as informants and combatants. The
                         military continued to coordinate with NDC-R; observers report NDC-R
                         continues to recruit and use child soldiers.
                         Traffickers—including mining bosses, other miners, family members,
                         government officials, and armed groups—force or coerce some adults
                         and children to work in artisanal mines in eastern DRC, including through
                         debt-based coercion. Individuals associated with the extractive sector
                         abuse some children in forced labor in the illegal mining of diamonds,
                         copper, gold, cobalt, tungsten ore, tantalum ore, and tin, as well as
                         the smuggling of minerals to Uganda, Burundi, Rwanda, the United
                         Arab Emirates, and Tanzania. An NGO reported children traveling
                         long distances to smuggle minerals are vulnerable to trafficking and
    184                                                                                                                                              Haiti AR_000665
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 290 of 729




                                                                                                                                                               CONGO, REPUBLIC OF THE
                                                                                pandemic-related court closures and restrictions on in-person meetings,
         CONGO (ROC) TIER RANKING BY YEAR                                       which have since been lifted.
     1
                                                                                The government continued to include anti-trafficking training in the
     2                                                                          standard academy training for new police and immigration officers.
  2WL                                                                           The government regularly coordinated with source countries including
     3                                                                          Benin, the Central African Republic (CAR), the DRC, and Cameroon, to
            2015     2016      2017     2018   2019   2020   2021     2022      share law enforcement information. The government did not report
                                                                                extraditing any suspects during the reporting period.

                                                                                PROTECTION
PRIORITIZED RECOMMENDATIONS:                                                    The government maintained inadequate efforts to protect victims. For
Increase efforts to investigate, prosecute, and convict traffickers,            the second consecutive year, officials did not report identifying any
including officials complicit in trafficking, and impose adequate penalties.    victims. A local NGO identiﬁed 11 potential Beninese victims (ﬁve adults
• Train officials, NGOs, and civil society on implementing regulations          and six children) in 2021. A government-funded NGO provided shelter
to identify trafficking victims proactively, including by screening             and psychosocial services to nine victims. The MSA reported identifying
for trafficking indicators, especially among vulnerable populations,            potential trafficking victims among the Indigenous population in Betou,
including child laborers, women and girls exploited in commercial               in the north of the country, and provided basic humanitarian assistance.
sex, unaccompanied children, Indigenous persons, undocumented                   A government-run center in the Moungali neighborhood of Brazzaville
migrants, and Democratic People’s Republic of Korea (DPRK) workers.             could provide victims water, food, clothes, education, security, and
• Improve the provision of protective services to trafficking victims to        psycho-social counseling; however, authorities did not report assisting
provide appropriate care to victims nationwide. • While respecting due          any trafficking victims at this shelter during the reporting period.
process, expedite hearings and consider prosecuting trafficking cases in
the low court, while maintaining stringent sentencing according to the          The government’s implementing regulations for the anti-trafficking law
country’s anti-trafficking law. • Increase anti-trafficking training for all    provided formal written procedures for proactive victim identiﬁcation,
law enforcement, prosecutors, and judges. • Increase law enforcement            although officials did not report using these procedures to identify
and ﬁrst responders’ capacity to collect data on trafficking. • Further         any victims. In Pointe-Noire, the government continued to focus the
expand anti-trafficking efforts to identify victims and prosecute               majority of its efforts on West African children in forced labor, including
traffickers beyond Pointe-Noire and Brazzaville. • Finalize and implement       those in domestic service. Congolese authorities signed a bilateral
the interagency NAP to combat trafficking in persons and dedicate               agreement with the DRC government to fully implement and formalize
resources to support its implementation. • Formally establish the               anti-trafficking efforts in December 2021. In past reporting periods,
inter-ministerial anti-trafficking task force and designate an office to        law enforcement generally assisted in removing victims from NGO-
lead the government’s anti-trafficking efforts. • Bolster anti-trafficking      identiﬁed exploitative situations if the NGO could provide funding
law enforcement cooperation with other governments in the region,               for transportation. Police did not report screening DPRK workers for
especially Benin and the Democratic Republic of the Congo (DRC). •              indicators of sex trafficking. Instead, the government traditionally relied
Conduct awareness campaigns for government officials and the public.            on NGOs and international organizations to assist with the identiﬁcation,
• Accede to the UN Convention Against Transnational Organized Crime             referral, assistance, investigation, and negotiation of compensation for
and the 2000 UN TIP Protocol.                                                   the majority of trafficking victims. The government did not fund these
                                                                                NGOs despite relying heavily on their victim assistance programs and
PROSECUTION                                                                     services. Observers noted that child trafficking victims often did not
The government maintained overall anti-trafficking law enforcement              go to school, lacked basic amenities including food and healthcare, and
efforts. The 2019 Combating Trafficking in Persons Law criminalized sex         were at risk of sexual assault.
trafficking and labor trafficking. The related provisions in Congolese          The Trafficking in Persons Coordinating Committee in Pointe-Noire, which
criminal law prescribed penalties of ﬁve to 10 years’ imprisonment,             was responsible for assigning identiﬁed West African child trafficking
which are sufficiently stringent and, with respect to sex trafficking,          victims to foster homes and conducting family tracing, did not report
commensurate with the penalties prescribed for other grave crimes,              the number of trafficking victims referred to the ﬁve available foster
such as kidnapping.                                                             families or funding the foster homes. The government continued to
Following referral from an NGO, the government reported initiating              fund three public shelters that at-risk victims, including child trafficking
investigations of ﬁve new suspected trafficking cases involving seven           victims, could access. The government provided the same availability
alleged traffickers, compared with zero investigations in the previous          of care to both national and foreign victims and provided temporary
reporting period. The government reported one new prosecution,                  residency status to foreign trafficking victims during judicial proceedings.
compared with six prosecutions in the previous reporting period, and            Authorities provided foreign adult trafficking victims a choice between
one conviction for labor trafficking with a sentence of three years             repatriation to their country of origin or reintegration into the local
in prison, compared with four convictions in the previous reporting             community. Congolese law did not provide legal alternatives to the
period. Due to the pandemic, some traffickers convicted previously              removal of trafficking victims to countries where they would face
were released from prison for medical reasons. The MSA identiﬁed four           retribution or hardship.
cases of alleged forced labor in Betou, in the north of the country, as
part of the ﬁrst child labor trafficking survey conducted in the region,        PREVENTION
which resulted in the arrest of one individual. Illicit recruiters frequently   The government marginally increased efforts to prevent trafficking.
operated from other West African countries, and Congolese officials             Despite pandemic restrictions on in-person meetings, the government’s
did not report taking signiﬁcant actions to hold domestic criminals             federal inter-ministerial committee convened two times during the
accountable for exploiting victims within the country.                          reporting period, compared with four meetings during the previous
                                                                                reporting period. The MSA ﬁnalized a NAP to inform its anti-trafficking
Authorities continued an investigation into a 2020 allegation of judicial       efforts. In October 2021, the government drafted and disseminated
corruption in a trafficking case. The government did not report initiating      for comment a new interagency NAP for 2022-2023; the action plan
any new investigations, prosecutions, or convictions of government              remained pending at the end of the reporting period. While the
employees complicit in trafficking crimes. Low-level corruption and             government drafted and distributed for review an executive order to
limited intragovernmental coordination constrained officials’ ability           legally establish an inter-ministerial task force, it remained without a
to investigate, prosecute, and convict suspected traffickers, inhibiting        national entity to lead the government’s efforts, which continued to
law enforcement action during the year. The court system remained               hinder the effectiveness of the country’s anti-trafficking response.
dysfunctional, and many criminal cases continued to languish due                Officials held public awareness campaigns in northern cities, targeting
to signiﬁcant backlogs in the high court as a result of irregular court         Indigenous populations at a higher risk of trafficking. The Ministry of
sessions, lack of centralized record keeping, limited legal statistics, and
                                                                                                                                  Haiti AR_000666              185
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 291 of 729
COSTA RICA   Social Affairs drafted and distributed for review an executive order          awareness of trafficking. The government investigated far fewer
             that would legally establish a permanent inter-ministerial task force.        trafficking cases than in the previous reporting period and did not
                                                                                           prosecute or convict any labor traffickers for the second consecutive year.
             The government operated an emergency assistance hotline for victims
             of crime; however, officials did not report whether it received any calls
             related to human trafficking during the reporting period. The government              COSTA RICA TIER RANKING BY YEAR
             did not have effective laws or policies regulating labor recruiters.              1
             Additionally, officials coordinated with the Government of Benin to               2
             implement the countries’ 2011 bilateral anti-trafficking agreement. The
             government has signed but not acceded to the Convention Against                 2WL
             Transnational Organized Crime and the 2000 UN TIP Protocol. Although              3
             officials did not report any working-level meetings on new repatriation                  2015      2016     2017        2018   2019   2020   2021    2022
             with the Beninese government, the newly appointed MSA minister met
             twice with Beninese counterparts during the reporting period. The
             government made some efforts to reduce the demand for commercial
             sex acts. The government did not provide anti-trafficking training to         PRIORITIZED RECOMMENDATIONS:
             its diplomats.                                                                Increase victim identiﬁcation and referral, particularly in coordination
                                                                                           and collaboration with local and civil society partners. • Increase
                                                                                           funding for victim services and provide specialized shelter and services
             TRAFFICKING PROFILE
                                                                                           for trafficking victims in partnership with civil society organizations. •
             As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                           Intensify efforts to investigate and prosecute trafficking offenses and
             and foreign victims in the Republic of the Congo, and traffickers exploit
                                                                                           convict and punish traffickers, including child sex tourists. • Reduce
             victims from the Republic of the Congo abroad. Forced labor involving
                                                                                           bureaucratic obstacles to the disbursement of funds allocated to
             adults and children continues to be the primary type of trafficking within
                                                                                           anti-trafficking efforts. • Fund and implement the judicial action plan
             the Congo. Most trafficking victims in the Congo originate from Benin
                                                                                           to improve the investigation and prosecution of trafficking cases. •
             and the DRC and, to a lesser extent, from Gabon and other neighboring
                                                                                           Further reduce the backlog of trafficking cases in the judicial system.•
             countries. Beninese networks with representatives in the Congo target
                                                                                           Conduct thorough and transparent criminal investigations of alleged
             destitute families in their country of origin, promising parents they will
                                                                                           government complicity in trafficking offenses and prosecute, convict,
             provide children an education in the Congo before exploiting them in
                                                                                           and punish complicit officials. • Provide increased anti-trafficking training
             domestic servitude or sex trafficking. Congolese authorities and civil
                                                                                           for police, prosecutors, judges, and municipal officials. • Improve data
             society representatives report fraudulent employment agents located
                                                                                           collection on judicial, law enforcement, and victim protection efforts.
             in Benin, CAR, the DRC, and Gabon recruit victims into exploitative
             conditions in the Congo. Foreign business owners and Congolese
                                                                                           PROSECUTION
             exploit most foreign victims in forced labor in domestic service, market
                                                                                           The government maintained law enforcement efforts. Article 172 of
             vending, and the ﬁshing sector. Some hotel owners and other criminal
                                                                                           the penal code criminalized sex trafficking and labor trafficking and
             actors exploit adults and children, including both girls and boys, in
                                                                                           prescribed penalties of six to 10 years’ imprisonment for offenses
             commercial sex in the Congo, with the most common victims being
                                                                                           involving an adult victim and eight to 16 years’ imprisonment for those
             Congolese from the DRC. Parents in foreign countries, mostly West
                                                                                           involving a child victim. These penalties were sufficiently stringent and,
             African countries, sometimes send their children to the Congo with
                                                                                           with respect to sex trafficking, commensurate with those for other serious
             the expectation that the child will send remittances or receive an
                                                                                           crimes, such as rape. The law deﬁned trafficking broadly to include
             education, but instead criminals exploit the children in sex trafficking
                                                                                           illegal adoption without the purpose of exploitation, inconsistent with
             or forced labor. Experts report COVID-19-related economic hardships
                                                                                           the deﬁnition of trafficking under international law. In addition to Article
             during the reporting period increased the vulnerability of individuals
                                                                                           172, officials used trafficking-related offenses to prosecute trafficking
             working in the informal sector, although border closures beginning in
                                                                                           cases, including aggravated pimping (Article 170) and coerced pimping
             March 2020 may have decreased cross-border trafficking in persons.
                                                                                           (Article 171), both of which prescribed penalties ranging from two to 10
             Internal trafficking primarily involves recruitment from remote rural         years’ imprisonment. Article 189 criminalized forced labor or services
             areas for exploitation in cities. Individuals in the ﬁshing industry and      and prescribed penalties of six to 10 years’ imprisonment.
             market shop owners were the primary exploiters of victims within
                                                                                           Costa Rica had two police forces involved in trafficking investigations—the
             the country. Traffickers—including members of the majority Bantu
                                                                                           Judicial Investigation Police (OIJ) and the Migration Authority’s (DGME’s)
             community—exploit some members of the Indigenous populations for
                                                                                           Professional Migration Police. The Attorney General’s anti-trafficking
             forced labor in the agricultural sector, with Indigenous persons being the
                                                                                           office (FACTRA) supervised both investigative units. FACTRA reported
             majority of internal trafficking victims in the country; reports suggest
                                                                                           investigating 70 cases—including 42 trafficking cases under Article 172,
             that some servitude involving Congolese might be hereditary. DPRK
                                                                                           23 child sex trafficking cases (Article 170), and ﬁve cases of forced labor
             nationals working in the Republic of the Congo may have been forced
                                                                                           or services (Article 189). This compared with 103 cases in 2020—including
             to work by the DPRK government.
                                                                                           68 trafficking cases (Article 172), 28 cases of child sex trafficking (Article
                                                                                           170), and seven cases of forced labor or services (Article 189)—and
                                                                                           69 cases in 2019. The government initiated prosecutions against nine

              COSTA RICA: TIER 2                                                           accused sex traffickers under Article 172, compared with prosecuting
                                                                                           four accused traffickers in 2020 and seven in 2019. Courts convicted one
                                                                                           sex trafficker in 2021, compared with convicting ﬁve traffickers in 2020
             The Government of Costa Rica does not fully meet the minimum                  and 15 in 2019. Judges sentenced the trafficker, convicted under Article
             standards for the elimination of trafficking but is making signiﬁcant         172, to 18 years’ imprisonment. The government reported prosecutors
             efforts to do so. The government demonstrated overall increasing efforts      ﬁled an appeal in a trafficking case where the court convicted the
             compared to the previous reporting period, considering the impact             alleged trafficker of rape under Article 156 but dismissed trafficking
             of the COVID-19 pandemic on its anti-trafficking capacity; therefore          charges. In one case ending in conviction, prosecutors supported the
             Costa Rica remained on Tier 2. These efforts included prosecuting more        victims’ choice not to participate in the trial against the trafficker by
             traffickers, implementing a new national action plan to combat trafficking,   constructing a successful prosecution using evidence gathered via
             and establishing new regional task forces to promote law enforcement          surveillance and mobile device extraction, rather than victim testimony.
             coordination on trafficking cases. However, the government did not            Courts reaffirmed 2018 convictions against a sex trafficker who forced
             meet the minimum standards in several key areas. The government did           a girl into commercial sex and against the man who paid to engage
             not adequately fund its anti-trafficking efforts, reducing the allocation     in commercial sex acts with the victim, increasing their sentences to
             for victim services and not providing funding for campaigns to raise          nine and six years’ imprisonment, respectively. The government did

  186                                                                                                                                        Haiti AR_000667
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 292 of 729




                                                                                                                                                                COSTA RICA
not prosecute or convict any labor traffickers in 2021 or 2020; in 2019,         crimes, reported providing services to 41 trafficking victims, including
the government prosecuted only one labor trafficker, under Article 189.          several victims identiﬁed in previous years, compared with serving 75
                                                                                 victims in 2020 and 48 victims in 2019. The National Women’s Institute
Officials reported pandemic-related mitigation measures continued
                                                                                 (INAMU) provided services to 20 female victims of trafficking in 2021,
to strain law enforcement capacity and limit resources available for
                                                                                 compared with providing care to 47 victims in 2020 and 31 in 2019. The
anti-trafficking efforts. The government tasked law enforcement
                                                                                 national child welfare institution (PANI) provided services and placed the
officials, including trafficking investigators, with enforcing vehicle use
                                                                                 boy victim in an NGO shelter. Some victims may have received services
restrictions, capacity limits, and business closures in effect during the
                                                                                 from more than one provider. Specialized law enforcement units and
reporting period. Law enforcement officials reported pandemic-related
                                                                                 national immigration authorities used written procedures for identifying
restrictions on bars and brothels drove traffickers to increasingly exploit
                                                                                 victims among vulnerable groups, such as migrants and individuals in
sex trafficking victims in private residences, complicating investigations
                                                                                 commercial sex, and referred identiﬁed victims to CONATT to coordinate
and surveillance. Additionally, generalized funding shortages restricted
                                                                                 service provision. Public officials used the “Institutional Protocol for
law enforcement activity, including regular monitoring and anti-trafficking
                                                                                 the Care of Minors and Survivors of Trafficking in Persons” and the
patrols. The government reported it began investigating one public
                                                                                 “Interagency Manual of Attention of Minors in Sexual Trafficking, Child
official in relation to a trafficking case but did not provide further details
                                                                                 Labor, and Dangerous Work,” which established the steps officials must
into the investigation. Officials continued to support two ongoing
                                                                                 take when identifying a possible case of trafficking. The Ministry of Public
prosecutions involving potentially complicit officials; courts denied
                                                                                 Security updated its “Protocol for Detection and Referral of Possible
the government’s appeal in another case involving a public official
                                                                                 Trafficking Cases” in September, with support from an international
accused of complicity in trafficking but convicted in 2019 of a lesser
                                                                                 organization, and distributed pocket references of the new protocol to
crime. The government did not provide updates on a third ongoing
                                                                                 law enforcement officials. The government reported it identiﬁed victims
case, ﬁrst investigated in 2011, involving a local mayor indicted in
                                                                                 through its routine screenings of vulnerable populations, including
2016 for establishing a trafficking ring. The government continued
                                                                                 individuals in commercial sex and women heads of households below
to investigate and prosecute individuals who paid child trafficking
                                                                                 the poverty line, for trafficking indicators but did not report how many
victims for commercial sex, resulting in three prosecutions—but no
                                                                                 victims it identiﬁed through these efforts.
convictions—under Article 160 in 2021, compared with 10 prosecutions
and one conviction in 2020.                                                      The government could provide victims with access to health care
                                                                                 providers, psychological services, legal counsel, ﬁnancial aid, law
Courts resumed normal case processing in 2021, after the government
                                                                                 enforcement liaisons, and other services, including detoxiﬁcation
lifted judicial sector pandemic-mitigation measures, implemented
                                                                                 treatment, for up to three years. CONATT coordinated emergency,
in 2020, which had limited courts to emergency case reviews only.
                                                                                 short-term, and long-term assistance for victims. ERI arranged short-
The judicial sector’s chronic backlog of cases continued to delay
                                                                                 term services for newly identiﬁed victims, including shelter, food, and
processing for all cases, including trafficking cases; officials reported
                                                                                 medical care. There was one trafficking-speciﬁc shelter in the country,
the backlog worsened under the courts’ modiﬁed activity during the
                                                                                 an NGO-run emergency facility capable of housing victims for up to 30
pandemic. FACTRA created nine new provincial task forces to promote
                                                                                 days. The government reported it could refer victims to the emergency
coordination between local and national prosecutors and facilitate
                                                                                 shelter; however, authorities infrequently referred victims to NGO
trafficking casework; including new units, there were 13 active task
                                                                                 facilities. CONATT favored housing victims in a network of government
forces at the end of the reporting period. Officials reported the task
                                                                                 safe houses, but it also placed victims in a civil society-operated safe
forces in Puntarenas province collaborated on at least two trafficking
                                                                                 house or a longer-term shelter for women and children. The government
investigations in 2021. The Supreme Court had a judicial branch action
                                                                                 did not have shelter options for male or LGBTQI+ victims; authorities
plan with a dedicated budget, developed in 2018, to build capacity and
                                                                                 housed male and LGBTQI+ trafficking victims in hotels on a case-by-
raise public awareness on how to identify trafficking, but the government
                                                                                 case basis. The government assisted child victims through PANI, which
again failed to implement the plan. The government provided ﬁve virtual
                                                                                 had a network of shelters for children and could place girl victims at an
trainings on identifying and investigating human trafficking cases to
                                                                                 NGO facility able to provide long-term shelter. CONATT designated one
law enforcement officials and prosecutors, including one training for
                                                                                 of its constituent agencies to oversee victims’ service provision on a
municipal police officers in the city of Desamparados. Costa Rican law
                                                                                 rotating basis. The designated agency had the discretion to refer victims
enforcement officials, including those supporting anti-trafficking efforts,
                                                                                 to services based on individual needs; not all victims received the same
served short rotational assignments; limited training opportunities
                                                                                 level of protection. Civil society organizations reported authorities did
during the pandemic may have reduced new officials’ familiarity with
                                                                                 not always implement referral mechanisms in an effective or timely
trafficking indicators and other critical information. Institutional capacity
                                                                                 manner and recommended the government provide transportation for
to combat human trafficking varied across the country, with national-
                                                                                 victims to institutions providing assistance; civil society observed slower
level officials demonstrating greater familiarity with trafficking than
                                                                                 provision of victim services in rural areas. The National Anti-Trafficking
municipal counterparts. FACTRA reported collaborating with Mexican
                                                                                 in Persons and Smuggling of Migrants Fund (FONATT) disbursed 71.6
and Panamanian officials on two sex trafficking cases.
                                                                                 million colones ($112,180) to provide services for identiﬁed victims, an
                                                                                 increase relative to the 7.41 million colones ($11,610) disbursed in 2020,
PROTECTION
                                                                                 but notably less than the 172 million colones ($269,480) disbursed
The government decreased victim protection efforts. The government
                                                                                 for victim services in 2019. DGME allocated an additional 35.4 million
identiﬁed 21 trafficking victims (six women, one boy, and 14 girls),
                                                                                 colones ($55,460) in one-time funding for victim services to offset
compared with 50 in 2020 and 35 in 2019. Traffickers exploited eight
                                                                                 decreased FONATT funding. The government did not report making
of these victims in sex trafficking and three in labor trafficking; the
                                                                                 a separate allocation to cover emergency services and initial care for
government did not specify the form of trafficking of the remaining
                                                                                 potential victims; in 2020, it allocated 7.42 million colones ($11,630)
10 victims. Of the 21 identiﬁed victims, 14 were Costa Rican nationals,
                                                                                 in additional funding for this purpose. FONATT funding was tied to
three were Nicaraguan, and four held unspeciﬁed foreign nationalities.
                                                                                 a tourism tax; the government attributed its reduced expenditure on
The government reported NGOs separately identiﬁed eight additional
                                                                                 anti-trafficking efforts to decreased tourism and government-wide
victims (ﬁve sex trafficking victims and three labor trafficking victims).
                                                                                 ﬁnancial austerity measures linked to the pandemic. PANI continued to
Government officials expressed concern that increased poverty and
                                                                                 provide direct funding and a per-victim subsidy for identiﬁed victims
unemployment during the pandemic contributed to heightened
                                                                                 to an NGO-run shelter for child victims. The government allocated 1.25
vulnerability to trafficking.
                                                                                 million colones ($1,960) to two NGOs providing services to trafficking
Through the Immediate Response Team (ERI), a specialized inter-                  victims, compared with 171.5 million colones ($268,700) in 2019; data
institutional body within the National Coalition against Illicit Smuggling       for 2020 was not available. Observers reported that failure to disburse
and Trafficking of Migrants (CONATT), the government provided initial            all of the allocated resources hindered the country’s ability to address
services to all 21 reported victims and one victim’s dependent. The Office       its trafficking problem, despite dedicated government resources to
of Attention and Protection of Crime Victims, which served victims of all        anti-trafficking efforts, including victim services.

                                                                                                                                   Haiti AR_000668              187
                    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 293 of 729
COTE D’IVOIRE
                Costa Rican law allowed victims to obtain temporary residency status          The government collaborated with civil society to offer four training
                and work permits, leave the country, ﬁle civil suits against traffickers,     sessions for tourism sector staff on identifying and referring trafficking
                and provide testimony outside of court proceedings. The government            victims. The government did not report efforts to reduce the demand
                issued 58 new or renewed temporary residence permits to trafficking           for commercial sex acts in 2020. In addition to prosecuting individuals
                victims in 2021; by comparison, it issued 11 new and an unknown number        that paid child trafficking victims for commercial sex, the government
                of renewed permits in 2020. Officials reported one foreign national           made efforts to reduce the demand for participation in international
                trafficking survivor became a Costa Rican citizen in 2021. Victims            sex tourism by working with international partners to deny entry to
                could testify outside of court proceedings; the government did not            75 foreign-registered sex offenders who attempted to travel to Costa
                report any victims utilizing this provision in 2021, compared with two        Rica as tourists in 2020.
                in 2020. Officials coordinated with Panamanian law enforcement to
                facilitate transit for a Costa Rican victim testifying in the Panamanian      TRAFFICKING PROFILE
                trial against a trafficker. The government coordinated with an NGO to         As reported over the past ﬁve years, human traffickers exploit domestic
                facilitate the repatriation of one foreign national trafficking victim in     and foreign victims in Costa Rica, and traffickers exploit victims from
                2021, compared with no repatriations in 2020 and two in 2019. The             Costa Rica abroad. Traffickers subject Costa Rican women and children
                government reported offering two virtual training opportunities, open         to sex trafficking within the country, with those living in the Paciﬁc
                to officials in a range of agencies, on identifying trafficking victims; an   coastal zones and near the northern and southern borders being
                international organization provided educational materials or otherwise        particularly vulnerable. Government officials report many traffickers
                supported one of these trainings.                                             operate independently, without a connection to organized crime, to
                                                                                              exploit Costa Rican victims. Many victims are related to or otherwise
                PREVENTION                                                                    know their traffickers. Authorities suspect that adults use children to
                The government maintained prevention efforts limited by government-           transport or sell drugs; some of these children may be trafficking victims.
                wide reductions in funding. CONATT, chaired by DGME, integrated               Traffickers exploit LGBTQI+ persons, including transgender persons,
                and coordinated anti-trafficking efforts among 22 public institutions,        in sex trafficking. Women and girls from Nicaragua, the Dominican
                key NGOs, and international organizations, and it maintained sub-             Republic, and other Latin American countries have been identiﬁed
                commissions focused on attention to victims, prevention, justice,             in Costa Rica as victims of sex trafficking and domestic servitude.
                investigation and analysis, and project management. CONATT met                Traffickers subject migrant adults and children, primarily from Nicaragua,
                periodically to review progress in the areas of research, protection,         to forced labor in agriculture and domestic service or to sex trafficking.
                prevention, and prosecution; in 2021, it continued to rely on virtual         Criminal organizations recruit and coerce individuals experiencing
                meetings to maintain interagency coordination. CONATT presented               homelessness to smuggle contraband into prisons for the purpose of
                a quarterly public report on its accomplishments. The government              further criminal activity. Traffickers prey on migrants, some en route to
                approved its 2020-2030 national action plan in November 2021 and              the United States, from other Central American countries, the Caribbean,
                began implementing it soon thereafter. Through the FONATT and DGME,           the People’s Republic of China, and South America. Child sex tourism
                the government reported a total of 107 million colones ($167,640) in          is a serious problem, with child sex tourists arriving mostly from the
                anti-trafficking expenditures, compared with 620.45 million colones           United States and Europe.
                ($972,080) in FONATT funding in 2020 and 1.4 billion colones ($2.2
                million) in 2019. The government primarily ﬁnanced its anti-trafficking
                activities through the FONATT, but bureaucratic hurdles continued to
                stymie execution of these funds. In 2021, the government disbursed             COTE D’IVOIRE: TIER 2
                64 percent of allocated FONATT funds, an increase compared with 13
                percent in 2020 and roughly on par with the 77 percent disbursement
                                                                                              The Government of Cote d’Ivoire does not fully meet the minimum
                reported in 2019; however, the government continued to report limited
                                                                                              standards for the elimination of trafficking but is making signiﬁcant
                anti-trafficking funding due to pandemic-related austerity measures,
                                                                                              efforts to do so. The government demonstrated overall increasing
                such that funding in 2021 remained considerably below 2019 levels,
                                                                                              efforts compared with the previous reporting period, considering
                despite similar disbursement by percentage. The government funded
                                                                                              the impact of the COVID-19 pandemic, if any, on its anti-trafficking
                the FONATT primarily through a national exit tax; consequently, funding
                                                                                              capacity; therefore Cote d’Ivoire remained on Tier 2. These efforts
                for anti-trafficking efforts ﬂuctuated with travel to and from Costa
                                                                                              included prosecuting and convicting more traffickers and identifying
                Rica, which remained reduced due to the pandemic. The government
                                                                                              signiﬁcantly more victims. The government developed a draft national
                did not allocate funding for prevention programming for the second
                                                                                              referral mechanism (NRM) and provided anti-trafficking training to law
                consecutive year, compared with 171.5 million colones ($268,700) for
                                                                                              enforcement and judicial officials. However, the government did not
                prevention programming and 1.37 billion colones ($2.15 million) for other
                                                                                              meet the minimum standards in several key areas. Law enforcement
                anti-trafficking events and projects in 2019. The government reported
                                                                                              lacked the specialized training and resources to investigate trafficking
                it cut funding for prevention programming due to ﬁnancial austerity
                                                                                              cases and identify victims. The interagency anti-trafficking committee
                and government-wide resource limitations; it noted, however, that
                                                                                              (CNLTP) did not meet or coordinate anti-trafficking activities, and
                anti-trafficking officials continued to promote trafficking awareness
                                                                                              the government did not allocate a dedicated budget for the CNLTP’s
                through low-cost social media posts. Funding shortages also prevented
                                                                                              operations for the third consecutive year. Shelter and services, especially
                the government from making trafficking-speciﬁc allocations to DGME,
                                                                                              for adult victims, remained inadequate.
                the Ministry of Public Education, and other agencies. Observers reported
                awareness-raising programming remained limited, also attributing
                                                                                                      COTE D’IVOIRE TIER RANKING BY YEAR
                the reduction to pandemic-related funding limitations. OIJ operated
                                                                                                  1
                two hotlines to receive conﬁdential criminal complaints; it reported
                receiving 153 calls related to potential trafficking cases in 2021; there         2
                were approximately 100 such calls in 2018, the most recent year for             2WL
                which data was available for comparison. The Judiciary Police also
                                                                                                  3
                operated the 9-1-1 hotline available for general crime reporting, which                  2015      2016      2017      2018   2019   2020   2021   2022
                ﬁelded four trafficking-related calls in 2021.
                In past years, the government educated labor recruiters for international
                and domestic businesses about the consequences of violating the anti-
                trafficking regulations but did not report doing so, or investigating or      PRIORITIZED RECOMMENDATIONS:
                penalizing any labor recruiters for illegal practices that contribute to      Increase efforts to investigate, prosecute, and convict traffickers,
                trafficking, in 2021 or 2020. The government promoted an international        including complicit officials, and sentence convicted traffickers to
                code of conduct related to commercial sexual exploitation in the travel       signiﬁcant prison terms as prescribed by law. • Increase training for
                and tourism industry; 409 tourist sector businesses adhered to the code.      law enforcement and judicial officials on investigating and prosecuting
  188                                                                                                                                          Haiti AR_000669
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 294 of 729




                                                                                                                                                              COTE D’IVOIRE
trafficking cases under the 2016 anti-trafficking law, including specialized     unbecoming conduct. Following the 50-day detention, the officials
investigative and prosecutorial techniques, and enhance coordination of          returned to their military duties. A subsequent prosecution of four of
law enforcement efforts across agencies. • Increase funding and in-kind          the gendarmes and one of the military ﬁreﬁghters for kidnapping of
resources, as feasible, for the anti-trafficking law enforcement units to        a minor, forced conﬁnement, and attempted rape remained pending
investigate trafficking cases nationwide and delineate responsibilities          before a military investigative judge at the end of the reporting period.
between the units. • Develop and implement standardized procedures               Although not explicitly reported as human trafficking, the UN reported
to identify human trafficking victims, including among vulnerable                there was one new allegation, submitted in 2021, of alleged sexual
populations such as Ivoirian labor migrants, foreign migrants, child             exploitation with trafficking indicators by Ivoirian peacekeepers deployed
laborers, and individuals in commercial sex and train law enforcement,           to the UN peacekeeping mission in Haiti between 2010 and 2012. The
service providers, labor inspectors, and other officials on the procedures.      UN investigation into the allegation was pending, and the government
• Finalize and implement the NRM and train law enforcement, judicial             had not yet reported the accountability measures taken, if any, for the
officials, service providers, and civil society on its implementation. •         open case by the end of the reporting period.
Strengthen the CNLTP’s authority to coordinate the government’s anti-
                                                                                 The SDLTEDJ bore primary responsibility for enforcing anti-trafficking
trafficking response across agencies conducting anti-trafficking work.
                                                                                 laws and investigating cases throughout the country. Six special police
• Adopt and implement a new national action plan (NAP) and allocate
                                                                                 units established under the SDLTEDJ in the previous reporting period
dedicated resources to its implementation. • Increase availability of
                                                                                 continued to investigate child labor and child trafficking cases. These
shelter and services, especially for adult trafficking victims. • Increase
                                                                                 units operated out of SDLTEDJ branch offices in the six cities in which
efforts to prevent exploitation of Ivoirian migrants abroad by extending
                                                                                 they were based. The gendarmes under the Ministry of Defense were
labor protections to workers in the informal sector, especially domestic
                                                                                 responsible for investigations in rural areas where the SDLTEDJ was not
work, increasing oversight of labor recruitment agencies and holding
                                                                                 present. Resource limitations constrained the Brigade Mondaine—the
fraudulent labor recruiters criminally accountable and banning worker-
                                                                                 unit responsible for investigating prostitution and sex trafficking—to
paid recruitment fees. • Improve nationwide data collection on anti-
                                                                                 Abidjan and a few regional precincts. The Transnational Organized Crime
trafficking law enforcement and victim identiﬁcation efforts.
                                                                                 Unit (UCT) had national jurisdiction over transnational organized crime,
                                                                                 including a specialized human trafficking department. The SDLTEDJ was
PROSECUTION                                                                      responsible for child trafficking cases, UCT for transnational trafficking
The government increased law enforcement efforts. Law No. 2016-111 on
                                                                                 cases, and Brigade Mondaine for sex trafficking cases; however, the units
the Fight Against Trafficking in Persons criminalized sex trafficking and
                                                                                 lacked coordination, and no unit had a clear responsibility for internal
labor trafficking and prescribed penalties of ﬁve to 10 years’ imprisonment
                                                                                 adult labor trafficking cases. Limited funding and resources signiﬁcantly
and a ﬁne of 5 million to 10 million West African CFA francs (FCFA)
                                                                                 hindered law enforcement’s ability to identify and investigate human
($8,590-$17,190) for adult trafficking and 20 to 30 years’ imprisonment
                                                                                 trafficking cases.
and a ﬁne of 10 million to 50 million FCFA ($17,190-$85,930) for child
trafficking. These penalties were sufficiently stringent and, with respect       In August 2021, the Ministry of Justice and Human Rights issued a
to sex trafficking, commensurate with those prescribed for other serious         directive creating new prosecutorial teams within the appeals courts
crimes, such as rape. The 2010 Child Trafficking and Child Labor Law             in four cities focused on combating human trafficking to accelerate
was also used to prosecute child trafficking, and it criminalized child sex      the procedural process and support the public prosecutor’s office
trafficking and labor trafficking with 10 to 20 years’ imprisonment and a        in prosecuting trafficking cases. Although not yet operational, the
ﬁne of 5 million to 20 million FCFA ($8,590-$34,370). The government             government, in partnership with a foreign donor, began providing
used penal code provisions on illegal mining and “pimping” to prosecute          anti-trafficking training to the units. The government, in collaboration
trafficking cases. The penal code prescribed penalties of one to ﬁve years’      with international organizations and foreign donors, trained judicial
imprisonment and a ﬁne of 1 million to 10 million FCFA ($1,720-$17,190)          officials, law enforcement, and civil society organizations on human
for “pimping” and penalties of two to ﬁve years’ imprisonment and a              trafficking laws and regulations, victim protection during criminal
ﬁne of 50 million to 100 million FCFA ($85,930-$171,870) for illegal             proceedings, investigative and prosecutorial techniques, and cross-unit
mining. These penalties were signiﬁcantly lower than those prescribed            collaboration. Observers reported additional anti-trafficking training for
under the trafficking law.                                                       law enforcement and judicial officials was needed. Some judges and
                                                                                 prosecutors remained unaware of the 2016 law and continued to use
Authorities initiated at least 11 case investigations and continued three
                                                                                 the 2010 law and illegal mining and “pimping” statutes to prosecute
case investigations, compared with investigating 18 cases in the previous
                                                                                 trafficking cases, which carried lesser penalties.
reporting period. The government initiated prosecution of 83 alleged
traffickers and continued prosecution of six alleged traffickers, and
                                                                                 PROTECTION
courts convicted 43 traffickers during the reporting period. Judges
                                                                                 The government increased efforts to identify and protect victims. During
sentenced all 43 convicted traffickers to between ﬁve years and 20
                                                                                 the reporting period, the government identiﬁed 1,190 trafficking victims,
years’ imprisonment. This compared with prosecution of 25 alleged
                                                                                 the majority of whom were children, including 437 sex trafficking and 753
traffickers and conviction of 12 traffickers in the previous reporting period.
                                                                                 forced labor victims, compared with identifying 302 trafficking victims
In one case investigated by the Sub-Directorate in the Fight against
                                                                                 during the previous reporting period. The majority of identiﬁed victims
Trafficking and Child Labor (SDLTEDJ), law enforcement arrested 24
                                                                                 were Ivoirian; foreign national victims were from Nigeria, Mali, Guinea,
alleged traffickers and identiﬁed 68 child victims, most of whom were
                                                                                 Burkina Faso, Niger, Togo, and Benin. Due to the lack of a centralized
from Burkina Faso, exploited in forced labor in cocoa; courts convicted
                                                                                 data collection system and conﬂation of trafficking with other crimes,
and sentenced ﬁve traffickers under Law No. 2016-111 and 17 traffickers
                                                                                 victim identiﬁcation data likely included child labor and sexual abuse
under penal code provisions on child labor. The government continued
                                                                                 cases. The government referred most identiﬁed victims to services.
collaborating with foreign counterparts, including from Burkina Faso
and Nigeria, on law enforcement activities.                                      The government did not have standardized procedures to proactively
                                                                                 identify trafficking victims and refer them to care; however, the UCT,
The government did not report any investigations, prosecutions, or
                                                                                 Brigade Mondaine, and SDLTEDJ each had operational victim referral
convictions of government officials complicit in human trafficking
                                                                                 procedures. The government developed an NRM, in collaboration with
crimes; however, official corruption and complicity in trafficking crimes
                                                                                 an international organization, which remained pending ﬁnal approval
remained concerns, inhibiting law enforcement action during the year.
                                                                                 at the end of the reporting period. Despite the lack of a formal NRM,
Some observers alleged low-ranking police on the borders with Mali
                                                                                 in practice, officials referred adult trafficking victims to NGOs or host
and Ghana facilitated smuggling, including potential trafficking cases,
                                                                                 families and child victims to NGO and government-run shelters or foster
and organized a system to collect bribes at checkpoints and along bus
                                                                                 families when necessary. Officials could also refer trafficking victims
routes. In 2018, ﬁve gendarmes and two military ﬁreﬁghters allegedly
                                                                                 to government-run centers for victims of abuse for psychological care
abducted a trafficking victim from an NGO shelter; a military tribunal
                                                                                 and NGOs for shelter and services. The government provided food,
sentenced four of the gendarmes and the military ﬁreﬁghters to 50
                                                                                 medical care, and psycho-social support to victims. The government,
days in military jail in August 2019 as an administrative sanction for
                                                                                 in partnership with an NGO, operated three shelters for child labor
                                                                                                                                 Haiti AR_000670              189
                    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 295 of 729
COTE D’IVOIRE   and child trafficking victims, including a new shelter opened during            and trafficking victims. However, despite conducting more than 2,800
                the reporting period. There was no government-run shelter that could            inspections in 2021, labor inspectors did not identify any child labor or
                accommodate adult victims. Government ministries lacked coordination,           child trafficking cases during the inspections. The Ministry of Water
                which in some cases hindered the provision of services. The Ministry of         and Forests, responsible for surveilling the country’s natural resources,
                Women, Children, and Families (MWCF) provided some in-kind support              also monitored for child labor or trafficking violations during regular
                to NGOs caring for victims, including food, hygiene products, and other         patrols of the forests; ministry personnel referred potential child labor
                supplies, but did not report providing any direct ﬁnancial support.             or trafficking cases to law enforcement for criminal investigation. The
                Observers reported government support for victim protection and                 MWCF continued operating a hotline to report child protection and
                services remained inadequate, and in many cases, NGOs funded and                human rights violations, and officials reported identifying 27 potential
                provided the majority of trafficking victim care. Observers also noted          child trafficking victims as a result of calls to the hotline.
                social workers lacked the resources and personnel to effectively care for
                                                                                                In September 2020, the government established two inter-ministerial
                and monitor the reintegration of victims. The lack of services, especially
                                                                                                commissions to adjudicate claims for statelessness, intending to process
                for adults, and lack of reintegration assistance rendered many victims
                                                                                                status for approximately 16,000 people living in the country without
                vulnerable to re-victimization. Foreign victims had the same access to
                                                                                                identity documents who are therefore vulnerable to trafficking. The
                care as Ivoirian victims. The government did not have a formal policy
                                                                                                commissions began adjudicating claims but lacked capacity and
                providing temporary or permanent residency to foreign victims who
                                                                                                resources to process claims expeditiously. The government did not
                faced hardship or retribution in their countries of origin. In some cases,
                                                                                                demonstrate efforts to reduce the demand for commercial sex acts. The
                the government depended on foreign trafficking victims’ home embassies
                                                                                                government did not provide anti-trafficking training to its diplomatic
                to provide shelter and care prior to repatriation. In at least one case,
                                                                                                personnel. The government did not report providing anti-trafficking
                authorities coordinated with a foreign government and international
                                                                                                training to troops prior to their deployment as peacekeepers; although
                organization to repatriate a foreign national trafficking victim.
                                                                                                not explicitly reported as human trafficking, there was one open case
                Access to victim services was not dependent on cooperation with                 of alleged sexual exploitation with trafficking indicators by Ivoirian
                law enforcement proceedings. Ivoirian law required the government               peacekeepers deployed to the UN peacekeeping mission in Haiti.
                to provide protection and assistance to victims who participated in
                investigations or trials against alleged traffickers, but the government        TRAFFICKING PROFILE
                did not report providing this assistance to any victims. The law also           As reported over the past ﬁve years, human traffickers exploit domestic
                called for creation of a national office for the protection of witnesses        and foreign victims in Cote d’Ivoire, and traffickers exploit victims from
                and victims; however, the office was not yet operational. Observers             Cote d’Ivoire abroad. The majority of victims identiﬁed are children;
                reported the government did not provide or refer trafficking victims            due to a stronger emphasis on combating internal child trafficking,
                to legal aid, which hindered victims’ ability to press charges against          the prevalence of adult trafficking may be underreported. Traffickers
                their alleged traffickers and, for foreign victims, to address immigration      exploit Ivoirian women and girls in forced labor in domestic service and
                issues. Trafficking victims could ﬁle civil suits, but none reportedly          restaurants and in sex trafficking. Traffickers also exploit Ivoirian boys in
                did so, and many victims were not aware of this option. Ivoirian law            forced labor in the agricultural and service industries, especially cocoa
                allowed victims to obtain restitution, and in one case, the court ordered       production. West African boys, especially Burkinabe, are exploited in
                a convicted trafficker to pay 10 million FCFA ($17,190) in restitution.         forced labor in agriculture (on cocoa, coffee, pineapple, cashew, and
                Due to the lack of standardized victim identiﬁcation procedures, some           rubber plantations and in animal herding), mining, carpentry, construction,
                victims may have remained unidentiﬁed within the law enforcement                and begging in Cote d’Ivoire. Observers reported the pandemic’s
                system. International organizations reported border agents sometimes            economic impacts, as well as insecurity in neighboring countries, have
                denied entry to foreign nationals, including potential victims, without         increased child labor and forced child labor, especially on cocoa farms.
                screening for human trafficking. Law enforcement officials reportedly           Traffickers exploit migrant workers, including Malian, Burkinabe, and
                only screened individuals in commercial sex for trafficking when detaining      internal Ivoirian migrants, in the cocoa sector in forced labor and debt
                or arresting them.                                                              bondage; observers reported recruiters deceive workers about working
                                                                                                conditions, including wages, hours, and length of contracts—indicators
                PREVENTION                                                                      of forced labor. These recruiters charge worker-paid recruitment fees,
                The government maintained efforts to prevent trafficking. The CNLTP,            including for transportation costs; some employers pay the fees and
                while intending to lead the government’s anti-trafficking prevention            subsequently exploit the workers in debt bondage, reportedly charging
                efforts, did not meet, and the government did not report allocating             them up to ﬁve times the original cost of transportation. Traffickers often
                dedicated funding for its operations for the third consecutive year. The        operate in well-established networks consisting of both Ivoirians and
                government drafted a NAP for 2021-2025 that remained pending at the             foreigners and, in cases of transnational trafficking, use social media,
                end of the reporting period. The government continued implementing              making networks difficult for law enforcement to detect. In 2018,
                its 2019-2021 NAP to combat child labor and trafficking, which had a            authorities estimated there were more than 2,000 Ivoirian, Burkinabe,
                three-year budget of more than 76 billion FCFA ($130.62 million). The           Malian, Nigerien, and Senegalese talibés (students in Quranic schools)
                Oversight Committee to Combat Child Trafficking and the Worst Forms             in northern and central Cote d’Ivoire and that corrupt teachers force
                of Child Labor (CNS) and the Inter-Ministerial Committee in the Fight           many of them to beg. NGOs and officials report drug traffickers use
                Against Child Trafficking, Child Exploitation, and Child Labor (CIM)            children—some of whom may be forced—to sell and transport drugs
                continued to coordinate efforts to combat child labor and child trafficking.    in restaurants and nightclubs. Some Beninese and Togolese workers
                CNS oversaw CIM and conducted monitoring and evaluation activities.             migrate to Cote d’Ivoire for construction and carpentry work and
                Observers reported dedicated resources and more collaboration between           bring children, whom they exploit in domestic servitude. Traffickers—
                the three committees were still needed for the CNLTP to be fully effective.     commonly distant relatives—bring girls from rural Cote d’Ivoire and
                The government held public awareness campaigns focused on child labor,          other West African countries to Abidjan ostensibly to go to school or
                which included some anti-trafficking components. It also collaborated           receive professional training but subsequently exploit them in domestic
                with international organizations to produce pamphlets, t-shirts, and            servitude. Ghanaian, Moroccan, and Nigerian traffickers recruit women
                video content to raise awareness of the dangers of human trafficking            and girls from Ghana, Morocco, and Nigeria for waitressing jobs and
                and migrant smuggling. Observers reported campaign materials were               subsequently exploit them in sex trafficking in restaurants or massage
                almost exclusively produced in French, rather than local languages and          parlors; some victims believe they are transiting Cote d’Ivoire en route
                dialects. The labor code regulated labor recruitment and labor migration        to Europe. Nigerian traffickers increasingly exploit Nigerian women
                in the formal sector, but it did not extend to the informal sector, including   and girls in sex trafficking in Cote d’Ivoire’s northern and western
                domestic work, which increased some migrant workers’ vulnerability to           mining regions, including near gold mines in Tengrela. An international
                trafficking. The government did not report efforts to hold fraudulent labor     organization noted cultural beliefs correlating sex with increased
                recruiters accountable. The law did not prohibit worker-paid recruitment        chances of ﬁnding gold have increased the demand for sex trafficking
                fees. The government trained labor inspectors on identifying child labor        in mining communities. Nigerian traffickers bring Nigerian children to

  190                                                                                                                                         Haiti AR_000671
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 296 of 729




                                                                                                                                                                 CROATIA
northern Cote d’Ivoire for domestic servitude. Nigerian victims transit
Cote d’Ivoire en route to exploitation in sex trafficking in Asia, the United           CROATIA TIER RANKING BY YEAR
Arab Emirates, and North Africa. In past years, People’s Republic of                1
China (PRC) national traffickers have exploited PRC national women in               2
sex trafficking in Cote d’Ivoire. Returning refugees and individuals living
in Cote d’Ivoire without identity documents are at risk of statelessness,         2WL
increasing vulnerability to trafficking.                                            3
                                                                                           2015     2016      2017     2018   2019    2020     2021    2022
Some Ivoirian community and religious leaders, possibly working with
others abroad, reportedly recruit Ivoirian women and girls for work in
the Middle East and Europe; some women and girls are then exploited
in forced labor in Europe, North Africa, and Gulf countries, primarily          PRIORITIZED RECOMMENDATIONS:
Lebanon, Morocco, Saudi Arabia, and Tunisia. Ivoirian migrants in Libya         Vigorously investigate, prosecute, and convict traffickers, and sentence
and Tunisia are vulnerable to trafficking. Migrants commonly depart             convicted traffickers to signiﬁcant prison terms. • Train judges at all levels
from Daloa and proceed via airplane to Tunisia or travel overland via           of the judiciary to take the severity of trafficking into account when
Mali and Algeria to Libya or via Niger to Libya. In Tunisia, intermediaries     issuing sentences and sensitize judges on victim-centered approaches
conﬁscate migrants’ identity documents until they can pay for the               and restitution. • Train prosecutors on trafficking, victim’s rights, and
next part of their journey, increasing vulnerability to trafficking. In         victim-centered approaches, and refer trafficking cases to trained or
2021, Tunisian authorities identiﬁed an estimated 417 Ivoirian potential        experienced prosecutors. • Continue to encourage victim participation
trafficking victims, approximately 64 percent of the total trafficking          in investigations and prosecutions by providing alternative methods
victims identiﬁed in Tunisia. International organizations and Ivoirian law      to testify, including remote testimony or funding for travel and other
enforcement agencies reported Ivoirian migrant smuggling networks               expenses for victims to attend court hearings. • Reduce the judiciary’s
based in Tunisia increasingly became involved in trafficking as European        overall backlog of cases, including trafficking cases. • Continue to
governments blocked migration inﬂows and that these networks also               inform all identiﬁed victims of their right to pursue compensation and
coerced Ivoirians to engage in unlawful acts, including drug smuggling.         encourage them to do so. • Strengthen rules and regulations to ensure
Traffickers exploit men and boys in forced labor on farms in Tunisia, often     immigration enforcement does not hinder human trafficking detection,
promising the men well-paying jobs and the boys the opportunity to              criminal law enforcement, or victim protections. • Further increase
play soccer. Ivoirian undocumented migrants in Algeria are vulnerable           capacity and training to accurately screen for victims and continue to
to trafficking due to their undocumented status. An international               consistently implement screening procedures for vulnerable populations,
organization reported an increase in Ivoirian migrant women and                 particularly undocumented migrants, refugees, asylum seekers, and
unaccompanied children arriving in Italy; an NGO reported traffickers           seasonal workers. • Continue to allocate and disburse sufficient resources
sexually exploited many of the women in Libya prior to their arrival in         to NGO-run shelters and NGOs participating in the mobile identiﬁcation
Italy. In 2018, French authorities disbanded an Ivoirian trafficking network    teams.• Increase funding to the NGO-run hotline, so it can operate for
linked to Daloa that provided Ivoirian children with fake documents and         more hours of the day and incorporate hotline numbers in more robust
facilitated their travel to France through Libya and Italy. Authorities         public awareness campaigns.
have also noted an increase in male trafficking victims among migrants
traveling to Europe. Ivoirian domestic workers in Kuwait are vulnerable         PROSECUTION
to domestic servitude. Authorities have previously identiﬁed Ivoirian           The government increased law enforcement efforts. Article 106 of the
trafficking victims in Cyprus, France, Iraq, Israel, Italy, Morocco, and        criminal code criminalized sex trafficking and labor trafficking and
the United Kingdom.                                                             prescribed penalties of one to 15 years’ imprisonment, which were
                                                                                sufficiently stringent and, with regard to sex trafficking, commensurate
                                                                                with those for serious crimes, such as rape. Law enforcement investigated
                                                                                seven cases with 17 suspects, compared with 15 cases with 29 suspects
 CROATIA: TIER 2                                                                in 2020. Prosecutors indicted four defendants, compared with eight
                                                                                defendants in 2020. Courts convicted two labor traffickers and one sex
                                                                                trafficker, an increase compared with zero convictions in 2020. First
The Government of Croatia does not fully meet the minimum standards
                                                                                instance courts sentenced each of the two labor traffickers to one year
for the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                                and eight months’ imprisonment and the sex trafficker to three years
The government demonstrated overall increasing efforts compared with
                                                                                and three months’ imprisonment. The government reported 19 cases
the previous reporting period, considering the impact of the COVID-19           remained pending for rulings, compared with 16 cases in 2020. The
pandemic on its anti-trafficking capacity; therefore Croatia remained           government used child pandering (Article 162 of the criminal code) to
on Tier 2. These efforts included convicting more traffickers, not issuing      convict some suspected traffickers but did not report the number of
any suspended sentences, and identifying more victims. The Office for           perpetrators convicted for child pandering. Some court proceedings
Human Rights and Rights of National Minorities (OHRRNM) reimbursed              lasted years contributing to a substantial but decreasing backlog of
mobile teams for travel costs, and coordinating bodies consistently met         criminal cases, including trafficking cases dating as far back as 2013.
and reported good collaboration. The government established the ﬁrst            Judges reported both an increased inﬂux of cases to the existing backlog
Independent Monitoring Mechanism (IMM) to provide oversight for police          and delayed court proceedings from the government closing courts
conduct at borders and ensure compliance with human rights, an action           from March to June 2020 due to pandemic lockdown measures and
that may help potential victims self-identify to authorities and reduce         two earthquakes in 2020 that destroyed or damaged multiple courts.
future opportunities for traffickers to exploit migrants and asylum-
                                                                                The government did not operate specialized law enforcement units,
seekers. However, the government did not meet the minimum standards
                                                                                but police designated officers for trafficking cases in all jurisdictions.
in several key areas. The government investigated fewer cases and
                                                                                Law enforcement personnel under the Ministry of Interior (MOI)
indicted fewer defendants compared with the previous year. Observers
                                                                                conducted proactive investigations of commercial sex establishments
reported a lack of adequate screening efforts for undocumented migrants
                                                                                and cooperated with the State Labor Inspectorate to jointly inspect
and asylum seekers, which discouraged victims from cooperating and
                                                                                132 employers in the agriculture, construction, hospitality, and service
self-identifying. Some judges continued to require victims to provide
                                                                                industries (144 in 2020). However, most inspection violations were
multiple statements or testimonies causing re-traumatization, while
                                                                                administrative labor violations involving contracts, permits, and salaries
prosecutors sometimes charged traffickers with lesser offenses.                 rather than labor trafficking prosecutions. Group of Experts on Action
                                                                                against Trafficking in Human Beings (GRETA) and other sources reported
                                                                                some judges and prosecutors lacked an understanding of trafficking and
                                                                                often prosecuted traffickers using offenses with lesser sentences, such
                                                                                as “prostitution,” “assault,” “sexual abuse,” and “pandering.” Similarly,
                                                                                                                                     Haiti AR_000672             191
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 297 of 729
CROATIA   some prosecutors charged individuals suspected of trafficking with              caregivers for three children (three children in 2020). MDFYSP organized
          other or lesser crimes that were easier to prove to decrease their large        trainings for foster families and special caregivers and required them
          caseloads. Independent experts assessed that prosecutors heavily                to maintain a license, but officials reported a shortage in the number
          relied on victim testimony and did not often use special investigative          of foster families and special caregivers to fully support the increasing
          measures to corroborate evidence, while some judges in past years               number of child victims. The Croatian Employment Bureau (HZZ)
          issued lenient sentences by liberally applying mitigating circumstances.        maintained special coordinators in regional and branch offices, who
          The government maintained institutionalized training programs on                coordinated roundtables and presentations to encourage employers to
          various trafficking issues at the Police Academy, Police College, Judicial      hire trafficking victims; HZZ assisted one victim in securing employment
          Academy, and Border Police Directorate. The government could not share          in 2021 (none in 2020).
          details on international investigations due to conﬁdentiality protections.
                                                                                          The government did not report penalizing victims for unlawful acts
          The government did not report any investigations, prosecutions, or
                                                                                          traffickers compelled them to commit; however, due to a lack of consistent
          convictions of government officials complicit in trafficking crimes.
                                                                                          screening efforts for trafficking indicators in irregular migration ﬂows,
                                                                                          authorities likely detained and deported some unidentiﬁed victims
          PROTECTION                                                                      among undocumented migrants and asylum seekers. Foreign victims
          The government slightly increased victim protection efforts. The
                                                                                          had access to the same services as domestic victims, but foreign victims
          government identiﬁed 19 victims, compared with 17 victims in 2020.
                                                                                          without work permits at the time of their exploitation could not receive
          Of these, six were victims of sex trafficking, ﬁve of forced labor, seven of
                                                                                          compensation for lost wages. Foreign victims could receive a temporary
          forced criminality, and one victim of all three types of exploitation; there
                                                                                          residence permit after a 60-day reﬂection period for adults and 90 days
          were four women, ﬁve men, ﬁve girls, and ﬁve boys; and four were foreign
                                                                                          for children; the government issued four victims residence permits (one
          victims from Nepal. The government maintained standard operating
                                                                                          in 2020). Seven out of the 15 county courts had Victim and Witness
          procedures (SOPs) for screening and identifying victims and a protocol
                                                                                          Support Offices (VWSO) that provided assistance during criminal
          on identiﬁcation, assistance, and protection of victims. Civil society
                                                                                          proceedings, including requests to testify via video link, referrals to
          representatives and government officials reported the MOI accurately
                                                                                          specialized institutions, legal and logistical assistance, and measures to
          and consistently identiﬁed victims and noted good cooperation. However,
                                                                                          prevent re-traumatization. The government also funded a civil society
          civil society, media, and the Council of Europe continued to report a lack
                                                                                          network to provide legal and psychological assistance and logistical
          of government efforts to adequately screen undocumented migrants
                                                                                          support in the eight county courts without VWSOs. While observers
          and asylum seekers, including unaccompanied children.
                                                                                          reported courts with VWSOs offered assistance consistently, the other
          A multi-disciplinary national referral mechanism (NRM) provided                 eight county courts assisted by civil society did not have the capacity
          SOPs for identifying and referring victims to services. According to            or resources to provide victim-centered approaches. Civil society
          the NRM, ﬁrst responders carried out the preliminary identiﬁcation              reported the judiciary was not always familiar with legal protections
          of potential victims and contacted one of four regional mobile teams,           available for trafficking victims and some judges lacked sensitivity
          consisting of social workers from a Center for Social Work and NGO              and an understanding of the impact of psychological trauma, and
          representatives, who travelled to assess potential adult victims in person      they required victims to provide statements or testimonies multiple
          and coordinated victim care and placement. For child victims, ﬁrst              times, causing re-traumatization. For example, judges allowed victims
          responders contacted the Ministry of Labor, Pension System, Family and          to testify remotely but required victims to do so at the courthouse,
          Social Policy (MLPSFSP), who dispatched a mobile team of specialized            which forced victims to travel from a different city. Children could
          social workers. MOI cooperated with mobile teams to officially identify         provide testimonies to specialized professionals in child interview
          victims and included specialized police officers for potential child victims.   rooms, but observers reported, in 2019, a judge required a child to
          While in previous years, NGOs participating in the mobile team for adults       testify in court for seven hours. The law provided witness protection,
          had not been reimbursed for expenses related to the use of their private        but the government reported no victims required witness protection in
          vehicles for official travel, officials reported the mobile team functioned     2021 or 2020. Authorities reported difficulties in encouraging victims
          well and the OHRRNM reimbursed costs in 2021. In previous years,                to cooperate with investigations, particularly sex trafficking cases or
          sources reported difficulties in recruiting new mobile team members             cases involving potential foreign victims due to fear of retaliation,
          due to annual budgets that allocated inconsistent funding and said a            stigma, re-traumatization, or logistical challenges. The law entitled
          one-day training for new team members was inadequate to learn the               victims to restitution in criminal cases, but judges most often rejected
          complex process of identifying victims; however, OHRRNM provided                claims for restitution and directed victims to ﬁle civil suits to request
          130,000 kunas ($20,160) to host a three-day training for new mobile             compensation. Experts reported the lack of indemniﬁcation guidelines,
          unit volunteers in 2021.                                                        training for judges, bureaucratic procedures, and inadequate mechanisms
                                                                                          perpetuated the absence of restitution in criminal sentences. Judges
          The government and NGOs provided protection and assistance to victims,
                                                                                          in civil courts were sometimes better positioned to assess emotional
          including shelter, medical assistance, legal assistance, psycho-social
                                                                                          pain, but civil suits were expensive, lengthy, and required victims to
          support, rehabilitation, reintegration services, and, during the pandemic,
                                                                                          re-testify about their exploitation, causing re-traumatization. Judges
          personal protective equipment and COVID-19 tests; six adults and 10
                                                                                          did not award restitution in 2021, but compensation awarded in 2020
          children received assistance (three adults and ﬁve children in 2020).
                                                                                          to a victim for 143,650 kunas ($22,270) became ﬁnal in 2021.
          The government funded two NGO-run shelters based on the number of
          assisted victims and allocated 257,741 kunas ($39,960) to the NGO-run
          shelter for adults, compared with 216,593 kunas ($33,580) in 2020. It
                                                                                          PREVENTION
                                                                                          The government maintained prevention efforts. The head of OHRRNM
          allocated 162,331 kunas ($25,170) for the NGO-run shelter for children,
                                                                                          served as the national anti-trafficking coordinator and the secretariat
          compared with 441,692 kunas ($68,480) in 2020. Additionally, the
                                                                                          for the senior-level national coordinating committee; the national
          Center for Missing and Exploited Children (CMEC) provided a range of
                                                                                          committee met once in 2021 and 2020. In 2020, the government
          educational and psycho-social services for unaccompanied or exploited
                                                                                          adopted a decision to include representatives from the judiciary in the
          children, including child trafficking victims; these shelters accommodated
                                                                                          national committee, appointed two judges from the Supreme Court,
          four adults and no children (two adults and three children in 2020).
                                                                                          and appointed the Deputy Prime Minister to chair the committee.
          The government-funded NGO-run shelter for adults allowed freedom
                                                                                          The committee’s working-level operational team held monthly virtual
          of movement and provided separate accommodation for men and
                                                                                          meetings and monitored the implementation of the 2018-2021 national
          women, where they could stay for up to one year with the possibility of
                                                                                          action plan (NAP), and members of the team, including civil society,
          an extension. The government-funded NGO-run shelter for children had
                                                                                          reported good cooperation. The government allocated 117,209 kunas
          the capacity to accommodate ﬁve child victims and could enroll children
                                                                                          ($18,170) for the implementation of the NAP and also allocated 292,620
          into school, including distance learning. The government continued
                                                                                          kunas ($45,370) to OHRRNM in 2021 and 265,120 kunas ($41,100) for
          its efforts to implement foster care for the custody of children instead
                                                                                          2022. The government organized awareness campaigns in areas with high
          of using state child care institutions. MLPSFSP organized three foster
                                                                                          tourism targeting individuals who can come into contact with a victim,
          families for ﬁve child victims (none in 2020) and appointed special

 192                                                                                                                                  Haiti AR_000673
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 298 of 729




                                                                                                                                                              CUBA
including public transport workers, restaurant and bar staff, and port and     period, there was a government policy or pattern to proﬁt from labor
airport employees. Additionally, the government organized awareness            export programs with strong indications of forced labor, particularly
campaigns for the public, students, and the Romani community. The              its foreign medical missions’ program. The government continued to
government allocated 4,706 kunas ($730) for the NGO-run hotline,               deploy Cuban workers to foreign countries using deceptive and coercive
but observers reported the NGO-run hotline operated only from 10:00            tactics and failed to address labor violations and trafficking crimes
a.m. to 6:00 p.m. due to inadequate ﬁnancial support and difficulties          despite an increasing number of allegations from credible NGOs, former
in ﬁnding the hotline number; the hotline received 678 calls leading to        participants, and foreign governments of Cuban officials’ involvement
six investigations. The government maintained a legal framework for            in abuses. The government failed to inform participants of the terms
regulating and licensing private sector employers, including foreign           of their contracts, which varied from country to country; conﬁscated
employment agencies. The law prohibited charging workers recruitment           their passports, professional credentials, and salaries; and threatened
fees with ﬁnes for a violation ranging from 4,000 to 100,000 kunas ($620       medical professionals and their family members if participants left
to $15,500); the government did not report if such ﬁnes were issued            the program. In addition, Cuban law did not explicitly prohibit labor
during 2021. Labor inspectors could issue administrative ﬁnes and/or           trafficking as deﬁned in international law, and the government did not
ﬁle criminal charges against employers for nonpayment of salaries.             report having procedures to identify victims of forced labor.
Labor inspectors conducted 8,247 inspections in a variety of sectors,
such as agriculture, construction, elderly care, forestry, and service;
                                                                                       CUBA TIER RANKING BY YEAR
most infractions involved improper labor contracts, work permits, and
                                                                                   1
salary issues. The government did not make signiﬁcant efforts to reduce
the demand for commercial sex acts.                                                2
                                                                                 2WL
International organizations criticized the government for continued
violent pushbacks of undocumented migrants and asylum seekers into                 3
Bosnia and Herzegovina (BiH), while civil society and media alleged                       2015     2016      2017   2018   2019    2020     2021    2022
border police abused undocumented migrants and asylum seekers,
including allegations of sexual abuse. International and civil society
organizations claimed these practices strongly discouraged victims
from self-identifying or cooperating with authorities. UNHCR reported          PRIORITIZED RECOMMENDATIONS:
accusations were hard to verify as migrants wanted to move quickly             Ensure government-sponsored labor export programs comply
through Croatia and were inaccessible for follow-up investigations,            with international labor standards or end them—speciﬁcally ensure
but civil society recorded approximately 8,800 pushbacks to BiH from           participants receive fair wages that are fully paid into bank accounts
January 2021 to November 2021 and 30,309 pushbacks to BiH from                 the workers can control; retain passports, contracts, and academic
June 2019 to September 2021. In June 2021, the government established          credentials in their possession; ensure a work environment safe from
the IMM to provide oversight for police conduct at borders and ensure          violence, harassment, and intrusive surveillance; and have freedom of
compliance with human rights and international law. IMM released               movement to include leaving the program or refusing an assignment
a six-month report of their ﬁndings, which reported poor records               without penalties, such as being threatened, imprisoned, harmed, or
and unclear procedures, but police were generally well-trained and             banned from returning to Cuba. • Vigorously investigate and prosecute
followed regulations, and border abuse and mistreatment were isolated          sex trafficking and forced labor crimes and convict offenders. • Implement
instances. However, NGOs criticized the lack of independence of IMM            formal policies and procedures to identify trafficking victims proactively,
and transparency of the report.                                                including among vulnerable populations, refer those identiﬁed to
                                                                               appropriate services, and train officials, including ﬁrst responders, in
TRAFFICKING PROFILE                                                            their use. • Draft and enact a comprehensive anti-trafficking law that
As reported over the past ﬁve years, human traffickers exploit domestic        criminalizes all forms of trafficking, including the explicit prohibition of
and foreign victims in Croatia, and traffickers exploit victims from Croatia   labor trafficking, and ensures that the use of force, fraud, or coercion is
abroad. Women and girls from the Balkans and Central Europe are                considered an essential element of adult trafficking. • Adopt policies
exploited in sex trafficking in Croatia. Traffickers exploit Croatian women    and programs that provide trafficking-speciﬁc, specialized assistance
and girls in sex trafficking within the country and elsewhere in Europe.       for male, female, and LGBTQI+ trafficking victims. • Screen individuals
Traffickers exploit Croatian, Bosnian, and Romanian women and some             charged or detained for commercial sex-related crimes for trafficking
Afghan, Filipino, Nepali, Pakistani, Taiwanese, and Thai men in forced         indicators and refer identiﬁed victims to care. • Allow an independent
labor in the Croatian agricultural sector. Men also are exploited in forced    international commission to monitor the government-sponsored labor
begging and forced criminality, including theft and fraud. Traffickers         export program. • Train those responsible for enforcing the labor code
increasingly use the internet, in particular social media platforms,           to screen for trafficking indicators and educate all Cuban workers about
to recruit children for sex trafficking. Undocumented migrants and             trafficking indicators and how to report trafficking-related violations.
asylum seekers from Afghanistan, Iraq, Syria, and neighboring countries        • Establish a permanent inter-ministerial anti-trafficking committee. •
traveling or being smuggled through Croatia are vulnerable to trafficking,     Create a new national anti-trafficking action plan in partnership with
particularly women and unaccompanied children. In 2018, Taiwanese              international organizations. • Provide specialized training on trafficking
women and men were exploited in forced labor and forced criminality            indicators for hotline staff and interpretation for non-Spanish speakers.
in an illegal call center. Individuals experiencing homelessness, children
in the social welfare system, and persons with mental and physical             PROSECUTION
disabilities are particularly vulnerable to trafficking.                       The government did not report making law enforcement efforts to combat
                                                                               trafficking in persons. Authorities in the Ministry of Justice continued to
                                                                               be complicit in state labor export schemes by prosecuting people who
                                                                               abandoned the government-sponsored labor export programs due to
 CUBA: TIER 3                                                                  abuses and exploitative practices that could amount to human trafficking.
                                                                               The Cuban penal code criminalized some forms of sex trafficking and
                                                                               labor trafficking. Article 302 (“procuring and trafficking in persons”)
The Government of Cuba does not fully meet the minimum standards               criminalized inducing another person to engage in prostitution or
for the elimination of trafficking and is not making signiﬁcant efforts        cooperating, promoting, or beneﬁting from such an act and prescribed
to do so, even considering the impact of the COVID-19 pandemic, if             penalties of four to 10 years’ imprisonment. These penalties were
any, on its anti-trafficking capacity; therefore Cuba remained on Tier 3.      sufficiently stringent and commensurate with those prescribed for
Despite the lack of signiﬁcant efforts, the government took some steps to      other serious crimes, such as rape. Inconsistent with the deﬁnition of
address trafficking, including investigating, prosecuting, and convicting      trafficking under international law, the law established the use of force,
traffickers, and identifying victims. However, during the reporting            fraud, or coercion as aggravating factors, rather than essential elements

                                                                                                                                  Haiti AR_000674             193
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 299 of 729
CUBA   of the crime. Article 310 (“corruption of minors”) criminalized the use of        and/or Communist Party deemed subversive. In 2020, the government
       a person younger than the age of 16 for sexual purposes and prescribed            provided general support to 16 victims, which included medical and
       penalties of seven to 15 years’ imprisonment, which were sufficiently             psychological care, school reintegration assistance, and some ﬁnancial
       stringent and commensurate with those prescribed for other serious                support. Neither the government nor the government-organized NGOs
       crimes, such as rape. Article 312 (“corruption of minors”) criminalized the       operated shelters or provided services speciﬁcally for adult male or
       use of a person younger than the age of 16 for begging and prescribed             LGBTQI+ victims. Police encouraged child sex trafficking victims younger
       penalties of two to ﬁve years’ imprisonment or a ﬁne; these penalties             than the age of 16 to assist in prosecutions of traffickers by gathering
       were sufficiently stringent. Article 316 (“sale and trafficking of minors”)       testimony through psychologist-led videotaped interviewing, usually
       criminalized the sale or illegal adoption of a person younger than the age        removing the need for children to appear in court. The government did
       of 16 for “international trafficking relating to corrupting or pornographic       not report using these tools during the reporting period. Observers
       conduct, the practice of prostitution, trade in organs, forced labor, or          reported law enforcement did not proactively screen for indicators of
       activities linked to narcotics trafficking or illicit drug use,” and prescribed   trafficking as police may have detained individuals in commercial sex
       penalties of seven to 15 years’ imprisonment. These penalties were                or charged them with crimes such as “social dangerousness,” thereby
       sufficiently stringent and, with respect to sex trafficking, commensurate         potentially penalizing some victims for unlawful acts traffickers coerced
       with other grave crimes, such as rape. Inconsistent with international            them to commit. The government did not report identifying any foreign
       law, these provisions deﬁned a minor as younger than the age of 16                trafficking victims in Cuba in 2020.
       instead of 18. Provisions relating to adult and child trafficking did not
       explicitly criminalize the acts of recruitment, transport, and receipt            PREVENTION
       of persons for these purposes. Cuban law did not explicitly prohibit              The government made some efforts to prevent sex trafficking, particularly
       labor trafficking as deﬁned in international law. The government did              child sex tourism, but did not make any efforts to prevent forced labor.
       not make efforts to amend the criminal code to address trafficking in             The government continued to use the expired 2017-2020 national anti-
       line with international law.                                                      trafficking action plan, which included some efforts to prevent trafficking,
                                                                                         protect victims, investigate and prosecute traffickers, and promote
       In December 2021, the government published official data for calendar
                                                                                         international cooperation. Authorities did not make any efforts to revise
       year 2020 on prosecutions and convictions, the most recent data
                                                                                         or approve a new national action plan. The government published its
       available. The government’s annual report was the primary source of
                                                                                         annual report of anti-trafficking efforts in December 2021, covering 2020.
       information on its efforts. The government suppressed independent
                                                                                         Officials held training sessions for government employees, students,
       domestic sources, and some independent sources provided information
                                                                                         and tourist industry employees on the prevention and detection of
       on trafficking efforts and trends. Authorities did not indicate how many
                                                                                         trafficking crimes. The government and the FMC continued to operate a
       trafficking cases they investigated, prosecuted, or convicted in 2021. The
                                                                                         24-hour telephone line for individuals needing legal assistance, including
       government did not report investigating cases in 2020 and prosecuted
                                                                                         sex trafficking victims; none of the 129,020 calls to this hotline were in
       17 suspects for possible trafficking crimes (16 for sex trafficking and one
                                                                                         reference to trafficking in persons.
       for forced labor), compared with 15 prosecutions in 2019, 20 in 2017,
       and 21 in 2016. Officials reported convicting 18 potential traffickers            State media continued to produce newspaper articles and television
       (17 for sex trafficking and one for forced labor), compared with 24 in            and radio programs, including public service announcements, to raise
       2019; however, because Cuba’s law was broad, it was unclear if the                public awareness about sex trafficking. The FMC raised public awareness
       cases reported constituted trafficking as deﬁned in international law.            through workshops and training with government officials, social workers,
       Sentences ranged from ﬁve to 17 years’ imprisonment.                              educators, and students, as well as the distribution of materials explaining
                                                                                         trafficking and its risks; however, there were no publicly available
       The government organized and sponsored training for law enforcement
                                                                                         materials that showed the effectiveness or impact of these programs.
       officers, prosecutors, and judges on investigating and prosecuting
                                                                                         Authorities maintained an office within the Ministry of Tourism charged
       sex trafficking crimes, as well as analytical techniques for addressing
                                                                                         with monitoring Cuba’s image as a tourism destination, combating
       complex cases. The government cooperated with INTERPOL and the
                                                                                         sex tourism, and addressing the demand for commercial sex acts. The
       Government of Ecuador to investigate a transnational trafficking case
                                                                                         government did not report efforts to reduce its nationals’ participation in
       involving 10 alleged Cuban traffickers. Officials did not report if authorities
                                                                                         child sex tourism but reported coordinating with a foreign government
       prosecuted or convicted these individuals during the reporting period.
                                                                                         to prevent the entry of convicted sex offenders into the country.
       Authorities had 20 bilateral cooperation agreements or memoranda of
       understanding that included trafficking; however, the government did not          The Ministry of Labor and Social Security (MOL) trained organizations
       report tangible results associated with these agreements. Authorities did         working with disabled individuals on the identiﬁcation of cases of human
       not report any investigations, prosecutions, or convictions of government         trafficking cases. In addition, the MOL conducted 4,246 labor inspections
       officials complicit in trafficking, despite persistent allegations that           but did not identify any cases of forced labor. Authorities reported taking
       officials threatened and coerced some participants to remain in the               steps to identify and prevent young people who might be vulnerable
       government-sponsored labor export program.                                        to traffickers from traveling abroad, and in 2020, they prevented four
                                                                                         individuals from traveling after officials identiﬁed concerns with the
       PROTECTION                                                                        employment contracts. Authorities may have used these authorities to
       The government decreased efforts to identify or protect trafficking               target those who might want to leave the country. The government did
       victims and continued to coerce individuals—using deceptive and                   not implement policies to prohibit force, fraud, or coercion by foreign
       exploitive tactics—to participate and remain in government-sponsored              labor recruiters and state-owned or controlled enterprises in recruiting
       labor export programs. Authorities identiﬁed 18 victims (17 for sex               and retaining employees, despite persistent allegations Cuban officials
       trafficking and one for forced labor) in 2020, compared with 25 in                threatened and coerced some participants to remain in government-
       2019. In previous years, the government reported having procedures to             sponsored labor export programs. The government did not explain
       proactively identify and refer sex trafficking victims to care; however, the      international labor standards to members of its labor export schemes
       government lacked formal procedures to identify victims in police raids           working in conditions that might be considered trafficking.
       and relied on victims to self-identify. The government did not report
       having procedures to identify victims of forced labor, and no information         TRAFFICKING PROFILE
       was available about the number of labor inspectors. NGOs organized by             As reported over the past ﬁve years, human traffickers exploit domestic
       the government or Communist Party of Cuba, such as the Federation of              and foreign victims in Cuba, and traffickers exploit victims from Cuba
       Cuban Women (FMC), the Prevention and Social Assistance Commission,               abroad. Human trafficking concerns in Cuba fall under two broad
       and the Committees for the Defense of the Revolution (CDRs), could                categories: sex trafficking and forced labor, and government-sponsored
       identify and refer trafficking victims to state authorities and provide           labor export programs. Sex trafficking and sex tourism, including of
       some victim services, including psychological treatment, health care,             child victims, occur within Cuba. Traffickers exploit Cuban citizens
       skills training, and assistance in ﬁnding employment; however, these              in sex trafficking and forced labor in Africa, Asia, the Caribbean, the
       services were often politicized and unavailable to people the government          Mediterranean, Latin America, and the United States. Traffickers exploit

194                                                                                                                                   Haiti AR_000675
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 300 of 729




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foreign nationals from Africa and Asia in sex trafficking and forced labor              and are forced to falsify medical records. Many medical professionals
in Cuba to pay off travel debts. The government identiﬁed children,                     reported being sexually abused by their supervisors. While the medical
young women, elderly, and disabled persons as the most vulnerable to                    missions remain the most prevalent, the government proﬁted from other
trafficking. Experts raised concerns about Cuba’s LGBTQI+ population                    similarly coercive labor export programs, including teachers, artists,
and its vulnerability to sex trafficking and the increasing vulnerability               athletes, sports coaches, engineers, forestry technicians, and nearly
of Cuban economic migrants, including cases of professional baseball                    7,000 merchant mariners across the world.
players, to labor and sex trafficking. The government uses some high
school students in rural areas to harvest crops and does not pay them
for their work but claims this work is voluntary.
International observers and former participants reported government                      CURAÇAO: TIER 3†
officials force or coerce individuals to participate and remain in the Cuban
government’s labor export programs, particularly the foreign medical                    The Government of Curaçao does not fully meet the minimum standards
missions program, managed by the Unidad Central de Cooperación                          for the elimination of trafficking and is not making signiﬁcant efforts
Médica (UCCM), the Ministry of Health, and the Ministry of Foreign Trade                to do so, even considering the impact of the COVID-19 pandemic on
and Investment. The government has not addressed its exploitative,                      its anti-trafficking capacity; therefore Curaçao was downgraded to Tier
deceptive, and coercive policies in these missions, which are clear                     3. Despite the lack of signiﬁcant efforts, the government took some
indicators of human trafficking. According to a government report,                      steps to address trafficking, including providing pre-trial support to
by the end of 2020, there were 56 brigades of the “Henry Reeve”                         three victims participating in legal proceedings against traffickers,
contingent in 40 countries with 4,941 medical workers, included in the                  awarding restitution to two sex trafficking victims, and extending the
30,407 workers in 66 countries. The labor export program employed or                    use of the national action plan (NAP) that expired in December 2021.
currently employs professionals in Algeria, Angola, Antigua and Barbuda,                However, the government did not convict any traffickers, it did not
The Bahamas, Bahrain, Barbados, Belize, Bolivia, Botswana, Brazil,                      identify any victims, and it continued to condition foreign victims’
Burkina Faso, Cabo Verde, Chad, Djibouti, Dominican Republic, Ecuador,                  assistance, including residency, on cooperation with law enforcement in
Equatorial Guinea, Eswatini, Ethiopia, The Gambia, Ghana, Guatemala,                    cases against traffickers. Lack of funding remained a primary obstacle
Guinea, Guinea Bissau, Guyana, Haiti, Honduras, Italy, Jamaica, Kenya,                  to robust anti-trafficking efforts. Officials conﬂated human trafficking
Kuwait, Lesotho, Liberia, Maldives, Mauritania, Mexico, Mozambique,
                                                                                        with migrant smuggling, hindering the effectiveness of prosecution,
Namibia, Niger, Nicaragua, Palau, Panama, Peru, Portugal, Qatar, St.
                                                                                        prevention, and protection efforts. The judiciary’s limited familiarity
Lucia, St. Vincent and the Grenadines, Saudi Arabia, Seychelles, Sierra
                                                                                        with trafficking contributed to frequent acquittals in trafficking cases.
Leone, South Africa, Suriname, Tanzania, Timor-Leste, Togo, Trinidad
and Tobago, Uganda, United Arab of Emirates, Uruguay, Venezuela,
                                                                                                  CURAÇAO TIER RANKING BY YEAR
and Zimbabwe. Some overseas departments or territories, such as the
                                                                                              1
British Virgin Islands, French Guiana, Grenada, Montserrat, Martinique,
and Turks and Caicos, may have Cuban workers who may have been                                2
forced to work by the Cuban government. Authorities employ workers                         2WL
through contracts with foreign governments and, in some countries,                            3
with international organizations serving as intermediaries or providing                              2015     2016     2017      2018   2019     2020      2021    2022
funds for their work. According to the government, 75 percent of its
exported workforce are medical professionals. Experts estimated the
Cuban government collected $6 billion to $8 billion annually from its
                                                                                        PRIORITIZED RECOMMENDATIONS:
export of services, namely the foreign medical missions program. The
                                                                                        Increase efforts to identify victims, including through proactively
government has stated the postings are voluntary, and some participants
                                                                                        screening vulnerable populations, such as migrants and individuals in
have also stated the postings are voluntary and better-paid compared
                                                                                        commercial sex. • Provide potential victims, including those who choose
to low-paying jobs within Cuba, where basic wages for a doctor are
                                                                                        not to cooperate with law enforcement in cases against traffickers,
$55 a month. In almost all accounts, workers receive only a portion of
                                                                                        with services and legal alternatives to deportation, especially where
their salary ranging from 5 to 25 percent, and these funds are retained
                                                                                        victims face harm or abuse in their home country. • Routinely screen
in Cuban bank accounts—often in Cuban pesos rather than the hard
                                                                                        detained migrants for trafficking indicators and train detention center
currency the government is paid for their services, which are relinquished
                                                                                        staff on victim identiﬁcation procedures. • Uphold the reﬂection period
if the participant leaves the program.
                                                                                        and refer victims to protection services without requiring them ﬁrst
In 2021, and with the support of an international NGO, 1,111 alleged victims            to commit to assist a criminal investigation. • Improve coordination
of trafficking ﬁled a complaint with the International Criminal Court and               and information-sharing with anti-trafficking counterparts across
the UN, claiming the Cuban government was responsible for exploiting                    the Kingdom of the Netherlands. • Vigorously prosecute and convict
them and forcing them to work in Cuba’s labor export programs. The                      traffickers, including complicit officials, sentencing them to signiﬁcant
complaint stated that 75 percent of participants reported not volunteering              prison terms. • Disseminate to law enforcement and detention facility
for the missions, 33 percent never saw a contract, 69 percent did not                   staff standard operating procedures for victim identiﬁcation and referral
know their ﬁnal destination, 38 percent had their passport taken away                   and train officials on their use. • Provide specialized care and assistance
by Cuban officials once they arrived at their destination, 76 percent had               for trafficking victims, including male victims. • Allocate and disburse
“minders,” 76 percent could not freely befriend locals, 79 percent had                  sufficient resources for anti-trafficking efforts, including protection
restrictions of movement, 91 percent were told they could not return to                 services and funding for full implementation of the NAP. • Provide
Cuba if they defected, 75 percent suffered threats or witnessed coworkers               targeted resources and training for local officials to conduct outreach
be threatened, and 40 percent were separated from minor children as                     to vulnerable communities through awareness campaigns on workers’
punishment for defecting. The Cuban government acknowledges that                        rights, trafficking indicators, and available resources.
it withholds passports of overseas medical personnel in Venezuela;
the government provided identiﬁcation cards to such personnel. Many                     PROSECUTION
Cuban medical personnel claim they work long hours without rest                         The government decreased prosecution efforts. Article 2:239 of the penal
and face substandard and dangerous working and living conditions                        code criminalized sex trafficking and labor trafficking and prescribed
in some countries, including a lack of hygienic conditions and privacy,                 penalties of up to nine years’ imprisonment or a ﬁfth category ﬁne of



† Curaçao is a semi-autonomous entity within the Kingdom of the Netherlands. For the purpose of this report, Curaçao is not a “country” to which the minimum standards
for the elimination of trafficking in the Trafficking Victims Protection Act apply. This narrative reﬂects how Curaçao would be assessed if it were a separate, independent
country. However, the Kingdom is an important contributor to the Government of Curaçao’s anti-trafficking efforts.
                                                                                                                                               Haiti AR_000676                195
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 301 of 729
CURAÇAO   up to $56,000 for offenses involving a victim 16 years of age or older,           victims was contingent upon cooperation with law enforcement efforts
          and up to 12 years’ imprisonment or a ﬁne for those involving a victim            to prosecute traffickers. The government’s procedures outlined standard
          younger than 16. These penalties were sufficiently stringent and, with            services for trafficking victims, including shelter, meals, medical attention,
          respect to sex trafficking, commensurate with those prescribed for                and psychological services, and assigned an agency to provide each
          other serious crimes, such as kidnapping.                                         service; however, officials did not report providing such services to any
                                                                                            victims during the year. The agencies responsible lacked dedicated funds
          The Curaçao Police Force’s organized crime unit (DGC) was the lead
                                                                                            to furnish these services; consequently, service provision was inconsistent,
          agency for law enforcement efforts to combat trafficking. Authorities
                                                                                            and the costs often fell to the DGC or international organizations. Civil
          initiated one investigation in 2021, compared with one in 2020 and one
                                                                                            society organizations provided most requisite services, such as housing
          in 2019. The government did not report any ongoing investigations from
                                                                                            and medical care, to the three victims participating in trials against
          previous years. The government prosecuted one alleged trafficker for
                                                                                            traffickers during the reporting period.
          sex and labor trafficking in 2021, compared with no prosecutions in 2020
          and prosecuting four traffickers (in one case) in 2019. Judges did not            Trafficking victims willing to participate in trials against traffickers could
          convict any traffickers in 2021, compared with convicting ﬁve traffickers         apply for a temporary residence permit valid for six months. Officials
          (three for sex trafficking and two for sex and labor trafficking) in 2020         could renew the permit if the criminal investigation or prosecution of the
          and eight traffickers in 2019. Curaçaoan prosecutors defended the 2019            trafficker continued; however, authorities canceled residence permits
          convictions of ﬁve sex traffickers in a Netherlands-based appellate court;        upon the conclusion or dismissal of these criminal proceedings. In
          the court ruled to reaffirm the convictions. The courts ruled to acquit           practice, funding shortfalls delayed processing of permit applications,
          six alleged traffickers of trafficking charges—four in a labor trafficking        creating uncertainty for foreign trafficking victims otherwise vulnerable
          case initiated in 2017, one in a labor trafficking case initiated in 2019,        to deportation. Foreign victims who did not participate in investigations
          and one in a sex and labor trafficking case initiated in 2021. Observers          against traffickers were not eligible for temporary residence permits
          reported the judiciary’s limited familiarity with trafficking led prosecutors     and could not legally remain in Curaçao; due to inconsistent application
          to charge traffickers with related crimes carrying lighter sentences—such         of victim identiﬁcation protocols and conﬂation between trafficking
          as migrant smuggling and labor code violations—instead of trafficking             and smuggling, authorities likely deported some mis- or unidentiﬁed
          to secure a conviction; courts often convicted suspected traffickers              trafficking victims, including Venezuelan nationals. Observers reported
          of these related crimes in lieu of trafficking, even when prosecutors             the pandemic likely contributed to fewer deportations during the
          levied trafficking charges. Prosecutors reported there were no ongoing            reporting period. Through a separate administrative process, victims were
          trafficking prosecutions or appeals related to trafficking cases at the           eligible to apply for temporary work permits; however, many victims could
          end of the reporting period. The government did not report any new                not afford the costs related to the application. The government reported
          investigations, prosecutions, or convictions of government employees              the courts awarded 3,000 Antillean guilder ($1,690) in restitution to
          complicit in human trafficking crimes; however, appellate courts ruled            two sex trafficking victims in 2021; in another case, the courts referred a
          in two cases involving police officers allegedly complicit in trafficking         victim and his spouse to civil court to seek compensation after acquitting
          crimes. In the ﬁrst case, the court acquitted the official of labor trafficking   the suspected trafficker.
          charges, instead sentencing him to a six-month suspended sentence
                                                                                            The government had a handbook outlining the procedure for identifying
          and 240 hours of community service for facilitating migrant smuggling
                                                                                            trafficking victims and referring them to services, developed in
          and violating labor regulations. In the second, the court reaffirmed the
                                                                                            coordination with an international organization in 2020; in January
          complicit official’s sex trafficking conviction.
                                                                                            2021, the government expanded use of these procedures to assist male
          Law enforcement suffered from budget and personnel shortages                      trafficking victims, as well as female victims. The government worked
          across all units. Officials typically requested funding from the central          with the organization again in 2021 to train officials from the police force,
          Ministry of Justice (MOJ) budget on a case-by-case basis, but the                 Ministry of Labor, and other ministries on the handbook. The government
          government did not ﬁll all trafficking-related funding requests, citing           handbook for victim identiﬁcation and referral stipulated officials would
          funding limitations. Some officials reported the lack of funding and              refer all potential trafficking victims to the victim support bureau (SSHC)
          lengthy request process disincentivized investigation of trafficking              and the DGC. The government did not operate any specialized shelters
          crimes. MOJ reported it sometimes directed law enforcement officers               for trafficking victims. The government could place some trafficking
          away from routine duty, including anti-trafficking efforts, to enforce            victims—adult women and their children up to 12 years of age—in an
          curfews and mandatory closures or cover staffing gaps attributable                NGO shelter for victims of domestic violence that could accommodate
          to the pandemic. The government did not provide trafficking-related               up to eight individuals; increased domestic violence cases meant the
          investigative training opportunities for law enforcement. The government          shelter had reduced capacity to accommodate trafficking victims. The
          continued to address human trafficking and migrant smuggling with the             government could refer child trafficking victims to guardianship councils
          same resources and procedures, frequently charging traffickers with               for placement in boarding school or foster care; the government did not
          smuggling crimes; officials often conﬂated the two crimes.                        assist any child trafficking victims in 2021. There were no government
                                                                                            or NGO shelters equipped to serve male victims; authorities reported
          PROTECTION                                                                        difficulty arranging housing for male trafficking victims in rented
          The government maintained inadequate protection efforts. Authorities              accommodations due to budget constraints. Authorities required victims
          did not identify any victims for the second consecutive year, compared            to check in with shelter staff when leaving the facility. When existing
          with identifying three victims in 2019 and 44 victims in 2018. Officials          shelter facilities reached maximum capacity, the government placed
          reported a civil society organization identiﬁed one potential sex                 victims in short-term government-funded accommodations.
          trafficking victim, a Colombian woman; however, the government did
                                                                                            Under the 2017-2021 NAP, victims could reﬂect for 30 days before
          not identify her as a trafficking victim after officials interviewed her
                                                                                            deciding to participate in the trial against the trafficker; however, the
          and could not substantiate reports of her exploitation. Officials did
                                                                                            government reported it shortened the reﬂection period in January 2021
          not regularly perform proactive screenings among vulnerable groups,
                                                                                            to 15 days. The government did not report implementing the 15-day
          such as individuals in commercial sex, construction, supermarkets, and
                                                                                            reﬂection period in 2021 or the 30-day reﬂection period in 2020 or
          catering, despite a Kingdom-wide requirement to do so. Similarly, the
                                                                                            2019. The government did not report any trafficking victim assistance
          government did not report screening other vulnerable groups, such as
                                                                                            expenditures in 2021, compared with 8,000 Antillean guilder ($4,490)
          Venezuelans, for trafficking indicators.
                                                                                            in 2020. Similarly, the government did not report the operating budget
          The government provided some pre-trial support to three trafficking               for the SSHC, which supported victims of all crimes; in 2020, the SSHC
          victims participating in ongoing prosecutions against traffickers (two            operated with a budget of 307,000 guilder ($172,470). Foreign victims
          sex trafficking victims and one labor trafficking victim, all identiﬁed           were entitled to similar care as domestic victims. The government’s
          in previous reporting periods), compared with providing shelter                   policies included providing no-cost medical insurance, funded by the
          and healthcare services to one victim, also supporting a trafficking              Ministry of Social Services and Labor, to foreign trafficking victims;
          prosecution, in 2020 and 12 victims in 2019. In practice, assistance for          because officials required victims to demonstrate adequate medical
                                                                                            coverage to apply for residency, this new policy eliminated one barrier to
 196                                                                                                                                       Haiti AR_000677
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 302 of 729




                                                                                                                                                                  CYPRUS
obtaining a residence permit. Kingdom evaluators determined officials            the Anti-Trafficking Unit (ATU) and SWS officers on the national referral
inconsistently informed victims of their rights as trafficking victims,          mechanism (NRM). Civil society reported the implementation of the NRM
especially foreign victims, and lacked written resources enumerating             improved and the service quality at the government-run shelter was
these rights in common languages.                                                appropriate. The government arranged for foreign national victims to
                                                                                 return to Cyprus to testify and paid accommodation and travel expenses
PREVENTION                                                                       for family members to support a victim during the trial. The government
The government maintained insufficient prevention efforts. The national          launched an anti-trafficking hotline and formed a sub-committee on
coordinator nominally led the interagency anti-trafficking task force            creating awareness campaigns on demand reduction for commercial sex.
and oversaw the government’s efforts to combat trafficking; however,             Although the government meets the minimum standards, it prosecuted
the coordinator had other full-time duties. The government reported              fewer suspects and identiﬁed fewer victims. Judges issued suspended
allocating dedicated funds, 131,500 Antillean guilder ($73,880), for             sentences or a ﬁne to half of the convicted traffickers, which was not
anti-trafficking efforts in the national budget for the ﬁrst time; however,      equal to the seriousness of the crime, undercut efforts to hold traffickers
due to government-wide austerity measures, it may not have disbursed             accountable, and weakened deterrence. SWS continued to not respond
all funds outlined in the budget. The task force met frequently in 2021,         to referrals of some potential victims in a timely manner and failed to
and a separate inter-ministerial group met monthly to coordinate anti-           refer all potential victims to police for official identiﬁcation procedures.
trafficking efforts across the government. The government began drafting
a 2022-2026 NAP to guide anti-trafficking efforts; during the reporting
                                                                                          CYPRUS TIER RANKING BY YEAR
period, it extended the 2017-2021 NAP to remain in effect until replaced.
                                                                                      1
The national coordinator continued to participate in radio and television
                                                                                      2
programming. The government launched a new trafficking-awareness
website and shared awareness materials on social media. MOJ reported it             2WL
allocated 91,000 Antillean guilder ($51,120) to fund the website’s upkeep             3
and other awareness-raising efforts over three years; the Netherlands                        2015     2016      2017    2018   2019    2020     2021    2022
contributed an unspeciﬁed share of this funding. The SSHC operated
a victim assistance hotline, which received one trafficking-related call;
calls to the hotline were not toll-free. The government did not conﬁrm
                                                                                 PRIORITIZED RECOMMENDATIONS:
whether it continued a public awareness campaign informing the
                                                                                 Vigorously investigate, prosecute, and convict traffickers under Law
public that women, especially foreign women, employed in Curaçaoan
                                                                                 60(I), including complicit officials. • Sentence convicted traffickers to
bars could be sex trafficking victims. The government did not make
                                                                                 prison terms consistent with prescribed penalties and train judges at
efforts to reduce demand for commercial sex. The Ministry of Foreign
                                                                                 all levels of the judiciary to take the severity of trafficking into account
Affairs did not report whether it continued to coordinate with airport
                                                                                 when issuing sentences. • Allocate sufficient resources to enable police to
administration to monitor ticketing and passenger logs for patterns
                                                                                 effectively investigate all offenses and SWS to refer all potential victims in
indicative of human trafficking.
                                                                                 a timely manner. • Reduce delays in providing victim assistance, including
                                                                                 access to health care, rental disbursements, and ﬁnancial assistance. •
TRAFFICKING PROFILE                                                              Increase training for government personnel, particularly SWS officials,
As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                 on victim identiﬁcation, assistance, and referral. • Proactively identify
and foreign victims in Curaçao. Undocumented migrants in Curaçao,
                                                                                 victims among vulnerable populations, including migrants, asylum
especially the substantial population of Venezuelan nationals, are
                                                                                 seekers, and agricultural workers. • Reduce delays in court proceedings.
vulnerable to both sex and labor trafficking. In 2020, pandemic-related
                                                                                 • Strengthen the capacity of the Labor Inspectorate to identify and
movement restrictions prevented migrants from departing Curaçao,
                                                                                 refer victims of forced labor. • Improve victim-centered investigations
creating new trafficking risks for migrants who lost work during the
                                                                                 and prosecutions and implement witness protection measures when
economic downturn associated with the pandemic; traffickers may
                                                                                 necessary. • Implement recommendations made by the Ombudsman
have exploited some of these individuals, taking advantage of their
                                                                                 and other entities that monitor and evaluate anti-trafficking policies
vulnerable position. Officials reported traffickers’ activity increased during
                                                                                 and efforts. • Train judges on restitution in criminal cases, establish
the pandemic, especially individual traffickers acting independently.
                                                                                 procedures to seize assets from traffickers, and create effective methods
Traffickers exploit women and girls from Curaçao, Dominican Republic,
                                                                                 to allocate restitution in a timely manner. • Inform all identiﬁed victims
and Venezuela, among other countries, in sex trafficking. Bar owners
                                                                                 of their right to pursue compensation and encourage them to do so.
recruit women and girls to work as waitresses or “trago girls” and
subsequently force them into commercial sex. Traffickers exploit migrant
                                                                                 PROSECUTION
workers from other Caribbean countries, South America, China, and
                                                                                 The government increased prosecution efforts. Laws 117(I)/2019
India in domestic servitude, as well as forced labor in construction,
                                                                                 and 60(I)/2014 criminalized sex trafficking and labor trafficking and
landscaping, minimarkets, retail, and restaurants. Venezuelan migrants
                                                                                 prescribed penalties up to 25 years’ imprisonment for offenses involving
are vulnerable to exploitation by Spanish-speakers purporting to offer
                                                                                 an adult victim and up to life imprisonment for offenses involving a child
employment assistance in Curaçao. Recent research suggests traffickers
                                                                                 victim. These penalties were sufficiently stringent and, with regard to sex
in Curaçao may exploit more domestic and more male victims than
                                                                                 trafficking, commensurate with those for serious crimes, such as rape.
previously understood.
                                                                                 Police investigated 22 suspects in 11 cases, compared with 18 suspects
                                                                                 in seven cases in 2020; 11 suspects were investigated for sex trafficking,
                                                                                 seven for forced criminality, and four for forced labor. The government
                                                                                 prosecuted 21 defendants in 12 new cases in 2021, compared with 23
 CYPRUS: TIER 1                                                                  defendants in 2020; 14 defendants were prosecuted for sex trafficking,
                                                                                 four for forced labor, and three for forced criminality. The government
The Government of the Republic of Cyprus fully meets the minimum                 continued to prosecute 71 defendants in 26 cases, compared with
standards for the elimination of trafficking. The government made key            86 defendants in 27 cases. The government convicted 10 traffickers
achievements to do so during the reporting period, considering the               under the trafficking law, four for sex trafficking and six for forced
impact of the COVID-19 pandemic, if any, on its anti-trafficking capacity;       labor; these were the ﬁrst trafficking convictions in four years. Judges
therefore Cyprus was upgraded to Tier 1. These achievements included             sentenced one trafficker to eight years’ imprisonment, two traffickers
convicting traffickers for the ﬁrst time in three years. The government          to two years’ imprisonment, and two traffickers to one year and eight
hired additional social workers and created a new Deputy Ministry of             months’ imprisonment. However, judges sentenced four traffickers
Social Welfare Services (SWS), which will help coordinate and strengthen         with only a three-year suspended sentence and one trafficker with a
victim protection. The Minister of Justice signed an MOU with the new            ﬁne of €14,950 ($16,950). Such lenient sentences undercut efforts to
Deputy Minister of Social Welfare to streamline cooperation between              hold traffickers accountable, weakened deterrence, created potential

                                                                                                                                      Haiti AR_000678             197
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 303 of 729
CYPRUS   security and safety concerns for victims, and were not equal to the               potential victims did not have access to adequate accommodations and
         seriousness of the crime. Courts also convicted three perpetrators, initially     ﬁnancial assistance. SWS maintained 42 officers dedicated to assisting
         prosecuted under the trafficking law for lesser offenses, compared with           newly arrived asylum seekers and implementing a screening system,
         two in 2020; the offenses included possession and supply of narcotics,            including screening for indicators of trafficking. However, observers
         assault, and fraudulent registration of a foreigner. The government               reported SWS deployed only a small number of the 42 officers to
         reported occasional personnel shortages and delays in investigation               reception centers. SWS assigned an on-call officer outside of working
         and prosecutions due to the COVID-19 pandemic.                                    hours and on weekends to provide emergency accommodation and
                                                                                           ﬁnancial support to potential victims, but observers noted that at
         The Ministry of Justice and Public Order maintained the ATU, which
                                                                                           times the NRM was not fully functional on weekends, and in previous
         conducted proactive investigations and used special investigative
                                                                                           years, the on-call SWS officer did not deem potential trafficking cases
         techniques, including surveillance, undercover operations, informants,
                                                                                           an emergency. The ATU interviewed 101 potential victims referred by
         and wire-tapping. However, observers reported that inadequate staffing
                                                                                           SWS, compared with 196 in 2020. The government trained SWS officers
         and growing responsibilities outside of ATU’s mandate limited the
                                                                                           on various victim protection efforts.
         number of proactive investigations. For example, ATU spent much of its
         time helping victims with issues under the mandate of SWS, including              The law entitled officially identiﬁed victims to psycho-social services,
         assisting victims with administrative forms, applying for jobs on their           health care, translation and interpretation services, education, vocational
         behalf, and supporting victims with drug rehabilitation. GRETA and OSCE           training, and ﬁnancial assistance. Once ATU officially identiﬁed a victim,
         reported cases relied heavily on victim and witness testimonies, and              SWS evaluated the needs of victims and referred them to the appropriate
         the government often did not provide or seek corroborating evidence.              government agencies and NGOs for assistance. SWS operated a
         In previous years, court proceedings lasted up to three years, and the            specialized shelter for female sex trafficking victims with the capacity
         government did not consistently ensure the continued inclusion of                 to accommodate 15 victims; the SWS-run shelter accommodated 33
         victim testimony after foreign national victims and witnesses returned            victims in 2021 (50 in 2020). Victims may stay in the shelter for one
         to their countries of origin, resulting in lenient sentences, cases tried         month or longer, as appropriate, for a reﬂection period. The SWS-run
         under lesser crimes, and acquittals of suspects on trafficking charges            shelter allowed adult victims to leave the shelter voluntarily after an
         due to a lack of other evidence. The government did not report any new            assessment conducted by the ATU. The government allocated €459,100
         investigations, prosecutions, or convictions of government employees              ($520,520) to operate the SWS-run shelter in addition to staff salaries,
         complicit in human trafficking crimes; however, the government reported           compared with €494,008 ($560,100) in 2020. GRETA reported “a high
         prosecuting a contractor working for the Ministry of Education for sex            standard of accommodation” in the SWS-run shelter, including living
         trafficking-related crimes. In September 2018, the ATU and the Internal           conditions, protections, and reintegration programs. NGOs reported
         Affairs Unit arrested and prosecuted four immigration police officers             the overall quality of SWS services improved signiﬁcantly after the
         on suspicion of aiding a criminal network involved in trafficking; the            establishment of the new Deputy Ministry of Social Welfare and also
         trial was ongoing at the end of the reporting period. The ATU and the             reported appropriate service quality at the health care services and
         Police Academy continued to train police officers and prosecutors                 labor office. The government maintained a memorandum of cooperation
         on trafficking issues, including new recruits and immigration officers.           with an NGO to manage transitional housing for female sex trafficking
         The government, in cooperation with civil society, also trained police            victims, which accommodated sex trafficking victims searching for
         officers on various anti-trafficking issues. The government executed              permanent residence after leaving the state-run shelter, and to provide
         three European arrest warrants, issued one European arrest warrant,               longer-term accommodation for female victims in apartments. The
         and extradited a suspect from an EU country. The government started a             government also partnered with an NGO to provide apartments for
         joint investigation with Greek authorities and participated in a EUROPOL          male victims. The government allocated €145,000 ($164,400) to the
         operation on forced labor with 24 countries.                                      two NGOs providing shelter and accommodation, compared with
                                                                                           €164,985 ($187,060) in 2020. The government provided a rent subsidy
         PROTECTION                                                                        and a monthly allowance for all victims, but victims faced obstacles to
         The government maintained victim protection efforts. The government               secure adequate accommodations due to increasing housing costs and
         identiﬁed 22 victims, compared with 25 victims in 2020. Of these, nine            greater demand for low-cost housing. The government did not report
         were sex trafficking victims, eight were forced labor victims, and ﬁve were       the amount allocated for rent allowances and ﬁnancial assistance to
         victims of multiple types of exploitation, including forced criminality;          trafficking victims through a public beneﬁt scheme known as Guaranteed
         13 were women, seven were men, and there was one boy and one girl;                Minimum Income, compared with €213,622 ($242,200) in 2020.
         and 15 were foreign victims. A multi-disciplinary NRM provided standard
                                                                                           The government prioritized public beneﬁt applications from trafficking
         operating procedures for identifying and referring victims to services,
                                                                                           victims over all other beneﬁciaries, but observers continued to report
         including an operational manual, written guidance for ﬁrst responders,
                                                                                           long delays, which were prolonged from reduced staff due to pandemic
         and guidelines speciﬁcally for children. The police conducted proactive
                                                                                           mitigation efforts, and victims waited several months to receive beneﬁts
         identiﬁcation efforts, including in apartments, pubs, and agricultural
                                                                                           with no retroactive payments. SWS provided emergency ﬁnancial
         establishments; but GRETA and other observers reported the ATU lacked
                                                                                           assistance to victims facing delays in receiving monthly allowances, but
         sufficient resources to effectively investigate all referrals of potential
                                                                                           the amount was insufficient to cover basic necessities. The government
         victims, particularly among the increasing number of asylum seekers.
                                                                                           allocated €52,500 ($59,520) for emergency rent and assistance to
         The NRM required ﬁrst responders to conduct preliminary identiﬁcation
                                                                                           cover urgent needs, compared with €36,404 ($41,270) in 2020. The
         of potential victims and refer potential victims to SWS. SWS officers
                                                                                           government continued to fund an NGO-run children’s house to provide
         provided potential victims with information and notiﬁed the ATU, which
                                                                                           education, placement into foster homes, and specialized medical and
         officially identiﬁed victims. The government hired additional social
                                                                                           psycho-social care for child victims of sexual abuse and exploitation,
         workers and a new Deputy Minister in SWS to coordinate trafficking
                                                                                           including trafficking. Victims could access free health care at public
         cases and strengthen victim protection. Additionally, the Minister of
                                                                                           hospitals but did not have access to the General Healthcare System,
         Justice signed an MOU with the Deputy Minister for Social Welfare
                                                                                           established in 2019, which allows free access to participating private
         to streamline cooperation between the ATU and SWS officers on the
                                                                                           sector healthcare providers. Employment counselors trained to handle
         NRM. Civil society and ATU reported the implementation of the NRM
                                                                                           sensitive cases sought suitable employment for each victim, and beneﬁts
         improved, but SWS continued to respond slowly to some referrals of
                                                                                           to victims did not discontinue until a SWS officer and an employment
         potential victims and failed to refer all potential victims to ATU for official
                                                                                           counselor examined each case.
         identiﬁcation procedures. For example, trafficking victims exploited prior
         to arriving in Cyprus and/or applying for asylum at immigration offices           The government maintained a referral system to identify potential victims
         and reception centers may not be identiﬁed, according to GRETA and                among people in detention facilities. In 2021, authorities dropped drug
         other observers, who documented SWS failing to refer some potential               possession charges after identifying a suspect as a trafficking victim,
         victims among asylum seekers to ATU. Additionally, SWS continued to               but due to delays in formal identiﬁcation procedures, other victims
         lack the capacity to maintain contact with potential victims, and some            may have been detained in reception centers while waiting for their
                                                                                           interviews. The government repatriated or granted residence permits
 198                                                                                                                                    Haiti AR_000679
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 304 of 729




                                                                                                                                                           CYPRUS
and work authorization to foreign national victims, including those who       TRAFFICKING PROFILE
decided after their reﬂection period not to cooperate with the police.        As reported over the past ﬁve years, human traffickers exploit domestic
The government granted ﬁve requests for residence and work permits            and foreign victims in Cyprus. Foreign victims identiﬁed in Cyprus in
(eight in 2020) and granted refugee or international protection status        2021 were from the Democratic Republic of the Congo, Egypt, Nigeria,
to six victims (three in 2020). However, in November 2020, the Ministry       Romania, Russia, and Syria. In previous years, victims were also from
of Interior (MOI) informed a foreign labor trafficking victim—identiﬁed       Cameroon, China, Czechia, Ethiopia, Greece, India, Moldova, Nepal, the
in 2015—that his residence and work permits would not be renewed              Philippines, Sri Lanka, Ukraine, Uzbekistan, and Vietnam. Traffickers
and that he would be processed for repatriation due to the absence            subject women, primarily from Eastern Europe, South and Southeast
of a criminal court case against his traffickers. Prosecutors reportedly      Asia, and sub-Saharan Africa, to sex trafficking. Sex trafficking occurs
declined to prosecute his case due to a lack of corroborating evidence,       in private apartments and hotels, on the street, and in bars, pubs,
and police arrested and detained the trafficking victim on March 14, 2021.    coffee shops, massage parlors, and cabarets known for the availability
After the international community inquired about the case, authorities        of commercial sex. Traffickers exploit short-term tourist visas available
released the victim on March 31, but his residency and work permits           to Ukrainian and Russian nationals to recruit young women for sex
were still pending. Specialized personnel in the ATU, including a forensic    trafficking in bars and private establishments and recruit some female
psychologist, conducted interviews with victims before taking an              sex trafficking victims with false promises of marriage or work as
official statement; 22 victims assisted law enforcement investigations        barmaids or hostesses. Traffickers subject foreign migrant workers—
(22 in 2020). Police permitted victims to leave Cyprus and return for         primarily from North Africa but also from South and Southeast Asia—to
trial after assessing the potential risks. ATU and SWS arranged for one       forced labor in agriculture. Employment agencies recruit and exploit
victim to return to Cyprus to testify and covered accommodation and           migrant workers who enter the country on short-term work permits in
travel expenses for a victim’s family member to emotionally support the       labor trafficking; after the permits expire, traffickers use debt-based
victim. The government also covered the expenses for two victims to           coercion, threats, and withholding of pay and documents. Domestic
visit their families in their home country and return to Cyprus to serve      workers from India, Nepal, the Philippines, and Sri Lanka are vulnerable
as witnesses in the trial. However, victims and witnesses often left the      to forced labor. Traffickers subject asylum seekers from Southeast Asia,
country and did not return before trial due to long delays, hindering         Africa, and Eastern Europe to forced labor in agriculture and domestic
prosecution efforts. The law entitled victims to witness protection           work. Unaccompanied children, children of migrants, Roma, and asylum
through a request made by the police to the Attorney General; no              seekers are especially vulnerable to sex trafficking and forced labor.
requests were made in 2021 or 2020. Police officers escorted victims          Romani children are vulnerable to forced begging. Traffickers exploit
to court proceedings, and the law allowed courts to hold closed-door          Cypriots addicted to drugs and young women with disabilities to commit
trials, provide a partition to separate victims from their traffickers, use   criminal offenses such as distributing illegal substances and committing
remote testimony, and use video-recorded testimonies for children;            welfare beneﬁts fraud.
the government reported trials did not require these methods in 2021.
Authorities provided victims’ family members living abroad protection         AREA ADMINISTERED BY TURKISH CYPRIOTS
measures from intimidation and retaliation by arranging travel to Cyprus      The northern area of Cyprus is administered by Turkish Cypriots. In
through diplomatic channels. The law allowed restitution through              1983, the Turkish Cypriots proclaimed the area the independent “Turkish
criminal cases and compensation through civil suits, but judges have          Republic of Northern Cyprus” (“TRNC”). The United States does not
never issued restitution, and authorities only approved two applications      recognize the “TRNC,” nor does any other country except Turkey. If the
to date from victims for legal aid to pursue compensation.                    “TRNC” were to be assigned a formal ranking in this report, it would
                                                                              be Tier 3. “TRNC” does not fully meet the minimum standards for the
PREVENTION                                                                    elimination of trafficking and is not making signiﬁcant efforts to do
The government increased prevention efforts. The Multidisciplinary            so, even considering the impact of the COVID-19 pandemic on its anti-
Coordinating Group (MCG) to combat trafficking, composed of relevant          trafficking capacity. Despite the lack of signiﬁcant efforts, “TRNC” took
government agencies and NGOs, implemented and monitored anti-                 some steps to address trafficking. In April 2018, “Parliament” passed the
trafficking efforts. The MCG met three times in 2021 and twice in             2000 UN TIP Protocol and in March 2020, “Parliament” amended the
2020. The government launched a new anti-trafficking hotline and              “TRNC criminal code” to include trafficking for the ﬁrst time. However,
advertised the number in government offices, in police stations, and on       Turkish Cypriot representatives did not investigate, prosecute, or
NGO premises. The hotline received eight calls, none of which led to a        convict any traffickers. Turkish Cypriot representatives did not identify
trafficking prosecution. In 2020, the Ombudsman produced two public           any trafficking victims and provided no victim protection, including
reports on the government’s anti-trafficking policies in response to civil    shelter and social, economic, and psychological services. Turkish Cypriot
society concerns. One report concluded government services did not fully      representatives did not allocate funding, provide training, or implement
implement provisions of the victim protection law because authorities         prevention efforts to combat trafficking.
did not renew the residence permits of victims exploited abroad; civil
society ﬁled a complaint stating authorities had not fully implemented        The “Nightclubs and Similar Places of Entertainment Law of 2000”
the Ombudsman’s recommendations. NGOs reported the government                 stipulated nightclubs may only provide entertainment such as dance
had not issued the recommended residency permits by the end of the            performances, but Turkish Cypriot representatives rarely enforced this
reporting period. The law required employment agencies to acquire a           “law,” and observers continued to report the 28 nightclubs in “TRNC”
permit and prohibited withholding payment, conﬁscating passports,             employing 617 women acted as brothels where sex trafficking commonly
and charging workers for job searches, placement, and maintenance             occurred. Police conﬁscated passports of foreign national women working
of employment. In 2021, the Ministry of Labor (MOL) inspected 154             in nightclubs and issued them identity cards. “TRNC” representatives
employment agencies, revoked the licenses of 15 agencies, and ﬁned            did not permit women to change location once under contract with
one agency for fraud. MOI maintained a contract for employment of             a nightclub and routinely deported victims who voiced discontent
domestic workers and deﬁned the process by which the employee or              about their treatment; Turkish Cypriot representatives deported 322
the employer could terminate the contract. In addition, the contract set a    women who curtailed their contracts without screening for indicators
€309 ($350) minimum monthly salary for domestic workers and required          of trafficking (255 in 2020). The “law” prohibited living off the earnings
employers to be responsible for accommodation, medical insurance,             of prostitution or encouraging prostitution, but nightclub bodyguards
meals, visa fees, travel expenses, and a repatriation ticket. The MCG         accompanied female nightclub employees to their weekly health checks
formed a sub-committee on creating awareness campaigns focused                for sexually transmitted infections, ensuring the women did not share
on demand reduction; the subcommittee met twice. The government               details about potential exploitation in commercial sex with police or
made additional efforts to reduce the demand for commercial sex acts,         doctors in order to facilitate continued illegal activity. The “law” that
including by criminalizing the demand and purchase of commercial sex          governed nightclubs prohibited foreign women from living at their place
from a trafficking victim.                                                    of employment; however, most women lived in dormitories adjacent to
                                                                              the nightclubs or in other accommodations arranged by the owner, a
                                                                              common indicator of trafficking.

                                                                                                                              Haiti AR_000680              199
                     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 305 of 729
CZECH REPUBLIC   The “Nightclub Commission,” composed of police and “government               in north Nicosia, Kyrenia, and Famagusta. Migrants, asylum seekers,
                 officials” who regulate nightclubs, met monthly and made                     LGBTIQ+ persons, refugees, and their children are also at risk for sexual
                 recommendations to the “Ministry of Interior” regarding operating            exploitation. Observers report traffickers shifted tactics during the
                 licenses, changes to employee quotas, and the need for intervention          pandemic, forcing female sex trafficking victims to visit clients’ homes
                 at a particular establishment. The “Nightclub Commission” reportedly         due to the drop in demand at nightclubs and often marketed home
                 inspected approximately ﬁve nightclubs every two weeks and followed          visits to potential clients under the guise of massage services. Civil
                 up on complaints. However, in practice, inspections focused on the           society reports traffickers allegedly facing ﬁnancial hardship due to the
                 sanitation of kitchens, and interviews with women working in nightclubs      pandemic act with increased aggression towards victims.
                 always took place in front of nightclub bodyguards or staff, preventing
                 women from speaking freely. Nightclubs provided a source of tax
                 revenue for the Turkish Cypriot administration with media reports in
                 2015 estimating nightclub owners paid between 20 million and 30               CZECH REPUBLIC: TIER 1
                 million Turkish lira ($1.54 million and $2.32 million) in taxes annually,
                 presenting a conﬂict of interest and a deterrent to increased political
                                                                                              The Government of the Czech Republic fully meets the minimum
                 will to combat trafficking. Additionally, observers alleged complicit
                                                                                              standards for the elimination of trafficking. The government continued
                 “government officials” were involved in organized criminal groups
                                                                                              to demonstrate serious and sustained efforts during the reporting
                 associated with nightclubs and alleged that some “parliament” members
                                                                                              period, considering the impact of the COVID-19 pandemic on its anti-
                 were among the nightclubs’ clientele. Despite business closures due to
                 pandemic mitigation measures, night club owners continued to force           trafficking capacity; therefore the Czech Republic remained on Tier 1.
                 victims into sex trafficking.                                                These efforts included prosecuting and convicting more traffickers,
                                                                                              requiring human trafficking training for all entry-level police officers, and
                 “TRNC” representatives issued 617 six-month hostess and barmaid “work        increasing funding for victim services. Additionally, a new law entered
                 permits” for individuals working in nightclubs and pubs, compared with       into force and introduced ﬁnes for employers who outsourced hiring
                 942 six-month “work permits” issued between April 2019 and January           to illegal employment agencies. Although the government meets the
                 2020. Nightclub owners hired female college students to bypass the           minimum standards, it consistently identiﬁed a low number of “official”
                 cap on the number of employees legally permitted in each club and to         trafficking victims due to the government only counting victims who
                 avoid taxes and monitoring. Most permit holders came from Belarus,           entered the governmental program for trafficking victims and the lack
                 Kyrgyzstan, Moldova, Morocco, Russia, Ukraine, and Uzbekistan, while         of other uniﬁed data collection that could capture accurate victim
                 others came from Armenia, Azerbaijan, Kazakhstan, Kenya, Paraguay,
                                                                                              numbers and trafficking trends. Furthermore, observers expressed
                 Tajikistan, Tanzania, and Turkmenistan. “TRNC” issued 574 “work permits”
                                                                                              concern authorities did not effectively screen vulnerable populations
                 to domestic workers in 2021, but did not provide the number of “work
                                                                                              for trafficking, particularly among asylum-seekers, migrant workers,
                 permits” for 2020 or 2019. Turkish Cypriot representatives did not
                                                                                              and detainees in immigration detention facilities. The government had
                 encourage potential victims to assist in prosecutions against traffickers
                                                                                              an official program to provide services to victims but did not maintain
                 and deported all potential victims. “TRNC” representatives did not enforce
                                                                                              comprehensive assistance statistics.
                 labor “laws,” and observers reported Turkish Cypriot representatives
                 made little effort to investigate employers and recruitment agencies
                 charging high recruitment fees, conﬁscating passports, and withholding                CZECH REPUBLIC TIER RANKING BY YEAR
                 salaries, which were common practices. Turkish Cypriots made no                   1
                 efforts to reduce demand for commercial sex acts. The “Social Services
                                                                                                  2
                 Department” in the “Ministry of Labor” continued to run a hotline for
                 trafficking victims; however, it was inadequately staffed and not always       2WL
                 operational, and experts reported trafficking victims were afraid to call        3
                 the hotline because they believed it was linked to “TRNC” representatives.              2015      2016      2017     2018   2019    2020     2021     2022
                 NGO-run hotlines reported 77 calls from potential trafficking victims and,
                 in 2020, reported a 400 percent increase in requests for psychological
                 assistance and a 300 percent increase in requests for legal assistance
                 from potential victims.                                                      PRIORITIZED RECOMMENDATIONS:
                                                                                              Proactively identify victims and increase efforts to effectively screen
                 As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                              vulnerable populations, including children in institutional care, asylum-
                 and foreign victims in the “TRNC.” Traffickers exploit women from Central
                                                                                              seekers, migrant workers, and detainees in immigration detention
                 Asia, Eastern Europe, and Africa in sex trafficking in nightclubs licensed
                                                                                              facilities. • Increase training for labor inspectors on labor trafficking victim
                 and regulated by Turkish Cypriot representatives. Men and women are
                                                                                              identiﬁcation criteria, recognizing subtle forms of coercion, and evolving
                 exploited in forced labor in the industrial, construction, agriculture,
                 domestic work, restaurant, and retail sectors. Traffickers control victims   trends in labor trafficking. • Improve and reform law enforcement data
                 of forced labor through debt-based coercion, threats of deportation,         collection efforts, including by disaggregating sex and labor trafficking
                 restriction of movement, and inhumane living and working conditions.         case data and comprehensively reporting victim data, particularly on
                 Labor trafficking victims originate from Eastern Europe, sub-Saharan         those who do not participate in the Ministry of Interior (MOI) program.
                 Africa, Central Asia, and South and Southeast Asia. Migrants, especially     • Streamline identiﬁcation procedures and specialized crisis and long-
                 those who cross into the area administered by Turkish Cypriots after         term case management for child victims. • Increase training for local and
                 their work permits in the Republic of Cyprus have expired, are vulnerable    regional police on victim identiﬁcation and the non-punishment of victims
                 to labor trafficking. Romani children and Turkish seasonal workers and       for unlawful acts traffickers compel them to commit. • Train a wider range
                 their families are also vulnerable to labor exploitation and trafficking.    of prosecutors and judges, including civil and administrative judges, on
                 Foreign university students, many of whom were recruited with false          the severity of the crime, on recognizing subtle forms of coercion, on
                 promises of scholarships, free housing, and employment, are vulnerable       the irrelevance of a victim’s initial consent when proving a trafficking
                 to both sex and labor trafficking. Traffickers force female students         crime, and on how to utilize victim protection programs for trafficking
                 into sex trafficking in apartments and male students into forced labor       victims. • Enhance collaboration between the labor inspectorate and
                 or coerce students to commit crimes such as transporting or selling          police to effectively identify potential labor trafficking cases. • Improve
                 drugs. Students who drop out of school or engage in irregular work,          victims’ ability to access court-ordered restitution in criminal cases and
                 many from sub-Saharan African countries, are particularly vulnerable.        compensation through civil proceedings.
                 As in previous years, observers report that a number of women, some
                 of whom are trafficking victims, entered the “TRNC” on three-month
                 tourist or student visas and engaged in commercial sex in apartments


  200                                                                                                                                          Haiti AR_000681
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 306 of 729




                                                                                                                                                                 CZECH REPUBLIC
PROSECUTION                                                                    reported prosecutors and judges pursued trafficking cases unevenly,
The government increased law enforcement efforts. Section 168 of               at least in part due to lack of familiarity with the elements of the crime;
the criminal code criminalized sex trafficking and labor trafficking           GRETA noted Article 168 did not explicitly state the irrelevance of the
and prescribed punishments of two to 10 years’ imprisonment. These             victim’s initial consent to the subsequent exploitation, which may have
penalties were sufficiently stringent and, with regard to sex trafficking,     led to uneven implementation of the law.
commensurate with those prescribed for other serious crimes, such as           The government provided training for law enforcement officials, labor
rape. In 2021, police initiated 13 trafficking investigations involving 21     inspectors, consular officers, prosecutors, and others in investigating and
suspects, similar to 18 investigations involving 20 suspects in 2020.          prosecuting trafficking cases and identifying victims. The government
Authorities prosecuted 21 suspected traffickers under Section 168              mandated trafficking training for entry-level police officers and in
(nine in 2020 and 21 in 2019), nine for sex trafficking, eight for labor       January 2022, all such officers joined a one-day training. Police and
trafficking, and four unspeciﬁed. Courts convicted 16 traffickers—13 for       prosecutors began creating a specialized training for prosecutors and
sex trafficking and three for labor trafficking, an increase compared with     judges on labor exploitation to ensure greater consistency among
eight convictions in 2020. Courts sentenced six traffickers to up to ﬁve       judicial outcomes. Observers noted the Judicial Academy focused
years’ imprisonment and eight traffickers to prison terms ranging from         on providing anti-trafficking training to criminal judges, leaving civil
ﬁve to 15 years. Judges suspended the prison sentences of two convicted        and administrative judges with little training, even though civil and
traffickers. One of these traffickers was a child when she exploited           administrative judges made decisions affecting the status and rights
another girl for commercial sex, and one was a woman who had lived             of potential trafficking victims, particularly with regards to foreign victims’
under institutional care as a child. The government reported screening         legal status and right to remain in the country. The government did not
both of these individuals for trafficking indicators before proceeding with    report any investigations, prosecutions, or convictions of government
the prosecutions. In May 2021, an appeals court upheld the conviction          employees complicit in trafficking crimes.
of multiple traffickers from a November 2019 case regarding a Czech
trafficking operation in the United Kingdom (UK) involving both sex            PROTECTION
and labor trafficking. The court conﬁrmed the 18-year sentence for one         The government maintained victim protection efforts. The MOI’s Program
of the traffickers, the highest trafficking sentence ever issued in the        of Support and Protection of Victims of Trafficking in Human Beings (the
Czech Republic, and upheld the award of 5 million koruna ($233,460)            Program) remained the only official source of data on victim identiﬁcation
in restitution, the highest amount ever granted in a trafficking case.         and protection and was conditioned on a victim’s cooperation with the
The government did not seize any assets from convicted traffickers             criminal justice process. The government did not officially recognize
and reported the seizing of assets was difficult because the majority          victims who did not participate in the Program, although it provided
of traffickers used cash payment and did not own traceable property.           support to NGOs that identiﬁed and helped potential or unidentiﬁed
Authorities collaborated with foreign governments on four transnational        victims or victims who preferred not to cooperate with police. In 2021, 11
investigations (two new and two ongoing). In one ongoing case in               new victims (six men and ﬁve women) entered the Program, compared
which suspected traffickers exploited Czech victims in the food service        with 13 in 2020, 15 in 2019, and 17 in 2018. Five of the victims were Czech
industry in the UK, Czech authorities charged four Czech suspects in           nationals who were exploited in the UK, and six were Mongolian nationals.
April 2021; additional suspects in the UK were awaiting trial at the end       Police concluded there was insufficient evidence to refer the Mongolian
of the reporting period. In another case in which traffickers exploited        victims’ case to prosecution and removed the victims from the Program
multiple victims from the Czech Republic in the UK from 2009 to 2017,          after two months, although the government continued to fund their care.
Czech police recommended in October 2021 that a regional prosecutor            Police referred three victims to the Program, and NGOs referred eight; one
ﬁle an indictment against seven suspects. This case represented the            victim was reported jointly. In 2021, government-funded NGOs provided
ﬁrst time police had charged suspects for trafficking for the purpose          services or other support to 250 victims or potential victims—some of
of slavery; the suspected traffickers had allegedly exploited a relative       whom had received services for a year or more (compared with 317 in
with disabilities from Slovakia, who they moved to the UK after he was         2020 and 259 in 2019). Observers noted the high level of cooperation
required to leave an institutional care center upon turning 18. A liaison      between the authorities and civil society on victim identiﬁcation and
police officer assigned to the Czech Embassy in London continued to            protection efforts; in February 2021, the police created a trafficking
collaborate closely with UK officials on several trafficking cases involving   liaison position to coordinate efforts among law enforcement and other
Czech citizens, including an investigation that led to charges ﬁled            government authorities, as well as with international organizations
against ﬁve suspects for labor and sex trafficking. The liaison officer        and NGOs. The MOI continued distributing an electronic manual that
also trained and assisted consular officers in screening for trafficking       described trafficking indicators among vulnerable populations to assist
indicators among Czech citizens being assisted by the Czech Embassy.           officials in identifying victims and collaborated with representatives from
                                                                               localities with large minority populations to draft a new, more inclusive,
Police data collection generally focused on perpetrators rather than           list of trafficking indicators. However, observers noted the manual lacked
victims; an overly broad deﬁnition of a victim according to police             a clear systematic procedure for identifying victims or referring them
regulations further hindered data accuracy. During the reporting year,         to the correct services. The MOI also continued distributing a card-
the government took steps to fulﬁll its data collection reform objective in    sized version and a manual outlining best practices in handling child
its 2020-2023 national strategy and initiated an analysis of all available     trafficking cases to regional police. Observers expressed concern that
statistical systems across ministries and launched technical, legislative,     many victims and potential victims went unidentiﬁed, attributing this
and ﬁnancial analyses to explore the creation of a uniﬁed database.            to authorities’ difficulty in identifying labor trafficking victims among
The Trafficking in Human Beings Division was the lead investigative            migrant workers or detainees in immigration detention facilities; the
agency for trafficking within the national police and oversaw trafficking      government’s strict anti-migration policies and insufficient screening of
cases involving organized crime; regional police were responsible              asylum-seekers; and inadequate training and high levels of turnover of
for other trafficking cases. The Supreme Public Prosecutor Office’s            front-line responders, particularly local police. Observers reported some
prosecutor for trafficking and domestic violence oversaw specialized           police officers were not aware that traffickers often compelled victims to
trafficking prosecutors in the regional prosecutorial offices. Regional        commit unlawful acts, leading officers to mistakenly identify victims as
police directorates sometimes chose to devote their limited resources to       criminals. Moreover, experts reported that the commercial sex industry’s
ﬁghting other types of crime, especially crimes deemed easier to solve         operational shift in the last ﬁve years from clubs to private residences
and achieve a conviction, as well as crimes related to the pandemic or         and online had hindered law enforcement’s identiﬁcation efforts.
the enforcement of state of emergency rules. Law enforcement officials
said they more easily identiﬁed sex trafficking cases than labor trafficking   The Program provided medical care, psychological and crisis counseling,
cases. Judges and prosecutors continued to report it was difficult to          housing, legal representation, vocational training, and other specialized
prove some instances of labor trafficking were more than cases of simple       services to officially recognize foreign and Czech adult victims of sex and
fraud, as traffickers often used subtle coercive practices. Observers          labor trafficking, regardless of their immigration status. The MOI provided

                                                                                                                                   Haiti AR_000682               201
                     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 307 of 729
CZECH REPUBLIC   funding and administrative oversight and selected one NGO to be the              foreign national trafficking victims. Some experts criticized the Refugee
                 primary implementing partner and to manage subcontracts to other                 Facility Administration (RFA) for charging a daily fee to some migrants
                 NGOs for additional specialized services. Victims were generally placed          for stays in transit zones; such fees could increase the vulnerability of
                 in an NGO-run shelter or into other MOI-funded housing. Participants in          potential victims to debt-based coercion. The RFA maintained a system
                 the Program were granted a 60-day reﬂection period, after which they             where potential victims and other members of at-risk groups could
                 were required to assist law enforcement if they wanted to stay in the            be voluntarily housed in a guarded facility or, if in immediate danger,
                 Program, unless subject to a serious health issue. Victims unwilling to          referred to NGOs for services. However, observers noted that due to
                 assist law enforcement through the Program and victims whose cases               data privacy regulations, the MOI office in charge of assessing asylum
                 authorities did not pursue were eligible to access comparable Ministry           applications did not share with the RFA information that could identify
                 of Labor and Social Affairs (MLSA)-funded welfare beneﬁts, including             potential victims; the RFA only learned of this information through victim
                 housing, in-person and telephone crisis help, counseling and social              self-disclosure. The government reported MOI officials advised potential
                 rehabilitation, drop-in centers for children, and social services for families   victims of available resources and their right to report trafficking to the
                 with children; all victims in the Program during 2021 chose to cooperate         RFA. The RFA did not identify any victims in the transit zones in 2021,
                 with law enforcement. Victims could voluntarily withdraw from the                nor in recent prior years.
                 Program at any time and would remain eligible for services under the
                                                                                                  Victims and witnesses were granted short-term protection when needed,
                 MLSA. Victims in the Program were eligible for a free legal advocate
                                                                                                  including physical protection, access to safe houses, and security
                 and, in some cases, the option to choose the gender of the judge or to
                                                                                                  monitoring for up to 60 days; this protection could be extended with
                 testify via videoconference. MOI-drafted procedures to allow victims
                                                                                                  approval from the regional police director. The government funded an
                 to remain in the Program even after termination of the criminal process
                                                                                                  NGO’s website and chat room revisions to better protect victims during
                 against the trafficker remained under inter-ministerial review during the
                                                                                                  counseling sessions. Victims had the legal option of seeking court-
                 reporting period; this change would grant victims easier access to free
                                                                                                  ordered compensation from traffickers through civil suits; however,
                 legal representation in civil compensation proceedings. Foreign victims
                                                                                                  compensation was rare, as many victims could not afford attorney fees
                 accepted into the Program could receive temporary residence and
                                                                                                  for a civil suit. To seek civil damages, the law required a ﬁnding of criminal
                 work visas for the duration of relevant legal proceedings. Victims could
                                                                                                  misconduct against the defendant. An NGO reported a court awarded a
                 receive assistance to return to their country of origin at any time or, upon
                                                                                                  victim 100,000 koruna ($4,670) in civil court for trauma-related health
                 completion of the Program, could apply for permanent residency. The
                                                                                                  injuries. The law also allowed victims to obtain restitution in criminal
                 government extended seven long-term residence permits to Program
                                                                                                  proceedings, although courts did not consistently issue restitution to
                 participants and reported there were no requests for new permits as all
                                                                                                  victims in criminal cases. In May 2021, an appeals court conﬁrmed the
                 new victims were Czech nationals or legally present in the country. The
                                                                                                  November 2019 court judgment awarding a record 5 million koruna
                 government did not repatriate any trafficking victims in 2021.
                                                                                                  ($233,460) to the victims in a case involving a transnational trafficking
                 Although the government did not provide specialized centers speciﬁcally          operation.
                 for child trafficking victims, there was a separate national referral
                 mechanism for child victims, and social workers developed individualized         PREVENTION
                 support plans for potential child trafficking victims, who received welfare      The government increased prevention efforts. The MOI chaired the Inter-
                 beneﬁts such as shelter, food, clothing, and medical and psychological           Ministerial Coordination Group (IMCG), which included representatives
                 counseling. Observers reported the government had paid signiﬁcant                from various government ministries and agencies, as well as three NGOs
                 attention to combating child trafficking in recent years, especially to          and an international organization. In 2021, the IMCG met twice virtually
                 prevent trafficking among children from institutional care. Nonetheless,         to coordinate national efforts and accepted the State Labor Inspection
                 observers reported identiﬁcation procedures, crisis support, and long-           Office (SUIP) as a new permanent member. The government continued
                 term services for child trafficking victims remained insufficient. The           implementing the 2020-2023 National Strategy Against Trafficking. The
                 2020-2023 national strategy included a plan to study child trafficking           inter-governmental Committee for the Rights of Foreigners also included
                 in the Czech Republic and to create educational materials for ﬁrst               trafficking prevention in its mandate. The MLSA led an interagency
                 responders on the identiﬁcation of and assistance to child victims; the          coordination group focused on combating illegal employment of
                 government did not report progress on completing this study.                     foreign nationals; the group’s efforts included collecting and sharing
                                                                                                  information on potential labor exploitation. A unit in the MOI served as
                 The MOI allocated approximately 1.6 million koruna ($74,710) for the
                                                                                                  the national rapporteur and prepared a comprehensive annual report
                 Program, the same annual amount since 2018; the Program did not spend
                                                                                                  on trafficking patterns and programs. The government funded several
                 the full allotment. The MLSA increased its funding to NGOs to provide
                                                                                                  NGO-run multilingual hotlines to identify and assist both potential and
                 social services, including to trafficking victims not in the Program. In
                                                                                                  officially recognized victims; NGOs reported an increased number of
                 2021, the MLSA increased funding for the main NGO providing services
                                                                                                  calls in 2021 compared to pre-pandemic levels, although the number of
                 to trafficking victims by 6.2 percent compared with the previous year.
                                                                                                  calls decreased from 2020 to 2021. One NGO reported receiving 1,444
                 Another NGO reported a 16.7 percent increase in MLSA funding from
                                                                                                  calls and chats on its hotline in 2021, a decrease from 1,700 in 2020.
                 2020 to 2021. NGOs reported sufficient funding for short- and long-term
                                                                                                  Hotlines operated on weekdays, and the government provided training
                 activities and believed the ability to use MLSA funds for purposes other
                                                                                                  to operators on how to advise victims. Funds from the Program were
                 than the standard social services they already provided, such as public
                                                                                                  available for prevention campaigns and ﬁeldwork; the MOI funded one
                 transportation tickets, telephone, medical checks, and psychological
                                                                                                  NGO to conduct 41 monitoring and awareness trips to areas with a high
                 therapy, allowed them to offer more holistic services, which were
                                                                                                  potential for labor trafficking and exploitation. The government provided
                 limited in previous years due to regulations on use of these funds.
                                                                                                  funding for the development of a smartphone application containing
                 Nevertheless, NGOs reported the MLSA’s funding structure inhibited
                                                                                                  trafficking information and resources for professionals working with
                 long-term planning, as funds were only allocated one year at a time
                                                                                                  vulnerable populations. The government and the EU continued to
                 and did not arrive until after the beginning of the ﬁscal year.
                                                                                                  provide funding for an NGO to conduct a research project exploring
                 Border police and asylum and migration officials occasionally were               ways to more effectively assist victims; the project was scheduled to be
                 unable to recognize trafficking indicators among asylum-seekers and              completed in 2022. The government and the EU also provided funding
                 did not always proactively screen migrants, including those in detention,        to NGOs from the Czech Republic, France, Italy, Ireland, and Belgium to
                 for indicators of trafficking. Experts noted some courts declined to             create a toolbox with best practices on victim identiﬁcation and referral
                 recognize victims in migration detention facilities as such if they did          and protection measures for authorities who may encounter trafficking
                 not self-identify as victims in their initial asylum claims. Moreover,           victims during the asylum process.
                 observers expressed concern the Foreigners’ Residence Act, which
                                                                                                  The MLSA and SUIP websites published information in multiple languages
                 regulated the detention of foreigners prior to deportation did not deﬁne
                                                                                                  about foreign workers’ rights, laws governing the employment of
                 a “vulnerable person,” leading authorities to occasionally detain potential
  202                                                                                                                                            Haiti AR_000683
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 308 of 729




                                                                                                                                                             DENMARK
foreigners, and information on the Czech labor system and requirements       vulnerable to trafficking. Traffickers increasingly use online platforms to
for work permits. In 2021, the MLSA initiated several awareness raising      recruit victims. The commercial sex industry increasingly operates out of
campaigns and joined an EU campaign to inform seasonal workers of            private residences, complicating efforts to identify sex trafficking victims.
their rights and ensure fair labor conditions. The law did not speciﬁcally   Private, unregistered labor agencies often use deceptive practices to
criminalize conﬁscation of workers’ passports. The labor code prohibited     recruit workers from abroad as well as from inside the country. Some
charging workers recruitment fees. Section 342 of the criminal code          agencies sell their registration to unqualiﬁed recruiters.
criminalized the illicit employment of foreign workers under especially
exploitative conditions. Labor inspectors had dedicated staff to focus
on illegal employment and verify requirements for conditions of work.
They conducted inspections of employment agencies and identiﬁed               DENMARK: TIER 2
199 illegal “pseudo-agencies” in 2021, a signiﬁcant increase from 98
in 2020; most suspected cases of labor trafficking were arranged via         The Government of Denmark does not fully meet the minimum
these types of agencies. In August 2021, a new law entered into force,       standards for the elimination of trafficking but is making signiﬁcant
introducing ﬁnes of up to 10 million koruna ($466,920) for employers who     efforts to do so. The government demonstrated overall increasing efforts
allowed or beneﬁtted from “disguised employment,” a system in which          compared with the previous reporting period, considering the impact
companies outsourced hiring to a “pseudo-agency;” the government did         of the COVID-19 pandemic on its anti-trafficking capacity; therefore
not report if any such ﬁnes were issued before the close of the reporting    Denmark remained on Tier 2. These efforts included investigating
period. Due to the pandemic, SUIP did not hold its annual seminar for        more trafficking cases, approving six additional investigator positions
inspectors specializing in foreign employment, nor did labor inspectors      within the police to investigate forced labor and sexual exploitation,
conduct large routine inspections. Labor inspectors did not identify         and establishing a new national unit with specialized police and
any potential trafficking victims in 2021. Experts reported inconsistent     prosecutors to investigate economic and organized crime, including
collaboration between regional police and labor inspectors, as well as a     trafficking. Additionally, authorities identiﬁed signiﬁcantly more
need for enhanced training for inspectors on labor trafficking indicators.   male labor trafficking victims and provided services to all identiﬁed
In 2021, the SUIP conducted three “extraordinary” inspections aimed          victims. Furthermore, for the ﬁrst time in four years, the government
at detecting illegal employment; law enforcement used information            granted trafficking victims temporary residence permits and extended
collected to conduct further preliminary investigations but did not          the 30-day reﬂection period to up to eight months because of the
identify any victims of trafficking.                                         pandemic, allowing victims to remain in Denmark to recover and
                                                                             receive government assistance. The government also adopted a new
In 2021, the government supported an EU project in Niger focused
                                                                             three-year national action plan (NAP) to combat trafficking, allocated
on counterterrorism and the prevention of migrant smuggling and
                                                                             signiﬁcant funding toward the proposed initiatives, and updated
human trafficking, and it continued to contribute to an EU regional
                                                                             guidance on responsible business conduct with a focus on human
program that provided assistance to trafficking victims in Algeria,
                                                                             and labor rights in supply chains. However, the government did not
Chad, Egypt, Libya, Morocco, Niger, and Tunisia. To safeguard against        meet the minimum standards in several key areas. The government
exploitation, the MFA and SUIP interviewed domestic employees of             continued to focus on the undocumented status of some foreign
accredited diplomatic personnel in the Czech Republic upon registration      victims rather than screening for trafficking indicators. Moreover,
and reviewed documents for compliance with Czech labor laws; labor           the government did not adequately encourage victims’ assistance
inspectors also had the authority to conduct random checks of the            with investigations, and its practice to move toward repatriating
employee’s workplace, and the MFA limited the number of domestic             victims inhibited successful prosecutions and left victims vulnerable
workers per foreign diplomat. The government did not make efforts to         to re-trafficking and reluctant to come forward and work with police.
reduce the demand for commercial sex acts.                                   Additionally, the criminal code lacked a non-punishment provision,
                                                                             resulting in authorities prosecuting some victims, including children,
TRAFFICKING PROFILE                                                          for unlawful acts traffickers compelled them to commit. Finally, the
As reported over the past ﬁve years, human traffickers exploit domestic      government lacked clear procedures for identifying child victims,
and foreign victims in the Czech Republic, and traffickers exploit Czech     especially among unaccompanied children who continued to be
victims abroad. Traffickers exploit women, girls, and boys from the Czech    exploited in commercial sex, forced labor, and petty criminality while
Republic, Slovakia, Ukraine, Romania, Bulgaria, Nigeria, the Philippines,    living in asylum centers and often went missing from those centers.
and Vietnam in sex trafficking in the Czech Republic and also transport
victims through the Czech Republic to other European countries for sex
                                                                                     DENMARK TIER RANKING BY YEAR
trafficking. The UK has been a signiﬁcant destination in recent years
                                                                                 1
for Czech female and male victims of trafficking. Men and women from
the Czech Republic, Slovakia, Ukraine, Romania, Bulgaria, Moldova,               2
Mongolia, Nepal, Nigeria, the Philippines, Vietnam, and former Soviet         2WL
countries are exploited in forced labor in the Czech Republic, typically
                                                                                 3
through debt-based coercion or exploitation of other vulnerabilities, in               2015      2016     2017      2018   2019    2020    2021    2022
the construction, agricultural, forestry, manufacturing, food processing,
and service sectors, including in domestic work. NGOs report labor
trafficking is more prevalent than sex trafficking. Many victims of
forced criminal activity are Vietnamese nationals exploited in cannabis      PRIORITIZED RECOMMENDATIONS:
production. Most identiﬁed victims in the country are Czech; however,        Signiﬁcantly increase efforts to convict suspected traffickers. •
law enforcement reported an increase in non-EU victims. One NGO              Proactively screen all vulnerable individuals, such as migrant workers,
reported an increase in the number of LGBTQI+ victims. Traffickers exploit   asylum-seekers, and unaccompanied children, for trafficking indicators
Romani men from the Czech Republic in forced labor and Romani women          and stay deportation of potential victims prior to identiﬁcation and
from the Czech Republic in sex trafficking and forced labor internally       assistance. • Develop clear procedures for identifying child trafficking
and in destination countries, including the UK; many such traffickers        victims and train relevant workers to recognize indicators. • Bolster
operate as family groups. Most traffickers are Czech citizens; foreign       efforts to safeguard unaccompanied children from going missing from
traffickers often recruit victims from their home countries and work in      asylum centers and against trafficking by developing a specialized
cooperation with local Czech citizens. Traffickers target individuals with   framework for assisting children. • Amend the law to include a non-
drug dependencies, debts, and criminal records, as well as individuals       punishment provision ensuring trafficking victims, including children,
experiencing homelessness, children in foster care, and senior citizens.     are not inappropriately incarcerated, ﬁned, or otherwise penalized solely
More than 300,000 refugees from Ukraine, predominantly women and             for unlawful acts traffickers compelled them to commit. • Vigorously
children, have crossed the Czech border seeking sanctuary and are            investigate and prosecute trafficking cases under the trafficking
                                                                                                                                  Haiti AR_000684            203
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 309 of 729
DENMARK   statute. • Grant and renew residence permits to asylum-seekers. •              indicated limited resources, an overreliance on victim testimony, and
          Increase incentives for all victims to cooperate in the prosecution of         a high burden of proof led to cases being investigated and prosecuted
          traffickers, including by granting longer-term residency, work permits,        under non-trafficking statutes, such as “pimping.” Experts continued to
          and reparation. • Amend the law to prohibit worker-paid recruitment            express concern with the low number of prosecutions and convictions
          fees. • Increase the number of law enforcement officials, prosecutors,         over the previous years. Several NGOs criticized police, prosecutors,
          and judges who specialize in trafficking cases. • Expand efforts to            and judges for their lack of sensitivity, particularly during criminal
          expeditiously transfer potential trafficking victims from police or            proceedings, which sometimes led to the dismissal of trafficking cases.
          immigration custody to crisis centers or care providers.                       The government’s Center against Human Trafficking (CMM)—which
                                                                                         coordinated interagency engagement on trafficking issues, collected
          PROSECUTION                                                                    and disseminated data, and developed nationwide social services for
          The government marginally increased law enforcement efforts. Section           victims—trained judges, prosecutors, police, and frontline personnel
          262(a) of the criminal code criminalized sex trafficking and labor             throughout the year on various topics, such as identifying trafficking
          trafficking and prescribed punishments of up to 10 years’ imprisonment;        victims and referral procedures.
          these penalties were sufficiently stringent and, with respect to sex
          trafficking, commensurate with penalties prescribed for other serious          PROTECTION
          crimes, such as rape. At the end of the reporting period, the government       The government marginally increased efforts to protect trafficking
          passed a new provision to the criminal code, Section 262(b), which             victims. In 2021, authorities identiﬁed 68 trafficking victims (26 sex
          criminalized the exploitation of a person in labor under manifestly            trafficking, 31 labor trafficking, 11 other or unspeciﬁed), compared with
          unreasonable conditions and prescribed penalties of up to six years’           64 in 2020. Of these victims, 34 were female, 33 were male, and one
          imprisonment. Observers were optimistic the provision could be used            identiﬁed as transgender. The vast majority of identiﬁed victims were
          to more easily prosecute trafficking cases and for its potential impact        adult foreign nationals; ﬁve were children (11 in 2020). Previously, the
          on convicting traffickers. However, observers noted the provision only         government’s perspective that trafficking was a sex-based phenomenon
          addressed labor trafficking victims, and even though exploitation for          with primarily female victims limited the number of identiﬁed adult
          commercial sex was already punishable under another section of the             male victims in forced labor; however, in 2022, labor trafficking victims
          criminal code, observers recommended the government include sex                outnumbered sex trafficking victims, and men represented nearly
          trafficking victims, particularly those in commercial sex who typically        half of all identiﬁed victims. Experts noted the trend toward online
          represent the majority of identiﬁed victims in Denmark, in the new             advertisement of commercial sex made identifying sex trafficking
          provision to ensure broad protection for all victims.                          victims more difficult. For years, NGOs reported the identiﬁcation
                                                                                         process was complicated and involved multiple government and law
          In 2021, authorities investigated 15 trafficking cases (10 sex trafficking,
                                                                                         enforcement agencies, requiring several interviews of victims, who at
          four labor trafficking, one unspeciﬁed), an increase from six in 2020.
                                                                                         times remained in detention before referral to NGOs. In an effort to
          Officials prosecuted three suspects for sex trafficking, compared with
                                                                                         streamline the process, in January 2022, the Department for Gender
          two suspects for labor trafficking in 2020. Courts did not convict
                                                                                         Equality assigned CMM and the Danish Immigration Service (DIS) as
          any traffickers for the third consecutive year but convicted one
                                                                                         the only authorities with responsibility to formally identify trafficking
          individual, who was involved in a trafficking crime, for “pimping.”
                                                                                         victims—an initiative outlined in the new NAP to ensure uniform case
          The government did not report any investigations, prosecutions, or
                                                                                         management and data protection. Several NGOs worried the new
          convictions of government officials complicit in trafficking crimes.
                                                                                         process was not victim-centered, lacked continuity, and limited their
          Danish authorities cooperated with their foreign counterparts on two
                                                                                         role working with victims as they could no longer conduct interviews
          extraditions and multiple trafficking-related investigations. Authorities
                                                                                         to formally identify trafficking victims. In March 2022, CMM hosted
          of Denmark, Finland, Norway, and Sweden facilitated international
                                                                                         a workshop for NGOs to discuss the new process and ways to share
          policing efforts and information-sharing, including on trafficking-
                                                                                         information. CMM was responsible for formal identiﬁcation of victims
          related issues, through Nordic liaison officers stationed at 20 Nordic
                                                                                         of Danish or EU origin or who were documented migrants, and the DIS
          embassies and consulates around the world. The Danish Tax Agency
                                                                                         was responsible for formal identiﬁcation of undocumented immigrants
          (DTA) assessed the risk of trafficking in tax-related criminal cases, and
                                                                                         and asylum-seekers. DIS screened potential victims during the asylum
          in cases involving trafficking, DTA participated in police inspections
                                                                                         interview; however, according to NGOs, the DIS interview was often
          and provided police and prosecutors with information on citizens’
                                                                                         too brief to make an accurate identiﬁcation. CMM, DIS, and the courts
          and companies’ tax and value added tax payments. Local police
                                                                                         assessed whether a victim was eligible for assistance, which was not
          in collaboration with regional departments investigated trafficking
                                                                                         conditional on cooperation with law enforcement or whether there
          cases. However, overextended police officers managed multiple
                                                                                         was an ongoing investigation.
          responsibilities, redirecting a signiﬁcant amount of their attention and
          time from trafficking and limiting the number of officers available to         In 2021, all 68 identiﬁed trafficking victims received some form of
          conduct investigations. For instance, the Copenhagen Police’s homicide         government assistance (64 in 2020). As a standard practice during
          division maintained responsibility for anti-trafficking investigations         reﬂection periods, CMM assigned a contact person to identiﬁed victims
          as one of its many responsibilities, despite Copenhagen being the              to inform them of relevant services and coordinate assistance. As part
          primary location for trafficking crimes, and an investigation unit within      of the new NAP and to ensure safety and quality services, the Ministry
          the National Police worked on trafficking investigations among other           of Social Affairs and Senior Citizens approved accommodations for
          crimes, such as human smuggling. In an effort to address staffing              trafficking victims and conducted inspections of shelters for adequate
          issues, in 2021, the government approved hiring six additional police          services. Victims under DIS’ care received accommodations in asylum
          officers by 2023 to investigate forced labor and sexual exploitation.          centers, shelters, or safe houses based on their individual needs. Asylum
          Furthermore, the government established a new national unit in January         centers provided health care services, social services, educational
          2022 with specialized police and prosecutors investigating economic            activities, and vocational training for trafficking victims throughout
          and organized crime, including trafficking. The unit would also support        the duration of their stay. CMM and the Ministry of Immigration and
          police districts in their efforts to combat trafficking. The National Police   Integration’s Return Agency offered ﬁnancial and legal counseling
          continued to allocate approximately 18 million Danish krone (DKK)              and reintegration assistance. CMM also offered educational activities,
          ($2.75 million) through 26 full-time staff to combat and investigate           health care, and psychological care through private clinics and received
          trafficking cases throughout 2021. The National Police maintained              10.8 million DKK ($1.65 million) from the government. A government-
          trafficking coordinators in each of the country’s 12 districts. According      funded NGO provided two shelters for female trafficking victims and
          to regional experts, however, the level of expertise varied by district and    received 19 million DKK ($2.9 million) for operational expenses over
          there were no specialized police investigators outside of the National         the course of four years. There was no specialized shelter for male
          Centre of Investigation, which had no jurisdiction but assisted local          victims, but accommodation was available if necessary. Municipal
          and regional police in trafficking investigations. Additionally, there         child protection authorities assisted child victims and placed them
          were no specialized prosecutors or judges in the country. Reports              in municipal accommodation or in residential care institutions. The

 204                                                                                                                                 Haiti AR_000685
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 310 of 729




                                                                                                                                                             DENMARK
Danish Red Cross assisted unaccompanied children in facilities partially      traffickers. In 2021, authorities charged 11 victims for criminal activities
funded by the government and screened all unaccompanied children in           who served time in prison before being deported. For victims who
asylum centers for trafficking indicators. Observers continued to express     testiﬁed in court, the government did not offer witness protection but
concern over the disappearance of unaccompanied children from                 assigned a contact person, typically a police officer, to provide guidance
asylum centers and reports of unaccompanied children, particularly            and information about the case. Danish law entitled trafficking victims
Moroccan boys living in asylum centers, being forced into commercial          to request restitution from traffickers as part of criminal proceedings,
sex, forced labor, and petty criminality. Regional experts reported           as well as ﬁle civil suits for ﬁnancial compensation.
shortcomings, such as a lack of clear procedures, in the identiﬁcation
of child victims, especially among unaccompanied children, and                PREVENTION
recommended developing a specialized framework for identifying                The government increased prevention efforts. During the reporting
and assisting children and providing safe accommodations.                     period, the government adopted a new four-year NAP to combat
                                                                              trafficking and allocated 118.2 million DKK ($18 million)—a signiﬁcant
Stricter immigration policies and guidelines increased vulnerability
                                                                              increase from 63 million DKK ($9.61 million) for the duration of its
among asylum-seekers and refugees, particularly those the government
                                                                              previous three-year NAP—to the proposed initiatives, including
returned to their country of origin who could face retribution or
                                                                              strengthening victim services. The Department for Gender Equality led
hardship. The Aliens Act allowed the government to grant residence
                                                                              an inter-ministerial working group that coordinated the government’s
permits to refugees and family members, including trafficking victims,
                                                                              anti-trafficking efforts and implementation of the NAP. In September
for temporary stay only, and to revoke residence permits if the need
                                                                              2021, the working group conducted interviews with several government-
for protection no longer existed, contrary to Denmark’s international
                                                                              funded NGOs and anti-trafficking stakeholders and, subsequently,
obligations. For the ﬁrst time in four years, the government granted
                                                                              published an in-depth analysis of the identiﬁcation process, services
two trafficking victims temporary residence permits. Regional experts
                                                                              offered during the recovery and reﬂection period, outreach work, and
reported it was “nearly impossible” for victims to receive a residence
                                                                              the coordination, information-sharing, and monitoring of government
permit, noting since 2015 the government had granted only six new
                                                                              efforts. Separately, CMM published an annual report on government
residence permits. Experts also reported the difficulty for victims to
                                                                              anti-trafficking efforts and statistics. As one of the NAP’s new
receive work permits. NGOs contended authorities primarily treated
                                                                              initiatives, the government allocated 1 million DKK ($152,530) to the
victims as undocumented immigrants subject to arrest or deportation,
                                                                              Danish Institute of Human Rights to conduct a study in 2024-2025
especially if victims were previously detained by law enforcement.
                                                                              analyzing Denmark’s efforts to protect trafficking victims in the
Officials had the authority to detain potential victims for 72 hours and
                                                                              context of international conventions. Through another NAP initiative,
could extend this period when they needed more time to determine
                                                                              starting in January 2022, CMM transferred outreach responsibilities
victim status or immigration status or to identify traffickers. As part
                                                                              to NGOs and subsequently allocated 30 million DKK ($4.58 million)
of procedure, the government granted identiﬁed, undocumented
                                                                              to NGOs to expand and strengthen their outreach work to potential
trafficking victims a 30-day reﬂection period to stay in Denmark and
                                                                              trafficking victims. Since many potential victims did not speak Danish
receive support and assistance—regardless of their cooperation with
                                                                              and struggled to access and understand information on assistance,
police—with the potential to extend another 90 days. The government
                                                                              CMM provided translated health guidelines and information on the
required victims who accepted the subsequent 90 days extended
                                                                              pandemic through its mobile health clinics, which focused primarily on
departure deadline to leave voluntarily within 120 days. As a result of the
                                                                              raising awareness among individuals in commercial sex. In 2021, CMM
pandemic and related movement restrictions, the government extended
                                                                              relaunched an anti-trafficking awareness campaign that challenged
the 30-day reﬂection period up to eight months. Nonetheless, regional
                                                                              trafficking stereotypes and documented various forms of exploitation
anti-trafficking experts, including the Council of Europe, contended this
                                                                              through photography exhibits to educate the general public. CMM
period did not refer to a period of reﬂection and recovery necessary
                                                                              operated a hotline for reporting trafficking cases in Danish and English;
to determine whether victims would cooperate in the investigation of
                                                                              in 2021, the hotline identiﬁed 32 victims. The government did not make
their cases; rather, it was a period of time the victims had to cooperate
                                                                              efforts to reduce the demand for commercial sex acts.
in their repatriation. The Return Agency processed voluntary returns
of foreigners who received rejected residency requests, including             As a member of the Council of the Baltic Sea States’ taskforce on
trafficking victims, to their country of origin. Predictably, some victims    trafficking, Denmark continued to participate in a regional project to
chose not to participate in a voluntary return because they viewed it as      support stakeholders in combating and disrupting labor trafficking
preparation for deportation. Additionally, traffickers’ use of debt-based     by analyzing and consolidating information, improving assistance to
coercion and victims’ lack of protection in their home countries served       victims, and increasing the prosecution of traffickers. As part of the
as signiﬁcant deterrents from accepting the return. The government            project, in 2021, researchers from a Danish university conducted two
allowed victims who assisted in the prosecution of a trafficker to remain     studies—the ﬁrst on the challenges in prosecuting labor traffickers
in Denmark for the duration of the investigation or court proceedings.        and the second on exploitation among migrant workers in Denmark.
However, NGOs reported the threat of deportation prevented victims            CMM provided guidelines to companies and employers on identifying
from coming forward and led some identiﬁed victims to leave shelters          trafficking risks and preventing forced labor in businesses and supply
before the conclusion of police investigations or court proceedings in        chains. Additionally, the Mediation and Complaints-Handling Institution
order to evade deportation. Additionally, observers noted that many           for Responsible Business Conduct updated its guidance on responsible
victims saw no beneﬁt to being identiﬁed and that there was little to         business conduct with a focus on human and labor rights in supply
no incentive for victims to serve as witnesses since there were limited       chains. A group of governmental and law enforcement agencies
long-term residency options, the compensation process remained                cooperated on issues related to forced labor, including coordinating
complex, and above all else, the government prioritized returning             and executing multi-agency inspections and control operations in
victims to their countries of origin. In 2021, NGOs reported multiple         which CMM participated. Danish law did not prohibit worker-paid
instances when DIS officials responded to trafficking reports, which          recruitment fees.
typically fall within the National Police’s jurisdiction, to intimidate and
                                                                              In response to the inﬂow of Ukrainian refugees ﬂeeing Russia’s full-scale
ultimately repatriate foreign nationals, including trafficking victims,
                                                                              invasion of Ukraine, CMM distributed information to arriving refugees on
to their home countries.
                                                                              available resources for potential trafficking victims at Danish borders,
While the government provided guidelines on not imposing penalties            employment centers, and asylum centers throughout the country. The
upon trafficking victims, Danish law lacked a non-punishment provision        government also distributed information in English and Ukrainian on
ensuring victims were not inappropriately incarcerated, ﬁned, or              refugees’ labor rights and working conditions in Demark and provided
otherwise penalized solely for unlawful acts traffickers compelled them       frontline personnel with guidelines on identifying trafficking indicators.
to commit. Observers noted incidents in which authorities prosecuted          In addition, CMM participated in an anti-trafficking working group with
victims, including children, for crimes their traffickers compelled them      the Danish National Cyber Crime Center to address the risk of online
to commit. Courts issued reduced sentences in cases where evidence            trafficking recruitment in connection with refugee ﬂows. Furthermore,
was found proving victims were compelled to commit crimes by their            the government passed a special law providing temporary residence
                                                                                                                                Haiti AR_000686              205
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 311 of 729
DJIBOUTI   permits for arriving Ukrainian refugees, giving them access to the           trafficking capacity. The government did not convict any traffickers for
           labor, education, and health care systems for at least two years. As         the ﬁfth consecutive year, and some judges continued to use outdated
           of April 2022, 20,832 Ukrainians applied for a temporary residence           versions of the penal code that did not include the 2016 anti-trafficking
           permit, and 3,683 Ukrainians applied for asylum. Despite Ukrainian           law. The government did not formally identify any trafficking victims
           refugees threatening Denmark’s stringent hardline migration policy, the      for the third consecutive year and remained without formal specialized
           government remained focused on receiving and integrating Ukrainian           services for victims. Despite training on trafficking crimes, limited
           refugees and providing counseling and support.                               understanding of trafficking indicators among some front-line officials
                                                                                        continued to inhibit law enforcement and victim identiﬁcation efforts. For
           TRAFFICKING PROFILE                                                          the seventh consecutive year, the government only partially implemented
           As reported over the past ﬁve years, human traffickers exploit               its 2015-2022 national action plan (NAP) to combat trafficking. Therefore,
           domestic and foreign victims in Denmark, and to a lesser extent,             Djibouti remained on Tier 2 Watch List for the second consecutive year.
           traffickers exploit victims from Denmark abroad. Vulnerable groups
           include undocumented migrants and asylum-seekers, young men,
                                                                                                 DJIBOUTI TIER RANKING BY YEAR
           unaccompanied children, individuals in commercial sex, and members of
                                                                                             1
           the LGBTQI+ community, particularly those with non-traditional gender
           identities. NGOs express concern immigration policies exacerbate the             2
           risk to trafficking among asylum-seekers. Reports indicate victims             2WL
           without EU citizenship or residency experience increased vulnerability
                                                                                            3
           throughout the pandemic due to domestic lockdowns and international                      2015     2016      2017      2018   2019   2020   2021    2022
           border closures. The most prevalent changes to demographics during
           the reporting period include the increased number of identiﬁed male
           trafficking victims and labor trafficking cases. Reports note a rise in
           exploitation in the private delivery industry, such as messengers and        PRIORITIZED RECOMMENDATIONS:
           food delivery drivers, who work under conditions that violate Danish         Increase efforts to investigate, prosecute, and convict traffickers and
           labor laws. Traffickers exploit migrants, typically men who come to          sentence convicted traffickers, including complicit officials, under the
           Denmark from Africa and Southeast Asia, in labor trafficking, speciﬁcally    2016 anti-trafficking law. • Using the established SOPs, systematically
           trucking, construction, agriculture, domestic service, restaurants,          and proactively identify trafficking victims and refer all identiﬁed victims
           hotels, and factories, through debt-based coercion, withheld wages,          to appropriate care using the established national referral mechanism.
           abuse, and threats of deportation. According to NGOs, traffickers            • Strengthen protection services for trafficking victims, including by
           exploit unaccompanied children, particularly Moroccan boys, in sex           providing specialized services to trafficking victims and providing
           trafficking and forced labor, including drug trafficking, theft, and         funding or in-kind assistance to NGOs and international organizations
           other forms of forced criminality. Vietnamese men are vulnerable             providing protection services. • Adopt an updated NAP for 2023 and
           to forced criminal activity, such as cannabis cultivation. Traffickers       beyond and allocate resources devoted to its implementation. • Provide
           exploit men, women, and children from Eastern Europe, Africa, and            speciﬁc anti-trafficking training, including on established SOPs, to law
           Southeast Asia in forced labor and sex trafficking in Denmark. The           enforcement officials, labor inspectors, social workers, prosecutors,
           majority of women exploited in commercial sex originate from Nigeria         and magistrates to improve case investigation, victim identiﬁcation,
           and Thailand. Reports indicate an increasing number of sex trafficking       and referral to appropriate care. • Increase judicial officials’ awareness
           victims coming from African countries, Eastern Europe, and South             of the 2016 anti-trafficking law, including by providing regular training
           America. NGOs report an increasing trend toward online advertised            for judges on trafficking crimes. • Increase efforts to screen vulnerable
           commercial sex rather than in established locations. Thousands of            populations for trafficking indicators, including refugees, asylum-seekers,
           Ukrainian refugees, predominantly women and children, who are                individuals involved in commercial sex, and foreign nationals, such as
           ﬂeeing Russia’s full-scale invasion of Ukraine and seeking sanctuary         transiting migrants and Cuban medical professionals. • Ensure the
           in Denmark, are highly vulnerable to trafficking.                            penal code on the judges’ bench includes the 2016 anti-trafficking
           The Kingdom of Denmark includes the semi-autonomous territories              law. • Increase awareness of trafficking among the public, especially
           of Greenland and the Faroe Islands. The Danish National Police are           transiting migrants, through government-run campaigns or ﬁnancial
           responsible for law enforcement services in all regions governed by          or in-kind support for NGO-run campaigns. • Improve nationwide data
           the Kingdom of Denmark, including Greenland and the Faroe Islands.           collection and coordination on anti-trafficking law enforcement and
           The Danish Prosecution Service meets regularly with prosecutors,             victim identiﬁcation efforts.
           including representatives from both territories, to discuss potential
           trafficking issues, such as working with victims who are participating       PROSECUTION
           in criminal proceedings. In 2021, there were no reports of trafficking       The government maintained minimal anti-trafficking law enforcement
           cases or identiﬁed trafficking victims in Greenland or the Faroe Islands.    efforts. The 2016 Law No. 133, On the Fight Against Trafficking in Persons
                                                                                        and Illicit Smuggling of Migrants, criminalized sex trafficking and labor
                                                                                        trafficking; it prescribed penalties of ﬁve to 10 years’ imprisonment,
                                                                                        which were sufficiently stringent and, with respect to sex trafficking,
            DJIBOUTI: TIER 2 WATCH LIST                                                 commensurate with those for other serious crimes, such as rape. The
                                                                                        law considered the involvement of a child or forcing a victim into
                                                                                        “prostitution” as aggravating circumstances for which the penalties
           The Government of Djibouti does not fully meet the minimum standards
                                                                                        increased to 10 to 20 years’ imprisonment. Law No. 111, Regarding the
           for the elimination of trafficking but is making signiﬁcant efforts to
                                                                                        Fight Against Terrorism and Other Serious Crimes of 2011, also prohibited
           do so. These efforts included partnering with international experts to
                                                                                        sex trafficking and labor trafficking and prescribed penalties of 10 to
           expand training to stakeholders on the distinction between human
                                                                                        15 years’ imprisonment. Deﬁnitions and penalties in these two laws
           trafficking and migrant smuggling; formalizing standard operating
                                                                                        diverged, but the extent to which this hampered law enforcement,
           procedures (SOPs) for victim identiﬁcation by Coast Guard officials;
                                                                                        prosecutorial, and judicial officials’ ability to prosecute suspected
           enhancing partnership with an international organization to develop
                                                                                        traffickers effectively was indeterminable.
           victim referral procedures for transiting migrants and to identify a space
           for the country’s ﬁrst trafficking speciﬁc shelter; appointing a new         The government investigated 16 potential trafficking crimes, compared
           government focal point and an inter-ministerial task force to combat         with 13 investigations in 2020. The government initiated prosecutions
           human trafficking; and conducting awareness campaigns on trafficking         against eight alleged traffickers in three cases under the 2016 anti-
           vulnerabilities. However, the government did not demonstrate overall         trafficking law, compared with 21 suspected traffickers in 13 cases in the
           increasing efforts compared with the previous reporting period, even         prior year. For the ﬁfth consecutive year, officials did not convict any
           considering the impact of the COVID-19 pandemic, if any, on its anti-        traffickers. Officials reported that the requirement for law enforcement

 206                                                                                                                                     Haiti AR_000687
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 312 of 729




                                                                                                                                                            DJIBOUTI
to present an investigative report and evidence to the court within three      have included trafficking victims. The government continued to assist
days of a suspect’s arrest (two days for crimes committed in Djibouti          potential trafficking victims through programming targeting refugees or
City) inhibited law enforcement’s ability to fully investigate all crimes,     migrants more broadly, rather than providing specialized services. The
including trafficking, and judges often dismissed cases on procedural          government continued to grant authority to an international organization
grounds. As in prior years, criminal courts authorized to hear trafficking     to conduct trafficking screenings of all transiting migrants—including
cases only convened twice during the year. The government and NGOs             an unknown number of potential trafficking victims—and provide water,
also reported the hard copy of the penal code used by some judges was          food, medial support, temporary shelter, and repatriation assistance.
out of date and did not include the 2016 anti-trafficking law; therefore, in   The government and international organizations reported the provision
practice, some judges did not use the 2016 anti-trafficking law to convict     of services to vulnerable populations—including potential victims—
alleged traffickers and instead relied on older provisions of the law,         during the ongoing pandemic was difficult, especially in crowded
such as kidnapping or abuse of power. Additionally, front-line officials’      migrant response centers (MRCs) and refugee camps, some of which
propensity to conﬂate human trafficking and migrant smuggling made it          regularly accommodated double the intended capacity during the year.
likely that some reported cases involved individuals seeking to illegally      Observers also reported since November 2020, the ongoing conﬂict in
cross international borders via irregular migration (migrant smuggling)        Ethiopia further exacerbated the strain on the MRCs’ limited resources
and other crimes not involving exploitation through forced labor or sex        as many voluntary returnees were unable to return to Ethiopia. With
trafficking; analogous to previous years, most potential trafficking crimes    governmental authorization, a locally-operated NGO continued to
moved forward as smuggling charges. Severe resource and capacity               host unaccompanied migrant children and vulnerable children living
limitations also impeded officials’ ability to develop comprehensive           on the streets in Djibouti’s ﬁrst shelter that could appropriately house
investigations of trafficking crimes. Observers reported families or           trafficking victims; police and judges reported referring children to the
village elders often settled allegations of forced labor informally through    shelter but did not report how many children were referred or if any
traditional arrangements between religious and community leaders,              were victims of trafficking. In prior years, the Ministry of Women and
without recourse to the formal court system. The government did not            Family Affairs provided social workers to offer psychosocial support
report any investigations, prosecutions, or convictions of government          at the shelter; however, the government did not provide this service
employees complicit in human trafficking offenses; however, corruption         in 2021. Separately, the Coast Guard provided clothing and food to
and official complicity in trafficking crimes remained signiﬁcant concerns,    vulnerable migrants stranded at sea and transported them to care
potentially inhibiting law enforcement action during the year. Observers       provided by an international organization, typically in Khôr ‘Angar or
reported that security forces, especially at lower levels, were susceptible    Obock. The government continued its administration of one MRC in
to bribes and may have ignored trafficking crimes.                             Obock, which was operated by an international organization, and other
                                                                               transit or processing centers along routes heavily traversed by migrants;
The National Police maintained a unit focused on vulnerable children that
                                                                               however, unlike previous years, the government did not report providing
had a mandate to investigate and arrest traffickers. The Ministry of Justice
                                                                               funding to the MRC. An international organization closed one MRC in
(MOJ) had two dedicated prosecutors for cases involving trafficking
                                                                               Aour Aoussa, which the government previously supported, during the
or vulnerable children. The MOJ, in partnership with international
                                                                               reporting period due to lack of funding from pandemic-related budget
organizations, continued to provide anti-trafficking training seminars
                                                                               re-allocations. The National Union of Djiboutian Women (UNFD) and the
to judges, prosecutors, clerks, and advisors, including integrating anti-
                                                                               Ministry of Health established new procedures to provide free medical
trafficking training into the curriculum at the newly-established National
                                                                               services to victims of gender-based violence (GBV), including potential
School for Judicial Studies (ENEJ). In 2021, the Coast Guard established
                                                                               trafficking victims, identiﬁed at the UNFD’s counseling center. The
a training program on the identiﬁcation of potential trafficking victims
                                                                               MOJ continued to provide a Pro bono prosecutor liaison to the UNFD
among migrants at sea. The National Police, the Gendarmerie, and
                                                                               counseling center to provide legal assistance to potential victims. Health
the Coast Guard continued to implement training on detection and
                                                                               officials, in partnership with an international organization, continued to
identiﬁcation of trafficking crimes for all new recruits in police academies
                                                                               operate ﬁve mobile clinics along dangerous migration routes that could
in Djibouti City and in rural areas of the country. The government
                                                                               provide vulnerable migrants with medical assistance.
reported nascent cooperation with the Government of Ethiopia on
trafficking cases.                                                             Key ministries that supported groups vulnerable to trafficking reportedly
                                                                               continued to provide resources to support various protection services
PROTECTION                                                                     for potential victims. However, the government did not report the funding
The government maintained inadequate victim protection efforts. For the        amount allocated in 2021, compared with more than 109 million Djiboutian
third consecutive year, the government did not report formally identifying     francs ($615,820) allocated in 2020 to relevant ministries, MRCs, transit
any trafficking victims. Similar to previous years, the government             centers, and local NGOs, which operated counseling centers and other
quickly repatriated potential victims—most of whom were Ethiopian—to           programs—including a hotline—that assisted potential trafficking victims.
their home countries without screening for trafficking indicators in           The 2016 anti-trafficking law included provisions allowing trafficking
some instances. Although the government had formal SOPs to guide               victims temporary residency during judicial proceedings and permanent
officials in the proactive identiﬁcation of trafficking victims and their      residency, as necessary, as a legal alternative to removal to countries
subsequent referral to care, relevant officials did not consistently use       where victims might face hardship or retribution. Additionally, the 2016
these procedures. In practice, officials routinely called upon prominent       law directed the government to provide victims legal assistance and an
points of contact for assistance in determining care options for potential     interpreter, in addition to psychological, medical, and social assistance;
victims rather than consulting the written procedures. In 2021, the Coast      the government did not report whether it applied these provisions. Due
Guard formalized SOPs to screen migrants and refugees found at sea             to inconsistent implementation of formal identiﬁcation procedures,
for trafficking indicators; however, a lack of resources hampered full         trafficking victims, particularly vulnerable migrants and individuals
implementation of the new SOPs.                                                involved in commercial sex, may have remained unidentiﬁed within the
                                                                               law enforcement system.
The government had a national referral mechanism that outlined
guidelines for victim referral to services. In 2021, the government, in
partnership with an international organization, developed a trafficking
                                                                               PREVENTION
                                                                               The government maintained efforts to prevent trafficking. In July 2021,
victim referral procedure targeting migrants transiting Djibouti.
                                                                               the MOJ convened a high-level focus group on human trafficking and
Additionally, the police updated its procedures to require officers to
                                                                               migrant smuggling and appointed the Director of the ENEJ as the
take identiﬁed trafficking victims to the nearest medical center, if needed,
                                                                               government focal point for anti-trafficking efforts. The new focal point
where they could receive free medical services. The government, in
                                                                               identiﬁed government stakeholders to become potential members of an
partnership with an international organization, identiﬁed a site for the
                                                                               ongoing task force; however, the ﬁnal approval of the task force and its
country’s ﬁrst trafficking-speciﬁc shelter. While the government did not
                                                                               members was awaiting a presidential decree at the end of the reporting
formally identify any trafficking victims, the government, in partnership
                                                                               period. In previous years, the Ministry of Interior (MOI) was responsible
with international organizations and NGOs, continued to provide services
                                                                               for coordinating government efforts to monitor mixed migration and
to thousands of individuals among vulnerable populations, which may
                                                                                                                               Haiti AR_000688              207
                         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 313 of 729
DOMINICAN REPUBLIC   combat human trafficking. The National Directorate of the Police, which          local and migrant children in forced begging. Traffickers may exploit
                     sits within the MOI, maintained a specialized office to coordinate migration     foreign workers—including Ethiopians, Yemenis, Indians, Pakistanis, and
                     issues, including those involving human trafficking. The government              Filipinos—in forced labor in domestic servitude, construction, and food
                     continued to partially implement its 2015-2022 NAP; however, the                 service sectors. Cuban medical professionals working in Djibouti may have
                     government did not report providing a speciﬁc anti-trafficking budget            been forced to work by the Cuban government. In 2021, Tunisian officials
                     allocation for the NAP’s activities. In 2021, the government, in partnership     reported identifying one Djiboutian victim of forced labor in Tunisia.
                     with an international organization, launched the country’s ﬁrst national
                     strategy for migration, which included procedures to screen migrants for
                     trafficking indicators. In partnership with civil society, the government
                     held awareness campaigns targeting local government officials and                 DOMINICAN REPUBLIC: TIER 2
                     vulnerable migrants on trafficking indicators and potential vulnerabilities;
                     the government did not conduct awareness campaigns in the previous
                                                                                                      The Government of the Dominican Republic does not fully meet the
                     year. The UNFD operated two 24-hour hotlines to report cases of GBV
                                                                                                      minimum standards for the elimination of trafficking but is making
                     and refer victims to services, which could be utilized by trafficking
                                                                                                      signiﬁcant efforts to do so. The government demonstrated overall
                     victims; the government continued to publicize hotline information on
                                                                                                      increasing efforts compared with the previous reporting period,
                     its website and local radio and television stations. The UNFD reported
                     the hotline received more than 1,200 calls in 2021; however, the hotline         considering the impact of the COVID-19 pandemic on its anti-trafficking
                     did not report identifying any trafficking victims. Labor recruitment            capacity; therefore the Dominican Republic remained on Tier 2. These
                     and placement companies were subject to random inspections by the                efforts included convicting more traffickers; opening a trafficking-speciﬁc
                     inspector general; however, the government did not report how many               shelter; improving victim screening, referral to care, and data collection;
                     inspections of these companies it conducted or if any inspections led            assisting foreign governments in trafficking cases; and registering and
                     to potential trafficking investigations. The government continued to             documenting Venezuelan migrants vulnerable to trafficking. However, the
                     conduct labor inspections, particularly in the construction sector, to           government did not meet the minimum standards in several key areas.
                     enforce laws against forced labor; however, the government did not               Efforts to identify and assist trafficking victims appeared inequitable,
                     report identifying any trafficking victims during these inspections or           with the government not providing justice for or screening and assisting
                     investigating any potential violations. The government did not make              Haitians and Dominicans of Haitian descent. The government did not
                     efforts to reduce the demand for commercial sex acts.                            pass a revised trafficking law to remove the requirement to prove force,
                                                                                                      fraud, or coercion of sex trafficking victims younger than 18 years of
                     TRAFFICKING PROFILE                                                              age; did not adequately fund anti-trafficking efforts; did not provide
                     As reported over the past ﬁve years, human traffickers exploit domestic          sufficient training, resources, and technology to officials, especially
                     and foreign victims in Djibouti, and to a lesser extent, traffickers exploit     outside of the capital; and did not complete a new National Action Plan
                     victims from Djibouti abroad. Adults and children, primarily economic            (NAP). Government services available for victims, particularly male
                     and often undocumented migrants from Ethiopia and Somalia, transit               victims, remained inadequate.
                     Djibouti voluntarily en route to Yemen and other locations in the Middle
                     East, particularly Saudi Arabia. Traffickers, often outside of Djibouti,
                                                                                                              DOMINICAN REPUBLIC TIER RANKING BY YEAR
                     exploit an unknown number of these migrants in forced labor and sex
                                                                                                          1
                     trafficking in their intended destinations; this population is also vulnerable
                     to trafficking in various transit points, particularly Yemen. Economic               2
                     migrants who transit Djibouti to return to their respective countries              2WL
                     of origin are vulnerable to trafficking. An international organization
                                                                                                          3
                     observed an increase in returning migrants due to travel restrictions                       2015     2016     2017      2018       2019   2020   2021   2022
                     or economic impacts of the ongoing pandemic in the Middle East.
                     According to government estimates and an international organization,
                     approximately 90,000 migrants—predominantly Ethiopian—transited
                     Djibouti (population of less than one million) in 2021, including both           PRIORITIZED RECOMMENDATIONS:
                     land and sea crossings, putting a signiﬁcant strain on the government’s          Proactively and consistently screen Haitians and Dominicans of Haitian
                     already limited resources. The civil war in Yemen continued to generate          descent, particularly pregnant women, migrants, and those in the sugar
                     a reverse ﬂow of persons from Yemen to Djibouti; migrants voluntarily            industry, for trafficking indicators and refer them to care. • Develop,
                     ﬂed or were illegally or forcibly deported from Aden, and many of                implement, and fund a new National Action Plan, and ensure the Inter-
                     them reported suffering physical abuse and may have been trafficking             institutional Commission against Trafficking in Persons and Smuggling of
                     victims. As of April 2022, Djibouti hosts more than 35,000 refugees and          Migrants (CITIM) meets regularly to carry out its anti-trafficking functions.
                     asylum-seekers; some individuals in this population may have endured             • Amend the 2003 anti-trafficking law to remove the requirement to prove
                     exploitation before their arrival in Djibouti and remained vulnerable            force, fraud, and coercion of sex trafficking victims younger than 18 years
                     to trafficking. Given the protracted political instability in Ethiopia’s         of age to be consistent with international law. • Issue or re-issue identity
                     Oromia region, many Ethiopian nationals, including unaccompanied                 documents to Haitians in border communities, Haitians in the country,
                     children, continued to journey on foot from Ethiopia to Djibouti either          and Dominicans of Haitian descent. • Vigorously investigate, prosecute,
                     to claim asylum with their families or to continue onward to destination         and convict traffickers, and apply appropriate sentences as ordered by
                     countries in Gulf states; this population remains vulnerable to trafficking.     law. • Provide adequate human and ﬁnancial resources and training to law
                     Since November 2020, ongoing conﬂict in northern Ethiopia has left               enforcement, prosecutors, and judges to combat trafficking, particularly
                     Ethiopians of Tigrayan ethnicity in Djibouti unable or unwilling to return       in areas outside of Santo Domingo, and ensure the National Police can
                     to Ethiopia; many of these migrants reported abuses and may have                 routinely connect with other source or destination countries, including
                     been trafficking victims at various points on their journey, particularly        Haiti. • Ensure potential child trafficking victims involved in gangs and
                     in Yemen and Saudi Arabia.                                                       drug trafficking are not penalized for unlawful acts traffickers compel
                     Migrant and local children in Djibouti City, particularly along the Siesta       them to commit, and ensure they are screened, identiﬁed, and referred to
                     Beach road, may be vulnerable to sex trafficking. Traffickers may exploit        care. • Expand consistent access to care, including a dedicated shelter, for
                     Djiboutian and migrant women and children living on the street in sex            male trafficking victims. • Increase the number of translators, especially
                     trafficking or forced labor in Djibouti City, the Ethiopia-Djibouti trucking     in Haitian Creole, to assist in victim identiﬁcation and referral to care.
                     corridor, and Obock, the main departure and arrival point for Yemen.             • Improve legal representation for victims, including by strengthening
                     Traffickers may exploit migrant women in sex trafficking at truck stops          the Service for Legal Representation of Victims' Rights (RELEVIC). •
                     and in restaurants and guest houses in Balbala, one of Djibouti’s poorest        Increase criminal investigations and prosecutions of government officials
                     neighborhoods. Traffickers, including family members, may exploit                allegedly complicit in trafficking and impose stronger sentences. • Fully

   208                                                                                                                                                    Haiti AR_000689
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 314 of 729




                                                                                                                                                                    DOMINICAN REPUBLIC
implement the Electronic Investigations Module as an official tool both             reported that although the National Police and Public Ministry carried
in investigations and in official communications between the National               out investigations, the budget allocation for the specialized trafficking
Police and the Public Ministry.                                                     units in these institutions was insufficient, and civil society actors
                                                                                    continued to be the primary funders of these efforts. An NGO reported
PROSECUTION                                                                         the National Police largely prioritized internal trafficking cases because
The government increased prosecution efforts. Dominican law                         the police lacked the capacity and technological tools to routinely
criminalized sex trafficking and labor trafficking. The 2003 Law on                 connect with other source or destination countries, including Haiti. The
Human Smuggling and Trafficking (Law 137-03) criminalized all forms                 National Police, in cooperation with an NGO and supported by a foreign
of labor trafficking and some forms of sex trafficking and prescribed               donor, carried out their Second National Operation Against Trafficking
penalties of 15 to 20 years’ imprisonment and ﬁnes. Inconsistent with               in Persons and Commercial Sexual Exploitation of Children (CSEC),
international law, the law required a demonstration of force, fraud,                during which multiple institutions worked together in a collaborative
or coercion to constitute a child sex trafficking offense and therefore             planning process; the NGO reported that such collaborative efforts were
did not criminalize all forms of child sex trafficking. Article 25 of the           rare. Observers noted staffing changes in the PETT reportedly caused
Child Protection Code of 2003 criminalized the offering, delivering,                a signiﬁcant loss of institutional knowledge on trafficking during the
or accepting, without regard to means used, anyone younger than 18                  reporting period and some loss of coordination at the working level
years of age for the purpose of sexual exploitation, forced labor, or               as the new staff learned their responsibilities. However, observers
any other purpose that demeaned the individual, for remuneration or                 reported the PETT subsequently increased its interagency collaboration
any other consideration, and prescribed a penalty of 20 to 30 years’                on investigations. An NGO reported it was common for officials to
imprisonment and a ﬁne. All these penalties were sufficiently stringent             incorrectly perceive a trafficking victim as being a voluntary participant
and, with respect to sex trafficking, commensurate with those prescribed            or complicit actor in a migrant smuggling business. The government
for other serious crimes, such as rape. During the previous reporting               also reported a lack of understanding of the nature of trafficking
period, the government drafted legislation to remove the provision                  among the Dominican population hindered effective identiﬁcation and
requiring a demonstration of force, fraud, or coercion to constitute a              investigation of the crime.
child sex trafficking crime; the legislation remained pending at the end
                                                                                    Corruption and official complicity in trafficking crimes remained
of the reporting period.
                                                                                    signiﬁcant concerns, inhibiting law enforcement action during the
The Attorney General’s Office and the police anti-trafficking unit (ATU)            year. The government reported it ﬁled a disciplinary action against the
reported jointly initiating 53 trafficking investigations involving 76              former head of the PETT for obstruction of justice; he was undergoing
people (47 cases of 69 people for sex trafficking and six cases of seven            disciplinary hearings in court at the end of the reporting period. There
people for labor trafficking). The Attorney General’s Office and the ATU            were no other reports of official complicity during the reporting period,
reported initiating 107 investigations in 2020. The government continued            but an international organization noted there was limited data available
investigations in 15 cases (six for sex trafficking, three for labor trafficking,   on investigations and their results, particularly during the pandemic.
and six cases for unspeciﬁed exploitation including pandering and                   The government did not report the status of a 2017 sex trafficking case
procuring) from previous reporting periods. The government reported                 involving police officers and members of the military. The government
initiating prosecutions of 46 alleged traffickers (41 for sex trafficking           reported that in order to reduce official complicity, it rigorously screened
and ﬁve for labor trafficking), compared with initiating prosecutions               and supervised security personnel providing services in border areas; it
against 42 defendants in 2020 (36 for sex trafficking and six for labor             also increased salaries and training to officers. The government did not
trafficking). The government continued prosecutions of 52 suspects (42              have courts speciﬁcally for trafficking cases, nor was there a separate
for sex trafficking, four for labor trafficking, and six for pandering and          judicial budget for trafficking. Courts used a virtual hearing system until
procuring). Of the total prosecutions, the government prosecuted 92                 mid-December 2021. The government also reported that experienced
alleged criminals under the anti-trafficking laws and six people under              law enforcement personnel were insufficient at times due to COVID-19
other laws. Courts convicted 10 traffickers (six for sex trafficking under          cases and mitigation policies, which shifted personnel to enforcing
the trafficking law and four for pandering and procuring under the                  curfews and other pandemic policies.
penal code), compared with four traffickers in 2020. The government
                                                                                    The National Migration Institute (INM) reported it trained a total of
cooperated with four foreign governments on trafficking investigations.
                                                                                    155 people during the reporting period, including employees of the
During the reporting period, 10 new or ongoing investigations and one
                                                                                    Directorate General of Migration on detecting the crime of trafficking
conviction resulted from this international cooperation, as well as the
                                                                                    and employees at the Ministry of Defense on the identiﬁcation of
identiﬁcation of at least six trafficking victims. The government reported
                                                                                    fraudulent documents and imposters. An international organization
it enforced the law equitably; however, an international organization
                                                                                    funded the majority of the workshops. The National School of the
reported the government sometimes chose not to pursue cases when
                                                                                    Judiciary trained its personnel on trafficking. The National Police, in
victims were migrants or undocumented Haitian women.
                                                                                    partnership with an NGO and an international organization, carried
The Specialized Prosecutor's Office against the Smuggling of Migrants               out training for 300 investigators including police officers, prosecutors,
and Trafficking in Persons (PETT) and the ATU were the principal law                other public servants, as well as members of civil society on trafficking
enforcement bodies pursuing trafficking cases, with police units in Santo           and CSEC investigations.
Domingo, Punta Cana, San Cristóbal, Puerto Plata, and Boca Chica. An
NGO and other observers reported the ATU was fully operational until                PROTECTION
the government changed its command in November 2021, after which                    The government maintained victim protection efforts. Authorities
it slowed its anti-trafficking activities while the new staff learned their         reported identifying 65 victims (29 of sex trafficking, eight of labor
responsibilities; the national police worked with provincial police units           trafficking, and 28 of unspeciﬁed exploitation including pandering),
to continue investigations. The PETT had established liaisons in each of            compared with 95 potential victims (82 of sex trafficking and 13 of labor
the 35 district attorney’s offices nationwide. An NGO reported authorities          trafficking) in 2020, 195 potential victims in 2019, and 96 potential victims
almost exclusively dedicated their anti-trafficking efforts on addressing           in 2018. Of the sex trafficking victims, six were women, including four
sex trafficking and the government did not make efforts or provide                  Dominicans and two Colombians, 21 were girls, including 18 Dominicans
funding to combat labor trafficking. NGOs reported that Dominican                   and three Haitians, and two were Dominican boys. Of the labor trafficking
authorities often lacked the training and technology for the identiﬁcation,         victims, one was a Venezuelan woman, one was a U.S. citizen man,
investigation, prosecution, and sentencing of both traditional and online           four were Dominican girls, and two were U.S. citizen boys. Of the other
trafficking crimes, sometimes favoring the rights of the defendant over             victims, 11 were women, 15 were men, and two were girls, all of whom
those of the victim. The National Police, in cooperation with an NGO,               were Dominican. NGOs initially identiﬁed and referred to authorities
developed an Electronic Investigation Module. The tool could expedite               three of the child sex trafficking victims. Observers noted data collection
and improve the quality of investigations carried out by the National               improved somewhat during the current reporting period as the number
Police and the Attorney General, but a change in command at the                     of reported sex trafficking victims in previous reporting periods may have
Department of Investigations delayed its full implementation. An NGO                included individuals in commercial sex who were not victims present
                                                                                                                                      Haiti AR_000690               209
                         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 315 of 729
DOMINICAN REPUBLIC   during raids of nightclubs. In current and previous reporting periods,        the Department of Mental Health provided psychological assistance to
                     statistics may not have included potential Haitian victims not screened or    victims. The National Health Service could conduct medical evaluations
                     referred before deportation, despite the known prevalence of trafficking      of trafficking victims at hospitals in Santo Domingo. The government
                     among Haitian migrants. The government reported it referred all 65            reported it worked with the embassies and consulates of the country of
                     victims to government or government-supported NGO services and all            origin of foreign victims to provide consular and repatriation services
                     received services, compared with 12 conﬁrmed victims referred to care         and represent their interests as necessary. The government reported
                     in the previous reporting period, but it did not specify which services the   it tailored services according to the victims’ needs. An international
                     victims received. Observers also noted data collection improved with          organization reported the government did not refer or provided delayed
                     respect to the government’s reporting of individuals referred to care.        or insufficient services for female Haitian trafficking victims.
                     The government largely relied on NGOs and religious-based organizations       An international organization reported ﬁnalizing a joint project with the
                     to provide accommodations for foreign and Dominican trafficking               judiciary to develop an interview protocol for child victims and witnesses
                     victims in addition to psychological, reintegration, repatriation, and        of crimes of sexual violence that established guidelines for abiding by
                     medical assistance and services. These organizations had limited              applicable human rights concerns and intended to avoid re-traumatizing
                     technical skills and resources and lacked capacity to provide for the large   the victims and witnesses; the government did not report implementing
                     number of victims in country. An NGO reported the National Council            the protocol by the end of the reporting period. The government reported
                     for Children and Adolescents (CONANI) experienced two changes in              providing support to 56 victims in the investigation or prosecution of their
                     leadership during the reporting period, neither of which improved the         alleged traffickers and conducting interviews of victim-witnesses in a
                     performance of the agency, which still struggled to provide emergency         Gesell Chamber to avoid re-victimization of survivors. The trafficking law
                     care for child victims and psychotherapeutic treatment for victims. The       did not provide immigration protections for trafficking victims whether
                     government reported implementing health protocols for victim services         or not they assisted with court cases. However, the government reported
                     in response to the pandemic. The Tourist Police identiﬁed child victims       it did not detain or deport trafficking victims and that if victims wished
                     during patrols or from public calls at tourist attractions, such as parks     to return to their country of origin, the government would forgive the
                     and clandestine privately-owned hostels; other tourist areas such as          overstay fee they may have incurred. Local NGOs stated that although
                     beaches and spas were closed due to the pandemic. The Tourist Police          the government did not deport foreign trafficking victims, it also did not
                     provided personal protective equipment kits with gloves, masks, and           offer temporary residence or work permits or take constructive steps
                     hand sanitizer to child victims.                                              to regularize a victim’s immigration status after a short period of time.
                                                                                                   As a result, foreign victims may have found themselves without legal
                     The government reported PETT’s investigations department identiﬁed
                                                                                                   status, which increased their vulnerability to trafficking. The government
                     victims or possible victims during operations. When carrying out an
                                                                                                   permitted victims to work. An NGO reported judges could limit victims’
                     operation or investigation, the government reported using screening
                                                                                                   movement, disincentivizing their participation in judicial actions. The
                     and referral protocols. However, government and outside observers
                                                                                                   government reported training officials on legal support and protection
                     noted authorities did not consistently or effectively implement the
                                                                                                   systems and assistance for victims and the identiﬁcation and protection
                     protocols, particularly with regard to screening detained migrants. The
                                                                                                   of child victims. The government reported no Dominican trafficking
                     government reported that, when detaining or arresting individuals in
                                                                                                   victims were identiﬁed abroad.
                     commercial sex, migrants, or other at-risk groups, law enforcement,
                     immigration, and social services personnel conducted an assessment
                     to determine if they were trafficking victims; however, it did not identify
                                                                                                   PREVENTION
                                                                                                   The government maintained prevention efforts. CITIM, the national
                     any victims as a result of these assessment. Police may have penalized
                                                                                                   coordinating body responsible for efforts against trafficking chaired by
                     child trafficking victims, particularly those involved in robbery gangs or
                                                                                                   the Ministry of Foreign Affairs, met twice. The government reported it
                     illicit narcotics, for unlawful acts traffickers compelled them to commit.
                                                                                                   held six joint meetings between the National Steering Committee to
                     An NGO also reported the lack of interpreters, particularly for Haitian
                                                                                                   Combat Child Labor and the Commission against Abuse and Commercial
                     nationals, continued to hinder victim identiﬁcation efforts. With the
                                                                                                   Sexual Exploitation. The government reported it delayed passage of
                     support of an international organization and an NGO, the Directorate
                                                                                                   the draft trafficking legislation in order to seek input from survivors in
                     General of Migration, the Security Department (CSEC), and the two
                                                                                                   December 2021. The government did not complete its development of a
                     specialized departments of the Attorney General and the National
                                                                                                   new NAP to address trafficking. The government did not allocate speciﬁc
                     Police signed an MOU in March 2022 to improve the airport screening
                                                                                                   funds for implementation of its existing 2018 NAP beyond the standard
                     process for trafficking victims. Authorities likely detained, arrested, and
                                                                                                   operating budgets for CITIM institutions. However, it allocated funds to
                     deported some unidentiﬁed trafficking victims, including Venezuelan
                                                                                                   the Ministry of Women for new shelters. The Ministry of Foreign Affairs
                     migrants. The government and an international organization developed
                                                                                                   did not publish on its website an annual evaluation of anti-trafficking
                     and used standard operating procedures for children recovered in
                                                                                                   efforts of each CITIM member institution as it had done in prior years.
                     international waters.
                                                                                                   INM reported it implemented a research project on trafficking with
                     The government reported it referred all child victims to the National         funding from a foreign donor from 2018 to 2021; it studied trafficking
                     Directorate for Children, Adolescents, and Family to coordinate victim        among unaccompanied migrant children and adolescents and researched
                     services. CONANI provided protection both in its shelters and in              Dominican women exploited in trafficking abroad and their relationships
                     residential programs run by NGOs for as long as required. The Central         with family members in the Dominican Republic, through case studies in
                     Directorate of the Tourism Police arranged lodging for potential child        Spain, Switzerland, and Costa Rica. INM shared the results of its studies
                     victims in conjunction with CONANI and NGOs. The government opened            with experts and made the results available to the public.
                     a permanent shelter for trafficking victims run by the Ministry of Women
                                                                                                   The government, in collaboration with an NGO, raised public awareness
                     in July 2021 with capacity for 24 adult victims; the government sheltered
                                                                                                   of trafficking and sexual exploitation in high tourist areas. The Ministry of
                     ﬁve victims there during the reporting period. The Ministry of Women
                                                                                                   Labor (MOL) carried out, in cooperation with an international organization
                     reported it opened an additional 15 shelters for victims of gender-based
                                                                                                   and with funding from a foreign donor, an awareness campaign in Spanish
                     violence including trafficking victims during the reporting period. The
                                                                                                   against child labor. The government continued to disseminate material
                     trafficking shelter reportedly provided psychological and legal assistance,
                                                                                                   on billboards and to the local press and radio through the “Ojo Pelao”
                     immigration support, comprehensive health care, food, education, and
                                                                                                   (“Eyes Peeled”) awareness and prevention campaign for potential
                     job training. An NGO reported the government continued to offer victims
                                                                                                   victims, focusing particularly on those individuals in commercial sex.
                     services on a temporary basis and government funding and service
                                                                                                   PETT held awareness-raising roundtables with community leaders
                     quality was inadequate. RELEVIC could also provide public lawyers
                                                                                                   and members in partnership with NGOs. The government promoted
                     to represent victims. The government reported it also provided legal
                                                                                                   the opening of the trafficking shelter. The government continued the
                     assistance for victims who wished to ﬁle civil suits for compensation
                                                                                                   national “No Hay Excusas” (“No Excuses”) campaign against child sexual
                     against the traffickers; NGOs reported prosecutors did not always pursue
                                                                                                   exploitation. The government conducted an awareness campaign for
                     restitution for victims and without public legal assistance victims were
                                                                                                   the Tourism Police on trafficking and child labor in coordination with an
                     often unable to afford to pursue the case. The government reported
   210                                                                                                                                           Haiti AR_000691
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 316 of 729




                                                                                                                                                               ECUADOR
international organization and trained officials on Dominican passport        TRAFFICKING PROFILE
security measures. The government provided teaching facilitators,             As reported over the past ﬁve years, human traffickers exploit domestic
transportation, facilities and equipment, and refreshments.                   and foreign victims in the Dominican Republic, and traffickers exploit
PETT operated a dedicated 24/7 national trafficking hotline and reported      victims from the Dominican Republic abroad. Dominican women and
it received calls on 16 trafficking cases during the reporting period.        children, particularly from impoverished areas, were sex trafficking
Four other general hotlines and a new email address could also receive        victims throughout the Dominican Republic, the Caribbean, South
human trafficking calls in Spanish, English, French, and Haitian Creole. In   and Central America, Europe, the Middle East, and the United States.
addition, CONANI operated a hotline for the referral of children without      Foreign victims especially from Haiti, and from other parts of the
appropriate care during the pandemic.                                         Caribbean, Asia, and Latin America, were trafficking victims in the
                                                                              Dominican Republic. The Dominican Republic has the largest stateless
The government made some efforts to address vulnerabilities among             population in the Western Hemisphere; a 2014 law created a mechanism
migrant populations. Starting in April 2021, approximately 43,000             to provide citizenship papers or a naturalization process to stateless
Venezuelans with irregular migratory status registered to normalize           persons, but the law has not been properly implemented, leaving at
their status with the possibility to work or study until the Maduro           least 135,000 Dominicans of Haitian descent effectively stateless and
regime declared an end to the current situation in the country. The           vulnerable to trafficking. Experts noted an increase in the number of
government reported that although this program was not directly               Venezuelan trafficking victims in the Dominican Republic since the onset
related to trafficking, it nonetheless provided a preventive measure          of Venezuela’s economic and political crisis. Cuban nationals working as
for a group at high risk of trafficking. Media reported the government        doctors in prior reporting periods and baseball players may have been
suspended a plan in January 2022 to provide Haitians in border areas          forced to work by the Cuban government. The Dominican Republic is a
with identiﬁcation cards to facilitate commercial exchange. The Ministry      destination for sex tourists primarily from North America and Europe
of Interior also refused to process Dominican citizenship to 50 persons       for child sex trafficking. Sex trafficking of 15- to 17-year-old girls occurs
of Haitian descent granted via presidential decree and continued to           in streets, in parks, and on beaches. Traffickers operating in networks
decline to renew work permits for more than 200,000 immigrants and            continue to employ methods to mask their activities, including the use
Dominicans of Haitian descent who obtained documentation after a              of catalogs to sell victims to potential clients, using private homes,
2014 law. Observers noted that barring residency permits to Haitians          rented private apartments, or extended stay hotels to house victims.
and their descendants—including those born in the Dominican Republic          The government reported its research in 2021 showed that during the
who had never been to Haiti—caused a lack of access to the formal             pandemic, traffickers increasingly used online platforms for recruitment
labor sector, secondary and post-secondary education, and medical             and exploitation. In cases of sexual exploitation of children, WhatsApp
care and caused risks of deportation to Haiti at any time, leaving them       chats and social media are used to attract children and exploit them.
vulnerable to trafficking. In spite of the government’s obligations to        NGOs report police complicity in areas known for child sex trafficking.
enforce its labor laws under the Central American Free Trade Agreement,       Government officials and NGOs report an increase in traffickers recruiting
observers noted the lack of documentation faced by most workers in            Colombian and Venezuelan women to dance in strip clubs and later
the sugar industry left them at risk for abuse, including trafficking. In     coerce them into sex trafficking. Traffickers lure Dominican women to
January 2022, the government announced a new policy for agricultural          work in nightclubs in the Middle East, Africa, the Caribbean, and Latin
and construction companies to register undocumented workers, who              America and subject them to sex trafficking. The pandemic forced many
were primarily Haitian, through a temporary work permit program               companies to idle workers at partial salaries or lay them off entirely,
valid for one year at a time; however, registration would begin with          increasing their vulnerability to trafficking. The government offered
Haitian citizens who had a passport, a national identity card, or a birth     unemployment beneﬁts, but many households sought informal labor
certiﬁcate, and beneﬁciaries under the law would be required to have          opportunities. The government reported an increase in child labor in
some form of valid identiﬁcation.                                             2021 due to the pandemic. Dominican officials and NGOs documented
The labor code prohibited the charging of fees for the recruitment            cases of children forced into domestic service, street vending, begging,
of workers; the recruitment of workers through fraudulent offers of           agricultural work, construction, robbery gangs, and moving illicit
employment; misrepresentation of wages, working conditions, location,         narcotics. In 2020, the government described an increase in Dominican
or nature of work; and the conﬁscation or denial of workers’ access           trafficking victims, speciﬁcally children, brought from the interior of the
to identity documents. The MOL reported working with a foreign                country to coastal tourist areas. There are reports of forced labor of adults
government to review regulations on supervision and protection for            in construction, agricultural, and service sectors. The precarious legal
workers and those seeking employment with the goal of improving               situation for Dominicans of Haitian descent, the fear of deportation, and
the National System for the Regulation of Employment Agencies. The            the discrimination they face increases their risks for trafficking and labor
government drafted revised public procurement legislation that would          abuses, including in the sugar industry. Haitian women report smugglers
change awards criteria from the lowest price offer to that with the highest   often become traffickers for the purpose of sexual exploitation along
value for money, prevent abnormally low offers from being awarded,            the border, and observers note traffickers operate along the border with
and incorporate and implement the Regulatory Compliance Program in            impunity and sometimes with the assistance of corrupt government
public procurement; the legislation remained pending at the end of the        officials who accept bribes to allow undocumented crossings. Unofficial
reporting period. The government reported 56,938 labor inspections,           border crossings remain unmonitored and porous, leaving migrants,
compared with 41,953 labor inspections in 2020; the government trained        including children, vulnerable to trafficking. In December 2021, media
all labor inspectors on trafficking in September 2021. Complaints about       reported statements by senators that the Haitian-Dominican border
child labor could be made electronically, by telephone, or in person at       lacked official control, thereby facilitating trafficking. LGBTQI+ individuals
any of the 40 offices of the MOL. The government did not make efforts         experience high levels of violence, which may include trafficking. An
to reduce the demand for commercial sex. The government carried out           increased number of unaccompanied children at risk for trafficking
child sex tourism awareness-raising activities in main tourist areas. The     were interdicted and returned from the high seas surrounding Puerto
government continued to participate in a multi-country operation to           Rico during the reporting period.
identify and investigate individuals traveling overseas who had been
convicted of sexual crimes against children and may engage in sex
tourism. The government reported it denied entry to more than 270
individuals during the reporting period as being potential sex tourists.       ECUADOR: TIER 2
Laws provided for the prosecution of Dominican citizens who engage in
child sex tourism abroad; the government did not report any prosecutions      The Government of Ecuador does not fully meet the minimum standards
for child sex tourism. The Ministry of Foreign Affairs trained diplomats      for the elimination of trafficking but is making signiﬁcant efforts to do
through six virtual trainings. The government trained army personnel          so. The government demonstrated overall increasing efforts compared
prior to their participation in overseas peacekeeping missions.
                                                                              with the previous reporting period, considering the impact of the
                                                                              COVID-19 pandemic on its anti-trafficking capacity; therefore Ecuador
                                                                                                                                 Haiti AR_000692               211
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 317 of 729
ECUADOR
          remained on Tier 2. These efforts included increasing prosecutions and         the penal code, and the labor code, cover different aspects of the
          convictions of traffickers, investigating forced labor cases, prosecuting      government’s response to trafficking.
          three individuals in a high-proﬁle case involving forced labor allegations,    The Directorate for the Prevention of Trafficking in Persons and
          and coordinating with foreign governments to repatriate victims and            Migrant Smuggling, the lead anti-trafficking office within the Ministry
          bring traffickers to justice. However, the government did not meet             of Government (MOG), reported authorities initiated 93 investigations
          the minimum standards in several areas. Authorities continued to               into alleged trafficking crimes, including 15 cases of forced labor,
          make insufficient efforts to prosecute or convict labor traffickers. The       compared with 126 investigations in 2020 and 132 in 2019. Police arrested
          government did not fund civil society organizations in a timely and            65 individuals suspected of trafficking crimes (18 for sex trafficking and
          consistent manner, which left victims vulnerable to re-trafficking and         47 for unspeciﬁed exploitation), compared with 22 in 2020 and 25 in
          also led to the closure of a critically important shelter for victims in       2019. In 2021, authorities prosecuted 17 sex trafficking cases involving
          the witness protection program. In addition, specialized services for all      47 individuals, compared to seven trafficking cases and eight individuals
          victims remained unavailable in most of the country, including adults          in 2020 and eight trafficking cases involving 12 individuals in 2019.
          who made up the majority of the victims identiﬁed.                             During the reporting period in a notable and high-proﬁle case involving
                                                                                         allegations of forced labor in an abaca hemp plantation, the Specialized
                                                                                         Prosecutor’s Office in Transnational and International Organized Crime
                  ECUADOR TIER RANKING BY YEAR
                                                                                         (FEDOTI) charged the current CEO and two of his predecessors with
              1
                                                                                         human trafficking crimes for the alleged forced labor of 123 victims.
              2                                                                          The case remained pending at the end of the reporting period. In 2021,
            2WL                                                                          the government convicted 13 traffickers, of which 10 were sentenced
              3
                                                                                         to a minimum of 13 years in prison and a ﬁne of 150 times the statutory
                    2015      2016     2017      2018   2019   2020    2021    2022      minimum wage ($63,750); courts subsequently acquitted two traffickers
                                                                                         on appeal, and there were no additional details on the last case. This
                                                                                         compares to eight traffickers convicted in 2020 and nine in 2019. Because
                                                                                         the criminal code’s deﬁnition of trafficking under Article 91 was broader
          PRIORITIZED RECOMMENDATIONS:                                                   than the deﬁnition of trafficking under international law, some of the
          Improve efforts to address forced labor, including criminally prosecuting      investigations, prosecutions, and convictions reported under this law
          labor traffickers and complicit officials, training labor inspectors on        may not have been trafficking cases.
          indicators of forced labor, and conducting proactive and unannounced
          labor inspections in sectors vulnerable to exploitation, such as banana        The Anti-Trafficking Unit (ATU), under the National Police Unit for Crimes
          plantations, ﬂoriculture, hemp (abaca), and mining. • Fund and increase        against Children and Adolescents, was the primary law enforcement
          support for NGOs that provided victim services. • Provide specialized          unit responsible for investigating trafficking cases. The ATU remained
          services for victims of forced labor and sex trafficking, including adults,    understaffed and under-resourced. The frequent rotation of staff for
          boys, and girls younger than 12. • Vigorously investigate, prosecute, and      mandatory police training reduced the number of operational staff at a
          convict traffickers, including public officials complicit in trafficking. •    given time, likely affecting their readiness. In 2021, stakeholders reported
          Establish systems to protect workers from labor trafficking, including         the pandemic severely affected the ATU and its ability to conduct anti-
          amending legal provisions to prohibit employers from withholding               trafficking operations, mostly due to mitigation measures that reduced
          passports or travel documents from workers, collecting worker-paid             staffing even further. ATU officials reported a 40 percent decrease in
          recruitment fees, and allowing foreign workers to change employers             cases reported, which authorities attributed to possible victims’ fear of
          without facing penalties or deportation. • Appoint a specialized               contagion. The MOG also reported being understaffed due to illness and
          prosecutor to focus solely on trafficking crimes. • Adopt comprehensive        other impacts of the pandemic. FEDOTI had responsibility for trafficking
          stand-alone anti-trafficking legislation that criminalizes all forms of        cases at the national level; however, due to its broad mandate, most of its
          trafficking in line with international deﬁnitions and stipulates protection    work focused on the prosecution of non-trafficking crimes. Authorities
          measures and preventive techniques to combat trafficking. • Increase           recognized sex trafficking was most prevalent in coastal provinces;
          proactive identiﬁcation of and services for trafficking victims among          however, government efforts to investigate and prosecute traffickers,
          vulnerable populations, such as irregular migrants, Indigenous                 and identify and protect victims in major port cities such as Guayaquil,
          communities, LGBTQI+ individuals, some foreign workers, and individuals        were deﬁcient. The MOG—in some cases with the support of international
          in commercial sex. • Increase victim-centered anti-trafficking training        organizations or foreign governments—trained 2,189 government
          for labor inspectors, police officers, judges, immigration officials, social   officials, including police officers, community police chiefs, prosecutors,
          workers, and other government officials, particularly to enhance victim        and judges, in victim identiﬁcation, victim-centered engagement, and
          identiﬁcation.                                                                 investigating and prosecuting trafficking crimes, compared with 1,092
                                                                                         in 2020 and 605 trained in 2019.
          PROSECUTION                                                                    The government did not report any investigations, prosecutions, or
          The government maintained prosecution efforts. Articles 91 and 92 of           convictions of any government employees complicit in trafficking
          the 2014 Criminal Code (COIP) criminalized all forms of labor trafficking      crimes; however, corruption and official complicity in trafficking crimes
          and some forms of sex trafficking and prescribed penalties ranging from        remained signiﬁcant concerns, inhibiting law enforcement action during
          13 to 16 years’ imprisonment. These penalties were sufficiently stringent      the year, and cases from previous years remained mostly unresolved.
          and, with respect to sex trafficking, commensurate with those for other        NGOs reported immigration officials at border crossings allowed alleged
          serious crimes, such as kidnapping. Article 91 deﬁned trafficking broadly      traffickers to transport potential sex trafficking victims to neighboring
          to include all labor exploitation, child pornography, child labor, illegal     countries. During the reporting period, a government official reported
          adoption, and the sale of tissues, ﬂuids, and genetic materials of living      possible corrupt practices at the labor inspectorate, highlighting that
          persons. In 2020, the government amended the deﬁnition of trafficking          labor inspectors often accepted bribes to overlook violations. With
          within Article 91 to better align with the deﬁnition of trafficking under      support from an international organization, the MOG, the national police,
          international law. The amendment correctly established the use of force,       and the Attorney General’s Office (AGO) ﬁnalized a guide to help law
          fraud, or coercion as an essential element of an adult trafficking offense.    enforcement officials identify, handle, and use evidence in trafficking
          However, the amendment did not include a necessary provision indicating        cases, but authorities did not report relevant officials received any
          that the element was unnecessary in the case of sex trafficking offenses       training on its use. The government cooperated with Peruvian authorities
          involving child victims. Therefore, all forms of child sex trafficking were    on a case involving two Ecuadorian victims identiﬁed in Peru. Jointly,
          no longer explicitly criminalized under Article 91. Observers indicated        law enforcement authorities arrested four individuals, three in Ecuador
          that the absence of comprehensive anti-trafficking legislation remained        and one in Peru, for their alleged involvement in this case. Similarly,
          a challenge in the ﬁght against trafficking, due to confusion over the         the government cooperated with Colombian authorities to repatriate
          fact that different legal provisions, including the Human Mobility Law,        two Ecuadorian victims identiﬁed in Colombia; however, civil society

 212                                                                                                                                  Haiti AR_000693
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 318 of 729




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organizations reported insufficient coordination between Colombian            Ecuadorian victims seeking repatriation. In 2021, officials repatriated
and Ecuadorian authorities on trafficking prosecutions.                       15 Ecuadorian victims identiﬁed abroad, one in Chile, two in Colombia,
                                                                              six in Peru, and six in Uruguay. Authorities did not report if any of
PROTECTION                                                                    the foreign victims identiﬁed requested temporary residency status.
The government decreased protection efforts. In 2021, authorities             The Human Mobility Law guaranteed protection against refoulement
identiﬁed 51 victims of trafficking, 31 for sex trafficking (17 girls, 13     to countries where the lives of victims’ or their relatives were at risk,
women, and one boy) and 20 for forced labor (nine girls, three women,         including foreign victims of trafficking. Authorities reported they could
ﬁve boys, and three men), compared with 2020 when the government              grant temporary or permanent residency to foreign victims, and in
identiﬁed 140 victims, among whom an NGO identiﬁed 10 and assisted            cases where the victims wished to repatriate, the government assisted.
23. Civil society organizations reported providing shelter to 66 victims,
including 51 victims of sex trafficking, four victims of forced labor,        PREVENTION
and 11 victims of both sex and labor trafficking (58 Ecuadorian and           The government maintained prevention efforts. The MOG chaired
eight Venezuelan). Separately, an international organization reported         the Inter-Institutional Committee for the Prevention of Trafficking
assisting 79 victims, including 69 women, four men, and six girls (61         in Persons. In 2021, the national coordinating body met three times
foreign nationals and 18 Ecuadorians); one of the victims identiﬁed as        and the committee’s four sub-working groups met twice each. The
LGBTQI+. The government had a victim identiﬁcation manual to aid              government continued implementing the 2019-2030 national action plan
with the proactive identiﬁcation of victims, and authorities regularly        for the elimination of trafficking (PACTA) but did not report funding the
referred victims to services. In 2021, NGOs noted a decrease in the           interagency members of the anti-trafficking committee responsible for
number of cases referred by police given insufficient staffing at the         the implementation of PACTA-mandated activities. This contrasted with
NIU as a result of the pandemic. Authorities did not report how much          the previous year, when authorities reported funding and implementing
money had been dedicated for victim protection services, compared             90 percent of committee members’ activities under PACTA, despite the
with 2020 when the government dedicated $1.45 million for victim              pandemic. Officials launched an interactive map displaying trafficking
protection and assistance. NGOs relied on international support to            crimes nationwide to understand trends better and inform policymaking.
maintain shelter operations given signiﬁcant delays in government             In 2021, the ATU opened permanent offices in Quito and Guayaquil
funding for services. The government—in some cases with the support of        airports to monitor and respond to international trafficking crimes.
international organizations—trained NGOs, public officials, and teachers      Authorities conducted some public awareness campaigns but did not
in victim protection measures.                                                provide details on the targeted audiences or the effectiveness of such
                                                                              campaigns. Officials—in some cases with the support of international
The Human Rights Secretariat (SDH) was the entity responsible for
                                                                              organizations—provided training for teachers, civil servants, and youth
assisting adult victims of trafficking. It operated ﬁve non-specialized
                                                                              in the prevention of trafficking crimes. The criminal code prohibited
shelters and 46 care centers where trafficking victims had limited options
                                                                              sex tourism. The government did not report investigations of child sex
for general ambulatory services by interdisciplinary teams that comprised
                                                                              tourism, prosecutions, or convictions of child sex tourists. Authorities
psychologists, social workers, and attorneys. The Ministry of Social and
                                                                              did not provide an update on the status of the protocol developed in
Economic Inclusion (MIES) was responsible for assisting child trafficking
                                                                              2020 by the Ministry of Tourism to help hotels detect cases of sexual
victims; however, the government did not have specialized services
                                                                              exploitation of children, including trafficking.
for child victims of forced labor, boy victims of sex trafficking, and girl
sex trafficking victims younger than the age of 12. Three specialized         Authorities did not make sufficient efforts to address forced labor. The
shelters provided services to female adolescent sex trafficking victims.      Ministry of Labor (MOL) did not have a victim identiﬁcation protocol for
Civil society organizations noted government assistance for victims was       labor inspectors or trained dedicated staff that could identify forced
good but limited in most parts of the country. Police reported challenges     labor. According to government officials, the pandemic impacted their
ﬁnding shelters for victims, particularly in provinces outside the capital;   ability to conduct in-person labor inspections. In 2021, officials reported
thus, police sometimes placed victims in non-specialized shelters until       the MOL conducted 415 labor inspections and identiﬁed one case of sex
space in a specialized shelter became available. The government had           trafficking in Guayaquil and no cases of forced labor. The MOL reported
two separate assistance protocols to outline minimum standards of care        conducting labor inspections but did not report screening for trafficking
given to female adult and adolescent trafficking victims in specialized       indicators or conducting inspections in sectors with vulnerable workers,
and non-specialized shelters. Authorities did not report providing            such as banana plantations, abaca hemp, ﬂower farms, mining, and palm
specialized care for victims in non-specialized shelters during the           plantations. NGOs and some government officials expressed concern
reporting period. During the pandemic, government officials reported          the MOL did not make sufficient efforts to investigate forced labor. The
identifying and assisting victims but noted measures taken to mitigate        MOL required employers to register the contracts of all foreign workers
the spread of the virus, such as lockdowns and travel restrictions,           so authorities could verify they had adequate work conditions and
hindered these efforts. International organizations expressed concern         salaries. Ecuadorian law did not prohibit labor recruitment practices
over the lack of protection for all victims, including victims of forced      that traffickers commonly exploit, such as charging worker recruitment
labor, boys, adults, individuals with disabilities, and girls younger than    fees, conﬁscation of workers’ passports, or allowing migrant workers to
12. NGOs continued to play a crucial role in helping the government           change employers without obtaining special permissions or losing their
carry out victim protection services during the pandemic.                     work permit. The absence of speciﬁc prohibitions against these practices
                                                                              increased the vulnerability of workers to exploitation. The government
The Office of the Prosecutor General’s formal witness protection program
                                                                              did not report efforts to reduce the demand for commercial sex acts.
(SPAVT) could provide immediate support to victims, allowing them a
                                                                              The government operated a hotline for the public to report crimes. In
30-day reﬂection period before deciding whether to participate in the
                                                                              2021, calls to the hotline led to an investigation that concluded with
penal process against their traffickers. If victims chose to assist in the
                                                                              the arrest of four traffickers and the identiﬁcation of three victims.
prosecution of their traffickers, the government continued to provide
services through SPAVT; otherwise, officials referred child victims to
MIES and adult victims to SDH to help with their reintegration. During the
                                                                              TRAFFICKING PROFILE
                                                                              As reported over the past ﬁve years, human traffickers exploit domestic
reﬂection period, services offered by the SPAVT usually included shelter,
                                                                              and foreign victims in Ecuador, and traffickers exploit victims from
medical assistance, legal support, psychological care, job placement,
                                                                              Ecuador abroad. Traffickers exploit Ecuadorian adults and children
and assistance with school or university admissions. The SPAVT program
                                                                              in sex trafficking and forced labor within the country, including in
assisted 10 victims during the year but did not provide shelter to
                                                                              domestic service; begging; banana, abaca hemp, and palm plantations;
any, as the shelter closed due to lack of funds for necessary facility
                                                                              ﬂoriculture; shrimp farming; ﬁshing; sweatshops; street vending; mining;
repairs. Foreign victims had access to the same services as Ecuadorian
                                                                              and other areas of the informal economy. In 2019, the ombudsman’s
victims, and in 2021, at least eight Venezuelan victims were assisted
                                                                              office released a report on behalf of hundreds of agricultural workers
in government-funded shelters. The government had mechanisms to
                                                                              and their families accusing a multinational corporation of child labor,
repatriate victims, and Ecuadorian diplomatic and consular missions
                                                                              forced labor, and practices analogous to slavery. According to sources,
abroad had funding to provide food, lodging, and airplane tickets to
                                                                                                                               Haiti AR_000694              213
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 319 of 729
EGYPT   including the ombudsman’s office, abaca hemp workers, mostly Afro-
        Ecuadorians, lived in plantations under tin roofs in subhuman conditions         EGYPT: TIER 2
        without running water or electricity. Workers’ housing was in remote
        locations inside the plantations, and access roads were often locked            The Government of Egypt does not fully meet the minimum standards
        to prevent the workers’ freedom of movement. Most of the workers at             for the elimination of trafficking but is making signiﬁcant efforts to do
        the start of the supply chain did not have labor contracts in place and         so. The government demonstrated overall increasing efforts compared
        had to provide between three to ﬁve tons of abaca hemp to receive               with the previous reporting period, considering the impact of the
        payment for their work. Women and girls worked as camp cooks                    COVID-19 pandemic on its anti-trafficking capacity; therefore Egypt
        and did not receive payments for their work. In 2021, a judge ruled in          remained on Tier 2. These efforts included increasing prosecutions
        favor of the workers and ordered the company to pay compensation;               and fully operationalizing a specialized trafficking shelter. In addition,
        however, the company continued to contest the ruling. The judge also            the government established eight specialized prosecution offices to
        noted institutional abandonment by the government, speciﬁcally the              manage trafficking and irregular migration cases and acquitted 120
        MOG and the MOL, noting authorities had knowledge of concerning                 trafficking victims wrongfully charged with prostitution and other
        violations dating back to 2018 and did not make resolute efforts to             crimes. However, the government did not meet the minimum standards
        protect the victims and bring those responsible to justice, allowing            in several key areas. Courts decreased convictions, and the government
        them to operate with impunity. In early 2022, the AGO indicted the              identiﬁed fewer victims. In addition, the government used trafficking
        current and two former CEOs for human trafficking. This is the largest          charges to prosecute politically-motivated, non-trafficking cases
        criminal case in terms of victims of alleged human trafficking crimes           thereby undercutting the government’s efforts to hold sex and labor
        in Ecuador’s history.                                                           traffickers criminally accountable. Police reportedly arbitrarily arrested
        Sex trafficking is most prevalent in coastal provinces, including El Oro,       and subjected at least 30 refugees and asylum seekers to forced labor
        Guayas, Manabí, Los Rios, and northern border provinces including               during the reporting period. While the government drafted a new
        Carchi, Esmeraldas, Loja, and Sucumbíos. Sixty percent of child female          national referral mechanism (NRM), it remained unimplemented, and at
        sex trafficking victims, whom one of the specialized shelters identiﬁed         times authorities penalized potential victims for unlawful acts traffickers
        and assisted, originate from Quevedo, Los Rios province. Indigenous             compelled them to commit, such as immigration and prostitution
        and Afro-Ecuadorians, Colombian refugees, and Venezuelan migrants               violations.
        are particularly vulnerable to trafficking. Women, children, LGBTQI+
        individuals, refugees, and migrants continue to be the most at risk for                 EGYPT TIER RANKING BY YEAR
        sex trafficking; Indigenous persons and People’s Republic of China                  1
        national workers are vulnerable to forced labor. Traffickers promising a
                                                                                            2
        better life to migrants from South and Central America, the Caribbean,
        and to a lesser extent, Africa and Asia, conﬁscate documents, impose              2WL
        debts, and threaten or force migrants into commercial sex upon the                  3
        victims’ arrival in Ecuador. Traffickers exploit Colombian, Peruvian,                     2015      2016      2017   2018   2019   2020     2021    2022
        Venezuelan, and to a lesser extent, Central American women and
        girls in sex trafficking and domestic servitude and forced begging.
        Traffickers increasingly use social media networks to recruit and groom
        individuals to later exploit them in sex and labor trafficking. Traffickers     PRIORITIZED RECOMMENDATIONS:
        use Ecuador as a transit route for trafficking victims from Colombia,           Finalize, disseminate, implement, and utilize country-wide procedures
        Venezuela, and the Caribbean to other South American countries and              and guidelines for law enforcement, judicial, and other relevant officials
        Europe. In 2021, an international organization and other observers              to proactively identify and refer trafficking victims to appropriate care.
        noted migrants, unable to enter the country legally, opted for illegal          • Increase investigations, prosecutions, and convictions of sex and labor
        border crossings, which signiﬁcantly increased their vulnerability to           trafficking, and punish offenders—including complicit officials and child
        gender-based violence, exploitation, and human trafficking crimes.              sex tourists—with sufficiently stringent sentences. • Expand protection
        Traffickers recruit children from impoverished Indigenous families under        services and shelters to victims of all forms of trafficking—including male
        false promises of employment and subject them to forced begging,                and foreign victims—and allocate adequate resources and staffing for
        domestic servitude, or forced labor in sweatshops and street and                these services. • Increase efforts to ensure authorities do not penalize
        commercial vending in Ecuador and other South American countries.               trafficking victims for unlawful acts traffickers compelled them to commit,
        Ecuadorian children are subjected to forced labor in illicit activities, such   such as immigration or prostitution violations. • Cease targeting of
        as drug trafficking and robbery. Traffickers exploit Ecuadorian adults          non-traffickers through non-germane, politically-motivated trafficking
        and children in sex trafficking and forced labor abroad, including in the       charges. • Fully utilize specialized trafficking courts and continue to
        United States and other South American countries, particularly Chile            train judicial officials in these courts on a victim-centered approach
        and Colombia. Traffickers exploit Ecuadorian children in sex trafficking        for the treatment of victims and witnesses of trafficking crimes during
        and forced labor in Chile, Colombia, Peru, and to a lesser degree in            investigations and court proceedings. • Continue to train government
        Argentina, Spain, and Suriname. Some Ecuadorian trafficking victims             officials, including police, security officials, judges, prosecutors, and
        are initially smuggled and later exploited in commercial sex or forced          social workers, on implementation of the anti-trafficking law, victim
        labor in third countries, including forced criminality in drug trafficking.     identiﬁcation techniques, and victim referral procedures. • Provide a
        Allegedly, some corrupt Ecuadorian officials have alerted traffickers           legal and regulatory environment that allows NGOs to provide services
        to law enforcement operations or labor inspections, and some local              to trafficking victims and populations vulnerable to human trafficking.
        authorities assisted traffickers in procuring falsiﬁed identity documents,      • Increase efforts to address and reduce the demand for “summer
        resulting in victims’ lack of conﬁdence in the police and a reluctance          marriages” and commercial sex acts. • Amend the labor law to include
        to report potential cases. Colombian illegal armed groups target and            labor protections for Egyptian and foreign domestic workers and
        forcibly recruit Ecuadorian children living along the northern border.          increase overall efforts to improve protections for domestic workers.
        Traffickers lure vulnerable, displaced Venezuelans with fraudulent
        employment opportunities, particularly those in irregular status, and           PROSECUTION
        later exploit them into sex trafficking and forced labor.                       The government maintained uneven law enforcement efforts. The 2010
                                                                                        anti-trafficking law criminalized sex trafficking and labor trafficking and
                                                                                        prescribed penalties from three to 15 years’ imprisonment and a ﬁne
                                                                                        for offenses involving an adult victim and up to life imprisonment and a
                                                                                        ﬁne for those involving a child victim. These penalties were sufficiently
                                                                                        stringent and, with regard to sex trafficking, commensurate with those
                                                                                        prescribed for other serious crimes, such as rape. The government

 214                                                                                                                                  Haiti AR_000695
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 320 of 729




                                                                                                                                                             EGYPT
reported that although courts and government bodies were able to              all 519 victims in 2020, but did not specify what types of assistance
remain fully open, the pandemic continued to impact the government’s          were provided or whether the other 177 identiﬁed victims received
law enforcement efforts. Some witnesses were reluctant to testify in          any assistance. Although NCCPIM & TIP reported providing victim
courts for fear of infection despite precautionary health measures,           identiﬁcation training to officials, the government did not report having
and traffickers rapidly shifting to online methods of recruitment and         comprehensive standard operating procedures (SOPs) to identify
exploitation challenged investigators’ ability to collect evidence. In        trafficking victims. The government reported that individual agencies
2021, the government investigated 149 cases of alleged sex and labor          used their own victim identiﬁcation SOPs. Although the government
trafficking crimes involving 535 suspects, compared with 259 cases            maintained an NRM, authorities reportedly did not use it consistently
involving 373 suspects for investigations initiated in 2020. The 149          throughout the reporting period. While some NGOs reported they
investigated cases included 23 sex trafficking cases, 103 forced labor        received victim referrals from various governmental entities, NGOs
cases, and 23 cases involving an unspeciﬁed form of trafficking; the          continued to report the NRM was ineffective and underutilized, and
government also continued investigations into three forced labor              various government stakeholders were unaware of its existence. To
cases and one case involving an unspeciﬁed form of trafficking begun          address these deﬁciencies, NCCPIM & TIP drafted an updated NRM
in previous years. The government prosecuted 77 alleged perpetrators          and socialized the updated NRM with relevant government agencies;
(nine for sex trafficking, 51 for forced labor, and 17 for an unspeciﬁed      the updated NRM was pending ﬁnalization and implementation at the
form of trafficking) in 2021, an increase from the 41 alleged perpetrators    end of the reporting period. The National Council for Childhood and
the government prosecuted in 2020. Courts convicted 22 perpetrators           Motherhood (NCCM) also maintained 361 child protection committees
(seven perpetrators for sex trafficking, 13 perpetrators for forced labor,    and sub-committees in 27 governates around the country and worked
and two perpetrators for unspeciﬁed forms of trafficking) in 11 cases         with 15 NGOs to identify potential child trafficking cases.
in 2021, a signiﬁcant decrease from 67 traffickers convicted in 11 cases
                                                                              Authorities typically relied on NGO referrals or for victims to self-
in 2020. Sentences ranged from three years’ imprisonment, seizure
                                                                              identify; however, NGOs reported that Egyptian and foreign female
of assets, cost of expenses, and a ﬁne of 100,000 Egyptian Pounds
                                                                              victims—particularly those among African migrants and refugees—were
($6,380) to 15 years’ imprisonment, seizure of assets, cost of expenses,
                                                                              hesitant to report or ﬁle criminal complaints against traffickers or speak
and a ﬁne of 100,000 pounds ($6,380).
                                                                              to interpreters due to fear of social stigmas. Although an international
Although not explicitly reported as human trafficking, the government         organization reported improvements in the government’s ability to
investigated multiple cases of Egyptian peacekeepers serving in the UN        identify trafficking victims, inconsistent victim identiﬁcation and referral
peacekeeping operation in the Central African Republic for alleged sexual     procedures continued to contribute to authorities potentially punishing
exploitation involving transactional sex and exploitative relationships       or penalizing unidentiﬁed victims for illegal acts traffickers compelled
in incidents with trafficking indicators from 2019, 2020, and 2021; the       them to commit, such as immigration violations and prostitution. For
investigations were ongoing at the end of the reporting period. Aside         example, NGOs reported police arrested and detained female victims of
from these cases, the government did not report any investigations,           sex trafficking on wrongful charges of prostitution or debauchery; judges
prosecutions, or convictions of government officials complicit in human       typically released these victims due to insufficient evidence to support
trafficking crimes. However, an NGO reported police arbitrarily arrested      the charges of the crimes. During the reporting period, the government
at least 30 Sudanese refugees and asylum seekers in December 2021 and         sentenced two child sex trafficking victims to prison sentences on
January 2022, beat them, and forced them to perform physical labor at         prostitution charges. However, the government acquitted 120 trafficking
a security facility before releasing them; the government did not report      victims wrongfully charged with prostitution and other crimes. Foreign
holding the officers involved accountable. During the reporting period,       female trafficking victims reported the government required them to
the government convicted ﬁve female social media “inﬂuencers” on              pay overstay fees, thus preventing them from leaving the country and
charges of trafficking, “recruiting young women to share inappropriate        potentially hindering them from leaving trafficking situations.
content online,” and publishing inappropriate content. Multiple NGOs
                                                                              In November 2021, the government fully operationalized the specialized
and international observers commented the charges and convictions
                                                                              trafficking shelter in Qalyoubia governorate inaugurated in November
were inappropriate, undercut the government’s efforts to hold sex and
                                                                              2020, which the NCCPIM & TIP opened in cooperation with the Ministry
labor traffickers criminally accountable, and confused the public on the
                                                                              of Social Solidarity (MoSS), NCCM, an NGO, an international organization,
meaning of human trafficking.
                                                                              and a foreign government; the shelter assisted at least three female
In September 2021, the Prosecutor General’s Office announced the              victims during the reporting period. The shelter could accommodate
establishment of eight specialized prosecution offices, one in each           28 women and girls and was staffed by female psychologists, social
appellate court district, to manage trafficking and irregular migration       workers, and medical staff. The government allocated 1 million pounds
cases. The Ministry of Justice (MOJ) maintained eight specialized             ($63,780) for annual shelter operations. Foreign victims could not access
judicial circuits in the courts of appeal with 30 judges assigned to          the shelter, despite recommendations from stakeholders to allow foreign
prosecute human trafficking cases. During the reporting period, the           victims to have access; the government reported it was planning to
National Coordinating Committee for Combating and Preventing Illegal          open the shelter to foreign victims in the future. Ten shelters (in nine
Migration and Trafficking in Persons (NCCPIM & TIP), in partnership with      governorates) for violence against women (VAW), run by the MoSS,
international organizations, organized anti-trafficking training sessions,    could receive female and child trafficking victims; foreign victims could
capacity-building workshops, and international exchanges on victim            access all 10 VAW MoSS shelters; and male victims could access the
identiﬁcation, referral, and protection; the anti-trafficking law; and        remaining 45 MoSS shelters throughout the country. NGOs stated that
other anti-trafficking topics for officials, including prosecutors, judges,   MoSS shelters were not appropriate for some trafficking victims due to
labor inspectors, hotline operators, law enforcement, diplomats, social       concerns about security, privacy, and a lack of adequately-trained staff.
workers, and aviation officials.                                              MoSS bylaws stated victims were able to access the shelters without
                                                                              identiﬁcation documents for up to three days. The government’s ability
PROTECTION                                                                    to provide services to trafficking victims, especially foreign and male
The government maintained overall victim protection efforts. Services         victims, remained limited, and the government was dependent on
remained insufficient for male and foreign victims, and unidentiﬁed           international organizations and NGOs to provide some victim services,
victims continued to be penalized for unlawful acts traffickers compelled     including repatriation.
them to commit. The government reported identifying 272 potential
                                                                              The government continued to mainly rely on international and civil
trafficking victims (30 sex trafficking victims, 209 forced labor victims,
                                                                              society organizations to provide and fund victim assistance, but it did not
and 33 victims of unspeciﬁed forms of exploitation) in 2021; this was a
                                                                              provide ﬁnancial assistance to these organizations, which affected their
decrease compared with the 519 trafficking victims identiﬁed in 2020.
                                                                              ability to offer protective services to victims. The government provided
Of the 272 victims, at least 270 were Egyptian and one was a foreign
                                                                              training to partner NGOs. The government supported victim assistance
national; at least 130 were adults (109 men and 21 women), and at
                                                                              in investigations and prosecutions by offering legal assistance to all
least 142 were children (91 boys and 51 girls). The government reported
                                                                              victims, protecting victims’ identities, and providing physical protection
referring 95 identiﬁed victims to shelter and services, compared with
                                                                              when necessary. To prevent re-traumatization, the government reported
                                                                                                                                Haiti AR_000696              215
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 321 of 729
EGYPT   prosecutors and law enforcement interviewed victims in the presence of          from 2019, 2020, and 2021; the investigations were ongoing at the end
        social workers and psychologists and prosecutors could request to hear          of the reporting period.
        victims’ testimony in closed court sessions. In the previous reporting
        period, the government piloted a courtroom in Giza specialized for child        TRAFFICKING PROFILE
        victims of crime, including trafficking, which included video conferencing,     As reported over the past ﬁve years, human traffickers exploit domestic
        separate waiting rooms for child victims, and a barrier allowing children       and foreign victims in Egypt, and traffickers exploit victims from Egypt
        to give testimony while protecting their identity and privacy. However,         abroad. Traffickers subject Egyptian children to sex trafficking and forced
        female victims of domestic servitude or sex trafficking reported a              labor in domestic service, street begging, drug trafficking, quarrying,
        reluctance to cooperate in pursuing charges against their traffickers due       and agricultural work in Egypt. Traffickers, including some parents, force
        to the fear of social stigma and retaliation. In a high-proﬁle case involving   Egyptian children to beg in the streets or exploit girls in sex trafficking.
        an inﬂuential defendant, an NGO reported the government released                NGOs report the lack of economic and educational opportunities causes
        photos and audio recordings of child sex trafficking victims to the media       family members, including parents, husbands, and siblings, to subject
        that could have exposed the victims to retaliation and psychological            women and girls to sex trafficking or domestic servitude to supplement
        harm. Article 27 of the 2010 anti-trafficking law provided for a victim         family incomes. Child sex tourism occurs primarily in Giza, Cairo, and
        compensation fund, but the government did not report establishing the           the Delta. Individuals from the Arabian Gulf, including Kuwait, Saudi
        fund. Prosecutors could pursue restitution in trafficking cases and victims     Arabia, and United Arab Emirates, purchase Egyptian women and girls
        could ﬁle civil suits against their traffickers; however, the government        for “temporary marriages” or “summer marriages” for the purpose of
        did not report whether any victims received restitution through criminal        commercial sex, including cases of sex trafficking, as well as forced
        proceedings or damages from civil suits during the reporting period.            labor; the victims’ parents and marriage brokers, who proﬁt from the
        The government did not report whether it had legal alternatives to              transaction, often facilitate these arrangements. An NGO reported some
        removal to countries in which victims would face retribution or hardship.       parents forced underage girls in poor areas into permanent marriages
        During the reporting period, an NGO reported the government forcibly            where they were coerced into domestic servitude or commercial sex;
        deported Eritrean asylum seekers, including children, without assessing         an international organization also reported some husbands coerced
        protection needs; the Government of Eritrea had a government policy             their adult wives into sex trafficking or domestic servitude. Traffickers
        or pattern of human trafficking exploiting its nationals in forced labor        reportedly exploit Egyptian children in sex trafficking and forced
        in its compulsory national service and citizen militia by forcing them          begging in Europe. Traffickers subject Egyptian adults to forced labor
        to serve for indeﬁnite or otherwise arbitrary periods.                          in construction, agriculture, domestic work, and low-paying service jobs
                                                                                        in the region. Due to pandemic-related restrictions, an international
        PREVENTION                                                                      organization reported an increase in the use of online methods to recruit
        The government maintained efforts to prevent human trafficking. The             trafficking victims; during the reporting period, media reported a Saudi
        government continued to implement the 2016-2021 National Strategy               recruitment agency coordinated with an Egyptian marketing company
        for Combating and Preventing Trafficking in Persons; the strategy was           to use a social media site to fraudulently recruit women into domestic
        implemented using the budget allocated to NCCPIM & TIP and the 29               servitude in other parts of the Middle East.
        member agencies of NCCPIM & TIP. The government drafted a 2022-
                                                                                        Traffickers subject men and women from South and Southeast Asia
        2026 national anti-trafficking strategy, which was pending approval at
                                                                                        and East Africa to forced labor in domestic service, construction,
        the end of the reporting period. NCCPIM & TIP continued to coordinate
                                                                                        cleaning, and begging, as well as sex trafficking. Male refugees and
        inter-ministerial anti-trafficking efforts throughout the reporting period.
                                                                                        migrants are vulnerable to exploitative labor practices, including forced
        NCCPIM & TIP and other governmental entities continued to conduct
                                                                                        labor. Foreign domestic workers—who are not covered under Egyptian
        multiple awareness-raising activities throughout the reporting period,
                                                                                        labor laws—primarily from Syria, Yemen, Bangladesh, Eritrea, Ethiopia,
        which included some campaigns in partnership with international
                                                                                        Indonesia, the Philippines, Nigeria, Sudan, South Sudan, Sri Lanka, and
        organizations. NCCPIM & TIP submitted semi-annual reports on its
                                                                                        parts of West Africa are highly vulnerable to forced labor; employers at
        anti-trafficking efforts to the Prime Minister during the reporting
                                                                                        times require them to work excessive hours, conﬁscate their passports,
        period. The National Council for Human Rights, the National Council
                                                                                        withhold their wages, deny them food and medical care, refuse to
        for Women, NCCM, and Administrative Control Authority continued
                                                                                        provide them with work visas, and subject them to physical, sexual,
        operating hotlines to which the public could report trafficking cases.
                                                                                        and psychological abuse. Some employers ﬁle false claims of theft to
        NCCPIM & TIP reported the hotlines referred 14 potential trafficking
                                                                                        further exploit domestic workers. Traffickers subject women and girls,
        cases to prosecutors, resulting in investigations, and that NCCM’s
                                                                                        including refugees and migrants from Asia, Sub-Saharan Africa, and
        hotline received 66 trafficking calls that it processed appropriately but
                                                                                        the Middle East to sex trafficking in Egypt. In 2018, an international
        did not report if any victims were identiﬁed or referred to protection
                                                                                        organization reported Colombian nationals were smuggled into Egypt
        services as a result. The government did not report whether Egyptian
                                                                                        to work in the entertainment industry, and in 2019, an NGO reported
        law prohibited employers, recruiters, or labor agents from switching
                                                                                        that employers in resort towns, such as Sharm El Sheikh, sexually exploit
        contracts without workers’ consent or withholding wages, or whether
                                                                                        dancers from Colombia. Refugees from Syria, Sudan, South Sudan, and
        worker-paid recruitment fees were prohibited. Egyptian labor law did
                                                                                        Yemen who live in Egypt are at risk of trafficking. For example, NGOs
        not include speciﬁc protections for domestic workers, which continued
                                                                                        reported traffickers target Syrian refugees who have settled in Egypt for
        to create greater vulnerabilities to trafficking among this population.
                                                                                        forced child labor, sex trafficking, and transactional marriages of girls
        Throughout the reporting period, the legislature continued reviewing
                                                                                        that can lead to sexual exploitation, including sex trafficking, and forced
        labor legislation drafted during the previous reporting period to improve
                                                                                        labor. NGOs reported in January 2020 that unaccompanied children
        protections for Egyptian and foreign domestic workers; the bill was
                                                                                        (UACs) among the African migrant population are at risk of trafficking
        pending at the end of the reporting period. In the absence of labor
                                                                                        in Egypt; Sudanese gangs reportedly target UACs to force or coerce
        law protections for domestic workers, the NCCPIM & TIP continued to
                                                                                        the children to sell drugs or commit other petty crimes. Undocumented
        promote a voluntary labor contract that employers of domestic workers
                                                                                        migrants and asylum-seekers from the Horn of Africa, who transit Egypt
        could choose to use, which offered some protections for Egyptian
                                                                                        en route to Europe, are at risk of trafficking along this migration route.
        domestic workers but did not provide protections for foreign domestic
                                                                                        During the previous reporting period, there were reports trafficking
        workers. The government did not make adequate efforts to reduce the
                                                                                        networks fraudulently recruited women from Guinea for employment
        demand for commercial sex acts or child sex tourism. The government
                                                                                        in Egypt; traffickers then exploited the women in domestic servitude
        reported providing anti-trafficking training to its troops prior to their
                                                                                        or sex trafficking. Between 2017-2019, NGOs reported the government
        deployment as peacekeepers. Although not explicitly reported as human
                                                                                        deported at least 21 Uyghur Muslims, the majority of whom were
        trafficking, the government investigated multiple cases of Egyptian
                                                                                        students at Al-Azhar University, back to the People’s Republic of China
        peacekeepers serving in the UN peacekeeping operation in the Central
                                                                                        (PRC) where they were vulnerable to arbitrary detention, harassment,
        African Republic for alleged sexual exploitation involving transactional
                                                                                        and forced labor.
        sex and exploitative relationships in incidents with trafficking indicators


 216                                                                                                                                 Haiti AR_000697
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 322 of 729




                                                                                                                                                                EL SALVADOR
                                                                                 crimes, such as rape. Inconsistent with the deﬁnition of trafficking under
 EL SALVADOR: TIER 2 WATCH                                                       international law, the law considered the use of force, fraud, or coercion

 LIST                                                                            as an aggravating factor rather than an essential element of the crime;
                                                                                 the penalties increased to 16 to 20 years’ imprisonment for trafficking
                                                                                 offenses involving these factors. The law deﬁned trafficking broadly
The Government of El Salvador does not fully meet the minimum                    to include fraudulent adoption without the purpose of exploitation,
standards for the elimination of trafficking but is making signiﬁcant            which was inconsistent with international law.
efforts to do so. These efforts included convicting more traffickers and
                                                                                 Police investigated 45 suspected trafficking cases (40 for sex trafficking
identifying more victims. However, the government did not demonstrate
                                                                                 and ﬁve for forced labor) involving 32 suspects in 2021, compared
overall increasing efforts compared with the previous reporting period,
                                                                                 with 30 cases investigated in 2020 and 80 cases investigated in
even considering the impact of the COVID-19 pandemic on its anti-
                                                                                 2019. The government prosecuted 31 individuals in 12 cases, some
trafficking capacity. The government signiﬁcantly reduced its number
                                                                                 of which continued from previous years. Authorities convicted 29
of specialized prosecutors. Fewer than half of all identiﬁed victims
                                                                                 traffickers, including 27 for sex trafficking and two for forced labor,
received government services or referral to outside care providers.
                                                                                 and acquitted two defendants. In comparison, in 2020 authorities
The government did not implement procedures to identify potential
                                                                                 initiated prosecution of 39 sex trafficking cases involving 31 suspects
trafficking victims among children apprehended for illicit gang-related
                                                                                 and convicted 12 traffickers. The government did not report sentences
activity or persons forcibly displaced from their homes. The government
                                                                                 for convicted traffickers. The government did not report any new
did not initiate any investigations, prosecutions, or convictions of officials
                                                                                 investigations, prosecutions, or convictions of government employees
allegedly complicit in human trafficking crimes or report progress on
                                                                                 complicit in human trafficking crimes nor progress in investigations from
investigations from previous years. The government’s anti-trafficking
                                                                                 previous years. Endemic corruption and complicity, including within law
council was inactive and did not draft a new national anti-trafficking
                                                                                 enforcement, the judiciary, the prison system, and local government,
action plan (NAP), publish a report on the government’s 2021 efforts,
                                                                                 remained signiﬁcant obstacles to anti-trafficking law enforcement
or compile data from across different agencies. Therefore El Salvador
                                                                                 efforts. An international investigation revealed government officials
was downgraded to Tier 2 Watch List.
                                                                                 in 2020 pursued political gains through collusion with ﬁnancial and
                                                                                 other incentives to gangs known to have committed trafficking crimes.
        EL SALVADOR TIER RANKING BY YEAR                                         The government maintained specialized anti-trafficking police and
    1
                                                                                 prosecution units. Both units lacked sufficient human and material
    2                                                                            resources to effectively investigate and prosecute all cases, and the
  2WL                                                                            absence of an electronic case-management system limited efforts to
                                                                                 collect, share, and analyze law enforcement information. For a second
    3
           2015     2016      2017     2018   2019   2020     2021     2022
                                                                                 year, the government directed most law enforcement officials to focus on
                                                                                 pandemic-related support tasks, severely limiting resources dedicated
                                                                                 to identifying and investigating suspected cases of trafficking. In 2021,
                                                                                 many prosecutors in the anti-trafficking unit were reassigned and not
                                                                                 replaced, precipitating a decline from 23 prosecutors to only nine by
PRIORITIZED RECOMMENDATIONS:
                                                                                 the close of 2021.
Increase specialized services for all identiﬁed trafficking victims,
including shelters and access to services for adults, boys, and LGBTQI+          Observers noted the attorney general’s office frequently assigned
victims. • Develop and implement procedures to proactively identify              different prosecutors to handle different phases of a single criminal
and refer to service providers victims from at-risk groups—including             case, which hampered its ability to prosecute cases in an efficient and
individuals in commercial sex, children apprehended for illicit gang-            cohesive manner and provide consistency to victims. They further
related activities, forcibly displaced persons, and irregular migrants           reported prosecutors outside San Salvador lacked the autonomy to
returning to El Salvador. • Strengthen and improve the specialized anti-         pursue investigations and were required to refer their cases to the
trafficking prosecution unit, including by addressing staffing challenges        unit’s leadership in the capital. Experts noted some police used harsh
and providing training. • Increase and institutionalize anti-trafficking         questioning during victim interviews, leading to re-traumatization.
training for police, immigration officials, municipal security personnel,        Observers reported judges did not have an adequate understanding of
prosecutors, and judges, with a focus on applying trauma-informed,               the complexity of trafficking crimes or sufficient expertise in evidentiary
victim-centered procedures. • Strengthen efforts to investigate,                 processes and victim-centered procedures for trafficking cases, including
prosecute, and convict traffickers, including complicit officials and            the use of non-testimonial evidence to corroborate victim testimony.
perpetrators of forced labor. • Develop a mechanism to enforce payment           The government provided training workshops for prosecutors on vital
of court-ordered restitution to victims. • Allow authorities and the             topics, including victim psychology, trauma, and protecting the rights of
public to refer potential victims directly to government or NGO service          at-risk LGBTQI+ individuals, and some officials beneﬁtted from additional
providers, without ﬁrst referring to police or prosecutors. • Provide            donor-funded trainings. However, overall training for law enforcement
reintegration and livelihood support services for victims’ long-term             and criminal justice officials was insufficient. The government reported
wellbeing and extend witness protection services beyond the duration             coordinating on investigations with the Government of Guatemala,
of a trial, particularly for victims who testify against members of              under the auspices of a 2021 agreement signed by the Governments of
organized criminal groups. • Amend the 2014 anti-trafficking law to              El Salvador, Honduras, and Guatemala to enhance cooperation against
include a deﬁnition of human trafficking consistent with international           trafficking; however, it did not provide details on victims assisted or
law. • Draft, allocate resources for, and implement a new NAP to combat          suspects prosecuted because of these efforts.
trafficking. • Develop a case management system to improve data
collection, sharing, security, and analysis related to trafficking cases.        PROTECTION
• Expand prevention measures, including through raising awareness of             The government decreased victim protection efforts. Although
fraudulent recruitment for employment in El Salvador and abroad and              authorities identiﬁed more victims, they did not provide direct services
by holding accountable employers or recruiters who commit fraudulent             or referral to the majority of identiﬁed victims. The government
practices that facilitate trafficking.                                           identiﬁed 95 sex trafficking victims, 60 women and 35 girls, and
                                                                                 two forced child labor victims, gender not speciﬁed. In comparison,
PROSECUTION                                                                      authorities identiﬁed 37 victims in 2020 and 124 victims in 2019. Three
The government maintained law enforcement efforts. The 2014 Special              female victims were from Colombia, one was from Guatemala, and the
Law Against Trafficking in Persons criminalized sex trafficking and labor        remainder of identiﬁed victims were from El Salvador. NGOs identiﬁed
trafficking and prescribed penalties of 10 to 14 years’ imprisonment;            two additional sex trafficking victims, both girls. The government
these penalties were sufficiently stringent and, with respect to sex             provided services to 24 victims (12 women, 10 girls, and two men) and
trafficking, commensurate with penalties prescribed for other serious            referred 11 additional child sex trafficking victims, all girls, to NGOs for
                                                                                                                                   Haiti AR_000698              217
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 323 of 729
EL SALVADOR   support. In 2020, the attorney general’s office provided psychological       aggravated homicide, and illegal ﬁrearms possession without screening
              care to 27 victims and collaborated with NGOs to provide ﬁnancial            for indicators of trafficking. The 2014 trafficking law provided foreign
              assistance for lodging, food, basic necessities, and job placement to 36     victims the right to seek residency status, which would allow them to
              victims; in 2019, the government assisted 111 victims. The government        work legally. A 2019 immigration law granted foreign victims the right
              maintained one trafficking victims’ shelter, which had the capacity to       to obtain residency—with multiple entry and exit permission and the
              house 12 girls between the ages of 12 and 18, and provided services          ability to work—for an initial period of up to two years with the option to
              to 11 residents in 2021. Officials required residents to quarantine for 15   extend; no foreign victims received residency beneﬁts during the year.
              days in a general-purpose shelter before they could be admitted to
              the trafficking victim shelter. The government repatriated two foreign       PREVENTION
              victims to their home countries.                                             The government decreased prevention efforts. The national anti-
                                                                                           trafficking council, led by the Ministry of Public Security and Justice and
              The government’s 2018 Inter-Institutional Action Protocol for the
                                                                                           charged with coordinating anti-trafficking efforts among 12 government
              Immediate Comprehensive Care of Victims of Trafficking in Persons
                                                                                           institutions, met four times in 2021 but was otherwise dormant. For a
              outlined the roles and responsibilities of government agencies in
                                                                                           second year, the council failed to draft a new national anti-trafficking
              responding to trafficking victims. The protocol required all initial
                                                                                           action plan, as required by law, following the previous plan’s conclusion
              referrals to be made to police or prosecutors, without an option to
                                                                                           in 2019. The council did not produce or share information on its legally
              refer potential victims directly to government or private sector service
                                                                                           required annual report on anti-trafficking efforts for 2021. It shared
              providers. In 2021, officials from the Protection Boards of Childhood
                                                                                           an overdue report on 2020 efforts but did not make this information
              and Adolescence, the National Hospitals of the Ministry of Public Health
                                                                                           available to the public. The government’s data collection was unreliable,
              and Social Assistance, and the Directorate General for Migration and
                                                                                           and methods varied among agencies; the council failed to fulﬁll its role
              Foreigners identiﬁed and referred nine suspected trafficking cases to the
                                                                                           to reconcile the data.
              anti-trafficking unit of the attorney general’s office. Police received 20
              trafficking-related calls to the 911 emergency division but did not report   Officials from several government institutions and local municipalities,
              whether they identiﬁed any victims through these calls. Immigration          in coordination with an international organization, held community
              agents had a manual to guide identiﬁcation and referral of possible          events to raise awareness about the dangers of irregular migration,
              trafficking victims in border regions. However, the government lacked        fraudulent recruitment, and human trafficking. With support from foreign
              formal procedures to identify and refer trafficking victims among            donors, the government opened ﬁve Urban Opportunity and Wellness
              most vulnerable groups, including individuals in commercial sex and          Centers providing educational and recreational opportunities in high
              children apprehended for gang-related activity. Local experts reported       crime areas for children at-risk of exploitation by gangs.
              police, immigration agents, and other ﬁrst responders lacked sufficient
                                                                                           The Ministry of Labor primarily managed El Salvador’s recruitment
              training to properly identify, interact with, and protect victims, who
                                                                                           process for temporary workers on H-2A visas to the United States
              were often mistaken for criminals and may have been punished for
                                                                                           and maintained a website, which included information on Salvadoran
              unlawful acts their traffickers compelled them to commit. In addition,
                                                                                           workers’ rights and warnings against fraudulent recruitment tactics.
              experts reported authorities did not screen for indicators of human
                                                                                           The Ministry of Foreign Affairs partnered with the United States on
              trafficking among families ﬂeeing gang-controlled communities or
                                                                                           additional awareness efforts targeted against fraudulent practices,
              other forced displacement victims; trafficking victims and at-risk
                                                                                           such as charging workers recruitment fees. The government reported
              persons among this population, particularly children exploited by
                                                                                           prosecutors in multiple jurisdictions pursued investigations of businesses
              gangs, remained uncounted in official statistics and without access
                                                                                           attempting to charge fees to workers applying for H-2A visas, but it
              to justice and specialized services.
                                                                                           did not report prosecuting or punishing any businesses for violations.
              The government provided limited assistance to victims. The government        The government did not provide warnings or information against
              shelter provided residents with education and recreation, psycho-social      fraudulent recruitment practices for employment within El Salvador.
              care, and protective materials to prevent COVID-19 transmission. The         The Labor Code prohibits withholding pay, but the government did
              government did not report the shelter’s budget for 2021. In comparison,      not effectively enforce this provision. Neither the Labor Code nor the
              the government allocated a budget of $167,375 to the shelter in              Penal Code speciﬁed ﬁnes or punishment for fraudulent recruitment
              2020. There were no trafficking shelters that accepted victims who           of workers. The government did not issue an executive decree, as
              were adults, boys, and/or transgender individuals; women could               required by a 2020 supreme court decision, to establish and implement
              access shelter and services designed for domestic violence victims,          a minimum wage for domestic workers. Salvadoran law criminalized
              while male and/or transgender victims had little to no access to             sex tourism and prescribed penalties of four to 10 years’ imprisonment,
              government services. The government offered few long-term support            but authorities did not report any investigations or prosecutions of sex
              or reintegration services to trafficking victims following the conclusion    tourism crimes. The government did not make efforts to reduce the
              of investigations, leaving them at risk of re-trafficking. Although          demand for commercial sex acts.
              judges ordered convicted traffickers to pay restitution to victims, the
              government did not effectively enforce these orders, and no victims          TRAFFICKING PROFILE
              received restitution or compensation payment in 2021. The government         As reported over the past ﬁve years, human traffickers exploit domestic
              reported providing witness protection, relative to individual safety         and foreign victims in El Salvador, and traffickers exploit victims from El
              risks, for victims participating in prosecutions. Such measures included     Salvador abroad. Traffickers exploit adults and children in sex trafficking
              disguising victims’ identities in court and allowing victims to provide      within the country; children without parents, adolescent girls, and
              testimony by deposition or via teleconference, but this support was          LGBTQI+ persons, especially transgender persons, are at particular
              only available through the duration of a trial. Local experts reported       risk. NGOs reported sex trafficking occurs in the tourism industry.
              a lack of adequate security measures and lengthy investigations              Traffickers often exploit victims within their own communities or homes,
              and prosecutions led many victims to cease participation before the          sometimes their own children or other family members. Traffickers
              conclusion of criminal justice processes. Inadequate economic and            exploit Salvadoran adults and children in forced labor in agriculture,
              livelihood assistance led victims and witnesses to leave the country         domestic service, and begging. Traffickers exploit adults and children
              in search of economic opportunity before authorities completed               from neighboring countries—particularly Honduras, Guatemala, and
              investigations; authorities reported the pandemic exacerbated this           Nicaragua—in sex trafficking and forced labor in construction, domestic
              situation. LGBTQI+ individuals experienced discrimination within the law     service, or the informal sector. Traffickers recruit victims in regions
              enforcement and judicial systems, which limited their access to justice.     of the country with high levels of violence and capitalize on existing
              Due to a lack of formal victim identiﬁcation procedures for members          fears to coerce victims and their families through threats of violence.
              of at-risk groups, authorities may have prosecuted or punished some          Limited government presence in gang-controlled territory exacerbates
              unidentiﬁed victims for unlawful acts traffickers compelled them to          trafficking risks among vulnerable groups and limits their access to
              commit. In 2021, authorities detained, jailed, prosecuted, and sentenced     justice and protection. Many victims of forcible displacement are families
              children for unlawful gang-related activity, including drug possession,      ﬂeeing the exploitation of children by gangs in their communities.

  218                                                                                                                                   Haiti AR_000699
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 324 of 729




                                                                                                                                                                    EQUATORIAL GUINEA
Gangs that have appropriated Indigenous land threaten Indigenous                adoptions or other forms of abuse—including by screening vulnerable
children for crossing gang territory, compelling them to drop out of            communities, such as child laborers in markets; women in commercial
school or leave home and increasing their vulnerability to exploitation.        sex; domestic and construction workers; undocumented immigrants;
Gangs use the pretense of domestic employment to lure women into                North Korean and the People’s Republic of China (PRC) national workers;
forced labor. Transnational criminal organizations and gangs including          and Cuban overseas workers, including medical professionals. • Amend
MS-13 and Barrio 18 recruit, abduct, train, arm, and subject children           the 2004 anti-trafficking law—or pass amendments to the penal code—
to forced labor in illicit activities, including assassinations, extortion,     removing the requirement of a demonstration of force, fraud, or coercion
and drug trafficking—often within children’s own communities. These             in child sex trafficking cases. • Form and provide resources to an
groups subject women and children, including LGBTQI+ children, to               independent agency mandated to improve the government’s capacity to
sex trafficking and forced labor in domestic service and child care.            investigate and prosecute traffickers and identify victims. • Implement
                                                                                the updated anti-trafficking NAP to enhance governmental coordination.
Traffickers exploit Salvadoran men, women, and children in sex trafficking
                                                                                • Continue to expand training for law enforcement and judicial officials
and forced labor in Belize, Guatemala, Mexico, and the United States.
                                                                                to increase their capacity to investigate, prosecute, and—following a
Traffickers exploit some Salvadorans who irregularly migrate to the
                                                                                fair and transparent trial—sentence convicted traffickers under the
United States in forced labor, forced criminal activity, and sex trafficking
                                                                                anti-trafficking law. • Continue to train social workers, law enforcement,
en route or upon arrival. Traffickers exploit some Central and South
                                                                                labor inspectors, and immigration officials on trafficking indicators,
American, African, and Asian migrants who transit El Salvador to
                                                                                including the difference between trafficking and migrant smuggling
Guatemala, Mexico, the United States, and Canada in sex and labor
                                                                                victims. • Increase funding for victim services and coordinate with civil
trafficking. Individuals without personal identiﬁcation documents
                                                                                society and NGOs to provide shelter for all identiﬁed trafficking victims.
are highly vulnerable to trafficking. Traffickers increasingly use social
                                                                                • Continue to include local officials in the nation-wide anti-trafficking
media and messaging platforms to lure victims, including through false
                                                                                public awareness campaigns to educate more individuals on trafficking
employment or educational opportunities abroad, and facilitate their
                                                                                indicators and enhance their ability to report potential victims to ﬁrst
exploitation; traffickers accelerated this trend as a means to reach
                                                                                responders using the government’s hotline or web-based portal. • Further
potential victims in their own homes during the pandemic. Endemic
                                                                                research the extent and nature of human trafficking within the country
corruption and complicity, including within law enforcement, the
                                                                                according to the NAP and draft an annual public report describing the
judiciary, the prison system, and local government, remained signiﬁcant
                                                                                government’s efforts. • Screen all individuals in immigration detention
obstacles to anti-trafficking law enforcement efforts.
                                                                                or custody for indicators of human trafficking.

                                                                                PROSECUTION
 EQUATORIAL GUINEA: TIER 2                                                      The government maintained limited anti-trafficking law enforcement
                                                                                efforts. The 2004 Law on the Smuggling of Migrants and Trafficking in
 WATCH LIST                                                                     Persons criminalized some forms of sex trafficking and all forms of labor
                                                                                trafficking and prescribed penalties of 10 to 15 years’ imprisonment and
                                                                                a ﬁne of at least 50 million Central African francs (CFA) ($86,470) if the
The Government of Equatorial Guinea does not fully meet the minimum             crime involved an adult victim; an additional ﬁve years would be added
standards for the elimination of trafficking but is making signiﬁcant efforts   to the principal penalty for offenses involving a child victim. These
to do so. These efforts included increasing anti-trafficking awareness          penalties were sufficiently stringent and, with regard to sex trafficking,
campaigns, as well as ﬁnalizing and beginning implementation of an              commensurate with penalties prescribed for other serious crimes, such
updated 2022-2024 national action plan (NAP) and standard operating             as rape. Inconsistent with international law, Equatorial Guinea’s legal
procedures (SOPs) on victim protection and care. The government                 framework required a demonstration of force, fraud, or coercion to
improved coordination efforts among the members of the anti-trafficking         constitute a child sex trafficking offense, and therefore, it did not criminalize
Interagency Coordinating Committee (TICC). It also trained local leaders        all forms of child sex trafficking. Additionally, the law deﬁned trafficking
on trafficking indicators and law enforcement officials on trafficking          broadly to include illegal adoption without the purpose of exploitation.
investigations and victim identiﬁcation. However, the government did            The government continued efforts to draft new penal code articles with
not demonstrate overall increased efforts compared with the previous            increased victim protection requirements; however, parliament had not
reporting period, even considering the impact of the COVID-19 pandemic          approved the articles by the end of the reporting period.
on its anti-trafficking capacity. The government has never convicted
a trafficker under its 2004 anti-trafficking law, and authorities did not       The government did not make comprehensive law enforcement statistics
prosecute alleged traffickers or identify any victims during the reporting      easily accessible and had limited information management capabilities
period. The government’s anti-trafficking law did not criminalize all forms     and data collection. However, authorities added the National Institute
of trafficking. Further, there were allegations that senior government          of Statistics as an integral member of the anti-trafficking committee to
officials were complicit in trafficking crimes. Because the government has      improve the government’s efforts to collect data on trafficking trends
devoted sufficient resources to a written plan that, if implemented, would      and to assess its own efforts to combat human trafficking. Media reports
constitute signiﬁcant efforts to meet the minimum standards, Equatorial         noted the government initiated the investigation of three Beninese
Guinea was granted a waiver per the Trafficking Victims Protection Act          women for child labor trafficking crimes in November 2021. However,
from an otherwise required downgrade to Tier 3; therefore Equatorial            officials did not report investigating any other cases or prosecuting
Guinea remained on Tier 2 Watch List for the third consecutive year.            any suspected traffickers during the reporting period. The government
                                                                                has never convicted a trafficker under its 2004 trafficking law. The
                                                                                government did not provide an update on cases reported in the previous
        EQUATORIAL GUINEA TIER RANKING BY YEAR
                                                                                reporting period, including the investigations into two cases of illegal
    1
                                                                                sale of a child that may have included aspects of human trafficking in
    2                                                                           2020; a possible trafficking case involving an Equatoguinean national
  2WL                                                                           suspect abroad; and the results of the commission of inquiry into reports
                                                                                of soldiers sexually exploiting minors. Judicial officials noted a lack of
    3
           2015     2016      2017     2018      2019   2020   2021   2022      training resulted in authorities frequently prosecuting and convicting
                                                                                potential trafficking cases under related statutes, such as kidnapping,
                                                                                illegal adoption, or physical abuse. The government did not report
                                                                                cooperating with foreign counterparts on any law enforcement activities.
PRIORITIZED RECOMMENDATIONS:                                                    The government organized training in Batra for approximately 50
Signiﬁcantly increase efforts to investigate and prosecute traffickers,         border agents and military personnel stationed in Equatorial Guinea’s
including allegedly complicity officials. • Prioritize the proactive            continental region. The Ministry of Social Affairs and Gender Equality
identiﬁcation of victims of trafficking—separate from fraudulent                (MSA) also reportedly trained community leaders, police officers, and
                                                                                                                                     Haiti AR_000700                219
                        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 325 of 729
EQUATORIAL GUINEA   MSA delegates throughout the country on strategies for identifying              by the Ministry of National Security in 2020 continued to air on national
                    trafficking victims. The government did not report any investigations,          TV stations.
                    prosecutions, or convictions of government employees complicit in
                                                                                                    The Ministry of Labor’s web-based reporting platform and hotline
                    human trafficking crimes; however, corruption and alleged official
                                                                                                    remained active and available for individuals to anonymously report
                    complicity in trafficking crimes remained signiﬁcant concerns, inhibiting
                                                                                                    potential trafficking cases, as did the Ministry of National Security’s
                    law enforcement action during the year. Multiple credible sources alleged
                                                                                                    hotlines for reporting crimes to the police. The government did not report
                    senior officials were involved in human trafficking, particularly in the
                                                                                                    any trafficking-related calls during the reporting period. Additionally,
                    recruitment of domestic workers in their own households or by exploiting
                                                                                                    observers noted that the government’s ongoing focus on pandemic
                    workers in forced labor in their private businesses. Additionally, reports
                                                                                                    prevention and mitigation put vulnerable populations at risk of trafficking
                    alleged high-level officials were involved with sex trafficking of women
                                                                                                    and emboldened traffickers to operate with less risk of detection and
                    from countries including Brazil, the PRC, and Venezuela. Authorities at
                                                                                                    conviction.
                    airports reportedly took bribes from foreign nationals who overstayed
                    their visas, and judges were also accused of taking bribes and other            The Ministry of Labor continued to implement regulations requiring all
                    goods in exchange for favorable rulings. Additionally, military service         companies to sign formal labor contracts with their employees. During
                    members at the border with Cameroon reportedly accepted bribes to               the reporting period, Ministry of Labor officials conducted inspections;
                    let people enter the country during pandemic-related border closures            however, the government did not report identifying any trafficking victims.
                    between December 2021 and January 2022. Spanish authorities formally            Border security officials stated they increased cooperation with Gabonese
                    dismissed the charges against seven suspected traffickers, including            and Cameroonian counterparts on screening for potential victims of
                    Equatoguinean nationals, due to lack of evidence in a case involving            trafficking; however, they did not report identifying any victims. The
                    a network exploiting women and girls in Spain, allegedly perpetrated            government did not make efforts to reduce the demand for commercial
                    with assistance from Equatoguinean military officials who may have              sex acts. The government did not provide anti-trafficking training for
                    falsiﬁed the victims’ identity documents.                                       diplomats but reported it began developing a new training for diplomats
                                                                                                    that remained pending at the end of the reporting period.
                    PROTECTION
                    The government maintained limited efforts to identify victims. In 2021, the     TRAFFICKING PROFILE
                    government did not report identifying any trafficking victims, compared         As reported over the past ﬁve years, human traffickers exploit domestic
                    with identifying and providing services for one potential trafficking victim    and foreign victims in Equatorial Guinea, and traffickers exploit victims
                    in 2020. The government ﬁnalized two SOPs for victim protection and             from Equatorial Guinea abroad. Despite continued education and
                    care; one for government agencies and the other for consular officers           awareness-raising efforts by the government, many civil society members
                    to use abroad. Pandemic-related movement restrictions affected the              and government officials still lack an understanding of human trafficking,
                    government’s protection efforts by limiting officials’ ability to inspect key   hindering the country’s ability to identify victims and address the crime.
                    sectors for trafficking victims. The government reported it suspended           Observers reported traffickers are adjusting their tactics to increasingly
                    some services due to the pandemic. Officials continued to designate             use online platforms to recruit and exploit victims.
                    government housing as temporary shelters for victims of trafficking
                    and domestic violence, although authorities did not report referring            Observers reported Equatoguineans exploit the majority of trafficking
                    any victims to these shelters. The government decreased its allocated           victims in forced labor in domestic service and commercial sex in the
                    budget for anti-trafficking efforts to 75 million CFA ($129,700), compared      cities of Malabo, Bata, Mongomo, and Ebebiyin, where relative wealth and
                    with $566,829 in 2020, to provide services to trafficking victims and           security attracts Central and West African migrant workers. Equatoguinean
                    to raise awareness of the crime among vulnerable populations. The               traffickers exploit local and foreign women in commercial sex in these
                    government had no formal policies to provide foreign trafficking victims        cities, with the Malabo neighborhoods of Banapa and Paraiso and the city
                    legal alternatives to their removal to countries where they might face          center primary areas of concern. Foreign national men were susceptible
                    retribution or hardship.                                                        to deceptive employment offers and forced labor in construction,
                                                                                                    agriculture, domestic work (security guards), and other low-skill jobs.
                    Due to a lack of widely used formal victim identiﬁcation procedures,
                    authorities may have deported or arrested some unidentiﬁed trafficking          Observers noted that the sustained economic downturn due to decreasing
                    victims. During the reporting period, government officials in Spain             oil prices and oil production—exacerbated by the global economic
                    provided assistance to Equatoguinean victims identiﬁed in a case that           contraction caused by the pandemic—resulted in Equatoguineans in urban
                    allegedly involved complicity by some members of the military.                  centers replacing some foreign domestic workers with children from rural
                                                                                                    areas in Equatorial Guinea, whom they then exploited in forced labor.
                    PREVENTION                                                                      Some business owners involved in the hospitality and restaurant sectors
                    The government increased efforts to prevent trafficking. The government         exploit hotel and bar workers in forced labor and commercial sex within
                    ﬁnalized an updated 2022-2024 NAP during the reporting period. Per the          the country’s urban centers. Observers report LGBTQI+ youth are often
                    country’s updated NAP, the government maintained its anti-trafficking           left homeless and stigmatized by their families and society, increasing
                    interagency committee, which includes representatives from the Office           their vulnerability to trafficking. Measures to control the pandemic’s
                    of the Third Vice Prime Minister in charge of Human Rights, multiple            spread—including border closures and mandatory curfews—may have
                    ministries, and several NGOs. The government reported the committee             increased the vulnerability of migrants and informal sector workers by
                    held six meetings during 2021. The government reported it included a            reducing their ability to maintain a stable income.
                    line item for each ministry for anti-trafficking efforts in its ﬁscal year      Equatoguinean business owners reportedly exploit children from nearby
                    2022 budget request; however, the budget only included one trafficking          countries—primarily Benin, Cameroon, Gabon, Nigeria, and Togo—
                    line item totaling 50 million CFA ($86,470) for the Ministry of Justice,        in forced labor as domestic workers, market laborers, vendors, and
                    Worship, and Penitentiary institutions by the end of the reporting period.      launderers. Over the past ﬁve years, observers reported Equatoguinean
                    In June 2021, the Ministry of Foreign Affairs and Cooperation (MFA)             traffickers, some of whom may be associated with the country’s elites, may
                    reported drafting a roadmap document to address anti-trafficking                exploit women from Brazil, Cuba, Dominican Republic, Venezuela, and the
                    gaps highlighted in previous reporting periods; observers reported              PRC in commercial sex at nightclubs, bars, and brothels in the country.
                    there were no additional resources, if any, dedicated to the roadmap            Traffickers may exploit Equatoguineans in Spain. During the reporting
                    implementation. The Ministry of Interior, in collaboration with a local         period, there were reports alleging members of the Equatoguinean
                    NGO and local corporations, hosted 10 seminars for local authorities and        military falsiﬁed identity documents to facilitate a sex trafficking ring
                    community leaders on human trafficking in urban districts in Malabo and         in Menorca, Spain, involving women and girls.
                    Bata, reportedly training 810 local leaders. The government partnered
                    with the same NGO to hold additional seminars to raise awareness of             Some business owners recruit women from Benin, Cameroon, Ethiopia,
                    human trafficking among civil society and health care workers. Observers        and other African countries for work in Equatorial Guinea and exploit them
                    reported a public service announcement on human trafficking created             in forced labor or sex trafficking in markets, hair salons, or commercial
                                                                                                    sex. PRC national-owned ﬁrms recruit PRC nationals to migrate to
   220                                                                                                                                           Haiti AR_000701
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 326 of 729




                                                                                                                                                                ERITREA
Equatorial Guinea for work or to engage in commercial sex; some of               The government has not reported investigating, prosecuting, or convicting
these businesses then conﬁscate workers’ passports, which increases              any traffickers for the last 14 years. The government did not report any
their vulnerability to forced labor or sex trafficking. Observers noted          investigations, prosecutions, or convictions of government officials
the government contracted highly-skilled professionals, such as Cuban            complicit in human trafficking crimes; however, official complicity
doctors and teachers, to work in its public schools and hospitals. A small       in trafficking crimes remained a signiﬁcant concern, inhibiting law
number of North Koreans working in Equatorial Guinea may have been               enforcement action during the year. The government continued to enforce
forced to work by the North Korean government. Companies in the                  arbitrary limits to the compulsory National Service. Reports alleged
construction sector, among others, also sometimes held the passports of          some partially or wholly government-funded enterprises employed
foreign workers, increasing their vulnerability to forced labor. Observers       National Service workers. For the second consecutive reporting period,
reported some corrupt and complicit government workers, including                the government did not report on efforts to train law enforcement.
senior officials and elected representatives, participated in trafficking-
related crimes during the reporting period.                                      PROTECTION
                                                                                 The government did not report any victim protection efforts. The
                                                                                 government has not reported any efforts to identify victims or provide
                                                                                 services for the past seven years. The government did not report having
 ERITREA: TIER 3                                                                 formal procedures to proactively identify and refer trafficking victims to
                                                                                 care. The government did not report information on services provided
                                                                                 to trafficking victims. Individuals in rural communities generally lacked
The Government of Eritrea does not fully meet the minimum standards
                                                                                 access to services of any kind. Observers reported due to a lack of
for the elimination of trafficking and, even considering the impact of
                                                                                 formal identiﬁcation procedures, authorities likely detained and arrested
the COVID-19 pandemic, if any, on its anti-trafficking capacity, is not
                                                                                 some unidentiﬁed trafficking victims. In some cases, the government
making signiﬁcant efforts to do so; therefore Eritrea remained on Tier 3.
                                                                                 purposefully arrested and prosecuted Eritreans ﬂeeing the National
During the reporting period, there was a government policy or pattern
                                                                                 Service. The government did not report providing foreign victims
of human trafficking. The government continued to exploit its nationals          with legal alternatives to their removal to countries where they faced
in forced labor, via its compulsory National Service and citizen militia,        retribution or hardship; however, Eritrea maintained a policy against
by forcing them to serve for indeﬁnite or otherwise arbitrary periods.           forced deportations. Eritrean law required offenders in all crimes to
Officials did not demobilize most individuals from government work               pay restitution, although victims had the option of suing for such in
units after their mandatory period of service, but rather it forced citizens     civil court rather than have the criminal court impose it. If an offender’s
to serve indeﬁnitely under threats of detention, torture, or familial            assets are too limited to pay both restitution and the associated ﬁnes,
reprisal. The government did not demonstrate any efforts to address              the government mandated restitution be paid ﬁrst. There were no reports
human trafficking.                                                               that courts imposed this penalty for trafficking crimes.


         ERITREA TIER RANKING BY YEAR
                                                                                 PREVENTION
     1
                                                                                 The government did not report any efforts to prevent trafficking. The
                                                                                 government reportedly maintained an interagency steering committee on
    2
                                                                                 trafficking and migration issues; however, the government did not report
  2WL                                                                            any action taken by the steering committee for the second consecutive
     3                                                                           year. The government did not report efforts to raise awareness of
            2015     2016      2017     2018   2019   2020    2021     2022      human trafficking. The government did not report efforts to reduce the
                                                                                 demand for commercial sex acts or provide anti-trafficking training to
                                                                                 its diplomatic personnel.

PRIORITIZED RECOMMENDATIONS:                                                     TRAFFICKING PROFILE
Enforce existing limits on the length of active National Service to 18           As reported over the past ﬁve years, human traffickers exploit domestic
months (as set forth in the Proclamation of National Service 11/199) and         victims in Eritrea, and traffickers exploit victims from Eritrea abroad.
demobilize individuals who have exceeded the service limit. • Enact and          Proclamation 82 of 1995 requires all persons ages 18 to 40 years to
implement an anti-trafficking law that criminalizes all forms of trafficking     perform compulsory active National Service ostensibly for a period of
and prescribes penalties that are sufficiently stringent and, with respect       18 months—six months of military training followed by 12 months of duty
to sex trafficking, commensurate with those prescribed for other grave           in a variety of military, security, or public service positions. However,
crimes. • Develop and implement procedures to identify trafficking               since the 1998-2000 Eritrean-Ethiopian border conﬂict, the 18-month
victims and refer all victims to services. • Extend existing labor protections   limit has been suspended; most individuals are not demobilized from
to persons performing National Service and other mandatory citizen               government work units after their mandatory period of service but rather
duties. • Allow Eritreans to choose their form of work and leave their           are forced to serve indeﬁnitely under threats of detention, torture, or
employment at will. • Train government officials at all levels to identify,      familial reprisal. National Service takes a wide variety of forms, including
investigate, and prosecute trafficking crimes. • Partner with international      office work in government agencies and enterprises (functions ranging
organizations and NGOs to combat human trafficking.                              from lawyers, diplomats, and mid-level managers to skilled technicians
                                                                                 and mechanics, to clerical, maintenance, and janitorial work); medical
PROSECUTION                                                                      professionals; elementary and secondary school teachers; construction or
The government did not report any anti-trafficking law enforcement               other types of physical labor; and active military duty, which constitutes
efforts. The Eritrean Penal Code of 2015 criminalized some forms of              a small and diminishing percentage. Reports also allege officials force
trafficking in persons. Article 315 criminalized trafficking in women and        National Service workers to work in mining enterprises partially owned
young persons for sexual exploitation, which was punishable by up to             by the government; speciﬁc instances alleged to date have involved
seven years’ imprisonment; these penalties were sufficiently stringent           white collar occupations in mine management, technical analysis, and/
and, with respect to sex trafficking, commensurate with punishments              or government oversight responsibilities. Conditions are often harsh
prescribed for other serious crimes, such as kidnapping. The law did             for those in military service or physical labor, although some National
not criminalize sex trafficking of adult men. Article 297 criminalized           Service members experience normal, civilian workplace conditions,
enslavement and prescribed penalties of seven to 16 years’ imprisonment,         albeit with low pay and, in many cases, negligible to complete lack of
which were sufficiently stringent. Article 299 criminalized forced labor         freedom to pursue alternative employment opportunities. International
and prescribed penalties from six to 12 months’ imprisonment or a ﬁne            organizations report the government often subjects conscripts in the
of 20,000 to 50,000 nakfa ($1,330 to $3,330). These penalties were not           National Service to inhuman and degrading punishment, including torture,
sufficiently stringent. The government did not make efforts to amend             without recourse and punishes individuals that conscientiously object
its law during the reporting period.                                             to service; the government continues to force conscripts to serve for
                                                                                                                                   Haiti AR_000702              221
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 327 of 729
ESTONIA   indeﬁnite or otherwise arbitrary periods. Additionally, the government          other abuses, including extortion for ransom. Some Eritreans report
          broadly restricts recruitment of Eritreans to work abroad, denying              traffickers forcing them to work as cleaners or on construction sites
          travel to most Eritreans, including those enrolled in National Service          during their captivity. International organizations report Eritrean Defense
          and those who have not yet performed National Service. Eritreans may            Forces (EDF) officials, alongside Ethiopian federal and regional forces,
          be released from National Service after an indeﬁnite number of years            committed widespread human rights abuses and gender-based violence
          by petitioning the government based on criteria that shift periodically         against women and girls in Tigray, including potential trafficking crimes,
          and are not fully transparent; policies and practices for obtaining release     during the conﬂict in northern Ethiopia that began in November 2020.
          from National Service are inconsistent across organizations and job             Observers report unspeciﬁed military personnel, which may have included
          ﬁelds, but officials generally release expectant mothers and individuals        the EDF, and other officials forced women to have sex in exchange for
          who can show they have become the sole or primary source of familial            basic commodities and humanitarian assistance.
          support. Certain professions (e.g., medicine and teaching) exist almost
          exclusively within the ranks of the National Service. National Service
          workers without educational or vocational qualiﬁcations continue to
          be paid extremely low wages, and the government often substitutes                ESTONIA: TIER 1
          food or non-food rations for wages. In addition to National Service, the
          government instituted a compulsory citizen militia in 2012, requiring
                                                                                          The Government of Estonia fully meets the minimum standards for the
          medically ﬁt adults, up to age 70 and not currently in the military, to join
                                                                                          elimination of trafficking. The government continued to demonstrate
          their local militia. This requirement compels individuals to carry ﬁrearms
                                                                                          serious and sustained efforts during the reporting period, considering
          and attend military training. Local militia leaders also assign individuals
                                                                                          the impact of the COVID-19 pandemic, on its anti-trafficking capacity;
          to additional unpaid forced labor in agriculture work, guard duties, or
                                                                                          therefore Estonia remained on Tier 1. These efforts included ordering
          national development programs, such as soil and water conservation
                                                                                          convicted traffickers to pay restitution and approving a four-year violence
          projects on a part-time basis.
                                                                                          prevention agreement, which included several anti-trafficking activities.
          All 12th-grade students are required to complete their ﬁnal year of high        In addition, the government participated in a European study aimed at
          school education at the Warsay-Yikealo Secondary School, which is               exploring the national practices of detecting, identifying, and protecting
          embedded within the Sawa military and training academy; those who               potential foreign trafficking victims through national policy and legislative
          refuse to attend cannot receive high school graduation certiﬁcates,             developments. Furthermore, in response to the inﬂux of Ukrainian refugees
          attain higher education, or be offered some types of jobs. The program          and foreign nationals ﬂeeing Russia’s war on Ukraine and arriving in
          comprises seven months of academic instruction, followed by ﬁve months          Estonia, the government developed materials raising awareness about
          of basic military training. Upon graduation from Sawa, the government           sex and labor trafficking and outlining the steps to report suspected
          requires all students to participate in National Service in either civilian     trafficking and receive victim support services. Although the government
          or military roles. Although it remains likely some of the students are age      meets the minimum standards, authorities prosecuted and convicted
          17 at the time of their participation in the military training component        fewer traffickers under the anti-trafficking provision, speciﬁcally Section
          of the Warsay-Yikealo/Sawa academy, there are no conﬁrmed reports               133, of the penal code and continued to prosecute and convict traffickers
          anyone younger than age 18 began military service. Government policy            under non-trafficking statutes, which weakened deterrence, did not
          bans persons younger than 18 from military conscription; however, as            adequately reﬂect the nature of the crime, and undercut broader efforts
          National Service is mandatory starting at age 18, the government does           to ﬁght trafficking. According to the government, there was no available
          not report recruiting any members of the armed forces, and it remains           exact ﬁgure for the total number of labor trafficking cases investigated;
          unclear if there is an age veriﬁcation procedure that is consistently applied   therefore the government estimated the number, rendering the data
          prior to it sending new Sawa graduates to active military service. Some         unreliable. Moreover, data for victim identiﬁcation and assistance did
          officials detain or force into military training children who attempt to        not accurately reﬂect the trafficking situation in country. Finally, officials
          leave Eritrea, including unaccompanied children, despite some of them           ceased funding an NGO for victim support services.
          being younger than the minimum service age of 18. An international NGO
          reports that officials exploit some Sawa students in forced labor on either             ESTONIA TIER RANKING BY YEAR
          privately-owned, commercial farms or Sawa-owned farms. NGOs also                    1
          report military commanders regularly commit gender-based violence,
                                                                                              2
          including sexual abuse and potential sex trafficking crimes, against girls
          during military training or service.                                              2WL
                                                                                              3
          Perennially, thousands of Eritreans who ﬂee the country are smuggled
                                                                                                     2015     2016      2017     2018   2019   2020     2021     2022
          migrants seeking to be reunited with family members already overseas;
          escaping human rights abuses, including arbitrary arrest and detention,
          lack of due process, and religious persecution; searching for better
          economic opportunities; or hoping to avoid indeﬁnite periods of service in      PRIORITIZED RECOMMENDATIONS:
          the government’s National Service program. Most Eritreans consensually          Proactively investigate, prosecute, and convict traffickers under the
          commence their outbound journeys by paying smugglers, with the                  anti-trafficking provision, speciﬁcally Section 133, of the penal code. •
          ultimate goal of seeking asylum in Europe or, at a minimum, obtaining           Develop and implement a reliable comprehensive statistical system for
          refugee status in Ethiopia, Kenya, Egypt, Israel, or Uganda; some also strive   collecting and collating data on investigations, prosecutions, convictions,
          to reach the United States. An international organization assesses that         and victim identiﬁcation and assistance and ensure the data reported is
          many Eritrean asylum seekers, particularly those who ﬂee the National           accurate, official, and comparable to previous years. • Ensure adequate
          Service, express well-founded fears of persecution in Eritrea. Eritreans        ﬁnancial support for victim support services, including funding NGOs
          ﬂeeing the country and Eritrean refugees in neighboring countries               for victim assistance. • Train relevant authorities to recognize trafficking
          remain particularly vulnerable to the government indiscriminately               indicators and understand different types of trafficking. • Increase efforts
          arresting, detaining, harassing, or forcibly recalling them into the National   to proactively identify potential child trafficking victims. • Establish a
          Service. Eritrea’s strict exit control procedures and limited issuance of       specialized unit within the police to collect and verify information on
          passports compel those who cannot obtain exit visas or passports to             trafficking-related crimes and allocate funding for investigations. •
          travel clandestinely and increase their vulnerability to trafficking abroad,    Broaden public awareness efforts to educate at-risk communities, such
          primarily in Sudan and Ethiopia. In 2019, an international organization         as children and migrant workers, on the risks of trafficking.
          assessed that traffickers exploited Eritreans in forced labor and sex
          trafficking primarily in Sudan, Ethiopia, and Libya. Previous reports allege    PROSECUTION
          international criminal groups kidnap vulnerable Eritreans living inside         The government decreased law enforcement efforts. Sections 133,
          or in proximity to refugee camps, particularly in Sudan, and transport          1331, and 175 of the penal code criminalized sex trafficking and labor
          them to Libya, where traffickers subject them to human trafficking and          trafficking. Section 133 (trafficking in human beings) criminalized
 222                                                                                                                                      Haiti AR_000703
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 328 of 729




                                                                                                                                                               ESTONIA
placing a person in a situation of exploitation through force, fraud, or      item existed for trafficking investigation efforts. Police expressed
coercion and prescribed penalties of between one and seven years’             the need to establish a centralized unit that would collect and verify
imprisonment for offenses involving an adult victim, and three to 15          information on trafficking-related crimes and allocate funding for
years’ imprisonment for those involving a child victim. Section 1331          investigation efforts. Observers agreed a dedicated unit could yield
(support to human trafficking) separately criminalized the transportation,    successes and added it could improve the quality of cases presented to
delivery, escorting, acceptance, concealment, or accommodation of             prosecutors and prioritize trafficking cases. Experts reported the need
an individual into a situation of exploitation through force, fraud, or       for increased training for law enforcement, prosecutors, judges, and
coercion and prescribed penalties of up to ﬁve years’ imprisonment            front-line personnel on understanding different forms of exploitation and
for offenses involving an adult victim, and between two and 10 years’         identifying trafficking victims. In 2021, the MOJ and the Ministry of Social
imprisonment for those involving a child victim. Section 175 (human           Affairs (MSA) organized a two-day seminar for police, prosecutors, labor
trafficking in order to take advantage of minors) criminalized inducing       and custom inspectors, and victim support personnel on psychological
a child to engage in a criminal offense, begging, prostitution, or the        ﬁrst aid and trauma awareness; victims’ support services; prosecuting
production of pornography without requiring a demonstration of                trafficking crimes under the trafficking statute; and projected changes
force, fraud, or coercion and prescribed penalties of two to 10 years’        to the Victim Support Act, including creating qualiﬁcation requirements
imprisonment. Authorities most often used Section 175 to prosecute            for victim support personnel and updating conditions determining
child pornography cases involving no element of commercial sex. The           who receives victim support services. The police included a trafficking
penalties under Sections 133, 1331 and 175 were sufficiently stringent        module, covering national and international law, forms of exploitation,
and, with respect to sex trafficking, commensurate with the penalties         and protecting victims, as part of the curriculum for future officers.
prescribed for other serious crimes, such as rape.
The government included calls from the anti-trafficking hotline with
                                                                              PROTECTION
                                                                              The government marginally maintained protection efforts. Data for 2021
any presumed element of trafficking as investigations in their 2021 data
                                                                              victim identiﬁcation included calls to the anti-trafficking hotline that,
totals, before police determined the circumstances of the crime; these
                                                                              during initial screening, the government presumed to have some element,
cases included potential crimes under Sections 133, 1331 and 175. During
                                                                              however slight, of force, fraud, or coercion and, in turn, considered as
the reporting period, the government began direct data collection that
                                                                              potential trafficking victims. In previous years, the government did not
resulted in new categories for collecting statistics, intended to more
                                                                              report potential trafficking victims who were involved in cases that
accurately report on and inform national anti-trafficking efforts. Prior
                                                                              were initially investigated but ultimately determined non-trafficking.
to 2021, government data regarding Section 175 did not differentiate
                                                                              This methodological change in reporting made it difficult to compare
between cases exclusively related to trafficking or cases related to other
                                                                              data from previous years and raised concerns the data reported did not
crimes, such as child pornography, which Estonian law classiﬁed as a
                                                                              provide an accurate picture of the trafficking situation. In 2021, authorities
trafficking crime, making it difficult to compare data on investigations
                                                                              identiﬁed 417 potential victims (28 sex trafficking, 389 labor trafficking),
from previous years. Moreover, according to the government, there was
                                                                              compared with 34 in 2020. Police referred all 28 identiﬁed potential sex
no exact ﬁgure available for the total number of labor trafficking cases
                                                                              trafficking victims to support services under the assumption that they
investigated; therefore, the government estimated the number, rendering
                                                                              might be trafficking victims and simultaneously conducted investigations
the data unreliable. In 2021, police investigated approximately 78 cases
                                                                              to determine the circumstances of the crimes. Upon further investigation,
(28 sex trafficking, approximately 50 labor trafficking), compared with
                                                                              police determined none of the 28 were trafficking victims. Of the 389
35 in 2020. Of the 28 sex trafficking cases investigated, authorities
                                                                              identiﬁed potential labor trafficking victims, authorities identiﬁed only
found no evidence of trafficking and, therefore, pursued either child
                                                                              one as a labor trafficking victim, but all 389 received government
pornography or “pimping” charges. Of the approximately 50 labor
                                                                              services, including assistance from the Social Insurance Board (SIB) and
trafficking cases reported, authorities conﬁrmed one as trafficking
                                                                              Labor Inspectorate (LI) to help ﬁle civil claims against employers. The
and forwarded the case to the prosecutor’s office. Under Section 133,
                                                                              vast majority of the identiﬁed potential victims were males and foreign
authorities prosecuted and convicted two traffickers, a signiﬁcant
                                                                              nationals; authorities did not identify any child trafficking victims. The
decrease from prosecuting 15 cases, involving 10 suspected traffickers,
                                                                              Police and Border Guard utilized a questionnaire and checklist to identify
and convicting 14 traffickers in 2020. Courts sentenced the two convicted
                                                                              trafficking indicators among asylum-seekers. The government reported
traffickers to three years’ imprisonment and four years and one month’s
                                                                              authorities actively screened vulnerable populations for trafficking
imprisonment, respectively, and ordered them to pay restitution to
                                                                              indicators and increased resources to help screen Ukrainian refugees who
their victims. Data on prosecutions and convictions under Section
                                                                              were ﬂeeing Russia’s war on Ukraine and arriving in Estonia. Authorities
175 was not comparable to previous years. Authorities continued to
                                                                              considered individuals in commercial sex as potential victims until proven
prosecute and convict traffickers under non-trafficking statutes, thus
                                                                              otherwise through an investigation.
weakening deterrence, not adequately reﬂecting the nature of the
crime, and undercutting broader efforts to ﬁght trafficking. Under            The government provided identiﬁcation and referral guidelines, outlining
non-trafficking statutes, authorities prosecuted one trafficker and           all relevant authorities’ and actors’ responsibilities. The Victim Support
convicted two traffickers for forced criminality in which a 16-year-old       Act and the penal code allowed multiple actors, including NGOs, to
girl was forced to steal. Separately, while prosecutors charged a man         identify victims and refer them to the SIB, the agency responsible for
with child sex trafficking for exploiting children in commercial sex,         victim support services. In 2021, the government allocated €350,656
courts convicted him of child pornography. The government did not             ($397,570) toward victim support services. The government utilized
report any investigations, prosecutions, or convictions of government         an information and data sharing system to expedite the exchange of
officials complicit in trafficking crimes. The Ministry of Justice (MOJ)      information from the police to social services, ensuring potential victims
noted difficulty prosecuting international labor trafficking cases, citing    received immediate assistance. Under the Victim Support Act, victims
cases involving Estonian companies hiring Ukrainian or Polish temporary       received comprehensive, government-funded, trafficking-speciﬁc services,
workers as particularly complex. As part of a regional project to enhance     such as counseling, accommodation, and psychological, medical, and
law enforcement cooperation and training on trafficking, Estonian,            legal assistance, without ﬁrst requiring victims’ cooperation with police
Finnish, and Latvian authorities collaborated to strengthen capacity to       or the commencement of criminal proceedings. Victims who cooperated
investigate and prosecute trafficking cases, disrupt the ﬁnancial gains       with law enforcement received services for an unrestricted period, while
of traffickers, and help victims access justice.                              victims who did not participate in criminal proceedings could receive
                                                                              government-funded services for up to 60 days. In previous years, an
Overextension of personnel remained the government’s primary
                                                                              NGO served as the contracted partner for victim support services. In
constraint, limiting specialization and knowledge of trafficking.
                                                                              May 2021, the government ceased contracting the NGO and moved the
Nationally, approximately 10 specialized investigators and four specialized
                                                                              responsibility to the SIB’s Trafficking Victim Support Unit. Observers
prosecutors worked on trafficking cases. There was no dedicated
                                                                              criticized the move, raising concerns that the change would lower the
unit within the police responsible for investigating trafficking cases;
                                                                              quality of victim services. While initially the government released a
specialized investigators were part of the Drug and Organized Crime
                                                                              public tender for providers, there were no bidders because, according
Division within each prefecture. As a result, no separate budget line
                                                                                                                                 Haiti AR_000704               223
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 329 of 729
ESWATINI   to observers, the funding ceiling in the contract was too low to meet the        paid taxes and migrant workers the average monthly salary required by the
           minimum standard for victim services—€15,000 ($17,010), compared with            law. Additionally, the law prohibited recruitment agencies from charging
           €62,000 ($70,290) in previous years. Authorities placed child trafficking        fees to job seekers for placement services and required the LI to monitor
           victims and unaccompanied children in three dedicated centers for child          agencies for compliance. The LI provided migrant or local workers with
           victims of abuse, including trafficking, offering specialized services for       free legal services regarding work-related problems, such as unpaid salary,
           up to 60 days. Local government funding covered services beyond                  and maintained an informational phone line and website on workers’
           60 days. The government based the three centers on the Barnahus                  rights. In 2021, the LI created a new portal available in Estonian, English,
           method—a multidisciplinary and interagency model offering a coordinated          and Russian with information on labor trafficking. In an effort to decrease
           and effective response based speciﬁcally on a child victim’s needs.              the number of undocumented foreign workers, reduce cases of delayed
           Officials noted the need to increase procedural capacity regarding child         or under payment, and improve occupational safety and health, the
           sex trafficking victims, and experts reported the need to improve the            government continued to establish a new electronic registration system
           identiﬁcation of child trafficking victims, particularly as identiﬁcation        for construction site employees to provide insight into subcontracting
           had declined over the years. The Aliens Act enabled foreign victims to           relationships and working hours; projected implementation is in 2023.
           receive temporary residence permits, accommodation, and education;
                                                                                            In response to the inﬂux of Ukrainian refugees and foreign nationals
           the government did not grant any temporary residence permits to
                                                                                            who were ﬂeeing Russia’s war on Ukraine and arriving in Estonia, the
           foreign victims, the same as in 2020. The government disseminated
                                                                                            government developed information resources in Ukrainian, Russian, and
           NGO-developed guidance on assisting trafficking victims with disabilities.
                                                                                            Estonian advising on safe travel, rights to temporary protective status,
           The MOJ provided €50,000 ($56,690) in funding for legal aid for victims
                                                                                            ﬁnding legitimate work, and available beneﬁts. The police, LI, and SIB
           with low incomes and people with special needs, such as psychological
                                                                                            developed printed and online materials raising awareness about sex and
           or physical impairments. The law allowed victims to obtain restitution
                                                                                            labor trafficking and outlined the steps to report suspected trafficking and
           from traffickers in criminal cases and ﬁle civil suits against traffickers for
                                                                                            receive support services. Additionally, the MOJ developed a new training
           compensation. In the two 2021 convictions, courts ordered traffickers to
                                                                                            program for government and private sector officials on recognizing
           pay victims’ restitution in the amount of €21,790 ($24,710).
                                                                                            indicators of trafficking; the program targeted government contractors
                                                                                            providing temporary housing and job placement services to refugees
           PREVENTION                                                                       and volunteers working with vulnerable communities.
           The government increased prevention efforts. The MOJ maintained
           responsibility as the national trafficking coordinator, monitored
                                                                                            TRAFFICKING PROFILE
           implementation of anti-trafficking policies and plans, and led domestic and
                                                                                            As reported over the past ﬁve years, human traffickers exploit domestic
           international cooperation. During the reporting period, the government
                                                                                            and foreign victims in Estonia, and, to a lesser extent, traffickers exploit
           approved the 2021-2025 Violence Prevention Agreement, which focused
                                                                                            victims from Estonia abroad. Traffickers tend to recruit and exploit their
           on combating various forms of violence and included several anti-
                                                                                            victims, including children with promises of money or video games, via
           trafficking activities, such as legislative changes, training, and awareness
                                                                                            the internet and social media. Authorities report a rise in the number of
           programs. The government started developing an annual action plan
                                                                                            traffickers from foreign countries who recruit victims online. Trafficking
           for 2022, detailing resources for implementation of the activities in the
                                                                                            victims originate from Eastern Europe, Asia, and Africa. In general,
           Violence Prevention Agreement, as well as additional anti-trafficking
                                                                                            women and children are mainly at risk of sex trafficking and men of
           programs. In 2021, the government proposed signiﬁcant budget cuts
                                                                                            labor trafficking. The majority of trafficking cases in Estonia are labor
           across all areas of government spending, which observers raised concerns
                                                                                            trafficking cases that involve male foreign nationals. Migrant workers, most
           would affect anti-trafficking programs and law enforcement efforts. The
                                                                                            of whom are Ukrainian and Polish, are vulnerable to labor exploitation
           anti-trafficking working group, comprising 35 government agencies and
                                                                                            within Estonia, particularly in the construction and manufacturing sectors.
           NGOs, published an annual report of its activities. As a member of the
                                                                                            A common scheme involves an Estonian company subcontracting
           European Migration Network, Estonia participated in a study aimed at
                                                                                            with a Ukrainian or Polish company to provide temporary workers;
           exploring the national practices of detecting, identifying, and protecting
                                                                                            the Estonian company pays salaries, sometimes below market rate, to
           potential foreign trafficking victims. The study consisted of national policy
                                                                                            the foreign company, which withholds the money from the workers.
           and legislative developments and measures to detect, identify, and protect
                                                                                            Citizens of Pakistan, India, and Bangladesh arrive in Estonia to work in
           third-country nationals; challenges and best practices; and cooperation
                                                                                            the food sector where they are vulnerable to exploitation by their fellow
           mechanisms with other Member States, EU agencies, international
                                                                                            countrymen. Citizens of Ukraine, Belarus, and Moldova are at risk of labor
           organizations, and third countries of origin. In collaboration with other
                                                                                            trafficking in the cleaning sector. The government reports an increase
           Baltic Sea Region countries, the government participated in a project
                                                                                            in the number of individuals from Central Asia who come to Estonia for
           establishing long-term cooperation between stakeholders and academia
                                                                                            employment and are forced to pay high recruitment fees to recruiters
           to educate future journalists on trafficking issues through workshops,
                                                                                            who are typically from the same country as the victims and have ties
           panel discussions, and competitions. The government managed an anti-
                                                                                            to organized crime. Officials noted foreign “posted workers,” hired by
           trafficking hotline, which received 505 calls from potential trafficking
                                                                                            temporary agencies and placed in Estonian companies, and their family
           victims, of which authorities began investigations into 28 sex trafficking
                                                                                            members are especially vulnerable to trafficking. Thousands of foreign
           cases and 389 labor trafficking cases; the hotline provided counseling and
                                                                                            nationals and Ukrainian refugees, predominantly women and children,
           services in Estonian, Russian, and English. The government made efforts
                                                                                            who are ﬂeeing Russia’s war on Ukraine and seeking sanctuary, are highly
           to reduce the demand for commercial sex acts by creating a program
                                                                                            vulnerable to trafficking.
           aimed to change the behavior of sex buyers through social measures.
           In 2021, the government participated in a new regional project aimed at
           strengthening the knowledge of and approach to trafficking, particularly
           in an international context. The project advanced the work of the online          ESWATINI: TIER 2 WATCH LIST
           trafficking identiﬁcation tool for labor inspectors that launched in 2020
           by coordinating training and enhancing cooperation among Finnish,
                                                                                            The Government of Eswatini does not fully meet the minimum standards
           Estonian, and Latvian authorities. Also, in 2021, the government conducted
                                                                                            for the elimination of trafficking but is making signiﬁcant efforts to do
           an awareness-raising event consisting of two live streams on social media
                                                                                            so. These efforts included convicting more traffickers and identifying
           for entrepreneurs, informing them of the dangers of trafficking and free
                                                                                            more victims. However, the government did not demonstrate overall
           services offered by the state. The SIB maintained a podcast, in Estonian
                                                                                            increasing efforts compared with the previous reporting period, even
           and Russian languages, with a new topic focusing on labor exploitation,
                                                                                            considering the impact of the COVID-19 pandemic on its anti-trafficking
           including trafficking, and services. Several agencies organized a four-
                                                                                            capacity. The lack of government coordination, leadership by the Inter
           day seminar to educate employers on the use of migrant labor, work
                                                                                            Agency Task Force for the Prevention of People Trafficking and People
           authorization requirements, and trafficking prevention. Estonian law
                                                                                            Smuggling (Task Force) and the Prevention of People Trafficking and
           prevented the misuse of employment regulations and ensured enterprises
                                                                                            People Smuggling Secretariat (Secretariat), dedicated funding, and

 224                                                                                                                                     Haiti AR_000705
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 330 of 729




                                                                                                                                                            ESWATINI
specialized anti-trafficking training for front-line officers continued       the reporting period. Court closures due to the pandemic and civil
to hamper anti-trafficking efforts. Serious allegations of trafficking        unrest caused signiﬁcant delays in the judicial process. The government
and abuse of trafficking victims against senior government officials          imposed a pandemic-related curfew for most of the reporting period,
in protection roles have remained pending for multiple years. The             which negatively impacted efforts of government officials.
government did not refer all identiﬁed victims to services. The ﬁrst
                                                                              Corruption and official complicity in trafficking crimes remained
shelter for victims of trafficking and gender-based violence (GBV),
                                                                              signiﬁcant concerns. In recent years, senior government officials were
refurbished in a collaborative effort with foreign donor support, remained
                                                                              investigated, prosecuted, and convicted for trafficking crimes or the
inoperable. Therefore Eswatini was downgraded to Tier 2 Watch List.
                                                                              abuse of trafficking victims under the care of the government; however,
                                                                              these cases faced signiﬁcant delays due to a backlog of court cases. For
        ESWATINI TIER RANKING BY YEAR                                         the third consecutive year, a criminal prosecution remained pending
    1                                                                         against the government’s senior protection officer employed in the
    2                                                                         Secretariat, who allegedly threatened and assaulted three foreign
                                                                              trafficking victims residing in the government’s temporary shelter in
  2WL
                                                                              2019. For the second consecutive year, criminal prosecution remained
    3                                                                         pending against the Director of the National Children’s Coordination
           2015     2016      2017      2018   2019   2020   2021   2022      Unit in the Deputy Prime Minister’s office for allegedly kidnapping,
                                                                              trafficking, and sexually assaulting a child from 2017 through 2019.
                                                                              Both officials remained employed but suspended with full pay at the
                                                                              end of the reporting period. Additionally, there were reports from prior
PRIORITIZED RECOMMENDATIONS:                                                  reporting periods of immigration officials soliciting bribes to issue
Increase efforts to investigate, prosecute, and convict traffickers,          government documents, such as visas.
including allegedly complicit officials. • Launch and operationalize the
                                                                              Systemic judicial issues, including a weak case management and
refurbished shelter dedicated to providing care for victims of trafficking
                                                                              coordination system; a shortage of judges, magistrates, prosecutors,
and GBV, including by utilizing shelter guidelines, management plans,
                                                                              and courtrooms; and a lack of access to legal representation for crime
and government resources. • Appoint a new magistrate to ﬁll the
                                                                              victims contributed to delays in all cases, including trafficking. The sole
vacancy of the lead magistrate on trafficking in persons to adjudicate
                                                                              magistrate, responsible for issuing victim protection orders required
trafficking cases and issue protection orders for victims. • Appoint a
                                                                              for victim identiﬁcation under the NRM and for hearing cases against
new protection officer in the Secretariat to ensure trafficking victims are
                                                                              traffickers, retired during the reporting period without completing active
appropriately identiﬁed and referred to services. • Train law enforcement,
                                                                              prosecutions, which were placed on hold. Observers commented that the
social workers, and other front-line officials to proactively identify
                                                                              lengthy appointment process for a new magistrate may cause signiﬁcant
trafficking victims among vulnerable populations, including at-risk
                                                                              delays and inhibit victim protection. Rural women often faced substantial
children, migrants, and Cuban medical workers, and refer all identiﬁed
                                                                              obstacles obtaining relief for various crimes because communities
trafficking victims to appropriate protection services. • Implement the
                                                                              pursued family intervention ﬁrst and then used traditional courts, which
National Strategic Framework and Action Plan (NSFAP) to Combat
                                                                              viewed female victims of crime as “unruly” and “disobedient.” In previous
People Trafficking (2019-2023). • Increase coordination and adequately
                                                                              reporting periods, observers reported that the lack of collaboration of
fund mandated activities of the Secretariat and the Task Force to enable
                                                                              leadership at the Secretariat impeded anti-trafficking law enforcement
the Task Force to fulﬁll its statutory responsibilities. • Identify key NGO
                                                                              efforts, resulting in some officials circumventing the Secretariat to
partnerships for protective services and strengthen coordination on
                                                                              facilitate initiatives and communication between members of the Task
victim protection. • Improve trafficking data collection and analysis of
                                                                              Force. It was not reported if this changed during the reporting period.
anti-trafficking law enforcement efforts. • Conduct anti-trafficking public
                                                                              The government did not report providing anti-trafficking training for law
awareness campaigns. • Amend the Employment Act to create strong
                                                                              enforcement or criminal justice professionals during the reporting period.
regulations and oversight mechanisms of labor recruitment companies,
including by eliminating recruitment fees charged to migrant workers
and holding fraudulent labor recruiters criminally accountable.
                                                                              PROTECTION
                                                                              The government decreased victim protection efforts. The government
                                                                              identiﬁed seven trafficking victims, all girls, including six from Eswatini
PROSECUTION
                                                                              and one from Mozambique. Government officials reportedly referred
The government maintained minimal anti-trafficking law enforcement
                                                                              one victim to services provided by NGOs; the victim was repatriated in
efforts. The 2009 People Trafficking and People Smuggling (Prohibition)
                                                                              cooperation with an international organization and the Government of
Act criminalized sex trafficking and labor trafficking and prescribed
                                                                              Mozambique. This compared with four victims identiﬁed and referred to
penalties of up to 20 years’ imprisonment for offenses involving an
                                                                              care in the previous reporting period. The government reported using
adult victim and up to 25 years’ imprisonment for those involving
                                                                              the NRM to identify and refer victims; however, due to the vacancy of
a child victim. These penalties were sufficiently stringent and, with
                                                                              the magistrate responsible for trafficking victims’ access to services, it
regard to sex trafficking, commensurate with those prescribed for
                                                                              was unclear if implementation was successful. The government reported
other serious crimes, such as rape. The Sexual Offences and Domestic
                                                                              that both the government and NGOs provided care for victims, both
Violence Act prescribed penalties of up to 20 years’ imprisonment, a
                                                                              foreign and Swati, including shelter, necessities, counseling, and medical
ﬁne of up to 100,000 emalangeni ($6,300), or both for the commercial
                                                                              care. Most protection services for trafficking victims were also shared
sexual exploitation of an adult and up to 25 years’ imprisonment with
                                                                              with victims of GBV and other crimes. The government operated one
no option of a ﬁne if the offense involved a child.
                                                                              shelter that provided short-term care for up to 24 crime victims and a
The government initiated two human trafficking investigations and             second training facility with a residential component that could house
continued at least one investigation from the previous reporting period,      victims; however, these shelters were of insufficient quality to house
compared with three investigations initiated in the previous reporting        victims, particularly for longer stays. When the government shelter
period. The government reported initiating three prosecutions, two for        was full, the government placed victims with family members or in
sex trafficking and one for labor trafficking, and continuing at least one    NGO-operated shelters. Through a multi-stakeholder approach, an
prosecution from the previous reporting period, compared with two             international organization assisted the government to refurbish a shelter
prosecutions initiated in the previous reporting period. Reportedly, the      to house victims of trafficking and GBV with funding from a foreign donor.
government convicted ﬁve traffickers, compared with one conviction in         During the reporting period, the government assumed responsibility
the previous reporting period. One conviction was brought under the           to operationalize the shelter through approving shelter guidelines,
anti-trafficking law; charges were not reported for the other convictions.    conducting routine building maintenance, providing furnishings, and
The government did not provide any information on sentencing. Both            dedicating resources for day-to-day operations. The government
the pandemic and civil unrest diverted law enforcement and judicial           purchased some furnishings; however, these works remained incomplete,
resources away from efforts to combat trafficking in persons during           leaving the shelter inoperable at the end of the reporting period. The
                                                                                                                               Haiti AR_000706              225
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 331 of 729
ETHIOPIA   Secretariat ﬁnalized and endorsed the shelter policies and guidelines           primarily Mozambicans, to South Africa for forced labor. Traffickers
           but awaited adoption. Government officials continued to proactively             reportedly force Mozambican women into commercial sex in Eswatini
           screen for trafficking at the airport, although they did not identify any       or transport them through Eswatini to South Africa. Traffickers entrap
           victims for the second consecutive year.                                        Swati victims with promises of economic opportunities in Eswatini or
                                                                                           abroad, particularly South Africa. Some traffickers exploit Swatis in
           The government had procedures to assist victim-witnesses during the
                                                                                           sex trafficking, including orphaned girls and girls from poor families,
           court process, including court preparation, translation services, counseling,
                                                                                           who voluntarily migrate in search of work, particularly in South Africa.
           and use of recorded video testimony. The government did not report
                                                                                           Reports suggest labor brokers fraudulently recruit and charge excessive
           providing any protection services to trafficking victim-witnesses during
                                                                                           fees to Swati nationals for work in South African mines, which are
           the reporting period and demonstrated an inconsistent understanding
                                                                                           common tactics used by traffickers. Traffickers recruit Swati men in
           of victim rights. The government did not have formal procedures to
                                                                                           border communities for forced labor in South Africa’s timber industry.
           provide residency to foreign trafficking victims but could do so on an
                                                                                           Previous reports indicate Swati students were fraudulently recruited for
           ad hoc basis. The government continued to allocate 80,000 emalangeni
                                                                                           educational opportunities in Taiwan and coerced to work in exploitative
           ($5,040) annually to a victim protection fund. While Eswatini law allowed
                                                                                           conditions in chicken factories.
           judges to order restitution for trafficking victims, none did so during
           the reporting period.

           PREVENTION
           The government decreased efforts to prevent trafficking. The Task                ETHIOPIA: TIER 2 WATCH LIST
           Force, which is composed of government ministries and NGOs and is
           mandated to coordinate anti-trafficking efforts, met twice during the           The Government of Ethiopia does not fully meet the minimum standards
           reporting period; however, the Secretariat, housed within the Prime             for the elimination of trafficking but is making signiﬁcant efforts to do
           Minister’s office, led efforts. The government continued to implement its       so. These efforts included prosecuting more potential trafficking crimes;
           NSFAP (2019-2023) but only through awareness-raising efforts during             convicting more traffickers; increasing training for law enforcement
           the reporting period. It was not reported if funding was devoted to its         officials on the distinctions between human trafficking and migrant
           implementation for the reporting period. Long-standing bureaucratic             smuggling; drafting regulations to create a victim protection fund; and
           delays and communication gaps within the Task Force and Secretariat             conducting awareness campaigns at the federal and regional levels
           continued to hamper coordination efforts. In addition, while Task Force         on trafficking indicators and reporting mechanisms. However, the
           member agencies had individual mandates to address trafficking, they            government did not demonstrate overall increasing efforts compared
           did not receive funding to implement such efforts. The Secretariat had          with the previous reporting period, even considering the impact of the
           an allocated budget; however, the funding disbursement was delayed              COVID-19 pandemic, if any, on its anti-trafficking capacity. Corruption
           during the reporting period, which hindered coordination efforts.               and official complicity in trafficking crimes remained signiﬁcant concerns,
                                                                                           inhibiting law enforcement action. Protection services for victims
           The government, in partnership with an international organization,
                                                                                           remained limited and inconsistent in quality, particularly outside of
           held seven events in four provinces to raise public awareness, targeting
                                                                                           Addis Ababa; additionally, the government continued to rely on civil
           religious institutions, traditional gatherings, and childcare providers
                                                                                           society organizations to provide most victim services, but it did not
           in rural community centers, and it held a weekly radio program. The
                                                                                           provide in-kind or ﬁnancial support to these efforts. The government
           Secretariat continued using anti-trafficking posters at various land
                                                                                           continued to disproportionately focus on transnational trafficking crimes
           borders and the airport. While the government had a trafficking-speciﬁc
                                                                                           and did not take adequate action to address internal trafficking crimes,
           hotline, it had limited operations for the second consecutive reporting
                                                                                           including domestic servitude and child sex trafficking, despite the scale
           period due to lack of funding. The government did not report collecting,
                                                                                           of the problem. Despite increased trainings, many officials continued
           analyzing, or contributing human trafficking data, as reported in previous
                                                                                           to conﬂate human trafficking and migrant smuggling, hindering the
           years. The government did not have policies and procedures to regulate
                                                                                           effectiveness of overall anti-trafficking efforts. Government efforts
           labor recruiters and brokers, and it permitted charging fees to workers.
                                                                                           to protect Ethiopian trafficking victims abroad, particularly migrant
           Labor inspectors received training on identifying forced and child labor;
                                                                                           workers, remained minimal, and protection services for potential victims
           however, the labor inspectorate had an insufficient number of inspectors
                                                                                           returning to Ethiopia were inadequate. Therefore Ethiopia remained on
           to monitor for forced and child labor. It did not have any funds dedicated
                                                                                           Tier 2 Watch List for the second consecutive year.
           for inspections and had to request funds from the general Department
           of Labor budget. In addition, when it did receive funds, it focused nearly
           all efforts on the formal sector, while forced labor almost exclusively                 ETHIOPIA TIER RANKING BY YEAR
           occurred in the informal sector. The government did not make efforts                1
           to reduce the demand for commercial sex. The government did not
                                                                                               2
           provide anti-trafficking training to its diplomatic personnel.
                                                                                             2WL
           TRAFFICKING PROFILE                                                                 3
           As reported over the past ﬁve years, human traffickers exploit domestic                    2015     2016      2017      2018   2019   2020    2021     2022
           and foreign victims in Eswatini, and traffickers exploit victims from
           Eswatini abroad. Traffickers target vulnerable communities, particularly
           those with high HIV/AIDS prevalence rates. Traffickers exploit Swati girls,
           particularly orphans, in sex trafficking and domestic servitude, primarily in   PRIORITIZED RECOMMENDATIONS:
           Eswatini and South Africa. Some Swati girls in forced domestic work are         Continue to increase efforts to investigate and prosecute alleged
           physically and sexually abused by their employers. Sex traffickers exploit      traffickers, including for both transnational and internal trafficking crimes,
           orphaned Swati girls in “survival sex” in exchange for food and money.          and seek signiﬁcant prison terms for convicted traffickers. • Expand
           Traffickers force Swati boys and foreign children to labor in agriculture,      training to all levels of government, including regional officials outside of
           including cattle herding, and market vending within the country. Swati          Addis Ababa, on implementation of the standard operating procedures
           boys, particularly in rural areas, who work on small marijuana (“Dagga”)        (SOPs) for victim identiﬁcation and the national referral mechanism
           farms, are vulnerable to exploitative employers. Swati children may             (NRM) to refer all victims to appropriate care. • Using the established
           face difficulties in accessing assistance due to the lack of citizenship        SOPs, systematically and proactively identify trafficking victims by
           documentation. Mozambican boys migrate to Eswatini for work washing             screening for trafficking indicators among vulnerable populations,
           cars, herding livestock, and portering; traffickers exploit some of these       including individuals in commercial sex, Ethiopian migrant workers
           boys in forced labor. Cuban nationals working on medical missions in            returning from overseas, unaccompanied children, and foreign nationals
           Eswatini may have been forced to work by the Cuban government.                  such as Eritreans, Somalis, South Sudanese, and Cuban medical workers,
           Traffickers use Eswatini as a transit country to transport foreign victims,     and refer all trafficking victims to appropriate services. • Develop, adopt,

 226                                                                                                                                        Haiti AR_000707
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 332 of 729




                                                                                                                                                             ETHIOPIA
and implement a comprehensive national action plan (NAP). • Continue to         the year. Corruption among police and judicial officials, especially the
increase training for police, prosecutors, judges, immigration officials, and   solicitation of bribes, remained a signiﬁcant concern. Since the Tigray
service providers to differentiate between human trafficking and migrant        conﬂict began in November 2020, international organizations reported
smuggling. • Collaborate with NGOs and international organizations              armed actors, including Eritrean forces, regional forces, the Ethiopian
to increase the government’s capacity to provide long-term shelter              National Defense Force (ENDF), and the Tigrayan People’s Liberation
and protective services to all trafficking victims, including adult males       Front (TPLF), were reportedly responsible for committing human rights
and foreign nationals. • Increase protections for Ethiopian trafficking         abuses and gender-based violence (GBV) in Tigray and other northern
victims exploited abroad, including by providing pre-departure training         regions, including potential trafficking crimes. Observers reported
to all migrant workers, training Ethiopian embassy staff to identify and        unspeciﬁed military personnel and other officials forced women to have
assist victims, establishing and implementing additional bilateral labor        sex in exchange for basic commodities and humanitarian assistance.
agreements with destination countries, and assigning labor attachés             Observers reported officials subjected detained Tigrayan returnees
to Ethiopian embassies to monitor migrants abroad. • Consistently               to abuse, forced disappearance, and forced labor upon their return
enforce strong regulations and oversight of labor recruitment agencies,         to Ethiopia.
including by eliminating recruitment fees charged to migrant workers,
                                                                                The government maintained the Migration and Human Trafficking Crime
holding fraudulent labor recruiters criminally accountable, and training
                                                                                Team, which was established in 2019 with 35 investigators and six
inspectors to report potential violations to the appropriate officials. •
                                                                                prosecutors to address both human trafficking and smuggling crimes.
Develop and implement a comprehensive and centralized database
                                                                                The government, in partnership with an international organization,
to accurately report the government’s anti-trafficking statistics and
                                                                                published SOPs for the investigation of human trafficking and migrant
disaggregate data on trafficking crimes and migrant smuggling. • Improve
                                                                                smuggling cases to complement the 2020 anti-trafficking proclamation.
screening procedures in the distribution of national identiﬁcation cards
                                                                                The government, in partnership with civil society organizations, provided
and passports to prevent their fraudulent issuance to children.
                                                                                trainings to several thousand prosecutorial and judicial officials, border
                                                                                guards, police officers, and immigration agents on the distinction between
PROSECUTION                                                                     human trafficking and migrant smuggling, anti-trafficking laws, victim
The government increased anti-trafficking law enforcement efforts but did
                                                                                identiﬁcation, and international cooperation on investigations. The
not take adequate steps to address official complicity in trafficking crimes.
                                                                                government reported cooperating with an international law enforcement
Proclamation 1178/2020, Proclamation to Provide for the Prevention and
                                                                                organization and foreign governments, including Djibouti, Israel, Kenya,
Suppression of Trafficking in Persons and the Smuggling of Persons,
                                                                                Tanzania, and South Africa, on trafficking investigations.
as amended by Corrigendum 11/2013, effective as of December 2020,
criminalized sex trafficking and labor trafficking. The law prescribed
                                                                                PROTECTION
penalties of seven to 15 years’ imprisonment and a ﬁne of 20,000 to
                                                                                The government maintained victim protection efforts. The government
100,000 Ethiopian birr (Br) ($407 to $2,040) for labor trafficking and adult
                                                                                reported identifying 329 trafficking victims, compared with zero in the
sex trafficking and 10 to 20 years’ imprisonment and a ﬁne of 30,000 to
                                                                                previous reporting period. Of the 329 victims identiﬁed, traffickers
100,000 Br ($610-$2,040) for child sex trafficking. These penalties were
                                                                                exploited 289 in sex trafficking and 40 in forced labor; the government
sufficiently stringent and, with regards to sex trafficking, commensurate
                                                                                reported 191 of the sex trafficking victims and 36 of the forced labor
with those prescribed for other serious crimes, such as rape.
                                                                                victims were girls, and the remaining 102 victims were unspeciﬁed. In
In 2021, the government provided data from the federal level and six            previous years, the government reported the number of individuals
regions, compared with providing data from the federal level and three          returning to Ethiopia it considered to be vulnerable to trafficking; the
regions in 2020. The government reported investigating 495 potential            government did not report this number in 2021, compared with more
trafficking cases—487 for sex trafficking and eight for forced labor—in         than 14,518 vulnerable migrants in 2020. The government maintained
2021, compared with 172 investigations in 2020; the government did not          SOPs for proactive victim identiﬁcation and provided regular trainings
disaggregate by type of trafficking in the previous reporting period. Of        on its use; however, officials’ dissemination and implementation of the
these 495 case investigations, officials investigated 127 at the federal        SOPs remained limited.
level and 368 at the regional level, compared with 27 at the federal
                                                                                The government had an NRM outlining guidelines for victim referrals
level and 145 at the regional level in 2020. The government reported
                                                                                to services; however, its use remained limited, particularly outside of
prosecuting 387 individuals—353 for sex trafficking, ﬁve for forced
                                                                                Addis Ababa. In 2021, the government developed a memorandum of
labor, and 29 for unspeciﬁed exploitation—in 2021, compared with 108
                                                                                understanding (MOU) with regional states to expand the NRM’s use
prosecutions in 2020. Of the 387 individuals prosecuted, 98 occurred
                                                                                across the country; the MOU was awaiting regional officials’ signatures
at the federal level, and 289 occurred at the regional level, compared
                                                                                at the end of the reporting period. The government, in partnership
with ﬁve prosecutions at the federal level and 103 at the regional
                                                                                with civil society organizations, reported providing 256 victims—all
level in 2020. Officials prosecuted 267 of these individuals under the
                                                                                women and girls—with various services, including medical care, psycho-
anti-trafficking proclamation and 120 under the criminal code. Courts
                                                                                social counseling, shelter, family reuniﬁcation, legal aid, and economic
convicted 296 traffickers—289 for sex trafficking and seven for forced
                                                                                assistance; the government did not report protection data related to the
labor—in 2021, compared with 48 convictions in 2020. Of the 296
                                                                                remaining 73 identiﬁed victims. There continued to be a dearth of care
convictions, 190 were under the 2020 anti-trafficking proclamation,
                                                                                available for male trafficking victims. Despite reliance on civil society
and 106 were under the criminal code. The government did not report
                                                                                organizations to provide most victim services, the government did not
sentencing data. Courts acquitted eight suspected traffickers during
                                                                                report providing ﬁnancial or in-kind support to such organizations.
the reporting period for unspeciﬁed reasons. For all prosecutions
                                                                                Officials continued to jointly operate ﬁve migration response centers
and convictions under the criminal code, the government reported
                                                                                (MRCs), in partnership with an international organization, in Dire Dawa,
using Article 243 related to unlawful departure, entry, or residence,
                                                                                Metema, Moyale, Semera, and Togochale; the government supported
rather than trafficking provisions. As reported in prior years, officials’
                                                                                the MRCs in various ways, including by donating land for infrastructure,
propensity to conﬂate human trafficking and migrant smuggling made
                                                                                providing rent-free usage of government facilities, participating in
it probable that some reported cases involved individuals seeking to
                                                                                MRC management committees, and facilitating referral linkage with
illegally cross international borders via irregular migration and other
                                                                                front-line agencies. The government reported providing services to
crimes not involving exploitation through forced labor or sex trafficking.
                                                                                199 trafficking victims at the MRCs during the reporting period. The
Additionally, ﬁnancial and capacity constraints continued to impede data
                                                                                government maintained operation of child protection units in Addis
collection by regional police, and ineffective coordination between the
                                                                                Ababa and several major cities. The units reportedly provided protection
regions and the federal government hindered law enforcement efforts.
                                                                                services to child trafficking victims and vulnerable children intercepted
The government did not report any investigations, prosecutions, or              or identiﬁed en route from rural to urban areas. The 2020 anti-trafficking
convictions of government employees complicit in human trafficking              proclamation established a fund to support victim protection and care,
crimes; however, corruption and official complicity in trafficking crimes       which could receive funding through a government budget allocation;
remained signiﬁcant concerns, inhibiting law enforcement action during          through ﬁnes imposed on, and the sale of, conﬁscated property from
                                                                                                                                Haiti AR_000708              227
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 333 of 729
ETHIOPIA   traffickers; and from foreign donors. In 2021, the government drafted         rural communities, religious institutions, and media. The government,
           regulations to initiate creation of the fund; the regulations were awaiting   in partnership with an international organization, conducted awareness
           ministerial-level approval at the end of the reporting period.                activities related to the prevention of the unlawful recruitment and use
                                                                                         of child soldiers in Tigray. The government did not operate a trafficking-
           To protect Ethiopian nationals exploited abroad, some Ethiopian
                                                                                         speciﬁc hotline; however, the government reported referring 151 potential
           diplomatic missions in Gulf states continued to provide temporary
                                                                                         trafficking cases identiﬁed through police hotlines to law enforcement
           shelter and facilitate repatriation ﬂights for victims. The government
                                                                                         and service providers. The government remained without a coordinated
           and civil society continued to report that Gulf states conducted mass
                                                                                         national data collection system, resulting in disorganized reporting on
           deportations of Ethiopians—rather than coordinated repatriations—due
                                                                                         information related to trafficking.
           to pandemic-related stigmatization of migrants and economic impacts
           among employers. The number of deportations continued at a signiﬁcant         In June 2021, the government amended the 2016 employment
           rate, hindering the Ethiopian response system; protection services for        proclamation through Proclamation No. 1246/2021 Ethiopian’s Overseas
           returnees, including potential trafficking victims, also remained limited.    Employment (Amendment). The revised proclamation newly required the
           Officials at Bole International Airport and at land border crossings          establishment of an employment board, composed of representatives
           coordinated with an international organization to screen Ethiopians           from relevant government agencies, to oversee the implementation of
           returning from abroad for trafficking indicators. Observers noted the         the proclamation, including by facilitating bilateral labor agreements
           time allotted for screening interviews—approximately ﬁve minutes—was          (BLA), protecting migrant workers abroad, and raising awareness
           insufficient to identify potential victims, especially amidst the high        of overseas employment processes and risks. The government did
           number of returnees, which an international organization reported was         not operationalize the board by the end of the reporting period. The
           more than 155,000 individuals in 2021.                                        employment proclamation continued to require employment agencies
                                                                                         to deposit 1 million Br ($20,350) in a bank as insurance, which officials
           The 2020 anti-trafficking proclamation provided protections to victims
                                                                                         would use to assist and repatriate trafficking victims; however, the
           participating in investigations and prosecutions as outlined under the
                                                                                         government did not report enforcing this requirement for the third
           Witness and Whistleblowers Protection Proclamation (No. 699/2010),
                                                                                         consecutive reporting period. Proclamation No. 1426/2021 newly required
           which included protection from prosecution for crimes committed as a
                                                                                         migrant workers, not including those employed in domestic work, to
           direct result of unlawful acts traffickers compelled them to commit. The
                                                                                         pay employment agencies the amount of one month’s salary over four
           government reported most victims participated in criminal proceedings
                                                                                         payment periods.
           against traffickers, noting that officials received victims’ informed
           consent. Officials maintained an MOU with NGOs to improve coordination        The then-Ministry of Labor and Social Affairs, now the Ministry of Labor
           between law enforcement agencies and service providers intended to            and Skills, trained 13 labor officers in 2019 to serve abroad as foreign
           ensure officials referred victims to appropriate care, including shelter,     service officers and represent Ethiopians working in Qatar, Saudi Arabia,
           counseling, and legal assistance, throughout the course of legal              and the United Arab Emirates (UAE); however, the government had
           proceedings. Courts allowed children to testify against traffickers via       not yet deployed the labor officers due to pandemic-related travel
           video or in child-friendly interviewing rooms. Despite these protections,     restrictions. The government reported an international organization
           observers reported, in some cases, victims chose not to testify due to        provided continued training to the labor officers as deployment remained
           fear of reprisal or lack of funding to travel to court. The government        delayed. The government maintained BLAs with Jordan, Qatar, Saudi
           reported the specialized witness protection unit, established in 2018,        Arabia, and the UAE to commit to ethical recruitment, legal remedies
           provided some protection services to victims-witnesses; however, the          against those who violated the law, and equal protection of Ethiopian
           government did not provide information on speciﬁc actions taken by            workers, to include equal wages for equal work and reasonable working
           the unit. Proclamation 1178/2020 allowed foreign national victims to          hours. Ethiopian officials maintained efforts to implement a 2012 law
           receive temporary residence permits or repatriation assistance on an          requiring registration of all births nationwide; however, the lack of a
           as-needed basis, but the government did not report whether any victims        uniform national identity card continued to impede implementation of
           received deportation relief. The anti-trafficking proclamation entitled       the law and allowed for the continuous issuance of district-level identity
           victims to restitution from convicted traffickers; however, the government    cards, which were subject to fraudulent production to exploit potential
           did not report awarding restitution during the reporting period. Due          trafficking victims, including children. The government cooperated
           to disparate implementation of identiﬁcation procedures, authorities          with a foreign donor to provide Ethiopian troops with anti-trafficking
           may have detained or deported some unidentiﬁed trafficking victims.           training prior to their deployment abroad on international peacekeeping
                                                                                         missions. Although not explicitly reported as human trafficking, the UN
           PREVENTION                                                                    reported one allegation of sexual exploitation with trafficking indicators
           The government maintained efforts to prevent trafficking. The senior-         by one Ethiopian peacekeeper serving in the UN peacekeeping operation
           level National Council (NC), chaired by the Deputy Prime Minister,            in Abyei in 2020; the government did not report investigating the
           maintained responsibility for the creation of policies and strategies         allegation for the second consecutive reporting period. Investigation
           for the prevention of migrant smuggling and human trafficking, and it         and accountability actions remained pending for a similar allegation
           was mandated to meet twice per year; the NC met once in 2021. The             against one Ethiopian peacekeeper serving in the UN peacekeeping
           working-level National Partnership Coalition (NPC), which was led by the      mission in Liberia in 2018. The government did not make efforts to
           Ministry of Justice and composed of members from relevant government          reduce the demand for commercial sex acts.
           ministries, religious institutions, civil society organizations, and media,
           continued to serve as the government’s primary coordinating body for          TRAFFICKING PROFILE
           issues related to human trafficking and migrant smuggling. The NPC            As reported over the past ﬁve years, human traffickers exploit domestic
           established six working groups, which met regularly throughout the            and foreign victims in Ethiopia, and traffickers exploit victims from
           year, related to the following topics: awareness raising and overseas         Ethiopia abroad. Traffickers exploit girls from Ethiopia’s impoverished
           employment, crime prevention and law enforcement, victim protection,          rural areas in domestic servitude and sex trafficking within the country
           data collection, diaspora engagement, and research. The government            and boys in forced labor in traditional weaving, construction, agriculture,
           remained without a comprehensive anti-trafficking NAP for the sixth           forced begging, and street vending. Brothel owners exploit girls in sex
           consecutive year. The NPC launched a 2021-2025 strategic plan, which          trafficking in Addis Ababa’s central market. Labor recruiters frequently
           included activities related to the prevention of human trafficking and        target young people from Ethiopia’s vast rural areas with false promises
           migrant smuggling among Ethiopian overseas workers. The government            of a better life in urban areas; increasingly, traffickers are replicating
           reported seeking input from survivors—including women, children,              legitimate app-based recruitment tools to fraudulently recruit vulnerable
           and persons with disabilities—in developing new anti-trafficking              populations and exploit them in forced labor. Local NGOs assess the
           laws, policies, and programs. The government, in partnership with             number of internal trafficking victims, particularly children exploited in
           international organizations and foreign donors, conducted various             sex trafficking and domestic servitude, likely exceeds that of external
           awareness campaigns at the federal and regional levels on trafficking         trafficking. As of February 2022, an international organization reported
           indicators and reporting mechanisms, primarily targeted toward schools,       there were more than 4.5 million IDPs in Ethiopia as a result of internal

 228                                                                                                                                  Haiti AR_000709
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 334 of 729




                                                                                                                                                           FIJI
conﬂict and drought, a substantial increase compared with 1.5 million         homes, leaving them trapped in the country due to pandemic-related
IDPs in the previous year. Individuals in resettlement camps or otherwise     travel restrictions, border closures, and economic scarcity; unable to
affected by internal conﬂict and drought are increasingly vulnerable to       ﬁnd new work or a safe way home, these individuals are increasingly
trafficking due to a lack of access to justice and economic opportunity.      vulnerable to trafficking. Thousands of Ethiopians—including domestic
                                                                              workers and migrant laborers who lost their employment due to the
Since November 2020, internal conﬂict in Ethiopia’s northern regions,
                                                                              pandemic, and migrants pushed out by Houthi attacks in Yemen—
including Tigray, Afar, and Amhara, has resulted in almost 60,000
                                                                              faced increasing vulnerabilities to trafficking after being placed in
Ethiopians seeking asylum in Sudan and other neighboring countries,
                                                                              abusive detention centers in southern Saudi Arabia. Traffickers exploit
where protection services are limited; this population is increasingly
                                                                              Ethiopian girls in domestic servitude and sex trafficking in neighboring
vulnerable to trafficking as displacement, food insecurity, and lack of
                                                                              African countries, particularly Djibouti and Sudan. Traffickers exploit
economic opportunity persists. International organizations report armed
                                                                              Ethiopian boys in forced labor in Djibouti as shop assistants, domestic
actors, including Eritrean forces, regional forces, the ENDF, and the TPLF,
                                                                              workers, and street beggars, in addition to forcing children to take part
have committed human rights abuses and GBV against women and
                                                                              in criminal activities. Traffickers exploit Ethiopian women and children
girls in Tigray, including potential trafficking crimes. Observers report
                                                                              in forced begging, sometimes via organized begging rings, in Saudi
unspeciﬁed military personnel and other officials force women to have
                                                                              Arabia. Traffickers exploit Ethiopian woman in forced labor in the hotel
sex in exchange for basic commodities and humanitarian assistance.
                                                                              industry in Romania.
Unaccompanied children in conﬂict areas are vulnerable to unlawful
recruitment or use by armed groups.                                           Ethiopia hosts more than 840,000 refugees and asylum-seekers, the
                                                                              majority of whom are from South Sudan, Somalia, and Eritrea. Refugees
Trusted community members, known as manamasas, recruit and
                                                                              without education and economic opportunity and those further displaced
groom vulnerable youth on behalf of local and international human
                                                                              by conﬂict are increasingly vulnerable to trafficking. Cuban medical
trafficking syndicates by exaggerating the advantages of working
                                                                              professionals working in Ethiopia may have been forced to work by
abroad. Scarce economic opportunities and poverty, coupled with
                                                                              the Cuban government.
familial encouragement, compel thousands of Ethiopians, including a
substantial percentage of unmarried individuals younger than age 30, to
transit out of Ethiopia via three main routes, where they are vulnerable
to trafficking. Undocumented economic migrants primarily take the
northeastern route, via Djibouti or Somalia, to Yemen and onward to            FIJI: TIER 2
Saudi Arabia and Europe. The southern route often involves individuals
transiting through Kenya and onward to South Africa in hopes of ﬁnding        The Government of Fiji does not fully meet the minimum standards for
work or to connect to onward ﬂights. The northwestern route, the most         the elimination of trafficking but is making signiﬁcant efforts to do so.
dangerous and least common, has traditionally been taken by men               The government demonstrated overall increasing efforts compared
through Sudan to Libya and onward to Europe; however, observers               with the previous reporting period, considering the impact of the
report an increase in women using this route to reach Khartoum, where         COVID-19 pandemic on its anti-trafficking capacity; therefore Fiji
they apply for and receive visas to Lebanon. Observers have not been          remained on Tier 2. These efforts included identifying more victims
able to discern how these women acquire visas or if the process is            than in the previous reporting period following improved screenings,
legitimate. Across all three of these migration routes, traffickers exploit   securing the second conviction of a trafficker since 2014, and improving
Ethiopian migrants in sex trafficking or forced labor in transit countries    coordination between immigration officials and police, as well as
and in their intended destinations. Families often ﬁnance irregular           between government officials and NGOs. However, the government did
migration ﬂows, and parents may force or coerce their children to go          not meet the minimum standards in several key areas. The government
abroad. An international organization assesses most traffickers are           initiated fewer investigations than in the previous reporting period,
small local operators, often from the victims’ own communities, but           only initiated one prosecution, and did not provide services to any
well-structured, hierarchical, organized crime groups also facilitate         trafficking victims. The government did not prosecute or convict any
irregular migration ﬂows and likely exploit individuals in forced labor       suspected complicit officials despite reports that official complicity
or sex trafficking. International organizations report the number of          impeded anti-trafficking efforts.
Ethiopian returnees continues to signiﬁcantly increase due to pandemic-
related economic impacts; more than 155,000 Ethiopians returned in
                                                                                       FIJI TIER RANKING BY YEAR
2021, many of whom likely faced increased trafficking vulnerabilities in
                                                                                   1
their destination country, along their route, and once back in Ethiopia.
Observers highlight concerns that officials subject detained Tigrayan              2
returnees, who represented approximately 40 percent of all returnees             2WL
in 2021, to abuse, forced disappearance, and forced labor upon their
                                                                                   3
return to Ethiopia.                                                                       2015      2016      2017   2018   2019     2020   2021   2022
Saudi Arabia remains the primary destination for economic migrants,
representing 80-90 percent of Ethiopian labor migration; observers
report approximately 400,000-500,000 Ethiopians reside there without
valid travel documentation, which increases their vulnerability to            PRIORITIZED RECOMMENDATIONS:
traffickers exploiting them in forced labor or sex trafficking. Some          Finalize and implement formal victim identification and referral
Ethiopians arrive in Saudi Arabia through licensed Ethiopian employment       procedures for police, immigration, customs, and labor officials. •
agencies but are susceptible to trafficking by employers or illegal           Proactively screen groups vulnerable to trafficking, including persons in
employment agencies. The visa sponsorship system—common in                    commercial sex, migrant workers, and child laborers. • Increase efforts
Bahrain, Jordan, Kuwait, Lebanon, Saudi Arabia, and the UAE—binds             to prosecute trafficking crimes and convict and punish traffickers,
domestic workers to one employer and prevents their freedom of                including those complicit in child sex trafficking on private yachts
movement. Some families in Lebanon, Saudi Arabia, and other Middle            and in hotels. • Amend trafficking-related provisions of the Crimes
Eastern countries exploit Ethiopian women working in domestic service         Act to criminalize all forms of trafficking. • Provide services to victim
and subject them to physical and emotional abuse. Ethiopian women             and ensure victims are referred to the Case Management Coordinator
who migrate for work or ﬂee abusive employers in the Middle East are          Office. • Improve collaboration between police and prosecutors working
also vulnerable to sex trafficking. Ethiopian men and boys migrate to         trafficking cases to improve the success of prosecutions. • Proactively
Gulf states and other African nations, where traffickers exploit some in      investigate potential official complicity in trafficking-related crimes. •
forced labor. As a result of the pandemic, Ethiopians abroad—especially       Draft, ﬁnalize, and implement standard operating procedures (SOPs) for
in Lebanon and Saudi Arabia—face increased stigmatization and abuse,          the Police Human Trafficking Unit. • Increase the oversight of the working
leading to loss of employment and potential deportation. In Lebanon,          conditions of foreign construction workers and increase investigation
employers forcibly removed Ethiopian domestic workers from their              of labor violations involving children and migrant workers for forced
                                                                                                                                   Haiti AR_000710         229
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 335 of 729
FIJI   labor. • Enable identiﬁed foreign victims to work and earn income                not aware of the deﬁnition of trafficking, procedures for interviewing
       while assisting with investigations and provide a legal alternative to           victims, or how to proactively identify victims. HTU did not complete
       victims’ removal to countries in which they would face retribution or            SOPs for investigating trafficking cases, which it began drafting in
       hardship. • Increase dissemination of labor and sex trafficking awareness        the previous reporting period. In February 2021, the Fiji Independent
       campaigns, including to raise awareness of sex trafficking laws among            Commission Against Corruption initiated an investigation of alleged
       foreign tourists.                                                                official complicity by an immigration official in a suspected trafficking
                                                                                        case who was suspended without pay while the investigation remained
       PROSECUTION                                                                      ongoing at the end of the reporting period. However, the government
       The government maintained anti-trafficking law enforcement efforts.              did not report any prosecutions or convictions of government employees
       The 2009 Crimes Act criminalized some forms of labor trafficking and all         complicit in trafficking crimes.
       forms of sex trafficking. Sections 112-117 criminalized trafficking in persons
       but, inconsistent with international law, required either transnational or       PROTECTION
       domestic movement to constitute a trafficking offense. These articles            The government slightly increased protection efforts. The government
       prescribed penalties of up to 20 years’ imprisonment for movement-               identiﬁed more victims but did not provide services to any victims.
       based trafficking offenses involving adult victims and up to 25 years’           The government reported identifying 11 trafficking victims (two sex
       imprisonment for those involving child victims; these penalties were             trafficking victims and nine unspeciﬁed form of exploitation), compared
       sufficiently stringent and, with respect to sex trafficking, commensurate        to three victims identiﬁed in the previous reporting period. Government
       with other serious crimes, such as kidnapping. Sex trafficking offenses          officials increased efforts to proactively screen vulnerable populations,
       that did not involve movement could be prosecuted under Sections                 including children, for trafficking; for example, a police children’s
       106, 107, 226, and 227 of the Crimes Act. Section 106 criminalized sexual        unit and the Department of Social Welfare (DSW) screened children
       servitude by means of force or threat and prescribed penalties of up to          referred to their services for trafficking indicators, which resulted
       15 years’ imprisonment if the offense involved an adult victim and up to         in the identiﬁcation of victims. In addition, improved coordination
       20 years’ imprisonment if the offense involved a child victim. Section           among government authorities, NGOs, and faith-based organizations
       107 criminalized “deceptive recruiting for sexual services,” including           increased referrals to government services. The government’s national
       inducing and maintaining individuals in prostitution through deceptive           anti-trafficking strategy included indicators of trafficking for frontline
       means, and prescribed penalties of up to seven years’ imprisonment if            officials, but the government did not have formal victim identiﬁcation
       the offense involved an adult victim and up to nine years’ imprisonment          procedures for all relevant agencies; however, in consultation with NGOs,
       if the offense involved a child victim. Sections 226 and 227 criminalized        an international organization, and other civil society organizations, the
       the buying or selling of children for “immoral purposes,” which included         government began work to develop a national referral mechanism in
       prostitution, and prescribed penalties of up to 12 years’ imprisonment.          March 2022. The Ministry of Defense, National Security, and Policing
       The penalties prescribed under these sections were sufficiently stringent        operated a Case Management Coordinator office (CMC), as well as
       and commensurate with the penalties prescribed for other grave                   a case management mechanism that created formal procedures for
       crimes, such as rape. While Sections 103 and 118 criminalized slavery            officials to refer victims to the CMC. The CMC assumed responsibility
       and debt bondage respectively, all forms of labor trafficking were not           of coordinating victim support and overseeing the progression of
       criminalized under the Crimes Act. The law prescribed penalties of up            investigations and prosecutions. However, the CMC did not oversee any
       to 25 years’ imprisonment for slavery, and it prescribed penalties of up         cases or coordinate victim services during the reporting period, and
       to one year’s imprisonment for debt bondage involving an adult victim            the case management mechanism was not implemented in practice.
       and up to two years’ imprisonment for those involving a child victim;
                                                                                        The government made available to victims accommodation, legal
       the penalties for slavery were sufficiently stringent, while the penalties
                                                                                        aid, medical care, interpreters, and allowances for basic necessities;
       for debt bondage were not. The government’s National Anti-Human
                                                                                        authorities provided an unspeciﬁed number of victims with shelter
       Trafficking Sub-Committee on Legislative Desktop Review continued
                                                                                        and access to basic essentials, as well as repatriation assistance. The
       to review the governments trafficking legal framework.
                                                                                        government did not allocate funds speciﬁcally for trafficking victims, and
       Police initiated investigations of three trafficking cases, including            the law did not speciﬁcally mandate the provision of services to victims
       two sex trafficking cases and one involving an unspeciﬁed form of                of trafficking, which meant victims often relied on NGOs, with whom
       exploitation, a decrease compared to 10 investigations initiated in the          the government had informal partnership, for services. In addition, a
       previous reporting period. The government initiated prosecution of one           lack of resources for interpretation services for foreign victims impeded
       suspected sex trafficker and convicted one child sex trafficker who was          their access to psycho-social care. FID operated safehouses for foreign
       sentenced to 30 months’ imprisonment, compared with two prosecutions             individuals awaiting deportation, including trafficking victims. The
       and no convictions during the previous reporting period. The Police’s            government could shelter victims younger than 21 under the custody
       Human Trafficking Unit (HTU) led the government’s anti-trafficking law           of DSW, which operated four children’s homes. Due to a lack of formal
       enforcement efforts. However, police did not proactively investigate             identiﬁcation procedures, authorities may have detained and deported
       trafficking cases consistently, and the government has only convicted            some unidentiﬁed victims. The government did not offer permanent
       two traffickers since 2014. The government did not report efforts to             legal alternatives to foreign victims’ removal to countries in which they
       investigate child sex tourists or facilitators who transported child sex         would face retribution or hardship but could issue renewable six-month
       trafficking victims to hotels or private yachts, despite reporting that          work visas to victims assisting with investigations. During the reporting
       this practice increased during the year. HTU assigned an officer to be           period, the government granted a work permit to one foreign victim to
       embedded within the Immigration Department (FID), which improved                 enable them to remain in Fiji and serve as a witness.
       information sharing and coordination between the two agencies. The
       government reported that under Fiji’s legal system, the prosecutor’s office      PREVENTION
       acted independently from law enforcement investigations, including in            The government maintained efforts to prevent trafficking. The
       cases involving human trafficking; however, a lack of communication              government allocated funding and personnel to implement the 2021-
       and coordination between police and prosecutors continued to impair              2026 anti-trafficking national action plan. The Interagency National
       the government’s pursuit of trafficking cases. Officials cited inadequate        Trafficking Committee, composed of government officials, international
       resources for victim-witness support as weakening the success of                 organizations, and civil society organizations, coordinated the
       prosecutions. Authorities collaborated with foreign government officials         government’s anti-trafficking efforts. HTU was unable to conduct its
       on a suspected trafficking case.                                                 public awareness campaigns and seminars aimed at children and young
                                                                                        adults at learning institutions, which were closed due to pandemic
       HTU continued to conduct anti-trafficking trainings for police recruits;
                                                                                        restrictions. However, the government reported it coordinated with an
       however, observers reported the one-day anti-trafficking trainings
                                                                                        international organization to host virtual awareness raising workshops.
       provided to police recruits were insufficient. FID collaborated with a
       foreign government and international organization to provide trafficking         Authorities did not adequately monitor the labor conditions of
       training for immigration officials. Law enforcement officials were often         worksites, including construction sites, of companies with foreign

230                                                                                                                                 Haiti AR_000711
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 336 of 729




                                                                                                                                                               FINLAND
owners or that had connections to foreign investors and employed                 living and working conditions. Fijian workers in Australia and New
migrant workers. Immigration authorities conducted a week-long                   Zealand are at risk of labor trafficking. Reports indicated low-level
operation to inspect construction companies across the country and               official complicity impeded anti-trafficking efforts. Corruption among
issued letters to 30 businesses found to employ migrant workers with             some officials prevented the investigation of trafficking, including in PRC
irregular visa conditions; however, authorities did not identify any             national-operated brothels. In addition, immigration officials allegedly
potential victims of trafficking during these inspections. The Ministry          took action that indirectly facilitated or enabled human trafficking.
of Employment, Productivity, and Industrial Relations employed labor
inspectors dedicated to identifying labor law violations, including wage
violations. Inspectors reportedly did not have an adequate understanding
of forced labor, and the government did not provide training on the               FINLAND: TIER 1
enforcement of laws related to child labor. The government did not report
how many labor inspections were conducted in 2021, compared to 843
                                                                                 The Government of Finland fully meets the minimum standards for the
inspections in 2020, and did not identify any child labor violations (41
                                                                                 elimination of trafficking. The government continued to demonstrate
identiﬁed in 2019). The Permanent Secretary for Labor issued certiﬁcates
                                                                                 serious and sustained efforts during the reporting period, while
of authorization for employment agencies, which required agencies
                                                                                 considering the impact of the COVID-19 pandemic on its anti-trafficking
meet standards under the Employment Relations Regulations of 2008;
                                                                                 capacity; therefore Finland remained on Tier 1. These efforts included
agencies convicted of operating without authorization could be ﬁned
                                                                                 investigating more trafficking cases, convicting more traffickers, and
20,000 Fijian dollars ($9,510), imprisoned for up to four years, or both;
                                                                                 hiring 13 new labor inspectors to focus speciﬁcally on monitoring
however, authorities did not convict any agencies during the reporting
                                                                                 for forced labor. The government also hired three new investigators
period. The government did not prohibit worker-paid recruitment
                                                                                 within the National Bureau of Investigation (NBI), which subsequently
fees. The government did not make efforts to reduce the demand
                                                                                 operationalized a dedicated human trafficking and illegal immigration
for commercial sex acts. The government trained some diplomatic
                                                                                 intelligence unit. Additionally, the government approved a new three-
personnel on trafficking. The government incorporated training on
                                                                                 year national action plan (NAP) to combat trafficking and ﬁnancially
sexual exploitation into pre-deployment training but did not provide
                                                                                 committed to several anti-trafficking activities. The deputy chancellor
trafficking-speciﬁc training to Fijian military personnel prior to their
                                                                                 of justice opened an inquiry into police efforts to investigate trafficking
deployment abroad as part of international peacekeeping missions.
                                                                                 and other forms of exploitation and published a report revealing
                                                                                 shortcomings in identifying trafficking cases and unjustiﬁed delays in
TRAFFICKING PROFILE                                                              pre-trial investigations. Furthermore, the government entered into force
As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                 a new law strengthening worker protection rights for foreign workers
and foreign victims in Fiji, and traffickers exploit victims from Fiji abroad.
                                                                                 in the berry picking and wild produce industry and an amendment
Family members, taxi drivers, foreign tourists, businessmen, crew on
                                                                                 expanding the obligation of the Occupational Safety and Health
foreign ﬁshing vessels, and other traffickers have allegedly exploited
                                                                                 Agency (OSHA) to report suspected labor trafficking violations to
victims from Thailand and the People’s Republic of China (PRC), as well
                                                                                 the police for a preliminary investigation. Although the government
as Fijian women and children, in sex trafficking. Traffickers exploit victims
                                                                                 meets the minimum standards, authorities prosecuted fewer traffickers
in illegal brothels, local hotels, private homes, and massage parlors, and
                                                                                 and continued to use laws against pandering, discrimination, and
traffickers sometimes utilize websites and cell phone applications to
                                                                                 usury, among others, to investigate and prosecute some suspected
advertise victims for commercial sex. Some Fijian children are at risk
                                                                                 traffickers, which weakened deterrence, did not adequately reﬂect the
of sex and labor trafficking as families follow a traditional practice of
                                                                                 nature of the crime, and undercut broader efforts to ﬁght trafficking.
sending them to live with relatives or families in larger cities, where
                                                                                 Assistance to victims was conditional on police investigating a case as
they may be subjected to domestic servitude or coerced to engage in
                                                                                 trafficking, thereby denying services to victims who did not want to
sexual activity in exchange for food, clothing, shelter, or school fees.
                                                                                 pursue criminal cases or those who were exploited outside of Finland
Fijian children were at risk for forced labor in agriculture, retail, or
                                                                                 and where lack of jurisdiction made an investigation unlikely. Moreover,
other sectors. Rising levels of poverty also contributed to increased
                                                                                 reports persisted that police penalized trafficking victims for unlawful
risks of Fijian children being exploited in commercial sex and forced
                                                                                 acts traffickers compelled them to commit. Finally, municipalities
labor. The economic crisis related to the pandemic, as well as recent
                                                                                 continued to lack the capabilities to address the needs of victims.
natural disasters, increased the number of children using the streets
as a source of livelihood or compelled to seek incomes to sustain their
families; these children are at risk of being exploited in sex trafficking                FINLAND TIER RANKING BY YEAR
or forced labor. Reports indicated children as young as 12 years old                  1
were exploited in sex trafficking, including to purchase food and other              2
essentials for their families. Traffickers exploit Fijian and PRC national
women and children in PRC national-operated massage parlors and                    2WL
brothels, particularly in Suva. In some cases, massage parlor owners                  3
arrange for female Fijian employees to engage in commercial sex                             2015      2016      2017     2018   2019    2020   2021   2022
acts with clients in local hotels and brothels. Foreign yacht owners
and foreigners hiring locally-owned yachts dock in rural Fijian islands
and seek young women, usually children, for marriage; some of these
women and children subsequently become at risk to forced labor or                PRIORITIZED RECOMMENDATIONS:
sex trafficking. Taxi drivers or other facilitators transport Fijian child       Investigate and prosecute sex trafficking and labor trafficking cases
sex trafficking victims to hotels in popular tourist areas or to private         using the trafficking statute and sentence convicted traffickers to
yachts at the request of foreign tourists seeking commercial sex acts.           signiﬁcant prison terms. • Enforce the non-punishment provision and
                                                                                 cease prosecuting victims for unlawful acts traffickers compel them
Some Fijian men reportedly marry women from Nepal and Pakistan                   to commit. • Ensure all victims have full access to services, such as
and subject them to domestic servitude in Fiji. Labor traffickers exploit        residence permit applications, shelters, and health and social services,
workers from South and East Asian countries in small, informal farms             regardless of whether and under which statutes a suspected trafficker is
and factories, and in construction. Recruitment agencies operating in            investigated or prosecuted. • Ensure all municipalities have policies and
victims’ home countries, vessel owners, and other crew exploit migrant           procedures consistent with national standards and allocate resources
ﬁsherman from Southeast Asian countries, especially Indonesia, in                so that regional service providers and municipal government officials
forced labor on Fijian-ﬂagged ﬁshing vessels or foreign-ﬂagged ﬁshing            are familiar with victims’ rights to assistance and know how to offer
vessels (mainly PRC- and Taiwan-ﬂagged) transiting Fijian ports and              high-quality services. • Train regional authorities, particularly in north
waters. Victims of forced labor experience threats of violence, passport         and northeast Finland, on identifying and enforcing trafficking crimes,
conﬁscation, debt-based coercion, excessive working hours, and abusive           speciﬁcally sex trafficking crimes. • Develop clear guidance for national
                                                                                                                                       Haiti AR_000712         231
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 337 of 729
FINLAND   victim assistance system personnel on treating victims who do not             on the conduct of one prosecutor. In addition, the report revealed
          choose to involve the police. • Train judges, law enforcement officials,      unjustiﬁed delays occurred in almost every police station in the country
          and prosecutors on applying the trafficking law. • Conduct public             with some pre-trial investigations lasting longer than four years. The
          awareness campaigns targeting vulnerable populations.                         deputy chancellor chided investigators for assessing cases too narrowly
                                                                                        and failing to recognize elements of trafficking in their investigations
          PROSECUTION                                                                   and pointed out, as a result, victims could be denied free legal assistance
          The government increased law enforcement efforts. Chapter 25, Section         that they would otherwise be entitled to if the crime was correctly
          3 of the penal code criminalized sex trafficking and labor trafficking        investigated as trafficking. In addition, the deputy chancellor stated
          and prescribed sentences of between four months and six years’                that lasting improvements required police to implement a review of
          imprisonment for offenses involving an adult victim and between two           internal processes and hold officers accountable for the identiﬁcation
          and 10 years’ imprisonment for those involving a child victim. These          and prompt investigation of trafficking crimes. Finally, the deputy
          penalties were sufficiently stringent and, with regard to sex trafficking,    chancellor tasked the National Police Board to provide information on the
          commensurate with those prescribed for other serious crimes, such             duration of trafficking investigations and on all pre-trial investigations
          as rape. The government continued to use laws against pandering,              lasting more than 12 months, with a deadline of July 2022. After the
          discrimination, and usury, among others, to investigate and prosecute         report’s release, Southwest Finland Police Department re-opened eight
          some suspected traffickers; the penalties for these crimes were generally     investigations and increased officer training on trafficking.
          far less severe than those for trafficking crimes. Pandemic-related
                                                                                        In 2021, the government established a new national anti-trafficking
          judicial delays in processing trafficking cases continued. In 2021, the
                                                                                        competence group with participation from all 12 regional police
          NBI investigated 129 cases, a signiﬁcant increase from 87 cases in 2020.
                                                                                        departments, NBI, and the Border Guard. As the lead of the group,
          Authorities prosecuted six cases, a decrease from 14 in 2020. Courts
                                                                                        the NBI trafficking unit added a new training program for Border
          convicted ﬁve traffickers, an increase from one in 2020. The government
                                                                                        Guard officers on working with traumatized victims. Additionally,
          did not report any investigations, prosecutions, or convictions of
                                                                                        the government provided a range of trafficking-related trainings
          government employees complicit in trafficking crimes. The NBI and
                                                                                        for police, immigration officers, and prison and probation services
          regional police departments cooperated with foreign governments on
                                                                                        authorities, including recognizing trafficking indicators among vulnerable
          transnational investigations, including a joint investigation team with
                                                                                        populations, and the prosecutor’s office held trainings for prosecutors
          the Czech Republic on a sex trafficking case. The NBI, however, noted
                                                                                        throughout the country. The government developed and organized
          difficulty conducting trafficking investigations when crimes occurred
                                                                                        a two-year training program for pre-trial and judicial authorities
          abroad. The government deployed police liaison officers and a liaison
                                                                                        on identifying all forms of trafficking to improve authorities’ basic
          prosecutor to Estonia, as well as customs and border guards to all
                                                                                        expertise and competence and, in turn, the criminal justice process.
          Baltic States. As part of a regional project to enhance law enforcement
                                                                                        Finally, the police university college led a working group responsible
          cooperation and training on trafficking, Estonian, Finnish, and Latvian
                                                                                        for strengthening multi-authority cooperation in combating trafficking.
          authorities collaborated to strengthen capacity to investigate and
          prosecute trafficking cases, disrupt the ﬁnancial gains of traffickers,
                                                                                        PROTECTION
          and help victims access justice.
                                                                                        The government maintained protection efforts. Multiple actors
          In 2021, the National Police Board established three new investigator         within the government and civil society were empowered to identify
          positions within the NBI, which subsequently operationalized its              and refer trafficking victims. Police and immigration officials used
          dedicated human trafficking and illegal immigration intelligence unit         written guidelines for identiﬁcation and referral, which, in 2021, the
          composed of 18 investigators who focused on coordinating with regional        National Police Board updated, conducted mandatory training on, and
          police departments, improving police understanding of trafficking,            incorporated into a special course for law enforcement on identifying
          supporting a standard procedure for investigating trafficking cases           trafficking victims. The national assistance system was the main channel
          across the country, and raising awareness of trafficking crimes. The          for identifying victims via referrals and, through it, the government
          unit also produced a monthly and annual national situation report on          provided both direct care and funding for third-party care. The assistance
          trafficking issues and worked to strengthen international cooperation.        system admitted 243 trafficking victims (28 children), compared with
          The prosecutor’s office of Southern Finland, which included Helsinki—         247 (10 children) in 2020. The assistance system reported 28 percent
          the primary location for trafficking crimes—maintained a parallel             of new recipients were sex trafficking victims, 43 percent were labor
          anti-trafficking unit composed of 10 specialized prosecutors. As in           trafficking victims, and the remaining 29 percent were victims of forced
          previous years, experts raised concerns that police prioritized other         marriage or other crimes classiﬁed as trafficking under Finnish law.
          types of conventional cases and crimes and prosecutors were often             Finnish law required police to pursue cases speciﬁcally as trafficking
          unwilling to pursue trafficking charges due to the high legal standard        crimes in order for victims to receive services through the assistance
          for trafficking-related convictions. Civil society representatives and        system; emergency care was available regardless. In cases where
          the national rapporteur for trafficking—who acted as an independent           victimization occurred outside of Finland and the conditions of the
          advocate for victims, coordinated the drafting and implementation of          relevant jurisdiction made law enforcement cooperation unlikely, police
          the new NAP, and monitored and assessed the government’s actions to           did not open a criminal investigation. The government did not provide
          combat trafficking—noted increased efforts by authorities to equitably        guidance to assistance system personnel regarding referrals of victims
          enforce trafficking laws but recognized regional variances, particularly in   who were exploited within Finland and did not wish to contact the police.
          north and northeast Finland, in resources and subject matter expertise in
                                                                                        Residence status of an individual affected the scope of assistance
          identifying and enforcing trafficking crimes, speciﬁcally sex trafficking.
                                                                                        received by trafficking victims. Overall, victim assistance was good,
          During the reporting period, a Finnish newspaper published an                 although there were large variations in quality between services offered
          investigative report on the deﬁciencies in investigating and prosecuting      through the national assistance system, which encompassed various
          trafficking cases in Finland, citing examples over the past four years,       Finnish Immigration Services (FIS) programs, and services offered
          such as the failure to investigate trafficking claims, the decision to        through municipalities. A 2021 Finnish Institute for Health and Welfare
          pursue trafficking cases as lesser crimes, the inability for victims to       report examined the disparity in the provision of services between
          pursue legal action, and officers and prosecutors routinely failing to        foreign nationals, who received housing and welfare services from
          question or involve victims in investigations. As a result of the article,    the national assistance system, and Finnish citizens, who received
          the deputy chancellor of justice opened an inquiry into police efforts        beneﬁts from municipal social health and welfare programs. While
          to investigate trafficking and other forms of exploitation and published      observers broadly agreed with some of the study’s ﬁndings, they
          a report acknowledging “serious shortcomings in the identiﬁcation of          raised concerns about how municipal social welfare service boards
          trafficking in human beings by the police and the prompt conduct of pre-      would be able to meet the needs of trafficking victims and provide
          trial investigations.” The report reviewed more than 50 investigations,       assistance uniformly. Observers noted the national assistance system
          issued 12 reprimands to the police concerning unlawful delays, ﬂagged         had the expertise and capabilities to provide services that municipalities
          15 cases to be reviewed by the chief investigator or police, and remarked     lacked, and municipalities often did not understand how services

 232                                                                                                                                 Haiti AR_000713
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 338 of 729




                                                                                                                                                            FINLAND
would be reimbursed. Observers also noted municipalities experienced          of work-related exploitation and trafficking, in 2021, the government
difficulties with victim service provision because they functioned under      amended the Aliens Act, broadening the rights of exploited employees to
the general framework of social welfare and did not have sufficient           apply for an extended residence permit or for a certiﬁcate of expanded
resources to deal with crime-related issues such as trafficking or victims    right to work and change employers; however, eligibility depended on
of trafficking. Since the national assistance system was able to provide      employees already holding a residence permit in Finland that included
more suitable assistance than municipalities, the standard of service,        the right to work. Finnish police were not prohibited from prosecuting
in some incidences, deteriorated as an individual’s residence status          victims who, as a result of their trafficking, committed acts that violated
changed. Helsinki’s head of adult social work noted the legislation           national law. Observers continued to point out that the non-punishment
concerning beneﬁts for victims was unclear and originally intended to         provision existed in theory, but in practice, the detaining or prosecuting
assist undocumented victims and not citizens of Finland. As a result,         of trafficking victims for committing unlawful acts traffickers compelled
municipal social services referred few victims, which experts attributed      them to commit continued to be a problem, particularly with police
to a lack of experience in identifying victims and a poor understanding       treating users of illegal drugs, potential victims who had been forced
of the referral process. Subsequently, the Ministry of Social Affairs and     into criminality, and foreign nationals in commercial sex as perpetrators
Health tasked a working group to examine changes to victim referral           of crimes. The government identiﬁed several such victims in Finnish
processes and establish of a national referral mechanism as proposed          prisons and noted foreign-born children committing theft as a group
in the NAP. Furthermore, according to some anti-trafficking advocates,        particularly misunderstood by law enforcement. Subsequently, the
the placement of the assistance system within immigration services            government tasked the Ministry of Justice to provide training and
could misrepresent trafficking as a crime requiring migration and             relevant information to authorities to ensure victims were not penalized
reduce the focus on trafficking committed within Finland. The working         for unlawful acts traffickers compelled them to commit.
group considered the transfer of the victim assistance system to the
Ministry of Social Affairs and Health to address this concern and to          PREVENTION
weaken the link between the provision of assistance to victims and            The government increased prevention activities. The national anti-
their participation in the justice process, which acted as an obstacle        trafficking coordinator oversaw all aspects of the country’s anti-
to victims’ willingness to come forward, but efforts stalled due to non-      trafficking efforts, including the development of the NAP. In 2021, the
consensus among members of the working group and concerns about               government approved a new three-year NAP to combat trafficking,
the lack of trafficking-related expertise outside the assistance system.      the ﬁrst update since 2016. The government consulted survivors,
                                                                              experts, and civil society representatives during the drafting process.
Once victims were referred to the assistance system, consultants
                                                                              The NAP identiﬁed several action items and outlined the government’s
evaluated the case and decided on the victim’s course of care, which
                                                                              ﬁnancial commitment to combat trafficking, which included €300,000
could include transportation to a safe house; psychological, medical, and
                                                                              ($340,140) to develop tools to better reach and identify victims, €15,000
legal assistance; or shelter. There was one government-funded shelter
                                                                              ($17,010) to review government-level coordination structures for anti-
speciﬁcally for trafficking victims, though it accepted only women and
                                                                              trafficking action, €15,000 ($17,010) for increasing awareness among
their children; there were no shelters dedicated to male victims. Care
                                                                              business and labor market organizations, and €240,000 ($272,110)
providers sheltered most trafficking victims in private accommodations.
                                                                              for data-driven, anti-trafficking actions. As a result of the NAP, the
The Joutseno Reception Center was both an FIS agency and the name
                                                                              national anti-trafficking coordinator oversaw training development
of a physical center that could temporarily house up to 300 trafficking
                                                                              and organization for occupational safety and health authorities, social
victims, when necessary, and provide social and health services. Social
                                                                              welfare and health care professionals, immigration service authorities,
welfare, immigration, labor, and medical personnel staffed the center
                                                                              authorities in public employment and business services, and all airport
and provided assistance to victims. As an agency, the center developed,
                                                                              border control staff. Similar to the previous reporting period, the
coordinated, and maintained assistance for all trafficking victims
                                                                              national assistance system did not conduct or fund any domestic
nationally, including children, and helped place victims in housing across
                                                                              anti-trafficking awareness campaigns. However, the Ministry of Social
the country. Authorities placed unaccompanied foreign child trafficking
                                                                              Affairs and Health funded €1.6 million ($1.8 million) for outreach to
victims in a migrant reception center speciﬁcally for children, and
                                                                              individuals engaged in commercial sex through its sponsorship of
Finnish child trafficking victims, who could not return to their families,
                                                                              an NGO. Globally, the government continued to fund a wide range of
in foster care. Child services assigned Finnish child victims a guardian
                                                                              anti-trafficking programs, including training in Laos and a prevention
to serve as a legal representative. In 2021, the government incorporated
                                                                              project in Burundi, investing more than €85,000 ($96,370) in 2021. In
speciﬁc information on the exploitation of children, including trafficking,
                                                                              response to an inﬂow of Ukrainian refugees who were ﬂeeing Russia’s
into an online learning program for professionals who came across
                                                                              war on Ukraine and arriving in Finland, the government appointed a
potential child victims. The government spent €1 million ($1.13 million)
                                                                              cross-sectoral group to coordinate issues related to trafficking and
on trafficking victim assistance and protection, approximately the same
                                                                              the impact of the situation on Ukrainian seasonal workers, a group
as in 2020. In addition, the government allocated €240,000 ($272,110)
                                                                              previously identiﬁed as vulnerable to trafficking. In addition to following
to NGOs for victim support services, approximately the same amount
                                                                              the EU agreement on providing temporary protection to people leaving
as in 2020. During the reporting period, the government in partnership
                                                                              Ukraine, Finland offered temporary protection to Ukrainian nationals
with NGOs, the private sector, and other organizations implemented a
                                                                              and their family members who ﬂed Ukraine before Russia’s full-scale
pilot project to provide training and full-time jobs to trafficking victims
                                                                              invasion and non-EU nationals who had resided legally in Ukraine and
residing in Finland. The project aimed to improve working life skills
                                                                              could not return to their home country. The Ministry of Interior operated
and competence of trafficking victims, develop employment services
                                                                              a 24-hour hotline and website in multiple languages exclusively for
offered to victims, and increase the involvement of the private sector
                                                                              trafficking victims. The government did not make efforts to reduce
in combating trafficking.
                                                                              the demand for commercial sex acts.
FIS conditioned eligibility to receive a specialized residence permit
                                                                              To improve the legal position of seasonal berry pickers and combat labor
on the victim’s cooperation with police to commence a criminal
                                                                              abuse and trafficking, the government entered into force a new law
investigation. Delayed investigations and police failure to submit the
                                                                              strengthening worker protection rights for foreign workers in the berry
appropriate paperwork requesting victims to remain in the country, left
                                                                              picking and wild produce industry. The new law outlined in more detail
victims susceptible to deportation. Finnish law allowed foreign victims
                                                                              the monitoring, compliance, and associated penalties for negligence and
a six-month reﬂection period during which they could receive care and
                                                                              prohibited companies from charging for recruitment services, such as
services while considering whether to assist law enforcement, and the
                                                                              fees, and job training. OSHA monitored compliance with occupational
law allowed legal residents a recovery period of up to three months.
                                                                              safety and health legislation, including overseeing the employment terms
According to the assistance system, the government granted 16 victims
                                                                              for workers, and conducted workplace inspections, including related
a reﬂection period in 2021. Victims could receive renewable temporary
                                                                              to the use of foreign labor and proper payment to foreign workers.
residence permits, which were valid for six to 12 months and allowed
                                                                              During the reporting period, the government also entered into force an
victims to seek employment. Authorities provided residence permits
                                                                              amendment to the law on occupational safety and health, expanding
to 13 victims and renewed 15 permits in 2021. To promote the detection
                                                                                                                               Haiti AR_000714              233
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 339 of 729
FRANCE   the obligation of OSHA to report suspected labor trafficking violations         a new children’s shelter that could accommodate trafficking victims
         to the police for a preliminary investigation. In 2021, the government          and adopting a national action plan (NAP) for children exploited
         hired 13 new labor inspectors to focus speciﬁcally on monitoring                in commercial sex, including child sex trafficking. The government
         forced labor. The government participated in a new project aimed at             established a new unit of eight investigators specializing in the
         strengthening the knowledge of and approach to human trafficking,               exploitation of children in commercial sex, which included child sex
         particularly in an international context. The project advanced the work         trafficking, as well as a cooperation mechanism for victim assistance on
         of the online trafficking identiﬁcation tool for labor inspectors that          police operations with a civil society network. Although the government
         launched in 2020 by coordinating training and enhancing cooperation             meets the minimum standards, it investigated and prosecuted fewer
         among Estonian, Finnish, and Latvian authorities. The Ministry of Social        suspects and convicted fewer traffickers compared with the prior year.
         Affairs and Health drafted a report on the occupational safety concerns         The government continued to lack a national victim identiﬁcation and
         of domestic workers and established a working group with the Ministry           referral mechanism (NRM) to ensure proactive referral to care, and it
         of Economic Affairs and Employment to improve labor enforcement in              did not increase its efforts to address labor trafficking. The government
         the domestic work sector. Multiple agencies developed and conducted             continued to lack legal safeguards to protect victims from prosecution for
         training and webinars on the structures and practices of employment             unlawful acts traffickers compelled them to commit and did not report
         services with an eye toward trafficking.                                        awarding compensation or restitution to any victims in 2021. Police
                                                                                         continued to arrest and prosecute child victims of forced begging and
         TRAFFICKING PROFILE                                                             forced criminality and deport undocumented migrants from Mayotte, an
         As reported over the past ﬁve years, human traffickers exploit domestic         overseas French department, without screening for trafficking indicators.
         and foreign victims in Finland, and to a lesser extent, traffickers exploit     Funding for victim assistance decreased compared with the prior year
         victims from Finland abroad. Victims primarily originate in Eastern             and was generally insufficient. Furthermore, the government again did
         Europe, Africa, South and Central Asia, and the Middle East. The                not take effective steps to address the 3,000 to 4,000 unaccompanied
         national assistance system notes most identiﬁed victims were subjected          Comorian children at risk for sex and labor trafficking in Mayotte.
         to trafficking before their arrival in Finland. The national assistance         Furthermore, the government did not sufficiently disaggregate data
         system also notes an increase in child trafficking victims in recent            between trafficking and other forms of exploitation or between sex
         years. Traffickers operate from abroad using threats of violence, debt          and labor trafficking, which resulted in unclear trends and statistics.
         leverage, and other forms of coercion. Authorities express concern
         about Romanian criminal organizations exploiting individuals from
                                                                                                 FRANCE TIER RANKING BY YEAR
         their home countries in Finland. Experts note most labor trafficking
                                                                                             1
         involves small-scale operations in businesses, rather than larger criminal
         syndicates. Authorities report asylum-seekers and other migrants,                   2
         many of whom continue to reside in Finland for years after receiving              2WL
         a negative decision on their asylum claim, are the two groups most
                                                                                             3
         vulnerable to trafficking. Traffickers threaten to expose their unlawful                   2015     2016      2017    2018   2019   2020    2021    2022
         residency if they complain of their exploitation in sex or labor trafficking.
         A Finnish newspaper reports an emerging scheme involving cleaning
         companies misrepresenting asylum-seekers as entrepreneurs, who
         have different work parameters than foreign workers, to avoid paying            PRIORITIZED RECOMMENDATIONS:
         them overtime and holiday pay. Foreign-born workers and immigrants,             Coordinate and centralize the timely collection of trafficking data across
         many of whom arrive in Finland legally, are especially vulnerable to            the government, including sufficiently disaggregating data between
         exploitation in the construction, restaurant, agriculture, and transport        trafficking and other forms of exploitation, as well as between sex and
         industries and as cleaners, gardeners, and domestic workers. The                labor trafficking. • Create an NRM for all forms of trafficking. • Increase
         government identiﬁes domestic workers at a particularly high risk for           efforts to proactively identify and provide assistance to trafficking
         labor exploitation, including trafficking. Staff at the Ombudsman for           victims in all regions and departments, both domestic and overseas,
         Nondiscrimination report traffickers force victims to pay for jobs and          including for vulnerable populations like asylum-seekers. • Vigorously
         unpaid internships, particularly in the construction industry, before           investigate, prosecute, and convict traffickers and sentence those
         transporting them to Finland. Authorities report the recruitment and            convicted to signiﬁcant prison terms. • Increase funding and resources
         exploitation of foreign workers from Nepal in the restaurant sector.            speciﬁcally for anti-trafficking coordination and victim assistance,
         According to media reports, traffickers extort, charge illegal recruitment      including adequate funding for NGOs providing assistance. • Increase
         fees, and subject Vietnamese immigrants and temporary workers to                interagency coordination to investigate and prevent labor trafficking.
         exploitation in vegetable farms in Western Finland; civil society contacts      • Ensure adequate training for law enforcement investigators on
         identify this community as especially vulnerable to trafficking crimes.         techniques to dismantle human trafficking organizations operating on
         Seasonal berry pickers continue to be especially vulnerable to labor            the internet and other technologies. • Systematically train all front-line
         exploitation and trafficking. Foreign nationals and Ukrainian refugees,         officials, including labor inspectors, police, prosecutors, and judges,
         predominantly women and children, who are ﬂeeing Russia’s war on                on a victim-centered approach to investigating and prosecuting labor
         Ukraine and seeking sanctuary in Finland, are highly vulnerable to              trafficking and identifying victims. • Vigorously investigate labor
         trafficking. Southern Finland, which includes Helsinki, remains the             trafficking and prosecute these crimes as trafficking rather than labor
         primary location for trafficking crimes. The national assistance system         code violations. • Allow formal victim identiﬁcation without requiring
         reports identifying one trafficking victim from Åland, an autonomous,           cooperation or interaction with law enforcement and by entities other
         demilitarized, and predominantly Swedish-speaking region of Finland.            than law enforcement officials, including by civil society, social workers,
         Experts working in victim services identify a lack of understanding of          and healthcare professionals. • Consistently screen all migrants for
         trafficking as a signiﬁcant barrier to victim identiﬁcation in Åland, as        trafficking indicators, including unaccompanied children in Mayotte.
         well as in north and northeast Finland.                                         • Enact a legal provision on the non-punishment of victims to ensure
                                                                                         that trafficking victims are not inappropriately penalized for unlawful
                                                                                         acts traffickers compelled them to commit. • Implement the second
                                                                                         NAP and include a deﬁned timeframe and dedicated budget, as well
          FRANCE: TIER 1                                                                 as other recommendations from the national rapporteur. • Provide
                                                                                         adequate resources for child victims, including improving the quality
         The Government of France fully meets the minimum standards for the              of shelters and specialized assistance, especially of forced begging
         elimination of trafficking. The government continued to demonstrate             and criminality. • Increase trafficking survivor access to damages
         serious and sustained efforts during the reporting period, considering          and restitution and increase prosecutor’s efforts to systematically
         the impact of the COVID-19 pandemic on its anti-trafficking capacity;           request restitution for survivors during criminal trials, including for
         therefore France remained on Tier 1. These efforts included opening             victims lacking legal status. • Offer the reﬂection period to all victims,
 234                                                                                                                                    Haiti AR_000715
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 340 of 729




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including migrants and victims of forced begging and criminality. •            crimes. GRETA expressed concern that trafficking crimes were being
Strengthen international law enforcement cooperation to prevent and            convicted under other statutes and urged the government to rectify
investigate child sex tourism and continue to prosecute and convict            this, including through further trafficking specialization for investigators,
perpetrators. • Ensure sufficient resources are provided to the national       prosecutors, and judges.
rapporteur and the anti-trafficking coordinator. • Establish a witness
                                                                               The government had several bodies that were responsible for
protection program trafficking victims can use and improve assistance
                                                                               investigating trafficking crimes: the Ministry of Interior’s Central Office for
provided during court trials. • Increase worker protections by prohibiting
                                                                               the Suppression of Trafficking in Human Beings (OCRTEH), comprising
recruitment or placement fees charged to workers by labor recruiters
                                                                               25 investigators, was responsible for cases of sex trafficking, and the
and ensuring employers pay any recruitment fees. • Establish adequate
                                                                               Central Office for Combatting Illegal Labor and the Central Office for
accommodation centers dedicated to adult male trafficking victims that
                                                                               the Suppression of Irregular Migration and the Employment of Irregular
take into account the speciﬁc needs of these trafficking victims. • Increase
                                                                               Migrants were responsible for labor trafficking cases. In 2021, a new
survivor engagement, including by establishing accessible mechanisms
                                                                               unit of eight investigators specializing in the exploitation of children
for receiving and providing compensation for survivor input when
                                                                               in commercial sex, to include child sex trafficking, was established in
forming policies, programs, and trainings. • Increase efforts to pursue
                                                                               Paris. The government and government-funded NGOs continued anti-
ﬁnancial crime investigations in tandem with human trafficking cases.
                                                                               trafficking training programs, both in person and virtually, some of which
                                                                               included training for magistrates, prosecutors, police, social workers,
PROSECUTION                                                                    civil servants, and NGOs. The CNCDH and several other government
The government decreased law enforcement efforts. Article 225-4 of
                                                                               bodies raised concerns regarding the lack of adequate training for
the penal code criminalized sex trafficking and labor trafficking and
                                                                               many police investigators on techniques to dismantle human trafficking
prescribed penalties of up to 10 years’ imprisonment and a ﬁne. These
                                                                               organizations that operated on the internet and other technologies—a
penalties were sufficiently stringent and, with respect to sex trafficking,
                                                                               trend that rapidly increased during the pandemic. During the reporting
commensurate with those prescribed for other serious offenses, such
                                                                               period, the government provided training to investigators to increase
as rape. The increased occurrence of other crimes, notably domestic
                                                                               efforts to dismantle trafficking on the internet. A June 2020 government
violence, during the pandemic lockdowns caused a shift in government
                                                                               report asserted law enforcement also lacked sufficient awareness of
priorities and resources away from human trafficking—although NGOs
                                                                               trafficking organizations that exploited male and transgender victims,
asserted the government had prioritized other crimes for many years
                                                                               despite the extreme violence often used by these criminal organizations;
prior to the pandemic.
                                                                               however, the government did not report whether additional training
The government did not report comprehensive and disaggregated law              was provided to law enforcement. Furthermore, an NGO asserted police
enforcement data but provided information from all French departments          sometimes recorded sex and labor trafficking complaints as lesser crimes
and territories, including those overseas. The government reported             that did not necessitate an official investigation or failed to register the
conducting 127 investigations (“procedures”) related to human trafficking      complaint at all. NGOs also observed that judges and prosecutors were
in 2020, a decrease compared with 235 in 2019 and 196 in 2018. In 2020,        sometimes reluctant to formally certify forced labor victims because
the government reported investigating and dismantling 53 networks              of the protections subsequently granted to them and recommended
involved in facilitating human trafficking and commercial sex crimes,          judges and prosecutors take additional targeted training, which the
leading to the arrests of 875 suspects; compared with 58 networks              government reported providing.
dismantled and 339 suspects identiﬁed in 2019. The government
                                                                               In 2021, the government collaborated in international investigations,
reported that pandemic-related restrictions decreased the capacity of
                                                                               including with EUROPOL, INTERPOL, Bosnia-Herzegovina, Italy,
investigators and resulted in fewer investigations, which also affected
                                                                               Madagascar, Moldova, Paraguay, Romania, and Spain, which resulted
the number of prosecutions. Beginning in 2019, the government changed
                                                                               in the identiﬁcation of at least 697 victims and 143 trafficking suspects
its methodology for reporting prosecutions, and statistics for prior years
                                                                               both in France and cooperating countries. To foster increased cooperation
have been updated to reﬂect this change. The government reported
                                                                               with civil society, in 2021 the government proposed and, in collaboration
prosecuting 244 trafficking suspects in 2020, the most recent year
                                                                               with Ac-Se—an anti-trafficking NGO-network—established a cooperation
data was available, a decrease compared with 339 suspects in 2019 but
                                                                               mechanism to inform, assist, and protect victims of trafficking by
similar to 252 suspects in 2018. Of the prosecutions, at least two were
                                                                               including Ac-Se in several police operations throughout the year. This
for labor trafficking in 2020, but the government remained without
                                                                               close coordination with civil society and multidisciplinary approach
adequate data disaggregation between sex and labor trafficking for
                                                                               resulted in seamless assistance to trafficking victims identiﬁed during
most trafficking indictments. The government reported convicting 66
                                                                               operations and allowed NGOs to accompany victims to interviews
traffickers in 2020, the most recent year for which data was available;
                                                                               with law enforcement and to ensure local shelters were prepared
a signiﬁcant decrease compared with 91 in 2019 and 104 in 2018. The
                                                                               ahead of time to receive victims. French law enforcement had 15
pandemic caused courts to shut down for two months in 2020, which
                                                                               joint investigation teams related to human trafficking to facilitate
delayed the processing of all cases. While the government did not report
                                                                               international law enforcement cooperation, including with Belgium,
comprehensive and speciﬁc sentencing data in a format that allowed
                                                                               Bosnia-Herzegovina, Bulgaria, Hungary, Moldova, Romania, and Spain,
for an accurate assessment of signiﬁcant sentencing, it provided a ﬁve-
                                                                               and maintained a police liaison in Nigeria. However, due to the inaction
year average (2015-2020) of 3.4 years’ imprisonment with 78 percent
                                                                               of local French law enforcement on a forced labor case involving a
of convicted traffickers serving some amount of prison time. NGOs
                                                                               Comorian trafficking victim in Mayotte, an overseas French Department,
reported that trafficking sentences were not a sufficient deterrent,
                                                                               Comorian law enforcement noted difficulty cooperating with French law
especially in cases of labor trafficking.
                                                                               enforcement; Comorian law enforcement reported that the trafficking
The government did not report any new investigations, prosecutions,            victim was ultimately deported from Mayotte to Comoros and that
or convictions of officials complicit in human trafficking crimes. The         officials requested extradition of the suspect.
National Consultative Commission for Human Rights (CNCDH), which
functioned as the independent national rapporteur, urged courts to             PROTECTION
issue more consistent and stringent penalties to convicted human               The government maintained insufficient victim identiﬁcation and
traffickers, and NGOs expressed concerns about the inconsistency               protection efforts, and victim identiﬁcation decreased compared
of anti-trafficking prosecutions across the country, which could vary          with the prior year. The government remained without an NRM and
depending on the level of engagement of local prosecutors. In its 2022         comprehensive, centralized, or sufficiently disaggregated data,
report, GRETA noted that many investigators, prosecutors, and judges           making victim identiﬁcation difficult to assess. The government did
believed transnational networks or border crossing were necessary              not adequately disaggregate data between trafficking and other forms
elements of human trafficking and therefore did not pursue cases               of exploitation or between sex and labor trafficking. In 2020, police
without these elements as trafficking cases. Trafficking victims were          identiﬁed 197 trafficking victims, including at least ﬁve forced labor
not afforded the same rights and entitlements, such as residence               victims; a decrease compared with 235 in 2019 but more than 187
permits and full compensation, if their cases were pursued as other            in 2018. In 2020, police also identiﬁed 786 victims of commercial
                                                                                                                                   Haiti AR_000716               235
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 341 of 729
FRANCE   sexual exploitation, some of whom may have been victims of sex                 during the reporting period. The government provided Ac-Se with
         trafficking; of these victims, 493 were French, and 217 were children. This    €523,000 ($592,970) in 2021, in addition to an unreported amount of
         compared with 785 victims of commercial sexual exploitation in 2019 (187       funding it dispersed to individual NGOs supporting the Ac-Se network.
         children) and 849 in 2018. Gaps in victim identiﬁcation remained, and          This amount was a decrease compared with €797,000 ($903,630) in
         the government did not report the speciﬁc number of French nationals,          2020. NGOs criticized the amount of funding generally provided by
         children, asylum-seeking, or labor trafficking victims it identiﬁed in 2020;   the government to all NGOs for victim assistance as insufficient and
         however, French nationals tended to be the majority of identiﬁed victims       asserted the government often funded anti-trafficking efforts from the
         in prior years, and identiﬁed child victims continued to increase. Experts,    women’s rights budget with little transparency into how much it allocated
         NGOs, and GRETA expressed concerns regarding the government’s                  speciﬁcally to human trafficking. NGOs also raised concerns pertaining
         national statistics on victim identiﬁcation and asserted the scale of          to the lack of a dedicated budget allocation to NGOs providing victim
         human trafficking in France was likely much higher. Victim protection          assistance to trafficking victims, forcing NGOs to rely on donations
         data included all French departments and territories, including those          from private entities. In its 2022 report, GRETA urged the government
         overseas. Pandemic lockdowns led to the decreased use of bars and              to increase funding and resources dedicated to combatting human
         nightclubs and the increased use of private locations and the internet         trafficking. In addition to victims identiﬁed by the government, NGOs
         as venues for exploitation, which exacerbated vulnerabilities for sex          reported identifying at least 6,457 human trafficking victims and assisting
         trafficking victims and decreased victim visibility to authorities. The        2,573 in 2020, but many of the NGOs did not receive government funding,
         pandemic also exacerbated vulnerabilities for labor trafficking victims        and the government did not provide further details. While only partial
         through increased insolation of migrant and domestic workers, which            data on victim assistance was available, government-funded NGOs
         complicated detection by officials and NGOs.                                   reported assisting a total of 260 trafficking victims, including shelter
                                                                                        for 48 victims and nine child dependents in 2020; this was similar to
         The government remained without an NRM to ensure uniform and
                                                                                        264 in 2019, including shelter for 45 victims and 12 child dependents.
         equal treatment of victims; however, the government established an
         interdepartmental working group, which included NGOs, that submitted           Victims were entitled to a 30-day reﬂection period during which they
         a draft mechanism for review in January 2022. In its 2013, 2017, and 2022      could decide whether to lodge a complaint or participate in criminal
         reports, GRETA urged the government to adopt an NRM. Most ministries           proceedings against a trafficker; however, some authorities were not
         and regions had formal procedures for identifying victims, including a new     familiar with the reﬂection period and did not offer it. Although formal
         mechanism in Marseille in 2021, and authorities continued to use an NGO-       victim identiﬁcation required law enforcement cooperation, victims
         run referral mechanism. GRETA noted the government remained without            who chose not to cooperate could still receive free medical attention.
         a formal identiﬁcation process for victims who were nationals of France        Not all trafficking victims were eligible for admittance into Ac-Se’s
         or a European Economic Area country. Experts, NGOs, and the national           shelter program, unless they were in immediate danger or in a highly
         rapporteur reported gaps in authorities’ proactive victim identiﬁcation        vulnerable situation that required geographic relocation; NGOs observed
         efforts persisted; they called for improving victim identiﬁcation as a top     that migrants without legal status often struggled to ﬁnd housing,
         priority in the NAP. The government assumes the majority of individuals        which increased their risk of exploitation. The central and municipal
         in commercial sex and all foreign adult individuals in commercial sex          governments continued to partially fund the operation of a shelter in
         are trafficking victims, and the government systematically screens this        Paris that could accommodate 12 victims, as well as a small number of
         population for trafficking indicators. However, this assumption could          emergency apartments external to the Ac-Se system. There were no
         have led to a misunderstanding of sex trafficking amongst front-line           accommodation centers dedicated to adult male trafficking victims, but
         officials and conﬂation with commercial sex. Authorities also often            communal homes or homeless shelters were sometimes used; however,
         mischaracterized victims of forced criminality as delinquents or illegal       these accommodations did not take into account the speciﬁc needs
         workers and consequently excluded them from assistance. Victims of             of trafficking victims. Police referred child trafficking victims to the
         forced labor experienced difficulty in formal recognition as victims.          Child Welfare Services (ASE) system, which provided the children with
         Given the signiﬁcant increase in children exploited in commercial sex          shelter. In October 2021, the government funded an NGO-run shelter
         in the past few years, which NGOs estimated to be between 10,000 and           for up to 12 children, which could include trafficking victims; the shelter
         15,000 predominantly French girls, in April 2021, the national rapporteur      offered health, psychological, and judicial support. Authorities noted
         publicly urged the government to adopt a clear criminal policy against         a signiﬁcant increase in children exploited in commercial sex over the
         the sexual exploitation of children. The rapporteur recommended                past ﬁve years, with traffickers targeting girls in government children’s
         improving the identiﬁcation of child trafficking victims by increasing         shelters. GRETA and the national rapporteur reported a lack of adequate
         training and data collection, targeting online platforms, and increasing       resources for the special assistance needs of child trafficking victims,
         national awareness campaigns.                                                  especially considering the increase in victims in recent years. GRETA
                                                                                        noted reports that unaccompanied children at airports or immigration
         The government provided funding for the Ac-Se system, an NGO-
                                                                                        reception centers sometimes disappear or are picked up by traffickers.
         managed network of 88 partners, including 58 reception facilities,
                                                                                        While GRETA noted improved assistance to victims in recent years, it
         ﬁve NGOs that act as both reception facilities and specialized service
                                                                                        expressed concern regarding the persistent insufficient number of
         providers, two combined reception and advice centers, one host family,
                                                                                        shelters and funding for NGOs who provided victims with care.
         and 22 specialized service providers assisting adult victims of sex
         and labor trafficking. The Ac-Se NGO network provided victims with             The law entitled trafficking victims to free legal aid, subject to meeting a
         shelter, legal, medical, and psychological services. However, GRETA            number of requirements, and victims who did not meet the requirements
         reported that the network did not cover the entire country or overseas         for legal aid could receive assistance from NGOs; however, in its 2022
         French Departments. Both police and NGOs referred victims to Ac-Se.            report, GRETA asserted lawyers were often unfamiliar with trafficking
         However, only the police, gendarmerie, and judiciary could formally            and urged the government to ensure all victims, regardless of the victim’s
         identify victims; formal identiﬁcation required victims to cooperation         immigration status, had systematic early access to legal assistance.
         with law enforcement. NGOs reported formal official recognition as             GRETA expressed concern legal aid was unavailable for undocumented
         a trafficking victim was difficult to achieve and such status offered          migrants and may have restricted the rights of some victims to access
         additional protections and in practice was necessary to obtain asylum          justice. Local governments provided French language classes to victims,
         or a residence permit, residency papers, healthcare, and housing. While        and some victims could qualify for subsidized housing and job training
         labor inspectors could refer potential cases of labor trafficking to law       programs, but the government did not report the number of victims
         enforcement authorities, in its 2022 report, GRETA recommended                 provided with these beneﬁts. The national employment agency provided
         authorizing labor inspectors to formally identify victims as well. The         some foreign victims with an initial stipend of €350 ($397) a month
         CNCDH urged the government to allow formal victim identiﬁcation                but did not report the number of victims that received this stipend
         without a requirement to cooperate with law enforcement and also               during the reporting period; civil society organizations reported the
         by entities other than law enforcement, including by civil society,            conditions for being granted a stipend were not uniform and varied
         healthcare workers, and social workers; however, the government did            by region. Judges heard criminal trials for trafficking in private at the
         not report efforts to allow other entities to formally identify victims        victim’s request, and remote testimony, including by video, was also

 236                                                                                                                                 Haiti AR_000717
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 342 of 729




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available. Although NGOs sometimes provided psychological support               risk for sex and labor trafficking in the French department of Mayotte,
to victims, the government did not fund this service, and NGOs and              the government reportedly provided approximately 40 children per year
GRETA asserted psychological counseling to victims was insufficient.            with accommodation and education, though it did not report taking
However, victims usually had access to a psychologist during court              effective steps to address the protection needs, including medical
proceedings, which was a legal requirement for children. The government         care, shelter, or education, of the remaining 3,000 to 4,000 children.
took additional precautions to prevent re-traumatizing children: the
                                                                                The government continued to lack comprehensive statistics on
law limited the interview of child victims to one time, law enforcement
                                                                                compensation, restitution, and damages awarded to trafficking victims.
used child-friendly procedures, and the government had specialized law
                                                                                Trafficking victims could obtain compensation for personal injuries from
enforcement officials and courts for child victims. The government had
                                                                                the government through the commission for the compensation of victims
specialized private victim interview rooms for children, but GRETA and
                                                                                of criminal offences (CIVI). GRETA reported that the CIVI often waited to
NGOs reported law enforcement was often unaware of them or did not
                                                                                make decisions until prosecutors made official indictments; with regard
use them. NGOs and GRETA noted, despite the legal entitlement, the
                                                                                to labor trafficking, if prosecutors charged the perpetrator for a less
government did not consistently provide interpreters to victims during
                                                                                severe labor law violation vice trafficking, victims would receive less
trials or information in a language they understood, the responsibility
                                                                                compensation. The government did not report granting compensation
of which would then pass to NGOs, often without available government
                                                                                to any trafficking victims for 2021, compared with seven victims from
funding. In its 2022 report, GRETA noted front line officials were not
                                                                                2020 who received between €5,000 ($5,670) and €10,000 ($11,340)
adequately trained on human trafficking and could not inform trafficking
                                                                                each. While not systematic or mandatory, criminal courts could order
victims of their rights or trafficking procedures, despite the availability
                                                                                traffickers to pay restitution to victims who were citizens of France or
of a standard form on victim rights; GRETA urged the government to
                                                                                when the act was committed on French territory, the European Economic
address these gaps. Law enforcement did not have a witness protection
                                                                                Community (ECC), or had legal immigration status; the government did
program that trafficking victims could use, which may have decreased
                                                                                not report awarding restitution to any victims in 2021, compared with
the willingness of some victims to cooperate with law enforcement.
                                                                                three in 2020. Victims who were citizens of France, the ECC, or had
The CNCDH urged the government to improve assistance provided to
                                                                                legal immigration status could also bring a civil suit against a trafficker
victims during their trials, but the government did not report making
                                                                                for damages; however, authorities did not report any victims ﬁling
efforts to do so. In its 2022 report, GRETA urged the government to
                                                                                suits or awarding damages to any victims during the reporting period.
ensure trafficking victims could access the witness protection program
                                                                                GRETA and NGOs reported victim restitution was rare and amounts for
and increase their usage of audio-visual equipment to interview victims
                                                                                compensation, restitution, and damages were small. GRETA reported
and specialized interview rooms, especially for children.
                                                                                in 2022 that even when traffickers were ordered to pay restitution or
The government issued permits only when victims cooperated with                 damages, victims often did not receive payment because enforcement
police investigations or enrolled in the government’s reintegration             was difficult, and traffickers often declared bankruptcy. Victims of sex
program, which required ceasing engagement in commercial sex                    trafficking may have had difficulty in claiming restitution or damages
and often required paperwork victims could not obtain. Authorities              because they did not have a legal form of employment. Victims lacking
generally offered permanent residency to trafficking victims following          legal status were ineligible for restitution or damages, potentially
a successful conviction of their trafficker. The government reported            increasing their vulnerability to exploitation. The government did not
issuing or renewing 293 temporary residence permits (313 in 2019)               report the amount of assets conﬁscated from convicted traffickers in
and 25 permanent residence permits (41 in 2019) to trafficking victims          2020 or 2021 or whether any was awarded to victims for restitution or
in 2020, the most recent year data was available. In its 2022 report,           damages; however, in its 2022 report, GRETA highlighted that between
GRETA noted that while trafficking survivors with residence permits were        2017 and 2019, authorities seized €26 million ($29.48 million) from
permitted to work, they often faced language barriers, lacked necessary         traffickers. Victims could also receive backpay from the Labor Court,
training, and were in need of further psychological assistance due to           as one such victim did in 2021. In its 2022 report, GRETA urged the
trauma suffered; GRETA urged the government to address these issues.            government to better guarantee effective access to compensation,
Trafficking victims were also eligible for international protection under       restitution, and damages, increase training for frontline officials, and
refugee status or subsidiary protection status in cases where victims had       use the conﬁscated assets from traffickers for victims. GRETA reported
a credible fear of retaliation, including from public authorities in their      that the lack of a speciﬁc provision in French law protecting victims from
country of origin, if returned; however, the government did not report          prosecution for unlawful acts traffickers compelled them to commit
the number of victims granted such status. The government offered a             could leave victims vulnerable to penalization, especially child victims
specialized support program for asylum-seekers who were also victims            of forced criminality and forced begging. In February 2021, the Minister
of violence or human trafficking, but it required the victims to be formally    of Justice requested prosecutors avoid prosecuting children for forced
recognized; the program provided secure lodging, psychological support,         criminality, but this continued to leave adult victims vulnerable, and this
and a path to request asylum, but the government did not report how             request was not codiﬁed in the law. GRETA and NGOs expressed concern
many asylum-seekers utilized this program during the reporting period.          that the convictions for formally recognized trafficking victims could
The government had internal guidelines to evaluate and process asylum           not be expunged, which could prevent some victims from accessing
claims on the basis of labor trafficking. GRETA and a large collective of       employment.
anti-trafficking NGOs believed the new law on asylum and immigration,
which eased restrictions on migrant deportation, limited victims’ ability       PREVENTION
to receive temporary residence due to new time-bound restrictions on            The government maintained prevention efforts. The Inter-ministerial
permit applications and more stringent approval criteria. In its 2022           Mission for the Protection of Women against Violence and the
report, GRETA cited instances where trafficking victims in the asylum           Fight against Human Trafficking (MIPROF) continued to coordinate
system had numerous interactions with law enforcement but were never            government-wide efforts on anti-trafficking and the prevention
identiﬁed as a victim, as well as where NGOs had identiﬁed trafficking          of violence against women; however, NGOs and GRETA urged
victims but law enforcement disagreed or deported the victim, despite           the government to increase personnel and resources allocated to
the victim having lodged a complaint against the trafficker; GRETA              the office. MIPROF’s anti-trafficking steering committee included
recommended increased training on human trafficking for front-line              national, regional, and local governments, as well as NGOs; it met
officials.                                                                      once during the reporting period, but NGOs noted an overall decrease
                                                                                in the government’s engagement with NGOs. The CNCDH continued
In its 2017 and 2022 reports, GRETA expressed concern that police
                                                                                to serve as the independent national rapporteur for trafficking, but
continued to arrest and prosecute child victims of forced begging and
                                                                                resources remained insufficient. The government had a NAP; however,
forced criminality without screening for trafficking indicators. In 2021, the
                                                                                the rapporteur criticized the plan, noting obstacles and deﬁciencies,
government did not report uniformly screening undocumented migrants,
                                                                                including the absence of a deﬁned timeframe or budget. Furthermore,
who were vulnerable to trafficking, in Mayotte for trafficking indicators
                                                                                the national rapporteur noted the action plan did not address the ﬂaws
prior to their deportation, which could have left some trafficking victims
                                                                                of the ﬁrst plan, which included prioritizing sex trafficking over labor
unidentiﬁed. Of the 3,000-4,000 unaccompanied Comorian children at
                                                                                                                                 Haiti AR_000718              237
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 343 of 729
FRANCE   trafficking, unequal efforts that varied by region, and the continued            government continued to fund anti-trafficking capacity-building programs
         conﬂation of commercial sex and human trafficking by authorities. The            across Africa’s Gulf of Guinea region and victim support operations in
         national rapporteur recommended annual plans incorporating speciﬁc               Libya, and it helped organize and fund several international workshops
         deadlines, detailed measures, monitoring indicators, separated costs,            on human trafficking. Ac-Se continued to operate a hotline for trafficking
         and a dedicated source of funding; however, the government did not               victims, as well as a hotline for children in abusive situations, including
         report taking any concrete steps on these recommendations. MIPROF                trafficking; however, neither hotline reported the number of trafficking-
         met with CNCDH twice during the reporting period to discuss the                  related calls received. GRETA recommended the government establish a
         recommendations from the NAP. In November 2021, the government                   dedicated national human trafficking hotline. The government continued
         adopted a NAP speciﬁcally for children exploited in commercial sex,              to host an online platform that allowed citizens to ﬂag inappropriate
         including child sex trafficking, with a dedicated budget of €14 million          content, which led to several human trafficking investigations. The
         ($15.87 million) for implementation.                                             government did not provide systematic anti-trafficking training for
                                                                                          its diplomatic personnel, although consular officials received training
         The continued prioritization of sex trafficking led to insufficient
                                                                                          on identifying forced domestic servitude. NGOs also noted there was
         efforts to combat labor trafficking, and the CNCDH recommended
                                                                                          insufficient follow-up by the government regarding domestic workers
         increased training on labor trafficking for all front-line officials, as labor
                                                                                          who were employed by diplomats in France and that little could be done
         trafficking was often categorized as labor code violations, undeclared
                                                                                          to assist victims because of the diplomatic immunity of the trafficker.
         work, undigniﬁed work conditions, or employing illegal migrants. The
                                                                                          Labor inspectors continued to lack the authority to inspect private homes,
         tendency for authorities to categorize labor trafficking as lesser crimes
                                                                                          thereby limiting their identiﬁcation of domestic servitude.
         resulted in decreased deterrence. In 2022, GRETA recommended the
         government increase its efforts to combat labor trafficking, including by
         increasing labor inspections of high-risk sectors and raising awareness
                                                                                          TRAFFICKING PROFILE
                                                                                          As reported over the past ﬁve years, human traffickers exploit foreign
         among migrant worker populations. The government continued to make
                                                                                          victims, and to a limited extent, domestic victims in France. The pandemic
         limited efforts to raise national awareness of human trafficking; efforts
                                                                                          exacerbated vulnerabilities for trafficking victims, including increasing the
         included participation in an awareness campaign, launched by NGOs,
                                                                                          isolation of migrant and seasonal workers, as well as sex trafficking victims,
         to raise awareness of the sexual abuses committed against children on
                                                                                          which complicates detection by officials and NGOs. Pandemic-related
         Mayotte. In partnership with a civil society organization, the Ministry of
                                                                                          closures and restrictions caused additional vulnerability for individuals
         Economy and Finance distributed pocket-sized cards on trafficking victim
                                                                                          in commercial sex. Sex and labor traffickers exploit foreign victims
         identiﬁcation to border police and NGOs. In early 2022, the government
                                                                                          from Eastern Europe, West and North Africa, Asia, and the Caribbean.
         focused awareness raising efforts on refugees ﬂeeing Russia’s full-scale
                                                                                          Authorities noted an increase in French girls as sex trafficking victims, as
         invasion of Ukraine by establishing a website, dedicating emergency
                                                                                          well as a general increase in child victims since 2016; NGOs estimate that
         shelter for refugees, and requiring citizens to register with the government
                                                                                          between 10,000 and 15,000 French teenagers are victims of child sex
         before hosting Ukrainian refugees.
                                                                                          trafficking—a signiﬁcant increase compared with previous estimates of
         The government did not report having a licensing or accreditation process        between 6,000 and 8,000. In suburban areas, there has been a sharp rise
         for labor recruiters, and there was no law prohibiting or criminalizing          in sex traffickers known as “lover boys” coercing vulnerable girls into sex
         recruitment companies from charging recruitment or placement fees to             trafficking, often through a sham romantic relationship. Traffickers target
         workers. Passport withholding, contract switching, and wage withholding          girls in government-funded shelters for children. Nigerian females make
         were illegal, and workers could pursue legal recourse. Fraudulent labor          up a signiﬁcant portion of sex trafficking victims. During the pandemic,
         recruitment remained a concern during the reporting period. In 2021,             sex traffickers increased the usage of online platforms to recruit and
         the government conducted 132,000 labor inspections; however, unlike              exploit victims and book apartment rentals to make their illicit operations
         prior years, the government did not report whether any potential                 difficult to track; in 2020, government officials estimated that 87 percent
         victims were referred to police or whether any investigations were               of commercial sex encounters were organized online. Authorities report
         initiated as a result of the inspections. Labor inspectors lacked the            traffickers encourage Nigerian victims to claim asylum to obtain legal
         authority to identify trafficking victims but could refer potential victims      residency and facilitate their continued exploitation; French authorities
         to police. Law enforcement, immigration guards, and labor inspectors,            have also noted trafficking victims from Bangladesh, the Democratic
         both domestically and in Mayotte, participated in joint inspections that         Republic of the Congo, Guinea, Ivory Coast, Russia, Vietnam, and Ukraine
         focused on the agricultural sector, which resulted in the identiﬁcation          have claimed asylum for this purpose. Sex trafficking networks, controlled
         of at least 27 suspected traffickers and the arrest of eight, as well as         by Bulgarian, PRC national, French, Hungarian, Nigerian, Romanian,
         the identiﬁcation of at least 91 victims of trafficking in France; however,      and South American traffickers, exploit women through debt bondage,
         the government did not report any results from Mayotte. French law               physical force, and psychological coercion, including the invocation of
         required large companies (with more than 5,000 employees) to enact due           voodoo and drug addiction. Nigerian gangs associated with sex trafficking
         diligence measures to identify risks and prevent serious harm to human           and linked to the Black Axe, Arobaga Vikings, the Maphite, and the Eiye
         rights, including labor exploitation, by subcontractors and suppliers. In        syndicate continue to grow more sophisticated, organized, and violent.
         its 2022 report, GRETA encouraged increased implementation of the                PRC-national criminal networks also use as many as 400 massage parlors
         due diligence law. During the reporting period, prosecutors initiated            as fronts for the purchase of commercial sex, raising concerns about
         an investigation into four major retailers that allegedly continued to           sex trafficking. The government estimates the majority of the 40,000-
         purchase cotton from the People’s Republic of China (PRC), which was             50,000 individuals in commercial sex in France, about 90 percent of
         potentially harvested with forced labor. The government made efforts             whom are foreign, are likely trafficking victims. Members of the LGBTQI+
         to reduce the demand for child sex tourism by funding programs to                community, especially from South America, are vulnerable to trafficking,
         raise awareness in airports and with tourism operators of the illegality         and traffickers increasingly exploit transgender victims in sex trafficking.
         of and penalties associated with child sex tourism, as well as requiring         Traffickers exploit children, primarily from Romania, West and North
         students to complete an awareness course on sex tourism prior to their           Africa, and the Middle East, in sex trafficking in France. Traffickers often
         departure abroad. For destinations with higher incidences of child sex           lure victims with fraudulent offers of economic opportunities and target
         tourism, like Cambodia, Indonesia, Laos, Madagascar, and the Philippines,        undocumented workers already in France. French citizens sometimes
         the government included warnings on its website for travelers. The               engage in child sex tourism abroad. In 2022, refugees, predominantly
         government made efforts to reduce the demand for commercial sex                  women and children, ﬂeeing Russia’s full-scale invasion of Ukraine, are
         by ﬁning approximately 1,300 purchasers of commercial sex, though                vulnerable to trafficking.
         efforts were inconsistent throughout the country.
                                                                                          Labor trafficking most frequently occurs in domestic work, followed by
         The government also continued to station liaison officers and judges             construction, small commerce, agriculture, ﬁshing, and livestock; the
         abroad, including in Romania, Cote d’Ivoire, Nigeria, and Southeast              majority of identiﬁed labor trafficking victims are women. Expansive
         Europe, who helped coordinate law enforcement efforts against traffickers,       criminal networks force children to commit crimes; most victims are from
         including a June 2021 online training for specialized Romanian prosecutors       Romania and North Africa, many of whom are addicted to controlled
         on interview techniques for child victims of trafficking. In 2021, the           substances. Seasonal migrant workers are vulnerable to labor trafficking
 238                                                                                                                                     Haiti AR_000719
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 344 of 729




                                                                                                                                                                     GABON
while harvesting grapes for winemakers in the Champagne region and are             other grave crimes, such as rape. • Provide training for law enforcement
often hired through subcontractors using fraudulent job descriptions and           officers, prosecutors, and judges on the penal code and victim-centered,
wages. Traffickers exploit the large inﬂux of unaccompanied children who           trauma-informed investigations. • Increase ﬁnancial or in-kind support
have entered France in recent years. Roma and unaccompanied children               to government and NGO shelters. • Develop and implement standard
in France are at risk of forced begging and forced theft. The families of          operating procedures for identifying and referring adult trafficking victims
Roma children are often also their traffickers. In 2020, the government            to care. • Regularly convene the Special Criminal Session to increase the
found that immediate or extended family members are the traffickers                number of trafficking cases heard. • Develop and institute a course on
for 88 percent of victims of forced crime and forced begging; 62 percent           victim-centered trafficking investigations in Gabon’s National Magistrate
of sex trafficking victims knew their traffickers beforehand. Traffickers          School to increase judicial officials’ ability to prosecute trafficking cases.
exploit victims with intellectual disabilities in forced labor in agriculture      • Conduct a nationwide campaign to raise awareness of trafficking in
and begging. The estimated 3,000-4,000 unaccompanied Comorian                      markets and domestic service. • Develop an information management
children on the island of Mayotte, a French department, remained at risk           system to capture nationwide investigation and victim identiﬁcation
for labor and sex trafficking. Protection services, such as medical, shelter,      data in partnership with international organizations.
and education, are not available to unaccompanied children on Mayotte,
and previous efforts of the Comorian National Human Rights Commission              PROSECUTION
to investigate further were denied by the French embassy in Comoros.               The government made mixed law enforcement efforts. Articles 225 to
Unaccompanied Moroccan children are vulnerable to forced begging in                225-7 of the 2020 revised penal code criminalized sex trafficking and
France. In 2020, the government, through Operation Barkhane, provided              labor trafficking, prescribing penalties of up to seven years’ imprisonment
support to Malian armed groups who used and recruited child soldiers.              and a ﬁne of 100 million Central African francs (CFA) ($172,940) for
Labor traffickers exploit women and children in domestic servitude—the             trafficking crimes involving adult victims, and up to 15 years’ imprisonment
most frequent case being when families exploit relatives brought from              and a ﬁne of up to 100 million CFA ($172,940) for those involving child
Africa to work in their households; according to a 2020 report, domestic           victims. These penalties were sufficiently stringent, but with respect to
servitude makes up approximately 10 percent of all trafficking in France.          adult sex trafficking, not commensurate with penalties prescribed for
Nigerian trafficking networks use migrant and drug trafficking routes              other serious crimes, such as rape. Inconsistent with the deﬁnition of
through Niger, Libya, and Italy to transport women and girls to France,            trafficking under international law, the penal code established the use
where they exploit them in trafficking and debt bondage. Cuban medical             of force, fraud, or coercion as aggravating factors rather than essential
professionals working in Martinique, a French department, in 2020 may              elements of the crime; penalties were increased to up to 10 years’
have been forced to work by the Cuban government.                                  imprisonment and a ﬁne of 100 million CFA ($172,940) if such factors
                                                                                   were involved. Finally, the penal code conﬂated the crimes of migrant
                                                                                   smuggling and trafficking in persons.

 GABON: TIER 2 WATCH LIST                                                          A lack of high-level coordination between ministries exacerbated the
                                                                                   government’s limited capacity to collect and manage anti-trafficking law
                                                                                   enforcement data. The government reported initiating 10 investigations,
The Government of Gabon does not fully meet the minimum standards                  compared with zero investigations in 2020 and three in 2019. The
for the elimination of trafficking but is making signiﬁcant efforts to             government initiated prosecution of seven alleged traffickers, compared
do so. These efforts included investigating more trafficking crimes                with 16 alleged traffickers in 2020. Courts convicted six traffickers,
and convicting more traffickers. However, the government did not                   compared with three in 2020 and one in 2019; while all but one of the
demonstrate overall increasing efforts compared with the previous                  convicted traffickers received partially suspended sentences, all received
reporting period, even considering the impact of the COVID-19 pandemic             a sentence of at least one year imprisonment even accounting for the
on its anti-trafficking capacity. For the third consecutive year, the              period of suspension. The more lenient sentences weakened deterrence
government did not adopt its anti-trafficking national action plan                 and undercut broader efforts to ﬁght trafficking. Only the country’s
(NAP) and continued to lack a functioning national inter-ministerial               Special Criminal Session court was authorized to hear trafficking cases.
commission to coordinate anti-trafficking efforts. The government                  The court only met once during the reporting period, as the planned
identiﬁed fewer potential trafficking victims and efforts to provide justice       second session was postponed because of lack of funding.
for, identify, and protect adult trafficking victims remained inadequate.
                                                                                   The government did not report any investigations, prosecutions, or
The government did not amend its law to ensure penalties for adult
                                                                                   convictions of government employees complicit in human trafficking
sex trafficking where commensurate with penalties for other grave
                                                                                   crimes; however, corruption and official complicity in trafficking crimes
crimes. Further, authorities did not report investigating allegations of
                                                                                   remained signiﬁcant concerns, inhibiting law enforcement action during
judicial corruption related to trafficking crimes. Therefore Gabon was
                                                                                   the year. Due to alleged corruption and a lack of training, prosecutorial
downgraded to Tier 2 Watch List.
                                                                                   judges tasked with investigating trafficking cases did not always
                                                                                   investigate cases brought to their attention. Experts alleged some
         GABON TIER RANKING BY YEAR                                                traffickers bribed judges to actively delay or dismiss trafficking cases, while
     1                                                                             the government stated delays were the result of insufficient knowledge
    2                                                                              of trafficking laws. The government reported pandemic restrictions
 2WL                                                                               hindered law enforcement operations and courts operated at reduced
                                                                                   capacity. The government did not have a victim-centered approach to
    3
                                      2018    2019     2020     2021     2022
                                                                                   investigations. Officials did not report providing any anti-trafficking
            2015     2016     2017
                                                                                   training for law enforcement officials during the reporting period.

                                                                                   PROTECTION
                                                                                   The government made negligible efforts to identify and protect victims.
PRIORITIZED RECOMMENDATIONS:
                                                                                   The government reported identifying and referring to care seven potential
Finalize, resource, and implement the NAP and create a national inter-
                                                                                   child trafficking victims, compared with 41 child trafficking victims
ministerial anti-trafficking commission to coordinate government efforts. •
                                                                                   identiﬁed and referred to care during the previous reporting period. The
Increase efforts to proactively identify adult and child victims of trafficking,
                                                                                   government used a Trafficking in Persons Procedural Manual, developed
including among key sectors such as domestic service, markets, and
                                                                                   in coordination with an international organization, that deﬁned standard
individuals in commercial sex, and refer victims to care. • Increase efforts to
                                                                                   operating procedures (SOPs) for child trafficking victim identiﬁcation
investigate and prosecute trafficking crimes, including complicit officials,
                                                                                   and referral to care. Additionally, the Ministry of Health and Social Affairs
and adequately sentence convicted traffickers. • Amend the penal code
                                                                                   had a referral process to transfer child trafficking victims to government
to deﬁne trafficking in line with the international deﬁnition and ensure
                                                                                   and NGO-run shelters for assistance. While the government referred
penalties for adult sex trafficking are commensurate with penalties for
                                                                                   children to care, NGOs had inadequate funding to effectively care for
                                                                                                                                       Haiti AR_000720               239
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 345 of 729
GAMBIA, THE   these victims. The government did not have SOPs for the identiﬁcation            travel restrictions, lockdowns, and school closures likely increased
              and referral to care for adult trafficking victims.                              the vulnerability of Gabonese children, informal sector workers, and
                                                                                               immigrants to exploitation. Poverty continues to represent a key risk
              The government did not report whether it contributed any funding to
                                                                                               factor in forced labor and sex trafficking in the country.
              NGOs providing shelter and services to victims; a lack of shelter space to
              accommodate trafficking victims persisted. Observers reported limited            Traffickers exploit girls in forced labor in domestic service, markets, or
              shelter space may have hindered support for some law enforcement                 roadside restaurants; force boys to work as street vendors, mechanics,
              investigations due to concerns victims would not have access to long-            microbus transportation assistants, and laborers in the ﬁshing sector; and
              term shelter. The government continued to fund two NGO-run shelters              coerce West African women into domestic servitude or commercial sex
              offering holistic services to child trafficking victims, orphans, and children   within Gabon. Criminals may exploit children in illegal gold mines and in
              experiencing homelessness, providing ﬁnancial and in-kind support,               wildlife trafficking in the country’s interior. NGOs reported Cameroonian
              including funding for social workers, medical support, psychological             and Gabonese labor recruiters associated with large agricultural ﬁrms
              services, legal assistance, and tuition. In partnership with local NGOs, the     exploit English-speaking Cameroonians displaced by the Anglophone
              government funded a shelter with the capacity to care for 80 children.           crisis. The recruiters force some Cameroonians to labor on rubber and
              Some shelter and law enforcement personnel used their own money                  palm oil plantations around Bitam in northern Gabon. West African
              to ﬁll gaps in government funding to assist victims. The same services           traffickers reportedly exploit children from their countries of origin to
              were available for male, female, foreign national, and Gabonese victims,         work in Libreville markets, such as N’Kembo, Mont Bouët, and PK7, as
              including those repatriated from abroad. There were no government- or            well as in other urban centers, including Port-Gentil. In Gabon’s eastern
              NGO-run shelters speciﬁcally designated for adult trafficking victims,           provinces, shopkeepers force or coerce Gabonese children to work in
              although adult victims could potentially access government services for          markets. In some cases, smugglers who assist foreign adults migrating
              victims of domestic abuse or other forms of maltreatment. The pandemic           to Gabon—or through the country to Equatorial Guinea—subject those
              reduced staff capacity to operate the shelters. Officials permitted adult        economic migrants to forced labor or commercial sex after they enter
              male victims to leave shelters unchaperoned, but not adult female                the country via plane or boat with falsiﬁed documents. In some cases,
              victims, based on concerns related to safety and a risk of re-trafficking.       families willingly give children to intermediaries who fraudulently
                                                                                               promise education or employment and instead subject the children to
              The Gabonese government, foreign governments, and local NGOs
                                                                                               forced labor through debt bondage. Roadside bars—or “Macquis”—are
              reported repatriating 33 trafficking victims during the reporting period.
                                                                                               a common sector where traffickers sexually exploit women, and the
              Victims were eligible for immigration relief to remain in Gabon if they
                                                                                               Libreville neighborhood of Lalala is an area where some brothel owners
              faced threats to their safety in their country of origin; officials did not
                                                                                               reportedly exploit children in child sex trafficking. NGOs reported illicit
              report any victims utilizing this legal alternative during the reporting
                                                                                               actors operate “baby factories,” which recruiters work with enforcers
              period. While the government previously sought restitution for trafficking
                                                                                               to control women through childbirth; traffickers then sell the children.
              victims, it did not report doing so during this reporting period. Victims
                                                                                               Some criminals procure falsiﬁed documents for child trafficking victims
              could ﬁle civil suits against their traffickers, but there were no known
                                                                                               identifying them as older than 18 years of age to avoid prosecution
              cases of such action, in part due to lack of knowledge of the option. Due
                                                                                               under the child trafficking law. Traffickers often operate outside the
              to a lack of formal identiﬁcation procedures for adults, authorities may
                                                                                               capital to avoid detection by law enforcement and take advantage of
              have detained some unidentiﬁed trafficking victims.
                                                                                               Gabon’s porous borders and unguarded beaches to import victims by
                                                                                               car or boat, often using falsiﬁed identity documents.
              PREVENTION
              The government maintained insufficient prevention efforts. The
              government’s anti-trafficking inter-ministerial committee has not met
              since 2019. For the third consecutive year, the government did not
              ﬁnalize the pending NAP, which among other things, would designate                GAMBIA, THE: TIER 2
              the Ministry of Justice as the lead agency to coordinate the inter-
              ministerial committee. The government did not conduct any public                 The Government of The Gambia does not fully meet the minimum
              awareness raising campaigns during the reporting period. Officials did           standards for the elimination of trafficking but is making signiﬁcant
              not disclose funding levels for Gabon’s anti-trafficking programming.            efforts to do so. The government demonstrated overall increasing efforts
              Pandemic-related constraints on convening in person, state budgetary             compared with the previous reporting period, considering the impact
              impacts resulting from decreasing oil revenue, and multiple ministerial          of the COVID-19 pandemic on its anti-trafficking capacity; therefore The
              reshuffles in 2020 contributed to a lack of high-level coordination, which       Gambia was upgraded to Tier 2. These efforts included implementing
              hindered the government’s ability to support law enforcement officers,           the national referral mechanism (NRM) and continuing to train officials
              social welfare officials, and civil society representatives.                     on its procedures, increasing trafficking investigations and prosecutions,
              The government did not make efforts to reduce the demand for                     and adopting a new anti-trafficking national action plan. However, the
              commercial sex acts. Although not explicitly reported as human trafficking,      government did not meet the minimum standards in several key areas.
              there were 20 open cases of alleged sexual exploitation by Gabonese              Government authorities identiﬁed fewer trafficking victims and victim
              peacekeepers deployed to UN peacekeeping missions (with the dates of             services remained inadequate. Government agencies charged with
              the incidents as follows: seven in 2021, nine in 2020, three in 2019, and        combating trafficking continued to lack resources and training, and
              one in 2018. All of these allegations concerned Gabonese peacekeepers            some officials conﬂated trafficking in persons and migrant smuggling.
              deployed to the UN Multidimensional Integrated Stabilization Mission in
              the Central African Republic (MINUSCA), leading the Secretary-General
                                                                                                       THE GAMBIA TIER RANKING BY YEAR
              to repatriate the entire Gabonese contingent in MINUSCA in September
                                                                                                   1
              2021. Investigations remained open and the government had not yet
              reported accountability measures taken, if any, at the end of the reporting          2
              period. The government did not provide training speciﬁcally on human               2WL
              trafficking for its diplomatic personnel, although it does explicitly require        3
              diplomats to adhere to the local laws of their assigned countries.                          2015     2016      2017        2018   2019   2020   2021   2022

              TRAFFICKING PROFILE
              As reported over the past ﬁve years, human traffickers exploit domestic
              and foreign victims in Gabon, and traffickers exploit victims from Gabon         PRIORITIZED RECOMMENDATIONS:
              abroad. Gabon is a primary destination and transit country for West              Increase efforts to investigate and prosecute trafficking crimes, separate
              and Central African men, women, and children subjected to forced                 from migrant smuggling, and sentence convicted traffickers, including
              labor and sex trafficking. Intended to slow the spread of the pandemic,          fraudulent labor recruiters, to signiﬁcant prison terms. • Direct and fund
                                                                                               law enforcement to investigate all reported trafficking cases, including
  240                                                                                                                                             Haiti AR_000721
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 346 of 729




                                                                                                                                                               GAMBIA, THE
those brought forward by civil society. • Ensure human trafficking cases        criminal investigations, prosecutions, or convictions of government
are resolved through the judicial system rather than extra-judicial or          employees complicit in human trafficking crimes.
administrative means. • Train law enforcement, diplomatic personnel,
                                                                                The government coordinated with an international organization to
service providers, and civil society on the NRM. • Proactively screen
                                                                                train police, immigration, and airport authorities on trafficking victim
vulnerable populations, including Gambian migrants, individuals in
                                                                                identiﬁcation and the NRM; it also trained the Tourism Security Unit on
commercial sex, and foreign workers, including Cuban overseas workers,
                                                                                identifying trafficking cases within the tourism sector and interviewing
for trafficking indicators and refer trafficking victims to appropriate care.
                                                                                techniques. Designated child welfare and gender units within the police
• Provide resources, including funding and in-kind support, for victim
                                                                                force and immigration department received anti-trafficking training;
services and training of social workers. • Ensure access to a child-friendly
                                                                                however, frequent turnover, lack of resources, and limited capacity
and conﬁdential reporting mechanism that allows victims to report
                                                                                to monitor regions outside of the capital limited their effectiveness.
abuse without fear of intimidation, stigmatization, or re-victimization.
                                                                                General case backlogs, weak case management infrastructure, and low
• Increase labor migrant protections and reduce risks for trafficking
                                                                                judicial capacity inhibited prosecutions and convictions, and training
by consistently implementing the national migration policy and pre-
                                                                                and resources for law enforcement and judicial officials remained
departure procedures and eliminating worker-paid recruitment fees.
                                                                                severely inadequate. Law enforcement units were often dually assigned
• Regulate and monitor labor recruitment agencies and investigate
                                                                                to enforce other security priorities. The pandemic further reduced law
entities suspected of fraudulently recruiting workers for exploitation
                                                                                enforcement’s capacity to conduct investigations, and some units were
abroad. • Train law enforcement, prosecutors, and judges to investigate
                                                                                reassigned to enforce public health measures. Defendants accused of
and prosecute all forms of trafficking using the 2007 Trafficking in
                                                                                trafficking were eligible for bail and sometimes absconded. NGOs and
Persons Act. • Strengthen international law enforcement cooperation
                                                                                international organizations attributed underreporting of sexual crimes,
to prevent and investigate child sex tourism. • Amend the labor law to
                                                                                including sex trafficking and child sex tourism, to cultural taboos and
extend protections to domestic workers and regulate labor recruiters.
                                                                                a reliance on informal resolution mechanisms rather than the formal
                                                                                justice system; in some cases, the police or judiciary encouraged parties
PROSECUTION                                                                     to settle child sexual exploitation cases privately. Low conﬁdence in the
The government increased law enforcement efforts. The 2007 Trafficking
                                                                                justice system, lengthy investigations and court proceedings, and a lack
in Persons Act, as amended in 2010, criminalized sex trafficking and labor
                                                                                of meaningful protection, including accessible, child-friendly reporting
trafficking and prescribed penalties of 50 years to life imprisonment and
                                                                                channels, also led to underreporting of child trafficking. An international
a ﬁne of between 50,000 and 500,000 Dalasi ($960-$9,620). These
                                                                                organization reported that low awareness of anti-trafficking laws, limited
penalties were sufficiently stringent and, with respect to sex trafficking,
                                                                                government capacity, and inadequate specialized victim services further
commensurate with penalties prescribed for other serious crimes, such
                                                                                impeded law enforcement efforts to combat child sex trafficking.
as rape. The Tourism Offences Act additionally criminalized some child
trafficking crimes and, during the reporting period, the government
                                                                                PROTECTION
increased the penalties for a tourist’s commission of child trafficking
                                                                                The government maintained mixed efforts to identify and protect
to a ﬁne of between 100,000 and 500,000 Dalasi ($1,920-$9,620) and
                                                                                trafficking victims. The government identiﬁed eight victims from The
life imprisonment.
                                                                                Gambia, Liberia, Nigeria, and Sierra Leone, compared with 18 victims
The government initiated investigations of 14 suspects (eight for               identiﬁed in the previous reporting period. An international organization
alleged forced labor and six for alleged sex trafficking) and continued         reported identifying an additional 10 victims, including two sex trafficking
investigations of 51 suspects (39 for alleged forced labor and 12 for           and eight forced labor victims. The government formally launched its
alleged sex trafficking), compared with investigating at least 20 suspects      NRM, adopted in the previous reporting period, with standard operating
in the previous reporting period. Courts operated at a reduced capacity         procedures to identify and refer trafficking victims to care; the NRM
due to the pandemic. Authorities initiated prosecutions of three alleged        included mechanisms to screen vulnerable populations, including child
traffickers and continued prosecutions of six alleged traffickers, compared     migrants and individuals in commercial sex, for trafficking indicators.
with initiating prosecutions of two alleged traffickers and continuing          Under NRM provisions, front-line officials referred trafficking cases
prosecutions of three alleged traffickers in the previous reporting             to the Department of Social Welfare, which assigned a case manager
period. The court convicted three defendants under the anti-trafficking         and worked with partner service providers in the referral directory to
law. However, the court’s judgment did not include information on the           conduct an assessment and develop an individual case plan. In one case,
intended victims’ exploitation in the destination or clearly distinguish the    law enforcement intercepted 37 vulnerable individuals en route to the
case from migrant smuggling. The court sentenced all three defendants           Canary Islands for potential exploitation; consistent with NRM procedures,
to 15 years’ imprisonment and a ﬁne. This compared with zero convictions        authorities referred all 37 individuals to an international organization
during the previous reporting period. Authorities cooperated with foreign       for trafficking screening and services. The National Agency Against
governments on law enforcement investigations and were seeking the              Trafficking in Persons (NAATIP), in collaboration with an international
extradition of three suspected traffickers.                                     organization, trained law enforcement, social and medical service
                                                                                providers, and media on the NRM. However, coordination among law
Corruption and official complicity in trafficking crimes remained
                                                                                enforcement, prosecutors, and social service providers remained limited.
signiﬁcant concerns, inhibiting law enforcement action during the year.
Observers alleged some border authorities did not follow anti-trafficking       The government operated one short-term shelter for vulnerable persons,
procedures, and in past years, that some police officers requested              including both Gambian and foreign national trafficking victims,
bribes to register trafficking complaints. Observers also alleged some          vulnerable children, the elderly, and victims of domestic violence. The
government officials were involved in networks fraudulently recruiting          shelter generally had an 80-person capacity, offered basic services
Gambian workers for exploitation abroad. In December 2021, the Truth,           such as medical care, and provided limited counseling to children
Reconciliation, and Reparations Committee (TRRC) issued its ﬁnal                and women; adult victims could leave the shelter unchaperoned. The
report, which found that former government officials had procured               pandemic reduced the shelter’s capacity to allow for social distancing,
women through fraud and coercion to engage in sex acts with former              and observers reported the pandemic’s strain on the healthcare system
president Jammeh while he was in office from 1997 until 2017. Although          reduced victims’ access to medical care. The government allocated
the report recommended Jammeh’s prosecution for sexual violence, it             600,000 Dalasi ($11,540) to the shelter in 2021, the same amount
did not recommend prosecuting other government officials involved,              provided in 2020. NAATIP referred at least two victims to the shelter and
including Jammeh’s relative and deputy chief of protocol who served             three victims to an international organization for care; the government
as a principal recruiter. The report also concluded Jammeh exploited            did not report what services, if any, it provided to the remaining three
government employees and citizens in forced labor on his farm, and              victims. The government and civil society jointly operated daytime
high-ranking officials coerced some of the victims to engage in sex acts.       centers providing services, including psycho-social, food, and medical
The allegedly complicit officials were no longer in The Gambia, nor was         assistance, to trafficking victims and vulnerable children. Shelter services
Jammeh. The government had not yet released its official response               were concentrated around the capital, leaving some victims in rural areas
to the TRRC’s recommendations. The government did not report any                without access to assistance. NAATIP operated an anti-trafficking hotline,
                                                                                                                                  Haiti AR_000722              241
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 347 of 729
GAMBIA, THE   and caseworkers identiﬁed ﬁve trafficking victims; authorities referred        en route to the Gulf recruitment fees between 5,000 and 40,000 Dalasi
              all ﬁve victims to services. The government continued collaborating            ($96-$769). The government implemented its national migration policy
              with an international organization to repatriate and provide care for          to protect Gambian labor migrants and reduce vulnerability to trafficking;
              Gambian trafficking victims identiﬁed abroad, including victims identiﬁed      the policy acted in conjunction with the NRM and set standard procedures
              in Lebanon and the United Arab Emirates (UAE). A committee led by              for investigating potential trafficking cases. In collaboration with civil
              the National Human Rights Commission and NAATIP investigated                   society, the Ministry of Trade, Regional Integration, and Employment’s
              a case in which the Gambian Honorary Consul in Lebanon denied                  migration working group validated its new pre-departure training
              assistance to 38 Gambian trafficking victims exploited in domestic             manuals, ethical recruitment materials, and other resources for Gambian
              servitude. The commission released its ﬁnal report and found fraudulent        migrant workers. Domestic workers were not protected under the national
              recruitment agents provided the women with false contracts in a                labor law, rendering them vulnerable to exploitation. Although tourism
              different language and facilitated their travel to Lebanon. Upon arrival       was largely absent due to the pandemic, the government made efforts
              in Lebanon, traffickers seized their documents, exploited them in              to reduce the demand for commercial sex acts and child sex tourism
              domestic servitude, and physically abused them, resulting in one victim’s      by providing anti-trafficking training to hospitality sector employees
              death. The Gambian Honorary Consul reportedly returned the women               and posting Tourism Security Unit officers in the Tourism Development
              to their traffickers repeatedly when they sought the government’s              Area. As a small country with few overseas diplomatic missions, the
              assistance. Gambian authorities provided some assistance to the victims        government provided anti-trafficking training to some of its diplomatic
              in collaboration with an NGO that facilitated their repatriation to The        personnel; however, the government did not uniformly implement the
              Gambia in September 2020. NAATIP subsequently released its own                 training, and diplomatic missions’ ability to identify and assist trafficking
              report responding to the commission’s ﬁndings and recommendations.             victims, especially among honorary consuls, remained limited. The
              The government did not report taking further action on the committee’s         government provided anti-trafficking training to its troops prior to
              recommendations or instituting accountability measures to address the          their deployment as peacekeepers. However, although not explicitly
              honorary consul’s actions.                                                     reported as human trafficking, there was one open case (submitted
                                                                                             in 2018) of alleged sexual exploitation with trafficking indicators by
              Authorities did not condition access to victim services on cooperation
                                                                                             Gambian peacekeepers deployed to the UN peacekeeping mission in
              with law enforcement. The government provided legal aid and
                                                                                             Liberia from 2013 to 2015. As of the end of the reporting period, the
              transportation to victims who chose to cooperate with law enforcement
                                                                                             government had not yet provided the UN the information it needed to
              proceedings, and at least two victims reportedly did so. The government
                                                                                             complete its investigation.
              offered some protection to victims participating in proceedings against
              their alleged traffickers, including psychological support; however,
              officials did not always keep victims’ identities conﬁdential during
                                                                                             TRAFFICKING PROFILE
                                                                                             As reported over the past ﬁve years, human traffickers exploit domestic
              law enforcement proceedings, and victims, at times, were reluctant to
                                                                                             and foreign victims in The Gambia, and traffickers exploit victims from
              cooperate in investigations due to fear of retaliation by their traffickers.
                                                                                             The Gambia abroad. Within The Gambia, traffickers subject women,
              The government allowed victims to provide testimony via video or written
                                                                                             girls, and boys to sex trafficking and forced labor in street vending and
              statements but did not report any victims doing so. The government
                                                                                             domestic work. Although the pandemic drastically reduced tourism
              did not provide legal alternatives to the removal of foreign victims to
                                                                                             activity during the last two years, there have been anecdotal reports
              countries where they may face hardship or retribution; however, the
                                                                                             of European tourists, primarily from the United Kingdom, traveling to
              2007 anti-trafficking law allowed foreign victims to obtain temporary
                                                                                             The Gambia for the purpose of exploiting children in sex trafficking. An
              residence visas during legal proceedings. Courts could grant restitution
                                                                                             international organization reported organized sex trafficking networks
              to victims, and victims could ﬁle civil suits against their traffickers;
                                                                                             use European and Gambian travel agencies to promote child sex tourism.
              however, neither reportedly occurred, in part due to lack of awareness.
                                                                                             Some families encourage their children to enter the tourism industry or
              Due to inconsistent application of victim identiﬁcation procedures,
                                                                                             seek relationships with tourists for ﬁnancial gain. Observers have reported
              some victims may have remained unidentiﬁed in the law enforcement
                                                                                             sex traffickers host child sex tourists in private residences outside the
              system. Authorities used provisions in the NRM to screen vulnerable
                                                                                             commercial tourist areas of Banjul, making the crime harder to detect.
              populations, including individuals in commercial sex, for trafficking
                                                                                             Gambian boys attend Quranic schools in The Gambia, Guinea-Bissau,
              indicators. However, the screening mechanisms did not include LGBTQI+
                                                                                             and Senegal, and some boys from Guinea, Guinea-Bissau, Mali, and
              persons among vulnerable populations; due to social stigmatization and
                                                                                             Senegal attend Quranic schools in The Gambia; some corrupt teachers
              lack of screening, LGBTQI+ persons remained vulnerable to trafficking.
                                                                                             exploit students in forced begging, street vending, and agricultural work.
                                                                                             NGOs identiﬁed Gambian children in forced labor in neighboring West
              PREVENTION
                                                                                             African countries and Mauritania. Individuals without birth registrations,
              The government increased prevention efforts. NAATIP, a unit with
                                                                                             especially children of single mothers and those in rural areas, are
              the Ministry of Justice, coordinated the government’s anti-trafficking
                                                                                             vulnerable to exploitation. Traffickers recruit women and girls from West
              response; NAATIP convened quarterly task force meetings with support
                                                                                             African countries, especially Nigeria, and exploit them in sex trafficking
              from an international organization. The government adopted a new
                                                                                             in The Gambia. Cuban nationals working in The Gambia may have been
              2021-2025 anti-trafficking national action plan and allocated 3.6 million
                                                                                             forced to work by the Cuban government.
              Dalasi ($69,230) for its implementation. The government allocated the
              same amount in 2020 to support NAATIP efforts. NAATIP, in coordination         Traffickers exploit Gambians in forced labor abroad; authorities have
              with civil society, organized awareness-raising and community outreach         identiﬁed Gambian male and female trafficking victims recruited
              campaigns. NAATIP continued its awareness campaign targeting                   by agents and exploited in Egypt, Kuwait, Lebanon, and the UAE in
              minibus drivers, passengers, and community members; minibuses were             domestic work, hospitality, construction, and mining. Private, and
              the primary method of transportation in the country and a critical link        often informal, recruitment agencies place many Gambian workers
              in trafficking networks. In partnership with an NGO, the Ministry of           abroad, including in the Gulf and sometimes in coordination with
              Education continued its program with reputable Quranic school teachers         agents in the destination countries. Informal agents recruit workers
              to increase awareness of trafficking and prevent forced begging.               through social and family networks, or they pose as tourism or human
                                                                                             resource agencies. Traffickers posing as labor recruiters fraudulently
              Despite reports of fraudulent labor recruiters exploiting women in
                                                                                             recruit Gambian workers for employment in Europe or the Gulf, and
              domestic servitude, the government did not effectively regulate foreign
                                                                                             subsequently exploit them in domestic servitude or sex trafficking.
              labor recruiters or penalize them for fraudulent recruitment. There
                                                                                             Traffickers are increasingly recruiting victims using social media and
              were no laws regulating recruitment agencies or international labor
                                                                                             messaging platforms for domestic servitude in the Middle East. Gambian
              recruitment. The government did not license recruitment agencies or
                                                                                             authorities have identiﬁed Sierra Leonean victims en route to exploitation
              require registration, making it difficult for authorities to estimate how
                                                                                             in the Middle East. Gambian migrants, particularly young men from
              many agencies operated in the country. An international organization
                                                                                             impoverished backgrounds, attempting to travel to Europe through
              reported informal recruitment agencies used fraudulent or predatory
                                                                                             irregular routes, known as “the Backway,” are vulnerable to trafficking
              contracts; due to the lack of regulations, agents charged migrant workers

  242                                                                                                                                      Haiti AR_000723
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 348 of 729




                                                                                                                                                             GEORGIA
and abuse. One study of more than 500 returning Gambian migrants               refer trafficking victims. • Increase awareness-raising campaigns about
found that female migrants and migrants who were forcibly returned             the existence of trafficking, legal recourse, and available protection
experienced lower economic, social, and psychosocial reintegration             services to vulnerable groups. • Develop guidelines and procedures for
outcomes compared with male migrants and voluntarily returning                 victim-witness coordinators and other victim assistance providers to
migrants. Authorities have identiﬁed potential Gambian trafficking             strengthen coordination. • Increase transparency of the inter-ministerial
victims in Algeria, Cyprus, Finland, and Italy.                                trafficking coordination council and regularly publish information on
                                                                               the government’s anti-trafficking efforts.

                                                                               PROSECUTION
 GEORGIA: TIER 1                                                               The government maintained law enforcement efforts. Articles 143-1
                                                                               and 143-2 of the criminal code criminalized sex trafficking and labor
                                                                               trafficking, and prescribed penalties ranging from seven to 12 years’
The Government of Georgia fully meets the minimum standards for the            imprisonment for offenses involving an adult victim, and eight to 12 years’
elimination of trafficking. The government continued to demonstrate            imprisonment for those involving a child victim. These penalties were
serious and sustained efforts during the reporting period, considering         sufficiently stringent and, with regard to sex trafficking, commensurate
the impact of the COVID-19 pandemic on its anti-trafficking capacity;          with those for serious crimes, such as rape. Law enforcement investigated
therefore Georgia remained on Tier 1. These efforts included providing         18 new cases, compared with 13 in 2020. Law enforcement also continued
comprehensive victim assistance, including robust pandemic mitigation          to investigate ﬁve cases from previous reporting periods. The government
efforts at government-run shelters. The government increased the               initiated the prosecution of ﬁve defendants and continued to prosecute
number of labor inspectors, developed guidelines for labor inspectors          ﬁve defendants from the previous reporting period, compared with the
to screen for indicators of forced labor, and updated a memorandum of          government initiating prosecution of eight defendants in 2020. Courts
understanding (MOU) to conduct joint inspections with law enforcement.         convicted ﬁve traffickers for forced labor, compared with 26 traffickers
The government created a new mobile group and crisis center in the             for child sex trafficking in 2020—stemming from a law enforcement
Adjara region for identifying potential victims among vulnerable children      operation in 2019—and three traffickers in 2019. Judges issued sentences
and amended the criminal code to allow the Ministry of Internal Affairs        from eight years’ imprisonment to 15 years’ imprisonment to three
(MOIA) to assign victim-witness coordinators to trafficking victims.           traffickers and sentenced two traffickers from one year and four months’
Although the government meets the minimum standards, it convicted              to one year and six months’ imprisonment with a 20,000 lari ($6,500)
fewer traffickers and identiﬁed the lowest number of victims since 2016.       ﬁne. The criminal code criminalized “abuse of services of a victim of
Police conducted some ad hoc raids on commercial sex establishments            human trafficking” but authorities had never investigated a suspect,
without a clear strategy on victim identiﬁcation, and authorities continued    particularly due to the difficulty in proving a suspect reasonably knew
to lack the knowledge to investigate and collect evidence in complex           or suspected a person was a trafficking victim.
cases involving ﬁnancial crimes, organized crime, and digital evidence.        The government maintained several specialized trafficking units,
Law enforcement required victims to remain in country through the              including the Anti-Trafficking and Illegal Migration Unit within the
end of the trial, likely hindering victim cooperation from foreign victims     Central Criminal Police Department (CCPD) and six mobile units under
wanting to repatriate, and judges have never awarded restitution in            MOIA. The Prosecutor General’s Office (PGO) maintained ﬁve specialized
criminal cases. The government did not adequately publicize public             prosecutors dedicated to trafficking cases and operated a task force with
assessments or information on its efforts and did not establish a work         MOIA in the Adjara region with specialized investigators and prosecutors.
permit system for migrant workers.                                             Mobile units and the task force proactively investigated trafficking and
                                                                               inspected hotels, bars, bathhouses, nightclubs, casinos, and other high-
                                                                               risk businesses; mobile units and the task force inspected 130 businesses
        GEORGIA TIER RANKING BY YEAR                                           (67 in 2020) which resulted in six criminal investigations, including two
    1                                                                          forced labor cases. CCPD updated an MOU between mobile units and
    2                                                                          labor inspectors to conduct joint inspections to identify forced labor.
  2WL                                                                          The Tbilisi City Court maintained seven specialized judges and the
                                                                               Tbilisi Court of Appeals maintained seven specialized judges assigned
    3
                                                                               to handle “crimes against human beings,” which included trafficking,
          2015      2016      2017     2018   2019   2020    2021    2022
                                                                               but the remaining 27 courts did not have specialized judges. In response
                                                                               to the pandemic, courts continued a small number of remote hearings
                                                                               and PGO equipped all offices with appropriate technical equipment
PRIORITIZED RECOMMENDATIONS:                                                   and software. Despite several convictions of labor traffickers, observers
Vigorously investigate, prosecute, and convict traffickers under Articles      reported the government lacked the knowledge and capacity to
143-1 and 143-2 of the criminal code. • Increase efforts to identify victims   investigate forced labor; and authorities continued to require training
proactively, particularly individuals in commercial sex, child laborers and/   on corroborating victim testimonies and evidence collection in complex
or children experiencing homelessness, and Georgian and foreign victims        cases involving ﬁnancial crimes, organized crime, and digital evidence.
in vulnerable labor sectors. •Increase resources to plan intelligence          Police raided some commercial sex establishments randomly rather
and evidence-led law enforcement operations with victim-centered               than conducting intelligence-led operations and observers reported
approaches. • Encourage victims’ participation in investigations and           a lack of transparency following police raids, including information on
prosecutions through victim-centered court procedures, including               what happened to the individuals in commercial sex. The government
remote testimony or funding for travel and other expenses for victims          did not report any investigations, prosecutions, or convictions of
to attend court hearings. • Implement procedures to improve the                government employees complicit in human trafficking crimes. All police
Permanent Group’s ability to identify victims consistently and accurately.     cadets received basic training on trafficking issues and the government,
• Improve law enforcement’s capacity to investigate complex cases,             with ﬁnancial and technical support from international organizations,
including advanced training on money laundering, organized crime,              trained investigators, mobile unit members, border patrol, prosecutors,
and digital evidence. • Further incorporate the Labor Inspectorate             labor inspectors, and witness and victim coordinators on various
into anti-trafficking efforts and increase its capacity and training to        anti-trafficking issues. The government submitted one mutual legal
identify victims. • Improve measures to order restitution for victims,         assistance request to Russia and received two mutual legal assistance
including training prosecutors and judges on asset seizure, and legal          requests from Kazakhstan.
assistance. • Establish procedures to license and monitor recruitment
agencies and create a work permit system for foreign migrant workers           PROTECTION
to prevent recruitment fees and other trafficking vulnerabilities. •           The government slightly increased protection efforts. The government
Increase the capacity and knowledge of civil society to identify and           identiﬁed four victims, compared with seven victims in 2020. All were

                                                                                                                                Haiti AR_000724              243
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 349 of 729
GEORGIA   victims of forced labor with two adult male victims, one boy, and one          of the operations and conditions, but experts reported that ASC-run
          girl. First responders used standard operating procedures (SOPs)               shelters focused more on victims of domestic violence due to the low
          for victim identiﬁcation, including the proper treatment of victims,           number of identiﬁed trafficking victims. ASC also operated six shelters
          screening for indicators, and victim-centered interview practices. The         and seven crisis centers for vulnerable children who were homeless or
          government also developed new guidelines and screening indicators              used the streets as a source of livelihood, including a new crisis center
          for labor inspectors on identifying victims of forced labor. Mobile            established in Batumi in October 2021.
          units and the task force screened 444 individuals in commercial sex,
                                                                                         The government provided equal services for Georgian citizen and
          begging, or employed in vulnerable sectors for trafficking indicators
                                                                                         foreign national victims and granted foreign victims renewable one-
          (467 individuals in 2020). Authorities interviewed an additional two
                                                                                         year residence permits with the ability to seek legal employment; no
          individuals deemed “high-risk” due to work at businesses that violated
                                                                                         victims required residence permits (ﬁve in 2020). The government
          labor standards (two in 2020). Authorities screened 624 Georgian
                                                                                         could provide repatriation assistance to Georgian victims returning to
          nationals deported from other countries for trafficking indicators at the
                                                                                         Georgia and foreign victims wishing to leave Georgia; no victims required
          international airport and border crossings (1,177 in 2020). The Agency
                                                                                         repatriation assistance in 2021 or 2020. The law required closed-door
          for State Care (ASC) also operated seven mobile groups responsible
                                                                                         sessions for court proceedings and allowed victims to leave the country
          for identifying potential victims among vulnerable children who were
                                                                                         pending trial; however, experts reported in practice, law enforcement
          homeless or used the streets as a source of livelihood, including a
                                                                                         required victims to remain in country through the end of the trial, likely
          new mobile group created in November 2021 in the Adjara region;
                                                                                         hindering victim cooperation, particularly from foreign victims wanting
          mobile groups assisted 245 children. While the government reported
                                                                                         to repatriate, due to slow court proceedings. Nine victims assisted law
          fewer inspections and interviews because of business and border
                                                                                         enforcement in 2021 (six in 2020). PGO’s victim-witness coordinators
          closures in response to the pandemic, observers reported a lack of
                                                                                         supported victims during proceedings, including legal and logistical
          government capacity to identify forced labor victims, and alleged
                                                                                         assistance, and measures to prevent re-traumatization. Additionally,
          that victim identiﬁcation efforts, particularly raids on commercial sex
                                                                                         the government amended the criminal code in June 2021 to allow
          establishments, were proven ineffective by the low number of identiﬁed
                                                                                         investigators to assign MOIA’s victim-witness coordinators to victims
          victims. Observers reported most identiﬁcation efforts were led by the
                                                                                         from the onset of an investigation; PGO and MOIA victim-witness
          government as civil society mostly did not work in anti-trafficking due
                                                                                         coordinators assisted eight victims and ten witnesses (12 victims and six
          to a lack of grants and programs.
                                                                                         witnesses in 2020). However, an international organization reported the
          A multi-disciplinary national referral mechanism (NRM) provided                lack of standardized interactions between MOIA and PGO victim-witness
          SOPs for official identiﬁcation and referral of victims to services.           coordinators, ASC, and other interlocutors likely created coordination
          Law enforcement officially recognized victims who participated                 issues. The law allowed recorded testimony or testimony by other
          in investigations and the Permanent Group assessed and officially              technological means; seven witnesses testiﬁed remotely (one victim
          recognized victims who declined to participate in investigations;              and three witnesses in 2020). The law also allowed the possibility of
          both recognitions granted victims access to the same protection and            placing a victim into the state’s witness protection program; no victims
          assistance services. The Permanent Group, composed of a ﬁve-member             required the use of witness protection in 2021 or 2020. Victims could
          board of NGO and international organization representatives, was               obtain restitution through criminal proceedings or compensation
          required by statute to convene and assess a potential victim within            through civil suits; however, judges have never awarded restitution in
          48 hours. Law enforcement officially recognized four victims (seven            criminal cases and only awarded compensation in civil suits to three
          in 2020) and the Permanent Group did not recognize any victims                 victims to date. Observers highlighted the failure to freeze and seize
          (three victims in 2020). GRETA, OSCE, and other experts reported the           criminal assets as an obstacle to pursuing restitution from traffickers.
          threshold to obtain official victim status through the Permanent Group
          was high and shifted the burden of proof to victims. Nonetheless, an           PREVENTION
          international organization reported the work of the Permanent Group            The government maintained prevention efforts. The Inter-Agency
          improved after the government amended its procedures in 2019.                  Council on Combatting Trafficking in Persons (TIP Council) composed of
                                                                                         representatives from various ministries, the international community, and
          ASC-run crisis centers in five cities and NGOs provided initial
                                                                                         civil society, worked and met virtually, and monitored the implementation
          psychological care, medical assistance, legal support, and temporary
                                                                                         of the 2021-2022 National Action Plan. The TIP Council published
          shelter for potential victims awaiting official victim status. Additionally,
                                                                                         information and statistics on anti-trafficking efforts on the Ministry of
          ASC operated anti-trafficking shelters in Tbilisi and Batumi and other
                                                                                         Justice’s website; however, observers continued to report the TIP Council
          victim assistance programs for official victims. The government allocated
                                                                                         did not provide public assessments of government efforts and lacked
          400,000 lari ($130,080) to the government-run anti-trafficking shelters,
                                                                                         transparency. PGO managed a working group on forced labor, which met
          compared with 760,746 lari ($247,400) in 2020. ASC-run shelters
                                                                                         once in both 2021 and 2020. While the government organized a mock
          provided medical aid, psycho-social support, legal assistance, childcare
                                                                                         court competition for students and awareness campaigns targeting
          services, reintegration support, and a one-time ﬁnancial payment of
                                                                                         students and the public, an international organization continued to
          1,000 lari ($325) to victims; ﬁve received support and two received
                                                                                         report Georgian authorities were reluctant to implement large-scale
          1,000 lari ($325) in cash assistance. In April 2021, the government
                                                                                         awareness campaigns in major cities due to the negative impact they
          amended the law to remove a clause that denied victims the 1,000
                                                                                         believed it would have on the tourism industry. MOIA continued to
          lari ($325) cash assistance if they received restitution. Child victims
                                                                                         operate an anti-trafficking hotline and the State Fund also operated
          received the same specialized assistance, in addition to custodial care,
                                                                                         an anti-trafficking hotline; the MOIA hotline received 22 calls related
          education, and family reintegration programs. ASC-run shelters were
                                                                                         to trafficking (46 in 2020) and the State Fund hotline received 24
          staffed by a nurse and psychologist and offered separate areas for
                                                                                         calls (32 in 2020).
          men, women, and children. Victims can initially stay at the shelter for
          three months, which authorities may extend upon the victim’s request;          The Law on Labor Safety entered into force in September 2019 and
          the government-run shelters accommodated nine victims (nine in                 expanded occupational safety and health standards and regulations,
          2020). Shelter staff chaperoned victims when leaving the shelter, but          including unannounced inspections. In January 2021, the government
          victims could request to leave the shelter unchaperoned. ASC-run               established the Labor Inspection Service with 60 labor inspectors,
          shelters provided personal protective equipment, disinfectants, and            including a special unit for forced labor and labor exploitation, and
          COVID-19 tests, and adopted social distancing measures, including              increased the number of inspectors to 78 by the end of 2021. Labor
          a space for victims to quarantine for 14 days before moving to the             inspectors inspected 140 businesses (120 in 2020) and referred one
          shelter. ASC-run shelters also organized an epidemiologist to train            case of alleged forced labor to CCPD (none in 2020). The government
          staff members on victim assistance during the pandemic and created             did not have a work permit system for migrant workers nor did it license
          an online platform to offer virtual legal and psychological assistance.        and monitor recruitment agencies. The Ministry of Internally Displaced
          In previous years, experts reported an inability to assess the quality of      Persons, Labor, and Health and Social Affairs required intermediary
          services at ASC-run shelters due to a lack of independent evaluations          companies in Georgia, assisting Georgian citizens in ﬁnding employment

 244                                                                                                                                 Haiti AR_000725
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 350 of 729




                                                                                                                                                             GERMANY
abroad, to submit annual reports and register activities. The government     established a voluntary certiﬁcate program for private health care
issued intermediary companies that did not register an activity a ﬁne        recruitment agencies that required labor law compliance. Although
of 1,000 lari ($325) and a ﬁne of 300 lari ($98) for failing to submit       the government meets the minimum standards, judges continued to
an annual report; 11 companies were ﬁned (ﬁve in 2020). Due to the           issue lenient sentences, resulting in 66 percent of convicted traffickers
pandemic, the government chartered ﬂights to help return stranded            receiving fully suspended sentences, ﬁnes, or less than one year’s
Georgian migrant workers and extended the right to legal stay for all        imprisonment, which undercut efforts to hold traffickers accountable,
foreign migrants legally in Georgia until July 30, 2021. The government      weakened deterrence, created potential security and safety concerns
did not reduce the demand for commercial sex acts.                           for victims, and was not equal to the seriousness of the crime. The
                                                                             government remained without a national victim identiﬁcation and
TRAFFICKING PROFILE                                                          referral guideline for all forms of trafficking, which may have hindered
As reported over the past ﬁve years, human traffickers exploit domestic      victim identiﬁcation, particularly of refugees and asylum-seekers. The
and foreign victims in Georgia, and traffickers exploit victims from         government did not report awarding compensation to any victims during
Georgia abroad. Traffickers recruit victims with false promises of well-     the reporting period, and restitution for victims remained rare. Shelter
paying jobs in tea processing plants, hospitals, salons, restaurants,        and NGO funding for victim care and assistance remained insufficient,
and hotels. Traffickers exploit women and girls from Georgia in sex          and the government did not report whether it provided sufficient training
trafficking within the country, and in Cyprus, Egypt, Turkey, and the        to judges who adjudicated trafficking cases.
United Arab Emirates (UAE). Georgia is also a transit country for
women from Kyrgyzstan, Tajikistan, and Uzbekistan exploited in Turkey.
                                                                                     GERMANY TIER RANKING BY YEAR
Traffickers exploit women from Central Asia, particularly Kyrgyzstan and
                                                                                 1
Uzbekistan, in sex trafficking in the tourist areas of the Adjara region
and larger cities like Tbilisi and Batumi in saunas, brothels, bars, strip       2
clubs, casinos, and hotels. Georgian men and women are exploited in            2WL
forced labor within Georgia and in Cyprus, Egypt, Turkey, and UAE.
                                                                                 3
Georgian, Romani, and Kurdish children are subjected to forced begging                 2015      2016     2017      2018   2019    2020    2021    2022
and sometimes coerced into criminality in Georgia. Traffickers adapt
operations to the impacts of the pandemic and shift recruitment and
advertisement tactics to online means, such as communicating through
chats, and establishing websites and advertisements for escort services.     PRIORITIZED RECOMMENDATIONS:
Additionally, traffickers exploit victims in private apartments rather       Vigorously investigate and prosecute suspected labor and sex traffickers
than public facilities, such as brothels and strip clubs due to pandemic     and sentence convicted traffickers to adequate penalties, which should
mitigation measures. People’s Republic of China (PRC) national women         involve serving signiﬁcant prison terms. • Ensure equitable treatment of
in commercial sex and Southeast Asian women working in massage               victims by creating a national identiﬁcation and referral guideline for all
parlors are vulnerable to sex trafficking. Georgian, Romani, and Kurdish     forms of trafficking across all states. • Increase awareness and availability
children, in addition to children of Armenian refugees and children of       of robust human trafficking training courses for judges that adjudicate
internally displaced persons (IDPs) from South Ossetia and Abkhazia,         trafficking cases in order to sensitize judges to the severity of trafficking
who were homeless or used the streets as a source of livelihood are          crimes. • Ensure systematic and continuous anti-trafficking training for
vulnerable to trafficking, particularly forced begging.                      immigration officers to increase proactive victim identiﬁcation among
                                                                             foreign migrants and asylum-seekers. • Ensure systematic provision of
RUSSIA-OCCUPIED REGIONS OF ABKHAZIA AND                                      care for child victims and extend more specialized care, services, and
SOUTH OSSETIA                                                                sufficient accommodations for male victims. • Increase awareness of
Russia-occupied regions of Abkhazia and South Ossetia remained               and trafficking survivor access to damages and compensation and
outside of Georgian government control and de facto authorities were         increase prosecutor’s efforts to systematically request restitution
supported by Russian forces. Russia and Abkhaz de facto authorities          for survivors during criminal trials. • Adopt a national anti-trafficking
limited the ability of international organizations to operate in Abkhazia,   action plan (NAP) for all forms of trafficking. • Increase the capacity
although international organizations had greater ability to operate there    of investigators, prosecutors, and courts with speciﬁc expertise on
than in South Ossetia. As a result, no information was available about       trafficking cases to minimize delays in bringing cases to trial and consider
the presence of trafficking and the Abkhaz and South Ossetian de facto       additional dedicated human trafficking units. • Increase prioritization
authorities’ efforts to combat trafficking. However, NGOs consider IDPs      of labor trafficking, including victim identiﬁcation and investigation
from these occupied territories particularly vulnerable to trafficking.      and prosecution of labor traffickers. • Increase worker protections
Separately, some observers report anecdotal evidence of migrants             by eliminating recruitment or placement fees charged to workers by
being subjected to forced labor and DPRK workers in Abkhazia may             German labor recruiters and ensuring employers pay any recruitment
have been forced to work by the DPRK government.                             fees. • Implement effective regulations and oversight of recruitment
                                                                             companies and industries comprised predominantly of migrant workers,
                                                                             which are consistently enforced, including prosecution for fraudulent
                                                                             labor recruitment and labor trafficking. • Appoint a national rapporteur
 GERMANY: TIER 1                                                             to provide independent review of government efforts on both labor and
                                                                             sex trafficking. • Establish a uniform and comprehensive data collection
The Government of Germany fully meets the minimum standards for              system, including publicly available disaggregated data on sentencing
the elimination of trafficking. The government made key achievements         where courts convict defendants of both trafficking and one or more
to do so during the reporting period, considering the impact of the          other serious crimes. • Appoint a national coordinating body, responsible
COVID-19 pandemic on its anti-trafficking capacity; therefore Germany        for both sex and labor trafficking, to increase harmonization of the
was upgraded to Tier 1. These achievements included prosecuting and          institutional framework and coordination structures at the federal and
convicting more traffickers, as well as increasing law enforcement efforts   state levels. • Increase survivor engagement, including by establishing
on labor trafficking compared with the prior year. With the opening of       accessible mechanisms for receiving and providing compensation for
an additional counseling center in 2021, trafficking-speciﬁc NGO service     survivor input when forming policies, programs, and trainings. • Increase
providers operated in all 16 states. In 2021, one state established a        efforts to pursue ﬁnancial crime investigations in tandem with human
new trafficking-speciﬁc prosecutor’s office, and another state opened        trafficking cases.
two new safe houses for male victims, although accommodations
overall remained inadequate. The government increased funding for            PROSECUTION
victim services and established an inter-ministerial framework on labor      The government increased law enforcement efforts, although judges’
trafficking with NGO-run victim care providers. The government also          sentencing of convicted traffickers remained lenient. The criminal code

                                                                                                                                  Haiti AR_000726            245
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 351 of 729
GERMANY
          criminalized sex trafficking and labor trafficking under Sections 232,        are considered the ﬁrst in the world for international crimes committed
          232(a), 232(b), 233, and 233(a) and prescribed punishments of six             against the Yezidi population. An additional trial of another suspect
          months to 10 years’ imprisonment, which were sufficiently stringent and,      began in January 2022, and an arrest of another Islamic State member
          with regard to sex trafficking, commensurate with penalties prescribed        charged with trafficking among other crimes occurred in March 2022.
          for other serious crimes, such as rape. The law did not require proof of      The government did not report any investigations, prosecutions, or
          force or coercion to prosecute suspected sex traffickers when victims         convictions of officials complicit in human trafficking crimes.
          were younger than 21. State law enforcement completed 325 pre-trial
                                                                                        The complex wording and scope of the trafficking and exploitation
          trafficking investigations of 421 suspects in 2020, the most recent
                                                                                        sections in the criminal code (Sections 232 to 233a) reportedly resulted
          year for which the government had comprehensive statistics; this was
                                                                                        in state prosecutors sometimes charging suspected traffickers with
          similar to 313 investigations into 472 suspects in 2019 but less than 386
                                                                                        offenses considered easier to prove than coercion in labor and sex
          investigations into 602 suspects in 2018. Of the 2020 investigations,
                                                                                        trafficking. Furthermore, the MOJ-funded study concluded the amended
          there were 291 for sex trafficking and 34 for labor trafficking, including
                                                                                        Sections 232 to 233(a) had not achieved the desired impact on the
          four for forced begging and eight for forced criminality. In 2021, German
                                                                                        criminal prosecution of human trafficking. Speciﬁcally, the study found
          law enforcement and international partners (including Europol and
                                                                                        the following results: there was no signiﬁcant increase in prosecutions or
          Slovakia) conducted at least six targeted operations against Vietnamese
                                                                                        convictions compared with previous trafficking statutes, the provisions
          criminal organizations involved in human trafficking and smuggling,
                                                                                        were confusing and relied almost exclusively on victim testimony, and
          resulting in the arrest of at least six suspects and the identiﬁcation of
                                                                                        the government had not introduced sufficient structural changes to
          at least 13 victims.
                                                                                        effectively enforce the expanded provisions, resulting in prosecutors
          For each case in which a court convicted a defendant of multiple crimes,      charging and convicting traffickers for other crimes. As a federal system,
          the government recorded it only under the charge with the highest             jurisdictions for criminal prosecutions in Germany rested with state
          statutory sentence; therefore, reported statistics did not include cases      courts and, consequently, procedures, staffing, and funding varied from
          in which the court convicted a defendant of trafficking and where that        state to state. The government reported some investigations and court
          defendant received an aggregate sentence for another crime that               hearings were delayed in 2020 due to pandemic-related restrictions,
          carried a higher statutory sentence. Current data collection classiﬁcation    staff shortages, and capacity issues. Law enforcement also reported
          and procedures, in addition to strict privacy laws, continued to result       some cases were hindered because victims were unwilling to testify in
          in incomplete data and underreporting. This likely lowered both the           person during the pandemic.
          reported number of trafficking convictions and the average length of
                                                                                        Frequent turnover, insufficient personnel, and limited dedicated
          sentences. To obtain a more complete understanding of its efforts, the
                                                                                        trafficking resources hindered law enforcement efforts, sometimes
          government provided prosecution and conviction statistics for trafficking
                                                                                        leading to protracted court cases that were ultimately dismissed due to
          cases when it was both the primary charge as well as cases when it was
                                                                                        the statute of limitations or the unwillingness of victims to participate in
          the secondary charge. Total prosecutions for 2020 were at least 262,
                                                                                        prolonged proceedings. NGOs asserted that in some cases, it took police
          an increase compared with at least 215 total prosecutions for 2019. In
                                                                                        ﬁve to eight years to address cases reported to them; furthermore, slow
          2020, state prosecutors prosecuted 128 defendants with trafficking
                                                                                        law enforcement proceedings often had a negative impact on witness
          as the primary charge and at least 139 suspects with trafficking as the
                                                                                        testimony. The federal criminal police (BKA) had dedicated human
          secondary charge. The total number of convictions for 2020 was 224,
                                                                                        trafficking investigators. Most, but not all, states had dedicated anti-
          an increase compared with 195 in 2019. Courts convicted 85 traffickers
                                                                                        trafficking investigation units, and a couple of states had specialized
          with trafficking as the primary charge and 139 traffickers with trafficking
                                                                                        prosecutors; in August 2021, an additional state, Munich, established a
          as the secondary charge in 2020.
                                                                                        specialized prosecutor’s office for human trafficking. Prosecutors with
          The government only provided sentencing statistics for convictions            experience assisting victims through trial processes frequently led sex
          with trafficking as the primary charge. Of the 85 traffickers convicted in    trafficking cases; however, labor trafficking cases were more often
          2020 with trafficking as the primary charge, 66 percent (56 traffickers)      assigned to ﬁnancial, economic, or organized crime sections that lacked
          received either a fully suspended sentence (33 traffickers), a ﬁne (15        similar experience. Through a public-private partnership, a working group
          traffickers), or less than one year of imprisonment (eight traffickers),      focused on ﬁnancial ﬂows related to human trafficking and developed
          compared with 72 percent of traffickers convicted with trafficking as         a handbook on trafficking, but it did not report any investigations or
          the primary charge receiving such lenient sentences in 2019. Only 34          concrete results stemming from this partnership.
          percent of convicted traffickers (29) received signiﬁcant prison sentences
                                                                                        The government and state-funded NGOs continued to organize and
          of more than one year imprisonment (compared with 28 percent in
                                                                                        provide training to law enforcement officials, although civil society
          2019). Judges typically suspended sentences under two years for most
                                                                                        recommended increased labor trafficking training, speciﬁcally with
          crimes, including human trafficking, particularly for ﬁrst-time offenders.
                                                                                        regard to identifying migrant workers as trafficking victims. The NGO-run
          However, this practice weakened deterrence, potentially undercut efforts
                                                                                        Service Center against Labor Exploitation, Forced Labor and Trafficking
          of police and prosecutors, and created potential security and safety
                                                                                        in Human Beings (Servicestelle) reported providing 16 trainings to
          concerns, particularly for victims who cooperated with investigations
                                                                                        300 participants and the BKA, and various government-funded NGOs
          and prosecutions.
                                                                                        reported delivering extensive trainings, both online and in-person, to a
          Prioritization of labor trafficking remained a concern during the reporting   variety of officials, including for asylum-center workers, law enforcement
          period, and law enforcement efforts remained low compared with the            officers, immigration officers, Federal Custom’s Financial Control of
          suspected scale. However, according to the data available for 2020,           Illegal Work Directorate (FKS) officials, shelter staff, and prosecutors. The
          under Section 232 (b) for forced labor, there were 34 investigations, 14      German Judicial Academy, a national advanced training facility for judges
          prosecutions, and ﬁve convictions for forced labor, an increase compared      and public prosecutors, reported offering an advanced human trafficking
          with 26 investigations and zero prosecutions or convictions for forced        course in 2021 but did not report how many judges or prosecutors
          labor in 2019. However, sentences for labor trafficking remained lenient,     attended. The BKA maintained an information portal for federal and
          and convicted traffickers only received ﬁnes or suspended sentences           state police forces with information on current trends, guidelines, and
          in 2020. The Ministry of Justice (MOJ) funded a study of criminal             investigative tools for combating trafficking. The Servicestelle also
          code Sections 232 to 233a, as amended in 2016, which was published            maintained an online platform that provided access to information on
          in September 2021. The study concluded that to effectively address            guidelines, agreements, and counseling centers for victims. Federal and
          forced begging and criminality, law enforcement would need additional         state-level police continued to collaborate with EUROPOL on joint action
          specialized training and an agency would need to be assigned speciﬁc          days and in EU-funded programs, as well as bilaterally with Hungary,
          responsibility; it also found that, in general, there was an insufficient     Kosovo, Poland, Romania, Slovakia, Spain, and Turkey on international
          amount of trafficking-specialized professionals. Notable cases during         trafficking investigations, which resulted in the arrest of 400 suspects
          the reporting period included the 2021 convictions, with signiﬁcant           and identiﬁcation of 187 potential trafficking victims both in Germany and
          sentences, of ﬁve Islamic State members accused of enslaving Yezidi           in participating countries across Europe. The government also reported
          women and children; the trials and convictions conducted in Germany           hosting a workshop on assisting victims, investigating, and prosecuting
 246                                                                                                                                  Haiti AR_000727
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 352 of 729




                                                                                                                                                                 GERMANY
labor trafficking in the Baltic Sea Region, which was attended by 40            collated via a government-funded data tool, evaluating victims’ access
professionals from eight countries.                                             to government-sponsored services and beneﬁts based on information
                                                                                received from 16 of its 39 member organizations. The KOK reported
PROTECTION                                                                      that from January 2020 to June 2021, government-funded counseling
The government increased protection efforts. In 2020, the most recent           centers provided victims of trafficking and exploitation a variety of
year for which comprehensive statistics were available, state government        services: psycho-social support (613), information on victim rights
authorities, who are responsible for protection efforts, identiﬁed 494          (588), crisis intervention (424), support during asylum proceedings
trafficking victims, the same as in 2019 and similar to 503 identiﬁed           (421), assistance with documentation (360), support during residence
victims in 2018. Government-funded NGOs identiﬁed 820 trafficking               permit proceedings (346), assistance accessing a means of subsistence
victims from January 2020 to June 2021 (compared with 987 in 2019);             (323) and obtaining compensation or back wages (86), referral and
however, these victims may also have been counted in the government             accompaniment to medical appointments (253), support during criminal
statistics, making the total number of identiﬁed victims uncertain, and         proceedings (75), and referral to training and education (104), literacy
the timeframe did not allow for a comparison to prior year efforts. Of          and language courses (265), and employment (49). In 2021, due to the
the government-identiﬁed victims, 406 were victims of sex trafficking           pandemic, some shelters and counseling centers operated at limited
(427 in 2019), and 88 were victims of labor trafficking (67 in 2019),           capacity, and NGOs noted difficulty in ﬁnding open spaces for victims at
which included four forced begging victims (one in 2019) and 11 forced          shelters, especially with the increased occurrence of domestic violence
criminality victims (23 in 2019). Almost all sex trafficking victims were       during the pandemic. NGOs reported moving some victim assistance
female (94 percent), and of those whose age was known, 42 percent               services to a virtual platform to adapt to the pandemic; however, this
were younger than 21. The majority of identiﬁed sex trafficking victims         may have limited access for some victims without internet or who
were from Germany (131), Romania (68), and Bulgaria (56). In 2020, the          did not speak German, especially when victims were also required to
majority of labor trafficking victims were from Romania and Zimbabwe,           submit paperwork online.
eight were younger than 21, and most labor trafficking victims were
                                                                                The government provided victim services primarily through the state-
identiﬁed in the construction sector. Police continued to proactively
                                                                                funded and NGO-operated Servicestelle and its affiliated counseling
identify the majority of trafficking victims. In its 2019 report, GRETA noted
                                                                                centers and advice centers, which specialized in assisting labor trafficking
that the official ﬁgures of identiﬁed trafficking victims did not reﬂect
                                                                                victims, foreign migrants, and refugees. The KOK comprised 42 member
the true scale of human trafficking in Germany due to the absence of
                                                                                organizations, including specialist counseling centers, migrant projects,
a comprehensive and coherent approach to detecting and identifying
                                                                                and women’s shelters; KOK acted as a convening and coordinating entity
victims, including among migrants and asylum-seekers, problems with
                                                                                for anti-trafficking NGOs. This model allowed victims to obtain support
data collection, and insufficient prioritization of labor trafficking. Some
                                                                                without the need to interact with law enforcement, which officials
NGOs reported the number of sex trafficking victims increased following
                                                                                found increased the likelihood victims would seek assistance. In 2021,
the implementation of the 2016 commercial sex law, while other NGOs
                                                                                national government funding for the KOK’s management operations
continued to express concern that trafficking victims would either not
                                                                                was €506,000 ($573,700), similar to €500,000 ($566,890) in 2019
register or register without disclosing trafficking crimes; despite this,
                                                                                and 2020, and an additional €199,600 ($226,300) went to an NGO for
sex trafficking victim identiﬁcation did not correspondingly increase.
                                                                                anti-trafficking projects. The government also allocated approximately
The government did not have a single national victim identiﬁcation or           €271,000 ($307,260) to the NGO that operated the Servicestelle, the
referral guideline to address all forms of trafficking, and both children       same as in 2020. State governments supported trafficking victims and,
and adults remained without systematic provision of care. At the federal        in 2021, allocated at least €5.91 million ($6.70 million), including some
level, there were procedures in place to identify and refer victims to          additional funding for pandemic-related costs, to human trafficking
care, but most victim care was handled at the state level. NGOs noted           NGOs, compared with €3.3 million ($3.74 million) in 2020. However,
a national mechanism did not appear to be as high a priority for the            civil society reported staffing and funding were insufficient for their
government compared with other issues. However, there was a national            operational needs and were further exacerbated by pandemic-related
identiﬁcation and cooperation strategy for children and plans to establish      expenses, requiring a dependence on private donations; the expansion
national referral procedures for labor trafficking, though the government       of trafficking-speciﬁc mandates without allotting additional resources
did not report any outcomes by the end of the reporting period. The             created challenges for adequate victim care. Civil society noted many
government continued to fund an NGO charged with the implementation             rural areas continued to lack trafficking-speciﬁc resources. Government-
of the cooperation strategy for children, which reported establishing a         funded NGO counseling centers served both labor and sex trafficking
total of eight networks in six states and providing training to government      victims, although many centers only had a mandate to work with female
officials and practitioners to establish anti-trafficking and exploitation      sex trafficking victims. With the opening of a government-funded
roundtables. Each state had a separate system to refer victims to either        counseling center in Thuringia, trafficking-speciﬁc NGO service providers
state-run support or NGOs, and several states had written identiﬁcation         operated in 45 cities and in all 16 states, providing shelter, medical and
guidelines. Several government-funded NGOs continued to distribute              psychological care, legal assistance, vocational support, and assistance
trafficking identiﬁcation and indicator brochures, one of which included        acquiring residence permits. Beginning in 2021, victims were entitled
speciﬁc indicators for forced begging and forced criminality. Thirteen          to between 15 and 18 sessions of emergency aid in outpatient trauma
of 16 states also had formal cooperation agreements in place between            clinics. However, a civil society organization reported many trafficking
police and NGOs for various purposes, but not all included all forms            victims were not covered by the government’s health care system and
of trafficking, such as labor trafficking, forced begging, and forced           those who were covered typically received treatment by health care
criminality. Authorities reported pandemic-related restrictions and staff       workers who were not trained to identify trafficking victims. Furthermore,
shortages in 2020 made identifying sex trafficking victims particularly         civil society noted that shelter for all trafficking victims was severely
difficult, as many traffickers adapted and moved to online platforms.           deﬁcient and lacked national harmonization. There was limited long-
Workplace closures and further physical isolation due to the pandemic           term or comprehensive support, including shelter, within these centers
also made the identiﬁcation of labor trafficking victims more difficult.        for children, transgender females, and male trafficking victims; civil
Requests for assistance and instances of labor exploitation and trafficking,    society noted, while there was more availability for female victims,
especially in agriculture, signiﬁcantly increased; however, NGOs reported       accommodation for men was ad hoc and children lacked specialized
continued difficulty accessing workers in factories and on farms due to         shelter that catered to the needs of trafficking victims. Overall availability
pandemic-related restrictions.                                                  of services and shelters was inconsistent or inadequate depending
                                                                                on the state. While North Rhine-Westphalia opened two new safe
While the government did not report comprehensive data or the total
                                                                                houses for male victims in 2021 and several states increased funding for
number of victims that received care, it did report that of the 406
                                                                                additional shelters, NGOs continued to note they had to deny shelter
identiﬁed sex trafficking victims, at least 130 received care, including 92
                                                                                to some male victims in 2021 due to capacity constraints. A 2021 KOK
from specialized counseling centers and 38 from youth welfare offices,
                                                                                study analyzed court rulings from 2017 to 2021, including trafficking
similar to 116 assisted in 2019. In 2021, the government-funded Network
                                                                                cases, and concluded that access to social beneﬁts and assistance was
against Trafficking in Human Beings (KOK) published its ﬁrst report,
                                                                                                                                   Haiti AR_000728               247
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 353 of 729
GERMANY   strongly correlated with preventing re-trafficking of victims, which the          implemented uniformly and sometimes judges did not dismiss suspects
          pandemic made more apparent.                                                      from the courtroom before victim testimony. NGOs also reported
                                                                                            instances of law enforcement and judges lacking a victim-centered
          The Federal Agency for Migration and Refugees (BAMF) continued to
                                                                                            and trauma-informed approach, where victims were interrogated like
          utilize its standard operating procedures and trafficking indicator lists
                                                                                            criminals or judged for becoming trafficking victims. Furthermore, the
          to identify potential victims in the asylum protection system and made
                                                                                            2021 MOJ-funded study concluded that the 2016 changes to the criminal
          referrals to counseling centers, though NGOs continued to suggest
                                                                                            code, which were partially intended to decrease the importance of victim
          needed improvements in victim identiﬁcation. Each BAMF branch
                                                                                            and witness testimony, were largely unsuccessful. State prosecutors
          office included at least one representative to assist in identifying and
                                                                                            remarked that an understanding of trauma, trafficking-speciﬁc victim
          supporting potential trafficking victims. A November 2020 NGO policy
                                                                                            interviewing training, protection from deportation, and early access
          paper concluded that BAMF officers required additional training and
                                                                                            to a psychologist and legal assistance were necessary for successful
          resources to manage their workloads. While the government reported
                                                                                            prosecution of trafficking cases.
          screening foreign migrants and asylum-seekers for trafficking indicators,
          and identiﬁed victims were entitled to social beneﬁts and deportation             While the law allowed for compensation from the government, it
          relief, unidentiﬁed victims remained vulnerable and could be deported             could only be awarded to victims who had experienced direct physical
          to their ﬁrst country of EU entrance without ﬁrst receiving protection            violence, and the government did not report awarding compensation
          services. The government occasionally returned trafficking victims                to any victims during the reporting period. Though the government
          seeking to transfer asylum claims to Germany to their original arrival            amended the Victims of Crime Act in November 2019 to address the
          country, which sometimes included their traffickers. NGOs reported                requirement of physical violence and expand protections to include
          that sometimes potential labor trafficking victims were treated like              psychological violence, the amendments will not enter into force until
          criminals based on their lack of documentation or deported prior to               January 2024. The government continued to lack comprehensive
          being screened or given the opportunity to claim compensation for                 statistics on restitution and damages awarded to victims and did not
          lost wages. Counseling centers reported specialized trafficking BAMF              require prosecutors to systematically request restitution during criminal
          officers were not always involved or included in deportation hearings.            trials; despite this, it reported awarding restitution to between two and
          Civil society noted non-specialized immigration and police officers               ﬁve trafficking victims during the reporting period (compared with two
          rarely identiﬁed trafficking victims among the asylum-seeking and                 victims awarded restitution in the prior reporting period). NGOs and
          migrant populations, even when victims directly referenced trafficking            GRETA reported victims were not systematically informed of their rights.
          experiences, especially if NGOs or counseling centers were not involved.          Despite the government’s law enforcement action against Vietnamese
          NGOs reported pandemic-related hearing delays for asylum and refugee              criminal organizations and focus on identifying Vietnamese trafficking
          cases in 2020 caused a backlog for 2021 and delays in beneﬁts for                 victims during the reporting period, civil society reported assisting few
          applicants; NGOs also reported pandemic restrictions prevented them               Vietnamese victims and questioned whether victims were systematically
          from accompanying some victims to their hearings. Counseling centers              informed of their rights. Section 154(c) of the German Code of Criminal
          could identify and refer trafficking victims to services; however, they           Procedure exempted victims from prosecution for minor criminal
          continued to report that BAMF officers often disagreed with their                 offences that traffickers compelled them to commit; however, the 2021
          identiﬁcations and deported the victim anyway. Similar to prior years,            MOJ-funded study concluded prosecutors rarely used section 154(c)
          federal courts continued to overturn BAMF’s deportation decisions,                because they preferred to use more familiar sections of the criminal
          including at least one case for deporting an individual to an unsafe              code, which lacked the trafficking-speciﬁc language of 154(c). The
          country of origin and another case for failure to provide entitled services.      report recommended required mandatory use of Section 154(c) when
          A government-funded, but civil society-led, working group endeavored              interacting with trafficking victims. NGOs reported that undocumented
          to create and implement measures to identify vulnerable migrants and              victims often fear obtaining medical care or submitting a claim for lost
          refugees at the earliest point and reported ﬁeld testing its measures at          wages because Section 87 of the German Residency Act required public
          two reception centers and two psychological centers, but results were             entities to report undocumented persons. The government offered
          not available by the end of the reporting period. Prosecutors, together           witness protection as needed, and police would accompany witnesses
          with other authorities, offered undocumented victims a reﬂection period           to trials; in 2021, the government provided a total of eight trafficking
          of three months to decide if they would testify in court. However, NGOs           victims witness protection, compared with 13 in 2020.
          noted the reﬂection period was not uniformly or adequately applied and
          urged investigators to increase efforts to inform victims of their rights.        PREVENTION
          Victims who agreed to testify were eligible for temporary residence               The government increased efforts to prevent trafficking. Germany
          permits, which allowed them to remain and work in Germany through                 remained without a NAP for all forms of trafficking; however, the
          the duration of the trial; however, the government did not report how             government had a draft strategy to combat labor trafficking, which
          many victims received permits. The law provided legal alternatives to             it continued to implement. The government had three federal-state
          removal to countries in which victims would face retribution or hardship.         interagency working groups that coordinated with each other and
          After the completion of their trafficker’s trial, the law granted officials the   addressed all forms of trafficking. The Federal Ministry for Families,
          authority to issue residence permits to victims in cases of humanitarian          Seniors, Women, and Youth (BMFSFJ) coordinated human trafficking
          hardship, for public interest, or for those who faced injury or threats to        efforts at the international level and national efforts on sex trafficking,
          life or freedom in their countries of origin; however, GRETA noted there          while the Federal Ministry of Labor and Social Affairs coordinated
          were signiﬁcant discrepancies from state to state in the application of           efforts on labor trafficking. The government working groups met six
          the law. Family members of foreign trafficking victims were eligible for          times in 2021 to discuss a variety of anti-trafficking efforts, including
          residency in certain circumstances.                                               anti-trafficking legislative priorities, increasing high-level prioritization of
                                                                                            labor trafficking, and improving identiﬁcation and specialized assistance
          The law entitled victims to an interpreter and a third-party representative
                                                                                            for child trafficking victims. In July 2021, the government reported
          from a counseling center to accompany them to all interviews. Subject to
                                                                                            establishing a framework agreement between certain Federal Ministries,
          certain requirements, victims could join criminal trials as joint plaintiffs
                                                                                            law enforcement agencies, and social partners. The framework agreement
          and were entitled to free legal counsel, a psychological assistant, an
                                                                                            focused on labor trafficking prevention, establishing a referral mechanism,
          interpreter, and the pursuit of civil remedies as part of the criminal
                                                                                            and improving access to services for labor trafficking victims. NGOs
          proceeding. In November 2021, the government released a guide for
                                                                                            provided trainings under the auspices of the framework and noted
          child-friendly criminal proceedings and interactions. The law allowed
                                                                                            improved coordination and increased identiﬁcation of labor trafficking
          victims to submit video testimony; however, NGOs reported not all
                                                                                            victims as a result of the closer working relationship with law enforcement.
          states had the required equipment for video testimony. The government
                                                                                            The government ﬁnalized the concept for a national rapporteur—a key
          took measures to lessen the burden on victims and their potential
                                                                                            recommendation of GRETA’s 2019 and 2015 reports; however, it was
          re-traumatization by trying to reduce the number of times they had
                                                                                            not yet operational. Civil society recommended increased high-level
          to testify in trials and, sometimes, not requiring them to testify at all.
                                                                                            prioritization of all forms of trafficking.
          However, civil society noted that these victim protections were not

 248                                                                                                                                        Haiti AR_000729
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 354 of 729




                                                                                                                                                             GERMANY
The Youth Protection Act became effective in May 2021, which increased        reported identifying trafficking victims in each instance. In January 2021,
preventative protections for children against cyber grooming and              a new law came into force prohibiting short-term contracts for migrant
potential sex trafficking. The government continued to publish its annual     workers in the meat industry; while its goal was to increase migrant
report on human trafficking and funded several studies, conducted             worker protections, civil society reported some exploitation structures
by NGOs over the reporting period; studies included topics like the           remained. Additionally, in June 2021 the government signed a bilateral
forced labor of Vietnamese victims, trafficking victims’ rights in criminal   labor agreement with the Government of Moldova, which focused on the
proceedings, the implementation of the reﬂection and stabilization            protection of seasonal agricultural workers and prohibited employers
period, non-penalization legislation, the impact of the pandemic on           from charging recruitment fees to workers, as well as included detailed
sex trafficking, and others. In 2021, the federal government continued        plans for oversight. Private labor recruiters did not require a license to
awareness campaigns, some of which were launched in prior years: one          operate. However, in June 2021, the government established a voluntary
campaign focused on violence against women but included information           certiﬁcate that health care recruiting companies could obtain if they
on sex trafficking, one focused on various forms of child exploitation,       complied with all labor and employment laws. The government reported
and another focused on trafficking in the asylum system. At least three       that of the approximately 150 eligible private recruitment agencies in
states conducted regional campaigns: one was a sex trafficking campaign       Germany, 130 participated in the certiﬁcate process and 27 had already
continued from the prior year and included the distribution of 1,700          been licensed. Licensed companies were obliged to comply with the
posters and advertising on public transportation and at schools; one was      quality certiﬁcate, which was monitored, and ﬁnes could be issued for
a new campaign on women in commercial sex but included sex trafficking        noncompliance. The government had two other agreements with the
survivors as well; and one was a new campaign that organized awareness        Governments of Georgia and Moldova that focused on fair recruitment
raising events at refugee reception centers. The federal government,          but did not report any trafficking-prevention related outcomes.
through NGOs, co-funded various awareness events, lectures, webinars,
                                                                              Authorities and government-funded NGOs usually conducted annual
online panel discussions and seminars, press releases, and conferences on
                                                                              in-person interviews of domestic workers employed by embassies in
trafficking in 2021. The Servicestelle created and distributed pamphlets
                                                                              Berlin, without employers present, to inform workers of their rights but
to educate both practitioners and the public about signs of labor
                                                                              did not report doing so in 2021 due to pandemic-related restrictions.
exploitation and forced labor in the parcel and meat industries. In early
                                                                              The government previously extended the mandate of FKS to include
2022, the government focused awareness-raising efforts on refugees
                                                                              trafficking, thereby increasing staff who could potentially identify forced
ﬂeeing Russia’s war on Ukraine by establishing a website and displaying
                                                                              labor victims. However, FKS did not have the authority to perform labor
posters, in Ukrainian, at public transportation locations on trafficking
                                                                              inspections within private households without the home-owners’ consent,
vulnerabilities. NGOs and the media reported several instances where
                                                                              thereby limiting their identiﬁcation of domestic servitude. In June 2021,
potential sex traffickers may have targeted Ukrainian refugees upon
                                                                              the government passed the Human Rights Due Diligence in Supply
their arrival in Germany—due to awareness raising efforts in this area, at
                                                                              Chains Act—though not effective until 2023—requiring companies to
least three suspicious incidents were reported to the police. The federal
                                                                              exercise due diligence to ensure their supply chains did not use forced
government did not have a trafficking-speciﬁc hotline but continued
                                                                              labor; the Federal Office for Economic Affairs and Export Control
to fund a 24/7 hotline in 19 languages for women affected by violence;
                                                                              was appointed as the competent authority and granted enforcement
in 2020, the hotline received calls from 93 potential trafficking victims
                                                                              measures that included inspections, document retrieval, and ﬁnes for
(compared with 96 in 2019), but no further information was available.
                                                                              non-compliance. In June 2021, media reported a human rights group
Additionally, the government had several other national and regional
                                                                              ﬁled a criminal complaint in Germany against ﬁve major retailers that
hotlines for sexual violence and male victims of violence, including
                                                                              purchased cotton from the People’s Republic of China (PRC) allegedly
trafficking, in addition to a government-funded, NGO-operated national
                                                                              harvested with forced labor; prosecutors declined to pursue the matter
helpline for migrant workers; however, statistics on trafficking victims
                                                                              due to insufficient factual indications under current criminal law. The
were unavailable for these hotlines. In March 2022, the government
                                                                              government provided funding to several anti-trafficking programs
announced it would no longer commit to training the Libyan Coast
                                                                              abroad, including in Burkina Faso, several countries in the Horn of Africa,
Guard, due to concerns about their treatment of migrants. NGOs have
                                                                              Mauritania, Niger, and the Western Balkans. The government did not
criticized Europe’s coordinated effort with Libya, as it often resulted
                                                                              make efforts to reduce the demand for commercial sex acts. During the
in the occupants of vessels rescued in the Libyan search and rescue
                                                                              reporting period, the government demonstrated efforts to reduce the
area being returned to Libyan shores; NGOs cited severe security and
                                                                              demand for international sex tourism by German nationals through an
human rights conditions inside Libya and Libyan detention centers and
                                                                              awareness campaign; the government reported that its joint investigation
a heightened risk of trafficking for the more than 12,000 undocumented
                                                                              with the Government of Brazil regarding a suspected German sex tourist
migrants forced to remain in the detention centers.
                                                                              initiated in the prior year was ongoing.
The law prohibited recruitment fees for temporary workers, but non-
temporary foreign migrants could be charged a fee up to €2,000                TRAFFICKING PROFILE
($2,270), though au pairs could only be charged a maximum of €170              As reported over the past ﬁve years, human traffickers exploit domestic
($193). There were also reports from NGOs that German agricultural            and foreign victims in Germany. The pandemic exacerbated vulnerabilities
companies continued to withhold identiﬁcation documents from migrant          for trafficking victims, including increased isolation of migrant and
workers and were not complying with regulations regarding minimum             seasonal workers and sex trafficking victims. Sex traffickers increasingly
wage, working hours, and hygiene conditions—authorities reported              use online platforms to recruit, exploit victims, and book apartment
forwarding several cases to prosecutors. NGOs noted the pandemic              rentals to make their illicit operations difficult to track, in part because
also increased the need for labor rights counseling. Foreign workers          of the pandemic. Pandemic-related closures and restrictions caused
needed prior government permission, via a new residence permit, prior         additional vulnerability for individuals in commercial sex. Most identiﬁed
to changing employers, which may have increased their vulnerability           sex trafficking victims in Germany are EU citizens, primarily German
to trafficking. Civil society continued to express concern regarding the      citizens, Bulgarians, and Romanians (of which a signiﬁcant percentage
recruitment of foreign nurses, asserting that their working conditions,       are ethnic Roma). Victims also come from most other regions of the
especially in private homes, was exploitative and in some cases may have      world, particularly the PRC, Thailand, Nigeria, and other parts of Africa.
amounted to labor trafficking. While inadequate oversight, fraudulent         Transgender women from Thailand are particularly vulnerable to sex
labor recruitment, and the continued vulnerability of migrant and seasonal    trafficking and are often misled regarding their working conditions and
workers remained concerns, the government reported several efforts to         wages prior to their arrival. Similarly, Romani families sometimes force
deter fraudulent labor recruitment, exploitation, and trafficking. Workers    their children, both boys and girls, into commercial sex on the streets.
organizations and government-funded NGOs coordinated 44 ﬁeld                  Sex traffickers use fraudulent recruitment, force, and debt bondage to
campaigns that reached more than 2,500 seasonal workers in 2021 in a          exploit Venezuelan women and LGBTQI+ persons ﬂeeing the collapsing
campaign to inform workers of their rights. In 2021, the FKS conducted        social and economic conditions at home. Authorities continue to report
13 investigations relating to human trafficking or labor exploitation and     the prevalence of young male traffickers, known as “lover boys,” coercing


                                                                                                                                Haiti AR_000730              249
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 355 of 729
GHANA   girls and women into sex trafficking, often through a faux romantic             terms as prescribed by law. • Amend the 2015 implementing regulations
        relationship; in 2020, approximately 25 percent of sex trafficking victims      for the 2005 human trafficking law to remove the option of a ﬁne in lieu
        were coerced using this method. Additionally, in 2020, the government           of imprisonment in cases where the trafficker is a parent or guardian of a
        reported approximately 40 percent of traffickers were acquainted with           child victim. • Train law enforcement and judicial officials on identifying,
        their victim prior to exploiting them in sex trafficking.                       investigating, and prosecuting trafficking cases under the 2005 human
                                                                                        trafficking law. • Increase efforts to prevent exploitation of Ghanaian
        Traffickers continued to target migrants and refugees upon arrival. In
                                                                                        workers abroad, including by ending the ban on labor migration to Gulf
        2022, Ukrainian refugees, predominantly women and children, ﬂeeing
                                                                                        states, implementing the 2020 National Labor Migration Policy, and
        Russia’s war on Ukraine are vulnerable to trafficking. Traffickers, namely
                                                                                        ensuring workers do not pay any recruitment fees. • Increase funding
        Nigerian “madams,” continue to fraudulently recruit and later coerce
                                                                                        and resources for law enforcement and streamline cooperation with
        Nigerian women and girls to stay in exploitative situations using a
                                                                                        the Department of Social Welfare to enable criminal investigations and
        “voodoo oath” they are forced to swear, while Nigerian “fraternities”
                                                                                        victim identiﬁcation. • Train law enforcement and service providers on
        increasingly recruit victims through force. The Nigerian and European
                                                                                        the standard operating procedures (SOPs) to identify victims and refer
        maﬁas increasingly cooperate to facilitate human trafficking from Africa.
                                                                                        them to services; implement the procedures in all regions. • Increase the
        Several foreign governments continue to report German citizens engage
                                                                                        quantity and quality of care available to victims, including by providing
        in sex tourism abroad. Labor trafficking victims are predominantly
                                                                                        ﬁnancial and in-kind support to civil society providing victims shelter
        male and European, including from North Macedonia, Latvia, Ukraine,
                                                                                        and services. • Proactively screen for trafficking indicators among
        Bulgaria, Poland, and Romania but also from Afghanistan, Pakistan, and
                                                                                        vulnerable populations—including Ghanaian women traveling abroad
        Vietnam. Organized Vietnamese criminal groups exploit Vietnamese
                                                                                        for domestic work, returning migrants, domestic and foreign workers
        victims in labor trafficking. Traffickers exploit victims of forced labor
                                                                                        on People’s Republic of China (PRC) national-operated ﬁshing vessels,
        primarily at construction sites but also in hotels, seasonal industries like
                                                                                        and PRC national and Cuban overseas workers—and refer trafficking
        agriculture, entertainment, and restaurants, and in private homes, with
                                                                                        victims to services. • Increase cooperation between law enforcement
        reported increases in the number of child victims. Foreign workers are
                                                                                        and prosecutors on case development. • Improve data collection on
        vulnerable to labor trafficking, particularly in meat processing plants,
                                                                                        law enforcement statistics and victim identiﬁcation.
        and especially when companies hire employees through subcontractors,
        who may have used fraudulent practices to recruit workers to the jobs.
                                                                                        PROSECUTION
        Traffickers with labor recruitment companies fraudulently recruit artists
                                                                                        The government maintained anti-trafficking law enforcement efforts.
        and musicians from Zimbabwe and Ethiopia with offers of fake jobs but
                                                                                        The 2005 Human Trafficking Act, amended in 2009, criminalized sex
        instead force them to perform on the street and collect their earnings.
                                                                                        trafficking and labor trafficking. The Human Trafficking Act prescribed
        Traffickers subject Roma and foreign unaccompanied children to sex
                                                                                        penalties of a minimum of ﬁve years’ imprisonment, which were
        trafficking, forced begging, and other coerced criminal behavior.
                                                                                        sufficiently stringent and, with respect to sex trafficking, commensurate
                                                                                        with those prescribed for other serious crimes, such as rape. However,
                                                                                        the 2015 regulations for this Act, which are non-discretionary and have
                                                                                        the force of law, provided speciﬁc guidance on sentencing depending
         GHANA: TIER 2                                                                  on the circumstances; in general, the term is not less than ﬁve years’
                                                                                        imprisonment and not more than 25 years’ imprisonment, but if a
        The Government of Ghana does not fully meet the minimum standards               parent, guardian, or other person with parental responsibilities facilitates
        for the elimination of trafficking but is making signiﬁcant efforts to do so.   or engages in trafficking, they are liable to a ﬁne, ﬁve to 10 years’
        The government demonstrated overall increasing efforts compared with            imprisonment, or both. By allowing for a ﬁne in lieu of imprisonment,
        the previous reporting period, considering the impact of the COVID-19           these penalties were not commensurate with those for other serious
        pandemic on its anti-trafficking capacity; therefore Ghana remained on          crimes, such as rape.
        Tier 2. These efforts included identifying signiﬁcantly more trafficking        Authorities initiated investigations of 108 trafficking cases in 2021,
        victims and increasing trafficking investigations. The government               including 60 labor trafficking cases, 42 sex trafficking cases, and six
        provided anti-trafficking training to law enforcement, judicial officials,      cases where the form of exploitation was unknown, and continued
        community leaders, and service providers, and it held numerous public           investigating one sex trafficking case from the previous reporting period,
        awareness raising activities. However, the government did not meet the          compared with investigating 87 cases in 2020. In 2021, the government
        minimum standards in several key areas. The government prosecuted               initiated prosecutions of 13 alleged traffickers and continued prosecution
        fewer alleged traffickers and continued its 2017 ban on labor migration to      of one alleged trafficker. Courts convicted 14 traffickers under its anti-
        Gulf states, which increased vulnerability to trafficking. Despite reports      trafficking law, including two sex traffickers and 12 labor traffickers,
        of fraudulent labor recruiters exploiting Ghanaian victims abroad, the          with 11 traffickers (79 percent) receiving a sentence of at least one year
        government did not report holding any fraudulent recruiters accountable.        of imprisonment. In some cases, the government prosecuted alleged
        A lack of adequate resources for law enforcement continued to hinder            traffickers under the Children’s Act when there was insufficient evidence
        investigations and prosecutions, and shelter capacity for all victims           to attain a conviction under the anti-trafficking law. Courts prosecuted
        remained insufficient. The government did not adequately address                and convicted three defendants for exploitative child labor under the
        corruption in trafficking crimes, and it did not amend the anti-trafficking     Children’s Act of 1998; two of the three defendants were ﬁned and did
        act regulations to remove the option of a ﬁne in lieu of imprisonment           not receive prison sentences, and one defendant received the option for
        in cases where the trafficker was a parent or guardian of a child victim.       a ﬁne in lieu of six months’ imprisonment, which did not serve to deter
                                                                                        the crime or adequately reﬂect the nature of the crime. This compared
                GHANA TIER RANKING BY YEAR
                                                                                        with prosecutions of 22 alleged labor traffickers and convictions of 13
            1                                                                           labor traffickers in 2020. Despite reports of fraudulent labor recruiters
                                                                                        exploiting Ghanaian victims abroad, the government did not report
            2
                                                                                        investigating or prosecuting any fraudulent recruitment cases. The
          2WL                                                                           government did not report cooperating with foreign counterparts on
            3                                                                           law enforcement activities.
                  2015      2016     2017    2018   2019     2020    2021     2022
                                                                                        The government did not report any investigations, prosecutions, or
                                                                                        convictions of government employees allegedly complicit in human
                                                                                        trafficking crimes; however, official corruption and complicity in
        PRIORITIZED RECOMMENDATIONS:                                                    trafficking crimes remained concerns, inhibiting law enforcement action
        Increase efforts to investigate, prosecute, and convict traffickers under       during the year. Observers alleged that some traffickers operated with
        the 2005 human trafficking law—including complicit officials and                the support or acquiescence of law enforcement or justice officials and
        recruitment agents facilitating trafficking—and apply signiﬁcant prison         that some officials interfered in law enforcement proceedings, refused

 250                                                                                                                                 Haiti AR_000731
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 356 of 729




                                                                                                                                                                  GHANA
to take action without a bribe, or attempted to intimidate civil society’s      in collaboration with NGOs and foreign donors, trained government
reporting of trafficking cases. Some airport staff allegedly facilitated        and civil society protection workers on topics ranging from trafficking
the transit of victims en route to exploitation.                                indicators and trends to case management and trauma-informed care.
The Ghana Police Service (GPS) and Ghana Immigration Service (GIS)              Victim services were not dependent on cooperation with law enforcement
had specialized anti-trafficking units. Government officials and NGOs           proceedings. The government, in cooperation with NGOs, assisted
reported the government did not provide sufficient funding and                  victims who chose to participate in law enforcement proceedings
resources, facilities, or land and marine vehicles for anti-trafficking law     against their traffickers by providing legal services, funding for lodging,
enforcement operations. This, combined with a lack of shelter facilities        transportation, and psycho-social support. Victims could provide video
in most regions, delayed investigations and operations to remove                or written testimony, and some courts had child-friendly spaces that
potential victims from exploitative situations. Inadequate evidence             allowed child victims to testify from a separate room via video. Officials
collection, weak collaboration between police and prosecutors, and a            and NGOs reported that prolonged adjournments slowed prosecutions
lack of experienced state attorneys further hampered prosecution of             and impeded victims’ participation, and officials did not always protect
suspected traffickers. Judicial resources were concentrated in urban            victims’ conﬁdentiality. Ghanaian law allowed trafficking victims to
areas, leaving some victims in rural communities with limited access            obtain restitution, and in one case, the court awarded two victims 1,000
to the formal justice system. In collaboration with NGOs and foreign            cedis ($165) each. Victims could ﬁle civil suits against their traffickers,
donors, the government provided extensive training to law enforcement,          but none reportedly did so.
judicial officials, and frontline workers on trafficking deﬁnitions and
legal concepts, investigative techniques, and victim protection. The            PREVENTION
government continued providing introductory anti-trafficking training           The government modestly increased anti-trafficking prevention efforts.
for GPS and GIS recruits.                                                       The Human Trafficking Management Board—the inter-ministerial
                                                                                committee mandated to administer the HTF, advise the Ministry of
PROTECTION                                                                      Gender, Children and Social Protection (MOGCSP) on anti-trafficking
The government increased victim protection efforts. The government              policy, promote prevention efforts, and facilitate the protection and
reported identifying and referring 727 trafficking victims to services in       reintegration of trafficking victims—met periodically. The Human
2021, a signiﬁcant increase compared with identifying 391 victims in            Trafficking Secretariat, which coordinated anti-trafficking efforts under
2020. This included 657 victims of labor trafficking, 64 victims of sex         the MOGCSP, also met regularly with stakeholders on information
trafficking, and six victims where the form of exploitation was unknown.        sharing and implementation of the 2017-2021 anti-trafficking national
A majority of identiﬁed victims were children (578), and a majority             action plan (NAP). The government drafted an updated 2022-2026
were Ghanaian (577). Of the 150 foreign national victims, most were             NAP and an accompanying communications strategy, which were both
Nigerian, followed by Burkinabe and Ivorian nationals. NGOs identiﬁed           pending adoption at the end of the reporting period. The government
an additional 94 trafficking victims, including 87 labor trafficking victims    allocated 1 million cedis ($165,290) to the HTF for the government’s
and seven sex trafficking victims, compared with 108 victims in 2020.           anti-trafficking activities, including the NAP’s implementation in 2021,
                                                                                the same amount allocated in 2020, and increased the 2022 HTF budget
The government had SOPs to identify trafficking victims and refer them
                                                                                to 2 million cedis ($330,580).
to services. However, officials did not consistently apply the SOPs, and
observers reported limited resources and a lack of coordination between         The government conducted trainings and public awareness-raising
the government and civil society at times hampered implementation.              activities with government officials, civil society stakeholders, and
District Department of Social Welfare (DSW) personnel accompanied               community leaders at the national, regional, district, and local levels,
local law enforcement on anti-trafficking operations and screened for           often in collaboration with NGOs and international organizations. The
potential victims; however, these teams reported to local governments           government had a standardized trafficking data collection system in ﬁve
rather than a centralized government entity. As a result, observers             regions, developed with an international organization’s support; however,
reported decentralization, lack of funding, and poor management                 the system was not widely used. The MOGCSP operated a hotline in
impeded the DSW’s effectiveness and sometimes resulted in inadequate            English and six local languages for victims of abuse, and it launched a
and inconsistent treatment of victims. Officials referred all 727 victims to    mobile application for reporting gender-based violence crimes, including
government shelter services or NGOs for care. The government operated           human trafficking; the government did not report identifying any
one shelter for adult female trafficking victims, which provided care for       trafficking victims or initiating any trafficking investigations as a result of
150 trafficking victims in 2021. The government, with an international          the hotline or mobile application. The government did not report labor
organization’s support, maintained a dedicated shelter for child trafficking    inspectors identifying any trafficking victims nor removing any children
victims, which provided care for 78 children. A government-run shelter          from exploitative labor situations, despite receiving training on child
for victims of child abuse could also accommodate child trafficking             labor and trafficking. Insufficient funding, facilities, and transportation
victims. There were no shelters for adult male victims, and most men            impeded labor inspectors’ efforts to identify victims. The government
received short-term housing and some medical and psychological                  had not yet implemented a forced labor training manual for labor
assistance, followed by reintegration support. Government services for          inspectors, which was drafted with donor support during the previous
women and children included shelter, medical care, needs assessments,           reporting period.
psycho-social care, education and skills training, interpretation for
                                                                                The government regulated formal labor recruitment and required private
foreign national victims, assistance obtaining identity documents,
                                                                                employment agencies to register; it also provided pre-departure trainings
registration with the national health service, and assistance during
                                                                                for migrant workers, and the Ministry of Employment and Labor Relations
legal proceedings. Through its Human Trafficking Fund (HTF), the
                                                                                and GIS screened for trafficking indicators. However, the government did
government expended 650,000 Ghanaian cedis ($107,440) for victim
                                                                                not report investigating any labor recruiters for fraudulent recruitment
services in 2021, compared with 590,000 cedis ($97,520) for victim
                                                                                or revoking agencies’ registration for recruitment violations. The law
services and shelter renovations in 2020. Relying on private facilities
                                                                                did not prohibit worker-paid recruitment fees. Informal recruitment
operated by NGOs and faith-based organizations, the government
                                                                                agencies continued to operate and facilitate recruitment through
referred most child trafficking victims to one of 11 privately-operated
                                                                                informal channels, and some agents used predatory tactics, including
shelters that provided or coordinated provision of services. However,
                                                                                high recruitment fees and fraudulent job advertising. The government
overall shelter capacity for child trafficking victims remained insufficient.
                                                                                continued its 2017 ban on labor migration to Gulf states; the policy
Observers reported the government reintegrated child victims without
                                                                                restricted Ghanaians’ access to safe and legal migration, subsequently
conducting extensive home assessments. Foreign victims had the
                                                                                increasing their vulnerability to trafficking. The government’s 2020
same access to care as Ghanaian victims. Foreign victims could seek
                                                                                National Labor Migration Policy and its 2020-2024 implementation
temporary residency during legal proceedings and, with the Interior
                                                                                plan included provisions to prevent labor exploitation and increase
Minister’s approval, permanent residency if deemed to be in the victim’s
                                                                                Ghanaian embassies’ capacity to assist migrant workers abroad and
best interest; officials did not report how many, if any, foreign victims
                                                                                protect foreign workers in Ghana; the government’s labor migration
it granted temporary or permanent residency. The government, often
                                                                                                                                    Haiti AR_000732               251
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 357 of 729
GREECE   technical working group held workshops and trainings to sensitize local       migrants recruited for employment in the Middle East are female domestic
         government employees and social workers on the policy. The government         workers. Of the 113 returning Ghanaian domestic workers surveyed in the
         did not make efforts to reduce the demand for commercial sex acts.            study, most reported their contracts lacked worker protection provisions,
         The government provided anti-trafficking training to its troops prior         or in some cases, the contracts were verbal, vague, or contained false
         to their deployment as peacekeepers; although not explicitly reported         information. Nearly all of the Ghanaian domestic workers were employed
         as human trafficking, there was one open case (submitted in 2018) of          directly by families, rather than through a company, and most reported
         alleged sexual exploitation with trafficking indicators by Ghanaian           the work did not match the recruiters’ descriptions; workers reported
         peacekeepers deployed to the UN peacekeeping mission in South                 traffickers seized their passports and physically and sexually abused
         Sudan. The government did not provide the accountability measures             them. Observers have reported registered and unregistered agents
         taken, if any, by the end of the reporting period.                            recruit Ghanaian workers and, with the assistance of some immigration
                                                                                       or airport officials, facilitate their travel out of the country without the
         TRAFFICKING PROFILE                                                           required exit documents. Ghana is a transit point for West Africans
         As reported over the past ﬁve years, human traffickers exploit domestic       subjected to sex trafficking in Europe, particularly in Italy and Germany.
         and foreign victims in Ghana, and traffickers exploit victims from Ghana
         abroad. Traffickers exploit Ghanaian children in forced labor within the
         country in inland and coastal ﬁshing, domestic service, street hawking,
         begging, portering, artisanal gold mining, quarrying, herding, and             GREECE: TIER 2
         agriculture, especially in the cocoa sector. Traffickers exploit children
         as young as four in forced labor in Lake Volta’s ﬁshing industry and use
                                                                                       The Government of Greece does not fully meet the minimum standards
         violence and limited access to food to control their victims. Traffickers
                                                                                       for the elimination of trafficking but is making signiﬁcant efforts to do
         force boys to work in hazardous conditions, including in deep diving,
                                                                                       so. The government demonstrated overall increasing efforts compared
         and girls perform work onshore, such as preparing the ﬁsh for markets.
                                                                                       with the previous reporting period, considering the impact of the
         Traffickers, including middlemen and relatives, recruit girls from other
                                                                                       COVID-19 pandemic on its anti-trafficking capacity; therefore Greece
         communities and subsequently exploit them in domestic servitude in
                                                                                       remained on Tier 2. These efforts included prosecuting and convicting
         the Lake Volta region, sometimes with parents’ knowledge. Relatives
                                                                                       more traffickers and amending the trafficking law to again include
         often send girls via intermediaries to work in harsh conditions in forced
                                                                                       forced begging as a form of exploitation. The government amended
         labor in domestic work. Children in northern regions of Ghana, whose
                                                                                       standard operating procedures (SOPs) for asylum claims to include
         parents use intermediaries or relatives to send them to work in agriculture
                                                                                       specialized procedures for trafficking victims and provided robust
         in the south during school breaks or the dry season, are at increased
                                                                                       training to ﬁrst responders on victim identiﬁcation and referral. The
         risk for forced labor. Ghanaian children who do not have access to
                                                                                       government established ﬁnancial incentives for businesses to hire
         school or who can attend only intermittently due to limited space and
                                                                                       vulnerable unemployed individuals, including trafficking victims, and
         the double-track school schedule are also vulnerable to sex and labor
                                                                                       created a working group to simplify procedures to grant compensation to
         trafficking. Observers noted the pandemic’s impact on the economy and
                                                                                       victims. The government increased overall prevention efforts, including
         subsequent school closures increased child labor in Ghana, including in
                                                                                       partnering with civil society on multiple research projects. However, the
         exploitative conditions. An NGO reported climate change has exacerbated
                                                                                       government did not meet the minimum standards in several key areas.
         vulnerability of Ghanaians migrating from northern farming communities
                                                                                       The government identiﬁed fewer victims and did not consistently screen
         to urban centers throughout the country in search of employment; girls
                                                                                       asylum-seekers and undocumented migrants for trafficking indicators.
         and young women who work as kayayie (head-porters) are exploited in
                                                                                       Numerous, sometimes violent, pushbacks against undocumented
         sex trafficking and forced labor, often through debt bondage, and men
                                                                                       migrants and asylum seekers discouraged potential victims from self-
         work in exploitative conditions as farm laborers and in mining, including
                                                                                       identifying or cooperating with authorities, according to reports from
         in bonded labor. Women and girls who migrate to southern Ghana also
                                                                                       numerous credible sources. Anti-trafficking police and social workers
         reportedly do so to escape repressive cultural norms, including female
                                                                                       did not conduct any joint inspections with labor inspectors in 2021.
         genital mutilation and child and forced marriages, increasing vulnerability
                                                                                       Government-run shelters continued to limit access to some victims
         to trafficking. Traffickers subject Ghanaian girls, and to a lesser extent
                                                                                       for needed support, due to a lack of resources and space to provide
         boys, to sex trafficking in urban areas and mining regions across Ghana.
                                                                                       assistance and accommodation from an increase in domestic violence
         Observers allege PRC national-owned and -operated industrial vessels          victims during the pandemic. Court proceedings lasted two to six years,
         ﬂagged to Ghana, often through shell companies, exploit Ghanaian              and the government did not provide services to mitigate this burden on
         workers in forced labor; one organization documented cases of abuse,          victims or witnesses, thereby hindering their cooperation. Additionally,
         including physical abuse, underpayment or nonpayment of wages,                judges did not allow remote testimony and examined victims in person,
         restricted medical care, and poor living conditions, against Ghanaian         even in cases where testimony could cause re-traumatization, and courts
         men aboard these ﬂeets. An NGO estimated 90 percent of ﬁshing vessels         have never granted restitution or compensation to victims to date.
         operating in Ghana are owned by PRC-based companies. Traffickers
         operating ﬁshing vessels ﬂagged to Ireland and the United Kingdom
         also exploit Ghanaian workers in forced labor, allegedly in cooperation               GREECE TIER RANKING BY YEAR

         with some Ghanaian recruitment agencies. Cuban nationals, including               1
         medical professionals, working in Ghana may have been forced to                   2
         work by the Cuban government. PRC nationals working in Ghana may                2WL
         be in forced labor in the formal and informal mining sectors and in
                                                                                           3
         ﬁshing. Traffickers exploit Ghanaian and Nigerian women and girls in                     2015     2016      2017    2018   2019   2020     2021    2022
         sex trafficking in Ghana, including in mining regions, border towns, and
         commercial centers. Traffickers lure Nigerian women and girls to Ghana
         with the promise of good jobs and coerce them into commercial sex
         to pay exorbitant debts for transportation and lodging. Traffickers also      PRIORITIZED RECOMMENDATIONS:
         exploit some Ghanaian and Nigerian labor migrants in commercial sex           Vigorously investigate, prosecute, and convict traffickers, including
         and demand more money for transit and documentation costs.                    complicit officials. • Increase proactive identiﬁcation efforts for victims
         Traffickers exploit Ghanaian women and children in forced labor and           of forced labor and victims among vulnerable populations, such as
         sex trafficking in the Middle East, Europe, and other parts of West           unaccompanied children, undocumented migrants, refugees, and
         Africa. Unscrupulous agents recruit Ghanaian men and women seeking            asylum seekers. • Conduct an independent investigation into allegations
         employment, transport them through North Africa, and exploit them in          of forced returns of asylum-seekers to Turkey, some of whom were
         sex and labor trafficking in Europe and the Middle East. In one research      likely trafficking victims. • Strengthen rules and regulations to ensure
         study, an international organization reported the majority of Ghanaian        immigration enforcement does not hinder human trafficking detection,

 252                                                                                                                                  Haiti AR_000733
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 358 of 729




                                                                                                                                                                GREECE
criminal law enforcement, or victim protections and institutionalize and        sentence of 18 months’ imprisonment with a ﬁne. The government
implement robust screening procedures for migrant ﬂows, including               maintained institutionalized training programs on trafficking at the
asylum seekers and unaccompanied children. • Strengthen specialized             Police Academy, the Coast Guard Academy, Academy of Judges, the
services including shelter and psycho-social support for all victims,           Greek Asylum Service, and the Reception Identiﬁcation Service. In
including children, adult males, and victims in rural areas. • Decrease the     addition, the government, in cooperation with NGOs and international
length of court proceedings for trafficking cases and encourage victims’        organizations, trained police, asylum officers, and labor inspectors on
participation in investigations and prosecutions. • Reduce the burden of        various anti-trafficking issues. Prosecutors charged a police officer with
lengthy proceedings by providing alternative methods to testify, such           14 various offenses, including trafficking, and authorities separately
as offering remote testimony or funding for travel and other expenses           arrested a navy officer for sex trafficking. In 2020, media reported
for victims to attend court hearings. • Take concrete steps to expedite         authorities investigated 15 police officers affiliated with a gang that
the victim certiﬁcation process irrespective of victim cooperation in law       provided protection for brothels, casinos, and massage parlors. The
enforcement efforts. • Allocate sufficient resources to implement the           government signed a bilateral agreement with Albania to establish
national action plan (NAP) for combating trafficking. • Develop policies        a security center focusing on organized crime, including trafficking.
for victim-centered prosecutions and implement witness protection
provisions already incorporated into law. • Provide training to judges,         PROTECTION
prosecutors, and law enforcement on trafficking investigations and              The government maintained victim protection efforts. The government
prosecutions, particularly in rural areas and for non-specialized staff. •      identiﬁed 130 victims, compared with 167 victims in 2020. Of these, 59
Improve measures to order restitution and compensation for victims,             were sex trafficking victims, 49 were forced labor victims, two were
including training prosecutors and judges, asset seizure, and legal             victims of forced criminality, and 20 victims fell into more than one
assistance. • Improve data collection of trafficking statistics for analysis.   category of exploitation; 80 were women, and 11 were men; 18 were girls,
                                                                                and 21 were boys; and 118 were foreign victims. Observers commended
PROSECUTION                                                                     ATU’s ability to consistently identify victims but noted other government
The government increased law enforcement efforts. Article 323A of               efforts were largely reactive and reliant on self-identiﬁcation. The Hellenic
the criminal code criminalized sex and labor trafficking and prescribed         National Public Health Organization and regional reception service and
penalties of up to 10 years’ imprisonment and a ﬁne. These penalties were       asylum officers screened undocumented migrants, asylum seekers, and
sufficiently stringent and, with regard to sex trafficking, commensurate        unaccompanied children for trafficking indicators at island Reception
with those for serious crimes, such as rape. In November 2021, the              and Identiﬁcation Centers (RIC) and respectively identiﬁed 20 and
government amended Article 323A to include begging as a form of                 44 possible cases involving abuse and exploitation in the country of
exploitation. Police investigated 20 cases with 60 suspects, compared           origin or transit countries (10 in 2020). EKKA and the Asylum Service
with eight cases with 15 suspects in 2020. The government prosecuted            updated SOPs for asylum claims to include specialized procedures if a
342 defendants, compared with 16 defendants in 2020. Courts convicted           case officer identiﬁed an asylum seeker as a trafficking victim; however,
116 traffickers, compared with 19 in 2020. Judges issued sentences              observers reported assessments in the registration stage were too
ranging from one to 28 years’ imprisonment, with ﬁnes ranging from              quick to identify a victim. The government expedited the registration
€360 ($410) to €100,000 ($113,380). Courts also acquitted 42 individuals,       and screening process of undocumented migrants and asylum seekers
compared with seven in 2020. The Anti-Trafficking Unit (ATU) reduced            at the RICs, but in some cases, unidentiﬁed trafficking victims stayed
unannounced inspections on brothels, bars, and massage parlors due              in the same facility with their traffickers or were re-victimized due to
to lockdown measures, and the government tasked police and labor                pandemic-related restriction measures preventing movement between
inspectors with enforcing public health measures, which limited the             facilities and regions. Additionally, positive COVID-19 cases among staff
number of officers available to investigate trafficking cases. Courts           and reduced capacity due to pandemic mitigation efforts occasionally
experienced severe administrative and judicial delays due to the                exacerbated delays in identiﬁcation procedures. Each RIC designated a
pandemic, with the government closing courts from November 2020                 trafficking focal point who collected information on potential trafficking
to May 2021 and partially closing courts from August 2021 to September          cases, but many staff working at RICs were on short-term contracts, which
2021. Judges prioritized cases with expiring statutes of limitations and/       limited their experience and training to identify victims. International
or cases with defendants about to complete the maximum duration of              organizations, NGOs, and media continued to report a serious lack of
pre-trial detention. Additionally, social distancing measures restricted        government efforts to screen undocumented migrants and asylum
the number of people in court rooms, while positive COVID-19 cases              seekers, including unaccompanied children, at border crossings. Reports
among staff and reduced capacity due to other pandemic mitigation               documented violent pushbacks of undocumented migrants and asylum
efforts further exacerbated delays.                                             seekers into Turkey, while civil society and media reported allegations
                                                                                that border police assaulted and harassed undocumented migrants
The Hellenic Police maintained an ATU within the Organized Crime
                                                                                and asylum seekers, including women and children, which strongly
Division, composed of two units with 37 officers in Athens and 10
                                                                                discouraged victims from self-identifying or cooperating with authorities.
officers in Thessaloniki, who investigated trafficking and vice crimes,
                                                                                In previous years, observers reported a lack of identiﬁcation efforts for
and 12 smaller units across municipalities that investigated trafficking
                                                                                victims of forced labor, particularly in the agriculture sector, cleaning and
and organized crime. ATU officers did not conduct joint inspections with
                                                                                domestic service, and the tourism industry; however, labor inspectors
labor inspectors and social workers from the National Social Solidarity
                                                                                reported difficulties in conducting inspections in rural areas and on
Center (EKKA) due to limited economic activity from lockdown measures
                                                                                islands due to the community receiving prior notice before inspections
and increased responsibilities to enforce pandemic mitigation efforts
                                                                                from local citizens. Civil society reported some ﬁrst responders, who
(347 joint inspections in 2019). In previous years, observers reported
                                                                                could not distinguish between sex trafficking and commercial sex,
ATU’s 12 smaller units often consisted of three or four officers to handle
                                                                                rejected sex trafficking victims who self-identiﬁed and, at times, sent
trafficking cases among many other duties and lacked the resources
                                                                                them back to the traffickers.
and staff to conduct proactive investigations. NGOs continued to report
good cooperation with law enforcement and excellent cooperation with            The government maintained a multi-disciplinary national referral
ATU. While the government maintained trained prosecutors in Athens              mechanism (NRM), including appropriate SOPs and referral forms.
and Thessaloniki to handle trafficking cases, observers reported that           The NRM required ﬁrst responders to inform and coordinate with EKKA
non-specialized police, prosecutors, and judges, particularly in rural          when potential victims were identiﬁed for victim care and placement;
areas and islands, lacked an understanding of trafficking. In 2019,             government entities referred 37 victims (39 in 2020), and civil society
the government removed “pimping” from the criminal code, which                  organizations referred 73 victims (113 in 2020). Trafficking victims
police, prosecutors, and judges reported using to justify inspections           return to their home country quickly after being freed from traffickers.
on brothels and to prosecute traffickers when stronger evidence was             In addition, some potential trafficking victims are forcibly returned to
unavailable; subsequently, some possible trafficking cases may not              Turkey before they can be screened. EKKA trained ﬁrst responders,
have been investigated or prosecuted at all. However, in November               immigration officers, social service workers, hospital staff, and asylum
2021, the government reinstated “pimping” as a crime with a minimum             officers on victim identiﬁcation and referral procedures. The law

                                                                                                                                  Haiti AR_000734               253
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 359 of 729
GREECE   authorized public prosecutors to officially recognize victims based             heavily on victim testimony without corroborating evidence, and the
         on information collected by law enforcement or by a psychologist and            government did not provide funding for travel and other expenses for
         social worker if a victim did not want to cooperate with law enforcement.       victims to attend court hearings. Some suspected traffickers intentionally
         In 2020, a prosecutor officially recognized a victim for the ﬁrst time          postponed court appearances to increase the chances of victims being
         based solely on the recommendations of NGO experts, social workers,             unwilling to testify in court and/or may have paid bribes to repatriated
         and psychologists; however, observers reported inconsistent use of              victims to preclude them from testifying. The law entitled victims to
         psychologists and social workers for identiﬁcation procedures, and              mental health professionals during court proceedings and the use of
         procedures were lengthy and sometimes took years for victims to                 audiovisual technology for remote testimony, but many courts lacked
         receive. Certiﬁed victim status entitled foreign victims to a renewable         the capabilities to deploy these resources. Additionally, some judges
         one-year residence and work permit, but victims without this status             did not allow remote testimony because they wanted to examine the
         still had access to immediate support and assistance. Additionally, the         victim and the witnesses in person, even in cases where testimony
         government did not recognize victims who were exploited abroad but              could cause re-traumatization. The law provided for witness protection
         identiﬁed in Greece. Of the 156 victims identiﬁed by the government,            and non-disclosure of the witness’ personal information; however, no
         public prosecutors granted official victim status to only seven victims         trafficking victims received full witness protection privileges to date,
         (four in 2020), while one victim was in the process of receiving official       police only escorted victims during trials, and courts revealed victims’
         victim status (six in 2020) and another 40 were waiting for the process         identities during proceedings. Judges have not ever issued restitution
         to start. Fifteen victims were EU citizens, and nine were Greek citizens        for victims in criminal proceedings. Greek law entitled victims to ﬁle
         who did not need a residence and work permit.                                   civil suits against traffickers for compensation; however, no victims to
                                                                                         date had ﬁled for or subsequently received compensation from their
         The government, in cooperation with NGOs, provided shelter, psycho-
                                                                                         traffickers in part due to their reluctance to wait for the case to obtain
         social support, medical care, legal aid, and reintegration support.
                                                                                         a decision in a lengthy court process. The government established a
         While the government provided personal protective equipment and
                                                                                         working group to simplify the procedure of granting compensation to
         virtual assistance to victims, observers reported virtual assistance for
                                                                                         trafficking victims.
         victims was nonexistent or not effective. The government was unable to
         determine how much total funding was spent on victim protection and
         did not allocate funding to civil society, with the exception of projects
                                                                                         PREVENTION
                                                                                         The government increased efforts to prevent trafficking. The Office of
         co-ﬁnanced by the EU and state budget funds. EKKA secured €631,840
                                                                                         the National Rapporteur on Human Trafficking (ONRHT) continued to
         ($716,370) from EU security funds to support the NRM from 2018 to
                                                                                         coordinate government-wide anti-trafficking efforts despite lacking
         2022 and maintained a memorandum of understanding (MOU) with an
                                                                                         sufficient resources. The position of the National Rapporteur remained
         NGO to host a legal consultant and two anti-trafficking advisors. Two
                                                                                         vacant after the government appointed the previous rapporteur to
         agencies provided general shelter and support services to trafficking
                                                                                         another position in December 2021. The government continued to
         victims: the General Secretariat for Family Policy and Gender Equality
                                                                                         implement the NAP for 2019-2023, monitored anti-trafficking efforts,
         (GSFPGE) operated 21 shelters and 40 counseling centers for female
                                                                                         and made assessments publicly available; however, experts reported the
         victims of violence, and EKKA operated two long-term shelters, an
                                                                                         government did not allocate sufficient resources to anti-trafficking efforts
         emergency shelter, and two Social Support Centers for vulnerable
                                                                                         and implementation of the NAP. OHRHT, in partnership with a university,
         populations in need of assistance. GSFPGE and EKKA shelters assisted 37
                                                                                         launched a pilot project to use technology to remotely monitor working
         victims (22 in 2020). However, EKKA and GSFPGE shelters continued to
                                                                                         conditions of agricultural workers to prevent forced labor. Additionally,
         reject some victims from accessing support due to the lack of capacity,
                                                                                         the government, in partnership with a think tank, conducted research
         resources, and space to provide assistance and accommodation. For
                                                                                         to assess investigations and prosecutions on trafficking cases and
         example, government-run shelters did not have space to accommodate
                                                                                         created a working group with legal and criminal justice professionals to
         some trafficking victims due to an increase in domestic violence cases
                                                                                         identify gaps in implementation of anti-trafficking legislation. ONRHT,
         during the pandemic. Experts reported the government did not transfer
                                                                                         in cooperation with international organizations and NGOs, organized
         trafficking victims, identiﬁed at RICs, to the mainland for victim assistance
                                                                                         awareness campaigns targeting children, migrants, parents, the public,
         due to the lack of accommodation and housing. As in previous years,
                                                                                         and seasonal workers. The government operated four hotlines, one for
         victims in rural areas and islands had little access to support services
                                                                                         female victims of violence, one for individuals in vulnerable situations,
         and often were accommodated in police stations or hospital wards, or
                                                                                         one for unaccompanied children, and another for labor infringement
         they received no assistance. Observers reported a lack of specialized
                                                                                         and undeclared work complaints; hotlines received no calls related to
         shelters for victims with only one NGO-run shelter providing specialized
                                                                                         trafficking in 2021 and 2020. ONRHT signed an MOU with UNICEF to
         assistance for female trafficking victims and an NGO-run shelter for
                                                                                         strengthen efforts to combat child trafficking and maintained an MOU
         sexually exploited men. Government-run shelters, NGO-run shelters,
                                                                                         with two regional governments to strengthen cooperation on various
         and facilities for unaccompanied children accommodated child victims
                                                                                         anti-trafficking efforts, including preventing forced labor in public
         but did not provide specialized support. Central and local governments
                                                                                         procurement supply chains. The Hellenic Public Procurement Authority
         maintained cooperation agreements with some NGOs to house, protect,
                                                                                         terminated contracts when it identiﬁed child labor, forced labor, and/
         and assist vulnerable children, including trafficking victims, and allocated
                                                                                         or other forms of trafficking in public procurement. The government
         buildings to use as shelters. The government added trafficking victims
                                                                                         provided free airtime for public service announcements for NGOs and
         into a category of vulnerable unemployed individuals and provided
                                                                                         agencies on trafficking issues. The government certiﬁed and licensed
         ﬁnancial incentives to businesses to hire 800 individuals from this
                                                                                         private labor recruitment agencies and prohibited recruitment fees.
         category, including subsidies for salaries and social welfare that was
                                                                                         Labor inspectors conducted inspections of businesses and issued
         renewable for an additional year. Victims who did not apply for certiﬁed
                                                                                         ﬁnes for various labor-law violations to 4,892 businesses as a result of
         victim status could receive a residence and work permit by applying
                                                                                         inspections from January 1 to September 21, 2021. As restriction measures
         for asylum or for a residence permit on humanitarian grounds. In 2021,
                                                                                         for the pandemic were eased, inspections in the ﬁrst quarter of 2022
         the government processed 16 residence permits for trafficking victims,
                                                                                         intensiﬁed with labor inspectors conducting 6,722 checks and issuing
         12 residence renewal permits, and two newly-issued residence permits.
                                                                                         567 ﬁnes totaling €623,548 ($706,970) for labor-related violations. The
         The process to receive residence permits was difficult without an
                                                                                         government allowed migrant workers with a work permit of one year
         attorney and took time.
                                                                                         or longer to change employers, but migrant workers could not change
         Due to a lack of consistent screening efforts for trafficking indicators in     their job specialization and social security provider. The government
         migrant ﬂows, authorities likely detained and deported some unidentiﬁed         also allowed seasonal workers to sign a new contract with a different
         trafficking victims among undocumented migrants and asylum seekers.             employer or renew their contract. The government signed an agreement
         While courts prioritized cases with child victims, court proceedings            with the Government of Bangladesh to allow 4,000 seasonal work
         for cases with adult victims often lasted two to six years, and the             permits for the next ﬁve years to Bangladeshi citizens to work in the
         government did not provide services to mitigate this burden on victims          agricultural sector. It also provided temporary residence and work permits
         or witnesses, thereby hindering their cooperation. Prosecutors relied           to Ukrainian nationals ﬂeeing the war in Ukraine. The government made
 254                                                                                                                                  Haiti AR_000735
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 360 of 729




                                                                                                                                                                  GUATEMALA
efforts to reduce the demand for commercial sex acts by conducting               complicity in trafficking. • Increase training efforts to identify trafficking
awareness campaigns targeting potential purchasers of commercial sex.            victims, particularly among vulnerable populations, such as working
                                                                                 children, migrants and returnees, individuals in commercial sex, and
TRAFFICKING PROFILE                                                              children apprehended for illicit gang-related activities. • Improve the
As reported over the past ﬁve years, human traffickers exploit domestic          monitoring, oversight, and capacity of shelter operations for child
and foreign victims in Greece, and traffickers exploit victims from Greece       trafficking victims nationwide to address overcrowding, abuse, and
abroad. Traffickers operating in Greece are primarily Greeks and other           neglect. • Given signiﬁcant concerns about forced labor indicators in
Western and Eastern Europeans, but some are also from the Caucasus               Cuban medical missions, screen Cuban medical professionals and refer
and Central Asia. Traffickers subject some women and children from               them to appropriate services. • Amend the 2009 anti-trafficking law to
Eastern and Southern Europe, South and Central Asia, Cameroon,                   include a deﬁnition of human trafficking consistent with international
Georgia, Iraq, Nigeria, and Russia to sex trafficking in unlicensed brothels,    law. • Increase efforts to investigate, prosecute, and convict child sex
on the street, in strip clubs, in massage salons, and in hotels. Victims         tourists and others engaged in sex trafficking of children. • Develop a
of forced labor in Greece are primarily children and men from Africa,            mechanism to ensure victims receive court-ordered restitution payments.
Eastern Europe, South Asia, and Syria. Traffickers exploit migrant               • Expand training for judges and prosecutors to include training on
workers from Afghanistan, Bangladesh, Iran, and Pakistan to debt                 the use of forensic and other evidence to ensure trafficking cases are
bondage and forced labor in agriculture. Traffickers force marginalized          investigated and prosecuted as such, rather than as lesser offenses.
Romani children from Albania, Bulgaria, and Romania to sell goods                • Provide reintegration and witness protection support, including
on the street, beg, or commit petty theft. Unaccompanied children,               immigration relief for irregular migrant victims, to victims once they
primarily from Afghanistan, engage in survival sex and are vulnerable            leave shelters to prevent re-trafficking. • Expand prevention measures,
to trafficking. Refugee and migrant women, especially those living in            including through raising awareness of fraudulent recruitment for
the island RICs, are highly vulnerable to trafficking. NGOs report rapes         employment in Guatemala and abroad, implementing new recruiter
of migrant women in migrant and refugee camps and allege organized               registration requirements, punishing employers or recruiters who
criminal groups in camps use tents and shipping containers as brothels.          commit fraudulent practices that facilitate trafficking, and eliminating
Most migrants and asylum seekers are believed to rely on smugglers at            worker-paid recruitment fees.
some point during their journey and in some instances are forced into
exploitation upon arrival in Greece.                                             PROSECUTION
                                                                                 The government increased law enforcement efforts. The anti-trafficking
                                                                                 law of 2009 criminalized sex trafficking and labor trafficking and
                                                                                 prescribed penalties from eight to 18 years’ imprisonment and a
 GUATEMALA: TIER 2                                                               ﬁne. These penalties were sufficiently stringent and, with respect to
                                                                                 sex trafficking, commensurate with penalties prescribed for other
                                                                                 serious crimes, such as rape. However, inconsistent with the deﬁnition
The Government of Guatemala does not fully meet the minimum
                                                                                 of trafficking under international law, the law did not consider the
standards for the elimination of trafficking but is making signiﬁcant
                                                                                 use of force, fraud, or coercion as an essential element of an adult
efforts to do so. The government demonstrated overall increasing efforts
                                                                                 trafficking offense. The law deﬁned trafficking broadly to include all labor
compared to the previous reporting period, considering the impact
                                                                                 exploitation and illegal adoption without the purpose of exploitation.
of the COVID-19 pandemic on its anti-trafficking capacity; therefore
Guatemala remained on Tier 2. These efforts included prosecuting                 Authorities opened investigations into 386 criminal complaints involving
and convicting more sex and labor traffickers, expanding justice sector          suspected trafficking crimes (71 involving sex trafficking, 182 involving
presence and educational outreach for underserved communities,                   forced labor, and 133 not speciﬁed) opening investigations into 164
referring more victims to public and NGO shelters, and increasing training       suspected trafficking cases (38 involving sex trafficking, 85 involving
for frontline officials to identify and assist trafficking victims. However,     forced labor, and 41 not speciﬁed). In comparison, the government
the government did not meet the minimum standards in several key                 investigated 165 trafficking complaints in 2020 and 211 in 2019. The
areas. The government did not provide sufficient specialized victim              Human Rights Ombudsman (PDH) reported receiving nine complaints
services given the scope of the problem, and monitoring and oversight            of potential trafficking, which it referred to the Public Ministry (MP),
in government shelters remained weak. Some criminal justice officials            compared with 16 complaints in 2020 and 24 complaints in 2019. Police
outside urban areas lacked sufficient knowledge of human trafficking             received 70 trafficking-related calls to the crime hotline, and authorities
elements and indicators or victim-centered methods. The government               initiated ﬁve investigations from information received in these calls.
arrested officials suspected of complicity in trafficking crimes but did         Authorities reported initiating prosecutions of 71 defendants (46 accused
not prosecute or convict any complicit officials.                                of sex trafficking, 13 accused of forced labor, and 12 not speciﬁed) and
                                                                                 continuing prosecutions of 59 defendants (41 for sex trafficking, 12 for
                                                                                 forced labor, and six unspeciﬁed) in cases ongoing from previous years.
        GUATEMALA TIER RANKING BY YEAR
                                                                                 The government prosecuted ten suspects in absentia. In comparison,
    1
                                                                                 authorities prosecuted 37 defendants for trafficking crimes in 2020
    2                                                                            and 71 in 2019. Some prosecutions may have been for crimes that did
  2WL                                                                            not meet the deﬁnition of trafficking according to international law.
                                                                                 The government reported courts convicted 30 traffickers, 25 for sex
    3
          2015      2016     2017        2018   2019   2020   2021     2022
                                                                                 trafficking crimes and ﬁve for forced labor, and acquitted one suspect.
                                                                                 This was an increase from two convictions in 2020 and 25 convictions
                                                                                 in 2019. One convicted labor trafficker received a ﬁne of 300,000
                                                                                 quetzals ($38,960) and no jail time, while the other 29 traffickers
                                                                                 received prison sentences ranging from eight to 13 years and ﬁnes up
PRIORITIZED RECOMMENDATIONS:
                                                                                 to 300,000 quetzals ($38,960).
Vigorously investigate cases, prosecute trafficking crimes, and convict
traffickers with increased focus on suspected cases of forced labor. •           The National Civil Police maintained the Special Directorate for Criminal
Increase efforts to proactively identify victims of forced labor, particularly   Investigation (DEIC), which had a unit assigned speciﬁcally to combat
in the agricultural sector and domestic service. • Increase efforts to screen    trafficking. With international donor support, the government opened
for indicators of trafficking among migrants, including unaccompanied            an office of the anti-trafficking police unit in Quetzaltenango, with
migrant children and all returning migrants, and provide victims with            jurisdiction to investigate trafficking crimes across eight departments.
comprehensive services. • Increase funding for and access to victim              The government developed and began implementing a new protocol
protection, particularly shelters and specialized services, to include           containing detailed guidance on the various stages of conducting
LGBTQI+ victims, male victims, and victims who have young children.              police investigations of trafficking and related crimes. The government
• Investigate and hold government officials criminally accountable for           assigned 10 additional officers to DEIC and extended the length of
                                                                                                                                    Haiti AR_000736               255
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 361 of 729
GUATEMALA   officers’ assignments in the anti-trafficking unit, in an effort to increase   victims. The government served 92 victims in government-run shelters
            police knowledge and capacity for investigating trafficking crimes.            during the reporting period. In comparison, government shelters served
            Observers indicated that National Civil Police officers across the country     83 residents in 2020. Government agencies and NGOs cooperated to
            had a lack of understanding of human trafficking. The government had           provide services to victims such as food, housing, psychological care,
            specialized prosecutors to handle cases of human trafficking, including        healthcare, education, and apprenticeships. The government did not
            forced labor, although local experts reported some prosecutors lacked          report its expenditures for shelter and specialized services. In 2020, it
            adequate training. Observers indicated prosecutors did not utilize the         provided 9 million quetzals ($1.17 million) in funding for government-run
            criminal charge of trafficking in some parts of the country, resulting         shelters and specialized services, compared with 7.04 million quetzals
            in some cases being prosecuted as other crimes. The government                 ($914,290) in 2019, 19.4 million quetzals ($2.52 million) in 2018, and
            opened new prosecutorial offices in Chiquimula and Alta Verapaz,               17.6 million quetzals ($2.29 million) in 2017.
            each covering multiple departments in areas underserved by the justice
                                                                                           Officials followed an inter-institutional protocol to coordinate victim
            sector, expanding access to justice for trafficking victims in these
                                                                                           identiﬁcation, referral, and service provision among relevant institutions.
            areas. Two specialized ﬁrst instance criminal courts for prosecuting
                                                                                           The Public Ministry’s Immediate Response Team employed social workers
            trafficking-related crimes, in Guatemala City and Quetzaltenango,
                                                                                           who conducted individual needs assessments and referral to services
            had jurisdiction in central, eastern, and southern departments, as well
                                                                                           for victims. The government began a process to update its victim
            as seven western departments. A judge’s approval was required for
                                                                                           identiﬁcation guide with contributions from both government and civil
            prosecutorial investigations, but the judicial system lacked adequate
                                                                                           society experts; however, it did not make any changes during the year.
            capacity to process cases in a timely manner. Insufficient Public Ministry
                                                                                           With assistance from international organizations, SVET developed and
            resources and a lengthy appeals process caused further delays, with
                                                                                           implemented an online training course to guide front-line officials in
            many cases taking longer than a year and appeals lasting two to
                                                                                           identifying and assisting possible trafficking victims. The government
            three years. Judicial officials had difficulty applying a victim-centered
                                                                                           held numerous sessions of the virtual workshop reaching more than
            approach, and some lacked adequate training to apply forensic evidence
                                                                                           400 Ministry of Public Health and Social Assistance participants from
            in prosecutions. Some officials, especially outside the major urban areas,
                                                                                           across the country, and it later expanded the course to the public,
            had an inadequate understanding of the elements and indicators of
                                                                                           reaching more than 200 private citizens. Immigration officials identiﬁed a
            trafficking crimes and tried many cases as labor exploitation or sexual
                                                                                           foreign victim who had been deceived by a false job offer in Guatemala’s
            assault rather than trafficking.
                                                                                           agricultural sector and forced to beg on the street after his arrival
            Corruption in trafficking crimes remained a signiﬁcant concern, inhibiting     in the country. Officials followed the inter-institutional protocol to
            law enforcement action during the year; this problem was especially            provide the victim referral and services. The government screened
            acute in border zones where government presence and rule of law were           returning unaccompanied migrant children for trafficking indicators
            weak. The government investigated several cases of allegedly complicit         using Secretariat of Social Welfare (SBS) protocols for the attention
            public officials and made one arrest. In one case, authorities investigated    and reception of such children in two government shelters, and an NGO
            and arrested a municipal mayor for alleged involvement in sex trafficking      maintained a specialized shelter for unaccompanied migrant children
            of a kidnapped 13-year-old girl. Prosecutors investigated mid-level            that assisted with repatriation, discouraged irregular migration, and
            police officials for participation in a criminal operation involving money     screened for trafficking. However, authorities returned the majority
            laundering and sex trafficking of women from Colombia, Venezuela,              of unaccompanied children to their families without taking steps to
            Brazil, and Central America at a spa in the capital; authorities arrested      decrease their vulnerability to exploitation. The government did not
            and charged one police officer in this case. In addition, prosecutors          have a trafficking-speciﬁc hotline but encouraged the public to call three
            investigated soldiers in the Guatemalan army who were allegedly                hotlines operated by the National Civil Police, the Attorney General’s
            complicit in sharing pornographic material depicting children who              office, and the human rights ombudsman (PDH), which operated 24
            may have been sex trafficking victims. The government did not provide          hours a day year-round, were available in Spanish and Mayan languages,
            an update to the 2018 case of two government officials charged with            and accepted reports anonymously. In addition, the Public Ministry
            trafficking crimes. The government reported prosecutors coordinated            launched a platform for crime victims to ﬁle complaints electronically,
            with their foreign counterparts on six trafficking investigations opened       allowing authorities to immediately refer victims via email to relevant
            by officials in the Dominican Republic, El Salvador, Honduras, and             institutions for assistance and services. The government did not report
            Panama and ﬁve investigations within Guatemala. In 2021, the Secretariat       whether any trafficking victims beneﬁtted from this new system.
            against Sexual Violence, Exploitation, and Trafficking in Persons (SVET)
                                                                                           Judges in Child and Adolescent Courts referred child trafficking victims
            organized several trainings for police on investigating trafficking crimes,
                                                                                           to shelters. Guatemalan law required all referrals for children to public
            and the Public Ministry trained 57 officials on human trafficking and
                                                                                           or private shelters be made by these courts; however, judges often did
            related crimes. With donor support, the anti-trafficking prosecutor’s
                                                                                           not make timely referrals, delaying access to needed assistance. Judges
            office held a four-day training workshop for officials in Guatemala City’s
                                                                                           placed some child victims with family members, at times leaving them
            municipal government and courts.
                                                                                           vulnerable to re-trafficking, as family members often were involved in
                                                                                           their exploitation. Experts noted there was a shortage of shelters for
            PROTECTION                                                                     male and LGBTQI+ trafficking victims and additional services were
            The government maintained protection efforts. Authorities identiﬁed
                                                                                           needed for trafficking victims with young children. Local observers noted
            92 victims (67 exploited in sex trafficking, 13 in forced labor, and 12
                                                                                           challenges in interagency coordination affected shelter functioning and
            not speciﬁed), and NGOs identiﬁed an additional 333 victims (153
                                                                                           complicated victim care processes. The government made efforts to
            exploited in sex trafficking, 88 in forced labor, and 92 not speciﬁed).
                                                                                           improve operations at its shelters, but overall monitoring and oversight,
            The total number of victims identiﬁed, 425, was similar to 439 victims
                                                                                           especially for facilities serving children, remained weak. The government
            identiﬁed in 2020; however, comparable data was not available for the
                                                                                           still had not implemented structural changes to overhaul the system in
            number of victims identiﬁed by the government. Among the identiﬁed
                                                                                           the aftermath of the March 2017 ﬁre in an overcrowded government-
            victims of sex trafficking, there were 183 girls, eight boys, 26 women,
                                                                                           managed shelter, which resulted in the deaths of 41 girls and injuries to
            one man, and two LGBTQI+ individuals whose age and gender were
                                                                                           others. The shelter had previously faced allegations of corruption and
            not speciﬁed. Victims of forced labor included 45 girls, 42 boys, and 14
                                                                                           sexual exploitation, and it was the subject of a UN investigation into
            women. The additional victims included 75 girls, 21 boys, seven women,
                                                                                           the shelter’s management. Six former government officials remained in
            and one man. Thirty-seven identiﬁed victims were foreign nationals (23
                                                                                           pretrial detention on multiple criminal charges related to the lethal ﬁre.
            exploited in sex trafficking, 13 in forced labor, and one not speciﬁed), and
            the remainder were Guatemalan. In 2021, the government referred 218            The government provided few services to Indigenous victims and others
            victims to NGO and government shelters, where they received services           in rural locations where government presence was limited, but it made
            including psycho-social support, medical care, legal assistance, and/          efforts to improve outreach and assistance to these communities. SVET
            or educational and vocational training, an increase from 170 victims           partnered with international organizations to launch UNIVET, a program
            referred to shelters in 2020. There were two government-run shelters           deploying ﬁve mobile units across 17 rural departments, to provide
            and four main NGO-run shelters with specialized services for trafficking       information and service referral for victims and at-risk individuals in
 256                                                                                                                                    Haiti AR_000737
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 362 of 729




                                                                                                                                                                GUINEA
remote and underserved locations. The government provided only limited           campaign to promote the government’s hotline for reporting child
services for adult victims of trafficking and no shelters or services for        labor complaints. The government did not report whether it received
adult men. SVET operated a repurposed and renovated shelter in Cobán             any complaints involving forced child labor or if it referred any cases
for adult women trafficking victims, including transgender women, but            to law enforcement for criminal investigation. Ministry of Labor and
the government did not report the number of victims it assisted. The             Social Welfare (MINTRAB) inspectors identiﬁed 13 trafficking victims
government did not provide sufficient long-term care and reintegration           in 2021. However, the pandemic exacerbated existing shortcomings in
support to victims, and case follow up was inadequate, leaving victims           human and ﬁnancial resources, hindering MINTRAB’s ability to conduct
vulnerable to further exploitation.                                              effective labor inspections and identify forced labor cases. MOL officials
                                                                                 reported being overwhelmed with other responsibilities, such as the
The government had policies and procedures to support victims during
                                                                                 number of unemployment and worker compensation requests. The
the criminal justice process; however, resources were insufficient to
                                                                                 government did not prohibit employers or recruiters from charging
extend access to these measures to all victims. The government permitted
                                                                                 workers recruitment fees. The Ministry of Labor published new regulations
some victims to give testimony either via video, in a Gesell Chamber,
                                                                                 that required private recruiters to register and receive permission to
or from behind a partition in the courtroom to protect the victim’s
                                                                                 operate and strengthened the government’s monitoring and oversight
identity and privacy; some victims could also participate in a witness
                                                                                 of recruitment practices. The government participated in a program with
protection program. The government opened a new Gesell Chamber for
                                                                                 authorities in the United States to limit the entry into Guatemala of sex
use in the specialized ﬁrst instance court in Guatemala City, and both
                                                                                 offenders convicted in the United States; in 2021, authorities denied 13
specialized courts offered psychological services for some victims and
                                                                                 sex offenders entry into Guatemala through this program.
procedures to ensure conﬁdentiality for victim-witnesses, who might be
traumatized and/or intimidated, to testify. The Public Ministry employed
social workers and psychologists to serve as liaisons between the office
                                                                                 TRAFFICKING PROFILE
                                                                                 As reported over the past ﬁve years, human traffickers exploit domestic
and victims, accompany victims through the proceedings against their
                                                                                 and foreign victims in Guatemala, and traffickers exploit victims from
traffickers, and assist victims in accessing medical services. The PDH’s
                                                                                 Guatemala abroad. Traffickers exploit Guatemalan adults and children in
office focused on ensuring the rights of trafficking victims were not
                                                                                 sex trafficking within the country and in Mexico, the United States, Belize,
violated. In 2021, ongoing political disputes and congressional attempts
                                                                                 and other foreign countries. LGBTQI+ persons are at particular risk of sex
to replace the PDH ombudsman put its capacity and anti-trafficking
                                                                                 trafficking. Foreign child sex tourists, predominantly from Canada, the
activities at risk. The law required judges to order restitution when
                                                                                 United States, and Western Europe, as well as Guatemalan men, purchase
sentencing traffickers, but the government did not have a mechanism to
                                                                                 commercial sex acts from child trafficking victims. Traffickers exploit
ensure victims received court-ordered payments. The government did
                                                                                 women and children from other Latin American countries and the United
not report that any victims received restitution in 2021 and has not done
                                                                                 States in sex trafficking in Guatemala. Traffickers exploit Guatemalan
so since 2016. Guatemala’s anti-trafficking law provided legal alternatives
                                                                                 adults and children in forced labor within the country, often in agriculture
to the removal of foreign victims who may face hardship or retribution
                                                                                 or domestic service. Traffickers subject Guatemalan adults to forced
upon return to their home countries. However, the government did not
                                                                                 labor in other countries, including Mexico and the United States, in the
report whether any foreign victims received immigration relief. The
                                                                                 garment industry and domestic service. Experts identiﬁed the coffee,
Ministry of Foreign Affairs held 18 workshops—training 446 officials—on
                                                                                 broccoli, sugar, stone quarry, and ﬁreworks manufacturing sectors as at
the government’s international coordination protocol for repatriating
                                                                                 risk for the potential use of forced child labor. Some women in forced
trafficking victims. The government did not provide information on the
                                                                                 marriages are subjected to domestic servitude. Traffickers particularly
number of victims it repatriated to their home countries or assisted with
                                                                                 target Indigenous Guatemalans, including children, for forced labor,
obtaining temporary or permanent immigration status in Guatemala.
                                                                                 including in tortilla-making shops in Guatemala and foreign countries.
Lengthy criminal justice processes, coupled with a lack of assistance to
                                                                                 Traffickers exploit Guatemalan children in forced labor in begging, street
ﬁnd legal employment, posed a disincentive to foreign adult victims to
                                                                                 vending, and as street performers, particularly within Guatemala City and
remain in the country for the duration of trials. Civil society expressed
                                                                                 along the border with Mexico. Child victims’ families are often complicit
concern some adult foreign victims chose to leave shelters and return
                                                                                 in their exploitation. Criminal organizations, including gangs, exploit
to their home countries due to the lengthy investigation processes.
                                                                                 girls in sex trafficking and coerce and threaten boys and young men in
There were no reports the government punished identiﬁed victims
                                                                                 urban areas to sell or transport drugs or commit extortion. Traffickers
for unlawful acts traffickers compelled them to commit. However, the
                                                                                 exploit some Latin American migrants transiting Guatemala en route
government lacked formal procedures to proactively identify victims
                                                                                 to Mexico or the United States in sex trafficking or forced labor within
among some vulnerable groups, such as children apprehended for
                                                                                 the country or upon arrival at their destination. Traffickers increasingly
gang-related criminal activity.
                                                                                 used online recruitment methods to reach victims, particularly children,
                                                                                 in their own homes during the pandemic. Traffickers have exploited
PREVENTION
                                                                                 victims in migrant shelters. Authorities have investigated police, military,
The government maintained prevention efforts. SVET served as the
                                                                                 and elected officials for paying children for sex acts, facilitating child
secretariat for the Interinstitutional Commission Against Trafficking-in-
                                                                                 sex trafficking, accepting bribes from traffickers, or protecting venues
Persons (CIT), coordinated government efforts against trafficking, and
                                                                                 where trafficking occurs. Government officials in the national banking
implemented the national anti-trafficking action plan for 2018-2024.
                                                                                 system allegedly assisted traffickers in committing money laundering
SVET published its work plans and statistics on trafficking cases and
                                                                                 crimes. The government reported 416 Cuban medical workers in the
government responses on its public website; SVET and PDH published
                                                                                 country; these individuals may have been forced to work by the Cuban
their annual trafficking reports. In four departments, the government
                                                                                 government.
operated local commissions, composed of government, NGO, and other
local stakeholders, designed to raise awareness and prevent sexual
violence, exploitation, and sex trafficking. The government continued
implementation of its multi-year national anti-trafficking awareness
campaign, establishing new partnerships with Indigenous leaders                   GUINEA: TIER 2 WATCH LIST
and municipal authorities for the prevention of trafficking in priority
regions. The PDH, with international donor support, implemented a                The Government of Guinea does not fully meet the minimum standards
campaign in Spanish and local languages to educate the public on                 for the elimination of trafficking but is making signiﬁcant efforts to do
reporting suspected trafficking cases. SVET developed new trafficking            so. These efforts included initiating more investigations, identifying
prevention materials in Braille and distributed written materials in six local   and referring more victims to services, and issuing an emergency anti-
languages to reach vulnerable Indigenous communities. The government             trafficking national action plan (NAP) to supplement the 2020-2022
reported SVET and other institutions trained 996 government officials            NAP. The government established a hotline and allocated resources to
on trafficking prevention and detection. UNIVET’s mobile units, funded           the anti-trafficking committee (CNLTPPA). However, the government
by international donors, trained an additional 1,470 local government            did not demonstrate overall increasing efforts compared to the previous
officials on trafficking awareness. Several agencies cooperated on a             reporting period, even considering the impact of the COVID-19 pandemic
                                                                                                                                   Haiti AR_000738              257
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 363 of 729
GUINEA   on its anti-trafficking capacity. Substantial personnel turnover related      Guinean francs ($5,410-$10,830); these penalties were commensurate
         to the September 2021 coup d’état and subsequent formation of the             with those prescribed for other grave crimes, such as rape. Article 343
         transition government hindered Guinea’s ability to maintain consistent        of the penal code separately criminalized forced begging and prescribed
         anti-trafficking efforts. The government did not provide data on its          penalties of one to three years’ imprisonment and a ﬁne; these penalties
         prosecution of trafficking cases and did not amend its penal code to          were not sufficiently stringent.
         remove sentencing provisions that allow ﬁnes in lieu of imprisonment
                                                                                       Insecurity across the country hindered the government’s collection of law
         for sex trafficking, unlike other grave crimes. While the government
                                                                                       enforcement statistics. The government did not report comprehensive law
         convicted more traffickers than during the previous reporting period,
                                                                                       enforcement data, and due to poor record keeping and the conﬂation of
         traffickers received sentences that did not serve to deter the crime
                                                                                       trafficking with other crimes, law enforcement data on trafficking likely
         or adequately reﬂect the nature of the offense. Shelter services for
                                                                                       included migrant smuggling or child labor cases. In 2021, the government
         victims remained insufficient, and the government did not support
                                                                                       reported initiating investigations into 46 trafficking cases, compared with
         NGOs providing care to victims. Despite the prevalence of forced child
                                                                                       one investigation in 2020, and continued investigations of 11 trafficking
         begging in Quranic schools, Guinean authorities have never prosecuted
                                                                                       cases initiated in the previous reporting period. The government reported
         a Quranic teacher for forced begging. Because the government has
                                                                                       prosecuting trafficking cases during the reporting period but did not
         devoted sufficient resources to a written plan that, if implemented, would
                                                                                       provide details on the cases prosecuted, compared with prosecuting
         constitute signiﬁcant efforts to meet the minimum standards, Guinea
                                                                                       45 alleged traffickers the previous year. Courts convicted 24 traffickers
         was granted a waiver per the Trafficking Victims Protection Act from
                                                                                       and acquitted one trafficker, compared with 20 convictions during the
         an otherwise required downgrade to Tier 3. Therefore Guinea remained
                                                                                       previous reporting period. Of the 24 convictions, 23 traffickers received
         on Tier 2 Watch List for the third consecutive year.
                                                                                       a sentence of one year or less, and one trafficker received a ﬁne, which
                                                                                       did not serve to deter the crime or adequately reﬂect the nature of the
                 GUINEA TIER RANKING BY YEAR                                           offense. The Special Brigade for the Protection of Vulnerable Persons
             1                                                                         (BSPPV) and OPROGEM were the lead government entities responsible
             2
                                                                                       for investigating trafficking cases, and the General Secretary for Special
                                                                                       Services, Counter-Narcotics, and Combating Organized Crime could
           2WL                                                                         investigate transnational trafficking cases. Designated magistrates
             3                                                                         in the Ministry of Justice prosecuted trafficking cases. Despite the
                    2015     2016      2017    2018   2019   2020    2021    2022      prevalence of Guinean children exploited in forced begging in Quranic
                                                                                       schools in Guinea and surrounding countries, the government has never
                                                                                       prosecuted a Quranic teacher for forced child begging.
                                                                                       The government did not report any investigations, prosecutions, or
         PRIORITIZED RECOMMENDATIONS:
                                                                                       convictions of government employees complicit in human trafficking
         Increase efforts to investigate, prosecute, and convict suspected
                                                                                       crimes; however, corruption and official complicity in trafficking crimes
         traffickers and complicit officials and sentence convicted traffickers to
                                                                                       remained signiﬁcant concerns, inhibiting law enforcement action during
         signiﬁcant prison terms. • Amend the penal code to remove sentencing
                                                                                       the year. The lack of extradition agreements with countries in Africa
         provisions that allow ﬁnes in lieu of imprisonment and ensure penalties
                                                                                       and the Middle East impeded prosecutions of traffickers from those
         prescribed for forced begging are commensurate with those prescribed
                                                                                       countries. The government cooperated with Sierra Leonean officials
         for other serious crimes. • Signiﬁcantly increase efforts to identify
                                                                                       on the arrest and prosecution of a Sierra Leonean woman arrested for
         trafficking victims among vulnerable populations, including children
                                                                                       trafficking 11 children in Guinea.
         in Quranic schools, workers in artisanal mining sites, women traveling
         to the Middle East in potential fraudulent recruitment schemes, Cuban         The government dedicated a budget to OPROGEM for the ﬁrst time
         medical professionals, and North Korean workers, and refer trafficking        since 2016 and also dedicated land and funding to construct a new
         victims to appropriate services. • Allocate dedicated funding to the          headquarters location for the agency. Police resources normally dedicated
         Office for the Protection of Gender, Children, and Morals (OPROGEM)           to anti-trafficking efforts were diverted to pandemic safety protocols
         to enable criminal investigations. • Increase funding and in-kind support     enforcement. Officials reported that a lack of general knowledge about
         for NGOs to ensure all identiﬁed trafficking victims receive services. •      trafficking and trafficking provisions under the 2016 penal code persisted
         Train law enforcement and service providers on standard procedures            among government officials, especially judges and prosecutors in lower
         to identify trafficking victims and refer them to services. • Provide         courts. The government, in partnership with a foreign government and
         OPROGEM and labor inspectors the resources and training necessary             NGOs, trained police cadets, gendarmes, and judicial police on anti-
         to monitor recruitment agencies and investigate forced labor cases. •         trafficking enforcement procedures, victim referral, and investigative
         Establish a uniform and comprehensive data collection system on anti-         techniques related to human trafficking. The government reported
         trafficking efforts, distinguishing human trafficking from other crimes.      one training for prosecutors and judges on trafficking and trafficking
         • Increase efforts to raise public awareness of trafficking, including        networks, compared with no trainings the previous year. The government
         internal trafficking, child forced labor, and forced begging, including in    provided anti-trafficking training manuals to both the police and
         Quranic schools. • Strengthen the CNLTPPA’s authority to implement            gendarme academy staff.
         anti-trafficking policy and coordinate activities and information sharing
         among agencies conducting anti-trafficking work. • Develop and                PROTECTION
         implement extradition agreements for traffickers with countries in            The government increased protection efforts. The government reported
         Africa and the Middle East.                                                   identifying 291 trafficking victims—225 forced labor trafficking victims,
                                                                                       including 72 children, and 66 sex trafficking victims, including 20 children.
         PROSECUTION                                                                   The government reported NGOs identiﬁed an additional 128 forced
         The government maintained mixed anti-trafficking law enforcement              labor trafficking victims, 20 of whom were children. This compared
         efforts. Article 323 and 324 of the penal code criminalized sex trafficking   with the government identifying 212 trafficking victims in the previous
         and labor trafficking and prescribed penalties of three to seven years’       reporting period: 200 forced labor victims and 12 sex trafficking victims.
         imprisonment, a ﬁne, or both for trafficking offenses involving an adult      The government referred 220 potential victims to services—176 sex
         victim, and ﬁve to 10 years’ imprisonment, a ﬁne, or both for those           trafficking victims, including 36 children, and 44 labor trafficking victims,
         involving a child victim. These penalties were sufficiently stringent;        all children—compared with no victims referred to care in the previous
         however, by allowing for a ﬁne in lieu of imprisonment, the penalties         year. Lack of training and coordination between ministries, as well as
         for sex trafficking were not commensurate with those prescribed for           inconsistent and sometimes unavailable government services, continued
         other serious crimes, such as rape. Under Article 893 and 894 of the          to inhibit victim identiﬁcation and assistance efforts.
         children’s code, child trafficking crimes were prescribed penalties of
                                                                                       The government had standard operating procedures (SOPs) for victim
         ﬁve to 10 years’ imprisonment and a ﬁne of 50 million to 100 million
                                                                                       identiﬁcation and referral to services developed in collaboration with an

 258                                                                                                                                 Haiti AR_000739
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 364 of 729




                                                                                                                                                               GUINEA
international organization. In October 2021, the government developed          The CNLTPPA, in partnership with civil society and foreign donors,
a standardized victim referral manual for vulnerable populations,              organized several awareness campaigns on trafficking prevention and
including trafficking victims, seeking legal and judicial assistance.          visited rural villages to discuss trafficking. In December, the government
The government reported offering trafficking victims psychosocial              established a hotline run by the gendarmerie to ﬁeld calls concerning
assistance, legal services, and economic support for income generating         violence, abuse, labor violations, and trafficking. The government did
activities; however, the government continued to rely on NGOs and              not report statistics for how many calls the new hotline received. A
foreign donors to provide and fund the majority of victim care. NGOs           separate, NGO-run hotline for victims of gender-based violence has
lacked adequate resources for victim services, and observers reported          existed since 2005; it ﬁelded 850 calls in 2021. According to an NGO
there were not enough shelters to support victims. Observers reported          evaluation, 68 percent of the hotline’s calls had trafficking indicators. The
LGBTQI+ persons and individuals engaged in commercial sex faced                government had policies to regulate foreign labor recruiters and hold
challenges in accessing services.                                              them civilly and criminally liable for fraudulent recruitment; however,
                                                                               neither OPROGEM nor the Ministry of Labor had the resources or the
An international organization-funded transit center for returning migrants
                                                                               trained personnel to monitor and enforce these policies consistently
and child trafficking victims was the only available shelter to host
                                                                               and did not report referring any potential cases for investigation.
trafficking victims at the end of the reporting period; the Ministry of
                                                                               The government prohibited recruitment agencies from assessing
Women’s Promotion and Childhood provided social workers who ran the
                                                                               recruitment fees. Despite the prevalence of child forced labor, labor
shelter in collaboration with the international organization. The center
                                                                               inspectors conducted 120 inspections and did not report ﬁnding any
could provide emergency and short-term services before referring
                                                                               child labor violations. The government did not report providing training
children for long-term care. The government did not report referring any
                                                                               on child labor laws. The government did not report if the Ministry of
victims to the shelter during the reporting period. Government health
                                                                               Social Action continued coordinating interagency border control units
facilities and social workers could provide medical and psycho-social
                                                                               to ensure children crossing international borders were traveling with
services. In response to the pandemic, the government provided the
                                                                               their families. The government did not report making efforts to address
reception center with protective kits, including masks and handwashing
                                                                               forced begging in Quranic schools in Guinea or neighboring West African
liquid. NGOs reported law enforcement referred child trafficking victims
                                                                               countries. The government did not make efforts to reduce the demand
to NGOs on an ad hoc basis. If NGO shelters were unavailable, the
                                                                               for commercial sex.
Ministry of Social Action could place child victims with host families.
The government reported pandemic-related travel restrictions hindered          The government did not report providing anti-trafficking training to its
victim protection efforts and made it more difficult for victims to access     diplomatic personnel. The government provided human rights training,
services.                                                                      including anti-trafficking training, to its troops prior to their deployment
                                                                               as peacekeepers; international and Guinean officials provided this
The government did not have a formal policy to encourage victims to
                                                                               training to 800 Guinean MINUSMA personnel during the reporting
assist in investigations and prosecutions against their alleged traffickers.
                                                                               period. Although not explicitly reported as human trafficking, there was
Reports indicated victims and their parents were reluctant to ﬁle
                                                                               one open case of alleged sexual exploitation with trafficking indicators
claims against traffickers due to a lack of conﬁdence in the judicial
                                                                               by a Guinean peacekeeper deployed to the UN peacekeeping mission
system. Judges could allow victims to provide testimony via video or
                                                                               in the Democratic Republic of the Congo in 2019; the UN substantiated
written statements; however, no victims reportedly did so during the
                                                                               the allegations and repatriated the offender. The government had not
reporting period. The government partnered with a law ﬁrm to offer
                                                                               yet reported the accountability measures taken, if any, by the end of
legal assistance to women and child trafficking victims and provided
                                                                               the reporting period.
assistance to 22 victims. NGO-operated legal clinics and the national
human rights association provided advice and support to victims of crime,
including trafficking victims. Officials reported victims underutilized
                                                                               TRAFFICKING PROFILE
                                                                               As reported over the past ﬁve years, human traffickers exploit domestic
the legal clinics due to lack of awareness. The 2016 penal code allowed
                                                                               and foreign victims in Guinea, and traffickers exploit victims from Guinea
NGOs to become plaintiffs on behalf of victims; the government did
                                                                               abroad. Populations vulnerable to sex and labor trafficking in Guinea
not report if NGOs utilized this provision during the reporting period.
                                                                               include individuals in commercial sex, including those from ECOWAS
Victims could legally obtain restitution from the government; the
                                                                               and other nations, adults and children working in the informal labor
government reported courts ordered restitution but did not provide
                                                                               sector, homeless and orphaned children, artisanal miners, children and
details. Victims could ﬁle civil suits against their traffickers; however,
                                                                               adults with albinism, and persons suffering severe mental illnesses.
no victims pursued this option, largely due to lack of awareness. The
                                                                               Traffickers exploit boys in forced labor in begging, street vending, shoe
government did not have formal policies to provide temporary or
                                                                               shining, mining for gold and diamonds, herding, ﬁshing, and agriculture,
permanent residency to victims from countries where, if repatriated,
                                                                               including farming and on coffee, cashew, and cocoa plantations. Some
they would face hardship or retribution, but it could provide work and
                                                                               government entities and NGOs allege that within Guinea, forced labor
residency permits to victims on an ad hoc basis; ECOWAS nationals
                                                                               is most prevalent in the mining sector. Traffickers exploit adults and
did not require special status to remain in Guinea. The government did
                                                                               children in forced labor in agriculture. Reports indicate children are sent
not report any victims requesting these services during the reporting
                                                                               to the coastal region of Boke for forced labor on farms. Children from
period. Due to weak victim identiﬁcation efforts, authorities may have
                                                                               villages in Middle and Upper Guinea may be more vulnerable to trafficking
detained some unidentiﬁed trafficking victims.
                                                                               due to the region’s lack of schools and economic opportunities. Due
                                                                               to pandemic-related economic disruptions in the informal sector and
PREVENTION
                                                                               school closures, observers reported an increase in Guinean adults and
The government maintained efforts to prevent trafficking. The CNLTPPA,
                                                                               children seeking employment in artisanal gold mines and subsequently
the government’s anti-trafficking coordinating body, met regularly
                                                                               being exploited in forced labor and sex trafficking. Government officials
during the reporting period. The Ministry of Women, Children, and
                                                                               recognize the town of Koundara in northwestern Guinea as a transit
Vulnerable Persons led the committee, which included the ministries
                                                                               point for traffickers.
of Justice, Security, Labor, Foreign Affairs, and Defense. For the second
time in six years, the government allocated funds for equipment,               Traffickers, often distant relatives, promise to care for or provide an
supplies, and a dedicated communications budget to the CNLTPPA to              education to poorer relatives’ children and instead exploit them in
support implementation of the 2020-2022 anti-trafficking NAP. The              domestic servitude or forced begging. There are reports of Quranic
government issued an Emergency Action Plan, which supplemented                 schools in which teachers force or coerce talibes to beg, sometimes
the existing NAP and assigned agency leads. Despite this, lack of              with their parents’ knowledge. Some traffickers fraudulently recruit
personnel and coordination, social unrest, and the pandemic hindered           children under the pretext of educational opportunities and instead
the government’s efforts to combat trafficking, conduct trainings,             exploit them in forced begging in Quranic schools in Senegal—via the
and hold public awareness raising events during the reporting period.          town of Koundara, Guinea. Students are trafficked along routes through
Observers noted the CNLTPPA lacked authority to effectively implement          Mali and Guinea-Bissau. Traffickers exploit Guinean children in forced
anti-trafficking policy and coordinate government activities.                  labor in Cote d’Ivoire. Guinea is a transit country for West African
                                                                                                                                 Haiti AR_000740               259
                    Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 365 of 729
GUINEA-BISSAU   children subjected to forced labor in artisanal gold mining throughout         to expand its area of operation, including in Bijagos and Catió. • Fully
                the region. A small number of girls from West African countries migrate        implement the national referral mechanism and train government
                to Guinea, where traffickers exploit them in domestic service, street          officials, including local police, the National Guard, and the judiciary,
                vending, and—to a lesser extent—sex trafficking. Child sex trafficking is      on the procedures. • Train law enforcement and judicial officials on the
                prevalent in Conakry and in mining towns and camps in Lower and Upper          2011 anti-trafficking law and procedures to refer trafficking cases to the
                Guinea. North Koreans working in the mining, construction, ﬁshing, and         Judicial Police. • Provide funding or in-kind support for NGOs to ensure
                health sectors and in commercial sex may have been forced to work by           all identiﬁed victims—especially child victims of forced begging—receive
                the North Korean government. Cuban medical professionals working               services. • Allocate ﬁnancial or in-kind resources to implement the anti-
                in Guinea may have been forced to work by the Cuban government.                trafficking national action plan (NAP). • Increase efforts to coordinate
                Guinean authorities alleged traffickers coerce People’s Republic of            repatriation of trafficking victims with the Government of Senegal and
                China (PRC) women into commercial sex in PRC national-owned bars               effectively monitor the return and reintegration of victims, especially
                and restaurants in Conakry.                                                    child victims. • Signiﬁcantly increase efforts to raise public awareness
                                                                                               of human trafficking, especially forced begging and child sex trafficking.
                Traffickers exploit Guinean women and girls in forced labor for domestic
                                                                                               • In collaboration with NGOs, allocate adequate space and facilities
                service and sex trafficking in West Africa, Europe, and the Middle East,
                                                                                               for a victim shelter in Bissau and expand shelter services for adults. •
                as well as the United States. During a previous reporting period, there
                                                                                               Strengthen international law enforcement cooperation to prevent and
                were reports Guinean-Egyptian trafficking networks fraudulently recruit
                                                                                               investigate cases of child sex tourism.
                women for domestic work in Egypt and exploit them in commercial
                sex. Irregular migrants traveling to Europe are vulnerable to trafficking
                                                                                               PROSECUTION
                networks facilitating travel by land from Guinea to North Africa and
                                                                                               The government maintained inadequate law enforcement efforts.
                subsequently exploiting migrants in forced labor or sex trafficking.
                                                                                               Public Law 12/2011 criminalized sex trafficking and labor trafficking
                Reports indicate that trafficking networks fraudulently recruit Guinean,
                                                                                               and prescribed penalties of three to 15 years’ imprisonment and the
                Liberian, and Sierra Leonean women for work abroad, using the Conakry
                                                                                               conﬁscation of any proceeds from the crime. These penalties were
                airport to transport victims to exploitative situations in Kuwait and Qatar.
                                                                                               sufficiently stringent and, with regard to sex trafficking, commensurate
                In a previous reporting period, an international organization reported an
                                                                                               with penalties prescribed for other serious crimes, such as rape. Draft
                increase in fraudulent recruitment for forced labor in domestic service in
                                                                                               amendments to the Code of Child Protection that would harmonize it
                the Middle East, especially Egypt and Kuwait. There have been reports
                                                                                               with international law on human trafficking remained pending before
                some Guinean men marry Guinean girls, take them to Angola, and sell the
                                                                                               the legislature for the third consecutive year.
                girls to local brothels while the men work in diamond mines. In previous
                years, authorities identiﬁed Guinean forced labor victims in Finland.          The government did not report the total number of investigations initiated
                                                                                               but did report investigating cases involving 92 potential trafficking
                                                                                               victims, all suspected forced begging cases, during the reporting period,
                                                                                               compared with 34 case investigations, including eight forced begging
                 GUINEA-BISSAU: TIER 3                                                         and 26 sex trafficking cases, during the previous reporting period. The
                                                                                               government did not report any prosecutions for the third consecutive
                                                                                               year. The government has never convicted a trafficker under the anti-
                The Government of Guinea-Bissau does not fully meet the minimum                trafficking law. Despite the prevalence of Bissau-Guinean boys exploited
                standards for the elimination of trafficking and is not making signiﬁcant      in neighboring countries for forced begging, the government did not
                efforts to do so, even considering the impact of the COVID-19 pandemic, if     cooperate with foreign counterparts on law enforcement activities.
                any, on its anti-trafficking capacity; therefore Guinea-Bissau remained on     The government did not report any investigations, prosecutions, or
                Tier 3. Despite the lack of signiﬁcant efforts, the government took some       convictions of government officials complicit in human trafficking
                steps to address trafficking, including investigating trafficking cases,       crimes; however, official corruption and complicity in trafficking crimes
                identifying potential victims, launching a national referral mechanism,        remained concerns, inhibiting law enforcement action during the year.
                and continuing to convene its anti-trafficking inter-ministerial committee.    The judicial system lacked sufficient human and physical capital to
                However, the government has never convicted a trafficker, and authorities      function effectively, and corruption remained pervasive. Observers
                did not prosecute any alleged traffickers for the third consecutive year.      alleged municipal and provincial government officials interfered in
                Victim identiﬁcation and services remained inadequate. The government          cases and derailed prosecutions of traffickers in exchange for a bribe.
                continued to lack resources and political will to comprehensively combat       The government did not demonstrate political will at the highest levels
                human trafficking.                                                             of government to address human trafficking.
                                                                                               The Judicial Police had a specialized unit that investigated trafficking
                        GUINEA-BISSAU TIER RANKING BY YEAR
                                                                                               cases; however, it had limited coverage outside the capital and did
                    1
                                                                                               not have a dedicated budget. The National Guard patrolled Guinea-
                    2                                                                          Bissau’s borders and had a unit dedicated to investigating crimes
                  2WL                                                                          involving women and children, including trafficking; however, it also
                                                                                               did not have a dedicated budget. The National Guard and local police
                    3
                          2015      2016      2017     2018   2019   2020    2021    2022      in rural areas lacked training to investigate human trafficking crimes
                                                                                               and did not always refer cases to the Judicial Police, which impeded
                                                                                               investigations. The Public Ministry did not have specialized prosecutors
                                                                                               for trafficking cases; the ministry’s child protective services enforced
                                                                                               court decisions in trafficking cases involving children but did not have
                PRIORITIZED RECOMMENDATIONS:
                                                                                               coverage outside of the capital. The police, National Guard, judiciary,
                Increase efforts to investigate, prosecute, and convict traffickers,
                                                                                               and prosecutors lacked funding, which hindered their efforts to combat
                including corrupt Quranic teachers who subject boys to forced begging
                                                                                               human trafficking. Police and judges often resolved intra-familial labor
                and hotel staff who facilitate child sex tourism in the Bijagos, and
                                                                                               and abuse cases—which could include forced child labor and child sex
                sentence convicted traffickers to adequate prison terms, as prescribed
                                                                                               trafficking by family members—through non-judicial means or tried
                in law. • Cease using extra-judicial or administrative remedies to resolve
                                                                                               them as domestic violence cases. When parents broke non-judicial
                human trafficking cases. • Hold government officials accountable for
                                                                                               agreements and police transferred the cases to court, officials noted
                trafficking-related complicity, including failure to investigate alleged
                                                                                               community leaders often pressured courts to drop the cases. The
                trafficking crimes and interference in ongoing investigations. • Finalize
                                                                                               government did not provide anti-trafficking training to law enforcement
                and implement standard procedures to identify trafficking victims and
                                                                                               or judicial officials or support NGOs conducting anti-trafficking training
                refer them to care, including among vulnerable populations such as
                                                                                               for the second consecutive year, and some law enforcement and judicial
                children exploited in forced begging, individuals in commercial sex,
                                                                                               officials remained unaware of the 2011 anti-trafficking law.
                and Cuban overseas workers. • Provide resources to the Judicial Police
  260                                                                                                                                      Haiti AR_000741
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 366 of 729




                                                                                                                                                             GUYANA
PROTECTION                                                                      sex. The government did not provide anti-trafficking training to its
The government maintained insufficient protection efforts. The                  diplomatic personnel.
government identiﬁed 92 child forced begging victims and 33 child
victims of sexual exploitation during the reporting period, compared            TRAFFICKING PROFILE
with identifying 99 vulnerable children during the previous reporting           As reported over the past ﬁve years, human traffickers exploit domestic
period. Authorities referred the children to civil society organizations        and foreign victims in Guinea-Bissau, and traffickers exploit victims from
for care. The government did not have formal procedures to identify             Guinea-Bissau abroad. Forced child begging is the most prevalent form
trafficking victims; draft procedures compiled in a previous reporting          of human trafficking. Some corrupt Quranic teachers force or coerce
period with the assistance of an international organization remained            students, called talibés, to beg and do not provide an education. The
unﬁnished. However, officials utilized ECOWAS procedures for the                traffickers are principally men from the Bafata and Gabu regions—
protection and reintegration of children and young migrants. The                often former talibés or men who claim to be working for a Quranic
Institute for Women and Children (IMC) previously developed a victim            teacher—and are generally well-known within the communities in
identiﬁcation form with an international organization but did not use           which they operate. Corrupt Quranic teachers force Bissau-Guinean,
it to identify victims during the current reporting period. High illiteracy     and increasingly Guinean, Gambian, and Sierra Leonean, boys to beg in
rates, including among security services, hampered the government’s             Bissau and exploit Guinea-Bissau’s weak institutions and porous borders
ability to ﬁnalize and implement written victim identiﬁcation procedures.       to transport large numbers of Bissau-Guinean boys to Senegal—and
The government began implementing a national referral mechanism                 to a lesser extent Mali, Guinea, and The Gambia—for forced begging in
developed with funding from a foreign donor and the assistance of               exploitative daaras. Due to border closures as a result of the pandemic,
local facilitators; the inter-ministerial committee disseminated the            observers reported traffickers exploited more children in forced begging
procedures to stakeholders.                                                     in Bissau rather than abroad.
The IMC was responsible for victim services and coordination of services        Traffickers exploit Bissau-Guinean boys in forced labor in street vending
among various entities; however, it had no operating budget or vehicles         and in the agricultural and mining sectors in Senegal, especially in the
and could not provide sufficient assistance to victims. The government          southern cities of Kolda and Ziguinchor. Traffickers force West African
did not have a speciﬁc fund for victim services and relied on international     boys to harvest cashews during Guinea-Bissau’s annual harvest, and
organizations and local NGOs to provide nearly all victim services, including   some boys recruited for work in the harvest are then forced to beg.
family identiﬁcation and reintegration, shelter, medical services, and legal    Traffickers exploit some Guinean boys for forced labor in shoe shining in
assistance; these NGOs subsequently relied on international donors for          Guinea-Bissau. Traffickers exploit Bissau-Guinean girls in sex trafficking
funding. The government did not provide ﬁnancial or in-kind support to          and forced labor in street vending and domestic work in Guinea, The
NGOs assisting trafficking victims for the third consecutive year. Three        Gambia, and Senegal, as well as in Spain. Senegalese trafficking networks
NGO shelters were accessible to child trafficking victims but were severely     recruit Bissau-Guinean girls for modeling jobs or traveling football clubs
overcrowded and underfunded; some shelter volunteers used their own             but subject them to sex trafficking. Bissau-Guinean girls are exploited
homes to house victims temporarily. Shelter was only available for child        in domestic servitude and in sex trafficking in bars, nightclubs, and
victims, and only one NGO shelter provided trafficking-speciﬁc services.        hotels in Bissau. Bissau-Guinean women are fraudulently recruited and
The government did not have formal procedures to encourage victims              exploited in domestic servitude abroad. Bissau-Guinean girls from the
to participate in investigations or prosecutions against their alleged          Bijagos—and to a lesser extent mainland girls and boys—are exploited in
traffickers. Victims could not obtain restitution or ﬁle civil suits against    child sex tourism in the Bijagos, an archipelago off the coast of Guinea-
their traffickers. The government did not provide legal alternatives to the     Bissau that is far from the mainland and largely devoid of government
removal of foreign victims to countries where they may face hardship or         and law enforcement presence. Although the extent of child sex tourism
retribution. Due to a lack of formal identiﬁcation procedures, authorities      is unknown, it is widely acknowledged among civil society, NGOs, and
may have detained some unidentiﬁed trafficking victims. Observers               mid-level government officials. In most cases, French nationals own
noted more coordination was needed between the Governments of                   hotels on the islands and use Bissau-Guinean intermediaries to exploit
Guinea-Bissau and Senegal in repatriating child forced begging victims.         island girls 13-17 years old for French and Belgian child sex tourists.
                                                                                International sources report these same hotel owners provide jobs and
PREVENTION                                                                      signiﬁcant support to the island community, wielding inﬂuence that can
The government maintained minimal efforts to prevent trafficking. The           deter victims from reporting to law enforcement. Some families may
inter-ministerial committee, led by the IMC and including government            encourage their children to endure such exploitation for ﬁnancial gain.
agencies, NGOs, and religious groups, met regularly. However, the               Bissau-Guinean men from the mainland fuel local demand for commercial
committee lacked funding for anti-trafficking activities, which weakened        sex on the islands. During previous reporting periods, there were reports
its capacity to respond to trafficking and coordinate national anti-            of official complicity in human trafficking among island officials and in
trafficking efforts. The government had a national action plan to               the judiciary. According to an international organization, Guinea-Bissau’s
address human trafficking but did not report allocating any resources           birth registration rate is less than 25 percent, increasing vulnerability
to its implementation. The government did not report conducting or              to trafficking, especially among children. Cuban nationals working in
providing support to NGO-facilitated awareness campaigns for the                Guinea-Bissau may have been forced to work by the Cuban government.
second consecutive year. The IMC and the Ministry of Tourism had a
code of conduct against sexual exploitation in the tourism sector in
the Bijagos islands, Bubaque, Sao Domingos, and Bissau. The code
included provisions for raising public awareness of child sex trafficking        GUYANA: TIER 1
and increasing awareness of hotel workers and tourism labor inspectors
to combat these crimes; although the code remained in effect, the               The Government of Guyana fully meets the minimum standards for the
government did not report conducting any of the activities described, in        elimination of trafficking. The government continued to demonstrate
part due to the pandemic’s impact on the tourism sector and gathering
                                                                                serious and sustained efforts during the reporting period, considering
restrictions. The labor inspectorate, housed within the Ministry of Labor,
                                                                                the impact of the COVID-19 pandemic on its anti-trafficking capacity;
Civil Service and Public Administration, lacked funding, personnel,
                                                                                therefore Guyana remained on Tier 1. These efforts included identifying
material resources, and training to investigate cases of forced labor
                                                                                more victims and referring them to services, increasing investigations
nationwide. The government did not inspect local daaras (Quranic
                                                                                and prosecutions, drafting and funding a National Action Plan (NAP) for
schools) to ensure they did not force children to beg. Amendments
                                                                                2021-2025 with input from survivors, training diplomats, and conducting
to the labor code that would extend labor protections to domestic
                                                                                a campaign to inform migrants of the Spanish-language hotline. Although
workers have remained pending in the national assembly since 2015.
                                                                                the government meets the minimum standards, it did not convict any
The government issued birth registrations to trafficking victims and child
victims’ parents with support from an international organization. The           traffickers for the ﬁrst time in four years. It did not formally approve
government did not make efforts to reduce the demand for commercial             standard operating procedures (SOPs) to identify victims, provide
                                                                                sufficient security for trafficking victims at shelters, provide enough
                                                                                                                                Haiti AR_000742              261
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 367 of 729
GUYANA   Spanish-language interpreters, identify any victims among the vulnerable       Trafficking Unit did not have a ﬁxed, discrete budget. Two key entities
         Haitian population, or adequately oversee recruitment agencies.                prosecuted criminal matters in Guyana: the office of the Director of Public
                                                                                        Prosecutions (DPP) prosecuted felonies such as murder and rape at High
                 GUYANA TIER RANKING BY YEAR                                            Court trials, and the GPF prosecution unit prosecuted hybrid offenses,
             1                                                                          including trafficking, in the Magistrates Court. The government did not
                                                                                        have a specialized trafficking court. Police prosecutors were not licensed
             2
                                                                                        attorneys, but some had law degrees and received specialized training
          2WL                                                                           in legal procedure. The government advised GPF prosecutors to request
             3                                                                          the advice and guidance of the DPP to strengthen cases for prosecution
                    2015     2016      2017    2018   2019   2020     2021    2021      before initiating legal proceedings, but the government reported this
                                                                                        was not often done. The Act also required witness testimony of victims
                                                                                        in order to prosecute trafficking cases. The government reported both of
         PRIORITIZED RECOMMENDATIONS:                                                   these factors contributed to the low prosecution rate. The government
                                                                                        also stated that victims’ distrust in law enforcement, prosecutors, and
         Increase prosecutions and convictions in sex and labor trafficking cases       the judicial system; the inability to guarantee the safety of victims and
         and pursue them under the Combating Trafficking in Persons Act of 2005,        their relatives; language barriers; and delays in investigations were
         including for cases involving child victims. • Ensure security for victims,    challenges in prosecuting trafficking. The judicial process remained
         especially those residing in government shelters, and their relatives. •       slow, with trafficking and other major criminal trials taking an average
         Proactively screen vulnerable populations, including Haitian migrants          of two years and up to three years to complete due to shortages of
         and Cuban medical workers, for trafficking indicators, refer them to           trained court personnel, postponements at the request of the defense
         services, and ensure potential victims are not deported without screening.     or prosecution, allegations of bribery, poor case tracking, and delays in
         • Formally approve and implement victim SOPs and fund specialized              preparing cases for trial. The government temporarily shifted some court
         victim services, particularly for child, adult male, and Venezuelan victims    proceedings to virtual hearings due to the pandemic. The government
         in their native language, including for Indigenous populations. • Increase     trained law enforcement, military, and labor officials in calendar year
         the number of Spanish speakers supporting anti-trafficking efforts. •          2021 but did not disaggregate the data for the current reporting period.
         Reduce delays in investigations, court proceedings, and pretrial detention     In March 2022, the government agreed to a protocol to accede to the
         of suspects. • Reduce the reliance on victims to serve as witnesses in         Caribbean Regional Security System, which provides mutual assistance
         prosecutions. • Ensure migrants wishing to change jobs are able to do          and a collective response to security threats. The government reported
         so without relying on their previous employer. • Formally approve and          that the Ministry of Home Affairs and the GPF were assisting officials in a
         fund the 2021-2025 National Action Plan. • Reduce police abuses during         neighboring country with information for one of the new investigations
         raids and hold officers accountable. • Investigate trafficking cases in        still underway at the end of the reporting period.
         remote regions of the country and trafficking using online platforms.
         • Hold convicted traffickers, including complicit officials, accountable
                                                                                        PROTECTION
         by pursuing signiﬁcant sentences in court. • Prohibit recruitment and
                                                                                        The government maintained protection efforts. The government screened
         placement fees charged to workers. • Increase the number of labor
                                                                                        288 potential victims and identiﬁed 216 victims; NGOs identiﬁed 15
         inspectors and ﬁnes for labor violations. • Enforce restitution judgments
                                                                                        victims. Of the identiﬁed victims, 193 were women and 14 were girls
         for trafficking victims. • Undertake systemic monitoring of anti-trafficking
                                                                                        exploited in sex trafficking; ﬁve women, 10 men, six girls, and three boys
         efforts and publish the results. • Renew implementation of a data-sharing
                                                                                        were exploited in labor trafficking. The sex trafficking victims included
         system in coordination with an international organization.
                                                                                        22 Guyanese, 166 Venezuelans, ﬁve Jamaicans, two Cubans, and one
                                                                                        Indian; the remaining victims were from unspeciﬁed countries. The
         PROSECUTION                                                                    labor trafficking victims included six Guyanese, 10 Venezuelans, three
         The government maintained law enforcement efforts. The Combating               Cubans, two Brazilians, two Jamaicans, and one Indian national. This
         Trafficking of Persons Act of 2005 (Act) criminalized sex trafficking          compared with the identiﬁcation of 199 victims by the government and
         and labor trafficking and prescribed penalties of three years to life          an additional ﬁve victims by NGOs in 2020 (127 sex trafficking victims
         imprisonment. These penalties were sufficiently stringent and, with            and 77 labor trafficking victims). The Ministry of Human Services and
         respect to sex trafficking, commensurate with those prescribed for             Social Security’s (MHSSS’s) Counter-Trafficking in Persons (C-TIP) Unit
         other serious crimes, such as rape.                                            identiﬁed victims in cooperation with the GPF and provided social
         The government reported initiating investigations in 38 cases involving        welfare and assistance to victims. The C-TIP Unit had ﬁve staff members;
         57 suspects, 46 for sex trafficking and 11 for labor trafficking, compared     the government reported this was insufficient to effectively undertake
         with 31 new cases (23 for sex trafficking and eight for labor trafficking)     its work. In August 2021, the government publicly stated it planned to
         in 2020. The government continued one sex trafficking investigation            expand the C-TIP Unit but had not done so by the end of the reporting
         from the previous reporting period. The government reported it initiated       period. The government reported allocating the C-TIP Unit in 2021 a
         prosecutions against three suspected traffickers, one for sex trafficking      budget of 52.44 million Guyanese dollars (GYD) ($243,900). In ﬁscal
         and two for labor trafficking, compared with one new prosecution for sex       year 2020, the government reported the C-TIP Unit received a budgetary
         trafficking in 2020 and three prosecutions in 2019. Authorities ceased         allocation of 25.86 million GYD ($120,270). In cooperation with an
         prosecution of one alleged sex trafficker following the suspect’s death.       international organization and a foreign donor, authorities developed
         Authorities continued prosecutions against two defendants, one for             and began use of, but did not ﬁnalize, SOPs for victim identiﬁcation.
         sex trafficking and one for labor trafficking; courts dismissed the labor      The international organization also reported police did not adhere to a
         trafficking case in December 2021 for insufficient evidence. Authorities       requirement to give potential victims a reﬂection period, and in some
         did not convict any traffickers, compared with convicting one trafficker       cases, officials interviewed potential victims at police stations near the
         for each of the past three years. The government did not report any new        alleged perpetrators.
         investigations, prosecutions, or convictions of government employees           The government and NGOs reported they each referred all victims
         complicit in trafficking offenses. In February 2022, media reported            identified to available services, compared with the government
         accusations from 20 Venezuelan women that police had assaulted and             referring 100 victims in 2020 and 99 victims in 2019. The informal
         robbed them during a raid on a hotel where police suspected trafficking        referral procedures used by the GPF, Ministry of Labor inspectors, and
         was taking place. The government did not report on the appeal of a             the Ministry of Natural Resources required these entities to involve the
         former police officer convicted of sex trafficking and released on bail        C-TIP Unit in all suspected trafficking cases. The government reported
         in 2016; the appeal was still pending at the end of the reporting period.      the MHSSS monitored and evaluated its victim care services to ensure
         The government reported conducting surveillance and several raids of           it administered them equitably but did not provide reports of these
         commercial sex establishments and bars during the reporting period,            evaluations. The government reported all 216 victims it identiﬁed received
         primarily in interior mining areas. The Guyana Police Force (GPF) Counter-     some form of assistance. The government reported available services

 262                                                                                                                                 Haiti AR_000743
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 368 of 729




                                                                                                                                                               GUYANA
victims used included counseling and guidance, medical services, legal         transportation costs and police escorts for victims staying outside a
aid services, shelter, food, clothing, translation, education and training     shelter who were willing to attend court proceedings. The government
opportunities, facilitation to employment if available, and repatriation and   reported victims provided testimony via video or recorded statements
reintegration. The government reported it repatriated one Venezuelan,          during the reporting period due to the pandemic. The government
one Jamaican, and one Indian national, all of whom were sex trafficking        reported the quality of saved video recordings was generally poor
victims. The government reported it provided free or subsidized legal          and often compromised the viability of video evidence in trafficking
advice and representation to people unable to afford an attorney,              prosecutions. Authorities offered victims psychological therapy before
including trafficking victims. The government additionally reported it         and after trial proceedings to help prevent re-traumatization. Some NGOs
provided victims with legal assistance. NGOs provided translation and          reported authorities re-traumatized some victims during questioning.
reported that a lack of Spanish-language speakers across all government        The government reported it provided legal support for six victims during
agencies negatively impacted the government’s ability to engage and            the prosecution of traffickers. The government reported the remaining
serve trafficking victims and vulnerable communities.                          225 victims chose to participate minimally in the investigation process
                                                                               and those investigations were unable to proceed to prosecution; NGOs
For the second consecutive year, the government operated and fully
                                                                               noted some victims may have declined to participate after receiving a
funded three shelters for trafficking victims that offered specialized care,
                                                                               pay-off from the trafficker. Although the law provided for restitution,
including food, training, translation, legal services, medical services, and
                                                                               the government reported a trafficker ordered to pay restitution in
psychological therapy. Of these, there was one shelter dedicated for male
                                                                               the previous reporting period did not do so; the law did not provide
victims. The government also continued to subsidize two shelters run
                                                                               a mechanism to enforce the judgment. The government reported
by NGOs, including one for child trafficking victims. For child victims,
                                                                               that the appeal of a 2017 case in which the government required the
the MHSSS provided intake counseling and then placed victims either
                                                                               trafficker to pay restitution without imprisonment, a penalty inconsistent
in the shelter or in children’s homes operated by the government.
                                                                               with the law, was still pending at the end of the reporting period. The
The government reported it provided 62.43 million GYD ($290,370)
                                                                               government could grant foreign victims temporary residence status
in subsidies to an NGO-managed shelter providing housing for adult
                                                                               and work permits but received no requests for such beneﬁts during the
female trafficking and gender-based violence victims and another
                                                                               reporting period. Authorities offered deportation relief to eight foreign
for child trafficking victims, a slight increase from 62.35 million GYD
                                                                               victims—three Jamaicans and ﬁve Cubans—compared with 10 in 2020
($290,000) in 2020. The NGO shelters provided victims with the same
                                                                               and signiﬁcantly fewer than the 135 foreign victims in 2019. Deportation
range of services as the government-operated shelters. The government
                                                                               relief allowed a victim to remain in the country regardless of being in
reported shelter services were not time-limited; victims staying at shelters
                                                                               breach of immigration laws; Venezuelans have been allowed to remain
remained between one week and three years. The government reported
                                                                               automatically since 2018. Foreign victims received services irrespective
at least 32 victims chose to stay in a shelter; the government offered
                                                                               of their cooperation with law enforcement, their participation in a trial,
alternative housing for other victims. The government reported social
                                                                               or conviction of the trafficker. The government regularly screened
workers maintained contact with those victims who declined to stay in
                                                                               foreign potential victims for trafficking indicators before deportation.
shelters. The government reported it tested victims for COVID-19 prior
to entry and gave them personal protective equipment. Victims could
leave shelters at will and choose between shelter options, although
                                                                               PREVENTION
                                                                               The government maintained efforts to prevent trafficking. The Ministerial
shelters had curfews and other security measures. However, some
                                                                               Taskforce on Trafficking in Persons (the Task Force), co-chaired by
NGOs reported authorities did not allow victims to leave the shelters
                                                                               the Minister of Home Affairs and the MHSSS, coordinated national
at will. The government encouraged foreign and Guyanese victims
                                                                               interagency anti-trafficking efforts. The Task Force also included four
to move into government-provided shelters to reduce the chance of
                                                                               NGOs. The government reported it consulted with trafficking survivors
witness intimidation and also encouraged NGO chaperones in cases
                                                                               as it formulated and implemented its law, regulations, policies, and
where there was a suspected security threat to the victims. In addition,
                                                                               programs. The technical arm of the Task Force included representatives
although the MHSSS reported government-run shelters were safe with
                                                                               (technical advisors, legal assistants, social workers) of the Ministers
the GPF providing security, some NGOs reported the government-run
                                                                               who sat on the task force and suggested anti-trafficking activities and
shelters did not have police or other security guards and victims had
                                                                               engagements, including trainings. Observers reported the Task Force
ﬂed shelters due to security concerns. Foreign and Guyanese victims
                                                                               was effective in coordinating anti-trafficking efforts. The Task Force
received the same access to care and assistance. Victim assistance—
                                                                               met monthly during the reporting period, in addition to emergency
including shelters—and a lack of trauma-trained staff remained serious
                                                                               meetings as needed, while the action sub-committee met frequently
concerns, especially in areas outside the capital and for Venezuelan,
                                                                               to review operations.
child, and male victims.
                                                                               The government drafted and began to implement a NAP for 2021-2025;
According to authorities, law enforcement officials and social workers
                                                                               however, the NAP remained pending with the Cabinet for ﬁnal approval at
screened all individuals for trafficking indicators during raids of adult
                                                                               the end of the reporting period. The government allocated approximately
entertainment venues for commercial sex violations, and authorities did
                                                                               18.5 million GYD ($86,050) in 2021 for the implementation of activities
not arrest victims identiﬁed during such operations. The government
                                                                               outlined in the draft NAP. The government reported it allocated separate
reported it added immigration officers at transit points during the
                                                                               budgets for operations, awareness campaigns, and other activities
reporting period. However, press reports in March 2022 indicated
                                                                               outlined in the NAP for other agencies, such as the GPF and Guyana
potential Haitian victims illegally in the country may have been arrested,
                                                                               Geology and Mines Commission. The Task Force implemented a Code of
ﬁned, and deported without screening for trafficking indicators; officials
                                                                               Conduct of ethical standards for its members, including law enforcement
also did not screen sufficiently for trafficking indicators among other
                                                                               officers. The government operated three 24/7 hotlines, two in English
at-risk populations, including Venezuelans, Cubans, and those working
                                                                               and one in Spanish, to report human trafficking. The hotlines received
in the mining sector. Media also noted the discriminatory nature of the
                                                                               21 reports during the reporting period that led to the identiﬁcation of
government’s treatment of Haitian migrants as compared with those of
                                                                               victims, their referral to care, and criminal investigations of traffickers.
other nationalities. By the end of the reporting period, the government
                                                                               The government reported calls to the Spanish hotline were infrequent
had not renewed a data sharing agreement with an international
                                                                               and concluded that Spanish-speaking migrants were unaware of this
organization to collect data from at-risk populations, including migrants.
                                                                               hotline; the government launched an information campaign in the city of
The government reported it did not require victims to participate in
                                                                               Bartica—a primary corridor to mining areas in which human trafficking
investigations or prosecutions in order to access protection services.
                                                                               frequently occurs—to advise migrants of the Spanish hotline, increasing
The Witness Protection Act of 2018 provided a legal framework for the
                                                                               the number of calls from 20 prior to the establishment of the Spanish
protection of witnesses in trafficking investigations and prosecutions. In
                                                                               hotline to 39 afterwards. Observers noted that cell phone coverage in
previous reporting periods unaffected by the pandemic, courts ordered
                                                                               many mining areas was poor. The government did not undertake any
some trafficking hearings or trials to be partially closed to the public
                                                                               systemic evaluations or research to assess the impact of its anti-trafficking
to protect victims’ privacy and identities, and the government strongly
                                                                               efforts; it published a press release highlighting its efforts and progress.
advised the media to avoid taking photos of victims. The MHSSS funded
                                                                                                                                 Haiti AR_000744               263
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 369 of 729
HAITI   The Task Force reported it planned and executed several sensitization        renders the full extent of trafficking there unknown. The government
        and awareness sessions across the country. The government reported           reported most Cuban workers in the country were medical doctors who
        it collaborated with several NGOs and some private sector companies          were paid by the Cuban government, while the government provided
        to conduct awareness campaigns that targeted government workers,             housing and airfare. Some Cuban nationals working in Guyana may
        NGOS, IOs, the private sector, and members of the general public.            have been forced to work by the Cuban government. Traffickers exploit
        The government undertook extensive consultations to ensure content           Guyanese nationals in sex and labor trafficking in Suriname, Uruguay,
        portrayed a diverse cultural background. The government reported             Jamaica, and other Caribbean countries.
        campaign materials were readily available, cost-free, and published in
        English, Spanish, French, Haitian Creole, and Portuguese. The government
        reported it also contributed to NGOs and international organizations’
        awareness campaigns, including for foreign government officials. The          HAITI: TIER 2 WATCH LIST
        government reported it conducted outreach missions to regularize
        the immigration status of migrant communities at risk of trafficking,
                                                                                     The Government of Haiti does not fully meet the minimum standards for
        especially Venezuelans and Cubans, through registration or extensions
                                                                                     the elimination of trafficking but is making signiﬁcant efforts to do so.
        of stay. The government reported it provided training to its diplomats.
                                                                                     These efforts included adopting national standard operating procedures
        The government reported it reduced demand for commercial sex by
                                                                                     (SOPs) for victim identiﬁcation and support, improving oversight of
        educating the public about the illegality of commercial sexual activities.
        The Sexual Offences Act criminalized sexual contact with a child younger     vulnerable children in orphanages, completing a new national action plan
        than 16 years old. The government reported there were no reports of          (NAP), conducting extensive anti-trafficking trainings, and collaborating
        child sex tourism in the country or by its nationals abroad during the       with NGOs on victim identiﬁcation. However, the government did not
        reporting period.                                                            demonstrate overall increasing efforts compared with the previous
                                                                                     reporting period, even considering the impact of the COVID-19 pandemic
        The Recruitment of Workers Act and the Employment Exchanges                  on its anti-trafficking capacity. Impunity and complicity, particularly in
        Act provided the legislative framework for labor recruitment, but the        high-proﬁle cases, remained serious problems. The government did not
        government did not have any laws prohibiting employers, recruiters,          report anti-trafficking law enforcement or victim protection efforts apart
        or labor agents from charging workers recruitment fees, switching            from those involving children. The government did not provide funding
        contracts without the workers’ consent, or withholding wages as a            for the National Committee for the Fight Against Human Trafficking
        means of keeping workers in a state of compelled service, despite an
                                                                                     (CNLTP) or adult victim services in ﬁscal year 2021. The government
        inﬂux of in-country recruitment agencies targeting the domestic labor
                                                                                     did not make sufficient efforts to combat situations of child domestic
        force for the country’s burgeoning oil sector. The government also
                                                                                     servitude (restavek). Therefore Haiti remained on Tier 2 Watch List for
        reported migrant workers who wished to change employers needed
                                                                                     the second consecutive year.
        to ﬁrst obtain a new work permit from the Ministry of Home Affairs;
        the previous employer had to officially inform the Ministry of Home
        Affairs Immigration Support Services that the employee was no longer                 HAITI TIER RANKING BY YEAR
        employed and requested the cancellation of the work permit or visa               1
        before the new employer could submit an application. Labor officers              2
        trained on trafficking frequently conducted impromptu visits to work
                                                                                       2WL
        sites and business premises in the mining and logging districts and
        in the capital city to investigate suspect labor practices and possible          3
        violations of these acts. However, observers noted the ﬁnes for labor                   2015      2016      2017   2018   2019   2020    2021    2022
        violations were low and the number of labor inspectors was insufficient
        to adequately carry out inspections. The government reported it had a
        NAP for the Elimination of Child Labor 2019-2025 to combat child forced
        labor. The government also reported it conducted awareness campaigns         PRIORITIZED RECOMMENDATIONS:
        in the 10 administrative regions to encourage the reporting of forced        Vigorously investigate, prosecute, and convict traffickers, including
        labor and promoted public messaging on the dangers of child labor.           complicit officials and those responsible for domestic servitude—
                                                                                     including situations involving children—and child sex trafficking. •
        TRAFFICKING PROFILE                                                          Fund and implement the national anti-trafficking action plan, including
        As reported over the last ﬁve years, human traffickers exploit domestic      funding the CNLTP, providing victim assistance, establishing victim
        and foreign victims in Guyana, and traffickers exploit victims from          shelters, and improving law enforcement and victim case tracking
        Guyana abroad. Traffickers exploit victims in labor trafficking in mining,   and documentation. • Develop, fund, and implement a NAP for 2022
        agriculture, forestry, domestic service, and in shops. The government        onwards to combat trafficking. • Improve evidence-gathering. • Train
        reported 78 percent of traffickers in 2020 were men, predominantly           police, prosecutors, judges, and victim service providers on the new
        Guyanese; 14 percent of traffickers were from Venezuela, while less          SOPs; refer trafficking victims to appropriate shelters and services;
        than 3 percent were Dominican and Haitian. NGOs reported traffickers         and ensure a victim-centered approach for the treatment of victims
        are often middle-aged men who own or operate nightclubs. Some                and witnesses of trafficking crimes during investigations and court
        traffickers are also family members of the victims. Migrants, young          proceedings, especially to ensure they are not coerced into testifying.
        people from rural and Indigenous communities, children, and those            • Educate the public with traditional and social media about children’s
        without education are the most at risk for human trafficking. Women          rights to freedom and education and ban domestic servitude. • Implement
        and children from Guyana, Brazil, Cuba, the Dominican Republic, Haiti,       measures to address the vulnerabilities leading to domestic servitude,
        Suriname, and Venezuela become sex trafficking victims in mining             including establishment of a minimum age for domestic work and
        communities in the interior and urban areas. An NGO reported in 2021         protecting child victims from neglect, abuse, and violence. • Develop
        an increasing number of young, Indigenous girls are being taken from         Haiti’s nascent foster care system and alternative residential care for
        Bolivar state in Venezuela to Guyana, where traffickers exploit them in      children, and ensure orphanages are properly accredited and registered.
        commercial sex. NGOs also reported trafficking networks operated by          • Fully implement the national ID program and expand it to cover
        illegal armed groups known as “sindicatos” in Delta Amacuro state in         children. • Ensure hotlines to report trafficking crimes are functioning.
        Venezuela; NGOs reported these groups lead members of the Indigenous         • Regularly screen Cuban medical workers for trafficking indicators and
        Warao community into Guyana to work long shifts in illegal mines with        refer victims to services. • Implement a witness protection program. •
        no medical care despite experiencing curable common health issues.           Train more labor inspectors in trafficking indicators, increase worksite
        Warao women are recruited to work as cooks in the mines but are often        inspections for indicators of labor trafficking, and increase collaboration
        forced into commercial sex or exploited by illegal armed groups. While       with law enforcement to prosecute labor trafficking cases. • Develop
        both sex trafficking and labor trafficking occur in remote interior mining   laws or policies to regulate foreign labor recruiters, ensure workers
        communities, limited government presence in the country’s interior
 264                                                                                                                                Haiti AR_000745
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 370 of 729




                                                                                                                                                             HAITI
are not required to pay recruitment fees, and raise awareness among            which was referred for review to the FIFA Appeal Committee at the
potential migrant laborers.                                                    end of the reporting period. Authorities also had not acted against 10
                                                                               other perpetrators and accomplices in the case, including the head
PROSECUTION                                                                    of the Haitian National Referees Committee who FIFA provisionally
The government decreased law enforcement efforts. The 2014 Anti-               suspended for 90 days as part of its ongoing investigation. In March
Trafficking (Anti-TIP) Law (No.CL/20140010) criminalized sex trafficking       2022, a popular Haitian athlete ﬁled a criminal complaint with the HNP
and labor trafficking and prescribed penalties of seven to 15 years’           that, beginning at age 11, a former Minister of Youth, Sports, and Civil
imprisonment and a ﬁne ranging from 200,000 to 1.5 million Haitian             Actions had repeatedly raped him from approximately 1986 to 1988,
gourdes (HTG) ($2,000 to $15,030), which were sufficiently stringent           while the accused was a teacher at the individual’s school. There were
and, with respect to sex trafficking, commensurate with those prescribed       reports that other victims ﬁled civil suits against the accused claiming
for other serious crimes, such as rape. The law provided for increased         similar abuse. Over the past 40 years, there have been consistent
penalties of up to life imprisonment when the victim was a child.              reports against the same individual of rape, child rape, pedophilia,
The government did not report law enforcement or judicial statistics for       systemic child abuse, and child sex trafficking, including in connection
the reporting period apart from those involving children. The government       with the 2014-2020 FIFA abuse. When prosecutors brought charges
reported the Brigade for the Protection of Minors (BPM) conducted              in response to the prior allegations, judges dismissed every case for
466 investigations in 2021 of crimes against children, but it did not          lack of evidence. By the close of the reporting period, the HNP had not
disaggregate the data or specify how many of these investigations              reported taking steps to investigate the latest complaint. At the end of
involved potential child trafficking crimes. This compares with 585            the reporting period, an investigative judge had not determined what
investigations in 2020 for crimes against children, which BPM reported         charges to bring, if any, regarding two August 2020 raids of the La
led to opening 424 cases related to children in forced labor, trafficking,     Mansion brothel in which authorities identiﬁed 12 female Venezuelan
and illicit activities, without disaggregating the trafficking cases.          sex trafficking victims. The media reported high-level government
The investigations included unannounced site visits and closures of            officials had patronized the brothel before the raid and some of those
nightclubs, residences, and orphanages in cooperation with the Haitian         involved had political inﬂuence. Authorities arrested a driver of the main
Social Welfare Agency (IBESR). The government did not report other             suspected trafficker but subsequently released him; the judge issued
investigation efforts, compared with investigations initiated for three        a travel ban against the facility’s owner. An NGO reported the judicial
cases during the previous reporting period, 42 cases in 2019, and nine in      police officers at the crime scene failed to gather sufficient evidence,
2018. The government did not report arresting any suspected traffickers        the investigative judge had not subsequently acted, and the alleged
in 2021. An NGO reported the government arrested one individual after          perpetrators were granted a provisional release in direct contradiction
an NGO’s identiﬁcation of a victim following the government’s training         of the 2014 anti-trafficking law. The government did not take steps to
of NGOs on the new SOPs. The Haitian National Police (HNP) border              prosecute anyone in the 2017 Kaliko Beach Club case in which authorities
patrol unit (POLIFRONT) and authorities with the CNLTP reported the            identiﬁed 31 trafficking victims, including children. An NGO reported
arrest of six alleged traffickers during the previous reporting period and     that the decision to immediately release nine of the 12 alleged traffickers
51 individuals arrested in 35 trafficking cases in 2019.                       without charging them with any offense revealed that the commissioners
                                                                               purposely ignored the law. The CNLTP reported some judges did not
The government did not initiate any new prosecutions, compared to              explain why they did not process some cases, including a case where
initiating two prosecutions of an unknown number of defendants during          a justice of the peace investigated an orphanage suspected of sexual
the previous reporting period, one in 2019, and seven in 2018. Authorities     abuse and child trafficking but never questioned the suspects.
continued prosecution of 13 cases involving an unknown number of
defendants from prior reporting periods, down from 21 cases at the             Natural disasters, the pandemic, and a presidential assassination
end of the previous reporting period; however, the government did              during the reporting period signiﬁcantly impacted the capacity of the
not report on the status of the continuing cases or the outcome of the         government to implement successful anti-trafficking activities. The
other eight prosecutions observers noted likely closed. BPM reported           pandemic exacerbated a backlog in court cases that already existed
the government prosecuted 24 traffickers for crimes related to forced          due to general inefficiency. The assassination of the president in July led
child labor but did not report the status of those cases or whether they       to lack of government action on many fronts, including anti-trafficking
involved other crimes. The government did not report convicting any            efforts. An earthquake and a tropical storm in August, and another
traffickers, compared with two convictions during the previous reporting       earthquake in January, led to the destruction of the southern peninsula’s
period, none in 2019, and one in 2018. Courts sentenced a man to 15            critical infrastructure and rendered many areas physically unreachable
years in prison for child trafficking crimes committed in 2016.                by the government. Widespread gang violence impeded police efforts
                                                                               to investigate trafficking crimes. While the CNLTP had cross-sectoral
Impunity and complicity in high-proﬁle trafficking cases continued to be       anti-trafficking task forces established in all 10 geographical departments
signiﬁcant concerns. The government did not report any investigations,         in 2020, it could not access areas controlled by gangs, including in Port-
prosecutions, or convictions of government employees complicit in              au-Prince, resulting in the closure of the task force in one geographical
human trafficking crimes. Government and civil society experts reported        department and limited law enforcement action in many regions.
the judicial system appeared incapable of delivering justice to victims in
trafficking cases, although outside observers noted that trafficking was       Due to the presidential assassination, the government halted efforts
not unique among crimes in this respect. Experts consistently alleged          to update its outdated and complex penal and criminal procedural
that employees within the Ministry of Justice were complicit in human          codes. According to outside experts, the abandonment of the penal
trafficking crimes and that cases did not proceed to conviction as a           code reforms was a positive development because authorities were
result. Outside observers also reported police and immigration officials       considering weakening many provisions related to trafficking. However,
were complicit in human trafficking at the Haiti-Dominican Republic            the outdated and overly complex existing codes continued to delay
border; IBESR reported traffickers often avoided screening by crossing         prosecution of trafficking cases. The Superior Council of the Judiciary
at unofficial points, noting that official complicity and corruption greatly   (CSPJ), charged with independently overseeing the judiciary, did not
exacerbated the problem. Observers reported allegations that judicial          adequately promote prosecution of trafficking cases. Government
officials in border jurisdictions, such as justices of the peace, sometimes    officials rarely used the anti-trafficking law to prosecute and convict
took bribes to free detained suspected traffickers, which contributed          the perpetrators of child domestic servitude.
to an environment in which traffickers largely operated with impunity.         The government, in collaboration with civil society actors (and frequently
Authorities took no action against the former president of the Haitian         with donor funding), conducted training and awareness-building for
Football Federation, banned for life by the International Federation           law students, lawyers, judges, POLIFRONT agents, and members of the
of Football Association (FIFA) and ﬁned 1 million Swiss francs ($1.09          regional task forces. An NGO reported the CNLTP trained seven regional
million) and procedural costs for the rape and sexual abuse—at times           task forces out of the country’s 10 regional departments with facilitation
including sex trafficking—of up to 34 females, including at least 14 girls,    from the NGO; the other three departments in the southwestern peninsula
between 2014 and 2020 in a decision by the FIFA Ethics Committee,              received written training materials due to access challenges caused by

                                                                                                                                Haiti AR_000746              265
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 371 of 729
HAITI   the earthquake and increased gang violence and control of the primary          temporary shelter, meal kits, and medical aid to trafficking victims via the
        national road heading to the southern departments. The CNLTP and               National Migration Office and the government’s Social Assistance Fund.
        the National Council of Legal Assistance signed a memorandum of                The CNLTP indicated the police provided victims physical security and
        understanding to ensure trafficking victims had access to legal assistance.    IBESR also assisted with family tracing and pre-return assessments before
                                                                                       returning children to families. IBESR operated a single transitional facility.
        PROTECTION                                                                     Children were typically in this facility until placed with a family member,
        The government slightly increased protection efforts. Outside observers        foster family, or a registered and accredited private orphanage. IBESR
        and government interlocutors noted the government provided limited             reported children did not live in this facility for more than 90 days. The
        services to victims of trafficking and largely depended on partners            government required all privately run orphanages to be licensed, but in
        to fund and provide services. The government identiﬁed 190 Haitian             practice some were not. IBESR reported insecurity limited its ability to
        victims of child labor trafficking, although these may have included           enforce closures of orphanages and foster care homes that were not in
        non-trafficking victims of child exploitation and abuse. NGOs identiﬁed        compliance with the 2014 anti-trafficking law. However, IBESR officially
        13 victims of sex or labor trafficking who were likely children; some          registered 129 of 754 institutions, the most it had ever registered, by the
        were identiﬁed in situations of domestic servitude and others in cross-        end of the reporting period. NGOs provided most funding for shelter
        border trafficking. The government reported it referred all 190 victims        services, including for the ﬁrst shelter and social services organization
        to services, including medical, psychosocial, and legal assistance. The        for transgender youth that opened in Port au Prince during the reporting
        NGOs reported providing care to the 13 victims they identiﬁed and              period, which could assist those at risk of abuse or crime among this
        referring the cases to relevant government agencies as directed by the         population; it housed 10 individuals during the reporting period, including
        SOPs. The government identiﬁed 16 conﬁrmed adult trafficking victims           some potential trafficking victims. However, the government did not
        and 53 possible adult and child victims and referred all to care during        contribute to the shelter. The anti-trafficking law stipulated money
        the previous reporting period; the government and an NGO identiﬁed             and other assets seized during trafficking investigations should fund
        27 victims in 2019. The government reported it included children in            services for trafficking victims and the CNLTP; however, there was no
        forced labor in domestic service (restavek situations) among these             evidence this occurred. There was no government agency with overall
        identiﬁed cases. The government and outside observers reported that            responsibility for providing care for adult trafficking victims, and the
        a lack of awareness of and training on the new SOPs (adopted on July           lack of resources and a system for tracking meant the government failed
        1, 2021) hindered the tracking of victim statistics by the SOPs’ victim        to identify some victims.
        protection categories.
                                                                                       The government did not have a formal program to assist victims who
        In coordination with NGOs and an international organization, and with          returned to Haiti, but authorities worked with other countries’ maritime
        funding from foreign donors, in July 2021 the government ﬁnalized the          and airline services to receive and screen returned Haitians for trafficking
        SOPs, which created a national protocol for victim identiﬁcation, referral,    indicators and facilitated their reintegration with family members. The
        and care for the ﬁrst time in Haiti’s history. The SOPs detailed separate      government reported it undertook new efforts during the reporting
        screening measures for adults (men and women); children; children              period to ensure its migration policies did not facilitate trafficking. For
        in forced labor in domestic service (restavek situations); children in         example, it collaborated with a foreign government and an international
        orphanages; potential victims of labor trafficking; potential victims of       organization to ensure the safe repatriation of more than 18,000 Haitians
        sex trafficking; migrants; medical personnel; and foreigners. Under the        from the United States-Mexico border. The government screened these
        SOPs, individuals in commercial sex must be screened for trafficking           returnees for labor trafficking upon arrival and conducted trainings
        indicators as a matter of procedure before taking any punitive action due      to improve the preparedness of officials. These actions enabled an
        to their involvement in commercial sex, which is illegal in the country.       international organization—with funding from a foreign donor—to
        The SOPs mandated that responsible parties—government agencies                 distribute food, water, healthcare, hygiene kits, cash transfers, and
        or NGOs to whom the government has delegated responsibility—                   phone cards to returnees upon arrival, in addition to evaluating the
        conducting anti-trafficking screenings must both follow the general            returnees to see if they required further care. The government also
        procedures and account for speciﬁc considerations, including sex, age,         referred returned migrants to psychosocial, medical, and legal assistance
        nationality, disability, and other such factors. The SOPs also updated         services upon return. The government did not identify any trafficking
        the procedures for victim referral, formally codifying the process for         victims from these groups of returnees. The government, supported by
        the ﬁrst time. Referral procedures stated that responsible parties must        an international organization, also screened and provided services to
        adhere to and protect the following when referring trafficking victims to      potential trafficking victims identiﬁed during migrant interdictions at sea.
        services: human rights, human dignity, non-discrimination, conﬁdentiality,
                                                                                       The government did not report any instances in which victims took
        and the best interests of the victim. Mechanisms existed in the SOPs to
                                                                                       part in the investigations or prosecutions of their traffickers during
        administer victim referrals equitably.
                                                                                       the reporting period. Authorities did not require victims to participate
        The law required the government to provide protection, medical, legal,         in the investigation or prosecution of their traffickers in order to
        and psychosocial services to victims and to create a government-               access protection services. BPM reported it took steps to avoid the
        regulated fund to assist victims, but in the continued absence of a national   re-traumatization of child trafficking victims by offering to refer them
        budget for part of the reporting period, the government remained reliant       to medical and psychosocial care after interventions. BPM retained
        on international organizations and NGOs to provide most adult care. The        one social worker on staff, who served as an alternative to speaking
        new SOPs detailed procedures for responsible parties to follow when            to law enforcement, and recognized it needed more such workers.
        providing victim services, which included: medical services; temporary         NGOs reported that victim protections codiﬁed within the law were
        and safe accommodation; gender conscious services; psychosocial                extensive and robust. For foreign victims, the law included provisions for
        services; disability accommodation services; professional services; and        voluntary repatriation, temporary residency during legal proceedings,
        legal services. BPM and an NGO reported BPM stayed in close contact            and permanent residency if the country of origin could not ensure
        with CNLTP and IBESR to provide child victim services.                         victims’ safety or well-being; the government did not report receiving
                                                                                       any requests for application of these provisions. The law mandated
        IBESR reported it screened Haitian children for trafficking indicators
                                                                                       that legal assistance be provided to trafficking victims. The law also
        before they entered the Dominican Republic at all four Haitian-side
                                                                                       provided protections for victims from liability for unlawful acts their
        official crossing points and reported officials did so despite not receiving
                                                                                       traffickers compelled them to commit. The law allowed prosecutors to
        salaries. CNLTP and IBESR reported they focused on maintaining
                                                                                       pursue claims even if victims withdrew their complaints or refused to
        trafficking screening in border regions, training responsible parties,
                                                                                       cooperate with an investigation or prosecution. Judges could mandate
        and collaborating with Dominican Republic authorities on training and
                                                                                       restitution for related crimes under Haiti’s civil code without a separate
        awareness-building. The Ministry of Public Health provided free health
                                                                                       civil process, but there were no awards for restitution made during the
        services, including HIV post-exposure prophylaxis, to victims of sexual
                                                                                       reporting period. There were no facilities for video deposition or child-
        violence and trafficking as part of its action plan against sexual and
                                                                                       friendly facilities during legal proceedings. Experts noted the lack of
        gender-based violence. The Ministry of Social Affairs and Labor offered
                                                                                       government-run child shelter facilities impeded prosecution because

 266                                                                                                                                  Haiti AR_000747
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 372 of 729




                                                                                                                                                              HAITI
the government’s policy of returning child victims to their families        government remained without a special fund for trafficking as stipulated
made it difficult to locate witnesses to testify against the accused. The   in the 2014 anti-trafficking law. The fund would support anti-trafficking
government may have failed to identify some victims and may have            initiatives and assist victims from the sale of assets seized from traffickers.
penalized some victims due to incomplete training on the new SOPs.
                                                                            The government supported an NGO’s study on the implementation
Approximately 253 Cuban medical personnel were active in Haiti in mid-
                                                                            of the 2014 anti-trafficking law that observers noted was the most
August 2021 following the earthquake and tropical storm; additional
                                                                            comprehensive assessment undertaken to date. In partnership with the
Cuban medical specialists arrived later in August 2021. The government
                                                                            government—which coordinated and helped design the debate—and
did not oversee the contractual agreements between the workers and
                                                                            other NGOs and with funding from a foreign donor, a foreign NGO
the Cuban government, screen Cuban medical workers for trafficking
                                                                            organized a human trafficking awareness campaign at universities
indicators, or provide protection services for potential victims, despite
                                                                            and law schools for faculty and students. Eight educational institutions
recognized trafficking risks among this population and the inclusion of
                                                                            had participated in the campaign as of January 2022. As part of the
medical personnel as a special screening category in the SOPs.
                                                                            same campaign, the NGO organized debates on human trafficking,
In collaboration with civil society and international partners, CNLTP       between four law school faculties from different regions of the country.
trained labor inspectors, attendees at the SOP launch event, judicial       Following training by the CNLTP, an NGO conducted an awareness-
actors, regional anti-trafficking taskforces, non-proﬁt organizations,      building campaign focused on labor trafficking and domestic servitude
Haiti-Dominican Republic binational committee members, and local            including situations of forced child domestic servitude among merchants
authorities on both sides of the border on the implementation of the        in Port-au-Prince. In the two previous reporting periods, BPM and
SOPs; vulnerabilities of migrants, children in orphanages, and those in     an international organization each operated trafficking hotlines. No
informal work; and cross-border child trafficking. An NGO noted the         trafficking hotlines functioned during this reporting period, but the
NGOs that identiﬁed the 13 conﬁrmed victims did so following one of         police maintained a general emergency phone line. The government
the SOP trainings.                                                          published illicit migrant deterrent messaging via public radio and other
                                                                            media platforms that contained information on dangers, including
PREVENTION                                                                  trafficking, migrants could face.
The government maintained efforts to prevent trafficking. The president
                                                                            The continued dysfunction of the civil registry system and weak consular
appointed members of the CNLTP, which included representatives from
                                                                            capacity to provide identiﬁcation documentation left many Haitians at
nine agencies, two “counselors” from civil society organizations, and
                                                                            risk of remaining undocumented in the Dominican Republic and subject
one representative from the Office of the Human Rights Ombudsman.
                                                                            to deportation—recognized risk factors for vulnerability to trafficking.
CNLTP and IBESR met weekly, in person and virtually. Outside experts
                                                                            As of March 2022, the government had registered nearly 5.4 million
reported CNLTP and IBESR were effective at their missions of leading
                                                                            (approximately one million this reporting period) out of an estimated
and coordinating anti-trafficking activities and noted improved technical
                                                                            six million citizens older than the age of 18 and issued more than 4.3
coordination under difficult circumstances. Government, civil society,
                                                                            million ID cards (approximately 1.2 million this reporting period) under a
and international partner interlocutors were aware of their activities
                                                                            biometric ID card program begun during the previous reporting period.
and often referred trafficking questions to them.
                                                                            The government required the card in order to vote in elections, occupy
The government lacked a national, centralized database, and though          a public service position, register for school, obtain a passport, and
it began developing one with the assistance of an NGO and a foreign         access ﬁnancial services. However, the government reported that a
donor in the previous reporting period, the project remained incomplete.    lack of funding to expand the program to those older than the age of
Despite the legal mandate to adequately fund the government’s anti-         13 negatively impacted the ability to prevent child trafficking.
trafficking institutions, the government reduced the CNLTP’s budget
                                                                            The government had no clear strategy for conducting labor inspections.
to zero in ﬁscal year 2021 (October 1, 2020-September 30, 2021). The
                                                                            Although the labor code required recruiters and businesses to obtain
Fiscal Year 2022 national budget allocations remained undetermined at
                                                                            a license and did not allow them to charge fees, Haiti did not have
the end of the reporting period. MAST had the responsibility to fund the
                                                                            effective laws or policies to regulate foreign labor recruiters, prevent
CNLTP. Four of the 12 CNLTP committee members left their posts due
                                                                            fraudulent recruiting, or have plans to raise awareness of the risks for
to lack of funds, resulting in a lack of experience on CNLTP. The CNLTP
                                                                            potential migrant laborers. The government lacked sufficient staff and
last received funding in ﬁscal year 2020, receiving an allocation of 20
                                                                            resources to inspect worksites for indicators of labor trafficking, although
million HTG ($200,460). Observers noted the government expected to
                                                                            the government reported it certiﬁed 29 new labor inspectors following
rely on foreign donors for funding. MAST funded IBESR and disbursed
                                                                            their anti-trafficking training and reported carrying out inspections for
IBESR’s full national budget allocation of 94.75 million HTG ($949,650)
                                                                            child labor and identifying trafficking cases. The lack of a minimum age
for Fiscal Year 2021, which was similar to Fiscal Year 2020. Many
                                                                            for domestic work and exceptions in the laws governing child labor
government officials, including those conducting screening at border
                                                                            hindered investigations and prosecutions of child domestic servitude. The
crossings, worked without pay.
                                                                            government reported IBESR staff and labor inspectors had not received
The government completed a new NAP for 2021-2022. It focused on             sufficient training on child labor issues, despite a study indicating that
raising awareness; law enforcement case management; implementing            more than 286,000 children were working in domestic service, some of
SOPs and improving victim services; training; developing and regulating     whom were victims of forced labor. CNLTP canceled planned trainings
Haiti’s orphanage and foster care system and combating children in          on forced labor due to the natural disasters. The government did not
forced labor in domestic service (restavek situations); and interagency     report or publish data on child work, child labor, or the worst forms
collaboration. Outside observers reported the NAP successfully identiﬁed    of child labor. The government did not report proactive measures to
key shortcomings and developed targeted institutional capacity-building     prevent trafficking by its diplomats, although the 2014 anti-trafficking
initiatives—including directives on better documenting cases—to address     law provided strict sanctions for public officials complicit in trafficking.
those areas, but in only focusing on awareness raising among judicial       The government did not make efforts to reduce demand for commercial
actors, it failed to address all gaps in improving overall prosecution      sex acts. IBESR led efforts to combat child sex tourism; the law required
efforts. The NAP replaced a previous one for 2017-2022, which was           resorts, restaurants, and bars to report any suspected incidents of child
underfunded. As the CNLTP did not receive any actual funding, it instead    sex tourism to IBESR and BPM. No explicit prohibition existed in Haitian
relied on non-governmental partners to fund its activities. Observers       law against Haitian nationals engaging in sex tourism abroad.
in past years reported the government generally underfunded anti-
trafficking efforts. The CNLTP did not have permanent office space,         TRAFFICKING PROFILE
equipment, or vehicles to conduct work; CNLTP instead conducted             As reported over the past ﬁve years, human traffickers exploit domestic
business at IBESR, MAST, or virtually. Foreign donors, international        and foreign victims in Haiti, and traffickers exploit victims from Haiti
organizations, and NGOs provided the committee most logistical support,     abroad. Most of Haiti’s trafficking cases involve children in forced labor
including transportation, during ﬁeld visits, although the government       and sex trafficking in domestic service, commonly called restavek
reported IBESR was able to support some activities of the CNLTP. The        situations, in which children are often physically abused, receive no

                                                                                                                                Haiti AR_000748               267
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 373 of 729
HONDURAS   payment for services rendered, and have signiﬁcantly lower school               remained on Tier 2. These efforts included amending the penal code to
           enrollment rates. In 2022, an NGO estimated that of those children              increase penalties for trafficking crimes, identifying more victims, and
           in forced labor in domestic service (restavek situations), two-thirds           nearly doubling funding to an NGO that provides shelter for victims.
           are girls, mostly victims of sex trafficking, and one-third boys, mostly        The government increased efforts to identify victims of forced labor
           victims of labor trafficking. In 2021, NGOs estimated between 150,000           and prosecute suspected perpetrators of forced labor crimes. The
           and 300,000 children worked in domestic servitude. Many children, and           government approved a new victim assistance manual and standard
           a majority of the boys, ﬂee or are cast out of these situations and begin       operating procedures (SOPs) to strengthen victim identiﬁcation and
           to live and/or work on the street, facing further risk of re-trafficking. The   referral to services, and the Inter-institutional Commission to Combat
           number of children in this situation likely increased in 2020. “Orphanage       Commercial Sexual Exploitation and Trafficking in Persons (CICESCT)
           entrepreneurs” operate unlicensed orphanages that exploit children in           sustained its efforts to provide immediate protection and coordinate
           trafficking. In October 2021, an NGO estimated that 30,000 children             among other providers for additional care. However, the government did
           were in approximately 750 orphanages, of which the government had               not meet the minimum standards in several key areas. The government
           at the time only licensed 35-50. Approximately 80 percent of children           did not allocate adequate ﬁnancial or human resources to effectively
           in orphanages have at least one living parent, who may place children           respond to trafficking crimes and provide comprehensive victim support
           in an institution deemed more likely to be able to care for them, and           throughout the country. The government did not report holding any
           almost all have other family members.                                           employers or employment agencies criminally accountable for fraudulent
                                                                                           recruitment practices or charging recruitment fees to workers.
           Female foreign nationals, especially citizens of the Dominican Republic
           and Venezuela, are particularly at risk for sex and labor trafficking in
           Haiti, including on social media. Commercial sex typically takes place                  HONDURAS TIER RANKING BY YEAR

           in upscale neighborhoods and resort areas to cater to foreigners. Sex               1
           trafficking also takes place at the Haiti-Dominican Republic border as              2
           Haitians, especially women and girls, seeking job opportunities are               2WL
           instead exploited in commercial sex in the Dominican Republic or for
                                                                                               3
           sex tourism. According to NGOs, international child sex tourism also
                                                                                                      2015     2016     2017       2018   2019   2020   2021    2022
           occurs in Haiti, with the primary tourists being from the United States,
           Canada, and Europe. Emerging practices include “bride-buying,” in
           which men pay between $100 to $200 to the families of girls as young
           as 14. Traffickers also target children in private and NGO-sponsored
                                                                                           PRIORITIZED RECOMMENDATIONS:
           residential care centers; Haitian children working in construction,
                                                                                           Increase investigations, prosecutions, and convictions of traffickers,
           agriculture, ﬁsheries, domestic work, begging, and street vending in
                                                                                           including complicit officials and perpetrators of forced labor crimes. •
           Haiti and the Dominican Republic; internally displaced persons (IDPs),
                                                                                           Increase training for front-line officials on implementing new SOPs for
           including those displaced by natural disasters and gang violence; those
                                                                                           victim identiﬁcation and referral, including screening for indicators of
           who are stateless or at risk of becoming stateless; Haitian migrants,
                                                                                           trafficking among migrants and returnees, forcibly displaced persons,
           including those traveling to or returning from the Dominican Republic,
                                                                                           and children apprehended for illicit gang-related activities. • Increase
           The Bahamas, Turks and Caicos, Brazil, Mexico, or the United States; and
                                                                                           government funding for CICESCT and other agencies responsible for
           LGBTQI+ youth often left homeless and stigmatized by their families and
                                                                                           implementing anti-trafficking activities in support of the national action
           society. Risks to migrants signiﬁcantly increased in 2021 as a function of
                                                                                           plan (NAP). • Raise awareness of fraudulent recruitment for employment
           mass repatriations and increased movement across the Haiti-Dominican
                                                                                           in Honduras and abroad and punish employers or employment agencies
           Republic border and the high number of migrants attempting to journey
                                                                                           for illegal practices that facilitate trafficking, such as fraudulent offers
           to the United States from departure points in South America. Haitian
                                                                                           of employment or illegal fees for migration or job placement. • Amend
           adults and children are at risk for fraudulent labor recruitment and forced
                                                                                           the 2014 anti-trafficking law to include a deﬁnition of human trafficking
           labor, primarily in the Dominican Republic, other Caribbean countries,
                                                                                           consistent with international law. • Increase and institutionalize anti-
           South America, and the United States. Cuban medical workers have had
                                                                                           trafficking training for police, prosecutors, judges, and CICESCT’s
           a continuous presence in the country since 1998 and may have been
                                                                                           immediate response team (IRT). • Draft a new NAP to take effect in
           forced to work by the Cuban government. With less than 1 percent of
                                                                                           2023 and secure resources for its implementation.
           Haiti’s population vaccinated against COVID-19; hospitals closed due to
           violence, the fuel crisis, or both; and the COVID-19 testing infrastructure
           either inaccessible or too expensive for average Haitians, the true impact
                                                                                           PROSECUTION
                                                                                           The government increased prosecution efforts, although it made
           of the pandemic on Haiti is unknown. However, the temporary closure
                                                                                           amendments to its anti-trafficking law that reversed progress to align
           of schools and pressure due to economic difficulties exacerbated
                                                                                           the deﬁnition of trafficking with international law. The government
           vulnerability. A 2022 NGO study concluded that the implementation
                                                                                           amended the anti-trafficking provisions of the Honduran penal code.
           of the 2014 anti-trafficking law was inadequate and offered several
                                                                                           Amendments to Article 219, which went into effect in November 2021,
           key recommendations, including to train judges and police officers;
                                                                                           criminalized sex and labor trafficking and increased penalties from ﬁve
           strengthen the operational capacity of CNLTP by funding it as legally
                                                                                           to eight years’ imprisonment to 10 to 15 years’ imprisonment. The new
           mandated; make legal progress on key cases; investigate cases, and
                                                                                           penalties were sufficiently stringent and, with respect to sex trafficking,
           raise public awareness about trafficking. A December 2020 survey found
                                                                                           commensurate with those prescribed for other serious crimes, such as
           that many Haitians lacked basic knowledge about human trafficking
                                                                                           rape. However, the new provisions amended the deﬁnition of trafficking;
           and the resources available to get help; 71 percent of respondents were
                                                                                           inconsistent with international law, the law established the use of force,
           unable to differentiate between human trafficking and gender-based
                                                                                           fraud, or coercion as aggravating factors rather than essential elements
           violence, only 18 percent knew of a phone number to report a suspected
                                                                                           of the crime.
           trafficking crime, and just 3 percent had heard of the CNLTP.
                                                                                           The government reported investigating 148 trafficking cases—64 cases
                                                                                           for sex trafficking and related crimes, ﬁve cases for forced labor, and
                                                                                           79 cases of unspeciﬁed exploitation. This compares with 82 cases
            HONDURAS: TIER 2                                                               investigated for sex trafficking and related crimes in 2020 and 91 in 2019.
                                                                                           Authorities initiated prosecutions of 43 suspects (27 for sex trafficking
                                                                                           and 16 for forced labor), compared with nine initiated in 2020 (seven
           The Government of Honduras does not fully meet the minimum standards
                                                                                           for sex trafficking and two for forced labor) and 55 in 2019 (53 for sex
           for the elimination of trafficking but is making signiﬁcant efforts to do
                                                                                           trafficking, including procuring commercial sex acts, and two for forced
           so. The government demonstrated overall increasing efforts compared
                                                                                           labor). The government convicted 18 sex traffickers, compared with 14
           with the previous reporting period, considering the impact of the
                                                                                           traffickers convicted in 2020 (10 for sex trafficking, two for forced labor,
           COVID-19 pandemic on its anti-trafficking capacity; therefore Honduras
                                                                                           and two for both sex trafficking and forced labor) and 34 traffickers
 268                                                                                                                                        Haiti AR_000749
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 374 of 729




                                                                                                                                                              HONDURAS
convicted in 2019 (33 for sex trafficking/procuring commercial sex acts         including specialized assistance and support for healing from trauma.
and one for forced labor). Courts issued prison sentences ranging from          These resources supplemented the government’s intersectoral protocol
three years and nine months to 21 years and four months for convicted           on victim protection and existing written procedures for identifying
traffickers and ordered some of them to also pay monetary ﬁnes to the           victims and referring them to care. The new victim assistance manual
government. The government investigated a Ministry of Labor employee            included strengthened procedures to screen for indicators of trafficking
for involvement in a case that included money laundering and forced             among underserved populations, including individuals with disabilities,
labor of 32 victims in a restaurant; authorities charged the official with      Indigenous and Afro-descendant persons, LGBTQI+ individuals, and
disclosure of privileged information, which facilitated trafficking crimes.     persons forcibly displaced due to violence or environmental disasters.
The government did not provide updates on investigations of official            CICESCT and the anti-trafficking prosecution unit each operated
complicity in trafficking crimes opened in previous years. Corruption and       trafficking-speciﬁc hotlines. The CICESCT hotline received 32 reports
official complicity in trafficking crimes remained signiﬁcant concerns,         of suspected trafficking cases and 286 calls requesting information,
inhibiting law enforcement action during the year.                              and NGOs reported two cases directly to CICESCT.
The government maintained a specialized anti-trafficking prosecution            With funding from international organizations, the Government of
unit, which included investigative police officers, with offices in             Honduras’ National Directorate for Child and Family Services (DINAF)
Tegucigalpa and San Pedro Sula. However, experts observed the unit              employed 13 child protection officers, working across six land border
remained understaffed and lacked sufficient resources to investigate            ports of entry and the child and family migrant reception center in
and prosecute trafficking crimes, particularly throughout other regions         San Pedro Sula, to interview all returning migrant children and their
of the country. COVID-19 infections among police, judges, prosecutors,          families. Child protection officers followed procedures to assist children
defense attorneys, witnesses, and defendants caused staffing shortages          determined to be at-risk of exploitation and to refer potential trafficking
in enforcement agencies and disrupted the pace of justice proceedings.          cases to law enforcement officials for investigation. The government
An NGO noted courts continued to delay trafficking cases despite a              did not report whether officials identiﬁed any trafficking victims among
requirement in the anti-trafficking law to process such cases in a timely       returning migrants during the year. The government followed a regional
manner, an issue further exacerbated by the pandemic. Experts observed          protocol to facilitate the repatriation of victims identiﬁed abroad and
that judges’ lack of specialized knowledge and limited experience               funded food, transportation, and lodging for such victims through a
in handling trafficking cases impeded successful prosecution and                fund administered by the Secretariat of Foreign Affairs and International
conviction of traffickers. The Government of Honduras cooperated                Cooperation. In 2021, the government repatriated and assisted 20
with the Government of the United States to investigate one suspected           Honduran victims identiﬁed in other countries.
trafficking case.
                                                                                The government initially allocated 6.74 million lempiras ($277,890) to
                                                                                CICESCT but later redirected some funds to pandemic relief efforts,
PROTECTION                                                                      decreasing its actual disbursement to 6.13 million lempiras ($252,540).
The government maintained strong protection efforts, with CICESCT’s
                                                                                This amount was comparable to 6.18 million lempiras ($254,800) provided
IRT providing robust assistance to victims throughout the year. The
                                                                                in 2020 and an increase from the pre-pandemic budget allocation of
government identiﬁed 101 trafficking victims in 2021, including 48
                                                                                5.53 million ($228,000) in 2019. CICESCT provided 150,000 lempiras
exploited in sex trafficking and 53 exploited in forced labor. In comparison,
                                                                                ($6,180) to an NGO operating a shelter that accommodated women,
the government identiﬁed 42 victims (31 in sex trafficking and 11 in
                                                                                girls, and boys up to the age of 12; this amount was nearly double the
forced labor) in 2020; the government identiﬁed 75 victims (66 in sex
                                                                                funding it provided in 2020 (77,000 lempiras or $3,170). Nonetheless,
trafficking and nine in forced labor), and NGOs identiﬁed 78 victims in
                                                                                officials reported that donor assistance was integral to their efforts,
2019. Government-identiﬁed sex trafficking victims included 35 girls, 11
                                                                                as government funding was insufficient to provide comprehensive
women, and two boys, while forced labor victims included 22 women,
                                                                                victim care, purchase personal protective equipment for victims, and
14 men, nine boys, six girls, and two LGBTQI+ persons whose gender
                                                                                implement the NAP.
and age were not speciﬁed. These data may have included some victims
of related crimes such as child pornography. NGOs identiﬁed three               The government provided witness protection services to some victims
additional women exploited in sex trafficking.                                  participating in investigations or prosecutions. Authorities permitted
                                                                                victims to provide testimony through written statements or pre-recorded
First responders referred trafficking victims to CICESCT’s IRT, composed
                                                                                interviews in one of its four secure Gesell chambers. IRT members
of two psychologists and two social workers, for immediate support;
                                                                                accompanied victims throughout their participation in the criminal justice
in January 2022, CICESCT hired an attorney to join the IRT. The IRT
                                                                                process and referred some victims to legal aid services for additional
provided all 101 victims with assistance, including legal advice, immediate
                                                                                assistance. Honduran law prohibited the prosecution of victims for
protection, and psychological services. CICESCT coordinated with
                                                                                unlawful acts traffickers compelled them to commit. However, the
relevant government institutions and NGOs to provide additional
                                                                                government lacked formal procedures for identifying victims among
services to victims, including mental health counseling, legal services,
                                                                                children apprehended for gang-related criminal activity. NGOs reported
medical care, lodging, food, family reintegration, and repatriation.
                                                                                authorities did not properly identify children forced to engage in illegal
Officials reported CICESCT met with other agencies more than 120
                                                                                activities by criminal groups, reporting that the government may have
times to coordinate services for victims. CICESCT coordinated with
                                                                                inappropriately treated such children as criminals instead of victims.
the Ministry of Health to provide COVID-19 testing and vaccination to
                                                                                Honduran law allowed foreign victims to receive temporary or permanent
victims. CICESCT referred 12 sex trafficking victims (eight girls and four
                                                                                residency status, including authorization to work, though the government
women) and 29 labor trafficking victims (15 women, eight men, two
                                                                                did not identify any foreign victims in 2021.
girls, two boys, and two LGBTQI+ individuals whose gender and age
were not speciﬁed) to government and NGO shelters for additional
                                                                                PREVENTION
care. Child victims could receive care from government or NGO shelters,
                                                                                The government-maintained prevention efforts and robust interagency
and women had the option to receive assistance from NGO shelters. At
                                                                                coordination. CICESCT convened a network of 32 government agencies
times, the government or NGOs arranged lodging in hotels for adult
                                                                                and NGOs and took an active role in coordinating the government’s
male victims. There were no specialized shelters for trafficking victims
                                                                                anti-trafficking efforts, including through supporting local committees
in Honduras, men were not accepted in any shelters, and services for
                                                                                in each of Honduras’ 18 departments. The government continued
victims in rural areas were limited in quality and availability.
                                                                                implementation of its 2016-2022 NAP through activities to improve victim
With support from a donor-funded NGO and input from survivors, the              identiﬁcation and raise public awareness of the risks of trafficking. The
government developed and began implementing a victim assistance                 government allocated insufficient funds for implementation of the plan,
manual with SOPs for the proactive identiﬁcation of victims among               and relevant agencies relied on additional support from foreign donors
members of at-risk groups and interagency coordination procedures               to implement its activities. CICESCT maintained a public website and
for referring victims to services. To supplement the manual, authorities        social media accounts to share information on human trafficking with
created an assistance plan that detailed victims’ basic and urgent needs,       the public and encourage reporting of suspected trafficking crimes.

                                                                                                                                 Haiti AR_000750              269
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 375 of 729
HONG KONG   Government agencies, including CICESCT and the Public Ministry,               employers of foreign domestic workers for crimes including assault and
            conducted both online and in-person training and information events           causing bodily harm. The government reported conducting increased
            on trafficking prevention for police, lawyers, judges, labor inspectors,      law enforcement actions against illegal brothels and perpetrators who
            teachers, health officials, victim service professionals, immigration         solicit commercial sex acts from child sex trafficking victims, however,
            officials, and representatives of NGOs. CICESCT tailored some events          the government did not identify any sex trafficking victims during these
            to at-risk groups—including children and students, individuals with           operations. However, the government did not demonstrate overall
            disabilities, migrants, Indigenous persons, and members of the LGBTQI+        increasing efforts compared with the previous reporting period, even
            community—and conducted activities to raise awareness of cybercrime           considering the impact of the COVID-19 pandemic, if any, on its anti-
            and human trafficking. The government made campaign materials                 trafficking capacity. The government did not prosecute or convict any
            available in Honduran Sign Language.                                          labor traffickers and sentenced criminals convicted for crimes related
                                                                                          to sex trafficking to inadequate penalties. Despite the government
            Labor inspectors did not identify any suspected trafficking cases in 2021.
                                                                                          screening thousands of vulnerable persons for trafficking indicators, it
            The Secretariat of Labor and Social Security monitored and regulated
                                                                                          identiﬁed only one victim, a decrease compared with identifying three
            compliance with labor laws and policies that could decrease workers’
                                                                                          victims during the previous reporting period. Ineffective implementation
            vulnerability to trafficking, including those regulating private employment
                                                                                          of victim identiﬁcation procedures continued to result in inadequate
            agencies, recruitment and contracting of Honduran workers abroad, and
                                                                                          victim identiﬁcation and contributed to authorities penalizing victims
            employment of at-risk groups, such as domestic workers and seafarers.
                                                                                          for unlawful acts traffickers compelled them to commit. The government
            Honduran regulations prohibited charging recruitment fees to workers,
                                                                                          did not enact legislation to fully criminalize all forms of trafficking.
            but the government did not report enforcement of these regulations in
                                                                                          Because the government has devoted sufficient resources to a written
            2021. CICESCT and the Honduran Tourism Institute coordinated with
                                                                                          plan that, if implemented, would constitute signiﬁcant efforts to meet
            their regional counterparts to conduct awareness raising activities aimed
                                                                                          the minimum standards, Hong Kong was granted a waiver per the
            at the prevention of child sex tourism. The government did not report
                                                                                          Trafficking Victims Protection Act from an otherwise required downgrade
            efforts to reduce the demand for commercial sex acts.
                                                                                          to Tier 3. Therefore Hong Kong remained on Tier 2 Watch List for the
                                                                                          third consecutive year.
            TRAFFICKING PROFILE
            As reported over the past ﬁve years, human traffickers exploit domestic
            and foreign victims in Honduras, and traffickers exploit victims from                  HONG KONG TIER RANKING BY YEAR
            Honduras abroad. Traffickers exploit Honduran women and children                   1
            in sex trafficking within the country and in other countries such as
                                                                                              2
            Belize, El Salvador, Guatemala, Mexico, Spain, and the United States.
            Traffickers particularly target LGBTQI+ Hondurans, migrants, IDPs,              2WL
            persons with disabilities, children in child labor, children whose parents         3
            have migrated, and individuals living in areas controlled by organized                    2015     2016     2017        2018   2019   2020   2021   2022
            criminal groups. Officials report the pandemic worsened numerous issues
            that exacerbate these risks, such as family problems, unemployment,
            and lack of access to healthcare. Traffickers exploit victims within their
            own homes or communities, including sometimes their own family                PRIORITIZED RECOMMENDATIONS:
            members or friends. Traffickers exploit Honduran adults and children          Improve the quality of screenings conducted to identify trafficking
            in forced labor in street vending, forced begging, domestic service,          victims, increasingly screen individuals in commercial sex for trafficking,
            drug trafficking, and the informal sector in their own country, as well as    and ensure children in commercial sex are identiﬁed as trafficking victims
            forced labor in other countries, particularly Guatemala, Mexico, and the      and refer them to services. • Cease penalization of victims for unlawful
            United States. Children, including from Indigenous and Afro-descendant        acts traffickers compel them to commit and increase interagency
            communities, particularly Miskito boys, are at risk for forced labor in       coordination to ensure authorities do not punish victims through
            the agricultural, construction, manufacturing, mining, and hospitality        immigration proceedings, including before investigating the traffickers. •
            industries. Children who are homeless are at risk for sex and labor           Vigorously investigate and prosecute suspected sex and labor traffickers
            trafficking. Criminal organizations, including gangs, exploit girls in sex    and sentence convicted traffickers to signiﬁcant prison terms. • Enact
            trafficking, force children into street begging, and coerce and threaten      legislation that criminalizes all forms of trafficking in accordance with the
            children and young adults to transport weapons, sell drugs, commit            deﬁnition set forth in the 2000 UN TIP Protocol. • Engage in continuous
            extortion, or serve as lookouts; these acts occurred primarily in urban       and regular collaboration with NGOs and social welfare experts to update
            areas, but one NGO reported an increase in gang activity in rural areas.      anti-trafficking policies; review victim-centered interview processes
            Criminals expanded the use of social network platforms to recruit             and investigations; establish improved services for trafficking victims;
            victims, often with false promises of employment, and continued to            and create in-depth training programs for the judiciary, labor tribunal,
            target vulnerable populations. Honduras is a destination for child sex        and other task force stakeholders. • Ensure authorities offer and refer
            tourists from Canada and the United States. Migrants from Africa, Asia,       trafficking victims to services. • Provide adequate services in Hong
            the Caribbean, Central America, the Middle East, and South America            Kong to non-resident victims, including children, including before their
            who transit Honduras en route to the United States are vulnerable to          repatriation. • Allow foreign victims to work and study in Hong Kong
            being exploited in trafficking. Corruption and official complicity helped     while participating in judicial proceedings against traffickers. • Increase
            facilitate trafficking crimes.                                                protections for foreign domestic workers to reduce their vulnerability
                                                                                          to trafficking, including by prohibiting worker-charged recruitment
                                                                                          fees, permanently eliminating the “two week rule,” affording workers
                                                                                          an option to live outside their place of employment and creating
             HONG KONG: TIER 2 WATCH                                                      legal maximum working hours. • Proactively investigate unscrupulous
                                                                                          employment agencies and money lenders for their complicity in labor
             LIST                                                                         trafficking and penalize convicted agency operators.


            The Government of Hong Kong does not fully meet the minimum
                                                                                          PROSECUTION
                                                                                          The government maintained anti-trafficking law enforcement efforts; the
            standards for the elimination of trafficking but is making signiﬁcant
                                                                                          absence of laws that fully criminalize trafficking made it difficult both
            efforts to do so. These efforts included increasing screening of vulnerable
                                                                                          to accurately assess the government’s prosecution efforts compared
            populations for trafficking indicators and meeting with civil society
                                                                                          with the previous year and to determine which law enforcement actions
            organizations to consider recommendations to improve the effectiveness
                                                                                          involved human trafficking as deﬁned by international law. Hong
            of victim identiﬁcation procedures. The government trained more
                                                                                          Kong law did not criminalize all forms of human trafficking, and the
            officials than the previous year and prosecuted an increased number of
                                                                                          government relied on various provisions of laws relating to prostitution,
 270                                                                                                                                         Haiti AR_000751
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 376 of 729




                                                                                                                                                                HONG KONG
immigration, employment, and physical abuse to prosecute trafficking            met at least one of seven indicators listed on the standard screening
crimes. Inconsistent with international law, Section 129 of the Crimes          form of the ﬁrst tier of the identiﬁcation mechanism. Officials screened
Ordinance, which criminalized “trafficking in persons to or from Hong           7,678 individuals in 2021, compared to 6,912 screened in 2020, but
Kong,” required transnational movement and did not require the use              only identiﬁed one victim (exploited in labor trafficking); this was a
of force, fraud, or coercion. Section 129 prescribed penalties of up to 10      decrease compared with identifying three victims in 2020. Authorities’
years’ imprisonment, which were sufficiently stringent and, with respect        implementation of the screening mechanism and victim identiﬁcation
to sex trafficking, commensurate with punishments prescribed for other          was ineffective and inconsistent, and they lacked understanding of
serious crimes, such as rape. Section 130 criminalized the harboring,           psychological trauma associated with trafficking. The government’s
controlling, or directing of a person for the purpose of prostitution           anti-trafficking task force met with civil society organizations to receive
and prescribed penalties of up to 14 years’ imprisonment. Section               feedback on the screening process and accepted proposals for improving
131 criminalized procuring a person to engage in commercial sex acts            the process; however, the government did not report making any
and prescribed penalties of up to 10 years’ imprisonment. Section 137           adjustments to the identiﬁcation process by the end of the reporting
criminalized living on the earnings of commercial sex acts of others and        period. Law enforcement often did not use a trauma-informed approach
prescribed penalties of up to 10 years imprisonment.                            while interviewing potential victims during the identiﬁcation process,
                                                                                which exacerbated victims’ emotional distress and, since authorities
The government initiated an investigation of one potential labor
                                                                                conducted interviews over many hours without adequate breaks, often
trafficking case, compared to three in 2020, but did not report
                                                                                did not successfully identify indicators of trafficking. The standard
prosecuting or convicting any cases of labor trafficking for the third
                                                                                screening form listed the vulnerable populations authorities were
consecutive year. The government did not report the number of sex
                                                                                required to screen, but it did not list any groups that included Hong
trafficking investigations or prosecutions initiated in 2021, but it reported
                                                                                Kong citizens. Although the government reported expanding screening
arresting 20 suspects (27 in 2020) during investigations for offenses
                                                                                of foreign domestic workers in 2021 to include all workers who applied
related to sex trafficking, including for violations of Sections 130 and
                                                                                for a new or to renew an existing worker visa, authorities did not routinely
137 of the Crimes Ordinance. Courts convicted four criminals for sex
                                                                                screen individuals in commercial sex for trafficking indicators. Hong
trafficking-related crimes in 2021 (one conviction in 2020) and sentenced
                                                                                Kong’s low age of consent, 16, further complicated efforts to identify
two of the criminals to four and eight months’ imprisonment. Such
                                                                                child victims exploited in commercial sex as trafficking victims. Despite
short sentences did not serve to deter trafficking crimes or adequately
                                                                                media reports indicating officials identiﬁed children in commercial sex
reﬂect the nature of the offense. The government did not report any
                                                                                during police raids on brothels, government authorities did not identify
investigations, prosecutions, or convictions of government employees
                                                                                them as victims of trafficking or refer them to services. The failure to
complicit in human trafficking offenses.
                                                                                consistently provide potential victims with immediate stabilizing care
Law enforcement officials often did not adequately investigate trafficking      upon their initial contact with authorities, as well as a lack of legal
cases, sometimes closed cases with clear indicators of trafficking,             assistance for victims, also likely impeded officials’ ability to effectively
and did not employ a victim-centered, trauma-informed approach                  interview victims and identify trafficking indicators. In previous years,
when interviewing victims. The government reported using a “joint               authorities failed to identify mainland People’s Republic of China (PRC)
investigative process” in trafficking cases to coordinate interviews            national child victims of sex trafficking who were found during anti-vice
of victims among law enforcement agencies; however, in previous                 operations, and authorities deported them without providing adequate
reporting periods, observers reported limited coordination between law          assistance; however, in 2021, authorities did not report ﬁnding any such
enforcement agencies in practice, which resulted in agencies separately         victims during anti-vice operations.
investigating different aspects of cases. Law enforcement did not
                                                                                The government did not report providing services to any victims. The
adequately prosecute operators of unscrupulous employment agencies
                                                                                government reported agencies could refer potential victims to anti-
or money lenders for their roles in facilitating labor trafficking through
                                                                                trafficking teams and provide them services; however, authorities did
debt-based coercion. The absence of laws criminalizing all forms of
                                                                                not refer any victims to services, and the government lacked a formal
trafficking impeded officials’ ability to investigate or charge suspected
                                                                                referral process and clear guidance for officials to inform victims of
traffickers. This also resulted in the prosecution of trafficking crimes
                                                                                available services. Victims commonly preferred to receive services
under laws with weak penalties. Well-founded fears of penalization and
                                                                                provided by foreign consulates or NGOs, rather than services offered by
the absence of adequate services resulted in many victims choosing not
                                                                                the government. The government partially subsidized six NGO-operated
to report their exploitation or declining to cooperate with authorities in
                                                                                and three government-operated shelters that served victims of violence,
investigations. Inadequate victim identiﬁcation led to victims identiﬁed
                                                                                abuse, and exploitation, including trafficking victims. These shelters
by NGOs pursuing justice in civil tribunal courts and the government
                                                                                could provide temporary accommodation, counseling, and medical
did not pursue criminal cases against the traffickers. NGOs previously
                                                                                and psychological services to local and foreign victims, regardless of
reported judicial officials lacked an awareness of trafficking.
                                                                                gender or age. However, some services were not available to foreign
The government provided trafficking-related training to approximately           victims, including welfare and social services provided by the Social
1,700 officials from various agencies in 2021, compared with 880                Welfare Department.
trained in 2020. Adjusting to pandemic-related travel restrictions, which
                                                                                The government could assist foreign victims, including domestic workers,
prevented their ability to attend overseas trainings, officials also joined
                                                                                to return to Hong Kong to serve as witnesses in trials by providing
online workshops and webinars. The Security Bureau cosponsored its
                                                                                ﬁnancial assistance but did not report doing so during the reporting
sixth joint anti-trafficking training program with the EU in January 2022
                                                                                period. To enable foreign victims to temporarily remain in Hong Kong,
for officials from various agencies and civil society organizations. The
                                                                                the government could provide visa extensions with fee waivers and could
police force employed dedicated teams for investigating trafficking
                                                                                provide victims who were foreign domestic workers with permission to
and the exploitation of foreign domestic workers. The government also
                                                                                change their employer. Inconsistent coordination between immigration
reported having designated points of contact for trafficking issues within
                                                                                officials and police made it difficult for victims to obtain visa extensions
relevant agencies since 2018. Nonetheless, civil society organizations
                                                                                in practice. Authorities generally did not permit foreign victims, including
continued to report being unable to reach these designated contacts
                                                                                those given visa extensions, to work or study while they remained in
and teams, including when attempting to refer victims to police, and
                                                                                Hong Kong, unless an exception was granted; this likely deterred some
some reported government officials could not direct them to a person
                                                                                victims from remaining in Hong Kong to participate as witnesses in
responsible for trafficking in their agency.
                                                                                investigations against traffickers. Hong Kong law allowed victims
                                                                                to seek compensation from traffickers through civil suits and labor
PROTECTION
                                                                                tribunals. Nonetheless, a shortage of interpretation services, lack of
The government maintained inadequate efforts to protect victims. Police,
                                                                                trained attorneys, inability to work while awaiting a decision, and judges’
immigration, and customs officials used a two-tiered identiﬁcation
                                                                                inexperience with forced labor cases sometimes impaired victims’
mechanism to screen vulnerable populations for indicators of trafficking.
                                                                                attempts to claim back wages or restitution through labor tribunals
Through this mechanism, officials referred potential victims for a full
                                                                                and deterred some from bringing claims forward.
identiﬁcation “debrieﬁng” after determining whether an individual
                                                                                                                                  Haiti AR_000752               271
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 377 of 729
HONG KONG   Due to a lack of effective identiﬁcation procedures, authorities likely       workers’ increased bargaining power with employment agencies due
            detained, arrested, and deported some unidentiﬁed trafficking victims.        to a decrease in available foreign domestic workers in Hong Kong,
            Authorities penalized victims for unlawful acts traffickers compelled         contributed to a decrease in workers’ risk of exploitation and debt-based
            them to commit. During police raids in brothels, authorities arrested         coercion. One NGO study found that fewer employment agencies charged
            individuals in commercial sex, did not screen them for indicators of          workers illegal fees during the year. Although the government requested
            trafficking, and deported foreign individuals without screening. The          employers pay the costs associated with quarantine requirements for
            government typically initiated immigration proceedings against victims,       workers entering Hong Kong during the pandemic, it did not require
            rather than referring them to services and investigating or prosecuting       it, and NGOs reported some employment agencies charged both
            the traffickers. In addition, anecdotal reporting suggested authorities       employers and workers, who incurred additional debt from employment
            continued to penalize victims of forced criminality, speciﬁcally those        agencies from these expenses, further increasing their vulnerability to
            coerced to carry drugs into Hong Kong, without screening them for             debt-based coercion.
            trafficking indicators. The government could grant immunity from
                                                                                          The government prosecuted 20 employers of foreign domestic workers
            prosecution to victims identiﬁed through the screening mechanism,
                                                                                          (8 in 2020) and convicted ﬁve for offenses such as assault, causing bodily
            as well as exploited foreign domestic workers, and reported granting
                                                                                          harm, and criminal intimidation; courts imposed sentences ranging
            immunity to two individuals in 2021.
                                                                                          from ﬁnes to 30 months’ imprisonment. The government also reported
                                                                                          convicting 16 employers of foreign domestic workers for illegally using
            PREVENTION                                                                    workers to perform duties outside their contracts (18 in 2020); sentences
            The government maintained efforts to prevent trafficking. The government
                                                                                          included community service and up to three months’ imprisonment.
            continued to publicly deny that trafficking is a prevalent crime in Hong
                                                                                          The government allowed employers previously convicted of exploiting
            Kong, undercutting the anti-trafficking efforts of government officials and
                                                                                          foreign domestic workers to continue to hire workers. Hong Kong
            the NGO community. A governmental anti-trafficking steering committee
                                                                                          law permitted employment agencies to charge job seekers, including
            led by the Chief Secretary for Administration and the inter-departmental
                                                                                          foreign domestic workers, up to 10 percent of their ﬁrst months’ salary
            working group led by the Security Bureau continued to meet. The
                                                                                          in recruitment fees. Since authorities did not enforce this rule, agencies
            government allocated 62.23 million Hong Kong dollars ($7.98 million) in
                                                                                          often charged much higher fees and conﬁscated workers’ passports
            its annual budget to continue implementation of the 2018 anti-trafficking
                                                                                          and/or contracts as collateral, practices that perpetuated debt-based
            action plan, the same amount it allocated the previous year. In addition,
                                                                                          coercion. The government requested employment agencies comply with
            following the imposition of the National Security Law by the Chinese
                                                                                          a code of practice covering statutory requirements and standards for
            National People’s Congress on Hong Kong in June 2020, under which
                                                                                          Hong Kong-based employment agencies. Despite being a violation of
            any speech critical of the government or its policies could be construed
                                                                                          the code of practice, observers reported money lenders and employment
            as pro-secession, subversive, or inciting hate against the government,
                                                                                          agencies often operated at the same address without consequence; this
            along with increased restrictions to freedom of expression, NGOs and
                                                                                          enabled employment agencies complicit in labor trafficking to indebt
            other civil society organizations reported they were more cautious in
                                                                                          workers through loans for recruitment fees that were often beyond the
            their engagement with the government, including on human trafficking.
                                                                                          legal limits. The Employment Agencies Administration (EAA) conducted
            The government passed legislation in October 2021 that prohibited
                                                                                          cursory inspections of some employment agencies. The EAA increased
            the “publication or threatened publication of intimate images without
                                                                                          staffing and resources during the reporting period, but previous reports
            consent,” which could target those who coerce victims into commercial
                                                                                          indicated its inspections of agencies were ineffective and often only
            sex acts through threats of online distribution of photographs.
                                                                                          consisted of cursory reviews of documentation. In addition, the EAA did
            The government reported conducting 60 raids on illegal brothels in            not proactively investigate unscrupulous agencies and typically required
            2021, an increase compared to 41 conducted in 2020. The government            a victim to make a complaint against an agency before initiating an
            did not conduct campaigns to raise awareness of sex trafficking. To           investigation. The EAA was not regularly open on Sundays—the only
            improve awareness of the rights of foreign domestic workers and the           non-work day for most foreign domestic workers—preventing some
            responsibilities of employers, the government continued to distribute         workers from ﬁling complaints; however, the EAA increasingly opened
            information packets to workers and employers, publish advertisements in       during weekends during the reporting period. To facilitate the ability
            Filipino and Indonesian language newspapers, work with the Philippine         of foreign domestic workers to make inquiries and complaints, the
            and Indonesian consulates to provide brieﬁngs to newly arriving domestic      Labor Department (LD) operated an online portal as well as a 24-hour
            workers, and publish translated versions of standard employment               hotline with interpretation available in seven languages. In 2021, LD
            contracts in 11 foreign languages. The government continued to distribute     prosecuted ﬁve agencies for overcharging workers, operating without
            information cards created by an international organization that listed        a license, or other violations but did not report the number convicted
            information on support services available to foreign domestic workers         (11 agencies prosecuted in 2020). LD cited non-compliance of the code
            and trafficking victims.                                                      of practice in decisions to revoke or reject the renewal of licenses of
                                                                                          seven employment agencies in 2021 (seven in 2020). A study found
            The government’s process for evaluating non-refoulement claims,
                                                                                          that while the EAA increased investigations of employment agencies,
            which did not allow claimants to legally work in Hong Kong, made some
                                                                                          the number of prosecutions for non-compliance of the code of practice
            refugees vulnerable to trafficking. In addition, the government’s policies
                                                                                          remained low. In addition, previous reports indicated some employment
            requiring foreign domestic workers to live with their employer and
                                                                                          agencies reportedly continued to operate—and unlawfully retain workers’
            previous requirement to return to their home countries within two weeks
                                                                                          passports with impunity—after losing their licenses, sometimes operating
            after their contracts’ termination (“two-week rule”) increased workers’
                                                                                          while their conviction was under appeal or reopening under different
            vulnerability to exploitation by abusive employers and unscrupulous
                                                                                          names. Despite having the legal discretion to revoke agency licenses
            employment agencies. The requirement that workers live with their
                                                                                          administratively, observers reported the EAA over-relied on criminal
            employers enabled exploitative employers to limit workers’ freedom
                                                                                          convictions of agencies to do so. In addition, ﬁnes and other penalties
            of movement and communications, and sometimes employers required
                                                                                          given to employment agencies exploiting foreign domestic workers
            workers to live in inadequate conditions. The lack of regulations setting
                                                                                          were not signiﬁcant enough to act as a deterrent. The government
            a maximum number of legal working hours for foreign domestic workers
                                                                                          did not make efforts to reduce demand for commercial sex acts. The
            also contributed to their vulnerability. Throughout the pandemic, the
                                                                                          government did not provide anti-trafficking training to its personnel
            live-in requirement increased workers’ workloads and daily work hours,
                                                                                          posted overseas. While the PRC included Macau in its accession to the
            and some employers denied workers the ability to take their mandated
                                                                                          2000 UN TIP Protocol in 2010, it stated the Protocol “shall not apply”
            day off. Previously, the “two-week rule” likely deterred workers from
                                                                                          to Hong Kong.
            reporting or exiting exploitative conditions. Due to travel restrictions
            related to the pandemic in both Hong Kong and workers’ home countries,
            the government temporarily suspended the “two-week rule,” allowing
                                                                                          TRAFFICKING PROFILE
                                                                                          As reported over the past ﬁve years, human traffickers exploit domestic
            workers to remain in Hong Kong and seek new employment after their
                                                                                          and foreign victims in Hong Kong, and traffickers exploit victims from
            contracts ended. NGOs reported this suspension, as well as domestic
                                                                                          Hong Kong abroad. Victims include citizens from mainland PRC,
 272                                                                                                                                  Haiti AR_000753
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 378 of 729




                                                                                                                                                             HUNGARY
Indonesia, Kenya, the Philippines, Thailand, Uganda, and other Southeast    reportedly hired foreign domestic workers under false pretenses and
Asian countries, as well as countries in South Asia, Africa, and South      forced them into commercial sex.
America. Traffickers exploit foreign women, including from Eastern
Europe, Africa, and Southeast Asia in sex trafficking. There were reports
that some women in Hong Kong—often with the assistance of their
families—deceive Indian and Pakistani men into arranged marriages            HUNGARY: TIER 2
that involve domestic servitude, bonded labor in construction and
other physically demanding industries, and other forms of abuse via
                                                                            The Government of Hungary does not fully meet the minimum standards
exploitative contracts. Traffickers exploit migrant workers in shipping,
                                                                            for the elimination of trafficking but is making signiﬁcant efforts to do so.
construction, electronic recycling facilities, nursing homes, and private
                                                                            The government demonstrated overall increasing efforts compared with
homes. Drug trafficking syndicates coerced foreign women, including
                                                                            the previous reporting period, considering the impact of the COVID-19
through the use of physical violence, to carry drugs into Hong Kong.
                                                                            pandemic, on its anti-trafficking capacity; therefore Hungary remained
Traffickers recruit victims from the Philippines, South America, and        on Tier 2. These efforts included investigating more trafficking cases,
mainland PRC using false promises of lucrative employment and force         convicting more traffickers, and funding programs in orphanages
them into commercial sex. Pre-pandemic, some foreign victims entered        aimed at the prevention of child sex trafficking and treatment of its
Hong Kong on two-week tourist visas, as part of a circuit of major cities   victims. Additionally, provisions to the Act of Criminal Procedures and
in the region used by traffickers, including Bangkok and Taipei, and were   related sectoral legislation entered into force, modifying the conduct
coerced into commercial sex through debt-based coercion. Following          of proceedings involving children, including child trafficking victims, to
increased travel restrictions related to the pandemic, there were fewer     prevent re-traumatization during investigations and court proceedings.
foreign individuals in commercial sex in Hong Kong throughout 2020 and      Furthermore, the government amended the Victim Support Act to allow
2021, including trafficking victims. However, NGOs reported increasing      victims of violent crimes, such as trafficking, to receive compensation
occurrences of online solicitation of commercial sex acts, which reduced
                                                                            regardless of the victim’s income level, and it extended the deadline for
their access to individuals in commercial sex and may have increased
                                                                            claiming compensation from three months to one year. Moreover, the
individuals’ vulnerability to coercive tactics. Traffickers use coercive
                                                                            government and an international organization implemented a one-year
methods, such as threats of reporting victims to police or immigration
                                                                            return and reintegration project aimed at improving the provision of
authorities, withholding of identiﬁcation documents, and blackmailing
                                                                            victim assistance for voluntary returns, sustainable reintegration, and
victims with threats of online distribution of photographs to coerce
                                                                            preventing re-victimization. However, the government did not meet
them to engage in online commercial sex acts. Brothel operators and
                                                                            the minimum standards in several key areas. Authorities identiﬁed and
others exploit Hong Kong children in sex trafficking. “Compensated
                                                                            assisted fewer trafficking victims. The government’s trafficking victim
dating” also continues to facilitate commercial sexual exploitation of
Hong Kong children and adults, making them vulnerable to trafficking.       identiﬁcation mechanism did not apply to foreign victims without legal
Traffickers have exploited victims from Hong Kong in North America          residency. As a result, government officials did not adequately screen for
in commercial sex.                                                          trafficking indicators or identify victims among third-country nationals,
                                                                            such as asylum-seekers, as well as other vulnerable populations, including
Approximately 400,000 foreign domestic workers, primarily from              domestic workers or children in state-run institutions. The government
Indonesia and the Philippines, work in Hong Kong. Some foreign domestic     did not have a specialized framework for identifying, referring, or assisting
workers become victims of debt bondage in the private homes in              child victims. Overall services for victims remained scarce, uncoordinated,
which they are employed. A 2018 NGO task force survey of migrant            and inadequate, especially for foreigners and children, for whom there
workers found that one-third of Indonesian workers in Hong Kong were        were no dedicated shelters; these gaps left victims at risk of re-trafficking.
asked to sign debt agreements as conditions of their employment.            Finally, the government re-extended the “crisis situation due to mass
In addition, 56 percent of surveyed workers reported having to pay
                                                                            migration,” authorizing police to automatically remove third-country
illegal recruitment fees, and 24 percent had their personal documents
                                                                            nationals intercepted for unlawfully entering and/or staying in Hungary
withheld by employment agencies or employers. Recent estimates
                                                                            without screening for trafficking indicators; some of these third-country
suggest that as many as one in six foreign domestic workers are victims
                                                                            nationals could be or could become trafficking victims.
of labor exploitation in Hong Kong. Some operators of employment
agencies subject victims to labor trafficking through debt-based
coercion by charging workers job placement fees above legal limits                   HUNGARY TIER RANKING BY YEAR
and sometimes withholding their identity documents. The accumulated              1
debts sometimes amount to a signiﬁcant portion of a worker’s ﬁrst-year
                                                                                2
salary, and unscrupulous agencies sometimes compel workers to take
loans from money lenders to pay excessive fees. However, the reduced          2WL
availability of foreign domestic workers in Hong Kong as a result of the         3
pandemic resulted in some employment agencies reducing placement                        2015     2016     2017      2018   2019    2020   2021     2022
and other fees charged to workers. Some employers, money lenders,
and employment agencies illegally withhold passports, employment
contracts, or other possessions until the debt is paid. Some workers
are required to work up to 17 hours per day; experience verbal, sexual,     PRIORITIZED RECOMMENDATIONS:
or physical abuse in the home; live in inadequate conditions; and/or are    Screen for trafficking indicators and proactively identify potential
not granted a legally-required weekly day off. Throughout the pandemic,     victims, especially among vulnerable populations, such as migrants
many workers faced increased workloads and daily work hours, and some       and asylum-seekers, unaccompanied children, and children in state-
employers denied workers the ability to take their mandated day off.        run institutions and orphanages. * Signiﬁcantly increase the quality
In addition, many workers incurred additional debt from employment          and availability of specialized victim services for adults and children,
agencies for expenses related to quarantine requirements, further           including by expanding the national referral mechanism (NRM) to formally
increasing their risk of experiencing debt-based coercion. Observers        include foreign victims without legal residency and allocating funding to
also reported brothels, bars, and clubs increasingly recruited foreign      additional NGOs for victim care. * Cease the abrupt and violent removal
domestic workers to engage in commercial sex acts, sometimes through        of third-country nationals who could be or could become trafficking
fraudulent recruitment methods. Some foreign domestic workers sign          victims and train authorities to recognize indicators of trafficking
contracts to work in Hong Kong, but upon arrival, traffickers coerce or     among vulnerable groups. * Bolster efforts to protect children residing
lure them to work in mainland PRC, the Middle East, or Russia. As demand    in state-run institutions and of individuals who leave these institutions
for foreign domestic workers in Hong Kong increased, NGOs reported          against trafficking. * Implement the non-punishment provisions
workers from countries other than Indonesia and the Philippines were        to ensure trafficking victims are not inappropriately incarcerated,
increasingly vulnerable to exploitation. Some employment agencies           ﬁned, or otherwise penalized solely for unlawful acts their traffickers
                                                                                                                                  Haiti AR_000754            273
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 379 of 729
HUNGARY   compelled them to commit. * Amend the anti-trafficking law to ensure           six investigations, participated in two Joint Investigation Teams (one
          that force, fraud, or coercion are not required for sex trafficking crimes     ongoing from 2020), and extradited two suspected traffickers in 2021.
          involving child victims. * Enhance the collection and reporting of reliable    In one investigation, Hungarian and German authorities cooperated on
          prosecution data. * Increase the number of police officers investigating       a sex trafficking case involving a suspected trafficker of Mozambican
          trafficking crimes and train them to understand, recognize, and address        origin who allegedly forced a victim also of Mozambican origin into
          all aspects of trafficking. * Develop a clear framework for and allocate       commercial sex in Hungary, Germany, Cyprus, Italy, and France. Under
          dedicated resources to regulate foreign labor recruitment in Hungary.          the auspices of an EU security initiative to identify, prioritize, and address
          * Empower the labor authority to regulate labor recruitment agencies           threats posed by organized and serious international crime, including
          and impose ﬁnes or punishments on agencies that commit trafficking             trafficking, in November 2021, NNI coordinated a joint action day focused
          crimes. * Increase victim-centered, trauma-informed training for law           on detecting and prosecuting trafficking cases, which resulted in the
          enforcement, prosecutors, judges, and front-line workers.                      apprehension of 12 suspected traffickers and the identiﬁcation of 17
                                                                                         Hungarian victims.
          PROSECUTION                                                                    Authorities noted numerous positive impacts from recent legal and
          The government increased prosecution efforts. Section 192 of the
                                                                                         operational reforms aimed at combating trafficking and enhanced
          criminal code criminalized all forms of labor trafficking and some
                                                                                         government trainings but acknowledged that challenges, such as
          forms of sex trafficking. Section 192 prescribed penalties of one to 10
                                                                                         personnel shortages and pandemic-related restrictions, continued to
          years’ imprisonment for crimes involving an adult victim and ﬁve to
                                                                                         limit progress. Recent criminal code amendments allowed authorities to
          20 years’ or life imprisonment for those involving a child victim. These
                                                                                         conﬁscate traffickers’ property, enabling more successful investigations
          penalties were sufficiently stringent and, with respect to sex trafficking,
                                                                                         and deterring convicted traffickers from continuing criminal activities.
          commensurate with those prescribed for other serious crimes, such as
                                                                                         Additionally, the changes allowed prosecutors to pursue stronger
          rape. Legislative amendments from 2020 helped align the Hungarian
                                                                                         punishments against traffickers. Prosecutors appealed for harsher
          deﬁnition of trafficking with the international deﬁnition by more precisely
                                                                                         sentences for 33 defendants in eight ﬁrst-instance rulings, including
          deﬁning exploitation and including force, fraud, or coercion as an essential
                                                                                         a case in which a child sex trafficker’s prison sentence was increased
          element of the base crime of adult trafficking. However, inconsistent with
                                                                                         from eight to 11 years. Furthermore, police credited enhanced training
          international law, the amended Section 192 required a demonstration
                                                                                         to shifting how officers viewed and approached trafficking, stating that
          of force, fraud, or coercion to constitute a child sex trafficking crime,
                                                                                         police began to approach individuals in commercial sex as potential
          thereby not criminalizing all forms of child sex trafficking. Judicial
                                                                                         trafficking victims instead of suspects or criminals. Educational efforts
          officials continued to assert the law implicitly established that force,
                                                                                         supported by the government included trainings on detecting trafficking
          fraud, or coercion were not required to constitute child sex trafficking
                                                                                         cases and victim identiﬁcation and protection for probation officers,
          and that this therefore was not a barrier in successfully prosecuting and
                                                                                         investigators, prosecutors, and judges. Despite the noted progress,
          obtaining convictions in child sex trafficking cases.
                                                                                         police stressed the need for more resources, such as surveillance tools
          Section 203 of the criminal code, which criminalized crimes relating to        and personnel. National and local authorities reported police forces were
          the “exploitation of child prostitution,” could be utilized to prosecute       stretched beyond capacity and did not have adequate personnel for
          some child sex trafficking crimes that did not necessarily involve force,      all functions, including addressing trafficking. Moreover, media outlets
          fraud, or coercion. Section 203 prescribed penalties of up to three years’     reported signiﬁcant dissatisfaction among police and emergency workers
          imprisonment, which were not sufficiently stringent nor commensurate           over more restrictive work conditions, partially due to the pandemic,
          with penalties prescribed for other grave crimes, such as rape. Penalties      including a ban on resignation or retirement, long hours, rotations at
          under this provision increased only if a person was “supported partly or       the Hungary-Serbia border to stem migrant ﬂow, and noncompetitive
          wholly by proﬁting” from such exploitation of a child or for maintaining       wages. To address some personnel gaps, in 2020, NNI approved four
          or operating a brothel for the purposes of such exploitation of a child.       additional investigative positions to the 11-person trafficking unit, but
          Additionally, Section 193 criminalized forced labor, with sentences            some of the positions remained vacant at the end of the reporting
          ranging from one to ﬁve years’ imprisonment for crimes involving an            period. Observers continued to underscore the government needed more
          adult victim and two to eight years’ imprisonment for those involving          experts working on trafficking cases and a sophisticated perspective
          a child victim. The 2020 amendments criminalized all forms of labor            on addressing all aspects of trafficking.
          trafficking, including forced labor, under Section 192, thus superseding
          Section 193. However, authorities continued to prosecute and convict           PROTECTION
          traffickers under Section 193 in 2021. Observers noted a gap in the law        The government maintained protection efforts despite notable gaps. The
          remained that could allow the prosecution of a victim if that victim           government identiﬁed 171 victims (78 sex trafficking, 39 labor trafficking,
          consented to the crime without coercion. The Office of the Prosecutor          54 unspeciﬁed), a decrease from 188 in 2020. Of these victims, 24 were
          General (PGO) instructed prosecutors not to prosecute such victims.            children (21 in 2020), and eight were foreign nationals (four in 2020).
                                                                                         Government Decree no. 354/2012 on the trafficking victim identiﬁcation
          The government reported the number of registered crimes rather
                                                                                         mechanism, which established the NRM, regulated the identiﬁcation of
          than the number of closed investigations because the data on closed
                                                                                         victims and their referral to assistance. Experts expressed concern that
          investigations provided in previous years contained possible duplications.
                                                                                         the decree did not apply to foreign victims without legal residency. The
          Despite the data on prosecutions also containing duplications, the
                                                                                         decree listed the authorities responsible for identifying victims, such
          government reported all prosecutions, thereby misrepresenting the
                                                                                         as police, border guards, and health professionals; the questionnaire
          number of suspected traffickers in the criminal justice system and
                                                                                         to be completed with suspected victims; and procedural protocols. In
          making it difficult to assess efforts. Additionally, the government
                                                                                         2021, the government amended the decree to include an updated list of
          noted prosecutorial guidelines issued in 2018 resulted in a number of
                                                                                         trafficking indicators and a ﬂowchart to assist with the identiﬁcation of
          pandering cases reclassiﬁed as trafficking cases. In 2021, police registered
                                                                                         trafficking victims and management of trafficking cases. The government
          132 trafficking crimes (115 sex trafficking, 13 labor trafficking, four
                                                                                         also amended the Victim Support Act, which required the provision
          unspeciﬁed), an increase from 95 registered in 2020. Officials prosecuted
                                                                                         of services to all victims of a crime, increasing the number of victims
          255 suspected traffickers (210 under Section 192, 45 under Sections 193
                                                                                         who beneﬁted from victim support services. However, under those
          and 203), compared with 209 in 2020. Courts convicted 17 traffickers (15
                                                                                         amendments, which entered into force in 2021, victims automatically
          under Section 192, two under Sections 193 and 203), an increase from 10
                                                                                         received access to support services unless they explicitly asked the
          in 2020. All 17 convicted traffickers received prison sentences ranging
                                                                                         authorities responsible for identiﬁcation not to record their personal
          from two years’ to 12 years’ imprisonment; courts suspended three of
                                                                                         data into the government’s digital victim support system (EKAT),
          those sentences. In 2021, prosecutors investigated a police officer for
                                                                                         which provided victims with information on support services, such as
          labor trafficking; the investigation found no evidence of trafficking. The
                                                                                         placement in shelters. At the beginning of 2021, only three institutions
          National Bureau of Investigations (NNI) maintained a specialized unit for
                                                                                         responsible for identiﬁcation could access EKAT. As a result, by the end
          investigating trafficking cases with an international or organized crime
                                                                                         of 2021, authorities only identiﬁed seven cases.
          connection. NNI cooperated with foreign law enforcement agencies on

 274                                                                                                                                    Haiti AR_000755
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 380 of 729




                                                                                                                                                                 HUNGARY
NGOs said identiﬁcation, referral, and assistance for the majority of           centers’ existence and reach target numbers. In 2021, the government
victims took place on an ad hoc basis, and NGOs and social service              and an NGO continued to implement a two-year pilot project aimed at
providers mainly based the process on their personal networks and               providing 50 potential trafficking victims with reintegration support.
connections, while the Ministry of Interior (MOI) reported most referrals       The government partially funded the project, contributing 25 million
were made by the police. NGOs expressed the need for the government             HUF ($76,610). Under the auspices of the project, each victim was
to allocate more effectively its resources, particularly in the identiﬁcation   eligible for up to 500,000 HUF ($1,530) in ﬁnancial support; during
and referral of victims. They also continued to criticize the law that          the reporting period, 14 victims received payments. Additionally, in
required the State Audit Office to report on organizations that were            2021, the government and an international organization implemented
“capable of inﬂuencing public life” and had a certain budget as it              a one-year return and reintegration project co-ﬁnanced by the Internal
negatively impacted state funding for victim assistance. Overall, victim        Security Fund of the European Union and the Hungarian MOI. The project
assistance remained scarce and uncoordinated—especially for foreigners          aimed at improving and consolidating the provision of assistance to
and children—and exposed survivors to the risk of re-victimization.             victims for their voluntary returns and sustainable reintegration and
In 2021, government-funded NGOs reported assisting 91 trafficking               preventing re-victimization. Further amendments to the Victim Support
victims, an increase from 80 in 2020, of which three were children, a           Act allowed victims of violent crimes, such as trafficking, to receive
notable decrease from 13 in 2020. The vast majority of the victims were         compensation regardless of the victim’s income level and extended the
Hungarian citizens; ﬁve were foreign nationals.                                 deadline for claiming compensation from three months to one year. In
                                                                                2021, the MOJ reported victims received 11.5 million HUF ($35,240) in
While the NRM did not apply to foreign victims without legal residency,
                                                                                state compensation; however, the statistics included victims of all types
the government granted ad hoc approval to a government-funded NGO
                                                                                of crimes, including trafficking.
to provide services, such as ﬁnancial support, shelter, and health care,
in cases when the NGO requested it. Foreign victims could receive a             Provisions to the Act of Criminal Procedures and related sectoral
30-day reﬂection period to decide whether to assist law enforcement,            legislation entered into force in 2021, modifying the conduct of
during which they were eligible for a certiﬁcate of temporary stay for          proceedings involving children—including child trafficking victims—by
up to six months. Those who cooperated with authorities were entitled           strengthening cooperation between child protective services and the
to a residence permit for the duration of their cooperation. In 2021,           judiciary. The government based this new approach on the Barnahus
one Mozambican woman and her child held a humanitarian residence                method—a multidisciplinary and interagency model offering child victims
permit. The law required the government to provide 22,800 Hungarian             a coordinated and effective response to prevent re-traumatization during
forint (HUF) ($70) per month for one year to third-country nationals            investigations and court proceedings. The government maintained
who were trafficking victims. The law also required the government              two interdisciplinary centers based on the Barnahus method for child
to provide trafficking victims who were identiﬁed during the asylum             victims and witnesses. To implement the general protection measure
process with immediate psychological or psychiatric assistance through          authorizing police to place child trafficking victims in designated shelters
its reception facility and, if necessary, accommodation through victim          for up to 60 days, the government maintained an intersectoral working
support services. However, the government did not screen or adequately          group among stakeholders, such as police and designated children’s
identify victims among vulnerable populations, such as asylum-seekers           homes. There were ﬁve such shelters (one exclusively for boys) for the
and unaccompanied children.                                                     reception of child trafficking victims; the working group referred 10
                                                                                child victims. Perennial issues persisted with protecting and providing
The Ministry of Justice (MOJ) oversaw the victim support system,
                                                                                assistance to child victims. Experts criticized the chronic lack of assistance
which included victim support services, centers, and a hotline, and it
                                                                                and specialized services for child trafficking victims. The government
allocated 934 million HUF ($2.86 million) toward the system. These
                                                                                lacked a framework for identifying, referring, or assisting child victims
expenditures were for victims of domestic violence and other crimes,
                                                                                other than the general child protection system and state-run homes,
including trafficking. All Hungarian and EU victims were eligible for
                                                                                which had insufficient staff and resources to provide appropriate care
support services, including government-provided ﬁnancial support,
                                                                                or security, leaving victims at risk for re-trafficking. Experts continued
psychological services, legal assistance, witness care, and shelter.
                                                                                to express concern that children in state-run homes and orphanages,
Amendments in 2021 to the government decree revised the criteria for
                                                                                especially children with disabilities, such as girls with special needs or
the provision of victim ﬁnancial assistance by extending the deadline to
                                                                                dual needs, were particularly vulnerable to sex trafficking—approximately
apply for immediate assistance from three to eight days from the date
                                                                                23,000 children lived in state-run institutions, including 300 younger
of the crime and lifted the maximum time limit that victims could stay in
                                                                                than three years of age. EU and national requirements required child
shelters, allowing social workers to determine victims’ length of stay on
                                                                                protection institutions and state-run homes to report all suspected cases
a case-by-case basis. In 2021, a government-funded NGO operated three
                                                                                of children exploited in sex trafficking; however, according to observers,
shelters that provided accommodation, transportation, reintegration
                                                                                some law enforcement did not treat them as victims. Unlike previous
assistance, family care, ﬁnancial management advice, and aftercare.
                                                                                years when authorities penalized child trafficking victims for unlawful
The Ministry of Human Capacities funded a separate NGO and church
                                                                                acts their traffickers compelled them to commit, in 2021, authorities
to establish a new shelter for trafficking victims and their families; the
                                                                                implemented the non-punishment provision for child victims; however,
shelter provided victims with accommodation and support services for
                                                                                in one instance, authorities reported issuing a warning to a girl for a
up to three years. In December 2021, to help families reintegrate after
                                                                                commercial sex crime. Experts questioned the accuracy of government
moving out of temporary shelters, the Ministry of Human Capacities
                                                                                data on the penalization of children, noting children were most likely
created accommodations at an existing facility for six parents who were
                                                                                detained by authorities for short periods of time. Through the Ministry
victims of crimes, including trafficking, and their children.
                                                                                of Human Capacities, child protection professionals received a 30-hour
The Prime Minister’s Office funded two NGOs to operate protected                vocational training on child trafficking and recent legislative changes.
shelters that provided secure accommodations and a range of services,           Additionally, the Ministry of Human Capacities provided 16.6 million
including medical assistance and transportation, to victims. The MOJ            HUF ($50,870) to an NGO to provide programs in orphanages for the
continued to build a nationwide network of victim support centers by            prevention and treatment of child sex trafficking. The government
opening three more in 2021 with the goal to open three centers per year         operated a 24-hour child protection hotline, which received three alerts
until 2025, and it trained workers on identifying and registering trafficking   in connection with a potential child sex trafficking victim in state care.
victims. In areas where the centers were unavailable, the MOJ opened
                                                                                In response to the inﬂow of Ukrainian refugees ﬂeeing Russia’s full-
victim support “hot-spots” (two in 2021) to facilitate implementation of
                                                                                scale invasion of Ukraine, the MOI printed and distributed 90,000
victim support. The centers and “hot-spots” assisted victims of domestic
                                                                                ﬂyers in Ukrainian and Hungarian at border crossings, shelters, major
abuse and other crimes, including trafficking. Observers reported most
                                                                                train stations, and municipal governments, as well as online, raising
staff working in the centers had a legal background but lacked social
                                                                                awareness about potential schemes by traffickers and risks of trafficking.
care skills and experience with victim support. Observers also reported
                                                                                Additionally, the government launched a new hotline with information
staff allegedly misrepresented individuals with intellectual disabilities
                                                                                in Hungarian, English, and Ukrainian on the application process for
and those who were homeless as trafficking victims in order to justify the
                                                                                temporary protected status. In the three counties along the border,
                                                                                                                                   Haiti AR_000756               275
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 381 of 729
ICELAND   the government set up temporary shelters capable of accommodating                officials of the Alien Policing authority conducted joint inspections in
          28,000, with backup capacity for up to 120,000. To provide healthcare,           each county aimed at identifying all forms of labor exploitation.
          the government designated nine hospitals with capacity to care for 11,300
                                                                                           Media and international organizations alleged authorities indiscriminately
          patients, including pandemic isolation. The Budapest Municipality set
                                                                                           and often violently deported asylum-seekers; a 2021 report on protecting
          up accommodations for refugees who decided to remain in Budapest,
                                                                                           rights at borders criticized the government for violent pushbacks of
          converting two homeless shelters and a retirement home into refugee
                                                                                           refugees and migrants into Serbia. The European Court of Human
          reception centers with a total capacity of 440 beds. However, observers
                                                                                           Rights ruled that automatic pushbacks of asylum-seekers carried
          reported the lack of Ukrainian-speaking social workers hindered the
                                                                                           out by the Hungarian authorities were in breach of the prohibition of
          municipality’s ability to properly assist with the psychosocial needs of
                                                                                           collective expulsion enshrined in the European Convention on Human
          the many children staying at the shelters. Furthermore, several NGOs
                                                                                           Rights. Furthermore, UNHCR “deplored” the government’s decision to
          raised concerns about registration and assistance, particularly for
                                                                                           extend the “crisis situation due to mass migration,” which authorized
          unaccompanied children and other vulnerable populations, and noted
                                                                                           police to automatically remove third-country nationals who had been
          a lack of translated outreach materials, limited access to forms and
                                                                                           intercepted for unlawfully entering and/or staying in Hungary; these
          instructions, and difficult to impossible requirements, such as needing
                                                                                           individuals could be or could become trafficking victims due to their
          a registered address in Hungary to access assistance or educational
                                                                                           increased vulnerability. Experts expressed concern the decision denied
          services. Ukraine’s ambassador to Hungary asserted in an April 2022
                                                                                           people—already in the country and in need of international protection—
          interview that the Hungarian government was not providing regular
                                                                                           access to asylum. After the closure of the transit zones in 2020, the
          updates about Ukrainian refugees arriving to the country and had no
                                                                                           government required asylum-seekers to submit asylum requests through
          information on the whereabouts of 53 Ukrainian unaccompanied children
                                                                                           its embassies in Belgrade or Kyiv; requests required asylum-seekers to
          who had crossed the Hungarian border. As of April 2022, authorities
                                                                                           submit a statement of intent with answers to general questions that
          issued approximately 100,000 30-day temporary residence permits
                                                                                           did not include trafficking-speciﬁc questions. NGOs expressed concern
          to Ukrainian citizens. As of March 2022, the MOI reported that it had
                                                                                           that the system restricted access to asylum and exacerbated the risks
          identiﬁed no trafficking victims among refugees.
                                                                                           of trafficking among asylum-seekers.
          PREVENTION                                                                       TRAFFICKING PROFILE
          The government maintained prevention efforts. The National Anti-
                                                                                           As reported over the past ﬁve years, human traffickers exploit domestic
          Trafficking Coordinator facilitated anti-trafficking efforts domestically
                                                                                           and foreign victims in Hungary, and traffickers exploit victims from
          and internationally and chaired the National Coordination Mechanism,
                                                                                           Hungary abroad. Vulnerable groups include Hungarians in extreme
          which monitored the implementation of the national anti-trafficking
                                                                                           poverty, undereducated young adults, single mothers, asylum-seekers,
          strategy. The government continued to implement the 2020-2021
                                                                                           people with disabilities, children living in state-run institutions, homeless
          national action plan for the 2020-2023 national anti-trafficking strategy.
                                                                                           men, and Roma. Roma, the country’s largest ethnic minority, make up a
          In 2021, the prime minister’s office provided 5 million HUF ($15,320) to
                                                                                           signiﬁcant proportion of those identiﬁed as trafficking victims. During
          support a research project aimed at assessing whether shelters, support
                                                                                           the second half of 2021, police reported an increase in cross-border
          services, and social institutions could provide effective assistance to
                                                                                           organized trafficking activity, suggesting that traffickers adapted to work
          trafficking victims and prepared the ﬁndings for incorporation into the
                                                                                           under pandemic-imposed circumstances. Traffickers exploit Hungarian
          national strategy. The MOI cooperated with Hungarian universities to
                                                                                           women, boys, and girls in sex trafficking within the country and abroad,
          integrate trafficking into their social work curricula, and as a result, in
                                                                                           mostly within Europe, with particularly high numbers in Austria, Germany,
          the fall semester, systematic education on trafficking began at several
                                                                                           the Netherlands, Switzerland, and the United Kingdom. Sex trafficking
          universities. The police continued to conduct an awareness campaign
                                                                                           remains the most common form of trafficking in Hungary. Traffickers
          designed to educate children about the dangers of trafficking. The
                                                                                           exploit Hungarians in labor trafficking in agriculture, construction,
          government supported the operation of an NGO-run, 24-hour national
                                                                                           hospitality, and factories. NGOs report domestic labor trafficking remains
          hotline, allocating approximately 202.5 million HUF ($620,560). The
                                                                                           a concern, particularly in rural areas, among Ukrainians and other third-
          hotline provided services in Hungarian and English and assisted victims
                                                                                           country nationals who come to Hungary to assist with the country’s
          of domestic violence and trafficking. In 2021, the hotline assisted 55
                                                                                           labor shortage. While seasonal workers are at risk for labor trafficking
          potential victims and referred 24 victims to shelter (51 and 19, respectively,
                                                                                           in the agriculture and construction sectors, the majority of victims are
          in 2020). The government did not make efforts to reduce the demand
                                                                                           Hungarian citizens, particularly adult men who are exploited by family
          for commercial sex acts. The MOI concluded a research project on the
                                                                                           members and acquaintances in domestic servitude and agricultural
          effectiveness of victim assistance among male labor trafficking victims
                                                                                           work, such as cleaning, landscaping, and farming. Approximately 23,000
          and published a handbook on the ﬁndings.
                                                                                           Hungarian children live in state-run childcare institutions, including
          In 2021, the government introduced temporary legislation for the                 300 children younger than three years of age, who are vulnerable to
          employment of foreign nationals, allowing them to work in a broad range          trafficking. A large number of child sex trafficking victims exploited within
          of jobs without a permit, including architectural engineers, chefs, social       the country and abroad come from state-run institutions, orphanages,
          workers, service staff, and bus drivers, for the duration of the pandemic.       and correctional facilities, and traffickers recruit them when they
          While the law prohibited recruitment fees by private employment                  leave these institutions. The government reports adolescent girls with
          agencies, the government did not have a clear framework and dedicated            mild intellectual disabilities and/or special needs, including dissocial
          resources to regulate foreign labor recruitment, which exposed foreign           behavior, psychoactive substance abuse, or psychiatric conditions,
          nationals to the risk of exploitation. In 2021, the government adopted           who are living in state-run institutions, are the most vulnerable to sex
          new legislation to regulate employers’ compliance with labor laws; a             trafficking. Trafficking victims from Eastern European countries, as
          separate decree detailed the law’s enforcement by the labor inspection           well as asylum-seekers and undocumented migrants, some of whom
          authority, including punitive administrative sanctions prohibiting the           may be or may become trafficking victims, transit Hungary en route to
          further employment of workers and ﬁnes. Moreover, the labor authority            Western Europe. Thousands of foreign nationals and Ukrainian refugees,
          did not have the competency to inspect labor recruitment agencies or             predominantly women and children, who are ﬂeeing Russia’s full-scale
          impose ﬁnes or punishment on foreign labor exchange agencies that                invasion of Ukraine and crossing the Hungary border seeking sanctuary,
          committed trafficking crimes, but it could assess agencies’ compliance           are highly vulnerable to trafficking.
          with regulations concerning temporary work. According to a 2021
          cooperation agreement between the Ministry for Innovation and
          Technology and the National Police targeting the identiﬁcation of
          labor trafficking victims, the police and labor inspectors conducted              ICELAND: TIER 1
          an average of one joint unannounced inspection per month in each of
          Hungary’s counties. Additionally, in June 2021, labor inspectors and
                                                                                           The Government of Iceland fully meets the minimum standards for the
                                                                                           elimination of trafficking. The government made key achievements to do
 276                                                                                                                                     Haiti AR_000757
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 382 of 729




                                                                                                                                                                ICELAND
so during the reporting period, considering the impact of the COVID-19           in prison and paid damages to the victims. The government did not
pandemic, if any, on its anti-trafficking capacity; therefore Iceland was        report any investigations, prosecutions, or convictions of government
upgraded to Tier 1. These achievements included prosecuting and                  officials complicit in trafficking crimes. The National Commissioner of
convicting one trafficker, marking the government’s ﬁrst prosecution             the Icelandic Police (NCIP) maintained responsibility for international
and conviction in 12 years. In addition, the government identiﬁed and            law enforcement cooperation, including with Europol and Interpol, on
assisted more potential trafficking victims and funded a new counseling          international investigations. In 2021, the NCIP and Iceland’s EUROPOL
and support center for victims of gender-based violence, including               liaison joined the Nordic law enforcement group on combating trafficking
trafficking victims. The government also established a law enforcement           and assigned police and customs officials as liaisons to the Nordic Police
advisory panel that worked with foreign law enforcement agencies                 and Customs Cooperation. Furthermore, in 2021, a Ministry of Justice
and anti-trafficking organizations and cooperated with international             (MOJ) task force established a law enforcement advisory panel that
organizations on data collection regarding trafficking trends and                worked with foreign law enforcement agencies and anti-trafficking
responses. Furthermore, the government funded and published a                    organizations and collected data and information regarding trafficking
new online emergency services portal with information on trafficking             trends and responses from international organizations. The panel relayed
indicators and assistance, developed standard operating procedures               information to Icelandic police districts and assisted those districts in
(SOPs) for emergency services operators responding to suspected                  determining whether a case should be considered as trafficking and how
trafficking cases, and ﬁnanced production of educational videos to               it should be investigated. In addition, the task force developed a new
                                                                                 process for registering trafficking cases into law enforcement databases.
help workplace inspectors detect potential incidents. Although the
government meets the minimum standards, it continued to charge                   Experts noted that limitations of a small government administration,
suspected traffickers under non-trafficking statutes, such as smuggling,         structure across government institutions, and resources restricted
that carried more lenient penalties. Moreover, the government did not            progress and coordination. For instance, lengthy investigations and
have a formal identiﬁcation and referral process for child trafficking           inadequate evidence collection led prosecutors to charge suspects
victims.                                                                         under non-trafficking statutes, such as smuggling, that carried more
                                                                                 lenient penalties and were easier to convict. However, local experts
                                                                                 expected the amendments to the trafficking law to result in increased
         ICELAND TIER RANKING BY YEAR                                            prosecutions in the coming years. In an effort to ensure successful
     1                                                                           implementation, the government conducted training sessions for
    2                                                                            prosecutors and law enforcement on the amendments, as well as on
                                                                                 investigation methodologies and prosecuting trafficking cases. In recent
  2WL
                                                                                 years, reports indicated a rise of organized crime and associated violence;
     3                                                                           the government reported trafficking was often one component of larger
            2015     2016      2017     2018   2019   2020    2021     2022
                                                                                 prosecutions linked to organized crime. In December 2021, the NCIP
                                                                                 released a report on organized crime, which included a comprehensive
                                                                                 analysis on trafficking, noting trends, drivers, and methods utilized by
                                                                                 traffickers in Europe and Iceland, and implicated criminal organizations
PRIORITIZED RECOMMENDATIONS:                                                     connected to nationals from the Middle East and southeastern Europe
Signiﬁcantly increase efforts to convict suspected traffickers and sentence      in organized trafficking.
them to signiﬁcant prison terms. • Investigate and prosecute trafficking
cases under the trafficking statute. • Enhance training for investigating        PROTECTION
cases and collecting evidence against suspected traffickers. • Establish
                                                                                 The government increased victim protection efforts. The government
a formal identiﬁcation and referral process for child trafficking victims. •     identiﬁed 46 potential trafficking victims, a signiﬁcant increase from
Proactively identify trafficking victims and refer them to care facilities for   nine potential trafficking victims in 2020. The majority of potential
assistance. • Screen all vulnerable individuals for trafficking indicators.      victims were adult foreign nationals; however, authorities identiﬁed
• Increase training for police, prosecutors, judges, and other officials         three potential victims younger than 15 years old. Of the 46 potential
on all aspects of trafficking, particularly on proactive identiﬁcation of
                                                                                 victims, authorities conﬁrmed ﬁve as trafficking victims; all were female.
victims among migrant workers, asylum-seekers, and children.
                                                                                 The Bjarkarhlid Family Justice Center maintained responsibility for
                                                                                 the national referral mechanism (NRM) and continued to serve as
PROSECUTION                                                                      a “one stop shop” for victims of violence, including trafficking. The
The government increased law enforcement efforts. Article 227a of                government allocated 3 million Icelandic krona (ISK) ($23,080) for
the criminal code criminalized sex trafficking and labor trafficking and         the NRM, the same amount as in 2020. Through the NRM, the center
prescribed penalties of up to 12 years’ imprisonment. These penalties were       coordinated social services and law enforcement involvement, provided
sufficiently stringent and, with respect to sex trafficking, commensurate        victims with assistance, and compiled victim information and case
with those prescribed for other serious crimes, such as rape. During             history into a centralized database. Furthermore, the center utilized a
the reporting period, the government amended Article 227a to deﬁne               standardized questionnaire for victims to better quantify and identify
expressly additional forced labor acts as forms of trafficking, which            vulnerable groups. In 2021, the center developed a tool with indicators for
more closely aligned Article 227a with the international deﬁnition of            identifying victims and distributed it in locations where victims received
trafficking. Observers commended the amendments, which helped                    assistance, such as health clinics. The police maintained identiﬁcation
lower the burden of proof required for a trafficking charge under the            and referral procedures requiring them to contact welfare services in
law and its potential impact on prosecuting alleged traffickers. The             the municipality and the Ministry of Social Affairs to coordinate victim
Reykjavik Metropolitan Police maintained a three-person unit for                 care and placement. The Directorate of Immigration (DOI) provided staff
combating trafficking and commercial sex supported by a cyber-crime              with comprehensive SOPs for screening asylum-seekers for potential
unit that monitored the internet for trafficking activity. The North             trafficking; SOPs also dictated referral paths for and processes applying
Iceland Police maintained a two-person team focused on commercial                to potential unaccompanied child trafficking victims. A team of experts
sex and labor violations, and the Southwestern District Police, which            referred victims to relevant NGOs or institutions providing short- or
covered the border police at Keﬂavik International Airport, operated a           long-term care.
unit specializing in major crime investigations, including trafficking. In
2021, authorities investigated ﬁve trafficking cases (four sex trafficking       Overall, the government maintained a well-managed social welfare
and one unspeciﬁed), compared with four cases in 2020. For the                   system with robust protections. All victims had access to free legal,
ﬁrst time in more than a decade, authorities prosecuted one alleged              medical, psychological, and ﬁnancial assistance, whether or not they
trafficker. Authorities referred another trafficking case to prosecution         stayed at a shelter or cooperated with authorities. In 2021, six trafficking
but ultimately prosecuted the case under a non-trafficking statute.              victims received assistance from social services, compared with three
Similarly, for the ﬁrst time in more than a decade, courts convicted one         victims in 2020. Municipal social service agencies provided services
trafficker. The convicted trafficker received a sentence of four years           and ﬁnancial assistance to victims, and the Ministry of Welfare (MOW)
                                                                                                                                   Haiti AR_000758              277
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 383 of 729
ICELAND   reimbursed the municipalities for all associated expenses. In 2021, the       the law enforcement process and ﬁnanced production of educational
          government allocated 15 million ISK ($115,400) toward the Bjarkarhlid         videos to help workplace inspectors detect potential incidents. The
          Center for housing, counseling, health care, and ﬁnancial assistance.         prevention task force worked on a project focused on corporate social
          The MOW’s action plan on preventing violence and its consequences,            responsibility and chain of responsibility revolving around public
          which included action items to combat trafficking and provide services        procurement. The task force met with government parties responsible for
          for victims, called for the creation of standardized guidance for all anti-   implementation of directives relating to public procurement in the NAP
          trafficking service providers and allocated 15 million ISK ($115,400)         to conceptualize user-friendly materials explaining how to apply legal
          annually until 2023 to ensure the implementation of the guidance, as well     provisions and including a summary on chain of responsibility. Supply
          as all action items, no later than 2022. Moreover, the government allotted    chain responsibility provisions in the Public Procurement Act stipulated
          234 million ISK ($1.8 million) for service agreements with various shelters   the liability of principal contractors to ensure all sub-contractors were
          that provided assistance to victims. The government in partnership with       paid in accordance with collective bargaining agreements. The Act also
          an NGO maintained a women’s shelter in Akureyri, the largest town in          stipulated if a bidder or a participant was a convicted trafficker, they
          northern Iceland. In southern Iceland, the government provided 1.5            were barred from procurement bids for a minimum of three years. In
          million ISK ($11,540) for a new counseling and support center for victims     cooperation with EU countries, the Directorate of Labor (DOL) continued
          of gender-based violence, including trafficking victims. There were no        to participate in a two-year project aimed at reducing labor violations
          accommodations available for male victims, although they could access         and labor trafficking, by combating unregulated employment and social
          general municipal social services and receive referrals to NGOs providing     dumping, whereby workers were given pay or living or working conditions
          food, shelter, legal advice, and health care. Under the Child Protection      that were sub-standard compared to the law. The DOL maintained a
          Act, all children dwelling in Iceland had the same right to protection        three-person team to respond to suspected trafficking cases and educate
          and services from child welfare. Municipal and national child protection      government employees on trafficking and identifying potential victims.
          services were responsible for assisting unaccompanied children, including     The DOL also maintained a website providing information on the rights
          child trafficking victims. Observers noted shortcomings in the assistance     of foreign workers in Iceland and the resources available to them. While
          process for unaccompanied children, noting that the DOI placed such           the government did not require recruitment agencies to be licensed or
          children in an unsupervised reception center with no child protection         registered in Iceland, the DOL required all companies contracting workers
          staff, only one security guard, and free access from other residents,         in Iceland to register with the DOL and provide information on business
          putting them at risk to trafficking. Additionally, experts reported there     activities and workers; breaches of these requirements resulted in ﬁnes.
          was no formal identiﬁcation and referral process for child trafficking        Icelandic law prohibited companies, including recruitment agencies,
          victims. If authorities came across a case involving a potential child        from charging recruitment or hiring fees.
          trafficking victim, they contacted local child protection authorities who
                                                                                        In response to an inﬂow of Ukrainian refugees who were ﬂeeing Russia’s
          were responsible for ensuring accommodation and other services. Child
                                                                                        full-scale invasion on Ukraine and arriving in Iceland, the government
          trafficking victims received support, including interviews and medical
                                                                                        developed trafficking guidelines for border control and published
          examinations, at Barnahus—a multidisciplinary and interagency center
                                                                                        informational brochures on common trafficking indicators and local
          offering child victims, including child trafficking victims, a coordinated
                                                                                        anti-trafficking resources for law enforcement and airport authorities,
          and effective response to prevent re-traumatization during investigations
                                                                                        among others. Additionally, the MOJ lowered barriers for Ukrainians to
          and court proceedings. All three child trafficking victims identiﬁed
                                                                                        seek asylum or refugee status in Iceland, and the government processed
          received services from the municipality and from Barnahus. Icelandic
                                                                                        more than 1,000 Ukrainians for humanitarian protection. While the
          law allowed foreign trafficking victims to obtain either a nine-month
                                                                                        government did not operate a trafficking-speciﬁc hotline, the country’s
          residence permit or a one-year renewable residence permit, which was
                                                                                        general emergency telephone number provided information to victims
          available to victims who faced retribution or hardship in their home
                                                                                        on services and directed callers to appropriate responders. Government
          countries or cooperated with law enforcement. Officials noted, in most
                                                                                        efforts to combat sexual abuse, including trafficking, extended abroad
          instances of suspected trafficking, foreign victims opted to leave the
                                                                                        with the allocation of 20 million ISK ($153,870) to a project in South
          country instead of cooperating with investigations. Police took official
                                                                                        Sudan. The government did not make efforts to reduce the demand
          reports for all victims, except in cases involving children, in which a
                                                                                        for commercial sex acts. The government did not report providing anti-
          specialized psychologist took their statements. In accordance with the
                                                                                        trafficking training to its diplomatic personnel but noted the Ministry of
          NRM, victims could receive a state-appointed and state-funded attorney,
                                                                                        Foreign Affairs maintained a code of conduct for diplomats.
          as well as social workers and psychiatric services. While there was no
          speciﬁc restitution program for trafficking victims, such a program
                                                                                        TRAFFICKING PROFILE
          existed for victims of violence and could be applicable for trafficking
                                                                                        As reported over the past ﬁve years, human traffickers exploit domestic
          victims. Under the Icelandic judicial system, if a legal proceeding yielded
                                                                                        and foreign victims in Iceland, and to a lesser extent, traffickers exploit
          a conviction, the court could order restitution as part of sentencing.
                                                                                        victims from Iceland abroad. Authorities report that most trafficking
                                                                                        cases involve small businesses or individual traffickers, who are foreign
          PREVENTION                                                                    nationals living legally in Iceland and engaging in other criminal activities.
          The government increased prevention efforts. The government continued
                                                                                        Reports indicate a recent increase in organized crime and its association
          to implement the MOW’s 2019-2022 action plan on preventing violence
                                                                                        with organized trafficking. A 2021 police report on organized crime raises
          and its consequences, and it allocated 10 million ISK ($76,930) in
                                                                                        concern about trafficking in Iceland and implicates nationals from the
          2021, a considerable increase from 6 million ISK ($46,160) in 2020, for
                                                                                        Middle East and southeastern Europe operating criminal organizations
          implementation of its action items, including anti-trafficking activities.
                                                                                        in sex trafficking. Traffickers exploit women from Africa, Eastern Europe,
          Separately, the government continued to implement its national action
                                                                                        the Baltics, and South America in sex trafficking and men and women
          plan (NAP), which included action items focused on bolstering public
                                                                                        from Asia, the Baltics, Eastern Europe, and West Africa in forced labor.
          awareness, education, and institutional knowledge. Three task forces
                                                                                        Labor trafficking continues to be the largest concern in Iceland, with
          comprised the MOJ-led national steering group, which coordinated
                                                                                        migrant workers in the construction, tourism, and restaurant industries,
          interagency anti-trafficking efforts. The task forces, which focused on
                                                                                        as well as domestic service, particularly vulnerable. However, labor union
          prosecution, protection, and prevention, respectively, incorporated a
                                                                                        officials report fewer migrant workers in Iceland due to the pandemic.
          range of government and non-government stakeholders, including a
                                                                                        Foreign “posted workers” are at particular risk of forced labor as the
          survivor, and developed speciﬁc policy proposals to implement the
                                                                                        traffickers pay them in their home countries and contract them to work
          NAP. The protection task force published a new online emergency
                                                                                        for up to 183 days in Iceland to avoid taxes and union fees, limiting tax
          services portal for trafficking victims with information available in
                                                                                        authorities’ and union officials’ ability to monitor their work conditions
          English, Icelandic, and Polish on trafficking indicators and assistance,
                                                                                        and pay. Asylum-seekers and foreign students in Iceland are especially
          and it provided a quick response code directing the public to the portal.
                                                                                        vulnerable to trafficking. A police threat assessment report notes a
          The government allocated approximately 800,000 ISK ($6,150) to
                                                                                        nascent nexus between asylum abuse and organized crime through which
          promote the portal. The task force also developed SOPs for emergency
                                                                                        traffickers seek to manipulate the asylum system. Traffickers reportedly
          hotline operators responding to suspected trafficking cases outside of
                                                                                        exploit the visa-free regime in the Schengen Zone and the European
 278                                                                                                                                   Haiti AR_000759
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 384 of 729




                                                                                                                                                             INDIA
Economic Area to bring victims to Iceland for up to three months and          victims, especially children, and ensure immediate access to care. •
move them out of the country before they must register with local             Train prosecutors and judges to increase the number of restitution
authorities. Foreign nationals and Ukrainian refugees, predominantly          orders for trafficking victims and urge legal aid offices to routinely
women and children, who are ﬂeeing Russia’s full-scale invasion on            inform trafficking victims of available compensation mechanisms. •
Ukraine and seeking sanctuary in Iceland, are highly vulnerable to            Eliminate the condition of a trafficking conviction as a prerequisite for
trafficking; Icelandic authorities conﬁrm more than 50 Ukrainian citizens     bonded labor victim compensation. • Cease penalization of trafficking
have applied for asylum in Iceland since the war began.                       victims. • Cease detention of adult trafficking victims in government-
                                                                              run and government-funded shelters. • Strengthen existing AHTUs
                                                                              through increased funding and trainings of staff and ensure newly
                                                                              created AHTUs are fully operational. • Establish fast-track courts to
 INDIA: TIER 2                                                                address human trafficking cases. • Implement and consistently enforce
                                                                              regulations and oversight of labor recruitment companies, including by
                                                                              eliminating recruitment fees charged to migrant workers and holding
The Government of India does not fully meet the minimum standards for
                                                                              fraudulent labor recruiters criminally accountable. • Amend the deﬁnition
the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                              of trafficking in Section 370 of the Penal Code to include labor trafficking
The government demonstrated overall increasing efforts compared with
                                                                              and ensure that force, fraud, or coercion are not required to prove a
the previous reporting period, considering the impact of the COVID-19
                                                                              child sex trafficking crime. • Increase oversight of, and protections
pandemic, on its anti-trafficking capacity; therefore India remained
                                                                              for, workers in the informal sector, including home-based workers. •
on Tier 2. These efforts included identifying more trafficking victims,
                                                                              Lift bans on female migration through agreements with destination
primarily victims of bonded and forced labor. States such as Maharashtra
                                                                              countries that protect Indian workers from human trafficking. • Update
and Odisha provided funding to existing Anti-Human Trafficking Units
                                                                              and implement a NAP to combat trafficking. • Provide anti-trafficking
(AHTUs), and Andhra Pradesh issued orders to establish additional
                                                                              training for diplomatic personnel.
AHTUs. Indian law enforcement collaborated with foreign government
officials from Bangladesh, the Gulf states, and Nigeria on trafficking
investigations. In response to the trafficking risks associated with the
                                                                              PROSECUTION
                                                                              The government decreased anti-trafficking law enforcement efforts.
pandemic, the government provided support and guidance to state
                                                                              Indian law criminalized sex trafficking and some forms of labor trafficking.
governments to combat trafficking, and states including Karnataka,
                                                                              Section 370 of the Indian Penal Code (IPC) criminalized trafficking
Kerala, and Tamil Nadu held virtual trainings on human trafficking
                                                                              offenses that involved exploitation that included any act of physical
for officials. However, the government did not meet the minimum
                                                                              exploitation or any form of sexual exploitation, slavery or practices
standards in several key areas. Although law enforcement investigated
                                                                              similar to slavery, and servitude. The law did not explicitly address labor
more bonded labor crimes, anti-trafficking efforts against bonded
                                                                              trafficking. Section 370 prescribed penalties ranging from seven to 10
labor remained inadequate. Twenty-two of India’s 36 states and union
                                                                              years’ imprisonment and a ﬁne for offenses involving an adult victim,
territories did not report identifying any bonded labor victims or ﬁling a
                                                                              and 10 years’ to life imprisonment and a ﬁne for those involving a child
case under the Bonded Labor System (Abolition) Act. The government
                                                                              victim; these penalties were sufficiently stringent and, with respect to
conducted fewer investigations and prosecutions and achieved fewer
                                                                              sex trafficking, commensurate with those prescribed for other serious
convictions. The acquittal rate for traffickers remained at 89 percent.
                                                                              crimes, such as kidnapping. Inconsistent with international law, Section
The government did not report investigating, prosecuting, or convicting
                                                                              370 required a demonstration of force, fraud, or coercion to constitute
government officials for alleged involvement in trafficking crimes. Efforts
                                                                              a child sex trafficking offense and therefore did not criminalize all
to audit government-run or -funded shelters remained inadequate, and
                                                                              forms of child sex trafficking. However, Sections 372 and 373 of the IPC
shortcomings in protection services for victims, especially children,
                                                                              criminalized the exploitation of children through prostitution without
remained unaddressed. The government detained some foreign
                                                                              requiring a demonstration of such means, thereby addressing this gap.
trafficking victims in state-run shelters for extended periods due to
                                                                              These sections prescribed penalties of up to 10 years’ imprisonment
lengthy or non-existent repatriation processes. Many victims waited years
                                                                              and a ﬁne, which were also sufficiently stringent and commensurate
to receive central-government mandated compensation, and often state
                                                                              with those prescribed for other serious crimes, such as kidnapping.
and district legal offices did not proactively request the compensation
                                                                              Bonded labor was speciﬁcally criminalized in the Scheduled Castes and
or assist victims in ﬁling applications. The government did not update its
                                                                              Scheduled Tribes (Prevention of Atrocities) Act and the Bonded Labor
national action plan (NAP) to combat trafficking in persons nor amend
                                                                              System (Abolition) Act (BLSA), which prescribed penalties of up to ﬁve
Section 370 of the Penal Code to remove the requirement of force, fraud,
                                                                              years’ imprisonment and up to three years’ imprisonment, respectively.
or coercion to prove a child sex trafficking crime.
                                                                              The penalties prescribed under the BLSA were not sufficiently stringent.
                                                                              Police continued to ﬁle trafficking cases under the Juvenile Justice Act
        INDIA TIER RANKING BY YEAR                                            and other sections of the IPC, which criminalized many forms of forced
    1                                                                         labor; however, these provisions were unevenly enforced, and some
    2
                                                                              of their prescribed penalties were not sufficiently stringent, allowing
                                                                              for only ﬁnes or short prison sentences. Additionally, the government
 2WL
                                                                              prosecuted sex trafficking crimes under other laws like the Protection
    3                                                                         of Children from Sexual Offenses Act (POCSO) and the Immoral Traffic
           2015      2016     2017   2018   2019    2020    2021    2022      Prevention Act (ITPA), which criminalized various offenses relating to
                                                                              commercial sexual exploitation. The recruitment of children younger
                                                                              than age 18 by non-state armed groups was criminally prohibited by
                                                                              Section 83 (1) of the Juvenile Justice Act. The government continued
PRIORITIZED RECOMMENDATIONS:                                                  to draft an anti-trafficking bill; the legislation was not presented to
Increase investigations, prosecutions, and convictions of all forms           Parliament by the close of the reporting period. The government solicited
of trafficking, including bonded labor. • Investigate allegations of          input from civil society, legal experts, and trafficking survivors on the
official complicity in human trafficking and sentence perpetrators to         draft legislation. Government officials acknowledged the Prevention
signiﬁcant prison terms. • Signiﬁcantly increase efforts to identify and      of Atrocities Act was useful for prosecution efforts, although alleged
refer trafficking victims, including disseminating standard operating         victims must belong to one of the affected communities to qualify
procedures (SOPs) and training officials on their use. • Develop and          under the legislation. Poor inter-state coordination between state
implement regular monitoring and auditing mechanisms of government-           government agencies impeded trafficking investigations and victims’
run and -funded shelters to ensure adequate care, and promptly disburse       ability to obtain services, including participation in civil and criminal
funding to shelters that meet official standards for care. • Harmonize        cases in their home states.
central and state government mandates for and implementation of
protection programs and compensation programs for trafficking
                                                                                                                                Haiti AR_000760              279
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 385 of 729
INDIA   During the reporting period, the National Crime and Records Bureau              investigation training, and some police departments published manuals
        (NCRB) issued its 2020 Crime in India Report. In 2020, the government           on cyber security to raise awareness.
        reported investigation of 1,714 trafficking cases under the IPC, compared
                                                                                        The lack of sufficient political will across many states to address bonded
        with 2,088 trafficking cases in 2019 and 1,830 trafficking cases reported
                                                                                        labor stymied efforts nationwide. NGOs previously estimated police did not
        in 2018. The government did not report what sections of the IPC were
                                                                                        ﬁle FIRs in at least half of bonded labor cases nationally, especially in Bihar
        included in the data. In 2020, the government completed prosecution
                                                                                        and Rajasthan. Some police allegedly did not ﬁle cases to shield traffickers
        in 463 trafficking cases, convicted 101 traffickers in 49 cases, and
                                                                                        or to avoid paying compensation to victims. In 2020, law enforcement
        acquitted 715 suspects in 414 cases. The acquittal rate for trafficking
                                                                                        reported 1,231 cases of bonded labor under the BLSA, an increase from 1,155
        cases was 89 percent in 2020. These statistics were compared with
                                                                                        cases in 2019. In 2020, officials convicted 17 persons in 16 cases under the
        the government completing prosecution in 600 cases, convicting 306
                                                                                        BLSA and acquitted 69 persons in 40 cases, an approximately 80 percent
        traffickers in 160 cases, and acquitting 1,329 suspects in 440 cases in
                                                                                        acquittal rate. These statistics represented a decrease, compared with
        2019, with 73 percent of cases resulting in acquittal. The convictions
                                                                                        2019, when officials convicted 52 persons in 33 cases under the BLSA and
        included a Hyderabad judge sentencing two traffickers to 42 months’
                                                                                        acquitted 90 persons in 38 cases, an approximately 63 percent acquittal
        imprisonment for a 2016 case, and an Uttar Pradesh court sentencing
                                                                                        rate. Twenty-two of India’s 36 states and union territories did not report
        15 traffickers to 14 years’ imprisonment and 26 traffickers to 10 years’
                                                                                        identifying any bonded labor victims or ﬁling any cases under the BLSA
        imprisonment following a police operation in May 2016. Three of India’s 36
                                                                                        in 2020, compared with 21 states and territories in 2019, despite ongoing
        states and territories reported a third of all trafficking cases, most likely
                                                                                        reports of bonded labor victims in many of those states. Similar to 2019,
        due to more sophisticated reporting in those states and territories rather
                                                                                        Uttar Pradesh accounted for more than 80 percent of all cases under
        than larger trafficking problems. State and local officials continued to
                                                                                        the BLSA, but the evidence did not suggest it had a disproportionately
        focus resources to contain the spread of COVID-19, which subsequently
                                                                                        large problem. Some district magistrates dissuaded bonded labor victims
        reduced some trafficking enforcement operations. The government
                                                                                        from pursuing cases against their traffickers and mediated cases in lieu of
        ordered a nationwide lockdown due to the pandemic from March to May
                                                                                        criminal prosecution. State government labor ministries enforced labor
        2020; subsequently, regular court proceedings and law enforcement
                                                                                        laws while state police agencies enforced criminal law; labor ministries
        efforts were suspended. Courts resumed trials using video conferencing
                                                                                        and law enforcement agencies often coordinated on operations to free
        and online applications after some of the lockdown restrictions were
                                                                                        child laborers who may have been victims of trafficking.
        removed in the summer of 2020. India’s Supreme Court encouraged
        courts across the country to utilize online technologies to continue            AHTUs, legally established by state governments and partially funded by
        to hear trafficking cases virtually during the pandemic. Some district          the ministry of home affairs (MHA), served as the primary investigative
        courts operated virtually until September 2021 and focused on urgent            force for human trafficking crimes. In 2019, the government announced
        criminal matters or bail petitions. Bonded labor hearings did not resume        it would expand the number of AHTUs from 332 districts to all of India’s
        until October 2021. Although sex trafficking cases proceeded virtually,         732 districts; in February 2022, the MHA stated that 696 AHTUs had
        officials did not record victim testimonies during the pandemic, resulting      been created across India as of 2020. The MHA allocated $13.3 million to
        in challenges for prosecutors and further acquittals.                           state and union territories to support district-level AHTUs. Uttar Pradesh,
                                                                                        India’s most populous state, had AHTUs in all 75 districts. Maharashtra
        Overall law enforcement efforts across the country, especially against
                                                                                        increased the number of anti-human trafficking cells (AHTCs)—similar
        bonded labor, remained inadequate compared to the scale of the
                                                                                        to AHTUs—from 36 to 45 AHTCs. In January 2022, the Maharashtra
        problem. The law required police to ﬁle a First Information Report (FIR)
                                                                                        government approved the disbursement of approximately 50 million INR
        upon receipt of information about the commission of a cognizable
                                                                                        ($672,560) provided by the central government to establish and strengthen
        offense, such as forced labor or sex trafficking, which legally bound police
                                                                                        AHTCs and appointed a special inspector general of police as the nodal
        to initiate a criminal investigation. Police did not always arrest suspected
                                                                                        officer to streamline intelligence gathering. The government of Odisha
        traffickers, ﬁle FIRs to officially register a complaint, or ﬁle FIRs under
                                                                                        allocated $544,795 to procure computers and vehicles for the state’s 37
        trafficking crimes; officials often settled cases at the complaint stage.
                                                                                        integrated AHTUs, one in each of the 36 police districts and one in the
        The National Investigation Agency (NIA) continued to investigate and
                                                                                        headquarters of the state crime investigation department. In May 2021,
        ﬁle charges in cross-border trafficking cases, including those involving
                                                                                        the government of Andhra Pradesh also issued an order establishing 10
        Bangladeshi and Sri Lankan nationals; civil society credited the NIA’s
                                                                                        new AHTUs, staffed by inspectors and constables, with legal jurisdiction
        actions as deterrents to potential traffickers. In recent years, Assam,
                                                                                        to register and investigate all trafficking cases, including bonded labor.
        Jharkhand, and West Bengal state authorities allegedly ordered police
        to register trafficking cases as kidnapping or missing persons to reduce        Although the government created new AHTUs, some officials expressed
        the number of trafficking cases in official statistics. During the pandemic-    concern that state governments had not given AHTUs the authority to
        related lockdown, district courts granted bail to some alleged traffickers      register human trafficking cases independently. State governments
        without serving notiﬁcation of bail hearings to prosecutors or victims,         and civil society nationwide agreed the majority of active AHTUs were
        including child victims, in contravention of the POCSO Act. In addition,        not sufficiently funded or trained, nor solely dedicated to trafficking.
        law enforcement agencies were regularly re-assigned to public health            Additionally, AHTUs were frequently regarded as less favorable assignments
        operations and unable to conduct routine operations and investigations          for police officers and officials at times assigned positions within them
        of trafficking crimes. Karnataka and Tamil Nadu state officials reported        to officers as a reprisal for poor performance. Some NGOs reported
        efforts to sustain progress against bonded labor were hindered as               good working relationships and effective coordination with local AHTUs.
        government resources were diverted to address the pandemic and                  In August 2021, the government allocated an additional 1 billion INR
        heightened economic pressures increased the risk of re-trafficking for          ($13.45 million) to support state and union territory law enforcement
        survivors. In southern India, some vigilance committee inspections to           agencies to establish and resource “women help desks” in local police
        identify bonded labor victims at the district level reportedly ceased           stations across the country to address issues related to human trafficking.
        during the pandemic, reducing the overall number of people freed from           Although “women help desks” cannot initiate TIP investigations, police
        bonded labor. The National Human Rights Commission (NHRC) released              staffed the desks and, in coordination with lawyers, psychologists, and
        two advisories on prevention, identiﬁcation, and reintegration measures         NGOs, facilitated legal aid, counseling, shelter, and other services for
        for bonded laborers and prosecution of traffickers. The bonded labor            victims of crime, including human trafficking. Criminal Investigation
        advisory, developed in consultation with civil society organizations,           Divisions (CID) within state-level police also investigated human
        issued speciﬁc recommendations to district magistrates, including               trafficking cases. States were empowered to dedicate courts to hearing
        instructions to form teams for twice monthly inspections in certain             cases under the POCSO Act, including child sex trafficking; as of February
        industries, expeditiously complete bonded labor investigations within           2022, the country had 712 POCSO courts. In some states, however,
        24 hours of receiving a complaint, and provide immediate assistance of          authorities reported the judges and prosecutors at POCSO courts had
        20,000 Indian rupees (INR) ($269) to each identiﬁed bonded laborer. In          no training or expertise in POCSO crimes. Pandemic disruptions further
        response to increased use of social media platforms to lure victims during      exacerbated already signiﬁcant case delays at POCSO courts, which in
        the pandemic, state and local law enforcement emphasized cybercrime             some states amounted to several years. Law enforcement prioritized

 280                                                                                                                                   Haiti AR_000761
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 386 of 729




                                                                                                                                                           INDIA
other crimes, such as murder and drug crimes, which increased the             female and 41 percent were male. Despite some estimates of eight million
length of trials for trafficking cases and in some cases led to acquittals.   Indians in bonded labor, the Ministry of Labor and Employment’s annual
State and local governments were responsible for training personnel,          report stated that the government had identiﬁed and released 313,962
including law enforcement officials, on anti-trafficking laws and policies,   since 1976. Karnataka, Tamil Nadu, and Uttar Pradesh states accounted
and the governments of Andhra Pradesh, Assam, Odisha, Tamil Nadu,             for the majority of bonded labor victims identiﬁed in 2020, with 1,291,
Telangana, and West Bengal reported conducting trainings for officials.       289, and 1,026 victims identiﬁed respectively, overall accounting for 92
In response to the pandemic, states including Karnataka, Kerala, and          percent of the country’s total identiﬁcation of bonded labor victims.
Tamil Nadu held virtual trainings on human trafficking and other issues.
                                                                              Although the MHA created standard procedures for trafficking victim
NGOs reported all police and judicial academies had human trafficking
                                                                              identiﬁcation in 2009, the government did not report how many states
in their course curriculum. The MHA conducted trafficking-related
                                                                              had adopted them. The government previously developed protocols
trainings for police officers, investigators, and prosecutors during the
                                                                              for victims of sexual assault, including trafficking survivors, to prevent
reporting period. The central government sponsored online trainings
                                                                              re-traumatization in their referral to care. Delhi, Karnataka, and Tamil
for deputy superintendents of police focused on human trafficking and
                                                                              Nadu had SOPs to address bonded labor cases and other forms of human
crimes against women and children. Indian law enforcement cooperated
                                                                              trafficking. The government did not report whether any other states had
with foreign counterparts on several cases during the reporting period.
                                                                              bonded labor SOPs. Law enforcement and railway authorities worked
Law enforcement and AHTU personnel in Uttar Pradesh worked with
                                                                              with NGOs, child protection committees, and the private sector to identify
foreign officials to repatriate 12 Indian women exploited in Oman,
                                                                              potential victims of trafficking. The national Railway Protection Force
Qatar, Kuwait, and Saudi Arabia. In May and June 2021, Karnataka state
                                                                              and Bihar state police collaborated with an international organization
police arrested 12 Bangladeshi nationals following the sexual assault
                                                                              and an NGO to identify and refer 178 abandoned children and child
of a human trafficking victim on social media. In January 2022, Indian
                                                                              trafficking victims to care. In August 2021, Assam police and a border
police collaborated with Nigerian officials to arrest an alleged trafficker
                                                                              guard unit freed 22 people and arrested one person on trafficking
in New Delhi and assist three Nigerian sex trafficking victims.
                                                                              charges in a Rangia railway station. The Railway Protection Force of the
The government did not report any prosecutions or convictions of              Northeast Frontier Railway intervened to free 83 potential trafficking
government employees complicit in human trafficking crimes; however,          victims and detained more than 24 potential traffickers between April
corruption and official complicity remained signiﬁcant concerns,              2021 and March 2022, according to media reports.
inhibiting law enforcement action during the year. According to media
                                                                              The government did not report how many trafficking victims it assisted
reports, two police officers allegedly exploited a child sex trafficking
                                                                              or referred to care. In May 2021, the NHRC issued guidelines to the
victim in Maharashtra. In previous reporting periods, police arrested a
                                                                              states and union territories advising authorities to increase protections
Chhattisgarh party official for involvement in a sex trafficking case, and
                                                                              for trafficking victims through use of recorded video testimony, virtual
police arrested a government engineer in Uttar Pradesh for sexually
                                                                              training for law enforcement, and virtual counseling services for victims.
abusing more than 50 children and selling the images of the abuse
                                                                              In addition, the government’s Victims of Trafficking and Commercial
online. The government did not report further action on any of these
                                                                              Sexual Exploitation program provided legal services and economic
allegations of official complicity by the end of the reporting period.
                                                                              opportunities for victims of trafficking and marginalized groups. The
In November 2021, West Bengal police arrested 11 individuals and
                                                                              government had shelter and services for child and adult female trafficking
investigated a state civil servant in connection with a child trafficking
                                                                              victims, although the quality and availability varied. The government
ring allegedly operated from an NGO-run shelter home. A continued
                                                                              did not operate or fund shelters that could accommodate adult males.
lack of investigations into suspected trafficking crimes and broader
                                                                              Police could refer all adult and child trafficking victims, except bonded
physical and sexual abuse of trafficking victims at some government-
                                                                              labor victims, to state judiciaries and Child Welfare Committees (CWCs)
run and government-funded shelters, due to widespread negligence,
                                                                              to determine appropriate care. CWCs could refer minors to state welfare
created an atmosphere of impunity for shelter employees to engage in
                                                                              departments for care in shelter homes or return children to family
trafficking. Some state-owned tea estates in Assam continued to hold
                                                                              members. CWCs generally returned child trafficking victims to their
workers in bonded labor by creating recurring debt by underpaying
                                                                              parents, some of whom had subjected their children to trafficking.
wages and overcharging for daily living expenses. Some law enforcement
                                                                              When CWCs did refer child trafficking victims to care, it placed them
officials reportedly received bribes from sex trafficking establishments
                                                                              in privately run shelters, government-run juvenile justice homes, or
and sexual services from victims in exchange for alerting traffickers
                                                                              government-run women and children’s homes, some of which allowed
of forthcoming enforcement operations. A lack of accountability for
                                                                              routine abuse in previous reporting periods. Some child protection
misconduct and corruption persisted at various levels of government,
                                                                              committees noted childcare institutions experienced long delays waiting
contributing to the perception of widespread impunity for trafficking
                                                                              to receive government funding for the restoration and reintegration of
crimes. Local law enforcement and public prosecutors sometimes
                                                                              human trafficking victims. While judges could reportedly refer bonded
accepted bribes to inﬂuence investigations and arrests in criminal cases,
                                                                              labor victims to care, there were no reports officials did so in practice.
including in human trafficking. Caste discrimination by some police
                                                                              Judges could require all adult trafficking victims identiﬁed under the
and administration officials impeded identiﬁcation and investigation
                                                                              ITPA to stay in government- or NGO-run shelters for up to three weeks,
of cases. NGOs across multiple states reported politically connected
                                                                              and victims who were part of an ongoing legal case as a witness or
individuals, including local and state politicians who held workers in
                                                                              victim could not leave shelters without a magistrate’s order.
bonded labor in agriculture and at brick kilns, successfully avoided
prosecution. Civil society reported instances in which police refused         Government-run and -funded shelters remained insufficient, facing
to register FIRs against officials who were alleged perpetrators. Some        serious shortages of space, ﬁnancial resources, and trained personnel.
land and business owners reportedly attempted to exert inﬂuence on            NGOs relied primarily on donor contributions, although some received
elected officials and law enforcement in criminal matters. In addition,       government funds. The disbursal of government funding to NGOs was
some officials reportedly alerted recruitment agents to labor inspections.    sometimes delayed for multiple years. In 2020, an amendment to the
                                                                              Foreign Contribution Regulation Act prevented the sub-granting of
PROTECTION                                                                    foreign contributions from the original Indian NGO recipient to other
The government maintained overall victim identiﬁcation and protection         NGOs, preventing collaboration and coordination and severely affecting
efforts. In 2020, the government reported identifying 6,622 trafficking       their activities, including anti-trafficking NGOs; this remained in effect
victims and 694 potential trafficking victims compared with 5,145             by the end of the reporting period. The Ministry of Women and Child
trafficking victims and 2,505 potential victims identiﬁed in 2019. In         Development (MWCD) continued to provide state governments with
2020, authorities identiﬁed 5,156 victims in labor trafficking, including     funding for NGO- and government-run shelter and support through
2,837 in bonded labor, and 1,466 in sex trafficking; authorities did not      the Ujjawala program for female sex trafficking victims in 107 homes
report the type of trafficking for the 694 potential victims. Nearly 99       and the Swadhar Greh program for vulnerable women in approximately
percent of trafficking victims identiﬁed were Indian; approximately 53        361 homes. The central government allocated 250 million INR ($3.36
percent were adults, and 47 percent were children; and 59 percent were        million) to the Swadhar Greh and Ujjawala programs in the 2020-2021
                                                                              budget but did not include separate allocations for the 2021-2022
                                                                                                                              Haiti AR_000762              281
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 387 of 729
INDIA
        budget. The MWCD ran One-Stop Centers (OSCs) for female victims                 assistance and, upon conviction of their trafficker, to compensation.
        of all crimes, including sex trafficking. There were 704 OSCs operating         In 2016, the government amended the program to include female sex
        across India in 2021, compared with 700 in 2020. The MWCD did not               trafficking and child forced labor victims as recipients and mandated
        report if the centers assisted any trafficking victims, and some NGOs           local district authorities to provide immediate monetary assistance—up
        previously reported the centers were ineffective and difficult to access.       to 20,000 INR ($269)—to a victim within 24 hours of identiﬁcation,
                                                                                        regardless of the status of the related court case. The release of the overall
        Media, NGOs, and authorities continued to document a lack of oversight
                                                                                        compensation amounts (between 100,000 and 300,000 INR ($1,350-
        and negligence in government-run, government-funded, and privately
                                                                                        $4,040) based on the victim’s demographics) remained contingent upon
        run shelters that sometimes resulted in abuse and trafficking of residents.
                                                                                        conviction of the trafficker or conclusion of magisterial processes, which
        In several cases, such homes continued to operate despite signiﬁcant
                                                                                        could take several years. The government did not adequately implement
        gaps in mandatory reporting and allegations of abuse, at times due to
                                                                                        any stage of this program, and when states did implement the program,
        alleged political connections. CWCs were designed to routinely monitor
                                                                                        it was often due to sustained NGO advocacy. Some states, as allowed
        victim shelters and provide updates on victims’ cases, although their
                                                                                        in the central government’s 2016 bonded labor scheme, controlled how
        efficacy varied across states. CWCs promoted interagency collaboration
                                                                                        victims could use their compensation. The Kolkata High Court ruled against
        to prevent trafficking during the pandemic. Ujjawala and Swadhar Greh
                                                                                        West Bengal’s policy of limiting victims to small, monthly withdrawals
        program homes also lacked oversight. Due to a reported loophole in the
                                                                                        over 10 years. The Ministry of Labor and Employment distributed 10
        law, if the government did not act on a shelter’s application in a prescribed
                                                                                        million INR (approximately $134,500) among seven states for services
        timeframe, the organization was automatically licensed. Whenever a
                                                                                        for freed bonded laborers from April 2020 to March 31, 2021. State
        license application is accepted, the home must go through several
                                                                                        revenue officers had the responsibility for identifying bonded labor
        inspections, but it was unclear whether authorities conducted these
                                                                                        victims, yet NGOs identiﬁed most cases. The government did not report
        inspections in practice. Allegedly, some corrupt officials purposely missed
                                                                                        how many release certiﬁcates it provided during the reporting period,
        the licensing deadline to allow inadequate but politically connected
                                                                                        compared with approximately 2,300 provided between March 2018
        organizations to gain licensing. In the states that allowed audits of
                                                                                        and March 2019. The issuance of mandatory release certiﬁcates varied
        Ujjawala and Swadhar Greh homes, previous audits documented that
                                                                                        greatly between states, but in many states, officials did not issue release
        some homes violated minimum hygiene and safety standards, did
                                                                                        certiﬁcates without signiﬁcant advocacy from NGOs, which could take
        not provide psycho-social support or educational opportunities, and
                                                                                        years. Observers reported that compensation schemes were too slow in
        operated without proper registration. Moreover, in some instances the
                                                                                        providing victims with funding—survivors waited years to testify in court
        shelters functioned as hostels and charged non-victim residents for
                                                                                        to determine how much they would be awarded, and state authorities
        accommodation. Due to unsafe conditions and abuse by caretakers,
                                                                                        at times delayed payment due to limited funds. During the pandemic,
        authorities reported multiple cases in which residents, including children,
                                                                                        these delays were exacerbated. State authorities rarely classiﬁed children
        ran away from these shelters during previous reporting periods. The
                                                                                        as victims of bonded labor due to what appeared to be inconsistent
        MWCD did not report an update on its drafting of a child protection
                                                                                        testimony and a lack of identity documents or proof of enslavement,
        policy to prevent abuse in government-run and -funded shelter homes
                                                                                        denying government compensation to child victims. In Tamil Nadu, by
        that the Supreme Court had ordered it to create in September 2018.
                                                                                        contrast, some NGOs reported success collaborating with the government
        Four states had child-friendly courtrooms or procedures, including              and securing release certiﬁcates. Authorities continued to misidentify
        some that allowed victims to testify via video conference. In February          bonded labor or treat it as labor exploitation, child labor, or minimum
        2022, the Indian Supreme Court directed the government to implement             wage violations, and officials did not provide victims the mandatory
        national video conferencing facilities for child witnesses, including           immediate assistance of 20,000 INR ($269) upon identiﬁcation. The
        trafficking victims, in response to victims traveling long distances to         NHRC ordered law enforcement and district officials to provide release
        participate in court hearings. Victims are not required to cooperate            certiﬁcates to bonded labor victims. The NHRC was often effective
        with law enforcement to access protection services. In some cases,              in securing release certiﬁcates when NGOs or bonded labor victims
        inadequate implementation of victim protection measures and legal               requested its assistance, although it sometimes required persistent
        assistance provisions, including witness protection, led victims to             engagement from NGOs to complete necessary action. The NHRC could
        decline to participate in trials. Moreover, NGOs reported that judges           issue orders to state and local officials to provide release certiﬁcates to
        closed many cases because the government did not provide adequate               individuals, but there was no penalty for noncompliance. Due to a lack
        ﬁnancial assistance to enable victims to participate in trials. While           of proactive victim identiﬁcation, the widespread tendency to handle
        victims could obtain restitution from their traffickers in criminal cases,      bonded labor cases administratively in lieu of criminal prosecution, and
        courts rarely awarded it. Judges could order compensation to trafficking        stalled bonded labor prosecutions, victims infrequently received full
        victims through a variety of government programs, usually funded by             compensation. While the 2016 scheme also required states to provide
        the central government and administered at the state level, but rarely          non-cash beneﬁts, including employable skills training, provision of such
        did so. NGO analysis of historical government crime data showed                 services remained limited or nonexistent.
        that among 38,503 trafficking victims identiﬁed between 2010 and
                                                                                        Foreign victims had the same access to shelter and services as Indian
        2018, judges only proactively awarded compensation to 102 (less
                                                                                        nationals. Government policy on foreign victims dictated returning
        than 1 percent) although there have been some minor improvements
                                                                                        survivors to their country of origin at the earliest possible time. Authorities
        in compensation in more recent years. In addition, state and district
                                                                                        detained foreign sex trafficking victims in shelters until deportation,
        legal offices did not regularly inform trafficking victims that they
                                                                                        and both repatriation of foreign victims seeking to return home and
        were eligible to receive compensation; when victims did pursue this
                                                                                        deportation of victims could take years due to bureaucratic constraints.
        beneﬁt, payments were often delayed due to lack of state funds. The
                                                                                        Some officials refused to repatriate victims until they had provided
        pandemic hindered the operations of district administrators and labor
                                                                                        testimony in prosecutions against their traffickers. The government
        departments, resulting in delays releasing documents required for
                                                                                        continued to ﬁnalize a 2015 memorandum of understanding (MOU)
        survivor compensation. In January 2022, the Bihar state government
                                                                                        with the Government of Bangladesh on identiﬁcation and repatriation
        reportedly paid 300,000 to 900,000 INR (approximately $4,000 to
                                                                                        of Bangladeshi trafficking victims. The lengthy and complex repatriation
        12,100) per victim as compensation to the 49 victims of sexual abuse
                                                                                        process forced some Bangladeshi victims to languish in Indian shelters
        and child trafficking in a Muzaffarpur shelter home.
                                                                                        for years before repatriation. The government provided some funding
        The central government reported it had adequate funding to provide initial      to NGOs to repatriate child trafficking victims but did not offer ﬁnancial
        compensation to all identiﬁed bonded laborers, and the 2016 scheme              assistance for the repatriation of adults. Indian embassies abroad provided
        required each state to have a permanent fund with at least 1 million INR        assistance to Indian citizens identiﬁed as trafficking victims. The MHA
        ($13,450) at all times for district magistrates to use exclusively for bonded   facilitated repatriation of Indian women located in the Middle East,
        labor victims. However, many states did not have an established fund,           including trafficking victims, through the Indian Community Welfare
        which delayed compensation to victims. The central government funds a           Fund. Six Indian embassies abroad, primarily in the Gulf, had shelters
        program through which district officials identiﬁed bonded labor victims         that could temporarily house female migrant workers with indicators of
        and issued release certiﬁcates that provided access to non-monetary             forced labor. However, suspected trafficking victims previously reported
 282                                                                                                                                   Haiti AR_000763
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 388 of 729




                                                                                                                                                           INDIA
some shelters did not provide adequate food, basic amenities, or allow       human trafficking. The Ministry of Labor and Employment civil service
the victims to contact family.                                               training institute conducted trainings for AHTUs, labor administrators,
                                                                             child welfare committee members, and other officials on topics such
Government officials and NGOs often worked together to screen
                                                                             as bonded labor and child labor. Government officials noted child
victims of trafficking, and SOPs mandated that NGOs or social service
                                                                             trafficking and child labor increased during the pandemic. The Minister
officials accompany police during operations. State-level human
                                                                             of State for Labor and Employment reported that the government
rights commissions and the NHRC provided templates to guide law
                                                                             removed 58,289 children from child labor situations in 2020-2021, an
enforcement efforts in a fair and non-discriminatory manner. However,
                                                                             increase from approximately 54,894 children in 2019-2020. Several
due to insufficient use of identiﬁcation procedures, authorities may
                                                                             state governments maintained suspensions or modiﬁcations to labor
have detained, arrested, and deported some unidentiﬁed trafficking
                                                                             laws to boost economic activity after the initial pandemic-related
victims. State and local police conducted screenings for trafficking and
                                                                             lockdown. The changes included higher limits of maximum work hours
penalization of trafficking victims was not systematic, but most often
                                                                             for certain industries, reduced social security payments, suspension of
occurred against sex trafficking victims for immigration violations and
                                                                             industrial dispute resolutions, and the suspension of the right to strike.
prostitution offenses. The government required Indians who received a
                                                                             Trade unions and labor advocates have criticized the changes, noting
visa from a foreign government indicating the person was a trafficking
                                                                             the potential negative effect on vulnerable groups. State governments
victim in the foreign country, or was a family member of a victim,
                                                                             emphasized the economic recovery measures did not circumvent bonded
to provide documentation of the trafficking experience in order to
                                                                             labor, POSCO, or any other anti-trafficking law. The MWCD continued to
renew their passports or travel. In 2016, the government began to
                                                                             support some broad national child protection mechanisms, including a
include a stamp in the passports of some recipients of the foreign
                                                                             hotline for children, and protocols to identify missing children and remove
government’s visas, for both trafficking victims and their eligible family
                                                                             them from exploitative situations. In addition, the state of Tamil Nadu
members, identifying them as trafficking victims involved in a particular
                                                                             established a toll-free hotline for cases related to trafficking, migrant
investigation or civil or criminal case. While the stamp requested
                                                                             labor, and bonded labor, while the state of Bihar operated a helpline
authorities to permit the visa holder to travel without hindrance, some
                                                                             to support female trafficking victims.
NGOs familiar with this practice noted it made some victims fearful of
reprisal and penalization and served as a deterrent to victims interacting   The government registered foreign recruitment agencies and Indian
with authorities.                                                            migrant workers through the eMigrate system. The government required
                                                                             migrant workers going to 16 speciﬁc countries to receive emigration
PREVENTION                                                                   clearance before departure; it did not allow emigration to Iraq. The
The government increased efforts to prevent human trafficking. The           government maintained its ban on females younger than age 30 and
MHA and MWCD continued to lead government anti-trafficking efforts;          older than 50 from working in 17 countries, mostly Gulf states. Observers
the MHA directed the national response to public safety issues while         reported any ban on migration increased the likelihood of unauthorized
the MWCD managed prevention and reintegration aspects. In May 2021,          migration and heightened vulnerability to traffickers. The Ministry of
the MHA issued an advisory instructing all states and union territories      External Affairs’ (MEA) Division of Overseas Indian Affairs oversaw
to provide support and assistance to groups considered vulnerable            registered recruiting agents and operated ﬁve national centers and a 24/7
to human trafficking—including women, children, older persons, and           helpline to provide counseling and other resources to those considering
members of marginalized groups—in response to the pandemic. The              migrant work. MEA’s Indian Community Welfare Fund, accessible to all
advisory highlighted the 1.07 billion INR ($14.39 million) released to       Indian missions abroad and funded primarily via overseas consular fees,
states and union territories to set up or strengthen “women help desks”      offered shelter, legal assistance, and repatriation for vulnerable migrant
in local police stations. The advisory also recommended utilizing the        workers and operated hotlines for migrant workers overseas. The MEA
Crime Multi Agency Center, a national-level communication platform,          has not reported on the level of utilization of this fund in several years.
to share information on missing persons and trafficking cases. The           The government permitted licensed foreign employment recruiters to
government maintained an inter-ministerial committee, chaired by             charge migrant workers up to 30,000 INR ($404) for recruitment fees
the MWCD, to meet to discuss trafficking-related issues. While the           and costs. However, observers stated employers frequently charged
government reported it continued to rely on a 2012 NAP to combat sex         migrant workers more than the maximum. Unregistered sub-agents often
trafficking of women and children, it did not report its implementation      operated online and operated widely without oversight. Every month,
efforts or convening any meetings to coordinate action. Since 2016,          the Ministry of Overseas Indian Affairs released a list of unregistered
the central government has offered reimbursement of 450,000 INR              agents reported to the ministry from the Overseas Indian Help Desk
($6,050) to any district that conducted a census of bonded labor,            and sent the list to state governments for investigation and prosecution.
available once every three years, and additional funding for evaluation      According to the latest 2019 data, the central government referred
studies. The Tamil Nadu Labor and Employment Department accepted             769 cases against unregistered agents to respective states. The MEA
funding in 2019 and began development of a bonded labor database             conducted awareness campaigns encouraging prospective migrants to
to identify the number of bonded laborers and the industries in which        use the services of registered recruiting agents. The MEA also offered
they are exploited in 11 districts; NGOs contributed data, which the         pre-departure orientations for migrants, including material on trafficking
state government committed to use data contributed by civil society          risks, labor laws and regulations in destination countries, and government
organizations to conduct operations against trafficking. Government          protection programs. Indian diplomatic missions and posts reportedly
agencies regularly issued advisories and SOPs designed to combat             conducted some inspections of work sites with Indian migrant workers.
trafficking, including in response to pandemic conditions, as well as        In May 2021, the Governments of India and the United Kingdom signed
awareness campaigns to prevent trafficking.                                  an MOU on migration with provisions to prevent trafficking in persons.
                                                                             In June 2021, the Governments of India and Kuwait signed an MOU
Anti-trafficking preventative measures varied widely by state. Some state
                                                                             concerning the recruitment and protection of domestic workers.
governments conducted anti-trafficking awareness campaigns, although
NGOs reported local officials, migrant workers, and agricultural workers     In June 2019, the labor ministry drafted a national domestic worker
often still lacked awareness of human trafficking and their legal rights.    policy to regulate placement agencies and allow domestic workers to
In April 2021, the government of Andhra Pradesh distributed handbooks        formally register for worker beneﬁts, including the right to minimum
on human trafficking and training manuals to state government officials,     wage and access to the justice system; however, the document remained
members of the judiciary, civil society, and other stakeholders in Andhra    in draft form for the third consecutive year by the end of the reporting
Pradesh, Odisha, and Telangana. State legal services in Bihar and Delhi      period. State government labor inspectors planned and conducted labor
collaborated with an NGO to develop public awareness programs on             inspections, including child labor inspections. Civil society organizations
human trafficking. AHTUs collaborated with civil society to commemorate      reported the state governments of Rajasthan, Tamil Nadu, and Telangana
“Children’s Day” with a child trafficking awareness campaign along the       conducted proactive inspections. Some states had action plans to
India-Nepal border. In addition, officials in Himachal Pradesh conducted     combat bonded labor, although the government did not report if they
awareness campaigns on trafficking of women and children in multiple         successfully implemented the plans. The government did not report
districts while Telangana police operated an informational website on        efforts to reduce the demand for commercial sex. Despite India being
                                                                                                                              Haiti AR_000764              283
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 389 of 729
INDIA
        a destination for child sex tourism, the government did not report               as eight in forced labor in agriculture (coconut, eucalyptus, ginger, and
        measures speciﬁcally to reduce demand for child sex tourism. Indian              sugarcane); construction; domestic service; garment, steel, and textile
        nationals could be charged for child sex tourism committed outside of            industries (tanneries, bangle, and sari factories); begging; criminality;
        India, although the government did not report any prosecutions. The              food-processing factories (biscuits, bread-making, meat-packing, and
        government did not provide information about training provided to its            pickling); ﬂoriculture; cotton; ship breaking; and manufacturing (wire and
        diplomatic personnel. The government operated a center to conduct                glass). Multiple organizations note physical violence against trafficking
        pre-deployment training for peacekeepers on topics including human               victims—in both forced labor and sex trafficking—is particularly prevalent
        trafficking, sexual exploitation and abuse, and child protection.                in South Asia, including India. Some traffickers force women and girls
                                                                                         to conceive and deliver babies for sale.
        TRAFFICKING PROFILE                                                              Non-state armed groups continued to recruit and use children as young
        As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                         as 14 years old in direct hostilities against the government in Jammu
        and foreign victims in India and traffickers exploit victims from India
                                                                                         and Kashmir. Maoist groups, particularly in Chhattisgarh and Jharkhand,
        abroad. Internal forced labor constitutes India’s largest trafficking
                                                                                         forcibly recruited children as young as 12 to cook, carry materials,
        problem; traffickers use debt-based coercion (bonded labor) to compel
                                                                                         collect information on security forces, handle weapons and improvised
        men, women, and children to work in agriculture, brick kilns, rice mills,
                                                                                         explosive devices, and in some cases serve as human shields. Several
        embroidery and textile factories, and stone quarries. Traffickers promise
                                                                                         women and girls formerly associated with Maoist groups reported that
        large advances to manipulate workers into accepting low-paying
                                                                                         sexual violence, including practices indicative of sexual slavery, was a
        jobs, where traffickers then add exorbitant interest rates; create new
                                                                                         practice in some Maoist camps. Non-state Naxalite groups continued to
        deductions for items such as lodging, health care, or wage slips; or
                                                                                         systematically recruit and use child soldiers. An international organization
        fabricate the amount of debt, which they use to coerce workers into
                                                                                         reported allegations that Indian security forces unlawfully used three
        continuing to work for little or no pay. One study estimated the presence
                                                                                         children for unknown purposes for less than 24 hours in 2020.
        of at least eight million trafficking victims in India, the majority of whom
        are bonded laborers. Intergenerational bonded labor continued, whereby           Traffickers exploit millions of people in commercial sex within India.
        traffickers transfer the outstanding debts of deceased workers to their          The pandemic reportedly disrupted sex trafficking associated with
        parents, siblings, or children. Traffickers often target those from the most     massage parlors and the tourism industry, resulting in more online
        disadvantaged social strata. The scheduled castes and scheduled tribes           recruitment with traffickers using social media platforms to lure victims,
        as well as the children of migrant laborers are particularly vulnerable          including children. Media reported that the pandemic and its subsequent
        to trafficking and bonded labor.                                                 economic insecurity led some individuals in commercial sex, including
                                                                                         sex trafficking victims, to turn to brothel owners, and others for loans,
        The increase in economic insecurity and unemployment due to the
                                                                                         increasing their risk of debt bondage. A study by one organization
        pandemic placed substantial burdens on economically vulnerable
                                                                                         reported more than 95 percent of those in commercial sex in India were
        communities in meeting daily food and shelter requirements, thereby
                                                                                         willing to leave commercial sex but felt unable to do so due to debt
        increasing their vulnerability to trafficking. The absence of work
                                                                                         bondage. NGOs observed that some trafficking survivors returned to
        opportunities in rural areas forced some laborers to work for less than
                                                                                         the red light district in Maharashtra due to economic necessity, and
        50 percent of the minimum wage. Women and children reportedly
                                                                                         there was an increase in sex trafficking. Police officials observed a
        experienced re-trafficking in some jurisdictions with increased frequency
                                                                                         corresponding rise in cases of sex trafficking in Maharashtra. NGOs
        due to economic hardship. Traffickers offered cash advances to attract
                                                                                         reported that internal trafficking victims in western India came from
        workers who were unemployed, thus increasing the likelihood of debt
                                                                                         almost every state. In addition to traditional red light districts, dance
        bondage among economically vulnerable groups. Civil society reported
                                                                                         bars, spas, and massage parlors, traffickers increasingly exploit women
        that the children of economically distressed families faced increased risk
                                                                                         and children in sex trafficking in small hotels, vehicles, huts, and private
        of labor or sex trafficking largely due to pandemic-related loss of parental
                                                                                         residences. Officials acknowledged some registered and unregistered
        employment and school closures. Economic hardship also resulted in
                                                                                         spas exploited females in sex trafficking and officials lacked sufficient
        more child marriages; Telangana reported a 27 percent increase in
                                                                                         oversight of all such establishments. Law enforcement sometimes shut
        cases from April 2020 to March 2021 compared to the previous year.
                                                                                         down unregistered spas and initiated criminal investigations, while in
        Traffickers force entire families into work in brick kilns, including children   other cases, law enforcement shut down spas without further action.
        younger than 6 years old. In a 2017 study of brick kiln workers in Rajasthan     Civil society organizations report female victims as young as 14 years
        state, researchers found more than 40 percent of seasonal workers                old, mostly from the scheduled castes and tribes, are transported from
        from Uttar Pradesh, Chhattisgarh, Bihar, and Rajasthan states owed               Chhattisgarh and Jharkhand to other states for sex trafficking. Scheduled
        manipulated debts to kiln owners that were greater than the amount               caste females were sometimes exploited through the traditional Jogini
        workers earned over the entire season. In some states, the exploitative          system, in which Dalit women and girls are ceremoniously “married”
        contractors that trap workers in bonded labor are local government               to a local temple deity but in practice are used as sex slaves for higher
        officials or politically inﬂuential. Some traffickers severely abused            caste villagers. Traffickers exploit women and children in sex trafficking
        bonded laborers, including those who asked for their rightful wages,             in religious pilgrimage centers and in tourist destinations. Traffickers
        and some bonded laborers died under traffickers’ control. Traffickers            target Indian women and girls, but also fraudulently recruit signiﬁcant
        exploit adults and children, including entire families, into bonded labor        numbers of Nepali and Bangladeshi women and girls to India for sex
        in carpet production and textiles in Jharkhand and Uttar Pradesh states,         trafficking. Additionally, traffickers exploit women and girls from Central
        sometimes requiring adults to leave children behind as collateral when           Asian, European, and African countries in commercial sex, especially in
        they leave the premises for any reason. Children become trapped in               Goa state. A study of sex trafficking victims in Goa found a signiﬁcant
        debt bondage while working alongside their families in agriculture,              number traveled from Central Asia to New Delhi prior to exploitation in
        cotton farms, home-based embroidery businesses, mica mining, and                 Goa’s casinos, massage parlors, private apartments, and clubs. Traffickers
        roadside restaurants. Child bonded laborers also work in the brick kilns         posing as entertainment industry agents in Mumbai reportedly lured
        of Punjab, Uttar Pradesh, and elsewhere. State officials observed that           Eastern European and Colombian women with false promises of acting
        human trafficking increased signiﬁcantly in Assam due to heightened              or modeling careers. Media outlets report the recruitment of women
        economic vulnerability, and cases of missing children in the tea garden          and children for commercial sex increasingly took place through social
        areas nearly doubled. A study found that 37 percent of workers across            media platforms, including mobile dating applications and websites.
        50 tea estates in Assam had daily expenditures that exceeded their daily         Traffickers use encrypted digital communication applications to conduct
        income, making workers extremely vulnerable to debt-based coercion.              transactions, enabling them to evade law enforcement. In addition,
        In some cases, the “Provident Funds” or Sumangali scheme in which                traffickers increasingly utilize digital payment applications in place of
        employers pay young women a lump sum for education or a dowry at                 cash to evade suspicion. Traffickers exploit Rohingya and Sri Lankan
        the end of multi-year labor contracts, often in Tamil Nadu’s spinning mill       Tamil refugee populations in sex and labor trafficking. India is a source
        industry, may amount to bonded labor, and some employers subject                 for child sex tourists and a destination for child sex tourism.
        these women to sex trafficking. Traffickers exploit children as young
 284                                                                                                                                  Haiti AR_000765
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 390 of 729




                                                                                                                                                                  INDONESIA
Traffickers kidnap and force Indian and Nepali women and girls to work            counterparts was insufficient to translate central government policies
as “orchestra dancers” in India, especially in Bihar state, where girls           into nationwide implementation. The 2007 anti-trafficking law was
perform with dance groups until they have repaid fabricated debts.                inconsistent with international law by requiring a demonstration of force,
Some traffickers kidnap children from public places, including railway            fraud, or coercion to constitute a child sex trafficking crime. Therefore
stations, entice girls with drugs, and force girls as young as 5 years old        Indonesia was downgraded to Tier 2 Watch List.
to take hormone injections to appear older in sex trafficking. Some law
enforcement officers allegedly protect suspected traffickers and brothel
                                                                                          INDONESIA TIER RANKING BY YEAR
owners from law enforcement efforts and take bribes from sex trafficking
                                                                                      1
establishments and sexual services from victims. According to one report,
police have accepted bribes to release child sex trafficking victims back             2
into traffickers’ custody. Traffickers arrange sham marriages within India          2WL
and Gulf states to subject females to sex trafficking. There have been
                                                                                      3
isolated reports of physical and sexual abuse in some government-,                           2015     2016      2017       2018   2019    2020   2021   2022
NGO-, and privately run shelter homes, including of trafficking victims,
and compelling shelter residents into forced labor and sex trafficking in
previous reporting periods. The National Commission for Protection of
Child Rights reported that 88 percent of the 7,163 childcare institutions
                                                                                  PRIORITIZED RECOMMENDATIONS:
in India are managed by non-governmental entities. The report noted
                                                                                  Increase efforts to vigorously investigate, prosecute, and convict
40 percent of all shelters did not have adequate measures in place to
                                                                                  traffickers under the 2007 law, including complicit officials who ignore,
prevent physical or sexual abuse of children. In addition, staff members
                                                                                  facilitate, or engage in trafficking crimes. • Amend the 2007 law to
were not properly trained to recognize the signs of abuse or raise alarm
                                                                                  remove the required demonstration of force, fraud, or coercion to
to proper authorities.
                                                                                  constitute child sex trafficking. • Develop, ﬁnalize, disseminate, and train
Internal migration from poorer to wealthier states involved millions of           all relevant officials, including law enforcement, foreign affairs, marine,
people in seasonal or temporary employment as unskilled day laborers,             and labor ministry staff, on comprehensive standard operating procedures
domestic servants, and brick kiln workers. Bihar, Chhattisgarh, Jharkhand,        (SOPs) for proactive victim identiﬁcation. • Enforce implementing
Odisha, and Uttar Pradesh were major source states for economically               regulations of the 2017 law on migrant worker protection. • Increase
vulnerable workers potentially exposed to labor trafficking. Traffickers          resources for and proactively offer all victims, including male victims,
force many Indian migrants who willingly seek employment abroad                   comprehensive services using a victim-centered and trauma-informed
into construction, domestic work, factories, and other low-skilled                approach. • Allow victims in government shelters freedom of movement.
sectors in many regions, especially Gulf countries and Malaysia, often            • Increase efforts to effectively monitor labor recruitment agencies,
following recruitment fraud and exorbitant recruitment fees. Indian               including in the ﬁshing sector, and take action against entities guilty of
female domestic workers in Gulf countries, particularly Kuwait and                illegal conduct that contributes to the forced labor of migrant workers,
Saudi Arabia, consistently report strong indicators of forced labor,              including charging placement fees, deceptive recruitment practices,
including non-payment of wages, refusal to allow workers to leave                 contract switching, and document forgery. • Institutionalize and regularly
upon completion of their contracts, and physical abuse. In the United             provide anti-trafficking training for judges, prosecutors, police, and social
Arab Emirates, labor traffickers bring Indian workers overseas on tourist         workers. • Develop and implement mandatory pre-departure and post-
visas, withhold their identity documents and wages, and force them                arrival orientation and training for Indonesian and migrant ﬁshermen,
to work, especially in construction. Authorities have identiﬁed Indian            respectively, in order to provide information on labor rights and safety
forced labor victims in Armenia, Portugal, Gabon, and Zambia, and Indian          at sea, and ensure employers cover the orientation and training costs.
female sex trafficking victims in Kenya. Traffickers subject some boys            • Increase resources for the anti-trafficking task force and improve its
from Assam, Bihar, and Uttar Pradesh states to forced labor in Nepal.             coordination across ministries. • Finalize and implement a national
                                                                                  action plan to combat trafficking. • Establish a data collection system to
                                                                                  track anti-trafficking efforts at all levels of law enforcement. • Increase
                                                                                  awareness of trafficking trends and vulnerabilities among local village
 INDONESIA: TIER 2 WATCH                                                          leaders. • Create a national protocol that clariﬁes roles for prosecuting
                                                                                  trafficking cases outside victims’ home provinces.
 LIST
                                                                                  PROSECUTION
The Government of Indonesia does not fully meet the minimum standards             The government decreased law enforcement efforts. The 2007 anti-
for the elimination of trafficking but is making signiﬁcant efforts to do         trafficking law criminalized all forms of labor trafficking and some
                                                                                  forms of sex trafficking and prescribed penalties of three to 15 years’
so. These efforts included supporting the repatriation of Indonesian
                                                                                  imprisonment, which were sufficiently stringent and, with respect to
migrant workers, some of whom were exploited in trafficking abroad,
                                                                                  sex trafficking, commensurate with those prescribed for other serious
referring some trafficking victims to social services, implementing the 2017
                                                                                  crimes, such as rape. Inconsistent with international law, the 2007 law
Protection of Indonesian Migrant Workers law, concluding a memorandum
                                                                                  required a demonstration of force, fraud, or coercion to constitute a child
of understanding (MOU) with Malaysia on worker protections, and
                                                                                  sex trafficking crime and therefore did not criminalize all forms of child
increasing funding for victim and witness protection services. However, the
                                                                                  sex trafficking. However, judicial officials at the national and provincial
government did not demonstrate overall increasing efforts compared to
                                                                                  level continued to assert the law implicitly established that force,
the previous reporting period, even considering the impact of the COVID-19
                                                                                  fraud, or coercion were not required to constitute child sex trafficking,
pandemic on its anti-trafficking capacity. Investigations of trafficking crimes   and that this therefore was not a barrier in successfully prosecuting
decreased for the ﬁfth consecutive year, and convictions decreased for the        and obtaining convictions in child sex trafficking cases. Nevertheless,
fourth consecutive year. Official complicity in trafficking crimes remained       observers continued to note that low awareness of trafficking crimes and
a concern, which the government did not take steps to address. The lack           relevant legislation among local law enforcement and judicial authorities
of robust, systematized victim identiﬁcation procedures continued to              impeded case detection and prosecutorial progress.
hinder the proactive identiﬁcation of victims overall, particularly male
victims, while the government’s protection services remained inadequate           Ineffective coordination among various agencies throughout the country
as they did not speciﬁcally address the needs of trafficking victims.             hindered the government’s ability to investigate, prosecute, and convict
Despite taking some action in individual cases of forced labor in ﬁshing          traffickers and collect comprehensive data on such efforts, especially
and Indonesian migrant workers abroad, the government did not fully               when cases involved multiple jurisdictions. As in previous years, the
                                                                                  attorney general’s office (AGO) and the Indonesian National Police
prioritize the staffing or funding for effective oversight of these sectors
                                                                                  (INP) Criminal Investigative Division (CID) in Jakarta—responsible for
with long-standing, pervasive trafficking problems. Coordination between
                                                                                  investigating criminal cases that crossed multiple local jurisdictions—
the national anti-trafficking task force and its provincial and local-level
                                                                                                                                         Haiti AR_000766          285
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 391 of 729
INDONESIA
            did not have a mechanism or central database to track trafficking               For a second year in a row, the National Commission for Indonesian
            investigations, prosecutions, convictions, and sentencing data at all           Child Protection did not report identifying any child trafficking cases
            levels of government; therefore, as in previous years, law enforcement          in 2021. However, NGOs and past government reports indicated child
            data was incomplete. The INP CID reported it investigated a total of 24         sex trafficking likely continued and previously estimated the number
            trafficking cases—eight for sex trafficking and sixteen for labor trafficking   of victims to be many thousands. In August 2021, the government
            involving migrant workers—under the anti-trafficking law in 2021; this          issued regulation No. 78/2021 on Special Protection for Children—an
            demonstrated a decrease from 38 investigations it initiated in the previous     implementing regulation of the Child Protection Law No. 35/2014—to
            reporting period. The government prosecuted 167 alleged trafficking             protect and provide services to several categories of children whose
            cases under the anti-trafficking law and convicted 178 traffickers in           safety and lives are under threat, including child trafficking victims.
            2021, representing a decrease from 259 traffickers convicted in 2020.           The government did not report how many child trafficking victims
            One of those cases involved the forced labor of 12 Indonesian ﬁshermen          received protection services through this regulation. The government
            aboard a People’s Republic of China (PRC)-ﬂagged ﬁshing vessel; the             did not report the number of foreign trafficking victims it identiﬁed or
            government convicted ﬁve traffickers and sentenced them each to three           assisted in 2021, if any.
            and a half years in prison under the anti-trafficking law in April 2021.
                                                                                            The MFA continued to identify Indonesian trafficking victims exploited
            The government did not report any investigations, prosecutions, or              abroad, and it maintained an online portal and mobile application
            convictions of government employees complicit in trafficking crimes;            available through its embassies for individuals to report exploitation
            however, corruption and official complicity in trafficking crimes remained      and access services. Some Indonesian consular authorities overseas
            a concern, inhibiting law enforcement action during the year. The               had labor attaches that could identify and refer Indonesian trafficking
            INP reported it investigated an ongoing case from 2019 involving an             victims to care, including embassy-run shelters. In 2021, the MFA provided
            Indonesian labor official in Singapore who allegedly accepted bribes            protective services to and managed 391 cases of Indonesian trafficking
            from migrant worker insurance companies to illegally authorize the              victims exploited abroad, and it received 256 trafficking complaints
            companies to hire Indonesian migrant workers. Although the Ministry             through its online portal. In comparison, the MFA received 383 cases
            of Manpower (MOM) removed the official from his position in Singapore,          of migrant worker complaints in 2020, some of whom may have been
            he continued to work for the MOM at the end of the reporting period,            trafficking victims. The government did not report the number of
            and the INP did not refer the case for criminal prosecution. Civil society      trafficking victims it identiﬁed or assisted among Indonesian ﬁshermen
            alleged some law enforcement officials and politicians organized raids          exploited on foreign-ﬂagged ﬁshing vessels in 2021. In comparison to
            on entertainment venues to extort ﬁnancial kickbacks from adults                the previous reporting period, in 2020 the government repatriated
            in commercial sex, which may have included sex trafficking victims.             589 Indonesian ﬁshermen who complained about working conditions
            Corrupt officials reportedly continued to facilitate the issuance of false      from 98 PRC-ﬂagged ﬁshing vessels. The MFA funded or facilitated the
            documents, accept bribes to allow brokers to transport undocumented             repatriation of 75,591 overseas Indonesian workers in 2021, which included
            migrants across borders, protect venues where sex trafficking occurred,         trafficking victims. The government did not report how much funding
            engage in witness intimidation, and intentionally practice weak oversight       it allocated to the MFA for repatriation, maintenance of Indonesian
            to insulate recruitment agencies from liability.                                shelters abroad, provision of legal aid, and training for its officials in
                                                                                            2021; in 2020, it allocated 43 billion IDR ($3.03 million) to the services.
            The government, through the AGO, Indonesian Migrant Worker Protection
            Agency (BP2MI), and some local government officials in North Sumatra,           The government continued to operate several shelters and service
            provided anti-trafficking training to officials in 2021 but these trainings     centers for victims of crimes, including trafficking, but the government
            did not cover all judicial, law enforcement, and other relevant authorities.    did not report how many trafficking victims received assistance at any
            The INP CID received 298 million Indonesian Rupiah (IDR) ($20,990)              of these facilities in 2021. The government coordinated assistance for
            for national anti-trafficking investigations in 2021.                           victims of abuse, including trafficking victims, through local integrated
                                                                                            service centers—semi-governmental institutions—for women and children
            PROTECTION                                                                      (P2TP2A), which were located in all 34 provinces and approximately
            The government maintained inadequate protection efforts. The                    436 districts. Services at these centers included medical care, legal
            government did not fully collect comprehensive data on the number               aid, and reintegration; however, in practice, services varied based on
            of victims it identiﬁed. Several government agencies continued to utilize       local leadership and funding. LPSK continued to operate six shelters
            comprehensive or systematized SOPs for proactive victim identiﬁcation           for victims and witnesses to crimes who faced threats or intimidation—
            or referral to protection services. Some observers expressed concern that       including trafficking victims—but residents of these shelters did not
            the lack of SOPs and the government’s anti-trafficking infrastructure,          have full freedom of movement once placed in a shelter and could
            which was under the purview of local-level police units and protection          not seek employment for security reasons. MOSA also operated 41
            agencies who focused primarily on women and children, hindered the              shelters—funded by the national budget—that were available for victims
            identiﬁcation of victims overall and of rural and male victims speciﬁcally.     of crimes, including human trafficking. MOSA allocated $5 million to
            In October 2021, the government enacted regulation No. 8/2021 on SOPs           three of its shelters in 2021, which was a substantial increase from the
            of Integrated Services for Witnesses and/or Victims of Trafficking, but         $156,830 it allocated to its shelters in 2020. According to MOSA’s SOPs
            it did not fully implement this regulation during the reporting period.         on victim services, shelters could only receive and release victims with
            The government did not report speciﬁc instances in which authorities            approval of another government agency. Police required victims to stay
            arrested, detained, ﬁned, or otherwise punished trafficking victims for         in government shelters until the completion of relevant investigations,
            crimes traffickers compelled them to commit. However, due to lack               but victims were only able to stay in the shelters for an average of two
            of formal identiﬁcation procedures, authorities may have arrested or            weeks due to government budget constraints and reduced capacity. In
            deported some unidentiﬁed trafficking victims, particularly among               some cases, once the government released a victim from care, authorities
            vulnerable groups.                                                              did not track the victim, including for purposes of gathering testimony
                                                                                            for traffickers’ prosecution; instead, authorities relied on an international
            Disparate government entities sometimes reported their own statistics,
                                                                                            organization to remain in contact with victims and provide follow-up
            making aggregate data incomparable to data reported in previous years
                                                                                            assistance, if necessary. A general lack of adequate protection and
            and possibly double-counting victims as they came into contact with
                                                                                            reintegrative care, coupled with low awareness among village and local
            different government agencies. The Witness and Victim Protection
                                                                                            leaders, increased many victims’ risk of re-trafficking, particularly among
            Agency (LPSK) received 252 referrals of trafficking victims from
                                                                                            ﬁshermen returning to their communities after experiencing forced
            government ministries and agencies and NGOs in 2021 and provided
                                                                                            labor at sea. The government did not provide legal alternatives to the
            shelter and security protection services to these victims. MOSA also
                                                                                            removal of foreign victims to countries where they may face hardship
            received 1,082 victim referrals from government ministries, NGOs, and
                                                                                            or retribution. In 2021, the government provided healthcare, food, and
            international organizations; of these referrals, MOSA referred 555 of
                                                                                            temporary shelter—with support by an international organization—to
            them to government social centers and the rest to NGOs for assistance.
                                                                                            Rohingya refugees, a population highly vulnerable to trafficking.
            The victim referrals reported by LPSK and MOSA likely reﬂected double-
            counting of some victims.
 286                                                                                                                                      Haiti AR_000767
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 392 of 729




                                                                                                                                                             INDONESIA
The INP estimated that 81 trafficking victims participated in trafficking      trafficking. The government conﬁscated the passports of any Indonesians
investigations or prosecutions in 2021. Although a 2017 supreme court          repatriated with government assistance if they had violated an overseas
regulation stipulated that judges could allow female victims of crimes         placement ban, which could have further exacerbated irregular migration
to provide video testimony during legal processes, the government did          through unsafe channels. The government maintained MOUs with nine
not report if it offered such protection to female trafficking victims in      countries in the Asia-Paciﬁc and Middle East regions for the recruitment,
2021. LPSK sought $283,073 in restitution for 177 trafficking victims and      placement, and protection of Indonesian migrant workers. It continued
witnesses in 2021, a slight decrease from restitution sought in 2020,          to negotiate an additional MOU with the Government of Brunei and
but it did not report how much—if any—was ultimately paid to victims.          completed an MOU with the Government of Malaysia on migrant worker
The government increased LPSK’s budget to $5,563,380 in 2021 from              protections in April 2022. Nevertheless, there was no mechanism by
$4,011,673 in 2020.                                                            which the MOM could ensure compliance with the protections stipulated
                                                                               in the MOUs, thus abuses against migrant workers, including forced
PREVENTION                                                                     labor, persisted.
The government maintained efforts to prevent trafficking. The
                                                                               The government did not effectively implement regulations over the
government had a national anti-trafficking task force, coordinated by
                                                                               ﬁshing sector, which allowed forced labor to persist. For the third
the ministry of women empowerment and child protection (MOWECP)
                                                                               consecutive year, the president did not sign implementing regulations
and chaired by the ministry of human development and culture, that led
                                                                               required to solidify the roles and responsibilities of the ministry of
anti-trafficking efforts across 21 ministries. In April 2021, the government
                                                                               maritime affairs and ﬁsheries and other ministries, which hampered
enacted Presidential Decree No. 22/2021, which expanded the national
                                                                               coordination efforts to effectively oversee recruitment and labor practices
task force’s membership, streamlined coordination between members,
                                                                               in the ﬁshing sector. Civil society groups noted many Indonesian and
and outlined its budgetary process. The national task force met once in
                                                                               migrant ﬁshermen were unaware of their rights and responsibilities and
2021 and continued to develop, but did not ﬁnalize, a draft 2020-2024
                                                                               unprepared for the work in the absence of standardized, employer-paid
national anti-trafficking action plan, reportedly due to pandemic-related
                                                                               pre-departure and post-arrival orientation and training. The government
restrictions that limited in-person meetings and other government
                                                                               continued to implement a ban—instituted in 2020—on Indonesian
activities. The national task force maintained 32 provincial-level task
                                                                               ﬁshermen working aboard PRC-ﬂagged vessels, vessels operated
forces, one in every province except Papua and West Papua, and 242
                                                                               by PRC-state owned companies, and South Korean- and Taiwanese-
municipal and district-level task forces. These task forces continued
                                                                               ﬂagged vessels operating outside of their Exclusive Economic Zones.
to suffer from insufficient funding, lack of coordination within and
                                                                               The government continued to operate two Fishers Centers—established
between the local task forces and the national task force, and lack
                                                                               in 2020—to handle complaints from ﬁshermen; however, unlike in the
of understanding of trafficking among members. The national task
                                                                               previous reporting period, it did not report how many complaints of labor
force, in coordination with an international organization, provided
                                                                               exploitation the centers received in 2021. In 2021, the MFA established
anti-trafficking training to 292 officials from more than 50 national and
                                                                               an Indonesian Seafarer Corner (ISC) in Kaohsiung, Taiwan, to provide
provincial governments and NGOs in August 2021. The government did
                                                                               shelter and repatriation services to Indonesian ﬁshermen; however, the
not report its budget allocation to MOWECP’s trafficking office, unlike
                                                                               government did not report if it identiﬁed or provided services to any
in the previous reporting period.
                                                                               trafficking victims at the ISC.
The government continued to implement the 2017 Protection of
                                                                               Several ministries and agencies, including MOWECP, MOSA, and BP2MI,
Indonesian Migrant Workers law, which mandated that provincial
                                                                               continued to operate hotlines on a range of issues inclusive of, but
governments—instead of private companies—oversee the provision
                                                                               not limited to, trafficking. In 2021, BP2MI’s complaint system received
of pre-departure vocational training and the placement of workers. In
                                                                               1,702 complaints from workers placed overseas, of which 59 were
2021, the government began enforcing a 2020 regulation of the migrant
                                                                               deemed potential trafficking cases; this was a slight decrease from
workers law that deﬁned and exempted Indonesian migrant workers
                                                                               the 89 potential trafficking cases among the 1,812 complaints from
from placement fees. Some observers reported the government was not
                                                                               workers overseas in 2020. Of the 59 cases, BP2MI referred to the police
fully effective in protecting migrant workers from expenditures higher
                                                                               an unspeciﬁed number related to recruitment licenses, but it did not
than the government-set recruitment fee, and many migrant workers
                                                                               report if police took any action on those referrals. The LPSK maintained
still remitted their ﬁrst year of wages to their recruiters or employers to
                                                                               a hotline and mobile application to provide information to all victims of
repay the initial costs of recruitment and placement, which traffickers
                                                                               crimes on ﬁling complaints and available protection services; however,
used to coerce and retain victims’ labor. In addition, a 2020 implementing
                                                                               it did not report the number of trafficking victims identiﬁed through
regulation of the migrant workers law required married male and female
                                                                               these mechanisms. The government continued to conduct some public
migrant workers to obtain permission from their spouse to work abroad.
                                                                               awareness events on trafficking, including by conducting awareness-
That requirement increased the probability that women would migrate
                                                                               raising activities that highlighted the legal procedures to migrate
through illicit channels, which increased vulnerability to traffickers. In
                                                                               for work and migrant workers’ rights. Local government officials in
2021, MOM temporarily suspended the licenses of 11 recruitment agencies,
                                                                               Nunakan Regency and Aceh conducted some anti-trafficking awareness
but it did not revoke any or report if it referred any of the 11 companies
                                                                               campaigns in 2021. The MFA provided anti-trafficking training for 111
to the police for investigation of human trafficking crimes. While the
                                                                               diplomatic personnel deployed overseas. To reduce the vulnerability
suspension of these licenses demonstrated an increase from the ﬁve
                                                                               to child and forced labor, the Ministry of Education, Culture, Research,
suspensions in 2020, it was a substantial decrease from the 111 licenses
                                                                               and Technology established 96 new community learning centers and
it revoked in 2020. As in the previous reporting period, the reasons for
                                                                               deployed 703 teachers to continue to educate children of Indonesian
the suspended licenses included cramped or unsafe accommodations
                                                                               migrant palm oil laborers in Sarawak and Sabah where Malaysian palm
in dormitories, document forgery, coercive or deceptive recruitment
                                                                               oil plantations were located. The government did not make efforts to
practices and contract signings, underage recruitment, illegal fees,
                                                                               reduce the demand for commercial sex acts, but it continued to make
and sending workers to Middle Eastern countries that Indonesia’s
                                                                               efforts to reduce the demand for child sex tourism by coordinating
moratorium on the placement of domestic workers prohibited. In
                                                                               with foreign governments to deny entry to known child sex offenders.
November 2021, MOM’s Migrant Worker Protection Task Force conducted
                                                                               In June 2021, the government of Cianjur Regency in West Java passed
a national coordination meeting for several ministries underscoring the
                                                                               Regent Regulation No. 38/2021 to prevent foreigners from exploiting
importance of holding migrant worker placement agencies accountable
                                                                               Indonesian women and girls in “contract marriages” for the purpose of
for trafficking crimes.
                                                                               commercial sex, including cases of sex trafficking and forced labor; it did
The government continued its ban on overseas placement of migrant              not report if it punished any traffickers or identiﬁed any sex trafficking
workers to 21 Middle East and North African nations, yet the number            victims through this regulation.
of migrant workers circumventing the ban through the use of illegal
recruiters continued. The UN, other international organizations, and           TRAFFICKING PROFILE
NGOs continued to argue any ban on migration increased the likelihood          As reported over the past ﬁve years, human traffickers exploit domestic
that workers would migrate illegally, heightening their risk of human          and foreign victims in Indonesia and exploit victims from Indonesia
                                                                                                                                Haiti AR_000768              287
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 393 of 729
INDONESIA
            abroad. Each of Indonesia’s 34 provinces is a source and destination             recruited abroad for ostensibly legitimate employment and are exploited
            of trafficking. The government estimates that more than two million              in sex trafficking abroad, including in Timor-Leste.
            of the six to eight million Indonesians working abroad—many of whom
                                                                                             Indonesians, including children, whose homes or livelihoods were
            are women working in the domestic sector—are undocumented or have
                                                                                             destroyed by natural disasters in 2020 are vulnerable to trafficking.
            overstayed their visas, increasing their risk to trafficking. In 2020, nearly
                                                                                             Four million children deemed by the government to be “neglected”
            200,000 Indonesian migrant workers returned to Indonesia due to the
                                                                                             and approximately 16,000 children estimated to be experiencing
            pandemic. Labor traffickers exploit many Indonesians through force
                                                                                             homelessness and living in urban environments are also vulnerable to
            and debt-based coercion in Asia (particularly PRC, South Korea, and
                                                                                             trafficking. Government failure to prevent companies from encroaching
            Singapore) and the Middle East (in particular Saudi Arabia) primarily in
                                                                                             on Indigenous communities’ land, sometimes in collusion with the military
            domestic work, factories, construction, and manufacturing, on Malaysian
                                                                                             and local police, contribute to displacement that also leaves some ethnic
            oil palm plantations, and on ﬁshing vessels throughout the Indian and
                                                                                             minority groups vulnerable to trafficking. Endemic corruption among
            Paciﬁc Oceans. Hong Kong, Malaysia, Singapore, and the Middle East
                                                                                             government officials facilitates practices that contribute to trafficking
            host many Indonesian domestic workers who are unprotected under
                                                                                             vulnerabilities in the travel, hospitality, and labor recruitment industries.
            local labor laws and often experience indicators of trafficking, including
                                                                                             Widespread social stigma and discrimination against members of
            excessive working hours, lack of formal contracts, and unpaid wages;
                                                                                             Indonesia’s LGBTQI+ communities and persons living with HIV/AIDS
            many of these workers come from the province of East Nusa Tenggara.
                                                                                             complicated their access to formal sector employment, placing them
            NGOs estimate unscrupulous labor recruitment agents and sub-agents
                                                                                             at higher risk of human trafficking through unsafe employment in the
            are responsible for more than half of Indonesian female trafficking
                                                                                             informal sector.
            cases overseas. To migrate overseas, workers often assume debt that
            both Indonesian and overseas recruitment agents exploit to coerce                Senior vessel crew on board PRC, Korean, Vanuatuan, Taiwan, Thai,
            and retain their labor. Additionally, some companies withhold identity           Malaysian, Italian, and Philippines-ﬂagged and/or owned ﬁshing vessels
            documents and use threats of violence to keep migrants in forced labor.          operating in Indonesian, Thai, Sri Lankan, Mauritian, and Indian waters
            Sex traffickers exploit Indonesian women and girls primarily in Malaysia,        subject Indonesian ﬁshermen to forced labor. In 2020, several Indonesian
            Taiwan, and the Middle East. In previous years, there were reports that          forced labor victims aboard PRC-ﬂagged ﬁshing vessels sent a plea
            for-proﬁt universities in Taiwan aggressively recruited Indonesians and          for assistance over social media, detailing persistent exploitation that
            subsequently placed them into exploitative labor conditions under the            included physical violence and the vessel crew’s refusal to feed workers
            pretense of educational opportunities.                                           until they completed their daily 20-hour shifts. Authorities secured
                                                                                             the release of 157 Indonesian ﬁshermen from the vessels, with strong
            In Indonesia, labor traffickers exploit adults and children in ﬁshing, ﬁsh
                                                                                             indicators of forced labor, and conﬁrmed that 12 Indonesian workers
            processing, and construction; on oil palm and other plantations; and in
                                                                                             had died aboard the vessels between November 2019 and August 2020.
            mining and manufacturing. Sources reported in 2021 that a nickel mining
                                                                                             Some trafficking victims reported the PRC-ﬂagged vessels had initially
            company affiliated with the PRC’s Belt and Road Initiative allegedly
                                                                                             recruited them under the guise of well-paying jobs on Korean-ﬂagged
            recruited PRC national workers through unlicensed PRC-based labor
                                                                                             vessels. Traffickers recruited many ﬁshing forced labor victims from
            contractors and subjected them to forced labor through passport
                                                                                             Java, where they targeted poor farm workers, fraudulently recruited
            conﬁscation, wage garnishing and withholding, forced overtime, and
                                                                                             them with promises of high salaries and good working conditions,
            physical beatings, among other abuses. Traffickers exploit women and
                                                                                             provided illicit travel documents, and made workers sign contracts so
            girls in forced labor in domestic service. Traffickers may subject children
                                                                                             hard to break that experts refer to them as “slavery contracts.” Some
            to forced criminality in the production, sale, and transportation of illicit
                                                                                             PRC-, Korean-, and Taiwanese-ﬂagged vessels force Indonesian workers
            drugs. Government regulations allow employers in certain sectors,
                                                                                             to remain on the vessel and work after the conclusion of their contract
            including small and medium enterprises and such labor-intensive
                                                                                             until the company secures replacement workers. Some of the traffickers
            industries as textile manufacturing, an exemption from minimum wage
                                                                                             promised to send the workers’ salaries directly to their families, but
            requirements, thereby increasing the risk of workers in those sectors
                                                                                             after several months at sea, many workers discovered the vessels had
            to debt-based coercion. More than 1.5 million Indonesian children
                                                                                             not sent any payments.
            between ages 10 and 17 work in agriculture, including on tobacco
            plantations, without gear to protect them from the sun and chemicals;            Dozens of recruitment agencies in Burma, Indonesia, and Thailand lure
            working without proper protective gear can be an indicator of forced             ﬁshermen with promises of high wages, charge fees and curtailment
            labor. NGOs report that in the city of Bima, on the island of Sumbawa,           deposits to assign them fake identity and labor permit documents,
            some professional horse racers use child jockeys, some of whom may               and then send them to ﬁsh long hours in waters on vessels operating
            be forced. Early marriage practices push many children—especially in             under complex multinational ﬂagging and ownership arrangements.
            poorer rural communities—into employment as new primary earners                  Some ﬁshermen are unaware their recruitment agencies continue
            for their households, driving a high incidence of child labor migration          to withhold or withdraw funds from their salary for years. Crew on
            through channels known for deceptive recruitment practices, debt                 board these vessels have reported low or unpaid salaries and coercive
            bondage, and other forced labor indicators.                                      tactics such as contract discrepancies, document retention, restricted
                                                                                             communication, poor living and working conditions, threats of physical
            According to an international organization, up to 30 percent of individuals
                                                                                             violence, and severe physical and sexual abuse. Boat captains and crews
            in commercial sex in Indonesia are female child sex trafficking victims.
                                                                                             prohibit ﬁshermen from leaving their vessels and reporting these abuses
            Sex traffickers often use debt or offers of jobs in restaurants, factories, or
                                                                                             through threats of exposing their fake identities to the authorities,
            domestic service to coerce and deceive women and girls into exploitation
                                                                                             threats of blacklisting them from future ﬁshing employment, and, in
            in commercial sex across Indonesia, and notably in Batam and Jakarta.
                                                                                             previous years, by detaining them on land in makeshift prisons. Forced
            Sex traffickers use spas, hotels, bars, karaoke establishments, and other
                                                                                             to sail longer distances to adjust to dwindling ﬁsh stocks, some crews
            businesses to facilitate sex trafficking. Traffickers also exploit women and
                                                                                             remain at sea for months or even years without returning to shore,
            girls in sex trafficking near mining operations in Maluku, Papua, and Jambi
                                                                                             compounding their invisibility and preserving abusive senior crews’
            provinces. Since the start of the pandemic, traffickers increasingly use
                                                                                             impunity. Most Indonesian ﬁshermen work aboard vessels operating
            online and social media platforms to recruit victims, primarily children,
                                                                                             in Taiwan’s highly vulnerable distant water ﬂeet; many are also ﬁshing
            for commercial sexual exploitation. Child sex tourism is prevalent in the
                                                                                             in Korea’s distant water ﬂeets. In Indonesian waters and elsewhere,
            Riau Islands bordering Singapore. Bali is a destination for Indonesians
                                                                                             some senior vessel crew force ﬁshermen to engage in illegal ﬁshing,
            and foreign tourists engaging in child sex tourism. Middle Eastern tourists
                                                                                             poaching, smuggling, and illegal entry into national territories, making
            come to Indonesia, particularly Puncak district in Bogor, and pay more
                                                                                             them vulnerable to criminalization. Indonesian nationals who participate
            than $700 for a “contract marriage,” usually up to one week in duration,
                                                                                             in the Japanese government’s “Technical Intern Training Program” are
            that allows them to have extramarital sex without violating Islamic
                                                                                             vulnerable to forced labor.
            law. The girls are as young as age nine, and some of the women that
            the tourists “marry” are sex trafficking victims. While this is a religious
            practice, there is tacit government acceptance. Indonesian women are

 288                                                                                                                                       Haiti AR_000769
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 394 of 729




                                                                                                                                                               IRAN
                                                                              impunity, including sex trafficking of adults and children and the coerced
 IRAN: TIER 3                                                                 recruitment and use of adults in armed conﬂict in the region. Iranian
                                                                              law did not criminalize all forms of trafficking. A 2004 law criminalized
The Government of Iran does not fully meet the minimum standards              trafficking in persons by means of threat or use of force, coercion, abuse
for the elimination of trafficking and, even considering the impact of        of power, or abuse of a victim’s position of vulnerability for purposes of
the COVID-19 pandemic, if any, on its anti-trafficking capacity, is not       prostitution, slavery, or forced marriage. Inconsistent with the deﬁnition
making signiﬁcant efforts to do so; therefore Iran remained on Tier 3.        of trafficking under international law, the law required movement to
Despite the lack of signiﬁcant efforts, the government took some steps        constitute a trafficking offense and required a demonstration of force,
to address trafficking, including forming an anti-trafficking committee       fraud, or coercion in child sex trafficking cases. The law did not encompass
within the Ministry of Interior (MOI) to develop strategies and programs      all forms of labor trafficking. The prescribed penalty under this law
to combat the crime. However, there was a government policy or pattern        included up to 10 years’ imprisonment if the trafficking offense involved
of employing or recruiting child soldiers and the deception or coercion       an adult victim and a penalty of 10 years’ imprisonment if the offense
of adults to ﬁght in Iranian-led militias operating in Syria. Officials       involved a child victim. Both penalties were sufficiently stringent and, with
continued to perpetrate and condone trafficking crimes with impunity,         respect to sex trafficking, commensurate with the penalties prescribed
both in Iran and overseas, and did not report law enforcement efforts to      for kidnapping. The 2002 Law to Protect Children and Adolescents
address the crime. Reporting on official complicity in human trafficking      criminalized buying, selling, and exploiting children; the punishments
                                                                              for such crimes were six months to one year of imprisonment and a
and child soldiering crimes was limited due to the hesitancy of former
                                                                              ﬁne, which were neither sufficiently stringent nor commensurate with
victims to come forward for fear of reprisal and the government’s
                                                                              other serious crimes, such as kidnapping. The labor code criminalized
restrictions on media and non-governmental organizations (NGOs).
                                                                              forced labor and debt bondage, but the prescribed penalty of a ﬁne
In previous reporting periods, the government forced or coerced
                                                                              and up to one year of imprisonment was not sufficiently stringent. In
children and adults to ﬁght for Iranian-led militias operating in Syria
                                                                              November 2021, the government reported drafting an amendment to the
and provided ﬁnancial support to militias ﬁghting in armed conﬂicts in
                                                                              2004 anti-trafficking law and submitting the legislation to Parliament
the region that recruited and used child soldiers. Despite such reports,
                                                                              for adoption. The amendment reportedly focused on the deﬁnition of
the government has never reported efforts to disarm, demobilize, and
                                                                              trafficking and included aggravating punishments for crimes against
reintegrate child soldiers, nor has it reported investigating, prosecuting,   women and children; the government did not report if the amendment
or convicting officials complicit in the recruitment or use of child          passed Parliament by the end of the reporting period.
soldiers. The government continued to deceptively recruit Afghan men
to ﬁght in militias operating in Syria with promises of residency in Iran     Officials continued to conﬂate human trafficking and migrant smuggling,
and money but instead deported them back to Afghanistan after they            and the government did not report providing anti-trafficking training to
returned to Iran. In addition, the government failed to identify and          its officials. Efforts to address sex trafficking and forced labor were either
protect trafficking victims among vulnerable populations and continued        nonexistent or not widely publicized. Courts accorded legal testimony by
to treat trafficking victims as criminals, including child sex trafficking    women only half the weight accorded to the testimony by men, thereby
victims. Victims continued to face severe punishment, including death,        restricting female trafficking victims’ access to justice. The government
for crimes traffickers compelled them to commit, such as engaging in          did not report any statistics on investigations, prosecutions, convictions,
                                                                              or sentences of traffickers. In December 2021, Iranian media reported
commercial sex and immigration violations.
                                                                              police arrested 11 alleged traffickers during an operation; however,
                                                                              the government did not report if they investigated or prosecuted the
        IRAN TIER RANKING BY YEAR                                             case. In the previous reporting period, Iranian media reported the
    1                                                                         government, with assistance of an international organization, arrested
    2                                                                         an Iranian national for suspected sex trafficking of Iranian girls in
                                                                              Malaysia over a three-year period. Iranian police reportedly extradited
  2WL
                                                                              the alleged trafficker from Malaysia and arrested an unknown number
    3                                                                         of accomplices in Iran. Inﬂuential Iranian officials reportedly guaranteed
           2015      2016      2017   2018   2019   2020     2021   2022      the safety of these alleged traffickers by helping them avoid earlier arrest
                                                                              and secured the release of some of the victims being detained by the
                                                                              Iranian police and returned them to the traffickers over the three-year
                                                                              period. In September 2021, media reported the Iranian national was
PRIORITIZED RECOMMENDATIONS:                                                  sentenced to death on charges of international human trafficking by
Cease the forcible and otherwise illegal recruitment of adults and children   a branch of the Revolutionary Court. In addition, one other defendant
for combat in Syria and cease support for armed militias that recruit and     was sentenced to death, while ﬁve other defendants involved in the
use child soldiers in Iraq, Syria, and Yemen. • Cease punishing trafficking   case were sentenced to 15 years’ imprisonment.
victims for unlawful acts traffickers compelled them to commit, such as
engaging in commercial sex and immigration violations. • Amend the            The government did not report any investigations, prosecutions, or
2004 law to bring the deﬁnition of trafficking in line with international     convictions of government employees complicit in human trafficking
law. • While respecting due process, investigate, prosecute, and convict      crimes; however, corruption and official complicity in trafficking crimes
sex trafficking and forced labor perpetrators—particularly complicit          remained signiﬁcant concerns, inhibiting law enforcement action during
government officials—and sentence convicted traffickers to signiﬁcant         the year. Reports of Iran’s Islamic Revolutionary Guard Corps (IRGC)
prison terms. • Institute nationwide procedures to proactively identify       and the Iranian Basij Resistance Force (Basij), a paramilitary force
trafficking victims, particularly among vulnerable populations such as        subordinate to the IRGC, actively recruiting—through coercion and
persons in commercial sex, children who were homeless or used the             deception—Afghan migrants and refugees for combat in IRGC-led and
streets as a source of livelihood, and undocumented migrants. • Offer         commanded militias in Syria, continued during the reporting period. In
specialized protection services to victims of all forms of trafficking,       previous reporting periods, observers reported the IRGC and the Basij
including shelter and medical, psycho-social, and legal assistance. •         forces—through force or coercive means—recruited and used migrant and
Develop partnerships with and allow for the registration of civil society     refugee children, as well as Iranian children, for combat in IRGC-led and
and international organizations to combat trafficking and to help provide     commanded militias in Syria. Despite such reports, the government has
essential protection services to victims. • Increase transparency of          never reported investigating, prosecuting, or convicting officials complicit
anti-trafficking policies and activities. • Become a party to the 2000        in the recruitment or use of child soldiers. According to a statement
UN TIP Protocol.                                                              made by an IRGC official in October 2019, the IRGC may have recruited
                                                                              child soldiers from 3,700 student Basij bases in Khuzestan province, and
PROSECUTION                                                                   these child soldiers were likely still engaged with the IRGC during the
The government did not report anti-trafficking law enforcement                reporting period. In general, reporting on official complicity in human
efforts, and officials continued to perpetrate trafficking crimes with        trafficking crimes was limited due to the hesitancy of former victims
                                                                                                                                 Haiti AR_000770               289
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 395 of 729
IRAN   to come forward for fear of reprisal and the government’s restrictions         soldiers. Furthermore, the government did not take action to hold
       on media and NGOs. Neither the government nor media reported if                officials accountable, including the former Minister of Education, who
       the government had taken any action on past allegations of official            in previous reporting periods promoted the recruitment and use of
       complicity in condoning and facilitating commercial sex involving both         children to ﬁght for Iran in Iraq.
       adults and children, including cases of sex trafficking.
                                                                                      While the government publicly reported the Ministry of Interior
                                                                                      established an anti-trafficking commission to lead development of
       PROTECTION                                                                     policies, strategies, and programs while monitoring activities related to
       The government did not report efforts to identify or protect any
                                                                                      trafficking, it did not report whether the commission was operational or
       trafficking victims. Official government involvement in trafficking crimes
                                                                                      what actions it took, if any, during the reporting period. The government
       and authorities’ abuse of trafficking victims continued unabated. The
                                                                                      did not report dedicating resources to address human trafficking or
       government reportedly continued to punish sex and labor trafficking
                                                                                      the provision of anti-trafficking training to its diplomatic personnel.
       victims for unlawful acts traffickers compelled them to commit, such as
                                                                                      The government did not improve transparency on its anti-trafficking
       engaging in commercial sex and immigration violations. Female victims
                                                                                      policies or activities, nor did it organize anti-trafficking awareness
       of sexual abuse, including sex trafficking victims, faced prosecution for
                                                                                      campaigns. Hardline elements within the regime routinely stymied
       adultery, deﬁned as sexual relations outside of marriage and punishable
                                                                                      efforts to amend relevant existing laws or introduce new measures to
       by death. As in previous years, the government also continued a pattern
                                                                                      improve the government’s ability to prevent or address the country’s
       of human rights abuses of punishing potential adult and child sex
                                                                                      pervasive trafficking problems. Children of undocumented Afghans
       trafficking victims through lashings, public shaming, forced confessions,
                                                                                      continued to have difficulty obtaining legal documentation, which
       imprisonment, and the death penalty. The government also continued
                                                                                      increased this population’s vulnerability to trafficking. In the previous
       to detain and deport Afghan migrants who did not comply with Iranian
                                                                                      reporting period, a nationality law entered into force that stated Iranian
       officials who recruited them—through coercive means—to ﬁght for Iranian
                                                                                      women married to foreign men were able to transmit citizenship to their
       militias abroad. While in government custody, some detained migrants
                                                                                      children; this was not automatic, however, as it required the mother to
       experienced severe physical abuse, including sexual abuse of young girls,
                                                                                      submit an application on behalf of her children. Human rights activists
       which at times resulted in lack of food and water for extended periods
                                                                                      reported concerns, however, that the nationality law required the
       of time and extortion. In October 2021, an international organization
                                                                                      Intelligence Ministry and the Intelligence Organization of the IRGC to
       reported that approximately one million Afghans had returned from Iran
                                                                                      certify that no “security problem” existed before approving citizenship
       in 2021, the majority of whom were deported by Iranian authorities; the
                                                                                      for children born to Iranian mothers with non-Iranian fathers; this
       government did not make efforts to screen for or identify trafficking
                                                                                      vaguely-deﬁned security provision could have been used to arbitrarily
       victims among this highly vulnerable population prior to detainment
                                                                                      disqualify applicants if they or their parents were seen as critical of
       or deportation. Furthermore, in the previous reporting period, the
                                                                                      the government, further increasing this population’s vulnerability to
       government introduced legislation to impose ﬁnes and severe prison
                                                                                      trafficking due to lack of citizenship documentation. Iran is not a party
       terms—up to 25 years—on undocumented migrants and allow security
                                                                                      to the 2000 UN TIP Protocol.
       officers to open ﬁre on vehicles suspected of transporting them, an
       approach that would harm potential victims among this vulnerable
                                                                                      TRAFFICKING PROFILE
       population and disincentivize their consultation with law enforcement
                                                                                      As reported over the past ﬁve years, human traffickers exploit domestic
       to report trafficking crimes or seek assistance.
                                                                                      and foreign victims in Iran, and traffickers exploit victims from Iran
       In December 2021, Iranian media reported a police operation that               abroad. The continuing decline of the Iranian economy, as well as
       identiﬁed 48 potential victims, most of whom were foreign nationals;           serious and ongoing environmental degradation, have signiﬁcantly
       however, the government did not report whether the potential victims           exacerbated Iran’s human trafficking problem, particularly for vulnerable
       were referred to care. The government did not provide protection               and marginalized communities such as ethnic minority groups, refugee
       services speciﬁcally for trafficking victims. Iran’s state welfare system      and migrant populations, and women and children. Iranian and some
       did not provide adequate coverage or protection to the most vulnerable         foreign women and girls, as well as some men, are highly vulnerable to
       populations in the country, including children and persons engaged             sex trafficking in Iran. Although commercial sex is illegal, a local NGO
       in commercial sex. One media report alleged that some children                 estimated in 2017 that commercial sex and sex trafficking are endemic
       experienced harassment and sexual abuse when placed in welfare                 throughout the country, and reports estimate sex traffickers exploit
       centers. Foreign trafficking victims were unable to access assistance          children as young as 10 years old. The government reportedly condones
       from the welfare system. The government did not report providing               and, in some cases, directly facilitates the commercial sexual exploitation
       support to or partnering with NGOs that offered limited services to            and sex trafficking of adults and children throughout the country;
       populations vulnerable to trafficking. Furthermore, the government             Iranian police, IRGC, Basij, religious clerics, and parents of victims are
       harassed some NGOs working with vulnerable populations, and it                 allegedly involved in or turn a blind eye to sex trafficking crimes. The
       arrested and imprisoned some activists under national security charges         demand for commercial sex reportedly occurs in large urban centers,
       or for “spreading propaganda against the system.” According to a media         including the major pilgrimage sites of Qom and Mashhad; reportedly
       report, in 2021, the government shut down a prominent children’s rights        Iranian, Iraqi, Saudi, Bahraini, and Lebanese women in these locations
       NGO, providing services to orphans, child laborers, and child victims of       are highly vulnerable to sex trafficking. Poverty and declining economic
       abuse, following a dubious complaint from a government agency related          opportunities lead some Iranian women to enter the commercial sex
       to security concerns. The government did not encourage trafficking             industry, where traffickers subsequently force or coerce these women
       victims to assist in the investigation or prosecution of traffickers and did   to remain. Some Iranian women who seek employment to support their
       not provide witness support services. The government did not provide           families, as well as young Iranian women and girls who run away from
       foreign trafficking victims legal alternatives to their removal to countries   their homes, are vulnerable to sex trafficking. “Temporary” or “short-
       in which they may face hardship or retribution.                                term” marriages—for the purpose of commercial sexual exploitation
                                                                                      known as “sigheh”—lasting from one hour to one week are reportedly
       PREVENTION                                                                     widespread in Iran and take place in so-called “chastity houses,” massage
       The government maintained inadequate efforts to prevent trafficking.           parlors, and private homes. These arrangements are reportedly tightly
       The government’s persistent lack of efforts to prevent official complicity     controlled, condoned by the state, and regarded highly by religious
       in trafficking crimes further exacerbated trafficking in the country and       leaders to allow men to sexually exploit female and male Iranians, as well
       the region. The government did not make efforts to reduce the demand           as Chinese, Thai, and other victims, including children. Afghan girls are
       for commercial sex acts in Iran or child sex tourism by Iranian citizens       vulnerable to forced marriage with men living in Iran, which frequently
       traveling abroad. The government did not report efforts to prevent             leads to their victimization in sex trafficking and forced labor, including
       the IRGC’s recruitment and use of children to ﬁght in the Iranian-led          domestic servitude. Child marriage of Iranian and some foreign girls is
       and funded Fatemiyoun Brigade deployed to Syria. The government                reportedly increasing in Iran and is most widespread among communities
       has never reported efforts to disarm, demobilize, and reintegrate child        in lower-income areas of large cities, often with the consent of parents;

290                                                                                                                                Haiti AR_000771
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 396 of 729




                                                                                                                                                                IRAQ
girls in these marriages may be at risk of sex trafficking or domestic          reports indicate an increase in the number of undocumented Afghans
servitude. One report noted 7,323 marriages of girls 10-14 years of age         entering Iran. At the end of 2021, the UN estimates as many as 3.5 million
were registered in the Spring of 2020—and had increased by 23 percent           Afghans live in Iran and reports there are 780,000 Afghans registered
by the Summer of 2020, reporting 16,381 marriage registrations of girls         as refugees in Iran. In addition to registered refugees, the government
younger than 15 years of age. DPRK nationals working in Iran may have           hosts an estimated 586,000 Afghans who hold Afghan passports and
been forced to work by the DPRK government.                                     Iranian visas and an estimated 2.6 million undocumented Afghans.
                                                                                Undocumented Afghans face increased vulnerability to economic and
Iranian women, boys, and girls are vulnerable to sex trafficking abroad,
                                                                                social hardships and exploitation, including trafficking. Afghan refugees
including in Afghanistan, Armenia, Georgia, Iraq, the Iraqi Kurdistan
                                                                                and migrants frequently travel illegally through Iran en route to Turkey,
Region (IKR), Pakistan, Turkey, and the United Arab Emirates (UAE).
                                                                                making them ineligible to receive state assistance and vulnerable to abuse
In 2018, a prominent Iranian NGO reported an increase in the number
                                                                                and exploitation. Organized trafficking groups subject Pakistani men
of Iranian nationals in commercial sex in nightclubs in Tbilisi, Georgia,
                                                                                and women migrants in low-skilled employment, such as domestic work
including some child sex trafficking victims; traffickers operating the
                                                                                and construction, to forced labor using debt-based coercion, restriction
nightclubs reportedly conﬁscate victims’ passports and physically abuse
                                                                                of movement, non-payment of wages, and physical or sexual abuse.
and threaten victims. Similarly, in 2018, the media continued to report an
                                                                                Increasingly, employers seek adjustable work contracts for registered
increase in young Iranian women in commercial sex in Dubai; some of
                                                                                foreign workers where employers deny workers their beneﬁts and coerce
these women are trafficking victims, whose traffickers conﬁscate their
                                                                                them to work overtime, increasing the workers’ vulnerability to forced
passports and threaten them with violence or execution if they return to
                                                                                labor. Traffickers subject Afghan migrants, including children, to forced
Iran. Some reports also suggest collusion between traffickers in Dubai
                                                                                labor in construction and agriculture in Iran.
and Iranian police, the IRGC, and the Basij. Nationals from Saudi Arabia,
Kuwait, and Qatar reportedly purchase sex from Iranian women in Dubai,          Iranian authorities continue to force and coerce Afghan migrants,
including trafficking victims. Reports suggest that Iranian women are           including children, as well as some Pakistani migrants and Iranian children,
also vulnerable to sex trafficking in Turkey, particularly in Turkish cities    into armed groups in the region. Several credible sources continue to
close to the Iranian border. According to press reports, more than 2,000        widely report the IRGC and Basij coerce Afghan men and boys residing in
young Iranian women and girls entered the IKR in 2018, many of whom             Iran, including boys as young as 13 years old, to ﬁght in the Iranian-led and
are victims of sex trafficking in cafes, hotels, and massage centers.           funded Fatemiyoun Brigade deployed to Syria. Officials threaten these
According to a regional scholar, traffickers reportedly use Shiraz, Iran,       individuals with arrest and deportation to Afghanistan. In 2021, media
as a transit point to bring ethnic Azeri girls from Azerbaijan to the UAE       sources continued to report Afghan migrants in Iran were deceived by
and exploit them in sex trafficking operations.                                 the IRGC to join the Fatemiyoun Brigade through promises of a monthly
                                                                                salary and an Iranian residency permit and were subsequently sent to
Iranian and Afghan refugee and migrant children, orphans, and children
                                                                                Lebanon for military training upon recruitment. However, Afghans who
who are homeless or use the streets as a source of livelihood in Iran are
                                                                                return from war are refused residency in Iran and remain undocumented
highly vulnerable to forced labor, and experts suggest child trafficking is
                                                                                or return to Afghanistan, where they fear persecution by the Taliban
increasing. An Iranian official stated that the number of child laborers has
                                                                                for alleged association with the Fatemiyoun Brigade. The Basij also
increased signiﬁcantly due to the pandemic and the related economic
                                                                                reportedly recruits and trains Iranian children who are deployed to
downturn, and that some of the children are forced to work for proﬁteers
                                                                                Syria. Sources also indicate the government exploits undocumented
and traffickers. Official Iranian statistics indicate there are three million
                                                                                and impoverished Pakistani adults living in Iran to ﬁght for the IRGC-led
children working in Iran, but media suggest there are approximately
                                                                                Zaynabiyoun Brigade in Syria. According to a November 2020 media
seven million children “sold,” “rented,” or sent to work in Iran. Most
                                                                                report, the IRGC reportedly established three centers located in Al
of these children are reportedly between the ages of 10-15 years old,
                                                                                Mayadin to facilitate recruitment and training of Syrian youth from Dayr
and the large majority are foreigners with no official identiﬁcation
                                                                                az Zawr to ﬁght in the IRGC and affiliated militias in Syria. Established
documents. The number of children working in transport, garbage
                                                                                in 2019, the largest center reportedly houses 250 children between the
and waste disposal, “dumpster diving,” car washing, brick factories,
                                                                                ages of 13-18 years; the children undergo three months of training in
construction, and the carpet industry reportedly continues to increase;
                                                                                preparation for combat. In addition, the Iranian government provides
these children experience abuse and withheld wages and may be
                                                                                funding to militias operating in Iraq, and to Asa’ib Ahl al-Haq (AAH)
exposed to infectious diseases—all indicators of forced labor. Young
                                                                                and Harakat Hezbollah al-Nujaba (HHN), which recruit, train, and use
Afghan children, mainly boys, are forced to perform cheap labor and
                                                                                child soldiers in combat in Iraq, Syria, and Yemen.
domestic work, which often involves debt-based coercion, restriction
of movement, non-payment of wages, and physical or sexual abuse.
Criminal groups kidnap or purchase and force Iranian and migrant
children, especially undocumented Afghan children, to work as beggars
and street vendors in cities, including Tehran. These children, who may          IRAQ: TIER 2
be as young as three years old, are routinely subjected to physical and
sexual abuse and drug addiction. Orphaned children are vulnerable to            The Government of Iraq does not fully meet the minimum standards for
criminal begging rings that maim or seriously injure the children to gain       the elimination of trafficking but is making signiﬁcant efforts to do so.
sympathy from those passing on the street. Poor families “rent” their           The government demonstrated overall increasing efforts compared with
children by the day to criminal groups that force the children, some as         the previous reporting period, considering the impact of the COVID-19
young as ﬁve years old, to beg in the street; if the children do not collect    pandemic on its anti-trafficking capacity; therefore Iraq remained on Tier
a speciﬁed amount of money by the end of the day, the groups force              2. These efforts included prosecuting more traffickers and continuing
children to work in illegal workshops or exploit them in commercial sex.        to investigate allegedly complicit officials; the Kurdistan Regional
Reports indicate that organized gangs force some children, including            Government (KRG) convicted traffickers under its anti-trafficking law
Afghan children, to engage in crimes, such as drug trafficking and              for the ﬁrst time and added additional specialized anti-trafficking
smuggling of fuel and tobacco. Some Afghan children, ranging from               units to two new independent administrations in the autonomous Iraqi
ages 14-17, use smugglers to transport them from Afghanistan to Iran            Kurdistan Region (IKR). The government also identiﬁed more victims
in search of work; once in Iran, smugglers turn the children over to            and continued to refer some victims to NGOs for care. Additionally,
employers who force them to work. The increase in Afghan migrants               the government took action to lessen the vulnerability to trafficking
entering Iran, following the Taliban’s takeover in August 2021, likely          of Iraqi migrants en route to Europe, as well as Iraqi refugees residing
includes a greater number of unaccompanied and undocumented                     in camps in Syria, and ﬁnalized an action plan to prevent the forced
Afghan children seeking employment in Iran, which may increase their            recruitment and use of child soldiers in armed conﬂict. However, the
vulnerability to exploitation.                                                  federal government and KRG did not meet the minimum standards in
                                                                                several key areas. Deﬁciencies in identiﬁcation and referral procedures,
Foreign workers, Pakistani migrants, and Afghan migrants and refugees
                                                                                coupled with authorities’ lack of understanding of trafficking, continued
are highly vulnerable to forced labor and debt-related coercion in Iran.
                                                                                to prevent many victims from receiving appropriate protection services.
In the wake of the Taliban seizing control of Afghanistan in August 2021,
                                                                                                                                  Haiti AR_000772               291
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 397 of 729
IRAQ   Authorities did not proactively identify trafficking victims among             particularly in the judiciary, continued to hamper its implementation.
       vulnerable populations, which resulted in the continued punishment of          In December 2020, the Ministry of Interior (MOI) submitted a draft
       some victims for unlawful acts traffickers compelled them to commit,           amendment to the 2012 anti-trafficking law that included provisions to
       such as immigration and “prostitution” violations. The government also         establish a specialized court in each appellate jurisdiction, establish a legal
       lacked adequate protection services for victims of all forms of trafficking    defense fund to assist victims, require referral of all victims to state-run
       and did not have any shelter for adult male and LGBTQI+ victims. Lastly,       shelters, allow for issuance of residency visas to all trafficking victims,
       the government investigated fewer trafficking cases and convicted              prohibit penalization of victims for any criminal charges resulting from
       fewer traffickers compared with previous years.                                their trafficking, and strengthen legal penalties for trafficking offenses
                                                                                      to allow for seizure of perpetrator’s assets. At the close of the reporting
                                                                                      period, the draft amendment was under consideration by the Council
                IRAQ TIER RANKING BY YEAR
                                                                                      of Ministers for review and revision before it would be reviewed by the
            1
                                                                                      Council of Representatives (COR).
            2
                                                                                      For the ﬁrst time, the Iraqi government reported the type of trafficking
         2WL                                                                          crimes for which alleged perpetrators were investigated and prosecuted.
            3                                                                         In 2021, the MOI’s anti-trafficking unit initiated investigations of 183
                   2015     2016      2017   2018   2019   2020     2021     2022     individuals; 169 were investigated for sex trafficking, and 14 were
                                                                                      investigated for forced labor. The anti-trafficking unit also continued
                                                                                      investigations of 119 individuals for sex trafficking and 10 individuals
                                                                                      for forced labor in ongoing cases from the previous reporting period.
       PRIORITIZED RECOMMENDATIONS:                                                   In total, the government investigated 312 individuals during the year, a
       Ensure trafficking victims are not punished for unlawful acts traffickers      decrease compared with the investigations of 394 alleged traffickers
       compelled them to commit, such as “prostitution” and immigration               during the previous reporting period. Authorities referred 184 individuals
       violations. • Develop and institute guidelines for proactive victim            for prosecution under the 2012 anti-trafficking law, including 163 alleged
       identiﬁcation and referral to protection services for all relevant officials   sex traffickers and 21 alleged labor traffickers; this was a large increase
       and train officials on these procedures. • Allow all relevant authorities      from 35 individuals referred for prosecution in 2020. The government
       to officially identify potential trafficking victims and refer them to         convicted 83 traffickers under the anti-trafficking law and additional
       care, not solely investigative judges via a court order. • Ensure victim       trafficking-related laws, a decrease compared with 127 traffickers
       identiﬁcation and protection measures are provided independent of the          convicted during the previous reporting period. Of the 83 convictions,
       prosecution of a trafficker. • Signiﬁcantly increase unhindered access         77 individuals were convicted for sex trafficking, and six individuals
       to adequate protection services for victims of all forms of trafficking        were convicted for forced labor. Courts sentenced the traffickers from
       and their children, including trauma and psycho-social counseling,             six years to life imprisonment, while an unknown number of traffickers
       medical care, long-term shelter, legal aid and support, translation and        in two cases received the death penalty. As in the previous reporting
       interpretation services, reintegration services, employment training,          period, the KRG did not report the number of individuals investigated
       and ﬁnancial assistance. • Protect victims from re-traumatization              during the year. However, during the year, one NGO reported the
       during trial, including by allowing alternative means for victim and           KRG prosecuted 12 sex traffickers, including two ongoing cases from
       witness testimony. • Increase efforts to investigate, prosecute, convict,      the previous reporting period. The KRG did not report achieving any
       and stringently sentence traffickers, including complicit government           prosecutions in the previous reporting period. The KRG had historically
       officials and staff and guards at government-run shelters, even when           not reported any convictions under its anti-trafficking law; however,
       victims do not participate in legal proceedings against their trafficker(s).   for the ﬁrst time, the government convicted six sex traffickers; of the
       • Establish a legal framework for NGOs to operate shelters for victims         six, two were Iraqi nationals, and four were foreign nationals. The Iraqi
       and provide ﬁnancial resources, facilities, and trained personnel to           nationals received sentences of six months’ imprisonment, while the
       such organizations. • Prevent the unlawful recruitment or use of child         foreign nationals received the same sentence and extradited to their
       soldiers by all armed groups under its control, including units of the         country of origin.
       Popular Mobilization Forces (PMF), and provide appropriate protection
                                                                                      Serious concerns of alleged official complicity in trafficking crimes
       services to demobilized child soldiers. • Amend the anti-trafficking law
                                                                                      remained, although the government continued to take some action to
       to ensure that a demonstration of force, fraud, or coercion is not required
                                                                                      address such reports. During the year, the MOI investigated 12 cases
       to constitute a child sex trafficking offense, in accordance with the 2000
                                                                                      in which members of the Iraqi Security Forces (ISF), speciﬁcally MOI
       UN TIP Protocol. • Finalize regulations to enable full implementation
                                                                                      police officers, were investigated for sex trafficking; the government
       of the anti-trafficking law.
                                                                                      did not report the outcome of these investigations at the close of the
                                                                                      reporting period. In previous reporting periods, observers and an
       PROSECUTION                                                                    international organization reported official complicity in the recruitment
       The Iraqi government increased overall law enforcement efforts. Iraq’s
                                                                                      or use of child soldiers by non-compliant militia units affiliated with the
       2012 anti-trafficking law criminalized forced labor and some forms of
                                                                                      Popular Mobilization Forces (PMF) that operated under the Popular
       sex trafficking. Inconsistent with the deﬁnition of trafficking under
                                                                                      Mobilization Committee (PMC), a component of the ISF. In 2021, there
       international law, the anti-trafficking law required a demonstration of
                                                                                      were no reports of official complicity in the recruitment or use of child
       force, fraud, or coercion to constitute a child sex trafficking offense
                                                                                      soldiers. Some NGOs continued to report that government officials in
       and therefore did not criminalize all forms of child sex trafficking. The
                                                                                      key positions protected traffickers from investigation and prosecution
       anti-trafficking law prescribed penalties of up to 15 years’ imprisonment
                                                                                      or avoided prosecution themselves due to their positions of power
       and a ﬁne for trafficking offenses involving adult male victims and up
                                                                                      and political connections. For example, NGOs reported at least one
       to life imprisonment and a ﬁne if the offense involved an adult female
                                                                                      government official from KRG Ministry of Labor and Social Affairs’
       or child victim. These penalties were sufficiently stringent, and with
                                                                                      (KMOLSA) Directorate of Labor was allegedly bribed to authorize the
       respect to sex trafficking, commensurate with penalties prescribed
                                                                                      establishment and licensing of recruitment agencies and companies
       for other serious crimes, such as rape. Article 399 of the penal code
                                                                                      to bring in foreign workers to the IKR and authorize work permits for
       criminalized “the prostitution of a child” and provided a penalty of up to
                                                                                      individual workers; the companies and recruitment agencies allegedly
       10 years’ imprisonment, which was sufficiently stringent, although not
                                                                                      exploited foreign workers by refusing to issue valid residency documents,
       commensurate with the penalties prescribed for rape. The government
                                                                                      threatening workers and their families in cases where a worker ﬁled a
       continued to lack implementing regulations for the anti-trafficking law,
                                                                                      complaint against the company or raised issues about work conditions
       hindering its ability to enforce the law, bring traffickers to justice, and
                                                                                      and prevented workers from obtaining legal counsel in disputes. The
       protect victims. The KRG has not yet developed the regulatory and
                                                                                      KMOLSA official allegedly helped previously blacklisted companies
       enforcement framework required to fully implement the 2012 Iraqi anti-
                                                                                      re-open under new names and took action to prevent the companies
       trafficking law, which the IKR’s regional parliament approved in 2018.
                                                                                      from ﬁnancial penalties. NGOs reported the KRG was investigating the
       Further, NGOs noted that the KRG’s insufficient knowledge of the law,
292                                                                                                                                  Haiti AR_000773
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 398 of 729




                                                                                                                                                                 IRAQ
case and it remained ongoing at the close of the reporting period. The        labor, (including two children), and 26 victims of unspeciﬁed exploitation
government did not report efforts to investigate or prosecute continued       (two adult males, seven adult females, and 17 children). This was an
allegations that security and camp management personnel in IDP camps          increase from the previous reporting period when the MOI identiﬁed 58
were complicit in the sexual exploitation and trafficking of women and        trafficking victims. Of the 81 identiﬁed victims in this period, the Iraqi
girls, particularly those with ties to alleged ISIS members.                  government referred 27 victims to the MOLSA-run trafficking shelter in
                                                                              Baghdad. The government also referred 35 foreign trafficking victims
The MOI’s anti-trafficking directorate continued to report that its many
                                                                              to an NGO for shelter. The remainder of the identiﬁed victims were
responsibilities limited its ability to conduct trafficking investigations;
                                                                              referred to healthcare facilities or requested to stay with family. For
lack of resources, budgetary constraints due the country’s ﬁnancial
                                                                              the ﬁrst time, the KRG reported victim identiﬁcation and referral data;
crisis, ongoing government formation following October 2021 elections
                                                                              the KRG identiﬁed 77 victims, including 34 labor trafficking victims (32
and weak coordination among governmental ministries also hindered
                                                                              females and two males) and 43 foreign national victims of an unspeciﬁed
overall law enforcement efforts. Additionally, Iraqi government and KRG
                                                                              exploitation. The KRG reported that of the 77 victims, it referred 72
officials—including police officers and investigative judges—continued to
                                                                              victims to protective services.
lack a general understanding of trafficking and the ability to recognize
trafficking indicators. Local NGOs also reported KRG law enforcement          The Iraqi government remained without systematic victim identiﬁcation
lacked a clear reporting system for trafficking crimes, and many              guidelines for all officials, including ﬁrst responders, who came in contact
government actors tasked with handling trafficking lacked specialized         with potential trafficking victims among vulnerable groups, including
training for identifying and investigating potential cases. Despite these     undocumented foreign migrants and persons in commercial sex. The
limitations, the Iraqi government and the KRG took steps to address some      Iraqi government also did not have a national referral mechanism
of these shortfalls during the reporting period. In August 2021, the KRG      (NRM); the government continued to have an ad hoc referral process.
Ministry of Interior (KMOI) changed the title of the Directorate to Combat    However, during the reporting period, an international organization
Trafficking in Persons (DCTIP) to the Directorate of Combating Organized      coordinated with the Ministry of Migration and Displacement (MOMD)
Crimes (DCOC) via Ministerial Decree no. 29 of 2021; the KRG asserted         to address capacity gaps in referral mechanisms; with support from
that restructuring the DCOC signaled the exertion of greater efforts to       an international organization, the MOMD piloted an NRM in Ninewa
address trafficking by giving the new office a broader mandate for related    governate in 2020 and Al Anbar governate in 2021. Civil society
crimes, such as money laundering and terror ﬁnancing. However, NGOs           organizations reported some Iraqi officials, including district-level
and other activists expressed concern that this change could further          police officers, did not proactively identify trafficking victims because
undermine an already under-staffed specialized trafficking office with        officials lacked a general understanding of the crime. NGOs reported
additional responsibilities. During the previous reporting period, the        some police officials proactively identiﬁed foreign labor trafficking
KRG established fully operational anti-trafficking police units in all four   victims, but they did not adequately screen for victims among Iraqi
governates of the IKR, as well as in the two independent administrations      citizens, including those that were internally displaced, or during
of Garmiyan and Raparin. In 2021, the KRG approved two new DCOC               investigations of commercial sex crimes. Investigative judges were the
units for the newly independent administrations in Soran and Zakho,           only officials who could officially identify and refer a trafficking victim
adding to the six units which operated under the newly-created DCOC.          to protection services via a court order, including the government-run
However, due to budgetary constraints and pandemic-related delays,            shelter in Baghdad; however, because judges required victims to testify
the KRG was unable to open a specialized court to handle trafficking-         in front of their perpetrators in court, many victims did not come forward
related cases as planned in 2021. The Iraqi government also continued         due to fear of retaliation. Because of this requirement and the resulting
to utilize MOI’s anti-trafficking directorate; which received additional      absence of victim witnesses, judges determined in many cases there was
resources and staffing in the previous reporting period, including the        insufficient evidence to officially classify a person as a trafficking victim,
addition of several specialized units—one that focused on professional        thereby denying victims’ access to protection services. An international
training for all staff, run by specialized investigators and educators        organization noted successful victim identiﬁcation was strongly linked
with expertise in trafficking crimes, and another focused on tracking         to the capacity and experience of individual investigative judges.
potential trafficking crimes perpetrated through social media, a trend        Furthermore, the Iraqi government did not have specialized judges or
that increased due to the pandemic.                                           courts that were trained or dedicated to handling trafficking cases; both
                                                                              NGOs and international organizations continued to report that the lack
An international organization reported the Iraqi government did
                                                                              of specialized investigative judges hindered the official determination
not provide specialized training to officials on trafficking policies,
                                                                              of trafficking victims, and so some victims may have been unidentiﬁed
enforcement, or laws due to limited funding and resources. The MOI’s
                                                                              and unable to receive protection services. NGOs and an international
Training and Rehabilitation Directorates routinely delivered training to
                                                                              organization continued to report authorities frequently held trafficking
police officers that included modules on anti-trafficking. Otherwise,
                                                                              victims in detention facilities while an investigative judge determined
the Iraqi government received extensive support for training and
                                                                              their status as a victim; due to pandemic-related postponed court
capacity-building from NGOs and international organizations; this
                                                                              proceedings, authorities held some victims for extended periods of time
included training for lawyers, law enforcement officials, judges, and
                                                                              without the ability to receive protection services. The KRG reported
prosecutors on victim-centered approaches in legal proceedings. As
                                                                              victims could be identiﬁed through management offices at refugee and
part of its renewed partnership with an Erbil-based NGO to continue
                                                                              IDP camps, hotlines, foreign embassies and the public and then referred
shelter operations, the KRG funded training on victim identiﬁcation that
                                                                              to the appropriate law enforcement agency, including the specialized
was facilitated by the NGO. Additionally, in the IKR, several NGOs and
                                                                              anti-trafficking police in IKR. However, just as in Federal Iraq, in the IKR,
an international organization conducted trainings and capacity-building
                                                                              specialized judges also retained the authority to refer victims to shelter,
programs for staff of the DCOC through funding by KMOI and other
                                                                              and IKR NGOs reported similar concerns that some victims may have
foreign governments. KRG officials also received extensive and in-depth
                                                                              been unable to receive access to the shelter and protective services
training from an Erbil-based NGO on victim identiﬁcation, screening,
                                                                              during the year if they were not recognized as a victim by a judge.
referral to shelter, providing access to justice for victims, and overall
protection needs; members of DCOC’s anti-trafficking police, the Erbil        Some officials continued to criminalize and punish trafficking victims.
Residency Directorate, KMOLSA, Department of Foreign Relations (DFR),         Authorities arrested, imprisoned, deported, and ﬁnancially penalized
and the Independent Human Rights Commission (IHRC) participated in            trafficking victims in Iraq, including in the IKR, for unlawful acts traffickers
the trainings. An NGO noted this was the ﬁrst time DFR and IHRC staff         compelled them to commit, such as “prostitution” and immigration
participated in an anti-trafficking training.                                 violations. Foreign migrant workers, including foreign labor trafficking
                                                                              victims, faced regular discrimination in the criminal justice process,
PROTECTION                                                                    revictimization, and retaliation from traffickers. During the reporting
The government increased overall efforts to protect victims. The MOI          period, NGOs noted that even in cases where victims were correctly
reported it identiﬁed 81 trafficking victims, which included 38 victims       identiﬁed as such after being screened for trafficking indicators, some
of sex trafficking (16 adult female, three adult male, four adults who        continued to be detained for engaging in commercial sex, begging,
identiﬁed as LGBTQI+ persons, and 15 children), 17 victims of forced          pursuing unauthorized work, or for having an irregular status. For
                                                                                                                                  Haiti AR_000774                293
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 399 of 729
IRAQ   example, one NGO reported assisting at least seven individuals who             and facilitating repatriation to the victims’ countries of origin. In 2020,
       had been screened and identiﬁed as trafficking victims by authorities          MOLSA reportedly developed a distinct case management system and
       and subsequently deported rather than referred to care and assisted in         clinical psychology tracks for different categories of trafficking victims
       their voluntary repatriation. Police at times inappropriately arrested and     and provided vocational training to trafficking victims. Although it did
       detained foreign trafficking victims, rather than the perpetrators, after      not report the extent to which the case management system was utilized,
       employers and recruitment agents ﬁled false claims of theft against the        MOLSA reported victims were provided vocational training at the shelter
       victim in retaliation for the victim reporting allegations of trafficking      during the year. In most cases, officials did not allow female victims to
       to the police. Although employers were legally responsible to pay              freely enter and exit shelters because they were referred via a court
       immigration fees or expenses related to foreign worker recruitment under       order, and officials limited victims’ ability to communicate with anyone
       Iraq’s sponsorship system, in practice authorities penalized workers,          outside of the shelters. An international organization reported foreign
       including identiﬁed and unidentiﬁed trafficking victims, for failing to        victims could not easily access services outside of the shelter while
       pay. An international organization reported officials sometimes waived         they awaited repatriation; instead, foreign victims often relied on their
       residency ﬁnes, but the decision-making process appeared arbitrary             embassies for support. The embassies of the Philippines, Bangladesh,
       and highly dependent on the individual official. In March 2020, the            and Indonesia reportedly provided shelter for their nationals while
       Higher Judicial Council (HJC) advised its judges to waive all ﬁnes for         they awaited repatriation. In contrast, the government reported foreign
       trafficking victims who were in violation of Iraq’s residency laws; however,   victims and Iraqi victims were legally entitled to the same beneﬁts, and
       the Iraqi government did not report if any trafficking victims who had         the MOI reported providing identical physical and mental services and
       violated residency laws had ﬁnes waived. Another NGO reported that             legal assistance to both Iraqi and non-Iraqi citizen trafficking victims.
       within IKR, KRG authorities also improved the process for waiving ﬁnes
                                                                                      During the previous reporting period, an NGO reported allegations
       that trafficking victims would otherwise be subject to for working in
                                                                                      that staff and guards at Iraqi government-operated shelters abused
       Kurdistan without legal documentation; however, as this process was
                                                                                      trafficking victims; to address this, MOLSA installed a monitoring
       informal, some trafficking victims may not have beneﬁtted from the
                                                                                      system to prevent any violations by shelter staff against victims—in
       change. In 2021, 32 potential trafficking victims in the IKR had ﬁnes
                                                                                      addition to conducting physical checks when the victims were admitted
       waived or adjudicated through comprehensive case management and
                                                                                      to the facility and discharged—in order to detect and document any
       legal support from a local NGO. NGOs continued to report the Iraqi
                                                                                      potential abuse against the shelter occupants. No allegations of abuse
       government and KRG increasingly recognized that people arrested
                                                                                      by staff or guards were reported during the year, and MOLSA reported
       for “prostitution” crimes could be victims of trafficking and should be
                                                                                      the monitoring system continued to be utilized. The Iraqi government
       treated as such; however, despite these improvements, other NGOs
                                                                                      did not provide specialized care for rape victims, including trafficking
       reported authorities continued to charge sex trafficking victims on
                                                                                      victims who were also victims of rape. The government reported that
       “prostitution” violations. In April 2021, Kurdish security forces arrested
                                                                                      in cases of Iraqi victims of rape or sexual exploitation, due to social
       15 individuals suspected of being LGBTQI+ persons for “immorality” and
                                                                                      norms, victim’s family members often attempted to convince them to
       on “prostitution” charges but failed to screen for trafficking indicators
                                                                                      leave the MOLSA shelter and drop any charges to avoid shame. For
       and therefore may have penalized potential sex trafficking victims. In
                                                                                      such cases, the government continued to operate 16 Family Protection
       addition, Iraqi and KRG authorities continued to inappropriately detain
                                                                                      Units across federal Iraq that focused on family reconciliation for
       and prosecute without legal representation children allegedly affiliated
                                                                                      victims of trafficking or other abuse, such as rape. NGOs continued to
       with ISIS—some of whom were victims of forcible recruitment and
                                                                                      report that the largest gap in victim service provision was the lack of
       use—and used abusive interrogation techniques and torture to obtain
                                                                                      specialized trafficking shelters in the country. The Iraqi government did
       confessions; the Iraqi government did not report screening these
                                                                                      not report providing funding or in-kind assistance to NGOs that provided
       children as potential trafficking victims or referring them to protection
                                                                                      victim care; however, NGOs and international organizations reported
       services. As of December 2021, an international organization reported
                                                                                      the government fully cooperated with civil society actors, especially
       at least 1,267 children, some as young as nine years of age, remained in
                                                                                      regarding victim services for foreign trafficking victims. In 2021, the
       detention in Iraq for periods ranging from three to ﬁve years, including
                                                                                      Iraqi government repatriated 338 Iraqi refugee families from al-Hol
       for alleged association with armed groups, primarily ISIS.
                                                                                      camp in Syria to a transit camp in Iraq; the government ensured the
       The Iraqi government provided limited protection services to trafficking       repatriated families received humanitarian assistance, case management,
       victims and did not operate shelters speciﬁcally for male trafficking          and psycho-social support, including family tracing and reuniﬁcation
       victims. By law, the Iraqi government was the only authority permitted         services for unaccompanied and separated children, all who were
       to provide shelter to trafficking victims; its shelter served women and        vulnerable to trafficking. The Iraqi government did not report efforts
       children, including victims of trafficking and survivors of gender-based       to provide protection services to demobilized child soldiers of ISIS, the
       violence. However, NGOs reported the shelter lacked capacity to care for       PMF, or other armed groups, thus failing to prevent revictimization or
       child trafficking victims, who were instead sent to the MOLSA orphanage,       re-recruitment of these children. However, in June 2021, the Iraqi Council
       and minority communities, including those who identiﬁed as LGBQTI+             of Ministers submitted a draft law on child protection to the COR, which
       persons. In 2021, a local NGO reported the Iraqi government relied on          aimed to protect children from all forms of violence and exploitation, in
       donations from civil society and international organizations to fund           addition to criminalizing enslavement, coercion to work, or involvement
       the government shelter; in the previous year, the government allocated         in armed conﬂict, and outlined protection services for children who
       funds from MOI and MOLSA accounts to support protections services.             were victims of such situations. The law had not been ﬁnalized at the
       MOLSA continued to operate a trafficking shelter in Baghdad for female         close of the reporting period.
       and child trafficking victims; during the reporting period, 27 trafficking
                                                                                      The KRG continued to operate four domestic violence shelters in the
       victims utilized the shelter, an increase from 18 victims that were assisted
                                                                                      IKR for women; the shelters could provide limited services to female
       at the shelter in the previous reporting period. MOLSA—in coordination
                                                                                      trafficking victims. Victims needed to obtain a court order to leave the
       with the Ministry of Health (MOH)—reported it provided victims at the
                                                                                      shelters, which signiﬁcantly restricted their movement, and shelter space
       shelter with psycho-social, trauma, and reintegration services; medical
                                                                                      was limited. The KRG did not report how many trafficking victims received
       care; and long-term shelter; MOH reported it dedicated two doctors for
                                                                                      services at these shelters during the reporting period. Since November
       trafficking victims at the shelter. NGOs and an international organization
                                                                                      2019, the KRG allowed an Erbil-based NGO to operate the ﬁrst and only
       reported that overall services fulﬁlled victims’ basic physical needs, but
                                                                                      trafficking shelter in the IKR. In December 2021, the KRG renewed its
       a lack of resources, staffing, and case management training limited
                                                                                      partnership with the NGO to operate the shelter through December
       shelter staff’s ability to provide psycho-social and medical care and
                                                                                      2022; the renewed partnership continued to support comprehensive
       vocational training speciﬁcally for trafficking victims. Furthermore, an
                                                                                      case management, as well as legal, health, and mental health services,
       international organization reported the MOLSA shelter only provided
                                                                                      and expanded psycho-social support programming. The shelter could
       basic services and referred cases to other organizations for speciﬁc
                                                                                      house as many as 38 victims at one time and was almost always at
       protection needs. Moreover, foreign trafficking victims were frequently
                                                                                      capacity; during the reporting year, 58 trafficking victims received
       referred to an international organization for assistance, including shelter
                                                                                      shelter services. The KRG continued to facilitate the release of Yezidis

294                                                                                                                                Haiti AR_000775
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 400 of 729




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held captive by ISIS, most of whom were likely trafficking victims, and          ways to advocate for policies and procedures to improve protection of
reported it coordinated with NGOs and an international organization to           victims and increase the prosecution of traffickers. During the year, an
provide essential psycho-social and protective services to these victims.        NGO facilitated the committee’s ﬁrst meeting in 18 months and reported
                                                                                 working with the committee to draft a 2022-2025 NAP. The CCCT also
Neither the Iraqi government nor the KRG provided adequate
                                                                                 worked closely with an NGO to create a network of local NGOs, lawyers,
protections to victims or witnesses to encourage their assistance
                                                                                 and social workers in each Iraqi governate and connected with the MOI’s
in investigations and prosecutions of traffickers. However, the MOI
                                                                                 anti-trafficking directorate to establish and reﬁne referral mechanisms,
reported 19 identiﬁed victims voluntarily assisted law enforcement
                                                                                 improve service provision for victims, and empower local civil society
authorities during the investigation and prosecution of their traffickers.
                                                                                 organizations to combat trafficking.
Civil society organizations, including the Iraqi Bar Association, reported
they provided free attorneys to represent foreign workers in court               During the reporting period, the MOI’s anti-trafficking directorate and
proceedings. The Iraqi government did not allow trafficking victims to           the CCCT conducted a nationwide awareness campaign that included
work, move freely, or leave the country during trials. The MOI reported          publishing stories about trafficking on national media outlets and
any foreign or Iraqi trafficking victim could ﬁle a civil lawsuit against        government-run radio to highlight the warning signs of the crime; it
a trafficker but did not report if any victims ﬁled during the reporting         also advertised its anti-trafficking hotline and posted information at
period. NGOs reported government compensation was available to                   hospitals, markets, border crossings and security checkpoints, airports,
victims but took an extended period of time to obtain and, likely due            police stations, and transportation hubs. As in the previous reporting
in part to authorities’ poor investigative techniques and overall lack of        period, the Ministry of Transportation reported it continued to work
protections provided to victims during trial, was almost impossible for          with bus companies and airlines to raise awareness about trafficking.
victims to pursue successfully. Courts did not protect the privacy or            In the IKR, the DCOC used its specialized trafficking unit to provide
identity of victims when testifying against the trafficker; NGOs reported        seminars, campaigns, and sessions for community members and foreign
courts required victims to testify in front of their traffickers, as well as,    workers to raise awareness of trafficking; an NGO reported that the
at times, in front of an entire courtroom of other people waiting for            Residency Directorate in Erbil developed awareness materials to be
their cases to be heard. Iraqi courts also did not provide translation and       distributed to foreign workers upon arrival at the airport warning of
interpretation services for foreign trafficking victims, which delayed           the signs of trafficking. The MOI continued to operate a 24-hour anti-
cases for months; in some cases, courts used unqualiﬁed interpreters,            trafficking hotline, and the MOI continued to use a public email address,
which harmed the credibility of victims’ testimonies. Furthermore,               launched in the previous reporting period, to receive trafficking tips; the
NGOs reported that even when a victim did not want to pursue legal               government did not report how many inquiries the hotline or the email
proceedings against a trafficker, some victims could be required by              address received nor if any resulted in investigations or prosecutions of
the government to participate by providing testimony or serving as a             trafficking crimes. In the previous reporting period, the MOI’s hotline
prosecution witness in other trafficking cases, possibly contributing to         received 169 calls, which resulted in 35 alleged trafficking cases and
further trauma for the victim. Labor and criminal courts in the IKR did          10 convictions. An international organization also reported the MOI’s
not provide translation and interpretation services for foreign workers,         hotline was only available in Arabic, which limited its accessibility for
including foreign labor trafficking victims, creating difficulties for victims   foreign trafficking victims. The KRG operated its own service line in the
suing abusive employers or ﬁling criminal charges. Although the Iraqi            IKR where trafficking victims could theoretically seek assistance and
anti-trafficking law allowed for the government to provide special               report labor abuses, but it did not report how many alleged trafficking
residency status beneﬁts to foreign trafficking victims, the government          cases it received through the service line during the reporting period.
did not report offering this assistance to any victims. The KRG did not          However, an NGO reported that this service line was not public or
offer special residency status to victims during the reporting period            publicized and no hotline existed speciﬁcally for trafficking victims.
either, but it reportedly continued to refrain from deporting victims.           An Erbil-based NGO also operated a general service line, available for
The Iraqi government and the KRG provided foreign victims relief from            victims of trafficking and gender-based violence and other vulnerable
deportation or offered legal alternatives to their removal to countries in       populations; 20 victims were identiﬁed and referred to care via the
which they may have faced hardship or retribution. NGOs reported that            NGO’s hotline.
repatriation efforts for trafficking victims continued to be impacted by the
                                                                                 The Iraqi government and the KRG continued to cooperate with each
pandemic; complex and expensive testing and quarantine requirements
                                                                                 other to maintain an online visa system to track migrant workers and
delayed repatriation and some countries required their nationals to be
                                                                                 their sponsoring companies to prevent employers from committing
fully vaccinated prior to returning home. Despite these obstacles, the
                                                                                 labor abuses; the government reported the system could automatically
Iraqi government and KRG reportedly cooperated with an international
                                                                                 block any single individual or company from sponsoring more than
organization and NGOs to repatriate around 125 foreign trafficking
                                                                                 50 foreign laborers. In June 2021, MOLSA referred 400 private sector
victims and more than 3,000 vulnerable Iraqi migrants returning from
                                                                                 companies to the labor courts for violating the allowed percentage of
the Belarusian-Polish border and the Belarusian-Lithuanian border
                                                                                 hired migrant workers; however, the ministry also deported thousands of
following an outﬂow of migrants from the country attempting to travel
                                                                                 workers associated with these companies and did not report screening
to Europe during the reporting period.
                                                                                 them for trafficking indicators prior to deportation, which may have
                                                                                 penalized some unidentiﬁed victims. The KRG reported challenges
PREVENTION                                                                       tracking migrant workers hired by employers and companies that
The government increased efforts to prevent human trafficking. The
                                                                                 used fake or fraudulent registrations and others who acted as agents,
government’s Central Committee to Combat Human Trafficking (CCCT)
                                                                                 sponsoring foreign labor visas before ultimately hiring the workers to
continued to be led by MOI and included representatives from the MOH,
                                                                                 third party companies for proﬁt. Although the KRG prohibited “pre-
Ministry of Foreign Affairs, Ministry of Finance, Ministry of Displacement
                                                                                 payment employment,” recruitment agencies were able to deduct up
and Migration, MOLSA, Ministry of Justice, the HJC, the Council of
                                                                                 to 25 percent of a worker’s ﬁrst paycheck as a service fee for facilitating
Ministers General Secretariat (COMSEC), and Iraq’s Independent High
                                                                                 employment, which may have increased the vulnerability of workers
Commission for Human Rights (IHCHR), as well as three representatives
                                                                                 to exploitation and debt bondage. The Iraqi government reported it
from the KRG; the committee met three times during the reporting
                                                                                 regulated labor recruitment and placement of foreign workers through
period. The KRG’s anti-trafficking committee—established in 2016—which
                                                                                 MOI’s Residency Office and MOLSA, where recruitment agents or private
was led by the KMOI and included 17 government ministries and an
                                                                                 citizens working as lawyers licensed by the government sponsored
international organization as an observer, met at least once during the
                                                                                 workers. Under this sponsorship system, a worker could not change
reporting period. The KRG reported the newly created DCOC was also
                                                                                 employers until completing two years of work with a sponsor, unless
represented in the committee. The Iraqi government maintained a 2019-
                                                                                 the worker had a complaint of poor treatment or abuse. However,
2021 national action plan (NAP) but acknowledged that the pandemic
                                                                                 even in cases where an employee had a legitimate complaint, NGOs
delayed its implementation. However, the CCCT actively increased its
                                                                                 and an international organization reported the employee was often
engagement and coordination with civil society organizations in an
                                                                                 relocated to a new employer and authorities rarely held the abusive
effort to advance the NAP; including meeting with an NGO to discuss
                                                                                 employer accountable. An international organization also reported
                                                                                                                                  Haiti AR_000776              295
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 401 of 729
IRAQ   agencies that the government backlisted changed names frequently             There were no reports the Iraqi military or KRG security forces unlawfully
       to enable them to continue to operate, and in cases where an employer        recruited or used children in combat or support roles during the reporting
       was punished for abuse, it was common for a single perpetrator to be         period. However, the Iraqi government did not exercise complete control
       penalized rather than the entire company or agency. In the previous          over certain units of the PMF, which sometimes undertook operations
       reporting period, in an effort to improve the identiﬁcation of potential     independent of political leaders or military commanders. The Iraqi
       trafficking cases in instances of abuse or labor law violations, the HJC     government’s inter-ministerial senior committee—ﬁrst established in 2019
       allocated judges with greater knowledge and experience of trafficking        to monitor, evaluate, and report on children’s rights violations in conﬂict
       crimes in Iraqi labor dispute courts. NGOs also raised concerns the          zones in Iraq—continued to closely coordinate with an international
       KMOLSA’s regulation on foreign labor conﬂicted with its 2018 anti-           organization during the reporting period but did not report on actions
       trafficking law, particularly in the case of exploited workers who may       by the committee during the reporting period. MOLSA, in coordination
       be potential trafficking victims and, although they may be recognized        with an international organization, the government’s inter-ministerial
       as victims under the anti-trafficking law, they could be punished for        committee, and the PMC, developed and ﬁnalized a new action plan
       having an irregular status under the foreign worker regulations in the       to address the recruitment and use of children in armed conﬂict;
       IKR. Furthermore, NGOs reported regulations for recruitment agencies         implementation of the plan was scheduled to begin in January 2022.
       and employers were weak in the current law, which hindered KMOLSA
       from enforcing requirements and holding agencies and employers               TRAFFICKING PROFILE
       accountable for violations, including those that amount to trafficking       As reported over the past ﬁve years, human traffickers exploit domestic
       crimes. In an effort to improve the two laws, the KRG sought technical       and foreign victims in Iraq, and traffickers exploit victims from Iraq
       assistance from an Erbil-based NGO to analyze the government’s               abroad. The violent conﬂict with ISIS exacerbated the population’s
       proposed amendments to the law to ensure protection of the rights            vulnerability to trafficking, in particular women and children, although
       of foreign workers and agency and company accountability. At the             the government’s territorial defeat of the terrorist group, announced
       close of the reporting period, the draft amendments were pending             in December 2017, has improved conditions for Iraqi civilians. However,
       MOLSA’s legal advisor for review. The government reported it made            insecurity remained in many areas, including those liberated from ISIS
       efforts to reduce the demand for commercial sex acts by continuing           rule. As of December 2021, nearly ﬁve million Iraqis displaced as a result
       surveillance on social clubs, hotels, and massage parlors; increasingly,     of ISIS have returned to their areas of origin, whereas approximately
       MOI also conducted surveillance on coffee shops and cafeterias. In the       1.2 million remain in protracted displacement; about 80 percent have
       IKR, KMOI and Asayish security forces continued to monitor message           been displaced for more than three years, placing them at continued
       centers, cafes, bars, and hotels, locations often used for commercial sex.   risk of exploitation. As of February 2022, more than 180,000 IDPs were
       The government did not make efforts to reduce the demand for child           living in 26 formal camp locations in Iraq, and more than 100,000 are
       sex tourism. In the previous reporting period, the HJC directed courts       in informal settlements. Many of those that are displaced are female
       to use the anti-terrorism law to counter some forced marriage practices,     heads of households vulnerable to sexual exploitation and abuse due
       including fasliya and nahwa—a practice in which a family forces a woman      to their perceived affiliation with ISIS and lack of Iraqi identiﬁcation
       to marry one of her father’s cousins—which placed women and girls            documentation. In addition, more than 245,000 Syrian refugees remained
       at increased risk of trafficking. Unlike previous years, the government      displaced in Iraq, the vast majority in the IKR. With the defeat of the
       did not report investigating or prosecuting any individuals for nahwa        ISIS physical caliphate, the reported incidence of these violations has
       or fasliya. Neither the Iraqi government nor the KRG provided anti-          diminished. Between 2014 and 2018, ISIS militants kidnapped and held
       trafficking training to its diplomatic personnel.                            captive thousands of women and children from a wide range of ethnic
                                                                                    and religious groups, especially Yezidis, and sold them to ISIS ﬁghters
       During the reporting period, a large outﬂow of migrants, predominately
                                                                                    in Iraq and Syria, where ISIS ﬁghters subjected them to forced marriage,
       from the IKR, attempted to migrate to Europe via transit countries,
                                                                                    sexual slavery, rape, and domestic servitude. ISIS maintained an organized
       primarily Turkey and Belarus. Some migrants were reportedly lured
                                                                                    system to buy and sell women and girls for sexual slavery, including
       by government-controlled Belarusian travel agencies that promised
                                                                                    sales contracts notarized by ISIS-run courts. Media have reported
       travel to Minsk and ultimately access to the Belarusian-Polish border
                                                                                    ISIS sold some captives to wealthy individuals in Gulf countries, and
       or Belarusian-Lithuanian border to enter the EU. After arriving in Minsk
                                                                                    reports suggested some Yezidi captives were moved to Syria, Turkey,
       via plane, these migrants paid €15,000-€20,000 ($17,010-$22,680)
                                                                                    and Saudi Arabia. IKR-based civil society organizations also reported
       to be transported to border areas; hotels managed by the Belarusian
                                                                                    in 2018 that ISIS members and supporters kidnapped Yezidi children
       government hosted migrants before they were loaded onto buses or
                                                                                    for exploitation in Turkey. ISIS reportedly kidnapped 120 Turkmen
       taxis and brought to the border. Once at the border, media reports allege
                                                                                    children in 2014; they have reportedly been sold multiple times for the
       the migrants were left to cross the border into Poland or Lithuania; in
                                                                                    purpose of sexual exploitation, and only 20 of the kidnapped children
       some instances, migrants attempted to cross the border into Europe
                                                                                    were rescued by the end of 2018. Throughout 2015-2019, thousands
       multiple times without success and remained stranded between borders
                                                                                    of women and children escaped ISIS captivity—many of whom were
       with few resources, heightening their vulnerability to exploitation and
                                                                                    pregnant as a result of rape, forced marriage, and sex trafficking; these
       abuse. To address this increased vulnerability and prevent additional
                                                                                    women and girls, including IDPs among this population, remain highly
       migrants from entering such situations, the Iraqi government closed
                                                                                    vulnerable to various forms of exploitation, including re-trafficking.
       the Belarusian consulates in Erbil and Baghdad to reduce the issuance
                                                                                    Some Yezidi women and girls reside in Iraqi IDP camps or al-Hol camp
       of visas to Iraqis for entry into Belarus, canceled ﬂights between Iraqi
                                                                                    in Syria, where many reportedly continue to live with or near individuals
       airports and Minsk, and coordinated repatriation ﬂights for any Iraqi
                                                                                    that formerly exploited them under ISIS rule. As of early 2022, the KRG
       nationals stranded on the border or in Belarus, Lithuania, or Poland
                                                                                    reported 2,763 Yezidis—including adults and children—remain missing.
       to return home voluntarily. Between October and December 2021, the
                                                                                    Some reports indicate the missing women and girls remain held by ISIS
       Iraqi government, with an international organization, facilitated the
                                                                                    in northeastern Syria and Turkey or have been exploited in other parts
       return of more than 3,000 Iraqi nationals from Belarus to Iraq. Once
                                                                                    of the region, Europe, or Asia.
       Iraqi migrants returned to Iraq, an international organization observed
       that many of them faced situations of violence, abuse, and exploitation.     Children remain vulnerable to forcible recruitment and use by multiple
       In 2021, the Iraqi government repatriated 338 Iraqi refugee families         armed groups operating in Iraq, including—but not limited to—ISIS, the
       from al-Hol camp in Syria to a transit camp in Iraq. The government          PMF, tribal forces, the Kurdistan Worker’s Party (PKK), and Iran-backed
       ensured the repatriated families received humanitarian assistance, case      militias. Despite the defeat of the physical caliphate, ISIS continues to
       management, and psychosocial support, including family tracing and           abduct and forcibly recruit and use children in combat and support roles,
       reuniﬁcation services for unaccompanied and separated children, all          including as human shields, informants, bomb makers, executioners,
       who were vulnerable to trafficking.                                          and suicide bombers; some of these children were as young as eight
                                                                                    years old, and some were children with intellectual disabilities. Multiple
       Iraqi law prohibited compulsory or voluntary recruitment of any person
                                                                                    sources report the PKK and People’s Protection Units (YPG) operating
       younger than age 18 into the governmental armed forces, including
                                                                                    in the IKR and Sinjar continued to recruit and use children. In 2021, an
       governmental paramilitary forces, militia groups, or other armed groups.
                                                                                    unveriﬁed source reported that the PKK recruited dozens of children
296                                                                                                                              Haiti AR_000777
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 402 of 729




                                                                                                                                                              IRAQ
to prepare them for combat, including children from Kirkuk, Iraq.              the ages of 10-18 who were exploited in street-selling and hospitality,
Furthermore, unveriﬁed reports in 2021 alleged that Yezidi Resistance          including girls who were predominately forced into domestic work.
Forces and Yezidi Women’s Protection Units’ militias employed Yezidi           Iraqi refugees in Jordan are vulnerable to labor trafficking in Jordan’s
minors and teenage recruits in paramilitary roles in Sinjar. Local NGOs        informal labor sector, in part due to employers paying them less than
reported in 2018 that Yezidi militias in Sinjar recruited approximately 10     market wages and expecting them to work excessively long hours.
to 20 Yezidi boys, and NGO and local government contacts conﬁrmed
                                                                               Iraqi, Iranian, and Syrian women and girls, as well as LGBTQI+ persons
in 2018 that hundreds of Yezidi children had been recruited by the
                                                                               in the IKR and Federal Iraq, are particularly vulnerable to sex trafficking.
PKK-aligned Yezidi Civil Protection Units (YPS) and other PKK-affiliated
                                                                               LGBTQI+ individuals across all ethnic and religious groups remained at
militias. In 2018, civil society organizations reported the PKK recruited
                                                                               risk of sex trafficking primarily because of cultural stigmas. According to
and trained children from Sinjar, Makhmour, and other locations and
                                                                               IKR press reports, the collapse of Iran’s currency and economic slowdown
then sent them to bases in Sinjar, Turkey, and the Qandil Mountains
                                                                               spurred an inﬂux of more than 2,000 young Iranian women and girls
between Iraq and Iran.
                                                                               into the IKR in 2018, many of whom were victims of sex trafficking in
Since 2015, NGOs have reported some non-compliant, Iran-aligned                cafes, hotels, and massage centers. According to KRG law enforcement
PMF units recruit, use, and provide military training to children, though      in 2018, IKR-based taxi drivers allegedly facilitate the transportation of
the incidence of these reports has declined with the defeat of ISIS’           these women and girls from Iran to the IKR under the cover of tourism.
territorial presence in Iraq. In 2021, there were no reports of children       Numerous media reports from 2018 claim girls as young as 11 years
being recruited and used by the Iraqi government or the KRG. In 2018           old are observed in night clubs and casinos in Baghdad as waitresses,
and 2019, NGOs alleged that some PMF-affiliated militias, including            dancers, and in commercial sex; some militia groups, including AAH,
Iranian-backed Harakat Hezbollah al-Nujaba (HHN) and Asaib Ahl al-             reportedly provided security at these establishments and relied on them
Haq (AAH), recruited boys younger than the age of 18 to ﬁght in Syria          for income. NGOs reported in 2018 and 2019 that male sex traffickers in
and Yemen. In 2017, reports also indicated both the AAH and Kata’ib            the IKR use the threat of publicizing compromising photos of women
Hezbollah (KH) militias recruited and used child soldiers. Some of the         to sexually exploit or force them into commercial sex. The media
forces in the HHN, AAH, and KH militias operated under the umbrella            reported in 2018 trafficking gangs increasingly use social media sites,
of the PMF, but they generally operate outside of the command and              particularly Facebook, to buy and sell women and girls for sex and
control of the Iraqi government. Civil society organizations and local         labor exploitation. Reports from 2014-2017 suggested some Iraqi law
contacts reported in 2017 that posters commemorating children who              enforcement officials have allegedly frequented brothels known for sex
died while ﬁghting for Shia militias were commonplace in Shia-majority         trafficking or accepted bribes to allow sex trafficking. Foreign media
areas of Baghdad and throughout southern Iraq. Most of the children            reports from 2018 suggested a growing trend of child sex trafficking of
who were celebrated for ﬁghting allegedly fought for brigades of the           Iraqi girls ages 11-16 in Syria, Jordan, Saudi Arabia, Lebanon, and the UAE.
AAH and KH militias. Credible reporting in 2017 indicated Sunni tribal
                                                                               Traditional practices, including fasliya—the exchange of family members
militias recruited boys out of IDP camps, some of whom received military
                                                                               to settle tribal disputes—and child-forced and “temporary” marriages,
training. In addition, international observers reported the ISF used three
                                                                               place women and girls at increased risk of trafficking within the country.
children at a checkpoint in early 2019.
                                                                               In 2019, an international media outlet reported clerics operated “marriage
Refugees and IDPs face heightened risk of forced labor and sex trafficking     offices” in areas outside of important shrines in Iraq, which advertised
due to their economic and social vulnerability and lack of security and        “temporary marriages” with girls as young as nine years old for the
protections. Between 2015 and 2018, NGOs reported trafficking networks         purpose of sex trafficking. Some militia groups, such as AAH, reportedly
in the IKR targeted refugees and IDPs, operating with assistance from          provided security for these “offices” and relied on them for income.
local officials, including judges, officials from the Asayish forces, and      Additionally, a local NGO disclosed in early 2021 that reports from
border agents. Women and girls in IDP camps whose family members               local partners in southern Iraqi border provinces noted Saudis and
have alleged ties to ISIS may continue to be exposed to a complex              Kuwaitis exploited children in sex trafficking during hunting trips in areas
system of potential sexual exploitation, sex trafficking, and abuse by         inhabited by Kawalyah, nomadic tribesman without civil documentation.
security and military officials. Criminal gangs continued to reportedly        As reported in previous years, traffickers forced Syrian girls from
force women into “prostitution” and boys and girls to beg, especially          refugee camps in the IKR into early or “temporary marriages” with
IDP and refugee children and children with disabilities, primarily in          Iraqi or other refugee men; some KRG authorities allegedly ignored,
urban areas; criminal gangs also force children to sell and transport          or may have accepted bribes to ignore, such cases, including those in
drugs and weapons. In 2021, observers reported an increase in the use          which girls are sold multiple times. An NGO reported in early 2022 that
of children 8-15 years old by criminal gangs to distribute narcotics. Civil    traffickers continued to open massage parlors in ﬁve-star hotels in Iraq
society organizations also reported children, including IDP children,          as a cover for commercial sex and sex trafficking; some of these hotels
were forced to work in chemical factories in Erbil and mining shops            are owned by state entities, which allow the traffickers to operate with
in Sinjar in IKR. In October 2020, the Iraqi government announced its          impunity. The Iraqi government further conﬁrmed in 2022 that massage
decision to begin to close all IDP camps across the country. NGO and           parlors, coffee shops, bars, and nightclubs were locations for sex
media reports alleged government officials forced thousands of civilians,      trafficking. Additionally, according to the Iraqi government, traffickers
mostly women and children, out of camps with very little notice. NGOs          use social media to operate their networks and recruit victims, such as
and an international organization expressed concern that many of the           by advertising fake job offers.
camps’ residents did not have anywhere to return to as their homes were
                                                                               Some men and women from throughout Asia and Africa who migrate—
destroyed during the conﬂict with ISIS or they feared retaliation and
                                                                               both legally and illegally—to Iraq are subjected to forced labor as
violence if they returned home because of real or perceived affiliation
                                                                               construction workers, security guards, cleaners, handymen, and domestic
with ISIS. Furthermore, NGOs reported other camp residents experienced
                                                                               workers. In May 2021, COR Committee on Labor and Social Affairs
challenges obtaining civil documentation and security clearance to travel
                                                                               reported Iraq hosted approximately one million foreign workers, including
to other parts of the country, resulting in secondary displacement and
                                                                               those with both legal and non-legal status; reportedly, only 10 percent
exacerbating the risk of exploitation and trafficking in a highly vulnerable
                                                                               had officially registered with the government. In early 2020, observers
population. An international organization reported tens of thousands
                                                                               reported an increase in trafficking victims from Ghana, Kenya, and Sierra
of IDP children lacked civil documentation, particularly those born or
                                                                               Leone; furthermore, in 2021, NGOs noted an increase in victims from
formally residing in areas under ISIS control, and could not access basic
                                                                               Cameroon, India, Indonesia, Sudan, and Syria. In particular, observers
services, including enrolling in school, and in May 2022, the UNHCR
                                                                               noted an increase of Ghanian domestic workers referred to NGOs as
reported that approximately one million displaced Iraqis lacked civil
                                                                               trafficking victims during the year. In addition, NGOs noted an increase
documentation. In 2021, an international organization reported that
                                                                               in Indonesian trafficking victims being transported through Turkey to
children, mostly among IDPs and refugees, were directly impacted by
                                                                               the IKR, then working in Turkey for around a month, before being told to
the sudden closure of IDP camps; children were forced to work by their
                                                                               renew their work permits in Kurdistan and then forcibly made to remain
families for survival. Observers noted that forced labor was often seen
                                                                               and work. NGOs reported some employers and recruitment agents exploit
among Iraqi IDP children, as well as Syrian refugee children, between
                                                                                                                                 Haiti AR_000778              297
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 403 of 729
IRELAND   workers’ illegal status by withholding salaries and subjecting workers to       victim identiﬁcation and referral by issuing a revised national referral
          substandard living conditions. Some foreign migrants are recruited for          mechanism in coordination with NGOs; providing victim identiﬁcation
          work in other countries in the region but are forced, coerced, or deceived      training for all front-line officials, including for labor inspectors; and
          into working in Iraq and the IKR. In 2021, NGOs reported migrants in the        offering formal identiﬁcation, a recovery and reﬂection period, and
          IKR receive harsher treatment by their employers, including physical            services to all victims. • Allow formal victim identiﬁcation by entities
          and emotional abuse, and continue to be vulnerable to nonpayment                other than the police, including civil society, labor inspectors, social
          or under-payment of wages and food deprivation, both of which have              workers, and health care professionals. • Vigorously investigate, prosecute
          increased during the pandemic. In 2018, the KMOI reported 22 workers            suspects, and convict traffickers of both sex and labor trafficking using
          from the Philippines legally entered the IKR under the sponsorship of           the trafficking law. • Enforce the amended rules for the working scheme
          a labor contracting company but were subsequently forced to work in             for sea ﬁshers, consider additional measures of protection to reduce
          Baghdad. In early 2020, NGOs reported smugglers in the IKR promise              their risk of labor trafficking, and improve coordination with civil society
          some sub-Saharan African workers better work opportunities in Baghdad,          working in this sector. • Offer specialized accommodations to trafficking
          but upon arrival, traffickers exploit the workers in forced labor. An           victims that are safe, appropriate, and trauma-informed. • Continue
          international organization reported in 2018 that if a foreign worker had        to systematically train law enforcement, prosecutors, and judges on a
          a complaint of abuse about an employer, recruitment agents moved the            victim-centered, trauma-informed approach to law enforcement efforts
          worker to a different employer and did not report the employer to the           and trials and sensitize judges to the severity of trafficking crimes. • Allow
          police. Recruitment agencies reportedly operate clandestinely without           all victims to access the national referral mechanism without requiring
          permits and beyond the control of the government.                               cooperation with law enforcement. • Adopt a legal provision to exempt
                                                                                          victims from penalization for the unlawful acts traffickers compelled
                                                                                          them to commit. • Update and adopt a national anti-trafficking action
                                                                                          plan with a clear timeline for implementation, responsible ministries, and
           IRELAND: TIER 2                                                                resources for implementation. • Continue to train law enforcement and
                                                                                          prosecutors on developing cases with evidence to corroborate victim
                                                                                          testimony. • Increase resources for legal assistance to trafficking victims,
          The Government of Ireland does not fully meet the minimum standards
                                                                                          as well as the legal services provided, including assistance to victims
          for the elimination of trafficking but is making signiﬁcant efforts to do
                                                                                          through investigations and court proceedings, which can be accessed
          so. The government demonstrated overall increasing efforts compared
                                                                                          at the earliest opportunity and prior to engaging with police. • Establish
          with the previous reporting period, considering the impact of the
                                                                                          a national hotline to report all forms of trafficking crimes, including
          COVID-19 pandemic on its anti-trafficking capacity; therefore Ireland           labor trafficking, and provide victim assistance and referral. • Increase
          was upgraded to Tier 2. These efforts included increasing convictions           awareness of and trafficking survivor access to damages and increase
          compared with the year prior—including two convictions under the anti-          prosecutor’s efforts to systematically request restitution for survivors
          trafficking law for the ﬁrst time since at least 2013—and consequently          during criminal trials, particularly for undocumented workers or victims
          assigning signiﬁcant sentences. The government formally recognized              of sex trafficking. • Continue regular liaison between investigators and
          seven sea ﬁshers as trafficking victims and identiﬁed potential trafficking     prosecutors on evidentiary standards and legal matters that arise during
          victims during inspections, which was an increase compared with prior           investigations in trafficking cases. • Prioritize investigating fraudulent
          year reporting. The government also expunged more than 600 prior                labor recruitment and ensure cases found to be labor trafficking are
          convictions for commercial sex offenses, many of which may have                 prosecuted as trafficking rather than labor code violations. • Expand
          involved prior sex trafficking victims, and launched an awareness               government authorities to ensure the effective regulation and monitoring
          campaign in partnership with an international organization. Furthermore,        of agencies that recruit domestic workers and au pairs.
          the government increased funding for victim assistance and for public
          awareness and prevention efforts compared with the prior year. However,         PROSECUTION
          the government did not meet the minimum standards in several key                The government increased law enforcement efforts. The 2008 Human
          areas. The government prosecuted fewer suspected traffickers than               Trafficking Act, amended in 2013, criminalized sex trafficking and labor
          the prior year and did not prosecute any labor traffickers. Systemic            trafficking and prescribed penalties up to life imprisonment, which were
          deﬁciencies in victim identiﬁcation, referral, and assistance persisted,        sufficiently stringent and, with respect to sex trafficking, commensurate
          and services for victims remained inadequate. The government did not            with punishments prescribed for other serious crimes, such as rape. The
          uniformly screen for trafficking in vulnerable populations, like sea ﬁshers,    law broadly deﬁned sexual exploitation to include the sexual abuse of
          before referring them to immigration authorities for deportation, even          children. The Criminal Justice (Sexual Offences) Act of 2017 criminalized
          when victims self-identiﬁed. The government did not adopt an updated            the purchase of sexual services and prescribed more severe penalties
          national anti-trafficking action plan (NAP), amend its national referral        for the purchase of sex from a person subjected to trafficking. In such
          mechanism, or overhaul its accommodation framework for trafficking              cases, the burden of proof shifted to the accused, who had to prove
          victims, which continued to leave victims with inadequate and unsuitable        they were unaware the victim was exploited in trafficking.
          accommodations. The government did not report providing trafficking-            The national police anti-trafficking unit reported investigating 44
          speciﬁc training to any judges, remained without legal safeguards to            new cases of trafficking in 2021 (25 for sex trafficking and 19 for labor
          protect victims from prosecution for unlawful acts traffickers compelled        trafficking), compared with 38 investigations in 2020 and 41 in 2019.
          them to commit, and did not report awarding restitution or compensation         The number of investigations correlated to the number of identiﬁed
          for trafficking to any victims in 2021.                                         victims, as law enforcement opened a new case for each individual
                                                                                          victim. Police continued investigating 20 trafficking cases initiated
                                                                                          in prior years—13 for sex trafficking and seven for labor trafficking,
                  IRELAND TIER RANKING BY YEAR
                                                                                          including one case for forced criminality. Although courts remained
              1
                                                                                          open in 2021, pandemic-related court closures in 2020 caused delays;
              2                                                                           investigations and prosecution decisions were largely unaffected. The
            2WL                                                                           government initiated the prosecution of one sex trafficking suspect in
              3
                                                                                          2021, a decrease compared with three in 2020 and ﬁve in 2019. The
                     2015     2016      2017     2018   2019   2020     2021    2022      government did not initiate any prosecutions for labor trafficking in
                                                                                          2020 or 2021. The government continued to pursue two sex trafficking
                                                                                          prosecutions initiated in prior years. For the ﬁrst time since at least
                                                                                          2013, the government convicted two sex traffickers under the amended
          PRIORITIZED RECOMMENDATIONS:                                                    anti-trafficking law; judges sentenced them to ﬁve years and eight
          Increase efforts to identify and protect all victims, especially Irish          months’ and ﬁve years and one month’s imprisonment. Prosecutors
          citizens, victims of labor trafficking and forced criminality, and vulnerable   ﬁled an appeal for the sentences being unduly lenient. Additionally,
          populations like children, sea ﬁshers, and asylum-seekers. • Improve
 298                                                                                                                                     Haiti AR_000779
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 404 of 729




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in 2021, another trafficker pled guilty to false imprisonment instead of       identiﬁed children could also be a result of insufficient expertise among
trafficking; sentencing remained pending at the end of the reporting           social workers regarding the identiﬁcation of child trafficking victims.
period. These three convictions in 2021 were an increase compared with         Some experts raised concerns that the number of victims formally
the conviction of one trafficker under a non-trafficking statute in 2020.      identiﬁed by police did not represent the true scale of trafficking in
Prior to the June 2021 convictions, the government had not convicted           Ireland, and many unidentiﬁed victims faced penalization or deportation.
any traffickers under the anti-trafficking law for at least seven years,       The government funded a comprehensive 2021 study that concluded
despite formally identifying more than 500 trafficking victims during that     the probable number of trafficking victims was likely to be 38 percent
time. In its 2017 report, GRETA expressed concern about the inadequate         higher than the official national statistics from 2014-2019.
criminal justice response in Ireland, noting that the failure to convict
                                                                               While gaps and serious concerns remained, the government made
traffickers and the absence of effective sentences could contribute to
                                                                               some progress providing assistance to sea ﬁshers—workers in the
impunity and undermine efforts to support victims to testify.
                                                                               Irish ﬁshing industry—during the reporting period. The government
The Office of the Director of Public Prosecutions (ODPP) had a specialized     had not recognized any sea ﬁshers as trafficking victims since 2018;
team responsible for prosecuting trafficking crimes. The government also       however, in 2021, the government resumed identiﬁcation and formally
had a specialized police unit, the Organized Prostitution Investigation        recognized seven victims of human trafficking in the ﬁshing industry.
Unit (OPIU), which focused primarily on vulnerable populations within          The seven sea ﬁsher trafficking victims, from Egypt and Ghana, were
the commercial sex industry and links to organized crime, and it included      either self-identiﬁed or referred by NGOs to police for formal victim
identifying trafficking victims as an area of priority. However, the           identiﬁcation; all seven were offered victim assistance through the NRM,
government did not have specialized judges or courts that could hear           but only three accepted. In 2021, four Ghanian sea ﬁshers decided to
trafficking cases, and judges often had little understanding of trafficking    leave government-provided accommodation in Ireland and cooperate
crimes or familiarity with the effects of trauma on trafficking victims.       with UK law enforcement, which resulted in the arrest of the alleged
Civil society continued to express concern regarding the lack of judicial      trafficker in the UK. This alleged trafficker reportedly kept the victims’
training, and the government did not report providing any such training.       identiﬁcation documents in Ireland at a seafood processing facility
NGOs recommended training for law enforcement, prosecutors, and                owned by another alleged trafficker, whose case was dismissed by Irish
the judiciary regarding the complexities of commercial sex and sex             courts in 2021, in part due to the government’s failure to inform the
trafficking, as well as non-punishment of trafficking victims for unlawful     four victims of their opportunity to testify, as reported by the media.
acts traffickers compelled them to commit. The government reported             Although the government identiﬁed 23 victims (36 percent of the total
providing training to its officials; speciﬁcally, the ODPP participated in     victims identiﬁed) among sea ﬁshers in 2018, following the government’s
both virtual and in-person trainings, provided lectures on trafficking to      2019 amendment to its atypical working scheme (AWS) for sea ﬁshers,
60 legal practitioners, and helped organize two conferences attended           it did not identify any victims in the ﬁshing sector in 2019 or 2020. Civil
by 300 law enforcement officials and prosecutors, which included a             society raised serious concerns regarding the absence of any identiﬁed
section on prosecuting human trafficking cases. In partnership with            victims for several years in an industry inherently vulnerable to forced
international organizations, the government also reported funding anti-        labor. Civil society asserted foreign national sea ﬁshers, especially
trafficking training to the port authorities, members of trade unions,         those from outside of the European Economic Area (EEA), were at even
and the Legal Aid Board (LAB). Since 2019, the government reported             greater risk following the 2019 amendment of the scheme because the
an improvement in coordination between law enforcement and the                 government failed to enforce the amended rules, stopped identifying
ODPP. The government did not report any investigations, prosecutions,          victims for several years, and had revoked the status and associated
or convictions of government officials complicit in trafficking crimes.        protections against previously identiﬁed trafficking victims within this
International law enforcement cooperation between the United Kingdom           sector. However, failure to uniformly screen all trafficking victims—before
(UK) and the OPIU resulted in the screening of 11 women in commercial          referring them to immigration authorities for deportation—persisted,
sex, but authorities did not report identifying any trafficking victims.       and in May 2021, the police declined to interview an undocumented sea
In 2021, the government received four European arrest warrants for             ﬁsher and self-identiﬁed trafficking victim, who had reportedly recorded
suspected human traffickers, which resulted in the arrest of all four          the trafficker confessing, and instead referred the case to immigration
suspects.                                                                      authorities. In 2021, government officials raised concerns the workplace
                                                                               relations commission (WRC) did not sufficiently understand its role in
PROTECTION                                                                     identifying trafficking victims or have adequate trafficking training, and
The government slightly increased victim protection efforts compared           the separation between immigration, labor, and trafficking enforcement
with the previous year; however, systemic deﬁciencies in victim                was unclear to all officials. An NGO reported that WRC had insufficient
identiﬁcation, referral, and assistance continued. The police identiﬁed 18     personnel and training.
trafficking victims, while other government departments or government-
                                                                               In 2021, a university published a report, which featured in-depth
funded NGOs initially identiﬁed and referred 26 victims to police for
                                                                               interviews with 24 male non-EEA sea ﬁshers in the Irish ﬁshing industry,
formal identiﬁcation, resulting in a total of 44 victims identiﬁed, compared
                                                                               some of whom were undocumented. The report concluded that labor
with 38 identiﬁed in 2020 and 42 in 2019. Of the 44 victims, 25 were
                                                                               exploitation was still prevalent in the Irish ﬁshing industry and that the
exploited in sex trafficking and 19 in labor trafficking; all victims were
                                                                               overall conditions in the sector had worsened since the implementation
adults; 28 were female, and 16 were male. Of the 44 victims identiﬁed,
                                                                               of the AWS in 2016, echoing the conclusions of another NGO report
43 were foreign nationals and were predominantly from Nigeria (17),
                                                                               published in 2017. More than half of the participants interviewed said that
Slovakia (6), Ghana (5), and Egypt (3). Some gaps in victim identiﬁcation
                                                                               they had been subjected to verbal and racial abuse, and less than half
remained, and similar to 2020, the government did not identify any child
                                                                               recalled boats being inspected by the WRC or other authorities asking
trafficking victims; but unlike prior years, the government identiﬁed one
                                                                               about work-related issues. Several descriptions from the 24 interviewed
Irish sex trafficking victim and four trafficking victims among asylum-
                                                                               sea ﬁshers could meet the threshold for trafficking, including the use of
seekers. While every formally identiﬁed trafficking victim had access to
                                                                               fraudulent recruitment and non-violent psychological coercion via threats
the government’s National Referral Mechanism (NRM), only 33 of the
                                                                               of permit revocation and subsequent deportation, which coerced sea
identiﬁed victims entered the NRM to receive assistance and care, and
                                                                               ﬁshers into less pay, longer hours, more dangerous situations, and the
of these victims, 17 were referred to legal aid; however, the government
                                                                               endurance of racial and verbal abuse, as well as several instances of forced
did not report how many victims accessed other available services under
                                                                               criminal activity by coercing sea ﬁshers to hide ﬁsh, in contravention
the NRM. The government reported screening 130 children for trafficking
                                                                               of quota regulations. Fear of reprisal and permit revocation, as well as
indicators with a child sexual exploitation victim identiﬁcation tool, which
                                                                               language barriers, were obstacles for victims to engage with inspectors.
included referral protocols, but it did not identify any child victims in
                                                                               The report made a number of recommendations, including revising the
2021. The ODPP’s 2018 decision to reclassify child trafficking victims
                                                                               model contracts, de-coupling work permits from individual employers
as victims of sexual exploitation consequently excluded children from
                                                                               to eliminate the use of permits to control the labor of sea ﬁshers, and
trafficking statistics. The media reported that the national rapporteur,
                                                                               increasing the use of professional interpreters for private interviews
the Irish Human Rights and Equality Commission, highlighted the lack of
                                                                               with sea ﬁshers away from their employers.
                                                                                                                                 Haiti AR_000780              299
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 405 of 729
IRELAND
          Experts continued to raise concerns regarding the government’s inability      Due to the pandemic, the caseworkers for trafficking victims within
          to identify trafficking victims due to shortcomings in its identiﬁcation      HSE, were seconded to COVID-19 contact tracing roles until October
          mechanism and limiting identiﬁcation of victims solely to police.             2021; subsequently, case management of trafficking victims and referral
          While the government had national formal procedures for victim                to services may have been diminished. Furthermore, civil society
          identiﬁcation, they were valid only for victims lacking legal residency       continued to raise concerns regarding the government’s ongoing,
          in Ireland, namely foreign nationals from outside the EEA who were            chronic deﬁciencies in providing assistance and protection to trafficking
          not asylum-seekers. The formal identiﬁcation scheme excluded EEA-             victims. While there were no dedicated services or accommodations
          nationals, including Irish nationals, and asylum-seekers with pending         for child trafficking victims, children were usually placed in children’s
          applications. GRETA reported in 2017 that, as a result, the government        residential centers or in approved foster care and had access to social
          did not formally identify such persons as suspected trafficking victims,      workers and one psychologist from the anti-trafficking team at the HSE.
          with negative implications for their access to social welfare and other       However, there was no legally mandated psychological assistance for
          specialized victim services. However, despite gaps in the NRM, in 2021,       victims, and NGOs continued to report a lack of specialized services
          the government reported identifying four trafficking victims in the           to address the physical and mental health needs of victims. According
          asylum system; victims were referred either by a government-funded            to experts, the lack of clear rights and legal protections for victims
          NGO or Health Services Executive (HSE) or through government offices          often required NGOs to use the legal system to ensure victims’ rights
          responsible for reviewing asylum applications and government-funded           were protected, which only beneﬁted a limited number of victims.
          accommodations. The government reported that, in practice, domestic           Access to legal services was limited, as resources were insufficient
          and foreign victims had equal access to all state services. GRETA and         for demand and delays in application processing resulted in some
          NGOs, however, asserted EEA-national victims could be excluded from           victims becoming undocumented, thereby reducing their access to
          accessing general social welfare, housing support payments, and other         care and assistance. Services available from the government’s Legal Aid
          state support until they satisﬁed or were granted an exemption from           Board were inadequate for victims’ needs, as the board only provided
          the Habitual Residence Condition, which some victims may not have             information to potential victims referred by police but did not provide
          been able to satisfy because of an inability to prove a documented            legal assistance or support to victims during investigations or trials.
          work history. The government maintained it assessed suspected victims         Two government-funded NGOs provided legal representation for labor
          on a “reasonable grounds” basis to allow them access to support and           trafficking victims in 2021. GRETA and NGOs urged the government to
          services; victims that cooperated with law enforcement were often             ensure victims had early access to legal practitioners with specialized
          referred to services, but referral was not systematic throughout the          knowledge of trafficking who could represent them.
          country. A 2021 academic study concluded the government did not have
                                                                                        The government did not offer trafficking-speciﬁc shelter or services for
          a formal victim identiﬁcation process due to a lack of speciﬁc criteria
                                                                                        trafficking victims. However, the government provided accommodation
          for “reasonable grounds” decisions. NGOs and lawyers asserted the
                                                                                        arrangements for victims and potential victims through the government-
          national police lacked consistent standards when assessing victims;
                                                                                        funded direct provision system, which housed asylum-seekers, refugees,
          anti-trafficking efforts varied widely from urban to rural areas; and there
                                                                                        and trafficking victims in centers and temporary accommodation facilities
          was no consistently used formal referral mechanism for all police units
                                                                                        across the country. Victims were not required to stay in the direct
          for sex trafficking victims. NGOs and other front-line responders did
                                                                                        provision accommodation, originally established for asylum-seekers,
          not have a formal role in the identiﬁcation of victims, although police
                                                                                        although the government did not otherwise offer dedicated shelters
          could receive victim referrals from any source. In its 2017 report, GRETA
                                                                                        for victims of trafficking. NGOs stated the mixed-gender housing in the
          criticized the exclusive police authority to identify victims, asserting it
                                                                                        direct provision system had inadequate privacy, was unsuitable and
          created a potential conﬂict of priorities between law enforcement efforts
                                                                                        potentially unsafe for traumatized victims, could expose them to greater
          and victim assistance. Experts echoed GRETA’s criticism and urged the
                                                                                        exploitation, and undermined victim recovery. Experts also noted a lack
          government to allow formal victim identiﬁcation by entities other than
                                                                                        of specialized services in the centers for all victims, but especially for
          the police, including civil society, labor inspectors, social workers, and
                                                                                        female victims who had been traumatized due to psychological, physical,
          health care professionals.
                                                                                        or sexual violence. Experts noted that accommodation in direct provision
          The government provided €689,938 ($782,240) to NGOs for victim                was inappropriate and unacceptable for emergency or long-term stays.
          assistance and legal services, including both sex and labor trafficking,      NGOs raised concerns that the placement of trafficking victims in direct
          a signiﬁcant increase compared with €452,988 ($513,590) in 2020.              provision accommodation isolated victims from other available services
          The government required a formal victim statement to police and a law         and exposed them to re-trafficking and re-traumatization. Potential
          enforcement referral for potential victims to access the NRM; victims         victims who were in the asylum process remained in direct provision
          unwilling to go to the police could access emergency accommodation,           accommodation while a determination was being made in relation to
          counseling, medical care, and legal services from NGOs that received          their claim for international protection, which could continue for years.
          government funding but not through the referral mechanism. Through            For several years, the government, including a parliamentary committee,
          the NRM, which was administered at government-run assistance centers          an Advisory Group, and Ireland’s Ombudsman acknowledged the lack
          (direct provision centers), the government provided victims with              of adequate accommodation.
          voluntary access to legal aid service, direct provision accommodation
                                                                                        In February 2021, the Department of Children, Equality, Disability,
          (government-funded accommodation), welfare and rent allowance,
                                                                                        Integration and Youth published a white paper with plans to overhaul
          police assistance, repatriation, translation and interpretation assistance,
                                                                                        and phase out the direct provision system by 2024 and replace it with
          education for dependent children, a recovery and reﬂection period,
                                                                                        a victim-centered accommodation and social support system called the
          temporary residence permits, and medical care, including individual
                                                                                        International Protection System. The 2021 implementation of the plan
          care plans by HSE within three days of referral. Victims who did not
                                                                                        included the appointment of a transition team and an external advisory
          cooperate with law enforcement did not have access to statutory care
                                                                                        group, as well as the establishment of oversight structures, initiative
          or the sexual health screenings available to victims that did cooperate.
                                                                                        planning processes for projects, building capacity for NGOs to provide
          In 2017, the government reported plans to institute a new and revised
                                                                                        services, interagency working groups, and a computer system for bed
          NRM and reaffirmed and approved those plans in 2021, which reportedly
                                                                                        management. In 2020, the government announced plans to open an
          included proposals to expand formal victim identiﬁcation by and referral
                                                                                        accommodation center for 8-10 female trafficking victims, but the shelter
          from entities other than the police, including social workers, health
                                                                                        remained non-operational during the reporting period. Other than the
          care professionals, and partner NGOs, as well as allow all victims to
                                                                                        appointment of the transition team, the government did not report
          access the NRM without requiring cooperation with law enforcement.
                                                                                        taking any further actions to effectively address inadequate shelter; the
          However, the government reported that the adoption of a revised NRM
                                                                                        original direct provision accommodation framework remained in effect.
          would require a legislative change, and the revision remained pending.
          While experts welcomed ongoing government plans to develop the new            The government could give potential foreign trafficking victims
          NRM, they expressed concern with the slow pace and lack of clarity            temporary relief from deportation by issuing temporary residence
          surrounding its development.                                                  permits, contingent upon cooperation with an ongoing investigation;

 300                                                                                                                                Haiti AR_000781
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 406 of 729




                                                                                                                                                              IRELAND
permits could be extended by police request to the Department of                however, the government took no action to rectify this gap, and the
Justice (DOJ). The government also provided legal alternatives to               existing trafficking law did not include a provision to protect victims
removal to countries in which victims would face retribution or hardship.       from prosecution for unlawful acts traffickers compelled them to commit.
Immigration permissions were granted through a 60-day recovery and              However, in practice, prosecutors sought to avoid victim prosecution and
reﬂection period, a six-month temporary residence permission, or a              utilized internal guidelines that instructed prosecutors to consider the
two-year residence permission that allowed the holder to engage in              public interest and mitigating factors, such as coercion, when deciding
legal employment. The government issued some form of immigration                whether to charge an individual with a crime. The government reported
permission, including renewals, to 57 trafficking victims in 2021. However,     the national police also collaborated with ODPP to ensure victims
trafficking victims could not work for the ﬁrst 60 days during their            were not prosecuted, but that decision rested entirely with the ODPP
recovery and reﬂection period. NGOs reported the six-month work                 and was not subject to scrutiny. NGOs noted the process for victims
permits acted as a barrier to work because of the government’s slow             to seek immunity from punishment for criminal activity as a result of
renewal rate and the recovery and reﬂection period was not uniformly            trafficking was complex and required early legal representation. If
granted to victims. The temporary residence permission could evolve             authorities prosecuted an individual before they were formally identiﬁed
into permanent residency, and residency beneﬁts were not linked to a            as a trafficking victim, their criminal record could not be expunged. In
conviction. However, the government precluded victims who sought                recognition of this issue and in an effort to avoid victim penalization,
asylum from obtaining six-month renewable residence permits, which              in April 2021, the DOJ expunged 607 prior convictions for commercial
limited their access to certain beneﬁts, such as work permits.                  sex offenses; many of the convicted individuals may have been sex
                                                                                trafficking victims. NGOs continued to report instances of potential
The government did not provide state compensation to victims of
                                                                                victims detained in prison for cannabis production prior to assessing
trafficking, as there was no mechanism to do so. The law did not require
                                                                                whether they were trafficking victims and urged the government to
prosecutors to systematically request restitution for victims for trafficking
                                                                                complete the identiﬁcation process ﬁrst. The media reported that in
crimes, though courts could order restitution for victims, and victims
                                                                                2021, two Albanian trafficking victims were released from prison after
could also obtain restitution and damages for lost wages through a
                                                                                their arrest at a cannabis factory in 2020; the two victims had pled guilty
criminal trial, a civil suit, state bodies dealing speciﬁcally with work-
                                                                                to drug-related charges and remained in prison until the government
related rights, and the criminal injuries compensation tribunal. The media
                                                                                identiﬁed them as labor trafficking victims.
reported that in November 2021, the WRC awarded €20,000 ($22,680)
in backpay to one sea ﬁsher. However, in another 2021 case, the media
reported four sea ﬁshers, who were potential trafficking victims, did not
                                                                                PREVENTION
                                                                                The government maintained modest prevention efforts. The DOJ’s
receive back wages because the WRC failed to complete its investigation
                                                                                criminal justice policy unit functioned as the national coordinating
prior to the expiration of the statute of limitations, did not inform the
                                                                                body and was responsible for coordinating interagency efforts,
victims, and the sea ﬁshers received no restitution. The victims of the two
                                                                                raising awareness, providing funding to anti-trafficking civil society
convicted traffickers in 2021 applied to the criminal injuries compensation
                                                                                organizations, collecting data, and publishing an annual trafficking
tribunal, but the government did not report making a decision regarding
                                                                                report. The DOJ’s national anti-trafficking forum comprised interagency
their compensation applications or whether prosecutors requested
                                                                                and civil society stakeholders; the forum did not meet in 2021, and some
restitution during the trial. Historically, the government did not award
                                                                                NGOs expressed frustration at the government’s inconsistent responses
restitution to victims for the crime of human trafficking, only for lost
                                                                                to their recommendations. However, the forum’s subgroups met four
wages. Some NGOs reported victims infrequently received payment in
                                                                                times in 2021 to discuss the revised NRM and review the NAP. The
the past, as the court did not have enforcement authority and employers
                                                                                government’s independent national rapporteur was the Irish Human
would frequently close down, transfer directorship, leave the country,
                                                                                Rights and Equality Commission, which was responsible for monitoring
or claim inability to pay. The Minister of Justice could decide to order
                                                                                human trafficking policy and data collection. It was uncertain whether
restitution for unpaid labor of foreign trafficking victims, but the Minister
                                                                                the government followed its 2016 NAP; the plan had no end date,
never utilized this authority. NGOs criticized the lack of viable avenues
                                                                                timeframe, budget allocation, or indication of agencies responsible for
for victim restitution, particularly of cases that involved sex trafficking
                                                                                its implementation. NGOs described the 2016 NAP as outdated; the new
and undocumented workers. Victims of sex trafficking had no veriﬁable
                                                                                anti-trafficking committee stated its intention to draft an updated plan
expenses or employment losses, and the Labour Relations Committee
                                                                                but did not do so. The government continued efforts to raise awareness
was unavailable to undocumented workers, who could only pursue
                                                                                of trafficking by launching a national anti-trafficking public awareness
civil suits if they could prove they took all reasonable steps to rectify
                                                                                campaign, similar to another campaign in 2020, in partnership with an
their irregular working status. However, NGOs stated that no case like
                                                                                international organization. The WRC continued to raise employment
this has previously been brought before the courts and that high legal
                                                                                rights awareness among seasonal workers via social media posts, the
costs often functioned as a deterrent to victims. Officials also noted
                                                                                display of 1,000 posters, and the distribution of leaﬂets on victims’
that because there was no viable avenue for undocumented workers to
                                                                                rights in several languages and also provided employment rights
recover wages, this could have incentivized employers to exploit workers
                                                                                information to 58,735 telephone callers in 2021. The government also
and may have increased their vulnerability to trafficking.
                                                                                maintained a website that provided information on human trafficking
In 2021, DOJ announced plans to improve its victim-centered approach            and encouraged the public to report possible cases of trafficking to
with its ‘Supporting a Victim’s Journey,’ program and secured €2.3 million      authorities. In partnership with trafficking survivors, in November
($2.61 million) in the 2021 budget to fund the reforms for all victims,         2021, a government-funded NGO launched an awareness campaign
including trafficking victims. The program would include legal aid for          on the prevalence of sex trafficking. In 2021, the government provided
victims, ensure victims understood their rights, improve interagency            €280,000 ($317,460) to NGOs for anti-trafficking public awareness
coordination and services to victims, and train officials; however, the         campaigns and victim assistance training, an increase compared with
government did not report any impacts speciﬁcally for trafficking               €137,700 ($156,120) in 2020. In 2021, the government funded a cultural
victims as a result of the program. The law protected the privacy and           mediation project, implemented by an international organization, which
identity of victims in court proceedings and allowed victims to testify         built capacity and provided training for professionals who worked with
via video link at the discretion of the judge; however, this was not always     vulnerable populations like Roma, refugees, undocumented migrants,
uniformly granted, and NGOs were concerned that victims were not                and asylum-seekers; the program trained officials how to identify and
always informed of these protections. The government had a witness              address the needs of trafficking victims more effectively and empower
protection program but did not report how many trafficking victims              survivors through a victim-centered approach with a particular focus
were provided this service during the reporting period.                         on cultural competency, sensitivity, and awareness. The government
The government remained without a speciﬁc legal provision on the                reported training 11 cultural mediators, 20 police officers, 25 front-line
non-punishment of victims of trafficking, and GRETA urged adoption              officials, and 83 service providers through the project in 2021, with at
of such a provision in both its 2013 and 2017 reports. Furthermore, in          least 12 victims beneﬁtting from assistance. In early 2022, the government
2015, the Irish High Court found a need for protocols or legislation to         established three city centers to support refugees ﬂeeing Russia’s unjust
dictate what happens when a victim is suspected of criminal activity;           war in Ukraine; the centers assisted refugees with obtaining social
                                                                                                                                 Haiti AR_000782              301
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 407 of 729
ISRAEL   welfare income support and referrals to available services. The national         victims identiﬁed in Ireland are from Africa, Asia, Eastern Europe, and
         rapporteur called on the government to undertake more prevention                 South America. In recent years, authorities and media have reported an
         efforts regarding Ukrainian refugees, including information on trafficking       increase in suspected victims from Brazil, Indonesia, Nigeria, Pakistan,
         risks and employment rights.                                                     and Romania. Brazilian women are vulnerable to fraudulent recruitment
                                                                                          and promises of employment in cafes and massage parlors or as au pairs
         Fraudulent recruitment by labor recruitment and employment agencies
                                                                                          only to be forced into commercial sex upon arrival in Ireland. Traffickers
         remained a concern; however, the government did not report effective
                                                                                          exploit victims of forced labor in domestic work, the restaurant industry,
         law enforcement measures taken to deter traffickers. Such agencies
                                                                                          cannabis cultivation, nail salons, food processing, waste management,
         were required to have a license, and passport withholding was illegal.
                                                                                          ﬁshing, seasonal agriculture, hospitality, and car washing services.
         The WRC did not have the authority to regulate agencies that recruited
                                                                                          In March 2022, a human rights group ﬁled a petition with the U.S.
         au pairs, who were allowed to work up to 20 hours per week without
                                                                                          government requesting the banning of any seafood imports from
         the need for a work permit. NGOs reported employers regularly paid
                                                                                          Ireland to the United States that were caught or produced using forced
         au pairs less than minimum wage and forced them to work more than
                                                                                          labor, speciﬁcally highlighting four Irish ﬁshing companies. Lithuanians
         the maximum of 20 hours per week, creating vulnerability to labor
                                                                                          affected by poverty or substance abuse issues are vulnerable to forced
         trafficking; however, the government did not report any steps taken
                                                                                          criminality by organized human trafficking networks. In 2022, Ukrainian
         to address this during the reporting period. Furthermore, an NGO also
                                                                                          refugees, predominantly women and children, ﬂeeing Russia’s full-scale
         raised concerns regarding the lack of jurisdiction for WRC inspectors
                                                                                          invasion of Ukraine, are vulnerable to trafficking. Undocumented workers
         to address violations regarding the number of hours worked on ﬁshing
                                                                                          in the ﬁshing industry and domestic workers, particularly au pairs, are
         vessels. While the WRC referred these cases to the Marine Services Office,
                                                                                          vulnerable to trafficking. Migrant workers from Ghana, Egypt, and the
         with 15 referrals in 2021, sea ﬁshers were still left with little recourse for
                                                                                          Philippines are vulnerable to forced labor on ﬁshing vessels. Women
         recovering unpaid wages. The WRC reported conducting more than
                                                                                          from Eastern Europe who are forced into marriage in Ireland are at risk
         4,400 inspections and recovering nearly €1 million ($1.13 million) in
                                                                                          for sex trafficking and forced labor.
         non-payment of wages. Although no trafficking-related law enforcement
         efforts were undertaken as a result of inspections, labor inspectors did
         report referring ﬁve potential trafficking victims to the police in 2021.
         Multiple law enforcement agencies, including OPIU, immigration, and
         WRC, participated in a joint action day in June 2021 that focused on              ISRAEL: TIER 2
         labor trafficking, targeting industries with a higher likelihood of labor
         trafficking, such as massage parlors and nail salons, and resulted in            The Government of Israel does not fully meet the minimum standards
         screening 53 individuals for trafficking indicators and the provision of         for the elimination of trafficking but is making signiﬁcant efforts to do
         accommodation for two potential trafficking victims. The government              so. The government demonstrated overall increasing efforts compared
         also participated in an additional joint action day in November 2021, which      with the previous reporting period, considering the impact of the
         focused on 58 establishments with a higher likelihood of indicators of sex       COVID-19 pandemic on its anti-trafficking capacity; therefore Israel
         trafficking and resulted in the identiﬁcation of one potential trafficking       remained on Tier 2. These efforts included continuing to operate shelters
         victim. Of the 171 ﬁshing vessels under the scope of the amended                 and other facilities and providing victims a wide variety of immediate
         AWS, in 2021, the WRC conducted 14 desktop inspections and 37 on-                and long-term care and rehabilitative services. The government also
         board inspections, identifying zero trafficking victims. WRC inspectors          continued investigating, prosecuting, and convicting officials complicit
         reportedly found several violations of employment and labor law in the           in trafficking-related crimes. In addition, the government began revising
         ﬁshing sector and referred several employers for prosecution; however,           victim recognition procedures to streamline processes and reduce the
         it did not report law enforcement actions against any companies for              risk of re-traumatization. However, the government did not meet the
         labor trafficking in 2021. Some experts raised concerns that inspectors          minimum standards in several key areas. The government’s efforts to
         viewed possible cases of labor trafficking as administrative employment          investigate and hold labor traffickers criminally accountable remained
         law violations and did not pursue them as trafficking crimes.                    inadequate, and the government did not consistently investigate labor
         In an effort to address vulnerabilities created by the pandemic when             trafficking cases referred by NGOs. The government recognized fewer
         migrant workers became unable to travel or physically apply to extend            trafficking victims and relied on NGOs to initially identify victims, rather
         their immigration status, the government permitted those that became             than proactively identifying victims. Despite adding an additional officer,
         undocumented to access unemployment payments and ensured officials               the Police Anti-Trafficking Coordinating Unit (PTC), which remained the
         did not report undocumented workers to immigration authorities.                  only authority to officially recognize victims of trafficking, remained
         The government prohibited convicted human traffickers from being                 severely understaffed for the sixth consecutive year, which further
         selected for public contracts. The government made efforts to reduce             hindered the efficiency of victim identiﬁcation procedures and referral of
         the demand for commercial sex acts by questioning and investigating at           victims to protection services. The government maintained inadequate
         least 77 alleged procurers of commercial sex and by providing €106,050           oversight over foreign labor recruitment outside of bilateral work
         ($120,240) for awareness raising projects, an increase compared with             agreements (BWAs), including through foreign contracting companies
         €96,050 ($108,900) in 2019 and 2020. The government continued                    (“Hevrot Bitzua”), to prevent forced labor and exploitative labor practices.
         to provide funding to several anti-trafficking programs abroad. The
         government did not fund the operation of a dedicated national trafficking
         hotline assisting all trafficking victims but did operate a hotline that                  ISRAEL TIER RANKING BY YEAR
         catered to sex trafficking victims and individuals in commercial sex. The             1
         government also promoted a general crime hotline for anonymously                      2
         notifying police about various crimes; police officers staffed the hotline,
                                                                                             2WL
         which was available for 12 hours daily. The government did not report
         the number of calls received for trafficking-related cases. The national              3
                                                                                                      2015     2016      2017    2018   2019   2020    2021    2022
         police also had a dedicated email address for reports of trafficking.

         TRAFFICKING PROFILE
         As reported over the past ﬁve years, human traffickers exploit domestic
         and foreign victims in Ireland, and traffickers exploit victims from Ireland     PRIORITIZED RECOMMENDATIONS:
         abroad. Traffickers subject Irish children to sex trafficking within the         Continue expediting processes to proactively identify and refer trafficking
         country. The prevalence of human trafficking in Ireland is likely higher         victims to appropriate care without re-traumatizing victims, including
         than official statistics report; a comprehensive 2021 study found that           those referred by NGOs, and ensure victim identiﬁcation procedures take
         from 2014 to 2019, the true number of trafficking victims was likely             a trauma-informed approach. • Authorize more government officials,
         38 percent higher than official national statistics. Foreign trafficking         including throughout the country, to identify trafficking victims to allow

 302                                                                                                                                     Haiti AR_000783
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 408 of 729




                                                                                                                                                                   ISRAEL
for more efficient access to protection services. • Signiﬁcantly increase         2021, the government investigated four cases and prosecuted six allegedly
investigations, prosecutions, and convictions of labor traffickers, including     complicit officials, and courts convicted two officials in trafficking-related
potential trafficking cases referred by NGOs, and sentence convicted              crimes; prosecutors also appealed the lenient sentencing of an official
traffickers to signiﬁcant prison terms. • Ensure all potential victims            convicted in 2020. In 2021, the Israeli National Police (INP) investigated
have full access to services while their case is being reviewed for official      and referred to the State Attorney’s Office a Population and Immigration
victim recognition. • Proactively screen vulnerable populations, including        Authority (PIBA) official who allegedly coerced asylum-seekers to perform
undocumented African migrants, foreign workers, Palestinian workers,              sex acts in exchange for permits. The government coordinated with a
and LGBTQI+ individuals, to ensure trafficking victims among these                foreign government to investigate an alleged child sex trafficking case
populations are not penalized for unlawful acts traffickers compel them           involving foreign and Israeli suspects and coordinated with other foreign
to commit, such as immigration and “prostitution”-associated violations.          governments to extradite suspected traffickers.
• Increase enforcement of foreign worker and Palestinian labor rights,
                                                                                  The INP assigned a second officer to the PTC in 2021. However, NGOs
including by establishing systems to ensure workers have valid and
                                                                                  continued to report the government was, at times, reluctant to investigate
fair labor contracts, eliminating all worker-paid recruitment fees for all
                                                                                  complex trafficking cases due to lack of dedicated staff and resources.
foreign and Palestinian workers, ensure any recruitment fees are paid
                                                                                  NGOs also alleged that despite sharing evidence of potential forced
by employers, and ensure any employer-paid recruitment fees are not
                                                                                  labor cases, the government often did not investigate them, especially
passed onto workers. • Substantially increase anti-trafficking awareness
                                                                                  those involving foreign workers, in a timely manner. The government
and victim identiﬁcation trainings for law enforcement and front-line
                                                                                  reported difficulties gathering victim and witness testimony, which was
officials, including police officers, border officials, and prison officials,
                                                                                  exacerbated by foreign victims’ desire to return to their home countries
at regional and local levels. • Increase the number of labor inspectors,
                                                                                  during the pandemic. To address this gap, the government continued
social workers, and interpreters in the agricultural, construction, and
                                                                                  implementing guidelines on early testimony in cases involving foreign
caregiving sectors and provide them with training on victim identiﬁcation
                                                                                  victims to create a standard approach. To address challenges in reporting
procedures. • Expand resources and officials allocated to the National
                                                                                  trafficking crimes during the pandemic, the INP established an online
Anti-Trafficking Unit (NATU) and PTC to ensure NATU and the PTC
                                                                                  system to ﬁle police complaints for all offenses, including trafficking
are able to adequately perform their duties. • Allocate resources and
                                                                                  complaints, for victims hesitant to meet with law enforcement officials,
fully implement the 2019-2024 national action plan (NAP) to combat
                                                                                  including undocumented migrant workers. During the reporting period,
trafficking. • Amend the 2006 anti-trafficking law to include a deﬁnition
                                                                                  the government appointed police focal points in all districts to lead all
of human trafficking consistent with international law. • Transparently
                                                                                  trafficking investigations and to perform initial identiﬁcation screening
share information on government anti-trafficking efforts with civil
                                                                                  to refer victims to the formal recognition procedure. As in previous
society. • Designate a Knesset committee or subcommittee to address
                                                                                  years, the government provided extensive anti-trafficking training,
sex and labor trafficking.
                                                                                  awareness-raising workshops, and seminars, at times in coordination
                                                                                  with NGOs, to law enforcement, judicial officials, social workers, medical
PROSECUTION                                                                       staff, labor inspectors, and other officials on victim identiﬁcation and
The government decreased overall law enforcement efforts, and law
                                                                                  referral, investigating trafficking cases, and providing trauma-informed
enforcement actions against labor traffickers remained inadequate.
                                                                                  care to victims.
The 2006 anti-trafficking law criminalized sex trafficking and labor
trafficking and prescribed penalties of up to 16 years’ imprisonment
                                                                                  PROTECTION
for the trafficking of an adult and up to 20 years’ imprisonment for the
                                                                                  The government decreased overall victim identiﬁcation and protection
trafficking of a child. These penalties were sufficiently stringent and,
                                                                                  efforts, recognizing fewer victims. In 2021, the government reported
with respect to sex trafficking, commensurate with those prescribed for
                                                                                  receiving 58 victim referrals from NGOs and government sources,
other serious crimes, such as rape. Inconsistent with the deﬁnition of
                                                                                  compared with 74 referrals in 2020. Of the 58 referrals, the government
trafficking under international law, the law did not establish the use of
                                                                                  granted official trafficking victim status to 51 individuals, a decrease
force, fraud, or coercion as an essential element of the crime.
                                                                                  from the 69 victims recognized in 2020. Of the 51 recognized victims,
In 2021, police initiated eight total investigations, including three sex         17 were victims of sex trafficking, and 34 were victims of forced labor.
trafficking cases involving nine suspects and ﬁve forced labor cases              The government recognized two male victims exploited in the Sinai
involving three suspects; the government also investigated 33 cases               prior to arriving in Israel, compared with one victim exploited in the
involving 43 individuals suspected of engaging in commercial sex acts             Sinai recognized during the previous year. The government continued
with a child. In addition, the government investigated 118 sex trafficking-       to circulate trafficking victim identiﬁcation guidelines widely to relevant
related crimes but determined all were “prostitution”-related offenses.           ministries. However, NGOs remained critical of the government’s ability
This was a slight decrease compared with 11 total investigations (one sex         to proactively identify victims and reported more than half of all victims
trafficking, eight forced labor, and two child sex trafficking investigations),   recognized by the government during the reporting period were initially
in addition to 91 sex trafficking-related investigations, in 2020. In 2021, the   identiﬁed by NGOs; of the 51 recognized victims, NGOs referred 31,
government initiated six new prosecutions, three for child sex trafficking        and government sources referred 20 to the PTC. The PTC was the
and three for attempted solicitation of commercial sex with a child; this         only government entity with the authority to grant individuals official
was a decrease compared with nine total prosecutions (three adult sex             trafficking victim status, which allowed a victim full access to protection
trafficking, one forced labor, and ﬁve child sex trafficking) in 2020. The        services. NGOs continued to report that the government’s inaction to
government continued prosecuting 24 alleged traffickers in cases initiated        investigate labor trafficking cases deterred potential forced labor victims
in previous reporting periods: 13 for sex trafficking, one for forced labor,      from reporting their exploitation. While NGOs reported improvement in
and 11 for unspeciﬁed forms of trafficking. In 2021, courts convicted two         the PTC’s ability to recognize victims referred by NGOs with the addition
traffickers, one for adult sex trafficking and one for attempted child sex        of a second officer during the reporting period, NGOs reported the PTC
trafficking; this was a decrease compared with convicting 12 traffickers          continued to suffer from delays recognizing trafficking victims due
(nine for adult sex trafficking, two for forced labor, and one for child sex      to understaffing. Because the government only authorized two PTC
trafficking) in 2020. Of the two sentences issued during 2021, including          officers to review victim applications throughout the country, the victim
cases convicted in previous reporting periods, only one trafficker received       recognition process was signiﬁcantly delayed for months and at times
a sentence greater than one year imprisonment. Judges sentenced                   inhibited victims’ access to much-needed protection services during
one convicted trafficker to four months’ imprisonment and probation               the delay. To address these delays and other issues during the victim
and ordered them to pay restitution to the victim; and sentenced the              recognition process, the government held consultations with NGOs,
other trafficker to 13 months’ imprisonment and probation. Such lenient           academics, and government stakeholders to revise victim recognition
sentencing undercut efforts to hold traffickers accountable and did not           procedures and developed a plan for phased implementation during the
serve to deter the crime or adequately reﬂect the nature of the offense.          reporting period. As part of the revision process, in October 2021, the
The government continued to report law enforcement efforts to address             PTC published new procedures for applying for victim status, clarifying
government officials allegedly complicit in trafficking-related crimes. In        recognition criteria and establishing an appeal process. PTC’s new

                                                                                                                                     Haiti AR_000784               303
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 409 of 729
ISRAEL   procedures also limited the need for extensive victim interviews as a last    visas. Following the conclusion of criminal proceedings, trafficking
         resort to reduce re-traumatization; previously, NGOs reported the PTC’s       victims could request a “rehabilitation” visa for an additional year; the
         high evidentiary standard re-traumatized victims, as they recounted and       government extended “rehabilitation” visas on an ad hoc basis. The
         “proved” their exploitation. The remaining victim recognition procedure       government forfeiture fund, which used property and money conﬁscated
         revision steps, including plans to transfer recognition authority from        from traffickers to assist victims, allocated 937,190 shekels ($302,420)
         the PTC to NATU, were pending at the end of the reporting period.             to 89 applicants for the provision of various protection services,
                                                                                       including housing, counseling, and vocational training for victims,
         The government continued to provide a wide range of protective services
                                                                                       monetary compensation ordered by courts, and funding for NGOs in
         for victims of all forms of trafficking. The government continued to
                                                                                       2021; no funds were allocated in 2020 due to insufficient resources.
         operate a 35-bed shelter for female trafficking victims, a 35-bed shelter
                                                                                       The anti-trafficking law dictated the court must explain any decision to
         for male trafficking victims, and transitional apartments with 18 beds for
                                                                                       abstain from awarding restitution in its verdict, making restitution the
         female victims. In response to the pandemic, the government divided
                                                                                       default; in 2021, the government did not report the amount awarded
         shelter residents into “bubbles” to limit transmission, and each shelter
                                                                                       in restitution. The government maintained guidelines discouraging the
         designated quarantine areas for isolating residents potentially exposed
                                                                                       prosecution of trafficking victims for unlawful acts traffickers compelled
         to COVID-19. Shelter residents could leave freely. These shelters offered
                                                                                       them to commit. However, the government did not systematically screen
         one year of rehabilitation services, including job training, psycho-social
                                                                                       for trafficking among the undocumented African migrant population,
         support, medical treatment, language training, and legal assistance.
                                                                                       foreign workers employed by foreign construction companies, or
         In 2021, the women’s shelter assisted 47 adult victims, the men’s
                                                                                       individuals in commercial sex, and as a result, authorities may have
         shelter assisted 43 victims, and the transitional apartments assisted
                                                                                       penalized unidentiﬁed and some identiﬁed victims for immigration
         seven women and 18 children accompanying their mothers; in 2020,
                                                                                       violations or “prostitution”-associated offenses. The government
         the women’s shelter assisted 40 adult victims and three children of
                                                                                       continued a program to expunge the records of individuals convicted
         victims, the men’s shelter assisted 32 victims, and the transitional
                                                                                       of “prostitution”-associated offenses for individuals not sentenced to
         apartments assisted nine women and 18 children accompanying their
                                                                                       prison terms, including potential sex trafficking victims; the government
         mothers. Shelter staff could adjust operations to accommodate deaf
                                                                                       fully or partially expunged ﬁve records in 2021.
         and deaf-mute victims, including by contracting an interpreter. The
         Ministry of Labor, Social Affairs, and Social Services (MLSS) continued
         to operate the National Center for Survivors of Slavery and Trafficking
                                                                                       PREVENTION
                                                                                       The government maintained efforts to prevent trafficking; however,
         in Persons, formerly known as the “day center,” in Tel Aviv for male and
                                                                                       government policies towards many foreign workers were insufficient
         female trafficking victims who were waiting for a space at a shelter,
                                                                                       to address their vulnerability to trafficking. NATU within the Ministry of
         chose not to reside at a shelter, or had completed one year at a shelter.
                                                                                       Justice continued to coordinate anti-trafficking efforts among relevant
         The center provided psycho-social services and food aid, with social
                                                                                       ministries and NGOs during the reporting period; NATU had nine staff
         workers trained to identify individuals at risk of re-trafficking. In 2021,
                                                                                       members in 2021, including the national coordinator, two legal advisors,
         the center provided services to 113 male and 99 female victims, as well
                                                                                       an intern, three law students, one secretary, and one national service
         as 168 children; this is compared to 2020 when the center provided
                                                                                       volunteer. NGOs reported that while NATU demonstrated political will
         services to 133 male and 106 female victims, as well as 160 children.
                                                                                       and was knowledgeable about trafficking, it was not always effective
         The government also operated 14 “HaLev” (Heart) centers for girls and
                                                                                       inﬂuencing other parts of the government and lacked the resources
         young women exploited in commercial sex throughout the country,
                                                                                       to fully meet its mandate. The government maintained its 2019-2024
         which provided psycho-social services, medical assistance, vocational
                                                                                       NAP to combat human trafficking. However, for the third consecutive
         training, and other assistance; the Tel Aviv-Jaffa center was open 24/7
                                                                                       year, the government did not ﬁnalize its implementation plan nor
         and the Tel Aviv and Haifa centers catered to all genders including
                                                                                       allocate additional funds for the NAP. Throughout 2021, the four
         nonbinary individuals. The government continued to provide free
                                                                                       inter-ministerial teams, each focusing on key objectives outlined in
         medical treatment for one year at various government-funded health
                                                                                       the NAP, held discussions with NGOs, civil society organizations, and
         facilities for recognized trafficking victims living outside of shelters.
                                                                                       government stakeholders; the teams presented their recommendations
         The government continued to encourage victims to assist in the                to the Committee of Directors General for approval in September 2021.
         investigation and prosecution of traffickers but did not require their        One of the four inter-ministerial teams was tasked with conducting
         participation in court cases as a condition for receiving visas and           research on the scope and characteristics of trafficking in Israel; the
         protective assistance; victims could opt to leave the country pending         government approved the team’s research plan during the reporting
         trial proceedings. The government continued implementing policy               period and provided a budget. Unlike previous years, the Knesset
         guidance established during the previous reporting period for collecting      did not re-establish the Subcommittee on Trafficking in Women and
         early testimony in cases involving foreign victims if foreign victims         Prostitution; however, the Knesset established a committee on migrant
         requested repatriation before the conclusion of their case. In December       workers, which discussed labor trafficking, among other issues. While
         2021, the government fully approved and published an amendment                the government produced an annual report on its anti-trafficking efforts
         to its Procedures (Examination of Witnesses) Law to allow victims or          and regularly updated information on NATU’s website, the report was
         witnesses to provide testimony not in the presence of the defendant           not publicly available; NGOs reported difficulty obtaining information
         but, rather, in the presence of the defense attorney in speciﬁc offenses      on the government’s anti-trafficking efforts, and the government did
         including trafficking. The government continued implementing new              not respond to most information requests from NGOs. The government
         procedures established in March 2021 for managing sex crimes,                 conducted various national awareness-raising campaigns, including
         including sex trafficking, by designating a contact person at every           education programs for students, national television commercials,
         court to coordinate victims’ security during proceedings, arranging           radio broadcasts, and lectures for government officials, shelter staff,
         private waiting rooms, and enabling video testimony. The Legal Aid            and academics. In May 2021, Israel acceded to the Council of Europe
         Administration (LAA) continued to provide free legal aid to trafficking       Convention on Action Against Trafficking in Human Beings.
         victims to assist in civil procedures, immigration procedures, and—in
                                                                                       376A of the Penal Law 5737-1977 prohibited holding a person’s
         sex trafficking cases—criminal proceedings; forced labor victims did
                                                                                       passport against their will and carried a penalty of three to ﬁve years’
         not have automatic access to LAA assistance in criminal proceedings.
                                                                                       imprisonment; the government did not report speciﬁc law enforcement
         During the reporting period, the government drafted an amendment
                                                                                       action under this law during the reporting year. In 2021, the Ministry of
         to the Legal Aid Law to expand legal aid in criminal proceedings to all
                                                                                       Economy and Industry (MOEI), which employed 210 labor inspectors,
         victims of trafficking, including labor trafficking victims; the amendment
                                                                                       issued 196 administrative warnings, imposed 45 ﬁnes totaling 5.27
         was pending at the end of the reporting period. In 2021, the LAA
                                                                                       million shekels ($1.7 million), and ﬁled two indictments for labor
         received 135 legal aid requests to assist potential trafficking victims,
                                                                                       violations involving child labor that resulted in ﬁve convictions; in
         compared with 76 legal aid requests in 2020. The government allowed
                                                                                       2020, the MOEI issued 196 administrative warnings, imposed 66 ﬁnes
         trafficking victims to work during the investigation and prosecution of
                                                                                       totaling 9.96 million shekels ($3.2 million), and ﬁled two indictments
         traffickers. The government provided all recognized victims with work
                                                                                       for labor violations. In addition, through MOEI inspections, employers
 304                                                                                                                               Haiti AR_000785
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 410 of 729




                                                                                                                                                             ISRAEL
returned 829,120 shekels ($267,540) of withheld wages to foreign               Law” (article 4 of the Prevention of Inﬁltration Law), which required
workers in 2021. Authorities opened 489 criminal investigations and            employers to deposit a certain percentage of undocumented migrants’
ﬁled 114 indictments against employers of foreign workers for suspected        wages—including those of identiﬁed trafficking victims—into a fund
violations of labor laws; courts rendered 69 sentences with sanctions          that migrant workers could not access until they departed the country.
and compensation totaling approximately 5.35 million shekels ($1.73            Workers could request their deducted wages be returned through PIBA’s
million). This represented an increase from 2020 when the government           website. As of December 2021, the government returned more than
opened 1,145 criminal investigations for suspected violations of labor         212 million shekels ($68.41 million) to 14,712 workers; the government
laws, ﬁled 94 indictments, and rendered 77 sentences with sanctions            coordinated with an international organization to advertise the website
and compensation totaling 3.7 million shekels ($1.19 million). NGOs            to encourage an additional 3,070 workers to request the return of
continued to report there were not enough labor inspectors, especially         their funds. However, the government did not report whether any
in the construction and agricultural sectors, to sufficiently monitor          investigations were opened during the reporting period into employers
and enforce labor laws. Additionally, NGOs reported the government             who deducted funds from 231 workers but did not deposit funds. In
did not effectively regulate foreign contracting companies (“Hevrot            October 2020, the MLSS rejected proposals by Knesset members to
Bitzua”), nor did it effectively prevent the exploitation of foreign           require the government to repay money owed to workers or to provide
workers in the construction and agriculture sectors recruited outside          workers with legal assistance to sue their employers; for the second
of established BWAs. In 2021, the government implemented new                   consecutive year, the government did not address how to return money
BWAs with the Philippines and Sri Lanka in home-based long-term                owed to this group of workers. The government continued to incentivize
care sectors and with Nepal and Georgia in the institutionalized long-         undocumented African migrants to “voluntarily” depart Israel to third
term care sector. The government maintained BWAs with 10 other                 countries in Africa, which included a paid plane ticket in most cases and
countries for agriculture, construction, caregiving, and domestic work         a $3,500 stipend in some cases; however, NGOs and an international
sectors; in 2021, 9,387 of the 31,370 foreign workers who arrived in           organization conﬁrmed that migrants who arrived in a third country
Israel did so through these agreements. Foreign workers recruited              in Africa did not receive residency or employment rights upon arrival.
under BWAs had triplicate standardized labor contracts held by the
                                                                               The government did not have a trafficking-speciﬁc hotline. PIBA, in
worker, employer, and the government. Private Israeli recruitment
                                                                               collaboration with an NGO, continued to operate a 24-hour hotline to
agencies could not charge worker-paid recruitment fees in the domestic
                                                                               assist foreign workers who were in Israel under bilateral agreements.
caregiving sector, and worker-paid recruitment fees were capped at
                                                                               The hotline employed 13 interpreters in seven languages: Chinese,
2,814 shekels ($910) in the agricultural sector; the government did not
                                                                               Thai, Russian, Nepali, Sinhalese, Ukrainian, and Tagalog. In 2021, the
report other actions to prohibit worker-paid recruitment fees. While
                                                                               hotline received 3,603 calls; similar to previous years, the majority of
Israeli law required employers of foreign workers to provide detailed
                                                                               calls were from People’s Republic of China (PRC) national construction
labor contracts in a language the worker understands, there was not
                                                                               workers (2,323 calls). In 2020, the hotline received 2,874 calls including
adequate government oversight to ensure contracts for workers not
                                                                               1,828 calls from PRC national construction workers. There was no
covered by BWAs met labor standards, which left workers vulnerable
                                                                               comparable hotline for documented migrant workers who worked in
to exploitative employment practices, including long work hours,
                                                                               Israel through private recruitment, nor for Palestinian workers in Israel
violations of work and living conditions, and exploitative promissory
                                                                               and Israeli settlements in the West Bank. The Child Protection Bureau
notes. NGOs reported foreign workers often paid exorbitant fees to
                                                                               Hotline, which handled online offenses against children, reported
recruitment agencies in their country of origin or the Israeli manpower
                                                                               addressing 11,771 cases in 2021, an increase from around 10,000 in
agency; NGOs reported many foreign workers ﬁnanced the fees through
                                                                               2020; however, the hotline did not report identifying any suspected
high interest rate loans from informal or illicit lenders in Israel, further
                                                                               cases of trafficking. The government made efforts to reduce demand
increasing workers’ vulnerability to trafficking.
                                                                               for commercial sex acts by coordinating an online awareness campaign
While most foreign workers could change employers without their                stating consumption of commercial sex is illegal in Israel, in both Hebrew
previous employers’ permission, foreign construction workers were              and Arabic. In addition, courts could sentence individuals found guilty
limited to being able to change employers on a speciﬁed date each              of purchasing commercial sex to participate in educational workshops
quarter and otherwise required employers’ permission to change                 instead of paying a ﬁne. The government did not report efforts to
employers. However, workers employed by foreign contracting                    prevent child sex tourism.
companies (“Hevrot Bitzua”), primarily in the construction sector,
were not authorized to change employers unless it was to another               TRAFFICKING PROFILE
foreign contracting company. PIBA procedures for recruitment agencies          As reported over the past ﬁve years, human traffickers exploit domestic
in the caregiving sector continued to require every agency to hire a           and foreign victims in Israel. Palestinians and foreign workers, primarily
licensed social worker responsible for supervising the conditions of           from South and Southeast Asia, Eastern Europe, and the former Soviet
foreign caregivers, including home visits, and for informing relevant          Union, migrate to Israel for temporary work in construction, agriculture,
authorities about labor violations. While the government contended             and caregiving; traffickers exploit some of these workers in forced
that workers’ visas were not tied to a speciﬁc employer, government            labor. As of March 2021, data from the Israeli government and NGOs
policies restricted foreign caregivers’ ability to change employers by         indicated there were approximately 203,000 legal foreign workers and
allowing them to work only in a speciﬁc geographical area, preventing          183,000 non-citizens present in Israel, many of whom are without legal
them from changing employers more than three times, and preventing             status, including Palestinian workers, in Israel and Israeli settlements in
them from changing employers after being in Israel for 63 months. In           the West Bank. As pandemic-related travel restrictions eased in 2021,
2021, the government reported 13,734 requests to change employers              31,370 foreign workers entered Israel in 2021, compared with 10,662 in
in the caregiving sector were denied due to technical reasons including        2020 and approximately 23,138 in 2019. Israeli and foreign employers
those previously outlined. NGOs also reported that if a foreign caregiver      exploit foreign workers, particularly Turkish, PRC national, Palestinian,
abruptly left their employer, including due to physical or sexual violence,    Russian, Ukrainian, and Serbian men, in the construction sector where
government policy allowed employers to unilaterally revoke their visa,         they suffer from labor abuses and violations and labor trafficking.
and foreign caregivers were not entitled to an immigration hearing.            Some employers or intermediaries illegally charge Palestinian workers
PIBA continued implementing a new policy regarding Palestinian                 monthly commissions and fees, and in many cases, employers illegally
work permits in the construction, industry, and service sectors to             hire out Palestinian workers to other workplaces; these workers are
allow Palestinian workers to change employers more easily; however,            vulnerable to forced labor. The employer-based work permit system for
NGOs reported the new policy did not take sufficient steps to inform           Palestinians—except those working in the construction sector and select
Palestinian workers about the policy change or implement mechanisms            other sectors—binds Palestinian workers to speciﬁc employers, which
to facilitate the job search process and left Palestinian workers vulnerable   enables some employers to exploit workers in forced labor. Furthermore,
to labor violations.                                                           as a condition of their overnight permits, employers retained identity
                                                                               documents of some Palestinian workers, effectively restricting their
The government continued returning deducted wages to workers after
                                                                               movement in Israel. The approximately 1,500 Jordanian day workers
the Supreme Court declared unconstitutional in April 2020 the “Deposit
                                                                               are vulnerable to forced labor in construction, agriculture, and other
                                                                                                                                Haiti AR_000786              305
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 411 of 729
ITALY   sectors, primarily in the resort city Eilat, due to limits on entry permits    the government estimates that ﬁgure tripled during 2020. Since 2007,
        and the geographic isolation of Eilat. Traffickers subject some Thai men       thousands of African migrants entered Israel via the Sinai Peninsula.
        and women to forced labor in Israel’s agricultural sector by imposing          The ﬂow of these migrants arriving in Israel, peaking at more than
        conditions of long working hours, no breaks or rest days, withheld             17,000 in 2011, dramatically decreased to zero in 2017. Many of these
        passports, poor living conditions, and difficulty changing employers           migrants were kidnapped by criminal groups in the Sinai and subjected
        due to limitations on work permits. Some traffickers in the agricultural       to severe abuse, including forced labor and sex trafficking, before
        sector recruit agricultural students to take part in an agricultural study     reaching Israel. In 2020, an NGO reported that of the approximately
        program on student visas and force them to work in the industry upon           4,000-5,000 of these migrants still present in Israel, the government
        arrival, effectively circumventing the BWA process; observers reported         had only recognized approximately 400-500 as trafficking victims but
        the programs contain no academic content and students are bound by             that the actual number was much higher.
        tuition fees—which NGOs reported were de facto recruitment fees—of
                                                                                       Israeli children, Israeli Bedouin and Palestinian women and girls, foreign
        up to 11,000 shekels ($3,550), effectively creating situations of debt
                                                                                       women, and transgender adults and children are vulnerable to sex
        bondage. Over the past three years, trafficking victims were identiﬁed
                                                                                       trafficking in Israel. Traffickers use social media websites, including
        in four of the six academic agriculture programs in Israel, including a
                                                                                       dating apps, online forums and chat rooms, and Facebook groups to
        group of Guatemalan and Honduran agricultural engineering students
                                                                                       exploit girls in sex trafficking. Israeli Bedouin and West Bank Palestinian
        in 2020. In 2021, the government recognized 10 Vietnamese agricultural
                                                                                       women and girls are vulnerable to sex and labor trafficking after family
        students as trafficking victims after they were forced to endure 14-16
                                                                                       members force them into marriages with older men; these women
        hour work days, were conﬁned to company-controlled housing, and
                                                                                       and girls experience physical and sexual abuse, threats of violence,
        had their passports conﬁscated; participants were also under a threat
                                                                                       and restricted movement. Russian, Ukrainian, Eritrean, and Ethiopian
        of a $30,000 promissory note for breaching their contract. Another 30
                                                                                       women are also vulnerable to sex and labor trafficking through online-
        students were offered recognition but declined due to fear of retaliation
                                                                                       facilitated forced marriages. NGOs report some Palestinian LGBTQI+ men
        upon their return to Vietnam. Caregivers are highly vulnerable to forced
                                                                                       and boys and Palestinian transgender women in Israel are vulnerable
        labor due to their isolation inside private residences and their lack of
                                                                                       to abuse and sexual exploitation due to their lack of legal status and
        protection under the labor law; local NGOs report traffickers subject
                                                                                       restrictions on work eligibility for Palestinian nationals in Israel. Some
        caregivers to excessive recruitment fees, fraudulent work contracts,
                                                                                       Israeli transgender women and girls are sexually exploited in commercial
        long work hours, conﬁscation of passports, underpayment of wages,
                                                                                       sex to be able to afford gender-affirming care. Some transgender
        physical violence, sexual harassment and abuse, denial of severance
                                                                                       children as young as 13 years old, many of whom ran away from home,
        pay, and poor housing, including—in some cases—living in the same
                                                                                       come under the mentorship of transgender women in commercial sex;
        room as their employer. Foreign caregivers constitute the second largest
                                                                                       sometimes these “mentors” then exploit these transgender children in
        share of all legal foreign workers in the country; the vast majority of
                                                                                       commercial sex. Traffickers subject women from Eastern Europe and
        these workers are women. During the reporting period, NGOs continued
                                                                                       the former Soviet Union, PRC, and Ghana, as well as Eritrean women,
        reporting foreign contracting companies (“Hevrot Bitzua”), primarily
                                                                                       to sex trafficking in Israel; some women arrive on tourist visas to work
        PRC- and Turkish-owned construction companies, in Israel compelled
                                                                                       willingly in commercial sex—particularly in the southern coastal resort
        PRC and Turkish nationals to work under the threat of debt bondage
                                                                                       city of Eilat—but sex traffickers subsequently exploit them. Some
        or coercive promissory notes. Foreign workers who entered Israel on
                                                                                       traffickers reportedly recruit sex trafficking victims with false, fraudulent,
        “expert” visas—a visa procedure intended to facilitate the recruitment of
                                                                                       or misleading job offers on the internet, sometimes through legitimate
        highly skilled workers to ﬁll hard-to-ﬁll jobs—are vulnerable to trafficking
                                                                                       employment websites. During the previous reporting period, Israeli
        as the construction and manufacturing sectors increasingly use the
                                                                                       authorities indicted a suspect for allegedly holding people in conditions
        visa system to recruit workers for low-wage jobs. In 2021, an estimated
                                                                                       of slavery while operating a religious cult by allegedly forcing women
        13,148 foreign workers entered Israel on “expert” visas, primarily from
                                                                                       and children to provide any earnings to the suspect and to perform
        the PRC and low-income countries, and paid recruitment fees as high
                                                                                       involuntary domestic work; media reporting also alleged the suspect
        as 98,350 shekels ($31,740). Networks of workforce agencies recruit
                                                                                       sexually exploited the victims.
        workers to Israel through a fraudulent asylum-claim process, charge
        workers high facilitation fees, and sell them fake documents; these
        workers are vulnerable to exploitation. The government’s policy of
        refusing fast-track asylum claims has resulted in fewer claims from
        Ukrainian and Georgian applications; however, they were replaced by             ITALY: TIER 2
        increased numbers of Russian and Moldovan workers following the
        same pattern. Some Bedouin Israeli children are reportedly vulnerable          The Government of Italy does not fully meet the minimum standards for
        to forced labor, experiencing long working hours and physical violence.        the elimination of trafficking but is making signiﬁcant efforts to do so.
        Traffickers exploit Palestinian children in forced begging in the Northern     The government demonstrated overall increasing efforts compared to
        District of Israel and Jerusalem. NGOs also reported large numbers of          the previous reporting period, considering the impact of the COVID-19
        Arab children in Israel exploited in various forms of labor exploitation       pandemic on its anti-trafficking capacity; therefore Italy remained on
        during the reporting due to pandemic-related school closures.                  Tier 2. These efforts included increasing prosecutions and convictions
        Eritrean and Sudanese male and female migrants and asylum-seekers              compared with the prior year. The government continued to implement
        are highly vulnerable to sex and labor trafficking in Israel. As of March      its three-year plan to combat labor exploitation in agriculture by
        2022, there were approximately 27,000 African migrants and asylum-             increasing training for labor inspectors and informing vulnerable
        seekers in Israel, most of whom were from Eritrea or Sudan. Asylum-            populations, like foreign workers in agriculture, of their rights. The
        seekers received temporary stay permits but did not have the explicit          government approved its ﬁrst national referral mechanism (NRM) for
        right to work in Israel and routinely worked low-wage jobs in unsafe           the identiﬁcation and assistance of labor trafficking and exploitation
        environments. According to NGOs, these migrants and asylum-seekers             victims in the agricultural sector. However, the government did not meet
        were increasingly vulnerable to trafficking due to the government’s            the minimum standards in several key areas. The government reported
        implementation of the Deposit Law that reduced net wages for this              fewer trafficking investigations compared with the prior two years and
        population; the government repealed this law in April 2020, but the            remained without a national action plan (NAP) or national rapporteur,
        government was not able to return all funds to workers due to fraudulent       hindering efforts to coordinate national and local anti-trafficking
        practices by employers. NGOs reported nearly 80 percent of this                actions. The government assisted fewer victims compared with the
        population experienced some type of unemployment at the peak of the            prior year and did not report awarding compensation or restitution
        pandemic in 2020, further increasing their risk to exploitation. Economic      to any victims. Gaps in victim identiﬁcation systems persisted, and
        distress among women in this population, especially Eritrean women,            the government again did not identify any Italian nationals as victims
        greatly increases their vulnerability to sex trafficking. Approximately 400    and very few children, despite high estimates by civil society. The
        female asylum-seekers engaged in survival sex prior to the pandemic;           government also continued to lack legal safeguards to protect victims

 306                                                                                                                                  Haiti AR_000787
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 412 of 729




                                                                                                                                                             ITALY
against potential penalization for unlawful acts traffickers compelled        Ministry of Justice (MOJ) reported investigating 214 persons under
them to commit, which resulted in the conviction and punishment of            Articles 600, 601, and 602, a decrease compared with 254 in 2020 and
several trafficking victims.                                                  323 in 2019. The government prosecuted 121 suspects under articles 600,
                                                                              601, and 602, an increase compared with 106 in 2020, but signiﬁcantly
                                                                              fewer than 202 in 2019. In 2021, trial and appellate courts convicted
        ITALY TIER RANKING BY YEAR                                            204 traffickers under articles 600, 601, and 602, an increase compared
    1                                                                         with both 175 in 2020 and 198 in 2019. While the government did not
    2                                                                         report comprehensive sentencing data in a format that allowed for an
  2WL                                                                         assessment of the signiﬁcance of sentencing, it reported the average
                                                                              sentence for convicted traffickers was 9.2 years in 2021. The government
    3
           2015      2016      2017   2018   2019   2020    2021    2022
                                                                              also conﬁrmed that at least 51 percent of the convicted traffickers in
                                                                              2021 were sentenced to signiﬁcant sentences of one year or longer
                                                                              imprisonment.
                                                                              The government did not maintain a consolidated database on
PRIORITIZED RECOMMENDATIONS:                                                  investigations, prosecutions, convictions, and sentencing of traffickers,
Increase proactive victim identiﬁcation by improving and consistently         or of their victims, a deﬁciency noted by GRETA. Specialized anti-maﬁa
implementing the national identiﬁcation referral mechanism across the         units of prosecutors and judiciary police handled trafficking prosecutions.
country, including for Italian nationals and vulnerable populations such      Whenever investigators found clear evidence of trafficking, they referred
as foreign migrants and children. • Vigorously investigate and prosecute      the case to an anti-maﬁa unit, which relaunched the investigation and
trafficking cases and convict and sentence traffickers with adequate          consequently extended the timeframe for prosecution and trial. To
sentences. • Intensify efforts to effectively screen for labor trafficking    avoid delays, non-specialized investigators and prosecutors sometimes
through increased inspections and improved training of labor inspectors       charged perpetrators with crimes other than trafficking. Anti-maﬁa
to spot trafficking indicators and refer victim for services. • Strengthen    units continued to prioritize investigations of criminal networks over
interagency coordination and partnership with civil society. • Adopt a        individual cases, citing limits on available resources. Lack of a sufficient
NAP. • Continue to increase migrant worker protections by consistently        number of interpreters, especially for West African dialects, continued
enforcing strong regulations and oversight of labor recruitment agencies      to limit law enforcement arrests and investigations, as well as diminish
and labor brokers, including investigating and prosecuting for labor          the beneﬁts of investigators’ wiretapping capability. Italian prosecutors
trafficking. • Ensure labor trafficking is investigated and prosecuted as     and police continued to cite insufficient cooperation in investigations
a trafficking offense and not pursued as an administrative labor code         from officials in source and transit countries; with many transnational
violation or other lesser crime. • Consolidate data among different           cases, this hindered prosecutions and convictions.
ministries and make public a database on investigations, prosecutions,
and convictions, including sentencing data. • Implement a licensing           Law enforcement agencies received training on victim identiﬁcation
and accreditation process for massage parlors and increase oversight.         and investigation of trafficking crimes within their standard curriculum.
• Increase awareness of and trafficking survivor access to compensation       In 2021, the government did not report details on training efforts for
and increase prosecutors’ efforts to systematically request restitution       law enforcement or front-line officials. The government cooperated
for survivors during criminal trials. • Continue to increase international    in international law enforcement investigations with Bosnia and
cooperation with source and transit countries on information sharing and      Herzegovina, France, and Moldova through a cooperative partnership,
countering trafficking rings. • Improve security standards in and around      which resulted in the identiﬁcation of 25 suspects and 148 victims. The
reception centers to limit contact between traffickers and victims or         government continued to provide funding to an international organization
potential victims. • Continue to strengthen international law enforcement     for an anti-trafficking project across Africa, part of which focused on
cooperation to prevent and investigate child sex tourism. • Amend the         improving international judicial cooperation between Italy and Nigeria;
law on the non-punishment of victims to ensure that trafficking victims       although the exchange program with Nigeria was suspended due to the
could not be inappropriately penalized for unlawful acts traffickers          pandemic, in 2021, a prosecutor exchange program was established with
compelled them to commit. • Appoint a national rapporteur to provide          Niger, in which one prosecutor was hosted by Italy. The government did
an independent review of government efforts. • Increase survivor              not report any investigations, prosecutions, or convictions of government
engagement, including by establishing accessible mechanisms for               employees complicit in human trafficking crimes.
receiving and providing compensation for survivor input when forming
policies, programs, and trainings. • Increase efforts to pursue ﬁnancial      PROTECTION
crime investigations in tandem with human trafficking cases.                  The government maintained uneven protection efforts. In 2021,
                                                                              authorities reported pandemic-related restrictions and the increased
PROSECUTION                                                                   use of private residences and online platforms continued to hinder their
The government made uneven law enforcement efforts. Article 601 of            identiﬁcation of sex trafficking victims, while workplace closures and
the penal code criminalized sex trafficking and labor trafficking and         further isolation made the identiﬁcation of labor trafficking victims more
prescribed penalties of eight to 20 years’ imprisonment, which increased      difficult. The government identiﬁed 463 new victims in 2021, similar to
by one third to one half if the offense involved a child victim. These        470 in 2020 but less than 657 in 2019. Of the victims identiﬁed, 255
penalties were sufficiently stringent and, with respect to sex trafficking,   were sex trafficking victims, and 192 were labor trafficking victims,
commensurate with penalties prescribed for other serious offenses, such       which included 169 victims of forced labor, nine victims of forced
as rape. Additional penal code provisions were utilized to prosecute          criminality, seven victims of domestic servitude, and seven victims of
trafficking crimes. Article 600 criminalized placing or holding a person      forced begging. Sixteen of the 463 victims were exploited in trafficking
in conditions of slavery or servitude, and Article 602 criminalized the       abroad or in transit to Italy. The government also identiﬁed 201 persons
sale and purchase of slaves—both prescribed the same penalties as             at migration centers whom the government believed were likely to
Article 601. Additionally, Article 600-bis criminalized offenses relating     become victims of trafficking but had not yet been exploited in Italy.
to child sex trafficking and prescribed punishments of six to 12 years’       All newly identiﬁed victims were foreign nationals and undocumented
imprisonment and a ﬁne.                                                       migrants, and asylum-seekers continued to make up the majority of
                                                                              identiﬁed trafficking victims, with most victims originating in Nigeria and
The pandemic decreased the capacity of law enforcement to conduct             a smaller percentage from Pakistan and Morocco. NGOs reported gaps
trafficking investigations, and courts reported a delay in judicial           in authorities’ proactive victim identiﬁcation efforts persisted during
proceedings for all crimes due to its increased workload adjudicating         the reporting period. The government again did not identify any Italian
pandemic-related infractions during the prior year. The government did        nationals as victims and very few children (less than 1 percent despite
not disaggregate between sex and labor trafficking for investigations,        prior year high estimates of such victims by civil society); experts raised
prosecutions, or convictions for Articles 600, 601, or 602, making law        concerns about this potential gap in victim identiﬁcation. Furthermore,
enforcement efforts on labor trafficking indeterminate. In 2021, the          NGOs reported police forces in some provinces did not fully cooperate
                                                                                                                                Haiti AR_000788              307
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 413 of 729
ITALY   with civil society organizations focused on undocumented migrants, due          identify many trafficking victims upon arrival, potentially leaving some
        to a lack of understanding or mutual distrust, which subsequently limited       victims unidentiﬁed within the system and classiﬁed them instead as
        the ability of local authorities to identify victims among this population.     asylum-seekers or undocumented migrants and therefore subject to
                                                                                        deportation. NGOs continued to stress the need for more time to screen
        The government cooperated with NGOs and international organizations
                                                                                        refugees and migrants at arrival ports to more accurately ascertain victim
        to provide shelter and services to victims. In 2021, the government
                                                                                        status, but they acknowledged conditions were not conducive to a stay at
        provided victim assistance through 12 projects submitted by regional
                                                                                        the ports beyond one or two days. During the reporting period, regional
        and local authorities and nine submitted by NGOs from across Italy and
                                                                                        committees continued to utilize national guidelines for asylum-seekers
        allocated €24 million ($27.21 million) to these projects; the same as in
                                                                                        to adjudicate asylum applications to identify trafficking victims among
        2020 and 2019. NGOs reported high standards of assistance programs
                                                                                        applicants; however, inconsistencies in implementation persisted. In
        across regions, with occasional localized differences in quality. NGOs
                                                                                        2021, the number of asylum applications doubled to approximately
        reported the Department of Equal Opportunity (DEO), which coordinated
                                                                                        56,000, with 42,000 pending at the end of the reporting period. The
        protection efforts, was not sufficiently funded or staffed to consistently
                                                                                        government processed 53,000 applications during the year, including
        monitor assistance programs nationally. In 2021, the DEO reported
                                                                                        applications from previous years, and granted asylum status or subsidiary
        government-funded NGOs assisted 1,347 trafficking victims, including
                                                                                        protections to roughly 56 percent of the applicants.
        907 sex trafficking victims, 406 labor trafficking victims (including 350
        forced labor victims, 27 forced criminality victims, 15 forced begging          The law allowed for an initial three to six months of government assistance
        victims, and 14 domestic servitude victims), and 34 victims exploited in        to all trafficking victims. After initial assistance, foreign victims were
        trafficking abroad or in transit to Italy. This was a decrease compared         eligible to obtain temporary residency and work permits and had a path
        with 1,444 trafficking victims assisted in 2020 and 1,877 assisted in           to permanent residency; additionally, foreign victims were eligible for six
        2019. The government also assisted 16 witnesses and 490 persons                 months of shelter beneﬁts, renewable for an additional six months only
        at migration centers whom the government believed were likely to                if the victim obtained a job or enrolled in a training program. However, in
        become trafficking victims but had not yet been exploited in Italy.             some cases, the government housed victims and potential victims with
        Statistics pertaining to the number of victims assisted by the government       undocumented migrants, and such housing lacked adequate security
        included victims assisted for the ﬁrst time in 2021, as well as ongoing         against traffickers seeking to recruit victims or remove those already
        assistance to victims identiﬁed in prior years. While the government            under their control. Between January and June 2021, the MOI reported
        had a formal and comprehensive national identiﬁcation and referral              identifying 493 potential trafficking victims and providing them with
        mechanism that addressed all forms of trafficking, it was implemented           either a temporary residence permit, refugee status, or subsidiary
        unevenly throughout Italy during the reporting period. Both NGOs and            and special protection. This compared with 108 temporary residence
        the government could identify trafficking victims. NGOs and the DEO             permits in 2020 and 155 permits in 2019. The government reported that
        recognized inconsistencies in the efficiency and effectiveness of the           foreign and Italian nationals were entitled to the same beneﬁts and
        current referral process between regions and found that quality standards       that the law entitled all crime victims to free legal assistance. Italian
        were lower in the south. In October 2021, the government approved its           criminal law lacked a provision speciﬁcally prohibiting punishment
        ﬁrst national identiﬁcation and referral mechanism speciﬁcally for labor        of trafficking victims for unlawful acts traffickers compelled them to
        trafficking and exploitation in agriculture, which included minimum             commit, but rather prosecutors and judges had discretion on whether
        standards, standard procedures, and available assistance for victims.           to prosecute a trafficking victim based on the principle of the “state of
        Insufficient availability of interpretation services for lesser-known African   necessity.” Current law required proof of exploitation in a criminal action
        dialects, with victims coming from as many as 15 different language             against the perpetrator, which left victims and potential victims at risk
        groups, remained a signiﬁcant challenge. Trustworthy interpreters were          of prosecution and conviction when a court did not ﬁrst convict the
        also difficult to secure, as reportedly many interpreters came from the         perpetrators. Experts and GRETA urged the government to adopt a legal
        same communities as the accused traffickers.                                    provision explicitly preventing inappropriate penalization of victims for
                                                                                        unlawful acts traffickers compelled them to commit, which would also
        While the government had a victim identiﬁcation and referral mechanism
                                                                                        prevent unfair application of the principle of the “state of necessity.”
        for some forms of child trafficking and children within the asylum system,
                                                                                        During the reporting period, NGOs reported several instances where
        it remained without a separate national mechanism that included all
                                                                                        authorities penalized victims for unlawful acts traffickers compelled
        forms of trafficking. In its 2019 report, GRETA recommended establishing
                                                                                        them to commit. NGOs reported a case in which Nigerian trafficking
        a separate NRM speciﬁcally for the specialized needs of children. NGOs
                                                                                        victims in migration centers were forced to commit drug-related crimes
        estimated there were several thousand children in Italy who were
                                                                                        but initially remained unidentiﬁed as trafficking victims; however, once
        victims of trafficking in 2021. Many unaccompanied Nigerian child
                                                                                        authorities recognized them as victims, prosecutors continued to pursue
        victims misrepresented their age to gain placement in adult reception
                                                                                        the case, and courts ultimately convicted the trafficking victims, but with
        centers, giving them greater freedom to leave the center unnoticed
                                                                                        reduced sentences. The government did not require victims to cooperate
        with their trafficker. NGOs, however, welcomed increased scrutiny by
                                                                                        with law enforcement to obtain assistance like shelter, medical care,
        authorities of these age-claims, and authorities more often sent victims
                                                                                        or a residence permit, although NGOs and international organizations
        into child protection if unable to conﬁrm adult age-status. Foreign
                                                                                        reported authorities did not consistently implement this policy and
        child victims automatically received a residence permit until age 18
                                                                                        sometimes gave preference to those who cooperated. The government
        and accommodations in a general children’s center or a designated
                                                                                        reported it often had difficulty prosecuting trafficking cases because
        center for trafficking victims who were also asylum-seekers. Children
                                                                                        victims were often unwilling to cooperate with law enforcement, and
        received counseling and were enrolled in public schools with the support
                                                                                        in a March 2021 document, NGOs urged the government to adopt a
        of mentors. The government reported, by March 2022, approximately
                                                                                        victim-centered approach. The government had a witness protection
        300 unaccompanied children sought refuge in Italy after ﬂeeing Russia’s
                                                                                        program but did not report whether any trafficking victims were able
        full-scale invasion of Ukraine; the government reported identifying all
                                                                                        to access this protection during the reporting period.
        unaccompanied children as they crossed the border and subsequently
        provided them with accommodation and access to educational facilities.          The government continued to lack comprehensive statistics on restitution
                                                                                        and damages awarded to victims and did not require prosecutors
        The government reported observing standard UNHCR procedures to
                                                                                        to systematically request restitution during criminal trials. The
        screen for trafficking victims among the approximately 67,500 asylum-
                                                                                        government could offer a single payment of €1,500 ($1,700) to victims
        seekers, unaccompanied children, and undocumented migrants that
                                                                                        for compensation, although GRETA and NGOs noted the application
        arrived by sea in 2021. Civil society coordinated with law enforcement
                                                                                        was overly complex, the amount insufficient, and very few victims
        and immigration officials at both the arrival points and the longer-term
                                                                                        ever received compensation. The government did not report granting
        reception centers, and an international organization reported providing
                                                                                        compensation to any victims during the reporting period. GRETA
        information on potential trafficking victims to local officials responsible
                                                                                        further recommended the government increase the use of existing legal
        for assigning migrants to migration centers and trafficking victims to
                                                                                        remedies to provide restitution to victims and more proactively seize
        shelters. However, NGOs continued to assert authorities did not properly
                                                                                        assets and pursue forfeiture against perpetrators. The government did

 308                                                                                                                                 Haiti AR_000789
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 414 of 729




                                                                                                                                                             ITALY
not award restitution from criminal cases or damages from civil suits         38,000 foreign care providers and farmers by October 2021. In December
to any trafficking victims.                                                   2021, the government adopted another decree, which granted temporary
                                                                              residence permits to an additional 69,700 seasonal and permanent
PREVENTION                                                                    foreign workers. Fraudulent labor recruitment and passport retention
The government maintained prevention efforts. The DEO, as coordinator         remained concerns. Although illegal, employers or labor recruiters
of the interagency steering committee on trafficking, was responsible         sometimes charged a placement fee to employees, which increased their
for drafting the national anti-trafficking action plan, coordinating          risk of trafficking. The government had a licensing and accreditation
programs for prevention and victim assistance, and submitting a biannual      system for labor brokers and labor recruitment agencies. However, there
anti-trafficking report. The government remained without a national           was a lack of regulation, including a licensing or accreditation system,
rapporteur to provide independent analysis of government efforts to           and oversight on massage parlors, which remained likely locations
combat human trafficking; in a March 2021 document submitted to the           for sex trafficking. In 2021, the government continued efforts to hold
government, several NGOs urged the government to establish such a             labor recruiters accountable for illicit labor mediation by arresting 48
body. The interagency steering committee met once in 2021 and tasked          suspects, prosecuting 523 suspects, and convicting 163 criminals. Illicit
a technical committee with drafting a new NAP, as the prior plan expired      labor mediation did not meet the threshold for labor trafficking; however,
in 2018; however, the government did not adopt a new plan during the          law enforcement efforts in this sector helped prevent and reduce the
reporting period. Civil society reported that the DEO was not effective       demand for forced labor. While authorities often arrested many suspects
at steering and coordinating national anti-trafficking efforts. NGOs          for crimes that could potentially reach the threshold of labor trafficking,
urged the government to strengthen interagency coordination and               the government did not report investigating or prosecuting any recruiters
partnership with civil society and adopt a victim-centered approach.          or companies for fraudulent recruitment or labor trafficking, but instead
The inter-ministerial working group on labor exploitation, which focused      it arrested suspects for other related crimes. GRETA recommended the
on the agricultural sector and illicit labor brokers and aimed to prevent     government intensify efforts to more effectively screen for trafficking
exploitation and offer legal alternatives to illegal employment, met an       victims through increased labor inspections and expanded training
unknown number of times and continued to implement its three-year             of inspectors and in monitoring of recruitment practices including in
plan (2020-2022) to combat labor exploitation in agriculture. In 2021,        agriculture, domestic labor, hospitality, and food service.
under its three-year plan, the government continued to contribute
                                                                              The law required businesses to submit reports on their actions to minimize
trained cultural mediators to inform vulnerable populations of their
                                                                              the risk of forced labor and prohibited the purchase of products made
rights and raise awareness among refugees, migrants, and victims,
                                                                              with forced labor. In 2021, the government signed a multilateral labor
especially in the agricultural sector. This awareness campaign among
                                                                              rights agreement with the Government of Moldova, which included
migrant workers and refugees resulted in authorities identifying a total
                                                                              major trade unions in both countries, to protect migrant workers in both
of 62 labor trafficking victims among foreign workers between June
                                                                              countries. The government also signed another bilateral agreement with
2020 and June 2021; authorities referred 28 to assistance services and
                                                                              the Government of Cote d’Ivoire in 2021, with a focus on law enforcement
reported that 104 workers ﬁled suits for back wages. The government
                                                                              cooperation on trafficking investigations and prosecutions; however,
did not report any national-level public awareness campaigns.
                                                                              the government did not report further trafficking-related results for
The government continued to provide funding to international                  either agreement. The DEO continued to operate its 24-hour hotline for
organizations for anti-trafficking related projects, primarily in Africa.     victims of human trafficking, available in 12 languages, which reported
In March 2022, the government approved a decree allocating €428               receiving 1,507 relevant calls 2021, but the government did not report
million ($485.26 million) to assist and integrate up to 75,000 Ukrainian      the number of potential trafficking victims identiﬁed as a result. Of the
refugees ﬂeeing Russia’s full-scale invasion of Ukraine by increasing         relevant calls, operators provided 19 percent of callers with information
space in migrant centers and funding for NGOs to provide psychological        on available assistance and 45 percent of callers with shelter information;
assistance and legal counseling. The government continued to cooperate        53 percent of the calls pertained to sexual exploitation, 34 percent
with Frontex, the European Border and Coast Guard Agency, and the             pertained to labor exploitation, and the remainder were unspeciﬁed.
Government of Libya to reduce the number of undocumented migrants             In June 2021, the government also established a help desk dedicated to
entering Italy from Libya. However, many NGOs criticized this coordinated     victims of labor exploitation, including trafficking; the help desk included
effort because it often resulted in the occupants of vessels identiﬁed        a hotline, social media accounts, a website, and a chat function, and the
in the Libyan search and rescue area being returned to Libyan shores;         government reported identifying 37 labor exploitation victims during
NGOs cited severe security and human rights conditions inside Libya           the reporting period. The government did not report national efforts to
and Libyan detention centers—including sex and labor trafficking—for          reduce the demand for commercial sex. The government did not report
the more than 12,000 undocumented migrants forced to remain in the            making efforts to reduce the demand for participation in international
detention centers. In March 2022, the Government of Germany announced         sex tourism by its citizens and did not report further efforts regarding
it would no longer commit to training the Libyan coast guard, due to          the two investigations initiated in 2020.
concerns about their treatment of migrants and NGOs.
Labor inspectors did not have the authority to identify trafficking victims
                                                                              TRAFFICKING PROFILE
                                                                              As reported over the past ﬁve years, human traffickers exploit foreign and,
but could refer them to police and NGOs. In 2021, the government
                                                                              to a lesser degree, domestic victims in Italy. Victims originate primarily
reported labor inspectors conducted 117,600 inspections but did not
                                                                              from Bulgaria, the People’s Republic of China (PRC), Cote d’Ivoire, the
report referring any trafficking victims to police as a result of these
                                                                              Gambia, India, Nigeria, Pakistan, and Romania, including ethnic Roma.
inspections. Law enforcement, immigration guards, and labor inspectors
                                                                              The pandemic exacerbates vulnerabilities for sex trafficking victims
participated in joint inspections that focused on the agricultural sector,
                                                                              through the increased use of private residences—instead of brothels
which resulted in the identiﬁcation of at least 21 suspected traffickers
                                                                              or clubs—and online recruitment. Sex traffickers are increasingly using
and the identiﬁcation of at least 134 victims of trafficking. In 2021,
                                                                              online platforms, like social networks, mobile applications, and the dark
in partnership with an international organization, the Ministry of
                                                                              web, to recruit, exploit victims, and book apartment rentals to make their
Labor and the National Labor Inspectorate reported training 2,400
                                                                              illicit operations difficult to track; this was exacerbated by the pandemic.
participants, most of whom were labor inspectors. The international
                                                                              During the pandemic, sex traffickers left thousands of Nigerian women
organization and the government created a labor exploitation working
                                                                              and children trafficking survivors destitute and without basic needs,
group at the national level and local task forces in various regions to
                                                                              such as food, during the national lockdowns; many anti-trafficking
address labor exploitation. Experts estimated that in 2021, as many as
                                                                              NGOs raised concerns that travel restrictions and limited social and
200,000 agricultural workers, especially seasonal workers, and 500,000
                                                                              public services make it more difficult for trafficking victims to escape
undocumented migrants were at risk of labor trafficking and exploitation
                                                                              and return home. In 2022, Ukrainian refugees, predominantly women
in Italy. In May 2020, the government adopted a decree allowing for the
                                                                              and children ﬂeeing Russia’s full-scale invasion of Ukraine, are vulnerable
regularization of workers informally employed in the agricultural, ﬁshing,
                                                                              to trafficking. LGBTQI+ individuals, many from Brazil and other Latin
home care, and domestic-work sectors; of the 230,000 applicants, the
                                                                              American countries, are vulnerable to sex trafficking in Italy. Traffickers,
government had only interviewed one-third and granted permits to
                                                                                                                                Haiti AR_000790              309
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 415 of 729
JAMAICA   often part of criminal networks run by PRC nationals, systematically              regulation likely increased the number of asylum-seekers or trafficking
          exploit women from the PRC in sex trafficking in apartments, beauty               victims forced to remain in Italy or return to Italy from another country.
          centers, clubs, and massage parlors, as well as labor trafficking in a variety
          of PRC national-owned businesses, sometimes forcing drug addiction on
          victims. Massage parlors are frequently used as fronts for the purchase of
          commercial sex, raising concerns about sex trafficking. Of an estimated
          40,000 to 45,000 individuals involved in commercial sex on the streets,
                                                                                             JAMAICA: TIER 2
          NGOs reported approximately 60 percent (or 24,000 to 27,000) are
                                                                                            The Government of Jamaica does not fully meet the minimum standards
          trafficking victims or at risk of trafficking and between 5 and 8 percent
                                                                                            for the elimination of trafficking but is making signiﬁcant efforts to do so.
          are children (or approximately 2,000 to 3,600). The government and
                                                                                            The government demonstrated overall increasing efforts compared to the
          civil society maintain that Nigerian women and unaccompanied children
                                                                                            previous reporting period, considering the impact of the pandemic on
          remain extremely vulnerable to trafficking because of the continued
                                                                                            its anti-trafficking capacity; therefore Jamaica remained on Tier 2. These
          operation of organized Nigerian trafficking networks. Trafficking networks
                                                                                            efforts included identifying more victims, including survivors of labor
          and gangs continue to grow more sophisticated, organized, and violent,
                                                                                            trafficking; formally launching a national referral mechanism (NRM) for
          particularly Nigerian gangs linked to the Black Axe, Supreme Viking
                                                                                            child victims; expanding training for officials on victim identiﬁcation and
          Confraternity, and the Eiye syndicate. Several Nigerian trafficking
                                                                                            referral; opening a child-friendly space for interviewing and providing
          networks have expanded operations across Italy and reportedly receive
                                                                                            immediate assistance to child victims; and making arrests for the illegal
          protection from Italian crime syndicates. International organizations
                                                                                            operation of private employment agencies. However, the government
          estimated up to 75 percent of the Nigerian women and unaccompanied
                                                                                            did not meet the minimum standards in several key areas. Convicted
          children who arrived in 2018 were trafficking victims. Traffickers subject
                                                                                            traffickers received suspended prison sentences and ﬁnes, penalties
          Nigerian women and girls to sex trafficking through debt-based coercion
                                                                                            that were not on par with the severity of their crimes. Unlike last year,
          and voodoo rituals. Authorities report traffickers encourage Nigerian
                                                                                            no victims were awarded restitution. The government did not provide
          victims to claim asylum to obtain legal residency and facilitate their
                                                                                            adequate funding for trafficking victim protection services. Although the
          continued exploitation. Traffickers sometimes exploit migrant women in
                                                                                            government provided some training for law enforcement and criminal
          sex trafficking in and around migration centers. The Government of France
                                                                                            justice officials, these efforts were ad hoc, and the government did not
          reports receiving Nigerian victims who were exploited in trafficking
                                                                                            provide consistent, standardized anti-trafficking training for officials.
          while awaiting legal residency in Italy. Italian citizens will sometimes
          engage in child sex tourism abroad. Children are exploited in child sex
                                                                                                     JAMAICA TIER RANKING BY YEAR
          trafficking, forced to commit crimes or beg, and forced to work in the
                                                                                                 1
          agricultural sector, shops, bars, restaurants, and bakeries. Ethnic Roma
          children are at risk for trafficking, including forced begging and child               2
          sex trafficking. Traffickers frequently target unaccompanied children,              2WL
          who are especially vulnerable to trafficking. International organizations
                                                                                                 3
          reported the number of seaborne, unaccompanied children increased in                          2015     2016      2017     2018   2019    2020     2021     2022
          2021 to approximately 10,000, predominantly from Bangladesh, Egypt,
          and Tunisia; compared with 4,631 in 2020, 1,680 in 2019, 3,534 in 2018,
          and 15,731 in 2017. NGOs reported that most unaccompanied minors
          identiﬁed among seaborne arrivals were younger than 15.                           PRIORITIZED RECOMMENDATIONS:
          Labor traffickers operate in agriculture, predominantly in southern Italy,        Fully implement the screening tools and NRM to increase proactive
          construction, household labor, hospitality, and restaurants. The pandemic         identiﬁcation and referral of suspected trafficking victims among
          exacerbated vulnerabilities for trafficking victims, including increased          vulnerable groups, and provide consistent training for officials on
          isolation of migrant and seasonal workers. Traffickers use fraudulent             implementing these tools. • Increase efforts to provide more victims,
          recruitment, passport retention, and debt-based coercion to control               whether identified in Jamaica or repatriated from abroad, with
          trafficking victims; traffickers also extort payments from the victim’s           comprehensive services, including legal, medical, psycho-social, shelter,
          family in the source country. Cuban medical professionals working in              case management, educational/vocational, and reintegration assistance,
          Italy during the pandemic in 2020 may have been forced to work by                 for the full length of any legal proceedings. • Increase efforts to investigate,
          the Cuban government. Italy has an estimated 1.5 million unregistered             prosecute, and convict traffickers, including officials who are complicit in
          workers and 3.7 million undocumented workers in the informal market               human trafficking and foreign tourists or Jamaicans who exploit child sex
          who are at risk for labor trafficking. Speciﬁcally for the agricultural sector,   trafficking victims. • Strengthen and institutionalize training on human
          experts estimated that as many as 200,000 workers in 2021, particularly           trafficking and victim-centered procedures for police, prosecutors, and
          seasonal workers, are at risk for forced labor and exploitation in Italy.         judges and assign cases to trained personnel. • Amend the anti-trafficking
          Employers in the agricultural sector will sometimes submit falsiﬁed forms         law to prescribe penalties for sex trafficking that are commensurate with
          pertaining to their workers, which impedes labor inspections and the              penalties for other serious crimes by increasing the available maximum
          potential identiﬁcation of trafficking victims. Italy had approximately           imprisonment term. • Screen Cuban medical professionals for indicators
          500,000 undocumented migrants in 2021, many of whom are at risk for               of human trafficking and refer potential victims to service providers for
          trafficking. Italy received approximately 67,500 undocumented migrant             assistance. • Allow adult victims greater independence to make informed
          arrivals by sea in 2021—a signiﬁcant increase compared with 34,154 in             choices about their own security needs and do not impose restriction
          2020 and 11,471 in 2019—many through Libya, where victims reported                of movement on adult victims while in the government’s care. • Provide
          experiencing extortion, torture, human trafficking, and rape by militias or       all victims with the necessary long-term protection and reintegration
          traffickers while awaiting passage to Italy. In 2019, of the roughly 31,000       assistance to safely transition to living outside shelters. • Strengthen the
          persons requesting asylum, authorities estimate up to 30 percent were             role of government or NGO service providers when conducting victim
          at risk for sex trafficking or forced labor while waiting for adjudication        interviews, formally identifying victims, and assessing victims’ needs.
          of their petitions. Traffickers target migrant centers to recruit and later       • Allow authorities and the public to refer all potential victims directly
          exploit asylum-seekers, sometimes claiming to be family members to                to government or NGO service providers and make victims eligible to
          gain access to the centers. Asylum-seekers may legally work beginning             receive formal identiﬁcation and trafficking-related services, without
          two months after ﬁling their applications, although many seek illegal             police referral. • Increase funding and human resources to ministries,
          employment immediately in informal sectors, increasing their risk for             departments, and agencies responsible for trafficking victim protection
          trafficking. Many also attempt passage to other European countries;               services. • Allocate sufficient resources to the Office of the National
          under the European Commission’s Dublin Regulation, countries have six             Rapporteur on Trafficking in Persons (ONRTIP) to conduct an independent
          months to repatriate victims to the EU country of their arrival but must          assessment of the government’s victim identiﬁcation efforts, including
          accept their asylum claim if they fail to transfer them in due time. This         systematic implementation of the screening tools and NRM.

 310                                                                                                                                        Haiti AR_000791
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 416 of 729




                                                                                                                                                                 JAMAICA
PROSECUTION                                                                     woman, who were survivors of sex trafficking, and three Colombian
The government slightly increased law enforcement efforts but failed            men, who were survivors of forced labor. The government did not report
to impose stringent penalties on convicted traffickers. The government          whether it referred any victims to government-run shelters or other
criminalized sex trafficking and labor trafficking through its Trafficking in   forms of lodging. During the previous reporting period, the government
Persons (Prevention, Suppression, and Punishment) Act. The government           referred three victims to government shelters. The government reported
passed amendments to this law that removed the option of monetary               providing all identiﬁed victims with care and services that may have
ﬁnes in lieu of imprisonment as a penalty for convicted traffickers; these      included accommodation, food and clothing, medical care, counseling
changes came into effect in November 2021. The amended legislation              and psycho-social support, legal and immigration assistance, training and
prescribes penalties of up to 20 years’ imprisonment for offenses involving     educational support, or employment assistance, but it did not provide
an adult victim and up to 30 years’ imprisonment for those involving a          additional details on the speciﬁc services provided or the scope and
child victim. These penalties were sufficiently stringent; however, with        duration of this assistance. The government did not report funding for
respect to sex trafficking, by prescribing a lower maximum imprisonment         protection and assistance to victims, which had decreased signiﬁcantly
term, these penalties were not commensurate with those for other serious        in the previous reporting period. Local experts reported the government
crimes, such as rape. The 2021 amendments made corresponding changes            likely provided shelter or other services to some child trafficking victims
to the Child Care and Protection Act, removing the option of ﬁnes as            it did not formally identify and classiﬁed them as victims of other crimes.
penalties for child trafficking crimes deﬁned in section 10 of that law.        The Child Protection and Family Services Agency (CPFSA) launched
Officials investigated 53 potential trafficking cases, 51 involving sex         a new three-digit hotline replacing its previous number for reporting
trafficking and two involving forced labor, compared with 43 potential          cases of child abuse, including human trafficking, and it expanded the
cases, 42 for sex trafficking and one for forced labor, investigated in the     hotline’s operations to 24 hours per day, seven days per week, including
previous reporting period. Authorities prosecuted four sex trafficking          public holidays. To respond to conditions imposed by the pandemic,
suspects and convicted two sex traffickers, a slight increase from three        CPFSA provided hotline personnel the necessary equipment to operate
suspects prosecuted and one sex trafficker convicted during the previous        the hotline while working remotely and hired additional staff to sustain
reporting period. Both convictions were from a retrial of a 2010 child sex      the hotline’s expanded hours. CPFSA identiﬁed 25 cases of suspected
trafficking case that had resulted in a hung jury—prior to amendments           child trafficking, including 14 through calls to its hotline, and referred all
to Jamaica’s anti-trafficking law that directed such cases be tried by          25 cases to the specialized police unit for investigation. In addition, the
a judge rather than a jury. Authorities negotiated a plea bargain, and          Office of the Children’s Advocate launched a 24 hours per day, seven
the traffickers each received a three-year suspended prison sentence            days per week phone line and messaging platform to provide immediate
and were ordered to pay ﬁnes. Unlike last year, courts did not order            psycho-social support directly to children. Authorities reported one
convicted traffickers to pay restitution to any victims. The slow pace          suspected trafficking victim contacted the helpline but disengaged
at which cases moved through the courts hampered efforts to hold                before authorities could make a referral.
traffickers criminally accountable and deterred victims from serving as         The government continued to use its 2013 victim management guidelines
witnesses. The government did not report investigations, prosecutions,          and several ministry-speciﬁc SOPs for identifying victims, but these
or convictions of government employees suspected of complicity in               tools were not comprehensive, and local experts could not verify how
trafficking offenses. Endemic corruption and complicity, including within       consistently officials applied them. Police reported screening for indicators
law enforcement, remained signiﬁcant obstacles to anti-trafficking law          of trafficking among individuals arrested for “prostitution”-related
enforcement efforts.                                                            violations but did not identify victims through this method. In December
The government maintained a specialized police unit with island-wide            2021, the government officially launched and began standardized
jurisdiction to investigate human trafficking and vice crimes, as well as       implementation of a set of tools, developed in partnership with an NGO
a team of prosecutors specialized in human rights, intellectual property,       during the previous reporting period, to strengthen victim identiﬁcation
and sexual offenses. Anti-trafficking police conducted 36 surveillance          and referral procedures for child victims. These resources included
operations of locations believed to be high-risk for trafficking, including     ministry-speciﬁc screening tools to guide officials in assessing behavioral,
truck stops, construction sites, and resorts; independently initiated 25        situational, health, and other factors to identify potential child trafficking
investigations; and investigated 28 suspected cases referred from other         victims among vulnerable groups; victim intake and case management
agencies. The pandemic constrained law enforcement efforts, as high             forms; and an NRM to standardize procedures for victim referral and
infection rates among officers created staffing shortages and caused            management of care. CPFSA established an internal technical advisory
disruptions in investigations. Police reportedly screened for victims           committee that oversaw efforts to pilot the screening tools and NRM,
of trafficking during raids on venues where commercial sex occurred,            including through training to 83 child protection staff. The government
although it was unclear whether these operations were effective in              held numerous training sessions on identifying and referring child
identifying victims. Some individual judges had specialized trafficking         trafficking victims using the NRM, reaching more than 300 customs
experience, but there was no mechanism to assign trafficking cases              officers, labor officials, justices of the peace, NGO staff, and tourism
to these judges. Though courts generally remained open, pandemic-               industry professionals. Also, in December 2021, the government launched
related infections caused staffing shortages, and some courts brieﬂy            a new human trafficking handbook (developed with technical assistance
suspended operations following suspected outbreaks of the virus. The            from an NGO) to improve anti-trafficking knowledge and expertise across
government’s training efforts for law enforcement and criminal justice          government sectors. The handbook was disseminated across various
officials continued to be ad-hoc and largely dependent on foreign donors,       ministries and made available online. The NRM established a stronger role
rather than sustained year-to-year through consistent government                for service providers in conducting needs assessments and providing case
delivery mechanisms. Jamaican police apprehended a Canadian man                 management to child victims; however, it continued to require all reports
wanted in Canada for sex trafficking and other crimes; the government           of suspected trafficking to go through the JCF’s anti-trafficking and vice
extradited the suspect to Canada where he was indicted on numerous              crimes unit for formal identiﬁcation and investigation. The government
charges. The government reported police continued to cooperate with             reported contracting Cuban medical professionals during the year, but
law enforcement in the Cayman Islands on a suspected case of child              authorities did not acknowledge these workers as being at high risk for
trafficking, and authorities engaged with officials from the Bahamas            forced labor, despite ongoing concerns by international experts that
and India regarding cases in progress in Bahamian and Jamaican courts.          the Government of Cuba may have compelled some of them to work.
                                                                                JCF, NATFATIP, and in the case of child victims, the Child Protection
PROTECTION                                                                      and Family Services Agency (CPFSA) worked in consultation to arrange
The government maintained efforts to protect victims; while it                  accommodation and other services to formally-identiﬁed victims on a
strengthened policies and procedures for identifying and assisting victims,     case-by-case basis. In March 2022, the government opened a new child-
it provided few details about services provided to victims identiﬁed during     friendly space for interviewing and assisting child victims, operated by
the year. The government formally identiﬁed 10 trafficking victims, a           the JCF’s Centre for the Investigation of Sexual Offences and Child Abuse
slight increase from eight victims identiﬁed during the previous reporting      (CISOCA) in Trelawny Parish. This multidisciplinary space, developed with
period. Identiﬁed victims included six Jamaican girls and one Jamaican          donor funding and technical assistance from an NGO, was designed to
                                                                                                                                   Haiti AR_000792               311
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 417 of 729
JAMAICA
          provide child victims with a safe and private location to access immediate       in a 2021 robbery; in news reports, the boy’s family has alleged that he
          law enforcement and medical attention, as well as referral to additional         was forced at gunpoint to participate in the robbery.
          services in a trauma-informed setting. NATFATIP operated a shelter
          exclusively for trafficking victims, which could accommodate 12 female           PREVENTION
          victims, and arranged private lodging for some victims, including men;           The government maintained efforts to prevent trafficking. NATFATIP,
          in addition, authorities could place child victims in CPFSA facilities or        which was chaired by the Ministry of National Security and included
          female victims in NGO-operated shelters that were not exclusive to               representatives from relevant government institutions and select NGOs,
          trafficking victims. The government did not report how many victims              met bi-monthly to coordinate implementation of the 2018-2021 national
          received services in government shelters. As part of a new initiative, CPFSA     action plan. The government drafted updates that would extend the plan
          collaborated with an NGO to provide training on trauma-informed care             through May 2023 and submitted it for cabinet approval. The government
          to 60 potential foster parents. The government reported adult victims            did not provide updates on the status of a draft national policy to combat
          had the option of residing in the government’s specialized shelter or in         trafficking in persons developed during the previous reporting period.
          private accommodation; in practice, however, authorities limited some            NATFATIP conducted educational sessions for 150 parents, teachers,
          victims’ options based on an independent police assessment of the victim’s       and students at high schools, and it partnered with a media company to
          security risks. Authorities placed victims deemed to be at high risk in          expand its awareness campaigns for the public through radio, television,
          private accommodations, guarded by police, and they were unable to               and print media. Public officials utilized television, radio, newspaper,
          move freely. The government closely monitored, and sometimes restricted,         social media, and other online platforms to disseminate messages on
          victims’ movement while residing in the specialized shelter. These high          the risks of human trafficking—including pandemic-related trends—and
          security measures may have re-traumatized some victims. CPFSA had                encourage the public to identify and report suspected cases.
          a protocol for providing services to child trafficking victims under the
                                                                                           The government did not share information on the amount of funding
          agency’s care, and the government had victim management guidelines
                                                                                           it provided to NATFATIP or on amounts from individual ministries’
          for facilities that provided care to victims of trafficking in Jamaica.
                                                                                           budgets used to fund anti-trafficking activities. Officials reported the
          The government took measures to adapt protection services during the             pandemic strained government resources and reduced revenue, resulting
          pandemic, including through providing staff and victims in government            in decreased funding for anti-trafficking efforts. In the previous reporting
          facilities with personal protective equipment and designating quarantine         period, the government decreased its funding for NATFATIP by nearly
          and isolation areas in all residential facilities for children. Nonetheless,     75 percent. NATFATIP maintained a database to collect information on
          because of the pandemic’s constraints on space and resources, child              traffickers and victims provided in monthly reports from its member
          victims’ placement into shelters was sometimes delayed, and transfers            institutions, and ONRTIP provided independent oversight of the
          of children into foster care or reintegration with their families may have       government’s anti-trafficking efforts. ONRTIP has reported shortcomings
          been completed prematurely. Some facilities struggled to maintain                in data entry and insufficient access to the data across government
          adequate stock of food and supplies.                                             sectors. During the year, a number of key government institutions
                                                                                           signed an MOU on data sharing to allow more timely and comprehensive
          The government provided few long-term services to support victims’
                                                                                           access to data on anti-trafficking efforts. The government did not use
          reintegration, prevent re-exploitation, or sustain protection throughout
                                                                                           information from the database to support development of its policy
          the duration of lengthy court cases. The government continued to fund
                                                                                           and programming.
          training for a Haitian woman who has been a resident of the NATFATIP
          shelter since 2013, but authorities did not take steps to assist her in safely   The Employment Agencies Regulation Act set guidelines for the licensing
          transitioning to long-term independence outside the shelter. Foreign             of employment agencies and prohibited charging some workers
          victims were able to access the same services as Jamaican victims. The           recruitment fees, but this only applied to participants in overseas programs
          government did not have a formal policy to provide residency to foreign          in which host governments had prohibited such fees. Separate laws
          victims who faced hardship or retribution upon return to their home              prohibited fraudulent recruitment practices such as contract switching.
          countries, but authorities could provide this assistance to victims on a         Ministry of Labor and Social Security (MLSS) officials coordinated with
          case-by-case basis. No victims received residency during the reporting           police to investigate private employment agencies suspected of operating
          period. The government repatriated three Colombian victims.                      illegally, leading to the arrest of ﬁve individuals whose cases were in
                                                                                           progress at the close of the reporting period. MLSS conducted pre-
          The Ministry of Justice’s Victim Service Division (VSD) offered court
                                                                                           departure orientation sessions for migrant workers in the hospitality and
          orientation sessions for victims participating in the judicial process,
                                                                                           agricultural sectors in the United States and Canada, reaching more than
          including children, and officers from VSD or CPFSA accompanied
                                                                                           12,000 individuals during the year; these sessions included information
          victims testifying in court. The government provided witness protection
                                                                                           on types of human trafficking, identifying and avoiding potential risks,
          services to three victims. In certain instances, justice officials permitted
                                                                                           and who to contact for assistance. The government maintained liaison
          victims to provide testimony through video or written statements, and
                                                                                           officers in Canada, under the auspices of a bilateral MOU, to protect the
          authorities reported using a system of referral documents to minimize
                                                                                           interests of overseas workers. These officials were available to workers
          the need for victims to recount the details of their experiences. However,
                                                                                           24 hours per day, seven days per week, but the government did not
          the government did not allocate adequate human or ﬁnancial resources
                                                                                           report whether they made efforts to prevent trafficking. The government
          to provide victims with sustained support during legal processes, and
                                                                                           operated a liaison service in the United States, but only certain groups
          authorities did not always employ victim-centered procedures. Years-
                                                                                           of Jamaican temporary workers were eligible for this assistance. The
          long court cases, re-traumatization during the criminal justice process,
                                                                                           government did not report any investigations, prosecutions, or convictions
          and fear of reprisal further disincentivized victims from reporting cases
                                                                                           of foreign tourists for the purchase of commercial sex acts from child
          or participating in trials. The government reported several ministries
                                                                                           trafficking victims. The government reported it conducted awareness-
          coordinated to assist a Jamaican victim to provide witness testimony
                                                                                           raising activities on the criminal penalties for purchasing commercial
          in a case in Bahamian court.
                                                                                           sex acts to deter potential buyers, including foreign tourists, and held
          Jamaica’s anti-trafficking law directed the court to order restitution           training sessions on human trafficking within the tourism sector for
          to victims, but unlike last year, courts did not order any convicted             industry stakeholders.
          traffickers to pay restitution to victims. Jamaican law protected trafficking
          victims from prosecution for immigration or prostitution-related offenses        TRAFFICKING PROFILE
          traffickers compelled them to commit, but it did not provide immunity for        As reported over the past ﬁve years, human traffickers exploit domestic
          other unlawful acts traffickers may have compelled victims to commit.            and foreign victims in Jamaica, and traffickers exploit victims from Jamaica
          Due to inadequate screening for indicators of potential trafficking among        abroad. Sex trafficking of Jamaican women and children, including boys,
          vulnerable populations, including children apprehended for gang-related          reportedly occurs on streets and in nightclubs, bars, massage parlors,
          criminal activity, authorities may have penalized some victims. In February      hotels, and private homes, including in resort towns. Local observers
          2022, authorities shot and killed a 15-year-old boy when he attempted to         believe sex trafficking operations have become more clandestine as
          escape the juvenile facility where he was in custody for his involvement         a result of the pandemic. Traffickers increasingly use social media
 312                                                                                                                                    Haiti AR_000793
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 418 of 729




                                                                                                                                                           JAPAN
platforms and false job offers to recruit victims; local experts report      accountable, and did not adequately address the heinous nature of
the pandemic has accelerated this trend, as traffickers have adapted         the crime. Law enforcement bodies continued to identify hundreds of
by seeking methods to recruit individuals, especially children, in their     children exploited in the commercial sex industry without screening
own homes. Communities vulnerable to sex trafficking and forced labor        them for trafficking indicators and did not formally designate them as
include young women and children from poor households, child victims         trafficking victims, hindering their access to protection services and
of sexual abuse, LGBTQI+ youth experiencing homelessness, residents          judicial recourse, and allowing child sex traffickers to operate with
of Jamaica’s poverty-stricken areas effectively controlled by criminal       impunity. Reports of forced labor among labor migrants working in
“dons,” migrant workers, and workers in the informal sector, particularly    Japan under TITP persisted in much higher numbers than that which
on family farms and in markets and shops. Traffickers subject children       the government identiﬁed during the reporting period. Within TITP,
and adults to forced begging and women and children to domestic              the government’s memoranda of cooperation with sending countries
servitude. Girls, sometimes coerced by family members, are subjected         remained ineffective in preventing foreign-based labor recruitment
to sex trafficking by men who provide monetary or material payment           agencies from charging excessive fees—a key driver of debt-based
to the girls or their families in exchange for sex acts; local observers     coercion among TITP participants—and the government did not take
report this form of child sex trafficking may be widespread in some          any measures to hold recruiters and employers accountable for labor
communities. Many LGBTQI+ children face persecution and bullying in          trafficking crimes under this system. Authorities continued to rely on
their homes or communities; those who ﬂee these abusive conditions           disparate, ineffective identiﬁcation and referral procedures, which did
are highly vulnerable to sex trafficking. Children from rural Jamaica,       not cover all forms of trafficking, therefore officials continued to punish
and possibly from other Caribbean countries, who are sent to live with
                                                                             unidentiﬁed victims for unlawful acts traffickers compelled them to
more affluent family members or acquaintances sometimes become
                                                                             commit. The government did not provide speciﬁc protection services
exploited in forced labor in private households, markets, or shops. Gang
                                                                             appropriate for victims of all forms of trafficking.
members may exploit children in forced begging or in forced criminal
activity including as lookouts, armed gunmen, or couriers of weapons and
drugs; there were reports that criminal organizations exploited children             JAPAN TIER RANKING BY YEAR
in forced criminal activity in lotto-scamming. Local observers identiﬁed         1
increased risks of forced criminal activity for boys during the pandemic.        2
Many children are reported missing in Jamaica; traffickers exploit some
                                                                               2WL
of these children in forced labor or sex trafficking.
                                                                                 3
Traffickers have exploited Jamaican individuals in sex trafficking and                  2015     2016      2017   2018   2019    2020    2021     2022
forced labor abroad, including in other Caribbean countries, Canada, the
United States, and the United Kingdom. NGOs and government officials
report poverty-stricken families, or parents of children with behavioral
problems, often send children to live with relatives or acquaintances
                                                                             PRIORITIZED RECOMMENDATIONS:
overseas in order to access additional opportunities or to avoid the
                                                                             Vigorously investigate and prosecute sex and labor trafficking cases, and
juvenile justice system; some of these children become victims of sex
                                                                             hold convicted traffickers accountable by imposing strong sentences. •
trafficking or forced labor, including domestic servitude. Jamaican
                                                                             Develop, systematize, and implement standard interagency procedures
women have reported being charged high recruitment fees, misled
                                                                             for the identiﬁcation of, and referral to protective services for, victims
about their terms of employment, and compelled through threats to
                                                                             of labor trafficking among migrant workers, including those in Japan
continue working in the United States’ hospitality industry. Traffickers
                                                                             under the auspices of the TITP and other visa-conferring statuses, and
exploit foreign nationals, including migrants from South and East Asia,
                                                                             among those in immigration detention. • Enhance victim screening to
in forced labor and sex trafficking in Jamaica. There have been reports of
                                                                             ensure victims—including children exploited in commercial sex without
forced labor of foreign nationals aboard foreign-ﬂagged ﬁshing vessels
                                                                             third party facilitation, migrant workers under the TITP, and migrant
operating in Jamaican waters. Among the Cuban medical professionals the
                                                                             workers entering Japan under the Speciﬁed Skilled Worker Visa—are
government contracted, some may have been forced to work by the Cuban
                                                                             properly identiﬁed and referred to services, and not detained or forcibly
government. NGOs and other local observers report children are subjected
                                                                             deported for unlawful acts traffickers compelled them to commit. •
to sex trafficking in Jamaica’s resort areas frequented by tourists.
                                                                             Increase efforts to identify male victims of sex trafficking and labor
Endemic corruption and complicity, including within law enforcement,
                                                                             trafficking. • Increase resources for specialized care and assistance to
remain signiﬁcant obstacles to anti-trafficking law enforcement efforts.
                                                                             trafficking victims, including designated shelters for trafficking victims,
                                                                             and ensure these services are also available to both foreign and male
                                                                             victims. • Increase implementation of the TITP reform law’s oversight
                                                                             and enforcement measures, including by training Organization for
 JAPAN: TIER 2                                                               Technical Intern Training (OTIT) personnel and immigration officials on
                                                                             victim identiﬁcation, improving OTIT coordination with NGOs, reviewing
The Government of Japan does not fully meet the minimum standards            all contracts prior to approval of TITP work plans, increasing employer
for the elimination of trafficking but is making signiﬁcant efforts to do    inspections, and terminating contracts with foreign recruitment agencies
so. The government demonstrated overall increasing efforts compared          charging excessive worker-paid commissions or fees. • Establish formal
to the previous reporting period, considering the impact of the COVID-19     channels allowing all foreign workers to change employment and
pandemic, if any, on its anti-trafficking capacity; therefore Japan          industries if desired. • Amend anti-trafficking laws to remove sentencing
remained on Tier 2. These efforts included identifying more trafficking      provisions that allow ﬁnes in lieu of imprisonment and increase the
victims and continuing to implement public awareness campaigns. The          penalties for trafficking crimes to include a maximum of no less than
government also officially recognized four Technical Intern Training         four years’ imprisonment. • Enact legislation banning employers from
Program (TITP) participants as trafficking victims, the ﬁrst time the        retaining foreign workers’ passports or other personal documents.
government has recognized TITP participants as trafficking victims.          • Reduce migrant workers’ vulnerability to debt-based coercion by
However, the government did not meet the minimum standards in                amending relevant policies to eliminate the imposition of all worker-
several key areas. Continued lack of political will to address all forms     paid recruitment and service fees. • Increase enforcement of bans on
                                                                             “punishment” agreements, passport withholding, and other practices
of trafficking and identify and protect trafficking victims contributed
                                                                             by organizations and employers that contribute to labor trafficking.
to the government’s overall lack of progress. Authorities continued to
                                                                             • Aggressively investigate, prosecute, convict, and punish Japanese
prosecute and convict traffickers under laws prescribing insufficiently
                                                                             citizens who engage in child sex tourism overseas.
stringent penalties and delivered suspended sentences in nearly half
of all cases, while some traffickers received only ﬁnes. These actions
signiﬁcantly weakened deterrence, undercut efforts to hold traffickers

                                                                                                                                Haiti AR_000794            313
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 419 of 729
JAPAN                                                                                alleged sex traffickers and two labor traffickers that were ongoing from
        PROSECUTION
        The government decreased inadequate law enforcement efforts. Japan           the previous reporting period. This demonstrated a decrease compared
        did not have a comprehensive anti-trafficking statute that included          with the prosecution of a total of 50 alleged traffickers in 2020: 42 for
        deﬁnitions in line with international law. It criminalized sex trafficking   sex trafficking and eight for labor trafficking. In 2021, the government
        and labor trafficking crimes through disparate penal code laws pertaining    convicted 29 total traffickers, 20 for sex trafficking and four for labor
        to prostitution of adults and children, child welfare, immigration, and      trafficking. This demonstrated a decrease compared with the conviction
        employment standards. Article 7 of the “Prostitution Prevention Law”         of 50 perpetrators in 2020. Of the 29 convicted traffickers, 21 received
        criminalized inducing others into prostitution and prescribed penalties      prison sentences ranging from 10 months to three years, 12 of which
        of up to three years’ imprisonment or a ﬁne of up to 100,000 Japanese        were fully suspended sentences that resulted in the traffickers serving
        yen ($870) if fraudulent or coercive means were used, and up to three        no prison time; eight of the remaining 29 received sentences of a
        years’ imprisonment and a ﬁne of up to 100,000 yen ($870) if force or        ﬁnancial penalty only. Sentencing of convicted traffickers was similar
        threats were used. Article 8 of the same law increased penalties to up       to 2020 when courts fully suspended 26 of 50 prison sentences and
        to ﬁve years’ imprisonment and a ﬁne of up to 200,000 yen ($1,740) if        sentenced 14 of 50 traffickers to ﬁnancial penalties only. Also similar
        the defendant received, entered into a contract to receive, or demanded      to the previous year, the government convicted the 29 traffickers
        compensation for crimes committed under Article 7. The “Act on               under a range of laws pertaining to adults and children in commercial
        Regulation and Punishment of Activities Relating to Child Prostitution       sex, kidnapping, rape, child welfare, immigration, and employment
        and Pornography and the Protection of Children” criminalized engaging        standards, including—but not limited to—the “Prostitution Prevention
        in, acting as an intermediary for, and soliciting the commercial sexual      Law,” the Child Welfare Act, and the “Act on Regulation and Punishment
        exploitation of a child and prescribed penalties of up to ﬁve years’         of Acts Relating to Child Prostitution and Child Pornography and the
        imprisonment, a ﬁne, or both. The act also criminalized the purchase or      Protection of Children.” The government did not report any investigations,
        sale of children for the purpose of exploiting them through commercial       prosecutions, or convictions of government employees complicit in
        sex or the production of child pornography, and it prescribed a maximum      human trafficking crimes.
        penalty of 10 years’ imprisonment. The government also prosecuted            Despite the known prevalence of labor trafficking indicators within the
        trafficking-related crimes using the Child Welfare Act, which broadly        TITP program, the government has never reported holding traffickers
        criminalized transporting or harboring children for the purpose of causing   who exploit TITP participants criminally accountable or sentenced
        them to commit an obscene or harmful act and prescribed penalties of         them with adequate penalties that include terms of imprisonment. For
        up to 10 years’ imprisonment, or a ﬁne of up to 3 million yen ($26,080),     example, in 2021 the government reported it prosecuted and convicted
        or both. The Employment Security Act (ESA) and the Labor Standards           one perpetrator within the TITP program for labor violations under the
        Act (LSA) both criminalized forced labor and prescribed penalties of         LSA, who received a sentence of a ﬁne in lieu of imprisonment, which was
        up to 10 years’ imprisonment or a ﬁne not exceeding 3 million yen            inadequate compared to the gravity of the crime. Service provision NGOs
        ($26,080). However, the Ministry of Health, Labor and Welfare (MHLW)         reported repeated attempts to draw attention to speciﬁc allegations
        reported the deﬁnition of “forced labor” under the LSA was narrower          of labor trafficking occurring within TITP worksites, and despite the
        than the deﬁnition of human trafficking under international law and—in       government conducting thousands of inspections of these worksites
        practice—rare cases charged as “forced labor” under the LSA were not         throughout the year, authorities generally did not proactively investigate
        treated as human trafficking crimes. Inconsistent with the deﬁnition of      these allegations for potential trafficking crimes. NGOs reported courts
        trafficking under international law, the LSA did not include exploitation    set prohibitively high evidentiary standards for labor trafficking cases
        as an essential element of the crime. As in the previous reporting period,   involving foreign victims, including overreliance on physical indicators
        many prosecutors reportedly avoided using the ESA and LSA due to a           of abuse in lieu of evidence supporting psychological coercion, thereby
        perception that the relatively high penalties were more likely to trigger    stymying appropriate law enforcement action.
        appellate processes that would decrease their overall conviction rates
        and negatively affect their professional standing. When penalties            In a failure to address the pervasive problem of child sex trafficking,
        allowed for ﬁnes in lieu of imprisonment for sex trafficking, they were      the government did not investigate or prosecute cases involving
        not commensurate with penalties prescribed for other serious crimes,         child commercial sexual exploitation under trafficking statutes
        such as rape. Civil society organizations reported reliance on these         because Japanese law did not consider children in commercial sexual
        overlapping statutes continued to hinder the government’s ability to         exploitation as sex trafficking victims unless a third-party facilitated the
        identify and prosecute trafficking crimes, especially for cases involving    commercial sex acts. In 2021, the government reported 627 cases of
        labor trafficking with elements of psychological coercion. The government    “child prostitution” involving at least 540 perpetrators and 408 victims,
        did not have any laws that prohibited employers, recruiters, or labor        but the government did not prosecute or convict the perpetrators for
        agents from conﬁscating either Japanese or foreign workers’ passports,       potential trafficking crimes—including whether or not they involved a
        travel, or other identity documents, except for TITP participants, for       third-party facilitator—and it failed to identify the vast majority of the
        whom passport or residential identiﬁcation conﬁscation was prohibited.       children involved in these cases as trafficking victims. In previous years,
        However, as in the previous reporting period, the government did not         authorities also processed hundreds of such cases involving children in
        report if it enforced this law or penalized any employers or agencies        commercial sexual exploitation without formally investigating them as
        for withholding TITP participants’ documents in 2021. Japanese law—          trafficking crimes (more than 600 cases in 2020; 784 cases in 2019; more
        enacted in 2017—contained a provision that criminalized bribery of           than 700 cases in 2018; 956 cases in 2017). For the fourth consecutive
        witnesses, which would allow authorities additional grounds to pursue        year, the government did not report law enforcement action taken
        obstruction of justice charges against some traffickers. However, for the    against child sex trafficking in Joshi kosei or “JK” businesses—dating
        fourth consecutive year, the government did not report to what extent        services connecting adult men with underage high school girls—and in
        it implemented this for trafficking cases. The government continued to       coerced pornography operations. Eight major prefectures maintained
        provide anti-trafficking trainings to various ministries, including OTIT,    ordinances banning “JK” businesses, prohibiting girls younger than
        National Police Agency (NPA), and MHLW. Contacts continued to report         18 years of age from working in “compensated dating services,” or
        an acute need for additional training to address the lack of awareness       requiring “JK” business owners to register their employee rosters with
        among key law enforcement officials and judicial stakeholders.               local public safety commissions. Authorities did not report how many
                                                                                     such operations they identiﬁed or shuttered for violating the terms of
        From January to December 2021, the government investigated 44                the ordinances (unreported in 2020 and 2019; 137 identiﬁed and none
        trafficking cases: 39 sex trafficking cases involving 59 suspects and ﬁve    closed in 2018), nor did they report arresting any individuals alleged to
        labor trafficking cases involving three suspects. This was a decrease        have been engaged in criminal activities surrounding the “JK” business
        from the government’s investigation of 55 trafficking cases in 2020:         (unreported in 2020 and 2019; 69 arrested in 2018). Some authorities
        40 sex trafficking cases involving 48 suspects and 15 labor trafficking      were reportedly unaware of the crime or unsure how to prosecute it,
        cases involving 10 suspects. In 2021, the government initiated the           often citing prohibitively high evidentiary standards. Experts noted
        prosecution of a total of 37 alleged traffickers, 33 for sex trafficking     the lack of efforts by law enforcement to treat child sex trafficking
        and four for labor trafficking; it also continued the prosecution of six     cases appropriately was permissive of and perpetuated the continued

 314                                                                                                                              Haiti AR_000795
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 420 of 729




                                                                                                                                                               JAPAN
commission of the crime; it continued to minimize the prevalence of           the police in 2021. Therefore—as in the previous reporting period—the
the crime; and it resulted in weak—if any—efforts to hold traffickers         government did not provide essential victim protection services to any
accountable and to protect victims.                                           of the children involved in the hundreds of incidents of child sexual and
                                                                              commercial sexual exploitation during the reporting period, nor did
PROTECTION                                                                    it refer them to NGOs for assistance. Police continued to treat some
The government maintained insufficient efforts to protect victims,            potential child sex trafficking victims, including LGBTQI+ children, as
including by consistently failing to formally identify trafficking victims    delinquents and counseled them on their behavior instead of screening
within the TITP and among children in commercial sexual exploitation.         them for trafficking, investigating their cases, or referring them to
In 2021, the government identiﬁed 47 total trafficking victims, which         specialized services.
included 31 sex trafficking victims—only one of which was a foreign
                                                                              As in prior years, the government failed to provide overall adequate
national and 18 were children—and 16 labor trafficking victims; 10 of
                                                                              protection services, such as trafficking-speciﬁc shelters, psycho-social
the total number of victims were Filipina who were forced to work
                                                                              care, and legal aid, to victims of all forms of trafficking including Japanese
as “hostesses” at bars and who the government identiﬁed as victims
                                                                              and foreign victims. The government reported police referred four
of labor trafficking. This compared with 38 total trafficking victims
                                                                              sex trafficking victims and 11 labor trafficking victims to Women’s
identiﬁed in 2020, which included seven Filipina victims forced to work as
                                                                              Consultation Offices (WCO) shelters or child guidance centers for
“hostesses.” However, lack of standardized guidelines, poor coordination
                                                                              services; none of these referrals were men. This compared with eight
among ministries, and misunderstanding of sex and labor trafficking
                                                                              trafficking victims who received assistance at WCO shelters in 2020, but
crimes among all relevant agencies contributed to the government’s
                                                                              the government did not previously report how many victims it referred
inadequate efforts to identify and protect victims. The government
                                                                              to Child Guidance Centers. An international organization also reported
did not have nationwide standard operating procedures or guidelines
                                                                              police referred 11 trafficking victims, who it identiﬁed during raids of
for officials to identify victims, even for victims that reported a crime
                                                                              commercial sex establishments, to the organization for protection
themselves, which thereby impeded their access to care. Interagency
                                                                              services. The government continued to contribute funding for WCOs
stakeholders followed disparate, insufficient victim identiﬁcation
                                                                              and child guidance centers, both of which could provide shelter for
procedures, which did not incorporate all forms of trafficking, especially
                                                                              trafficking victims alongside victims of domestic violence and other
child sex trafficking and labor trafficking of migrant workers. Observers
                                                                              crimes. WCO shelters provided food and other basic needs, psychological
further reported police and immigration officials lacked awareness of
                                                                              care, and coverage of medical expenses, and shelter residents were
trafficking indicators especially in cases involving foreign nationals,
                                                                              free to leave the facilities. However, some NGOs continued to allege
which prevented foreign trafficking victims from receiving appropriate
                                                                              the physical conditions and services in these facilities were poor, overly
protection. Due to the limited scope of laws prohibiting commercial
                                                                              restrictive, and insufficient to provide the specialized care required for
sex, widespread exploitation of children and adults took place within
                                                                              trafficking victims. Government-run protection options focused on
a legalized but largely unregulated range of “delivery health service”
                                                                              victims of other crimes, and the government did not equip relevant
and commercial sex acts in urban entertainment centers. Because of the
                                                                              staff to provide the speciﬁc services required to accommodate victims
government’s insufficient victim screening and identiﬁcation procedures,
                                                                              of all forms of trafficking. The availability and quality of government-
coupled with authorities’ misunderstanding of sex and labor trafficking
                                                                              run services that could be provided to victims varied widely according
and child sex trafficking, the government continued to arrest, detain, or
                                                                              to prefecture-level officials’ ad-hoc experience with trafficking cases.
deport unidentiﬁed victims among vulnerable groups for unlawful acts
                                                                              The government continued to operate “one-stop assistance centers” in
traffickers compelled them to commit, such as immigration violations.
                                                                              each prefecture for victims of sexual abuse, including some forms of sex
In 2021, 7,167 TITP participants disappeared from their jobs, some of         trafficking, but—as in the previous reporting period—the government
whom likely ﬂed because of exploitative or abusive conditions and             did not report if any trafficking victims received services at these
were unidentiﬁed trafficking victims. Authorities continued to arrest         centers in 2021. Unlike the previous reporting period, the government
and deport TITP participants who escaped labor trafficking and other          did not report how much funding it allocated for sheltering trafficking
abusive conditions in their contracted agencies; some labor contracts         victims; in 2020, the government allocated more than 3.5 million yen
featured illegal automatic repatriation clauses for interns who became        (approximately $30,420) for sheltering trafficking victims in ﬁscal
pregnant or contracted illnesses while working in Japan. During the           year 2020. Civil society providers reported that if a trafficking victim
reporting period, some TITP participants lost their jobs because of           sought assistance from a provider, it could not assist a victim until the
pandemic-related business closures, which caused them to ﬁnd a new            government formally identiﬁed the victim as such, which signiﬁcantly
employer to pay off their outstanding debts to the sending organization;      delayed essential services given to victims.
however, authorities arrested some TITP participants for illegally changing
                                                                              Foreign trafficking victims had limited or no access to other government-
jobs without screening them for trafficking. The government reported
                                                                              provided social services from which legal resident victims could beneﬁt. In
it did not forcibly deport any TITP participants in 2021. Unlike in the
                                                                              2021, the immigration services agency (ISA) allowed 11 foreign trafficking
previous reporting period, the MOJ reported immigration authorities
                                                                              victims to remain in Japan, but it did not report if it provided or referred
conducted 12,865 screening interviews of TITP participants departing
                                                                              these victims to essential care. In comparison, in 2020, the ISA allowed
Japan prior to the end of their contracts, yet it did not identify any
                                                                              eight victims to remain in Japan. The government, however, did not
trafficking victims among them. Furthermore, the government did
                                                                              uniformly allow foreign trafficking victims to work in Japan. NGOs also
not have a procedure for screening foreign nationals—including TITP
                                                                              highlighted a lack of government-provided language interpretation
participants—in immigration detention for possible trafficking indicators.
                                                                              services as a particular challenge to the protection of foreign victims.
In 2021, observers reported authorities arrested 14 trafficking victims for
                                                                              The government relied on and expected foreign embassies to provide
immigration violations and deported some of them without screening
                                                                              protection services to their nationals whom traffickers exploited in
them for trafficking indicators.
                                                                              Japan. Temporary, long-term, and permanent residence beneﬁts were
Authorities did not identify children as victims of sex trafficking unless    reportedly available to foreign victims who feared the repercussions of
a third party mediated the commercial sex acts, preventing hundreds           returning to their countries of origin, but the government did not report
of children from formal designation. The government also reported it          how many—if any—victims received these beneﬁts.
did not treat cases of children in commercial sex as child sex trafficking
                                                                              Victims had the right to ﬁle civil suits to seek compensation from
cases because—contrary to deﬁnitional standards under the 2000 UN
                                                                              traffickers, but—like the previous reporting period—the government did
TIP Protocol—it required the perpetrator to exercise “control over the
                                                                              not report cases in which victims did so. Moreover, the owners of abusive
victim.” Some provincial law enforcement officials noted in previous
                                                                              supervising organizations and subsidiary businesses employing TITP
reporting periods that Japan’s unusually low age of consent, 13, further
                                                                              participants frequently ﬁled for bankruptcy or falsiﬁed administrative
complicated efforts to formally identify children exploited in commercial
                                                                              changes to shield themselves from civil or criminal liability, enabling labor
sex as trafficking victims. The government did not report identifying
                                                                              trafficking to continue throughout the program with impunity. Some
any trafficking victims among the 408 children involved in the 627
                                                                              employers pressured TITP participants to leave their labor unions to
cases of “child prostitution”—a form of sex trafficking—reported by
                                                                              reduce their chances of seeking recompense for labor abuses committed
                                                                                                                                 Haiti AR_000796               315
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 421 of 729
JAPAN   against them. Receipt of compensation awards was therefore nearly             did not accept the applications for accreditations of technical intern
        impossible in practice. For the fourth consecutive year, authorities did      training plans or the applications for licenses of these supervising
        not report any instances of court-ordered restitution for victims. In         organizations. Civil society groups continued to express concern the
        previous years, civil society organizations reported some victims of          OTIT was too understaffed to adequately investigate allegations of abuse,
        coerced pornography chose not to participate in court proceedings             including labor trafficking, within such a large program—particularly
        against their traffickers due to fear that doing so would create stigma-      as the number of participants continued to grow. Some participants
        based challenges to their reintegration.                                      reported the OTIT and the MHLW were unresponsive to their request
                                                                                      for mediation when their employers suddenly changed or terminated
        PREVENTION                                                                    their contracts. In April 2021, OTIT established a hotline for technical
        The government maintained insufficient efforts to prevent trafficking,        intern trainees to respond to emergency cases such as violence or
        including by continuing to demonstrate a lack of political will to            intimidation by their employers; between April to November 2021, the
        adequately do so among highly vulnerable migrant worker populations.          government reported it received 69 anonymous calls to this hotline, but
        The government maintained a national-level interagency coordinating           it did not report if any of these calls resulted in authorities identifying
        body and it met once in 2021; however, it did not effectively coordinate      any labor trafficking victims.
        among relevant ministries to combat trafficking. The government
                                                                                      The government-maintained memoranda of cooperation (MOC)
        continued to rely on a 2014 national anti-trafficking action plan. The
                                                                                      pertaining to the TITP with Bangladesh, Bhutan, Burma, Cambodia, India,
        government produced its seventh annual report on government actions
                                                                                      Indonesia, Laos, Mongolia, Pakistan, the Philippines, Sri Lanka, Thailand,
        to combat trafficking and tracked measures against the stated goals
                                                                                      Uzbekistan, and Vietnam as sending countries of TITP participants.
        of its 2014 action plan. The government held four conferences with
                                                                                      MOCs remained the Japanese government’s primary tool to regulate
        civil society organizations to discuss its anti-trafficking measures, but
                                                                                      recruitment practices, but they remained largely ineffective because the
        it did not report if any tangible results came from these meetings.
                                                                                      government failed to hold the governments of the sending countries
        Authorities continued to raise awareness of trafficking by disseminating
                                                                                      accountable for abusive labor practices and labor trafficking crimes by
        information online—including on the NPA’s public website—and through
                                                                                      recruiters and sending organizations. The MOCs affirmed the government
        radio programs, posters, and brochures, as well as through leaﬂets
                                                                                      would accept TITP trainees only from state-approved organizations
        distributed to NGOs, immigration and labor offices, and diplomatic
                                                                                      that would not charge participants “excessive fees” known to place
        missions in Japan and abroad. The government did not make signiﬁcant
                                                                                      workers in high debt. However, some sending organizations in these
        efforts to reduce the demand for commercial sex acts, as most of its
                                                                                      countries circumvented the fee restrictions and secured their respective
        awareness-raising targeted victims, rather than the demand source.
                                                                                      governments’ approval by charging high “commissions” in lieu of fees;
        The government had extraterritorial jurisdiction to prosecute Japanese
                                                                                      trainees from these countries therefore remained at risk for debt-
        nationals who engaged in child sexual exploitation abroad, but—for the
                                                                                      based coercion once in Japan. This was especially true for Vietnamese
        second consecutive year—it did not report investigating or prosecuting
                                                                                      participants, who constituted the highest proportion of TITP trainees, and
        any cases of child sex tourism under this jurisdiction in 2021. Several
                                                                                      were required to pay commissions to sending organizations in Vietnam.
        ministries continued to operate hotlines that could identify potential
                                                                                      Some Japanese TITP employers forced participants to remit portions of
        trafficking cases, including MHLW, ISA, and NPA, but none of these
                                                                                      their salaries into mandatory savings accounts as a means to prevent their
        ministries reported if these hotlines identiﬁed any victims in 2021. An
                                                                                      abscondment and retain their labor. The MOJ, MOFA, and MHLW could
        NGO observed NPA’s anti-trafficking leaﬂet advertising its hotline was
                                                                                      request that sending countries investigate allegations of recruitment fee
        unclear and difficult for trafficking victims to understand.
                                                                                      violations, but the decision to penalize or ban sending organizations for
        The government continued to implement the 2016 Act on Proper                  the practice was at the discretion of sending country authorities. Over
        Technical Intern Training and Protection of Technical Intern Trainees         the last four years, the government reported to sending countries the
        (TITP reform law). The TITP reform law mandated the MHLW approve              alleged misconduct committed by 100 sending organizations, but it did
        work plans outlining living conditions, working hours, and other factors      not report how many it reported to sending countries in 2021 alone.
        developed jointly by incoming TITP participants and their employers.          The government eliminated 23 of these organizations from the list of
        The government did not report the number of TITP participants it              approved sending organizations, but it did not report investigating
        allowed entry into the program in 2021; however, from November                them for committing potential trafficking crimes.
        2020 through mid-January 2021, the government allowed the
                                                                                      The government continued to implement its Special Skilled Worker
        entry of 55,754 TITP participants. However, authorities did not fully
                                                                                      visa program—established in 2018—to ﬁll positions in construction,
        implement oversight procedures to ensure unity among sending and
                                                                                      shipbuilding, nursing care, and 10 other sectors with known labor
        receiving organizations’ contracts nor among these contracts and the
                                                                                      shortages over a ﬁve-year period. Although there were no reported
        participants’ work plans, resulting in discrepant language that left many
                                                                                      cases of labor trafficking within this system in 2021, observers continued
        participants vulnerable to labor abuses, including labor trafficking.
                                                                                      to express concern it would engender the same vulnerabilities to labor
        OTIT conducted on-site inspections of implementing and supervising
                                                                                      abuses, including labor trafficking, as those inherent to the TITP and the
        organizations, as it did the previous year, as did MOJ. OTIT reported it
                                                                                      government’s oversight measures were similarly lacking. The program
        conducted inspections of 21,833 implementing organizations and 3,950
                                                                                      reportedly permitted qualifying individuals already participating in the
        inspections of supervising organizations in 2021, while MOJ reported
                                                                                      TITP to switch their visas to the newly created categories, allowing them
        OTIT conducted 10,954 inspections of implementing organizations
                                                                                      to extend their stay in Japan and change jobs within the same sector;
        and 2,120 of supervising organizations. This data compared with 15,318
                                                                                      the government did not report how many—if any—TITP participants
        inspections of implementing organizations and 2,983 inspections of
                                                                                      changed their employers in 2021. Japanese law also enabled for-proﬁt
        supervising organizations in 2020. The government did not report if
                                                                                      employment agencies and individuals to become “registered support
        these inspections resulted in the identiﬁcation of a trafficking victims
                                                                                      organizations”—with no licensing requirements—to liaise between
        or criminal investigation for potential trafficking crimes. According to
                                                                                      labor recruitment brokerages and employers for a fee. Observers
        the MOJ, in 2021 the government revoked the licenses of 19 supervising
                                                                                      reported these service fees could create additional risks for debt-based
        organizations, a slight increase from the 11 licenses revoked during the
                                                                                      coercion among migrant workers entering under the auspices of the
        previous year. Authorities also revoked the accreditations of MHLW-
                                                                                      regime. Under this program, the government maintained MOCs with
        approved work plans of 157 implementing organizations for violations of
                                                                                      14 governments that provided a framework for information-sharing to
        the Technical Intern Training Act, an increase from 91 revoked the previous
                                                                                      eliminate malicious brokers and recruitment agencies.
        year. Some observers expressed these work plans lacked enforceability
        due to the high number of TITP employers and participants relative to
                                                                                      TRAFFICKING PROFILE
        the small number of inspectors. As of August 2021, OTIT suspended the
                                                                                      As reported over the past ﬁve years, human traffickers subject Japanese
        acceptance of new technical intern trainees from sending organizations
                                                                                      and foreign men and women to labor and sex trafficking, and they subject
        from which there were multiple cases of disappeared trainees; in
                                                                                      Japanese children to sex trafficking. Traffickers also transport victims
        particular, OTIT reported ﬁve sending organizations to Vietnam and
                                                                                      from elsewhere in the region through Japan before exploiting them in

 316                                                                                                                               Haiti AR_000797
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 422 of 729




                                                                                                                                                               JORDAN
onward destinations, including East Asia and North America. Traffickers        and communication, conﬁscation of passports and other personal and
subject male and female migrant workers, mainly from Asia, to conditions       legal documentation, threats of deportation or harm to their families,
of labor trafficking, including at companies participating in Japanese         physical violence, poor living conditions, wage garnishing, and other
government-run programs, such as TITP. Japan’s fast-growing foreign            conditions indicative of labor trafficking. Some sending organizations
student population is at risk for trafficking in the unskilled labor sector    require participants to sign “punishment agreements” charging thousands
due to abusive and often deceptive work-study contract provisions.             of dollars in penalties if they fail to comply with their labor contracts.
Men, women, and children from Northeast Asia, Southeast Asia, South            Participants who leave their contracted TITP jobs fall out of immigration
Asia, Latin America, and Africa travel to Japan for employment or              status, after which some are reportedly subjected to labor and sex
fraudulent marriage and are subjected to sex trafficking. Traffickers use      trafficking. Some foreign workers within the Speciﬁed Skilled Worker
fraudulent marriages between foreign women and Japanese men to                 visa program—including former TITP participants—may be at risk for
facilitate the entry of women into Japan for sex trafficking in bars, clubs,   trafficking. An NGO noted more than 90 percent of the migrant workers
brothels, and massage parlors. Traffickers keep victims in forced labor        in Japan under the auspices of this visa regime were former TITP interns
or commercial sex using debt-based coercion, threats of violence or            in vulnerable sectors prior to 2019.
deportation, blackmail, conﬁscation of passports and other documents,
and other psychologically coercive methods. Employers require many
migrant workers to pay fees for living expenses, medical care, and other
necessities, leaving them vulnerable to debt-based coercion. Brothel            JORDAN: TIER 2
operators sometimes arbitrarily impose “ﬁnes” on victims for alleged
misbehavior, thereby extending their indebtedness as a coercive measure.
                                                                               The Government of Jordan does not fully meet the minimum standards
Traffickers also subject Japanese citizens and foreign nationals—              for the elimination of trafficking but is making signiﬁcant efforts to do so.
particularly runaway teenage girls and boys—to sex trafficking. Enjo kosai     The government demonstrated overall increasing efforts compared with
or “compensated dating” services and variants of the “JK” business, often      the previous reporting period, considering the impact of the COVID-19
with ties to organized crime, continue to facilitate the sex trafficking       pandemic, if any, on its anti-trafficking capacity; therefore Jordan
of Japanese children; children from the People’s Republic of China             remained on Tier 2. These efforts included identifying and referring to
(PRC), the Republic of Korea, Laos, the Philippines, Singapore, and            care twice as many victims as the previous reporting period and nearly
Vietnam are also reportedly exploited in these establishments. The             doubling prosecutions of trafficking cases. In addition, the government
pandemic caused a surge in unemployment and domestic violence,                 enacted amendments to the 2009 anti-trafficking law, increasing
which increased the risk of some Japanese women and girls—especially           penalties for traffickers, allowing prosecutors to seek restitution in
runaway children—to enter into “compensated dating;” NGOs reported             trafficking cases, formalizing the use of specialized prosecutors and
traffickers increasingly use social media sites to contact women and           judges, and establishing a donations-based victims’ assistance fund.
girls for this purpose. “JK” bar owners may subject some underage boys         The government also drafted a new national referral mechanism (NRM)
and girls, including LGBTQI+ youth, to labor trafficking as hostesses          and trained officials on implementation of the amendments and NRM.
and club promoters. Highly organized commercial sex networks target
                                                                               However, the government did not meet the minimum standards in several
vulnerable Japanese women and girls—in some instances those living in
                                                                               key areas. Lenient sentencing (resulting in more than 88 percent of
poverty or with cognitive disabilities—in public spaces such as subways,
                                                                               sentenced traffickers receiving ﬁnes in lieu of imprisonment) undercut
popular youth hangouts, schools, and online, and subject them to sex
                                                                               efforts to hold traffickers accountable, weakened deterrence, did not
trafficking in commercial sex establishments, small musical performance
                                                                               adequately reﬂect the nature of the crime, and increased potential
venues, retail spaces, and reﬂexology centers, often through debt-based
                                                                               security and safety concerns. Authorities continued to arrest, detain,
coercion. Some groups posing as model and actor placement agencies
                                                                               and deport some victims for unlawful acts traffickers compelled them to
use fraudulent recruitment techniques to coerce Japanese men, women,
                                                                               commit, such as immigration violations and ﬂeeing abusive employers.
boys, and girls into signing vague contracts and then threaten them
with legal action or the release of compromising photographs to force          Jordan’s visa sponsorship system, which placed a signiﬁcant amount of
them to participate in pornographic ﬁlms. Some transgender youth               power in the hands of employers of foreign workers, continued to create
seek employment in unregulated urban entertainment districts as a              vulnerabilities for the exploitation of migrant workers and remained
means of ﬁnancing their gender-affirming care and are subsequently             a signiﬁcant impediment to authorities identifying and protecting
exploited in commercial sex and possibly labor trafficking. Private            trafficking victims.
Japanese immigration brokers help Japanese-Filipino children, and
their Filipina mothers move to Japan and acquire citizenship for a
                                                                                        JORDAN TIER RANKING BY YEAR
signiﬁcant fee, which the mothers often incur large debts to pay; upon              1
arrival, some of these women and their children are subjected to sex
                                                                                    2
trafficking to pay off the debts. Organized crime syndicates posing as
immigration brokers also lure these families to Japan with deceptive              2WL
job offers, and then subject the women to labor and sex trafficking in              3
the nightlife industry. Japanese men remain a source of demand for                         2015     2016      2017    2018   2019    2020    2021    2022
child sex tourism in other countries in Asia.
Cases of labor trafficking continue within the TITP, a government-run
program originally designed to foster basic technical skills among
foreign workers that has effectively become a guest-worker program.            PRIORITIZED RECOMMENDATIONS:
TITP participants from Bangladesh, Bhutan, Burma, Cambodia, the PRC,           Increase efforts to reduce lenient sentencing of convicted traffickers,
India, Indonesia, Laos, Mongolia, Pakistan, the Philippines, Thailand,         including seeking penalties with signiﬁcant prison terms consistent
Turkmenistan, Uzbekistan, and Vietnam pay sending organizations in             with the amended anti-trafficking law. • Increase efforts to proactively
their home countries thousands of dollars in excessive worker-paid             screen for and identify trafficking victims among vulnerable populations,
fees, deposits, or vague “commissions”—despite bilateral agreements            such as detained foreign migrants, domestic workers, workers in the
between sending countries and Japan aimed at curbing the practice—to           agricultural sector, refugees, children who were homeless or used the
secure jobs in ﬁshing, food processing, shellﬁsh cultivation, ship building,   streets as a source of livelihood, and persons in commercial sex. • Ensure
construction, textile production, and manufacturing of electronic              victims are not inappropriately punished for unlawful acts traffickers
components, automobiles, and other large machinery. TITP employers             compelled them to commit, such as immigration or prostitution violations
place many participants in jobs that do not teach or develop technical         or escaping from an abusive employer. • Continue increasing efforts to
skills, contrary to the program’s stated intent; others place participants     investigate, prosecute, and convict sex trafficking and labor trafficking
in jobs that do not match the duties they agreed upon beforehand.              crimes. • Train law enforcement officers, judges, prison officials, and
Some of these workers experience restricted freedom of movement                labor inspectors throughout the country to screen for, identify, and refer

                                                                                                                                    Haiti AR_000798            317
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 423 of 729
JORDAN   to protection services trafficking victims, including among vulnerable          reported this also increased the overall number of PSD officers familiar
         populations such as foreign workers and refugees. • Reform the visa             with trafficking as new officers were consistently trained on trafficking.
         sponsorship system by enforcing labor law protections for all workers           The government—at times in cooperation with international organizations
         in Jordan, including domestic workers, and allow workers to freely              and NGOs—trained law enforcement, prosecutors, judges, labor
         change employers. • Regulate and investigate fraudulent labor and               inspectors, social workers, healthcare providers, provincial and district
         recruitment practices.• Allocate adequate funding for operation of the          governors, and other frontline officials on trafficking indicators, victim
         government’s trafficking shelter, and train shelter staff to identify and       identiﬁcation, investigation procedures for trafficking cases, and related
         provide specialized care to victims. • Investigate and punish individuals       topics such as collecting digital evidence. To address an acknowledged
         for withholding workers’ passports under Jordan’s passport law. • Fully         lack of judicial experience and expertise, the Judicial Institute partnered
         implement labor regulations governing work in the agricultural sector           with NGOs to train judges on trafficking-speciﬁc courses.
         and increase labor inspections in this sector.
                                                                                         PROTECTION
         PROSECUTION                                                                     The government increased efforts to identify and provide services to
         The government increased overall law enforcement efforts but sentenced          trafficking victims. In 2021, the government identiﬁed and provided
         convicted traffickers to insigniﬁcant penalties. The 2009 Law on the            various services to 61 trafficking victims (15 were victims of sex trafficking,
         Prevention of Trafficking in Human Beings criminalized sex trafficking and      36 of forced labor, and 10 of an unspeciﬁed form of trafficking), which
         labor trafficking. During the reporting period, the government enacted          was an increase compared with 25 identiﬁed victims in 2020. Of the
         amendments to the law. As amended, the law prescribed penalties of              61 victims, 14 were male and 47 female; 58 were adults and 3 children;
         imprisonment and a ﬁne for adult labor trafficking. The amended law             45 were foreign citizens and 16 Jordanian. During the reporting period,
         did not provide a range for the sentence of imprisonment, but in such           the government collaborated with civil society to draft new victim
         cases, the penal code provided a default sentence of between three-             identiﬁcation standard operating procedures (SOPs) and a national
         and 15-years’ imprisonment. The amended law prescribed penalties of             referral mechanism (NRM). In November 2021, the Attorney General
         at least seven years’ imprisonment, and a ﬁne for adult and child sex           endorsed the SOPs and NRM, and they entered a three-month trial
         trafficking and child labor trafficking. These penalties were sufficiently      period; at the end of the reporting period, the inter-ministerial National
         stringent and, with respect to sex trafficking, commensurate with               Committee for Countering Human Trafficking (NCCT) compiled input
         penalties prescribed for other serious crimes, such as kidnapping.              from government stakeholders and civil society, updated the NRM, and
         The Public Security Directorate (PSD) and Ministry of Labor (MOL)               sent it to the Minister of Justice for ﬁnal approval. Although CTU was
         joint counter-trafficking unit (CTU) remained the national lead on anti-        headquartered in Amman, it used specialized liaison officers in police
         trafficking investigations and continued to investigate potential trafficking   stations across the country to identify trafficking victims outside of the
         crimes. During the reporting period, CTU investigated 214 potential             capital. CTU also relied on additional liaison officers in Syrian refugee
         trafficking cases, similar to 206 investigations of potential trafficking       camps; in September 2021, CTU also assigned liaison officers with the
         crimes in 2020. Of the 214 potential cases, CTU determined 36 cases             Civil Aviation Regulatory Authority. During the reporting period, the
         involving 63 suspects met the criteria to be classiﬁed as trafficking cases     Ministry of Social Development’s (MOSD) anti-vagrancy department
         and referred these to prosecutors; 10 of the 36 investigated cases were         continued a campaign (begun in October 2020) to remove vulnerable
         ongoing from the previous reporting period. These 36 cases included 12          children, including forced begging victims, from the streets of Amman.
         sex trafficking cases, 12 domestic servitude cases, 11 forced labor cases,      Joint patrols by teams of MOSD social workers, PSD investigators,
         and one forced begging case. The Ministry of Justice (MOJ) initiated the        and female police officers screened children for trafficking indicators
         prosecution of 23 trafficking cases involving 35 defendants and continued       and referred potential trafficking victims to MOSD juvenile assistance
         prosecuting 11 cases involving 24 defendants initiated in the previous          centers to receive medical assistance and social services like family
         reporting period; this was an increase compared with 22 defendants              reintegration efforts. In 2021, authorities referred 1,000 vulnerable
         prosecuted in 2020. The government convicted nine traffickers under the         children, including potential trafficking victims, to MOSD shelters; in
         trafficking law, compared to 12 convictions secured in 2020. Sentences          September 2021, authorities recognized three girls as forced begging
         ranged from a ﬁne of 1,000 dinar ($1,410) to 1.5 years’ imprisonment            victims and referred them to the government’s Dar Karama shelter,
         and a ﬁne. Only one convicted trafficker received a prison sentence             dedicated to protecting trafficking victims, for specialized services.
         greater than one year, which did not serve to deter or adequately               The government continued to refer identiﬁed victims to multiple care
         reﬂect the nature of the crime; during the previous reporting period,           shelters, including shelters run by an NGO and MOSD, and referred
         eight of the 12 convicted traffickers received sentences greater than           cases to CTU for investigation. MOSD continued to operate and fund
         one year of imprisonment. Legal experts continued to report that some           the Dar Karama shelter, which provided psycho-social care, medical
         judges remained hesitant to convict perpetrators for human trafficking,         treatment, legal assistance, vocational training, and specialized services
         preferring to pursue other charges such as labor violations that carried        for children. It also continued to offer computer classes, a book club,
         lesser penalties than the anti-trafficking law, due to the complexity           and religious services for both Muslim and Christian shelter residents.
         of cases, lack of judicial experience and expertise, and the cultural           The shelter’s staff included lawyers and specialists in psychology, social
         acceptance of some forms of the crime such as forced labor in domestic          work, nursing, and education. The PSD, including both gendarmerie
         work. The government did not report any investigations, prosecutions,           and police officers, provided shelter security outside of the shelter.
         or convictions of government officials complicit in trafficking crimes.         The provision of shelter services was not conditional upon a victim’s
         Jordan’s overcrowded and underfunded judicial system continued to               cooperation with law enforcement or judicial authorities, and victims
         lack a sufficient number of trained judges and prosecutors who could            could freely and willingly leave the shelter. Victims were allowed to stay
         specialize in trafficking cases. However, beginning in 2018, the MOJ            at the shelter for as long as two months, but victims’ stay in the shelter
         began assigning specialized prosecutors and judges to criminal cases,           could be extended through a process requiring MOSD approval; during
         including trafficking; in accordance with the amendments to the anti-           the reporting period, MOSD drafted a shelter bylaw that would allow
         trafficking law, the Judicial Council appointed a total of 41 specialized       victims to stay the length of an investigation and prosecution without
         public prosecutors and judges to ensure each court had at least one             additional approvals. The shelter had the capacity to serve a total of
         specialized judge and prosecutor in each governorate between June 2021          35 victims, both Jordanian citizens and foreign nationals, with space
         and January 2022. Previously, officials reported poor communication             for 20 women, ﬁve children, and 10 men. The shelter had a separate
         between CTU investigators and prosecutors contributed to weak                   wing and entrance for male victims, and it was the only shelter in the
         prosecution of trafficking cases. During the reporting period, CTU              country available to men; the shelter assisted 13 male victims. In 2021,
         continued implementing new case management procedures to allow CTU              the shelter served a total of 37 victims, which represented an increase
         investigators to follow trafficking investigations through prosecution to       compared with 14 victims served in 2020. The government referred
         improve the classiﬁcation of trafficking cases. The government rotated          three identiﬁed victims to an NGO shelter, six identiﬁed victims to their
         specialized investigators out of CTU into other assignments every two           respective embassies, and 11 victims (ﬁve Jordanians, two Egyptians,
         years or less, which hindered the work of the unit; however, NGOs               and eight Kuwaitis) declined shelter services. Shelter staff cooperated
                                                                                         with the embassies of Bangladesh, Ethiopia, Philippines, Sri Lanka, and
 318                                                                                                                                    Haiti AR_000799
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 424 of 729




                                                                                                                                                              JORDAN
Sudan to provide assistance to their nationals. Although the Dar Karama       trafficking crimes; the hotline offered interpretation services in some
shelter was authorized to admit self-referrals to the shelter pending a       source-country languages. However, due to overall budget shortfalls,
subsequent formal CTU referral, NGOs and other stakeholders reported          the government did not consistently maintain interpreters of some
this process was confusing and the shelter’s admittance rules needed          Asian languages at the hotline, which led to challenges in identifying
clariﬁcation; in January 2022, the MOJ established a committee with           potential trafficking victims and referring them to protection services.
relevant government stakeholders to amend the shelter’s bylaws and            The MOL also operated an online complaint mechanism on its website
clarify admittance rules. The government reported the Dar Karama              for reporting child labor and trafficking cases.
shelter lacked funds to purchase return ﬂights for foreign trafficking
                                                                              Jordan’s visa sponsorship system continued to prevent foreign workers
victims who wished to voluntarily return to their home country and did
                                                                              from switching employers without a letter of release from their sponsor
not have regular access to interpretation services for languages other
                                                                              or receiving adequate access to legal recourse in response to abuse;
than English; the government reported relying at times on embassies,
                                                                              the government reported granting ad hoc permission to allow domestic
NGOs, and international organizations to provide repatriation and
                                                                              workers to change employers in an unspeciﬁed number of cases. Migrant
interpretation assistance. The amended anti-trafficking law requires
                                                                              workers, including potential trafficking victims, who left their place of
the creation of a donations-based victims’ fund, which the government
                                                                              employment prior to fulﬁlling their work contract, were considered
intends to use to ﬁnance protection services, plane tickets for voluntary
                                                                              illegal residents and subjected to ﬁnes and detention for their irregular
repatriation, and other needs that are currently underfunded; the
                                                                              presence in the country; loss of legal status created greater vulnerabilities
government was reviewing guidelines to permanently ﬁnance the fund
                                                                              to trafficking. Jordan maintained several bilateral labor agreements with
at the end of the reporting period. Because the government shelter was
                                                                              other countries detailing recruitment procedures, working conditions,
located in Amman, victim services were difficult to access for victims
                                                                              and wages; however, some of the bilateral labor agreements exacerbated
outside of the capital.
                                                                              vulnerabilities to trafficking. For example, a labor agreement between the
The government encouraged victims to assist in the investigation and          Jordanian and Egyptian governments speciﬁed that an Egyptian national
prosecution of their traffickers; PSD accompanied victims to court, and       cannot leave Jordan without permission from his or her employer, even
officials assigned all victims a lawyer throughout judicial proceedings       if the employer was convicted of trafficking crimes. Similarly, although
to ensure protection of their rights. The 2009 anti-trafficking law, as       the Ugandan government signed a labor agreement with Jordan, there
amended, extended witness protections to trafficking victims, and             was no Ugandan embassy or diplomatic representation in Jordan for
trafficking victims were able to provide court statements electronically to   Ugandan nationals, including potential trafficking victims, to seek
prevent re-traumatization. Foreign victims also had the option to provide     assistance. The government worked with countries with diplomatic
a deposition prior to being repatriated. The amended anti-trafficking         representation in Jordan to verify migrant workers’ age, approve work
law requires authorities to provide victims legitimate means to obtain        permits, and translate work contracts into workers’ native languages.
compensation for damages through restitution or civil suits; however,
                                                                              In October 2021, the government issued regulations requiring recruitment
these provisions were not implemented by the end of the reporting
                                                                              agencies to provide migrant domestic workers with insurance covering
period. The government provided foreign victims with legal alternatives
                                                                              medical care and workplace accidents. The regulations also authorize
to their removal to countries where they faced retribution or hardship.
                                                                              the MOL to publicly rate recruitment agencies based on compliance with
In addition, the new NRM required the government to waive fees and
                                                                              the labor law—including provisions prohibiting fraudulent recruitment
assist foreign victims—who wished to remain in Jordan—with obtaining
                                                                              practices, worker-paid recruitment fees, and contract switching—and
residency and ﬁnding employment. The amended anti-trafficking law
                                                                              to close and withdraw licenses from poorly ranked agencies; the MOL
also allowed foreign victims to seek temporary residence in Jordan
                                                                              did not report if it had implemented these regulations. Jordanian law
until the completion of their cases’ investigation and prosecution; as
                                                                              prohibits recruitment agencies and employers of foreign workers from
a result of the amendments and NRM, NGOs observed an increase in
                                                                              charging workers recruitment fees or deducting recruitment costs from
judicial officials offering victims immigration relief, including waiving
                                                                              wages; however, some Egyptian workers reported being pressured to
overstay fees and work permit violations during the reporting period.
                                                                              pay their own recruitment fees. Through regular labor inspections,
Authorities continued to punish some potential foreign trafficking
                                                                              the MOL referred 22 recruitment agencies and 11 domestic worker
victims for unlawful acts traffickers compelled them to commit—such
                                                                              complaints to CTU for further investigation during the reporting period;
as immigration violations—including through ﬁnes, arrest, detention,
                                                                              however, the government did not report further outcome of these cases.
and deportation; an NGO reported working on cases of nine potential
                                                                              Jordan’s passport law criminalized the withholding of passports by an
trafficking victims whom the government detained because of fraudulent
                                                                              employer, carrying penalties of six months to three years’ imprisonment
theft charges, absconding from abusive employers, and visa overstay
                                                                              and ﬁnes. During the reporting year, CTU referred six cases of passport
fees. Furthermore, bureaucratic and ﬁnancial barriers and detention
                                                                              conﬁscation and 25 cases of unlawful wage withholding to the MOJ. The
prevented some victims from repatriation, even if a worker left an
                                                                              judiciary prosecuted six passport conﬁscation cases, but no individuals
employer because of exploitation. Some foreign workers, including
                                                                              were convicted. The judiciary prosecuted 25 cases of unlawful wage
potential trafficking victims, remained in Jordanian detention due
                                                                              withholding; nine individuals were convicted and received ﬁnes, while
to pending criminal charges against them or their inability to pay for
                                                                              10 cases remained pending. The government began implementing a
overstay penalties or plane fare home. NGOs reported foreign labor
                                                                              new law approved in March 2021 to regulate the agricultural sector,
trafficking victims were less likely to report abuses to the authorities
                                                                              which gave workers the right to ﬁle lawsuits, submit complaints to
because of fear of deportation or detention.
                                                                              labor inspectors, and be exempt from work- or residency-permit fees;
                                                                              however, NGOs reported the changes did not address abuses of the visa
PREVENTION                                                                    sponsorship system for migrant workers who comprise the majority of
The government maintained prevention efforts. The NCCT, chaired
                                                                              the agricultural sector’s workforce.
by the Minister of Justice and comprising relevant ministries, met
regularly (virtually and in person), at times with NGO participation.         The government did not make efforts to reduce the demand for
The government continued to implement its 2019-2022 national                  commercial sex acts or child sex tourism. In 2021, the government
anti-trafficking strategy in partnership with NGOs and international          continued to take steps to reduce the vulnerability of Syrian refugees to
organizations. During the reporting period, the government began              trafficking. The government issued 59,108 work permits to Syrians from
assessing the 2019-2022 strategy to prepare drafting the 2023-2025            host communities and refugee camps in 2021, an increase compared
national anti-trafficking strategy. The NCCT published quarterly reports      with 38,756 distributed in 2020, which helped reduce this population’s
on its efforts. The government continued to raise awareness about             vulnerability to forced labor; however, overall meaningful economic
trafficking crimes throughout the country through workshops, television       opportunities for Syrian refugees were limited, especially for women,
broadcasts, and other means. The government continued distributing            because of the instability of the job market due to the pandemic and
anti-trafficking information to all foreign migrant workers entering          because 94 percent of permits were issued to men. The MFA continued
Jordan and at inspected work sites. The MOL and CTU continued to              to report its ﬁnance department directly paid locally-hired, domestic
operate a hotline to receive complaints of labor violations and potential     staff of Jordanian diplomats posted abroad, in accordance with labor
                                                                              laws and wage rates in the host country.
                                                                                                                                Haiti AR_000800               319
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 425 of 729
KAZAKHSTAN
             TRAFFICKING PROFILE                                                           NGO in 2016, some Egyptian women are exploited in forced begging
             As reported over the past ﬁve years, human traffickers exploit domestic       or sex trafficking by their Jordanian husbands. Individuals from the
             and foreign victims in Jordan, and traffickers exploit victims from           Dom community, an Indo-Aryan people also known as the Bani Murra,
             Jordan abroad. Trafficking victims in Jordan are primarily from South         are also vulnerable to forced labor and forced begging in Jordan due
             and Southeast Asia, East Africa, Egypt, and Syria. In 2018, an NGO            to a lack of access to social and education services and employment
             reported a large increase in Ugandan trafficking victims following            opportunities in Jordan.
             the implementation of a 2016 bilateral labor agreement between the
             Ugandan and Jordanian governments. Jordan relies on foreign migrant
             workers—many of whom are undocumented—in several sectors, including
             construction, agriculture, textiles, and domestic work; according to           KAZAKHSTAN: TIER 2
             an NGO in 2018, workers in these sectors are the most vulnerable to
             trafficking because of informal work agreements. According to a 2020          The Government of Kazakhstan does not fully meet the minimum
             study, officials estimate the total number of foreign workers in Jordan       standards for the elimination of trafficking but is making signiﬁcant
             could be as high as 1.5 million, while the MOL estimates the number of
                                                                                           efforts to do so. The government demonstrated overall increasing
             irregular foreign workers in Jordan to be as high as 500,000. Jordan’s
                                                                                           efforts compared with the previous reporting period, considering
             visa sponsorship system increases foreign workers’ vulnerability to
                                                                                           the impact of the COVID-19 pandemic, if any, on its anti-trafficking
             trafficking by preventing them from switching employers without
                                                                                           capacity; therefore Kazakhstan remained on Tier 2. These efforts
             the initial employer’s consent. Because work permits are linked to a
                                                                                           included increasing the number of trafficking convictions for a second
             speciﬁc employer, when a worker quits one job before securing another,
                                                                                           consecutive year and sentencing a complicit official for sex trafficking.
             the worker loses legal status increasing vulnerability to trafficking.
                                                                                           The government increased funding to support shelters and continued
             Unscrupulous employers exploit the non-transferability of work visas to
                                                                                           to increase collaboration with NGOs and international organizations,
             control or manipulate workers. Some recruitment agencies fraudulently
             recruit victims from labor-source countries to Jordan using false promises    including in awareness campaigns throughout the country. However,
             of money or other beneﬁts. Forced labor victims in Jordan experience          the government did not meet the minimum standards in several key
             withheld or non-payment of wages, conﬁscation of identity documents,          areas. It identiﬁed far fewer victims and investigated signiﬁcantly fewer
             restricted freedom of movement, unsafe living conditions, long hours          traffickers than the previous year; and civil society and government
             without rest, isolation, and verbal and physical abuse. For example,          interlocutors reported that legislative insufficiencies continued to
             adults from South and East Asia migrate to work in factories in Jordan’s      hinder effective anti-trafficking enforcement and victim identiﬁcation.
             garment industry, some of whom experience withholding of passports,           Authorities continued to identify few foreign victims and to maintain
             restricted movement, and unsafe living conditions. Traffickers exploit        obstacles for their access to protection services; foreign victims could
             some migrant workers from Egypt—the largest source of foreign labor           not access services unless a criminal case had been initiated against the
             in Jordan—in forced labor in the construction, service, and agricultural      traffickers. The government’s efforts to address forced labor remained
             sectors. During the reporting period, civil society reported an increase in   inadequate.
             Ethiopian domestic workers exploited in forced labor in Jordan. In 2017,
             the government estimated there were 82,643 foreign female domestic
                                                                                                    KAZAKHSTAN TIER RANKING BY YEAR
             workers in Jordan, primarily from South and Southeast Asia and East
                                                                                                1
             Africa, who are highly vulnerable to forced labor. Some out-of-status
             domestic workers from Bangladesh, Indonesia, the Philippines, and Sri             2
             Lanka have been reportedly exploited in sex trafficking while looking           2WL
             for an employer or after ﬂeeing their previous employers.                          3
             Refugees from Iraq, the West Bank and Gaza, Syria, and other countries                   2015      2016     2017         2018   2019   2020   2021   2022
             are highly vulnerable to trafficking in Jordan, especially women and
             children working illegally or informally. Jordan is host to approximately
             753,282 UNHCR-registered refugees from more than 55 countries,
             including 664,414 Syrians and 66,760 Iraqis. Non-Syrian and non-              PRIORITIZED RECOMMENDATIONS:
             Palestinian refugees are vulnerable to labor exploitation due to the          Approve and implement policies allowing formal recognition of foreign
             Jordanian government’s restrictions on their ability to work in most          nationals as trafficking victims and their referral to robust protection
             formal employment sectors; non-Syrian refugees, including refugees            services, including shelter, irrespective of whether criminal cases have
             from Iraq, Somalia, Sudan, and Yemen, do not have access to the formal        been initiated against their traffickers. • Amend trafficking laws to
             labor market or are required to renounce their UNHCR registration to          align the deﬁnition of trafficking with international standards and train
             obtain work permits. In 2019, Iraqi refugees reported they are vulnerable     law enforcement officers and labor inspectors on their application,
             to exploitation in the informal sector because employers pay them             particularly in the detection of cases involving psychological coercion and
             below-market wages and expect them to work excessively long hours.            other less overt trafficking indicators. • Vigorously investigate, prosecute,
             NGOs continue to observe an increase in child labor and potential forced      and convict suspected trafficking cases on an ongoing basis, including
             child labor among Syrian refugee children working alongside their             allegedly complicit government officials. • Increase investigations and
             families in the agricultural and service industries, as well as peddling      prosecutions of potential forced labor cases, especially in remote areas.
             goods and begging. There have been reported cases of Syrian refugee           • Sufficiently increase the number of labor inspectors and provide
             women and girls sold into forced marriages in Jordan. Refugee boys            them with systemic, specialized training to identify victims of forced
             and young men, in particular, often work illegally and informally in the      labor and report potential trafficking cases to the police, including by
             Jordanian economy, which puts them at risk of trafficking.                    allowing unfettered access to factories, construction sites, and farms
                                                                                           for unannounced inspections. • Signiﬁcantly increase efforts to identify
             Some Jordanian and Syrian girls are forced to drop out of compulsory          trafficking victims among vulnerable populations and refer these victims
             school to perform domestic service in their families’ homes; some of          for assistance, with an emphasis on foreign forced labor victims. • Ensure
             these girls are vulnerable to trafficking. Jordanian boys employed within     victims are aware of their right to seek compensation and train attorneys
             the country in the service industry, agricultural sector, and as mechanics,   and law enforcement officials on how to assist in the process. • Establish
             street vendors and beggars may be victims of forced labor. NGOs and an        and implement a centralized anti-trafficking data collection system.
             international organization reported in 2018 an estimated 3,000 children       • Enhance oversight and regulation of labor recruitment agencies. •
             begging in the streets in Jordan, some of whom are highly vulnerable          Continue to provide legal alternatives to deportation, especially when
             to trafficking. Traffickers exploit Lebanese, North African, and Eastern      foreign trafficking victims may face hardship, abuse, or re-trafficking
             European women in sex trafficking who have migrated to Jordan to              in their countries of origin.
             work in restaurants and nightclubs; some Jordanian women working in
             nightclubs may also be exploited in sex trafficking. As reported by an
  320                                                                                                                                         Haiti AR_000801
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 426 of 729




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PROSECUTION                                                                    anti-trafficking prohibitions, leading to corruption and misclassiﬁcation
The government maintained anti-trafficking law enforcement efforts             of trafficking cases.
but increased convictions for a second consecutive year. Articles 128,         The government continued to train police, prosecutors, and judges on
134, 135, 308, 125(3.2), and 126(3.2) of the penal code criminalized           the identiﬁcation, investigation, and prosecution of trafficking crimes;
sex trafficking and labor trafficking. However, inconsistent with the          these activities were mostly conducted online due to the pandemic.
deﬁnition of trafficking under international law, the law did not include      Law enforcement agencies and courts adapted to pandemic lockdowns
force, fraud, or coercion as an essential element of the crime but             by processing cases online, including conducting many court hearings
rather considered them an aggravating circumstance. NGO observers              online during lockdown periods. The Supreme Court trained 143 judges,
and government officials alike noted this was particularly illustrative        compared with 36 judges in 2020. Like in the previous reporting period,
in Article 128 (Trafficking in Persons) and Article 135 (Trafficking in        these trainings were primarily government funded. The Prosecutor
Minors), which criminalized the purchase or sale of persons under              General’s Office assigned 51 specialized prosecutors, and the Supreme
certain circumstances; its lack of speciﬁcity reportedly prevented             Court assigned 17 specialized judges to prosecute trafficking cases.
authorities from properly investigating or prosecuting some cases
involving psychological coercion or other more complex trafficking             PROTECTION
indicators. The law, as amended in 2019, prescribed penalties of four to       The government made mixed protection efforts; however, efforts to
seven years’ imprisonment for adult trafficking and ﬁve to nine years’         identify and protect forced labor and foreign national victims remained
imprisonment for child trafficking; the penalties could be increased to        inadequate. The government identiﬁed 20 trafficking victims, compared
up to 18 years’ imprisonment under aggravated circumstances. These             with 88 in 2020 and 40 in 2019. Of the victims identiﬁed, 16 were
penalties were sufficiently stringent and, with respect to sex trafficking,    sex trafficking victims (14 citizens from Kazakhstan and two from
commensurate with those prescribed for other serious crimes, such as           Uzbekistan), including one sex trafficking victim exploited in Georgia,
rape. Article 134 was amended in 2021 to increase penalties for child          and four were forced labor victims (three Kazakhstani citizens and one
sex trafficking to three to six years in prison (previously three to ﬁve       from Uzbekistan). Law enforcement units dedicated to migration and
years). Kazakhstani officials reportedly continued consultations with          trafficking issues operated under standard guidelines for the identiﬁcation
international organizations and foreign governments on the creation of         of victims among vulnerable populations, including undocumented
new legislation, which would create a national referral mechanism and          migrant communities and individuals in commercial sex. The government
delineate responsibilities for government agencies to identify and provide     amended these guidelines to implement a victim-centered approach
services to trafficking victims and investigate and prosecute traffickers.     to investigations, including by recording victim testimonies to reduce
Police initiated investigations in 20 trafficking cases in 2021 (16 for sex    the need for multiple interviews and enabling criminal cases to move
trafficking and four for forced labor), compared with 72 in 2020, and          forward in the absence of victim testimony. Separate referral procedures
continued 47 investigations initiated in the previous reporting period. The    were outlined under the 2015 Special Social Services Standards, which
government prosecuted 49 human trafficking cases in 2021, compared             instructed law enforcement agencies on effective coordination with NGOs
with 45 prosecutions in 2020, and it convicted 23 sex traffickers,             to connect victims with protection services. Police also maintained a
compared with 11 sex traffickers in 2020 and eight in 2019. Of the 23          formal referral mechanism for victims initially arrested or detained during
convictions, courts convicted four traffickers under cases initiated in        police operations. The PGO and the MIA each had a memorandum of
2021 and 19 traffickers under cases from previous years. From the 23           understanding (MOU) with an international organization, and the MIA had
convictions, 16 traffickers received sentences ranging from seven to 18        memoranda of cooperation between police departments and 17 NGOs
years’ imprisonment, and seven traffickers received sentences ranging          across the country to provide assistance with trafficking cases. Victims
from one to ﬁve years (compared with nine sentences ranging from               identiﬁed by government authorities are referred to government-funded
seven to 17 years, a four-year sentence, and a three-year sentence in          NGO-run shelters; however, the government did not report the number
2020); three traffickers were acquitted. As in previous years, many of         of victims it referred to NGOs for assistance this year. Reports indicate
the trafficking cases were the result of three multi-day special anti-         NGOs continued to provide shelter, legal assistance, and other services
trafficking police operations, called “Stop Trafficking,” in which police      to hundreds of victims. One NGO reported it identiﬁed 200 victims (193
conducted enforcement operations with local authorities in brothels,           victims of forced labor, six victims of sex trafficking, and one victim of
massage parlors, construction sites, and farms and collaborated with           both sex trafficking and forced labor, including 166 men and 34 women)
NGOs to interview potential victims. NGOs noted some police lack the           and provided assistance to 193 victims, which included 161 victims from
understanding of the criminal code, the trafficking law, and trafficking       Uzbekistan, 24 victims from Kazakhstan, and 12 victims from Russia,
in persons necessary to effectively investigate cases, mainly due to           Tajikistan, and Ukraine; the citizenship of three victims was unknown.
staffing rotations in law enforcement agencies, and reported victims were      NGOs continued to report regional anti-trafficking units, composed of one
often seen as violators of migration laws or as individuals experiencing       or two police officers, effectively referred victims to the NGOs for care
homelessness. NGOs continued to report investigators closed or decided         and facilitated strong cooperation. NGOs reported an unknown number
not to open some criminal cases due to a perceived lack of evidence,           of forced labor victims may remain unidentiﬁed and without access to
despite the available testimony from trafficking victims, and that they        services due to the remote location of farms throughout the country.
continued to focus on investigating sex trafficking cases to the exclusion     Law enforcement units mandated to address migration or trafficking
of those involving forced labor. Kazakhstani law enforcement continued         issues had a formal system to identify trafficking victims among at-risk
to cooperate with foreign governments (Uzbekistan, Moldova, and                persons, such as undocumented migrants or individuals in commercial
Bahrain) on the investigation of trafficking crimes, which resulted in four    sex. However, although the government improved efforts to identify
extraditions (three to Uzbekistan and one to Moldova); 13 sentences            foreign victims and expanded the mandate of the labor inspectorate to
(including two Russian citizens) to prison terms between 15 months and         require monitoring for trafficking indicators, officials’ efforts to identify
14 years; three Kazakhstani citizens extradited back to Kazakhstan; and        foreign victims and labor trafficking victims remained inadequate.
the repatriation of 23 Kazakhstani victims from Bahrain.
                                                                               The government allocated 148.9 million tenge ($340,830) for 2021-2023
In previous years, NGOs reported traffickers bribed low-ranking                to support 17 shelters in 17 regions (compared with nine regions in
police officials to avoid charges and alleged that some police officers        2020); from this amount, NGOs received 107 million tenge ($244,920)
facilitated forced labor or sex trafficking crimes. The Ministry of Internal   in 2021 (an increase from $164,740 in 2020 and $180,880 in 2019).
Affairs (MIA) investigated a border guard employee who facilitated             These trafficking shelters offered legal, psychological, and medical
activities of a criminal group operating a brothel in the Atyrau region,       assistance and were accessible to all Kazakhstani trafficking victims.
which coerced women, including migrants from Uzbekistan, in sex                Although authorities previously extended the length of NGO service
trafficking. On October 20, 2021, the Military Court of Aktobe convicted       providers’ local government contracts from one to three years to
the border guard and sentenced him to four years in prison. Observers          reduce administrative burdens on organizations providing essential
reported investigative, prosecutorial, and judicial authorities have           services to trafficking victims, some NGOs reported funding delays.
signiﬁcant leeway in how to categorize crimes under Kazakhstan’s               The government encouraged victims—including foreign nationals—to

                                                                                                                                 Haiti AR_000802               321
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 427 of 729
KAZAKHSTAN   participate in investigations and prosecutions by providing witness            unidentiﬁed foreign national victims—especially those exploited in forced
             protection during court proceedings, access to pre-trial shelter services,     labor—at risk of penalization for unlawful acts traffickers compelled them
             and basic provisions such as food, clothing, transportation, and medical       to commit. Some NGOs reported police and migration officers detained
             and legal assistance. These and other protection services were not             victims for immigration violations.
             conditional upon Kazakhstani victims’ cooperation with law enforcement,
                                                                                            Nearly 600 women and children have been repatriated from conﬂict
             but foreign national victims could not access services unless a criminal
                                                                                            zones in Syria since 2019 (37 men, 157 women, and 413 children). Experts
             case had been initiated against the traffickers. The Law on State Protection
                                                                                            have noted that the reintegration program has been highly successful
             of Participants of Criminal Proceedings from 2000 enables foreign
                                                                                            and is well resourced and staffed to provide services in government-run
             national victims to receive assistance, including short-term housing and
                                                                                            rehabilitation centers. Birth certiﬁcates were given to the children born
             ﬁnancial support for basic needs during criminal investigations. In cases
                                                                                            in conﬂict zones, and their mothers were provided with identiﬁcation
             where law enforcement identiﬁed foreign national victims, victims often
                                                                                            documents to facilitate integration.
             refused to cooperate due to lack of trust in authorities, feeling unsafe,
             long criminal procedures, and sometimes not being able to work during
                                                                                            PREVENTION
             the process, especially considering the government’s failure to effectively
                                                                                            The government maintained overall prevention efforts. The Interagency
             encourage them to so do by preventing their access to services unless
                                                                                            Trafficking in Persons Working Group, led by the MIA, held three virtual
             a criminal case had been initiated against the traffickers. According to
                                                                                            sessions in 2021 to discuss implementation of the 2021-2023 NAP. Some
             experts, foreign national victims frequently reported their exploitation
                                                                                            anti-trafficking NGOs noted increased political will, more proactive efforts,
             to local police upon return to their home country, where they felt safer.
                                                                                            and enhanced coordination with NGOs on the part of the government. The
             In 2020, the government started drafting amendments to the Social
                                                                                            government continued to fund anti-trafficking information and education
             Code that would extend protection services to foreign national victims
                                                                                            campaigns targeting potential trafficking victims, including children,
             irrespective of the initiation of criminal cases; these draft amendments
                                                                                            migrants, and Kazakhstani citizens traveling abroad. The government
             remained pending at the end of this reporting period. The Ministry of
                                                                                            collaborated with international organizations and NGOs on awareness
             Foreign Affairs (MFA) reportedly utilized other channels to provide
                                                                                            campaigns, which included distributing awareness materials in multiple
             protection services to an unspeciﬁed number of foreign national victims
                                                                                            languages through media and in public places, and placed awareness
             in the interim. While victims were able to receive compensation by ﬁling
                                                                                            materials in airports and border crossing checkpoints. The government
             civil suits in conjunction with the criminal cases, many victims and their
                                                                                            also continued its media outreach plan, which included press tours,
             attorneys continued to be unaware of the right to seek compensation,
                                                                                            brieﬁngs, press conferences, roundtables, and seminars to raise awareness
             and high legal fees continued to dissuade some victims from doing so.
                                                                                            of human trafficking, and as a result, local and national media published
             The government could provide Pro bono attorneys to trafficking victims,
                                                                                            or produced 573 materials. The government continued to advertise and
             although statistics on provision of legal services were unavailable for
                                                                                            fund an NGO-operated migration and trafficking hotline, in conjunction
             the reporting period, and NGOs reported these attorneys were often
                                                                                            with an international donor—which received 2,066 calls in 2021, eight of
             inexperienced.
                                                                                            which were referred to anti-trafficking police units (compared to 1,341
             The MIA allocated 1 million tenge ($2,290) to assist seven victims,            phone calls in 2020, culminating in 21 referrals). Per MIA’s request, an
             including ﬁve citizens of Kazakhstan and two citizens of Uzbekistan,           international organization organized trainings for hotline operators and
             for participating in investigations—the victims were provided with             management on assessing cases of trafficking, service provision, and a
             housing, food, and witness protection. Some victims were unwilling to          victim-centered approach.
             cooperate out of fear of reprisal or desire to avoid involvement in any
                                                                                            The MIA signed MOUs with two business associations to increase
             law enforcement activity. The Administrative Code of Kazakhstan, under
                                                                                            collaboration with civil society and the private sector to raise awareness of
             which the government imposes non-criminal punishments, protects
                                                                                            forced labor and prevent human trafficking. During the previous reporting
             foreign national victims from deportation if a criminal case is initiated.
                                                                                            period, the government formally amended the position descriptions
             The government deported undocumented migrants for violation of labor
                                                                                            of labor inspectors to include responsibility for the identiﬁcation of
             and migration legislation—it is not clear whether undocumented migrants
                                                                                            trafficking victims and subsequent notiﬁcation to law enforcement;
             were screened for trafficking indicators prior to deportation. Experts
                                                                                            the inspectors’ inspection checklist was amended during the reporting
             noted that some victims were not allowed to work in Kazakhstan during
                                                                                            period to include speciﬁc indicators for the identiﬁcation of forced labor.
             the period of criminal investigation, which could last for months or even
                                                                                            However, authorities did not report if the labor inspectors’ new mandate
             a year, and preferred to settle outside of court rather than initiating a
                                                                                            resulted in the referral of cases to law enforcement. In 2021, state labor
             case. NGOs reported foreign national victims sometimes were unable to
                                                                                            inspectors carried out 4,300 inspections, compared to 3,982 inspections
             access medical care due to a lack of health insurance and/or residence
                                                                                            in 2020 and 6,681 in 2019; however, the government did not report
             permits or ﬁnancial strain generated by loss of employment during
                                                                                            if any inspections led to the opening of criminal case investigations.
             the pandemic. Although Kazakhstan’s 2021-2023 TIP National Action
                                                                                            These violations were predominately for wage irregularities, contract
             Plan (NAP) included provisions outlining a reﬂection period in lieu of
                                                                                            violations, and labor without proper employment agreements—all of
             statutory deportation for foreign national victims, these provisions did
                                                                                            which were common labor trafficking indicators. Authorities identiﬁed
             not come into effect by the end of the reporting period. NGOs continued
                                                                                            nine cases of child labor in 2021, involving 14 children found to be working
             to report a shortage of lawyers authorized to participate in administrative
                                                                                            without employment agreements either at construction sites or in cafes.
             deportation cases.
                                                                                            Authorities reported providing trainings for labor inspectors on trafficking
             The government at times penalized foreign nationals for unauthorized           risks and prevention. The number of labor inspectors employed under
             entry after they ﬂed exploitation abroad and sought refuge in Kazakhstan,      the Ministry of Labor and Social Protection (MLSP) decreased from
             including those from the People’s Republic of China (PRC), where they          274 to 256 during the reporting period; the inspectorate remained
             could face retribution or hardship. This reportedly had the potential to       inadequate to effectively enforce labor regulations across the country.
             disincentivize some victims from accessing asylum and protection services.     In previous years, migrant workers reported using unofficial third-party
             Civil society contacts continued to report that some foreign trafficking       intermediaries to ﬁnd employment and meet Kazakhstani migration
             victims, including ethnic Kazakh survivors of Xinjiang detention camps         registration requirements; these intermediaries often circumvented the
             and Turkmen victims in southern Kazakhstan, were hesitant to report their      law and could facilitate the trafficking of foreign national victims with
             abuses to local authorities due to distrust of law enforcement, perceived      relative impunity due to their unofficial status. The government did not
             corruption, and fear of punitive deportation or other punishments. Some        make efforts to reduce the demand for commercial sex acts. The MIA
             NGOs reported a slight increase of Turkmen migrants in border regions          and the MFA reported holding online trainings on trafficking awareness,
             who could be vulnerable to forced labor. Authorities at times committed        identiﬁcation, and reporting procedures for diplomatic personnel.
             politically-motivated harassment against activists attempting to raise
             awareness and advocate for the human rights of ethnic Kazakhs in               TRAFFICKING PROFILE
             Xinjiang, who in some cases are subjected to forced labor conditions.          As reported over the past ﬁve years, human traffickers exploit domestic
             Enduring insufficiencies in victim identiﬁcation procedures placed some        and foreign victims in Kazakhstan, and traffickers exploit victims from

  322                                                                                                                                     Haiti AR_000803
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 428 of 729




                                                                                                                                                              KENYA
Kazakhstan abroad. Domestically, the relative economic prosperity in             remained on Tier 2. These efforts included investigating more trafficking
the capital Nur-Sultan, the ﬁnancial center Almaty, and the western oil          crimes, prosecuting and convicting signiﬁcantly more traffickers, and
cities of Aktau and Atyrau attracts large numbers of rural Kazakhstanis,         identifying more trafficking victims. The government provided limited
some of whom traffickers lure through fraudulent offers of employment            services to signiﬁcantly more victims through partnerships with NGOs
and then exploit in sex trafficking and forced labor in agriculture,             and reported dispersing more funds from the National Assistance Trust
construction, and other sectors. Traffickers force some children to beg          Fund for Assisting Victims of Trafficking to provide victim protection
and may also coerce adults and children into criminal behavior. The              services and support an NGO-owned shelter. The government also
most vulnerable groups at risk of trafficking include undocumented               reported increasing services for victims participating in the criminal
migrants, persons without identity documents, unemployed individuals,            justice process, such as the ability to provide written testimonies, to
individuals experiencing homelessness, and disabled persons.                     prevent re-traumatization. However, the government did not meet
Members of Kazakhstan’s LGBTQI+ communities are at risk of police                the minimum standards in several key areas. Protection services
abuse, extortion, and coercion into informant roles; LGBTQI+ individuals,        for victims, particularly adults, remained limited and inconsistent in
particularly transgender persons required to undergo invasive and                quality. The government continued to rely on civil society to provide
bureaucratic processes for gender-affirming care, are vulnerable to              most victim services, including all shelter services, and did not provide
trafficking amid widespread social stigma and discrimination that                adequate in-kind or ﬁnancial support to these efforts. Due to the
often jeopardizes their employment status or prospects in the formal             lack of screening among vulnerable populations, including foreign
sector and complicates their access to justice. Domestic violence may            migrants and individuals in commercial sex, and inadequate shelter
also drive many Kazakhstani trafficking victims to seek and accept               availability, authorities sometimes detained or deported potential
unsafe employment opportunities in which traffickers may exploit                 trafficking victims. Despite sustained concerns of official complicity
them. Kazakhstani and foreign national victims of forced labor may go            in trafficking crimes, which hindered both law enforcement efforts
unidentiﬁed in farms located in remote rural areas, such as in Karaganda.        and victim identiﬁcation, the government did not report any law
An increasing number of Turkmenistani citizens entering Kazakhstan               enforcement action against allegedly complicit officials. Government
without proper documentation are vulnerable to forced labor on farms.            efforts to protect Kenyan trafficking victims abroad, particularly migrant
Women and girls from neighboring East Asian, Central Asian, and                  workers, remained minimal, and the government did not report any
Eastern European countries, as well as from rural areas in Kazakhstan,           efforts to hold fraudulent recruitment agencies criminally accountable
are exploited in sex trafficking in Kazakhstan; in most cases, traffickers       for facilitating trafficking crimes.
target young girls and women, luring them with promises of employment,
including through social media, as waitresses, models, or nannies in large               KENYA TIER RANKING BY YEAR
cities. Traffickers increasingly exploit Central Asian citizens, in particular       1
Uzbekistani men and women and lesser numbers from Tajikistan and
                                                                                     2
Kyrgyzstan, in forced labor in domestic service, construction, bazaars,
and agriculture in Kazakhstan. Many Central Asian migrant workers that             2WL
were subjected to Russia’s 2014 re-entry ban have subsequently sought                3
temporary work and residence in Kazakhstan, where traffickers exploit                      2015      2016      2017   2018   2019    2020   2021    2022
them. Thousands of undocumented Uzbekistani migrants transit into
Kazakhstan each day via informal border crossings for seasonal labor
in construction, agriculture, retail, hospitality, and commercial sex;
these individuals are particularly vulnerable to trafficking by virtue of        PRIORITIZED RECOMMENDATIONS:
their irregular immigration status, as are their accompanying children,          Continue to increase efforts to investigate, prosecute, and convict
who often do not attend school despite their eligibility to do so. NGOs          traffickers, including complicit officials, and seek signiﬁcant prison
have reported an increase in traffickers’ use of debt-based coercion             terms for convicted traffickers. • Fully implement the national referral
in the exploitation of migrants in recent years. Traffickers capitalize          mechanism (NRM) by encouraging law enforcement officials to formally
on tough law enforcement policies to coerce migrants to remain in                refer trafficking victims for assistance and ensuring protection services
exploitative situations and leverage these policies to threaten victims          are available for all victims, including adults, foreign nationals, and
with punishment and deportation if they notify authorities, fostering            Kenyans exploited abroad. • Systematically and proactively identify
distrust in law enforcement.                                                     trafficking victims by screening vulnerable populations, such as refugees,
                                                                                 asylum-seekers, individuals in commercial sex, and all foreign national
Traffickers coerce or force Kazakhstani men and women into labor, mostly         workers, including those from the People’s Republic of China (PRC)
in Russia, but also in Bahrain, Brazil, the Republic of Korea, Turkey, and       and Cuba, for trafficking indicators and refer all trafficking victims to
the United Arab Emirates. Sex traffickers exploit Kazakhstani women              appropriate services. • Establish a shelter dedicated for trafficking
and girls in the Middle East, Europe, East Asia, and the United States.          victims to receive specialized care or increase funding or in-kind
Chinese authorities arbitrarily detain some Kazakhstani citizens visiting        resources to NGO-run shelters. • Amend the anti-trafficking law to
family in Xinjiang and subject them to forced labor; their children,             remove sentencing provisions that allow ﬁnes in lieu of imprisonment
subsequently unaccompanied, are also at elevated risk of trafficking             for sex trafficking offenses. • Continue to increase protective services
at home in Kazakhstan. Organized crime groups and small trafficking              for victims participating in the criminal justice process to prevent re-
rings with recruiters operate in conjunction with brothel operators in           traumatization. • Develop, adopt, and implement an updated national
Kazakhstan and abroad. Kazakhstani men who traveled to Syria, Iraq,              action plan (NAP) to combat trafficking. • Consistently enforce strong
and Afghanistan to ﬁght alongside or seek employment within armed                regulations and oversight of labor recruitment agencies, including
groups brought their families with them. The few Kazakhstani citizens            by eliminating recruitment fees charged to migrant workers, holding
left in these conﬂict zones, including their children, may be at risk of         fraudulent labor recruiters criminally accountable, and training
trafficking, including in refugee camps in Syria.                                inspectors to report potential violations to the appropriate officials.
                                                                                 • Expand training to all levels of the government, speciﬁcally to law
                                                                                 enforcement personnel and local authorities in rural and coastal regions,
                                                                                 on identifying, investigating, and managing trafficking cases. • Increase
 KENYA: TIER 2                                                                   data collection and data sharing among relevant agencies to synthesize
                                                                                 and analyze nationwide law enforcement and victim protection data
The Government of Kenya does not fully meet the minimum standards                related to trafficking crimes.
for the elimination of trafficking but is making signiﬁcant efforts to do
so. The government demonstrated overall increasing efforts compared              PROSECUTION
with the previous reporting period, considering the impact of the                The government increased overall anti-trafficking law enforcement
COVID-19 pandemic on its anti-trafficking capacity; therefore Kenya              efforts. The Counter-Trafficking in Persons Act of 2010 criminalized
                                                                                                                                    Haiti AR_000804           323
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 429 of 729
KENYA   sex trafficking and labor trafficking and prescribed penalties of 30           reported one case in which officials permitted a Kenyan police officer,
        years to life imprisonment, a ﬁne of not less than 30 million Kenyan           originally identiﬁed as a perpetrator in a potential trafficking case, to
        shillings (Ksh) ($265,370), or both. These penalties were sufficiently         testify as a witness against foreign national perpetrators in the case;
        stringent. However, by allowing for a ﬁne in lieu of imprisonment for          the government did not report any action taken against the allegedly
        sex trafficking, these penalties were not commensurate with those for          complicit police officer.
        other serious crimes, such as rape. Sections 14 and 15 of the Sexual
        Offenses Act of 2006 criminalized the facilitation of child sex tourism and    PROTECTION
        “child prostitution” and prescribed punishment of no less than 10 years’       The government maintained victim protection efforts. The government
        imprisonment and a ﬁne of 2 million Ksh ($17,690). The government, in          identiﬁed 482 victims of trafficking—45 adult females, 111 boys, and
        partnership with an international organization, reportedly drafted an          326 girls—compared with 383 victims identiﬁed in 2020. Of the 482
        amendment to the 2010 anti-trafficking act to remove the option of a           victims identiﬁed in the country, traffickers exploited 217 in forced labor
        ﬁne in lieu of imprisonment; however, the amendment had not been               and 265 in unspeciﬁed exploitation; 398 were Kenyan, while 84 were
        sent to Parliament at the end of the reporting period.                         foreign nationals primarily from neighboring countries and South Asia.
                                                                                       The government identiﬁed only one Kenyan victim exploited abroad,
        The government’s overall data collection and reporting on anti-trafficking
                                                                                       compared with 150 in the previous reporting period. The government
        law enforcement efforts remained weak; additionally, the government
                                                                                       continued to use its SOPs for victim identiﬁcation, and the Counter
        provided some data outside of the current reporting period without a
                                                                                       Trafficking in Persons Secretariat (CTiP Secretariat) reported partnering
        mechanism to disaggregate. In 2021, the government investigated 47
                                                                                       with immigration officers to screen for trafficking indicators among
        trafficking cases, including ﬁve child sex trafficking cases, 17 child labor
                                                                                       foreign migrants involved in migrant smuggling cases.
        trafficking cases, and 25 cases where the exploitation was unknown,
        a signiﬁcant increase compared with 18 investigations in 2020. The             The government had an NRM that outlined guidelines for victim referral
        government reported 26 trafficking investigations from previous                to services; however, the government did not fully implement the NRM,
        years remained ongoing; however, the government did not provide                and local authorities continued to bypass the NRM and directly contact
        an update on these cases. The government reported prosecuting at               NGOs to provide victim assistance. The government reported partnering
        least 115 individuals from July 2020 to June 2021, a signiﬁcant increase       with various NGOs to offer routine assistance to 350 victims (45 adults
        compared with at least 46 individuals prosecuted from July 2019 to             and 305 children), including medical care, psycho-social counseling,
        June 2020; however, some of the prosecution data provided fell outside         legal assistance, and repatriation for foreign victims, compared with
        of the current reporting period. The government reported at least              providing services to 134 victims in 2020. The government also reported
        11 prosecutions from previous reporting periods remained ongoing;              referring 85 victims (45 adults and 40 children) to shelter, compared
        however, the government did not report updates on these cases. Courts          with 112 victims referred to shelter in 2020. The government did not
        convicted 32 traffickers, 30 under the 2010 anti-trafficking law and two       operate any trafficking-speciﬁc shelters and continued to rely on NGOs
        under the 2011 immigration act, a signiﬁcant increase compared with            to provide shelter to victims. The Department of Children’s Services
        six total convictions in 2020. Courts sentenced convicted traffickers          continued to operate ﬁve centers—located in Garissa, Kisumu, Machakos,
        to varying degrees of punishment but did not provide sentencing                Nairobi, and Thika—used to house potential child trafficking victims;
        data for all convictions; in one sex trafficking case, courts sentenced        the government reported providing temporary shelter to 47 potential
        a trafficker to 30 years’ imprisonment, while in another sex trafficking       victims. Protection services for adult victims remained scarce, and NGOs
        case, a judge issued a ruling of a ﬁne of 3.5 million Ksh ($30,960) to         reported that the government’s overall victim assistance remained
        be deposited in National Assistance Trust Fund for Assisting Victims of        limited and inconsistent in quality. In response to the ongoing pandemic,
        Trafficking in lieu of the initial sentence of three years’ imprisonment,      some NGO shelters and government-run centers acted as quarantine
        citing pandemic-related health concerns in prisons. Courts acquitted           or testing centers or had limited capacity due to social distancing
        six suspected traffickers during the reporting period for unspeciﬁed           measures; the government reported this decreased its ability to refer
        reasons. While anti-trafficking speciﬁc law enforcement units continued        all victims to care. The government also reported pandemic-related
        to operate throughout the pandemic, the government reported that               measures, such as travel restrictions, mandatory quarantine and testing,
        pandemic-related restrictions, such as office closures, national curfews,      social distancing, work-from-home orders, and curfews, continued
        and social distancing requirements, created operational challenges to          to hamper the ability of the government to provide in-person care.
        law enforcement actions.                                                       However, NGOs sustained concerns over long-standing protection gaps
                                                                                       further exacerbated by the pandemic, inhibiting the government from
        In 2021, NGOs and international organizations provided regular trainings
                                                                                       providing appropriate care to victims. Despite reliance on civil society
        to several hundred prosecutorial and judicial officials, border guards,
                                                                                       organizations to provide victim services, the government provision of
        police officers, and immigration agents on how to detect and respond
                                                                                       ﬁnancial or in-kind support to such organizations remained minimal.
        to trafficking crimes in their respective capacities; the government
                                                                                       Officials reported overall funding to combat trafficking remained
        provided varying degrees of logistical support for these trainings.
                                                                                       inadequate, noting that government officials sometimes used their
        The government, in partnership with an international organization,
                                                                                       personal funds to provide support to victims. During the 2021-2022
        developed standard operating procedures (SOPs) on investigations
                                                                                       ﬁscal year, the National Treasury allocated 20 million Ksh ($176,910) to
        and prosecutions involving Kenyans exploited in forced labor in Gulf
                                                                                       the National Assistance Trust Fund for Assisting Victims of Trafficking,
        states; the government also developed a reference guide for prosecutors
                                                                                       the same amount as the previous ﬁscal year. The government reported
        to use when prosecuting cases under the 2010 anti-trafficking act. In
                                                                                       dispersing more than 10.3 million Ksh ($91,110) from the fund to repatriate
        December 2021, the government cooperated with the Government of
                                                                                       foreign victims identiﬁed in Kenya and to purchase supplies for one
        the Netherlands and INTERPOL to arrest and extradite an Eritrean-
                                                                                       NGO-run shelter; this was a signiﬁcant increase compared with 1.8
        Dutch alleged trafficker.
                                                                                       million Ksh ($15,920) dispersed from the fund in the previous reporting
        The government did not report any investigations, prosecutions, or             period. The CTiP Secretariat began drafting new guidelines for the
        convictions of government employees complicit in human trafficking             disbursement of these funds to enhance its use.
        offenses; however, corruption and official complicity in trafficking
                                                                                       To address the exploitation of Kenyan nationals abroad, the Ministry
        crimes remained signiﬁcant concerns, inhibiting law enforcement
                                                                                       of Labor and Social Protection’s National Employment Authority
        action during the year. Police officers continued to accept bribes to
                                                                                       (NEA) continued to employ labor attachés in Kenyan diplomatic
        warn traffickers of impending operations and investigations, particularly
                                                                                       missions in Qatar, United Arab Emirates (UAE), and Saudi Arabia.
        along the coast, and officials reported perpetrators sometimes escaped
                                                                                       Reportedly, the attachés advocated for Kenyan workers’ rights with
        conviction by bribing magistrates and court officials or intimidating
                                                                                       host governments, screened workers for trafficking indicators, resolved
        or paying witnesses to make false statements. Observers alleged
                                                                                       workplace disputes, provided identity documents, and partnered with
        that criminal syndicates colluded with various law enforcement and
                                                                                       licensed employment agencies to ﬁnd legitimate work opportunities for
        immigration departments to transport trafficking victims within Kenya.
                                                                                       Kenyans; the government did not report speciﬁc actions taken by the
        Traffickers continued to easily obtain fraudulent identity documents
                                                                                       attachés during the reporting period. The NEA added a feature on its
        from complicit officials, particularly at border checkpoints. Civil society
 324                                                                                                                                Haiti AR_000805
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 430 of 729




                                                                                                                                                             KENYA
website for overseas workers to report exploitation, including potential       not have sufficient staffing or funding, hindering progress on new anti-
trafficking crimes, and request assistance. In 2020, media reported that       trafficking efforts and publication of required reporting on government
numerous Kenyan women employed as domestic workers in Lebanon                  efforts. The National Coordination Mechanism on Migration (NCM),
may have been victims of trafficking; the Ministry of Foreign Affairs          chaired by the Department of Immigration, maintained responsibility
reportedly sent a fact-ﬁnding mission to investigate the allegations,          for managing national coordination on migration issues, including
but the government did not report any ﬁndings or speciﬁc actions               addressing allegations of forced labor of Kenyans abroad. While the
taken for the second consecutive year.                                         CTiP Secretariat and NCM regularly coordinated, some stakeholders
                                                                               reported the two groups had overlapping mandates, which created
The government maintained its Witness Protection Agency (WPA)
                                                                               confusion and discrepancies on which mechanisms were most effective.
that offered protection to victims participating in investigations and
                                                                               Officials continued to operate under the 2013-2017 NAP, although it
prosecutions; however, officials reported WPA remained without
                                                                               formally expired in 2018. The government did not operationalize its
sufficient staffing or funding to provide adequate assistance to victims.
                                                                               draft 2019-2022 NAP for the third consecutive year. The government
Some courtrooms had facilities or equipment that allowed victims to
                                                                               continued to implement the National Plan of Action Against Sexual
provide testimony via video, one-way glass, or written statements;
                                                                               Exploitation of Children 2018-2022, which included efforts to prevent
however, these services were not available in all courtrooms. Foreign
                                                                               child sex trafficking, by conducting awareness campaigns targeting
national victims had the ability to leave the country, seek employment,
                                                                               hotel operators in tourist destinations. In partnership with civil society,
and move freely within the country pending trial proceedings. The
                                                                               the government held awareness campaigns targeting populations
government provided these options to victims during the reporting
                                                                               vulnerable to trafficking at border crossings and in coastal areas.
period; in one case involving Nepali victims, courts allowed the
                                                                               The government, in partnership with an NGO, continued to operate a
victims to provide written testimony and return to their home country
                                                                               24-hour hotline to report child abuse and exploitation, including child
prior to the end of the trial to avoid re-traumatization. Even though
                                                                               trafficking. In 2021, the government reported identifying at least 12
victims’ beneﬁts were not linked to law enforcement participation or
                                                                               cases of suspected child trafficking through the hotline, compared
whether the trafficker was convicted, officials noted the lack of long-
                                                                               with 16 cases identiﬁed in 2020.
term victim services was a barrier to participation in court cases, and
due to frequent repatriation or deportation, victims often could not           The NEA continued to regulate labor migration and other labor-
serve as witnesses. The law allowed officials to grant permission for          related matters, including labor trafficking; however, officials noted
foreign national trafficking victims to remain indeﬁnitely in Kenya if         a lack of leadership, uneven regulation enforcement, and corruption
they would face hardship or retribution upon repatriation; however,            hindered NEA operations. The NEA had a total of 504 registered
senior officials and NGOs previously reported that authorities often           private employment agencies, compared with 320 registered agencies
quickly returned trafficking victims to their countries of origin due          at the end of the previous reporting period. Although the government
to the limited availability of shelters and other services. Under the          made efforts to vet recruitment agencies, NEA officials reported
Employment Act and the 2010 anti-trafficking law, trafficking victims          more unregistered agencies remained in operation than registered
could ﬁle civil suits against traffickers for damages; however, the            agencies. The NEA continued to require recruitment agencies to pay
government did not report any civil suits ﬁled in 2021. NGOs reported          into a security fund intended to cover airfare for Kenyan migrant
the government sometimes placed victims in refugee camps, where                workers, including potential trafficking victims, in need of repatriation
their freedom of movement was restricted.                                      due to exploitative situations. NGOs reported the use of the security
                                                                               fund was minimal and migrant workers regularly sought other means
Authorities reportedly penalized victims for unlawful acts traffickers
                                                                               of assistance due to the government’s lengthy process to address
compelled them to commit. NGOs across Kenya continued to report
                                                                               complaints. Government regulations continued to allow recruiting
officials sometimes charged potential trafficking victims within
                                                                               agencies to charge migrant workers a recruitment fee of up to one
vulnerable groups, particularly adults in commercial sex, with
                                                                               month’s salary. As in previous years, NEA utilized an e-platform for
commercial sex crimes or labor violations. Authorities reportedly
                                                                               recruitment and placement of Kenyans migrating to Saudi Arabia to
punished foreign national trafficking victims for violating immigration
                                                                               promote a safe migration process; however, observers continued to
laws, often detaining or deporting them without screening for
                                                                               report that Kenyan officials negotiated a pay rate lower than the Saudi
trafficking indicators. NGOs reported witnesses appeared to have
                                                                               Arabian minimum wage, making Kenyan migrant workers vulnerable
been intimidated, disappeared, or did not appear in court for fear of
                                                                               to trafficking. The government required migrant workers to attend a
re-victimization. Officials and NGOs reported the government often
                                                                               pre-departure training course that included information on human
placed adult trafficking victims in prisons or detention centers due to
                                                                               trafficking and migrant rights; it also included speciﬁc homecare
the lack of shelters available for adult victims; authorities sometimes
                                                                               management training for domestic workers. NGOs reported recruitment
placed child victims in centers for juvenile offenders until officials found
                                                                               agencies bribed labor officials to bypass required procedures, including
a shelter or safe house with space available. In 2020, an independent
                                                                               allowing recruitment agents to sign the contract on the worker’s behalf
institution reported that authorities detained more than a third of
                                                                               when the worker did not appear in person. The government did not
migrants for being in the country without proper documentation;
                                                                               provide anti-trafficking training to its diplomatic personnel or make
under this approach, officials sometimes detained potential trafficking
                                                                               efforts to reduce the demand for commercial sex acts.
victims without proper screening or provision of assistance. The same
report alleged the government regularly held potential victims awaiting
repatriation in detention.
                                                                               TRAFFICKING PROFILE
                                                                               As reported over the past ﬁve years, human traffickers exploit domestic
                                                                               and foreign victims in Kenya, and traffickers exploit victims from
PREVENTION
                                                                               Kenya abroad. Traffickers exploit children in forced labor in domestic
The government maintained efforts to prevent trafficking. The CTiP
                                                                               service, agriculture, ﬁshing, cattle herding, street vending, and forced
Secretariat, the operational arm of the Counter Trafficking in Persons
                                                                               begging. Traffickers exploit women and children in sex trafficking,
Advisory Committee, continued to spearhead government efforts to
                                                                               often facilitated by family members in informal settings, throughout
combat trafficking. In October 2021, oversight of the CTiP Secretariat
                                                                               Kenya, including in sex tourism in Nairobi, Mombasa, and Kisumu.
shifted from the Ministry of Labor and Social Protection to the Ministry
                                                                               In 2020, an international NGO reported there are between 35,000
of Public Service, Gender, Senior Citizen Affairs, and Special Programs.
                                                                               and 40,000 victims of sex trafficking, including child sex tourism, in
Despite the change in oversight, observers reported the CTiP Secretariat
                                                                               Kenya, of which approximately 19,000 are children; most perpetrators
was still staffed by children’s officers, which may have limited its focus
                                                                               are Kenyan and, to a lesser extent, foreign tourists. Government
to address trafficking of adults. The CTiP Secretariat reportedly had
                                                                               officials and NGOs report traffickers increasingly exploit children
dedicated funding in the national budget, but the government did not
                                                                               in sex trafficking in private villas and vacation homes to avoid law
provide the total amount of anti-trafficking funding allocated for the
                                                                               enforcement detection in hotels. Workers in Khat cultivation areas and
second consecutive year. Civil society and other stakeholders reported
                                                                               near gold mines in western Kenya, truck drivers along major highways,
the CTiP Secretariat continued to engage them more regularly than
                                                                               and ﬁshermen on Lake Victoria also exploit children in sex trafficking.
in prior years; however, observers noted that the CTiP Secretariat did
                                                                                                                                Haiti AR_000806              325
                                             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 431 of 729
KOREA, DEMOCRATIC PEOPLE’S REPUBLIC OF   During the pandemic, traffickers increasingly exploited children in sex       state-sponsored forced labor to fund government functions, as well
                                         trafficking, including using online recruitment tactics, and in forced        as other illicit activity.
                                         labor in domestic work and forced begging. Employment agencies,
                                         both legal and fraudulent, recruit Kenyans to work in the Middle East
                                                                                                                               DEMOCRATIC PEOPLE'S REPUBLIC OF KOREA TIER RANKING BY YEAR
                                         (particularly Saudi Arabia, Lebanon, Kuwait, Qatar, UAE, Bahrain, Iran,
                                                                                                                           1
                                         Iraq, and Oman), Central and Southeast Asia, Europe, Northern Africa,
                                         and North America, where traffickers exploit them in massage parlors,             2
                                         brothels, domestic servitude, or manual labor; Kenyans who voluntarily          2WL
                                         migrate in search of employment opportunities are also vulnerable
                                                                                                                           3
                                         to exploitative conditions. Observers report foreign employers often                     2015     2016      2017     2018      2019     2020       2021   2022
                                         hold migrant workers’ salaries until the completion of their contract
                                         period to coerce them to stay longer, and in some cases, employers
                                         sell migrant workers to another employer without a legal change in
                                         the employment contract, increasing their vulnerability to trafficking.       PRIORITIZED RECOMMENDATIONS:
                                         Criminals involved in terrorist networks lure and recruit Kenyan adults       End the use of state-sponsored forced labor, including among DPRK
                                         and children to join non-state armed groups, primarily al-Shabaab, in         workers abroad, in prison camps, and through mass mobilizations of
                                         Somalia, sometimes with fraudulent promises of lucrative employment.          adults and children. • End the practice of summary executions and
                                         Kenya hosts more than 500,000 refugees and asylum-seekers, primarily          other harsh punishments, including forced labor, for victims who are
                                         located in Kakuma Refugee Camp, Kalobeyei Integrated Settlement,              forcibly returned from other countries. • Eliminate coercion tactics
                                         and Dadaab Refugee Complex. Refugees are generally required to                used to monitor and limit the movements and communications of
                                         live within the camps with restricted movement and limited access to          workers overseas. • Cease the garnishing of wages of overseas workers
                                         education and livelihood opportunities, increasing their vulnerability        for the purposes of furthering forced labor. • Provide assistance to
                                         to labor and sex trafficking; children and LGBTQI+ persons in refugee         victims exploited in the DPRK and to victims returned from abroad.
                                         camps are especially vulnerable. Nairobi-based labor recruiters               • Criminalize sex trafficking and labor trafficking. • Investigate and
                                         maintain networks in Uganda and Ethiopia that recruit Burundian,              prosecute trafficking cases and convict traffickers in accordance with
                                         Ethiopian, Rwandan, and Ugandan workers through fraudulent offers             the rule of law. • Increase transparency by allowing international human
                                         of employment in the Middle East and Asia. Kenya continues to serve           rights monitors to evaluate living and working conditions of workers,
                                         as a transit point for migrants seeking work in South Africa, leaving         both domestically and abroad. • Forge partnerships with international
                                         these populations vulnerable to exploitation; traffickers exploit transient   organizations and NGOs to combat human trafficking. • Allow all North
                                         Ethiopians in forced labor and Burundian and Rwandan women in                 Koreans to choose their form of work and leave their employment at
                                         domestic servitude. Ugandan and Nigerian traffickers exploit Kenyan           will. • Accede to the 2000 UN TIP Protocol.
                                         women in sex trafficking in Thailand. Authorities reported business
                                         owners and employers exploit Ugandan girls, particularly from the             PROSECUTION
                                         Karamojong region, in sex trafficking and forced labor in Nairobi’s           The government did not report any law enforcement efforts. It is unclear
                                         Eastleigh neighborhood. NGOs reported that during the pandemic,               whether DPRK laws criminalized sex trafficking or labor trafficking. Fair
                                         employers forcibly removed foreign national domestic workers from             trials did not occur in the DPRK, and the government did not explain
                                         their homes, leaving them trapped in the country due to pandemic-             what provisions of law, if any, it used to prosecute trafficking crimes,
                                         related travel restrictions and border closures; unable to ﬁnd new            if it did so. The government did not provide law enforcement data;
                                         work due to economic scarcity or a safe way home; these individuals           there were no known investigations, prosecutions, or convictions of
                                         are increasingly vulnerable to trafficking. Recruiters use debt-based         traffickers, including government employees complicit in forced labor
                                         coercion to force South Asian women, primarily from Nepal, India, and         or other trafficking crimes.
                                         Pakistan, to work in mujra dance clubs in Nairobi and Mombasa, where
                                         traffickers force them to pay off debts by engaging in commercial             PROTECTION
                                         sex. Traffickers exploit Somali women and girls in sex trafficking in         The government did not report any protection efforts. Government
                                         brothels in Nairobi and Mombasa. Increasingly, traffickers bring children     authorities did not report identifying any victims or providing protective
                                         and individuals with physical disabilities from Tanzania and other            services, nor did they permit NGOs to provide these services. Authorities
                                         neighboring countries to exploit them in forced begging; traffickers          penalized victims for unlawful acts traffickers compelled them to
                                         often coerce foreign victims to serve as facilitators to further such         commit. Authorities treated returning victims as criminals for crossing
                                         trafficking schemes. Cuban medical professionals working in Kenya             the border. The government sent North Koreans, including potential
                                         may have been forced to work by the Cuban government. PRC nationals           trafficking victims, forcibly returned by People’s Republic of China
                                         employed in Kenya at worksites affiliated with the PRC’s Belt and Road        (PRC) authorities to detention and interrogation centers, where the
                                         Initiative were vulnerable to forced labor, particularly in construction.     government subjected them to forced labor, torture, forced abortions,
                                                                                                                       and sexual abuse by prison guards; in some cases, authorities allegedly
                                                                                                                       sent them on to prison camps. DPRK defectors previously reported
                                                                                                                       instances of the government executing trafficking victims forcibly
                                          KOREA, DEMOCRATIC                                                            returned from the PRC.

                                          PEOPLE’S REPUBLIC OF: TIER 3                                                 PREVENTION
                                                                                                                       The government did not report any efforts to prevent trafficking.
                                         The Government of the Democratic People’s Republic of Korea (DPRK)            Government oppression in the DPRK prompted North Koreans to ﬂee
                                         does not fully meet the minimum standards for the elimination of              the country in ways that heightened their risk of trafficking in destination
                                         trafficking and, even considering the impact of the COVID-19 pandemic,        countries. The government made no efforts to raise awareness of
                                         if any, on its anti-trafficking capacity, is not making signiﬁcant efforts    human trafficking. The government did not make efforts to reduce
                                         to do so; therefore the DPRK remained on Tier 3. The government did           the demand for commercial sex acts, nor did it provide anti-trafficking
                                         not demonstrate any efforts to address human trafficking. During the          training to its diplomatic personnel. The DPRK is not a party to the
                                         reporting period, there was a government policy or pattern of human           2000 UN TIP Protocol.
                                         trafficking in prison camps as part of an established system of political
                                         repression, in labor training centers, in the mass mobilizations of adults    TRAFFICKING PROFILE
                                         and children, and through its imposition of forced labor conditions           As reported over the past ﬁve years, human traffickers—including
                                         on DPRK overseas workers. The government used proceeds from                   government officials—exploit North Koreans in the DPRK and abroad.
                                                                                                                       Within the DPRK, women and children are exploited in sex trafficking.

       326                                                                                                                                                                Haiti AR_000807
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 432 of 729




                                                                                                                                                             KOREA, DEMOCRATIC PEOPLE’S REPUBLIC OF
Female college students unable to pay fees charged to them by                   compensation from the government for labor conducted by children, and
universities to meet demands set by the government were vulnerable              officials occasionally sent schoolchildren to work in factories or ﬁelds
to sex trafficking. Forced labor is part of an established system of            for short periods to complete special projects such as snow removal on
political repression and a pillar of the economic system in the DPRK.           major roads or meeting production goals. Schools also require students
The government subjects its nationals to forced labor in DPRK prison            younger than the minimum working age to work to raise funds for faculty
and labor camps, through mass mobilizations, and in overseas work.              salaries and maintenance costs for school facilities. In addition, school
The law criminalizes defection, and individuals, including children, who        principals and teachers exploit students for personal gain by forcing
cross the border for the purpose of defecting or seeking asylum in a            them to work on farms or construction sites. The government mobilizes
third country are subject to a minimum of ﬁve years of “reform through          children, including orphans, those who are unable to join the military,
labor.” In “serious” cases, the government subjects asylum-seekers              or those whose families are unable to bribe authorities, to participate
to indeﬁnite terms of imprisonment and forced labor, conﬁscation of             in military-style shock brigades. They are forced to work for extended
property, or death.                                                             periods without pay and subjected to long working hours and hazardous
                                                                                work in construction, coal mines, farms, and factories. Authorities also
The DPRK holds an estimated 80,000 to 120,000 persons in political
                                                                                sometimes subject children to mass mobilizations in agriculture away
prison camps and an undetermined number of persons in other forms
                                                                                from their families, with excessive daily working hours, sometimes for
of detention facilities, including “re-education through labor” camps.
                                                                                periods of a month at a time.
In many cases, these prisoners have not been charged with a crime or
prosecuted, convicted, and sentenced in a fair judicial hearing. In prison      DPRK workers sent by the government to work abroad, including through
camps, all prisoners, including children, are subject to forced labor,          bilateral agreements with foreign businesses or governments, also face
including in logging, mining, manufacturing, or farming for long hours          conditions of forced labor. Credible reports show many North Koreans
under harsh conditions. In many cases, the government also detains              working overseas are subjected to working excessive hours, sometimes
all family members if one member is accused or arrested. Authorities            in hazardous conditions, with restricted pay for up to three years at a
subject children to forced labor for up to 12 hours per day, do not             time. They reportedly work on average between 12 and 16 hours a day,
allow them to leave the camps, and offer limited access to education.           and sometimes up to 20 hours per day, and are allowed only one or
The government subjects prisoners to unhygienic living conditions,              two rest days per month. North Koreans work in a range of industries
beatings, torture, rape, a lack of medical care, and insufficient food.         overseas, including but not limited to apparel, construction, footwear
Many prisoners do not survive. Reporting indicates the government               manufacturing, hospitality, information technology services, logging,
utilized the COVID-19 pandemic to increase the number of political              medical, pharmaceuticals, restaurant, seafood processing, textiles, and
prisoners, thereby expanding its existing capacity to subject North             shipbuilding. NGOs report the government manages these workers as
Koreans to forced labor. Authorities allegedly treat individuals who            a matter of state policy and that they were under constant and close
do not wear face masks or who are found to violate quarantine rules             surveillance by government security agents. Workers often reside
as criminals guilty of political crimes and send them to political prison       in shared dormitories and have very limited freedom of movement.
camps where they are subjected to a minimum of three months’ forced             These workers face threats of government reprisals against them or
labor. In 2020, the government reportedly created new, and expanded             their relatives in the DPRK if they attempt to escape or complain to
existing, political prison camps to accommodate the resulting increased         outside parties. In light of border closures related to the pandemic which
prison populations. In addition, following the enactment in December            prevent workers from returning home and require they remain abroad for
2020 of a “Law on Rejecting Reactionary Ideology and Culture,” the              extended periods, the government ordered harsher and strengthened
government subjects children and adults to sentences that include forced        control and surveillance over workers to prevent defections, including
labor in re-education through labor camps for consuming or distributing         through threats of physical injury. Workers’ salaries are appropriated
media from South Korea, the United States, or Japan. For example, in            and often deposited into accounts controlled by the DPRK government,
November 2021, authorities sentenced six high school students to ﬁve            which justiﬁes its retention of most of the money by claiming various
years’ hard labor for watching a South Korean drama series.                     “voluntary” contributions to government endeavors. Workers receive
                                                                                only a fraction of the money paid to the DPRK government for their work
The DPRK government also operates regional, local, and sub-district
                                                                                and face punishment if they fail to meet production or work targets. The
level labor camps and forces detainees to work for short periods doing
                                                                                government withholds up to 90 percent of wages from overseas workers,
hard labor while receiving little food and being subjected to abuse,
                                                                                who generate an annual revenue to the DPRK government of hundreds
including regular beatings. Authorities reportedly send people to these
                                                                                of millions of dollars. Wages of some DPRK workers employed abroad
camps if they are suspected of engaging in simple trading schemes or
                                                                                reportedly are withheld until the workers return home, increasing their
are unemployed; North Koreans who were not officially registered as
                                                                                vulnerability to coercion and exploitation by authorities. Some female
being employed for longer than 15 days were at risk of being sent to
                                                                                North Koreans in the PRC working in restaurants or coffee shops are
labor camps for a minimum of six months.
                                                                                forced by their minders to engage in commercial sex acts with PRC
Officials forcibly mobilize adults and school children to work in various       national customers.
sectors, including in factories, agriculture, logging, mining, infrastructure
                                                                                In 2017, UN Security Council resolutions prohibited UN Member States
work, information technology, and construction. The government
                                                                                from issuing new or renewed work authorizations to DPRK overseas
reportedly withholds food rations or imposes taxes against adults
                                                                                workers and required States to repatriate DPRK nationals earning income
who do not participate in these forms of forced labor. There were
                                                                                overseas by December 22, 2019, subject to limited exceptions. The vast
reports that in 2020 government officials required all women in the
                                                                                majority of North Koreans employed outside the country continue to be
area of Hyesan to work daily on construction and other projects; those
                                                                                in Russia and the PRC. There are an estimated 20,000-100,000 North
physically unable to work had to pay a ﬁne, and security forces arrested
                                                                                Koreans working in the PRC, primarily in restaurants and factories. The
evaders. In 2021, the government forced nearly 14,000 married women
                                                                                Government of Russia allowed many North Korean workers to continue
from across the country to perform farm work in the South Hwanghae
                                                                                to enter Russia via fraudulent channels to work informally, for example
province to increase food production following a bad harvest and the
                                                                                by issuing tourist or student visas. In 2021, workers were also reportedly
2020 trade suspension with the PRC, which cut off food imports. In
                                                                                in Georgia (in Abkhazia, a Russia-occupied region), Algeria, Benin,
October 2021, an international organization also reported that the
                                                                                Cameroon, Equatorial Guinea, Guinea, Indonesia, Iran, Laos, Mozambique,
government mobilized urban residents, discharged military personnel,
                                                                                Republic of the Congo, South Sudan, Syria, and Tanzania. While some
and orphans to work on farms. The law requires all citizens of working
                                                                                removed most or all of these workers during the year, reports suggested
age to work and “strictly observe labor discipline and working hours.”
                                                                                that some places either took no action or issued work authorizations or
There are numerous reports that some farms and factories do not pay
                                                                                other documentation, allowing these individuals to work.
wages or provide food to their workers. During the implementation
of short-term economic plans, factories and farms increase workers’             North Koreans seeking to leave the DPRK due to the government’s
hours and ask workers for contributions of grain and money to purchase          egregious human rights violations are vulnerable to sex and labor
supplies for renovations and repairs. By law, failure to meet economic          trafficking in the PRC. Many of the DPRK refugees and asylum-seekers
plan goals may result in two years of “labor correction.” Schools receive       living irregularly in the PRC are particularly vulnerable to traffickers
                                                                                                                                Haiti AR_000808              327
                         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 433 of 729
KOREA, REPUBLIC OF   who lure, drug, detain, or kidnap some DPRK women upon their arrival.          coordination between police and immigration in cases involving foreign
                     Traffickers also operate networks spanning from the PRC into the DPRK to       victims. • Sentence traffickers to adequate penalties, which should
                     recruit women and girls to smuggle into the PRC. For example, in border        include signiﬁcant imprisonment. • Provide trauma-informed training
                     towns traffickers approach women with false promises of proﬁtable              to law enforcement to ensure they use victim-centered approaches in
                     employment that would enable them to pay broker fees associated with           investigations and victim protection. • Establish and implement formal
                     being smuggled to the PRC. These women are subjected to physical               procedures for police, immigration, labor, and social welfare officials
                     abuse and sexual exploitation by their traffickers, forced into commercial     to refer both sex and labor trafficking victims to support services. •
                     sex in brothels or through internet sex sites, or compelled to work as         Increase efforts to train law enforcement officers, prosecutors, judicial
                     hostesses in nightclubs or karaoke bars. Traffickers also sell DPRK women      officials, and social service providers to better understand trafficking
                     to PRC national men for forced marriages, whereby they are subsequently        as deﬁned by international law. • Take steps to increase and enforce
                     forced into commercial sex, domestic service, agricultural, or other types     protections for migrant ﬁshermen, including by enforcing prohibitions
                     of work. These victims often lack identiﬁcation documents and bear             against document conﬁscation, and develop a more consistent and
                     children with PRC national men, which further hinders their ability to         effective system for inspecting the labor conditions of ﬁshing vessels. •
                     escape. As many as 30,000 children born in the PRC to DPRK women               Improve the quality of specialized services provided to trafficking victims,
                     and PRC national men have not been registered upon birth, rendering            especially male, child, foreign, and disabled victims. • Establish a system
                     them stateless and vulnerable to possible exploitation. If found by PRC        to collect trafficking law enforcement and victim protection data that
                     authorities, trafficking victims are often forcibly returned to the DPRK,      distinguishes trafficking from other crimes such as commercial sex. •
                     where they are subject to harsh punishment, including forced labor in          Increase interagency coordination on efforts to combat both sex and
                     labor camps, torture, forced abortions, or death.                              labor trafficking. • Take steps to eliminate recruitment and/or placement
                                                                                                    fees charged to workers by labor recruiters in the ROK and workers’
                                                                                                    home countries and ensure any recruitment fees are paid by employers.

                      KOREA, REPUBLIC OF: TIER 2                                                    PROSECUTION
                                                                                                    The government maintained its anti-trafficking law enforcement efforts;
                     The Government of the Republic of Korea (ROK) does not fully meet              however, it did not increase prosecutions nor adequately penalize most
                                                                                                    traffickers. Various articles under Chapter 31 of the Criminal Act, when
                     the minimum standards for the elimination of trafficking but is making
                                                                                                    read together, criminalized sex trafficking and labor trafficking and
                     signiﬁcant efforts to do so. These efforts included creating a new
                                                                                                    prescribed penalties of up to 15 years’ imprisonment for trafficking
                     training course for prosecutors, training seafarers’ labor inspectors on
                                                                                                    crimes, which were sufficiently stringent and, with respect to sex
                     trafficking, and initiating the process to draft new victim identiﬁcation
                                                                                                    trafficking, commensurate with penalties prescribed for other serious
                     guidelines and a national anti-trafficking action plan. However, these
                                                                                                    crimes, such as rape. Inconsistent with the deﬁnition of trafficking
                     efforts were not serious and sustained compared with the efforts
                                                                                                    under international law, Article 289 (“trafficking in persons”) limited
                     during the previous reporting period, even considering the impact of
                                                                                                    the deﬁnition of trafficking to require the buying or selling of another
                     the COVID-19 pandemic, if any, on the government’s anti-trafficking
                                                                                                    for exploitation and did not include a demonstration of force, fraud, or
                     capacity. The government initiated fewer prosecutions than in 2020,            coercion as an essential element of the crime. However, Articles 288
                     did not take steps to address longstanding concerns that government            (“kidnapping, abduction, etc. for the purpose of indecent acts, etc.”)
                     officials penalized foreign sex trafficking victims for unlawful acts          and 292 (“receiving, harboring, etc. of person kidnapped, abducted,
                     traffickers compelled them to commit, and sometimes deported victims           trafficked or transported”) could apply to trafficking offenses not covered
                     without providing them adequate services or investigating traffickers.         under Article 289. Similarly, Article 12 of the Act on the Protection
                     Despite reports of the prevalence of labor trafficking among migrant           of Children and Juveniles Against Sexual Abuse incorrectly deﬁned
                     workers in Korea, especially in Korea’s ﬁshing ﬂeet, the government did        child sex trafficking to require transnational movement of the victim.
                     not report identifying any foreign forced labor victims. Officials did not     However, various other articles under the law could be applied to
                     consistently utilize victim identiﬁcation guidelines, and courts sentenced     child sex trafficking offenses that did not involve such movement. The
                     the majority of criminals convicted for trafficking-related crimes to less     absence of a criminal offense that deﬁned trafficking consistent with
                     than one year’s imprisonment, ﬁnes, or suspended sentences. Therefore          international law resulted in varying understanding of the crime among
                     South Korea was downgraded to Tier 2.                                          law enforcement and prosecutors and may have led officials to conﬂate
                                                                                                    trafficking with related crimes such as commercial sex, kidnapping,
                                                                                                    domestic violence, and other forms of sexual abuse. The Prevention of
                             REPUBLIC OF KOREA TIER RANKING BY YEAR
                                                                                                    Trafficking in Persons, Etc. and Victim Protection Act, promulgated in
                         1
                                                                                                    April 2021 and which will come into effect in January 2023, included
                         2                                                                          a deﬁnition of “trafficking in persons, etc…” that aligned more closely
                       2WL                                                                          with the international deﬁnition of trafficking, but it did not include
                         3
                                                                                                    penalty provisions. The government stated penalty provisions were
                                2015     2016      2017     2018      2019   2020   2021   2022     unnecessary because officials could prosecute traffickers under various
                                                                                                    statutes in the existing legal framework and a new criminal statute could
                                                                                                    harm existing efforts to prosecute traffickers. Numerous NGOs and
                                                                                                    anti-trafficking experts said the government had not effectively used
                     PRIORITIZED RECOMMENDATIONS:                                                   the existing legal framework in recent years to prosecute traffickers
                     Ensure police, immigration, labor, and social welfare officials consistently   and many traffickers often go unpunished and were skeptical this new
                     use victim identiﬁcation guidelines to increase identiﬁcation of victims       law will result in increased trafficking prosecutions and convictions.
                     of labor and sex trafficking. • Proactively screen for victims among
                                                                                                    While the government maintained general statistics on victims and
                     vulnerable populations, including individuals in commercial sex,
                                                                                                    offenders across all subsections of the criminal code, it did not adequately
                     ﬁshermen, and migrant workers. • Ensure implementation of the 2021
                                                                                                    distinguish trafficking cases from related crimes, such as commercial
                     anti-trafficking legislation continues to (effectively) criminalize all
                                                                                                    sex. This made it difficult to determine which law enforcement actions
                     forms of trafficking in persons, in line with the deﬁnition of trafficking
                                                                                                    reported by the government involved human trafficking as deﬁned
                     under the 2000 UN TIP Protocol, and prescribes penalties that are
                                                                                                    by international law. The government reported investigating at least
                     sufficiently stringent and, with respect to sex trafficking, commensurate
                                                                                                    64 potential cases of trafficking in 2021; it did not report the number
                     with penalties prescribed for other grave crimes. • Increase efforts to
                                                                                                    of cases investigated in 2020. The government initiated prosecutions
                     investigate, prosecute, and convict traffickers, particularly for labor
                                                                                                    of 297 suspects (332 in 2020) and convicted 226 offenders (229 in
                     trafficking, including for those who use forced labor on South Korean-
                                                                                                    2020) for crimes related to trafficking, including 258 prosecutions
                     ﬂagged ﬁshing vessels. • Cease the penalization of victims for unlawful
                                                                                                    and 212 convictions of traffickers who purchased commercial sex acts
                     acts traffickers compelled them to commit, including by improving

   328                                                                                                                                           Haiti AR_000809
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 434 of 729




                                                                                                                                                               KOREA, REPUBLIC OF
from children. The government reported sentencing 28 traffickers to at         assistance to 3,964 victims in 2021. MOEL reported identifying 10
least one year’s imprisonment (28 in 2020). Courts sentenced the vast          labor trafficking victims (including one female and nine male victims,
majority of those convicted for trafficking-related crimes to less than one    and nine adults and one child), compared to 11 labor trafficking victims
year’s imprisonment, suspended terms of imprisonment, or ﬁnes. This            identiﬁed in 2020. Despite ongoing concerns that traffickers exploited
weakened deterrence, undercut the government’s overall anti-trafficking        migrant workers in forced labor in various industries, the government
efforts, and likely created security and safety concerns, particularly         did not identify any migrant workers exploited in labor trafficking (six
for victims who cooperated with investigations and prosecutions.               in the previous reporting period) and it did not report identifying any
Observers reported the government’s failure to sentence the majority           migrant ﬁshermen exploited in labor trafficking.
of traffickers to signiﬁcant terms of imprisonment resulted in impunity
                                                                               The government continued to distribute victim identiﬁcation guidelines
for traffickers and some instances of previously convicted offenders
                                                                               created by the National Human Rights Commission of Korea (NHRCK) to
resuming trafficking activities.
                                                                               police, prosecutors, and coast guard officials; however, the government
The Ministry of Employment and Labor (MOEL) and provincial police              lacked formal procedures to refer victims to care. The Ministry of
investigated allegations of exploitation of individuals with intellectual      Gender, Equality, and Family (MOGEF) provided training to its staff
disabilities working on salt farms, which included indicators of trafficking   on the NHRCK guidelines and procedures for supporting victims and
such as nonpayment of wages and excessive working hours; however,              convened advisory meetings to develop new victim identiﬁcation
NGOs reported officials did not employ trauma-informed procedures              guidelines in preparation for implementation of the March 2021 anti-
during the investigation of these allegations, and the government              trafficking law; these guidelines had not yet been ﬁnalized by the end
reported it did not identify evidence of trafficking crimes. NGOs reported     of the reporting period. Law enforcement often did not take steps to
the government did not implement adequate or frequent inspections              proactively identify victims, failed to identify many victims, and many
of ﬁshing vessels, which reportedly resulted in minimal regulation and         officials did not adequately implement identiﬁcation procedures.
impunity for boat captains and others who exploited migrant workers,           Despite the existence of the NHRCK guidelines, labor, immigration,
including in forced labor. The government did not report prosecuting           and law enforcement officials reportedly did not use them in practice.
any cases involving the exploitation of migrant workers in forced labor,       MOJ officials interviewed entertainment visa holders to screen for sex
despite reports from NGOs that this continued to occur. NGOs working           trafficking indicators and referred identiﬁed victims to services; however,
with labor trafficking victims reported that immigration officials and         the government did not report how many victims were identiﬁed through
labor inspectors treated some potential labor trafficking cases as             these interviews, and NGOs reported the government did not establish
administrative labor violations.                                               adequate guidelines for immigration officials on what steps they should
                                                                               take if a visa holder reported any indicators of trafficking. The national
The Ministry of Justice (MOJ) collaborated with the Korea Institute of
                                                                               police agency operated teams responsible for guiding all crime victims,
Criminology and Justice to research the status of recent trafficking
                                                                               which could include trafficking victims, from the initial point of contact
prosecutions and utilized ﬁndings to inform trainings for investigators.
                                                                               with law enforcement to protection and support systems. However, the
The government reported the study determined the Criminal Act and
                                                                               government did not have a formal referral process to guide officials in
Prevention of Trafficking in Persons, Etc. and Victim Protection Act
                                                                               referring trafficking victims to services, some authorities reportedly
will provide an adequate legal framework to prosecute and punish
                                                                               only referred victims to services in extreme cases, and some victims
traffickers. The Korean National Police Agency (KNPA) trained 180
                                                                               did not receive timely support.
officers on sex trafficking during a 12-session course and developed
a guide for identifying victims of sex trafficking, which it distributed       Through its cooperation with the Korean Crime Victims Support
it to police stations in October 2021. The government did not report           Association, MOJ reported assisting 380 trafficking victims in 2021,
providing official anti-trafficking trainings that included components         including through ﬁnancial assistance, medical and psychological
on trauma-informed procedures and care. MOJ reported it created a              support, and legal assistance. In addition, MOJ-funded Smile Centers
course for new prosecutors on trafficking and provided anti-trafficking        also included highly trained social workers, psychiatrists, and clinical
training for veteran prosecutors; the Ministry of Oceans and Fisheries         psychiatrists who could provide post-trauma support for victims of
(MOF) reported providing training to seafarers’ labor inspectors on            crime; the government did not report whether it trained these workers on
identifying trafficking. In the past, victim-support NGOs reported             trauma-informed care speciﬁc to trafficking victims. MOGEF supported
instances of police, prosecutors, and government-provided interpreters         more than 100 facilities that provided services to victims of crime and
not using trauma-informed practices when interviewing victims, which           were available to assist trafficking victims through counseling services,
inhibited their ability to effectively collect evidence and testimony from     psycho-social support, shelter, education, and rehabilitation support;
victims to pursue charges against their traffickers. Previous reports also     however, the government did not report providing any services designed
indicated law enforcement did not proactively investigate trafficking          speciﬁcally for trafficking victims. While these facilities primarily served
cases and declined to pursue charges in some suspected trafficking             female victims of crime, the government made some services, such as
cases for unclear reasons, sometimes due to a lack of understanding            counseling, medical, and legal assistance, available to male victims.
of tactics used by traffickers. Officials often did not prosecute cases        Nonetheless, NGOs continued to report the quality of victim care was
involving debt-based coercion due to a perceived lack of jurisdiction          insufficient, particularly for male, disabled, foreign, and child victims,
over recruitment that generally originated in a victim’s home country.         and that authorities did not provide consistent or accessible service for
The lack of an option to provide foreign trafficking victims with long-        foreign victims. The government only permitted foreign victims to stay in
term or permanent residency discouraged victims from participating as          shelters for three months; however, authorities could extend this period
witnesses in investigations of traffickers. The government investigated        of stay if victims were participating as witnesses in prosecutions against
one working-level court official allegedly complicit in sex trafficking; the   traffickers. The government did not provide undocumented foreign
government did not report prosecuting any officials allegedly complicit        victims some services unless they cooperated with law enforcement
in trafficking crimes.                                                         in the investigation of traffickers. Victims could ﬁle civil suits to receive
                                                                               compensation; the government did not report whether any victims
PROTECTION                                                                     received such compensation. The government issued G-1 visas to
The government maintained efforts to identify and protect trafficking          foreign victims of crimes, which allowed victims to stay and work in
victims. Officials continued to be unable to track or provide the total        South Korea for up to one year while cooperating in investigations and
number of trafficking victims identiﬁed or referred to services, thereby       prosecutions; because the government did not track identiﬁed victims,
making some aspects of their overall protection efforts unclear. Law           it was unable to provide the number, if any, of trafficking victims issued
enforcement referred individuals in commercial sex to support facilities       G-1 visas. MOJ previously reported foreign victims of sexual violence
operated or funded by the Ministry of Gender, Equality, and Family             and trafficking were exempt from immigration penalties for remaining
(MOGEF), but the government did not identify how many were victims             in the country beyond the permitted period of stay; however, it did not
of sex trafficking; MOGEF provided services to 6,311 individuals in its        report how many victims, if any, beneﬁted from this provision during
support facilities in 2021, compared to 6,743 in 2020. MOGEF established       the reporting period. Despite these beneﬁts, the government did not
17 support centers for child sex trafficking victims, which provided           provide legal alternatives to foreign victims’ removal to countries where
                                                                                                                                 Haiti AR_000810               329
                         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 435 of 729
KOREA, REPUBLIC OF   they face retribution or hardship. Some NGOs alleged that authorities         workers who reported exploitation or labor violations to MOEL to
                     sometimes detained or deported foreign victims but did not report any         change their employers while MOEL investigated their claims. According
                     speciﬁc cases during the reporting period.                                    to NGOs, however, MOEL reportedly did not adequately investigate
                                                                                                   workers’ claims and instead workers spent months attempting to prove
                     Although the law prohibits punishment for illegal acts that individuals
                                                                                                   their exploitation to MOEL before receiving permission to change their
                     were coerced to commit, the government did not take steps to address
                                                                                                   place of employment. In addition, employers who exploited their workers
                     longstanding concerns that government officials often arrested, detained,
                                                                                                   often only received small ﬁnes or suspended sentences. Addressing
                     and deported victims for unlawful acts traffickers compelled them
                                                                                                   concerns of inadequate housing of migrant workers, beginning in July
                     to commit. Authorities did not conduct screenings for indicators of
                                                                                                   2021, MOEL ceased the issuance of employment permits to employers
                     trafficking when arresting individuals for commercial sex acts, and
                                                                                                   in the agriculture and ﬁsheries industries who housed migrant workers
                     NGOs reported some instances in which authorities deported potential
                                                                                                   in makeshift structures, although NGOs said the government granted
                     foreign trafficking victims without screening them for trafficking or
                                                                                                   some employers a grace period until September.
                     providing services. In addition, NGOs reported authorities deported
                     some foreign sex trafficking victim-witnesses who participated in             Traffickers capitalized on gaps in Korean labor laws to exploit foreign
                     prosecutions against traffickers.                                             ﬁshermen in forced labor. The Seafarers Act exempted migrant workers
                                                                                                   from the legal working and rest hours, overtime pay, and paid holidays
                     KNPA reportedly had a policy to not inform immigration officials of
                                                                                                   prescribed for Korean ﬁshermen. While MOF issued rules in January 2021
                     the illegal status of victims who self-reported their exploitation to
                                                                                                   to better regulate the recruitment system, prevent excessive working
                     authorities; however, KNPA did not extend this policy to victims who
                                                                                                   hours, set a minimum salary, and ensure the provision of clean drinking
                     did not self-identify or were not accompanied by legal counsel or other
                                                                                                   water for migrant seafarers, NGOs continued to raise concerns these rules
                     service providers.
                                                                                                   were not adequately implemented and called for stricter punishment of
                                                                                                   violators. NGOs reported some migrant ﬁshermen continued to work
                     PREVENTION
                                                                                                   long hours, sometimes more than 18 hours per day. The minimum wage
                     The government maintained efforts to prevent trafficking. MOGEF
                                                                                                   for migrant ﬁshermen was reportedly one-ﬁfth less than the minimum
                     assumed the role as the government’s central coordination body for
                                                                                                   wage of Korean ﬁshermen, and migrant workers often did not receive
                     anti-trafficking and held interagency meetings during the reporting
                                                                                                   holiday or overtime pay. The government amended the Seafarers
                     period. As mandated by the 2021 anti-trafficking legislation, MOGEF
                                                                                                   Act in July 2021 to prohibit the conﬁscation of migrant seafarers’
                     began drafting the ﬁrst national action plan but had not completed it by
                                                                                                   passports; however, observers noted only ship owners were subject
                     the end of the reporting period. The government continued efforts to
                                                                                                   to the prohibition, and therefore skippers or manning agencies, who
                     raise awareness of sex trafficking through public broadcasting programs
                                                                                                   frequently withhold workers’ identify documents, could continue this
                     and ad campaigns on social media and reported it mandated one hour
                                                                                                   practice with impunity. In addition, surveys conducted in September
                     of education per year on sex trafficking prevention for all public sector
                                                                                                   2021 revealed the majority of migrant ﬁshermen still did not maintain
                     workers. However, the government did not make sufficient efforts to
                                                                                                   control of their identity documents. The government did not adequately
                     raise awareness of labor trafficking. Anti-trafficking NGOs reported there
                                                                                                   regulate the recruitment process for migrant ﬁshermen and instead a
                     were low levels of public awareness of human trafficking. To reduce the
                                                                                                   cooperative of private agencies regulated this process and charged
                     demand for commercial sex acts, officials provided schools, government
                                                                                                   standard recruitment fees of approximately $5,000 to workers, and
                     agencies, and other public organizations with anti-commercial sex
                                                                                                   many paid more than that. While the government reported conducting
                     and trafficking education programs, and it publicized the illegality of
                                                                                                   inspections of 177 ﬁshing vessels in 2021, it did not mandate ﬁshing
                     child sex tourism in airports. The government did not operate a hotline
                                                                                                   vessels return to ports for routine labor inspections; NGOs reported
                     speciﬁcally for reporting potential trafficking crimes, but MOGEF
                                                                                                   that unless they required maintenance, vessels could avoid returning to
                     continued to operate hotlines in 13 languages that were accessible
                                                                                                   port and many vessels remained at sea for more than a year at a time,
                     to trafficking victims. The government did not report the number of
                                                                                                   increasing risks for forced labor. MOF reported conducting a survey
                     calls related to trafficking but reported receiving 3,048 calls involving
                                                                                                   of migrant seafarers working on longline ﬁshing vessels to ask if the
                     individuals in commercial sex exploitation in 2021. MOF operated two
                                                                                                   workers wished to disembark; however, NGOs observed fears of losing
                     call centers to provide counseling for migrant seafarers, with interpreting
                                                                                                   employment in the future deterred workers from agreeing to disembark,
                     services in Indonesian, Vietnamese, Chinese, and Burmese languages.
                                                                                                   and the ministry did not report screening for indicators of trafficking
                     Out of thousands of calls received in 2021, MOF reported 32 cases that
                                                                                                   during these surveys. The law also did not prohibit exploitative wage
                     were ﬂagged for further investigation by labor inspectors for potential
                                                                                                   deductions or prohibit worker-charged recruitment fees, which enabled
                     violations of the Seafarers Act.
                                                                                                   traffickers to use debt-based coercion to exploit migrant ﬁshermen, as
                     NGOs continued to report traffickers exploited migrant workers through        well as workers in other industries; MOEL reported it required recruiting
                     the government’s Employment Permit System (EPS). MOEL provided                agencies to publicly list the costs they charged to foreign workers on
                     interpretation, medical treatment, and counseling services to migrant         their webpages. To address the issue of recruitment agencies in source
                     workers through 44 support centers that were partially funded by the          countries charging workers recruitment fees that contribute to debt-
                     government. MOEL inspected workplaces that employed groups at                 based coercion, the government signed an MOU with the government
                     risk of trafficking, including migrants and individuals with disabilities.    of Indonesia in May 2021. Local governments encouraged and provided
                     While the government recognized the practices of unscrupulous                 ﬁnancial assistance to South Korean farmers to pursue marriages to
                     recruitment agencies by stipulating in its bilateral Memoranda of             foreign women through brokers; some of these women were exploited
                     Understanding (MOUs) that only public sector entities can be involved,        in sex trafficking and domestic servitude.
                     the government did not report investigating unscrupulous recruitment
                     agencies. MOEL also stated it required dispatch agencies to publicly          TRAFFICKING PROFILE
                     list the costs they charged to foreign workers on their webpages, and         As reported over the past ﬁve years, human traffickers exploit domestic
                     it facilitated foreign worker labor management education for Korean           and foreign victims in South Korea, and traffickers exploit victims from
                     employers. Media reports alleged that in one case, local MOEL labor           South Korea abroad. Traffickers exploit South Korean women and
                     inspectors reportedly ignored violations of EPS, including indicators that    children, including children who run away from home and victims of
                     employers forced some migrant workers to engage in work in violation          domestic violence, in commercial sex, including in bars, night clubs, and
                     of the law. Following these reports and a National Assembly inquiry,          other entertainment establishments, or through internet-advertised
                     MOEL re-investigated six workplaces and conducted 143 unannounced             escort services. Traffickers increasingly utilized online platforms to
                     inspections in the agricultural sector in the ﬁrst three months of 2022       recruit and coerce victims to engage in commercial sex acts and to
                     and issued corrective orders and employment restrictions to offending         facilitate trafficking by communicating with purchasers of commercial
                     employers. The government’s restrictions on the ability of migrant            sex. Chat room operators recruit Korean women and children, including
                     workers employed under EPS to change employers increased their                child sex trafficking victims, and threaten them with the release of
                     vulnerability to exploitation. The government asserted it permitted           compromising photographs to coerce them to participate in the

   330                                                                                                                                         Haiti AR_000811
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 436 of 729




                                                                                                                                                             KOSOVO
production of pornographic materials. Traffickers exploit South Korean        owners, captains, and job brokers often use debt-based coercion to
women overseas, including in the United States, in sex trafficking in         exploit migrant ﬁsherman in forced labor on Korean-ﬂagged or -owned
massage parlors, salons, bars, and restaurants, or through internet-          vessels. Reports estimate that nearly 4,000 migrant workers, mainly
advertised escort services, often through debt-based coercion. Traffickers    from Indonesia, are employed on these vessels. Korean distant-water
subject men and women, primarily from the People’s Republic of China          ﬁshing vessels frequently use at-sea trans-shipment of catches and can
(PRC), Thailand, Russia, the Philippines, Vietnam, Indonesia, Morocco,        often stay at sea for a year or longer without visiting a port, limiting
and other countries in Asia, the Middle East, and South America, to           the ability of workers to report exploitation to authorities or to safely
forced labor and sex trafficking in South Korea. Traffickers force victims    leave their exploitation. According to one study, Korean longline ﬁshing
who owe debts to entertainment establishment owners or loan sharks            vessels spend the longest amount of time at sea, travel the furthest
into commercial sex. Sex traffickers exploit some foreign women on            distances, and have the longest daily ﬁshing hours compared with the
E6-2 entertainment visas—many from the Philippines and Thailand—in            world’s 25 largest longline ﬁshing ﬂeets. Recruitment agencies and job
bars and clubs, including “foreigners only” bars near ports and U.S.          brokers often charge ﬁshermen excessive recruitment fees, sometimes
military bases. However, many of the clubs that catered to U.S. military      as much as $13,000 for Indonesian and Vietnamese ﬁsherman working
personnel remained closed since early 2020 due to the pandemic. Job           on vessels in coastal waters, increasing their vulnerability to debt-based
brokers, unscrupulous recruitment agencies, and managers or owners            coercion. Migrant ﬁshermen on distant-water vessels often have the ﬁrst
of bars and clubs recruit foreign women under false promises of jobs          three months of their wages withheld to serve as a “deposit” they are
as singers or performers but instead coerce victims to work excessive         unable to receive back until the completion of their contract. Although
hours selling juice and alcohol and to engage in commercial sex acts          the government has undertaken some efforts to address problems in
in clubs. Recruiters and owners of massage parlors fraudulently recruit       this sector, trafficking vulnerabilities remain. Such workers can be forced
women for work as professional masseuses in Korea but force them to           to work excessive hours, up to 20 hours per day with limited rest hours
engage in commercial sex acts, sometimes through passport conﬁscation,        or days off, abused physically and verbally by boat captains, subjected
physical violence, and threats of deportation or violence. Some victims       to salary deductions, provided inadequate food and water, or forced
are not provided an adequate number of days off, face harassment,             to live and work in unsanitary conditions. It is common for recruitment
verbal and physical abuse, and are paid below the minimum wage or             agencies, captains, and skippers to retain coastal and distant-water
have their wages withheld to discourage them from leaving Korea or            ﬁshermen’s passports to prevent them from leaving their employment.
seeking new employment. Some bar managers reportedly conﬁscate
                                                                              Traffickers reportedly utilized partnerships with some law enforcement
victims’ passports or alien registration cards and restrict their ability
                                                                              authorities to threaten victims with penalization and deportation. In
to go outside their workplace. Women from the Philippines and other
                                                                              previous reporting periods, NGOs reported some government employees,
countries in Asia enter Korea on tourist visas after receiving false
                                                                              including police, sexually exploited children and solicited individuals in
promises of short-term work in factories or other industries but then
                                                                              commercial sex, some of whom may have been sex trafficking victims.
have their passports conﬁscated by traffickers who force them to work
in clubs and engage in commercial sex acts. Some women from the PRC,
Vietnam, Thailand, the Philippines, and Cambodia, who are recruited
for marriages to South Korean men through international marriage
brokers, are vulnerable to sex trafficking and forced labor after their        KOSOVO: TIER 2
arrival. Some South Korean men reportedly engage in child sex tourism
in other Asian countries; however, this likely occurred less frequently       The Government of Kosovo does not fully meet the minimum standards
during the reporting period due to the pandemic. Travel restrictions and      for the elimination of trafficking but is making signiﬁcant efforts to do
quarantine requirements related to the pandemic prevented traffickers         so. The government demonstrated overall increasing efforts compared
from recruiting some foreign trafficking victims during the reporting         with the previous reporting period, considering the impact of the
period, leaving women in Korea more at risk to exploitation. As the           COVID-19 pandemic, if any, on its anti-trafficking capacity; therefore
entertainment industry experienced a loss of business, some traffickers       Kosovo remained on Tier 2. These efforts included prosecuting and
also used increased various forms of exploitation to force victims into       convicting more traffickers and identifying more victims. The Chief
commercial sex. Some brokers also force Korean women who worked in            State Prosecutor’s Office (CSPO) established local multi-disciplinary
clubs prior to the pandemic into commercial sex. North Korean defectors       teams to improve coordination on trafficking cases in three regions, and
living in South Korea often faced economic hardship that increased their      the government increased funds to NGO-run shelters. The government
risks to trafficking, and traffickers subjected North Korean women to sex     organized a robust awareness campaign, and coordinating bodies met
trafficking. KNPA, MOJ, and MOF previously acknowledged instances             and produced quarterly reports. However, the government did not meet
of deportation of foreign trafficking victims, including some who self-       the minimum standards in several key areas. Judges continued to impose
reported, and attributed it to a breakdown in communication between           lenient sentences on convicted traffickers, and the government did not
investigators and immigration authorities.                                    adopt the 2020-2024 Anti-trafficking National Strategy and Action Plan.
Traffickers have forced some physically or intellectually disabled South      Law enforcement continued to classify forced begging of children by
Korean men to work on ﬁshing vessels and ﬁsh, salt, and cattle farms.         their parents as parental neglect or abuse rather than trafficking and,
Unscrupulous labor recruiters contribute to the forced labor of migrant       because of inadequate identiﬁcation procedures for forced begging,
workers, especially those from Vietnam, the Philippines, Thailand,            authorities likely deported some unidentiﬁed trafficking victims.
Cambodia, Indonesia, and Mongolia, through debt-based coercion by
charging workers excessive fees, sometimes leading to thousands of
                                                                                      KOSOVO TIER RANKING BY YEAR
dollars of debt. Approximately 200,000 migrant workers employed
                                                                                  1
under the government’s EPS work in ﬁshing, agriculture, livestock,
restaurants, and manufacturing. Undocumented workers are also                     2
employed in these sectors, though there are no official statistics on their     2WL
numbers. NGOs reported that there were fewer migrant workers in the
                                                                                  3
country due to pandemic-related travel restrictions. Some workers, both                  2015     2016     2017     2018   2019    2020    2021    2022
documented and undocumented, face conditions indicative of forced
labor. Migrant workers in the agriculture sector are sometimes forced
to live in inadequate housing, sometimes in greenhouses, shipping
containers, or dormitories. South Korea is a transit point for Southeast      PRIORITIZED RECOMMENDATIONS:
Asian ﬁshermen subjected to forced labor on ﬁshing ships bound for            Vigorously investigate, prosecute, and convict traffickers, including
Fiji and other ports in the Paciﬁc. There are ongoing reports of abuse,       complicit officials. • Sentence convicted traffickers to prison terms
including forced labor, of migrant workers in the Korean ﬁshing ﬂeet,         consistent with prescribed penalties. • Develop written guidance and
one of the world’s largest distant-water ﬁshing ﬂeets. Recruiters, boat       enhance efforts to identify and assist children exploited in forced begging.

                                                                                                                                  Haiti AR_000812            331
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 437 of 729
KOSOVO   • Adopt, resource, and implement the 2020-2024 Anti-trafficking               PROTECTION
         National Strategy and Action Plan. • Continue providing advanced              The government increased victim protection efforts. The government
         training to judges, prosecutors, and law enforcement on trafficking           identiﬁed 22 victims, compared with 17 victims in 2020. Of these, 19
         investigations and prosecutions. • Strengthen victim conﬁdentiality and       were victims of sex trafficking, and three were victims of forced begging;
         privacy measures and ensure private information is not shared. • Further      16 were girls, four women, and two boys; and one was a victim from
         reduce the judiciary’s backlog of cases, including trafficking cases. •       Albania. First responders used standard indicators to screen vulnerable
         Allocate sufficient resources to Centers for Social Welfare to fully fulﬁll   populations; however, GRETA and other observers reported a lack
         their responsibilities. • Designate trained prosecutors and judges in every   of guidance and proactive identiﬁcation efforts for victims of forced
         region to handle trafficking cases. • Strengthen victim conﬁdentiality        begging, especially children. KP and border police continued to classify
         measures. • Increase government support for comprehensive vocational          forced begging of children by their parents as parental neglect or abuse
         training and reintegration services for victims. • Standardize data           rather than trafficking, stating that children accompanied by their parents
         collection and create a database that disaggregates statistics for            did not meet the deﬁnition of trafficking. A multi-disciplinary national
         trafficking and trafficking-related prosecutions and convictions. • Provide   referral mechanism (NRM) provided standard operating procedures
         hotline operators training on handling trafficking cases.                     (SOPs) for identifying and referring victims to services. The NRM
                                                                                       required an investigator from the THBD and a victim’s advocate from
         PROSECUTION                                                                   the Victim’s Assistance and Advocacy Office to convene and assess the
         The government increased law enforcement efforts. Article 165 of the          victim as low-, medium-, or high-risk of danger and coordinate victim
         criminal code criminalized sex trafficking and labor trafficking and          care and placement. The NRM also required a social worker for child
         prescribed punishments of ﬁve to 12 years’ imprisonment and a ﬁne             victims to participate in the assessment.
         for offenses involving adult victims and ﬁve to 15 years’ imprisonment
         and a ﬁne for offenses involving child victims. These punishments were        The government licensed and partially funded two NGO-run shelters to
         sufficiently stringent and, with regard to sex trafficking, commensurate      provide services to victims, along with the specialized state-run Interim
         with those prescribed for other serious crimes, such as rape. Police,         Security Facility (ISF). The government annually allocated €100,000
         prosecutors, and courts maintained different methods for counting cases,      ($113,380) to the ISF, and the Ministry of Labor and Social Welfare
         resulting in inconsistent statistics across databases. Police investigated    (MLSW) allocated €56,000 ($63,490) to one NGO-run shelter and
         17 new cases with 43 suspects, compared with 62 new cases in 2020.            €63,000 ($71,430) to the other, compared with €50,000 ($56,690)
         Police also investigated seven additional suspects for “utilizing sexual      and €55,000 ($62,360) respectively in 2020. The Pristina municipal
         services from a trafficking victim,” compared with nine suspects in 2020.     government also provided €14,000 ($15,870) to one of the NGO-run
         Authorities prosecuted 35 new cases with 60 defendants, compared              shelters, compared with €13,000 ($14,740) in 2020. In addition, the
         with 20 new cases with 32 defendants in 2020. Courts convicted seven          Pristina municipal government funded the renovation of one NGO-run
         traffickers, compared with three traffickers in 2020. Courts did not          shelter with €33,000 ($37,410). NGO-run shelters reported government
         charge or convict any perpetrator who “utilized sexual services from          funding in 2020 was satisfactory but reported delays in receiving funds.
         a trafficking victim,” compared with one perpetrator in 2020. Judges          The three shelters provided legal assistance, medical and psychological
         continued to issue sentences below the minimum penalty of ﬁve years’          services, counseling, education, recreational services, and reintegration
         imprisonment. While a judge sentenced one trafficker to ﬁve years’            support. ISF temporarily accommodated victims assessed as high-
         imprisonment, four convicted traffickers received sentences of three          risk, such as victims of cases with the trafficker still at large, victims
         years’ imprisonment, one received a two-year suspended sentence, and          testifying in court proceedings, or those awaiting repatriation; ISF
         one received a €300 ($340) ﬁne. Suspended sentences and those of              accommodated 14 victims (nine victims in 2020). Authorities required
         ﬁnes alone undercut efforts to hold traffickers accountable, weakened         victims to have a police escort outside of the ISF while court proceedings
         deterrence, created potential security and safety concerns for victims,       were ongoing and required an approval from a prosecutor and the KP
         and was not equal to the seriousness of the crime. Courts did not reduce      for victims assessed as high-risk to permanently leave the ISF. The
         the overall backlog of trafficking cases; 70 cases remained open from         facility had the capacity to shelter 40 individuals for up to 90 days with
         previous years, compared with 68 in 2020.                                     separate rooms for females, males, and families. Eleven staff members
                                                                                       worked at ISF, including the director, victim advocates, nurses, and a
         The Trafficking in Human Beings Directorate (THBD) within the Kosovo          teacher, but it did not employ an in-house psychologist. The shelters
         Police (KP) investigated all trafficking cases through its eight regional     also administered COVID-19 tests to victims immediately after arrival
         units, and it also maintained a unit in the predominantly ethnic Serb         and ensured COVID-positive victims received medical attention and
         northern municipalities. CSPO continued to designate a special                safety precautions. Centers for Social Welfare (CSW) appointed case
         coordinator for trafficking and also maintained a trafficking point of        managers who prepared care plans in cooperation with the victim and
         contact in all seven basic prosecution offices. The special coordinator       shelter staff. CSW provided services to child victims and also acted as
         for trafficking monitored cases, provided guidance, participated in the       legal guardians, but observers reported CSW did not have enough staff
         anti-trafficking law enforcement task force, and organized trainings          to handle all their responsibilities. Civil society reported good quality
         and workshops for prosecutors. THBD cooperated with the Labor                 of care for victims, but reintegration programs had limited success due
         Inspectorate, Ministry of Trade and Industry, and Tax Administration          to a lack of resources and high overall unemployment.
         to conduct 168 joint inspections of bars, nightclubs, restaurants, and
         massage parlors (77 in 2020), which led to the closure of 55 premises         GRETA reported representatives from THBD and CSPO had a good
         (39 in 2020). GRETA and other observers reported that a lack of training      understanding of the principles surrounding non-penalization of
         and experience among most prosecutors and judges resulted in weak             trafficking victims. However, due to a lack of consistent screening
         sentences or cases that were charged as a lesser crime, especially forced     and identiﬁcation procedures for forced begging, authorities likely
         labor cases or cases involving emotional control or psychological coercion    deported some unidentiﬁed trafficking victims. The law entitled foreign
         of a victim. The government, in cooperation with a foreign donor, trained     national victims to a 90-day reﬂection period in which victims could
         police and maintained institutionalized training programs at the Justice      recover before deciding whether to cooperate with law enforcement.
         Academy and CSPO, which trained prosecutors, judges, and victim’s             Authorities afforded foreign victims the same rights and services as
         advocates on various trafficking issues. The government exchanged             internal victims and the law entitled foreign victims to a temporary
         information with foreign governments on 20 trafficking-related cases (18      residence permit for at least six months; no foreign victims requested
         cases in 2020), cooperated with authorities from Albania and Montenegro       a permit in 2021 or 2020. All 22 victims participated in investigations
         on child trafficking cases, and worked with German authorities to             by providing statements to THBD, prosecutors, and pre-trial judges (17
         extradite one suspect to Kosovo. THBD, CSPO, and the KP Inspectorate          in 2020). The government updated SOPs and required a psychologist
         cooperated to investigate government employees potentially complicit          and prosecutor to attend interviews with victims in addition to a victims
         in trafficking offenses but did not report any new cases.                     advocate and police. The government reported suspected traffickers
                                                                                       were not present when victims provided statements and foreign victims
                                                                                       could return to their countries of origin after testifying without waiting
                                                                                       for the conclusion of the trial. The government assisted in repatriating
 332                                                                                                                                Haiti AR_000813
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 438 of 729




                                                                                                                                                                KUWAIT
one victim (three in 2020). The law provided witness protection, free          over foreign worker recruitment and provide greater protections to
legal aid, and conﬁdentiality of a victim’s identity; no victims required      vulnerable migrants through the labor recruitment process. However,
witness protection, but KP reported a municipal official unknowingly           the government did not demonstrate overall increasing efforts compared
provided a victim’s birth certiﬁcate to a suspected trafficker. The law        with the previous reporting period, even considering the impact of the
allowed judges to grant a victim restitution in criminal cases or to receive   COVID-19 pandemic on its anti-trafficking capacity. The government
compensation from a government ﬁnanced compensation program                    investigated fewer alleged trafficking crimes and prosecuted and
if the victim was unable to obtain restitution from the traffickers; no        convicted signiﬁcantly fewer traffickers than in previous years; it also
victims received restitution or compensation in 2021, compared with            identiﬁed fewer victims compared with the previous reporting period.
one victim receiving €3,000 ($3,400) in 2020.                                  The government decreased funding for trafficking victim and domestic
                                                                               worker protection programs for the second consecutive year. Additionally,
PREVENTION                                                                     the government did not take any new steps to reform its visa sponsorship
The government maintained efforts to prevent trafficking. The                  system, which continued to render migrant workers highly vulnerable to
National Authority Against Trafficking in Persons (NAATIP) composed            exploitation, speciﬁcally trafficking. Some officials continued to routinely
of representatives from eight government ministries, the judiciary,            use arbitration and administrative penalties to resolve grievances ﬁled
municipal offices, victim advocates, NGOs, and international observers,        by migrant workers, including domestic workers, instead of investigating
coordinated interagency efforts; NAATIP held quarterly meetings                such cases as human trafficking crimes; protracted litigation and
in addition to ad hoc meetings and produced quarterly reports. In              subsequent appeals processes led most potential victims to decline to
2019, the government, in consultation with civil society, drafted the          ﬁle court cases. Finally, the government did not regularly use standard
Anti-trafficking National Strategy and Action Plan for 2020-2024;              procedures for proactively identifying victims by all front-line officials and
however, its approval remained pending at the close of the reporting           referring them to protection services; it continued to detain, prosecute,
period. CSPO established local multi-disciplinary teams comprising             and deport potential or unidentiﬁed trafficking victims, including those
a prosecutor, police, victim advocates, social workers, and shelter            ﬂeeing forced labor, without screening for trafficking indicators. Therefore
representatives to improve coordination on trafficking cases in three          Kuwait was downgraded to Tier 2 Watch List.
regions. The government organized an annual month-long awareness
campaign on child begging, produced an anti-trafficking video, and
                                                                                       KUWAIT TIER RANKING BY YEAR
organized meetings and distributed leaﬂets for students and youth.
                                                                                   1
Separately, the government distributed leaﬂets on victim identiﬁcation
to health professionals, and THBD distributed leaﬂets at border points             2
and held lectures and roundtables on anti-trafficking efforts. For the           2WL
ﬁrst time, the government facilitated the participation of a survivor in an        3
awareness campaign by having read aloud to an audience a letter they                     2015      2016      2017    2018   2019    2020     2021     2022
prepared, in lieu of their physical presence. The MLSW maintained a legal
framework for the registration and licensing of private sector employers,
including foreign employment agencies. The law prohibited agencies
from charging recruitment fees, but the government did not report its          PRIORITIZED RECOMMENDATIONS:
efforts to monitor recruitment agencies. The government-operated               Continue to increase law enforcement efforts to investigate, prosecute,
hotline for victims of domestic violence and other crimes received 327         and convict traffickers, including Kuwaiti citizens and allegedly complicit
calls including two potential trafficking cases, compared with 650 calls       officials, under the 2013 anti-trafficking law rather than other criminal
and six potential trafficking cases in 2020. In previous years, observers      laws, when applicable. • Proactively screen for trafficking indicators
reported operators needed training to respond properly to trafficking-         among vulnerable populations, including those in government and
related calls. The government aired a public service announcement to           embassy shelters and those arrested for immigration violations
reduce the demand for commercial sex acts.                                     or “prostitution,” or those who ﬂee abusive employers and face
                                                                               countercharges, to ensure victims are not wrongfully penalized or
TRAFFICKING PROFILE                                                            deported for unlawful acts traffickers compelled them to commit. •
As reported over the past ﬁve years, human traffickers exploit domestic        Institute reforms to the visa sponsorship-based employment system,
and foreign victims in Kosovo, and traffickers exploit victims from Kosovo     including allowing all workers at any time to change employers and
abroad. Criminal networks exploit victims in sex trafficking internally.       leave the country without requiring employer approval, ensuring no
Many sex trafficking victims in Kosovo are girls, although traffickers also    recruitment fees are charged to workers and increasing oversight of
force women from Albania, Moldova, Montenegro, Romania, Serbia,                recruitment agencies and companies. • Increase the amount of training
and other European countries into sex trafficking. Traffickers recruit         for all relevant officials and NGOs on the national referral mechanism
women and girls with promises of marriage or employment as dancers             (NRM) to strengthen proactive identiﬁcation and referral procedures
and singers and force victims into sex trafficking in private homes and        and ensure official guidelines are accessible to all frontline responders
apartments, nightclubs, and massage parlors. Children from Kosovo,             to routinely employ these procedures. • Ensure unhindered access to
Albania, and other neighboring countries are forced to beg within the          the government shelter for victims who self-refer and do not require a
country. Traffickers subject Kosovo citizens to sex trafficking and forced     complaint on ﬁle with authorities to be granted access at the shelter and
labor throughout Europe. Marginalized Roma, Ashkali, and Egyptian              provide adequate funding for shelter operations. • Create protection
communities, particularly children, are vulnerable to forced begging           services speciﬁcally for male victims, including accommodation and
and sex trafficking, including by traffickers, who are sometimes their         specify procedures for their access to care. • In adherence to Kuwaiti
parents or relatives. LGBTQI+ persons, migrants, asylum seekers, and           labor law, increase the number of investigations and prosecutions
refugees also experience a higher risk to trafficking.                         of employers who illegally conﬁscate migrant workers’ passports
                                                                               and strengthen penalties for passport conﬁscation to deter potential
                                                                               future perpetrators. • Strengthen efforts to prosecute potential forced
                                                                               labor crimes criminally instead of administratively and refer cases with
 KUWAIT: TIER 2 WATCH LIST                                                     trafficking indicators, such as complaints of non-payment of wages,
                                                                               passport conﬁscation, and restriction of movement, for investigation
                                                                               as potential trafficking crimes. • Continue to strengthen enforcement
The Government of Kuwait does not fully meet the minimum standards
                                                                               of the domestic worker law to ensure domestic workers’ rights are
for the elimination of trafficking but is making signiﬁcant efforts to
                                                                               protected by increasing access for domestic workers to ﬁle a grievance
do so. These efforts included reporting disaggregated data for the
                                                                               with authorities and increase inspections of registered and fraudulent
ﬁrst time, which highlighted a forced labor conviction under the anti-
                                                                               recruitment agencies. • Resume convening the full Permanent National
trafficking law and the identiﬁcation of male victims. The government also
                                                                               Committee for the Implementation of the National Strategy for the
continued to implement the “Tamkeen” program to increase oversight
                                                                               Prevention of Trafficking and strengthen implementation of the national
                                                                                                                                   Haiti AR_000814              333
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 439 of 729
KUWAIT   anti-trafficking strategy. • Expand efforts to raise awareness on existing       entry of hundreds of workers into Kuwait. The MOI colonel reportedly
         protections for workers and penalties for traffickers, particularly among        operated a front company that brought to Kuwait approximately 1,200
         vulnerable populations, including migrant workers and domestic workers,          migrant laborers who did not have valid residence permits and were
         as well as employers, company owners, and recruitment agencies.                  vulnerable to trafficking. The court upheld the ruling that the colonel
         • Given signiﬁcant concerns about forced labor indicators in Cuban               and his accomplices violated the residency law—but it acquitted the
         Medical Missions, screen Cuban medical professionals and refer them              defendants for human trafficking and money laundering for lack of
         to appropriate services.                                                         sufficient evidence. In a separate case from the previous reporting period
                                                                                          involving a former Bangladeshi MP and several Kuwaiti officials, media
         PROSECUTION                                                                      sources reported the Court of Cassation upheld the conviction of the
         The government decreased law enforcement efforts; it reported                    former MP for bribing Kuwaiti officials to issue work visas and issued a
         significantly fewer trafficking investigations, prosecutions, and                ﬁnal ruling in November 2021, increasing the sentence for the MP from
         convictions than in previous years and continued to convict traffickers,         four years to seven years’ imprisonment and from a ﬁne of 1.9 million
         including allegedly complicit officials, under other criminal laws instead of    Kuwaiti Dinar (KD) ($6.29 million) to 2.7 million KD ($8.94 million).
         the anti-trafficking law. However, the government reported disaggregated         According to media, the Criminal Investigative Department (CID) had
         law enforcement data for the ﬁrst time, which highlighted a forced labor         originally charged the former Bangladeshi MP with human trafficking,
         conviction under the anti-trafficking law. The 2013 anti-trafficking law         money laundering, and torturing employees of his company, based on
         criminalized sex trafficking and labor trafficking and prescribed penalties      complaints from ﬁve Bangladeshi migrant workers. Media sources also
         of up to 15 years’ imprisonment for offenses involving an adult male victim      reported that the court upheld the convictions for bribery and issued
         and up to life imprisonment for those involving an adult female or child         similar sentences to a top Kuwaiti official at the Public Authority for
         victim. These penalties were sufficiently stringent and, with regard to          Manpower (PAM) and a former MOI Assistant Undersecretary, in the
         sex trafficking, commensurate with those prescribed for other serious            same case related to the Bangladeshi MP. The Bangladeshi MP’s company
         crimes, such as rape. In April 2019, the Constitutional Court annulled an        bribed Kuwaiti officials to bring in thousands of Bangladeshi workers on
         article from the 2013 anti-trafficking law that required judges to issue a       fake or expired government contracts, making them vulnerable to labor
         verdict in trafficking cases, arguing the stipulation undermined judicial        trafficking; victims paid up to 3,000 KD ($9,930) each in exchange for
         independence and precluded judges from exercising discretion. As a               visas, only to ﬁnd they had no job upon arriving in Kuwait. The ﬁnal ruling
         result, judges retained broad discretion to defer and delay issuance             also included the conviction and sentencing of a former Kuwaiti MP, who
         of verdicts in trafficking cases, as they did in other cases. The Public         was originally acquitted of all charges, to seven years’ imprisonment
         Prosecutor’s Office (PPO) and the Ministry of Interior (MOI) continued to        and a ﬁne of 740,000 KD ($2.45 million).
         require all cases of buying and trading of fraudulent visas, withholding
                                                                                          Kuwaiti authorities did not routinely categorize or investigate labor
         of salaries and passports in excess of three months, or forcing individuals
                                                                                          violations as potential trafficking crimes and typically treated such
         into jobs different from those contractually agreed upon be prosecuted
                                                                                          cases as administrative infractions. During the reporting period, the MOI
         under the anti-trafficking law rather than the labor law.
                                                                                          established a hotline speciﬁcally to receive trafficking-related complaints.
         The MOI and PPO continued to maintain specialized trafficking                    Although the hotline received 95 calls since its establishment in October
         units within their respective organizations, and for the ﬁrst time, the          2021, officials did not refer any complaints to the PPO for criminal
         government provided disaggregated law enforcement data by type of                proceedings. Moreover, officials reported that most calls received were
         trafficking. In 2021, the government investigated 23 potential trafficking       regarding labor law violations that did not meet the threshold to qualify
         cases, compared with 46 in the previous reporting period. Of these 23            as a potential trafficking case. If a complaint involved severe abuse, such
         cases, one was for sex trafficking involving one suspect, and 22 were            as assault or domestic worker abuse, authorities transferred the case
         forced labor cases, involving 29 suspects. Fourteen forced labor cases           directly to the PPO. The government did not prosecute some domestic
         involving 21 suspects remained under investigation at the close of the           worker abuse cases due to lack of evidence or witness testimony;
         reporting period. During the reporting period, officials initiated the           further, some domestic workers who were victims of abuse ultimately
         prosecution of two forced labor cases involving eight suspects, compared         chose not to move forward with court proceedings due to inadequate
         with 35 cases involving 109 suspects in 2020. The government convicted           government support and prolonged trials periods. As a result, only
         two traffickers in one forced labor case under the anti-trafficking law,         severe cases of domestic worker abuse—usually involving signiﬁcant
         compared with convicting 28 traffickers in 2020 under unspeciﬁed                 bodily injury or death—were prosecuted as violations of other criminal
         laws. The Criminal Court convicted and sentenced a Kuwaiti woman to              laws, and sometimes, under the anti-trafficking law as forced labor. One
         10 years’ imprisonment with hard labor and her husband to one year               labor-source country reported that some domestic worker sexual abuse
         of imprisonment for assaulting and torturing a domestic worker to                cases were dropped due to insufficient evidence collection by the MOI’s
         death. The court charged both individuals with forced labor under the            Forensic Evidence Department. Moreover, one NGO reported in cases
         anti-trafficking law and assault under the penal code; this was the ﬁrst         where trafficking charges were accompanied by other criminal charges,
         time the government reported a forced labor conviction under its 2013            the government would choose to pursue other criminal charges against
         anti-trafficking law. In previous years, the government did not specify          the defendants instead of the trafficking charge.
         which laws it used to convict traffickers. Separately, two defendants
                                                                                          As of November 2021, the MOI reported it conducted two training
         were originally prosecuted under the anti-trafficking law for forced
                                                                                          courses for officers at the CID. It also included trafficking topics in its
         labor but were instead convicted under the penal code, labor law, and
                                                                                          general quarterly training, including on the anti-trafficking law, victim
         foreigner’s residency law and sentenced to 3.5 years’ imprisonment and
                                                                                          identiﬁcation, and evidence collection strategies. Furthermore, the MOI
         hard labor. The government also overturned seven convictions in one
                                                                                          reported that some police academy training included trafficking and
         case on appeal and acquitted 42 defendants in 2021, compared with
                                                                                          human rights focused topics. As of November 2021, PAM conducted seven
         acquitting 13 defendants in 2020.
                                                                                          training courses in cooperation with two international organizations,
         Corruption and official complicity in trafficking and trafficking-related        funding trainings specifically on ethical recruitment, trafficking
         crimes remained a signiﬁcant concern during the reporting period.                terminology, and the government’s responsibility to protect trafficking
         While the government made law enforcement efforts on cases involving             victims. At the request of the government, members of the Permanent
         allegedly complicit officials in trafficking-related crimes, it did not report   National Committee for the Implementation of the National Strategy for
         any new investigations, prosecutions, or convictions of government               the Prevention of Trafficking (National Committee) and the Supreme
         employees under the 2013 anti-trafficking law. Some government                   Council for Planning and Development (GSSCPD) participated in two
         officials allegedly sold work visas to illegal recruiters or directly to         international organization-led workshops on victim identiﬁcation,
         migrant workers, potentially facilitating trafficking. In May 2021, the          Kuwait’s anti-trafficking law, the international legal framework for
         government reported it upheld a conviction through a ﬁnal ruling                 trafficking, the NRM, and techniques for victim interviewing. Due to the
         in the Court of Cassation from the previous reporting period with a              pandemic, the Kuwait Institute for Judicial and Legal Studies within the
         sentence of three years’ imprisonment with hard labor for a former               Ministry of Justice did not conduct any trainings during the reporting
         MOI police colonel and his Egyptian partners for illegally facilitating the      period. The Domestic Workers Employment Department (DWED)

 334                                                                                                                                   Haiti AR_000815
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 440 of 729




                                                                                                                                                           KUWAIT
reported that it requested trafficking-related training to improve its        implemented or if any companies referred to the PPO paid for shelter
staff and investigators’ skills on victim identiﬁcation, but the training     and repatriation costs of their employees during the reporting period.
was not implemented during the reporting period.
                                                                              From January to November 2021, the government spent 77,017 KD
                                                                              ($255,020) on domestic worker shelter operations and protection
PROTECTION                                                                    programs for trafficking victims; this was compared with 100,370 KD
The government decreased efforts to protect trafficking victims; it
                                                                              ($332,350) in 2020 and 2 million KD ($6.62 million) in 2019, although
identiﬁed signiﬁcantly fewer victims compared with the previous
                                                                              the government did not report whether these amounts were allocated
reporting period and decreased its funding to support the shelter and
                                                                              as the total budget for shelter operations and protection programs or
protection services. However, the government reported disaggregated
                                                                              solely the amount spent during the year on such initiatives. Embassies of
victim identiﬁcation data by gender for the ﬁrst time, which highlighted
                                                                              the Philippines and India maintained their own domestic worker shelters
the identiﬁcation of male victims. The government identiﬁed 17 trafficking
                                                                              and worked with the Kuwaiti government to seek compensation and legal
victims during the reporting period, including 11 adult males and six adult
                                                                              redress for their nationals subjected to exploitative working conditions
female victims; this was a signiﬁcant decrease from its identiﬁcation
                                                                              in the country. International organizations and civil society reported
of 103 trafficking victims during the previous reporting period. The
                                                                              other embassies had unofficial shelters for their nationals and reported
government referred two of these female victims to the government
                                                                              allegations remained that embassy staff inappropriately facilitated the
shelter, and three female victims were identiﬁed through the government
                                                                              employment of workers from these shelters by providing the worker
shelter’s screening process after admission into care. The government
                                                                              new employment through illegal channels and receiving kickbacks,
did not report if the remaining 12 identiﬁed victims received services; as
                                                                              which rendered an unknown number of workers vulnerable to trafficking
the shelter was only available for vulnerable female migrants, observers
                                                                              or re-trafficking. In cooperation with international organizations and
noted that in most cases, identiﬁed male victims sought assistance from
                                                                              foreign embassies, the government could assist victims in retrieving
their respective embassies or other support groups. As of November
                                                                              documentation and funding for repatriation. In the case of administrative
2021, the government reported it assisted 160 vulnerable female workers
                                                                              deportation of vulnerable migrant workers, officials provided airline
at the government shelter, a decrease compared to 461 during the
                                                                              tickets and worked to recoup associated costs from accused employers.
previous reporting period. This included 138 vulnerable female domestic
                                                                              The government allowed victims residing in its shelter to either change
workers referred to shelter by DWED; the other 22 vulnerable female
                                                                              their employers and visa sponsors or be repatriated to their country
workers either self-referred or were referred by NGOs. NGOs reported
                                                                              of origin once their residency status was resolved or pending the
the majority of those admitted to the shelter were potential victims of
                                                                              resolution of a legal case or unpaid bills, without approval by their
forced labor and had ﬂed poor working conditions, including excessive
                                                                              former visa sponsor. Also, once the shelter admitted a victim, employers
hours and delayed payment of wages, or desired to return to their
                                                                              could not press “absconding” charges. The government did not report
respective countries of origin. The shelter employed a screening process
                                                                              deporting those who faced retaliation or retribution in their respective
to identify and categorize types of abuse and determine whether
                                                                              home countries. Rather, the government allowed all trafficking victims
a resident was a trafficking victim; during the reporting period, the
                                                                              to change employers and maintain residency in Kuwait or otherwise
government reported that of the 160 women admitted into the shelter,
                                                                              be resettled to a third country at the victims’ request; however, most
three potential trafficking victims were identiﬁed through this screening
                                                                              shelter residents chose to be repatriated to their home country. As of
process and were referred to MOI’s anti-trafficking unit for further
                                                                              November 2021, the government repatriated 185 vulnerable migrants to
investigation. In contrast, an international organization identiﬁed 24
                                                                              their respective countries of origin and, as of March 2022, in cooperation
trafficking victims during the reporting year.
                                                                              with two international organizations, provided repatriation, reintegration
The National Committee implemented the NRM, adopted in 2019, to               support, and transition assistance to 115 vulnerable domestic workers
identify and prevent cases of trafficking; the mechanism contained six        from nations without diplomatic representation in Kuwait who needed
stages ranging from proactive identiﬁcation of victims to their safe          to procure travel documentation. In comparison, during the previous
repatriation. Although the government reported that front-line officials      reporting period, the government repatriated 617 shelter residents to
and investigators continued to follow prescribed procedures regarding         their respective countries of origin.
victim identiﬁcation and used the NRM to refer abused workers and
                                                                              Authorities continued to arrest, detain, and administratively deport
possible trafficking victims to the shelter, an international organization
                                                                              some workers who ﬂed their employers without permission. The risk
reported that the mechanism was not systematically utilized by all
                                                                              of penalization, coupled with protracted litigation processes and
officials. Furthermore, the government noted the NRM was not a publicly
                                                                              exorbitantly high legal fees, discouraged workers from appealing to
accessible document, likely limiting its use for stakeholders outside
                                                                              police or other authorities for protection and adequate legal redress
of the government. During the reporting period, the government-run
                                                                              for their exploitation. In addition, it was not uncommon for sponsors to
shelter reported it received referrals from embassies, NGOs, international
                                                                              ﬁle counter-grievances, such as “absconding,” against their employees,
organizations, churches, private citizens, and other migrant workers. The
                                                                              including trafficking victims who reported abuse. This sometimes resulted
shelter served as a one-stop facility, providing medical and psychological
                                                                              in administrative deportation or detention of the employees and victims.
care, food, rehabilitation support, and access to officials from various
                                                                              According to the Domestic Workers Law (68/15), the government
ministries to facilitate legal and repatriation assistance. International
                                                                              could charge a domestic worker with absconding seven days after the
organizations and NGOs continued to have access to victims and
                                                                              employer’s registration of the charge, unless the worker notiﬁed DWED
reported the shelter assisted workers with repatriation or ﬁnding new
                                                                              or presented themselves at the government shelter. During the reporting
employment. Residents at the shelter had access to cell phones and
                                                                              period, one NGO and a labor-source country reported domestic workers
legal assistance, as well as freedom of movement. Shelters were staffed
                                                                              had difficulty physically reaching the DWED to ﬁle a complaint or seeking
by supervisors, medical staff, and investigators 24 hours per day. An
                                                                              assistance, and some workers were denied access to the government
international organization reported the average number of residents
                                                                              shelter without ﬁrst ﬁling a complaint with the DWED. For domestic
in the shelter had decreased signiﬁcantly over the last few years, from
                                                                              workers who did not or were not able to notify the government that they
200-250 daily residents to approximately 20-40 residents during the
                                                                              had left their employer, the worker was subject to arrest, detention for
reporting period. Furthermore, one NGO reported the government
                                                                              up to six months, payment of ﬁnes, and deportation; deportation was
shelter did not allow domestic workers who were potential victims to
                                                                              usually accompanied with at least a six-year entry ban to Kuwait. Within
self-refer without ﬁling a complaint with DWED ﬁrst, which may have left
                                                                              worker communities, there existed a persistent fear that conﬁding in
some unidentiﬁed trafficking victims without adequate care during the
                                                                              authorities would result in deportation, imprisonment, or forced return to
reporting period. During the previous reporting period, the Minister of
                                                                              their employers. The government reported public prosecutors willingly
Economic Affairs and Social Affairs announced that companies referred
                                                                              tried cases on victims’ behalf using their oral and written statements;
to the PPO on charges of visa trading, whereby a company fraudulently
                                                                              however, the government did not have privacy laws to protect victims
hires a worker for a fake position, would be required to cover all costs
                                                                              against potential retribution and often did not provide adequate care for
associated with sheltering and repatriating their registered employees;
                                                                              victims throughout the duration of legal proceedings. The government
however, the government did not report if this announcement was
                                                                              reported victims could obtain restitution from defendants in criminal
                                                                                                                              Haiti AR_000816              335
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 441 of 729
KUWAIT   cases and ﬁle suits against traffickers for damages, but most chose           during the year, and PAM reported it received 53 complaints through
         instead to settle their claims and return to their country of origin.         its hotline from January 2021 to November 2021, although it did not
         Media reported the government directed settlements in response to             report if it referred any calls for criminal investigation or prosecution as
         individual civil suits against employers, but the government did not          a potential trafficking crime. In comparison, one NGO also ran its own
         report the amount in civil damages or restitution paid out during the         hotline focused on labor exploitation, which received 4,808 calls and
         reporting period.                                                             391 inquiries through its online platform. In 2021, the NGO reported it
                                                                                       received a call from a female worker who stated that a relative of her
         PREVENTION                                                                    employer raped her and allegedly sold her to different employers; the
         The government maintained efforts to prevent human trafficking,               NGO coordinated with MOI’s anti-trafficking department to refer the
         although it did not take any new steps to reform the visa sponsorship         worker to her embassy for care.
         system, which continued to render migrant workers highly vulnerable to
                                                                                       In the previous reporting period, the Minister of the Interior announced
         exploitation, including trafficking. The National Committee, established in
                                                                                       the formation of an interagency task force to investigate employers and
         2018, did not convene during the reporting period; however, the working
                                                                                       recruiting companies that use deceptive techniques to lure migrant
         group within the committee tasked with implementing the government’s
                                                                                       workers to Kuwait through unenforceable contracts, fraudulent visas,
         anti-trafficking strategy and the NRM convened three times during the
                                                                                       and nonexistent positions, leaving these workers highly vulnerable to
         reporting period. The National Committee included representatives
                                                                                       trafficking; however, the government did not report on the actions of the
         from the Ministry of Justice, Ministry of Foreign Affairs, Ministry of
                                                                                       task force during the current reporting period. Officials commonly used
         Information, Ministry of Awqaf and Islamic Affairs, Ministry of Social
                                                                                       arbitration, which resulted in monetary compensation and repayment of
         Affairs, Ministry of Education, Ministry of Health, MOI’s Anti-Trafficking
                                                                                       back-wages to victims, administrative ﬁnes, and closure of recruitment
         Department and Residency Affairs Division, PAM, and the PPO. The
                                                                                       ﬁrms to resolve such cases. If a settlement could not be agreed upon,
         government reported that agencies tasked with combating trafficking,
                                                                                       officials referred the case to the labor courts. Although the withholding
         including those on the National Committee, continued to operate
                                                                                       of workers’ passports was prohibited under Kuwaiti labor law and the
         during the reporting period, although their operations were limited by
                                                                                       domestic worker law, the practice remained commonplace among
         pandemic restrictions, as most government entities remained staffed
                                                                                       visa sponsors and employers of foreign workers. During the year,
         at only 30 to 60 percent capacity. The government, in collaboration
                                                                                       DWED received 1,170 complaints of passport conﬁscation, resolved 407
         with an international organization, ﬁnancially supported and conducted
                                                                                       complaints by returning the passports, blacklisted 29 employers, and
         public awareness campaigns at shopping malls and the international
                                                                                       referred the remaining 734 to the labor courts; as of November 2021,
         airport to raise awareness of trafficking and warn against using illegal
                                                                                       189 cases of passport conﬁscation remained under review by the courts,
         labor recruitment companies. Various officials also took part in anti-
                                                                                       and the government did not report on the verdicts of these cases at the
         trafficking awareness messaging on local television, radio, and social
                                                                                       close of the reporting period. PAM did not report how many complaints
         media platforms. The government continued to disseminate pamphlets
                                                                                       of passport conﬁscation it received, resolved through arbitration, and
         to educate migrant workers on their rights, which were published in
                                                                                       referred to the labor courts or if any cases were referred to MOI for
         seven languages and disseminated in airports, embassies, and labor-
                                                                                       further investigation as a potential trafficking crime. The domestic
         recruitment agencies. In July 2021, the government, in coordination
                                                                                       worker law did not specify penalties for passport conﬁscation; however,
         with an international organization, reported it organized a campaign
                                                                                       DWED continued to treat the practice as a contractual violation and
         to raise awareness on trafficking during World Day Against Trafficking
                                                                                       a violation under the domestic workers law, which imposed penalties
         in Persons through an SMS campaign and questionnaire contest.
                                                                                       that blacklisted an employer for six months and referred the complaint
         In the last reporting period, PAM announced a collaborative program with      to the courts. However, the domestic worker law allowed employers
         the GSSCPD and two international organizations, entitled “Tamkeen,”           to take a worker’s passport with the approval of the domestic worker,
         which included the creation of an International Recruitment Integrity         which limited the effectiveness of the prohibition. Experts noted that
         System (IRIS), a voluntary accreditation mechanism that connects              because the anti-trafficking law did not include any article prohibiting
         employers, employees, and recruiters to promote ethical recruitment.          passport conﬁscation with criminal penalties, instances of this practice
         The government reported it continued to implement the Tamkeen                 remained pervasive in Kuwait and rendered many workers vulnerable
         initiative with the aim to digitize PAM’s labor ﬁles in order to make the     to exploitation, speciﬁcally trafficking.
         ﬁles trackable to prevent trafficking-related corruption and bribes by
                                                                                       The domestic worker law (Law 68/15) guaranteed domestic workers
         government officials and increase the transparency of the government’s
                                                                                       one day off per week, a maximum 12-hour workday with rest, minimum
         regulation of foreign worker recruitment. An international organization
                                                                                       wages paid per month, paid annual leave, end-of-service beneﬁts, and
         reported it provided training to the ﬁve private sector recruitment
                                                                                       access to ﬁle formal grievances at the MOI, among other protections.
         agencies licensed by PAM on ethical recruitment and IRIS. In December
                                                                                       The 2016 bylaws regulated implementation of this law. Amendments
         2021, PAM announced a new initiative to regulate the licenses and ﬁles
                                                                                       to the ministerial resolution of the 2010 labor law, passed in 2016,
         of recruitment companies under the auspices of a specialized team
                                                                                       increased penalties for non-payment of wages, made mandatory
         within PAM. PAM planned to screen commercial licenses to regulate
                                                                                       documentation of all paid wages, and required prison time and ﬁnes for
         the number of workers companies were allowed to hire—including for
                                                                                       employers and government officials who failed to adhere to provisions
         government contracts—to prevent companies from fraudulently hiring
                                                                                       of this law. Authorities continued to apply the amended provisions of
         large numbers of workers for fake positions or positions different than
                                                                                       the domestic worker law by building a monetary reserve to adjudicate
         contractually agreed upon. If violations occurred, PAM planned to
                                                                                       cases of labor law violations to pay unpaid wages and cover the costs
         suspend the company and refer it to court for legal action; however,
                                                                                       of repatriation. In November 2021, DWED reported it collected a total of
         PAM did not report what action it had taken to implement the new
                                                                                       42,216 KD ($139,790) from employers to pay unpaid or delayed wages
         initiative by the end of the reporting period.
                                                                                       back to workers since January 2021. For issuance or renewal of a license
         Authorities continued to employ the services of the government’s              for a domestic worker recruitment ﬁrm, it enforced the rule that single
         Mobile Labor Disputes Office to help workers in remote areas of the           offices must submit ﬁnancial deposits of 40,000 KD ($132,450) with a
         country ﬁle complaints against employers for labor law violations. The        two-year validity and larger companies to present a letter of guarantee
         mobile unit was run by an emergency team of investigators, inspectors,        worth 100,000 KD ($331,130). The DWED continued to investigate
         interpreters, lawyers, and volunteers. Officials also advertised to migrant   domestic worker recruitment agencies to ensure compliance with the
         laborers online services that allowed workers and employers to dock           2015 domestic worker law. In addition, it initiated investigations based on
         and track workplace issues electronically, receive alerts if an employer      grievances ﬁled by domestic workers, employers, recruitment offices and
         ﬁled an “absconding” charge, notify the respective source country             companies, and embassies of labor-source countries. The government
         embassy, and challenge legal settlements incurred. PAM maintained             arbitrated such grievances either through extrajudicial administrative
         a hotline and social media accounts to receive general workplace              proceedings or through the labor courts. The DWED also reported it could
         grievances and potential trafficking cases, while DWED had an email           refer suspected trafficking cases to the MOI for further investigation but
         address for the same purpose. Both hotlines remained operational              did not report doing so during the reporting period. From January to

 336                                                                                                                                Haiti AR_000817
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 442 of 729




                                                                                                                                                            KUWAIT
November 2021, DWED officials received 2,533 work-related complaints,          countries speciﬁc to domestic worker recruitment. The Commerce
resolved 1,154 in extrajudicial administrative proceedings, and referred       Ministry capped employer-paid recruitment fees to agencies to recruit
1,307 to the labor courts, while 72 remained pending. As of November           domestic employees at 890 KD ($2,950); a portion of the fee was
2021, the DWED conducted seven inspection campaigns of domestic                frequently illegally transferred from the employer to the domestic worker
worker recruitment ﬁrms that resulted in two violations against registered     through salary deduction or debt bondage. The government made
recruitment agencies, which were subsequently suspended from one               efforts to reduce the demand for commercial sex acts by continuing
to three months. DWED also reported identifying 17 fake recruitment            to enforce the law that makes prostitution illegal and by carrying out
offices (compared with six in 2020) and referred them to MOI for               raids on entities allegedly engaged in commercial sex practices. The
criminal investigation. Additionally, DWED suspended 13 recruitment            government provided annual anti-trafficking training for most of its
ﬁrms for three to six months for violation of the domestic worker law,         diplomatic personnel, but not all diplomats received training during
compared to 37 suspensions the previous year; officials did not report         the reporting period.
referring any of these for criminal investigation or prosecution. DWED
was not permitted to inspect the conditions inside employers’ homes            TRAFFICKING PROFILE
and could only inspect recruitment offices and companies, which                As reported over the past ﬁve years, human traffickers exploit foreign
limited the enforcement of the domestic workers law. An NGO noted              victims in Kuwait. Men and women migrate primarily from Bangladesh,
that accessibility to the DWED for domestic workers was limited, as            Egypt, India, Pakistan, the Philippines, Sri Lanka, and other countries in
there was an expectation a worker needed to physically travel to the           South and Southeast Asia and the Middle East to work predominantly
department to ﬁle a complaint. Domestic workers who did not have               in the service, sanitation, construction, transportation, hospitality, and
the freedom to leave their employer’s home may not have been able              domestic service sectors, with the vast majority arriving voluntarily.
to ﬁle a complaint with the government against their employer during           Unskilled laborers and female domestic workers are especially vulnerable
the reporting period, rendering them vulnerable to further exploitation,       to forced labor and physical and sexual abuse as they often have limited
including trafficking.                                                         access to assistance outside their worksite or employer’s home. In some
                                                                               cases, limited access to assistance is due to the absence of diplomatic
Separately, as of November 2021, PAM received 21,473 official grievances
                                                                               representation in Kuwait, especially for undocumented workers who
from foreign migrant workers, the most common of which included pay
                                                                               need consular services. In October 2018, Kuwait and India signed an
discrepancies, denied requests to transfer employers after the required
                                                                               agreement on broader protections for domestic workers that resulted
three years with a visa sponsor, and disputes regarding overtime pay
                                                                               in the end of India’s 2014 ban on Indian female domestic workers
issuances, a signiﬁcant increase compared with 10,498 complaints
                                                                               working in Kuwait. However, as conditions for many remain perilous,
received in 2020. Authorities reported they resolved 412 cases directly
                                                                               numerous labor-source countries, including Bhutan, Burundi, Burkina
through arbitration, referred 6,139 complaints to the courts, referred 119
                                                                               Faso, Cameroon, Chad, Cote d’Ivoire, Democratic Republic of the Congo,
companies to either the PPO or MOI, and issued administrative penalties
                                                                               Djibouti, Ethiopia, Ghana, Guinea, Guinea-Bissau, Indonesia, Kenya,
to 2,929 companies for committing labor violations. Additionally, PAM
                                                                               Madagascar, Malawi, Niger, Nigeria, Senegal, Sierra Leone, Tanzania,
identiﬁed hundreds of companies that engaged in fraudulent practices by
                                                                               Togo, Uganda, and Zimbabwe, continue to restrict their female nationals
sponsoring workers yet failed to provide legitimate employment. Local
                                                                               from domestic employment in Kuwait. The Kuwaiti government has
media reported from March 2020 to September 2021, the government
                                                                               continued its recruitment of domestic workers from African labor-source
closed 800 fake companies for visa trading, but the government did
                                                                               countries, and many workers continue to defy the respective bans by
not report whether it referred any of the company owners for criminal
                                                                               transiting through third countries before arrival in Kuwait.
investigation or prosecution. However, in June 2021, media reported
the Court of Appeals sentenced a business owner to seven years’                Upon arrival, some visa sponsors subject migrants to forced labor
imprisonment for bringing migrant workers from abroad to work on               and, to a much lesser extent, sex trafficking, through the following
a fraudulent government project. PAM continued to utilize the crisis           illegal measures: non-payment of wages, protracted working hours
and emergency teams in addition to the existing inspection teams to            contrary to contractual agreements, deprivation of food, substandard
monitor the conditions of expatriate workers during the pandemic. In           housing, threats or harassment, physical or sexual abuse, and restrictions
December 2020, PAM announced that it would no longer conceal the               on movement, such as conﬁnement to the workplace and passport
types of violations and crimes by companies found guilty of trafficking        conﬁscation. Although unlawful under Kuwaiti private sector labor law
by removing obscure codes for 10,000 companies’ ﬁles and replacing             and the domestic worker law, passport withholding by employers is
the codes with clear information on their violations and crimes, such          pervasive in Kuwait and is usually undertaken to prevent a worker from
as violating workers’ rights, failure to pay salaries, and visa trading. The   ﬂeeing to another position, exercise control over an employee’s conduct,
government reported that this information would eventually become              or compel a worker to remain in a job through coercive conditions that
accessible to the public via a website.                                        may violate contract terms, such as working long hours without rest
                                                                               days or adequate breaks. Furthermore, many migrant workers pay
In adherence to the labor law regulating employment of domestic
                                                                               exorbitant fees to recruiting agents in their countries of origin and/or
workers, the government’s centralized recruitment company, Al-Durra,
                                                                               are coerced into paying labor broker fees in Kuwait in contravention
worked to reduce recruitment costs, curb illegal recruitment fees,
                                                                               of Kuwaiti law stating fees should be paid by the recruitment agency
provide greater oversight of recruiting practices, hire male domestic
                                                                               or employer in Kuwait, thereby plausibly rendering workers vulnerable
workers, and secure labor agreements for female employees. However,
                                                                               to forced labor, including debt bondage. Visa trading continues to be a
Al-Durra stopped recruiting domestic workers in early 2020 due to
                                                                               common manifestation of trafficking in Kuwait, and illicit visa trading
pandemic-related shutdowns and had not resumed recruiting at the
                                                                               markets increasingly expanded into social media in 2020 and continued
close of the reporting period. In 2019, Al-Durra stopped working with
                                                                               during the current reporting period. In 2021, local media reported
expatriate employers after complaints suggested the mechanism was
                                                                               nursing companies traded residency permits of dozens of nurses without
established to help Kuwaitis and was subsequently made available for
                                                                               their approval and required the nurses to pay upwards of 4,530 KD
Kuwaiti citizens only. The most common nationalities hired previously
                                                                               ($15,000) to remain in Kuwait. In some cases, officials do not provide
through Al-Durra included those from the Philippines, India, Sri Lanka,
                                                                               workers copies of their contracts, or the contracts are not written in a
and Burkina Faso; Al-Durra only recruited domestic workers from
                                                                               language they can read. Some illegal labor recruiting companies facilitate
countries with which it had a memorandum of understanding (MOU).
                                                                               trafficking through the use of deceptive techniques to bring in migrant
Al-Durra reported in cases where a domestic worker suffered abuse or
                                                                               workers on the basis of unenforceable contracts, fraudulent visas, and
maltreatment from an employer, the agency ﬁled a complaint against the
                                                                               nonexistent positions. Some officials allegedly take bribes or overtly
employer and reported the complaint to the “competent authorities.”
                                                                               sell work permits to illegal labor recruiting companies or directly to
Kuwait maintained its agreement with the Philippine government to
                                                                               migrant workers. Civil society groups, press outlets, and members of
regulate the recruitment and employment of Filipino domestic workers
                                                                               parliament called for the government to increase its efforts to protect
in Kuwait to better safeguard their legal protections. Separately from
                                                                               victims and punish traders and their enablers. As in most countries,
Al-Durra, private recruitment agencies operated in Kuwait, and the
                                                                               Cuban nationals working in Kuwait may have been forced to work by
government also maintained agreements with several other labor-source
                                                                               the Cuban government.
                                                                                                                               Haiti AR_000818              337
                      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 443 of 729
KYRGYZ REPUBLIC   Kuwait’s sponsorship law, which ties a migrant worker’s legal residency        majority of ministries responsible for implementing the national referral
                  and valid immigration status to their employer, restricts workers’             mechanism (NRM); continuing efforts to repatriate dozens of vulnerable
                  movements and penalizes them for leaving abusive workplaces. Despite           Kyrgyzstani children from potentially exploitative circumstances in armed
                  a 2016 reform that allows private sector workers to transfer visa sponsors     conﬂict zones in Iraq and Syria; and with support from an international
                  without employer permission after three years of consecutive service           organization, developing and conducting anti-trafficking training for
                  and with three months’ notice to the employer, employers and recruiters        police and prosecutors. However, the government did not meet the
                  are also known to illegally charge workers for transferring a visa or          minimum standards in several key areas. The government decreased
                  residency permit from one sponsor to another. Moreover, workers                investigations and prosecutions and did not secure convictions of any
                  routinely leave their original sponsors and take other jobs without            traffickers—including cases that involved complicit officials. Authorities
                  transferring sponsorship, risking being ﬁned, deported, or blacklisted         relied heavily on international organizations for victim identiﬁcation
                  for falling out of legal residency status, increasing their vulnerability to   and service provision.
                  trafficking. During the reporting period, reports of employers allegedly
                  selling their workers to other employers on social media and online
                                                                                                         KYRGYZ REPUBLIC TIER RANKING BY YEAR
                  platforms like Instagram, Twitter, Facebook, WhatsApp, and Haraj
                                                                                                     1
                  increased. Domestic workers are particularly vulnerable to forced labor
                  inside private homes. Many workers report experiencing work conditions             2
                  substantially different from those described in the contract. In addition,       2WL
                  sources report domestic workers who ﬂee their abusive employers are
                                                                                                     3
                  sometimes exploited in sex trafficking by recruitment agents or criminals,               2015      2016      2017     2018    2019   2020   2021   2022
                  who utilize the worker’s undocumented status to ensure workers will not
                  report illegal activity to authorities. Due to the pandemic, many migrant
                  workers were dismissed from employment and temporarily stranded
                  in Kuwait due to travel restrictions and expensive ﬂights without any          PRIORITIZED RECOMMENDATIONS:
                  means of support, rendering them undocumented and heightening their            Respecting due process, investigate and, when sufficient evidence exists,
                  risk to trafficking. Others faced increased risk of abuse by employers as      criminally prosecute, convict, and sentence traffickers with adequate
                  curfews and lockdowns left them conﬁned to their employer’s homes. In          prison terms, including complicit government officials. • Increase
                  the previous reporting period, the government established two separate         trafficking-speciﬁc training for law enforcement, including in properly
                  amnesty campaigns for undocumented workers between March and                   charging crimes that meet that trafficking deﬁnition—including by
                  May 2020 and between December 2020 and February 2021. The ﬁrst                 contributing to the efforts of international organizations to train police,
                  campaign allowed residency violators to return home without paying             prosecutors, and judges. • Continue to ﬁnalize, approve, train officials
                  overstay ﬁnes and provided free airline tickets, and the second allowed        on, and implement SOPs for the NRM. • Increase efforts to proactively
                  undocumented workers the opportunity to legalize their stay or leave the       identify trafficking victims, particularly among such vulnerable groups
                  country (by paying ﬁnes for both options) without being blacklisted in         as individuals in commercial sex; LGBTQI+ individuals; women and girls
                  the future if the worker wanted to return to Kuwait. Since March 2020,         subjected to traditional forced marriage practices and who are victims of
                  the government halted the issuance of new work permits of domestic             violence; Kyrgyzstani migrant workers (returned and abroad), including
                  workers, and in January 2021, the MOI announced it would begin issuing         their families; and People’s Republic of China (PRC) nationals employed
                  new work permits to domestic workers; however, most new work permits           at worksites affiliated with the PRC’s Belt and Road Initiative (BRI), as
                  were issued only to workers from India, the Philippines, and Sri Lanka.        well as within increasingly vulnerable internet recruitment channels. •
                  At the close of the reporting period, the government had not yet begun         Develop mechanisms to prevent trafficking of returned migrants and
                  issuing new domestic worker permits to other countries’ nationals. The         families that depend on remittances, including by coordinating with
                  governments’ amnesty campaigns, coupled with the limited number                international organizations and civil society. • Ensure foreign victims of
                  of new domestic worker permits being issued and the outﬂow of                  trafficking are identiﬁed and referred to victims’ services. • Continue to
                  documented and undocumented workers due to the pandemic, caused                collaborate with, and provide ﬁnancial or in-kind support to, civil society
                  a domestic worker shortage in Kuwait. Between December 2020 and                organizations assisting victims. • Implement child-sensitive investigation
                  December 2021, the government reported at least 60,000 domestic                and prosecution procedures for cases in which children may be human
                  workers departed the country. Furthermore, due to shortages in the             trafficking victims. • Establish and implement a comprehensive anti-
                  domestic labor market, the last two reporting periods have seen an             trafficking data collection system for use by law enforcement and
                  increase in press reports in which employers physically prevented their        inter-ministerial coordinating bodies. • Eliminate the imposition of
                  domestic workers from leaving the country or transferring to another           all employee-paid recruitment fees on Kyrgyzstani migrant workers.
                  employer. The use of fraudulently obtained visas and fake work permits
                  remains common. The current reporting period saw more sit-ins and              PROSECUTION
                  protests by employees who had been subcontracted to work for Kuwaiti           The government decreased law enforcement efforts. Articles 166 and
                  ministries or companies than in 2020, but not as many as prior to the          170 of the new criminal code criminalized sex trafficking and labor
                  pandemic. These employees alleged their wages were withheld for                trafficking and prescribed penalties of three to ﬁve years’ imprisonment,
                  up to several months by contractors and the respective officials and           which were sufficiently stringent and, with regard to sex trafficking,
                  company representatives ignored their grievances.                              commensurate with those prescribed for other serious crimes, such as
                                                                                                 kidnapping. During the reporting period, Article 167 on trafficking of
                                                                                                 children was added to the criminal code, and it prescribed imprisonment
                                                                                                 for a term of ﬁve to eight years. Prosecutors could also charge traffickers
                   KYRGYZ REPUBLIC: TIER 2                                                       using Article 159 for engaging a person in prostitution through the use
                                                                                                 of force or the threat of force or fraud, which was punishable by a ﬁne
                                                                                                 or imprisonment of up to ﬁve years if the victim was an adult and ﬁve
                  The Government of the Kyrgyz Republic (or Kyrgyzstan) does not fully
                                                                                                 to 10 years’ imprisonment under aggravating circumstances, including
                  meet the minimum standards for the elimination of trafficking but is
                                                                                                 the involvement of children. It had been previously reported that
                  making signiﬁcant efforts to do so. The government demonstrated
                                                                                                 investigators frequently downgraded trafficking crimes to lesser charges
                  overall increasing efforts compared to the previous reporting period,
                                                                                                 to ease investigation and prosecution, which lead to lesser penalties.
                  considering the impact of the COVID-19 pandemic on its anti-trafficking
                  capacity; therefore the Kyrgyz Republic remained on Tier 2. These efforts      During the calendar year, the government initiated investigations of
                  included identifying more victims than the previous reporting period;          six trafficking cases, including one sex trafficking case and ﬁve forced
                  updating the criminal code to state that victims should be released from       labor cases under Articles 166 and 170—compared with 40 cases in
                  criminal liability from minor crimes committed as trafficking victims;         2020, including 24 sex trafficking cases and 16 forced labor cases, and
                  ﬁnalizing and adopting standard operating procedures (SOPs) for the            eight cases in 2019, including one sex trafficking case and seven forced

   338                                                                                                                                            Haiti AR_000819
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 444 of 729




                                                                                                                                                               KYRGYZ REPUBLIC
labor cases. The government also reported the continuation of seven             prosecutions or convictions of government employees complicit in
ongoing investigations from the previous reporting period (two for sex          trafficking crimes.
trafficking and ﬁve for forced labor). As in prior years, courts continued
to investigate trafficking cases under statutes for lesser crimes. The          PROTECTION
government did not prosecute or secure convictions in any sex trafficking       The government increased efforts to protect victims. The government
or forced labor cases during the reporting period, compared with three          reported identifying ﬁve victims during the reporting period—four
prosecutions and convictions in the previous reporting period. In previous      female victims of sex trafficking and one male victim of forced labor.
years, some prosecutions initiated under Articles 166 and 170 featured          In addition, an NGO reported identifying, in cooperation with the
elements that were inconsistent with the deﬁnitions of trafficking as           government, ten orphans who became victims of forced labor; of these,
established in international law, such as the sale of infants. In June 2021,    all victims received services from the NGO, and three victims were
authorities conducted an operation that investigated saunas in Bishkek          referred to Pro bono legal services. This compared with the government
and Osh to address sex trafficking; authorities reported that 63 different      not reporting any victims identiﬁed during the previous reporting
crimes were uncovered during the enforcement operations but did not             period. International organizations and NGOs reported identifying
indicate if human trafficking was included.                                     42 victims—seven sex trafficking victims and 35 forced labor victims.
                                                                                International organizations and NGOs reported providing services to
The Kyrgyz Republic’s NRM, promulgated in 2019, allowed civil society
                                                                                35 victims—eight women and 27 men.
and international organizations to ﬁle criminal complaints on behalf of
victims; however, the government did not report if this provision was           The NRM was adopted in 2019, and it established formal policies on
implemented during the reporting period. In previous years, victim              victim identiﬁcation and referral to care, provision of social services,
advocates reported a general lack of proactive investigation, particularly      and protection of victims’ personal data, and it did not require victims
of cases in which the victims did not self-report speciﬁc complaints. NGO       to participate in a criminal case to receive assistance. It also included
contacts reported that trafficking laws were not equitably enforced and         provisions that addressed the treatment and proper provision of
noted that there was no practical mechanism to ensure foreign victims           assistance to children. The government diverted attention and resources
could report trafficking cases to law enforcement. In previous years,           to address the pandemic, which contributed to delays in efforts to ﬁnalize
civil society continued to report the need for systemic training for law        and implement SOPs for the NRM. Despite these delays, ﬁve out of eight
enforcement, prosecutors, and judges, particularly on how to identify           ministries responsible for implementing the NRM, the Ombudsman’s
victims, work with them as witnesses, and gather evidence beyond victim         Office, Border Guard Services, and some local administrations ﬁnalized
testimony. According to authorities, inexperienced and poorly trained           and adopted SOPs during the reporting period, which include victim
investigators charged crimes that met the deﬁnition of trafficking as           referral procedures in line with the NRM. According to an IO, victim
lesser crimes in the past. Courts may have improperly dismissed some            identiﬁcation procedures were implemented in accordance with the NRM
trafficking cases on the basis of insufficient evidence, including several      during the reporting period, such as screening of vulnerable populations,
cases of child sex trafficking. The government, in conjunction with             including members of underserved communities. However, civil society
international donors and civil society partners, continued to conduct and       reported the NRM lacked speciﬁc measures outlining assistance for
participate in training sessions on improving international anti-trafficking    foreign victims and did not feature language explaining how NGOs could
cooperation, investigative and prosecutorial best practices, and provision      appeal in instances when the government failed to properly identify
of legal assistance to victims. Authorities did not provide data on the total   victims; foreign nationals, such as Tajiks and Uzbeks, were less likely
number of officials participating in these training events, but at least 150    to be identiﬁed as victims of forced labor and referred for services.
prosecutors and investigators beneﬁted from joint Prosecutor General’s          Authorities did not take steps to monitor PRC workers for forced labor
Office (PGO) and Ministry of Internal Affairs (MVD) trainings funded            indicators that are common at BRI infrastructure and mining projects.
by an IO. During the reporting period, the government, with support             The government trained law enforcement officials on the 2019 NRM
from an IO, assigned judges to serve as trainers for adjudication and           during the reporting period, but NGOs have ascribed the government’s
sentencing in mock-trials. In collaboration with an IO, the government          insufficient victim identiﬁcation to enduring capacity constraints. Absent
conducted training for law enforcement, prosecutors, labor inspectors,          sufficiently systematized procedures, some police demonstrated ad hoc
and social service providers on the NRM and improving coordination              efforts to screen and refer potential victims identiﬁed in enforcement
in anti-trafficking efforts. Authorities partnered with an international        operations, but they did not provide relevant data. The government
organization to develop online courses on detection, investigation,             continued to grant limited ﬁnancial and in-kind support to two NGO-run
prosecution, and adjudication of cases and treatment of victims. The            crisis centers that provided services for trafficking victims in Bishkek
government made revisions to the Criminal Procedure Code to include             and Osh; the crisis center in Bishkek provided services to two trafficking
Article 520 on conducting procedural actions by means of video and              victims during the reporting period (compared to zero in 2020 and nine
Article 521 on the establishment and activities of joint investigative          in 2019). The government did not have a policy to provide long-term
and operational groups, which became effective in December 2021, to             shelter or residency options for foreign victims. Authorities did not report
facilitate international cooperation on joint investigations regarding          providing any consular or repatriation assistance to Kyrgyzstani victims
transborder crimes.                                                             identiﬁed abroad. The government did not report any repatriations of
                                                                                foreign trafficking victims during the reporting period, compared with
Corruption and official complicity in trafficking crimes remained
                                                                                one foreign victim repatriated in 2019 and 29 in 2018. The government
signiﬁcant concerns, inhibiting law enforcement action during the
                                                                                took steps to repatriate 79 highly vulnerable children born to Kyrgyzstani
year, with law enforcement officials and judges accepting bribes to
                                                                                nationals who had traveled alongside relatives to armed conﬂict zones
drop cases and, at times, warning suspects prior to law enforcement
                                                                                in Iraq and Syria; however, observers noted authorities at times did
operations in recent years. Media reports noted that stigmatization
                                                                                not demonstrate sufficient political will to repatriate adult Kyrgyzstani
and a corrupt law and justice system were the main reasons individuals
                                                                                nationals (including ethnic Uzbek Kyrgyzstani nationals), some of
did not seek assistance from or report to authorities. International
                                                                                whom reportedly experienced conditions indicative of sex trafficking
organization experts have noted widespread impunity and lack of
                                                                                or forced labor, from refugee camps in these and other conﬂict areas.
effective prosecution. Traffickers were reportedly also able to avoid
                                                                                Kyrgyzstani consular authorities in Russia reportedly identiﬁed two
punishment by offering victims payment to drop cases in prior years.
                                                                                potential Kyrgyzstani trafficking victims detained by Russian law
The PGO reported that some cases initiated in the preceding reporting
                                                                                enforcement for drug crimes; the potential victims remained in detention
period were closed during this reporting period because victims did
                                                                                at the end of the reporting period.
not want to cooperate with law enforcement and the PGO, due to
mistrust and fear of repercussions. The judicial system continued to            Victims remained highly vulnerable to pressure from traffickers to
feature widespread corruption; during the previous reporting period,            withdraw their complaints or settle cases informally; MVD’s witness
the government began investigating two law enforcement officials for            protection unit reported assisting trafficking victims but provided no
potentially facilitating an unspeciﬁed trafficking crime; the MVD reported      additional details. Since 2019, investigative judges have had the ability
no progress on the investigations. The government did not report any            to receive victim testimony outside of court, or electronically over video
                                                                                calls; however, there was no evidence that victims beneﬁtted from this
                                                                                                                                  Haiti AR_000820              339
                      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 445 of 729
KYRGYZ REPUBLIC   provision in the last two reporting periods, despite an increase in the      a mobile phone application for Kyrgyzstani migrants with information
                  use of remote technologies for judicial processes during the pandemic.       on workers’ rights and contact telephone numbers, including anti-
                  Government-provided attorneys reportedly lacked knowledge on                 trafficking hotlines and local Kyrgyzstani embassies. The Ministry of
                  handling trafficking cases. The government did not maintain or implement     Foreign Affairs maintained satellite offices in Russia, which continued
                  child-sensitive procedures for the investigation or prosecution of cases     to be the primary destination country for Kyrgyzstani labor migrants.
                  involving child victims. Reports indicate female victims of violence         During the reporting period, and consistent with previous years, the
                  faced multiple barriers to accessing services and justice due to lack of     government worked with international donors to create online awareness
                  response from authorities, shame, and harmful stereotypes and practices,     materials and hold consultations on the risks of irregular migration
                  which were compounded by a lack of shelters and other services. The          for thousands of prospective Kyrgyzstani migrant workers. Unlike the
                  government reported that individuals convicted of involvement in child       previous year, the government did not report providing anti-trafficking
                  sex trafficking were ordered to compensate a victim during the reporting     guidance for its diplomatic personnel. The government did not train its
                  period. A note was added into Article 166 of the criminal code during        nationals deployed abroad on peacekeeping or other similar missions
                  the reporting period explicitly exempting victims from criminal liability    on trafficking. The government did not report making efforts to reduce
                  for low-level criminal acts they committed as trafficking victims. Due to    the demand for commercial sex acts.
                  a lack of formal identiﬁcation procedures as part of law enforcement
                  operations on commercial sex establishments, authorities may have            TRAFFICKING PROFILE
                  detained, arrested, or deported some unidentiﬁed victims.                    As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                               and foreign victims in the Kyrgyz Republic, and they exploit victims
                  PREVENTION                                                                   from the Kyrgyz Republic abroad. Adult male labor migrants working
                  The government increased efforts to prevent trafficking. The State           abroad are reportedly at the highest risk of trafficking. Kyrgyzstani
                  Migration Service (SMS), which formerly led the anti-trafficking             men, women, and children are exploited in forced labor in Russia and
                  interagency working group and served as the national prevention              Kazakhstan, and to a lesser extent in Turkey, Ukraine, Georgia and other
                  coordinating body, was disbanded in February 2021 as part of a               European countries, as well as within the Kyrgyz Republic—speciﬁcally in
                  government restructuring initiative. In November 2021, the government        agriculture, construction, textiles, domestic service, and childcare. As a
                  designated the Ministry of Labor, Social Welfare and Migration (MOL)         result of a Russian labor migrant re-entry ban applicable to migrants who
                  as the anti-trafficking national coordinating body. However, trafficking     allegedly violated Russian laws, currently 76,000 thousand Kyrgyzstani
                  experts noted that the MOL lacked capacity to carry out these                migrants are unable to return legally to Russia for work. Kyrgyzstani
                  responsibilities; the MOL hired the former SMS trafficking in persons        families on the Russian blacklist often send their children to work in
                  lead to continue serving in the same role. The MOL ﬁnalized the 2022-        Russia, where they are vulnerable to trafficking. Fearing this blacklist,
                  2025 National Action Plan (NAP) and sent it to the Cabinet of Ministers      some unemployed Kyrgyzstani migrant workers likely remain in Russia
                  for review and consideration for adoption, which remained pending by         under irregular immigration status rather than returning home; traffickers
                  the end of the reporting period. The government reported there were          may then be able to leverage threats of deportation as a coercive tool to
                  delays in ﬁnalizing the NAP due to disruptions between the disbanding        secure and retain their forced labor or to compel them into sex trafficking.
                  of the SMS and designating the MOL as the new anti-trafficking lead.         Young men and women from rural areas and poor families, children in
                  The government received input from international organizations and           the child welfare system, and orphans are at high risk for sex trafficking.
                  NGOs while drafting of the NAP. The interagency working group,               As Russia’s economic situation continues to deteriorate, Kyrgyzstani
                  established in 2019 to bring local state, non-state, and international       migrants in Russia (more than half of whom are women) may be left
                  actors together to accelerate implementation of the NRM and improve          vulnerable to trafficking, and some may be compelled to return to the
                  law enforcement investigations of trafficking cases, did not report          Kyrgyz Republic, primarily to the country’s poorest regions, or potentially
                  meeting during the reporting period. The government cooperated               be encouraged to seek job opportunities in other countries, increasing
                  with international organizations and NGOs and continued to conduct           their risk for trafficking. Widespread unemployment and economic
                  awareness campaigns that reached thousands of people throughout              hardship among Kyrgyzstani migrant workers in Russia following the
                  the country, including vulnerable youth. In July 2021, the government, in    pandemic-related closure of businesses and work sites have led to a
                  cooperation with civil society and an international organization, launched   signiﬁcant drop in earned income and remittance transfers, leaving
                  the annual “100 days against Trafficking in Persons” campaign, which         these migrant workers and their families in the Kyrgyz Republic more
                  promoted the implementation of the NRM. The government lacked a              vulnerable to trafficking—the ﬂuctuations in the value of the ruble and
                  uniform system of collecting data on its anti- trafficking efforts, which    the current economic crisis in Russia have continued to exacerbate
                  continued to hinder effective self-evaluation. According to a labor          these vulnerabilities.
                  union representative, the government continued politically-motivated
                                                                                               Observers noted a pronounced increase in the use of online recruitment
                  harassment of labor union activists.
                                                                                               channels by trafficking syndicates during the pandemic. International
                  The government, with the support of an IO, continued to operate the          organizations have expressed concern with victims forced to perform
                  Center for Employment of Citizens Abroad, under MOL, that provided           sex acts on webcams; webcam workers sometimes become victims of
                  an unknown number of individuals with information on employment              blackmail, rape, and doxing, which puts them at high risk of trafficking.
                  services, vacancy advertisements, and licensed foreign labor recruitment     Sex traffickers exploit Kyrgyzstani women and girls abroad, reportedly in
                  agencies; it carried out awareness-raising activities on safe migration      India, Kazakhstan, Russia, South Korea, Turkey, the United Arab Emirates
                  and legal employment of citizens abroad and offered pre-departure            (UAE), and within the country. Women and underage teenaged girls
                  orientation—which included trafficking prevention—for jobseekers.            from Uzbekistan and Tajikistan may be exploited in sex trafficking;
                  The government maintained a publicly available database of private           the southern region of the Kyrgyz Republic is increasingly becoming
                  employment agencies with information on agencies licensed by the             a destination area for Uzbekistani and Tajikistani citizens who are
                  government. By law, recruitment agencies could charge a maximum              exploited by sex and labor traffickers. Some men and women from
                  pre-departure fee of 1,000 Kyrgyzstani soms ($12) to Kyrgyzstani             Uzbekistan, Tajikistan, and Turkmenistan transit the country as they
                  migrant workers seeking employment overseas. The government                  migrate to Russia, Kazakhstan, the UAE, and Turkey, where they may
                  maintained a safe migration and counter-trafficking hotline that received    be exploited in sex and labor trafficking. PRC nationals employed at
                  15,000 calls from January 2021 to January 2022, but it did not report        mining and construction projects under the auspices of the BRI within
                  how many calls were related to trafficking, though one call resulted         the Kyrgyz Republic experience conditions indicative of forced labor.
                  in the identiﬁcation of a trafficking victim. The hotline is staffed by
                                                                                               Within the Kyrgyz Republic, the practice of “bride kidnapping” by
                  two operators and one lawyer who provides legal advice to migrants.
                                                                                               Kyrgyzstani men continues to place women and girls at risk of forced
                  The government reported conducting 39 labor inspections, including
                                                                                               marriage that may subsequently lead to sex trafficking and forced labor.
                  some unannounced inspections; however, officials did not report these
                                                                                               Cases of violence against women have drastically increased in the Kyrgyz
                  inspections resulting in the identiﬁcations of trafficking crimes. NGOs
                                                                                               Republic—along with obstacles to accessing justice and services—and
                  noted the government did not prioritize labor inspections during
                                                                                               may drive victims to seek and accept unsafe employment opportunities,
                  2021. The government continued to run, with the support from an IO,
   340                                                                                                                                      Haiti AR_000821
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 446 of 729




                                                                                                                                                                 LAOS
which can then be exploited by traffickers. Unaccompanied children who          PRIORITIZED RECOMMENDATIONS:
engage in begging and children engaged in domestic work—often in                Continue to increase efforts to disseminate, implement, and train
the homes of extended family members—are vulnerable to traffickers.             police and border officials on the national victim protection and
Some Kyrgyzstani children are vulnerable to forced labor in agriculture         referral guidelines. • Proactively screen for trafficking indicators
and animal husbandry; NGOs noted that the number of children working            among vulnerable groups, including Lao and foreign workers on large
in agriculture increased with weak economic conditions due to the               infrastructure, mining, and agricultural projects, to include projects
pandemic in 2021. Children with disabilities are at high risk of trafficking.   affiliated with the People’s Republic of China (PRC) Belt and Road
Kyrgyzstanis were forced to smuggle drugs, as revealed by an ongoing            Initiative (BRI), as well as Lao communities displaced by these projects;
case in Russia reported by the Kyrgyz government, and according to local        Lao and foreign nationals employed in SEZs; Lao labor migrants returning
NGOs. Some members of the Kyrgyz Republic’s LGBTQI+ communities                 from work abroad through border crossings; and Lao and foreign women
may be more vulnerable to trafficking. Pervasive social stigma and              and girls discovered during police raids of nightclubs, karaoke bars, and
reports of police brutality against LGBTQI+ individuals attempting              other establishments that facilitate commercial sex. • Increase efforts to
to report crimes may also dissuade LGBTQI+ trafficking victims from             proactively identify and provide protection services to men, boys, and
accessing justice. International organizations and NGOs report some             LGBTQI+ victims of forced labor and sex trafficking. • Train members of
Kyrgyzstani men and boys who travel to Syria, Iraq, and Afghanistan to          the central and provincial COVID-19 Task Forces, especially personnel
ﬁght alongside or seek employment within armed groups—including                 involved in processing returning migrants, on victim identiﬁcation and
some who are recruited with false promises of job offers in Turkey or           referral procedures. • Further train law enforcement officials at the
elsewhere—are subsequently compelled to remain against their will;              national and local level on the Lao Penal Code to improve their ability
are subjected to forced labor in cooking, cleaning, and portering, as           to investigate, prosecute, and convict traffickers, including complicit
well as combatant roles; and/or are forced to suffer sexual slavery.            officials, those operating within SEZs, and child sex tourists. • Publicize
Kyrgyzstani women and children traveling with these individuals, at             and adequately staff all available government anti-trafficking hotlines
times under deception, are also vulnerable to sex trafficking and forced        and train staff on victim identiﬁcation and referral. • Increase trafficking
labor on arrival; some are reportedly placed alongside other Central            investigations, prosecutions, and convictions. • Further reduce barriers
Asian family members in makeshift camp communities, where their                 to formal labor migration to reduce the vulnerability of migrant workers,
travel and identity documentation is conﬁscated and their freedom of            including by eliminating worker-paid recruitment fees. • Continue to
movement is restricted. Some of these women report having lost their            strengthen efforts at diplomatic missions overseas to identify and assist
husbands to armed conﬂict, after which their economic hardships and             Lao victims of sex and labor trafficking.
conﬁnement in the camps make them vulnerable to coercive local
marriages that may subsequently lead to sex trafficking or forced labor.        PROSECUTION
                                                                                The government increased law enforcement efforts. Article 215 of
                                                                                the penal code criminalized sex trafficking and labor trafficking and
                                                                                prescribed penalties of ﬁve to 15 years’ imprisonment and a ﬁne of 10
 LAOS: TIER 2                                                                   million to 100 million Lao kip ($899 to $8,970); if the crime involved a
                                                                                child victim, the ﬁne range increased to 100 million to 500 million Lao
The Government of Laos does not fully meet the minimum standards                kip ($8,970 to $44,850). These penalties were sufficiently stringent and,
for the elimination of trafficking but is making signiﬁcant efforts             with regard to sex trafficking, commensurate with those prescribed for
to do so. The government demonstrated overall increasing efforts                other serious crimes, such as rape.
compared to the previous reporting period, considering the impact               The closure of many courts and judicial offices during a series of national
of the COVID-19 pandemic on its anti-trafficking capacity; therefore            pandemic-related lockdowns constrained the government’s ability to
Laos remained on Tier 2. These efforts included investigating and               carry out some investigative and enforcement work in 2021. Despite these
referring to prosecutors signiﬁcantly more suspected traffickers and            obstacles, the Anti-Trafficking Department (ATD) within the Ministry of
training more law enforcement officers on anti-trafficking laws than in         Public Security investigated 39 potential cases of trafficking involving
2020; conducting new awareness-raising activities in areas with high            77 suspected perpetrators from January to December 2021 (compared
trafficking prevalence; increasing victim repatriation among both Lao           with 21 cases involving 43 perpetrators in 2020). Of these 39 cases,
and foreign nationals; and initiating and implementing new oversight            police completed the investigation of and referred to the Office of the
and protection measures within highly vulnerable special economic               Supreme People’s Prosecutor (OSPP) 25 cases involving an unspeciﬁed
zones (SEZs). However, the government did not meet the minimum                  number of suspected traffickers (compared with 10 cases involving 20
standards in several key areas. Authorities did not evenly apply victim         suspected traffickers in 2020). Unlike the previous year, none of these
identiﬁcation and referral procedures when conducting health screenings         cases appeared to involve fraudulent marriage; authorities did not
for the many thousands of Lao migrant workers who returned from                 provide further disaggregated case information on types of trafficking.
abroad during the pandemic or among vulnerable workers at foreign-              The OSPP submitted 21 of the 25 cases for prosecution, returned one
owned rubber and banana plantations, foreign-invested infrastructure            case to provincial security officials for further investigation, and rejected
construction sites, or garment factories known for trafficking indicators.      one case; two cases remained with investigators. Authorities initiated
Victim protection services were disproportionately unavailable to male          court proceedings in 13 of the cases, seven of which culminated in the
victims of trafficking and members of LGBTQI+ communities. Anti-                conviction of 10 traffickers (compared with 11 traffickers convicted in
                                                                                ﬁve cases in 2020); the government did not disaggregate convictions
trafficking awareness and capacity among border officials in key transit
                                                                                by type of trafficking or provide sentencing data, unlike in 2020.
areas remained low despite ongoing government training initiatives.
                                                                                Authorities noted difficulties conducting investigations at worksites
                                                                                affiliated with the BRI, under which many Lao workers remained
        LAOS TIER RANKING BY YEAR                                               vulnerable to forced labor in 2021. However, the government took some
    1                                                                           initial steps to hold potential traffickers accountable in response to public
    2                                                                           outcry over working conditions in at least one such site. In April 2021,
  2WL                                                                           authorities arrested and charged the absconded PRC national owner of
                                                                                a local cement plant for refusing to pay months’ worth of contractual
    3
                                                                                wages to hundreds of Lao employees—a common forced labor indicator
          2015      2016      2017   2018   2019     2020    2021     2022
                                                                                among BRI employees. Further information on speciﬁc charges or the
                                                                                status of his case were unavailable. The government increased oversight
                                                                                of some SEZs and cooperated with foreign governments on removing
                                                                                potential trafficking victims from exploitative conditions therein. Unlike
                                                                                in 2020, and despite ongoing jurisdictional challenges, provincial officials
                                                                                reported initiating an investigation into labor trafficking allegations in the
                                                                                                                                   Haiti AR_000822               341
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 447 of 729
LAOS   Golden Triangle SEZ in Bokeo in early 2022; however, they did not report        NGO experts noted authorities were less likely to identify men and
       whether the investigation was criminal in nature. The government did            LGBTQI+ individuals as victims of trafficking.
       not report any investigations, prosecutions, or convictions of officials for
                                                                                       Government officials continued conducting and participating in victim
       complicity in trafficking or trafficking-adjacent crimes during the year.
                                                                                       protection training despite pandemic-related challenges, although
       Authorities provided training on anti-trafficking laws to at least 300 police   some activities were delayed. The Ministry of Labor and Social Welfare
       officers in 2021, along with regional workshops on transnational crime and      (MLSW) reported providing training on child protection, including with
       trafficking, in several provinces nationwide (compared with 129 officers        anti-trafficking equities, to district- and village-level authorities. The LWU
       trained in 2020). They also maintained Anti-Trafficking Units within            trained at least 318 provincial- and district-level officials in six provinces
       provincial and district police departments to coordinate with the ATD,          on victim identiﬁcation, referral, and other protection-related topics.
       which disseminated National Plan of Action implementation guidelines            Ministry of Justice officials held multiple training sessions on legal aid
       tailored for provincial- and district-level anti-trafficking law enforcement    provision for trafficking victims. Officials from health, education, defense,
       activities in early 2022. The government continued to cooperate with            and tourism ministries also conducted provincial- and national-level
       the PRC, Thailand, Vietnam, and international organizations pursuant            symposia on victim identiﬁcation. However, the government continued
       to existing bilateral agreements and memoranda of understanding                 to demonstrate inconsistent victim identiﬁcation measures in certain
       (MOUs) on information sharing, case investigation and prosecution,              parts of the country and within speciﬁc sectors. Citing jurisdictional
       and victim repatriation. Several provinces and districts maintained             and public health-related challenges, authorities did not proactively
       and at times updated formal anti-trafficking cooperation agreements             screen for or identify trafficking victims in foreign-owned rubber and
       with Thai counterparts. However, pandemic-related border closures               banana plantations, garment factories, or foreign-funded infrastructure
       often impeded Laos’ international anti-trafficking law enforcement              projects—all locations that presented some indicators of trafficking.
       cooperation; Thai authorities cancelled at least one pending court case         Officials reported plans to establish victim screening checkpoints along
       involving an alleged Lao victim during the year.                                the recently completed Lao-China Railway by December 2021 but did not
                                                                                       provide updates to the process. Authorities did not report conducting
       PROTECTION                                                                      raids of establishments facilitating commercial sex in 2021; most of these
       The government increased some victim protection efforts, including              sites were closed as a public health measure during the pandemic. There
       by taking unprecedented action to work with international partners to           were limited media reports of police intervening in unsanctioned social
       remove Lao and foreign nationals from exploitation in sex trafficking           gatherings in violation of lockdown orders and placing some individuals
       and forced labor in jurisdictionally complex SEZs. The government               in quarantine centers, but information on potential victim screenings
       continued to disseminate among officials victim identiﬁcation and               was unavailable. In prior years, central and provincial-level police often
       referral guidelines created in consultation with civil society groups in        failed to proactively screen for trafficking indicators during these raids
       the prior reporting period, and officials continued to identify and refer       and therefore may have arrested some adult and child sex trafficking
       trafficking victims to protection services in 2021; however, the lack of        victims for “prostitution” violations. The government’s National Task Force
       consistent identiﬁcation and referral practices throughout the country          for COVID-19—a multi-sector committee led by the Ministry of Health
       remained an obstacle to providing sufficient protection services to all         (MOH)—screened all Lao migrants returning to the country through
       victims, particularly amid pandemic-related challenges. The government          formal border checkpoints and oversaw quarantine centers; however, the
       identiﬁed 110 trafficking victims in 2021, including 30 adult women,            task force focused primarily on health examinations for the large volume
       62 girls, ﬁve adult men, and 13 boys. Unlike in prior years, authorities        of returnees and did not consistently screen this vulnerable population
       did not further disaggregate this data by type of trafficking; given the        for trafficking. The LWU reported some Lao nationals were screened
       government’s tendency to include forced and fraudulent marriage cases           for trafficking indicators when returning through formal checkpoints,
       with victim identiﬁcation data in past years, this ﬁgure likely included        including through close coordination between NGO service providers
       forced and/or fraudulent marriage cases that featured corollary sex             and the ATD. Border officials continued to demonstrate low capacity
       or labor trafficking indicators. Traffickers exploited the majority of          to detect incidents of trafficking. Authorities trained Lao diplomatic
       these victims abroad, mostly in the PRC and Thailand. Eighteen of the           officials to identify victims and report cases to the ATD or MOFA;
       identiﬁed victims were foreign nationals (compared with no foreign              however, the government did not report if these officials continued to
       nationals identiﬁed in 2020). The total marked a slight decrease from           employ victim identiﬁcation measures during the reporting period. In
       142 victims identiﬁed in 2020 (21 victims of sex trafficking, 39 victims        2021, the government established a committee to revise the country’s
       of labor trafficking, 66 victims of fraudulent marriage, and 16 victims         primary child rights law, but authorities did not report whether pending
       of other forms of exploitation), likely attributable to the pandemic-           changes would include speciﬁc anti-trafficking equities.
       related closure of international borders, bars, restaurants, and other
                                                                                       The government reported directly providing only 15 of 110 victims
       entertainment sites known for trafficking vulnerabilities and a downturn
                                                                                       identiﬁed—including eight girls and six boys—with shelter, medical
       in some domestic and joint bilateral law enforcement activities. The
                                                                                       care, education, vocational training, ﬁnancial assistance, and community
       central ATD was the sole authority able to formally identify trafficking
                                                                                       reintegration support through the LWU’s Counseling and Protection
       victims. In practice, provincial police, immigration police, village-level
                                                                                       Center for Women and Children (compared with 60 referrals to
       authorities, the government-funded Lao Women’s Union (LWU), and
                                                                                       unspeciﬁed LWU services in 2020). This indicated a slight improvement
       NGOs could also screen for and identify victims and refer them to
                                                                                       in the referral and protection of male victims, but officials continued to
       the ATD for formal identiﬁcation. ATD and other police and border
                                                                                       acknowledge male and LGBTQI+ survivors of trafficking faced relative
       officials—including those stationed near or in at-risk communities, the
                                                                                       difficulties accessing protection services. Only one adult victim beneﬁtted
       LWU, and the Ministry of Foreign Affairs (MOFA)—continued to use a
                                                                                       from government protection services during the reporting period.
       victim identiﬁcation manual created in a prior year in conjunction with
                                                                                       Observers ascribed the overall decrease in victim referrals to the closure
       an international organization. The government identiﬁed numerous
                                                                                       of the government-run shelter for much of the year as a public health
       cases of forced labor within SEZs after formal victim data collection had
                                                                                       measure; quarantine centers provided protection services to trafficking
       concluded; as such, the true number of victims identiﬁed was higher
                                                                                       victims among returning migrants during the reporting period, but
       than reported. The ATD did not report if it counted or tracked victims
                                                                                       official statistics were unavailable. The provision of shelter or other
       who declined official assistance. The government maintained a series
                                                                                       protective services was not contingent upon victims’ cooperation with
       of hotlines for incidents of trafficking, domestic abuse, gender-based
                                                                                       law enforcement or testimony in court. LWU officials reported ﬁnalizing
       violence, child protection, and various forms of labor exploitation; these
                                                                                       construction of a new shelter in Luang Namtha—a border area known for
       connected more than 4,000 individuals with assistance in 2021, but
                                                                                       high incidence of trafficking via forced and fraudulent marriage—that
       authorities did not provide disaggregated information on trafficking
                                                                                       included designated space for men, women, and transgender survivors;
       victims identiﬁed or referred through these hotlines (unreported in
                                                                                       it was not yet fully operational by the end of the reporting period.
       2020). All hotlines experienced staffing shortages during the pandemic,
       and public awareness of their existence remained limited. Officials and         The OSPP reported victims could testify behind a curtain to protect
                                                                                       their privacy and ensure their safety, and that it was working to expand
                                                                                       availability of this service nationwide, but it did not report how many
342                                                                                                                                   Haiti AR_000823
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 448 of 729




                                                                                                                                                           LAOS
victims beneﬁtted from the option while testifying against traffickers      The formal migration process remained insufficient to prevent exploitation
in 2021. The OSPP reportedly collaborated with an international             in sex trafficking or forced labor for many Lao migrant workers. However,
organization to provide judges and prosecutors with new victim-             the government slightly improved its oversight and regulation of
centered trial guidelines, which were under judicial review at the          labor recruitment in 2021. MLSW continued to oversee 34 recruitment
end of the reporting period. The government reported victims could          agencies authorized to recruit for jobs abroad, although most of these
request civil compensation, including in conjunction with a criminal        agencies were closed during the reporting period. These agencies
trial. Despite widespread closures during the pandemic, courts ordered      acted as gatekeepers to the formal migration process in Laos, and the
nine defendants to pay 65.5 million Lao kip ($5,880) to 11 victims in       law allowed them to charge workers various recruitment fees, some of
2021 (compared with nine defendants ordered to pay 78 million Lao           which continued to contribute to indebtedness that placed Lao workers
kip ($7,000) to four victims in 2020). Observers noted a trend in which     at risk of trafficking abroad. In early 2022, officials reportedly began
Thai authorities were increasingly prosecuting forced labor crimes under    consultations with an international organization to reduce recruitment
lesser “labor exploitation” charges, thereby constraining Lao victims’      brokerage fees; authorities did not provide further information on the
access to compensation in many transnational cases.                         status of this process. The government also opened two new recruitment
                                                                            centers in Bokeo to support legal and regulated employment in the
Unlike the previous year, in 2021, Lao authorities reported working with
                                                                            Golden Triangle SEZ. Following forced labor allegations in the SEZ, its
international counterparts to repatriate 37 Thai, 12 Vietnamese, and six
                                                                            leadership released new rules guaranteeing speciﬁc labor conditions
Russian workers from the Golden Triangle SEZ following allegations
                                                                            and other preventative measures in contracts between workers and
of forced labor and sex trafficking; this work continued into 2022,
                                                                            companies therein; the quasi-governmental Lao Federation of Trade
particularly through cooperation with the Thai government. Authorities
                                                                            Unions also began negotiating MOUs with the central government to
separately repatriated 14 Vietnamese victims from Vientiane with
                                                                            establish labor advocacy representation in all companies employing more
cooperation from the Vietnamese government. Notably, authorities
                                                                            than 10 workers within Laos, including in the SEZs. Officials and NGO
reported repatriating and providing reintegration services to 220
                                                                            representatives reportedly worked throughout 2021 to terminate work
Lao women and girls whom PRC nationals had subjected to forced or
                                                                            contracts for SEZ employees who ﬁled formal and informal complaints of
fraudulent marriage—which often included corollary sex trafficking
                                                                            labor abuses. No further information on these initiatives was available at
and/or forced labor indicators—in the PRC (unreported in 2020).
                                                                            the end of the reporting period, and some observers predicted difficulties
They also worked with the Governments of Malaysia and Thailand to
                                                                            in implementation; others considered them a signiﬁcant improvement
return at least seven Lao survivors (ﬁve victims of forced labor and at
                                                                            to legacy shortcomings in oversight measures for the highly vulnerable
least two victims of unspeciﬁed trafficking crimes, respectively) but
                                                                            areas, given the widespread fraudulent recruitment of Lao and foreign
did not provide further information on their cases or status, including
                                                                            nationals into sex and labor trafficking there.
whether they received protection services. The LWU and the MLSW were
responsible for providing reintegration services for trafficking victims    The government maintained bilateral labor agreements with several
but relied heavily on NGOs to offer such assistance. The government did     common destination countries, including the PRC, Cambodia, Japan,
not report providing legal alternatives to the removal of foreign victims   South Korea, and Vietnam. Lao authorities renegotiated their bilateral
to countries where they may face hardship or retribution.                   anti-trafficking agreement with the Government of Thailand in 2021 and
                                                                            reported a series of unspeciﬁed improvements on prior insufficiencies, but
PREVENTION                                                                  they did not provide further information. The prior agreement outlined a
The government increased prevention efforts, including by taking            formal labor migration process that was costly to workers, overly complex,
steps to improve oversight of labor recruitment and conditions within       and dissuasively time-consuming in a manner that reportedly caused
highly vulnerable SEZs. The government provided an unspeciﬁed               many Lao migrants to opt for irregular and far more vulnerable migratory
amount of funding for anti-trafficking activities on a case-by-case         channels. Once in Thailand, these workers were further vulnerable to
basis, rather than allocating a set budget to each ministry (compared       passport retention, wage and contract irregularities, physical abuse, and
with 300 million Lao kip ($26,910) allocated to each ministry during        many other forced labor indicators. The MLSW continued to employ a
the previous reporting period). The ministerial-level National Steering     labor attaché in Thailand who could register employment grievances
Committee on Anti-Human Trafficking and the working-level National          of Lao workers in the country. The labor attaché received training from
Secretariat on Anti-Human Trafficking continued to meet virtually during    international organizations and the Government of Thailand before
the pandemic to coordinate Laos’ trafficking prevention activities.         and during his assignment, but authorities did not report if the attaché
Government coordination with civil society organizations also continued     formally identiﬁed any trafficking victims there during the reporting
in 2021 through the multisector Human Trafficking Working Group, which      period. Government capacity to register births and issue family books
convened virtually to share best practices and maintain partnerships        and other civil documents, particularly in remote areas of the country,
at national and sub-national levels, including as related to challenges     remained limited and contributed to general trafficking vulnerability.
and opportunities in anti-trafficking enforcement in the SEZs. In May       The government began to modernize civil registration systems in
2021, the government approved a new national action plan for the            2021 but did not provide updates to this process, which likely suffered
2021-2025 period. The government did not make publicly available its        delays during the pandemic. The government did not make efforts to
annual progress report on implementation of the action plan.                reduce the demand for commercial sex, although the enforced closure
                                                                            of entertainment sites as a pandemic mitigation measure signiﬁcantly
The government continued to conduct a range of anti-trafficking
                                                                            impeded the commission of commercial sex acts in 2021.
education and outreach efforts for officials, tourism industry
representatives, and local communities through public posters, radio
segments, and television, including a nationally broadcast weekly
                                                                            TRAFFICKING PROFILE
                                                                            As reported over the last ﬁve years, human traffickers exploit domestic
television program on trafficking issues. This also included training
                                                                            and foreign victims within Laos, and traffickers exploit victims from Laos
sessions targeting migrant workers, communities in areas with foreign
                                                                            abroad; traffickers also make use of Lao territory to transport foreign
agricultural land concessions, and vulnerable border areas with a high
                                                                            victims to other countries in the region. Laos is primarily a source country
prevalence of trafficking via forced and fraudulent marriage in the PRC.
                                                                            for human trafficking. NGOs estimated in 2018 that 13,000 individuals in
MLSW continued to conduct some skills training and job placement
                                                                            Laos are in commercial sex in established businesses and are potentially
services for Lao workers in an effort to discourage returned migrants
                                                                            vulnerable to sex trafficking, with as many as three times that ﬁgure
from illegally seeking employment abroad, but some of this work suffered
                                                                            operating independently throughout the country. Lao farmers growing
pandemic-related delays. In 2021, authorities also initiated efforts to
                                                                            maize and cassava are reportedly more vulnerable to forced labor
train local communities in new agricultural techniques in an attempt to
                                                                            through indebtedness to local community leaders. With no oversight by
reduce their income dependence on vulnerable foreign-owned banana
                                                                            local authorities, foreign and Lao workers at or near foreign-owned or
plantations. Officials reported consulting with civil society groups to
                                                                            foreign-operated agricultural operations, including banana and rubber
establish COVID-19 mitigation strategies in order to continue anti-
                                                                            plantations; transportation infrastructure construction sites, including
trafficking training activities during the pandemic.
                                                                            those affiliated with the PRC’s BRI; and SEZs are extremely vulnerable to
                                                                            forced labor and sex trafficking. Pandemic-related restrictions on freedom
                                                                                                                              Haiti AR_000824              343
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 449 of 729
LATVIA   of movement have signiﬁcantly compounded these vulnerabilities,               countries. Traffickers in rural communities often lure Lao women and
         particularly in remote agricultural areas. A study conducted by an            girls with false promises of legitimate work opportunities or promises of
         international organization in 2019 reported the presence of women             marriage—typically through the use of marriage brokers—to nationals
         in commercial sex and children in sex trafficking near PRC-ﬁnanced            in neighboring countries, primarily the PRC, and then subject them to
         railway construction sites affiliated with the BRI. Lao communities           sex trafficking, forced labor, and forced concubinage leading to forced
         displaced by frequent natural disasters; foreign-invested mining and          childbearing. This trend reportedly increased following completion of
         construction operations, including those affiliated with the BRI; and         the Lao-China Railway but ﬂuctuated during pandemic-related travel
         foreign agricultural land concessions may be vulnerable to trafficking        restrictions and border closures; traffickers also use other methods to
         amid ensuing economic hardships.                                              transport Lao victims overland through Thailand en route to the PRC for
                                                                                       these purposes. Brokered marriages between rural Lao women and PRC
         Since March 2020, hundreds of thousands of Lao migrants formally
                                                                                       men employed at SEZs known for trafficking vulnerabilities also increased
         and informally working in Thailand and other countries, including
                                                                                       during the pandemic. Children from economically disadvantaged rural
         Malaysia and the PRC, have returned to Laos, culminating in widespread
                                                                                       areas are especially vulnerable to trafficking, given the legal work age
         unemployment within the country and increased economic hardship
                                                                                       of 14, the widespread closure of schools during the pandemic, and
         for families dependent on foreign remittances. These conditions have
                                                                                       the lure of higher wages abroad. Traffickers exploit a large number of
         placed many Lao workers in potentially exploitative situations as they
                                                                                       Lao women and girls in Thailand in commercial sex and forced labor
         travel domestically within Laos in search of low-salary jobs—including at
                                                                                       in domestic service, factories, or agriculture. According to Thailand-
         PRC-managed land concessions and SEZs—or illegally migrate for work
                                                                                       based public health organizations, traffickers take advantage of the
         abroad, particularly back to Thailand. Police observed that the closure
                                                                                       undocumented immigration status of some Lao men and boys to subject
         of the Laos-Thailand border created a local demand for commercial
                                                                                       them to sex trafficking. Traffickers exploit Lao men and boys in forced
         sex, which, following the closure of bars and nightclubs as a pandemic
                                                                                       labor in Thailand’s ﬁshing, construction, and agricultural industries. Lao
         mitigation measure, in turn may have led to a spike in sex trafficking in
                                                                                       men are also subjected to forced labor on ﬁshing vessels operating in
         hotels and private residences.
                                                                                       Indonesian territorial waters. Companies operating under the auspices
         The pandemic-related closure of garment factories in 2021 and a               of the Japanese government’s “Technical Intern Training Program” have
         significant downturn in the tourism industry led to widespread                exploited Lao nationals in forced labor in agriculture and several other
         disproportionate unemployment among Lao women, who are increasingly           sectors. Lao women and girls are reportedly vulnerable to forced labor
         vulnerable to predatory recruitment practices as a result. Against this       and sex trafficking at “girl bars”—entertainment sites advertising paid
         backdrop, SEZ casinos have used social media to lure hundreds of Lao          “accompaniment” services often involving sex acts with young women
         women to work as “chat girls”—online representatives selling casino           and girls—in urban areas in Japan.
         stock to male customers—with false promises of high salaries, free
         meals, and free accommodations. Many of these women do not meet
         the unattainably high sales quotas set by the casino managers and are
         forced to incur debt to pay the difference, as well as to pay for meals and
         accommodations; casino managers then leverage this debt to conﬁne
                                                                                        LATVIA: TIER 2
         them and subject them to forced labor and sex trafficking. Traffickers
         operating in Laos and Dubai lure young Lao men and women into                 The Government of Latvia does not fully meet the minimum standards
         fraudulent online cryptocurrency sales operations and “resell” those          for the elimination of trafficking but is making signiﬁcant efforts to do
         who cannot meet their quotas to other criminal networks for forced            so. The government demonstrated overall increasing efforts compared
         labor in similar fraud schemes, domestic servitude, or sex trafficking.       with the previous reporting period, considering the impact of the
         Reports indicate child sex tourists from the United Kingdom, Australia,       COVID-19 pandemic, if any, on its anti-trafficking capacity; therefore
         and the United States have traveled to Laos for the purpose of exploiting     Latvia remained on Tier 2. These efforts included prosecuting more
         child sex trafficking victims.                                                suspected traffickers, identifying and referring more trafficking victims,
                                                                                       and approving a new two-year national action plan (NAP). Furthermore,
         Some Burmese, PRC, Russian, Thai, and Vietnamese nationals are                the government introduced a new interviewing methodology to offer a
         reportedly subjected to sex trafficking in the Golden Triangle SEZ            coordinated and effective child protection and criminal justice response
         located at the intersection of the Lao, Burmese, and Thai borders, where
                                                                                       and prevent further traumatization during investigations and court
         thousands of undocumented migrant workers are also vulnerable to
                                                                                       proceedings. In addition, the government conducted an examination
         forced labor in debt-based coercion. Other reports indicate Burmese
                                                                                       into the limited number of criminal investigations initiated despite the
         nationals working as manual laborers or involved in commercial sex near
                                                                                       growing number of labor trafficking cases reported every year. However,
         the Lao portion of the Golden Triangle may be victims of trafficking.
                                                                                       the government did not meet the minimum standards in several key
         Lao and foreign nationals, including migrant workers from the PRC,
                                                                                       areas. Authorities investigated fewer trafficking cases. Officials continued
         experience conditions indicative of forced labor at PRC-owned mining
                                                                                       to identify few child trafficking victims even though children in state
         companies. Traffickers also exploit Vietnamese, PRC national, and Lao
                                                                                       social care centers, such as orphanages, remained vulnerable to sex
         women and children in sex trafficking in larger Lao cities and in close
         proximity to national borders, casinos, and other SEZs, reportedly to         trafficking. Moreover, many judges and prosecutors lacked a sufficient
         meet the demand of international tourists and migrant workers.                understanding of all forms of trafficking and how to apply anti-trafficking
                                                                                       laws. The development and implementation of the national referral
         Observers report new costs related to COVID-19 testing required by            mechanism (NRM) remained at a standstill.
         formal labor agreements with key destination countries have catalyzed
         an increase in the irregular migration of Lao nationals through informal
         channels known for trafficking vulnerabilities. During pandemic-related               LATVIA TIER RANKING BY YEAR
         border closures, traffickers have deceived some local communities into            1
         believing that Laos’ international borders had reopened in order to               2
         lure them into sex trafficking and forced labor abroad. Traffickers have
                                                                                         2WL
         targeted Lao labor migrants from the southern part of the country in
         particular. Some victims migrate with the assistance of legal or illegal          3
                                                                                                  2015     2016      2017    2018   2019   2020     2021    2022
         brokers charging fees; this is increasingly occurring under the direction
         of Lao intermediaries working with foreign traffickers. Others move
         independently through Laos’ 27 official border crossings using valid
         travel documents. Many of these border crossings are managed by               PRIORITIZED RECOMMENDATIONS:
         provincial- or district-level immigration authorities with less formal        Investigate, prosecute, and convict traffickers under the trafficking
         training and limited hours of operation, making them easier transit points    statute (Section 154-1 of the criminal law) rather than for lesser crimes
         for traffickers to facilitate the movement of Lao victims into neighboring    and issue signiﬁcant sentences. • Proactively identify trafficking victims,
 344                                                                                                                                  Haiti AR_000825
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 450 of 729




                                                                                                                                                             LATVIA
particularly children in social care centers induced into commercial sex       (sentences included imprisonment, suspension, reversal, and cancelation
and victims of sex trafficking in Latvia’s legal commercial sex industry.      due to death). By comparison, in 2020, authorities investigated one new
• Train relevant authorities, such as staff at state social care centers,      case, prosecuted one suspect, and convicted zero traffickers. In 2021, the
on understanding trafficking risks and identifying trafficking victims. •      anti-trafficking police unit seized approximately €329,749 ($373,870) in
Develop and implement an NRM to include guidance on identiﬁcation,             assets from suspected traffickers. Latvian authorities cooperated with
referral, and information exchange among stakeholders. • Expand                their European counterparts on several trafficking-related investigations,
efforts to educate officials involved in judicial proceedings, particularly    judicial assistance requests, and one extradition. The government did not
prosecutors and judges, to understand all forms of trafficking and             report any investigations, prosecutions, or convictions of government
apply anti-trafficking laws. • Increase anti-trafficking training for law      employees complicit in human trafficking crimes.
enforcement, particularly regional police officers, on working with
                                                                               Perennial issues within the judicial system, such as lengthy trials and
victims, collecting evidence, and understanding all forms of trafficking
                                                                               lenient sentences, which often resulted in no jail time for convicted
and psychological coercion. • Increase access to shelters and specialized
                                                                               traffickers, remained the government’s greatest deﬁciency—providing
services for male trafficking victims. • Provide long-term assistance, such
                                                                               limited deterrence, contributing to the underreporting of trafficking
as housing, to victims after completion of the state-funded assistance
                                                                               crimes, and undermining defendants’ rights to a fair trial within a
program. • Issue a new mandate for the anti-trafficking working group
                                                                               reasonable time. For instance, the trial for a 2014 case involving two Riga
to continue its work. • Conduct national awareness campaigns on
                                                                               police officers charged with “facilitating pimping” remained ongoing
trafficking targeting vulnerable populations.
                                                                               at the end of the reporting period. Similarly, the trial for a 2017 labor
                                                                               trafficking case against seven individuals remained ongoing. Adequate
PROSECUTION                                                                    evidence collection remained a problem in investigating and prosecuting
The government marginally increased law enforcement efforts. Sections
                                                                               trafficking cases; in 2021, authorities terminated ﬁve investigations
154-1 and 154-2 of Latvia’s criminal code criminalized sex trafficking
                                                                               due to a lack of evidence or statute of limitations. Additionally, NGOs
and labor trafficking and prescribed penalties of up to eight years’
                                                                               reported police outside of Riga had limited motivation to pursue
imprisonment for offenses involving adult victims and between three
                                                                               trafficking cases and difficulty identifying victims. NGOs also reported
and 12 years’ imprisonment for offenses involving child victims. These
                                                                               regional police began investigating trafficking-related crimes only after
penalties were sufficiently stringent and, with regard to sex trafficking,
                                                                               involving Riga’s anti-trafficking unit. Observers warned such a passive
commensurate with those prescribed for other serious crimes, such as
                                                                               approach could lead to the re-victimization of victims. Furthermore,
rape. Judges and prosecutors had the power to reclassify cases from
                                                                               reports persisted that police, prosecutors, and judges retained a limited
Section 154-1 to other crimes. Prosecutors could charge trafficking
                                                                               understanding of trafficking. Experts noted the need for more training
crimes under Section 164, which criminalized exploiting vulnerability or
                                                                               for authorities, particularly on applying anti-trafficking laws, working
using deceit to involve individuals in commercial sex, some provisions
                                                                               with victims, and understanding psychological coercion. The government
of which prescribed penalties as lenient as community service or a
                                                                               addressed knowledge gaps by requiring trafficking-speciﬁc training
ﬁne. Additionally, law enforcement officials reportedly were more likely
                                                                               for judges and court administration officials and allocating €6,020
to investigate and charge suspected traffickers for crimes other than
                                                                               ($6,830) from the state budget toward it. The government supported
trafficking, such as “pimping” and “transfer for sexual exploitation.”
                                                                               additional educational efforts by providing training for police on the
Authorities used Section 165-1, which prohibited the transfer of individuals
                                                                               different types of trafficking and recruitment methods and front-line
for the purpose of sexual exploitation, to prevent potential cases of
                                                                               workers on victim identiﬁcation. Experts noted, though, that a lack
trafficking by charging perpetrators who attempted to recruit individuals
                                                                               of interest in training among law enforcement officials often led to
for sexual exploitation schemes abroad.
                                                                               poor attendance at international and local seminars. To enhance law
The State Police’s anti-trafficking unit in Riga, comprising 18 officers       enforcement’s response to trafficking and authorities’ collaboration with
and specializing in investigating trafficking, brokered marriages, and         other stakeholders, the government participated in a project with the
related crimes, investigated most trafficking cases in the country.            Governments of Estonia and Finland to strengthen law enforcement’s
Additionally, each of the ﬁve regional police boards employed anti-            knowledge of and approach to trafficking.
trafficking specialists. In 2021, the unit investigated three new cases (all
labor trafficking), compared with seven cases (one sex trafficking and         PROTECTION
six labor trafficking) under Section 154-1 in 2020. In one investigation,      The government increased efforts to protect victims. In 2021, the
police arrested ﬁve suspects for labor trafficking at three NGO-run            government identiﬁed 60 trafficking victims (seven sex trafficking,
addiction prevention centers. The NGO forced residents with addiction          53 labor trafficking), an increase from 47 in 2020. Police, immigration,
and mental health conditions into heavy labor in the agricultural and          and social services utilized written procedures for identifying victims.
forestry industries without pay and under the guise of “work therapy.”         Authorities referred victims to the state-funded assistance program based
The investigation found inadequate living conditions and medical care;         on decisions by either law enforcement or an NGO-led panel of experts.
as a result, the state closed two of the three centers, with the third still   Experts raised concerns that the lack of a centralized referral mechanism
under investigation. Observers noted unlike past trafficking cases, in         hindered coordination among stakeholders and the facilitation of care for
which law enforcement charged suspects with lesser crimes, authorities         all potential victims. Subsequently, in 2020, the prime minister directed
opened criminal proceedings related to organized trafficking and money         the Ministry of Interior (MOI) to develop an NRM to include guidance
laundering. Due to the rise in labor trafficking cases, the government         on identiﬁcation, referral, and information exchange. As of the end of
provided guidelines for authorities to use in identifying such cases,          the reporting period, however, the MOI had not completed drafting the
particularly cases combining economic crime and illicit ﬁnancial ﬂows.         NRM. Identifying child trafficking victims internally remained a challenge;
In addition, based on a regional project to support stakeholders in            authorities identiﬁed zero child victims in 2021 (two in 2020) even though
combating and disrupting labor trafficking, the government conducted           government officials cited children housed in state social care centers,
an examination into why authorities initiated a limited number of criminal     such as orphanages, as vulnerable and reported an increase in recent
investigations despite the growing number of labor trafficking cases           years in potential sex trafficking cases involving such children. Observers
every year. A specialized prosecution office reviewed, monitored, and          maintained the crime remained underreported and stated further
managed all Riga District Court trafficking-related cases pertaining to        education of staff at state social care centers could lead to increased
Section 154-1. In the rest of the country, regional prosecution offices        understanding of trafficking risks and identiﬁcation of child trafficking
investigated and prosecuted trafficking cases. Authorities prosecuted          victims. In addition, experts reported the need for an improved child
four suspects (all labor trafficking) under Section 154-1, compared with       protection system to increase the identiﬁcation of and assistance for
two in 2020, and courts convicted one trafficker for sex trafficking, the      child trafficking victims, particularly children with behavioral conditions
same as in 2020. The convicted trafficker received a three-year prison         and children in state social care centers. In 2021, the Ministry of Welfare
sentence, whereas in 2020 the convicted trafficker received a suspended        (MOW) introduced a new interviewing methodology—the “Barnahus”
sentence with no jail time. Under Section 165-1, authorities investigated      multidisciplinary and interagency model—to respond to witnesses of
two new cases, prosecuted one suspect, and convicted four traffickers          violence, particularly children, with the goal to offer a coordinated and

                                                                                                                                Haiti AR_000826              345
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 451 of 729
LATVIA   effective child protection and criminal justice response and prevent          anti-trafficking projects. In collaboration with other Baltic Sea Region
         further traumatization during investigations and court proceedings.           countries, the government participated in a project establishing long-
         The MOW planned to introduce the model in all state institutions by           term cooperation between stakeholders and academia to educate future
         2023. Furthermore, child protection maintained a helpline and website         journalists on trafficking issues through workshops, panel discussions,
         with information about safety measures for child victims of abuse,            and competitions. Domestically, the government conducted several
         including trafficking.                                                        trainings and informative events to raise public awareness on trafficking
                                                                                       issues and maintained public facing websites with trafficking information.
         The government continued to contract two NGOs to assist victims in
                                                                                       However, the government did not conduct any national public awareness
         the state-funded, NGO-run assistance program, allocating €224,560
                                                                                       campaigns. The government maintained emergency helplines, and in
         ($254,600), compared with €201,000 ($227,890) in 2020. The
                                                                                       2021, three calls resulted in investigations of potential trafficking crimes.
         government allocated additional assistance to the NGOs due to the
                                                                                       The State Police participated in an international project aiming to combat
         increased number of identiﬁed victims. Starting in 2021, NGOs could
                                                                                       sexual exploitation among children by addressing trafficking risks and
         spend 20 percent of the allocated funds for administrative expenditures,
                                                                                       victim vulnerability. A special police unit focused on preventing child
         an increase from 10 percent in previous years. Local governments did
                                                                                       sex tourism and the sexual abuse of children. The government did not
         not have separate budgetary funds to assist trafficking victims but could
                                                                                       make efforts to reduce the demand for commercial sex acts. However,
         provide help to victims within their jurisdictions. The NGO-run assistance
                                                                                       government representatives, legislators, and NGOs examined the issue
         program offered victims medical and psychological assistance, legal
                                                                                       of liability for consumers of commercial sex, including through legislative
         representation, housing, psychotherapy, and reintegration services.
                                                                                       changes holding consumers criminally accountable.
         Shelters were available to trafficking victims throughout the country.
         Following the increased number of male labor trafficking victims who          In accordance with European Parliament directives, Latvian labor law
         were living with mental health conditions or addictions, NGOs reported        required employers to regulate working conditions for employees posted
         the need for a specialized shelter for men. In 2021, the program assisted     abroad. The law also required employers to provide a written contract
         55 victims, of which the vast majority were labor trafficking victims, an     and minimum wage to employees or face penalties. The State Police
         increase from 44 in 2020. Two of the 55 victims were foreign nationals,       monitored job advertisements and responded when employment offers
         a signiﬁcant change from 31 in 2020; all other victims in the program         suggested potential trafficking. Legislation prohibited recruitment fees;
         were Latvian nationals. Experts attributed the signiﬁcant decrease in the     however, recruitment agencies often imposed legally permissible fees for
         number of foreign national victims identiﬁed to an increase in domestic       document preparation. In 2021, the government monitored the activities
         labor trafficking of Latvian citizens. Experts expressed concern about        of licensed employment agencies and canceled 46 licenses for agencies
         human trafficking in Latvia’s legal commercial sex industry and the           in violation (zero in 2020). With the rise of third country nationals
         potential penalization of victims, noting law enforcement’s focus on          arriving in Latvia for employment in recent years, labor regulations
         ﬁning potential victims who were not in compliance with regulations           required agencies to provide job-related information to employees
         or statutes, rather than on identifying victims. NGOs emphasized the          in a language they understood. Latvian embassies abroad distributed
         need for long-term assistance, such as housing, to vulnerable victims         informative brochures on labor exploitation risks in seven languages.
         after completion of the program. Government regulations on assistance
         to trafficking victims limited state-funded services to six months,           TRAFFICKING PROFILE
         although victims whose cases went to trial received assistance, mostly        As reported over the past ﬁve years, human traffickers exploit domestic
         legal counseling, for the duration of the legal proceedings. Latvian          and foreign victims in Latvia, and traffickers exploit victims from Latvia
         law allowed foreign victims to receive residence permits and a 30-day         abroad. Traffickers exploit Latvian women and girls in sex trafficking in
         reﬂection period to consider claiming formal status as a trafficking          Latvia and other European countries. However, the government reports a
         victim. Most victims were open to cooperation with law enforcement.           decrease in international trafficking cases involving Latvians in 2021 with
         In 2021, 26 victims cooperated with law enforcement. Latvian courts           only one sex trafficking victim identiﬁed in The Netherlands. In contrast,
         could apply legal provisions, such as closed court hearings, to protect       government officials note an increase in domestic labor trafficking of
         victims and witnesses who agreed to provide testimony. Additionally,          Latvian citizens. Traffickers target marginalized communities, single
         courts had digital video capabilities and audio recording equipment           women with limited education, children from disadvantaged families,
         to protect victims and witnesses from trafficker-victim confrontation.        students, and unemployed adults by word-of-mouth and through social
         However, experts reported traffickers continued to intimidate victims,        media. Children in state social care centers, including orphanages,
         and authorities provided uneven levels of protection during court             are particularly vulnerable to sex trafficking. Police report a growing
         proceedings. Trafficking victims were eligible to receive restitution from    number of children recruited for commercial sex from state social
         the trafficker in a criminal case, ﬁle a civil suit against the trafficker,   care centers and disadvantaged families. However, there have been
         or receive compensation from the government, but the government               no documented sex trafficking cases involving children living in state
         deducted any debts owed to the state from compensation amounts.               social care centers. Latvian women coerced into brokered marriages in
         In 2021, 14 victims received compensation (two in 2020) from the              Western Europe are vulnerable to sex trafficking, domestic servitude, and
         State Agency for Judicial Assistance, which administered the victims’         forced labor; the husbands in these brokered marriages are third country
         compensation program, totaling €29,295 ($33,210). Despite the increased       nationals from India, Pakistan, and Nepal who use these marriages to
         number of victims who received compensation, some experts expressed           obtain EU residency beneﬁts. Government reports indicate a rise in
         concerns that access to compensation remained sporadic with a complex         traffickers, especially from Russia, exploiting individuals experiencing
         application process that often required legal assistance.                     mental health conditions, addiction, and homelessness. Guest workers,
                                                                                       particularly men, from India, Kyrgyzstan, Pakistan, Tajikistan, Uzbekistan,
         PREVENTION                                                                    and Ukraine, most of whom arrive in Latvia legally with Schengen or
         The government maintained prevention efforts. In 2021, the government         student visas, and mainly work in the agriculture, construction, food,
         approved a new two-year NAP, which included more training for                 and forestry industries, are also vulnerable to labor trafficking. The
         investigators, prosecutors, and labor inspectors. Several ministries          State Labor Inspectorate reports that increasing numbers of illegal
         published quarterly and annual reports on trafficking, including a            workers in the construction and transportation industries, including
         study on strengthening the capacity of social workers and the role they       taxi drivers from Uzbekistan and Tajikistan who receive work contracts
         play in preventing trafficking. Although the mandate for Latvia’s anti-       from Polish recruitment agencies, are at risk to trafficking. As a result
         trafficking working group expired in December 2020 and the Cabinet            of the Lukashenka regime facilitating illegal migrant ﬂows across the
         of Ministers did not issue a new mandate, the group, which comprised          Latvia-Belarus border, hundreds of migrants from the Middle East,
         representatives from the government and civil society, continued to           Africa, and Asia remain detained near the border and vulnerable to
         monitor domestic and international developments, facilitate information       trafficking. Separately, undocumented migrants from Algeria, Pakistan,
         exchange, and coordinate the government’s response. While anti-               Russia, and Vietnam, some of whom may be or may become trafficking
         trafficking activities did not have a single national funding source,         victims, transit Latvia en route to Western Europe. Foreign nationals
         each state institution’s structure and budget included funding for such       and Ukrainian refugees, predominantly women and children, who are
         activities. In 2021, the MOI secured funding for various international
 346                                                                                                                                 Haiti AR_000827
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 452 of 729




                                                                                                                                                                 LEBANON
ﬂeeing Russia’s full-scale invasion of Ukraine and seeking sanctuary,           law enforcement officials, and diplomatic personnel on trafficking and
are highly vulnerable to trafficking.                                           application of the anti-trafficking law. • Screen all domestic workers in
                                                                                detention centers for trafficking indicators and refer victims to care. •
                                                                                Take concrete steps to improve oversight of artiste visas, a program that
                                                                                contributes to the vulnerability of women to sex trafficking. • Ensure
 LEBANON: TIER 2                                                                the judiciary coordinates with the Directorate of General Security (DGS)
                                                                                to consistently apply the anti-trafficking law by granting temporary
                                                                                residency permits for trafficking victims and allowing victims to work.
The Government of Lebanon does not fully meet the minimum standards
                                                                                • Continue to work in partnership with NGOs to screen for, identify, and
for the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                                provide protection services, including witness support during criminal
The government demonstrated overall increasing efforts compared with
                                                                                proceedings, for all victims. • Increase efforts to raise public awareness
the previous reporting period, considering the impact of the COVID-19
                                                                                of trafficking, including exploitation of migrant domestic workers. •
pandemic on its anti-trafficking capacity; therefore Lebanon remained           Formally establish the victim assistance fund. • Adopt and implement
on Tier 2. These efforts included implementing changes to reporting             the national anti-trafficking action plan (NAP). • Improve the judiciary’s
processes to prevent automatic penalization of migrant workers leaving          capacity to collect, compile, and track data and outcomes of trafficking
abusive employers and adopting a screening tool developed with an               cases from all courts.
international organization to better identify trafficking victims among
vulnerable populations, including migrant workers. The government also          PROSECUTION
continued to temporarily waive requirements for employer approval to            The government decreased overall law enforcement efforts. The 2011
allow migrant workers to change employers and waived most overstay              anti-trafficking law criminalized sex trafficking and labor trafficking and
ﬁnes incurred by migrant workers during the pandemic. However, the              prescribed penalties of ﬁve to seven years’ imprisonment and ﬁnes if the
government did not meet the minimum standards in several key areas.             offense involved an adult victim and 10 to 12 years’ imprisonment and
Lebanon had a caretaker government for 13 months, including ﬁve                 ﬁnes for those involving a child victim. These penalties were sufficiently
months of the reporting period until September 2021, which limited              stringent and, with respect to sex trafficking, commensurate with
the government’s ability to establish effective anti-trafficking policies       those prescribed for other serious crimes, such as rape. The pandemic,
for part of the reporting period. For the second consecutive year, the          compounded by ongoing ﬁnancial, economic, and political crises,
government did not report initiating any new prosecutions and did not           continued to affect law enforcement’s ability to investigate trafficking
convict any traffickers. The government did not approve the labor law           cases and compile data. Due to the ongoing economic and ﬁnancial
amendment extending legal protections to all foreign workers that has           crisis, the Ministry of Interior (MOI), Ministry of Justice (MOJ), and other
been pending since 2009 or approve the draft standardized contract              law enforcement agencies reduced their workforce to only come to
for migrant workers for the second consecutive year. Despite adopting           work one or two days per week, limiting the government’s ability to
a new screening tool, the government did not implement formal victim            respond to information requests. In addition, the MOJ did not have a
identiﬁcation and referral procedures, which resulted in the potential for      centralized data collection system, impeding the government’s ability to
unidentiﬁed victims to face arrest, detention, or deportation for unlawful      report data on prosecutions and convictions. As a pandemic mitigation
acts traffickers compelled them to commit. Lebanon’s visa sponsorship           measure, law enforcement worked on a rotational basis, reducing the
system continued to create vulnerabilities for the exploitation of migrant      normal number of officers on duty, and most offices did not have basic
workers and remained a signiﬁcant impediment to authorities identifying         supplies including electricity or fuel for vehicles or generators. Despite the
and protecting trafficking victims.                                             relaxation of some pandemic mitigation measures, courts only partially
                                                                                re-opened with reduced hours of operation. In addition, strikes closed
         LEBANON TIER RANKING BY YEAR
                                                                                the courts from May to September 2021, and an ongoing public sector
     1                                                                          labor curtailment resulted in most government offices only being open
                                                                                once a week. In 2021, the Internal Security Forces (ISF) investigated 21
    2
                                                                                potential sex trafficking cases. Additionally, DGS investigated 102 cases
  2WL                                                                           of suspected trafficking involving migrant domestic workers and adult
     3                                                                          nightclub workers holding artiste visas. DGS reported it determined 35
           2015      2016     2017      2018   2019   2020   2021     2022      of the 102 cases met the criteria for trafficking cases; 32 cases involved
                                                                                labor exploitation, and three cases involved sexual exploitation. The
                                                                                123 total investigations in 2021 represented a signiﬁcant decrease from
                                                                                218 initiated in 2020. For the second consecutive year, the government
PRIORITIZED RECOMMENDATIONS:                                                    did not report any new prosecutions or convictions. The government
Finalize and implement government-approved procedures for officials             did not report any investigations, prosecutions, or convictions of
to identify trafficking victims among vulnerable populations, such as           government officials complicit in human trafficking crimes. In a notable
undocumented or detained migrants, women holding artiste visas,                 February 2022 case, prosecutors, for the ﬁrst time, brought criminal
domestic workers, and Syrian refugees, for referral to protection services.     charges of slavery and forced labor against the former employer and
• Increase efforts to ensure trafficking victims are not arrested, detained,    recruitment agency of a migrant domestic worker; the case was ongoing
or deported for unlawful acts traffickers compelled them to commit,             at the end of the reporting period. Separately, the MOI investigated a
such as immigration or “prostitution” violations. • Enact the labor law         Lebanese national employed by the Kenyan consulate for allegedly
amendment extending legal protections to all foreign workers, including         further exploiting potential trafficking victims in forced labor who had
domestic workers and artiste visa holders, and approve the draft                come to the consulate for assistance; the government did not report
standardized contract for migrant workers as initially submitted to the         the status of the case at the end of the reporting period.
State Shura Council in 2020. • Strengthen and expand efforts to reform
the visa sponsorship system to ensure all foreign workers, including            Due to courts’ reduced capacity, all but emergency trials were suspended,
domestic workers and artiste visa holders, are not bound to abusive             and the government prioritized completing investigations that would
employers, and allow workers full freedom of movement, including by             allow the release of pre-trial detainees to reduce overcrowding in prisons.
permanently waiving previous employer approval requirements for                 The ISF anti-trafficking unit remained understaffed and underfunded,
workers to change employers. • Increase investigations, prosecutions,           with only 22 officers covering all of Lebanon, and no ﬁeld offices outside
and convictions of perpetrators of all forms of trafficking under the anti-     of Beirut; this continued to limit the ISF’s work. Additionally, government
trafficking law and investigate for potential trafficking crimes employers      officials and NGOs continued to report some judges lacked understanding
and recruitment agents who withhold workers’ passports, travel                  of the anti-trafficking law and knowledge of best practices for handling
documents, or wages. • Ensure provisions are available to victims for           trafficking cases. Officials generally sought to resolve trafficking cases
legal alternatives to their removal to countries in which they would face       involving foreign workers through mediation between the employer and
retribution and hardship. • Increase efforts to train judges, prosecutors,      worker, rather than referring them for criminal prosecution. Government

                                                                                                                                   Haiti AR_000828               347
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 453 of 729
LEBANON   officials continued to report security forces were reluctant to arrest       visa sponsorship system, foreign workers—including foreign trafficking
          parents for subjecting their children to trafficking, usually in forced      victims who left their place of employment without permission from
          begging, due to a lack of social services available should the child be      their employer—forfeited their legal status, thereby increasing the
          removed from the family. The ISF, DGS, and MOJ occasionally included         risk of arrest, detention, and deportation. DGS continued using new
          specialized anti-trafficking training as a part of their curriculum for      administrative procedures adopted in February 2021 for employers to
          personnel. The government also continued to encourage officials to           inform DGS about domestic workers who have left the workplace; the new
          participate in anti-trafficking trainings provided by NGOs but did not       procedures replaced previously used employer complaint systems that
          report providing ﬁnancial or in-kind support to those trainings.             automatically launched prosecutions of migrant workers who left their
                                                                                       workplace. In addition, the new procedures prohibited the use of certain
          PROTECTION                                                                   language in official reports, such as language implying domestic workers
          The government maintained inadequate victim identiﬁcation and                violated employment conditions like “ﬂed” or “ran away,” replacing them
          protection efforts, and the government remained dependent on NGOs            with the phrasing “left the workplace.” Authorities could subject foreign
          to provide most victim services. The government did not formally             workers without valid residence and work permits to detention for one
          adopt procedures drafted in 2014 for the identiﬁcation and referral          to two months—or longer in some instances—followed by deportation;
          of victims to NGO services. In practice, officials continued to identify     due to the pandemic, authorities did not exercise this authority during
          and refer trafficking victims to care on an ad hoc basis. During the         the reporting period. Furthermore, authorities could immediately deport
          reporting period, the government coordinated with an international           women holding artiste visas upon arrest for “prostitution” violations;
          organization to draft new standard operating procedures (SOPs) for           however, DGS reported it did not deport any artiste visa holders during
          victim identiﬁcation, but the government did not ﬁnalize nor implement       the reporting period and no artiste visas were issued in 2021 due to the
          the SOPs by the end of the reporting period. The Ministry of Social          ongoing pandemic, economic, and ﬁnancial crises.
          Affairs (MOSA) continued to work with an international organization
                                                                                       DGS continued to operate a 750-person detention center where
          to develop a digital tool to better identify trafficking victims among
                                                                                       authorities detained foreign domestic workers for violating the terms
          vulnerable populations, including migrant workers; at the end of the
                                                                                       of their work contracts or visas. As in past years, DGS allowed an
          reporting period, MOSA adopted the tool, but it had not yet been digitized
                                                                                       NGO to operate a permanent office inside the detention center with
          and fully operationalized. The government identiﬁed at least 70 sex
                                                                                       unhindered access to detainees to provide medical and psycho-social
          and labor trafficking victims through the course of investigations and
                                                                                       services. However, due to a decrease in government funding to the
          referred all of them to NGO protection services in 2021. The number of
                                                                                       NGO over the past three reporting periods, the NGO was unable to
          victims identiﬁed and referred to services in 2021 represented a decrease
                                                                                       continue providing health services to detainees—including trafficking
          from the 156 victims the government identiﬁed in 2020 but an increase
                                                                                       victims—and was only able to provide social and legal services. DGS
          from 63 identiﬁed victims in 2019. During the reporting period, an NGO
                                                                                       also continued to permit the NGO to interview detainees to identify
          reported identifying at least 163 trafficking victims. The government
                                                                                       trafficking victims among the detention center population, although
          did not report whether a DGS-operated hotline remained operational
                                                                                       interviews were limited due to pandemic-related mitigation measures;
          during the reporting period. The Ministry of Labor’s (MOL) complaints
                                                                                       NGOs identiﬁed 130 trafficking victims in the detention center during
          office and 24-hour hotline received 250 trafficking-related complaints;
                                                                                       the reporting period, compared with 16 victims the NGO identiﬁed in
          the government reported resolving the majority of these complaints
                                                                                       2020. In response to the pandemic, DGS announced only detainees with
          but did not report further details. An NGO identiﬁed 26 victims through
                                                                                       pending judicial action would be held at the detention center and other
          calls to the hotline it operated.
                                                                                       detainees would be released with the option of temporary residency or
          The government did not directly provide protection services to trafficking   repatriation assistance. DGS reported that as of September 2020, DGS
          victims, nor funding for services for adult victims, but it continued to     had released and repatriated 600 of the 700 detainees who had been
          work in partnership with NGOs to provide essential victim services.          at the center at the start of the reporting period. The NGO continued
          NGO-run victim care facilities in Lebanon were dedicated only to             to report high levels of professionalism, sensitivity, and awareness
          female and child trafficking victims; there were no services available       among DGS officials and investigators, which allowed the NGO to more
          or government resources dedicated to male trafficking victims, even          effectively identify victims among detainees.
          though forced labor of men in construction reportedly continued. As
                                                                                       Victims could ﬁle civil suits to obtain compensation; however, the
          in previous reporting periods, an NGO reported referring male victims
                                                                                       government did not report whether courts awarded compensation to
          to their embassy or consulate for accommodation. The government
                                                                                       victims through civil suits during the reporting period. Investigative
          and an NGO renewed a longstanding memorandum of understanding
                                                                                       judges could exclude the identity of a victim from official reports if there
          whereby DGS referred female victims to an NGO-run safe house and
                                                                                       was a concern that providing information about the crime could result in a
          provided security for the location; the government did not allow victims
                                                                                       threat to the life or safety of the victim or their family. In addition, victims
          to work while receiving assistance at the safe house. In response to
                                                                                       could provide testimony via video or written statement. The government
          pandemic-related mitigation measures, the NGO continued to provide
                                                                                       did not report whether any of these safeguards were invoked or provided
          single-occupant rooms for quarantine purposes. During the reporting
                                                                                       during the reporting period. Judges could allow foreign victims to
          period, the safe house assisted 183 trafficking victims. Victim services
                                                                                       reside in Lebanon during the investigation, but the government did
          were not time-limited or conditional upon victims’ cooperation with
                                                                                       not report any judges issued such a decision. NGOs continued to report
          law enforcement. MOSA also continued to coordinate and fund the
                                                                                       foreign victims preferred quick administrative settlements followed by
          provision of protection services to child trafficking victims through
                                                                                       repatriation rather than long criminal prosecutions because of the lack of
          contractual agreements with NGOs. Foreign embassies that provided
                                                                                       protection services or resettlement options during criminal proceedings.
          shelter to nationals when NGO shelters were full reported providing
                                                                                       An international organization reported pandemic-related lockdowns
          accommodation to an increased number of their nationals, including
                                                                                       and airport closures further encouraged victims to return home rather
          domestic servitude victims, due to the economic crisis. For the third
                                                                                       than remain in Lebanon under severe lockdown measures and poor
          consecutive year, MOSA coordinated with an international organization
                                                                                       economic conditions. Therefore, authorities faced challenges pursuing
          to provide technical support for the development of an implementation
                                                                                       potential cases of trafficking when victims chose voluntary repatriation,
          decree to create a victim assistance fund; the decree remained in draft
                                                                                       as they were not present in the country to testify against their traffickers.
          form at the end of the reporting period.
                                                                                       The government did not provide temporary or permanent residency
          The government continued to arrest, detain, and deport unidentiﬁed           status or other relief from deportation for foreign trafficking victims
          victims for unlawful acts traffickers compelled them to commit, such         who faced retribution or hardship in the countries to which they would
          as domestic workers who ﬂed abusive employers, out-of-status or              be deported. During the reporting period, an NGO reported Lebanese
          undocumented migrant workers, women holding artiste visas, and               authorities deported or otherwise created coercive environments that
          persons in commercial sex. NGOs reported some foreign victims,               pushed Syrian refugees to return to Syria without assessing protection
          including migrant domestic workers, sometimes refused to ﬁle complaints      needs; the Government of Syria had a government policy or pattern of
          or retracted testimony due to fear of reprisal or deportation. Under the     human trafficking, exploiting its nationals in forced labor in compulsory

 348                                                                                                                                   Haiti AR_000829
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 454 of 729




                                                                                                                                                           LEBANON
military service by forcing them to serve for indeﬁnite or otherwise         TRAFFICKING PROFILE
arbitrary periods and recruiting or using child soldiers.                    As reported over the past ﬁve years, human traffickers exploit domestic
                                                                             and foreign victims in Lebanon, and traffickers exploit victims from
PREVENTION                                                                   Lebanon abroad. Women and girls from South and Southeast Asia and an
The government maintained weak efforts to prevent trafficking. The           increasing number from East and West Africa are subjected to domestic
national anti-trafficking commission under the National Human Rights         servitude in Lebanon. According to an international organization,
Committee continued to coordinate anti-trafficking efforts during the        250,000 migrant domestic workers were in Lebanon in 2019. Lebanese
reporting period. The government did not adopt its 2013 draft NAP, but       government officials and NGOs report most employers withhold their
relevant ministries continued to implement portions of the plan. During      domestic workers’ passports and some employers also withhold workers’
the reporting period, MOSA worked with an international organization         wages, force them to work excessive hours without rest days, restrict
to develop a plan to protect vulnerable migrants; the plan was pending       their freedom of movement, and physically or sexually abuse them. NGOs
ﬁnalization at the end of the reporting period. The government did not       report that such abuse of domestic workers is typically underreported.
report conducting any public awareness campaigns during the reporting        Many migrant workers arrive in Lebanon through legal employment
period. DGS and the MOL continued to operate hotlines to receive reports     agencies but are subsequently exploited or abused by their employers,
of abuse and migrant worker complaints, including suspected trafficking      and some employment agencies recruit workers through fraudulent
crimes. The MOL hotline received 250 trafficking-related calls, but the      or false job offers. The prolonged economic crisis exacerbated by the
government did not report how many calls the DGS hotline received            pandemic prompted approximately 30,000 migrant workers to leave
during the reporting period. The government did not report whether           Lebanon in 2020. The government issued 23,036 visas for migrant
the government identiﬁed any victims or initiated any investigations as      workers in 2021, compared to 9,409 in 2020, and 33,075 in 2019. NGOs
a result of these calls. DGS continued a program to inform artiste visa      reported employers continued dropping domestic workers off at their
holders about restrictions and obligations of their visa status upon         embassies during the reporting period because they were unable to
arrival to Beirut Raﬁk Hariri International Airport. Under the program,      continue paying salaries, and an international organization reported
if the visa holder objected to the visa’s terms, they were free to return    renewals of migrant domestic worker contracts decreased from 151,121
to their home country. DGS reported that no artiste visas were issued        in 2019 to 109,672 in 2020. There continued to be an increase in cases of
during the reporting period. Under a directive from DGS, airport officers    victims exploited by nationals of their own country of origin, particularly
continued to return passports directly to foreign domestic workers           among migrant workers. Traffickers among the same nationality coerce
upon their arrival in Lebanon, but NGOs reported that many employers         migrant workers who have been ﬁred or abandoned by their Lebanese
ultimately conﬁscated workers’ passports in private. The government          employer into domestic servitude or sex trafficking. NGOs reported
did not have a law that prohibited or penalized conﬁscation of workers’      demand for domestic workers already in Lebanon continued during the
passports or travel documents by employers or labor agents.                  reporting period due to pandemic-related travel restrictions and the
Lebanon’s labor law excluded migrant domestic workers, denying               economic crisis. NGOs reported the combined impact of the economic
them protections such as a minimum wage, limits on working hours,            and ﬁnancial crises and pandemic restrictions increased vulnerability of
and other labor protections. In September 2020, the caretaker Minister       Lebanese nationals to trafficking. NGOs and international organizations
of Labor attempted to introduce an amendment to the draft labor law          reported an increase in exploitation of Lebanese adults by Lebanese
extending legal protections to foreign workers, including domestic           nationals—particularly in industries such as custodial services—and similar
workers; however, the State Shura Council determined a minister in           to migrant workers previously ﬁlling the same jobs; these Lebanese
caretaker status could not submit an amendment to a law, and the draft       workers were subjected to abuses, such as nonpayment of wages, poor
labor law remained pending at the end of the reporting period. The           working conditions, and excessive hours.
standardized work contract for migrant domestic workers drafted by a         Women, primarily from Russia, Ukraine, Belarus, Moldova, Morocco,
joint government and international organization working group to reform      and Tunisia, legally enter Lebanon to work as dancers in nightclubs
the visa sponsorship system and approved by the caretaker Minister of        through Lebanon’s artiste visa program. An artiste visa is valid for
Labor during the previous reporting period remained suspended at the         three months and can be renewed once. The terms of the artiste visa
end of the reporting period. An NGO reported the MOL circulated, in          prohibit foreign women working in these nightclubs to leave the hotel
February 2022, a new draft standardized contract that failed to meet         where they reside, except to work in the nightclubs that sponsor them,
basic international labor standards; the MOL denied issuing such a           and nightclub owners withhold the women’s passports and wages and
draft. Because many domestic workers became unemployed due to                control their movement. Traffickers also exploit these women through
the economic crisis in Lebanon, DGS for the second consecutive year          physical and sexual abuse and domestic servitude. The government and
waived requirements for notarized employer approval for workers to           NGOs reported the number of migrant domestic workers and artiste visa
change employers; the government did not report for how long these           holders entering Lebanon was signiﬁcantly lower in 2021; the government
requirements would be waived. DGS also continued a program begun in          reported no artiste visa holders entered Lebanon in 2021, compared
March 2020 to waive most overstay ﬁnes and provided plane tickets for        with 774 in 2020 and 3,376 in 2019. The government reported 29 out
an unspeciﬁed number of migrant workers, including potential trafficking     of 42 adult nightclubs closed permanently due to the economic crisis
victims; although the program still required out-of-status migrants          and pandemic-related shutdowns, after which artiste visa holders either
to pay one year’s worth of fees—between 300,000 and 400,000 lira             returned to their home countries or stayed in Lebanon if they found
($200-$270)—DGS waived all fees when NGOs or foreign embassies               work at a different nightclub.
requested. A 2015 ministerial decree prohibited recruitment agencies
                                                                             Adults and children among the estimated more than 1.5 million Syrian
from requesting or receiving any worker-paid recruitment fees, but
                                                                             refugees in Lebanon are at high risk of sex trafficking and forced
the government acknowledged numerous unregistered recruitment
                                                                             labor. Restrictions on Syrians’ ability to work legally in Lebanon and
agencies operated illegally and may have charged migrant workers
                                                                             the enforcement of visa and residence permit laws increase this
recruitment fees. In 2021, the MOL closed three recruitment agencies for
                                                                             population’s vulnerability to trafficking. Syrians are commonly involved
labor violations or complaints of mistreating migrant domestic workers.
                                                                             in the exploitation of other Syrians in Lebanon, particularly targeting
The MOL also maintained a list of an unknown number of recruitment
                                                                             refugees ﬂeeing the conﬂict. For example, Syrian traffickers hold Syrian
agencies that had committed fraudulent recruitment practices; however,
                                                                             refugee adults and children in bonded labor to pay for food, shelter,
owners of blacklisted recruitment agencies reportedly opened new
                                                                             and transit to Lebanon, and they contract out groups of refugees
agencies registered under the names of new partners. The government,
                                                                             to work in the agricultural sector in the Bekaa Valley. Similarly, an
however, did not report prosecuting any recruitment or employment
                                                                             international organization reports evidence of bonded labor within
agencies for potential trafficking crimes during the reporting period. The
                                                                             refugee communities, where child labor is used in exchange for living in
government did not take steps to reduce the demand for commercial
                                                                             informal tented settlements. Child labor and forced child labor among
sex acts or address child sex tourism by Lebanese nationals abroad. The
                                                                             the Syrian refugee population continues to increase, particularly in
government did not provide anti-trafficking training for its diplomatic
                                                                             agriculture, construction, and street vending and begging. These children
personnel.
                                                                             are at high risk for labor trafficking, especially on the streets of main
                                                                                                                              Haiti AR_000830              349
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 455 of 729
LESOTHO   urban areas such as Beirut and Tripoli, as well as in the agricultural sectors    operations between law enforcement and labor inspectors to increase
          of Bekaa and Akkar. For example, in 2019, international organizations             identiﬁcation of victims of forced labor, particularly in manufacturing and
          reported the presence of children working in illegal cannabis farms in            agriculture sectors, and facilitate effective criminal investigations against
          the Bekaa. NGOs report that some Syrian refugee children are forced or            traffickers. • Institutionalize and consistently enforce strong regulations
          coerced to conduct criminal activity. Syrian refugee LGBTQI+ persons,             and oversight of labor recruitment companies, including by eliminating
          women, girls, and some men are highly vulnerable to sex trafficking.              recruitment fees charged to migrant workers and holding fraudulent labor
          Many women and girls who were recruited from Syria with false promises            recruiters criminally accountable. • Formalize cross border collaboration
          of work were subjected to commercial sexual exploitation in which they            with regional governments through developing effective professional
          experienced mental, physical, and sexual abuse and forced abortions.              relationships with judiciaries and law enforcement agencies to increase
          Family members or powerful local families forced some Syrian refugee              information sharing and coordination on transnational trafficking
          women and girls into commercial sex acts or early marriage to ease                investigations. • Systematically collect and analyze anti-trafficking law
          economic hardships; these women and girls are highly vulnerable to                enforcement and victim protection data.
          trafficking. Lebanese nationals ﬂeeing the economic crisis reportedly
          joined Syrian refugees to migrate irregularly from north Lebanon to               PROSECUTION
          Cyprus and Turkey, and an international organization reported organized           The government increased anti-trafficking law enforcement efforts,
          trafficking networks fraudulently offered Lebanese nationals false or             although serious allegations of official complicity in trafficking remained
          misleading job opportunities. Syrians and Lebanese nationals traveling            signiﬁcant. The 2011 Anti-Trafficking in Persons Act, as amended,
          through these channels are vulnerable to sex trafficking in Turkey.               criminalized labor trafficking and sex trafficking. The law prescribed
                                                                                            penalties of up to 25 years’ imprisonment for the trafficking of adults
                                                                                            and up to life imprisonment for the trafficking of children. These
                                                                                            penalties were sufficiently stringent and, with regard to sex trafficking,
           LESOTHO: TIER 2                                                                  commensurate with penalties prescribed for other serious crimes,
                                                                                            such as rape.
          The Government of the Kingdom of Lesotho does not fully meet the                  The government initiated 10 investigations into potential human
          minimum standards for the elimination of trafficking but is making                trafficking—ﬁve for labor trafficking and ﬁve for unspeciﬁed exploitation—
          signiﬁcant efforts to do so. The government demonstrated overall                  and continued three investigations from previous reporting periods,
          increasing efforts compared with the previous reporting period,                   compared with four investigations initiated during the previous reporting
          considering the impact of the COVID-19 pandemic on its anti-trafficking           period. The government prosecuted 16 trafficking cases, compared with
          capacity; therefore Lesotho was upgraded to Tier 2. These efforts                 four previously, and convicted one trafficker, which is the same as the
          included identifying more trafficking victims and increasing investigations       previous reporting period. Of the 16 prosecutions, six cases involved
          and prosecutions. The government launched its national action plan                forced labor, and 10 cases involved sex trafficking, all of which involved
          and allocated funding for implementation; ﬁnalized and implemented                Basotho victims. The government convicted and sentenced one trafficker
          guidelines for victim identiﬁcation and referral to care; and increased           to 10 years in prison and a ﬁne for forced labor; however, the sentence
          its anti-trafficking training and awareness-raising efforts for law               was suspended on the condition that the trafficker return to their home
          enforcement, diplomats, and the public. However, the government did not           country within two months of release. The government appealed the
          meet the minimum standards in several key areas. Several investigations           suspended sentence; however, the appeal did not proceed since the
          and prosecutions from the previous reporting period, including cases              trafficker returned to their home country. In 2020, South African officials
          of alleged official complicity, were still pending. The government did            deported a Nigerian victim of labor trafficking exploited in Lesotho. The
          not amend existing laws that created jurisdictional issues that prevent           trafficker was permitted to continue operating his business in Lesotho
          magistrate courts from issuing the maximum penalty for trafficking                for two years with impunity; however, during the reporting period, the
          crimes. The government continued to rely on one NGO to provide all                government opened an investigation and arrested the trafficker, who
          services to trafficking victims in the country with nascent government            was released on bail. The case remained ongoing at the end of the
          funding, and shelter options remained limited.                                    reporting period.
                                                                                            For the seventh consecutive year, the government did not address a
                   LESOTHO TIER RANKING BY YEAR                                             jurisdictional issue impeding efforts to hold traffickers accountable,
               1                                                                            although officials drafted and submitted to parliament an amendment
                                                                                            to the Subordinate Court Act, which would address the issue, but it
               2
                                                                                            remained pending approval at the end of the reporting period. The
            2WL                                                                             magistrate courts, which are the court of ﬁrst instance for trafficking
               3                                                                            cases, lacked authority to impose the maximum penalties allowed
                     2015      2016      2017     2018   2019   2020     2021     2022      in trafficking crimes. For a majority of the reporting period, courts
                                                                                            adopted an abbreviated schedule due to pandemic-related public health
                                                                                            restrictions; however, they continued to hear cases and introduced
                                                                                            online hearings to continue deliberations without physical attendance
          PRIORITIZED RECOMMENDATIONS:                                                      at court houses. Additionally, due to a shortage of magistrates and a
          Increase efforts to investigate, prosecute, and convict traffickers,              large backlog of criminal cases, only three magistrates were assigned
          including officials complicit in trafficking crimes, and impose                   to hear trafficking cases. However, 10 magistrates received training
          sufficiently stringent penalties. • Amend the Subordinate Court Act               during the reporting period to hear trafficking cases in their respective
          to ﬁx jurisdictional issues preventing magistrate courts from issuing             jurisdictions. The government appointed seven high court judges to
          the maximum penalty for trafficking crimes. • Adequately fund the                 ameliorate the backlog of criminal cases.
          Anti-Trafficking and Migrant Control Unit and establish focal points
                                                                                            The Lesotho Mounted Police Service’s (LMPS) Anti-Trafficking and
          with training on human trafficking investigations for all 10 districts of
                                                                                            Migrant Control (ATMC) Unit was responsible for all trafficking-related
          Lesotho to ensure effective responsiveness to all potential trafficking
                                                                                            investigations. The ATMC Unit added four new specialized trafficking
          cases. • Institutionalize specialized trafficking in persons training to police
                                                                                            in persons focal points, comprised of three to four investigators, in
          investigators, prosecutors, magistrates, judges, immigration officials,
                                                                                            Butha-Buthe, Leribe, Mafeteng, and Mohale’s Hoek, in addition to one
          social service personnel, and health care professionals. • Fully fund the
                                                                                            already established in Maseru. The ATMC focal points received some
          Victim of Trafficking Trust Fund, establish reporting requirements for
                                                                                            logistical and administrative support from LMPS; however, they lacked a
          transparency, and ensure appropriate allocations for victim protection,
                                                                                            dedicated budget. Members of each focal point received basic training
          including shelter. • Establish a conﬁdential human trafficking hotline
                                                                                            on trafficking in persons but lacked specialized training on victim
          for victims to access referrals to services and to facilitate reports
                                                                                            identiﬁcation, trauma-informed interviewing, and investigating human
          of human trafficking, including official complicity. • Increase joint

 350                                                                                                                                      Haiti AR_000831
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 456 of 729




                                                                                                                                                                 LESOTHO
trafficking. The ATMC Unit held monthly meetings with the Office of the          additional training for law enforcement and frontline workers on the
Director of Public Prosecutions (DPP) to conduct joint case reviews and          SOPs for victim identiﬁcation and the NRM and to increase accessibility
facilitate prosecution-led investigations. The LMPS, Ministry of Labor and       by translating both into other languages.
Employment (MOLE), and Ministry of Home Affairs (MHA) with support
                                                                                 For the ﬁrst time, the government allocated funding for efforts to
from an international organization, formed a joint task force to conduct
                                                                                 combat trafficking in persons through a dedicated bank account, which
joint inspections targeting forced labor; the task force identiﬁed several
                                                                                 was created instead of the required Victim of Trafficking Trust Fund, as
cases involving potential foreign national victims. The LMPS developed
                                                                                 stipulated under the anti-trafficking law, for reasons of expediency. The
relationships and informal platforms to enable coordination between
                                                                                 bank account included no reporting mechanism to ensure accountability.
LMPS and the South African Police Service to expedite investigations
                                                                                 The MHA approved 500,000 maloti ($31,480) for the reporting period
and prosecutions; however, LMPS reported difficulty engaging with
                                                                                 and 2 million maloti ($125,930) for the following year; however, funding
their South African counterparts due to strict border restrictions and
                                                                                 allocations were not provided. While Lesotho law provided restitution
corruption. Lesotho and South African governments collaborated on
                                                                                 in trafficking cases, no judges ordered it during the reporting period.
the ongoing prosecution of two trafficking cases involving Basotho
                                                                                 The anti-trafficking act and its implementing regulations prohibited
victims in South Africa.
                                                                                 the prosecution of victims for unlawful acts traffickers compelled them
Corruption and official complicity in trafficking crimes remained                to commit, allowed foreign victims to elect permanent residency as a
signiﬁcant concerns. Two investigations into officials allegedly complicit       legal alternative to their removal, and encouraged victims to assist in
in trafficking-related offenses, initiated in the previous reporting period,     the investigation of traffickers. For foreign victims, provision of care
remained ongoing. In one case, a senior government official allegedly            beyond a 60-day reﬂection period was dependent on their cooperation
assisted third-country nationals with illegal entry into South Africa via        with law enforcement; authorities repatriated victims who did not
Lesotho by circumventing South African entrance requirements. The case           cooperate with law enforcement after the reﬂection period. The Ministry
was investigated as a trafficking crime, but elements of human trafficking       of Foreign Affairs (MFA) was responsible for coordinating with the
could not be established to prosecute under the human trafficking law.           victim’s home country for the issuance of travel documents within 60
The official was placed on administrative leave pending the outcome              days of victim identiﬁcation if the victim no longer had possession of
of the investigation. The LMPS also initiated an investigation into the          their travel documents. If a foreign national victim cooperated with
potential trafficking of a child transported to South Africa under the           law enforcement, they could remain in Lesotho for the duration of the
promise of employment with implications of official complicity. The              criminal case; however, barring safety concerns or qualiﬁcations of other
government implemented a rotational system for immigration officials             immigration beneﬁts, the victim had to return to their home country
to deter participation in illicit activities, including human trafficking. In    following the conclusion of any criminal proceedings. For citizens of
an effort to enforce accountability, observers reported law enforcement          Lesotho exploited abroad, the government facilitated repatriation and
required training on appropriate conduct and mechanisms to ensure                coordination of services for two Basotho victims identiﬁed abroad in
victims are treated respectfully during investigations.                          collaboration with the local government.

PROTECTION                                                                       PREVENTION
The government increased victim identiﬁcation and protection efforts.            The government increased anti-trafficking prevention efforts. The
The government identiﬁed 24 trafficking victims, including 10 labor              Prime Minister’s cabinet subcommittee to combat trafficking in persons
trafficking victims and 14 sex trafficking victims, compared with                convened regularly—setting the agenda for the government’s anti-
two victims during the previous reporting period. The government                 trafficking efforts—and launched the National Strategic Framework and
referred all identiﬁed victims to care. The government ﬁnalized, with            Action Plan (NFSAP) to Combat Trafficking in Persons for 2021-2026,
support from an international organization, and launched its standard            with assistance from international partners. The NSFAP provided a
operating procedures (SOPs) for victim identiﬁcation and national                roadmap for anti-trafficking efforts that delineated responsibilities
referral mechanism (NRM) and began implementation. The government                among government ministries and included dedicated resources for
appointed a Trafficking in Persons Coordinator to supervise district             implementation. The government’s multi-sectoral committee (MSC), led
social workers handling trafficking cases and train social workers on            by MHA and charged with implementing the government’s anti-trafficking
human trafficking. NGOs and international organizations identiﬁed 60             efforts, met regularly in Maseru and held additional meetings across the
potential victims of trafficking through transit monitoring at airports          country with support from an international organization. The government
and border crossings.                                                            partnered with an international organization through a donor-funded
                                                                                 program to update and launch the MSCs’ SOPs for victim identiﬁcation.
An NGO had a memorandum of understanding (MOU) with the
                                                                                 Training was conducted by an international organization on the NRM
government to provide emergency shelter to both foreign and Basotho
                                                                                 and SOPs to 160 government and NGO participants, including at least
female and child victims of trafficking, sexual assault, and domestic
                                                                                 20 government officials from each district representing the Ministry of
violence, as well as their dependent children. The NGO provided medical
                                                                                 Social Development, LMPS, Magistrates, the Crown Counsel, the Ministry
care, counseling, job skills training, and legal assistance. For the ﬁrst time
                                                                                 of Education, the Ministry of Health, and the District Administrators Office.
in several years, the government paid for the shelter’s utilities, totaling
                                                                                 The MFA, with support from an international organization, conducted
50,000 maloti ($3,150) during the reporting period, and contributed
                                                                                 pre-departure training on trafficking in persons for all diplomats and
32,500 maloti ($2,050) to cover legal fees, counseling, school fees,
                                                                                 launched a trafficking in persons handbook for diplomats. The MFA also
and other expenses. Additionally, the government paid for security
                                                                                 appointed focal points based in all 20 of Lesotho’s foreign missions
and medical care for victims. However, the shelter requires signiﬁcant
                                                                                 and consulates to respond to cases of human trafficking of Lesotho
external funding to maintain operation. While trafficking victims had a
                                                                                 citizens identiﬁed abroad.
choice to enter the NGO shelter, it was the only residential assistance
available. At the shelter, victims had freedom of movement and could             The government increased efforts to raise awareness, especially
terminate their residency at will. The NGO provided supportive services          in outreach efforts to vulnerable communities, and continued its
to male trafficking victims; however, there were no shelters equipped to         participation in NGO-led activities. Government officials participated
house male victims. The government donated a building in Maseru to               in prevention education activities organized by an NGO, consisting
an NGO for additional shelter space once renovations are completed.              of 306 campaign events in ﬁve districts, increasing awareness of
Observers expressed a need for shelters countrywide since victims of             trafficking in persons to more than 17,490 Lesotho citizens. Campaign
human trafficking are identiﬁed in all districts. NGOs and international         materials were printed in Sesotho and English, with picture illustrations
organizations provided care to 55 trafficking victims, including six             for illiterate community members, and a video screening of a ﬁlm was
sex trafficking victims, 32 labor trafficking victims, and 17 victims of         conducted in Sesotho with English subtitles. Beginning in August 2021,
unspeciﬁed exploitation. The government facilitated virtual court                the government conducted awareness raising activities on trafficking in
proceedings in cases where victims experienced fear or intimidation              persons for communities in the 10 districts of the country; the program
by the accused trafficker. The government provided trafficking victims           was ongoing at the end of the reporting period. The government
with legal representation at no cost. Observers reported the need for            also targeted outreach and awareness efforts to Basotho diaspora
                                                                                                                                   Haiti AR_000832               351
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 457 of 729
LIBERIA   communities accompanied by NGOs serving Lesotho citizens abroad.            People’s Republic of China- (PRC), and South Asian-owned textile
          MHA, in collaboration with the Lesotho Consulates in South Africa,          factories in Lesotho, including widespread reports that managers and
          NGOs, and taxi operators’ associations, embarked on roadshows in            supervisors coerced female workers into sexual relationships in exchange
          South Africa to raise awareness of human trafficking. Additionally, LMPS    for maintaining employment, receiving better working conditions, and
          conducted 220 public gatherings, 46 school visits, 109 orientations, and    avoiding further sexual harassment. Pandemic-induced layoffs increased
          32 radio and TV programs to raise awareness of trafficking in persons.      vulnerabilities of the predominantly female textile workforce, resulting
                                                                                      in some engaging in commercial sex.
          The MHA and Department of Immigration collaborated with NGOs
          and international organizations to increase proactive identiﬁcation         Basotho women and girls seeking work voluntarily migrate to South
          of potential trafficking victims through transit monitoring at key          Africa, where traffickers detain some in prison-like conditions and
          border crossings and airports. The government had an agreement              exploit others in sex trafficking. Traffickers exploit some Basotho men
          with the Government of South Africa aimed to increase protections           who migrate voluntarily, although unauthorized and often without
          for Basotho employed in South Africa, including in domestic work.           identity documents, to South Africa for work in agriculture and mining
          The agreement authorized the issuance of long-term work permits,            in forced labor; many of these men work for weeks or months before
          required signed employment contracts, and allowed Basotho to register       their employers report them to South African authorities for deportation
          for unemployment insurance in South Africa; despite this agreement,         on immigration violations to avoid paying earned wages. Traffickers
          Basotho remained vulnerable to trafficking. The government did not make     connected to organized crime syndicates operating in South Africa
          efforts to reduce the demand for commercial sex acts. Labor inspectors      allegedly exploit and sometimes kill Basotho men in derelict and
          conducted 500 inspections in 2021, primarily in textile factories, and      ownerless gold mines. Traffickers also compel Basotho to commit crimes
          identiﬁed one case of forced child labor, compared with 70 inspections      in South Africa, including theft, drug trafficking, and smuggling under
          with no cases identiﬁed in 2020. MOLE reported holding monthly forced       threat of violence or through forced drug use.
          labor awareness campaigns for workers in formal economy businesses.
                                                                                      The pandemic increased vulnerability of migrant workers returning
          The government continued to implement its labor migration policy
                                                                                      to Lesotho after losing employment in South Africa. Increased
          focused on recruitment malpractice during the reporting period and
                                                                                      unemployment due to the closure of factories drives some Lesotho
          incorporated screening for trafficking indicators into labor inspectors’
                                                                                      citizens to enter South Africa while undocumented in search of work,
          interviews with migrants. The government also continued to discuss
                                                                                      which may increase their vulnerability to trafficking. COVID-19 testing
          trafficking in persons in pre-departure sessions for migrant workers and
                                                                                      requirements for entry caused some migrants entering Lesotho from
          conducted inspections to conﬁrm licensure of recruitment agencies and
                                                                                      South African border crossings to seek alternative routes. Foreign
          their compliance with labor code provisions. The Ministry of Police and
                                                                                      nationals, including PRC nationals, Pakistanis, and Nigerians, subject
          Public Safety, through the ﬁnancial and technical support of a foreign
                                                                                      their compatriots to sex trafficking in Lesotho. Cuban nationals working
          government and an international organization, held a one-day workshop
                                                                                      in Lesotho may be forced to work by the Cuban government.
          on human trafficking, vulnerabilities, and identiﬁcation of victims for
          50 labor inspectors, migrant liaison officers, and recruitment agency
          staff. The Immigration Department within the MHA conducted trainings
          for 59 border officials on assessing fraudulent documents, identifying
          human trafficking, and referring victims to services using the NRM.          LIBERIA: TIER 2
          Pandemic-induced restrictions on gatherings hampered government
          efforts to provide additional training.                                     The Government of Liberia does not fully meet the minimum standards
                                                                                      for the elimination of trafficking, but is making signiﬁcant efforts to do
          The government did not operate a hotline for trafficking victims to
                                                                                      so. The government demonstrated overall increasing efforts compared
          locate services or for public reporting of the crime. Through support
                                                                                      with the previous reporting period, considering the impact of the
          from an international organization, the government operated a child
          protection hotline. Law enforcement operated a hotline for reporting        COVID-19 pandemic on its anti-trafficking capacity; therefore Liberia
          all crimes, including human trafficking. During the reporting period,       was upgraded to Tier 2. These efforts included passing and enacting a
          MHA established a general hotline, which identiﬁed and referred four        new trafficking law with provisions that removed the means element for
          victims of trafficking to services using the NRM. With support from an      child sex trafficking crimes; increasing investigations, prosecutions, and
          international organization, the government contributed information to       convictions; and allocating more funding to NGOs to conduct awareness-
          a centralized anti-trafficking database that collected national data on     raising campaigns. The police established a new anti-trafficking unit,
          criminal cases and victims identiﬁed and shared it with countries in the    and for the ﬁrst time, the Ministry of Labor hired lawyers dedicated
          region. During the reporting period, MHA commissioned a study by an         to prosecuting trafficking cases. However, the government did not
          NGO to examine trends and patterns of human trafficking in Lesotho.         meet the minimum standards in several key areas. Shelter services for
          Starting in the last reporting period, MOLE continued an assessment         victims remained insufficient, and the government did not support
          of child labor, including child trafficking, in Lesotho, and allocated 2    NGOs providing care to victims. Law enforcement officials continued to
          million maloti ($125,980) to the study.                                     lack adequate resources and understanding of trafficking to effectively
                                                                                      investigate and prosecute trafficking crimes.
          TRAFFICKING PROFILE
          As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                               LIBERIA TIER RANKING BY YEAR
          and foreign victims in Lesotho, and traffickers exploit victims from
                                                                                           1
          Lesotho abroad. Traffickers increasingly use social media to identify and
          recruit victims into forced labor and sex trafficking. Limited economic         2
          opportunities, exacerbated by the pandemic, resulted in vulnerable            2WL
          populations, including women and orphaned children, enticed by                   3
          traffickers with false promises of legitimate employment or educational                 2015      2016      2017    2018   2019   2020   2021    2022
          opportunities, to migrate from rural into urban areas, South Africa,
          or the Middle East. In Lesotho, traffickers exploit Basotho children in
          domestic servitude and animal herding; traffickers also exploit children,
          especially orphans who migrate to urban areas, in sex trafficking.          PRIORITIZED RECOMMENDATIONS:
          Young girls, especially orphans, regularly engaged in domestic work in      Expand victim services—particularly for victims outside the capital, males,
          exchange for room and board; such informal, imbalanced, and private         and victims requiring long-term care. • Increase efforts to investigate
          arrangements render these children vulnerable to forced labor and           and prosecute trafficking cases, including internal trafficking cases and
          abuse from employers. There were anecdotal reports that “workshop           officials accused of complicity. • Train labor inspectors and social workers
          masters” force children to produce and sell arts and crafts in market       on standard victim identiﬁcation procedures and the national referral
          vending. There were reports of rampant sexual harassment in Taiwanese-,     mechanism. • Improve collaboration between anti-trafficking police
 352                                                                                                                                  Haiti AR_000833
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 458 of 729




                                                                                                                                                               LIBERIA
units, immigration, labor, and judicial authorities and allocate ﬁnancial       and a legal handbook on human trafficking for prosecutors and
and in-kind resources, as feasible, dedicated to anti-trafficking law           judges. The government provided some support to an international
enforcement activities. • Increase ﬁnancial or in-kind support to NGOs          organization to train law enforcement and judicial officials on conducting
that support trafficking victims. • Train law enforcement and judicial          trafficking investigations and identifying victims. Nonetheless, officials
officials on identifying, investigating, and prosecuting trafficking cases      and NGOs reported many labor inspectors, police, prosecutors, and
under the revised 2021 anti-trafficking law. • Increase labor inspections       judges remained unable to identify trafficking and lacked sufficient
in the informal sector and mining regions to improve identiﬁcation of           resources, impeding trafficking investigations and prosecutions. The
trafficking cases, including child forced labor. • Increase efforts to raise    government cooperated with an international organization to train
public awareness of human trafficking, including internal trafficking. •        judges, prosecutors, defense attorneys, and law enforcement on the
Allocate ﬁnancial and in-kind resources, as feasible, to the anti-trafficking   newly-passed TIP law.
task force. • Screen foreign workers, including Cuban overseas workers
and People’s Republic of China (PRC) nationals employed at PRC                  PROTECTION
national-run worksites, for forced labor indicators and refer identiﬁed         The government increased efforts to identify and protect trafficking
forced labor victims to appropriate services.                                   victims. The government reported it identiﬁed 35 trafficking victims,
                                                                                compared with identifying 29 during the previous reporting period.
PROSECUTION                                                                     Of the 35 victims, authorities identiﬁed four victims from Nigeria and
The government increased anti-trafficking law enforcement efforts. The          two from Sierra Leone; the government provided shelter and basic
government passed and enacted the Revised Act to Ban Trafficking                necessities to the six victims while they waited to testify in a trafficking
in Persons Within the Republic of Liberia, in September 2021, which             case. In addition, the government reported that it provided short-term
amended the 2005 Act to Ban Trafficking in Persons and brought                  accommodation in a government-run shelter to the 27 Liberian victims
Liberia’s trafficking laws in line with international law. The Revised          among the 35 identiﬁed. The government had standard operating
Act criminalized all forms of sex and labor trafficking and prescribed          procedures and a national referral mechanism to identify trafficking
minimum sentences of 20 years’ imprisonment, which were sufficiently            victims and refer them to care. However, law enforcement, immigration,
stringent and, with respect to sex trafficking, commensurate with those         and social services personnel lacked training on such procedures and,
prescribed for other serious crimes, such as kidnapping. Article 1-104(f)       at times, misidentiﬁed trafficking victims as victims of other crimes.
deﬁned “exploitation” broadly to include child pornography, which was           The government did not report training officials on the national referral
inconsistent with international law.                                            mechanism, in part due to pandemic-related gathering restrictions.
The government investigated 13 trafficking cases, initiated prosecution of      Police and community members generally referred trafficking victims to
12 defendants, and continued prosecuting nine defendants, an increase           the Ministry of Gender, Children, and Social Protection (MOGCSP). The
compared with seven case investigations and prosecutions of two                 anti-trafficking task force working group, which included the MOGCSP,
defendants in the previous reporting period. The courts convicted eight         was responsible for coordinating victim care. The MOL operated two
traffickers, compared to zero convictions during the previous reporting         shelters for child labor and child trafficking victims; however, poor
period, with one trafficker sentenced to six years’ imprisonment and            maintenance and lack of staff training and capacity reportedly created
seven traffickers whose sentences were pending. The government                  inhospitable living conditions, which caused some victims to leave
sometimes prosecuted and convicted crimes as human trafficking which            the shelter. In cooperation with an international organization, the
lacked a clear element of exploitation. As of January 2021, Ministry of         government began rehabilitating the shelters and training staff during
Labor (MOL) lawyers had the authority to prosecute trafficking and child        the reporting period. The government arranged for an international
labor cases, and MOL hired eight lawyers to prosecute trafficking cases;        NGO to provide shelter and services for child victims of neglect and
MOL prosecuted ﬁve trafficking cases, compared to one case during the           abuse, which could also provide short-term shelter to child trafficking
previous reporting period. Officials continued to lack understanding of         victims. The MOGCSP operated shelters in Lofa and Nimba for gender-
internal trafficking, and some continued to view forms of trafficking,          based violence victims that female trafficking victims could access;
especially forced labor of children in domestic servitude, as a community       the shelters provided long-term care and social services. However, an
practice rather than a crime. Prosecutors may have pursued other                international organization noted that the shelters were overcrowded
charges, including rape and child endangerment in lieu of sex trafficking       and lacked funds. Additionally, the MOGSCP operated several transit
or child forced labor, due to a lack of understanding of human trafficking.     centers that provided medical services and short-term accommodation.
For the second consecutive year, the government did not report any              Each transit center should have had at least one social worker, one
investigations, prosecutions, or convictions of government officials            nurse trained in sexual-and gender-based violence cases, and one
complicit in human trafficking offenses; however, corruption and official       police officer on staff; however, resources allocated to each center
complicity in trafficking crimes remained signiﬁcant concerns, inhibiting       varied. Most of the transit centers operated only during the daytime
law enforcement action during the year.                                         and did not provide short-term accommodations. Twelve LNP WACPS
                                                                                facilities could provide short-term accommodations to child victims
The Liberian National Police (LNP) established a new Anti-Trafficking           of crime, and occasionally adult victims, but lacked basic amenities;
in Persons Unit in December 2021. The LNP’s Women and Children                  an international organization renovated six of the centers during the
Protection Section (WACPS) also bore primary responsibility for                 reporting period. Two MOGCSP social workers continued to work within
investigating trafficking cases, while the Liberian Immigration Service         the WACPS to assist women and children, including trafficking victims,
(LIS) and Liberia Drug Enforcement Agency investigated transnational            and visit police precincts to coordinate cases.
trafficking cases. The LIS Anti-Human Trafficking and Migrant Smuggling
Unit, comprising 14 officers, stationed at least one officer at each of         Resource constraints limited services for trafficking victims. The
Liberia’s ﬁve major ports of entry and other minor ports of entry. The          government relied heavily on NGOs and private shelters when
government did not provide the LNP with dedicated anti-trafficking              government shelters were unavailable but did not report providing
funding or in-kind support, and it lacked basic resources and equipment         ﬁnancial or in-kind assistance to those shelters. Shelter and services were
to fully respond to and investigate allegations of trafficking, especially      available to both domestic and foreign victims. There was no shelter
outside the capital. Courts operated at reduced capacity and processed          available speciﬁcally for adult male victims, although some MOGCSP
fewer cases due to pandemic-related restrictions. The pandemic                  and private shelters could accommodate young boys, and one shelter
also reduced law enforcement’s capacity to conduct investigations;              occasionally housed male and female victims together. Adult victims
authorities reassigned law enforcement officers to enforce public               were only allowed to leave the shelters at will on an ad hoc basis.
health measures, diminishing police presence at stations, depots,               Shelters sometimes could not protect victims’ identities, and victims
and border posts.                                                               could usually stay only three to six months due to capacity limitations.
                                                                                MOGSCP could arrange foster care for victims requiring longer-term
The government coordinated with an international organization to                care. The MOGSCP continued collaborating with NGOs through regular
incorporate training on human trafficking into the National Police              meetings of the Child Protection Network. The government assisted in
Academy’s basic training course and to roll out new training curricula          repatriating potential Liberian trafficking victims from Oman.
                                                                                                                                  Haiti AR_000834              353
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 459 of 729
LITHUANIA   The government did not systematically encourage victims to participate        or sex trafficking. Traffickers are also often well-respected community
            in investigations and prosecutions of their traffickers, but at times         members who exploit the “foster care” system common across West
            provided victim-witnesses support to offset the costs of participating        Africa. Liberian law requires parents to register children within 14 days
            in a trial; during the reporting period, the government provided some         of birth; while about two-thirds of children younger than the age of ﬁve
            funding for transportation and lodging to assist victims’ participation       are registered, only about 30 percent have obtained a birth certiﬁcate.
            in prosecutions. The anti-trafficking law allowed victims to obtain           Although the government has expanded birth registration accessibility,
            restitution, but courts did not issue restitution in any cases during the     continued lack of birth registration and identity documents increases
            reporting period. Victims could ﬁle civil suits against their traffickers;    individuals’ vulnerability to trafficking.
            no victims ﬁled civil suits during the reporting period, largely due to
                                                                                          Traffickers exploit orphaned children in street vending and child sex
            lack of awareness of this option. The government did not have a formal
                                                                                          trafficking. Some parents encourage their daughters’ exploitation
            policy that provided alternatives to removal to countries in which victims
                                                                                          in commercial sex to supplement family income. Liberian nationals
            would face retribution or hardship, but could offer alternatives, including
                                                                                          and—to a lesser extent—foreigners exploit children in sex trafficking
            temporary residency, on a case-by-case basis. There were no reports
                                                                                          in Monrovia. Traffickers allegedly compel children to sell illicit drugs.
            the government detained or otherwise penalized trafficking victims for
                                                                                          Cuban nationals working in Liberia may have been forced to work by
            unlawful acts traffickers compelled them to commit; however, due to
                                                                                          the Cuban government. PRC nationals employed in Liberian worksites
            a lack of training, insufficient resources, and inconsistent application
                                                                                          managed by PRC nationals were vulnerable to forced labor. In the past,
            of victim identiﬁcation procedures, authorities may have detained
                                                                                          officials have identiﬁed trafficking victims from the PRC, Malaysia, and
            unidentiﬁed victims.
                                                                                          India. Sierra Leonean traffickers operate in Liberia. Traffickers exploited a
                                                                                          small number of Liberian men, women, and children in other West African
            PREVENTION                                                                    countries, including Cote d’Ivoire, Guinea, Mauritania, Nigeria, Senegal,
            The government increased efforts to prevent human trafficking. The
                                                                                          and Sierra Leone. In the past, traffickers exploited Liberian victims in
            MOL coordinated the government’s anti-trafficking efforts and co-
                                                                                          Thailand, Lebanon, and Finland. Some government employees may
            chaired the anti-trafficking task force with the Ministry of Justice.
                                                                                          have been directly complicit in child trafficking, including for domestic
            The task force also included representatives from the Ministry of
                                                                                          service and street vending, and reports indicate law enforcement
            Foreign Affairs, Ministry of Health, Ministry of Internal Affairs, and
                                                                                          occasionally accept bribes from suspected traffickers.
            MOGCSP; it continued to meet regularly during the reporting period.
            The government allocated $275,000 to combat human trafficking in
            the 2022 budget, substantially more than the $50,000 allocated in
            the 2020-2021 budget. The government allocated $15,000 to 10 local
            NGOs conducting awareness raising campaigns on trafficking and child
                                                                                           LITHUANIA: TIER 1
            labor and to distribute copies of the newly-amended trafficking law
            in all of Liberia’s 15 counties to local officials, an increase from $5,000   The Government of Lithuania fully meets the minimum standards for the
            allocated to ﬁve NGOs in 2021. The government continued implementing          elimination of trafficking. The government continued to demonstrate
            the 2019-2024 action plan to combat trafficking in persons. In April          serious and sustained efforts during the reporting period, considering
            2021, Labor Minister Gibson convened simultaneous trafficking task            the impact of the COVID-19 pandemic on its anti-trafficking capacity;
            force meetings in 14 of Liberia’s 15 counties with support from an            therefore Lithuania remained on Tier 1. These efforts included convicting
            international organization. Local officials around the country provided       signiﬁcantly more traffickers; allocating more funds to NGOs for victim
            updates from their respective regions.                                        assistance and toward implementation of the national action plan (NAP);
            The MOL continued to operate an anti-trafficking hotline during business      and identifying and assisting more trafficking victims. Furthermore, the
            hours and hired two additional staff members to manage the calls. The         government adopted a law on assistance to victims of crime, including
            government received 2,679 calls and identiﬁed six victims whose cases         trafficking, ensuring victims received assistance before, during, and
            were referred to the LNP for investigation. The government conducted          after criminal proceedings. In addition, the government trained child
            556 labor inspections, including 43 inspections speciﬁcally focused on        rights specialists on identifying child trafficking victims. Although the
            child labor. Despite this, labor inspectors did not report identifying any    government meets the minimum standards, authorities prosecuted
            child labor or trafficking victims. Labor inspectors were not trained on      fewer suspected traffickers and inconsistently implemented victim
            laws related to child labor nor on their enforcement. The government          identiﬁcation and referral mechanisms throughout the country, especially
            did not conduct labor inspections or victim screening measures among          in rural areas. Additionally, authorities did not proactively identify and
            PRC or other foreign nationals employed at PRC national-run worksites.        screen for trafficking indicators among vulnerable populations, such
            During the previous reporting period, LNP visited popular beaches and         as children and migrants. Moreover, shortcomings in victim protection
            entertainment centers in Monrovia known to have high instances of             during the investigation and trial process, which allowed traffickers to
            child sex trafficking, spoke with community groups, and distributed           intimidate victims into not cooperating with authorities, continued to
            ﬂiers to sensitize citizens on child protection issues; the government        hamper law enforcement efforts.
            continued these activities on a limited basis during the reporting period
            due to the pandemic’s impact on tourism and strained law enforcement
            resources. The government did not make efforts to reduce the demand                   LITHUANIA TIER RANKING BY YEAR
            for commercial sex acts. The government did not provide anti-trafficking          1
            training to its diplomatic personnel.                                             2
                                                                                            2WL
            TRAFFICKING PROFILE
                                                                                              3
            As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                                     2015     2016      2017       2018   2019   2020   2021    2022
            and foreign victims in Liberia, and traffickers exploit victims from
            Liberia abroad. Trafficking within the country is more prevalent than
            transnational trafficking, and the majority of victims are children.
            Traffickers recruit and exploit most trafficking victims within the
            country’s borders in domestic servitude, forced begging, sex trafficking,
                                                                                          PRIORITIZED RECOMMENDATIONS:
                                                                                          Proactively identify victims and screen for trafficking indicators,
            or forced labor in street vending, gold and alluvial diamond mines,
                                                                                          particularly among vulnerable groups, such as children and migrants,
            and on small-scale rubber plantations. Traffickers typically operate
                                                                                          through enhanced training for authorities on recognizing indicators
            independently and are commonly family members who promise poorer
                                                                                          of exploitation. • Implement formal victim identiﬁcation and referral
            relatives a better life for their children or promise young women a better
                                                                                          mechanisms for victim assistance throughout the country, especially
            life for themselves. They take the children or women to urban areas
                                                                                          in rural areas. • Increase efforts to vigorously investigate and prosecute
            and exploit them in forced labor in street vending, domestic service,
                                                                                          sex trafficking and labor trafficking cases and convict traffickers. •
 354                                                                                                                                        Haiti AR_000835
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 460 of 729




                                                                                                                                                             LITHUANIA
Expand efforts to protect victims from threats and re-victimization            the recommendations did not always work effectively in practice and
during the investigation and trial of trafficking cases, including             were not informed by best practices for how to interview victims,
by developing clear procedures on how to protect victims. • Train              especially children. Furthermore, observers reported authorities in some
investigators and prosecutors on a victim-centered approach and                parts of the country underutilized the recommendations and had less
building trafficking cases, including collecting evidence to corroborate       experience identifying victims. In 2021, authorities received training on
victim testimony. • Provide specialized services to child victims in foster    victim identiﬁcation; however, NGOs noted officials still did not have
care homes and mixed-use shelters. • Ensure victims have access to             the skills and experience required to conduct screening for trafficking
appropriate mental health professionals during the interrogation               among migrants and other vulnerable groups. A formal mechanism
process. • Provide knowledgeable legal counsel for victims assisting           existed between police and NGOs to refer victims to NGO facilities.
prosecutions. • Develop a more comprehensive data collection system
                                                                               Care facilities provided short- or long-term assistance, such as health
that disaggregates data, including by type of trafficking.
                                                                               care, psychological and social counseling, and shelter, to trafficking
                                                                               victims. In 2021, the government adopted the Law on Assistance to
PROSECUTION                                                                    Victims of Crime, which ensured all victims of all crimes, including
The government maintained law enforcement efforts. Articles 147
                                                                               trafficking, received assistance before, during, and, if necessary,
and 157 of the criminal code criminalized sex trafficking and labor
                                                                               after criminal proceedings. Lithuanian law also entitled all crime
trafficking and prescribed penalties ranging from two to 12 years’
                                                                               victims, including trafficking victims, access to assistance, including
imprisonment, which were sufficiently stringent and, with regard to sex
                                                                               counseling, regardless of whether victims sought assistance from law
trafficking, commensurate with penalties prescribed for other serious
                                                                               enforcement. The government allocated €300,000 ($340,140) to NGOs
crimes, such as rape. Five specialized prosecutors led the investigation
                                                                               for victim assistance, a substantial increase from €245,000 ($277,780)
and prosecution of trafficking cases in country. In 2021, authorities
                                                                               in 2020. Government-funded NGOs supported 247 trafficking victims,
investigated seven trafficking cases (one sex trafficking, three labor
                                                                               compared with 208 in 2020. This number included “at risk” individuals
trafficking, and three unspeciﬁed), compared with eight in 2020.
                                                                               and identiﬁed victims from previous years who continued to receive
The government initiated prosecutions of 33 suspected traffickers,
                                                                               assistance. Individuals had the right to receive assistance without
compared with 40 in 2020; statistics included data from ongoing
                                                                               reporting the crime, and some chose to do so. Authorities placed
prosecutions from previous years. Courts convicted 30 traffickers, a
                                                                               Lithuanian female trafficking victims in municipal and NGO-facilitated
signiﬁcant increase and nearly double from 16 in 2020. All convicted
                                                                               shelters for victims of domestic violence and had the option to place
traffickers received sentences with prison terms ranging from one to
                                                                               foreign victims at a refugee reception center in Rukla. Five crisis centers
nine years; however, four traffickers received suspended sentences.
                                                                               provided assistance to male victims, including ﬁnding accommodations.
The government did not report any investigations, prosecutions, or
                                                                               Authorities could place child victims in foster care homes or mixed-
convictions of government employees complicit in trafficking crimes.
                                                                               use shelters, as there were no shelters speciﬁcally for child trafficking
Government officials reported that collecting adequate evidence                victims. Child sexual abuse victims, including trafficking victims, could
remained a problem in prosecuting trafficking cases, particularly since        seek assistance in the government-operated national support center
trafficking activity recently shifted online to methods that did not include   in Vilnius. Experts raised concerns about inadequate assistance and
physical coercion. As a result of the pandemic, remote court hearings          protection measures for child victims. According to observers, child
became the main litigation tool, which according to law enforcement            protective services struggled to identify child victims and refer them
posed challenges. In addition, the pandemic compounded the already             to care, especially in rural areas. In 2021, authorities identiﬁed one
existing difficulties associated with communication and cooperation            child victim, the same as in 2020. The Ministry of Social Security and
between law enforcement officials in Lithuania and other countries.            Labor funded a training on identifying child trafficking victims for
Furthermore, the government reported that prosecuting criminal acts,           child protection specialists; the topics included recognizing forms of
including trafficking, that occurred outside Lithuania and obtaining           trafficking, emotional and physical impacts of exploitation, assistance
evidence from abroad involved a lengthy and complicated process.               to child victims, and the analysis of child trafficking cases. In addition,
Nonetheless, Lithuanian authorities cooperated with their European             the Support Center for Child Victims of Sexual Abuse organized a series
counterparts on several trafficking-related investigations, two joint          of trainings on protecting children against sexual violence, including
investigation teams, and one extradition. A police officer served as an        trafficking, for child protection specialists. Municipalities continued to
attaché in the Lithuanian embassy in the United Kingdom (UK) to assist         ﬁnance and implement reforms to the institutional child care system
in international criminal investigations, including by ensuring cooperation    with the goal to move all children from institutions to families. As
in preventing, investigating, and solving trafficking crimes that involve      part of the reforms, municipalities converted large institutions into
Lithuanian citizens in the UK and Ireland. In 2021, the Ministry of Interior   community houses, which accommodated up to eight children each.
(MOI) commissioned the National Police to conduct a study on the               In 2021, 679 children lived in community homes, and 1,468 children
decline in trafficking investigations and related crimes from 2018 to          remained in state care homes. The minister of social affairs and labor
2020; the study remained ongoing at the end of the reporting period.           prohibited the placement of new children into care at orphanages as
Additionally, in cooperation with the General Prosecutor’s Office, the         of January 1, 2020. Foreign trafficking victims had the same access
MOI launched an anti-trafficking online training platform, including           to care as Lithuanian victims. Legislation allowed foreign victims a
topics on identifying indicators and victims, understanding risk factors,      30-day reﬂection period to decide whether to cooperate with law
conducting investigations, collecting evidence, assisting and protecting       enforcement; foreign victims cooperating with law enforcement could
victims, and compensation. Professionals who were in contact with              receive temporary residency.
victims, including police, judges, and medical and social workers,
                                                                               While the government encouraged victims to cooperate in investigations
received training through the platform. In addition, the government
                                                                               and prosecutions, the absence of clear policy on how victims would
supported several other educational efforts for police, border guards,
                                                                               be adequately protected and law enforcement’s shortcomings in this
prosecutors, and judges on various topics, including trafficking trends,
                                                                               area contributed to victims’ reluctance to assist in cases. In particular,
identifying victims, and investigating trafficking crimes.
                                                                               traffickers sometimes threatened victims to intimidate them into
                                                                               not cooperating with the authorities, and victims lacked access to
PROTECTION                                                                     mental health professionals during or after their interviews by law
The government increased protection efforts. Authorities identiﬁed             enforcement. According to NGOs, law enforcement still did not utilize
26 victims (three sex trafficking, 10 labor trafficking, 13 unspeciﬁed),       a victim-centered approach, contributing to a lack of trust on the
compared with 24 in 2020, of which three were foreign nationals (11            part of victims toward officers. To address some deﬁciencies, courts
in 2020). As in previous years, experts expressed concern that the             frequently interviewed victims remotely and allowed victims to appoint
data collected across government agencies was inconsistent and did             individuals to serve as their representatives so their rights were defended
not provide a comprehensive picture of the trafficking situation. Law          without having to participate directly in court proceedings. Although
enforcement, immigration, and social services personnel applied formal         the government provided legal representation to victims, observers
written recommendations for victim identiﬁcation. According to NGOs,           reported attorneys had little experience with trafficking issues; as a
                                                                                                                                Haiti AR_000836              355
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 461 of 729
LUXEMBOURG   result, NGOs often hired private attorneys for victims. Lithuanian law       distribution of leaﬂets at workplaces. The inspectorate cooperated with
             entitled trafficking victims to apply for ﬁnancial compensation from         the Ukrainian State Labor Service to prepare and publish information
             their traffickers, but there were no state-run victim compensation           on employment opportunities, defending worker rights, and preventing
             programs. In most cases, courts ordered restitution, and it was awarded.     labor trafficking. Lithuanian law speciﬁed foreign nationals—issued a
             In 2021, courts awarded more than €56,000 ($63,490) for non-material         visa or temporary residence permit—could only work with the employer
             damages to trafficking victims.                                              who had undertaken to employ them and perform only the job function
                                                                                          for which they were employed; if foreign workers wished to change
             In response to an inﬂow of Ukrainian refugees who were ﬂeeing Russia’s
                                                                                          employer or job function with the same employer, the law required
             war in Ukraine and arriving in Lithuania, the government adopted
                                                                                          they submit an application to the Migration Department for approval.
             laws and regulations to provide temporary protection status for one
                                                                                          Additionally, Lithuanian law prohibited worker-paid recruitment fees.
             year and expand assistance, including ﬁnancial aid. The government
             also opened six registration centers across the country, providing
             food, medical care, and short-term lodging to refugees. Despite the
                                                                                          TRAFFICKING PROFILE
                                                                                          As reported over the past ﬁve years, human traffickers exploit domestic
             government’s response to address the immediate needs of refugees,
                                                                                          and foreign victims in Lithuania, and traffickers exploit victims from
             observers raised concerns about medium- and long-term support.
                                                                                          Lithuania abroad. Law enforcement reports most trafficking cases
             Officials underscored challenges, such as limited resources and long-
                                                                                          involve Lithuanian trafficking networks that prey on Lithuanian victims.
             term housing, noting accommodation for the refugees could be limited
                                                                                          As a result of the pandemic, traffickers have shifted recruitment
             to “simple conditions,” and the government may have no choice but to
                                                                                          methods from in-person to online settings, mainly through social
             house some refugees in tents. To address this concern, in March 2022,
                                                                                          media, hindering authorities’ ability to locate victims and identify
             the government announced a compensation program for households
                                                                                          traffickers. Traffickers exploit Lithuanian men and boys in criminal
             hosting refugees, in which volunteers had the option to receive a
                                                                                          activities, such as shoplifting, and Lithuanian women and children
             monthly stipend of €150 ($170) for the ﬁrst refugee they host and €50
                                                                                          in commercial sex in Scandinavia and Western Europe, particularly
             ($57) for each subsequent refugee, for a maximum of three months.
                                                                                          Spain and the UK. They also continue to exploit women and girls
                                                                                          in sex trafficking within the country. NGOs report the majority of
             PREVENTION
                                                                                          trafficking cases occur within Lithuania. Experts expressed concern that
             The government increased prevention efforts. The government
                                                                                          individuals with intellectual disabilities, psychological conditions, and/
             continued to implement the NAP for 2020-2022 and allocated
                                                                                          or alcohol or drug addiction are particularly vulnerable to trafficking.
             approximately €416,000 ($471,660), compared with €375,000
                                                                                          Many adult and teenage victims are survivors of sexual abuse and/or
             ($425,170) in 2020. The NAP focused on strengthening interagency
                                                                                          violence or grow up in orphanages, placing them at greater risk for
             coordination; improving prevention work; strengthening the pre-
                                                                                          trafficking. Traffickers also target the unemployed or individuals from
             trial investigations process; and improving assistance to trafficking
                                                                                          low-income and at-risk families. Authorities report women are recruited
             victims. The Anti-Trafficking Coordination Commission, the lead
                                                                                          for brokered marriages abroad; these women are vulnerable to sex
             coordinating body for anti-trafficking efforts, met twice a year and
                                                                                          trafficking, domestic servitude, and forced labor. Reports indicate a
             provided government institutions and NGOs with anti-trafficking
                                                                                          rise in the exploitation of foreign workers from Ukraine, Russia, and
             guidance and training. The government participated in a range of
                                                                                          Belarus. Foreign workers are at risk of labor trafficking as long-haul
             awareness-raising activities, including producing and distributing
                                                                                          truck drivers, builders, ship hull assemblers, and welders. The 1,468
             pamphlets containing information on trafficking in Lithuania, indicators
                                                                                          children institutionalized in approximately 46 child care institutions
             of potential victims, and a QR code directing professionals to the victim
                                                                                          are vulnerable to trafficking. As a result of the Lukashenka regime
             referral mechanism. In collaboration with other Baltic Sea Region
                                                                                          facilitating illegal migrant ﬂows across the Lithuania-Belarus border,
             countries, the government participated in a project establishing long-
                                                                                          thousands of migrants from Africa, Asia, and the Middle East remain
             term cooperation between stakeholders and academia to educate
                                                                                          detained near the border and vulnerable to trafficking. Separately,
             future journalists on trafficking issues through workshops, panel
                                                                                          Vietnamese citizens ﬂeeing Russia and migrating through Lithuania
             discussions, and competitions. Additionally, the MOI published guidance
                                                                                          to Western Europe are at risk to trafficking. Foreign nationals and
             on its website for journalists on how to report trafficking cases and
                                                                                          Ukrainian refugees, predominantly women and children, who are
             avoid stereotypes, such as including sexually explicit images and
                                                                                          ﬂeeing Russia’s full-scale invasion on Ukraine and seeking sanctuary
             photographs that reinforce misperceptions and myths about trafficking.
                                                                                          in Lithuania, are highly vulnerable to trafficking. As of April 1, 38,539
             The police advertised and managed an email account that the public
                                                                                          Ukrainian refugees have registered in Lithuania; more than 15,000 of
             could use to report potential trafficking situations and solicit advice.
                                                                                          the registered refugees are minors.
             The government maintained a 24-hour national hotline available in
             multiple languages to assist trafficking victims via NGOs; the hotline
             received 44 trafficking-related calls. The government did not make
             efforts to reduce the demand for commercial sex acts.
             In 2021, Lithuania experienced a surge in irregular migrant ﬂows,
                                                                                           LUXEMBOURG: TIER 1
             which the Lukashenka regime facilitated, across the border with
             Belarus; in November, the State Border Guard Service circulated              The Government of Luxembourg fully meets the minimum standards for
             recommendations to its units to help identify trafficking victims and        the elimination of trafficking. The government continued to demonstrate
             provide information on available resources to assist them. Due to the        serious and sustained efforts during the reporting period, considering
             increase in Vietnamese citizens ﬂeeing Russia and migrating through          the impact of the COVID-19 pandemic on its anti-trafficking capacity;
             Lithuania, the State Border Guard Service, in collaboration with a           therefore Luxembourg remained on Tier 1. These efforts included
             foundation, organized three distance trainings on Vietnamese culture         investigating, prosecuting, and convicting more traffickers; identifying
             and how to prevent trafficking. In 2021, Lithuania hosted an international   more than double the number of trafficking victims; and providing
             conference on capacity building, assistance, and prosecution of              shelter to signiﬁcantly more trafficking victims. The government also
             forced labor in the Baltic Sea Region. The MOI organized a virtual           added one additional staff member to a unit in the Judicial Police
             seminar on best practices to combat labor trafficking in the Baltic Sea      focused on victim protection and granted restitution to a victim in
             Region. In cooperation with Poland and Sweden, the MOI conducted             a criminal case. Moreover, the government signiﬁcantly increased
             a study aimed at identifying recruitment methods and tools used by           funding for awareness raising activities. Although the government
             employment agencies to recruit Lithuanians to work under exploitative        meets the minimum standards, the government decreased funding
             conditions. The State Labor Inspectorate maintained a special group          for victim services, and judges continued to issue lenient sentences to
             of inspectors to analyze forced labor cases, collect information, and        convicted traffickers, creating potential safety concerns for trafficking
             forward evidence to law enforcement. To prevent labor trafficking            victims, weakening deterrence, and undercutting nationwide efforts
             among foreign nationals, the inspectorate provided information on            to ﬁght trafficking.
             identifying illegal work and trafficking through its website and the

  356                                                                                                                                 Haiti AR_000837
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 462 of 729




                                                                                                                                                               LUXEMBOURG
                                                                                  government assistance. Immigration officials used a speciﬁc victim
         LUXEMBOURG TIER RANKING BY YEAR                                          identiﬁcation protocol, based on the national referral mechanism, that
     1                                                                            included instructions on identifying victims among unaccompanied
                                                                                  children.
    2
  2WL                                                                             Government-funded victim services included housing, psychological
                                                                                  support, medical, legal, and ﬁnancial assistance. The government
     3
                                                                                  provided €412,870 ($468,110) in 2021 to the two NGOs responsible for
           2015      2016     2017     2018   2019    2020     2021     2022
                                                                                  coordinating trafficking victim care, a decrease from €461,500 ($523,240)
                                                                                  in 2020. Government-funded NGOs provided shelter to 26 trafficking
                                                                                  victims in 2021 (two government-funded NGOs provided shelter to 16
                                                                                  victims in 2020). The two government-funded anti-trafficking NGOs
PRIORITIZED RECOMMENDATIONS:
                                                                                  created a combined name and logo to improve visibility and access to
Sentence traffickers to signiﬁcant prison terms and ensure convicted
                                                                                  services and promoted a new single contact number in January 2022.
traffickers serve those sentences in practice. • Develop safeguards for
                                                                                  Limited business hours continued to cause delays in victim assistance
victims to protect them against traffickers freed on suspended sentences.
                                                                                  and hindered proactive operations. When the government identiﬁed
• Revise the trafficking law to clarify that force, fraud, or coercion are core
                                                                                  victims outside operational hours, police could directly refer adult
elements of the crime of trafficking of adults rather than aggravating
                                                                                  female and child victims to shelters; adult male victims could be housed
factors. • Increase training for judges on the severity of the crime
                                                                                  temporarily in hotels until longer-term housing could be identiﬁed. Adult
and the impact on victims and ensure convictions result in signiﬁcant
                                                                                  male victims could receive the same access to long-term accommodation
sentences. • Increase worker protections by eliminating recruitment
                                                                                  and other victim services as adult female and child victims. Victims could
fees charged to workers by labor recruiters and ensuring employers
                                                                                  leave the shelters unchaperoned and at will during business hours of
pay any recruitment fees. • Promote a victim-centered approach in
                                                                                  their respective shelter. Observers noted good cooperation between
child victim identiﬁcation procedures. • Include measurable outcomes
                                                                                  the two government-funded anti-trafficking NGOs and the shelters,
in the national action plan (NAP) to assess its progress. • Coordinate
                                                                                  however, they expressed concern that the shelters were often operating
trafficking data collection and fund, maintain, and conduct trafficking
                                                                                  at full capacity. The government provided €8.3 million ($9.4 million)
research to create an evidence base for future policy decisions.
                                                                                  to NGO-run centers that provided shelter and assistance to victims of
                                                                                  crime, including trafficking victims, compared with €8.4 million ($9.5
PROSECUTION
                                                                                  million) in 2020. The government also allocated €102,560 ($116,280)
The government increased law enforcement efforts. Luxembourg
                                                                                  to an NGO responsible for providing shelter to male trafficking victims,
criminalized sex trafficking and labor trafficking through Articles 382-
                                                                                  an increase from €96,960 ($109,930) in 2020.
1 and 382-2 of the criminal code and prescribed penalties of three to
10 years’ imprisonment and a ﬁne for trafficking offenses involving               Foreign victims were entitled to a 90-day reﬂection period to decide
adult victims and 10 to 15 years’ imprisonment and a ﬁne for offenses             whether they wanted to testify, during which EU citizen victims could
involving child victims. These penalties were sufficiently stringent and,         work. Upon expiration of the reﬂection period, the government could
with respect to sex trafficking, commensurate with penalties prescribed           issue a foreign victim either temporary or permanent residency status
for other serious crimes, such as rape. Inconsistent with the deﬁnition           if the victim chose to cooperate with law enforcement, during which
of trafficking under international law, the law established the use of            time all victims could work. In June 2021, the government amended the
force, fraud, or coercion as aggravating factors rather than essential            Immigration Law to clarify that residence permits granted to trafficking
elements of the crime.                                                            victims were renewable throughout the judicial process, each time
                                                                                  for a six-month period. The government assessed on a case-by-case
In 2021, the government initiated 20 investigations, an increase from
                                                                                  basis the residency status of victims who did not participate in an
11 in 2020. The government prosecuted 19 suspected traffickers in
                                                                                  investigation. Victim assistance was not contingent on cooperating with
2021, an increase from ﬁve in 2020. Judges convicted two traffickers
                                                                                  an investigation, but victims who declined to cooperate with police did
for labor trafficking in 2021 (one conviction in 2020) and sentenced
                                                                                  not beneﬁt from a temporary authorization to stay. The government
the two traffickers to 12 months’ imprisonment in addition to partially-
                                                                                  provided legal alternatives to removal to countries in which victims
suspended sentences. The issuance of weak sentences for trafficking
                                                                                  would face retribution or hardship and provided relief from deportation
convictions was a perennial problem that undercut efforts to hold
                                                                                  for medical reasons. The government trained immigration officials on
traffickers accountable and protect victims. In 2020, judges partially
                                                                                  trafficking indicators, and officials used a questionnaire to proactively
suspended the convicted trafficker’s 18-month prison sentence, and in
                                                                                  screen asylum-seekers for trafficking; however, the government did not
2019, judges fully suspended the two convicted traffickers’ sentences.
                                                                                  detect potential trafficking victims among asylum-seekers in 2021 or
Law enforcement officials reported the law hindered investigators’ ability
                                                                                  2020. The government provided protection to victims throughout the
to search private homes suspected of being used for commercial sex and
                                                                                  judicial process and took measures to avoid re-traumatization, including
illicit activities; authorities noted commercial sex moved increasingly to
                                                                                  by limiting the number of victim interviews and allowing the recording
private homes and online platforms during the pandemic. The national
                                                                                  of testimony of child victims. Courts could grant restitution, and victims
rapporteur expressed concern the Judicial Police was understaffed; the
                                                                                  could claim compensation through civil suits against traffickers. A court
police organized crime unit responsible for investigating trafficking
                                                                                  granted €27,470 ($31,150) in restitution to one victim in 2021 (courts
comprised only 13 investigators. The police added one additional
                                                                                  did not grant restitution or provide compensation in civil suits in 2020).
person to the victim protection and fugitive research unit; this unit
ensured separation between victim assistance and investigations.
The government’s national institute of public administration provided
                                                                                  PREVENTION
                                                                                  The government maintained prevention efforts. The government’s
anti-trafficking training to prosecutors, judges, law enforcement, and
                                                                                  inter-ministerial trafficking committee, chaired by the Ministry of
immigration officials. Law enforcement coordinated with authorities in
                                                                                  Justice, met three times in 2021 to coordinate anti-trafficking efforts
Belgium, the Netherlands, and Germany on trafficking investigations.
                                                                                  and NAP implementation. Some observers noted the government
The government did not report any investigations, prosecutions, or
                                                                                  siloed responsibilities within numerous ministries with little centralized
convictions of government officials complicit in trafficking crimes.
                                                                                  communication, however, the government did not report synchronization
                                                                                  issues. For example, three separate ministries coordinated funding for
PROTECTION
                                                                                  male, female, and child shelters. GRETA reported the NAP, endorsed
The government increased overall efforts to protect victims. Authorities
                                                                                  in 2016, was vague, lacked a timeframe on meeting objectives, and did
identiﬁed 17 trafficking victims (15 forced labor victims and two sex
                                                                                  not allocate any resources. The government’s work on a new NAP was
trafficking victims), an increase from seven in 2020. All were foreign
                                                                                  ongoing at the end of the reporting period. The Consultative Commission
citizens, including 13 men and four women. Any person or organization
                                                                                  on Human Rights continued to serve as the national rapporteur; it
could report a suspected trafficking victim to the police, but the police
                                                                                  published its third biannual report in December 2021.
had the sole authority to officially identify a victim and refer them to
                                                                                                                                  Haiti AR_000838              357
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 463 of 729
MACAU   Labor laws allowed recruitment fees but criminalized excessive amounts;
        the government did not report if it monitored or enforced that prohibition.            MACAU TIER RANKING BY YEAR
        Observers reported the labor inspectorate was understaffed and                     1
        inspectors did not have clear victim identiﬁcation protocols and were
                                                                                          2
        not authorized to identify victims but could refer victims to the police.
        The national rapporteur stated the labor inspectorate should be given           2WL
        the authority to identify victims. Observers noted the labor inspectorate          3
        increased its efforts during the reporting period but was reluctant to                    2015     2016     2017    2018   2019   2020     2021    2022
        restructure and take on new competencies. The government trained
        labor inspectors on trafficking indicators. The government continued
        its commitments under the 2020-2022 NAP on implementing the
        UN Guiding Principles on Business and Human Rights, which sought              PRIORITIZED RECOMMENDATIONS:
        to prevent forced labor in private sector supply chains. The national         Signiﬁcantly increase proactive victim identiﬁcation, especially among
        rapporteur called on the government to create a national due diligence        vulnerable populations, such as migrant workers and persons in
        law on supply chains; in 2021, the government launched a study to             commercial sex. • Signiﬁcantly increase efforts to investigate, prosecute,
        examine the feasibility of implementing due diligence legislation.            and convict sex and labor traffickers, including those operating in
                                                                                      casinos and other entertainment establishments, and sentence those
        Two government-funded NGOs operated two trafficking-speciﬁc hotlines
                                                                                      convicted to signiﬁcant prison terms. • Ensure victims are referred to
        during regular business hours, and the government ran a hotline for
                                                                                      and receive protective services. • Provide anti-trafficking training to
        victims of crime, including trafficking victims; the government did
                                                                                      relevant government personnel, including to prosecutors and judges
        not report if the hotlines received any calls leading to the detection
                                                                                      on the use of the trafficking law, ensuring an understanding that a
        of trafficking victims. In 2021, the government budgeted €84,945
                                                                                      victim’s initial consent is not seen as evidence that trafficking did not
        ($96,310) to fund awareness activities, a signiﬁcant increase from €15,000
                                                                                      occur. • Develop, approve, and implement an updated anti-trafficking
        ($17,010) in 2020. The government continued its multi-faceted awareness
                                                                                      action plan. • Increase efforts to screen for and identify labor trafficking
        campaign in coordination with the EU by printing and distributing
                                                                                      and male victims, including by improving victim-centered screening
        brochures on victim rights and support services and renting and using
                                                                                      practices. • Amend the labor law to include protections for foreign
        advertisement space at tramway stops in one city. The national rapporteur
                                                                                      domestic workers. • Take steps to eliminate recruitment or placement
        reported the need to coordinate data collection across stakeholders.
                                                                                      fees charged to workers by employment agencies in Macau and in their
        Government-funded NGOs carried out anti-trafficking projects in a
                                                                                      countries of origin, including by ensuring any recruitment fees are paid
        range of countries, including Bangladesh, Burkina Faso, India, Mali,
                                                                                      by employers and coordinating with migrant workers’ countries of origin.
        Nepal, Niger, and Nigeria. The government made efforts to reduce the
        demand for participation in international sex tourism by continuing to
                                                                                      PROSECUTION
        fund an NGO for local awareness campaigns focused on the prevention
                                                                                      The government maintained anti-trafficking law enforcement efforts.
        of child sex tourism. The government encouraged, but did not require,
                                                                                      Law 6/2008 amended the penal code and criminalized sex trafficking
        diplomats to attend anti-trafficking training. The government made
                                                                                      and labor trafficking and prescribed penalties of three to 20 years’
        some efforts to reduce the demand for commercial sex acts through
                                                                                      imprisonment, depending on the age of the victim. These penalties were
        its 2018 law criminalizing the solicitation of a sex trafficking victim.
                                                                                      sufficiently stringent and, with regard to sex trafficking, commensurate
                                                                                      with those prescribed for other serious crimes, such as rape. Police
        TRAFFICKING PROFILE                                                           investigated one potential trafficking case in 2021, an increase compared
        As reported over the past ﬁve years, human traffickers exploit foreign
                                                                                      to zero investigations in 2020; however, authorities did not initiate
        victims in Luxembourg. Traffickers exploit victims from Europe, Africa,
                                                                                      any prosecutions or convict any traffickers. The government has not
        Asia, and South America in sex trafficking operations in cabarets, private
                                                                                      initiated any trafficking prosecutions since 2018 and has not convicted
        apartments, and on the street. Increasingly, traffickers engage in forced
                                                                                      a trafficker since 2019. Officials reportedly believed a victims’ initial
        labor crimes, sometimes involving People’s Republic of China nationals,
                                                                                      consent or “voluntary association” with a trafficker was sufficient
        Pakistani, or eastern or southern European men, women, and children
                                                                                      evidence to prove a trafficking crime did not occur, which sometimes
        in various sectors, including restaurants and construction. Traffickers
                                                                                      led to trafficking cases being pursued under other crimes and weakened
        transport Romani children from neighboring countries for forced begging
                                                                                      victim identiﬁcation efforts. The government did not report statistics
        in Luxembourg. Groups vulnerable to traffickers’ illicit schemes include
                                                                                      on the number of anti-trafficking trainings for government personnel
        migrant workers in domestic work, catering, construction, and begging,
                                                                                      in 2021, compared to training 1,700 officials in the previous reporting
        as well as unaccompanied foreign children and people in Luxembourg’s
                                                                                      period. Authorities did not report any investigations, prosecutions, or
        legal and illegal commercial sex industry.
                                                                                      convictions of officials complicit in trafficking crimes.

                                                                                      PROTECTION
         MACAU: TIER 3                                                                The government maintained weak protection efforts, and authorities
                                                                                      did not report identifying or providing services to any victims for the
                                                                                      third consecutive year. The government has never identiﬁed labor
        The Government of the Macau Special Administrative Region of the              trafficking victims in Macau. Authorities had formal victim identiﬁcation
        People’s Republic of China (PRC) does not fully meet the minimum              procedures, an operational referral process, and standardized screening
        standards for the elimination of trafficking and is not making signiﬁcant     questionnaires that could guide law enforcement, immigration, and
        efforts to do so, even considering the impact of the COVID-19 pandemic        social services personnel to screen individuals vulnerable to trafficking,
        on its anti-trafficking capacity. Therefore Macau was downgraded to           including persons in commercial sex and migrant workers; however,
        Tier 3. Despite the lack of signiﬁcant efforts, the government took some      the government did not report implementing these procedures during
        steps to address trafficking, including investigating one potential case of   the reporting period. The government’s victim referral process guided
        trafficking, disseminating awareness-raising materials, and maintaining       authorities to refer child victims to two separate government-funded
        guidelines for victim identiﬁcation and referrals to services. However, for   NGOs, which were designated to assist victims’ depending on their
        the third consecutive year, the government did not identify or provide        country of origin; however, authorities did not refer any victims to either
        services to any victims, nor did it initiate any trafficking prosecutions.    shelter during the reporting period. The social welfare bureau designated
        The government has not convicted a trafficker since 2019 and has never        shelters for adult trafficking victims and made medical care, ﬁnancial
        identiﬁed a victim of forced labor.                                           assistance, counseling, legal assistance, and other services available for
                                                                                      identiﬁed victims, but it did not provide these services to any victims.
                                                                                      The law permitted victims to seek compensation through civil courts
                                                                                      or to obtain restitution in criminal proceedings. The government did

 358                                                                                                                                 Haiti AR_000839
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 464 of 729




                                                                                                                                                                MADAGASCAR
not report how much it allocated for victim protection services in 2021,
compared to approximately 1.74 million patacas ($217,770) allocated in         MADAGASCAR: TIER 2
2020. The government operated and publicized a trafficking hotline,
as well as a hotline for reporting labor exploitation, for the public          WATCH LIST
and potential victims to seek assistance. Due to a lack of proactive
identiﬁcation efforts, authorities may have detained or deported some         The Government of Madagascar does not fully meet the minimum
unidentiﬁed trafficking victims. The government did not report the status     standards for the elimination of trafficking but is making signiﬁcant
of a standard operating procedure—for ensuring safe repatriation of           efforts to do so. These efforts included investigating slightly more
PRC national child sex trafficking victims—drafted during the previous        trafficking crimes; cooperating with foreign governments on a trafficking
reporting period. The law permitted migrant victims to remain in              investigation; and establishing a new mechanism for potential migrant
Macau temporarily and seek employment while authorities pursued               workers from the Diana region to promote fair recruitment abroad
cases against traffickers. In cases in which a victim faced retribution or    and raise awareness of potential trafficking indicators. However, the
hardship in their home country, authorities reported a policy allowed         government did not demonstrate overall increasing efforts compared
for permanent residency on the basis of “well-founded humanitarian            with the previous reporting period, even considering the impact of the
reasons,” although no victims beneﬁted from this policy.                      COVID-19 pandemic on its anti-trafficking capacity. The government did
                                                                              not report prosecuting or convicting any traffickers. Despite continued
PREVENTION                                                                    reports of alleged complicity, the government did not hold any complicit
Authorities decreased efforts to prevent trafficking. The interagency         officials accountable and did not investigate reports of officials facilitating
Human Trafficking Deterrent Measures Concern Committee, led by the            child sex trafficking. The government identiﬁed the fewest number of
security bureau, coordinated Macau’s anti-trafficking efforts, but the        trafficking victims since 2016 and only provided services to half of the
government did not report if the committee met or how much it allocated       victims identiﬁed. The government remained without official standard
for its activities in 2021, compared to 3.44 million patacas ($430,540)       operating procedures (SOPs) to proactively identify trafficking victims
allocated in 2020. The government disseminated television commercials,        and refer them to care. Overall efforts to address internal trafficking
radio broadcasts, and online videos, as well as pamphlets and posters
                                                                              crimes, including domestic servitude, forced begging, and child sex
in several different languages, to raise awareness of trafficking. The
                                                                              trafficking, remained inadequate. The government failed to allocate
government did not report holding labor rights seminars for workers
                                                                              adequate resources to the National Office to Combat Human Trafficking
in high-risk industries during the reporting period, which it had held in
                                                                              (BNLTEH) and other agencies responsible for anti-trafficking efforts and
previous years. Standard labor laws did not apply to domestic workers,
                                                                              remained without a national action plan (NAP) to combat trafficking,
and while there was a required minimum income threshold for employers
                                                                              hindering overall progress and coordination. Therefore Madagascar
to be able to sustain at least a 3,000 patacas ($375) monthly wage, there
                                                                              was downgraded to Tier 2 Watch List.
was no minimum wage for foreign domestic workers, a situation which
may have increased their vulnerability to trafficking. Legislation passed
in March 2021 established regulations for employment agencies, such as                 MADAGASCAR TIER RANKING BY YEAR
limiting the amount of fees agencies could charge migrant workers to               1
50 percent of the ﬁrst months’ salary and prohibiting the withholding
                                                                                   2
of workers’ identity documents or other personal belongings. Violations
were subject to a ﬁne of 20,000 to 50,000 pacatas ($2,500-$6,260) and           2WL
license revocation; however, the government did not report identifying             3
any violations during the reporting period. The government adjudicated                   2015      2016     2017     2018   2019    2020     2021     2022
1,758 labor dispute cases in 2021 (1,519 adjudicated in 2020) but did
not report how many inspections it conducted at constructions sites
or employment agencies for labor violations (72 construction sites and
209 employment agencies inspected in 2020). The government did not            PRIORITIZED RECOMMENDATIONS:
make efforts to reduce the demand for commercial sex acts or provide          Increase efforts to investigate and prosecute trafficking crimes,
anti-trafficking training to its personnel posted overseas.                   including complicit officials and perpetrators of internal trafficking
                                                                              crimes, and adequately sentence convicted traffickers. • Systematically
TRAFFICKING PROFILE                                                           and proactively identify trafficking victims by screening for trafficking
As reported over the past ﬁve years, human traffickers exploit foreign        indicators among vulnerable populations, including child laborers,
victims in Macau. Traffickers recruit victims, primarily from mainland        women exploited in commercial sex, returning Malagasy migrant workers,
PRC, Russia, and Southeast Asia, using false advertisements for jobs,         and People’s Republic of China (PRC) nationals employed at worksites
such as singing and modeling, or work in casinos. Adult and child             affiliated with the PRC’s Belt and Road Initiative. • Refer all identiﬁed
victims are compelled into commercial sex in massage parlors, illegal         trafficking victims to appropriate protection services, including victims
brothels, nightclubs, entertainment establishments in casinos, hotels,        of internal trafficking, such as domestic servitude, forced begging,
and private homes, where they are closely monitored, are threatened           child sex trafficking, migrant workers, and PRC national overseas
with violence, are forced to work long hours, and sometimes have their        workers. • Amend the 2014 anti-trafficking law to ensure the penalties
identity documents conﬁscated. Casinos and other entertainment                prescribed for adult sex trafficking are commensurate with those
establishments reportedly allow staff to partner with criminal networks       prescribed for other serious crimes, such as rape and/or kidnapping.
to allow illegal commercial sex activities within their establishments,       • Institutionalize the training of front-line officials on victim-centered,
likely facilitating sex trafficking. The government’s pandemic-related        trauma-informed trafficking investigations and the use of SOPs for the
mitigation efforts, including travel and quarantine restrictions, disrupted   identiﬁcation and referral of victims to appropriate services. • Finalize,
Macau’s tourism industry, and as a result, illegal activities in casinos,     adopt, and provide appropriate funding to implement an anti-trafficking
including commercial sex, declined compared to previous years. Migrant        NAP. • Strengthen the partnership between police and prosecutors to
construction and domestic workers, primarily from mainland PRC,               more efficiently and effectively prosecute trafficking cases, including
Indonesia, and the Philippines, may be vulnerable to forced labor in          regular case conferencing and training on strong evidence gathering.
Macau. Some employment agencies overcharge workers recruitment                • Implement and consistently enforce strong regulations and oversight
fees of approximately two to three months’ salary and withhold workers’       of labor recruitment companies, including by eliminating recruitment
passports, potentially leading to debt-based coercion. Some brokers           fees charged to migrant workers and holding fraudulent labor recruiters
bring migrant workers to Macau to renew work visas for other countries,       criminally accountable. • Improve the national identiﬁcation system,
while restricting their movement and withholding their passports.             including establishing a database and anti-fraud features, to prevent
                                                                              child sex trafficking and reduce trafficking vulnerabilities of overseas
                                                                              Malagasy workers based on issuance of fraudulent documentation. •
                                                                              Improve nationwide data collection on anti-trafficking law enforcement
                                                                                                                                   Haiti AR_000840              359
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 465 of 729
MADAGASCAR   and victim identiﬁcation efforts, including information sharing among           The government, in partnership with an international organization,
             relevant government agencies. • Conduct community-level outreach                trained law enforcement officials on victim-centered investigation
             campaigns to raise public awareness of all forms of trafficking, particularly   strategies in child sex trafficking cases. Despite training efforts, the
             child sex trafficking in tourist destinations.                                  government did not institutionalize anti-trafficking training, and some
                                                                                             police, immigration officers, prosecutors, and judges continued to lack
             PROSECUTION                                                                     a clear understanding of trafficking, which hampered law enforcement
             The government decreased anti-trafficking law enforcement efforts.              and victim identiﬁcation efforts. Coordination and information sharing
             Law No.2014-040 criminalized sex trafficking and labor trafficking and          between the public prosecutor’s office and police were inadequate
             prescribed penalties ranging from two to ﬁve years’ imprisonment and            and continued to hinder case progression. In December 2019, the
             a ﬁne of 1 million to 10 million Malagasy ariary (MGA) ($260 to $2,560)         government, in partnership with an international organization, approved
             for offenses involving an adult victim, and ﬁve to 10 years’ imprisonment       an interagency agreement between the justice system, the national
             and a ﬁne of 2 million to 20 million MGA ($510 to $5,130) for those             police, and the national gendarmerie to establish a protocol for effective
             involving a child victim. These penalties were sufficiently stringent.          coordination on trafficking cases; however, the different agencies had
             For offenses involving children, with respect to sex trafficking, these         not signed the agreement and did not report cases of its implementation
             penalties were commensurate with those prescribed for other serious             for the third consecutive reporting period.
             crimes, such as rape; however, offenses involving adult sex trafficking
             were not commensurate with those prescribed for other serious crimes.           PROTECTION
             The government did not make efforts to amend its law during the                 The government decreased victim protection efforts. Due to a lack of
             reporting period.                                                               coordinated data collection at the national level, the government did
             BNLTEH maintained a national database for the collection of trafficking-        not report comprehensive data. The government reported identifying
             related information; however, not all relevant ministries regularly             72 victims of trafficking, compared with 175 victims identiﬁed in the
             contributed to the national database and fewer stakeholders provided            previous reporting period and the lowest number of victims identiﬁed
             data than in previous years, causing national law enforcement statistics        since 2016. Of the 72 victims identiﬁed, traffickers exploited nine in
             to remain difficult to obtain and verify. The government reported               forced labor, 18 in sex trafficking, and 45 in unspeciﬁed exploitation;
             investigating 30 trafficking cases—24 for adult sex trafficking and six         61 were female and 11 were male; 48 were adults, 20 were children, and
             for unspeciﬁed exploitation—during the reporting period, compared               the age of four victims was unknown; and all 72 victims were Malagasy.
             with 24 investigations in the previous reporting period. Additionally, the      The government provided various services, including medical care and
             government reported investigating 59 individuals for potential trafficking      education assistance, to 37 trafficking victims, a signiﬁcant decrease
             crimes; however, the government did not report details in these cases           compared with at least 117 victims assisted last reporting period. In
             to determine if the crimes involved exploitation through forced labor or        addition to victims identiﬁed by the government, NGOs and international
             sex trafficking. The government did not report prosecuting or convicting        organizations reported identifying and assisting at least 769 potential
             any traffickers, compared with eight prosecutions and two convictions           victims, providing them with services, including medical care, social
             during the previous reporting period. A media outlet reported that              reintegration assistance, school support, and repatriation assistance for
             the Anti-Corruption Court of Antananarivo heard a case involving a              Malagasy nationals potentially exploited in domestic servitude abroad.
             Malagasy national exploiting a girl in both sex trafficking and domestic        The government remained without official SOPs to proactively identify
             servitude and that the Court of First Instance in Antananarivo heard a          trafficking victims and refer them to care; instead, there were disparate
             case involving a foreign national exploiting Malagasy women and girls in        SOPs across different ministries that were used to varying degrees.
             sex trafficking. An NGO reported the government prosecuted one case             Government officials continued to have access to a victim identiﬁcation
             of child trafficking involving seven suspects in Toliara, initiated in 2020.    and referral manual developed by an international organization; however,
             According to the NGO, courts convicted one Malagasy national and two            the government did not actively distribute the manual, and use of the
             foreign nationals for pedophilia in this case and sentenced them to three       procedures outside of Antananarivo remained minimal. The government
             years’ imprisonment and a 2 million MGA ($510) ﬁne; courts acquitted            did not proactively screen vulnerable populations, including child
             the other four defendants. Malagasy authorities cooperated with the             laborers, women exploited in commercial sex, returning Malagasy migrant
             Governments of the United States and France to investigate, arrest, and         workers, and foreign workers, for trafficking indicators.
             initiate prosecution against a Malagasy national allegedly facilitating         The Ministry of Population (MOP), in collaboration with an international
             online sex trafficking of women and girls to foreign customers. Overall,        organization, continued to coordinate more than 700 child protection
             efforts to investigate and prosecute internal trafficking crimes, including     networks across the country to assist children following abuse and
             domestic servitude, forced begging, and child sex trafficking, remained         exploitation and ensure access to medical and psychological services
             inadequate compared to the scale of the problem, and officials continued        for victims of crime, including trafficking. Due to lack of resources, only
             to frequently conﬂate human trafficking and migrant smuggling.                  about 450 child protection networks provided basic assistance through
             The government did not report any investigations, prosecutions, or              public hospitals and health units, and most of the networks referred the
             convictions of government officials complicit in trafficking crimes;            victims to international organizations and NGOs for additional assistance;
             however, corruption and official complicity in trafficking crimes remained      this was a decrease compared with 600 networks operating in the
             signiﬁcant concerns, inhibiting law enforcement action during the year.         previous reporting period. Through referral from the child protection
             Furthermore, procedures stating that a government official cannot be            networks, an international organization assisted 630 children (361
             arrested without authorization from the official’s supervisor impeded           girls and 269 boys), including victims of sexual exploitation and the
             holding complicit officials accountable for trafficking crimes. Observers       worst forms of child labor, both including child trafficking. The Mitsinjo
             reported a network of government officials continued to produce false           Center, a government-owned, trafficking-speciﬁc temporary shelter for
             identity documents used to facilitate child sex trafficking, especially         repatriated adult victims, continued to operate with a capacity to house
             in coastal areas like Nosy Be and Toliara. Observers also alleged some          22 occupants; however, the government did not report the number
             government officials continued to help Malagasy nationals obtain                of victims assisted at the shelter, compared with one potential victim
             fraudulent travel documentation to circumvent a 2013 travel ban to              assisted during the previous reporting period. Six government hospitals,
             certain Middle Eastern countries where traffickers have exploited               in partnership with an international organization, maintained “one-stop”
             Malagasy laborers. In previous years, judges released accused sex               victim support centers that offered assistance to child victims of various
             offenders, some of whom may have been traffickers and often were                abuses, including sex trafficking; the one-stop support centers—located
             foreign citizens, allegedly at the request of senior government officials.      in Antananarivo, Mahajanga, Nosy Be, Toamasina, Tolagnaro, and Toliara—
                                                                                             offered victims medical assistance and psychological support through
             Due to lengthy judicial processes and a lack of implementation for              social workers, and they provided access to police to ﬁle complaints.
             victim protections in criminal proceedings, families often chose to settle      The government reported assisting 1,351 children (including 16 boys)
             conﬂicts, including trafficking crimes, informally through traditional          at these facilities; however, the government did not report the number
             means without recourse to the formal court system. Observers report             of identiﬁed trafficking victims assisted.
             victims were often reluctant to ﬁle charges due to fear of reprisals.
  360                                                                                                                                     Haiti AR_000841
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 466 of 729




                                                                                                                                                               MADAGASCAR
The MOP, in partnership with an international organization, continued           identiﬁcation of potential trafficking victims through the various hotlines,
to operate a foster care program for exploited children in Nosy Be; the         the police did not initiate investigations in these cases.
government did not provide statistics on the number of children assisted
                                                                                A 2013 ban on migrant worker travel to Middle Eastern countries the
through the program for the third consecutive reporting period. The
                                                                                government considered high-risk remained in place; however, illicit
government continued to operate and fund the Manjary Soa Center in
                                                                                recruitment agencies circumvented the ban by sending workers through
Antananarivo, which received 35 children who had been removed from
                                                                                other African countries, including Comoros, Ethiopia, Kenya, Mauritius,
situations of forced labor in domestic work or street vending. This center
                                                                                and Seychelles. In an attempt to address this issue and identify agencies
provided vocational training or reintegration into the public school
                                                                                involved in fraudulent recruitment, the government continued its
system and allowed victims to stay at the center for one school year.
                                                                                suspension of all existing accreditations for placement agencies and, thus,
The city of Antananarivo continued to manage an emergency center for
                                                                                its prohibition of recruitment of workers for employment abroad. These
child victims of crime, including domestic servitude and forced begging
                                                                                prohibitions on migrant workers continued to leave Malagasy people
victims, who were frequently referred by the Morals and Protection
                                                                                with no legal means to travel abroad for work and, therefore, without
of Minors Police Service. The city government, in partnership with
                                                                                access to protection mechanisms available through authorized travel,
an international organization, provided food, lodging, psychological
                                                                                subsequently increasing their vulnerability to trafficking and blackmail.
and medical aid, and educational services to victims; however, the
                                                                                Suspending accreditation of placement agencies has led to employers
government did not report the number of victims served at the center.
                                                                                and traffickers increasingly targeting migrant workers for blackmail
The government, in partnership with an international organization,
                                                                                or solicitation of bribes. Due to pandemic-related travel restrictions,
operated two specialized centers for gender-based violence victims,
                                                                                the government suspended all commercial ﬂights from March 2020 to
including potential trafficking victims, in Antananarivo. These centers
                                                                                November 2021; these restrictions may have exacerbated pre-existing
provided free psychological support, medical care, and legal assistance;
                                                                                trafficking vulnerabilities among migrant workers. The Ministry of
the government did not report the number of trafficking victims assisted
                                                                                Labor, Employment, Civil Service, and Social Laws (MOL) continued to
during the reporting period.
                                                                                oversee the process of migrant workers traveling to non-Gulf countries
Due to a lack of formal identiﬁcation procedures, some potential                by requiring contract approval by the relevant Malagasy embassy. The
trafficking victims may have remained unidentiﬁed within the law                MOL, in partnership with an international organization, established a
enforcement system. Police sometimes arrested girls for “prostitution”          new initiative in its Antsiranana regional office to provide information
without screening or identifying them as trafficking victims and would          to Malagasy citizens in the Diana region seeking employment abroad
sometimes temporarily keep potential transnational labor trafficking            to promote fair recruitment, including raising awareness of potential
victims in police stations due to a lack of alternative accommodations.         trafficking indicators.
Observers reported employers often sued former child domestic workers
                                                                                The government maintained efforts to reduce the demand for commercial
to avoid paying accumulated unpaid salaries in cases where victims
                                                                                sex acts, including child sex tourism. Local officials in Toliara continued
may have reported their abuse; despite documenting 55 such cases
                                                                                to investigate child sex tourism suspects, including those purchasing
where employers sued child domestic workers, the government did not
                                                                                sex from children. The Ministry of Tourism (MOT), in partnership with
report investigating these incidents for potential trafficking crimes or
                                                                                international organizations, continued to monitor the commitment
screening the children for trafficking indicators. To prevent retaliation
                                                                                of the approximately 1,000 tourism operators in 12 regions who had
from suspected traffickers, trafficking trials could be held in private or by
                                                                                previously acceded to the tourism code of conduct against commercial
video conference to ensure witness conﬁdentiality and privacy; however,
                                                                                child sexual exploitation and sex tourism. The MOT conducted an
the government did not report doing so. While the 2014 anti-trafficking
                                                                                unknown number of hotel compliance inspections to remind hotels of
law entitled victims to restitution, for the eighth consecutive year, the
                                                                                their obligation to display posters in their reception areas publicizing
government did not implement this provision. Observers reported courts
                                                                                the prohibition of commercial child sexual exploitation; the government
in Toliara denied child sex trafficking victims’ request for compensation
                                                                                also maintained such billboards at airports as a warning for tourists. The
because the victims lacked birth certiﬁcates and national identity cards.
                                                                                MOT, in partnership with NGOs and an international donor, continued
The 2014 anti-trafficking law required authorities to consider legal
                                                                                to disseminate pamphlets to tourists to remind them that child sex
alternatives for foreign trafficking victims who believe they may face
                                                                                trafficking was illegal and provide steps on how to report a trafficking
hardship or retribution if returned to their country of origin.
                                                                                crime. The government did not provide anti-trafficking training to
                                                                                diplomats.
PREVENTION
The government maintained minimal efforts to prevent trafficking.
                                                                                TRAFFICKING PROFILE
BNLTEH, under the prime minister’s office, continued to lead the
                                                                                As reported over the past ﬁve years, human traffickers exploit domestic
government’s national anti-trafficking efforts. The 2021 federal budget
                                                                                and foreign victims in Madagascar, and traffickers exploit victims from
legislation provided a dedicated budget of 410 million MGA ($105,070)
                                                                                Madagascar abroad. Traffickers exploit Malagasy children, mostly from
for anti-trafficking programs led by BNLTEH; however, for the second
                                                                                rural and coastal regions and from impoverished families in urban areas,
consecutive year, the government did not disburse any funding to
                                                                                in child sex trafficking and forced labor in domestic service in homes
BNLTEH, attributing the decision to the strain on the national budget
                                                                                and businesses, mining, street vending, agriculture, textile factories,
during the pandemic. The lack of funding led to the cancellation of
                                                                                and ﬁshing across the country. The prevalence of child forced begging
most of BNLTEH’s planned activities. The government did not have an
                                                                                continues to increase in Antananarivo; reports indicate that traffickers
anti-trafficking NAP; BNLTEH ﬁnalized an updated draft NAP during
                                                                                force children, including those with disabilities, to work for long hours
the previous reporting period, which was awaiting approval by the
                                                                                and in dangerous conditions, frequently at the behest of their parents.
prime minister for the second consecutive year. In partnership with
                                                                                Most child sex trafficking occurs in tourist destinations, urban cities,
international organizations, the government held awareness campaigns
                                                                                vanilla-growing regions, and around formal and informal mining sites
targeting government ministries, religious leaders, potential migrant
                                                                                with the involvement and encouragement of family members; however,
workers, and the general public on trafficking indicators. BNLTEH
                                                                                tourist operators, hotels, taxi drivers, massage centers, and local adults
maintained a hotline to report human trafficking and dedicated staff
                                                                                involved in commercial sex also facilitate this crime. Traffickers continue
to receive incoming calls; however, calling the hotline was not free of
                                                                                to exploit girls as young as 13 years old in child sex tourism in Nosy Be,
charge, and its publicization was limited. In 2021, the hotline received
                                                                                Toliara, and other coastal areas, often openly in bars, nightclubs, massage
18 calls and identiﬁed two potential trafficking victims. In partnership
                                                                                parlors, hotels, and private homes. Malagasy men exploit the majority
with an international organization, the police and MOP social workers
                                                                                of child sex trafficking victims. Although tourist arrivals declined during
continued to operate a national toll-free hotline to report child abuse.
                                                                                the pandemic, historically most foreign sex tourists in Madagascar are
The government reported identifying and referring to care 12 victims
                                                                                French and Italian nationals, and, to a lesser extent, other Westerners
of child forced labor in domestic servitude from the hotline, compared
                                                                                and Comorians. In coastal areas like Nosy Be, Toliara, Mahajanga, and
with 37 victims identiﬁed in the previous reporting period. Despite the
                                                                                Toamasina, parents encourage girls as young as 15 years old to become
                                                                                ﬁnancially independent by engaging in commercial sex with foreign
                                                                                                                                  Haiti AR_000842              361
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 467 of 729
MALAWI   tourists; traffickers use this cultural norm as an opportunity to exploit
         girls in child sex trafficking. Traffickers fraudulently recruit some children            MALAWI TIER RANKING BY YEAR
         for work in Antananarivo and Mahajanga as waitresses and masseuses                    1
         before exploiting them in child sex trafficking. Traffickers continue to
                                                                                              2
         abuse traditional practices of arranged marriage, bride purchasing, and
         girl markets to exploit girls in child sex trafficking. Government officials       2WL
         are reportedly complicit in providing falsiﬁed national identity cards                3
         and birth certiﬁcates to traffickers that facilitate child sex trafficking in               2015      2016     2017     2018   2019   2020     2021     2022
         Madagascar and forced labor in domestic service of Malagasy women
         abroad. During the pandemic, sex traffickers increasingly exploited
         women and children online; in some cases, traffickers lured women
         from rural provinces to Antananarivo with the promise of employment,             PRIORITIZED RECOMMENDATIONS:
         often via false job advertisements on social media, but then forced              Expand training on and usage of standard operating procedures (SOPs)
         them to perform online sex acts for foreign customers. Police report             and the national referral mechanism (NRM) to identify trafficking victims
         traffickers are increasingly using centralized locations known as “call          systematically and proactively by screening vulnerable populations,
         centers” to simultaneously exploit multiple women and girls online;              including individuals involved in commercial sex, refugees, and foreign
         traffickers regularly change the locations of “call centers” to avoid law        workers, and refer all trafficking victims to appropriate services. • Continue
         enforcement detection. Previous reports indicated child sex trafficking          increasing efforts to investigate and prosecute sex and labor trafficking
         of boys was becoming more prevalent. Forced labor persisted in the               crimes and sentence convicted traffickers to adequate penalties under
         context of Dinas, which were informal arrangements for payment or in             the 2015 anti-trafficking law, including complicit government officials.
         response to wrongdoing and a way of resolving conﬂicts or paying debt.           • Collaborate with NGOs and international organizations to increase
                                                                                          the government’s capacity to provide shelter and protective services
         Many Malagasy women are employed as domestic workers in the PRC,
                                                                                          to more trafficking victims. • Increase protective services for victims
         Lebanon, Kuwait, and Saudi Arabia, and media sources report that
                                                                                          participating in the criminal justice process to prevent re-traumatization,
         informal placement agencies are still attempting to circumvent a 2013
                                                                                          including establishing child-friendly interviewing spaces and ensuring
         ban against sending workers to the Middle East by routing them via
                                                                                          victims receive basic needs. • Expand the collection of law enforcement
         Comoros, Ethiopia, Kenya, Mauritius, and Seychelles using legitimate
                                                                                          and victim protection data for trafficking cases, speciﬁcally the number
         tourist visas to avoid declaring travelers as migrant workers. Reports
                                                                                          of victims referred and provided protective services, and compile data
         indicate traffickers and employers exploit Malagasy workers in Gulf
                                                                                          from all districts. • Disperse funds allocated to the Anti-Trafficking Fund
         States using various forms of abuse, such as physical violence, salary
                                                                                          to provide care to victims and to expand training for law enforcement
         withholding, and conﬁscation of passports. An international organization
                                                                                          and protection officers on investigating trafficking crimes, identifying
         reports pandemic-related restrictions abroad, particularly in Gulf states,
                                                                                          trafficking victims, and providing adequate protection services. •
         may increase vulnerabilities to trafficking among Malagasy migrant
                                                                                          Strengthen district coordination committee anti-trafficking efforts
         workers due to work overload, salary reductions, job loss, and limited
                                                                                          through developing district-level action plans and increasing coordination
         access to social services. Traffickers acting as agents in labor recruitment
                                                                                          on victim services and investigations. • Train labor inspectors to identify
         agencies send Malagasy women to the PRC with falsiﬁed identity cards,
                                                                                          potential forced labor victims during routine inspections and to report
         where they are exploited in forced labor in agriculture or domestic
                                                                                          potential trafficking violations to appropriate officials. • Develop and
         servitude. Traffickers and employers may exploit Malagasy men in
                                                                                          institutionalize mandatory pre-departure anti-trafficking training for all
         forced labor in the services and construction industries in the Middle
                                                                                          Malawian diplomats. • Increase awareness and monitoring of trafficking
         East and in domestic servitude in the PRC. PRC nationals employed
                                                                                          crimes, as well as efforts to identify traffickers and victims at border
         in Madagascar at worksites affiliated with the PRC’s Belt and Road
                                                                                          crossings and internal police checkpoints.
         Initiative were vulnerable to forced labor, particularly in construction.
                                                                                          PROSECUTION
                                                                                          The government maintained anti-trafficking law enforcement efforts.

          MALAWI: TIER 2                                                                  The 2015 Trafficking in Persons Act criminalized sex trafficking and
                                                                                          labor trafficking, and it prescribed punishments of up to 14 years’
                                                                                          imprisonment for offenses involving an adult victim and up to 21 years’
         The Government of Malawi does not fully meet the minimum standards               imprisonment for those involving a child victim. These penalties were
         for the elimination of trafficking but is making signiﬁcant efforts to do        sufficiently stringent and, with regard to sex trafficking, commensurate
         so. The government demonstrated overall increasing efforts compared              with punishments prescribed for other serious crimes, such as kidnapping.
         to the previous reporting period, considering the impact of the COVID-19         The Malawi Police Service (MPS) increased reporting capacity from ﬁve
         pandemic on its anti-trafficking capacity; therefore Malawi remained on          district-level police stations during the previous reporting period to 10
         Tier 2. These efforts included investigating and prosecuting trafficking         out of Malawi’s 44 district-level police stations in 2021. The government
         cases, including investigations of allegedly complicit officials; increasing     reported investigating 82 trafficking cases and 82 suspects in 2021,
         collaboration with NGOs to identify potential victims; and increasing            compared with investigating 44 cases and arresting 54 suspects in 2020.
         awareness efforts and screening for trafficking in refugee camps.                The government reported prosecuting 27 cases involving an unknown
         However, the government did not meet the minimum standards in several            number of suspects and convicting seven traffickers, compared with
         key areas. The government did not report training law enforcement                prosecuting 33 cases involving 39 suspects and convicting 29 traffickers
         or social workers on identifying, referring, and providing services to           in 2020. At the end of the reporting period, 39 prosecutions remained
         trafficking victims. Due to the lack of shelters and other protections,          ongoing. Sentences for convicted traffickers ranged from ﬁnes of
         police often detained victims during the investigation process and               $100 with no prison time to prison terms up to six years; therefore
         did not take adequate measures to prevent the re-traumatization of               some sentences did not serve to deter the crime or adequately reﬂect
         victims participating in criminal proceedings. Credible reports of official      the nature of the crime. Courts dismissed a number of trafficking
         complicity continued to impede the government’s efforts to carry                 prosecutions for lack of evidence and certiﬁcation of victim status
         out anti-trafficking law enforcement efforts and proactively identify            by law enforcement at the time of identiﬁcation, which is required to
         trafficking victims.                                                             conﬁrm an individual is a victim of trafficking. Due to conﬂation between
                                                                                          migrant smuggling and human trafficking, the government may have
                                                                                          prosecuted migrant smuggling crimes under its anti-trafficking law.
                                                                                          The government reported pandemic-related restrictions hampered
                                                                                          investigations and redirected resources to enforcing public health
                                                                                          lockdown measures. Courts introduced virtual hearings to address

 362                                                                                                                                      Haiti AR_000843
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 468 of 729




                                                                                                                                                                MALAWI
the slow judicial processing of cases; however, a signiﬁcant backlog of          trafficking victims. The government did not report the number of victims
cases remained ongoing.                                                          referred to shelters or protection services. Some of the approximately 300
                                                                                 police sub-stations at the village-level housed victim support units (VSUs)
During the reporting period, the government did not report if it provided
                                                                                 to respond to gender-based violence and trafficking crimes; however, the
anti-trafficking training to police and social welfare officers, compared
                                                                                 VSUs lacked capacity to respond adequately, and the quality of services
with at least 247 officials trained on investigations, victim identiﬁcation,
                                                                                 varied throughout the country. The government and civil society reported
and data collection in the previous reporting period. The MPS retained
                                                                                 pandemic-related restrictions, such as limitations on gatherings, travel
anti-trafficking training in its curricula for the Limbe, Mtakata, and
                                                                                 restrictions, border closures, curfews, and reallocation of donor-funding,
Mlangeni Police Training Schools and Zomba Police College; however,
                                                                                 limited victim care during the reporting period.
the government did not report the number of recruits trained during
the reporting period. The government maintained intelligence sharing             Despite the government’s reliance on civil society organizations to provide
agreements with the Governments of Zambia and Mozambique and                     care to trafficking victims, it did not report providing ﬁnancial or in-kind
collaborated with the Government of Zambia on an ongoing trafficking             support to such organizations or its allocation to the anti-trafficking
investigation and repatriation of two Zambian trafficking victims.               fund during the reporting period. In 2020, the government allocated 150
                                                                                 million Malawian kwacha ($163,040) to the anti-trafficking fund, the same
The government did not report any prosecutions or convictions of
                                                                                 amount allocated in 2019 and 2018; the government utilized the fund for
government employees complicit in human trafficking crimes; however,
                                                                                 various activities during the reporting period, including support for victim
corruption and official complicity in trafficking crimes remained
                                                                                 repatriation and capacity building for protection service providers. A
signiﬁcant concerns, inhibiting law enforcement action during the
                                                                                 signiﬁcant lack of resources, capacity, and anti-trafficking training among
year. The government continued an investigation from 2020 of 12
                                                                                 law enforcement and social welfare officers led to ad hoc assistance, a
local police officers in Mzuzu for allegedly facilitating an organized
                                                                                 lack of victim-centered approaches, and potential re-traumatization of
trafficking operation. The government also investigated 10 police
                                                                                 victims. Observers reported police often transported victims, particularly
officers from the Professional Standard Unit in Kasungu for accepting
                                                                                 children, with their suspected traffickers in the same vehicle, resulting
bribes from traffickers. In both cases, the officers were suspended from
                                                                                 in potential intimidation and further traumatization of victims. Officials
duty pending investigation; however, courts dismissed all charges due
                                                                                 occasionally placed victims in detention, due to a lack of shelter space;
to lack of evidence. Malawian officials allegedly received payment to
                                                                                 and in some cases, victims reportedly ran away from detention after
recruit and facilitate transport of Malawian adults and children to South
                                                                                 officials failed to provide them basic needs, such as food. The 2015
Africa for forced labor in businesses privately-owned by nationals of
                                                                                 anti-trafficking law allowed courts to provide immunity to victims for
the People’s Republic of China (PRC). In April 2019, the Department
                                                                                 crimes their traffickers compelled them to commit, including potential
of State suspended for two years the A-3 visa sponsorship privileges
                                                                                 immigration violations; however, previous reports alleged foreign victims
afforded to Malawi bilateral mission members as a result of an unpaid
                                                                                 faced deportation unless they challenged their immigration status in
ﬁnal judgment against a former Malawian diplomat for approximately
                                                                                 court. Foreign victims can receive temporary residency status while
$1.1 million rendered by a federal district court in a civil human trafficking
                                                                                 cooperating with law enforcement; trafficking victims were not eligible
case involving a domestic worker who sued her former employer, a
                                                                                 for any permanent immigration status. The government did not report
former Malawian diplomat, for trafficking. The former diplomat left the
                                                                                 if any foreign victims received temporary status during the reporting
United States in 2012. For the sixth consecutive year, the government did
                                                                                 period. While the government reported offering victim-witness support
not report taking any further action to hold the diplomat accountable.
                                                                                 during participation in prosecutions, NGOs reported the government
                                                                                 could not provide any support due to lack of funding, resulting in most
PROTECTION
                                                                                 foreign national victims declining to pursue criminal proceedings and
The government maintained victim protection efforts. The government
                                                                                 returning to their home country. Despite allowing restitution for victims
identiﬁed 145 trafficking victims, compared with 199 victims identiﬁed in
                                                                                 in cases against traffickers, no courts ordered restitution during the
the previous reporting period. The government did not report the victims’
                                                                                 reporting period.
demographics or whether the victims were exploited in sex trafficking
or forced labor. Consequently, some of the victims reported may have
been the dependents of identiﬁed adult victims, as in previous reporting
                                                                                 PREVENTION
                                                                                 The government maintained efforts to prevent trafficking. The Secretariat
periods. The government reported referring identiﬁed victims to the Social
                                                                                 of the National Coordination Committee Against Trafficking in Persons,
Welfare Office, part of the Ministry of Gender, Community Development
                                                                                 led by the Ministry of Homeland Security and charged with overseeing
and Social Welfare, but did not specify the number of victims referred or
                                                                                 national anti-trafficking efforts, met regularly during the reporting
services provided. As reported, all victims were identiﬁed through law
                                                                                 period. The government maintained district coordination committees
enforcement activity. Separately, MPS collaborated with an NGO to identify
                                                                                 in six districts, including Dedza, Karonga, Mangochi, Mzimba, Mchinji,
more than 500 potential victims of trafficking through transit monitoring
                                                                                 and Phalombe. District coordination committees focused on victim
at airports and border crossings, resulting in several prosecutions and
                                                                                 identiﬁcation but did not effectively coordinate on providing services
convictions. The government reported using the SOPs and NRM for victim
                                                                                 or investigating cases. In the previous reporting period, the government
identiﬁcation and assistance; however, observers noted government
                                                                                 reported developing district-level action plans for each committee;
officials frequently misidentiﬁed sex and labor trafficking as other crimes,
                                                                                 however, no progress was reported. Members of the informal Malawi
and cultural acceptance of domestic servitude hindered proactive victim
                                                                                 Network Against Trafficking (MNAT), comprising government officials,
identiﬁcation and referral efforts. In partnership with an international
                                                                                 religious leaders, NGOs, and international stakeholders, also continued
organization, the government trained Dzaleka Refugee Camp staff to use
                                                                                 to meet. The government continued to implement its 2017-2022
the SOPs and a case reporting form to increase screening for trafficking
                                                                                 anti-trafficking national action plan, including by developing a data
victims. In cases involving child victims, the Child Protection Technical
                                                                                 management system, conducting a baseline survey on evaluating
Working Group (TWG), composed of government officials, international
                                                                                 awareness raising, and conducting interventions, such as victim
stakeholders, and NGOs, assisted with coordination of victim services.
                                                                                 protection. As part of the implementation plan ﬁnalized in the previous
Both observers and the government reported that efforts to provide               reporting period, the government, in partnership with an international
protection services to trafficking victims remained minimal and inaccessible     organization, launched an awareness campaign in the Dzaleka Refugee
to some communities, particularly in the northern region. The government         Camp, which included the installation of billboards with victim referral
accredited four NGO-operated shelters to support identiﬁed victims of            and support information. Refugees in the camp were vulnerable to
trafficking in Limbe, Lilongwe, Mchinji, and Zomba during the reporting          potential exploitation due to the lack of legal work authorization.
period; however, some did not meet minimum standards. The government             The government conducted awareness-raising activities on human
reported a lack of shelter capacity to serve all trafficking victims, and        trafficking to 118 traditional leaders, 35 representatives of faith-based
services for victims residing outside shelters remained limited. The             organizations, 112 journalists, and 25 health care workers. MNAT met
government operated one center in Lilongwe that provided counseling              with 34 judges and magistrates to raise awareness of human trafficking
and specialized care for vulnerable children, which included potential           during the reporting period.

                                                                                                                                   Haiti AR_000844              363
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 469 of 729
MALAYSIA   The government collaborated with an NGO-operated hotline to assist              Some girls recruited for domestic service are instead forced to marry
           victims and track trafficking crimes. The hotline registered 119 potential      and are subsequently exploited in sex trafficking. Traffickers lure women
           cases of trafficking, with 51 cases pertaining to children and 68 cases         and girls from Mangochi province with promises of scholarships or
           involving adults, during the reporting period. The government reported          lucrative employment in South Africa for exploitation in sex trafficking.
           contributing information on trafficking cases identiﬁed to a national           Fraudulent employment agencies lure women and girls to Gulf states,
           centralized anti-trafficking data collection and reporting tool. From           where traffickers exploit them in sex and labor trafficking. PRC workers
           July 2020 to June 2021, the Ministry of Labor (MOL) conducted 481               may be exploited on worksites owned by PRC-owned companies.
           inspections for child labor; however, the government did not report
           identifying any trafficking victims. The government did not report training
           labor inspectors on identifying human trafficking; however, the MOL
           had a memorandum of understanding with three tobacco companies                   MALAYSIA: TIER 3
           that supported trainings for labor inspectors on identifying forced and
           child labor. The total number of trainings conducted was not reported.
                                                                                           The Government of Malaysia does not fully meet the minimum standards
           In 2019, the government approved the Prevention of Exploitative Labor
                                                                                           for the elimination of trafficking and is not making signiﬁcant efforts
           Recruitment Regulations for the Trafficking in Persons Act, which
                                                                                           to do so, even considering the impact of the COVID-19 pandemic on its
           required no fees charged to migrant workers, clarity and transparency
                                                                                           anti-trafficking capacity; therefore Malaysia remained on Tier 3. Despite
           of worker contracts, non-retention of identity documentation, and safe
           and decent working and living conditions; however, the government did           the lack of signiﬁcant efforts, the government took some steps to
           not report enforcing these regulations. The government did not make             address trafficking. The government amended its anti-trafficking law and
           efforts to reduce the demand for commercial sex acts. The government            Employment Act to include a more expansive deﬁnition of forced labor;
           developed an anti-trafficking training program for diplomats during             convicted more traffickers than the previous reporting period; issued
           the previous reporting period but reported delays in implementation.            more freedom of movement passes for identiﬁed victims in government-
                                                                                           funded shelters; increased the number of interpreters and victim
           TRAFFICKING PROFILE                                                             assistance specialists (VAS) to assist victims through the judicial process;
           As reported over the past ﬁve years, human traffickers exploit domestic         and adopted a ﬁve-year national action plan (NAP) against forced labor.
           and foreign victims in Malawi, and traffickers exploit victims from Malawi      However, the government continued to conﬂate human trafficking and
           abroad. Traffickers exploit most Malawian victims within the country,           migrant smuggling crimes, which impeded law enforcement and victim
           generally lured from the southern part of the country to the central            identiﬁcation efforts. Anti-trafficking investigations declined, and the
           and northern regions for forced labor in agriculture (predominantly the         government did not prosecute or convict government officials allegedly
           tobacco industry), goat and cattle herding, and brickmaking. Many cases         complicit in trafficking crimes. As in previous years, the government did
           of child labor external to the family involve fraudulent recruitment and        not adequately address or criminally pursue credible allegations from
           physical or sexual abuse, indicative of forced labor. Traffickers—primarily     multiple sources alleging labor trafficking in the rubber manufacturing
           facilitators, family members, or brothel owners—lure children in rural          industry and palm oil sector, with the government owning 33 percent
           areas by offering employment opportunities, clothing, or lodging, for           of the third-largest palm oil company in the world. Its failure to address
           which they are sometimes charged exorbitant fees, resulting in sex              trafficking in these sectors allowed for abusive employers to sometimes
           trafficking. Traffickers exploit teenage boys in forced labor on farms and      operate with impunity. The government identiﬁed fewer victims, and it
           girls in sex trafficking or other forms of sexual exploitation in nightclubs    did not systematically implement standard operating procedures (SOPs)
           or bars. As a result of restaurant and bar closures during the pandemic,        countrywide to proactively identify victims during law enforcement
           observers report that private homes, especially in Lilongwe and Blantyre,       raids or among vulnerable populations with whom authorities came
           have started operating as illegal brothels and bars; operators of these         in contact. Because of inconsistent identiﬁcation efforts, authorities
           establishments exploit girls in sex trafficking. Traffickers exploit children   continued to inappropriately penalize trafficking victims for immigration
           in forced labor in begging, domestic servitude, small businesses, and           and “prostitution” violations. Poor interagency coordination and overall
           potentially in the ﬁshing industry; in past years, some children were           inadequate victim protection services, which discouraged foreign victims
           coerced to commit crimes. During the pandemic, school closures                  from remaining in Malaysia to participate in criminal proceedings,
           increased children’s vulnerability to exploitation and resulted in some         continued to hinder successful anti-trafficking law enforcement efforts.
           students, especially girls, failing to reenroll in school. Adult tenant
           farmers are at risk for exploitation, as they incur debts to landowners
           and may not receive payment during poor harvests. Traffickers exploit                    MALAYSIA TIER RANKING BY YEAR
           adults and children from Mozambique, Zambia, the Great Lakes region,                 1
           the Horn of Africa, and Nepal in labor and sex trafficking in Malawi.                2
           In response to the pandemic, traffickers began using unmonitored
                                                                                             2WL
           and irregular border crossings to facilitate transnational trafficking,
           avoiding traditional border crossings requiring COVID-19 test certiﬁcates;           3
                                                                                                      2015      2016     2017       2018   2019   2020   2021   2022
           observers also report traffickers’ increasing use of smaller, less obvious
           transportation methods, such as bicycles and motorbikes, versus trucks
           or buses to transport potential trafficking victims.
           Malawi hosts more than 52,000 refugees and asylum-seekers, primarily            PRIORITIZED RECOMMENDATIONS:
           from the Democratic Republic of the Congo, Rwanda, Burundi, Ethiopia,           Increase efforts to identify trafficking victims among vulnerable
           and Somalia, with a majority living in the Dzaleka Refugee Camp. Severe         populations, including household workers and workers in the palm oil
           weather events internally displaced more than 100,000 Malawians in              and rubber manufacturing sectors. • Train relevant officials, including
           January 2022, which increased vulnerabilities to potential trafficking;         police, labor inspectors, and immigration officials, on SOPs for victim
           some Malawians crossed into Mozambique seeking shelter in provisional           identiﬁcation that include information on trafficking indicators. • Increase
           camps. Traffickers exploit men in forced labor and women and girls in sex       efforts to investigate, prosecute, and convict more trafficking cases—as
           trafficking both inside and via the camp. Criminal networks facilitate sex      distinct from migrant smuggling—including those involving complicit
           trafficking and forced labor, primarily in farming and domestic servitude,      officials and forced labor crimes. • Expand labor protections for domestic
           of refugees in Malawi or the transportation of refugees and vulnerable          workers and investigate allegations of domestic worker abuse. • Make
           migrants for the purpose of sexual exploitation to other countries in           public the results of investigations involving corrupt officials to increase
           Southern Africa. Malawian victims of sex and labor trafficking have been        transparency and deterrence and hold officials criminally accountable
           identiﬁed in Kenya, Mozambique, South Africa, Tanzania, and Zambia,             when they violate the law. • Increase law enforcement capacity to
           as well as in Iraq, Kuwait, and Saudi Arabia. Malawian and Zambian              investigate and prosecute trafficking cases, including by improving
           potential victims were identiﬁed at a Malawian airport en route to Qatar.       interagency coordination. • Effectively enforce the law prohibiting

 364                                                                                                                                         Haiti AR_000845
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 470 of 729




                                                                                                                                                                MALAYSIA
employers from retaining passports without employees’ consent,                  of intimidation, restriction of movement, and fraud; the amendment also
including by increasing resources for labor inspectors, and include             included penalties for forced labor offenses under the act that ranged
language explicitly stating passports will remain in the employee’s             from a ﬁne of $25,000 to a maximum prison sentence of two years.
possession in model contracts and future bilateral memoranda of                 The government did not report efforts to coordinate with foreign law
understanding (MOU) with labor source countries. • Improve case                 enforcement to investigate or prosecute trafficking cases. However,
management and communication with trafficking victims, including the            the government’s child exploitation unit continued to cooperate with
consistent use of interpreters and the VAS program. • Expand efforts to         a foreign government on cases of online child sexual exploitation,
inform migrant workers of their rights and Malaysian labor laws, including      including child sex trafficking cases, but pandemic-related restrictions
their rights to maintain access to their passports at any time, as well as      hampered the unit’s overall capacity.
opportunities for legal remedies to exploitation. • Create a system for
                                                                                The government did not adequately address or criminally pursue credible
access to timely and accurate interpretation in victims’ primary languages
                                                                                allegations—during this reporting period and prior years—of labor
available to law enforcement, the court system, and shelters. • Expand
                                                                                trafficking in the rubber manufacturing and palm oil sectors, including
cooperation with NGOs, including through ﬁnancial or in-kind support
                                                                                inhumane living conditions for foreign workers made by international
to NGOs to provide some victim rehabilitation services. • Eliminate
                                                                                media, NGOs, and foreign governments. The government’s inaction to
recruitment or placement fees charged to workers by recruiters and
                                                                                address these crimes and hold traffickers accountable in these sectors
ensure recruitment fees are paid by employers. • Increase the number
                                                                                continued to create an environment in which labor trafficking ﬂourished
of trafficking victims who obtain approval for freedom of movement
                                                                                with impunity and trafficking victims remained vulnerable to abuse
from shelters, expand freedom of movement to include unchaperoned
                                                                                without protection. Furthermore, corruption and official complicity
movement, and increase victims’ access to communication with people
                                                                                in trafficking crimes remained signiﬁcant concerns, inhibiting law
outside shelter facilities. • Reduce prosecution delays, including by
                                                                                enforcement action during the year. The government did not report
providing improved guidance to prosecutors on pursuing trafficking
                                                                                initiating any new prosecutions or convictions of government employees
charges, and increase judicial familiarity with the full range of trafficking
                                                                                allegedly complicit in trafficking crimes. Although law enforcement
crimes, particularly forced labor. • Increase efforts to identify trafficking
                                                                                agencies continued to arrest officials for complicity in trafficking,
victims among People’s Republic of China (PRC) workers on PRC
                                                                                insufficient evidence collection hindered bringing these officials to
government-affiliated infrastructure projects.
                                                                                justice, and authorities only transferred or demoted them, allowing
                                                                                impunity for complicity in human trafficking crimes to persist. During
PROSECUTION                                                                     the reporting period, the Royal Malaysian Police (RMP) arrested six
The government increased law enforcement efforts. The 2007 Anti-
                                                                                officials for involvement in trafficking crimes, but it did not report the
Trafficking in Persons and Smuggling of Migrants (ATIPSOM) Act
                                                                                details of these cases. The immigration department separately arrested
criminalized labor trafficking and sex trafficking and prescribed
                                                                                40 officials on trafficking-related charges, but the government did
punishments of three to 20 years’ imprisonment and a ﬁne, which were
                                                                                not prosecute them; it demoted or removed 29 of these officials from
sufficiently stringent and, with respect to sex trafficking, commensurate
                                                                                their jobs while it continued to investigate 11 of them at the end of the
with those prescribed for other serious offenses, such as rape. In
                                                                                reporting period. The government continued to prosecute the former
December 2021, Parliament passed a third amendment to ATIPSOM—
                                                                                deputy prime minister, who also served as minister of home affairs,
previously amended in 2010 and 2015—which increased the penalties
                                                                                on 40 counts of corruption—charges brought in 2019—for allegations
for some offenses and expanded the deﬁnition of trafficking to include
                                                                                of receiving kickbacks in visa issuance contracts for foreign workers.
other means. Nevertheless, officials did not consistently understand the
                                                                                The RMP arrested three officials for involvement in “baby selling” and
deﬁnition of trafficking. Prosecutors often interpreted the deﬁnition of
                                                                                charged them under the ATIPSOM Act; however, this case may not
trafficking under ATIPSOM to require the physical restraint of a victim
                                                                                have met the deﬁnition of human trafficking under international law.
to pursue trafficking charges, which meant prosecutors did not pursue
many potential trafficking cases—especially in cases where coercion was         Malaysia’s criminal justice system continued to suffer resource constraints
a primary element used by traffickers. The government also continued            and uneven application of basic investigative and prosecutorial skills,
to conﬂate human trafficking and migrant smuggling, which impeded               which prevented judicial authorities from following through on trafficking
overall anti-trafficking law enforcement and victim identiﬁcation efforts.      cases at times. The pandemic further delayed or slowed criminal justice
                                                                                and law enforcement operations, including those related to human
During the reporting period, law enforcement authorities conducted
                                                                                trafficking crimes, due to movement restrictions, social distancing,
108 human trafficking investigations, while other ministries referred 17
                                                                                and court capacity requirements. The RMP continued to serve as the
investigations to the Attorney General’s Chambers (AGC), which included
                                                                                lead enforcement agency and assigned 248 officers to its specialized
cases of sex trafficking, forced labor, child exploitation, and domestic
                                                                                anti-trafficking unit. The Labor Department similarly had a specialized
servitude, all of which the police referred to the AGC for prosecution.
                                                                                trafficking enforcement team with 42 officers. Although the government
This data compared with 118 human trafficking investigations and 109
                                                                                continued to operate an interagency anti-trafficking law enforcement
referrals to the AGC for prosecution in the previous reporting period.
                                                                                task force under the Anti-Trafficking in Persons and Anti-Smuggling of
The AGC initiated the prosecution of 31 cases of human trafficking, a
                                                                                Migrants Council (MAPO council), which met virtually on a bi-weekly
decrease from 79 initiated prosecutions the previous year. During the
                                                                                basis, coordination among agencies remained insufficient. The AGC
reporting year, the courts convicted 55 human traffickers and migrant
                                                                                increased the number of trafficking-specialist deputy public prosecutors
smugglers—though it did not disaggregate the data—under a range of
                                                                                from 73 to 79. Only two judges in the country specialized in the anti-
laws, including the ATIPSOM Act, Immigration Act, and the Penal Code;
                                                                                trafficking law. The government continued to operate one special
sentencing of traffickers ranged from three to 18 years’ imprisonment
                                                                                trafficking court in Selangor, but it did not implement plans to expand
under ATIPSOM, restitution of 10,000 Malaysian ringgit (RM) ($2,400)
                                                                                special trafficking courts around the country. The government conducted
under the Immigration Act, and one to six years’ imprisonment under
                                                                                79 anti-trafficking trainings for law enforcement and other government
the Penal Code. This data compared to the conviction of 25 human
                                                                                officials. It also conducted two trainings with an international organization
traffickers and migrant smugglers in the previous reporting period. The
                                                                                and Malaysian businesses on fair recruitment practices and six trainings
government convicted ﬁve individuals for withholding the passports
                                                                                for private industry on forced labor in supply chains.
of employees under the Passport Act of 1966, but it did not report
sentencing details for those convicted nor did it prosecute or convict
                                                                                PROTECTION
these individuals for potential trafficking crimes; this demonstrated
                                                                                The government maintained mixed protection efforts. In 2021, the
a decrease compared to the conviction of 26 individuals under this
                                                                                government identiﬁed and conﬁrmed 96 trafficking victims among
act during the previous reporting period. The government sometimes
                                                                                373 potential victims, which represented a decrease from the previous
pursued cases of forced labor as disparate labor law violations instead of
                                                                                reporting period when the government identiﬁed and conﬁrmed 119
criminal cases of human trafficking or failed to investigate them at all. In
                                                                                victims among 487. The government had victim identiﬁcation SOPs—
March 2022, Parliament passed an amendment to the Employment Act,
                                                                                formally adopted in April 2020—to guide law enforcement officers to
which added a deﬁnition of forced labor for employers that used threats
                                                                                identify victims during official duties. However, the government did not
                                                                                                                                  Haiti AR_000846               365
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 471 of 729
MALAYSIA   systematically implement these SOPs nationwide, especially in rural              did not speak Bahasa Malaysia or English. Shelter staff expanded
           areas and in the eastern states of Sabah and Sarawak, which resulted             victims’ communication, including with family members in their home
           in officers’ failure to refer some victims to shelter and other protection       countries, and while the government did not permit victims to possess
           services. The government continued to focus most of its identiﬁcation            personal phones in shelters, the Malaysian government expanded
           efforts on the use of large-scale police raids of suspected commercial           capacity to allow weekly internet calls to family from shelters, including
           sex establishments and factories suspected of forced labor, the more             video calls. Authorities did not permit victims to leave shelters unless
           prevalent trafficking problem in Malaysia; NGOs reported some police             immigration authorities granted them a freedom of movement pass;
           units continued to conduct these raids during the reporting period.              however, the government was less likely to approve these passes for
           The government, however, did not place adequate attention on the                 female victims of sex trafficking. Although the government reported
           identiﬁcation of victims of forced labor; officials often relied on reports      freedom of movement passes allowed victims to leave the shelters
           of abuse from embassies representing foreign workers, victims to “self-          unchaperoned, in practice, a victim’s movement outside of shelters
           identify,” or workers’ complaints of non-payment of wages and other              remained restricted to chaperoned trips. NGOs reported these shelter
           violations. During large-scale operations to detect undocumented                 conditions resulted in victims feeling as though they were detained.
           migrants, NGOs reported police and immigration officers inconsistently           The government issued 102 freedom of movement passes to potential
           applied victim identiﬁcation procedures or were slow to identify victims,        and conﬁrmed victims in 2021, an increase from the 66 passes issued
           ultimately preventing some foreign victims from receiving protection             in 2020. The government also granted 11 victims continued permission
           services. The government also did not adequately screen asylum-seekers           to work, which also demonstrated an increase from the one work visa
           and refugees for indicators of trafficking. Because of officials’ inconsistent   it granted to a victim in the previous reporting period.
           use of victim identiﬁcation SOPs, authorities may have detained, arrested,
                                                                                            The government reported 55 victims participated in 110 investigations or
           and deported some unidentiﬁed trafficking victims for immigration or
                                                                                            prosecutions in 2021; it did not report how many victims participated in
           “prostitution” violations. NGOs continued to report authorities treated
                                                                                            investigations or prosecutions in the previous reporting period. A 2014
           potential victims identiﬁed during police or immigration raids like
                                                                                            directive required prosecutors to meet with victims at least two weeks
           criminals; this treatment and the raid environment were not conducive
                                                                                            prior to the start of a trial to prepare victims to record their statements
           to victims speaking candidly to law enforcement and consequently
                                                                                            and to help them understand the judicial process. Prosecutors reported
           contributed to the government’s insufficient identiﬁcation of victims.
                                                                                            they engaged with victims; however, limited availability of interpretation
           ATIPSOM required the government place victims who were granted a                 services made effective communication difficult. NGOs reported cases
           court-ordered 21-day interim protection order (for potential trafficking         in which public prosecutors did not appropriately interview victims
           victims) or a subsequent 90-day protection order (for certiﬁed trafficking       to ensure courts granted them protection orders. In 2021, the MAPO
           victims) at a “place of refuge,” designated by the Minister of Home Affairs.     Council established a roster of volunteer interpreters, who spoke 16
           During the reporting period, the government granted all 96 certiﬁed              languages and received anti-trafficking training from NGOs, to be
           victims with full protection orders and housed them in government-               available for victims who participated in investigations or prosecutions;
           operated shelters where they had access to food; some medical care;              during the year, interpreters assisted 32 victims at various stages of
           social, religious, and income-generating activities; and security. While the     the legal process. Despite the availability of interpreters, observers
           law permitted authorities to place victims who were Malaysian citizens           reported victims still did not fully understand their rights during the
           or permanent residents in the care of family members or a guardian, as           judicial process, contributing to stress and reluctance to participate
           opposed to a government shelter or other designated place of refuge,             in investigations and prosecutions, particularly in rural areas where
           the law required foreign victims to remain in government shelters for the        victim services were harder to access. Furthermore, the absence of
           duration of their protection orders. The government typically renewed            shelters in northern Malaysia hindered the ability of prosecutors to meet
           protection orders for certiﬁed victims until the completion of the trial         with victims who were relocated to Kuala Lumpur for services. Some
           associated with their case; this resulted in some victims remaining in           foreign victims reported a reluctance to stay in Malaysia to participate
           the shelters for more than six months. NGOs reported investigative               in prosecutions due to fears of extended shelter stays, unappealing
           authorities sometimes did not allow sufficient time to appropriately             shelter conditions, and intimidation from traffickers; some victims
           interview potential victims in shelters in order to certify them as victims      further reported authorities treated them like criminals, including taking
           and grant 90-day protection orders, which prevented some victims                 victims to court in handcuffs for a trafficker’s trial. Although the law
           from obtaining protection services. Undocumented foreign trafficking             permitted victims to testify remotely, authorities generally expected
           victims had a considerably lower chance of obtaining protection orders           victims to remain in-country pending trial proceedings. To address this
           compared with foreign victims who had valid immigration papers.                  challenge, the 2021 amendment to ATIPSOM granted magistrates the
           Moreover, officials’ interpretation that ATIPSOM required a trafficking          authority to extend protection orders for victims to record testimony,
           victim to be subjected to physical restraint prevented the government            which could be used in lieu of in-person testimony, thereby allowing a
           from identifying some victims and issuing protection orders to many              foreign victim to return to their home country ahead of a trial. Labor
           potential victims.                                                               trafficking victims could ﬁle civil suits against their employers to obtain
                                                                                            compensation or recoup unpaid wages; however, the government did
           The Ministry of Women, Family, and Community Development (MWFCD)
                                                                                            not provide restitution for sex trafficking victims. For labor trafficking
           continued to fund shelters for trafficking victims: eight government-
                                                                                            victims who participated in court proceedings, the government instructed
           operated and two NGO-operated. In 2021, MWFCD collaborated with civil
                                                                                            prosecutors to request restitution in each case; during the reporting
           society organizations to develop a training manual for protection officers
                                                                                            period, prosecutors requested restitution in 13 cases and secured
           and shelter personnel on victim-centered approaches to protecting
                                                                                            $25,000, which demonstrated an overall increase from $21,450 secured
           trafficking victims. The government allocated 785,000 RM ($188,020)
                                                                                            for ﬁve cases in 2020. The MAPO council conducted a 12-month pilot
           to two shelters operated by local NGOs that could assist potential
                                                                                            project—initiated in March 2021—to assess the government’s process
           and certiﬁed victims, an increase of RM 30,000 compared with its
                                                                                            for victims of labor trafficking to seek legal redress and to study the
           allocation of 755,000 RM ($180,840) to two shelters in 2020. However,
                                                                                            feasibility of an alternative referral system for labor trafficking cases;
           the government reported it was unable to utilize allocated funds to
                                                                                            the government did not release the results of the project by the end
           NGO-operated shelters due to pandemic-related restrictions limiting
                                                                                            of the reporting period.
           in-person activities. NGO-operated government shelters continued to
           suffer staffing shortages and struggled to maintain adequate resources           The government added four additional officers to the VAS program under
           to consistently provide services, including interpreters, medical staff,         which a total of six appointed specialists provided services to trafficking
           and mental health counselors. Although the government continued                  victims from the time authorities identiﬁed them, through the judicial
           to place translated shelter rules and regulations in ﬁve languages in            process, and during their repatriation to their home country. NGOs
           some government shelters, language barriers continued to impact                  reported cases of authorities not allowing VAS specialists to join law
           the government’s victim services in shelters and during the judicial             enforcement during investigations or raids, which negatively impacted
           process, as it did not have an institutionalized way to ensure timely            law enforcement’s ability to appropriately screen for and identify victims.
           and accurate communication with potential trafficking victims who                The VAS specialists worked with and provided assistance to 66 victims

 366                                                                                                                                     Haiti AR_000847
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 472 of 729




                                                                                                                                                             MALAYSIA
during the reporting period, a substantial increase from the 15 victims       Malaysia and one month’s basic wages for non-citizens employed within
they assisted in 2020. As in past years, many identiﬁed foreign victims       Malaysia. The law did not deﬁne what comprised a “placement fee,” and
preferred to return immediately to their home countries. The government       enforcement of this rule was lacking; the majority of migrant workers
worked with foreign diplomatic missions to fund and provide repatriation      in Malaysia paid much higher fees to recruitment agents, including in
assistance for victims to return to their home countries. The government      their home country, which contributed to the workers’ vulnerability
continued to give monthly allowance payments of 120 RM ($29) to victims       to debt-based coercion. The government also mandated employers
for incidental expenditures. The government did not always disburse           pay the foreign worker levy, a one-time cost paid to the government
the funds on a monthly basis; some victims received the allowance as a        for any non-Malaysian the company hired, instead of forcing workers
lump sum when they repatriated home. The government did not provide           to bear the cost. The government did not report investigating any
legal alternatives to the removal of foreign victims to countries where       employment agencies for violating the PEAA during the current or
they may face hardship or retribution. ATIPSOM required that foreign          previous reporting period. The government continued to use an online
victims without legal residence in Malaysia be referred to immigration        application system for employers to renew their workers’ temporary work
authorities for repatriation upon the revocation of their protection order.   permits without using a broker. The government re-signed a bilateral
                                                                              MOU with Bangladesh to allow migrant workers to work in Malaysia,
PREVENTION                                                                    which stipulated that all travel expenses including visa requirements
The government increased efforts to prevent trafficking. The MAPO             were the responsibility of the Malaysian employer. However, observers
council—which included ﬁve enforcement bodies, other government               reported concerns the MOU did not address the responsibilities of
entities, and three NGOs—continued to meet on a quarterly basis               recruitment agencies in Bangladesh, which sometimes demanded
and coordinated interagency anti-trafficking efforts to implement the         additional fees from workers that contributed to debt-based coercion.
government’s 2021-2025 anti-trafficking NAP. The 2021 amendment to            In April 2022, the government officially signed an updated MOU with
ATIPSOM increased the number of NGO members who were allowed                  the Indonesian government on the recruitment of domestic workers,
to participate in the MAPO council from three to ﬁve. In 2021, the            which expired in 2016. Malaysian employment law continued to exclude
government maintained the allocated budget of 4 million RM ($958,080)         domestic workers from a number of protections, including maximum
to operate the MAPO council secretariat. In alignment with the goals of       working hours and the country’s minimum wage.
the NAP, in November 2021 the Ministry of Human Resources (MOHR)
                                                                              Civil society continued to observe a lack of adequate efforts to inform
released and began to implement its National Action Plan Against
                                                                              migrant workers of their rights and Malaysian labor regulations. The
Forced Labor (NAPFL) for 2021-2025, which the government wrote
                                                                              government reported it employed 44 labor inspectors who focused
in close collaboration with the International Labor Organization and
                                                                              on human trafficking for the entire country—a decrease from the 94
other non-governmental actors. The NAPFL included actions for the
                                                                              inspectors employed in the previous reporting period; the government
government, employers, workers, and civil society to collaborate to
                                                                              assigned 30 of these inspectors to peninsular Malaysia, seven to
improve migration management, protect victims, and raise awareness
                                                                              Sarawak, and seven to Sabah where a large number of Malaysia’s palm
about forced labor. The government did not have a central database to
                                                                              oil plantations were located. The lack of adequate resources, including
track or compile nationwide anti-trafficking law enforcement activities,
                                                                              for additional labor inspectors, hindered the government’s efforts to
victim identiﬁcation statistics, or data on trafficking trends; individual
                                                                              adequately identify labor trafficking and enforce the prohibition on
ministries compiled anti-trafficking statistics, which they typically did
                                                                              employer-perpetrated passport retention, which remained widespread.
not share widely with other ministries or with the public.
                                                                              The government conducted 27,836 labor inspections during the reporting
The government broadcasted 1,344 public service announcements on              period, an increase from 24,294 inspections in the previous year. In
television stations and 120,462 on national radio networks, an increase       2021, labor courts resolved 7,515 labor disputes, ordered employers to
from those it broadcasted in the previous reporting period. It also           provide workers back wages amounting to $5 million, and levied ﬁnes
maintained 11 anti-trafficking television programs and increased radio        against employers who violated labor laws in the amount of $1 million;
programs from 10 to 16. The government created 10 anti-trafficking            this compared with 10,465 labor disputes resolved, 18.06 million RM
billboards and continued to distribute 200,000 brochures, raising             ($4.36 million) in back wages ordered to workers, and 499,570 RM
trafficking awareness in multiple languages. Labor officials continued        ($119,660) in ﬁnes levied against employers in 2020.
to provide banners and other signage at the Kuala Lumpur International
                                                                              Malaysian birth registration policies have left more than an estimated
Airport in holding lounges for newly-arrived migrant workers (in a
                                                                              500,000 individuals—including children—stateless and therefore unable
range of languages) to help educate foreign workers about their rights
                                                                              to access some government services, including legal employment and
in Malaysia. The Department of Labor continued to operate a radio
                                                                              public schools, increasing their vulnerability to trafficking. The law
campaign promoting a program under which migrants could report labor
                                                                              did not permit the government to grant stateless persons asylum or
abuses. Similar to the previous reporting period, the government hosted
                                                                              refugee status, which left more than 180,000 refugee-status-seekers
two public sessions for foreign workers in the palm oil industry about
                                                                              and asylum-seekers in Malaysia, including more than 100,000 Rohingya,
their legal rights and for employers on indicators of forced labor. The
                                                                              unable to obtain legal employment, which increased their vulnerability
government continued to operate an anti-trafficking hotline; however,
                                                                              to exploitation. The government did not make efforts to reduce the
it was attached to a general government hotline staffed by operators
                                                                              demand for commercial sex acts.
who were not trained to work on human trafficking cases. The hotline
reportedly received seven calls during the reporting period, which
                                                                              TRAFFICKING PROFILE
resulted in the initiation of seven law enforcement investigations and
                                                                              As reported over the past ﬁve years, human traffickers exploit domestic
the identiﬁcation of ﬁve potential trafficking victims. In May 2021, MOHR
                                                                              and foreign victims in Malaysia, and to a lesser extent, traffickers exploit
announced the implementation of a smartphone app for migrant workers
                                                                              victims from Malaysia abroad. The overwhelming majority of victims
to ﬁle labor complaints, which were referred to labor inspectors who
                                                                              are among the estimated 1.4 million documented and an even greater
were required to inspect an allegation within 10 days of a complaint.
                                                                              number of undocumented migrant workers in Malaysia. Foreign workers
MOHR reported the app received approximately 50 complaints per day,
                                                                              constitute approximately 20 percent of the Malaysian workforce and
most of which were complaints of withheld or late wages, but it did not
                                                                              typically migrate voluntarily—often through irregular channels—from
report if inspectors identiﬁed any of these cases as labor trafficking.
                                                                              Bangladesh, Burma, Cambodia, PRC, India, Indonesia, Laos, Nepal, the
The government continued to enforce its ban of Malaysia-based                 Philippines, Thailand, and Vietnam. More than one-third of all foreign
outsourcing companies, which often used practices that perpetuated            workers are employed in the manufacturing sector, with others employed
debt-based coercion among migrant workers. The government’s Private           in construction, agriculture, and domestic work. Employers, employment
Employment Agency Act (PEAA) required all private recruitment                 agents, and illegal sub-agents exploit some migrants in labor trafficking
agencies to secure a license with the Ministry of Human Resources to          primarily through debt-based coercion when workers are unable to pay
recruit foreign workers, including domestic workers. The PEAA capped          the fees for recruitment and associated travel. Some agents in labor
employee-paid “placement” fees at 25 percent of the ﬁrst month’s              source countries impose onerous fees on workers before they arrive in
basic wages for Malaysian workers employed within or outside of               Malaysia, and Malaysian agents administer additional fees after arrival—
                                                                                                                                Haiti AR_000848              367
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 473 of 729
MALDIVES   in some cases leading to forced labor through debt-based coercion.              offense. The government increased the number of prosecutions and
           Large organized crime syndicates are responsible for some instances             charged a senior government official allegedly complicit in trafficking
           of trafficking. Employers utilize practices indicative of forced labor, such    crimes under the PHTA for the ﬁrst time. However, the government did
           as restrictions on movement, violating contracts, wage fraud, assault,          not meet the minimum standards in several key areas. The government
           threats of deportation, the imposition of signiﬁcant debts, and passport        decreased overall trafficking investigations and did not report any
           retention—which remained widespread—to exploit some migrant                     convictions for the second consecutive year. Victim identiﬁcation and
           workers in labor trafficking on oil palm and agricultural plantations;          protection efforts remained weak, and officials continued to identify
           at construction sites; in the electronics, garment, and rubber-product          only a small number of human trafficking victims. A government
           industries; and in homes as domestic workers. Malaysian law allows              shelter for trafficking victims—completed during the previous reporting
           employers to hold workers’ passports with the workers’ permission,              period—was inoperable, leaving no facility to support survivors. The
           but it is difficult to determine if workers have freely given permission,       government remained without official standard operating procedures
           and some employers retain the passports to prevent workers from                 (SOPs) to refer victims to care and support services, and it did not
           changing jobs. According to a Malaysian government-funded survey                effectively identify indicators of human trafficking among Maldives’
           from June 2018-January 2019 on the prevalence of forced and child               large migrant worker population or consistently screen potential human
           labor in the palm oil sector, eight out of every 1,000 palm oil plantation      trafficking victims for indicators. Similarly, the government did not hold
           workers were in situations of forced labor, with the prevalence rate            employers or recruitment agencies accountable by ﬁling any charges
           considerably higher in Sarawak than in Peninsular Malaysia and Sabah.           despite reports of labor violations.
           Furthermore, a 2018 NGO report documented multiple indicators of
           forced labor associated with the production of palm oil in Malaysia,
           including coercive practices such as threats, violence, lack of clarity                 MALDIVES TIER RANKING BY YEAR
           of employment terms and conditions, dependency on the employer,                     1
           lack of protection by police, debt bondage, high recruitment fees, and              2
           involuntary overtime. Traffickers use large smuggling debts incurred
                                                                                             2WL
           by refugees to subject them to debt-based coercion. PRC nationals
           working for PRC state-affiliated construction projects in Malaysia are              3
                                                                                                     2015      2016     2017       2018   2019    2020     2021     2022
           vulnerable to forced labor.
           Traffickers recruit some young foreign women and girls—mainly from
           Southeast Asia, although also recently from Nigeria—ostensibly for
           legal work in Malaysian restaurants, hotels, and beauty salons, or for          PRIORITIZED RECOMMENDATIONS:
           brokered marriages, but instead compel them into commercial sex.                Signiﬁcantly increase investigations, prosecutions, and convictions
           Refugees, asylum-seekers, and stateless individuals who lack the                for all forms of trafficking, including officials complicit in trafficking-
           ability to obtain legal employment in Malaysia are also vulnerable to           related crimes, while respecting due process. • Increase efforts to
           sex and labor trafficking. Traffickers use false or fraudulent offers of        identify victims and screen migrant workers, particularly undocumented
           assistance to recruit Rohingya asylum-seekers out of refugee camps in           individuals, for human trafficking. • Train officials on the government’s
           Bangladesh and Indonesia to exploit them in Malaysia, including women           victim identiﬁcation SOP and ﬁnalize and formally adopt SOPs for
           and girls coerced to engage in commercial sex. Traffickers also exploit         victim referrals and support services. • Signiﬁcantly increase oversight
           some men and children, including Malaysians, into commercial sex.               of labor recruitment agencies and employers and refer trafficking
           The Malaysian government has reported, since 2020, that children are            indicators, such as non-payment of wages and passport retention, to
           vulnerable to online sexual exploitation, including some instances of           police for criminal investigation. • Increase cooperation with migrant
           child sex trafficking. Traffickers exploit Malaysian orphans and children       source-country governments through memoranda of understanding
           from refugee communities in forced begging. Traffickers increasingly            (MOUs) and other measures to improve labor conditions for migrant
           exploit Malaysian women and children in forced labor. Stateless children        workers. • Increase anti-trafficking training for front-line officials and train
           in Sabah were especially at risk of forced labor in palm oil production,        immigration officials and labor inspectors to identify and refer suspected
           service industries, and in forced begging. Media report young male              trafficking cases to police. • Increase training for law enforcement and
           and female Malaysians pay recruitment fees for promised high-paying             judges on investigation of trafficking crimes and application of the anti-
           jobs, but traffickers transfer them to Cambodia and exploit them and            trafficking law. • Allocate resources for proactive monitoring of resorts
           authorities arrest them for immigration violations. In order to circumvent      and guest homes for labor violations and child exploitation. • Open
           the Indonesian government’s ban on Indonesian migration to 21 countries,        the trafficking victim shelter, establish consistent protection services,
           some Indonesian workers transit Malaysia legally en route to Middle             including psycho-social support, and provide support for foreign victims.
           Eastern countries, where traffickers exploit some in forced labor.              • Increase public awareness of human trafficking—especially among
           Ongoing corruption related to processes for foreign nationals to work           migrant workers—through widespread media campaigns. • Re-establish
           in Malaysia increases the cost of migration and consequently increases          regular anti-trafficking training for diplomats. • Ensure anti-trafficking
           migrant workers’ vulnerability to trafficking through debt-based coercion.      materials are available in appropriate languages for migrant workers
           Corrupt immigration officials facilitate trafficking by accepting bribes        and provide access to adequate interpretation and translation services
           from brokers and smugglers at border crossings, including at airports.          for trafficking victims.
           Some government officials proﬁt from bribes and direct involvement
           in extortion from and exploitation of migrants.                                 PROSECUTION
                                                                                           The government maintained anti-trafficking law enforcement efforts.
                                                                                           During the reporting period, the government enacted amendments
                                                                                           to the Prevention of Human Trafficking Act (PHTA), which aligned the
            MALDIVES: TIER 2                                                               Maldives’ deﬁnition of human trafficking with the 2000 UN TIP Protocol.
                                                                                           As amended, the PHTA criminalized sex trafficking and labor trafficking.
                                                                                           The PHTA prescribed penalties of up to 10 years’ imprisonment for
           The Government of Maldives does not fully meet the minimum standards            trafficking offenses involving an adult victim (“human trafficking”) and
           for the elimination of trafficking but is making signiﬁcant efforts to do so.   up to 15 years’ imprisonment for those involving a child victim (“child
           The government demonstrated overall increasing efforts compared with            trafficking”). These penalties were sufficiently stringent and, with respect
           the previous reporting period, considering the impact of the COVID-19           to sex trafficking, commensurate with those prescribed for other serious
           pandemic on its anti-trafficking capacity; therefore Maldives remained          crimes, such as rape. The PHTA amendment added a clause allowing
           on Tier 2. These efforts included amending the Prevention of Human              the government to seize assets used in trafficking or gained through
           Trafficking Act (PHTA) to criminalize all forms of sex and labor trafficking    the proﬁts of trafficking and deﬁned the parameters under which courts
           and remove a transportation requirement to constitute a trafficking             can rule regarding human trafficking victim compensation.

 368                                                                                                                                        Haiti AR_000849
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 474 of 729




                                                                                                                                                               MALDIVES
The government investigated one trafficking case, compared with                trafficking trainings or capacity-building programs for judges or other
two trafficking cases investigated in the previous reporting period.           judiciary ﬁgures during the reporting period. MPS, in partnership with
The government prosecuted three alleged traffickers for forced labor,          an international organization, maintained a trafficking case management
compared with no prosecutions initiated during the previous reporting          system that allowed potential victims to submit cases to the police
period. It continued to prosecute trafficking cases initiated in prior         online; however, it was only available in English, which limited its utility,
reporting periods involving ﬁve alleged suspects, including three for          and no cases have been received through the system. Authorities
sex trafficking and two for unspeciﬁed exploitation. For the second            recognized the lack of cooperation with source-country governments as
consecutive year, the government did not convict any traffickers during        an obstacle to investigating cases with foreign victims or perpetrators.
the reporting period. The government continued to reallocate a signiﬁcant      The government did not report cooperating with foreign officials on
amount of ﬁnancial and personnel resources away from nearly all                anti-trafficking activities. The absence of dedicated foreign language
aspects of its law enforcement operations to focus on the pandemic,            interpreters for victims and witnesses among law enforcement and
affecting the ability of law enforcement to report and investigate             social service providers continued to hamper law enforcement and
cases and delaying the prosecution of all criminal cases. Maldives             victim protection efforts.
Police Service (MPS) and the Anti-Corruption Commission (ACC)
continued to investigate 27 recruitment agencies from the previous             PROTECTION
reporting period on criminal and civil violations and suspended the            The government made insufficient protection efforts. Officials identiﬁed
licenses of all 27 agencies. Although the investigations—which began in        three trafficking victims, compared with two during the previous
2019—remained ongoing, MPS forwarded four cases to the Prosecutor              reporting period. All three victims were women from Thailand exploited
General’s Office (PGO) in January 2022 seeking charges against several         in sex trafficking. The three victims received repatriation assistance to
current and former Maldives Immigration (MI) officials and officials from      Thailand, per their request. The government had a formal SOP for victim
several labor recruitment agencies for alleged collusion in manipulating       identiﬁcation but lacked an SOP for referring identiﬁed victims to care.
the foreign worker recruitment quota system to facilitate fraudulent           The government continued to utilize victim identiﬁcation guidelines
recruitment practices and potential trafficking. MPS sought charges            passed in 2016, which provided basic instructions for identifying potential
of abuse of authority against the MI officials. The Ministry of Gender,        victims and referring victims for care. The government continued to revise
Family, and Social Services (MOGFSS) did not report any cases of child         its draft victim assistance and shelter service regulation to establish
sex trafficking during the reporting period. MPS did not report any            SOPs on shelter operations and provision of victim services; these SOPs
investigations of “child commercial sexual exploitation,” compared to          remained under technical review at the end of the reporting period.
investigating 291 incidents of child commercial sexual exploitation in the     NGOs reported the lack of cohesive victim identiﬁcation and referral
previous reporting period, including referring 115 cases for prosecution.      SOPs describing speciﬁc roles for agencies may have resulted in a lack
Although the courts reopened in April 2021, they alternated between            of referrals and the possibility that victims were not identiﬁed. While all
in-person sessions and virtual hearings due to the ongoing pandemic.           agencies could screen for trafficking, only the Anti-Human Trafficking
To adapt to pandemic-related restrictions, MPS continued to use special        Department could officially declare an individual a trafficking victim.
investigative guidelines that included virtual meetings with witnesses         Although MPS had disseminated the victim identiﬁcation SOP from 2016
and an online portal for MPS to submit cases electronically to the PGO.        to its officers in the past, government agencies did not uniformly employ
                                                                               them. MPS and MI conducted regular joint inspections at guesthouses
The government took steps to investigate select reports of trafficking-
                                                                               and spas in Malé and reported screening vulnerable groups such as
related corruption, though corruption and official complicity in trafficking
                                                                               female migrant workers suspected to be involved in commercial sex.
crimes remained signiﬁcant concerns. The government did not report
                                                                               However, in May and June 2021, MPS and MI reportedly placed more than
any convictions of government employees complicit in human trafficking
                                                                               300 undocumented migrant workers experiencing homelessness in a
crimes. In August 2021, PGO ﬁled human trafficking charges under the
                                                                               temporary facility in Hulhumalé prior to deportation without conducting
PHTA against a ruling Parliamentarian for the ﬁrst time, who was the
                                                                               any screening for trafficking. MPS and social service providers did not
managing director of a construction company contracted to develop
                                                                               have a clear understanding of the differences between sex trafficking
a resort, alleging non-payment of salaries and intimidation, as well as
                                                                               and sexual abuse, especially in cases of children; this made the true
exploitation of two labor trafficking victims among 200 migrant workers
                                                                               number of sex trafficking victims unknown.
at a resort construction site who protested over these conditions,
common indicators of forced labor. In addition, Sri Lankan police              Although the government completed construction of a shelter for
arrested a former senior Maldivian government official in July 2021            trafficking victims in February 2021, the facility was unable to house
for alleged involvement in a child sex trafficking ring in Sri Lanka; the      trafficking victims during the reporting period following structural
government did not report an investigation of the case. In January 2022,       damage from rain; the government was still identifying a more viable
MPS arrested a police officer involved in a potential trafficking case.        location for a permanent shelter at the end of the reporting period. The
Civil society alleged labor inspectors accepted bribes to not report           Anti-Trafficking in Persons Office (ATO) provided temporary shelter in
labor violations. Private employers held foreign employees’ passports.         guesthouses to three victims, in addition to food and medical care. Article
Observers assessed that some traffickers operated with impunity due            32 of the PHTA provided a 90-day reﬂection period during which victims
to connections with inﬂuential Maldivians. Observers reported some             could receive services while deciding whether to assist authorities in a
officials warned businesses in advance of planned raids to investigate         criminal case. PGO provided victim support to trafficking victims if their
labor violations.                                                              cases went to prosecution. The judiciary could provide protections for
                                                                               child trafficking victims who participated in trials against their alleged
The MPS Anti-Human Trafficking Department conducted trainings
                                                                               traffickers. Although the amended PHTA allowed the state to seize assets
on human trafficking for MPS South, South Central, and Upper South
                                                                               used in trafficking or gained through the proﬁts of trafficking, there
Police Division staff, although travel restrictions due to the pandemic
                                                                               were no reports of victims ﬁling suits against traffickers for damages.
prevented trainings from occurring outside Malé. MI continued to
implement a mandatory trafficking training for new recruits. Despite           MED continued its re-registration and regularization program initiated
these trainings, officials continued to conﬂate human trafficking with         in September 2019, which aimed to provide temporary documentation
migrant smuggling. Government officials previously acknowledged the            and legalize undocumented foreign migrant workers and repatriate
need for increased training on identifying and investigating trafficking       both documented and undocumented workers wishing to return to
cases, especially among Ministry of Economic Development (MED),                their home country. MED reported the program slowed due to the
MPS, and Labor Relations Authority (LRA) personnel. Some officials             pandemic and the government eventually suspended its activities
reportedly stated that because trafficking in Maldives involved primarily      in December 2021, although MED restarted the program in February
Bangladeshi migrant workers, it had therefore diminished following the         2022. MED registered approximately 1,700 migrant workers as part of
return home of the majority of these workers due to the pandemic.              this initiative since March 2021; however, the government did not report
Civil society reported law enforcement and judges’ lack of awareness           whether it screened any of these workers for human trafficking indicators.
and training on the PHTA likely contributed to the dearth of successful        Separately, MI reported screening 1,577 migrant workers for trafficking
prosecutions. The government did not report conducting human                   indicators during operations with police from March to September
                                                                                                                                 Haiti AR_000850               369
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 475 of 729
MALDIVES   2021, including undocumented migrant workers who applied for the              new work permit. The government proposed an MOU with Bangladesh
           government’s voluntary repatriation program and workers who lodged            regarding Bangladeshi migrant workers in Maldives; however, for the
           complaints with MI—mostly concerning non-payment of salaries, withheld        fourth consecutive year, the draft remained pending. The government
           passports, or inadequate housing—against their employers. However,            reported no new action to prevent forced labor in supply chains.
           no victims were identiﬁed through these screening measures during
                                                                                         LRA had the authority to inspect all worksites, including private homes,
           the reporting period. Observers reported the government’s screening
                                                                                         and it carried out 124 inspections in 2021, compared with approximately
           processes may be inadequate given the limited number of trafficking
                                                                                         70 inspections in 2020 and 200 in 2019. LRA identiﬁed 23 potential
           victims identiﬁed in recent years, despite the signiﬁcant proportion of
                                                                                         cases of child labor, including 14 child labor violations, although it did
           undocumented workers among the large migrant laborer population
                                                                                         not report any cases of forced child labor or child commercial sexual
           in the country. NGOs reported concerns that the government was able
                                                                                         exploitation during the reporting period. LRA lacked the resources,
           to identify only two potential victims among 200 expatriate workers at
                                                                                         staff, and training necessary to fulﬁll its mandate, and anti-trafficking
           a resort during the previous reporting period.
                                                                                         training remained inconsistent. It did not report providing any anti-
           There were reports the government penalized potential labor and sex           trafficking training for inspectors during the reporting period. LRA
           trafficking victims. In the case involving a resort construction site, MPS    generally received numerous complaints of non-payment of wages
           arrested 19 potential trafficking victims who participated in a protest in    and mediated such claims with the employer or issued ﬁnes against
           2020 with approximately 200 foreign migrant workers; although the             the employer if mediation failed or the employer committed repeated
           government identiﬁed two labor trafficking victims among the workers,         violations. Neither LRA nor the tribunal referred labor violations to police
           officials charged 13 workers with various crimes related to property          for criminal investigation. Observers reported tribunal delays resulted
           damage but later revoked charges against two workers. The court found         in some labor trafficking victims being pressured to settle out of court
           the 11 migrant workers guilty and issued sentences of various lengths.        rather than pursuing charges before a tribunal. LRA could request to
           The government repatriated most of the approximately 200 migrant              MED that it blacklist foreign recruitment agencies and employers with
           workers and initiated proceedings to deport the 11 recently-convicted         repeated or serious labor violations. MED did not always implement
           migrant workers. MPS reported they screened the 200 workers for signs         LRA’s recommendations, and despite repeated recommendations from
           of trafficking and identiﬁed only two victims. While the government           LRA to blacklist certain agencies and employers, those agencies and
           screened for physical conﬁnement before arresting foreign national            employers continued to operate. MI also inspected establishments that
           women in commercial sex, it did not adequately screen for fraud or            employed migrant workers. LRA continued to use an online portal for
           coercion. Foreign national trafficking victims could receive a special visa   island councils to report the number of individuals, including migrant
           allowing them to remain in Maldives and work during the investigation         workers, on each island, however implementation was inconsistent
           and prosecution. However, the PHTA permitted the deportation of               as some councils did not push businesses to register their employees
           trafficking victims who entered Maldives without authorization.               with the portal.
                                                                                         Civil society reported a continued lack of signiﬁcant efforts to raise
           PREVENTION                                                                    awareness of trafficking among the most vulnerable groups. In July
           The government maintained anti-trafficking prevention efforts. The
                                                                                         2021, the government launched a month-long social media awareness
           National Anti-Human Trafficking Steering Committee (NAHTSC),
                                                                                         campaign. The government issued campaign material targeting
           composed of senior government officials and overseen by the ATO,
                                                                                         Maldivians and migrant workers through social media platforms in Bangla,
           remained the lead interagency committee responsible for coordinating
                                                                                         Hindi, Sinhala, English, and Dhivehi. The ATO ensured Maldivians were
           the government’s efforts to combat human trafficking and held several
                                                                                         included in awareness campaign posters to prevent the stigmatization of
           virtual meetings during the reporting period. The NAHTSC continued to
                                                                                         foreign migrant workers and reduce racialized perceptions of trafficking
           focus on ﬁve key areas of the Anti-Human Trafficking National Action
                                                                                         victims. The government did not make efforts to reduce the demand for
           Plan (NAP), adopted in March 2020, to adapt to reduced resources due to
                                                                                         commercial sex acts or for child sex tourism. While anecdotal reports
           the pandemic. The Ministry of Defense continued to allocate a dedicated
                                                                                         suggest that there have been cases of children being exploited for
           office space for the ATO staffed by the director of anti-trafficking and
                                                                                         commercial sex acts or child sex tourism, there were no conﬁrmed
           a consultant for policy and outreach. The 2022 State Budget allocated
                                                                                         cases during the reporting period. The government previously reported
           1 million Maldivian ruﬁyaa (MVR) ($64,850), a decrease from the 1.99
                                                                                         increased concerns that traffickers could use resorts and guesthouses
           million MVR ($129,050) in the 2021 budget, to fund the work of the ATO
                                                                                         to facilitate child sex tourism, in part because no government agency
           and the implementation of the NAP. A baseline study to collect data
                                                                                         had the authority or resources to monitor these establishments for such
           throughout the country’s atolls to inform anti-trafficking priorities for
                                                                                         crimes. The dedicated TIP hotline operated by the government remained
           2021 remained postponed due to pandemic-related travel restrictions.
                                                                                         suspended during the reporting period due to a lack of dedicated staff.
           The sixth amendment to the Employment Act, ratiﬁed during the                 The MPS Anti-Human Trafficking Department operated a 24-hour
           previous reporting period, continued to regulate the presence of foreign      helpline, although the hotline did not identify any victims. Civil society
           workers. The act limited the number of foreign workers that can enter         reported that the lack of Bengali-speaking hotline operators could have
           Maldives from any single country to 100,000 and included provisions           been a barrier to the large number of suspected Bangladeshi trafficking
           for prioritizing Maldivians for employment. In addition to limiting the       victims. The government did not report any anti-trafficking training for
           number of migrant workers coming from any one country, the quota              diplomats during the reporting period.
           was intended to help the government better track the number of current
           migrant workers and reduce opportunities to manipulate the recruitment        TRAFFICKING PROFILE
           system. The policy outlined procedures for worker recruitment and             As reported over the past ﬁve years, human traffickers exploit domestic
           employers providing accommodation for workers, among other policies           and foreign victims in Maldives. There have been no recent reports of
           related to recruitment. MED continued to issue employment agency              traffickers exploiting victims from Maldives abroad. Foreign migrants,
           permits according to the Employment Agency Regulations issued in              especially from Bangladesh, India, and Sri Lanka, continued to experience
           2016. The regulations included expatriate workers regulations, allowed        particular risk of labor and sex trafficking during the reporting period.
           blacklisting of agencies in violation of the Employment Act, prohibited       Foreign migrant workers comprise approximately one-third of the
           the withholding of foreign worker passports subject to a penalty of           population of Maldives, including at least 60,000 undocumented workers.
           5,000 MVR ($324), and prohibited work outside the scope of the                Traffickers subject an unknown number of foreign workers—primarily
           approved work permit. In addition, the regulations prohibited charging        Bangladeshi and Indian men in the construction and service sectors—to
           workers recruitment fees subject to a penalty of 5,000 MVR ($324)             practices indicative of forced labor, including fraudulent recruitment,
           and suspension of the agency’s license to operate in Maldives. During         conﬁscation of identity and travel documents, withholding or non-
           the reporting period, MED fully automated the work permit process to          payment of wages, and debt-based coercion. Despite prohibitions on
           reduce the risk of recruitment agencies submitting fraudulent documents.      worker-paid recruitment fees, migrant workers may pay approximately
           MED also maintained a process for foreign migrant workers to change           $2,500 to $4,000 in recruitment fees to work in Maldives, contributing
           employers by submitting an online employer change request to obtain a         to their risk of debt-based coercion upon arrival. In recent years, officials

 370                                                                                                                                   Haiti AR_000851
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 476 of 729




                                                                                                                                                               MALI
reported an increasing number of Bangladeshi workers fraudulently               complicity in trafficking crimes, including hereditary slavery and the
obtained 12-month work visas while only possessing the requirements             forced recruitment or use of child soldiers. The transition government
for three-month visas. In addition to Bangladeshis and Indians, some            continued providing support to and collaborating with the Imghad
workers from Sri Lanka, Pakistan, and Nepal reportedly experience               Tuareg and Allies Self-Defense Group (GATIA), a pro-government militia,
recruitment fraud before arriving in Maldives. Recruitment agents in            despite allegations that GATIA has forcibly recruited and used children.
source countries collude with employers and agents in Maldives to               Law enforcement continued to lack resources and understanding of
facilitate fraudulent recruitment and forced labor of migrant workers.          human trafficking, which impeded law enforcement efforts. Shelter and
The government reported that withholding passports and non-payment              services for victims, especially male victims, remained insufficient and
or under-payment of wages to migrant workers remained the most                  was primarily restricted to Bamako. Because the transition government
common trafficking indicators in Maldives. Civil society reported labor         has devoted sufficient resources to a written plan that, if implemented,
traffickers target Bangladeshi children who enter the country on work           would constitute signiﬁcant efforts to meet the minimum standards, Mali
visas and falsiﬁed passports. Police reported an increase in Bangladeshi        was granted a waiver per the Trafficking Victims Protection Act from
nationals living in Maldives who pose as labor agents and fraudulently          an otherwise required downgrade to Tier 3. Therefore Mali remained
recruit migrant workers from Bangladesh, facilitate their travel to
                                                                                on Tier 2 Watch List for the third consecutive year.
Maldives, and abandon them upon arrival without documentation,
rendering them vulnerable to traffickers. South Asian women may be
victims of forced labor in domestic service in Maldives. Traffickers may                MALI TIER RANKING BY YEAR
have targeted migrant workers on ﬁshing and cargo boats in Maldivian                1
waters for forced labor. Traffickers use Maldivian children in forced               2
criminality, including the transportation of drugs for criminal gangs. In
                                                                                  2WL
December 2021, Cuba’s Ministry of Public Health announced the two
countries signed a medical collaboration agreement and a brigade of                 3
Cuban doctors would depart for Maldives. The Department of State                           2015     2016      2017   2018   2019    2020     2021    2022
has previously identiﬁed indicators of forced labor in Cuba’s medical
missions overseas.
Sex traffickers exploit women and girls from Maldives and other South
                                                                                PRIORITIZED RECOMMENDATIONS:
Asian countries and—to a lesser extent—women from Africa, Asia, and
                                                                                Vigorously investigate and prosecute trafficking crimes, and sentence
Eastern Europe in Maldives. Some impoverished parents act as traffickers,
                                                                                convicted traffickers, including slaveholders and complicit officials, and
allowing sex traffickers to exploit their children in exchange for ﬁnancial
                                                                                those who recruit and use children, to signiﬁcant prison terms. • Cease
assistance. Some traffickers bring women from South Asia into Maldives
                                                                                prosecuting hereditary slavery as a misdemeanor crime and amend
under the guise of tourism or under the pretext of employment as
                                                                                the 2012 anti-trafficking law to effectively investigate and prosecute
massage therapists and then force them into commercial sex. Speciﬁcally,
                                                                                trafficking crimes involving hereditary slavery. • Increase efforts to
police reported an increase in traffickers bringing Bangladeshi women
                                                                                identify victims of hereditary slavery and refer them to protective services
into Maldives on tourist visas and exploiting them in commercial sex.
                                                                                in collaboration with civil society. • Implement the NRM and train criminal
Some employers transport Maldivian children to the capital from other
                                                                                justice officials and social service providers on the procedures. • As part
islands for domestic work, where employers sexually abuse some, and
                                                                                of the peace process, continue engaging signatory armed groups to
others are vulnerable to labor traffickers. Traffickers have exploited
                                                                                prevent recruitment and use of children and cease support to armed
Maldivian children in child sex tourism.
                                                                                groups that unlawfully recruit and use children. • Expand and strengthen
                                                                                reintegration programs for former child soldiers that address speciﬁc
                                                                                needs of child ex-combatants, including psycho-social care, family
                                                                                reintegration, education, and vocational training, and automatically refer
 MALI: TIER 2 WATCH LIST                                                        all children associated with armed groups to care. • Screen vulnerable
                                                                                populations, including children associated with armed groups, individuals
The transition government of Mali does not fully meet the minimum               in commercial sex, and communities historically exploited in hereditary
standards for the elimination of trafficking but is making signiﬁcant efforts   slavery, for trafficking indicators and refer them to appropriate services.
to do so. These efforts included adopting a national referral mechanism         • Cease targeting non-traffickers through spurious trafficking charges
(NRM) with standard procedures to identify and refer trafficking victims        and the detention and harassment of anti-slavery activists. • Allocate
to care; increasing efforts to prevent signatory armed groups from              dedicated budgets, resources, and personnel to the anti-trafficking
recruiting and using children, including potential trafficking victims; and     committee and strengthen its authority to coordinate the government’s
allocating more funding for anti-trafficking efforts. It partnered with         anti-trafficking response. • Train law enforcement on effective, victim-
an international organization to identify children recruited and used by        centered investigation techniques and trauma-sensitive approaches
armed groups, including potential trafficking victims, and referred most        when interviewing victims. • Regularly train judges and prosecutors on
of those children to international organizations for care. However, the         the 2012 anti-trafficking law. • Provide ﬁnancial and in-kind support to
transition government did not demonstrate overall increasing efforts            NGOs that identify and assist trafficking victims. • Adopt a new national
compared with the previous reporting period, even considering the               action plan and allocate resources to its implementation.
impact of the COVID-19 pandemic, if any, on its anti-trafficking capacity.
Substantial personnel turnover related to the May 2021 consolidation of         PROSECUTION
                                                                                The transition government maintained insufficient law enforcement
military power that resulted in the upheaval of the previous transition
                                                                                efforts. Law 2012-023 Relating to the Combat against Trafficking in
government hindered Mali’s ability to maintain consistent anti-trafficking
                                                                                Persons and Similar Practices, as amended, criminalized sex trafficking
efforts and accurately report on those efforts for this reporting period.
                                                                                and labor trafficking. The law prescribed penalties of ﬁve to 10 years’
For the third consecutive year, the government did not take steps to
                                                                                imprisonment for trafficking crimes, except forced begging for which
amend the anti-trafficking law to explicitly deﬁne hereditary slavery as a
                                                                                it prescribed lesser penalties of two to ﬁve years’ imprisonment and
form of human trafficking. The transition government reported minimal
                                                                                a ﬁne of 500,000 to 2 million West African CFA francs (FCFA) ($860-
law enforcement action to address hereditary slavery, and observers
                                                                                $3,440). These penalties were sufficiently stringent and, with respect
reported officials continued prosecuting hereditary slavery cases as
                                                                                to sex trafficking, commensurate with those for other serious crimes,
misdemeanor crimes. Its efforts to identify or protect hereditary slavery       such as rape. Transition government officials and NGOs reported that
victims, including from acts of violence and retribution, were severely         the law did not precisely deﬁne hereditary slavery and therefore could
inadequate, and officials reportedly detained anti-slavery activists.           not be effectively implemented to prosecute trafficking cases involving
Despite widespread allegations of complicity, the transition government         hereditary slavery. Draft legislation that would revise the anti-trafficking
did not investigate any law enforcement or government officials for             law to explicitly deﬁne hereditary slavery as a form of human trafficking
                                                                                                                                   Haiti AR_000852             371
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 477 of 729
MALI   remained pending before the Ministry of Justice (MOJ) for the third             security agents, corrupt law enforcement agents returning victims to
       consecutive year.                                                               their traffickers or alerting traffickers to law enforcement presence, and
                                                                                       law enforcement agents coercing victims to pay bribes to avoid ﬁnes
       The transition government continued to lack a centralized data collection
                                                                                       or obtain fraudulent identity documents. According to NGO reports,
       mechanism and did not systematically report law enforcement actions,
                                                                                       the Mali Basketball Federation attempted to cover up allegations the
       making comprehensive statistics difficult to obtain. The transition
                                                                                       head coach of the national girls basketball team, comprised of children,
       government reported initiating at least 29 case investigations and
                                                                                       sexually abused at least three players, which at times included sex
       continuing 50 case investigations, compared with investigating
                                                                                       trafficking—soliciting sex in exchange for playing time, money, and
       59 cases, including at least 17 new case investigations, during the
                                                                                       equipment and threatening imprisonment if the girls reported the
       previous reporting period. The transition government prosecuted at
                                                                                       abuse; authorities arrested and indicted him for sexual abuse in July
       least 41 alleged traffickers, compared with 78 during the previous
                                                                                       2021. International observers reported signatory armed groups receiving
       reporting period, which included 22 alleged traffickers and 56 alleged
                                                                                       government support—such as GATIA, a pro-government militia and
       slaveholders. During the reporting period, courts convicted 14 traffickers
                                                                                       subsidiary of armed group Platform, a signatory to the 2015 Algiers
       under the 2012 anti-trafficking law and sentenced each to at least two
                                                                                       Accord—continued recruiting and using child soldiers.
       years’ imprisonment; six of the traffickers, all Nigerian nationals, were
       convicted in absentia. The transition government did not report issuing
       extradition requests during the reporting period. This compared with
                                                                                       PROTECTION
                                                                                       The transition government maintained insufficient efforts to identify
       convictions of nine traffickers under the 2012 anti-trafficking law and 31
                                                                                       and protect all trafficking victims. The transition government identiﬁed
       slaveholders of misdemeanors under penal code provisions during the
                                                                                       130 trafficking victims, including 55 sex trafficking victims, 33 labor
       previous reporting period. The transition government did not report the
                                                                                       trafficking victims, 26 children recruited and used by armed groups, and
       number of slaveholders prosecuted and convicted during the reporting
                                                                                       16 victims where the form of trafficking was unknown, compared with
       period. However, observers reported officials continued prosecuting
                                                                                       73 trafficking victims identiﬁed during the previous reporting period. As
       most hereditary slavery cases as misdemeanors under discrimination,
                                                                                       in past years, the transition government did not report identifying any
       destruction of crops, or burglary statutes, which prescribed signiﬁcantly
                                                                                       victims of hereditary slavery during the reporting period. The transition
       lower penalties than those available under the anti-trafficking law; as a
                                                                                       government referred the majority of identiﬁed victims to NGOs for care.
       result, the majority of slaveholders received a fully suspended prison
                                                                                       Additionally, the transition government and an international organization
       sentence and a ﬁne, which did not serve to deter or adequately reﬂect
                                                                                       identiﬁed at least 153 children associated with armed groups, compared
       the nature of the crime. The transition government reported minimal
                                                                                       to at least 230 children in 2020; authorities separated and referred 110
       law enforcement action to address hereditary slavery. However, in
                                                                                       of the children for care, while 43 children remained unaccounted for.
       November 2021, the Minister of Justice issued a letter urging prosecutors
       to initiate criminal proceedings against all persons involved in hereditary     The transition government, in coordination with an international
       slavery using penal code provisions; the Minister also ordered an               organization and foreign donor, adopted and validated an NRM with
       assessment of the Kayes judiciary’s actions on hereditary slavery cases         standard operating procedures to identify and refer victims to care in
       and strengthening measures to combat slavery. In February 2022,                 September 2021. The transition government did not begin implementing
       authorities arrested 34 suspects accused of torturing individuals who           the NRM during the reporting period, but it worked closely with the Fodé
       refused to submit to slavery in the Kayes region; 27 suspects remained          and Yeguine Network for Action (RAFY), a national network composed of
       in detention during the investigation. In addition, authorities arrested 50     NGOs, international organizations, and transition government ministries,
       suspected slaveholders and sympathizers in November 2021 following a            including the Ministry for the Advancement of Women, Children, and
       series of attacks on anti-slavery activists. Both cases remained pending        the Family (MFFE), to refer identiﬁed trafficking victims to service
       before an investigative judge at the end of the reporting period.               providers. Officials reported the network did not adequately function
                                                                                       due to poor coordination between members. RAFY and other NGOs
       The Brigade de Moeurs (a brigade charged with investigating
                                                                                       assisted 104 identiﬁed trafficking victims by providing shelter, referring
       crimes related to morality) was the primary law enforcement agency
                                                                                       victims to NGOs for services, or assisting with repatriations; the transition
       investigating sex trafficking and cases involving children, and the
                                                                                       government provided 157 million FCFA ($269,830) in in-kind and ﬁnancial
       Specialized Judiciary Brigade and Specialized Investigative Brigade
                                                                                       support for their operations. An international organization assisted
       investigated and prosecuted transnational trafficking. The Migrant
                                                                                       an additional 187 trafficking victims, including 160 women, two men,
       Smuggling and Trafficking Brigade, created in October 2019 with the
                                                                                       18 girls, and seven boys; the majority of victims were Nigerian (170),
       assistance of a foreign donor, investigated illicit migration and migrant
                                                                                       followed by nine Cameroonians, six Nigeriens, and two Guineans. The
       smuggling, including potential trafficking cases. These units were not
                                                                                       transition government relied on NGOs to provide the majority of services,
       dedicated solely to human trafficking, lacked adequate resources and
                                                                                       funded by private and international donors. NGOs operated 10 transit
       training, and could not access portions of the country due to insecurity.
                                                                                       centers for adult and child victims of crime, including one specialized
       International organizations, with some transition government support,
                                                                                       shelter for female adult trafficking victims in Bamako. Services varied
       trained judges, prosecutors, law enforcement, and other transition
                                                                                       by location but generally included short-term shelter, food, counseling,
       government stakeholders on investigating and prosecuting human
                                                                                       transportation, repatriation, and reintegration assistance. MFFE’s general
       trafficking and migrant smuggling cases. Despite these efforts, continued
                                                                                       care facilities also assisted some trafficking victims. Shelters and services
       lack of awareness of the 2012 anti-trafficking law and frequent turnover
                                                                                       for victims outside the capital remained limited, especially in the north.
       and transfers of officials stymied law enforcement action. Additionally,
                                                                                       Foreign and domestic victims received the same services, and services
       law enforcement’s system-wide lack of training, funding, and resources,
                                                                                       were not contingent upon cooperation with law enforcement. While
       including vehicles and equipment to investigate crimes, impeded anti-
                                                                                       some facilities offered specialized services for female victims, there
       trafficking efforts. The transition government had limited or no judicial
                                                                                       were no such services for male victims. The transition government
       presence outside of Bamako and some regional capitals in Mali, primarily
                                                                                       continued collaborating with international organizations to repatriate
       in the north and center of the country, due to continuing security
                                                                                       Malians exploited abroad and foreign victims exploited in Mali. An
       challenges. Insufficient funding and judicial staffing levels limited regular
                                                                                       international organization assessed victim services remained inadequate.
       sessions of the Court of Assizes—which heard all serious criminal felony
                                                                                       An international organization opened a transit center for migrants in the
       cases, including trafficking—and caused signiﬁcant judicial delays.
                                                                                       capital, providing voluntary return and reintegration services for both
       Insecurity and instability limited court sessions outside of Bamako and
                                                                                       men and women. A local NGO screened and provided services to child
       some regional capitals and further exacerbated judicial delays.
                                                                                       victims of hereditary slavery; two others provided assistance such as
       The transition government did not report any investigations, prosecutions,      legal and psychosocial support to victims of hereditary slavery. In 2021,
       or convictions of transition government officials complicit in human            there were at least eight attacks on slavery victims and anti-slavery
       trafficking crimes, including hereditary slavery, or unlawful child             activists in the Kayes region, killing one and injuring 77.
       soldiering; however, corruption and official complicity in trafficking
                                                                                       The transition government did not offer legal alternatives to removal to
       crimes remained signiﬁcant concerns, inhibiting law enforcement action.
                                                                                       countries in which victims would face retribution or hardship; however,
       Reports of complicity allegations included traffickers paying bribes to
372                                                                                                                                  Haiti AR_000853
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 478 of 729




                                                                                                                                                                MALI
most identiﬁed victims were ECOWAS nationals who did not require                two factions to operationalize the plans. In September 2021, the Ministry
special status to remain in Mali. Officials reported law enforcement lacked     of Foreign Affairs completed a draft child soldiers prevention plan with
facilities to conduct interviews that allowed for separation between            international actors and referred it to the Office of the Prime Minister
victims and alleged perpetrators; however, victims could provide written        for review; the draft plan included measures to sensitize transition
testimony to law enforcement. Sources reported authorities pressured            government officials and signatory armed group members on child
victims to provide rushed statements for fear that victims would be             soldier issues and increase coordination when cases are identiﬁed.
unavailable or unwilling to provide future statements once they entered
                                                                                The transition government did not make efforts to address fraudulent
NGO and international organization shelters. Victims could ﬁle civil
                                                                                recruitment of Malians abroad. Labor inspectors lacked sufficient
suits against their traffickers; however, no victims reportedly used this
                                                                                capacity or resources to regulate the informal sector, where most
provision, and many victims were unaware of the option. There were
                                                                                cases of forced labor occurred. The transition government did not
no reports the transition government detained or otherwise penalized
                                                                                report efforts to implement provisions prohibiting child labor and child
trafficking victims for unlawful acts traffickers compelled them to commit;
                                                                                trafficking in gold mines and quarries under its 2019 mining law. The
however, due to a lack of formal identiﬁcation procedures, authorities may
                                                                                transition government did not make efforts to reduce the demand for
have detained some unidentiﬁed trafficking victims. Officials reportedly
                                                                                commercial sex acts. The transition government did not systematically
imprisoned four anti-slavery activists in the Kayes region, including the
                                                                                train its diplomatic personnel on human trafficking, but the CNCTLPA
founder of an anti-slavery organization; the transition government did
                                                                                reported it provided one diplomatic training for some diplomats in
not report whether the activists remained detained at the end of the
                                                                                coordination with an international organization during the report period.
reporting period. Authorities had previously arrested and imprisoned
                                                                                The transition government did not provide anti-trafficking training to its
activists on spurious child trafficking charges; authorities had released
                                                                                troops prior to their deployment as peacekeepers. The police operated
all 13 activists by the end of the reporting period, while the charges
                                                                                a hotline for crimes against women and children, although it did not
against them still stood, and the case remained under investigation.
                                                                                report receiving any trafficking calls.
Authorities continued following the government’s 2013 inter-ministerial
protocol requiring them to direct former child soldiers to rehabilitation       TRAFFICKING PROFILE
centers, and observers reported officials had a better understanding of         As reported over the past ﬁve years, human traffickers exploit domestic
the protocol. The handover protocol required authorities to immediately         and foreign victims in Mali, and traffickers exploit victims from Mali
transfer children identiﬁed within Bamako; outside of the capital,              abroad. Internal trafficking is more prevalent than transnational
authorities must notify child protection actors within 24 hours and             trafficking. Some families sell their children into domestic servitude
transfer the children within 48 hours. However, observers reported              or forced labor in gold mines. Labor traffickers exploit boys from Mali,
authorities continued to inappropriately detain some children for alleged       Guinea, and Burkina Faso in agriculture—especially rice, cotton, dry
affiliation with signatory and non-signatory armed groups. Of the 15            cereal, and corn cultivation—artisanal gold mines, domestic work,
children detained during the previous reporting period, the transition          transportation, begging, and the informal commercial sector. Corrupt
government determined six were younger than the age of 18; authorities          Quranic teachers exploit boys from Mali and neighboring countries,
released three of the children to child protection actors and continued         including Burkina Faso, Cote d’Ivoire, and Senegal, in forced begging
detaining the remaining three. An international organization reported           or other forms of forced labor, and corrupt Quranic teachers exploit
concerns the transition government held some children, including                Malian boys in forced begging in neighboring countries. Slaveholders
potential trafficking victims, with adults in central prison, which increased   subject some members of Mali’s Black Tuareg community to slavery
their vulnerability to further exploitation.                                    practices rooted in traditional relationships of hereditary servitude. An
                                                                                NGO noted hereditary slavery practices in Mali differ from surrounding
PREVENTION                                                                      countries, as communities—rather than individuals or families—exploit
The transition government increased efforts to prevent trafficking.             victims of slavery. An international organization report estimates there
The transition government continued implementing the 2018-2022                  are 300,000 victims of hereditary slavery in Mali. Traffickers exploit men
National Plan of Action (PAN) to combat trafficking in persons and              and boys, primarily of Songhai ethnicity, in a long-standing practice of
regularly convened its national anti-trafficking committee (CNCTLPA),           debt bondage in the salt mines of Taoudeni in northern Mali. Traffickers
chaired by the MOJ. However, the lack of coordination and ownership for         exploit Malian children in forced labor on cotton and cocoa farms in Cote
activities in the PAN among committee members continued to impede               d’Ivoire. Traffickers exploit Malian women and girls in sex trafficking
its effectiveness. The transition government lacked dedicated staff to          in Gabon, Libya, Lebanon, and Tunisia and in domestic servitude in
work on trafficking, including the role of chairman of the anti-trafficking     Lebanon, Saudi Arabia, and Tunisia. Traffickers recruit women and girls
committee, which severely impeded the transition government’s efforts           from other West African countries, particularly Nigeria and Benin, with
to consistently coordinate anti-trafficking activities. The transition          promises of jobs as nurses or waitresses in Bamako or beauty parlors in
government allocated 226 million FCFA ($388,420) for the PAN’s                  Europe or the United States but instead exploit them in sex trafficking
implementation, including anti-trafficking trainings and support for NGOs,      throughout Mali, especially in small mining communities. In January
an increase from 220 million FCFA ($378,110) allocated the previous             2019, Nigerian authorities estimated more than 20,000 Nigerian girls
year. The National Unit to Fight Against Child Labor (CNLTE), chaired           are victims of sex trafficking in Mali, although this data has not been
by the Ministry of Labor, coordinated transition government efforts to          corroborated. An NGO reported sex trafficking of girls in Mali has steadily
combat child labor and included dedicated child labor inspectors; the           increased since 2005.
transition government allocated 32 million FCFA ($55,000) to the CNLTE
                                                                                Traffickers compel women and girls into sex trafficking and forced labor
in 2021. In partnership with civil society, the transition government
                                                                                in domestic work, agricultural labor, and support roles in artisanal gold
held awareness campaigns and trainings on child forced begging for
                                                                                mines. An NGO report attributes some of the increased demand for
community leaders and Quranic teachers. It also provided some support
                                                                                sex trafficking in mining communities to cultural and religious beliefs,
to an NGO training on human trafficking in artisanal gold mines. The
                                                                                correlating sex with increased chances of ﬁnding gold, and it also
transition government made limited efforts to raise awareness of and
                                                                                noted corruption schemes involving complicit officials and community
address hereditary slavery. The Kayes regional government adopted a
                                                                                authorities perpetuated trafficking.
charter to end hereditary slavery practices and held public awareness
raising events.                                                                 Traffickers exploit boys in forced labor in informal gold mines, particularly
                                                                                in Gao and Kidal; third parties sometimes “ﬁnanced” transportation to
The Ministry of Defense continued implementing its edict banning
                                                                                mining sites, requiring them to work for an unspeciﬁed time to pay off
children from all deployed military camps, and it had a designated child
                                                                                the debt. An international organization reported armed groups exploit
soldier focal point to coordinate with international organizations when
                                                                                children in forced labor in gold mines and extort adults operating in
allegations of child soldiering arise. In August 2021, both factions of
                                                                                the mines via a “tax” to ﬁnance their activities. Africans transiting Mali
signatory armed group Platform, of which GATIA is a member, signed
                                                                                to Europe, primarily via Algeria and Libya and less so via Mauritania,
UN action plans designed to prevent the recruitment and use of child
                                                                                are vulnerable to trafficking, and Nigerian traffickers exploit Nigerian
soldiers; international organizations began working with the group’s
                                                                                                                                  Haiti AR_000854               373
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 479 of 729
MALTA   women in sex trafficking in Mali en route to Europe. There are widespread       Malta remained on Tier 2. These achievements included opening a
        reports of corruption and complicity among officials, including official        new safe house for trafficking victims and establishing a vulnerability
        interference in trafficking and hereditary slavery cases; allegations           assessment team to help screen asylum-seekers. The government
        law enforcement agents accepted bribes from traffickers or coerced              also increased victim protection funding and the number of potential
        victims to pay bribes and returned victims to traffickers; and reports          trafficking victims it identiﬁed and assisted compared with the prior
        Malian armed forces (FAMa) personnel engaged in child sex trafficking.          year. However, the government did not meet the minimum standards
        In 2021, an estimated 7.1 million people were in need of humanitarian           in several key areas. Investigations decreased compared with the
        assistance, and there were more than 400,000 IDPs. The transition               prior year, and the government continued to lack coordination among
        government did not exercise control over the majority of its territory          ministries. The government did not report prosecuting or convicting
        and lost ground it had previously regained. Justice officials had no            any traffickers in 2021, a decrease compared with the prior year. The
        or an extremely limited presence in much of Mali, particularly in the           17-year delay of a trial of a government official who was accused of and
        northern and central regions, limiting the transition government’s ability      publicly admitted to the facilitation of sex trafficking concluded with
        to administer justice, provide victim services, and gather data. Since          an acquittal; and trafficking convictions continued to get overturned
        early 2012, rebel and Islamic extremist groups have occupied parts of           due to technicalities. The government did not effectively enforce labor
        northern Mali. Terrorist organizations and armed groups continue to             recruitment regulations or monitor massage parlors where there was a
        recruit and use children, mostly boys, in combat, requiring children to         higher incidence of trafficking indicators. Gaps in victim identiﬁcation
        carry weapons, staff checkpoints, guard prisoners, and conduct patrols;         and protection continued and the government lacked legal safeguards
        some groups use boys for running errands and spying. Some of these              to protect trafficking victims against potential prosecution for unlawful
        groups use girls in combat, support roles, and for sexual exploitation,         acts their traffickers compelled them to commit and has never awarded
        including sexual slavery through forced marriages to members of these           restitution or compensation to any trafficking victim.
        armed groups. In 2020, authorities identiﬁed at least one girl held in
        sexual slavery by armed groups. Armed groups purportedly coerce some
                                                                                                 MALTA TIER RANKING BY YEAR
        families to sell their children to the groups or compel communities to
                                                                                             1
        give up teenage boys to the groups for “community protection.” An
        international organization reported traffickers fraudulently recruit some           2
        children for education in Quranic schools but force them to ﬁght with             2WL
        armed groups. Some families reportedly insert their children into the
                                                                                             3
        ranks of armed groups because parents believe they will beneﬁt from                         2015     2016      2017   2018     2019    2020      2021     2022
        Disarmament, Demobilization, and Reintegration assistance. According to
        an international organization, insecurity, the pandemic, and deteriorating
        socioeconomic conditions are leading to a rise in child trafficking, forced
        labor, and forced recruitment by armed groups in Mali. International
                                                                                        PRIORITIZED RECOMMENDATIONS:
        observers reported artisanal gold mines controlled by armed groups
                                                                                        Increase efforts to vigorously and expeditiously investigate and prosecute
        remain a concern for trafficking, child labor, and child soldiering. In 2017,
                                                                                        trafficking crimes. • Increase efforts to convict traffickers, including
        a Malian armed group forcibly recruited Malian refugees in Mauritania
                                                                                        complicit officials, and sentence convicted traffickers to signiﬁcant prison
        to be child soldiers in Mali. Unaccompanied children among IDPs are at
                                                                                        terms. • Ensure relevant staff and officials proactively identify trafficking
        heightened risk of recruitment by armed groups inside of Mali.
                                                                                        victims, including Maltese nationals, among vulnerable populations,
        Malian security forces cooperated with a signatory armed group that             particularly children, migrant workers, asylum-seekers, and individuals in
        recruited and used children, sometimes through force, fraud, or coercion.       commercial sex. • Institutionalize victim-centered and trauma-informed
        The transition government provided in-kind support to and collaborated          anti-trafficking training for front-line officials, police officers, prosecutors,
        with GATIA, a pro-government militia (affiliated with Platform, a signatory     and judges with a focus on the use of psychological coercion and fraud as
        armed group), which recruited and used children during the reporting            means of trafficking. • Improve sentencing norms by sensitizing judges to
        period. Malian security forces allegedly cooperated in past reporting           the severity of trafficking crimes and the full range of penalties available.
        periods with other non-government armed groups that recruited                   • Allow formal victim identiﬁcation without requiring law enforcement
        and used children. The transition government appointed members of               interaction. • Allow formal victim identiﬁcation by and referral from
        signatory armed groups to cabinet positions; it is unclear to what extent,      entities other than the police, including by labor inspectors, asylum case
        if any, these individuals remain engaged in the armed groups. In August         workers, health care professionals, social workers, and NGOs. • Improve
        2021, both factions of signatory armed group Platform, of which GATIA           effective leadership and prioritization of human trafficking, as well as
        is a member, signed UN action plans designed to prevent the recruitment         streamline anti-trafficking coordination and communication efforts
        and use of child soldiers, and Coordination of Movements of Azawad              among ministries. • Enact a legal provision on the non-punishment
        (CMA) began working with international actors to implement its UN               of victims to ensure that trafficking victims are not inappropriately
        Action Plan signed in 2017. However, both GATIA and CMA continue                penalized for unlawful acts traffickers compelled them to commit. •
        to recruit and use children. In 2020, an international organization             Increase migrant worker protections by implementing strong regulations
        reported CMA used children younger than the age of 18 to manage                 and oversight of recruitment companies that are consistently enforced,
        checkpoints at gold mines under its control. From 2014 to 2019, FAMa            including prosecuting for fraudulent labor recruitment. • Implement
        recruited and used at least 47 children between the ages of 9 and 14            license controls and oversight of massage parlors and increase screening
        years old in support roles in Gao region as couriers and domestic help.         for trafficking victims. • Improve efforts to proactively inform foreign
        An international organization reported FAMa personnel committed acts            worker groups of worker rights and responsibilities and victim assistance
        of conﬂict-related sexual violence, including sexually exploiting girls in      resources in their native languages. • Ensure consistent early access to
        exchange for food and other goods, in 2019.                                     free legal aide. • Enforce the law prohibiting recruitment fees charged
                                                                                        to workers and ensure any recruitment fees are paid by employers. •
                                                                                        Increase collaboration between police and other stakeholders during
                                                                                        investigations to decrease the length of investigations and prosecutions
         MALTA: TIER 2                                                                  and enhance the likelihood of successful convictions. • Increase awareness
                                                                                        of and trafficking survivor access to damages and compensation,
                                                                                        regardless of their nationality or residence status. • Increase prosecutor
        The Government of Malta does not fully meet the minimum standards
                                                                                        awareness of and efforts to systematically request restitution for
        for the elimination of trafficking but is making signiﬁcant efforts
                                                                                        survivors in criminal trials. • Consider removing the maximum limits
        to do so. The government demonstrated overall increasing efforts                for compensation and damages and allowing conﬁscated assets from
        compared with the previous reporting period, considering the impact             traffickers to be awarded to victims. • Consider establishing a specialized
        of the COVID-19 pandemic on its anti-trafficking capacity; therefore            police unit and specialized prosecutors dedicated to human trafficking

 374                                                                                                                                     Haiti AR_000855
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 480 of 729




                                                                                                                                                               MALTA
and consider prosecution-assisted investigations on trafficking cases. •       18 potential foreign trafficking victims. This compared with six in 2020
Increase training for and efforts to pursue ﬁnancial crime investigations      and 11 in 2019, though these identiﬁcations were still fewer than 24 in
in tandem with human trafficking cases.                                        2018, 30 in 2017, and 35 in 2016. Of the potential victims identiﬁed, 11
                                                                               were victims of labor trafficking, (including four victims of domestic
PROSECUTION                                                                    servitude and one victim of forced criminality), ﬁve were victims of sex
The government decreased law enforcement efforts. Article 248A-G               trafficking, and two were victims of both sex and labor trafficking. Two
of the criminal code criminalized sex trafficking and labor trafficking,       potential victims were male, and 16 were female. Potential trafficking
and it prescribed penalties of six to 12 years’ imprisonment. These            victims identiﬁed in 2021 were from approximately 13 countries, with the
penalties were sufficiently stringent and, with respect to sex trafficking,    majority originating from the Philippines. While the government had a
commensurate with those prescribed for other serious crimes, such as           national victim identiﬁcation and referral mechanism from 2014, gaps
rape. The government took preventative health measures to ensure law           in victim identiﬁcation remained, and the government did not report
enforcement efforts continued unimpeded and courts remained opened             identifying any Maltese or child victims in 2021 and only one potential
and at standard capacity, despite the ongoing pandemic. In 2021, the           victim among asylum-seekers, despite the documented vulnerability
police vice squad, responsible for investigating human trafficking and         of this population to trafficking. GRETA reported that many front-line
other crimes, initiated nine new investigations—seven for sex trafficking      officials remained unaware of the national victim identiﬁcation and
and two for labor trafficking. This was a decrease compared with 16            referral mechanism, and civil society highlighted a need to ensure wide
new investigations in 2020. The government reported that it did not            dissemination of the mechanism to ensure uniform implementation.
identify any trafficking victims as a result of its investigations initiated   Trafficking victims could only be “officially” identiﬁed by the police vice
in 2021. Seven investigations remained ongoing from prior years,               squad, and the vice squad determination on whether someone was a
including four for sex trafficking and three for labor trafficking. The        victim of trafficking or not could not be challenged. In its 2021 report,
government did not report initiating any new prosecutions of suspected         GRETA noted that contrary to the national identiﬁcation mechanism,
sex traffickers in 2021, a decrease compared with two in 2020 and zero         civil society reported that official identiﬁcation of victims was sometimes
in 2019. The government did not report convicting any traffickers in           dependent on the possibility to institute criminal proceedings against the
2021, a decrease compared with the convictions of three traffickers            trafficker. The government funded an international organization to update
in both 2019 and 2020, which included signiﬁcant prison sentences.             its trafficking victim screening tool to improve victim identiﬁcation. Victim
Perennial issues with rule of law, corruption, slow court proceedings,         identiﬁcation among asylum-seekers was conducted by officials from the
and an understaffed police force continued to hamper prosecutions and          Ministry for Home Affairs and National Security and Law Enforcement
convictions. Trafficking convictions were often overturned on appeal           (MHSE), in partnership with civil society. In partnership with the EU and
for administrative technicalities. In February 2022, a judge annulled          an international organization, the government formed a vulnerability
the prison sentence for a 2020 sex trafficking conviction based on             assessment team where asylum-seekers were screened for trafficking
a technicality in court formalities. The media reported on an alleged          indicators and vulnerabilities; however, in its 2021 report, GRETA noted
case of forced labor through the non-violent coercion of a victim              the preliminary assessment conducted was limited to the identiﬁcation
with intellectual disabilities for nine years; however, the case was not       of cases where vulnerability was immediately obvious, such as with
prosecuted as human trafficking, and courts sentenced the perpetrator          unaccompanied children. With consent, potential trafficking victims
to a suspended sentence with the rationale that physical violence and          were referred to victim protection services with a new referral form for
injuries were not sustained by the victim. Experts urged the government        asylum-seekers, which was adopted in March 2021 for both government
to increase training for judges on psychological coercion as a means of        and civil society use. Separately, the government reported that trained
trafficking. There were no new investigations, prosecutions, or convictions    officials systematically screened undocumented migrants for trafficking
of government employees allegedly complicit in trafficking crimes.             indicators with updated guidelines at detention centers; however,
An investigation initiated in 2004 of a former police officer who had          they did not report identifying any victims among this population.
allegedly acted as an accomplice to a convicted sex trafficker through         The need for sufficient resources to streamline all procedures, create a
the falsiﬁcation of visa documents and had admitted to the procurement         systematic workﬂow, and build capacity at migrant detention centers
of a victim, ultimately ended in an acquittal 17 years later in June 2021.     may have affected the quality of victim screening. During the reporting
Prosecutors applied for an appeal, but courts denied this petition. In         period, police continued to screen for sex trafficking indicators among
its 2021 report, the Group of Experts on Action against Trafficking            individuals in commercial sex. In its 2021 report, GRETA noted the lack of
in Human Beings (GRETA) stressed that the government’s failure to              a multi-disciplinary approach to the identiﬁcation process of trafficking
convict traffickers and the absence of effective, proportionate, and           victims and the need for additional personnel resources and training
dissuasive sanctions undermined efforts to combat human trafficking            for the police vice squad.
and victims’ access to justice. GRETA also expressed concern that
                                                                               The national Foundation for Social Welfare Services continued to
the length of criminal proceedings negatively impacted victims who
                                                                               coordinate effectively with the police, legal aid, and health services
could experience re-victimization through repeated confrontations
                                                                               to provide quality care to victims and met virtually with stakeholders
with their alleged trafficker. GRETA also noted the government lacked
                                                                               every two months. Government officials continued to work closely
specialized prosecutors and judges for trafficking cases and did not
                                                                               and collaboratively with NGOs. Agenzjja Appogg conducted several
pursue ﬁnancial crime investigations in tandem with human trafficking
                                                                               trafficking identiﬁcation training sessions to frontline officials in 2021.
cases; ultimately, GRETA recommended the government consider
                                                                               The government provided €172,166 ($195,200) for victim care in 2021,
addressing both deﬁciencies.
                                                                               including salaries for social workers and safe housing for victims; an
The government, in partnership with a university and several international     increase compared with €102,229 ($115,910) in 2020. The government
organizations, provided extensive anti-trafficking training to 40 new          also provided €16,399 ($18,590) to an international organization to
police recruits on victim identiﬁcation, trafficker proﬁling, and an           update its trafficking victim screening tool and provide victim assistance.
overview of the victim referral mechanism; immigration police and              To improve coordination of victim protection for children, in 2021, the
border control officers, as well as 300 police sergeants and majors, on        Child Protection Agency was designated as the responsible agency
anti-trafficking more broadly; and social workers on trafficking among         for vulnerability assessment and interagency coordination for child
asylum-seekers. The government speciﬁcally targeted training for               victims. The national welfare agency continued to operate a 24-hour
police vice squad officials, who were provided approximately ﬁve anti-         hotline for individuals in need of social services support and referral
trafficking trainings throughout the reporting period. The government          to care, including potential trafficking victims; operators had received
reported cooperating with United States law enforcement officials on           training in trafficking victim identiﬁcation. The government identiﬁed
an international trafficking investigation.                                    two potential adult trafficking victims through the hotline during the
                                                                               reporting period.
PROTECTION
                                                                               Police continued to utilize the national standard referral procedures to
The government slightly increased protection efforts. Agenzjja Appogg,
                                                                               systematically refer victims to Agenzjja Appogg. Fourteen potential
a government office within the Foundation for Social Welfare Services
                                                                               victims were referred to Agenzjja Appogg, where they received individual
(FSWS) that provided national assistance to trafficking victims, identiﬁed
                                                                                                                                 Haiti AR_000856               375
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 481 of 729
MALTA   assistance plans and psychological assistance; at least six victims were      and judicial authorities. Victims could also ﬁle a civil suit to receive a
        provided with shelter, and social workers helped several victims with         maximum of €10,000 ($11,340) in damages, but the government has
        medical appointments and employment. Protection services to victims           never reported awarding damages to any trafficking victims to date.
        continued uninterrupted in 2021, and the government instituted several        Victims could also receive back-payment of wages earned by ﬁling
        pandemic-related safety protocols, including requiring proof of a             a complaint through the Department for Industrial and Employment
        COVID-19 vaccine or a negative test result prior to shelter admittance;       Relations; the government reported awarding back-payment three times
        victims were provided short-term emergency shelter until they could           in the past but did not report doing so during the reporting period.
        provide the required proof. The government had dedicated services             GRETA urged the government to review the eligibility criteria for state
        available to both foreign and domestic trafficking victims, and once          compensation and add the concept of trafficking survivor restitution
        victims were referred to care, specialized social workers at FSWS             to training programs for judges and prosecutors. The government did
        assessed the long-term needs of each trafficking victim; assistance           not have a legal provision on the non-punishment of victims to ensure
        reportedly included shelter, food, psychological counseling, interpreters,    that trafficking victims are not inappropriately penalized for unlawful
        and medical and legal aid appointments, as well as assistance with            crimes traffickers compelled them to commit, including immigration
        obtaining legal status and job searches. In 2021, the government opened       violations. GRETA recommended the enactment of such a provision and
        a new safehouse, which sheltered three trafficking victims in 2021, and       the dissemination of the non-punishment principal to not only judges, but
        was staffed by social service workers during the day and security at          all law enforcement to prevent victim penalization as early as possible.
        night. The government also launched a Victim Support Agency in April
        2021 for all victims of crime who cooperated with law enforcement,            PREVENTION
        including trafficking victims; services included conﬁdential emotional        The government maintained prevention efforts. In 2020, the Human
        support and legal advice. The government did not report the number of         Rights Directorate (HRD) assumed responsibilities for coordinating
        trafficking victims that received services through this agency. GRETA’s       national anti-trafficking and commercial sex efforts and reforms. In
        2021 report, noted that per the government’s 2014 Legal Aide law, legal       September 2021, the HRD dissolved the inter-ministerial anti-trafficking
        assistance should have been available to all victims of crime; however,       committee and assumed most of its responsibilities, which included
        to date, all trafficking victims have been represented by NGO lawyers         implementing the national action plan (NAP), coordinating data
        funded through projects instead of the established Legal Aid Agency.          collection, and reviewing policy and practice. However, by the end of
        GRETA urged the government to increase their efforts to ensure that           the reporting period, the government did not report which entity took
        victims of trafficking received legal assistance and free legal aid at        on the role of the national rapporteur. The term for the previously non-
        an early stage. The government reported that victims could receive            operational anti-trafficking stakeholder task force was renewed under
        protection services regardless of their agreement to cooperate with law       a new chairperson in August 2021, but the task force, responsible for
        enforcement. While there was no time limit for victims to access some         operational coordination of trafficking efforts, still had not met with
        services, such as services from social workers, their stay in a shelter or    stakeholders or taken any concrete actions by the end of the reporting
        safe housing could not exceed 180 days, with some exceptions. Victims         period. The government reported that the HRD did not meet during
        had freedom of movement in government shelters, and both men and              the reporting period. In its 2021 report, GRETA again recommended the
        women had access to three shelters.                                           government consider establishing an independent national rapporteur
                                                                                      to ensure an impartial review of government anti-trafficking efforts.
        The government encouraged but did not require victims to assist in
                                                                                      In 2020, the government allotted €300,000 ($340,140) to improve
        the investigation and prosecution of their alleged traffickers. Law
                                                                                      coordination among relevant ministries, and in 2019, it launched a
        enforcement endeavored to conduct discreet interviews with potential
                                                                                      reform on human trafficking and prostitution to enhance multi-agency
        trafficking victims to protect their identities and ensure their safety. To
                                                                                      cooperation, improve the coordination of existing processes, and take an
        avoid re-traumatization, the government provided victims with protective
                                                                                      active approach in combating all forms of trafficking, though no results
        support, including the option to testify via video, accompaniment to
                                                                                      were reported to date. The government continued to implement their
        court by a social worker, and victim support sessions before and after
                                                                                      2020-2023 anti-trafficking NAP, which focused primarily on coordination
        court hearings. The government had a witness protection program and
                                                                                      and prevention efforts, but it did not address key gaps in prosecution
        reported providing services to one victim in 2021. The law provided
                                                                                      or victim identiﬁcation and assistance. Authorities and NGOs continued
        victims a two-month reﬂection period to recover and contemplate
                                                                                      to report a lack of effective leadership, corruption allegations, and
        cooperation with law enforcement. Foreign victims who decided to
                                                                                      insufficient prioritization of human trafficking, as well as a need to
        assist police in prosecuting trafficking cases were reportedly entitled
                                                                                      streamline anti-trafficking coordination and communication efforts
        to a renewable six-month temporary residence permit free of charge,
                                                                                      among ministries, which hinder progress. The government maintained
        police protection, legal assistance, and the right to obtain ﬂexible work
                                                                                      its anti-trafficking training budget at €16,000 ($18,140) in 2021, the
        permits; the government did not report granting residence permits
                                                                                      same as 2020. The government conducted anti-trafficking awareness
        to any trafficking victim. The government could grant refugee status
                                                                                      campaigns by publishing an article in the newspaper, sharing information
        to victims as an alternative to removal to countries where they may
                                                                                      on social media, and multiple appearances by various government
        face hardship or persecution, though the approval rate for all asylum
                                                                                      officials on national television targeting the general population as
        applications was low at 8 percent, and the government did not report
                                                                                      well as vulnerable groups like individuals in commercial sex. One anti-
        providing this status to any victims during the reporting period.
                                                                                      trafficking awareness campaign the government organized in Valletta
        The government could grant a maximum of €23,300 ($26,420) of                  used anonymous statements from trafficking survivors in a visual display.
        compensation to some victims from state funding; however, the                 The government funded two research projects in 2021, including a project
        government has never reported issuing compensation to any victims             that analyzed root causes of trafficking in supply chains and available
        of trafficking to date; the few requests brought by NGO lawyers were          legal instruments, as well as a project on human trafficking legislation
        ultimately denied. Legal aid was not available for victims seeking            and strategies; however, neither project had yet been published.
        compensation from the government, and government compensation
                                                                                      The government continued to cooperate with Frontex, the European
        was not available for foreign trafficking victims without residency.
                                                                                      Border and Coast Guard Agency, and the Government of Libya to reduce
        Furthermore, GRETA reported that the law did not allow assets
                                                                                      the number of undocumented migrants entering Malta from Libya. NGOs
        conﬁscated from traffickers to be used as compensation or restitution
                                                                                      criticized this coordinated effort, however, because it often resulted in the
        for victims. In its 2021 report, GRETA urged the government to adjust
                                                                                      occupants of vessels rescued in the Libyan search and rescue area being
        or remove the maximum limits for compensation and restitution; allow
                                                                                      returned to Libyan shores; NGOs cited severe security and human rights
        conﬁscated assets from traffickers to be awarded to victims; and ensure
                                                                                      conditions inside Libya and Libyan detention centers and a heightened
        state compensation was available to all trafficking victims, regardless of
                                                                                      risk of trafficking for the more than 12,000 undocumented migrants
        their nationality or residence status. Additionally, prosecutors could ﬁle
                                                                                      forced to remain in the detention centers. Despite government efforts to
        for restitution from traffickers in criminal cases; however, courts have
                                                                                      the contrary, approximately 830 undocumented migrants arrived in Malta
        never reported awarding restitution to any victims to date, and GRETA
                                                                                      in 2021, a signiﬁcant decrease compared with 2,300 in 2020 and 3,100
        noted limited awareness of the possibility of restitution by lawyers
                                                                                      in 2019, and they were placed in one of four government-run detention
 376                                                                                                                                Haiti AR_000857
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 482 of 729




                                                                                                                                                              MARSHALL ISLANDS
centers. GRETA urged the Maltese authorities to ensure asylum-seekers          and the public. However, the government did not meet the minimum
were provided with information materials on the rights of trafficking          standards in several key areas. For the fourth consecutive year, the
victims, as well as the services and assistance measures available and         government did not identify any conﬁrmed trafficking victims and
how to access them. Civil society reported a new government policy             did not utilize proactive procedures to identify trafficking victims. The
prevented asylum-seekers from Bangladesh from obtaining a work permit          government did not conduct timely victim assessments or provide
for nine months and may have increased their vulnerability to trafficking.     protective services to potential trafficking victims while their cases were
In 2021, the national employment authority reported conducting 1,400           under investigation. The government did not prosecute any traffickers
routine inspections of employers, which focused on employment                  and has not convicted any traffickers since 2011.
contracts and basic employment conditions. However, the government
did not report whether labor inspectors received specialized training to               MARSHALL ISLANDS TIER RANKING BY YEAR
identify trafficking victims, identiﬁed any trafficking victims, or referred       1
any cases for investigation. Fraudulent labor recruitment remained a
                                                                                   2
signiﬁcant concern. The Employment Agencies Act (EIRA) regulated
labor recruiters and required recruiters to have a license. The EIRA did         2WL
not allow workers to be charged recruitment fees by employment or                  3
recruitment agencies. However, this practice continued to occur, and the                 2015      2016     2017      2018     2019    2020   2021   2022
government did not report effective law enforcement measures taken
to deter agencies from continuing the practice. Foreign workers and
asylum-seekers could not leave their employers without prior government
permission, as work permits were tied to a speciﬁc employer, which             PRIORITIZED RECOMMENDATIONS:
may have increased their vulnerability to trafficking. GRETA and NGOs          Increase efforts to vigorously investigate, prosecute, and convict
continued to report a lack of oversight and regulation on the licensing        traffickers, including complicit officials, and sentence traffickers to
of massage parlors, which had a higher likelihood of indicators of sex         adequate penalties, which should involve signiﬁcant prison terms. •
trafficking. In its 2021 report, GRETA relayed the concerns expressed          Disseminate and employ proactive procedures to identify trafficking
by civil society that police did not proactively identify trafficking          victims among all vulnerable groups, such as individuals in commercial
victims in massage parlors. The government did not make efforts to             sex, undocumented migrant workers, foreign ﬁshermen, and victims
reduce the demand for commercial sex acts. The government did not              of gender-based violence, and train officials on their use. • Train law
report providing anti-trafficking training to its diplomatic personnel         enforcement and prosecution officials to implement the anti-trafficking
or to its troops prior to their deployment as peacekeepers during the          laws. • Strengthen efforts to administer and fund protective services
reporting period.                                                              for victims in cooperation with NGOs and international organizations
                                                                               and ensure potential victims are proactively offered services while their
TRAFFICKING PROFILE                                                            case is investigated. • Dedicate funding and resources to implement the
As reported over the past ﬁve years, human traffickers exploit domestic        NAP. • Eliminate recruitment or placement fees charged to workers by
and foreign victims in Malta. Sex traffickers exploit foreign national         labor recruiters and ensure any recruitment fees are paid by employers.
and Maltese women and children, and labor traffickers exploit foreign          • Develop and conduct public anti-trafficking education and awareness-
men and women. Labor trafficking victims originate from the People’s           raising campaigns, including in outer island communities. • Increase
Republic of China, Eastern Europe, Central America, and Southeast Asia,        access to and knowledge of protective services for outer island
with increasing numbers from the Philippines. Women from Southeast             community residents and dedicate funding towards assisting with
Asia working as domestic workers, foreign women working in massage             travel costs to receive assistance. • Undertake research to study human
parlors, and women from Central and Eastern Europe, Russia, and Ukraine        trafficking in the country and make the ﬁndings publicly available. •
working in nightclubs represent populations vulnerable to trafficking.         Accede to the 2000 UN TIP Protocol.
The approximately 9,000 refugees and 4,000 asylum-seekers residing
in Malta are vulnerable to trafficking in the country’s informal labor         PROSECUTION
market, including within the construction, hospitality, and domestic work      The government maintained minimal law enforcement efforts. The
sectors. Cooperation with the Government of Libya prevents thousands           Prohibition of Trafficking in Persons Act of 2017 criminalized sex
of undocumented migrants and refugees from arriving at Maltese ports;          trafficking and labor trafficking and prescribed penalties of up to 15
however, occupants of vessels rescued in the Libyan search and rescue          years’ imprisonment, a ﬁne of up to $10,000, or both if the victim was
area are returned to Libya, where NGOs cite severe security and human          an adult and up to 20 years’ imprisonment, a ﬁne of up to $15,000,
rights conditions and a heightened risk of trafficking for undocumented        or both if the victim was younger than age 18. These penalties were
migrants. Fraudulent labor recruitment continues to occur; traffickers         sufficiently stringent and, with regard to sex trafficking, commensurate
replace the originally signed contract with a less favorable one upon          with other serious crimes, such as rape.
arrival in Malta or force victims to perform a completely different job
                                                                               For the second consecutive year, the government did not report any
than what was agreed upon. Though illegal, traffickers often conﬁscate
                                                                               new prosecutions, and the government has not convicted any traffickers
the passports of victims upon arrival. Co-nationals of trafficking victims
                                                                               since 2011. Authorities continued the investigation, begun in 2020, of the
and Maltese citizens frequently work together to exploit victims.
                                                                               former Director of Immigration for alleged complicity in trafficking crimes;
                                                                               the investigation remained ongoing. The government did not report
                                                                               any other investigations, prosecutions, or convictions of government
 MARSHALL ISLANDS: TIER 2                                                      employees complicit in human trafficking crimes. In connection with the
                                                                               above case, the government opened a potential trafficking investigation
                                                                               involving six alleged traffickers; the case was ongoing. Authorities did
The Government of Marshall Islands does not fully meet the minimum             not report an update to an investigation of a suspected commercial sex
standards for the elimination of trafficking but is making signiﬁcant          establishment opened the previous year. Government officials’ limited
efforts to do so. The government demonstrated overall increasing efforts       understanding of trafficking indicators and the perceived requirement
compared with the previous reporting period, considering the impact of         of movement for trafficking crimes hindered progress.
the COVID-19 pandemic on its anti-trafficking capacity; therefore Marshall     The government established a specialized anti-trafficking unit within the
Islands was upgraded to Tier 2. These efforts included establishing a          Attorney General’s office criminal division to oversee anti-trafficking law
specialized anti-trafficking unit within the Attorney General’s office to      enforcement efforts. The unit was composed of two full-time positions,
oversee anti-trafficking efforts and an anti-trafficking working group to      one funded by the government and the other donor-funded; the donor-
implement the national action plan (NAP). The government continued an          funded position remained open at the end of the reporting period. In
investigation into a government official allegedly complicit in trafficking    March 2022, the government hired a new chief prosecutor to address
crimes and conducted awareness campaigns for school-aged children
                                                                                                                                      Haiti AR_000858         377
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 483 of 729
MAURITANIA   prosecutorial gaps, such as lack of case management, strategy and            Authorities charged one employer with 14 ﬁnes for illegal employment
             policy development, and funding and resources. The government, in            and visa violations, compared with 22 ﬁnes the previous year. Authorities
             partnership with an international organization, trained national and local   closed a labor law violation investigation and an employee-initiated
             law enforcement officials on victim identiﬁcation, evidence collection,      civil lawsuit against an employer for passport withholding, initiated the
             and the victim identiﬁcation and referral standard operating procedures      previous year, because the employee dropped charges and departed
             (SOPs). In addition, the government provided trauma-informed response        the country; the government reported the employee and employer
             training to front-line responders, including law enforcement and health      settled out of court.
             care professionals. The government reported it redirected or limited
                                                                                          The government continued to take measures to prevent the commercial
             resources and institutional capacity among law enforcement and
                                                                                          sexual exploitation of women and girls by prohibiting unauthorized
             other government agencies as a result of the pandemic; this may have
                                                                                          visitors onboard licensed foreign ﬁshing vessels docked in Majuro; unlike
             adversely affected the government’s ability to detect and address
                                                                                          prior reporting periods, the government did not issue immigration day
             trafficking. The government reported a reduction in court cases heard,
                                                                                          passes for crewmembers due to pandemic restrictions. The government,
             which may have been due to the pandemic and the adjustments of the
                                                                                          in partnership with an NGO, supported the start of a ﬁve-year research
             courts to pandemic-related restrictions. The government lacked technical
                                                                                          and programs project to assess and address the scope of trafficking
             capacity for law enforcement to employ investigative and surveillance
                                                                                          in Marshall Islands. The government reported using a digital registry
             techniques and for prosecutors to use effective case management and
                                                                                          system, developed in 2018, to track the movement of passengers from
             court ﬁling procedures. In addition, the government lacked sufficient
                                                                                          the country’s main ports, increasing oversight of individuals entering
             institutionalized law enforcement training, recruitment of officers, law
                                                                                          and exiting the country. The government did not provide anti-trafficking
             enforcement facilities, and funding to combat trafficking.
                                                                                          training to its diplomatic personnel. The government did not regulate
                                                                                          recruitment fees, which continued to contribute to debt-based coercion
             PROTECTION                                                                   among foreign workers. The government did not take steps to reduce
             The government maintained efforts to protect victims. The government
                                                                                          the demand for commercial sex acts. Marshall Islands was not a party
             did not report implementing SOPs, developed in 2016 in partnership
                                                                                          to the 2000 UN TIP Protocol.
             with an international organization, for the identiﬁcation and referral
             of victims. The government did not report identifying any trafficking
                                                                                          TRAFFICKING PROFILE
             victims, compared with identifying one potential trafficking victim
                                                                                          As reported over the past ﬁve years, human traffickers exploit domestic
             during the previous reporting period. The government did not report
                                                                                          and foreign victims in Marshall Islands, and traffickers exploit Marshallese
             conducting victim assessments during the reporting period for
                                                                                          victims abroad. Traffickers exploit Marshallese women and girls, and
             six potential trafficking victims involved in an ongoing trafficking
                                                                                          may also exploit East Asian women and girls, in sex trafficking in the
             investigation. Due to the requirement to be officially classiﬁed as a
                                                                                          Marshall Islands; some of these women and girls have also been conﬁned
             victim before receiving protective services and services being contingent
                                                                                          and subjected to forced childbearing as part of international fraudulent
             on authorities initiating a prosecution, authorities did not provide the
                                                                                          adoption schemes. Hotel and bar staff and family members recruit and
             potential victims with protective services while it investigated their
                                                                                          transport women and girls and exploit them in sex trafficking with
             case during the reporting period. The government, in partnership
                                                                                          foreign construction workers and crewmembers of foreign ﬁshing and
             with nongovernmental, faith-based, and international organizations,
                                                                                          transshipping vessels that dock in Majuro. Observers report commercial
             could provide protective services to victims; but it did not report
                                                                                          sexual activity involving foreign ﬁshermen has increasingly moved from
             providing any services. Government-provided services could include
                                                                                          ﬁshing vessels to local bars, hotels, and suspected commercial sex
             counseling, legal assistance, testing for sexually transmitted diseases,
                                                                                          establishments. Traffickers also exploit some of these foreign ﬁshermen
             and accessible services for victims with disabilities. Authorities could
                                                                                          in conditions indicative of forced labor on ships in Marshallese waters.
             provide protective services only in urban centers, which hindered the
                                                                                          Traffickers compel foreign women, most of whom are long-term residents
             ability for residents of outer island communities to receive assistance.
                                                                                          of the Marshall Islands, into commercial sex in establishments frequented
             The government maintained a memorandum of understanding with an
                                                                                          by crewmembers of People’s Republic of China (PRC)-affiliated and other
             NGO to refer female victims between ages 14 and 18 to survivor-support
                                                                                          foreign ﬁshing vessels; some traffickers recruit PRC national women with
             services and place them in a network of approved safe houses. The
                                                                                          the promise of other work and, after paying large recruitment fees, they
             Ministry of Internal Affairs continued to assume supervision of all other
                                                                                          force them into commercial sex. Marshallese residents of outer island
             child victims; three social workers coordinated assistance to trafficking
                                                                                          communities may experience increased vulnerability to trafficking due
             victims. NGOs could provide shelter for adult victims, and the victims
                                                                                          to limited economic opportunities, geographic location, and the cost
             could leave safe houses or shelters unchaperoned unless authorities
                                                                                          to travel to urban centers to seek assistance. Some wealthier or more
             determined that doing so might put them in danger. The government
                                                                                          powerful family members use traditional cultural practices to exploit
             reported providing $125,000 of funding to an NGO to provide free legal
                                                                                          impoverished Marshallese from outer islands to serve as indentured labor
             advice and support to victims of crime, including trafficking victims,
                                                                                          on their property. Limited reports indicate some Marshallese searching
             compared with $100,000 provided in the previous reporting period
                                                                                          for work in the United States experience indicators of trafficking,
             for such services. The government reported its ability to ensure that
                                                                                          such as passport conﬁscation, excessive work hours, and fraudulent
             victims had a temporary right of stay but did not provide long-term
                                                                                          recruitment. Some Marshallese children are transported to the United
             alternatives to removal to countries where victims may face hardship
                                                                                          States, where they are subjected to situations of sexual abuse with
             or retribution. The government did not have an anti-trafficking hotline.
                                                                                          indicators of sex trafficking.
             PREVENTION
             The government increased efforts to prevent trafficking. The National
             Task Force on Human Trafficking (NTHT) led the government’s anti-
             trafficking efforts. The NTHT encompassed a wide array of voluntarily
                                                                                           MAURITANIA: TIER 2 WATCH
             assigned government, NGO, and international organization members and
             reported meeting three times, compared with none reported the previous
                                                                                           LIST
             year. The government reported pandemic activities took precedent
             over other matters, which may have hindered prevention measures.             The Government of the Islamic Republic of Mauritania does not fully
             The government continued implementation of its NAP, developed in             meet the minimum standards for the elimination of trafficking but is
             March 2021. The NTHT created a NTHT working group, in November               making signiﬁcant efforts to do so. These efforts included implementing
             2021, to ensure continual implementation of the NAP and provide              the Law on Associations (“NGO Law”), which allowed anti-slavery
             quarterly implementation updates to the NTHT. In partnership with an         NGOs to operate more freely following a simpliﬁed registration process,
             international organization, the government held awareness campaigns          establishing a permanent coordinating committee for anti-trafficking
             and workshops targeting school-age children and the general public. The      efforts, signiﬁcantly increasing funding for the anti-trafficking national
             government reported conducting immigration and labor inspections.            action plan (NAP), and initiating three hereditary slavery investigations.
  378                                                                                                                                  Haiti AR_000859
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 484 of 729




                                                                                                                                                                  MAURITANIA
The government conducted public awareness campaigns and outreach                 PROSECUTION
to vulnerable populations, and it co-organized a sub-regional symposium          The government decreased already insufficient anti-trafficking law
on combating slavery. The Minister of Justice issued a judicial circular         enforcement efforts. The 2020 Law on the Prevention and Punishment
reiterating the importance of prosecuting slavery cases and awarding             of Trafficking in Persons criminalized sex trafficking and labor trafficking,
restitution to victims. However, the government did not demonstrate              and it prescribed penalties of 10 to 20 years’ imprisonment and a ﬁne of
overall increasing efforts compared with the previous reporting period,          250,000 to 500,000 Mauritanian ouguiya (MRU) ($6,760 to $13,510).
even considering the impact of the COVID-19 pandemic on its anti-                These penalties were sufficiently stringent and, with respect to sex
trafficking capacity. Although the government demonstrated some                  trafficking, commensurate with those prescribed for other serious
commitment to address human trafficking and hereditary slavery, it did           crimes, such as rape. The 2015 anti-slavery law criminalized hereditary
not implement existing measures to hold traffickers and slaveholders             slavery and prescribed sufficiently stringent penalties of ﬁve to 20 years’
accountable or protect victims, and its efforts did not yield tangible           imprisonment and a ﬁne of 250,000 to 500,000 MRU ($6,760 to $13,510).
results. The government did not prosecute or convict any alleged                 As in previous years, the government did not report comprehensive law
traffickers, and courts dismissed or reclassiﬁed all pending cases against       enforcement data. Due to the pandemic, courts were closed for four
alleged slaveholders from the previous reporting period. Officials did           months of the reporting period. The government reported initiating three
not identify any trafficking victims for the fourth consecutive year,            hereditary slavery investigations, compared with no investigations in
and observers alleged that some officials had detained or harassed               the previous reporting period. Courts did not prosecute or convict any
anti-slavery activists. Government agencies charged with combating               traffickers, compared with four prosecutions and convictions of three
trafficking and hereditary slavery continued to lack resources, training,        traffickers in absentia during the previous reporting period. None of
and personnel; and reports of officials refusing to investigate or prosecute     the three traffickers convicted in absentia were serving their sentences,
perpetrators persisted. Because the government has devoted sufficient            and authorities issued arrest warrants for all three traffickers during the
resources to a written plan that, if implemented, would constitute               previous reporting period. Pending cases before the anti-slavery courts
signiﬁcant efforts to meet the minimum standards, Mauritania was                 were reclassiﬁed as non-slavery crimes, settled outside of the courts (a
granted a waiver per the Trafficking Victims Protection Act from an              practice forbidden according to the law), or dismissed by authorities.
otherwise required downgrade to Tier 3. Therefore Mauritania remained
                                                                                 Three regional anti-slavery courts had exclusive jurisdiction over
on Tier 2 Watch List for the third consecutive year.
                                                                                 hereditary slavery cases; however, the courts lacked adequate staff,
                                                                                 funding, and resources to investigate and prosecute hereditary
         MAURITANIA TIER RANKING BY YEAR                                         slavery crimes throughout their regions. In practice, authorities did
     1                                                                           not automatically refer slavery cases to the anti-slavery courts. Rather
                                                                                 than prosecuting alleged slaveholders, the courts continued to prosecute
     2
                                                                                 slander-related cases. The three courts received a total of 1.8 million MRU
  2WL                                                                            ($48,650), the same amount allocated the previous reporting period.
     3                                                                           The government opted not to rotate any of the existing anti-slavery
            2015     2016      2017        2018   2019   2020   2021   2022      court judges for the third consecutive year. Appointed judges received
                                                                                 minimal specialized training on the 2015 anti-slavery and 2020 anti-
                                                                                 trafficking laws. Unlike other topical courts, the anti-slavery courts did not
                                                                                 have specialized prosecutors. The appeals court lacked training on the
PRIORITIZED RECOMMENDATIONS:                                                     anti-slavery and anti-trafficking laws, impeding the anti-slavery courts’
Increase efforts to investigate and prosecute cases of human                     effectiveness. The Commissariat of Human Rights (Commissariat) had
trafficking and hereditary slavery and sentence convicted traffickers            the authority to introduce cases on behalf of victims of hereditary slavery
and slaveholders to appropriate prison terms in accordance with                  but reportedly did not do so. The Ministry of Interior created the Central
the 2015 anti-slavery and 2020 anti-trafficking laws; refer all human            Office for the Suppression of Migrant Smuggling and Human Trafficking, a
trafficking and hereditary slavery cases to the anti-slavery courts. •           unit responsible for actively screening migrants for trafficking indicators.
Direct law enforcement to investigate all allegations of hereditary              The government trained administrative, judicial, and security authorities
slavery and human trafficking and hold government officials accountable          on legal and institutional frameworks for combating human trafficking;
for failure to investigate such cases and for interference in ongoing            it also held a roundtable with government and civil society stakeholders
investigations. • Develop standard procedures to identify and refer              in collaboration with an international organization on the anti-slavery
human trafficking and hereditary slavery victims to care, and train              law and implementation barriers. However, an international organization
authorities on the procedures’ implementation. • Proactively screen              reported the government did not adequately disseminate information
for trafficking indicators among vulnerable populations, including               or train judges, police, social services personnel, or NGO stakeholders
irregular migrants, communities historically exploited in hereditary             on the 2020 anti-trafficking law. Law enforcement officials continued to
slavery, sexual abuse victims, women in commercial sex, and children             lack sufficient understanding of human trafficking and hereditary slavery.
exploited in forced begging; cease detaining, deporting, or otherwise
                                                                                 The government did not report any investigations, prosecutions, or
penalizing potential victims. • Signiﬁcantly increase training for law
                                                                                 convictions of government employees complicit in human trafficking
enforcement, prosecutors, and judicial officials on both the 2015 anti-
                                                                                 crimes; however, corruption and official complicity in trafficking crimes
slavery and 2020 anti-trafficking laws. • Provide adequate funding and
                                                                                 remained signiﬁcant concerns, inhibiting law enforcement action during
dedicated prosecutors (procureurs), investigating magistrates, and
                                                                                 the year. Some police, prosecutors, and investigative judges reportedly
trial judges for each of the anti-slavery courts. • Partner with NGOs to
                                                                                 refused to investigate and try cases of hereditary slavery, and courts
provide shelter and services to all trafficking victims, including adults.
                                                                                 sometimes relied on lesser statutes to punish slavery crimes due to
• Implement procedures to support human trafficking and hereditary
                                                                                 a lack of training. NGOs reported some local authorities encouraged
slavery victims during investigations, including by ensuring access to
                                                                                 victims and their families to resolve trafficking and hereditary slavery
legal assistance and protection from intimidation from alleged traffickers.
                                                                                 cases through social mediation rather than through the criminal justice
• Increase protections for labor migrants and reduce risks to trafficking
                                                                                 system. Although prosecutors had a legal obligation to transfer hereditary
by regulating labor recruitment, enforcing provisions banning worker-
                                                                                 slavery cases to the anti-slavery courts, some prosecutors encouraged
paid recruitment fees, and investigating and prosecuting individuals
                                                                                 victims to withdraw their complaints in exchange for a small amount of
accused of fraudulently recruiting Mauritanians for exploitation abroad.
                                                                                 ﬁnancial compensation. However, in October 2021, the Minister of Justice
• Implement the anti-trafficking NAP to address human trafficking and
                                                                                 issued a judicial circular reiterating the importance of prosecuting slavery
hereditary slavery with input from civil society; and, as part of this effort,
                                                                                 cases and awarding restitution to victims. Corrupt marabouts (Quranic
empower the Instance Nationale to act as the government’s permanent
                                                                                 teachers), suspected of exploiting talibés (Quranic students) in forced
coordinating committee for anti-trafficking efforts.
                                                                                 begging, were rarely prosecuted and usually entered agreements with
                                                                                 prosecutors to drop cases. Although not explicitly reported as human

                                                                                                                                    Haiti AR_000860               379
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 485 of 729
MAURITANIA   trafficking, the UN organization reported there were two new allegations         could also ﬁle civil suits against their traffickers, although victims lacked
             submitted in 2021 of alleged sexual exploitation with trafficking indicators     awareness of this option. According to an NGO, victims ﬁled two civil
             by Mauritanian peacekeepers deployed to the UN peacekeeping mission              suits against their traffickers during the previous reporting period but
             in the Central African Republic (CAR). There were also pending allegations       have not yet received compensation.
             of sexual exploitation against Mauritanian peacekeepers deployed to
                                                                                              Due to a lack of formal identiﬁcation procedures, authorities may have
             CAR reported in previous years, including two reported in 2020, one
                                                                                              detained or deported some unidentiﬁed trafficking victims, including
             in 2019, and one in 2017. The government had not yet reported the
                                                                                              victims of domestic servitude and sex trafficking under fornication and
             accountability measures taken, if any, for the open cases at the end of
                                                                                              adultery charges. Law enforcement officials jailed women suspected of
             the reporting period.
                                                                                              engaging in commercial sex and held irregular migrants in detention
                                                                                              until their refugee status was resolved without screening for trafficking.
             PROTECTION
             The government maintained negligible efforts to identify and protect
                                                                                              PREVENTION
             trafficking victims. The government did not report identifying any
                                                                                              The government maintained efforts to prevent human trafficking.
             trafficking victims for the fourth consecutive year. The government
                                                                                              The Commissariat, under the direction of the prime minister’s office,
             did not have formal procedures to identify trafficking victims or refer
                                                                                              coordinated the human rights inter-ministerial committee, which was
             them to care, but the Ministry of Social Affairs (MASEF) continued using
                                                                                              responsible for implementing the government’s anti-trafficking NAP and
             existing referral procedures for child victims of crime. Border agents
                                                                                              met twice. Additionally, the Ministry of Justice, Commissariat, and an
             were provided a manual, produced by an international organization that
                                                                                              international organization created a sub-committee to coordinate anti-
             detailed victim identiﬁcation procedures, but agents did not consistently
                                                                                              slavery efforts in collaboration with the human rights inter-ministerial
             use it. An NGO reported identifying and providing care to 1,881 vulnerable
                                                                                              committee. The government allocated 10 million MRU ($270,270)
             children and adults, which may have included some trafficking victims.
                                                                                              to implement the NAP, a signiﬁcant increase from 5.4 million MRU
             NGOs noted government-employed social workers lacked training to
                                                                                              ($145,950) allocated the previous year. In March 2022, the government
             identify trafficking victims, including in domestic work and commercial
                                                                                              adopted the implementing decree establishing the Instance Nationale,
             sex, and did not know where to refer identiﬁed victims for care.
                                                                                              a designated committee charged with coordinating the government’s
             NGOs continued to provide the majority of protective services to                 nation-wide anti-trafficking response, as called for in the 2020 anti-
             trafficking victims, including shelter, medical, psychological, legal, social,   trafficking law.
             and educational assistance, without government ﬁnancial or in-kind
                                                                                              The government, in collaboration with civil society, held awareness
             support. MASEF managed seven centers nationwide for the short-
                                                                                              campaigns and workshops to engage local and civil society leaders
             term protection and social integration of vulnerable children, including
                                                                                              and increase public awareness of the anti-slavery and trafficking
             potential trafficking victims, with ﬁnancial support from an NGO; one of
                                                                                              laws, particularly among vulnerable communities. In March 2022, the
             the centers in Nouakchott provided overnight care for child victims of
                                                                                              government co-chaired a sub-regional symposium on slavery. The
             crime. MASEF operated six regional centers that provided short-term
                                                                                              symposium marked the ﬁrst of its kind to take place in Mauritania and
             care to vulnerable children with disabilities, including potential trafficking
                                                                                              included civil society actors from Europe, Burkina Faso, Chad, Mali,
             victims. MASEF centers provided care to 860 vulnerable children,
                                                                                              Niger, Ghana, Guinea, Senegal, and the United States. The Agency
             including some potential trafficking victims. The MASEF generally
                                                                                              for National Solidarity and the Fight Against Exclusion (Taazour)
             referred victims to NGOs for long-term care. MASEF centers resumed
                                                                                              provided substantial socioeconomic support to vulnerable populations,
             daytime services for vulnerable families, including psycho-social, food,
                                                                                              including communities traditionally subjected to hereditary slavery.
             and vocational assistance, which it had previously suspended due to the
                                                                                              The government made some efforts to combat child forced begging,
             pandemic. The government operated one day center in Nouadhibou for
                                                                                              including conducting visits to some mahadras (Quranic schools) and
             adult female victims of sexual violence, including potential trafficking
                                                                                              working with religious leaders to raise awareness of child protection
             victims, and placed them with host families at night; the center also
                                                                                              issues. The government provided ﬁnancial support to an NGO hotline for
             accommodated migrant and refugee women and girls. However, shelter
                                                                                              victims of crime, including trafficking; the hotline assisted 336 victims
             and services for adult victims remained severely inadequate. Foreign
                                                                                              of sexual violence, including some potential trafficking victims. Despite
             nationals and Mauritanian victims were eligible for the same services.
                                                                                              efforts to raise awareness, some local officials reportedly denied the
             Foreign national victims who faced hardship or retribution in their country
                                                                                              existence of slavery, and some high-level officials claimed NGOs and
             of origin could apply for asylum or refugee status, but authorities did
                                                                                              anti-slavery activists fabricated or overstated the number of cases.
             not report granting these protections to any victims.
                                                                                              The government adopted the NGO Law implementing decree, allowing
             The government did not have a formal policy to encourage victims to
                                                                                              all NGOs, including anti-slavery NGOs, to legally operate in the country
             assist in investigations and prosecutions against their alleged traffickers,
                                                                                              following a simpliﬁed registration process. In December 2021, several
             nor did it report providing any services, including witness protection or
                                                                                              NGOs, including anti-slavery NGOs, registered and began operations.
             conﬁdentiality protocols, to protect victims from threats or intimidation
                                                                                              Some critics reported the law contained administrative barriers that may
             from their traffickers. NGOs reported the government often brought
                                                                                              have been burdensome to smaller NGOs and permitted the government
             victims and accused traffickers together when conducting interviews,
                                                                                              to suspend NGOs engaged in activities that “threaten the country’s
             which placed enormous pressure on victims to change their testimony.
                                                                                              morals.” There were no reports the government prevented anti-slavery
             Pursuant to existing laws, access to victim services was not conditioned
                                                                                              activists from operating in Mauritania; however, authorities allegedly
             on cooperation with law enforcement; however, this provision was not
                                                                                              harassed and detained some activists. Observers claimed officials
             always respected, and officials sometimes required victims to participate
                                                                                              retaliated against an NGO worker after the organization criticized the
             in law enforcement proceedings to receive services. The 2015 anti-slavery
                                                                                              government’s handling of a slavery-related investigation. Authorities
             law called for comprehensive legal assistance for victims of hereditary
                                                                                              also detained four individuals—including NGO activists, a survivor
             slavery and the creation of support centers in each province. The
                                                                                              of slavery, and a journalist—while they were investigating an alleged
             government operationalized legal aid offices, which were available to all
                                                                                              slavery case. The government made efforts to reduce the demand for
             victims of crime, in all regions and allocated 10 million MRU ($270,270)
                                                                                              commercial sex acts by arresting and convicting buyers of commercial
             to their operation, the same amount allocated the previous year. It also
                                                                                              sex; however, officials also arrested potential trafficking victims during
             allocated an additional 3.6 million MRU ($97,300) for legal assistance to
                                                                                              these operations.
             trafficking victims. However, the government did not report providing
             such legal assistance to any victims. The law allowed victims to obtain          Under a 2003 agreement with Spain, Mauritania received deported
             restitution, although the complex and opaque legal system made such              migrants, including its citizens and third-country nationals presumed to
             efforts extremely difficult. Courts did not award restitution to any victims,    have transited Mauritania en route to Spain. According to international
             compared with awarding 500,000 MRU ($13,510) in restitution to four              organizations, the government processed and transported these migrants
             victims during the previous reporting period; the government did not             to the Senegal and Mali borders, within hours of arriving in Nouadhibou,
             report whether the previously awarded restitution was paid. Victims              without systematically screening for trafficking or allowing international

  380                                                                                                                                       Haiti AR_000861
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 486 of 729




                                                                                                                                                               MAURITIUS
organizations to offer protective services. Authorities were, however,         Traffickers also exploit Senegalese children in ﬁshing, domestic work, drug
reportedly responsive to international organization requests for screening     production, and sex trafficking. Migrants and refugees in Nouadhibou
when civil society actors identiﬁed potential trafficking victims among        have reportedly engaged in commercial sex due to their dire ﬁnancial
the migrants. NGOs and media reports alleged officials detained some           situations, increasing their vulnerability to sex trafficking. Mauritanian,
migrants without due process, placed unaccompanied children in                 Nigerian, and Senegalese traffickers in the port city of Nouadhibou
detention with adults, abused migrants during arrest and detention,            exploited Sub-Saharan African migrants transiting Mauritania en route to
and failed to provide access to adequate facilities, including food and        Morocco and Europe in forced labor and sex trafficking. Foreign agencies
sanitation.                                                                    and Mauritanian intermediaries fraudulently recruit Mauritanian women
                                                                               for nursing and teaching jobs abroad and subsequently exploit them
The Ministry of Labor hired 15 new labor inspectors and provided some
                                                                               in domestic servitude and sex trafficking in the Gulf, including Saudi
training on child trafficking and child labor. However, the government
                                                                               Arabia. Traffickers from Middle Eastern and North African countries
lacked the capacity to regulate the large informal sector, where most
                                                                               fraudulently enter into marriages with Mauritanian girls and young
cases of forced labor occurred. Despite reports of labor abuses, including
                                                                               women, facilitated by brokers and travel agencies in both Mauritania
potential indicators of trafficking, the government rarely inspected
                                                                               and the Middle East; the traffickers promise substantial payments to the
ﬁshing vessels, processing plants, and boat factories. The government
                                                                               family and subsequently exploit the girls and women in sex trafficking
did not effectively regulate foreign labor recruiters or penalize them
                                                                               in Saudi Arabia and other Gulf countries.
for fraudulent recruitment. Although the law prohibited worker-paid
recruitment fees, the government’s limited capacity hindered its ability
to enforce this provision. The government continued working with
an international organization to study the scope of forced labor in
Mauritania. In 2021, the government lifted identity documentation               MAURITIUS: TIER 2
requirements for secondary school that had previously restricted access
to education, especially among communities traditionally exploited in          The Government of Mauritius does not fully meet the minimum standards
hereditary slavery. In partnership with an international organization,         for the elimination of trafficking but is making signiﬁcant efforts to do so.
officials continued to issue identiﬁcation cards to Malian refugees—as         The government demonstrated overall increasing efforts compared with
well as birth certiﬁcates to Malian refugee children born in Mauritania—in     the previous reporting period, considering the impact of the COVID-19
Mbera camp. The government signed a memorandum of understanding                pandemic on its anti-trafficking capacity; therefore Mauritius remained
with an international organization to formalize the organization’s role        on Tier 2. These efforts included providing services to all identiﬁed child
in facilitating and accelerating issuance of refugee documentation in          victims; working with an international organization to renovate a shelter
urban areas. The government collaborated with the same organization to         and repatriate foreign victims identiﬁed in previous years; conducting
register vulnerable refugees in its national social protection program. The    awareness raising activities to educate the migrant worker population on
government provided peacekeepers with pre-deployment brieﬁngs on               trafficking indicators; and reconvening the Inter-Ministerial Committee
human rights, including trafficking, prior to their deployment. Although       on Trafficking in Persons (IMCTIP) after it was inactive for two years.
not explicitly reported as human trafficking, there were six open cases        However, the government did not meet the minimum standards in several
of alleged sexual exploitation with trafficking indicators by Mauritanian      key areas. The continued absence of standard operating procedures
peacekeepers deployed to the UN peacekeeping mission in CAR.                   (SOPs) for victim identiﬁcation and referral for adult trafficking victims
                                                                               led to ad hoc assistance, a lack of victim-centered approaches, and
TRAFFICKING PROFILE                                                            potential re-traumatization of victims. Courts continued to provide
As reported over the past ﬁve years, human traffickers exploit domestic        lenient sentences to ﬁrst-time offenders of many crimes, including
and foreign victims in Mauritania, and traffickers exploit victims from        trafficking; this approach weakened deterrence and did not adequately
Mauritania abroad. Adults and children from traditional slave castes in        address the nature of the crime. Despite documented vulnerabilities of
the Haratine (Black Moor) and Afro-Mauritanian (Halpulaar, Soninke,            forced labor within the migrant worker population, the government did
and Wolof) communities are subjected to hereditary slavery practices           not investigate or prosecute traffickers exploiting individuals in forced
rooted in ancestral master-slave relationships, where they are often           labor, nor did it identify any victims of forced labor. The judicial process
forced to work without pay as cattle herders and domestic servants.            continued to be prohibitively long—frequently many years—and the
Although reliable data on forced labor and hereditary slavery do not           government lacked adequate support for victim witnesses, which at
exist, local and international experts state hereditary slavery continues to   times dissuaded victims from seeking legal redress.
affect a small, but not insigniﬁcant, portion of the country’s population
in both rural and urban settings. Many survivors of slavery and their
                                                                                        MAURITIUS TIER RANKING BY YEAR
descendants remain in dependent relationships with the family of their
                                                                                    1
former slaveholders due in part to cultural traditions as well as a lack of
skills and alternate economic opportunities; some survivors reportedly              2
continue to work for their former masters or others under exploitative           2WL
conditions to retain access to land they had traditionally farmed.
                                                                                    3
Corrupt marabouts force boys from Mauritania and other West African                        2015     2016      2017       2018   2019    2020   2021   2022
countries who study at mahadras to beg for food and money; boys
from low-income families in the Halpulaar community and increasingly
children with disabilities are particularly vulnerable. According to a 2018
survey, more than 50 percent of Mauritanian children younger than the          PRIORITIZED RECOMMENDATIONS:
age of ﬁve lack birth certiﬁcates. It is especially difficult for children     Improve comprehensive protection services for adult trafficking
of Haratine and Afro-Mauritanian descent to obtain birth certiﬁcates,          victims by developing and implementing SOPs for proactive victim
resulting in their denial of services, education, and assistance, and          identiﬁcation and referral to protective services—especially among
increasing vulnerability to trafficking. Fraudulent recruiters promise         vulnerable populations, including individuals in commercial sex and
Mauritanian women and girls—especially those from the traditional              migrant workers—and by ensuring provision of adequate assistance
slave castes and Afro-Mauritanian communities—shelter and education            to all victims identiﬁed regardless of immigration status or willingness
but force them into domestic servitude, especially in larger cities such       to participate with law enforcement. • Vigorously increase efforts to
as Nouakchott, Nouadhibou, and Rosso. Children of Haratine and Afro-           investigate and prosecute trafficking crimes and sentence convicted
Mauritanian descent working in the ﬁsheries sector are vulnerable to           traffickers to penalties as prescribed by the 2009 anti-trafficking law. •
forced labor. Traffickers reportedly coerce some women and children            Implement a victim witness program to increase protection for victims
to smuggle illicit drugs.                                                      participating in criminal proceedings and prevent re-traumatization,
West African women and girls, especially Senegalese and Ivoirians,             including receiving victims’ consent to willingly participate in law
are vulnerable to domestic servitude and sex trafficking in Mauritania.        enforcement procedures. • Implement and consistently enforce strong
                                                                                                                                       Haiti AR_000862         381
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 487 of 729
MAURITIUS   regulations and oversight of labor recruitment companies, including             PROTECTION
            eliminating recruitment fees charged to migrant workers and holding             The government maintained overall victim protection efforts, but
            fraudulent labor recruiters criminally accountable. • Strengthen the            those related to adult trafficking victims remained inadequate. The
            partnership between police and prosecutors to more efficiently and              government identiﬁed six potential victims, compared with 18 victims
            effectively prosecute trafficking cases and increase training on strong         identiﬁed in 2020 and six in 2019. Of the six victims identiﬁed, all were
            evidence gathering and victim-centered investigations. • Finalize and           victims of sex trafficking; two were adults, and four were children; and
            adopt a national action plan (NAP) to combat trafficking and allocate           ﬁve were Mauritian nationals, while one was a foreign national from
            funding for its implementation. • Designate a lead agency responsible           Bangladesh. For the second consecutive year, the government did
            for the protection of adult trafficking victims. • Provide speciﬁc anti-        not report identifying any adult victims of labor trafficking, despite
            trafficking training to law enforcement officials, labor inspectors, social     migrant workers’ continued vulnerability to trafficking. The Ministry of
            workers, prosecutors, and magistrates to improve victim identiﬁcation           Gender Equality, Child Development, and Family Welfare’s (MWFWCD’s)
            and referral to appropriate care.                                               Child Development Unit (CDU) systematically employed standard
                                                                                            identiﬁcation and referral procedures for child trafficking victims;
            PROSECUTION                                                                     however, the government continued to lack standard identiﬁcation and
            The government maintained anti-trafficking law enforcement efforts.             referral procedures for adult trafficking victims. The absence of standard
            The Combating of Trafficking in Persons Act of 2009 criminalized sex            procedures for adult trafficking victims led to ad hoc assistance, a lack of
            trafficking and labor trafficking of adults and children and prescribed         victim-centered approaches, and potential re-traumatization of victims.
            penalties of up to 15 years’ imprisonment. These penalties were sufficiently    The government provided medical assistance and counseling to the four
            stringent and, with respect to sex trafficking, commensurate with those         child victims identiﬁed in 2021 and referred the two adult victims to NGO-
            prescribed for other serious crimes, such as rape. The Children’s Act of        run services. The government continued to operate a shelter for female
            2020 also criminalized child sex trafficking and prescribed penalties of        child sex trafficking victims that could host up to 32 children. Officials
            up to 10 years’ imprisonment.                                                   reported providing services to 23 children at the shelter, compared
            The government reported initiating four investigations into seven               with 34 children during the previous reporting period. The government
            suspects, compared with four investigations into 11 suspects in 2020.           allocated 13.2 million Mauritian rupees ($301,710) to the shelter in 2021,
            Speciﬁcally, authorities investigated one adult sex trafficking case and        compared with 11 million rupees ($251,430) in 2020. An international
            three child sex trafficking cases; the government did not report any            organization reported partnering with the government to repatriate at
            law enforcement efforts related to forced labor. All four investigations        least ﬁve foreign victims identiﬁed in previous reporting periods. The
            remained ongoing at the end of the reporting period. The government             MPF in Vacoas continued to oversee the country’s only trafficking-
            initiated one prosecution from a 2014 sex trafficking case, compared with       speciﬁc adult shelter; while the shelter was dedicated to male victims,
            two prosecutions initiated in 2020. The government reported at least            police reportedly allowed for the accommodation of female victims on
            21 investigations and 17 prosecutions remained ongoing from previous            an ad hoc basis. The government, in partnership with an international
            reporting periods; however, the government did not provide updates              organization, began renovations to the shelter. Despite remaining
            on these cases. The government convicted two traffickers in three               operational during the renovations, the government has not reported
            cases, compared with one conviction in 2020. Courts sentenced one               assisting any victims at the shelter since it opened in 2019. In practice,
            trafficker to six months’ imprisonment for adult sex trafficking. Courts        the government referred adult female victims to NGO-run shelters for
            also sentenced one trafficker in two separate child sex trafficking cases       victims of domestic violence or adults involved in commercial sex with
            to ﬁve years’ imprisonment in one case and six months’ imprisonment             drug addictions, where the NGOs provided shelter, medical assistance,
            for the other. Courts ordered the trafficker, who was already in prison         and psychosocial services. The government continued to require some
            serving a four-year sentence for a previous child sex trafficking conviction,   adult foreign victims to participate in investigations, denying their
            to serve part of the sentence concurrently for a total of seven years’          requests for repatriation; observers reported police sometimes held
            imprisonment. The government continued to provide lenient sentences to          victims’ passports until completion of the investigation. Due to a lack of
            ﬁrst-time offenders of many crimes, including trafficking; this approach        formal identiﬁcation procedures and gaps in understanding of human
            weakened deterrence and did not adequately address the nature of the            trafficking among some law enforcement officers, authorities may have
            crime. The government did not report any investigations, prosecutions,          detained, arrested, and deported some unidentiﬁed trafficking victims,
            or convictions of government officials complicit in human trafficking           particularly women involved in commercial sex or foreign nationals who
            crimes. In response to the pandemic, the government issued stay-at-home         had overstayed their visas.
            orders for a small segment of the reporting period; during this time, all       The 2009 anti-trafficking law provided victims limited legal alternatives
            police officers, including those mandated to investigate trafficking crimes,    to removal to countries in which they would face hardship. The law
            were assigned to oversee pandemic-related guidelines and procedures,            authorized the Minister of Home Affairs to allow a foreign trafficking
            such as mask wearing, curfews, social distancing, and mandatory                 victim to remain in the country for up to 42 days before deportation and
            quarantines. Courts continued to experience a backlog of cases, which           to issue a temporary residence permit if the victim agreed to cooperate
            was exacerbated by pandemic-related court closures in 2020.                     with the investigation and prosecution of the trafficking case. The law also
            The Mauritius Police Force (MPF) maintained an ad hoc internal                  separately allowed the Minister of Home Affairs to extend the trafficking
            coordination committee to combat trafficking, as well as a “human               victim’s permit on humanitarian grounds. The Ministry of Home Affairs
            rights desk,” which employed two police officers trained on trafficking         did not report issuing any such permits during the reporting period.
            crimes, that served as a resource for other police units. The Mauritius         Since July 2021, the Ministry of Labor (MOL) was able to grant migrant
            Police Training School continued to provide anti-trafficking courses to         workers a “special open permit” to allow victims to continue working
            new law enforcement officers and trafficking-speciﬁc training modules to        in Mauritius during ongoing trafficking investigations; the government
            mid-level officers. Despite these training efforts, some law enforcement        provided one “special open permit” during the year. The government
            officers continued to lack an understanding of the anti-trafficking law.        lacked formal policies and procedures to provide protective services for
            Similar to previous years, proper investigations, including collection of       and encourage trafficking victims’ participation in investigations and
            evidence and adequate witness testimony, remained difficult for law             prosecutions, and there was no witness protection program for victims.
            enforcement to conduct, often leading to lengthy and poor investigations        Courts reportedly allowed victims to provide testimony via video or
            and prosecutions. While law enforcement and prosecutors reported                written statement, and if a victim was a witness in a court case against
            continued case conferencing, coordination required further improvement;         a former employer, they could obtain employment, move freely within
            additionally, the judicial process continued to be prohibitively long—          the country, or leave the country pending trial proceedings; however, in
            frequently many years—which at times dissuaded victims from seeking             practice, government officials expected victims to testify against their
            legal redress through civil suits.                                              trafficker in-person. The anti-trafficking law allowed the courts to award
                                                                                            a victim up to 500,000 rupees ($11,430) in restitution from the convicted
                                                                                            trafficker; however, courts did not award restitution to victims. The law
                                                                                            also allowed victims to ﬁle civil suits against their alleged traffickers for

 382                                                                                                                                      Haiti AR_000863
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 488 of 729




                                                                                                                                                              MEXICO
compensation for damages exceeding the amount of restitution awarded          from Bangladesh, India, Madagascar, Sri Lanka, and Nepal—some of
during criminal proceedings; however, civil suits could be prohibitively      whom traffickers subject to forced labor. Employers operating small-
expensive and lengthy, and no victims ﬁled such suits.                        and medium-sized businesses employ migrant workers, primarily from
                                                                              Bangladesh, who have been recruited through private recruitment
PREVENTION                                                                    intermediaries, usually former migrant workers now operating as
The government maintained efforts to prevent trafficking. The Prime           recruiting agents in their country of origin; labor trafficking cases are
Minister’s Office led government anti-trafficking efforts. The Inter-         more common in these enterprises than in larger businesses, which
Ministerial Committee on Trafficking in Persons, chaired by the attorney      recruit directly without the use of intermediaries. Despite Mauritian law
general’s office and designed to coordinate interagency policies to           prohibiting the practice, employers routinely retain migrant workers’
combat trafficking, met for the ﬁrst time since 2019. The National Steering   passports to prevent them from changing jobs, enhancing vulnerability
Committee on Trafficking in Persons, a working-level technical committee      to forced labor.
under the senior-level inter-ministerial committee, continued to meet
regularly to coordinate daily operations on anti-trafficking efforts. The
MWFWCD, including the National Children’s Council and the CDU, led
government efforts to combat child trafficking; there continued to be          MEXICO: TIER 2
confusion within the government on which department was responsible
for addressing adult sex trafficking. The government, in partnership
                                                                              The Government of Mexico does not fully meet the minimum standards
with an international organization, began drafting an updated NAP
                                                                              for the elimination of trafficking but is making signiﬁcant efforts to do
to combat trafficking; the government has not had a NAP since 2013,
                                                                              so. The government demonstrated overall increasing efforts compared
which continued to hinder progress among various agencies mandated
                                                                              to the previous reporting period, considering the impact of the COVID-19
to work on anti-trafficking efforts. The government held awareness
                                                                              pandemic on its anti-trafficking capacity; therefore Mexico remained on
campaigns targeting frontline workers, local committees, and migrant
workers on recognizing trafficking indicators and reporting potential         Tier 2. These efforts included prosecuting and convicting more traffickers;
trafficking crimes. The government reported that pandemic-related             identifying more victims; and arresting two former public officials for
closures of schools and community centers limited in-person awareness         allegedly running a sex trafficking operation. Courts convicted more
campaigns, typically run by the MWFWCD, targeting students, parents,          labor traffickers, including some who exploited children by forcing them
and teachers. The MWFWCD continued to operate a 24-hour hotline               to transport illegal substances. However, the government did not meet
to report child abuse, including potential trafficking crimes; however,       the minimum standards in several key areas. The government failed to
it did not report call data related to trafficking.                           allocate funds to a legally-required victim assistance fund; authorities did
                                                                              not consistently employ a victim-centered approach; and overall services
The MOL continued to conduct individual sessions with foreign workers         for victims were inadequate. The government did not improve efforts
upon arrival to Mauritius to inform them of their rights, including           to screen for indicators of trafficking among vulnerable populations
producing relevant documents in their native language. The MOL’s Special
                                                                              and refer possible victims to service providers. Fraudulent recruitment
Migrant Workers Unit, responsible for monitoring and protecting all
                                                                              practices continued to be widespread, but the government did not take
migrant workers and conducting routine inspections of their employment
                                                                              steps to hold recruiters or labor agents accountable.
sites, responded to complaints from migrant workers and conducted
routine onsite labor inspections; however, the unit was not trained
on trafficking and did not report identifying any trafficking victims                 MEXICO TIER RANKING BY YEAR
during these inspections or referring any potential violations for further        1
investigation. Although the MOL was required to approve all employment            2
contracts before migrant workers entered the country, some migrant
                                                                                2WL
workers reportedly continued to enter the country with contracts that
were incomplete or had not been translated into languages the workers             3
could read. The Recruitment of Workers Act and Regulations allowed                      2015      2016      2017    2018   2019    2020    2021     2022
recruiting agencies to charge recruitment fees ranging from 100 to 200
rupees ($2 to $5) and a commission of not more than 10 percent on the
ﬁrst month’s earnings of persons placed in employment. In response to
the pandemic, the government closed the country’s borders for a portion       PRIORITIZED RECOMMENDATIONS:
of the reporting period; during the lockdown, the MOL extended the            Develop, implement, and fund a national strategic action plan on victim
work visas of migrant workers who had reached the end of their stay           services, in consultation with international organizations and NGOs, to
and allowed migrant workers employed by companies that permanently            include shelters, comprehensive services, and reintegration support for
closed to transition to other jobs. The government did not make efforts       all victims, including men and boys, LGBTQI+ individuals, and Indigenous
to reduce the demand for commercial sex acts.                                 persons. • Develop and implement standardized operating procedures
                                                                              (SOPs) for front-line officials to proactively identify victims among
TRAFFICKING PROFILE                                                           vulnerable groups in Mexico and overseas—including individuals in
As reported over the past ﬁve years, human traffickers exploit domestic       commercial sex, children apprehended for illicit gang-related activities,
and foreign victims in Mauritius. Peers, signiﬁcant others, family members,   Cuban medical professionals, and migrants, including migrant workers—
or businessmen offering other forms of employment exploit girls               and refer them to service providers for assistance. • Increase efforts
from across the country in child sex trafficking. Taxi drivers knowingly      to investigate and prosecute trafficking crimes, including forced labor
transport child sex traffickers to their victims with whom they engage        and those involving complicit officials, at both the federal and state
in commercial sex acts; taxi drivers also transport victims to traffickers.   levels. • Increase and institutionalize anti-trafficking training for police,
Traffickers exploit girls from poor neighborhoods, an especially vulnerable   prosecutors, judges, immigration authorities, and service providers, with
population, in sex trafficking. Increasingly, guesthouse owners exploit       a focus on applying trauma-informed, victim-centered procedures. •
Malagasy women, recruited under false pretenses of employment                 Provide improved security to victims and witnesses testifying against
or tourism, in sex trafficking. Traffickers may also exploit children         traffickers, and ensure victims are not unlawfully detained, coerced into
in sex trafficking on Rodrigues Island, an autonomous territory of            testifying, or otherwise re-traumatized. • Allocate funds to a legally-
Mauritius. Traffickers, in partnership with criminal networks in Russia and   required victim assistance fund to cover restitution payments convicted
Kazakhstan, recruit Belarusian, Russian, and Ukrainian women to move          traffickers are unable to pay and develop a mechanism to ensure
to Mauritius, under the guise of a marriage agency, then subsequently         victims receive court-ordered payments. • Strengthen the labor law to
exploit them in sex trafficking. Traffickers exploit Malagasy women who       adequately criminalize and establish stringent penalties for recruitment
transit Mauritius in forced labor, primarily in domestic servitude and sex    practices that facilitate trafficking, and increase enforcement to punish
trafficking in the Middle East. Mauritius’ manufacturing and construction     employers and labor recruiters for violations. • Enact anti-trafficking
sectors employ approximately 35,550 foreign migrant workers—primarily         legislation and establish specialized anti-trafficking prosecution units in
                                                                                                                                  Haiti AR_000864             383
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 489 of 729
MEXICO   all states. • Enact, implement, and allocate sufficient resources toward a     California, and Nuevo Leon conducted more than half of all investigations
         new national action plan (NAP) that is coordinated across federal, state,      in 2020, while authorities in Durango, Guanajuato and Colima did not
         and local authorities. • Conduct culturally-relevant awareness campaigns       investigate any suspected cases. The government identiﬁed the states of
         in local languages targeted for rural and Indigenous communities. •            Veracruz, Tlaxcala, and Guerrero as having a high trafficking prevalence,
         Strengthen data collection efforts.                                            but authorities in these states did not convict any traffickers for at least
                                                                                        the second consecutive year. Local experts reported insufficient funding
         PROSECUTION                                                                    for prosecutors in these states led them to charge suspects with crimes
         The government increased law enforcement efforts, but it did not               they believed easier to prove. The government trained 820 state and
         provide complete data on investigations, prosecutions, and convictions         local police officers across ten states on anti-trafficking protocols. The
         at the federal and state levels. The 2012 anti-trafficking law criminalized    Special Prosecutor for Violence Against Women and Trafficking in
         sex trafficking and labor trafficking, prescribing penalties of ﬁve to 30      Persons (FEVIMTRA) held four virtual anti-trafficking training sessions
         years’ imprisonment and ﬁnes for sex trafficking crimes and ﬁve to 20          for 749 of its employees.
         years’ imprisonment and ﬁnes for labor trafficking. These penalties were
                                                                                        Corruption and official complicity in trafficking crimes remained concerns,
         sufficiently stringent and, with respect to sex trafficking, commensurate
                                                                                        inhibiting law enforcement action during the year. Some government
         with those prescribed for other serious crimes, such as rape. The law
                                                                                        officials facilitated or participated in trafficking crimes. The government
         deﬁned trafficking broadly to include illegal adoption without the purpose
                                                                                        operated a hotline and website open to the public for the anonymous
         of exploitation. Federal officials had jurisdiction over all international
                                                                                        reporting of suspected corruption involving public officials, but it did
         trafficking cases, all cases that took place on federally administered
                                                                                        not report receiving any trafficking-related tips. In 2021, authorities
         territory involving organized crime, and all cases involving allegations
                                                                                        investigated and detained a public servant for alleged involvement
         against government officials. States investigated other internal trafficking
                                                                                        in child sex trafficking crimes, but they did not provide details on the
         cases. Thirty states had trafficking laws. The 2012 law obligated states
                                                                                        status of the investigation or whether charges had been ﬁled. During
         to have a dedicated human trafficking prosecutor; 31 of 32 states had
                                                                                        the reporting period, authorities arrested and charged two former
         established specialized anti-trafficking prosecutors or units. Local
                                                                                        employees of a national political party, including its former leader, for
         experts reported prosecutors sometimes charged suspects with crimes
                                                                                        allegedly running a sex trafficking operation with party resources; one
         they believed were easier to prove, such as homicide or kidnapping,
                                                                                        additional suspect apprehended in the prior reporting period remained in
         particularly in states where prosecutors’ offices were underfunded. The
                                                                                        custody and two other suspects were not apprehended. The government
         2019 Asset Forfeiture Law allowed authorities to seize traffickers’ assets.
                                                                                        did not provide updates in the case of the former governor of Puebla,
         In July 2021, the Supreme Court denied a request for an injunction ﬁled
                                                                                        arrested in February 2021 for ordering the 2005 torture and illegal arrest
         by suspects who argued that the separate charges they faced for sex
                                                                                        of a journalist who exposed the official’s alleged involvement in a child
         trafficking and sexual exploitation amounted to being judged twice for
                                                                                        sex trafficking ring. The government did not convict any officials for
         the same crime. The court deemed that each charge involved separate
                                                                                        complicity in trafficking crimes.
         actions and upheld the government’s ability to prosecute suspects for
         both crimes.
                                                                                        PROTECTION
         Authorities initiated at least 35 federal investigations and 621 state         The government maintained protection efforts, identifying more victims;
         investigations in 2021, compared with 55 federal investigations and 550        however, it did not provide adequate services to victims. The government
         state investigations in 2020, and 133 federal investigations and at least      reported identifying 744 victims in 2021, compared with 673 victims in
         544 state investigations in 2019. Federal investigations included 23 sex       2020, and 658 victims in 2019. The government provided only partial
         trafficking cases, ﬁve labor trafficking cases, and seven cases involving      disaggregated data on the identiﬁed victims: in the ﬁrst eight months
         unspeciﬁed exploitation. Federal authorities initiated prosecution             of 2021, identiﬁed victims included 392 individuals subjected to sex
         of 31 suspected traffickers and continued 45 prosecutions opened               trafficking, 56 subjected to forced labor, and 66 not speciﬁed and at
         in previous years for a total of 76 federal prosecutions in 2021. In           least 15 victims were from other countries. An NGO that operated a
         comparison, authorities initiated prosecutions of 40 suspects and              national hotline dedicated to human trafficking reports received 1,864
         continued prosecutions of 35 suspects in 2020. The government reported         trafficking-related calls—originating from throughout the country—and
         state-level prosecutions in 22 states for a total of 95 suspects prosecuted.   identiﬁed more than 196 victims from these calls; 43 investigations
         In comparison, the government reported state-level prosecutions in 14          resulted from calls to the hotline. In 2021, Mexican consular officials
         states for a total of 51 suspects prosecuted in 2020. Although federal         identiﬁed and assisted 1,352 Mexican nationals who were in vulnerable
         authorities did not issue any convictions in 2021, state authorities           situations or victims of crimes including human trafficking in other
         convicted 75 traffickers, including 65 sex traffickers and 10 labor            countries; 86 were victims of forced labor. In comparison, authorities
         traffickers, two of whom forced children to transport illicit substances.      abroad identiﬁed and assisted 313 Mexican victims of human trafficking
         This was an overall increase from 49 traffickers convicted in 2020 and         in the ﬁrst six months of 2020.
         29 traffickers convicted in 2019. Nonetheless, a lack of coordination
                                                                                        Immigration officials implemented a formal screening, identiﬁcation, and
         among labor inspectors, criminal justice authorities, and service providers
                                                                                        care protocol to identify and refer potential trafficking victims during
         hampered efforts to hold labor traffickers criminally accountable and
                                                                                        initial immigration veriﬁcation, and immigration officials identiﬁed 15
         provide comprehensive assistance for labor trafficking victims. The
                                                                                        trafficking victims during the year. In the previous reporting period,
         government issued sentences for convicted traffickers ranging from 3
                                                                                        authorities agreed to modify this protocol to require screening among
         years to 135 years’ imprisonment, and also ordered many to pay ﬁnes
                                                                                        migrants in detention centers and requested assistance from an
         and restitution. The Secretariat of Finance’s Financial Intelligence Unit
                                                                                        international organization in drafting updated guidance; however,
         (UIF) reported suspicious ﬁnancial transactions and its intelligence
                                                                                        authorities did not complete these revisions during the year. Consular
         uncovered 201 possible cases of trafficking in 2021, compared with
                                                                                        officials followed a protocol for identifying and providing assistance to
         230 reports of suspicious ﬁnancial transactions allegedly related to
                                                                                        Mexican victims abroad, and some other agencies followed informal
         trafficking in 2020. Over the three-year period 2019-2021, UIF froze
                                                                                        victim referral procedures. Labor inspectors had a protocol for identifying
         1,617 bank accounts and more than $52 million in funds connected to
                                                                                        suspected forced labor victims during routine inspections of formally-
         human trafficking crimes.
                                                                                        registered businesses and farms, but local observers reported a lack of
         Mexican prosecutors collaborated on 13 cases with authorities from other       coordination with other secretariats to facilitate criminal investigations
         countries. State-level specialized prosecution units, whose capacity levels,   and victim assistance. Across the government, victim referral from ﬁrst
         staffing, and funding varied widely, had the primary responsibility for        responders was largely ad hoc and procedures varied from state to state,
         enforcing anti-trafficking laws throughout the country. Prosecutor offices     with most shelters relying on prosecutors to identify and refer victims.
         in rural and Indigenous communities were particularly understaffed and         Most government officials lacked SOPs to proactively identify potential
         lacked sufficient resources to effectively prosecute trafficking crimes.       victims of trafficking within vulnerable groups and systematically refer
         Coordination across state and federal levels continued to be slow.             them to service providers. NGOs reported authorities at all levels of
         Authorities from the four states of Mexico City, State of Mexico, Baja         government lacked sufficient understanding of trafficking laws and failed

 384                                                                                                                                 Haiti AR_000865
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 490 of 729




                                                                                                                                                             MEXICO
to effectively identify and refer potential victims. In Puebla, a state the   and migrants in detention facilities. NGOs reported authorities sometimes
government identiﬁed as among those with the highest prevalence of            unlawfully detained victims on trafficking charges and some officials
trafficking, state authorities referred only three victims to the state’s     utilized shelters as detention facilities for victims until their cases were
only trafficking victim shelter in 2021. The government provided training     completed. Trafficking victims among migrants and asylum-seekers
on identifying and assisting trafficking victims to officials from several    were often fearful of reporting abuses due to a mistrust of authorities
agencies including 800 staff from state attorneys general offices; 487        and fears of punishment or other repercussions. Authorities initially
Department for Family Development (DIF) officers; 2,100 immigration           charged a child sex trafficking victim in Queretaro with sex trafficking
officials; and 1,465 additional government officials.                         crimes, but later withdrew the charges and ﬁled a new case naming
                                                                              her as a victim; in October 2021, courts convicted the sex trafficker
Federal and state agencies generally offered victims emergency
                                                                              who exploited her and several other victims. The government did not
assistance such as medical care, food, and housing in temporary or
                                                                              report whether it complied with a CNDH recommendation, issued
transitional homes, and other services such as psychological care, legal
                                                                              in January 2021, to provide compensation to a sex trafficking victim
assistance, and access to education or employment opportunities, often
                                                                              whose human rights authorities violated by detaining her in a migrant
in partnership with NGOs. However, victim services varied throughout
                                                                              detention center in 2018.
the country; were unavailable in some regions; and were particularly
inadequate for male victims, forced labor victims, and victims in rural       The anti-trafficking law stipulated authorities must apply the principle
areas. NGOs reported the government provided insufficient funding             of “maximum protection” to victims and witnesses, including protecting
for critical victim services and victims in most states did not receive       individuals’ identities and providing name and residence changes to
sufficient government assistance. Medical and psychological support           victims affected by organized crime. Nonetheless, identifying information
often did not extend beyond cursory evaluations; shelters at both the         sometimes became publicly available in high-proﬁle cases and many
state and local levels typically housed victims only for the duration of      victims feared identifying themselves or testifying against traffickers in
a criminal trial; and long-term reintegration services were very limited,     court under the accusatorial system. Courts permitted victims to provide
leaving victims highly vulnerable to re-exploitation.                         testimony via closed circuit television. NGOs reported officials often re-
                                                                              traumatized victims through a lack of sensitivity, victim shaming, and
The government did not provide complete data for victims receiving
                                                                              the lack of adequate protection for victims during criminal proceedings.
services. FEVIMTRA continued to operate a high-security shelter in
                                                                              Experts expressed concern prosecutors coerced some victims to testify
Mexico City that could accommodate 50 female victims and their children
                                                                              during judicial proceedings. Authorities’ failure to employ victim-centered
for up to three months while victims participated in legal processes; the
                                                                              procedures, combined with an overall lack of specialized services and
shelter served 79 trafficking victims during the year. NGOs expressed
                                                                              security, disincentivized victims from ﬁling complaints or participating in
concerns the high security measures, including victims’ inability to leave
                                                                              investigations and prosecutions. Women, Indigenous persons, LGBTQI+
the shelter unaccompanied, may have re-traumatized some victims.
                                                                              individuals, and migrants experienced discrimination within the judicial
The states of Mexico, Chiapas, and Mexico City continued operating
                                                                              system that limited their access to justice.
six government-funded trafficking shelters. In total, seven states had
specialized government or NGO shelters for trafficking victims, and four      The Secretariat of the Interior (SEGOB) had a unit responsible for
states had agreements in place that allowed them to refer trafficking         supporting access to justice and compensation for victims of federal
victims to shelters in another state. The government and NGOs operated        crimes, but the government did not provide it with sufficient funding
additional shelters that served other vulnerable populations and could        and trained personnel, limiting its ability to provide this support to
accept trafficking victims but did not provide specialized services. There    trafficking victims. The national-anti trafficking law required judges in
were no government or NGO trafficking shelters available for male             criminal cases at both the state and federal levels to order traffickers
victims older than 13, and 12 states lacked any shelters that accepted        to pay restitution to victims. One victim received 57,500 Mexican pesos
trafficking victims. NGOs operated the majority of shelters that served       (USD 2,800) in restitution. However, the majority of victims who were
trafficking victims. Most shelters offered medical, psychological, and        awarded restitution did not receive these funds, and the government
legal assistance for victims, but the level of care and quality of services   did not create a legally-required fund to cover restitution payments
varied widely. Government officials provided services such as security        perpetrators could not pay. The government anti-trafficking commission
or transportation to some NGO shelters. Government centers for crime          continued funding an international organization to develop a national
victims provided some trafficking victims with emergency services, as         information system to track the number of victims identiﬁed, referred,
did state-level prosecutorial, social service, and human rights offices.      and assisted across the country, but the pandemic delayed the system’s
Many NGOs continued to alter or limit their operations in response            implementation.
to pandemic-related funding cuts from donors or necessary isolation
measures. Shelters reported assisting fewer victims due to limited            PREVENTION
staffing and to limit the spread of the COVID-19 virus. The National          The government maintained prevention efforts. The anti-trafficking
Institute of Social Development provides funding to women’s shelters,         commission, led by SEGOB, coordinated efforts among government
including shelters that accept victims of trafficking; in 2021, three NGOs    agencies and civil society organizations. Local experts reported the
operating trafficking shelters submitted requests for funding and received    commission was effective in promoting participation of stakeholders
approximately 11 million pesos ($535,780) through this program.               from academia, NGOs, and international organizations, and it encouraged
                                                                              transparency at its regular meetings and in its ﬁve permanent working
The government reported providing temporary immigration relief through
                                                                              groups. The government lacked a national anti-trafficking action plan
humanitarian visas to 13 trafficking victims in 2021. Humanitarian visas
                                                                              (NAP) for a third year, following the previous plan’s expiration in 2018.
enabled foreign trafficking victims to legally remain and work in the
                                                                              The anti-trafficking commission drafted a new NAP and submitted
country up to one year, and could be extended; this beneﬁt was not
                                                                              it to the Secretariat of Finance for approval. In December 2021, the
dependent on a victim’s willingness to participate in a criminal trial.
                                                                              government approved the Comprehensive Program to Prevent, Address,
Government officials and NGOs acknowledged barriers to victims
                                                                              Punish and Eradicate Violence against Women 2021-2024; the program
receiving humanitarian visas, including authorities’ failure to identify
                                                                              includes activities to combat trafficking crimes against women, including
eligible foreign trafficking victims, insufficient efforts to make victims
                                                                              harmonizing state and municipal regulations to strengthen coordination
aware of the process for obtaining such relief, and the lengthy wait times
                                                                              between police and commercial establishments and implementing
for processing requests. FEVIMTRA coordinated with local embassies
                                                                              campaigns to identify and prevent risk factors in areas with high
to provide legal, administrative, and consular assistance to victims from
                                                                              trafficking prevalence.
Brazil, Colombia, Honduras, Paraguay, and Venezuela and repatriated
six victims to their home countries.                                          The government conducted a variety of anti-trafficking training and
                                                                              awareness programs for government officials and members of the
The law provided victims with protection from punishment for unlawful
                                                                              public. The National Human Rights Commission (CNDH) held 63 virtual
acts traffickers compelled them to commit. However, the government
                                                                              and in-person training events for 11,800 government officials across
lacked formal procedures to identify victims among vulnerable groups,
                                                                              sectors including health and child services, tourism, state and municipal
including children apprehended for alleged gang-related criminal activity
                                                                                                                                Haiti AR_000866              385
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 491 of 729
MEXICO   government, state human rights commissions, state police, and other         of children reportedly increased during the year. Transgender persons
         ﬁrst responders. The Secretariat of Welfare conducted a series of in-       are particularly vulnerable to sex trafficking. Traffickers increasingly use
         person and online events to raise awareness of trafficking, reaching        the internet, particularly social media, to target and recruit potential
         one million people across the country. Several government entities          victims. Traffickers exploit Mexican adults and children in forced labor
         conducted campaigns on social media to educate members of the public        in agriculture, domestic service, child care, manufacturing, mining, food
         on trafficking and encourage victims and witnesses to report possible       processing, construction, tourism, begging, and street vending in Mexico
         cases to authorities. Nonetheless, awareness and understanding of           and the United States. Traffickers commonly exploit day laborers and their
         trafficking, particularly forced labor, remained low among the public.      children in forced labor in Mexico’s agricultural sector, with most victims
         Experts noted prevention campaigns insufficiently reached high-risk         coming from economically vulnerable and Indigenous populations.
         groups such as children, rural and Indigenous communities, and non-         Individuals migrate from the poorest states to the agricultural regions to
         Spanish speakers.                                                           harvest vegetables, coffee, sugar, and tobacco; many receive little or no
                                                                                     pay or time off; endure inhumane housing conditions without access to
         The government did not allocate sufficient resources or personnel
                                                                                     adequate food, clean water, or medical care; and are denied education for
         to the Secretariat of Labor and Social Welfare to effectively enforce
                                                                                     children. Some employers withhold weekly wages to compel agricultural
         labor laws, although it signiﬁcantly increased the budget for labor law
                                                                                     workers to meet certain harvest quotas or continue working until the
         enforcement. Furthermore, labor inspectors had a limited mandate
                                                                                     end of the harvest. Recruiters frequently employ deceptive recruitment
         for conducting oversight of working conditions in informal businesses
                                                                                     practices and charge unlawful fees to place agricultural workers in Mexico
         and farms—which employed more than half of Mexican workers—and a
                                                                                     and the United States; many workers are promised decent wages and a
         24-hour advance notice requirement for routine inspections hampered
                                                                                     good standard of living, then subsequently compelled into forced labor
         their effectiveness when they did occur. Authorities conducted very
                                                                                     through debt bondage, threats of violence, and non-payment of wages.
         few inspections in major farming states where abuses allegedly were
                                                                                     NGOs estimated traffickers increasingly exploited individuals in forced
         rife, investigated few complaints, and lacked effective coordination
                                                                                     labor in Mexico. The vast majority of foreign victims of forced labor and
         mechanisms to provide identiﬁed victims with appropriate services and
                                                                                     sex trafficking in Mexico are from Central and South America, particularly
         access to criminal justice. The labor law lacked provisions criminalizing
                                                                                     El Salvador, Guatemala, Honduras, and Venezuela—with Venezuelan
         fraudulent recruitment and contract practices that made many workers
                                                                                     victims increasing in recent years; traffickers exploited some of these
         vulnerable to trafficking. The law prohibited recruiters and labor agents
                                                                                     victims along Mexico’s southern border. NGOs and the media report
         from charging fees to workers and employers from passing agency fees
                                                                                     victims from the Caribbean, Eastern Europe, Asia, and Africa have also
         to workers in the form of wage deductions; however, the law did not
                                                                                     been identiﬁed in Mexico, some en route to the United States. Among
         establish penalties for these practices and recruiters and employers
                                                                                     the Cuban medical professionals the government contracted to assist
         continued to commit them with impunity. The law required employers
                                                                                     during the pandemic, some may have been forced to work by the Cuban
         to pay wages weekly, but the government did not effectively enforce
                                                                                     government. Thousands of Ukrainian refugees, predominantly women
         this provision against employers who withheld wages to compel workers
                                                                                     and children who are ﬂeeing Russia’s war on Ukraine, have arrived in
         to meet certain quotas or continue working for a certain length of time.
                                                                                     northern Mexican border cities seeking sanctuary in the United States
         Civil contract law covered some fraudulent recruitment practices, but
                                                                                     and are vulnerable to trafficking.
         there was no evidence the government used these or other statues to
         hold recruiters or employers accountable.                                   Organized criminal groups proﬁt from sex trafficking and force Mexican
                                                                                     and foreign adults and children to engage in illicit activities, including
         A reform to Mexico’s Migration and Refugee Law came into effect in
                                                                                     as assassins, lookouts, and in the production, transportation, and sale of
         January 2021, requiring authorities to issue temporary documents to
                                                                                     drugs. Experts expressed particular concern over the forced recruitment
         undocumented migrant children and their adult caregivers, granting
                                                                                     of Indigenous children by organized criminal groups, who use torture and
         legal presence in Mexico while the government conducted a best interest
                                                                                     credible threats of murder to exploit these children in forced criminality.
         determination for the child. Local observers expressed concerns that
                                                                                     Criminal groups exploit thousands of children in Mexico to serve as
         the law did not protect unaccompanied children from exploitation, as
                                                                                     lookouts, carry out attacks on authorities and rival groups, or work in
         it did not require adults to prove their relationship to the child. The
                                                                                     poppy ﬁelds. Observers also expressed concern over recruitment of
         government did not enact a prohibition against the importation of goods
                                                                                     recently deported Mexican nationals and foreign migrants by organized
         produced by forced labor, as required by a trade agreement ratiﬁed by
                                                                                     criminal groups for the purpose of forced criminality. Migrants and
         the Mexican legislature. The Secretariat of Tourism collaborated with an
                                                                                     asylum seekers in or transiting Mexico are vulnerable to sex trafficking
         NGO to hold 19 virtual and in-person trainings on a public-private code
                                                                                     and forced labor, including by organized criminal groups; this risk is
         of conduct on the protection of children in the tourism sector, reaching
                                                                                     particularly high for migrants who rely on smugglers. Observers, including
         more than 10,000 employees of 148 hotels nationwide. NGOs reported
                                                                                     Mexican legislators, noted links between violence against women and
         the government’s lack of follow-up and enforcement efforts limited the
                                                                                     girls and between women’s disappearances, murders, and trafficking
         effectiveness of the code of conduct. The government participated in
                                                                                     by organized criminal groups. Observers reported potential trafficking
         a program with authorities in the United States to limit the entry into
                                                                                     cases in substance abuse rehabilitation centers, women’s shelters,
         Mexico of sex offenders convicted in the United States, but it did not
                                                                                     and government institutions for people with disabilities, including by
         report whether it denied entry to any sex offenders during the year.
                                                                                     organized criminal groups and facility employees. Trafficking-related
         The government did not investigate or prosecute any suspected child
                                                                                     corruption remains a concern. Some government officials collude with
         sex tourists. The government made efforts to reduce the demand for
                                                                                     traffickers or participate in trafficking crimes. Corrupt officials reportedly
         commercial sex acts by prosecuting and convicting individuals who
                                                                                     participate in sex trafficking, including running sex trafficking operations.
         purchased commercial sex acts from child trafficking victims.
                                                                                     Some immigration officials allegedly accept payment from traffickers
                                                                                     to facilitate the irregular entry of foreign trafficking victims into Mexico.
         TRAFFICKING PROFILE
         As reported over the past ﬁve years, human traffickers exploit domestic     NGOs reported child sex tourism remains a problem and continues to
         and foreign victims in Mexico, and traffickers exploit victims from         expand, especially in tourist areas and in northern border cities. Parents
         Mexico abroad. Groups considered most at risk for trafficking in Mexico     are sometimes complicit in exploiting their children in child sex tourism,
         include unaccompanied children, Indigenous persons, persons with            and children experiencing homelessness are believed to be at high
         mental and physical disabilities, asylum seekers and migrants, IDPs,        risk. Many child sex tourists are from the United States, Canada, and
         LGBTQI+ individuals, informal sector workers, and children in gang-         Western Europe; Mexican men also purchase sex from child trafficking
         controlled territories. Traffickers recruit and exploit Mexican women       victims. Authorities reported trafficking networks increasingly used
         and children, and to a lesser extent men, in sex trafficking in Mexico      cryptocurrencies to launder proceeds from their crimes. Economic
         and the United States through false promises of employment, deceptive       hardship resulting from the pandemic led some workers to accept loans
         romantic relationships, or extortion. The majority of trafficking cases     from their employers that left them highly vulnerable to debt bondage.
         occur among family, intimate partners, acquaintances on social media,
         or through employment-related traps. The online sexual exploitation

 386                                                                                                                                Haiti AR_000867
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 492 of 729




                                                                                                                                                             MICRONESIA, FEDERATED STATES OF
                                                                              The government investigated eight suspected trafficking crimes and
 MICRONESIA, FEDERATED                                                        prosecuted nine alleged traffickers, compared with no investigations and

 STATES OF: TIER 2                                                            four prosecutions the previous year. Media reported that the October
                                                                              2019 murder of the acting Attorney General of Yap may have been
                                                                              related to her prosecution work, including on human trafficking. The
The Government of the Federated States of Micronesia (FSM) does not           prosecution of the two defendants, begun in 2019, remained ongoing
fully meet the minimum standards for the elimination of trafficking but       at the end of the reporting period.
is making signiﬁcant efforts to do so. The government demonstrated
                                                                              Courts convicted nine sex traffickers and sentenced ﬁve of them during
overall increasing efforts compared with the previous reporting period,
                                                                              the reporting period, compared with four traffickers convicted the
considering the impact of the COVID-19 pandemic on its anti-trafficking
                                                                              previous year. Courts sentenced three traffickers to signiﬁcant prison
capacity; therefore FSM remained on Tier 2. These efforts included
                                                                              terms, for a total of 60 percent of traffickers serving signiﬁcant prison
identifying more trafficking victims, allocating funding for its third
                                                                              time of one year or longer. While the length of some sentences increased,
trafficking victim shelter, conducting trafficking awareness activities for
                                                                              approximately 40 percent of all trafficking convictions resulted in ﬁnes,
the public, and providing an annual budget to its anti-trafficking office.
                                                                              probation, or prison sentences of less than one year, which did not
Furthermore, the government increased investigations, prosecutions,
                                                                              serve to deter the crime or adequately reﬂect the nature of the offense.
and convictions of trafficking crimes, including initiating a prosecution
                                                                              Observers reported that longstanding concerns about lenient sentences
of a government official. However, the government did not meet the
                                                                              of a year or less, or sentences that were not served on consecutive days,
minimum standards in several key areas. The government remained
                                                                              created potential safety problems for trafficking victims and weakened
without comprehensive standard operating procedures (SOPs) for
                                                                              deterrence. The four other convicted traffickers’ sentences were pending
proactive victim identiﬁcation and referral to protection services, which
                                                                              in the Pohnpei State court. Authorities charged a government official
may have resulted in the penalization of unidentiﬁed victims. Despite
                                                                              with sex trafficking under the anti-trafficking law, as well as other crimes
some judicial officials’ limited understanding of the trauma victims
                                                                              under other laws. Authorities removed the official from duty while
experienced, the government did not report providing any trauma-
                                                                              pending trial. The government did not report any other investigations,
informed training activities for judicial officials.
                                                                              prosecutions, or convictions of government employees complicit in
                                                                              human trafficking crimes.
        MICRONESIA (FSM) TIER RANKING BY YEAR
                                                                              The Department of Justice (DOJ) assigned a full-time assistant attorney
    1
                                                                              general to prosecute all human trafficking cases. In addition, DOJ had
    2                                                                         three dedicated investigators who specialized in human trafficking: one in
  2WL                                                                         Chuuk, one in Pohnpei, and one in Kosrae. The government, in partnership
                                                                              with an international organization, trained law enforcement officials on
    3
          2015      2016      2017     2018     2019   2020   2021   2022     victim identiﬁcation and victim assistance. Compared with the previous
                                                                              reporting period, the government did not report providing training
                                                                              activities to judicial officials or health care providers. Judges lacked
                                                                              specialized training, and consequently, some judges lacked sensitivity to
PRIORITIZED RECOMMENDATIONS:                                                  trafficking issues and the trauma victims experienced, resulting in judges
 Increase efforts to investigate, prosecute, and convict traffickers and      sentencing traffickers to penalties that were disproportionately low to
sentence convicted traffickers to signiﬁcant prison terms, including          the severity of the crime. The government’s police academy training
victims’ family members and complicit officials who facilitate or directly    for new cadets included mandatory training on investigating trafficking
beneﬁt from trafficking. • Finalize, disseminate, and train officials on      cases and how to interview potential victims. Observers stated police
procedures for the proactive identiﬁcation and referral of trafficking        still required additional training on sex trafficking and investigation
victims to protective services. • Increase resources for protection           techniques. Police frequently did not investigate or charge those who
services for trafficking victims. • Screen for trafficking indicators among   abetted trafficking crimes, such as hotel owners, taxi drivers, and family
vulnerable groups, including individuals in commercial sex. • Increase        members. Government officials reported the lack of personnel, resources,
and institutionalize anti-trafficking training for police, prosecutors, and   and funding impaired anti-trafficking monitoring efforts of forced labor
judges, including on how to implement a victim-centered approach. •           or sex trafficking on vessels in Micronesian waters. The insular nature
Provide legal alternatives to the removal of foreign trafficking victims      of the small island communities at times protected traffickers and
to countries where they may face hardship or retribution. • Strengthen        impeded investigations.
efforts to implement the national action plan (NAP) and state-level plans,
including through staffing a governmental anti-trafficking secretariat.       PROTECTION
• Take steps to eliminate recruitment or placement fees charged to            The government increased efforts to protect victims. The government
workers by labor recruiters and ensure any recruitment fees are paid by       identiﬁed 13 sex trafficking victims, compared with four victims in the
employers. • Monitor foreign labor recruitment for trafficking indicators,    previous reporting period. In 2018, the government, in partnership
including the coercive use of debt. • Strengthen efforts to conduct anti-     with an international organization and State governments, ﬁnalized
trafficking awareness campaigns targeted to traditional leaders, health       and approved SOPs for victim assistance and referral for state law
care professionals, and the public, including those citizens of FSM who       enforcement; however, the national government remained without
might migrate for work overseas. • Allocate funding to the trafficking        comprehensive SOPs to proactively identify trafficking victims and
hotline, including for a trafficking victim psychologist.                     refer them to services. Due to a lack of formal identiﬁcation procedures,
                                                                              authorities may have deported some unidentiﬁed trafficking victims.
PROSECUTION                                                                   In addition, the current SOPs did not contain measures to screen for
The government increased law enforcement efforts. The national anti-          trafficking indicators among LGBTQI+ individuals, who were vulnerable
trafficking law criminalized sex trafficking and labor trafficking and        to trafficking.
prescribed penalties of up to 15 years’ imprisonment, a ﬁne of $5,000-
$25,000, or both for offenses involving adult victims, and up to 30           The government referred all 13 victims, including seven children, to
years’ imprisonment, a ﬁne of $5,000-$50,000, or both for offenses            an international organization for shelter and protective services. The
involving child victims. These penalties were sufficiently stringent and,     government, in partnership with an international organization, provided
with regards to sex trafficking, commensurate with penalties for other        counseling services and legal assistance to all 13 victims. The government
serious crimes, such as rape. Each of Micronesia’s four states had its own    allocated $15,000 to provide victim services to one victim, compared with
laws that criminalized trafficking crimes; however, Pohnpei and Chuuk         no funding reported the previous year. The government, in partnership
States did not explicitly prohibit adult sex trafficking. Cases prosecuted    with an international organization, provided one child victim with shelter,
at the state level may be heard subsequently at the national level, under     clothing, counseling, and food. In the previous reporting period, the
national anti-trafficking law, depending on which court hears a case.         government provided food, clothing, medical services, psychological

                                                                                                                                Haiti AR_000868              387
                           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 493 of 729
MOLDOVA, REPUBLIC OF   evaluation, counseling services, and academic and social integration          and men with promises of well-paying jobs in the United States and
                       support to two victims.                                                       its territories but upon their arrival they are subsequently forced into
                                                                                                     commercial sex, domestic servitude, or forced labor.
                       The government operated two shelters for victims of crime, including
                       trafficking victims: one in Pohnpei and another in Chuuk. The government
                       allocated funding for a third shelter in Kosrae and was planning for a
                       fourth shelter in Yap, which was not yet operational by the end of the
                       reporting period. Observers noted a need for the government to train           MOLDOVA, REPUBLIC OF: TIER
                       shelter staff on shelter management, victim care, shelter security,
                       and trafficking indicators. The government, in partnership with an             2
                       international organization, developed a “Service Provider” directory
                       of civil society organizations that could provide protective services         The Government of the Republic of Moldova does not fully meet the
                       to victims. During the previous reporting period, an international            minimum standards for the elimination of trafficking but is making
                       organization facilitated a port security project that included a component    signiﬁcant efforts to do so. The government demonstrated overall
                       on gender-based violence and trafficking victim identiﬁcation and             increasing efforts compared with the previous reporting period,
                       protection procedures; DOJ helped facilitate the project and was the          considering the impact of the COVID-19 pandemic on its anti-trafficking
                       lead agency for implementing victim-centered processes. In the same           capacity; therefore Moldova remained on Tier 2. These efforts included
                       year, DOJ, with assistance from an international organization, ﬁnalized a     convicting more traffickers, identifying signiﬁcantly more victims, and
                       needs assessment and action plan for the implementation of the project.       approving a new national action plan (NAP) with dedicated funds
                       The government reported pandemic restrictions delayed implementation          for implementation. The government provided more victims witness
                       of the project. The government funded a trafficking victim psychologist       protection services and established bilateral work agreements with
                       for the trafficking hotline; the government last allocated funding for this   European counterparts to support Moldovan workers abroad, including
                       in 2019. The trafficking hotline continued to operate 24 hours a day in       protecting workers’ rights and prohibiting recruitment fees, under
                       English and local languages. Courts ordered convicted traffickers to          government-sponsored frameworks. However, the government did
                       pay restitution to three victims. The government did not provide legal        not meet the minimum standards in several key areas. Authorities
                       alternatives to the removal of foreign trafficking victims to countries       investigated fewer trafficking cases and prosecuted fewer suspected
                       where they may face hardship or retribution.                                  traffickers. Corruption, particularly in law enforcement and the judiciary,
                                                                                                     impeded prosecutions and inﬂuenced the outcomes of cases, including
                       PREVENTION                                                                    cases against complicit officials, who often acted with impunity.
                       The government-maintained efforts to prevent trafficking. The Anti-           Persistent gaps in victim protection remained, including a limited
                       Human Trafficking Office within the DOJ coordinated the government’s          number of identiﬁed victims receiving state-funded assistance. In
                       anti-trafficking efforts. The office had a lead coordinator and dedicated     addition, traffickers continued to intimidate victims, and authorities
                       staff. The office conducted public awareness campaigns, developed             provided uneven levels of protection during court proceedings. Finally,
                       anti-trafficking training programs, provided victim protection services,      the lack of long-term reintegration support left victims susceptible to
                       and assisted in investigations. The government provided the office            re-victimization.
                       with an annual budget of $350,000 for operations and to implement
                       the NAP, compared with $150,000 the previous year. The government
                                                                                                              MOLDOVA, REPUBLIC OF TIER RANKING BY YEAR
                       reported it continued to implement its 2014 NAP and three of the four
                                                                                                          1
                       states had action plans linked to the NAP. Each of the four states had an
                       anti-trafficking task force composed of members of state and national              2
                       law enforcement, the legal community, medical and mental health                 2WL
                       professionals, immigration officials, and women’s empowerment and                  3
                       faith-based groups.                                                                      2015      2016      2017     2018         2019   2020   2021   2022
                       In partnership with an international organization, the government held
                       awareness campaigns targeting the Filipino community, women groups,
                       and youth groups. The government established a policy that required
                       labor recruiters to register with the government before conducting            PRIORITIZED RECOMMENDATIONS:
                       recruitment. The government did not report any efforts to monitor             Vigorously investigate, prosecute, and convict traffickers, including
                       foreign labor recruitment or provide information on safe migration and        complicit officials. • Eliminate selective prosecution and hold corrupt
                       human trafficking indicators to Micronesian nationals leaving to work         officials accountable by sentencing complicit officials to signiﬁcant prison
                       in other countries. Furthermore, the government did not report its            terms and ensure they serve those sentences in practice. • Implement
                       regulation of recruitment fees. While the government continued to report      measures to address corruption in the judicial sector and law enforcement
                       conducting awareness campaigns focused on destigmatizing individuals          community. • Proactively identify victims, particularly among vulnerable
                       in commercial sex and closing known commercial sex establishments,            groups, such as children in state institutions. • Implement formal victim
                       it did not report efforts to reduce the demand for commercial sex.            identiﬁcation and referral mechanisms for victim assistance throughout
                                                                                                     the country, especially in rural areas. • Ensure all identiﬁed victims receive
                       TRAFFICKING PROFILE                                                           state-funded assistance, including long-term assistance, regardless
                       As reported over the past ﬁve years, human traffickers exploit domestic       of their participation in court proceedings, particularly long-term
                       and foreign victims in FSM, and traffickers exploit victims from FSM          reintegration support, such as education, counseling, and job-placement.
                       abroad. Sex traffickers exploit Micronesian women and girls through           • Exempt all victims from the requirement of in-person confrontations
                       commercial sex with the crewmembers of docked Asian ﬁshing vessels,           with their accused traffickers and ensure specially equipped interview
                       crewmembers on vessels in FSM territorial waters, or foreign construction     rooms for child victims align with international standards. • Ensure
                       workers. Some family members exploit Micronesian girls in sex trafficking.    consistent use of laws and regulations designed to protect victims during
                       There are reports of children exploited in commercial sex facilitated         trial and prosecute perpetrators of witness tampering and intimidation
                       by taxi drivers. Local authorities claim many sex trafficking cases           to the full extent of the law. • Adopt and implement the new National
                       are unreported due to social stigma and victims’ fear of possible             Referral Mechanism (NRM). • Empower authorities to conduct onsite
                       repercussions in their home communities. LGBTQI+ individuals are              announced and unannounced labor inspections, regardless of whether
                       vulnerable to trafficking. Foreign and domestic employers in FSM              authorities receive written complaints or a risk assessment that indicates
                       exploit low-skilled foreign migrant workers in forced labor, including        an emergency or imminent threat. • Amend the law to allow authorities
                       in restaurants. Foreign migrants from Southeast Asian countries report        to inspect facilities when they have suspicions or visual evidence of
                       working in conditions indicative of human trafficking on Asian ﬁshing         businesses’ involvement in child labor, including forced child labor. •
                       vessels in FSM or its territorial waters. Traffickers recruit FSM women       Correctly and fully inform all victims about the assistance available at

    388                                                                                                                                                    Haiti AR_000869
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 494 of 729




                                                                                                                                                              MOLDOVA, REPUBLIC OF
the national and local levels. • Train police, judges, and prosecutors         noted prosecutors sent trafficking cases to court without sufficient
on a victim-centered approach to investigations and prosecutions. •            evidence collection and withheld case ﬁles from lawyers representing
Train relevant authorities, particularly social workers in regions outside     victims. Moreover, lengthy trials impeded justice and often led to the
of the capital, on understanding trafficking and assisting victims. •          acquittal of traffickers. Since ﬁnal verdicts could take years, and by
Formalize government oversight of private employment agencies,                 law, authorities could only detain suspects for 12 months, authorities
including monitoring for and penalizing any recruitment fees charged           released suspected traffickers before trials concluded, enabling them
to applicants. • Conduct national awareness campaigns targeting                to ﬂee the country or retaliate against witnesses.
vulnerable populations.
                                                                               Prosecutors at every level, from the Prosecutor General’s Office
                                                                               (PGO) to regional territorial prosecution offices, were responsible
PROSECUTION                                                                    for prosecuting trafficking crimes. The PGO maintained a unit with
The government maintained law enforcement efforts. Articles 165 and 206
                                                                               specialized prosecutors, who coordinated anti-trafficking prosecution
of the criminal code criminalized sex trafficking and labor trafficking. The
                                                                               policies and supervised the work of regional territorial prosecutors when
law prescribed penalties of six to 12 years’ imprisonment for trafficking
                                                                               working on trafficking cases. The PGO also investigated child sexual
offenses involving an adult victim and 10 to 12 years’ imprisonment for
                                                                               exploitation cases, including trafficking cases, involving information and
those involving a child victim. These penalties were sufficiently stringent
                                                                               communication technologies and provided guidelines for identifying,
and, with respect to sex trafficking, commensurate with those for
                                                                               investigating, and prosecuting such cases. Additionally, the PGO
other serious crimes, such as rape. Article 168 of the criminal code also
                                                                               introduced legislation focusing on establishing prescriptive sentences
criminalized forced labor and imposed penalties of up to three years’
                                                                               for trafficking-related offenses and reviewing appropriate penalties,
imprisonment. The NAP stipulated the Supreme Court of Justice explain
                                                                               including new provisions for aggravating circumstances. PCCOCS also
its application of the law when deciding trafficking cases.
                                                                               had a specialized unit for prosecuting trafficking cases initiated by CCTIP,
The pandemic continued to limit the capacity of anti-trafficking efforts.      as well as cases involving criminal organizations. However, prosecutors
The government implemented movement-restriction lockdowns and                  assigned to PCCOCS lacked experience handling trafficking cases,
other social distancing measures, constraining the activity of law             and PCCOCS did not require them to meet any speciﬁc qualiﬁcations
enforcement. Furthermore, while courts remained open, they operated            for investigating and prosecuting trafficking crimes. The Chisinau
in a limited capacity and reported decreased function as a result of high      Prosecutor’s Office maintained an Anti-Trafficking Bureau and conducted
infection among employees, thus delaying proceedings, including for            the prosecution of trafficking cases from Chisinau municipality; at the
trafficking trials. According to an NGO, the government’s pandemic-            district level, specialized prosecutors conducted the prosecution of
related practices negatively affected the capacity of relevant authorities,    trafficking cases. Within the judiciary, there were specialized judges
impeding the progress of overall prosecution efforts. Consequently, in         trained speciﬁcally to handle trafficking cases. These judges maintained
2021, authorities investigated 57 trafficking cases (24 sex trafficking,       ﬁve-year mandates, which increased their experience and understanding
33 labor trafficking), compared with 65 in 2020. The government                of trafficking and created a judicial environment more sensitive to victims’
prosecuted 37 suspected traffickers and convicted 44 traffickers (46           needs. In 2021, the government provided training for prosecutors and
and 32, respectively, in 2020). Sentences for convicted traffickers ranged     judges, such as a seminar on victims’ rights, including rehabilitation and
from six years to 20 years. Moldovan authorities cooperated with their         compensation. Additionally, the Ministry of Interior organized a ﬁve-day
European counterparts on several trafficking-related investigations,           training course for law enforcement officials on online recruitment of
judicial assistance requests, and extraditions. In one investigation,          trafficking victims. Overall, the government’s ability to fund key law
authorities from Moldova and Italy cooperated on a labor trafficking           enforcement and social protection institutes remained limited. As a
case that resulted in the identiﬁcation of 48 victims, detainment of 13        result, the government relied on donor funding to train police, border
suspects, and seizure of approximately 630,000 Moldovan lei (MDL)              guards, prosecutors, and judges.
($35,720) in assets.
Perennial problems, including high turnover within the police and
                                                                               PROTECTION
                                                                               The government marginally increased victim protection efforts. In 2021,
prosecutor’s office, corruption in law enforcement and the judiciary,
                                                                               the government identiﬁed 312 trafficking victims (35 sex trafficking,
impunity or lack of meaningful sentences for complicit officials, and
                                                                               277 labor trafficking), a signiﬁcant increase from 138 in 2020 but
lengthy trials, undermined government efforts. The Center for Combating
                                                                               proportionate with previous years. All identiﬁed victims were Moldovan
Trafficking in Persons (CCTIP), the lead anti-trafficking investigative and
                                                                               citizens. Thirty-two of the identiﬁed victims were children (11 sex
police agency, and the Organized Crime Prosecution Office (PCCOCS)
                                                                               trafficking, 20 labor trafficking, one both sex and labor trafficking); the
continued to suffer from high turnover of experienced staff, limiting the
                                                                               vast majority were girls. In response to the inﬂux of Ukrainian refugees
agencies’ ability to investigate complex cases, including transnational
                                                                               who ﬂed Russia’s full-scale invasion of Ukraine and arrived in Moldova,
criminal organizations or complicit government employees. While
                                                                               the Ministry of Interior trained and instructed Moldovan-Ukrainian border
authorities investigated reports of corruption committed by officials,
                                                                               checkpoint officials to screen refugees for trafficking indicators and set
they rarely prosecuted and punished them. Impunity remained a major
                                                                               up a mobile task force to patrol the border checkpoints and monitor for
problem. Corruption in the judicial system remained an acute impediment
                                                                               signs of trafficking among the refugee population. The National Referral
to bringing traffickers to justice with prosecutors, members of the
                                                                               Strategy (NRS) governed identiﬁcation and referral procedures but
judiciary, and members of law enforcement implicated in corrupt
                                                                               expired in 2016. Thus, in cooperation with civil society, the Ministry of
practices. In 2021, prosecutors indicted the acting head of a district
                                                                               Health, Labor, and Social Protection (MLSP) developed a new NRM in
police inspectorate for labor trafficking and, separately, indicted
                                                                               2020, although the government did not adopt it during the reporting
a police officer, who resigned from the force, for labor trafficking.
                                                                               period. Therefore, authorities continued to utilize the current NRS,
The government reported an integrity investigation of a lawyer, who
                                                                               which observers reported as obsolete. Observers noted the government
represented a suspected trafficker, for allegedly attempting to inﬂuence
                                                                               designed the NRS’s guidelines to identify Moldovan citizens exploited in
the prosecution. The government also reported two labor trafficking
                                                                               other countries; however, the guidelines did not include third-country
cases involving border police from previous reporting periods remained
                                                                               nationals and Moldovans exploited in Moldova. Moreover, the guidelines
ongoing. Courts frequently reversed convictions on appeal, sometimes
                                                                               were not obligatory for relevant state bodies working with immigrants.
without explanation or on weak grounds. Judges tended to re-qualify
                                                                               Under the terms of the NRS, teams of local officials and NGOs in all
cases from trafficking crimes to crimes with lesser penalties, such as
                                                                               regions of Moldova coordinated victim identiﬁcation and assistance.
“pimping,” or postpone hearings—a practice common among judges
                                                                               While the law permitted the local teams to identify victims and provided
suspected of corruption. In an attempt to provide transparency in the
                                                                               access to services irrespective of their willingness to participate in
assignment of judges to cases, the government newly implemented an
                                                                               criminal proceedings, according to civil society, in practice, victims
electronic case management system that, according to observers, was
                                                                               received assistance only after law enforcement identiﬁcation and if they
ﬂawed and misused in some cases. Nonetheless, selective justice swayed
                                                                               participated in criminal proceedings. According to an NGO, individuals
by corruption continued to be a problem, and lawyers complained of
                                                                               previously arrested for commercial sex, previously incarcerated, or those
violations of defendants’ rights to a fair trial. Furthermore, observers
                                                                               with drug addiction were less likely to be identiﬁed as victims. Although
                                                                                                                                 Haiti AR_000870              389
                           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 495 of 729
MOLDOVA, REPUBLIC OF   national-level implementation of the NRS was mostly uniform, regional          lack of services for resocialization and reintegration for child victims
                       implementation varied widely. Observers reported police only referred          of sexual exploitation put them at a higher risk for institutionalization
                       the most vulnerable victims, including children, individuals experiencing      and further trauma. Civil society also reported the need for increased
                       homelessness, and victims who needed protection in order to participate        cooperation between social protection, health, and law enforcement.
                       in criminal proceedings. Observers also reported law enforcement did           In 2021, CCTIP and other law enforcement agencies facilitated trainings
                       not correctly and fully inform all victims about the assistance available at   for its officers on trafficking, child pornography, child online sexual
                       the national and local levels. Similar to previous years, a limited number     exploitation, and child protection. The government ﬁnanced a 24-hour,
                       of identiﬁed victims received assistance—23 percent (70 victims) in            NGO-run hotline for children who experience violence, neglect, or
                       2021, a decline from 37 percent (51 victims) in 2020.                          exploitation and provided psychological counseling and information
                                                                                                      to parents and children. The hotline received seven trafficking-related
                       Observers noted overall inadequate resources, including insufficient
                                                                                                      calls—six led to investigations of child labor and one to a potential case
                       funding, hampered government efforts. The government often relied
                                                                                                      of unspeciﬁed child trafficking.
                       on NGOs and international organizations to supplement government
                       funding. Adult victims received assistance in seven government-funded          Overall, the government did not adequately protect victims participating
                       centers and shelters across the country, offering medical, legal, and          in investigations and prosecutions. Authorities seldom fully informed
                       psychological assistance, regardless of their cooperation with law             victims of their rights or about court proceedings. In addition, law
                       enforcement. Male victims received specialized services, including             enforcement did not routinely provide victims with status updates of their
                       social and rehabilitation services, and accommodation at a dedicated           cases, leaving many victims unsure if their traffickers had been identiﬁed,
                       center. Overall, victims received short-term assistance (30 days) from         arrested, or charged. The law required adult victims to confront their
                       two specialized shelters operated by MLSP in partnership with an               alleged traffickers in person, putting victims at risk for re-traumatization
                       international organization. Observers reported long-term assistance for        and likely deterring victims from reporting crimes. Although the criminal
                       victims, particularly long-term reintegration support, such as education,      code allowed children younger than 14 to be interviewed in specially
                       counseling, and job-placement, remained a challenge, leaving victims at        equipped rooms, observers reported the rooms did not correspond to
                       risk of re-victimization. Additionally, medical and psychological assistance   international standards and were usually located in the courts. Moreover,
                       was limited because many victims did not have medical insurance.               judges permitted traffickers to be present during child interviews. Judges
                       Civil society psychologists and attorneys remained the most qualiﬁed           frequently disregarded laws and regulations designed to protect victims
                       to assist victims, especially in the regions outside of the capital where      during trial proceedings, thereby violating victims’ rights and allowing
                       government social workers frequently lacked trafficking-speciﬁc training.      traffickers to intimidate some victims in the courtroom such that the
                       Foreign victims received the same access to care as Moldovan citizens;         victims felt pressured to change their testimony. Authorities could ﬁne
                       however, refugees and asylum-seekers received assistance in specialized        or imprison victims for making false statements if they changed their
                       centers under the Migration and Asylum Bureau. Observers noted a lack          testimony, whether unintentionally due to the trauma experienced or
                       of adequate and immediate social support, including shelter, medical           deliberately due to bribes or intimidation. In 2021, two trafficking victims,
                       care, and counseling, for foreign victims before determination of their        however, beneﬁted from witness protection programs (zero in 2020).
                       legal status. Moldovan law permitted foreign victims a 30-day reﬂection        The government issued protective orders for a male labor trafficking
                       period, during which they could receive assistance and protection while        victim, and, separately, the government relocated a victim for security
                       determining whether to cooperate with law enforcement. Foreign victims         reasons. The law allowed trafficking victims access to free legal assistance
                       who chose to cooperate with law enforcement received temporary                 without providing proof of indigence; 29 victims beneﬁted from public
                       residency. Observers pointed out foreign victims did not have the right        legal representation in 2021. However, the quality of legal assistance
                       to social integration assistance and were expected to return to their          provided by public lawyers was not sufficient. Public lawyers did not
                       country of origin at the conclusion of criminal proceedings.                   receive special training to assist victims and did not always understand
                                                                                                      a victim-centered approach to criminal justice. Victims continued to rely
                       There were two referral mechanisms to support child victims: the NRS
                                                                                                      mostly on NGOs for legal assistance, and NGOs relied on donors to fund
                       and the Inter-sectorial Collaboration Mechanism for the Protection
                                                                                                      the services. The State Guaranteed Legal Aid Council, in partnership
                       of Children. The former referred child trafficking victims to NGOs
                                                                                                      with an international organization, provided a trafficking guide with
                       that provided psychological, social, and legal aid. The Ministry of
                                                                                                      recommendations for legal aid lawyers on how to better assist victims.
                       Education, Culture and Research maintained a mechanism for identifying
                                                                                                      The law allowed victims to ﬁle for compensation for material damage,
                       and reporting child abuse, including trafficking, in state institutions.
                                                                                                      such as medical treatment costs or destruction of property, but only if
                       Nonetheless, reports persisted of management in state institutions
                                                                                                      prosecutors ﬁled charges against traffickers or cases ended in convictions.
                       participating in the exploitation of children. The Center for Assistance
                                                                                                      The criminal code exempted trafficking victims from criminal liability
                       and Protection of Victims of Human Trafficking (CAP) assisted child
                                                                                                      for committing offenses because of their exploitation. However, when
                       trafficking victims and offered legal, social, and psychological assistance,
                                                                                                      authorities classiﬁed cases under related statutes, such as the article
                       as well as accommodation to child victims. In 2021, CAP assisted 19
                                                                                                      criminalizing forced labor, victims were no longer exempt from criminal
                       child victims in the shelter in Chisinau, an increase from 10 in 2020.
                                                                                                      liability. Similarly, when authorities reclassiﬁed sex trafficking cases to
                       The CAP shelter in Chisinau remained the only facility for child victims
                                                                                                      “pimping” cases, victims were no longer exempt from punishment and
                       and provided limited social services for 30 days followed by placement
                                                                                                      could be charged with commercial sex offenses.
                       into permanent housing and continued counseling and assistance.
                       Authorities also placed child victims in foster care, orphanages, state
                       residential schools, group homes, or other types of temporary residential
                                                                                                      PREVENTION
                                                                                                      The government maintained prevention efforts. The government
                       facilities due to the lack of dedicated facilities. However, during the
                                                                                                      approved a new one-year NAP as part of the 2018-2023 national strategy,
                       previous reporting period, the government began construction of one
                                                                                                      allocating 140.1 million MDL ($7.94 million) toward implementation in
                       of three new regional centers for integrated assistance for child victims
                                                                                                      2021. While the government allocated ﬁnancial and human resources to
                       and witnesses of crime, including trafficking, designed to provide
                                                                                                      the NAP, in practice, it was dependent on assistance from international
                       specialized medical, psychological, and social care and allow for forensic
                                                                                                      partners for many of its training and support activities. The Directorate
                       medical examinations and interviews with trained specialists in a safe
                                                                                                      for Coordination in the Field of Human Rights and Social Dialogue
                       environment. The government envisioned the ﬁrst center, located
                                                                                                      monitored implementation of the NAP and ensured the activity of the
                       in Balti, to serve children from 12 cities and districts across northern
                                                                                                      Permanent Secretariat, which oversaw the coordination, monitoring,
                       Moldova and operate under the management of the National Center for
                                                                                                      and evaluation of all anti-trafficking policies. Each municipality and
                       Prevention of Child Abuse. The government planned for the remaining
                                                                                                      Gagauzia—a Turkic-speaking autonomous territorial region—maintained
                       two centers in Chisinau and Cahul to serve the central and southern
                                                                                                      a Territorial Commission for Combatting Trafficking to coordinate efforts
                       part of the country. In 2021, the government repatriated 16 children
                                                                                                      at the local level. The commissions encompassed local elected officials,
                       under the government decision that regulated repatriation of trafficking
                                                                                                      law enforcement, prosecutors, and social service providers. In 2021, the
                       victims, individuals in crisis, and unaccompanied children, but it did not
                                                                                                      government did not execute any national awareness campaigns but
                       conﬁrm how many were trafficking victims. Civil society reported the

    390                                                                                                                                             Haiti AR_000871
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 496 of 729




                                                                                                                                                                MOLDOVA, REPUBLIC OF
participated in other campaigns organized by international partners.           migration and assist in the protection of Moldovan workers’ rights. In
The government delivered information to partners and the public on             addition, the Moldovan and Italian governments signed a new bilateral
statistical observation and impacts to survivors. During the reporting         cooperation agreement to support fair and effective labor rights and
period, the government initiated a research project on existing social         social protection for Moldovan labor migrants in Italy and Italian labor
services on integration and reintegration of trafficking victims within        migrants in Moldova.
Moldova’s social security framework. Several agencies and offices
operated trafficking hotlines available in Romanian and Russian; the           TRAFFICKING PROFILE
PGO’s hotline referred nine calls to law enforcement for investigation,        As reported over the past ﬁve years, human traffickers exploit domestic
two of which led to prosecutions. The State Chancellery’s anti-trafficking     and foreign victims in Moldova, and traffickers exploit victims from
hotline operated 24-hours a day to assist, as necessary, Ukrainian             Moldova abroad. Traffickers typically recruit victims through personal
refugees arriving in Moldova. The government did not make efforts to           contacts but increasingly use the internet and social media. Most victims
reduce the demand for commercial sex acts.                                     are unemployed, from rural areas, and have received little education.
                                                                               Traffickers exploit Moldovan citizens in sex trafficking and labor trafficking
Under the law, the State Labor Inspectorate (SLI) oversaw the
                                                                               within Moldova and in other parts of Europe, including Austria, Poland,
occupational safety and health inspections. However, the SLI noted
                                                                               and Russia. Victims of sex trafficking are overwhelmingly women and
insufficient ﬁnancial and human resources to conduct inspections.
                                                                               girls. Traffickers operating in Romania and Moldova exploit Moldovan
Moreover, the law limited unannounced labor inspections, which were
                                                                               women and girls through Romania with fraudulent passports in trafficking
the country’s main mechanism to identify child labor, including forced
                                                                               operations across Europe. Government representatives note social norms
child labor, by only allowing such inspections based on a risk assessment
                                                                               create a permissive environment for violence against children, including
that indicated an emergency or immediate threat to the environment,
                                                                               trafficking. Child trafficking victims are mostly from rural areas and
life, health, or property. Furthermore, the law permitted authorities to
                                                                               poor families. Moldovan authorities report an increase in recent years
conduct onsite inspections provided they received written complaints
                                                                               of children exploited in online child pornography, which experts note is
and gave businesses ﬁve days’ notice, serving as a de facto advance
                                                                               used as a grooming method for sex trafficking; in some cases, parents
notice of an inspection and giving traffickers the opportunity to evade
                                                                               exploited their children. Cases involving child victims were mostly sex
detection. During inspections, authorities could only focus on the alleged
                                                                               trafficking cases occurring in Chisinau. Traffickers exploit children, some
violation outlined in the complaint, even if they identiﬁed other egregious
                                                                               as young as ﬁve, in commercial sex and child labor, mostly in agriculture,
violations, such as forced child labor. The law prohibited authorities from
                                                                               construction, service, and industrial sectors. The vast majority of child
inspecting facilities even when they had suspicions or visual evidence of
                                                                               laborers worked in family businesses or on family farms. Children, living on
businesses’ involvement in child labor, including forced child labor. Due
                                                                               the street or in orphanages or abandoned by parents migrating abroad,
to these restrictions, government and NGO sources reported the child
                                                                               remain vulnerable to exploitation. Children from Roma communities
labor violations identiﬁed by the government did not reﬂect the scale
                                                                               are more vulnerable to child labor and trafficking. Observers express
of the country’s problem. In 2021, the SLI did not identify any cases of
                                                                               concern that corrupt management in state institutions exploit children
forced labor but identiﬁed 31 labor violations involving children. Private
                                                                               in domestic services or on farms. Labor trafficking remains the most
employers could only be inspected upon referrals from law enforcement
                                                                               prevalent form of exploitation among adult male victims. Internal labor
bodies or complaints received from private citizens. A report based on
                                                                               trafficking, particularly in the agriculture and construction sectors, and
a national information campaign on the risks of labor trafficking noted
                                                                               forced begging is steadily on the rise, including among labor migrants.
law enforcement was slow to investigate private employment agencies.
                                                                               The undocumented or stateless population, including the Romani
Observers noted the government’s general lax oversight and control             community, within Moldova are at risk of exploitation, primarily in
of private recruitment agencies, particularly those offering foreign           the agricultural sector. Traffickers disproportionately target people
job opportunities, as a key trafficking vulnerability. Under the law,          with mental disabilities. Reports indicate cases of labor trafficking in
SLI regulated employment agencies, recruiters, and unlicensed labor            residential institutions for persons with disabilities, such as personnel
agents and required recruiters to provide transparent, legally binding         assigning housekeeping duties to patients in lieu of hiring staff. Women
contracts for prospective workers. Agencies in violation faced criminal        from the Gagauzia Autonomous Territorial Unit are vulnerable to sex
charges for trafficking, among other penalties. However, SLI could             trafficking in Turkey. Thousands of foreign nationals and Ukrainian
only recommend penalties be assessed for labor law violations; the             refugees, predominantly women and children, who are ﬂeeing the
authority to impose and collect these penalties remained with the              war in Ukraine and crossing the Moldova border seeking sanctuary, are
courts. Moldovan law prohibited agencies from charging prospective             highly vulnerable to trafficking. Reports indicate more than 100,000
workers fees or taxes as part of the recruitment process. In 2021, the         refugees have stayed in Moldova as of the end of March 2022. Russian
government amended the regulation on job placement and employment              courts have convicted 10 Moldovan citizens for drug-related crimes
abroad, permitting collection of payment for additional services from          their traffickers forced them to commit. Official complicity in trafficking
Moldovan citizens seeking jobs but forbidding charges to job seekers           crimes continues to be a signiﬁcant problem with complicit officials
for services performed by recruiters. While the regulation prohibited          rarely prosecuted and punished.
providing additional services as an obligatory condition to obtain labor
intermediation services, it remained difficult to monitor in part as it did    THE BREAKAWAY REGION OF TRANSNISTRIA
not deﬁne or categorize “additional” or “labor intermediation services.”       Although Transnistria declared independence in 1990, no United Nations
If private employment agencies did not have a list of such additional          member recognizes its sovereignty. The breakaway region of Transnistria
services and their estimated cost, ﬁrms could require high sums from           remains outside the administrative control of the Government of the
job seekers in the process of intermediation for employment abroad.            Republic of Moldova; therefore, Moldovan authorities are unable to
Moldova’s public procurement law banned government agencies from               conduct trafficking investigations or labor inspections, including for
contracting with any person or company convicted of trafficking crimes         child labor and forced child labor, in the region. Furthermore, de facto
or child labor violations in the previous ﬁve years. The Ministry of Finance   authorities in Transnistria do not communicate their law enforcement
provided guidance on public tenders that included a mechanism to               efforts to authorities in Moldova. A Transnistrian NGO reports identifying
exclude any economic agent involved in trafficking or child labor. The         eight trafficking victims and 13 potential victims in 2021. Victims in
criminal laws against trafficking included penalties for individuals or        Transnistria do not have access to Moldovan legal protections or social
companies proﬁting from trafficking. During the reporting period,              services. Moreover, observers note insufficient victim assistance, including
Moldova signed a memorandum of cooperation with Germany to                     immediate and long-term reintegration, and protection leaves victims
support employment of seasonal agriculture workers; the memorandum             vulnerable to re-victimization. Presently, the toll-free, NGO-run hotline
detailed conditions for the oversight of employment, including equal           represents the main tool for addressing trafficking implemented in the
treatment of Moldovan and German workers and the prohibition of                region and is one of the few anti-trafficking initiatives supported by the
recruitment fees. A supplementary cooperation agreement between                de facto authorities. The hotline estimates the scale and dynamics of
MLSP and a German institution designated the latter to consult and             trafficking and determines the proﬁle of potential victims. Observers
inform Moldovan agencies about German regulations for seasonal labor           note, over the last 10 years, a decline in de facto authorities’ efforts to
                                                                                                                                  Haiti AR_000872               391
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 497 of 729
MONGOLIA   prevent and combat trafficking, and multiple reports express concern           landscaping and cleaning. • Allocate increased funding to support
           with systematic human rights violations in the region. Transnistria            and expand both government and NGO-run shelters and other forms
           remains a predominate source for sex trafficking victims in neighboring        of tailored victim assistance and protection, including for male victims
           countries. Children, particularly those suffering from familial neglect,       and children. • Strengthen efforts to monitor the working conditions
           continue to be vulnerable to trafficking. Traffickers exploit victims          of foreign laborers employed in Mongolia and screen them for labor
           within Transnistria, in Poland and Russia, and over the Ukrainian border       trafficking indicators, including by increasing funding, resources, and
           and through Odesa. Thousands of Ukrainian refugees, predominantly              training for labor inspectors and allowing them to conduct unannounced
           women and children, who are ﬂeeing the war in Ukraine and crossing             inspections.
           the Transnistria segment of Moldova’s border seeking sanctuary, are
           highly vulnerable to trafficking. Reports indicate more than 9,000 are         PROSECUTION
           staying in Transnistria.                                                       The government increased law enforcement efforts. Article 13.1 of
                                                                                          the criminal code criminalized sex trafficking and labor trafficking; it
                                                                                          prescribed penalties of two to eight years’ imprisonment for offenses
                                                                                          involving an adult victim and ﬁve to 12 years’ imprisonment for those
            MONGOLIA: TIER 2                                                              involving a child victim. These penalties were sufficiently stringent and,
                                                                                          with respect to sex trafficking, commensurate with those prescribed for
                                                                                          other grave crimes, such as rape. Other provisions of the criminal code
           The Government of Mongolia does not fully meet the minimum standards
                                                                                          additionally criminalized some forms of labor and sex trafficking. Article
           for the elimination of trafficking but is making signiﬁcant efforts to do
                                                                                          13.13 separately criminalized forced labor and prescribed ﬁnes, community
           so. The government demonstrated overall increasing efforts compared
                                                                                          service, probation, and/or one to ﬁve years’ imprisonment. Article 12.3
           to the previous reporting period, considering the impact of the COVID-19
                                                                                          of the criminal code criminalized sexual exploitation offenses, including
           pandemic on its anti-trafficking capacity; therefore Mongolia remained
                                                                                          some forms of sex trafficking; penalties ranged from two to eight years’
           on Tier 2. These efforts included investigating more traffickers and           imprisonment for trafficking offenses involving individuals older than the
           identifying more victims than the previous reporting period; improving         age of 14 and 12 to 20 years’ imprisonment for those involving children
           information sharing and coordination among ministries and with                 younger than the age of 14. As in prior years, authorities sometimes
           international partners, including through the establishment of Mongolia’s      prosecuted trafficking crimes under statutes carrying lesser penalties.
           ﬁrst trafficking-speciﬁc Multidisciplinary Task Force (MDTF); creating         Articles 16.1 and 16.4 criminalized “inducing a child to the committing
           and staffing a new prosecutor position to specialize in trafficking cases;     of a crime” and “forcing a child into begging,” respectively; they both
           and enacting a new labor law that addressed several longstanding               prescribed penalties of a travel ban for one to ﬁve years or one to ﬁve
           vulnerabilities in the labor recruitment process. However, the government      years’ imprisonment. In previous years, some prosecutors reportedly
           did not meet the minimum standards in several key areas. For at least          charged child forced begging cases as misdemeanors, rather than as
           the 10th consecutive year, the government did not formally identify            more serious offenses. Observers noted complex case initiation and
           any male victims. Overlapping and at times conﬂicting criminal code            referral procedures, restrictions on contact between anti-trafficking
           articles complicated anti-trafficking judicial processes and continued to      police and prosecutors, judicial officials’ general unfamiliarity with
           incentivize prosecutions and convictions under lesser charges.                 anti-trafficking laws, rapid turnover of investigators, and criminal code
                                                                                          articles with overlapping and often conﬂicting deﬁnitions and penalty
                                                                                          provisions at times hindered investigations and prosecutions. In 2021,
                   MONGOLIA TIER RANKING BY YEAR
                                                                                          the government enacted a new labor law with a deﬁnition of forced
               1
                                                                                          labor that appeared to be narrower than the deﬁnition in Article 13.13
               2                                                                          of the criminal code in that it only criminalized forced labor through
             2WL                                                                          force, the threat of force, or ﬁnancial coercion. Separately, the labor
                                                                                          law exempted from the deﬁnition of forced labor “basic landscaping
               3
                     2015      2016      2017      2018   2019   2020   2021    2022      and cleaning works performed by residents of certain regions, villages,
                                                                                          habituated areas or cities,” which observers noted could be interpreted
                                                                                          as allowing compulsory labor in public works.
                                                                                          The government initiated 45 sex trafficking investigations involving at
           PRIORITIZED RECOMMENDATIONS:                                                   least 51 alleged perpetrators (compared with 36 investigations involving
           Increase efforts to train officials on and implement Articles 12.3 and 13.1    49 alleged perpetrators in 2020). Seven of these investigations involving
           of the criminal code to investigate and prosecute sex trafficking and          32 women resulted from police raids on saunas, massage parlors, hotels,
           forced labor crimes—including those allegedly committed or facilitated by      karaoke bars, and other venues suspected of facilitating commercial sex
           law enforcement officials, detected through child labor inspections and        (11 investigations resulting from raids in 2020), and 23 resulted from police
           hotlines, and handled in partnership with law enforcement counterparts         monitoring of sex solicitation on social media (unreported in 2020). The
           in common destination countries—rather than under alternative                  National Police Agency (NPA) maintained an anti-trafficking unit, which
           administrative or criminal provisions that prescribe lower penalties. •        conducted 15 of these investigations (compared with eight in 2020).
           Clarify anti-trafficking judicial procedures by reviewing and amending         Authorities also initiated a new investigation into a case of alleged forced
           anti-trafficking legislation to eliminate conﬂicting or overlapping penalty    labor; the case involved at least one alleged perpetrator and at least
           provisions. • Systematize and fully implement formal procedures to             three victims from Fiji, the Philippines, and Burma (compared with one
           guide government officials, including police, immigration officers, child      investigation involving three victims in 2020). Although officials reported
           rights officers, and labor authorities, in victim identiﬁcation and referral   detecting one instance of forced child labor in hazardous work, they did
           to protective services—especially among men and boys, foreign workers,         not initiate a criminal investigation into the case or seek accountability
           domestic and foreign nationals transiting major border crossing areas,         for the alleged perpetrator. Authorities investigated an additional 41
           domestic coal transport workers exploited or abused by People’s Republic       cases of unspeciﬁed exploitation, some of which may have included
           of China (PRC)-based employers, women and children living in mining            deﬁnitional trafficking elements, involving 51 individuals. Authorities
           communities, and LGBTQI+ persons. • Amend relevant laws to ensure              newly prosecuted 21 cases involving 32 defendants for alleged sex
           victims’ access to protection services, regardless of whether officials        trafficking crimes, including four defendants under Article 12.3, eight
           initiate formal criminal proceedings against the alleged traffickers. •        defendants under 12.6, and 10 under Article 13.1 (compared with four
           Enact policies to fully institutionalize, make permanent, and allocate         under Article 12.3 and 17 under Article 12.31 in 2020); however, they
           resources for the MDTF. • Amend Articles 16.1 and 16.4 of the criminal         prosecuted 11 of these cases under Articles 16.8 and 16.9 (“Advertising
           code to increase prescribed penalties such that they are in line with          and dissemination of pornography or prostitution, inducement to a
           penalties for other child trafficking crimes. • Amend Article 8 of the         child” and “Advertising and dissemination of pornography or prostitution
           Labor Law to align its deﬁnitions with preexisting anti-trafficking laws,      involving a child”), which carried lesser penalties. Proceedings against
           including by eliminating exemptions for compulsory labor in basic
 392                                                                                                                                    Haiti AR_000873
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 498 of 729




                                                                                                                                                             MONGOLIA
19 defendants whose prosecutions began in 2020 were ongoing at the             NGO identiﬁed any male victims for the 10th consecutive year, despite
end of the reporting period. Unlike the previous year, there was one           continued NGO reports of the prevalence of trafficking among men and
prosecution of an alleged forced labor crime under Article 13.13. Courts       boys. Authorities identiﬁed foreign victims of forced labor for the second
convicted 27 individuals for trafficking-related crimes in 2021—an increase    consecutive year but did not report initiating or jointly conducting any
from 18 in 2020—but this included fewer cases convicted under speciﬁc          subsequent criminal investigations. A portion of government funding
anti-trafficking criminal code articles. Courts convicted 13 individuals       for the primary service provider NGO supported the maintenance of a
under anti-trafficking articles, including three under Article 12.3 and 10     hotline system; the NGO identiﬁed two victims through the hotline, and
under Article 13.1, compared to one and 17, respectively, in 2020; they did    the calls resulted in an unspeciﬁed number of trafficking investigations
not convict any labor traffickers for the second consecutive year (three       (compared with none in 2020 and one in 2019). The Family, Child, and
in 2019). Courts also convicted 10 individuals under Articles 16.8 and 16.9;   Youth Development Agency (FCYDA) ran another 24-hour hotline that
authorities did not provide sufficient detail to ascertain whether these       received ﬁve calls on possible cases of child sex trafficking and 108 calls
cases featured trafficking elements according to international deﬁnitional     on cases of hazardous child labor, ultimately facilitating assistance to
standards. Authorities reportedly sentenced three traffickers to terms         114 child laborers nationwide; some of these cases could have featured
ranging from three to eight years’ imprisonment under Article 12.3; 10         forced labor indicators. In furtherance of a 2020 child welfare budget
traffickers to terms ranging from six months to 20 years’ imprisonment         resolution, the government newly appointed 53 police personnel to serve
under Article 13.1; and four traffickers to terms ranging from six months      as child rights officers throughout the country. However, authorities
to ﬁve years’ imprisonment under Articles 16.8 and 16.9 (compared              reportedly did not train the officers on how to detect or respond to
with 17 traffickers sentenced to terms ranging from ﬁve to 26 years’           cases involving the forced labor of children. In practice, NGOs indicated
imprisonment under Article 13.1 and one trafficker to seven years’             victim identiﬁcation and referral procedures were vague, not sufficiently
imprisonment under Article 12.3). One individual convicted under Article       systematic, and often depended largely on the awareness and initiative
13.13 faced only a ﬁne. Courts ordered a total of 3.6 million Mongolian        of individual officers. Authorities at times collected discrepant data
tugrik (MNT) ($1,260) as restitution payments to three victims as part         based on conﬂicting deﬁnitions of trafficking according to overlapping
of sentencing, but no victims were recompensated under Article 13.1            criminal code provisions, which in turn created bureaucratic challenges
(compared with 798,400 MNT, or $280, under unspeciﬁed articles                 to supporting survivors. Redirection of human and ﬁnancial resources
to at least one victim in 2019). There were unveriﬁed allegations of           to the pandemic response at times negatively affected the capacity of
police complicity in trafficking crimes leading to an investigation that       front-line officers to identify victims of trafficking, particularly among
was ongoing at the end of the reporting period. In prior years, officials      child victims of forced labor.
who facilitated or abetted forced labor crimes received administrative
                                                                               The FCYDA hotline coordinated referrals to special welfare and protection,
sanctions in lieu of criminal penalties.
                                                                               emergency response, and shelter services for child victims. Authorities
Authorities continued to categorize certain crimes as trafficking              referred eight Mongolian victims to NGO shelter services through
based on Mongolia’s more expansive legal deﬁnitions, culminating               this hotline—a decrease from 41 referrals in 2020, likely attributable
in law enforcement data that at times included cases involving child           to a signiﬁcant reduction in certain enforcement activities and in the
pornography, sexual extortion, and “organizing prostitution”; some of          movement of Mongolian nationals across international borders during
these cases also included trafficking elements in line with international      the pandemic. Police separately referred at least three victims to witness
deﬁnitional standards. In recent years, due to the misconception among         protection services and other forms of assistance but did not provide
many government officials that traffickers only exploit women and girls        further details (compared with three children referred to government
crossing borders, authorities rarely used Articles 12.3 or 13.1 to prosecute   shelter services in 2020). Civil society contacts expressed concern that
cases in which traffickers targeted male victims and instead used              Mongolia’s complex referral system could have re-traumatized some
provisions with less stringent penalties. Civil society representatives        victims due to the requirement that they repeatedly recount their
reported various judicial entities often maintained conﬂicting or              abuses at various stages. NGOs continued to provide the vast majority
incomplete data on anti-trafficking case registration and history. The         of Mongolia’s limited victim services, in some cases with government
government frequently redirected law enforcement resources and                 assistance. Two shelters run by an NGO were the main victim service
personnel to contain the pandemic, at times interrupting certain anti-         providers in the country; only one could accommodate male victims, and
trafficking efforts.                                                           neither was accessible to persons with disabilities. The government ran at
                                                                               least two shelters that housed trafficking child victims alongside victims
The government continued organizing, facilitating, and providing funding
                                                                               of domestic violence and other forms of abuse. Observers reported 10
and in-kind support for specialized training courses for law enforcement
                                                                               child sex trafficking victims experienced further sexual abuse within
officers and social workers on trafficking. Observers continued to
                                                                               two of these shelters due to poor oversight and lack of specialized care;
describe an acute need for additional training, resources, and dedicated
                                                                               the government investigated and prosecuted the alleged offenders in
personnel to properly handle trafficking cases; in an attempt to address
                                                                               at least some of these cases but did not provide further information.
this need, in 2021, the government designated the country’s ﬁrst special
prosecutor for trafficking crimes. Mongolia maintained mutual legal            The government allocated 30 million MNT ($10,530) to fund the primary
assistance agreements with the PRC, Hong Kong, Macao, Thailand, the            service provider NGO’s activities in shelter provision, psycho-social and
Republic of Korea (South Korea), and Malaysia but did not provide data         medical care, and legal assistance. With funding from the government
on their implementation.                                                       and other resources, the NGO reported assisting 41 Mongolian sex
                                                                               trafficking victims, including 31 women and 10 girls younger than the
PROTECTION                                                                     age of 18, and two Mongolian sex trafficking victims repatriated from
The government slightly increased efforts to protect victims. NPA              Malaysia (compared with 43 Mongolian sex trafficking victims and three
investigators reported using a trafficking risk assessment checklist           Burmese forced labor victims in 2020); the NGO provided shelter to
containing 11 questions to identify victims; however, use of this checklist    seven of these victims. The NGO did not report providing any victims
was sporadic, and the process did not include screening of vulnerable          with pro-bono legal assistance in 2021 (compared with 24 in 2020).
groups. According to available data, police identiﬁed 45 female trafficking    The same NGO in turn formally supplied information on seven cases
victims—an increase from 40 female victims identiﬁed in 2020—but               involving 15 of the victims to the NPA for criminal investigations into
this ﬁgure only included 14 girls younger than the age of 18, marking          the relevant suspects (compared with 13 cases involving 39 victims
a decrease in the identiﬁcation of child victims (24 girls younger             in 2020). Another shelter that had previously supported Mongolian
than the age of 18 identiﬁed in 2020). Observers ascribed this to the          victims of trafficking in the PRC did not assist any victims in 2021 due to
closure of businesses traditionally associated with commercial sex as          pandemic-related border closures. NPA’s Victim and Witness Protection
a public health measure during the pandemic, which complicated law             Department reportedly staffed psychologists who were equipped to
enforcement detection of some trafficking crimes. Police reportedly            handle domestic violence cases, but they did not relay information on
identiﬁed one case of forced child labor in hazardous work, but they           services provided to trafficking victims in 2021.
did not report directly providing or referring the child to any protection
                                                                               Article 8.1 of the criminal procedural code included language that
services. Neither the government nor the primary service provider
                                                                               reportedly denied trafficking victims’ access to protective services until
                                                                                                                                Haiti AR_000874              393
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 499 of 729
MONGOLIA   prosecutors had initiated cases against their alleged traffickers, thereby    on social media and television; this included a Coordination Council for
           potentially obstructing access to protective services for some victims. In    Crime Prevention-directed public awareness campaign that received
           prior years, some officials claimed victims could still access protection     more than 26 million views on social media. In partnership with the
           services regardless of whether relevant prosecutions had begun. In an         Government of South Korea, the Ministry of Labor and Social Protection
           effort to address this ambiguity in 2018, the Ministry of Justice and Home    (MLSP) continued to produce materials raising awareness on trafficking.
           Affairs created a working group and instituted an intra-governmental          Authorities postponed or curtailed some elements of anti-trafficking
           comment period to consider amendments to the Law on Victim and                training, funding, and general interagency coordination as a result of
           Witness Protection. Draft amendments under review at the end of the           the pandemic.
           reporting period did not include language addressing this concern. As
                                                                                         The MLSP’s General Agency for Labor and Social Welfare had the
           in the previous year, trafficking victims may have experienced delays
                                                                                         authority to monitor labor agreements for foreign nationals working
           in or denials of access to protection services while awaiting the results
                                                                                         in Mongolia, as well as those for Mongolians working in countries
           of mandatory COVID-19 screening procedures. Article 15 of the anti-
                                                                                         that had bilateral work agreements with Mongolia. The government
           trafficking law entitled victims to compensation for damages wrought
                                                                                         maintained such agreements with South Korea and Japan; observers
           by traffickers, but officials and NGOs agreed inconsistencies between
                                                                                         noted authorities did not always sufficiently implement these agreements
           the criminal code and the civil code made this provision impossible to
                                                                                         to prevent labor abuses, including trafficking. The General Authority
           fully implement. Mongolia’s Immigration Agency, the General Authority
                                                                                         for Specialized Investigation (GASI) had the authority to inspect labor
           for Border Protection, and the Consular Department within the Ministry
                                                                                         contracts, monitor compliance with the law for all workers in Mongolia,
           of Foreign Affairs shared responsibility for handling cases involving
                                                                                         and conduct inspections of working conditions in Mongolian formal
           Mongolian trafficking victims abroad. The latter maintained a fund to
                                                                                         sector establishments. Redirection of human and ﬁnancial resources
           assist Mongolian victims, but it was only available in cases involving
                                                                                         in response to the pandemic fully precluded inspection activities in
           organized crime syndicates or “grave harm”—a distinction that was
                                                                                         2021. NGOs noted funding and resources for the inspectors were too
           unclear in application. In 2021, authorities partnered with NGOs to
                                                                                         low to provide comprehensive oversight, and the government did
           repatriate two Mongolian victims from Malaysia, compared with 15
                                                                                         not report statistics on, or the outcomes of, these inspections. After
           Mongolian victims repatriated from Malaysia in 2020. Authorities also
                                                                                         two years of deliberation on amendments intended to provide for
           repatriated at least one victim each to Fiji, the Philippines, and Burma
                                                                                         unannounced inspections, the government passed a new labor law
           in 2021 (unreported in 2020; one victim each to the PRC, Kyrgyzstan,
                                                                                         establishing that inspectors had “unrestricted access to legal entities,
           and the Philippines in 2019).
                                                                                         organizations, and workplaces which are subject to inspection without
           Unlike in 2020, there were no speciﬁc reports of victim penalization in       prior notice.” However, the law still required GASI to give employers
           2021 (compared with two girls ﬁned under “prostitution” provisions of         two days’ advance notiﬁcation before conducting an inspection in some
           the Law on Petty Offenses in 2020 and 2019, respectively). However,           cases, raising concerns that employers could conceal violations in the
           NGO representatives continued to express broad concern that, due to           interim. It was therefore unclear if the new labor law fully corrected this
           a lack of formal screening procedures, authorities may have detained          longstanding insufficiency. Constituting a signiﬁcant improvement from
           some unidentiﬁed trafficking victims. Mongolia’s Law on Petty Offenses,       the previous reporting period, the new labor law contained provisions
           which allowed authorities to detain anyone apprehended on suspicion of        explicitly prohibiting labor agents from charging workers recruitment
           commercial sex crimes for seven to 30 days, also reportedly continued         fees, conﬁscating workers’ identity or travel documentation, switching
           to place some victims at risk of penalization for unlawful acts traffickers   their contracts without consent, or garnishing or withholding their
           compelled them to commit. Observers noted some victims were hesitant          wages as collateral; authorities did not report information on their
           to self-report or testify due to fear that they could face prosecution        implementation. The NPA organized public awareness campaigns for
           for such crimes. Mongolian law did not provide legal alternatives             television, internet, and print media designed to reduce the demand
           to the removal of foreign victims to countries in which they could            for commercial sex acts.
           face retribution or hardship. The Immigration Agency did not provide
           comprehensive deportation statistics for 2021 (no data in 2020; more          TRAFFICKING PROFILE
           than 1,500 foreign nationals deported to 26 countries in 2019), but the       As reported over the past ﬁve years, human traffickers exploit domestic
           number of deported individuals was likely signiﬁcantly lower given            and foreign victims in Mongolia, and they exploit victims from Mongolia
           pandemic-related travel restrictions and border closures. The adequacy of     abroad. Traffickers may also use Mongolia as a transit point to exploit
           screening procedures was difficult to gauge amid limited deportations in      foreign individuals in sex trafficking and forced labor in Russia and
           2021, but screening procedures in previous years were neither universally     the PRC. Most sex trafficking of Mongolian victims from rural and
           implemented nor sufficient to detect all forms of trafficking.                poor economic areas occurs in Ulaanbaatar, provincial centers, and
                                                                                         border areas. A 2018 civil society survey found domestic violence
           PREVENTION                                                                    drives the vast majority of Mongolian trafficking victims to seek and
           The government increased efforts to prevent trafficking. The National         accept unsafe employment opportunities on which traffickers prey;
           Anti-Trafficking Program (2017-2021) aimed to provide technical guidance      this vulnerability has reportedly increased as a result of state-ordered
           on trafficking prevention and coordinate interagency efforts to implement     residential quarantines amid the pandemic. During periods of pandemic-
           relevant legislation, for which the government budgeted 432 million           related business closures, clandestine sex trafficking in private residences
           MNT ($151,650) and spent approximately 336 million MNT ($117,950)             is reportedly increasing, including through the use of blackmail on social
           for planned activities. The remaining funds were again redirected to          media as a coercive method. Traffickers exploit women and girls in sex
           respond to the pandemic. The government did not update this action            trafficking in Mongolian massage parlors, illegal brothels, hotels, bars,
           plan for the next ﬁve-year cycle. The National Sub-Council, which directed    and karaoke clubs, as well as in outdoor urban areas, sometimes through
           the Program, met quarterly to assess its progress and continued close         the permissive facilitation of local police. Traffickers often utilize online
           coordination with international donors and NGOs. One outcome of this          platforms to lure, groom, or blackmail Mongolian children into domestic
           coordination was the establishment and convening of the MDTF—a body           sex trafficking. LGBTQI+ individuals are vulnerable to trafficking amid
           comprising 18 representatives from key government ministries and one          widespread discrimination that often jeopardizes their employment
           NGO aiming to enhance Mongolia’s efforts to combat child trafficking.         status and complicates their access to justice. Transgender women in
           Civil society observers lauded the creation of the MDTF but continued         particular are at higher risk of sex trafficking due to pervasive social
           to call on the government to issue policy guidance or enact legislation       stigma barring them from employment in the formal sector. Mongolian
           making it a permanent entity, rather than a temporary body limited to         communities experiencing widespread unemployment due to the
           the duration of international donor assistance supporting it or subject       pandemic—especially women and informal sector workers—are more
           to dissolution upon key ministry personnel turnover. In conjunction with      vulnerable to sex trafficking and forced labor. Tourists from Japan and
           international organizations, the government conducted four research           South Korea reportedly engaged in child sex tourism in Mongolia in
           programs to inform its anti-trafficking coordination and assess prior         prior years; some civil society groups believe this practice persists.
           efforts (compared with three studies in 2020). Officials continued to
           disseminate a daily trafficking-themed public service announcement
 394                                                                                                                                   Haiti AR_000875
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 500 of 729




                                                                                                                                                             MONTENEGRO
The ongoing development of the mining industry in southern Mongolia           among some Mongolian officials facilitates sex trafficking in illicit
continues to drive growing internal and international migration,              establishments and impedes the government’s anti-trafficking efforts.
intensifying trafficking vulnerabilities—especially along the PRC-
Mongolia border. Truck drivers transporting coal across the PRC border
in Omnogovi Province are often more vulnerable to labor traffickers due
to an arrangement under which employers conﬁscate their passports as           MONTENEGRO: TIER 2
collateral for their vehicles. These drivers often wait in truck lines with
minimal sleep, heating, or access to basic needs for weeks or months
                                                                              The Government of Montenegro does not fully meet the minimum
at a time until they receive permission to cross and make deliveries in
                                                                              standards for the elimination of trafficking but is making signiﬁcant
the PRC, where PRC national employers and customers impose wage
                                                                              efforts to do so. The government demonstrated overall increasing
deductions for the delays; this loss of income reportedly makes them
                                                                              efforts compared with the previous reporting period, considering
further vulnerable to labor exploitation. The families of coal transporters
                                                                              the impact of the COVID-19 pandemic on its anti-trafficking capacity;
who are delayed at the border, who are injured, or who die as a result of
                                                                              therefore Montenegro remained on Tier 2. These efforts included
the poor working conditions may also be vulnerable to sex trafficking
                                                                              providing comprehensive training on victim identiﬁcation and assistance
due to ensuing economic hardships. Traffickers exploit women and girls
                                                                              to relevant officials and adapting procedures at the anti-trafficking
in sex trafficking in these border crossing truck lines, along the coal
                                                                              shelter to mitigate the spread of COVID-19. The government adopted
transport roads connecting mining sites to the PRC border, at nightlife
                                                                              the national action plan (NAP) for 2021, and government coordinating
establishments in mining towns, and at entertainment sites across the
                                                                              bodies met consistently. However, the government did not meet the
border in Inner Mongolia. Mining workers sometimes leave their children
                                                                              minimum standards in several key areas. The government investigated
at home alone while on extended shift rotations, during which time the
                                                                              fewer cases and prosecuted fewer suspects. The government decreased
children are at elevated risk of sex trafficking. Sex trafficking and child
                                                                              victim protection efforts, including allocating fewer resources to the
forced labor also occur in connection with artisanal mining. Some men
                                                                              NGO-run shelter, identifying fewer victims, and lacking efforts to
in predominantly ethnic Kazakh regions of western Mongolia subject
                                                                              proactively identify victims among asylum-seekers, irregular migrants,
local women and girls to abduction and forced marriage as part of
                                                                              and seasonal workers.
a cultural practice known as Ala kachuu, or “grab and run”; some of
these forced marriages may feature corollary sex trafficking or forced
labor elements. Traffickers force some children to beg, steal, or work in             MONTENEGRO TIER RANKING BY YEAR
other informal sectors of the Mongolian economy, such as horseracing,             1
herding and animal husbandry, scavenging in garbage dumpsites,                    2
and construction. Some Mongolian families are complicit in exploiting
children in sex trafficking and forced labor.                                   2WL
                                                                                  3
Traffickers exploit Mongolian men, women, and children in forced                        2015      2016     2017     2018   2019    2020    2021    2022
labor in the PRC, Czech Republic, Hungary, India, Kazakhstan, Norway,
Sweden, South Korea, Turkey, and the United Arab Emirates and in
sex trafficking in Belgium, Cambodia, the PRC, Germany, Hong Kong,
Hungary, Japan, Macau, Malaysia, the Philippines, South Korea, Sweden,
                                                                              PRIORITIZED RECOMMENDATIONS:
Turkey, and the United States. Officials believe Turkey may be rising in
                                                                              Vigorously investigate, prosecute, and convict traffickers under Article
prevalence as a destination country due to visa-free travel regimes, the
                                                                              444 of the criminal code. • Increase proactive identiﬁcation efforts
availability of direct ﬂights, and shifts in migration trends following the
                                                                              for trafficking victims and screen for trafficking among individuals
pandemic-related closure of the PRC border. Traffickers sometimes use
                                                                              in commercial sex, irregular migrants, asylum-seekers and refugees,
drugs, fraudulent social networking, online job opportunities, or English
                                                                              seasonal workers, and other at-risk populations. • Allocate sufficient
language programs to lure Mongolian victims into sex trafficking abroad.
                                                                              resources to the anti-trafficking shelter. • Establish victim conﬁdentiality
Traffickers have forced Mongolian girls to work as contortionists—often
                                                                              and privacy measures at the shelter and ensure the shelter adheres to
under contractual agreements signed by their parents—primarily in
                                                                              high victim protection standards. • Provide advanced training to judges,
Mongolia and Turkey and to a lesser extent in Hong Kong and Singapore.
                                                                              prosecutors, and law enforcement on trafficking investigations and
Mongolian boys are at high risk of forced labor and sex trafficking under
                                                                              prosecutions, including collecting evidence on subtle forms of coercion
visa regimes that enable them to work indeﬁnitely as horse jockeys and
                                                                              or the use of specialized investigative techniques. • Increase access to
circus performers across the PRC border, provided they return with a
                                                                              justice and victim-witness protection for victims, including access to
chaperone once a month; this frequent facilitated transit also makes
                                                                              experienced attorneys and Romani interpreters. • Integrate Romani
them more vulnerable to trafficking. Traffickers compel women and
                                                                              groups into decision-making processes regarding victim protection. •
girls to work in domestic service and engage in commercial sex acts
                                                                              Create and ﬁnance an accessible compensation fund and inform victims
after entering into commercially brokered marriages with men from the
                                                                              of their right to compensation during legal proceedings. • Regulate and
PRC and, to a lesser extent, South Korea. Mongolians stranded abroad
                                                                              monitor labor recruitment agencies.
as a result of pandemic-related travel restrictions may have been at
elevated risk of sex trafficking and forced labor due to immigration
                                                                              PROSECUTION
statuses that prevent them from seeking employment in host countries’
                                                                              The government maintained law enforcement efforts. Article 444 of
formal sector economies. PRC-based companies hire Mongolian men
                                                                              the criminal code criminalized labor trafficking and sex trafficking and
and boys to work at agricultural operations for compensation far below
                                                                              prescribed penalties ranging from one to 10 years’ imprisonment, which
minimum wage and under ambiguous immigration status, placing them
                                                                              were sufficiently stringent and commensurate with those prescribed for
at high risk of trafficking. Some micro-lending institutions in the PRC
                                                                              other serious crimes, such as rape. Law enforcement investigated two
reportedly retain Mongolians’ passports as a form of collateral, leaving
                                                                              cases, compared with four cases in 2020. The government prosecuted
them vulnerable to immigration status-related coercion.
                                                                              three defendants, compared with prosecuting ﬁve defendants in 2020.
PRC national workers employed in Mongolia are vulnerable to trafficking       Courts convicted one sex trafficker, compared with one trafficker
as contract laborers in construction, manufacturing, agriculture, forestry,   in 2020. The judge sentenced the trafficker to one year and two
ﬁshing, hunting, wholesale and retail trade, automobile maintenance, and      months’ imprisonment, compared with a trafficker receiving 10 years’
mining. Some of them experience contract switching when they enter the        imprisonment for forced begging in 2020. An appeals court reversed
country, making them especially vulnerable to coercion due to ensuing         two acquittals of alleged traffickers and returned the case for retrial. The
immigration violations. Some Russian and Ukrainian women entering             government reported the pandemic reduced judicial and prosecutorial
Mongolia through PRC border crossings for short periods under visa-           staff and delayed trials, which was exacerbated by attorneys going
free regimes may be sex trafficking victims. Observers report corruption      on strike and further suspending and/or delaying courts from May to
                                                                              July 2021.
                                                                                                                                  Haiti AR_000876            395
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 501 of 729
MONTENEGRO   The government maintained a multi-disciplinary task force to proactively        However, GRETA reported that government funding for the shelter
             investigate trafficking. The Department of the Suppression of Criminal          was not sufficient to cover operational costs that were approximately
             Offenses of Trafficking in Persons and Smuggling (DSCOTPS) within               €70,000 ($79,370). The shelter provided specialized services for
             the Police Directorate (PD) conducted proactive investigations. Law             both potential and officially recognized trafficking victims, including
             enforcement conducted raids on bars, nightclubs, commercial sex                 immediate needs, health care, psycho-social support, legal assistance,
             sites, escort agencies, and businesses suspected of illegal employment          and reintegration assistance; the shelter housed eight potential victims
             practices, but these raids did not result in any trafficking investigations     (14 victims in 2020). The shelter could accommodate up to six victims
             in 2021 or 2020. According to authorities, they prosecuted possible sex         at a time including adult males, adult females, and children, in separate
             trafficking cases under other offenses, such as brokering in prostitution       living quarters. Adult victims could leave the shelter after a security
             (Article 210), due to a lack of sufficient evidence. In previous years, Basic   and psycho-social evaluation by shelter staff. The shelter purchased
             State Prosecutor’s Offices (BSPO) stopped some potential trafficking            personal protective equipment (PPE) and COVID-19 tests for staff and
             investigations when they secured enough evidence to prosecute under             victims and adopted social distancing measures, including separate
             Article 210 and did not investigate for more subtle forms of coercion or        rooms for victims awaiting COVID-19 test results. The shelter reported
             seek additional evidence through specialized investigative techniques;          experiencing further ﬁnancial strain as a result of these purchases.
             however, case referral procedures required the Higher State Prosecutor’s        MFSW operated local social and welfare centers and two regional
             Office (HSPO) to initially review all trafficking-related cases and refer       institutions, which provided general services for victims of abuse,
             cases not deemed as trafficking to BSPO. The government did not report          including trafficking victims. In 2020, a self-administered evaluation
             any investigations, prosecutions, or convictions of government employees        of the shelter’s support services concluded beneﬁciaries and visitors
             complicit in trafficking crimes. The government, in cooperation with            of the shelter were satisﬁed with the quality of care, staff, and facility.
             international organizations, provided training to police, prosecutors,          However, other experts reported concerns with the shelter staff’s lack
             and labor inspectors, and also maintained institutionalized training            of experience in victim protection, including unnecessary operational
             programs for police, prosecutors, and judges on various anti-trafficking        costs, cooperation issues, and victim conﬁdentiality concerns. For
             issues. The government signed a protocol of cooperation with Slovenian          example, the shelter published photos of victims on social media with
             authorities to ﬁght trafficking but did not report further efforts to           censored faces but identiﬁable characteristics, such as clothes and
             implement the protocol.                                                         location. Observers reported facing cooperation and collaboration
                                                                                             issues speciﬁcally with the director of the shelter.
             PROTECTION                                                                      The law allowed foreign victims to acquire temporary residence permits
             The government decreased victim protection efforts. The government
                                                                                             from three months to one year with the ability to extend; no victims
             officially identiﬁed three victims, compared with 48 in 2020, 39 in 2019,
                                                                                             applied for temporary residence permits in 2021 or 2020. The law
             zero in 2018, and one officially identiﬁed victim in 2017. Of these, one
                                                                                             provided witness protection, free legal aid, and a psychologist to
             girl was a victim of sex trafficking, and a boy and a girl were victims of
                                                                                             participate in prosecutions; no victims participated in prosecutions during
             forced labor. First responders carried out the preliminary identiﬁcation
                                                                                             2021. However, observers continued to report the government assigned
             of possible victims and then contacted police who recognized the
                                                                                             lawyers with little or no experience to victims, including lawyers with
             individuals as potential victims. Police officers proactively screened
                                                                                             experience in only civil proceedings and not criminal proceedings. In
             foreign nationals and individuals in commercial sex for indicators of
                                                                                             2020, prosecutors implemented victim-centered approaches for victims
             trafficking; however, police did not identify any victims through these
                                                                                             who participated in court proceedings, particularly child victims. For
             efforts in 2021 or 2020. GRETA reported continuing gaps in screening
                                                                                             example, a child victim testiﬁed in the presence of a social worker with
             and identifying victims among asylum-seekers and irregular migrants.
                                                                                             audio/visual equipment, while in a separate room from their perpetrator.
             Similarly, according to observers, police did not make identiﬁcation
                                                                                             The government operated support services for victims and witnesses
             efforts during the summer tourism season to screen the inﬂux of
                                                                                             in 15 ﬁrst instance courts and two high courts that provided assistance
             seasonal workers from neighboring countries and did not consistently
                                                                                             during proceedings, including legal and logistical assistance, and
             investigate information submitted by NGOs. The government maintained
                                                                                             measures to prevent re-traumatization. Authorities hired interpreters
             the Team for Formal Identiﬁcation of Trafficking Victims (TFITV) to
                                                                                             when necessary from an official list of court interpreters, although the
             assess and officially recognize potential victims and coordinate victim
                                                                                             list did not include a Romani interpreter. Judges did not issue restitution
             care and placement. TFITV used standard operating procedures (SOPs)
                                                                                             in criminal cases or seize assets and property from traffickers towards
             for identifying and referring victims to services, which eliminated the
                                                                                             restitution and/or compensation. Similarly, courts have not awarded
             requirement for victims to cooperate with law enforcement in order
                                                                                             any victims compensation in civil proceedings, partly due to civil
             to receive services. TFITV comprised a doctor, a psychologist, an
                                                                                             proceedings lasting two to ﬁve years, discouraging victims from seeking
             NGO, police, a social worker from the Center for Social Work, and a
                                                                                             compensation. The law on compensation of victims intended to provide
             representative from the Office for the Fight against Trafficking in Persons
                                                                                             ﬁnancial assistance to victims of violent crimes will not go into effect
             (TIP office); TFITV met 15 times and conducted eight ﬁeld missions,
                                                                                             until Montenegro becomes a member of the EU.
             compared with meeting 19 times and conducting eight ﬁeld missions
             in 2020. The government provided training on victim identiﬁcation and
                                                                                             PREVENTION
             assistance to police, labor inspectors, health workers, social workers,
                                                                                             The government maintained prevention efforts. The government
             and municipality representatives. In 2020, observers reported an NGO
                                                                                             implemented the national anti-trafficking strategy for 2019-2024 and
             worker identiﬁed a potential foreign victim, but police refused to initiate
                                                                                             adopted the NAP for 2021. The government maintained a coordination
             the referral process without an approval from a health and sanitation
                                                                                             body for monitoring the implementation of the strategy and NAP,
             inspector and threatened the victim and NGO worker with charges
                                                                                             which is composed of PD, HSPO, the Ministry of Interior (MOI), and the
             for not complying with pandemic mitigation measures. A health and
                                                                                             Ministry of Justice, Human, and Minority Rights; the coordination body
             sanitation inspector subsequently required the potential foreign victim
                                                                                             met six times with additional online meetings. The national coordinator
             and NGO worker to quarantine for 28 days, during which the potential
                                                                                             led the TIP office and overall anti-trafficking efforts and chaired the
             foreign victim faced domestic violence. During the reporting period,
                                                                                             trafficking in persons working group, which consisted of government
             an NGO-run shelter housed the potential foreign victim, and after
                                                                                             agencies, civil society organizations, and the international community.
             persistent advocacy, DSCOTPS started an investigation and transferred
                                                                                             The government allocated €96,102 ($108,960) to the TIP office within
             the victim to the shelter.
                                                                                             the MOI, compared with €152,000 ($172,340) in 2020. The TIP office
             In 2020, the Ministry of Finance and Social Welfare (MFSW) opened a             published limited information on anti-trafficking efforts, but in previous
             call for proposals to establish a new anti-trafficking shelter (the shelter)    years, experts reported difficulties in sharing and obtaining information
             and selected an NGO with the necessary licenses. The MFSW allocated             from relevant government actors. The government maintained a
             €50,000 ($56,690) to the shelter for operational costs, compared with           cooperation agreement signed in 2020 between law enforcement,
             €67,530 ($76,560) in 2020. Centers for Social Work also allocated               relevant ministries, and six NGOs to strengthen anti-trafficking efforts.
             €250 ($280) per month for each victim accommodated at the shelter.              The TIP office, with ﬁnancial support from a foreign donor, organized

  396                                                                                                                                     Haiti AR_000877
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 502 of 729




                                                                                                                                                              MOROCCO
an awareness campaign in eight cities and all border crossings for the
general public. The MOI monitored implementation of six NGO projects                    MOROCCO TIER RANKING BY YEAR
to raise public awareness on trafficking after awarding approximately               1
€40,000 ($45,350) to these NGOs in 2020. The government continued
                                                                                    2
to ﬁnance an NGO-run hotline for trafficking victims; the hotline received
2,961 calls, but most calls focused on obtaining information or reports           2WL
of other forms of violence (1,657 calls, including ﬁve from potential               3
trafficking victims in 2020). The Labor Inspectorate, which was trained                    2015     2016     2017      2018   2019    2020   2021   2022
on indicators of trafficking, inspected businesses and identiﬁed 945
workers with contract violations (351 in 2020) and resolved contract
violations for 234 workers (97 in 2020). The government did not make
efforts to reduce the demand for commercial sex acts. The government
                                                                                PRIORITIZED RECOMMENDATIONS:
                                                                                Finalize, approve, and systematically implement procedures to proactively
did not have procedures in place to regulate labor recruitment agencies.
                                                                                identify trafficking victims, especially among vulnerable populations
                                                                                such as undocumented migrants. • Create and implement a national
TRAFFICKING PROFILE
                                                                                victim referral mechanism (NRM) and train judicial and law enforcement
As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                authorities on its application. • Investigate, prosecute, and convict
and foreign victims in Montenegro, and traffickers exploit victims from
                                                                                traffickers using the anti-trafficking law, including forced labor cases. •
Montenegro abroad. Traffickers are predominantly men between ages
                                                                                Train law enforcement and judicial officials, child labor inspectors, and
25 and 49 and members of organized criminal groups that operate in
                                                                                healthcare personnel on awareness of the anti-trafficking law, victim
the Western Balkans. Victims of sex trafficking identiﬁed in Montenegro
                                                                                identiﬁcation, non-penalization of victims, and referral best practices
are primarily women and girls from Montenegro, neighboring Balkan
                                                                                using current mechanisms with the NGO community to increase officials’
countries, and, to a lesser extent, other countries in Eastern Europe.
                                                                                ability to identify internal trafficking cases, as well as cross-border
Traffickers exploit victims in the hospitality industry, including bars,
                                                                                trafficking cases, as distinct from migrant smuggling crimes. • Provide
restaurants, nightclubs, and cafes. Children, particularly Romani, Ashkali,
                                                                                adequate protection services for victims of all forms of trafficking,
and Balkan Egyptian children, are exploited in forced begging. Romani
                                                                                including but not limited to shelter, psycho-social services, legal aid,
girls from Montenegro reportedly have been sold into marriages and
                                                                                and repatriation assistance. • Disaggregate law enforcement data on
forced into domestic servitude in Romani communities in Montenegro
                                                                                human trafficking and migrant smuggling crimes. • Increase provision of
and, to a lesser extent, in Albania, Germany, and Kosovo. Migrants
                                                                                specialized services for populations vulnerable to trafficking and increase
from neighboring countries are vulnerable to forced labor, particularly
                                                                                ﬁnancial or in-kind support to NGOs that provide these services. • Ensure
during the summer tourism season. International organized criminal
                                                                                that victims are not punished for unlawful acts traffickers compelled
groups exploit some Montenegrin women and girls in sex trafficking
                                                                                them to commit, such as immigration and prostitution violations. •
in other Balkan countries. In 2020, traffickers recruited Taiwanese
                                                                                Implement nationwide anti-trafficking awareness campaigns.
workers, conﬁscated their passports and restricted their movement,
and set up a call center where they forced the Taiwanese victims to
make fraudulent calls.
                                                                                PROSECUTION
                                                                                The government maintained overall anti-trafficking law enforcement
                                                                                efforts. Law 27.14 criminalized sex trafficking and labor trafficking and
                                                                                prescribed penalties of ﬁve to 10 years’ imprisonment and a ﬁne for

 MOROCCO: TIER 2                                                                offenses involving adult victims and 20 to 30 years’ imprisonment and
                                                                                a ﬁne for those involving child victims. These penalties were sufficiently
                                                                                stringent, and regarding sex trafficking, commensurate with penalties
The Government of Morocco does not fully meet the minimum standards             for other serious crimes, such as rape.
for the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                                To adjust to the pandemic, the Moroccan court system transitioned to
The government demonstrated overall increasing efforts compared with
                                                                                virtual operations for most of 2021; however, the government reported
the previous reporting period, considering the impact of the COVID-19
                                                                                this led to signiﬁcant backlogs in the judicial system and reported the
pandemic on its anti-trafficking capacity; therefore Morocco remained           number of pending cases in the court system increased 34 percent in
on Tier 2. These efforts included increasing trafficking prosecutions.          2021 compared to 2020. The government reported the pandemic and
Courts sentenced traffickers to signiﬁcant prison terms. The government         related challenges hindered its ability to comprehensively collect and
also continued partnering with international organizations to train             report law enforcement data on trafficking. Despite improvements in
government officials. However, the government did not meet the                  data collection during the reporting period, authorities did not always
minimum standards in several key areas. The government identiﬁed the            disaggregate between human trafficking and migrant smuggling
fewest number of trafficking victims since 2018 and remained without            crimes; thus, the government’s reporting of trafficking investigation,
comprehensive victim identiﬁcation and referral procedures, which               prosecution, and conviction data may instead include other crimes
were pending government approval for the third consecutive year.                such as migrant smuggling. Cultural acceptance of trafficking and low
Lack of proactive screening and identiﬁcation measures continued                understanding of the difference between trafficking and smuggling
to leave populations such as migrants vulnerable to penalization                among law enforcement officials impeded law enforcement efforts. In
for unlawful acts traffickers compelled them to commit, such as                 2021, the government investigated 85 new trafficking cases involving
immigration violations. The government did not report referring any             116 sex trafficking suspects, 10 labor trafficking suspects, and 20
labor trafficking or male victims to care despite identifying 12 labor          suspects involved in unspeciﬁed forms of trafficking, although these
trafficking victims and 54 male victims.                                        unspeciﬁed cases may have included smuggling cases. This was similar
                                                                                compared with 79 investigations in 2020. Despite reduced in-person
                                                                                court appearances during the pandemic and challenges adapting
                                                                                to digital processes and reduced staff, the government initiated the
                                                                                prosecution of 111 alleged traffickers, an increase compared with the
                                                                                prosecution of 69 alleged traffickers in 2020. Of the 111 prosecutions
                                                                                in 2021, 89 were for alleged sex trafficking, nine for forced labor, and
                                                                                13 for unspeciﬁed forms of trafficking. The government convicted 54
                                                                                traffickers during 2021, a decrease from the conviction of 69 traffickers
                                                                                in 2020, including 48 sex traffickers and four labor traffickers. The
                                                                                government reported sentencing data for the ﬁrst time since 2020, and
                                                                                courts issued 51 sentences in 2021, which ranged between ﬁve and 20
                                                                                years’ imprisonment. Courts upheld 26 convictions and overturned ﬁve
                                                                                                                                     Haiti AR_000878          397
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 503 of 729
MOROCCO   convictions upon appeal in 2021; such data was not available for 2020.         enforcement agencies reportedly continued to utilize focal points to
          The government did not report initiating any investigations, prosecutions,     work directly with these reception centers and MOJ units, and they
          or convictions of government officials complicit in human trafficking          continued to use a list of NGO service providers to whom authorities
          crimes. In December 2019, a diplomat posted to the Moroccan Mission            could refer trafficking victims for care. The government reported
          to the United Nations in New York, his ex-wife, and her brother were           these services were available to adult male victims but acknowledged
          indicted for, among other crimes, conspiring to commit visa fraud from         they were more difficult to access. Prosecutors in the courts of ﬁrst
          2006 to 2016 to exploit foreign domestic workers from the Philippines,         instance and the courts of appeal—in coordination with the Ministry of
          Morocco, and other countries. U.S. authorities arrested the former             Health—had the authority to order trafficking victims to be removed
          diplomat’s ex-wife in March 2019; she died in 2021 prior to trial. The other   from exploitative situations and to place them in the care of a hospital
          two defendants remained at large. For the fourth consecutive year, the         or civil society organization. The government also reported it placed an
          government did not report completing any action to hold the former             unknown number of officials in courts throughout the country, who were
          diplomat accountable. The General Prosecutor continued to ensure               responsible for identifying and referring trafficking victims to psycho-
          there were two prosecutors specialized in handling trafficking cases in        social support, medical services, and legal aid. The government, however,
          every court of appeal across the country. The government coordinated           did not report how many—if any—victims these officials or prosecutors
          trainings, at times in cooperation with international organizations, for       referred to protection services. The government continued to rely
          prosecutors, border officials, law enforcement, labor inspectors, and          heavily on NGOs and international organizations to provide assistance to
          other officials on trafficking indicators, trafficking investigations, and     trafficking victims but did not report providing ﬁnancial resources. NGO
          related topics during the reporting period.                                    service providers noted pandemic-related lockdown measures impeded
                                                                                         their ability to assist trafficking victims and reported trafficking victims
          PROTECTION                                                                     were stranded for extended periods of time in unsanitary locations or
          The government maintained overall efforts to identify and protect              temporary shelters. The government continued to encourage victims to
          trafficking victims. The government did not have formal comprehensive          cooperate in investigations against traffickers, but it did not report the
          victim identiﬁcation standard operating procedures (SOPs) or a national        number of victims who did so during the reporting period or if it took
          victim referral process but continued to collaborate with an international     measures to protect witness conﬁdentiality, nor did it report if victims
          organization to establish standard procedures and a draft NRM; the             received restitution from traffickers. The government organized the
          draft SOPs and NRM remained pending government approval for the                voluntary repatriation of 2,376 foreign nationals between January and
          third consecutive year. The government and civil society organizations         November 2021 but did not report how many were trafficking victims.
          reported pandemic-related mitigation measures continued to limit               The government provided legal alternatives to the removal of foreign
          authorities’ ability to identify trafficking victims due to movement           victims of trafficking to countries where they might face retribution
          restrictions. In addition, the government reported the change to remote        or hardship.
          court proceedings restricted the ability of the points of contact stationed
                                                                                         The Ministry Delegate in charge of Moroccans Residing Abroad and
          at courts to refer victims to support services. In 2021, the government
                                                                                         Migration Affairs continued to lead the government’s National Strategy
          identiﬁed 169 trafficking victims, which was a signiﬁcant decrease
                                                                                         for Immigration and Asylum, which aimed to regularize the legal status
          compared with the government’s identiﬁcation of 441 victims in 2020,
                                                                                         of migrants, refugees, and asylum-seekers, including trafficking victims.
          although this number may have included victims of other crimes,
                                                                                         Under this strategy, foreign trafficking victims could beneﬁt from various
          including smuggling. Of the 169 victims, 116 were exploited in sex
                                                                                         services, including reintegration assistance, education, vocational
          trafficking and 12 in forced labor; 115 were female, and 54 were male;
                                                                                         training, social services, and legal aid. However, the government did
          167 were Moroccan, and two were foreign nationals; 90 were adults,
                                                                                         not report proactively identifying potential trafficking victims during
          and 79 were children. Despite the lack of comprehensive SOPs and an
                                                                                         these regularization efforts or how many foreign trafficking victims—if
          NRM, the Ministry of Interior used standard procedures for the reception,
                                                                                         any—beneﬁted from these services during the reporting period. Due
          orientation, and care of undocumented migrants and trafficking victims
                                                                                         to the lack of proactive screening and identiﬁcation measures, some
          encountered during border management activities. In the absence of a
                                                                                         foreign trafficking victims remained unidentiﬁed. Furthermore, foreign
          formal referral mechanism, the government continued to informally refer
                                                                                         trafficking victims—especially among the sub-Saharan African migrant
          victims to services. The government referred 20 sex trafficking victims
                                                                                         population—remained vulnerable to penalization for unlawful acts
          to government shelters and provided 54 victims with services including
                                                                                         traffickers compelled them to commit, such as immigration violations.
          legal aid, housing assistance, medical care, foreign residence permits,
                                                                                         Foreign migrants reported they feared arrest and deportation, thereby
          and family reuniﬁcation; the government did not report whether the
                                                                                         deterring them from reporting trafficking or other types of crimes to
          remaining 95 identiﬁed victims received any assistance. The government
                                                                                         the police.
          did not report how many victims, if any, it referred to services in the
          previous reporting period. In addition, the Ministry of Family, Solidarity,
                                                                                         PREVENTION
          Equality, and Social Development continued implementing a December
                                                                                         The government maintained efforts to prevent human trafficking. The
          2019 initiative to combat forced child begging; the initiative aimed to
                                                                                         national inter-ministerial anti-trafficking committee, which was led by
          strengthen child protection systems, focus interagency ﬁeld teams
                                                                                         the MOJ and included two representatives from civil society, oversaw
          in different regions, and improve protection services for child forced
                                                                                         the government’s national strategy for immigration and asylum, which
          begging victims. Between the launch of the program in December
                                                                                         included efforts to manage irregular migration, combat trafficking, and
          2019 and May 2021, the program assisted 142 potential child trafficking
                                                                                         organize training sessions for security services on asylum, migration,
          victims and provided shelter, education, psychological support, and
                                                                                         and trafficking issues. However, the government reported the anti-
          additional services as necessary. Through this program, the government
                                                                                         trafficking committee was only able to meet once in person during the
          provided mobile social assistance, including reintegration, to potential
                                                                                         reporting period due to pandemic-related mitigation measures and most
          child trafficking victims living on the streets of Casablanca, Menes, and
                                                                                         coordination was done via written correspondence, which delayed the
          Tangier; the government reported 910 children received assistance in
                                                                                         coordination process. The government also continued to implement
          2021. Each branch of the National Security Directorate maintained a
                                                                                         a national anti-trafficking action plan, which included coordination
          support unit for women victims of violence to ensure a more victim-
                                                                                         across relevant ministries. The government conducted public awareness
          centered approach to sensitive cases, including cases involving female
                                                                                         campaigns, at times in coordination with an international organization,
          trafficking victims.
                                                                                         during the reporting period. The government continued operating
          The government did not provide shelter or psycho-social services               a digital portal to ﬁeld trafficking complaints and outline resources
          speciﬁc to the needs of victims of all forms of trafficking. However, it       available to trafficking victims; seven complaints received through the
          continued to provide services to female and child victims of violence,         portal were referred to the Public Prosecutor’s Office.
          including potential trafficking victims, at 40 reception centers staffed
                                                                                         The government reportedly continued to implement Law No. 19.12,
          by nurses and social workers at major hospitals, as well as in Ministry
                                                                                         adopted in October 2018, which provided protections for foreign
          of Justice (MOJ) protection units in Moroccan courts. Moroccan law
                                                                                         domestic workers, including requiring valid work contracts that meet

 398                                                                                                                                  Haiti AR_000879
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 504 of 729




                                                                                                                                                           MOZAMBIQUE
national labor standards for the granting of a work visa. Law 19.12           recruited for employment as domestic workers in Morocco; upon arrival,
also bans the use of intermediaries to negotiate the recruitment of           employers force them into domestic service through non-payment of
domestic workers on behalf of the employer and recruitment agency             wages, withholding of passports, and physical abuse.
to reduce vulnerability to fraudulent recruitment. The government
                                                                              Traffickers, including parents and other intermediaries, exploit Moroccan
continued to operate a hotline through the National Observatory for
                                                                              children in Morocco for forced labor, domestic work, begging, and sex
the Rights of the Child for the public to report abuse and crimes against
                                                                              trafficking. Some Moroccan boys endure forced labor while employed
children, but the government did not report if the hotline received any
                                                                              as apprentices in the artisanal, textile, and construction industries and
reports of potential child trafficking crimes. The Ministry of Labor and
                                                                              in mechanic shops. Although the incidence of child domestic workers
Professional Integration continued to conduct child labor inspections in
                                                                              has reportedly decreased in Morocco since 2005, girls are recruited
the formal economy across the country, but the government reported
                                                                              from rural areas for work in domestic service in cities, and some become
it remained concerned about child labor violations in the informal
                                                                              victims of forced labor. NGOs and other observers anecdotally reported
sector, including potential forced child labor crimes. The government
                                                                              in 2018 that a signiﬁcant number of girls work as domestic help in
continued coordinating with an international organization to spread
                                                                              Moroccan households, but it is difficult to determine the extent of the
public awareness to prevent child labor in domestic work—a sector
                                                                              problem because of authorities’ inability to access this population.
vulnerable to forced child labor—during the reporting period. Aside
                                                                              Drug traffickers reportedly compel children to participate in drug
from implementing a national policy for the protection of children,
                                                                              production and trafficking in Morocco. Some family members and other
including preventing exploitation of children through online sexual
                                                                              intermediaries exploit Moroccan women in sex trafficking. Some foreign
exploitation, the government did not report efforts to reduce the
                                                                              nationals, primarily from Europe and the Middle East, engage in child
demand for commercial sex acts or child sex tourism. The government
                                                                              sex tourism in major Moroccan cities; these cases reportedly decreased
provided anti-trafficking training to its diplomatic personnel. Moroccan
                                                                              during 2020 due to pandemic-related travel restrictions. Traffickers
peacekeeping forces received anti-trafficking training and operated
                                                                              exploit Moroccan adults and children in forced labor and sex trafficking,
under a “no tolerance” standard for troops involved in UN peacekeeping
                                                                              primarily in Europe and the Middle East, particularly in the Gulf states.
missions. Although not explicitly reported as trafficking, an international
                                                                              Traffickers force Moroccan women into commercial sex abroad, where
organization reported receiving two allegations—one in 2021 and one
                                                                              they experience restrictions on movement, threats, and emotional and
in 2020—of sexual exploitation with potential trafficking indicators by
                                                                              physical abuse. As in past years, media continued reporting Moroccan
Moroccan peacekeepers deployed to UN peacekeeping missions in the
                                                                              workers in Spain’s agricultural sector were subjected to forced labor
Democratic Republic of the Congo; the government’s investigations
                                                                              and, at times, sexual abuse. Swedish authorities reported that, since
into the allegations were pending at the end of the reporting period.
                                                                              2016, traffickers force boys and young men from Morocco experiencing
                                                                              homelessness to deal drugs, carry out thefts, and perpetrate other
TRAFFICKING PROFILE                                                           criminal activities in Sweden; however, these cases have reportedly
As reported over the past ﬁve years, human traffickers exploit domestic
                                                                              decreased since 2019.
and foreign victims in Morocco, and traffickers exploit Moroccan victims
abroad. Documented and undocumented foreign migrants, especially
women and children, are highly vulnerable to forced labor and sex
trafficking in Morocco and as they transit through Morocco to reach
Europe. Traffickers exploit many migrants who voluntarily use smugglers
                                                                               MOZAMBIQUE: TIER 2
to enter Morocco. In 2020, the number of sub-Saharan migrants
clandestinely entering the country—the majority of whom intend to             The Government of Mozambique does not fully meet the minimum
transit Morocco on their way to Europe—decreased by an estimated              standards for the elimination of trafficking but is making signiﬁcant
30 percent in comparison to 2019; this trend reportedly continued             efforts to do so. The government demonstrated overall increasing efforts
in 2021, but data was unavailable. However, the number of migrants            compared with the previous reporting period, considering the impact
departing from Morocco for Europe reportedly increased eight-fold due         of the COVID-19 pandemic on its anti-trafficking capacity; therefore
to migrants making the dangerous ocean crossing to the Canary Islands         Mozambique remained on Tier 2. These efforts included prosecuting
in 2020, compared to 2019. The Spanish government and international           and convicting traffickers, collaborating with international organizations
organizations estimate that 38,000 people, including Moroccan citizens,       to train front-line officials on trafficking, creating and strengthening
crossed clandestinely from Morocco to Spanish territory in 2020 either        cross-border reference groups, and launching an initiative to prevent
by sea or over land; the majority, approximately 21,000, arrived in the       trafficking in emergencies. However, the government did not meet
Canary Islands. Both sub-Saharan and Moroccan migrants making                 the minimum standards in several key areas. The government did not
this journey to Spain and further into Europe are at risk of trafficking      proactively identify trafficking victims. The government did not ﬁnalize
in Morocco and Europe. For example, traffickers exploit some female           a draft national referral mechanism (NRM), which limited victims’
migrants while seeking assistance at “safe houses” in Morocco, which          access to protective services and left potential victims unidentiﬁed.
usually are run by individuals of their own nationality. Some female          The government did not ﬁnalize implementing regulations and, as
undocumented migrants, primarily from Sub-Saharan Africa and a small          a result, did not operationalize the protection provisions within the
but growing number from South Asia, are exploited in sex trafficking          2008 anti-trafficking act. The government also did not adopt a national
and forced labor in Morocco. Criminal networks operating in Oujda on          action plan (NAP), limiting overall anti-trafficking efforts. Mozambican
the Algerian border and in northern coastal cities, such as Nador, exploit    officials remained without effective policies or laws that would regulate
undocumented migrant women in sex trafficking and forced begging;
                                                                              foreign labor recruiters and hold them civilly and criminally liable for
networks in Oujda also reportedly exploit children of migrants in forced
begging. Some female migrants, particularly Nigerians, who transit Oujda      fraudulent recruiting.
are exploited in sex trafficking once they reach Europe. Furthermore,
some contacts claim that entrenched Nigerian networks, working with
                                                                                      MOZAMBIQUE TIER RANKING BY YEAR
Moroccan criminal elements, exploit primarily Nigerian women in sex
                                                                                  1
trafficking and retain control over these victims when they arrive in
Europe. International organizations, local NGOs, and migrants report              2
women and unaccompanied children from Cote d’Ivoire, the Democratic             2WL
Republic of the Congo, Nigeria, and Cameroon are highly vulnerable
                                                                                  3
to sex trafficking and forced labor in Morocco. Some reports suggest                     2015     2016     2017     2018   2019    2020   2021   2022
Cameroonian and Nigerian networks exploit women in sex trafficking,
while Nigerian networks also exploit women in forced begging in the
streets by threatening the victims and their families; the victims are
typically the same nationality as the traffickers. Some women from
the Philippines, Indonesia, and francophone sub-Saharan Africa are
                                                                                                                                  Haiti AR_000880          399
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 505 of 729
MOZAMBIQUE                                                                                   ongoing at the end of the reporting period. The victims interviewed
             PRIORITIZED RECOMMENDATIONS:
             Finalize, approve, implement, and train officials to use standard               reported experiencing serious psychological distress; however, the
             operating procedures (SOPs) for victim identiﬁcation and the NRM                government did not report providing appropriate services to victims.
             to refer all trafficking victims to appropriate care. • Systematically          Subsequent media reports alleged similar and widespread sexual
             and proactively identify trafficking victims by screening vulnerable            abuse and potential sex trafficking of female inmates throughout the
             populations—including victims of child abuse, victims of trafficking            country. Similar to previous years, traffickers commonly bribed police
             by extremist groups including child soldiers, individuals in IDP and            and immigration officials to facilitate trafficking domestically and
             resettlement camps, and foreign nationals, such as migrants from                transnationally, especially to South Africa.
             neighboring countries and North Korean and Cuban workers—for                    The government, in partnership with an international organization,
             trafficking indicators and refer them to appropriate services. • Vigorously     trained 141 front-line officials in four provinces on draft revised SOPs
             investigate and prosecute trafficking crimes and sentence convicted             for victim identiﬁcation and referral and trained 30 customs and border
             traffickers, including complicit officials, to adequate penalties. • Increase   officers and investigators on trafficking in persons, child protection,
             provision of comprehensive services, including medical care, psycho-            and irregular migration in Tete Province. In partnership with the Maputo
             social counseling, and shelter, to all victims, including males and             and Cabo Delgado Province Reference Groups and support from an
             foreign nationals, and expand the availability of protective services for       international organization, the government trained 49 individuals,
             all victims, including long-term shelter and reintegration assistance. •        including law enforcement and anti-corruption officials, religious
             Amend the anti-trafficking law to bring the deﬁnition of trafficking in         leaders, NGO representatives, and tour operators. The government
             line with the deﬁnition of trafficking under international law. • Finalize,     reported working with civil society to establish and strengthen existing
             adopt, and dedicate funds to implement the NAP. • Increase coordination         cross-border reference groups with neighboring countries to improve
             among district, provincial, and national stakeholders to bolster reporting      coordination on law enforcement operations, prevention efforts, and
             on the government’s anti-trafficking efforts. • Build the capacity of the       victim protection. Police stations throughout the country had specialists,
             labor inspectorate and the Women and Children’s Victim Assistance Units         trained by the Office of Assistance to Women and Children Victims
             to identify potential trafficking victims, investigate trafficking cases,       of Domestic Violence, available to respond and provide support to
             and refer victims to care. • Implement and consistently enforce strong          potential trafficking cases. The government continued to offer victim
             regulations and oversight of labor recruitment companies, including by          support in more than 215 police stations and 22 “Victims of Violence”
             eliminating recruitment fees charged to migrant workers and holding             centers throughout the country, offering temporary shelter, food,
             fraudulent labor recruiters criminally accountable.                             limited counseling, and monitoring following reintegration for victims
                                                                                             of crime. The government did not, however, provide speciﬁc numbers
             PROSECUTION                                                                     of trafficking victims who beneﬁted from these services for the prior
             The government maintained minimal anti-trafficking law enforcement              two years.
             efforts. The 2008 Law on Preventing and Combating the Trafficking of
             People criminalized sex trafficking and labor trafficking and prescribed        PROTECTION
             penalties of 16 to 20 years’ imprisonment. These penalties were                 The government maintained minimal victim protection efforts. The
             sufficiently stringent and, with respect to sex trafficking, commensurate       government identiﬁed 15 victims in 2021, compared with two victims
             with those prescribed for other serious crimes, such as rape. Inconsistent      identiﬁed in 2020 and 22 identiﬁed in 2019. However, all victims
             with international law, the law did not establish the use of force, fraud, or   identiﬁed in 2021 were associated with one investigation and, for
             coercion as an essential element of the crime. The government continued         the second consecutive year, the government did not identify any
             to work with an international organization to review draft amendments           victims outside those identiﬁed through law enforcement activity.
             to bring the 2008 anti-trafficking law in line with international standards;    The government reported voluntarily repatriating 13 of the foreign
             however, draft amendments remained awaiting approval by various                 national victims identiﬁed; however, for the second consecutive year,
             stakeholders for the third consecutive reporting period.                        the government did not report providing any services to victims. The
             The government investigated two human trafficking cases in 2021,                government continued to lack adequate procedures to screen vulnerable
             compared with six case investigations in 2020. The government                   populations for trafficking, including foreign migrants and child abuse
             prosecuted and convicted two traffickers in 2021, compared with two             victims. Additionally, front-line officials lacked a general understanding
             suspects prosecuted and one trafficker convicted of forced labor in             of trafficking, which hampered victim identiﬁcation efforts. Officials and
             2020. Judges sentenced the convicted traffickers to two years and 16            civil society organizations reported the actual number of trafficking
             years in prison, respectively. One investigation remained ongoing at            victims in Mozambique was likely signiﬁcantly higher than the number
             the end of the reporting period. Due to conﬂation between migrant               represented by criminal cases. Although the draft NRM and SOPs for
             smuggling and human trafficking, the government may have prosecuted             victim identiﬁcation continued to be informally distributed to officials
             migrant smuggling crimes under its anti-trafficking law. With support           to identify and refer victims, the government did not ﬁnalize and fully
             from an international organization, the government contributed                  implement the NRM or SOPs for the ﬁfth consecutive year. Observers
             information on trafficking case investigations to a national centralized        reported the lack of a formal NRM, and SOPs hampered community-
             anti-trafficking data collection and reporting tool. The government             level officials’ efforts to identify victims, and many potential trafficking
             reported that pandemic restrictions limited law enforcement’s ability           cases went unidentiﬁed during the reporting period. The government
             to detect, prevent, and respond to human trafficking and collaborate            did not report progress in ﬁnalizing implementing regulations for
             with neighboring countries on cross border investigations.                      trafficking victim and witness protection, hindering the government’s
                                                                                             provision of protection services for trafficking victims for the seventh
             Official complicity in human trafficking crimes remained a signiﬁcant           consecutive reporting period.
             concern and inhibited law enforcement action during the year. An
             investigation by an anti-corruption NGO led the government to                   Despite government-provided care reportedly being available for
             appoint a Commission of Inquiry and open a criminal investigation               trafficking victims, the government did not report providing these
             into human trafficking at Ndlavela Women’s Prison, where prison                 services for the past three years. The government generally relied on
             guards allegedly forced inmates through violence and intimidation               civil society organizations to identify victims of trafficking and refer
             to engage in commercial sex both inside and outside the prison.                 them to care but did not report providing ﬁnancial or in-kind support to
             The Commission conﬁrmed prison guards brought sex buyers into                   such organizations. The Ministry of Gender, Children, and Social Action
             the prison, allegedly including high-ranking officials, but disagreed           operated three centers that could provide short-term shelter, medical
             with some key details of the NGO’s report, including the claim that             and psychological care, family reuniﬁcation, and legal assistance to
             female inmates were removed from the prison for exploitation. Civil             trafficking victims; however, the government did not detail the scope
             society expressed serious concerns about the investigation’s validity           of the services provided during the reporting period. The government
             and independence, suggesting the Commission withheld details to                 did not have a long-term shelter for trafficking victims or an alternative
             shield government officials from liability. The government suspended            for those in need of long-term shelter. While the government speciﬁed
             prison personnel and opened a criminal investigation, which remained            that it occasionally could provide shelter for adult male victims, it did

  400                                                                                                                                     Haiti AR_000881
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 506 of 729




                                                                                                                                                            NAMIBIA
not report providing services for adult male victims identiﬁed during the      liable for fraudulent recruiting. The government did not provide anti-
year. The anti-trafficking law required police protection for victims who      trafficking training to diplomats. The government did not make efforts
participated as witnesses in criminal proceedings against traffickers,         to reduce the demand for commercial sex acts.
but the government did not report providing these services to any
victims. Mozambican law provided for temporary residency status or             TRAFFICKING PROFILE
legal alternatives to the removal of foreign victims to countries where        As reported over the past ﬁve years, human traffickers exploit domestic
they might face hardship or retribution, but the government did not            and foreign victims in Mozambique, and traffickers exploit victims from
report granting status to foreign victims during the reporting period.         Mozambique abroad. Forced child labor occurs in agriculture, mining,
Authorities may have penalized trafficking victims for crimes traffickers      and market vending in rural areas, often with the complicity of family
compelled them to commit; observers reported some potential victims,           members. Traffickers lure voluntary migrants, especially women and
particularly irregular migrants, may have been deported or remained            girls from rural areas, from neighboring countries, such as Malawi,
unidentiﬁed in the law enforcement system. International organizations         to cities in Mozambique, Eswatini, or South Africa with promises of
indicated that women and children exploited by extremist groups in             employment or education, and then they exploit those victims in
Cabo Delgado province may not be appropriately screened by the                 domestic servitude and sex trafficking. Some traditional healers target
government for trafficking indicators and, therefore, may not have             individuals with albinism, who may be vulnerable to both sex and labor
received necessary services.                                                   trafficking. Traffickers exploit Mozambican girls in bars, roadside clubs,
                                                                               overnight stopping points, and restaurants along the southern transport
PREVENTION                                                                     corridor that links Maputo with Eswatini and South Africa. Traffickers
The government maintained overall efforts to prevent trafficking. The          in and around mining worksites in Cabo Delgado province exploit girls
National Reference Group (NRG), under leadership of the attorney               in sex trafficking. Increasingly, traffickers recruit women and girls via
general’s office, convened regularly during the reporting period to            the internet with promises of employment using fake business proﬁles
coordinate on national anti-trafficking efforts, and members at the            on social media, then subsequently exploit them in sex trafficking or
national, provincial, and district levels met regularly as working groups      forced labor. Child sex trafficking is prevalent in the cities of Maputo,
to address speciﬁc trafficking cases and concerns. The NRG established         Beira, Chimoio, Tete, and Nacala, which have highly mobile populations
a Reference Group in Pemba district in Cabo Delgado province to                and large numbers of truck drivers. The government reported that the
prevent and respond to human trafficking. The NRG also engaged                 pandemic increased vulnerability to trafficking, especially for children
with the Ministry of Justice to push for adoption of the NAP, which            targeted through social media.
remained in draft form since 2017. The NRG reported the pandemic
                                                                               An international organization reported there were more than 153,000
hampered progress towards adoption of the NAP during the reporting
                                                                               IDPs in Mozambique as a result of natural disasters, including tropical
period; the government remained without a NAP since 2012. The NRG
                                                                               cyclones in 2019 and 2022; individuals in displacement camps
collaborated with the Ministry of State Administration’s National
                                                                               or otherwise affected by cyclones were vulnerable to trafficking.
Institute of Disaster Management to reduce the risks of trafficking
                                                                               Additionally, an international organization reported in February
and child labor in emergencies, such as terrorist-related conﬂict and
                                                                               2022 there were approximately 735,000 IDPs in northern and central
natural disasters. The government did not have a dedicated budget
                                                                               Mozambique as a result of violent extremism and instability in the
to combat trafficking, which hindered overall anti-trafficking efforts.
                                                                               region; non-state armed groups exploited women and children in
The government reportedly began implementation of SOPs in IDP                  forced labor and sex trafficking. In addition, non-state armed groups
camps in northern and central provinces to screen for trafficking              recruited and/or used child soldiers.
indicators. An international organization, in partnership with the
                                                                               Traffickers exploit Mozambican men and boys in forced labor on
government and Rwandan security forces, launched a program to
                                                                               South African farms and mines, where victims often work for months
strengthen the capacity of Mozambican security forces to respond
                                                                               without pay under coercive conditions before being turned over
to child soldiering and gender-based violence by violent extremists.
                                                                               to police for deportation as undocumented migrants. Mozambican
The government established or expanded efforts with cross-border
                                                                               boys migrate to Eswatini to wash cars, herd livestock, and sell goods;
reference groups for improved coordination with other countries,
                                                                               some subsequently become victims of forced labor. Traffickers exploit
including South Africa and Tanzania. In July 2021, the government
                                                                               Mozambican adults and girls in forced labor and sex trafficking abroad,
hosted a joint webinar with the Governments of Angola and Portugal
                                                                               including in Angola, Italy, Portugal, Germany, Cyprus, and Hungary.
on combating human trafficking during the pandemic, which included
                                                                               Informal networks typically are composed of Mozambican or South
minimizing vulnerability and strengthening cooperation. Pandemic-
                                                                               African traffickers. Reports allege traffickers bribe officials to move
related restrictions on travel and in-person gatherings signiﬁcantly
                                                                               victims within the country and across national borders to South Africa
hampered the government’s awareness-raising efforts. The government
                                                                               and Eswatini. At a cement factory owned by a PRC-based company
and an international organization collaborated on one awareness
                                                                               in Matutuine, PRC national managers subjected approximately 300
campaign on World Day Against Trafficking with prominent public
                                                                               Mozambiquans to forced labor, according to media reports. Cuban
ﬁgures to raise public awareness of trafficking in persons through
                                                                               medical professionals working in Mozambique may have been forced
television, radio, and social media.
                                                                               to work by the Cuban government.
The government did not report operating or providing support to
a hotline exclusively available for adult trafficking victims; however,
the government publicized two crime hotlines equipped to receive
reports of human trafficking and refer victims. It was not reported if          NAMIBIA: TIER 1
these hotlines handled trafficking-related calls during the reporting
period. The government continued providing in-kind support for an
                                                                               The Government of Namibia fully meets the minimum standards for the
NGO-run hotline that was available to report crimes against children,
                                                                               elimination of trafficking. The government continued to demonstrate
including trafficking, and respond to callers in local languages. In 2021,
                                                                               serious and sustained efforts during the reporting period, considering
this hotline opened a new office in Cabo Delgado and received 18
                                                                               the impact of the COVID-19 pandemic on its anti-trafficking capacity;
reports of child trafficking and 111 reports of child labor, and it made 363
referrals to law enforcement and service providers. The government did         therefore Namibia remained on Tier 1. These efforts included referring all
not report opening investigations or assisting victims following these         identiﬁed victims to care; training port employees on trafficking victim
reports. The government reported training labor inspectors to screen           identiﬁcation; and opening eight government-operated shelters and
for forced child labor during inspections; however, inspectors did not         funding three NGOs to provide shelter and care to victims. Although the
identify forced child labor during the 8,650 inspections conducted in          government meets the minimum standards, it identiﬁed fewer victims
2021. Mozambican officials remained without effective policies or laws         and initiated fewer investigations and prosecutions. The government did
regulating labor recruitment and holding recruiters civilly and criminally     not provide specialized human trafficking training to law enforcement


                                                                                                                               Haiti AR_000882              401
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 507 of 729
NAMIBIA   or protection officers. Occasional breakdowns in communication                among vulnerable Angolan migrants ﬂeeing drought in Southeastern
          between government officials and civil society and within government          Angola. The government used its agreement for mutual legal assistance
          ministries led to a lack of coordination among members of the National        with the Government of Angola to trace and extradite an alleged trafficker
          Coordinating Body (NCB).                                                      and maintained bilateral law enforcement cooperation agreements with
                                                                                        the Governments of Zimbabwe and Angola. The Directors General of the
                                                                                        Namibian and Zambian Departments of Immigration met to increase
                  NAMIBIA TIER RANKING BY YEAR                                          future collaboration on human trafficking.
              1
              2                                                                         PROTECTION
            2WL                                                                         The government maintained overall protection efforts. The government
                                                                                        identiﬁed seven trafficking victims, compared with 19 victims in 2020. This
              3
                     2015     2016      2017     2018   2019   2020   2021    2022
                                                                                        included one Namibian child exploited in sex trafficking, two female adults
                                                                                        from Namibia and Zambia exploited in labor trafficking, one adult male
                                                                                        from South Africa whose exploitation was unspeciﬁed, and three additional
                                                                                        unspeciﬁed trafficking victims. The government reported referring victims
          PRIORITIZED RECOMMENDATIONS:                                                  to government or NGO-operated temporary shelters, providing assistance
          Conduct trainings and multi-sector information sharing workshops              to all seven identiﬁed victims, and continued to provide care and assist
          for criminal justice and social welfare professionals on implementing         18 victims identiﬁed in the previous reporting period. The government
          the Trafficking in Persons Act of 2018. • Train law enforcement,              continued implementing SOPs for victim identiﬁcation and the NRM for
          immigration officials, healthcare workers, social workers, and other          referral and provision of services. Police and immigration officials used anti-
          front-line responders on using the national referral mechanism (NRM)          trafficking pocket manuals outlining the SOPs and NRM. The government
          and standard operating procedures (SOPs) to proactively screen                did not report providing training to social welfare professionals during
          vulnerable populations, including individuals in commercial sex, migrants,    the reporting period due to pandemic-related restrictions. Observers
          refugees, and Cuban medical workers, appropriately identifying and            reported some government and civil society front-line responders still did
          referring trafficking victims to services, especially in rural and border     not fully understand their roles within the procedures. In practice, labor
          regions. • Strengthen coordination and collaboration mechanisms               inspectors and immigration officials contacted the Namibian Police Force
          across government ministries and with civil society partners to ensure        (NamPol) when they identiﬁed a potential trafficking victim; however,
          clear roles and responsibilities, effective anti-trafficking policies, and    no referrals were reported.
          increased communication. • Increase funding to civil society partners         The government and NGOs jointly provided shelter, psycho-social
          that provide accommodation and care to trafficking victims. • Vigorously      services, medical care, and provision of other basic needs to victims
          investigate and prosecute sex and labor trafficking crimes and sentence       of trafficking, gender-based violence (GBV), and child abuse. The
          convicted traffickers to sufficiently stringent sentences. • Adopt the        government opened eight shelters available to trafficking victims
          National Plan of Action (NAP) for Trafficking in Persons 2022-2027. •         during the reporting period. Three NGO shelters cared for men, women,
          Expand efforts to raise public awareness of human trafficking indicators      and children, although observers noted it was sometimes difficult to
          and risks through sensitization campaigns and community outreach,             ﬁnd shelter for male victims. Child victims were placed in government
          especially in rural areas. • Implement and consistently enforce strong        residential childcare facilities and provided access to education. Foreign
          regulations and oversight of labor recruitment companies, including by        victims had access to the same shelter and services as domestic
          eliminating recruitment fees charged to migrant workers and holding           victims. Shelter staff did not permit victims, including adults, to leave
          fraudulent labor recruiters criminally accountable.                           unchaperoned. The government allocated 6 million Namibian dollars
                                                                                        ($377,790) to three NGO shelters supporting trafficking victims in
          PROSECUTION                                                                   2021, the same as the previous reporting period. Seventeen GBV
          The government maintained anti-trafficking law enforcement efforts. The       Protection Units nationwide offered initial psycho-social, legal, and
          Combating of Trafficking in Persons Act of 2018, which came into effect       medical support to victims of crime, in coordination with the police,
          in November 2019, criminalized sex trafficking and labor trafficking and      the Ministry of Gender Equality, Poverty Eradication, and Child Welfare
          prescribed penalties of up to 30 years’ imprisonment, a ﬁne not exceeding     (MGEPECW), the Ministry of Health and Social Services, and NGOs.
          1 million Namibian dollars ($62,960), or both. These penalties were           Adult victims were able to seek employment and work while receiving
          sufficiently stringent and, with respect to sex trafficking, commensurate     assistance, although it is unknown how many victims did so during
          with punishments prescribed for other serious crimes, such as kidnapping.     the reporting period.
          Courts operated at a reduced capacity due to the pandemic, creating
          judicial backlogs during the reporting period.                                All 25 victims identiﬁed or assisted during the reporting period
                                                                                        voluntarily assisted law enforcement with investigations and
          Despite the pandemic’s impact, the government initiated two and               prosecutions. Authorities did not condition access to victim services
          continued 16 case investigations, compared with 10 case investigations        on cooperation with law enforcement; the government provided legal
          initiated and 16 continued in 2020. Of the two new investigations, the        aid, transportation, and witness protection to all victims. The government
          government initiated one forced labor investigation and one sex trafficking   assigned victim advocates to victims testifying and allowed victims to
          investigation. The government initiated prosecutions of seven defendants,     testify in rooms separate from the courtroom when such rooms were
          continued prosecutions of 32 defendants, and reported no convictions in       available. Foreign victims could obtain temporary residence visas during
          2021; compared with no new prosecutions, continued prosecutions of 18         legal proceedings. The law allowed victims to obtain restitution and
          defendants, and conviction of one trafficker in 2020. The government did      ﬁle civil suits against their traffickers; however, no victims to date had
          not report any investigations, prosecutions, or convictions of government     received restitution or compensation. Authorities screened vulnerable
          officials complicit in human trafficking crimes.                              populations, including irregular migrants, refugees, and individuals in
          Specialized prosecutors within the Office of the Prosecutor General’s         commercial sex, for trafficking indicators.
          Sexual Offenses Unit prosecuted all trafficking cases in the High Court
          and worked closely with prosecutors on cases indicted outside of the          PREVENTION
          High Court. The pandemic diverted law enforcement resources away from         The government maintained prevention efforts. The NCB, chaired
          anti-trafficking efforts during the reporting period, resulting in reduced    by the MGEPECW, coordinated the government’s anti-trafficking
          capacity. Trainings were cancelled due to pandemic-related restrictions       efforts. The NCB met quarterly during the reporting period, compared
          on in-person gatherings for the past two reporting periods. This was          with twice during the previous reporting period. The MGEPECW
          a decrease compared with training 35 criminal justice practitioners           worked collaboratively with other stakeholders to draft a ﬁve-year
          and 166 immigration officials in 2019. The government jointly hosted a        NAP on Trafficking in Persons (2022-2027) to align and fund mandated
          multi-day training with an international organization funded by a foreign     responsibilities, which remained pending adoption at the end of
          government to train front-line officials on identifying trafficking victims   the reporting period. However, coordination issues remained at the

 402                                                                                                                                   Haiti AR_000883
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 508 of 729




                                                                                                                                                            NEPAL
operational level due to the lack of designated authority. The government
continued implementing its 2019-2023 NAP on GBV, which addressed all         NEPAL: TIER 2
forms of human trafficking. Due to pandemic restrictions on in-person
gatherings, the government conducted fewer public awareness raising         The Government of Nepal does not fully meet the minimum standards
activities. The MGEPECW held an in-person event to commemorate              for the elimination of trafficking but is making signiﬁcant efforts to do
World Day against Trafficking in Persons, and officials distributed         so. The government demonstrated overall increasing efforts compared
brochures on trafficking as part of the MGEPECW’s national awareness        with the previous reporting period, considering the impact of the
raising campaign. The MGEPESW, in collaboration with the Ministry           COVID-19 pandemic on its anti-trafficking capacity; therefore Nepal
of Works and Transport, Namibia Airports Company, and Namibian              remained on Tier 2. These efforts included increasing investigations and
Ports Authority, trained port and airport employees on trafficking          identifying more trafficking victims. The government also approved a
victim identiﬁcation and distributed awareness raising materials. The       new regulation to increase protections for victims of crime, including
government reported conducting public awareness raising through             human trafficking survivors. However, the government did not meet
radio and television programming, and the NCB circulated awareness          the minimum standards in several key areas. The government’s laws
raising materials electronically.                                           do not criminalize all forms of labor trafficking and sex trafficking, and
The government provided in-kind support to an NGO-operated hotline          the government did not ﬁnalize its long-pending draft amendments.
for GBV, child abuse, and human trafficking; the hotline operated daily     Officials’ identiﬁcation of, and protection for, male trafficking victims and
from 8:00 a.m. to 10:00 p.m. Authorities did not report identifying any     transnational labor trafficking victims remained inadequate compared
trafficking victims from the hotline. With support from an international    to the size of the problem. The government initiated fewer prosecutions
organization, the government contributed information to a centralized       and convicted fewer traffickers, and official complicity in trafficking
anti-trafficking database that collected national data on cases and         crimes remained a problem, both direct complicity and negligence.
victims identiﬁed and shared it with countries in the region. The           The government continued to allow Nepali migrant workers to pay
Ministry of Labor, Industrial Relations, and Employment Creation            recruitment fees and related expenses with few measures to protect
employed an unknown number of labor and occupational health and             migrants from exploitation.
safety inspectors responsible for enforcing laws against child labor; the
government did not report identifying any victims during inspections.               NEPAL TIER RANKING BY YEAR
The law regulated recruitment agencies and banned employee-paid                 1
recruitment fees. The Ministry of Labor, Industrial Relations, and
                                                                                2
Employment Creation oversaw recruitment agency licensing and
managed a database registering job seekers, coordinating overseas             2WL
job placements, and monitoring employees’ arrival in their intended             3
destinations. However, the government did not report identifying any                   2015     2016      2017   2018   2019     2020     2021    2022
victims or initiating any investigations into fraudulent recruitment
for the second consecutive reporting period. The government did
not make efforts to reduce the demand for commercial sex acts. The
government provided pre-deployment training to its diplomatic corps         PRIORITIZED RECOMMENDATIONS:
on identifying, and appropriately referring to care, trafficking victims.   Amend the Human Trafficking and Transportation (Control) Act (HTTCA)
                                                                            to criminalize all forms of sex trafficking and labor trafficking, in line
TRAFFICKING PROFILE                                                         with the 2000 UN TIP Protocol. • Increase investigations, prosecutions,
As reported over the past ﬁve years, human traffickers exploit domestic     and convictions of all trafficking offenses, including allegedly complicit
and foreign victims in Namibia, and traffickers exploit victims from        officials, labor recruiters, and sub-agents for labor trafficking. • Finalize
Namibia abroad. Some victims are initially offered legitimate work          standard operating procedures (SOPs) for victim identiﬁcation and referral,
by recruiters for adequate wages, but then traffickers subject them         train front-line responders on SOPs, and increase referrals of trafficking
to forced labor in urban centers and on commercial farms. Traffickers       victims to services. • Establish SOPs for law enforcement to investigate
subject Namibian children to sex trafficking and forced labor in            human trafficking cases, including referrals between agencies. • Expand
agriculture, cattle herding, and domestic service. With the inﬂux           availability and capacity of victim care, including shelter and repatriation,
of more than 7,000 Angolan migrants ﬂeeing severe drought and               for all victims, especially men and boys and workers exploited overseas.
malnutrition in Southeastern Angola, Namibians increasingly employ          • Increase staff, training, and resources to the Department of Foreign
Angolan children as domestic workers and cattle herders, who may be         Employment (DoFE) to facilitate full implementation and monitoring of
vulnerable to exploitation. Traffickers bring children from Angola and      the low-cost recruitment policy. • Take steps to eliminate recruitment
neighboring countries and subject them to sex trafficking and forced        or placement fees charged to workers by Nepali labor recruiters and
labor, particularly in agriculture, cattle herding, domestic servitude,     ensure any recruitment fees are paid by employers. • Implement the
street vending in Windhoek and other urban centers, and in the ﬁshing       victim-witness protection provisions of the HTTCA. • Signiﬁcantly increase
industry. Zambian children migrate to work as cattle herders but may        monitoring of children’s homes and orphanages and hold accountable
be subjected to forced labor. Namibians commonly house and care             those that do not meet the government’s minimum standards of care. •
for children of distant relatives to provide expanded educational           Authorize labor inspectors to monitor the adult entertainment sector (AES)
opportunities; however, in some instances, traffickers exploit these        establishments for labor violations. • Remove the HTTCA provision that
children in forced labor. Among Namibia’s ethnic groups, San and            allows the judiciary to ﬁne victims if they fail to appear in court and hold
Zemba children are particularly vulnerable to forced labor on farms or      them criminally liable for providing contradictory testimony. • Lift current
in homes. Traffickers exploit individuals from Angola, Kenya, Zambia,       conditions and restrictions on female migration and engage destination
Zimbabwe, and South Africa in sex trafficking and forced labor. An          country governments to create rights-based, enforceable agreements that
NGO noted an increase in exploitation of Namibians seeking economic         protect Nepali workers from human trafficking. • Finalize and implement a
opportunity abroad and an increase in labor trafficking of adult male       revised National Action Plan (NAP). • Provide documentation to stateless
victims in Namibia’s agricultural sector, in part due to the pandemic.      individuals, internationally-recognized refugees, and asylum-seekers to
Traffickers increasingly use social media to advertise false jobs and       allow them to work, attend school, and access social services.
groom potential victims, in part due to pandemic movement restrictions.
Cuban nationals working in Namibia on medical missions may have             PROSECUTION
been forced to work by the Cuban government. Traffickers allegedly          The government slightly increased anti-trafficking law enforcement efforts.
operate at the international airport.                                       The 2007 Human Trafficking and Transportation (Control) Act (HTTCA)
                                                                            criminalized some forms of sex trafficking and labor trafficking. The
                                                                            HTTCA’s deﬁnition of trafficking was inconsistent with the international
                                                                            deﬁnition of trafficking. It limited the deﬁnition of “human trafficking”
                                                                            to the purchase or selling of a person and to causing another person to
                                                                                                                               Haiti AR_000884              403
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 509 of 729
NEPAL   go into prostitution; did not include a demonstration of force, fraud, or       were family friends or relatives. Traffickers often bribed victims and their
        coercion as an essential element of the base offense; and did not explicitly    families not to provide testimony in trafficking cases. The AHTB and
        address forced labor. The law separately deﬁned “human transportation”          other law enforcement units often lacked the resources to effectively
        as the taking of a person from their home or place of residence through         coordinate with NGOs and victims to register cases against traffickers.
        force, fraud, or coercion for the purpose of prostitution or the keeping a      Pandemic-related lockdowns and court closures further exacerbated
        person as a slave or bonded labor. The HTTCA prescribed penalties ranging       these issues during the reporting period. Police and the judiciary did not
        from ﬁve to 20 years’ imprisonment and a ﬁne, which were sufficiently           always collaborate, which led to police submitting incomplete cases that
        stringent and, with respect to sex trafficking, commensurate with those         prosecutors could not pursue in court. Many district courts did not comply
        prescribed for other serious crimes, such as rape. The 2017 Labour Act,         with the 2013 Supreme Court directive to adopt a “fast-track” system for
        which is enforced by specialized labor courts, criminalized forced labor        human trafficking cases. This was at times due to stipulations of the law
        and prescribed penalties of up to two years’ imprisonment, a ﬁne of up          that did not allow a fast-track court case, delays related to the pandemic,
        to 500,000 Nepali rupees (NPR) ($4,190), or both. Additionally, the 2002        and non-trafficking caseloads. As a result, the government reported
        Bonded Labor (Prohibition) Act abolished bonded labor and prescribed            that most trafficking cases heard at district courts take one year. The
        civil penalties of a ﬁne between 15,000 and 25,000 NPR ($126-$209).             National Judiciary Academy had SOPs on investigation and prosecution
        The 2000 Child Labour Act criminalized forced child labor and prescribed        of trafficking cases; however, implementation of the SOPs varied. Nepal
        penalties of up to one year’s imprisonment, a ﬁne of 50,000 NPR ($419),         Police coordinated on international investigations of trafficking-related
        or both. None of these laws prescribed sufficiently stringent penalties. The    crimes through INTERPOL and with other foreign governments.
        2007 Foreign Employment Act (FEA) criminalized fraudulent and deceptive
                                                                                        NGOs noted that although there was increased willingness to take action
        labor recruitment of Nepalese workers for employment abroad and was
                                                                                        against the operators of unregistered children’s homes, which exploited
        often utilized in labor trafficking cases in lieu of the HTTCA. Penalties
                                                                                        children in forced begging, prosecution remained inadequate. Many of
        prescribed under this law were signiﬁcantly lower than those available
                                                                                        the individuals running these exploitative institutions were politically
        under the HTTCA. For the seventh consecutive year, the government’s
                                                                                        connected and viewed favorably within their community. NGOs stated
        National Committee for Controlling Human Trafficking (NCCHT) continued
                                                                                        that even when arrested, they were almost never prosecuted and often
        to work on revisions to the HTTCA. The pandemic impacted the ability
                                                                                        used political connections to thwart child protective agencies. Prior to
        of the NCCHT to ﬁnalize the revisions during the reporting period. The
                                                                                        the pandemic-related lockdowns, the government directed children’s
        National Human Rights Commission worked to align the country’s laws
                                                                                        homes to return children to their families. The government did not report
        with the Palermo Protocol following accession in June 2020.
                                                                                        screening the children for trafficking indicators before they were sent
        During the Nepali ﬁscal year from July 16, 2020, to July 15, 2021, police       home. The government reported approximately 11,000 children reside
        conducted 134 investigations involving 162 suspects and the District            in 489 children’s homes, while another 1,000 children live in children’s
        Government Attorney initiated prosecution against 300 suspects in 146           correction homes.
        cases. District courts convicted 164 traffickers in 72 cases and acquitted
                                                                                        The government did not make sufficient efforts to actively investigate
        189 individuals in 87 cases under the HTTCA. A total of 214 cases involving
                                                                                        or prosecute suspects for bonded labor and did not provide any data on
        501 defendants remained ongoing. This compared with police initiating 97
                                                                                        bonded labor cases. The government continued to misidentify the majority
        investigations involving 240 suspects and the District Government Attorney
                                                                                        of transnational labor trafficking cases as labor violations and resolved most
        initiating prosecution of 415 suspects in 170 cases, which resulted in the
                                                                                        cases administratively through the Ministry of Labor, Employment, and
        conviction of 202 traffickers in 88 cases during the previous reporting
                                                                                        Social Security (MoLESS) in lieu of criminal investigation, with inadequate
        period. The government did not report the sentences prescribed to
                                                                                        sentences for perpetrators. Legal experts stated prosecutors could
        convicted traffickers or disaggregate data on sex and labor trafficking
                                                                                        pursue a case under both the HTTCA and the 2007 FEA for transnational
        cases. Some police and prosecutors previously investigated and prosecuted
                                                                                        labor trafficking and foreign employment fraud, respectively; however,
        suspected sex traffickers and facilitators for rape and public offenses. Some
                                                                                        prosecutors regularly refused to do so, believing such action would violate
        officials reported trafficking decreased during the pandemic and dismissed
                                                                                        the prohibition against double jeopardy.
        the prevalence of human trafficking in districts, although civil society
        organizations continued to report concerns about human trafficking and          The government did not report any investigations, prosecutions, or
        issues such as gender-based violence, caste-based discrimination, and child     convictions of government employees complicit in human trafficking;
        sexual abuse. Although courts reopened in August 2021 following more            however, corruption and official complicity in trafficking crimes remained
        than ﬁve months of pandemic closures, NGOs reported that restrictions           signiﬁcant concerns, inhibiting law enforcement action during the year.
        on transportation and pandemic testing requirements made it difficult           In November 2017, the Commission for the Investigation of Abuse of
        to obtain victims’ statements and testimony.                                    Authority arrested the Director General of DoFE and two DoFE officials
                                                                                        for allegedly attempting to collect a bribe from a foreign employment
        The government had standard training for labor, immigration, judicial,
                                                                                        agency. In December 2020, the former Director General and two DoFE
        law enforcement, and foreign employment officials that included general
                                                                                        officials were convicted and sentenced to one and a half years in prison
        deﬁnitions of human trafficking. International donors provided anti-
                                                                                        and a 1 million NPR ($8,380) ﬁne. The defendants ﬁled an appeal, and the
        trafficking trainings for the Nepal Police Anti-Human Trafficking Bureau
                                                                                        cases remained pending in the Supreme Court at the end of the reporting
        (AHTB), a specialized police unit dedicated to trafficking crimes created
                                                                                        period. Officials called on the government to investigate allegations that
        in 2018. Due to the pandemic, the AHTB conducted online training for its
                                                                                        Department of Immigration officials were complicit in the transportation
        personnel; however, most police lacked specialized training and resources
                                                                                        of potential trafficking victims at the Kathmandu international airport,
        to interact with trafficking survivors in a victim-centered way. In addition,
                                                                                        although the government did not report any action by the end of the
        the dearth of investigators and prosecutors trained to work on trafficking
                                                                                        reporting period. During previous reporting periods, NGOs reported
        cases, coupled with frequent personnel turnover, further hampered
                                                                                        traffickers bribed government officials to include false information in
        efforts. The AHTB had 82 Kathmandu-based staff as well as additional
                                                                                        genuine Nepali passports and provide fraudulent documents to prospective
        staff in all seven provinces at the end of the reporting period. The Nepal
                                                                                        labor migrants or foreign employment agents. NGOs reported concerns
        Police Women’s Cells (NPWC) had female officers in all 77 districts to
                                                                                        that because a number of government officials, including parliamentarians,
        investigate crimes against women and girls, including trafficking, but
                                                                                        maintained close ties to foreign employment agencies, such officials
        not all district offices had units that were fully operational. NPWC had
                                                                                        might have a conﬂict of interest in approving policies that increase
        internal guidelines on the identiﬁcation and treatment of victims. While
                                                                                        protections for migrant workers. NGOs alleged some police and political
        investigative capacity was improving, Nepali law enforcement did not
                                                                                        party leaders were complicit in sex trafficking in conjunction with their
        proactively identify trafficking cases and often relied on referrals from
                                                                                        ﬁnancial involvement in the AES. Some traffickers, including owners of
        civil society, some of which occurred more than one year prior, thereby
                                                                                        AES establishments and exploitative orphanages, enjoyed impunity due to
        undermining evidence collection and prosecution efforts. Moreover,
                                                                                        personal connections with politicians and by bribing police to avoid raids
        police and prosecutors remained overly reliant on victim testimony for
                                                                                        or procure fraudulent identity documents; one alleged trafficker reportedly
        successful investigations and prosecutions. Victims often did not want
                                                                                        led a local coordination committee on human trafficking (LCCHT). The
        to assist in cases against their perpetrators because the perpetrators
                                                                                        UN Human Rights Committee previously heard two cases against Nepali
 404                                                                                                                                   Haiti AR_000885
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 510 of 729




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military officials who allegedly forced one boy and one girl into labor in     did not report if any victims obtained restitution or if the government
2010 and 2002; the government has not reported initiating any criminal         provided any compensation from the fund.
investigation or victim compensation procedures.
                                                                               The pandemic slowed physical monitoring of children’s homes. The National
                                                                               Child Rights Council, which monitored childcare homes remotely and
PROTECTION                                                                     with NGO assistance, previously removed 84 children from exploitation
The government maintained efforts to identify and protect trafficking
                                                                               in abusive and unregistered children’s homes, although the number
victims. The government identiﬁed 187 victims compared with 141 victims
                                                                               of removals during this reporting period is unknown. Unregistered or
the previous year. Of the 187 victims, traffickers exploited 99 in sex
                                                                               fraudulent orphanages and children’s homes had forced some children
trafficking, 64 in labor trafficking, and 24 in unspeciﬁed exploitation; 97
                                                                               into labor making handicrafts and begging and had sexually abused
victims were exploited in Nepal while 90 victims experienced transnational
                                                                               other children. The government estimated at least one-third of the total
trafficking. The 187 victims included 80 children and 107 adults, including
                                                                               registered orphanages did not meet government standards and did not
183 female victims and four male victims, compared with 62 children and
                                                                               have regular oversight.
79 adults, including 133 female victims and eight male victims, identiﬁed
the previous year. Authorities did not systematically track the total number   In June 2021, the government approved the Crime Victim Protection
of victims identiﬁed. The government did not have formal SOPs for victim       Regulation 2021 to increase protections for victims of crime, including the
identiﬁcation and referral to services, impeding proactive identiﬁcation       right to claim compensation. However, overall victim-witness protection
efforts; the Ministry of Women, Children, and Senior Citizens (MoWCSC)         mechanisms and the practices of police and justice officials remained
previously drafted SOPs that remained pending ﬁnal approval at the end         insufficient. In civil suits, most victims remained unaware of the HTTCA
of the reporting period. Police did not always recognize that children in      provision granting the right to private representation. Even in cases where
commercial sex were sex trafficking victims and sometimes removed              victims had private representation, the attorneys often could not build
girls 16-17 years old from commercial sex, sent them home, and did not         strong cases because law enforcement and the judiciary denied them
refer them to services or ﬁle criminal charges against the client. The         access to critical case ﬁles and the dates of hearings. Police continued
pandemic continued to impact anti-trafficking efforts, including reducing      efforts to pay for some victim and witness transportation and lodging
resources and capacity to provide services to survivors. Additionally, the     during judicial hearings; authorities did not report whether they provided
government’s pandemic restrictions continued through June 2021, which          these services to any trafficking victims. Victims could provide testimony
limited the government’s ability to identify and assist trafficking victims.   via video or written statement; however, most courts did not have
                                                                               facilities for video conferences, and even when they did, officials often
Although the government had national standards for care of trafficking
                                                                               did not make victims aware of the option. Victims continued to report
victims, referral efforts remained ad hoc and inadequate. The government
                                                                               challenges in providing testimony, including threats from perpetrators,
did not report how many victims it referred for care. NPWC typically
                                                                               and the lack of compensation and lack of ability to collect compensation
referred trafficking victims to government-run, one-stop emergency
                                                                               when awarded. Notably, resource limitations impeded authorities’
centers located within hospitals or to NGOs, both of which could provide
                                                                               provision of a victim’s right to police protection, and observers stated
shelter, medical, and legal services. Public hospitals charged NGOs for
                                                                               victims were reluctant to ﬁle criminal complaints under HTTCA in part
medical assistance to trafficking victims. The government reported it
                                                                               because of stigma, greater ease pursuing compensation through the
provided psycho-social counseling to an unknown number of victims to
                                                                               FEA, and personal or family safety concerns. The HTTCA authorized the
assist in the investigation and prosecution of cases, up to three months of
                                                                               judiciary to ﬁne victims who failed to appear in court and hold victims
shelter, and police security if a victim required protection. The MoWCSC,
                                                                               criminally liable for providing testimony contradicting their previous
in partnership with NGOs, provided shelter services to 2,628 trafficking
                                                                               statements. Due to a lack of formal identiﬁcation procedures, authorities
victims in 10 shelters and two long-term rehabilitation centers that offered
                                                                               arrested, detained, and ﬁned adult and child sex trafficking victims for
counselling, health services, legal support, and employment programs.
                                                                               crimes their traffickers compelled them to commit. The government
The government allocated 8.26 million NPR ($69,170) through the NCCHT
                                                                               did not have legal alternatives to the deportation of foreign victims.
for victim services during ﬁscal year 2020 to 2021. While the shelters
                                                                               The Department of Immigration continued to deport foreign nationals
assisted 2,628 victims of crimes— including trafficking victims—during
                                                                               who overstayed their visas; the government did not report whether the
the ﬁscal year, the shelters had to restrict or halt several services due
                                                                               department screened for trafficking among those deported.
to pandemic-related restrictions. MoWCSC and NGOs operated 123
community service centers across 36 districts for female victims of gender-    Government services for Nepali nationals exploited abroad remained
based violence, including trafficking. MoWCSC paid for victims’ basic          inadequate. The 2007 FEA required the government to appoint labor
needs, including lodging, food, health services, psycho-social counseling,     attachés in countries with more than 5,000 registered Nepali migrant
and capacity building, while NGOs covered other administrative and             workers to facilitate claims of abuse, exploitation, and repatriation.
staff costs. The NCCHT monitored the 10 shelters and required NGOs             In February 2022, the government had seven labor attachés and
running government-funded shelters to periodically submit details of their     ﬁve labor counselors deployed in eight countries. Although MoLESS
operations. Similarly, district anti-trafficking committees were required      assigned labor attachés and counselors in diplomatic missions with a
to conduct at least one monitoring visit to government-funded shelters         high volume of migrant workers, limited resources prevented attaché
every six months; the NCCHT could conduct additional inspections as            presence in all required countries. The number of labor counselors and
needed. MoWCSC provided shelter and services to men and women,                 attachés remained nominal compared to the large number of workers
including trafficking victims, through the Victim Assistance Rehabilitation    and growing number of complaints. While some embassies could
Fund. The government reported male trafficking victims of all ages were        provide temporary shelter and repatriate trafficking victims, officials
eligible for placement in government-funded shelters, and the NCCHT            acknowledged inadequate staffing and resources created large delays in
could reallocate funds if male victims sought services. Nevertheless,          provision of assistance, and the quality of the government-run shelters
international organizations reported labor trafficking victims and men         abroad was poor. Nepali embassies in Bahrain, Kuwait, Malaysia, Oman,
and boys frequently did not receive services. FEB and MoLESS continued         Qatar, Saudi Arabia, South Korea, and the UAE could provide emergency
to ﬁnalize an SOP to improve shelter referral services for both male and       shelter for approximately 25 female migrant workers each, some of
female trafficking survivors and returning migrant workers. The current        whom were trafficking victims; embassies did not report the number
SOP and government practices focus on gender-based violence and                of workers assisted. The Foreign Employment Board (FEB), which is
trafficking of women and girls, potentially creating challenges for male       responsible for protecting migrant workers and maintains a welfare
victims attempting to access shelters. Victims could obtain restitution        fund to support labor migrants registered with the DoFE, acknowledged
from traffickers through criminal proceedings, or if the government was        shelters lacked sufficient space, staff, and resources to meet the high
unable to collect the ﬁnes imposed on traffickers, the government could        demand for assistance.
provide back wages from an HTTCA rehabilitation fund. The government           FEB collected fees from departing registered migrant workers for a
did not adequately compel perpetrators to pay compensation because             welfare fund to provide repatriation and one year of ﬁnancial support to
officials did not investigate property holdings and could not assess values    families of injured or deceased workers, which could include trafficking
for victim compensation. As in prior reporting periods, the government         victims. During the ﬁscal year, the fund repatriated 413 migrant workers
                                                                                                                                Haiti AR_000886              405
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 511 of 729
NEPAL
        compared with 1,398 in the previous year. Additionally, 892 bodies           involving women, children, or gender-based violence, including human
        of Nepalis who had died while employed abroad were repatriated,              trafficking. The FEB also operated a hotline to receive complaints
        compared with repatriation of 413 bodies the previous year. The              concerning migrant workers, including human trafficking incidents.
        government did not report identifying any trafficking victims among
                                                                                     The DoFE maintained offices in all seven provinces to increase
        those repatriated or initiating any criminal investigations into their
                                                                                     prospective migrant workers’ access to foreign employment-related
        exploitation. MoWCSC allocated funds to Nepal’s embassies in India,
                                                                                     services. The FEB also operated approximately 41 migrant resource and
        Sri Lanka, Thailand, and the UAE, as well as the consulate in Kolkata,
                                                                                     information centers at the district level, which provided information on
        for repatriating trafficking victims. MoWCSC funded Nepali embassies
                                                                                     authorized recruitment agencies, maximum fees the agencies could
        to repatriate 138 Nepali trafficking victims during the reporting period.
                                                                                     charge workers, and information on the risks and challenges of working
        FEB could also repatriate undocumented migrant workers, including
                                                                                     abroad and potential ways to minimize the risks. However, lengthy
        trafficking victims, by requesting funds through the ﬁnance ministry on
                                                                                     pandemic-related lockdowns, as well as closures of the national airport
        an ad hoc basis, but it could not provide any other ﬁnancial support or
                                                                                     and border with India, limited the government’s trafficking prevention
        services. NGOs bore the primary cost of repatriating Nepali trafficking
                                                                                     screening efforts. The government continued to use a revised two-day,
        victims from India and noted that due to the lack of formal repatriation
                                                                                     pre-departure orientation curriculum for migrant workers; however,
        procedures between countries, repatriation could take up to two years.
                                                                                     the course was not mandatory. Some NGOs also provided training to
        DoFE maintained an online migrant worker portal that allowed migrant
                                                                                     migrant workers. The government offered free certiﬁcations for skills
        workers facing abusive or untenable situations overseas, or someone
                                                                                     obtained abroad for migrant workers; it did not report how many
        on the migrant worker’s behalf, to ﬁle a request for repatriation. Since
                                                                                     workers utilized these services. The government updated its Foreign
        the site’s introduction, DoFE has received increasing online requests for
                                                                                     Employment Information Management System platform to record
        repatriation, the majority from workers in Kuwait, Malaysia, Saudi Arabia,
                                                                                     data on returning migrant workers in addition to offering services such
        and the UAE. The DoFE did not provide data indicating the percentage
                                                                                     as applying for labor permits and paying insurance and other fees.
        of those who ﬁled requests that were successfully repatriated. In
                                                                                     During the previous reporting period, Nepal signed a labor recruitment
        addition, NGOs reported many migrants lacked the requisite computer
                                                                                     memorandum of understanding (MOU) with the Government of Israel
        access or skills to use the site. NGOs reported coordination between
                                                                                     to provide employment for migrant workers in the ﬁelds of agriculture,
        the labor ministry and MoWCSC remained weak, and labor officials
                                                                                     construction, and hospitality. Inconsistent with the international best
        did not routinely inform labor trafficking victims about the services
                                                                                     practice of employer-paid fees, the agreement required migrant workers
        MoWCSC and NGOs could provide.
                                                                                     to pay recruitment fees and related migration costs, although the
                                                                                     government has taken steps to reduce some of these fees, including
        PREVENTION                                                                   by negotiating some air travel costs.
        The government maintained overall efforts to prevent human trafficking.
        The NCCHT, headed by the MoWCSC, continued to lead interagency               The government’s labor migration policies remained lengthy, costly, and
        efforts on human trafficking. The government continued to operate            sometimes discriminatory against women. Although the Parliamentary
        and fund 732 local anti-trafficking committees (LCCHTs) through the          Committee for Industry, Commerce, Labour and Consumer Welfare
        district anti-trafficking committees (DCCHTs); the government did not        in 2020 revoked its previous recommendation to ban the migration
        report how much funding was allocated during the reporting period. The       of female domestic workers younger than age 24 to Gulf States and
        NCCHT regularly met with and trained DCCHTs to enhance coordination          Malaysia, the government maintained strict pre-conditions. Observers
        between central and district-level civil society organizations and           have expressed concern that outright bans on migration may increase
        government officials. While the NCCHT continued to meet with and             the likelihood of migration through irregular means and trafficking risks.
        train officials from the DCCHTs, observers noted the need for improved       Migrant rights activists expressed concern the government continued
        coordination between the NCCHT, DCCHTs, and LCCHTs. NGOs reported            to send Nepali female domestic workers abroad to countries without
        that lack of resources for LCCHTs and DCCHTs limited sub-national            bilateral agreements to protect workers’ rights.
        anti-trafficking efforts, which delayed reforms planned for DCCHTs.          The government’s 2015 labor migration guidelines included a policy
        While the NCCHT continued to meet with and train officials from the          requiring foreign employers to pay visa and transportation costs for
        DCCHTs, observers noted the need for improved coordination between           Nepali migrant workers bound for Malaysia and the Gulf and restricted
        the NCCHT, DCCHTs, and LCCHTs. In 2020, the MoWCSC formed a                  agency-charged recruitment fees to 10,000 NPR ($84). Among the
        task force to revise the NAP and continued to ﬁnalize the revised            859 licensed manpower agencies in Nepal in 2022, 832 agencies were
        NAP, which remained pending by the end of the reporting period.              functional and only 15 had authorization to recruit domestic workers
        The government continued to conduct public awareness campaigns               (compared with 24 in the last reporting period). The government did
        throughout the country, sometimes in partnership with NGOs or                not report if it initiated any civil or criminal investigations into fraudulent
        international organizations, and produced a radio program to raise           recruitment agents or agencies. Both NGOs and government officials
        awareness and disseminate information about trafficking. Observers           noted the government’s monitoring mechanism of employment agencies
        noted frequent personnel turnover among the committees continued             was ineffective to address non-compliance; agencies regularly charged
        to hamper efforts and federal and provincial governments sometimes           migrant workers fees higher than the 10,000 NPR ($84) government-
        provided conﬂicting messaging that impeded anti-trafficking efforts.         set limit. Many migrant workers remained unaware of the process for
        Officials observed the lack of trafficking data and insufficient resources   obtaining redress, including in cases of trafficking. The DoFE regulates
        were signiﬁcant challenges to combating trafficking.                         and monitors recruitment agencies and pre-departure orientation
        The Department of Immigration lacked effective processes for detecting       centers for migrant workers and handles complaints of exploitative
        potential victims of trafficking as well as a mechanism for coordinating     labor by returning migrant workers. DoFE officials continued to advise
        victim identiﬁcation among intergovernmental agencies and civil society.     abused migrant workers to register complaints under the 2007 FEA
        Border checkpoints were not operational, and pandemic mitigation             rather than notify police. In January 2020, DoFE and the police signed
        measures reduced formal interactions with potential victims. Police          an MOU to allow labor trafficking victims to ﬁle complaints at local police
        lacked the staff, resources, and training required to patrol Nepal’s         stations instead of requiring them to travel to Kathmandu. Although the
        nearly 1,100-mile border with India, which Nepalis and Indians could         pandemic hindered the effective implementation of the provision, the
        cross without visas or passports. Signiﬁcant transnational trafficking       DoFE reportedly began to refer labor trafficking cases to police but did
        reportedly occurred along the border; however, officials did not             not report how many cases were referred. Many labor trafficking victims
        report identifying any victims. NGOs conducted some checkpoint               preferred to submit claims for restitution through the 2007 FEA in lieu
        inspections along the border focused almost entirely on intercepting         of lengthy criminal prosecutions under the HTTCA, citing the desire to
        female travelers. Police reported NGOs did not always refer potential        avoid the stigma associated with trafficking, the higher potential for
        trafficking victims to law enforcement. The Metropolitan Police Crime        compensation through the 2007 FEA, and the lack of time and funding
        Division in Kathmandu continued to operate an anti-trafficking hotline;      to access the centralized institutions charged with providing redress. An
        the government reported it operated other hotlines to report cases           international organization reported DoFE continued regular monitoring

 406                                                                                                                                Haiti AR_000887
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 512 of 729




                                                                                                                                                          NEPAL
and inspection of recruitment agencies suspected to be conducting            migrants—including the large number of Nepalis who travel via the open
irregular activities during the pandemic; however, FEB did not report if     border with India en route to third country destinations and those who
it identiﬁed or referred any non-compliance cases during the reporting       rely on unregistered recruiting agents—are particularly vulnerable to
period. Observers reported DoFE settled the vast majority of labor           forced labor and sex trafficking. Traffickers continue to target young,
complaints administratively and did not refer violators to the FET for       poorly educated people from traditionally marginalized castes and
civil penalties nor to police for criminal investigation. DoFE officials     ethnic minority communities with limited economic opportunities and
stated employment agencies continued to regularly charge Nepali              increasingly utilize social media and mobile technologies to lure their
workers during the reporting period for visas, airplane tickets, and/        victims. Civil society organizations noted the economic impact of the
or service fees above the cap, and added that they believed bilateral        pandemic increased vulnerability among at-risk groups such as day
labor agreements with destination countries would be essential for           laborers, AES employees, women, and children. Many Nepalis whose
enforcing labor rights. DoFE required additional staff, training, and        homes or livelihood were destroyed by the 2015 earthquakes—especially
resources to fully implement and monitor the government’s 2015               women and children—remain vulnerable to trafficking.
low-cost recruitment policy.
                                                                             Labor traffickers exploit Nepali men, women, and children in Nepal,
While the informal sector employed more than 70 percent of workers           India, the Middle East, and East Asia in construction, factories, mines,
in the country, including nearly all child laborers, inspectors did not      domestic work, begging, and the adult entertainment industry. The
regularly inspect the informal sector for violations, including forced       government estimates approximately 1.5 million Nepalis work in the
labor. The government continued to fund and conduct inspections              Middle East, with the vast majority of men in construction in Saudi
focused speciﬁcally on child labor; however, the Department of Labor         Arabia, Qatar, and the UAE. Nepalis work under oppressive conditions,
(DOL) did not report referring any employers for criminal investigation      which include forced labor, and continuing reports indicate employers
or issuing any administrative penalties. NGOs reported the DOL did not       retain their passports and sometimes do not pay them for months at a
take meaningful action against perpetrators of child labor and forced        time. Foreign employment is often regarded as a respectable way to
child labor and did not undertake many unannounced inspections. DOL          earn money to support families, but many migrant workers are not well-
did not report how many child laborers it identiﬁed or removed from          informed about their rights or applicable laws. Due to the government’s
exploitative conditions during the reporting period, and it typically only   restrictions on female domestic workers to Gulf countries, many Nepali
removed children whom employers physically or sexually abused. While         domestic workers in Iraq, Kuwait, and Saudi Arabia do not have valid
civil society reported forced and bonded labor at carpet factories, labor    work permits and migrate through irregular channels, increasing their
inspectors—who received training on forced labor, although no training       vulnerability to trafficking. Traffickers lure women with the promise of
on trafficking more broadly—did not regularly monitor the factories,         work as domestic servants or in the entertainment sector in the Middle
and police did not report investigations into allegedly exploitative         East, Sub-Saharan Africa, and Malaysia. Labor traffickers exploit Nepali
employers. NGOs reported DOL encouraged mediation over prosecution,          men, women, and children in East Asia, including in Japan, Malaysia,
including in cases of forced child labor. DOL previously passed a            and the People’s Republic of China (PRC), and in Europe, including
guideline to declare child labor-free municipalities and set criteria        Portugal, on farms and in construction, factories, mines, begging, and
for all local governments to maintain a child labor-free environment.        the adult entertainment industry. Trafficking of unemployed residents
The government set a target to declare at least 25 municipalities child      in districts of the northern Nepal-PRC border for manual labor and
labor-free by July 2021 and sent more than 30 million subscribers text       commercial sex was prevalent prior to the border closure due to the
messages to raise awareness. However, implementation of the project          pandemic. Traffickers bring Nepali victims to European countries and
stalled due to the pandemic. Civil society organizations reported the        Australia on tourist, student, marriage, and work visas. An international
pandemic increased the number of children working in agriculture,            organization reported a rise in Nepalis using tourist visas for foreign
domestic employment, and on the streets; a recent study concluded            employment due to pandemic restrictions and the temporary suspension
child labor in the carpet and garment industries gradually declined.         of work visas in destination countries.
The government organized media campaigns and workshops to hold
                                                                             Some recruitment agencies and agents engage in fraudulent recruitment
discussions on child labor; however, these were limited due to pandemic
                                                                             practices and impose high fees to facilitate forced labor. Migrant
restrictions. The government did not make efforts to reduce the demand
                                                                             workers reported that recruitment agencies sometimes provided
for commercial sex acts. Despite reports of foreign nationals involved
                                                                             inaccurate information about the nature and conditions of work abroad,
in child sex tourism, the government did not make efforts to prevent
                                                                             and migrants often discovered they were required to work in jobs
child sex tourism. The government did not provide anti-trafficking
                                                                             that differed from what they had been promised. Traffickers target
training to its diplomatic personnel.
                                                                             unregistered migrants, including the large number of young Nepali
The government had special committees led by chief district officers to      women who transit India or men and women who rely on unregistered
monitor the AES to mitigate regulatory gaps; however, they remained          recruitment agents. Some Nepali women who agree to arranged
highly dependent on individual officers and did not have a comprehensive     marriages—through Nepali companies—to men in the PRC and South
regulatory framework for monitoring such establishments. Existing laws       Korea are forced into domestic servitude. Traffickers subject some
did not permit labor inspectors to monitor AES establishments for            migrants who transit Nepal en route to the Middle East to human
labor violations, which NGOs reported allowed many establishments            trafficking, including Bangladeshis and Sri Lankans who use falsiﬁed
to use children and adult trafficking victims with impunity. Observers       Nepali travel documents. Some government officials allegedly accept
estimated only half of AES establishments had valid registration. NGOs       bribes to include false information in Nepali identity documents or
raised concerns that victims may have had even less chance of being          provide fraudulent documents to prospective labor migrants, which
identiﬁed when, due to the government’s pandemic-related restrictions,       allows recruiters to evade recruitment regulations. The lack of a birth
the AES shut down for most of the reporting period and may have              registration system and database in Nepal further contributed to
moved operations to unmonitored private residences.                          the production of fraudulent identiﬁcation documents. Traffickers
                                                                             reportedly take advantage of more relaxed pre-departure screenings
TRAFFICKING PROFILE                                                          at Kolkata and Chennai airports or bribe Indian officials in New Delhi
As reported over the past ﬁve years, human traffickers exploit domestic      and Mumbai to ﬂy Nepali migrant workers to third countries without
and foreign victims in Nepal, and traffickers exploit Nepali victims         proper documentation, which increases the workers’ vulnerability to
abroad. Nepal is a source, transit, and destination country for men,         trafficking. Labor traffickers also transport Nepali victims through
women, and children subjected to forced labor and sex trafficking. In        Sri Lanka and Burma en route to destination countries. Traffickers
2019, the National Human Rights Commission estimated that 1.5 million        increasingly used social media and mobile technologies to lure and
Nepalis are vulnerable to human trafficking. Sex traffickers exploit         deceive victims during the government’s pandemic-related lockdown.
Nepali women and girls in Nepal, India, the Middle East, Malaysia,
                                                                             Within Nepal, forced labor, including through debt-based bondage, of
and—to a lesser extent—other Asian countries and Sub-Saharan
                                                                             adults and children exists in agriculture, brick kilns, the stone-breaking
Africa. Traffickers use Nepal’s open border with India to transport
                                                                             industry, and domestic work. For example, traffickers use debt to coerce
Nepali women and children to India for sex trafficking. Unregistered
                                                                             a community of landless Dalit known as Haruwa-Charuwa into forced
                                                                                                                             Haiti AR_000888              407
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 513 of 729
NETHERLANDS   labor in the agricultural sector in certain districts of the eastern Terai              adult entertainment sector. NGOs reported girls in early and forced
              region of Nepal. Agricultural bonded labor in Nepal has historically                    marriages, especially in the Terai region among Dalit and Madhesi
              affected the Haruwa-Charuwa, the Haliya, and the Kamaiya communities                    communities, were vulnerable to sex traffickers.
              disproportionally. High-interest loans, landlessness, discrimination,
                                                                                                      Under false promises of education and work opportunities, some
              limited livelihood opportunities, and inadequate government policies
                                                                                                      Nepali parents give their children to brokers who instead take them to
              contribute to intergenerational bonded labor. Households frequently
                                                                                                      frequently unregistered children’s homes and force them to pretend
              take on high-interest loans for healthcare expenses, funeral costs, and
                                                                                                      to be orphans to garner donations from tourists and volunteers.
              other necessities while earning low wages, resulting in debts passed
                                                                                                      The government instructed childcare homes to return children to
              from one generation to the next. A 2021 study estimated that 1.1 million
                                                                                                      their families prior to the government’s pandemic-related lockdown;
              children are engaged in child labor—compared to 1.6 million children
                                                                                                      approximately 1,500 children were reunited with their families or
              in 2008—with 87 percent of cases occurring in the agriculture sector.
                                                                                                      returned home in 2020. However, NGOs estimate more than 11,000
              In addition, approximately 74 percent of children engaged in the
                                                                                                      children remain in registered children’s homes and “orphanages,” and
              informal sector worked in hazardous conditions. A government study
                                                                                                      international organizations and NGOs approximate 80 to 85 percent
              documented more than 61,000 Nepalis—including approximately
                                                                                                      have at least one living parent. Seventy-ﬁve percent of registered Nepali
              10,000 children—in forced labor over the past ﬁve years, especially
                                                                                                      orphanages and children’s homes are located in the country’s ﬁve main
              in agriculture, forestry, and construction. NGOs continued to report
                                                                                                      tourist districts, out of 77 national districts. Some of the orphanages
              some children worked in brick kilns, including carrying loads, preparing
                                                                                                      and homes force children into manual labor or begging, force them to
              bricks, and performing other tasks at kilns for extended periods. A 2021
                                                                                                      entertain visitors for donations, and sexually abuse them. Since 2016,
              international organization report estimated 17,000 children worked in
                                                                                                      police have identiﬁed and arrested at least 12 tourists or international
              brick kilns. Traffickers subject Nepali and Indian children to forced labor
                                                                                                      volunteers, all men older than 50, mostly from Western countries
              in domestic work, brick kilns, the embroidered textile (Zari) industry,
                                                                                                      (Austria, Canada, Denmark, France, Germany, India, Netherlands, the
              as well as in carpet factories and stone quarrying. According to the
                                                                                                      United Kingdom, and the United States), for sexual abuse of Nepali
              government’s 2017-2018 labor survey, traffickers force children younger
                                                                                                      children, including child sex trafficking. Although there is increased
              than 15 into labor in agriculture, forestry, and construction. Some Nepali
                                                                                                      will to act against the traffickers operating these children’s homes,
              brick kilns employ Indian migrant laborers, including children, who take
                                                                                                      NGOs reported some owners of exploitative child institutions, including
              out large advances that require them to work for subsequent seasons.
                                                                                                      fake orphanages, use political connections to thwart child protective
              Traffickers exploit debts to compel adults and children into labor in
                                                                                                      agencies and prosecution. In addition, some child-care homes register
              carpet factories. Parents sometimes force their children to work in
                                                                                                      as educational hostels to avoid government monitoring.
              carpet factories to repay family debts. Some Nepali parents give their
              children to brokers, who promise education or work opportunities                        The government recognized Bhutanese and Tibetans as refugees but
              but instead take them to frequently unregistered children’s homes                       regarded refugees and asylum seekers of other nationalities as irregular
              and force them to pretend to be orphans to garner donations from                        migrants. The government provided registered Bhutanese refugees
              tourists and volunteers, and, where some force children into manual                     an identiﬁcation card that was renewed periodically and provided to
              labor or begging, force them to entertain visitors for donations and                    children upon reaching 16 years of age. The government has not issued
              sexually abuse them. International organizations and NGOs estimated                     new refugee cards for Tibetan refugees since 1995 nor recognized any
              that 80 to 85 percent of children in “children’s homes” and orphanages                  Tibetans who arrived after 1990, leaving most of the government-
              had at least one living parent at home. Recruitment agents promise                      estimated 12,540 Tibetan refugees in the country undocumented,
              Bangladeshi workers well-paying jobs in Nepali carpet factories but                     which prevents them from legally working, studying, traveling, and
              exploit them, including by obtaining tourist visas for them instead                     accessing public services. According to a local NGO, upwards of 6.7
              of work visas and paying less than the agreed wages. Traffickers use                    million individuals—one-quarter of Nepal’s population—lack citizenship
              children to transport drugs across the Indian-Nepali border.                            documentation, rendering them de facto stateless. Legal requirements
                                                                                                      on transferring citizenship continue to impose hardships on children
              Traffickers subject Nepali girls, boys, and transgender persons to sex
                                                                                                      whose fathers are deceased, abandoned, or departed the country to
              trafficking in Nepal on the streets and in the AES, including dance bars,
                                                                                                      work abroad. Some women are also unable to obtain citizenship due
              massage parlors, and cabin “restaurants,” a type of brothel. A study
                                                                                                      to formal attestation requirements from a male family member. Lack
              focused on the Kathmandu Valley determined approximately 17 percent
                                                                                                      of documentation precludes the participation of all these groups in
              of workers in the AES are minors and 62 percent of adult women in the
                                                                                                      the formal economy and increases their vulnerability to traffickers.
              AES had commenced work while a minor, including as young as 7 years
              old. Many women reported a family or friend had connected them to the
              establishment, where they voluntarily agreed to waitress-like positions.
              Their employers then exploited them in forced labor or sex trafficking.
              The study estimated nearly 30 percent of all minor workers in AES                        NETHERLANDS: TIER 1‡
              establishments are victims of forced labor, usually as restaurant staff,
              and employers later subject many to sex trafficking. Police report an                   The Government of the Netherlands fully meets the minimum standards
              increasing trend of AES businesses recruiting Nepali female employees                   for the elimination of trafficking. The government continued to
              for work abroad in the same sector, which increases vulnerability to                    demonstrate serious and sustained efforts during the reporting period,
              sex trafficking. NGOs alleged some police and political party leaders                   considering the impact of the COVID-19 pandemic on its anti-trafficking
              are complicit in sex trafficking because of their ﬁnancial involvement                  capacity; therefore the Netherlands remained on Tier 1. These efforts
              in the AES. Only about 25 percent of the adult entertainment venues                     included more than doubling the number of traffickers the government
              in Kathmandu and other major cities were operational in 2021 due                        prosecuted and convicted; dedicating funding, for the ﬁrst time, for the
              to the government’s prohibitory orders and social distancing. NGOs                      country’s next national action plan (NAP); and launching an awareness
              reported that pandemic-related closures increased strain on individuals                 campaign targeting consumers of commercial sex in advance of the
              working in the AES, and some women were forced into sex trafficking.                    implementation of legislation criminalizing the knowing solicitation of a
              NGOs reported that businesses increasingly moved into residential                       sex trafficking victim. Moreover, the government took several measures
              and underground areas. A study on commercial sexual exploitation of                     to increase child trafficking prevention and protection efforts, including
              children found that children living on the street were highly vulnerable                initiating a regional pilot program focused on increasing child victims’
              to trafficking. Researchers estimated that there are approximately 2,000                conﬁdence in the criminal justice system and taking measures to avoid
              to 3,000 child victims of commercial sexual exploitation outside the                    their re-traumatization during criminal proceedings. Although the


              ‡ The Netherlands, along with the Dutch Caribbean islands of Aruba, Curacao, and Sint Maarten form the Kingdom of the Netherlands. Although semi-autonomous
              entities, Aruba, Curacao, and Sint Maarten rely on the Kingdom for certain authorities. The Kingdom is an important contributor to these islands' anti-trafficking efforts.
              The BES islands are special municipalities of the Netherlands and are fully under the authority of the Dutch government.

  408                                                                                                                                                   Haiti AR_000889
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 514 of 729




                                                                                                                                                              NETHERLANDS
government meets the minimum standards, it identiﬁed fewer victims             at the end of the reporting period. Authorities in Bonaire prosecuted
and did not provide support services for foreign victims without legal         and convicted one defendant for smuggling a victim into Bonaire for
residency who did not cooperate with law enforcement investigations.           the purpose of labor trafficking; courts sentenced the individual to
Anti-trafficking efforts on the Dutch Caribbean islands remained weak,         30 days’ imprisonment and a ﬁne. For the fourth consecutive year,
and the government did not report complete victim statistics for the           authorities in Sint Eustatius and Saba did not investigate, prosecute,
reporting period.                                                              or convict any traffickers.
                                                                               Regional police units maintained specialized teams with trained anti-
        NETHERLANDS TIER RANKING BY YEAR                                       trafficking detectives and experts, and the national police had dedicated
    1                                                                          anti-trafficking officers. Specialized anti-trafficking prosecutors and
    2
                                                                               judges tried and heard cases. The government allocated €10 million
                                                                               ($11.3 million) to combat trafficking (the same as in 2020) and added
  2WL                                                                          an additional 40 police officers, detectives, and cyber specialists to the
    3                                                                          regional police anti-trafficking teams. Observers previously reported the
           2015     2016     2017     2018   2019   2020     2021    2022      police did not allocate sufficient resources to anti-trafficking efforts, as
                                                                               the government shifted funding to counterterrorism and organized crime
                                                                               investigations. The government continued to deliver anti-trafficking
                                                                               training to law enforcement; training remained institutionalized as
PRIORITIZED RECOMMENDATIONS:                                                   part of the standard professional curriculum across agencies. All new
Increase efforts to proactively identify victims, including victims of         police recruits received a human trafficking module as part of basic
forced labor. • Provide all potential trafficking victims, including foreign   training, and anti-trafficking police officers were required to pass
nationals without legal residency, with care services, regardless of           examinations in a training course focused on policing commercial sex,
their ability to cooperate with an investigation. • Increase efforts to        including identifying trafficking indicators. Judges, prosecutors, and
sentence traffickers to signiﬁcant prison terms. • Improve coordination        defense attorneys continued to receive specialized training in applying
and information-sharing with anti-trafficking counterparts across the          the anti-trafficking law and trauma-informed care for victims. Local
Kingdom of the Netherlands, including in Aruba, Curaçao, and Sint              governments on the BES islands ran multidisciplinary anti-trafficking
Maarten. • Establish and implement policies to formally disconnect             teams, which cooperated with each other and with Dutch counterparts;
identiﬁcation procedures and official victim status from investigations        however, there was little evidence of their effectiveness. Authorities in
and prosecutions. • Improve data collection quality for law enforcement        Bonaire maintained a trafficking database, which served as a repository
and ensure the timely release of victim identiﬁcation data for policy          for future leads on trafficking cases. Dutch authorities trained customs
evaluation. • Continue efforts to strengthen the child protection system       and coast guard officials in the BES islands and seconded Dutch law
to protect against vulnerability to trafficking. • Incorporate measurable      enforcement staff to the BES islands and Aruba, Curaçao, and Sint
goals into the NAP. • Implement results-based training and mentoring           Maarten; observers reported many law enforcement officials were
of officials in the islands of Bonaire, Sint Eustatius, and Saba (BES)         unfamiliar with the seconding system and the countries did not take
to increase identiﬁcation of victims and prosecution of traffickers. •         full advantage of this program.
Expand the rapporteur’s mandate or assign another independent body
                                                                               The government continued to participate in international investigations
to evaluate anti-trafficking efforts and assess trafficking prevalence in
                                                                               and led one joint investigation team with other EU nations. The
the BES islands.
                                                                               government led EUROPOL’s European Multidisciplinary Platform Against
                                                                               Criminal Threats (EMPACT) program on human trafficking; through
PROSECUTION                                                                    EMPACT, the government worked in cooperation with Vietnam to
The government increased law enforcement efforts. Article 273f of
                                                                               investigate organized criminal groups involved in exploiting Vietnamese
the criminal code criminalized sex trafficking and labor trafficking
                                                                               children for sex and labor trafficking in the Netherlands. The Ministry of
and prescribed punishments of up to 12 years’ imprisonment or a ﬁne
                                                                               Justice and Security (MJS) maintained police liaison officers in Croatia,
for trafficking offenses involving an adult victim and up to 15 years’
                                                                               Italy, and Poland to monitor migrants vulnerable to trafficking and to
imprisonment or a ﬁne for those offenses in which the victim was a
                                                                               share investigative information with host government law enforcement
child. These penalties were sufficiently stringent and, with respect to
                                                                               authorities. The government maintained a 2016 memorandum of
sex trafficking, commensurate with those prescribed for other serious
                                                                               understanding on law enforcement cooperation, including anti-trafficking
crimes, such as rape. The BES criminal code criminalized sex and labor
                                                                               cooperation, with Aruba, Curaçao, Sint Maarten, and the United States.
trafficking under article 286f and prescribed penalties ranging from six
                                                                               The government did not report any investigations, prosecutions, or
to 15 years’ imprisonment. In January 2022, the government enacted
                                                                               convictions of government employees complicit in human trafficking
a law criminalizing knowingly soliciting a sex trafficking victim, with
                                                                               crimes. The government frequently did not charge child sex traffickers
penalties of up to four years’ imprisonment or a ﬁne for soliciting an
                                                                               under the trafficking law but under a sexual abuse law (article 248b),
adult sex trafficking victim and up to six years’ imprisonment or a ﬁne
                                                                               which carried lesser penalties.
for soliciting a child sex trafficking victim.
Police initiated 178 trafficking investigations, compared with 187 in 2020.    PROTECTION
The government initiated prosecutions of 201 alleged traffickers and           The government maintained efforts to protect victims. In 2020, the
continued ongoing prosecutions of 41 alleged traffickers, a signiﬁcant         most recent year for which official data was available, the government-
increase from 120 prosecutions of alleged traffickers in 2020. A new           funded national victim registration center and the assistance coordinator
prosecutorial directive, stressing human trafficking investigations and        registered 984 possible trafficking victims, compared with 1,334 in 2019.
prosecutions were a high priority, went into effect in November 2021.          Of the 984 victims, 408 were victims of sex trafficking, 603 were victims
Courts convicted 205 traffickers, a signiﬁcant increase from 53 traffickers    of labor trafficking, including 154 subjected to forced criminality, and 38
convicted in 2020. Courts sentenced traffickers to less than one year          were victims of uncategorized trafficking; these numbers reﬂect that
imprisonment in 23 cases, to one to three years’ imprisonment in 39            several individuals were victims of multiple forms of trafficking. The
cases, to three to ﬁve years’ imprisonment in three cases, and to more         majority of victims were women (547), and 68 victims were children.
than ﬁve years’ imprisonment in eight cases. Law enforcement efforts           In 2020, the top ﬁve countries of origin of victims were Poland, Nigeria,
remained weak in the BES islands. The Dutch Caribbean Police Corps,            the Netherlands, Bulgaria, and Hungary; the majority of victims were
which operated exclusively in Bonaire, Sint Eustatius, and Saba, initiated     foreign nationals. Authorities in Bonaire identiﬁed two victims in 2021.
one trafficking investigation in Bonaire; the investigation was ongoing        Authorities and ﬁrst responders followed government-established




                                                                                                                                 Haiti AR_000890              409
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 515 of 729
NETHERLANDS   identiﬁcation and referral procedures; the government continued                  locations for victims who tested positive for COVID-19, ensuring safe
              funding a website with identiﬁcation and referral information for ﬁrst           shelter for victims who needed to self-quarantine.
              responders and other professionals who may encounter a victim. The
                                                                                               Child victims were placed in specialized shelters for children or in
              government supported an initiative by victim care organizations to
                                                                                               screened foster homes, or they were returned home when deemed
              develop best practices for prevention and protection of male victims
                                                                                               safe. Children remained vulnerable in the protection system; civil
              of sexual exploitation. In January 2022, the national police reported an
                                                                                               society reported care workers were not sufficiently trained to identify
              ongoing shortage of law enforcement officers, due in part to the increased
                                                                                               child trafficking victims and the level of specialized services children
              workload of officers responding to protests, particularly those against
                                                                                               received varied widely by municipality. In June 2021, the government
              government pandemic restrictions. Observers reported the shortage
                                                                                               initiated a regional pilot program establishing a coordinator to increase
              of officers and the government’s guidance for many employees to
                                                                                               protection for child trafficking victims by increasing victims’ conﬁdence
              work from home to mitigate the spread of COVID-19 likely contributed
                                                                                               in the criminal justice system and taking measures to avoid victims’ re-
              to the lower number of victims identiﬁed in 2020. Observers noted
                                                                                               traumatization during criminal proceedings. The national rapporteur
              that while officials received training on victim identiﬁcation, effective
                                                                                               and civil society agreed the government was actively engaged in
              victim screening was dependent on officers’ familiarity with trafficking;
                                                                                               addressing the issue of children leaving Dutch asylum centers to unknown
              authorities’ contact with trafficking victims varied widely among regions.
                                                                                               destinations, including through law enforcement cooperation via the
              Aruba, Curaçao, and Sint Maarten relied heavily on the Netherlands for
                                                                                               EMPACT project; the government also established interagency working
              funding local anti-trafficking efforts. Observers assessed these funding
                                                                                               agreements delineating the roles and responsibilities of law enforcement
              levels as sporadic and insufficient. The Kingdom of the Netherlands
                                                                                               and government agencies when responding to a case of a missing
              funded a training on the anti-trafficking legal framework for border
                                                                                               unaccompanied child.
              protection officials in Sint Maarten.
                                                                                               Thirty-three of the country’s 35 health care regions had a trafficking victim
              First responders, including law enforcement, were required to immediately
                                                                                               coordinator, the same number as in 2020; the government funded an
              refer potential victims to the NGO officially tasked and funded by
                                                                                               NGO to assist the two regions without a coordinator. The November 2021
              the government to register victims and coordinate their care; other
                                                                                               prosecutorial directive instructed prosecutors to take several measures
              organizations and private citizens could also refer victims to the NGO.
                                                                                               to prioritize victims’ privacy, safety, and health, including limiting the
              Upon registration, the NGO referred the victim to a shelter, if desired,
                                                                                               number of interviews and conducting interviews without delay; avoiding
              and advised victims on available services. Observers continued to report
                                                                                               visual contact between the victim and suspect; and allowing victims not
              the EU’s General Data Protection Regulation (GDPR), which required
                                                                                               to testify as a witness during public trials. Although victims could request
              non-law enforcement organizations to obtain consent from the victim
                                                                                               physical separation from a suspect during court proceedings, observers
              before official registration unless a “justiﬁed interest” existed, continued
                                                                                               previously expressed concern that lengthy trials re-traumatized victims.
              to deter some victims from registering. Nevertheless, experts agreed it
                                                                                               Judges often awarded restitution to victims, and if the perpetrator did
              was not the GDPR itself that caused victims to fear stigmatization as a
                                                                                               not pay the court-ordered amount within eight months, the government
              trafficking victim and withdraw from the victim process; rather, it was
                                                                                               assumed responsibility for collecting the payment from the perpetrator.
              the strict interpretation of the regulation by many non-law-enforcement
                                                                                               Courts ordered signiﬁcant restitution awards in several cases in 2021,
              organizations out of fear of being non-compliant with EU privacy
                                                                                               including a case in which a judge awarded €220,480 ($249,980) to a
              regulations. Observers noted that a November 2020 MJS manual with
                                                                                               victim of sex trafficking. Victims could also claim compensation through
              guidance to stakeholders on the GDPR failed to clarify how to report
                                                                                               the Violent Offenses Compensation Fund or by ﬁling a civil suit. As of
              potential victims. Non-registered victims could access services from
                                                                                               2019, victims in the BES islands could also apply for compensation from
              non-government funded NGOs. MJS provided awareness training to the
                                                                                               the Violent Offenses Compensation Fund.
              Immigration and Naturalization Services to identify potential trafficking
              indicators among asylum-seekers. However, an NGO previously noted                Non-EU victims without legal residency status, who were willing to
              that some non-EU third country nationals seeking asylum had difficulty           press charges, were eligible for a short-term residence permit (B-8
              accessing victim care services.                                                  permit), valid for a maximum of ﬁve years; the B-8 permit allowed
                                                                                               non-EU victims to seek employment. If authorities decided to prosecute
              Local governments funded an extensive network of care facilities for
                                                                                               the suspected trafficker, the victim was eligible to receive permanent
              Dutch victims and foreign victims with legal residency status; the local
                                                                                               B-8 legal residency. The government did not report how many foreign
              shelters provided accommodation to trafficking victims and victims of
                                                                                               victims applied for the permanent B-8 permit (333 applied in 2018, the
              other crimes. Victims without legal residency status were provided a
                                                                                               most recent year data was available). According to civil society, foreign
              three-month reﬂection period in one of three NGO-managed specialized
                                                                                               victims who obtained a B-8 permit but ultimately ceased cooperation
              trafficking shelters, during which time they could choose to press charges
                                                                                               with authorities lost their residence permits and consequently all
              against their trafficker; victims were not allowed to work during this
                                                                                               government-sponsored support services. Moreover, some NGOs noted
              time. After the reﬂection period, victims who agreed to assist police
                                                                                               law enforcement could quickly drop a case if it did not immediately ﬁnd
              could continue to stay in shelters. Observers expressed concern that the
                                                                                               sufficient potential evidence for a successful prosecution, leading to
              granting of a reﬂection period was at authorities’ discretion and there
                                                                                               victims potentially being excluded from services. A victim could apply
              was no mechanism to appeal a decision. The government fully funded
                                                                                               for asylum if their case closed without a conviction or they declined to
              the three NGO-managed specialized shelters for victims without legal
                                                                                               assist in an investigation. The government did not report the number
              residency status; the government provided €1.5 million ($1.7 million)
                                                                                               of potential victims who applied for asylum. A procedure also existed
              to these shelters in 2021, an increase from €1.44 million ($1.6 million) in
                                                                                               to grant victims residency, separate from B-8 eligibility, in cases where
              2020. In January 2022, the government decreased the number of spaces
                                                                                               they were seriously threatened or had serious medical or psychological
              for victims in the three specialized shelters from 58 to 40 (30 for women,
                                                                                               conditions. Authorities worked with civil society to repatriate foreign
              10 for men) but allowed for a 10 percent increase above this capacity, if
                                                                                               victims unable to acquire residence permits; the government did not
              needed. Observers claimed that the government’s decision to reduce
                                                                                               report how many victims were repatriated (approximately 10 in 2020).
              capacity based on decreased victim numbers in 2020 was misguided,
              as the reduction in victim numbers was likely due to challenges in               The government continued to implement a European Commission
              identiﬁcation caused by the pandemic. Both the NGO-managed shelters              “Dublin” regulation of transferring asylum claimants to their original
              and local shelters provided medical and psychological care, schooling,           country of asylum registration, including claimants who had potentially
              language and skills training, and legal assistance; some also provided           been subjected to trafficking in another EU country. Civil society observed
              self-defense classes, and most had facilities accessible to individuals          this policy led to the deportation of some victims who were in need of
              with disabilities. In addition to the general funding of local shelters, local   support. Authorities noted that when a “Dublin” asylum claimant was
              governments allocated €2 million ($2.27 million) to fund specialized care        returned to a “Dublin” country of origin, Dutch law enforcement shared
              for up to 36 trafficking victims who also had a psychological disorder,          all investigation data with their counterparts in the country of origin to
              developmental limitations, or “substance abuse disease;” this care was           facilitate the investigation and prosecution of a case. The government
              provided across six local shelters. Shelters created separate quarantine         extended immigration relief to victims facing deportation or repatriation

  410                                                                                                                                        Haiti AR_000891
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 516 of 729
to countries with a high rate of COVID-19 infections and to victims who        trafficking among Asian migrant cooks, the government terminated




                                                                                                                                                              NEW ZEALAND
could not return to their home countries due to travel restrictions; the       the special work permit scheme for the Asian hospitality sector. Eight
government allowed identiﬁed victims to stay two to six weeks beyond           industries were actively involved in the government’s Covenant on
the three-month reﬂection period in specialized shelters for trafficking       Reducing Human Rights Violations in Supply Chains, and two industries
victims or in asylum centers.                                                  (wind energy and agriculture/horticulture) were in the process of joining.
                                                                               The government began developing corporate social responsibility
PREVENTION                                                                     legislation to ensure Dutch companies incorporate human rights and
The government increased efforts to prevent trafficking. The Human             environmental due diligence throughout their supply chains. In advance
Trafficking Task Force, chaired by the chief national prosecutor and           of the implementation of legislation criminalizing the solicitation of a sex
composed of local and national government authorities, the private             trafficking victim, the government launched an awareness campaign in
sector, and NGO representatives, set long-term anti-trafficking policies,      December 2021 targeting consumers of commercial sex. The government
while MJS led the implementation and coordination of anti-trafficking          continued to implement a national plan against child sex tourism,
efforts; the task force met four times. The government continued               screened for potential child sex tourists at airports in cooperation with
implementing the 2018 NAP, focused on improving information                    foreign governments, and maintained a police liaison at the Dutch
sharing among stakeholders, identifying more victims, strengthening            embassy in Thailand, a position responsible for monitoring criminal
local governments’ anti-trafficking programs, and increasing efforts           activities in the region, including human trafficking. The government
against labor trafficking. Several NGOs criticized the NAP for its lack of     supported NGO-conducted projects to counter child sex tourism and
measurable goals and monitoring tools, although the government issued          funded an NGO-operated reporting center to encourage travelers and
a report in November 2021 on its progress implementing the NAP. In             ﬂight staff to ﬁle reports of suspected child sex tourism. The government
December 2021, the government committed €2 million ($2.27 million)             continued training immigration, hotel, aviation, customs, and labor
to fund the 2023-2027 NAP, the ﬁrst time the government dedicated              inspection staff in methods to identify victims and child sex tourists. The
money directly to NAP implementation. The four Kingdom countries               government continued its collaboration with Liechtenstein, Australia,
agreed to update an existing memorandum of understanding on human              and the UN to explore methods to detect and disrupt ﬁnancial ﬂows
trafficking and migrant smuggling in 2022. The government began                associated with trafficking. The foreign ministry continued to conduct
drafting a NAP to protect children on online platforms, including to           outreach to domestic workers associated with foreign diplomats,
prevent child trafficking. The national rapporteur, tasked with monitoring     without their employers present, on how to report cases of abuse. A
policy implementation, gathering and reporting statistics, and making          government-funded NGO maintained a victim assistance hotline during
recommendations to the government, published a report that analyzed            regular business hours. The hotline received 2,130 calls in 2021, compared
victim statistics from 2016-2020 and a 2015-2019 report on sexual              with 3,782 calls in 2019; the government did not report if any of these
violence against children. The mandate of the national rapporteur did          calls resulted in trafficking investigations.
not extend to the BES islands; therefore, the office could not conduct
research there. Observers reported the government increasingly sought          TRAFFICKING PROFILE
survivor input in crafting anti-trafficking laws, regulations, policies, and   As reported over the past ﬁve years, human traffickers exploit domestic
programs. A December 2021 study by the Dutch Association of Local              and foreign victims in the Netherlands. In contrast to previous years,
Governments found that approximately 60 percent of municipalities              stakeholders identiﬁed more labor trafficking cases than sex trafficking
were developing or implementing an existing anti-trafficking policy; the       in 2020. Labor traffickers exploit adults from Eastern Europe, Africa, and
government worked with several municipalities to launch a pilot program        South and East Asia, and Latin America in industries such as catering,
to develop and share innovative best practices at the local level.             retail, inland shipping, leisure river cruises, agriculture, horticulture,
                                                                               hospitality, domestic servitude, and forced criminal activity. There has
The government continued multiple awareness campaigns, some of
                                                                               been a notable increase in victims from Africa, particularly Nigeria and
which were conducted by local governments or through NGOs. The
                                                                               Uganda. The number of European victims, particularly from Eastern
government funded an awareness raising roadshow focused on the
                                                                               Europe, rose sharply in 2020. Thousands of Ukrainian refugees,
exploitation of youth. More than 50 percent of municipalities conducted
                                                                               predominantly women and children ﬂeeing Russia’s war on Ukraine,
inspections of commercial sex establishments, which included screening
                                                                               have crossed European borders, including those of the Netherlands,
for trafficking indicators; the government did not report the number
                                                                               seeking sanctuary and are vulnerable to trafficking. For the ﬁrst time in
of inspections conducted nor if it identiﬁed any trafficking victims
                                                                               several years, Dutch nationals were not the leading nationality of victims
as a result of these inspections. Although legalized, the government
                                                                               in 2020 or 2019. Refugees and asylum-seekers, including unaccompanied
prohibited commercial sex for multiple months in 2021 due to pandemic-
                                                                               children and children in government-run asylum centers, are vulnerable
related restrictions, leading those organizing commercial sex to shift to
                                                                               to labor and sex trafficking. Over the last ﬁve years, more than 1,600
online platforms and into private residences; this change made it more
                                                                               foreign children have left refugee centers to unknown destinations and
challenging for authorities to conduct inspections. The government
                                                                               remain highly vulnerable to exploitation. Criminal groups force Romani
continued supporting two “innovation ﬁeld labs” in cooperation with
                                                                               children into pickpocketing and shoplifting rings. The Netherlands is
a foreign university to bring together stakeholders to develop new
                                                                               a source country for child sex tourists. Traffickers are overwhelmingly
methods to counter trafficking. The government provided assistance
                                                                               male and almost half of trafficking suspects are Dutch; the average
and training overseas, and it funded anti-trafficking programs in victim
                                                                               trafficker is younger than 35 years old.
source countries, including campaigns in Africa and the Middle East to
raise awareness about the risks of human trafficking and smuggling             Human traffickers exploit foreign victims in the BES islands. Increasingly,
when migrating. The government, in cooperation with an international           traffickers exploit Venezuelan women in sex trafficking on the BES
organization, launched a program to improve anti-trafficking law               islands. Local authorities believe labor traffickers also exploit adults
enforcement coordination in Niger and Nigeria.                                 in domestic servitude and in the agricultural, retail, and construction
                                                                               sectors. Women in commercial sex and unaccompanied children are
Although observers noted the government’s increased focus on labor
                                                                               highly vulnerable to trafficking on the islands, and some migrants in
exploitation, in particular the government’s attention to the living
                                                                               restaurants and local businesses may be vulnerable to debt bondage.
situation and labor conditions of migrant workers during the pandemic,
experts expressed concern that ambiguity regarding the legal distinctions
between labor trafficking and poor labor practices made it difficult to
effectively tackle labor trafficking. The labor inspectorate implemented a
new data processing mechanism to share information with the police to            NEW ZEALAND: TIER 2
increase coordination on potential labor trafficking cases. In November
2021, the government amended the Foreign Nationals Employment                  The Government of New Zealand does not fully meet the minimum
Act to increase the duration of work permits for foreign nationals from        standards for the elimination of trafficking but is making signiﬁcant
non-European Economic Area countries from one year to a maximum of             efforts to do so. The government demonstrated overall increasing efforts
three years. The same month, following media reports of possible human         compared with the previous reporting period, considering the impact
                                                                                                                                 Haiti AR_000892               411
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 517 of 729
NEW ZEALAND   of the COVID-19 pandemic on its anti-trafficking capacity; therefore            reporting period. Following the enactment of the trafficking law in 2015,
              New Zealand remained on Tier 2. These efforts included investigating            the government has exclusively used Section 98D to prosecute labor
              three potential cases of trafficking, ﬁnalizing new training modules, and       trafficking crimes and has never prosecuted a sex trafficking crime or a
              creating a new visa category and reporting mechanisms for exploited             case of internal trafficking under Section 98D. The government required
              migrant workers. However, the government did not meet the minimum               the Attorney General to approve any charges under Section 98D before
              standards in several key areas. The government did not initiate any             authorities could initiate court proceedings.
              prosecutions, convict any traffickers, or identify any victims. Officials did   An anti-trafficking operations group, composed of immigration
              not have written procedures for victim identiﬁcation, and the government        authorities, police, the children’s ministry, and other agencies, continued
              has never reported identifying an adult victim of sex trafficking.              to meet to increase law enforcement coordination. The Labour
                                                                                              Inspectorate (LI) investigated forced labor complaints but worked
                      NEW ZEALAND TIER RANKING BY YEAR
                                                                                              mainly within the civil legal system, which may have contributed to the
                  1                                                                           lack of criminal prosecution of forced labor crimes when authorities did
                                                                                              not refer cases for criminal investigations. Immigration New Zealand’s
                  2
                                                                                              (INZ) serious offences unit investigated trafficking cases that involved
                2WL                                                                           immigration violations; however, according to some observers, there was
                  3                                                                           a reluctance within INZ to pursue trafficking charges and the agency did
                         2015     2016     2017     2018   2019    2020     2021    2022      not consistently coordinate with prosecutors before deciding to pursue
                                                                                              charges. In addition, LI and INZ reportedly did not consistently respond
                                                                                              to or investigate complaints made by exploited migrant workers, and
                                                                                              despite ﬁnalizing a strategy in early 2021 to formalize their collaboration,
              PRIORITIZED RECOMMENDATIONS:                                                    the agencies reportedly did not effectively coordinate to investigate
              Increase efforts to identify victims through proactive screening of             potential trafficking cases. INZ and New Zealand Police (NZP) completed
              vulnerable populations, including by drafting and ﬁnalizing appropriate         a protocol in October 2021 aimed to improve coordination between the
              victim identiﬁcation guidelines for government officials. • Increase            agencies during joint investigations, including on trafficking cases. Police
              efforts to proactively investigate and prosecute sex and labor trafficking      reportedly did not proactively pursue trafficking cases due to capacity
              cases and sentence convicted traffickers to adequate penalties, which           constraints, indicating that police did not understand the gravity of
              should involve signiﬁcant prison terms. • Establish a national referral         the crime and failed to hold traffickers accountable. In addition, the
              mechanism to ensure victims—including New Zealand citizens—are                  government did not adequately train police officers to identify indicators
              appropriately identiﬁed as trafficking victims and referred to services         of trafficking among victims of domestic or family violence, including
              and track the number of victims identiﬁed by authorities. • Amend the           in cases where traffickers forced adult victims into commercial sex,
              trafficking statute to explicitly deﬁne the sex trafficking of children as      and therefore the crime often went unnoticed by authorities. Some
              not requiring the use of deception or coercion. • Take steps to improve         experts previously noted that the lack of efforts by law enforcement
              potential victims’ access to services and ensure government-funded              to treat sex trafficking cases appropriately minimized the prevalence of
              services are suitable for trafficking victims. • Distribute materials to        the crime and resulted in weak efforts to hold traffickers accountable
              raise public awareness of all forms of human trafficking. • Increase            and protect victims.
              resources for anti-trafficking law enforcement. • Improve the content           The Ministry of Business, Immigration, and Employment (MBIE) ﬁnalized
              and distribution of materials explaining migrant workers’ rights and            new training modules for immigration officers, labor inspectors, and other
              mechanisms for reporting exploitation. • Increase coordination with             frontline officials on identifying and investigating trafficking, interviewing
              NGOs, social service providers, and other civil society stakeholders on         victims, and processing visas for victims; the government delivered the
              anti-trafficking efforts, including victim identiﬁcation and assistance. •      training to INZ staff during the reporting period. NZP continued to require
              Provide anti-trafficking training to diplomatic personnel.                      anti-trafficking training for all detectives and included a trafficking and
                                                                                              smuggling chapter in its police manual. The government also provided
              PROSECUTION                                                                     anti-trafficking training to police child protection specialist teams and
              The government maintained inadequate anti-trafficking law enforcement           criminal investigations branch managers; Employment New Zealand
              efforts. The Crimes Act of 1961, as amended in 2015, criminalized sex           conducted “train the trainer” sessions for six officials. The government
              trafficking and labor trafficking. Section 98D (trafficking in persons)         did not report training prosecutors or judiciary officials, and one observer
              criminalized all forms of labor trafficking and some forms of sex trafficking   reported the government did not adequately train labor inspectors
              and prescribed penalties of up to 20 years’ imprisonment, a ﬁne not             to investigate potential trafficking crimes. The government did not
              exceeding 500,000 New Zealand dollars ($342,470), or both; these                report any investigations, prosecutions, or convictions of government
              penalties were sufficiently stringent and, with respect to the forms of         employees complicit in trafficking offenses.
              sex trafficking covered under the provision, commensurate with the
              penalties prescribed for other serious crimes, such as rape. Inconsistent       PROTECTION
              with international law, Section 98D required a demonstration of deception       The government maintained insufficient victim identiﬁcation and
              or coercion to constitute a child sex trafficking offense and therefore         protection efforts. For the second consecutive year, the government did
              did not criminalize all forms of child sex trafficking. However, Section        not formally identify any victims of trafficking. Although the government
              98AA criminalized all forms of child sex trafficking under its “dealing in      delivered training to some officials that included guidance on victim
              persons” provision and prescribed penalties of up 14 years’ imprisonment,       identiﬁcation, government agencies did not have formal written
              which were sufficiently stringent and commensurate with the penalties           procedures for victim identiﬁcation. The government used a process
              prescribed for other serious crimes, such as rape. The government               to formally certify a foreign person as a trafficking victim, enabling their
              sometimes utilized the Prostitution Reform Act (PRA) to prosecute child         access to a speciﬁc visa category for victims of trafficking and basic
              sex trafficking crimes, including Sections 20 and 21 which criminalized         services such as health care; however, the government did not certify any
              the facilitating, assisting, causing, or encouraging a child to provide         victims using this process. The government lacked a system to formally
              commercial sex acts, in addition to receiving earnings from commercial          recognize all trafficking victims, including victims from New Zealand. One
              sex acts provided by a child. These sections of the PRA prescribed              NGO reported the government’s criteria for the certiﬁcation of victims
              penalties of up to seven years’ imprisonment, which were signiﬁcantly           was not publicly available and it was unknown if or how victims could
              lower than those available for trafficking offenses under Section 98D           appeal a decision. While the government did not require victims to be
              and 98AA of the Crimes Act.                                                     certiﬁed or formally designated as trafficking victims to access support
              The government initiated investigations of three potential cases of             services, a lack of recognition by the government that traffickers had
              trafficking but did not initiate any prosecutions or convict any traffickers;   exploited them may have inhibited victims’ ability to obtain specialized
              this was compared with eight investigations, two sex trafficking                services. The absence of a system to formally recognize all victims of
              prosecutions, and conviction of seven sex traffickers in the previous           trafficking and track the number identiﬁed by authorities may have

  412                                                                                                                                        Haiti AR_000893
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 518 of 729
impeded the government’s ability to identify trafficking trends and            The government initiated a review of intercountry adoption legislation




                                                                                                                                                                  NEW ZEALAND
develop effective responses. The government has never certiﬁed a foreign       seeking to, in part, mitigate risks related to trafficking and other forms
victim of sex trafficking. Despite evidence that traffickers have forced       of exploitation. New Zealand’s Parliament also solicited civil society
adults, particularly female victims of family violence, into commercial        input on the prevalence of migrant exploitation and gaps in legislation
sex in New Zealand, the government has never identiﬁed an adult New            to address migrant exploitation. INZ held virtual meetings with leaders
Zealander as a victim of sex trafficking. NZP had legal limitations on its     of migrant communities to raise awareness of migrant workers’ rights
ability to proactively screen for sex trafficking victims, including among     in New Zealand. The government distributed guides for employers
New Zealand citizens, within the legal commercial sex industry, which          recruiting migrant workers, published information on the rights of migrant
was primarily regulated by the Ministry of Health (MOH). For example,          workers on government websites in 13 languages, and sent welcome
due to regulations prohibiting police from inspecting legal brothels           emails with workers’ rights information to all approved residence, work,
without a complaint, police relied on MOH officials and an organization        and student visa holders. MBIE continued to distribute pamphlets, in
that works closely with individuals in commercial sex to report potential      ﬁve languages, listing who was able to legally engage in commercial
criminal violations; however, the government did not report providing          sex and it provided information on how to report exploitation; however,
training to the organization’s or MOH’s staff on deﬁnitions or indicators      these materials did not speciﬁcally address trafficking. In addition,
of sex trafficking or procedures for the referral of trafficking victims to    many of the materials on migrant workers’ rights and employment
services. The government delivered training to INZ airline liaison officers    laws were not clear or distributed effectively, and some workers were
posted overseas to improve their ability to identify suspected trafficking     unaware of their rights or how to report exploitation. The government
victims among persons traveling to New Zealand.                                did not operate a trafficking speciﬁc hotline; however, workers could
                                                                               make complaints through MBIE’s employment rights hotline, which
The government allowed for a reﬂection period, the length of which
                                                                               referred cases involving worker exploitation to the labor inspectorate.
depended on the individual needs of each victim, for victims to recover
                                                                               In addition, the government created a new migrant exploitation hotline
before deciding whether to cooperate with law enforcement. The
                                                                               and online reporting application in July 2021. However, there were reports
government did not allocate funding speciﬁcally to assist trafficking
                                                                               that this system was ineffective, authorities did not investigate urgent
victims or provide services designed for trafficking victims. However,
                                                                               complaints in a timely manner, authorities did not refer some cases to
trafficking victims were eligible to receive government-funded services
                                                                               investigators, and individuals were left uncertain if authorities took their
available for all victims of serious crimes provided through arrangements
                                                                               claims seriously or would provide support. Immigration authorities’
with local community groups, and the government provided temporary
                                                                               delays in processing migrant workers’ applications to change conditions
housing, medical services, employment assistance, and other social
                                                                               of their visas, including changing employers, increased trafficking risks
services, as well as emergency grants in cases involving debt-based
                                                                               and prevented some workers from leaving exploitative conditions for
coercion.
                                                                               extended periods of time.
Observers reported a lack of adequate services available for child sex
                                                                               In July 2021, the government introduced a new six-month migrant
trafficking victims, services were not easily accessible for victims of both
                                                                               exploitation protection visa (MEPV) to enable exploited workers—whose
labor and sex trafficking, and officials did not provide clear guidance
                                                                               visa was tied to their employer—to obtain alternative employment
to some NGO service providers seeking government assistance. The
                                                                               and remain in New Zealand while authorities investigated their cases;
government could fund travel and accommodation expenses for victims
                                                                               the government issued 87 MEPVs between July 2021 and March 2022.
who had returned to their home countries to travel to New Zealand
                                                                               Nonetheless, advocates said the MEPV did not fully address exploitation
and participate in court proceedings, but it did not report funding such
                                                                               facilitated by employer-linked visas and some workers may have been
expenses for trafficking victims during the year. The law authorized the
                                                                               deterred from seeking a MEPV if they held a visa longer than six months.
extension of temporary residence visas to certiﬁed foreign trafficking
                                                                               Government regulations banned employers who breached employment
victims for up to 12 months, which also made them eligible for legal
                                                                               standards from recruiting migrant workers for periods of six to 24
employment, and foreign victims facing hardship or retribution in their
                                                                               months, and the government published a list of all offending employers
home countries could apply for a residency visa. During the reporting
                                                                               on its website. Immigration officials and labor inspectors inspected legal
period, INZ granted residency visas to 13 trafficking victims and their
                                                                               brothels to ensure conditions complied with the law and conducted
family members, as well as up to ﬁve work visas. INZ updated its
                                                                               investigations and routine audits in workplaces that employed migrant
trafficking website to include information on visas for trafficking victims
                                                                               workers. The law prohibited individuals or companies from charging
and brochures in nine languages; however, the updated page included
                                                                               employment premiums, such as recruitment fees; labor inspectors
an incorrect deﬁnition of trafficking that required the movement of a
                                                                               could initiate proceedings in the Employment Relations Authority
person. The law allowed victims to receive restitution from criminal
                                                                               to recover premiums and seek a penalty against violators, although
proceedings, and victims could seek compensation from assets forfeited
                                                                               authorities did not report if this occurred during the reporting period.
in criminal cases through civil claims; however, the government did not
                                                                               Some sources believed the labor inspectorate was understaffed and
report if any victims received restitution or compensation during the
                                                                               under-resourced, which they felt limited its ability to carry out effective
reporting period.
                                                                               inspections and adequately investigate exploitative employment,
                                                                               including potential cases of trafficking. Observers reported penalties
PREVENTION
                                                                               proscribed to unscrupulous employers in employment courts were often
The government increased efforts to prevent trafficking. INZ chaired the
                                                                               not signiﬁcant enough to deter exploitative practices and the employers
government’s interagency working group on trafficking and operated a
                                                                               could continue operating under a new company. The government did
team responsible for coordinating government anti-trafficking efforts. In
                                                                               not make efforts to reduce the demand for commercial sex acts. The
January 2022, the government published the ﬁrst report documenting
                                                                               government did not provide anti-trafficking training to its diplomatic
its efforts to implement the March 2021 “Plan of Action against Forced
                                                                               personnel.
Labor, People Trafficking and Slavery.” INZ held an observatory role
within an anti-trafficking advisory group co-chaired by two civil society
organizations. The government established an advisory group composed
                                                                               TRAFFICKING PROFILE
                                                                               As reported over the past ﬁve years, human traffickers exploit domestic
of government officials, NGOs, businesses, academics, and trade unions
                                                                               and foreign victims in New Zealand. Foreign men and women from
to consider legislation addressing human trafficking in supply chains.
                                                                               South and East Asia, the Paciﬁc, and some countries in Latin America
The government did not report sufficient efforts to raise awareness
                                                                               are vulnerable to forced labor in New Zealand’s agriculture, dairy,
of sex trafficking, although it continued to maintain webpages and
                                                                               construction, viticulture, food service, liquor retail, technology, hospitality,
distribute pamphlets to raise awareness of trafficking indicators and
                                                                               transport, and domestic service sectors. Unregulated and unlicensed
the availability of support services. There remained a lack of sufficient
                                                                               immigration brokers operating in New Zealand and source countries,
efforts to increase public awareness of trafficking, with low levels of
                                                                               particularly in India and the Philippines, facilitate trafficking by assisting
understanding of the crime across New Zealand, including among social
                                                                               in the process to issue visas to victims. Some foreign workers are
service providers and the general public.
                                                                               charged excessive recruitment fees and experience unjustiﬁed salary

                                                                                                                                   Haiti AR_000894                413
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 519 of 729
NICARAGUA   deductions, non- or under-payment of wages, excessively long working            efforts in the two Caribbean autonomous regions of Nicaragua continued
            hours, restrictions on their movement, passport retention, and contract         to be much weaker than in the rest of the country.
            alteration. Some employers force migrants, whose visas are often tied to
            their employer, to work in job conditions different from those promised
            during recruitment and use intimidation tactics and false information                   NICARAGUA TIER RANKING BY YEAR
            about immigration laws to prevent victims from seeking assistance.                  1
            The pandemic increased the reluctance or ability of many foreign                    2
            nationals to leave New Zealand, and those who became undocumented                 2WL
            as a result were increasingly vulnerable to exploitation. Furthermore,
            temporary migrant workers in sectors most negatively affected by the                3
                                                                                                      2015      2016     2017        2018   2019   2020   2021   2022
            pandemic, such as tourism and hospitality, were increasingly vulnerable
            to exploitation.
            While experts assessed the Prostitution Reform Act, which decriminalized
            commercial sex for New Zealand residents, overall increased protections         PRIORITIZED RECOMMENDATIONS:
            for those who willingly engaged in commercial sex, traffickers continue         Signiﬁcantly increase efforts to identify trafficking victims, especially
            to target vulnerable populations, such as children, migrants, and               labor trafficking victims and foreign national victims. • Investigate,
            adult victims of domestic and family violence for exploitation in sex           prosecute, and convict traffickers, including complicit officials. •
            trafficking. Foreign women from Asia and South America in commercial            Vigorously implement the National Strategy for Comprehensive Attention
            sex are at risk of sex trafficking, especially those who do not speak           to Victims of Trafficking in Persons by identifying victims, including
            English and who work in private homes and informal or suburban                  among vulnerable populations, and effectively referring victims to
            environments, where they are more isolated from service providers.              appropriate services. • Partner with NGOs to provide victims short-
            Some international students and temporary visa holders are at risk              and long-term care and reintegration services. • Increase funding for
            of sex and labor trafficking. Immigration brokers and unscrupulous              victim protection, ﬁnance the trafficking fund, and provide specialized
            brothel owners subject some migrants to conditions indicative of                services for trafficking victims. • Fulﬁll the requirement under Law 896 to
            sex trafficking, including non-payment of wages, withheld passports,            include the Nicaraguan Coordinating Federation of NGOs Working with
            physical or sexual abuse, threats of deportation, monitored movements,          Children and Adolescents (CODENI) to represent NGOs in the National
            limited access to medical care or other social services, and excessive          Coalition against Human Trafficking (NCATIP). • Increase training for
            working hours. Some migrants are required to pay ﬁnes, bonds, and               government officials—including social workers, labor inspectors, and law
            recruitment and other fees to brothel operators or brokers, which make          enforcement officials—to facilitate increased victim identiﬁcation and
            them vulnerable to debt-based coercion. Traffickers utilized Section 19         assistance, including securing restitution. • Strengthen law enforcement
            of the PRA, which prohibited non-residents from legally working in the          and victim protection efforts in the Caribbean autonomous regions,
            decriminalized commercial sex industry, to use threats of deportation           especially through increased staff and funding. • Amend the 2014 anti-
            or other adverse action from law enforcement to deter migrants in               trafficking law to include a deﬁnition of trafficking in persons consistent
            commercial sex from reporting verbal or physical abuse, unwanted                with international law. • Annually report on progress in implementing
            or unsafe sexual practices, or non-payment of wages. Some gang                  the national action plan.
            members, boyfriends, family members, or others exploit young children
            and teenagers in sex trafficking by facilitating, purchasing, or forcing        PROSECUTION
            them to engage in commercial sex acts. Some adult women, often those            The government increased law enforcement efforts. The Law against
            who face domestic or family violence, are forced by partners to engage          Trafficking in Persons of 2015 criminalized sex trafficking and labor
            in commercial sex acts. Some victims are coerced into commercial sex            trafficking and prescribed penalties ranging from 10 to 15 years’
            through drug dependencies or threats by family members. One service             imprisonment; these penalties were sufficiently stringent and, with
            provider reported a notable proportion of its clients reported being            respect to sex trafficking, commensurate with penalties prescribed
            forced into commercial sex by their partners in order for their partners        for other serious crimes, such as rape. Inconsistent with the deﬁnition
            to purchase or obtain drugs and other substances. However, experts              of trafficking under international law, the law established the use
            suggest the prevalence of forced commercial sex among New Zealand               of force, coercion, or deceit as an aggravating factor rather than an
            women is signiﬁcantly under-reported and under-detected.                        essential element of the crime; the penalties increased to 16 to 18 years’
                                                                                            imprisonment for trafficking offenses involving these factors. The penalty
                                                                                            for child trafficking increased to 19 to 20 years’ imprisonment. The law
                                                                                            also deﬁned trafficking broadly to include all labor exploitation and
             NICARAGUA: TIER 3                                                              illegal adoption without the purpose of exploitation.
                                                                                            Observers questioned the validity of government reporting on human
            The Government of Nicaragua does not fully meet the minimum standards           trafficking, including law enforcement statistics; some alleged the
            for the elimination of trafficking and is not making signiﬁcant efforts to      government obscured or intentionally misclassiﬁed trafficking cases to
            do so, even considering the impact of the COVID-19 pandemic, if any,            minimize trafficking statistics. The government reported initiating four
            on its anti-trafficking capacity; therefore Nicaragua remained on Tier 3.       sex trafficking investigations in 2021, compared with one investigation
            Despite the lack of signiﬁcant efforts, the government took some steps          in 2020 and six in 2019. The government prosecuted eight alleged sex
            to address trafficking, including prosecuting eight alleged traffickers         traffickers in 2021, compared with prosecuting four alleged sex traffickers
            and convicting four sex traffickers. However, the government continued          in 2020 and one in 2019. The government held seven of eight accused
            to downplay the severity of the trafficking problem in Nicaragua,               traffickers in pre-trial detention; it levied charges against the eighth
            contradicting civil society reports of increased cases during the pandemic;     in absentia. The government convicted four sex traffickers, compared
            it did not have shelters or allocate funding for specialized victim services;   with not convicting any traffickers in 2020, 2019, and 2018. The court
                                                                                            sentenced one of the convicted traffickers to eight years and six months’
            the government made negligible efforts to address labor trafficking,
                                                                                            imprisonment; it sentenced the remaining three traffickers, also convicted
            although it remained a serious concern; and victim identiﬁcation efforts
                                                                                            of money laundering, to 20 years’ imprisonment plus a ﬁne.
            remained inadequate. The government denied that traffickers exploited
            Nicaraguans in foreign countries, despite media reports that foreign            The government did not report any law enforcement efforts to combat
            officials identiﬁed several Nicaraguan victims. The government did not          labor trafficking for the second consecutive reporting period, nor did it
            report any investigations, prosecutions, or convictions of government           report any investigations, prosecutions, or convictions of government
            employees complicit in trafficking offenses, despite endemic corruption         employees complicit in trafficking crimes. However, corruption and
            and widespread official complicity. The government did not cooperate            official complicity in trafficking crimes remained signiﬁcant concerns,
            with NGOs to provide protection services or include civil society in the        inhibiting law enforcement action during the year. Civil society made
            national anti-trafficking coalition. Prosecution, protection, and prevention    reports indicative of official complicity in trafficking crimes, including
 414                                                                                                                                          Haiti AR_000895
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 520 of 729




                                                                                                                                                              NICARAGUA
association between public officials and brothels where child sex              of the trial and allowed testimony via video or written statement to
trafficking may have occurred. Although corruption was endemic,                encourage participation and protect a victim’s identity; however, the
the government did not have policies to prevent official complicity in         government did not report using these provisions. Victims could obtain
trafficking, contributing to an environment of impunity and potentially        compensation by ﬁling civil suits against traffickers; however, NGOs
decreasing the likelihood of victims reporting trafficking crimes. The         reported the lack of streamlined procedures for trafficking victims
government did not report any instances of international coordination          and lengthy case timelines made the process unduly burdensome.
or cooperation on trafficking cases.                                           There was no record that victims had ever exercised this right. Due
                                                                               to frequent misclassiﬁcation of trafficking cases and a lack of formal
PROTECTION                                                                     identiﬁcation procedures, authorities likely detained, arrested, and
The government maintained minimal protection efforts. The government’s         deported some unidentiﬁed trafficking victims. The government did
reporting on victim identiﬁcation and protection was unreliable and often      not report efforts to screen for or identify trafficking victims among
varied from source to source. The government reported identifying two          migrant populations or individuals in commercial sex. Nicaraguan law
sex trafficking victims, both girls, in 2021, compared with one victim in      provided for humanitarian visas for foreign trafficking victims, but the
2020 and eight in 2019. In a separate forum, the government reported           government had not identiﬁed any foreign victims since 2018.
identifying six child trafficking victims in 2021. The government reported
NGOs and other organizations did not identify any additional victims;          PREVENTION
however, civil society reported their organizations continued to identify      The government decreased its already minimal efforts to prevent
and support victims. Both identiﬁed victims were Nicaraguan nationals;         trafficking. The government reported the NCATIP led 17 working
the government did not identify or support any foreign trafficking             committees and met monthly, although civil society reported the
victims exploited in Nicaragua or Nicaraguans exploited abroad, despite        coalition and its committees made little contribution to capacity building
media reports of several cases where Costa Rican and Spanish officials         and awareness raising on trafficking. While the government reported
identiﬁed Nicaraguan victims exploited in sex and labor trafficking.           the NCATIP engaged with a select group of international civil society
The government did not report implementing or training officials to            organizations, it excluded local organizations, including CODENI, from
use protocols it reportedly developed in 2019 to facilitate identifying        the coalition’s activities; Law 896 required the NCATIP to include CODENI
child and adolescent trafficking victims among vulnerable populations.         in its proceedings. Observers considered the NCATIP to be ineffectual
Officials did not identify any victims in the Caribbean autonomous             as an anti-trafficking entity and reported the apparent dissolution of
regions, where endemic poverty and limited official presence contributed       most of its regional bodies; only three or four regional committees
to signiﬁcant trafficking vulnerability.                                       remained. The government had a national action plan for 2018-2022,
                                                                               which focused on awareness raising; increasing technical capacity to
Despite identifying two child sex trafficking victims, the government
                                                                               investigate, prosecute, and sentence traffickers; protecting the rights
did not report providing medical or psychological care to any trafficking
                                                                               of victims and witnesses and providing assistance; and monitoring and
victims in 2021. The government reported it provided unspeciﬁed support
                                                                               implementing the plan. The government did not report, and civil society
for six trafficking victims—a ﬁgure that may have included victims
                                                                               did not observe, efforts to research or monitor trafficking in the country.
reﬂected in the government’s official statistics for 2021 or identiﬁed in
                                                                               The government reported it conducted trafficking awareness events
previous reporting periods—aiding law enforcement investigations or
                                                                               through the NCATIP’s working committees but did not specify the focus
prosecutions. The government reported agencies had allocations for
                                                                               or format of these events; however, civil society organizations were not
trafficking victim protection in the national budget, but these did not
                                                                               aware of any government awareness campaigns conducted during the
provide for specialized services or shelters, nor did the government
                                                                               reporting period. The government continued to maintain two 24-hour
disclose ﬁgures for the allocations. The government did not indicate
                                                                               crime hotlines that could process trafficking complaints and provide
whether it could provide appropriate services to male victims, victims
                                                                               information on trafficking and gender-based violence, but it did not
with disabilities, or LGBTQI+ victims. Government entities did not
                                                                               initiate any investigations or identify any victims based on hotline calls.
coordinate or collaborate with civil society organizations on victim
identiﬁcation or assistance. NGOs reported there had been minimal,             During the reporting period, Nicaraguans continued to encounter
if any, communication with the government on victim services since             problems obtaining national identiﬁcation cards, which increased their
2018; observers indicated the government’s restrictive relationship            vulnerability to trafficking and limited their ability to access public
with civil society signiﬁcantly worsened during the reporting period.          services. The government required private employment agencies to
The government continued its practice of revoking the registration of          register to permit government oversight and established minimum wages
civil society organizations, forcing the closure of at least one shelter       and maximum hours for adult and adolescent domestic workers; it did
providing a range of services to women victims of violence, including          not report identifying forced labor in these sectors. The government
trafficking, in 2021.                                                          did not report any efforts to inspect bars or nightclubs suspected of
                                                                               engaging in trafficking or any efforts to reduce demand for commercial
The government did not fund or support NGOs providing the majority of
                                                                               sex. The government reported it took no action to reduce demand for
available victim protection services in the country, leaving victims without
                                                                               child sex tourism, suggesting the government may have discontinued a
vital assistance. The government did not provide shelter or housing
                                                                               previously reported Ministry of Tourism program to increase awareness
support to any trafficking victims in 2020. There were no trafficking-
                                                                               of child sexual exploitation in the tourism industry. NGOs reported
speciﬁc shelters in Nicaragua and, in general, capacity for long-term
                                                                               ongoing concerns about child sex tourism in the country; however,
services was minimal; the government did not provide extended shelter,
                                                                               authorities did not investigate, prosecute, or convict any tourists for
and NGOs had a limited ability to provide such care. The government’s
                                                                               child sex trafficking. The government did not provide anti-trafficking
unofficial policy of placing victims with family members, in the absence
                                                                               training to its diplomatic personnel.
of shelter options, put trafficking victims at risk of re-victimization by
family members who may have been complicit in their exploitation. There
were no shelters available for men. The Ministry of Family coordinated
                                                                               TRAFFICKING PROFILE
                                                                               As reported over the past ﬁve years, human traffickers exploit domestic
services for child trafficking victims, including medical and legal services
                                                                               and foreign victims in Nicaragua, and traffickers exploit victims from
and access to education; officials could refer child trafficking victims to
                                                                               Nicaragua abroad. Women, children, and migrants in Nicaragua are
“special protection centers,” but the government often returned child
                                                                               especially vulnerable to trafficking. Traffickers subject Nicaraguan
victims to their families’ care, despite risk of re-victimization. Observers
                                                                               women and children to sex trafficking within the country and in other
identiﬁed a lack of adequate services across the entire country.
                                                                               Central American countries, Mexico, Spain, and the United States. Victims’
Law 896 established a dedicated fund for victim protection and                 family members are often complicit in their exploitation. Traffickers take
prevention activities to be ﬁnanced through budget allocation, donations,      advantage of Nicaraguans’ desire for economic opportunity through
and assets seized from traffickers. However, for the seventh consecutive       fraudulent offers of higher pay outside the country for work in restaurants,
year, there was no indication that the government made the fund                hotels, domestic service, construction, and security. More than half of
operational. Law 896 provided victims the ability to testify in advance        Nicaraguans who migrate to—or are forcibly displaced to—other Central

                                                                                                                                 Haiti AR_000896              415
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 521 of 729
NIGER   American countries and Europe are reportedly vulnerable to and have           availability of comprehensive victim services in coordination with
        been victims of sex and labor trafficking, both in transit and after they     civil society. • Increase coordination with regional, sub-regional, and
        reached their destinations. Traffickers increasingly use social media         international law enforcement organizations to investigate and prosecute
        sites to recruit their victims. Traffickers often recruit their victims in    transnational trafficking cases, separate from smuggling cases. • Continue
        rural areas or border regions with false promises of high-paying jobs         to fund and empower the National Coordinating Commission for the
        in urban centers and tourist locales, where they subject them to sex          Fight against Trafficking in Persons (CNCLTP) and the National Agency
        or labor trafficking. Nicaraguan women and children are subjected to          for the Fight against Trafficking in Persons and the Illicit Transport of
        sex and labor trafficking in the two Caribbean autonomous regions,            Migrants (ANLTP/TIM) to execute their mandates.
        where the lack of strong law enforcement institutions, rampant poverty,
        a higher crime rate, and lingering impacts of hurricanes Eta and Iota         PROSECUTION
        increase the vulnerability of the local population. In addition, experts      The government increased prosecution efforts. Order No. 2010-86 on
        report traffickers often target (for sex and labor trafficking) Nicaraguan    Combating Trafficking in Persons, enacted in 2010, criminalized sex
        children whose parents leave the country to work abroad. Traffickers          trafficking and labor trafficking. The law prescribed penalties of ﬁve to
        exploit Nicaraguan adults and children in labor trafficking in agriculture,   10 years’ imprisonment for trafficking offenses involving an adult victim,
        construction, mining, the informal sector, and domestic service within the    and 10 to 30 years’ imprisonment for those involving a child victim.
        country and in Costa Rica, Panama, Spain, the United States, and other        These penalties were sufficiently stringent. Penalties for sex trafficking
        countries. Traffickers force some children to work in artisanal mines and     of children were commensurate with those prescribed for other serious
        quarries. Observers report traffickers exploit children through forced        crimes, such as rape, although the penalties for sex trafficking of adults
        participation in illegal drug production and trafficking. Children and        were not. Article 270 of the penal code also criminalized slavery and
        persons with disabilities are subjected to forced begging, particularly       prescribed penalties of 10 to 30 years’ imprisonment and a ﬁne.
        in Managua and near tourist centers. Traffickers subject some male
                                                                                      The government reported investigating 33 suspects during the reporting
        migrants from Central American countries transiting Nicaragua en route
                                                                                      period, including 10 for sex trafficking, seven for forced labor, and
        to Costa Rica and Panama to labor trafficking. Cuban nationals working
                                                                                      16 unspeciﬁed. Despite court closures and case backlogs due to the
        in Nicaragua may have been forced to work by the Cuban government.
                                                                                      pandemic, the government prosecuted 21 alleged traffickers, including
        Nicaragua is a destination for child sex tourists from the United States,
                                                                                      nine defendants for sex trafficking, seven for forced labor, and ﬁve
        Canada, and Western Europe.
                                                                                      unspeciﬁed. This was an increase compared with investigating 17
                                                                                      suspects in nine cases and prosecutions of 17 alleged traffickers during
                                                                                      the previous reporting period. Courts convicted eight traffickers

         NIGER: TIER 2                                                                (including two for sex trafficking and six unspeciﬁed), compared with
                                                                                      four traffickers in 2020; courts sentenced four convicted traffickers to
                                                                                      sentences between one year and ﬁve years’ imprisonment and had not
        The Government of Niger does not fully meet the minimum standards for         sentenced the remaining four traffickers by the end of the reporting
        the elimination of trafficking but is making signiﬁcant efforts to do so.     period. Despite continued reporting that such practices remained
        The government demonstrated overall increasing efforts compared with          prevalent, the government reported minimal law enforcement action
        the previous reporting period, considering the impact of the COVID-19         to address hereditary slavery practices, including the enslavement of
        pandemic on its anti-trafficking capacity; therefore Niger remained           children, and child forced begging. The government did not report law
        on Tier 2. These efforts included increasing trafficking investigations,      enforcement statistics on investigations, prosecutions, or convictions
        prosecutions, and convictions and implementing the national referral          of traffickers exploiting victims in hereditary slavery, traditional chiefs
        mechanism (NRM). The government referred all identiﬁed victims to             who perpetuated hereditary slavery practices, or corrupt marabouts
        care, including to the government-operated trafficking shelter. However,      (Quranic teachers) who forced children to beg. Officials reported
        the government did not meet the minimum standards in several key              some slavery victims refused to testify against their traffickers due to
        areas. The government reported minimal law enforcement action to              fear of retribution and cultural stigma, which may have impeded law
        address hereditary slavery and child forced begging. The government           enforcement efforts. The government did not report any investigations,
        identiﬁed fewer trafficking victims. Niger’s law did not include penalties    prosecutions, or convictions of government employees complicit in
        for adult sex trafficking commensurate with those for other serious           human trafficking crimes; however, corruption and official complicity
        crimes, such as rape.                                                         in trafficking crimes remained concerns, and may have inhibited law
                                                                                      enforcement action during the year. Some border officials were complicit
                                                                                      in migrant smuggling, which may have included human trafficking
                NIGER TIER RANKING BY YEAR                                            operations. Some law enforcement, prosecutors, and judicial officials
            1                                                                         may have declined to investigate or prosecute hereditary slavery or
            2                                                                         forced begging crimes involving traditional chiefs or marabouts. Media
                                                                                      reported a Nigerien descendent of slavery ﬁled a suit during the reporting
          2WL
                                                                                      period with the ECOWAS Court of Justice on behalf of 260 families
            3                                                                         against the Nigerien government for tolerating slavery and serfdom
                   2015     2016      2017   2018   2019   2020     2021    2022      and for inaction in stopping practices preventing survivors of slavery
                                                                                      and their descendants from owning land; the case remained pending
                                                                                      at the end of the reporting period.

        PRIORITIZED RECOMMENDATIONS:                                                  The government, through the ANLTP/TIM and in collaboration with
        Increase efforts to investigate and prosecute trafficking crimes and          civil society, trained judicial officials, law enforcement, front-line
        sentence convicted traffickers, including individuals who exploit victims     protection workers, consular officials, and other stakeholders on the
        in traditional forms of hereditary slavery and child forced begging, to       2010 anti-trafficking law, proactive victim identiﬁcation and referral, and
        signiﬁcant prison terms. • Train judicial, law enforcement, and front-        investigative procedures. Observers reported increased awareness of
        line officials on the 2010 anti-trafficking law and Article 270 of the        trafficking among law enforcement across Niger’s migration corridor,
        penal code. • Amend the 2010 anti-trafficking law to increase the             including the Maradi, Zinder, and Agadez regions; however, limited
        base penalties for adult sex trafficking so they are commensurate             resources restricted officials’ ability to identify trafficking cases and
        with those for rape or kidnapping. • Disseminate and train officials          effectively monitor the country’s porous border. The government signed
        on the NRM to increase proactive victim identiﬁcation and referral to         a memorandum of understanding with the Government of Nigeria to
        services. • Proactively screen for trafficking indicators among vulnerable    formalize and operationalize law enforcement and intelligence sharing
        populations, including migrants, IDPs, communities historically exploited     of trafficking cases. The two governments, with support from a foreign
        in traditional slavery, children exploited in forced begging, children        donor and international organization, formed a joint technical working
        associated with armed groups, and Cuban overseas workers. • Increase          group to coordinate interventions of transnational trafficking cases.

 416                                                                                                                               Haiti AR_000897
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 522 of 729




                                                                                                                                                               NIGER
PROTECTION                                                                     troops prior to their deployment as peacekeepers. Although not explicitly
The government maintained protection efforts. The government did               reported as human trafficking, there were ﬁve pending cases of alleged
not compile comprehensive victim identiﬁcation statistics. Pandemic-           sexual exploitation with trafficking indicators by Nigerien peacekeepers
related border closures impacted security force and law enforcement            deployed to the UN peacekeeping missions between 2015 to 2018. In two
mobility and consequently reduced their ability to proactively identify        cases, the government had not yet provided the UN the information it
victims. The government identiﬁed 52 trafficking victims, compared with        needed to complete its investigation. The UN substantiated allegations
95 victims identiﬁed the previous reporting period. The government             in three cases, but the government had not reported the accountability
referred all 52 identiﬁed victims to care. An international organization       measures taken, if any, by the end of the reporting period.
identiﬁed and assisted an additional 75 trafficking victims. The same
international organization, with some government support, provided             TRAFFICKING PROFILE
support and reintegration services to thousands of Nigerien and foreign        As reported over the past ﬁve years, human traffickers exploit domestic
national migrants expelled from Libya and Algeria, including potential         and foreign victims in Niger, and traffickers exploit victims from Niger
trafficking victims.                                                           abroad. Hereditary and caste-based slavery practices perpetuated
                                                                               by politically inﬂuential tribal leaders continued. Some Arab, Zjerma,
The government coordinated victim identiﬁcation and protection efforts
                                                                               and Tuareg ethnic groups propagate traditional forms of caste-based
through its NRM, which identiﬁed roles for prosecutors, judges, law
                                                                               servitude in the Tillaberi and Tahoua regions, as well as along the
enforcement, labor inspectors, diplomats, international organizations,
                                                                               border with Nigeria. Slaveholders exploit victims of hereditary slavery in
NGOs, and union actors. The ANLTP/TIM, in collaboration with an
                                                                               animal herding, small-scale agriculture, or domestic servitude; experts
international organization, trained front-line law enforcement and
                                                                               assert victims of hereditary slavery frequently do not self-identify or
protection actors on the NRM and conducted quarterly reviews to
                                                                               ﬁle complaints against the traffickers due to a lack of support services
assess its implementation and areas for improvement. The government
                                                                               and ingrained dependency on the trafficker. Another form of traditional
continued to operate a trafficking-speciﬁc shelter in Zinder; the shelter,
                                                                               bondage known as “passive” slavery consists of powerful community
in coordination with an international organization, provided medical,
                                                                               members preserving complete control of former servants’ individual
psycho-social, and legal services, as well as reintegration and repatriation
                                                                               freedoms. Estimates of the numbers of persons exploited in traditional
assistance, to 114 victims, including victims identiﬁed during the reporting
                                                                               slavery vary widely, but one report estimates it is as high as 800,000. In
period. This included 69 women, 25 men, and 20 children; the majority
                                                                               the Tahoua region, inﬂuential chiefs facilitate the transfer of girls from
of victims were from Nigeria and were exploited in sex trafficking.
                                                                               impoverished families to men as “ﬁfth wives” for ﬁnancial or political
International organizations operated additional shelters and transit
                                                                               gain. This practice—known as wahaya—results in some community
centers, which trafficking victims could access. Foreign and domestic
                                                                               members exploiting girls as young as nine in forced labor and sexual
victims received the same services. Foreign victims who faced hardship
                                                                               servitude; wahayu children are then born into slave castes, perpetuating
or retribution in their country of origin could apply for legal residency,
                                                                               the cycle of slavery. Girls ﬂeeing these forced marriages are vulnerable
including the ability to obtain employment, but authorities did not
                                                                               to traffickers, who exploit them in commercial sex due to a lack of
report granting these protections to victims during the reporting period.
                                                                               support services exacerbated by continued discrimination based on
The government provided pro-bono legal services for victims who                their former status as wahayu.
could not afford legal representation. Access to victim services was
                                                                               Traffickers in Niger predominantly exploit Nigerien children and women,
not conditioned on cooperation with law enforcement proceedings.
                                                                               as well as West and Central African victims, in sex and labor trafficking.
The law allowed victims to obtain restitution, and victims could ﬁle civil
                                                                               Some Quranic teachers (marabouts) exploit boys (talibés) in forced
suits against traffickers; however, there were no reports this occurred
                                                                               labor and begging within Niger and in neighboring countries, at times
during the reporting period. Some victims continued to lack access to
                                                                               with parents facilitating the trafficking. Nigerien women recruit talibés
justice, as many were uninformed about their legal rights; fear of social
                                                                               for domestic labor, often leading to exploitation. Traffickers also exploit
stigma also deterred some victims from seeking punitive action against
                                                                               women and girls in forced begging, including in neighboring countries.
traffickers. Due to a lack of formal victim identiﬁcation procedures,
                                                                               Semi-organized transnational criminal groups exploit children from
authorities may have detained some unidentiﬁed trafficking victims.
                                                                               Niger and neighboring countries in sex trafficking and forced labor in
The government’s 2017 protocol directed authorities to transfer children
                                                                               gold, salt, trona, and gypsum mines; agriculture; forced begging; stone
allegedly associated with armed groups to an international organization
                                                                               quarries; markets; bus stations; and manufacturing within the country.
for care. There were no reports the government detained children for
                                                                               Community members working in the artisanal gold mines in Komabangou,
alleged association with armed groups. The government previously
                                                                               Tillaberi, use boys and some girls in potentially exploitative conditions.
detained 10 children, including three boys detained for 11 months, in 2020;
                                                                               Traffickers exploit girls in sex trafficking near the border with Nigeria
a juvenile judge released the children to an international organization
                                                                               and along the main east-west highway, primarily between the cities of
for care and family reintegration services.
                                                                               Birni n’Konni and Zinder. Traffickers transit Nigerian women through
                                                                               Niger and exploit them in sex trafficking in neighboring countries, and
PREVENTION                                                                     traffickers exploit Nigerian and Nigerien women in sex trafficking in
The government maintained efforts to prevent trafficking. The CNCLTP           northern mining cities and transportation centers in Niger.
continued to serve as the ministerial coordinating task force for the
government’s anti-trafficking efforts, and the ANLTP/TIM was the               Some Nigeriens exploit young girls from impoverished families in
CNCLTP’s implementing body to address trafficking in persons; both             domestic servitude through a system known as conﬁage. This system
convened regularly during the reporting period. In 2021, the government        consists of parents entrusting children to a near relative or a friend of the
increased the budget for the ANLTP/TIM, allocating 32 million West             family with the expectation the child will receive an education. However,
African CFA francs (FCFA) ($55,000), compared with 22 million FCFA             some children are exploited in domestic servitude or sex trafficking.
($37,810) during the previous reporting period, and maintained the             The ANLTP/TIM reported some parents “rent” out their children for the
CNCLTP budget, allocating 12 million FCFA ($20,620) in 2021. The               purposes of forced begging, as guides for vision-impaired individuals, or
CNCLTP drafted a new 2022-2026 anti-trafficking national action plan,          in domestic servitude in a phenomenon called location d’enfant (child
which remained pending adoption by parliament.                                 rental) in the Kantche Department in Zinder. NGO and government
                                                                               entities note that school closures and economic vulnerability resulting
The government held some awareness raising campaigns in collaboration          from instability and the pandemic have increased children’s vulnerability
with civil society and distributed materials in local languages and French.    to recruitment by armed groups. Boko Haram and ISIS-West Africa
The ANLTP/TIM hosted a delegation from the Democratic Republic of              forcibly recruit Nigerien boys to serve as child soldiers. Jama’a Nusrat
the Congo’s Agency for the Prevention and Fight Against Trafficking            ul-Islam wa al-Muslimin (JNIM), a militant jihadist organization, uses
in Persons to share best practices in combating trafficking, including         children in combat and support roles and exploits women and girls as
Niger’s legal and institutional model. The government did not make             young as 13 in forced marriage, sometimes through abduction and for
efforts to reduce the demand for commercial sex acts. The government,          the purpose of exploitation.
with support from a foreign donor, provided anti-trafficking training to

                                                                                                                                 Haiti AR_000898               417
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 523 of 729
NIGERIA   Niger is a transit country for adults and children from West and Central
          Africa migrating through Algeria, Libya, and Morocco to southern                          NIGERIA TIER RANKING BY YEAR
          Europe, where some duplicitous transporters—or passeurs—exploit                       1
          migrants in forced labor or sex trafficking. European support for the                 2
          government’s implementation of its 2015 anti-smuggling law, intended
                                                                                              2WL
          to limit irregular migration through Niger, has forced previously open
          and undocumented migration underground and increased migrants’                        3
                                                                                                       2015     2016      2017     2018   2019   2020    2021    2022
          vulnerability to forced labor or sex trafficking by criminal networks.
          Smugglers use unpaid transportation fees as a form of debt bondage,
          subsequently coercing some migrants who cannot pay into forced
          labor or commercial sex. Illicit labor recruiters facilitate the transport
          of Nigerien women and children to Nigeria, North Africa, the Middle
                                                                                            PRIORITIZED RECOMMENDATIONS:
                                                                                            Hold complicit officials as well as individuals affiliated with the
          East, and Europe where traffickers then exploit victims in sex trafficking
                                                                                            government—including security officials and CJTF members—criminally
          or forced labor in domestic service and the agricultural sector. Some
                                                                                            accountable for trafficking offenses, including for the sex trafficking
          border officials are complicit in smuggling, which may include trafficking
                                                                                            of IDPs and past unlawful recruitment and use of child soldiers. •
          operations. In one NGO survey of smugglers operating in Niger, almost
                                                                                            Enhance coordination between National Agency for the Prohibition of
          70 percent reported having contact with state officials to facilitate
                                                                                            Trafficking in Persons (NAPTIP) and Nigeria Police Force (NPF) on law
          smuggling, including obtaining documents and receiving information
                                                                                            enforcement efforts—including investigating illicit centers exploiting
          on patrols. In the past, media noted some law enforcement and border
                                                                                            women in forced surrogacy—and prosecute suspects while respecting
          officials reportedly accepted bribes from traffickers to facilitate the
                                                                                            the rights of the accused. • Finalize the draft protocol to refer children
          transportation of victims through the country.
                                                                                            identiﬁed in armed conﬂict to civilian authorities, screen for trafficking
          Sustained mass expulsions from Libya and Algeria increased migrants’              among those detained, and provide appropriate care for all those
          vulnerability to trafficking. In 2021, Algeria expelled more than 25,000          identiﬁed as victims. • Strengthen efforts to identify trafficking victims
          refugees and migrants, including Nigerien and foreign nationals, to Niger.        among vulnerable groups, such as children in religious schools, IDPs,
          Nigeriens comprise more than 20 percent of international migrants in              returning migrants, and children in domestic service. • Increase public
          Libya, where there are widespread reports of officials subjecting detained        awareness programming to educate more of the population on human
          migrants to violence and abuse, including trafficking. Impoverished               trafficking indicators. • Expand shelter capacity for identiﬁed victims
          seasonal migrants, commonly from the Zinder region, traveling to Algeria          in coordination with other government entities, civil society, NGOs,
          for work remain vulnerable to forced labor and sexual exploitation.               international organizations, and the private sector. • Increase efforts to
          Criminal groups consisting of Algerians and Nigeriens force some                  investigate, prosecute, and convict traffickers—including labor traffickers
          Nigerien children to beg in Algeria.                                              and those who force children to beg—and impose sufficiently stringent
          Observers report poverty and lack of economic opportunity, exacerbated            sentences involving imprisonment. • Work with CJTF and the UN to
          by climate change’s effect on agricultural production and animal                  fully implement the child soldier action plan and conﬁrm all children
          husbandry, are primary driving factors of human trafficking. During the           have been removed from the CJTF’s ranks. • Facilitate training for local,
          previous reporting period, pandemic-related border closures resulted              state, and federal judges on the 2015 law, speciﬁcally the provision
          in an estimated 25,000 migrants stranded throughout Burkina Faso,                 prohibiting the issuance of ﬁnes in lieu of imprisonment in collaboration
          Mali, and Niger without access to economic or social support services,            with international partners.
          which increased their vulnerability to trafficking. Additionally, experts
          shared anecdotal reports of an increase in unaccompanied children in              PROSECUTION
          Agadez during the previous reporting period due to pandemic-related               The government maintained law enforcement efforts. The Trafficking
          travel restrictions. Cuban nationals working in Niger on medical missions         in Persons Law Enforcement and Administration Act (TIPLEAA), as
          may have been forced to work by the Cuban government.                             amended in 2015, criminalized sex trafficking and labor trafficking and
                                                                                            prescribed a minimum penalty of two years’ imprisonment and a ﬁne of
                                                                                            250,000 naira ($617) for both sex and labor trafficking; the minimum
                                                                                            penalty for sex trafficking involving a child was seven years’ imprisonment
           NIGERIA: TIER 2                                                                  and a ﬁne of 1 million naira ($2,470). These penalties were sufficiently
                                                                                            stringent and, with regard to sex trafficking, commensurate with those
                                                                                            prescribed for other serious crimes, such as kidnapping.
          The Government of Nigeria does not fully meet the minimum standards
                                                                                            The government initiated investigations into 852 cases, including 323
          for the elimination of trafficking but is making signiﬁcant efforts to do
                                                                                            sex trafficking cases, 168 labor trafficking cases, and 361 unspeciﬁed
          so. The government demonstrated overall increasing efforts compared
                                                                                            cases. The government continued investigating 663 cases initiated in
          to the previous reporting period, considering the impact of the COVID-19
                                                                                            previous reporting periods, including 416 sex trafficking cases and 247
          pandemic on its anti-trafficking capacity; therefore Nigeria remained on
                                                                                            labor trafficking cases. This compared with initiating investigations
          Tier 2. These efforts included investigating more traffickers, including two
                                                                                            into 381 cases and continuing investigations into 452 cases during the
          members of the Civilian Joint Task Force (CJTF) involved in alleged sex
                                                                                            previous reporting period. The government initiated prosecutions in 30
          trafficking; investigating officials allegedly complicit in trafficking crimes;
                                                                                            cases, including 14 for sex trafficking, three for labor trafficking, and 13
          identifying and providing more services to victims; and developing and
                                                                                            unspeciﬁed cases. The government continued prosecution from previous
          implementing a rapid assessment form to identify trafficking victims.             reporting periods of an additional 64 cases, for a total of 94 prosecuted
          However, the government did not meet the minimum standards in several             during the reporting period, and 30 of the cases were prosecuted under
          key areas. The government has not prosecuted any members of the                   the 2015 Trafficking Law. This compared with prosecuting 49 suspects
          CJTF for prior child soldier recruitment or use, potential sex trafficking in     the previous reporting period. The government secured 13 convictions,
          government-run IDP camps remained a concern, and officials removed                seven for sex trafficking and six unspeciﬁed, compared with convicting
          fewer children from conditions of forced labor. Further, corruption               36 individuals the previous reporting period. Eleven of this year’s
          remained a signiﬁcant concern in the judiciary as well as immigration             convictions were secured under the 2015 Trafficking Law and two under
          services, and the Ministry of Defense did not ﬁnalize its handover                the 2015 Violence Against Persons Prohibition Act. The government
          protocol to refer child soldiers to care for the seventh consecutive year.        did not report comprehensive sentencing data, but according to media
                                                                                            reports, sentences for seven of the cases ranged from four to 14 years.
                                                                                            Government data may have included crimes outside the international
                                                                                            deﬁnition of trafficking.



 418                                                                                                                                       Haiti AR_000899
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 524 of 729




                                                                                                                                                                   NIGERIA
Corruption and official complicity in trafficking crimes remained                with providing services to 434 victims and 321 potential victims during
signiﬁcant concerns, inhibiting law enforcement action during the year.          the previous reporting period.
The government reported investigating four officials for involvement in
                                                                                 NAPTIP, in partnership with an international organization, developed
trafficking crimes—a member of the Correctional Service, one member
                                                                                 and implemented a rapid assessment form to help NAPTIP officers
of the Immigration Service, and two members of the CJTF. The members
                                                                                 identify trafficking victims and refer them to appropriate services. The
of the CJTF were both investigated for sex trafficking of IDPs. The
                                                                                 government’s existing national referral mechanism provided formal
government reported one case initiated against a government official
                                                                                 guidelines for law enforcement, immigration officials, and service
during the previous reporting period was adjourned and the other
                                                                                 providers. The government worked in partnership with the Network
was dropped after the complainant withdrew the charges. Pandemic-
                                                                                 of Civil Society Organisations Against Child Trafficking, Abuse and
related court closures and a judiciary strike limited overall judicial
                                                                                 Labour (NACTAL) to ensure appropriate referral of victims. Observers
activity. Local judges did not have the same standardized training
                                                                                 reported victim identiﬁcation and referral to services remained a gap in
requirements as federal and state judges, which contributed to corruption
                                                                                 the government’s efforts.
and misapplication of the law. Some judges were unfamiliar with the
anti-trafficking law, which hindered the government’s ability to hold            NAPTIP’s 10 zonal commands, including the Abuja headquarters, each
traffickers accountable.                                                         operated a victim shelter during the reporting period, for a total of 10
                                                                                 shelters for trafficking victims with a total capacity of 334. A new shelter
The UN delisted the government-supported CJTF as an armed group
                                                                                 building with a proposed capacity of 96 individuals is currently being
using and recruiting child soldiers, citing a “signiﬁcant decrease” in child
                                                                                 renovated. NAPTIP shelters offered six weeks of initial care, although
soldier recruitment. In cooperation with an international organization, the
                                                                                 officials often allowed victims to stay longer if they desired to do so; access
CJTF established child protection units in its forces. Despite numerous
                                                                                 to the shelters was not based on victims’ cooperation with law enforcement.
allegations, the government has not reported investigating any CJTF
                                                                                 The government provided access to legal, medical, and psychological
members for child soldiering recruitment or use. The government did
                                                                                 services, as well as vocational training, ﬁnancial empowerment, family
not report prosecuting or convicting any suspects for sex trafficking of
                                                                                 reuniﬁcation, and business management skills to victims while in
IDPs, though as noted above the government initiated investigations of
                                                                                 government shelters. If there was not space in NAPTIP shelters, agency
two CJTF members for such crimes. Terrorist and other illegal armed
                                                                                 officials referred the victim to NGOs for care. Nigerian trafficking victims
group activity hindered law enforcement and judicial officials’ actions,
                                                                                 exploited abroad were able to stay in shelters upon repatriation. NAPTIP
especially in the Northeast and Borno State. Community defense groups
                                                                                 had agreements with certain hospitals and clinics to provide additional
played a substantial role in judicial service delivery and dispute resolution.
                                                                                 medical and psychological treatment for victims, as needed. Additional
The Nigerian army trained members of the military on sexual exploitation,        government and NGO shelters provided services, including long-term
human rights, and disarmament and demobilization. The government                 shelter, to vulnerable children and victims of crime, including trafficking;
trained justice officials on justice access issues for women and girls with      authorities sometimes assigned child trafficking victims to foster homes
disabilities, a group at risk of trafficking. The government also cooperated     or orphanages for care. Foreign victims had the same access to services
with a local NGO to train civil society on trafficking issues. In partnership    as domestic victims. In a previous reporting period, an NGO reported
with international organizations, the government trained NAPTIP officials,       some trafficking victims were held at shelters against their will and that
law enforcement, prosecutors, judicial actors, immigration officials, and        some private shelters had substandard conditions.
civil society on topics including drafting international anti-trafficking
                                                                                 NAPTIP continued to partner with an international organization and a
MOUs, shelter standards, identifying trafficking victims, and conducting
                                                                                 foreign donor to implement a screening and sensitization campaign to
victim-centered investigations. NAPTIP’s Judicial Research Center in
                                                                                 identify sex trafficking victims in IDP camps. NAPTIP reached an unreported
Abuja provided NAPTIP officers access to resources to strengthen
                                                                                 number of camps in the Kano area with screening, sensitization, or both.
trafficking cases and enhance prosecution efforts.
                                                                                 Additionally, NAPTIP officials reported coordinating with the Ministry
The Nigerian-United Kingdom Joint Border Task Force (JBTF) carried               of Defense’s zonal commanders on protection issues pertaining to IDP
out several international counter-trafficking operations focused on              camps by funding social workers, raising awareness of the crime among
disrupting, identifying, apprehending, and prosecuting members of                camp residents, and identifying victims.
organized crime groups within Nigeria and abroad. NAPTIP collaborated
                                                                                 The anti-trafficking law prohibited the penalization of trafficking victims
with German, Spanish, and Italian authorities on several trafficking
                                                                                 for unlawful acts traffickers, including armed groups, compelled them
cases, including by responding to Mutual Legal Assistance Requests.
                                                                                 to commit. However, due to a lack of consistent screening, authorities
In addition, NAPTIP collaborated with the Indian government to arrest
                                                                                 may have detained, arrested, and deported some unidentiﬁed trafficking
a Nigerian sex trafficker in India and repatriate the victims, who were
                                                                                 victims. Reports from past reporting years alleged the government
also Nigerian. The government signed Memoranda of Understanding on
                                                                                 arrested and, in some cases, inappropriately detained for prolonged
counter-trafficking issues with the governments of Burkina Faso, Cote
                                                                                 periods—reportedly for a security screening and perceived intelligence
d’Ivoire, and Niger. The government also created a counter-trafficking
                                                                                 value—women and children removed from or allegedly associated with
Joint Technical Working Group with the government of Niger, which
                                                                                 Boko Haram and ISIS-WA, including women and girls who insurgents
met several times.
                                                                                 had forcibly married or sexually enslaved.
PROTECTION                                                                       The military released 294 children from detention between March 2021
The government increased efforts to identify victims, although services          and September 2021. For the seventh consecutive year, the government
for many victims remained insufficient. The government identiﬁed                 did not officially adopt the handover protocol to refer children identiﬁed
935 trafficking victims, including 521 sex trafficking victims, 129 labor        in armed conﬂicts to civilian care providers. After release from detention,
trafficking victims, and 285 victims of unspeciﬁed exploitation, compared        the military generally referred women and children classiﬁed through a
with identifying 499 victims and 812 potential victims the previous              security screening process as “low risk” or “inactive” in the conﬂict to
reporting period. Of the 521 sex trafficking victims, 158 were children, all     a government-run rehabilitation center. Previous reports noted some
girls, and the rest were women. Of the 129 labor trafficking victims, 26         trafficking victims—including women and children whom non-state armed
were men, 37 were women, 11 were boys, and 55 were girls. The victims            groups forced to be combatants or exploited in sexual slavery—likely
of unspeciﬁed exploitation included four men, 29 women, 71 boys, and             remained in detention and subject to criminal prosecution for unlawful acts
181 girls. NGOs identiﬁed an additional 52 trafficking victims, of which         traffickers compelled them to commit. The government collaborated with
43 were sex trafficking victims, including eight girls; six labor trafficking    donors to continue the “Operation Safe Corridor” de-radicalization and
victims, including four girls; and three victims of unspeciﬁed exploitation,     rehabilitation program for combatants formerly associated with terrorist
all children. The government and government-supported NGOs provided              organizations. Due to poor screening procedures, noncombatants, who
services to 987 individuals, including 564 sex trafficking victims, including    may have included trafficking victims, ﬂeeing the conﬂict were wrongly
172 children; 135 labor trafficking victims, including 70 children; and 288      labeled militants and detained. Previous reports alleged there were
victims of unspeciﬁed exploitation, including 255 children. This compared        serious abuse and poor conditions in the program’s detention centers.

                                                                                                                                     Haiti AR_000900               419
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 525 of 729
NIGERIA   The government encouraged victims to assist in the investigation and             past sensitization programs at transportation hubs. The government
          prosecution of trafficking cases by providing security to victims; the           regulated private employment agencies and had a licensing requirement
          government did not report how many victims assisted in investigations            for labor recruiters; the government did not report revoking any licenses
          and prosecutions during the reporting period. In response to the pandemic,       for exploitative recruitment practices during the reporting period. The
          courts sometimes used video to collect testimony and allow witnesses             government prohibited worker-paid recruitment fees. Despite allegations
          in other jurisdictions to give evidence in criminal trials. NAPTIP, in           in prior years that Nigerians traveled to Togo for child sex tourism, the
          collaboration with an international organization, the Ministry of Justice,       government did not report efforts to address this crime. The government
          and NGOs, ran legal hubs in Edo, Delta, and Lagos states, with the aim           did not report efforts to reduce the demand for commercial sex.
          of enhancing victims’ access to justice through legal aid counseling and
                                                                                           The government ran a trafficking-speciﬁc hotline, which was available
          representation in court. Several Nigerian embassies, particularly within
                                                                                           nationwide. The government hotline received 618 calls, 172 of which had a
          West Africa, provided funding or in-kind support to repatriate Nigerian
                                                                                           trafficking nexus. This compared with receiving 12,000 calls and identifying
          trafficking victims exploited abroad.
                                                                                           145 potential victims the previous reporting period. The government did
          The government did not have a formal policy to prevent the removal of            not report whether any of the calls led to trafficking investigations. In
          victims to countries where they would face hardship or retribution. It           addition, NGO members of NACTAL took reports of trafficking, but no
          could grant temporary residence visas to a trafficking victim who had            statistics were available.
          a pending criminal, civil, or other legal action; the government did not
                                                                                           The government provided anti-trafficking training to its troops prior to
          report any foreign victims requested this relief. In a previous reporting
                                                                                           their deployment as peacekeepers. The government demoted and jailed
          period, observers reported the government forcibly returned some
                                                                                           an officer deployed on a peacekeeping mission in 2019 against whom
          Nigerian refugees from Cameroon.
                                                                                           there were substantiated charges of sexual exploitation with trafficking
          The victims’ trust fund, ﬁnanced primarily through conﬁscated assets of          indicators. Government action in a similar case involving an officer in 2017
          convicted traffickers, was available to all victims, but the government          remained pending. The government provided pre-departure training to
          did not allocate any funds from the trust fund to victims during the             ambassadors, chiefs of mission, and deputy chiefs of mission on human
          reporting period. The anti-trafficking law provided for victim restitution.      trafficking principles.
          The government reported its courts had awarded restitution but did not
          provide details. Victims could also ﬁle civil suits against their traffickers.   TRAFFICKING PROFILE
                                                                                           As reported over the past ﬁve years, human traffickers exploit domestic
          PREVENTION                                                                       and foreign victims in Nigeria, and traffickers exploit victims from Nigeria
          The government maintained efforts to prevent human trafficking. NAPTIP           abroad. Internal trafficking is prevalent with Nigerian perpetrators
          continued to lead the federal government’s efforts to combat trafficking,        recruiting victims from rural areas, especially the country’s southern
          although officials from the ministries of Defense, Justice, Foreign Affairs,     regions, for exploitation in commercial sex and forced labor in domestic
          Labor and Productivity, and Women Affairs and Social Development                 work in cities such as Aboekuta, Calabar, Ibadan, Kaduna, Kano, Lagos,
          all had responsibilities in supporting the country’s response to human           and Port Harcourt. Traffickers exploit victims in sex trafficking, as well as
          trafficking. Numerous changes in NAPTIP leadership hindered the agency’s         in forced and bonded labor in street vending, domestic service, artisanal
          effectiveness, but following the September appointment of the most               mining, stone quarrying, agriculture, textile manufacturing, begging, and
          recent director, the agency’s efficacy improved. NAPTIP did not have             in the tie-dye sector in the northwest and southwest of the country. Those
          resources to carry out sufficient proactive anti-trafficking operations in       most vulnerable to trafficking include people from rural communities,
          much of the country, and the agency’s officers remained concentrated             IDPs, irregular migrants, those working in the informal economy, and
          in state capitals, hindering identiﬁcation and investigation of trafficking      those with disabilities. Extreme poverty, lack of economic opportunity,
          in many rural areas.                                                             corruption, insecurity throughout the country, as well as climate change-
                                                                                           related pressure to migrate increase Nigerians’ vulnerability to trafficking.
          NAPTIP ﬁnalized, and the Federal Executive Council approved, the National
                                                                                           Highly-organized criminal groups, sometimes linked to Nigerian cult
          Action Plan 2022-2026. NAPTIP inaugurated and trained four new state
                                                                                           organizations or confraternities, are responsible for most trafficking for
          task forces and conducted coordination meetings with existing state task
                                                                                           sexual exploitation to Europe. Criminal elements recruit foreigners for
          forces in the north central and southwest regions of the country. Inadequate
                                                                                           labor trafficking within the country.
          information management technology—including basic infrastructure
          such as computers and internet services, especially in zonal commands            There are reports that teachers in Quranic schools coerce students to
          outside Abuja—hindered data collection, dissemination, and research;             beg and sometimes subject them to sexual slavery. In the latest available
          many offices continued to use paper-based systems for case management.           estimate from 2010, the government estimated as many as 9.5 million
                                                                                           boys, often from impoverished homes, were studying in Quranic schools.
          NAPTIP conducted awareness raising campaigns in border communities,
                                                                                           Observers report worsening poverty related to the pandemic’s economic
          with a focus on communities bordering Niger, in addition to continuing
                                                                                           impacts may increase the enrollment of these schools, as well as the
          its awareness-raising campaigns in schools and religious organizations.
                                                                                           risks of exploitation of the children by teachers, businesses, and local
          NAPTIP also began a monthly social media program to discuss trafficking
                                                                                           community members seeking labor.
          topics with targeted audiences, produced an anti-trafficking television
          program, and, in coordination with an international organization, continued      Illicit actors operate “baby factories,” which the government and NGOs
          a community awareness-raising campaign. Awareness campaigns were                 describe as a widespread criminal industry in the country most prevalent
          conducted in all three major Nigerian languages and used print, electronic,      in the south. Experts state the phenomenon is driven by poverty and a
          and social media. The government had all campaign materials reviewed             lack of opportunity for young girls as well as the demands of the illegal
          by trafficking experts.                                                          adoption market and cultural pressure for large families in Nigeria.
                                                                                           Recruiters operating out of unregulated clinics work with enforcers
          The Ministry of Labor and Employment (MLE) conducted 10,526 labor
                                                                                           to control the women through childbirth. The traffickers then sell the
          inspections, found 3,234 violations of child labor laws, and removed
                                                                                           children, sometimes with the intent to exploit them in forced labor and sex
          1,193 children from potential trafficking conditions; this compared with
                                                                                           trafficking. In southern Nigeria, especially Lagos, some women drug and
          conducting 9,877 inspections and removing 2,996 children from potential
                                                                                           “rent” their infants out to street beggars to increase the beggars’ proﬁts.
          trafficking conditions during the previous reporting period. Of the children
          removed from trafficking conditions, the government referred 120 to social       Traffickers exploit children in forced labor, including in granite quarries
          services. The government trained labor inspectors on child trafficking.          and artisanal mines, construction, agriculture, transportation, street
          The government reported labor inspectors were required to work from              hawking and begging, and domestic service. Observers in previous
          home due to the pandemic, severely limiting their ability to conduct             reporting periods stated agricultural ﬁrms in rural Nigeria force Togolese
          inspections in informal work settings where child and forced labor is            to work in palm wine production in rural Nigeria. Nigeria’s ports and
          predominant. International observers reported the government deployed            waterways around Calabar remain transit points for West African children
          130 officers to airports throughout the country during the reporting period      subjected to forced labor in Cameroon, Equatorial Guinea, and Gabon.
          to assist with screening for trafficking indicators, building on NAPTIP’s        During a previous reporting period, NGO and media sources reported
 420                                                                                                                                     Haiti AR_000901
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 526 of 729




                                                                                                                                                                NORTH MACEDONIA
Nigerian traffickers compelled Cameroonian child refugees, displaced             Boko Haram and ISIS-WA continued their practice of forcibly recruiting,
by Cameroon’s Anglophone crisis and staying in camps in Nigeria, to              abducting, and using child soldiers as young as 12 years of age as cooks,
work in forced labor in domestic service and, in some cases, into sex            spies, messengers, bodyguards, armed combatants, as well as suicide
trafficking; there were allegations some parents were involved in selling        bombers in attacks in Nigeria, Cameroon, and Chad. The groups continue
their children.                                                                  to abduct women and girls in the northern region of Nigeria, some of
                                                                                 whom they subject to domestic servitude, sexual slavery, and forced labor.
Authorities identiﬁed Nigerian trafficking victims—often exploited by
                                                                                 Boko Haram routinely forces girls to choose between forced marriages
Nigerian traffickers—in countries in Africa, Europe, and the Middle
                                                                                 for the purpose of sexual slavery to its ﬁghters and becoming suicide
East during the reporting period. Criminal groups and brothel owners
                                                                                 bombers, with the terrorist organization frequently using drugs to control
exploit Nigerian women and girls in sex trafficking within Nigeria and
                                                                                 victims’ behavior. An NGO reported in prior reporting periods children
throughout Europe, including in France, Italy, Spain, and Austria. Traffickers
                                                                                 detained for association with armed groups in Maiduguri Maximum
commonly send victims to Italy, Spain, and the United Kingdom for
                                                                                 Security Prison in Borno state were conﬁned with adult inmates who
sexual exploitation. According to reports, 80 percent of women in Spain’s
                                                                                 allegedly exploited the children in commercial sex rings in the prison.
unlicensed brothels are victims of sex trafficking, with Nigerians forming
a large percentage of that population. While some sex trafficking victims        The Nigerian military coordinated some operations with the CJTF to
arrive in Europe believing they will be in commercial sex, traffickers           combat Boko Haram and ISIS-WA in northeastern Nigeria. Worsening
coerce them to stay in commercial sex by altering working conditions             insecurity in northeast Nigeria, as well as pandemic-related movement
and increasing victims’ travel debts. Traffickers often threaten victims’        restrictions, prevented observers from accessing many areas in Borno
families in Nigeria to maintain control; illicit recruiters generally target     State and other regions of concern to investigate allegations of child
women and girls from impoverished families and require them to take a            soldier recruitment or use. During the previous reporting period, an NGO
loyalty oath to their traffickers. Some victims’ parents encourage them          alleged soldiers in Giwa Barracks sexually exploited female detainees.
to obey their traffickers and endure exploitation to earn money.                 Despite authorities releasing some individuals from detention, the
                                                                                 government continued to detain children as young as ﬁve years old whom
Trafficking victims originate from throughout Nigeria, with Edo, Delta,
                                                                                 authorities suspected of being associated with Boko Haram or ISIS-WA.
Kano, Abia, Ebonyi, Imo, and Kogi among the most common origin
states. During a previous reporting period, an international organization
noted cases of labor trafficking involving domestic workers to Turkey,
the Middle East, and Gulf States increased. Reports of men coerced
into sexual exploitation and drug running to Europe also increased.               NORTH MACEDONIA: TIER 2
In a previous reporting period, an international organization reported
traffickers recruited women and girls from IDP camps in Northeast                The Government of North Macedonia does not fully meet the minimum
Nigeria for ostensibly legitimate jobs in Europe but exploited them in           standards for the elimination of trafficking but is making signiﬁcant
commercial sex in North Africa, the Persian Gulf, and Europe. Experts            efforts to do so. The government demonstrated overall increasing efforts
stated traffickers recruit victims directly from asylum or migrant reception     compared with the previous reporting period, considering the impact of
centers in Italy and elsewhere in Europe.                                        the COVID-19 pandemic on its anti-trafficking capacity; therefore North
Before departure for work abroad, or upon arrival in Europe, many                Macedonia remained on Tier 2. These efforts included prosecuting more
Nigerian women participate in a traditional ceremony with a juju priest;         defendants and implementing victim-centered approaches to reduce re-
some traffickers exploit this tradition and tell the women they must obey        traumatization for child victims. The government identiﬁed signiﬁcantly
their traffickers or a curse will harm them, which prevents victims from         more victims and increased overall prevention efforts, such as adopting
seeking assistance or cooperating with law enforcement. Although the             the 2021-2025 National Strategy and National Action Plan (NAP) and
Oba of Benin—the religious leader of Benin City—revoked all previously           soliciting feedback and recommendations from trafficking survivors on
administered juju spells and publicly renounced sex traffickers in 2018,         the NAP and other anti-trafficking efforts. However, the government did
reports continued to note traffickers performed the juju ceremonies in           not meet the minimum standards in several key areas. The government
neighboring states, such as Delta.                                               convicted fewer traffickers, and police continued to lack adequate
                                                                                 funding and equipment to conduct proactive investigations. Similarly,
Traffickers transport women and children to other West and Central
                                                                                 the Organized Crime and Corruption Prosecution Office (OCCPO) did not
African countries—including Cabo Verde, Cote d’Ivoire, Mali, and Senegal—
                                                                                 have sufficient resources, including staff and a digital case management
as well as to South Africa, where they exploit them in forced labor and
                                                                                 system, to handle all cases under its jurisdiction. While the government
sex trafficking; experts report mixed migration networks were well
organized and involved in both smuggling and trafficking operations.             reactivated mobile teams, which identify most potential victims each year,
Traffickers also exploit irregular migrants in forced labor and sexual           it did not allocate funding to the mobile teams despite promising to do
exploitation at multiple stages of their journey through Northern Africa         so. Local police and some border agents did not consistently screen for
to Europe. Libyan and Nigerian illicit actors exploit Nigerians in Libya         indicators of trafficking and, as a result, authorities likely deported some
in forced labor in construction and agriculture and in commercial sex in         unidentiﬁed trafficking victims without referral to appropriate services
Benghazi, Misrata, Sabha, and Tripoli; traffickers keep victims in “control      or safeguards to prevent re-trafficking.
houses” or “prostitution camps” near Tripoli or Misrata until they can
repay travel debts.                                                                      NORTH MACEDONIA TIER RANKING BY YEAR
There are approximately three million IDPs in the country and more                   1
than 337,000 Nigerian refugees in other countries; many of these IDPs                2
and refugees are vulnerable to traffickers due to their limited access to
                                                                                   2WL
economic opportunity and formal justice. Increasing violence stemming
from expanding terrorist threats exacerbated the vulnerability of many               3
                                                                                            2015     2016     2017     2018     2019    2020   2021   2022
IDPs and limited the government’s ability to respond to the trafficking
threat throughout much of the north. Reports indicate other IDPs, aid
workers, government officials, and security forces have committed
sexual exploitation—including sex trafficking—in government-run                  PRIORITIZED RECOMMENDATIONS:
IDP camps, informal camps, and local communities, including around               Vigorously investigate, prosecute, and convict traffickers, including
Maiduguri, the Borno State capital. Additionally, there were reports             complicit officials, and seek adequate penalties with signiﬁcant prison
from previous reporting periods traffickers exploited IDPs moving to             terms. • Allocate sufficient resources to the police and prosecutors
cities such as Gombe and Kano and to neighboring countries such as               to proactively investigate trafficking. • Allocate sufficient resources
Niger in forced labor.                                                           for victim protection, including to the mobile identiﬁcation teams,
                                                                                 to the shelter for trafficking victims, and in support of specialized
                                                                                 services for adult male victims. • Increase proactive identiﬁcation
                                                                                                                                       Haiti AR_000902          421
                      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 527 of 729
NORTH MACEDONIA   efforts for trafficking victims and consistently screen for trafficking       Taiwan and one from Russia. The Ministry of Labor and Social Policy
                  among individuals in commercial sex, irregular migrants, refugees,            (MLSP) maintained mobile teams composed of social workers, law
                  and other at-risk populations. • Train ﬁrst responders on standard            enforcement officers, NGO staff, and psychologists in ﬁve regions
                  operating procedures (SOPs) for identifying and referring victims and         to detect and identify vulnerable populations, including trafficking
                  consistently include social workers in all potential trafficking cases. •     victims. In August 2021, the government reactivated the mobile teams
                  Fully implement written guidance to prevent penalization of trafficking       after allocating the teams’ resources to pandemic response efforts
                  victims for crimes their traffickers compelled them to commit. •              in 2020. From August 2021 to January 2022, mobile teams assisted
                  Provide accommodation to potential foreign trafficking victims in             260 vulnerable people (362 children who were homeless or used
                  safe and appropriate settings and allow victims to leave shelters at          the streets as a source of livelihood in 2020), including 68 potential
                  will. • Establish access to alternative housing to accommodate victims        trafficking victims (six potential victims in 2020). Mobile teams
                  when the shelter is full. • Institutionalize advanced training for judges,    identiﬁed the majority of potential victims every year, and experts
                  prosecutors, and law enforcement on trafficking investigations and            viewed the teams as a best practice in proactive identiﬁcation and
                  prosecutions. • Improve victim compensation mechanisms for victims,           cooperation between civil society and government; however, the
                  including by adopting a speciﬁc law and informing victims of their            government did not dedicate speciﬁc funding to the mobile teams
                  right to seek compensation.                                                   causing the sustainability of the mobile teams to remain in doubt.
                                                                                                MLSP continued to dispatch social workers to screen vulnerable
                  PROSECUTION                                                                   populations at border crossings and transit centers, and MLSP social
                  The government decreased law enforcement efforts. Articles 418(a) and         workers and police continued to identify potential forced labor victims
                  (d) of the criminal code criminalized sex trafficking and labor trafficking   among predominately Romani children engaged in begging and street
                  and prescribed a minimum penalty of four years’ imprisonment,                 vending. Police, in cooperation with labor inspectors, conducted 32
                  which was sufficiently stringent and, with regard to sex trafficking,         inspections and identiﬁed two trafficking victims and one potential
                  commensurate with those for serious crimes, such as rape. The                 victim. Government and civil society actors continued to raise concerns
                  government investigated one case with three suspects, compared                that some government agencies lacked coordination mechanisms to
                  with six cases with 13 suspects in 2020. The government prosecuted            ensure proactive identiﬁcation efforts. For example, local police did not
                  two defendants in two cases for child sex trafficking, compared with          consistently screen for indicators during raids in casinos, nightclubs,
                  none in 2020. Courts convicted one trafficker in absentia for child           and bars. Similarly, some border agents did not consistently screen
                  sex trafficking and forced labor, a signiﬁcant decrease compared with         for trafficking indicators at border crossings, and reports continued to
                  nine traffickers convicted for child sex trafficking and two for child        document some police abuse of migrants and authorities conducting
                  sex trafficking and forced labor. The judge sentenced the trafficker          illegal pushbacks to Greece. The government maintained SOPs for the
                  to 12 years’ imprisonment, compared with judges issuing sentences             identiﬁcation and referral of victims, and the Office of the National
                  between four and seven years’ imprisonment to 11 traffickers in               Referral Mechanism (NRM) within MLSP remained responsible for
                  2020. Appellate courts upheld two convictions and overturned one              coordinating the identiﬁcation and referral procedures. First responders
                  conviction, compared with upholding three convictions in 2020.                referred potential victims to the Anti-Trafficking Unit and/or the
                  Authorities operated with limited capacity due to the pandemic,               NRM, which had authority to officially identify victims. NRM officials
                  including infections and quarantine procedures causing personnel              and social workers participated in interviews with potential victims,
                  shortages.                                                                    but law enforcement did not consistently include NRM officials and
                  The Combatting Trafficking in Human Beings and Migrant Smuggling              social workers at the outset of identifying potential trafficking cases.
                  Unit’s Anti-Trafficking Task Force (task force) within the Ministry of        The government allocated 1.2 million denars ($22,180) to the MOI
                  Interior (MOI) led specialized investigations. OCCPO prosecuted               for protection and security of trafficking victims, particularly those
                  trafficking cases and, in previous years, reported a lack of adequate         staying at the shelter for trafficking victims, a decrease compared
                  personnel and delayed cases, but the government increased the                 with 1.76 million denars ($32,390) in 2020. However, in 2021 the
                  number of prosecutors from 10 to 13 to handle all cases under its             government also allocated 480,000 denars (8,850) to MLSP for
                  jurisdiction. Despite not having a speciﬁcally earmarked budget,              social services, NGO activities, mobile teams, and other types of
                  the task force conducted proactive investigations but continued to            victim protection efforts—funds the government previously diverted
                  report a lack of adequate personnel. Prosecutors did not routinely            in 2020 to pandemic response efforts. The government also provided
                  grant specialized investigative measures, such as wiretapping,                465,984 denars ($8,590) for direct victim assistance at the shelter
                  for trafficking investigations. As a result, authorities relied almost        for trafficking victims, compared with 810,000 denars ($14,940) in
                  exclusively on victim testimony with little corroborating evidence.           2020; however, this covered only a small percentage of the shelter’s
                  Local police officers lacked an understanding of trafficking and did          operating expenses, and the shelter relied heavily on funding from
                  not consistently notify the task force of potential trafficking cases,        the international community to continue operations. The government
                  and observers reported cases languished or were mishandled due                and NGOs provided potential and officially recognized victims with
                  to the absence of a digital case management system to transfer                protection and assistance, including food, clothing, medical assistance,
                  trafficking cases between different police and prosecutors’ offices.          psycho-social support, legal assistance, and reintegration services. In
                  The government, with technical and ﬁnancial support from donors,              2021, 10 official and potential victims received support (14 in 2020),
                  international organizations, and NGOs, trained judges, prosecutors,           including medical assistance for three victims with COVID-19. MLSP
                  and officers in the task force on various anti-trafficking issues. The        assigned a guardian from a social welfare center to victims while they
                  government started joint investigations with Greek and Serbian                were at the shelter, and MLSP-run social service centers maintained
                  authorities and cooperated with an INTERPOL investigation. The                one social worker at each of the 30 centers that offer assistance to
                  government charged a civil servant with complicity in trafficking in          trafficking victims, including psycho-social support, reintegration
                  2017 and a municipal inspector for trafficking in 2016; the OCCPO             assistance, education, and job placement; social service centers
                  reported that both individuals were standing trial before the Skopje          helped ﬁve victims enroll into school and assisted ﬁve families of
                  Criminal Court. The government did not report any new investigations,         victims with food and hygiene. The government did not provide
                  prosecutions, or convictions of government employees complicit in             specialized assistance for adult male victims. The government donated
                  human trafficking crimes.                                                     personal protective equipment and disinfectants to the shelter and
                                                                                                accommodated victims in temporary housing while awaiting COVID-19
                  PROTECTION                                                                    test results. The shelter for trafficking victims accommodated female
                  The government increased victim protection efforts. The government            and child victims with the capacity to house six victims, but the
                  identiﬁed 48 victims, compared with seven victims in 2020; 40 were            government did not have additional capacity to accommodate victims
                  victims of forced labor, two of sex trafficking, two were victims of          if the shelter was full, and it lacked longer-term housing options.
                  sex trafficking and forced labor, and four were victims of forced             The government placed identiﬁed Romani child victims in daycare
                  labor through forced marriage. Of these, 36 were men, six were                centers and warned or ﬁned their parents; in cases where courts
                  women, ﬁve were girls, and one was a boy; 39 were victims from                deemed parents unﬁt to care for their children, the state placed the
   422                                                                                                                                      Haiti AR_000903
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 528 of 729




                                                                                                                                                          NORWAY
children in orphanages. In 2018, the government amended legislation           a “Codex of Cooperation” with hospitality and hotel companies to
to accommodate domestic and foreign potential trafficking victims             prevent forced labor in the tourism industry. The government informed
at the shelter; however, the transit center continued to accommodate          citizens traveling abroad about potential risks of labor exploitation
most foreign potential victims. The shelter allowed victims freedom           and fraudulent offers of employment abroad. The government did not
of movement, but the transit center did not permit foreign potential          operate a hotline, but MOI managed an application to report various
victims to leave without a temporary residence permit. In 2021, the           crimes, including trafficking; the application received no trafficking-
shelter housed four victims and three potential victims (ﬁve victims in       related reports (three trafficking-related reports in 2020). Observers
2020), and the transit center housed 39 foreign victims (none in 2020).       reported cases of Romani children not registered at birth, and their
                                                                              parents lacked the registration and identiﬁcation documents to access
Due to a lack of consistent screening efforts, authorities likely arrested,
                                                                              health care, social protection, and education. The government did not
detained, and deported some unidentiﬁed trafficking victims. For
                                                                              make efforts to reduce the demand for commercial sex.
example, local police detained individuals in commercial sex without
screening for trafficking indicators or notifying the task force, according
to experts and government officials, who also reported local police
                                                                              TRAFFICKING PROFILE
                                                                              As reported over the past ﬁve years, human traffickers exploit domestic
deported foreign potential victims before their two-month reﬂection
                                                                              and foreign victims in North Macedonia, and traffickers exploit victims
period expired. The law permitted foreign victims a two-month
                                                                              from North Macedonia abroad. Women and girls in North Macedonia
reﬂection period to decide whether to testify against their traffickers,
                                                                              are exploited through sex trafficking and forced labor within the
followed by a six-month temporary residence permit, regardless
                                                                              country in restaurants, bars, and nightclubs. Sex traffickers recruit
of whether they testify; no foreign victims requested residence
                                                                              foreign victims typically from Eastern Europe and the Balkans,
permits in 2021. The law provided witness protection, legal aid, and
                                                                              including Albania, Bosnia and Herzegovina, Kosovo, Moldova, Romania,
24-hour police protection; no victims required witness protection
                                                                              Russia, Serbia, and Ukraine. Citizens of North Macedonia and foreign
services in 2021 and 2020. In practice, courts required victims, who
                                                                              victims transiting North Macedonia are exploited for sex trafficking
were voluntarily cooperating with proceedings, to remain in North
                                                                              and forced labor in construction and agricultural sectors in Southern,
Macedonia until they testiﬁed in court. However, prosecutors, with the
                                                                              Central, and Western Europe. Traffickers, who are often relatives
consent of the defense, had authority to make exceptions and allow
                                                                              or close friends, exploit Romani children through forced begging
a victim to leave the country prior to testifying in court, upon giving
                                                                              and sex trafficking within forced marriages. In 2021, Taiwanese
testimony before a prosecutor, and in some cases, before a pre-trial
                                                                              traffickers recruited Taiwanese workers with false promises of work
procedure judge; two child victims testiﬁed against their alleged
                                                                              in North Macedonia for the purpose of forced labor. Traffickers
traffickers before a prosecutor (six victims in 2020). Prosecutors
                                                                              conﬁscated passports, withheld wages, restricted movement, and
protected the identities of the two child victims and recorded the
                                                                              set up a call center where they forced the Taiwanese victims to make
testimony in private to prevent the need to testify multiple times.
                                                                              fraudulent calls.
Courts rarely issued restitution as part of criminal sentences, but a
judge issued restitution to one victim for 400,000 denars ($7,380).           Irregular migrants and refugees traveling or being smuggled through
While victims can claim compensation through civil proceedings,               North Macedonia, particularly women and unaccompanied children,
the complexity of the process often dissuaded victims from pursuing           are vulnerable to trafficking by their smugglers or other migrants.
action. The government and civil society continued efforts to develop         NGOs report children with mental and physical disabilities were
a victim compensation fund, which would allow authorities to allocate         increasingly vulnerable to trafficking. Officials and observers continued
compensation to victims from seized criminal assets.                          to report low-ranking police officers may be complicit in trafficking,
                                                                              including hiding evidence, bribery, changing patrol routes to beneﬁt
PREVENTION                                                                    perpetrators, tipping off perpetrators before raids, and/or direct
The government increased prevention efforts. The government                   involvement in organized crime.
maintained the National Commission (NC), composed of 12 government
agencies led by the national coordinator, which held bi-monthly
meetings. The NC drafted its 13th annual report on government
anti-trafficking efforts and adopted the 2021-2025 NAP. For the                NORWAY: TIER 2
ﬁrst time, the NC solicited feedback from trafficking survivors on
the NAP, and separately, MLSP identiﬁed areas for improvement in
                                                                              The Government of Norway does not fully meet the minimum standards
the government’s anti-trafficking efforts based on recommendations
                                                                              for the elimination of trafficking but is making signiﬁcant efforts
from survivors. The NC also supported seven municipal-level anti-
                                                                              to do so. The government demonstrated overall increasing efforts
trafficking commissions in implementing their local action plans. The
                                                                              compared with the previous reporting period, considering the impact
Anti-Trafficking Secretariat, composed of government ministries,
the international community, and civil society, operated under the            of the COVID-19 pandemic on its anti-trafficking capacity; therefore
NC and also held bi-monthly meetings. The national anti-trafficking           Norway remained on Tier 2. These efforts included prosecuting and
rapporteur within the Ombudsman’s Office conducted four research              convicting signiﬁcantly more traffickers and ordering traffickers to
projects on trafficking, including monitoring trafficking cases in court.     pay victim compensation. Additionally, the government passed a
The government, in cooperation with international organizations,              new law to allow for more accountability and transparency among
implemented awareness campaigns for youth, students, and the                  medium- to large-sized companies operating in Norway, requiring
public on trafficking.                                                        those companies to conduct due diligence assessments for human
                                                                              rights issues and labor conditions in their supply chains. However,
The law prohibited illegal and unreported employment and set out              the government did not meet the minimum standards in several
criteria for labor recruitment, deﬁning the terms of employment,              key areas. For the ﬁfth consecutive year, the government did not
employer obligations, and employees’ rights. However, work permits
                                                                              report an official number of identiﬁed and assisted victims and
for foreigners were tied to a speciﬁc employer, and a new work permit
                                                                              continued to delay development of formal identiﬁcation procedures,
was required to change jobs, thereby increasing a migrant workers’
                                                                              a national referral mechanism (NRM), and a comprehensive statistical
vulnerability to coercion and forced labor. The NC trained labor
                                                                              system for collecting data. The government continued to focus on the
inspectors on indicators of trafficking, and the Labor Inspectorate
                                                                              undocumented status of some foreign nationals rather than screen
conducted regular inspections to verify compliance with labor laws
                                                                              them for trafficking indicators, subsequently some victims were
and issued ﬁnes and sanctions against those companies and owners
                                                                              penalized for unlawful acts traffickers compelled them to commit
who were out of compliance, with the ability to press charges for
                                                                              rather than identiﬁed as victims and given care. Authorities did not
criminal acts. Labor inspectors, in cooperation with police, conducted
32 inspections and identiﬁed two trafficking victims and one potential        consistently identify potential child trafficking victims. Moreover,
victim. Labor inspectors also independently inspected 30,155                  when authorities investigated and prosecuted a trafficking crime as
businesses for a wide range of labor law violations. The NC maintained        another crime, victims were unable to access assistance granted to
                                                                              trafficking victims under Norwegian law, leaving them susceptible
                                                                                                                              Haiti AR_000904             423
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 529 of 729
NORWAY   to re-victimization. Authorities investigated fewer trafficking cases            police investigated and referred fewer trafficking cases to prosecutors
         and continued to charge traffickers under non-trafficking statutes.              in 2021. Although officials noted an overall better understanding of
                                                                                          forced labor, particularly forced criminality, they highlighted the need
                                                                                          to increase efforts to investigate and prosecute forced labor cases.
                  NORWAY TIER RANKING BY YEAR
                                                                                          Most forced labor cases resulted in prosecutions on lesser charges of
              1
                                                                                          social dumping—whereby workers were given unacceptably low wages
             2                                                                            or unreasonable working conditions, such as long hours or inadequate
           2WL                                                                            living quarters, that are sub-standard compared to the law—because
                                                                                          the burden of proof was difficult and officials did not have a good
              3
                     2015     2016     2017     2018   2019    2020     2021     2022     understanding of forced labor. As in previous years, investigators
                                                                                          and prosecutors continued to charge traffickers with non-trafficking
                                                                                          crimes, such as narcotics and “pimping,” which subsequently barred
                                                                                          victims from access to speciﬁc rights and weakened deterrence, did
         PRIORITIZED RECOMMENDATIONS:                                                     not adequately reﬂect the nature of the crime, and undercut broader
         Report annual data on the number of victims identiﬁed and assisted by            efforts to ﬁght trafficking. Officials noted charging traffickers as such
         the government. • Establish an NRM and victim identiﬁcation procedures           when it was difficult to meet the burden of proof for a trafficking
         that receive adequate input from NGOs, deﬁne processes and roles of all          charge under the law, citing cases of online exploitation as particularly
         relevant government agencies and front-line actors, and train those actors       difficult to prosecute because traffickers hid traces of their crime via
         to ensure uniform implementation across the country. • Enhance efforts           anonymous servers and other technological defenses. Experts attributed
         to proactively identify and assist trafficking victims, particularly children,   charging traffickers with non-trafficking crimes to authorities’ lack of
         by training relevant workers on procedures for identifying child victims         expertise, knowledge, and evidence collection and assessed more
         and recognizing indicators. • Ensure all trafficking victims receive access      systematic training could enhance competence among investigators
         to assistance regardless of whether authorities investigate and prosecute        and prosecutors. Experts also recommended increased training for
         a trafficking crime as another crime. • Increase efforts to investigate          prosecutors and judges on understanding trafficking, including the
         trafficking cases under the trafficking statute and prosecute and convict        different types. The National Criminal Investigation Service maintained a
         suspected traffickers. • Screen all foreign nationals and asylum-seekers         national police group of experts aimed at increasing the understanding
         for indicators of trafficking and stay deportation of potential victims          and knowledge about trafficking within the Norwegian Police Authority.
         prior to screening. • Develop and implement a reliable comprehensive             The group’s responsibilities included knowledge-sharing between police
         statistical system for collecting and collating data, including on child         and prosecutors, development of working methods and anti-trafficking
         trafficking, victim identiﬁcation and assistance, and investigations,            efforts, and advancing cooperation with relevant stakeholders. The
         prosecutions, and convictions. • Enhance training for investigating              Coordination Unit for Victims of Trafficking (KOM), which coordinated
         cases and collecting evidence against suspected traffickers. • Improve           the government’s anti-trafficking efforts, organized several seminars
         efforts to understand the demand for forced labor and identify victims           for various stakeholders from national and municipal levels, as well as
         of labor trafficking and refer them to assistance. • Increase training for       civil society and academia, on detecting trafficking, ensuring victims’
         investigators, prosecutors, and judges on applying trafficking laws and          rights, and strengthening coordination.
         understanding different aspects of trafficking.
                                                                                          PROTECTION
         PROSECUTION                                                                      The government minimally maintained protection efforts. In 2021, the
         The government increased law enforcement efforts. Sections 257 and               government continued to delay development of a comprehensive
         258 of the penal code criminalized sex trafficking and labor trafficking         countrywide statistical system on trafficking, including victim
         and prescribed penalties of up to six years’ imprisonment for crimes             identiﬁcation and assistance data, which originally commenced in 2017.
         involving adult victims and up to 10 years’ imprisonment for those               Since then, KOM and the MOJ have decided to withhold the number
         involving child victims. These penalties were sufficiently stringent and,        of identiﬁed and assisted victims until after a more formal and reliable
         with respect to sex trafficking, commensurate with penalties for other           system is in place. Subsequently, for the ﬁfth consecutive year, the
         serious crimes, such as rape. Police investigated 29 trafficking cases           government did not report an official number of victims identiﬁed or
         (14 sex trafficking, 10 labor trafficking, ﬁve unspeciﬁed), compared             assisted but noted identifying one potential child trafficking victim (the
         with 38 in 2020. Authorities prosecuted six alleged traffickers, an              last reported official statistic was 262 victims identiﬁed and assisted
         increase from zero in 2020. Courts convicted 12 traffickers (ﬁve for sex         in 2016). NGOs reported identifying 82 potential adult victims in 2021;
         trafficking, seven for labor trafficking), a signiﬁcant increase from one        the majority were foreign nationals. Although the government had
         conviction in 2020. Sentences ranged from one year imprisonment to               neither an NRM nor formal identiﬁcation procedures, authorities utilized
         eight years’ imprisonment and a ﬁne. The government did not report any           informal guidelines to identify and refer potential victims. Despite these
         investigations, prosecutions, or convictions of government employees             guidelines, authorities and NGOs sometimes operated under different
         complicit in human trafficking crimes. The Norwegian government                  criteria for identiﬁcation and registered potential victims multiple times,
         regularly collaborated with other European governments at national               leading to inaccurate and duplicative statistics. The government also
         and local levels to pursue investigations and prosecutions of alleged            implemented pandemic-mitigating restrictions, such as lockdowns and
         traffickers. On one joint investigation team, authorities from Norway            border closures, which reduced its ability to identify and refer potential
         and Romania cooperated on a sex trafficking case involving Romanian              victims to NGOs and other actors that provided assistance; experts
         women forced into commercial sex in Norway. Authorities of Denmark,              noted this impact underscored the need for an NRM. NGOs reported
         Finland, Norway, and Sweden facilitated international policing efforts           the pandemic intensiﬁed the shift toward online commercial sex and
         and information-sharing, including on trafficking-related issues, through        made identifying and assisting sex trafficking victims more difficult.
         Nordic liaison officers stationed at 20 Nordic embassies and consulates          Furthermore, experts noted deﬁciencies in identifying labor trafficking
         around the world.                                                                victims, citing the government’s lack of understanding of the demand in
         During the reporting period, all 12 police districts maintained anti-            certain sectors for forced labor. Experts raised concerns authorities did
         trafficking units. According to the Ministry of Justice (MOJ), the anti-         not screen for trafficking indicators during investigations, further raising
         trafficking units were vulnerable to temporary staffing gaps when districts      concerns authorities did not implement the non-punishment provision
         reallocated personnel to address other priorities, such as narcotics. The        and instead penalized victims for unlawful acts traffickers compelled
         MOJ noted the siloed organization of the police force was problematic            them to commit. Experts reported police did not always view criminals
         in addressing trafficking because investigators in districts did not             as potential victims. In 2021, an NGO identiﬁed one trafficking victim
         always use the same criteria to identify trafficking cases. In addition,         in prison, whom authorities released as a result of the NGO’s efforts.
         experts reported that limited investigative capacity and knowledge of            During the reporting period, the MOJ and KOM continued to develop an
         trafficking in some districts and staffing changes among police negatively       NRM and maintained a working group to facilitate the process, which
         impacted cooperation. The Oslo Public Prosecutors’ Office reported               began in 2018. The working group’s initial proposal received wide
 424                                                                                                                                   Haiti AR_000905
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 530 of 729




                                                                                                                                                             NORWAY
criticism from various stakeholders expressing concern the proposed             country of origin. However, NGOs expressed concern that ineligibility
NRM would reduce the reﬂection period for victims from six months               for ﬁnancial support to victims from outside the EEA, such as asylum-
to 45 days, which could result in fewer victims assisting authorities in        seekers who received rejected asylum applications, exposed them to
investigations and authorities deporting more victims while they were           the risk of re-victimization.
still recovering from their abuse. In 2021, the working group submitted
a new proposal to the MOJ recommending different NRM models for                 PREVENTION
strategic and operational collaboration, highlighting the pros and cons of      The government increased prevention efforts. During the reporting
implementing each model, and identifying areas of further assessment.           period, the government continued to implement measures from the
                                                                                national action plan. Various government agencies and ministries
The government provided victim assistance through municipal crisis
                                                                                responsible for implementation provided ﬁnancial resources toward the
centers and government-funded NGOs. These NGOs provided foreign
                                                                                plan’s activities but did not report the amount of funding allocated in
and domestic victims with ﬁnancial, legal, and medical assistance;
                                                                                2021. KOM published an annual report providing an overview on victim
shelter; psychological care; and Norwegian language classes. In 2021,
                                                                                identiﬁcation, challenges relating to trafficking, and relevant agencies’
NGOs reported assisting 82 victims who received accommodation
                                                                                anti-trafficking activities. The MOJ, KOM, and UNODC coordinated on a
and follow-up support, such as counseling. Parliament allocated 35
                                                                                project aimed at more accurately estimating the prevalence of trafficking
million Norwegian kroner (NOK) ($3.99 million) to NGOs speciﬁcally
                                                                                in Norway; the government contracted an independent social science
for assistance services, the same amount as in 2020. NGOs reported
                                                                                research foundation to lead the project, which predictably encountered
social distancing regulations due to the pandemic dissuaded victims
                                                                                various challenges due to the limited availability of statistics. The
from seeking assistance, particularly sex trafficking victims, for fear that
                                                                                foundation projected publishing a report in 2022 documenting
violating those regulations would result in deportation or imprisonment.
                                                                                challenges and providing recommendations on how to obtain more
Civil society reported that when authorities investigated and prosecuted
                                                                                reliable trafficking statistics. The MOJ funded information campaigns
a trafficking crime as another crime, victims were unable to access
                                                                                run by youth organizations totaling 700,000 NOK ($79,740), including
assistance granted to trafficking victims under Norwegian law. Oslo’s
                                                                                one campaign targeting 13-26 year-old children and young adults on
Labor and Social Affairs Department maintained Human Trafficking
                                                                                the correlation between consumption and human trafficking, as well as
Support Oslo to assist and support adult victims, including foreign
                                                                                exploitation into sex trafficking. An NGO managed a 24-hour hotline for
victims in a reﬂection period and allocated 3 million NOK ($341,760) in
                                                                                potential trafficking victims, available in Norwegian, English, Spanish,
2021, compared with 4 million NOK ($455,680) in 2020. The Directorate
                                                                                Arabic, and Thai. The government allocated 1.6 million NOK ($182,270)
for Children, Youth, and Family Affairs maintained a coordinating
                                                                                for the hotline, a decrease from 3 million NOK ($341,760) in 2020. In
unit for service and assistance to child trafficking victims. The unit
                                                                                collaboration with other Baltic Sea Region countries, the government
worked to improve procedures to identify child victims, provide training
                                                                                participated in a project establishing long-term cooperation between
and capacity building activities, and support coordination between
                                                                                stakeholders and academia to educate future journalists on trafficking
government authorities. Child Welfare Service was responsible for
                                                                                issues through workshops, panel discussions, and competitions. In
providing child trafficking victims with assistance; in 2021, it assisted
                                                                                response to an inﬂow of Ukrainian refugees ﬂeeing Russia’s full-scale
one child victim, compared with zero in 2020. Authorities placed
                                                                                invasion of Ukraine and arriving in Norway, the government headed a
identiﬁed child victims in state-run institutions, such as orphanages, or
                                                                                regional anti-trafficking task force through its presidency of the Council
foster care for up to six months. According to officials, authorities did
                                                                                of the Baltic Sea States, with a special focus on preventing Ukrainian
not consistently identify child victims and maintain statistics. An NGO
                                                                                citizens from being exploited and developing partnerships between
expressed concern statistics did not accurately reﬂect the number of
                                                                                governments and local organizations to identify trafficking risks in local
child trafficking victims. To assist with the identiﬁcation and investigation
                                                                                communities. During the reporting period, the government launched a
of trafficking cases involving children, the government maintained
                                                                                new strategy to combat modern slavery, including trafficking, focused
procedures for cooperation among police, immigration authorities, and
                                                                                on leveraging development assistance globally. Some international
child welfare authorities. An NGO that provided assistance to individuals
                                                                                projects led by Norway included decreasing the scale of prevalence,
in commercial sex ran a program offering training and work experience
                                                                                especially forced labor in the agriculture sector, with a focus on women
to trafficking victims through internships.
                                                                                and children in Ghana and eradicating child labor in Uganda. Norway also
Victims under a reﬂection period received legal assistance, health care         provided core support to Alliance 8.7 and maintained anti-trafficking
services, shelter, and other necessary support. In 2021, authorities            grants, totaling approximately between 96.6 million and 131.7 million
granted a six-month reﬂection period to eight victims and limited               NOK ($11 million-$15 million). The government did not make efforts to
residence permits of up to 12 months to eight victims, compared                 reduce the demand for commercial sex acts.
with 16 and three in 2020. Authorities granted two possible victims
                                                                                To allow for more accountability and transparency among medium- to
residence permits due to compelling humanitarian considerations (six
                                                                                large-sized companies operating in Norway, Parliament passed a new
in 2020) and one permit based on protection status. Observers raised
                                                                                Transparency Act in 2021. The act required companies that produce
concerns police focused more on an individual’s lack of residence permit
                                                                                goods and services domestically and abroad to conduct due diligence
or immigration documentation than screening them for trafficking
                                                                                assessments for human rights issues and labor conditions in their
indicators, resulting in the deportation of potential victims. Despite
                                                                                supply chains and ensure the public had access to information on
the Directorate of Immigration maintaining written guidelines for the
                                                                                how those companies handled adverse impacts on human rights and
identiﬁcation and referral of potential victims, a 2021 inspection report
                                                                                decent working conditions. The government continued to implement
criticized authorities for failing to screen immigrants during deportation
                                                                                its strategy against work-related crime, including labor trafficking, by
proceedings and for deporting potential witnesses of trafficking
                                                                                regularly conducting workplace inspections, especially at construction
crimes. A public prosecutor also criticized the police for showing
                                                                                sites and car washes, which were known to be frequently noncompliant
more concern with fulﬁlling deportation quotas than investigating
                                                                                with the law. According to authorities, inspections have led to detecting
trafficking cases. Furthermore, the continued pandemic-related closure
                                                                                forced labor cases in the past. The government raised awareness of
of the Storskog border crossing with Russia in 2021 to anyone seeking
                                                                                Norwegian laws and regulations related to labor violations, including
protection prevented the screening of trafficking victims along the
                                                                                by hosting a seminar for the national police group of experts that
northern border. The border crossing closed again in 2022 in line with
                                                                                focused on forced labor issues. Norwegian law prohibited recruitment
sanctions responding to Russia’s further invasion of Ukraine. Sixteen
                                                                                agencies from charging fees to job seekers for placement services and
centers provided victims participating in criminal proceedings with
                                                                                required the labor inspectorate to monitor agencies for compliance. The
guidance and support, including legal advice and assistance applying
                                                                                Norwegian Agency for Development Cooperation (NORAD) contributed
for compensation. The law entitled trafficking victims to ﬁnancial
                                                                                31.6 million NOK ($3.6 million) in 2021 to the Global Fund to End Modern
compensation from traffickers. In 2021, traffickers paid ﬁve victims
                                                                                Slavery to combat trafficking, with a particular focus in Bangladesh and
compensation, totaling 446,000 NOK ($50,810). The law allowed
                                                                                India on securing trafficking-free supply chains in selected industries
trafficking victims from countries within the European Economic
                                                                                and preventing trafficking in connection with migration. Additionally,
Area (EEA) candidacy for full ﬁnancial reintegration support to their
                                                                                                                                Haiti AR_000906              425
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 531 of 729
OMAN   NORAD granted funding agreements worth 190 million NOK ($21.65                    Finally, although it developed a national referral mechanism (NRM)
       million) for its Development Program to End Modern Slavery, which                 during the year, the government had not yet operationalized the NRM
       sought to reduce the prevalence and scope of trafficking in selected              at the close of the reporting period.
       partner countries and sectors and to cooperate with multilateral and
       civil society organizations. Separately, NORAD pledged 190 million NOK
                                                                                                  OMAN TIER RANKING BY YEAR
       ($21.65 million) for a three-year project (2020-2023) targeting countries
                                                                                              1
       in the Sub-Saharan region of Africa, with a focus on forced labor and
       child labor. The government also participated in a regional project to                 2
       support stakeholders in combating and disrupting labor trafficking                  2WL
       by analyzing and consolidating information, improving assistance to
                                                                                              3
       victims, and increasing prosecution of traffickers.                                           2015     2016     2017   2018   2019     2020     2021    2022

       TRAFFICKING PROFILE
       As reported over the past ﬁve years, human traffickers exploit domestic
       and foreign victims in Norway, and to a lesser extent, traffickers exploit        PRIORITIZED RECOMMENDATIONS:
       victims from Norway abroad. As a result of the pandemic, traffickers              Signiﬁcantly increase efforts to investigate, prosecute, and convict
       increasingly shifted recruitment methods from in-person to online                 traffickers, including Omani nationals, of forced labor crimes, speciﬁcally
       settings, mainly through social media. Trafficking victims identiﬁed              of migrant workers, including domestic servitude. • Increase use of
       in Norway primarily originate from Eastern and Southern European                  specialized trafficking units within the Ministry of Labor (MOL), the
       countries, such as Albania, Bulgaria, Romania, and Ukraine, with                  Royal Oman Police (ROP), and the Public Prosecutor’s Office (PPO)
       the vast majority being adult women, often in their 30s with some                 to investigate indicators of potential trafficking crimes, speciﬁcally
       intellectual disabilities, exploited in sex trafficking. Additional reports       those that originate as labor violations. • Impose dissuasive penalties
       indicate an increase in victims from Thailand who come to Norway                  on employers who withhold their employees’ passports. • Expand
       to reunite with their Norwegian spouses, and once in the country,                 labor law protections to, and enforce legal protections for, domestic
       traffickers exploit them in labor or commercial sex. Police report                workers. • Operationalize the newly developed NRM and train officials
       foreign organized networks exploit third-country national women, who              on the procedures to proactively identify and refer to care both male
       stay in Norway for short periods of time before they are transported              and female trafficking victims among vulnerable populations, such as
       to other European countries, in commercial sex. Traffickers exploit               migrant workers (including domestic workers), persons in commercial
       women and girls in sex trafficking in massage parlors and men and                 sex, and those who ﬂee abusive employers and situations of forced
       women in labor trafficking, speciﬁcally in domestic service, as well as           labor, and prevent the penalization of unidentiﬁed victims by utilizing
       in restaurants, grocery stores, car repair shops, and the construction,           formal screening protocols. • Ensure effective implementation of recent
       ﬁshing, and transportation industries. Traffickers subject children to            reforms to the sponsorship-based employment system by increasing
       forced criminal activities and other forms of forced labor, including             awareness of reforms among migrant worker population and employers.
       illegal employment in car washes and private housekeeping. In recent              • Disseminate to stakeholders the decision that allows potential victims
       years, authorities and civil society representatives report an increase           the option to self-refer to protective services and amend the provision
       in labor trafficking cases. In all known labor trafficking cases, potential       that stipulates they can only reside in the shelter long-term if they
       victims are foreign workers whose traffickers are either their employers          ﬁle charges against, or there is a corresponding prosecution of, an
       or other employees who act as facilitators. Traffickers are typically             alleged trafficker. • Continue to expand trainings for officials involved
       the same ethnic background as their victims. Foreign nationals and                in criminal investigations and for hotline operators to ensure accurate
       Ukrainian refugees, predominantly women and children, who are ﬂeeing              characterization of trafficking crimes. • Fully implement the national
       Russia’s full-scale invasion of Ukraine and seeking sanctuary in Norway,          action plan (NAP) for 2021-2023. • Continue to conduct country-wide
       are highly vulnerable to trafficking.                                             public awareness campaigns on all forms of trafficking, speciﬁcally
                                                                                         targeted to vulnerable populations, including domestic workers.

                                                                                         PROSECUTION
        OMAN: TIER 2                                                                     The government increased law enforcement efforts overall, but it
                                                                                         continued to take inadequate law enforcement actions on forced
                                                                                         labor, speciﬁcally of migrant workers, including domestic servitude.
       The Government of Oman does not fully meet the minimum standards
                                                                                         Oman’s 2008 anti-trafficking law criminalized sex trafficking and
       for the elimination of trafficking but is making signiﬁcant efforts to do
                                                                                         labor trafficking and prescribed punishments of three to seven years’
       so. The government demonstrated overall increasing efforts compared
                                                                                         imprisonment and a ﬁne for offenses involving adult victims and seven
       with the previous reporting period, considering the impact of the
                                                                                         to 15 years’ imprisonment and a ﬁne for offenses involving child victims.
       COVID-19 pandemic, if any, on its anti-trafficking capacity; therefore
                                                                                         These punishments were sufficiently stringent and, with regard to sex
       Oman remained on Tier 2. These efforts included establishing a
                                                                                         trafficking, commensurate with penalties prescribed for other serious
       specialized court for trafficking cases, investigating more alleged               crimes, such as rape. In the previous reporting period, the government
       trafficking crimes, and prosecuting and convicting more traffickers               retained a foreign law ﬁrm to review Oman’s existing anti-trafficking
       than in previous years. For the ﬁrst time, the government identiﬁed               law and submit recommendations for improvement to the National
       male victims and expanded shelter services to accommodate them. The               Committee to Combat Human Trafficking (NCCHT). The government
       government also continued to implement its decision to eliminate the              reported that it drafted new anti-trafficking legislation, focused on
       “no objection certiﬁcate” (NOC), which allowed all workers to change              increasing penalties for traffickers and greater protections for victims, but
       jobs without employer permission at the end of a contract. However,               that it had not yet been approved by the close of the reporting period.
       the government did not meet the minimum standards in several key
       areas. The government did not investigate, prosecute or, for the fourth           The ROP and PPO continued to maintain specialized anti-trafficking
       consecutive year, convict any traffickers of forced labor of migrant              units in their respective organizations. During the reporting period,
                                                                                         the government established its ﬁrst specialized court for trafficking
       workers, including domestic servitude. It continued to routinely use
                                                                                         cases; the government reported the court was staffed with judges
       arbitration and administrative penalties to resolve grievances ﬁled by
                                                                                         with trafficking-speciﬁc expertise but could also handle other types
       migrant workers, including domestic workers, instead of investigating
                                                                                         of cases—including labor exploitation cases, if necessary. In 2021, the
       such cases as human trafficking crimes. The government also continued
                                                                                         government investigated 55 alleged human trafficking cases, including
       to require potential trafficking victims to have active trials to remain in the
                                                                                         47 cases of sex trafficking and eight cases of forced begging, resulting
       government’s shelter. Despite continued reports that Omani employers’
                                                                                         in the arrest of 97 suspects. This was a large increase compared with
       subject migrant workers to conditions of forced labor, authorities did
                                                                                         the previous reporting period when the government investigated seven
       not convict any Omani nationals for trafficking crimes during the year.
426                                                                                                                                    Haiti AR_000907
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 532 of 729




                                                                                                                                                                OMAN
alleged sex trafficking cases. Authorities prosecuted 28 alleged suspects       all of whom originally called into the government’s main trafficking
under the anti-trafficking law for sex trafficking and eight alleged            hotline. Out of the 25 individuals screened, the government identiﬁed
suspects under the penal code for forced begging; the government has            16 as trafficking victims; a decrease from 29 female victims identiﬁed
not reported any forced labor of migrant workers, including domestic            during the previous reporting period. Of the 16 identiﬁed victims, 13
servitude, prosecutions in the last three years. This was a large increase      were adult female sex trafficking victims, and three were children—one
compared with the government’s prosecution of two suspects for sex              girl was a victim of sex trafficking, and two boys were victims of forced
trafficking in 2020. In 2021, courts convicted six sex traffickers under        begging. The government did not identify any foreign victims of forced
the anti-trafficking law and one trafficker for forced begging under the        labor, including domestic servitude. All 16 victims were foreign nationals.
penal code; this was an increase compared with courts convicting two            No victims self-referred to the Ministry of Social Development (MOSD)
sex traffickers in the previous reporting period. Judges sentenced all six      shelter during the year, compared with three victims who self-referred
sex traffickers to three years’ imprisonment, a ﬁne of 10,000 Omani rials       in the previous reporting period. Previously, the MOSD shelter formally
(OMR) ($25,970), and conﬁscation of personal assets used to facilitate          was available only for female victims; however, during the year, the
each crime. The government did not provide sentencing details for the           government permanently expanded the shelter to provide access to
trafficker convicted of forced begging. All of the convicted traffickers        male victims and subsequently allocated a separate area at the shelter
were foreign nationals, and the government planned to deport and                for males. All 16 victims, including the two boys, received services at the
impose reentry bans on them upon completion of their sentences.                 government-operated shelter in Muscat during the year.
Twenty prosecutions remained pending verdicts at the close of the
                                                                                The government remained without formal referral procedures. In 2020,
reporting period. The government did not report any investigations,
                                                                                the government included the development and operationalization of
prosecutions, or convictions of government officials complicit in human
                                                                                an NRM in its most recent 2021-2023 NAP. The government completed
trafficking crimes. The government reported the PPO initially considered
                                                                                its development of the NRM but did not launch it by the close of the
labor cases involving foreign workers as trafficking cases until proven
                                                                                reporting period. Officials continued to reactively refer some victims
otherwise but did not prosecute and convict any perpetrators for forced
                                                                                identiﬁed as part of ongoing police investigations to MOSD for shelter
labor of migrant workers or domestic servitude since 2018. Instances
                                                                                placement and medical and psychological services. Officials often
of migrant workers subjected to conditions indicative of forced labor
                                                                                referred self-identiﬁed victims to the police rather than directly to
remained common during the year—as reported by media, NGOs, and
                                                                                the MOSD for shelter placement. The government continued to allow
labor-source governments, suggesting that some trafficking cases
                                                                                potential victims to self-refer to the shelter following a policy change
were treated as administrative, immigration, or labor law violations
                                                                                in 2020 that no longer required victims to ﬁle a case with the PPO for
without investigation, particularly in the case of domestic workers.
                                                                                an official referral to shelter. Once a potential victim self-referred to the
For example, during the reporting period, media reported several
                                                                                shelter, MOSD reported it alerted the PPO, which would formally begin
Zimbabwean domestic workers were subjected to conditions of forced
                                                                                an investigation to determine whether the individual was a trafficking
labor by their employers in Oman; Omani officials investigated these
                                                                                victim. However, the government continued to stipulate that a victim
reports but found no evidence of trafficking.
                                                                                had to have an active trafficking investigation in order to remain at the
During the year, the government participated in INTERPOL’s Operation            shelter long-term. Some source-country embassies in Oman reportedly
Liberterra, which resulted in the apprehension of 286 suspects of               offered victim services for their nationals but could not operate formal
human trafficking and migrant smuggling; the government provided                shelters without approval from the government, which it did not provide.
information on at least 15 suspects during the operation. In addition, the
                                                                                During the reporting period, the government allocated 1.79 million OMR
PPO coordinated with the Government of Egypt for judicial assistance
                                                                                ($4.65 million) for accommodation and victim care at its permanent
in obtaining the testimony of an unknown number of Egyptian nationals
                                                                                shelter, which could lodge up to 50 female, male, and child victims of
identiﬁed as trafficking victims in Oman but who were repatriated
                                                                                trafficking or other types of abuse. The shelter provided room and board,
to Egypt before court proceedings commenced. The government
                                                                                psychological counseling, legal support, monetary stipends, recreational
conducted anti-trafficking training for graduating female ROP officers
                                                                                opportunities, rehabilitation activities, resiliency training, and medical
at the police training academy in May 2021, which focused on the legal
                                                                                care to victims. In February 2022, MOSD signed a memorandum of
framework for trafficking and related crimes, victim identiﬁcation, and
                                                                                understanding (MOU) with a local NGO to assist vulnerable individuals
mechanisms for transferring potential cases to court; the government
                                                                                residing at the government shelter, including trafficking victims; among
also returned to in-person training on trafficking topics for the ROP
                                                                                other services, assistance included providing airline tickets home
and other officials in November 2021. The Ministry of Foreign Affairs
                                                                                for victims when court proceedings ended and facilitating training
(MFA) continued to fund an international trafficking expert to advise
                                                                                workshops for victims to learn new skills. During the reporting period,
and assist interagency entities in conducting training on victim-centered
                                                                                the government put pandemic-related mitigation measures in place at
investigations and enhancing information-gathering techniques, as well
                                                                                the shelter, including the provision of personal protective equipment
as devising legislative improvements. The government directly facilitated
                                                                                such as face masks. MOSD, in coordination with the Ministry of Health
and funded ﬁve trainings for officials from the MFA, ROP, and MOL on
                                                                                (MOH), administered COVID-19 vaccinations to all victims residing at
topics including the anti-trafficking law and recognizing indicators of
                                                                                the shelter, and upon repatriation, it ensured testing requirements
the crime. In partnership with the national worker’s union, the General
                                                                                were completed per the victim’s home country’s regulations. Shelter
Federation for Oman Workers (GFOW), the government conducted an
                                                                                administrators interfaced with judicial officials to keep victims regularly
anti-trafficking training related to trade unions’ responsibility to combat
                                                                                informed of the status of their legal cases. Shelter policy dictated
the crime. The government noted the number of participants in overall
                                                                                victims could depart the premises only with a chaperone and victims
trainings remained low during the year due to pandemic-related travel
                                                                                were not able to work during their stay at the shelter. The government
restrictions and social distancing measures.
                                                                                offered complimentary repatriation services to victims who did not want
                                                                                to remain in-country or could facilitate new sponsorship for foreign
PROTECTION                                                                      workers if they chose to stay in Oman to work after departing the
The government made uneven efforts to protect victims; for the ﬁrst
                                                                                shelter. The government provided foreign victims with legal alternatives
time, it identiﬁed two boys as victims and referred them to care at the
                                                                                to removal to countries in which they may face retribution or hardship,
government shelter, but it identiﬁed fewer victims overall compared
                                                                                to include alternate employment under another sponsor; during the
with the previous reporting period. In the previous reporting period, the
                                                                                reporting period, the government assisted two victims in obtaining
government created and disseminated a formal screening questionnaire
                                                                                new job opportunities following their stay at the shelter, as the two
for officials to use in identifying potential trafficking victims among those
                                                                                individuals chose to remain in Oman to work following the end of their
arrested for commercial sex, labor violations, and ﬂeeing their employer
                                                                                court proceedings. Officials permitted and encouraged some victims
who was also their visa sponsor. ROP and PPO officials, shelter staff,
                                                                                to stay in Oman for the duration of court proceedings; the government
heath workers, and the NCCHT used this questionnaire during the year to
                                                                                reported all 16 victims cooperated in criminal cases. Officials at times
screen vulnerable populations for trafficking indicators; the government
                                                                                reportedly encouraged other victims to reach extrajudicial settlements
reported the screening questionnaire was used to screen 25 individuals,
                                                                                for the sake of expediency. The government did not allow victims
                                                                                                                                  Haiti AR_000908               427
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 533 of 729
OMAN   participating in trials the opportunity to work or leave the shelter and,   reported investigating 17 total passport retention complaints in 2020,
       therefore, victims likely experienced prolonged unemployment; this,         compared with 82 cases the year prior; 15 complaints were resolved,
       coupled with protracted court cases, disincentivized some victims           and two remained under investigation by the ROP at the close of the
       from participating in trials. Sources reported some cases ended with        reporting period, although the government did not report whether any
       aggrieved workers unable to switch employers, reaching administrative       of the cases were considered potential trafficking crimes.
       settlements with their former employers, and subsequently returning
                                                                                   A 2018 MOL ministerial decision stated a company must prove it has paid
       to their home countries. The NCCHT upheld the tenets of its MOU with
                                                                                   the past three months of an employee’s salary before ﬁling a complaint
       a local association to provide Pro bono assistance to trafficking victims
                                                                                   to charge a migrant worker with “absconding.” Additionally, if a company
       involved in court proceedings, to include seeking damages on behalf
                                                                                   ﬁled more than ﬁve complaints in a month or more than 10 in a year, MOL
       of victims and pursuing labor claims via MOL mediation.
                                                                                   would increase inspections to ensure the company complied with labor
       The government reported it did not arrest any undocumented workers or       laws. If the company was not compliant, MOL would suspend its ability to
       those ﬂeeing their employer during the year; however, other observers       operate, including the ability to receive services from MOL, for one year.
       noted officials detained some workers for “absconding” who intended         The ministerial decision also created protections to prevent employers
       to ﬁle grievances against abusive employers and did not consistently        from ﬁring employees while on leave or otherwise absent from work.
       screen for trafficking indicators among vulnerable populations. Some        During the reporting period, MOL increased inspections from 5,629 to
       employers could compel foreign workers, whose legal status remained         more than 8,000 establishments to screen for trafficking indicators and
       tied to their employers, to work for lower or no wages under the            build awareness against forced labor and exploitative practices among
       credible threat of deportation. Authorities also continued to treat some    the migrant workforce. However, it did not report whether it referred
       potential domestic servitude cases as labor violations and did not report   any ﬁndings to the courts for administrative or criminal proceedings
       identifying potential victims of domestic servitude. Because authorities    or referred any potential trafficking victims to care. The MOL also
       did not universally employ the screening mechanism among vulnerable         investigated 24,220 labor disputes, resolved 12,175, and referred 7,794
       groups, such as undocumented migrant workers—including those who            cases to authorities for adjudication; 4,251 cases remained pending at
       ﬂed their employer—domestic workers, and individuals in commercial          the close of the reporting period. In 2020, MOL established a dedicated
       sex, some potential victims may have remained unidentiﬁed in the law        counter-trafficking unit within its Inspection Department; during the
       enforcement system.                                                         reporting period, the unit conducted 880 workplace and recruitment
                                                                                   agency inspections, and out of these inspections, officials referred
       PREVENTION                                                                  four potential trafficking cases to the PPO for further investigation.
       The government maintained efforts to prevent trafficking. The NCCHT         Additionally, the unit received 274 complaints against recruitment
       was composed of members from the MFA, PPO, ROP, Ministry of Justice         agencies during the reporting year. Of the 274 complaints, it reached
       and Legal Affairs, MOH, Ministry of Education, MOSD, MOL, Ministry of       settlements in 85 cases and referred 116 to authorities for adjudication;
       Information, Council of Administrative Affairs for the Judiciary, Oman      59 cases remained pending at the close of the reporting period, and 14
       Human Rights Commission, Oman Chamber of Commerce and Industry,             had an unknown status.
       and the General Federation of Oman Workers. In the previous reporting
                                                                                   The labor law did not adequately include domestic workers, and the
       period, the committee adopted a NAP to Combat Trafficking for 2021-
                                                                                   2004 Ministerial Decision regulating their employment did not provide
       2023. In 2021, the committee actively worked to achieve the NAP’s
                                                                                   effective rights protections or adequate complaint mechanisms for
       goals, which included developing the NRM, among other activities. The
                                                                                   this population. This decision established broad regulations related to
       NCCHT did not hold a formal meeting during the reporting year due
                                                                                   monthly wages; adequate room, board, and medical care; return airfare
       to the pandemic but reported that several members met frequently to
                                                                                   when the employer terminates the contract; and airfare to and from the
       advance counter-trafficking policies, per the NAP.
                                                                                   worker’s home country during approved vacation days. However, the
       In January 2021, the government’s decision to eliminate the NOC—that        decision did not provide standards on working hours, weekly rest days,
       previously required employees to receive permission from their employers    annual vacation, overtime compensation, and penalties for employers
       to seek new employment—entered into force. With the elimination of          who breach provisions. The government’s 2011 standard employment
       the NOC, the government allowed migrant workers, including domestic         contract for domestic workers included provisions from the 2004
       workers, to change employers upon completion or termination of their        decision, and required one weekly rest day, 30 days of leave, and return
       employment contract without employer approval. However, workers             ﬂights every two years, but it had no limit on working hours or provisions
       who ﬂed allegedly abusive employers could not utilize the reform if         for overtime pay. Some domestic workers experienced non-payment
       their contract had not expired or been terminated. Additionally, the MOL    of wages, excessive work hours, passport conﬁscation, and physical
       General Directorate of Labor had to approve the contract with the new       and sexual abuse during the reporting period. In 2021, the government
       employer, at times delaying transfer. Anecdotal reporting suggested         reported it drafted a new labor law, which reportedly included additional
       low awareness of this reform from migrant workers, as many workers          protections for domestic workers and victims of trafficking; the new law
       attempted to change employers prior to the completion or termination of     remained under review at the close of the reporting period.
       their employment contract; in those instances, employers could prohibit
                                                                                   The ROP maintained the government’s central trafficking hotline
       employees from leaving until their contract ended. Per Labor Law No.
                                                                                   and displayed its phone number on social media posts, news articles
       35 of 2003, migrant workers could terminate a contract after providing
                                                                                   pertaining to trafficking, and the NCCHT website. The NCCHT also
       a 30-day notice to their employer, and domestic workers could also
                                                                                   was able to receive notiﬁcations through its website, which provided
       terminate a contract with a 30-day notice period; however, domestic
                                                                                   communications in 14 languages. Separately, MOL operated a labor
       workers could also terminate their contract without notice in the case
                                                                                   violation hotline, which it promoted in its video on workers’ rights and
       of abuse by the employer or a member of the employer’s family, per the
                                                                                   responsibilities, and the MOSD operated an all-purpose helpline that
       2004 decision regulating domestic workers. The government reported
                                                                                   also assisted potential victims in accessing the government shelter. All
       82,211 workers were approved to transfer jobs in 2021 without employer
                                                                                   hotlines reportedly remained active year-round, 24 hours per day, and
       permission. The government reported expatriate workers could depart
                                                                                   staffed with Arabic and English interpreters; Urdu, Hindi, and Bengali-
       the country without permission at any time, but a worker’s ability to do
                                                                                   speaking contractors were available. For the ﬁrst time, officials reported
       so was contingent on physically possessing a passport, having sufficient
                                                                                   the number of hotline calls received; ROP’s hotline received 62 calls,
       travel funds to return home, and not facing any charges, including
                                                                                   MOL’s hotline and website received approximately 1,200 inquiries, and
       “absconding” charges. An international organization noted that although
                                                                                   the NCCHT website received 32 notiﬁcations during the reporting year.
       the government allowed workers to terminate their employment and
                                                                                   At the end of the last reporting period, the government initiated a three-
       change employers without a previous employer’s permission, the
                                                                                   month national trafficking awareness campaign entitled Insan (human
       sponsorship system would continue to persist as long as both the
                                                                                   being), that ended in May 2021. The campaign, which speciﬁcally targeted
       employee’s work and residence visas were tied to an employer. MOL
                                                                                   workers, victims, and offenders, educated the general community on
       circular No. 2/2006 prohibited employers from withholding migrant
                                                                                   trafficking, outlined protective services, and provided information
       workers’ passports but did not specify penalties for noncompliance. MOL
                                                                                   about prevention. During the three-month campaign, the NCCHT
428                                                                                                                            Haiti AR_000909
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 534 of 729




                                                                                                                                                                 PAKISTAN
reported advertising and media activities featured artwork to convey             forced labor, to include excessive work hours, passport conﬁscation,
trafficking indicators, such as passport conﬁscation. Online, print, and         non-payment of wages, food deprivation, and psychological and sexual
broadcast media advertisements also featured media personalities,                abuse. Conversely, other workers enter Oman with full knowledge of their
Omani officials, and sports stars to call attention to trafficking indicators.   work obligations, but sponsors ultimately coerce them to work for little
In addition, the NCCHT coordinated with telecommunications companies             or no pay or in dire conditions under the credible threat of deportation.
to send awareness materials through SMS messages to the public and               In previous reporting periods, some workers arrived in Oman on tourist
launched a new social media account to raise awareness, available in             visas or by ﬁrst traveling to the United Arab Emirates (UAE) while willing
both Arabic and English. The government reported having bilateral                employers secured their Omani work visas, thereby circumventing
labor MOUs regarding migrant workers with Bangladesh, Egypt, India,              oversight of some workers’ home governments. Additionally, some
Iran, Morocco, Pakistan, the Palestinian Authority, Sri Lanka, Syria, and        victims originally intended to travel to the UAE but were subsequently
Vietnam; some included articles prohibiting unlawful labor recruitment           compelled to accept work in Oman, or vice-versa. Traffickers often began
and trafficking. Oman was signatory to a Gulf Cooperation Council-               recruitment in labor-source countries with some promising retail jobs in
wide labor agreement with the Philippines. Representatives of labor-             well-known areas, such as Dubai. After arriving in the UAE, traffickers
source country embassies that had labor-related agreements with the              transport migrant workers into Oman and force them to work for lower
government reported they experienced good cooperation with MOL and               wages and in austere conditions in the absence of legal contracts.
ROP on labor issues involving their respective nationals. In November            Informal labor intermediaries operate legally but without regulation
2021, the NCCHT held a meeting with the ROP and representatives of               in Oman, communicating anonymously via social media platforms to
major labor-source country embassies, including Bangladesh, India,               promise Omani sponsors inexpensive domestic labor at a fraction of the
Nepal, Pakistan, the Philippines, Sri Lanka, Tanzania, and Thailand, to          cost stipulated by the formal, well-established recruitment agencies.
discuss human trafficking trends in the country and explore potential
bilateral agreements. The government did not make efforts to reduce
the demand for commercial sex acts. The government provided anti-
trafficking training to diplomatic personnel.                                     PAKISTAN: TIER 2
TRAFFICKING PROFILE                                                              The Government of Pakistan does not fully meet the minimum standards
As reported over the past ﬁve years, human traffickers exploit foreign
                                                                                 for the elimination of trafficking but is making signiﬁcant efforts to do so.
victims in Oman. Oman’s migrant worker community comes primarily
                                                                                 The government demonstrated overall increasing efforts compared with
from South East and South Asia and, more recently, from African
                                                                                 the previous reporting period, considering the impact of the COVID-19
countries, including Ghana, Lesotho, Liberia, Nigeria, Sierra Leone, South
                                                                                 pandemic, if any, on its anti-trafficking capacity; therefore Pakistan was
Africa, Zambia, and Zimbabwe. For example, in March 2022, media
                                                                                 upgraded to Tier 2. These efforts included increasing investigations,
reported several Zimbabwean domestic workers had been subjected
                                                                                 prosecutions, and convictions, including increasing investigations and
to conditions of forced labor in Oman; the workers were lured through
                                                                                 prosecutions under the 2018 Prevention of Trafficking in Persons Act
fraudulent recruiters and, upon arriving to Oman, experienced longer than
                                                                                 (PTPA). The government referred more victims for protection services.
agreed upon working hours, passport conﬁscation, and non-payment of
                                                                                 The government’s provincial departments increased implementation
wages. In 2020, the government implemented pandemic-related travel
                                                                                 of standard operating procedures (SOPs) on victim identiﬁcation and
restrictions that limited migrant workers’ ability to enter and exit the
                                                                                 referral and trained more stakeholders. The government allocated
country; between March and October 2020, the government closed
                                                                                 resources for the implementation of the National Action Plan (NAP)
airports and land borders, limiting workers’ capacity to travel to Oman
                                                                                 and amended the PTPA to remove provisions that allowed ﬁnes in lieu
while stranding others within the country who may have experienced
                                                                                 of imprisonment for sex trafficking crimes with women and children as
increased risk of exploitation due to pandemic-related job loss or
                                                                                 victims. However, the government did not meet the minimum standards
non-payment of wages. Observers noted that due to “Omanization,”
                                                                                 in several key areas. The PTPA continued to allow a ﬁne in lieu of
a series of labor-related policies designed to prioritize Omanis for
                                                                                 imprisonment for sex trafficking crimes that involve male victims; law
employment over expatriates, and continued pandemic-related economic
                                                                                 enforcement efforts against labor trafficking remained inadequate
downturn, the number of migrant workers in Oman declined in 2020
                                                                                 compared to the scale of the problem; victim identiﬁcation remained
and further declined in 2021, effectively reducing the number of third-
                                                                                 inadequate; and for a third year, the government did not take adequate
country residents in Oman and possibly increasing their vulnerability
                                                                                 action against credible reports of official complicity in trafficking.
to exploitation given demand for labor. Foreign workers typically
                                                                                 There are reports of victims being re-victimized soon after rescue, and
migrate to Oman willingly and legally. Men generally seek employment
                                                                                 corruption continued to hinder anti-trafficking efforts. In Sindh, local
in construction, agricultural, and service sectors, while women often
                                                                                 officials continued to perpetrate bonded labor with impunity in brick
seek domestic worker jobs. Male migrant workers are typically from
                                                                                 kilns and on farms.
South Asia and are vulnerable to forced labor. Traffickers exploit female
victims, predominantly from Africa and South, Southeast, and East
                                                                                         PAKISTAN TIER RANKING BY YEAR
Asia, in forced labor and sex trafficking. Domestic workers who ﬂee
                                                                                     1
their employers are also vulnerable to sex trafficking. Some employers
reportedly “kick out” their domestic employees, who are consequently                 2
forced into commercial sex. Additionally, terminated migrant workers               2WL
who are unable to depart the country are at risk of exploitation, while
                                                                                     3
others who contract COVID-19 and require quarantine experience wage                        2015      2016      2017      2018   2019    2020   2021    2022
reduction because they cannot work.
Migrant workers seeking low-wage jobs continue to be at risk for
trafficking under the visa-sponsorship employment system in Oman,
which grants recruitment agencies and/or Omani visa sponsors signiﬁcant
                                                                                 PRIORITIZED RECOMMENDATIONS:
                                                                                 At both the federal and provincial levels, increase prosecutions and
control over workers’ residency and work visas and, therefore, their legal
                                                                                 convictions of all forms of trafficking, including bonded labor and sentence
status in the country. Although the government instituted initial reforms
                                                                                 perpetrators to signiﬁcant prison terms, including cases allegedly involving
of the sponsorship system during the previous reporting period, this
                                                                                 complicit officials. • Instruct labor departments to refer all suspected
system continues to give employers the power to dictate the status of
                                                                                 bonded labor cases to police for criminal investigation and increase
residency permits. Some unscrupulous recruitment agencies in Oman
                                                                                 training on the identiﬁcation of bonded labor cases. • Vigorously increase
and their sub-agents in labor-source countries mislead migrant workers
                                                                                 the number of bonded labor victims identiﬁed and referred to services
by providing fraudulent contracts with ﬁctitious wages and charging
                                                                                 through training of provincial police, labor inspectors, and social services
exorbitant recruitment fees. Some victims face working conditions
                                                                                 on SOPs. • Prevent support to non-state armed groups that unlawfully
signiﬁcantly worse than recruiting agencies promised. Traffickers
                                                                                 recruit or use child soldiers. • Amend the PTPA to remove penalty
subject some of these workers to employment practices that constitute
                                                                                                                                       Haiti AR_000910           429
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 535 of 729
PAKISTAN   provisions that allow ﬁnes in lieu of imprisonment for sex trafficking           PTPA were acquitted. Civil society noted concerns that perpetrators of
           crimes that involve male victims. • Continue to train officials on the           sex trafficking and forced labor are not punished rigorously. According
           implementing rules for the PTPA and increase registration of trafficking         to experts, victims often do not trust law enforcement and decide not
           related cases under the PTPA. • Ensure victims are not penalized for             to cooperate in investigations. Civil society experts have noted that
           acts traffickers compelled them to commit. • Increase the quality and            victims are often blamed by law enforcement for their situations and
           availability of trafficking-speciﬁc services, including for males. • Designate   their vulnerability is overlooked. The Federal Investigative Agency
           specialized prosecutors and judges to hear trafficking cases, including          (FIA) and provincial law enforcement agencies allocated a total of 1.1
           bonded labor. • Ensure there is clarity on central and state government          billion PKR ($6.2 million) for human trafficking investigations, including
           mandates in dealing with trafficking cases. • Expand services for bonded         21 million PKR ($118,000) for the FIA, 500 million PKR ($2.81 million)
           laborers, including shelter, identity documents, and legal assistance, and       for Sindh police, 231 million PKR ($1.3 million) for Punjab police, 169
           ensure they are informed of the law that discharges all bonded laborers          million PKR ($949,600) for Khyber Pakhtunkhwa (KP) police, and
           from any obligations to render such labor through awareness campaigns.           173 million PKR ($972,070) for Balochistan police. The FIA reported
           • Implement measures to address corruption in law enforcement and                approximately 781 personnel are deployed in ﬁeld units dedicated
           take steps to shield trafficking investigators and prosecutors from              to human trafficking and migrant smuggling investigations across
           external inﬂuence. • Inspect brick kilns in accordance with relevant laws        Pakistan. Despite the existence of the BLSA and increased forced
           regulating factories, refer suspected bonded labor to law enforcement,           labor investigations, bonded labor persisted, largely due to ineffective
           and prevent any loopholes that may be used to avoid inspection. • Take           enforcement of the law and powerful local officials as perpetrators.
           steps to eliminate all recruitment fees charged to workers, lift restrictions    The government did not report any investigations, prosecutions, or
           on female migrants, and increase protections of migrant workers in               convictions under the BLSA. International organizations previously
           destination countries. • Improve efforts to collect and accurately report        stated authorities did not adequately enforce the BLSA primarily due
           anti-trafficking data, including by province. • Establish a national hotline     to police inaction on complaints and lack of understanding of the law
           to report trafficking crimes and provide victim assistance and referral. •       by lower court judges. Moreover, in many provinces, including Sindh,
           Accede to the 2000 UN TIP Protocol.                                              the Department of Labor (DOL) handled bonded labor cases and could
                                                                                            at most administer ﬁnancial penalties. Traditionally, Punjab authorities
           PROSECUTION                                                                      have reported the majority of law enforcement efforts to address bonded
           The government increased law enforcement efforts. Various Pakistani              labor. While the BLSA mandated the creation of District Vigilance
           laws criminalized sex and labor trafficking. The 2018 PTPA as amended,           Committees (DVCs) in each province to ensure implementation of the
           criminalized sex and labor trafficking and prescribed penalties of up            BLSA, including reporting and ﬁling cases, DVCs have limited capacity
           to seven years’ imprisonment, a ﬁne of up to 1 million Pakistani rupees          to fulﬁll their mission. In Sindh province, DVCs are led by district deputy
           (PKR) ($5,620), or both, for trafficking crimes involving an adult male          commissioners, who are responsible for several administrative functions
           victim and penalties of up to 10 years’ imprisonment and a ﬁne of up to          in addition to reducing bonded labor. It was previously reported that
           1 million PKR ($5,620) for those involving adult female or child victims.        the government relied on often illiterate bonded labor victims to have
           These penalties were sufficiently stringent. By allowing for a ﬁne in            knowledge of the BLSA, proactively leave their landowners, and ﬁle
           lieu of imprisonment for sex trafficking involving adult male victims,           their own cases in court. Even when bonded laborers did so, the courts
           however, these penalties were not commensurate with those for other              either did not act on the claims or handled them administratively. As
           serious crimes, such as rape. The government continued to use other              a result, trafficking victims who came forward often faced retaliation
           sections of the Pakistan Penal Code (PPC) that criminalized some forms           from their exploitative employers.
           of human trafficking. For example, Section 371A and 371B criminalized the
                                                                                            The FIA remained the government’s lead reporting and coordinating
           buying and selling of a person for prostitution and prescribed penalties
                                                                                            entity on human trafficking. The agency focused on transnational crimes,
           of up to 25 years’ imprisonment and ﬁnes. Section 374 criminalized
                                                                                            while provincial police generally investigated domestic human trafficking
           unlawful compulsory labor and prescribed penalties of up to ﬁve years’
                                                                                            cases. FIA investigated human trafficking and migrant smuggling cases
           imprisonment, a ﬁne, or both. Section 366A criminalized procuration
                                                                                            through its 24 anti-trafficking law enforcement joint task forces at the
           of a girl younger than 18 and prescribed penalties of up to 10 years’
                                                                                            federal, provincial, and local levels. FIA officials, including all newly
           imprisonment and a ﬁne. Section 370 criminalized buying or disposing
                                                                                            inducted officers, received regular training on trafficking, including
           of any person as a slave and prescribed penalties of up to seven years’
                                                                                            differentiating between human trafficking and migrant smuggling,
           imprisonment and a ﬁne, and Section 371 criminalized habitual dealing
                                                                                            although civil society noted stakeholders continued to conﬂate both
           in slaves and prescribed penalties of up to life imprisonment and a
                                                                                            crimes. Civil society experts noted the number of cases registered under
           ﬁne if the imprisonment was less than 10 years. These penalties were
                                                                                            the PTPA remained low due to a lack of understanding of trafficking
           sufficiently stringent and, with respect to sex trafficking, commensurate
                                                                                            laws and of trafficking to identify and report the crime. The government
           with those prescribed for other grave crimes, such as rape. The federal
                                                                                            continued collaboration with international organizations and other
           Bonded Labor System Abolition Act (BLSA) criminalized bonded labor,
                                                                                            international partners on trainings for officials on investigations and
           with prescribed penalties ranging from two to ﬁve years’ imprisonment,
                                                                                            prosecutors on trafficking laws and on the recently enacted rules. The
           a ﬁne, or both; these penalties were sufficiently stringent. The provincial
                                                                                            FIA continued to work closely with provincial police, police training
           governments have adopted their own labor laws, including anti-bonded
                                                                                            colleges, federal and provincial departments, and judicial academies for
           labor laws, under a devolution process that began in 2010, and federal
                                                                                            awareness and capacity building on the implementation of trafficking
           laws apply until provinces enact corresponding laws.
                                                                                            laws and the implementing rules for the PTPA; 920 officials from various
           The government did not report law enforcement data by province,                  departments were trained by the FIA in 2021. Provincial governments also
           unlike in previous years. The government reported investigating 498              reported continuing training for officials on trafficking laws. FIA operated
           trafficking cases under the PTPA (130 for sex trafficking and 368 for            satellite offices at three embassies abroad in Greece, Iran, and Oman to
           forced labor)—compared with 21 total in the previous reporting period.           coordinate law enforcement efforts. NGOs previously noted provincial
           Authorities prosecuted 282 individuals for trafficking under the PTPA            police were reluctant to ﬁle First Information Reports, which are required
           (39 for sex trafficking and 243 for forced labor)—compared with 20 total         to launch criminal investigations into many crimes, including trafficking.
           in the previous year. Authorities did not convict any trafficking cases          Civil society noted stakeholders, particularly police, are not aware of
           under the PTPA during the reporting period, same as the previous year.           their mandate to address trafficking under the relevant legislation and
           The government reported investigating (1,831), prosecuting (1,254),              continue to register and investigate trafficking cases under different
           and convicting (542) cases under the PPC; however, the government                sections of the PPC or previous legal provisions. Consequently, these
           did not report which provisions were used, resulting in the possibility          cases are not officially reported as trafficking and the victims are not
           that some cases contained elements inconsistent with the international           provided assistance; provincial labor departments reportedly do not
           deﬁnition of trafficking. The government did not report any sentencing           refer suspected bonded labor cases to police for criminal investigations
           information for the convictions under the PPC. Seventy-one individuals           as trafficking cases. Furthermore, overburdened prosecutors and
           that were formerly convicted in the previous reporting period under the          judges, who frequently lacked adequate training, contributed to lengthy

 430                                                                                                                                     Haiti AR_000911
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 536 of 729




                                                                                                                                                             PAKISTAN
trafficking trials and low conviction rates, a problem endemic throughout     enforcement, labor inspectors, child protection bureaus, and social
the justice system. The government maintained bilateral law enforcement       welfare departments had SOPs to identify and assist victims of human
cooperation mechanisms, including information sharing, with multiple          trafficking and coordinate with relevant government departments, NGOs,
countries and worked closely with INTERPOL.                                   and other stakeholders. The government reported 1,960 individuals
                                                                              were trained on the SOPs. Sindh, Punjab, Balochistan, Azad Jammu
The government did not report any investigations, prosecutions, or
                                                                              and Kashmir, and KP province reported providing training to inspectors
convictions of government employees complicit in human trafficking
                                                                              on trafficking laws and SOPs on victim identiﬁcation, and inspection of
crimes; corruption and official complicity in trafficking crimes remained
                                                                              bonded labor and child labor. Some SOPs lacked procedures to identify
signiﬁcant concerns, inhibiting law enforcement action during the
                                                                              forced labor victims or were missing key indicators of bonded labor in
year. Civil society reported several officials from different districts in
                                                                              the screening checklists. The government reported stakeholders are
Punjab faced inquiries by the provincial labor department on alleged
                                                                              trained by the FIA, in collaboration with international organizations
complicity in trafficking in persons after failing to take appropriate
                                                                              on the procedures under the rules for the 2018 PTPA, which outlines
action regarding trafficking cases; the process remained ongoing at
                                                                              procedures for investigations of cases and identiﬁcation and referral
the end of the reporting period. During the previous reporting period,
                                                                              of victims.
the government provided material support to non-state armed groups
that recruited or used child soldiers. The government did not report          Provincial police referred 18,543 trafficking victims to the government
investigating, prosecuting, or convicting individuals for child soldiering    or NGOs for care, including 2,316 men, 14,607 women, and 1,595 boys—a
crimes. In July 2019, a 14-year-old child domestic worker reported            signiﬁcant increase from 11,803 trafficking victims referred to care in the
substantial indicators of trafficking by her employer, a parliamentarian in   previous reporting period. The government reported foreign victims are
Punjab, including sexual abuse and torture. Although police registered        legally entitled to the same beneﬁts as Pakistani citizens. Authorities
the charges, they did not arrest the parliamentarian, allegedly because       reported identifying and referring 25 child victims from Afghanistan
the provincial government did not allow them to do so. The government         and referred them for services from government-supported NGOs.
did not report taking any action on the case during the reporting period.     The government reported that 2,544 victims received services from
In October 2018, police removed a 10-year-old child domestic worker           the government or government-supported NGOs. Police reported
from the house of a Pakistani army major after allegations of torture         some victims declined government services. Victim services were not
and domestic servitude and arrested the army major’s husband. The             available for many trafficking victims, with a lack of available shelter and
government did not report whether the case against the employers              services in many regions, particularly for male victims. Government-run
continued or whether it began investigating an assistant sub-inspector        shelters for vulnerable women, including trafficking victims, were the
of police, whom it had initially suspended for failing to ﬁle a police        most predominately available service. The government reported 103
report in the case.                                                           shelters, welfare homes, and child protection units operated across the
                                                                              country, including for males and transgender individuals, compared with
The government did not report any efforts to address local government
                                                                              64 noted in the previous reporting period. NGOs and local politicians
officials’ reportedly endemic perpetuation of bonded labor, which
                                                                              continued to note the low quality of victim care at many of the shelters,
created a culture of impunity for criminals. Experts have estimated that
                                                                              including lack of basic resources, such as showers. Sindh provincial
4.5 million workers nationwide were trapped in bonded labor, primarily
                                                                              government opened a shelter for children in Karachi in 2021, including
in Sindh and Punjab provinces, and more than 70 percent of bonded
                                                                              for child victims of a local forced begging ring. The Child Protection
laborers were children. In Sindh province, a feudal system persisted, where
                                                                              Welfare Bureau (CPWB) removed 1,054 children (933 boys and 121
bonded laborers experienced exploitation and traffickers continued to
                                                                              girls) from begging across Punjab in 2021 and referred the children to
act with impunity as many landlords have political connections. Some
                                                                              protection services. Observers reported victims of bonded labor have
landlords use their inﬂuence to prohibit policies in favor of laborers,
                                                                              limited access to services, including shelter and legal assistance, as they
who reportedly are paid very little or not at all; a signiﬁcant number
                                                                              are often not considered trafficking victims. Due to limited availability
of women and girls subjected to bonded labor are also victims of sex
                                                                              of services, some victims are re-victimized and may also return to their
trafficking. In some cases, when bonded laborers attempted to escape
                                                                              exploitative situation. Child trafficking cases in which parents might
or seek legal redress, police refused to ﬁle a case and returned bonded
                                                                              have been complicit were of particular concern, since authorities often
laborers to their traffickers. NGOs previously reported some police
                                                                              returned potential child trafficking victims to their families immediately
colluded with farm and brick kiln owners to create fake criminal cases
                                                                              following identiﬁcation without effective methods to ensure families
against victims who attempted to escape from situations of bonded
                                                                              would not subject their children to trafficking again. Boys could access
labor. Some landowners restricted the movement of victims with armed
                                                                              government shelters in many provinces, and the government had
guards or sold bonded laborers for the price of their debts. Some police
                                                                              several victim shelters in the country that could house male victims of
reportedly assisted employers in kidnapping bonded laborers that
                                                                              trafficking. The government also had shelters that could house victims
authorities or NGOs had previously removed from exploitation. Police
                                                                              of crime of all genders, including trafficking victims. Both government
were reluctant to investigate cases of potential bonded labor when
                                                                              and NGO contacts noted that, due to cultural norms, male victims
wealthy and inﬂuential individuals, such as local politicians, were the
                                                                              were less likely to seek or accept assistance. Civil society continued
alleged perpetrators. Some police reportedly acted against trafficking
                                                                              to provide victim services without government support. In part due
cases only when pressured by media and activists. Observers alleged
                                                                              to cultural sensitivities, authorities may have penalized unidentiﬁed
police accepted bribes to ignore prostitution crimes, some of which may
                                                                              victims of sex trafficking with moral crimes for unlawful acts traffickers
have included sex trafficking, and border officials might have facilitated
                                                                              compelled them to commit. Section 6 of the PTPA protects victims
human trafficking. NGOs also reported police refused to register cases
                                                                              from being punished for unlawful acts committed as a result of being
of child sexual exploitation, including sex trafficking, unless victims
                                                                              trafficked. The government allocated 52 million PKR ($292,180) for
paid a bribe. Some garment factories reportedly paid monthly bribes
                                                                              projects aimed at providing access to education and services for youth
to DOL officials to avoid inspections; some factories in Sindh prevented
                                                                              at risk of child trafficking. Provincial Child Protections Units (CPUs)
government officials from conducting inspections.
                                                                              did not report identifying and referring any children in exploitative or
                                                                              vulnerable situations to NGO and government care, compared with
PROTECTION
                                                                              an unspeciﬁed number of victims identiﬁed in the previous reporting
The government slightly increased protection efforts overall. Provincial
                                                                              period. In KP, CPUs remained unstaffed and non-functioning due to
police reported identifying 21,253 trafficking victims, compared with
                                                                              lack of funding and hiring delays due to the pandemic.
32,022 trafficking victims in 2020 and 19,954 in 2019. This included
190 for sex trafficking, 536 for forced labor, and 20,527 for unspeciﬁed      The BLSA required districts to establish DVCs to ensure implementation
exploitation –16,950 women, 2,918 men, 1,310 boys, and 50 girls.              of the BLSA and provide assistance to bonded labor victims; Punjab had
The government did not report the number of bonded labor victims              DVCs in all 36 districts, Sindh reported it had 29 DVCs (compared with
identiﬁed, compared with 30 identiﬁed in the previous reporting period.       14 in 2021), and no information was provided for KP and Balochistan.
The government did not have uniform SOPs for victim identiﬁcation             Some officials previously noted DVCs frequently lacked the motivation,
and referral but reported 35 provincial departments, including law            information, and resources necessary to combat bonded labor and
                                                                                                                                Haiti AR_000912              431
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 537 of 729
PAKISTAN   failed to prioritize bonded labor. Punjab and KP offered free legal aid to     inadequate training to identify indicators of trafficking and insufficient
           bonded laborers who requested assistance. Provincial Labor Departments         funding to conduct inspections; the number of inspectors remained
           reportedly referred 233 victims to services in 2021. NGOs previously           insufficient to enforce labor laws effectively and access was limited.
           reported that because provincial DOLs, including in Sindh, have not            In Sindh province, the labor department employed 120 inspectors to
           registered hundreds of brick kilns, the corresponding thousands of brick       cover 30 districts and the department did not provide inspectors with
           kiln workers could not receive the social welfare beneﬁts guaranteed           funding to travel outside Karachi and Hyderabad to conduct inspections.
           under provincial laws. KP, Punjab, and Sindh initiated a program in            Observers reported inspectors often used their own personal resources
           collaboration with an international organization for registration of brick     to carry out inspections and factory owners often denied inspectors
           kilns, a total of 10,900 were registered by the end of the reporting period.   access to enter facilities. Experts reported the number and quality of
           However, brick kilns in KP often employed fewer than 10 workers to             inspections remained inadequate. Moreover, inspectors did not have
           avoid registration. NGOs noted most cases of bonded labor ended with           the authority to remove children or bonded laborers from exploitative
           ﬁnancial settlement in lieu of criminal prosecution, in part because police    situations. Despite high incidences of child and forced labor in agriculture
           and the judiciary often ceased support for victims after authorities had       and domestic work, the majority of provincial labor laws did not allow
           removed the victim from exploitation and did not guide them through the        labor inspectors to inspect these worksites for infractions. Inspectors
           process of pursuing a formal civil or criminal case. Bonded laborers whom      are not authorized to assess labor law infraction penalties—they take
           authorities had released from exploitation frequently had no alternative       note of the infractions, and labor courts assess the penalties. Despite
           employment or housing and sometimes returned to brick kilns or farms           estimates of more than 264,000 child domestic workers in Pakistan
           and assumed more debt. Those who lacked identity documents were                and commonplace reports of physical abuse, sexual abuse, and forced
           even more vulnerable since they could not access government services,          labor by employers, provincial labor laws and protections did not extend
           such as health care and food stipends. Some NGO-run shelters could             to adult or child domestic workers. In April 2021, Balochistan province
           accommodate bonded laborers, including entire families, but often had          passed the Balochistan Forced and Bonded Labor System Abolition
           insufficient resources to provide long-term housing.                           Act 2021 and the Balochistan Employment of Children Prohibition &
                                                                                          Regulation Act 2021, which banned hazardous work for children younger
           Government policy included witness protection for those cooperating
                                                                                          than age 14 and provided a two-to-ﬁve years’ imprisonment and ﬁne as
           in trafficking-related investigations; however, the government did not
                                                                                          punishment for forced labor. KP province passed the KP Home Based
           report how often it provided this support. Victims were not obligated
                                                                                          Workers Welfare and Protection Act 2021, setting the minimum age at
           to participate in investigations in order to receive protective services.
                                                                                          14 for domestic workers.
           KP province reported enacting a Witness Protection Act in 2021 that
           includes trafficking victims. The FIA introduced an e-investigations           Provinces continued to use labor laws to investigate, prosecute, and
           system during the reporting period, which will allow witnesses to record       convict offenders for child and exploitative labor crimes at brick kilns.
           their statements. Victims expressed reluctance to testify against their        However, because such laws only prescribed ﬁnes and authorities did
           traffickers due to threats of violence against them and their families.        not refer these cases to police for criminal investigations, suspected
           The PTPA and sections of the PPC allow courts to provide trafficking           traffickers did not receive sufficiently stringent sentences. The federal
           victims with restitution, but the government did not report any court          and provincial governments continued their nationwide child labor survey
           orders during the reporting period. The provinces of Punjab, Sindh, and        for a second year—the ﬁrst since 1996—that will reach approximately
           KP reported allocating free legal aid for victims; however, the province       250,000 households.
           did not report whether any victims received this assistance. The FIA,
                                                                                          The Bureau of Emigration and Overseas Employment (BEOE) issued
           in collaboration with an international organization and funding from
                                                                                          licenses to private employment promoters and monitored workers
           a foreign donor, launched a victim reception and facilitation center in
                                                                                          who migrated through licensed agencies. The Emigration Ordinance of
           Taftan, Balochistan, to receive irregular migrants; 19,575 migrants from
                                                                                          1979 prohibited the role of unregulated and unregistered sub-agents;
           Iran were provided services, including medical, food, and shelter, at the
                                                                                          however, sub-agents continued to operate widely with impunity. The
           center. Authorities reported the FIA screened migrants—no trafficking
                                                                                          government allowed licensed employment promoters to charge migrant
           victims were identiﬁed at the center. The FIA conducted trafficking
                                                                                          workers a service fee of 6,000 PKR ($33.71) for a welfare fund to
           screening of Pakistani and foreign national migrants at airports and
                                                                                          compensate workers’ families in case of the workers’ death abroad,
           borders; the FIA did not report identifying any trafficking victims.
                                                                                          and workers to pay all costs associated with overseas employment.
                                                                                          While the government stipulated employers should provide workers
           PREVENTION                                                                     with a receipt for these costs, the government did not specify any cost
           The government maintained efforts to prevent trafficking. The FIA
                                                                                          limit and did not consistently review migrant workers’ receipts. The
           convened regular meetings with each province on implementation of
                                                                                          government continued to ban female migrant workers younger than
           the NAP; the government, including at the provincial level, provided
                                                                                          35 from migrating for domestic work. Observers reported any ban on
           funding and resources for its implementation. Some provincial and district
                                                                                          female migration increased the likelihood such women would migrate
           Anti-Human Trafficking and Anti-Bonded Labour Monitoring Committees
                                                                                          illegally and therefore heighten their vulnerability to human trafficking.
           became operational during the reporting period to coordinate anti-
           trafficking efforts; increase general public awareness; collect data           The government operated a center in Swat, KP province, to provide
           on law enforcement efforts and victims identiﬁed and referred; and             services to former child soldiers—the number of children assisted was
           provide recommendations to inform future legislation. The government           not reported by the government. The government continued to host
           developed, with support from an international organization, and approved       approximately 1.3 million officially-registered refugees and as many as
           a National Action Plan on Business and Human Rights to prevent human           3.5 million Afghans in total. According to media reports, some Afghans
           rights violations in business. This included several recommendations to        who entered the country without a visa have been deported and
           address bonded labor. While experts agreed bonded labor remained a             many have been turned back from borders since the Taliban takeover
           signiﬁcant problem in Pakistan, outside of Punjab, provincial governments      of Afghanistan—it is not known if these Afghans were screened for
           lacked accurate data of the problem, which hampered targeted efforts           trafficking indicators before being sent back to Afghanistan. Some
           to address key exploitative districts and industries. Labor inspectors         Afghans opt for informal border crossings and hire the services of
           remained the front-line officials to inspect and identify forced labor—        smugglers, which puts them at severe risk of trafficking. Afghans without
           including bonded labor—in several sectors, including brick kilns, farms,       formal documentation often rely on informal networks in the communities
           and factories. The FIA, in collaboration with international organizations,     they settle in to meet their basic needs since they have limited access to
           conducted trainings for labor inspectors on SOPs for victim identiﬁcation.     work, housing, and education and lack legal protections, putting them
           Punjab reported 35,291 labor inspections from January 2021 through             at risk of trafficking. There is no law that allows refugees to work, but
           October 2021, including brick kilns and some unannounced inspections,          there is also no law prohibiting them from working—many refugees
           which resulted in 455 cases ﬁled and 156 arrests. Punjab reportedly            work in the informal economy and risk exploitation by employers.
           conducted 49,363 child labor inspections; 1,029 violations were found,         Between April and December 2021, with support from UNHCR, the
           which resulted in 982 referred for investigation. Labor inspectors received    government veriﬁed the identities of 1.28 million existing Afghan
                                                                                          refugees who arrived in the country before 2007 and provided them
 432                                                                                                                                   Haiti AR_000913
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 538 of 729




                                                                                                                                                                   PAKISTAN
with new smart ID cards, which facilitate access to health, education, and         NGO, the majority of children working in the streets of Pakistan are
ﬁnancial services. The government, in collaboration with international             subjected to forced begging and are vulnerable to sexual exploitation,
organizations, implemented human trafficking awareness campaigns                   including sex trafficking. According to media estimates, there are 1.5
on social media and public service announcements, which featured                   million children who are homeless in Pakistan, with a third of those
survivors. KP province organized three awareness sessions for police               in Sindh province that are often forced to beg by organized criminal
and inspectors on trafficking laws and victim protection. The Sindh                groups. Begging ringmasters sometimes maim children to earn more
province labor department organized awareness programs for brick kiln              money and sometimes force children to steal. Organized criminal groups
workers, agriculture workers, employers, and labor federations on the              force children into drug trafficking in Sindh and Balochistan. Due to the
Sindh Bonded Labor Abolition Act. The Migration Resource Center (MRC)              consistent lack of law enforcement efforts against those who exploited
conducted awareness campaigns on safe migration and the dangers                    children experiencing homelessness, including in forced labor and sex
of irregular migration, including the promotion of the MRC hotline; the            trafficking, traffickers operated openly and with impunity. Traffickers
center also conducted pre-departure training for outgoing migrants.                subject boys to sex trafficking around hotels, truck stops, bus stations,
The FIA reported an inter-agency task force intercepted 1,292 cases of             and shrines. NGOs reported the pandemic increased vulnerabilities of
border crossings involving potential trafficking victims. Civil society            children to sex trafficking. Traffickers have forced Afghan, Iranian, and
noted that the FIA was an effective institution but questioned its ability         Pakistani children into drug trafficking in border areas and Karachi. In
to gather data. Pakistan does not have a national human trafficking                previous years, widespread sexual exploitation of boys in one coal mining
hotline. The Ministry of Human Rights maintained a hotline to provide              community in Balochistan was reported. Boys as young as 6 years old
legal support for victims of human rights abuses, including trafficking;           from Balochistan, KP, and Afghanistan, are purportedly lured to work
it reported providing legal support to one victim of trafficking. Some             in the mines but subjected to sex trafficking; in some cases, parents
provinces reported hotlines where gender-based violence, worker                    are complicit in sending their children to the mines for sex trafficking.
complaints, or child protection issues could be reported; no trafficking           Within Pakistan, NGOs and police report some employers, including in
cases were reported. The government, including at the provincial level,            restaurants and factories, require boy child laborers to provide sexual
conducted research, in collaboration with international organizations, to          favors to obtain a job with the employer, to keep the job, and/or for
assess capacity gaps in victim protection and assistance, improve data             accommodation. An NGO previously reported multiple cases of forced
management, and conduct child labor surveys in Punjab and KP. The                  labor of students in government-run schools.
government did not make efforts to reduce the demand for commercial
                                                                                   Some factories pay monthly bribes to labor department officials to avoid
sex acts. The government reported providing pre-departure brieﬁngs
                                                                                   inspections. Illegal labor agents charge high recruitment fees to parents
on human trafficking to all its peacekeeping officers. The government
                                                                                   in return for employing their children, some of whom are subjected to
reported providing anti-trafficking training to its diplomatic personnel.
                                                                                   forced labor and sex trafficking. Some police accept bribes to ignore
Pakistan is not a party to the 2000 UN TIP Protocol.
                                                                                   prostitution crimes, some of which may include sex trafficking, and some
                                                                                   police may have refused to register cases of child sexual exploitation,
TRAFFICKING PROFILE                                                                including sex trafficking, without a bribe, according to NGOs. Some
As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                   Pakistani traffickers lure women and girls away from their families with
and foreign victims in Pakistan, and traffickers exploit victims from
                                                                                   promises of marriage, create fraudulent marriage certiﬁcates, and exploit
Pakistan abroad. The country’s largest human trafficking problem is
                                                                                   women and girls in sex trafficking, including in Iran and Afghanistan.
bonded labor, in which traffickers exploit an initial debt assumed by a
                                                                                   Traffickers target impoverished Christian communities to send women
worker as part of the terms of employment and ultimately entrap other
                                                                                   and girls to the People’s Republic of China (PRC) for arranged marriages.
family members, sometimes for generations. The practice remained
                                                                                   Upon arrival in the PRC, hundreds of Pakistani women reported their
widespread. Traffickers, including local government officials, force
                                                                                   “husbands” forced them into commercial sex. PRC nationals employed
men, women, and children to work primarily in bonded labor in Sindh in
                                                                                   in Pakistan at worksites affiliated with the PRC’s Belt and Road Initiative
agriculture and in both Sindh and Punjab in brick kilns. Traffickers also
                                                                                   are vulnerable to forced labor. In other cases, traffickers, including some
force men, women, and children to work to pay off exaggerated debts
                                                                                   extra-judicial courts, use girls as chattel to settle debts or disputes. Some
in other sectors in Sindh, Punjab, Balochistan, and KP in agriculture and
                                                                                   traffickers force victims to take drugs and exploit the drug addiction to
brick kilns and, to a lesser extent, in ﬁsheries, mining, and textile-, bangle-,
                                                                                   keep them in sex trafficking.
and carpet-making. In agriculture, traffickers force workers to labor in the
agricultural sectors of wheat, cotton, and sugarcane, among other areas.           Past reporting indicates the government provided material support
Traffickers often did not provide workers with access to their expenditure         to non-state armed groups that operated in Pakistan and Afghanistan
and earnings receipts, so traffickers control how much money they earn,            and recruited or used child soldiers. Non-state militant groups have
the accrual of interest on their debt, and when they have repaid the debt.         kidnapped children as young as 12, purchased them from destitute
Landlords exploit widespread illiteracy among workers and manipulate               parents, coerced parents with threats or fraudulent promises into giving
accounting records to continue the cycle of bonded labor. Many feudal              their children away, or recruited children from madrassas, and have
landlords and brick kiln owners, who are traffickers that employ bonded            forced children to spy, ﬁght, and conduct suicide attacks in Pakistan
laborers, are local government officials or use their affiliation with             and Afghanistan. Traffickers have promised Pakistani boys admittance
political parties to protect their involvement in bonded labor. Some               to Afghan religious schools but sold them to members of the Afghan
landlords use armed guards to restrict bonded laborers’ movements,                 security forces for Bacha bazi, a practice in which men exploit boys for
and others buy and sell workers among one another. In some kilns that              social and sexual entertainment.
employ entire families, kiln owners have sold bonded laborers to repay             Pakistani men and women migrate overseas voluntarily, particularly to
a family member’s outstanding debt. Observers reported employers in                Saudi Arabia, the United Arab Emirates (UAE), other Gulf states, and
Sindh are moving carpet- and bangle-making productions into private                Europe, for employment. The majority of Pakistani employees labor in
homes to further increase the difficulty in monitoring labor conditions.           ﬁelds including agriculture, domestic service, driving, and construction
Reports estimate more than 70 percent of bonded laborers in Pakistan               work. Traffickers exploit some of them in labor trafficking, including
are children. Traffickers also target lower-caste Hindus, Christians, and          via false or misleading job offers, such as sham recruitment agencies,
Muslims speciﬁcally for forced and bonded labor.                                   falsely advertised terms or conditions of employment, fake modeling
Traffickers buy, sell, rent, and kidnap children for forced labor in               advertisements, and high recruitment fees charged by illegal labor agents
begging, domestic work, work in small shops, and child sex trafficking.            or sub-agents of licensed Pakistani overseas employment promoters, who
According to an international report, there are 8.5 million domestic               in several instances have entrapped Pakistanis in bonded labor or sex
workers in Pakistan, including many children. Media reports cases                  trafficking, including in the Gulf countries. In 2021, foreign countries had
of employers forcing children as young as age 7 into domestic work,                thousands of Pakistanis detained abroad, a large number of them in Saudi
where they are often subjected to severe physical abuse, including                 Arabia, for criminal or immigration violations. In many cases, observers
torture, and sexual abuse; several government officials were among                 alleged foreign law enforcement had arrested workers for fraudulent
the suspected perpetrators. According to a prominent child rights                  documents procured by recruitment agents or for lack of documents

                                                                                                                                     Haiti AR_000914               433
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 539 of 729
PALAU   because their employers had withheld them—indicators of forced labor.              Establish and implement witness conﬁdentiality procedures. • Increase
        Traffickers have exploited Pakistani girls in sex trafficking in Kenya and         anti-trafficking awareness among vulnerable populations, including
        have forced Pakistani adults, including those with disabilities, to beg            foreign migrant worker communities. • Establish a mechanism for the
        in the UAE. Pakistani boys are vulnerable to sex traffickers in Greece.            systematic monitoring of government anti-trafficking efforts.
        Some traffickers, including organized criminal groups, subject Pakistani
        adults and children to forced labor in domestic work, construction,                PROSECUTION
        and begging in Iran; some traffickers have targeted Pakistanis with                The government increased law enforcement efforts. Sections 2106-2108
        disabilities for forced begging. Pakistan is a destination country for             of the criminal code criminalized sex trafficking and labor trafficking
        men, women, and children subjected to forced labor, particularly from              and prescribed penalties of up to 25 years’ imprisonment, a ﬁne of up
        Afghanistan, Bangladesh, and Sri Lanka. Traffickers exploit women and              to $250,000, or both if the victim was an adult and up to 50 years’
        girls—and, to a lesser extent, boys—from Afghanistan, Iran, and other              imprisonment, a ﬁne of up to $500,000, or both if the victim was
        Asian countries in sex trafficking in Pakistan. LGBTQI+ individuals face           younger than age 18. These penalties were sufficiently stringent, but
        violence and discrimination, as the law criminalizes same-sex conduct,             by allowing for a ﬁne in lieu of imprisonment for sex trafficking crimes
        which increases their risk of trafficking. Refugees and stateless persons          these penalties were not commensurate with penalties prescribed for
        from Afghanistan, Bangladesh, and Burma, as well as religious and ethnic           other serious crimes, such as rape.
        minorities such as Christians, Hindu Dalits, and Hazaras, are particularly
                                                                                           The Ministry of Justice’s Anti-Human Trafficking Unit (AHTU) investigated
        vulnerable to traffickers in Pakistan. The government does not recognize
                                                                                           three forced labor cases, compared with three potential trafficking case
        the existence of stateless persons. Traffickers have exploited a small
                                                                                           investigations (one of forced labor and two of sex trafficking) in the
        number of Rohingya refugees in forced labor in Pakistan.
                                                                                           previous reporting period. Authorities determined two of the three cases
                                                                                           did not meet trafficking standards and proceeded with either closing
                                                                                           the case or investigating non-trafficking related charges. In addition,

         PALAU: TIER 2 WATCH LIST                                                          the government continued four case investigations initiated in prior
                                                                                           years. Authorities closed three of the four cases due to insufficient
                                                                                           evidence or expired statute of limitations; the fourth case was ongoing.
        The Government of Palau does not fully meet the minimum standards                  The Attorney General’s Office prosecuted two alleged labor traffickers,
        for the elimination of trafficking but is making signiﬁcant efforts to do          compared with no prosecutions in the previous reporting period. Courts
        so. These efforts included convicting a trafficker for the ﬁrst time since         convicted one labor trafficker during the reporting period, the ﬁrst
        2018, convicting a government official for corruption in trafficking-related       trafficking conviction since 2018. Courts convicted a former president of
        crimes, initiating two labor trafficking prosecutions, establishing an             a state legislature on labor trafficking for non-payment of wages under
        interagency working group, and conducting public awareness campaigns.              Section 2006 of the Penal Code, violation of the Code of Ethics and
        In addition, the government ﬁnalized and implemented a national action             the Uniﬁed Tax Act, and terroristic threatening and sexual harassment
        plan (NAP) and hired an investigator and victim advocate for its Anti-             under the Penal Code. Courts sentenced the trafficker to six months’
        Human Trafficking Unit. However, the government did not demonstrate                incarceration, seven years’ probation, and a $28,000 ﬁne and ordered
        overall increasing efforts compared with the previous reporting period,            the trafficker to pay $2,516.40 in restitution; these penalties were well
        even considering the impact of the COVID-19 pandemic on its anti-                  below those allowed under the criminal code. Lenient sentences of a
        trafficking capacity. The government remained without standard                     year or less created potential safety problems for trafficking victims
        operating procedures (SOPs) for victim identiﬁcation and referral to               and weakened deterrence. In 2020, the government charged a former
        services, leading to insufficient identiﬁcation and protective services.           state governor with trafficking-related charges, including “promoting
        A court issued a lenient sentence to a convicted trafficker, weakening             prostitution” for operating a massage parlor for commercial sex purposes.
        deterrence, undercutting nationwide efforts to ﬁght trafficking, and               In January 2022, courts convicted the former official on non-trafficking
        creating potential security and safety concerns for trafficking victims—           related charges, including misconduct in public office and violations of
        particularly for victims who cooperated with the investigation and                 the Code of Ethics, Foreign Investment Act, and the Uniﬁed Tax Act.
        prosecution. Therefore Palau remained on Tier 2 Watch List for the                 Courts sentenced the former official to ﬁve years’ probation, suspended
        second consecutive year.                                                           18 months’ incarceration, $13,500 in criminal ﬁnes, and $1,246 in civil
                                                                                           penalties and ordered the defendant to pay for the return ﬂight of
                 PALAU TIER RANKING BY YEAR                                                an individual suspected of being involved in commercial sex at the
             1                                                                             massage parlor. Observers noted official complicity continued to play a
                                                                                           signiﬁcant role in facilitating trafficking crimes, hindering law enforcement
             2
                                                                                           efforts to combat trafficking. The government did not report any other
          2WL                                                                              investigations, prosecutions, or convictions of government employees
             3                                                                             complicit in human trafficking crimes.
                    2015     2016      2017   2018    2019     2020     2021     2022
                                                                                           Authorities cooperated with foreign governments on ongoing
                                                                                           international trafficking cases. The government, in partnership with an
                                                                                           international organization, developed anti-trafficking training curriculum
        PRIORITIZED RECOMMENDATIONS:                                                       for police cadets and trained police officers on how to identify and
        Increase efforts to investigate, prosecute, and convict traffickers,               investigate cases of child exploitation. In addition, the government
        including complicit officials, under trafficking laws and seek sentences           provided specialized human trafficking investigation training to police
        with signiﬁcant prison terms for traffickers. • Develop, disseminate,              officers assigned to the AHTU. The government reported providing
        and train officials on SOPs for the proactive identiﬁcation of trafficking         trauma-informed training to the Victims of Crime Advocate (VOCA),
        victims and their referral to protection services. • Increase efforts to           AHTU, law enforcement officials, and other stakeholders who were
        identify victims through proactive screening of vulnerable populations,            actively involved in providing support to victims. Despite these trainings,
        such as migrant workers and individuals in commercial sex. • Amend                 observers stated officials generally continued to lack an understanding
        anti-trafficking laws to remove sentencing provisions that allow ﬁnes in           of trafficking. The government reported it redirected or limited resources
        lieu of imprisonment for sex trafficking crimes and allow the prosecution          among law enforcement as a result of the pandemic; this may have
        of victims for unlawful acts traffickers compelled them to commit. •               adversely affected the government’s ability to investigate or prosecute
        Enforce the anti-trafficking laws punishing recruiters, employment                 trafficking crimes.
        agents, and labor officials for illegal practices that facilitate trafficking. •
        Increase resources for and develop victim protection services, including           PROTECTION
        long-term shelter options, interpretation services, and medical and                The government maintained inadequate efforts to protect victims.
        psychological care. • Create and implement a system to proactively offer           The government identiﬁed one female foreign victim of forced labor,
        foreign trafficking victims job placements and work visa extensions. •             compared with identifying one victim of labor trafficking the previous

 434                                                                                                                                     Haiti AR_000915
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 540 of 729




                                                                                                                                                             PALAU
reporting period. The AHTU, with assistance from an international            period. The government could offer ad hoc short-term legal alternatives
organization, continued to develop SOPs for victim identiﬁcation and         to the removal of foreign victims to countries where they might face
referral but reported pandemic-related travel restrictions delayed           hardship or retribution; the attorney general or the special prosecutor
progress; consequently, the government remained without SOPs for             prosecuting the case could designate victims as “vulnerable,” making
victim identiﬁcation and referral to services. Authorities reported          them eligible for alternate employment and accommodation assistance.
using an interview guide designed to assist in interviewing and avoid
re-traumatizing trafficking victims. Due to a lack of formal identiﬁcation   PREVENTION
procedures, authorities likely detained or deported some unidentiﬁed         The government increased efforts to prevent trafficking. The AHTU, a
trafficking victims. Observers reported only the most egregious cases        unit within the Ministry of Justice’s Bureau of Public Safety’s Division of
of trafficking were likely to come to the attention of authorities because   Transnational Crime, coordinated all national efforts to combat human
of the lack of proactive identiﬁcation procedures and foreign migrant        trafficking. The government, with assistance from an international
workers’ reluctance to complain to authorities out of fear that such         organization, ﬁnalized and enacted a new 2022-2025 Anti-Human
complaints would result in job termination and deportation. The              Trafficking NAP; the government dedicated funding and resources
government reported, due to the pandemic and lack of employment              to the implementation of the NAP. The AHTU was responsible for the
in Palau, an increase in foreign migrant workers who returned to their       implementation of the 2022-2025 NAP, identifying and supporting
countries of origin; some of these migrants may have been unidentiﬁed        victims, investigating alleged human trafficking crimes, liaising with
trafficking victims. While the 2005 Anti-Smuggling and Trafficking           prosecution authorities, and data collection; the AHTU received funding
Act granted victims immunity from prosecution for the “act of people         from the National Congress. In August 2021, the government hired an
trafficking,” the vague language permitted prosecution for unlawful          investigator and a victim advocate for the AHTU. In January 2022,
acts traffickers compelled victims to commit, such as commercial             the government established the interagency Working Group to share
sex or petty crime. In the previous reporting period, the government         information regarding human trafficking cases, identify systemic issues
prosecuted and convicted potential victims for commercial sex acts,          and government policies that may inadvertently beneﬁt traffickers,
violation of work permits, and immigration violations.                       and coordinate the collection of human trafficking data. The Minister
                                                                             of Justice served as the chair of the Working Group, which included
The government could provide medical treatment, counseling, temporary
                                                                             representatives from 11 government agencies and an international
job placement, transportation, and temporary shelter accommodation to
                                                                             organization. In February 2022, the Working Group invited four NGOs
trafficking victims; the government reported providing a temporary job
                                                                             and community organizations to join.
placement permit for one victim, compared with providing temporary
employment and shelter services to one victim in the previous reporting      In partnership with an international organization, the government held
period. AHTU investigators could employ local interpreters as needed in      awareness campaigns targeting school-aged children and the public.
Bengali, Mandarin, and Tagalog. As in prior reporting periods, the lack      The government did not report conducting educational or public
of support services reportedly led some victims to leave the country         awareness campaigns for employers or labor recruiters. The government
rather than pursue legal recourse. The government funded an NGO to           reported a reduction in radio airtime availability for trafficking awareness
assist trafficking victims with legal counseling and representation before   campaigns and a decrease of in-person outreach campaigns due to the
labor and immigration hearings, compared with no funding provided the        pandemic. The government could track trafficking data in a spreadsheet
previous reporting period; the government last provided approximately        provided by an international organization; however, the government
$15,000 to an NGO for these purposes in 2018. The government did not         was unable to collect and collate the data due to redirected or limited
report allocating any additional funding for victim assistance, compared     resources caused by the pandemic. The government authorized workers
with spending $500 on victim assistance to remove an identiﬁed victim        to move to different employers and granted temporary placement
from an outer island in the previous reporting period.                       permits for workers experiencing hardship, problems with legal due
                                                                             process, abuse, or other extenuating circumstances. In response to the
The Office of Labor Compliance (Labor Compliance) could provide
                                                                             pandemic, the government implemented an employment assistance
victims with temporary employment placements; the government
                                                                             program that allowed foreign workers who had lost employment to
reported assisting one victim with obtaining new employment, compared
                                                                             ﬁnd new employment and obtain a work permit and legal residency
with assisting one identiﬁed victim the previous reporting period.
                                                                             status. The government did not make efforts to reduce the demand
Labor Compliance conducted labor inspections to ensure compliance
                                                                             for commercial sex acts.
of labor laws and anti-trafficking provisions; the government did not
report opening any investigations as a result of the labor inspections.
In December 2021, the government established a memorandum of                 TRAFFICKING PROFILE
understanding between Labor Compliance and AHTU to ensure the                As reported over the past ﬁve years, human traffickers exploit domestic
agencies shared trafficking information; in addition, Labor Compliance       and foreign victims in Palau. Palau’s foreign population, about one-third
reported all trafficking-related information to an interagency Anti-Human    of the country’s population of 18,000, is especially at risk for trafficking.
Trafficking Working Group (Working Group). The VOCA, who reported            According to an NGO, only one-third of male respondents to a survey
directly to the Minister of Justice, could provide support to victims of     believe that trafficking takes place in Palau. Undocumented immigrants
serious crime, including human trafficking, and liaise with investigators    and migrant workers with low levels of education and English language
on behalf of the victim to negotiate the victim’s participation in the       proﬁciency have an increased vulnerability to trafficking. Filipino,
investigation. In addition to the VOCA, the AHTU employed a dedicated        Bangladeshi, Nepali, Thai, Korean, and the People’s Republic of China
victim advocate who worked to assist trafficking victims. The VOCA and       (PRC) national adults pay thousands of dollars in recruitment fees
victim advocate cooperated and coordinated to provide assistance to          and willingly migrate to Palau for jobs in domestic service, agriculture,
trafficking victims. The government did not require participation of         restaurants, or construction; upon arrival, traffickers exploit some in
victims in trafficking investigations; however, authorities reported one     conditions substantially different from what had been presented in
victim participated in an investigation during the reporting period. The     contracts or recruitment offers, and some become trafficking victims.
judicial system did not keep victim identities conﬁdential due to the        Women from the Philippines and the PRC are recruited to work in Palau
requirement to testify in court rather than utilizing written or video-      as waitresses or clerks, but traffickers exploit some in sex trafficking in
recorded testimonies. In prior reporting periods, alleged traffickers        karaoke bars or massage parlors. Foreign workers on ﬁshing boats in
threatened witnesses.                                                        Palauan waters also experience conditions indicative of human trafficking.
                                                                             Cuban nationals working in Palau may have been forced to work by the
The AHTU continued to staff a trafficking hotline with the VOCA and          Cuban government. Natural disasters and climate-induced displacement
with on-call AHTU lead investigators who spoke Palauan and English;          signiﬁcantly increases Palauans’ vulnerability to trafficking due to a loss
the government did not report how many calls the hotline received or if      of livelihood, shelter, or family stability. Official complicity plays a role
any calls led to investigations. In addition, Labor Compliance operated a    in facilitating trafficking. Authorities have investigated government
dedicated 24-hour hotline that workers could call with concerns about        officials—including labor, immigration, law enforcement, and elected
their employment situation. Courts ordered one convicted trafficker to       officials—for complicity in trafficking crimes.
pay restitution to one victim, compared with none the previous reporting
                                                                                                                               Haiti AR_000916               435
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 541 of 729
PANAMA                                                                                  trafficking broadly to include illegal adoption without the purpose
          PANAMA: TIER 2                                                                of exploitation, inconsistent with international law. The government
                                                                                        charged some sex traffickers with non-trafficking offenses, which
         The Government of Panama does not fully meet the minimum standards             carried lighter sentences. Article 180 criminalized commercial sexual
         for the elimination of trafficking but is making signiﬁcant efforts to do      exploitation with penalties of seven to nine years’ imprisonment and
         so. The government demonstrated overall increasing efforts compared            a ﬁne of 5,200 balboas ($5,200). Article 186 criminalized purchasing
         to the previous reporting period, considering the impact of the COVID-19       commercial sex acts from a child and prescribed penalties of ﬁve to
         pandemic on its anti-trafficking capacity; therefore Panama remained on        eight years’ imprisonment.
         Tier 2. These efforts included identifying more victims; convicting and        Authorities initiated 10 trafficking investigations (ﬁve for sex trafficking,
         stringently penalizing two traffickers under the anti-trafficking statute;     three for labor trafficking, and two for unspeciﬁed exploitation) involving
         seeking survivor input in victim protection efforts; supporting victims’       four suspects, compared with initiating 29 trafficking investigations (21
         right to restitution from their traffickers; undertaking a cumulative review   for sex trafficking and eight for labor trafficking) involving 16 suspects
         of its own anti-trafficking efforts; and providing additional food and         in 2020 and ﬁve trafficking investigations (four for sex trafficking and
         hygiene support to trafficking victims during the pandemic. However,           one for labor trafficking) involving 12 suspects in 2019. Officials reported
         the government did not meet the minimum standards in several key               ongoing investigations in ﬁve cases from previous reporting periods.
         areas. Authorities investigated fewer traffickers, and, despite proactive      The government prosecuted two alleged sex traffickers, compared with
         screening efforts, government statistics indicated most trafficking victims    prosecuting three alleged traffickers in 2020, 10 in 2019, and 12 in 2018.
         self-reported their exploitation. The government did not amend the anti-       One accused trafficker awaited trial in a prosecution initiated prior to
         trafficking law to remove the requirement of movement to constitute a          2021. The government convicted two sex traffickers, compared with
         trafficking crime, which perpetuated misconceptions about trafficking          convicting three traffickers in 2020, 13 in 2019, and eight in 2018. The
         and conditioned the government’s anti-trafficking efforts, such that law       courts convicted both traffickers under the anti-trafficking law—rather
         enforcement inadequately investigated internal trafficking cases and           than under related statutes carrying lesser penalties, as occurred in
         plausibly mis- or under-identiﬁed internal trafficking victims.                two of three convictions secured in 2020—and sentenced one sex
                                                                                        trafficker, convicted of trafficking, kidnapping, and extortion, to 23 years’
                                                                                        imprisonment; the other convicted sex trafficker received a sentence
                 PANAMA TIER RANKING BY YEAR                                            of 20 years’ imprisonment.
             1
                                                                                        Observers reported that a lack of procedural guidelines for judges
             2
                                                                                        and prosecutors unfamiliar with trafficking casework occasionally
           2WL                                                                          hindered successful convictions. Officials reported that courts were open
             3                                                                          during the reporting period, but, as a pandemic-mitigation measure,
                    2015     2016     2017     2018   2019   2020     2021    2022      they conducted a mix of in-person and virtual hearings; in November,
                                                                                        courts returned fully to in-person hearings. However, the government
                                                                                        continued to divert officers and other staff from regular duties, including
                                                                                        investigating trafficking crimes, to enforce curfews and other restrictions.
         PRIORITIZED RECOMMENDATIONS:                                                   The government’s pandemic-mitigation measures, including mandatory
         Remove the requirement of movement from the statutory deﬁnition                curfews, remained in place until November. Periodic media reports
         of trafficking in persons under the criminal code. • Proactively identify      continued to cite previously reported allegations of sex trafficking in
         trafficking victims, including among Panamanians exploited within the          National Secretariat for Children, Adolescents, and the Family (SENNIAF)
         country, migrants, Indigenous communities, domestic workers, and               shelters; the government reported it investigated these allegations and
         other vulnerable groups. • Vigorously investigate and prosecute, and,          found no evidence to support them. The government did not report
         as appropriate, convict traffickers, including those involved in child         further investigations, prosecutions, or convictions of government
         sex tourism. • Amend the anti-trafficking law to include force, fraud,         employees complicit in human trafficking offenses.
         or coercion as essential elements of the crime rather than aggravating
                                                                                        The government cooperated with Colombian officials on one trafficking
         factors. • Allocate dedicated funding for specialized victim services,
                                                                                        investigation and two information exchanges. Panamanian officials
         including through the special fund for trafficking victims and monetary
                                                                                        collaborated with their Colombian counterparts to trace a trafficking
         support for civil society organizations. • Train law enforcement and
                                                                                        suspect who fled from Panama to Colombia in 2018; this joint
         prosecutors to investigate and prosecute traffickers using the trafficking
                                                                                        investigation culminated in the arrest of six alleged traffickers operating in
         offense rather than a lesser offense. • Establish and fund a specialized
                                                                                        Colombia, Ecuador, and Panama. Panama and Colombia maintained joint
         trafficking shelter. Increase training for government officials in victim
                                                                                        mechanisms for investigating trafficking cases and providing services
         identiﬁcation and referral, including proactive screening of vulnerable
                                                                                        to victims under a 2018 anti-trafficking memorandum of understanding
         populations and individuals in commercial sex. • Sentence convicted
                                                                                        (MOU); officials held one coordination meeting under the MOU in 2021.
         traffickers to adequate penalties consistent with the law, which should
                                                                                        The government offered several trainings for law enforcement and other
         involve signiﬁcant prison terms. • Inform foreign victims of their rights
                                                                                        officials, on par with the trainings offering in previous years, including
         as trafficking victims, including access to temporary residency permits
                                                                                        instructions on victim identiﬁcation for border and customs officials
         and services. • Develop and disseminate a procedural manual to guide
                                                                                        and workshops on investigative techniques applicable to trafficking
         prosecutors and judges in trafficking cases. • Train judges to understand
                                                                                        case work for National Police officials. The government funded most
         the importance of ﬁnancial restitution in trafficking cases. • Use existing
                                                                                        trainings but accepted ﬁnancial support from international organizations
         laws and regulations to revoke the licenses of fraudulent recruiters.
                                                                                        for some offerings; due to the pandemic, the government conducted a
                                                                                        mix of virtual and in-person trainings in 2021.
         PROSECUTION
         The government slightly decreased prosecution efforts. Article 456 of
         the penal code did not criminalize all forms of sex trafficking and labor
                                                                                        PROTECTION
                                                                                        The government increased protection efforts. Law enforcement and
         trafficking because it required movement to constitute a trafficking
                                                                                        other entities could identify potential trafficking victims; separately, the
         offense. It prescribed penalties of 15 to 20 years’ imprisonment for
                                                                                        government’s National Anti-Trafficking Commission (“the commission”)
         trafficking offenses involving an adult victim and 20 to 30 years’
                                                                                        determined whether potential victims should be considered “preliminary”
         imprisonment for those involving a child victim or other aggravating
                                                                                        or “conﬁrmed” victims. The commission reported there were 16 conﬁrmed
         circumstances; these penalties were sufficiently stringent and, with
                                                                                        trafficking victims identiﬁed in 2021, compared with six victims in 2020
         respect to sex trafficking, commensurate with penalties prescribed for
                                                                                        and 34 in 2019. Of the 16 conﬁrmed victims identiﬁed in 2021, seven were
         other serious crimes, such as rape. Inconsistent with international law,
                                                                                        sex trafficking victims and nine were labor trafficking victims. Despite
         the law established the use of force, fraud, or coercion as aggravating
                                                                                        the existence of trafficking internal to Panama, authorities identiﬁed
         factors rather than essential elements of the crime. The law deﬁned

 436                                                                                                                                   Haiti AR_000917
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 542 of 729




                                                                                                                                                            PANAMA
just one Panamanian victim; most of those identiﬁed were foreign              for services to trafficking victims: $1,500, compared with $3,800 in
nationals from Colombia, Costa Rica, Nicaragua, and Venezuela. All seven      2020 and $54,540 reported in 2019.
victims of labor trafficking were Nicaraguan. The government reported
                                                                              There were no dedicated shelters for trafficking victims. As a result,
it could take several months for the commission to conﬁrm potential
                                                                              authorities commonly placed victims in hotels and covered the cost of
victims’ status. Victims could access shelter and other services while
                                                                              the hotel rooms. The government could also refer victims to migrant
their status was pending. In 2021, the commission ruled on the status
                                                                              or women’s shelters run by NGOs. In 2021, the government reported
of 23 victims, including some identiﬁed in previous reporting periods;
                                                                              providing shelter to one labor trafficking victim through UPAVIT,
it granted 19 potential victims, including three identiﬁed in previous
                                                                              compared with two victims provided shelter in 2020. Victims frequently
reporting periods, full status as trafficking victims.
                                                                              elected to return to their home countries or reside with family or
Officials reported challenges in identifying victims under the                friends rather than stay in hotels, potentially inhibiting victim-witness
government’s pandemic-mitigation measures, including strict curfews           support in pending trafficking cases. The government could refer child
that limited victims’ freedom of movement. Officials also noted bar and       trafficking victims to SENNIAF and its network of shelters administered
brothel closures spurred traffickers to exploit sex trafficking victims       by NGOs and religious organizations. However, there were credible
in private residences and other settings; as the government relaxed           allegations, substantiated by independent investigation, of abuse and
these policies, traffickers used both old and new tactics, broadening         low standards of care in SENNIAF facilities. The Attorney General’s office
the scope of officials’ investigative work. The commission proactively        reported 26 ongoing investigations into abuse in SENNIAF shelters
supplied an identiﬁcation form to assist officials who encountered            at year’s end. Although the government approved new measures
potential trafficking victims, including law enforcement, border              to guarantee children’s right to adequate care, observers expressed
officials, and healthcare workers; however, observers noted the form’s        concerns SENNIAF’s budget was insufficient to support restructuring
distribution was incomplete, leaving some potential victims vulnerable        or other largescale efforts to improve the overall provision of care
to misidentiﬁcation. The government reported screening vulnerable             and reduce residents’ risk of suffering abuse, which heightened their
populations, including irregular migrants, for trafficking indicators but     vulnerability to trafficking. However, officials reported there were no
did not identify any trafficking victims during routine screenings in         allegations of abuse levied against the shelter most commonly serving
2021. Despite screening efforts and law enforcement investigations,           child trafficking victims.
the government did not proactively identify most victims; instead,
                                                                              Foreign national victims were eligible for short-term humanitarian
government statistics suggested officials relied on victims to report their
                                                                              visas, temporary residency permits extendable up to six years, and
own exploitation in roughly 50 percent of cases. Observers suggested
                                                                              work permits. The government issued 22 provisional humanitarian visas
officials under-identiﬁed Indigenous trafficking victims due to the remote
                                                                              and seven work permits to trafficking victims, compared with 17 visas
location and limited services within semi-autonomous Indigenous
                                                                              and 11 work permits in 2020. Officials also renewed work permits for 12
communities. Further, officials likely under- or mis-identiﬁed internal
                                                                              additional victims but did not report issuing any permanent residency
trafficking victims while operating under a legal framework that required
                                                                              permits to trafficking victims for the second consecutive year, compared
movement to constitute a trafficking crime. The government had
                                                                              with 13 in 2019. The government began drafting an executive decree to
guidelines for victim identiﬁcation and protection, which outlined the
                                                                              establish a visa category allowing foreign national trafficking victims
formal procedures, internal processes, and training materials used by
                                                                              to petition for their dependents to immigrate to Panama; commission
referring officials and the Technical Unit for Attention and Protection
                                                                              officials reported input from trafficking survivors spurred the initiative.
of Victims and Witnesses (UPAVIT).
                                                                              The government helped repatriate one victim exploited in Panama,
Officials referred all victims to UPAVIT, which provided immediate care,      compared with supporting the repatriation of one victim in 2020. The
including shelter, medical care, and legal assistance, to victims of all      government made available specialized interview rooms to allow victims
crimes and physical protection to victims, witnesses, and experts. In         to provide testimony privately to minimize the risk of re-traumatization
2021, UPAVIT provided services to 19 victims, including several victims       and allowed prosecutors to request hearings be closed to the public.
identiﬁed in previous reporting periods, as well as 15 dependents of          Prosecutors utilized these specialized interview rooms and other
victims; by contrast, UPAVIT provided services to 25 victims in the           accommodations to facilitate several victims’ testimonies during the
previous reporting period. Based on victim circumstances, UPAVIT              reporting period. Officials funded and coordinated with Costa Rican
could provide shelter, food, clothes, health services and medication, and     law enforcement to facilitate a foreign national victim’s testimony in
psychological and social assistance; separately, the commission could         the case against her trafficker. The government seized assets derived
provide victims with career training and assistance in changing migratory     from human trafficking activities and allocated the proceeds to services
status. Thirteen victims received therapy and counseling services. The        for trafficking victims. In one case, authorities seized $19,742 in assets,
government trained representatives from the Public Ministry and civil         to be set aside for victim compensation. The law allowed victims to
society on victim protection and services; it also trained government         request restitution from their traffickers during criminal cases or to ﬁle
sign language interpreters to recognize trafficking indicators and identify   civil suit to obtain compensation; lawyers from the commission were
and refer victims to services.                                                available to assist victims seeking restitution or compensation. Labor
                                                                              trafficking victims could also claim compensation from their traffickers
The government maintained the Special Fund for Victims of Trafficking
                                                                              through a separate administrative process overseen by the Ministry
in persons, as mandated by the anti-trafficking law, to subsidize victim
                                                                              of Labor. The government reported no victims made new requests
services provision with assets seized from traffickers; a commission
                                                                              for restitution or compensation in 2021, compared with eight victims
sub-unit had responsibility for managing the fund. However, seized
                                                                              who ﬁled for restitution in criminal cases in 2020. Courts ordered
assets were insufficient to fully fund victim service provision, and the
                                                                              compensation for one Costa Rican trafficking victim in a civil case; at
government did not otherwise allocate funding speciﬁc to the anti-
                                                                              the conclusion of the reporting period, the judge had not announced
trafficking commission or victim services. As a result, agencies drew
                                                                              the ﬁnal amount the trafficker would be ordered to pay. The government
from their general budgets to fund the anti-trafficking commission and
                                                                              reported prosecutors continued to support seven victims’ petition for
the provision of food, shelter in hotels, transportation, and psychological
                                                                              compensation in an ongoing case from 2019. No labor trafficking victims
and legal services for potential victims. During the reporting period,
                                                                              claimed compensation via the Ministry of Labor’s administrative process,
the commission consulted with the Ministry of Economy and hired an
                                                                              compared with 16 victims who did so in 2020. The commission’s on-staff
accountant to monitor seized assets and streamline mechanisms to
                                                                              lawyers could also support trafficking victims in other legal matters;
operationalize them for commission use. The government-funded, NGO-
                                                                              during the reporting period, commission lawyers helped a trafficking
administered program providing hospitality sector vocational training
                                                                              victim ﬁght an eviction and advised another on migratory status.
to trafficking victims remained dormant; eight victims participated in
the program in 2020 before it was suspended due to the pandemic.
As a special measure during the pandemic, the government continued
                                                                              PREVENTION
                                                                              The government maintained prevention efforts. The anti-trafficking
to provide additional support to victims in the form of food or hygiene
                                                                              commission was the lead entity responsible for coordinating the
deliveries. In 2021, UPAVIT reported further decreases in expenditures
                                                                              government’s anti-trafficking efforts; the Ministry of Security’s
                                                                                                                               Haiti AR_000918              437
                       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 543 of 729
PAPUA NEW GUINEA   anti-trafficking office led the commission’s day-to-day activity. The         agriculture, mining, restaurants, door-to-door peddling, and other sectors
                   commission hosted 17 interagency coordination meetings, and its               using debt bondage, false promises, exploitation of migratory status,
                   sub-units met frequently throughout 2021, compared with holding no            restrictions on movement, and other means. Traffickers have forced
                   coordination meetings in 2020. The commission was responsible for             victims to consume illegal drugs as a coercive measure. Traffickers
                   implementing the 2017-2022 national anti-trafficking action plan, which       typically exploit sex trafficking victims in bars and brothels; however,
                   expired during the reporting period; the commission began drafting, but       they increasingly exploit these victims in beauty parlors, spas, houses
                   did not ﬁnalize, a 2022-2027 action plan. The commission produced,            rented by traffickers, and private homes. Traffickers utilize social media
                   with the support of an international organization, a cumulative review        and messenger apps to recruit victims. Men from the United States have
                   of the government’s anti-trafficking efforts based on archival records,       been investigated as child sex tourists in Panama. Government officials
                   allowing it to quantify key statistics such as trafficker characteristics.    have been investigated and arrested for alleged involvement in trafficking.
                   The government carried out awareness campaigns outlined in the
                   action plan with the assistance of international organizations. In 2020,
                   these campaigns included distributing ﬂyers in public venues, a series
                   of virtual awareness seminars targeting teachers and students, and             PAPUA NEW GUINEA: TIER 2
                   numerous anti-trafficking spots on television and radio channels. The
                   government operated several hotlines, including a national police hotline      WATCH LIST
                   to receive tips and a 311 number for the public to report possible cases
                   or request inspections of businesses, but it did not report the number        The Government of Papua New Guinea does not fully meet the minimum
                   of trafficking-related calls received. The government did not report          standards for the elimination of trafficking but is making signiﬁcant
                   whether the online anonymous portal for reporting criminal activity,          efforts to do so. These efforts included identifying a child sex trafficking
                   including trafficking, remained active.                                       victim and referring the victim to protective services; for the ﬁrst time
                   The Ministry of Labor collected regular reports from all registered           in four years, the government initiated new prosecutions against four
                   recruitment agencies; the ministry launched a digital platform for            alleged traffickers. However, the government did not demonstrate overall
                   recruitment agency licensing, which included a public registry where          increasing efforts compared with the previous reporting period, even
                   workers could verify an agency’s licensure. National laws and regulations     considering the impact of the COVID-19 pandemic on its anti-trafficking
                   provided the authority to revoke the licenses of fraudulent recruiters        capacity. The government did not convict any traffickers, and it did not
                   and those using recruitment fees; in practice, the government did             directly provide shelter or services to victims or support NGOs that did
                   not proactively enforce these regulations, instead relying on formal          so. Endemic corruption and complicity among officials, particularly in
                   complaints from workers to prompt investigations into unlawful                the logging and ﬁshing sectors, continued to facilitate vulnerability to
                   recruitment practices. The National Migration Service did not respond         sex trafficking and forced labor among foreign and local populations.
                   to a 2020 Public Ministry recommendation to update standard operating         Despite limited understanding of trafficking among law enforcement
                   procedures to ensure border officials verify the validity of overseas         officials, the government did not report any anti-trafficking training
                   adoptions to detect traffickers using fraudulent documentation to pose as     activities. A lack of ﬁnancial and human resources dedicated to anti-
                   the adoptive parents of child trafficking victims. The government did not     trafficking efforts, as well as very low awareness among government
                   make efforts to reduce the demand for commercial sex acts. Panamanian         officials and the public, continued to hinder progress. The government did
                   schools continued to rely on virtual instruction as a pandemic-mitigation     not update existing victim identiﬁcation standard operating procedures
                   measure, curtailing school-based trafficking awareness programs. The          (SOPs) or allocate dedicated funding and resources to its national action
                   Ministry of Education conducted a series of virtual trafficking awareness     plan (NAP). Therefore Papua New Guinea remained on Tier 2 Watch
                   events for teachers in 2021. The government reported the Ministry             List for the second consecutive year.
                   of Education’s in-person anti-trafficking “liaison” program remained
                   dormant in 2021 and 2020. By comparison, officials conducted 49 anti-
                                                                                                          PAPUA NEW GUINEA TIER RANKING BY YEAR
                   sexual exploitation workshops and several anti-trafficking seminars for
                                                                                                      1
                   teachers through these programs in 2019.
                                                                                                      2
                   TRAFFICKING PROFILE                                                             2WL
                   As reported over the past ﬁve years, human traffickers exploit domestic            3
                   and foreign victims in Panama, and, to a lesser extent, traffickers exploit               2015      2016     2017      2018    2019   2020   2021   2022
                   victims from Panama abroad. Most identiﬁed trafficking victims are
                   foreign adults exploited in sex trafficking, especially women from South
                   and Central America. However, traffickers also exploit Panamanians
                   in sex trafficking in Panama, the Caribbean, and Central and South            PRIORITIZED RECOMMENDATIONS:
                   America. Government reporting indicates more than two-thirds of               Update, disseminate, and systematically implement existing SOPs for
                   convicted traffickers are foreign nationals, primarily from the People’s      victim identiﬁcation, referral, and protection and widely train police,
                   Republic of China (PRC), Colombia, and Venezuela; roughly half of             immigration, and customs enforcement officers on the SOPs. • Investigate
                   traffickers are men. Cuban nationals working in Panama may have been          and prosecute trafficking crimes and sentence convicted traffickers to
                   forced to work by the Cuban government. Traffickers exploit children          signiﬁcant prison terms, including victims’ family members and officials
                   in forced labor, particularly domestic servitude, and sex trafficking         who facilitate or directly beneﬁt from trafficking. • Develop and ﬁnalize
                   in Panama. Children living in shelters are vulnerable to recruitment          an anti-trafficking NAP for 2022-2023 and allocate dedicated funding
                   by traffickers. Traffickers take advantage of transgender individuals’        and resources to its implementation. • Allocate resources, including
                   increased vulnerability—stemming from limited economic opportunity,           dedicated staff, to government agencies to ﬁnalize and implement SOPs.
                   entrenched discrimination, and demand for commercial sex acts from            • Amend the criminal code to criminalize child sex trafficking without
                   this population—to exploit them in commercial sex. Limited economic           elements of force, fraud, or coercion, consistent with international law.
                   opportunity and entrenched discrimination also contribute to increased        • In collaboration with civil society, screen for trafficking indicators and
                   vulnerability to labor trafficking for the wider LGBTQI+ community.           prevent penalization for crimes committed as part of their trafficking
                   Venezuelan and Nicaraguan migrants are increasingly at risk for both          by victims among vulnerable groups, including internally displaced
                   sex and labor trafficking. Traffickers exploit some adults from Central       persons, People’s Republic of China (PRC) nationals employed at
                   America who transit Panama en route to the Caribbean or Europe in             worksites affiliated with PRC-based companies, communities located
                   sex trafficking or forced labor in their destination countries. Traffickers   near commercial forestry operations, children in communities marked by
                   exploit Indigenous women from rural, impoverished border areas of             inter-tribal conﬂict, and individuals—including children—apprehended
                   the country in forced labor. Traffickers exploit men from Central and         for illegal ﬁshing, desertion from foreign-registered ﬁshing vessels, illegal
                   South America, the PRC, and Vietnam in forced labor in construction,          logging, illegal gold panning, or immigration crimes, and ensure all

   438                                                                                                                                            Haiti AR_000919
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 544 of 729




                                                                                                                                                                 PAPUA NEW GUINEA
identiﬁed victims are referred to appropriate services. • Institute a policy   action against employees accused of crimes, such as sexual abuse
framework recognizing that traffickers often compel victims to commit          and exploitation. Customs officials reported that lack of manpower,
crimes and increase intra-governmental coordination to protect victims         monitoring and surveillance equipment, and funding impaired anti-
from arrest, deportation, or other punishment for crimes their traffickers     trafficking monitoring efforts of forced labor or sex trafficking on vessels
compelled them to commit. • Ensure all identiﬁed victims receive               in Papua New Guinea waters.
state-funded assistance, regardless of their participation in prosecution
                                                                               Observers reported the government redirected resources and had
proceedings, and include long-term assistance, particularly long-term
                                                                               reduced institutional capacity among law enforcement and other
reintegration support, such as education, counseling, and job-placement.
                                                                               government agencies as a result of the pandemic, which may have
• Increase coordination and collaboration between Immigration and
                                                                               adversely affected the government’s ability to detect and address
Citizenship Authority (ICA) and the Department of Justice and Attorney
                                                                               trafficking. The government reported a reduction in the number of cases
General (DJAG) to investigate and prosecute trafficking cases. • Increase
                                                                               heard by the courts because of interruptions in regular operations due
oversight and regulation of the logging and ﬁshing sectors, including
                                                                               to the pandemic. National and provincial officials’ limited understanding
by dedicating funding and resources to increasing manpower and
                                                                               of trafficking, including anti-trafficking legislation, trafficking indicators,
surveillance monitoring equipment and penalizing government officials
                                                                               and investigative techniques for trafficking crimes, continued to
for taking bribes, which hinder anti-trafficking efforts in these sectors.
                                                                               hinder effective law enforcement activity. Enforcement agencies and
• Increase protective services for victims of trafficking in partnership
                                                                               most government offices remained weak as a result of underfunding,
with NGOs and international organizations. • Educate government
                                                                               corruption, cronyism, lack of accountability, and a promotion system
stakeholders on the process to designate an individual as a trafficking
                                                                               based on patronage. Observers reported an underfunded and
victim and simplify the process for doing so. • Increase collaboration
                                                                               undertrained police force exacerbated the country’s pervasive threat
with civil society groups, the private sector, and religious and community
                                                                               of violence and lawlessness. In addition, observers ascribed poor
leaders to raise awareness of and reduce demand for commercial sex
                                                                               prosecutorial efforts to widespread observance of customary justice
acts and forced labor, especially of children. • Take steps to eliminate
                                                                               practices, fear of retribution, distrust of law enforcement among victims,
recruitment or placement fees charged to workers by labor recruiters
                                                                               and insufficient resources and political will among law enforcement to
and ensure any recruitment fees are paid by employers. • Strengthen the
                                                                               conduct investigations, particularly in rural areas. The government did
National Anti-Human Trafficking Committee (NAHTC) by regularizing its
                                                                               not report any anti-trafficking training activities.
meetings and functions, designating senior officials to represent their
agencies, increasing awareness of and participation in the committee
                                                                               PROTECTION
by civil society and protection stakeholders, and allocating resources
                                                                               The government maintained inadequate efforts to protect victims. The
for its activities. • Accede to the 2000 UN TIP Protocol.
                                                                               government had SOPs for victim identiﬁcation and referral and reported
                                                                               their modest implementation, but authorities continued to lack a written
PROSECUTION                                                                    procedural guide for implementation as recommended in the NAP, and
The government slightly increased enforcement efforts. The Criminal
                                                                               general awareness of the SOPs among front-line officers remained limited.
Code Amendment of 2013 criminalized most forms of sex trafficking
                                                                               In addition, the SOPs did not contain adequate measures to screen for
and all forms of labor trafficking and prescribed penalties of up to 20
                                                                               trafficking indicators among LGBTQI+ individuals or adults arrested
years’ imprisonment. These penalties were sufficiently stringent and,
                                                                               for commercial sex. The government reported movement restrictions,
with respect to sex trafficking, commensurate with penalties prescribed
                                                                               and the closure of government offices due to the pandemic hindered
for other serious crimes, such as rape. Inconsistent with international
                                                                               its efforts to collect victim information and conduct screening.
law, the law required a demonstration of force, fraud, or coercion to
constitute a child sex trafficking offense and therefore did not criminalize   Authorities identiﬁed one child sex trafficking victim, compared with
all forms of child sex trafficking.                                            three potential trafficking victims in the previous reporting period.
                                                                               Authorities arrested a second potential trafficking victim in connection
In August 2021, authorities conducted raids on seven suspected
                                                                               with an ongoing suspected trafficking prosecution; the government
commercial sex establishments and, as a result, detained three alleged
                                                                               did not report conducting a victim assessment. The government did
traffickers and charged them with child sex trafficking crimes under
                                                                               not report providing any protective services compared with providing
Sections 208C and 229 of the Criminal Code. The government also
                                                                               limited medical and child protective services to three children in the
initiated an investigation and prosecution of one suspected trafficker in a
                                                                               previous reporting period. An NGO provided the child victim with shelter
separate case. This compared with no new investigations in the previous
                                                                               and counseling services; civil society organizations, without ﬁnancial
reporting period. For the ﬁrst time in four years, the government initiated
                                                                               or in-kind support from the government, could provide medical and
prosecutions against these four alleged traffickers. The government
                                                                               short-term shelter services to victims. Women and child victims could
did not provide an update to an ongoing prosecution of an alleged
                                                                               receive services through NGO-run gender-based violence programs,
trafficker begun in the previous reporting period. The government did
                                                                               and while male victims could receive ad hoc services through NGOs,
not report any trafficking convictions, compared with one the previous
                                                                               there were no government or NGO services speciﬁcally tailored to the
year. The government did not report on sentences handed down to a
                                                                               needs of trafficking victims.
trafficker convicted of six counts of trafficking and one count of rape
in the previous reporting period. Authorities reported detaining 15            The government did not have a structured plan to identify or refer victims
foreign nationals, from Bangladesh and the PRC, for allegedly owning           among vulnerable communities or among communities displaced as a
and running commercial sex establishments; however, the government             result of conﬂict or natural disasters. Logging and mining sites primarily
did not report conducting further investigations into the commercial           operated in remote regions with limited or no government oversight.
sex establishments or whether their operation involved the commission          ICA reported allegations of mistreatment and pay discrepancies among
of potential trafficking crimes, and it deported the foreign nationals.        workers while conducting immigration enforcement spot checks at
The government did not report any new investigations, prosecutions,            logging camps; however, the government did not report taking action
or convictions of government employees complicit in human trafficking          against illegal logging sites or make information available on any efforts
crimes but did investigate officials for crimes that increased foreign         to identify sex or labor trafficking victims at such sites. In previous
nationals’ vulnerability to trafficking. Authorities arrested six suspended    reporting periods, the government provided law enforcement agencies
ICA officers, three from the visa and passports division, who allegedly        rapid screening forms and related victim identiﬁcation training; the
engaged in misconduct regarding visa applications. Corruption and              government did not report continuing this practice during the current
official complicity in trafficking crimes remained signiﬁcant concerns,        reporting period, and police continued to rely upon foreign expert
inhibiting law enforcement action during the year. Government officials        assistance to identify victims.
reported that law enforcement accepting bribes from incoming vessels           The government did not operate or support an anti-trafficking hotline,
in Papua New Guinea waters and logging companies has greatly                   and reports of suspected trafficking crimes had to be made either in
hindered anti-trafficking efforts in those industries. Logging companies       person at a police station or emailed to the NAHTC and the Department
bribed officials to bypass inspections and not take law enforcement            of Justice and Attorney General; therefore, the ability to report trafficking
                                                                                                                                   Haiti AR_000920               439
                       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 545 of 729
PAPUA NEW GUINEA   cases for law enforcement action was limited. The victim identiﬁcation            Marriages in Papua New Guinea commonly involve a “bride price” of
                   procedures included guidance for protecting foreign victims from                  money or chattel paid to the wife’s family by the husband’s family, who
                   punishment for immigration crimes the victims’ traffickers compelled              use the bride price as debt to compel the woman to remain in abusive or
                   them to commit; however, authorities likely punished or deported some             servile marriages. Some parents reportedly transfer their children—some
                   victims for such crimes due to ineffective victim identiﬁcation, poor             as young as 12—to other families via informal paid adoption arrangements
                   interagency coordination, and the requirement for a court to formally             that, absent monitoring or registration practices, increase their risk of
                   determine an individual as a victim of trafficking. In prior years, authorities   trafficking; this is particularly prevalent among girls, whom adoptive
                   arrested and prosecuted children who were forced to pan for gold in               families often seek out as potential sources of future bride-price income.
                   areas where this activity was illegal; the government last reported efforts       Young girls sold into polygamous marriages may be forced into domestic
                   to screen these children for trafficking indicators in 2017. Observers            service for their husbands’ extended families or exploited in sex trafficking.
                   reported that a law allowing officials to apprehend foreign ﬁshermen              Within the country, traffickers lure children and women with promises of
                   for desertion in port may have dissuaded some victims of forced labor             legitimate work or education to travel to different provinces, where they
                   from escaping and reporting their abuses. The law provided legal                  are exploited in sex trafficking or domestic servitude. Men reportedly
                   alternatives to the removal of foreign victims to countries where they            engage in transactional sex with girls as young as 15 in exchange for
                   may face hardship or retribution, but the government did not report               money, gifts, or mobile phone credits. Tribal leaders reportedly trade
                   offering this protection to any victims in 2021. The law lacked provisions        the exploitative labor and service of girls and women for guns, to forge
                   for victims to seek compensation through civil suits.                             political alliances, and to settle disputes with one other. Traffickers
                                                                                                     subject Papua New Guinean children to forced criminality in illegal
                   PREVENTION                                                                        gold panning. Boys as young as 12 reportedly experience conditions
                   The government maintained inadequate efforts to prevent trafficking.              indicative of forced labor as porters. Adolescent boys are also increasingly
                   In March 2022, the NAHTC met once and continued to lack sufficient                involved in inter-tribal and intercommunal armed conﬂict, possibly
                   resources and commitment from the government. As in past years,                   via forcible recruitment by local leadership. Individuals—particularly
                   the government did not appoint speciﬁc committee members to                       women and girls—displaced as a result of frequent natural disasters
                   represent relevant agencies and effectively excluded non-governmental             and communal conﬂict, are at higher risk of trafficking due to poor or
                   stakeholders. Some key interagency stakeholders and responsible senior            nonexistent IDP camp security and loss of livelihoods. Asylum-seekers
                   government officials were unaware of its existence. The government                detained in Papua New Guinea for attempting to reach Australia by
                   reported updating the dates of its expired NAP but did not report                 boat may have increased vulnerability to forced labor or sex trafficking
                   reviewing or modifying the plan; in addition, the government did not              due to displacement, economic instability, and lack of access to basic
                   report allocating dedicated funding or resources to its implementation.           resources and community support networks. International observers
                   The government did not report conducting any anti-trafficking awareness           report increasing intercommunal tensions resulting from displacement
                   campaigns.                                                                        have led to more Papua New Guinean women and girls facing “sorcery”
                                                                                                     accusations from men in an attempt to psychologically coerce them into
                   The government continued to lack effective policies to regulate foreign
                                                                                                     forced labor or sex trafficking.
                   labor recruiters or hold them liable for fraudulent recruitment practices.
                   With no more than two labor inspectors per province, inadequate                   Malaysian and PRC-based logging companies arrange for some foreign
                   resources, and endemic corruption, the government continued to not                women to enter the country voluntarily with fraudulently issued tourist or
                   take adequate steps to prevent forced labor in the logging industry.              business visas; this practice may also be present at other internationally
                   Authorities reportedly issued forestry permits in violation of preexisting        owned logging sites. After their arrival, many of these women—from
                   land ownership rights and without further oversight, leading to the               countries including Indonesia, Malaysia, Thailand, People's Republic of
                   displacement and heightened vulnerability of Indigenous communities               China (PRC), and the Philippines—are turned over to traffickers who
                   and to increased risk of labor trafficking among forestry workers. The            transport them to logging and mining camps, ﬁsheries, and entertainment
                   government did not report providing anti-trafficking training to its labor        sites and exploit them in sex trafficking and domestic servitude. Sex
                   inspectors. Furthermore, the government did not report its regulation             traffickers also reportedly exploit foreign children in Papua New Guinea.
                   of recruitment fees, which continued to contribute to debt-based                  Men from the PRC may have been forced to work in Papua New Guinea
                   coercion among foreign workers. The government did not provide anti-              at projects run by PRC-based companies. Traffickers force PRC national,
                   trafficking training to its diplomatic personnel. The government did not          Malaysian, and local men to work at commercial mines and logging
                   provide anti-trafficking training to its troops prior to their deployment         camps. Burmese, Cambodian, PRC national, Malaysian, Vietnamese,
                   as peacekeepers. The government did not make efforts to decrease the              and local men and boys seeking work on ﬁshing vessels go into debt to
                   demand for commercial sex acts. Papua New Guinea was not a party                  pay recruitment fees, which vessel owners and senior crew manipulate
                   to the 2000 UN TIP Protocol.                                                      to coerce them to continue working indeﬁnitely through debt bondage
                                                                                                     in Papua New Guinea’s exclusive economic zone and in other maritime
                   TRAFFICKING PROFILE                                                               territories, particularly in tuna ﬁshing. These ﬁshermen may face little
                   As reported over the past ﬁve years, human traffickers exploit domestic           to no pay, contract switching, wage garnishing or withholding, harsh
                   and foreign victims in Papua New Guinea, and traffickers exploit victims          working and living conditions, restricted communication, and threats of
                   from Papua New Guinea abroad. Traffickers use Papua New Guinea as a               physical violence as coercive tactics to retain their labor. Often with direct
                   transit point to exploit foreign individuals in other countries. Traffickers      government support, companies reportedly compel these workers to
                   exploit foreign and local women and children in sex trafficking and in            carry out illegal logging and ﬁshing activities, making them vulnerable to
                   forced labor in domestic service, the tourism sector, manual labor, forced        arrest. Government officials reportedly facilitate trafficking by accepting
                   begging, and street vending. According to international NGO research              bribes to allow undocumented migrants to enter the country or ignore
                   conducted in previous years, approximately 30 percent of Papua New                trafficking situations, and some may exploit sex trafficking victims or
                   Guinean sex trafficking victims are children younger than the age of 18,          procure victims for other individuals in return for political favors or votes.
                   with some as young as 10 years old. Immediate family or tribe members             Corruption among forestry officials in particular may abet forced labor
                   reportedly exploit children in sex trafficking or forced labor. Some              among loggers and sex trafficking in communities situated near logging
                   parents force children to beg or sell goods on the street, and some sell          sites; some of these officials reportedly accept bribes to issue logging
                   or force their daughters into marriages or child sex trafficking to settle        permits in violation of environmental standards and land ownership
                   debts, resolve disputes between communities, or support their families.           rights, leading to displacement and concomitant loss of livelihood that
                   The closing of traditional travel routes due to pandemic-related border           make some communities more vulnerable to exploitation.
                   control restrictions and the imposition of new and complex requirements
                   for entry may have increased vulnerability to trafficking among foreign
                   migrant workers. Anecdotal reports show an increase in online child sexual
                   exploitation, some of which may be child sex trafficking, in connection
                   with an increased use of the internet during the pandemic.

   440                                                                                                                                              Haiti AR_000921
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 546 of 729




                                                                                                                                                                 PARAGUAY
                                                                                under such circumstances. Article 139 of the penal code, which relates
 PARAGUAY: TIER 2                                                               to pimping crimes, could be used to prosecute child sex trafficking
                                                                                offenses; it prescribed penalties of eight years’ imprisonment for
The Government of Paraguay does not fully meet the minimum standards            offenses involving children, which are signiﬁcantly lower than the
for the elimination of trafficking but is making signiﬁcant efforts to do so.   penalties described under the anti-trafficking law.
The government demonstrated overall increasing efforts compared with            The PNPTU and the Anti-Trafficking Unit (ATU) shared responsibility
the previous reporting period, considering the impact of the COVID-19           for investigating trafficking crimes; the ATU also acted as the lead
pandemic on its anti-trafficking capacity; therefore Paraguay remained          prosecuting agency. In 2021, authorities initiated 53 trafficking
on Tier 2. These efforts included identifying more than 150 trafficking         investigations—24 for sex trafficking, 24 for forced labor, and ﬁve for
victims; coordinating with foreign counterparts to arrest traffickers           undeﬁned exploitation—compared with 106 investigations in 2020
and identify victims; formalizing a screening protocol to identify child        and 141 in 2019. Officials continued to investigate 196 ongoing cases
trafficking victims at international border crossings; and continuing           initiated in previous years. Authorities ﬁled preliminary charges against
to grow a grant program supporting trafficking survivors. However,              four suspected sex traffickers, compared with 21 in 2020 and 53 in 2019.
the government did not meet the minimum standards in several key                There were 25 ongoing prosecutions initiated in previous reporting
areas. The government did not establish the dedicated anti-trafficking          periods, involving 16 accused traffickers, compared with 105 ongoing
agency or funding source required by law and reported limited efforts           prosecutions in 2020. Judges convicted three traffickers, one for sex
to implement the national action plan (NAP) to combat trafficking.              trafficking and two for labor trafficking. This compared with three
Victim services remained inadequate; there were no shelter options              trafficking convictions in 2020. These traffickers received sentences
for male victims, and due to capacity limitations and lack of funding,          ranging from two to 10 years’ imprisonment.
the government only provided shelter to a subset of female trafficking
                                                                                Anti-trafficking law enforcement operated with low budgetary allocations
victims. Cooperation with civil society remained inconsistent, use of           for a fourth consecutive reporting period. The PNPTU operated with 41
the identiﬁcation protocol and referral mechanism was ad hoc, and the           specialized trafficking officers in 2021; this compared with the same
police anti-trafficking unit was under-resourced. The anti-trafficking law      number of officers in 2020, 36 officers in 2019, and 38 in 2018. Observers
did not align with international law, which stymied efforts to effectively      indicated the unit needed more staff and additional offices in high-risk
hold traffickers accountable.                                                   areas, such as the international airport, to adequately perform its duties.
                                                                                In 2021, the ATU cooperated with authorities from Argentina, Brazil,
        PARAGUAY TIER RANKING BY YEAR
                                                                                Chile, France, and Spain on 29 suspected trafficking investigations,
    1                                                                           resulting in the arrest of 13 alleged traffickers (ﬁve in Paraguay, eight
                                                                                in other countries) and the identiﬁcation of 40 Paraguayan trafficking
    2
                                                                                victims exploited abroad. The government reported pandemic funding
  2WL                                                                           reallocations created additional obstacles for anti-trafficking efforts;
    3                                                                           lack of transportation and travel funding, for example, limited anti-
          2015      2016     2017       2018   2019   2020    2021    2022      trafficking officials’ mobility, curtailing investigations, access to training
                                                                                opportunities, and other law enforcement activity.
                                                                                The government did not report any investigations, prosecutions, or
                                                                                convictions of government employees complicit in human trafficking
PRIORITIZED RECOMMENDATIONS:                                                    crimes; although there were no actionable reports, corruption and
Fund and expand access to adequate specialized victim services,                 complicity in trafficking crimes remained concerns, and observers
including for male victims. • Investigate and prosecute alleged traffickers,    continued to allege some officials displayed complicity indicators,
including complicit officials, and sentence convicted traffickers to            particularly border agents. Such allegations included officials
signiﬁcant prison terms. • Fund and fully implement the 2020-2024 NAP.          intentionally overlooking trafficking indicators, especially along the
• Train officials to consistently utilize victim identiﬁcation protocols and    border with Brazil, accepting bribes from businesses where trafficking
referral mechanisms to increase proactive identiﬁcation of trafficking          may have taken place, and facilitating sex trafficking of women and
victims, including among minority and Indigenous populations. • Increase        girls on barges operating along the Paraguay River. The government
engagement with civil society actors to complement the government’s             trained police and members of the Paraguayan Navy on investigative
efforts to prevent trafficking and protect victims; encourage regular           techniques for trafficking cases and trafficking indicators.
civil society participation in the interagency roundtable. • Establish the
national anti-trafficking secretariat, as required by law. • Establish the      PROTECTION
national anti-trafficking fund, as required by law. • Increase funding          The government maintained protection efforts. The government
and staffing for the Paraguayan National Police Anti-Trafficking Unit           lacked a centralized database to aggregate efforts across ministries
(PNPTU). • Revise the deﬁnition of human trafficking under Law 4788/12          and could not provide comprehensive data on victim protection.
to ensure force, fraud, or coercion are essential elements of the crime         There were three agencies involved in victim identiﬁcation: the ATU,
as established under the 2000 UN TIP Protocol. • Adopt reforms to               the Ministry of Women’s Affairs (MWA), and the Ministry of Children
eliminate abusive practices and working conditions that may amount              and Adolescents (MINNA). These agencies reported identifying 166
to trafficking in criadazgo (child domestic servitude). • Train law             trafficking victims in 2021. By comparison, the government reported
enforcement officials to understand, investigate, and prosecute child           identifying 299 victims in 2020—a notable increase over previous
sex tourism cases under the anti-trafficking law. • Improve interagency         years, attributable to screening returning migrant workers during
coordination and develop a case management database for trafficking             a required quarantine—and 86 in 2019. Traffickers exploited 74 of
cases. • Establish adequate penalties to deter child labor violations.          these identiﬁed victims in sex trafficking and 86 in forced labor; the
                                                                                government did not report the form of trafficking experienced by the
PROSECUTION                                                                     remaining six victims. Among the 166 victims identiﬁed, there were 72
The government decreased prosecution efforts. The Comprehensive
                                                                                women, 46 girls, nine men, and 33 boys. The government’s interagency
Anti-Trafficking Law 4788 of 2012 criminalized sex trafficking and labor
                                                                                anti-trafficking roundtable directed a national referral mechanism for
trafficking and prescribed penalties of up to eight years’ imprisonment
                                                                                prosecutors, police, labor inspectors, and border officials; in 2021, the
for cases involving adult victims and two to 20 years’ imprisonment for
                                                                                government updated this referral process to encompass pandemic
those involving child victims; these penalties were sufficiently stringent
                                                                                measures, such as quarantine requirements. Some government entities,
and, with respect to sex trafficking, commensurate with penalties
                                                                                such as the National Migration Office and Ministry of Health, had
prescribed for other serious crimes, such as rape. Inconsistent with
                                                                                victim identiﬁcation protocols, but there was no universal protocol to
international law, Law 4788/12 established the use of force, fraud,
                                                                                facilitate the proactive identiﬁcation of victims. Use of available referral
and coercion as aggravating factors rather than essential elements of
                                                                                and identiﬁcation resources was inconsistent and ad hoc. Civil society
the crime; penalties were increased to two to 15 years’ imprisonment
                                                                                                                                   Haiti AR_000922               441
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 547 of 729
PARAGUAY   organizations reported the government applied the identiﬁcation             victims could also ﬁle civil suits with the support of a government
           protocols less consistently among minority and Indigenous populations;      attorney to obtain compensation. The government did not report any
           as a result, authorities may have disproportionately penalized minority     trafficking cases where victims received restitution or compensation.
           and Indigenous trafficking victims for crimes their traffickers compelled   MINNA provided training for its officials on safe repatriation for child
           them to commit. MINNA developed and implemented new standard                trafficking victims; otherwise, the government did not train officials
           operating procedures (SOPs) for the identiﬁcation of child trafficking      on victim identiﬁcation, referral, or care.
           victims at national borders. Under these new SOPs, border officials and
           MINNA coordinated to screen children traveling alone for trafficking        PREVENTION
           indicators, codifying the screening process which contributed to the        The government slightly decreased its prevention efforts. The
           identiﬁcation of 256 child trafficking victims during the period of         Directorate for the Attention of the Overseas Paraguayan Community
           increased border crossings in 2020.                                         (DACPE) was the government entity responsible for coordinating anti-
                                                                                       trafficking programs and convening an ongoing interagency roundtable
           There were three dedicated shelters with capacity for up to 38 female
                                                                                       that included intermittent participation from 16 government agencies.
           trafficking victims, one managed by the MWA for adults and two
                                                                                       In 2021, the roundtable held three sessions, compared with 14 in 2020
           shelters for child victims managed by MINNA; one of MINNA’s shelters
                                                                                       and six in 2019. Law 4788/12 did not require participation of civil society
           was co-managed by an NGO. MWA could also serve female trafficking
                                                                                       in the roundtable, and authorities provided such stakeholders only a
           victims at its two domestic violence shelters. The government reported
                                                                                       limited role. Although the roundtable’s plenary sessions were officially
           providing some form of support services to 160 trafficking victims; it
                                                                                       open to civil society, a number of NGOs reported they did not receive
           reported referring 45 victims to shelter services—it referred 22 women
                                                                                       consistent notiﬁcation of meetings. Poor and informal interagency
           victims to an MWA shelter and 23 children to MINNA shelters. In the
                                                                                       coordination continued to limit the government’s ability to monitor,
           absence of sufficient shelter capacity, most victims returned to their
                                                                                       collect, and report statistics. The 2020-2024 National Plan for the
           homes, where they may have struggled to access other support services;
                                                                                       Prevention of Trafficking guided the government’s anti-trafficking
           returning home also increased victims’ vulnerability to re-trafficking,
                                                                                       efforts. However, officials reported poor coordination and funding
           as victims’ families may have been involved in their exploitation. By
                                                                                       limitations hindered efforts to implement the plan, which included
           comparison, MINNA provided shelter to 26 child victims in 2020 and
                                                                                       a measure to establish the dedicated anti-trafficking secretariat
           44 in 2019. Observers reported pandemic-related safety protocols
                                                                                       mandated under Law 4788/12. Observers reported that the absence of
           contributed to limited capacity in shelters. MINNA coordinated direct
                                                                                       a dedicated agency or secretariat continued to limit the effectiveness
           cash transfers for 39 victims in 2021, compared with the ATU and MWA
                                                                                       of the government’s national anti-trafficking efforts. Law 4788/12
           providing transfers for 50 victims in 2020. In addition to shelter and
                                                                                       also required the government to have an anti-trafficking fund, but
           food, the government had a limited ability to provide psychological
                                                                                       the government reported the account—the intended funding source
           support, social assistance, legal advice, and reintegration programs
                                                                                       for the plan’s implementation—did not exist. Two NGOs served as
           for some victims. The ATU, MINNA, and MWA collaborated to prioritize
                                                                                       liaisons between the roundtable and civil society, although government
           victims most in need of these services. The government continued
                                                                                       engagement with civil society remained minimal.
           its entrepreneurial program for trafficking survivors, awarding small
           business seed grants to 36 victims (32 women and four men) in               The government did not allocate funds for public awareness campaigns;
           2021, compared with six such grants in 2020. The government did             instead, it relied on civil society, businesses, and trade unions to run
           not have a shelter to assist male trafficking victims; however, the         campaigns in high-risk areas. However, the government continued
           ATU could provide psychological assistance, food, and immediate             to distribute brochures and posters in bus terminals, airports, border
           shelter at hotels on an ad hoc basis before facilitating the return of      crossings, and on social media to promote awareness of trafficking.
           male victims to their community of origin. An interagency working           The government maintained hotlines to report crimes against women
           group—created to support provision of services to trafficking victims       and children, including trafficking, as well as a webpage for ﬁling
           outside of government shelters—met several times during the year but        trafficking and exploitation complaints. Authorities did not provide a
           did not report any substantive outcomes. Aside from some funding            comprehensive report on trafficking calls received via these sources but
           provided to the NGO operating the MINNA shelter, the government             suggested the government identiﬁed at least one victim via the hotline
           did not provide assistance to NGOs providing victim services. Lack of       during the reporting period. The government did not report identifying
           substantive cooperation with civil society limited the government’s         victims through its trafficking-speciﬁc email inbox and hotline web
           ability to provide comprehensive care. The overall quality of care for      application, meant to facilitate reporting of trafficking crimes, since
           victims, particularly in rural areas, was inadequate due to limited         their creation in 2019. The Ministry of Labor’s 25 labor inspectors
           resources and the lack of qualiﬁed personnel.                               were trained to identify trafficking victims during inspections and
                                                                                       could refer them to care services through the interagency roundtable.
           The ATU continued to provide basic assistance to trafficking victims
                                                                                       Although the 296 labor inspections conducted in 2021 focused heavily
           due to insufficient victim services provision by other parts of the
                                                                                       on pandemic sanitation protocols, inspectors identiﬁed nine child
           government. However, the ATU did not receive government funding
                                                                                       labor violations, some of which may have amounted to trafficking.
           for victim assistance and relied on occasional allocations from an
                                                                                       The Ministry of Labor levied ﬁnes for violations in four of these cases
           NGO-managed victims’ services fund. This funding supported the
                                                                                       and referred one case to the ATU for criminal prosecution. In four
           government’s case-by-case provision of food assistance, direct cash
                                                                                       cases, the offenders and victims settled privately. Observers noted
           transfers, and reintegration programming for trafficking victims.
                                                                                       the monetary ﬁnes commonly levied against employers for child
           Government officials reported funding was insufficient to assist victims
                                                                                       labor violations were not sufficient to discourage the practice. The
           adequately. The government’s 2020 emergency budgetary reallocation
                                                                                       government remained without effective approaches to tackling the
           measures—which redistributed funding from across the government,
                                                                                       abusive practices and working conditions common in situations of
           including anti-trafficking funding, to support pandemic measures—
                                                                                       criadazgo, which amount to child domestic servitude. The government
           remained in effect until December 31, 2021. In addition to shelter
                                                                                       did not make efforts to reduce the demand for commercial sex acts.
           capacity limitations, government entities reported pandemic restrictions
                                                                                       The government continued to grant certiﬁcations to hotels and other
           interrupted in-person services; MWA used virtual consultations to
                                                                                       tourism-sector companies that complied with certain anti-trafficking
           minimize disruption. MINNA provided approximately $38,500 in
                                                                                       measures; however, it did not identify or investigate crimes of child
           2021 to the NGO that operated the specialized shelter for underage
                                                                                       sex tourism in Ciudad del Este and the Tri-Border area as trafficking
           victims, compared with the same amount in 2020 and approximately
                                                                                       crimes. The Ministry of Foreign Affairs trained diplomatic staff to
           $50,000 in 2019. Foreign trafficking victims were eligible for residence
                                                                                       recognize trafficking indicators in a consular setting; however, the
           permits to remain in Paraguay; however, civil society reported high
                                                                                       government did not provide anti-trafficking training for all diplomats
           administrative fees made the application process burdensome for
                                                                                       deployed abroad.
           victims. The government helped repatriate one victim in 2021, compared
           with one in 2020 and ﬁve in 2019. Law 4788/12 outlined a procedure to
           award victims restitution when the courts convicted their traffickers;

 442                                                                                                                                Haiti AR_000923
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 548 of 729




                                                                                                                                                                PERU
TRAFFICKING PROFILE
As reported over the past ﬁve years, human traffickers exploit domestic                 PERU TIER RANKING BY YEAR
and foreign victims in Paraguay, and traffickers exploit victims from               1
Paraguay abroad. The practice of compelling children to labor as                   2
domestic workers, criadazgo, is perhaps the most common form of
                                                                                 2WL
trafficking in the country. Middle- and upper-income families in urban
and rural areas take on children, almost exclusively from impoverished              3
families, as domestic workers and provide varying compensation                             2015     2016      2017   2018   2019    2020     2021     2022
that may include room, board, money, a small stipend, or access to
educational opportunities. An estimated 47,000 Paraguayan children
work in situations of criadazgo; many of these children are highly             PRIORITIZED RECOMMENDATIONS:
vulnerable to sex and labor trafficking. Although criadazgo mainly             Increase overall resources to fund implementation of the National Policy
affects young girls, boys are increasingly at risk; government sources         Against Human Trafficking and allocate dedicated anti-trafficking budgets
estimate 30 percent of children in criadazgo are boys. Traffickers exploit     for member entities of the national multisectoral commission, as called
children from rural areas in sex trafficking and forced labor in urban         for in law. • Increase funding for comprehensive victim services, including
centers. Boys are often victims of forced labor in agriculture, domestic       training and capacity-building for staff, and provide services to more
service, criminality, and in some cases as horse jockeys. Children             Peruvian and foreign victims. • Increase the availability of services to
engaged in street vending, begging, and working in agriculture, mining,        meet the needs of adult victims, boys, LGBTQI+ individuals, and labor
brick making, and ranching are vulnerable to trafficking. Traffickers          trafficking victims. • Amend the anti-trafficking law to prescribe penalties
exploit Paraguayan children in forced labor in the cultivation and             for sex trafficking that are commensurate with the penalties prescribed for
sale of illicit drugs. In the Chaco region, traffickers exploit adults and     other grave crimes, such as rape. • Employ trauma-informed methods and
children in debt bondage.                                                      proactive screening measures for trafficking indicators during interactions
Traffickers increasingly utilize social media to recruit victims. Indigenous   with members of vulnerable groups—including individuals in commercial
persons are particularly vulnerable to trafficking. Traffickers exploit        sex, LGBTQI+ persons, and displaced Venezuelans—and refer potential
Paraguayan women and girls in sex trafficking within the country,              victims to comprehensive protection services. • Increase and institutionalize
including aboard ships and barges navigating the country’s major               reintegration services for child victims transitioning out of shelter care
waterways. Transgender Paraguayans are vulnerable to sex trafficking.          and other victims who decline or lack access to shelter accommodation.
Paraguayan victims of sex trafficking and forced labor have been               • Increase efforts to prosecute both sex and labor trafficking crimes,
identiﬁed in Argentina, Brazil, Chile, PRC, Colombia, Germany,                 convict and punish traffickers, including complicit officials, and apply
Mexico, Spain, France, and other countries. Traffickers move female            adequate sentences to convicted traffickers. • Dedicate more resources to
trafficking victims regionally and to Europe via transit countries             planning multisectoral, intelligence-driven law enforcement operations that
including Argentina, Bolivia, Brazil, and Spain. Traffickers also recruit      include arrangements for prompt removal of victims to secure locations
Paraguayan women as couriers of illicit narcotics to Europe and Africa,        segregated from traffickers, victim-centered interviews, quick transition
where they subject them to sex trafficking. Foreign victims of sex and         to care and shelter for identiﬁed victims, and contingency planning to
labor trafficking in Paraguay are mostly from other South American             avoid holding victims in police stations. • Strengthen and institutionalize
countries. The lack of regulatory measures, insufficient transnational         training for police, prosecutors, and judges on enforcing anti-trafficking
cooperation, and ﬂuidity of illicit goods and services contributed to          laws and employing victim-centered, trauma-informed procedures and
increased trafficking risk in and around the Tri-Border Area between           assign cases to trained personnel. • Ensure officials consistently apply a
Argentina, Brazil, and Paraguay. Civil society and victims reported            deﬁnition of trafficking consistent with international law so that all victims
instances of officials—including police, border guards, judges, and            exploited in sex or labor trafficking receive access to appropriate justice
public registry employees—facilitating sex trafficking, including by           and protection. • Improve data collection systems to collect and report
taking bribes from brothel owners in exchange for protection, extorting        comprehensive, harmonized, and disaggregated data on anti-trafficking
suspected traffickers to prevent arrest, and producing fraudulent              law enforcement and victim protection efforts. • Conduct outreach and
identity documents.                                                            prevention programs targeted to at-risk populations, including rural
                                                                               Indigenous communities, using culturally appropriate methods and local
                                                                               languages. • Enforce laws against crimes that facilitate trafficking, such as
                                                                               fraudulent job recruitment, recruitment fees, illegal mining and logging,
 PERU: TIER 2                                                                  and counterfeit operations.

                                                                               PROSECUTION
The Government of Peru does not fully meet the minimum standards for
                                                                               The government increased prosecution efforts during the reporting period.
the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                               Article 129 (previously Article 153) of Peru’s penal code criminalized sex
The government demonstrated overall increasing efforts compared to             trafficking and labor trafficking and prescribed penalties of eight to 15
the previous reporting period, considering the impact of the COVID-19          years’ imprisonment for offenses involving adult victims, 12 to 20 years’
pandemic on its anti-trafficking capacity; therefore Peru remained             imprisonment for offenses involving victims between the ages of 14 and 18,
on Tier 2. These efforts included prosecuting and convicting more              and a minimum of 25 years’ imprisonment for offenses involving victims
traffickers, adopting the National Policy Against Human Trafficking            younger than 14. These penalties were sufficiently stringent; however, with
and its Forms of Exploitation, and expanding the anti-trafficking              respect to sex trafficking, these penalties were not commensurate with
hotline to accommodate Quechua speakers. The government adopted                those prescribed for other serious crimes, such as rape. The law deﬁned
new guidelines for providing mental health care to child trafficking           trafficking broadly to include all forms of labor exploitation and illegal
survivors and for introducing evidence of psychological trauma into            adoption or child selling without the purpose of exploitation. The penal
court proceedings on trafficking cases. However, the government                code also included 15 separate offenses for different forms of exploitation
did not meet the minimum standards in several key areas. Services              including “forced labor,” “slavery and other forms of exploitation,” and 10
for adult victims, boys, LGBTQI+ individuals, and labor trafficking            crimes involving sexual exploitation. Officials often classiﬁed trafficking
victims remained inadequate. Although authorities opened several               victims and charged trafficking cases under exploitation laws, many of
investigations into public officials for alleged complicity in trafficking     which overlapped signiﬁcantly with one another and with Article 129
crimes, the government did not prosecute or convict any complicit              (previously 153). Many officials only applied trafficking statutes to crimes
officials. Government funding for combating trafficking was severely           that occurred prior to exploitation. In 2021, the government introduced
inadequate.                                                                    the new Criminal Procedure Code in the two remaining judicial districts,
                                                                               completing its years-long transition to a nationwide oral, accusatory


                                                                                                                                   Haiti AR_000924              443
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 549 of 729
PERU
       system that allowed authorities to initiate trafficking prosecutions without       forensic evaluations of trafficking victims. These guidelines aimed to
       a victim complaint.                                                                strengthen forensic medical professionals’ ability to recognize and
                                                                                          document psychological trauma and coercion among trafficking victims,
       Anti-trafficking police reportedly conducted 116 operations in the ﬁrst
                                                                                          leading to more robust prosecutions in court. The government continued
       nine months of 2021, resulting in 604 individuals detained or arrested for
                                                                                          partnering with an international organization to deliver in-depth training
       trafficking crimes, an increase from 65 operations and 214 detentions in
                                                                                          through certiﬁcation programs for judges to improve their capacity to
       the same period of 2020 and 186 operations and 364 detentions in all of
                                                                                          implement trafficking laws; 135 judges completed the certiﬁcation in
       2019. The government continued to direct police, including anti-trafficking
                                                                                          2021. The government provided training on judicial resolutions related
       units, to enforce pandemic mitigation and public health measures. The
                                                                                          to trafficking for 132 criminal judges, with jurisdiction over trafficking and
       pandemic had a particularly negative impact on police, with high rates
                                                                                          related crimes, and training in criminal law and criminal procedure code
       of sickness and death diminishing the capacity of its already limited staff.
                                                                                          for specialized prosecutors in Lima. Although several ministries collected
       Specialized prosecutors reported opening 354 trafficking investigations
                                                                                          data to track their anti-trafficking law enforcement and victim protection
       in 2021—336 for sex trafficking and 18 for forced labor, some of which may
                                                                                          efforts, the government lacked a coordinated data collection system,
       have also been counted in police data. In 2020, prosecutors participated
                                                                                          making it difficult for authorities to verify statistics, assess efforts, and
       in 214 anti-trafficking operations and detained 179 suspects, and in
                                                                                          respond to trends. Peru’s overlapping legal framework further complicated
       2019, they participated in 252 operations and detained 209 suspects.
                                                                                          data collection efforts as authorities often charged trafficking cases as
       In 2021, authorities initiated prosecutions of 121 suspects, and courts
                                                                                          other offenses.
       convicted 233 defendants for trafficking and related crimes. In comparison,
       authorities prosecuted at least 44 suspects and convicted 29 traffickers           The government acknowledged that official complicity in trafficking crimes
       in 2020 and prosecuted 67 suspects and convicted 55 traffickers in 2019;           and corruption at all levels of the Peruvian law enforcement and criminal
       however, prosecution data from previous years may have been incomplete.            justice systems hampered efforts to hold traffickers accountable. Police
       Prosecutors reported 165 sex trafficking prosecutions and 12 forced labor          officers, including members of specialized anti-trafficking units, allegedly
       prosecutions were ongoing at the end of the year. The government did               accepted bribes from traffickers to avoid conducting investigations.
       not report sentencing data for convicted traffickers. Prosecutors in Lima,         The alleged complicity of some police, along with poor communication
       Loreto, Madre de Dios, and Puno initiated the majority of prosecutions             between police and prosecutors, bred mistrust among these officials at
       in 2021, and more than 80 percent of convictions were issued by courts             both the national and regional levels and undermined the effectiveness
       in Lima, Madre de Dios, and Puno. In June 2021, police carried out a               of anti-trafficking law enforcement efforts. The government opened
       successful operation in Lima province targeting members of a criminal              several investigations of government employees for alleged trafficking
       network that allegedly lured children with false job offers through social         crimes and continued investigating cases from previous years, but it did
       media, kidnapped them, and then subjected them to sex trafficking. Police          not prosecute or convict any officials for trafficking-related complicity in
       arrested the suspected ringleader and 22 of his associates. In February            2021. In November 2021, Bolivian authorities apprehended and extradited
       2022, authorities successfully raided an establishment near a mining               to Peru a former Peruvian police officer allegedly involved in two murders
       area in Madre de Dios, leading to the identiﬁcation of four sex trafficking        and sex trafficking crimes in Tacna; he remained in pretrial detention at
       victims and the arrest of two suspected traffickers. Public health measures        the close of the reporting period. Media reports alleged approximately
       limited prosecutors’ access to case ﬁles and related documents, which              40 police officers in Tacna and Moquegua led a sex trafficking operation
       were often available only in hard copy, and high infection rates among             in which one of the murder victims, a 14-year-old girl, had been exploited.
       public officials—including specialized prosecutors—further diminished the          Reports indicated authorities were investigating alleged trafficking crimes
       government’s capacity to prosecute traffickers. The judiciary developed            and police corruption related to this case but did not make additional
       a system to hear cases online but struggled to operate at full capacity.           arrests during the year. In a separate case in Tacna, authorities apprehended
                                                                                          two police officers and an immigration official during a large-scale
       The government maintained specialized anti-trafficking police units, with
                                                                                          law enforcement operation against a cross-border smuggling network
       474 officers assigned to regional units across 23 of Peru’s 24 regions; this
                                                                                          allegedly involved in human trafficking crimes; the officials remained in
       was an increase from 448 specialized police officers in 2020. The size,
                                                                                          pretrial detention at the close of the reporting period. A 2020 case that
       capacity, and budget of these units varied widely across regions, and
                                                                                          included arrests of seven police officers for alleged involvement in a child
       some regions with a high prevalence of trafficking had few specialized
                                                                                          sex trafficking operation run by a well-known singer remained ongoing.
       officers. The government increased the number of specialized officers
                                                                                          The government did not report progress on a 2020 case involving
       assigned to Madre de Dios and Cusco, regions considered to have high
                                                                                          two anti-trafficking police officers and two other government officials
       trafficking risks, from ﬁve in each region in 2020 to nine and 17, respectively,
                                                                                          apprehended for providing protection to alleged traffickers and allowing
       in 2021. The government did not assign specialized police to Amazonas.
                                                                                          them to operate with impunity. It also did not report progress in the case
       In December 2021, an Indigenous leader in the Amazonas region, known
                                                                                          of a former police chief and noncommissioned officer, arrested in 2019
       for his public advocacy denouncing local human traffickers and calling
                                                                                          for human trafficking and corruption. Prosecutors in Cusco cooperated
       on the government to hold them criminally accountable, was murdered.
                                                                                          with authorities in Argentina to achieve a labor trafficking conviction in
       Media reports alleged members of a local trafficking syndicate killed
                                                                                          a case involving a Peruvian citizen exploited in Argentina.
       him in retaliation for his advocacy; the government did not make any
       arrests in this case during the reporting period. The government did not
       report its budget for specialized police units in 2021. The government
                                                                                          PROTECTION
                                                                                          The government maintained efforts to identify and protect trafficking
       did not enforce a ministerial resolution requiring anti-trafficking police to
                                                                                          victims, although services for some groups remained limited. Police
       remain in their units for at least two years, and frequent turnover among
                                                                                          reported identiﬁcation of 428 potential victims in 2021, compared with
       police severely limited specialized units’ effectiveness in investigating
                                                                                          640 potential victims in 2020 and 1,054 in 2019. These victims included
       trafficking. Local experts reported officers often transferred twice a year
                                                                                          261 women, 77 girls, 57 men, and 33 boys. The identiﬁcation of adult male
       and the pandemic precipitated even faster changes in police assignments,
                                                                                          victims was noteworthy, as police did not identify any men exploited in
       resulting in a lack of institutional knowledge and continuity of operations.
                                                                                          trafficking in 2020. Police identiﬁed at least 54 women (49) and girls
       The government had 39 specialized anti-trafficking prosecutors across
                                                                                          (5) from Venezuela, Ecuador, Colombia, Brazil, Bolivia, and Spain who
       12 regions of the country, with jurisdiction to prosecute cases under the
                                                                                          were exploited in trafficking in Peru. Specialized prosecutors identiﬁed
       penal code’s trafficking, forced labor, slavery, and sexual exploitation
                                                                                          373 victims in 2021, compared with 470 in 2020 and 1,266 in 2019. The
       statutes. In partnership with an international organization, the government
                                                                                          government did not report the extent to which victim identiﬁcation
       held several joint training workshops between police and prosecutors to
                                                                                          statistics overlapped between police and prosecutors. Police received 68
       improve coordination. NGOs and government officials reported judges
                                                                                          complaints of alleged trafficking crimes to the government’s trafficking
       often considered recruitment to be an essential element of a trafficking
                                                                                          hotline during the ﬁrst six months of 2021; the Ministry of Interior (MOI)
       crime; required proof of force, fraud, or coercion for child sex trafficking
                                                                                          reported the complaints included seven cases of alleged forced labor, 35
       crimes; or reduced trafficking charges to lesser crimes. In December
                                                                                          of alleged sex trafficking, and 26 where the type of exploitation was not
       2021, the government adopted guidelines to improve the Public Ministry’s
                                                                                          speciﬁed. Two Peruvian victims of trafficking were identiﬁed in Ecuador
       Institute for Legal Medicine and Forensic Sciences’ ability to conduct

444                                                                                                                                      Haiti AR_000925
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 550 of 729




                                                                                                                                                                  PERU
and one in Chile; Peruvian officials provided support to these victims             of the government’s multisectoral commission against trafficking, and
abroad and assisted with their repatriation to Peru.                               approximately 70 private shelters accepted trafficking victims.
The anti-trafficking law required the government to proactively identify           Adult victims, labor trafficking victims, and male victims had few shelter
victims among high-risk populations and provide services including                 options; there were no shelters that accepted adult men. A lack of services
temporary lodging, transportation, medical and psychological care, legal           meeting the needs of adult victims, such as open shelter facilities or
assistance, and reintegration support. The government had an intersectoral         livelihood development support, led many adult victims to decline
protocol for providing protection to trafficking victims, and multiple             services. The government provided limited access to services for LGBTQI+
ministries had internal protocols for victim identiﬁcation and care, but           victims; authorities frequently discriminated against LGBTQI+ individuals
authorities implemented them unevenly due to insufficient ﬁnancial and             and typically did not admit transgender victims to government shelters.
human resources and coordination challenges. Police and prosecutors                The government acknowledged inequity in service provision to LGBTQI+
did not effectively identify indicators of trafficking among women in              victims, particularly transgender children. Foreign victims were generally
commercial sex. With support from an international organization, Lima’s            eligible for the same services as Peruvian victims, but the government did
municipal public security forces developed standardized procedures                 not specify whether it referred any foreign victims to government shelters.
for identifying and referring potential trafficking victims to services.           The Ministry of Foreign Affairs held a seminar on protection for national
The government offered specialized trafficking victim services for girls           and foreign trafficking victims for staff posted in Peru and in more than
exploited in sex trafficking, while other victims could access services for        70 Peruvian foreign missions around the world. Government presence
victims of gender-based violence or other forms of government and                  remained weak or absent in large parts of Peru where trafficking risks
NGO support. Authorities referred all child victims to the Ministry of             were high, including in the Loreto, Madre de Dios, and Puno regions, as
Women and Vulnerable Populations (MIMP), which coordinated shelter                 well as the Valley of the Apurímac, Ene, and Mantaro Rivers (VRAEM),
or family care and provided legal, social services, psychological, and             leaving victims with limited access to justice or protection.
limited reintegration assistance to victims. MIMP operated specialized
                                                                                   Criminal justice officials often did not employ victim-centered methods,
units in all regions of the country for assisting children in need of special
                                                                                   and at times, they conducted anti-trafficking operations without adequate
protection, including all child trafficking victims; in 2020, MIMP created
                                                                                   resources, such as vehicles to transport victims or safe places to screen
new regional units, bringing the total to 26 across Peru. The government
                                                                                   potential victims, isolate them from suspects, and provide immediate
did not report the number of trafficking victims these units assisted or
                                                                                   care. Police and prosecutors reported many victim services were not
the number of victims referred to specialized shelters in 2021. In 2020,
                                                                                   available following law enforcement operations on nights and weekends.
these units assisted 223 child victims (204 Peruvian, 15 Venezuelan, two
                                                                                   At times when shelters were not immediately available, authorities placed
Ecuadorian, and two Colombian), including 96 girls authorities referred to
                                                                                   child victims in police stations among children apprehended for crimes,
specialized trafficking victim shelters, and in 2019, the units assisted 130
                                                                                   where victims faced conditions similar to detention while waiting for
child victims, including 114 girls authorities referred to specialized shelters.
                                                                                   referral to shelter. However, the government made meaningful efforts
With support from an international organization, the Ministry of Health
                                                                                   to incorporate trauma-informed and victim-centered principles into its
developed and approved new guidelines for providing comprehensive
                                                                                   policy and procedural documents and to seek training for its officials to
mental health care to child trafficking survivors.
                                                                                   improve their knowledge and response to providing victim care.
The Public Ministry’s Victim and Witness Assistance Unit (UDAVIT)
                                                                                   The government assigned victims a legal advocate from the Ministry
provided short-term care and essential supplies for victims immediately
                                                                                   of Justice and Human Rights to safeguard their legal rights and guide
following some law enforcement operations and coordinated with other
                                                                                   them through the legal system after authorities initiated a prosecution.
government agencies to provide medical, legal, and social services to
                                                                                   The government had 336 legal advocates, including nine that specialized
victims. Insufficient funding and a lack of training on victim-centered
                                                                                   in trafficking. LGBTQI+ individuals experienced discrimination from law
methods limited UDAVIT’s capacity to provide consistent, high-quality
                                                                                   enforcement and were often re-victimized during the criminal justice
care to victims, and NGO assistance was needed to supplement UDAVIT’s
                                                                                   process. Law enforcement officials utilized secure Gesell chambers
efforts. Local experts reported UDAVIT sometimes made services
                                                                                   to conduct a single interview for sex trafficking victims. During the
contingent on victims providing statements to investigators or questioned
                                                                                   pandemic, authorities created a system to adapt the protection measures
children without the presence of legal or social support personnel. In some
                                                                                   provided by Gesell chambers to online platforms, and officials used this
regions, UDAVIT operated emergency spaces that could provide short-
                                                                                   system during virtual proceedings. A lack of incentives to participate in
term accommodation to women and children who were participating in
                                                                                   investigations and limited access to practical services, such as alternative
investigations and prosecutions.
                                                                                   livelihood development, led many adult victims to decline government
MIMP operated seven specialized shelters exclusively for girls exploited           services. Officials cited the lack of adequate protective services as a
in sex trafficking (including some whom authorities classiﬁed as sexual            key impediment to their ability to effectively combat trafficking in Peru,
exploitation victims) in ﬁve regions (Cusco, Lima, Loreto, Madre de Dios,          and insufficient services left some groups at high risk of re-trafficking.
and Puno); in total, these facilities could accommodate 130 children.
                                                                                   The March 2021 updates to the penal code established minimum criteria a
However, the government temporarily converted one facility into a shelter
                                                                                   judge should consider when awarding compensation to trafficking victims
for victims of other crimes, decreasing the overall shelter capacity for
                                                                                   and granted authority for the government to conﬁscate a trafficker’s
child trafficking victims to approximately 120. Services and staffing in the
                                                                                   property to fulﬁll payment obligations. However, the government did not
shelters were generally robust, with the inclusion of a full-time attorney,
                                                                                   report whether any courts ordered, or victims received, compensation
medical personnel, and psychologist. Due to the pandemic, however,
                                                                                   in 2021. The government reported assisting foreign trafficking victims
shelters restricted access to non-residents, which limited the in-person
                                                                                   in the removal of ﬁnes or other penalties they may have incurred from
services available to victims. Shelter staff facilitated counseling sessions,
                                                                                   undocumented entry. However, due to inadequate victim identiﬁcation
legal services, and victims’ communication with families via phone or online
                                                                                   procedures, particularly among individuals involved in commercial sex,
platforms. In coordination with an NGO, the government provided several
                                                                                   authorities may have penalized some unidentiﬁed trafficking victims for
mentoring and training sessions for staff in specialized shelters. MIMP also
                                                                                   unlawful acts traffickers compelled them to commit. Foreign victims were
operated 52 residential centers for children that could accommodate child
                                                                                   eligible for temporary and permanent residency status under Peruvian
trafficking victims, including boys, but these shelters were not exclusively
                                                                                   refugee law, but the government did not report whether it granted any
for human trafficking victims, and they were not equipped to provide
                                                                                   trafficking victims residency during the year.
specialized psychological and protection services to meet the needs
of child trafficking survivors. Women could access legal, psychological,
                                                                                   PREVENTION
and social services—but not overnight accommodation—through MIMP’s
                                                                                   The government increased prevention efforts. The government’s
nationwide network of 429 Emergency Centers for Women, but the
                                                                                   multisectoral commission against trafficking, led by the MOI and
government did not collect data on the number of trafficking victims
                                                                                   composed of 13 government agencies and two NGOs, continued to
the centers assisted. Numerous civil society organizations provided
                                                                                   coordinate the government’s anti-trafficking response, and it ﬁnalized the
assistance to trafficking victims, including two NGOs that were members
                                                                                   National Policy Against Human Trafficking and its Forms of Exploitation
                                                                                                                                     Haiti AR_000926              445
           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 551 of 729
PERU   (2021-2030). The government adopted the national policy in July 2021,           high. In February 2022, the government opened its ﬁrst bilingual
       replacing its previous national action plan (NAP). Pandemic-mitigation          civil registry office in Cusco, designed to further improve access to
       measures, political instability, and insufficient funding continued to          documentation for communities whose primary language is not Spanish.
       hamper implementation of anti-trafficking activities during the year. The       The government issued 112,000 temporary stay permits to migrants who
       government did not submit an annually mandated report to congress on            entered Peru irregularly, and authorities continued to confer a special
       its progress toward implementation of the NAP, due each September.              humanitarian immigration status for Venezuelan asylum applicants,
       However, the MOI launched an interactive website whereby members of             decreasing these groups’ vulnerability to exploitation. The government
       the public could access detailed regional and sub-regional data on anti-        did not permit transgender individuals to change their gender on identity
       trafficking efforts over the last ﬁve years, as well as recent government       documents; this lack of access to accurate documentation increased their
       publications on trafficking. The government did not report the amount           vulnerability to exploitation. The Ministry of Foreign Trade and Tourism,
       of funding it allocated to the MOI for anti-trafficking efforts in 2021. In     through its program to promote awareness and prevention of child sex
       2020, the government allocated a line-item budget of 2.35 million soles         tourism, hosted numerous educational sessions for tourism industry
       ($592,090) to the MOI for anti-trafficking efforts, a signiﬁcant decrease       professionals, government officials, students, and members of the public;
       from approximately 4 million soles ($1.01 million) allocated in 2019, and       developed a prevention guide for tourism industry professionals; and
       other ministries funded anti-trafficking activities through their general       created a poster campaign to raise awareness. In addition, the regional
       budgets. All regional governments conducted some anti-trafficking               government and civil society organized awareness campaigns in Loreto
       activities, and the regions of Ayacucho, La Libertad, and Pasco each            to discourage child sex tourism. Authorities reported investigating
       allocated a designated budget to anti-trafficking efforts. A 2019 law           suspected sex tourism operations in Loreto and Lima regions but did
       required the commission to prepare, and the Ministry of Economy                 not provide additional details about possible cases. The government
       and Finance (MEF) to prioritize, a multisectoral budget request that            conducted law enforcement operations and made arrests for illegal
       included dedicated anti-trafficking budgets for member entities of              mining and logging, crimes which fueled the demand for sex and labor
       the multisectoral commission; the commission submitted an updated               trafficking.
       request, which MEF did not approve. Officials reported inadequate
       funding hindered their ability to effectively combat human trafficking,         TRAFFICKING PROFILE
       especially victim protection efforts.                                           As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                       and foreign victims in Peru, and traffickers exploit victims from Peru
       The government operated two 24-hour telephone hotlines and several
                                                                                       abroad. Traffickers exploit Peruvian and foreign women and girls, and
       electronic platforms for the public to report suspected cases of trafficking.
                                                                                       to a lesser extent boys, in sex trafficking within the country; traffickers
       The MOI expanded hotline services to accommodate Quechua speakers
                                                                                       increasingly recruit victims through social media platforms, often
       in addition to Spanish speakers. Several ministries held events and
                                                                                       through false employment offers or deceptive romantic relationships.
       disseminated materials through digital and other media platforms
                                                                                       Traffickers lure Peruvian, Venezuelan, and Bolivian women and girls to
       to raise awareness of trafficking, educate members of the public on
                                                                                       remote communities near mining and logging operations through false
       identifying and reporting possible trafficking crimes, and promote the
                                                                                       promises of lucrative employment opportunities then exploit them in
       new national policy. The MOI organized a virtual dialogue with regional
                                                                                       sex trafficking after arrival. Tourists from the United States and Europe
       government institutions designed to strengthen anti-trafficking efforts
                                                                                       purchase sex from child trafficking victims in areas such as Cusco, Lima,
       in the context of the pandemic, and it coordinated with civil society
                                                                                       and the Peruvian Amazon. In the Loreto region, criminal groups facilitate
       organizations to host a three-day forum on the pandemic’s impact
                                                                                       transportation of foreign tourists by boat to remote locations where
       on fulﬁllment of the previous NAP. The Ministry of the Environment
                                                                                       traffickers exploit women and children in sex trafficking in venues on the
       conducted virtual awareness-raising activities to educate staff from
                                                                                       Amazon River. Pandemic-related travel restrictions halted most tourism
       affiliate agencies on the prevention of forced labor. The specialized
                                                                                       to Peru in 2021; while the lack of tourism may have decreased some forms
       prosecutors’ office in the Loreto region encouraged members of the
                                                                                       of trafficking, local NGOs report other forms of exploitation increased
       public to tag its social media account on suspicious online job offers
                                                                                       as traffickers shifted operations online. Traffickers exploit Peruvian and
       to help verify their legitimacy. Specialized police units implemented
                                                                                       foreign adults and children in forced labor in the country, principally in
       a campaign to educate members of the public on the experiences of
                                                                                       illegal and legal gold mining and related activities, logging, agriculture,
       forced child labor victims; the campaign aimed to reduce social tolerance
                                                                                       brick-making, unregistered factories, counterfeit operations, organized
       and foster a culture of public reporting around suspected forced child
                                                                                       street begging, and domestic service. Traffickers subject Peruvians to
       labor crimes. Digital awareness campaigns were limited in reaching
                                                                                       forced labor in gold mines and service jobs in nearby makeshift camps;
       vulnerable remote communities without reliable internet connectivity.
                                                                                       traffickers compel victims through deceptive recruitment, debt-based
       The government maintained a separate governance infrastructure, led             coercion, isolation and restricted freedom of movement, withholding
       by the Ministry of Labor (MOL), on combating forced labor. The MOL              of or non-payment of wages, and threats and use of physical violence.
       conducted virtual awareness-raising sessions on forced labor for officials      Traffickers subject children to forced labor in begging, street vending,
       in 22 regional labor departments. The government required private               domestic service, cocaine production and transportation, and other
       employment agencies to train their personnel in the detection of job            criminal activities. Local observers report the isolation and quarantine
       offers that could be linked to human trafficking, migrant smuggling,            measures imposed to curb the pandemic brought greater public attention
       or child labor and prohibited them from charging workers recruitment            to abusive working conditions in domestic service. Remaining members
       fees or retaining workers’ identity documents or personal items.                of the narcoterrorist organization Shining Path use force and coercion
       Labor inspectors had a mandate to monitor employment agencies for               to subject children and adults to forced labor in agriculture, cultivating
       compliance, but they lacked adequate case management systems to                 or transporting illicit narcotics, and domestic servitude, as well as to
       effectively classify and refer suspected criminal cases to appropriate          carry out terrorist activities, and at times recruit children using force
       authorities. Due to the pandemic, the government conducted labor                and coercion to serve as combatants or guards.
       inspections virtually. The government maintained labor inspection units
                                                                                       Indigenous Peruvians, many of whom live in remote areas with limited
       that specialized in forced and child labor, but it did not report whether
                                                                                       access to government services, are particularly vulnerable to trafficking.
       these units identiﬁed any trafficking victims in 2021. The government
                                                                                       LGBTQI+ Peruvians are vulnerable to trafficking, including re-exploitation.
       partnered with an international organization to launch a program giving
                                                                                       Transgender individuals are at particularly high risk, and traffickers
       workers the ability to verify their employment registration status and
                                                                                       seek to exploit their need to ﬁnance gender-affirming medical care.
       conﬁdentially report noncompliant employers to authorities, facilitating
                                                                                       Venezuelan migrants and refugees ﬂeeing the humanitarian crisis in
       workers’ entry into the formal workforce. In total, the government
                                                                                       their country continued to enter Peru, with more than 1.32 million
       formalized the status of 308,835 workers, decreasing the risks of
                                                                                       Venezuelans residing in Peru under permanent, temporary, or irregular
       exploitation inherent in the informal economy.
                                                                                       migration status by the end of 2021. Venezuelan adults and children
       The government continued strong efforts to issue national identity              are vulnerable to sex and labor trafficking en route to or after arrival
       documents to all Peruvian citizens, including through programs designed         in Peru, often lured into exploitation through false employment offers.
       to reach remote, Indigenous communities where trafficking risks were
446                                                                                                                                 Haiti AR_000927
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 552 of 729




                                                                                                                                                               PHILIPPINES
Pandemic-mitigation measures increased risks among children who                  through civil judgments. • Increase resources for anti-trafficking task
did not attend school in person during the year, especially LGBTQI+              forces to conduct timely investigations, coordinated operations, and
children or others who ultimately ﬂed abusive or difficult situations in         prosecutions while providing robust victim and witness assistance
their homes. Local experts report an increase in online sexual exploitation      services. • Increase efforts to identify and assist labor trafficking
of children, in which traffickers sexually exploit children in live internet     victims, including by providing training to law enforcement, social
broadcasts in exchange for compensation. Illicit activity, including sex         service providers, and labor inspectors on indicators of trafficking. •
and labor trafficking, is common in regions of the country with limited          Increase resources for law enforcement units designated to investigate
permanent government presence, including remote mining and logging               all forms of trafficking. • Consistently implement the coordinated
areas and the VRAEM. Illegal mining and logging operations fuel the              interagency response to providing services to returning Filipinos
demand for sex and labor trafficking in Peru.                                    exploited in sex and labor trafficking overseas. • Create a central
                                                                                 database for information on illegal recruiters and human trafficking
Traffickers exploit Peruvian women and children in sex trafficking in
                                                                                 cases to facilitate interagency coordination in detecting, investigating,
other countries, particularly within South America. Also, they exploit
                                                                                 and prosecuting traffickers.
women and girls from neighboring countries in Peru. NGOs and foreign
authorities report traffickers exploit transgender Peruvians in sex
trafficking in Argentina, Italy, and Sweden. Traffickers subject Peruvian
                                                                                 PROSECUTION
                                                                                 The government slightly decreased anti-trafficking law enforcement
adults and children to forced labor in other South American countries,
                                                                                 efforts. The 2003 and 2012 anti-trafficking acts criminalized sex
the United States, and other countries. An NGO reported the increasing
                                                                                 trafficking and labor trafficking and prescribed penalties of up to 20
prevalence of human trafficking of children and young adults near
                                                                                 years’ imprisonment and ﬁnes of between 1 million and 2 million pesos
Peru’s border with Ecuador. NGOs and government officials reported
                                                                                 ($19,600 to $39,190). These penalties were sufficiently stringent and,
that official complicity in trafficking crimes and widespread corruption
                                                                                 with respect to sex trafficking, commensurate with those prescribed
in Peruvian law enforcement and judicial systems continue to hamper
                                                                                 for other serious crimes, such as rape.
anti-trafficking efforts.
                                                                                 The government did not report the total number of anti-trafficking
                                                                                 operations and investigations of illegal recruitment as it did in prior
                                                                                 years; however, it reported 168 law enforcement-led anti-trafficking
 PHILIPPINES: TIER 1                                                             investigations, compared with 248 anti-trafficking operations and 233
                                                                                 investigations of illegal recruitment in the previous reporting period.
                                                                                 The government initiated prosecution of 298 alleged traffickers (377
The Government of the Philippines fully meets the minimum standards
                                                                                 in the previous reporting period); these included 62 labor trafficking
for the elimination of trafficking. The government continued to
                                                                                 defendants, 224 sex trafficking defendants, and 12 defendants for
demonstrate serious and sustained efforts during the reporting period,
                                                                                 unspeciﬁed exploitation. The government reported 1,297 prosecutions
considering the impact of the COVID-19 pandemic on its anti-trafficking
                                                                                 remained ongoing from previous reporting periods. The government
capacity; therefore the Philippines remained on Tier 1. These efforts
                                                                                 convicted 56 traffickers—46 for sex trafficking, ﬁve for forced labor, and
included identifying more victims than in 2020, drafting standard                ﬁve for unspeciﬁed forms of exploitation—compared with 73 convictions
operating procedures (SOPs) on the identiﬁcation and monitoring of               in the previous reporting period. Courts sentenced nearly all traffickers
trafficking-related corruption cases, sentencing nearly all traffickers to       convicted under the anti-trafficking act to signiﬁcant prison terms,
signiﬁcant prison terms, and creating an executive-level Department of           ranging from four years to life imprisonment, and ﬁnes ranging from
Migrant Workers. Victim-witness coordinators supported more victims              500,000 to 10 million pesos ($9,800 to $195,960). Courts continued
participating in the criminal justice process than in the previous reporting     to use plea bargaining in human trafficking cases, particularly in those
period, and the government increased funding to the interagency                  involving the online sexual exploitation of children (OSEC), which
anti-trafficking council. Although the government meets the minimum              signiﬁcantly decreased the time to reach case resolution and further
standards, it did not report vigorously investigating labor trafficking          reduced the potential for re-traumatizing child witnesses in trials, many
crimes that occurred within the Philippines or take adequate steps to            of which involved traffickers who were family members. In response to
investigate and arrest individuals suspected of purchasing commercial            the pandemic-related restrictions in 2020, the Supreme Court continued
sex from trafficking victims, nor did it provide training for labor inspectors   to facilitate the court ﬁlings and proceedings through email and video
on indicators of human trafficking. The government prosecuted and                conferencing as authorized in a circular issued in 2020, which enabled
convicted fewer traffickers, and it did not report holding accountable           the government to secure some trafficking convictions through video
officials allegedly complicit in human trafficking crimes.                       conferencing; however, equipment and stable internet connections were
                                                                                 not consistently available, especially for victim-witnesses. Additionally,
                                                                                 pandemic-related lockdowns at various points of the reporting period
        PHILIPPINES TIER RANKING BY YEAR
                                                                                 delayed in-person law enforcement actions due to personnel shortages,
    1
                                                                                 increased health protocols, and mandatory quarantines.
    2
                                                                                 A prosecution of a police officer investigated for cyber-facilitated
  2WL
                                                                                 sex trafficking remained ongoing during the reporting period. The
    3                                                                            Department of Justice (DOJ) continued an investigation of nine Bureau
           2015     2016      2017         2018   2019   2020   2021   2022      of Immigration (BI) officers for facilitating the illegal airport departure
                                                                                 of potential trafficking victims. The prosecution of a police officer who
                                                                                 allegedly aided a suspected trafficker to avoid prosecution, remained
                                                                                 pending at the end of the reporting period. The government did not
PRIORITIZED RECOMMENDATIONS:                                                     report any convictions of government employees complicit in human
Increase efforts to investigate, prosecute, and convict complicit officials
                                                                                 trafficking crimes during the reporting period. Corruption and official
and labor traffickers. • Strengthen the capacity of local government
                                                                                 complicity in trafficking crimes remained signiﬁcant concerns, inhibiting
units to provide reintegration services for trafficking survivors, including
                                                                                 law enforcement action during the year. Observers reported police
trauma-informed care, job training, and in-country employment. •
                                                                                 and immigration officials, especially at lower levels, accepted bribes
Increase support to government and NGO programs that provide
                                                                                 to facilitate or ignore trafficking crimes, including tampering with or
specialized care for trafficking victims, including child victims of
                                                                                 producing fraudulent travel documents. An international organization
online sexual exploitation. • Establish and implement a process to
                                                                                 reported the Armed Forces of the Philippines (AFP) unlawfully recruited
ensure systematic and ongoing input from a diverse community of
                                                                                 and used one child soldier in a support role during the reporting period.
survivors on the design, implementation, monitoring, and evaluation
                                                                                 The Inter-Agency Council Against Trafficking (IACAT) drafted SOPs
of anti-trafficking policies and programs. • Increase efforts to ensure
                                                                                 on the identiﬁcation and monitoring of trafficking-related corruption
victims receive court-ordered restitution and compensation ordered

                                                                                                                                  Haiti AR_000928              447
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 553 of 729
PHILIPPINES   cases, which included reporting mechanisms and employee suspension             ICACT continued to operate a center in metro Manila that served as
              guidelines.                                                                    a specialized shelter for trafficking survivors and a one-stop service
                                                                                             center for reporting potential cases of trafficking and providing
              The DOJ continued to oversee and support operations and training
                                                                                             referrals without the need for victims to contact multiple agencies. In
              for 24 interagency anti-trafficking task forces (a DOJ-led task force, a
                                                                                             2021, the center provided 482 potential victims, including 83 children,
              national interagency task force, 16 regional task forces, and six air and
                                                                                             with temporary accommodation prior to their referral to other shelters
              seaport task forces). Designated prosecutors led the task forces with the
                                                                                             pending the results of COVID-19 testing. The government continued
              assistance of prosecutors who worked on trafficking cases in addition
                                                                                             efforts to ﬁnalize the construction of a shelter for men in region nine,
              to their regular workloads; they were responsible for enhancing law
                                                                                             where armed conﬂict continued. DSWD referred trafficking survivors to
              enforcement efforts and ensuring the reporting, referring, and ﬁling of
                                                                                             the local social welfare and development office in their community for
              trafficking cases. IACAT continued to use the prosecutor’s trafficking case
                                                                                             follow-up services, which observers noted often lacked the personnel
              management system to monitor case progress and outcomes. Through
                                                                                             and resources to provide individualized case follow-up. Staff permitted
              continued operation of the Philippine Internet Crimes Against Children
                                                                                             adult victims residing in shelters to leave unchaperoned, provided
              Center, the Philippines National Police (PNP) Women and Children’s
                                                                                             there were no threats to their personal security or psychological care
              Protection Center (WCPC) and the National Bureau of Investigation
                                                                                             issues. DSWD assisted foreign national victims, including through
              Anti Human Trafficking Division partnered with foreign law enforcement
                                                                                             temporary shelter and psycho-social intervention, and coordinated
              agencies and an international NGO to improve the effectiveness of
                                                                                             repatriation with the relevant foreign embassies. Such specialized
              investigations of OSEC. The PNP led the investigation of most OSEC
                                                                                             assistance services, as well as reintegration follow-up services and job
              cases and operated regional WCPC cyber protection units focused
                                                                                             training and placement, remained inadequate to address the needs
              speciﬁcally on OSEC crimes. The government reported cooperating
                                                                                             of adult trafficking victims.
              with the several foreign governments—including Australia, Ireland,
              Malaysia, the United Kingdom, and the United States—on trafficking             The government continued to support victims who served as witnesses
              investigations, primarily involving OSEC.                                      during trials and hired three additional victim-witness coordinators
                                                                                             during the reporting period. Seven regional task force victim-witness
              Government agencies continued to report the need for additional
                                                                                             coordinators provided trauma-informed support and assistance,
              anti-trafficking law enforcement personnel, funds for operations,
                                                                                             including by providing continuous support throughout the criminal
              and equipment for forensic analysis of digital evidence due in part to
                                                                                             justice process, to 476 victims (130 in 2020). One trafficking victim
              the extremely high volume of cybercrime tips related to child sexual
                                                                                             entered the witness protection program in 2021 (11 in 2020), which
              exploitation the DOJ Office of Cybercrime received, totaling more than
                                                                                             included housing, livelihood and travel expenses, medical beneﬁts,
              3 million in 2021. Slow moving courts, the need for additional training on
                                                                                             education, and vocational placement. In addition, DOJ operations
              handling digital evidence in hearings and trials, and too few prosecutors
                                                                                             center personnel continued to provide transportation and security
              also hindered the effective and timely prosecution of trafficking crimes.
                                                                                             protections for victims to participate in case conferences and hearings.
              NGOs reported police did not take sufficient steps to investigate and
                                                                                             Police and prosecutors continued the use of recorded child victim
              arrest purchasers of commercial sex, including foreign sex tourists and
                                                                                             interviews at the inquest stage and in some trials, which reduced the
              those who purchased commercial sex acts from trafficking victims, and
                                                                                             number of times officials interviewed victims and the potential for
              often did not question customers who were present during operations
                                                                                             re-traumatizing children who served as witnesses. The government
              in entertainment establishments. The government (both independently
                                                                                             also reported increasing the use of ﬁnancial and digital evidence to
              and in partnership with civil society organizations) trained police,
                                                                                             prove trafficking and OSEC crimes in court, reducing the reliance on
              prosecutors, judges, immigration officers, and other officials on various
                                                                                             victim testimony and decreasing potential re-traumatization of child
              topics, including anti-trafficking laws, proactive investigation strategies,
                                                                                             victims. The government did not report any orders of restitution paid
              and identiﬁcation of trafficking victims.
                                                                                             by traffickers to victims of trafficking, and NGO observers reported
                                                                                             that although judges continued to award victims compensation for
              PROTECTION
                                                                                             damages, victims almost never received damages in practice and
              The government increased victim protection efforts. The government
                                                                                             courts lacked effective mechanisms to collect damages from traffickers.
              lacked a reliable mechanism to consolidate statistics on the total
              number of victims identiﬁed and assisted. The government reported              DFA, in collaboration with the IACAT and its member agencies,
              identifying 1,802 victims, compared with 1,534 potential victims               implemented whole-of-government procedures to ensure interagency
              identiﬁed in the previous reporting period. Of the 1,802 victims               coordination of services for repatriated Filipino trafficking victims. The
              identiﬁed, traffickers exploited 535 in sex trafficking, 501 in forced         government continued to deploy DSWD social workers in Philippine
              labor, and 766 in unspeciﬁed exploitations; 551 were male and 1,251            diplomatic missions in Hong Kong, Kuwait, Malaysia, Qatar, Saudi Arabia,
              were female. The Department of Foreign Affairs (DFA) reported                  South Korea, and the United Arab Emirates (UAE). DFA allocated 1
              identifying 248 potential Filipino trafficking victims abroad from July        billion pesos ($19.6 million), similar to the amount allocated in 2020,
              to December 2021, primarily in the Middle East and Asia, compared to           for the Assistance to Nationals Fund (ATN), which covered assistance
              2,429 in the previous reporting period. In addition to victims identiﬁed       such as airfare, meal allowance, shelter, medical care, and other needs
              by the government, NGOs and an international organization reported             of overseas Filipino workers (OFWs). DFA reported dispersing 62.8
              identifying 985 sex trafficking victims (228 men, 742 women, 197 boys,         million pesos ($1.23 million) from the ATN, compared with 28.38 million
              and 545 girls) and six adult female labor trafficking victims during           pesos ($556,140) in the previous reporting period. DFA provided
              the reporting period.                                                          nine Philippine overseas missions with funds to support shelters or
                                                                                             temporary accommodations for Filipino trafficking victims awaiting
              The government reported providing all identiﬁed victims with direct
                                                                                             the resolution of their cases or their repatriation. In 2021, DFA reported
              services or referrals to various protection services, including shelter
                                                                                             assisting 431 potential victims of human trafficking identiﬁed by
              provisions of basic needs, medical care, education assistance, psycho-
                                                                                             overseas missions (2,575 in 2020), of which the majority experienced
              social counseling, and livelihood assistance. The Department of Social
                                                                                             illegal recruitment. DSWD social workers, responsible for assisting
              Welfare and Development (DSWD) continued to implement the national
                                                                                             distressed overseas Filipinos and their families, assisted 536 victims of
              referral system, maintained the national recovery and reintegration
                                                                                             trafficking or illegal recruitment, compared with 1,133 in 2020. Social
              database, and operated 44 residential care facilities that provided
                                                                                             services provided to OFW trafficking victims included coordination
              services to victims of trafficking and other forms of exploitation. Of
                                                                                             with the host government, contract buy-out, shelter, provision of
              these facilities, 24 served children, 13 served women, four served older
                                                                                             personal necessities, medical aid, ﬁnancial assistance, payment of
              persons, one served men, and two operated as temporary processing
                                                                                             legal fees, repatriation, and referral to appropriate agencies. With
              centers. The government allocated 24.8 million pesos ($485,990) to
                                                                                             donor support and in cooperation with an NGO, the IACAT operated
              implement DSWD’s recovery and reintegration program for trafficking
                                                                                             the Task Force Against the Trafficking of Overseas Filipino Workers,
              victims, compared with 22.9 million pesos ($448,760) in 2020.
                                                                                             which assisted 248 Filipino domestic workers repatriated from the


  448                                                                                                                                    Haiti AR_000929
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 554 of 729




                                                                                                                                                                  PHILIPPINES
Middle East, from July to December 2021, who reported experiencing              caused delayed in the issuance of overseas employment certiﬁcates
indicators of trafficking.                                                      required for departures. The BI Travel Control and Enforcement Unit
                                                                                continued to screen departing passengers and deferred the departure
PREVENTION                                                                      of 13,805 passengers (11,706 in 2020), including 683 potential victims
The government slightly increased efforts to prevent trafficking. IACAT,        of trafficking, due to incomplete or suspicious travel documents or
the lead coordinating body responsible for overseeing and monitoring            misrepresentation. BI stopped six foreign registered sex offenders from
implementation of the government’s anti-trafficking efforts and which           entering the country.
the secretaries of DOJ and DSWD chaired and co-chaired respectively,
                                                                                The lack of a centralized database tracking illegal recruitment and
met regularly to share information and coordinate policies. Three NGOs
                                                                                human trafficking continued to hamper the government’s efforts to
participated as members of IACAT, which also involved additional NGOs,
                                                                                prevent trafficking and hold traffickers accountable. Observers stated
private sector representatives, and survivors in technical working groups
                                                                                the government did not adequately fund and staff the labor inspectorate,
and other fora. In partnership with an NGO, IACAT created a working
                                                                                and the government did not report providing training for labor inspectors
group that met to consider the creation of a formal council for trafficking
                                                                                to identify indicators of trafficking, which may have impeded the
survivors to advise and make recommendations to the government on
                                                                                government’s ability to identify potential cases of forced labor. The
anti-trafficking policies. The government allocated 68.4 million pesos
                                                                                government did not prioritize identifying forced labor on ﬁshing vessels
($1.34 million) to the IACAT Secretariat’s budget, compared with to
                                                                                and employed notably few inspectors dedicated to conduct inspections
65.2 million pesos ($1.28 million) in 2020. IACAT reported creating 76
                                                                                on ﬁshing vessels. Despite conducting more than 59,100 labor inspections,
permanent staff positions for the Secretariat’s staff; approval of these
                                                                                the government reported identifying only six child labor violations in
positions was pending at the end of the reporting period. The government
                                                                                2021. The government did not make efforts to reduce the demand for
continued to implement its 2017-2021 national action plan (NAP), which
                                                                                commercial sex acts. DOJ continued to introduce government officials to
expired in December 2021; the government began developing an updated
                                                                                initiatives aimed at addressing human trafficking in public procurement
NAP at the end of the reporting period. NGOs noted insufficient resources
                                                                                and supply chains.
within the government’s anti-trafficking structures, especially for law
enforcement, specialized trainings, and support services, and for ensuring
                                                                                TRAFFICKING PROFILE
local government units implemented trafficking laws.
                                                                                As reported over the past ﬁve years, human traffickers exploit domestic
The government—including IACAT, its member agencies, and anti-                  and foreign victims in the Philippines, and traffickers exploit victims from
trafficking regional task forces—both independently and in partnership          the Philippines abroad. Traffickers exploit women and children from rural
with civil society, held national, regional, and local-level trafficking        communities, conﬂict- and disaster-affected areas, and impoverished
awareness-raising campaigns targeting community leaders, local officials,       urban centers in sex trafficking, forced domestic work, forced begging,
potential migrant workers, and the general public on human trafficking          and other forms of forced labor in tourist destinations and urban areas
indicators, potential risk factors, and the various forms of trafficking. The   around the country, and traffickers exploit men in forced labor in the
government conducted a series of orientation meetings reaching more             agricultural, construction, ﬁshing, and maritime industries, sometimes
than 3,000 child protection actors in the public and private sectors, as        through debt-based coercion. NGOs and government officials continue
well as a social media awareness campaign, on the Special Protection of         to report cases in which family members sold children to employers for
Children in Situations of Armed Conﬂict (CSAC) Act, which prohibited            domestic labor or sexual exploitation, and there are reportedly hundreds
the recruitment of children in armed conﬂict. The government also held          of thousands of children involved in selling and begging on the streets at
a webinar attended by 450 participants from government agencies,                risk to trafficking. One study found that approximately 50,000 Filipino
including the PNP and AFP, covering the CSAC Act. The AFP and UNICEF            children are employed as domestic workers in the Philippines, including
approved a Strategic Plan to End Recruitment of Children and other              nearly 5,000 who are younger than the age of 15. A signiﬁcant percentage
Grave Violations in June 2021; the plan supports the implementation             of working children faced hazardous working conditions, including in
of the CSAC Act.                                                                mines, factories, and farms, where they likely experienced indicators
                                                                                of forced labor. Indigenous persons and many of the approximately
IACAT continued to operate and fund a 24/7 hotline dedicated to assisting
                                                                                340,000 internally displaced persons in Mindanao are at risk of trafficking,
trafficking victims; the hotline identiﬁed 36 potential trafficking cases in
                                                                                including through fraudulent promises of employment. Non-state armed
2021 and referred all cases to law enforcement and all victims to services.
                                                                                groups operating in the Philippines, including the New People’s Army,
PNP and the Commission on Filipinos Overseas (CFO) also continued
                                                                                Maute Group, Moro National Liberation Front, Abu Sayyaf Group, and
to operate hotlines, and the DFA Office of Migrant Workers Affairs
                                                                                Bangsamoro Islamic Freedom Fighters, unlawfully recruit and use child
maintained a HELP Facebook page for Filipinos working abroad who were
                                                                                soldiers, at times through force, for combat and noncombat roles. In
in distress and their families to request assistance. In partnership with
                                                                                2021, reports also indicate the AFP unlawfully recruited and used child
an international organization and an NGO, IACAT began developing an
                                                                                soldiers. Non-state supporters of ISIS reportedly subject women and
online mechanism to provide migrant workers with access to frequently
                                                                                girls to sexual slavery in the Philippines. NGOs report orphans and
asked questions to help triage claims and link migrants with existing
                                                                                unaccompanied children are vulnerable to recruitment by armed forces
grievance mechanisms.
                                                                                and nonstate groups.
The Department of Labor and Employment (DOLE) overseas labor
                                                                                The government processes approximately 2.3 million new or renewed
officers continued to review overseas Filipino workers’ labor contracts
                                                                                contracts for Filipinos to work overseas in nearly 170 countries each year;
and assist them with labor contract violations and allegations of abuse.
                                                                                however, temporary travel restrictions related to the pandemic prevented
The Philippines Overseas Employment Administration (POEA) ﬁled
                                                                                many Filipino workers from departing for overseas employment. A
868 administrative charges against licensed recruitment agencies for
                                                                                signiﬁcant number of Filipino migrant workers become victims of sex
disallowed practices and cancelled 18 agencies’ licenses, compared with
                                                                                trafficking or labor trafficking in numerous industries, including industrial
508 charges and 22 cancellations of agencies’ licenses in the previous
                                                                                ﬁshing, shipping, construction, manufacturing, education, home health
reporting period. In December 2021, the president signed Department
                                                                                care, and agriculture, as well as in domestic work, janitorial service, and
of Migrant Workers (DMW) Act, which elevated POEA to an executive
                                                                                other hospitality-related jobs, particularly in the Middle East and Asia
department. The government officially formed DMW in February 2022
                                                                                but also in all other regions. Traffickers, typically in partnership with local
and mandated it to oversee law enforcement action against illegal
                                                                                networks and facilitators and increasingly using social networking sites
recruitment agencies, create a database to track recruiters involved in
                                                                                and other digital platforms, recruit unsuspecting Filipinos through illegal
trafficking crimes, and raise awareness of trafficking indicators among
                                                                                recruitment practices, such as deception, hidden fees, and production of
migrant workers. The government maintained bilateral labor agreements
                                                                                fraudulent passports, overseas employment certiﬁcates, and contracts, to
with various destination countries on the recruitment of migrant workers
                                                                                exploit migrant workers in sex and labor trafficking. In January 2021, media
and the protection of their rights. International organizations continued
                                                                                reported traffickers fraudulently recruited dozens of Filipino domestic
to report that the high volume of employment contracts requiring
                                                                                workers to work in the UAE but instead transported them to Damascus
veriﬁcation by POEA and the Philippine Overseas Labor Office often
                                                                                for forced domestic work. Using tourist visas available in Middle East
                                                                                                                                    Haiti AR_000930               449
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 555 of 729
POLAND   countries where many Filipinos work in household service jobs, traffickers       to the previous reporting period, considering the impact of the COVID-19
         lure children from remote areas of Mindanao and other regions then sell          pandemic on its anti-trafficking capacity; therefore Poland remained
         them to employment sponsors who exploit them. Traffickers also use               on Tier 2. These efforts included investigating and prosecuting more
         student and intern exchange programs and fake childcare positions, as            suspected traffickers. The government adopted a new national action
         well as porous maritime borders, to circumvent the Philippine government         plan (NAP), and the government’s ﬁrst procurement strategy requiring
         and destination countries’ regulatory frameworks for foreign workers and         authorities to ensure forced labor was not used in government contracts.
         evade detection. Traffickers exploit Filipinos already working overseas          The government identiﬁed and assisted more victims, enacted legislation
         through fraudulent employment offers to work in another country.                 increasing the penalties for trafficking crimes committed against
         Traffickers sometimes take advantage of the absence of adequate                  those ﬂeeing Russia’s war on Ukraine, and enhanced protections for
         immigration personnel at smaller airports in the Philippines. Observers          unaccompanied children. However, the government did not meet the
         report traffickers are increasingly using “intra-company transferee” and         minimum standards in several key areas. Labor inspectors did not identify
         “short-term visitor” visas—both legitimate and fraudulent—to facilitate          any trafficking victims, and overall victim identiﬁcation efforts remained
         the travel of Filipino engineers and undergraduate students to Japan,            inadequate. The government also did not increase resources for victim
         where traffickers subsequently exploit them in forced labor in factories.        services, thereby constraining overall protection efforts. Authorities
         Sex trafficking occurs in tourist destinations, such as Boracay, Angeles         lacked a central mechanism to cross-reference and consolidate law
         City, Olongapo, Puerto Galera, and Surigao, where there is a high demand         enforcement statistics, which may have hindered the government’s
         for commercial sex acts. Although the availability of child sex trafficking      ability to track trafficking trends and effectively adapt policy.
         victims in commercial establishments declined in some urban areas, child
         sex trafficking remains a pervasive problem, typically abetted by taxi
                                                                                                   POLAND TIER RANKING BY YEAR
         drivers who have knowledge of clandestine locations. Many sex tourists
                                                                                               1
         in the Philippines are convicted or charged sex offenders or pedophiles
         in their home countries and are most commonly citizens of Australia,                 2
         Japan, New Zealand, the United Kingdom, and the United States, with an             2WL
         increasing number of reports from Canada, Morocco, Iraq, and Denmark.
                                                                                               3
         Filipino men also purchase commercial sex acts from child trafficking                       2015      2016     2017     2018   2019   2020    2021    2022
         victims. Law enforcement information indicates that the Philippines is
         one of the largest known sources of online sexual exploitation of children,
         in which traffickers sexually exploit children, individually and in groups,
         in live internet broadcasts in exchange for compensation wired through           PRIORITIZED RECOMMENDATIONS:
         a money transfer agency by individuals most often in another country,            Increase efforts to identify trafficking victims, particularly among
         including the United States, Australia, Canada, and the United Kingdom.          vulnerable populations, including unaccompanied children and migrants.
         The traffickers are often parents or close relatives who operate in private
                                                                                          • Proactively identify labor trafficking victims, including by strengthening
         residences or small cyber cafes, and many child victims, girls and boys, are
                                                                                          the capacity of the Labor Inspectorate to identify victims of forced
         younger than 12 years. Identiﬁed hotspots for this form of sex trafficking
                                                                                          labor and refer them to services. • Vigorously investigate and prosecute
         in Luzon and Visayas include Iligan, Lapu-Lapu, Pampanga, Quezon
                                                                                          alleged trafficking crimes, particularly forced labor cases, and seek
         City, Malabon, Pasig, Taguig, and Caloocan. Reports cited a nearly 265
                                                                                          signiﬁcant prison terms for convicted traffickers. • Increase funding for
         percent increase in unconﬁrmed reports of online child sexual abuse
                                                                                          comprehensive victim services, including specialized accommodation
         during the pandemic. Economic impacts of the pandemic, combined
                                                                                          for child and male victims. • Increase training for prosecutors and
         with an increased amount of time children spent at home, resulted in
                                                                                          judges on the importance of prosecuting under the anti-trafficking
         an increasing number of families forcing their children into online sexual
         exploitation. Traffickers exploit PRC national and other Asian women in          statute, the severity of trafficking crimes, and a trauma-informed,
         commercial sex in locations near offshore gaming operations that cater           victim-centered approach to conducting trials. • Increase training for law
         to PRC nationals; however, in 2020 the pandemic resulted in a massive            enforcement on the element of coercion in trafficking crimes to ensure
         departure of PRC nationals employed in offshore gaming operations,               that victims are not penalized for crimes their traffickers compelled
         resulting in decreased reports of sex trafficking among this community.          them to commit. • Improve central operational coordination and data
         PRC nationals employed in the Philippines at worksites affiliated with the       collection for anti-trafficking activities. • Increase worker protections by
         PRC’s Belt and Road Initiative were vulnerable to forced labor.                  eliminating recruitment fees charged to workers by labor recruiters and
                                                                                          ensuring employers pay any recruitment fees. • Establish procedures
         Officials, including those in diplomatic missions, law enforcement and           or specialized units to ensure trafficking cases are handled by trained
         immigration agencies, and other government entities, allegedly have              prosecutors. • Appoint trauma-informed officials to conduct child victim
         been complicit in trafficking or allowed traffickers to operate with
                                                                                          witness interviews in a child-friendly manner. • Improve victims’ ability
         impunity. Some corrupt officials allegedly accept bribes to facilitate illegal
                                                                                          to access court-ordered restitution in criminal cases and compensation
         departures for overseas workers, operate sex trafficking establishments,
                                                                                          through civil proceedings.
         facilitate production of fraudulent identity documents, or overlook illegal
         labor recruiters. Reports in previous years asserted police conduct
                                                                                          PROSECUTION
         indiscriminate or fake raids on commercial sex establishments to extort
                                                                                          The government increased law enforcement efforts. Article 189a of
         money from managers, clients, and victims. Some personnel working
                                                                                          Poland’s penal code criminalized sex trafficking and labor trafficking
         at Philippine embassies reportedly withhold back wages procured for
                                                                                          and prescribed penalties of three to 15 years’ imprisonment. These
         their domestic workers, subject them to domestic servitude, or coerce
                                                                                          penalties were sufficiently stringent and, with respect to sex trafficking,
         sexual acts in exchange for government protection services. There were
         anecdotal reports that police and local government units subjected               commensurate with those prescribed for other serious crimes, such
         individuals—who had voluntarily surrendered to officials in relation to          as rape. Article 189a replaced Article 253 of the criminal code, which
         the government’s anti-drug campaign—to forced labor.                             prosecutors could still use in cases that started when Article 253 was
                                                                                          in effect. Article 253 of the criminal code also prescribed penalties of
                                                                                          three to 15 years’ imprisonment. In addition, Article 203 criminalized
                                                                                          inducing an adult into prostitution through force, fraud, or coercion, and
          POLAND: TIER 2                                                                  Article 204.3 criminalized inducing a child into prostitution; both articles
                                                                                          prescribed penalties of one to 10 years’ imprisonment. As a result of
                                                                                          Russia’s full-scale invasion of Ukraine and the resulting refugee crisis
         The Government of Poland does not fully meet the minimum standards               and refugees’ heightened vulnerability to trafficking, in March 2022, the
         for the elimination of trafficking but is making signiﬁcant efforts to do        government enacted legislation increasing the penalties under Article
         so. The government demonstrated overall increasing efforts compared              189a for trafficking crimes committed during Russia’s war on Ukraine

 450                                                                                                                                      Haiti AR_000931
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 556 of 729




                                                                                                                                                               POLAND
to between 10 to 15 years’ imprisonment or 25 years’ imprisonment              for law enforcement to refer discontinued or dismissed trafficking
for severe cases.                                                              investigations and prosecutions for review to the prosecutor responsible
                                                                               for coordinating trafficking investigations. However, an NGO reported
The government lacked a central mechanism to cross-reference
                                                                               there was no formal mechanism for civil society to refer cases to the
and consolidate law enforcement statistics and did not consistently
                                                                               NPO for reconsideration. Police referred four discontinued or dismissed
disaggregate sex and labor trafficking data. Law enforcement authorities
                                                                               cases, and the Border Guard referred one to NPO (11 total in 2020); NPO
initiated 32 investigations under Article 189a (22 in 2020); nine were for
                                                                               agreed with authorities that three cases potentially involved trafficking
sex trafficking, 11 for forced labor (including two for forced begging),
                                                                               (ﬁve in 2020), and two cases were dismissed. The government did not
and 12 were for unspeciﬁed forms of exploitation. Prosecutors initiated
                                                                               report any investigations, prosecutions, or convictions of government
57 investigations from cases referred by police and border guards (46 in
                                                                               employees complicit in trafficking crimes. Authorities collaborated
2020) and prosecuted 25 defendants under Article 189a (20 in 2020);
                                                                               with Romanian authorities on a case involving Romanian children of
21 were for sex trafficking, one was for forced labor, and three were for
                                                                               Roma origin forced to beg in Poland. Authorities also coordinated with
unspeciﬁed forms of trafficking. The government also investigated 16
                                                                               counterparts in other EU countries, including Germany, Lithuania, and
cases and prosecuted 16 defendants under Article 203 or Article 204.3,
                                                                               the Netherlands, and with law enforcement in the UK. In late 2021, the
compared with 16 cases investigated and four defendants prosecuted in
                                                                               National Police joined a European Multidisciplinary Platform Against
2020. The National Prosecutor’s Office (NPO) reported courts convicted
                                                                               Criminal Threats operation focused on an organized criminal group
25 traffickers under Article 189a (compared with an unknown number
                                                                               suspected of exploiting women, mainly from PRC, for commercial sex.
of traffickers in 12 cases in 2020). Eleven were sentenced to less than
                                                                               The government obtained the extradition of two suspected traffickers
three years’ imprisonment, seven to three were sentenced to ﬁve years,
                                                                               residing in Germany.
and seven were sentenced to more than ﬁve years. The NPO reported
the majority of victims identiﬁed in investigations were Polish citizens
(318 out of 447), largely due to three new investigations authorities
                                                                               PROTECTION
                                                                               The government increased protection efforts. The government identiﬁed
initiated, in cooperation with the United Kingdom (UK), focused on
                                                                               94 victims (70 for labor trafficking, including one for forced begging,
Polish citizens exploited in the UK for forced labor and social welfare
                                                                               and 24 for sex trafficking), an increase from 82 in 2020 but still far less
fraud. The Border Guard launched an investigation that led to the
                                                                               than the 221 victims identiﬁed in 2019. Authorities referred 61 to care
identiﬁcation of 40 victims from Colombia, Mexico, and Venezuela who
                                                                               facilities, compared with 39 in 2020; the government reported all victims
were exploited for labor in the food and agriculture processing industry
                                                                               were offered services, but some chose not to accept them. The National
and in manufacturing. The government reported law enforcement efforts
                                                                               Intervention-Consultation Center for Victims of Trafficking (KCIK), run
were not impacted by the pandemic; however, training opportunities
                                                                               by two government-funded NGOs, provided assistance to 210 potential
for police were reduced due to pandemic-related restrictions.
                                                                               victims (166 in 2020), including 52 victims of sex trafficking, 87 victims
The National Police maintained an anti-trafficking department with 11          of forced labor (including two for forced begging, two for forced criminal
officers, along with 17 regional offices, each with three to eight officers    activity, and one for domestic servitude), and 71 victims of other types of
investigating trafficking, child pornography, and child sexual abuse.          exploitation related to trafficking; 115 were female, and 95 were male; and
The Central Bureau of Investigations maintained an anti-trafficking            159 were foreign victims, an increase from 109 in 2020. Due to pandemic-
coordinator at its headquarters and in each of its 17 regional branches,       related restrictions, authorities conducted fewer operations to screen
and the Border Guard operated a specialized central team and had 10            workplaces and commercial sex operations for potential victims, and
regional anti-trafficking coordinators. Each regional prosecutorial office     training for police officers was limited. The National Police and Border
had a trafficking expert to assist local prosecutors and who could assume      Guard began using standard operating procedures (SOPs) to identify
responsibility for more complex cases. During the reporting period, a          and refer victims that had been revised during the previous reporting
working group of the national anti-trafficking advisory body created a         period; these SOPs included tools to identify child victims and potential
manual for law enforcement and the judiciary with detailed information         victims during the asylum process and a list of vulnerable groups that
on the law’s deﬁnition of trafficking, indicators and trends, and best         border guard officers should screen for trafficking. In response to an
practices for prosecuting traffickers. The government continued to             inﬂux of third country nationals attempting to cross the border from
provide institutionalized training programs for police, border guards,         Belarus, the government issued a regulation in August 2021 permitting the
prosecutors, judges, consular officers, asylum officers, and labor             Border Guard to return to Belarus any migrants who crossed the border
inspectors on various anti-trafficking issues, fully or partially online due   irregularly. In October 2021, the government legalized the practice of
to the pandemic. In May 2021, the Ministry of Interior (MOI) organized         these “push-backs,” allowing the government to withhold international
two workshops on illicit ﬁnancial activity related to human trafficking        protection for asylum-seekers; observers expressed concern this law
for police and Border Guard officers. Observers reported prosecutors           violated asylum seekers’ right to protection and authorities may have
and judges lacked familiarity with victim-centered approaches, the             deported unidentiﬁed trafficking victims. During 2021, the Border Guard
impact of trauma on victims, and the severity and complexity of the            identiﬁed three potential trafficking victims attempting to enter Poland
crime; observers reported the frequent rotation of officials focused           through the border with Belarus. The government signed an agreement
on trafficking, both at the national and provincial levels, negatively         with an international organization to implement a government- and
impacted the government’s understanding of the complexity of the crime.        EU-funded project to build capacity within the Border Guard to identify
Observers reported, despite the continued increase in labor trafficking        trafficking victims, particularly labor trafficking victims. Police and
in Poland, the government rarely prosecuted forced labor cases due to          prosecutors had previously acknowledged that authorities lacked the
the difficulty in collecting evidence in these cases, the low number of        expertise to identify forced labor and child victims, particularly among
victims who self-identify as forced labor victims, and a lack of political     unaccompanied children. As in the previous three years, labor inspectors
will to prioritize a form of trafficking that largely affects non-Polish       did not identify any victims in 2021. Observers previously noted labor
migrants or Polish citizens residing abroad. Moreover, the law did not         inspectors’ challenges in determining whether an offense constituted
have a clear deﬁnition of what constitutes forced labor in the criminal        a violation of workers’ rights or forced labor. One working group of
code, which contributed to law enforcement’s under-identiﬁcation of            the national anti-trafficking advisory body developed SOPs for labor
labor trafficking, and prosecutors and judges often lacked expertise in        inspectors on the identiﬁcation and referral of labor trafficking victims;
labor trafficking cases.                                                       in December 2021, the government distributed the SOPs to all district
The NPO monitored all trafficking cases throughout the country that            labor inspection offices. The MOI funded training for Polish national airline
were classiﬁed as trafficking in the investigation stage. However, experts     crews on trafficking indicators and a reporting mechanism developed
reported district prosecutors often qualiﬁed trafficking as lesser offenses,   by the airline. The Ministry of Family and Social Policy conducted two
such as pimping or violation of workers’ rights. Observers noted it was        virtual training sessions for social workers focused on the identiﬁcation
difficult to meet the evidentiary threshold to prosecute a crime under         of trafficking victims, crisis intervention, and cooperation with other
the trafficking statute. The NPO continued using a formal mechanism            institutions on victim protection. Civil society representatives reported
                                                                                                                                 Haiti AR_000932               451
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 557 of 729
POLAND   effective cooperation with the national police and Border Guard on            noted law enforcement and prosecutorial interview techniques lacked
         victim referral procedures during the reporting period.                       a trauma-informed approach, hindering opportunities to build rapport
                                                                                       with traumatized victims, who then were less likely to provide reliable
         KCIK provided Polish and foreign national adult and child victims with
                                                                                       testimony. NGOs reported judges interviewed children and did not
         medical and psychological care, shelter, legal counseling, welfare support,
                                                                                       receive training on child-friendly, victim-centered, or trauma-informed
         reintegration services, and referrals to orphanages and foster care for
                                                                                       interviewing techniques, which re-traumatized victims. Courts did not
         child victims. Observers expressed concern the national system for child
                                                                                       award restitution in 2021, compared with one case in 2020. Victims
         victim assistance did not properly address the needs of unaccompanied
                                                                                       also could receive compensation in civil suits; the government did not
         children and noted the government placed unaccompanied child victims
                                                                                       report if any victims ﬁled such suits.
         in foster families or orphanages unprepared to assist child victims.
         Legislation passed in March 2022 mandated that all unaccompanied
         children entering Poland from Ukraine be provided a court-appointed
                                                                                       PREVENTION
                                                                                       The government increased prevention efforts. The MOI maintained
         temporary guardian authorized to represent the child and exercise
                                                                                       an advisory body, chaired by the Minister of Interior and including
         custody over the child and the child’s property; the legislation also
                                                                                       interagency and civil society representatives, tasked with evaluating
         required the government to create a register of all unaccompanied
                                                                                       the implementation of anti-trafficking efforts and projects, including
         children coming from Ukraine, to be run by the Ministry of Family and
                                                                                       the NAP, and preparing annual reports. Civil society continued to
         Social Policy. KCIK operated two shelters for adult female victims,
                                                                                       express concern that this body lacked authority and could not compel
         including one for women with children and a small shelter for men,
                                                                                       government agencies to provide resources for anti-trafficking efforts.
         and it rented apartments for victims who did not prefer shelters. The
                                                                                       The advisory body met once, and its four working groups met regularly.
         government allowed victims to seek employment and work while
                                                                                       The government reported, due to pandemic-related restrictions, internal
         receiving assistance and to leave the shelters unchaperoned and at
                                                                                       reorganization of the MOI’s anti-trafficking office, and the migration
         will; shelters and housing were available for victims with disabilities.
                                                                                       crisis on the border with Belarus, the government only organized one
         Observers noted shelter capacity for male victims was insufficient given
                                                                                       meeting of provincial-level interagency anti-trafficking teams during the
         the increasing number of male labor trafficking victims. The government
                                                                                       reporting period. In November 2021, the Council of Ministers adopted a
         provided specialized shelter and housing to 54 victims in 2020 (42 in
                                                                                       new NAP for 2022-2024. For the fourth consecutive year, the government
         2020). Victims also could receive general assistance (social, medical,
                                                                                       allocated 135,000 zloty ($33,310) for the implementation of the NAP.
         psychological, and legal) in 171 crisis intervention centers operated and
                                                                                       The MOI published an annual implementation report and maintained
         funded by local governments, 17 of which maintained staff trained on
                                                                                       a web portal with relevant statistics, publications, and information
         assisting trafficking victims; KCIK arranged accommodations for 65
                                                                                       on victim assistance. The government lacked a central mechanism to
         victims using crisis centers and other locations (23 in 2020).
                                                                                       cross-reference and consolidate trafficking-related statistics, hindering
         The government allocated 1.1 million zloty ($271,400) to two NGOs             officials’ ability to assess the scope of trafficking and the efficacy of
         that run KCIK for victim services; funding has remained stagnant since        law enforcement efforts.
         2015. The government also allocated 80,000 zloty ($19,740) to train
                                                                                       The government conducted an awareness campaign targeting migrants
         welfare assistance personnel on identiﬁcation of victims and provision
                                                                                       at risk of being exploited in Poland; the government distributed leaﬂets
         of assistance to trafficking victims and witnesses, the same amount as
                                                                                       and posters in four languages to 60 sites around the country and
         in 2020. Experts said limited government funding for victim assistance
                                                                                       displayed anti-trafficking messages on screens in airports and on the
         constrained service provision, particularly outside of Warsaw and
                                                                                       government’s online visa application portal. Provincial-level interagency
         Katowice. All non-European Economic Area (EEA) victims were entitled
                                                                                       anti-trafficking teams in all 16 regions continued prevention and public
         to social welfare beneﬁts, including crisis intervention assistance,
                                                                                       awareness campaigns, including by distributing leaﬂets and showing
         shelter, meals, necessary clothing, and ﬁnancial assistance; in the ﬁrst
                                                                                       a mobile exhibition on forced labor. Observers noted these provincial-
         six months of 2021, 21 non-EEA national victims received assistance,
                                                                                       level anti-trafficking teams were uncoordinated and inconsistent in their
         compared with 16 in the ﬁrst six months of 2020 (26 total in 2020).
                                                                                       effectiveness. A government-funded NGO operated a 24-hour hotline
         Victims from the EEA had access to the full scope of welfare beneﬁts
                                                                                       for trafficking victims and witnesses, which received 7,923 calls (9,504
         offered to Polish citizens if they could prove habitual residency. NGOs
                                                                                       in 2020). The government reported calls to the hotline led to victim
         had previously reported some victims, particularly from Romania and
                                                                                       identiﬁcation; however, the hotline did not maintain statistics on how
         Bulgaria, were unable to prove this through the required documentation.
                                                                                       many calls were trafficking-related or resulted in investigations and
         Legislation went into effect in January 2021 allowing law enforcement
                                                                                       victims identiﬁed. An NGO reported a growing number of potential
         to issue certiﬁcates to potential victims from EEA countries, facilitating
                                                                                       victims contacted the hotline directly through social media or private
         their access to welfare beneﬁts; in 2021, KCIK provided assistance to
                                                                                       messaging applications. To prevent trafficking among those ﬂeeing
         13 EEA nationals (10 Bulgarians, one Romanian, and two Slovakians),
                                                                                       Russia’s war on Ukraine, the government worked with an international
         compared with six in 2020.
                                                                                       organization to limit border access to credentialed humanitarian actors
         Authorities reported screening individuals in vulnerable populations,         and local authorities, created and distributed informational leaﬂets
         including individuals in commercial sex and migrants, during law              with the hotline number, and provided anti-trafficking information on
         enforcement operations. Foreign victims were entitled to a three-month        a government website.
         reﬂection period, during which they could stay legally in Poland to
                                                                                       Local authorities could ban employers—previously convicted of
         decide whether to assist in the criminal process; 61 victims used this
                                                                                       trafficking—from hiring foreign nationals; the government did not
         beneﬁt in 2021, compared with 11 in 2020. Foreign victims were eligible
                                                                                       report whether any entities were banned. The law prohibited recruitment
         for a residence permit valid for up to three years, which entitled them
                                                                                       fees for employment within Poland, but recruitment agencies could
         to work, and could apply for permanent residency; authorities granted
                                                                                       charge fees for four categories of expenses to secure work abroad:
         residence permits to 16 foreign victims in 2021, compared with 15 in
                                                                                       to cover transportation, visas, medical examinations, and translation
         2020. The government repatriated one foreign victim to Bulgaria and
                                                                                       of documents. The National Labor Inspectorate (NLI) reported 81 job
         coordinated with an international organization to repatriate 15 foreign
                                                                                       recruitment agencies to local authorities for operating illegally (54 in
         victims (two in 2020); a government-funded NGO repatriated one
                                                                                       2020); the government removed 33 job recruitment agencies from the
         foreign victim. Polish law permitted victims to provide testimony via
                                                                                       official registry of legally operating recruitment agencies (19 in 2020).
         video or written statements; audio-video recording of testimony was
                                                                                       Due to pandemic-related restrictions, non-emergency NLI inspections
         obligatory for victims younger than 15 years of age and for victims of
                                                                                       were carried out remotely or via a hybrid format from January to May
         sexual crimes, including sex trafficking. A government-funded NGO
                                                                                       2021. The NLI conducted 495 inspections of job recruitment agencies
         provided legal assistance to 100 victims in 2021. The government
                                                                                       (429 in 2020) but did not identify any potential trafficking victims. The
         reported the majority of victims identiﬁed by prosecutors agreed
                                                                                       NLI participated in an EU information campaign focused on raising
         to cooperate in investigations of their traffickers. However, experts
 452                                                                                                                               Haiti AR_000933
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 558 of 729




                                                                                                                                                                 PORTUGAL
awareness about the rights of seasonal workers, obligations of employers,       on Tier 2. These efforts included adopting a national identiﬁcation and
and counseling services for seasonal workers; several NLI regional              referral mechanism speciﬁcally for child trafficking victims and simplifying
branches operated a hotline to provide advice on seasonal work. In              documents for trafficking victims to make them easier to understand.
January 2022, the Council of Ministers adopted its ﬁrst Government              The government also launched a human trafficking awareness campaign
Procurement Strategy for the years 2022-2025; the strategy included             for children and established two working groups focused on human
prioritizing sustainable and innovative public procurement, under               trafficking in the ﬁshing sector, while courts awarded restitution to more
which the government must consider whether forced labor was used                victims than the year prior. However, the government did not meet the
when deciding to grant a contract. The government promoted its 2020             minimum standards in several key areas. The government decreased
manual for employers on identifying and preventing forced labor in              investigations and prosecutions of alleged traffickers compared with the
businesses and supply chains, and the Ministry for Funds and Regional           prior year and did not provide full sentencing data to demonstrate judges
Policy published a special toolkit on its website with questionnaires           were sentencing traffickers with signiﬁcant penalties. The government
to assist employers in identifying potential cases of forced labor. The         identiﬁed and assisted fewer victims for the second consecutive year
government revised the law to allow workers from Armenia, Belarus,              and did not identify any victims among the asylum-seeking population
Georgia, Moldova, Russia, and Ukraine to work in Poland without a work          as a result of ongoing gaps in victim identiﬁcation. The government also
permit for up to two years (previously six months); experts predicted this      continued to lack legal safeguards to protect victims from prosecution for
change would provide stability for migrant workers from these countries         unlawful acts traffickers compelled them to commit and did not report
and lessen their vulnerability to trafficking. In 2021, the government          providing compensation to any trafficking victims in 2020.
passed legislation allowing foreign nationals with a combined residence
and work permit to change employers or positions within a company
                                                                                         PORTUGAL TIER RANKING BY YEAR
without seeking a new permit; the law entered into force in January
                                                                                     1
2022. However, observers reported authorities took six to 12 months
to issue combined residence and work permits to migrants, who often                 2
worked illegally during this time and were vulnerable to exploitation. In         2WL
March 2022, the government granted Ukrainian citizens ﬂeeing Russia’s                3
war on Ukraine 18-month residence permits; however, the law excluded                        2015     2016     2017       2018   2019    2020   2021    2022
individuals who had refugee status in Ukraine, stateless persons, and
other third country nationals who ﬂed Ukraine and could not return to
their countries of origin. The MOI participated in a Council of the Baltic
Sea States project to combat labor trafficking through various efforts,         PRIORITIZED RECOMMENDATIONS:
including by strengthening institutional frameworks and introducing             Improve efforts to proactively identify victims within the country,
relevant legislation, enhancing cooperation with the private sector, and        including Portuguese nationals, children, and sex trafficking victims, by
promoting labor protection in key sectors and industries. The government        systematically training government officials, particularly immigration
did not make efforts to reduce the demand for commercial sex acts.              police, labor inspectors, and law enforcement, on proactive victim
                                                                                identiﬁcation among vulnerable groups. • Vigorously investigate,
TRAFFICKING PROFILE                                                             prosecute, and convict traffickers, including complicit officials, and
As reported over the past ﬁve years, human traffickers exploit domestic         sentence those convicted to signiﬁcant prison terms. • Enact a legal
and foreign victims in Poland, and traffickers exploit Polish victims           provision on the non-punishment of victims to ensure that trafficking
abroad. Traffickers exploit Polish women and children in sex trafficking        victims are not inappropriately penalized for unlawful acts traffickers
within Poland and other European countries, notably France and                  compelled them to commit, including administrative and immigration-
Germany. Traffickers exploit men and women from Poland for forced               related offenses. • Increase trafficking survivor access to damages and
labor in Europe, primarily Western and Northern Europe and in particular        compensation and increase prosecutor’s efforts to systematically request
Germany, Norway, Sweden, and the UK. Traffickers exploit women and              restitution for survivors during criminal trials, including by training
children from South America and Eastern Europe—particularly Bulgaria,           police, prosecutors, and magistrates on victims’ right to restitution.
Romania, and Ukraine—in sex trafficking in Poland. Labor trafficking is         • Allow formal victim identiﬁcation and referral from entities other
the predominant form of trafficking in Poland, and traffickers increasingly     than the police, including civil society, social workers, and health care
use coercion and fraud instead of physical violence or threats of violence;     professionals. • Implement strong regulations and oversight of labor
victims originate from Europe, Asia, Africa, and increasingly from South        recruitment companies that are consistently enforced by investigating
America. Traffickers exploit migrants in forced labor among Poland’s            fraudulent labor recruitment and ensuring cases with indicators of
                                                                                labor trafficking are prosecuted under the trafficking statute. • Allocate
growing Ukrainian, Belarusian, Filipino, and Vietnamese populations,
                                                                                additional resources and capacity for labor inspectors to detect labor
particularly in agriculture, restaurants, construction, domestic work,
                                                                                trafficking. • Utilize the witness protection program for trafficking victims.
and the garment and ﬁsh processing industries. Observers reported the
                                                                                • Enforce the law prohibiting recruitment fees charged to workers and
pandemic increased migrant workers’ vulnerability to trafficking; the
                                                                                ensure any recruitment fees are paid by employers. • Increase survivor
number of potential Ukrainian victims exploited in trafficking in Poland
                                                                                engagement, including by establishing accessible mechanisms for
and seeking assistance upon their return to Ukraine increased twofold
                                                                                receiving and providing compensation for survivor input when forming
in 2020. More than three million refugees from Ukraine, predominantly
                                                                                policies, programs, and trainings. • Increase efforts to pursue ﬁnancial
women and children who are ﬂeeing Russia’s war on Ukraine, have
                                                                                crime investigations in tandem with human trafficking cases.
crossed the Polish border seeking sanctuary and are vulnerable to
trafficking. Traffickers recruit Romanian men, women, and children,
                                                                                PROSECUTION
particularly from the Roma population, for forced begging in Poland;            The government decreased law enforcement efforts. Article 160 of
persons with disabilities are particularly vulnerable.                          the penal code criminalized sex trafficking and labor trafficking and
                                                                                prescribed penalties of three to 10 years’ imprisonment, which were
                                                                                sufficiently stringent and, with respect to sex trafficking, commensurate
                                                                                with those for other serious crimes, such as rape. Some child sex
 PORTUGAL: TIER 2                                                               trafficking crimes could also be prosecuted under Article 175, which
                                                                                addressed “pimping” crimes; it prescribed penalties of one to 10 years’
The Government of Portugal does not fully meet the minimum standards            imprisonment. Article 159 prohibited slavery and prescribed penalties
for the elimination of trafficking but is making signiﬁcant efforts to do so.   of ﬁve to 15 years’ imprisonment. In response to the pandemic, the
The government demonstrated overall increasing efforts compared with            government ordered a national lockdown for three months in 2020,
the previous reporting period, considering the impact of the COVID-19           and although some procedural changes were required, the government
pandemic on its anti-trafficking capacity; therefore Portugal remained          reported that anti-TIP officials, units, and coordinating bodies continued
                                                                                                                                       Haiti AR_000934           453
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 559 of 729
PORTUGAL   to operate in 2020, allowing anti-trafficking efforts to continue             victims could receive assistance from government-funded NGOs, such
           unimpeded, including investigations and criminal proceedings in courts.       as shelter, they were not entitled to all of the same beneﬁts as conﬁrmed
                                                                                         victims, including entitlement to a residence permit. Furthermore, if
           In 2020, the most recent year available for ﬁnalized and published
                                                                                         during legal proceedings, law enforcement re-classiﬁed the crime as
           government statistics, the Foreigner and Borders Service (SEF) and
                                                                                         a non-trafficking crime, victims would remain “presumed” rather than
           Criminal Investigation Police (PJ) initiated 94 human trafficking
                                                                                         conﬁrmed. Since 2013, GRETA has urged the government to ensure the
           investigations (at least 42 for sex trafficking and at least 40 for labor
                                                                                         formal identiﬁcation of trafficking victims did not depend, in practice,
           trafficking) with an additional 97 ongoing cases from prior years. This
                                                                                         on their cooperation with law enforcement and on the presence of
           was a decrease compared with 121 in 2019. Prosecutors initiated legal
                                                                                         sufficient grounds to initiate a criminal case. In 2020, of the original
           proceedings against 34 defendants in 2020, a decrease compared with 45
                                                                                         228 possible victims, NGOs identiﬁed 13 “presumed” victims, while
           in 2019 but more than 27 in 2018. In 2020, courts convicted 24 traffickers
                                                                                         an additional 79 victims with continuing investigations continued
           compared with 26 in 2019 and nine in 2018. The government did not
                                                                                         as “presumed” victims, and the remaining victims were determined
           provide comprehensive sentences imposed by courts on traffickers in
                                                                                         not to be trafficking victims—this totaled 92 presumed victims. Of
           2020; however, it reported that judges sentenced at least seven traffickers
                                                                                         the 92 presumed victims, at least 69 were presumed victims of labor
           to one year or longer imprisonment, while one trafficker received a fully
                                                                                         trafficking, mostly in agriculture; six were Portuguese; and ﬁve were
           suspended sentence. The government did not disaggregate between sex
                                                                                         children. Thirteen conﬁrmed victims and 92 presumed victims in 2020
           and labor trafficking for prosecutions and convictions. The government
                                                                                         was a decrease compared with 44 conﬁrmed victims and 130 presumed
           did not report any investigations, prosecutions, or convictions of
                                                                                         victims in 2019 and 44 conﬁrmed victims and 67 presumed victims
           government employees complicit in human trafficking crimes.
                                                                                         in 2018. Experts raised concerns regarding gaps in the government’s
           In 2021, the Prosecutor General released a directive that provided            efforts to proactively identify trafficking victims, as the government
           guidelines for the implementation of the Law on Criminal Policy, including    has not reported identifying any victims among the asylum-seeking
           speciﬁc guidance for investigating and coordinating trafficking cases,        population—presumed or conﬁrmed—and there were no Portuguese
           victim interviewing, avoiding re-traumatization of victims, and working       or children among the conﬁrmed victims.
           with vulnerable groups like children and undocumented migrants. The
                                                                                         The government continued to utilize its national victim identiﬁcation
           SEF had a specialized trafficking unit, and there were several teams within
                                                                                         and referral mechanism, which was widely used and distributed to all
           the PJ who had received special training to investigate trafficking. The
                                                                                         relevant front-line officials, including NGOs, social service workers, and
           SEF reported cooperating in several international investigations through
                                                                                         health care workers. In May 2021, the government adopted a national
           joint action days in 2020, including with Austria, Belgium, Croatia,
                                                                                         identiﬁcation and referral mechanism speciﬁcally for child trafficking
           Cyprus, Europol, Germany, Lithuania, the Netherlands, Romania, Slovenia,
                                                                                         victims; the mechanism was developed by a multidisciplinary group
           Spain, and the United Kingdom, and while there were no trafficking-
                                                                                         composed of various ministries, NGOs, and international organizations.
           related results reported in Portugal, there were 346 potential victims
                                                                                         The OTSH continued to distribute checklists to law enforcement, NGOs,
           identiﬁed and 223 suspects arrested in other participating countries. The
                                                                                         health care professionals, labor inspectors, and social workers on
           SEF reported screening for potential trafficking victims at the Lisbon
                                                                                         identifying victims of sex trafficking and forced labor, including victims
           airport in 2020 and reported identifying several potential trafficking
                                                                                         of forced begging and criminality. The government continued to provide
           victims, at least three suspects, and at least two trafficking networks
                                                                                         a victim identiﬁcation handbook to labor inspectors. Upon encountering
           through this proactive approach. While pandemic-related restrictions
                                                                                         a potential victim, law enforcement personnel conducted an initial
           hindered many in-person trainings, the government adapted to virtual
                                                                                         standardized risk assessment and systematically referred individuals
           platforms and reported the ability to reach more officials in doing so.
                                                                                         deemed vulnerable or at risk to one of ﬁve regional government-
           In 2021, the Observatory on Trafficking in Human Beings (OTSH), in
                                                                                         funded multidisciplinary NGO teams to receive specialized shelter and
           collaboration with other governmental entities and government-funded
                                                                                         assistance. The multidisciplinary NGO teams included psychologists
           civil society organizations, organized and delivered 20 training activities
                                                                                         and social workers.
           to approximately 1,950 law enforcement officers, multidisciplinary teams,
           health care workers, and officials working with children and refugees.        In 2021, the government maintained its 2019 and 2020 funding amounts
                                                                                         for trafficking shelters, victim repatriation, and the multidisciplinary
           PROTECTION                                                                    regional teams at €1.5 million ($1.7 million), with €1.5 million ($1.7
           The government decreased protection efforts. To offer additional              million) earmarked each year through 2022. Adult victims and their
           protections to trafficking victims during the pandemic, the government        minor children had the right to shelter; health care; psycho-social, legal,
           categorized actions related to anti-trafficking as an essential activity,     and translation and interpretation services; a reintegration program;
           absolved trafficking victims of orders mandating restricted movement in       and education and employment training. The government provided
           emergency situations, and created a website where victims could access        23 presumed victims (17 men and six women) with shelter, medical,
           services available to them during the pandemic. In 2020, authorities          and psychological services in 2020, a decrease compared with 57
           and government-funded NGOs initially classiﬁed 228 individuals as             in 2019 and 36 in 2018. Fifteen victims received legal services, eight
           possible victims of trafficking (219 in Portugal and nine abroad); however,   received training and education, and seven received support with
           authorities only “conﬁrmed” 13 as trafficking victims after the conclusion    labor market integration in 2020. The government also enrolled four
           of a criminal investigation. This compared with 44 conﬁrmed victims           trafficking victims in its reintegration program in 2020, which included
           in both 2019 and 2018 and three in 2017. Of the conﬁrmed victims in           accommodation in an independent apartment. The government had ﬁve
           2020, ﬁve were female sex trafficking victims, eight were male labor          government-funded NGO-operated shelters exclusively for trafficking
           trafficking victims, all were adults, and they were predominantly from        victims—two for adult female victims and their minor children, two for
           Pakistan and Romania. Front-line responders, including police and             adult male victims, and one for children. In response to the pandemic,
           NGOs, could identify and refer presumed victims to services, but only         the government implemented additional protective measures for human
           law enforcement officials or the National Rapporteur could formally           trafficking victims in shelters, including social distancing and quarantine
           “conﬁrm” an individual as a trafficking victim. Law enforcement officials     rooms, which may have reduced overall capacity. Adult victims could
           were the primary body responsible for formal conﬁrmation of trafficking       leave the shelters at will unless authorities determined victims’ safety
           victims, while identiﬁcation by the National Rapporteur was typically         was at risk. Child victims received care under Portugal’s child protection
           only used in exceptional circumstances. The government reported               system or through its shelter for child trafficking victims, which could
           that police, judges, and prosecutors determined whether to conﬁrm a           accommodate up to seven children.
           victim by analyzing evidence and the presence of trafficking indicators.
                                                                                         The government offered victims a recovery and reﬂection period
           However, experts argued that, in practice, formal identiﬁcation of
                                                                                         of 30 to 60 days, during which they could recover before deciding
           trafficking victims depended on the initiation of an investigation and
                                                                                         whether to cooperate with law enforcement. During the recovery and
           the outcome of criminal proceedings. GRETA reported there was no
                                                                                         reﬂection period, victims were entitled to emergency medical treatment,
           timeline for authorities to conﬁrm official victim status; the process
                                                                                         psychological assistance, protection, interpretation, and legal assistance.
           depended on the duration of the related prosecution. While presumed
                                                                                         The government provided funding to assist victims with voluntary
 454                                                                                                                                  Haiti AR_000935
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 560 of 729




                                                                                                                                                               PORTUGAL
repatriation, which it provided to several victims in 2020. The law also       websites dedicated to trafficking, including one speciﬁcally for children
entitled victims to a one-year residence permit if they cooperated with        and one for migrants. The government reported funding several anti-
law enforcement or had a personal situation regarding their security,          trafficking studies in 2021, but results were not available by the end
health, family situation, or vulnerability; authorities could renew this       of the reporting period. In early 2022, the SEF focused its efforts on
permit indeﬁnitely. In 2022, the Council of Ministers passed a resolution      refugees ﬂeeing Russia’s full-scale invasion of Ukraine by distributing
that granted temporary protection in the form of one-year residence            trafficking awareness leaﬂets in Ukrainian, increasing patrols at the
permits to refugees ﬂeeing Russia’s full-scale invasion of Ukraine, which      borders with Spain and at airports, and requiring all children entering
included social beneﬁts, and established a reception and integration           as refugees to register with SEF to prevent cases of human trafficking.
mechanism. Of the 25 permits requested by trafficking victims in 2020,         The government also formed an inter-ministerial committee to help
20 temporary residence permits were issued to victims; an increase             coordinate efforts regarding Ukrainian refugees.
compared with 16 residence permits issued in 2019. Under Article 109
                                                                               The government required temporary employment agencies to obtain
of the Law 23/2007, presumed victims could obtain a residence permit
                                                                               a license to operate and prohibited them from charging a recruitment
even if they did not cooperate with law enforcement, but the process was
                                                                               or placement fee to workers. Though illegal, the immigration and
complex, and there were more stipulations. Furthermore, waiting periods
                                                                               border service asserted that this practice still frequently occurred;
for obtaining a residence permit could be a year or longer, which could
                                                                               recruitment companies would charge foreign workers for the issuance
result in victims missing important judicial deadlines in the meantime.
                                                                               of employment contracts, social security registration, transportation,
The government reported that presumed and conﬁrmed victims had
                                                                               lodging, gas, water, and electricity, deducting funds directly from their
access to services regardless of cooperation with law enforcement;
                                                                               salaries, which could increase vulnerability to debt bondage. Portuguese
however, civil society noted that outside the recovery and reﬂection
                                                                               law criminalized passport withholding and contract switching. The
period, access to legal aid, health services, and work permits without
                                                                               government reported that foreign workers were able to change employers
a residence permit, which could sometimes take a year to obtain, was
                                                                               without prior government permission, which may have decreased
particularly challenging for undocumented presumed trafficking victims.
                                                                               their vulnerability to trafficking. However, fraudulent labor recruitment
Courts permitted some victims of crime to testify by deposition or video       remained a concern during the reporting period. GRETA noted a need
conference, and the law entitled victims to psychological assistance           to strengthen monitoring and regulation of temporary employment
during interviews. The government reported informing victims of their          and recruitment agencies, especially those employing and recruiting
right to legal aid, to claim damages or request compensation, and              domestic workers. The government continued to make efforts to raise
to interpretation. In July 2021, the government also reported issuing          awareness among labor recruiters and brokers during the reporting
a directive, initially proposed by a multisectoral working group to            period, including through the continued offering of workshops on
promote victim empowerment, which required documents to be easily              corporate social responsibility pertaining to the prevention of human
understood by victims; consequently, specialized services revised the          trafficking. Labor inspectors did not have the authority to identify
documents to simplify legal and procedural technical language. The             trafficking victims, a dedicated budget, or staff to detect labor trafficking
government had a comprehensive witness protection program that could           cases, but they could refer suspected labor trafficking cases to the
be utilized by trafficking victims, but it did not report whether any were     police. The government did not report the number of labor inspections
afforded this protection during the reporting period. The government           conducted in 2021 nor if any labor trafficking victims were identiﬁed as
continued to lack comprehensive data on restitution, damages, and              a result. Labor inspectors frequently conducted joint inspections with
compensation awarded to victims. While prosecutors were not required           the immigration and border service when foreign workers were present,
to systematically request restitution during trials, courts awarded            which may have intimidated undocumented victims and created a
restitution to at least seven victims in 2020. Portuguese law allowed          barrier to the identiﬁcation of victims. The government signed bilateral
victims to ﬁle civil suits against their traffickers, but the government did   work and recruitment agreements with India in September 2021 and
not report whether any victims ﬁled suits or if it awarded damages to any      with Morocco in January 2022, which set out legal guidelines for Indian
victims during the reporting period. Victims could seek compensation           and Moroccan migrants working in Portugal; however, no trafficking-
from the government if the convicted trafficker was unable to pay the          related results were reported by the end of the reporting period. Each
awarded damages; however, the government did not report providing              of the ﬁve multidisciplinary government-funded NGO teams operated a
any such compensation to trafficking victims, and GRETA noted this             hotline available 24 hours a day and in several languages. Additionally,
rarely occurred. GRETA reported the lack of a speciﬁc provision in             there was a shelter and protection center phone line also operated by
Portuguese law protecting victims from prosecution for unlawful acts           a government-funded NGO and a government hotline for children in
traffickers compelled them to commit could leave victims vulnerable to         danger; however, the government did not report how many calls any of
individual prosecutors’ decisions to bring charges. NGOs reported many         these hotlines received in 2021 or how many, if any, trafficking victims
victims were unwilling to come forward and cooperate with authorities          were identiﬁed as a result. The government reported it did not provide
for fear of prosecution.                                                       anti-trafficking training to its troops in 2021 prior to their deployment
                                                                               as peacekeepers due to pandemic-related restrictions. The government
PREVENTION                                                                     did not make efforts to reduce the demand for commercial sex acts.
The government increased prevention efforts. The government’s multi-
stakeholder anti-trafficking network, the Support and Protection Network       TRAFFICKING PROFILE
for Victims of Trafficking (RAPVT), met once in 2021 and was led by the        As reported over the past ﬁve years, human traffickers exploit domestic
national rapporteur on trafficking; RAPVT included representatives from        and foreign victims in Portugal, and traffickers exploit victims from
various central and local government agencies and three NGOs. The              Portugal abroad. The majority of trafficking victims are from India,
government had a national anti-trafficking action plan for 2018-2021,          Moldova, Pakistan, and Romania, but victims also originate from West
which the National Rapporteur, under the auspices of the Commission            Africa, Eastern Europe, Asia, and Latin America, speciﬁcally Brazil.
for Citizenship and Gender Equality, monitored and coordinated. The            Labor traffickers exploit foreign victims in agriculture, construction, and
government reported drafting but not adopting a new national action            domestic service; seasonal migrant workers are especially vulnerable.
plan during the reporting period. In 2021, the government reported             Traffickers transport victims to farms located in the interior of the
establishing two sub-working groups focused on human trafficking in            Alentejo region or western Portugal, where they are comparatively
the ﬁshing industry around the Tagus River. In 2021, the government            isolated. Cubans working in Portugal may have been forced to work
launched a one-day national awareness campaign by featuring a                  by the Cuban government before the Government of Portugal ended
documentary ﬁlm on the trafficking of women to all secondary schools           the use of Cuban medical professionals in December 2019. Traffickers
in the country. One government-funded NGO launched 92 training                 often use fraudulent recruitment methods to exploit Portuguese victims
sessions, reaching 1,897 beneﬁciaries, including police forces, social         in restaurants, agriculture, and domestic service, primarily in Portugal
workers, health professionals, and the general public, and developed six       and Spain. In 2022, Ukrainian refugees, predominantly women and
awareness raising campaigns via social media; while another government-        children, ﬂeeing Russia’s full-scale invasion of Ukraine are vulnerable to
funded NGO developed an awareness campaign implemented in the                  trafficking. Sex traffickers exploit foreign women and children, mostly
central and northern region of Portugal. The government had several            from Africa and Eastern Europe, and Portuguese women and children
                                                                                                                                 Haiti AR_000936               455
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 561 of 729
QATAR   within the country. Sex traffickers exploit Portuguese citizens in other        regular trainings for all officials on how to employ these procedures
        countries, mostly in Europe. Traffickers exploit children from Eastern          systematically. • Reopen the specialized trafficking shelter and ensure
        Europe, including Romani children, for forced begging and forced                the shelter is fully funded and staffed so it can receive potential
        criminal activity in Portugal. Authorities report traffickers facilitate the    victims. • Draft and ﬁnalize official victim referral procedures and
        transfer of asylum-seeking women and children, many from West Africa,           widely disseminate such procedures to all officials. • Increase efforts
        to Portugal; traffickers obtain false documents before moving them to           to prosecute trafficking offenses, particularly forced labor crimes, and
        other European countries for sex trafficking. Sub-Saharan trafficking           to convict and punish traffickers under the 2011 anti-trafficking law,
        networks sometimes use Portugal as a route into the Schengen area to            rather than other criminal laws, when applicable. • Expand training
        exploit children for both sex trafficking and forced labor.                     on the application of the anti-trafficking law to judicial authorities
                                                                                        to ensure courts do not drop trafficking charges against defendants,
                                                                                        when applicable. • Increase the number of trafficking investigations,
                                                                                        especially by investigating passport retention, withholding of wages,
         QATAR: TIER 2                                                                  labor violations, and complaints of abuse as potential trafficking crimes.
                                                                                        • Expand training for law enforcement to better identify potential
                                                                                        trafficking crimes, speciﬁcally the Ministry of Interior (MOI)’s specialized
        The Government of Qatar does not fully meet the minimum standards
                                                                                        trafficking unit staff. • Continue to implement reforms to the sponsorship
        for the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                                        system by streamlining transfer procedures and disseminate clear
        The government demonstrated overall increasing efforts compared with
                                                                                        guidance on the legal requirements to change jobs to mitigate the
        the previous reporting period, considering the impact of the COVID-19
                                                                                        burden on workers. • Prohibit employers from ﬁling absconding charges
        pandemic on its anti-trafficking capacity; therefore Qatar remained on
                                                                                        or canceling residency permits in retaliation for workers utilizing these
        Tier 2. These efforts included investigating more forced labor cases,
                                                                                        reforms and hold non-compliant employers accountable with adequate
        continuing to prosecute labor traffickers, and convicting more labor
                                                                                        penalties. • Increase capacity of Labor Dispute Resolution Committees
        traffickers compared with previous years, although it did not report case
                                                                                        (LDRCs) to refer suspected trafficking cases for criminal investigative
        details for the convictions. It also staffed and resourced the specialized
                                                                                        proceedings and ensure verdicts rendered by the committee can be
        trafficking police unit and adopted a revised standard employment
                                                                                        enforced without worker’s ﬁling a civil court case. • Ensure the Wage
        contract for domestic workers that aligned with private sector worker
                                                                                        Protection System covers all companies and individuals and provide
        protections. Additionally, three more Qatar Visa Centers (QVCs) in
                                                                                        domestic workers equal protections.
        critical labor-source countries began to process domestic worker
        visa applications to minimize contract switching for foreign workers
        vulnerable to trafficking and were mandated to use the revised domestic
                                                                                        PROSECUTION
                                                                                        The government demonstrated mixed law enforcement efforts as it
        worker contract when processing such workers. The government also
                                                                                        staffed and resourced the MOI’s new specialized trafficking unit, reported
        launched its ﬁrst trafficking-speciﬁc hotline and email address and a
                                                                                        more forced labor investigations, and convicted more labor traffickers,
        separate hotline to receive public complaints related to non-compliant
                                                                                        but it did not report the number of sex trafficking cases investigated
        conduct of recruitment agencies. However, the government did not
                                                                                        or prosecuted during the reporting year. The 2011 anti-trafficking law
        meet the minimum standards in several key areas. The government
                                                                                        criminalized sex trafficking and labor trafficking and prescribed penalties
        reported identifying and referring to care signiﬁcantly fewer trafficking
                                                                                        of up to seven years’ imprisonment and a ﬁne for offenses involving adult
        victims compared with the previous year and the trafficking-speciﬁc
                                                                                        male victims and up to 15 years’ imprisonment and a ﬁne for offenses
        shelter also remained closed for the entire reporting period due to the
                                                                                        involving adult female or child victims. Managers of recruiting agencies
        pandemic. Some officials continued to routinely use arbitration and
                                                                                        found guilty of trafficking faced up to ﬁve years’ imprisonment and a
        administrative penalties to resolve grievances ﬁled by migrant workers,
                                                                                        ﬁne. These penalties were sufficiently stringent and, with respect to
        including domestic workers, instead of investigating such cases as
                                                                                        sex trafficking, commensurate with those prescribed for other serious
        human trafficking crimes. Although the government had formal victim
                                                                                        crimes, such as rape.
        identiﬁcation procedures, not all officials systemically used them, which
        may have left trafficking victims unidentiﬁed and unable to receive             During the reporting period, the government investigated eight forced
        protection services. Authorities also reportedly arrested, detained,            labor cases; of those eight cases, the Public Prosecutors Office (PPO)
        and deported potential trafficking victims for immigration violations,          prosecuted two cases with an unknown number of defendants but did
        “prostitution”, or ﬂeeing their employers or sponsors. Finally, some            not prosecute two other alleged forced labor cases as trafficking due to
        workers continued to face obstacles when attempting to change jobs              a lack of evidence; the other four cases remained under investigation at
        without employer permission under the most recent reform to Qatar’s             the close of the reporting period. The government reported investigating
        visa sponsorship system, and while the government announced efforts to          55 cases involving “prostitution and incitement of prostitution” and
        address employers’ retaliatory actions that could prevent workers’ from         reported prosecuting 20 cases involving the same charge, but it did
        exercising their rights under the reform, it did not report implementing        not report whether these cases involved trafficking. The government
        such efforts.                                                                   reportedly convicted 10 labor traffickers; however, it did not report case
                                                                                        details, what laws traffickers were convicted under, nor sentencing details.
                                                                                        Courts did not convict any sex traffickers. In the previous reporting
                QATAR TIER RANKING BY YEAR
                                                                                        period, the government investigated and prosecuted two sex trafficking
            1
                                                                                        cases and convicted two individuals for forced labor crimes and one
            2                                                                           individual for violating the domestic worker law.
          2WL                                                                           The government continued to utilize its specialized trafficking unit with
            3                                                                           the PPO during the year; however, prosecutors almost universally used
                  2015      2016      2017   2018   2019     2020     2021    2022      the Qatari penal code to address trafficking crimes rather than the
                                                                                        anti-trafficking law due to perceived swiftness and higher likelihood
                                                                                        of successful prosecutions under charges that were easier to prove
                                                                                        and more straightforward. Consequently, authorities rarely punished
        PRIORITIZED RECOMMENDATIONS:                                                    traffickers with dissuasive penalties, and this weakened deterrence of
        Undertake serious efforts to prevent penalization of trafficking victims by     the crime. The government lacked a clear and efficient judicial process
        screening for trafficking indicators among those arrested for immigration       to prosecute trafficking crimes or enforce labor law violations, and its
        violations or prostitution, or those who ﬂee abusive employers and face         primary solution for resolving labor violations continued to be transfer
        counter-charges—such as absconding—and deportation. • Routinely                 of the employee to a different employer, mandated back payment of
        apply and widely disseminate formal procedures to proactively identify          wages, ﬁnes, and blacklisting of companies. Observers noted even in
        victims of all forms of trafficking, including Cuban medical professionals      cases where prosecutors brought trafficking charges against alleged
        and People’s Republic of China (PRC) overseas workers, and institute            perpetrators and referred the case to court, judges reserved the right

 456                                                                                                                                 Haiti AR_000937
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 562 of 729




                                                                                                                                                            QATAR
to re-categorize cases, which meant that trafficking charges could            the government referred all ﬁve victims to their respective embassies
be dropped; alleged traffickers were often convicted of violating the         for care during the year.
residency or labor law instead. For example, in December 2021, the
                                                                              The government had formal written victim identiﬁcation procedures,
PPO referred a forced labor case to the First Instance Court involving
                                                                              and some officials systematically followed these procedures to identify
a Bangladeshi national as the defendant; prosecutors charged the
                                                                              potential trafficking victims; however, law enforcement personnel and
defendant with human trafficking and visa fraud. In January 2022,
                                                                              other government entities did not proactively screen for trafficking
the court convicted the defendant of violating the residency law and
                                                                              indicators among vulnerable populations, including domestic workers,
subsequently dropped the human trafficking charge, sentencing the
                                                                              as well as migrant workers who ﬂed abusive employers. Generally, some
defendant to two years’ imprisonment, a ﬁne of 10,000 Qatari riyal
                                                                              government agencies did not categorize the abuse of a domestic worker
(QR) ($2,750), and deportation after serving the prison sentence. The
                                                                              as a potential trafficking indicator due to lack of evidence or witnesses
government did not report investigations, prosecutions, or convictions
                                                                              and therefore sometimes failed to identify victims; in other cases, some
of government officials for complicity in human trafficking crimes.
                                                                              domestic workers voluntarily left the country in lieu of ﬁling complaints
In 2020, the government established a specialized trafficking police          or pursuing charges against traffickers. The NCCHT was reportedly
unit, and in 2021, it dedicated resources and staffed the unit with 50        responsible for referring identiﬁed victims to law enforcement and to
personnel. As in previous years, the National Committee to Combat             protection services, which included the provision of shelter, health care,
Human Trafficking (NCCHT) alongside other government entities                 and legal assistance, but the government remained without official
ﬁnanced and conducted specialized, extensive trainings on trafficking         referral procedures. The government reported the recently created
issues. The Ministry of Labor (MOL) and MOI coordinated with an               specialized trafficking unit within MOI aimed to formalize victim referral
international organization to provide three two-day trainings to 71 QVC       procedures. MOL worked with embassies of labor-source countries on an
staff; the training focused on providing accurate information on the          ad hoc basis to determine which cases it should refer to the trafficking
rights and responsibilities of workers in Qatar and explaining the terms      shelter. In addition, during the reporting period, the NCCHT and MOL
and conditions of employment contracts to prospective workers at the          worked with an international organization to produce a handbook for law
centers; the training also focused on how to document cases of contract       enforcement officers and frontline workers to identify potential victims
switching reported by workers. The NCCHT cooperated with Hamad bin            and detect trafficking crimes; the handbook was publicly available,
Khalifa University to send several Qatari officials to a week-long human      highlighted ways to discern labor violations from forced labor crimes,
trafficking seminar at a foreign university; members of the PPO, the          and outlined the NCCHT’s strategy to combat trafficking. However,
Ministry of Foreign Affairs, and MOI participated in the seminar. During      because officials did not widely use formal identiﬁcation procedures,
the reporting period, the NCCHT organized and coordinated two training        some unidentiﬁed trafficking victims may have been detained and
sessions and workshops on trafficking issues with a foreign embassy           deported for contravening Qatari labor and immigration laws—unlawful
in Doha, an NGO, and an international organization on investigative           acts traffickers compelled them to commit. The legal system lacked
techniques and best practices for interviewing potential trafficking          adequate privacy laws to protect potential victims against retribution
victims and securing prosecutions in trafficking cases without victim         and often did not provide adequate assistance or protection for victims
testimony; staff from MOL, PPO, MOI, and the Supreme Judiciary Council        during legal proceedings. Potential victims who lodged complaints were
participated in the trainings.                                                sometimes the subject of spurious counter-charges from their employers
                                                                              that resulted in administrative deportation proceedings. Officials reported
PROTECTION                                                                    they did not consider “absconding” charges until after the resolution
The government decreased protection efforts. During the reporting             of existing labor disputes or criminal proceedings, including trafficking
period, the government reported identifying and referring ﬁve trafficking     crimes, although labor attachés and worker advocates noted that in
victims to care, compared with 35 victims identiﬁed and referred to care in   practice it was often difficult for workers to overcome the burden of
the previous reporting period. The government had a trafficking-speciﬁc       such charges; in 2021, the MOI reported receiving 16,217 charges of
shelter, designated for both male and female victims and consisting           “absconding.” Police often detained workers without legal status for
of six refurbished villas with a maximum capacity of 200 residents.           immigration violations and ﬂeeing their employers or sponsors, including
The shelter was managed by the Qatari Red Crescent Society (QRCS)             potential trafficking victims. Police sometimes detained workers for their
through an agreement with the government, had a budget of nearly 3            sponsors’ failure to register them or renew their residency documents as
million QR ($824,180) per annum, and was equipped with a health center,       required by Qatari law. However, during the year, the PPO’s specialized
computer lab, dining facility, and laundry room. Victims could receive        trafficking unit reported it received requests to remove individuals from
counseling and leave freely; officials assisted them with repatriation,       MOI’s absconding “watchlist” who were identiﬁed as potential victims
if desired. However, the government closed the shelter from March             of trafficking or trafficking-related crimes and therefore advocated to
2020 through September 2020 to use it as a quarantine site and for            legalize such individual’s residency status. In previous years, authorities
accommodations for medical staff during the pandemic; furthermore,            sometimes charged potential sex trafficking victims with Zina (sex
the government reported the shelter remained closed at the end of the         outside of wedlock) and subsequently deported them; in February 2022,
reporting period due to the pandemic. In February 2022, the government        media reported a World Cup worker who had endured years of sexual
and QRCS signed a new agreement and reported the shelter would                violence was charged with Zina after she reported her experience to
reopen once renovations were completed. The government-funded                 Qatari authorities. Media reported the victim left the country but could
Aman Protection and Social Rehabilitation Center continued to provide         be convicted in absentia.
basic medical care, social services, psychological treatment, housing,
                                                                              The government generally encouraged victims to testify against
repatriation assistance, and reintegration for female and child victims of
                                                                              traffickers by providing legal counseling, ensuring their safety, and
domestic abuse, including female workers who ﬂed abusive employers.
                                                                              allowing them to pursue ﬁnancial compensation. However, authorities
The Aman Center could host victims of trafficking in coordination with
                                                                              did not offer such protections in all cases, and many workers still opted
the NCCHT, but the government did not report whether it did so during
                                                                              to return home rather than remain in the country to assist prosecutors in
the reporting period. Aman provided repatriation assistance to those
                                                                              convicting traffickers. Through the MOI, victims could change employers
who wished to return to their home countries. Aman had a budget of
                                                                              in cases of violated contractual terms, such as employers not paying the
approximately 9 million QR ($2.47 million) in 2021, a decrease from
                                                                              victim or forcing them to work excessive hours. The government did
13.8 million QR ($3.79 million) allocated in prior years. Residents had
                                                                              not report how many victims received legal support or were granted
the right to leave of their own volition without supervision, although
                                                                              transfer-of-employer approval during the reporting year; however, MOI
chaperones were on-call in the event security was needed; residents also
                                                                              transferred 23,135 workers who were not being paid to new employers
could access the shelter even if their employers’ ﬁled charges against
                                                                              in 2021, compared to the transfer of 2,902 workers who suffered some
them. Several foreign diplomatic missions ran all-purpose shelters for
                                                                              form of abuse or violation of their contracts in 2020. MOI did not report
their female nationals, including Indonesia, Kenya, Sri Lanka, and the
                                                                              whether any workers it transferred were identiﬁed trafficking victims.
Philippines. Of the ﬁve trafficking victims identiﬁed by the government,
                                                                              MOI officials had the authority to extend the residency of a domestic
four were nationals of the Philippines, and one was a Sri Lankan national;

                                                                                                                               Haiti AR_000938              457
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 563 of 729
QATAR   worker pending the resolution of a case but did not report if it provided     2,553 reported violations during the previous reporting period. It also
        any workers this service during the reporting period. The law stated          ﬁned 393 worksites for violation of summer work hours during the
        the complaining party could reside in Qatar pending resolution of legal       year. However, analogous to previous years, the government did not
        proceedings. The government reported it did not deport those who              provide a breakdown of the kinds of violations found via inspections,
        faced retaliation or retribution in their country of origin. The government   and neither MOL nor PPO reported investigating any of these violations
        reported victims could obtain restitution from defendants in criminal         as potential trafficking crimes.
        cases but did not report if any victims did so during the reporting period.
                                                                                      MOL also continued to handle worker complaints; between October
                                                                                      2020 and October 2021, MOL received more than 24,650 complaints
        PREVENTION                                                                    from workers in-person and online; nearly 75 percent of these complaints
        The government increased overall efforts to prevent trafficking, although
                                                                                      were settled amicably, while the remainder were referred to the LDRCs
        workers continued to face obstacles when attempting to change jobs
                                                                                      to be handled in court. MOL would only refer worker complaints to the
        without employer permission under the most recent reform to Qatar’s
                                                                                      LRDC if they could not be resolved within one week. As of October
        visa sponsorship system. The NCCHT met monthly to implement its
                                                                                      2021, the LDRCs received 4,315 labor-related complaints and issued
        2019-2022 National Action Plan to combat trafficking, which focused
                                                                                      3,983 judiciary verdicts; the government did not report the outcome
        on prevention, protection, prosecution, and regional and international
                                                                                      of the remaining 332 complaints. The government reported it mostly
        cooperation. The government continued its technical cooperation
                                                                                      issued verdicts in favor of the employees and not their employers; in
        program with the ILO’s Doha office during the reporting period, and
                                                                                      2021, the government reported 84 percent of verdicts issued were
        in July 2021, the government and ILO agreed to launch a second
                                                                                      in favor of workers. The law mandated the LDRCs reach resolution
        phase of the program through December 2023 to continue to build
                                                                                      within three weeks for any contract or labor dispute; however, NGOs
        the government’s anti-trafficking capacity and generate sustainable
                                                                                      and media sources consistently reported cases took signiﬁcantly
        labor reform efforts.
                                                                                      longer to resolve in practice, and in many instances of non-payment
        Article 33 of Qatari Labor Law No. 14 of 2004 prohibited recruitment          or delayed payment of wages, the worker did not receive the wages
        agencies from receiving recruitment or placement fees from workers.           they were owed because the verdict rendered by the LDRC could not
        In 2017, in an effort to address reports that workers supporting              be enforced unless the worker ﬁled a separate case in civil court. In an
        infrastructure projects for the 2022 FIFA World Cup had paid exorbitant       effort to overcome this problem and provide compensation to workers
        recruitment fees to come to Qatar to work, the Supreme Committee              in such cases, the government established a Worker’s Support Fund;
        for Delivery and Legacy (SCDL), the lead Qatari agency for preparation        employers were required to pay 120 QR ($33) per worker per year into
        for the event, began requiring companies and contractors to reimburse         the fund, which became operational in 2020. In 2021, the government
        workers for recruitment fees paid by workers in their home country.           provided 55 million QR ($15.11 million) to 3,082 workers from the fund;
        However, employees under SCDL oversight only made up approximately            this was a signiﬁcant increase compared with 2020 when the fund
        50,000 out of a total of two million low-wage migrant workers in              distributed 14 million QR ($3.85 million) to 5,500 workers. Despite the
        Qatar. Furthermore, media and NGOs continued to report migrant                goal of the fund, NGOs and rights groups reported that in order to be
        workers in Qatar frequently paid illegal recruitment fees to unregulated      eligible to compensated by the fund, workers still had to obtain a civil
        agents in labor-source countries; in March 2022, one media outlet             court ruling, which rendered workers vulnerable to exploitation while
        reported Bangladeshi and Nepali migrants typically paid up to $4,000 in       they waited for compensation. Additionally, the government did not
        recruitment fees to secure a job in Qatar. Migrant workers who incurred       report if the LDRCs were able to refer cases with trafficking indicators
        debt to pay recruitment fees remained vulnerable to conditions of             to the MOI for investigation despite the committees almost exclusively
        forced labor, as they may have stayed longer in exploitive situations         handling cases of non- or delayed-payment of wages, a signiﬁcant
        to pay off that debt. In the previous reporting period, the government        trafficking indicator.
        opened 14 QVCs in eight critical labor source countries (providing 80
                                                                                      The government continued to utilize its Wage Protection System
        percent of the total workforce in Qatar), to include Bangladesh, India,
                                                                                      (WPS), which required employers to pay workers electronically on
        Nepal, Pakistan, the Philippines, and Sri Lanka. The centers were
                                                                                      a timely basis in accordance with the labor law and automatically
        responsible for ﬁnalizing all procedural elements pertaining to labor
                                                                                      alerted officials to instances of wage abuse. The government reported
        recruitment, including ﬁngerprinting, medical examinations, verifying
                                                                                      97 percent of migrant workers in Qatar were registered in the WPS
        educational certiﬁcates, signing contracts in local languages, issuing
                                                                                      at the close of the reporting period; however, it reported that only
        Qatari residency permits prior to source country departure, opening
                                                                                      84 percent of migrant workers actually received payments via the
        bank accounts for workers, and attempting to ensure Qatari employers
                                                                                      system, while more than 65,500 companies were registered for wage
        paid all recruitment fees. Although QVCs reduced instances of contract-
                                                                                      disbursements through this mechanism during the reporting year.
        switching, rights groups and NGOs noted QVCs did not address workers
                                                                                      The WPS continued to exclude workers not covered by the labor law,
        who paid recruitment fees to brokers prior to visiting the centers, as
                                                                                      including domestic workers, sea and agricultural workers, government
        QVCs handled only the end of the recruitment process. In the previous
                                                                                      employees, casual workers, and workers in the petroleum sector. In the
        reporting period, the QVC in Dhaka, Bangladesh, began to process
                                                                                      previous reporting period, MOL and the Qatar Central Bank adopted
        work visas for domestic workers, and in 2021, QVCs in India, Pakistan,
                                                                                      measures to promote and facilitate domestic workers’ access to bank
        and Sri Lanka began processing applications for domestic workers and
                                                                                      accounts, thereby enhancing their wage protection and reducing their
        were mandated to use the recently revised domestic worker standard
                                                                                      risk to exploitation; an international organization also reported that a
        employment contract. Previously, the QVCs did not accommodate
                                                                                      proposal to extend coverage of the WPS to domestic workers was under
        domestic worker applications.
                                                                                      deliberation at the close of the previous reporting period. However, the
        MOL made progress monitoring Qatari recruitment agencies’ interactions        government did not report taking any new actions in 2021 to include
        with labor-source intermediaries, despite its ﬁrst priority being to          domestic workers into the WPS. MOL’s WPS Unit worked to detect
        address problematic working conditions and payment issues for workers         non-compliance in the system and subsequently penalize companies
        already in Qatar. In 2021, the government backlisted 87 recruitment           and employers; however, MOL’s enforcement efforts depended on the
        agencies and revoked licenses of an additional 46 for violating the labor     PPO and lacked the formal authority to issue ﬁnes or other stringent
        law. Furthermore, in February 2022 and March 2022, MOL blacklisted            penalties. Accordingly, during the reporting year, MOL blacklisted
        an additional 35 agencies and revoked the license of one other; the           38,314 companies for non-compliance with the WPS, which barred the
        government released the names of the agencies to the public with              companies from placing public bids, applying for bank loans, seeking
        the intent to advise against conducting business with such agencies.          new projects, or recruiting new employees and transferring employees.
        Additionally, in February 2022, MOL launched a hotline and dedicated          MOL could refer companies to the PPO for criminal proceedings, and
        email address to receive public complaints related to non-compliant           in severe cases of non-compliance, the PPO could penalize a company
        conduct of recruitment agencies. As of October 2021, the government           through ﬁnes. However, referrals to the PPO were rare, as wage abuse
        also conducted 15,327 workplace and accommodations visits, which              cases could be very lengthy in court. Nonetheless, during the year, the
        resulted in 4,026 violation reports and referrals to the PPO, up from         government reported it referred 1,994 companies that violated the

 458                                                                                                                             Haiti AR_000939
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 564 of 729




                                                                                                                                                         QATAR
WPS to the PPO for criminal prosecution but did not report whether          for the new employer. The government included a provision in these
it classiﬁed any as potential trafficking cases. In August 2020, the        amendments to ensure all workers could change jobs without the
government announced a non-discriminatory minimum wage through              notice period if the employer did not fulﬁll their legal obligations to
Law No. 17 of 2020, which came into force in March 2021, applying to        the worker, such as endangering the worker’s health, assaulting the
all workers in all sectors, including domestic workers. In addition to      worker, or misrepresenting contract terms. However, NGOs continued
the basic minimum wage, the law required employers to ensure that           to report several obstacles during implementation of the reform
workers have decent accommodations and food, and the law stipulated         that limited workers’ job mobility. In 2021, NGOs noted an increase
allowances employers must provide for those provisions. Between             in reports of MOL rejecting a worker’s request without explanation,
February 2021 and September 2021, an international organization             signiﬁcant delays in the government’s decision on the transfer, and
reported more than 280,000 (13 percent of the total workforce) had          the rise of a “de facto NOC.” Although neither a resignation letter,
their basic wage increase to the new minimum wage; in addition, the         signed and stamped by a former employer, nor an NOC were required
international organization reported an unknown number of workers            by the law, observers noted that some new employers still required
beneﬁted from the stipulated accommodations and food allowances.            it to be considered for a job and workers who requested to change
Moreover, in conjunction with Law No. 17 of 2020, an international          jobs without their current employer’s permission faced delays in the
organization reported the WPS could also detect violations of payment       process—increasing the chance the new employer would withdraw their
below the minimum wage and food and accommodation allowances.               job offer due to delays in the governments’ decision and an increased
However, despite measures to monitor payments and help workers              likelihood that their application would be rejected by MOL. In other
seek remedy for wage theft, NGOs reported non-payment or delayed            cases, employers illegally requested between 5,000 and 15,000 QR
payment of wages continued to be one of the most common abuses              ($1,370-$4,120) from workers to “release” them to a new job, even in
of migrant workers.                                                         cases where the worker had completed their contract. Reports continued
                                                                            of employers retaliating against an employee who initiated a transfer by
Under Law No. 4 of 2009, the government criminalized the conﬁscation
                                                                            canceling their visa or ﬁling an absconding charge prior to the transfer
of workers’ passports by a sponsor, punishable by a maximum ﬁne of
                                                                            being completed—rendering the worker illegal and at increased risk
25,000 QR ($6,870). The PPO prosecuted a variety of cases exhibiting
                                                                            of trafficking, detention, or deportation. Domestic workers faced the
trafficking indicators under the labor laws, residency laws, or penal
                                                                            greatest obstacles when attempting to change jobs—most worker’s
code; these cases included three instances of violence against domestic
                                                                            new employers still required an NOC or “release paper”; because most
workers, 47 cases of passport conﬁscation, and 45 cases of visa
                                                                            former employers refused to provide this, domestic workers may have
fraud; the government did not report if any of the prosecuted cases
                                                                            been forced to remain in exploitive situations. Some workers did not
received verdicts at the close of the reporting period, in previous years
                                                                            seek transfers for fear of threats and retaliation from their employer.
defendants found guilty of such crimes were administered ﬁnes. The
                                                                            NGOs reported officials of labor-source country embassies advised
government continued to implement its January 2020 decision to
                                                                            workers, especially live-in domestic workers, to continue in their current
extend the abolishment of the exit permit requirement to additionally
                                                                            employment if they were paid on time and there was no threat to life.
allow workers not protected under the labor law, including domestic
                                                                            Between October 2020 and October 2021, MOL reported more than
workers, workers of ministries and other government entities, workers in
                                                                            242,870 workers transferred employment after receiving approval from
public institutions, sea and agriculture workers, and workers employed
                                                                            the government (includes 3,674 domestic workers who changed jobs);
in casual work, to depart Qatar without employer approval at any time
                                                                            in total, the government received 344,774 requests to change jobs and
during the course of an employment contract. Employers still had
                                                                            rejected 99,814, and the remaining 2,090 remained pending. NGOs
the right to designate as “critical” 5 percent of their workforce, who
                                                                            noted this total number of approved transfers did not disaggregate
required employer approval prior to exiting the country; domestic
                                                                            how many workers managed to do so without securing the permission
workers could not be deemed “critical.” Workers deemed “critical”
                                                                            of their employer. Furthermore, the government reported receiving
could submit a petition to the exit grievances committee if their
                                                                            3,237 complaints from workers whose current employers objected the
employer denied their exit permit request; in 2021, MOL approved 38
                                                                            transfer request; out of those, 1,074 transfers were approved, while the
petitions in favor of the worker, and one petition was denied. Since
                                                                            remainder remained under review at the close of the reporting period.
the reforms’ inception, worker’s rights organizations and labor-source
                                                                            In July 2021 the government announced employers would no longer
embassy representatives continued to report that, in general, migrant
                                                                            receive notiﬁcation of their worker’s request to transfer and once
workers who desired to leave Qatar did so successfully without former
                                                                            workers submitted a transfer request, employers could no longer cancel
employer approval. However, some NGOs continued to express concern
                                                                            their visas or ﬁle “absconding” changes against the worker. However,
that domestic workers were still required to inform their employer in
                                                                            the government did not report implementing these changes at the
person 72 hours prior to their departure, as this requirement could
                                                                            close of the reporting period. Overall, NGOs reported that although
give time to an abusive employer to use retaliatory measures against
                                                                            the removal of the exit permit and the abolishment of the NOC were
a worker to stop them from leaving Qatar. Furthermore, reports of
                                                                            improvements, the sponsorship system would continue to persist as
employers refusing to provide a worker’s air ticket fare to return home,
                                                                            long as both the employee’s work and residence visas were tied to an
ﬁling an “absconding” or theft charge against a worker, purposely
                                                                            employer and employers could continue to take retaliatory actions
failing to renew a workers’ residence permit, or refusing to provide
                                                                            against a worker as a means of unliterally controlling their workforce
the worker’s passport after illegally retaining it all continued during
                                                                            without being held accountable or penalized.
the reporting period.
                                                                            The March 2018 domestic worker law stipulated domestic workers were
In August 2020, through the amendment of the labor law by Law No.
                                                                            required to have government-veriﬁed contracts; to receive adequate
18 of 2020 and the amendment of the visa sponsorship law by Law
                                                                            employer-provided food, accommodation, medical beneﬁts, one
No. 19 of 2020, the government announced the abolishment of the
                                                                            day off per week, limited 10-hour workdays, sick leave, return ﬂight
No Objection Certiﬁcate (NOC), which allowed all workers, including
                                                                            tickets once each year, three weeks paid vacation per year, and full
domestic workers, to change jobs without the permission of their
                                                                            end-of-service payments; to be guaranteed access to the dispute
employers after fulﬁlling certain conditions—including completing a
                                                                            resolution committees to resolve workplace grievances; and to be
probationary period and serving notice. Workers could electronically
                                                                            allowed to leave their employers in cases of exploitation or violation
notify their employers of their desire to quit, giving them the notice
                                                                            of contract terms. NGOs reported concerns the 2018 law left several
period mandated by the law before moving to a new job and then initiate
                                                                            provisions vague, including mechanisms to ensure employers actually
a transfer through MOL’s digital system, which notiﬁed the employer of
                                                                            paid workers or provided entitled annual leave; additionally, details on
the transfer and through which the worker could submit the required
                                                                            the allotted weekly day off and food and accommodation standards
documents to begin the process. Once MOL approved the transfer, the
                                                                            were limited. The law did not refer to paid overtime and allowed for
new employer would initiate a digital employment contract for the new
                                                                            a workday that exceeded the 10-hour limit if there was an agreement
job for the worker to sign; MOL reported a decision on the application
                                                                            between the employer and employee. According to the law, employers
to change employers was made within seven to 10 working days. Upon
                                                                            who breached their obligations on key provisions related to working
authentication of the digital contract, the worker could begin working
                                                                                                                            Haiti AR_000940              459
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 565 of 729
ROMANIA   hours, living conditions, weekly rest day, annual leave, and end of          face physical, mental, and sexual abuse, as well as threats of serious
          service beneﬁts should receive a ﬁne, which could be doubled if the          physical or ﬁnancial harm. Anecdotally, sex traffickers force some
          employer failed to pay the worker on time. In 2021, in partnership           women who migrate for legitimate employment offers to engage in
          with an international organization, the government adopted a revised         commercial sex. Cuban nationals working in Qatar may have been
          standard employment contract for domestic workers; the revised               forced to work by the Cuban government. The government reported
          contract speciﬁed additional rights for workers and provided clarity         approximately 400 Cuban medical workers were in Qatar in 2021; an
          on the terms and conditions of their employment. The new standard            additional 200 workers, who arrived in 2020 to support Qatari hospitals
          employment contract aligned domestic workers’ rights with those of           during the pandemic, reportedly returned to Cuba in August 2021.
          private sector workers, speciﬁcally in overtime payment, termination         Per a 2008 agreement between the Cuban and Qatari governments,
          of employment, and sick leave entitlements. The government reported          Cuban health workers receive wages from the Cuban government,
          both private recruitment agencies and QVCs had begun using the               rather than directly from their Qatari employers. During the year, an
          revised domestic worker contract. MOL inspectors remained without            NGO reported Cuban workers employed in Qatar were vulnerable to
          authority to conduct inspections in private residences without written       abuses, including sexual harassment, forced enrollment into the medical
          permission from the PPO, limiting their ability to enforce protections       mission program, surveillance, exploitation, restriction of movement,
          outlined in the law and identify key trafficking indicators or potential     and passport conﬁscation. PRC nationals employed in Qatar at worksites
          trafficking victims from inspections. Although domestic workers have         affiliated with the PRC’s Belt and Road Initiative experienced forced labor
          been able to ﬁle grievances with the LDRCs since 2018, workers rarely        indicators such as deceptive recruitment, contract irregularities, passport
          ﬁled complaints due to prolonged court proceedings, the uncertainty          retention, and arbitrary wage garnishing or nonpayment of wages.
          the employee would receive the wages they were owed even if the
                                                                                       Qatar’s unskilled migrant workers are the largest group at risk of
          dispute ended in the employee’s favor, fear of retaliation from employers,
                                                                                       trafficking; those employed as domestic workers remain the most
          and the limited scope in types of complaints the committees handle.
                                                                                       vulnerable. Unscrupulous recruiters in source countries and employers
          During the reporting period, the government worked with an international     in Qatar exploit economic migration to prey on prospective workers.
          organization to disseminate infographics and frequently asked questions      Predatory recruitment agencies in labor-source countries extract inﬂated
          for both workers and employers on the most recent sponsorship                fees from aspiring migrant workers or lure them to Qatar with fraudulent
          reforms to clarify requirements and procedures for requesting a              employment contracts, rendering workers vulnerable to forced labor once
          transfer or terminating a contract; materials were circulated through        in the country. Among foreign workers, female domestic workers are
          MOL and an international organization’s social media platforms and           particularly vulnerable to trafficking, as they work in isolation in private
          through labor-source embassies, domestic worker community groups,            residences. Awareness and enforcement of the labor law providing
          recruitment agencies, and QVCs. MOL collaborated with an international       rights to migrant and domestic workers remain limited. Additionally,
          organization and the International Domestic Worker’s Federation (IDWF)       individuals in Qatar sell illegal “free” visas to migrants, leaving migrant
          in conjunction with International Domestic Workers’ Day in June 2021         workers without legal recourse against their respective sponsors who
          to organize a panel discussion with representatives of the domestic          also occasionally demand regular payments. Many businesses reportedly
          worker community in Qatar, IDWF, MOL, and MOI to highlight the               fail to pay their expatriate employees in a timely manner or at all, forcing
          impact of newest labor reforms on domestic workers and the role of           workers to choose between leaving the country with heavy debts or
          employers in promoting decent work conditions for this population. In        staying in Qatar with the hope of eventually being paid. Systemic hurdles
          addition, MOL, in partnership with an NGO, published revised versions        continue to limit victim protection and access to justice, especially for
          of two informational booklets aimed at raising awareness of domestic         domestic workers, who remained highly vulnerable to forced labor.
          worker rights; the booklet aimed at workers was disseminated in 12
                                                                                       Qatar’s visa employment-based sponsorship system, while undergoing
          languages while the booklet targeting employers was disseminated
                                                                                       signiﬁcant reform, continues to place control disproportionately in the
          in two languages. In February 2022, the NCCHT organized an art
                                                                                       hands of employers, who have unilateral power to cancel residence
          exhibition on trafficking, targeted at the public, to raise awareness of
                                                                                       permits or ﬁle counter-charges against workers to prevent them from
          the crime; during the exhibition, ﬂyers and brochures in Arabic and
                                                                                       exercising their rights under the most recent reforms. Until August 2020,
          English, which included information on the anti-trafficking statute and
                                                                                       employers were able to prevent workers from changing employers and
          ways to report the crime to authorities, were distributed to visitors.
                                                                                       deny permission for them to leave the country. Debt-laden migrants who
          Officials maintained multiple hotlines for use by vulnerable migrant
                                                                                       face abuse or are misled often avoid reporting their exploitation due to
          workers, including trafficking victims. In February 2022, MOL launched
                                                                                       fear of reprisal or deportation, the protracted recourse process, or lack
          the government’s ﬁrst hotline and email address speciﬁcally to report
                                                                                       of knowledge of their legal rights, thereby exacerbating or prolonging
          trafficking and trafficking-related crimes. However, as in the previous
                                                                                       their forced labor situation. Many migrant workers often live in conﬁned,
          years, the government did not report how many calls any of the hotlines
                                                                                       unsanitary conditions, and many complain of excessive working hours
          received or if any calls were referred to law enforcement for criminal
                                                                                       and hazardous working conditions. Reports allege the vast majority
          investigation as potential trafficking crimes. The government maintained
                                                                                       of expatriate workers’ passports were in their employers’ possession,
          50 bilateral agreements and ﬁve memoranda of understanding with
                                                                                       despite laws against passport conﬁscation.
          labor-source countries that addressed recruitment issues and worker
          rights, and it worked with individual countries to certify vetted labor
          recruitment offices to reduce fraud or excessive debts that could
          facilitate labor trafficking. The government did not make efforts to
          reduce the demand for commercial sex acts. The government provided            ROMANIA: TIER 2
          anti-trafficking training to its diplomatic personnel.
                                                                                       The Government of Romania does not fully meet the minimum standards
          TRAFFICKING PROFILE                                                          for the elimination of trafficking but is making signiﬁcant efforts to do so.
          As reported over the past ﬁve years, human traffickers exploit foreign       The government demonstrated overall increasing efforts compared with
          victims in Qatar. Men and women from Bangladesh, Cameroon, India,            the previous reporting period, considering the impacts of the COVID-19
          Indonesia, Kenya, Nepal, Nigeria, Pakistan, the Philippines, Sri Lanka,      pandemic on its anti-trafficking capacity; therefore Romania was
          Sudan, Uganda, and other countries voluntarily migrate to Qatar as           upgraded to Tier 2. These efforts included investigating more trafficking
          unskilled laborers and domestic workers, often paying illegal and            cases, prosecuting and convicting more traffickers, and implementing
          exorbitant fees to unscrupulous recruiters in their home countries,          a pilot program that authorized funding at the local level to an NGO for
          thereby increasing their vulnerability to debt bondage. Many migrant         victim services. Additionally, amendments to the criminal code entered
          workers subsequently face conditions indicative of labor trafficking, to     into force, eliminating the statute of limitations for trafficking crimes
          include restricted movement, delayed salaries or payment withholding,        and thereby giving the government additional time to prosecute such
          denial of employment-associated beneﬁts, passport conﬁscation, and           crimes. Furthermore, the government adopted an emergency ordinance
          threats of deportation; in a small number of cases, migrant workers          and an action plan aimed at improving its capacity to assist vulnerable

 460                                                                                                                                 Haiti AR_000941
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 566 of 729




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children and other at-risk populations and investigate various crimes           respect to sex trafficking, commensurate with penalties prescribed for
against children, including trafficking. The government also adopted            other serious crimes, such as rape. In 2021, the government enacted
procedures for identifying victims among asylum-seekers and migrants            amendments to the criminal code that criminalized the acts of becoming
and referring those victims to assistance. Moreover, the government             aware of certain forms of trafficking and not immediately notifying the
amended the labor law on the protection of Romanian citizens working            authorities. The amendments also eliminated the statute of limitations
abroad to include a broader deﬁnition of temporary and seasonal workers         for trafficking crimes, thereby providing authorities with additional
and workers’ rights, additional regulations for recruiting agencies, and        time to investigate and prosecute such crimes; previous amendments
increased ﬁnes for labor law violations. However, the government did not        to the criminal code inadvertently shortened the statute of limitations
meet the minimum standards in several key areas. Alleged complicity in          for all child trafficking crimes committed and impeded authorities’
trafficking crimes persisted, particularly with officials exploiting children   ability to prosecute cases. The new amendments addressed direct
in the care of government-run homes or placement centers. Many                  concerns from the Council of Europe and civil society that the length
convicted traffickers received either suspended sentences or sentences          of court proceedings, often due to delays, were deliberate attempts
that did not meet the minimum prescribed penalty under Romanian law,            by corrupt officials to reach the statute of limitations, which in some
which weakened deterrence, did not adequately reﬂect the nature of              cases led to impunity for traffickers.
the crime, and undercut broader efforts to ﬁght trafficking. Authorities
                                                                                The Organized Crime and Terrorism Investigation Directorate (DIICOT)
identiﬁed fewer trafficking victims and did not screen for trafficking
                                                                                and the Department for Combating Organized Crime (DCCO) were
indicators or identify victims among vulnerable populations, such as
                                                                                responsible for investigating and prosecuting trafficking cases. In
asylum-seekers, migrants, individuals in commercial sex, or children in
                                                                                2021, DIICOT established a dedicated anti-trafficking unit with seven
government-run institutions. Moreover, the government did not provide
                                                                                prosecutors for prosecuting trafficking crimes and providing training
sufficient funding to NGOs for assistance and protection services, leaving
                                                                                and support to prosecutors in DIICOT’s regional offices. With the
most victims without services and at risk of re-trafficking.
                                                                                addition of the unit, both DIICOT and DCCO operated dedicated teams
                                                                                of anti-trafficking police officers and prosecutors. DIICOT prosecutors
         ROMANIA TIER RANKING BY YEAR                                           reported the need for legislative amendments to deconﬂict elements
     1                                                                          of the criminal code. Currently, the authority to investigate “trafficking
                                                                                in persons, trafficking in minors, and pimping committed by organized
     2
                                                                                crime groups” remained with DIICOT, while other prosecutors were
   2WL                                                                          responsible for “regular pimping,” “pimping through use of coercion,”
     3                                                                          and “the exploitation of minors in forced begging and theft.” These often
            2015     2016     2017      2018   2019   2020    2021    2022      overlapping elements of the criminal code and insufficient coordination
                                                                                in the prosecution service led to duplication of efforts, confusion, and
                                                                                subsequent inefficiency in the disposal of cases. Civil society experts
                                                                                agreed and advocated for a change, noting the overlap between the
PRIORITIZED RECOMMENDATIONS:                                                    deﬁnitions led to some trafficking investigations being moved to a
Proactively identify potential victims, especially among vulnerable             different department within the police, which did not maintain such
populations, such as asylum-seekers, migrants, individuals in commercial        expertise, and to more lenient penalties for perpetrators. During
sex, and children in government-run institutions, through enhanced              the reporting period, DIICOT and DCCO reported pandemic-related
training for police officers on recognizing indicators of exploitation. •       restrictions and COVID-19 infections among police and prosecutors
Sentence convicted traffickers to signiﬁcant prison terms, as prescribed        constrained their ability to advance investigations in a timely manner.
under Articles 210 and 211, and ensure they serve those sentences               Nonetheless, in 2021, authorities opened 628 new trafficking cases (571
in practice. • Signiﬁcantly increase the quality and availability of            sex trafficking, 35 labor trafficking, 22 unspeciﬁed), an increase from
specialized victim services for adults and children, such as improved           552 in 2020. Authorities prosecuted 522 suspected traffickers (506 sex
access to medical assistance and psychological counseling. • Vigorously         trafficking, six labor trafficking, 10 unspeciﬁed), a signiﬁcant increase
investigate allegations of complicity—including of complicity in childcare      from 234 in 2020. Courts convicted 162 traffickers (127 sex trafficking,
institutions—and prosecute and convict complicit officials under the            35 labor trafficking), an increase from 142 in 2020. The majority of
trafficking statute; hold them accountable by issuing signiﬁcant prison         convicted traffickers received sentences ranging from three to 12 years’
sentences. • Adopt legislation to allow for ﬁnancial support to NGOs            imprisonment. However, 39 convicted traffickers (24 percent) received
for victim services and develop and institute a formal mechanism                sentences of less than three years’ imprisonment, which did not meet
for administering the funds. • Increase the number of police officers           the minimum prescribed penalty under Articles 210 and 211, and 30
investigating trafficking crimes and ﬁnancial investigators specializing in     convicted traffickers (19 percent) received suspended sentences. Such
trafficking cases. • Increase efforts to enforce child labor laws, especially   lenient sentences issued to convicted traffickers weakened deterrence,
in rural areas and where social welfare services lacked personnel and           did not adequately reﬂect the nature of the crime, and undercut broader
capacity to address violations. • Sanction recruiting agencies with             efforts to ﬁght trafficking. In 2021, DIICOT and DCCO participated in 20
criminal penalties for practices contributing to trafficking, such as           joint investigative teams with European counterparts (35 in 2020). In
charging workers with recruitment fees. • Provide knowledgeable legal           one case, authorities from Romania and Northern Ireland cooperated on
counsel and courtroom protections for victims assisting prosecutions,           a sex trafficking investigation involving more than 20 Romanian women
including exempting victims from in-person confrontations with their            forced into commercial sex in Belgium, Germany, Romania, Spain, and
accused traffickers. • Train labor inspectors to detect labor trafficking       the United Kingdom (UK), which resulted in authorities prosecuting
and grant them the legal authority to conduct unannounced inspections           11 suspected traffickers. In another case, known as Operation Bear,
at all worksites. • Expand efforts to train officials involved in judicial      Romanian, Scottish, and EUROPOL authorities cooperated on a sex
proceedings, particularly judges, on working with trafficking cases and         trafficking investigation involving an organized crime group operating
victims, sensitivity to trafficking issues, and understanding all forms of      in Scotland, England, and Romania. The investigation resulted in the
trafficking. • Train law enforcement officials on working with victims,         arrest of 27 Romanian nationals, who faced prosecution in Romania,
evidence collection, and understanding psychological coercion and               and the identiﬁcation of more than 30 trafficking victims across Europe.
integrate that understanding into government-wide responses.
                                                                                Persistent, low-level official complicity in trafficking crimes remained a
                                                                                signiﬁcant concern, undermining law enforcement action. Government
PROSECUTION                                                                     efforts to investigate, prosecute, and convict allegedly complicit officials
The government increased law enforcement efforts. Articles 210 and
                                                                                remained inadequate. In 2021, authorities prosecuted a member of
211 of the criminal code criminalized sex trafficking and labor trafficking
                                                                                the gendarmerie for alleged sex trafficking crimes involving four child
and prescribed penalties of three to 10 years’ imprisonment for crimes
                                                                                victims. Additionally, courts issued a three-year suspended sentence
involving an adult victim and ﬁve to 10 years’ imprisonment for those
                                                                                against a former chief of police, who, according to media reports, ignored
involving a child. These penalties were sufficiently stringent and, with
                                                                                criminal complaints submitted by families of child trafficking victims
                                                                                                                                  Haiti AR_000942              461
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 567 of 729
ROMANIA   and attempted to reconcile the victims with traffickers. Separately, the      and victim-centered approaches to investigations, trafficking indicators,
          United Nations reported that an investigation into allegations of sex         and the country’s legal framework on trafficking. The government
          trafficking by a Romanian peacekeeper, originally reported in 2017,           supported additional educational efforts by introducing, as part of
          remained ongoing. Several NGOs continued to express suspicion that            the mandatory curricula for all local and central police, lessons on
          staff working in government-run institutions for children and residential     preventing and combating trafficking.
          centers for persons with disabilities facilitated trafficking. Experts
          reported Child Protection Services (CPS) employees who oversaw                PROTECTION
          children in government-run institutions not only did not proactively          The government increased protection efforts, although signiﬁcant gaps
          try to prevent trafficking but sometimes encouraged girls to become           remained. Authorities used the existing national victim identiﬁcation
          involved in sex trafficking or knowingly tolerated the exploitation of        and referral mechanism to identify victims and refer them to care. Under
          child trafficking victims. NGOs noted in certain counties’ CPS officials      the mechanism, any entity, including diplomatic missions, NGOs, and
          acted as accomplices to traffickers. The government did not report            other organizations, could identify victims. In 2021, the government
          investigating such allegations. Experts stated the government did             reported 488 identiﬁed victims (378 sex trafficking, 42 labor trafficking,
          not adequately discipline child welfare officials who abused children         68 unspeciﬁed), a decrease from 596 in 2020. Of the 488 victims, 171
          in their care and lacked expertise among police to proactively identify       were children (255 in 2020). Authorities identiﬁed one foreign victim,
          trafficking victims. In the previous reporting period, the General Police     the same as in 2020, but observers estimated there were numerous
          Inspectorate and the National Authority for the Rights of Persons             unidentiﬁed foreign victims, particularly among asylum-seekers. NGOs
          with Disabilities, Children and Adoption (ANDPDCA) established an             reported authorities did not screen asylum-seekers and foreign migrants
          identiﬁcation and referral mechanism for trafficking cases among              for trafficking indicators and were reluctant to identify them because of
          children in government-run institutions. Additionally, to address the         the signiﬁcant time and resources that an investigation would entail. In
          signiﬁcant number of child sexual abuse cases, including potential            2021, the General Inspectorate for Immigration adopted procedures for
          child sex trafficking cases, the police maintained a unit dedicated to        identifying victims among asylum-seekers and migrants and referring
          investigating such crimes.                                                    those victims to the National Agency against Trafficking in Persons
                                                                                        (ANITP), the government’s lead agency for coordinating anti-trafficking
          Deﬁciencies within law enforcement, such as staffing shortages and
                                                                                        efforts. Furthermore, the government did not provide specialized
          unsustainable workloads, as well as knowledge gaps, continued to
                                                                                        training on the psychological trauma of trafficking on victims, which
          limit progress despite positive developments. According to NGOs, in
                                                                                        hindered authorities’ ability to correctly identify potential victimization
          trafficking cases involving foreign migrant victims, law enforcement
                                                                                        among individuals in commercial sex. According to NGOs, authorities
          did not effectively implement the law. Law enforcement often charged
                                                                                        continued to ﬁne persons in commercial sex, without screening for
          suspected traffickers for crimes other than trafficking, such as pandering,
                                                                                        trafficking indicators. However, authorities typically dropped charges
          to avoid lengthy, expensive, and time-consuming investigations. DIICOT
                                                                                        or ﬁnes once investigators and prosecutors realized a suspect was a
          and DCCO continued to operate with limited staff and resources.
                                                                                        trafficking victim. Authorities identiﬁed most victims after a criminal
          DIICOT reported investigators and prosecutors avoided specializing
                                                                                        investigation started. After identiﬁcation, authorities informed victims of
          in trafficking because of the complexity of the crime and the trauma
                                                                                        the services available to them and subsequently referred adult victims
          and burnout associated with handling trafficking cases. As a result,
                                                                                        to ANITP and child victims to CPS for assistance.
          overextended investigators and prosecutors handled multiple cases
          simultaneously, which resulted in difficulty building strong cases for        The government made recent reforms and regulations that officials
          prosecution within the six month period allowed for a suspect to be           noted bolstered assistance, particularly for child trafficking victims.
          held in pre-trial detention. DIICOT also reported one specialized anti-       However, officials also acknowledged challenges, such as access to
          trafficking prosecutor and investigator regularly covered regions with        assistance and protecting children in government institutions, remained.
          approximately one million residents and concurrently oversaw 100              Assistance was conditional upon a person’s status as an identiﬁed
          investigations. To help address staffing shortages, in 2021, DIICOT           trafficking victim. Two-thirds of identiﬁed victims received assistance.
          added 11 new positions. Furthermore, NGOs noted the government                In 2021, approximately 64 percent (313) of identiﬁed victims received
          employed a limited number of dedicated ﬁnancial investigators—eight           assistance from public institutions, public-private partnerships, and
          covering the entire country—which restricted ﬁnancial investigations          NGOs, compared with 48 percent in 2020. The government provided
          and asset seizures, inhibiting evidence collection in trafficking cases to    emotional support, psychological counseling, legal assistance, and
          corroborate witness testimony. In 2021, the government submitted a            career counseling to domestic and foreign victims. Victims received
          request to the Ministry of Interior (MOI) to hire 42 ﬁnancial investigators   protection and assistance services in government-run facilities for victims
          nationwide; the request remained pending at the end of the reporting          of crime, including trafficking, and in NGO-run trafficking shelters. The
          period. To assist in ﬁnancial investigations, the government passed           government maintained a limited number of government-run shelters
          an executive order in August 2021 allowing prosecutors access to              designated for vulnerable adults, including trafficking victims. Authorities
          the country’s internal revenue service database to investigate the            placed child victims in specialized facilities for child trafficking victims,
          bank accounts of criminal suspects. The government also adopted a             general child facilities, or facilities for children with disabilities run
          national strategy in August 2021 on the recovery of criminal assets to        by CPS. County-level CPS allocated 55 million RON ($12.6 million)
          operationalize a national fund that would conﬁscate assets to provide         to services for child trafficking victims, which included emergency
          compensation and protection to victims. In 2021, prosecutors in DIICOT’s      accommodation, counseling, social and psychological assessment, and
          specialized anti-trafficking unit conﬁscated approximately 213,000            other types of services. CPS in each county received some funding from
          Romanian lei (RON) ($48,840) in assets. Reports indicated the shift           local governments to maintain multi-disciplinary teams composed of
          to online recruitment of victims remained a serious problem, which the        social workers, psychologists, legal advisors, and pediatricians, who
          government addressed by allocating 13 million RON ($2.98 million) in          were responsible for providing services to child victims. In 2021, the
          2021 to equip the police with a computer forensics system for detecting       government continued to establish these teams across the country, and
          online sex trafficking and performing faster and more effective online        by the end of the reporting period, there were 23 county-level directorates
          investigations. NGOs reported, while law enforcement authorities              for child protection and social assistance with multi-disciplinary teams
          developed some sensitivity to trafficking victims’ situations, some police    that could provide support to trafficking victims, including some adult
          officers and judges continued to lack specialized training and a basic        victims. However, these teams utilized the same methodology regardless
          understanding of trafficking crimes and victim trauma. Judges agreed          of the type of abuse identiﬁed. In 2021, ANDPDCA initiated amending
          with the need for training for law enforcement officers, prosecutors, and     the methodology that the multi-disciplinary teams used to address
          judges, speciﬁcally on trauma-informed, victim-centered interviewing.         child trafficking, including crisis intervention trainings and developing
          The government, in partnership with other governments, NGOs and               practices speciﬁc to regional challenges. NGOs reported county-level
          international organizations, addressed knowledge gaps by training             CPS did not have adequate expertise in trafficking and resources to
          investigators, prosecutors, judges, labor inspectors, and other front-line    provide quality care. ANDPDCA also reported local CPS lacked the
          workers throughout the year on various topics, such as trauma-informed        necessary knowledge that would allow them to justify funding requests

 462                                                                                                                                  Haiti AR_000943
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 568 of 729




                                                                                                                                                                ROMANIA
for specialized services. In an effort to provide consistent quality care        of children in legal proceedings and prevent re-traumatization. In 2021,
to all child victims, the government implemented a 2020 regulation               the government provided 427 trafficking victims participating in criminal
requiring minimum standards of assistance for child victims of crime,            proceedings physical protection and transportation services. While the
including trafficking. Under the regulation, licensed service providers          government offered free legal aid to victims, court appointed lawyers
offering shelter and assistance to identiﬁed child victims followed a            often lacked experience working with trafficking victims; in 2021, the
set of speciﬁc requirements, including providing safe environments,              Ministry of Justice (MOJ) worked with the National Bar Association
specialized psychological counseling, and visitations with families. The         to provide trafficking-related training to lawyers. Also, courts did not
regulation also required local governments to include training programs          always grant free legal aid to victims, particularly if they were not sex
for staff involved in providing services to child victims of crimes, including   trafficking victims, and access to free legal aid was contingent on proof
trafficking, in their annual budget requests. Nonetheless, perennial             of indigence. Furthermore, court appointed lawyers were not aware of
problems of abuse and neglect of children in government-run institutions,        the special laws on compensation for trafficking victims and did not
coupled with the lack of proactive identiﬁcation and assistance in               inform victims, who could unknowingly renounce compensation claims
government facilities, left children in placement centers vulnerable to          during proceedings. The law allowed trafficking victims to receive
trafficking. Experts reported CPS employees who oversaw children in              restitution from the trafficker in a criminal case, ﬁle a civil suit against
government-run institutions not only did not proactively try to prevent          the trafficker, or receive compensation from the government. If victims
trafficking but were sometimes complicit in the trafficking. The 2021            did not obtain restitution in court, the government could reimburse
identiﬁcation and referral mechanism established by ANDPDCA and                  them for expenses related to hospitalization, material damage caused
the General Police Inspectorate mandated county-level CPS and police             by the traffickers, and income lost. In the event traffickers’ assets were
inspectorates to cooperate and exchange information on a regular basis           not seized but a guilty verdict was reached, the government could
to help identify vulnerable children in government-run institutions who          pay material damages for documented expenses such as medical
were at risk of trafficking.                                                     bills. Throughout 2021, courts granted compensation to 235 victims
                                                                                 who ﬁled civil claims within criminal lawsuits. The total amount of
The government implemented new initiatives that addressed limited
                                                                                 compensation for moral and material damage granted to victims was
resources and inadequate services. Government funding for NGO
                                                                                 approximately 3.63 million RON ($832,380). In 2021, the MOJ conducted
assistance and protection services remained limited. While the
                                                                                 an assessment on the compensation and restitution mechanisms to
government relied on NGOs to accommodate and assist victims, it did
                                                                                 identify possible areas of improvement. Romanian law permitted foreign
not allocate grants directly to NGOs due to legislation precluding direct
                                                                                 victims who cooperated with authorities to receive a renewable, six-
funding. Civil society emphasized the need for a funding mechanism
                                                                                 month temporary residence permit. Additionally, the law permitted
for service providers and other NGOs in the anti-trafficking space.
                                                                                 foreign victims “tolerated status” for up to six months and granted
To address this need, in 2021, the government coordinated a pilot
                                                                                 asylum-seekers the right to work after three months.
program authorizing the city of Bucharest to fund an NGO for victim
services; however, during the reporting period, no NGOs were able to
take advantage of the program. The government proposed extending
                                                                                 PREVENTION
                                                                                 The government increased prevention efforts. The government
the program to other cities and providing training to NGOs on applying
                                                                                 continued to implement the 2021-2022 anti-trafficking national
for local government grants, thus, establishing a framework for public
                                                                                 action plan (NAP) as part of the 2018-2022 national strategy and
funding to NGOs at the local level. In addition, the Ministry of Labor
                                                                                 dedicated ﬁnancial resources to all of its proposed activities. The
and Social Protection estimated allocating 1.75 million RON ($401,280)
                                                                                 NAP assigned ﬁnancial and operational responsibility to various
for services for adult trafficking victims and 6.26 million RON ($1.44
                                                                                 government agencies and ministries, which allocated approximately
million) for child trafficking victims. NGOs continued to report the
                                                                                 41.2 million RON ($9.45 million) toward the proposed activities, such
quality of care was overall inadequate, especially medical services and
                                                                                 as the repatriation of Romanian victims abroad. In September 2021,
psychological counseling. Despite Romanian law entitling all victims to
                                                                                 the government adopted an emergency ordinance and an action
psychological and medical care, the government did not provide more
                                                                                 plan aimed at improving assistance to vulnerable children and other
than one mental health counseling session and did not ﬁnance medical
                                                                                 at-risk populations and the investigations of various crimes against
care costs. NGOs paid all psychological services costs for victims due to
                                                                                 children, including trafficking. The ordinance established a missing
the government’s refusal to reimburse psychologists who assisted victims.
                                                                                 child alert system and a national hotline focused on consolidating the
NGOs also covered victims’ emergency medical care costs because
                                                                                 government’s capacity to identify child abuse, including trafficking.
the government did not provide ﬁnancial assistance and medical care
                                                                                 During the reporting period, the government transferred responsibility
required payment upfront. Moreover, access to medical care required
                                                                                 of the inter-ministerial committee, which monitored implementation
Romanian victims to return to their home districts to obtain identity
                                                                                 of the strategy and comprised representatives from several agencies,
documents. The process presented logistical and ﬁnancial hurdles for
                                                                                 DIICOT, and the police, to the Department for Vulnerable Groups
many trafficking victims; NGOs also covered these associated costs.
                                                                                 and Community Social Responsibility in the Prime Minister’s Office
In 2021, the government established a working group on increasing
                                                                                 to improve interagency coordination and elevate efforts to combat
the quality of medical assistance for trafficking victims composed of
                                                                                 trafficking. In addition, the government established a Department for
public and private healthcare providers and Ministry of Health officials
                                                                                 Community Social Responsibility and Vulnerable Populations within
and created an action plan for providing tailored medical services
                                                                                 the Prime Minister’s Office to monitor implementation of the recently
to trafficking victims and for training medical service providers to
                                                                                 adopted action plan and coordinate interagency cooperation focused
identify victims.
                                                                                 on expanding protection efforts for victims of trafficking, child abuse,
In general, victims lacked adequate support during criminal cases;               and domestic violence. ANITP continued to publish yearly reports and
however, the government instituted some protections during the                   statistics on trafficking and organized 153 educational events for middle
reporting period. Reports of victim intimidation during and after                school and high school students and 26 awareness campaigns (94 in
court proceedings persisted. NGOs reported many courts did not                   2020), including educating the public on responding to trafficking
impose sanctions on traffickers’ lawyers when they harassed and                  situations and recognizing trafficking indicators. In addition, ANITP, an
mocked the victims during proceedings. Judges relied heavily on the              NGO, and the Romanian Orthodox Church worked to raise awareness
victim’s in-person testimony, preferably in front of the trafficker, further     throughout the Church’s vast community and to provide guidance on
traumatizing victims. The Council of Europe found Romanian courts                how to report trafficking cases. Furthermore, ANITP managed a 24-
lacked national practices to protect child victims of sexual assault.            hour hotline and staffed an operator during regular business hours. The
To address these concerns, the government introduced regulations                 hotline provided services in Romanian and English and primarily focused
mandating each county establish private hearing rooms for child victims          on informing Romanians about working abroad safely. The hotline
of crime and standardized child-friendly questioning methodologies;              received 16 calls that led to criminal investigations (seven in 2020). A
there were 11 such rooms available in 2021. The government also                  2021 report on protecting rights at borders criticized the government
established interdisciplinary teams, consisting of psychologists, social         for continued violent pushbacks of asylum-seekers and migrants into
workers, police officers, and prosecutors, to coordinate the participation       Serbia, a practice that potentially increased a persons’ vulnerability to
                                                                                                                                   Haiti AR_000944              463
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 569 of 729
ROMANIA   trafficking, exacerbated distrust of foreign officials, and disallowed for     and psychological needs of refugees and to assess their vulnerability,
          the reporting of any exploitation experienced. In 2021, Romanian and           including screening for indicators of trafficking or exploitation. NGOs
          UK officials cooperated to develop strategic approaches on combating           also highlighted the need for better information and legal counseling to
          trafficking, including a project bringing together prevention efforts,         lessen the possibility of trafficking, especially in a country with known
          victim protection, and prosecuting criminals. The government made              criminal trafficking networks. While civil society representatives and
          efforts to reduce the demand for commercial sex acts by investigating          government officials assessed trafficking cases were likely to be few
          13 individuals suspected of purchasing commercial sex.                         and isolated, despite inherent risk of underreporting given language
                                                                                         barriers and refugees’ overall vulnerability, police identiﬁed one potential
          During the reporting period, ANITP conducted a campaign raising
                                                                                         trafficking victim crossing the border, who received assistance from
          awareness on labor trafficking among Romanians seeking jobs abroad.
                                                                                         an international organization.
          After an incident involving thousands of Romanian workers traveling to
          Germany to harvest asparagus during the pandemic with few protections
          in place, members of Parliament examined the enforcement of labor
                                                                                         TRAFFICKING PROFILE
                                                                                         As reported over the past ﬁve years, human traffickers exploit domestic
          protections for Romanian citizens working abroad. As a result, in 2021,
                                                                                         and foreign victims in Romania, and traffickers exploit victims from
          the government amended the labor law on the protection of Romanian
                                                                                         Romania abroad. Romania remains a primary source country for sex
          citizens working abroad to include a broader deﬁnition of temporary and
                                                                                         trafficking and labor trafficking victims in Europe. The vast majority
          seasonal workers, clariﬁcation of workers’ rights, additional regulations
                                                                                         of identiﬁed victims (77 percent) in 2021 are sex trafficking victims.
          for recruiting agencies, and increased ﬁnes for labor law violations.
                                                                                         Traffickers are typically Romanian citizens working as part of an
          According to an official, enforcement, however, remained the biggest
                                                                                         organized crime group based on family and ethnic ties, who exploit
          hurdle to improve protections for Romanian workers abroad. The law
                                                                                         Romanian women and children in sex trafficking in Romania and other
          prohibited Romania-based recruitment companies from charging
                                                                                         European countries, including the Czech Republic, Finland, France,
          recruitment fees and facilitating the exploitation of citizens abroad;
                                                                                         Spain, and the UK. Experts continue to report Romanian women
          violations were considered a misdemeanor and punishable by a civil ﬁne.
                                                                                         recruited for sham marriages in Western Europe; after entering these
          The law required employers of foreign workers to submit applications
                                                                                         marriages, traffickers force the women into commercial sex or labor.
          for work permits. Observers reported this practice left foreign workers
                                                                                         Children represent more than a third of identiﬁed trafficking victims in
          vulnerable to abuse, including trafficking, and sometimes working
                                                                                         Romania. Government officials and NGOs report increased recruitment
          without appropriate documentation because work permits were a
                                                                                         of children via the internet and social media as a result of the pandemic.
          requirement to obtaining or extending residence permits. Observers
                                                                                         Media outlets allege the online sexual exploitation and abuse of girls
          also reported the government tolerated practices through which
                                                                                         as young as 12 years old. Children in government-run institutions,
          employers conﬁscated foreign workers’ residence permits and travel
                                                                                         particularly girls living in homes and placement centers for persons
          documents to limit their freedom and facilitate potential deportations.
                                                                                         with disabilities, remain vulnerable to sex trafficking. Several NGOs note
          The law required the General Inspectorate for Immigration to issue
                                                                                         former residents of government-run homes or residential centers serve
          work permits within 30 to 45 days of receiving an application; before
                                                                                         as recruiters of underage girls from the same facilities. Traffickers exploit
          issuing work permits, the General Inspectorate veriﬁed job offers and
                                                                                         Romani children in sex trafficking and forced begging. Child labor abuse
          employers’ proﬁles to prevent fraud. In 2021, the General Inspectorate
                                                                                         continues to be underreported, with children as young as ﬁve exploited
          and the Labor Inspectorate conducted a campaign to inform employers
                                                                                         in child labor. Traffickers subject Romanian adults and children to labor
          who hired or were interested in hiring foreign workers about their rights
                                                                                         trafficking in agriculture, construction, hotels, manufacturing, and
          and responsibilities and the risks of illegal work and exploitation. The
                                                                                         domestic service, as well as forced begging and theft in Romania and
          General Inspectorate also implemented awareness activities aimed
                                                                                         other European countries. Some reports suggest traffickers operating in
          at foreign students in Romania to inform them about their rights as
                                                                                         Romania and Moldova exploit Moldovan women and girls from Romania
          employees. According to some NGOs, police remained unresponsive to
                                                                                         in operations in Europe; the extent of the trafficking is unknown.
          reports of labor trafficking, and labor inspectors lacked the competency
                                                                                         Romania is a destination country for foreign migrants from Africa,
          for detecting trafficking and the legal authority for unannounced
                                                                                         Europe, and South and Southeast Asia, exploited in the construction,
          inspections to several categories of worksites. ANDPDCA monitored
                                                                                         hotel, and food-processing industries. Migrants from East Asia, who
          and coordinated all programs for the prevention and elimination of
                                                                                         work in the construction and hospitality industries, are at a particular
          child labor and investigated child labor abuse reports, some of which
                                                                                         risk of trafficking due to the lack of access to information in their native
          may have been forced child labor. The government did not effectively
                                                                                         language and deceptive practices by employers. NGOs report a recent
          enforce child labor laws, especially in rural areas and where social
                                                                                         rise in the number of foreign migrants, citing an unusually high number
          welfare services lacked personnel and capacity to address violations.
                                                                                         from the Middle East and South and Central Asia entering Romania
          Experts noted a continued lack of awareness about labor trafficking
                                                                                         at the Serbia border and a record number of them—approximately
          among stakeholders and insufficient attention to identifying cases
                                                                                         9,590—submitting applications for asylum in 2021. While their main goal
          among labor law violations.
                                                                                         is to continue their path toward Western and Northern Europe, many
          According to the minister of foreign affairs, nearly half a million refugees   of these migrants may be or may become trafficking victims while in
          had entered Romania since the start of Russia’s further invasion of            Romania. Nearly half a million foreign nationals and Ukrainian refugees,
          Ukraine in February 2022. In response to this inﬂow of Ukrainian               predominantly women, children, and the elderly, who are ﬂeeing
          refugees, the government adopted several measures to counter                   Russia’s further invasion of Ukraine in February 2022 and crossing the
          trafficking, including enhancing border security, training border agents       Romania border seeking sanctuary, are highly vulnerable to trafficking;
          to screen for trafficking indicators, credentialing NGO staff who were         approximately 80,000 are staying in country, and more than a third are
          assisting refugees at border crossings, and providing transportation           children. Since Russia’s further invasion of Ukraine, Romanian border
          from the border to shelters. Additionally, the government partnered with       authorities have admitted approximately 460 children who had been
          UNHCR and a local software company to design veriﬁcation software to           in Ukrainian institutions; approximately 168 Ukrainian children remain
          establish registries and vet individuals who were hosting and providing        in Romanian child protection centers around Romania. Government
          transportation to refugees. Furthermore, the government developed a            corruption in law enforcement and the judiciary continues to enable
          set of procedures for registering and tracking unaccompanied children          trafficking crimes, and officials have been investigated for suspected
          and established county-level task forces composed of representatives           involvement in trafficking.
          from the General Directorates of Social Assistance and Child Protection,
          NGOs, and international organizations, as well as school and public
          health officials. Although most NGOs and civil society representatives
          commended the government for its response to address the immediate
          needs of refugees, some raised concerns about medium- and long-
          term planning, particularly for vulnerable populations. NGOs stated a
          better process was needed at the border to identify the medical, social,

 464                                                                                                                                   Haiti AR_000945
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 570 of 729




                                                                                                                                                              RUSSIA
                                                                              coordinator for government efforts. • Ensure victim identiﬁcation and
 RUSSIA: TIER 3                                                               protection measures are not tied to the prosecution of a trafficker
                                                                              and allow all ﬁrst responders to officially identify potential trafficking
The Government of Russia does not fully meet the minimum standards            victims and refer them to care. • Take all necessary steps to allow those
for the elimination of trafficking and is not making signiﬁcant efforts       forcibly relocated to Russia to travel freely and avoid falling victim to
to do so, even considering the impact of the COVID-19 pandemic, if            traffickers. • Ensure screening of children returned from Iraq and Syria
any, on its anti-trafficking capacity; therefore Russia remained on Tier      for child soldiering indicators and provide them with rehabilitation and
3. Despite the lack of signiﬁcant efforts, the government took some           reintegration support. • Provide victims access to legal alternatives to
steps to address trafficking, including by prosecuting and convicting         removal to countries where they face hardship or retribution. • Amend
more traffickers, extending work and residence permits for foreign            the criminal code to include a deﬁnition of human trafficking that is
workers in response to the pandemic, and facilitating the return of           consistent with the deﬁnition under international law. • Amend or
Russian children from Iraq and Syria, some of whom may have been              repeal penal provisions of the criminal code to clarify that no penalties
trafficking victims. However, during the reporting period, there was a        involving compulsory labor may be imposed for the peaceful expression
government policy or pattern of trafficking. The government was actively      of political views. • Create a central repository for publicly available
complicit in the forced labor of North Korean workers. The government         information on investigation, prosecution, conviction, and sentencing
did not screen North Korean workers for trafficking indicators or             data for trafficking cases. • Increase efforts to raise public awareness
                                                                              of both sex and labor trafficking, including among children.
identify any North Korean trafficking victims, despite credible reports in
previous years that the Democratic People’s Republic of Korea (DPRK)
operated work camps in Russia and exploited thousands of North
                                                                              PROSECUTION
                                                                              The government maintained minimal law enforcement efforts. Articles
Korean workers in forced labor. Citizens from the DPRK continued to
                                                                              127.1 (trafficking in persons) and 127.2 (use of slave labor) of the criminal
arrive throughout the year, many of whom likely engaged in informal
                                                                              code criminalized sex trafficking and labor trafficking. Article 127.1
labor; the government issued 4,093 visas to North Koreans in 2021 in
                                                                              prescribed penalties of up to ﬁve years’ prison labor or up to six years’
an apparent attempt to circumvent UN Security Council resolutions
                                                                              imprisonment for crimes involving an adult victim and three to 10
(UNSCRs). The government did not report how many North Korean
                                                                              years’ imprisonment for those involving a child victim. Article 127.2
workers remained in Russia in 2021. Separate from this complicity,
                                                                              prescribed penalties of up to ﬁve years’ prison labor or up to ﬁve years’
the government did not report identifying any trafficking victims, and        imprisonment for crimes involving an adult victim, and up to ﬁve years’
efforts to prosecute and convict traffickers remained weak compared           prison labor or three to 10 years’ imprisonment for those involving
with the estimated scope of the problem. Authorities continued to             a child victim. These penalties were sufficiently stringent and, with
lack a process for the identiﬁcation of victims and their referral to         respect to sex trafficking, commensurate with punishments prescribed
care, and the criminal code did not establish a deﬁnition for a victim of     for other serious crimes, such as kidnapping. However, inconsistent
trafficking, hindering identiﬁcation efforts and limiting access to victim    with the deﬁnition of trafficking under international law, these articles
services. The government’s full-scale invasion of Ukraine in February         established the use of force, fraud, or coercion as an aggravating factor,
2022 created signiﬁcant vulnerabilities to trafficking for the millions       rather than an essential element of the crime. There were reports
of refugees ﬂeeing Ukraine. The government offered no funding or              authorities often prosecuted trafficking crimes under related statutes,
programs to provide services for trafficking victims and took steps           including Articles 240 (involvement in prostitution), 240.1 (receiving
to limit or ban the activities of civil society groups, including some        sexual services from a minor), and 241 (organization of prostitution), the
dedicated to anti-trafficking activities. Authorities routinely penalized     penalties for which were generally lower than the penalties prescribed for
potential victims, including by detaining and deporting potential forced      trafficking crimes. The government did not report comprehensive data
labor victims for immigration violations, and prosecuted sex trafficking      on trafficking criminal cases, making it difficult to assess the adequacy
victims for commercial sex crimes, without screening for trafficking          or effectiveness of law enforcement efforts. Media reports and publicly
indicators. As in previous years, the government did not draft a national     available data revealed some details on trafficking cases investigated
strategy or assign roles and responsibilities to government agencies          and prosecuted, including some conviction information, although the
to combat human trafficking.                                                  limited number of cases reported did not constitute an adequate law
                                                                              enforcement response compared with the scale of human trafficking in
                                                                              Russia. Publicly available data was also likely duplicative or contradictory
        RUSSIA TIER RANKING BY YEAR
                                                                              of information from other sources, as no single agency was responsible
    1
                                                                              for maintaining comprehensive law enforcement statistics.
    2
                                                                              Russia’s federal-level Investigative Committee and media publicly
  2WL                                                                         reported the government conducted four labor trafficking investigations
    3                                                                         in 2021 (the government initiated four investigations in 2020). The
          2015      2016      2017    2018   2019   2020    2021    2022      government and media publicly reported authorities conducted
                                                                              13 prosecutions under Articles 127.1 and 127.2, compared with zero
                                                                              prosecutions in 2020. The government reported convicting ﬁve traffickers
                                                                              (four for forced labor and one for sex trafficking and slavery), compared
PRIORITIZED RECOMMENDATIONS:                                                  with one conviction in 2020. The government reported judges sentenced
Investigate and prosecute trafficking crimes and convict traffickers          the traffickers to four and a half to seven years’ imprisonment. The
under the trafficking statutes, including complicit officials and suspected   government reported investigating and prosecuting several cases
trafficking cases related to North Korean workers in Russia, respecting       involving baby-selling and surrogacy as trafficking, both crimes that
due process. • Allocate funding to state bodies and anti-trafficking NGOs     without an element of exploitation fall outside the international deﬁnition
to provide specialized assistance and care to victims. • Implement a          of trafficking. In previous years, authorities prosecuted suspected
formal policy to ensure identiﬁed trafficking victims are not punished        traffickers under commercial sex and “pimping” statutes; the government
or deported for unlawful acts traffickers compelled them to commit.           did not report trafficking cases under these statutes in 2021. NGOs noted
• Develop and implement formal national procedures to guide law               that hundreds of trafficking-related cases were reported to authorities,
enforcement, labor inspectors, and other government officials in              but the government processed most under other administrative or
identifying and referring victims to service providers, particularly          criminal codes, which suppressed statistics and masked the scale and
among labor migrants and individuals in commercial sex, and screen for        scope of the problem. The government did not report if it trained law
trafficking indicators among individuals arrested for commercial sex or       enforcement or judicial authorities on trafficking. Russian authorities did
immigration violations. • Given signiﬁcant concerns that the DPRK forces      not report cooperating in any new or ongoing international investigations
its citizens to work abroad, screen North Korean workers, students, and       in 2021. In February 2022, the government signed a declaration with
tourists for trafficking indicators and refer them to appropriate services.   Azerbaijan to jointly combat several crimes, including human trafficking.
• Create a national anti-trafficking action plan and establish a central
                                                                                                                                Haiti AR_000946               465
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 571 of 729
RUSSIA   Official complicity in trafficking crimes remained a signiﬁcant concern.         referral mechanism, victims’ credible fears of authorities, and the lack
         NGOs reported government officials and police regularly accepted                 of government assistance to victims. Observers noted police regularly
         bribes in exchange for not pursuing trafficking cases and officials              avoided registering victims in criminal cases that were unlikely to be
         often beneﬁtted ﬁnancially or materially from trafficking crimes.                solved in order not to risk a lower conviction rate. The government also
         The government did not report any investigations, prosecutions, or               did not have a program to protect or support victims who participated
         convictions of government employees complicit in human trafficking               in the investigation or prosecution of their alleged traffickers. In recent
         crimes. However, in prior years, civil society reported that the government      years, authorities reportedly pressured some victims to cooperate in
         intentionally investigated official complicity cases under non-trafficking       investigations without any offer of protection. The government did not
         statutes, such as Article 290 (bribery) of the criminal code. In the years       report if it repatriated trafficking victims to Russia under a previously
         following Russia’s 2014 invasion of Ukraine, Russia-led forces reportedly        established readmission agreement with the EU, which was intended
         used children to perform armed duty at checkpoints and to serve as               to assist in the repatriation of Russian citizens.
         ﬁghters, guards, mailpersons, and secretaries, as well as informants
                                                                                          As in previous years, the government did not provide funding or programs
         and human shields. Following Russia’s full-scale invasion of Ukraine
                                                                                          for protective services dedicated to trafficking victims. NGOs provided all
         in 2022, media highlighted new uncorroborated reports of Russian
                                                                                          protection services, including shelter, food, legal services, basic medical
         forces using children as human shields. Persistent and widespread but
                                                                                          and psychological support, interpretation, facilitating the return of
         unconﬁrmed reports indicated Russia-led forces attempted to conscript
                                                                                          documents or wages, and assisting in the resettlement or repatriation
         or force many Ukrainians in eastern Ukraine to ﬁght against their own
                                                                                          of victims, though few were able to provide specialized assistance for
         country or engage in forced labor, such as to clear rubble and dispose
                                                                                          trafficking victims; an NGO also ran a 24/7 hotline. While in prior years
         of corpses. Observers reported Russia-associated military associations
                                                                                          government-funded homeless shelters provided medical and psychiatric
         and clubs, registered as non-proﬁt organizations, continued to routinely
                                                                                          aid and referred trafficking victims to international NGOs and other
         prepare youth in Russia-controlled areas of Ukraine for conscripted
                                                                                          homeless shelters located in many of Russia’s regions, NGOs reported
         service in Russia’s armed forces. Multiple reports indicated Russia-led
                                                                                          they no longer sent victims to these shelters because of their poor
         forces forcibly moved thousands of Ukrainians, including children, to
                                                                                          conditions, the lack of screening for trafficking indicators, and the risk
         Russia through “ﬁltration camps” in Russia-controlled areas of Ukraine,
                                                                                          that victims may be vulnerable to further trafficking; as in previous years,
         where they were deprived of their documents and forced to take Russian
                                                                                          there were no reports of victims assisted in these shelters in 2021. The
         passports. Once in Russia, widespread reports indicated thousands of
                                                                                          government did not report if courts ordered compensation to victims;
         Ukrainians were forcibly transported to some of Russia’s most remote
                                                                                          publicly available data showed that trafficking victims did not receive
         regions, and Russian authorities reportedly forcibly separated some
                                                                                          compensation in civil suits in 2021. The government continued the
         Ukrainian children from their parents and gave the children to Russian
                                                                                          repatriation of Russian children, including potential trafficking victims,
         families. Ukrainians forcibly displaced to Russia were highly vulnerable
                                                                                          whose parents were alleged ﬁghters with ISIS. ISIS was known to use
         to trafficking. During the reporting period, there were reports a Russia-
                                                                                          child soldiers and perpetrate other forms of trafficking. The government
         backed armed group unlawfully recruited or used children in the Central
                                                                                          did not report screening speciﬁcally for indicators of trafficking, but
         African Republic.
                                                                                          past media reports indicated the children received counseling. In July
         Despite credible reports of the forced labor and slave-like conditions           2021, the government reported it had repatriated 341 children from Syria
         perpetuated by the DPRK government on North Koreans working in                   and Iraq since the start of its repatriation program in 2017, including
         Russia, the Russian government did not report any investigations into            all Russian children who had been held in prisons in Damascus, Syria.
         those conditions. In violation of UNSCRs 2375 and 2397, migrant laborers
                                                                                          The government did not actively cooperate with civil society. Similar
         from the DPRK continued to work in Russia, especially in the Far East,
                                                                                          to previous reporting periods, the government took steps to limit or
         often under conditions of forced labor. The government previously
                                                                                          ban the activities of civil society groups, including some dedicated to
         reported approximately 500 DPRK workers remained in the country
                                                                                          anti-trafficking activities, through measures such as “foreign agent”
         at the onset of the pandemic in March 2020; the government did not
                                                                                          laws. In March 2021, the government stripped a prominent migrant
         report how many North Korean workers remained in 2021. Despite the
                                                                                          rights activist of his Russian citizenship and deported him to Tajikistan,
         government claiming it would cease issuing new work permits to North
                                                                                          where he was sentenced to nine years’ imprisonment on fraud charges;
         Korean laborers, observers noted many laborers continued to enter
                                                                                          observers dismissed his expulsion and subsequent conviction as
         the country via fraudulent channels to work informally, for example
                                                                                          politically motivated. In September 2021, another prominent migrant
         by obtaining tourist or student visas. The government issued 4,093
                                                                                          rights activist was arrested at the airport upon returning to Russia, was
         visas to North Korean citizens in 2021, roughly 2,600 of which were
                                                                                          threatened with deportation, and subsequently voluntarily departed the
         student visas (the government issued 2,609 student and 256 tourist
                                                                                          country. Additionally, the Yarovaya package of anti-terror laws made it
         visas to North Korean citizens in 2020); experts noted that many of
                                                                                          a crime for individuals or organizations to provide material assistance to
         these visa holders worked illegally in Russia, making them vulnerable to
                                                                                          people considered to be in Russia illegally; authorities could prosecute
         trafficking. Authorities did not report screening North Korean workers
                                                                                          NGOs that assisted undocumented victims of trafficking. Authorities also
         for trafficking indicators or offering victims options to legally remain in
                                                                                          penalized victims for unlawful acts traffickers compelled them to commit.
         the country. A February 2016 agreement between Russia and the DPRK
                                                                                          Authorities treated foreign victims as illegal migrants and criminally
         enabled Russian authorities to deport North Koreans residing “illegally”
                                                                                          charged them with “prostitution” or “unlawful presence in country;”
         in Russia, possibly even those with refugee status. Observers noted this
                                                                                          many victims were detained or deported without being screened for
         may increase the risk of labor trafficking for North Koreans working in
                                                                                          trafficking indicators. Authorities frequently prosecuted Russian and
         Russia and might subject victims to grave harm, as DPRK authorities
                                                                                          foreign victims of sex trafficking for engaging in commercial sex and did
         reportedly arrested, imprisoned, subjected to forced labor, tortured,
                                                                                          not take proactive measures to identify victims during raids on brothels.
         and sometimes executed repatriated trafficking victims.
                                                                                          Authorities punished child victims of forced criminality, often together
                                                                                          with the traffickers who forced them to commit these crimes. Authorities
         PROTECTION                                                                       did not screen other vulnerable populations, such as migrant workers
         The government decreased already negligible efforts to protect victims.
                                                                                          or foreign women entering Russia on student visas, despite evidence
         The government did not develop or employ a formal system to guide
                                                                                          of their intention to work or other vulnerabilities to trafficking. In prior
         officials in proactive identiﬁcation of victims or their referral to available
                                                                                          years, authorities reportedly prosecuted Russian citizens returning from
         services. The law did not speciﬁcally deﬁne who was a trafficking
                                                                                          Syria and Iraq, where some were subjected to trafficking, under anti-
         victim or differentiate trafficking victims from victims of other crimes;
                                                                                          terror laws, without screening them for indicators of trafficking. The ILO
         experts noted this hindered identiﬁcation measures and limited access
                                                                                          Committee of Experts again noted its deep concern in 2020 that some
         to victim services. The government did not report identifying any
                                                                                          provisions of the Russian criminal code, which include compulsory labor
         trafficking victims in 2021, compared with 52 in 2020. NGOs estimated
                                                                                          as possible punishment, are worded broadly enough to lend themselves
         the actual number of victims to be in the thousands; they reported a
                                                                                          to application as a means of punishment for the expression of views
         signiﬁcant number of cases go unreported due to the lack of a formal
                                                                                          opposed to the government.

 466                                                                                                                                   Haiti AR_000947
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 572 of 729




                                                                                                                                                                    RUSSIA
PREVENTION                                                                          labor, particularly for large construction projects; observers expressed
The government maintained negligible efforts to prevent trafficking.                concern that prisoners working for private businesses may not be doing
The government had neither a designated lead agency to coordinate its               so voluntarily in spite of government claims that its correctional labor
anti-trafficking efforts nor a body to monitor its anti-trafficking activities      programs comply fully with its international obligations. According to
or make periodic assessments measuring its performance. Russia did                  an international organization, children of migrant workers are vulnerable
not have a national action plan. The government continued to operate                to forced labor in informal sectors. Prior to Russia’s full-scale invasion
regional migration centers where foreign migrants who did not need                  of Ukraine in 2022, media reported more than two million Ukrainians
visas to enter the country could obtain work permits directly from the              resided in Russia, including more than one million who escaped Russian
government; however, an international organization estimated only half              aggression in Ukraine. Many of these migrants work unofficially and
of eligible migrants obtained these permits as they entailed large upfront          are vulnerable to both forced labor and sex trafficking; most identiﬁed
and monthly fees and sometimes required multiple time-consuming                     victims of forced begging in recent years are Ukrainian. Subcontracting
trips to the center. The international organization noted migrants                  practices in Russia’s construction industry result in cases of non-
who were not able to complete the permit process were increasingly                  payment or slow payment of wages, which leave workers at risk of
vulnerable to labor exploitation and trafficking due to their lack of               labor trafficking. Organized criminal groups often recruit victims from
proper documentation. In March 2021, the government reported it would               within their own ethnic communities. Traffickers have been known to
create a uniﬁed information platform to register foreign citizens with              pose as landlords renting rooms to migrant laborers to recruit victims
the stated intent to promote employee-employer relations and facilitate             and coerce them into forced labor. Traffickers lure children from state
job training and access to information. In August 2021, the government              and municipal orphanages into forced begging, forced criminality, child
reported it would simplify the procedure for migrant workers to obtain              pornography, sex trafficking, and use by armed groups in the Middle
a social security number, facilitating legal employment in the country.             East. Organized criminal groups recruit victims for forced begging
In June 2021, the government issued a decree extending through                      from state institutions for the elderly and people with disabilities; these
September 2021 the pandemic-related ban on deporting undocumented                   institutions are not trained on how to identify trafficking and sometimes
foreign nationals; foreign nationals from Eurasian Economic Union                   facilitate the exploitation.
countries could work during this time. The decree also extended foreign             Women and children from Europe (predominantly Ukraine and Moldova),
nationals’ legal status by not counting time in the country from June 2021          Southeast Asia (primarily PRC and the Philippines), Africa (particularly
through December 2021. Recruitment agencies that sought to employ                   Nigeria), and Central Asia are victims of sex trafficking in Russia. NGOs
Russians overseas were required to obtain a license from the Ministry of            report an increasing number of sex trafficking victims are from Africa,
Internal Affairs, but no such requirement existed for agencies recruiting           arriving either illegally or legally as students. Sex trafficking occurs in
foreign workers, which increased the vulnerability of such workers to               brothels, hotels, and saunas, among other locations. During the 2018
forced labor. In previous years, authorities conducted scheduled and                World Cup, Russia relaxed its visa requirements, allowing all Fan ID
unannounced inspections of businesses employing foreign workers                     holders to enter and exit Russia without a visa through December 31,
to check for violations of immigration and labor laws—with penalties                2018. Traffickers exploited this system to bring foreign sex trafficking
in the form of ﬁnes and/or revocation of foreign worker permits; the                victims into the country, especially from Nigeria; NGOs report many
government did not report conducting inspections in 2021. In spite of               victims remain in Russia. Observers note migrant workers are also
frequent inspections in past years, the use of undocumented or forced               vulnerable to sex trafficking. Children experiencing homelessness are
labor remained widespread due to complacency and corruption. The                    exploited in sex trafficking. Russian women and children are reportedly
government provided no funds to NGOs to carry out prevention and                    victims of sex trafficking in Russia and abroad, including in Northeast
awareness campaigns. Prevention campaigns were hampered by a law                    Asia, Europe, Central Asia, Africa, the United States, and the Middle
that made it a crime to talk to children younger than 16 about sexual               East. Traffickers use social media to recruit, monitor, and control victims.
issues and exploitation. The government did not make efforts to reduce              Russian criminal groups threaten family members to coerce women
the demand for commercial sex acts. The government did not make                     into commercial sex in Russia and abroad. Women from Russia’s North
efforts to reduce the demand for participation in international sex                 Caucasus region and women from Central Asia residing in Russia have
tourism by its citizens, despite allegations of such actions by its citizens.       been recruited to join ISIS through online romantic relationships and are
The government did not report providing anti-trafficking training to its            then subjected to exploitation. Wives and children of foreign ﬁghters
troops prior to their deployment as peacekeepers.                                   are sold after their spouse or father is killed in action.

TRAFFICKING PROFILE                                                                 Corruption among some government officials and within some state
As reported over the past ﬁve years, human traffickers exploit domestic             agencies creates an environment enabling trafficking crimes. In
and foreign victims in Russia, and victims from Russia are exploited                recent years, criminal cases have involved Russian officials suspected
abroad. Although labor trafficking remains the predominant form                     of allegedly facilitating trafficking by enabling victims’ entry into
of human trafficking in Russia, sex trafficking also occurs. Traffickers            Russia, providing protection to traffickers, and returning victims to
exploit workers from Russia and other countries in Europe, Central                  their exploiters; in some instances, officials have engaged directly in
Asia, Southeast Asia, the People’s Republic of China (PRC), and the                 trafficking crimes. Employers sometimes bribe Russian officials to avoid
DPRK in forced labor in Russia. Instances of labor trafficking have been            enforcement of penalties for engaging illegal workers. Prior to 2018,
reported in the construction, manufacturing, logging, textile, transport,           the DPRK sent approximately 20,000 North Korean citizens to Russia
and maritime industries, as well as in sawmills, agriculture, sheep farms,          annually for work in a variety of sectors, including logging in Russia’s
grocery and retail stores, restaurants, waste sorting, street sweeping,             Far East. An estimated 500 North Korean workers remained in Russia
domestic service, call centers, and begging. Labor traffickers also exploit         as of March 2020, as did approximately 4,093 North Korean citizens
victims in criminal activities, such as drug trafficking, facilitation of illegal   who entered with visas in 2021; observers note a growing trend in the
migration, and the production of counterfeit goods. According to an                 use of non-labor visas to bring DPRK workers to Russia. Many of these
NGO, foreign nationals increasingly enter the country illegally with the            North Korean citizens are subjected to conditions of forced labor by
help of criminal groups, which subsequently increases the migrants’                 the North Korean government. Following Russia’s full-scale invasion of
vulnerability to trafficking. In previous years, there were reports of              Ukraine in 2022, multiple reports indicate Russia-led forces have forcibly
widespread forced labor in brick factories in the Dagestan region. After            moved thousands of Ukrainians, including children, to Russia through
a sharp decrease at the onset of the pandemic, labor migration to Russia            “ﬁltration camps” in Russia-controlled areas of Ukraine, where they are
began to increase in 2021; media reported more than 7.8 million migrants            deprived of their documents and forced to take Russian passports. Once
from the Kyrgyz Republic, Tajikistan, and Uzbekistan entered Russia in              in Russia, widespread reports indicate thousands of Ukrainians have
2021. Many migrant workers experience exploitative labor conditions                 been forcibly transported to some of Russia’s most remote regions and
characteristic of trafficking cases, such as withholding of identity                Russian authorities have reportedly forcibly separated some Ukrainian
documents, non-payment for services rendered, physical abuse, lack                  children from their parents and given the children to Russian families.
of safety measures, or extremely poor living conditions. To offset the              Ukrainians forcibly displaced to Russia are highly vulnerable to trafficking.
shortage of labor migrants, the government increased the use of convict
                                                                                                                                      Haiti AR_000948               467
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 573 of 729
RWANDA   Russia-led forces reportedly recruit Syrian children to guard installations     implement a centralized data system of trafficking crimes, with data
         and ﬁght in Libya. In the years following Russia’s 2014 invasion of Ukraine,    disaggregated by type of trafficking, and train law enforcement and
         persistent and widespread but unconﬁrmed reports indicate Russia-led            immigration officials in relevant ministries on its use.
         forces have attempted to conscript or force many Ukrainians in eastern
         Ukraine to ﬁght against their own country, and following Russia’s full-         PROSECUTION
         scale invasion in 2022, Russian forces have reportedly forced many              The government maintained anti-trafficking law enforcement effort. The
         Ukrainians in eastern Ukraine to engage in forced labor, such as to             2018 anti-trafficking law criminalized sex trafficking and labor trafficking.
         clear rubble and dispose of corpses. Since 2014, Russia-led forces have         The law prescribed penalties of 10 to 15 years’ imprisonment and a ﬁne
         reportedly used children to perform armed duty at checkpoints and to            of 10 million to 15 million Rwandan francs ($10,000 to $15,000), which
         serve as ﬁghters, guards, mailpersons, and secretaries; uncorroborated          increased to 20 to 25 years’ imprisonment and a ﬁne of 20 million
         reports indicate Russia-led forces have used children as informants             to 25 million Rwandan francs ($20,000 to $25,000) if the crime was
         and human shields. Following Russia’s full-scale invasion of Ukraine in         transnational in nature. The law prescribed penalties of ﬁve to 10 years’
         2022, media highlighted new uncorroborated reports of Russian forces            imprisonment and a ﬁne of 5 million to 10 million Rwandan francs ($5,000
         using children as human shields. Observers report Russia-associated             to $15,000) for forced labor trafficking crimes. These penalties were
         military associations and clubs, registered as non-proﬁt organizations,         sufficiently stringent, and with regard to sex trafficking, commensurate
         continue to routinely prepare youth in Russia-controlled areas of Ukraine       with those prescribed for other serious crimes, such as rape. However,
         for conscripted service in Russia’s armed forces. During the reporting          the law deﬁned trafficking broadly to include illegal adoption without the
         period, there were reports a Russia-backed armed group unlawfully               purpose of exploitation, sexual intercourse for the purpose of exploitation,
         recruited or used children in the Central African Republic.                     as well as the sale of organs and other body parts.
                                                                                         The government initiated 142 trafficking case investigations (15 sex
                                                                                         trafficking cases, 125 labor trafficking cases, two unspeciﬁed exploitation

          RWANDA: TIER 2                                                                 cases), compared with 35 case investigations in the previous reporting
                                                                                         period. The government prosecuted 12 defendants—one suspect in
                                                                                         one sex trafficking case and 11 suspects for unspeciﬁed exploitation in
         The Government of Rwanda does not fully meet the minimum standards              eight cases—compared with prosecution of two defendants in two labor
         for the elimination of trafficking but is making signiﬁcant efforts to do so.   trafficking and one sex trafficking case in 2020. The government did
         The government demonstrated overall increasing efforts compared with            not report convicting any traffickers, compared with conviction of two
         the previous reporting period, considering the impact of the COVID-19           traffickers in the previous reporting period. The government did not report
         pandemic on its anti-trafficking capacity; therefore Rwanda remained            any investigations, prosecutions, or convictions of government employees
         on Tier 2. These efforts included victim identiﬁcation and referral to          complicit in human trafficking crimes. Prolonged pandemic-related
         care, in partnership with an international organization; ﬁnalizing the          lockdowns, limited staffing capacity, and other workplace disruptions
         updated national action plan (NAP); and implementing two ministerial            in 2021 impeded the government’s progress on implementing policies
         orders establishing interagency responsibilities for responding to              and efforts to investigate and prosecute trafficking crimes. Pandemic-
         trafficking crimes against Rwandans overseas and providing them                 related challenges signiﬁcantly affected the government’s anti-trafficking
         with protection services. The government also increased trafficking             efforts, with government offices operating at reduced staffing capacity.
         investigations and prosecutions. However, the government did not meet           Scarce resources, lack of training, and limited capacity inhibited law
         the minimum standards in several key areas. The government did not              enforcement efforts to investigate trafficking cases, prosecute suspected
         convict any traffickers during the reporting period. The government             perpetrators, and convict traffickers. Observers reported continued
         lacked a proactive standardized mechanism to adequately screen for              challenges in officials’ ability to distinguish trafficking from other crimes
         potential trafficking victims among vulnerable populations and refer            and reported a need for Rwanda’s law enforcement agencies to conduct
         them to protective services.                                                    additional training and capacity building on recognizing and combating
                                                                                         internal forms of trafficking. The government focused on transnational
                                                                                         trafficking cases which were more easily identiﬁed at border crossings
                  RWANDA TIER RANKING BY YEAR
                                                                                         while it faced challenges investigating internal trafficking crimes.
              1
                                                                                         Although the government reported sharing information with other
              2                                                                          governments, international cooperation to combat trafficking remained
           2WL                                                                           limited particularly in jurisdictions where Rwanda lacked a diplomatic
                                                                                         presence or law enforcement mutual assistance agreements.
              3
                     2015     2016     2017     2018   2019   2020     2021     2022     In partnership with an international organization, authorities provided
                                                                                         anti-trafficking training to district government officials in Huye, Rubavu,
                                                                                         and Rusizi districts, regions at high risk of trafficking because of cross-
                                                                                         border movement to and from Burundi and the Democratic Republic of
         PRIORITIZED RECOMMENDATIONS:                                                    the Congo (DRC). The Rwanda Development Board (RDB) in collaboration
         Systematically and proactively screen and identify trafficking victims,         with an international organization hosted a workshop on human trafficking
         especially among vulnerable populations, including among gender-                issues for government officials. The government trained 18 investigators
         based violence (GBV) victims, persons in commercial sex, those from             on victim assistance and referral procedures. The government did not
         the LGBTQI+ community, children experiencing homelessness, and                  report making any changes to its routine trainings and professional
         those at government transit centers. • Increase effective trafficking           development for police, investigators, prosecutors, or social workers
         investigations and prosecutions and adequately sentence convicted               assigned to counter GBV, which incorporated components on anti-
         traffickers. • Institutionalize the training of front-line officials on the     trafficking laws and procedures.
         new standard operating procedures (SOPs) for the identiﬁcation and
         referral of victims to appropriate services. • Strengthen coordination          PROTECTION
         of government agencies contributing to Rwanda’s counter trafficking             The government made mixed protection efforts. The government
         efforts. • Expand victim witness support programs and training for law          identiﬁed and referred fewer potential trafficking victims to care,
         enforcement and legal professionals working with victim-witnesses. •            and it did not effectively screen or assist victims among underserved
         Expand victim and shelter services, including for male victims. • Expand        communities. The government identiﬁed 110 trafficking victims (39 for sex
         trafficking identiﬁcation and protection measures for Rwanda’s refugee          trafficking, 67 for labor trafficking, and four for unspeciﬁed exploitation)
         population. • Conduct additional training and capacity building to law          during the reporting period, compared with 131 victims identiﬁed in the
         enforcement agencies on recognizing and combating internal forms                previous reporting period. Officials referred one sex trafficking victim to
         of trafficking. • Ensure underserved communities are provided with              government and NGO shelters for assistance, compared with 48 victims
         adequate victim identiﬁcation and protection measures. • Develop and
 468                                                                                                                                   Haiti AR_000949
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 574 of 729




                                                                                                                                                                RWANDA
referred in the previous reporting period. The government was beginning        identiﬁed victims with psychological counseling, education, vocational
to implement procedures from the new National Action Plan (NAP)                training, and reintegration services, not all transit centers offered the same
related to victim identiﬁcation and referral at the end of the reporting       services. NGOs reported officials did not effectively use identiﬁcation
period. NGOs raised concerns that there was a need for gender-speciﬁc          and screening mechanisms to screen for trafficking indicators among
identiﬁcation protocols and guidance on how to collect evidence for use        underserved communities such as those engaged in commercial sex,
in prosecuting cases. Additionally, NGOs reported a lack of proactive          adults and children experiencing homelessness, and children in street
screening measures for identifying and referring potential trafficking         vending and forced begging who were also denied access to protection
victims from underserved communities to protected services. Observers          measures. Observers reported officials did not follow victim referral
also reported ﬂuctuating staffing throughout the pandemic made it more         procedures with respect to the LGBTQI+ community and individuals in
difficult to coordinate among agencies to identify and refer potential         commercial sex due to widespread cultural prejudice. Officials were less
trafficking victims to care, which reduced capacity to track those who         likely to refer members of the LGBTQI+ community for services, if at all.
received services. Additionally, the government in collaboration with
                                                                               The government supported the repatriation of one Rwandan victim from
an international organization trained protection actors and counselors
                                                                               Oman. The government identiﬁed two trafficking victims in Uganda. The
at government-run Isange One Stop Centers on the identiﬁcation of
                                                                               anti-trafficking law also required the government to provide support to
trafficking victims and how to refer them for services.
                                                                               identiﬁed trafficking victims abroad by covering the cost of transportation
The government decreased funding for victim care due to pandemic-              and repatriation to Rwanda. In July 2021, the government approved two
related budget constraints; it dedicated 181.3 million Rwandan francs          ministerial orders to clarify responsibilities for interagency coordination to
($181,300) compared with 206 million Rwandan francs ($206,000)                 support the repatriation of victims and coordination of efforts to identify
for victim care in 2020 and 233 million Rwandan francs ($233,000) in           and assist internal victims. NGOs applauded this action, which explained
2019. The government continued to operate its network of 44 one-stop           clear policies and provided a budget to support their anti-trafficking
centers to assist GBV and trafficking victims. Observers reported four         efforts. The government reported having a dedicated budget to repatriate
shelters affiliated with NGOs and 17 government-affiliated safe houses         Rwandan nationals from trafficking situations overseas, and diplomats
also offered services. The government opened its ﬁrst child-friendly           and immigration officials worked to facilitate repatriations, especially
space in coordination with an international organization in September          from Gulf states. However, observers noted Rwanda’s relatively limited
2021, which offered services for juvenile suspects, victims, and witnesses,    diplomatic footprint often made it difficult for Rwandan officials abroad
including victims and witnesses of trafficking crimes. Observers reported      to provide ﬁrst-hand assistance to trafficking victims overseas. Media and
the government planned to establish several more of these spaces, funding      NGOs reported victims continued to receive support packages of 250,000
permitting. The government’s one-stop centers—located in hospitals and         Rwandan francs ($250) upon reintegration into their home communities.
district capitals—provided short-term shelter and psycho-social, medical,      The 2018 anti-trafficking law called for the government to provide legal
and legal services to victims. The government did not report how many          assistance and information to victims in a language they understood;
trafficking victims it assisted at the one-stop centers during the reporting   however, the government did not report the number of potential victims to
period. NGOs reported the one-stop centers primarily focused on the            whom it provided such assistance. The anti-trafficking law also protected
needs of female victims, while assistance for male victims remained            the identity of victims by allowing court proceedings to be conducted
insufficient. The government reported victims generally stayed at Isange       by camera and permitting the use of a video link, but the government
One-Stop Centers for three days, after which victims could choose              did not report providing any victims with these protections during the
between longer-term shelter or independent living options, depending           reporting period. The anti-trafficking law permitted trafficking victims to
on their situations. The long-term government shelters provided up to          obtain employment and remain in Rwanda (or leave Rwanda) pending
six months of shelter services for human trafficking and GBV victims.          trial proceedings. The government did not report whether it granted
The extent and quality of services varied between locations, particularly      this immigration relief to any victims during the reporting period. The
regarding the provision of adequate psycho-social counseling, and social       anti-trafficking law continued to allow victims to ﬁle civil suits against
workers did not always screen and identify trafficking victims as distinct     traffickers for restitution and civil damages and stated that victims were
from GBV victims. The government and NGOs reported adult victims               exempt from paying any associated ﬁling fees, but the government did
residing at shelters had freedom of movement and could participate             not report any suits ﬁled or courts ordering restitution for trafficking
in support programs on their own accord. The government reported               victims during the reporting period.
having available temporary shelter services if victims were unwilling to
return to their places of origin. NGOs reported foreign victims had the        PREVENTION
same access to services as Rwandan victims. The government reported            The government maintained efforts to prevent trafficking. The government
providing and funding counseling services, medical care, literacy and          ﬁnalized an updated NAP in July 2021 after consulting with survivors
numeracy education, and vocational training for the reintegration              and including their input when developing it. The interagency anti-
of identiﬁed former child soldiers—both boys and girls. NGO service            trafficking technical committee continued to lead coordinated national
providers offered general assistance and support in refugee camps,             anti-trafficking efforts despite insufficient funding and pandemic-
but a lack of capacity and resources inhibited the implementation of           related closures. The government adjusted anti-trafficking interagency
effective procedures, screening, and assistance to trafficking victims         coordination and in-person engagements to accommodate pandemic
in refugee camps.                                                              restrictions. The government reported holding two major meetings on
                                                                               trafficking issues during the reporting period and conducting regular
The 2018 anti-trafficking law stated that trafficking victims should not be
                                                                               informal coordination beyond those meetings. Observers noted the anti-
detained, charged, or prosecuted for their involvement in any unlawful
                                                                               trafficking committee held fewer activities during the reporting period.
activity that was a direct consequence of being exploited. However,
                                                                               Observers noted the government continued to display political will to
due to a lack of formal identiﬁcation procedures through most of the
                                                                               combat trafficking, but they assessed the technical committee was not
reporting period, authorities sometimes penalized victims for forced
                                                                               an effective coordinating body. The government did not have a central
begging and other unlawful acts their traffickers compelled them to
                                                                               repository of trafficking data from all law enforcement agencies, which
commit. The government continued operating transit centers that
                                                                               hindered coordination on trafficking issues.
advocacy groups and NGOs reported detained vulnerable persons and
potential trafficking victims—including those in commercial sex, adults        The government conducted national and local awareness-raising
and children experiencing homelessness, members of the LGBTQI+                 campaigns during the reporting period. The government conducted
community, foreign nationals, and children in street vending and forced        targeted awareness raising campaigns in November and December
begging—and did not adequately screen for trafficking indicators among         2021. The government conducted, in collaboration with an international
them. The government held many potential victims of trafficking in these       organization, awareness raising activities at all of Rwanda’s refugee camps
centers, which functioned as de facto detention facilities, for up to six      to reduce the risk of trafficking. In partnership with an international
months. Observers further noted that authorities often released detainees      organization, the government also conducted awareness raising activities
back on the streets abruptly and without notice, thereby exposing them         in Rubavu, Rusizi, and Huye districts. Adapting to the challenges of the
to possible revictimization. While some centers provided detainees and         pandemic, the government used media and radio programs to increase
                                                                                                                                  Haiti AR_000950               469
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 575 of 729
SAINT LUCIA   community awareness of trafficking risks. The Rwanda Directorate General       demobilized from armed groups in the DRC. Traffickers in neighboring
              for Immigration and Emigration (DGIE), Ministry of Justice (MINIJUST),         countries continue to pose as labor recruitment agents to recruit and
              Rwanda Investigation Bureau (RIB), Rwanda National Police (RNP),               transport small numbers of victims through the country. A study found
              and other government agencies, in coordination with an international           that most victims were Rwandan or Burundian in origin. Victims tend
              organization, continued to work together to target leaders in higher-risk      to know their traffickers and recruiters; researchers report parents of
              communities. The RIB, RNP, and other government agencies continued             victims occasionally were complicit in trafficking. Traffickers tend to
              to operate national hotlines for reporting crimes; they reported receiving     be male, but females increasingly make up a substantial percentage of
              15 calls related to trafficking. These hotlines accommodated speakers          traffickers. Sometimes parents send their children to live with relatives
              in English, French, Kinyarwanda, and Kiswahili, advertised in public           to improve their economic situation, but the children become victims of
              awareness campaigns on TV, radio, and social media, and were available         domestic servitude or child sex trafficking. Traffickers deceive guardians
              24 hours a day. The government made efforts to reduce the demand               and victims with false promises of better opportunities for employment
              for commercial sex acts.                                                       in neighboring countries. Greater access to the internet and social
                                                                                             media platforms continues to create new and easier opportunities for
              The government had policies to regulate labor recruitment companies.
                                                                                             traffickers to access and recruit victims. Observers report traffickers
              These policies required their registration with the Rwanda Development
                                                                                             employ coercive means to control and keep their victims in their
              Board, licensing from the Ministry of Labor, submission of monthly reports
                                                                                             exploitive positions; coercive tactics include isolating and restricting
              to the government, writing labor contracts in one of the official languages
                                                                                             victims’ movements, depriving them of money, restricting their ability
              and in a language that both the employee and employer understand, and
                                                                                             to communicate, threat and use of violence, drugs, debt bondage for
              including salary, date of payment, and dispute settlement procedures
                                                                                             children of victims, and retaining identity or travel documents.
              in employment contracts. The government did not permit international
              labor brokers to operate in Rwanda. The government reported labor              Sources report traffickers move victims more easily across borders
              inspectors and local authorities were trained to identify forced labor;        due to a trilateral agreement among the governments of Kenya,
              however, NGOs reported the limited number of inspectors and insufficient       Rwanda, and Uganda that allows foreign nationals to use national
              funds hindered the government’s labor inspections. Despite limited             identiﬁcation in lieu of a passport. In 2019, sources reported a new
              labor inspectors and funds, the government prevented 115 cases of              migration pattern developed by traffickers transiting victims through
              forced labor in which individuals were planning to travel to the Middle        each of these countries on their way to Ethiopia and Kenya before they
              East to perform domestic work. The government did not disclose how             embark on their journey to the Middle East. In 2022, Rwanda hosted
              it regulated, oversaw, and screened for trafficking indicators in the labor    127,000 refugees and asylum seekers from the DRC and Burundi.
              recruitment process during the reporting period. The government sought         Refugees ﬂeeing conﬂict and political violence in Burundi and the DRC
              coordination with other governments on transnational labor issues.             remain highly vulnerable to trafficking in Rwanda due to an inability to
                                                                                             secure legitimate employment, and some are exploited by traffickers
              TRAFFICKING PROFILE                                                            in other countries after transiting Rwanda. Sources reported that
              As reported over the past ﬁve years, human traffickers exploit domestic        refugee children, particularly girls, orphans, and young people were at
              and foreign victims in Rwanda, and traffickers exploit victims from            greater risk of exploitation. Researchers have reported some parents
              Rwanda abroad. Traffickers subject Rwandan men, women, and                     in refugee camps receive money in exchange for their daughters’ work
              children to sex trafficking and forced labor in domestic work, and             in domestic service or in the commercial sex industry. Researchers
              in the agricultural, mining, industrial, and service sectors in Rwanda.        reported Burundians and Congolese were at risk for trafficking. There
              Traffickers exploit Rwandan women and girls in forced labor, speciﬁcally       were no reports of forcible or coerced recruitment out of the Mahama
              in domestic service, bars, and restaurants, and exploit men and boys           refugee camp by Rwandan government officials since 2015.
              in forced labor in mines and plantations. Traffickers sometimes exploit
              Rwandan children and young adults, including secondary school
              students between the ages of 13 and 18, in commercial sex in hotels, at
              times with the cooperation of hotel owners. Traffickers subject Rwandan         SAINT LUCIA: TIER 2 WATCH
              adults and children to sex trafficking and forced labor in domestic
              work, agricultural, industrial, and service sectors abroad, including in        LIST
              East Africa, Southern Africa, the Middle East, and Asia. NGOs reported
              cultural norms minimized laborers’ rights and consequently made                The Government of Saint Lucia does not fully meet the minimum standards
              identifying forced labor difficult. The free movement of citizens of the
                                                                                             for the elimination of trafficking but is making signiﬁcant efforts to
              East African Community made it easier for traffickers to move victims
                                                                                             do so. These efforts included passing an amendment to remove the
              across borders within the region. Traffickers transited victims through
                                                                                             option for a ﬁne in lieu of imprisonment; increasing public awareness
              Uganda and Tanzania before reaching ﬁnal destinations that included
                                                                                             of the hotline to report trafficking; and working with an international
              African, East Asian, and Middle Eastern countries.
                                                                                             partner to investigate a potential child sex trafficking case. However, the
              International organizations reported increased vulnerability to trafficking    government did not demonstrate overall increasing efforts compared
              among Rwandans due to the pandemic’s impact on the economy.                    with the previous reporting period, even considering the impact of the
              Migrant workers in search of job opportunities became vulnerable               COVID-19 pandemic on its anti-trafficking capacity. The government has
              to traffickers. Observers reported pandemic-related border closures            not initiated a prosecution since 2015 and has never convicted a trafficker.
              reduced the number of victims transiting out of the country. Traffickers       The government did not identify any victims for the second consecutive
              target vulnerable populations such as youth experiencing homelessness,         year or report providing any services to victims. The government did not
              orphaned children, children with disabilities, young women and girls,          enact or fund a new national action plan (NAP). Therefore Saint Lucia
              unemployed adults, and internally displaced persons. The vast majority         was downgraded to Tier 2 Watch List.
              of female victims have been single women younger than 30 years old.
              International organizations reported traffickers entice young girls into
              domestic servitude and in some cases force them into sex trafficking. In                SAINT LUCIA TIER RANKING BY YEAR
              October 2020, an NGO reported forced street begging as a new form                   1
              of trafficking exacerbated by the pandemic. Observers report parents                2
              receive compensation for allowing traffickers to exploit their children in
                                                                                                2WL
              forced begging during the day. An international organization reported
              that 43 percent of children with disabilities did not attend school,                3
                                                                                                         2015      2016     2017         2018   2019   2020   2021   2022
              increasing their vulnerability to being targeted by traffickers. In previous
              years, international organizations reported concerns that children
              in refugee camps were vulnerable to recruitment by armed groups
              operating in the DRC and noted Rwandan children were among those

  470                                                                                                                                            Haiti AR_000951
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 576 of 729




                                                                                                                                                               SAINT LUCIA
PRIORITIZED RECOMMENDATIONS:                                                     it screened the workers for trafficking indicators and that the workers
Increase efforts to identify vulnerable individuals, especially children,        remained in possession of their passports. The government reported
migrants, and Cuban medical professionals, screen them for trafficking           that it directly paid the Cuban medical workers a monthly stipend
indicators, and refer identiﬁed victims to services. • Investigate, prosecute,   and additionally provided them furnished housing or rental expenses,
convict, and punish perpetrators of sex trafficking and labor trafficking        internet, property maintenance, transportation, and international airfare
under the Counter-Trafficking (Amendment) Act. • Amend trafficking               to and from the country; the workers were allowed 34 days leave after 11
provisions in the 2021 Counter-Trafficking (Amendment) Act to prescribe          months of service. Specially trained police officers interviewed potential
penalties for sex trafficking that are commensurate with penalties               trafficking victims and reported generally screening for trafficking
prescribed for other serious crimes, such as rape. • Develop a NAP               indicators when detaining or arresting individuals involved in commercial
for 2022 and onwards. • Reduce court backlog and pretrial detention              sex, migrants, and those in other vulnerable groups. The government did
delays affecting trafficking cases. • Implement a process to share               not detain or arrest any individuals involved in commercial sex during
trafficking law enforcement cases across government agencies and                 the reporting period. Police generally lacked sensitization and training
provide a mechanism for civil society to report law enforcement cases            on sex trafficking and sex tourism, particularly involving children.
and potential victims to the anti-trafficking task force. • Develop and          The government worked with NGOs and encouraged them to report
implement labor recruitment policies, hire and train more inspectors             cases. The government did not maintain a dedicated shelter for trafficking
for labor trafficking inspections, and improve interagency coordination          victims and had an agreement with NGOs to provide shelter for victims
on labor issues. • Implement standard operating procedures (SOPs) on             when the need arose; the government did not report referring any
a victim-centered approach to guide police, immigration, labor, child            victims to NGO shelters during the reporting period. The government
protection, judicial, and social welfare officials on victim identiﬁcation       did not have a speciﬁc funding allocation for victim care, but the Minister
and referral. • Continue to train law enforcement officials to gather            of Home Affairs could request the Prime Minister provide ﬁnancial
evidence of trafficking cases appropriate for prosecution. • Provide             support for victims as needed. The Division of Human Services could
legal mechanisms for all victims to work and receive temporary formal            provide victims with counseling, meals, accommodation, medical care,
residency status.                                                                toiletries, clothing, and in some cases, allowances; the government did
                                                                                 not report providing these services during the reporting period. The
PROSECUTION                                                                      Office of Gender Relations could refer trafficking victims to NGOs for
The government maintained minimal law enforcement efforts. The                   legal, health, advocacy, and crisis services. Adult victims could leave
government enacted amendments to the Counter-Trafficking Act                     shelters at will, but the government did not allow foreign victims to
during the reporting period. The Counter-Trafficking Act, as amended,            work or receive formal residency status because it considered victims
criminalized sex trafficking and labor trafficking and prescribed penalties      wards of the state; although, the government could permit victims who
of up to ﬁve years’ imprisonment. These penalties were sufficiently              were material witnesses in a criminal case to remain and work in the
stringent but, with respect to sex trafficking, were not commensurate            country. The Counter-Trafficking Act mandated special provisions for
with penalties prescribed for other serious crimes, such as rape.                child victims that could include understanding of their rights, respect
The government conducted one trafficking investigation under the                 for privacy, housing, care, reuniﬁcation with family in the country or
Counter-Trafficking (Amendment) Act during the reporting period,                 abroad if safe and possible, specialized mental and physical care, and
compared with none in 2020 and three in 2019. The case involved                  education. The Division of Human Services could place child victims
two Saint Lucian children taken to France; the government requested              in one of two children’s homes but did not report doing so during the
France’s cooperation with the investigation, which remained ongoing              reporting period.
at the end of the reporting period. The government has not initiated a           The Counter-Trafficking (Amendment) Act contained victim protection
trafficking prosecution since 2015. The government has never convicted           provisions, such as privacy measures, the ability to testify via video
a trafficker, and courts have closed trials or dismissed charges in all          link, and witness protection, to encourage victims to participate in the
trafficking prosecutions since 2016.                                             investigation and prosecution of traffickers. Children could also testify
The police force suffered signiﬁcant personnel shortages, with many              via video and have a guardian or social worker present during testimony
officers in quarantine or ill with COVID-19; some active duty police officers    and court proceedings. The Counter-Trafficking (Amendment) Act also
died from the virus. Despite this, police continued routine operations           provided that judges could, upon conviction of a trafficker, order the
and conducted investigations. Criminal trials stopped at the beginning           trafficker to pay victim restitution. The government did not report using
of the pandemic and did not restart during the current reporting period          these provisions during the reporting period. Foreign victims had the
because the law required proceedings include an in-person jury and               same access to care as domestic victims, and the government could
the country lacked courtrooms large enough to accommodate jurors                 assist foreign victims seeking repatriation.
and other trial participants during the pandemic. Observers reported
signiﬁcant court backlogs and pretrial detention of defendants for all           PREVENTION
serious crimes, including trafficking cases, which could last as long            The government maintained minimal efforts to prevent trafficking. With
as six years. There was no separate budget for trafficking cases, and            the support of the Prime Minister, the Ministry of Home Affairs and the
court resources remained limited. The RSLPF had three officers in                Ministry of National Security led the task force consisting of relevant
the Major Crimes Unit dedicated to trafficking investigations, and its           agencies and NGOs. Due to pandemic-related restrictions, the task force
Vulnerable Persons Unit could also investigate potential trafficking             coordinated via telephone. In response to the pandemic, authorities
cases involving children or sexual exploitation. The government did not          diverted government resources—including those for trafficking and the
report any investigations, prosecutions, or convictions of government            task force—to its pandemic response. In addition, government personnel
employees complicit in trafficking offenses. The government joined the           focused primarily on the pandemic response and worked from home due
EU’s SEACOP V project in May 2021 and began to improve maritime                  to social distancing requirements, inhibiting the government’s ability
intelligence-sharing and cooperation against organized criminal groups,          to implement anti-trafficking efforts. The government official in charge
including trafficking.                                                           of drafting the new NAP was seconded to the Ministry of Education as
                                                                                 it began to implement virtual public education efforts in response to
PROTECTION                                                                       pandemic-related restrictions. The task force hosted an online meeting
The government maintained minimal protection efforts. The government             in June 2021 for the public sector to examine its response to child sex
did not identify any potential trafficking victims for the second                trafficking, especially among those economically disadvantaged by
consecutive year. The government did not report providing services to            the pandemic. The task force continued a media campaign by issuing
any trafficking victims during the reporting period. Authorities used SOPs       trafficking-related press releases and public service announcements
for victim identiﬁcation, referral, and protection updated in March 2021;        promoting trafficking awareness and the hotline. The public could
the SOPs included an international organization’s victim screening form.         still make referrals through a police command center control room
The government had a cooperation agreement with the Government                   and toll-free 24-hour hotline launched in 2019, which handled calls in
of Cuba for Cuban workers in the country; the government reported                English and Saint Lucian Creole French; the government did not report
                                                                                                                                  Haiti AR_000952              471
                                     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 577 of 729
ST. VINCENT AND THE GRENADINES   any trafficking-related referrals from the hotline during the reporting        government agencies cited a lack of resources for anti-trafficking efforts.
                                 period. In 2020, the government started a comprehensive study to
                                 provide recommendations on targeting economic development plans
                                                                                                                         ST. VINCENT AND THE GRENADINES TIER RANKING BY YEAR
                                 to reduce the vulnerability of economically disadvantaged populations
                                                                                                                     1
                                 to trafficking and other crimes; the study remained ongoing at the end
                                 of the previous reporting period.                                                  2

                                 The government did not report any changes to its regulations and                 2WL
                                 oversight of labor recruitment or efforts to regulate recruitment practices.        3
                                 Foreign nationals coming to work in the country had to complete a                         2015      2016      2017      2018     2019         2020   2021   2022
                                 work permit application process that included a certiﬁcate of character
                                 obtained from the Police Records Unit. While labor laws prohibited most
                                 forms of forced or compulsory labor, the government did not enforce            PRIORITIZED RECOMMENDATIONS:
                                 them effectively. Expert observers noted there were not enough trained         Vigorously prosecute and enable successful convictions of traffickers
                                 labor inspectors to monitor all sectors for labor trafficking and that         and sentence convicted traffickers to signiﬁcant prison terms. •
                                 inspectors usually visited suspect areas only after receiving a complaint.     Increase investigations of suspected sex and labor trafficking cases,
                                 In addition, coordination between ministries and departments dealing           particularly cases involving children. • Amend the trafficking law to
                                 with labor issues was poor, hindering enforcement efforts. In 2020,            remove sentencing provisions allowing ﬁnes in lieu of imprisonment
                                 the government reviewed the Labor Act, which speciﬁed the Labor                for sex trafficking. • Increase government funding and resources across
                                 Department’s authorities; the Attorney General was reviewing the               all relevant agencies to combat trafficking. • Improve the quality and
                                 revised draft legislation at the end of the reporting period. Authorities      specialization of victim services. • Consistently screen both domestic
                                 reported all inspections looked for child labor, but they did not conduct      and foreign at-risk populations, including internally displaced persons,
                                 child labor-speciﬁc inspections; inspectors did not receive child labor-       economically disadvantaged children, and Cuban medical workers, for
                                 speciﬁc training. The government did not identify any cases of child           trafficking indicators and refer victims to care. • Increase training for
                                 sex tourism during the reporting period, nor did it take measures to           police, prosecutors, and the judiciary on improved evidence collection
                                 reduce the demand for commercial sex acts. The government did not              in trafficking cases, ensuring evidence presented meets applicable legal
                                 provide training to its diplomats.                                             standards. • Increase the capacity of labor inspectors to identify and
                                                                                                                refer to care victims of labor trafficking, including children. • Continue
                                 TRAFFICKING PROFILE                                                            to raise awareness about labor trafficking and sex trafficking and
                                 As reported over the past ﬁve years, human traffickers exploit domestic        the need for public cooperation in law enforcement investigations in
                                 and foreign victims in Saint Lucia, and traffickers exploit victims from       traditional and social media.
                                 Saint Lucia abroad. Government officials, civil society, and educators
                                 reported Saint Lucian children from economically disadvantaged families        PROSECUTION
                                 are at risk of child sex trafficking, often encouraged or forced by parents    The government maintained minimal law enforcement efforts. The
                                 and caretakers in exchange for goods or services. The pandemic increased       Prevention of Trafficking in Persons Act of 2011 criminalized sex trafficking
                                 vulnerability—including for children—for those negatively impacted             and labor trafficking and prescribed punishments of up to 15 years’
                                 economically. Civil society has also reported women, or in some cases          imprisonment, a ﬁne of 250,000 Eastern Caribbean dollars ($92,590), or
                                 older teenagers, recruit younger children to provide commercial sex            both. These penalties were sufficiently stringent. However, by allowing
                                 to adults at street parties. Documented and undocumented migrants              for a ﬁne in lieu of imprisonment, the penalties for sex trafficking offenses
                                 from the Caribbean and South Asia, including domestic workers, are             were not commensurate with those for other serious crimes, such as rape.
                                 vulnerable to trafficking. Foreign women who work in strip clubs
                                                                                                                The Anti-Trafficking in Persons Unit (ATIPU) investigated three trafficking
                                 and in commercial sex are at risk of sex trafficking. NGOs report that
                                                                                                                cases in 2021: one case of sex trafficking, one case of labor trafficking,
                                 disadvantaged young women from rural areas are vulnerable to sex
                                                                                                                and one unspeciﬁed. This compared with investigating one case of labor
                                 trafficking, and children from poor communities are also vulnerable
                                                                                                                trafficking in 2020, ﬁve suspected cases in 2019, and four cases in 2018.
                                 to sexual exploitation. According to the government, business owners
                                                                                                                Authorities did not prosecute any alleged traffickers under the Trafficking
                                 from Saint Lucia, India, the People’s Republic of China (PRC), Cuba, and
                                                                                                                Act during the reporting period, with the last prosecution in 2015, and
                                 Russia are the most likely traffickers in the country. The government
                                                                                                                the government has never convicted a trafficker. The government did not
                                 reported 80 Cuban medical workers assisted in the pandemic response
                                                                                                                report any investigations, prosecutions, or convictions of government
                                 during the reporting period. Cuban medical professionals working in
                                                                                                                employees complicit in trafficking offenses.
                                 Saint Lucia may have been forced to work by the Cuban government.
                                                                                                                The lack of prosecutions and convictions and dismissal of past trafficking
                                                                                                                cases over several years indicated shortcomings in the government’s
                                                                                                                ability to acquire sufficient evidence to bring cases to trial. Authorities
                                  ST. VINCENT AND                                                               indicated that police needed additional personnel and resources to
                                                                                                                investigate and collect evidence effectively in trafficking cases. The ATIPU
                                  THE GRENADINES: TIER 2                                                        reported it needed additional staff, computer and office equipment,
                                                                                                                office space, and a dedicated vehicle to combat human trafficking
                                                                                                                more effectively. During the previous reporting period, the ATIPU had
                                 The Government of St. Vincent and the Grenadines does not fully
                                                                                                                to request vehicles on an ad hoc basis from the police force’s general
                                 meet the minimum standards for the elimination of trafficking but is
                                                                                                                motor pool; the government reported it successfully sought foreign
                                 making signiﬁcant efforts to do so. The government demonstrated
                                                                                                                donations during the reporting period to expand motor pool resources.
                                 overall increasing efforts compared to the previous reporting period,
                                                                                                                The government reported the pandemic and other emergencies, including
                                 considering the impact of the COVID-19 pandemic on its anti-trafficking
                                                                                                                a volcanic eruption and a hurricane, severely impeded law enforcement
                                 capacity; therefore St. Vincent and the Grenadines remained on Tier 2.         efforts, especially in the northeast and northwest parts of the multi-
                                 These efforts included increased investigations and increased training         island country. The government partially suspended court proceedings
                                 for frontline health workers attending to newly vulnerable internally          for four months due to the pandemic and other emergencies, eventually
                                 displaced persons (IDPs), as well as additional awareness raising efforts      resuming virtually.
                                 among this population. However, the government did not meet the
                                 minimum standards in several key areas. Authorities have not prosecuted        The ATIPU conducted surveillance at the airport and seaports of entry,
                                 a trafficking case since 2015 and have never convicted a trafficker.           marinas, bars, nightclubs, entertainment spots, restaurants, beaches,
                                 The government’s anti-trafficking law, which allowed for ﬁnes in lieu          and social events to identify possible trafficking crimes. The government
                                 of imprisonment, was not commensurate with penalties for other                 reported a lack of awareness about human trafficking impeded the
                                 serious crimes. Victim identiﬁcation and services remained weak, and           public from reporting suspected trafficking crimes and cooperating on

      472                                                                                                                                                           Haiti AR_000953
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 578 of 729




                                                                                                                                                                  ST. VINCENT AND THE GRENADINES
trafficking investigations. The ATIPU funded and conducted specialized           The ATIPU operated three 24-hour English-speaking hotlines, including
anti-trafficking training for police recruits. The ATIPU cooperated with         a dedicated trafficking hotline, an emergency number, and a police
the government of a neighboring country on a trafficking case in that            operator, and monitored an email address for reporting suspected
country that included a Vincentian victim.                                       trafficking cases; authorities reported they initiated criminal investigations
                                                                                 from calls to the hotlines in the reporting period but did not report
PROTECTION                                                                       whether the investigations were of trafficking crimes. In comparison,
The government maintained minimal victim protection efforts. Authorities         authorities identiﬁed eight potential victims via the hotline in 2020 and
screened potential victims but did not formally identify any victims             no actions in 2019. The government submitted an Annual Trafficking
during the reporting period, compared with screening eight potential             in Persons Report to the Parliament, which the government reported
trafficking victims in 2020; the government last identiﬁed a victim in           providing the opportunity for national debate and public education on
2019. The government reported it disseminated a formal screening                 the contents of the document and government’s overall anti-trafficking
and referral procedure for potential trafficking victims, in which the           policies. Although the document was not made public, observers noted
immigration and labor departments, or NGOs, had responsibility to                citizens may have been able to request the document in person. The
identify potential victims and refer them to the ATIPU for interviews            government distributed anti-trafficking brochures to newly vulnerable
and formal identiﬁcation.                                                        evacuees placed in shelters during the volcanic eruption. The government
                                                                                 raised awareness via a country-side radio program. The ATIPU continued
If it formally identiﬁed victims, the ATIPU could refer them to a crisis
                                                                                 its awareness-raising campaign by disseminating posters, stickers, and
center the government funded and operated in collaboration with
                                                                                 brochures at the international airport and other popular sites; it also
NGOs for victims of domestic violence and trafficking; the center
                                                                                 partnered with an NGO to place anti-trafficking banners in the arrivals
offered shelter, social care, and medical, psychological, and ﬁnancial
                                                                                 and departures areas of the international airport. The prime minister
assistance. The government reported adult victims had the option to
                                                                                 explicitly warned citizens to be aware of potential trafficking cases in
leave the shelter at will. Some observers in previous reporting periods
                                                                                 extensive media commentary in February 2022. Observers reported
noted the government’s victim referral process kept potential victims
                                                                                 the task force raised awareness of trafficking in schools, religious
in law enforcement custody instead of moving them to the crisis center.
                                                                                 organizations, and businesses. The government reported training its
The government did not provide shelter facilities for male victims.
                                                                                 diplomats; in previous reporting periods, the government provided such
During the reporting period, the government provided funding to the
                                                                                 training on a biannual basis to coincide with the return of accredited
Ministry of National Security, which oversaw the ATIPU, but did not
                                                                                 diplomats for consultations in Kingstown.
report the speciﬁc amount provided for trafficking victim services,
as it was allocated through existing budgets of different ministries.            The government routinely conducted both planned and unannounced
The government reported victims could speak to social services or                labor inspections of hotels, farms, stores, bars, industries, security
an NGO that completed ATIPU anti-trafficking training, instead of law            workplaces, and domestic work locations, although their stated lack
enforcement prior to deciding whether to ﬁle a police report. Provisions         of personnel and funding may have prevented coverage of work sites
in the anti-trafficking act called for protections for victims before, during,   with the most vulnerable workers. Labor department officials reported
and after a trial, such as keeping the names of victims and their families       conducting periodic inspections of an unspeciﬁed number in 2021,
conﬁdential, witness protection programs, and facilities for victims to          compared with 37 inspections in 2020 and 42 inspections in 2019. The
testify via video; however, the government did not use these provisions          1940 Recruiting of Workers Act remained in force and banned recruitment
for any trafficking victims during the reporting period. The government          fees; observers noted the government regulated overseas labor programs
reported no cases of victims being detained, ﬁned, or jailed for unlawful        for its citizens by serving as an intermediary. The government reported
acts traffickers compelled them to commit.                                       having bilateral agreements with several countries regarding oversees
                                                                                 recruitment and employment and using resources in its embassies
The anti-trafficking act provided foreign victims with the possibility of
                                                                                 overseas to ensure that its citizens did not become victims of trafficking.
temporary and permanent residence permits and protected victims
                                                                                 The government did not train labor inspectors speciﬁcally on child
from immediate deportation; authorities did not link victim beneﬁts to
                                                                                 labor, although the government reported labor inspectors screened for
cooperation with law enforcement. Authorities did not grant temporary
                                                                                 indicators of child labor and trafficking and police received training to
or permanent residency to any victims during the reporting period. The
                                                                                 investigate child labor crimes. The government did not make efforts to
government allowed foreign victims who remained in the country to
                                                                                 reduce the demand for commercial sex acts.
work but did not make use of this provision during the reporting period.
The government reported it screened all individuals before deportation;
outside observers noted the country’s border controls included an exit
                                                                                 TRAFFICKING PROFILE
                                                                                 As reported over the past ﬁve years, human traffickers exploit domestic
interview with an immigration officer. The government did not report
                                                                                 and foreign victims in St. Vincent and the Grenadines, and traffickers
any cases where the courts ordered restitution paid to trafficking
                                                                                 exploit victims from St. Vincent and the Grenadines abroad. Foreign
victims; it also did not report any situations where victims required
                                                                                 women in commercial sex in the country may have been exploited in sex
government assistance with repatriation. Authorities did not report
                                                                                 trafficking, and foreign workers from South America, the Caribbean, and
speciﬁcally screening Cuban medical workers for trafficking indicators
                                                                                 Asia may have been exploited in forced labor both in the country and
beyond general entry and exit screening or implementing measures
                                                                                 while in transit. The government invited Cuban medical workers in the
to ensure workers kept their wages apart from general monitoring
                                                                                 country to assist in the pandemic healthcare response in the previous
of foreign workers. The government trained frontline health workers
                                                                                 reporting period and signed a bilateral agreement with Cuba governing
and volunteers. Observers noted the tailored training regime focused
                                                                                 the work and living arrangements for the medical professionals. The
primarily on teaching frontline healthcare and social workers how to
                                                                                 government reported in the previous reporting period that the Cuban
identify and care for newly vulnerable potential victims among those
                                                                                 medical workers retained their passports. Cuban nationals working in
internally displaced by the volcanic eruption.
                                                                                 St. Vincent and the Grenadines may have been forced to work by the
                                                                                 Cuban government. Foreign workers employed by small, foreign-owned
PREVENTION
                                                                                 companies may be vulnerable to labor trafficking. Men, women, and
The government maintained efforts to prevent trafficking. The national
                                                                                 children have been victims of forced labor, primarily in agriculture;
task force, led by the prime minister, coordinated the anti-trafficking
                                                                                 government officials and civil society suspect drug traffickers exploit
efforts of its members, including government agencies and an NGO. The
                                                                                 workers in forced labor in the production of marijuana. In previous
government did not report how often the national task force met during
                                                                                 reporting periods, outside experts indicated that adults might have
the reporting period. The government reported continuing to provide
                                                                                 exploited their children in sex trafficking to generate income, while others
ﬁnancial, material, technical, and human resources for the country’s
                                                                                 purchased commercial sex from children. In April 2021, the La Soufriere
anti-trafficking National Action Plan (NAP) for the period 2021-2025
                                                                                 volcanic eruption and a subsequent hurricane destroyed a third of the
but did not report if its budget was sufficient. The government reported
                                                                                 country’s arable land; made almost all arable land inaccessible, leading
the pandemic did not prevent members of the national task force from
                                                                                 to massive crop failure and cutting off the main source of revenue and
continuing to implement the NAP.
                                                                                                                                    Haiti AR_000954               473
                   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 579 of 729
SAUDI ARABIA   employment; and internally displaced a sixth of its population, making         are not wrongfully penalized. • Ensure border guards and police are
               this group newly vulnerable to trafficking. International air travel in the    adequately trained to proactively identify potential victims and continue
               Eastern Caribbean, the main mode of transportation in pre-pandemic             to improve screening protocols, speciﬁcally at detention and deportation
               reporting periods for foreign trafficking victims in the region, collapsed     centers • Ensure alternatives to deportation for vulnerable migrants
               during the pandemic. While air travel resumed in a limited way during          to countries where they might face retribution or hardship. • Continue
               the reporting period, the main routes were to the United States, not a         to increase efforts to prosecute, convict, and sentence all convicted
               traditional source market for trafficking victims in St. Vincent and the       traffickers to signiﬁcant prison terms under the anti-trafficking law.
               Grenadines.                                                                    • Support establishment of NGO-administered specialized trafficking
                                                                                              shelter to ensure victims of all types of trafficking receive adequate care.
                                                                                              • Pursue criminal investigations against all officials allegedly complicit in
                                                                                              trafficking crimes, including foreign diplomats posted in Saudi Arabia.
                SAUDI ARABIA: TIER 2                                                          • Amend the anti-trafficking law to remove sentencing provisions that
                                                                                              allow ﬁnes in lieu of imprisonment for sex trafficking offenses. • Expand
                                                                                              implementation of electronic contracts so that workers can utilize the
               The Government of Saudi Arabia does not fully meet the minimum
                                                                                              new labor reforms and include or develop similar initiatives for domestic
               standards for the elimination of trafficking but is making signiﬁcant
                                                                                              workers. • Continue to investigate as potential trafficking crimes (not
               efforts to do so. The government demonstrated overall increasing
                                                                                              just as administrative issues) indicators of trafficking, such as passport
               efforts compared with the previous reporting period, considering
                                                                                              retention, withholding of wages, labor violations, and complaints of
               the impact of the COVID-19 pandemic on its anti-trafficking capacity;          abuse. • Institute regular trainings for government officials on identifying
               therefore Saudi Arabia remained on Tier 2. These efforts included              cases of both labor and sex trafficking and differentiating between
               drafting and approving a 2021-2023 National Action Plan (NAP) in               forced labor and labor-related crimes.
               coordination with international organizations and actively revising and
               updating National Referral Mechanism (NRM) guidelines and victim               PROSECUTION
               assistance policies following assessments of trafficking trends and            The government maintained law enforcement efforts. The 2009 anti-
               lessons learned from a high-proﬁle case involving domestic workers.            trafficking law criminalized sex trafficking and labor trafficking and
               The government continued to utilize existing mechanisms to refer               prescribed punishments of up to 15 years’ imprisonment, a ﬁne or both;
               cases of labor violations exhibiting trafficking indicators for criminal       penalties increased under aggravating circumstances, including trafficking
               investigation and prosecution, and it supported the establishment              committed by an organized criminal group or against a woman, child,
               of an NGO to specialize in combating trafficking. It also continued            or person with disabilities. These penalties were sufficiently stringent;
               to implement its most recent visa sponsorship system reforms, ﬁrst             however, by allowing for a ﬁne in lieu of imprisonment, the penalties for
               implemented in March 2021, and worked to address employers’ retaliatory        sex trafficking were not commensurate with those prescribed for other
               actions that could prevent workers’ from exercising their rights under         serious crimes such as kidnapping, false imprisonment, or sexual abuse.
               the reforms. However, the government did not meet the minimum                  During the previous reporting period, the government established a
               standards in several key areas. Domestic workers remained excluded             committee advised by an international organization and composed of
               from labor law protections and the most recent sponsorship reforms,            the Ministry of Interior (MOI), Ministry of Foreign Affairs (MFA), Ministry
               which perpetuated the high risk of this population to forced labor. The        of Justice (MOJ), the Public Prosecutors Office (PPO), the Ministry of
               government also identiﬁed and referred to care signiﬁcantly fewer              Human Resources and Social Development (MHRSD), and the Saudi
               trafficking victims and did not consistently screen vulnerable populations     Human Rights Commission (HRC) to consider amendments to the
               for trafficking indicators, which may have resulted in the penalization of     2009 anti-trafficking law. In 2021, the committee completed a review
               some victims for unlawful acts traffickers compelled them to commit,           of seven suggested amendments to the law, which included penalties
               such as immigration or “prostitution” violations, and the deportation          that combined imprisonment and ﬁnes for convicted traffickers and
               of other unidentiﬁed victims, some to countries where they faced               criminalization of personal document conﬁscation, such as passports.
               persecution. Finally, authorities did not consistently seek signiﬁcant         The amendments remained under review by the Council of Ministers
               sentences, with prison terms of one year or more, for all convicted            at the close of the reporting period.
               traffickers, especially Saudi Arabian nationals; this undercut efforts         For the ﬁrst time, the government reported comprehensive data
               to hold traffickers accountable, weakened deterrence, and increased            on its law enforcement efforts, suggesting increased interagency
               potential security and safety concerns.                                        coordination, compared even with recent years where the government
                                                                                              newly reported disaggregated data. During the reporting period, the
                                                                                              government investigated 346 potential trafficking cases, involving 377
                        SAUDI ARABIA TIER RANKING BY YEAR
                                                                                              alleged traffickers. Of the 377 individuals investigated, 18 were for sex
                    1
                                                                                              trafficking, 162 were for forced labor, and 197 were for forced begging
                    2                                                                         and “slavery-like practices;” this was compared with 775 cases in 2020
                 2WL                                                                          and 320 cases in 2019. The government prosecuted 90 individuals in
                    3                                                                         64 cases, compared with the prosecution of 127 individuals in 52 cases
                           2015     2016      2017      2018   2019   2020   2021   2022      during the previous reporting period. Of the 90 individuals prosecuted,
                                                                                              58 were prosecuted for forced labor crimes, 26 for forced begging and
                                                                                              “slavery-like practices,” and six for sex trafficking. Of those prosecuted,
                                                                                              courts convicted 64 traffickers under the 2009 law, compared with the
               PRIORITIZED RECOMMENDATIONS:                                                   conviction of 62 traffickers in 2020 and 46 traffickers in 2019. Courts
               Provide protections to domestic workers that are equal to those private        acquitted 38 traffickers in 15 cases, compared with an unknown number
               sector workers receive under the labor law and recent labor reforms            of traffickers in 22 cases in 2020. Of the 64 traffickers convicted, 30
               to ensure domestic workers’ freedom to change jobs or obtain an exit           were for forced labor, 19 were for sex trafficking, 13 were for forced
               visa without employer consent. • Undertake serious efforts to prevent          begging and two were for “slavery-like practices.” Of the three forced
               penalization of trafficking victims by proactively screening for trafficking   labor cases that remained in the prosecution stage at the close of the
               among those arrested for immigration violations or commercial sex              previous reporting period, one trafficker was convicted for forced
               crimes or those who ﬂee abusive employers and face countercharges              labor crimes in one case, while two individuals involved in two cases
               and deportation. • Regularly use and train officials on the NRM to             were acquitted. Judges sentenced most convicted traffickers to terms
               ensure victims among vulnerable populations, including domestic                of imprisonment ranging from 50 days to 10 years (with 53 percent
               workers, undocumented foreign workers, deportees, and the People’s             receiving one year or more), plus ﬁnes, travel bans, and conﬁscation
               Republic of China (PRC) and Cuban overseas workers, including medical          of personal assets used to facilitate each crime; however, one foreign
               professionals and persons in commercial sex, receive proper care and           trafficker was solely sentenced a ﬁne of 10,000 Saudi Arabian riyal (SAR)

  474                                                                                                                                       Haiti AR_000955
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 580 of 729




                                                                                                                                                              SAUDI ARABIA
($2,670). While the government did not report the nationality of each         43 victims of forced labor, 60 victims of forced begging and “slavery-like
trafficker, of those reported as foreign nationals, most (68 percent)         practices,” and two victims of sex trafficking. The victims were nationals
received imprisonment of one year or more. Judges sentenced most              of Bangladesh, Burkina Faso, Burma, Burundi, Egypt, Ethiopia, Ghana,
Saudi nationals (10) to penalties ranging from ﬁnes to eight months’          India, Indonesia, Kenya, Kuwait, Lebanon, Morocco, Nepal, Nigeria,
imprisonment, while one Saudi national received imprisonment of two           Pakistan, the Philippines, Saudi Arabia, Somalia, Sri Lanka, Sudan, Syria,
years and two months. Such lenient sentences undercut efforts to hold         Uganda, Vietnam, and Yemen.
traffickers accountable, weakened deterrence, and increased potential
                                                                              The government continued to utilize its NRM, ﬁrst launched in March
security and safety concerns for victims. The government did not report
                                                                              2020, to identify potential victims and refer them to care. Following the
any investigations, prosecutions, or convictions of government employees
                                                                              dissemination of the hard-copy NRM to front-line officials, government
complicit in human trafficking crimes; however, corruption and official
                                                                              agencies, NGOs, civil society, and other stakeholders in 2020, the
complicity in trafficking crimes, including through inaction, remained
                                                                              government developed an electronic version of the NRM to better
signiﬁcant concerns, inhibiting law enforcement action during the year.
                                                                              coordinate agencies and track and input data on identiﬁcation and
During the year, a U.S-based NGO reported at least 28 Vietnamese
                                                                              referrals in real-time. However, due to the pandemic, the electronic NRM
domestic workers had been subjected to conditions of forced labor
                                                                              had not yet been launched. In 2021, the government actively updated and
by Vietnamese recruiters and labor export companies, Saudi Arabian
                                                                              amended NRM guidelines based on lessons learned from a high-proﬁle
employers, and Vietnamese embassy officials in Riyadh, including a
                                                                              case involving 28 Vietnamese domestic workers who were identiﬁed
Vietnamese labor attaché. Once the victims had been admitted to
                                                                              as potential trafficking victims by an NGO and unable to leave their
a shelter in the Kingdom, the Vietnamese labor attaché allegedly
                                                                              employers’ residences to seek assistance. The government located the
removed at least four victims from the shelter and sold them to another
                                                                              potential victims and referred them to care at government shelters, and
employer; victims were reportedly told by the labor attaché they would
                                                                              in a change from previous policy, the National Committee to Combat
be repatriated to Vietnam but instead were forced to work for a new
                                                                              Human Trafficking (NCCHT) convinced the Ministry of Health (MOH)
employer. Although Saudi authorities intervened and referred the victims
                                                                              and Red Crescent Authority to treat all potential trafficking victims
to government shelters for care, the Government of Saudi Arabia did
                                                                              (including the 28 domestic workers) as emergency cases to enable
not report formally investigating or charging the Vietnamese labor
                                                                              victims to receive priority medical treatment. The NCCHT also worked
attaché for crimes or requesting he be dismissed from his post; at the
                                                                              with the Saudi Bar Association to provide Pro bono legal services to
close of the reporting period, the labor attaché remained at his post
                                                                              the victims and secured access to the shelter for the victims’ attorneys
at the Vietnamese embassy in Riyadh.
                                                                              to discuss the criminal and civil cases; the government reported that
The government continued using electronic communications—ﬁrst                 all but one of the 28 potential victims provided statements to the PPO
implemented in 2020 in response to the pandemic through its Najiz             and signed legal representation agreements so that criminal or civil
platform—to investigate, prosecute, and convict criminal cases, including     cases could continue in their absence once they were repatriated. In
cases of trafficking, and deliver memoranda, court documents, and             addition, the HRC incorporated feedback from other stakeholders and
judgments digitally. The MOJ was able to receive written pleadings,           updated the NRM’s identiﬁcation and referral section to add additional
hold virtual hearings, and issue judgments through this platform.             detail on the alleged perpetrator and developed a comprehensive initial
It also continued to hold remote trials in courts and prisons across          screening form that included all required information in one document
the Kingdom; it held more than two million remote trials during the           for ﬁrst responders. The government also established a new procedure
reporting period, including 30 trafficking cases. Some government             within the NRM requiring police to allow potential victims to spend at
officials continued to misclassify trafficking cases as administrative        least three days at the shelter before a statement could be taken to
immigration or labor violations without routinely undertaking criminal        begin a formal criminal investigation.
investigations or prosecutions against traffickers. The PPO maintained
                                                                              MHRSD operated shelters across the country for vulnerable populations
17 trafficking-speciﬁc, operational investigative sub-units within branch
                                                                              and abuse victims, and it reported the government allocated
offices (two in Riyadh and the remainder in the capital of each province)
                                                                              approximately 25 million SAR ($6.67 million) to speciﬁcally support
to identify potential trafficking cases among existing criminal cases. The
                                                                              trafficking victims during the year. MHRSD operated shelters for
PPO continued to have a panel of ﬁve human trafficking experts, who
                                                                              child victims of forced begging in Mecca, Jeddah, Dammam, Medina,
informed anti-trafficking policy and served as resources at the PPO
                                                                              Qassim, and Abha, in addition to welfare centers for vulnerable female
headquarters and for circuit offices. Throughout the reporting period,
                                                                              domestic workers and trafficking victims in 13 locations throughout the
the Kingdom’s human trafficking entities conducted 24 anti-trafficking
                                                                              Kingdom. Each shelter provided accommodation, social services, health
trainings, some in close partnership with two international organizations
                                                                              care, psychological counseling, education, and legal assistance. The
and others conducted solely by MHRSD and MOI; the trainings reached
                                                                              government offered these services to all 173 victims it referred to care
more than 3,500 private and public sector representatives, civil society
                                                                              during the reporting period. Diplomats from labor-source countries had
representatives, and diplomats from labor-source embassies in the
                                                                              regular access to their nationals residing in government-run shelters
Kingdom. The programs covered topics such as victim identiﬁcation
                                                                              and reported conditions and quality of services in the shelters varied
and referral, speciﬁcally for labor inspectors and police; trauma-
                                                                              slightly across the Kingdom but were overall satisfactory and safe.
informed victim protection and assistance; victim-centered interviewing
                                                                              Some embassies and consulates—including those of Bangladesh, India,
techniques; ﬁnancial and electronic investigations for trafficking cases;
                                                                              Indonesia, Nigeria, the Philippines, Sri Lanka, and Uganda—also operated
inspection procedures; evidence collection; and criminal investigative
                                                                              shelters for their respective nationals. Foreign diplomats noted that Saudi
procedures during trial for trafficking crimes, speciﬁcally for judges.
                                                                              officials frequently left potential trafficking victims at their respective
Trainings also focused on the PPO’s role in identifying and interviewing
                                                                              embassies rather than referring them to Saudi shelters and noted that
victims in trafficking cases and combating trafficking on online platforms.
                                                                              Saudi government shelters accepted only female domestic workers.
                                                                              The government did not have shelters to accommodate male victims
PROTECTION                                                                    or females from other employment sectors. In 2020, the government
The government demonstrated overall uneven efforts to protect
                                                                              reported plans to gradually shift shelter responsibilities to NGOs and
trafficking victims. During the reporting period, the government identiﬁed
                                                                              open a dedicated trafficking shelter for all potential victims of trafficking
1,175 potential victims and referred 185 to government shelters for care, a
                                                                              in coordination with an NGO, but it did not report further progress on
decrease compared with its identiﬁcation and referrals of 1,255 trafficking
                                                                              this plan in 2021. During the reporting period, the government supported
victims to government-run shelters in 2020. The government did not
                                                                              the establishment of an NGO intended to specialize in combating
report whether the other 990 potential victims it identiﬁed during 2021
                                                                              trafficking. One of its main objectives was to provide a dedicated shelter
received any services. NGOs and international organizations identiﬁed
                                                                              for all trafficking victims; however, construction on the shelter had not
and referred 105 potential victims to care. Of the 1,175 potential victims
                                                                              begun at the close of the reporting period, so it was unable to provide
identiﬁed by the government, 505 were for forced labor, 54 for sex
                                                                              services to victims during the year.
trafficking, and 616 for forced begging and “slavery-like practices.” Of
the 105 potential victims identiﬁed and referred to care by NGOs and          Migrant workers continued to document and assert they were subjected
international organizations, all were female foreign nationals, including     to unpaid wages, passport retention, physical or sexual abuse, or
                                                                                                                                Haiti AR_000956               475
                   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 581 of 729
SAUDI ARABIA   substandard working conditions, many of which were trafficking                including the 28 Vietnamese domestic workers. In previous years,
               indicators. In June 2021, international NGOs and media sources                diplomatic representatives from labor-source countries reported
               reported increasing numbers of immigration raids and arrests of both          trafficking victims were not permitted to seek employment while
               undocumented and documented Ethiopian migrants by Saudi officials;            residing in government-run shelters. In 2020, the MHRSD implemented
               the Ethiopian government obtained the release of approximately                a policy issued under Circular No. 65551, granting work permits and
               700 documented migrants following the raids. During the two-week              temporary residence to potential trafficking victims so they could
               crackdown by Saudi police, an NGO reported more than 30,000                   work, if they so chose, while their labor dispute or criminal case was
               undocumented migrants were deported; a signiﬁcant portion were                adjudicated; this included potential victims whose work permits had
               Tigrayan and at heightened risk for trafficking upon their deportation.       expired. The government developed this policy after soliciting input
               Reasons for deportations by the government included alleged violations        from potential trafficking victims and stated an individual could receive
               of work, residence, and entry rules. Although the government reported         this beneﬁt regardless of whether they resided in the shelter. The
               it screened all migrants in detention centers prior to their departure        government reported it allowed victims to submit testimony in written
               for trafficking indicators through forms developed by MOI, observers          form or remotely via recording as they preferred, and it ensured victims’
               stated the large number of migrants deported in a short time frame            identities remained conﬁdential. In contrast, diplomats from several
               suggested authorities did not consistently and systematically screen          labor-source countries reported the government advised some victims
               individuals for trafficking indicators and, therefore, they likely deported   to testify in-person. The government reported that a potential victim’s
               some unidentiﬁed victims. In January 2022, media sources and rights           testimony was only taken if the potential victim provided informed
               groups reported that following detention in the Kingdom and subsequent        consent, in adherence with the NRM. In 2021, the government amended
               deportation, those that had returned to Ethiopia—speciﬁcally Tigrayans—       existing policy to allow all potential trafficking victims who desired
               were being ethnically proﬁled and sent to internment camps across             to proceed with a legal case pursuant to the NRM but also wanted to
               Ethiopia, where abuse, forced labor, and forced disappearances had            voluntarily return to their country of origin, to be assigned a Pro bono
               been reported. In an effort to increase capacity to screen for potential      attorney to their case; the MOJ extended notary services during the
               trafficking victims, the PPO continued to direct all its branches and law     year to facilitate the assignment of a lawyer as a proxy for potential
               enforcement agencies to cease deportation of any potential trafficking        victims. The law entitled trafficking victims to legal assistance, security
               victims or anyone involved in an active trafficking case without the          protection, translation services, and the right to immediate repatriation
               PPO’s prior approval. During the previous reporting period, the NCCHT         or continued residence in Saudi Arabia until resolution of the case, in
               formed a subcommittee of MOI, MHRSD, PPO, and HRC staff to ensure             addition to medical and psychological care, shelter, and rehabilitation.
               proper procedures for screening and identifying potential victims of          The government provided victims legal services in 21 cases, all involving
               trafficking were in place at detention centers; through Circular No.          Vietnamese nationals, during the year. In 2020, the government activated
               4535, the government established screening teams comprised of staff           the Uniﬁed Translation Center Initiative to provide translation services
               from the agencies on the subcommittee in every region of the country          to the courts and judicial facilities to protect the rights of non-Arabic
               where detention centers existed to screen the ﬁles of all detainees to        speaking victims in court proceedings. The initiative, which had 22
               ensure potential victims were identiﬁed promptly. In 2021, the NCCHT’s        interpreters covering 20 languages, handled approximately 800 cases
               subcommittee reported further updating that screening mechanism               each month and, during the reporting period, provided services in 23
               for undocumented migrants at detention centers to better specify the          trafficking cases. Officials permitted victims to obtain restitution directly
               trafficking indicators officials should be looking for while screening.       from the government and/or by ﬁling civil suits against traffickers;
               Furthermore, the government, in coordination with an international            however, such settlements rarely took place and reportedly generally
               organization, developed guidelines for working with interpreters when         occurred outside of civil court proceedings through government-
               screening vulnerable populations for trafficking, which established           supported mediation efforts. These proceedings often did not entail
               requirements to ensure interpreters were unbiased and adequately              criminal prosecution, and officials preferred to reimburse back-wages
               trained; the HRC also developed an interpreter conﬁdentiality agreement       informally and/or assist in repatriating the victims. If victims sought
               to protect potential victims during identiﬁcation and referral procedures.    to obtain restitution from defendants in criminal cases, victims often
               The government continued to instruct each circuit court to screen             experienced delays in receiving it. In 2021, the government reported it
               defendants for potential trafficking indicators and to drop pending           worked with an international organization to develop a more effective
               charges against identiﬁed trafficking victims. However, diplomats from        process to ensure victims receive restitution in criminal cases but did
               several labor-source countries continued to report Saudi authorities          not report outcomes of these efforts at the close of the reporting period.
               regularly detained, ﬁned, and/or jailed their nationals, including some
               unidentiﬁed trafficking victims, for immigration violations as a result of    PREVENTION
               having been subjected to forced labor or sex trafficking. Furthermore,        The government demonstrated increased efforts to prevent trafficking,
               since the government may have not routinely screened for potential            although domestic workers remained excluded from the most recent
               trafficking indicators among vulnerable populations, and police frequently    sponsorship reforms, implemented in March 2021, which continued to
               arrested and/or deported undocumented migrant workers, authorities            render this population vulnerable to conditions of forced labor. The
               likely arrested and deported unidentiﬁed victims during the year. The         government developed a new 2021-2023 NAP in coordination with
               government also did not consider certain populations’ vulnerability to        two international organizations, and in August 2021, the government
               forced labor if they were deported; NGOs reported four ethnic Uyghur          ﬁnalized and adopted the NAP; the plan set priorities within four pillars:
               Muslims, including a child, remained in detention without charge or trial     prevention, protection and assistance, prosecution, and partnership. The
               in Saudi Arabia and were facing immediate deportation to the PRC,             NCCHT met 10 times during the reporting period; it completed a review
               where they would be vulnerable to arbitrary detention, harassment,            of an MHRSD study on labor recruitment regulations and practices;
               and forced labor.                                                             prepared a study and recommendations to ensure trafficking victims were
                                                                                             exempt from fees, ﬁnes, or other sanctions; and updated the screening
               The government extended to all identiﬁed trafficking victims the option
                                                                                             mechanism for undocumented migrants at detention centers, among
               of remaining in the country—either in a shelter or via transfer to a new
                                                                                             other activities. The government also approved a National Policy to
               employer—during judicial proceedings, or alternatively an immediate
                                                                                             Prevent Child Labor and a corresponding NAP that included efforts to
               exit visa; these beneﬁts did not require a successful prosecution or
                                                                                             create a database to track child labor prevalence in the Kingdom with
               cooperation with law enforcement personnel. The government reported
                                                                                             the support of an international organization, adopting a list of types
               it also provided legal alternatives to the removal of foreign victims of
                                                                                             of work prohibited for those younger than 18 years of age, improving
               trafficking to countries where they might face retribution or hardship.
                                                                                             social work and social protection mechanisms by building capacity of
               During the reporting period, one potential victim requested asylum, and
                                                                                             specialists in the ﬁeld, promoting quality educational opportunities for
               following discussions with two international organizations, the victim
                                                                                             all children, and raising awareness of child labor. In November 2021,
               chose to be relocated to a third country. In addition, the government,
                                                                                             the Kingdom hosted the third annual Governmental Forum against
               along with other labor-source embassies, NGOs, and international
                                                                                             Trafficking in Persons in the Middle East, which focused on efforts of
               organizations, repatriated 75 individuals to their countries of origin,

  476                                                                                                                                      Haiti AR_000957
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 582 of 729




                                                                                                                                                          SAUDI ARABIA
participating governments on international and national coordination          to maintain at least 80 percent compliance on a monthly basis or failed
in anti-trafficking efforts during the pandemic.                              to submit monthly WPS data, the government could impose penalties,
                                                                              including suspension of government services and recruitment privileges.
The government continued to operate and utilize its online domestic
                                                                              The government reported a 2021 compliance rate of 72.5 percent for
labor portal known as Musaned, meaning “support” in Arabic. This
                                                                              companies with 30 or more workers and a 25 percent compliance rate for
system consisted of a website and smartphone application that allowed
                                                                              companies with 11-29 workers The WPS was not available for domestic
potential employees in various sectors and individual employers to verify
                                                                              workers; however, the government continued to mandate employers
the license of a recruitment agency, review materials on employee and
                                                                              of domestic workers issue prepaid payroll or salary cards as soon as
employer rights and responsibilities, complete and electronically sign
                                                                              the worker arrived in the Kingdom. During the year, the government
contracts, and request a visa. The system was intended to eliminate
                                                                              reported it was considering how to mandate electronic payments for
unregulated brokers, increase transparency and accountability of
                                                                              domestic workers but did not report new efforts to do so.
recruitment agencies and work contracts, and reduce the risk of forced
labor. It also included a complaints resolution mechanism and served          In March 2021, as part of the Labor Reform Initiative (LRI), implemented
as a way to authenticate contracts for domestic workers in their home         through Ministerial Resolution No. 51848/1442, the government mandated
countries. Diplomats from multiple labor-source countries reported            private sector workers no longer needed their employer’s permission to
Musaned enhanced the ability of embassies to monitor newly arrived            travel abroad (obtain an exit and re-entry visa), obtain ﬁnal exit visas,
nationals. However, in some cases, embassies found some information           or change employers at the conclusion of their contract or after one
entered in the platform, such as address of residence and place of work,      year; this provided increased freedom of movement and therefore may
was either missing or incorrect following a transfer, which impeded efforts   have reduced the risk of forced labor for seven million private sector
to track reported victims of abuse and trafficking. The application was       workers in the Kingdom. Workers could use electronic applications to
also only available in English and Arabic, and therefore of limited use to    automate the process for transferring employment, notify an employer
potential domestic workers who did not speak, read, or understand such        of an employee’s departure and re-entry, and receive a ﬁnal exit visa.
languages; in addition, an international organization noted that in cases     Between March 2021 and December 2021, the government reported
where language barriers were present, a foreign domestic worker was           147,878 foreign workers changed employers without the consent of
unlikely to access the system and instead relied on recruitment agencies      their current employer and 1,107,747 foreign workers obtained ﬁnal exit
in their home country to provide and interpret the recruitment process.       permits without employer consent. Several NGOs continued to express
MHRSD reportedly fully implemented a program called Weddi (“friendly”         concern these reforms did not include the 3.7 million domestic workers
in Arabic), which was an alternative dispute resolution mechanism             employed in Saudi Arabia, a group highly vulnerable to trafficking and
whereby a worker could electronically submit a labor complaint and            other abuse. The government reported it was considering ways to ensure
supporting documentation. If either the employee or employer rejected         domestic workers would receive similar protections in the near future but
the proposed resolution via arbitration, officials would automatically        did not report any action to include this population within the reforms.
transfer the case to the MOJ labor courts for administrative settlement.      NGOs also reported concerns the visa sponsorship system would persist
                                                                              as long as both the employee’s work and residence visas were tied to an
The government continued to make efforts to prevent forced labor
                                                                              employer. Additionally, these organizations noted the reforms did not
through its Single Electronic Contract and the Wage Protection System
                                                                              abolish the exit permit entirely—as a worker still submitted a request
(WPS), both implemented through the Mudad electronic platform. In
                                                                              to MHRSD for an exit permit, and the ministry notiﬁed the employer
November 2020, MHRSD instituted the Single Electronic Contract,
                                                                              electronically of the worker’s request. The employer, subsequently, had
which made inclusion of information such as contract data, type of
                                                                              10 days to lodge an inquiry into the worker’s exit permit request, and
work, salary, duration of contract, working hours, weekends, and annual
                                                                              an employer’s inquiry could potentially be used to deny the worker
leave mandatory for all private sector companies. The initiative obligated
                                                                              an exit permit. During the reporting period, labor-source embassy
companies to sign contracts with their employees enabling MHRSD to
                                                                              representatives raised concerns that although the LRI had reduced the
electronically account for, authenticate, and monitor all employment
                                                                              number of complaints from their citizens regarding labor abuses, some
contracts in the private sector; each contract was veriﬁed by both
                                                                              employers ﬁled absconding charges as a retaliatory measure against
the employer and employee and ﬁled through the Mudad electronic
                                                                              their employees to prevent them from changing employers or obtaining
platform. The platform also provided employees access to their contract
                                                                              a ﬁnal exit visa. MHRSD reported it was studying a proposal to modify
and ensured MHSRD could impose sanctions on establishments that
                                                                              the employee-employer contractual relationship to address employers
contravened the terms contained therein; the contract on ﬁle could also
                                                                              pursuing retaliatory actions to prevent their employees from exercising
be used in a potential labor dispute. Representatives from labor-source
                                                                              their rights under the reforms; however, MHRSD did not report taking
countries reported the e-contract was a helpful tool that enhanced
                                                                              action on the proposal by the close of the reporting period. The Council
transparency and accountability for their nationals who raised labor
                                                                              of Ministers’ Decision 166 prohibited withholding workers’ passports as
disputes against an employer during the reporting year. The government
                                                                              a violation punishable by ﬁnes, but the government did not report if it
reported that if an employer did not have an e-contract on ﬁle that an
                                                                              issued any such ﬁnes during the reporting period.
employee could approve electronically, the employer could be ﬁned
up to 3,000 SAR ($800), multiplied by the number of employees at              The labor law does not encompass domestic work; therefore its
the company. At the end of the reporting period, MHSRD reported 2.9           protections do not extend to such workers. However, Decision No.
million ratiﬁed expatriate contracts existed within the Mudad system, out     310/1434 of 2013 granted some protections for this population through
of a total of 6.8 million expatriate employee contracts in the Kingdom;       regulations on working hours, rest periods, annual leave, end of service
however, the government did not report the number of violations               beneﬁts, written employment contracts, and payment of wages on a
recorded against employers for not having electronic contracts on ﬁle         monthly basis. Under this decision, domestic workers included both
during the year. The government’s WPS continued to require employers          male and female household workers, private drivers, gardeners, and
to pay foreign workers by electronic transfer via a Saudi bank, thereby       security guards. International NGOs continued to express concern
permitting the government to track disbursements and non- or delayed          that gaps in the law left domestic workers vulnerable to passport
payment of wages. In December 2020, the government extended                   conﬁscation or being charged recruitment fees. Additionally, the law
the WPS and required 100 percent of private sector companies to               did not require compensation for overtime, nor did it limit the workday
register, including those with just one employee. The government also         to eight hours (domestic workers could work up to 15 hours a day
used the Mudad platform to track WPS compliance in real-time, and             including breaks). The law also included vague provisions on suitable
through this electronic platform, a notiﬁcation of payment was sent           accommodation, paid sick leave, and healthcare. NGOs reported domestic
to the employee. The government reported that in instances where              workers experienced non-payment of salaries, forced conﬁnement, food
employers withheld wages from the employee, the system required               deprivation, excessive workloads, and severe psychological, physical,
the employer to explain the reason for non-payment; the explanation           and sexual abuse. Authorities only sought authorization to enter a home
would be sent to the employee for approval. If approval was not given,        if there was overwhelming evidence of a crime, which may have left
the MHSRD reported it would investigate the employer and screen for           some unidentiﬁed victims at risk of exploitation and without protection,
other potential trafficking indicators. For any employer or ﬁrm who failed    especially if a domestic worker could not leave their employer’s home to
                                                                                                                              Haiti AR_000958             477
                   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 583 of 729
SAUDI ARABIA   report abuse. However, during the reporting year, in the case involving       trained on identifying potential trafficking cases and could receive calls
               28 Vietnamese domestic workers identiﬁed as potential trafficking             in English and Arabic. The NCCHT continued to allow individuals to
               victims, PPO representatives issued search warrants for the suspected         submit information on potential trafficking crimes through its website
               residences earlier in the investigative process, which allowed police to      but did not report if it received such information during the year. The
               question the potential victims and refer them to shelter for care more        government regularly shared all hotline numbers on social media
               quickly. Domestic workers could change employers with their sponsor’s         platforms; furthermore, all hotline operators had standard checklists
               permission at any time and without sponsor permission after two years         to screen calls for trafficking indicators, and if a potential case was
               of employment; a transfer of sponsorship could be made at any time            identiﬁed, operators referred the case to the applicable points of contact
               without the employer’s permission in several circumstances, including if      per the NRM. The government identiﬁed 207 potential trafficking cases
               the employer failed to pay the salary of the worker for three consecutive     via its hotlines, including 81 cases from the HRC’s call center and 126
               months, failed to obtain a residency permit or renew an expired permit,       from the MHRSD call center; it referred all 207 cases to MOI for further
               abused the worker, or ﬁled a false absconding charge against the              investigation. Some workers and labor-source country officials continued
               worker. In December 2019, the government removed the requirement              to report impracticalities and technical difficulties getting through to
               for employer approval to receive a ﬁnal exit visa for domestic workers        call center operators, citing poorly trained and under-resourced staff.
               whose sponsors failed to pay required fees or renew a worker’s status or
                                                                                             The government deployed labor inspectors and HRC officials—400
               were absent. In practice, however, international NGOs reported in some
                                                                                             of whom specialized in trafficking crimes—to conduct 1,321,963 labor
               cases domestic workers who experienced such circumstances were not
                                                                                             inspections to monitor the application of employment and recruitment
               able to change employers or obtain exit permits. In one example, when
                                                                                             laws; 92,296 inspections were conducted in response to worker
               a domestic worker attempted to contact police to change sponsors
                                                                                             complaints and resulted in the identiﬁcation of 179,844 violations.
               after she experienced non-payment of wages, extremely long working
                                                                                             The government identiﬁed 28 potential trafficking cases during these
               hours, and physical abuse, the police located her and transferred her
                                                                                             inspections and referred them to MOI for further investigation, compared
               to a detention center.
                                                                                             with 17 potential trafficking cases referred in 2020 from inspections.
               During the reporting period, the government continued to raise                Diplomatic representatives from several countries continued to report
               awareness of trafficking, targeting employers; migrant workers, including     improvements in Saudi government oversight of labor recruitment and
               domestic workers; labor-source country embassies; and the general             the proper implementation of labor contracts. The government continued
               public. The NCCHT continued to use its Twitter accounts in both Arabic        to provide a questionnaire for labor inspectors to complete for situations
               and English to raise awareness on trafficking. The HRC also continued         where they suspected a trafficking crime; inspectors sent completed
               to make awareness materials accessible in English and Arabic through          forms following an inspection to MHRSD’s anti-trafficking department
               its website and Twitter accounts and, during the reporting period, met        to be referred for criminal investigation. The HRC Secretariat reported
               with representatives from labor-source embassies to cooperate in the          receiving 271 general complaints from workers during the reporting
               translation and dissemination of trafficking-related materials into other     period; 218 of those complaints were referred to MHRSD, which then
               languages. In conjunction with World Day against Trafficking in Persons       referred the complaints to MOI and PPO for further investigation. MHRSD
               on July 30, 2021, the HRC launched a week-long social media campaign          reported processing 24,136 complaints ﬁled through its Domestic
               that included statements from the NCCHT, PPO, and MOI to raise                Labor Dispute Committee and Trafficking Hotline Program but did not
               awareness of trafficking; simultaneously, MHRSD conducted a two-week          report if it referred any of these complaints to MOI or PPO for further
               awareness campaign focused on indicators of the crime and utilized            investigation. The government had several bilateral labor agreements
               videos, infographics, and media appearances by ministry representatives       with labor-source countries, including Ethiopia and Indonesia, which set
               on television and radio. In August 2021, MHRSD conducted a month-long         minimum wage standards and regulated protections and beneﬁts for
               awareness campaign on trafficking indicators and worker’s rights, which       migrant workers, such as hours, mandatory time off, and overarching
               included billboards and signs, in both Arabic and English, in airports        conditions. The government did not report efforts to reduce the demand
               and along major highways throughout the country. Additionally, also           for commercial sex acts. The government provided anti-trafficking
               in August, the MHRSD conducted a social media campaign to raise               training to its diplomatic personnel.
               awareness of the rights of domestic workers. The HRC collaborated
               with the Saudi Telecom Company to send text messages to the public            TRAFFICKING PROFILE
               to raise awareness of the anti-trafficking law and its provisions and         As reported over the past ﬁve years, human traffickers exploit domestic
               penalties imposed on perpetrators. In 2022, MHRSD conducted one               and foreign victims in Saudi Arabia. Adults—primarily from South and
               additional campaign in Arabic and English that targeted embassies             Southeast Asia and East Africa—voluntarily migrate to Saudi Arabia
               of labor-source countries, focusing on trafficking indicators, workers’       to work in a variety of sectors, including construction, agriculture, and
               rights, and methods to report labor violations. Lastly, in February 2022, a   domestic service. Many of these low-skilled workers are employed in
               sermon at the Grand Mosque condemned human trafficking as a violation         substandard conditions that heighten their risk of forced labor. Some
               of Islamic values and asserted Islamic law protected human dignity            traffickers or unscrupulous labor brokers illegally recruit migrants to
               and banned forced labor; the sermon was broadcast internationally             work in Saudi Arabia and subsequently force them to work in domestic
               and called on the public to report suspected trafficking cases. In the        service. Undocumented entry across the Kingdom’s southwestern
               previous reporting period, MHRSD officials launched a program to send         border serves as a key gateway for vulnerable Yemeni, Ethiopian, and
               labor attachés to key labor-source countries to enhance coordination          Somali workers, in particular. The Kingdom’s migrant worker population
               on suspected trafficking cases and ensure workers from labor-source           continued to be the largest group at risk of human trafficking, particularly
               countries were adequately informed of their rights before arriving in         female domestic workers due to their isolation inside private residences
               Saudi Arabia. In September 2020, the ﬁrst Saudi representative arrived        and vulnerability to employer abuse. The pandemic further increased
               in the Philippines, and in March 2021, the second Saudi representative        the vulnerability of trafficking among domestic workers, as the related
               arrived in Egypt; ﬁve additional attachés for Bangladesh, India, Indonesia,   regional and nationwide curfews created obstacles to reach assistance
               Pakistan, and Sri Lanka had not reported to their respective countries        from police stations, hospitals, or NGOs. Labor-source countries also
               by the close of the reporting period.                                         reported increased work hours and complaints of abuse among domestic
                                                                                             workers due to the pandemic. Non-payment or late payment of wages
               MHRSD officials operated a 24-hour call center that could receive calls
                                                                                             remain the prominent complaint from foreign workers in the Kingdom;
               in six major labor-source country languages: Arabic, English, Filipino,
                                                                                             this concern was further exacerbated during 2020 by the pandemic, as
               French, Hindi, and Indonesian. The call center received approximately 280
                                                                                             the unemployment rate among foreign workers increased signiﬁcantly
               calls per day on average. The MHRSD hotline was included in pamphlets
                                                                                             and heightened this group’s vulnerability to trafficking. Instances of
               given to all foreign workers who entered the Kingdom during the year.
                                                                                             employers withholding workers’ passports also remains a signiﬁcant
               The MOI’s crime reporting app, Koolna (“All of Us”), continued to have
                                                                                             problem. Trafficking perpetrators include businesses of all sizes, private
               a feature that allowed users to report trafficking crimes as a standalone
                                                                                             families, recruitment agencies in both Saudi Arabia and labor-source
               option. The HRC continued to operate a separate center to receive
                                                                                             countries, gangs, and organized criminal elements, to include third-
               calls, texts, and WhatsApp messages; it was staffed with operators
                                                                                             country nationals.
  478                                                                                                                                     Haiti AR_000959
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 584 of 729




                                                                                                                                                                SENEGAL
According to the General Authority for Statistics, there are approximately      The child beggar population is composed primarily of unaccompanied
9.6 million foreign workers in Saudi Arabia; the largest populations            migrant children, primarily from Yemen and Ethiopia, but approximately
during the reporting period were from Bangladesh, Egypt, Ethiopia,              5 percent are Saudi national children. Traffickers compel some of these
India, Indonesia, Pakistan, the Philippines, Sudan, and Yemen. In 2021,         women and children to work as part of organized begging rings.
reports of racial and religious discrimination against African migrants—
                                                                                As the leader of a multi-nation coalition that commenced military
speciﬁcally domestic workers—increased. NGOs and media sources
                                                                                operations against Houthi rebel forces in Yemen in 2015, Saudi Arabia
reported increasing concerns about harassment and discrimination
                                                                                paid, materially supported, trained, and commanded Sudan’s Rapid
among Christian African migrant workers in the Kingdom, rendering
                                                                                Support Forces (RSF). Media alleged in a previous reporting period
them vulnerable to abuse, exploitation, and trafficking. Furthermore, a
                                                                                that families bribed Sudanese officers associated with RSF to unlawfully
recent media report noted an increasing number of Kenyan domestic
                                                                                recruit and use children to serve as combatants in Yemen, but there were
workers in the Kingdom who died during their time working in the
                                                                                no similar allegations during the current reporting period. Saudi Arabian
country; in 2019, 883 cases of Kenyans in distress in the Kingdom were
                                                                                officers trained and exercised tactical control over some RSF units. Past
reported, and in 2020, 1,035 cases were reported; rights groups suggest
                                                                                reporting claimed that in some instances Saudi Arabia-funded Yemeni
the increase in reports was due to increasing abuse and exploitation of
                                                                                militias that hired children in combatant roles and that the Saudi Arabian
workers. In January 2022, media sources and rights groups reported that
                                                                                government had provided salaries, uniforms, weapons, and training
following harsh conditions in detention in the Kingdom and subsequent
                                                                                to Sudanese combatants (which included children ages 14 to 17 years
deportation, Ethiopian returnees, speciﬁcally Tigrayans, were being
                                                                                old) in Yemen, but there were no similar allegations during the current
ethnically proﬁled and sent to internment camps across Ethiopia, where
                                                                                reporting period. During the current reporting period, the Saudi-led
abuse, forced labor and forced disappearances have been reported. In
                                                                                coalition in Yemen reportedly established a “Child Protection Unit” that
July 2021, rights groups reported Saudi Arabian employers began to
                                                                                worked with the UN to provide care to Houthi-recruited child soldiers.
terminate or not renew contracts of Yemeni professionals in the country
                                                                                Since 2016, the Saudi-funded King Salman Humanitarian Aid and Relief
following a MHRSD policy change that required businesses to limit the
                                                                                Center facilitated programs to rehabilitate child soldiers in Yemen.
percentage of their workers from certain nationalities, including Yemen.
Workers must ﬁnd another employer to act as a sponsor to avoid
leaving the country or risk detainment and deportation and increased
vulnerability to trafficking if found to be residing illegally. PRC nationals
employed in Saudi Arabia at worksites affiliated with the PRC’s Belt and         SENEGAL: TIER 2 WATCH LIST
Road Initiative are vulnerable to conditions of forced labor, including
debt bondage, restriction of movement, passport conﬁscation, excessive          The Government of Senegal does not fully meet the minimum standards
overtime, lack of adequate healthcare, and being sold to other employers        for the elimination of trafficking but is making signiﬁcant efforts to do so.
for which they did not have signed contracts. Separately, NGOs reported         These efforts included increasing trafficking investigations, prosecutions,
the government deported at least ﬁve Uyghur Muslims, some while                 and convictions and providing anti-trafficking training to judicial and law
performing religious pilgrimage, back to PRC between 2017 and 2019,             enforcement officials. The Minister of Justice released a judicial circular
where they were vulnerable to arbitrary detention, harassment, and              urging prosecutors to seek harsher penalties consistent with the 2005
forced labor; during the reporting period, several Uyghur Muslims faced         anti-trafficking law. However, the government did not demonstrate overall
imminent deportation to the same conditions. Cuban nationals working            increasing efforts compared with the previous reporting period, even
in Saudi Arabia may have been forced to work by the Cuban government.           considering the impact of the COVID-19 pandemic, if any, on its anti-
While the Saudi government reported more than 200 Cuban medical                 trafficking capacity. The government did not investigate, prosecute, or
professionals present in Saudi Arabia operate under contracts between           convict traffickers exploiting children in forced begging consistent with
the worker and the Saudi MOH, in 2021, one Cuban doctor working                 the 2005 anti-trafficking law for the second consecutive year. Officials did
in Saudi Arabia alleged 70 percent of the salary earned by Cubans               not consistently use the 2005 anti-trafficking law to prosecute alleged
employed on medical missions—or roughly $2,000 per month—is taken               traffickers and continued applying penalties inconsistent with the law.
by the Cuban government. Furthermore, an NGO reported that while                The government identiﬁed signiﬁcantly fewer trafficking victims, and
the Kingdom paid Cuban workers a salary, workers are forced to deliver          it made minimal efforts to identify and refer adult trafficking victims
between 75 and 90 percent of their salary to the Cuban government.              to services. Because the government has devoted sufficient resources
Additionally, an NGO reported Cuban workers employed in Saudi Arabia            to a written plan that, if implemented, would constitute signiﬁcant
were vulnerable to other abuses, including sexual harassment, forced
                                                                                efforts to meet the minimum standards, Senegal was granted a waiver
enrollment into the medical mission program, surveillance, exploitation,
                                                                                per the Trafficking Victims Protection Act from an otherwise required
restriction of movement, and passport conﬁscation.
                                                                                downgrade to Tier 3. Therefore Senegal remained on Tier 2 Watch List
Some migrant workers are forced to work beyond their contract term              for the third consecutive year.
because their Saudi employers refuse to grant exit permission or pay
the exit fee required by Saudi law. Domestic workers lack protections                   SENEGAL TIER RANKING BY YEAR
under the labor law and other initiatives, continuing to place this group,          1
which makes up 30 percent of migrant workers in the Kingdom, at
                                                                                    2
higher risk of trafficking. Although most migrant workers sign contracts
delineating their rights, some report work conditions substantially differ        2WL
from those outlined in their contracts. Other workers never see their               3
work contracts, heightening their risk of forced labor and debt-based                      2015     2016      2017     2018   2019    2020    2021    2022
coercion. Additionally, some migrant workers voluntarily enter into
illegal arrangements where they seek freelance work while concurrently
paying a Saudi national to sponsor their initial residency permit, thereby
becoming vulnerable to extortion and debt-based coercion by their               PRIORITIZED RECOMMENDATIONS:
sponsors. Some migrants from Yemen and the Horn of Africa, who                  Increase efforts to use the 2005 anti-trafficking law to investigate and
enter Saudi Arabia illegally via the Yemeni border—involuntarily or             criminally prosecute trafficking crimes, especially child forced begging
through consented smuggling—may be trafficking victims. Previous                cases, and sentence convicted traffickers to signiﬁcant prison terms.
reports alleged some Saudi citizens engaged in sex tourism abroad,              • Increase efforts to proactively identify trafficking victims among
where they engaged in temporary or seasonal nonbinding “marriages,”             vulnerable populations, including children exploited in forced begging
which included payment for short-term sexual access to children and             and women in commercial sex, as well as other at-risk populations—for
adults whom the purchaser then abandoned. In Saudi Arabia, begging              example, women traveling abroad for domestic work, returning migrants,
by women and children is prevalent and a signiﬁcant vulnerability to            and domestic and foreign workers on People’s Republic of China
forced labor, with reported upticks in forced begging during the holy           (PRC) national-operated ﬁshing vessels—and refer trafficking victims
month of Ramadan and the Muslim pilgrimages of Hajj and Umrah.                  to services. • Finalize and implement standard operating procedures
                                                                                                                                     Haiti AR_000960            479
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 585 of 729
SENEGAL   to ensure police or judicial investigations of alleged traffickers when        government reportedly prosecuted and convicted at least two Quranic
          potential trafficking victims are identiﬁed, especially child forced           teachers in 2021 for non-trafficking-related misdemeanor crimes related
          begging victims. • Strengthen efforts to ensure trafficking crimes are         to child abuse or negligence, including a case involving a child’s death,
          tried under the 2005 anti-trafficking law and not as misdemeanor               and issued suspended sentences to both perpetrators. In July 2021, a
          crimes, and ensure cases are referred to investigative judges in the           Quranic student in Touba died from injuries sustained while trying to
          criminal courts. • Increase oversight of daaras (Quranic schools) to           escape his school after he was allegedly abused; the case remained
          prevent forced begging. • Increase technical and ﬁnancial support to           under investigation and authorities had not ﬁled any charges against
          local governments seeking to combat human trafficking, including child         his teachers by the end of the reporting period.
          forced begging, and regulate daaras. • Continue providing training for
                                                                                         The government did not report any investigations, prosecutions, or
          investigators, magistrates, prosecutors, and judges on application of
                                                                                         convictions of government officials complicit in human trafficking crimes;
          the 2005 anti-trafficking law. • Increase trafficking data collection on
                                                                                         however, corruption and official complicity in trafficking crimes remained
          law enforcement and victim identiﬁcation efforts. • Strengthen the anti-
                                                                                         signiﬁcant concerns, inhibiting law enforcement action during the year.
          trafficking task force’s (CNLTP) authority to coordinate anti-trafficking
                                                                                         Observers alleged officials sometimes refused to investigate trafficking
          activities among agencies conducting anti-trafficking work. • Increase
                                                                                         cases or pressured the judiciary to drop cases, especially cases involving
          oversight of overseas labor recruitment, including by prohibiting work-
                                                                                         Quranic teachers, and some security officials allegedly facilitated illegal
          paid recruitment fees, and awareness of exploitation of labor migrants
                                                                                         border crossings of migrants. Although not explicitly reported as human
          and the rights of Senegalese workers abroad. • In partnership with NGOs,
                                                                                         trafficking, an international organization reported there were ﬁve
          expand access to protective services for trafficking victims outside of
                                                                                         new allegations submitted in 2021 of alleged sexual exploitation with
          Dakar and for adults. • Increase efforts to raise public awareness of
                                                                                         trafficking indicators by Senegalese peacekeepers deployed to the UN
          trafficking.
                                                                                         peacekeeping mission in the Central African Republic (CAR) between
                                                                                         2017 to 2021. There were also two similar accusations—one from the
          PROSECUTION                                                                    peacekeeping operation in the Democratic Republic of the Congo (DRC)
          The government maintained mixed anti-trafficking law enforcement
                                                                                         and another from the now-closed operation in Haiti—reported in 2020
          efforts. Senegal’s 2005 Law to Combat Trafficking in Persons and
                                                                                         concerning events alleged to have taken place between 2009 and 2015.
          Related Practices and to Protect Victims criminalized sex trafficking
                                                                                         UN and Government of Senegal investigations remained pending, and
          and labor trafficking. The law prescribed penalties of ﬁve to 10 years’
                                                                                         the government had not yet reported the accountability measures taken,
          imprisonment and a ﬁne for sex trafficking and labor trafficking—except
                                                                                         if any, for the open cases at the end of the reporting period.
          forced begging—and prescribed lesser penalties of two to ﬁve years’
          imprisonment and a ﬁne for forced begging. These penalties were                The CNLTP, in collaboration with an international organization and
          sufficiently stringent and, with regard to sex trafficking, commensurate       foreign donor, began developing standard operating procedures for law
          with penalties prescribed for other serious crimes, such as rape. While        enforcement and front-line officials on the identiﬁcation and investigation
          the 2005 anti-trafficking law criminalized forced begging, provisions in       of trafficking cases, including screening procedures for identifying
          the penal code that allowed seeking of alms under certain conditions           victims and, within the Dakar region, procedures for referring victims
          may have hampered law enforcement officials’ ability to distinguish            to services; the draft procedures remained pending at the end of the
          traditional alms-seeking from exploitation through forced begging.             reporting period. The government collaborated with international
          Revised anti-trafficking legislation, drafted in collaboration with an         organizations to provide specialized training to law enforcement and
          international organization, remained pending before the Ministry of            judicial officials on identifying, investigating, and prosecuting human
          Justice for the third consecutive year.                                        trafficking cases, investigative techniques, and victim protection;
                                                                                         this compared with no specialized trainings held during the previous
          In data collected from ﬁve of Senegal’s 14 regions, the government
                                                                                         reporting period. Many law enforcement and judicial personnel remained
          reported initiating 24 investigations, compared with 14 during the
                                                                                         unaware of the provisions of the 2005 anti-trafficking law, which, coupled
          previous reporting period; prosecuting 29 alleged traffickers, compared
                                                                                         with limited institutional capacity, inhibited efforts to prosecute and
          with 19 during the previous reporting period; and convicting 20 traffickers,
                                                                                         convict traffickers and collect data on such efforts. Observers reported
          compared with 12 during the previous reporting period, with data
                                                                                         investigative magistrates lacked training to identify trafficking cases,
          collected from the same number of regions. Courts sentenced 14 out
                                                                                         leading to potential misclassiﬁcation of trafficking crimes and application
          of the 20 convicted traffickers to at least one year imprisonment,
                                                                                         of lower penalties than those prescribed in the anti-trafficking law.
          compared with 11 out of 12 convicted traffickers during the previous
                                                                                         The government previously developed an anti-trafficking database
          reporting period; only six traffickers received sentences in compliance
                                                                                         (“Systraite”) in collaboration with an international organization to collect
          with penalties prescribed in the 2005 anti-trafficking law and courts
                                                                                         law enforcement and victim protection data and implemented it in four
          issued fully suspended sentences to at least four traffickers, which did
                                                                                         regions; however, the government’s ability to collect comprehensive law
          not serve to deter or adequately reﬂect the nature of the crime. The
                                                                                         enforcement statistics remained limited. The government did not report
          government prosecuted potential trafficking crimes under other penal
                                                                                         cooperating with foreign counterparts on any law enforcement activities.
          code statutes, which often resulted in cases being heard by correctional
          courts rather than criminal courts and their prescribing signiﬁcantly
                                                                                         PROTECTION
          lower penalties for misdemeanor crimes with trafficking indicators,
                                                                                         The government signiﬁcantly decreased efforts to identify and protect
          such as “pimping.” In at least seven cases, the government did not
                                                                                         trafficking victims. The government identiﬁed and referred to services at
          pursue trafficking convictions—either by dismissing the cases or issuing
                                                                                         least 37 adult trafficking victims from Sierra Leone, six child trafficking
          administrative ﬁnes for other crimes. One official noted over-crowded
                                                                                         victims, and 418 vulnerable children, including potential trafficking
          prisons posed a signiﬁcant challenge to the judicial system, sometimes
                                                                                         victims. The majority of children identiﬁed were from Senegal and
          resulting in courts issuing ﬁnes for lower-level offenses in trafficking
                                                                                         Guinea-Bissau. This compared with identifying and referring to care
          cases. In November 2021, the Minister of Justice released a judicial
                                                                                         129 adult trafficking victims, and 6,187 vulnerable children, including
          circular urging prosecutors to seek harsher penalties consistent with
                                                                                         potential child trafficking victims, identiﬁed during its “Le retrait des
          the anti-trafficking law, appeal court decisions and sentences not in line
                                                                                         enfants de la rue” campaign to remove children from the streets in Dakar,
          with the law, and increase data collection and reporting on such efforts.
                                                                                         in the previous reporting period; the government did not continue this
          The government did not prosecute or convict any traffickers for child          campaign during the reporting period. Media reported the government
          forced begging for the second consecutive year. When officials identiﬁed       identiﬁed an additional 23 potential trafficking victims from Niger,
          a child forced begging victim, they often issued administrative penalties      including 17 children and six adults, and airport authorities reportedly
          to the alleged perpetrators instead of criminally investigating and            screened and identiﬁed 17 Sierra Leonean women suspected to be en
          prosecuting the case, in part due to public pressure associated with           route to exploitation in Lebanon. One NGO reported identifying and
          the social inﬂuence of Quranic teachers, which failed to deter future          caring for an additional 43 potential child trafficking victims.
          exploitation. Officials previously observed children being sent back in
          the streets to beg after authorities returned them to their families. The

 480                                                                                                                                  Haiti AR_000961
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 586 of 729




                                                                                                                                                              SENEGAL
Law enforcement, immigration, and social services personnel had               restrictions. The government began working with an NGO and foreign
procedures for proactively identifying trafficking victims among              donor to study the prevalence of sex trafficking in the gold mining area
vulnerable populations and referring them to services. However,               of Kedougou and, as part of this initiative, cohosted a virtual roundtable
authorities inconsistently applied the procedures and they were not           for stakeholders focused on combating sex trafficking.
used in all regions of the country. Authorities generally referred victims
                                                                              Four municipal governments within Dakar continued implementing
identiﬁed along Senegal’s borders to an international organization
                                                                              regulations prohibiting child begging, as well as provisions developed
and government center for victim interviews before referring them
                                                                              with an international organization to increase oversight of daaras and
to NGO or government protective services. In Dakar and rural areas,
                                                                              provide food, hygiene, and medical services to children. Unlike the
law enforcement, civil society, and community protection groups
                                                                              previous year, the government did not report closing any unsafe daaras
generally referred children to the government or NGOs for social
                                                                              for health and safety violations. The government did not effectively
services, including repatriation assistance for foreign child victims. The
                                                                              regulate daaras to prevent child forced begging, and it did not have the
government referred foreign adult victims to their respective embassies
                                                                              oversight or authority to approve or deny the opening of new daaras
and provided repatriation support, including to Sierra Leonean victims
                                                                              and to close daaras based on child protection standards. The CNLTP
identiﬁed during the reporting period. Authorities were not always aware
                                                                              continued to participate in the West Africa Network for the Protection
of the shelters and services available, especially for adult victims, which
                                                                              of Children, a sub-regional referral mechanism for vulnerable children,
at times caused delays in the provision of services.
                                                                              including trafficking victims, comprising of NGOs and officials from
The Ministry of Women, Family, Gender, and Child Protection (MWFGCP)          neighboring countries; the network met to discuss protection and
referred 524 children to its shelter (the Ginddi Center) for care, compared   reintegration strategies for migrant children within the ECOWAS region.
with referring 598 children in the previous reporting period. The
                                                                              The government regulated labor recruiters and brokers but did not
government provided 269.8 million West African CFA francs (FCFA)
                                                                              report any investigations into fraudulent recruitment. The law did not
($463,700) to the Ginddi Center in 2021, the same amount provided in
                                                                              prohibit worker-paid recruitment fees, which increased labor migrants’
2020. The center provided meals, shelter, psycho-social care, clothing,
                                                                              vulnerability to trafficking. The government made some efforts to reduce
and vocational training; two staff nurses provided basic medical care.
                                                                              the demand for child sex trafficking, but it did not make efforts to reduce
The Center also operated a hotline for cases involving child victims of
                                                                              demand for commercial sex in general. The task force’s tourism police
crime in three languages and received 7,124 calls during the reporting
                                                                              forces continued to monitor the resort areas of Saly and Cap Skirring
period; for calls regarding child protection issues, staff brought children
                                                                              for indicators of child sex tourism and other abuses, although they did
requiring assistance to the center for care. The Ginddi Center continued
                                                                              not report identifying any cases of child sex tourism. The government
to lack sufficient space, limiting the number of victims authorities could
                                                                              provided anti-trafficking training to its troops prior to their deployment
assist and their length of stay. As a result, the government sometimes
                                                                              as peacekeepers; however, an international organization reported there
sent victims to the center for immediate services, and then to NGOs or
                                                                              were seven open allegations of sexual exploitation with trafficking
to partner daaras—which the government had certiﬁed met capacity,
                                                                              indicators by Senegalese peacekeepers deployed to UN peacekeeping
hygiene, and security standards and did not engage in forced begging—
                                                                              missions in Haiti, CAR, and Democratic Republic of the Congo between
that provided children with follow-on support services until family
                                                                              2009 to 2021.
reuniﬁcation. The Ministry of Justice operated three shelters (CPAs) for
child victims of crime, child victim-witnesses, and children in emergency
                                                                              TRAFFICKING PROFILE
situations, which child trafficking victims could access. Outside of Dakar,
                                                                              As reported over the past ﬁve years, human traffickers exploit domestic
international observers reported NGOs often provided critical shelter
                                                                              and foreign victims in Senegal, and traffickers exploit victims from
and trafficking victim services due to a lack of government resources.
                                                                              Senegal abroad. Forced begging is the most prevalent form of trafficking
Shelter and services for adult victims remained severely inadequate.
                                                                              in Senegal. Some corrupt Quranic teachers and men who claim to be
Several NGOs operated shelters for trafficking victims throughout
                                                                              Quranic teachers force children to beg in Dakar and other major cities in
the country; however, only one private shelter located in Dakar could
                                                                              Senegal; many set daily begging quotas enforced by beatings. In 2019,
accommodate female adult victims, while no shelters were available
                                                                              an NGO estimated 100,000 children living in residential daaras across
for male adult victims.
                                                                              Senegal are compelled to beg. The same NGO estimated that traffickers
Foreign national and Senegalese victims were eligible for the same            coerce nearly 30,000 children to beg in Dakar alone. In addition, a 2017
services. Foreign victims who faced hardship or retribution in their          NGO-led study identiﬁed more than 14,800 child forced begging victims
country of origin could apply for temporary or permanent residency,           in Saint-Louis and reported that 187 of the city’s 197 daaras send children
but authorities did not report granting these protections to any victims.     to beg for at least part of the day. Traffickers fraudulently recruit victims
Access to victim services was not conditioned on cooperation with             through the pretext of traditional cultural practices called conﬁage,
law enforcement proceedings. The government provided support to               in which parents send children to live with family or acquaintances in
victims who chose to cooperate in prosecutions against the alleged            order for the child to have better access to education and economic
traffickers, including food assistance and psycho-social services. The        opportunities; traffickers subsequently exploit the children in forced
2005 anti-trafficking law included provisions for victim protection           labor and sex trafficking. Traffickers subject Senegalese children and
during trials, such as allowing video-taped testimony; the government         women to sex trafficking and forced labor in domestic servitude and
did not report using these provisions. Victims could legally obtain           gold mining. Internal trafficking is more prevalent than transnational
restitution; the government did not report requesting restitution             trafficking, although traffickers exploit boys from Burkina Faso, The
during the reporting period. Victims could ﬁle civil suits against their      Gambia, Guinea, Guinea-Bissau, and Mali in forced begging in Senegalese
traffickers; however, no victims reportedly used this provision and many      cities as well as in forced labor in Senegal’s artisanal gold mines.
victims were unaware of the option. Due to inconsistent application of
                                                                              Traffickers exploit women in sex trafficking throughout the southeastern
victim identiﬁcation procedures, authorities may have detained some
                                                                              gold mining region of Kedougou; most victims are from Nigeria, but
unidentiﬁed trafficking victims. Authorities reportedly detained and
                                                                              traffickers also exploit victims from Senegal, Ghana, Mali, Guinea, and
ﬁned individuals participating in commercial sex for lack of required
                                                                              Sierra Leone. Trafficking rings fraudulently recruit these women and
documentation without screening for sex trafficking.
                                                                              use false documents to transport them to Mali and then across the
                                                                              border into Senegal’s mining regions. Traffickers then conﬁscate the
PREVENTION                                                                    victims’ identiﬁcation documents and coerce them into sex trafficking
The government maintained prevention efforts. The CNLTP coordinated
                                                                              through debt bondage, charging them travel fees ranging from 1.57
the government’s anti-trafficking response and implementation of
                                                                              million FCFA to 2.15 million FCFA ($2,700 to $3,700). An NGO report
its 2021-2023 anti-trafficking national action plan, and met twice
                                                                              attributes some of the increased demand for sex trafficking in mining
during the reporting period. The government allocated 60 million
                                                                              communities to cultural and religious beliefs correlating sex with
FCFA ($103,120) to the CNLTP in 2021, the same amount allocated the
                                                                              increased chances of ﬁnding gold. PRC national-owned and operated
previous year. The government made minimal efforts to raise awareness
                                                                              vessels ﬂagged to Senegal may exploit West African men, including
of human trafficking, in part due to pandemic-related public gathering
                                                                                                                                Haiti AR_000962               481
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 587 of 729
SERBIA
         Senegalese, and PRC nationals in forced labor. The pandemic’s impact            victim protection efforts, and reopen the shelter for trafficking victims. •
         on Senegal’s economy, particularly the informal sector, and foreign             Allocate adequate funding to NGOs providing victim support services. •
         vessels’ decimation of its ﬁshing stock, are causing a surge in irregular       Implement access to justice measures and victim-centered approaches,
         migration to Europe, including Spain; these migrants are vulnerable to          such as protecting victim conﬁdentiality, providing legal representation,
         trafficking. In 2018, authorities identiﬁed Ukrainian and PRC women             and preventing re-traumatization and intimidation. • Train investigators,
         exploited in sex trafficking in bars and nightclubs. West African women         prosecutors, and judges on victim-centered approaches and establish
         and girls are subjected to domestic servitude and sex trafficking in            mechanisms to refer cases to trained prosecutors and judges. • Fully
         Senegal, including for child sex tourism for tourists from Belgium, France,     implement written guidance to prevent penalization of trafficking victims
         Germany, and other countries. Child sex tourism primarily occurs in the         for crimes committed as a direct result of being subjected to trafficking.
         cities of Dakar and Saint Louis, and to a lesser extent in Cap Skirring and     • Establish transparent standards and procedures for NGOs to obtain
         La Petite Côte, in traditional tourist areas, and increasingly in private       licenses for providing support services. • Update the national referral
         residences. Traffickers exploit Senegalese women and girls in domestic          mechanism by formalizing cooperation with NGOs and delegating
         servitude in neighboring countries, Europe, and the Middle East. In             speciﬁc roles and responsibilities to government agencies. • Improve
         2018, a government and international organization report alleged some           training for government personnel on victim assistance and referral
         Saudi diplomats in Senegal are complicit in fraudulently recruiting and         and ensure foreign victims have access to assistance. • Provide labor
         exploiting some Senegalese women in domestic servitude in Saudi                 inspectors the resources and training necessary to regulate recruitment
         Arabia. In 2017, an international organization identiﬁed more than              agencies and investigate cases of fraudulent recruitment. • Integrate
         1,100 Senegalese migrants in Libya who were vulnerable to trafficking.          Roma groups into policies and programs on regarding victim protection.
                                                                                         • Consistently assemble coordinating bodies and adopt the 2021-2022
                                                                                         NAP. • Standardize data collection and create a database to collect
                                                                                         statistics for sentencing and victim protection measures.
          SERBIA: TIER 2 WATCH LIST
                                                                                         PROSECUTION
                                                                                         The government maintained some law enforcement efforts. Article 388
         The Government of Serbia does not fully meet the minimum standards
                                                                                         of the criminal code criminalized sex trafficking and labor trafficking
         for the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                                         and prescribed penalties ranging from two to 12 years’ imprisonment for
         These efforts included investigating more suspects and revising indicators
                                                                                         offenses involving an adult victim and three to 12 years’ imprisonment
         to identify trafficking victims among schoolchildren. The government
                                                                                         for those involving a child victim. These penalties were sufficiently
         increased resources to the Center for Protection of Trafficking Victims
                                                                                         stringent and, with regard to sex trafficking, commensurate with those
         (CPTV), which established agreements with companies to secure food,             for serious crimes, such as rape. Police ﬁled criminal complaints on 63
         hygiene products, and other donations for victims. The government               suspects, compared with 57 in 2020. The Public Prosecutor’s Office
         developed a coordination body to support victims during criminal                (PPO) investigated 35 suspects, compared with 22 in 2020. PPO
         proceedings, formed four Special Workings Groups on various anti-               prosecuted 26 defendants, compared with 42 defendants in 2020.
         trafficking issues, and designated the Ombudsman as the National                Courts convicted 16 traffickers, compared with 18 traffickers in 2020.
         Rapporteur on trafficking. However, the government did not demonstrate          All 16 traffickers received imprisonment, but the government did not
         overall increasing efforts compared with the previous reporting period,         collect or report information on the length of sentences. Courts also
         even considering the impact of the COVID-19 pandemic on its anti-               acquitted 10 individuals, compared with seven individuals in 2020.
         trafficking capacity. The government did not make proactive efforts             Observers reported judges often issued light sentences for traffickers
         to identify victims, and the implementation of standard operating               and some judges displayed victim-blaming biases against vulnerable
         procedures (SOPs) for identiﬁcation remained inadequate. CPTV                   populations, particularly the Romani community.
         continued to lack the staff, skills, and resources necessary to consistently
                                                                                         The Criminal Police Directorate (CPD) maintained an Anti-Trafficking
         assess victims and coordinate care placement; the CPTV-run shelter
                                                                                         Unit within the Directorate to Combat Organized Crime. Separately,
         remained closed due to its inability to obtain a license. The Anti-
                                                                                         the Ministry of Interior (MOI) maintained a labor division to investigate
         Trafficking Council did not meet, and the government did not adopt the
                                                                                         forced labor and specialized units in Belgrade, Niš, and Novi Sad and
         2021-2022 national action plan (NAP). Official complicity in trafficking
                                                                                         appointed at least two officers to investigate trafficking in the 27 regional
         crimes remained a concern. The government did not fully protect
                                                                                         police administrations. The government continued to use a trafficking
         victims or fully investigate credible allegations that approximately 500
                                                                                         task force to coordinate efforts to proactively investigate cases and
         Vietnamese workers were subjected to forced labor at a People’s Republic        maintained a separate human smuggling and trafficking task force that
         of China (PRC)-owned factory. Therefore Serbia was downgraded to                also investigated trafficking. PPO maintained specialized prosecutors
         Tier 2 Watch List.                                                              for trafficking cases, who provided operational guidance and acted as
                                                                                         single points of contact for investigators and care providers; however,
                  SERBIA TIER RANKING BY YEAR
                                                                                         the government did not have a system to consistently refer trafficking
              1                                                                          cases to these prosecutors or to judges trained or experienced on
                                                                                         trafficking issues. Prosecutors did not effectively distinguish between
             2
                                                                                         labor violations and forced labor and often charged or offered plea deals
           2WL                                                                           in sex trafficking cases for “mediating prostitution,” including cases with
              3                                                                          child victims. The government, at times in cooperation with international
                     2015     2016      2017    2018   2019   2020     2021    2022      organizations, provided trainings for police and MOI representatives on
                                                                                         various anti-trafficking issues. The government shared information on
                                                                                         trafficking-related cases through INTERPOL and EUROPOL but did not
                                                                                         report the number of cases.
         PRIORITIZED RECOMMENDATIONS:                                                    Despite ongoing and repeated allegations of official complicity, especially
         Vigorously investigate, prosecute, and convict traffickers, including
                                                                                         in sex trafficking, the government did not report any new prosecutions
         complicit officials, and impose adequate penalties. • Fully investigate
                                                                                         or convictions of government employees complicit in human trafficking
         allegations of forced labor in the PRC-owned tire manufacturing plant
                                                                                         crimes. Observers alleged a police officer provided protection to an
         in Zrenjanin and provide assistance and protection to the Vietnamese
                                                                                         organized criminal group and forced one woman into sex trafficking and
         workers. • Increase efforts to proactively identify victims, including
                                                                                         unlawful acts. Observers reported PPO and the police officer’s superiors
         among undocumented migrants, individuals in commercial sex, refugees
                                                                                         took no action after other officers intimidated and pressured the victim
         and asylum seekers, and unaccompanied children engaged in street
                                                                                         not to participate in the investigation, and authorities dismissed or
         begging. • Allocate sufficient resources to enable the Center for the
                                                                                         transferred police and prosecutors willing to further investigate the
         Protection of Trafficking Victims to officially identify victims, implement
                                                                                         case. In 2020, authorities investigated two cases with multiple allegedly
 482                                                                                                                                   Haiti AR_000963
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 588 of 729




                                                                                                                                                                 SERBIA
complicit police officers in Sabac and Presevo who may have solicited           to Serbian nationals. Although the government required victims to be
sexual services from trafficking victims. In 2018, law enforcement              referred only to licensed service providers, licenses were difficult to obtain
charged a police officer involved in sex trafficking; the trial was ongoing.    because of a lack of official standards and criteria to approve licenses.
                                                                                CPTV opened a shelter for trafficking victims in February 2019 with the
The government did not fully investigate allegations that 500 Vietnamese
                                                                                capacity to accommodate six victims; however, the CPTV-run shelter
workers endured forced labor, including inhumane working and living
                                                                                remained closed since September 2020 due to its inability to obtain a
conditions and passport conﬁscation at the construction site of a PRC-
                                                                                license. As a result, an NGO-run shelter operated the only specialized
owned factory in Serbia. The European Parliament adopted a joint
                                                                                shelter for trafficking victims. Before the closure of the CPTV-run shelter,
resolution calling for an investigation into forced labor at the factory, and
                                                                                CPTV reported difficulties in fulﬁlling their expanded responsibilities
the UN and civil society organizations similarly urged the government
                                                                                from a coordinating body to one that also provided direct assistance
to take immediate action. Observers alleged police officers intimidated
                                                                                at the shelter due to a continued lack of capacity, resources, and staff,
whistleblowers trying to collect additional information on the living
                                                                                including technical staff to provide support to victims. In previous
and working conditions of the Vietnamese workers, and other credible
                                                                                years, civil society reported CPTV relying on its scarce resources to
sources alleged the government prioritized PRC investments and, as a
                                                                                support the shelter with food, toiletries, and access to vehicles, but
result, dismissed the allegations and delayed government responses.
                                                                                CPTV reported establishing agreements with companies to secure food,
While the National Rapporteur on Trafficking visited the factory and
                                                                                hygiene products, and other donations for victims.
called for an investigation, the government was slow to respond to the
allegations of forced labor and did not fully adhere to its own protocols.      CSW operated shelters for domestic violence victims that also
The investigation of the allegations remained ongoing at the end of the         accommodated female trafficking victims. The government maintained
reporting period, yet the government maintained that the Vietnamese             a drop-in shelter for homeless children, and CSW returned child victims
workers were not trafficking victims.                                           to their families, referred them to foster care, or placed them in one of
                                                                                the two Centers for Children without Parental Care; three child victims
PROTECTION                                                                      were accommodated in general shelters (17 in 2020), seven were placed
The government decreased victim protection efforts. The government              in foster families (21 in 2020), and none were accommodated in shelters
maintained SOPs for the identiﬁcation, referral, and support of trafficking     for asylum seekers and migrants (seven in 2020). The government did
victims, including standardized indicators and guidelines to identify           not provide specialized accommodation for male victims. An NGO
victims in irregular migration ﬂows and high-risk sectors. The government,      rented accommodation for male victims as needed, and male victims
in cooperation with civil society, revised indicators for identifying victims   could access all other rehabilitation services offered to female victims.
among schoolchildren. However, the SOPs did not provide clear roles             CPTV maintained a protocol with the National Employment Service
and responsibilities for relevant institutions, lacked proactive efforts,       (NES) to assist victims in ﬁnding employment and, in cooperation with
and implementation remained “recommended” rather than required. In              the Association of Business Women, referred nine victims for training
previous years, some ﬁrst responders, particularly at Centers for Social        to NES (none in 2020). The government provided foreign victims
Work (CSW), justiﬁed cases of potential forced child begging and forced         temporary residence permits, renewable up to one year, and allowed
labor involving Roma as traditional cultural practices and customs. CPTV        potential foreign victims to stay for three months; no victims required
assessed and officially identiﬁed adult victims and developed a protection      a temporary residence permit (one victim in 2020). The government
and assistance plan for each victim, while CSW assessed and officially          did not repatriate any victims (10 victims to Serbia in 2020). Observers
recognized child victims. In 2021, ﬁrst responders referred 127 potential       reported the lack of a standardized database to collect information on
victims to CPTV, compared with 130 in 2020; law enforcement referred            trafficking victims created obstacles in managing cases and monitoring
59 potential victims, social welfare organizations referred 28 potential        access and quality of support services.
victims, NGOs and international organizations referred 14 potential
                                                                                Authorities penalized victims of sex trafficking, forced begging, and
victims; ﬁve potential victims self-identiﬁed, and private citizens and
                                                                                forced criminality with imprisonment, probation, and ﬁnes. Victims’
other institutions referred 21 potential victims. The government identiﬁed
                                                                                ability to access support services and assistance was not contingent
43 victims from the 127 potential victims, compared with 48 victims
                                                                                on cooperating with law enforcement investigations, but once a case
in 2020; 23 were victims of sex trafficking, nine of forced labor, two of
                                                                                was reported to police, authorities required victims to cooperate with
forced criminality, and nine of multiple types of exploitation. Overall, 21
                                                                                investigations and testify during trials, including children; the government
were women, eight men, 13 girls, and one boy, and one foreign victim.
                                                                                did not report the number of victims that cooperated with prosecutions
GRETA and other experts reported CPTV lacked the staff to review cases
                                                                                (68 victims in 2020). The law designated officially recognized victims as
in a timely manner and resources to travel to the location of potential
                                                                                a “particularly vulnerable group” eligible for the status of an “especially
victims and interview them in person. Experts continued to report the
                                                                                vulnerable witness” and/or “protective witness” with special assistance
lack of transparency regarding the official victim assessment and CPTV’s
                                                                                and procedural considerations, such as testifying without the defendant
inability to assess potential victims consistently. For example, CPTV did
                                                                                present or via video link and access to witness protection. However,
not provide information or notify relevant stakeholders on whether
                                                                                observers reported most courts did not have the technical capacity to
it interviewed the Vietnamese workers in the PRC-owned factory or
                                                                                offer testimony via video link and victims frequently appeared in front
conducted an official victim assessment in this case. Additionally, the
                                                                                of the alleged trafficker during trial, causing re-traumatization. The
National Rapporteur responded to an NGO complaint and concluded
                                                                                government granted the status of an “especially vulnerable witness”
that CPTV and CSW failed to identify and provide assistance to a child
                                                                                to 33 victims (20 in 2020) but did not grant “protective witness status”
victim. CPTV reported staff occasionally tested positive for COVID-19,
                                                                                to any victims (none in 2020). In previous years, observers reported
while CSW staff were heavily burdened due to an increased workload
                                                                                an absence of victim conﬁdentiality measures; one example included
and at times limited staff stemming from the pandemic and could not
                                                                                the MOI publishing information on a trafficker who was the victim’s
support all victims.
                                                                                father, and as a result, media organizations easily identiﬁed the victim.
The government allocated approximately 35.2 million dinars ($339,830)           The government established a coordination body to support victims
to CPTV for victim assistance, compared with 23 million dinars ($222,050)       and witnesses during criminal proceedings. The government provided
in 2020. The government did not provide funding to NGOs despite relying         free legal aid to victims, but it did not collect information on how many
heavily, and at times solely, on their victim support and reintegration         victims received assistance, and observers reported local governments
services. The government and NGOs provided the following assistance             did not advertise the service and only a few victims received free legal
to victims: psycho-social, legal, educational, medical, ﬁnancial, and           aid. Judges rarely issued restitution in criminal cases and encouraged
reintegration support; personal protective equipment; and necessary             victims to seek compensation by ﬁling civil suits; judges granted
medical assistance for COVID-19. All victims in 2021 and 2020 received          restitution to one victim for 1.12 million dinars ($10,780), but it has not
some form of government assistance. The government reported providing           yet been paid out. Civil suits were lengthy, expensive, and required the
equal protection to foreign national and Serbian citizen victims, but           victim to face the trafficker multiple times; only one victim received
foreign victims faced obstacles in accessing support, according to              compensation to date. The Constitutional Court ruled that the PPO and
experts, who noted some local communities limit shelter accommodation           High Court in Belgrade failed to fulﬁll their obligations to conduct a fair
                                                                                                                                   Haiti AR_000964               483
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 589 of 729
SEYCHELLES   trial and protect a victim’s rights in a child trafficking case and awarded
             compensation to the child victim for €5,800 ($6,580).                          SEYCHELLES: TIER 2
             PREVENTION                                                                    The Government of Seychelles does not fully meet the minimum
             The government maintained prevention efforts. The government                  standards for the elimination of trafficking but is making signiﬁcant
             maintained the Anti-Trafficking Council composed of relevant                  efforts to do so. The government demonstrated overall increasing
             government ministries, but it did not meet in 2021 or 2020. The               efforts compared with the previous reporting period, considering
             government implemented the anti-trafficking strategy for 2017-2022            the impact of the COVID-19 pandemic on its anti-trafficking capacity;
             but did not adopt the NAP for 2021-2022. The government formed                therefore Seychelles remained on Tier 2. These efforts included increasing
             four Special Working Groups (SWG): one SWG to draft the NAP, one              investigations of trafficking crimes; developing a new victim identiﬁcation
             to monitor and implement the NAP, one SWG to strengthen proactive             and referral procedure; establishing the country’s ﬁrst trafficking-speciﬁc
             investigations, and one to improve prosecutions and legal protections.        shelter; hiring personnel to establish an anti-trafficking secretariat to
             Each SWG held two online meetings and added NGO representatives               support the National Coordinating Committee against Trafficking in
             after requests to include civil society. The government did not include       Persons (NCCTIP); and establishing the country’s ﬁrst anti-trafficking
             NGOs in the preparation of the draft NAP but solicited feedback during        hotline. However, the government did not meet the minimum standards
             a public discussion. The National Coordinator led government-wide             in several key areas. The government did not initiate any trafficking
             anti-trafficking efforts, and the government adopted an amendment             prosecutions. Officials did not proactively screen vulnerable populations,
             to officially designate the Ombudsman as the National Rapporteur on
                                                                                           such as migrant workers or individuals in commercial sex, for trafficking
             trafficking to independently monitor and assess anti-trafficking efforts.
                                                                                           indicators and generally relied on victims to self-report. Implementation
             Nineteen municipal governments maintained multidisciplinary anti-
                                                                                           of the new victim identiﬁcation and referral procedure was inconsistent,
             trafficking teams to implement local efforts. The National Coordinator
                                                                                           and some stakeholders continued to use ad hoc procedures. Despite
             allocated €30,000 ($34,000) for awareness campaigns, including
                                                                                           training efforts, the government did not institutionalize anti-trafficking
             creating videos and informational materials. The government operated
                                                                                           training; some police, immigration officers, prosecutors, and judges
             three hotlines that received calls for trafficking, domestic violence, and
                                                                                           continued to lack a clear understanding of trafficking, which hampered
             other crimes but did not report the number of trafficking-related calls.
                                                                                           law enforcement and victim identiﬁcation efforts. The lack of anti-
             The government licensed and regulated private employment agencies;
             however, the government did not prohibit recruitment fees, and observers      trafficking training among labor inspectors may have left some victims
             reported that tourist agencies also performed labor recruitment and           among the vulnerable migrant worker population unidentiﬁed.
             were largely unregulated. Additionally, civil society reported recruitment
             agencies re-formed under different names after authorities revoked                    SEYCHELLES TIER RANKING BY YEAR
             their licenses and reported instances of the translations of contracts into       1
             English and/or Serbian being substantively different from the original
                                                                                               2
             contract in the origin country’s language. The government did not make
             efforts to reduce the demand for commercial sex acts.                           2WL
                                                                                               3
             TRAFFICKING PROFILE                                                                      2015     2016      2017        2018   2019   2020   2021   2022
             As reported over the past ﬁve years, human traffickers exploit domestic
             and foreign victims in Serbia, and traffickers exploit victims from
             Serbia abroad. Traffickers exploit Serbian women in sex trafficking in
             Serbia, in neighboring countries, and throughout Europe, particularly         PRIORITIZED RECOMMENDATIONS:
             Austria, Germany, Italy, and Turkey. Traffickers exploit Serbian nationals,   Using the newly established victim identiﬁcation and referral procedure,
             primarily men, in forced labor in labor-intensive sectors, such as the        systematically and proactively identify trafficking victims by screening for
             construction industry, in European countries (including Austria, Belgium,     trafficking indicators among vulnerable populations, including individuals
             Croatia, France, Germany, Italy, Luxembourg, Montenegro, Russia, and          involved in commercial sex, migrant workers in the international trade
             Switzerland) and the United Arab Emirates. Traffickers exploit Serbian        zone, and Cuban medical professionals, and referring all trafficking
             children, particularly Roma, within the country in sex trafficking, forced    victims to appropriate services. • Vigorously investigate and prosecute
             labor, forced begging, and petty crime. Foreign victims identiﬁed in          trafficking crimes and sentence convicted traffickers, including complicit
             Serbia were from Albania, Cameroon, Croatia, Denmark, Germany, Mali,          officials, to penalties prescribed under the 2014 anti-trafficking law. •
             Nigeria, North Macedonia, and Pakistan. Traffickers adapt operations          Allocate adequate funding and resources for victim services, including
             to the impacts of the pandemic and shift recruitment to online means,         to the Trafficking in Persons Fund and the newly established trafficking
             such as social media outlets. Thousands of migrants and refugees from         shelter. • Train labor inspectors to identify potential forced labor victims
             the Middle East, Africa, and Asia transiting through or left stranded in      during routine inspections, including in the international trade zone and
             Serbia are vulnerable to trafficking within Serbia.                           migrant workers’ work sites, and to report potential trafficking crimes
                                                                                           to appropriate officials. • Finalize, adopt, and implement a national
             Credible allegations indicate Vietnamese workers face forced labor
                                                                                           action plan to drive national efforts to combat all forms of trafficking.
             at a construction site for a PRC-owned tire manufacturing plant in
                                                                                           • Remove the required fee for migrant workers to ﬁle a complaint with
             Zrenjanin. Recruitment agencies in Vietnam organized transportation,
                                                                                           the Labor Tribunal. • Adopt a law prohibiting the retention of passports
             visas, and accommodation, and they charged the Vietnamese workers
                                                                                           by employers of migrant workers. • Conduct anti-trafficking awareness
             an exorbitant recruitment fee between $2,000 to $4,000 for their
                                                                                           campaigns to increase the understanding of the crime among the local
             services. In March 2021, approximately 500 Vietnamese workers came
                                                                                           population and the large number of foreign tourists and migrant workers
             to Serbia with expectations to work in a factory producing aircraft parts
                                                                                           entering the country.
             for €775 ($880) per month. Local NGOs and media outlets reported
             indicators of forced labor starting in November 2021, including passport
                                                                                           PROSECUTION
             conﬁscation, restriction of movement and communication, threats and
                                                                                           The government maintained anti-trafficking law enforcement efforts.
             intimidation, denial of repatriation requests, withholding salary, forced
                                                                                           The Prohibition of Trafficking in Persons Act of 2014 criminalized sex
             overtime, inadequate housing, and insufficient food. The government
                                                                                           trafficking and labor trafficking. The law prescribed penalties of up to
             has not reported fully investigating these credible allegations of forced
                                                                                           14 years’ imprisonment and a ﬁne up to 500,000 Seychelles rupee (SR)
             labor and instead continues to state the Vietnamese workers are not
                                                                                           ($37,510) for offenses involving adult victims, and a maximum of 25
             trafficking victims.
                                                                                           years’ imprisonment and a ﬁne up to 800,000 SR ($60,020) for those
                                                                                           involving child victims; these penalties were sufficiently stringent and,
                                                                                           with respect to sex trafficking, commensurate with those for other serious
                                                                                           crimes, such as rape. Although the anti-trafficking law criminalized child

  484                                                                                                                                        Haiti AR_000965
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 590 of 729




                                                                                                                                                          SEYCHELLES
sex trafficking, unclear and conﬂicting statutes in the penal code did       the Social Affairs Department of the Ministry of Health and Social Affairs
not clearly deﬁne the ages of consent, causing confusion between             provided foreign victims who were waiting to give testimony in court
the traditionally understood age of consent (15 years of age) and the        with accommodation in private guesthouses, homeless shelters, or a
legal age of majority (18 years of age). In 2017, the government, in         facility previously used to hold suspected criminals, where they had
collaboration with an international organization, began development          freedom of movement.
of implementing regulations for the 2014 anti-trafficking law to address
                                                                             The 2014 anti-trafficking law allowed the government to place witnesses
protective measures for trafficking victims; however, the government
                                                                             under protection and, if the court found it necessary, to hold trafficking
did not ﬁnalize these regulations for the fourth consecutive year. In
                                                                             trials in private to protect witness conﬁdentiality and privacy; the law
2020, the Child Law Reform Committee drafted new legislation that
                                                                             also ensured witnesses could testify through closed circuit television and
reportedly expands protections for child sex trafficking victims and
                                                                             that courtroom accommodations could be made for the psychological
increases law enforcement’s obligation to investigate and prosecute
                                                                             comfort of the witness. The 2014 anti-trafficking law also allowed for
cases of child sex crimes, including trafficking; however, the new
                                                                             limited legal alternatives to victim removal to countries in which they
legislation was not presented to the National Assembly for the second
                                                                             would face hardship; the law permitted the Minister of Home Affairs
consecutive reporting period.
                                                                             to decide whether to allow a foreign victim to stay in the country for
The government investigated 24 potential trafficking cases—three             30 days, issue a permit allowing the victim to stay in the country for
for sex trafficking, 11 for forced labor, and 10 involving unspeciﬁed        a set period until the completion of legal proceedings, or deport the
exploitation—in 2021, compared with three investigations in the previous     victim. The government provided 11 victims of forced labor with new
reporting period. The government did not initiate any prosecutions,          work permits, allowing them to begin working with a new employer,
compared with 12 prosecutions in 2020 and none in 2019, and reported         compared with ﬁve in the previous reporting period. The anti-trafficking
18 prosecutions remained ongoing from previous reporting periods.            law allowed the government to provide restitution to victims from the
The government convicted two traffickers, which was the same number          ﬁne imposed on the accused or from the Trafficking in Persons Fund;
of convictions as the previous reporting period. Courts sentenced a          however, the government has never allotted resources to the Trafficking
Seychellois national to 14 years’ imprisonment for sex trafficking under     in Persons Fund or provided restitution to any victims. The law protected
the 2014 anti-trafficking law. Courts also sentenced a Seychellois           trafficking victims from detention or prosecution for unauthorized
national to three years’ imprisonment and a ﬁne for labor trafficking        entry into Seychelles, but it did not protect victims from prosecution
involving three Bangladeshi migrant workers; courts also ordered the         for other unlawful acts traffickers compelled them to commit. Due to
trafficker to pay each victim 10,000 SR ($750). In response to the           limited implementation of the government’s new formal identiﬁcation
pandemic, police officers, including those mandated to investigate           procedures, authorities likely arrested or deported some unidentiﬁed
trafficking crimes, were diverted from enforcement duties and assigned       trafficking victims for prostitution or immigration violations.
to oversee pandemic-related guidelines and procedures, such as mask-
wearing, curfews, social distancing, and mandatory quarantines, for          PREVENTION
a portion of the reporting period. The government did not report any         The government slightly increased efforts to prevent trafficking. NCCTIP
investigations, prosecutions, or convictions of government employees         met regularly to direct anti-trafficking efforts across government
complicit in human trafficking crimes; however, corruption and official      agencies and drive national policy. During the reporting period, the
complicity in trafficking crimes remained signiﬁcant concerns, inhibiting    government hired two personnel to establish an anti-trafficking
law enforcement action during the year. For the ﬁrst time in three           secretariat, as required under section IV of the 2014 anti-trafficking
years, the government, in partnership with international organizations,      act, to support NCCTIP; observers reported the establishment of the
trained officials on anti-trafficking enforcement, policies, and laws.       secretariat enhanced inter-ministerial coordination of anti-trafficking
Despite training efforts, the government did not institutionalize anti-      efforts. The government allocated 148,281 SR ($11,120) for committee
trafficking training, and some police, immigration officers, prosecutors,    operations and programming, such as victim assistance and prevention
and judges continued to lack a clear understanding of trafficking,           efforts, compared with 1.18 million SR ($88,620) in the previous reporting
which hampered law enforcement and victim identiﬁcation efforts.             period. The government remained without a national action plan (NAP);
The government reported cooperating with foreign governments on              however, NCCTIP, in partnership with an international organization,
trafficking investigations.                                                  drafted an updated 2022-2025 NAP, which was awaiting ﬁnal approval
                                                                             by the Cabinet of Ministers at the end of the reporting period. The
PROTECTION                                                                   government held awareness campaigns targeting frontline officials,
The government increased victim protection efforts. The government           journalists, and populations vulnerable to trafficking, including migrant
reported identifying four trafficking victims, compared with 14 victims      workers and individuals from low-income communities. The anti-
identiﬁed in 2020 and none in 2019. Of the four victims identiﬁed, two       trafficking secretariat began operating the country’s ﬁrst trafficking-
were Seychellois girls exploited in sex trafficking and two were adult       speciﬁc hotline. The secretariat reported the hotline was available 24
males, one exploited in forced labor and one Seychellois male whose          hours a day, seven days a week, to provide referrals for services, and
exploitation was unknown. The government, in partnership with an             at least one case reported to the hotline resulted in an investigation.
international organization, developed a new victim identiﬁcation and         The Ministry of Employment (MOE) maintained a hotline to address
referral procedure to replace standard operating procedures established      concerns about forced labor; the government did not report identifying
in 2015. In late 2021, the anti-trafficking secretariat disseminated         any trafficking victims via the employment hotline.
the new procedure to police, social welfare officers, immigration
                                                                             Trafficking vulnerabilities in labor recruitment and monitoring persisted
officials, and civil society and trained stakeholders on its use; however,
                                                                             throughout the country. The MOE and the inter-ministerial Special Task
implementation of the new procedure remained inconsistent, and some
                                                                             Force, which had a mandate to address the living and working conditions
stakeholders continued to use ad hoc procedures independent from the
                                                                             of migrant workers, regularly inspected work sites for indications of
national SOPs. The government did not proactively screen vulnerable
                                                                             trafficking; however, the government did not report identifying any
populations, such as migrant workers or individuals in commercial sex,
                                                                             forced labor victims or referring any potential trafficking crimes to law
for trafficking indicators and generally relied on victims to self-report.
                                                                             enforcement as a result of the inspections, likely due to lack of training
NCCTIP reported spending 148,281 SR ($11,120) for victim care in 2021, a
                                                                             on trafficking indicators. The MOE continued to lack jurisdiction in the
decrease compared with 498,480 SR ($37,400) in 2020. The government
                                                                             Seychelles International Trade Zone (SITZ), where migrant workers
reported providing various services, including medical care, shelter, and
                                                                             were especially vulnerable to forced labor, as it was considered ex-
repatriation for foreign victims, to all four victims identiﬁed during the
                                                                             territorial and managed by the Financial Services Authority (FSA);
reporting period, and to some victims identiﬁed in previous years. The
                                                                             this limited its ability to screen migrant workers for trafficking. The
government, in partnership with a religious organization, established
                                                                             government did not report conducting inspections in the SITZ during
the country’s ﬁrst trafficking-speciﬁc shelter in late 2021. Although the
                                                                             the reporting period, despite the FSA no longer requiring special
shelter had not begun accepting survivors at the end of the reporting
                                                                             permission to visit businesses in the SITZ. The MOE reported delaying
period, the government worked with the religious organization to
                                                                             or canceling some planned inspections due to pandemic-related
renovate the space to accommodate 15 individuals. As in prior years,
                                                                                                                             Haiti AR_000966              485
                   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 591 of 729
SIERRA LEONE
               movement restrictions during the reporting period. In accordance              report providing any funding to support NGOs providing the majority
               with the Employment Act, the MOE reviewed all contracts for migrant           of victim shelter and services.
               workers to ensure compliance with its provisions, including acceptable
               accommodations; however, the government did not have effective
                                                                                                     SIERRA LEONE TIER RANKING BY YEAR
               policies or laws regulating or providing oversight for labor recruiters.
                                                                                                 1
               Seizure and retention of passports by employers remained legal under
               Seychellois law, unless proven it was speciﬁcally for the purpose of              2
               further trafficking a person; however, in 2019, the government drafted          2WL
               an amendment to the immigration bill that reportedly prohibits passport
                                                                                                 3
               retention of foreign workers. The government did not report sending                      2015     2016      2017      2018   2019   2020    2021    2022
               the bill to parliament for the third consecutive reporting period. The
               government continued to utilize the labor tribunal for labor-related
               complaints and continued to require a fee for migrant workers to
               ﬁle a complaint. In 2021, the government amended the immigration
                                                                                             PRIORITIZED RECOMMENDATIONS:
               act to reportedly require the provision of work permit cards for all
                                                                                             Expand victim shelter and services, including for male victims, outside
               citizens and foreign workers that includes anti-trafficking information
                                                                                             of Freetown. • Increase efforts to investigate, prosecute, and convict
               and contact information for assistance; however, the government did
                                                                                             traffickers, following due process, and sentence convicted traffickers
               not report providing updated work permit cards during the reporting
                                                                                             with signiﬁcant prison terms in accordance with the law. • Train police,
               period. The government did not provide anti-trafficking training to
                                                                                             prosecutors, and judges to investigate and prosecute trafficking cases.
               its diplomatic personnel or make efforts to reduce the demand for
                                                                                             • Train all officials on the standard victim identiﬁcation measures and
               commercial sex acts.
                                                                                             national referral mechanism to ensure trafficking victims receive timely
                                                                                             services. • End policies that encourage labor migration to occur through
               TRAFFICKING PROFILE                                                           informal channels, increasing migrants’ vulnerability to trafficking. •
               As reported over the past ﬁve years, human traffickers exploit domestic       Implement the new Labor Migration Policy, including pre-departure
               and foreign victims in Seychelles. Traffickers exploit Seychellois girls      education about labor rights, improving recruitment agency licensing
               and boys in child sex trafficking, particularly on the main island of         procedures, and increasing the capacity of Sierra Leonean missions
               Mahé; in some cases, peers and family members exploit children                to support victims. • Amend the 2005 anti-trafficking law to remove
               in bars, guest houses, hotels, brothels, private homes, and on the            sentencing provisions that allow for a ﬁne in lieu of imprisonment for
               street. Traffickers also exploit Seychellois addicted to substances or        sex trafficking offenses. • Proactively screen for trafficking indicators
               from low-income households in sex trafficking. Traffickers exploit            among vulnerable populations, including Sierra Leonean women traveling
               Malagasy women who transit Seychelles in forced labor, primarily              abroad for domestic work, women in commercial sex, irregular migrants,
               in domestic servitude, and sex trafficking in the Middle East. Nearly         children in informal foster care arrangements, and Cuban overseas
               17,000 migrant workers—including individuals from Bangladesh, India,          workers. • Coordinate with the Governments of Liberia and Guinea
               China, Kenya, Madagascar, and other countries in South Asia—make up           to prosecute transnational cases, coordinate victim protection, and
               approximately 20 percent of the working population in Seychelles and          prevent trafficking. • Improve data collection on anti-trafficking law
               are primarily employed in ﬁshing, farming, and construction; credible         enforcement and victim assistance efforts.
               reports indicate traffickers subject migrant workers to forced labor in
               these sectors. Labor recruitment agents based in Seychelles exploit
                                                                                             PROSECUTION
               migrant workers in labor trafficking, often with the assistance of a local
                                                                                             The government made mixed anti-trafficking law enforcement efforts.
               Seychellois accomplice. Migrant workers often sign their employment
                                                                                             The 2005 anti-trafficking law criminalized sex trafficking and labor
               contracts upon arrival in the Seychelles and frequently cannot read the
                                                                                             trafficking and prescribed penalties of up to 10 years’ imprisonment, a
               language, which traffickers exploit in fraudulent recruitment tactics.
                                                                                             ﬁne, or both. These penalties were sufficiently stringent; however, by
               There were reports of employers routinely retaining migrant workers’
                                                                                             allowing for a ﬁne in lieu of imprisonment, the penalties for sex trafficking
               passports to prevent them from changing jobs prior to the expiration
                                                                                             were not commensurate with the penalties for other grave crimes, such
               of their two-year contracts, increasing their vulnerability to forced
                                                                                             as rape. The Sexual Offences Act criminalized sex trafficking under its
               labor. Observers report some employers in the SITZ may not allow
                                                                                             “forced prostitution” and “child prostitution” provisions and prescribed
               migrant workers to leave their residential premise outside of working
                                                                                             penalties of up to 15 years’ imprisonment; these penalties were sufficiently
               hours, creating further vulnerabilities to trafficking. Traffickers exploit
                                                                                             stringent and commensurate with penalties for other grave crimes,
               migrant workers aboard foreign-ﬂagged ﬁshing vessels in Seychelles’
                                                                                             such as rape. Draft legislation to replace the 2005 anti-trafficking law
               territorial waters and ports using abuses indicative of forced labor,
                                                                                             to remove the possibility of a ﬁne in lieu of imprisonment for convicted
               including nonpayment of wages and physical abuse. Cuban medical
                                                                                             traffickers, increase penalties, and improve victim protection measures
               professionals working in Seychelles may have been forced to work
                                                                                             remained pending at the close of the reporting period.
               by the Cuban government.
                                                                                             The government reported investigating 43 cases, compared with
                                                                                             investigating 72 cases the previous reporting period. The government
                                                                                             reported prosecuting an unknown number of defendants in nine cases,
                SIERRA LEONE: TIER 2                                                         which resulted in the conviction of three traffickers, compared with
                                                                                             prosecuting at least 30 defendants in 33 cases and convicting one
                                                                                             trafficker during the previous reporting period. Judicial inefficiencies,
               The Government of Sierra Leone does not fully meet the minimum                general corruption, and procedural delays hindered courts from holding
               standards for the elimination of trafficking but is making signiﬁcant         traffickers accountable and diminished conﬁdence in the judicial system.
               efforts to do so. The government demonstrated overall increasing efforts      As a result, victims’ families often accepted payments from traffickers
               compared with the previous reporting period, therefore Sierra Leone           rather than pursue cases in court, and families sometimes exerted
               remained on Tier 2. These efforts included signing a memorandum of            pressure on victims to not participate in investigations and prosecutions
               understanding (MOU) with Guinea on anti-trafficking coordination,             against their alleged traffickers due to security concerns, community
               convicting more traffickers, launching a nationwide trafficking hotline,      ties to alleged traffickers, and the high cost and travel required to
               and ratifying the ECOWAS Convention on Mutual Assistance in Criminal          participate in such cases. In many cases, victims either did not agree to
               Matters, intended to facilitate cross-border law enforcement anti-            testify against their traffickers and prosecutors dropped the charges, or
               trafficking efforts. However, the government did not meet the minimum         victims could not meet the travel requirements for court appearances
               standards in several key areas. The government investigated fewer             and judges dismissed their cases.
               cases; shelter and services, especially for male victims, remained
               inadequate and limited to Freetown; and the government did not

  486                                                                                                                                         Haiti AR_000967
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 592 of 729




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The government could expedite trafficking cases by referring trafficking      The government could support victims participating in trials against their
prosecutions directly to the High Court, bypassing the preliminary            traffickers by providing immigration relief, legal services, transportation,
investigation stage, which sometimes was a three-year process. In             and lodging. In addition, prosecutors could request closed court sessions
addition, there was a dedicated judge and special prosecutors for             to protect victims’ identities and prevent re-traumatization during trials.
trafficking cases. In previous years, traffickers reportedly bribed           The government did not report how many victims, if any, voluntarily
prosecutors not to prosecute cases and bribed judges to dismiss cases.        participated in investigations and prosecutions during the reporting
In a previous reporting period, an NGO alleged police officers raped          period. An international organization reported that limited victim
potential child trafficking victims and, in some cases, transported victims   assistance, lack of legal representation, and fear of retaliation resulted
to police stations where they were sexually abused. The government            in many victims fearing to report their cases to law enforcement. The
did not report any investigations, prosecutions, or convictions of            law allowed victims to obtain restitution, but the government did not
government employees complicit in human trafficking crimes; however,          report any cases in which courts awarded restitution. While victims
corruption and official complicity in trafficking crimes, particularly in     could ﬁle civil suits against their traffickers, none did so during the
the judiciary, remained signiﬁcant concerns, inhibiting law enforcement       reporting period. The law provided legal alternatives to removal of
and judicial action during the year.                                          trafficking victims to countries in which victims would face retribution
                                                                              or hardship; the government did not report providing these services to
The government, in collaboration with an international organization
                                                                              any victims during the reporting period. Due to inconsistent application
and NGOs, trained magistrates and High Court judges on prosecuting
                                                                              of victim identiﬁcation procedures, authorities may have detained or
trafficking cases and trained district task force members on victim
                                                                              otherwise penalized trafficking victims for unlawful acts traffickers
identiﬁcation, referral, and case management. Police officers did not
                                                                              compelled them to commit.
receive training on human trafficking while at the police academy. The
government continued to cooperate with the Government of Guinea,
including signing an MOU on trafficking issues. The government also
                                                                              PREVENTION
                                                                              The government increased efforts to prevent trafficking. The anti-
met with the Government of The Gambia and began discussions on
                                                                              trafficking task force, chaired by the Ministry of Social Welfare and
drafting an MOU. The government cooperated with the Governments
                                                                              Ministry of Justice, was responsible for coordinating the government’s
of Senegal and Guinea on the repatriation of an unspeciﬁed number
                                                                              anti-trafficking efforts. The task force, in partnership with ECOWAS
of Sierra Leonean victims. The government ratiﬁed the ECOWAS
                                                                              and an international organization, began work developing an MOU
Convention on Mutual Assistance in Criminal Matters, which provides
                                                                              with Guinea to enhance anti-trafficking coordination. The government
a framework for international cooperation on investigations, including
                                                                              provided 700 million leones ($62,380) for anti-trafficking activities,
of trafficking cases.
                                                                              including for implementing provisions of the 2021-2023 national action
                                                                              plan, compared with 500 million leones ($44,560) the previous year.
PROTECTION
                                                                              The central task force provided training and support to regional task
The government maintained efforts to identify and protect victims.
                                                                              forces. The government held a nationwide anti-trafficking conference,
The government identiﬁed 43 trafficking victims during the reporting
                                                                              which brought together government, civil society, and international
period, compared with 73 victims identiﬁed in the previous reporting
                                                                              actors to discuss trafficking issues. The government maintained
period. NGOs identiﬁed an additional 59 female victims, ﬁve adult
                                                                              a nationwide trafficking hotline run by the police. In partnership
victims of sex trafficking, ﬁve adult victims of unspeciﬁed exploitation,
                                                                              with NGOs and international organizations, the government trained
26 child victims of sex trafficking, and 23 child victims of unspeciﬁed
                                                                              members of the task force on trafficking issues. The government also
exploitation. Officials referred women and child victims to NGOs for
                                                                              conducted awareness-raising campaigns on trafficking topics on
shelter services, while authorities temporarily sheltered male victims at
                                                                              radio and television. In addition, the government, in partnership with
law enforcement facilities. The government had standard procedures
                                                                              international organizations, carried out several studies on the scope
to identify trafficking victims, including victims among vulnerable
                                                                              of the trafficking prevalence, including a needs assessment on law
populations, and refer them to services; however, inconsistent application
                                                                              enforcement training.
and lack of training on the procedures prevented some victims from
receiving services. The government relied heavily on NGOs to identify         The government lifted its moratorium, imposed in 2019, on recruitment
victims. In some cases, victims slept at police stations due to a lack of     of Sierra Leoneans for employment abroad. The government enacted a
appropriate housing authorities, especially for male victims, and Ministry    strict recruitment policy which had the effect of driving Sierra Leoneans
of Social Welfare (MSW) officials did not uniformly implement the             to migrate through informal channels, subsequently increasing their
standard protocols for referring victims to NGOs for specialized care.        vulnerability to trafficking. The government did not report whether
                                                                              it implemented existing MOUs on safe labor recruitment with the
The government relied on NGOs to care for trafficking victims. During
                                                                              Governments of Kuwait and Lebanon. MLSS had strict licensing
the reporting period, one NGO-operated shelter for female and child
                                                                              procedures for new recruitment agencies to prevent exploitation of
trafficking victims provided medical, psycho-social, educational,
                                                                              migrant workers, including required vetting by the TOCU. The MLSS
legal, vocational, family tracing, and reintegration support to at least
                                                                              launched a new Labor Migration Policy to improve protections for
31 labor trafficking victims, 26 of whom were children; adult victims
                                                                              migrant workers in Sierra Leone and Sierra Leoneans working abroad
were permitted to leave the shelter unchaperoned. Unlike the previous
                                                                              by ensuring greater cooperation among government stakeholders. In
reporting period, the government did not provide ﬁnancial or food
                                                                              August 2021, the government ratiﬁed the 2014 ILO Protocol on Forced
assistance to the shelter. Another NGO operated a shelter for vulnerable
                                                                              Labor along with eight ILO conventions. The MLSS did not report how
children, including trafficking victims. No shelters could accommodate
                                                                              many labor inspections it carried out and did not report identifying any
adult male victims. The government sometimes would provide adult
                                                                              cases of forced labor. Labor inspectors conducted most inspections in
male victims with funds to rent housing during investigations, but often
                                                                              the formal sector in the Freetown area, with most inspections dedicated
male victims slept at police stations while investigations were ongoing.
                                                                              to factories, quarries, and mining operations. Labor inspectors did not
Some victims stayed at Transnational Organized Crime Unit (TOCU)
                                                                              have sufficient resources to effectively monitor and investigate labor
facilities during investigations, and the government did not refer them
                                                                              violations; there were no dedicated child labor inspectors, which limited
for additional services. TOCU officials paid for food for these victims
                                                                              efforts to identify cases of forced child labor. Due to pandemic-related
out of their personal funds, as they did not have a budget for providing
                                                                              budget constraints, labor inspectors did not conduct monitoring in
victim services. In some cases, law enforcement temporarily sheltered
                                                                              the provinces. Labor inspectors received training on child labor from
child victims in their own homes during investigations. The government
                                                                              two international organizations but had not been trained on human
assisted in the repatriation of two Sierra Leonean children who may
                                                                              trafficking. The government did not make efforts to reduce the demand
have been trafficking victims in Guinea. An international organization
                                                                              for commercial sex acts. The government did not provide anti-trafficking
identiﬁed and assisted at least 27 Sierra Leonean trafficking victims
                                                                              training to its diplomatic personnel or peacekeepers.
exploited in the Middle East.



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                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 593 of 729
SINGAPORE                                                                                 trafficking victims or referring trafficking cases to law enforcement as
            TRAFFICKING PROFILE
            As reported over the past ﬁve years, human traffickers exploit domestic       a result. The government did not report providing services to any of
            and foreign victims in Sierra Leone, and traffickers exploit victims          the 26 potential victims. Some NGOs continued to express concern
            from Sierra Leone abroad. Traffickers recruit victims largely from            that authorities may penalize or deport some unidentiﬁed victims
            rural provinces to urban and mining centers for exploitation in sex           due to their lack of understanding of the impact indebtedness and
            trafficking and forced labor in domestic service, artisanal diamond           psychological coercion have on a trafficking victim. The government
            and granite mining, petty trading, portering, making ceramics, rock           did not take steps to eliminate all recruitment fees charged to workers
            breaking, quarrying, street crime, and begging. Traffickers exploit           by Singaporean labor recruiters and ensure any recruitment fees were
            victims in ﬁshing and agriculture and in sex trafficking or forced labor      paid by employers.
            through customary practices, such as forced marriages. The government
            reported child sex trafficking—especially of children from poor homes—                 SINGAPORE TIER RANKING BY YEAR
            was a serious problem, including at beaches and in nightclubs. Local               1
            demand fuels the majority of child sex trafficking, although foreign
                                                                                              2
            tourists are also clients at beaches and nightclubs. Some parents sold
            their children in commercial sex. In 2018, an NGO reported People’s             2WL
            Republic of China (PRC) national-owned companies helped to fuel                    3
            child sex trafficking in Freetown, citing speciﬁcally workers on PRC                      2015     2016     2017        2018   2019   2020   2021   2022
            national-owned ﬁshing vessels who bring girls to their boats at night
            for commercial sexual exploitation. Traffickers exploit traditional foster
            care practices called “menpikin” to convince parents to hand over
            their children by promising to provide an education or better life but        PRIORITIZED RECOMMENDATIONS:
            instead exploit the children in various forms of forced labor, including      Using the 2014 anti-trafficking law, increase investigations and
            domestic servitude, street vending, mining, agriculture, scavenging for       prosecutions, particularly of labor trafficking, including cases involving
            scrap metal, okada (motorbike taxi) driving, and sometimes commercial         domestic workers, debt manipulation, or psychological coercion, and
            sex. Economic vulnerability due to the pandemic increased children’s          convict and sentence convicted traffickers to penalties proportionate to
            susceptibility to exploitation, including in commercial sex and forced        the seriousness of the crime. • Increase resources for investigative and
            marriage.                                                                     prosecutorial training on trafficking for MOM officials who handle labor
                                                                                          violations. • Increase efforts to proactively identify trafficking victims,
            Traffickers exploit victims from neighboring West African countries in        particularly among vulnerable populations, including individuals in
            forced begging, forced labor, and sex trafficking in Sierra Leone, and        commercial sex and People’s Republic of China (PRC) nationals employed
            traffickers exploit Sierra Leoneans in neighboring countries, including       at PRC-affiliated company worksites. • Conduct training for front-line
            Mali, Niger, Liberia, and Guinea, for forced labor and sex trafficking.       law enforcement officials with a focus on screening for psychological
            According to an international organization, there has been an increase        coercion among individuals in commercial sex and individuals in debt. •
            in parents selling children into forced labor and sex trafficking in Guinea   Continue to implement reforms to the work permit sponsorship system so
            and Liberia. In previous years, traffickers exploited PRC national, Indian,   it does not provide excessive power to sponsors or employers in granting
            Lebanese, Kenyan, Pakistani, and Sri Lankan men in forced labor in            and maintaining the legal status of migrant workers. • Take steps to
            Sierra Leone. Cuban nationals working in Sierra Leone may have been           eliminate all recruitment fees charged to workers by Singaporean labor
            forced to work by the Cuban government. Traffickers have exploited            recruiters and ensure any recruitment fees are paid by employers. • Train
            boys and girls from Sierra Leone reportedly as “cultural dancers”—and         judges, prosecutors, and law enforcement officials on the application of
            possibly also for sexual exploitation—in The Gambia. Sierra Leonean           trafficking legislation, elements of trafficking, investigative techniques,
            adults voluntarily migrate to other West African countries, including         and evidence collection speciﬁc to trafficking cases. • Strengthen the
            Mauritania and Guinea, as well as to the Middle East and Europe,              legal framework to enhance protection for victims from punishment for
            where traffickers exploit some into forced labor and sex trafficking.         unlawful acts traffickers compel them to commit. • Refer all identiﬁed
            Traffickers also exploit Sierra Leonean women in domestic servitude in        victims to protection services, including PRC national overseas workers,
            Middle Eastern countries, including Oman, Iraq, Egypt, Qatar, Kuwait,         and develop formal policies to provide all victims the right to robust
            and Lebanon. Since 2017, an international organization repatriated            protective services. • Continue to strengthen cooperation and dialogue
            at least 1,500 Sierra Leoneans from Libya and other Middle Eastern            with NGOs for developing and implementing anti-trafficking policies
            countries, some of whom were victims of slavery and sex trafficking.          and assisting victims.
            In previous reporting periods, an international organization reported
            some Libyan soldiers sold stranded Sierra Leonean migrants in their           PROSECUTION
            custody to Libyan and Middle Eastern traffickers.                             The government maintained law enforcement efforts during the reporting
                                                                                          period, even though investigations and prosecutions under the trafficking
                                                                                          law decreased. The 2014 Prevention of Human Trafficking Act (PHTA)
                                                                                          criminalized sex trafficking and labor trafficking and prescribed penalties
             SINGAPORE: TIER 1                                                            of up to 10 years’ imprisonment and ﬁnes up to 100,000 Singapore dollars
                                                                                          (SGD) ($73,960), which were sufficiently stringent and, with respect to
            The Government of Singapore fully meets the minimum standards for             sex trafficking, commensurate with those prescribed for other serious
            the elimination of trafficking. The government continued to demonstrate       crimes, such as kidnapping. In addition, Article 140 of the Women’s
            serious and sustained efforts during the reporting period, considering        Charter criminalized “forced prostitution” involving detention or physical
            the impact of the COVID-19 pandemic on its anti-trafficking capacity;         force, and Article 141 criminalized the movement of women and girls
            therefore Singapore remained on Tier 1. These efforts included                for “trafficking” but did not deﬁne this term. Penalties prescribed for
            convicting two sex traffickers; conducting awareness campaigns;               these offenses included a maximum of seven years’ imprisonment and
            increasing checks on newly arriving migrant workers; and training             a ﬁne of up to 100,000 SGD ($73,960). The government investigated
            law enforcement, immigration, and Ministry of Manpower (MOM)                  most suspected labor trafficking cases as labor law offenses under the
            officials on victim identiﬁcation, legislation enforcement, and trafficking   Employment of Foreign Manpower Act (EFMA), or the Employment Act,
            indicators. Although the government meets the minimum standards, the          which carried lower penalties than the anti-trafficking law.
            government did not initiate any prosecutions for the second consecutive       In 2021, authorities investigated 11 sex trafficking cases, a decrease
            year under the trafficking law. The government investigated fewer             compared with 12 cases in 2020. MOM did not investigate any labor
            trafficking crimes and did not identify any potential labor trafficking       trafficking cases, compared with seven cases in 2020. MOM determined
            victims. While the government mandated new policies to detect the             none of the suspected sex trafficking cases in 2021 violated the PHTA
            abuse of foreign domestic workers, it did not report identifying more         and proceeded with charges under either the Women’s Charter or the

 488                                                                                                                                        Haiti AR_000969
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 594 of 729




                                                                                                                                                                SINGAPORE
Penal Code. The government reported pandemic-related restrictions,             The government did not report providing assistance to any of the 26
including border closures, led to fewer trafficking investigations but did     potential trafficking victims, compared with providing assistance to 24
not affect the government’s ability to prosecute trafficking crimes. For       potential trafficking victims, including shelter services for 16, in 2020. The
the second consecutive year, authorities did not initiate any prosecutions     government continued to provide assistance, including shelter, to seven
under the PHTA. Authorities continued one labor trafficking prosecution        trafficking victims from previous years. The government, in partnership
initiated in an earlier reporting period. Courts convicted one trafficker      with NGOs, could provide food, temporary shelter, counseling, and
under the PHTA and one trafficker under the Penal Code, compared               other protective services to trafficking victims; as outlined in section
with one trafficker convicted under the PHTA in 2020. In June 2021,            19 of PHTA. Potential trafficking victims could receive assistance before
courts sentenced the convicted sex trafficker under the PHTA to 35             authorities established an investigation as a trafficking case. These
months’ imprisonment and a ﬁne of 1,000 SGD ($740), following a case           services were not contingent on a victim’s assistance in the investigations
investigation initiated in 2018 involving a child victim. In December 2021,    but are assessed by the Director-General of Social Welfare whether
courts sentenced the other sex trafficker under the Penal Code to 15           they are considered practicable and necessary in the circumstances of
months’ imprisonment for commercial sex with a child. In August 2021,          the case; the government reported that so far no identiﬁed potential
courts amended a 2020 conviction under the PHTA of one trafficker to           trafficking victim has been refused services. The government funded
attempted trafficking and upheld the three non-PHTA charges against            four shelters with a total capacity of 234 for female victims of crime,
the trafficker, which reduced the sentence from 30 months’ imprisonment        including trafficking, and their children. The government offered shelter
and a ﬁne of 3,000 SGD ($2,220) to 19 months’ imprisonment and a ﬁne           services to all 26 potential trafficking victims; however, the government
of 2,500 SGD ($1,850) due to insufficient evidence to prove all required       reported none of the potential victims used shelter services, as they
elements of the PHTA. In September 2021, courts concluded a 2016 labor         stayed at other accommodations. The pandemic temporarily reduced
trafficking case involving two defendants; courts acquitted one defendant      the total capacity until December 2021; the Ministry of Social and Family
and withdrew charges from the other due to insufficient evidence.              Development opened an additional temporary shelter to ensure sufficient
Authorities reported investigating and prosecuting potential trafficking       capacity. MOM funded two additional shelters, with a total capacity of
crimes under non-trafficking statutes due to difficulties proving elements     68 individuals, for male foreign workers, one of which was speciﬁcally
of trafficking required by the PHTA beyond a reasonable doubt. While           designated for use by male trafficking victims. The government also
the government had yet to prosecute or convict any cases of domestic           provided partial funding and oversight to 21 homes serving vulnerable
servitude under the PHTA, courts convicted and imprisoned several              children, including child trafficking victims. Authorities permitted
employers of foreign domestic workers under non-trafficking laws for           freedom of movement outside of the shelter for most shelter residents
cases involving abuse, physical assault, and/or sexual assault. In one         but restricted movement for residents deemed to be under physical
case, courts convicted and sentenced an employer for the starvation,           threat. Several other NGOs and two foreign government embassies
torture, and culpable homicide of a foreign domestic worker to 30 years’       could also provide shelter to trafficking victims.
imprisonment, the longest sentencing in Singapore’s history for the
                                                                               The government, in partnership with NGOs, could provide additional
abuse of a foreign domestic worker. The government did not report any
                                                                               support measures, customized to victims’ needs, including interpreters,
investigations, prosecutions, or convictions of government employees
                                                                               medical services, skill development, temporary work permits, legal
complicit in human trafficking crimes.
                                                                               support, and resettlement assistance. Some victims may not have
Some NGOs continued to believe authorities set unreasonably high               received all services necessary for rehabilitation as the government
standards for crimes to qualify as trafficking and lacked an understanding     lacked a formal policy mandating the provision of services to all victims
of trafficking indicators such as indebtedness, psychological coercion, and    and instead provided some services on a case-by-case basis. Some NGOs
deception, which continued to hamper proper victim identiﬁcation. The          noted the interpreters provided did not receive training to work with
government continued to research and increase awareness on the issue           trafficking victims and were usually from the victim’s home country,
of psychological coercion. The government trained police, immigration,         which put additional pressure on the victim. The government reported
and MOM officials on victim identiﬁcation, legislation enforcement, and        spending approximately 66,000 SGD ($48,820) to provide care and
trafficking indicators. Authorities cooperated with foreign governments        support services for trafficking victims, compared with 156,000 SGD
on ongoing international trafficking cases. The government transitioned        ($115,380) in 2020. An NGO continued to support 10 foreign trafficking
some court cases to an internet-based video software program to avoid          victims referred by the government in prior reporting periods. The
court delays due to pandemic-related restrictions.                             government reported four victims continued to utilize short-term work
                                                                               permits, available for the duration of the investigation and prosecution
PROTECTION                                                                     of the alleged trafficker; compared with ﬁve victims in the previous
The government decreased protection efforts. The government identiﬁed          reporting period.
26 potential trafficking victims, all sex trafficking victims, compared with
                                                                               Courts did not provide restitution to any trafficking victims during
23 potential victims (16 sex trafficking victims and seven labor trafficking
                                                                               the reporting period, and the government reported no victims sought
victims) in 2020. Police, labor, and immigration officials had standard
                                                                               restitution in 2021. NGOs offered trafficking victims Pro bono legal
operating procedures for identifying victims, and other government
                                                                               assistance to pursue compensation in civil court. The government,
officials, civil society organizations, and foreign embassies could refer
                                                                               in partnership with two NGOs, created a legal toolkit for victims of
potential victims to MOM and the Singapore Police Force. Several
                                                                               crime, including trafficking victims, to navigate the criminal justice
NGOs continued to report government officials failed to recognize key
                                                                               system. The government issued special immigration passes that allowed
indicators of trafficking when interviewing potential victims, particularly
                                                                               foreign victims to remain and work in the country for the duration
in cases involving psychological coercion or debt bondage, and among
                                                                               of investigations and legal proceedings. However, an NGO reported
migrant workers. NGOs voiced concern police did not consistently screen
                                                                               that contrary to current policy, which would allow a foreign victim to
for trafficking indicators during raids on unlicensed commercial sex
                                                                               apply for new employment and a work permit after the proceedings
establishments. In July 2021, authorities raided 27 karaoke bars operating
                                                                               completed, authorities most likely required foreign victims to leave the
illegally under pandemic restrictions and arrested and charged 29 women
                                                                               country in practice. The government could provide protective measures
with crimes under the Women’s Charter, the Immigration Act, and the
                                                                               for victims who participated in prosecutions, including in-camera court
EFMA and deported 10 of them; the government reported screening
                                                                               proceedings for child victims, protection of the victim’s identity, and
the women for trafficking indicators but did not identify any victims.
                                                                               media gag-orders for all sex trafficking cases. The government reported
An NGO reported that two cases they encountered exhibited possible
                                                                               one victim participated as a witness in a child sex trafficking prosecution;
trafficking indicators and that authorities may have penalized or deported
                                                                               court proceedings were ongoing, and authorities referred the victim
numerous unidentiﬁed labor trafficking victims. The government reported
                                                                               to protective services.
screening PRC nationals for trafficking indicators in the onboarding
centers upon arrival in Singapore and conducting labor inspections at          In 2020, the government established an interagency team of officers to
worksites of PRC-affiliated companies.                                         manage the risk and outbreaks of the COVID-19 virus among migrant
                                                                               workers and address workers’ issues, including employment, within
                                                                               migrant worker dormitories. However, NGOs reported front-line officers
                                                                                                                                  Haiti AR_000970               489
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 595 of 729
SINGAPORE   deployed to migrant worker dormitories focused primarily on pandemic-           introduced a pilot program where quarantine costs could be shared
            mitigation efforts and did not proactively screen for trafficking indicators;   between employers of certain workers if the employee transferred
            as a result, some victims may have remained unidentiﬁed. In 2021, the           within the ﬁrst 12 months.
            government expanded a phone application’s ability, previously created
                                                                                            In 2021, the government eased regulations that had allowed employers
            for pandemic-related health tracking purposes, to be used to report
                                                                                            to limit the movement of migrant workers living in dormitories during
            employer related issues, including trafficking, to MOM directly; NGOs
                                                                                            the pandemic. However, NGOs reported migrant workers’ freedom of
            welcomed this expansion of reporting as it increased interactions and
                                                                                            movement continued to be restricted and limited to a greater extent
            reporting options. MOM continued to publicize its phone number and
                                                                                            than the general population during the pandemic. From September
            a mobile phone application, as well as three NGO-operated 24-hour
                                                                                            2021, the government gradually eased restrictions in practice that
            hotlines, for migrant workers who experience problems; the government
                                                                                            allowed migrant workers to visit pre-identiﬁed community locations for
            did not report any trafficking-related cases resulting from the hotlines.
                                                                                            six hours if pandemic precautions were met; later the criteria for exits
                                                                                            were further eased and hours and locations increased. In September
            PREVENTION                                                                      2021, the government reported implementing improved living standards
            The government maintained efforts to prevent trafficking. The
                                                                                            within the dormitories, but in October 2021, migrant workers reported
            interagency task force, co-chaired by the Ministry of Home Affairs and
                                                                                            poor living conditions, including improper isolation measures and lack
            MOM, coordinated anti-trafficking efforts through its “National Approach
                                                                                            of timely medical assistance, in one of the new dormitories.
            against Trafficking in Persons, 2016-2026.” In December 2021, the task
            force virtually held its annual stakeholder consultation with NGOs,             Singapore law did not prescribe a minimum wage. Under the
            businesses, and academia to review the implementation of the national           Employment Act, wages were negotiated and outlined in individual
            plan. The government continued to budget 80,000 SGD ($59,170) to                contracts of service. The law did not detail requirements for foreign
            provide grants to civil society for anti-trafficking awareness-raising          domestic workers and ﬁshing crews employed locally, who were covered
            campaigns. In addition, the government held awareness campaigns                 under the EFMA and for whom the law required employers to provide
            targeting migrant workers and the public. Singapore’s Employment                a document containing employment terms such as monthly salary,
            Agencies Act (EAA) mandated licensing and regulation of recruitment             number of rest days, and agency fees. The government mandated
            agents. The government did not take steps to eliminate all recruitment          new policies to detect signs of abuse of foreign domestic workers,
            fees. The EAA rules capped the maximum recruitment fee a worker                 including more comprehensive health checks without the employer
            may pay an agent at one month’s salary for each year of a valid work            present, increased random house checks, and two interviews, instead
            permit or the period of the employment contract, whichever was shorter,         of one, during the ﬁrst year of employment. In criminal cases of abuse
            and subject to an overall maximum of two months’ salary. The majority           of foreign domestic workers, the High Court previously stipulated that
            of migrant workers in Singapore paid fees to agents in Singapore as             courts should consider compensation for pain and suffering, as well as
            well as to recruitment agents in their home country, which contributed          restitution for wages. In July 2021, MOM passed regulations that, by the
            to the workers’ vulnerability to debt bondage. MOM prosecuted 12                end of 2022, employers must provide foreign domestic workers one
            recruitment agencies and issued warning letters or ﬁnes to another              rest day per month. MOM continued to implement a policy requiring
            44 recruitment agencies for not being licensed, compared with the               employers to notify MOM if they reduce a migrant worker’s salary from
            prosecution of ﬁve unlicensed recruitment agencies and warning letters          what was stated on the application for the employee’s work permit
            sent to 53 agencies in 2020.                                                    and after both the employer and employee had agreed to the change
                                                                                            in writing. An NGO continued to note this policy did not address the
            MOM managed the work permit process for foreign workers; Singaporean
                                                                                            unequal power dynamic between employer and employee, given the
            employers applied to MOM to sponsor skilled and semi-skilled workers
                                                                                            vulnerability of those who paid recruitment costs to be coerced to sign a
            whose employment and legal immigration status was tied to that
                                                                                            new salary agreement through the threat of termination and repatriation.
            speciﬁc employer. However, government policy allowed workers to
                                                                                            The government convicted 21 employers for making false declarations
            change their employment without their previous employer’s consent in
                                                                                            of higher salaries to obtain employee work passes, compared with 11
            limited circumstances when workers had employment-related claims,
                                                                                            the previous year. MOM allowed employers or recruitment agents to
            such as salary delays, that MOM deemed valid. Some observers noted
                                                                                            open a fee-free bank account on behalf of the employee as part of the
            this restriction made migrant workers vulnerable to forced labor.
                                                                                            recruitment process so the worker’s salary could be electronically paid;
            NGOs stated this restriction on job mobility, coupled with the ability
                                                                                            due to the pandemic, the government required employers of migrant
            of employers to terminate a worker’s employment at any time without
                                                                                            workers living in dormitories to open bank accounts for their workers
            the need to show cause, created a form of “structural coercion” that
                                                                                            and pay them electronically. Since the introduction of the accounts, two
            prevented some foreign migrant workers from resisting and contesting
                                                                                            NGOs estimated that more than 840,000 migrant workers had bank
            exploitation. The government established a new retention program
                                                                                            accounts in 2021. NGOs reported that despite these efforts, employers
            focused on facilitating job-matching and retaining workers after their
                                                                                            still paid some of the workers in cash, did not provide workers with
            work permits expired. The government also changed the time window
                                                                                            their full base salaries, or illegally deducted expenses from workers’
            for foreign construction workers to transfer their work permits to a new
                                                                                            pay. MOM prohibited employers of foreign domestic workers from
            employer; an industry association had 30 days from when the work
                                                                                            retaining any wages or money belonging to the domestic worker;
            permit expired or was cancelled to ﬁnd a new employer for the worker
                                                                                            however, NGOs reported employers still did so.
            without needing consent from the current employer, compared to the
            previous 20-day window before the work permit expired when the                  The government mandated foreign migrant workers in the construction,
            employee could ﬁnd a new employer. If the worker and the previous               manufacturing, marine shipyard, and processing industries complete
            employer agreed, authorities could extend the work permit for the 30-           the one-day Settling-in-Program (SIP), delivered entirely by an NGO,
            day period, and the worker could continue to work while the association         within 14 days of arriving in Singapore. One of the ﬁve modules covered
            found a new employer. NGOs welcomed the extended time window                    employment rights and information on how to receive assistance; the
            but criticized the limitations on worker’s freedom to work and look for         module included one section on trafficking. An NGO reported that
            a new employer simultaneously without consent from their current                after completing the SIP many migrant workers were still unaware of
            employer and that workers were forced to be placed in the job-matching          their rights or whom to reach out to for help. In addition to worker
            retention system in which they were not allowed to ﬁnd an employer              programs, an employer program was mandatory for ﬁrst-time employers
            on their own. In addition, NGOs raised concerns that the previous               of foreign domestic workers to review their responsibilities; an NGO
            employer still had the right to renew or terminate the worker’s work            reported that over time employers likely forgot many of the rules and
            permit, limiting the employee’s ability to ﬁnd new employment. NGOs             regulations because they only had to complete the program once and
            had encountered cases of early work permit cancellation and cases of            could complete the program online. The government continued to air
            employers trying to recover pandemic-related quarantine costs from              a pre-departure video at overseas testing centers for construction
            the employee, sometimes not allowing them to transfer otherwise,                workers to explain foreign workers’ employment rights in Singapore.
            despite government prohibitions on this practice. The government                The government built new onboarding centers for migrant workers
                                                                                            arriving in the country to work in the construction, marine shipyard,
 490                                                                                                                                    Haiti AR_000971
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 596 of 729




                                                                                                                                                                                 SINT MAARTEN
and process sectors. These centers were one-stop service centers
for workers to complete their medical examinations and SIP. Front-                                  SINT MAARTEN TIER RANKING BY YEAR
line MOM workers stationed at the center had training on trafficking                            1
indicators. The government did not make efforts to reduce the demand                            2
for commercial sex acts.
                                                                                             2WL

TRAFFICKING PROFILE                                                                             3
                                                                                                       2015     2016      2017     2018    2019     2020      2021    2022
As reported over the past ﬁve years, human traffickers exploit domestic
and foreign victims in Singapore. Some of the 849,700 foreign work
permit holders who comprise almost one-quarter of Singapore’s labor
force are at risk of trafficking. Most victims migrate willingly for work                 PRIORITIZED RECOMMENDATIONS:
in construction, domestic service, performing arts, manufacturing, the                    Significantly increase efforts to investigate, prosecute, and, as
service industry, or commercial sex but may later face exploitation                       appropriate, convict human traffickers as distinct from migrant smugglers.
in these sectors. To migrate, many workers assume large debts to                          • Proactively identify trafficking victims, such as by screening migrant
recruitment agents in their home countries and sometimes in Singapore,                    workers for trafficking indicators; provide adequate protection to
placing them at risk for debt bondage. Foreign women who arrive in                        identiﬁed trafficking victims; and cease the deportation of victims. •
Singapore to work in the entertainment sector, including nightclubs and                   Train law enforcement and other officials to recognize human trafficking
bars, may be vulnerable to sex and labor trafficking. Traffickers compel                  as a crime distinct from migrant smuggling and correct institutional
foreign workers into sex trafficking or forced labor through threats of                   conﬂation of the crimes. • Improve coordination and information-
forced repatriation without pay, restrictions on movement, physical                       sharing with anti-trafficking counterparts across the Kingdom of the
and sexual abuse, and withholding wages and travel documents, such                        Netherlands. • Increase the availability of protection services, including
as passports. Some recruitment agencies illegally engage in contract                      shelters, in partnership with NGOs, the Kingdom of the Netherlands,
switching and charge workers fees more than the legal limit. Foreign                      and international organizations. • Re-establish the central reporting
workers have credible fears of losing their work visas and being                          bureau to improve coordination of victim protection and prevention
deported, since employers have the ability to repatriate workers legally                  efforts. • Train law enforcement officials, prosecutors, and judges on
at any time during their contracts with minimal notice. Unscrupulous                      proactive victim identiﬁcation and victim-centered approaches to
employers exploit the limited transferability of low-skilled work visas                   trafficking cases. • Adopt and implement formal standard operating
to control or manipulate workers. PRC nationals employed in Singapore                     procedures (SOPs) to guide officials, including health workers, on victim
at PRC-affiliated company worksites were vulnerable to forced labor.                      identiﬁcation and referral. • Inform victims and potential victims of their
Foreign women sometimes arrive in Singapore with the intention of                         rights. • Increase outreach to all incoming migrants, including domestic
engaging in Singapore’s regulated commercial sex sector, but under                        workers and individuals with temporary entertainment visas, to ensure
the threat of serious harm or other forms of coercion, they become                        they are informed of their rights and ways to seek assistance. • Raise
victims of sex trafficking. Foreign women employed as domestic                            awareness among the general public and vulnerable groups about
workers are vulnerable to trafficking. Foreign workers from countries                     human trafficking in Sint Maarten.
with a small presence in Singapore can experience language barriers
that increase their isolation. Anecdotal reports show an increase of
                                                                                          PROSECUTION
                                                                                          The government further decreased its minimal prosecution efforts.
locals, permanent residents, and long-term pass holders working in
                                                                                          Article 2:239 of the penal code criminalized sex trafficking and labor
the regulated commercial sex sector, some of whom may be vulnerable
                                                                                          trafficking and prescribed penalties of up to nine years’ imprisonment
to sex trafficking, in connection with a decrease of foreign workers
                                                                                          or a ﬁne for offenses involving a victim 16 years of age or older, and up
entering the country due to pandemic-related border restrictions.
                                                                                          to 12 years’ imprisonment or a ﬁne for those involving a victim younger
Reports indicate that some ﬁshing vessel captains of long-haul boats
                                                                                          than the age of 16. These penalties were sufficiently stringent and, with
that transit or dock at Singaporean ports use physical abuse to force
                                                                                          respect to sex trafficking, commensurate with penalties prescribed for
men to perform labor. A small number of Singapore residents facilitate
                                                                                          other serious crimes, such as kidnapping.
and engage in child sex tourism abroad.
                                                                                          The government reported initiating one trafficking-related investigation
                                                                                          in 2021, which concluded when officials determined the case was not a
                                                                                          trafficking crime. Otherwise, the government did not report additional
 SINT MAARTEN: TIER 3§                                                                    investigations, prosecutions, or convictions related to trafficking in 2021;
                                                                                          this was compared with no investigations, prosecutions, or convictions
                                                                                          in 2020 and one investigation, one prosecution, and one conviction
The Government of Sint Maarten does not fully meet the minimum
                                                                                          in 2019. Severe, proliﬁc conﬂation of human trafficking and migrant
standards for the elimination of trafficking and is not making signiﬁcant
                                                                                          smuggling obstructed attempts to investigate, prosecute, or convict
efforts to do so, even considering the impact of the COVID-19 pandemic,
                                                                                          traffickers; promoted harmful misconceptions about trafficking; and
if any, on its anti-trafficking capacity; therefore Sint Maarten was                      limited law enforcement officials’ capacity to recognize trafficking
downgraded to Tier 3. Despite the lack of signiﬁcant efforts, the                         indicators and identify trafficking victims.
government took some steps to address trafficking, including
investigating a potential trafficking case. However, the government                       Sint Maarten assigned a police unit to combat both trafficking in persons
did not report prosecuting or convicting any traffickers or identifying                   and human smuggling (the anti-HTHS unit), consisting of seven officers.
any trafficking victims for the second consecutive year. Further, the                     The anti-HTHS unit operated with limited resources and without a
government was not equipped to provide services to trafficking victims;                   dedicated budget; observers reported the unit frequently prioritized
it did not have shelters, did not allocate funding, and did not have formal               operations to counter migrant smuggling over trafficking investigations.
arrangements with service providers. The government did not update                        The anti-HTHS unit collaborated with other agencies, including the
its national action plan (NAP), which expired in 2018, and interagency                    Royal Netherlands Marechaussee and the joint Dutch Caribbean Coast
                                                                                          Guard, but this coordination was not formalized, and observers reported
coordination was severely lacking. Officials consistently conﬂated
                                                                                          interagency communication was inefficient. The government did not
human trafficking and migrant smuggling, hindering the effectiveness
                                                                                          report any investigations, prosecutions, or convictions of government
of the government’s meager anti-trafficking efforts.
                                                                                          employees complicit in human trafficking crimes. The Kingdom of the



§Sint Maarten is a semi-autonomous entity within the Kingdom of the Netherlands. For the purpose of this report, Sint Maarten is not a “country” to which the minimum
standards for the elimination of trafficking in the Trafficking Victims Protection Act apply. This narrative reﬂects how Sint Maarten would be assessed if it were a separate,
independent country. However, the Kingdom is an important contributor to the Government of Sint Maarten’s anti-trafficking efforts.

                                                                                                                                                  Haiti AR_000972                491
                      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 597 of 729
SLOVAK REPUBLIC
                  Netherlands funded a training on the anti-trafficking legal framework             of migrant workers about applicable laws. The government did not have
                  for border protection officials. The government did not report any                a trafficking-speciﬁc hotline to receive public reports of trafficking;
                  substantive collaboration with foreign governments on trafficking cases.          however, it reported that police emergency hotline operators could
                                                                                                    provide callers with a contact number for the anti-HTHS unit. The border
                  PROTECTION                                                                        control agency maintained an immigration hotline. The government did
                  The government maintained inadequate protection efforts. Authorities              not report receiving any trafficking-related information from any hotlines.
                  did not identify any trafficking victims in 2021, compared with identifying
                  no victims in 2020, and 29 in 2019. For the fourth consecutive year, the          TRAFFICKING PROFILE
                  government did not report providing any protection services to victims,           As reported over the past ﬁve years, human traffickers exploit domestic
                  including to victims identiﬁed in past years. The government did not              and foreign victims in Sint Maarten. Some brothel and dance club owners
                  have SOPs for the identiﬁcation or referral of victims and, instead, relied       exploit women and girls from Latin America, the Caribbean, Eastern
                  on informal arrangements between government agencies. Government                  Europe, and Russia in sex trafficking. Illicit recruiters reportedly target
                  officials could use an NGO-developed checklist of trafficking indicators          foreign women in Sint Maarten’s commercial sex industry through debt-
                  to facilitate victim identiﬁcation; the government reported it distributed        based coercion; women from Haiti, Dominican Republic, and Venezuela
                  pamphlets featuring the checklist to immigration officials and other              are especially vulnerable to sex trafficking in Sint Maarten. Government
                  government stakeholders who might encounter potential victims.                    officials report a signiﬁcant number of migrant workers are vulnerable to
                  However, the government did not report efforts to proactively screen              traffickers’ coercive schemes in domestic service, construction, People’s
                  vulnerable populations, such as individuals in commercial sex and                 Republic of China national-owned markets, retail shops, food service,
                  undocumented migrants, using the checklist, as it had in past years.              landscaping, and housekeeping. The government’s reduction of visas
                                                                                                    for foreign workers in certain sectors, including adult entertainment,
                  The government did not have a lead agency responsible for victim
                                                                                                    increased their vulnerability to trafficking. Authorities report traffickers
                  protection; this role was previously held by the National Reporting Bureau
                                                                                                    may coerce Asian and Caribbean workers in exploitative conditions
                  on Human Trafficking, which ceased operations in 2016. Officials reported
                                                                                                    indicative of forced labor. Criminal actors, including smugglers, subject
                  the government’s victim support agency served victims of all crimes;
                                                                                                    migrants—speciﬁcally Cuban and Brazilian nationals—who transit Sint
                  however, the government did not allocate funding to provide services
                                                                                                    Maarten en route to the United States and Canada to forced labor or
                  for trafficking victims, instead relying on civil society organizations to
                                                                                                    sex trafficking. There are indications traffickers exploit, under false
                  provide care services such as shelter, counseling, and medical attention.
                                                                                                    pretenses, Colombian and Venezuelan women traveling to the islands
                  The government did not report providing ﬁnancial support to shelters
                                                                                                    in forced labor or sex trafficking.
                  or other organizations equipped to support trafficking victims. There
                  were no dedicated shelters for trafficking victims, but the government
                  reported it could, on a case-by-case basis, refer victims to an international
                  organization or NGOs for shelter. An NGO-run shelter for victims of
                  domestic violence could sometimes accommodate female trafficking                   SLOVAK REPUBLIC: TIER 2
                  victims. The government did not report any victims receiving shelter in
                  2021. Observers reported the government failed to adequately inform               The Government of the Slovak Republic, or Slovakia, does not fully
                  potential victims of their rights as trafficking victims. Foreign victims could   meet the minimum standards for the elimination of trafficking but is
                  apply for temporary residency status, but this status was only valid for the      making signiﬁcant efforts to do so. The government demonstrated
                  duration of criminal proceedings against their trafficker. The government         overall increasing efforts compared with the previous reporting period,
                  considered residency status to be a temporary measure to facilitate victim        considering the impact of the COVID-19 pandemic on its anti-trafficking
                  cooperation in the trial against their traffickers, rather than a means of        capacity; therefore Slovakia remained on Tier 2. These efforts included
                  ensuring victims have legal alternatives to removal to countries where            prosecuting and convicting more traffickers than the prior year. The
                  they would face retribution or hardship; the government last reported             government also operationalized 15 victim interview rooms across the
                  granting a residence permit to a trafficking victim in December 2015.             county and approved an additional national action plan to implement
                  When trafficking victims or potential victims did not have residence              GRETA’s trafficking recommendations. However, the government did not
                  permits, the government returned them to their home countries. Due                meet the minimum standards in several key areas. Judges continued to
                  to a lack of formal identiﬁcation procedures and widespread conﬂation             issue lenient sentencing, resulting in 71 percent of convicted traffickers
                  of human trafficking and migrant smuggling, authorities likely deported           receiving fully suspended sentences in 2021, which undercut efforts to hold
                  and otherwise penalized unidentiﬁed trafficking victims for unlawful              traffickers accountable, weakened deterrence, created potential security
                  acts their traffickers compelled them to commit. The anti-trafficking
                                                                                                    and safety concerns for victims, and was not equal to the seriousness
                  law allowed victims to request restitution as part of criminal cases or
                                                                                                    of the crime. The government also decreased investigations and victim
                  ﬁle a civil suit against traffickers to obtain compensation; however, the
                                                                                                    identiﬁcation compared with the prior year. Gaps in victim identiﬁcation
                  government did not report whether any victims pursued this action.
                                                                                                    continued, and the government did not adequately and proactively
                                                                                                    identify foreign national or Slovak trafficking victims within the country.
                  PREVENTION
                                                                                                    The government also continued to lack legal safeguards to protect victims
                  The government maintained inadequate efforts to prevent trafficking.
                                                                                                    against potential penalization for unlawful acts traffickers compelled
                  The national anti-trafficking coordinator nominally led efforts to combat
                                                                                                    them to commit. Furthermore, the government did not report adequately
                  human trafficking but had no budget or staff in this capacity and had
                                                                                                    training prosecutors and judges on trafficking and did not report awarding
                  other full-time law enforcement duties. The government did not have
                  an anti-trafficking coordinating body. Officials reported no efforts to           restitution to any trafficking victims and rarely awarded compensation.
                  draft a NAP to combat trafficking; the previous NAP expired in 2018. An
                  existing border security agreement between the Netherlands, Curaçao,                      SLOVAK REPUBLIC TIER RANKING BY YEAR
                  and Sint Maarten (the Onderlinge Regeling Vreemdelingenketen)                         1
                  purportedly included trafficking. The government did not report any
                                                                                                        2
                  new or ongoing efforts to raise awareness of trafficking in the general
                  public. The government demonstrated an injurious misunderstanding of                2WL
                  human trafficking; in an effort to prevent trafficking, its officials advocated       3
                  for the government to reduce or eliminate visas for individuals seeking                     2015      2016      2017     2018    2019   2020   2021    2022
                  work in certain “vulnerable sectors”—an action that could increase these
                  individuals’ vulnerability to trafficking by preventing them from legally
                  migrating and working in these sectors. The government did not make
                  efforts to reduce the demand for commercial sex acts. The government
                  did not report whether it continued the practice of informing employers

   492                                                                                                                                               Haiti AR_000973
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 598 of 729




                                                                                                                                                                  SLOVAK REPUBLIC
PRIORITIZED RECOMMENDATIONS:                                                    serious concern; over the past eight years, approximately 69 percent
Continue to vigorously investigate, prosecute, and convict traffickers          of all trafficking convictions resulted in fully suspended sentences or a
and sentence those convicted to signiﬁcant prison terms. • Continue to          ﬁne. In March 2021, the Information Center (IC) within the Ministry of
increase training for judges and prosecutors with a focus on a victim-          Interior (MOI) published an extensive and comprehensive report. The
centered, trauma-informed approach to law enforcement efforts and               report included the analysis of previous sentences for traffickers from
trial, as well as on the use of psychological coercion and fraud as means       2015 to 2020, with a speciﬁc emphasis on the use of section 39 of the
of trafficking. • Continue to improve sentencing norms by sensitizing           criminal code, which permitted judges to reduce sentences below
judges to the severity of trafficking crimes and the full range of penalties    minimum sentencing thresholds. The report asserted that because
available. • Improve efforts to proactively identify victims within the         judges applied section 39 to 77 percent of all trafficking cases, almost
country, especially foreign nationals and Roma, and include training            70 percent of convicted traffickers received a sentence lower than
to government officials, particularly border police, labor inspectors,          the prescribed four-year minimum for conviction under Article 179;
and municipal law enforcement, on proactive victim identiﬁcation                64 percent of convicted traffickers received a suspended sentence;
among vulnerable groups. • Allow formal victim identiﬁcation by and             and even for those traffickers who received prison sentences, at least
referral from entities other than the police, including civil society, social   10 traffickers (13 percent) were released from prison early. Lenient
workers, and healthcare professionals. • Improve the quality of human           sentencing undercut efforts to hold traffickers accountable, weakened
trafficking training courses available to prosecutors and judges. •             deterrence, created potential security and safety concerns—particularly
Increase awareness of and trafficking survivor access to damages and            for victims who cooperated with investigations and prosecutions—and
compensation and increase prosecutor’s efforts to systematically request        was not equal to the seriousness of the crime. In comparison, of the
restitution for survivors during criminal trials. • Ensure labor trafficking    27 convicted rapists in 2021, 52 percent were sentenced to one year or
is investigated and prosecuted as a trafficking crime and not pursued           longer imprisonment.
as an administrative labor code violation. • Increase migrant worker            Corruption, inefficiency, and lack of accountability within the judicial
protections by increasing efforts to monitor labor recruitment companies,       branch remained concerns during the reporting period and may have
including prosecutions for fraudulent labor recruitment. • Amend the            hindered law enforcement efforts. The government did not report any
law on the non-punishment of victims to ensure that trafficking victims         investigations, prosecutions, or convictions of government employees
are not inappropriately penalized for unlawful acts traffickers compel          complicit in trafficking crimes. Civil society and a government-funded
them to commit. • Continue efforts to inform foreign worker groups of           NGO, which served as the national victim-care service provider, continued
worker rights and responsibilities and victim assistance resources in           to express concern that many prosecutors and judges assigned to
their native languages. • Streamline deﬁnitions and methodologies for           trafficking cases were not adequately trained on victim-centered and
gathering law enforcement and victim data. • Update public awareness            trauma-informed approaches or on the speciﬁcities of trafficking crimes.
campaigns to portray human trafficking in a more realistic manner. •            Civil society noted that judges often failed to factor in how trauma could
Effectively implement formal written procedures for a victim referral           impact victim testimony. Experts noted that the inadequate quality and
mechanism that outline roles for all officials and stakeholders in order        availability of anti-trafficking training courses offered to prosecutors
to improve victims’ access to and the quality of assistance. • Improve          and judges at the Judicial Academy may have contributed to their
the coordination of protection services to children. • Explore utilization      continued misunderstanding of the crime. While the government and
of the witness protection program for trafficking victims. • Enforce the        government-funded NGOs continued to make efforts to institutionalize
law prohibiting recruitment fees charged to workers and ensure any              human trafficking training among law enforcement officials, despite the
recruitment fees are paid by employers. • Continue to pursue ﬁnancial           conclusions of the IC report, the participation of judges in these trainings
crime investigations in tandem with human trafficking cases. • Ensure           remained low. Some prosecutors and judges continued to misunderstand
consistent early access to free legal aid.                                      non-violent, psychological coercion and fraud as means for the crime,
                                                                                had not used either in any recent trafficking cases, and continued to rely
PROSECUTION                                                                     predominately on evidence of force and physical limitations on victims’
The government maintained law enforcement efforts. Section 179 of               liberty in trials. Experts asserted a lack of expertise and understanding of
the criminal code criminalized sex trafficking and labor trafficking            the severity of the crime, the limited use of corroborating evidence, and
and prescribed penalties of four to 10 years’ imprisonment. These               an overreliance on the testimonies of traumatized victims contributed to
penalties were sufficiently stringent and, with respect to sex trafficking,     lenient sentences for convicted traffickers. Further, racial bias, particularly
commensurate with those prescribed for other serious crimes, such               for cases involving victims from underserved Romani communities, may
as rape. In November 2021, the Ministry of Justice (MOJ) submitted              have contributed to more lenient sentences.
for Parliamentary review a draft amendment proposing an increase in
penalties for human trafficking and criminalizing the knowing use of            Police and prosecutors continued to cooperate on several ongoing
services from a trafficking victim; at the close of the reporting period,       international investigations with Europol, Eurojust, Frontex, the United
the amendment was not yet adopted.                                              Kingdom (UK), Germany, and the Netherlands and in 2021 reported the
                                                                                identiﬁcation of an additional eight Slovak trafficking victims in the UK,
Though some pandemic-related delays continued to occur throughout               asset forfeiture for a convicted trafficker, and the conviction of ﬁve
the reporting period, law enforcement efforts largely continued                 Slovak traffickers in the UK as a result of this cooperation. In 2021, the
unencumbered. Government officials initiated investigations of 20               government provided comprehensive anti-trafficking training—both
new cases in 2021, a decrease compared with 28 investigations in                in-person and virtually due to the pandemic—to a variety of civil society
2020; 24 investigations initiated in prior reporting periods remained           stakeholders and government officials; the training focused on improving
ongoing. Of the 20 investigations, 10 cases were for sex trafficking,           the identiﬁcation and assistance of trafficking victims, especially among
eight were for labor trafficking (two for domestic servitude and one            the foreign national population, the Roma, and children, upholding
for forced criminality), and two were combinations of multiple forms            victim rights, and outlining available assistance programs.
of trafficking. Prosecutors indicted 21 alleged traffickers in 2021, an
increase compared with 14 in 2020, but less than the 38 indictments             In September 2021, the government renamed the police anti-trafficking
in 2019. Courts convicted 21 traffickers in 2021, a signiﬁcant increase         department of the Irregular Migration Unit within the Bureau of Border
compared with nine in 2020 and 11 in 2019. However, the government did          and Alien Police (BBAP) as the Coordination Department. Reportedly,
not adequately disaggregate data between sex and labor trafficking for          the department still maintained responsibility for coordinating national
prosecutions or convictions. Of the convicted traffickers, 14 were male,        anti-trafficking law enforcement efforts; however, experts highlighted
seven were female, and all were Slovak nationals. Of the 21 convictions,        concerns regarding prioritization of trafficking and the department’s
six traffickers (29 percent) received signiﬁcant sentences of one year or       capacity for victim identiﬁcation domestically as in past years. Although
longer imprisonment. However, 15 (71 percent) received fully suspended          there was no dedicated trafficking unit within the prosecution service,
sentences and served no jail time. Three cases from prior reporting             cases were usually assigned to those with experience prosecuting
periods were upheld on appeal, but judges reduced the penalties in two.         trafficking, and prosecutors followed written guidance to provide
Lenient sentencing, speciﬁcally fully suspended sentences, remained a           victims with information on the prosecution process and resources
                                                                                available to them. Each of the eight regional prosecutorial offices had
                                                                                                                                    Haiti AR_000974               493
                      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 599 of 729
SLOVAK REPUBLIC
                  a human trafficking lead who could provide guidance and oversight on         states and frequently ended up homeless. In its June 2020 Report,
                  trafficking-related cases. Law enforcement officers and prosecutors          GRETA noted concern regarding the traditionally low participation in the
                  reported coordination between them remained effective. However,              victim-care program and urged the government to investigate further.
                  prosecutors and some front-line officials continued to view possible         The government reported foreign victims, including both EU nationals
                  cases of labor trafficking as administrative labor code violations and       and third-country nationals, had access to the same scope and quality
                  did not prosecute as trafficking crimes. The national police continued to    of victim care and support. All potential victims were eligible for at
                  cooperate with the police ﬁnancial intelligence unit to uncover suspicious   least 90 days of crisis care; victims enrolled in the assistance program
                  transactions indicative of trafficking but did not report uncovering any     were eligible for up to 180 days of care without having to participate
                  trafficking cases as a result of the cooperation. While the MOI and police   in an investigation. However, victims who chose to cooperate with
                  enhanced coordination and cooperation on gathering law enforcement           law enforcement were eligible to access victim care for the duration
                  and victim identiﬁcation statistics, differences in how government and       of the investigation and trial, which was often much longer than 180
                  non-governmental actors gathered victim statistics continued to hinder       days; all but one victim cooperated with police and prosecutors during
                  effective comparison and monitoring of trafficking-related efforts.          the reporting period. Foreign victims, including trafficking victims,
                                                                                               who had been granted temporary residency, were included under
                  PROTECTION                                                                   the general government-funded healthcare insurance scheme, which
                  The government maintained insufficient protection efforts. The               improved the provision of healthcare services to potential foreign
                  government identiﬁed 34 victims in 2021 (compared with 50 in 2020            trafficking victims who chose not to enroll in the victim-care program.
                  and 53 in 2019), and an additional eight victims (compared with 11 in        The government did not have dedicated shelters for trafficking victims
                  2020) were either self-identiﬁed or identiﬁed by the victim-care service     but rather accommodated victims in domestic violence shelters, with
                  provider—bringing the total to 42 victims, a decrease compared with          men and women housed separately, or in homeless shelters; experts
                  61 in 2020 and 66 in 2019. Of the victims identiﬁed, 23 were female (10      urged the government to ensure specialized accommodations to
                  girls), and 19 were male (two boys). Of the victims identiﬁed by police,     address the unique needs of trafficking victims were available. There
                  15 were sex trafficking victims, two were victims of both sex and labor      were limited accommodations for victims with families. Children were
                  trafficking, and 17 were labor trafficking victims, including at least one   not usually assisted through the national victim-care program, rather
                  forced begging victim, one forced criminality victim, and two domestic       authorities placed unaccompanied child trafficking victims in the care
                  servitude victims. Of the victims identiﬁed, 32 were Slovak nationals,       of child protective services in a government-run children’s home or an
                  and two were Vietnamese nationals transiting Slovakia to Germany.            NGO-run crisis home for children. However, if a child trafficking victim
                  Children comprised approximately 30 percent of the total victims             required additional services, it was possible to utilize trafficking-speciﬁc
                  identiﬁed. Officials attributed lower victim identiﬁcation in 2021 to the    services through the national victim-care program. The government-
                  pandemic and a shift to online platforms making victim identiﬁcation         run children’s home was officially designated as responsible for child
                  more difficult, but they did not provide further details. Gaps in victim     trafficking victims, among other child victims, and could accommodate
                  identiﬁcation remained a concern: despite the large number of non-EU         up to eight victims. Referral of child victims to care was not systematic,
                  nationals present in Slovakia (approximately 111,500 in December 2021)       and officials noted that coordination between these two victim-care
                  and increased vulnerability to trafficking, no non-EU foreign nationals      regimes required improved streamlining.
                  were identiﬁed as trafficking victims exploited in Slovakia, and 21 of 34
                                                                                               Due to gaps in victim identiﬁcation, trafficking victims may have remained
                  victims (62 percent) were identiﬁed abroad by other entities—a long-
                                                                                               unidentiﬁed in asylum-seeker and detention facilities for undocumented
                  standing pattern in Slovakia. The government continued to utilize its
                                                                                               migrants. GRETA continued to express concerns related to the ability
                  national referral mechanism (NRM) for victim identiﬁcation and referral.
                                                                                               and willingness of labor inspectors and the Border and Alien Police to
                  However, prior concerns remained unaddressed, including the continued
                                                                                               thoroughly screen undocumented migrant workers or asylum-seekers
                  lack of clear roles and tailored guidelines to improve victims’ access
                                                                                               for trafficking indicators and refer them to assistance before deporting
                  to and quality of assistance for all front-line officials and stakeholders
                                                                                               them. Asylum-seekers could be kept in detention for up to six months
                  who were most likely to encounter trafficking victims—including, health
                                                                                               per Slovak law; the Center for Legal Aid visited detention centers
                  care specialists, employees of foster homes, and counselors of offices
                                                                                               during the reporting period, but the staff was not trained to identify
                  of labor, social affairs, and family—though targeted training mitigated
                                                                                               human trafficking victims and did not report identifying any victims in
                  some concerns. Additionally, the NRM focused heavily on describing
                                                                                               2021. A government-funded NGO, responsible for administering the
                  the potential trafficking situations of foreign nationals in Slovakia or
                                                                                               victim-care program and monitoring asylum-seeker and detention
                  Slovak nationals abroad, but it included little on trafficking situations
                                                                                               facilities for undocumented migrants, reported its ability to visit facilities
                  Slovak nationals could experience within Slovakia. Law enforcement
                                                                                               was limited due to the pandemic; it had not reported identifying any
                  officials were the exclusive entities with authority to formally identify
                                                                                               victims since at least 2018. In its June 2020 Report, GRETA urged the
                  victims. However, experts have previously criticized the exclusive law
                                                                                               government to increase the quality of screening for trafficking victims
                  enforcement authority to formally identify victims, asserting it created
                                                                                               by ensuring officials were adequately trained in victim identiﬁcation
                  a potential conﬂict of priorities between law enforcement efforts and
                                                                                               at asylum-seeker and undocumented migrant detention facilities.
                  victim assistance.
                                                                                               It was unnecessary for the government to grant work permits, as
                  In 2021, the government provided €208,274 ($236,140) to an NGO that          foreign victims received subsidiary protection and could work legally,
                  operated the national victim assistance program, voluntary repatriation,     although NGOs noted obstacles, including length of stay, sometimes
                  and national trafficking hotline, similar to €212,451 ($240,870) allocated   precluded this. The law authorized permanent residency for foreign
                  in 2020. The government-funded, NGO-run victim assistance program            victims who would face hardship or retribution if returned to their
                  provided Slovak and foreign victims with shelter, ﬁnancial support,          country of origin; authorities issued no such residence permits during
                  repatriation to Slovakia, health care, psycho-social support, legal          the reporting period. The government did not report granting asylum
                  assistance, interpretation, and job training. However, the contract with     to any trafficking victim in 2021.
                  the current service provider was scheduled to end in October 2022,
                                                                                               The pre-trial and trial process was lengthy and not always adapted, nor
                  and by the end of the reporting period, the government had not yet
                                                                                               prosecutors or judges sufficiently trained, to avoid re-traumatization of
                  selected a service provider for the new contract. Of the 42 total victims
                                                                                               victims. The 2017 crime victim’s protection act provided psychological
                  identiﬁed, only 11 decided to enter the government-funded victim-care
                                                                                               assistance to victims in pre-trial proceedings, banned direct cross-
                  program in 2021, all of whom were Slovak nationals (compared with 12
                                                                                               examination of victims, and allowed recorded testimony as official trial
                  of 61 in 2020, 17 of 66 in 2019, and 16 of 56 in 2018); the two potential
                                                                                               evidence, among other protections. However, civil society reported pre-
                  foreign trafficking victims were not enrolled in the program but rather
                                                                                               recorded testimony was rarely used and, in at least one case in 2021, a
                  referred to German authorities. The program continued to assist an
                                                                                               judge speciﬁcally forbid it. To improve its victim-centered approach and
                  additional 12 victims enrolled from previous years. The victim-care
                                                                                               decrease the possibility of re-traumatization, the government established
                  service provider continued to note persistent concern that after deciding
                                                                                               15 victim interview rooms across Slovakia for vulnerable victims, including
                  to leave the victim-care program, survivors remained in poor mental

   494                                                                                                                                        Haiti AR_000975
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 600 of 729




                                                                                                                                                               SLOVAK REPUBLIC
trafficking victims, during the reporting period. Police received training    Expert Group within the MOI’s Crime Prevention Department was led by
on how to use the rooms and interview victims, record victim testimony        the MOI State Secretary and functioned as the national anti-trafficking
for use in court, and it minimized the number of people in the room by        coordination committee; it met twice in 2021 and was responsible
allowing additional experts and officials to observe the interview from       for coordinating policy documents, implementing and evaluating
a separate room. The government reported using the interview rooms            anti-trafficking programs with civil society, organizing trainings, and
for 13 trafficking cases in 2022. Experts expressed concern that the          coordinating awareness-raising campaigns. The Expert Group comprised
law’s limit of one victim interview may have hindered opportunities           29 members, including both government ministries and NGOs. The IC
to build rapport with traumatized victims, who are unlikely to provide        also contributed to national coordination by administering contracts for
reliable testimony in a single interview session. Though not systematic,      the victim-care program, gathering trafficking data, publishing an annual
judges were generally willing to accommodate requests to provide a            human trafficking report, and functioning as the national rapporteur.
separate waiting area for victims and to remove the suspected trafficker      However, the IC continued to face challenges reconciling the data from
from the courtroom during victim testimony. Furthermore, a 2020               different institutions, particularly data on prosecutions and convictions,
guideline required investigators to invite the government-funded NGO          and GRETA questioned whether the IC was sufficiently independent to
administering the victim-care program to victim interviews, to ensure         critically monitor national efforts. The government continued to fund
victims knew their rights regarding the victim-care program, free legal       and implement its 2019-2023 anti-trafficking national action plan and
advice, and restitution. Witness protection programs existed, but the         in June 2021 approved an additional action plan to implement GRETA’s
government has never utilized these programs for any trafficking victim;      recommendations from its 2020 report. The MOI maintained staff at 16
in its June 2020 report, GRETA continued to urge the government to            local and regional information centers throughout Slovakia who could
utilize its witness protection programs for trafficking victims.              offer information and assistance on all crimes, which included human
                                                                              trafficking; services included prevention, victim identiﬁcation, and
Restitution from criminal cases, compensation from the government,
                                                                              assistance such as psychological counseling and legal advice. In 2021,
and damages from civil suits were all available to trafficking victims, but
                                                                              ﬁve trafficking victims were identiﬁed by the information centers (three
courts rarely ordered or awarded any of these. The March 2021 IC report
                                                                              men and two women) and referred to the police for formal identiﬁcation
found that between 2015 and 2020, the court awarded restitution or
                                                                              and to other relevant agencies for services.
government compensation to victims in only six of 39 cases. The report
stated that of 39 cases, the court did not mention the injured parties’       The government launched extensive trafficking prevention and public
claim for compensation at all in 19 cases (49 percent), and the court         awareness campaigns to engage the public, though trafficking was
referred the injured parties to civil proceedings in 14 cases (36 percent).   sometimes portrayed in a sensationalized manner. The government
The IC report did not have the exact number of trafficking victims who        published an article, continued to operate a website and mobile app
had received damages through civil suits but concluded that it was            in several languages, and continued to use media platforms, including
reasonable to assume that the number was low. Prosecutors could ﬁle           social media, and physical materials, to raise awareness. The police
for restitution from traffickers in criminal cases; however, courts did not   and the MOI’s Crime Prevention Department conducted a survey and
report if prosecutors ﬁled such claims or awarded restitution to any          delivered at least 123 awareness-raising lectures, both in-person and
victims in 2021. Civil society and the March 2021 IC report concluded         virtually, for at least 22 schools. Police also delivered lectures for job-
prosecutors did not pursue a victim’s right to restitution in an attempt to   seekers, teachers, children in foster care, and an NGO. The government
avoid prolonging proceedings; experts encouraged the government to            and government-funded NGOs speciﬁcally targeted vulnerable groups,
pursue a more streamlined mechanism for victims to obtain restitution,        like Romani women and children who were vulnerable to domestic
while not impeding trial proceedings. The 2017 crime victim’s protection      servitude through forced marriage, for their awareness campaigns
act enabled the government to grant between €6,230 ($7,060) and               and continued coordination with the government office responsible for
€31,150 ($35,320) in compensation to victims from state funding, if ﬁled      Romani communities. With funding from the Governments of Slovakia
within one year. The amendment to the 2017 crime victim’s protection          and the UK, an NGO launched an awareness campaign in 2021, which
act, effective July 2021, simpliﬁed the process to receive compensation,      involved videos featuring social media inﬂuencers, a trafficking survivor,
enabling victims to claim compensation after the start of the criminal        and a song by a popular Romani band.
proceedings, as opposed to after completion; civil society welcomed
                                                                              The MOI reported distributing trafficking awareness leaﬂets, in Ukrainian,
this change. The government provided compensation to one trafficking
                                                                              at its eastern border to refugees ﬂeeing Russia’s unjust war against
victim in 2021 after a request was ﬁled by the victim-care provider on
                                                                              Ukraine, working closely with specialized trafficking international
behalf of the victim. Additionally, victims could seek damages through
                                                                              organizations and stationing plainclothes officers at the border to search
civil suits, but it was unclear if victims ﬁled any suits and, unlike prior
                                                                              for trafficking indicators, issuing media broadcasts on trafficking risks, and
years, no victims were awarded damages in 2021. NGOs continued to
                                                                              including trafficking information on its website as a central information
argue excessive legal costs and lengthy proceedings discouraged many
                                                                              point for arriving refugees, available in eight languages. Authorities
victims from ﬁling civil suits. The March 2021 IC report found the national
                                                                              reported extended police hours to assist refugees and established formal
victim-care provider was unaware of most cases in court proceedings,
                                                                              protection measures, including the issuances of temporary protection
despite its responsibility to provide legal advice to trafficking victims.
                                                                              status to approximately 58,300 refugees by the end of the reporting
The report concluded that most trafficking victims had not received
                                                                              period, as well as offering ﬁnancial reimbursement to citizens willing
pre-trial legal counseling or been made aware of their rights, including
                                                                              to accommodate refugees. The labor ministry continued to distribute
for compensation and restitution; the report recommended increased
                                                                              a brochure to foreign workers on trafficking indicators, the labor code,
access to free legal counseling as early as preparatory proceedings. In
                                                                              and the rights and obligations of foreign employees in eight languages,
July 2021, an amendment went into effect to increase victims’ access,
                                                                              and the MOI distributed informational brochures on trafficking and
including trafficking victims, to government compensation; however,
                                                                              fraudulent employment offers. Concerns regarding foreign worker
though the government did not report if the law has been implemented.
                                                                              vulnerability to fraudulent labor recruitment and labor trafficking, as well
Under the 2017 crime victim’s protection act, victims who opted to
                                                                              as low victim identiﬁcation within this population, remained signiﬁcant.
seek compensation from their traffickers through a civil suit could not
                                                                              The 2004 law on employment services prohibited labor recruiters from
also request restitution through criminal proceedings. Section 215(2)
                                                                              charging a recruitment fee to workers, and employment agencies were
permitted, but did not require, prosecutors to drop criminal prosecutions
                                                                              required to register with the government. However, the government did
against trafficking victims for unlawful acts traffickers compelled them
                                                                              not report law enforcement measures taken to enforce the prohibition
to commit. Slovak laws did not seem to require or permit district officials
                                                                              of charging fees to workers or fraudulent labor recruitment. In its June
and police from dropping misdemeanors ﬁled against trafficking victims
                                                                              2020 report, GRETA urged the government to strengthen monitoring
for unlawful acts traffickers compelled them to commit.
                                                                              of recruitment and temporary work agencies. Experts and civil society
                                                                              continued to urge the government to increase efforts to inform foreign
PREVENTION                                                                    worker populations of their rights; lack of awareness of the availability of
The government maintained prevention efforts. The State Secretary of
                                                                              services, language barriers, and fear of immigration officials continued
the MOI was the national coordinator for the ﬁght against trafficking. The
                                                                              to prevent some foreign victims from seeking help from authorities.
                                                                                                                                 Haiti AR_000976               495
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 601 of 729
SLOVENIA   Foreign workers were able to change employment without requiring
           prior approval from the government, which may have decreased their                SLOVENIA: TIER 1
           vulnerability to trafficking.
           In 2021, police reported conducting inspections for forced labor indicators      The Government of Slovenia fully meets the minimum standards for the
           of 55 businesses and 340 individuals, 274 of whom were foreign workers,          elimination of trafficking. The government continued to demonstrate
           but officials did not identify any trafficking victims. Separately, in           serious and sustained efforts during the reporting period, considering
           2021, labor inspectors conducted 16,918 inspections, which included              the impact of the COVID-19 pandemic, if any, on its anti-trafficking
           353 non-EU workers, but also did not report referring any potential              capacity; therefore Slovenia remained on Tier 1. These efforts included
           trafficking victims to police, as they lacked the authority to identify          investigating and prosecuting more alleged traffickers and assisting
           victims. Civil society recommended increased victim identiﬁcation                more trafficking victims compared with the prior reporting period. The
           training for labor inspectors to improve referrals to police. Despite the        government also made several policy changes that improved victims’
           large foreign-worker population in Slovakia with an increased risk of            access to medical care, accommodation, and temporary residence
           trafficking, the government has not reported identifying any trafficking         permits and hired an employee dedicated to systematically raising
           victims through joint inspections between law enforcement and labor              trafficking awareness among children and adolescents. Although the
           inspectors for at least the last ﬁve years, continuing to raise concerns         government meets the minimum standards, the government did not
           regarding the government’s ability to identify trafficking victims, despite      convict any traffickers, a signiﬁcant decrease compared with the prior
           speciﬁc training. GRETA noted that joint inspections tended to focus on          reporting period. Investigations and prosecutions for labor trafficking
           immigration enforcement rather than take a victim-centered approach              remained low. Victim identiﬁcation and funding for victim assistance
           and continued to recommend anti-trafficking training for all labor               decreased, and continued gaps in victim identiﬁcation resulted in the
           inspectors, especially on victim identiﬁcation and referral. Foreign             government not identifying any child or asylum-seeker trafficking victims
           trafficking victims without legal employment status may have been                and very few labor trafficking victims. The government did not report
           reluctant to discuss their trafficking situation with labor inspectors           awarding restitution or compensation to any victims.
           for fear of deportation, as it is regular practice for labor inspectors to
           contact the immigration officials if illegally employed foreign workers
                                                                                                    SLOVENIA TIER RANKING BY YEAR
           are identiﬁed. A government-funded anti-trafficking hotline, operated
                                                                                                1
           by an NGO, took calls for 12 hours a day in ﬁve languages, and identiﬁed
           four potential trafficking victims from calls in 2021. The government                2
           did not make efforts to reduce the demand for commercial sex acts.                 2WL
                                                                                                3
           TRAFFICKING PROFILE                                                                         2015     2016      2017      2018   2019   2020   2021    2022
           As reported over the past ﬁve years, human traffickers exploit domestic
           and foreign victims in Slovakia, and traffickers exploit victims from
           Slovakia abroad. Traffickers exploit Slovak men and women in labor
           trafficking in agriculture, manufacturing, and construction in Western           PRIORITIZED RECOMMENDATIONS:
           Europe, increasingly in German-speaking countries. Traffickers exploit           Vigorously investigate and prosecute both sex and labor trafficking
           Slovak women in sex trafficking in Austria, Denmark, Germany,                    crimes and impose on all convicted traffickers adequate penalties that
           Switzerland, the UK, and other European countries. With the departure of         involve signiﬁcant prison terms. • Improve efforts to proactively identify
           the UK from the European Union, including new restrictions on freedom            victims, especially children, males, and victims of labor trafficking. •
           of movement, authorities have noted the UK is a less frequent destination        Prioritize investigation and prosecution of labor traffickers and improve
           for traffickers. Increasingly, traffickers exploit victims domestically within   coordination between labor inspectors and police. • Ensure labor trafficking
           Slovakia, a recent development that was exacerbated by pandemic-                 is investigated and prosecuted as a trafficking crime and not pursued
           related border closures. Hundreds of thousands of Ukrainian refugees,            as an administrative labor code violation. • Increase training to all front-
           predominantly women and children, ﬂeeing Russia’s war against Ukraine,           line officials on victim identiﬁcation for labor trafficking and consider
           have crossed the Slovak border seeking sanctuary and are vulnerable to           a partnership with NGOs for labor trafficking victim identiﬁcation. •
           trafficking. Irregular migration increased by nearly 50 percent since 2020;      Increase efforts of prosecutors to systematically request restitution
           undocumented migrant workers are vulnerable to human trafficking.                for victims in criminal trials, including for both EU and non-EU citizen
           Some temporary workers from non-EU European countries, recruited                 victims, and increase victim access to the state fund for crime victims.
           for the manufacturing and construction industries, are subjected to              • Allow formal victim identiﬁcation by and referral from entities other
           conditions indicative of forced labor, including non-payment of wages            than the police, including civil society, social workers, and health care
           or extended working hours. NGOs report men and women, mostly                     professionals. • Amend the deﬁnition of trafficking under Slovenian law
           from the Balkans and South-East Asia, are vulnerable to forced labor in          to align more closely with the deﬁnition under international law. • Enforce
           Slovakia and may be unable or afraid to seek assistance from authorities.        the elimination of recruitment fees charged to workers and ensure any
           Women from South-East Asia are vulnerable to sex trafficking and                 recruitment fees are paid by employers. • Establish a process to ensure
           forced labor in domestic service, restaurants, massage parlors, or spas.         systematic provision of care and designated facilities for child victims
           Slovak women of Romani descent are particularly vulnerable to sex                of trafficking, including enhanced training of caregivers and foster
           trafficking; traffickers transport them to the UK by force or deception in       care parents. • Appoint a national rapporteur to provide independent
           sham marriages for the purpose of sex trafficking or forced labor. Roma          review of government anti-trafficking efforts. • Establish a specialized
           girls are vulnerable to forced traditional Romani marriages, which often         police unit dedicated to investigating human trafficking, with sufficient
           includes the transfer of the girl into the care of her new “husband,” where      resources, to ensure the prioritization of trafficking investigations. •
           she is forced or coerced into domestic service. In some cases, parents           Utilize the witness protection program for trafficking victims. • Increase
           of Slovak Roma children exploit their children in forced criminal activity       survivor engagement, including by establishing accessible mechanisms
           in the UK. Traffickers force Slovak men, women, and children of Romani           for receiving and providing compensation for survivor input when forming
           descent and Slovaks with disabilities and mental health conditions to            policies, programs, and trainings. • Increase efforts to pursue ﬁnancial
           beg throughout Western Europe. Traffickers exploit children without              crime investigations in tandem with human trafficking cases.
           family or support structures who leave institutional care facilities in
           sex and labor trafficking.                                                       PROSECUTION
                                                                                            The government maintained uneven law enforcement efforts; while
                                                                                            investigations and prosecutions increased, the government did not
                                                                                            convict any traffickers. Article 113 of the criminal code criminalized sex
                                                                                            trafficking and labor trafficking and prescribed penalties ranging from
                                                                                            one to 10 years’ imprisonment for offenses involving an adult victim

 496                                                                                                                                         Haiti AR_000977
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 602 of 729




                                                                                                                                                               SLOVENIA
and three to 15 years’ imprisonment for those involving a child victim            Victims could request interviews with NGOs prior to meeting with law
or other aggravating factors. These penalties were sufficiently stringent         enforcement, and NGOs could accompany victims to interactions with
and, with respect to sex trafficking, commensurate with those prescribed          law enforcement. Following victim identiﬁcation, government regulations
for other serious crimes, such as rape. However, inconsistent with the            required police to refer victims to one of two government-funded NGOs
deﬁnition of trafficking under international law, Article 113 established         that had formal cooperation agreements with the government to ensure
the use of force, fraud, or coercion as an aggravating factor rather              adequate provision of care to the victims. However, experts noted that
than an essential element of the crime. Police conducted investigations           victim referral procedures may not have always been implemented
involving 23 sex trafficking suspects and two legal entities, a signiﬁcant        uniformly for some vulnerable groups like undocumented migrants and
increase compared with investigations involving 12 trafficking suspects           asylum-seekers. NGOs noted continued strong cooperation with police
in the prior reporting period. Prosecutors initiated criminal proceedings         on the identiﬁcation of sex trafficking victims, as police continued to
against 32 sex trafficking suspects and four legal entities, an increase          invite NGO care providers to police interactions with commercial sex
compared with six prosecutions initiated during the previous reporting            establishments to assist in victim identiﬁcation; however, authorities did
period but the same as 32 prosecutions initiated in the reporting period          not report taking similar steps regarding NGO requests to cooperate on
before that. The government did not report investigating or prosecuting           identiﬁcation of labor trafficking victims.
any suspects for labor trafficking during the reporting period. Courts
                                                                                  The government continued to partially fund two NGOs, supplemented
did not convict any traffickers during the reporting period, a signiﬁcant
                                                                                  by private donations, which provided trafficking-speciﬁc crisis and safe
decrease compared with seven convictions in the prior period and ﬁve
                                                                                  housing for victims. Both NGOs were among a wider range of organizations
in the period before that. Pandemic-related prevention measures caused
                                                                                  providing services such as counseling, psycho-social support, legal
delays in judicial proceedings and court hearings. The government did
                                                                                  representation during investigations and court proceedings, and ﬁling
not report any investigations, prosecutions, or convictions of officials
                                                                                  of documentation for residency status. In July 2021, the government’s
complicit in human trafficking offenses.
                                                                                  anti-trafficking interdepartmental working group (IWG) issued a policy
The government reported providing extensive training on victim                    change to ensure all trafficking victims identiﬁed by the police were
identiﬁcation, available assistance programs for victims, and the importance      entitled to supplemental, comprehensive medical care and medication.
of working with civil society to 58 police officers; investigation strategies     Non-EU foreign victims had a 90-day reﬂection period during which
for cases of sex trafficking for 19 investigators; and a victim-centered          they could remain in Slovenia while recovering and considering whether
approach to victim stabilization, victim protection and trial preparation,        to participate in an investigation. All victims, both citizens and foreign
recognizing trauma, and victim identiﬁcation for 42 officials at the social       nationals, could receive crisis housing for a maximum of 30 days, after
work centers. The government maintained police attachés in Austria,               which they could enter safe accommodation for 60 days, regardless
Bosnia and Herzegovina, Croatia, North Macedonia, and Serbia to assist            of cooperation with law enforcement. Officials prepared individual
in coordination of international cases. Authorities reported cooperating          assistance and protection programs for victims admitted into the safe
with the Government of Kosovo on one case of trafficking involving a              housing accommodation. However, after 90 days, to continue to receive
victim from Kosovo. While the government did not have a specialized anti-         safe accommodation and long-term care, victims required a temporary
trafficking investigation unit, each of the eight police districts had at least   residence permit, which required either law enforcement cooperation
one officer responsible for coordinating trafficking investigations, creating     in criminal proceedings or, as of March 2021, qualiﬁcation under the
a de facto nationwide coordination network. However, NGOs expressed               “personal circumstances” amendment. A temporary residence permit
concern the police units responsible for investigating human trafficking          for “personal circumstances” could be issued for a maximum of one
were overburdened and understaffed; NGOs urged the government                     year, with an option for a one-year extension. However, the government
to establish dedicated police units to investigate and prioritize human           did not allow victims to work during this period. Victims cooperating in
trafficking. Several NGOs noted concerns regarding poor coordination              criminal proceedings could temporarily stay for 180 days or longer, if
between labor inspectors and police, which may have hindered the                  needed, for the trial of the trafficker but had limited options to extend
identiﬁcation of labor trafficking cases. NGOs continued to assert the            their stay after the conclusion of criminal proceedings. In March 2021,
government did not prosecute labor traffickers because authorities                the government passed an amendment that intended to enable faster
instead pursued cases as administrative labor code violations, resulting          decision-making in the registration procedure for temporary stay permits
in lesser consequences and decreased deterrence.                                  for foreign nationals. However, the government did not report issuing any
                                                                                  temporary residence permits during the reporting period.
PROTECTION                                                                        The IWG made a policy change in 2021 to ensure more sex trafficking
The government maintained uneven victim protection efforts; while victim
                                                                                  victims received the requisite accommodation beneﬁts afforded to
identiﬁcation and funding for assistance decreased, victim assistance
                                                                                  trafficking victims. Both Slovenian and foreign victims had access to
increased, and several policy changes improved victims’ access to care.
                                                                                  the same protection services and had free movement in and out of
The government identiﬁed 45 sex trafficking victims, a decrease compared
                                                                                  shelters. Although the government did not identify any child trafficking
with 65 in the prior reporting period but more than 31 victims identiﬁed in
                                                                                  victims during the reporting period, child trafficking victims continued
the reporting period prior to that. Of the identiﬁed victims, 44 were victims
                                                                                  to lack adequate assistance, as there were no designated facilities for
of sex trafficking, and one was a victim of labor trafficking; all victims
                                                                                  unaccompanied child trafficking victims. If identiﬁed, child trafficking
were adults; 43 were women, and two were men. Most victims were from
                                                                                  victims could be sheltered with unaccompanied migrant children and
Dominican Republic, Romania, or Serbia. Experts raised concerns regarding
                                                                                  receive care through the Center for Social Work. GRETA highlighted a
gaps in victim identiﬁcation as the government again did not identify any
                                                                                  concern over unaccompanied child victims disappearing from public care,
child or asylum-seeker trafficking victims during the reporting period.
                                                                                  urging the development of more suitable accommodations for children
The government referred and provided assistance to 12 victims during the
                                                                                  with fully trained staff or foster parents. In response to these concerns,
reporting period, including entrance into its crisis housing program for six
                                                                                  in 2021, the government established a children’s shelter, which included
victims and entrance into its safe accommodation program for another
                                                                                  a location for the shelter, the appointment of an acting director, and
six victims. This compared with two victims assisted in the safe housing
                                                                                  planned trainings for conducting a forensic interview and psycho-social
program in the prior reporting period. The government decreased its
                                                                                  assistance for children; however, the home was not yet operational by
allocation for housing victims in 2021 to €119,208 ($135,160), compared
                                                                                  the end of the reporting period.
with €145,515 ($164,980) in 2020. Government officials continued to
utilize the national Manual for Identiﬁcation of Victims of Trafficking in        When participating in pretrial and criminal proceedings, victims had
Persons. The majority of victims continued to be proactively identiﬁed by         a right to interpretation services and a protective escort, though the
police, and coordination between police and NGOs was strong; however,             government did not report how many victims received these services.
observers reported ongoing concerns regarding the under-identiﬁcation             All victims that entered the government’s crisis and safe accommodation
of labor trafficking victims and the tendency for officials to overlook           program could apply for free legal aid. While awaiting case adjudication,
cases of labor trafficking. While both government officials and civil             asylum-seekers were unable to legally work, though many did so illegally,
society could “detect” trafficking victims, only the police could formally        which NGOs stated could increase their vulnerability to labor trafficking
identify victims, and formal identiﬁcation was required for long-term care.       due to their illegal status, lack of knowledge of local labor laws, and
                                                                                                                                  Haiti AR_000978              497
                      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 603 of 729
SOLOMON ISLANDS
                  language barriers. The 2018 GRETA report urged improving the process              Slovenian law prohibited contract switching and the charging of placement
                  of providing comprehensive information to victims in a language they              or recruitment fees to workers, as well as passport and wage withholding.
                  could understand to assess their options, including participation in              Migrant workers were able to change employers without delay or prior
                  programs to resist re-victimization. NGOs also noted there were insufficient      government permission, which may have decreased their vulnerability to
                  professional interpreters fully trained in translating the details of rights of   trafficking. However, NGOs noted labor trafficking received insufficient
                  potential trafficking victims for asylum intake proceedings. Some victims         attention and resources to conduct adequate investigations. While the law
                  were reluctant to speak with social workers and counselors about their            allowed employers to pay recruitment fees, in practice, NGOs assessed the
                  situations, given the same interpreters assisted in the different contexts        government did not effectively enforce the law and employers frequently
                  of law enforcement investigations and court proceedings on their case.            passed these fees on to workers through salary deductions and other
                                                                                                    means. NGOs continued to assert that authorities pursued many labor
                  Only citizens of EU countries were eligible to apply for compensation
                                                                                                    trafficking cases as administrative labor code violations, resulting in lesser
                  from the state fund for crime victims; however, the government did
                                                                                                    consequences and decreased deterrence. Furthermore, authorities often
                  not report awarding compensation to any victims. During the reporting
                                                                                                    prosecuted and shut down the legal entity or company rather than the
                  period, prosecutors did not request restitution for any victims in criminal
                                                                                                    perpetrator responsible; the perpetrator would then establish another
                  proceedings; historically, prosecutors typically did not do this, though
                                                                                                    company under a new name and continue to exploit victims in labor
                  there were no legal barriers to prevent it, instead requiring victims demand
                                                                                                    trafficking. While labor inspectors did not have the authority to identify
                  compensation for themselves in a separate civil court case. Experts urged
                                                                                                    trafficking victims, following the completion of 105 inspections in 2021,
                  prosecutors to systematically request restitution for victims at criminal
                                                                                                    inspectors referred three potential victims to prosecutors. In partnership
                  trials. All victims could seek damages by ﬁling a civil suit, though due to
                                                                                                    with Europol, the government held three separate joint action days
                  legal costs, victim re-traumatization, and the desire to avoid additional
                                                                                                    (JAD) with police, labor inspectors, and a trade union working together;
                  court proceedings, most victims did not pursue compensation, and the
                                                                                                    the JADs were held in June, July, and November 2021, with each JAD
                  government did not report awarding compensation during the reporting
                                                                                                    targeting speciﬁc types of trafficking victims—one focused on identifying
                  period. Upon government seizure of a trafficker’s assets, victims could
                                                                                                    victims of forced labor, one on child trafficking, and one on forced
                  ﬁle a claim for restitution or damages; however, if the victim failed to ﬁle
                                                                                                    criminality, begging, and sex trafficking. However, the government did
                  the claim, the trafficker’s assets were subsumed into the government’s
                                                                                                    not report identifying any trafficking victims through any of the JADs.
                  budget. The government had a witness protection program that trafficking
                                                                                                    The government drafted, but did not ﬁnalize or distribute, a manual
                  victims could utilize, but it did not report using the program to protect
                                                                                                    for labor inspectors on trafficking victim identiﬁcation and referral to
                  any victims during the reporting period. Under the witness protection
                                                                                                    assistance. Asylum centers and an NGO funded by the MOI continued to
                  act, victims could provide testimony via video or written statements, and
                                                                                                    screen all new migrant and asylum arrivals for trafficking indicators, but
                  courts kept victim identities conﬁdential.
                                                                                                    the government did not report identifying any trafficking victims. The
                                                                                                    government signed an anti-trafficking cooperation agreement with the
                  PREVENTION
                                                                                                    Government of Montenegro in December 2021, which focused primarily
                  The government maintained prevention efforts. The Ministry of Interior’s
                                                                                                    on victim identiﬁcation and assistance, prevention, and law enforcement
                  (MOI) national coordinator for counter trafficking in persons continued to
                                                                                                    cooperation; however, implementation and concrete action had yet to
                  head the IWG. The IWG included NGO representatives and met three times
                                                                                                    occur. The government did not make efforts to reduce the demand for
                  during the reporting period to organize and coordinate awareness efforts;
                                                                                                    commercial sex acts.
                  the IWG produced an annual report on human trafficking in Slovenia. In
                  2021, the IWG also worked to ensure all trafficking victims identiﬁed by
                  the police were entitled to supplemental comprehensive medical care,
                                                                                                    TRAFFICKING PROFILE
                                                                                                    As reported over the past ﬁve years, human traffickers exploit domestic
                  made a policy change to ensure more sex trafficking victims received
                                                                                                    and foreign victims in Slovenia, and to a lesser extent, traffickers exploit
                  the requisite accommodation beneﬁts afforded to trafficking victims,
                                                                                                    victims from Slovenia abroad. Slovenes, as well as foreign workers and
                  and also decided to expand IWG membership to additional stakeholder
                                                                                                    undocumented migrants from countries such as Albania, Bosnia and
                  ministries. The Anti-Trafficking Service Office within the MOI continued
                                                                                                    Herzegovina, Kosovo, North Macedonia, Romania, Serbia, Slovakia, and
                  to provide comprehensive support for investigators and victim service
                                                                                                    Ukraine, are vulnerable to labor trafficking, including forced begging
                  providers. The government had a comprehensive national anti-trafficking
                                                                                                    or domestic servitude, in a variety of sectors including construction,
                  action plan for 2021-2022, which included benchmarks and an allocated
                                                                                                    transportation, hospitality, and domestic service. In 2022, Ukrainian
                  budget. Slovenia remained without an official independent national anti-
                                                                                                    refugees, predominantly women and children, ﬂeeing Russia’s full-scale
                  trafficking rapporteur, a key GRETA recommendation. Unlike 2020, the
                                                                                                    invasion of Ukraine are vulnerable to trafficking. Sometimes these persons
                  government did not provide any funding speciﬁcally for awareness raising
                                                                                                    are in transit to Western Europe, particularly Austria, Germany, or Italy,
                  projects in 2021; however, the MOI instead hired an employee dedicated
                                                                                                    where traffickers exploit them in forced labor. Temporary work agencies
                  to systematically raising awareness among children and adolescents by
                                                                                                    continue to exploit workers, which sometimes amounts to labor trafficking.
                  continuously providing workshops held in all primary and secondary
                                                                                                    While awaiting case adjudication, asylum-seekers are legally unable to
                  schools. In partnership with two NGOs, the government conducted one
                                                                                                    work, increasing their vulnerability to labor trafficking. Traffickers exploit
                  awareness raising campaign focused on impunity in relation to human
                                                                                                    women and children from Slovenia and Eastern European, Western Balkan,
                  trafficking, as well as 44 in-depth and comprehensive workshops reaching
                                                                                                    Southeast Asian, and Latin American countries in sex trafficking within
                  roughly 750 primary and secondary school children.
                                                                                                    Slovenia, and many also transit to Western Europe, primarily Germany
                  The government continued to host a website, in both English and Slovenian,        and Italy, where they are at risk of sexual and labor exploitation. Ethnic
                  which raised awareness of forced labor and labor exploitation through             Roma are particularly vulnerable to trafficking, especially forced begging,
                  its manual for companies and employers; provided information on                   in Slovenia.
                  investigations and prosecutions; included a mechanism for contacting
                  NGOs; and provided a portal for anonymous reporting of potential
                  trafficking victims. In early 2022, the government issued warnings to
                  refugees ﬂeeing Russia’s full-scale invasion of Ukraine regarding their
                  vulnerability to human trafficking, and police established checkpoints on
                                                                                                     SOLOMON ISLANDS: TIER 2
                  the border with Hungary; authorities reported suspicions that sex traffickers
                  were targeting girls at a Ukrainian refugee reception center but had not          The Government of Solomon Islands does not fully meet the minimum
                  identiﬁed any trafficking victims by the end of the reporting period. The         standards for the elimination of trafficking but is making signiﬁcant
                  government also continued to fund two NGO hotlines, available in several          efforts to do so. The government demonstrated overall increasing efforts
                  languages, offering assistance to both domestic violence and trafficking          compared with the previous reporting period, considering the impact
                  victims; the hotlines did not report the number of trafficking-related calls      of the COVID-19 pandemic on its anti-trafficking capacity; therefore
                  received but did report referring 16 potential victims to police, two of          Solomon Islands remained on Tier 2. These efforts included initiating a
                  whom were later officially recognized as trafficking victims.                     new prosecution for the ﬁrst time in four years and formally adopting its

   498                                                                                                                                             Haiti AR_000979
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 604 of 729




                                                                                                                                                                SOLOMON ISLANDS
2020-2025 national action plan (NAP). The government, in partnership             offenses involving adult victims and up to 25 years’ imprisonment for
with international organizations, developed and began implementing a             offenses involving child victims. Article 145(3) prescribed penalties
new policy with terms and conditions for workers on licensed foreign and         of up to 15 years’ imprisonment for offenses that did not involve an
domestic-ﬂagged ﬁshing vessels in Solomon Islands’ waters, intended to           element of force, fraud, or coercion. These penalties were sufficiently
reduce their risks of exploitation. However, the government did not meet         stringent and, with respect to sex trafficking, commensurate with those
the minimum standards in several key areas. Protection services remained         prescribed for other serious crimes, such as kidnapping. The Immigration
inadequate and, due to a lack of formal identiﬁcation procedures,                Act criminalized other forms of trafficking, including crimes in which
authorities may have inappropriately detained unidentiﬁed victims.               the recruitment, transportation, harboring, or receipt of the trafficking
General lack of awareness of trafficking and applicable laws among               victim occurred outside Solomon Islands. The Immigration Act prescribed
front-line officers, coupled with under-resourced protection services and        penalties of up to ﬁve years’ imprisonment, a ﬁne of up to 45,000
widespread observance of informal justice models, adversely affected             Solomon Islands dollars ($5,710), or both for the trafficking of adults;
the government’s ability to respond effectively to trafficking cases. The        it prescribed a penalty of up to 10 years’ imprisonment, a ﬁne of up to
government did not provide anti-trafficking training to police or judicial       90,000 Solomon Islands dollars ($11,410), or both for the trafficking of
officials. The Labor Division did not conduct systematic monitoring and          children. These penalties were sufficiently stringent, but with respect to
inspection activities at logging sites or in the ﬁshing or mining sectors.       sex trafficking, by allowing for a ﬁne in lieu of imprisonment, they were
                                                                                 not commensurate with penalties prescribed for other serious offenses.
                                                                                 Authorities continued to charge some trafficking cases under criminal
        SOLOMON ISLANDS TIER RANKING BY YEAR                                     statutes carrying lesser penalties. In coordination with a regional body,
    1                                                                            the government continued to review the Immigration Act to identify
    2                                                                            gaps in trafficking-speciﬁc provisions, among others. The government
                                                                                 allocated 920,000 Solomon Islands dollars ($116,660) in the previous
  2WL
                                                                                 reporting period to support the development of a comprehensive human
    3                                                                            trafficking statute and accede to the UNTOC and its supplementary
           2015     2016     2017      2018    2019   2020    2021     2022
                                                                                 protocols, including the TIP Protocol; the government did not report
                                                                                 adopting the statute, and it did not accede to the TIP Protocol.
                                                                                 Authorities initiated three sex trafficking investigations, compared with
PRIORITIZED RECOMMENDATIONS:                                                     two investigations in 2020. Authorities initiated one prosecution of an
Draft, enact, and implement a stand-alone human trafficking law                  alleged sex trafficker with charges under the penal code; this was the
prohibiting all forms of the crime, proscribe dissuasive penalties, and          ﬁrst trafficking prosecution since 2017. For the second consecutive year,
remove sentencing provisions under current laws that allow ﬁnes in               the government did not convict any traffickers. Observers noted the
lieu of imprisonment for sex trafficking crimes occurring outside of             government prosecuted and convicted some potential trafficking cases
Solomon Islands. • Investigate and prosecute both sex trafficking and            under non-trafficking statutes. The government trained immigration
labor trafficking crimes and convict and punish traffickers, including           officers on human trafficking, migrant smuggling, and trafficking-related
complicit officials, with signiﬁcant prison sentences. • Increase efforts to     laws; the government did not report providing anti-trafficking training to
identify Solomon Islander and foreign victims of sex trafficking and labor       police or judicial officials. Geographic challenges, insufficient funding of
trafficking within the country, including in agriculture; the ﬁshing, logging,   enforcement agencies, lack of technical expertise, low judicial and police
and mining industries; and in relation to illicit commercial activities. •       capacity, and a lack of awareness of the crime and of the relevant laws
In collaboration with civil society, screen for trafficking indicators and       among front-line officers, particularly in remote areas of the country,
prevent penalization of victims for unlawful acts traffickers compelled          adversely affected the government’s ability to respond effectively to
them to commit among individuals in commercial sex, People’s Republic            trafficking cases. In addition, observers ascribed a higher likelihood of
of China (PRC) nationals employed at worksites affiliated with PRC-based         acquittals and dismissals of such cases to backlogs in court, incomplete
companies, communities located near mining and logging camps, and                investigations, insufficient evidence or lack of testimony, and safety
individuals—including children—apprehended for illegal ﬁshing, desertion         concerns among victims and their families. Traditional justice practices
from foreign-registered ﬁshing vessels, illegal logging, or immigration          involving retribution or informal compensation arrangements between
crimes and ensure all identiﬁed victims are referred to protective services.     victims’ families and traffickers, continued to supplant formal law
• Provide comprehensive training on all relevant trafficking laws and            enforcement efforts and further complicated victims’ access to justice.
victim identiﬁcation procedures to immigration officials, law enforcement        The government did not report any investigations, prosecutions, or
officers, and social service providers, including at the provincial level. •     convictions of government employees complicit in human trafficking
Increase government support for victim protection, including through             crimes. Observers reported a national state of emergency due to the
the allocation of funding to specialized shelter services and beneﬁting          pandemic restricted movement among locals, which may have limited
both male and female victims. • Improve data collection on trafficking           the reporting of trafficking crimes; observers reported the government
trends in Solomon Islands and disseminate among interagency anti-                redirected resources, including those related to anti-trafficking efforts,
trafficking stakeholders. • Institute a campaign to raise public awareness       among government agencies as a result of civil unrest in November 2021
of trafficking, including among remote logging and mining communities            and the pandemic, which may have adversely affected the government’s
in all provinces. • Implement and fund the 2020-2025 NAP on human                ability to detect and address trafficking.
trafficking and people smuggling. • Eliminate recruitment or placement
fees charged to workers by labor recruiters and ensure any recruitment           PROTECTION
fees are paid by employers. • Ratify existing forestry laws to include           The government decreased efforts to protect trafficking victims. The
minimum social safeguards and child protection policies. • Accede to             government identiﬁed three Solomon Islander child trafficking victims,
the 2000 UN TIP Protocol.                                                        compared with four victims in 2020. The government did not report
                                                                                 implementing its updated victim identiﬁcation, referral, and protection
PROSECUTION                                                                      SOPs and coordination mechanisms developed in partnership with
The government increased its law enforcement efforts. The penal code,            an international organization during the previous reporting period.
together with the Immigration Act, criminalized sex trafficking and labor        Authorities and civil society protection partners continued to rely
trafficking. Article 143 of the penal code criminalized child sex trafficking    on disparate victim identiﬁcation and referral processes that they
under its “child commercial sexual exploitation” provision and prescribed        applied unevenly to potential trafficking cases. Due to a lack of formal
penalties of up to 15 or 20 years’ imprisonment, based on the child’s            identiﬁcation procedures, authorities may have detained unidentiﬁed
age. Article 145 of the penal code criminalized sex trafficking and labor        trafficking victims. Authorities did not report efforts to screen for
trafficking when the offense occurred within the country. Article 145(2)         or identify trafficking victims among individuals in commercial sex;
applied to trafficking offenses involving an element of force, fraud, or         observers reported in prior years that authorities may have arrested and
coercion; it prescribed penalties of up to 20 years’ imprisonment for

                                                                                                                                   Haiti AR_000980              499
                      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 605 of 729
SOLOMON ISLANDS   prosecuted sex trafficking victims for alleged “prostitution” violations         the previous reporting period, the government did not report funding
                  without screening to determine whether they were trafficking victims.            BMJAC inspections and monitoring activities. The government did not
                                                                                                   report taking comprehensive measures to assess or address forced labor
                  Authorities referred the three identiﬁed child victims to general protective
                                                                                                   in supply chains or enforce its labor laws. Furthermore, the government
                  services; however, the government did not provide trafficking-speciﬁc
                                                                                                   did not prohibit worker-paid recruitment fees.
                  protective services. The government did not report allocating resources to
                  fund investigations, public awareness, and victim protection or assistance       The government did not make efforts to reduce the demand for
                  from the Immigration Division’s budget, compared with 380,000                    commercial sex acts. The government did not provide anti-trafficking
                  Solomon Islands dollars ($48,190) in 2020. The Royal Solomon Islands             training to its diplomatic personnel. In partnership with an international
                  Police Force operated a domestic violence shelter in Honiara that could          organization, the government prepared to accede to the UNTOC and
                  provide services to women and child sex trafficking victims; however,            its supplementary protocols, including the TIP Protocol, through a
                  most trafficking victims came from the provinces, making services                series of consultations and sensitization workshops; however, border
                  exclusively located in Honiara difficult to access. The government could         closures due to the pandemic and domestic policy priorities focused
                  not provide shelter for adult males or victims of labor trafficking. Due to      on the pandemic and civil unrest reportedly delayed the process. The
                  lengthy legal processes, fear of retaliation by traffickers or prosecution       government funded an additional sensitization workshop to increase
                  by police, and a lack of incentives to remain and participate in cases,          local-level awareness of the beneﬁts of accession; but the government
                  some unidentiﬁed foreign victims may have opted to return to their home          did not accede by the end of the reporting period. Solomon Islands was
                  countries. Observers noted these insufficiencies in protection services          not a party to the TIP Protocol.
                  likely discouraged some victims from testifying in court proceedings,
                  thereby hindering prosecutorial progress. The Immigration Act granted            TRAFFICKING PROFILE
                  the government authority to provide temporary residence permits for              As reported over the past ﬁve years, human traffickers exploit domestic
                  foreign victims to assist police with investigations, and it insulated foreign   and foreign victims in Solomon Islands, and traffickers exploit victims
                  victims against prosecution for suspected immigration-related crimes             from Solomon Islands abroad. Traffickers exploit local, South Asian, and
                  traffickers compelled them to commit. However, the government did not            Southeast Asian men and women in forced labor and sex trafficking
                  report providing these or other services to any foreign victims, as it did       in Solomon Islands, and local children are especially vulnerable to sex
                  not report identifying any during the reporting period. The government           trafficking and labor trafficking. Women from the PRC, Indonesia,
                  did not report if it would extend these protections to foreign victims           Malaysia, and the Philippines often pay large recruitment fees for jobs in
                  whose cases authorities investigated under the penal code.                       Solomon Islands and upon arrival are forced or coerced into commercial
                                                                                                   sex. Labor traffickers exploit men from Indonesia and Malaysia in
                  In the previous reporting period, the government developed a victim
                                                                                                   the logging, ﬁshing, palm oil, and mining industries. Fishermen from
                  protection policy in connection with the newly adopted NAP focused on
                                                                                                   Indonesia, the Philippines, Vietnam, Sri Lanka, Democratic People’s
                  provisions to encourage victims’ voluntary participation in investigations
                                                                                                   Republic of Korea (DPRK), and Fiji report situations indicative of labor
                  and prosecutions; the government did not report an update to its
                                                                                                   trafficking, including non-payment of wages, dire living conditions,
                  implementation. The government reported trafficking victims could
                                                                                                   violence, and limited food supply, on Taiwan-ﬂagged ﬁshing vessels in
                  seek compensation from their employers through civil suits, although it
                                                                                                   Solomon Islands’ territorial waters and ports. Individuals from the PRC
                  reported that no victims had ever ﬁled such suits. The government did
                                                                                                   may have been forced to work in Solomon Islands at projects run by
                  not provide legal alternatives to the removal of foreign trafficking victims
                                                                                                   PRC-based companies. Traffickers exploit Solomon Islander children
                  to countries where they might face retribution or hardship. Observers
                                                                                                   in sex trafficking and forced labor within the country, sometimes in
                  reported the government redirected resources, including those related
                                                                                                   exchange for money or goods, particularly near foreign logging camps,
                  to anti-trafficking efforts, among government agencies as a result of
                                                                                                   on foreign and local commercial ﬁshing vessels, and at hotels, casinos,
                  civil unrest in November 2021 and the pandemic and did not prioritize
                                                                                                   nightclubs, and other entertainment establishments. The inﬂow of a
                  trafficking efforts throughout the reporting period.
                                                                                                   cash economic system, coupled with the continuation of an unregulated
                                                                                                   logging industry, has increased vulnerability to trafficking in remote
                  PREVENTION
                                                                                                   communities, speciﬁcally for women and children. Contacts have
                  The government slightly decreased efforts to prevent trafficking. The
                                                                                                   observed a recent increase in commercial sex—and a concomitant uptick
                  Anti-Human Trafficking Advisory Committee (AHTAC), which included
                                                                                                   in sex trafficking—resulting from certain economic changes. Family
                  government agencies and members of civil society, led the country’s
                                                                                                   members are often the facilitators of such transactional agreements.
                  anti-trafficking efforts. The government adopted its NAP against
                                                                                                   Natural disasters signiﬁcantly increase Solomon Islanders’ vulnerability
                  Human Trafficking and People Smuggling 2020-2025, developed
                                                                                                   to trafficking; Solomon Islanders affected by a cyclone in 2020 may be
                  in partnership with an international organization. The government
                                                                                                   at higher risk of trafficking due to the economic hardships caused by
                  reported it was unable to hold anti-trafficking programs planned by
                                                                                                   the destruction. Anecdotal reporting showed an increase in the sexual
                  the AHTAC due to the pandemic. Unlike the previous reporting period,
                                                                                                   exploitation of girls, some of which may have been sex trafficking, as
                  the Immigration Division did not report conducting awareness-raising
                                                                                                   many returned to remote villages as a result of the pandemic.
                  campaigns targeting communities near logging and mining operations;
                  the government did not report conducting any awareness campaigns                 Some official corruption—especially in relation to facilitating irregular
                  during the reporting period. The government did not operate or support           migration and involvement in the ﬁshing and forestry sectors—may
                  an anti-trafficking hotline.                                                     enable trafficking. Some boys, girls, and young women are recruited
                                                                                                   for domestic work and subsequently exploited in commercial sex at
                  Labor inspectors conducted routine inspections; however, the government
                                                                                                   logging camps. Under informal or traditional justice practices, parents
                  did not report providing anti-trafficking training to its inspectors. For the
                                                                                                   frequently receive payments for sending young women and girls into
                  third consecutive year, the Labor Division did not report conducting any
                                                                                                   forced marriages with foreign workers at logging and mining companies,
                  monitoring and inspection activities at logging operations or in the ﬁshing
                                                                                                   where many of them are exploited in domestic servitude or sex trafficking.
                  or mining sectors. Forestry officials stated a lack of industry regulation
                                                                                                   Often these payments are rendered after the victims escape or are
                  or laws outlining child protection and social safeguards prevented
                                                                                                   returned home as informal compensation brokered by local leadership.
                  them from detecting and investigating potential abuses, including
                                                                                                   In this way, local community leaders may also beneﬁt ﬁnancially from
                  trafficking, related to logging operations’ impact on local communities.
                                                                                                   these arrangements. Mining and logging camp leadership reportedly
                  In November 2021, the government, in partnership with international
                                                                                                   force boys to serve as solairs—illicit brokers procuring girls for sexual
                  organizations, developed a policy framework to set minimum terms
                                                                                                   and domestic service in worker lodging facilities—and logging camp
                  and conditions for crewmembers working on licensed foreign and
                                                                                                   personnel force young males to work as domestic servants and cooks.
                  domestic-ﬂagged ﬁshing vessels operating in Solomon Islands’ waters
                                                                                                   Following the government’s decision to cease issuance of new logging
                  in an effort to address trafficking risks among crewmembers. The
                                                                                                   licenses, a decline in the industry has contributed to an increase in internal
                  interagency Business Monitoring Joint Agency Committee (BMJAC)
                                                                                                   economic migration of communities located in former logging areas;
                  monitored, inspected, and investigated breaches of labor laws. Unlike
                                                                                                   these displaced communities may be at higher risk of sex trafficking and

   500                                                                                                                                            Haiti AR_000981
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 606 of 729




                                                                                                                                                                   SOUTH AFRICA
forced labor. Elsewhere, Solomon Islander children may be subjected              those engaging in commercial sex, in rural and agricultural communities,
to forced labor in the agricultural sector, forced harvesting of seafood,        and foreign migrants. • Formalize a conﬁdential reporting mechanism
and forced criminality in the manufacturing and transportation of drugs          for civil society to safely report allegations of official corruption and
and in pickpocketing. Anecdotal reports show an increase in children             complicity in trafficking crimes directly to the government for vigorous
involved in street vending, begging, and pickpocketing during the                investigation. • Extend the availability of drug rehabilitation services
pandemic. To pay off debts, some parents reportedly sell their children          to trafficking victims and increase the length of treatment beyond the
to other families via “informal adoption” that often involves forced labor       current limit of six weeks to facilitate recovery. • Accredit or establish
or sexual servitude. Traffickers also use Solomon Islands as a transit           additional trafficking-speciﬁc shelters for male, transgender, and child
point to subject foreign individuals to trafficking in other countries.          trafficking victims. • Amend the anti-trafficking law to remove sentencing
                                                                                 provisions that allow ﬁnes in lieu of imprisonment for sex trafficking.

                                                                                 PROSECUTION
 SOUTH AFRICA: TIER 2                                                            The government maintained anti-trafficking law enforcement efforts.
                                                                                 PACOTIP criminalized sex trafficking and labor trafficking and prescribed
 WATCH LIST                                                                      penalties of up to life imprisonment, a ﬁne of up to 100 million South
                                                                                 African rand ($6.3 million), or both. The penalties were sufficiently
The Government of South Africa does not fully meet the minimum                   stringent; however, with regard to sex trafficking, by allowing for a ﬁne in
                                                                                 lieu of imprisonment, the prescribed punishment was not commensurate
standards for the elimination of trafficking but is making signiﬁcant
                                                                                 with those for other serious crimes, such as rape. The implementing
efforts to do so. These efforts included convicting and sentencing
                                                                                 regulations for PACOTIP’s immigration provisions found in Sections 15,
traffickers to substantial terms of imprisonment, including government
                                                                                 16, and 31(2)(b)(ii) have not been promulgated; therefore, critical sections
officials complicit in human trafficking. The government re-appointed
                                                                                 of the act remained inactive for the ninth consecutive year. The Criminal
the Chair of the National Inter-ministerial Committee for Trafficking in
                                                                                 Law (Sexual Offenses and related matters) Amendment Act of 2007
Persons (NICTIP). It also increased the number of victims identiﬁed
                                                                                 (CLAA) also criminalized the sex trafficking of children and adults and
and the number of accredited shelters. However, the government did
                                                                                 prescribed penalties of up to life in prison; these penalties were sufficiently
not demonstrate overall increasing efforts compared with the previous
                                                                                 stringent and, with respect to sex trafficking, commensurate with other
reporting period, even considering the impact of the COVID-19 pandemic           serious crimes, such as rape. The Basic Conditions of Employment
on its anti-trafficking capacity. Agencies responsible for identifying,          Act of 1997 (BCEA), amended in 2014, criminalized forced labor and
referring, and certifying trafficking victims lacked coordination, resulting     prescribed maximum penalties of three to six years’ imprisonment. In
in victims unable to access emergency services. Law enforcement                  addition, the Children’s Amendment Act of 2005 prescribed penalties
continued to lack the necessary training to avoid victim re-traumatization.      of ﬁve years to life imprisonment or ﬁnes for the use, procurement, or
For the ninth consecutive year, the government did not promulgate                offer of a child for slavery, commercial sexual exploitation, or to commit
implementing regulations for the 2013 Prevention and Combating of                crimes. Prosecutors sometimes relied on the Prevention of Organized
Trafficking in Persons (PACOTIP) Act’s immigration provisions, resulting in      Crime Act of 1998 in combination with CLAA, which added additional
foreign victims unable to access immigration remedies. Therefore South           charges—such as money laundering, racketeering, or criminal gang
Africa remained on Tier 2 Watch List for the second consecutive year.            activity—and increased penalties of convicted defendants.
                                                                                 The Directorate for Priority Crime Investigation (DPCI, or Hawks), a
        SOUTH AFRICA TIER RANKING BY YEAR                                        division of SAPS, initiated 18 trafficking case investigations involving 27
    1                                                                            suspects and continued 73 case investigations from previous reporting
    2                                                                            periods. This compared with initiating 31 case investigations in the
                                                                                 previous reporting period. The National Prosecuting Authority (NPA)
  2WL
                                                                                 initiated nine prosecutions of 16 suspects and continued 32 prosecutions
    3                                                                            of 108 suspects from prior reporting periods, compared with 31 suspects
           2015     2016      2017     2018   2019   2020     2021     2022
                                                                                 prosecuted for trafficking crimes in an unknown number of cases and
                                                                                 continuing 14 prosecutions during the previous reporting period. The
                                                                                 government convicted 11 traffickers—including two complicit officials—in
                                                                                 10 cases under trafficking charges, compared with convicting seven
PRIORITIZED RECOMMENDATIONS:                                                     traffickers in the previous year. Judges sentenced ﬁve traffickers to life
Increase efforts to investigate, prosecute, and convict officials complicit      imprisonment, one trafficker to 20 years’ imprisonment, and ﬁve awaited
in trafficking crimes and traffickers within organized crime syndicates,         sentencing at the end of the reporting period. In the previous year, judges
including cases of online exploitation. • Increase training for South            sentenced two traffickers to life imprisonment and ﬁve traffickers to
African Police Service (SAPS) officers on trauma-informed interviewing           between 22 and 25 years’ imprisonment. The government reported 13
techniques, as well as victim identiﬁcation and referral standard operating      trafficking prosecutions withdrawn, acquitted, or declined to prosecute,
procedures (SOPs), and train specialized investigators on human                  and one not guilty verdict that was appealed.
trafficking investigations and computer forensics to investigate online
exploitation. • Increase resources and training for front-line responders to     The government recognized official complicity as a key challenge in
effectively use victim identiﬁcation and referral SOPs to identify trafficking   addressing all transnational crime, including human trafficking, and
victims, including by screening for trafficking indicators among vulnerable      investigated, prosecuted, and convicted government officials during the
populations, such as individuals engaging in commercial sex, children,           reporting period. The government prosecuted and convicted two high-
LGBTQI+ persons, refugees, migrants, and Cuban medical workers, and              ranking government officials for child sex trafficking, including a Police
systematically refer trafficking victims to care. • Pass, promulgate, and        Superintendent and a former Chair of a PTT. The government investigated
implement the Department of Home Affairs (DHA) immigration provisions            two SAPS officers for complicity in human trafficking; the case remained
in Chapters 3 and 7 of PACOTIP, including Sections 15, 16, and 31(2)(b)          ongoing at the end of the reporting period. Civil society continued to
(ii), and ensure the issuance of appropriate immigration status and              report widespread corruption, particularly among the Department of
identiﬁcation documents for trafficking victims. • Increase collaboration        Social Development (DSD), DHA, SAPS, and DPCI. Observers reported in
between NICTIP, Provincial Task Teams (PTTs), and civil society to               exchange for bribes, lower-level officials warned traffickers of operations
integrate referral and response systems and include all stakeholders,            by law enforcement, immigration officials facilitated undocumented entry
including civil society and survivors, in the renewal of the National Policy     for traffickers at land and air border points, and DSD returned survivors to
Framework (NPF). • Implement policies to disconnect the requirement              traffickers instead of referring them to care. NGOs reported some SAPS
for victims to participate in investigations and prosecutions in order to        officers were unwilling to investigate cases and relied on NGOs to obtain
be formally identiﬁed and receive trafficking victim status. • Increase          victims’ statements and build cases. Civil society reported cases of sex
outreach and awareness efforts to vulnerable populations, especially for         trafficking of Basotho women from Lesotho in South African brothels;
                                                                                                                                     Haiti AR_000982               501
                   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 607 of 729
SOUTH AFRICA   however, due to alleged official complicity of both Basotho and South             to SAPS; SAPS was then required to conﬁrm the trafficking allegations,
               African officials linked to the brothels, they continued to operate with          ﬁle human trafficking charges within 48 hours, and coordinate with
               impunity. Given mistrust in law enforcement, civil society reported the           the provincial DSD representative. DSD was responsible for certifying
               need for a trusted, high-level government contact to receive reports of           trafficking victim status by issuing a letter of recognition, authorizing and
               officials complicit in human trafficking crimes, to facilitate investigations     monitoring the provision of protective services, preparing victim-witnesses
               and to avoid retribution. However, while the government recognized the            for court, and accompanying victims through trial and repatriation, if
               need to establish conﬁdential channels to receive such information, the           applicable. NGOs reported DSD and SAPS failed to coordinate and were
               government did not report any action to establish a reporting mechanism.          often unreachable to certify victims’ status, resulting in victims unable to
                                                                                                 access emergency shelter and services. Observers reported instances of
               Law enforcement agencies had insufficient resources, lacked necessary
                                                                                                 SAPS officers leaving trafficking victims at shelters without coordinating
               training to adequately and appropriately investigate all reported trafficking
                                                                                                 with DSD and, when this occurred in Gauteng and Western Cape, DSD
               cases, and continued to rely heavily on victim testimony for prosecutions.
                                                                                                 refused assistance to victims until conﬁrmation from SAPS was obtained.
               Observers reported law enforcement lacked training in trauma-informed
                                                                                                 As reported by observers, in numerous instances, SAPS, DPCI, and DSD
               interviewing and victim care, resulting in cases of DPCI investigators
                                                                                                 left victims at police stations overnight if their case was opened at the
               taking victims to locations of previous exploitation to provide statements
                                                                                                 end of or after business hours. Additional reports of officers leaving
               or victims’ statements not being taken at all. The lack of clarity on case
                                                                                                 trafficking victims unattended at police stations during transport for
               status, low prospect of success, sometimes years-long delays in cases,
                                                                                                 medical care resulted in victim harassment and re-traumatization. After
               coupled with feelings of shame dissuaded victims from participating
                                                                                                 reporting to SAPS, within the same 48-hour time period, victims had to
               in trials. Approximately 50 DPCI investigators nationwide conducted
                                                                                                 decide whether to serve as victim-witnesses. Reportedly, victims willing
               trafficking investigations, among other duties; there were no dedicated
                                                                                                 to participate in investigations and prosecutions received certiﬁcation
               officers to investigate human trafficking crimes. Observers reported
                                                                                                 and services faster than those unwilling to cooperate. To circumvent the
               a slight increase in law enforcement responsiveness to investigate
                                                                                                 existing process in Western Cape, DSD and the Department of Health
               potential trafficking cases compared to previous reporting periods.
                                                                                                 (DOH) collaborated with civil society to amend existing SOPs, permitting
               Western Cape province had “Vice Squads” to proactively identify sex
                                                                                                 medical and psychological assessments for victims before certiﬁcation
               trafficking within commercial sex establishments; however, observers
                                                                                                 to access more immediate mental health care.
               reported these squads did not proactively conduct such investigations.
               SAPS did not collaborate with civil society and were reportedly slow              The government continued oversight of 18 accredited NGO-run
               to investigate leads generated by other law enforcement agencies.                 multipurpose shelters and newly accredited one government-operated
               NPA permitted virtual court appearances in some cases to overcome                 multipurpose shelter during the reporting period, bringing the total to
               pandemic-related restrictions.                                                    19 shelters accredited to serve trafficking victims. Each province had at
                                                                                                 least one accredited shelter. Additionally, the government oversaw 88
               Due to the pandemic, the government provided limited training to law
                                                                                                 semi-accredited shelters that provided emergency care to victims for up
               enforcement during the reporting period. DPCI and SAPS supported a
                                                                                                 to 72 hours and operated a network of 55 Thuthuzela Care Centers—full-
               workshop at a university for 300 students, also attended by 34 DPCI and
                                                                                                 service crisis centers to assist victims of GBV, including trafficking victims.
               SAPs officers, on PACOTIP and referring victims to care. NPA’s Sexual
                                                                                                 Additional NGO-operated shelters, unaccredited by the government, also
               Offenses and Community Affairs (SOCA) Unit trained 132 SAPS officers
                                                                                                 provided care speciﬁcally to trafficking victims. The government provided
               and NPA prosecutors on investigating sex crimes. The government
                                                                                                 NGO shelters a stipend on a per person, per night basis; however, NGOs
               reported coordinating with the Government of Botswana on a trafficking
                                                                                                 reported funds were generally inaccessible after business hours, due
               investigation and collaborated with the Government of Eswatini and
                                                                                                 to unresponsiveness by SAPS and DSD. In previous reporting periods,
               an NGO on an investigation and repatriation of one victim during the
                                                                                                 observers reported some DSD shelters occasionally refused to accept
               reporting period.
                                                                                                 trafficking victims due to security concerns or drug addiction. NGOs
                                                                                                 reported that government shelter staff sometimes failed to inform victims
               PROTECTION
                                                                                                 of the status of criminal cases against their traffickers. LGBTQI+ persons,
               The government maintained mixed victim identiﬁcation and protection
                                                                                                 particularly transgender persons and migrants, were especially at high risk
               efforts. The government identiﬁed 83 trafficking victims and referred
                                                                                                 for trafficking due to social stigmatization; in Western Cape, there was
               74 victims to care, compared with identifying 16 victims in the previous
                                                                                                 one shelter dedicated solely for victims from the LGBTQI+ community.
               reporting period. NGOs identiﬁed and referred to care an additional 24
                                                                                                 Shelters accessible to persons with disabilities provided limited services;
               child trafficking victims and identiﬁed 62 potential victims through transit
                                                                                                 it was unknown if trafficking victims received these services during the
               monitoring. The government’s ongoing investigations and prosecutions
                                                                                                 reporting period. In Gauteng, trafficking victims received substance
               involved 426 survivors, including those identiﬁed in previous reporting
                                                                                                 abuse rehabilitation through ﬁve accredited treatment centers; however,
               periods, compared with 226 survivors in 2020, 377 survivors in 2019, and
                                                                                                 treatment was provided for only six weeks. Few shelters accepted victims
               260 survivors in 2018. NGOs reported the official statistics did not reﬂect
                                                                                                 with their children. Gauteng, KwaZulu-Natal (KZN), and Western Cape
               the scope of trafficking, since institutional problems resulted in many
                                                                                                 generally offered adequate standards of care in both rural and urban
               victims remaining unidentiﬁed by the government. Conﬂation between
                                                                                                 areas. Care in other provinces was sometimes inadequate. Foreign
               gender-based violence (GBV) and human trafficking also led to the
                                                                                                 victims, both undocumented and with legal authorization, were fearful
               misidentiﬁcation of victims. Most agencies, including SAPS, DSD, NPA,
                                                                                                 of accessing services at government facilities. Undocumented victims
               and the Department of Justice and Constitutional Development (DOJCD),
                                                                                                 could not legally seek employment, even when cooperating with law
               used SOPs to identify and refer trafficking victims to care, in accordance
                                                                                                 enforcement, and their trials extended several years. In response to the
               with PACOTIP; however, agencies and provinces implemented the SOPs
                                                                                                 pandemic, NGOs reported that government shelters remained open, but
               inconsistently. Additionally, SAPS officers sometimes lacked basic
                                                                                                 pandemic-related mitigation approaches limited capacity, sometimes
               understanding of human trafficking as a crime, which impeded efforts.
                                                                                                 preventing the intake of new victims. The government allocated additional
               The government reported providing trafficking victims with temporary              personnel to assist with long-term service provision, which was shifted to
               emergency shelter, food assistance, interpreters, specialized medical             predominantly at-home care because of pandemic-related restrictions.
               care, psycho-social support, and transportation. NGOs reported the lack
                                                                                                 The government did not report if victims were referred to the DPCI
               of training, awareness of agency responsibilities, and coordination by
                                                                                                 Coordinator for Trafficking, who ensured assigned officers received
               government officials resulted in victims facing delays in receiving care
                                                                                                 training to handle trafficking investigations. Through the NPA’s Court
               and increased the potential for victims returning to or being located by
                                                                                                 Preparation Program, the government provided victims with the option to
               their traffickers. By law, trafficking victims were not required to participate
                                                                                                 testify via video conference and enhanced shelter and witness protection if
               in the investigation and prosecution of traffickers; however, in practice,
                                                                                                 the victim faced danger due to participation in the case. NGOs emphasized
               to access services, many victims had to report to law enforcement. For
                                                                                                 the critical need for SAPS to issue Police Inquiry Numbers and CAS
               certiﬁcation as a trafficking victim—the process that permitted victims to
                                                                                                 numbers to victims to facilitate follow-up on victim referrals and to
               access government services and beneﬁts—victims must report their case
                                                                                                 track progress in their cases. PACOTIP allowed judges to order victim

  502                                                                                                                                           Haiti AR_000983
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 608 of 729




                                                                                                                                                                SOUTH AFRICA
restitution in trafficking cases, but the government did not report any          to the NHTH from victims occurred after police neglected to take their
orders during the reporting period.                                              reports seriously or alleged police complicity was involved. An NGO-
                                                                                 operated national social justice hotline also received calls concerning
Foreign victims faced additional barriers to access care and justice.
                                                                                 human trafficking.
PACOTIP authorized trafficking victims to receive relief from deportation;
however, the government did not promulgate regulations to implement              The government increased awareness-raising activities in KZN, Gauteng,
this provision or guide the handling of trafficking cases for the ninth          Eastern Cape, and Northern Cape, reaching more than 11,500 individuals
consecutive year; the draft regulations remained pending approval by             during the reporting period, although pandemic restrictions limited
the DHA Minister for the third consecutive year. Reportedly, no trafficking      efforts. On World Day Against Trafficking, DOJCD held a public awareness
victims were deported; however, reports from civil society conﬁrmed              event with an international organization. NPA trained DOH School
vulnerable foreign migrants seeking entry at airports and land border            Coordinators and Department of Economic Development, Tourism, and
crossings were not screened for indicators of trafficking before they            Environmental Affairs officials on victim identiﬁcation. The NPA SOCA
were denied entry. As proscribed under PACOTIP, foreign trafficking              Unit launched an internet cartoon circulated through social media to
victims are entitled to a visitor’s visa for 30 days, which can be extended      raise awareness of human trafficking; with academic partners, held
if cooperating in an investigation or prosecution or if danger to the victim     a webinar for students and the public on online recruitment tactics
exists in their home country; however, the government did not report             used by traffickers; and trained attorneys on trafficking in persons
whether these visas have ever been issued. DHA had a policy to issue             facilitated by a university in KZN. PTTs held a series of webinars with
temporary identiﬁcation documentation for foreign trafficking victims,           civil society support, hosted a social awareness campaign for hospitality
requiring renewal every two weeks and continued cooperation with                 employees on indicators of human trafficking, and drafted a nationwide
SAPS; however, DHA did not report issuing such documentation to any              communication strategy. DPCI Provincial Units conducted 18 awareness
trafficking victims during the reporting period.                                 events, with at least one featuring a trafficking survivor speaker, and
                                                                                 contributed to workshops to raise awareness of child trafficking for
PREVENTION                                                                       government officials, civil society, and the media. SAPS and DSD
The government maintained mixed efforts to prevent trafficking. The              supported awareness efforts in local communities. With the support
government coordinated anti-trafficking efforts through NICTIP, which            of an NGO, DSD trained more than 296 stakeholders from Gauteng
was chaired by DOJCD, with representatives from DHA, DSD, SAPS, NPA,             and Western Cape provinces on preventing child exploitation and
DOH, Department of Employment and Labor (DOEL), Department of                    human trafficking. One PTT conducted a social media campaign that
International Relations and Cooperation, and civil society; NICTIP met           included aspects aimed at targeting consumers to reduce the demand
regularly. DOJCD also chaired the National Rapid Response Team,                  for commercial sex.
which coordinated the response to trafficking investigations and victim
                                                                                 In the previous reporting period, DOJCD reported developing an
identiﬁcations and referrals. The government continued to implement
                                                                                 integrated information system to collect data on, and improve responses
the 2019-2022 NPF to improve capacity and coordination to combat
                                                                                 to, trafficking but did not report any efforts to ﬁnalize or begin use of
trafficking among government agencies and began procedures for
                                                                                 the system during the reporting period. The government reported, in
renewal in 2022. The government reappointed the previous Chair of
                                                                                 previous years, contributing human trafficking data to a regional data
NICTIP, who was removed in the previous reporting period. The Chair
                                                                                 collection system but did not report doing so in the reporting period.
directed all governmental trafficking efforts and implementation of
                                                                                 Department of Science and Innovation collaboratively funded a landscape
the NFP. Established in all nine provinces, PTTs coordinated provincial
                                                                                 study with a foreign government donor to understand the scope and
policies, and Provincial Rapid Response Teams (PRRTs) facilitated local
                                                                                 prevalence of human trafficking in South Africa, which concluded during
responses to trafficking cases and victim identiﬁcations. Some PTTs met
                                                                                 the reporting period. Nevertheless, some officials publicly downplayed
regularly during the reporting period, including in KZN, Western Cape,
                                                                                 the existence of trafficking, which stymied public awareness and data
and Mpumalanga, while others met sporadically. Representatives on
                                                                                 collection efforts. The South African National Defense Forces maintained
both NICTIP and PTTs shared duties on multiple task teams for other
                                                                                 a hotline for reports of sexual exploitation by armed forces but did not
crimes, such as GBV, which limited capacity and resources to address
                                                                                 report whether it received any calls regarding such exploitation during
human trafficking. Coordination and communication challenges between
                                                                                 the reporting period. Since 2015, 39 allegations of sexual exploitation
national and provincial teams were exacerbated by the lack of consistent
                                                                                 and abuse were made against 45 South African peacekeepers; of
NICTIP leadership, commitment by government agencies, and limited
                                                                                 these, the government has taken accountability measures in 22 cases
capacity. SAPS, DHA, and DOEL were often absent from PTT and PRRT
                                                                                 and continued investigating six other cases. The Generic and Sector
meetings. Lack of technology access prevented some members from
                                                                                 Speciﬁc Training Manual on the PACOTIP Act, launched two years ago,
attending virtual PTT meetings, which limited PTTs’ engagement and
                                                                                 contained a training plan for peacekeepers; however, the government
effectiveness.
                                                                                 did not report providing anti-trafficking training to its troops prior to
In part due to the pandemic, the government did not comprehensively              deployment as peacekeepers. The government reported training its
monitor or investigate forced labor of adults or children in the agricultural,   diplomatic personnel on the anti-trafficking law, but not speciﬁcally
mining, construction, and ﬁshing sectors. In 2021, the DOEL employed             on identifying trafficking indicators.
1,853 labor inspectors, conducted 296,904 inspections, and detected
41,710 violations, an increase from 227,990 inspections in 2020;                 TRAFFICKING PROFILE
forced and child labor violations were not speciﬁed. Due to pandemic             As reported over the past ﬁve years, human traffickers exploit domestic
restrictions, many inspections were conducted virtually, which limited           and foreign victims in South Africa, and traffickers exploit victims
detection of potential forced labor-related violations. In three sessions,       from South Africa abroad. Traffickers recruit victims from neighboring
DOEL trained 68 labor inspectors and managers from Northern Cape,                countries and rural areas within South Africa, particularly Gauteng,
Eastern Cape, and Gauteng on employment laws, human trafficking, and             and exploit them in sex trafficking locally and in urban centers, such as
child exploitation. While inspectors had the legal authority to investigate      Johannesburg, Cape Town, Durban, and Bloemfontein. Traffickers force
private farms, they reported difficulty in securing access. For the past         both adults and children, particularly those from poor and rural areas
two years, DHA did not provide vulnerable migrant populations with               and migrants, into labor in domestic service, mining, food services,
proper immigration documentation, resulting in children denied entry             construction, criminal activities, agriculture, and the ﬁshing sector.
to schools, which increased vulnerabilities for trafficking. SAPS operated       Traffickers may exploit South Africans in forced labor on vineyards and
a hotline that could receive reports of potential trafficking cases and          fruit and vegetable farms across the country.
a mobile app that led to four human trafficking investigations. The
                                                                                 High unemployment, low wages, and pandemic-related restrictions
government and civil society directed most trafficking-related calls to
                                                                                 increased vulnerability of exploitation, particularly of youth, Black women,
the NGO-operated National Human Trafficking Hotline (NHTH), which
                                                                                 and foreign migrants. Traffickers recruit victims who lack employment
the government advertised. In cooperation with PRRTs, NHTH received
                                                                                 and struggle with substance addiction, and commonly use substance
2,146 calls pertaining to human trafficking in 2021 and successfully
                                                                                 addiction to control victims, including children. Parents with substance
removed 20 trafficking victims from exploitation. Reportedly, most calls
                                                                                                                                   Haiti AR_000984              503
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 609 of 729
SOUTH SUDAN   addiction sometimes exploit their children in sex trafficking to pay for          exploit young men from neighboring countries who migrate to South
              drugs. Traffickers increasingly entice foreign and South African women            Africa for farm work; some are subsequently arrested and deported as
              and girls with the promise of marriage and then force them into labor             undocumented immigrants. Owners of privately-owned PRC businesses
              after marriage. Abuse of the custom of ukuthwala, a cultural norm                 exploit PRC national, South African, and Malawian adults and children
              that can manifest into forced marriage, may contribute to vulnerability           in factories, sweatshops, and other businesses. The Cuban government
              of girls and women to exploitation, particularly in Eastern Cape and              may have forced 187 Cuban medical workers to work in South Africa,
              KZN. According to a study, in 2021, approximately 500,000 children                operating in all provinces to combat the pandemic. These agreements
              had dropped out of school, resulting in a total of 750,000 children not           typically require payment directly to the Government of Cuba, which
              enrolled in school; high death rates from the pandemic increased the              gives the medical workers between 5 and 15 percent of the salary only
              orphan population, leaving more children vulnerable to exploitation.              after they complete the mission and return home.
              There were some reports of boys lured out of the country for fake sports
              scholarships and then forced into exploitation.
              Traffickers recruit both foreign and South African victims through fake
              job advertisements on social media and classiﬁed advertisement forums,             SOUTH SUDAN: TIER 3
              which proliferated during the pandemic, including advertisements for
              webcam modeling, hospitality, mining, and domestic work. Some fake                The Government of the Republic of South Sudan does not fully meet
              advertisements, particularly for domestic work, speciﬁcally request               the minimum standards for the elimination of trafficking and, even
              Zimbabwean or Malawian applicants. Because domestic workers may not               considering the impact of the COVID-19 pandemic, on the government’s
              have formal contracts, employers ﬁred many without notice or pay during           anti-trafficking capacity, is not making signiﬁcant efforts to do so;
              the pandemic, rendering them vulnerable to potential exploitation. Some           therefore South Sudan remained on Tier 3. Despite the lack of signiﬁcant
              employers restricted workers’ movements and forced them to remain at              efforts, the government took some steps to address trafficking, including
              worksites during the pandemic, which increased the workers’ vulnerability         convening its anti-trafficking inter-ministerial task force, ﬁnalizing the
              to forced labor and abuse by employers. Despite high unemployment,                2021-2023 National Action Plan (NAP) to Combat Trafficking, and
              migrants travel from East and Southern Africa to South Africa looking             conducting awareness activities. However, during the reporting period,
              for economic opportunity or ﬂeeing conﬂict, particularly from Ethiopia,           there was a government policy or pattern of employing and recruiting
              Eritrea, and Mozambique, and are vulnerable to exploitation. Due to the           child soldiers. Government security and law enforcement officers
              pandemic, the government issued a blanket extension of refugee and                continued to forcibly recruit and use child soldiers and did not hold
              asylum certiﬁcates, but many employers and banks failed to recognize              any members of the South Sudan People’s Defense Forces (SSPDF) or
              the extensions, resulting in loss of employment and frozen back accounts,         South Sudan National Police Services (SSNPS) criminally accountable
              rendering asylum seekers increasingly vulnerable to traffickers. Local
                                                                                                for these unlawful acts. Authorities did not report investigating or
              refugee rights groups reported that, due to the pandemic, DHA shuttered
                                                                                                prosecuting any forced labor or sex trafficking crimes for the 10th
              its offices in 2020, resulting in asylum seekers unable to obtain asylum
                                                                                                consecutive year. The government did not report identifying or assisting
              seeker certiﬁcates. The lack of valid documentation limited asylum
                                                                                                any victims and continued to penalize victims for unlawful acts their
              seeker’s ability to access protection and services.
                                                                                                traffickers compelled them to commit.
              Official complicity in trafficking crimes, especially by police, facilitated
              the operation of traffickers and organized syndicates engaging in
              trafficking. Syndicates, often dominated by Nigerians, force women                        SOUTH SUDAN TIER RANKING BY YEAR

              from Nigeria and countries bordering South Africa into commercial                     1
              sex, primarily in brothels and other commercial-front establishments.                 2
              South African trafficking rings exploit girls as young as 10 years old              2WL
              in sex trafficking. Some well-known brothels, previously identiﬁed
                                                                                                    3
              as locations of sex trafficking, continue to operate with officials’ tacit
                                                                                                          2015      2016     2017      2018   2019   2020     2021    2022
              approval. In some cases, traffickers exploit women in brothels disguised
              as bed and breakfasts. Syndicates also recruit South African women
              to Europe and Asia, where traffickers force some into commercial sex,
              domestic service, or drug smuggling. Mozambican crime syndicates
                                                                                                PRIORITIZED RECOMMENDATIONS:
              use the eastern border of Kruger National Park in Mpumalanga to
                                                                                                Cease all unlawful recruitment and use of children by government forces
              transport South African men to other parts of the country for forced
                                                                                                and associated militias and immediately demobilize all child soldiers
              labor, through the same routes used by syndicates to facilitate other
                                                                                                under the command or inﬂuence of government forces and affiliated
              crimes. Syndicates also exploit miners, both South African and foreign
                                                                                                militias and, in partnership with international organizations, provide
              migrants, sometimes known as zama zamas, in illegal gold, diamond,
                                                                                                adequate protection and reintegration support for child victims. •
              and coal mining. Traffickers operating in South Africa are mostly from
                                                                                                Vigorously investigate and prosecute suspected traffickers, including
              Nigeria and South Africa; however, there were reports of traffickers
                                                                                                complicit government officials. • Train law enforcement and social workers
              from Bangladesh, Tanzania, Malawi, Mozambique, Pakistan, Zimbabwe,
                                                                                                to identify trafficking victims, particularly among vulnerable groups
              Ethiopia, and the People’s Republic of China (PRC).
                                                                                                such as children, individuals in commercial sex, internally displaced
              Undocumented children, including many child trafficking victims from              persons, and North Korean overseas workers. • Provide additional
              Mozambique, the Democratic Republic of the Congo, and Zimbabwe, are               ﬁnancial and staffing support to the SSPDF’s Directorate of Child
              unable to access education and government services, which increases               Protection to facilitate efforts to identify perpetrators of child soldiering
              their risk of statelessness and vulnerability to trafficking. Recruiters entice   and refer cases to civilian courts. • Draft, ﬁnalize, and implement victim
              women from the Middle East, Asia, and countries bordering South Africa            identiﬁcation screening and referral procedures in partnership with
              with offers of legitimate employment, but upon arrival, some subject              international organizations and civil society. • Train law enforcement
              the women to domestic servitude or forced labor in the service sector.            officers, prosecutors, and judges—including officials serving on the
              Traffickers exploit Basotho women in sex trafficking and domestic                 Gender Based Violence and Juvenile Court—on the 2008 Child Act, 2008
              servitude and men in labor trafficking, particularly in the mining sector,        Penal Code, and 2018 Labor Act. • Increase funding and resources for
              in South Africa. Traffickers exploit foreign male victims aboard ﬁshing           the anti-trafficking inter-ministerial taskforce. • Amend the 2008 Penal
              vessels in South Africa’s territorial waters. Asian workers may travel to         Code or pass a comprehensive anti-trafficking law to criminalize adult
              South Africa via commercial ﬂights to disembark on ﬁshing vessels where           sex trafficking and prescribe penalties that are sufficiently stringent
              they are exploited. Traffickers subject Pakistanis and Bangladeshis to            and commensurate with other grave crimes, such as rape. • Accede
              forced labor through debt-based coercion in businesses owned by their             to the 2000 UN Convention Against Transnational Organized Crime
              co-nationals. In one case, a Nepali trafficker fraudulently recruited a           and its TIP Protocol.
              Nepali man to South Africa and exploited him in forced labor. Traffickers
  504                                                                                                                                           Haiti AR_000985
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 610 of 729




                                                                                                                                                            SOUTH SUDAN
PROSECUTION                                                                  reporting period. Observers noted the decrease in demobilizations was
The government continued to demonstrate negligible law enforcement           likely due to a lack of resources. Government officials noted many SSPDF
efforts. The 2008 Penal Code, 2008 Child Act, and 2018 Labor Act             officers did not meet their annual training requirements to increase
criminalized some forms of sex trafficking and labor trafficking. Article    awareness of international standards and obligations around child soldier
277 of the penal code prohibited forced labor and prescribed penalties       recruitment and use due to ongoing conﬂict, poor communication, and
of up to two years’ imprisonment, a ﬁne, or both; these penalties were       general lack of capacity. The SSPDF’s Directorate for Child Protection,
not sufficiently stringent. Article 276 criminalized buying or selling a     headed by a brigadier general, maintained responsibility for investigating
child for the purpose of prostitution and prescribed a punishment of up      allegations of child soldiering. Despite ongoing reports that government
to 14 years’ imprisonment and a ﬁne, which was sufficiently stringent        forces continued to recruit and use child soldiers, officials did not report
and commensurate with punishment prescribed for other serious crimes,        opening any inquiries into complicit officers.
such as rape. Articles 254 and 258 criminalized the procurement of a         The government did not report providing services to any victims of
child for prostitution and the facilitation of the prostitution of a child   trafficking. Social stigma and fear of punitive law enforcement actions
by the child’s parent or guardian and prescribed penalties of up to 10       continued to discourage victims—particularly those subjected to sex
years’ imprisonment and a ﬁne; these penalties were also sufficiently        trafficking—from reporting crimes to law enforcement officers. The
stringent and commensurate with those prescribed for other serious           government has not passed any laws or policies to protect victims from
crimes, such as rape. The criminal code did not explicitly criminalize       prosecution for unlawful acts traffickers compelled them to commit. Due
adult sex trafficking and, inconsistent with international law, required     to a lack of formal identiﬁcation procedures, authorities likely arrested
movement across borders to establish the crime. Article 282 prohibited       some unidentiﬁed trafficking victims, including children. The government
and prescribed a sufficiently stringent punishment of up to seven years’     did not provide foreign victims with legal alternatives to their removal
imprisonment for the sale of a person across international borders.          to countries where they faced hardship or retribution, nor did it offer
Articles 31 and 32 of South Sudan’s 2008 Child Act prohibited the            legal assistance or other mechanisms to encourage victims to assist in
recruitment and use of children for military or paramilitary activities      the investigation and prosecution of trafficking crimes.
and prescribed punishments of up to 10 years’ imprisonment for such
crimes. The 2018 Labor Act prohibited forced labor and prescribed            PREVENTION
penalties of up to ﬁve years’ imprisonment, a ﬁne, conﬁscation of            The government maintained efforts to prevent trafficking. In coordination
property, cancellation of a business license, or closure of business,        with an international organization, the government regularly convened
or a combination thereof; these penalties were sufficiently stringent.       its anti-trafficking inter-ministerial taskforce. However, for the third
For the ﬁrst time, the government reported investigating three possible      consecutive year, the taskforce did not accomplish its primary objectives
trafficking cases—involving 28 victims: 13 men, 12 women, and three          of ratifying the Palermo Protocol and enacting the country’s migration
children—and arresting four possible traffickers. The government has         policy, which intends to improve the country’s ability to manage migration
not reported prosecuting or convicting any suspected traffickers for the     ﬂows, including increased identiﬁcation of potential trafficking victims
10th consecutive year. The government did not report any investigations,     and smuggling clients. In December 2021, the government began
prosecutions, or convictions of government employees complicit in            drafting its 2021-2023 NAP to Combat Human Trafficking. Trafficking
human trafficking crimes; however, corruption and official complicity        awareness remained low among officials and the public, hindering the
in trafficking crimes remained a signiﬁcant concern, inhibiting law          government’s anti-trafficking efforts. During the reporting period, the
enforcement action during the year. Government authorities cooperated        taskforce conducted awareness activities, including a radio campaign
with two foreign governments to investigate two possible trafficking         for the public, and other events targeting government officials, law
cases. Despite the ongoing unlawful recruitment and use of child             enforcement, community leaders, and law students.
soldiers by the SSPDF, SSNPS, and allied militias, the government has        Government security forces actively continued to recruit child soldiers,
never held an offender criminally or administratively accountable for        at times by force, and did not implement the existing action plan to
such crimes. Law enforcement officials reported that the economic            demobilize child soldiers currently within the forces. In addition, poor
effects of the pandemic reduced resources available for investigations       command and control among SSPDF units and ongoing instability
and also limited efforts throughout much of the country. The lack of         throughout the country hindered implementation. To address the
resources for basic operations, a dearth of trained judicial officials,      labor exploitation of South Sudanese nationals working abroad, the
and corruption throughout the justice sector continued to impede law         government began drafting a bilateral agreement with a foreign
enforcement efforts.                                                         government, conducted a study on best practices for such agreements
The government continued to contribute logistical support for two            with another government, and in collaboration with an international
international organizations to provide training on identifying trafficking   organization, organized trainings for private businesses on ethical
victims and referral mechanisms for judges, prosecutors, police,             recruitment. The government did not make efforts to reduce the demand
immigration officials, and members of the human trafficking task force.      for commercial sex acts or provide anti-trafficking training for its
However, most police and judicial officials continued to lack a basic        diplomatic personnel. South Sudan is not a party to the 2000 UN TIP
understanding of trafficking and frequently conﬂated human trafficking       Protocol.
and migrant smuggling. Officials estimated customary courts handled
80 percent of all cases due to capacity limitations of statutory courts,     TRAFFICKING PROFILE
further limiting accountability for accused sex and labor traffickers.       As reported over the past ﬁve years, human traffickers exploit domestic
The government continued operation of its specialized Gender Based           and foreign victims in South Sudan, and traffickers exploit victims from
Violence and Juvenile Court to expedite trials for gender-based violence     South Sudan abroad. South Sudanese women and girls, particularly
and juvenile cases, which may have included cases involving human            those from rural areas or who are internally displaced, are vulnerable
trafficking. The taskforce continued its review of South Sudan’s legal       to domestic servitude throughout the country; male occupants of these
framework to identify areas for alignment with the 2000 UN Convention        households sexually abuse some of these women and girls and may
Against Transnational Organized Crime and its TIP Protocol.                  exploit some of them in commercial sex. Prominent South Sudanese
                                                                             individuals in state capitals and rural areas sometimes force women and
PROTECTION                                                                   girls into domestic servitude. South Sudanese and foreign businesspeople
The government maintained inadequate protection efforts. Officials           exploit South Sudanese girls in sex trafficking in restaurants, hotels, and
did not report identifying any victims during the reporting period. The      brothels in urban centers—at times with the involvement of corrupt law
government did not report having formal procedures to proactively            enforcement officials. South Sudanese individuals coerce some children
identify and refer victims to care. Members of the National Disarmament,     to work in construction, market vending, shoe shining, car washing, rock
Demobilization, and Reintegration Commission (NDDRC) and other               breaking, brick making, delivery cart pulling, gold mining, begging, and
government officials reported demobilizing and releasing 20 child            cattle herding. South Sudanese and foreign business owners recruit men
soldiers in cooperation with an international organization, compared         and women from neighboring countries—especially the Democratic
with 189 child soldiers demobilized and released during the previous         Republic of the Congo, Eritrea, Ethiopia, Kenya, Republic of the Congo,
                                                                                                                               Haiti AR_000986              505
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 611 of 729
SPAIN   and Uganda—as well as South Sudanese women and children, with                 continuing to issue signiﬁcant prison terms for convicted traffickers.
        fraudulent offers of employment opportunities in hotels, restaurants, and     The government also adopted two anti-trafficking national action plans
        construction and force them to work for little or no pay or coerce them       (NAPs), opened a new shelter for sex trafficking victims, increased
        into commercial sex. An international organization reported Eritrean,         funding for victim assistance, and provided more trafficking victims
        Ethiopian, and Kenyan business owners recruit their compatriots, who          with services compared with the prior year. Judges also awarded
        enter South Sudan with valid visas and travel documents, and exploit          signiﬁcant restitution amounts to most survivors following convictions
        them in forced labor or sex trafficking. Traffickers sexually exploit women   of traffickers. Although the government meets the minimum standards,
        most frequently in the country’s capital, Juba, and in Nimule, a city         investigations decreased compared with the year prior. Gaps remained
        located on the border with Uganda. North Korean nationals working in          in victim identiﬁcation protocols, including a continued lack of adequate
        South Sudan may be forced to work by the North Korean government.             mechanisms for identifying potential trafficking victims among the
        Child, early, and forced marriage remains a nationwide problem, with          asylum-seeker and undocumented migrant population, and contributed
        families forcing some girls into marriages as compensation for inter-         to the government identifying signiﬁcantly fewer victims for the second
        ethnic killings; husbands and their families may subsequently subject         consecutive year.
        these girls to sex trafficking or domestic servitude. East African migrants
        transiting through South Sudan to North Africa remain vulnerable to
                                                                                              SPAIN TIER RANKING BY YEAR
        forced labor and sex trafficking. Observers report traffickers exploit
                                                                                          1
        individuals along the country’s borders with Uganda and Kenya where
        economic activities are concentrated, as well as in artisanal mining              2
        operations along South Sudan’s border with the Democratic Republic              2WL
        of the Congo.                                                                     3
        Violent conﬂict continued throughout the year, resulting in approximately                2015     2016      2017   2018   2019    2020     2021    2022
        1.3 million internally displaced persons (IDPs) as of December 2021 and
        2.3 million South Sudanese refugees living in neighboring countries
        as of October 2021. These groups, including orphaned children, are at
                                                                                      PRIORITIZED RECOMMENDATIONS:
        increased risk of trafficking and other forms of exploitation within South
                                                                                      Increase implementation of national victim identiﬁcation and referral
        Sudan and neighboring countries due to sometimes limited access to
                                                                                      protocols and training for front-line officials on proactive victim
        formal justice and support networks. Unaccompanied children in camps
                                                                                      identiﬁcation, in particular among vulnerable populations such as
        for refugees or IDPs are particularly vulnerable to abduction by sex or
                                                                                      children, undocumented migrants, asylum-seekers, and workers
        labor traffickers. Inter-ethnic abductions and abductions by external
                                                                                      in industries and agricultural regions with high incidences of labor
        criminal elements and armed groups remain common, especially in
                                                                                      exploitation. • Increase investigations, prosecutions, and convictions
        Jonglei, Unity, and Upper Nile states; traffickers exploit some abductees
                                                                                      of trafficking crimes, particularly for forced labor. • Allow formal victim
        in forced labor or sex trafficking.
                                                                                      identiﬁcation without requiring law enforcement interaction. • Allow
        An international organization reported the recruitment and use of 119         formal victim identiﬁcation by and referral from entities other than
        children from January to November 2021 by parties in conﬂict, compared        the police, including by labor inspectors, asylum case workers, health
        to 62 in 2020. Experts assess there were currently between 7,000              care professionals, social workers, and NGOs. • Expand victim service
        and 19,000 child soldiers within South Sudan as of February 2021. An          centers to all autonomous communities. • Increase worker protections by
        international organization also estimated government and opposition-          implementing strong regulation and oversight of recruitment companies
        affiliated forces have recruited more than 19,000 child soldiers since        that are consistently enforced with effective law enforcement measures.
        the start of the conﬂict in 2013, and armed groups continue to recruit        • Continue to increase witness protection resources available to victims
        and use children. Both the SSPDF and the SPLA-In Opposition signed            and expert witnesses, including increasing safety and security measures
        or recommitted to action plans for child soldier demobilization and           and considering measures to protect their identities. • Increase resources,
        reintegration, but implementation remains incomplete. Government              including personnel, to the office of the national rapporteur and
        forces—including SSNPS—use children to ﬁght and perpetrate violence           consider making it independent. • Increase protection and security of
        against other children and civilians, serve as bodyguards, and staff          unaccompanied children in immigration detention centers or government
        checkpoints, as well as in other support roles. According to the              shelters from recruitment by traffickers. • Systematically train prosecutors
        Comprehensive Action Plan to Prevent All Grave Violations Against             and judges on human trafficking and a victim-centered approach to law
        Children in South Sudan signed in 2020, the parties committed to              enforcement. • Improve state compensation mechanisms, including
        refrain from the recruitment or use of child soldiers by armed forces or      re-distribution of conﬁscated traffickers’ assets to victims. • Increase
        militias in contravention of international conventions. The government’s      survivor engagement, including by establishing accessible mechanisms
        enlistment procedures required an age assessment, usually done through        for receiving and providing compensation for survivor input when
        a dental exam, as many South Sudanese do not have access to birth             forming policies, programs, and trainings. • Improve the government’s
        registration documents. Governmental and non-governmental groups              inter-ministerial coordination with an effective multidisciplinary response
        continued to retain, recruit, and use child soldiers during the reporting     to combat trafficking.
        period. Experts note more children ﬁght on behalf of locally organized
        armed groups rather than formally organized groups with centralized           PROSECUTION
        command and control structures. International observers report groups         The government increased law enforcement efforts. Article 177 bis
        recruit and use child soldiers in Central and Western Equatoria, Unity,       of the criminal code criminalized sex trafficking and labor trafficking,
        Western Bahr el Ghazal, and Jonglei. Observers report armed groups            prescribing penalties from ﬁve to eight years’ imprisonment, which were
        use boys for manual labor and odd jobs.                                       sufficiently stringent and, with respect to sex trafficking, commensurate
                                                                                      with those for other serious crimes, such as kidnapping. The rapporteur,
                                                                                      NGOs, and Group of Experts on Action against Trafficking in Human
                                                                                      Beings (GRETA) reported the penal code did not clearly deﬁne forced
         SPAIN: TIER 1                                                                labor, which made prosecution difficult. Since at least 2018, civil society
                                                                                      noted the need for a stand-alone, comprehensive anti-trafficking law;
                                                                                      in March 2021, the government began drafting the law but did not
        The Government of Spain fully meets the minimum standards for the             pass it during the reporting period. The government continued to
        elimination of trafficking. The government continued to demonstrate           receive stakeholder input on the draft law from a working group of
        serious and sustained efforts during the reporting period, considering        local, regional, and national stakeholders, as well as a diverse group of
        the impact of the COVID-19 pandemic on its anti-trafficking capacity;         trafficking survivors, through NGOs. Law enforcement officials adapted
        therefore Spain remained on Tier 1. These efforts included increasing         to pandemic-related restrictions by holding meetings virtually.
        prosecutions and convictions compared with the year prior and courts
 506                                                                                                                                Haiti AR_000987
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 612 of 729




                                                                                                                                                                 SPAIN
According to provisional data for 2021, law enforcement initiated 55             Coordination between law enforcement, NGOs, and specialized trafficking
human trafficking investigations (46 sex trafficking and nine labor              prosecutors continued to be strong and effective, though this varied
trafficking), a signiﬁcant decrease compared with 83 in 2020 and 103             by region. In 2021, the prosecutor’s office worked to ensure continued
in 2019. In addition to law enforcement investigations, the Office of            effective case coordination by holding weekly meetings with NGOs
the Prosecutor initiated 115 investigations into an unknown number of            and law enforcement to coordinate victim identiﬁcation and assistance,
suspects, similar to 119 investigations of 530 suspects in 2020. From            resulting in a signiﬁcant prison sentence for a convicted trafficker.
the investigations, law enforcement arrested 173 suspects in 2021,               The prosecutor’s office also established two police liaison positions,
compared with 235 suspects in 2020. Law enforcement conducted                    one with the national police and one with the civil guard, to ensure
targeted operations against 55 criminal organizations involved solely in         close coordination with law enforcement, close monitoring of human
human trafficking in 2021; compared with 66 for both human trafficking           trafficking cases, and an increase of convictions, especially considering
and a different crime of “exploitation” in 2020. Law enforcement also            the additional investigative obstacles created by the pandemic. The
reported that the increased use of the internet and social networks to           government did not report any new investigations, prosecutions, or
recruit trafficking victims during the pandemic presented challenges             convictions of government officials complicit in trafficking crimes.
as officials tried to gain expertise in combating online recruitment and
exploitation. The National Police created a Cyber-trafficking Investigative      PROTECTION
Group to address this new challenge, and the Civil Guard reported                The government increased overall protection efforts but signiﬁcantly
regularly monitoring online platforms frequently used by traffickers. The        decreased victim identiﬁcation for the second consecutive year. In 2021,
judiciary initiated prosecutions for 64 suspects—40 for sex trafficking,         authorities reported that pandemic-related restrictions continued to
20 for labor trafficking (including ﬁve for forced criminality and three         hinder identifying sex trafficking victims as the majority of inspections
for forced begging), and four for combinations of multiple types of              were traditionally conducted in clubs, most of which were closed during
trafficking—this was an increase compared with 52 in 2020 but a decrease         part of the year, while workplace closures resulted in the identiﬁcation of
compared with 127 in 2019. In 2021, courts convicted 43 traffickers—38           fewer labor trafficking victims. In 2021, authorities reported identifying
for sex trafficking and ﬁve for labor trafficking—an increase compared           114 victims (93 sex trafficking and 21 labor trafficking). Compared with
with 32 in 2020 but similar to 44 in 2019. Most convicted traffickers were       226 trafficking victims in 2020 and 467 victims in 2019; this was a
from Nigeria, Colombia, and Romania. Courts sentenced traffickers to             signiﬁcant decrease for the second consecutive year. Law enforcement
signiﬁcant sentences; all terms of imprisonment were more than one               continued efforts to identify trafficking victims, but gaps remained,
year with the longest being 103 years (however, the law prescribed a             and the government did not report identifying any child, Spanish
maximum of 20 years’ actual prison time). Separately, courts convicted           national, asylum-seeker, or undocumented migrant victims in 2021. In
11 defendants in trafficking cases under other laws—illegal immigration,         2021, victims predominantly came from Colombia, Bulgaria, Romania,
money laundering, and commercial sex related crimes—and sentenced                Nigeria, and Venezuela. The government continued to utilize its national
them to between six and 18 months’ imprisonment. Eighty-six victims              victim identiﬁcation and referral protocols, but NGOs reported they
received restitution in 2021.                                                    were not uniformly implemented across the country and protocols
                                                                                 for asylum seekers were inadequate. In November 2021, Andalusia
The Ministry of Interior (MOI) coordinated law enforcement efforts and
                                                                                 adopted its own trafficking protocol, resulting in 15 of 17 autonomous
had specialized law enforcement units to address human trafficking. In
                                                                                 communities employing their own protocols for trafficking victims,
2021, the National Police published an operational manual to combat
                                                                                 which were reportedly implemented simultaneously with the national
labor trafficking, including forced criminality. In collaboration with
                                                                                 protocol. The two communities without their own protocols continued
prosecutors, judges, and NGOs, a technical body within the Catalan
                                                                                 to use the national protocol. The government continued to implement
regional government published a guide, which would act as a framework
                                                                                 victim identiﬁcation protocols at the Madrid and Barcelona airports in
for judges and attorneys dealing with trafficking cases. The guide
                                                                                 2021 but did not report how many victims were identiﬁed as a result.
provided resources and recommendations using a victim-centered
approach, identiﬁed procedurally decisive points in cases, and provided          Law enforcement officials were the sole entity that could identify victims.
sentencing recommendations. In 2021, the government adapted to                   While formal victim identiﬁcation was not tied to a victim’s cooperation
pandemic-related restrictions by holding some trainings virtually and            on criminal proceedings, victims were still required to interview with
some in-person; the government reported providing anti-trafficking               law enforcement to formally establish themselves as victims—which
training to some of the 68 coordination units of the Anti-Gender-Based           also entitled victims to speciﬁc beneﬁts. Victim interviewing for formal
Violence (GBV) Delegation, as well as an unknown number of staff in              identiﬁcation was usually coordinated with an NGO, which would
the MOI’s Office of Asylum and Refugees. The Civil Guard reported                subsequently assume care of the victim. NGOs often accompanied
organizing several conferences that covered human trafficking and                law enforcement into the ﬁeld to provide assistance and information to
included training for 70 new officers from all over the country; the Civil       identiﬁed victims. Victims identiﬁed by NGOs or other entities outside
Guard also reported developing its ﬁrst extensive e-learning course on           of law enforcement were not included in national statistics; according to
human trafficking. In partnership with several civil society organizations       NGOs, this, coupled with continued gaps in victim identiﬁcation among
and academic institutions, the government reported developing an                 children, Spanish nationals, undocumented migrants, and asylum-seekers,
expert course on violence against women with sections that covered               resulted in probable underreported official victim statistics. During the
trafficking, as well as at least 35 training sessions that were attended by      reporting period, NGOs criticized the required interaction with law
more than 2,000 officials, including judges, magistrates, prosecutors,           enforcement for victim identiﬁcation and advocated for unconditional
forensic experts, officials from the Ministry of Equality, Intelligence Center   access to assistance. However, the government reported that victims who
Against Terrorism and Organized Crime (CITCO) staff, civil servants, NGO         chose not to cooperate with law enforcement had the same rights and
personnel, and police. In 2021, law enforcement reported conducting at           access to victim assistance. Experts and government officials estimated
least 57 international investigations and operations, including 20 in South      that 80 to 90 percent of the 500,000 individuals in the commercial sex
America, with Colombia, Czech Republic, Europol, France, Germany,                industry in Spain could be unidentiﬁed sex trafficking victims within
INTERPOL, Morocco, Paraguay, Romania, and Uruguay, which resulted                the decriminalized industry, and GRETA concluded victim identiﬁcation
in the identiﬁcation of at least 37 victims and the arrest of at least 85        statistics did not reﬂect the scale of trafficking. The national Ombudsman
suspected traffickers. Spanish law enforcement reported in-person                recognized the discrepancy between Spain and neighboring countries
information and best practice exchanges with law enforcement from                with regard to its infrequent identiﬁcation of child trafficking victims and,
Paraguay and Uruguay, as well as assistance with two active operations           in September 2021, a government-funded NGO launched a specialized
and future plans to create a joint investigative team (JIT) with Colombian       observatory on child trafficking with plans to establish guidelines for the
law enforcement. The government did not have judges or courts that               identiﬁcation of child sex trafficking victims and to train professionals
specialized in trafficking, but with regard to sex trafficking, cases            on specialized care. In 2021, law enforcement noted an increase in
could be heard in courts dedicated to crimes related to GBV. Experts             identiﬁcation of trafficking victims between the ages of 18 and 22, and
concluded, however, that judges often lacked adequate training on human          authorities recognized many of these victims likely became trafficking
trafficking cases and had limited access to specialized trafficking training.    victims as children but remained unidentiﬁed. In July 2021, the national

                                                                                                                                   Haiti AR_000988               507
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 613 of 729
SPAIN   Ombudsman publicly called for improved victim identiﬁcation, speciﬁcally        to NGOs for the provision of accommodation and a daily subsidy for
        improved victim identiﬁcation and referral protocols, and noted the             trafficking victims. However, civil society noted many victims continued
        pandemic exacerbated the isolation of many victims.                             to experience difficulty accessing this assistance due to their lack of
                                                                                        internet access or a bank account; they also noted poorly coordinated
        The government reported that the Civil Guard deployed Immigrant
                                                                                        accommodation services in some regions. There were specialized centers
        Assistance Teams to coastal regions associated with high rates of
                                                                                        for child victims of crime, and seven NGO-run trafficking shelters assisted
        irregular migration to advise and protect newly arrived, undocumented
                                                                                        child victims; children were guaranteed legal assistance. GRETA cited
        migrants, especially those identiﬁed as victims of trafficking. However,
                                                                                        NGO reports that unaccompanied migrant children in Ceuta and Melilla
        the government lacked systematic victim identiﬁcation protocols
                                                                                        were vulnerable to trafficking in immigration detention centers, with
        at temporary reception centers for undocumented migrants and
                                                                                        reported cases of children disappearing from these centers. In January
        asylum-seekers. With nearly 42,000 migrant arrivals along irregular
                                                                                        2022, the media reported that an extensive police investigation resulted
        migration routes in 2021, GRETA, the Ombudsman, and several civil
                                                                                        in the dismantling of a sex trafficking network that was exploiting
        society organizations expressed concern over the lack of adequate
                                                                                        children living in government shelters; 10 child trafficking victims were
        mechanisms for identifying potential trafficking victims in areas with
                                                                                        identiﬁed, nine of whom lived in government shelters. Services and
        large numbers of migrant arrivals, including the Canary Islands, the
                                                                                        shelters for male and labor trafficking victims remained limited, and
        southern coast, and the autonomous cities of Ceuta and Melilla. The
                                                                                        officials reported difficulty locating assistance for these victims. In June
        Ombudsman and civil society noted that some undocumented migrants
                                                                                        2021, the government passed a comprehensive law on the protection
        likely had been subjected to sex trafficking in their countries of origin
                                                                                        of children and adolescents from violence; the law provided additional
        or en route to Spain. An NGO reported working with law enforcement
                                                                                        protections to child trafficking victims, including requiring child shelters
        to secure official recognition of trafficking victims even if they had
                                                                                        to adopt protocols established by the child protection agency, to include
        been exploited by traffickers outside of Spain, which resulted in the
                                                                                        prevention, early detection, and intervention measures for victims.
        recognition of at least one victim. Law enforcement reported that some
        undocumented migrants were later identiﬁed as trafficking victims               Prosecutors were required to seek restitution from defendants during
        in asylum interviews, but may have been subjected to immigration                all criminal proceedings unless the victims expressly waived that right.
        enforcement penalties, including deportation proceedings, before they           In 2021, courts granted 86 victims of convicted traffickers monetary
        were identiﬁed. Upon arrival, the government screened undocumented              restitution from their traffickers ranging from €9,000 ($10,200) to
        migrants for indications of trafficking in temporary reception centers,         €60,000 ($68,030) each. The crime victim statute provided victims
        but the centers were overcrowded, and given the lack of an adequate             with the right to state compensation, but authorities have not reported
        trafficking victim identiﬁcation mechanism and protocol for asylum              awarding any state compensation to date. Assets seized from convicted
        seekers, law enforcement did not report identifying any trafficking             defendants supported a fund used to ﬁght trafficking and assist victims;
        victims among this vulnerable group. The government took efforts to             however, victims rarely received these assets as the process remained
        protect refugees ﬂeeing Russia’s war against Ukraine by opening four            complicated. Law 4/2000 exempted victims from administrative liability
        reception centers and processing temporary protection paperwork.                for unlawful acts traffickers compelled them to commit. In September
        Additionally, in March 2022, the Council of Ministers adopted speciﬁc           2021, though the victim was initially charged with drug trafficking and put
        measures to protect possible Ukrainian trafficking victims by adopting          through a trial, for the ﬁrst time courts acquitted the victim on the basis
        a uniﬁed model of accreditation for trafficking victim status; accredited       of being a trafficking victim who was compelled to commit the crime.
        victims were then given access to services, secure housing, and a stipend,      NGOs reported that potential trafficking victims sometimes may have
        as well as additional grants to public and private institutions for the         been subjected to deportation proceedings before they were identiﬁed.
        prevention, detection, care, and protection of potential trafficking victims.   NGOs continued to report inconsistent application of victim protections
                                                                                        by judges and called for legal reform to better protect witnesses,
        Government-funded NGOs reported assisting an estimated 8,240
                                                                                        including permitting video testimony in all cases and increasing measures
        potential victims in 2021, including 20 children and ﬁve Spanish nationals.
                                                                                        to protect the identity of NGO expert witnesses, whose testimony could
        Government-funded NGOs reported providing at least 105 potential
                                                                                        not be anonymous under current law. The government allowed non-EU
        trafficking victims with workforce re-entry training, four with legal
                                                                                        victims to apply for reﬂection periods of 90 days, during which they
        assistance, 121 with shelter, and 29 with asylum and residence permit
                                                                                        were protected from deportation and could recover while deciding
        application assistance. This was an increase compared with government-
                                                                                        whether to assist law enforcement; the government reported offering
        funded NGO assistance to 1,468 victims and 4,661 potential victims in
                                                                                        this protection to all non-EU trafficking victims in 2021. Foreign victims
        2020. In 2021, the government allocated €7.6 million ($8.62 million) to
                                                                                        could request a renewable residence permit for up to ﬁve years based
        NGOs providing victim assistance, an increase compared with €6.5 million
                                                                                        on their cooperation with law enforcement, but most usually received
        ($7.37) in 2020. Additionally, in 2021, the autonomous communities
                                                                                        a permit for one year and could apply for permanent residency after
        received €100 million ($113.38 million) from the central budget to combat
                                                                                        that ﬁve-year period. The government did not report how many victims
        gender violence, which included female sex trafficking victims but
                                                                                        received asylum, ﬁve-year residence permits, or temporary protection;
        was not solely dedicated to trafficking, the same as in 2020. However,
                                                                                        however, one NGO reported the government granted asylum to ﬁve
        the municipalities did not receive any funding in 2021, a decrease
                                                                                        trafficking victims it had assisted in 2021. In both of its evaluations,
        compared with €20 million ($22.68 million) in 2020. The government,
                                                                                        GRETA expressed concern that reﬂection periods for non-EU citizens
        through victim service offices, referred victims to government-funded
                                                                                        were contingent upon an application to the immigration police. Citizens
        NGOs which provided legal assistance, shelter, social welfare beneﬁts,
                                                                                        of EU member states, however, were not limited to the 90-day reﬂection
        language training, psychological services, funds for repatriation to
                                                                                        period and faced no deadline for claiming social services or cooperating
        victims, and full health care services through the national health system.
                                                                                        with authorities.
        However, not all regions and cities had victim service offices; GRETA
        reported victim services were available in all regions except Castile-La
        Mancha, La Rioja and the autonomous cities of Ceuta and Melilla. In
                                                                                        PREVENTION
                                                                                        The government increased prevention efforts. The national rapporteur,
        December 2021, the city of Madrid opened its ﬁrst 24/7 short-term
                                                                                        a politically-appointed deputy ministerial position within the MOI, was
        emergency shelter for up to 15 female sex trafficking victims and their
                                                                                        responsible for coordination, analysis, and assessment of efforts across
        children, which assisted at least three trafficking victims. The shelter
                                                                                        the government, with CITCO providing support and technical assistance.
        provided psychological assistance and legal advice; law enforcement
                                                                                        The rapporteur reported holding two coordination meetings with
        and specialized trafficking NGOs could refer victims to the shelter from
                                                                                        representatives from the government, a formal NGO group, and law
        anywhere in the country. While receiving assistance in shelters, victims
                                                                                        enforcement in 2021, as well as several bilateral meetings with various
        had the freedom to come and go, and foreign victims could receive
                                                                                        stakeholders. Civil society reported the rapporteur and the government
        voluntary repatriation assistance. During the pandemic, the government
                                                                                        actively included NGOs and stakeholders in proceedings and coordination
        declared all shelters for trafficking victims as essential services to ensure
                                                                                        efforts, but some NGOs recommended an improved multidisciplinary
        continued access to housing and also enacted a pandemic contingency
                                                                                        approach. Despite the large scope of work, the rapporteur’s office had
        plan that extended through 2021, which included additional grants
                                                                                        a very limited staff. GRETA criticized the office of the rapporteur’s
 508                                                                                                                                 Haiti AR_000989
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 614 of 729




                                                                                                                                                                    SRI LANKA
ability to evaluate government efforts due to its prominent inter-             the authority to do so. Trafficking victims could only be identiﬁed
ministerial coordination function and asked the government to consider         through joint inspections between labor inspectors and law enforcement
creating a fully independent evaluation body. At the provincial level,         officers. Spanish authorities reported participating in a joint action day
the government had 17 regional delegates and 50 deputy delegates               focused on labor trafficking organized by Europol and led by France;
who helped manage human trafficking, and in addition to the national           law enforcement targeted the agricultural sector, identiﬁed 24 potential
rapporteur, the government also had an independent Ombudsman who               trafficking victims, and arrested four suspects. Labor inspectors were
was responsible for reporting and advocating on behalf of trafficking          unable to conduct unannounced inspections of domestic workers’
victims. Furthermore, the government’s Delegation Against GBV                  accommodations and investigate allegations of abuse in the absence
continued to play a central role in coordinating efforts pertaining to         of an official complaint; given the large number of domestic and care
sex trafficking, including monitoring efforts on implementation as             workers in Spain, this may have left some victims at risk of exploitation
outlined in the NAP and leading an interagency working group on sex            and without protection. The government had at least 24 labor attaches
trafficking and exploitation. In January 2022, the government adopted          at Spanish embassies abroad who reported labor trafficking cases to
a 2021-2023 NAP to combat both sex and labor trafficking, which                the government. The government continued to make efforts to reduce
included civil society input. However, it did not include a dedicated          the demand for commercial sex acts through several public awareness
budget for implementation, continued to prohibit entities other than           campaigns against soliciting commercial sex.
police from identifying victims, covered a very short timeframe, and
did not include any monitoring and evaluation measures. In December            TRAFFICKING PROFILE
2021, the government also adopted an additional NAP on forced labor,           As reported over the past ﬁve years, human traffickers exploit foreign
valid for three years, with NGO input; the government established an           victims in Spain and, to a lesser extent, Spanish victims in Spain and
inter-ministerial working group to monitor the plan’s implementation.          abroad. Labor trafficking is under-identiﬁed in Spain. Authorities report
The NAP focused on victim protection and improving government                  the pandemic increased worker vulnerabilities and contributed to the rise
coordination and policies for the prevention and detection of labor            in labor trafficking in 2020 and 2021, especially in agriculture, domestic
trafficking, but it did not include a dedicated budget for implementation.     work, and cannabis cultivation in Catalonia. In 2022, Ukrainian refugees,
The government continued to publish data on its law enforcement                predominantly women and children ﬂeeing Russia’s war against Ukraine,
efforts and victims identiﬁed.                                                 are vulnerable to trafficking. Labor traffickers continue to exploit men
                                                                               and women from Eastern Europe and South and East Asia, particularly
The government, as well as the governments of several autonomous
                                                                               Pakistan, in the textile, construction, industrial, beauty, elder care facilities,
communities, reported raising awareness on trafficking through social
                                                                               and retail sectors. Traffickers from Romania, Spain, Nicaragua, and
media platforms and newsletters; the government also disseminated anti-
                                                                               Honduras often exploit their own family members in labor trafficking.
trafficking awareness materials, in several languages, to health, education,
                                                                               Maﬁa groups run by Vietnamese and People’s Republic of China (PRC)
social services, and other professionals. Law enforcement reported
                                                                               nationals increasingly exploit Vietnamese victims in labor trafficking in
conducting a labor trafficking awareness campaign in partnership
                                                                               agriculture and on illegal cannabis plantations. Migrant workers from
with a well-known activist and another campaign, in partnership with
                                                                               Morocco are vulnerable to labor exploitation on fruit farms and can
an NGO, targeting online child trafficking and exploitation. Three
                                                                               sometimes be misled and fraudulently recruited. Women from the PRC
government-funded NGOs also reported conducting trafficking
                                                                               are vulnerable to fraudulent recruitment and debt bondage. Maﬁa groups
awareness campaigns, including with workshops, cinema sessions,
                                                                               run by Nigerian and PRC nationals commonly work with a local Spanish
and at festivals. In cooperation with an NGO, the civil guard continued to
                                                                               collaborator. Civil society reported victims’ debts to their traffickers—and
distribute an unknown number of anti-trafficking awareness brochures,
                                                                               subsequently the traffickers’ control over the victim—increased during
available in nine languages, at airports and seaports, including the Canary
                                                                               the pandemic because victims were sometimes unable to work and
Islands, which received approximately 22,300 undocumented migrants
                                                                               earn money. Sex traffickers exploit women from Eastern Europe, South
in 2021. The Spanish national police supported a hotline that operated
                                                                               America, Central America, Vietnam, the Dominican Republic, PRC, and
24/7 and an email address, which could be used for all crimes, including
                                                                               Nigeria. Authorities report Colombian, Paraguayan, and Venezuelan
for reporting suspected trafficking cases. In 2021, calls to the hotline
                                                                               women now make up the largest demographic of sex trafficking victims.
resulted in 325 trafficking-related investigations, and an anonymous
                                                                               Sex traffickers use fraudulent recruitment, force, and debt bondage to
email led to the dismantling of a trafficking network, the arrest of 26
                                                                               exploit women and LGBTQI+ persons ﬂeeing the collapsing social and
suspects, and the identiﬁcation of 19 potential trafficking victims. Several
                                                                               economic conditions in Venezuela. Spanish law neither permits nor
NGOs also ran trafficking-speciﬁc hotlines; one government-funded NGO
                                                                               prohibits prostitution, and NGOs believe 80 to 90 percent of the 500,000
reported receiving 264 calls in 2021, of which 130 included trafficking
                                                                               individuals in the commercial sex industry in Spain are unidentiﬁed
indicators and 21 resulted in official identiﬁcations of trafficking victims
                                                                               trafficking victims. The pandemic has exacerbated vulnerabilities for
by law enforcement.
                                                                               sex trafficking victims through the increased use of private residences,
Fraudulent labor recruitment remained a concern and may have increased         instead of brothels or clubs, and online recruitment. Sex traffickers
worker vulnerabilities to forced labor. The government recognized              are increasingly using online platforms, like social networks, mobile
the increased vulnerability to trafficking, especially in the agricultural     applications, and the dark web, to recruit, exploit victims, and book
sector, and increased its budget to conduct additional inspections in          apartment rentals to make their illicit operations difficult to track; this
2022. Additionally, foreign workers did not require the government’s           was exacerbated by the pandemic. The rising numbers of newly arrived
prior approval before changing employers, which may have decreased             undocumented migrants, including 22,300 to the Canary Islands in 2021,
their vulnerability to labor trafficking. The law prohibited recruitment       are vulnerable to trafficking. Unaccompanied migrant children continue
or job placement fees charged to foreign workers, though some labor            to be vulnerable to sex trafficking and forced begging. Roma girls are
recruitment companies and intermediaries likely charged such fees which        vulnerable to labor trafficking in Spain.
could increase vulnerability to debt bondage. Additionally, labor officials
noted concerns regarding the practice of companies sub-contracting or
illegally seconding their employees to other companies—all of which may
have increased worker vulnerabilities to exploitation. The government
did not have robust licensing or accreditation requirements for labor
                                                                                SRI LANKA: TIER 2
recruiters to operate, other than being subject to inspection and a
requirement for a “responsible declaration;” though law enforcement            The Government of Sri Lanka does not fully meet the minimum
action was taken against several criminal organizations, the government        standards for the elimination of trafficking but is making signiﬁcant
did not report comprehensive law enforcement measures taken to                 efforts to do so. The government demonstrated overall increasing
prevent and deter fraudulent recruitment by labor recruiters. By the end       efforts compared with the previous reporting period, considering
of the reporting period, Spanish authorities did not report the number         the impact of the COVID-19 pandemic on its anti-trafficking capacity;
of labor inspections they conducted in 2021, and labor inspectors did          therefore Sri Lanka was upgraded to Tier 2. These efforts included
not report identifying any trafficking victims, as they did not have           slightly increasing investigations, including of several Sri Lankan officials
                                                                                                                                     Haiti AR_000990                509
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 615 of 729
SRI LANKA   allegedly involved in child trafficking, and establishing a specialized          The Criminal Investigation Department’s (CID) anti-trafficking unit and police
            unit to strengthen trafficking investigations. The government identiﬁed          initiated 16 trafficking investigations (13 sex trafficking, two forced labor, and
            more victims, including among migrant workers exploited abroad. The              one unspeciﬁed case), compared with 14 investigations (six sex trafficking
            government also increased coordination among agencies to further                 and eight forced labor cases) during the previous reporting period. The
            implementation of the 2021-2025 national action plan (NAP). The                  government initiated 16 prosecutions, including 13 for sex trafficking (ﬁve
            government expanded its trafficking hotline services to include online           under procurement, 360A; ﬁve under the sexual exploitation of children
            support for referrals. In addition, the government secured a new shelter         statutes, 360B; and three under the trafficking statute, 360C) and three for
            location to accommodate victims of crime, including trafficking victims.         labor trafficking (all under Section 360C), compared with 27 prosecutions
            However, the government did not meet the minimum standards in                    (16 under the procurement statute) during the previous reporting period.
            several key areas. The government prosecuted fewer trafficking cases,            The courts also issued three indictments against four accused traffickers
            and sentences for convicted traffickers remained inadequate. Law                 under Section 360C. The Attorney General’s Department (AGD) reported
            enforcement efforts against labor trafficking were disproportionately            96 trafficking cases from previous reporting periods, including 95 sex
            low compared with the number of identiﬁed labor trafficking victims.             trafficking cases (four under trafficking, 79 under procurement, and 12
            The capacity of local officials to identify trafficking victims remained         under sexual exploitation of children statutes) and one labor trafficking
            low, especially among women in commercial sex. The government did                case remained pending prosecution. The government convicted three sex
            not effectively address vulnerabilities to trafficking faced by migrant          traffickers under Section 360A, the procurement statute, compared with
                                                                                             the conviction of three traffickers for procurement and acquittals in three
            workers, including high worker-paid recruitment fees, largely unregulated
                                                                                             cases during the previous reporting period. Courts sentenced the three
            sub-agents, and policies and procedures that undermined safe and
                                                                                             traffickers to pay a ﬁne or face three months’ imprisonment compared to
            legal migration.                                                                 sentencing two traffickers to two years’ imprisonment and suspending
                                                                                             one trafficker’s sentence during the previous period. By issuing lenient
                     SRI LANKA TIER RANKING BY YEAR
                                                                                             sentences to convicted traffickers, courts created potential safety problems
                 1                                                                           for trafficking victims and weakened deterrence. Due to the pandemic,
                                                                                             government offices and courts closed for an extended period, and some
                 2
                                                                                             offices were not fully functional due to pandemic-related lockdown and
              2WL                                                                            health guidelines, which hindered law enforcement efforts. Despite these
                 3                                                                           limitations, the National Anti-Human Trafficking Task Force (NAHTTF) used
                        2015     2016      2017       2018   2019   2020   2021    2022      online platforms to continue investigations and prosecutions. Additionally,
                                                                                             the National Child Protection Agency (NCPA) referred 86 cases of possible
                                                                                             child sexual exploitation, including potential trafficking, to police. The
                                                                                             government established a new Human Trafficking, Smuggling Investigation
            PRIORITIZED RECOMMENDATIONS:                                                     and Maritime Crimes Investigation Division within the CID to investigate
            Improve efforts to vigorously investigate and prosecute suspected                and combat human trafficking crimes; the new division is reportedly more
            traffickers, including labor traffickers and isolated reports of officials       accessible and accommodating for potential victims to report complaints.
            allegedly complicit in trafficking, and adequately sentence convicted
                                                                                             Prosecutors’ reliance on victim testimony, difficulty securing evidence
            traffickers. • Increase efforts to proactively identify trafficking victims,
                                                                                             from victims, and judges’ issuance of suspended sentences contributed to
            including among undocumented migrant workers abroad and women
                                                                                             both the government’s general reliance on procurement charges and the
            in commercial sex. • Ensure victims are not penalized for unlawful acts
                                                                                             lenient sentences applied under Section 360A. Prosecutors could pursue
            traffickers compel them to commit, including through increased training
                                                                                             procurement cases without the cooperation of the victim. However, lengthy
            of law enforcement and the judiciary. • Provide support to victims who
                                                                                             trials—a problem endemic throughout the criminal justice system—and
            participate in trials against their traffickers, including the cost of lodging
                                                                                             stigma faced by victims deterred many from participating in trials. Most
            and travel expenses during trials. • Use Section 360C of the penal code
                                                                                             Sri Lankan diplomatic missions did not refer witness and victim affidavits
            to prosecute child sex traffickers. • Improve victim services, including
                                                                                             from abroad to CID for investigation, although one mission referred a case
            their quality and accessibility, and ensure shelter and specialized
                                                                                             involving unclear indicators of labor exploitation to the Inspector General of
            services are available for all identiﬁed victims, including men and victims
                                                                                             Police. The government allocated 1.1 million Sri Lankan Rupees (LKR) ($5,430)
            exploited abroad. • Increase regular monitoring of licensed recruitment
                                                                                             to the Sri Lankan Bureau of Foreign Employment’s (SLBFE) Counter Human
            agencies and refer allegations of criminal violations to law enforcement.
                                                                                             Trafficking Unit, compared with 6.1 million LKR ($30,090) allocated to the
            • Vigorously improve efforts to address child sex tourism, including
                                                                                             unit in the previous year, largely due to the reduced number of migrant
            proactive identiﬁcation of victims, engagement with hotels and tourism
                                                                                             workers. The government trained ministry officials on anti-trafficking laws,
            operators, and investigation of establishments and intermediaries who
                                                                                             trafficking investigations, and prosecutions. Police continued to conduct
            allegedly facilitate the crime. • Eliminate all recruitment fees charged by
                                                                                             anti-trafficking training for new recruits. NCPA began to train its staff on
            labor recruiters to workers. • Expand the foreign employment bureau’s
                                                                                             child trafficking using a tri-lingual training manual for law enforcement and
            mandate to include regulation of sub-agents. • Promote safe and legal
                                                                                             child protection officers developed in collaboration with an NGO and an
            migration, ensure migration regulations do not discriminate based on
                                                                                             academic institution. Members of the NAHTTF—including the Department
            gender, and increase awareness among prospective migrants of the
                                                                                             of Labor, Ministry of Justice, Bureau for the Prevention of Abuse of Children
            steps necessary for safe migration and resources available abroad.
                                                                                             and Women, and other ministries—conducted numerous anti-trafficking
            • Through the anti-trafficking task force, continue to institutionalize
                                                                                             trainings for officials and civil society members. In response to increasing
            sustained government coordination efforts.
                                                                                             use of fake social media accounts and online platforms to fraudulently
                                                                                             recruit victims, the NAHTTF provided training to the Telecommunications
            PROSECUTION                                                                      Regulatory Commission. The government also implemented a special
            The government maintained anti-trafficking law enforcement efforts.
                                                                                             case system that prioritized child abuse and human trafficking cases when
            Section 360C of the penal code criminalized sex trafficking and labor
                                                                                             scheduling hearing dates. The Department of Immigration and Emigration’s
            trafficking and prescribed penalties of two to 20 years’ imprisonment and
                                                                                             Border Surveillance Unit ﬁnalized standard operating procedures (SOPs) to
            a ﬁne, which were sufficiently stringent and, with respect to sex trafficking,
                                                                                             increase identiﬁcation of trafficking cases; immigration officers identiﬁed 46
            commensurate with those prescribed for other serious offenses, such as rape.
                                                                                             violations of human trafficking, migrant smuggling, and irregular migration
            The government also used other sections of the penal code to investigate
                                                                                             using the procedures at designated ports.
            and prosecute sex trafficking crimes. Section 360B criminalized offenses
            relating to the sexual exploitation of children and prescribed penalties         Concerns about official complicity persisted, and the government did
            of ﬁve to 20 years’ imprisonment and a ﬁne. Additionally, Section 360A           not make sufficient efforts to investigate all allegations or report any
            criminalized offenses relating to procurement and prescribed penalties           prosecutions or convictions of allegedly complicit officials. The government
            of two to 10 years’ imprisonment and ﬁnes, signiﬁcantly lower than those         maintained a telephone hotline and online platform for public reporting
            available under the trafficking provision.                                       of complaints directly to the Inspector General of Police. In July 2021,

 510                                                                                                                                          Haiti AR_000991
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 616 of 729




                                                                                                                                                               SRI LANKA
authorities arrested a local divisional council member, two police officers,     international organizations to provide medical, psycho-social, legal, and
and one Naval officer in a child sex trafficking case. The court released        reintegration support to victims with court orders, regardless of their
the four officials on bail, and the case remained pending at the end of          decision to cooperate with law enforcement. NCPA conducted routine
the reporting period. In the previous reporting period, the government           monitoring of 369 childcare institutions using a new digital platform
investigated allegations of sexual exploitation of children at a state-run       during the reporting period, given previous reports that shelter workers
orphanage and found no elements of sex trafficking during the investigation;     and older residents in some government- and privately-run homes
however, in June and November, officials referred the 19 cases to the            sexually exploited child residents, possibly including trafficking victims.
Attorney General on sexual abuse charges, which remained ongoing by              The Department of Probation and Child Care Services provided access
the end of the reporting period. The government did not report efforts           to computers, textbooks, and school tutoring to two child trafficking
to investigate past allegations that some male and female Sri Lankan             victims during the reporting period. The government cooperated
trafficking victims who ﬂed abusive employers overseas and sought refuge         with foreign governments, including providing support for ﬁve female
at Sri Lankan embassies reported certain Sri Lankan consular officers sent       Indonesian victims of sex trafficking.
female trafficking victims back to their exploitative employers and “sold”
                                                                                 Civil society noted that, at the local level, a lack of capacity and
other women back to their exploitative employment agencies or new
                                                                                 sensitization among police, immigration officials, and judges remained
employers for ﬁnancial gain. The same organization noted that embassy
                                                                                 an impediment to proper screening for trafficking victims. Additionally,
staff were able to facilitate new contracts for workers overseas upon
                                                                                 lack of awareness and misunderstanding led some local authorities
consent of the worker and new employer, provided there were no other
                                                                                 to penalize sex trafficking victims for unlawful acts committed as a
restrictions, which further contributed to perceptions of complicity between
                                                                                 direct result of trafficking, including officials arresting or detaining
employers and embassies—especially when workers were exploited or
                                                                                 sex trafficking victims without proper screening. Some trafficking
otherwise dissatisﬁed with the new workplace. According to a July 2019
                                                                                 victims did not participate in the law enforcement process due to
international organization report, some migrant workers bribed officials to
                                                                                 ﬁnancial constraints and requirements that victim-witnesses travel
obtain fraudulent “family background reports” and pre-departure training
                                                                                 to courts; however, the Victim Protection Act of 2015 entitled victims
certiﬁcates required for legal migration.
                                                                                 to ﬁnancial support to testify or appear in court, and the government
                                                                                 reported it provided some assistance, including food, accommodation,
PROTECTION                                                                       and transportation to victims. The 2015 SOP on the identiﬁcation,
The government slightly increased protection efforts. The government
                                                                                 protection, and referral of victims stated that foreign trafficking
identiﬁed 28 female victims and no male victims, compared with 20
                                                                                 victims who do not cooperate with a criminal complaint can receive
victims identiﬁed during the previous reporting period. Of the 28
                                                                                 repatriation assistance and support services if a court order is granted.
victims, traffickers exploited 14 in sex trafficking, 13 in labor trafficking,
                                                                                 Law enforcement reported many victims were reluctant to pursue cases
and one for unspeciﬁed exploitation. The government referred 27
                                                                                 against their alleged traffickers due to the social stigma attached with
victims to government agencies and an international organization
                                                                                 trafficking. While Sri Lankan law has established a victim and witness
for services, including shelter, psycho-social care, and educational
                                                                                 compensation fund, the government did not provide any funding
services, and collaborated with an NGO to support the repatriation
                                                                                 to trafficking victims during the reporting period. The government
of one individual to Uzbekistan. The SLBFE referred two Sri Lankan
                                                                                 allowed victims to transfer court houses, provided transportation for
trafficking victims in the United Arab Emirates and one victim in
                                                                                 court cases, and offered relocation services during pending trials.
Kuwait to the CID for assistance. Civil society organizations reported
                                                                                 The NAHTTF coordinated trafficking victim interviews to reduce the
an increase in government agencies identifying and referring more
                                                                                 need for repetitive testimony and reduce re-traumatization, and the
trafficking victims for care.
                                                                                 government began allowing testimony through audio and video links
The government had SOPs for the identiﬁcation and referral of                    in certain cases. When authorities officially identiﬁed foreign victims
potential victims to services, and the government endorsed SOPs for              of trafficking, the victims had the same access as Sri Lankan citizens to
the identiﬁcation, protection, and referral of child trafficking victims in      services. Foreign victims who cooperated in prosecutions could receive
2021. Victim identiﬁcation procedures included step-by-step guidelines           a visa extension until the end of the trial, although the government
for short-term assistance available to all victims of trafficking. However,      did not report issuing visa extensions during the reporting period. Sri
the government reportedly did not implement the SOPs uniformly;                  Lankan law did not provide foreign victims with legal alternatives to
both government representatives and members of civil society stated              deportation to countries where they might face hardship or retribution
the capacity of local officials to identify trafficking victims remained         after trial completion or for victims who did not cooperate in the
low, especially among women in commercial sex. Officials and NGOs                prosecution of traffickers.
on occasion did not identify forced labor and sex trafficking that
                                                                                 SLBFE operated short-term shelters and safe houses at Sri Lankan
did not involve transnational movement, especially of children, and
                                                                                 diplomatic missions in 10 countries for migrant workers in distress.
categorized those cases as other crimes. The government partnered
                                                                                 However, the government reduced the number of labor attachés serving
with an international organization to establish anti-trafficking forums
                                                                                 in Sri Lankan embassies and at the SLBFE, due to budget shortfalls
in seven districts that served to convene local government officials
                                                                                 related to the pandemic response, reduced human and ﬁnancial
with the community to enhance collaboration on anti-trafficking
                                                                                 resources previously available for assistance and protection of migrant
efforts and increase victim identiﬁcation. NAHTTF members screened
                                                                                 workers abroad. During the reporting period, Sri Lankan missions abroad
some migrants and other at-risk groups for indicators of trafficking
                                                                                 assisted 226 migrant workers with shelter, including potential trafficking
and referred cases to police and CID for further investigation or
                                                                                 victims. According to an international organization, when carrying
support services.
                                                                                 out screening and despite their training, some labor attachés often
The government provided 12.44 million LKR ($61,360) in assistance                did not know what questions to ask migrant workers, what evidence
to the State Ministry of Women and Child Development to operate                  to look for, or whom to contact in other agencies to refer potential
a shelter for female victims of domestic violence and trafficking.               cases. Sri Lankan diplomatic missions continued to provide funding
However, a magistrate’s order is required for victims to receive services        and logistical support to international organizations that repatriated Sri
at the shelter, which trafficking victims who did not seek assistance            Lankan migrant workers exploited abroad. Officials did not consistently
from law enforcement could not access. No government shelter could               screen migrant workers who traveled abroad without documentation
accommodate adult male victims, although the government stated it                or who possessed expired work permits for indicators of trafficking,
could provide shelter for male victims, if needed; the government did            raising concerns some officials might be conﬂating human trafficking
not identify any male victims during the reporting period. The National          with migrant smuggling. However, the government continued training
Authority for the Protection of Victims of Crime and Witnesses secured a         officials to improve victim identiﬁcation. In one instance, the Department
site for a new government shelter to support victims of crime, including         of Immigration and Emigration screened two potential Thai victims
trafficking victims, and continued work with civil society to develop            of trafficking and referred the case to CID for further investigation
operational guidelines. The government reported it did not provide               upon identifying elements of exploitation. Embassy shelters could
shelter services to the identiﬁed victims. The government partnered with         only accommodate females, so it was unclear where exploited male
                                                                                                                                  Haiti AR_000992               511
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 617 of 729
SRI LANKA
            migrant workers stayed before repatriation. Some migrant workers               one child in a case of hazardous child labor in the forestry sector. Labor
            at the shelters reported poor conditions, including inadequate food,           inspectors only had the authority to inspect private residences for
            unsanitary living conditions, and insufficient legal assistance. Only Sri      violations against child domestic workers if a complaint was received.
            Lankan workers who had registered with SLBFE prior to departure could          Additionally, pandemic-related movement restrictions adversely impacted
            access legal assistance from Sri Lankan embassies, including assistance        the ability of DOL to conduct inspections and collect evidence regarding
            securing back wages from employers. However, due to the pandemic,              complaints and led to a brief suspension of routine inspections, although
            SLBFE made resources from the Worker’s Welfare Fund, including                 child labor inspections continued.
            legal services, medical care, accommodation, and food, available to
                                                                                           A ban on migration remained in place for male and female domestic
            migrant workers regardless of their registration status. Although SLBFE
                                                                                           workers younger than 21 and 25 years, respectively, to Saudi Arabia,
            maintained district-level offices, it usually required repatriated migrant
                                                                                           and male and female domestic workers younger than 18 and 23 years,
            workers to visit the main office in Colombo to launch an investigation
                                                                                           respectively, to other parts of the Middle East. SLBFE also required all
            into recruitment and labor violations, including trafficking, which many
                                                                                           female migrant workers younger than 45 to submit a “family background
            of the indebted and daily wage workers could not afford. As a result,
                                                                                           report” to ensure they did not have children younger than 5 years old
            trafficking victims continued to withdraw complaints or not come
                                                                                           and obtained either a spousal or guardian’s consent to work abroad;
            forward. Some officials at SLBFE reported in 2019 that, contrary to
                                                                                           authorities did not require spousal or guardian consent for male migrant
            the SOPs, they only referred potential trafficking victims to services
                                                                                           workers. Observers reported the ban on migration continued to leave
            after initiating a police investigation.
                                                                                           Sri Lankans with no legal means to travel abroad for work and therefore
            SLBFE continued to operate a transit shelter near the Colombo airport,         without access to protection mechanisms available through authorized
            primarily for returned migrant workers who suffered abuse abroad.              travel, subsequently increasing their vulnerability to human trafficking.
            During the reporting period, the SLBFE airport unit reported providing         Agencies and individual sponsors were also required to obtain a “No
            200 migrants with food, accommodation, and bus fare, although it did           Objection Certiﬁcate” (NOC) from the Sri Lankan embassy for any
            not report identifying any trafficking victims among those assisted. As        female domestic worker migrating to Oman; this also required the
            in previous years, the lack of government identiﬁcation of trafficking         worker to register with SLBFE. According to this procedure, the Oman
            victims contrasted with the number of complaints from workers abroad.          Police only issued employment visas to Sri Lankan female domestic
            In 2018, the most recent year for which such data was available, 3,809         workers who submitted both the NOC and an employment contract.
            Sri Lankan migrant workers in more than 19 countries reported labor-           All licensed foreign employment agencies were required to submit a
            related complaints to SLBFE, including with indicators of trafficking.         semi-annual report conﬁrming the whereabouts of female domestic
            The vast majority of complainants were females in domestic work                migrant workers in an effort to mitigate the risk of exploitation while
            in Saudi Arabia, Kuwait, Oman, and the United Arab Emirates; male              abroad; however, the government did not provide any information by
            migrant workers in Saudi Arabia also reported many labor violations.           the end of the reporting period.
                                                                                           The government did not make efforts to eliminate legal fees recruitment
            PREVENTION                                                                     agencies are allowed to charge migrant workers, which increased
            The government slightly increased its prevention efforts. The NAHTTF
                                                                                           workers’ vulnerability to trafficking. SLBFE reported monitoring the
            continued to meet regularly under the new leadership of the Ministry
                                                                                           costs charged to migrant workers, although fees varied by destination
            of Defense and worked to increase coordination among government
                                                                                           country, employer, and job category. SLBFE required each migrant worker
            and civil society organizations to implement the 2021-2025 NAP. The
                                                                                           to pay a registration fee equivalent to more than one month’s salary that
            NAHTTF organized its efforts by prosecution, protection, prevention,
                                                                                           required renewal every two years. Additionally, an international report
            and partnership functions with designated ministry points of contact.
                                                                                           published in 2019 noted some workers reported recruitment agencies
            The government trained thousands of ministry officials—including the
                                                                                           charged an additional 8,000 to 150,000 LKR ($39-$740). Some officials
            SLBFE, Department of Immigration and Emigration, National Authority
                                                                                           reported SLBFE’s lack of close monitoring enabled agencies to charge
            for the Protection of Victims of Crimes and Witnesses, CID, Ministry of
                                                                                           fees in excess of the legal amounts; some workers paid as much as
            Justice, Bureau for the Prevention of Abuse of Children and Women
                                                                                           1 million LKR ($4,930) for the entire recruitment process, including
            of the Police, Department of Labor (DOL), NCPA, Attorney General’s
                                                                                           fees charged by illegal sub-agents. However, SLBFE reported that no
            department, and the foreign ministry—on victim identiﬁcation, victims
                                                                                           recruitment fees are charged for the domestic work sector in Middle
            assistance, and anti-trafficking laws. The government, in coordination
                                                                                           Eastern countries and professional categories in which employers bear
            with an international organization, conducted awareness campaigns
                                                                                           recruitment costs. SLBFE’s unit at the main international airport in
            through billboards and radio, television, and social media programs.
                                                                                           Colombo detected migrant workers who attempt to leave the country
            The campaigns targeted potential victims, prospective migrant workers,
                                                                                           for employment abroad without proper registration; from March 1 to
            and ﬁrst responders, as well as the general public; the Ministry of Justice
                                                                                           October 30, 2021, the unit detected 2,632 individuals who attempted to
            also conducted an awareness campaign that incorporated the input of
                                                                                           go abroad for employment using tourist visas. According to observers,
            trafficking survivors. In addition, SLBFE conducted awareness raising
                                                                                           during the pandemic, the government limited outward migration and
            programs for prospective migrant workers within Sri Lanka and at some
                                                                                           only permitted migration to a few countries involving a few licensed
            embassies abroad, particularly in the Middle East. The government also
                                                                                           agents. For those Sri Lankan migrant workers overseas, the government
            completed an assessment on the outcomes of awareness programs, and
                                                                                           negotiated with immigration authorities to waive penalties and other
            SLBFE began to update pre-departure training programs for prospective
                                                                                           violations of immigration laws caused by the pandemic, facilitated free
            migrant workers. In addition, the State Ministry of Foreign Employment
                                                                                           legal service, and secured general amnesty for migrant workers out of
            Promotion and Market Diversiﬁcation (SMFEMD) conducted more than
                                                                                           immigration status.
            200 awareness programs for aspiring migrant workers and communities
            across Sri Lanka.                                                              SLBFE maintained an online system for registering and responding to
                                                                                           migrant worker complaints. Civil society and exploited migrant workers
            DOL conducted information campaigns on eliminating child and
                                                                                           abroad continued to report cases of exploitative labor to SLBFE, including
            hazardous forms of labor, including child forced labor, and held more
                                                                                           non-payment of wages, contract fraud, and document retention. SLBFE
            than 100 awareness programs targeting ﬁshing communities. DOL
                                                                                           officers in the conciliation division do not always recognize elements of
            conducted 64 enforcement operations at 318 establishments in an effort
                                                                                           trafficking and may handle cases administratively, rather than referring
            to disrupt forced labor supply chains. In 2021, DOL conducted 38,280
                                                                                           the case to police. During the reporting period, SLBFE cancelled the
            labor inspections, received 204 child labor complaints, concluded 178
                                                                                           licenses of six recruitment agencies and took action in 35 cases against
            child labor investigations, and imposed penalties for child labor violations
                                                                                           malpractice and irregularities in the labor recruitment process. This
            in one case. Labor inspectors, who received training on trafficking during
                                                                                           compared with 30 cases and the suspension of three foreign recruitment
            the reporting period, identiﬁed three incidents of child labor—including
                                                                                           agencies for illegal practices in the previous reporting period. SLBFE Act
            cases in the construction, domestic work, and service sectors—out of six
                                                                                           Section 62 states that operating a recruitment agency without a valid
            cases investigated in 2021; however, inspectors did not report identifying
                                                                                           license is an offense punishable with four years’ imprisonment and a
            any suspected trafficking cases. In addition, the government removed
                                                                                           ﬁne. Although the government reported that a legislative framework to
 512                                                                                                                                   Haiti AR_000993
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 618 of 729




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address sub-agents existed, SLBFE did not have the legal authority to           on plantations, continue to experience marginalization and forms of
regulate sub-agents, which officials recognized contributed to trafficking.     discrimination that heighten vulnerability to trafficking. Traffickers recruit
The government continued to seek approval for an amendment to the               women from rural areas with promises of urban jobs in the hospitality
Foreign Employment Act to address the oversight of sub-agents and               sector, salons, spas, and domestic work but exploit some in forced labor
the investigative authority of MFE officials, including SLBFE.                  or commercial sex. Due to the pandemic, observers report increasingly
                                                                                unethical labor recruitment practices within the local labor market,
The government did not report efforts to reduce the demand for
                                                                                especially targeting women, as illegal sub-agent recruiters shift their
commercial sex. NCPA continued awareness campaigns targeted to
                                                                                focus from overseas jobs. The socio-economic impact of the pandemic
parents and children on child abuse, including child sex tourism, in Sri
                                                                                and related restrictions have contributed to an increase in cybersex crimes
Lanka’s Coastal Belt. The government did not report efforts to reduce
                                                                                and increased the risk of low-income individuals and other vulnerable
the demand for child sex tourism, although the government worked with
                                                                                groups to sex trafficking. One local NGO estimated that cybersex crimes,
civil society and an international organization to research causes of sex
                                                                                including sex trafficking, against women and children have increased as
tourism in Sri Lanka. Foreign tourism has remained low since 2020. The
                                                                                much as 300 percent since the onset of the pandemic.
NCPA continued to run a hotline to report child abuse and expanded its
services to include online support for referrals via email and text messages.   Additionally, observers stated they believe more young women were
The hotline received 79 reports of alleged child trafficking from April to      engaged in commercial sex due to pandemic-related economic hardships.
October 2021, with police investigating the referrals. SLBFE conducted          Traffickers reportedly exploit boys and girls in sex trafficking, including
anti-trafficking trainings for personnel at 16 diplomatic missions, and         in coastal areas for child sex tourism, and in hotels, on beaches, and
the Foreign Ministry held anti-trafficking trainings in missions facilitating   during annual festivals, though tourism volumes fell substantially due
signiﬁcant labor migration. The government continued to provide anti-           to the pandemic. One report found that many child trafficking victims
trafficking training to its troops prior to their deployment as peacekeepers.   traveled to coastal tourist locations from Anuradhapura district. Reports
                                                                                allege some hotels allow clients to book “services” with children for
TRAFFICKING PROFILE                                                             child sex tourism, and some hotels use intermediaries to provide their
As reported over the past ﬁve years, human traffickers exploit domestic         guests with males and females—including children—for commercial sex.
and foreign victims in Sri Lanka, and traffickers exploit victims from          In addition to foreign tourists—including from Germany, Russia, India,
Sri Lanka abroad. The majority of Sri Lankan trafficking cases involve          and the People’s Republic of China (PRC)—researchers report signiﬁcant
traffickers forcing Sri Lankan migrant workers into labor overseas.             local demand driving child sex trafficking in country. In recent years,
Traffickers exploit Sri Lankan men, women, and children in forced labor in      traffickers have subjected women from other Asian countries to sex
the Middle East, Asia, Europe, and the United States in the construction,       trafficking in Sri Lanka. Traffickers may have exploited migrant workers
garment, and domestic service sectors. Approximately 1.5 million Sri            brought to Sri Lanka on tourist visas and foreign women in commercial
Lankans work in the Middle East, predominately in construction and              sex in Sri Lanka. In addition, some micro-ﬁnance companies targeted
domestic work, as well as in professional services. The majority of Sri         women with predatory loans and contracts written in English, resulting
Lankan female migrant workers seek employment in Saudi Arabia,                  in debts that forced women to resort to commercial sex or subject their
Kuwait, Qatar, Japan, and South Korea, and authorities have identiﬁed           children to sex trafficking in order to pay off the debt.
labor trafficking victims among these workers. Over the past ﬁve years,
                                                                                Some observers have long reported that some local government and
thousands of Sri Lankan female migrant workers—especially from Nuwara
                                                                                security sector officials forced women who asked for information about
Eliya, Ampara, and Batticaloa—reported employers exploited them in
                                                                                their missing husbands or widows who attempted to claim government
forced labor in domestic work in the Gulf. Before leaving Sri Lanka, many
                                                                                beneﬁts from their deceased husbands’ military service, to perform
migrant workers accumulate debt to pay high recruitment fees imposed
                                                                                commercial sex acts in exchange for information and/or government
by unscrupulous labor recruitment agencies—most of them members of
                                                                                beneﬁts. Officials and NGOs reported some workers and residents in
Sri Lanka’s association of licensed foreign employment agencies—and
                                                                                government and private shelters that care for trafficking victims sexually
their unlicensed sub-agents. For labor trafficking in domestic work,
                                                                                abused and exploited some of the institutionalized children.
some traffickers target Sri Lankan women with existing debts and use
promises of a large advance to defraud them into accepting positions.           Sri Lankan children work in the domestic sector, service industry, and more
Some Sri Lankan migrant workers in the Gulf report employers retained           hazardous occupations, such as the industrial sector. Child labor is also
their identity documents, including passports and work permits, which           signiﬁcant among ethnic minority Tamils on tea and rubber plantations.
restricts freedom of movement and is a common means of coercion for             Some children and women domestic workers in Colombo are subjected
labor and sex trafficking. Some recruitment agencies commit fraud by            to physical, sexual, and psychological abuse, non-payment of wages, and
changing the agreed upon job, employer, conditions, or salary after the         restrictions of movement—indicators of labor trafficking. Labor traffickers
worker’s arrival. Some recruitment agencies lure workers with promises          exploit children in small boutiques and informal markets. Traffickers
of work abroad but send them with fraudulent or incorrect documents—            reportedly exploited children as part of the drug trade in prior years.
including tourist visas instead of work visas—so victims are subject to
penalization, including jail time and deportation, if they seek assistance
abroad. An international organization reported in 2019 that sub-agents
colluded with officials to procure fake or falsiﬁed travel documents to          SUDAN: TIER 2
facilitate travel of Sri Lankans abroad. According to 2018 media reporting,
at least six government-licensed recruitment agencies in Sri Lanka              The Government of Sudan does not fully meet the minimum standards
admitted that, if prospective Middle Eastern employers request, they
                                                                                for the elimination of trafficking but is making signiﬁcant efforts to do so.
force female migrant workers to take contraceptives before departure to
                                                                                The government demonstrated overall increasing efforts compared with
provide a “three-month guarantee” maids will not become pregnant after
                                                                                the previous reporting period, considering the impact of the COVID-19
arrival. Per the same 2018 reporting, sources alleged this was also used
                                                                                pandemic on its anti-trafficking capacity; therefore Sudan remained
to cover up sexual exploitation by recruitment agents and employers,
                                                                                on Tier 2. These efforts included convicting more traffickers, updating
including sex trafficking. Traffickers have forced Sri Lankan women into
                                                                                its national action plan, and providing training on the illegality of child
commercial sex in South and Southeast Asian countries, among other
                                                                                soldier recruitment and use to civilian protection and military forces.
countries. During the reporting period, traffickers increased their use
                                                                                However, the government did not meet the minimum standards in several
of social media to fraudulently recruit victims due to pandemic-related
restrictions in mobility. Sri Lanka is a transit point for Nepali women         key areas. Substantial personnel turnover related to the October 2021
subjected to forced labor in the Middle East.                                   military takeover hindered Sudan’s ability to maintain consistent anti-
                                                                                trafficking efforts. Authorities continued to conﬂate human trafficking
Within Sri Lanka, traffickers exploit men, women, and children in forced        with migrant smuggling, hindering law enforcement efforts. For the third
labor and sex trafficking, although women, children, ethnic minorities,         consecutive year, the government did not disseminate or implement
and older individuals are often most at risk. Ethnic minorities such as         standard operating procedures (SOPs) for victim identiﬁcation and
the Malayaha Tamils, whose ancestors migrated from India to work                referral to care for child trafficking victims developed in partnership
                                                                                                                                   Haiti AR_000994               513
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 619 of 729
SUDAN   with an international organization. For the third consecutive year,           years, insufficient sentencing of traffickers weakened deterrence and
        there were allegations officials may have sexually exploited refugees         was not in line with sanctions required by the country’s anti-trafficking
        in government-run camps. The government has yet to investigate or             law. Courts were intermittently closed during the year due to strikes
        prosecute any officials for forced recruitment or use of child soldiers.      and pandemic restrictions.
                                                                                      The government did not report providing anti-trafficking training to law
                SUDAN TIER RANKING BY YEAR                                            enforcement, prosecutors, or judges. Authorities continued to conﬂate
            1                                                                         human trafficking, migrant smuggling, and kidnapping for ransom, which
                                                                                      impeded accurate assessment of Sudan’s anti-trafficking law enforcement
            2
                                                                                      data. Experts noted the lack of a standalone smuggling law impeded
          2WL                                                                         judicial officials’ efforts to prosecute migrant smugglers separate from
            3                                                                         human traffickers. In a previous reporting period, law enforcement
                  2015      2016     2017    2018   2019   2020     2021    2022      officers stated potential foreign victims declining to cooperate with
                                                                                      investigators impeded prosecutions of transnational cases.
                                                                                      Authorities did not report the results of investigations into allegations
                                                                                      of sexual exploitation and abuse—which may have included aspects
        PRIORITIZED RECOMMENDATIONS:                                                  of sex trafficking, to include transactional sex—by officials from the
        Increase efforts to investigate and prosecute traffickers as well as
                                                                                      Commission of Refugees and General Intelligence Services. Experts
        complicit officials, including distinguishing those allegedly responsible
                                                                                      noted some law enforcement and border officers were complicit in
        for labor and sex trafficking as distinct from migrant smuggling or
                                                                                      or otherwise proﬁted from trafficking crimes speciﬁcally related to
        kidnapping crimes. • Increase efforts to investigate and prosecute
                                                                                      exploiting migrants along Sudan’s borders. During the reporting period,
        officials who were complicit in child soldier recruitment and use. •
                                                                                      an international organization reported on the abduction and detention
        Coordinate with civil society and international organizations to
                                                                                      of a girl on a Sudanese Armed Forces (SAF) base in sexual slavery for
        disseminate and implement SOPs for authorities and ﬁrst responders
                                                                                      an extended period, which meets the legal standards for recruitment
        to identify child sex and labor trafficking victims and develop SOPs
                                                                                      and use of a child soldier by the SAF. The government did not report
        for adult trafficking victims. • Ensure all identiﬁed trafficking victims
                                                                                      efforts to investigate complicit officials.
        are referred to appropriate protective services. • While respecting fair
        trial guarantees, sentence convicted traffickers to adequate penalties
                                                                                      PROTECTION
        according to the country’s anti-trafficking law. • Increase training for
                                                                                      The government maintained inadequate efforts to identify and protect
        security and judicial officials on distinguishing trafficking from other
                                                                                      victims. The government reported identifying 633 potential trafficking
        crimes, such as migrant smuggling and kidnapping for ransom, and
                                                                                      victims, 400 men and 233 women, compared with identifying 494
        ensure recipients use this guidance to train other officials. • Ensure
                                                                                      potential victims during the previous reporting period. Due to a dearth of
        authorities do not penalize trafficking victims for crimes committed as a
                                                                                      training and ongoing conﬂation between migrant smuggling and human
        direct result of unlawful acts traffickers compelled them to commit, such
                                                                                      trafficking, the government did not always distinguish between trafficking
        as women coerced into commercial sex acts. • Provide sufficient human
                                                                                      victims and individuals who purchased the services of smugglers to cross
        and material resources to the National Committee to Combat Human
                                                                                      international borders illegally and were not exploited in forced labor or
        Trafficking (NCCHT). • Implement and dedicate adequate resources to
                                                                                      sex trafficking. The government reported providing food, psycho-social
        the 2021-2023 national anti-trafficking action plan. • Partner with civil
                                                                                      services, and basic medical services at two government-run shelters.
        society, international organizations, and the private sector to establish
                                                                                      The government reported referring an unspeciﬁed number of potential
        additional shelter options for trafficking victims. • Develop a data
                                                                                      victims to shelters. Officials reported existing shelters were in dire need
        collection and information management system in collaboration with
                                                                                      of refurbishment and a dearth of trained mental health professionals to
        international organizations to more effectively organize law enforcement
                                                                                      provide care to trafficking victims. The lack of shelters adversely affected
        data. • Draft and ﬁnalize a standalone smuggling law to enhance judicial
                                                                                      the country’s ability to protect victims once identiﬁed.
        officials’ ability to prosecute migrant smuggling crimes separate from
        human trafficking crimes.                                                     For the third consecutive year, officials did not report disseminating or
                                                                                      implementing child trafficking victim identiﬁcation SOPs developed in
        PROSECUTION                                                                   2018 in partnership with an international organization. The government
        The government maintained anti-trafficking law enforcement efforts.           did not have SOPs for victim identiﬁcation and referral to care for
        The 2014 Anti-Human Trafficking Law, as amended, criminalized sex             adults. The government’s past denial of sex trafficking occurring within
        trafficking and labor trafficking. The law prescribed between three and       Sudan, coupled with authorities’ inconsistent screening of vulnerable
        10 years’ imprisonment for base offenses involving adult male victims         populations, likely resulted in the arrests and detention of women whom
        and between ﬁve and 20 years’ imprisonment for offenses involving             traffickers compelled into commercial sex. Sudan’s Domestic Workers
        adult female and child victims or involving additional aggravating            Act of 2008 provided a legal framework for employing and registering
        circumstances; these penalties were sufficiently stringent and, with          domestic workers with limited labor rights and protections; however,
        respect to sex trafficking, commensurate with the penalties prescribed        the government did not report registering or protecting any domestic
        for other serious crimes, such as rape. Article 14 of the Sudan Armed         workers under the law during the reporting period.
        Forces Act of 2007 criminalized the recruitment of children younger
        than 18 years old by state armed forces, the enslavement of civilians,        PREVENTION
        sexual slavery, and coercing civilians into prostitution, and it prescribed   The government maintained efforts to prevent trafficking. The NCCHT
        penalties between three years’ imprisonment and death.                        led the government’s anti-trafficking efforts, including implementing the
                                                                                      2021-2023 national action plan, which launched in August. The NCCHT,
        Authorities continued to conﬂate migrant smuggling and human
                                                                                      which included subcommittees in the states of Gedaraf, Kassala, North
        trafficking crimes; thus, the government’s reported data likely included
                                                                                      and West Darfur, and Northern State, convened regularly. Observers
        cases that did not involve trafficking elements in line with international
                                                                                      noted that a lack of human and material resources—as well as a limited
        deﬁnitional standards. The government reported investigating 26 cases,
                                                                                      presence outside the capital—hindered the NCCHT’s ability to execute
        involving an unknown number of suspects, compared with an unknown
                                                                                      its mandate. The Ministry of Interior’s Department of Combating Human
        number of cases that involved 118 suspects in the previous reporting
                                                                                      Trafficking is responsible for anti-trafficking law enforcement and would
        period. The government reported prosecuting eight cases, involving an
                                                                                      provide services to identiﬁed trafficking victims, including maintaining
        unknown number of suspects, compared with 36 cases involving 80
                                                                                      one shelter which was in need of repairs.
        suspects in the previous reporting period. The government reported
        convicting 32 traffickers compared with convicting eight defendants of        The government reported it conducted awareness raising campaigns
        trafficking-related crimes in the previous reporting period. Two additional   about the 2021 amendments to the anti-trafficking law and the
        cases resulted in acquittals, and ﬁve cases were dismissed. In prior          national action plan. Additionally, trafficking was covered in primary

 514                                                                                                                               Haiti AR_000995
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 620 of 729




                                                                                                                                                                SURINAME
and secondary school curricula. The government provided training to            government forces allegedly exploit some Sudanese migrants in forced
recruitment agencies and prepared informational material on the risks          labor in Egypt. Sudanese transiting the Sinai on their way to Israel are
of exploitation for Sudanese seeking work abroad. The government               at risk of kidnapping and exploitation by Bedouins and at further risk
reported it ran a hotline but did not provide information on the hotline’s     of trafficking when they arrive in Israel.
purpose or utility. Ministry of Labor inspectors were responsible for
                                                                               Due to the years of conﬂict in South Sudan, the South Sudanese refugee
providing oversight of recruitment agencies, but they did not report
                                                                               population in Sudan was more than 800,000 in 2021; many of these
investigating or sanctioning fraudulent recruiters during the reporting
                                                                               refugees remain vulnerable to forced labor and sex trafficking. In 2018,
period. The government did not report providing anti-trafficking training
                                                                               an international organization documented cases of traffickers exploiting
for its diplomatic personnel. Officials did not report efforts to reduce
                                                                               West and Central African nationals—primarily from Chad, Mali, and
the demand for commercial sex.
                                                                               Niger—arriving in Sudan via irregular migratory routes.
SAF officials continued to staff the Child Rights Unit (CRU), established
                                                                               Darfuri armed groups exploit some migrants in forced labor or sex
in 2019, which led the government’s child protection efforts in conﬂict
                                                                               trafficking. Smugglers linked to the Rashaida and Tabo tribes abduct
areas. The government reported the CRU provided training focused
                                                                               Eritrean nationals at border crossings, extort them for ransom, and
on the rights of the child in conﬂict—including sensitization on the
                                                                               subject them to abuse, including trafficking. Other cross-border tribes
illegality of child soldier recruitment and use—to civilian protection and
                                                                               also force abductees to perform domestic or manual labor and abuse
military forces. The government did not report inspecting Rapid Support
                                                                               them in other ways, including exploiting them in forced labor or sex
Forces (RSF) or SAF units to ensure there were no cases of child soldier
                                                                               trafficking.
recruitment or use. For the second consecutive year, the government
did not report ﬁnalizing the military’s training manual on child rights,
including child soldier prevention and referral. The Sudanese Joint Chiefs
of Staff continued to issue and disseminate command orders every
three months during the reporting period, directing military officials          SURINAME: TIER 2
to follow the government’s ban against recruiting or using individuals
younger than 18 years of age in support or combat roles.                       The Government of Suriname does not fully meet the minimum standards
                                                                               for the elimination of trafficking but is making signiﬁcant efforts to do
TRAFFICKING PROFILE                                                            so. The government demonstrated overall increasing efforts compared
As reported over the past ﬁve years, human traffickers exploit domestic        with the previous reporting period, considering the impact of the
and foreign victims in Sudan, and traffickers exploit victims from             COVID-19 pandemic on its anti-trafficking capacity; therefore Suriname
Sudan at home and abroad. Traffickers exploit children experiencing            remained on Tier 2. These efforts included prosecuting more alleged
homelessness in Khartoum—including Sudanese and unaccompanied                  traffickers and doing so for the ﬁrst time since 2017, prosecuting three
migrant children from West and Central Africa—in forced labor for              police officers for suspected complicity in trafficking crimes, identifying
begging, public transportation, and large markets and in sex trafficking.      more victims, hiring additional officers for the Police Trafficking in
Business owners, informal mining operators, community members, and             Persons Unit (TIP Unit), implementing a formal victim identiﬁcation
farmers exploit children working in brick-making factories, gold mining,       and referral process, adopting a new National Action Plan (NAP), and
collecting medical waste, street vending, and agriculture; the traffickers     expanding the interagency Trafficking in Persons Working Group (TIP
expose the children to threats, physical and sexual abuse, and hazardous       Working Group). However, the government did not meet the minimum
working conditions with limited access to education or health services.        standards in several key areas. Authorities did not convict any traffickers,
Criminal groups exploit Sudanese women and girls—particularly internally       did not provide adequate services for victims, and did not sufficiently
displaced persons (IDPs) or those from rural areas—in domestic work            fund anti-trafficking efforts.
and in sex trafficking.
Due to regional instability and conﬂict, there are more than three million
                                                                                       SURINAME TIER RANKING BY YEAR
IDPs and 1.1 million refugees in Sudan—populations with increased
                                                                                   1
vulnerability to forced labor or sex trafficking. Observers reported
concerns that government officials from the Commission of Refugees                 2
and General Intelligence Service were potentially sexually exploiting            2WL
refugees—including newly arrived Ethiopians—in Sudan. Additionally,                3
due to the government’s refugee encampment policy that restricts                          2015     2016     2017       2018   2019    2020   2021     2022
refugees from moving freely within the country, some refugees utilized
migrant smugglers inside Sudan, which further increased their risk of
exploitation. Additionally, reports alleged corrupt RSF officials ﬁnancially
beneﬁted from their role as border guards and took a direct role in            PRIORITIZED RECOMMENDATIONS:
human trafficking. In past years, the non-governmental armed groups            Increase efforts to convict traffickers, following due process, and
Sudanese People’s Liberation Movement-North (SPLM-N) al-Hilu and               sentence convicted traffickers to signiﬁcant prison terms. • Increase
SPLM-N Malak Aga conscripted child soldiers from refugee camps in              efforts to investigate and prosecute alleged traffickers, including officials
South Sudan and brought them into Sudan. The Sudanese Alliance                 complicit in trafficking crimes. • Provide vulnerable individuals with
recruited and used child soldiers in Darfur. An international organization     trauma-informed assistance, reintegration support, and interpretation
reported there were at least 300 child soldiers in Darfur being used by        in their language prior to, during, and after screening for trafficking. •
unidentiﬁed armed groups.                                                      Provide adequate and dedicated funding for the NAP and government
Sudan is a primary transit point for irregular migrants and refugees from      departments carrying out anti-trafficking activities. • Prosecute child
the Horn of Africa seeking to reach Europe. Large populations of Eritrean,     sex and labor trafficking cases under the trafficking statute and provide
Ethiopian, and other African asylum-seekers, as well as some Syrians—all       specialized child protection services with trained providers. • Fully
populations vulnerable to trafficking due to their economic fragility and      implement the victim identiﬁcation and referral protocol and train
lack of access to justice—resided in Khartoum while planning to travel         officials in its use to identify trafficking victims, especially among at-risk
to Europe. Sudanese traffickers compel Ethiopian women to work in              groups. • Train judges at all levels of the judiciary in human trafficking
private homes in Khartoum and other urban centers. Well-organized              and the trafficking law and sensitize judges and prosecutors to the issue
and cross-border criminal syndicates force some Ethiopian women into           of secondary trauma. • Support NGOs and foreign embassies on victim
commercial sex in Khartoum by manipulating debts and other forms of            identiﬁcation and service provision. • Incorporate survivor input into
coercion. Attempting to escape conﬂict and poverty, many East African          anti-trafficking policies, develop and execute a robust monitoring and
victims of trafficking initially seek out the services of migrant smugglers,   evaluation framework, and publish the results. • Refer to care victims
who coerce the migrants into forced labor or sex trafficking. Egyptian         identiﬁed through the hotline and report on the hotline’s effectiveness.

                                                                                                                                     Haiti AR_000996            515
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 621 of 729
SURINAME                                                                                  officials and those from Alien Affairs and Social Affairs, did not receive
           PROSECUTION
           The government increased prosecution efforts. Article 334 of the criminal      trafficking training.
           code criminalized sex trafficking and labor trafficking and prescribed
           penalties of up to nine years’ imprisonment and a ﬁne of 100,000               PROTECTION
           Surinamese dollars (SRD) ($5,120) for offenses involving a victim 16           The government increased protection efforts. The government identiﬁed
           years of age or older, and up to 12 years’ imprisonment and a ﬁne of           15 victims, compared with one victim in 2020 and three victims in 2019.
           100,000 SRD ($5,120) for those involving a victim younger than the age         Of the total victims identiﬁed, 11 women and two girls (eight Venezuelan
           of 16. These penalties were sufficiently stringent and, with respect to        and ﬁve Surinamese) were victims of sex trafficking and two People’s
           sex trafficking, commensurate with those prescribed for other serious          Republic of China (PRC) national men were victims of labor trafficking.
           crimes, such as rape.                                                          The government identiﬁed two of the 15 victims at illegally-operated
                                                                                          commercial sex establishments. The government referred all victims to
           Police initiated eight investigations (six for sex trafficking and two for
                                                                                          government-funded non-shelter services and two of the Venezuelan
           labor trafficking), of 19 individuals, compared with six investigations
                                                                                          victims to the two open shelter spaces in the TIP Unit office building;
           (four for sex trafficking and two for labor trafficking) in 2020, eight
                                                                                          the others stayed in places they deemed safe and checked in with the
           investigations in 2019, and three in 2018. Police referred six cases
                                                                                          police. The TIP Working Group’s constituent agencies fully implemented
           and 17 defendants for prosecution, compared with one sex trafficking
                                                                                          the First Response to the Victim of Trafficking in Persons Protocol,
           prosecution in 2020 that authorities later dropped due to insufficient
                                                                                          resulting in increased efforts to identify victims among constituent
           evidence after the victim chose not to cooperate with the prosecution.
                                                                                          agencies. The Protocol outlined procedures for interacting with potential
           Two cases involving four defendants were closed due to lack of evidence.
                                                                                          trafficking victims, the process from identiﬁcation to providing essential
           The government prosecuted seven individuals in ﬁve of the cases under
                                                                                          services, and the rights of victims. The government reported police and
           the trafficking law and eight individuals in the sixth case under other
                                                                                          immigration officials screened at-risk populations, including migrants
           laws. The prosecutions under the trafficking law were the ﬁrst since 2017.
                                                                                          and those in commercial sex, for trafficking. The TIP Unit and the
           Authorities prosecuted three police officers for suspected complicity
                                                                                          Military Police, in charge of immigration services, agreed to reintroduce
           in child sex trafficking. Authorities released eight alleged traffickers on
                                                                                          trafficking screening by the TIP Unit on incoming international ﬂights
           bail while their trials were pending. In the previous reporting period,
                                                                                          instead of by members of the immigration services only; the TIP Unit
           authorities prosecuted as other crimes two cases initially investigated
                                                                                          began to do so daily in January 2022. The government reported the
           for trafficking. The government reported one ongoing investigation
                                                                                          last Cuban medical workers departed the country in September 2021.
           against an offender still at large from the previous reporting period.
                                                                                          The government reported it did not screen Cuban medical workers for
           In addition to the cases above, the TIP Unit investigated several other
                                                                                          trafficking indicators.
           potential trafficking crimes involving Haitian migrants. The government
           did not convict any traffickers in 2021 or 2020, compared to 18 in 2019        No NGOs in the country speciﬁcally worked on human trafficking,
           and seven in 2018.                                                             although an international organization and other NGOs included
                                                                                          trafficking victim protection in their activities. The Ministry of Justice
           The TIP Unit was the sole agency responsible for the investigation of
                                                                                          and Police used a process by which they referred victims to the Bureau
           sex trafficking, forced labor, and migrant smuggling cases throughout
                                                                                          of Victim Services for food, shelter, medical care, counseling, and other
           the country. During the reporting period, the government appointed
                                                                                          care funded out of its regular budget. The government continued to
           a new head and additional members of the TIP Unit. The TIP Unit
                                                                                          make available basic services despite the pandemic and offered them to
           reestablished interagency cooperation on trafficking investigations
                                                                                          foreign and national victims and those with disabilities. The government
           with the Military Police’s immigration office, the Alien Affairs Office, and
                                                                                          also gave victims basic personal protective equipment due to the
           the Ministry of Social Affairs. The Police Youth Affairs Department also
                                                                                          pandemic. The Bureau of Legal Aid could provide victims with legal
           investigated any case involving persons younger than 18; the two units
                                                                                          assistance, if necessary. Under the new protocol, officials offered these
           collaborated closely. The TIP Unit referred trafficking investigations to
                                                                                          services to potential victims upon ﬁrst encounter with them. Government
           prosecutors trained in handling such cases. The anti-trafficking funding
                                                                                          agencies did not have victim assistance funds speciﬁcally allocated
           for these bodies was part of their overall budgets. The TIP Unit lacked
                                                                                          but made resources available as needed from the general budget. The
           sufficient funding and resources and some officers required further
                                                                                          government did not place time limits or conditions upon services, except
           training on investigative techniques and victim identiﬁcation. The
                                                                                          for the government shelter, which could be used for up to three months;
           TIP Unit adopted a strategic plan. As a result of the pandemic, the
                                                                                          authorities did not require victim cooperation with law enforcement in
           Maritime Authority, the military, the maritime police, and the Coast
                                                                                          order to receive care. The government funded and operated a trafficking
           Guard increased inspections of vessels entering the country, to identify
                                                                                          shelter for women and children; it was in the same complex as a shelter
           suspicious activities, including trafficking. In 2022, the TIP Unit began
                                                                                          for domestic violence victims. The trafficking shelter was normally the
           weekly patrols with the Maritime Police.
                                                                                          only facility the government had available for human trafficking victims;
           The pandemic signiﬁcantly impacted the government’s efforts to                 it was closed for part of the reporting period due to pandemic-related
           coordinate, execute, and monitor its anti-trafficking law enforcement          staffing shortages and complete renovation of the buildings. However,
           efforts for the second year. Numerous police officers including officers in    the TIP Unit provided two victims with accommodations within its own
           the TIP Unit tested positive for the COVID-19 virus or had to quarantine,      office building, which was originally a home, when the shelter was
           and several police stations closed due to lack of staff. The court system      closed. There were no specialized shelter services for child or adult male
           also shut down on several occasions, with some operations moving               trafficking victims. Children who did not want to return to their homes
           to digital platforms due to the pandemic; a large backlog of cases,            had the option of entering a childcare facility or staying with a foster
           including trafficking cases, continued despite the return to more normal       family. Special counseling was available for child victims along with
           operations by the end of the reporting period.                                 their families. All victims were free to leave the shelter, but only with a
                                                                                          chaperone. Due to a lack of adequate shelter services, the TIP Unit also
           The government screened for trafficking crimes as part of an international
                                                                                          allowed victims who had a safe place to stay to remain out of shelter;
           operation that carried out targeted, coordinated enforcement actions
                                                                                          however, authorities required the victims to periodically check in with the
           against criminal migrant smuggling networks. The government signed
                                                                                          police. The government reported being willing to assist foreign victims
           a bilateral cooperation agreement with Brazil in January to improve
                                                                                          to apply for temporary or permanent residency and a work permit, but
           cooperation against different transnational crime threats, including
                                                                                          there were no longer term shelter options available for foreign victims.
           human trafficking. The TIP Unit collaborated with the Cuban embassy
                                                                                          Victims could apply for temporary or permanent residency whether or
           on a case involving Cuban nationals. The government also continued to
                                                                                          not they assisted with trials, although there were no reported cases of
           collaborate on trafficking cases with neighboring Guyana and French
                                                                                          victims using either of these provisions. Victim-witnesses could move
           Guiana. The government provided multiple in-person and online refresher
                                                                                          freely within the country or travel abroad. If a victim returned to the
           courses on anti-trafficking enforcement, victim identiﬁcation, and
                                                                                          country after leaving, the victim would be under the same conditions
           victim handling for members of the police, including the TIP Unit, and
                                                                                          as other travelers to the country; the government did not offer victims
           members of the Prosecutors’ Office. Other officials, including immigration

 516                                                                                                                                   Haiti AR_000997
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 622 of 729




                                                                                                                                                                SURINAME
a special category of visa. There was no witness protection program,             funding from the Ministry of Finance; lack of sufficient funding due
although victims in shelters received police protection. Authorities             to generally low funds, budget deﬁcit restrictions, and the pandemic
provided counseling and legal support to victims in judicial processes and       signiﬁcantly impacted the ability of the TIP Working Group to implement
strongly encouraged victims to participate; courts could obtain testimony        the activities included in the NAP. The government reported low-cost
from victims in the early stages of judicial investigations in case victims      activities and those in advanced stages of implementation progressed;
were not available during the trial process, although this could weaken          for example, the full implementation of the First Response to Victims
testimony in cases where authorities did not provide victims time for            of Trafficking Protocol progressed, after having been delayed during
recovery and reﬂection before giving testimony. Victims could speak              the previous reporting period due to the pandemic.
directly to a counselor or a member of the Prosecutors’ Office instead
                                                                                 The government continued to operate a 24-hour anti-trafficking hotline
of to the police. In the case of foreign victims, prosecutors usually used
                                                                                 in the interagency National Command Center. The hotline primarily
a victim’s initial report as a formal criminal complaint and testimony in
                                                                                 operated in Dutch, English, and Sranan Tongo. The government did
the case, as victims often returned to their countries of origin before
                                                                                 not keep statistics on calls or victims identiﬁed through the hotline.
a trial was completed; in almost all cases courts lost contact with the
                                                                                 The government made informational ﬂyers and brochures in different
victim once the victim departed the country. Victims could refuse to have
                                                                                 languages with the anti-trafficking hotline number and posted the
their initial report used in this way, but observers noted there were no
                                                                                 ﬂyers at multiple entry points into the country, police stations, doctors’
reports of this. However, victims continued to have the right to testify
                                                                                 offices, and other locations. One member of the TIP Working Group
after providing an initial statement and/or after receiving counseling.
                                                                                 presented to the PRC Embassy and the PRC national community on labor
The defense attorney also continued to have the right to question the
                                                                                 trafficking. The government halted other awareness campaign activities,
victim. Testimony via video or written statements was possible. Victims
                                                                                 particularly in schools, because of the pandemic. The government did
had the right to seek compensation through a civil process, though no
                                                                                 not conduct formal research on trafficking during the reporting period.
such case has ever been ﬁled.
                                                                                 The TIP Unit, along with the Youth and Morals Division, polled visitors
Observers noted that gaps in government policies and regulations, as             to police stations on their awareness of human trafficking; the TIP Unit
well as a lack of oversight and implementation, enabled traffickers to           used the poll results to inform its workplan and website. The government
exploit victims. The government did not report deporting any victims.            partnered with a university on a course on trafficking to raise awareness
The government failed to effectively repatriate victims; outside observers       among students and spur interest in research. The government did not
noted, given limited ﬂights out of the country due to the pandemic,              publicly post an assessment of its anti-trafficking efforts but made the
in most cases victims who opted to leave did so through their own                information available upon request.
mechanisms. The government reported it did not knowingly detain,
                                                                                 Labor laws prohibited employers, recruiters, and labor agents from
ﬁne, or jail potential trafficking victims for unlawful acts their traffickers
                                                                                 charging workers recruitment fees, conﬁscating workers’ passports
forced them to commit. However, in previous reporting periods, outside
                                                                                 or travel documents, switching contracts without workers’ consent,
organizations reported the government jailed human trafficking victims
                                                                                 or withholding wages as a means of keeping workers in a state of
under the Alien Act for having been in the country illegally after being
                                                                                 compelled service. Labor laws required all employment agencies to
referred to the TIP Unit for assistance. The government reported
                                                                                 be licensed before recruiting either national or foreign employees,
it coordinated with the Cuban embassy and the Maduro regime in
                                                                                 and they had to receive permission from the Ministry of Labor before
Venezuela on victim support after it identiﬁed victims from these
                                                                                 entering into work mediation with employees. The government reported
countries. Outside observers reported the process for collaboration
                                                                                 the Labor Inspectorate regularly checked the paperwork of foreign
between the TIP Unit and embassies on victim support was cumbersome
                                                                                 workers, who were vulnerable to labor trafficking, at job sites and ﬁned
and bureaucratic, impacting the response time of embassies to provide
                                                                                 employers for violations; half of inspectors received training on child
essential support to their citizens.
                                                                                 trafficking in previous reporting periods. The government assigned the
                                                                                 Labor Inspectorate as the lead agency responsible for overseeing the
PREVENTION                                                                       implementation of pandemic protocols in different business sectors,
The government increased prevention efforts. The government adopted a
                                                                                 which signiﬁcantly increased its reach to conduct regular inspections,
new annual NAP for 2021-2022. The TIP Working Group was the primary
                                                                                 although the government did not provide sufficient funding, staffing,
interdepartmental group responsible for monitoring and implementing
                                                                                 or equipment to cover all tasks. Most inspections were unannounced,
the NAP, coordinating government efforts to combat trafficking, and
                                                                                 but the law did not allow labor inspectors to inspect private homes or
making recommendations to the government, including on legislation.
                                                                                 farms, and police had to be escorted and have a special warrant for
The TIP Working Group, coordinated by the Director of Operations of
                                                                                 any inspections on private property. The government reported ﬁning
the Ministry of Justice and Police, reported to the Minister of Justice
                                                                                 businesses up to 250 SRD ($12.80) for each foreign worker employed
and Police on the activities of the NAP and addressed emerging issues
                                                                                 without having the proper registration paperwork. Labor inspectors also
on a whole of government basis. Alien Affairs and Human Rights, which
                                                                                 screened for trafficking indicators but did not report identifying any labor
provide victim services, joined the TIP Working Group during the
                                                                                 trafficking cases through such measures during its increased inspections
reporting period. Observers reported the TIP Working Group resolved
                                                                                 during the reporting period. No inspectors were solely dedicated to child
issues that impacted the execution of policy related to human trafficking,
                                                                                 labor, but the government trained all inspectors to identify child labor
including approving budgets and action plans; communicating across
                                                                                 and instructed them how to handle suspected cases. The government
the interagency, including ministries not part of the Working Group
                                                                                 warned businesses against hiring foreign workers without proper
such as the Ministry of Health; identifying resources; and collecting
                                                                                 documentation and provided information on employment scams and
data from the Prosecutors’ Office and the Court of Justice. A core group
                                                                                 fraudulent job offerings to businesses and workers through print, social
within the Working Group was also responsible for day-to-day issues
                                                                                 media, and on television, including public service announcements with
that required immediate higher-level attention, as this core group had
                                                                                 contact information for questions or concerns. Authorities also could
direct contact with the Minister of Justice and Police. The Director of
                                                                                 accept information on labor violations reported by the public. Authorities,
Operations of the Ministry of Justice and Police chaired the Working
                                                                                 including the TIP Unit, suspended all ﬂights to and from Haiti during the
Group. The TIP Working Group met in whole and in part several times
                                                                                 reporting period following concerns about the vulnerability of Haitians
during the reporting period. The TIP Working Group’s mandate was
                                                                                 to trafficking and questions about the legality of Haitians’ paperwork to
renewed in November 2021 for one year. The government did not seek
                                                                                 enter the country, as well as concerns over possible onward destinations.
input from survivors or NGOs in drafting the annual NAP or for other
                                                                                 Limited unemployment beneﬁts only went to citizens. The TIP Working
laws or policies; the government did incorporate input from international
                                                                                 Group trained newly appointed diplomats on human trafficking. The
organizations. The government did not allocate funding speciﬁcally for
                                                                                 government did not make efforts to reduce the demand for commercial
human trafficking included in the NAP; funding for such activities came
                                                                                 sex acts. The government did not make efforts to reduce participation
from the overall budgets of the respective agencies, with the Ministry
                                                                                 in international and domestic child sex tourism.
of Justice and Police undertaking the most activities. The government
implemented anti-trafficking activities with available non-reallocated

                                                                                                                                   Haiti AR_000998              517
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 623 of 729
SWEDEN                                                                                  response to the inﬂow of Ukrainian refugees ﬂeeing Russia’s full-scale
         TRAFFICKING PROFILE
         As reported over the past ﬁve years, human traffickers exploit domestic        invasion of Ukraine, the government established protocols to screen for
         and foreign victims in Suriname, and traffickers exploit victims from          potential trafficking victims on public transportation; developed a manual
         Suriname abroad. Reported cases of trafficking in Suriname’s remote            for border police including information on temporary residency, victim
         jungle interior, which constitutes approximately 80 percent of the country,    assistance, recognizing trafficking indicators, and identifying potential
         have increased in recent years; limited government presence in the             victims; and provided ﬁnancial support to mitigate trafficking risks
         interior renders the full scope of the problem unknown. Weak immigration       among those ﬂeeing Ukraine. Furthermore, the government launched a
         policies, difficulty in controlling Suriname’s borders, and the draw of the    new web-based training on the sexual exploitation of children, including
         gold and timber trade have led to an inﬂux of immigrants from different        trafficking, and an information campaign to combat work-related crimes,
         countries entering Suriname legally and remaining in country after their       including forced labor. The government also cooperated with regional
         legal stay expires. These persons become particularly vulnerable to sex        partners in conducting a study aimed at identifying methods and tools
         and labor trafficking. Traffickers target the increasing inﬂux of migrants     used by employment agencies to recruit individuals to work under
         into Suriname, particularly those from Haiti and Venezuela, as well as         exploitative conditions. Although the government meets the minimum
         those from Brazil, Cuba, the Dominican Republic, and Guyana. Migrant           standards, authorities investigated, prosecuted, and convicted fewer
         women and girls are especially at risk for sex trafficking in Suriname,        trafficking cases. Courts issued most convicted traffickers sentences of
         including in brothels, massage parlors and hair salons, and illegal gold       less than one year imprisonment, which weakened deterrence, did not
         mining camps in Suriname’s interior. Individuals involved in commercial        adequately reﬂect the nature of the crime, and undercut broader efforts
         sex offered through newspaper ads and social media are also at risk for        to ﬁght trafficking. Additionally, authorities identiﬁed signiﬁcantly fewer
         trafficking. Adult and child migrant workers in agriculture, retail shops,     potential trafficking victims among asylum-seekers and unaccompanied
         construction, and on ﬁshing boats off Suriname’s coast are at risk of          children. Moreover, the government continued to provide inconsistent
         trafficking, as are children working in agriculture, small construction,       funding to NGOs for assistance to victims hindering their ability to
         gold mines, and informal urban sectors. Given their irregular status,          comply with obligations and demand. Finally, the level of assistance
         migrant groups avoid seeking assistance from the authorities for fear of       to victims was conditional on their cooperation with investigations
         criminalization or deportation, making them vulnerable to traffickers. In
                                                                                        and prosecutions.
         March 2020, authorities signed an agreement with the Cuban government
         to allow 120 Cuban medical workers to help combat the pandemic;
         51 Cubans came to the country during the previous reporting period,                    SWEDEN TIER RANKING BY YEAR
         joining approximately 50 already in the country. Cuban medical workers             1
         may have been forced to work by the Cuban government prior to their                2
         departure. PRC national-run associations, and allegedly some Hong
                                                                                          2WL
         Kong traffickers, recruit and exploit PRC national immigrants in sex
         and labor trafficking in the mining, service, and construction sectors.            3
                                                                                                   2015     2016     2017     2018   2019    2020     2021     2022
         Surinamese women in neighboring countries are at risk of sex trafficking.
         Some Surinamese parents exploit their daughters in sex trafficking, a
         trend exacerbated by the pandemic. Traffickers may transport victims
         through routes in Suriname’s interior that bypass official checkpoints.
                                                                                        PRIORITIZED RECOMMENDATIONS:
         There are reports of corruption and local official complicity in trafficking
                                                                                        Vigorously investigate, prosecute, and convict traffickers under the
         crimes that may impede anti-trafficking efforts. While traffickers are
                                                                                        trafficking statute and punish them with signiﬁcant prison terms. •
         predominantly male, authorities have also prosecuted and convicted
                                                                                        Proactively identify trafficking victims, including among asylum-seekers
         women who trafficked individuals. Traffickers may exploit victims from
                                                                                        and unaccompanied children. • Provide clear procedures for identifying
         the same migrant populations. In previous reporting periods, authorities
                                                                                        child victims and train relevant workers to recognize trafficking indicators.
         could deport at-risk individuals who violated the terms of their stay
                                                                                        • Ensure all victims have full, unconditional access to assistance, regardless
         before being screened for trafficking, but in the previous reporting
                                                                                        of whether they cooperate with authorities. • Introduce a sustainable
         period the government reported it stopped all deportations as part of its
                                                                                        ﬁnancial mechanism for consistent funding to NGOs and the national
         pandemic response measures unless the deportation involved persons
                                                                                        support program (NSP). • Provide adequate assistance and opportunity
         suspected of committing a crime apart from having an irregular status.
                                                                                        for recovery to all foreign victims by allowing additional government
         Trafficking across the eastern, western, and southern borders remained
                                                                                        actors, including municipal social services, to apply for residence permits.
         possible despite pandemic-related border closures. The pandemic
                                                                                        • Increase efforts to identify labor trafficking victims and investigate,
         exacerbated trafficking risks after the government shut down clubs
                                                                                        prosecute, and convict labor traffickers. • Train officials involved in
         and brothels in April 2020 and individuals engaged in commercial sex
                                                                                        judicial proceedings, particularly judges, on all aspects of trafficking
         began to do so online, in private homes, or in more poorly protected
                                                                                        and understanding current anti-trafficking laws. • Increase the number
         clubs in the interior, making them vulnerable to trafficking. Organizations
                                                                                        of prosecutors who specialize in trafficking cases. • Enhance awareness
         representing the HIV positive and LGBTQI+ communities also reported
                                                                                        efforts to educate asylum-seekers and unaccompanied children on the
         that these groups became particularly at risk as they faced increased
                                                                                        risks of sexual exploitation, forced criminality, and forced begging. •
         poverty due to the pandemic. The pandemic also increased the risk for
                                                                                        Establish specialized housing for trafficking victims, including for male
         lower-skilled individuals unable to ﬁnd work.
                                                                                        victims. • Strengthen international law enforcement cooperation to
                                                                                        prevent and investigate child sex tourism.

                                                                                        PROSECUTION
          SWEDEN: TIER 1                                                                The government decreased law enforcement efforts. Chapter 4 Section
                                                                                        1a of the Penal Code criminalized sex trafficking and labor trafficking
         The Government of Sweden fully meets the minimum standards for the             and prescribed penalties of two to 10 years’ imprisonment, which were
         elimination of trafficking. The government continued to demonstrate            sufficiently stringent and, with regard to sex trafficking, commensurate
         serious and sustained efforts during the reporting period, considering         with those prescribed for other serious crimes, such as rape. Chapter
         the impact of the COVID-19 pandemic, on its anti-trafficking capacity;         4 Section 1b criminalized a lesser crime of “human exploitation,” which
         therefore Sweden remained on Tier 1. These efforts included identifying        included the exploitation of individuals for labor or begging, and
         more potential trafficking victims; allocating more funds to a women’s         prescribed penalties of up to four years’ imprisonment; these penalties
         helpline that supported victims of violence, including trafficking; and        were also sufficiently stringent. Chapter 6 Section 9 criminalized the
         funding the digitalization of the national referral mechanism (NRM), the       purchase of commercial sex acts from a child and prescribed penalties
         development of guidelines for authorities and frontline professionals,         of up to four years’ imprisonment. Pandemic-related entry restrictions
         and improvements to the identiﬁcation and investigative processes. In          signiﬁcantly reduced the inﬂow of asylum-seekers into Sweden, hindering

 518                                                                                                                                   Haiti AR_000999
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 624 of 729




                                                                                                                                                                   SWEDEN
investigations, prosecutions, and convictions. In 2021, police investigated       Municipalities, in collaboration with NGOs and other government
141 trafficking cases (67 sex trafficking, 24 labor trafficking, 50 unspeciﬁed)   agencies, were the primary providers of victim services, including
and 78 human exploitation cases, compared with 191 and 80, respectively,          medical and psychological care, shelter, and social assistance. While
in 2020. Authorities prosecuted 12 alleged traffickers and convicted              undocumented migrants, who made up the vast majority of identiﬁed
eight traffickers (four sex trafficking, four labor trafficking), a decrease      victims, could obtain emergency medical care, additional assistance
from 21 prosecutions and 12 convictions in 2020. Sentences ranged from            opportunities to victims and their families through municipalities were
two months’ imprisonment and a ﬁne to three years’ and nine months’               conditional on victims cooperating with authorities. Municipalities funded
imprisonment and a ﬁne. The majority of sentences issued to convicted             assistance and appropriate services, and the government subsequently
traffickers (63 percent) were less than one year imprisonment; such               reimbursed the expenses. However, statistics on the costs incurred by
lenient sentences weakened deterrence, did not adequately reﬂect the              the municipalities were unavailable. Although the country lacked shelters
nature of the crime, and undercut broader efforts to ﬁght trafficking.            dedicated solely to trafficking victims, some municipalities ran shelters
The government did not report any investigations, prosecutions, or                offering services to sex trafficking victims. Adult female trafficking victims
convictions of government employees complicit in trafficking crimes.              could receive services at women’s shelters for victims of domestic and
In 2021, Swedish authorities collaborated with foreign governments                honor-related violence. Authorities referred child victims to social services
on transnational investigations and continued cooperation within the              officials, who placed them in foster care or group housing. There was no
European Multidisciplinary Platform Against Criminal Threats. Authorities         separate dedicated protected housing available solely for male trafficking
of Denmark, Finland, Norway, and Sweden facilitated international policing        victims, but male trafficking victims were eligible for group protected
efforts and information-sharing, including on trafficking-related issues,         housing. The GEA led a network of approximately 40 NGO-run safe
through Nordic liaison officers stationed at 20 Nordic embassies and              houses. NGOs reported insufficient funding and the pandemic hindered
consulates around the world.                                                      the ability to assist victims. Furthermore, social distancing protocols
                                                                                  to contain the spread of the pandemic contributed to victims staying
The Gender Equality Agency (GEA), which managed anti-trafficking
                                                                                  at shelters for longer periods than anticipated, thereby unintentionally
efforts for the government, maintained regional coordinators throughout
                                                                                  preventing other victims from receiving accommodation when shelters
the country who assisted police and judicial authorities with trafficking
                                                                                  had reached maximum capacity. In 2021, the government allocated 13
cases, implemented training, and conducted outreach work. In addition,
                                                                                  million Swedish krona (SEK) ($1.44 million) to strengthen the GEA’s
the National Police and the Migration Agency maintained coordinators
                                                                                  efforts to combat trafficking, including for regional coordinators, an
focusing exclusively on leading their respective agencies’ anti-trafficking
                                                                                  international organization’s return program, and the national support
efforts. In 2021, the police trafficking rapporteur and agency coordinator
                                                                                  program (NSP)—a civil society platform representing 20 NGOs that
conducted online training for police, judges, and agency staff. The National
                                                                                  provided assistance to victims. The NSP offered the only effective
Police offered trafficking training for police officers, including new
                                                                                  unconditional assistance provided to victims and complemented the
recruits, and an annual advanced training course for all police officers and
                                                                                  support services offered under the NRM. The program focused on
prosecutors working on trafficking cases. The Migration Agency provided
                                                                                  victims who in their current state did not have a right to assistance
guidance to migration agents on how to detect potential trafficking cases.
                                                                                  through the formal system and provided a 30-day reﬂection period to
The national courts offered training for judges and lawyers that included
                                                                                  encourage victims to report crimes to police. Over the years, funding for
sections on sex trafficking and child victims; however, NGOs reported
                                                                                  the NSP ﬂuctuated—2.04 million SEK ($226,040) in 2021, 2.1 million SEK
some judges continued to lack a sufficient understanding of trafficking
                                                                                  ($232,690) in 2020; zero in 2019; 800,000 SEK ($88,640) in 2018; and
cases and current trafficking laws. NGOs also reported the need for
                                                                                  zero in 2017. NGOs criticized the government for providing inadequate
specialized prosecutors working on trafficking cases. The Prosecutor’s
                                                                                  funds to the NSP to comply with obligations and demand.
Office offered online education on trafficking issues with the goal to
train all personnel to identify trafficking violations and enhance their          The Aliens Act entitled foreign victims to a 30-day reﬂection period
ability to engage with victims. Additionally, the office’s educational            to contemplate cooperation with law enforcement, during which they
center developed new methods for working on trafficking cases and                 were eligible for assistance and emergency ﬁnancial aid; however, only
monitoring the standards of current methods. The Swedish Coast Guard,             an investigating police officer or prosecutor could ﬁle an application
police, and customs officials participated in joint regional intelligence         for residence permits, limiting availability to victims already in contact
operations in trafficking cases involving travel by sea.                          with law enforcement. In an effort to ensure availability of adequate
                                                                                  assistance and opportunity for recovery to all foreign victims regardless
PROTECTION                                                                        of their cooperation with authorities, the government proposed allowing
The government maintained victim protection efforts. In 2021, the                 additional government actors, including municipal social services, to
GEA regional coordinators identiﬁed 481 potential victims (244 sex                apply for residence permits on behalf of victims. Pending parliament’s
trafficking, 189 labor trafficking, 47 unspeciﬁed, one forced military            approval, the government projected implementation in 2023. Foreign
service), an increase from 320 in 2020 and 404 in 2019. Of the 481                victims who cooperated with authorities received temporary residence
potential victims, 53 were children, and one was a Swedish citizen.               permits, which allowed them to seek employment; 63 trafficking victims
Separately, the Migration Agency maintained statistics on identiﬁed               received permits in 2021 (60 in 2020). The government assigned a
victims; double counting likely occurred across agencies. In 2021, the            legal representative to provide victims with support and assistance
Migration Agency identiﬁed 261 potential trafficking victims among                throughout criminal proceedings. However, legal aid was only available
asylum-seekers, a decrease from 366 in 2020. Of the 261 potential victims,        to individuals whose annual income did not exceed 260,000 SEK
21 were children—a signiﬁcant decrease (more than 50 percent) from 48             ($28,810) and did not already have insurance that covered the dispute in
in 2020. Experts noted the police did not proactively identify potential          question. Swedish law entitled trafficking victims to request restitution
victims among unaccompanied children and expressed concern that                   from traffickers as part of criminal proceedings as well as ﬁle civil suits
the number of reported cases misrepresented the real scale of child               for ﬁnancial compensation. In 2021, six victims received 469,704 SEK
trafficking in Sweden. Authorities and frontline professionals utilized the       ($52,040) in restitution, compared with 10 victims who received 773,505
existing NRM to identify victims and refer them to protection services.           SEK ($85,710) in 2020.
However, only authorities involved in legal investigations, such as police,
                                                                                  In response to the inﬂow of refugees ﬂeeing Russia’s full-scale invasion
could officially identify trafficking victims. NGOs asserted the police
                                                                                  of Ukraine, the government established protocols to screen for potential
needed further training on identifying potential victims and on the
                                                                                  trafficking victims on public transportation and developed a manual
subsequent implementation of victim protection services. In 2021, the
                                                                                  for border police including information on temporary residency, victim
GEA funded and collaborated with an organization to digitize the NRM,
                                                                                  assistance, recognizing trafficking indicators, and identifying potential
develop a manual with relevant information for authorities and frontline
                                                                                  victims. Additionally, the police and the national rapporteur produced
professionals, and improve processes to identify victims and apprehend
                                                                                  pamphlets in English and Ukrainian with information on recognizing
traffickers by outlining responsibilities of each authority throughout the
                                                                                  and reporting suspicious individuals and criminal behavior to the police.
various phases of the case process and training frontline professionals
                                                                                  Authorities distributed the pamphlets at all border crossings, ferries,
on recognizing trafficking indicators and responding accordingly.
                                                                                  airports, and train stations. Furthermore, the GEA provided 4 million
                                                                                                                                     Haiti AR_001000               519
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 625 of 729
SWEDEN   SEK ($443,210) for mitigating trafficking risks among those ﬂeeing            government maintained a website with information on child sexual
         Ukraine. In April 2022, NGOs and police identiﬁed sex trafficking victims     exploitation, resources available to victims, and a way to report suspected
         among Ukrainian women, who upon arriving in Sweden were exploited             child trafficking cases. The government made efforts to reduce the
         in commercial sex. Authorities initiated a preliminary investigation into     demand for commercial sex acts by continuing to implement its law
         one potential sex trafficking case and ﬁled four additional reports for       criminalizing the purchase of sexual acts from a child (Chapter 6, Sections
         potential trafficking-related crimes. The Migration Agency expressed          9 and 11). The government also continued to perform an assessment
         concern about potential trafficking cases among a small number of             of the law examining its effectiveness and application with the goal to
         Ukrainian children, who arrived in Sweden with guardians other than           reveal how the judicial system handled such crimes from investigation
         their parents; in some cases, the guardian certiﬁcates could not be           to sentencing. The assessment also analyzed the nexus between the
         conﬁrmed. The agency also expressed concern about some women                  purchase of commercial sex and trafficking and the role of social services.
         arriving alone and women with children, who left their agency-assigned
                                                                                       Authorities and NGOs acknowledged labor trafficking was an increasing
         accommodation without providing any contact details or information.
                                                                                       problem, especially for seasonal workers and vulnerable migrants.
         According to the agency, nearly 25,000 Ukrainian citizens applied for
                                                                                       Experts recommended better interagency coordination to facilitate
         temporary protection as of March 2022; the Migration Agency approved
                                                                                       the identiﬁcation of labor trafficking cases and increased awareness
         more than 10,000 temporary residence permits for Ukrainians, including
                                                                                       among the public. In 2021, the GEA launched an information campaign
         120 unaccompanied children, and processed the remaining 15,000
                                                                                       with ﬁlms about four different industries to combat work-related
         applicants. To meet the immediate needs for incoming refugees, the
                                                                                       crimes, including trafficking. In cooperation with Lithuania and Poland,
         government converted sports halls and vacant hotels into temporary
                                                                                       the government conducted a study aimed at identifying recruitment
         housing and provided 2,000 SEK ($222) per month to Ukrainian refugees
                                                                                       methods and tools used by employment agencies to recruit individuals
         along with the right to employment and education. Children could
                                                                                       to work under exploitative conditions. Subsequently, the government
         receive full medical care, while adults could access medical care for
                                                                                       proposed improved labor protections for third-country nationals working
         urgent needs.
                                                                                       in Sweden to strengthen regulations that would ensure employers
                                                                                       fulﬁlled worker agreements and did not charge illegal recruitment
         PREVENTION                                                                    fees. Additionally, in September 2021, the government established
         The government increased prevention efforts. The GEA was responsible
                                                                                       a national taskforce to address work-related crimes, including labor
         for implementation of the national action plan (NAP), which focused on
                                                                                       trafficking, that contributed to the opening of regional centers that
         combating and preventing commercial sex and trafficking and providing
                                                                                       specialized in combating work-related crime, through conducting work-
         better protection and support for those vulnerable to trafficking.
                                                                                       place inspections, collaborating with unions and trade organizations,
         NGOs raised concerns about the lack of resources dedicated to the
                                                                                       providing training on how to recognize trafficking victims, and conducting
         plan, citing funding of the NSP as unsustainable for the demand.
                                                                                       educational outreach. Furthermore, in 2021, the GEA and the Council
         Furthermore, NGOs recommended the government update the NAP
                                                                                       of Baltic Seas States announced plans to launch a project to educate
         to better include labor trafficking and establish strategic objectives
                                                                                       potential labor migrants arriving in Sweden, or planning to arrive, about
         with speciﬁc assignments, budgets, and deadlines. In addition to the
                                                                                       the risks of labor trafficking via a public-service announcement video to
         NAP, the government continued to implement its comprehensive
                                                                                       appear on social media platforms and websites. Authorities continued to
         action program to prevent and combat men’s violence against women,
                                                                                       conduct mandatory interviews with foreign workers employed in at-risk
         including trafficking. The GEA continued conducting a three-year study
                                                                                       sectors who were seeking to extend their work permits. The Migration
         on the scope of sex trafficking in Sweden, focusing on children exploited
                                                                                       Agency conducted background checks on companies employing foreign
         in commercial sex. As part of the study, the agency collected and
                                                                                       workers and occasionally denied work visas in cases where employment
         disseminated educational materials to professionals on responding to
                                                                                       contracts did not meet the necessary requirements. Additionally, the
         sex trafficking cases and mapped local and regional support initiatives.
                                                                                       agency provided training on trafficking and a manual to assist migration
         In collaboration with other Baltic Sea Region countries, the government
                                                                                       agents in detecting trafficking cases. Multiple agencies carried out
         participated in a project establishing long-term cooperation between
                                                                                       joint workplace inspections as part of a major EU effort against labor
         stakeholders and academia to educate future journalists on trafficking
                                                                                       exploitation. The government commissioned multiple agencies to
         issues through workshops, panel discussions, and competitions. National
                                                                                       develop joint processes to counter fraud, rule violations, and labor-
         and regional authorities conducted training for workers in the hotel,
                                                                                       related crimes, including forced labor. The government participated
         restaurant, and taxi sectors on how to detect potential trafficking
                                                                                       in a multi-country anti-trafficking taskforce that evaluated trafficking
         victims. Furthermore, in 2021, the GEA launched a new web-based
                                                                                       related to migration ﬂows.
         training on the sexual exploitation of children, including trafficking, and
         continued its online campaign on safe travel abroad with new brochures
                                                                                       TRAFFICKING PROFILE
         for vulnerable populations. A national anti-trafficking taskforce, which
                                                                                       As reported over the past ﬁve years, human traffickers exploit domestic
         comprised about 20 representatives from authorities on trafficking
                                                                                       and foreign victims in Sweden, and, to a lesser extent, traffickers exploit
         issues, including the National Police Board, the Migration Agency, and
                                                                                       victims from Sweden abroad. Most traffickers are the same nationality
         the Prosecutor’s Office, functioned as a strategic resource to develop
                                                                                       as their victims and are often part of criminal networks engaged in
         and streamline cooperation between government agencies and other
                                                                                       multiple criminal activities, although an increasing number of reported
         stakeholders; created relevant educational material and conducted
                                                                                       cases involve traffickers who are family members or have no ties to
         training; managed, in cooperation with an international organization,
                                                                                       organized crime. Most sex and labor trafficking victims originate from
         a program for the safe return of trafficking victims; and operated a
                                                                                       Eastern Europe, Africa, East Asia, and the Middle East. Sex trafficking
         helpline for potential trafficking victims to receive support and advice.
                                                                                       remains the most prevalent form of trafficking in Sweden with most cases
         Separately, a Swedish university operated a 24-hour national women’s
                                                                                       involving women and children from West Africa and Eastern Europe.
         helpline that supported victims of violence, including trafficking, and
                                                                                       Authorities and NGOs report Swedes traveling abroad, primarily to East
         received 20 million SEK ($2.22 million) from the government in 2021,
                                                                                       Asia, for the purpose of child sex tourism is prevalent. Victims of labor
         an increase from 10 million SEK ($1.11 million) in 2019 and 2020. Sweden
                                                                                       trafficking, who largely originate from Eastern Europe, East Asia, and
         and France continued to conduct a joint campaign raising awareness
                                                                                       West Africa, face exploitation in the service, cleaning, private delivery,
         on sex trafficking.
                                                                                       and construction industries. In some cases, employers or contractors
         The National Police’s Department of National Operations handled               providing labor seize the passports of workers and withhold their pay.
         investigations involving Swedish citizens suspected of child sex tourism      Other reported incidents include deteriorated conditions for foreign
         and assisted police departments throughout Sweden on matters of               workers in the construction sector, such as low salaries, lack of official
         child sex trafficking. The National Police’s specialized cybercrime unit      employment contracts, and poor living situations. Since 2010, there
         maintained a child protection team that trained travel agencies to detect     has been an increase in labor trafficking cases, including during the
         and report child sex tourism. The government did not make efforts             pandemic as the country’s borders remained open most of that time,
         to reduce the demand for participation in international sex tourism           which led individuals to move to Sweden for work. The Migration Agency
         by its citizens, despite allegations of such actions by its citizens. The     notes increased exploitation in the private delivery industry, such as
 520                                                                                                                                Haiti AR_001001
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 626 of 729




                                                                                                                                                                 SWITZERLAND
messengers and food delivery drivers, who work under conditions that            and training for all front-line officials, with increased focus on identifying
violate Swedish labor laws. Police report citizens of Thailand working          labor trafficking. • Increase law enforcement efforts for labor trafficking
in nail salons and massage parlors are exploited in trafficking. Cases          and provide sufficient resources, personnel, and training. • Coordinate
among seasonal berry pickers have decreased signiﬁcantly in recent              and centralize the collection of trafficking data across the government,
years; however, individuals mostly from Asia and Bulgaria, continue to          including continuing to make progress on sufficiently disaggregating
face exploitation in the agricultural sector. Roma, primarily from Bulgaria     data between trafficking and other forms of exploitation, as well as
and Romania, remain vulnerable to forced begging and criminality and,           between sex and labor trafficking. • Provide sufficient personnel and
to a lesser extent, sex trafficking. The Migration Agency reported a            funding to specialized anti-trafficking police units and the Specialist
substantial reduction in the number of asylum cases as a consequence            Unit Against the Trafficking in Persons and Smuggling of Migrants
of the pandemic, receiving approximately 11,500 applications (523               (FSMM) to coordinate national anti-trafficking efforts. • Adopt a
from unaccompanied children), compared with 13,000 (492) in 2020,               national anti-trafficking action plan (NAP) to effectively and efficiently
marking the lowest recorded number in the last 20 years. Asylum-                coordinate national efforts across all cantons. • Increase awareness
seekers, particularly those from Africa, Eastern Europe, Central Asia,          of and trafficking survivor access to damages and compensation and
and South America, as well as many stateless individuals, are at risk           increase prosecutor’s efforts to systematically request restitution for
of trafficking. In recent years, traffickers subjected Moroccan boys and        survivors during criminal trials. • Expand authorities for labor inspectors
young men to forced criminal activity, though reports indicate a decline        to allow for the identiﬁcation of trafficking victims. • Increase efforts to
in the number of victims in 2021. Unaccompanied children are especially         pursue ﬁnancial crime investigations in tandem with human trafficking
vulnerable to trafficking, with a majority of suspected child trafficking       cases. • Increase access to specialized services, especially for labor
victims arriving in Sweden primarily from Africa and the Middle East.           trafficking victims, asylum-seekers, male, child, and transgender
Thousands of refugees, predominantly women and children, who are                victims. • Amend the anti-trafficking provision of the criminal code
ﬂeeing Russia’s full-scale invasion of Ukraine and seeking sanctuary in         to include force, fraud, or coercion as an essential element of the
Sweden, are highly vulnerable to trafficking. Reports indicate several          crime in accordance with international law and ensure the criminal
identiﬁed sex trafficking victims among Ukrainian women who, upon               code clearly deﬁnes labor exploitation. • Ensure labor trafficking is
their arrival in Sweden, were exploited in commercial sex.                      investigated and prosecuted as a trafficking crime and not pursued
                                                                                as an administrative labor code violation. • Enact a legal provision, in
                                                                                addition to the existing non-punishment legal provision, to speciﬁcally
                                                                                protect trafficking victims from prosecution for unlawful acts traffickers
 SWITZERLAND: TIER 2                                                            compelled them to commit. • Strengthen international law enforcement
                                                                                cooperation to prevent and investigate child sex tourism. • Appoint
                                                                                a national rapporteur to provide independent review of government
The Government of Switzerland does not fully meet the minimum
                                                                                anti-trafficking efforts. • Increase worker protections by codifying in law
standards for the elimination of trafficking but is making signiﬁcant
                                                                                the elimination of recruitment or placement fees that could potentially
efforts to do so. The government demonstrated overall increasing efforts
                                                                                be charged to workers by Swiss labor recruiters and ensure employers
compared with the previous reporting period, considering the impact
                                                                                pay any recruitment fees. • Increase survivor engagement, including
of the COVID-19 pandemic on its anti-trafficking capacity; therefore            by establishing accessible mechanisms for receiving and providing
Switzerland remained on Tier 2. These efforts included opening a new            compensation for survivor input when forming policies, programs, and
specialized counseling service for trafficking victims and launching an         trainings. •Improve law enforcement coordination between cantons,
awareness campaign across seven cantons, in collaboration with civil            speciﬁcally to combat organized human trafficking networks. • Increase
society. Government-funded NGOs provided services to signiﬁcantly               cooperation with civil society regarding victim identiﬁcation assistance,
more victims, a canton established a joint inspection team between              especially for asylum hearings for potential victims.
labor inspectors and police, and a government-funded NGO established
a trafficking hotline for police referrals to victim assistance. However, the   PROSECUTION
government did not meet the minimum standards in several key areas.             The government maintained law enforcement efforts. Article 182 of
Lenient sentencing, resulting in 63 percent of traffickers receiving fully      the penal code criminalized sex trafficking and labor trafficking and
suspended sentences or sentences of less than one year imprisonment,            prescribed penalties of up to life imprisonment and/or a ﬁne; the penalties
undercut efforts to hold traffickers accountable, weakened deterrence,          included prison sentences of no less than one year for crimes involving
created potential security and safety concerns for victims, and was             a child victim and those where the trafficker acted for commercial
not equal to the seriousness of the crime. Law enforcement efforts              gain. These penalties were sufficiently stringent and, with respect to
on labor trafficking remained low, and the government continued to              sex trafficking, commensurate with those prescribed for other serious
lack comprehensive and sufficiently disaggregated data on trafficking.          crimes, such as kidnapping. Inconsistent with the deﬁnition of trafficking
The government continued to lack consistent and uniform victim                  under international law, Article 182 does not include a demonstration
identiﬁcation and access to adequate care across the country, as well           of force, fraud, or coercion as an essential element of the crime. NGOs
as legal safeguards to speciﬁcally protect trafficking victims against          stated the lack of an explicit legal deﬁnition for labor exploitation under
potential prosecution for unlawful acts traffickers compelled them to           Article 182 complicated labor trafficking investigations and limited data
commit. The government did not report awarding compensation or                  collection necessary for prevention efforts. In March 2022, the lower
restitution to any victims during the reporting period.                         chamber of parliament approved a motion to draft a law making labor
                                                                                trafficking a federal offence.

        SWITZERLAND TIER RANKING BY YEAR                                        In 2021, cantonal authorities reported investigating 46 cases with 57
    1                                                                           suspects under Article 182, compared with 55 cases with 61 suspects
                                                                                in 2020 and 58 cases with 59 suspects in 2019. While the government
    2
                                                                                reported investigations were largely unimpeded by the pandemic in
  2WL                                                                           2021, non-urgent questioning, some court hearings, and other procedural
    3                                                                           actions were postponed. In 2021, the government recorded 31 offenses
           2015     2016     2017      2018   2019   2020     2021    2022      related to sex trafficking and 40 for labor trafficking; however, the
                                                                                number of offenses did not directly correlate to the number of suspects
                                                                                or cases under investigation and could be duplicative. In Switzerland,
                                                                                convictions are recorded in the year the prosecution was initiated and
PRIORITIZED RECOMMENDATIONS:                                                    only recorded when all appeals are ﬁnalized, which can cause prior
Vigorously investigate and prosecute suspected labor and sex traffickers        year prosecution and conviction statistics to increase slightly as cases
and sentence convicted traffickers to adequate penalties, which should          are ﬁnalized. Furthermore, the government did not collect national
involve serving signiﬁcant prison terms. • Increase victim identiﬁcation        statistics on the total number of prosecutions initiated in a given year

                                                                                                                                   Haiti AR_001002               521
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 627 of 729
SWITZERLAND   under Article 182, necessitating an assessment of only successful             cooperation agreements with Albania, Bosnia and Herzegovina, Czech
              prosecutions that resulted in conviction. Based on unﬁnalized data, in        Republic, France, Hungary, Italy, Latvia, Macedonia, Nigeria, Serbia,
              2020, the most recent year available, cantonal authorities and courts         and Slovenia.
              reported successfully prosecuting and convicting at least eight traffickers
              under Article 182. This was similar to nine in 2019 but an increase           PROTECTION
              compared with four in 2018 and six in 2017; however, compared with            The government increased victim protection efforts. Pandemic-related
              convictions from 2012 to 2016, statistics show an overall long-term           restrictions and business closures, along with the increased use of
              downward trend (11 in 2016, 21 in 2015, 15 in 2014, 13 in 2013, and 13 in     private locations and the internet as venues for exploitation, exacerbated
              2012). The government did not report whether any prosecutions or              vulnerabilities for sex trafficking victims and decreased victim visibility
              convictions involved labor trafficking as it did not disaggregate data        to authorities. NGOs reported that law enforcement had a decreased
              between sex and labor trafficking under Article 182, but in 2020, it          capacity to identify trafficking victims because the pandemic necessitated
              reported that at least ﬁve of eight convictions were for sex trafficking.     police prioritize the enforcement of pandemic-related health restrictions.
              Historically, prosecutions and convictions for labor trafficking were         In 2021, cantonal authorities identiﬁed 62 victims under article 182, an
              low, while NGOs continued to assert many labor trafficking cases were         increase compared with 53 in 2020 but still less than 83 in 2019 and 64
              instead pursued as administrative labor violations, resulting in lesser       in 2018. The government did not report the number of labor trafficking
              consequences and decreased deterrence. Of the eight convictions in            victims it identiﬁed, as it did not adequately disaggregate data. Of the
              2020, courts issued fully suspended prison sentences or assigned a            62 trafficking victims identiﬁed by the government in 2021, eight were
              sentence of less than one year’s imprisonment to ﬁve traffickers (62.5        children, and four were Swiss. Unlike prior years, the government did
              percent). Courts sentenced three traffickers (37.5 percent) to signiﬁcant     not report identifying any trafficking victims within the asylum system
              prison terms of one year or longer, with the longest sentence being           in 2021. The federal government had a national victim identiﬁcation
              10 years and 6 months’ imprisonment. The court’s lenient sentencing           mechanism and standardized questions, as well as a regional referral
              practices weakened deterrence, potentially undercut efforts of police         mechanism, though implementation was inconsistent and varied canton
              and prosecutors, and created security and safety concerns, particularly       by canton. NGOs continued to express concern that officials prioritized
              for victims who cooperated with investigations and prosecutions. NGOs         the identiﬁcation of sex trafficking victims over labor trafficking, although
              urged the government to enact a minimum sentence for all convicted            one NGO indicated that the majority of the victims it identiﬁed and
              traffickers—not just trafficking crimes involving children—to address         assisted were labor trafficking victims. Law enforcement authorities
              issues with lenient sentencing. As a comparison, in 2020, of the 113          acknowledged this issue and noted that additional resources and
              convicted rapists, 63 (56 percent) were sentenced to signiﬁcant prison        specialization across all cantons would allow law enforcement to better
              sentences of one year or longer in prison. In 2020, court proceedings were    address labor trafficking within the country. The canton of Bern passed
              postponed while courts closed due to the pandemic. Federal courts and         a speciﬁc law on labor trafficking and established a joint inspection
              the prosecutor’s office both closed for one month and cantonal courts         team between labor inspectors and police, and as a result, authorities
              may have been closed longer as directives varied by canton; however,          reported the increased identiﬁcation of labor trafficking victims in 2021.
              most courts adapted by utilizing virtual platforms to continue processing
                                                                                            Victim care varied across the cantons, and civil society continued to
              cases. The government did not report any investigations, prosecutions,
                                                                                            criticize the absence of a national victim protection program to ensure
              or convictions of government employees complicit in human trafficking
                                                                                            uniformity in victim assistance across the country, asserting this could
              crimes. Authorities continued to report the prevalence of “lover boy”
                                                                                            lead to re-traumatization for victims. Cantonal authorities maintained
              traffickers, which was a method of trafficking that involved young male
                                                                                            jurisdiction on providing protection for victims, and trafficking victims
              traffickers who coerce girls and women into sex trafficking, often through
                                                                                            were entitled to utilizing free and immediate assistance centers
              a sham romantic relationship. This method of trafficking affects both
                                                                                            that varied from canton to canton. In 2021, the government granted
              Swiss nationals and foreign nationals, and while authorities reported
                                                                                            518,599 Swiss francs ($567,390) to nine NGOs for victim assistance,
              the initiation of at least one investigation, NGOs noted that “lover boy”
                                                                                            which included some public awareness activities as well; an increase
              traffickers continued to ﬂout trafficking laws.
                                                                                            compared with 401,694 Swiss francs ($439,490) granted in 2020. Civil
              As a federal system, jurisdiction for investigations and criminal             society continued to express concern that funding was insufficient and
              prosecutions in Switzerland rested with the 26 cantons, except for cases      short-term funding resulted in ineffective program implementation.
              involving organized criminal networks, which fell under federal police        Government-funded NGOs provided assistance to 458 potential
              (FedPol) jurisdiction. Consequently procedures, staffing, and funding         trafficking victims in 2021, including at least 324 potential sex trafficking
              varied from canton to canton; officials noted that some of the smaller        victims, 81 potential labor trafficking victims, and seven children.
              cantons did not have sufficient resources to gather evidence to prove         This was a signiﬁcant increase compared with 184 in 2020 and 169 in
              trafficking crimes. At least six of 26 cantons had their own specialized      2019. NGOs reported that in 2021, assisted victims were most often
              anti-trafficking police units, but NGOs raised concerns that these            from Hungary, Brazil, Romania, and Nigeria; most frequently assisted
              units lacked sufficient funding and personnel, given the government’s         in Zurich or Bern; and most often referred by civil society, medical
              competing priorities with other crimes. The government had specialized        staff, or police. Additionally, the government provided trafficking-
              prosecutors, with trauma-informed training, who usually handled human         speciﬁc counseling for 254 potential trafficking victims in 2020, the
              trafficking cases; however, NGOs recommended increased trauma-                most recent year data was available; an increase compared with 193
              informed training for prosecutors. Civil society continued to report          in 2019 and 186 in 2018. Eighteen of 26 cantons had roundtables,
              the government’s predominant focus on sex trafficking hindered the            which functioned as victim referral mechanisms; roundtables included
              identiﬁcation of labor trafficking cases and their prosecution. NGOs          police, prosecutors, and NGOs. NGOs highlighted that eight cantons
              also reported that insufficient coordination between cantons hindered         remained without roundtables for victim identiﬁcation and referral.
              law enforcement efforts against organized human trafficking networks,         NGOs noted improved victim referral during the reporting period,
              with frequent duplication of efforts. The government and government-          which was attributed to increased government-funded training and
              funded NGOs provided trafficking-related training to law enforcement,         roundtable events. Victim assistance was available in at least 24 out
              immigration officials working with asylum-seekers, border guards,             of the 26 cantons, providing a wide-ranging network of care facilities
              prosecutors, labor inspectors, hospital staff, and NGO staff in 2021.         mainly tailored to the needs of women and children; however, trafficking
              However, civil society raised concerns regarding the continued lack           speciﬁc services varied signiﬁcantly from canton to canton. The two
              of institutionalized training for prosecutors at the national level and       cantons without victim assistance would reportedly transfer identiﬁed
              the postponement of a training curriculum for immigration officials           victims to larger cantons with the capacity to provide assistance,
              in the asylum sector. Law enforcement reported assisting in 29 new            though they remained responsible for providing the funding to do
              and ongoing international trafficking cases in 2021, compared with 24         so. The government reported a new specialized counseling service
              in 2020. Switzerland continued to maintain a network of at least 10           for trafficking victims opened in one canton in August 2021. NGOs
              police attachés posted abroad, who provided support to government             continued to raise concerns about the discrepancies between cantonal
              prosecution authorities in combating trans-border crime, and police           efforts to identify, assist, and protect victims, noting smaller cantons

  522                                                                                                                                     Haiti AR_001003
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 628 of 729




                                                                                                                                                         SWITZERLAND
did not have the resources or means to properly assist victims, which        While authorities continued to note the growing number of potential
could result in re-traumatization. At least 13 cantons maintained            trafficking victims among asylum-seekers during the reporting period,
formal referral and cooperation agreements with NGO-operated                 they officially identiﬁed relatively few victims. The State Secretariat
victim assistance facilities that specialized in trafficking. One NGO        for Migration (SEM) did not report officially identifying any trafficking
noted establishing cooperation agreements with an additional seven           victims in 2021, compared with four in 2020 and one in 2019. However,
cantons in 2021.                                                             NGOs stated that implementation of the 2019 asylum law, which ensured
                                                                             early access to legal aid, increased successful victim identiﬁcation.
The Swiss Victim Assistance Law entitled all adult trafficking victims
                                                                             SEM reported providing potential trafficking victims with a pamphlet
access to the government-funded women’s shelters or assistance
                                                                             on their rights, redesigned in 2021, during their hearing to determine
centers for victims of abuse and to special safeguards during criminal
                                                                             if they were victims. The government’s border police screened newly
proceedings; however, the government did not report how many
                                                                             arrived asylum-seekers alone to eliminate the potential inﬂuence of
trafficking victims received shelter or special safeguards during the
                                                                             traffickers operating within migrant camps, and specialists at SEM
reporting period. At least four government-funded and NGO-operated
                                                                             ensured identiﬁcation and coordination practices remained consistent
shelters continued to provide specialized assistance for victims of
                                                                             across the federal asylum reception centers. FedPol reported asylum
trafficking, two of which provided services to children. However,
                                                                             hearings for potential trafficking victims, though more difficult to
according to GRETA and civil society, the government did not have
                                                                             conduct, continued despite pandemic-related restrictions. In May
specialized shelters or assistance for child victims of trafficking
                                                                             2021, the Asylum and Human Trafficking working group published its
and standardized identiﬁcation procedures for children were used
                                                                             recommendations for improving the identiﬁcation of trafficking victims
inconsistently. With the noted variances, most cantons generally
                                                                             in the asylum system—many of which the government undertook,
provided victims with a minimum of four weeks of emergency lodging
                                                                             including the new 30-day reﬂection period to decide whether to
and living allowance, several hours of consultations with a lawyer,
                                                                             cooperate with law enforcement—and a special hearing for suspected
mental health counseling and medical treatment, transportation,
                                                                             victims. The working group also recommended that an independent
and translation services. If recovery required more time, the victim
                                                                             body be responsible for victim identiﬁcation and that an option for
assistance law obligated the government to assume the additional
                                                                             appealing hearing decisions should exist. Civil society expressed
cost of longer-term care. Victims had free movement in and out of
                                                                             concern that the government remained without a national victim
shelters. While victim assistance was not dependent on cooperation
                                                                             identiﬁcation mechanism for trafficking victims in the asylum system
with law enforcement, some NGOs asserted that authorities sometimes
                                                                             and urged increased national coordination and for law enforcement
used victim penalization to pressure victims into cooperating with law
                                                                             to take a more victim-centered and trauma-informed approach to
enforcement. Civil society reported decreased capacity and available
                                                                             victim interviews. Trafficking victims often remained unidentiﬁed by
services for victims due to pandemic-related prevention measures. A
                                                                             the government within the asylum system, and civil society urged
variety of sources referred victims to NGO services, including other
                                                                             the government to involve them at the earliest stage possible and at
NGOs, government-operated counseling centers, government offices,
                                                                             asylum hearings to ensure victims of trafficking avoided deportation.
foreign consulates, police and judicial authorities, health care sector
                                                                             Civil society also highlighted a tendency for officials to misidentify
employees, lawyers, and family. Civil society stated services for labor
                                                                             unaccompanied asylum-seeking children as adults, which allowed
trafficking victims were limited. According to NGOs, services for child
                                                                             authorities to transfer the children back to their country of ﬁrst
and male victims were inadequate, especially counseling and victim
                                                                             entrance and into accommodation facilities for adults. Civil society
referral resources. The government provided male victims temporary
                                                                             noted an increasing number of unaccompanied children continued to
shelter in hotels or government-funded NGO-operated shelters in at
                                                                             disappear from asylum centers. GRETA also noted the lack of adequate
least ﬁve cantons. The government had a witness protection program
                                                                             accommodation and supervision for unaccompanied children and lack
that trafficking victims could utilize, but the government did not
                                                                             of a systematic approach; GRETA urged the government to address
report how many victims it provided this protection to due to privacy
                                                                             these issues in its 2019 report. Civil society criticized the government
concerns. While NGOs conﬁrmed trafficking victims had access to
                                                                             for not systematically referring foreign victims to services once
witness protection if the government referred them, they noted victims
                                                                             identiﬁed and often shifting responsibility to the legal advisor. The
were sometimes unaware of their entitlement or it was unavailable
                                                                             victim’s legal advisor could refer victims to NGOs for assistance, but
to them if they were exploited in trafficking in another country. To
                                                                             the government did not offer ﬁnancial support for victim assistance,
encourage victims’ cooperation with law enforcement, the law allowed
                                                                             according to an NGO. NGOs and GRETA continued to report asylum
victims to keep their identities conﬁdential if they were in danger and
                                                                             accommodations and psychological counseling in asylum centers were
to testify in a separate room from the defendant. The government
                                                                             inappropriate and insufficient for assisting trafficking victims, all of
prohibited cross-examinations for child trafficking victims, testimonies
                                                                             which were exacerbated by the pandemic. NGOs reported asylum-
were videotaped, and authorities were limited to two interviews to
                                                                             seekers experienced destabilization because many were transferred
minimize re-traumatization.
                                                                             to different accommodations throughout the pandemic and some
The government also facilitated additional assistance to foreign             accommodations were no longer gender-sensitive, leading to increased
victims of trafficking, which included ﬁnancial support and residence        harassment and a decreased freedom of movement, particularly
permits; however, authorities granted few long-term residence permits        for female and LGBTQI+ individuals. The guide on accommodation
and instead provided victims with repatriation assistance. Cantonal          requirements for asylum-seekers at federal asylum centers remained
immigration authorities were required to grant victims a minimum             pending during the reporting period. The government reported
30-day reﬂection period to decide whether to participate in judicial         that victim services were only available to victims who experienced
proceedings against their traffickers, but longer stays generally required   trafficking within Switzerland; however, NGOs argued there were
cooperation with law enforcement. During the reﬂection period,               exceptions to this policy under Article 17 of the Swiss Victim Aid Act,
victims were able to obtain victim protection and assistance services        which were not uniformly applied. NGOs urged the government to
from NGOs. Foreign victims who were willing to cooperate with law            enact improved protections and assistance for victims who experienced
enforcement could be granted a six-month residence permit, renewable         trafficking abroad. The practice of deporting asylum-seekers back to
for the duration of the investigation and criminal proceedings, after        their ﬁrst country of entrance was suspended during the pandemic.
which, victims were required to depart the country. NGOs stated that         GRETA noted cantons often did not transfer victims detected in
victims who gave unclear statements to law enforcement—due to                the asylum system to specialized trafficking victim support centers
trauma suffered—were often denied residence permits. The government          because of ﬁnancial constraints and instead continued to host them
could also grant short-term residence permits based on hardship              in asylum centers.
that victims might face upon return to their country of origin. While
                                                                             The government continued to lack comprehensive statistics on
the government had a national guideline to ensure uniformity in the
                                                                             restitution and damages awarded to victims and did not require
granting of residence permits across the country, in practice, the
                                                                             prosecutors to systematically request restitution during criminal trials.
approval of the permits varied by canton.
                                                                             Trafficking victims could receive restitution from the trafficker through

                                                                                                                             Haiti AR_001004             523
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 629 of 729
SWITZERLAND   criminal proceedings; however, unlike prior years, the government did           FedPol commissioned an independent study on the effect of FedPol’s
              not report awarding restitution to any victims in 2021, 2020, or 2019,          grants for law enforcement measures to combat trafficking and crimes
              compared with 25 victims in 2018 and 31 victims in 2017. GRETA and              related to commercial sex; the study found that while FedPol’s grants
              civil society noted restitution amounts were insufficient, especially           were effective, more funding was needed for prevention, and FedPol
              compared with other serious crimes, such as rape. NGOs reported it              announced plans to increase funding in 2023. In collaboration with an
              was often a difficult and lengthy process for victims to obtain restitution     international organization and with the participation of seven NGOs,
              from traffickers and few victims received the full amount. NGOs also            several trade unions, and multiple government agencies, the government
              reported instances of the government denying restitution for formally           launched a labor trafficking awareness campaign for one week in 2021
              recognized labor trafficking victims because they were undocumented             across seven cantons and virtually, which included panel discussions,
              and lacked the required permits. GRETA criticized the lack of viable            conferences, ﬁlm screenings, trainings, lectures, radio broadcasts, and
              avenues for victim restitution when victims had no veriﬁable expenses           podcasts. Government-funded NGOs also reported hosting several labor
              or employment losses because the courts found it difficult to quantify          trafficking awareness workshops and NGOs reported the government
              the speciﬁc amount of lost income. NGOs reported a lack of uniformity           produced a trafficking awareness video speciﬁcally targeting the
              in the court’s determination for sufficient restitution, noting very small      Nigerian population.
              amounts awarded to severely traumatized victims. Trafficking victims
                                                                                              Insufficient personnel and resources hampered in-depth labor
              could also pursue damages through a civil case, but the government did
                                                                                              inspections; additionally, civil society reported labor inspectors
              not report whether any victims brought suits and were consequently
                                                                                              frequently regarded foreign victims as criminals working illegally. Labor
              awarded damages in 2021. Victims could seek a maximum of 120,000
                                                                                              inspectors lacked a speciﬁc mandate to identify trafficking victims;
              Swiss francs ($131,290) in compensation from the government if the
                                                                                              however, if inspectors did identify any potential victims, they were
              crime took place in Switzerland and the convicted trafficker was unable
                                                                                              required to refer potential trafficking cases to police. A government-
              to pay the awarded restitution or damages; however, the government
                                                                                              funded NGO signed an agreement with the government in 2021, which
              did not report awarding compensation to any victims in 2021. While
                                                                                              formalized a procedure for potential victims referred to police by labor
              the government had a legal provision prohibiting the punishment of
                                                                                              inspectors and would ensure the NGO was involved to assist in victim
              victims of crimes, it did not speciﬁcally address human trafficking or the
                                                                                              identiﬁcation. In recognition of the critical role labor inspectors had
              criminal coercion often experienced in trafficking cases. The decision
                                                                                              in identifying trafficking victims and as a follow-on to the awareness
              to prosecute a trafficking victim was left to prosecutors, who did not
                                                                                              campaign in 2020, government-funded NGOs organized two workshops
              always apply the principle in trafficking cases to prevent the defense
                                                                                              for nearly 70 labor inspectors across 17 cantons to raise awareness of
              from perceiving the prosecution as biased. Although the government
                                                                                              human trafficking. In 2021, the government, including law enforcement,
              continued to screen for trafficking victims, NGOs asserted penalization
                                                                                              labor inspectors, and EUROPOL, participated in three joint action days
              of unidentiﬁed victims was common, with victims frequently charged
                                                                                              (JAD): one targeting labor exploitation, one targeting child trafficking,
              with petty crimes, violation of local commercial sex regulations, or
                                                                                              and one targeting sexual exploitation, forced begging, and forced
              immigration and labor laws. NGOs reported improvements in non-
                                                                                              criminality; the JADs resulted in the inspection of 238 establishments
              penalization of victims when the government increased its cooperation
                                                                                              and locations, the identiﬁcation of 11 potential victims, and the arrest
              with civil society, as civil society reported helping identify victims the
                                                                                              of three suspects—an increase compared with results from 2020. Swiss
              government did not, intervening on behalf of victims, and building
                                                                                              labor recruitment agencies required a license and were liable if foreign
              greater trust. Civil society urged the government to involve them
                                                                                              recruitment agencies did not uphold Swiss recruitment regulations.
              at the earliest stages possible, as screenings by law enforcement,
                                                                                              Although there were no such cases reported, Swiss employers could
              immigration, and social services remained an issue, particularly in cases
                                                                                              legally charge a registration or placement fee to workers, which could
              of labor exploitation. NGOs and GRETA urged the government to adopt
                                                                                              put them at risk of debt bondage. Third country nationals required
              a provision on the non-punishment of trafficking victims, and GRETA
                                                                                              prior approval from the government before changing employers,
              encouraged additional training of public prosecutors in this regard.
                                                                                              which may have increased their vulnerability to trafficking. In 2021, the
                                                                                              government launched the Swiss Forum on Business and Human Rights
              PREVENTION                                                                      where the government agreed to provide support to small-to-medium
              The government maintained prevention efforts. Under FedPol, FSMM
                                                                                              enterprises regarding human rights due diligence; the government
              coordinated national efforts, including anti-trafficking policies,
                                                                                              organized multistakeholder events and conducted training courses on
              information exchange, cooperation, and training. Following a 2018
                                                                                              business and human rights throughout the year with a focus on forced
              restructuring of FSMM, civil society and GRETA continued to express
                                                                                              labor in supply chains. In January 2021, the government passed a law
              concerns regarding a decrease in a victim-centered, multidisciplinary,
                                                                                              allowing the government contracting authority to require suppliers to
              and collaborative approach to trafficking; civil society continued to
                                                                                              comply with provisions related to the protection of employees, labor
              report that the coordinating body within FSMM, the National Expert
                                                                                              conditions, equal pay, and environmental regulations prior to awarding
              Group to Combat Trafficking in Persons, was ineffective and had yet
                                                                                              public procurement contracts; if suppliers failed to comply, they could
              to convene any meetings. NGOs and experts continued to assert that
                                                                                              be excluded from obtaining future contracts for ﬁve years.
              the government provided insufficient personnel and funding to FSMM,
              which hindered their ability to coordinate national anti-trafficking            The government continued to provide funding to foreign countries
              efforts for all 26 cantons. In 2020 and 2021, due to pandemic-related           for anti-trafficking efforts, including an awareness raising campaign in
              restrictions, FSMM canceled its national meeting of the heads of the            Nigeria and funding for an international organization working in Lebanon
              cantonal anti-trafficking roundtables; the government reported holding          and Jordan. The government also continued to fund the Better Work
              cantonal roundtables but did not report the number held. NGOs reported          and the Sustaining Competitive and Responsible Enterprises programs,
              many of FedPol’s initiatives were postponed due to the pandemic. The            which aimed to improve working conditions, including forced labor,
              government remained without an official independent national anti-              around the world. The government did not make efforts to reduce the
              trafficking rapporteur. The government did not adopt a new NAP after            demand for commercial sex. While the government participated in
              the expiration of its 2017-2020 plan, and while the government reported         several international law enforcement efforts to increase government and
              plans to draft a new NAP, the government did not begin drafting it              law enforcement collaboration on child sex tourism, the government did
              during the reporting period. NGOs expressed interest in the new NAP             not demonstrate overall efforts to reduce the demand for international
              including a clariﬁcation of roles and responsibilities, including for FedPol.   child sex tourism by Swiss nationals.
              In 2021 and 2022, the government continued to provide funding to
              an NGO to operate the national anti-trafficking hotline, 51,600 Swiss           TRAFFICKING PROFILE
              francs ($56,460) in 2021 and 53,125 Swiss Francs ($58,120) allocated in         As reported over the past ﬁve years, human traffickers exploit domestic
              2022; the NGO reported receiving 79 calls pertaining to 99 victims and          and foreign victims in Switzerland. The pandemic exacerbated
              referring 40 victims to police. In 2021, another NGO began operating            vulnerabilities for trafficking victims, and sex traffickers are increasingly
              a 24-hour hotline that police could use to refer trafficking victims to         using online platforms to recruit, exploit victims, and book apartment
              shelter and other victim protection services. Civil society reported that       rentals to make their illicit operations difficult to track. Victims’ debt

  524                                                                                                                                       Haiti AR_001005
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 630 of 729




                                                                                                                                                               SYRIA
to their traffickers, and subsequently the traffickers’ control over           affiliated militias continued to forcibly recruit and use child soldiers
the victims, increased during the pandemic because victims were                during the reporting period; the government also did not protect and
sometimes unable to work and earn money. Victims’ access to services           prevent children from recruitment and use by armed opposition forces
was limited due to pandemic-related restrictions in 2020, which                and designated terrorist organizations. The government continued to
increased isolation and vulnerabilities to trafficking. In 2022, refugees,     arrest, detain, and severely abuse trafficking victims, including child
predominantly women and children, ﬂeeing Russia’s full-scale invasion          soldiers, and punished them for unlawful acts traffickers compelled
of Ukraine, are vulnerable to trafficking. Traffickers are frequently family   them to commit.
members, friends, or romantic partners, as well as agencies offering
fraudulent employment, travel, and marriage. Traffickers are both                      SYRIA TIER RANKING BY YEAR
Swiss and foreign nationals; foreign traffickers typically have the same           1
nationality as their victims. Although the vast majority of traffickers            2
are male, female traffickers are not uncommon, especially women
from Nigeria and Thailand. Traffickers are increasingly mobile and              2WL
adaptable, switching industries and locations frequently. Sex traffickers          3
exploit both foreign and domestic women, transgender individuals, and                     2015     2016      2017   2018   2019     2020     2021    2022
children. Traffickers, often involved with criminal networks, increasingly
exploit female and transgender victims from Thailand. Swiss nationals
continue to engage in child sex tourism abroad. Authorities report an
increase in young male traffickers, known as “lover boys,” coercing
                                                                               PRIORITIZED RECOMMENDATIONS:
                                                                               Criminalize all forms of human trafficking. • Stop the forcible recruitment
vulnerable Swiss girls and women into sex trafficking, often through
                                                                               and use of child soldiers by government forces and pro-government
a sham romantic relationship. The majority of sex trafficking victims
                                                                               militias. • Enforce limits on the length of compulsory military service,
identiﬁed by the government are from Eastern Europe, West Africa,
                                                                               demobilize individuals who have exceeded the service limit, and
notably Nigeria, and Asia, particularly Thailand. Traffickers continue
                                                                               cease the deceptive and coercive recruitment of returning refugees.
to fraudulently recruit and later coerce Nigerian women and girls to
                                                                               • Proactively identify victims of all forms of trafficking and provide
stay in exploitative situations using a “voodoo oath” they are forced
                                                                               them with appropriate protection services, including long-term care for
to swear. Foreign trafficking victims originate primarily from Central
                                                                               demobilized child soldiers from government forces and non-state armed
and Eastern Europe (particularly Bulgaria, Hungary, and Romania),
                                                                               groups. • Ensure trafficking victims are not punished for crimes traffickers
with increasing numbers from Asia and Africa (especially from the
                                                                               compelled them to commit, such as child soldiering. • Investigate,
People’s Republic of China, Nigeria, and Thailand), but also from Latin
                                                                               prosecute, and convict perpetrators of sex and labor trafficking and
America (Brazil and the Dominican Republic). Traffickers often force
                                                                               the unlawful recruitment and use of child soldiers, including complicit
female victims among asylum-seekers from Angola, Eritrea, Ethiopia,
                                                                               officials. • Given signiﬁcant concerns that North Korea forces its citizens
and Nigeria into commercial sex and domestic servitude. More than
                                                                               to work abroad, screen North Korean workers for trafficking indicators
one-third of female trafficking victims are asylum-seekers who sought
                                                                               and refer them to appropriate services.
protection after arriving in Switzerland. Labor traffickers exploit men,
women, and children in domestic service, health care, agriculture,
hospitality, catering, postal courier services, construction, tourism, and
                                                                               PROSECUTION
                                                                               The government made no discernible anti-trafficking law enforcement
in forced criminal activity. Male victims among asylum-seekers come
                                                                               efforts. Violent conﬂict continued to amplify the magnitude of human
primarily from Afghanistan and Eritrea and are exploited in forced
                                                                               trafficking crimes occurring within Syria. Decree No. 3 of 2010 appeared
labor. Forced begging, especially among the Roma communities, has
                                                                               to criminalize some forms of sex trafficking and labor trafficking, but
increased in recent years.
                                                                               it did not include a clear deﬁnition of human trafficking. This decree
                                                                               prescribed a minimum punishment of seven years’ imprisonment and a
                                                                               ﬁne between 1 million and 3 million Syrian pounds ($400 and $1,190), a
 SYRIA: TIER 3                                                                 penalty that was sufficiently stringent but, with respect to sex trafficking,
                                                                               not commensurate with those prescribed for other serious crimes, such
                                                                               as rape. The government did not report investigating, prosecuting,
The Government of Syria does not fully meet the minimum standards              or convicting suspected traffickers. During the reporting period, the
for the elimination of trafficking and, even considering the impact            National Defense Forces (NDF), a pro-regime militia organized by and
of the COVID-19 pandemic, if any, on its anti-trafficking capacity, is         in close collaboration with the Syrian government, recruited and used
not making signiﬁcant efforts to do so; therefore Syria remained on            children in combat roles. During the reporting period, an international
Tier 3. During the reporting period, there was a government policy             organization reported regime forces recruited or used 43 children at
or pattern of human trafficking and employing or recruiting child              checkpoints but did not report further details. In previous reporting
soldiers. The government exploited its nationals in forced labor in its        periods, the government and pro-Syrian regime-affiliated militias
compulsory military service by forcing them to serve for indeﬁnite             forcibly recruited and used child soldiers, resulting in children facing
or otherwise arbitrary periods. Officials did not demobilize most              extreme violence and retaliation by other warring parties. Military
individuals from military service after their mandatory period of              service was compulsory for Syrian men between the ages of 18 and
service; rather, they forced citizens to serve indeﬁnitely under threats       42 for 18 to 21 months; however, the government forced soldiers and
of detention, torture, familial reprisal, or death. The government did         reservists to serve an indeﬁnite period of time, and some draftees
not hold any traffickers criminally accountable, nor did it identify or        were not discharged even after nine years of military service. NGOs
protect any trafficking victims. The government’s actions directly             reported the government, including commanding officers, detained,
contributed to the population’s vulnerability to trafficking, and it           tortured, and at times killed conscripts if they were suspected to be
continued to perpetrate human trafficking crimes routinely. The                anti-government, refused an order, or deserted; there were also reports
pandemic, security situation, and the government’s restriction on              the government harassed, detained, and in some cases, tortured the
freedom of movement, press, and internet access limited reporting,             families of draft evaders and deserters. In addition, there were reports
including on official complicity on human trafficking and child soldiering     the regime deceived and potentially coerced returning refugees into
crimes. In previous reporting periods, the government and pro-Syrian           military service. The government has never reported investigating,
regime-affiliated militias forcibly recruited and used child soldiers,         prosecuting, or convicting government officials complicit in human
resulting in children facing extreme violence and retaliation by other         trafficking, including child soldiering crimes. The government did not
warring parties. Despite such reports, the government has never                provide anti-trafficking training for officials.
reported efforts to disarm, demobilize, and reintegrate child soldiers,
nor has it reported investigating, prosecuting, or convicting officials
complicit in the recruitment or use of child soldiers. Pro-Syrian regime-

                                                                                                                                  Haiti AR_001006              525
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 631 of 729
SYRIA                                                                                  girls from minority groups into forced marriages, domestic servitude,
        PROTECTION
        The government did not identify or protect trafficking victims. The            systematic rape, sexual slavery, and other forms of sexual violence.
        government did not protect children from forcible recruitment and              Incidents of human trafficking increased, and trafficking victims were
        use as soldiers and in support roles by government forces and pro-             trapped in Syria in 2014 when ISIS consolidated its control of the
        government armed groups, armed opposition groups, and terrorist                eastern governorates of Raqqa and Deir al-Zour. ISIS publicly released
        organizations. The government continued to severely punish victims             guidelines on how to capture, forcibly hold, and sexually abuse women
        for crimes that traffickers compelled them to commit, such as child            and girls as “slaves.” As reported by an international organization, ISIS
        soldiering and prostitution. The government routinely arrested, detained,      militants’ system of organized sexual slavery and forced marriage is a
        raped, tortured, and executed children for alleged association with            central element of the terrorist group’s ideology and systemic means
        political opponents, armed groups, and terrorist organizations and             of oppression. ISIS subjected girls as young as nine years old, including
        made no effort to offer these children any protection services. During         Yezidi girls abducted from Iraq and brought to Syria, to sexual slavery
        the reporting period, there continued to be isolated reports of the            and other forms of sexual violence. Although as of 2021, ISIS no longer
        government detaining women and children—including unaccompanied                controlled territory, according to an NGO, approximately 2,700 Yezidi
        children—across Syria for suspected family ties to foreign ISIS ﬁghters;       women and girls remain unaccounted for; reports indicate some of these
        some of these individuals may have been unidentiﬁed trafficking victims.       women and girls remain with ISIS in eastern Syria or in Al-Hol camp.
        The government neither encouraged trafficking victims to assist in             The recruitment and use of children in combat in Syria remains common,
        investigations or prosecutions of their traffickers nor provided foreign       and since the beginning of 2018, international observers reported a
        victims with legal alternatives to their removal to countries in which         continuation in incidents of recruitment and use by armed groups.
        they may face hardship or retribution.                                         Syrian government forces, pro-regime militias, and armed non-state
                                                                                       actors, including the Syrian National Army (SNA) and SNA-affiliated
        PREVENTION                                                                     groups, Syrian Democratic Forces (SDF)-affiliated groups, ISIS, Hayat
        The government made no effort to prevent human trafficking. Law                Tahrir al-Sham (HTS), al-Qa’ida, and Jabhat al-Nusra—the al-Qa’ida
        No. 11/2013 criminalized all forms of recruitment and use of children          affiliate in Syria—recruit and use boys and girls as child soldiers. Jabhat
        younger than the age of 18 by the Syrian armed forces and armed                al-Nusra and ISIS also have used children as human shields, suicide
        groups; however, the government made no efforts to prosecute child             bombers, snipers, and executioners. Militants also use children for forced
        soldiering crimes perpetrated by government and pro-regime militias,           labor and as informants, exposing them to retaliation and extreme
        armed opposition groups, and designated terrorist organizations. The           punishment. Some armed groups ﬁghting for the Syrian government,
        government also did not implement measures to prevent children from            such as Hezbollah, and the NDF, or “shabiha,” forcibly recruit children
        unlawful recruitment and use as combatants and in support roles by pro-        as young as six years old. During previous reporting periods, there
        regime militias, armed opposition groups, and terrorist organizations.         were reports armed groups abducted or recruited children to be used
        The government did not raise awareness of human trafficking among              in hostilities outside of Syria, in particular in Libya. ISIS forces continue
        the general public or officials. The government did not report efforts to      to deploy children—some as young as eight years old—into hostilities.
        reduce the demand for commercial sex acts, nor did it prevent child sex        Despite the territorial defeat of ISIS, it continues to target children for
        tourism by Syrian nationals abroad. The government did not provide             indoctrination at schools and camps for IDPs, endangering children
        anti-trafficking training for its diplomatic personnel.                        and preventing their access to education.

        TRAFFICKING PROFILE                                                            The Kurdish People’s Protection Units (YPG and YPJ) in northwest
        As reported over the past ﬁve years, human traffickers exploit domestic        Syria continue to recruit, train, and use boys and girls as young as
        and foreign victims in Syria, and traffickers exploit Syrian victims abroad.   12 years old. Since 2017, international observers reported that YPG
        Conditions in Syria continue to deteriorate amid the ongoing conﬂict           and YPJ recruited—at times by force—children from displacement
        between the regime and its Russian and Iranian allies and non-state armed      camps in northeast Syria. During the reporting year, the SDF, and by
        groups of varying ideologies exerting control over wide geographic swaths      association the YPG and YPJ, continued to implement the UN Security
        of the country’s territory. Military service is compulsory for Syrian men      Council resolution-mandated action plan to end the recruitment and
        between the ages of 18 and 42 for 18 to 21 months; however, since the          use of children and demobilize children within SDF ranks. The SDF
        start of the conﬂict in 2011, officials do not demobilize most individuals     identiﬁed 908 minors seeking to join its ranks and continued to develop
        from military service after their mandatory period of service; rather, they    and reﬁne an age screening mechanism in coordination with the UN.
        force citizens to serve indeﬁnitely under threats of detention, torture,       According to the UN, the action plan resulted in the disengagement of
        familial reprisal, or death.                                                   150 children from SDF ranks during the year. NGOs allege that some
                                                                                       Popular Mobilization Forces-affiliated militias in Iraq recruit boys in
        More than half of Syria’s pre-war population of 23 million have been           Iraq to ﬁght in Syria. As in previous reporting periods, credible sources
        displaced; as of September 2021, the UN High Commissioner for Refugees         widely report that Iran’s Islamic Revolutionary Guard Corps (IRGC), the
        reported there were 6.7 million internally displaced persons (IDPs), 2.6       Iranian Basij Resistance Force, and IRGC-supported militias actively
        million of whom were children, and more than 5.6 million Syrian-registered     recruit and use—including through force or coercive means—Afghan
        refugees outside the country. Syrians displaced in the country and those       children and adults, Afghan migrant and refugee men and children
        living as refugees in neighboring countries are extremely vulnerable           living in Iran, Syrian children, and Iranian children to ﬁght in IRGC-led
        to traffickers. Syrian children are reportedly vulnerable to forced early      and -funded Shia militias deployed to Syria.
        marriages, including to members of terrorist groups such as ISIS—which
        can lead to sexual slavery and forced labor—and children displaced             Terrorist groups, including ISIS and HTS, reportedly force, coerce, or
        within the country continue to be subjected to forced labor, particularly      fraudulently recruit foreigners—including migrants from Central Asia
        by organized begging rings. Armed groups, community members, and               and women, including Western women—to join them. Central Asian
        criminal gangs exploit women, girls, and boys in Syria—particularly            women traveling with men to Syria are also vulnerable to sex trafficking
        underserved populations such as IDPs and individuals with disabilities—in      and forced labor on arrival; many are reportedly placed alongside other
        sex trafficking in exchange for food or money. Traffickers subject foreign     Central Asian family members in makeshift camp communities, where
        domestic workers from Southeast Asian countries such as Indonesia              their travel and identity documentation is conﬁscated and their freedom
        and the Philippines to forced labor in Syria. In several cases, traffickers    of movement restricted. Many of these women report having lost their
        fraudulently recruited Filipina domestic workers for employment in the         husbands to armed conﬂict, after which their economic hardships and
        United Arab Emirates before transporting them to Syria where they are          conﬁnement in the camps make them vulnerable to coercive local
        exploited in forced labor.                                                     marriages that may feature corollary sex trafficking or forced labor
                                                                                       indicators. During the reporting period, thousands of foreign women
        Despite the territorial defeat of ISIS at the beginning of 2019, the group     remained in IDP camps across northeastern Syria, and some had
        continued to force local Syrian girls and women in ISIS-controlled areas       suspected family ties to foreign ISIS ﬁghters; some of these individuals
        into marriages with its ﬁghters, and it routinely subjected women and          may have been unidentiﬁed trafficking victims. Some children in IDP

 526                                                                                                                                 Haiti AR_001007
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 632 of 729




                                                                                                                                                               TAIWAN
camps across northeastern Syria, including Al-Hol, were potential human       (DWF). Taiwan authorities’ lack of speciﬁc labor laws ensuring the
trafficking victims used in direct hostilities or in support roles by armed   rights of migrant domestic caregivers continued to leave thousands
groups, including ISIS. In February 2021, an international organization       vulnerable to exploitation in forced labor.
reported that the repatriation of foreign children from camps across
northeastern Syria had slowed signiﬁcantly due to the pandemic. As
in previous reporting periods, the Syrian government, NDF, SDF, and                   TAIWAN TIER RANKING BY YEAR

SNA detained children, including trafficking victims, for their alleged           1
association with armed groups or terrorist organizations. In July 2020,           2
an NGO reported government officials subjected LGBTQI+ persons in               2WL
Syria to various forms of sexual violence, including cases amounting to
                                                                                  3
sexual slavery, in military detention centers, prisons, and checkpoints.                2015      2016      2017    2018   2019    2020     2021     2022
The Syrian refugee population is highly vulnerable to sex trafficking and
forced labor in neighboring countries, particularly Jordan, Lebanon,
Iraq, and Turkey. International organizations report a high number of
child and early marriages of Syrian girls among refugee populations,          PRIORITIZED RECOMMENDATIONS:
which increases their vulnerability to trafficking. Syrian refugee women      Increase inspections and, where appropriate, prosecute the senior crew
and girls are also vulnerable to forced or “temporary marriages”—for          and owners of Taiwan-owned and -ﬂagged as well as Taiwan-owned,
the purpose of commercial sex and other forms of exploitation—and             foreign-ﬂagged ﬁshing vessels suspected of forced labor in the DWF,
other forms of sex trafficking in refugee camps, Lebanon, Jordan, and         including vessels stopping in special foreign docking zones. • Increase
cities in the Iraqi Kurdistan Region, including Sulaimaniya. Commercial       efforts to prosecute and convict traffickers under the anti-trafficking
sex rings in Turkey and Lebanon compel Syrian refugee women and               law, and sentence convicted traffickers to adequate penalties, which
girls into sex trafficking. In Turkey, some female Syrian refugees are        should include signiﬁcant prison terms. • Expand the mandate of foreign
reportedly exploited in sex or labor trafficking after accepting fraudulent   port-based ﬁsheries agency (FA) personnel to include victim-centered
job offers to work in hair salons, modeling, entertainment, or domestic       screening for forced labor indicators among foreign ﬁshing crewmembers;
work. An NGO reported Syrian boys, especially unaccompanied and               increase inspector coverage to all authorized overseas ports; train all
separated boys, were vulnerable to sexual trafficking in exchange for         maritime inspection authorities on victim identiﬁcation, referral, and
the cost of being smuggled across the border to Turkey and further            law enforcement notiﬁcation procedures; and expand the availability of
destinations. In Turkey, Lebanon, and Jordan, Syrian refugee children         interpretation services for such inspections, especially for Bahasa and
continue to engage in street begging or peddling goods, some of which         Tagalog languages. • Formally include civil society input into the labor
may be forced or coerced. Syrian children are also observed working           broker evaluation process. • Amend relevant policies and legislative
in Turkey’s agricultural sector and informally in textile workshops           loopholes to eliminate the imposition of all recruitment, registration,
and the service sector, where they experience long working hours,             and service fees and deposits on workers, and coordinate with sending
low wages, and poor working conditions; children in these sectors             countries to monitor and harmonize contract provisions and facilitate
may be vulnerable to forced labor. In Jordan and Lebanon, traffickers         direct hiring. • Continue to strengthen efforts to screen for trafficking
force Syrian refugee children to work in agriculture alongside their          among vulnerable populations, including foreign students recruited to
families; in Lebanon’s Bekaa Valley, Syrian gangs force refugee adults        for-proﬁt universities; individuals returned to Taiwan in connection with
and children to work in agriculture under harsh conditions, including         alleged overseas criminal activity; and foreign workers falling out of visa
physical abuse, with little to no pay. LGBTQI+ persons among the              status within Taiwan after ﬂeeing abusive working conditions and/or
Syrian refugee population in Lebanon are reportedly vulnerable to sex         surrendering to immigration authorities, and refer them to protective
trafficking. During the previous reporting period, Sudanese authorities       services. • Enact legislation that would address gaps in basic labor
identiﬁed seven Syrian trafficking victims in Khartoum. North Korean          protections for household caregivers and domestic workers, including
nationals working in Syria may have been forced to work by the North          by instituting a full ban on the retention of migrant workers’ identity
Korean government. Isolated media reporting in 2020 alleged Syrian            and travel documentation. • Extend trafficking victim identiﬁcation
men were fraudulently recruited to ﬁght in the Nagorno-Karabakh               authority to key stakeholder agencies. • Increase resources for and
conﬂict, believing they were going to Azerbaijan for work opportunities.      implement anti-trafficking training for police, prosecutors, and judges.

                                                                              PROSECUTION
                                                                              Taiwan authorities increased law enforcement efforts, but they did not
 TAIWAN: TIER 1                                                               sufficiently prioritize the detection, investigation, or prosecution of forced
                                                                              labor crimes in the coastal-offshore or DWF ﬁshing industries. The Human
                                                                              Trafficking Prevention and Control Act (HTPCA) criminalized all forms of
Taiwanese authorities fully meet the minimum standards for the
                                                                              trafficking and prescribed penalties of up to seven years’ imprisonment
elimination of trafficking. Authorities continued to demonstrate serious
                                                                              and ﬁnes up to 5 million New Taiwan Dollars (NT) ($180,460); these
and sustained efforts during the reporting period, considering the
                                                                              penalties were sufficiently stringent and, with respect to sex trafficking,
impact of the COVID-19 pandemic on their anti-trafficking capacity;
                                                                              commensurate with those prescribed for other grave crimes, such
therefore Taiwan remained on Tier 1. These efforts included convicting        as rape. HTPCA amendments enacted in 2018 increased penalties
signiﬁcantly more traffickers and referring more victims to protection        to a maximum of one year in prison and a possible ﬁne of 300,000
services than in 2020; improving victim-centered shelter intake               NT ($10,830) for individuals who, “through recruitment, seduction,
procedures for foreign survivors; enhancing the formal consultative role      shelter, arrangement, assistance, exploitation, or other means, cause
of non-government stakeholders in the victim identiﬁcation, referral,         a child to act as a host or hostess in a bar or club or engage in acts
and case management processes; and penalizing a signiﬁcantly higher           associated with tour escort and singing or dancing companion services
number of recruitment brokers for abusive practices than in 2020,             that involve sexual activities.” The amendment prescribed a maximum
including in the form of precedent-setting trafficking convictions.           penalty of ﬁve years’ imprisonment and a possible ﬁne of 1.5 million NT
Although Taiwan met the minimum standards, authorities investigated           ($54,140) for such crimes committed by means of “violence, coercion,
and prosecuted fewer alleged traffickers and identiﬁed fewer victims          drugs, fraud, hypnosis, or other means violating the free will of the
than in 2020. Some official stakeholders continued to operate under           child or youth concerned.” Authorities continued to prosecute the
disparate and often ineffective victim identiﬁcation procedures,              majority of trafficking cases under other laws in the criminal code and
complicating some victims’ access to justice and protective care.             the Child and Youth Sexual Exploitation Prevention Act (CYSEPA);
Authorities’ insufficient staffing and inspection protocols continued         some penalties prescribed for child sex trafficking crimes under these
to impede efforts to identify, investigate, and prosecute forced labor        laws were not sufficiently stringent or commensurate with other grave
on ﬁshing vessels in Taiwan’s highly vulnerable Distant Water Fleet           crimes, such as rape, although other laws retained appropriate penalties.

                                                                                                                                  Haiti AR_001008              527
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 633 of 729
TAIWAN   Authorities prosecuted and convicted some traffickers under criminal            Although pandemic-related restrictions on large gatherings curtailed
         code provisions proscribing crimes outside the standard deﬁnition of            some training activities, authorities again allocated approximately 1
         trafficking, such as Article 231 (forced sexual intercourse or obscene          million NT ($36,090) to train more than 1,500 law enforcement officers,
         acts), Article 296 (“trading or mortgaging of humans”), and Article 302         prosecutors, and judges through a wide range of virtual workshops,
         (false imprisonment), some of which carried lesser penalties.                   seminars, and conferences (compared with more than 3,000 officials
                                                                                         trained at an estimated cost of 1 million NT, or $36,090, in 2020).
         Authorities reported initiating 99 new criminal trafficking investigations
                                                                                         Despite coordination obstacles to international law enforcement due to
         involving 229 alleged perpetrators, including 62 alleged perpetrators of
                                                                                         Taiwan’s unique diplomatic status, authorities continued to conduct joint
         labor trafficking and 167 alleged perpetrators of sex trafficking, compared
                                                                                         anti-trafficking investigations with several countries, including Kosovo,
         with 159 total investigations involving 458 alleged perpetrators in 2020.
                                                                                         Montenegro, Paraguay, Serbia, Turkey, and Vietnam. Officials at times
         Officials attributed this decrease to reduced law enforcement staffing,
                                                                                         closed international investigations submitted by foreign counterparts
         strict border controls, and the long-term closure of businesses that
                                                                                         due to perceived lack of evidence.
         facilitated commercial sex as a health precaution during the pandemic.
         Authorities also continued ongoing investigations of 143 cases involving        The Ministry of Labor (MOL) reported conducting 2,363 inspections
         341 alleged sex traffickers and 55 alleged labor traffickers initiated in       of recruitment brokers in 2021 (compared with 2,617 in 2020). Unlike
         2020. They newly prosecuted 73 individuals—25 for alleged forced labor          in 2020, authorities reported conducting 111 follow-up investigations
         and 48 for alleged sex trafficking—compared with 116 new prosecutions           based on reports of improper withholding of identity documentation
         in 2020. This ﬁgure included 38 individuals indicted under the CYSEPA,          and illegal surcharges; this led to the indictment of eight individuals
         six under the HTPCA, and 29 under other laws and sections of the                on human trafficking charges, two of which culminated in convictions
         criminal code (compared with 58 under CYSEPA, 15 under HTPCA, and               (compared with no criminal investigations, prosecutions, or convictions
         43 under other laws in 2020). The six individuals indicted under the            of brokers engaged in illegal acts in 2020). The FA reported conducting
         HTPCA were all charged with labor trafficking (compared with eight              unannounced inspections on 112 ﬁshing vessels, including 98 at domestic
         charged with sex trafficking and seven charged with labor trafficking in        ports, 12 at foreign ports, and two that were Taiwan-owned and foreign-
         2020). Authorities convicted 73 traffickers; this included four individuals     ﬂagged, interviewing a total of 641 crewmembers (compared with 124
         convicted for forced labor and 69 for sex trafficking (compared with four       inspections—102 at domestic ports, 20 at foreign ports, and two on
         for forced labor, 45 for sex trafficking, and one for both in 2020). In prior   the high seas, interviewing a total of 658 crew—in 2020). Observers
         years, authorities ascribed the tendency to impose lenient penalties to         noted DWF vessels—both Taiwan- and foreign-ﬂagged—spent more
         Taiwan’s judicial evaluation and promotion system, which reportedly             time docked in Taiwan’s ports due to the pandemic in 2021. Inspectors
         penalized judges if courts granted convicted individuals’ appeals to            uncovered 62 violations relating to contract issues, excessive overtime,
         overturn or shorten their sentences. However, for the fourth consecutive        physical assault of crewmembers, wage discrepancies, and suspected
         year, sentences imposed on the majority of convicted traffickers (62,           human trafficking (compared with 141 in 2020). Forty-four of these
         compared with at least 43 in 2020) exceeded one year imprisonment.              remained under initial investigation. Authorities referred ﬁve of the
         Taiwan authorities investigated ﬁve foreign nationals—one each from             cases to district prosecutors; continued prosecutorial investigation of
         Republic of Korea and Japan and three from Indonesia—for suspected              two cases; and closed one due to perceived lack of evidence (compared
         CYSEPA violations, but they did not report whether these constituted            with eight referrals in 2020; three in 2019; and three in 2018). Notably, two
         child sex tourism crimes or other forms of exploitation proscribed under        of the aforementioned referrals were for cases of suspected trafficking
         CYSEPA (compared with eight investigations in 2020). Authorities did            aboard Taiwan-owned, foreign-ﬂagged vessels—a ﬁrst in recent years.
         not report any investigations, prosecutions, or convictions of officials
                                                                                         In previous years, judicial officials noted bureaucratic lags generated
         complicit in human trafficking crimes. Authorities ﬁled charges in a
                                                                                         by complicated reporting hierarchies impeded timely law enforcement
         case referred to prosecutors in 2020 involving a Taiwan-based foreign
                                                                                         response in maritime trafficking cases, allowing some alleged perpetrators
         government official suspected of colluding with her Taiwan citizen
                                                                                         to ﬂee long before the competent authorities could begin formal
         spouse to recruit three foreign nationals for sex trafficking in Taiwan;
                                                                                         investigations. In an effort to mitigate these delays, in 2020 Taiwan’s
         the case was awaiting trial at the end of the reporting period. Taiwan’s
                                                                                         interagency anti-trafficking task force worked with the FA to complete
         laws criminalized sexual exploitation of children by Taiwan passport
                                                                                         and promulgate a policy granting police and prosecutors the authority
         holders traveling abroad. For the ﬁrst time since 2006, authorities
                                                                                         to initiate maritime forced labor investigations immediately upon receipt
         reported indicting one such individual; the case was ongoing at the
                                                                                         of complaints, rather than following lengthier bureaucratic approval
         end of the reporting period. As in prior years, law enforcement bodies
                                                                                         processes; however, authorities did not implement the new procedure in
         and court authorities maintained disparate statistical records on anti-
                                                                                         2021. Civil society groups continued to decry systemic shortcomings in
         trafficking cases; as such, the true number of trafficking indictments,
                                                                                         Taiwan’s maritime anti-trafficking law enforcement, evidenced by lack of
         prosecutions, convictions, and sentences—including those processed
                                                                                         robust investigations into formal complaints ﬁled by NGOs and human
         through appeals in multiple court systems—may have been higher
                                                                                         rights watchdogs; they noted FA authorities continued to pass very few
         than reported. Pandemic-related challenges, including widespread
                                                                                         NGO-reported cases of potential maritime forced labor to prosecutors,
         infection among officers in some areas, signiﬁcantly impacted law
                                                                                         and instead closed the vast majority of investigated allegations with
         enforcement anti-trafficking capacity in 2021. The Judicial Yuan also
                                                                                         no further action. Civil society observers encouraged Taiwanese law
         ordered courts at all levels to suspend in-person proceedings or switch
                                                                                         enforcement to apply the same universal jurisdiction principles cited
         to virtual conferencing during periods with high infection rates, thereby
                                                                                         in land-based human trafficking investigations to board and inspect
         constraining prosecutions throughout the year.
                                                                                         maritime vessels where cases of seafarer abandonment or abuse are
         Authorities and NGOs noted court personnel perceiving cases as labor            suspected. In an effort to increase transparency to the process, in 2021
         disputes rather than trafficking crimes continued to hinder effective           authorities began inviting civil society representatives to observe FA
         prosecution of labor trafficking cases. Ambiguities in HTPCA provisions         interviews of migrant ﬁshermen onboard some vessels in local ports;
         reportedly complicated implementation in cases where victims received           while noting this as a positive step, these NGO personnel observed
         some ﬁnancial compensation. Other HTPCA provisions protected workers            some practices that may have discouraged victims from reporting
         from having to remit “unreasonable payments of debt” to brokers or              abuses, including interviews conducted in close proximity to senior
         supervisors; observers expressed concern that these provisions were too         vessel crew. Only seven of the 32 international ports authorized for use
         vague to effectively prevent debt-based coercion. In 2019, authorities          by Taiwan DWF vessels had assigned FA inspectors (a decrease from
         formed an interagency working group to seek civil society input for             nine in 2020), and observers noted these personnel operated under
         revising the HTPCA; in December 2021, authorities submitted draft               mandates that were largely limited to ﬁsh catch inspection and the
         amendments that incorporated this input to the Executive Yuan, where            detection of environmental abuses, rather than labor abuses. Taiwan’s
         they remained pending at the end of the reporting period. In previous           unique diplomatic status and the pandemic reportedly continued to
         years, labor rights groups alleged some low-level corruption among              complicate ongoing Ministry of Foreign Affairs (MOFA) and FA efforts
         local officials impeded action against forced labor in the ﬁshing industry,     to continue placing additional personnel in resident FA positions abroad.
         although no such allegations were reported in 2021.                             However, civil society groups continued to urge the FA to position more

 528                                                                                                                                   Haiti AR_001009
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 634 of 729




                                                                                                                                                               TAIWAN
inspectors at all authorized overseas ports, or else to reduce the number     MOL maintained its annual budget for overall victim protection at 10
of ports authorized to receive Taiwan-ﬂagged vessels; train FA inspectors     million NT ($360,920)— an 8 million NT ($288,740) decrease from 2020
to detect labor abuses on board these vessels, including forced labor;        allocated to match the previous year’s total expenditures. NIA allocated
and ensure inspectors have access to interpretation services in languages     13 million NT ($469,200) for operation of two shelters, equaling its 2020
common among the primary seafarer demographics, including Tagalog             earmark; both ministries may have redirected some of these funds to
and Bahasa. Division of responsibility for foreign ﬁshermen between           pandemic-mitigation activities, although official contacts denied having
MOL and the FA continued to hinder the coordination necessary to              done so. NIA operated two shelters dedicated to foreign trafficking
prosecute maritime forced labor cases.                                        victims who had not acquired work visas. Citing security concerns,
                                                                              authorities limited shelter access for victims from the People’s Republic
PROTECTION                                                                    of China (PRC) to NIA shelters, while other nationals could access a wider
Authorities maintained protection efforts, but implementation of              array of NGO shelter services. Taiwanese authorities reported referring
monitoring and referral procedures remained insufficient to adequately        a total of 89 victims to protection services, including 52 sex trafficking
identify and provide services to forced labor victims among the foreign       victims and 37 forced labor victims (compared with 83 total referrals in
crewmembers aboard Taiwan-ﬂagged and -owned and Taiwan- ﬂagged,               2020). Officials separately reported 230 victims received some form of
foreign-owned ﬁshing vessels. Law enforcement authorities used                protection service from government or government-supported NGOs,
standardized questions and evaluation forms when interviewing and             including 174 sex trafficking victims and 56 forced labor victims; it was
referring potential trafficking victims, including among foreigners accused   unclear if the aforementioned 89 were included in this ﬁgure (unreported
of having committed immigration violations. In 2021, they identiﬁed           in 2020). NIA shelters provided both male and female trafficking victims
221 trafficking victims (164 exploited in sex trafficking and 57 in forced    with medical and psychological services, legal counseling, accompanied
labor), compared with 322 identiﬁed in 2020. Authorities attributed           interviews, vocational training, small stipends, language interpretation,
this signiﬁcant decrease in victim identiﬁcation to strict border controls,   and repatriation assistance. According to partial data, authorities offered
reduced law enforcement staffing, and the closure of businesses known         these services to foreign trafficking victims in a total of at least 384
for facilitating commercial sex during the pandemic. Of the 221 victims       instances, including 186 instances of interpretation assistance and 198
identiﬁed, 106 were foreign and 102 were children (compared with 143          instances of accompanied interviewing (compared with 1,162 instances
and 168, respectively, in 2020). Among the 102 children identiﬁed were        of service provision, including 517 cases of interpretation assistance
24 boys and 71 girls identiﬁed in sex trafficking (not disaggregated in       and nine instances of legal aid in 2020). Following reports that the
2020). Twenty-six of the forced labor victims were women and seven            requirement to verbally explain their circumstances to shelter providers
were girls under the age of 18 (compared with at least 48 women               discouraged some foreign victims from accessing protection services,
identiﬁed in forced labor in 2020). The National Police Agency (NPA)          NIA implemented a new policy requiring shelters to record and translate
and National Immigration Agency (NIA) each ran its own hotline— the           written victim testimonials in any of four key languages (Bahasa, Tagalog,
latter in 24-hour operation and offering Mandarin and English language        Thai, and Vietnamese); more than 1,000 shelter residents, many of them
services. Thirty-six calls to the three hotline systems resulted in the       trafficking victims, reportedly beneﬁtted from this service in 2021. NIA
positive identiﬁcation of eight trafficking victims and the initiation of     operated an additional 22 “resettlement institutions,” through which
three investigations during the reporting period (compared with 17            it reportedly provided psychiatric counseling and other consultative
victims identiﬁed from at least 18 calls received and investigated in         services in more than 350 instances during the reporting period.
2020). MOL maintained a separate 24-hour migrant worker hotline,
                                                                              Taiwan implemented a new policy allowing migrant workers to petition
from which the FA reported ﬁelding 51 labor rights-related complaints
                                                                              for work permits and/or residency extensions through a third-party
from migrant ﬁshermen (compared with 75 calls in 2020). Authorities
                                                                              intermediary— a step intended to expand these services for migrant
resolved 22 of these cases and recovered 875,900 NT in wages ($31,610)
                                                                              workers who were unable to administer these processes on their
(compared with 870,000 NT, or $31,400, recovered from 42 resolved
                                                                              own. Authorities reported granting foreign victims 65 temporary
cases in 2020). Unlike the previous year, authorities did not identify any
                                                                              residency extensions and 78 work permits in 2021 (compared with 58
trafficking victims through this hotline. Observers noted crewmembers
                                                                              new temporary residency permits and 69 temporary work permits in
aboard vessels in the DWF likely had difficulties accessing the MOL
                                                                              2020). During pandemic-related travel restrictions, they also granted
hotline due to limited awareness of its existence, lack of cellular service
                                                                              immigration extensions to 78 foreign victims unable to return to their
and internet connectivity in remote maritime areas, and restrictions
                                                                              home countries for them to beneﬁt from shelter services and other new
on their communication imposed by senior vessel crew. Some migrant
                                                                              forms of assistance, including in special private residences provided as a
ﬁshermen previously alleged signiﬁcant lags in hotline response times,
                                                                              public health precaution when shelters were deemed unsafe (unreported
and that hotline staff had relayed complaints directly back to senior
                                                                              in 2020). On a case-by-case basis, authorities also allowed foreign
vessel crew, thereby exposing callers to potential retaliation. Officials
                                                                              victims to extend their prior work and residency permits repeatedly
reportedly continued to be less proactive in identifying victims of forced
                                                                              in six-month increments, rather than deporting them. Eight victims
labor than victims of sex trafficking due to deﬁnitional ambiguities in
                                                                              who received shelter services in 2021 were foreign nationals in Taiwan
the HTPCA. By law, only NIA officials, police, and prosecutors could
                                                                              without work documentation. NIA officials reportedly worked with
formally identify victims, while the law required MOL, the FA, and other
                                                                              shelter organizations to facilitate the repatriation of 10 foreign trafficking
relevant stakeholders to follow notiﬁcation procedures to report possible
                                                                              victims in 2021, including seven victims of sex trafficking and three
victim status. Under this arrangement, prosecutors and judges could
                                                                              victims of forced labor (compared with 17 total in 2020 and 59 in 2019);
also rescind victim designation, thereby restricting survivors’ access to
                                                                              authorities attributed this decrease to pandemic-related travel and
some protection services. NGOs and prosecutors believed many victims
                                                                              entry restrictions. Authorities encouraged victims to participate in their
went undetected under this arrangement; as such, they continued to
                                                                              traffickers’ criminal investigations by conducting video interviews as a
advocate for authorities to allow social workers, labor inspectors, and
                                                                              public health measure during the pandemic, allowing them to provide
other stakeholders to independently identify victims as well. In an effort
                                                                              written statements for trials, and enabling them to testify through video
to address this recommendation, in August 2021 the NIA established
                                                                              equipment. They permitted victims to obtain compensation through
a “Plan for Supporting Investigators during the Identiﬁcation Stage of
                                                                              out-of-court settlements or ﬁle civil suits against traffickers but required
Suspected Human Trafficking Cases” that designated 90 social workers,
                                                                              them to provide all relevant evidence themselves. During the reporting
administrative personnel, and staff from labor rights organizations to
                                                                              period, four foreign survivors ﬁled civil trafficking suits; district courts
assist law enforcement in victim identiﬁcation and case management.
                                                                              concluded two of these cases, awarding a total of 106,000 NT ($3,830)
However, only one such individual provided consultation during the
                                                                              to the victims (compared with four civil suits concluded in favor of
reporting period. NIA also completed a checklist for improved victim
                                                                              plaintiffs with compensation orders totaling more than 7.93 million NT,
identiﬁcation, referral, and law enforcement liaison procedures to beneﬁt
                                                                              or $286,210, in 2020). The other two cases remained in process at the
foreign seafarers on ﬁshing vessels, but authorities had not approved
                                                                              end of the reporting period. According to an NIA survey conducted in
it by the end of the reporting period.
                                                                              a prior reporting period, the most common complaints among foreign
MOL and NIA continued to fund civil society organizations to provide          trafficking victims at the conclusion of their publicly funded protection
protection services to trafficking victims as outlined under the HTPCA.       services involved the quality of legal counseling, the lengthy duration of
                                                                                                                                 Haiti AR_001010               529
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 635 of 729
TAIWAN   judicial proceedings, and general difficulty in obtaining compensation        FA. Civil society groups noted overlapping mandates and procedural
         from their traffickers.                                                       gaps between the MOL and the FA continued to hinder effective
                                                                                       oversight of labor conditions in the ﬁshing industry. The FA maintained
         The FA maintained guidelines on victim identification and law
                                                                                       regulations that standardized ﬁshing workers’ employment contracts, set
         enforcement notiﬁcation procedures for inspections of ﬁshing vessels
                                                                                       a minimum wage with direct payment options, provided medical and life
         operating in both the DWF and in domestic waters; these included
                                                                                       insurance, uniﬁed working hours and rest time, and established access
         updated trafficking indicator questionnaires for migrant ﬁshermen and
                                                                                       to new complaint mechanisms. However, NGOs remained concerned
         senior vessel crew intended to detect cases of debt-based coercion,
                                                                                       the minimum compensation established in these regulations was below
         restricted freedom of movement, wage irregularities, physical abuse,
                                                                                       Taiwan’s broader minimum wage, and senior vessel crew continued
         retention of travel and identity documents, and other such forced labor
                                                                                       to delay or withhold salary remittance in violation of contractual pay
         indicators. They also outlined speciﬁc responsibilities among stakeholder
                                                                                       schedules, leaving some foreign ﬁshing workers vulnerable to debt-
         agencies for the proper detection and referral of potential trafficking
                                                                                       based coercion. Civil society activists called for the elimination of all
         cases to police, MFA, and/or foreign government counterpart agencies,
                                                                                       such worker-paid fees and instead advocated for their imposition on the
         depending on available evidence. According to NGO observers, some
                                                                                       employers of seafarers and land-based migrant workers alike. They also
         migrant ﬁshermen were hesitant to relay their experiences to the FA
                                                                                       described the FA’s purview over Taiwan ﬁshermen’s associations—which
         or coast guard interviewers due to fear of reprisal and concerns over
                                                                                       played a role in the approval of labor recruitment systems—as a possible
         personal safety.
                                                                                       conﬂict of interest. Observers reported insufficient FA staffing and
         Taiwan law provided victims with immunity for unlawful acts traffickers       oversight mechanisms in the DWF were permissive of forced labor and
         compelled them to commit. Authorities reportedly screened individuals         other abuses. In an effort to enhance this oversight, in 2019 authorities
         initially detained for commercial sex acts and positively identiﬁed several   agreed to pursue regulatory “harmonization” with the contents of the
         victims in the process. Unlike the previous reporting period, there were      International Labor Organization’s Work in Fishing Convention (C188);
         no speciﬁc allegations of victim penalization in 2021 (compared with          the regulatory language required standardized working conditions and
         one illustrative case in 2020). However, civil society contacts reported      beneﬁts and raised the minimum wage for DWF and coastal-offshore
         limited or inconsistent understanding of trafficking among front-line         migrant ﬁshermen. However, implementation measures remained under
         law enforcement officers and judges, compounded by high turnover              consideration at the end of the reporting period for a third year. In 2020,
         impacting institutional memory, continued to constrain victims’ access        authorities amended the Regulations on the Approval of Investment
         to protective care while leaving them vulnerable to temporary detention,      in or the Operation of Foreign Flag Fishing Vessels to revoke or deny
         ﬁnes, and jail time. In 2021, authorities cooperated with the Government      licensure to Taiwanese individuals who owned foreign-ﬂagged ﬁshing
         of North Macedonia to repatriate 48 Taiwanese individuals who had been        vessels engaged in forced labor; they did not provide information on
         subjected to forced criminality in telecommunications fraud schemes           the implementation of this amendment for the second consecutive
         there. Authorities did not provide further information on these cases,        year. The FA distributed multilingual cards containing information on
         including as to whether they received adequate protection services.           worker rights and hotline numbers to foreign crewmembers during
         In prior years, Taiwanese law enforcement treated survivors of similar        unannounced inspections of ships docking at certain foreign ports.
         Europe-based forced criminality as both victims and criminals, generating     It did not provide updates to a 2020 pilot program to provide free
         some concern over adherence to victim protection standards.                   satellite-based wireless internet for crew aboard ﬁshing vessels to
                                                                                       facilitate contact with family members and channels for communication
         PREVENTION                                                                    of labor and safety grievances; labor rights groups noted many seafarers
         Authorities increased efforts to prevent trafficking. Taiwan maintained its   were unable to access complaint mechanisms in the absence of this
         “2021-2022 Anti-Exploitation Action Plan” outlining steps to prevent sex      connectivity.
         trafficking and forced labor among key vulnerable groups. A cabinet-level
                                                                                       Notably, during the reporting period the Executive Yuan led an
         minister-without-portfolio continued to implement the national action
                                                                                       interagency process in consultation with civil society groups to draft and
         plan and oversee an interagency working group that met semiannually.
                                                                                       ﬁnalize a Fisheries and Human Rights Action Plan that included provisions
         The working group maintained two subgroups—one to focus on domestic
                                                                                       outlining maximum time at sea; direct payment to crewmembers
         workers and the other on migrant ﬁshermen—that convened meetings
                                                                                       from Taiwan-based entities in order to eliminate predatory third-party
         more frequently and included participation from NGOs and academics.
                                                                                       intermediaries based in sending countries; and closed-circuit television
         Pandemic-related restrictions prevented some central- and local-level
                                                                                       onboard vessels to expand oversight of working conditions. Authorities
         meetings on coordination of prevention efforts. Various agencies
                                                                                       had not yet approved the plan at the end of the reporting period, but
         continued to fund advertisements, public service announcements,
                                                                                       civil society groups commended its contents as a signiﬁcant step toward
         and other materials on trafficking, and held trainings for vulnerable
                                                                                       safeguarding vulnerable seafarers. Additionally, in late 2021 the FA
         populations, including youth, foreign workers, and ﬁshing sector workers.
                                                                                       published for comment a draft amendment to the Regulations on the
         Due to pandemic-related restrictions on public gatherings, authorities
                                                                                       Authorization and Management of Overseas Employment of Foreign Crew
         held many publicly funded anti-trafficking information and education
                                                                                       Members that would require Taiwan-authorized labor agents to work
         campaigns via videoconference.
                                                                                       solely with legally authorized foreign brokers; this remained under review
         The FA continued to conduct unannounced inspections of some DWF               at the close of the reporting period. Authorities required all Taiwan-
         vessels moored in Taiwanese ports, in foreign ports, and on the high          ﬂagged DWF vessels to have an International Maritime Organization
         seas; the violations they detected through this process culminated in a       identiﬁcation number or Lloyd’s Register number to obtain a DWF
         total of 14.84 million NT ($535,600) in ﬁnes (compared with 18 million        operating license, and to log these registration numbers along with their
         NT, or $649,660, in 2020), as well as the three-month annulment of            radio callsigns, vessel names, license numbers, authorized ﬁshing areas,
         operating licenses in two cases. The authorities required vessel owners       and crew lists in a standardized FA database for 24-hour monitoring.
         or brokers to record videos of mandatory discussions informing all            While many civil society observers lauded this as a positive step, they
         foreign crewmembers of their basic rights prior to signing employment         noted these regulations did not apply to Taiwan-owned, foreign-ﬂagged
         contracts; the FA randomly selected an unspeciﬁed number of such              vessels; they also stressed that increasing the transparency of the vessel
         video recordings from 54 brokers during the reporting period to screen        monitoring system—particularly by publishing information on vessel
         for compliance with these required discussions and proof of employee          ownership and operating location—would signiﬁcantly improve anti-
         consent (compared with 82 recordings from 16 brokers in 2020).                trafficking coordination between the authorities and maritime labor
         Authorities reported an 81 percent compliance rate from this audit but        NGOs. The FA continued to sponsor a national university to conduct
         did not provide information on the circumstances of, or consequences          a two-year ﬁeld study on labor rights within the DWF that concluded
         for, the 18 percent of cases in violation (compared with 96 percent           at the end of the reporting period. The Control Yuan also issued three
         compliance in 2020).                                                          reports issuing recommendations to the authorities on improving migrant
         Taiwan’s Labor Standards Act did not protect ﬁshing workers hired to          ﬁshermen’s rights. During strict pandemic-related entry bans in the ﬁrst
         work aboard DWF vessels, who instead fell under the jurisdiction of the       half of 2021, many migrant seafarers were required by law to remain on
                                                                                       their vessels, faced ﬁnes if they attempted to come ashore, or transferred
 530                                                                                                                                Haiti AR_001011
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 636 of 729




                                                                                                                                                            TAIWAN
to employment on other ships through informal arrangements that may            awarded public contracts, or receiving work as a subcontractor on a
have catalyzed additional trafficking vulnerabilities. Civil society groups    public procurement contact for ﬁve years; this amendment remained
expressed public concern that this policy might increase vulnerabilities       under review in the beginning of 2022. Despite Taiwan’s unique
to trafficking among migrant seafarers stranded on ﬁshing vessels in           diplomatic status, it maintained bilateral trafficking memorandums
Taiwanese ports; in response, authorities issued an exemption allowing         of understanding with 22 foreign countries. It also entered into law
DWF crewmembers to come ashore for quarantine, medical care, and               enforcement coordination agreements that included anti-trafficking
transfer to new maritime or land-based employers.                              equities with four new countries in 2021—Belize, Nauru, Poland, and
                                                                               Slovakia. Some bilateral agreements did not outline adequate screening
An online Direct Hiring Service Center (DHSC) allowed employers to
                                                                               for forced labor aboard Taiwan-owned and-ﬂagged or Taiwan- owned,
hire foreign workers without utilizing brokers who may charge illegally
                                                                               foreign-ﬂagged ﬁshing vessels docking at certain designated foreign
excessive fees; nearly 5,000 employees and more than 6,000 employers
                                                                               vessel harbor areas. Authorities made efforts to reduce the demand
reportedly beneﬁted from this service in 2021 (compared with more than
                                                                               for commercial sex acts, including through Tourism Bureau awareness
5,000 and nearly 6,000, respectively, in 2020). In prior years, NGOs
                                                                               campaigns and industry training sessions.
noted the DHSC was not used widely enough to signiﬁcantly reduce
brokerage vulnerability. Most employers continued to deem it easier and
more expedient to use brokers, and labor rights groups continued to
                                                                               TRAFFICKING PROFILE
                                                                               As reported over the last ﬁve years, human traffickers subject foreign men
call on the authorities to eliminate legal loopholes that enable excessive
                                                                               and women to forced labor and sex trafficking in Taiwan, and they subject
fees. Taiwan maintained a broker evaluation system initiated in 2015 that
                                                                               local men and women to forced labor and local women and children
could revoke the business licenses of low-scoring brokerage ﬁrms and
                                                                               to sex trafficking. Traffickers also subject Taiwanese people to forced
impose ﬁnes for certain violations, including imposition of illegal fees. In
                                                                               labor in some European countries. Taiwanese traffickers increasingly
2021, the MOL ﬁned 159 brokers for charging illicit fees, reporting false
                                                                               use the internet, smartphone apps, livestreaming, and other such online
information, failing to safeguard migrant workers’ rights, and operating
                                                                               technologies to conduct recruitment activities, often targeting child
illegal recruitment systems— a signiﬁcant increase from 12 brokers ﬁned in
                                                                               victims, and to mask their identities from law enforcement. Taiwanese
2020. The FA also reported using a similar evaluation system to conduct
                                                                               traffickers also exploit persons with disabilities in sex trafficking.
annual reviews 54 authorized DWF recruitment agencies (compared
with 49 in 2020), of which it suspended three (compared with one               Traffickers lure women from the PRC and Southeast Asian countries to
suspension and one license revocation in 2020). Authorities did not ﬁne        Taiwan through fraudulent marriages and deceptive employment offers
any DWF recruitment agencies in 2021 (compared with three receiving            for purposes of sex trafficking. Many trafficking victims are migrant
ﬁnes of 1 million NT, or $36,090, in 2020; two in 2019; four in 2018; and      workers from Indonesia, the Philippines, Thailand, Vietnam, and, to
six in 2017). Civil society observers continued to express concern the         a lesser extent, individuals from the PRC, Cambodia, and Sri Lanka.
evaluation system could not be sufficiently objective or accurate in           Indonesian, Vietnamese, and Thai nationals continue to represent the
detecting abuses, including forced labor, because the authorities provided     majority of foreign sex trafficking and forced labor victims in Taiwan.
brokers with advance notiﬁcation prior to inspections. Some recruitment        Taiwan is host to nearly 700,000 foreign workers, most of whom
agencies were able to circumvent accountability through this system            are hired in their home countries through recruitment agencies and
by falsifying worker data during self-evaluations, and by voluntarily          brokers—including some from Taiwan—to perform low-skilled work
shutting down their operations and re-opening under a different agency         as home caregivers and domestic workers (34 percent), or in farming,
name and license. Human rights NGOs claimed the system would be                manufacturing, meat processing, construction, and ﬁshing. In order
more effective with unannounced inspections; if the authorities granted        to pay brokers’ often exorbitantly high recruitment fees and deposits,
NGOs a role in the formal approval and licensure review process; and if        some foreign workers incur substantial debts, which the brokers or
the authorities worked in closer concert with counterparts in sending          employers use as tools of coercion to obtain or retain their labor. After
countries to ensure protections inherent to recruitment practices and          recruitment fee and guarantee deposit repayments are garnished from
contract provisions were sufficient. Authorities continued to operate          their wages, many foreign workers in Taiwan earn signiﬁcantly less
international airport service counters and foreign-worker service stations     than the minimum wage. Foreign workers who leave their contracted
around Taiwan to assist foreign workers and educate them on their              positions—more than 55,000 at any given time—are at particularly
rights. MOL maintained regulations to impose ﬁnes between 60,000               high risk of trafficking because they lose their immigration status and
NT and 300,000 NT ($2,170 - $10,830) for employers who illegally               access to formal sector employment; some of them initially ﬂee due
dock migrant workers’ pay; authorities did not report implementing             to abusive work conditions, including forced labor. Domestic workers
this policy for the second consecutive year.                                   and home caregivers are also especially vulnerable to exploitation,
                                                                               since they often live in their employers’ residences, making it difficult
NGOs and official stakeholders continued to stress the need for Taiwan
                                                                               to monitor their working and living conditions. One NGO survey found
to pass a long-stalled domestic worker protection bill that would
                                                                               that 90 percent of all migrant domestic caregivers have their travel and
mandate hours of rest, days off, and annual leave. Amendments to
                                                                               identity documents withheld by their employers, constituting a signiﬁcant
the Employment Services Act that entered into force in 2018 required
                                                                               freedom of movement concern. Brokers in Taiwan sometimes assist
employment agencies to report abuses their clients committed against
                                                                               employers in forcibly deporting “problematic” foreign employees should
migrant workers—especially foreign household caregivers—or face severe
                                                                               they complain, enabling brokers to ﬁll the empty positions with new
ﬁnes. The amendments also banned employers from retaining passports,
                                                                               foreign workers facing continued debt-based coercion. Some traffickers
work permits, or any identity documents of migrant domestic workers
                                                                               use Indonesian-owned stores in Taiwan as illegal remittance channels,
and ﬁshermen without their consent. Civil society groups continued
                                                                               conﬁning Indonesian workers and subjecting them to sex trafficking.
to argue these amendments were insufficient to deter forced labor, as
                                                                               Traffickers reportedly take advantage of relaxed visa requirements under
employers were reportedly easily able to coerce migrant workers into
                                                                               Taiwan’s “New Southbound Policy” to lure Southeast Asian students and
“voluntarily” turning over their identity documentation. Lawmakers
                                                                               tourists to Taiwan and subject them to forced labor and sex trafficking.
reported easing respite care regulations in 2018 to encourage employers
                                                                               According to NGOs, a large number of for-proﬁt universities in Taiwan
to grant workers annual leave, ostensibly mitigating a key freedom
                                                                               aggressively recruit foreign students and subsequently place them
of movement concern for migrant workers employed as household
                                                                               into exploitative labor conditions under the pretense of educational
caregivers. However, NGOs previously claimed these administrative
                                                                               opportunities. These students are often unaware of the work component
changes did little to enhance migrant domestic worker protections in
                                                                               prior to arrival and reportedly experience contract switching, excessive
implementation; instead, they continued to call for an amendment to
                                                                               working hours, and poor living conditions contrary to their original
bring migrant domestic workers under the broader protections and
                                                                               agreements. University students from Sri Lanka and Eswatini who
jurisdictions outlined in Taiwan’s Labor Standards Act, or to adopt and
                                                                               traveled to Taiwan under similarly deceptive circumstances have been
implement new legislation to enhance relevant protections.
                                                                               subjected to coerced labor with extremely harsh working conditions
In 2021, Taiwan added provisions to the draft HTPCA amendment that             in slaughterhouses and meat processing factories.
would prohibit persons or companies convicted of human trafficking
crimes from participating in public procurement processes, being
                                                                                                                               Haiti AR_001012              531
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 637 of 729
TAJIKISTAN   Documented and undocumented PRC, Indonesian, Filipino, and                      in the cotton harvest, children continued to be at risk of forced labor
             Vietnamese ﬁshermen working on Taiwan-owned and -ﬂagged and                     in the harvest.
             Taiwan-owned, foreign-ﬂagged ﬁshing vessels have experienced
             non- or under-payment of wages, long working hours, physical abuse,
                                                                                                     TAJIKISTAN TIER RANKING BY YEAR
             lack of food or medical care, denial of sleep, substandard safety
                                                                                                 1
             equipment, and poor living conditions while indebted to complex,
             multinational brokerage networks through the continued imposition                   2
             of recruitment fees and deposits. Migrant ﬁshermen have reported                  2WL
             senior crewmembers employ such coercive tactics as threats of physical
                                                                                                 3
             violence, beatings, withholding of food and water, retention of identity                   2015      2016     2017        2018   2019   2020   2021   2022
             documents, wage deductions, and non-contractual compulsory sharing
             of vessel operational costs to retain their labor. These abuses are
             particularly prevalent in Taiwan’s DWF, comprising 1,140 Taiwan-owned
             and -ﬂagged ﬁshing vessels, as well as on 230 Taiwan-owned, foreign-            PRIORITIZED RECOMMENDATIONS:
             ﬂagged ﬁshing vessels operating thousands of miles from Taiwan and              Adopt and implement SOPs to identify trafficking victims and refer
             without adequate oversight. According to FA estimates, approximately            them to care and train stakeholders on their use to increase victim
             8,000 Filipinos and more than 20,000 Indonesians work onboard                   identiﬁcation and screening among vulnerable populations, including
             DWF vessels. Senior crew force migrant workers to ﬁsh illegal stock,            adults in commercial sex, migrant workers, children and adults working
             including threatened, endangered, and protected species, placing                in the cotton sector, and rural women working in the informal sector.
             them at higher risk of criminal repercussions. Many ships remain at             • Increase oversight of provincial and local authorities’ seasonal labor
             sea for years at a time, selectively disabling their transponders and           recruitment processes to ensure no adults or children are subjected to
             stopping at “refrigeration mother ships” or remote, uninhabited islands         forced labor in the cotton harvest and hold those in violation criminally
             to resupply, transfer victims to other ships, and offload illegally caught      accountable. • Ensure victims are not penalized for unlawful acts
             ﬁsh while avoiding detection by law enforcement. Vessel owners and              traffickers compel them to commit, including victims of sex trafficking.
             operators take advantage of maritime jurisdictional complexities and            • While respecting due process, vigorously investigate and prosecute
             ambiguities to perpetrate these crimes with relative impunity; they             suspected traffickers, including officials complicit in trafficking, and
             also frequently change their ﬁshing vessel’s names and nationalities            sentence convicted traffickers with signiﬁcant prison terms. • Increase
             of registry to evade detection by law enforcement. Some migrant                 funding and in-kind support to provide comprehensive care to victims
             ﬁshermen subjected to forced labor onboard international ﬁshing                 and expand available protection services for male victims. • Provide
             vessels transit Taiwanese ports, especially Kaohsiung, en route to other        anti-trafficking training or guidance for diplomatic personnel and
             maritime locations. Taiwan’s pandemic-related entry restrictions have           other government employees, including law enforcement officers,
             at times compounded trafficking vulnerabilities for migrant ﬁshermen            border guards, and customs officials, to prevent their engagement in or
             stranded on board vessels beyond the length of their original contracts,        facilitation of trafficking crimes and to increase their capacity to identify
             placing them at risk of being “sold” to other recruitment agencies              and assist victims domestically and abroad. • Develop mechanisms to
             through unregulated channels. Some Taiwan-based labor brokerage                 prevent trafficking of returned migrants and families that depend on
             ﬁrms reportedly supply ﬁshing vessels operating under the auspices              remittances, including by coordinating with international organizations
             of the PRC’s highly vulnerable DWF with migrant workers as well.                and civil society. • Implement a witness protection program and train
             Traffickers in several European countries lure Taiwanese men and                law enforcement and judicial officials on a victim-centered approach
             women with false promises of high-paying employment opportunities               for the treatment of victims and witnesses of trafficking crimes during
             and then subject them to illegal conﬁnement and forced criminality              investigations and court proceedings. • In partnership with international
             in telephone scams. There are reports that the Taiwanese managers               organizations, conduct screening among women and children returned
             of some foreign-based companies in Lesotho subject local workers to             from Iraq, Syria, and Afghanistan for trafficking and child soldiering
             conditions indicative of forced labor.                                          indicators, respectively, and provide them with rehabilitation and
                                                                                             reintegration support. • Improve the collection of anti-trafficking law
                                                                                             enforcement data and statistics on labor migration trends. • Increase
                                                                                             awareness of pre-departure and post-return support services available
              TAJIKISTAN: TIER 2                                                             to Tajikistani migrant workers. • Monitor private employment agencies
                                                                                             for recruitment fees charged to workers and take steps to eliminate
                                                                                             employee-paid fees.
             The Government of Tajikistan does not fully meet the minimum standards
             for the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                                             PROSECUTION
             The government demonstrated overall increasing efforts compared with
                                                                                             The government decreased anti-trafficking law enforcement efforts.
             the previous reporting period, considering the impact of the COVID-19
                                                                                             Article 130.1 and Article 167 of the criminal code criminalized labor
             pandemic, if any, on its anti-trafficking capacity; therefore Tajikistan
                                                                                             trafficking and sex trafficking and prescribed penalties of ﬁve to eight
             remained on Tier 2. These efforts included increasing investigations
                                                                                             years’ imprisonment, which were sufficiently stringent and, with regard
             of trafficking cases and funding for Tajikistan’s trafficking shelter. The      to sex trafficking, commensurate with penalties prescribed for other
             government also adopted a new National Action Plan (NAP) 2022-2024,             serious crimes, such as rape. Article 167 deﬁned child trafficking broadly
             which was drafted and ﬁnalized with participation from civil society            to include illegal adoption without the purpose of exploitation; as such,
             and international organizations. However, the government did not                it was difficult to ascertain how many cases investigated, prosecuted,
             meet the minimum standards in several key areas. The government                 and convicted under Article 167 featured elements consistent with the
             did not report convicting any traffickers. For the fourth consecutive           standard deﬁnition of trafficking.
             year, the government did not adopt standard operating procedures
             (SOPs) for victim identiﬁcation and referral to care, contributing to           The government investigated 22 trafficking cases involving 25 suspected
             inadequate victim identiﬁcation efforts and potential penalization of           perpetrators in 2021, compared with 10 cases involving 21 suspected
             sex trafficking victims due to the lack of screening by law enforcement.        traffickers in 2020. The government prosecuted 14 trafficking cases in
                                                                                             2021, the same number as were prosecuted in 2020. The government
             Despite allegations of possible official complicity in some localities,
                                                                                             did not report any convictions during the reporting period, a signiﬁcant
             including forced labor by local officials in the cotton harvest, the
                                                                                             decrease from 26 convictions in 2020. Even though law enforcement
             government did not report any criminal investigations, prosecutions,
                                                                                             had specialized trafficking in persons units, observers reported law
             or convictions of government officials complicit in human trafficking
                                                                                             enforcement did not prioritize trafficking investigations due to other
             crimes. Authorities continued to mobilize citizens for public works,
                                                                                             competing priorities.
             including in agriculture and beautiﬁcation projects, and although the
             government has, in previous years, publicized the ban on child labor
  532                                                                                                                                           Haiti AR_001013
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 638 of 729




                                                                                                                                                               TAJIKISTAN
The government did not report any investigations, prosecutions, or              for the shelter’s operating costs, medical assistance for victims, legal
convictions of government employees complicit in human trafficking              consultations, and partial funding of staff salaries in 2021, an increase
crimes; however, corruption and official complicity remained signiﬁcant         compared with 253,670 somoni ($22,490) in 2020. Additionally, the
concerns, inhibiting law enforcement action during the year. The                government allocated 187,900 somoni ($16,660) to an NGO to provide
government banned the practice of mobilizing schoolchildren and                 social assistance, including healthcare, psychological, and legal assistance
students for the cotton harvest several years ago; however, students were       to victims of TIP and domestic abuse, as well as vulnerable labor migrants.
taken to the ﬁelds under the guise of Hashar (collective community work)        The shelter assisted one victim of trafficking in 2021, compared with
or to help farmers. Observers reported a group of children were taken to        28 victims in 2020—the country relied heavily on an international
Mehnatobod village to pick cotton at the request of police and teachers         organization to provide assistance to victims. The government reported
on a ﬁeld that allegedly belonged to a high-ranking law enforcement             that facilities are available for both men and women. Neither the
officer; a 15-year-old child died after falling from a tractor, and the         government nor NGOs provided residential shelter services outside
government did not report opening an investigation. The government              of Dushanbe, and there were no options for long-term victim support.
reportedly mobilized some citizens to perform public works, such as             Insufficient personnel and ﬁnancial resources reportedly constrained
cleaning roads and park maintenance, as part of subotnik (a Soviet era          delivery of psycho-social care and funding for victim reintegration
tradition in which individuals “volunteer” to help the community). Private      services, respectively. An NGO ran a shelter in Dushanbe that provided
companies have reportedly used subotnik to get their employees to work          support to victims of crimes, including trafficking; the NGO reported that
overtime without pay. Some state employees may have been subjected              34 women and 36 children lived in the shelter in 2021. The NGO offered
to forced labor as part of provincial authorities’ efforts to increase          women courses in job skills and education skills in different trades. The
participation in the annual cotton harvest, although no information was         government funded several NGO-run shelters for of victims of domestic
available on compensation, recruitment methods, or consequences for             violence, which could also assist trafficking victims. Observers reported
inability or unwillingness to participate. Authorities opened a criminal        there continued to be a lack of sufficient funding for victim services.
case into a senior military official in the previous reporting period for       Some female sex trafficking victims were reluctant to seek protection
exacting bribes in exchange for exempting an individual from mandatory          services due to social norms that stigmatized female victims of sexual
military service—an arrangement under which failure to pay has often            exploitation.
resulted in kidnapping and forcible conscription; the case remained
                                                                                Despite provisions in the 2014 law outlining security measures for
pending at the end of the reporting period. The Ministry of Internal Affairs
                                                                                trafficking victims, the government did not keep victims’ personal
(MIA) continued to conduct training on human trafficking for cadets as
                                                                                information conﬁdential or provide protection for victim witnesses
part of its training academy curriculum. State university law students
                                                                                or their advocates. Foreign victims who agreed to cooperate with
received training on trafficking legislation and investigative techniques
                                                                                law enforcement agencies had the legal right to request temporary
as part of a government-mandated curriculum. The government also
                                                                                residency, subject to a one-year extension upon completion of criminal
cooperated with an international organization to train judicial officials
                                                                                proceedings; no such cases were reported in 2021, 2020, or 2019. Beyond
on methods for successfully prosecuting trafficking cases in criminal
                                                                                residency, the 2014 victim protection law did not link other beneﬁts to
courts. Tajikistan maintained a joint law enforcement agreement with
                                                                                victims’ participation in trials, and protection services were available
the Commonwealth of Independent States that included anti-trafficking
                                                                                regardless of legal status or prior consent to participate in subsequently
provisions, but authorities did not report information on whether the
                                                                                identiﬁed trafficking crimes. Victims must appear in person with the
agreement was implemented in 2021.
                                                                                trafficker during court proceedings.
PROTECTION                                                                      In February 2021, the government announced plans to repatriate
The government maintained inadequate protection efforts. Authorities            hundreds of Tajikistani women and children from camps in Syria, some
identiﬁed 15 victims and referred them all to an international organization     of whom may have been trafficking victims, in continuation of a 2019
for protection services, compared with 24 trafficking victims identiﬁed         process that was subsequently suspended in 2020 as a pandemic
and 15 referred during the previous reporting period. Of the 15 identiﬁed       mitigation measure. However, the government did not report if it
victims, at least four were Tajikistani citizens exploited in sex trafficking   had initiated any of these repatriations at the close of the reporting
abroad. Tajikistan continued to operate under a National Referral               period. According to media reports, Tajikistani courts have sentenced
Mechanism (NRM) that included formal written procedures outlining               at least ﬁve women repatriated from conﬂict zones to prison terms on
screening, referral, and assistance protocols, but these were generally         terrorism charges—the women claimed they had been deceived by
insufficient to guide interagency anti-trafficking work. In 2018, the           their husbands to travel to Iraq, Syria, and Afghanistan; it is unknown
government established a working group to append the NRM with SOPs              if the women were screened for trafficking indicators. The government
for victim identiﬁcation; for the fourth consecutive year, authorities did      estimates that approximately 575 women and children currently reside
not take action to adopt these guidelines. Article 30 of the trafficking        in the Syrian Al-Hawl and Al-Roj refugee camps. Approximately 10,000
law mandated the creation of governmental and private institutions to           Afghan refugees have entered Tajikistan, and refugee camps have been
directly aid victims with food and shelter, in addition to social, legal,       established with foreign donor support. An NGO noted thousands of
and reintegration assistance; despite these provisions, an international        Afghan refugees in Tajikistan faced difficulties securing refugee status,
organization continued to fund most victim protection services. A               increasing vulnerabilities to trafficking.
2014 victim protection law ostensibly formalized the roles of agencies          Due to a lack of formal identiﬁcation procedures, authorities may
tasked with providing services and established standards for service            have detained some unidentiﬁed trafficking victims for unlawful acts
delivery among government and NGO providers. However, absent                    traffickers forced them to commit. Officials sometimes temporarily
standardized and promulgated victim identiﬁcation procedures, roles and         detained sex trafficking victims with their traffickers but later released
responsibilities among key stakeholder ministries remained unclear. In          and referred them to protective care. In previous years, law enforcement
practice, observers have noted official victim status designation required      officials routinely deported foreign migrant workers without adequate
a complex application procedure that may have prevented some victims            screening for potential trafficking indicators. Law enforcement officers
from accessing care. The government’s Trafficking in Persons Center             did not attempt to identify sex trafficking victims proactively during
continued to train law enforcement and other government employees               law enforcement operations on businesses suspected of engaging in
on screening for trafficking indicators, and some government officials          commercial sex nor within sectors known for forced labor. Observers
beneﬁted from additional training sessions on victim support provided           reported several cases involving sex trafficking of children in nightclubs
by an international organization. Gaps remained in the implementation           and private homes. Tajikistan has reportedly detained and deported
of victim protection law; Tajikistani law enforcement agencies did not          Uyghurs to the People’s Republic of China (PRC), where they could
develop procedures to grant legal status to victims, forcing some               face retribution or hardship. In September 2021, the government signed
victims to pay for legal and medical services otherwise provided by             a memorandum of understanding on labor migration with Russia and
the government.                                                                 agreed to establish offices in Dushanbe and other regions of Tajikistan.
The Ministry of Health operated the country’s only dedicated trafficking
shelter. The government provided 600,000 Tajikistani somoni ($53,190)
                                                                                                                                  Haiti AR_001014              533
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 639 of 729
TAJIKISTAN
             PREVENTION                                                                       TRAFFICKING PROFILE
             The government slightly increased efforts to prevent trafficking. The            As reported over the past ﬁve years, human traffickers exploit victims
             2014 law outlined a framework for the government to address human                from Tajikistan abroad and, to a lesser extent, traffickers exploit domestic
             trafficking and established a national anti-trafficking commission tasked        and foreign victims within Tajikistan. Extensive economic migration
             with coordinating the government’s anti-trafficking efforts. On February         exposes Tajikistani men, women, and children to the risk of human
             2022, the government adopted the NAP for Combatting Trafficking in               trafficking. Labor traffickers exploit Tajikistani men and women in
             Persons 2022-2024; the NAP was drafted and ﬁnalized with participation           agriculture and construction primarily in Russia, UAE, Kazakhstan, and
             from state agencies, representatives from civil society, and international       Saudi Arabia, as well as in other neighboring Central Asian countries,
             organizations. The government operated a 24-hour hotline for potential           Turkey, and Afghanistan. Labor traffickers exploit men in agriculture,
             victims but did not provide information on how many calls led to the             construction, and at markets in Tajikistan; there are limited reports
             identiﬁcation of trafficking cases in 2021, for a second consecutive year.       of domestic sex trafficking of men. According to an international
             The Ministry of Labor launched a hotline for Tajikistani migrant workers         organization, a large number of domestic trafficking cases involved
             in Russia to provide legal and employment assistance, among other                women and girls in sex trafficking or domestic servitude. Sex traffickers
             services. The government collaborated, including by providing in-kind            exploit women and children from Tajikistan most commonly in Turkey,
             support, with civil society for awareness-raising activities. Observers          UAE, and Russia; also in Saudi Arabia, Kazakhstan, Georgia, India, and
             reported there is a limited awareness of sex trafficking among the               Afghanistan; and within Tajikistan.
             general public.
                                                                                              More than one million Tajikistanis seek employment annually in Russia.
             Unlike in previous years, authorities did not report whether the Ministry        Between January and September 2021, the Russian government
             of Education disseminated letters to local governments highlighting              registered more than two million Tajikistani citizens entering the country,
             prohibitions against the use of child labor in the annual cotton harvest.        including 1.6 million for work. According to international organizations,
             These prior government-funded campaigns targeted potential victims,              Tajikistanis in Russia are primarily employed in construction, agriculture,
             local officials responsible for preventing trafficking, and school authorities   industry, domestic work, and transport; thousands of men, women, and
             who had previously mobilized children in the cotton harvest. MIA officials       children among them are vulnerable to forced labor. Women traveling
             instructed local authorities to report incidents of forced or child labor,       with their husbands abroad for this work are also reportedly at elevated
             but no such reports were issued in 2021. It was unclear if the government        risk of sex trafficking and other forms of exploitation. The current
             assigned inspectors to conduct monitoring for child labor in the cotton          economic crisis in Russia has pushed many Tajikistani migrants to return
             harvest in continuation of a practice begun in 2010. During previous             to Tajikistan due to job losses and the devaluation of the ruble—2.5
             harvests, NGOs independently monitored the ﬁelds on an informal basis            times more migrants returned in the ﬁrst quarter of 2022 compared
             for forced labor concerns; no information was available on the extent to         with the same period in 2021. The value of the remittances sent by
             which this monitoring took place. The Ministry of Labor (MOL) previously         Tajikistani migrants to their families has decreased, leaving families
             invited an international organization to conduct independent inspections         vulnerable to trafficking. Tajikistani migrant workers in Russia work in
             during the cotton harvest season, but these inspections did not occur            industries that were immediately affected by the economic contraction,
             due to insufficient funding; the government did not report whether               leaving them vulnerable to trafficking in Russia. Some men among the
             any independent inspections occurred during the reporting period.                approximately 2,000 Tajikistanis who have traveled to Syria, Iraq, and
             Observers reported lack of sufficient staff, frequent use of inspection          Afghanistan to ﬁght alongside or seek employment within armed groups
             moratoriums, and low ﬁnes made it difficult to ensure compliance with            are subsequently subjected to forced labor in cooking, cleaning, and
             Tajikistan’s labor laws. According to authorities, 60 qualiﬁed inspectors        portering. Tajikistani women and children traveling with these men, at
             have authority to carry out 2,000 inspections annually throughout the            times under deception, are also vulnerable to sex trafficking and forced
             country and 50 percent are in Dushanbe.                                          labor on arrival; some are reportedly placed alongside other Central Asian
                                                                                              family members in makeshift camp communities, where their travel and
             Entities engaged in the recruitment of workers for employment abroad
                                                                                              identity documentation is conﬁscated and their freedom of movement
             were legally required to obtain licenses from migration authorities,
                                                                                              is restricted. Many of these women report having lost their husbands to
             and the law established punitive measures for violations; however,
                                                                                              armed conﬂict, after which their economic hardships and conﬁnement
             Tajikistan did not monitor for the imposition of worker-paid recruitment
                                                                                              in the camps make them vulnerable to coercive local marriages that
             fees. The government did not report initiating investigations into labor
                                                                                              may feature corollary sex trafficking or forced labor indicators. Some
             recruitment ﬁrms suspected of trafficking, nor did it provide information
                                                                                              women who have traveled to Syria or Iraq with promises of marriage
             on the status or outcomes of four such investigations initiated in 2019.
                                                                                              have instead been sold into sexual slavery. Some children of Tajikistani
             The MOL maintained four pre-departure counseling centers in different
                                                                                              ISIS combatants in Iraq and Syria are reportedly trained for deployment
             regions of the country that provided migrants with information on the
                                                                                              in combatant roles. Traffickers transport Tajikistani women and girls to
             risk of trafficking prior to travel abroad. However, observers noted
                                                                                              Afghanistan and force them into marriages that feature elements of sex
             that incomplete and disparate data collection on migration among key
                                                                                              trafficking and forced domestic service, including through debt-based
             stakeholder agencies, poor interagency coordination, and deﬁcient
                                                                                              coercion. Traffickers exploit Tajikistani children in sex trafficking and
             cooperation with destination country counterpart entities continued
                                                                                              forced labor, including forced begging, in Tajikistan and Afghanistan.
             to constrain effective prevention measures among vulnerable labor
             migrants. A survey conducted by a civil society organization found               Experts have pointed to the signiﬁcant gaps in social protections that
             only 10 percent of Tajikistani migrant workers were aware of support             put rural women at a higher risk of trafficking in Tajikistan; they face
             services available to them. In previous years, the pre-departure centers         discrimination and limited access to education and employment—the
             sought to assist migrant workers in diversifying geographical options            majority of rural women work in the informal sector. Widows of male
             for work abroad; it was unclear if this work continued. The government           migrants, divorced women, and the families of migrant workers remaining
             continued to support returning migrants, including those banned from re-         in Tajikistan are also at a higher risk of trafficking. Children separated
             entering Russia—the returning migrants were provided with employment             from their families due to international and domestic migrations are at
             assistance, vocational training, ﬁnancial services, and paid public works.       increasingly high risk of sex trafficking. Thousands of Tajikistani migrant
             Authorities at times were reportedly uncooperative with foreign donor            workers were banned from re-entering Russia as a result of alleged
             organizations implementing programs to prevent trafficking among                 immigration violations; these individuals are vulnerable to trafficking
             vulnerable migrant populations. Tajikistan maintained international              due to unemployment and economic hardships.
             labor agreements with Qatar and the United Arab Emirates (UAE). The
                                                                                              Tajikistani children and adults may have been subjected to forced labor in
             government did not report anti-trafficking training for its diplomatic
                                                                                              agriculture, mainly during Tajikistan’s fall cotton harvest, and in dried fruit
             personnel. The government did not provide anti-trafficking training to
                                                                                              production. Some boys, particularly from economically disadvantaged
             its troops prior to their deployment as peacekeepers. The government
                                                                                              rural communities, are vulnerable to kidnapping by government personnel
             made no efforts to reduce the demand for commercial sex acts.
                                                                                              for the purpose of forcible conscription into military service as part of
                                                                                              annual “oblava” recruitment sweeps. The government reportedly subjects

  534                                                                                                                                        Haiti AR_001015
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 640 of 729




                                                                                                                                                                TANZANIA
some citizens to participate in manual labor, such as cleaning roads and         including individuals involved in commercial sex, refugees, and foreign
park maintenance. Tajikistani nationals employed by PRC companies                workers from Cuba and North Korea, and refer all trafficking victims to
engaged in local construction projects experience wage irregularities,           appropriate services. • Implement a systemic victim-witness program
threats of termination, and other labor rights violations that may be            to increase protective services for victims participating in the criminal
indicative of forced labor. Some Afghan and Bangladeshi citizens are             justice process and prevent re-traumatization.• Allocate increased
victims of forced labor in Tajikistan, including in the construction industry.   ﬁnancial and personnel resources for the Anti-Trafficking Committee
Tajikistani nationals may be vulnerable to forced labor in illegal artisanal     and Anti-Trafficking Secretariat to execute its mandate fully, including
coal mines located near formalized commercial mining operations. In              to expand the provision of services for victims in partnership with NGOs.
past years, police have at times used a punitive registry containing the         • In Zanzibar, adopt the 2008 anti-trafficking law. • Provide adequate
names of LGBTQI+ individuals to blackmail some members of these                  funding and resources to implement the 2021-2024 NAP. • Implement
communities into sex trafficking and forced informant roles. LGBTQI+             and consistently enforce strong regulations and oversight of labor
individuals are vulnerable to trafficking amid widespread discrimination         recruitment companies, including training labor inspectors to identify
that often jeopardizes their employment status or prospects in the               and report trafficking crimes and holding fraudulent labor recruiters
formal sector and complicates their access to justice. Widespread social         criminally accountable. • Develop and implement a comprehensive and
stigma and discrimination against LGBTQI+ individuals also compound              centralized database on trafficking that allows for the disaggregation of
their vulnerability to family-brokered forced marriages that may feature         data, including the demographics of victims and type of exploitation.
corollary sex trafficking or forced labor indicators.
                                                                                 PROSECUTION
                                                                                 The government increased anti-trafficking law enforcement efforts.
                                                                                 The 2008 Anti-Trafficking in Persons Act criminalized sex trafficking
 TANZANIA: TIER 2                                                                and labor trafficking and prescribed punishments of two to 10 years’
                                                                                 imprisonment, a ﬁne between 5 million and 100 million Tanzania shilling
                                                                                 (TZS) ($2,170 to $43,440), or both for offenses involving adult victims,
The Government of Tanzania does not fully meet the minimum standards
                                                                                 and 10 to 20 years’ imprisonment, a ﬁne between 5 million and 150
for the elimination of trafficking but is making signiﬁcant efforts to do so.
                                                                                 million TZS ($2,170 to $65,160), or both for those involving child victims.
The government demonstrated overall increasing efforts compared with
                                                                                 These penalties were sufficiently stringent, but, with regard to sex
the previous reporting period, considering the impact of the COVID-19
                                                                                 trafficking, by allowing a ﬁne in lieu of imprisonment, the penalties were
pandemic, if any, on its anti-trafficking capacity; therefore Tanzania was
                                                                                 not commensurate with those for other serious crimes, such as rape.
upgraded to Tier 2. These efforts included investigating signiﬁcantly
                                                                                 During the reporting period, the government enacted amendments to
more trafficking cases, convicting more traffickers, and identifying
                                                                                 the 2008 anti-trafficking law. The amendments criminalized attempted
more trafficking victims. The government officially established and
                                                                                 trafficking and required some trafficking cases to be tried in the High
allocated funds to an expenditure account for the Anti-Trafficking Fund
                                                                                 Court. The 2008 anti-trafficking law contained a separate procedural
and provided more funding for anti-trafficking programs led by the
                                                                                 provision that required police to obtain a warrant before making a
Anti-Trafficking Secretariat (ATS). The government, in partnership with
                                                                                 trafficking-related arrest; this provision created a higher threshold for
international organizations, provided more training to law enforcement
                                                                                 law enforcement that does not exist for other similarly serious crimes,
officials on victim-centered investigation practices and ﬁnalized the
                                                                                 which may hinder prosecution efforts. The government reportedly
2021-2024 anti-trafficking national action plan (NAP). However, the
                                                                                 drafted an amendment to the 2008 anti-trafficking act to remove the
government did not meet the minimum standards in several key areas.
                                                                                 option of a ﬁne in lieu of imprisonment; however, the amendment had
Although the government convicted more traffickers during the reporting
                                                                                 not been sent to Parliament at the end of the reporting period.
period, the lenient sentencing for the majority of convicted traffickers
and the failure to sentence many convicted traffickers consistent with the       The government did not maintain a centralized law enforcement data
2008 anti-trafficking law weakened deterrence and did not adequately             system on trafficking crimes, hindering the government’s ability to
address the nature of the crimes. Due to inconsistent use of formal              disaggregate national human trafficking statistics. The government
identiﬁcation procedures and limited protection services, authorities            investigated 113 trafficking cases, a signiﬁcant increase compared with
reportedly deported, detained, and arrested potential trafficking victims,       19 investigations during the previous reporting period. The government
including children, for alleged prostitution or immigration violations           initiated seven prosecutions involving 18 alleged traffickers under
without screening for trafficking indicators. Government efforts to              the 2008 anti-trafficking law, compared with 18 alleged traffickers
protect Tanzanian trafficking victims abroad, particularly migrant               prosecuted in the previous reporting period. The government convicted
workers, remained minimal, and the government did not report any                 13 traffickers, compared with three convictions in the prior year. Of the 13
efforts to hold fraudulent recruitment agencies criminally accountable           convictions, courts sentenced one trafficker to one year imprisonment;
for facilitating trafficking crimes.                                             one trafficker to two years’ imprisonment or a 5 million TZS ($2,170)
                                                                                 ﬁne; ten traffickers to two years imprisonment or a 500,000 TZS
                                                                                 ($220) ﬁne; and one trafficker to one year imprisonment or a 500,000
        TANZANIA TIER RANKING BY YEAR
                                                                                 TZS ($220) ﬁne. The failure to sentence many convicted traffickers
    1
                                                                                 consistent with the 2008 anti-trafficking weakened deterrence, may
    2                                                                            have undercut broader efforts to hold traffickers accountable, and did
 2WL                                                                             not adequately address the nature of the crime. Courts dismissed or
                                                                                 withdrew three cases due to inability to gather sufficient evidence,
    3
          2015      2016      2017      2018   2019   2020    2021     2022      and one case remained pending at the end of the reporting period.
                                                                                 Officials did not disaggregate data to distinguish between sex and labor
                                                                                 trafficking cases. In some cases, families or village elders continued to
                                                                                 settle many criminal allegations, possibly including sex trafficking and
PRIORITIZED RECOMMENDATIONS:                                                     child domestic servitude, informally through traditional means without
Amend the 2008 anti-trafficking law to remove sentencing provisions that         recourse to the formal criminal justice system.
allow ﬁnes in lieu of imprisonment and align the procedural law pertaining       The government did not report any investigations, prosecutions, or
to trafficking-related arrests within the act with the requirements              convictions of government employees complicit in human trafficking
for other serious crimes. • While respecting due process of law and              crimes; however, corruption and official complicity in trafficking crimes
human rights, increase efforts to investigate and prosecute trafficking          remained signiﬁcant concerns, inhibiting law enforcement action during
offenders, including complicit officials, and seek signiﬁcant prison terms       the year. The government did not provide updates on investigations into
for convicted traffickers. • Using the established standard operating            ﬁve police officers for complicity in human trafficking initiated during the
procedures, systematically and proactively identify trafficking victims          previous reporting period. Although not explicitly reported as human
by screening for trafficking indicators among vulnerable populations,            trafficking, the UN reported there were two new allegations submitted
                                                                                                                                   Haiti AR_001016              535
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 641 of 729
TANZANIA
           in 2021 of alleged sexual exploitation with trafficking indicators by         Due to the inconsistent use of formal identiﬁcation SOPs, authorities
           Tanzanian peacekeepers deployed to the UN peacekeeping mission in             reportedly deported, detained, and arrested potential trafficking victims,
           the Democratic Republic of the Congo (MONUSCO). UN investigations             including children, for alleged prostitution or immigration violations
           into both allegations were pending at the end of the reporting period,        without screening for trafficking indicators. Additionally, given the
           and the government had not yet reported accountability actions taken,         limited availability of protection services, the government sometimes
           if any. Investigations and accountability actions also remained pending       held potential victims in detention facilities for extended periods of
           for similar allegations reported in previous years, including two in 2020,    time, often alongside traffickers; authorities did not always separate
           one in 2019, and two in 2018.                                                 children from adults. The 2008 anti-trafficking law required authorities
                                                                                         to consider legal alternatives for foreign trafficking victims who believed
           The government, both independently and in partnership with
                                                                                         they may face hardship or retribution if returned to their country of
           international organizations, trained law enforcement officials, immigration
                                                                                         origin, but the government did not report providing this protection to
           officials, social welfare officers, and magistrates on trafficking trends
                                                                                         victims during the reporting period. The government allowed foreign
           and vulnerabilities, victim-centered investigations and prosecutions,
                                                                                         victims the same access to services, such as counseling, medical care,
           and victim identiﬁcation. Despite these trainings, observers reported
                                                                                         and training, as domestic victims and facilitated travel documents for
           officials’ limited understanding of trafficking hampered law enforcement
                                                                                         repatriation and family reuniﬁcation. In 2021, the government partnered
           efforts and led to some potential trafficking crimes being misidentiﬁed
                                                                                         with an international organization and local NGOs to repatriate Tanzanian
           and prosecuted as migrant smuggling or kidnapping. The government
                                                                                         trafficking victims exploited in Iraq and Kenya; the government also
           continued to collaborate with the Government of Botswana to arrange
                                                                                         collaborated with the Government of Burundi to repatriate Burundian
           for three Tanzanian witnesses to testify against an alleged Tanzanian
                                                                                         victims exploited in Tanzania. Victims typically testiﬁed in trafficking
           trafficker in a child trafficking case in Botswana; courts convicted the
                                                                                         cases, but the Whistle Blowers and Witness Protection Act of 2015
           trafficker in December 2021.
                                                                                         and the 2008 anti-trafficking law allowed any crime victim, including
                                                                                         trafficking victims, the option to refuse to participate in prosecution
           PROTECTION
                                                                                         efforts. Victims could testify during trial in private sessions or via video
           The government slightly increased protection efforts. Due to the lack
                                                                                         testimony. The government did not provide witness protection to victims
           of coordinated data collection at the national level, the government did
                                                                                         during criminal proceedings, deterring some victims from testifying
           not report comprehensive data and only provided data representative
                                                                                         in court. The anti-trafficking law entitled victims to restitution from
           of shelters that have a formal memorandum of understanding (MOU)
                                                                                         convicted traffickers; however, the government did not report awarding
           with ATS. The government identiﬁed 185 potential trafficking victims,
                                                                                         restitution during the reporting period.
           compared with 165 victims during the previous reporting period. Of the
           185 identiﬁed victims, 166 were female, 19 were male, 29 were adults,
           and 156 were children; this compared with 143 female, 22 male, 28
                                                                                         PREVENTION
                                                                                         The government maintained efforts to prevent trafficking. ATS, the
           adults, and 132 children identiﬁed in the previous reporting period. The
                                                                                         government’s national coordinating task force composed of working-
           government did not provide disaggregated data on victim nationality
                                                                                         level officials, continued to lead anti-trafficking efforts. The Anti-
           or type of trafficking. The government coordinated information sharing
                                                                                         Trafficking Committee (ATC), composed of 19 senior-level representatives
           between ATS and the Department of Social Welfare; social welfare
                                                                                         from various government agencies, maintained oversight over ATS;
           officers often worked closely with police and designated “gender
                                                                                         however, ATC’s efforts were limited during the reporting period. The
           desk officers” to identify and refer victims to assistance. Although the
                                                                                         law mandated ATC to meet quarterly; however, ATC met only once in
           government maintained formal standard operating procedures (SOPs)
                                                                                         2021, the same number of meetings as the previous year. For the second
           to guide officials in the proactive identiﬁcation of victims and their
                                                                                         consecutive year, the government provided an increased allocation for
           subsequent referral to care, relevant officials did not consistently use
                                                                                         anti-trafficking programs led by ATS; the 2021 federal budget provided
           these SOPs, and few officials were trained to do so; in practice, officials
                                                                                         150 million TZS ($65,160) to ATS, compared with 120.3 million TZS
           routinely bypassed written SOPs and directly contacted NGOs to provide
                                                                                         ($52,260) in 2020. Despite the increase in funding, observers reported
           victim assistance. In May 2021, in collaboration with the Director of
                                                                                         the change was insufficient for ATS to undertake all of its planned anti-
           Refugee Services, ATS conducted trafficking screening in the Nduta and
                                                                                         trafficking activities, and the need for increased personnel and ﬁnancial
           Nyarugusu refugee camps; however, the government did not provide
                                                                                         resources remained. The government, in partnership with international
           information on the number of victims identiﬁed during these speciﬁc
                                                                                         organizations and local civil society, ﬁnalized the 2021-2024 NAP in March
           screenings, nor did it proactively screen vulnerable populations in
                                                                                         2022. ATS, in partnership with international organizations and local civil
           refugee camps throughout the year.
                                                                                         society, held awareness campaigns throughout the country targeting
           The government continued to rely on government-vetted NGOs to                 religious leaders, law enforcement officials, social welfare officers,
           provide the vast majority of victim services, and some NGOs continued to      teachers, journalists, and community leaders to discuss trafficking
           provide services to victims without government support. The government        trends and potential vulnerabilities in communities. The government
           reported referring all 185 identiﬁed victims to NGO-operated shelter          continued to fund and publicize a national hotline operated by a local
           services; the Department of Social Welfare (DSW) reported directly            NGO to report child abuse, including child trafficking. The hotline
           providing medical assistance and psycho-social counseling to victims in       identiﬁed and referred to the Department of Social Welfare 16 cases of
           addition to referring them to NGO-provided services. The government           child trafficking in 2021, compared with 35 cases in 2020.
           did not operate any trafficking-speciﬁc shelters; however, ATS maintained
                                                                                         The Ministry of Labor performed periodic inspections of large employers;
           MOUs with eight NGO-operated shelters that could provide shelter,
                                                                                         however, the government did not report identifying any cases of potential
           medical assistance, psycho-social counseling, and family tracing to
                                                                                         trafficking during these inspections or if it had inspectors trained to
           trafficking victims. Some NGO shelters for children provided access to
                                                                                         do so. The Companies Act of 2002 required recruitment agencies to
           government schools, vocational training, and separate accommodations
                                                                                         be registered and licensed, and the government required recruitment
           for boys and girls. While most NGO shelters were dedicated to children,
                                                                                         agencies to provide migrant workers with training on worker rights and
           female adult trafficking victims could seek assistance at a shelter
                                                                                         destination countries’ laws prior to departure. Tanzanian embassies
           dedicated to young girls; however, there were no shelters available
                                                                                         abroad continued to require employers to submit security deposits to the
           for adult male trafficking victims. In 2021, the government opened
                                                                                         embassy to ensure the employer would register the migrant worker upon
           an expenditure account for the Anti-Trafficking Fund, as required by
                                                                                         arrival, so the embassy could verify the worker arrived and possessed
           the 2008 anti-trafficking law and approved by the Ministry of Finance
                                                                                         the proper documentation, including contract and passport. Despite
           and Planning in 2020, to provide assistance to trafficking victims. The
                                                                                         these requirements, the government continued to report recruitment
           government allocated 3 million TZS ($1,300) to set up the fund; however,
                                                                                         agencies often did not provide pre-departure training to migrant
           the government did not disperse funds to assist victims by the end of
                                                                                         workers, and an NGO previously reported the small deposit amount
           the reporting period.
                                                                                         was an insufficient incentive for employers to present migrant workers
                                                                                         upon arrival to the Tanzanian embassy. The government cooperated

 536                                                                                                                                  Haiti AR_001017
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 642 of 729




                                                                                                                                                             THAILAND
with a foreign donor to provide Tanzanian troops with anti-trafficking         Tanzania hosts more than 240,000 refugees and asylum-seekers from
training prior to their deployment abroad on international peacekeeping        Burundi and the Democratic Republic of the Congo, a population
missions. The government did not make efforts to reduce the demand             vulnerable to trafficking due to economic insecurity and lack of access
for commercial sex acts.                                                       to support systems. Refugee populations are particularly vulnerable to
                                                                               domestic servitude in Kigoma and Mwanza regions, and refugee children
ZANZIBAR                                                                       are vulnerable to forced labor in farming and sex trafficking. Traffickers
Trafficking in persons occurs in Zanzibar, a semi-autonomous region of         exploit migrant children, particularly from Burundi and Rwanda, in forced
Tanzania. Zanzibar did not adopt the 2008 anti-trafficking law. Therefore,     labor in agriculture and girls from Burundi and Malawi in domestic
the law did not apply within the province. Zanzibar had other laws             servitude and sex trafficking in Tanzania. Observers report vulnerable
that it could use to prosecute some forms of trafficking. The Penal Act        migrants, including potential trafficking victims, from the Horn of Africa
Decree of 2004 criminalized some forms of labor trafficking and sex            transit Tanzania en route to South Africa where they are vulnerable to
trafficking. The Children’s Act of 2011 criminalized some forms of child       trafficking. Observers also report migrants from neighboring countries,
labor trafficking and child sex trafficking. ATS conducted a validation        primarily Burundi, are increasingly transiting Dar es Salaam en route
meeting of the 2008 anti-trafficking law with the Attorney General of          to the Middle East, where traffickers may exploit them in domestic
Zanzibar in November 2021; however, the law was pending submission             servitude. Cuban medical professionals and North Korean nationals
to the Zanzibar House of Representatives at the end of the reporting           working in Tanzania may have been forced to work by the Cuban and
period. Of the 113 investigations, 18 prosecutions, and 13 convictions         North Korean governments, respectively.
the government reported, none were in Zanzibar. Of the 185 victims
identiﬁed during the reporting period, 38 victims, all girls, were identiﬁed
in Zanzibar. The government provided services, including shelter, medical
care, and counseling, to all 38 victims at a government-operated safe           THAILAND: TIER 2
house in Unguja. ATS incorporated input from officials in Zanzibar for
the 2021-2024 NAP. The government hosted a three-day workshop in
                                                                               The Government of Thailand does not fully meet the minimum standards
Zanzibar with African Union Member States to validate draft policies on
                                                                               for the elimination of trafficking but is making signiﬁcant efforts to do
the prevention of trafficking in persons on the African continent. ATS,
                                                                               so. The government demonstrated overall increasing efforts compared
in partnership with international organizations and local civil society,
                                                                               with the previous reporting period, considering the impact of the
conducted awareness campaigns in Pemba and Unguja targeting religious
                                                                               COVID-19 pandemic on its anti-trafficking capacity; therefore Thailand
leaders, law enforcement officials, social welfare officers, teachers,
journalists, and community leaders to discuss trafficking trends and           was upgraded to Tier 2. These efforts included increasing the number of
potential vulnerabilities in communities.                                      trafficking investigations, ﬁnalizing a national referral mechanism (NRM)
                                                                               that authorized a 45-day reﬂection period, ﬁnalizing implementing
TRAFFICKING PROFILE                                                            guidelines for the forced labor provision of the anti-trafficking law,
As reported over the past ﬁve years, human traffickers exploit domestic        and initiating investigations of 17 alleged complicit officials in 2021
and foreign victims in Tanzania, and traffickers exploit victims from          and sentencing two to terms of imprisonment. The government also
Tanzania abroad. Traffickers exploit men, women, children, and individuals     established a new trafficking victim identiﬁcation center, developed
from underserved communities—particularly impoverished children,               guidelines for labor officials to refer suspected trafficking victims to
orphans, and children with disabilities from rural areas—in forced labor       multidisciplinary teams, and identiﬁed more victims than in the previous
in domestic work, mining, agriculture, and forced begging and in sex           reporting period. However, the government did not meet the minimum
trafficking in urban cities, such as Arusha, Dar es Salaam, Dodoma,            standards in several key areas. The number of trafficking prosecutions
Mbeya, and Mwanza. Traffickers may exploit children in sex trafficking,        and convictions decreased compared with the previous reporting period.
including child sex tourism, in Zanzibar. Traffickers and brokers often        Despite reports that forced labor was prevalent among migrant workers
fraudulently promise family members, friends, or intermediaries to             in many industries in Thailand, inconsistent and ineffective interviewing
provide their children with education, better living conditions, or            practices during labor inspections left many labor trafficking victims
employment, but instead they exploit them in forced labor and sex              unidentiﬁed, officials often lacked an understanding of indicators of labor
trafficking. Some unscrupulous individuals manipulate the traditional          trafficking, and Thai authorities have never reported identifying a victim
practice of child fostering—in which parents entrust their children into       of labor trafficking as a result of ﬁshing vessel inspections conducted
the care of wealthier relatives or respected community members—and             at ports. There continued to be signiﬁcant gaps in the government’s
exploit children in domestic servitude. Traffickers often promise Tanzanian    provision of services to victims, and some victims residing in government
women and girls marriage, education, or employment in Zanzibar,                shelters lacked freedom of movement. Corruption and official complicity
facilitate their travel from the mainland, and subsequently exploit them       continued to impede anti-trafficking efforts.
in forced labor in domestic work and farming. Traffickers subject children
to forced labor on farms—including as cattle herders and occasionally
as hunters—in gold and gemstone mines and quarries, the informal                       THAILAND TIER RANKING BY YEAR

commercial sector, and on ﬁshing vessels operating in Tanzanian and                1
international waters. Traffickers exploit women and girls in domestic              2
servitude throughout the country and in sex trafficking, particularly in         2WL
tourist hubs along the border with Kenya. Previously, NGOs reported
                                                                                   3
traffickers target young girls from rural villages, pay their parents a                                                2018           2020
                                                                                          2015     2016      2017             2019           2021   2022
small fee, and exploit the girls in sex trafficking, speciﬁcally targeting
businesspeople. NGOs report Tanzanian ﬁshermen working on foreign-
ﬂagged ﬁshing vessels may experience working conditions indicative
of forced labor. Increasingly, traffickers bring children and persons
                                                                               PRIORITIZED RECOMMENDATIONS:
with physical disabilities from Tanzania to Kenya and exploit them in
                                                                               Increase trafficking prosecutions and convictions, particularly for labor
forced begging; traffickers often coerce victims to serve as facilitators
                                                                               trafficking. • Train officials on and ensure effective implementation
to further such trafficking schemes. Traffickers exploit Tanzanians in
                                                                               of new guidelines for the implementation of Section 6/1 of the anti-
forced labor and sex trafficking in other African countries, the Middle
                                                                               trafficking law and identiﬁcation of labor trafficking victims. • Ensure
East, Europe, Asia, and the United States. Traffickers increasingly use
                                                                               multidisciplinary teams (MDTs) are composed of officials who are trained
Zanzibar to transit women to the Middle East, namely Oman and the
                                                                               and have sufficient experience working trafficking cases to improve
United Arab Emirates, where traffickers subsequently exploit them in
                                                                               the effectiveness of victim identiﬁcations. • Proactively investigate
domestic servitude.
                                                                               and prosecute officials allegedly complicit in facilitating trafficking
                                                                               and convict and punish those found guilty with adequate sentences.

                                                                                                                                     Haiti AR_001018         537
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 643 of 729
THAILAND   • Increase the ability of victims, especially adults, to move freely in        exploitation that included trafficking indicators, and they often pursued
           and out of shelters and access communication devices and reassess              trafficking cases as labor law violations without pursuing criminal
           shelter placements periodically to ensure victims are not required to          prosecutions against traffickers. In some cases, officials encouraged
           remain in shelters longer than necessary. • Ensure the use of trauma-          potential trafficking victims to mediate with their employer or referred
           informed procedures by government officials during interviews with             their cases to labor courts, rather than recognizing them as trafficking
           potential victims, including during labor inspections. • Ensure the            victims and recommending criminal investigation of their cases. An
           effective implementation of the NRM and extension of the new reﬂection         NGO from a neighboring country asserted Thai authorities increasingly
           period for victims. • Increase awareness among relevant officials of less      charged trafficking crimes involving its citizens exploited in Thailand
           understood trafficking indicators, such as debt-based coercion, excessive      under lesser charges, which impacted the ability of victims to obtain
           overtime, conﬁscation of documents, and nonpayment of wages. • Ensure          services and compensation, especially in cases involving exploitation
           government and NGO-operated shelters provide victims with adequate             in agriculture and child domestic servitude.
           trauma-informed and individualized care, such as legal assistance and
                                                                                          The Office of the Attorney General (OAG) developed standard operating
           psychological care, and develop consistent policies on victim services
                                                                                          procedures (SOPs) that promoted the use of trauma-informed
           across all shelters. • Ensure labor violations and migrant workers’
                                                                                          approaches by prosecutors when interviewing victims and preparing
           complaints that include indicators of forced labor are investigated for
                                                                                          them to provide testimony. While the SOP included a requirement that
           trafficking crimes, including by enforcing procedures for labor officials to
                                                                                          prosecutors meet with all victims prior to court proceedings, observers
           refer potential cases of labor trafficking to MDTs and law enforcement. •
                                                                                          previously reported the OAG did not have sufficient capacity to enable
           Expand legal alternatives to foreign victims’ placement in shelters, such
                                                                                          prosecutors to meet with and prepare all victims before trials, and
           as enabling victims to exit the shelter system when they are ready to
                                                                                          NGOs recommended victims partner with NGO or private attorneys
           pursue outside employment opportunities. • Do not make victims’ formal
                                                                                          for this support. Law enforcement often used the results of victim
           identiﬁcation and access to services dependent on their willingness to
                                                                                          identiﬁcation interviews, which observers reported were sometimes
           participate in investigations against their traffickers. • Enforce regular
                                                                                          ineffective, as the ﬁnal determination of whether a trafficking case
           payment of wages, requirements that employers pay recruitment fees
                                                                                          existed. The OAG trafficking litigation unit conducted a study to assess
           of migrant workers, and the rights of employees to retain possession
                                                                                          trafficking prosecutions for the purpose of developing a strategy to
           of their own identity and ﬁnancial documents and contracts. • Foster
                                                                                          improve the efficacy of prosecutions. Prosecutors worked with NGOs
           an environment conducive to victims and advocates reporting human
                                                                                          to prepare victims to testify, courts allowed NGO lawyers to serve as
           trafficking crimes without fear of facing spurious retributive charges
                                                                                          co-plaintiffs in some cases to legally support victims, and government
           pursued by employers, including by utilizing recent legal amendments
                                                                                          shelters enabled victims to participate in mock courts to prepare them
           to dismiss cases ﬁled with dishonest intent or to intimidate defendants.
                                                                                          for participating in proceedings against traffickers. However, fears of
                                                                                          detention and extended shelter stays, a lack of adequate services, and
           PROSECUTION                                                                    fears of retaliation from traffickers made some victims reluctant to
           The government increased law enforcement efforts; however, the
                                                                                          participate in prosecutions. Some judges and other court officials lacked
           government prosecuted and convicted fewer traffickers than in 2020.
                                                                                          sufficient understanding of trauma-informed care, which resulted in
           Section 6 of the 2008 anti-trafficking law, as amended, criminalized
                                                                                          harmful treatment of victims during court proceedings. For example,
           sex trafficking and labor trafficking and prescribed penalties of four
                                                                                          while courts reportedly followed protocols to protect victim-witnesses
           to 12 years’ imprisonment and a ﬁne of 400,000 to 1.2 million baht
                                                                                          in most instances, NGOs reported some incidents where the court failed
           ($11,980 to $35,930) for offenses involving an adult victim and six to 20
                                                                                          to provide a non-confrontational cross examining area, despite advance
           years’ imprisonment and a ﬁne of 600,000 to 2 million baht ($17,960
                                                                                          request, and asked victim-witnesses to verbally conﬁrm sensitive
           to $59,880) for those involving a child victim. These penalties were
                                                                                          information in front of suspects during proceedings. In March 2022,
           sufficiently stringent and, with respect to sex trafficking, commensurate
                                                                                          the government ﬁnalized SOPs for trafficking cases for the Courts of
           with penalties prescribed for other serious crimes, such as rape. An
                                                                                          Justice to encourage the use of victim-centered approaches during
           amendment to the 2008 anti-trafficking law in 2019 included a separate
                                                                                          court procedures.
           provision under Section 6/1, speciﬁcally addressing “forced labor or
           services,” which prescribed penalties of six months’ to four years’            The government operated specialized anti-trafficking divisions within the
           imprisonment, a ﬁne of 50,000 to 400,000 baht ($1,500 to $11,980) per          Bangkok Criminal Court, OAG, Department of Special Investigation (DSI),
           victim, or both. This provision prescribed signiﬁcantly lower penalties for    and Royal Thai Police (RTP). DSI hosted a conference with participants
           labor trafficking crimes than those already available under the existing       from OAG, RTP, and NGOs, as well as foreign law enforcement liaisons,
           human trafficking provision of the law.                                        to strengthen coordination among the anti-trafficking community.
                                                                                          Thai authorities continued to share information and evidence with
           In 2021, the government reported investigating 188 potential trafficking
                                                                                          other countries. In addition, law enforcement officials cooperated with
           cases (133 in 2020), initiating prosecutions of 125 suspected traffickers
                                                                                          foreign counterparts to investigate the trafficking of Thai victims abroad.
           (302 in 2020), and convicting 82 traffickers (233 in 2020). Courts
                                                                                          The government arrested and extradited to Malaysia three suspected
           sentenced 75 convicted traffickers in 2021, with approximately 97
                                                                                          traffickers associated with the 2015 discovery of mass graves of Rohingya
           percent sentenced to two or more years imprisonment. In 2021, courts
                                                                                          along the countries’ border.
           issued forfeiture orders for assets valued at approximately 161,066 baht
           ($4,820) in trafficking cases litigated by the Anti-Money Laundering           To address concerns that police officers inexperienced with anti-
           Office. The Thai Internet Crimes Against Children Task Force (TICAC)           trafficking efforts were frequently assigned to trafficking cases, in
           investigated 79 cases of internet crimes against children in 2021 (94 in       December 2021, the Ministry of Social Development and Human Security
           2020), including 11 cases of internet-facilitated trafficking (22 in 2020);    (MSDHS) amended its regulations on qualiﬁcations for law enforcement
           TICAC initiated an additional 19 investigations of internet-facilitated        officers, requiring officers assigned to anti-trafficking activities have at
           trafficking cases in January-March 2022. Officials initiated investigations    least one year of anti-trafficking experience. The government provided
           of 22 potential cases of labor trafficking—including two cases involving       numerous workshops and trainings for police, immigration officials, and
           the ﬁshing sector—compared to 14 labor trafficking investigations              labor officials on topics including victim identiﬁcation, labor trafficking,
           in 2020. NGOs assessed the relatively low number of investigations             online investigative techniques, and conducing forensic interviews. The
           and prosecutions for labor trafficking stemmed in large part from a            OAG collaborated with a foreign government to provide trainings for
           lack of understanding of forced labor among officials and a lack of            prosecutors on human trafficking, including Section 6/1 of the anti-
           clarity on how to apply Section 6 and Section 6/1 in labor trafficking         trafficking law and child trafficking. OAG also trained prosecutors on
           cases, especially in the absence of implementing guidelines for the            victims’ rights and preparing victims for prosecutions against traffickers.
           majority of the reporting period. Some observers reported officials            The Courts of Justice collaborated with an international organization to
           often did not identify debt-based coercion, excessive overtime, or             provide training for judges overseeing trafficking cases. The government
           withholding of wages as indicators of labor trafficking. Police and labor      held workshops for law enforcement officers to improve their capacity
           inspectors did not consistently investigate migrant workers’ reports of        to successfully prosecute traffickers and assigned those who completed
                                                                                          the workshops to supervise other officers on trafficking cases. The OAG’s
 538                                                                                                                                   Haiti AR_001019
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 644 of 729




                                                                                                                                                               THAILAND
trafficking litigation unit developed teams of prosecutors with experience      not screen undocumented migrants for trafficking, particularly those
working trafficking cases in each region to advise less experienced             ﬂeeing political instability in Burma, and often detained and deported
prosecutors and law enforcement; the government reported these teams            migrants without screening.
deployed within 24 hours after an arrest to advise local officials. With
                                                                                MDTs, which included representatives from government agencies and
donor support, MSDHS trained 120 officials from numerous agencies to
                                                                                NGOs, utilized standard screening guidelines to formally identify victims
become anti-trafficking specialists; authorities assigned these officials
                                                                                and refer them to services. Adapting to pandemic-related restrictions,
to provide consultation and assistance to provincial officers and MDTs
                                                                                some MDTs conducted online victim identiﬁcation interviews. Officials
on trafficking prosecutions and victim identiﬁcation. Some observers
                                                                                did not effectively implement identiﬁcation procedures consistently
reported government trainings often only involved senior officials,
                                                                                throughout the country, in part due to a lack of understanding of
rather than working level officers who were more likely to come into
                                                                                trafficking among some officials. Some officials utilized practices during
contact with potential victims.
                                                                                victim interviews that hindered the ability of victims to recount their
A Deputy Prime Minister chaired the National Committee on Prevention            exploitation, such as allowing employers of potential victims to be
of Official Complicity in Human Trafficking. DSI established the Complicit      present during victim interviews. NGOs reported improvement, however,
Officials in Human Trafficking Monitoring and Investigation Center,             in the use of victim-centered approaches by some RTP officials when
which monitored and investigated suspected complicit officials. DSI also        conducting victim interviews. The government relied on MDTs, which
initiated work to establish a database of public officials who worked           sometimes included local police officers, provincial MSDHS staff, and
on trafficking cases, which would allow DSI to monitor the progress of          local labor officials who at times did not have sufficient experience
cases. The government reported initiating investigations of 17 officials        working trafficking cases, to conﬁrm an individual as a trafficking
accused of complicity in trafficking crimes in 2021, compared with nine         victim. To address gaps in victim identiﬁcation among provincial level
new investigations in 2020. Of these 17, at the end of the reporting period,    officials, the government established teams that traveled to support
seven remained under investigation, eight were under prosecutors’               less experienced MDTs in the identiﬁcation process.
consideration, one was ﬁled for consideration of the court of ﬁrst instance,
                                                                                Section 29 of the anti-trafficking law permitted officials to take potential
and one was acquitted of charges. Among previously reported cases, in
                                                                                trafficking victims into the government’s custody for no more than
2021, the government initiated prosecutions of six allegedly complicit
                                                                                24 hours, or up to eight days with the permission of a court. During
officials and sentenced two other officials to terms of imprisonment.
                                                                                this period, MDTs conducted victim identiﬁcation interviews; formal
Among the 79 officials investigated for official complicity since 2013,
                                                                                identiﬁcation by MDTs was necessary for victims to obtain a legal right
by the end of the reporting period, the government had ﬁled 12 for
                                                                                to services, including access to the government’s trafficking shelters.
consideration of the court of ﬁrst instance, convicted and sentenced
                                                                                This process acted as a signiﬁcant barrier for some victims who were not
38 to terms of imprisonment, and acquitted eight of charges; seven
                                                                                physically or psychologically prepared to undergo the MDT identiﬁcation
officials remained under investigation, nine were under prosecutors’
                                                                                process to obtain services. Furthermore, the absence of a suitable
consideration, and ﬁve ﬂed charges.
                                                                                reﬂection period in which victims could access stabilizing services from
                                                                                the government did not allow officials sufficient time to build rapport
PROTECTION                                                                      and trust with victims, including to obtain sufficient information to
The government increased efforts to identify and protect victims. The
                                                                                make a formal identiﬁcation and to encourage victims’ participation
government identiﬁed 414 trafficking victims in 2021, compared with
                                                                                in investigations. In some cases during the reporting period, officials
approximately 231 victims identiﬁed in 2020 and 868 in 2019. The 414
                                                                                provided victims with additional time to recover before initiating the
trafficking victims identiﬁed included 151 male and 263 female victims;
                                                                                identiﬁcation process. In March 2022, the government approved a
72 child victims; 312 Thai, 94 victims from Burma, two Laotian victims
                                                                                new NRM, which included guidelines for the screening, identiﬁcation,
and six from unspeciﬁed countries; and 181 victims of sex trafficking
                                                                                and protection process, as well as the extension of a 45-day reﬂection
and 233 victims of labor trafficking. Of the 414 victims identiﬁed in
                                                                                period to enable officials to provide services to potential victims prior
2021, the government reported providing services to 354 (compared
                                                                                to their formal identiﬁcation. The government solicited feedback from
to 148 victims identiﬁed in 2020), including through the provision of
                                                                                civil society on the draft NRM prior to its approval.
shelter, reintegration support, legal assistance, ﬁnancial assistance, and
other support; 128 received assistance in government shelters, while 20         In December 2021, DSI established a human trafficking victim
victims resided in NGO government-registered shelters.                          identiﬁcation center to accommodate potential victims, prepare them
                                                                                for identiﬁcation interviews, and to serve as an operations and training
Of the 233 labor trafficking victims identiﬁed by Thai authorities in 2021,
                                                                                center for relevant agencies. The government continued to refer victims
109 were Thai victims forced to work for an online gambling website
                                                                                formally identiﬁed by MDTs to government-operated shelters where
identiﬁed in coordination with Cambodian authorities; by the end of the
                                                                                they had access to counseling, legal assistance, medical care, civil
reporting period, the government had identiﬁed a total of 227 Thai victims
                                                                                compensation, ﬁnancial aid, witness protection, education or vocational
exploited in Cambodia. Authorities identiﬁed 90 migrant labor trafficking
                                                                                trainings, and employment opportunities. While MSDHS reported
victims exploited within Thailand in 2021, including two exploited in the
                                                                                providing some services to victims who did not agree to participate
ﬁshing sector. Despite reports traffickers exploited children in forced
                                                                                in the prosecution process, authorities often made the provision of
labor in various sectors, the government only identiﬁed two child labor
                                                                                many services contingent upon victims’ willingness to participate
trafficking victims in 2021. Authorities did not identify victims in part due
                                                                                in law enforcement investigations. MSDHS operated 76 short-stay
to a lack of understanding of labor trafficking among many authorities.
                                                                                shelters and nine long-term regional trafficking shelters, including four
In March 2022, the government approved SOPs for the identiﬁcation of
                                                                                dedicated to adult male victims and families, four for female victims,
labor trafficking victims and implementation of the 2019 forced labor
                                                                                and one for male child victims. The government typically only permitted
amendment of the trafficking law (Section 6/1). Labor inspectors and
                                                                                foreign victims who held a valid visa or work permit at the time of
members of the Royal Thai Navy screened migrant workers for trafficking
                                                                                their identiﬁcation to stay outside government shelters during legal
during inspections, including during inspections of ﬁshing vessels.
                                                                                proceedings against traffickers; during the year, 13 victims employed
However, inconsistent and ineffective interviewing practices during
                                                                                as domestic workers resided with their employers, a common practice
inspections left many labor trafficking victims unidentiﬁed, including
                                                                                for domestic workers in Thailand. Authorities sometimes required
among migrant ﬁshermen. Observers also reported labor inspectors
                                                                                undocumented foreign victims of trafficking to remain in government
did not understand that part of their role was to identify trafficking
                                                                                shelters while the government processed applications for permits to
victims. In an attempt to improve the effectiveness of inspections,
                                                                                temporarily stay and work in Thailand. MSDHS trafficking shelters did
the Ministry of Labor (MOL) developed guidelines in March 2022 to
                                                                                not allow some victims—including adults—to leave without permission,
improve inspectors’ ability to identify potential cases of trafficking and
                                                                                which authorities determined on a case-by-case basis; only victims who
authorized inspectors to conduct identiﬁcation interviews of potential
                                                                                received permission to work outside shelters could leave the shelter
victims; under the new guidelines, inspectors were required to report
                                                                                on a regular basis for work. Furthermore, authorities often required
suspected trafficking cases to law enforcement and MDTs to conduct
                                                                                victims to stay in shelters until the completion of proceedings or
formal identiﬁcation interviews. NGOs raised concerns that officials did
                                                                                advanced testimony against traffickers, even in cases in which they
                                                                                                                                  Haiti AR_001020              539
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 645 of 729
THAILAND   were physically and psychologically ready to exit the shelter system. In      including 1.12 million baht ($33,530) that went to victims residing outside
           addition, shelter staff sometimes restricted victims’ access to personal      government shelters for living expenses, payments for work inside
           cell phones, particularly at the beginning of shelter stays, sometimes        shelters, education, medical care, and other expenses. NGOs reported
           required victims obtain permission to make personal phone calls, and          the process for victims to access this fund was complex, which likely
           often monitored their calls. MSDHS did not implement a consistent policy      prevented some victims from obtaining necessary monetary support. Thai
           across all shelters to guarantee victims’ rights to communication; however,   law legally obligated prosecutors to ﬁle restitution claims when a victim
           the government reported it permitted victims who had completed the            expressed intention to make a claim. The Human Trafficking Criminal
           process of participating as witnesses in prosecutions against traffickers     Procedures Act allowed judges to award compensation or restitution
           to use communication devices without supervision. Officials said these        to victims, including in the absence of a victim request for these funds.
           measures were taken to ensure the victims’ safety and to prevent re-          The government ﬁled restitution claims in 25 cases in 2021 and reported
           victimization; however, requiring victims to remain in shelters longer        courts ordered 10.7 million baht ($320,360) in restitution for victims, a
           than necessary, combined with the restrictions on their movement and          decrease compared with 26 million baht ($778,440) in 2020. MSDHS
           communication during shelter stays, may have contributed to some              provided legal assistance to victims to ﬁle compensation claims and
           victims’ re-traumatization and inhibited their ability to earn an income.     ensure enforcement of orders; however only two cases resulted in the
           In one region, officials cooperated with an NGO to develop an open-           successful execution of restitution orders. Thai law permitted foreign
           concept shelter, where authorities provided victims full freedom of           trafficking victims and witnesses to stay and work in Thailand for up to
           movement and access to communication devices on a short-term basis.           two years upon the completion of legal proceedings against traffickers;
                                                                                         however, the government did not report extending this beneﬁt to any
           The government permitted some victims residing in shelters to obtain
                                                                                         victims during the reporting period.
           outside employment; however, for some foreign victims, especially
           Rohingya, the government did not identify suitable employment                 MSDHS operated a mobile application for trafficking victims and
           opportunities and some shelter officials cited fears Rohingya would           witnesses to report exploitation and request protective services,
           “ﬂee” shelters as a rationale for restricting their freedom of movement.      including interpretation, and it provided information on the rights of
           The required shelter stays continued to deter foreign victims from            trafficking victims in seven languages; 46 potential trafficking cases
           cooperating with law enforcement, with some preferring to be deported         were reported through this application in 2021, compared with 32 in
           to their home countries instead. The government permitted some victims        2020. MSDHS and MOL operated hotlines with operators ﬂuent in 19
           to reside and obtain services at three government-registered NGO              foreign languages. In 2021, the MSDHS trafficking hotline received calls
           shelters; victims preferred to stay at these shelters over government-        related to 64 possible trafficking cases, which were referred to relevant
           operated shelters, in part due to more freedom of movement. Victims           agencies for investigation, including 12 involving forced labor and 31
           obtaining these services could still obtain compensation from the             involving commercial sex (70 cases in 2020).
           government’s anti-trafficking fund; however, the government did
                                                                                         The law protected victims from prosecution for unlawful acts traffickers
           not provide these shelters with additional funding to support their
                                                                                         compelled them to commit; however, ﬂaws in the government’s
           operations. In addition, observers reported that strict requirements
                                                                                         implementation of victim identiﬁcation procedures increased the
           for NGO-operated shelters to receive permission to assist formally
                                                                                         risk of authorities penalizing victims, including for prostitution and
           identiﬁed victims made it challenging for additional NGOs to obtain
                                                                                         immigration violations. This deterred some undocumented foreign
           this registration. The government implemented a 7- to 14-day COVID-19
                                                                                         victims, who likely feared risks of arrest and deportation, from reporting
           quarantine for victims before they could enter government shelters.
                                                                                         their exploitation to authorities. Observers reported that some employers
           MSDHS shelters employed inconsistent policies and provision of care           retaliated against migrant workers, including potential trafficking
           to victims. Government shelters often lacked adequate numbers of              victims and activists seeking to improve working conditions, including
           psychologists and staff trained on trauma-informed care, inhibiting           by dismissing workers. In addition, Thailand’s criminal defamation
           victims from obtaining psycho-social care. Shelters did not always provide    laws continued to allow companies to pursue criminal charges against
           victims with individualized care or private counseling and instead relied     potential victims and advocates, sometimes through strategic lawsuits
           on group counseling sessions with social workers. In 2021, however,           against public participation, which resulted in advocates facing years of
           shelters began using individual development plans that increased              legal harassment. Observers continued to report these types of cases
           victims’ input into their assistance needs. MSDHS reported all shelters       deterred advocates and victims from reporting exploitation. In one case
           had the capacity to provide temporary accommodation to LGBTQI+                involving Thai sex trafficking victims exploited overseas, the government
           victims, and one shelter could provide long-term accommodation;               secured bail and provided legal representation to the victims after the
           however, the long-term shelter did not provide separate bedrooms              alleged offenders ﬁled criminal defamation charges against the victims.
           and restroom facilities for LGBTQI+ victims. In addition, aspects of the      Despite making amendments to the Criminal Procedure Code in March
           identiﬁcation process made it difficult for LGBTQI+ victims to express        2019 that would enable courts to immediately dismiss cases ﬁled with
           their gender preferences, and authorities often did not ask victims their     dishonest intent or to intimidate defendants, as well as amendments
           shelter preferences. MSDHS conducted a training for its shelter staff on      in February 2019 that strengthened the rights of defendants in cases
           services for LGBTQI+ victims. MSDHS did not equip its shelters to provide     where their employers ﬁled criminal defamation charges, the government
           adequate accommodations for victims with disabilities and often lacked        did not report utilizing these amendments to drop criminal defamation
           sufficient numbers of interpreters, especially for Rohingya victims, which    charges pursued against advocates or victims.
           weakened their ability to provide adequate services to victims. NGOs
           reported interpreters who participated in victim identiﬁcation interviews     PREVENTION
           and in court proceedings were not always trained to assist in trafficking     The government maintained efforts to prevent trafficking. A Deputy Prime
           cases and inappropriately communicated with victims, sometimes                Minister directed the National Anti-Trafficking in Persons Committee
           by attempting to convince victims to not report their exploitation or         and the Coordinating and Monitoring of Anti-Trafficking in Persons
           recommending they confess to crimes traffickers compelled them to             Performance Committee, which met multiple times during the year. The
           commit. MSDHS collaborated with an NGO to provide training for shelter        government continued to monitor its progress to combat trafficking
           staff on protection issues, provide MDT officials training on trauma-         through data collection and annual reports to the Prime Minister and
           informed care during the identiﬁcation process, and develop an online         the Cabinet. In 2021, the government allocated approximately 4.46
           training course for officials providing psychological care to victims.        billion baht ($133.53 million) towards its prevention and suppression of
                                                                                         trafficking budget, compared with approximately 4.02 billion ($120.36
           Authorities facilitated the return of 245 Thais exploited in trafficking
                                                                                         million) in 2020. Government agencies conducted numerous anti-
           abroad, including 13 sex trafficking victims and 232 labor trafficking
                                                                                         trafficking awareness and prevention campaigns, including through
           victims; the government reported all 245 victims chose not to utilize
                                                                                         awareness trainings aimed to prevent child sex trafficking and online
           shelter services and returned to their hometowns, and MSDHS monitored
                                                                                         child sexual exploitation, and the production of a video raising awareness
           their reintegration to prevent re-victimization. In 2021, the government
                                                                                         of trafficking among the general public. Civil society expressed concern
           provided 4.13 million baht ($123,650) to trafficking victims from its anti-
                                                                                         that provisions of a draft law seeking to increase regulations on NGOs in
           trafficking fund (compared with 7.63 million baht ($228,440) in 2020),
 540                                                                                                                                  Haiti AR_001021
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 646 of 729




                                                                                                                                                               THAILAND
Thailand would, if enacted, negatively impact NGO’s ability to conduct         mechanisms; however, it was unclear to what extent these centers
anti-trafficking work in Thailand.                                             operated during the reporting period. MOL also worked with NGOs
                                                                               to provide services at 10 migrant worker assistance centers, including
Thai law permitted recruitment agencies to charge limited amount of
                                                                               to receive complaints of labor violations, assist workers to change
recruitment fees to Thais seeking overseas employment. Excessive
                                                                               employers, and update workers’ registration documents. In November
fees incurred by some workers charged by unscrupulous recruitment
                                                                               2021, MOL established the Anti-Labour Trafficking Ad Hoc Working
agencies made them vulnerable to debt-based coercion. In ﬁscal year
                                                                               Group, which inspected employers and workplaces with high risks of
2021, the government conducted 243 inspections of employment
                                                                               trafficking; the group investigated reports from NGOs, including reports
agencies that recruited Thai workers for overseas employment but
                                                                               of trafficking on ﬁshing vessels, and inspected seven workplaces, which
did not ﬁnd any unlawful practices. The Department of Employment
                                                                               resulted in the prosecution of one trafficking case. The Department
charged 123 individuals for recruiting workers without a license and
                                                                               of Labor Protection and Welfare conducted inspections at high-risk
labor fraud. MOL and RTP collaborated to investigate unauthorized
                                                                               workplaces and seafood processing facilities and found 4,278 violation
online advertisements for jobs for Thai workers overseas that involved
                                                                               of labor laws. MOL’s Command Center for Labor Trafficking Prevention
trafficking, fraudulent employment, smuggling, and commercial sex.
                                                                               inspected 56,186 employers and workplaces for unregistered migrant
The government maintained bilateral memoranda of understanding                 workers and identiﬁed 1,154 employers in violation of labor laws; MOL
(MOUs) with neighboring countries to recruit migrant workers to Thailand.      referred 973 of these cases for further investigation and ﬁned employers
Recruitment under these MOUs was suspended in March 2020 due to                a total of 1.39 million baht ($41,620) for employing unregistered migrant
the pandemic and resumed on December 1, 2021. The complicated                  workers. The government operated inspection centers at ports to
nature of the government’s migrant worker registration programs                verify whether ﬁshing vessels were operating legally and reported
often resulted in workers’ reliance on brokers and employers, who              identifying 17 vessels in violation of the law, including for failure to pay
charged fees to workers in addition to fees charged by the government,         workers’ wages through bank transfers, failure to provide workers a
thereby increasing their vulnerability to debt-based coercion. The             copy of their contracts, and other labor violations. At-port inspection
government implemented programs to enable workers to stay in the               centers did not universally apply a standardized procedure for referring
country after their initial registration expired and to provide work permits   cases of ﬁshermen who went missing at sea, including to identify
to unregistered workers already in the country. The 2018 Royal Ordinance       indicators of trafficking on the vessels from which they went missing,
on Management of Migrant Workers required employers to provide                 and the number of crewmembers who went missing at sea continued
workers a copy of their employment contracts and to cover some costs,          to increase compared to recent years. The government also conducted
such as recruitment fees and transportation costs, and it prohibited           at-sea inspections of 671 vessels but did not identify any violations.
employers from deducting more than 10 percent of workers’ monthly              At-sea inspections did not include sufficient checks for labor violations
salaries for personal expenses and from retaining travel or other personal     or consistently have interpreters available for interviewing foreign
documents; the law prescribed penalties of ﬁnes ranging from 10,000            crewmembers. The government has never reported identifying trafficking
to 100,000 baht ($300-$2,990) and up to six months’ imprisonment               victims as a result of labor inspections of ﬁshing vessels. Despite using
for employers who violated these rules. However, it did not prohibit           a manual on standardized inspection practices introduced in 2019, at-
employers and recruiters from charging migrant workers with some costs         port labor inspections continued to be inconsistent and ineffective at
related to their recruitment, such as expenses for passports, medical          identifying potential cases of forced labor on ﬁshing vessels often due
checks, and work permits. NGOs reported the regulations on recruitment         to a lack of victim-centered interview practices. Observers indicated
fees were poorly deﬁned and enforced and recruitment agencies and              some vessel owners and other workplaces received advance warning
brokers still required workers to pay recruitment fees and transportation      of labor inspections; observers also noted an absence of interpreters
costs. The Ordinance enabled employers to retain workers’ documents            available to assist workers during inspections and employers, including
if they obtained their consent and if the employer provided access to          vessel captains, were present during inspections, which likely deterred
the documents; however, observers reported that because enforcement            workers from reporting their exploitation to authorities. A lack of access
was lacking, in some cases unscrupulous employers retained workers’            to remote workplaces prevented sufficient child labor inspections in
documents, especially in cases in which workers were not familiar with         some informal sectors. In December 2021, allegations emerged that
their rights under Thai law. The government did not report investigating       inmates producing ﬁshing nets under a prison work program faced
illegal retention of documents or salary deductions. Although government       exploitative conditions, including indicators of forced labor. In response,
regulations permitted exploited migrant workers to change employers,           the Department of Corrections issued orders to 143 prisons to cease the
some policies restricted their ability to do so in practice. Labor laws        production of ﬁshing nets, and the Department committed to establishing
prevented migrant workers from forming labor unions, which according           advisors within each prison to ensure labor conditions in prisons meet
to civil society organizations further contributed to exploitation. The        international standards. The government made efforts to reduce the
government inspected 227 migrant worker recruitment agencies but               demand for commercial sex acts, including by displaying a video in
did not ﬁnd any violations.                                                    four languages in Thai airports and on Thai airline ﬂights discouraging
A lack of clear guidance to measure work and rest hours for workers            child sex tourism. In addition, the government coordinated with foreign
aboard ﬁshing vessels heightened their risk of trafficking. The Ministerial    governments to deny entry to known sex offenders.
Regulations on the Protection of Labour in the Marine Fisheries, which
came into force during the reporting period, required that employers           TRAFFICKING PROFILE
provide migrant ﬁshermen a contract in a language they can understand,         As reported over the past ﬁve years, human traffickers exploit domestic
maintain a record of payments to workers, and provide sufficient meals         and foreign victims in Thailand, and traffickers exploit Thai victims abroad.
and drinking water to ﬁshermen on vessels. Regulations also required           Labor and sex traffickers exploit women, men, LGBTQI+ individuals,
employers to pay workers’ salaries at least once per month through             and children from Thailand, other Southeast Asian countries, Sri Lanka,
electronic deposits and to share catch proﬁts. However, there remained         Russia, Uzbekistan, and some African countries in Thailand. Members of
concerns that some workers were still paid in cash or were unable to           ethnic minorities, highland persons, and stateless persons in Thailand
access their funds due to a lack of ATMs near some ports, were not             have experienced instances of abuse indicative of trafficking. Children
sufficiently trained on how to use the system, and had their ATM cards         from Thailand, Burma, Laos, and Cambodia are victims of sex trafficking
and PINs withheld by vessel owners, captains, or brokers. In August            in brothels, massage parlors, bars, karaoke lounges, hotels, and private
2021, provincial authorities in Phuket issued an order to quarantine           residences. Traffickers induce young Thai girls and boys to perform
ﬁshermen on their vessels, which increased their risk to exploitation,         sex acts through videos and photos on the internet, sometimes by
including longer work hours and inability to leave exploitative conditions.    blackmailing victims with explicit images. The government and NGOs
                                                                               reported a continued increase in online sexual exploitation, especially
The government previously reported operating ﬁve post-arrival and              of children, during the pandemic. Children are lured by traffickers into
reintegration centers that assisted migrant workers who entered Thailand       commercial sex through the internet, chat, and dating applications, as
through the MOU process by providing information on labor rights, Thai         well as other social networking platforms. Children in orphanages are
culture, employment contracts, trafficking awareness, and complaint            at risk of trafficking. Children of families that lost employment due to
                                                                                                                                 Haiti AR_001022               541
                  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 647 of 729
TIMOR-LESTE   the impacts of the pandemic, including among migrant families, were            undocumented migrant workers and required them to pay bribes for
              increasingly at risk of trafficking. Approximately 177,000 Thai children,      their release. Credible reports indicate some corrupt officials protect
              mostly boys, are involved in child labor, including in agriculture, auto       brothels, other commercial sex venues, factory owners, and ﬁshing vessel
              repair and other service trades, construction, manufacturing, and in           owners from raids, inspections, and prosecutions, and they collude with
              the hospitality industry, and were at risk of facing conditions indicative     traffickers. Some local police reportedly withhold information from
              of forced labor. More than half of these children are not in school, and       prosecutors to protect traffickers. Some government officials proﬁt
              many worked in hazardous conditions, with long and irregular working           from bribes and direct involvement in extortion from and exploitation
              hours and were at risk of sexual exploitation. Some brokers or parents         of migrants.
              force children from Thailand, Cambodia, and Burma to sell ﬂowers or
              other items in streets, beg, or work in domestic service in urban areas.
              Elderly persons and persons with disabilities from Cambodia are also
              forced to beg in Thailand.                                                      TIMOR-LESTE: TIER 2
              Traffickers subject Thai nationals to forced labor and sex trafficking in
              countries in North America, Europe, Africa, Asia, and the Middle East.         The Government of Timor-Leste does not fully meet the minimum
              Thai women and LGBTQI+ individuals are exploited in Switzerland in sex         standards for the elimination of trafficking but is making signiﬁcant
              trafficking. Thai citizens who travel to Norway for family reuniﬁcation are    efforts to do so. The government demonstrated overall increasing efforts
              at risk of sex and labor trafficking. Traffickers subject some Thai men and    compared to the previous reporting period, considering the impact of
              women to forced labor in Israel’s agricultural sector, imposing conditions     the COVID-19 pandemic on its anti-trafficking capacity; therefore Timor-
              of long working hours, no breaks or rest days, withheld passports, and         Leste was upgraded to Tier 2. The government investigated, prosecuted,
              difficulty changing employers due to limitations on work permits. More         and convicted traffickers, including the ﬁrst two convictions since 2018.
              than 100,000 Thais work in South Korea, where traffickers subject              The government also established a national anti-trafficking commission,
              Thai men and women to forced labor and sex trafficking, including by           ﬁnalized a national anti-trafficking action plan (NAP) for 2022, signed
              forcing victims who owe debts to entertainment establishment owners            a cooperative agreement and allocated funding to an international
              or loan sharks into commercial sex. Traffickers increasingly subjected         organization to train law enforcement officials on victim identiﬁcation
              Thai workers to forced labor in Cambodia and Laos, including in special        measures, and dedicated a budget to overall anti-trafficking efforts.
              economic zones, for operators of online gambling and scamming                  However, the government did not meet the minimum standards in several
              websites.                                                                      key areas. Lack of expertise and understanding of trafficking crimes among
                                                                                             some relevant officials remained an impediment to the government
              Traffickers and smugglers operating between Burma and Thailand
                                                                                             effectively combating trafficking. The government did not ﬁnalize or
              charge Burmese migrants approximately 10,000 to 70,000 baht ($300
                                                                                             approve government-wide standard operating procedures (SOPs) for
              to $2,100) to smuggle them into Thailand. Observers reported these
                                                                                             victim identiﬁcation for the seventh consecutive year—a critical need
              smuggling networks are supported by complicit police, military, and
                                                                                             as official understanding of trafficking remained low. Officials did not
              other local authorities. Smugglers, brokers, employers, and others
                                                                                             proactively screen for trafficking nor identify victims among vulnerable
              exploit Thai and migrant workers in labor trafficking in commercial
                                                                                             populations; as a result, they continued to risk penalizing potential
              ﬁshing and related industries, the poultry industry, manufacturing,
                                                                                             trafficking victims for crimes traffickers compelled them to commit.
              agriculture, domestic work, and street begging. Many workers pay high
                                                                                             Victim protection services continued to draw from established services
              fees to brokers, recruitment agencies, and others before and after they
                                                                                             for gender-based violence (GBV) victims; protection services tailored
              arrive in Thailand. Traffickers often use debt-based coercion, deceptive
                                                                                             to the needs of victims of all forms of trafficking remained inadequate.
              recruitment practices, retention of identity documents and ATM cards,
              illegal wage deductions, physical violence, and other means to subject
              victims to forced labor. Employers conﬁscate workers’ identity documents                TIMOR-LESTE TIER RANKING BY YEAR
              as a means to compel workers to remain in their jobs, especially in                 1
              agricultural plantations, often in addition to paying below the minimum
                                                                                                  2
              wage and failing to provide workers a day off. Workers in the seafood
              processing and ﬁshing sectors increasingly face forced overtime as a             2WL
              result of increasing demand for shelf-stable seafood during the pandemic,           3
              as well as unsafe working conditions.                                                     2015      2016      2017     2018   2019   2020    2021    2022

              Vessel owners, brokers, and senior vessel crew subject Thai, Burmese,
              Cambodian, Vietnamese, and Indonesian men and boys to forced
              labor on Thai and foreign-owned ﬁshing boats. Some are paid little or
              irregularly, incur debts from brokers and employers, work as much as
                                                                                             PRIORITIZED RECOMMENDATIONS:
                                                                                             Increase investigations of trafficking crimes, proactively initiate
              18 to 20 hours per day, seven days a week, and without adequate food,
                                                                                             prosecutions, and convict and punish traffickers, including complicit
              water, or medical supplies. Some boat captains threaten, beat, and drug
                                                                                             officials, in accordance with anti-trafficking laws. • Proactively identify
              ﬁshermen to work longer and sell ﬁshermen drugs as a means to generate
                                                                                             trafficking victims among vulnerable populations, including individuals
              additional debt. Vessel owners conﬁscate the identify documents of
                                                                                             in commercial sex, domestic workers, and migrant workers on ﬁshing
              ﬁshermen without their consent. Some trafficking victims in the ﬁshing
                                                                                             vessels. • Finalize, implement, and train all relevant officials on formal
              sector have difficulty returning home due to isolated workplaces, unpaid
                                                                                             procedures for victim identiﬁcation and employ proper screening
              wages, and the lack of legitimate identity documents or safe means
                                                                                             procedures when encountering vulnerable populations, such as during
              to travel. Employers in ﬁshing and seafood processing often make
                                                                                             raids, upon detention, or prior to initiating deportation. • Develop and
              confusing wage deductions for documentation fees, advances, and
                                                                                             establish SOPs on referring trafficking victims—as distinct from victims
              other charges, making it difficult for workers to account for their wages
                                                                                             of other crimes—to appropriate, specialized care and train officials on
              accurately. Research published in 2019 and 2020 found that between
                                                                                             their use. • Strengthen efforts to ensure officials do not arrest, deport, or
              14 and 18 percent of migrant ﬁshermen were exploited in forced labor
                                                                                             punish victims for unlawful acts traffickers compelled them to commit.
              in the Thai ﬁshing industry, indicating traffickers exploited thousands
                                                                                             • Increase resources for protective services for trafficking victims and
              of workers on ﬁshing vessels.
                                                                                             proactively offer male victims the same services offered to female
              Corruption continues to undermine anti-trafficking efforts. Some               victims. • Fully implement the 2022 anti-trafficking NAP and ﬁnalize
              government officials are directly complicit in trafficking crimes, including   and adequately fund implementation of its extended 2022-2026 action
              through accepting bribes or loans from business owners and brothels            plan. • Improve nationwide law enforcement and victim identiﬁcation
              that exploit victims. Corrupt immigration officials facilitate trafficking     data collection. • Screen for trafficking indicators among Cuban overseas
              by accepting bribes from brokers and smugglers along Thai borders.             workers, including medical professionals.
              Throughout the pandemic, police reportedly increasingly arrested

  542                                                                                                                                        Haiti AR_001023
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 648 of 729




                                                                                                                                                             TIMOR-LESTE
PROSECUTION                                                                   human resources hindered victims’ access to care in rural areas. Article
The government moderately increased law enforcement efforts. Articles         9 of the anti-trafficking law permitted victims to seek compensation
163 and 164 of the criminal code criminalized all forms of labor and sex      for losses and damages incurred as a result of the trafficking crime,
trafficking and prescribed penalties of eight to 20 years’ imprisonment,      but no victims received such beneﬁts during the reporting period.
which were sufficiently stringent and, with respect to sex trafficking,       The government’s policies allowed foreign victims alternatives to their
commensurate with those prescribed for other serious crimes, such             removal to countries where they may face hardship or retribution; it did
as rape. Although some law enforcement and judicial officials were            not provide such assistance during the reporting period.
familiar with trafficking crimes, it was likely that officials continued to   The government implemented regulations and guidance on the 2017
inaccurately classify some trafficking cases as immigration or labor          Law on Preventing and Combating Human Trafficking, which stated
violations. The government collected data on trafficking, but it was not      trafficking victims may not be detained, accused, or judged for having
fully comprehensive. In 2021, the government continued to investigate         entered or resided illegally in Timor-Leste nor for having perpetrated
two trafficking cases involving three alleged perpetrators initiated in       crimes traffickers compelled them to commit. Neither the government
previous reporting periods. The government reported prosecuting               nor civil society partners reported incidents where authorities penalized
seven cases of trafficking, six of which it initiated in previous reporting   trafficking victims for unlawful acts traffickers compelled them to commit.
periods, involving a total of 18 alleged perpetrators. The one case           However, due to a failure to properly screen for and identify trafficking
it initiated in this reporting period—in October 2021—involved ﬁve            indicators, immigration and law enforcement officials may have detained
perpetrators, including a village police officer, prosecuted for child sex    or deported some unidentiﬁed trafficking victims, including during
trafficking; the case was pending at the end of the reporting period.         routine raids on establishments known for commercial sex. Police officials
Of the remaining six cases, courts dismissed four for lack of evidence,       and victim assistance NGOs also reported traffickers coached victims to
one was pending trial, and one resulted in the conviction of two child        state they were voluntarily in commercial sex, which officials reported
sex traffickers under the anti-trafficking law. The court sentenced           made it difficult for them to identify victims during raids. Nevertheless,
one of the traffickers to four years’ imprisonment and the other to           law enforcement officials risked re-traumatizing some victims due to a
ﬁve years’ imprisonment. The government last obtained a trafficking           lack of victim-centered screening procedures.
conviction in 2018. During the previous reporting period, the government
investigated four suspected perpetrators for sex trafficking, but it          PREVENTION
did not initiate any new prosecutions or convict any traffickers. The         The government increased efforts to prevent trafficking. In June 2021,
government acknowledged possible trafficking crimes in the ﬁshing             the government promulgated Decree Law No. 9 that established the
industry in Timor-Leste’s coastal waters and exclusive economic zone          Commission to Combat Trafficking in Persons (KLATU), which was
to the south; however, the government lacked the vessels, training, and       responsible for coordinating the government’s anti-trafficking efforts and
human resources to patrol, inspect, and interdict vessels in its waters       included a representative of civil society to serve as a member. KLATU
and investigate possible trafficking crimes on these vessels.                 has met ﬁve times since its formation, during which it developed a plan
Pandemic-related restrictions, including a state of emergency in effect       to establish a Commission Secretariat and ﬁnalized an anti-trafficking
for half of the reporting period, hindered the government from fully          NAP for 2022 that outlined the government’s various anti-trafficking
providing anti-trafficking trainings to personnel. The Ombudsman for          activities and goals for the year; officials initiated integrating this plan
Human Rights and Justice also conducted anti-trafficking socialization        into the government’s ﬁve-year anti-trafficking NAP for 2022-2026,
trainings to local authorities, communities, and students.                    which KLATU continued to draft at the end of the reporting period.
                                                                              The government allocated $475,000 to anti-trafficking activities in
PROTECTION                                                                    ﬁscal year 2022, a portion of which funded KLATU. The government
The government moderately improved efforts to identify and protect            did not conduct research to assess the human trafficking problem in the
victims. The government identiﬁed one Timorese child sex trafficking          country, nor did it systemically monitor its anti-trafficking efforts. The
victim involved in a prosecution in October 2021; the National Police’s       government did not conduct a country-wide anti-trafficking awareness
Vulnerable Persons Unit and Ministry of Social Solidarity and Inclusion       campaign, but the HIV Commission—under the Ministry of Social
(MSSI) assisted the victim to return to her family after she requested to     Solidarity and Inclusion—incorporated human trafficking issues into HIV/
do so and conducted regular home visits after her return. In comparison,      AIDS socialization and awareness activities for local communities in Dili
during the previous reporting period, the government identiﬁed and            and other municipalities. The government did not have an anti-trafficking
offered protection services to three trafficking victims. Immigration         hotline. Some government agencies utilized screening measures to
and police officials continued to report their ad hoc use of trafficking      address fraudulent labor recruitment practices, but vulnerabilities for
indicators based on the Bali Process to identify victims; however,            Timorese nationals seeking work abroad remained. The government
for the seventh consecutive year, the government did not ﬁnalize or           did not make efforts to reduce the demand for commercial sex acts.
widely disseminate comprehensive, government-wide SOPs for victim
identiﬁcation. While relevant ministries collaborated to share information    TRAFFICKING PROFILE
on trafficking victims, there was no formal referral process; generally,      As reported over the past ﬁve years, human traffickers exploit domestic
authorities based their referral process on the well-established process      and foreign victims in Timor-Leste, and traffickers exploit victims from
used for victims of GBV, which did not address the needs of victims           Timor-Leste abroad. Poor economic conditions and limited educational
of all forms of trafficking. To address this issue, in January 2022, the      opportunities create trafficking vulnerabilities for Timorese nationals,
Ministry of Interior, on behalf of the government, signed a cooperative       in particular women and girls from rural areas; limited economic
agreement with and allocated $300,000 to an international organization        opportunities also create increased trafficking vulnerabilities for LGBTQI+
to conduct trainings on victim identiﬁcation and assistance for police        persons. Traffickers lead Timorese women, girls, and occasionally
and immigration officials in 2022. MSSI reported it maintained technical      young men and boys from rural areas to the capital with the promise
officers in each of the 13 districts of the country that continued to work    of employment or education and exploit them in sex trafficking or
closely with an NGO to provide victims of GBV and trafficking with            domestic servitude. Traffickers exploit Timorese men in forced labor in
assistance, including medical and psychological care, security, and legal     agriculture, construction, and mining. Some Timorese family members
assistance. MSSI did not report any cases of trafficking to the NGO;          place children in bonded household and agricultural labor, primarily
however, the NGO reported it received one victim referral from law            in domestic rural areas but also abroad, to pay off family debts.
enforcement during the reporting period. MSSI reported it had $10,000         Communities affected by HIV/AIDS are believed to be vulnerable to
available to provide for trafficking victims during the reporting period,     trafficking. Traffickers deceive women and teenagers with promises
but the government did not utilize this funding. Despite the availability     of scholarship opportunities or employment in Indonesia, Malaysia,
of care for victims, the quality of care was below international standards    and other countries in the region; often, traffickers take the victim to
and did not adequately address the needs of male trafficking victims.         a different country than promised, withhold their passports, pay them
Furthermore, the greatest level of care was available in Dili and other       little to nothing, and force them into labor, including domestic servitude.
urban areas in the different municipalities, as limited infrastructure and    Frequently, Timorese victims overseas ﬁrst transit through the porous

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           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 649 of 729
TOGO   border with Indonesia; some remain and are exploited in Indonesia.            and regional organizations. • Provide training and institutional support
       Some routes used by smugglers along the Indonesia-Timor-Leste                 to law enforcement and judicial officials to increase their ability to
       border are also possible routes used by traffickers. Immigration and          effectively investigate and prosecute trafficking cases; disseminate
       police officials and civil society representatives reported in 2020 and       trafficking indicator documents to all police stations. • Designate focal
       2021 that trafficking of foreign victims through legal points of entry,       points within the Ministry of Interior and Gendarmerie to coordinate and
       such as airports, ports, and official land border crossings, had likely       lead anti-trafficking law enforcement efforts. • Enact anti-trafficking
       decreased due to the government’s increased scrutiny of those entering        legislation that includes provisions for victim protection, including witness
       the country due to pandemic-related limitations on the entry of both          protection in the law enforcement and judicial process, as well as the
       Timorese and foreign arrivals. Due to these ongoing pandemic-related          provision of shelter, medical care, and psychosocial services. • Work
       restrictions and the state of emergency throughout most of 2021, reports      with NGOs and international organizations to increase the accessibility
       of irregular movement across the porous land border with Indonesia            to shelter and provision of protective services to all trafficking victims. •
       increased. Some civil society contacts believed that perpetrators of          Organize anti-trafficking outreach campaigns in collaboration with civil
       human trafficking may have used these informal routes due to increased        society to raise awareness of trafficking. • Develop a data collection and
       scrutiny at legal points of entry. Sex traffickers in Timor-Leste target      information management system to organize law enforcement and victim
       foreign women from East and Southeast Asia. Transnational traffickers         referral data, in collaboration with NGOs and international organizations.
       may be members of Indonesian or People’s Republic of China (PRC)              • Increase efforts to distribute birth certiﬁcates and national identity
       national organized crime syndicates, which rotate foreign victims of sex      documents to citizens to reduce their vulnerability to trafficking. • Given
       trafficking in and out of the country for the length of a 30-day tourist      signiﬁcant concerns about forced labor indicators in Cuban international
       visa to avoid raising the suspicions of law enforcement officers through      work programs, screen Cuban overseas workers, including medical
       visa overstay violations. Traffickers also recruit Timorese women, send       professionals, and refer trafficking victims to appropriate services.
       them to the PRC, Indonesia, or Malaysia, and force them into commercial
       sex. Police accept bribes from establishments involved in trafficking or      PROSECUTION
       from traffickers attempting to cross borders illegally. Traffickers exploit   The government maintained law enforcement efforts. Articles 317
       foreign ﬁshing crews in forced labor on foreign-ﬂagged vessels that           through 320 of the penal code criminalized sex trafficking and labor
       transit Timor-Leste waters. Each year, the Cuban government sends             trafficking and prescribed penalties of 10 to 20 years’ imprisonment
       thousands of workers, including medical workers, around the globe             and ﬁnes between 10 million and 50 million West African CFA francs
       under multi-year cooperation agreements negotiated with receiving             (FCFA) ($17,190 and $85,930) for offenses involving an adult victim
       countries. Observers have expressed serious concerns of exploitation          and 20 to 30 years’ imprisonment and ﬁnes between 20 million and
       and forced labor within Cuba’s overseas labor export program; some            50 million FCFA ($34,370 and $85,930) for offenses involving a child
       former participants assert that the Cuban government coerced them to          victim. These penalties were sufficiently stringent, and with regard
       remain in the program. There were approximately 100 Cuban medical             to sex trafficking, commensurate with penalties prescribed for other
       workers in Timor-Leste in 2020; they may have been forced to work             serious crimes, such as rape.
       by the Cuban government.
                                                                                     The Ministry of Justice’s anti-trafficking unit reported investigating 60
                                                                                     cases, compared with investigating 63 cases in 2020. Officials reported
                                                                                     prosecuting 43 cases with 51 suspects, compared with prosecuting 54

        TOGO: TIER 2                                                                 suspects in 2020. The government convicted seven traffickers, compared
                                                                                     with no convictions during the previous reporting period. Observers
                                                                                     noted the Assize Court system, which handles all trafficking cases, had a
       The Government of Togo does not fully meet the minimum standards for          substantial backlog of cases, which deterred victims from participating
       the elimination of trafficking but is making signiﬁcant efforts to do so.     in judicial proceedings and resulted in some victims waiting years for
       Despite the documented impact of the pandemic on the government’s             their cases to be adjudicated. The lack of coordination between law
       anti-trafficking capacity, the government demonstrated overall increasing     enforcement and victim care providers hindered the government’s
       efforts compared to the previous reporting period; therefore Togo             ability to prosecute cases. The absence of designated focal points for
       remained on Tier 2. Togolese authorities convicted more traffickers           trafficking issues in the Gendarmerie and Ministry of Interior hindered
       than previous years, continued an awareness raising campaign, and             law enforcement cooperation. Lack of witness protection programs
       established a new national anti-trafficking committee to coordinate           and legal assistance likely also negatively affected witness cooperation.
       efforts. However, the government did not meet the minimum standards           The government did not report any investigations, prosecutions, or
       in several key areas. Authorities identiﬁed fewer child victims and did       convictions of government employees complicit in human trafficking
       not identify any adult victims. The government also did not update its        crimes, although judicial corruption may have hindered some trafficking
       national action plan (NAP) for the 14th consecutive year.                     investigations. In past years, officials reported adjudicating some forced
                                                                                     child labor cases through informal mediation processes.

               TOGO TIER RANKING BY YEAR                                             The government continued to provide written instructions on victim
           1                                                                         identiﬁcation to its law enforcement and immigration officials through
                                                                                     the course of their basic training. The government partnered with an
           2
                                                                                     international organization to provide anti-trafficking training to judicial
         2WL                                                                         police officers. Observers stated in past years that frequent turnover
           3                                                                         hindered the development of some law enforcement units’ institutional
                 2015      2016      2017   2018   2019   2020     2021     2022     knowledge. Officials did not report utilizing the country’s 2019 tripartite
                                                                                     agreement with Benin and Burkina Faso to synchronize law enforcement
                                                                                     efforts on transnational trafficking cases during the reporting period,
                                                                                     although the pandemic hindered effective implementation.
       PRIORITIZED RECOMMENDATIONS:
       While maintaining the current stringent penalties Togo’s law calls for,       PROTECTION
       allow courts outside of the Assize Court system to hear trafficking cases     The government maintained weak protection efforts. For the second
       to expedite adjudication of pending and future cases. • Update the            consecutive year, the government identiﬁed fewer trafficking victims
       existing victim referral manual to include standard operating procedures      than the previous year. The Ministry of Social Affairs’ (MSA) Child
       (SOPs) for victim identiﬁcation among adults and high-risk populations,       Protection Director General reported the government identiﬁed 23
       and train law enforcement, justice sector personnel, and community-           child trafficking victims (one boy and 22 girls) and no adult victims,
       based child protection organizations on those procedures. • Draft,            compared with 132 child victims and 43 adult victims in 2020. The Child
       resource, and implement an updated NAP that incorporates adult                Protection Directorate General reported officials intercepted children at
       victims and increases coordination with NGOs, neighboring countries,          Togo’s border destined for Nigeria, Gabon, Benin, and Burkina Faso, but

544                                                                                                                                Haiti AR_001025
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 650 of 729




                                                                                                                                                             TOGO
it did not provide information on the number of children intercepted,         return child trafficking victims to Togo. Observers noted a lack of ﬁnancial
compared with 250 children intercepted during the prior reporting             resources limited CNARSEVT’s effectiveness. The government has not
period. Government officials reported movement restrictions due to            updated its anti-trafficking NAP since 2008. In 2020, officials ﬁnalized
the pandemic may have hindered victim identiﬁcation efforts. NGOs             Togo’s ﬁve-year NAP on child labor, which partially addressed trafficking.
and international organizations reported identifying 419 victims during       The government continued a national awareness raising campaign,
the reporting period, which included 417 children (316 girls and 101          promoting it with print, radio, and community dialogue components,
boys) and two adult women. Law enforcement, immigration, and social           which included information on child trafficking. However, the campaign’s
service personnel used a written manual, last updated in 2012, to identify    reach was limited due to pandemic-related travel restrictions, including
and refer victims to services in coordination with NGOs; however, the         border closures and periodic curfews, and ﬁnancial constraints resulting
manual did not include SOPs for identifying victims among high-risk           from the diversion of resources to pandemic-mitigation efforts. Protection
populations, such as women in commercial sex. The MSA continued to            committees comprised of local, traditional, community, and religious
run a toll-free hotline for reporting child abuse, which operated 16 hours    leaders existed in 116 municipalities and six administrative regions.
per day, seven days a week. Officials reported identifying 12 child victims   These committees occasionally reported suspected trafficking cases
from hotline tips during the reporting period, compared with 13 child         to government officials.
victims during the previous reporting period. The MSA provided cell
                                                                              Despite past allegations of fraudulent recruiters facilitating the
phones to Allo 10-11’s network of 150 contacts to facilitate nationwide
                                                                              exploitation of Togolese abroad, authorities did not report investigating
coverage and utilized an informal referral system when callers identiﬁed
                                                                              any foreign labor recruiters for trafficking crimes. The Ministries of Labor
potential victims.
                                                                              and Social Action regulated labor recruitment ﬁrms, including foreign
The government reported providing psychological support, food,                recruiters, but the government’s weak information management systems
clothing, and health care to 11 victims, compared with providing services     hindered its ability to provide enforcement statistics. The government
to 48 child victims in 2020. While the government ran a shelter for           worked to reduce the demand for forced child labor by continuing
vulnerable children, including child trafficking victims, there were          to partner with traditional religious leaders to eliminate exploitation
no shelters speciﬁcally for adult trafficking victims, severely limiting      in religious “apprenticeships,” which involve parents entrusting their
their access to care and justice. Instead, the government referred            children to religious leaders for education and employment purposes,
adult trafficking victims to a center intended for victims of natural and     who exploit them in forced domestic work or sexual slavery when
humanitarian disasters. The MSA continued to operate the Reference            parents are unable to pay “apprenticeship fees.” The government
Center for the Guidance and Care of Children in a Difficult Situation         employed 123 labor inspectors who conducted 651 inspections in the
(CROPESDI). The CROPESDI shelter, located in Lomé, received victims           ﬁrst half of 2021, but it did not report whether any inspections identiﬁed
referred by the national child abuse hotline and provided shelter, as         child trafficking. The government did not report providing training
well as legal, medical, and social services, before transferring them to      on identifying human trafficking cases to labor inspectors. Financial
care facilities managed by NGOs. The government did not report how            constraints, including lack of funds for fuel, limited the effectiveness of
many child trafficking victims the shelter served. Observers reported         inspections. The government currently registers approximately half of all
the lack of shelter options for adult victims adversely impacted efforts      children at birth, though the percentage is lower in rural areas; the lack
to investigate potential cases; in some cases, officers reported using        of identiﬁcation documents contributed to an increased vulnerability
their own resources for shelter and basic necessities for adult victims,      to trafficking in persons.
which disincentivized some police from pursuing viable cases. The
                                                                              The government did not take any discernible measures to reduce the
government reportedly offered foreign trafficking victims the same
                                                                              demand for commercial sex acts. Officials provided anti-trafficking
access to shelters as domestic victims and performed a risk evaluation
                                                                              training to Togolese troops prior to their deployment abroad on
before it repatriated potential victims. The government identiﬁed and
                                                                              international peacekeeping missions. Although not explicitly reported as
assisted an NGO in the repatriation of ten Ghanian children.
                                                                              human trafficking, there was one open case of alleged sexual exploitation
For the third consecutive year, the government allocated 18 million           with trafficking indicators by a Togolese peacekeeper deployed to the
FCFA ($30,940) to efforts combatting child trafficking, of which it           UN peacekeeping mission in Mali in 2020; the UN substantiated the
designated 11 million FCFA ($18,910) for victim care. The government          allegations and repatriated the offender. The government had not yet
additionally committed to providing 600,000 FCFA ($1,030) to each             reported the accountability measures taken, if any, by the end of the
of the six NGO shelters that it supported but did not report if these         reporting period. The Ministry of Foreign Affairs provided its diplomats a
funds were dispersed by the end of the reporting period. In 2020, the         guide to hiring domestic workers but did not report delivering trafficking-
government formed a 5,000-person taskforce to enforce the country’s           speciﬁc training.
state of emergency due to the COVID-19 pandemic; the participation of
officials with anti-trafficking responsibilities in the taskforce continued   TRAFFICKING PROFILE
to limit the government’s ability to implement protection efforts. The        As reported over the past ﬁve years, human traffickers exploit domestic
government did not have a formal process to encourage victims’                and foreign victims in Togo, and traffickers exploit victims from Togo
participation in the investigation and prosecution of their traffickers       abroad. While travel restrictions intended to slow the spread of the
and did not report providing protection services to adult victims who         pandemic may have decreased transnational human trafficking,
testiﬁed during court proceedings. Due to a lack of comprehensive             restrictions such as curfews imposed on the population—and the
identiﬁcation procedures, authorities may have detained or deported           resulting deleterious economic impacts on livelihoods for individuals
some unidentiﬁed trafficking victims.                                         in the service and retail sectors—likely increased the vulnerability of
                                                                              many Togolese to exploitation during the reporting period.
PREVENTION                                                                    Most trafficking victims are children from economically disadvantaged
The government increased efforts to prevent trafficking in persons. The
                                                                              families in rural areas. Traffickers force men and boys to work in
government established the National Commission Against Trafficking in
                                                                              agriculture, quarries, and mechanical and carpentry shops. Women
Persons (CNLTP) in 2021 and appointed the Commission’s 13 members,
                                                                              and girls are forced to work in markets, domestic service, bars and
including two members from civil society organizations, in January
                                                                              restaurants, and in commercial sex. Victims exploited in foreign countries
2022. The Commission began holding meetings in January. The Ministry
                                                                              are most often sent by land to Ghana, Benin, Burkina Faso, and Nigeria
of Social Action’s General Director of Child Protection chaired the
                                                                              and via ship to Gabon. Togolese and other West African trafficking
Commission and was responsible for coordinating the government’s
                                                                              victims are also sent through Togo to the Middle East. Observers noted
anti-trafficking policies and programs. The National Committee for
                                                                              an increase in adult male and female trafficking victims working in
the Reception and Social Reintegration of Child Victims of Trafficking
                                                                              Nigerian and Ivorian plantations. Families and trusted intermediaries
(CNARSEVT) acted as the government’s central hub of information
                                                                              take advantage of high levels of poverty throughout the country to
and statistics for child trafficking in Togo, gathering data for the annual
                                                                              exploit many Togolese trafficking victims, with the Centrale, Kara,
trafficking in persons report to ECOWAS. CNARSVET serves as the
                                                                              and Savanes regions serving as primary source regions. NGOs and
primary point of contact for NGOs and international organizations to
                                                                                                                                Haiti AR_001026              545
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 651 of 729
TONGA   government officials reported markets selling Togolese children for               PROSECUTION
        commercial sex acts (“small girls markets” or devissime) exist in Lomé            The government continued to make negligible anti-trafficking law
        and elsewhere in the country. Traffickers force Togolese children to              enforcement efforts; however, natural disasters and the pandemic
        work in the agricultural sector—particularly on coffee, cocoa, and cotton         signiﬁcantly impacted the capacity of the government to implement
        farms—as well as in stone and sand quarries.                                      anti-trafficking activities during the reporting period. The Counter
        In past years, the western border of the Plateau region, which provides           Terrorism and Transnational Organised Crime Act of 2013 did not
        easy access to major roads between Lomé and Accra, Ghana, served                  criminalize all forms of trafficking because it required transnationality
        as a primary area traffickers used to transport victims. NGOs noted the           to constitute a trafficking offense. Additionally, inconsistent with the
        Abidjan-Lagos corridor remains a prominent route for cross-border                 deﬁnition of trafficking under international law, the law did not include
        trafficking of persons—as well as the smuggling of illicit goods—with             force, fraud, or coercion as an essential element of the crime. The law
        criminals using Togo as a transit country. Civil society actors and law           prescribed penalties of up to 15 years’ imprisonment for trafficking
        enforcement officers reported the country’s rise as a regional economic           offenses involving adult victims and 20 years’ imprisonment for offenses
        and logistics hub has led to a corresponding increase in human trafficking        involving children; these penalties were sufficiently stringent and, with
        and migrant smuggling. Observers stated trafficking networks are                  respect to sex trafficking, commensurate with penalties for other serious
        predominantly community-based and loosely organized by local actors,              crimes, such as rape.
        while syndicates with ties to the Middle East are more organized.                 The government did not investigate any potential trafficking cases for
        Traffickers recruit children from Benin and Ghana and transport them              the third consecutive year. Since convicting its ﬁrst trafficker in April
        to Togo for forced labor. Illicit networks exploit Ghanaian girls in sex          2011, the government has not prosecuted or convicted any traffickers.
        trafficking in Togo. In past years, many Togolese adults and children             Law enforcement reported language barriers and resource limitations
        migrated in search of economic opportunities to Benin, Burkina Faso,              impacted their ability to investigate trafficking. The government did not
        Mali, and Niger, where criminal elements may exploit them in forced labor         report if the Tongan police force continued to provide anti-trafficking
        and sex trafficking. Traffickers force victims to work in cocoa harvesting        training for new police recruits. Government officials participated in
        in Ghana and Cote d’Ivoire; palm wine production and other agriculture            a foreign government-funded training on collecting and reporting
        sectors in rural Nigeria; gold mining in Burkina Faso; domestic service           trafficking data. The government did not report any investigations,
        in urban Nigeria; and sex trafficking in Beninese and Nigerian bars and           prosecutions, or convictions of government employees complicit in
        restaurants. Officials noted sex tourists from Lebanon, France, and               trafficking offenses.
        Nigeria have exploited children in Togo during previous years, although
        pandemic-related travel restrictions likely minimized these risks for most        PROTECTION
        of the reporting period. Cuban nationals working in Togo on medical               The government maintained weak victim protection efforts and did
        missions may be forced to work by the Cuban government.                           not take steps to proactively identify victims. Since the government’s
                                                                                          identiﬁcation of four potential trafficking victims in 2015, the government
                                                                                          has not identiﬁed any victims of trafficking. The government did not
                                                                                          develop or employ systematic procedures for victim identiﬁcation among
         TONGA: TIER 2 WATCH LIST                                                         at-risk groups, such as migrant workers or women in commercial sex. The
                                                                                          government had procedures to refer victims of crime, including potential
                                                                                          trafficking victims, to an NGO, but did not use the procedures during
        The Government of Tonga does not fully meet the minimum standards                 the year. Due to a lack of formal identiﬁcation procedures, authorities
        for the elimination of trafficking but is making signiﬁcant efforts to do         likely detained, arrested, or deported some unidentiﬁed trafficking
        so. These efforts included providing funding to an NGO available to               victims. The public’s distrust of Tongan courts, as well as low levels of
        assist trafficking victims. However, the government did not demonstrate           understanding of human trafficking, likely contributed to the absence
        overall increasing efforts compared with the previous reporting period,           of identiﬁed victims. The government continued to provide an unknown
        even considering the impact of the COVID-19 pandemic on its anti-                 amount of funding to an NGO for operations to assist adult female and
        trafficking capacity. The government did not identify any victims,                child victims of crime, including shelter, counseling, and legal services.
        develop procedures to identify them, or investigate any cases of                  Although authorities did not identify any victims during the year, adult
        trafficking. Therefore Tonga remained on Tier 2 Watch List for the                female and child victims of trafficking were eligible for these services.
        second consecutive year.                                                          There were no shelter facilities available to male victims older than
                                                                                          14; however, male counselors were available to assist male victims of
                                                                                          any age. Under the immigration act, the principal immigration officer
                 TONGA TIER RANKING BY YEAR
                                                                                          had broad discretionary authority to grant permits to victims to stay
             1
                                                                                          in the country for any length of time necessary for their protection.
             2                                                                            Victims could receive asylum in Tonga if they feared retribution or
          2WL                                                                             hardship in their country of origin, though no trafficking victim has
                                                                                          ever requested asylum.
             3
                    2015     2016      2017   2018    2019    2020     2021     2022
                                                                                          PREVENTION
                                                                                          The government maintained minimal efforts to prevent trafficking. The
                                                                                          Ministry of Police’s trafficking task force was responsible for leading
        PRIORITIZED RECOMMENDATIONS:                                                      anti-trafficking efforts. The government did not have a national action
        Develop and fully implement procedures for proactive identiﬁcation                plan, which reportedly continued to hinder governmental anti-trafficking
        of trafficking victims among vulnerable groups. • Increase efforts to             coordination. The government did not conduct awareness campaigns.
        proactively investigate and prosecute trafficking crimes. • Amend                 Authorities provided brieﬁngs to Tongans participating in seasonal
        trafficking laws to criminalize all forms of trafficking in line with the         worker programs overseas, which included information on workers’ rights.
        deﬁnition under international law, including such crimes lacking cross-           Under Tongan law labor, recruiters and brokers who used fraudulent
        border movement. • Develop, adopt, fund, and implement a national                 recruitment methods were liable to up to 10 years’ imprisonment, but
        action plan. • Utilize the Asian liaison position to facilitate proactive         the government did not report if it monitored or held any recruiters and
        identiﬁcation of foreign victims and their referral to care. • Provide explicit   brokers liable for fraudulent recruitment during the reporting year. The
        protections and beneﬁts for trafficking victims, such as restitution, legal       government did not make efforts to reduce the demand for commercial
        and medical beneﬁts, and immigration relief. • Develop and conduct                sex acts. The government did not provide anti-trafficking training to its
        anti-trafficking information and education campaigns. • Accede to the             diplomatic personnel. Tonga is not a party to the 2000 UN TIP Protocol.
        2000 UN TIP Protocol.


 546                                                                                                                                   Haiti AR_001027
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 652 of 729




                                                                                                                                                                 TRINIDAD AND TOBAGO
TRAFFICKING PROFILE                                                              NAP for 2021-2023. • Provide adequate funding for robust trafficking
As reported over the past ﬁve years, some Tongan and foreign individuals         investigations and victim services, including accommodations. • Train
are vulnerable to trafficking in Tonga, and some Tongans are vulnerable          law enforcement and prosecutors in proactively identifying, obtaining,
to trafficking abroad. As a result of the government’s pandemic-related          preserving, and corroborating evidence of trafficking. • Improve
mitigation efforts, entry into Tonga was severely restricted. East Asian         cooperation between the Counter Trafficking Unit (CTU), prosecutors,
women, especially those from the People’s Republic of China (PRC), who           the judiciary, and NGOs to increase the number of cases that proceed
are recruited from their home countries for legitimate work in Tonga and         to trial. • Strengthen oversight, regulation, and inspections of private
often pay excessive recruitment fees, are vulnerable to sex trafficking          labor recruitment agencies and domestic work locations, including by
in clandestine establishments operating as legitimate businesses.                appointing a license officer. • Increase trauma-informed training on
Some Tongan women and children are vulnerable to forced labor in                 trafficking for NGO, shelter, social services, and law enforcement staff to
domestic work. Tongan children were vulnerable to sex trafficking.               improve their ability to identify and care for potential trafficking victims.
Reports indicate Fijians working in the domestic service industry in
Tonga experience mistreatment indicative of labor trafficking. PRC               PROSECUTION
nationals working in construction on government infrastructure projects          The government increased prosecution efforts, but official complicity
in Tonga were vulnerable to labor trafficking. Tongan adults working             remained a signiﬁcant concern. The Trafficking in Persons (TIP) Act of
overseas, including in Australia and New Zealand, are vulnerable to labor        2011 criminalized sex trafficking and labor trafficking and prescribed
trafficking, including through withholding of wages and excessive work           penalties of no less than 15 years’ imprisonment and a ﬁne of no less
hours. Some Tongan seasonal workers unable to leave Australia due to             than 500,000 Trinidad and Tobago dollars (TTD) ($73,980) for offenses
pandemic-related border closures subsequently become vulnerable to               involving an adult victim and no less than 20 years’ imprisonment and
exploitation. Employers rush some workers to sign employment contracts           a ﬁne of no less than 1 million TTD ($147,950) for those involving a child
they may not fully understand, and others are unable to retain copies            victim. These penalties were sufficiently stringent and, with respect
of their contracts, exacerbating the potential for employers to exploit          to sex trafficking, commensurate with penalties prescribed for other
these workers in labor trafficking.                                              serious crimes, such as rape. The government reported it prepared draft
                                                                                 legislation in December 2020 to increase the penalties for trafficking,
                                                                                 including for public officials complicit in trafficking crimes; the draft
                                                                                 legislation remained pending with the Ministry of National Security at
 TRINIDAD AND TOBAGO: TIER                                                       the end of the reporting period.
                                                                                 The CTU investigated 23 new trafficking cases in 2021 under the TIP
 2 WATCH LIST                                                                    Act, including nine for sex trafficking, ﬁve for labor trafficking, and
                                                                                 nine for unspeciﬁed trafficking-related crimes. This compares with 12
The Government of Trinidad and Tobago does not fully meet the minimum            cases in 2020 (nine for sex trafficking and three for labor trafficking);
standards for the elimination of trafficking but is making signiﬁcant            the government continued 11 sex trafficking investigations from prior
efforts to do so. These efforts included increasing investigations and           reporting periods. The government initiated prosecution of 15 suspected
prosecutions, identifying more victims, and expanding training to                sex traffickers, including three police officers, compared with prosecuting
a broader range of stakeholders. However, the government did not                 two alleged sex traffickers in 2020. The government continued the
demonstrate overall increasing efforts compared to the previous reporting        prosecution of 51 alleged sex traffickers begun in previous reporting
period, even considering the impact of the COVID-19 pandemic on its              periods, compared with 11 in 2020. Of the total number of new and
anti-trafficking capacity. The government has never convicted a trafficker       ongoing cases, the government prosecuted 10 defendants including
under its 2011 anti-trafficking law. Corruption and official complicity          two police officers under the TIP Act and 15 defendants including three
in trafficking crimes remained signiﬁcant concerns, inhibiting law               police officers under other laws, including the Immigration Act, the
enforcement action, and the government did not take action against               Anti-Gang Act, and the Children’s Act. The government did not report
senior government officials alleged in 2020 to be involved in human              convicting any traffickers in 2021 and has not convicted any traffickers
                                                                                 since the enactment of the 2011 TIP Act.
trafficking. Victim identiﬁcation and services remained weak, and the
government did not formally adopt the National Action Plan (NAP) for             Corruption and official complicity in trafficking crimes remained
2021-2023. Therefore Trinidad and Tobago remained on Tier 2 Watch                signiﬁcant concerns, inhibiting law enforcement action during the year.
List for the second consecutive year.                                            The government did not take action against senior government officials
                                                                                 alleged in 2020 to be involved in trafficking. Authorities continued an
                                                                                 investigation of two dozen police officers allegedly involved in trafficking
        TRINIDAD & TOBAGO TIER RANKING BY YEAR
                                                                                 begun in the previous reporting period. The government reported none
    1
                                                                                 of these police investigations moved to prosecution. The government
    2                                                                            continued prosecution of three police officers for trafficking crimes.
  2WL                                                                            The prosecutions initiated against three police officers during the
                                                                                 current reporting period involved two cases. In April 2021, authorities
    3
          2015      2016      2017     2018      2019   2020   2021    2022      charged a customs and border officer under the Immigration Act for
                                                                                 aiding and abetting the illegal entry of a Venezuelan migrant, and an
                                                                                 investigation—including into whether the case involved trafficking—
                                                                                 remained pending. In December 2021, authorities brought charges
                                                                                 against two police officers for offenses under the TIP Act, the Children’s
PRIORITIZED RECOMMENDATIONS:
                                                                                 Act, and the Anti-Gang Act for aiding and abetting the illegal entry of
Increase efforts to investigate, prosecute, and convict traffickers, including
                                                                                 a Venezuelan female migrant who was subsequently identiﬁed as a
complicit officials and staff. • Increase proactive victim identiﬁcation,
                                                                                 trafficking victim. Courts released the alleged traffickers on 300,000
screening, and protection among vulnerable communities, including
                                                                                 TTD ($44,390) bail.
migrants, asylum-seekers, and refugees, especially Venezuelans. • Ensure
victims are not penalized for unlawful acts traffickers compelled them           The CTU, a specialized anti-trafficking police unit within the Ministry
to commit. • Strengthen rules and regulations to ensure immigration              of National Security, had the sole mandate for investigating trafficking
enforcement does not hinder human trafficking detection, criminal law            cases. The CTU was responsible for trafficking investigations in all
enforcement, or victim protections. • Ensure trafficking is investigated         jurisdictions but lacked sufficient funding, staffing resources, and
and prosecuted using the anti-trafficking law and not as other or lesser         expertise to adequately fulﬁll its mandate; the government reassigned
crimes. • Implement a formalized protocol and a functioning and active           officials from other agencies to assist the CTU. The Children’s Authority
coordinating committee for victim care. • Improve the quality of victim          of Trinidad and Tobago (CATT) referred cases involving children to the
care—especially for children—and increase bilingual services. • Reduce           CTU and the Child Protection Unit of the police for investigation; the
judicial backlog. • Approve, fund, and implement the anti-trafficking
                                                                                                                                   Haiti AR_001028               547
                          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 653 of 729
TRINIDAD AND TOBAGO   CATT and the Ministry of National Security maintained a Memorandum               The government cooperated with the Maduro regime in Venezuela and an
                      of Understanding that facilitated coordination on trafficking cases. The         international organization to target a transnational trafficking network,
                      Child Protection Unit developed referral and management procedures               resulting in prosecution of three suspected traffickers. The government
                      for cases received from the CTU and the Immigration Division, which              established a law enforcement liaison with a foreign government. Law
                      remained pending ﬁnalization at the end of the reporting period.                 enforcement initiated an investigation based on information received
                                                                                                       from an international organization. The government also continued to
                      Evidence collection for trafficking investigations remained a signiﬁcant
                                                                                                       cooperate with another country on a trafficking case from a previous
                      problem. Police did not obtain sufficient evidence from victim-witnesses
                                                                                                       reporting period.
                      before their repatriation. The CTU also reported challenges in obtaining,
                      preserving, and authenticating other evidence, such as using cell phones         The government provided anti-trafficking training to the police,
                      or ﬁnancial data to corroborate trafficking network affiliations to add          intelligence community, national security agency, immigration
                      charges under existing gang and money-laundering laws. Observers                 department, Coast Guard, CATT, Ministry of Education, the Caribbean
                      noted poor interagency coordination resulted in weaker law enforcement           Financial Action Task Force, the Global Financial Task Force, and NGOs
                      and prosecution case management. NGOs reported that the CTU failed               on the law, case studies, improving government-NGO cooperation, and
                      to act on trafficking crime tips.                                                surveillance. The government also provided Spanish-language training
                                                                                                       to four CTU contract staff members.
                      The CTU referred trafficking cases to the Director of Public Prosecutions
                      and the judiciary for hearings and trial. Observers noted authorities
                      did not pursue a prosecution if the victims were not willing to testify
                                                                                                       PROTECTION
                                                                                                       The government maintained limited protection efforts. The government
                      against an alleged trafficker. Courts continued to have a backlog and
                                                                                                       identiﬁed 80 trafficking victims; 46 were exploited in sex trafficking, two
                      often took ﬁve to 10 years to resolve cases, including trafficking cases,
                                                                                                       were exploited in labor trafficking, and 32 were for unspeciﬁed exploitation.
                      despite adopting justice system reforms in 2019 to address the problem.
                                                                                                       This compares with six identiﬁed trafficking victims in 2020 and 34 in
                      Observers noted the judiciary’s broad discretion and inconsistency in
                                                                                                       2019. All 46 sex trafficking victims were Venezuelan, including 21 women
                      granting bail, as well as reports of fraud and corruption within the bail
                                                                                                       and 25 girls. The labor trafficking victims were both Indian men. Reports
                      process, engendered concomitant recidivism, victim re-traumatization,
                                                                                                       suggested some unidentiﬁed victims feared retaliation from authorities,
                      and a perception of impunity. Magistrates Courts with specialized
                                                                                                       including during police raids, trials, and interdiction operations involving
                      trafficking divisions heard preliminary inquiries for trafficking cases, after
                                                                                                       Venezuelan migrants. The CTU was the primary entity responsible for
                      which a case would move to jury trials in the High Court. Authorities
                                                                                                       identifying victims, and it used existing screening protocols. NGOs
                      prosecuted child trafficking cases in child care courts. As a result of the
                                                                                                       identiﬁed one of the adult female Venezuelan victims and referred her to
                      pandemic, prosecutions continued entirely virtually. Police could collect
                                                                                                       the CTU. However, NGOs also referred another adult Venezuelan victim to
                      victims’ written statements as testimony and use them in trials. Due to
                                                                                                       the CTU, which denied the identiﬁcation due to a lack of shelter space; an
                      the pandemic, the High Court held no jury trials, which were required for
                                                                                                       NGO subsequently provided groceries and shelter. Observers noted the
                      trafficking cases; the court held some judge-only trials in person. The
                                                                                                       government’s victim statistics were not reliable. Experts noted working-
                      pandemic delayed investigations as the Ministry of Health quarantined
                                                                                                       level staff at NGOs and shelters required more training on trafficking
                      some victim-witnesses. The pandemic affected investigative capacity,
                                                                                                       indicators to better identify potential trafficking victims.
                      especially of the CATT, as staff tested positive for the COVID-19 virus
                      or remained in quarantine.                                                       Authorities provided some assistance to 54 victims, compared with 70
                                                                                                       potential victims in 2020. The government could provide medical care;
                      The country’s oversight bodies and outside observers consistently alleged
                                                                                                       accommodation; basic necessities for adults; language classes and life
                      that law enforcement and security officials continued to be complicit
                                                                                                       skills training; psychosocial support; pre-natal care and parenting classes;
                      in trafficking. A study funded by a foreign organization and conducted
                                                                                                       support for family members; access to social workers; interpretation and
                      by a foreign company reported that 10 percent of the police force was
                                                                                                       translation services; drug rehabilitation; pandemic response support; and
                      under active investigation for misconduct, including trafficking. In cases
                                                                                                       passport support. Observers noted that in some cases victims received
                      of alleged official complicity, the Police Complaints Authority (PCA)
                                                                                                       few of these available services and government care was haphazard
                      could receive a complaint against one of the investigating or other
                                                                                                       and inferior to care provided by an international organization. An NGO
                      police officers involved in the enquiry and require the intervention of the
                                                                                                       provided shelter services to one victim. NGOs reported reluctance to
                      Director of Public Prosecutions via consultation. Authorities reported
                                                                                                       provide shelter or services to foreign victims in irregular status who were
                      the Second Schedule of the Proceeds of Crime Act included sexual
                                                                                                       not officially referred by the government, due to possible retaliation
                      exploitation and trafficking as speciﬁed offenses from which forfeitures/
                                                                                                       against the NGO under the Immigration Act. An international organization
                      conﬁscations/money laundering charges could be generated; actions
                                                                                                       reported caring for 60 trafficking and gender-based violence victims
                      taken under the Civil Asset Recovery and Unexplained Wealth laws
                                                                                                       identiﬁed in the current and former reporting periods. The Children
                      required citizens, including public officials, to account for the source
                                                                                                       Court instructed the Children’s Authority on the placement (usually in
                      of their wealth. The government proposed an amendment to the Police
                                                                                                       a Children’s Home), services, and repatriation involving child trafficking
                      Services Act in January 2021 that would allow additional disciplinary
                                                                                                       victims. Child advocates assigned by the state could apply for wardship
                      action, including polygraph testing and dismissal, for officers suspected
                                                                                                       and care court orders on behalf of unaccompanied or separated child
                      to be involved in trafficking; the proposal was pending with the Attorney
                                                                                                       victims. NGOs reported authorities did not provide adult victims the same
                      General at the end of the reporting period. Reports alleged complicit
                                                                                                       level of care, access, and protection as child victims.
                      Coast Guard officials facilitated the entry of women and girls—some
                      of whom may have been trafficking victims—from Venezuela into                    The government reported services were not time-limited or conditional
                      the country, and complicit immigration and customs officers then                 on participation in the prosecution of the trafficker; however, victims
                      ensured the women and girls arrived and received entry. Reports also             who cooperated with an investigation or prosecution would receive
                      alleged police accepted bribes to facilitate transportation of potential         legal aid, transportation, and lodging for themselves and their families.
                      trafficking victims and colluded with brothel, casino, and business              Although the government reported victims used all available services,
                      owners to protect their establishments from police raids. Observers              observers noted that without a standardized program for victim care, the
                      reported tipoffs or notiﬁcations preceded such raids. A civil society            government did not adequately address many of the short- and long-
                      organization continued to report authorities rarely raided some venues           term needs of adult victims. Observers noted that although the Ministry
                      and suggested these venues were connected to corrupt immigration                 of Social Development and Family Services working group ﬁnalized a
                      officials and police officers.                                                   victim care manual, senior government officials had not approved the
                                                                                                       manual by the end of the reporting period.
                      The government adopted an amendment to its Mutual Assistance in
                      Criminal Matters Act, which gave the government broader scope to                 The government reported the CTU had a dedicated budget for victim
                      collaborate with international partners on investigations—including              assistance but did not report the amount, compared with spending 120,000
                      trafficking cases. The government signed a Memorandum of                         TTD ($17,750) in 2020, 120,000 TTD ($17,750) on victim protection and
                      Understanding in November 2021 with Colombia on human trafficking.               assistance in 2019, and 203,100 TTD ($30,050) in 2018. The Ministry of

   548                                                                                                                                               Haiti AR_001029
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 654 of 729




                                                                                                                                                                   TRINIDAD AND TOBAGO
Social Development and Family Services reported providing funding               heightening their risk for trafficking. Observers noted the lack of legal
for NGOs and three statutory boards for victims of trafficking and other        standing for those who illicitly entered the country seeking refuge or
crimes. The Ministry of National Security had an agreement with an              asylum heightened their vulnerability to trafficking. The victims from a
international organization to provide adult victims food and shelter;           May 2021 raid reportedly declined to participate in police operations, and
psycho-social services were provided by third parties. The Ministry of          authorities arrested one victim during the operation. The government
Health assisted foreign trafficking victims and funded the assistance           reported detained migrants, or any individual or organization on their
from its annual budget. The CATT funded advocates for child victims             behalf, could post a security bond equal to the cost of deportation, but
from its general budget. Outside experts noted there was insufficient           observers reported abuse, extortion, and exploitation in the application
government funding and personnel for comprehensive victim care,                 of this process and noted it increased victims’ dependency on traffickers.
including appropriate shelters with adequate staff and security personnel,      Some trafficking victims who lodged complaints against immigration
especially due to the pandemic.                                                 authorities subsequently faced immigration charges that resulted in
                                                                                deportation proceedings, and media reported authorities charged two
The CTU screened migrants for trafficking indicators using a standard
                                                                                immigration officers with procuring and selling forged immigration
form. The government began screening migrants for trafficking indicators
                                                                                documents. The CTU relocated some foreign victims from detention
at an immigration facility in February 2022. The CTU disseminated a
                                                                                facilities to shelters; it repatriated nine victims to Venezuela. According
Pocket Guide for Frontline Officers, which included information on
                                                                                to NGOs, the Coast Guard and local authorities did not implement
identifying victims of trafficking; while the guide was widely available,
                                                                                international best practices and screen detained refugees or asylum-
high-level officials lacked an understanding of trafficking. The CATT,
                                                                                seekers for trafficking indicators. In addition, NGOs asserted the Venezuelan
in consultation with the CTU, immigration services, and CPU, drafted
                                                                                embassy did not render assistance and its involvement in the repatriation
but did not ﬁnalize or implement a new process for identifying child
                                                                                process put individuals at risk if they had a legitimate fear of persecution.
trafficking victims, regardless of nationality or immigration status. The
                                                                                The government did not report measures to monitor Cuban medical
government, in collaboration with an international organization, reviewed
                                                                                professionals for trafficking indicators nor did it put protection measures
and updated the national referral mechanism. The government did not
                                                                                into its agreement with the Cuban government to prevent forced labor.
implement a formalized protocol for victim care; the CTU instead relied
on verbal agreements with different ministries, which observers noted           Foreign adult victims who agreed to cooperate with an investigation could
were inconsistently implemented. The government lacked quality victim           remain in the country for the duration of court proceedings and work
care, including specialized placement facilities for children equipped with     legally; they could apply for permanent residency after the completion
adequate personnel and services and placement facilities for children           of court proceedings. Foreign victims frequently could not return to
transitioning out of the care system. Authorities and an international          their countries of origin because they did not possess valid identiﬁcation
organization also reported victims lacked access to certiﬁed bilingual          or travel documents; in many cases, the traffickers held their original
service providers. Shelters required victims quarantine and be tested           documents. The government offered some immigration relief for potential
for COVID-19 prior to entry, which could take up to two weeks. However,         victims at the end of the previous reporting period by initially extending
the government did not have quarantine facilities speciﬁcally for child         the registration cards for Venezuelan refugees and migrants through July
trafficking victims. The government continued to provide emergency              2021; however, this was only available for 16,523 individuals previously
response to trafficking cases and reported it typically responded within        registered in 2019, not for more numerous recent arrivals. Although the
24 hours following receipt of a report. However, observers noted the            government periodically extended the permits through the end of 2021,
CTU did not respond in a timely manner to cases referred by NGOs,               it closed the process to new applicants following the original registration
international organizations, or others.                                         period and did not renew the permits, which lapsed in 2022. Authorities
                                                                                said the registration card allowed them to work in the country but not
The government did not provide funding for or manage any trafficking
                                                                                obtain other official documents. The Children Court provided protections
speciﬁc shelters. Authorities placed adult female victims in NGO-run
                                                                                for children involved in trafficking cases. Despite progress in court
shelters for victims of gender-based violence, funded by an international
                                                                                procedures allowing victims to testify remotely without being in the same
organization; they placed adult male victims in safe houses operated
                                                                                courtroom as traffickers, many victims eventually preferred to be voluntarily
by the security services. Victims did not have a choice of which shelter
                                                                                deported rather than wait for a case to be brought to trial, which could
to use. Outside experts noted the shelters had strict rules restricting
                                                                                take several years. Observers noted victims were often re-traumatized
movement and communication; these restrictions caused some victims
                                                                                when courts granted bail to alleged traffickers. The anti-trafficking law
to run away from shelters or ask to be repatriated before authorities
                                                                                provided for restitution in trafficking crimes, but courts did not order
completed investigations. The Children’s Authority placed child victims in
                                                                                any restitution during the reporting period. The government established
government-funded children’s homes in the community, which also could
                                                                                standard operating procedures between the CTU and the Criminal Injuries
house children who were criminal offenders. The government consulted
                                                                                Compensation Board, which managed the victim compensation program;
with trafficking survivors to develop a shelter program. The government
                                                                                the procedures were not used due to a lack of convictions. The government
initiated an Alternative Care Program (ACP) and trained its psychologists
                                                                                trained social workers, NGOs, hotline operators, police, and a private
in cooperation with an NGO and an international organization to recruit
                                                                                taxi ﬁrm on trafficking indicators and screening. In February 2022, the
potential foster caregivers, speciﬁcally for foreign children including
                                                                                government published guidelines to reduce second-hand trauma among
potential child trafficking victims. An international organization reported
                                                                                front-line workers interacting with victims.
that some victims requested assistance through local NGOs, private
individuals, government agencies working with Venezuelan migrants,
or through international organizations, which then referred the cases
                                                                                PREVENTION
                                                                                The government increased efforts to prevent trafficking. The National
to the CTU.
                                                                                Task Force Against Trafficking in Persons (task force), which included
The CTU reported victims participated in investigations and prosecutions        10 agencies and ﬁve NGOs, coordinated national efforts. It expanded
against traffickers, and authorities did not detain, ﬁne, or jail potential     its duties to lead the implementation of the draft NAP and collaborated
trafficking victims for unlawful acts traffickers compelled them to commit.     with the CTU on anti-trafficking efforts. The government consulted with
The government reported 48 foreign victims entered the country illegally        NGOs, international organizations, foreign embassies, religious bodies,
due to border closures; observers reported officials did not penalize           a university, and survivors to draft a NAP for 2021-2023 that included
them. However, some observers indicated that following police actions or        efforts to identify official complicity in trafficking crimes; the NAP was still
immigration raids, authorities detained some foreign victims for violating      pending cabinet approval at the end of the reporting period, but agencies
immigration laws without screening for trafficking indicators.                  began its implementation. The government sought the input of survivors
Most victims lacked legal immigration status and feared being referred          in its policies. In June 2021, the Minister of National Security established a
to immigration authorities for detention, ﬁnes, or reprisal from well-          Strategic Working Committee, which met bi-weekly to address policy and
connected traffickers, including allegedly corrupt police and immigration       operational issues affecting the CTU and its partner agencies. Trafficking
officials. A victim’s refugee status did not impact the victim’s legal status   committees and interagency task forces continued to meet during the
in the country, and refugee children could not access public education,         pandemic. The CTU submitted quarterly reports and an annual report to

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              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 655 of 729
TUNISIA   the task force for approval, although the government did not make these        Rico, the Philippines, the People’s Republic of China, India, Nepal, and
          reports available to the public. The government issued press releases and      St. Vincent and the Grenadines. Traffickers are increasingly targeting and
          participated in Parliamentary hearings on trafficking. The government          accompanying vulnerable foreign young women and girls between the ages
          did not provide its overall budget allocations for trafficking for 2021; the   of 15 and 21. LGBTQI+ persons are at risk for sex trafficking. In July 2021,
          last time the government provided a budget, in 2017, it totaled 7 million      30 Cuban medical professionals followed a May 2020 group of 12 Cuban
          TTD ($1.04 million).                                                           medical professionals to the country to assist with pandemic response
                                                                                         efforts. Cuban medical professionals may have been forced to work by
          The CTU operated a 24/7 English-language trafficking hotline, through
                                                                                         the Cuban government. Corruption in police and immigration has been
          which it identiﬁed three victims, referred three individuals for care, and
                                                                                         associated with facilitating labor and sex trafficking. Observers report
          launched four criminal investigations, compared with receiving 47 calls
                                                                                         that law enforcement and security officials are implicated in trafficking,
          and referring one case for investigation in the previous reporting period.
                                                                                         including coast guard officials who facilitate the transit of women and girls
          The police also launched a Spanish version of its mobile phone app to
                                                                                         from Venezuela to the country; immigration and customs officers who
          report crimes. A 24-hour bilingual hotline operated by an NGO identiﬁed
                                                                                         ensure that women and girls arrive and receive entry; and members of the
          one victim. The government publicized the hotline, but an international
                                                                                         police who accept bribes to facilitate transport to houses across the country
          organization reported the hotline was not widely used. Observers noted
                                                                                         and work with brothel owners to protect their establishments from police
          the need for more Spanish-language operators for the hotline. The CTU
                                                                                         raids, particularly in the southern police districts where most Venezuelan
          had a weekly radio program and news column dedicated to trafficking
                                                                                         refugees and displaced persons attempt to enter the country. Transnational
          issues. The government conducted extensive online and in-person outreach
                                                                                         organized crime with a link to megabandas—large criminal gangs with
          in English and Spanish on trafficking awareness, the use of social media
                                                                                         more than 50 members who are part of transnational organized crime
          to recruit victims, and labor rights for both government employees and
                                                                                         networks in Latin America—may increasingly be involved in trafficking.
          the general public.
                                                                                         Traffickers coerce victims into exploiting their friends or associates in
          The Employment Exchange Act prohibited recruitment fees. Labor                 trafficking through fraudulent promises of gainful employment. Trinidad
          recruiters required a license to operate; the licensing officer could accept   and Tobago is likely a sex tourism destination. After the country closed
          as equivalent a license issued by the competent authority of a foreign         its borders in March 2020 due to the pandemic, recruitment shifted to
          country. However, the Ministry of Labor did not report how many recruiters     online platforms, more victims arrived by sea through illegal points of
          authorities had licensed under the Act, and the government had never           entry, and trafficking moved from brothels, spas, salons, and bars to
          appointed a licensing officer. Forced labor cases could be referred to         private, clandestine locations.
          the labor inspectorate for investigation, and the inspectorate met with
          employers about paying employees unpaid wages. The law did not
          differentiate between citizens and foreign employees. Domestic workers
          were covered under the law, but observers noted the oversight and
          regulation of domestic workers remained weak. The Ministry of Labor
                                                                                          TUNISIA: TIER 2
          (MOLSED) did not ﬁnalize a labor migration policy, begun in 2019, that
          included measures to mitigate trafficking. The government trained all labor    The Government of Tunisia does not fully meet the minimum standards
          inspectors to use trafficking screening forms. The government produced         for the elimination of trafficking but is making signiﬁcant efforts to do so.
          online videos to reduce the demand for commercial sex; it also provided a      The government demonstrated overall increasing efforts compared with
          presentation on trafficking to college-age men. The government reported        the previous reporting period, considering the impact of the COVID-19
          its laws allowed for the prosecution of suspected sex tourists for crimes      pandemic, on its anti-trafficking capacity; therefore Tunisia remained
          committed abroad and it developed draft legislation to strengthen the          on Tier 2. These efforts included convicting sex and labor traffickers for
          registration and reporting of sexual offenders; the legislation remained       the ﬁrst time in three years. In addition, the government signiﬁcantly
          pending at the end of the reporting period. The government trained             increased investigations and prosecutions of alleged traffickers. The
          diplomats and other staff at overseas missions on trafficking indicators       government publicly released its national victim identiﬁcation and referral
          and victim identiﬁcation during the ﬁrst quarter of 2022.                      mechanism (NRM), thereby increasing awareness and coordination
                                                                                         among government and civil society stakeholders, and continued to
          TRAFFICKING PROFILE                                                            coordinate with civil society organizations to ensure all identiﬁed victims
          As reported over the past ﬁve years, traffickers exploit domestic and          received appropriate care. However, the government did not meet the
          foreign victims in Trinidad and Tobago, and traffickers exploit victims        minimum standards in several key areas. The government identiﬁed
          from Trinidad and Tobago abroad. Trinidad and Tobago also serves as a          fewer trafficking victims, and access to services was conditioned on
          transit point for Venezuelan refugees and migrants en route to Europe,         official identiﬁcation from a limited number of authorities, thereby
          North Africa, and elsewhere in the Caribbean. The ongoing humanitarian         possibly delaying identiﬁcation and even subjecting unidentiﬁed victims
          crisis in neighboring Venezuela and the economic effects of the pandemic       to penalization for unlawful acts traffickers compelled them to commit.
          have contributed to a large inﬂux of refugees and migrants who are at          While the government provided some services for victims, overall
          high risk for trafficking. An international organization reported more than    government services appropriate for the needs of all trafficking victims
          21,000 foreigners—86 percent Venezuelan and 6 percent Cuban—were               outside of major cities remained limited. Despite training efforts, limited
          registered with the international organization for asylum or refugee           understanding of trafficking among officials and the small number
          status in the country during the reporting period. Trinidad and Tobago         of ministries that could legally identify trafficking victims slowed the
          closed its borders due to the pandemic from March 2020 through July            process for victims to receive care.
          2021, but an international organization reported Venezuelans continued
          to arrive in large numbers on a daily basis. Unaccompanied or separated
          Venezuelan children are at increased risk for sex trafficking. Many victims            TUNISIA TIER RANKING BY YEAR

          enter the country legally via Trinidad’s international airport, while others       1
          enter illegally via small boats from nearby Venezuela. Migrants from the           2
          Caribbean region and from Asia, in particular those lacking legal status,        2WL
          are at risk for forced labor in domestic service and the retail sector. Sex
                                                                                             3
          trafficking victims are women and girls primarily from Venezuela, Colombia,
                                                                                                    2015      2016     2017     2018   2019   2020     2021    2022
          the Dominican Republic, and Guyana; traffickers offer employment in
          brothels and clubs, including via social media—which increased as a result
          of the pandemic—along with advertisements in Venezuelan newspapers
          and recruitment by other victims. NGOs reported some victims from
          a December 2021 raid had been forced to recruit other victims. Some
                                                                                         PRIORITIZED RECOMMENDATIONS:
                                                                                         Continue investigating, prosecuting, and convicting traffickers and
          trafficking networks operated through businesses acting as a cover for
                                                                                         sentence convicted traffickers to signiﬁcant prison terms, using the
          trafficking operations. Traffickers also exploit individuals from Puerto

 550                                                                                                                                     Haiti AR_001031
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 656 of 729




                                                                                                                                                                 TUNISIA
2016 anti-trafficking law. • Fully implement formal procedures for               The Ministry of Justice (MOJ) designated a judge at each tribunal of
all relevant officials to screen and proactively identify sex and labor          ﬁrst instance, for a total of 28, to serve as focal points to prosecute
trafficking victims—particularly among vulnerable groups such as                 and investigate human trafficking cases. The MOI’s special victims unit,
domestic workers, undocumented migrants, children experiencing                   established in 2017, included brigades of judicial police and national
homelessness, and persons in commercial sex—and train officials on               guard officers throughout the country who specialized in cybercrime
their use. • Authorize more government officials, including throughout           and assistance to victims of trafficking and gender-based violence.
the country, to officially identify trafficking victims to allow for more        The MOJ continued to monitor and maintain statistics on human
efficient access to protection services. • Train and build the capacity          trafficking cases brought before the judiciary through a specialized
of judicial and law enforcement officials on the application of the anti-        office; this office also had the authority to conduct research on the
trafficking law, investigative techniques, and evidence collection speciﬁc       application of the anti-trafficking law and advise the Minister of Justice
to trafficking cases; witness and victim protection best practices during        on policies related to the implementation of the law. Although pandemic-
trial; and alternatives to victim testimony. • Expand implementation             related restrictions and lockdowns limited in-person gatherings for a
of the NRM using a victim-centered approach to ensure officials refer            portion of the reporting period, the government—in coordination with
all trafficking victims to appropriate protection services and train             international and civil society organizations—conducted a wide variety
law enforcement and judicial authorities on appropriately referring              of anti-trafficking trainings for law enforcement and judicial officials,
victims to care. • Provide adequate protection services to adult and             healthcare practitioners, social workers, and other government officials
child victims of all forms of trafficking, including appropriate shelter,        on identifying and assisting trafficking victims, as well as investigating
psycho-social, long-term, and rehabilitative services tailored speciﬁcally       and prosecuting trafficking cases. Nevertheless, insufficient training
to trafficking victims. • Train staff at government-operated centers for         of judicial and law enforcement officials hindered investigations and
vulnerable populations to provide trafficking victims with appropriate           victim identiﬁcation efforts, and some officials conﬂated trafficking
and specialized care and increase resources for provision of care at             and migrant smuggling. The National Authority reported the lack of
these centers. • Improve coordination among government ministries to             an independent budget and insufficient capacity building hindered
combat trafficking. • Provide funding or in-kind support to NGOs that            the government’s efforts to fully implement the law. Furthermore, civil
provide care to trafficking victims. • Develop procedures, especially for        society organizations reported there continued to be a low level of
law enforcement, judicial, and border officials, to ensure victims are not       awareness among police and judicial authorities on the application of
punished for unlawful acts traffickers compelled them to commit, such            the anti-trafficking law and handling of trafficking cases. Due to their
as prostitution and immigration violations.                                      lack of familiarity with the law, some judicial officials used other laws
                                                                                 that had less stringent sentences to prosecute and convict trafficking
PROSECUTION                                                                      offenders. Observers also reported courts dismissed several potential
The government increased overall law enforcement efforts. Tunisia’s anti-        trafficking cases due to a lack of evidence on the exploitative nature of
trafficking law, Organic Law 2016-61, enacted in July 2016, criminalized         the crimes; lack of victim or witness testimony also created challenges
sex trafficking and labor trafficking and prescribed penalties of 10 years’      for officials to successfully prosecute and convict trafficking offenders.
imprisonment and a ﬁne for offenses involving adult victims and 15
years’ imprisonment and a ﬁne for those involving child victims. These           PROTECTION
penalties were sufficiently stringent and, with respect to sex trafficking,      The government maintained protection efforts. In 2021, the National
commensurate with penalties prescribed for other serious crimes, such            Authority identiﬁed 718 trafficking victims; while this represented a
as kidnapping. Article 171 of the penal code criminalized begging and            decrease from the 907 victims it identiﬁed in 2020 and 1,313 identiﬁed
using children to beg and prescribed penalties of six months to two              victims in 2019, it was an increase compared with 780 in 2018 and
years’ imprisonment.                                                             285 in 2017. More than half of the identiﬁed victims were women and
                                                                                 children, and 387 were foreign victims from Algeria, Benin, Burkina
In 2021, the Ministry of Interior (MOI) conducted a total of 332
                                                                                 Faso, Cameroon, Chad, Cote d’Ivoire, the Democratic Republic of the
investigations, which included 27 cases of sex trafficking, 122 cases of
                                                                                 Congo, Djibouti, Guinea, Italy, Japan, Mali, Nigeria, Philippines, Senegal,
forced labor, 135 cases of child “economic exploitation” (forced labor), 12
                                                                                 Sierra Leone, Sudan, and Syria. Of the 718 identiﬁed victims, 107 were
cases of child forced criminality, and 36 unspeciﬁed forms of trafficking.
                                                                                 sex trafficking victims, 292 were labor trafficking victims, and 319 were
This demonstrated a signiﬁcant increase from the 181 investigations—73
                                                                                 subjected to unspeciﬁed forms of trafficking. During the reporting
cases of forced labor, 62 cases of “economic exploitation” (forced
                                                                                 period, the government identiﬁed eight Tunisian victims in other Arab
labor), 28 cases of sexual exploitation, and 10 cases of child forced
                                                                                 countries; the government provided reintegration assistance to six of
criminality, and 8 unspeciﬁed forms of trafficking—the government
                                                                                 the victims upon their return to Tunisia. The government referred or
initiated in 2020. The National Authority to Combat Trafficking in Persons
                                                                                 directly provided assistance to all identiﬁed victims of trafficking in 2021.
(“National Authority”)—the government’s lead agency coordinating
                                                                                 The Ministry of Health (MOH) provided healthcare to 127 trafficking
anti-trafficking efforts—reported the government, with the assistance
                                                                                 victims, including both Tunisian and foreign victims. NGOs reported the
of a legal aid NGO, initiated 200 new forced labor prosecutions under
                                                                                 government continued to collaborate with civil society organizations
the anti-trafficking law in 2021. In addition, the government continued
                                                                                 to provide assistance to victims. The government also assisted in the
114 sex trafficking prosecutions and 136 prosecutions for unspeciﬁed
                                                                                 repatriation of 38 Tunisian trafficking victims in 2021: 27 women and
forms of trafficking initiated in previous reporting periods. This was
                                                                                 11 men. The government continued assisting the reintegration of 34
a signiﬁcant increase compared to 32 prosecutions in 2020. Courts
                                                                                 female Tunisian trafficking victims repatriated in 2020, who Tunisian
completed 56 trafficking cases in 2021, resulting in eight convictions
                                                                                 authorities identiﬁed in Gulf countries in 2018 and 2019.
(one sex trafficking conviction, three child forced labor convictions,
three forced begging convictions, and one forced criminality in drug             The government continued implementing the NRM, which streamlined all
trafficking conviction); seven of the convicted traffickers were convicted       stages of the referral process from victim identiﬁcation and assistance to
under the anti-trafficking law, and one was convicted of forced begging          civil and criminal proceedings. In December 2021, the National Authority
under Article 171 of the penal code. These were the ﬁrst trafficking             publicly released the NRM and published the NRM on its website in
convictions since 2018. Of the 56 completed cases, courts issued 40              both Arabic and French. Judicial and border police continued to have
default judgements in cases where the defendants were tried in absentia,         practices in place to screen for potential trafficking victims among those
and an additional eight judgements were subject to appeal. Sentences             who overstayed their legal residency or who were subject to expulsion
ranged from four months’ imprisonment to ﬁve years’ imprisonment; of             after serving a prison sentence. The government also provided practical
the seven convictions under the anti-trafficking law, at least ﬁve traffickers   guides to security officers and judicial police on victim identiﬁcation
were sentenced to prison terms greater than one year. The government             techniques. In addition, the Ministry of Social Affairs (MSA) continued
investigated an employee of a publicly-funded social assistance center           to train all labor inspectors to identify potential trafficking victims;
for alleged complicity in child trafficking but otherwise did not report         there were 26 labor inspectors and 24 social workers in the MSA’s labor
any investigations, prosecutions, or convictions of government officials         inspectorate that were trained as specialized points of contact for child
complicit in human trafficking crimes.                                           trafficking victims. Despite these efforts, the National Authority and

                                                                                                                                   Haiti AR_001032               551
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 657 of 729
TUNISIA   MOI special victims unit were the only government entities authorized             was not dependent on assisting law enforcement. Prosecutors could
          to officially identify trafficking victims, thereby allowing victims access       seek restitution in trafficking cases; however, the government did not
          to state-run services and requesting exemptions from exit visas for               report whether courts issued restitution in trafficking cases in 2021.
          foreign victims. During the reporting period, the National Authority              Trafficking victims could request legal aid to assist them in civil suits;
          requested exemptions from exit penalties for 38 potential foreign                 the government did not report whether courts ordered defendants to
          trafficking victims; the Ministry of Finance approved all requests. NGOs          pay compensation in the form of damages through civil suits during
          continued to report that the limited number of ministries that could              the reporting period.
          legally identify trafficking victims slowed the process for identiﬁcation
          and, subsequently, for victims to receive care. Moreover, insufficient            PREVENTION
          interagency coordination and resources reportedly hindered the timely             The government maintained overall efforts to prevent trafficking. The
          identiﬁcation and referral to services for trafficking victims. In addition,      government drafted, but had not yet adopted, a 2022-2023 national
          civil society organizations reported the special victims unit did not have        strategy and action plan to combat trafficking, and the MOJ continued
          sufficient personnel or resources to provide adequate assistance to               to lead the National Authority, which included representatives from
          trafficking victims, nor did personnel have the cultural understanding            13 ministries and experts from civil society. The National Authority
          or training to communicate with vulnerable migrants from the sub-                 continued implementing and updating its contingency plan drafted in
          Saharan African population, including potential trafficking victims. Civil        2020 to manage its crisis response to trafficking amid the pandemic
          society organizations also expressed concern that the government’s                and to prepare for similar situations in the future. Decree law number
          process to provide exemption from visa penalties for foreign trafficking          2019-653 issued in 2019 established operating procedures and guidelines
          victims was slow and cumbersome, thereby creating difficulties for civil          for the National Authority and four specialized commissions to focus
          society to assist victims in a timely manner. As a result of the official         on monitoring and evaluation, research, training and development, and
          identiﬁcation procedures and the other constraints outlined above,                tracking victim cases. The National Authority continued to consult a
          civil society noted authorities may have punished some unidentiﬁed                network of trafficking survivors established in 2019 that served as a
          victims for unlawful acts traffickers compelled them to commit, such              council to share experiences, advise, and present recommendations to
          as prostitution or immigration violations.                                        the committee to help improve its work. During the reporting period, the
                                                                                            National Authority completed its annual report that detailed its activities
          The MSA continued to operate two shelters for children in Tunis and
                                                                                            in 2020 and recommendations on how to improve the government’s
          Sidi Bouzid and shelters for adults in Tunis, Sousse, and Sfax; at least
                                                                                            ﬁght against human trafficking; the National Authority published the
          two of the ﬁve shelters had designated areas for trafficking victims
                                                                                            report in October 2021. In addition, the government partnered with
          where victims could enter and exit freely and return on a regular basis
                                                                                            several international organizations and academic institutions to research
          for assistance seeking employment. The ﬁve MSA shelters supported
                                                                                            trafficking trends in Tunisia, including the intersection of trafficking
          129 victims in 2021, including 47 women, 35 men, and 35 boys. The MSA
                                                                                            and irregular migration; the government plans to publish the results of
          shelters provided psychological care, family reintegration, social support,
                                                                                            these studies in 2022. The government continued to conduct numerous
          material assistance, professional integration, and health services. The
                                                                                            anti-trafficking public awareness and information campaigns, at times
          MSA—in collaboration with an international organization—continued
                                                                                            in partnership with civil society organizations, including workshops
          to provide training for the centers’ staff on rehabilitation and care
                                                                                            for journalists and media engagements. The government continued
          for trafficking victims. The MSA and National Authority continued
                                                                                            to operate a hotline to report potential trafficking crimes, which was
          to uphold an agreement, signed in January 2019, for the MSA to
                                                                                            operational ﬁve days a week during regular business hours and whose
          dedicate one room in all social care centers for victims of trafficking
                                                                                            operators spoke Arabic, French, and English. The hotline received 1,505
          and violence. An MOH-operated hospital in Tunis continued to have a
                                                                                            calls in 2021, but the government did not report identifying any potential
          unit with trained personnel dedicated to caring for victims of violence,
                                                                                            trafficking victims through the hotline; 70 percent of calls were related
          including sexual exploitation, which offered psycho-social support,
                                                                                            to case follow-up, and 16 percent of calls were related to requests for
          medical documentation, and legal expertise; the government did not
                                                                                            interviews. In 2020, the government did not report the number of calls
          report if this unit assisted any trafficking victims. The government’s
                                                                                            to the hotline but reported identifying three potential trafficking victims
          rehabilitation center for torture victims could also assist trafficking victims
                                                                                            through the hotline.
          with psychological and therapeutic support; the rehabilitation center
          assisted 18 trafficking victims with short-term psychological support             The government continued to make efforts to address fraudulent labor
          in 2021. The government ran 79 youth centers around the country that              recruitment practices. The Agency for Placement Abroad in Private
          provided psycho-educational services to at-risk children ages six to 18,          Establishments (EPPA) continued to regulate private labor recruiters
          including child trafficking victims, one of which was dedicated solely for        and had 31 EPPAs in Tunisian embassies abroad to oversee labor
          abandoned or otherwise vulnerable children, including child trafficking           migration. Article 4 of Law 2010-2948 on EPPAs prohibited worker-paid
          victims; however, the government did not report if any child trafficking          recruitment fees. The Ministry of Vocational Training and Employment
          victims received assistance at these centers during the reporting period.         (MFPE) coordinated with the Ministry of Foreign Affairs, Immigration,
          Civil society contacts reported there were overall limited services               and Tunisians Abroad and created labor attaché positions at the Tunisian
          throughout the country for child trafficking victims, especially long-term,       embassies in Qatar, France, and Saudi Arabia. The MFPE also maintained
          reintegration, and relocation services. Despite the centers and services          three resource centers for Tunisian labor migrants to offer support and
          provided by the MSA and MOH, the National Authority and civil society             services before, during, and after traveling abroad for work. In addition,
          partners continued to report the country lacked sufficient shelters to            the Directorate General for Immigration continued to coordinate with
          support vulnerable populations, including trafficking victims. Although           the Minister of Vocational Training and Employment to combat illegal
          the National Authority and NGOs partnered to reintegrate victims into             job recruitment agencies. The National Agency for Employment and
          society, the lack of resources, trained personnel, and sufficient shelter         Independent Work (ANETI) maintained a network of 120 approved
          beds—especially outside of Tunis—created challenges in doing so. The              private recruiting agencies, 1,000 job advisors, and an online platform
          government offered foreign trafficking victims legal alternatives to their        to improve employment searches in Tunisia and prevent exploitative
          removal to countries where they might face hardship or retribution. The           work contracts. ANETI raised awareness about its work and advised
          anti-trafficking law provided all identiﬁed foreign trafficking victims           job seekers to avoid communicating with unauthorized recruitment
          relief from deportation; the government did not report whether it                 agencies as they may use exploitative contracts. The government also
          provided temporary relief from deportation for any foreign trafficking            used a Qatar-Tunisia visa center to organize the process of recruiting
          victims in 2021. Victims had the right to free legal aid to assist them           Tunisians to work in Qatar and oversee employment contracts. In July
          in engaging in civil and criminal proceedings against their traffickers           2021, Law No.37 of 2021 was published in the official gazette to regulate
          and provisions to protect victims’ privacy during court proceedings,              domestic work. The law deﬁnes the terms of employment for domestic
          such as recorded testimony and physical protection. The government                workers and the rights and obligations of the employer and wage earner,
          allowed trafficking victims a 30-day reﬂection period, renewable once,            as well as monitoring and inspection mechanisms; the government did
          while they decided whether to assist law enforcement; victim assistance           not report on the status of implementation of the law by the end of

 552                                                                                                                                     Haiti AR_001033
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 658 of 729




                                                                                                                                                             TURKEY
the reporting period. Nevertheless, civil society organizations reported       careers in Tunisia. In 2020 and 2021, Italian authorities reported a sharp
concerns the government did not provide sufficient initiatives to address      increase in undocumented Tunisian migrants arriving in Italy, in part due
the internal child domestic servitude problem. The government did              to pandemic-related economic fallout; these undocumented migrants
not report efforts to reduce the demand for commercial sex acts or             were vulnerable to trafficking.
child sex tourism.

TRAFFICKING PROFILE
As reported over the past ﬁve years, human traffickers exploit domestic         TURKEY: TIER 2
and foreign victims in Tunisia, and traffickers exploit victims from Tunisia
abroad. Some Tunisian children are vulnerable to forced labor and sex
                                                                               The Government of Turkey does not fully meet the minimum standards
trafficking in Tunisia. During the reporting period, the government
                                                                               for the elimination of trafficking but is making signiﬁcant efforts to do
reported child sex trafficking, including online sexual exploitation and
                                                                               so. The government demonstrated overall increasing efforts compared
recruitment through social media, increased during the pandemic;
                                                                               with the previous reporting period, considering the impact of the
the government also reported family members were at times the
                                                                               COVID-19 pandemic, if any, on its anti-trafficking capacity; therefore
alleged trafficker(s). Tunisian girls working in domestic service for
wealthy families in Tunis and major coastal cities are highly vulnerable       Turkey remained on Tier 2. These efforts included convicting more
to trafficking, experiencing restrictions on movement, physical and            traffickers and identifying more victims. The government improved
psychological violence, and sexual abuse. Tunisian children—many of            coordination by convening anti-trafficking boards in all provinces and
whom dropped out of school and were between the ages of 11 and 12              continued to expand delivery of trainings. The Turkish National Police
years old—worked in small workshops, auto mechanic garages, and                Department of Migrant Smuggling and Border Gates (DMSBG) increased
domestic service; some of these children may be vulnerable to trafficking.     its number of officers dedicated to trafficking and conducted joint
International organizations report a continued presence of children who        inspections with labor inspectors for the ﬁrst time. The Gendarmerie
were homeless or street vendors and rural children working in agriculture      created working groups to coordinate law enforcement efforts,
to support their families in Tunisia; these children are vulnerable to         and the government expanded the number of Judicial Support and
forced labor or sex trafficking. Tunisian officials reported organized         Victims Services Offices (JSVSO) and judicial interview rooms. The
gangs reportedly forced children who were homeless to serve as thieves         government allocated more resources to in-kind assistance to victims
and beggars and to transport drugs. Tunisian women are reportedly              and designated the Turkish Human Rights and Equality Institution
exploited in sex trafficking under false promises of work, both within         (THREI) as the National Rapporteur for anti-trafficking. However, the
the country and elsewhere in the region, such as Lebanon, the United           government did not meet the minimum standards in several key areas.
Arab Emirates, and Jordan.                                                     Courts continued to acquit most of the defendants prosecuted for
                                                                               trafficking, and prosecutors often referred trafficking cases to general
Foreign migrants are particularly vulnerable to sex trafficking, domestic
                                                                               investigative police departments, which did not possess specialized
servitude, and other forms of forced labor in Tunisia. According to an
                                                                               skills and knowledge necessary to investigate trafficking. Many judges
NGO, foreign trafficking victims typically arrived in Tunisia on a valid
tourist or student visa and remained in an exploitative situation for an       and prosecutors lacked experience and resources to prosecute complex
average of ﬁve to 13 months, surpassing the validity of their visa. Civil      cases and lacked efforts to encourage victims to voluntarily cooperate
society and international organizations continue to report an increase in      in investigations, resulting in the government dropping, acquitting, or
traffickers exploiting women, primarily from West Africa and increasingly      reclassifying cases to lesser crimes. The government did not maintain
from Cote d’Ivoire, in domestic servitude in private homes in Tunis, Sfax,     the capacity to accommodate and provide specialized support to all
Sousse, and Gabes. An NGO also reported traffickers forced some men            victims, and domestic civil society stakeholders did not participate in
from Cote d’Ivoire to work on farms and construction sites. Traffickers        anti-trafficking efforts. The government did not update its national
reportedly coerce Ivoirians to smuggle cannabis and opioids into Tunisia.      action plan, in place since 2009.
According to a Tunisian NGO, recruiters in Cote d’Ivoire target both
well-educated and non-skilled individuals in the country with false and
                                                                                       TURKEY TIER RANKING BY YEAR
fraudulent promises of work in Tunisia. Well-educated Ivoirians, who               1
pay a recruiter to assist them to ﬁnd work in Tunisia, are promised jobs
                                                                                   2
that do not exist upon arrival in Tunisia, are held in debt bondage, and
are forced into domestic service in Tunisian households. Recruiters also         2WL
target unskilled and uneducated individuals primarily from San Pedro,              3
Cote d’Ivoire, to work in domestic service, construction, or agriculture in               2015     2016      2017    2018   2019    2020   2021    2022
Tunisia; these individuals are then required to repay the transportation
costs and recruitment fees upon arrival and are thereby held in debt
bondage by their employers. Civil society organizations continue to
report traffickers appear to coach some of their victims on how to             PRIORITIZED RECOMMENDATIONS:
answer questions about their trafficking experiences so victims can            Vigorously investigate, prosecute, and convict traffickers. • Expand
access beneﬁts—such as a reprieve from exit ﬁnes—which would further           and institutionalize training to investigators, prosecutors, and
allow the traffickers to exploit victims. An NGO reported that female          judges on victim-centered approaches to trafficking cases, including
victims of domestic servitude and other forms of forced labor, whose           advanced training on trafficking investigations and prosecutions. •
employers hold them in debt bondage, are further exploited by nightclub        Establish procedures or structures, such as a specialized prosecutorial
owners that cater to sub-Saharan African communities in Tunisia. The           unit, to ensure trafficking cases are handled by trained prosecutors
nightclub owners falsely promise to pay the women’s debts in exchange          and investigators. • Increase and strengthen specialized services,
for working in the nightclubs as servers, but the owners subsequently          including shelter and psycho-social support for all victims. • Increase
force the women into commercial sex for the nightclubs’ clientele. Civil       proactive victim identiﬁcation efforts among vulnerable populations,
society organizations also report male migrants from sub-Saharan Africa,       such as refugees and asylum-seekers, persons in LGBTQI+ communities,
who work in poor working conditions in Tunisia, could be vulnerable to         migrants awaiting deportation, Turkish and foreign women and girls
forced labor. Tunisian LGBTQI+ rights associations report migrants and         in commercial sex, and children begging in the streets and working in
asylum-seekers from neighboring countries who escaped violence or              the agricultural and industrial sectors. • Expand partnerships with civil
discrimination due to their gender identity or sexual orientation may          society to better identify victims and provide victim services. • Encourage
be particularly vulnerable to sex trafficking and forced labor in Tunisia.     victims’ participation in investigations and prosecutions, including using
NGOs and international organizations observe a slight increase in boys         remote testimony or funding for travel and other expenses for victims to
from sub-Saharan and West Africa, including Cote d’Ivoire, who were            attend court hearings. • Continue to improve interagency cooperation
vulnerable to trafficking after accepting fraudulent offers of soccer          and adopt a national action plan. • Train judges on restitution in criminal
                                                                               cases, establish procedures to seize assets from traffickers, and create
                                                                                                                                   Haiti AR_001034           553
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 659 of 729
TURKEY   effective methods to allocate restitution in a timely manner. • Inform all       Social Services (MOFSS) operated 274 mobile teams in all 81 provinces that
         identiﬁed victims of their right to pursue compensation and encourage            conducted outreach to children who were homeless or used the streets as a
         them to do so. • Increase resources to the labor inspectorate to fully           source of livelihood. While international organizations reported awareness
         inspect and monitor businesses and workplaces for forced labor.                  and implementation of screening procedures increased from trainings
                                                                                          over the past years, law enforcement and other ﬁrst responders did not
         PROSECUTION                                                                      consistently screen or proactively identify victims. Law enforcement did not
         The government increased prosecution efforts. Article 80 of the penal            effectively differentiate elements of sex trafficking and “encouragement of
         code criminalized sex trafficking and labor trafficking and prescribed           prostitution;” and observers continued to report limited capacity among
         penalties of eight to 12 years’ imprisonment and a ﬁne, which were               ﬁrst responders and inadequate proactive identiﬁcation efforts, particularly
         sufficiently stringent and, with regard to sex trafficking, commensurate         for forced labor, Turkish nationals, children, and persons in the LGBTQI+
         with those for serious crimes, such as rape. The government investigated         community. The government did not proactively identify victims in highly
         408 new cases with 591 suspects, compared with 269 cases with 880                vulnerable refugee and migrant communities. For example, media and
         suspects in 2020. The government continued to investigate 198 cases              civil society reports continued to indicate forced repatriation to Syria
         with 535 suspects from previous years. The Ministry of Justice (MOJ)             without screening for indicators of trafficking. PMM trained police, civil
         prosecuted 78 new cases with 238 defendants, compared with 68 new                servants, migration specialists, social workers, psychologists, hotline
         cases with 347 defendants in 2020. The MOJ continued to prosecute                operators, officials, and PMM staff on victim identiﬁcation.
         314 cases with 1,808 defendants from previous years. Courts convicted
                                                                                          The government did not report the total amount allocated for anti-
         72 traffickers, compared to 30 traffickers in 2020. Judges sentenced all
                                                                                          trafficking efforts in 2021 or 2020 and did not provide funding to domestic
         traffickers with imprisonment and 61 traffickers with an additional ﬁne, but
                                                                                          NGOs. However, PMM reported allocating 313,967 lira ($24,230) for in-
         the government did not report length of sentences. Courts continued to
                                                                                          kind assistance to victims, including hygienic products and travel costs,
         acquit most defendants prosecuted for trafficking; courts acquitted 267
                                                                                          an increase compared with 172,083 lira ($13,280) in 2020. The Ankara
         of 339 defendants and 177 of 214 defendants in 2020. The government did
                                                                                          Municipality government also provided 38,311 lira ($2,960) for operational
         not report any investigations, prosecutions, or convictions of government
                                                                                          costs at the anti-trafficking shelter in Ankara. The law entitled officially
         employees complicit in trafficking crimes.
                                                                                          identiﬁed trafficking victims to services, including shelter, medical and
         Turkish National Police (TNP) maintained DMSBG that specialized in               psycho-social services, work options, education, translation services,
         trafficking investigations. DMSBG increased the number of officers at            temporary residency, repatriation assistance, vocational training, and legal
         headquarters to 141 from 114 in 2021 and maintained offices in all 81            counseling; the government provided support services to 149 victims,
         provinces with approximately 1,600 officers. For the ﬁrst time, DMSBG            a decrease compared with 209 victims in 2020. The Kirikkale Municipal
         conducted 664 joint inspections with labor inspectors on unregistered            government dispersed 100 lira ($7.72) per month to adult victims with
         businesses; joint inspections identiﬁed labor violations but did not lead        an additional 100 lira ($7.72) for each of their children, and the Ankara
         to any trafficking cases. The Gendarmerie maintained the Department              Municipal government dispersed 300 lira ($23) per month to adult victims
         of Counter Migrant Smuggling and Human Trafficking (DCST) with                   and 50 lira ($3.86) for each of their children. The government did not
         jurisdiction to investigate trafficking in rural areas. The Gendarmerie          report the number of victims that received ﬁnancial assistance (22 in
         created trafficking working groups in 33 provinces identiﬁed as “high            2020). The Kirikkale and Ankara Municipal governments allocated 39,970
         risk” to share intelligence and coordinate investigations and inspections.       lira ($3,090) and 27,500 lira ($2,120) for cash assistance, respectively.
         Prosecutors often referred cases to general investigative departments,           PMM operated three specialized shelters for trafficking victims; the
         rather than the specialized TNP or Gendarmerie units, which did not              shelter in Kirikkale had the capacity to accommodate 20 victims, the
         possess the skills and knowledge necessary to investigate trafficking.           Ankara shelter could accommodate 30 victims, and the Aydin shelter
         Additionally, a lack of experience and specialization among prosecutors          could accommodate 40 victims. While PMM started plans to open two
         and judges regarding trafficking limited the government’s ability and means      new shelters by the end of 2022, observers continued to report the lack
         to prosecute complex crimes like trafficking. Experts continued to report        of capacity to accommodate and provide specialized support to all
         misperceptions about trafficking among law enforcement authorities,              victims and shortages in clothing and supplies at the shelter in Ankara.
         including confusion between sex trafficking and “encouragement of                Additionally, victims stayed at PMM-run shelters for longer than expected
         prostitution” (Article 227) or labor trafficking and “violation of freedom of    due to the pandemic, which exacerbated limited capacities. MOFSS
         work and labor” (Article 117). Judiciary officials dropped and/or reclassiﬁed    operated 145 shelters with the capacity to accommodate 3,482 people
         cases to lesser offenses, or acquitted defendants due to a lack of evidence,     that provided accommodation for victims of violence, including trafficking
         particularly a lack of testimony, as victims and witnesses rarely participated   victims, and the government-operated Monitoring Centers for Children
         in court proceedings. The government, independently and with technical           provided support to child victims of violence. The PMM-run shelters and
         and ﬁnancial support from international organizations, provided various          MOFSS-run shelters allowed victims to leave the shelter voluntarily once
         anti-trafficking trainings to TNP, Gendarmerie, prosecutors, and judges. The     security officials completed an assessment and deemed conditions safe.
         government cooperated with authorities from Austria, Bulgaria, Indonesia,        PMM maintained a manual for shelter staff with SOPs on service provision
         Moldova, Germany, Georgia, and Taiwan on trafficking investigations.             and rules for shelter operations. The government provided COVID-19 tests
         The government also extradited a suspected trafficker from Germany               and personal protective equipment to victims staying at the shelters. The
         and requested the extradition of ﬁve suspected traffickers from Georgia.         government provided job placement support to victims but did not report
                                                                                          the number of victims that found employment through job placement
         PROTECTION                                                                       (three in 2020). PMM drafted protocols and procedures for cooperating
         The government increased victim protection efforts. The government               with domestic NGOs on shelter operations; however, civil society actors
         identiﬁed 349 victims, an increase compared with 276 victims in 2020.            continued to express concern that the government’s victim protection
         Of these, 201 were victims of sex trafficking, 133 were victims of forced        efforts were not sufficiently inclusive of NGOs, including funding of
         labor, 14 were victims of child soldiering, and one victim’s exploitation        independent organizations.
         was not reported; 322 were female, and 81 were male; 120 were children;          The government reported screening migrants for trafficking indicators
         and 361 were foreign nationals. The government continued to support              in deportation centers. The law entitled foreign victims to a temporary
         children recruited by the PKK, successfully reintegrating 14 victims.            residence permit for 30 days, which authorities could extend up to three
         Standard operating procedures (SOPs) provided guidelines for identifying         years with the option to apply for a work permit. PMM, in cooperation with
         and referring victims to assistance and required ﬁrst responders to refer        an international organization, operated 26 repatriation centers, covered
         potential victims to the Presidency of Migration Management (PMM),               costs, and maintained repatriation protocols, including escorting victims
         which officially recognized victims. DMSMG referred 145 potential victims,       to passport control; the government voluntarily repatriated 91 victims.
         and DCST referred 360 potential victims to PMM. PMM maintained two               Observers reported victims often chose not to participate in prosecutions
         identiﬁcation experts in each of the 81 provincial offices to interview          and repatriate as soon as possible, partly due to the lack of options for
         victims; PMM interviewed 8,077 potential victims, a signiﬁcant increase          accommodation outside of shelters. Judges and prosecutors reported
         compared with 4,919 potential victims in 2020. The Ministry of Family and        procedural law does not allow victim statements prior to repatriation
 554                                                                                                                                   Haiti AR_001035
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 660 of 729




                                                                                                                                                                  TURKMENISTAN
as evidence in court proceedings, and observers reported that limited            that historically employ victims, such as entertainment venues, beauty
opportunities to encourage victim cooperation in prosecutions with               centers, and massage parlors, traffickers were more likely to exploit victims
victim-centered approaches, protection measures, and legal assistance            in private homes for both sex trafficking and forced labor. Agricultural
exacerbated the high number of acquittals and cases prosecuted under             workers, particularly hazelnut farmers, were vulnerable to forced labor with
lesser charges. The government expanded the number of JSVSO dedicated            low pay, wage withholding, long hours, and hazardous working conditions,
to providing legal assistance and psycho-social support to 161 courthouses       and at times, middlemen coerce farmers into indentured servitude with
(106 in 2020) and increased the number of judicial interview rooms, which        loans between harvests. The PKK, a U.S.-designated terrorist organization,
allowed victims to testify in private to reduce re-traumatization, to 120        recruited and forcibly abducted children for conscription. There were
rooms in 115 courthouses (86 courthouses in 2020). The law provided              also reports that some women detained by non-state armed groups in
witness protection and legal aid; the government provided legal support          Syria were likely transported and exploited in Turkey. In previous years,
to 40 victims but did not report how many victims participated in criminal       reports from human rights groups and international bodies indicate the
investigations or legal procedures. Criminal courts often did not issue          government provided operational, equipment, and ﬁnancial support
restitution and recommended victims pursue compensation through civil            to a Turkish-supported armed opposition group in Syria that recruited
suits; however, civil courts often required a criminal conviction, which could   child soldiers.
take years, before awarding victims with compensation. Criminal courts
                                                                                 Turkey continues to host a large refugee population that remains highly
did not issue restitution, and the civil courts did not issue compensation
                                                                                 vulnerable to trafficking and exploitation: approximately 3.7 million
in 2021, 2020, and 2019.
                                                                                 displaced Syrians and more than 350,000 refugees of other nationalities
                                                                                 resided in Turkey during the reporting period. Criminal networks coerce
PREVENTION                                                                       and pressure Syrian women and girls into sex trafficking. NGOs report
The government maintained prevention efforts. The government did not
                                                                                 refugee camp officials and volunteers collaborate with criminal networks
update its national action plan, in place since 2009. The Coordination
                                                                                 to recruit girls with false job offers into sex trafficking, while Syrian
Board for Combating Trafficking (the Board) coordinated interagency
                                                                                 boys remained vulnerable to sex trafficking with allegations of rape and
anti-trafficking efforts and convened in December 2021. The Board adopted
                                                                                 sexual abuse at refugee camps. Syrian girls as young as 12 are married
a decision to officially designate the THREI as the national rapporteur
                                                                                 to adults in unofficial religious ceremonies, particularly in poor and rural
for anti-trafficking, for the ﬁrst time, with the responsibility to monitor
                                                                                 regions, and subsequently are vulnerable to domestic servitude and sex
government anti-trafficking efforts. The government also maintained
                                                                                 trafficking. Reports claim the number of Syrian refugee families who
provincial coordinating boards for anti-trafficking for all 81 provinces
                                                                                 married off their underage daughters to Turkish men as an economic
that met at least once during the year and implemented anti-trafficking
                                                                                 coping mechanism increased in the wake of the pandemic, as did the rate
efforts at the provincial level. The Board and PMM continued to publish
                                                                                 of children participating in child labor. Syrian and other refugees, including
annual data reports. PMM and other government institutions organized
                                                                                 children, are vulnerable to forced labor from engaging in street begging
awareness campaigns targeting the public, rural areas, and students.
                                                                                 and also reportedly working in agriculture, restaurants, textile factories,
PMM maintained a 24-hour migration-related national hotline in seven
                                                                                 markets, shops, and other workplaces. Experts report children work long
languages, whose operators were also trained to handle trafficking-
                                                                                 hours with low wages, in some cases in substandard working conditions.
related calls; calls to the hotline led to six identiﬁed victims and initiated
10 prosecutions.
The law required recruitment agencies to maintain a license, approve
all contracts with the government, seek worker agreement in contract              TURKMENISTAN: TIER 3
changes, and provide foreign workers with information on trafficking.
However, resources and inspections were insufficient to effectively monitor
                                                                                 The Government of Turkmenistan does not fully meet the minimum
and enforce prohibitions against the use of child labor. Inspectors did
                                                                                 standards for the elimination of trafficking and is not making signiﬁcant
not generally visit private agricultural enterprises employing 50 or fewer
                                                                                 efforts to do so, even considering the impact of the COVID-19 pandemic
workers unless a complaint was ﬁled, resulting in enterprises vulnerable
                                                                                 on its anti-trafficking capacity; therefore Turkmenistan remained on Tier
to forced labor. The law allowed both Syrians under temporary protection
                                                                                 3. Despite the lack of signiﬁcant efforts, the government took some steps
and non-Syrian conditional refugees the right to work, provided they
                                                                                 to address trafficking, including by continuing to participate in anti-
were registered in the province they wished to work in for at least the
                                                                                 trafficking awareness campaigns and continuing to purchase equipment
preceding six months. Applying for a work permit was the responsibility
                                                                                 for mechanization of the cotton harvest to reduce its dependence on
of the employer, and refugee advocates reported the procedure was
                                                                                 handpicking. However, there was a government policy or pattern of forced
burdensome and costly, resulting in few employers pursuing that path. As
                                                                                 labor; the government continued to direct policies that perpetuated
a consequence, the vast majority of conditional refugees and those under
                                                                                 the mobilization of adults and children for forced labor in the annual
temporary protection remained without legal employment options, leaving
                                                                                 cotton harvest, in public works projects, and in other sectors in some
them vulnerable to exploitation, including trafficking. The government
                                                                                 areas of the country. The government’s denial of access to independent
did not make efforts to reduce the demand for commercial sex acts.
                                                                                 monitoring missions prevented robust observation of the cotton harvest.
                                                                                 The government did not report any investigations, prosecutions, or
TRAFFICKING PROFILE                                                              convictions; did not hold any officials accountable for their complicity
As reported over the past ﬁve years, human traffickers exploit domestic
                                                                                 in forced labor crimes; identiﬁed no victims; and did not fund any victim
and foreign victims in Turkey, and traffickers exploit victims from Turkey
                                                                                 assistance programs.
abroad. Trafficking victims in Turkey are primarily from Central and South
Asia, Eastern Europe, Azerbaijan, and Syria. Of the 349 victims identiﬁed
in 2021, most were Syrian (159), followed by Uzbek (63), Afghan (22),                    TURKMENISTAN TIER RANKING BY YEAR
and Kyrgyz (12). Traffickers reportedly exploited some Georgian men and              1
women in forced labor and some Turkish men in forced labor in Israel and             2
Moldova. Romani children were frequently seen on the streets in major
                                                                                   2WL
cities where they worked as garbage collectors, street musicians, and
beggars, raising concerns about exploitative conditions and forced labor.            3
Human rights groups reported commercial sexual exploitation, including                     2015      2016     2017      2018   2019    2020    2021     2022
sex trafficking, remained a problem in the LGBTQI+ community, which
faced discrimination and hostility from both authorities and the local
population. Due to the pandemic, traffickers increasingly focused on             PRIORITIZED RECOMMENDATIONS:
recruitment of victims for domestic servitude and increased their use of         End government policies or actions that compel or create pressure for
online recruitment methods, including social media, dating sites, and online     the mobilization of forced labor, to include eliminating the cotton and
job search platforms. Due to COVID restrictions on business operations           silk production quotas, mandatory participation in public works, and
                                                                                                                                      Haiti AR_001036             555
                   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 661 of 729
TURKMENISTAN   the practice of requiring fees for replacement pickers or contributions        enforcement of forced labor crimes; however, the government reported
               from businesses and entrepreneurs to support the harvest. • Grant              it has begun coordination with an international organization to arrange
               independent observers full access to freely and independently monitor          a monitoring mission of the cotton harvest for the ﬁrst time in 2022.
               cotton cultivation and deliver an unﬁltered report of the annual cotton
               harvest, and cease the harassment, detention, and abuse of individuals         PROTECTION
               for documenting labor conditions. • Amend the provision, under Article 8       The government maintained negligible protection efforts. For the third
               of the Labor Code, that allows for the mobilization of civilians into public   consecutive year, authorities did not identify any trafficking victims,
               works, which would include cotton harvesting. • While respecting due           compared with eight victims in 2018, one in 2017, and 11 in 2016. An
               process, investigate and prosecute suspected sex and labor trafficking         international organization reported assisting 15 victims, including one
               offenses under Article 129/1 of the criminal code; convict, sentence,          female sex trafficking victim, eight female forced labor victims, and six
               and incarcerate traffickers, including government officials complicit in       male forced labor victims (compared with 13 female victims and ﬁve
               the mobilization of forced labor. • Provide victim care services directly      male victims in 2020); all victims of forced labor were Turkmen, but the
               or by otherwise funding organizations to do so, including for male             organization did not report the nationality of the sex trafficking victim.
               victims, in accordance with provisions of the 2016 anti-trafficking law.       The Government of Turkey repatriated two of the 15 victims from Turkey
               • Finalize, implement, and train police, migration officers, and other         to Turkmenistan. The government reported 2,691 calls to the foreign-
               relevant stakeholders on standard operating procedures (SOPs) to               funded, international organization-run trafficking hotlines in Ashgabat
               identify and refer victims to protection services. • Allocate direct           and Turkmenabat since May 2020; nine victims were identiﬁed and
               ﬁnancial resources for implementation of the National Action Plan              referred to services, and all were migrants who returned to Turkmenistan
               (NAP). • Establish, train relevant personnel on, and implement labor           before the government stopped commercial ﬂights in response to the
               inspection and recruitment oversight protocols to improve forced labor         pandemic. The hotline in Turkmenabat ceased operations during the
               identiﬁcation and prevention. • Train police to detect and investigate         reporting period due to a lack of funding. The Ministry of the Interior also
               sex and labor trafficking crimes. • Establish a trafficking-speciﬁc hotline    runs a general hotline for crimes, including trafficking in persons, but
               and publicize it among vulnerable communities. • Expand training for           did not report any victims identiﬁed. The government did not publicize
               relevant government authorities on implementation of the provisions            these hotlines as avenues for trafficking victims seeking to report their
               of the 2016 anti-trafficking law and article 129, as amended in 2016. •        exploitation; NGOs published advertisements on government owned
               Increase awareness of trafficking and the labor rights of individuals          newspapers to raise awareness. An international organization reported
               among the general public through government-run campaigns or                   that, due to the pandemic, almost all international travel throughout
               ﬁnancial and in-kind support for NGO-run campaigns.                            2021 was suspended, drastically reducing the number of Turkmen
                                                                                              citizens traveling abroad, which likely reduced the identiﬁcation of
               PROSECUTION                                                                    potential victims of trafficking. Despite international organizations
               The government maintained negligible anti-trafficking law enforcement          utilizing thorough victim identiﬁcation protocols accepted by the wider
               efforts. Article 129/1 of the criminal code criminalized sex trafficking       international community, it was previously reported that the prosecutor
               and labor trafficking and prescribed penalties of four to 10 years’            general’s office baselessly asserted that most trafficking claims were
               imprisonment for offenses involving adult victims and eight to 15 years’       fraudulent. For the fourth consecutive year, the government failed
               imprisonment for offenses involving child victims; these penalties were        to adopt and implement SOPs for victim identiﬁcation and referral
               sufficiently stringent and, with respect to sex trafficking, commensurate      developed in partnership with an international organization in 2018. In
               with those prescribed for other serious crimes, such as rape. Article          previous years, law enforcement agencies only designated individuals
               8 of the Labor Code separately deﬁned “forced or obligatory labor”             as trafficking victims if their cases led to trafficking convictions.
               to exclude work “which is part of regular civil obligations of citizens.”
                                                                                              The anti-trafficking law required the government to provide a wide
               The Prosecutor General’s Office coordinates anti-trafficking efforts among     range of services to trafficking victims, including shelter, food, medical
               law enforcement agencies. For the second consecutive year, authorities         care, and ﬁnancial support; however, for the sixth consecutive year, the
               did not report initiating any criminal investigations (compared to one         government did not provide comprehensive services to any trafficking
               investigation in 2019) and, for the third consecutive year, they did not       victims, nor did it fund international organizations or NGOs to provide
               report any prosecutions or convictions (compared with one investigation        such services. Additionally, the government passed and enacted the
               and one prosecution in 2019). Authorities, in collaboration with an            Law on Social Services, effective January 2022, which requires that
               international organization, supported trainings for local government           victims of crime, including trafficking victims, are provided a tailored
               representatives based in Ashgabat and the ﬁve provinces on anti-               aid package, which could include medical, ﬁnancial, legal, educational,
               trafficking policies and prevention of forced labor. Authorities also          and employment support. NGOs indicated in prior years that some
               trained officials from the State Migration Service on anti-trafficking         victims were required to pay for their own medical treatment. The
               enforcement and laws. The government did not report any investigations,        law on the Legal Status of Foreign Citizens in Turkmenistan (Foreign
               prosecutions, or convictions of government employees complicit in              Citizens Law), adopted in November 2021, entitled foreign victims to
               human trafficking crimes; however, corruption and official complicity          the same beneﬁts as citizens. Currently, assistance to victims is only
               in trafficking crimes remained signiﬁcant concerns, inhibiting law             provided by international organizations in conjunction with local civil
               enforcement action during the year. Authorities did not report any             society. An NGO operated a foreign donor-funded shelter for female
               efforts to end officials’ mobilization of persons for forced labor in the      and child trafficking victims. The shelter could provide psychological
               cotton harvest, public works projects, or domestic service. According          counseling and local reintegration services, including housing, food,
               to one media report, the government sent to work in the cotton ﬁelds           personal hygiene products, medical examinations, vocational training
               citizens who had utility or alimony debts or were detained in public places    and job placement, and small grants to support livelihood generation,
               without masks, in violation of pandemic protocols; the police allegedly        legal services, education, and transportation.
               beat them with rubber truncheons if they refused. The government did
                                                                                              By law, victims—including those participating in criminal proceedings—
               not report efforts to investigate reports from the previous year where,
                                                                                              were exempt from administrative or criminal liability for crimes their
               under direct orders from the provincial government, police officers in
                                                                                              traffickers compelled them to commit. The legal code guaranteed victims
               Mary began detaining dozens of individuals experiencing homelessness
                                                                                              the option to seek employment; required law enforcement agencies to
               and others suspected of being homeless and forcing them to work
                                                                                              respect their conﬁdentiality; and provided free legal assistance for those
               on farms, in domestic service—including in the residences of their
                                                                                              who apply for official victim status, as well as the option to request
               relatives and friends—and in other capacities. It was previously reported
                                                                                              temporary residency in Turkmenistan for the duration of relevant criminal
               that authorities threatened family members who attempted to locate
                                                                                              proceedings. The trafficking law does not require victim participation in
               relatives detained under this campaign. The government did not report
                                                                                              investigations or prosecutions of alleged traffickers in order to access
               any international investigations or extraditions of suspected traffickers.
                                                                                              protection services. The law also gives victim witnesses the right to
               State-imposed restrictions on the access of independent observers
                                                                                              state protection, which includes social support. The government did
               to the cotton harvest likely impeded the detection and referral to law
                                                                                              not report providing any of these forms of assistance, and there were

  556                                                                                                                                      Haiti AR_001037
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 662 of 729




                                                                                                                                                           TURKMENISTAN
no reports of victims seeking or obtaining damages in civil suits. The        regularly to implement the government’s anti-trafficking policies and
government made no attempts to identify sex trafficking victims among         reported conducting several trafficking prevention awareness sessions
women arrested for engaging in commercial sex; consequently, officials        for various organizations and enterprises. The law required the Ministry
may have penalized sex trafficking victims for prostitution offenses.         of Internal Affairs to record data on trafficking crimes; however, for the
In prior years, some Turkmen trafficking victims were deported to             sixth consecutive year, the government did not report any systematic
Turkmenistan from other countries after local authorities failed to screen    efforts to monitor its anti-trafficking efforts and did not make publicly
them for trafficking indicators, and Turkmenistan’s migration service         available any government data on trafficking crimes or relevant judicial
subsequently blocked them from exiting Turkmenistan for a period of           processes. The government cooperated with NGOs and an international
up to ﬁve years. Civil society groups believed this punitive response         organization to conduct awareness campaigns online, in rural areas, and
may have dissuaded some Turkmen nationals exploited in trafficking            in airports targeting vulnerable populations, although fewer of these
abroad from coming forward with their abuses.                                 activities took place than in previous years due to pandemic-related
                                                                              restrictions. Authorities also noted the number of Turkmen citizens
PREVENTION                                                                    departing the country decreased following enhanced exit bans and
The government maintained negligible efforts to prevent human                 border closures ostensibly instituted as pandemic-related public health
trafficking, and reports of state-sponsored forced labor continued. The       measures; according to one international organization, these restrictions
government maintained a 2020-2022 NAP developed in conjunction with           may have further incentivized migration through unregulated channels
an international organization and approved in 2019; however, authorities      commonly associated with trafficking vulnerabilities and made Turkmen
did not allocate ﬁnancial resources or provide in-kind contributions to       migrants abroad more vulnerable due to an inability to return. Authorities
implement the NAP. The government reported expanding cooperation              have also imposed arbitrary travel bans on groups of people, preventing
with international partners on awareness raising as part of its NAP           their freedom of movement and making them vulnerable. As in prior
implementation efforts. In April 2021, the government adopted the             years, the government charged NGOs fees to place anti-trafficking
National Action Plan on Human Rights for 2021-2025, which included            awareness material in a government-owned public space.
a section on measures aimed at preventing forced labor; however,
                                                                              According to the government, 15 labor inspections were carried out in
authorities did not report allocating ﬁnancial resources for or activities
                                                                              2021 by the National Center of Trade Unions; however, authorities did
undertaken as part of its implementation. In the absence of formal access
                                                                              not provide information on these inspections or their outcomes. The
approval for independent monitoring missions, it was difficult to ascertain
                                                                              government did not report efforts to hold accountable labor recruiters or
the extent to which authorities took steps to eliminate state policies
                                                                              brokers involved in the fraudulent recruitment of workers. International
that perpetuated government-compelled forced labor during the cotton
                                                                              organizations conducted trainings on labor rights for members of the
harvest or in public works projects. In 2021, the government adopted
                                                                              work force, including farmers.
a Plan of Cooperation with International Organizations for 2021-2023
to provide a basis for cooperation on issues of mutual interest, which        The government continued to grant citizenship to members of
may include future monitoring of the cotton industry.                         Turkmenistan’s stateless population; in 2021, authorities granted
                                                                              citizenship to 2,657 of these individuals, compared with 2,580 in 2020,
According to international media reports, quasi-state agricultural
                                                                              863 in 2019, and 735 in 2018. The government also granted 406 foreign
associations exploited some farmers in forced labor at local levels to
                                                                              citizens residence permits. The Foreign Citizens Law allowed foreign
meet Turkmenistan’s national cotton production quota. Some local
                                                                              citizens the same labor rights as the citizens of Turkmenistan. State
government officials continued to mobilize students, teachers, medical
                                                                              migration officials continued to prevent Turkmen nationals from departing
professionals, soldiers of all military units, and other civil servants for
                                                                              the country via airports; authorities did not provide information on
compulsory labor in the cotton harvest and in public works, including
                                                                              how many of these interventions were related to perceived trafficking
community cleaning and beautiﬁcation projects. The government
                                                                              vulnerabilities. The government claimed it restricted the international
continued to purchase and receive cotton picking and planting machinery
                                                                              travel of some young women in particular to prevent them from being
from international industry partners as part of ongoing efforts to
                                                                              subjected to trafficking abroad. The government reported it provided
mechanize the harvest and reduce dependency on human labor. As
                                                                              some anti-trafficking training to its diplomatic personnel and also
handpicked cotton reportedly attracts higher prices, some cotton ﬁelds
                                                                              regularly instructed diplomats to educate citizens on trafficking in
are small for tractors, and farmers prefer manual labor due to high
                                                                              persons. The government did not make efforts to reduce the demand
maintenance of the tractors, pressure for handpicking could remain.
                                                                              for commercial sex acts.
Authorities reported that the mechanization process has caused the
percentage of manually harvested cotton to drop from 71 percent in
                                                                              TRAFFICKING PROFILE
2015 to 28 percent in 2020. As reported in previous years, tenant farmers
                                                                              As reported over the past ﬁve years, human traffickers exploit domestic
often had to pay unregulated, bribe-like fees at various parts of the
                                                                              victims in Turkmenistan, and traffickers exploit victims from Turkmenistan
cultivation process to access the necessary mechanical equipment, at
                                                                              abroad. State policies continue to perpetuate government-compelled
times compounding their ﬁnancial hardships and disincentivizing its use
                                                                              forced labor; in 2016, 2020, and again in 2022, the ILO Committee of
altogether. International media and civil society groups continued to
                                                                              Experts on the Application of Conventions and Recommendations
report some local government officials required public sector workers,
                                                                              noted the continued practice of forced labor in the cotton sector. To
unwilling or unable to participate in the harvest, to pay for replacement
                                                                              meet central government-imposed production quotas for the cotton
pickers, thereby establishing an informal penalty system through which
                                                                              harvest, local government officials require some soldiers, employees at
corrupt officials proﬁted from coercion. Despite the absence of formal
                                                                              private-sector institutions, and public sector workers—including teachers,
observation by international organizations, informal observers continued
                                                                              doctors, nurses, and others—to pick cotton without payment, using
to note a discernible decline in recent years of forced labor in cotton
                                                                              coerced statements of voluntary participation and, under the threat of
harvesting and sowing, possibly attributable to mechanization and the
                                                                              such penalties as dismissal, reduced work hours, or salary deductions.
availability of low-wage labor, among other factors. There were reports
                                                                              Local officials reportedly impose informal fees on public sector workers
that some teachers were required to pick cotton in addition to teaching
                                                                              as a tactic to coerce them into picking cotton or otherwise proﬁt from
classes and students were hired as replacement pickers.
                                                                              their inability or unwillingness to participate in the harvest. Some local
The 2016 anti-trafficking law outlined roles and responsibilities for key     authorities reportedly also threaten farmers with land expropriation if
stakeholder agencies and placed the cabinet of ministers in charge            they attempt to register complaints about payment discrepancies or
of planning, funding, and implementing anti-trafficking policy. It also       if they do not meet government-imposed quotas. Absent government
called for the creation of an interagency anti-trafficking task force under   measures to prevent, monitor, or address supply chain contamination,
the authority of the cabinet of ministers to coordinate, plan, monitor,       some goods containing cotton harvested through the use of forced labor
and report on the government’s anti-trafficking efforts and analyze           may have entered international supply chains. In addition, the government
trends, improve victim protection measures, raise awareness, and              compulsorily mobilizes students, teachers, doctors, and other civil
monitor implementation of the NAP. The interagency anti-trafficking           servants for public works and community cleaning and beautiﬁcation
task force, which was formally approved in 2019, continued to meet            projects, such as the planting of trees and the cleaning of streets and
                                                                                                                              Haiti AR_001038              557
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 663 of 729
UGANDA   public spaces in advance of presidential visits and in unpaid support           enforcement officials lacked a victim-centered approach when working
         roles during government-sponsored parades and holiday celebrations.             with victims, potentially discouraging them from participating in criminal
         Authorities have also forced public servants and students to serve in           proceedings. Government efforts to protect Ugandan trafficking victims
         uncompensated support roles during government-sponsored events, such            exploited abroad, particularly among migrant workers, remained minimal.
         as the 2018 World Weightlifting Championship and World Bicycle Day;
         similarly, ﬁnancial hardships stemming from land expropriation, forcible
                                                                                                 UGANDA TIER RANKING BY YEAR
         evictions, and home demolition in advance of high-proﬁle sporting
                                                                                             1
         events may have made some communities vulnerable to trafficking.
         Police reportedly conduct sweeps to remove individuals experiencing                 2
         homelessness and subsequently place them in agricultural work or                  2WL
         domestic servitude at the residences of law enforcement-connected
                                                                                             3
         families. Families living in poverty often compel children to serve as                    2015      2016     2017     2018   2019   2020     2021    2022
         porters in local marketplaces and to harvest carrots in the ﬁelds. Children
         are reportedly forced to work in cotton and potato ﬁelds during summer
         educational camps. Workers in the construction sector and at small-scale
         sericulture operations are vulnerable to forced labor. Turkmenistan’s           PRIORITIZED RECOMMENDATIONS:
         small stateless population—primarily consisting of undocumented                 Signiﬁcantly increase the availability of shelter and specialized services
         residents with expired Soviet nationality documentation—are vulnerable          for all trafficking victims—particularly adult males and victims identiﬁed
         to trafficking. Criminalization of consensual sexual intercourse between        in rural areas—including by partnering with and allocating sufficient
         men makes some members of Turkmenistan’s LGBTQI+ communities                    funding to NGOs that provide victim care. • Strengthen the partnership
         vulnerable to police abuse, extortion, and coercion into informant roles;       between police and prosecutors to more efficiently and effectively
         widespread social stigma and discrimination against LGBTQI+ individuals         complete the judicial proceedings of trafficking cases, including
         also compound their vulnerability to family-brokered forced marriages           increased training on strong evidence gathering and victim-centered
         that may result in corollary sex trafficking or forced labor indicators.        investigations. • Vigorously investigate and prosecute alleged traffickers,
         Residents of rural areas in Turkmenistan are at highest risk of becoming        and sentence convicted traffickers, including complicit officials, to
         trafficking victims, both within the country and abroad.                        penalties as prescribed by the 2009 anti-trafficking law. • Using the
         Turkmen men and women are subjected to forced labor after migrating             NRG, systematically and proactively identify trafficking victims by
         abroad for employment in the textile, agricultural, construction, and           screening vulnerable populations, such as refugees, asylum-seekers,
         domestic service sectors; Turkmen migrant men are also subjected to             individuals in commercial sex, children in the Karamoja region, and Cuban
         forced criminality in drug trafficking. Sex traffickers exploit Turkmen         medical professionals, for trafficking indicators and refer all trafficking
         women abroad. Turkey, Russia, and India are the most frequent                   victims to appropriate services. • Enact witness protection legislation
         destinations of Turkmen victims, followed by other countries in the             and implement a witness protection program for victims participating
         Middle East, South and Central Asia, and Europe. Enduring government            in criminal proceedings. • Increase protection for Ugandan trafficking
         restrictions on freedom of movement, preventing citizens from leaving the       victims exploited abroad, including by training Ugandan embassy staff
         country, incentivize some citizens to pursue unofficial migration channels      to identify and assist victims, establishing and implementing additional
         rife with trafficking vulnerabilities. Government austerity measures            bilateral labor agreements with destination countries, and assigning
         limiting certain foreign ﬁnancial transactions, coupled with travel and         additional labor attachés to Ugandan embassies to monitor migrants
         entry restrictions, may increase the risk of sex or labor exploitation          abroad. • Consistently enforce strong regulations and oversight of labor
         among Turkmen citizens stranded abroad during the pandemic.                     recruitment companies, including eliminating recruitment fees charged
                                                                                         to migrant workers and holding fraudulent labor recruiters criminally
                                                                                         accountable. • Strengthen the capacity of labor inspectors to identify and
                                                                                         report potential trafficking crimes and refer victims of labor trafficking
          UGANDA: TIER 2                                                                 to appropriate services. • Establish and institutionalize the use of a
                                                                                         centralized national data collection and reporting tool to synthesize
                                                                                         and analyze nationwide law enforcement and victim protection data
         The Government of Uganda does not fully meet the minimum standards              related to trafficking crimes. • Accede to the 2000 UN TIP Protocol.
         for the elimination of trafficking but is making signiﬁcant efforts to do so.
         The government demonstrated overall increasing efforts compared with            PROSECUTION
         the previous reporting period, considering the impact of the COVID-19           The government increased anti-trafficking law enforcement efforts.
         pandemic, on its anti-trafficking capacity; therefore Uganda was                The Preventing Trafficking in Persons Act of 2009 criminalized sex
         upgraded to Tier 2. These efforts included investigating and prosecuting        trafficking and labor trafficking and prescribed punishments of up to 15
         more trafficking crimes; convicting the most traffickers ever reported in       years’ imprisonment for offenses involving adult victims and up to life
         a single year; and developing robust standardized operating procedures          imprisonment for those involving child victims. These penalties were
         (SOPs) for law enforcement and increasing trainings for investigators and       sufficiently stringent and, with respect to sex trafficking, commensurate
         prosecutors. Government officials increased use of the National Referral        with those prescribed for other serious crimes, such as kidnapping. The
         Guidelines for Management of Victims of Trafficking in Uganda (NRG),            Children Amendment Act of 2016 conﬂicted with the 2009 anti-trafficking
         resulting in the government identifying more trafficking victims. For the       act in some respects—for example, it deﬁned child sex trafficking to require
         ﬁrst time in six years, the government reported directly assisting victims      force, fraud, or coercion, which was inconsistent with the deﬁnition of
         and referring victims to protection services. The government enacted new        trafficking under international law, and prescribed substantially lower
         employment regulations to increase the ethical recruitment of Ugandan           penalties for the crime.
         migrant workers; the government implemented these regulations by                The Coordination Office to Prevent Trafficking in Persons (COPTIP)
         investigating and suspending more recruitment companies engaging                remained responsible for compiling law enforcement data. COPTIP
         in fraudulent and exploitative recruitment activities. The government           continued to report “incidents” related to human trafficking, which
         allocated signiﬁcantly more funds for anti-trafficking activities. However,     included simple inquires up to full police investigations; the government
         the government did not meet the minimum standards in several key                did not provide a breakdown of the various categories that make up an
         areas. Access to adequate services for some victims, particularly adult         incident or how many incidents resulted in full investigation. In 2021, the
         males and individuals in rural areas, remained limited, and the lack            government reported investigating 421 incidents of human trafficking
         of shelters in the country, both long-term and short-term, continued            involving 501 suspects, a signiﬁcant increase compared with 214 incidents
         to adversely affect the government’s ability to adequately protect              involving 154 suspects in 2020. Of the 421 reported incidents of human
         trafficking victims. The absence of victim-witness protection policies          trafficking, at least 278 involved exploitation in Uganda and at least 113
         hindered some investigations and prosecutions; additionally, some law           involved exploitation abroad; 30 incidents of trafficking were unknown.

 558                                                                                                                                    Haiti AR_001039
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 664 of 729




                                                                                                                                                              UGANDA
The government reported initiating prosecutions against 537 alleged            officers continued to lack an understanding of the anti-trafficking law
traffickers in 403 cases in 2021, a signiﬁcant increase compared with          and may have misclassiﬁed trafficking cases as other crimes or collected
prosecuting 283 individuals in 202 cases in 2020. Of the 403 cases             insufficient evidence for trafficking cases to proceed to prosecution.
ﬁled, at least 256 involved sex trafficking, 103 involved forced labor,        Due to the limited availability of shelters and other protections, the
and 44 involved unknown exploitation; 357 involved exploitation in             government often quickly repatriated foreign victims before obtaining
Uganda and 46 involved exploitation abroad. The government withdrew            their testimony, which continued to impede the completion of trials. The
11 cases due to lack of evidence, while 361 cases remained ongoing at          government collaborated with the Government of Kenya and INTERPOL
the end of the reporting period. Courts convicted 30 traffickers under         on one case involving forced labor in Kenya; the cooperation with foreign
the 2009 anti-trafficking act—the most convictions ever reported in a          counterparts led to the arrest of three traffickers in Uganda, who regularly
single year—compared with 11 convictions in 2020. Of the 30 convictions,       exploited Ugandan girls in Kenya. The UPF also coordinated with the
courts convicted 14 traffickers for sex trafficking and 16 for forced labor.   Government of Kenya to conduct cross-border trainings on identifying
Courts sentenced the majority of traffickers to signiﬁcant prison terms,       and investigating trafficking crimes.
including the ﬁrst reported life sentence for a trafficker convicted of
child sex trafficking; the average sentence was approximately 10 years’        PROTECTION
imprisonment. Courts acquitted one trafficker for unspeciﬁed reasons.          The government increased victim protection efforts. The government
In response to the pandemic, courts nationwide closed or signiﬁcantly          reported identifying 710 victims in 2021, compared with 257 victims
scaled down operations from June 2021 to November 2021. During this            in 2020. Additionally, the government also intercepted 305 potential
time, some courts in urban areas utilized virtual options; however, the        victims using screening tools at sites known for transporting trafficking
court closures exacerbated previous case backlogs. The Office of the           victims, including airports, border crossings, and internal highways; this
Director of Public Prosecutions (ODPP) Department of Gender, Children,         compared with 378 potential victims intercepted in 2020. NGOs and
and Sexual Offenses held special court sessions to alleviate the case          international organizations reported identifying and assisting at least
backlog related to sexual and gender-based violence, including potential       826 potential victims, providing them with various services, including
trafficking crimes; ODPP did not systematically track trafficking cases        medical care, shelter, psycho-social counseling, family reuniﬁcation,
tried during these special sessions.                                           and repatriation assistance. Government officials continued to use
                                                                               the NRG to identify trafficking victims and refer them to services. The
Corruption and official complicity in trafficking crimes remained signiﬁcant
                                                                               NRG provided victim referral guidelines for stakeholders—including
concerns, inhibiting law enforcement action during the year. Observers
                                                                               police, prosecutors, immigration officials, and NGOs—and described
reported police officers and immigration officials, particularly at airports
                                                                               resources and recommendations for victim protection. The government
and border crossings, accepted bribes to facilitate trafficking crimes or to
                                                                               took signiﬁcant steps to enhance implementation of the NRG, which
warn traffickers of impending operations and investigations. Media and
                                                                               was adopted in July 2020, including by distributing copies of the NRG
senior government officials reported high-level officials may have owned
                                                                               to stakeholders and training them on its use. Several government
or been associated with some labor recruitment companies suspected
                                                                               agencies, including the MIA, developed unit-level guidance to further
of trafficking. In 2021, the government investigated six government
                                                                               operationalize the NRG. In 2021, COPTIP, in partnership with an NGO,
officials—including police officers, local defense units, and immigration
                                                                               developed a national directory of trafficking victim service providers
officials—involved in potential trafficking crimes; all six cases remained
                                                                               to complement the NRG. Additionally, the Ministry of Gender, Labor,
ongoing at the end of the reporting period. Courts convicted one army
                                                                               and Social Development (MGLSD) partnered with a local NGO to
officer charged with child sex trafficking in 2020 and sentenced him to
                                                                               develop trauma-informed standards of care for survivors of trafficking.
six years’ imprisonment.
                                                                               The government continued to operate under the implementing
The Criminal Investigation Directorate (CID) within the Ugandan Police         regulations of the 2009 anti-trafficking act; these regulations outlined
Force (UPF) and ODPP maintained anti-trafficking units, which were             responsibilities for relevant stakeholders, including law enforcement,
responsible for responding to trafficking crimes and coordinating between      medical professionals, and civil society members, to combat trafficking.
law enforcement officers. In 2021, COPTIP, in partnership with other
                                                                               For the ﬁrst time in six years, the government reported directly assisting
sections of the Ministry of Internal Affairs (MIA), established an anti-
                                                                               victims and referring victims to protection services using the NRG, the
trafficking unit at major border crossings. In 2019, UPF announced the
                                                                               newly developed service provider directory, and the country’s multi-
creation of an Anti-Trafficking Department within CID; however, the
                                                                               sectoral victim support system. The UPF continued to operate a short-
department remained awaiting ﬁnal approval by the public service
                                                                               term shelter for trafficking victims in Kampala. The government provided
commission for the second consecutive year. While awaiting ﬁnal approval
                                                                               temporary shelter and support to 334 victims at the center in 2021; in
and direct funding, the department relied on the UPF’s Department of
                                                                               some cases, officials allowed victims to stay at the shelter for longer
Sexual Offenses and Children Cases for resources. Officials continued to use
                                                                               periods of time to participate in criminal proceedings against traffickers.
an electronic application, set up by ODPP in response to pandemic-related
                                                                               The government, in partnership with civil society organizations, also
movement restrictions in the previous year, to facilitate communication
                                                                               provided an unreported number of victims with various protection
between police and prosecutors and to share best practices for human
                                                                               services, including shelter, medical services, psycho-social counseling,
trafficking investigations and prosecutions across the country. In 2021,
                                                                               vocational training, and community reintegration. The availability of
ODPP, in partnership with an NGO, developed and implemented a mobile
                                                                               victim care remained inadequate to meet the needs of victims, especially
phone app to collect and disseminate standardized data pertaining to
                                                                               outside of the central and eastern parts of the country, and services
human trafficking investigations and prosecutions, enabling government
                                                                               were primarily for women and children, limiting the services available
agencies to track suspected and convicted traffickers and nationwide
                                                                               for male victims. Government officials and civil society reported the lack
trafficking trends.
                                                                               of shelters in the country, both long-term and short-term, continued
The government, in partnership with NGOs and international organizations,      to adversely affect the government’s ability to adequately protect
trained police, border agents, immigration officials, and community            trafficking victims. In some cases, police reportedly returned child
elders on the anti-trafficking law, victim-centered investigation              victims exploited by their guardians to their homes due to the limited
strategies, evidence gathering for successful prosecutions, and victim         availability of shelters or alternative forms of care. In response to the
identiﬁcation and referral procedures. During the reporting period, the        pandemic, some NGO shelters and government-run centers acted as
UPF developed a best practices guide for anti-trafficking investigations       quarantine or testing centers and operated under limited capacity
and an anti-trafficking training manual for police training academies;         due to social distancing measures, added steps for victim intake, or
the UPF also partnered with ODPP to create SOPs for investigating and          staffing gaps; the government reported this decreased its ability to
prosecuting trafficking cases. ODPP also developed and disseminated            refer all victims to care. The government also reported pandemic-related
new prosecution guidelines, which outlined best practices for prosecutors      measures, such as travel restrictions, mandatory quarantine and testing,
handling trafficking cases. The government allocated 50 million Ugandan        social distancing, and curfews, during the May 2021 to September 2021
shillings (UGX) ($14,140) to assist with prosecution-led investigations of     lockdown decreased the ability for the government to provide in-person
trafficking cases, including support for victim protection. Despite more       care or transport victims to NGO-run services. Due to the continued
trainings and new protocols, some Ugandan police and immigration
                                                                                                                                 Haiti AR_001040              559
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 665 of 729
UGANDA   demand for trafficking victims protection services, the government           The MGLSD continued to regulate labor migration and other labor-related
         provided some NGOs with exemptions to continue operating at full             matters, including labor trafficking, and increased efforts to improve
         capacity during strict lockdown periods.                                     ethical recruitment practices. In August 2021, the government enacted
                                                                                      the Employment (Recruitment of Ugandan Migrant Workers) Regulations
         To address the exploitation of Ugandan nationals abroad, the Ministry
                                                                                      of 2021, strengthening the previous 2005 Employment Regulations. The
         of Foreign Affairs, in partnership with the MGLSD, continued to offer
                                                                                      2021 regulations increased the basic ﬁnancial and personnel requirements
         temporary shelter to vulnerable migrant workers, including potential
                                                                                      for new and existing labor recruitment companies, prohibited the
         trafficking victims, in Saudi Arabia and the United Arab Emirates (UAE);
                                                                                      licensure of companies whose personnel had previous criminal records
         however, the government did not report the numbers of victims that
                                                                                      related to illegal recruitment or human trafficking, increased penalties
         received these services during the year. In September 2021, the Cabinet
                                                                                      for violations, and deemed companies’ exploitation of workers in forced
         approved the establishment of shelters for vulnerable migrant workers,
                                                                                      labor as grounds for suspension of a recruitment license. In 2021, MGLSD
         including potential trafficking victims, in Qatar, Saudi Arabia, and the
                                                                                      suspended 12 companies’ recruitment licenses for engaging in fraudulent
         UAE. The government, in partnership with international organizations
                                                                                      and exploitative recruitment activities, compared with no suspensions in
         and local NGOs, continued to provide repatriation assistance to Ugandan
                                                                                      2020. Police reported arresting three individuals for illegally operating
         victims exploited abroad.
                                                                                      a recruitment company, compared with one in 2020. The government’s
         The government remained without victim-witness legislation or a program      external employment management system, which functioned as a “one
         to protect trafficking victims participating in criminal proceedings and     stop” internet portal, where Ugandans could search and apply for all pre-
         prevent re-traumatization and generally relied on NGOs to provide            vetted overseas employment opportunities through licensed recruitment
         these services; however, the government took some ad hoc steps to            companies, remained operational. MGLSD continued to contract private
         protect victims absent standardized procedures, including providing          companies to conduct mandatory pre-departure training for Ugandans
         transportation, physical protection, shelter, interpretation services,       utilizing registered labor recruitment companies to travel to the Middle
         and legal counsel. ODPP, in partnership with local NGOs, established         East for employment as domestic workers. The weeklong residential
         child-friendly interviewing rooms in four regional offices where law         training, paid for by the recruitment company, trained 60-70 women
         enforcement, NGOs, and social workers could conduct forensic interviews      each week, including on domestic work skills, contract appreciation,
         with child trafficking victims. The absence of victim-witness protection     migrant worker rights, and resources for assistance.
         policies hindered some investigations and prosecutions due to traffickers’
                                                                                      Despite efforts to improve recruitment practices and enforce regulations,
         access to victims, leading to threats to discourage their participation
                                                                                      observers noted insufficient funding, staffing gaps, corruption, and the
         in trials; additionally, some law enforcement officials lacked a victim-
                                                                                      continued operation of illegal recruitment agencies may have limited
         centered approach when working with victims, potentially discouraging
                                                                                      MGLSD’s overall anti-trafficking efforts. The 2021 regulations allowed
         them from participating in criminal proceedings. The 2009 anti-trafficking
                                                                                      recruiting agencies to charge migrant workers recruitment fees up
         law permitted foreign trafficking victims to remain in Uganda during the
                                                                                      to 20,000 UGX ($6) for administrative costs and various costs for
         investigation of their cases and to apply for residence and work permits,
                                                                                      placement fees and travel preparations, such as pre-departure trainings,
         but the government did not report providing these services. The law
                                                                                      visa application, and medical examinations. The MGLSD continued to
         permitted victims to provide testimony via video or written statement
                                                                                      employ labor attachés in Uganda diplomatic missions in Jordan, Qatar,
         or to anonymously provide information. ODPP reported increasing
                                                                                      Saudi Arabia, and the UAE; the government continued negotiations
         training for investigators to collect supporting evidence to ensure strong
                                                                                      to place labor attachés in Bahrain, Israel, and Oman. Reportedly, the
         evidence gathering in cases where survivors opted not to testify. The law
                                                                                      attachés advocated for Ugandan workers’ rights with host governments,
         allowed victims to seek restitution and compensation in both criminal
                                                                                      screened workers for trafficking indicators, resolved workplace disputes,
         and civil suits; the government reported courts increasingly ordered
                                                                                      provided identity documents, and partnered with licensed employment
         restitution or compensation but did not provide speciﬁc case details.
                                                                                      agencies to ﬁnd legitimate work opportunities for Ugandans; however,
                                                                                      the government did not report speciﬁc actions taken by the attachés
         PREVENTION
                                                                                      during the reporting period. Labor inspectors overseeing working
         The government increased prevention efforts. The National Task Force, led
                                                                                      conditions in the country did not receive training on trafficking and
         by the MIA Permanent Secretary with COPTIP serving as its secretariat,
                                                                                      did not report efforts to identify or report potential trafficking crimes
         met regularly to coordinate anti-trafficking efforts. The government
                                                                                      to law enforcement. The government did not make efforts to reduce
         allocated 360 million UGX ($101,780) for coordination of anti-trafficking
                                                                                      the demand for commercial sex acts. Uganda was not a party to the
         activities, a signiﬁcant increase compared with 168 million UGX ($47,500)
                                                                                      2000 UN TIP Protocol.
         in 2020. The government reported pandemic-related restrictions, such
         as limited capacity of social gatherings and social distancing, led to the
         cancelation of some planned meetings and activities by the National
                                                                                      TRAFFICKING PROFILE
                                                                                      As reported over the past ﬁve years, human traffickers exploit domestic
         Task Force. In addition to pandemic-related restraints, observers noted
                                                                                      and foreign victims in Uganda, and traffickers exploit victims from Uganda
         that COPTIP did not have sufficient staffing or funding to fulﬁll its
                                                                                      abroad. Traffickers exploit Ugandan adults and children in forced labor in
         mandate, hindering progress on new anti-trafficking efforts. Similar to
                                                                                      various industries, including agriculture, ﬁshing, mining, street vending,
         previous years, COPTIP published an annual report containing general
                                                                                      hospitality, and domestic work. Traffickers increasingly use local radio
         information on human trafficking and a summary of its anti-trafficking
                                                                                      and social media to advertise fraudulent job opportunities in Kampala
         efforts. The government continued to implement its 2019-2024 anti-
                                                                                      to lure children from rural areas into exploitative situations. Traffickers
         trafficking national action plan, including by seeking input from NGOs
                                                                                      also exploit women, girls, and boys in sex trafficking throughout the
         and survivors on activities. The government, both independently
                                                                                      country, particularly in Kampala and other urban areas, in brothels, bars,
         and in partnership with NGOs and international organizations, held
                                                                                      residential homes, and on the street. Children from the Karamoja region
         various awareness campaigns targeting government officials, civil
                                                                                      are particularly vulnerable to trafficking due to lack of economic and
         society, community leaders, and the public to educate stakeholders on
                                                                                      educational opportunities in the region; NGOs estimate the majority
         recognizing trafficking crimes, vulnerabilities to trafficking, and victim
                                                                                      of child sex trafficking victims in Uganda are ethnically Karamojong.
         protection measures. The government did not operate a trafficking-
                                                                                      Traffickers, sometimes known as community “elders,” also exploit
         speciﬁc hotline, but it continued to support, in partnership with an
                                                                                      children from the Karamoja region in forced begging and domestic
         international organization, the Uganda Child Helpline (UCH) to receive
                                                                                      servitude; in some cases, traffickers force children to meet them at
         calls related to crimes against children, including trafficking. COPTIP
                                                                                      international borders, where they organized markets to sell the children
         provided training to UCH staff on trafficking and data collection. UCH
                                                                                      into domestic servitude or sex trafficking. In response to the pandemic,
         identiﬁed 108 potential child trafficking victims and referred all cases
                                                                                      most schools closed from March 2020 to January 2022; during this time,
         to law enforcement or services, compared with 81 potential victims
                                                                                      traffickers increasingly exploited children in sex trafficking, including
         identiﬁed through hotline calls in 2020.
                                                                                      online commercial sexual exploitation, and forced labor in domestic
                                                                                      work and begging. In some cases, parents exploit their children in forced

 560                                                                                                                               Haiti AR_001041
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 666 of 729




                                                                                                                                                              UKRAINE
labor and sex trafficking to supplement family income lost as a result of     government initiated an investigation into two allegedly complicit officials
pandemic-related job loss. Observers also report teachers who lost their      during the reporting period, for the ﬁfth consecutive year it did not secure
jobs during school closures may be increasingly vulnerable to trafficking.    any convictions. The government officially identiﬁed far fewer victims in
Employment agencies based in Uganda and abroad, both legal and                2021 than in 2020, while international organizations continued to identify
fraudulent, recruit Ugandans to work in the Middle East—particularly          far more victims than the government, highlighting the government’s
Saudi Arabia, Qatar, Jordan, the UAE, and Oman—where, at times,               inadequate identiﬁcation efforts and a continuing lack of trust in
traffickers exploit them in forced labor in domestic work, hospitality, or    authorities’ ability to protect or assist victims. Observers highlighted
construction; Ugandans who voluntarily migrate in search of employment        the government’s ineffective coordination and implementation of
opportunities are also vulnerable to exploitative conditions. In one          anti-trafficking policies, and NGOs continued to identify systemic
research study, an NGO estimates 89 percent of Ugandans working               shortcomings in implementation of the national referral mechanism
in the Middle East experience conditions indicative of forced labor,          (NRM) at the regional level.
including non-payment of wages, physical abuse, passport conﬁscation,
and excessive working hours. To circumvent the 2016 government                        UKRAINE TIER RANKING BY YEAR
ban on migrant worker travel to Oman, some licensed and unlicensed                1
agencies send Ugandans through Kenya and Tanzania, increasing their
                                                                                  2
vulnerability to debt bondage due to higher recruitment and travel fees.
Traffickers also exploit Ugandans in forced labor and sex trafficking in       2WL
neighboring African countries, Asia, and North America. During the                3
pandemic, many Ugandans abroad experienced loss of employment,                          2015      2016      2017     2018   2019    2020    2021    2022
leaving them trapped in the country due to pandemic-related travel
restrictions, border closures, and economic scarcity; unable to ﬁnd new
work or a safe way home, these individuals are increasingly vulnerable
to trafficking. Traffickers are increasingly targeting university graduates
                                                                              PRIORITIZED RECOMMENDATIONS:
                                                                              Identify and certify the official status of more victims to ensure they are
with the promise of high-paying, skilled jobs abroad; however, upon
                                                                              afforded their rights under the trafficking law and modify the procedure
arrival in the destination country, traffickers exploit these individuals
                                                                              for granting victim status to lessen the burden on victims to self-identify
in domestic servitude. Kenyan business owners and employers exploit
                                                                              and divulge sensitive information. • Vigorously investigate and prosecute
Ugandan girls, particularly from the Karamoja region, in sex trafficking
                                                                              alleged trafficking crimes and punish convicted traffickers with signiﬁcant
and forced labor in Nairobi’s Eastleigh neighborhood. Criminals involved
                                                                              prison terms. • Increase efforts to investigate, prosecute, and convict
in terrorist networks may lure and recruit Ugandan adults and children to
                                                                              officials allegedly complicit in trafficking crimes under the trafficking
Somalia via Kenya to join non-state armed groups, primarily al-Shabaab,
                                                                              statute. • Establish and ﬁll a dedicated National Coordinator position
sometimes with fraudulent promises of lucrative employment.
                                                                              to lead national efforts to coordinate and implement anti-trafficking
Uganda hosts more than 1.6 million refugees, primarily from South Sudan,      policies. • Provide additional, extensive training on the NRM to local
the Democratic Republic of the Congo, and Burundi. Observers report           officials and service providers throughout the decentralization process to
traffickers increasingly exploit refugees, both in village settlements and    minimize disruption in identiﬁcation, referral, and assistance to trafficking
urban areas, in forced labor and sex trafficking. Uganda continues to         victims. • Increase worker protections by eliminating recruitment fees
serve as a transit point for migrants seeking work in the Middle East;        charged to workers by labor recruiters and ensuring employers pay any
traffickers exploit this transiting population in forced labor and sex        recruitment fees. • Increase training for law enforcement, prosecutors,
trafficking. Increasingly, traffickers pose as recruitment agencies to        and judges in the investigation and prosecution of trafficking cases
facilitate the placement of former trafficking victims, primarily from        (particularly on forced labor), using a victim-centered and trauma-
Burundi, by falsely advertising employment in Middle East; instead,           informed approach, and on how to gather evidence outside of victims’
traffickers often exploit these women in Uganda before transporting           testimony. • Increase victims’ access to legal assistance throughout the
them to Kenya for further exploitation. Traffickers exploit children from     criminal process and improve victims’ ability to access court-ordered
neighboring East African countries, including Kenya, Rwanda, and              restitution in criminal cases and compensation through civil proceedings.
Tanzania, in forced labor, primarily in agriculture and domestic work,        • Increase government funding for anti-trafficking efforts, particularly
and sex trafficking in Uganda. Cuban medical professionals working            funding for local communities. • Increase training for officials on victim
in Uganda may have been forced to work by the Cuban government.               identiﬁcation, particularly in proactive screening for labor trafficking and
                                                                              of vulnerable populations, such as women in commercial sex, children
                                                                              exploited in sex trafficking, foreign migrant workers, and internally
                                                                              displaced persons (IDPs). • Increase law enforcement investigations and
 UKRAINE: TIER 2                                                              prosecutions of labor recruitment ﬁrms engaged in fraudulent practices.

The Government of Ukraine does not fully meet the minimum standards           PROSECUTION
for the elimination of trafficking but is making signiﬁcant efforts to do     The government maintained law enforcement efforts. Article 149 of
so. Despite the documented impact of the COVID-19 pandemic on the             the criminal code criminalized sex trafficking and labor trafficking and
                                                                              prescribed penalties of three to eight years’ imprisonment, which were
government’s anti-trafficking capacity, the government demonstrated
                                                                              sufficiently stringent and, with respect to sex trafficking, commensurate
overall increasing efforts compared to the previous reporting period;
                                                                              with those prescribed for other serious crimes, such as rape. Law
therefore Ukraine remained on Tier 2. These efforts included investigating
                                                                              enforcement investigated 222 trafficking cases in 2021, an increase
more suspected traffickers, allocating signiﬁcantly more money to the
                                                                              from 203 in 2020. These included 85 new sex trafficking cases and 137
national budget for anti-trafficking measures, and improving access
                                                                              new labor trafficking cases, of which 54 were for forced involvement in
to identiﬁcation documentation and official registration for vulnerable
                                                                              criminal activity. An international organization stated pandemic-related
populations. The government also took steps to prevent child trafficking
                                                                              travel restrictions changed traffickers’ recruitment tactics and exploitation
and reduce re-traumatization of child victims during the criminal
                                                                              patterns, hampering law enforcement’s detection capabilities. The
justice process. However, the government did not meet the minimum             government prosecuted 101 suspected traffickers in 2021, compared with
standards in several key areas. Authorities convicted fewer traffickers       the prosecution of 51 cases with an unknown number of defendants in
and most convicted traffickers avoided imprisonment, likely due to            2020. The government convicted 24 traffickers in 2021, compared with
judges’ underestimation of the severity of trafficking crimes, entrenched     29 in 2020 and 35 in 2019. Of the 24 convicted traffickers sentenced
stereotypes about what constitutes trafficking in persons, and corruption.    in 2021, only ﬁve (21 percent) received prison sentences, all for a term
This lenient sentencing weakened deterrence, did not adequately reﬂect        of ﬁve to 10 years; nineteen traffickers received suspended sentences.
the nature of the crime, and undercut broader efforts to ﬁght trafficking.    This was similar to 2020 when courts sentenced only 17 percent of
Reports of officials complicit in human trafficking persisted. While the      convicted traffickers to imprisonment. Observers reported many judges
                                                                                                                                   Haiti AR_001042            561
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 667 of 729
UKRAINE   underestimated the severity of trafficking offenses and continued to hold        men (45); authorities identiﬁed two female child victims. Observers
          entrenched stereotypes about what constitutes trafficking in persons,            noted the pandemic exacerbated existing long-term problems in
          while some engaged in corrupt practices. These lenient sentences                 victim identiﬁcation and assistance. NGOs reported the government
          weakened deterrence, did not adequately reﬂect the nature of the                 nearly ceased targeted proactive identiﬁcation efforts because of the
          crime, and undercut broader efforts to ﬁght trafficking. An international        pandemic and pandemic-related restrictions reduced cross-border
          organization reported pandemic-related restrictions adversely affected           movements, including the return of trafficking victims exploited abroad.
          the court system, delaying some legal proceedings. In a notable case             The government reported screening undocumented foreign migrants
          during the reporting period, law enforcement arrested the leader and             for indicators of trafficking; however, observers noted authorities did
          indicted in absentia eight members of an organized criminal group                not consistently do so.
          operating in Russia-controlled eastern Ukraine accused of exploiting
                                                                                           The government provided services, including medical, psychological,
          illegally detained residents for labor to support Russia-led forces’ military
                                                                                           and legal assistance and temporary shelter, to victims granted official
          activities. Authorities cooperated with foreign governments on multiple
                                                                                           victim status. The government approved 67 percent (64 of 96) of
          transnational investigations, including through joint investigation teams
                                                                                           applications for official victim status in 2021, compared with 57 percent
          (JIT) established with Georgia, Greece, France, and Italy. In April 2021,
                                                                                           (134 of 235) of applications in 2020. The National Social Service (NSS),
          authorities established a JIT with Georgia, Greece, and Italy to investigate
                                                                                           formed in 2020, assumed the role of granting official victim status to
          a criminal organization that used fraud to coerce hundreds of Ukrainian
                                                                                           potential victims in May 2021 and began devolving the responsibility of
          citizens to smuggle migrants from Iran, Iraq, Syria, and other Middle
                                                                                           granting official victim status to local communities through the ongoing
          Eastern countries to Europe by sea. Authorities worked with foreign
                                                                                           decentralization reform process. The government took steps to improve
          law enforcement to extradite one suspected trafficker to Moldova and
                                                                                           the victim designation process by introducing an electronic register of
          to support the extradition from Cyprus to Ukraine of one suspected
                                                                                           victims and outlining the procedures for notifying potential victims of
          trafficker. The government amended an agreement with the government
                                                                                           the outcome of their application; observers attributed the decrease
          of Turkey to improve law enforcement cooperation between the two
                                                                                           in the number of applications in 2021 to a lack of qualiﬁed personnel
          countries, including cooperation on anti-trafficking efforts.
                                                                                           and infrastructure at the NSS and pandemic-related restrictions. Civil
          Continued institutional reforms led to widespread turnover in many               society previously reported the government rejected a high percentage
          government institutions, including within the ranks of the National              of applications due to strict internal guidelines for classifying cases as
          Police and the judiciary. Experts reported these institutional reforms           trafficking crimes, police pursuing indictments under statutes other
          created temporary obstacles to anti-trafficking efforts but ultimately           than the trafficking law, and the government demanding additional
          could lead to improved efforts if changes were properly implemented.             evidence to conﬁrm victim status contrary to Ukrainian law, including
          The National Police counter-trafficking unit was incorporated into               conﬁrmation that the victim was recognized as such in court proceedings
          the Migration Police (MiPol) in December 2020; MiPol headquarters                or demanding evidence to show movement across a border. Victims not
          staffing almost doubled from 27 to 45 officials in 2021. Observers               requiring specialized services may have chosen not to apply for official
          assessed many of the newly hired MiPol staff, as well as National Police         victim status, and NGOs reported the emphasis on documents requiring
          investigators, were not sufficiently trained on trafficking. As of November      the divulging of sensitive information likely deterred some applicants
          2021, the government reported nearly 2,000 judicial vacancies; these             from applying. An international organization reported pandemic-related
          vacancies exacerbated delays in court cases caused by pandemic-related           restrictions likely limited the number of applications for official victim
          restrictions. Turnover of personnel led to a lack of qualiﬁed prosecutors        status as potential victims must submit applications in person. The
          to supervise trafficking cases at the regional level. The government, in         government granted official victim status to one individual incarcerated
          conjunction with international funding and partners, conducted multiple          abroad in 2021, compared with zero in 2020 and 40 in 2019; in 2020,
          trainings for law enforcement and other officials. All new police recruits       the government discontinued the use of a simpliﬁed application process
          received trafficking training. Observers reported the National Police            for potential victims incarcerated abroad, which included waiving the
          counter-trafficking unit used outdated online investigative tools and            in-person interview requirement.
          collaborated poorly with other ﬁnancial or cybercrime investigations,
                                                                                           Although the government, in collaboration with partner organizations,
          leading to missed opportunities to identify trafficking crimes in money
                                                                                           trained local officials in effectively assisting potential victims, newly-
          laundering or pornography cases.
                                                                                           devolved local administrative structures were not yet officially part of
          Corruption remained a serious concern in the police and judiciary.               the NRM, resulting in some confusion over responsibilities. Civil society
          Authorities investigated two city council members for recruiting and             reported continued systemic shortcomings in the functioning of the NRM
          transporting vulnerable people to two agricultural companies for the             at the regional level and emphasized government agencies identiﬁed
          purpose of forced labor. Although the government continued to report             a low number of victims through the NRM. Some newly established
          investigations of officials allegedly complicit in trafficking, for the ﬁfth     communities, especially smaller communities, lacked sufficient personnel,
          consecutive year, the government did not report any convictions of               infrastructure, and ﬁnancial resources to effectively provide services
          complicit officials. The government also did not report on the status of         to trafficking victims. Observers noted some local officials responsible
          high-proﬁle cases from previous years, many of which have remained               for identifying and screening victims were not trained on trafficking.
          stalled with the courts for years, including those against the former            Moreover, pandemic-related restrictions and the diversion of funding
          commander of the Kyiv City police counter-trafficking unit, three police         to combat the pandemic further limited trafficking victims’ access to
          officers, recruiters accused of trafficking Ukrainians into a drug-trafficking   state assistance. The government continued to rely on international
          ring in Russia, and a teacher at a government-run boarding school for            organizations and NGOs, with international donor funding, to identify
          orphans in Kharkiv who attempted to sell one of her students.                    victims and provide the vast majority of victim protection and assistance.
                                                                                           An international organization in Ukraine assisted 1,010 victims in 2021,
          PROTECTION                                                                       compared with 1,680 victims in 2020. International organizations reported
          The government demonstrated mixed efforts in victim protection;                  the majority (93 percent) of their identiﬁed victims were exploited by
          although the government allocated signiﬁcantly more funding to                   labor traffickers. An international organization reported NGOs identiﬁed
          the national budget for victim protection efforts and took steps to              102 victims in eastern Ukraine, including in Russia-occupied and Russia-
          reduce re-traumatization of child victims, the government identiﬁed,             controlled territories; the majority of these victims were IDPs, and 98
          officially recognized, and provided services to far fewer victims. In 2021,      of the 102 victims were exploited for forced labor.
          authorities reported there were 64 officially-identiﬁed victims—a status
                                                                                           The government allocated 2.03 million hryvnia ($74,350) to the national
          that granted victims access to government services upon approval of an
                                                                                           budget for anti-trafficking measures in 2021, a signiﬁcant increase from
          application—a decrease compared with 134 officially-identiﬁed victims
                                                                                           548,800 hryvnia ($20,090) in 2020. No funding was allocated for local
          in 2020, although the number of applications decreased by almost 60
                                                                                           budgets in 2021, compared with 219,220 hryvnia ($8,020) in 2020.
          percent from 2020 to 2021. The government reported police identiﬁed
                                                                                           Ukraine’s trafficking law entitled victims with official victim status to
          and referred to services 155 potential victims in 2021 (146 in 2020 and
                                                                                           housing at a government shelter, psychological assistance, medical
          262 in 2019). The majority of the 64 officially-identiﬁed victims were
                                                                                           services, employment counseling, and vocational training, regardless
 562                                                                                                                                   Haiti AR_001043
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 668 of 729




                                                                                                                                                              UKRAINE
of whether a criminal case proceeded or the victim cooperated with             group to draft and implement a law to combat sexual exploitation of
law enforcement. The government did not integrate a rehabilitation             women. In November 2021, the government issued standard operating
center run by an international organization into the national social and       procedures for a government-sponsored hotline dedicated to trafficking,
health care system, despite the government’s prior stated commitment           gender-based violence, and violence against children. The government
to assume operation of the center; some trafficking victims received           did not report how many calls the hotline received in 2021 (29,344 calls
shelter at this center. Adult victims could also stay at government-run        received in 2020), nor if any calls led to the identiﬁcation of victims or
centers for psycho-social assistance for up to 90 days, with the option        their referral to services (38 victims identiﬁed and referred to services
to extend, and receive psychological and medical support, lodging,             in 2020). A local NGO, with funding from international donors, operated
food, and legal and social assistance. Authorities could accommodate           a counter-trafficking and migrant advice hotline. In 2021, the hotline
child victims in centers for socio-psychological support of children           received 22,128 calls, compared with 22,921 calls in 2020; 75 potential
for up to nine months and administer social, medical, psychological,           victims were identiﬁed and referred to responsible local agencies and
education, legal, and other types of assistance. Authorities identiﬁed         NGOs for assistance (77 in 2020). The Office of the Prosecutor General,
two child trafficking victims in 2021 but did not report what services         in collaboration with partner organizations, created dedicated channels
they received, if any. The government maintained 21 centers for socio-         on social media platforms to communicate with children to increase
psychological assistance, 33 state shelters for domestic violence and          detection efforts, prevent child trafficking, and improve communication
trafficking victims, and 796 social services centers. The government           with child trafficking victims or witnesses. The government took several
amended the regulations governing the centers for socio-psychological          measures to improve access to identiﬁcation documentation and official
assistance to ensure trafficking victims receive the full range of necessary   registration for vulnerable populations; lack of documentation and
services available. Observers reported that state assistance remained          access to state services was a risk factor for trafficking. In December
insufficient to meet victims’ needs, and victims continued to rely on          2021, legislation to facilitate residence registration, a pre-requisite for
NGOs for assistance. Foreign victims were entitled to the same beneﬁts         accessing state services, went into effect; experts believed this new law
as Ukrainian citizens and had additional access to interpretation services,    would reduce the risk of trafficking by ensuring the six million Ukrainians
temporary legal stay, and voluntary repatriation. Although legally             with incomplete registration could be recognized by the government.
entitled to the same beneﬁts, observers noted some foreign nationals           In April 2021, the government launched a statelessness determination
and members of underserved communities faced barriers to accessing             process to facilitate the provision of documentation, residency, and
services. Authorities could grant permanent residency to foreign victims       citizenship for stateless persons, a vulnerable population; an international
in danger of retribution should they return to their country of origin.        organization estimated there were 36,000 stateless persons in Ukraine.
Foreign victims were able to obtain an immigration permit after residing       In October 2021, the government adopted a revised strategy to assist
continuously in Ukraine for three years.                                       IDPs; the strategy included a focus on facilitating employment and
                                                                               education, documentation, and integration into host communities. In
The government, often in partnership with international organizations,
                                                                               November 2021, the government passed legislation to allow Ukrainians
provided training for officials on victim identiﬁcation and assistance.
                                                                               living in temporarily Russia-occupied territories to register their existing
In collaboration with an international organization, the government
                                                                               residences and obtain identity documents. Authorities, in coordination
conducted ﬁve simulation exercises for law enforcement and frontline
                                                                               with NGOs, international organizations, and local partners, continued to
responders from ten regions to strengthen collaboration among anti-
                                                                               conduct a wide range of awareness campaigns throughout the country,
trafficking stakeholders in responding to suspected trafficking cases.
                                                                               including via television, social media, print media, and public events. In
The Witness Protection Law provided protections for victims, but
                                                                               December 2021, MiPol, in collaboration with an international organization
observers noted courts rarely used protection measures. Closed hearings
                                                                               and a local university, launched an anti-trafficking chatbot to assist
and remote procedures for questioning and identiﬁcation were the
                                                                               online users in quickly ﬁnding information on safe employment, study,
most frequently used witness and victim protection mechanisms. The
                                                                               and travel, as well as information on how to assist trafficking victims. The
government did not restrict victims’ movement. The government did
                                                                               State Labor Service (SLS) published on its website recommendations
not report if it granted personal protection to victims in 2021 (in 2020,
                                                                               for Ukrainians contemplating working abroad, including information
the government granted eight victims personal protection and changed
                                                                               on trafficking risks.
the personal data of three witnesses in criminal proceedings). Video
testimony systems that ensured the complete separation of victims              Police continued to monitor and investigate formal and informal
or witnesses from the accused existed in 14 courts in various regions;         recruitment networks, including companies advertising jobs abroad,
the courts used these systems 19 times during hearings of trafficking-         and worked with other stakeholders to raise awareness about known
related crimes in 2021. In 2021, prosecutors created specialized units         recruitment schemes. The Ministry of Economic Development and Trade
to handle cases involving child trafficking victims and took measures          oversaw the licensing of labor recruitment agencies and conducted
to avoid their re-traumatization, including by preventing direct visual        regular and random inspections on their activities. Legislation
contact between the victim and other participants. The government,             banning recruitment companies from charging fees to citizens seeking
with the assistance of an international organization, also established         employment abroad was registered in parliament; the legislation had
several regional specialized centers for child victims or witnesses; at        not been adopted by the end of the reporting period. Labor inspectors
these centers, specialized staff interviewed children in a trauma-informed     conducted 7,231 inspections in 2021, compared with 14,803 unscheduled
manner and children received psycho-social, legal, and medical care, as        inspections in 2020; the government did not report if inspectors identiﬁed
needed. For the third consecutive year, the government did not report          any potential trafficking victims in 2021. The government, in collaboration
cases of courts ordering restitution for trafficking victims; however, an      with an international organization, developed a distance learning anti-
international organization conﬁrmed some victims collected court-              trafficking training for labor inspectors. NGOs previously reported
awarded restitution in 2021.                                                   there was an insufficient number of labor inspectors to effectively
                                                                               meet their mandate. The SLS maintained cooperation with Lithuania’s
PREVENTION                                                                     labor inspectors, including by publishing information on employment
The government increased prevention efforts. The Ministry of Social            opportunities and legal regulations for foreign nationals in Lithuania on
Policy (MSP) continued to lead anti-trafficking efforts at the national and    Lithuania’s State Labor Inspectorate website. The government made
local levels, but observers widely criticized the ministry for ineffective     some efforts to reduce the demand for commercial sex acts; Article 149
coordination and engagement on anti-trafficking efforts. Experts noted         reportedly criminalized the act of knowingly soliciting or patronizing a
no one individual held the position of National Coordinator to execute         sex trafficking victim, but an NGO noted the language in the statute is
the ministry’s anti-trafficking responsibilities, weakening its leadership     broad. The government continued to provide victim identiﬁcation and
on this issue. In July 2021, the government approved a general draft           referral training to diplomats.
concept for a 2021-2025 national action plan; no further progress was
made by the end of the reporting period. The MSP did not publish a             TRAFFICKING PROFILE
report on the implementation of the government’s anti-trafficking              As reported over the past ﬁve years, human traffickers exploit domestic
policies. The government and members of parliament created a working           and foreign victims in Ukraine, and traffickers exploit victims from

                                                                                                                                 Haiti AR_001044              563
                           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 669 of 729
UNITED ARAB EMIRATES   Ukraine abroad. Ukrainian victims are exploited in sex trafficking and
                       forced labor in Ukraine as well as in Russia, Poland, Germany, other             UNITED ARAB EMIRATES:
                       parts of Europe, the People’s Republic of China (PRC), Kazakhstan,
                       and the Middle East. Ukrainian victims are increasingly exploited in             TIER 2
                       EU member states. Traffickers exploit most victims for forced labor.
                       Traffickers exploit some Ukrainian children and vulnerable adults in            The Government of the United Arab Emirates (UAE) does not fully
                       forced begging. NGOs estimate 10-15 percent of the Roma community               meet the minimum standards for the elimination of trafficking but is
                       lack identiﬁcation documents, leaving them unable to access state               making signiﬁcant efforts to do so. The government demonstrated
                       social assistance programs and thereby increasing their vulnerability           overall increasing efforts compared with the previous reporting period,
                       to trafficking. Traffickers exploit a small number of foreign nationals         considering the impact of the COVID-19 pandemic on its anti-trafficking
                       in forced labor in Ukraine. A growing number of forced labor victims            capacity; therefore the United Arab Emirates remained on Tier 2. These
                       in Ukraine and abroad are exploited in a variety of sectors, including          efforts included convicting more traffickers overall, reporting a forced
                       construction, manufacturing, agriculture, criminal activity, and street         labor prosecution for the ﬁrst time since 2018, and identifying a victim of
                       begging. Traffickers force some victims to participate in the illegal           forced labor for the ﬁrst time in ﬁve years. However, the government did
                       production of counterfeit tobacco products and well-established                 not meet the minimum standards in several key areas. The government
                       criminal groups force some Ukrainian victims to engage in other illegal         did not convict any traffickers for the forced labor of a migrant worker
                       activities abroad. Some traffickers exploit victims in forced labor at          during the year and has not ever done so; it also did not report the number
                       rehabilitation centers under the guise of providing treatment for               of trafficking cases authorities investigated for the 10th consecutive year.
                       alcohol or drug addiction. Pandemic-related movement restrictions               Officials did not regularly investigate labor law violations that exhibited
                       and border closures resulted in traffickers exploiting a larger number          trafficking indicators—such as cases of unpaid or withheld wages,
                       of Ukrainians in labor trafficking within Ukraine and in commercial sex,        passport retention, restriction of movement, and related abuses—as
                       increasingly online. Traffickers target low-skilled workers transiting          potential trafficking crimes, addressing them administratively instead of
                       Ukraine. Increasingly, well-educated workers are vulnerable to labor
                                                                                                       through criminal proceedings, which undercut efforts to hold traffickers
                       exploitation. The approximately 104,000 children institutionalized in
                                                                                                       accountable and weakened deterrence. Finally, the government did not
                       state-run orphanages are at especially high risk of trafficking. Officials of
                                                                                                       consistently screen vulnerable populations for trafficking indicators, which
                       several state-run residential institutions and orphanages have allegedly
                                                                                                       may have penalized some victims for unlawful acts traffickers compelled
                       been complicit or willfully negligent in the sex and labor trafficking of
                                                                                                       them to commit, such as immigration or “prostitution” violations, and the
                       girls and boys under their care.
                                                                                                       deportation of other unidentiﬁed victims. This contributed to the lowest
                       Prior to Russia’s 2022 invasion, in areas of eastern Ukraine controlled         number of victims the government identiﬁed in ﬁve years.
                       by Russia-led forces, employment options were limited and Russia’s
                       proxy “authorities” placed restrictions on international humanitarian
                       aid intended to help meet civilian needs. IDPs, those living in                         UNITED ARAB EMIRATES TIER RANKING BY YEAR

                       Russia-controlled territory or within 20 km of the line of contact                  1
                       in the Donbas, and residents of Crimea faced signiﬁcant barriers                    2
                       to obtaining or renewing identiﬁcation documents, increasing their                2WL
                       vulnerability to exploitation. Uncorroborated reports indicated Russia-
                                                                                                           3
                       led forces exploited Ukrainians for labor, particularly in the mines of
                                                                                                                  2015     2016      2017     2018         2019   2020   2021   2022
                       Russia-controlled Donbas. International organizations reported the
                       demographics of Ukrainian trafficking victims have shifted since the
                       beginning of the conﬂict in 2014 to include more urban, younger, and
                       male victims exploited increasingly in forced labor and criminality,            PRIORITIZED RECOMMENDATIONS:
                       such as for drug trafficking and as couriers. Traffickers reportedly            Signiﬁcantly increase efforts to investigate, prosecute, and convict
                       kidnapped women and girls from conﬂict-affected areas for sex and               traffickers of forced labor crimes, speciﬁcally of migrant workers,
                       labor trafficking in Ukraine and Russia. Traffickers targeted IDPs and          including domestic servitude, under the anti-trafficking law. • Increase
                       subjected some Ukrainians to forced labor on territory not under                efforts to identify and provide protective services for labor trafficking
                       government control, often via kidnapping, torture, and extortion. These         victims. • Expand trainings to officials across all emirates to better
                       abuses and vulnerabilities likely continued after Russia launched its           identify potential trafficking cases that originate as labor violations. •
                       all-out war against Ukraine in February 2022.                                   Strengthen efforts to punish potential forced labor crimes criminally
                                                                                                       instead of administratively and refer cases with trafficking indicators,
                       Russia’s full-scale invasion of Ukraine forced more than four million           such as complaints of non-payment of wages, passport conﬁscation,
                       people to ﬂee Ukraine in the ﬁrst ﬁve weeks of war and displaced almost         and restriction of movement, for investigation as potential trafficking
                       6.5 million more within its borders, a total of almost one quarter of           crimes. • Regularly employ standard procedures for victim identiﬁcation
                       Ukraine’s population. Experts estimate as many as 90 percent of those           and referral to quality care among foreign workers, particularly women
                       who have ﬂed the country are women and children, and that more than             in commercial sex, domestic workers who have ﬂed their employers,
                       half of Ukraine’s children—4.3 million out of seven million—have been           and other vulnerable documented and undocumented migrants, to
                       displaced. These refugee and displaced populations are especially               ensure authorities do not penalize victims. • Report the number of
                       vulnerable to human trafficking. Even for those not displaced, the war          trafficking investigations and the number of identiﬁed victims that
                       heightens individuals’ vulnerability to trafficking. By the end of March        were not involved in active court proceedings. • Report the number of
                       2022, Ukrainian officials assessed Russian forces relocated thousands           labor law violations—such as passport retention, withholding of wages,
                       of Ukrainians to Russia, including some to remote areas; press reports          and other complaints of abuse reported by workers, employers, and
                       indicate many of these Ukrainians were transferred forcibly. These              recruitment agencies, and identiﬁed from inspections. • Continue to
                       citizens are highly vulnerable to trafficking.                                  expand use of the Wage Protection System (WPS) pilot program for
                       Uncorroborated reports of Russia-led forces using children as soldiers,         domestic workers to ensure all workers are covered under the system.
                       informants, and human shields persist. Russia-led forces in Russia-             • Execute implementing regulations for and strengthen enforcement of
                       controlled areas of the Donbas have reportedly used children to take            the domestic worker law that expands legal protections for domestic
                       direct and indirect part in the armed conﬂict to perform armed duty             workers. • Strictly enforce prohibitions on withholding workers’ passports.
                       at checkpoints, as ﬁghters, and to serve as guards, mailpersons, and
                       secretaries. The recruitment of children by Russia-led forces took place        PROSECUTION
                       in territory controlled by Russia and in areas where the government             The government demonstrated uneven law enforcement efforts; it
                       was unable to enforce national prohibitions against the use of children         convicted more traffickers and prosecuted an alleged labor trafficker for
                       in armed conﬂict.                                                               the ﬁrst time since 2018, but it continued to focus efforts overwhelmingly
                                                                                                       on sex trafficking and has not historically reported forced labor
    564                                                                                                                                                      Haiti AR_001045
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 670 of 729




                                                                                                                                                               UNITED ARAB EMIRATES
convictions. Federal Law No. 51 of 2006 and its amendments in Federal           of the problem. The program was expanded in 2021 to include 101
Law No. 1 of 2015 criminalized sex trafficking and labor trafficking and        virtual participants representing national police authorities, human
prescribed penalties ranging from ﬁve years to life in prison, as well as       rights associations, shelters, and federal and national government
ﬁnes and deportation for non-citizens. These penalties were sufficiently        bodies, as well as participants from across the Gulf Cooperation Council
stringent and, with respect to sex trafficking, commensurate with those         countries. Employees of Abu Dhabi and Dubai airports continued to
prescribed for other serious crimes, such as rape.                              receive training on trafficking awareness and reporting processes,
                                                                                including identifying potential cases and victims upon arrival at the
The government did not report statistics on investigations of suspected
                                                                                airports or on ﬂights. Additionally, the Federal Authority for Identity
trafficking cases for the 10th consecutive year. During the reporting year,
                                                                                and Citizenship provided multiple anti-trafficking trainings to staff
the government prosecuted 40 alleged traffickers in 19 cases, including
                                                                                employed at UAE entry points—including customs, border, and port
34 individuals in 15 sex trafficking cases, two individuals in two forced
                                                                                security officials—on topics such as forgery detection, human rights,
begging cases, and three individuals in one case for “selling” victims
                                                                                and uncovering signs of trafficking. Finally, MOHRE provided training
across the seven emirates. This was a decrease compared with the
                                                                                to more than 300 labor inspectors on understanding anti-trafficking
prosecution of 57 alleged traffickers in 20 cases during the previous
                                                                                legislation. However, observers noted Emirati officials would beneﬁt
year: 54 individuals in 19 sex trafficking cases and three individuals in one
                                                                                from additional targeted training on effective implementation of the
child forced begging case. For the ﬁrst time since 2018, the government
                                                                                anti-trafficking law, victim-centered approaches to law enforcement
reported prosecuting one individual for forced labor during the year.
                                                                                efforts, and identifying potential labor trafficking cases from labor
Of the prosecutions, 14 alleged perpetrators in ﬁve sex trafficking
                                                                                violations that exhibit trafficking indicators.
cases and one alleged perpetrator in one forced labor case remained
pending verdicts at the close of the reporting period. Courts convicted
23 traffickers, including 18 sex traffickers, two individuals for forced
                                                                                PROTECTION
                                                                                The government made uneven efforts to protect trafficking victims; for
begging, and three individuals for “selling victims,” and sentenced
                                                                                the ﬁrst time since 2016, the government identiﬁed one forced labor
them to between six months and life imprisonment, with the majority
                                                                                victim, but it did not increase any other protection efforts, nor did it
of perpetrators receiving three years or more with additional ﬁnes.
                                                                                consistently screen vulnerable populations for trafficking indicators,
While the government did not report the nationalities of traffickers,
                                                                                which may have resulted in the penalization of some victims for unlawful
the vast majority were foreign nationals subject to deportation at the
                                                                                acts traffickers compelled them to commit. Consistent with prior years,
conclusion of their sentences. In 2020, courts convicted 15 sex traffickers
                                                                                the government reported the number of trafficking victims it identiﬁed
under trafficking laws and handed down similar punishments, while in
                                                                                as the number of victims involved in active court cases and did not
2019, courts convicted 67 sex traffickers under the trafficking law. The
                                                                                otherwise track potential victims or those victims whose cases did
government has not ever reported convictions for the forced labor of
                                                                                not go to trial. It reported identifying the lowest number of victims in
migrant workers—the largest trafficking problem in the UAE. In one
                                                                                the last ﬁve years. The government identiﬁed and referred to care 25
speciﬁc case during the year, the Dubai Court of Appeals convicted
                                                                                victims, including 21 of sex trafficking, two of forced begging, one of
six individuals for trafficking, forging documents, and abusing a child;
                                                                                “selling,” and—for the ﬁrst time since 2016—one victim of forced labor.
the perpetrators deceived a 16-year-old female into coming to the UAE
                                                                                This was compared with 33 sex trafficking victims and one child forced
with a false job offer as a domestic worker and forged her documents to
                                                                                begging victim identiﬁed and referred to care during the previous
facilitate her entry into the country, where she was sexually assaulted by
                                                                                reporting period.
the traffickers and then forced into domestic work, where her salary was
withheld and provided to one of the six traffickers as a means of coercing      While the government had standard procedures for victim identiﬁcation,
her into commercial sex to receive payment. The court sentenced three           officials did not regularly employ these procedures proactively and
of the traffickers to 10 years’ imprisonment, two traffickers to seven          continued to rely predominantly on third-party referrals to identify
years’ imprisonment, and one trafficker to six months’ imprisonment.            victims, including from foreign embassies, religious institutions, or
                                                                                tips received through government hotlines, smartphone applications,
Observers noted Emirati institutions had limited understanding of how
                                                                                and the internet. Authorities continued to implement a formal referral
to differentiate between labor trafficking crimes and labor violations.
                                                                                process to transfer potential trafficking victims from detention centers,
The government did not routinely investigate as possible trafficking
                                                                                hospitals, houses of worship, and facilities run by source country
crimes labor law violations that exhibited trafficking indicators, such
                                                                                embassies or consulates, as well as those identiﬁed from shelter-operated
as passport conﬁscation, delayed or nonpayment of wages, fraud, and
                                                                                hotlines, to government shelters. Government shelter staff reported that
contract switching; generally, the government settled these cases by
                                                                                although police were supposed to refer all potential trafficking victims
levying administrative ﬁnes or canceling business licenses in lieu of
                                                                                to government shelters, in some cases, police only referred individuals
criminal proceedings. Labor violations, including those involving forced
                                                                                that law enforcement had already officially determined to be trafficking
labor, continued to be addressed by Ministry of Human Resources and
                                                                                victims. Shelter staff also assessed all individuals referred to the shelter
Emiratization (MOHRE) through administrative dispute resolution
                                                                                upon arrival using an international organization-issued screening
processes and labor courts. The government did not report any
                                                                                questionnaire to better assess victims’ needs. While this assessment
investigations, prosecutions, or convictions of officials complicit in
                                                                                was shared with law enforcement, authorities did not always consider
trafficking crimes during the reporting year. Police, judges, prison
                                                                                the shelter’s determination and instead came to a separate conclusion
officials, and immigration authorities continued to receive training to
                                                                                on whether the individual was officially a trafficking victim. However,
identify trafficking victims; the specialized anti-trafficking units within
                                                                                shelter staff reported all potential victims had access to shelter and
local police headquarters and public prosecution offices at the federal
                                                                                services regardless of law enforcement’s determination. Authorities also
and local level throughout the Emirates routinely facilitated trainings
                                                                                sometimes held potential victims who encountered law enforcement ﬁrst
for staff on handling trafficking cases. For example, the Abu Dhabi
                                                                                at a transitional center until they could make an official determination
Police trained more than 1,300 judges and prosecution staff through
                                                                                of their trafficking victim status. At times, female or male police officers
34 different courses and training programs focused on anti-trafficking;
                                                                                in plain clothes—intended to allay victims’ anxieties—escorted officially
the Dubai Police provided the same training to more than 400 police
                                                                                identiﬁed victims from a government-run detention center to a shelter.
officers through 10 courses during the year. In addition, the Ministry
                                                                                In previous reporting periods, some diplomatic contacts and community
of Interior (MOI) provided at least 38 different courses and training
                                                                                leaders reported they were hesitant to refer victims of forced labor
programs for police officers throughout the Emirates, training more than
                                                                                to shelters, as authorities did not always recognize these crimes as
3,000 police staff on topics including victim-centered approaches to
                                                                                trafficking and rather considered them labor violations.
investigating trafficking cases. In October 2021, the National Committee
to Combat Human Trafficking (NCCHT) and Dubai Police inaugurated                The shelters were largely funded through individual donations, notably
the seventh iteration of the “Human Trafficking Specialist” program at          from the ruling family of Abu Dhabi emirate, as well as contributions
the Dubai Judicial Institute (DJI) in collaboration with an international       from public and private companies and religious institutions. The
organization; this was a ﬁve-week diploma program on ways to detect             government maintained oversight and funding for shelters in four of
and prevent trafficking, protect victims, and raise societal awareness          the seven emirates (Dubai, Abu Dhabi, Ras Al Khaimah, and Sharjah),
                                                                                                                                  Haiti AR_001046              565
                           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 671 of 729
UNITED ARAB EMIRATES   offering housing and assistance for all female and child sex trafficking      who wished to return to their home countries but did not report the
                       and abuse victims across the country. The government operated one             number of victims that were repatriated during the reporting period.
                       shelter for men in Abu Dhabi and served one male victim during the year.      Shelter staff noted they assisted an unknown number of trafficking
                       Protective services included medical, psychological, legal, educational,      victims in ﬁnding new employment or sponsors on an ad-hoc basis.
                       rehabilitation and reintegration, vocational training and certiﬁcates, and    The government encouraged victims to assist in the investigation
                       voluntary repatriation with follow-up care after the victim returned home.    and prosecution of traffickers and provided victim-witness protective
                       Child trafficking victims and dependents of trafficking victims received      services, including private interview rooms, free legal counseling, and
                       services tailored to their needs, including separate living sections and      safe transportation to court hearings. Police took measures to prevent
                       case managers, as well as teachers who provided age-appropriate               communication between the victim and suspect. Police also enforced
                       educational and psycho-social support. All police departments had a           two governmental decrees aimed at ensuring the media adhered to
                       special room for interviewing children and other vulnerable victims.          victims’ right to privacy and that shelters adequately protected victims.
                       The Philippine, Indian, and Sri Lankan embassies in Abu Dhabi and the         According to the NCCHT, victims were informed and assured of their
                       Philippine, Indonesian, and Sri Lankan consulates in Dubai provided           rights when giving testimony. Shelter staff reported courts attempted
                       shelter and other protective services to an unspeciﬁed number of their        to accommodate victims’ desire to leave the country and most victims
                       nationals who had been subjected to trafficking during the reporting          were able to depart the UAE with a letter from the presiding judge
                       period. In 2021, the Ugandan embassy in Abu Dhabi began providing             after the ﬁrst court hearing. Both police and shelter representatives
                       shelter to its nationals on an ad-hoc basis, and the Bangladeshi embassy      reported victims often chose immediate repatriation at the UAE’s
                       also provided shelter and services to an unknown number of female             expense rather than remaining in country to testify against alleged
                       domestic workers during the year. Other consulates used “foster families”     traffickers or see a case through to ﬁnal adjudication. In 2021, remote
                       of the same nationality to host victims until their cases were resolved.      court trials continued to be utilized due to the pandemic; observers
                       During the reporting year, officials distributed 191,000 Emirati dirhams      noted the use of remote courts eased the burden on trafficking victims
                       ($52,000) through the Victims Support Fund to trafficking victims             from appearing in the courtroom and made trials move more quickly
                       residing at government shelters across the Emirates, which ﬁnancially         while keeping the victims’ safety and wellbeing protected. However,
                       supported victims by providing housing and education services, and            the government did not report how many trafficking victims had their
                       covering medical expenses, repatriation, or resettlement.                     court proceedings conducted remotely. During the previous reporting
                                                                                                     period, the government established a Witness Protection Program by
                       Independent observers alleged authorities jailed some potential
                                                                                                     expanding Federal Law No. 14 of 2020, which gave judicial officials
                       victims for “prostitution” offenses, consensual sex outside marriage,
                                                                                                     the authority to enroll witnesses in the protection program to keep
                       or “absconding” from their employers. Reports also persisted that some
                                                                                                     their identities conﬁdential during legal proceedings; the government
                       potential victims were unwilling to approach law enforcement officials
                                                                                                     did not report if any trafficking victims were enrolled in the program
                       due to fear of being sent to prison for immigration or other violations,
                                                                                                     during the year. The government reported victims could ﬁle civil suits
                       such as “absconding” from their employer, rather than being accepted
                                                                                                     seeking damages from traffickers but did not report if any victims did
                       into a shelter. MOHRE could reject an “absconding” charge on several
                                                                                                     so during the reporting period.
                       grounds, including if the charge was ﬁled for vexatious or ﬁctitious
                       reasons or if the worker already had a pending claim against their
                       employer with the government, and it also did not force the employee to
                                                                                                     PREVENTION
                                                                                                     The government maintained efforts to prevent trafficking. It continued
                       return to his or her former place of employment. MOHRE did not report
                                                                                                     to carry out its national action plan to address trafficking, driven
                       how many absconding claims it received nor the number it rejected. In
                                                                                                     chieﬂy by the NCCHT; the plan focused on prevention, protection,
                       September 2021, an NGO alleged the government arrested at least 800
                                                                                                     prosecution, punishment, promotion of international cooperation, redress,
                       African migrants based on their race and national origin and deported
                                                                                                     rehabilitation, reintegration, and capacity building. The NCCHT met
                       them without charge. Rights groups alleged the migrants were detained
                                                                                                     four times during the year. In January, the government restructured the
                       for approximately ﬁve weeks, with some experiencing abuses amounting
                                                                                                     NCCHT under the leadership of the Minister of Justice. The government
                       to torture and were forcibly deported despite most possessing valid
                                                                                                     made efforts to prevent forced labor primarily through labor regulatory
                       documentation and visas. The government did not report screening
                                                                                                     and monitoring mechanisms, including labor inspection programs that
                       the African migrants for trafficking indicators prior to deportation
                                                                                                     incorporated routine and unannounced inspections of company housing
                       despite the vulnerability of this population. Furthermore, because the
                                                                                                     and work sites by a team of full-time labor inspectors and seven dedicated
                       government did not routinely use victim identiﬁcation procedures or
                                                                                                     anti-trafficking inspectors. If a company was found to have violated the
                       screen for potential trafficking crimes among vulnerable populations, it
                                                                                                     labor law following an inspection, the government could ﬁne the company
                       may have penalized some unidentiﬁed victims during the year. During the
                                                                                                     or curtail its ability to operate or hire additional workers. Furthermore,
                       previous reporting period, the Dubai Public Prosecution announced an
                                                                                                     the government reported individuals found to have engaged in fraud
                       initiative to encourage employers to report their “absconded” domestic
                                                                                                     that led to forced labor could face jail time. During the year, the NCCHT
                       workers to authorities to prevent employers from hiring illegal workers
                                                                                                     reported MOHRE conducted 354,902 inspection visits but, as in previous
                       and reduce losses incurred by employers whose workers ﬂee. Employers
                                                                                                     years, did not report how many labor law violations were identiﬁed or if
                       could be ﬁned for hiring a worker illegally and could be compensated
                                                                                                     any were referred for further investigation or criminal prosecution as a
                       for ﬁling “absconding” charges against a worker; employers had 10
                                                                                                     potential trafficking case. MOHRE also continued to oversee, regulate,
                       days to report “absconding” workers or risk being ﬁned. This policy
                                                                                                     and enforce labor-related complaints; however, authorities generally
                       continued in 2021 and may have exacerbated vulnerabilities of some
                                                                                                     dealt with labor law violations administratively and did not report
                       workers attempting to leave exploitative situations; to this end, officials
                                                                                                     investigating such cases for trafficking indicators or referring any for
                       may have penalized potential trafficking victims whose employers ﬁled
                                                                                                     criminal prosecution. Workplace grievances routinely resulted in ﬁnes,
                       malicious “absconding” charges during the year.
                                                                                                     suspended permits to hire new workers, or the cancellation of business
                       The government reported it exempted from ﬁnes trafficking victims who         licenses; for example, in July 2021, MOHRE’s Supreme Arbitration
                       had overstayed their visas, but it did not report how many beneﬁtted          Committee for Collective Labor Disputes settled 22 collective labor
                       from this exemption during the reporting period. The government did           disputes for 18,670 workers amounting to 300.6 million Emirati dirhams
                       not provide permanent or formal temporary residency status to victims;        ($81.84 million). The government did not report how many complaints
                       however, it permitted victims to stay in shelters and participate in court    it received from workers, employers, or recruitment agencies during the
                       proceedings and worked with international organizations to resettle           year or the nature of those complaints.
                       (in third countries) victims who could not return to their countries of
                                                                                                     The government’s WPS required and monitored electronic salary
                       origin. MOI officials could amend the status of victims to assist them
                                                                                                     payments for private sector workers via vetted banks, currency
                       in seeking follow-on job opportunities in the UAE. Migrant workers
                                                                                                     exchanges, and ﬁnancial institutions for all onshore companies employing
                       whose employer had not paid them for 60 days were entitled to legally
                                                                                                     more than 100 workers (95 percent of the private sector workforce).
                       remain in country and search for a new employer. The government
                                                                                                     The WPS automatically alerted officials to delayed salary payments
                       reported it provided repatriation assistance to trafficking victims

    566                                                                                                                                          Haiti AR_001047
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 672 of 729




                                                                                                                                                         UNITED ARAB EMIRATES
of more than 60 days or payments that were less than contractually         NGOs continued to raise concerns about the ease with which tourist
agreed upon, and after a period of 15 days, authorities administered       visas could be converted into work visas for domestic workers looking to
ﬁnes and other enforcement actions. MOHRE reported that letters            circumvent their home countries’ recruitment ban in the UAE—a practice
were issued to companies and sent to the Public Prosecutor for WPS         that exacerbated the risk of trafficking for these workers, as they often
violations; MOHRE also reported that cases were only dropped when          paid fees to recruitment agencies in both their home countries and in
the missing wages were paid and the company was up to date with all        the UAE and had no protection under UAE law when they arrived on
salary payments. Although the NCCHT reported the government ﬁned           tourist visas. Furthermore, some workers were unable to switch their
3,050 companies that failed to provide payments to workers via the WPS     visas to employment visas and so continued to work illegally, heightening
in 2021, for the 14th consecutive year, the government did not report      their vulnerability to exploitation. In the previous reporting period, in a
the number of complaints of unpaid wages it investigated as a result       purported effort to address this practice and solely use Tadbeer-licensed
of its dispute resolution process or the WPS or if any such complaints     agencies for the recruitment and regulation of all domestic workers,
were criminally investigated as potential trafficking crimes. However,     MOHRE mandated the closure of 250 non-Tadbeer-licensed recruitment
Ministerial Resolution No. 43 of 2022 introduced new penalties on non-     agencies in January 2021; agencies had the option to obtain a Tadbeer
compliant companies and employers, including suspending their ability      license, switch to another sector or shut down by March 2021. MOHRE
to issue new work permits, increased inspections, and a 1,000 Emirati      reported, as of March 2021, citizens and residents would be required
dirham ($270) ﬁne imposed for each worker. The government reported         to hire domestic workers only through Tadbeer-licensed agencies. At
that through this resolution, continued violations resulted in referral    the close of the reporting period, 68 Tadbeer-licensed agencies were
to the Public Prosecutor’s Office; during 2021, 2,051 non-compliant        operational across the Emirates, an increase from the 56 agencies
companies were referred to judicial authorities for violating the WPS.     that were operational at the end of the previous reporting period.
Media and diplomatic sources continued to report that some companies       Nonetheless, despite authorities mandating all hiring be conducted
retained workers’ bank cards or accompanied workers to withdraw cash,      through the Tadbeer system, many UAE households continued to employ
coercively shortchanging the employees even though the WPS showed          domestic workers directly or through other recruitment agencies, further
the proper amount paid. Such cases were difficult to prove in labor        increasing the vulnerability of domestic workers to exploitation and
courts, given the WPS documented accurate payments via designated          trafficking without protection under the law.
bank accounts. Furthermore, domestic worker salaries were not required
                                                                           Federal Law No. 10 of 2017 provided additional protections for domestic
to be paid via the WPS; this, coupled with the lack of legal provisions
                                                                           workers, as well as regulations for recruitment agencies and employers
requiring inspections of domestic worker accommodations, wage
                                                                           of such workers, including those pertaining to hiring practices, working
payment, and work hours, heightened domestic workers’ vulnerability
                                                                           conditions, and employment contracts. Federal Law No. 10 also protected
to exploitation. The government continued its pilot program from a
                                                                           domestic workers’ rights to retain their own identity documents but
previous reporting period through MOHRE’s agreement with First Abu
                                                                           did not stipulate penalties for employers who conﬁscated workers’
Dhabi Bank to incorporate domestic workers into the WPS. The NCCHT
                                                                           passports. Cabinet Resolution No. 22 of 2019 granted domestic workers
reported that the pilot program integrated 16,771 domestic workers at
                                                                           the right to terminate their employment if an employer failed to meet
the close of the reporting period, a signiﬁcant increase compared with
                                                                           contractual obligations, such as payment of wages, or if the employee
423 domestic workers enrolled at the close of the previous reporting
                                                                           was subject to sexual harassment or physical or verbal abuse by the
period. The NCCHT reported that although the enrollment of domestic
                                                                           employer; in these cases, a Tadbeer-licensed recruitment agency was
workers under the WPS was currently voluntary, the renewal of domestic
                                                                           required to provide shelter to the domestic worker. The government
worker permits will make enrollment mandatory, with the intent that all
                                                                           did not strengthen regulatory enforcement of in-home inspections
domestic workers will be integrated under the WPS in 2022.
                                                                           and workplace grievance resolutions. In addition, legal barriers against
Since 2017, the government has issued Tadbeer licenses to private          government interference with private households continued to hamper
recruitment agencies to recruit domestic workers to the Emirates.          monitoring and enforcement efforts of these laws relevant to domestic
Agencies with Tadbeer licenses were mandated to provide training to        workers. Cabinet Resolution No. 22 included the right for employees to
recruited workers, educate them on their legal rights, resolve employee-   retain personal documents, sign standardized contracts with designated
employer disputes, and verify worker accommodations for compliance         working conditions, access specialized tribunals for settling workplace
with domestic worker law minimum standards. Each licensed agency           grievances, and observe mandatory time off. It also stipulated in-home
was equipped with a room solely for grievance mediation with a video       inspections on the basis of complaints or reasonable evidence of
connection to MOHRE for official oversight. Officials also reported when   violations. Under the law’s provisions, a recruitment agency or person
a dispute occurred between a domestic worker and employer, the worker      who hindered law enforcement, anyone who disclosed information
could approach the Tadbeer-licensed agency for assistance instead of       unveiled in an investigation, or anyone who facilitated the abandonment
ﬂeeing their employer, which rendered a worker undocumented and            of a domestic worker may be jailed for a minimum of six months and
vulnerable to exploitation. However, Tadbeer-licensed agencies could       ordered to pay a ﬁne between 10,000 and 100,000 Emirati dirhams
not enter or inspect private homes, which made veriﬁcation of worker       ($2,720 to $27,230).
accommodations and other protections outlined in the law difficult to
                                                                           Private sector workers were granted the freedom to leave and switch
obtain. Since 2019, MOHRE had mandated licensed agencies cover the
                                                                           employers at any time without employer approval through Ministerial
cost of employer recruitment fees for domestic workers through an
                                                                           Decrees No. 765 and 766 of 2015; however, this decision included
insurance policy with a two-year warranty; this policy aimed at ensuring
                                                                           the requirement that the worker had to provide between one month
recruitment fees would not be transferred to domestic workers from
                                                                           and three-months’ notice, depending on the initial contract terms,
employers once they arrived in the UAE. In certain circumstances where
                                                                           to leave an employer. In addition, workers had to physically possess
a domestic worker terminated employment, employers were entitled to
                                                                           their passport to leave the country or switch employers. Because the
a full refund of the recruitment fees, which the licensed agency would
                                                                           government did not enforce a prohibition on employers conﬁscating
cover. However, observers noted this insurance policy did not protect
                                                                           workers’ passports, this practice remained pervasive and may have left
workers from fees they incurred from both legal and unregulated
                                                                           some workers vulnerable to exploitation and potentially trafficking. The
recruiters in their home country. Despite the expansion of agencies
                                                                           government reported that if an employer withheld a worker’s passport,
with Tadbeer licenses, the expensive costs to obtain a license—coupled
                                                                           the worker could contact MOHRE’s hotline where a legal advisor would
with mandated insurance requirements to cover recruitment costs—
                                                                           speak to both parties and explain the worker’s legal rights—including
disincentivized some private recruitment agencies from obtaining a
                                                                           the prohibition of retention of identity documents; if the problem could
Tadbeer certiﬁcation. Furthermore, non-Tadbeer-licensed recruitment
                                                                           not be resolved through arbitration, the case was referred to the labor
agencies remained popular as their services were viewed as cheaper
                                                                           courts. According to the NCCHT, 465,557 workers changed employers
and more ﬂexible and accessible compared with Tadbeer-licensed
                                                                           during 2021. As with domestic workers, in instances where a private
agencies. However, as these agencies were not strictly regulated, many
                                                                           sector worker faced physical or verbal abuse or sexual harassment,
continued to be accused of violating labor and immigration laws and
                                                                           the worker had the freedom to leave the employer without notice. All
failing to guarantee the rights of workers and employers.
                                                                           workers were able to terminate employment at any time in the absence
                                                                                                                            Haiti AR_001048              567
                           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 673 of 729
UNITED ARAB EMIRATES   of abuse or a contractual breach but may be required to forego certain         suspected trafficking cases. Additionally, MOHRE, MOI, and DFWAC had
                       beneﬁts including end of service gratuity and a return ticket to their         dedicated multilingual toll-free hotlines; MOI continued to host a mobile
                       home country. In those instances, a domestic worker may have had to            phone application that allowed users to access certain police services on
                       pay their employer compensation equal to one month’s wages and other           their phones, and victims of trafficking or witnesses to the crime could
                       entitlements deemed necessary by a court. In such instances, MOHRE             use the application to ﬁle reports as well. In Dubai, law enforcement
                       could issue the domestic worker a new work permit to move to a new             authorities ran a separate line, and UAE-wide there remained a 24-hour
                       employer, and the worker was not subject to immediate deportation to           toll-free number for migrant workers to vocalize complaints or general
                       ensure the worker had sufficient time to ﬁnd a new job. Most workers           inquiries. Analogous to previous years, the government did not report
                       chose to remain in the UAE to work for another employer under a new            how many trafficking or trafficking-related calls any hotline received,
                       work permit or contract after terminating their previous employment.           how many victims were identiﬁed, or how many investigations were
                       In February 2022, the government passed a revised private sector labor         initiated during the reporting year.
                       law under Federal Law No. 33 of 2021 that replaced Federal Law No. 8
                                                                                                      In November 2021, in coordination with an international organization,
                       of 1980, the previous private sector law, in its entirety. This law does not
                                                                                                      the government hosted the “Inter-regional Meeting on Combating
                       apply to domestic workers; however, it does outline new requirements
                                                                                                      Trafficking by Air” to discuss challenges in detecting, investigating, and
                       for termination of a contract for both the employer and employee during
                                                                                                      prosecuting trafficking cases where victims traveled to their destination
                       and after the probationary period concludes. For example, if a worker
                                                                                                      and location of exploitation through commercial airlines; representatives
                       wants to terminate a contract during the probationary period, the worker
                                                                                                      from the region and East Africa participated, including airport law
                       must give one month’s notice if they want to change employers in the
                                                                                                      enforcement officers and staff from specialized trafficking police and
                       UAE or 14 days’ notice if the worker wants to leave the country; the
                                                                                                      prosecutions units. In the previous reporting period, the government
                       employer must also provide 14 days’ notice to the worker if they plan
                                                                                                      announced a partnership between the UAE, Saudi Arabia, and the African
                       to terminate the contract during that period. Notably, if a worker or
                                                                                                      Union to pilot and implement an orientation program for Gulf-bound
                       employer terminated the contract, under the new law, the worker has
                                                                                                      workers from Africa; however, during the current reporting period, the
                       180 days to ﬁnd a new job, compared with 30 days under the previous
                                                                                                      government reported that all three stakeholders placed the program
                       labor law, without incurring overstay ﬁnes or becoming undocumented.
                                                                                                      on hold due to the pandemic. The government continued to utilize
                       Furthermore, the new law prohibited discrimination of any form in the
                                                                                                      its trafficking-related memoranda of understanding with Armenia,
                       workplace, provided new ﬂexible employment options, and introduced
                                                                                                      Australia, Azerbaijan, Bangladesh, The Gambia, India, Indonesia, Nepal,
                       explicit prohibitions against forced labor, which previously only existed
                                                                                                      Pakistan, the Philippines, Sierra Leone, Thailand, Uganda, and Vietnam
                       in the anti-trafficking law.
                                                                                                      to regulate recruitment mechanisms and prevent contract switching. The
                       The government continued to post informational anti-trafficking                government did not take measures to reduce the demand for commercial
                       notices at airports, implement training courses for high-risk groups,          sex acts in the UAE. The Ministry of Foreign Affairs maintained provision
                       and disseminate publications in various languages directed at the most         of workshops and awareness programs on human trafficking for its
                       at-risk communities, reaching almost two million individuals during the        diplomatic personnel.
                       year. The campaigns also raised awareness of penalties for trafficking
                       and publicized hotlines. Airport banners speciﬁcally targeted terminals        TRAFFICKING PROFILE
                       based on nationalities with high workforce numbers in the UAE. Relevant        As reported over the past ﬁve years, human traffickers exploit foreign
                       authorities, including the MOI, Dubai Police, and MOHRE, held a series of      victims in the UAE. Foreign workers comprise nearly 90 percent of the
                       lectures and training programs in workers’ residences and in recruiting        UAE’s population and are recruited globally. Lower wage labor, including
                       offices to raise awareness on the types of trafficking crimes and ways         most manual labor and a signiﬁcant portion of the service sector, is
                       to communicate with law enforcement authorities and shelters. The              provided almost entirely by migrant workers predominantly from South
                       MOI conducted four different campaigns aimed at approximately 300              and Southeast Asia and the Middle East, with a growing percentage
                       domestic workers and hotel workers; domestic-worker campaigns                  from East and West Africa. It is not uncommon for employers to subject
                       focused on raising awareness of their rights and the anti-trafficking law      some of these workers to conditions indicative of forced labor, such
                       while the campaign for hotel workers explained indicators of trafficking.      as passport retention, non-payment of wages and unpaid overtime,
                       MOHRE continued to conduct lectures on the labor law and trainings             restrictions on movement, contract switching, fraudulent employment
                       on human rights and human trafficking issues to workers; it also began         promises, substandard food and housing provisions, or a failure to meet
                       publishing a magazine aimed in part at raising awareness for workers on        other contractual agreements. Adults from some of these countries
                       different labor issues. The PPO led a public campaign on social media          travel willingly to the UAE to work as domestic workers, security guards,
                       on the anti-trafficking law and further explained “force” as an element        drivers, gardeners, massage therapists, beauticians, hotel cleaners, or
                       of the crime, speciﬁcally in the context of forced begging.                    elsewhere in the service sector, but traffickers subject some of them to
                                                                                                      forced labor or sex trafficking after arrival. During the year, one human
                       During the reporting period, the Dubai Foundation for Women and
                                                                                                      rights group reported migrant workers employed to support the Dubai
                       Children (DFWAC) provided information on human trafficking in ﬁve
                                                                                                      Expo—held between September 2021 and March 2022—were allegedly
                       different languages through lectures, leaﬂets, and podcasts aimed
                                                                                                      subjected to conditions indicative of forced labor, including being
                       at employees in the retail sector and for staff and students at local
                                                                                                      charged recruitment fees, non-payment or delayed payment of wages,
                       universities; in addition, it provided lectures and trainings to foreign
                                                                                                      passport conﬁscation, and other abuses, including racial discrimination.
                       embassies on trafficking and services available for victims. The Aman
                                                                                                      Workers were also reportedly reluctant to access available grievance
                       Shelter for Women and Children continued its campaign titled “No to
                                                                                                      mechanisms for fear of reprisal by employers or authorities.
                       Human Trafficking,” scheduled to continue through 2025; the campaign
                       used leaﬂets and public meetings to raise awareness of the crime. The          Observers continue to report the UAE serves as a trafficking hub where
                       shelter also targeted workers in beauty salons and spas to raise awareness     recruiters sell migrants to families who subsequently illegally transport
                       of labor rights and trafficking indicators. In December 2021, shelter staff    them to other countries in the Gulf. As reported in the previous year, the
                       launched an interactive art display at the Dubai Expo; artists worked          UAE has in recent years become a primary destination for Ugandans
                       with two trafficking survivors to develop the installation, which featured     seeking employment as domestic workers and security guards. Many
                       audio commentary narrating the victims’ experiences. Additionally, the         Pakistanis are reportedly hired on promises they will receive handsome
                       Abu Dhabi Police worked with media outlets to warn job seekers about           salaries, medical beneﬁts, and accommodations, but after reaching the
                       fraudulent internet employment ads that emerged as a result of increased       UAE, the promises go unfulﬁlled, with some Pakistanis discovering that
                       unemployment due to the pandemic and cautioned laid-off workers to             the companies that hired them are fraudulent and workers are instead
                       be cognizant of fraudulent job offers that charged recruitment fees, an        forced to obtain unregulated work due to their legal status, rendering
                       illegal practice in UAE. The government funded and ran a 24-hour toll-         them at increased vulnerability of exploitation and trafficking. For
                       free hotline for reporting cases of trafficking, delayed wage payments,        expatriate workers and domestic workers especially, the kafala or visa
                       or other labor violations, which operated in Arabic, English, Russian,         sponsorship system in the UAE restricts their ability to leave a position
                       and Urdu. Calls were categorized and automatically alerted police in           without prior notice. Despite legal measures allowing workers to change

    568                                                                                                                                           Haiti AR_001049
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 674 of 729




                                                                                                                                                                UNITED KINGDOM
sponsors or terminate their employment, some employers continue to             the UN Secretary-General delisted the Saudi-led Coalition in Yemen
exercise unilateral power over foreign workers’ movements, deny laborers       from the annexes of the UN report on Children and Armed Conﬂict.
working illegally the ability to change employers, restrict permission         During a previous reporting period, an international organization
for them to leave the country, and threaten employees with abuse of            alleged the government, as a member of a multi-nation coalition that
immigration processes, which heightens their vulnerability to trafficking.     commenced military operations against Houthi rebel forces in Yemen in
Traffickers subject some women, predominantly from Central Asia, South         2015, provided training and coordinated operations with the Security Belt
and Southeast Asia, East Africa, Eastern Europe, Iraq, Iran, and Morocco,      Forces, Hadhrami Elite Forces, and Shabwani Elite Forces—proxy militias
to sex trafficking in the UAE, and most trafficking cases registered in        ﬁghting Houthi forces and terrorists in Yemen that allegedly unlawfully
the UAE are classiﬁed as sexual exploitation despite signiﬁcant labor          recruited or used child soldiers. Media also previously reported officers
trafficking concerns. Anecdotal reports alleged an increase of traffickers     associated with Sudan’s Rapid Support Force took bribes from families to
in Laos recruiting young women through social media for commercial             unlawfully recruit children to serve as combatants in Yemen during that
sex in Dubai. Anecdotal reports also alleged Mongolian nationals were          same period. Emirati officers allegedly trained and commanded some
subjected to labor trafficking in the UAE for herding, domestic work,          Sudanese combatants during the previous reporting period. While the
and in circus performances during the year. Per media sources, some            UAE did not directly commission those forces, the Saudi-led Coalition
cases of child sex trafficking involve traffickers forging ages on passports   ﬁghting with Emirati and Yemeni government forces coordinated with
to facilitate undetected entry into the UAE. Recruiters in some source         Sudanese units that allegedly unlawfully recruited or used child soldiers
countries work as individual agents rather than for regulated companies,       during those years.
complicating law enforcement and monitoring efforts.
Many source-country labor recruiters charge workers exorbitant fees
in their home countries, causing workers to commence employment in
the UAE owing debts in their respective countries of origin, increasing         UNITED KINGDOM: TIER 1
their vulnerability to trafficking through debt-based coercion. Reports
of employers engaging in the practice of contract-switching persist,           The Government of the United Kingdom (UK) fully meets the minimum
leading to less desirable and lower paying jobs for migrant workers post-      standards for the elimination of trafficking. The government continued to
arrival in the UAE. Traffickers often recruit victims from the large foreign   demonstrate serious and sustained efforts during the reporting period,
national population already in the country. Some migrant workers enter         considering the impact of the COVID-19 pandemic on its anti-trafficking
the UAE on tourist visas and work for an employer who does not apply           capacity; therefore the UK remained on Tier 1. These efforts included
to exchange the worker’s tourist visa for the required work visa in order      prosecuting and convicting signiﬁcantly more traffickers and issuing
for the worker to have legal residency; this subsequently can be used as       revised sentencing guidelines in England and Wales with recommended
coercion to exploit the worker. As pandemic-related border closures and        increased penalties for some traffickers. Additionally, the government
travel restrictions eased by mid-2021, the use of tourist visas as a method    identiﬁed more victims, expanded the Independent Child Trafficking
to circumvent immigration and labor laws increased; migrants, especially       Guardians (ICTG) program, and took steps to improve victim support,
from Africa, sought entry in the UAE via this method during the year.          including by providing specialist support for some victims to navigate the
However, as in the previous reporting period, due to pandemic-related          criminal justice process and providing accommodation for some victims
restrictions and the subsequent decrease in new workers entering the           upon identiﬁcation. Furthermore, the government launched a fund to
UAE, traffickers reportedly continued to use illegal online markets on         support organizations in delivering targeted prevention activities and
social media to advertise and sell domestic workers already residing           to build evidence of effective interventions, and ministerial government
in the country. During the reporting period, workers continued to              departments published their ﬁrst annual modern slavery statements
experience pandemic-related job loss, non-payment of wages, or forced          setting out measures they took to prevent trafficking in their operations
leave without pay, which heightened their vulnerability to trafficking and     and supply chains. Although the government meets the minimum
trafficker’s recruitment pitches; during the year, traffickers continued       standards, it did not report sentencing data of convicted traffickers;
to target workers already residing in the country who had experienced          thus, it was unclear if judges consistently treated trafficking as a serious
pandemic-related job loss with false promises of better jobs through           crime. The government also introduced measures observers believed
online platforms. In the previous reporting period, pandemic-related           would hinder victim identiﬁcation and protection efforts, particularly
lockdown measures increased the vulnerability of domestic workers to           among undocumented migrants. Observers continued to report long-
trafficking by reinforcing their isolation and restricting their movement.     term care and reintegration support for victims were inadequate, and
In June 2021, media sources reported the government denied the                 many potential victims continued to face long wait times to enter the
renewal of work permits or issuance of new work permits for Nigerian           National Referral Mechanism (NRM) and begin receiving support.
nationals in certain employment categories working in the Emirates; one        Observers reported the government penalized some victims for unlawful
media source reported, as of October 2021, more than 700 Nigerians             acts traffickers compelled them to commit. Children in the protection
experienced job loss and therefore became undocumented in the                  system remained vulnerable to trafficking, and foreign victims faced
country; some migrants traveled back to Nigeria, while others remained         hurdles in obtaining residence permits.
stranded due to their inability to pay for travel home, increasing their
vulnerability to exploitation, including trafficking. Many UAE households
                                                                                       UNITED KINGDOM TIER RANKING BY YEAR
continued to employ domestic workers directly or through private
                                                                                   1
recruitment agencies instead of through Tadbeer-licensed agencies that
had additional government oversight, further increasing the vulnerability          2
of domestic workers to exploitation and trafficking without protection           2WL
under the law. Furthermore, some employers sponsoring domestic
                                                                                   3
workers continued to use online platforms to advertise the selling of                     2015     2016     2017      2018   2019    2020    2021     2022
domestic workers. According to UAE shelter staff, migrant workers will
sometimes start with one employer and for various reasons, including
abuse or exploitation, low salary, or simple dissatisfaction with the job,
will follow alternate employment opportunities that ultimately prove           PRIORITIZED RECOMMENDATIONS:
ﬁctitious, as traffickers in the UAE are adept at using manipulation to        Implement reforms to the NRM, including timely determination of
entice laborers with fraudulent higher salaries. Cuban nationals working       victim status, to encourage more victims to come forward, particularly
in the UAE may have been forced to work by the Cuban government.               undocumented migrants. • Expand long-term care and reintegration
During the reporting period, there were no allegations the UAE unlawfully      support and monitor and assess outcomes of post-NRM support. • Ensure
recruited or used child soldiers. In September 2019, the UAE reportedly        all potential victims, including individuals subject to immigration control,
ceased providing direct support to Security Belt Forces in Yemen, which        are consistently screened for trafficking indicators and referred to services.
allegedly unlawfully recruited or used child soldiers. In June 2020,           • Expand nationwide the ICTG program and train more social workers and

                                                                                                                                    Haiti AR_001050             569
                     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 675 of 729
UNITED KINGDOM
                 care providers to better safeguard child victims. • Ensure victims are not       greatest impediment to the timely prosecution of alleged traffickers
                 penalized for unlawful acts, including immigration violations, traffickers       in Northern Ireland remained inherent delays in the legal system, often
                 compelled them to commit. • Ensure convicted traffickers are sentenced           taking two or more years from the time of initial arrest to conviction.
                 to signiﬁcant prison terms to adequately deter trafficking. • Vigorously
                                                                                                  The government provided a wide variety of anti-trafficking training to
                 prosecute and convict suspected traffickers, particularly in Scotland and
                                                                                                  law enforcement officers, prosecutors, and ﬁrst responders. The Home
                 Northern Ireland. • Establish a database on investigations, prosecutions,
                                                                                                  Office continued funding the Modern Slavery and Organized Immigration
                 convictions, and prison sentence data across the UK, categorized by type
                                                                                                  Crime Programme with an additional £1.4 million ($1.89 million) to support
                 of trafficking. • Provide a clear route to residency for foreign victims and
                                                                                                  the police in combating trafficking and organized immigration crime.
                 ensure potential foreign victims who are referred into the NRM can work.
                                                                                                  The government trained trafficking victim liaison officers to work with
                 • Improve victims’ ability to access court-ordered restitution in criminal
                                                                                                  trafficking victims and victims of other serious crimes; these officers
                 cases and compensation through civil proceedings. • Ensure the statutory
                                                                                                  were trained to recognize trafficking indicators and refer potential
                 deﬁnition of trafficking under the Modern Slavery Act (MSA) and similar
                                                                                                  victims into the NRM. The government trained law enforcement and
                 provisions in Northern Ireland do not require movement of the victim
                                                                                                  prosecutors on the MSA’s statutory defence for trafficking victims who
                 as an element of the crime. • Provide a trafficking-speciﬁc long-term
                                                                                                  were compelled by traffickers to commit unlawful acts. In May 2021, the
                 alternative for foreign victims at risk if returned to their home country.
                                                                                                  government published a response to an official NGO complaint that the
                                                                                                  current police response resulted in victims not engaging with the police
                 PROSECUTION                                                                      or supporting trafficking investigations and prosecutions; the response
                 The government increased prosecution efforts. The 2015 MSA, applicable
                                                                                                  included several recommendations, including increased training for law
                 to England and Wales, and similar statutes in Scotland and Northern
                                                                                                  enforcement and commissioning research into how victims’ experiences
                 Ireland, criminalized sex trafficking and labor trafficking and prescribed
                                                                                                  with law enforcement can be improved. The PSNI collaborated with an NGO
                 penalties of up to life imprisonment, which were sufficiently stringent
                                                                                                  to download a smartphone application on all officers’ mobile devices to
                 and, with regard to sex trafficking, commensurate with those prescribed
                                                                                                  support them in recognizing trafficking indicators. In coordination with the
                 for other serious crimes, such as rape. Inconsistent with international law,
                                                                                                  interagency and civil society, Police Scotland published a First Responder
                 the laws in England, Wales, and Northern Ireland required the element
                                                                                                  NRM Toolkit to support ﬁrst responders and enable improved victim
                 of movement of a victim in the deﬁnition of “trafficking.” However, these
                                                                                                  engagement and trauma-informed information gathering from victims.
                 jurisdictions criminalized “slavery and servitude, and forced or compulsory
                                                                                                  Observers reported training for criminal justice officials had improved
                 labour” in other provisions of their law, which could be utilized to prosecute
                                                                                                  but was still insufficient, particularly training on the non-punishment of
                 trafficking crimes that did not involve victim movement. Scotland, by
                                                                                                  victims and a trauma-informed approach.
                 contrast, did not require victim movement in the deﬁnition of trafficking.
                                                                                                  The UK participated in 17 Joint Investigation Teams with EU Member
                 In August 2021, there were at least 3,335 active law enforcement
                                                                                                  States and EUROPOL, including a complex sex trafficking investigation
                 investigations of suspected trafficking crimes, compared with 1,845 in June
                                                                                                  targeting a Romanian organized criminal group operating in Scotland,
                 2020. The Crown Prosecution Service (CPS) prosecuted 466 defendants on
                                                                                                  England, and Romania and resulting in the arrest of approximately 27
                 trafficking charges, a signiﬁcant increase from 267 defendants prosecuted
                                                                                                  Romanian nationals and the identiﬁcation of more than 30 trafficking
                 in 2020. Courts convicted 332 traffickers in 2021, a signiﬁcant increase
                                                                                                  victims throughout Europe. The government convicted members of
                 from 197 convictions in 2020. CPS data did not differentiate between sex
                                                                                                  an international organized criminal group in 2021, including ﬁve Slovak
                 and labor trafficking, nor did the government provide data on the range of
                                                                                                  nationals who committed trafficking crimes in Slovakia and the UK,
                 sentences of convicted traffickers or percentage of convicted traffickers
                                                                                                  with prison sentences ranging from four to eight years. Northern Irish
                 serving prison time. In August 2021, the Sentencing Council published new
                                                                                                  authorities cooperated closely with Irish counterparts on law enforcement
                 sentencing guidelines—applicable to England and Wales—for trafficking
                                                                                                  efforts across the island of Ireland. The supreme court’s ﬁnal decision on
                 crimes; judges and magistrates were advised to issue sentences of up to
                                                                                                  a 2019 ruling by the Employment Tribunal that diplomatic immunity did
                 18 years to traffickers in a leading role who expect substantial ﬁnancial
                                                                                                  not protect against trafficking charges remained pending at the end of
                 gains and who expose victims to an extremely high risk of death. Due
                                                                                                  the reporting period. The government did not report any investigations,
                 to pandemic restrictions in 2020, courts experienced a backlog of more
                                                                                                  prosecutions, or convictions of government employees complicit in
                 than 54,000 cases—including trafficking cases—in England and Wales by
                                                                                                  trafficking crimes.
                 January 2021. In September 2021, media reported courts convicted three
                 labor traffickers for exploiting up to 400 victims, in what was reported to
                                                                                                  PROTECTION
                 be the UK’s largest human trafficking prosecution to date. Law enforcement
                                                                                                  The government demonstrated mixed protection efforts; although the
                 coordinated with ﬁnancial institutions through the Joint Money Laundering
                                                                                                  government identiﬁed signiﬁcantly more victims and expanded the ICTG
                 Intelligence Taskforce to assist human trafficking investigations. Through
                                                                                                  program for children, it created a dual system for identifying victims
                 the National Crime Agency-led Project AIDANT, UK law enforcement
                                                                                                  among individuals who lacked secure immigration status and introduced
                 authorities participated in awareness-raising activities and anti-trafficking
                                                                                                  legislation that experts widely believed would hinder identiﬁcation and
                 operations, including operations focused on labor exploitation and
                                                                                                  protection efforts. Through the NRM, authorities referred 12,727 potential
                 domestic servitude, child trafficking, and sexual exploitation. In June
                                                                                                  trafficking victims for care nationwide in 2021, an increase from 10,613
                 2021, law enforcement arrested 38 suspected traffickers and identiﬁed 99
                                                                                                  in 2020. The Home Office maintained a detailed online database with
                 potential victims in a Project AIDANT operation targeting child traffickers.
                                                                                                  disaggregated information, including source of referral, nationality,
                 Scottish authorities prosecuted 23 suspected traffickers (10 for sex             jurisdiction handling the referral, and type of trafficking. Of the referred
                 trafficking and 13 for unspeciﬁed forms of trafficking) under the Scotland       victims, 77 percent were male, and 23 percent were female. Authorities
                 Human Trafficking and Exploitation Act (2015) between April 2021 and             identiﬁed 5,468 children, an increase from 4,946 in 2020. Authorities
                 March 2022. Scottish authorities did not convict any traffickers during          ﬂagged 2,053 referrals (an increase from 1,544 in 2020) as “county lines”
                 this period, compared with ﬁve convictions between April 2019 and                referrals, cases in which children were coerced to transport illegal drugs
                 March 2020, the most recent period for which data was available. Police          from one area to another, the majority (1,551) of these referrals were
                 Scotland had a specialized anti-trafficking unit to coordinate information       boys. The majority of identiﬁed victims were UK citizens (3,952), followed
                 and intelligence and work with law enforcement agencies across Europe            by Albanian (2,511) and Vietnamese (991) nationals. Labor trafficking,
                 to investigate trafficking cases. Due to the pandemic, courts in Scotland        including forced criminality, was the most common form of exploitation
                 operated at reduced capacity and continued to face a backlog of cases            of adults and children. In Scotland, 419 potential victims were referred
                 from 2020. In 2021, authorities in Northern Ireland conducted 370                to the NRM, an increase from 387 in 2020. In Northern Ireland, officials
                 trafficking-related investigations. Northern Irish authorities prosecuted        reported a signiﬁcant increase in the number of potential victims referred
                 six suspected traffickers (ﬁve in 2020) and convicted one trafficker             to the NRM from 128 in 2020 to 363 in 2021. In Wales, 479 potential victims
                 (zero in 2020). In March 2022, media reported the Police Service of              were referred to the NRM, an increase from 384 in 2020.
                 Northern Ireland (PSNI) arrested a suspected trafficker for exploiting
                                                                                                  The NRM was the framework for identifying and providing care and
                 foreign nationals for labor on ﬁshing vessels. Observers noted the
                                                                                                  support for victims. First responders, such as police, Border Force, local
  570                                                                                                                                          Haiti AR_001051
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 676 of 729




                                                                                                                                                                UNITED KINGDOM
authorities, and NGOs, continued to refer potential victims into the NRM.        The government continued implementing a ﬁve-year contract, valued at
The Home Office’s Single Competent Authority (SCA) handled most                  more than £300 million ($405.41 million), with the anti-trafficking NGO
NRM referrals and ensured victims continued to receive support. After            sector to coordinate the provision of care for adult victims in England
a “reasonable grounds” decision that an individual may be a trafficking          and Wales under the NRM. Support services included ﬁnancial support
victim, adult victims awaiting a “conclusive grounds” decision received          to meet essential living needs and assist with social, psychological, and
a recovery and reﬂection period during which they could access support           physical recovery, access to a dedicated support worker to assist victims in
and protection measures; victims received support for at least 45 calendar       accessing support services such as health care and legal aid, and safehouse
days or up to the point a “conclusive grounds” decision was made,                accommodation where necessary. Observers expressed concern that
whichever was longer. If authorities recognized an individual as a victim        consistent access to legal aid remained a challenge for many trafficking
per the “conclusive grounds” determination, they guaranteed the victim           victims, undermining protection efforts. Moreover, GRETA expressed
a minimum of 45 additional days of support; the government utilized              concern that potential victims were not provided legal aid prior to entering
a recovery needs assessment to tailor ongoing support to the victim’s            the NRM, preventing potential victims from receiving advice that would
speciﬁc recovery needs and to determine the point at which a victim              allow them to make informed choices, including whether to enter the
would exit the support services under the Modern Slavery Victim Care             NRM. An NGO noted that accommodation was provided according to
Contract (MSVCC). Observers expressed concern that the recovery needs            availability rather than need and there was limited support available for
assessment was too restrictive and placed the burden of documenting              victims with complex needs. An NGO observed many female trafficking
ongoing needs on survivors. After a conﬁrmed victim transitioned out             victims were not offered safe house accommodations but were rather
of MSVCC support, they could access assistance through the “reach-in             placed in unsafe asylum housing. The IASC further urged the government
service,” a post-NRM service that offered transitional support, including        to increase efforts to provide safe mainstream accommodation for victims
provision of information and assistance to housing, health care, translation,    after they exit a safe house. Northern Ireland increased its budget from
employment, and support with submitting paperwork. In November                   £350,000 ($472,970) for the 2020-2021 ﬁscal year to £600,000 ($810,810)
2021, the government created the Immigration Enforcement Competent               for the 2021-2022 ﬁscal year for contracted support services by two
Authority (IECA) to make reasonable grounds and conclusive grounds               local NGOs. The Northern Ireland Assembly considered legislation that
decisions in cases involving adults subject to immigration control, including    would enshrine existing support and assistance for trafficking victims into
adults in deportation proceedings and individuals served a notice of intent      law; the legislation was pending at the end of the reporting period. The
of potential inadmissibility of an asylum claim. The Independent Anti-           Scottish Government provided £1.4 million ($1.89 million) in 2021-2022
Slavery Commissioner (IASC) and NGOs strongly criticized the creation of         funding to the two NGOs providing victim protection and support. The
the IECA and the return to a dual system approach for identifying victims,       Scottish Government continued to fund the Scottish Guardianship Service
underscoring that many victims who lacked secure immigration status              to provide additional legal and practical support to unaccompanied
may not be identiﬁed or protected and would subsequently fear coming             children and victims of trafficking. To avoid re-traumatization, authorities
forward to seek support; observers noted the government did not consult          encouraged police to use intelligence-led investigations, pre-recorded
with civil society or the survivor community prior to making this change.        cross-examination for vulnerable victims, and allowed victims to apply
The government sent a Nationality and Borders bill to parliament with            for reporting restrictions and other measures to maintain anonymity.
the stated intent to clarify in law the UK’s international obligations and       In 2021, the Home Office funded six projects to assist law enforcement
entitlements for victims. Experts widely and strongly criticized the bill        and the Gangmasters and Labour Abuse Authority (GLAA) in improving
for increasing the burden of proof for victim identiﬁcation and creating         support measures for victims; these projects included the provision of
impediments regarding disclosure of status; conﬂating human trafficking          specialist support for victims to navigate the criminal justice process,
with immigration; and disqualifying some victims, including children,            specialist advice for investigators, temporary accommodation for victims
who were compelled by traffickers to commit unlawful acts. UN Special            upon identiﬁcation, and translated information explaining criminal justice
Rapporteurs urged the government to reverse the bill’s proposed measures         processes and support available to victims. Additionally, the Home Office
and underscored the bill would seriously undermine the protection of             commissioned independent research of three NGO models of support
trafficking victims. In Northern Ireland, potential victims received support     for victims navigating the criminal justice process; the government
for a minimum of 45 days while authorities reviewed their cases, and in          reported the results will be published in 2022. In 2021, Police Scotland
Scotland, potential victims received support for 90 days or until authorities    seconded an NGO representative to the National Human Trafficking Unit
made a conclusive grounds decision, whichever came ﬁrst. Support was             to improve victim support.
also available for longer than 90 days in some circumstances. The Wales
                                                                                 Children received care through children’s services offices in local
Anti-Slavery Leadership Group’s “Survivor Care Pathway” provided a
                                                                                 jurisdictions; social workers worked with potential child victims to assess
long-term post-NRM individualized plan for survivors.
                                                                                 needs and create a care plan that included health, legal, education, and
Observers called on the government to improve victim screening measures          accommodation support. In May 2021, the government expanded the
and allow for more NGOs to be designated as ﬁrst responder organizations         ICTG program to cover eleven additional geographical areas; the program
(FROs), noting that only 12 NGOs held this status and could refer potential      covered two thirds of local authorities across England and Wales by the end
victims into the NRM. FROs were responsible for training ﬁrst responders         of the reporting period. ICTG guardians provided an additional source of
in their organization. In 2021, the government created a forum of ﬁrst           advice, support, and advocacy for child trafficking victims. Whereas ICTG
responder representatives to communicate with the Home Office and                direct workers provided direct support to children without a parental ﬁgure,
ensure that FROs had the tools and guidance to identify victims as               ICTG Regional Practice Coordinators (RPCs) worked with social workers
efficiently as possible. In July 2021, the Home Office launched an e-learning    who supported children with a parental ﬁgure. NGOs expressed concern
tool for ﬁrst responders focused on the vulnerabilities of child victims. The    children assigned an RPC did not receive the full beneﬁts of an ICTG direct
government updated guidance for housing authority staff to improve victim        worker who could advocate on their behalf. The government tested in
identiﬁcation and support for potential victims experiencing homelessness.       various locations three of the MSA review committee’s recommendations
Observers noted that the quality of information provided to victims on           for improving the ICTG program by: removing the 18-month limit for ICTG
their rights varied widely among ﬁrst responders and interpretation and          support, enabling children who need it to continue to receive ICTG support
translation services were not fully available in practice at all stages of the   upon reaching the age of 18, and allowing children who have a parental
victim support process. Experts also expressed concern victims often             ﬁgure to access one-to-one support where there is an exceptional need.
faced long wait times to receive a conclusive grounds determination              In addition, the MSA review committee also called on the government to
under the NRM and that the current system did not adequately ensure              implement the ICTG system nationally and require police to track cases
victims exiting the system had a plan for sustainable independence,              of missing children until they are located, regardless of timeframe. NGOs
particularly foreign victims who may not be allowed to work, putting             highlighted concerns about the difficulty of safeguarding children who the
them at greater risk of re-trafficking. According to the Home Office, of         government relocated away from their home to parts of the country where
the 12,727 NRM referrals during 2021, 80 percent (10,214) were awaiting          services are available; criminal gangs actively targeted vulnerable children
conclusive grounds determinations at the end of the year. To reduce wait         who are taken out of their communities and run away or go missing.
times, the government initiated a recruitment process for more than 200          Observers noted unaccompanied migrant children were particularly
new employees for the SCA throughout 2021.                                       vulnerable to trafficking and many of these children went missing after
                                                                                                                                   Haiti AR_001052              571
                     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 677 of 729
UNITED KINGDOM   their arrival in the UK. Media reported some unaccompanied migrant              moved assets, meaning that awards were often not paid in practice. In
                 children were housed in hotels and provided limited assistance and              July 2021, the supreme court determined that trafficking victims who
                 supervision. The government developed Operation Innerste in England             have unexpired convictions that are still part of the individual’s criminal
                 and Wales to improve the safeguarding response to unaccompanied                 record are not entitled to seek compensation under the Criminal Injuries
                 migrant children across England and Wales. The Home Office conducted            Compensation Scheme. GRETA further noted that free legal assistance
                 a pilot program to devolve NRM decision-making for children to local            was not provided in practice to victims seeking compensation under
                 authorities. The Scottish Government created a strategic working group          this scheme in England and Wales in spite of a complex compensation
                 to support Glasgow City Council, one of 10 pilot sites throughout the           procedure and the requirement that victims prove they have suffered a
                 UK, and operational partners with program implementation. Scotland              physical or psychiatric injury as a direct result of a violent crime in order
                 and Northern Ireland required the appointment of independent legal              to receive an award; the Northern Ireland Criminal Injuries Compensation
                 guardians for child trafficking victims and trained the guardians on the        Authority could withhold or reduce compensation if the victim did not
                 support services available.                                                     report the circumstances of the injury to the police and could not offer
                                                                                                 a reasonable explanation for not doing so, did not cooperate with law
                 The government did not automatically grant foreign victims legal status
                                                                                                 enforcement, or had a criminal conviction.
                 in the UK; authorities reviewed requests for permission to remain in the
                 UK outside the immigration rules, known as “discretionary leave,” on
                 a case-by-case basis. Discretionary leave decisions were not linked to
                                                                                                 PREVENTION
                                                                                                 The government increased prevention efforts. The Home Office was
                 an individual’s status as a conﬁrmed trafficking victim but were judged
                                                                                                 responsible for coordinating the government’s anti-trafficking prevention
                 on individual circumstances. As of June 2021, European Economic Area
                                                                                                 and protection efforts. The Home Office published its 2021 annual report
                 (EEA) citizens were subject to immigration control and most trafficking
                                                                                                 in October, with detailed data on anti-trafficking efforts across the UK
                 victims from EEA countries were required to apply for discretionary
                                                                                                 as well as an outline of achievements and remaining challenges to fully
                 leave to remain in the UK. Foreign victims who were granted a reﬂection
                                                                                                 implement the MSA. The UK government conducted a review of the 2014
                 period could not be removed from the UK during that period. Observers
                                                                                                 Modern Slavery Strategy, to be completed in 2022; the Home Office
                 reported discretionary leave was only issued in a minority of cases and
                                                                                                 engaged with a range of actors, including the interagency, business,
                 then often only for 12 months. Media reported that the government
                                                                                                 academia, civil society, and the survivor community to develop the
                 granted discretionary leave to only 7 percent of conﬁrmed trafficking
                                                                                                 new strategy. The IASC encouraged good practice in the prevention,
                 victims who requested it from April 2016 to June 2021. Observers
                                                                                                 detection, investigation, and prosecution of trafficking crimes as well
                 further noted that foreign victims without legal status were unable to
                                                                                                 as the identiﬁcation of victims. In 2021, Northern Ireland’s Department
                 work until they received a positive conclusive grounds decision which
                                                                                                 of Justice created a Modern Slavery and Human Trafficking Branch,
                 could entitle them to discretionary leave. In October 2021, the High
                                                                                                 responsible for developing the government’s Modern Slavery and
                 Court ruled that the Home Office’s failure to grant discretionary leave
                                                                                                 Human Trafficking Strategy; in May 2021, Northern Ireland released its
                 to a trafficking victim under the NRM was unlawful because it did not
                                                                                                 fourth annual strategy. In January 2022, Scotland published its fourth
                 consider whether the victim needed to stay in the country to pursue an
                                                                                                 annual Trafficking and Exploitation Strategy progress report, developed
                 asylum claim based on fear of re-trafficking. NGOs continued to express
                                                                                                 with survivor input.
                 concern some foreign victims may have declined to enter the NRM out
                 of fear of deportation upon exiting the system.                                 The government continued to support the Modern Slavery and Human
                                                                                                 Rights Policy and Evidence Centre through a ﬁve-year £10 million
                 Victims had a statutory defense in England and Wales for many crimes
                                                                                                 ($13.51 million) investment through the 2023-2024 ﬁscal year to better
                 committed as a direct result of being subjected to trafficking; the defense
                                                                                                 understand how to combat trafficking and to develop research to inform
                 did not apply to the most serious crimes, such as sexual offenses or
                                                                                                 policy choices. The center published policy briefs on trafficking and
                 offenses involving serious violence. In these cases, the CPS had to
                                                                                                 international development and the effectiveness of forced labor bans, in
                 consider whether it was in the public interest to prosecute the trafficking
                                                                                                 addition to funding a research project assessing potential interventions
                 victim. GRETA concluded the statutory defense did not apply to more
                                                                                                 for trafficking prevention in the UK and funding ﬁve research projects
                 than one hundred offenses of varying degrees of seriousness, leading to
                                                                                                 focused on long-term survivor outcomes and recovery. Notably, one
                 a too narrow interpretation of the non-punishment principle. Moreover,
                                                                                                 research project included survivors of trafficking in research design, data
                 observers expressed concern that many criminal defense lawyers did
                                                                                                 collection, and analysis. The Scottish Government commissioned a ﬁfth
                 not have sufficient knowledge of trafficking and the non-punishment
                                                                                                 annual public awareness study to explore the public’s understanding
                 principle; GRETA noted that investigators, prosecutors and judges were
                                                                                                 of human trafficking, noting a slight decrease in awareness compared
                 insufficiently trained on this issue and that the burden of proof required of
                                                                                                 with 2020 results. Northern Ireland used the results of a PSNI Modern
                 victims substantially hindered the use of the statutory defense. According
                                                                                                 Slavey Human Trafficking Unit (MSHTU)-commissioned academic
                 to NGOs, authorities detained at least 2,914 potential victims of trafficking
                                                                                                 research project exploring the use of social media in offering support to
                 for immigration violations between January 2019 and September 2020.
                                                                                                 potential victims and in raising awareness about the MSHTU to design
                 Observers expressed concern the government stripped citizenship from
                                                                                                 a social media strategy for the UK’s October 2021 Anti-Slavery Day.
                 British citizens who went to Syria and Iraq to join ISIS without screening
                 them for indicators of trafficking, despite indications some of them may        The government funded a specialist helpline which provided advice and
                 have been victims of trafficking. In February 2022, a parliamentary group       support to children and adults on “county lines,” criminal exploitation,
                 published a report stating there was “compelling evidence” that some            and gangs. The government conducted awareness campaigns across the
                 British women and children currently detained in Syria were trafficking         UK with a wide range of partners. In November 2021, the Home Office
                 victims and claimed the government did not screen these individuals             launched the Modern Slavery Prevention Fund to support organizations
                 for trafficking indicators. Observers in Scotland noted an increase in          and key practitioners in delivering targeted prevention activities and
                 the proportion of criminally exploited children who were charged with           to build evidence of effective interventions; the government funded
                 crimes and underscored that more trafficking victims faced criminal             seven projects, including projects focused on communication and
                 justice processes than traffickers. The courts allowed victims to testify by    awareness raising campaigns, educational initiatives, promotion of
                 video, behind a screen, or with the public removed from the courtroom           industry standards, tackling slavery in supply chains, and data analysis.
                 during hearings. Courts could grant restitution, but only after conviction      Police Scotland launched a media campaign encouraging businesses
                 of the trafficker and if satisﬁed that the defendant had the means to           to examine recruitment and supply chains. The government launched
                 pay. However, NGOs noted courts infrequently granted restitution, and           a Responsible Car Wash Scheme, a voluntary licensing scheme that
                 although victims could apply for compensation, this remedy was difficult        required the operator to consent to certain measures, including the
                 to access given the small number of legal aid providers available to ﬁle        prevention of worker exploitation and the provision of safe and hygienic
                 such claims. During the 2020-2021 ﬁscal year, courts granted a total of         working conditions; in June 2021, the government awarded accreditation
                 £91,052 ($123,040) in compensation to trafficking victims in England,           to two car wash operators. In August 2021, a GLAA-led case resulted in
                 Wales, and Northern Ireland. Moreover, traffickers could appeal or              the conviction of a trafficker; the court sentenced the man to six years’
                 contest a compensation order and observers noted traffickers often              imprisonment and issued a 10-year Slavery and Trafficking Prevention

  572                                                                                                                                          Haiti AR_001053
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 678 of 729




                                                                                                                                                                 UNITED KINGDOM
Order (STPO), allowing the court to impose restrictions to prevent the         capacity-building support to Nigerian law enforcement through a peer
trafficker from committing further trafficking crimes upon release; this       mentoring program, improving authorities’ ability to conduct active
was the ﬁrst time the GLAA used an STPO. In response to continued              investigations. To date, the government reported the MSF provided
concern from NGOs about the garment industry’s use of forced labor             direct assistance to more than 2,500 victims of trafficking, contributed
in Leicester, England, a government taskforce continued investigating          to 35 anti-trafficking policies in 14 countries, and delivered more than
apparel companies; the taskforce has visited more than 300 locations           30 “evidence products” helping to advance collective understanding
to date. In June 2021, the government announced it would establish a           of human trafficking. Through the Modern Slavery Innovation Fund, the
new consolidated labor protection watchdog to improve enforcement              government funded projects to improve workers’ rights in Mauritius and
through better coordination and intelligence sharing.                          Malaysia; support victims in India; tackle stigma as a driver of trafficking in
                                                                               Ethiopia and Indonesia; and strengthen the global evidence base. In 2021,
Foreign overseas domestic workers (ODW) could legally change
                                                                               the government committed £235,000 ($317,570) in funding for Romania
employers during the remaining six-month period of their visa. Observers
                                                                               to build law enforcement capacity, enable safe reporting of cases, and
criticized the short-term nature of the visa, noting that workers struggled
                                                                               strengthen coordination between the two countries; the government
to change employment in the visa’s short time frame, leading to the
                                                                               additionally supported Romanian government and civil society efforts
workers’ heightened vulnerability to trafficking. Workers on the ODW
                                                                               to prevent trafficking and protect victims. In April 2022, the UK embassy
visa identiﬁed as trafficking victims could apply for a two-year visa as a
                                                                               in Poland reconvened a human trafficking working group with Polish
domestic worker, although NGOs contended workers who had suffered
                                                                               law enforcement and judicial sector representatives after a two-year
abuse would be unlikely to want to return to the same sector. NGOs
                                                                               hiatus; initially created to address the exploitation of Polish nationals
urged the government to adopt reforms to the ODW visa, particularly
                                                                               in the UK, the working group was reconstituted to address the refugee
in light of the heightened exploitation overseas domestic workers faced
                                                                               crisis resulting from Russia’s full-scale invasion of Ukraine and associated
as a result of the pandemic. Observers also expressed concern about
                                                                               trafficking risks. The UK’s Commonwealth Parliamentary Association
the government’s transit visa scheme for workers in the ﬁshing industry,
                                                                               worked with Commonwealth countries to pass human trafficking
noting the inability to change vessels or leave the vessel without violating
                                                                               legislation, using a tailored approach suited to each country’s needs
the terms of the visa left workers at risk of labor rights abuses and labor
                                                                               and capacity. Observers reported many of the government’s global anti-
trafficking. In May 2021, UN Rapporteurs called on the government
                                                                               trafficking aid programs did not demonstrate direct impact in reducing
to allow migrant workers the right to change employers at any given
                                                                               the prevalence of trafficking and did not adequately include monitoring
time and for any reason and the ability to apply for a visa extension. In
                                                                               and evaluation mechanisms. The government funded UNODC’s Inter-
December 2021, the government published an evaluation of the seasonal
                                                                               Agency Coordination Group against Trafficking in Persons (ICAT) to
workers pilot for non-EU migrants, noting several areas of concern
                                                                               produce a strategic mapping exercise of the activities, mandates,
regarding the welfare and rights of migrants. NGOs urged reform of
                                                                               and partnerships of ICAT members to inform the development of
the program, noting it left migrant workers vulnerable to exploitation;
                                                                               multilateral strategies and capacity-building activities. The government
according to an NGO study, many of the workers accrued large debts
                                                                               also partnered with the United States, Liechtenstein, Canada, and others
and were limited in their ability to change employers. Moreover, NGOs
                                                                               to secure language in a UN resolution to ensure trafficking prevention
expressed concern the government’s strict immigration policies, which
                                                                               measures are included in UN procurement.
criminalized the act of working while undocumented, continued to
prevent trafficking victims from seeking help. Observers noted the
absence of secure reporting options for undocumented individuals
                                                                               TRAFFICKING PROFILE
                                                                               As reported over the past ﬁve years, human traffickers exploit domestic
to come forward as victims of crime undermined the government’s
                                                                               and foreign victims in the UK, and traffickers exploit victims from the
identiﬁcation and protection efforts.
                                                                               UK abroad. Although the government reported 12,727 potential victims
The government continued to require organizations with annual turnover         came through the NRM in 2021, one NGO estimates the actual number
exceeding £36 million ($48.65 million) to publish an annual statement on       of victims in the UK is closer to 100,000. The UK, Albania, and Vietnam
the government’s modern slavery statement registry detailing efforts to        are the leading nationalities of potential victims referred into the NRM.
ensure its operations and supply chains were free of human trafficking,        Thirty-one percent of potential victims assert their exploitation occurred
although observers noted the MSA did not include a mechanism to ensure         entirely outside of the UK. Labor trafficking, including forced criminality,
compliance. In November 2021, the government published a progress              is the most common form of exploitation among adults and children.
report outlining the government’s efforts to meet the goals set out in the     Migrants crossing the English Channel in small boats are vulnerable to
2020-2021 UK Government Modern Slavery Statement, and ministerial              exploitation; more than 28,300 migrants crossed the channel in 2021,
government departments published their ﬁrst annual modern slavery              many of whom were unaccompanied children. Nearly half of all victims
statements outlining measures they took to prevent trafficking in their        identiﬁed are children. Children in the care system and unaccompanied
operations and supply chains. In July 2021, the government launched            migrant children are particularly at risk of trafficking. Gangs force children
a virtual course for public sector commercial employees on ways to             to act as drug couriers from larger cities into rural areas across the UK.
identify and mitigate human trafficking risks throughout the commercial        Traffickers force adults and children to work in agriculture, cannabis
lifecycle. The government commissioned the development of tailored             cultivation, construction, food processing, factories, domestic service,
guidance for buyers and suppliers of personal protective equipment             nail salons, food services, the hospitality industry, car washes, food
to prevent human trafficking in supply chains. The Welsh Government            supply industry, and warehousing, as well as on ﬁshing boats. Labor
published for consultation draft legislation seeking to ensure socially        traffickers target adults with disabilities and adults from low socio-
responsible public procurement in Wales, including consideration               economic backgrounds. Traffickers increasingly recruit and exploit sex
of fair labor standards. During its G7 Presidency, the government              trafficking victims, predominantly from Eastern Europe, through social
secured commitments to address forced labor in global supply chains.           media and online platforms. Following Brexit, EEA citizens who had
The government continued efforts under its national action plan on             not gained legal status in the UK were at increased risk of trafficking.
combating international child sex tourism. The government criminalized         Thousands of Ukrainian refugees, predominantly women and children
soliciting a sex trafficking victim. In June 2021, the Scottish Government     who are ﬂeeing Russia’s full-scale invasion of Ukraine, have crossed
published a response to Scotland’s ﬁrst national consultation on the           the UK border seeking sanctuary and are vulnerable to trafficking. In
government’s future approach to combating demand for commercial                Scotland, most victims are from Vietnam with many forced to work
sex; the government created a working group to develop a concept to            in agriculture, cannabis farms, and nail salons. In Northern Ireland,
tackle this issue.                                                             there are cases of perpetrators forcing victims into shoplifting and the
The government funded a wide range of anti-trafficking programs                cultivation and distribution of illicit drugs; paramilitary groups exploit
globally, including continued implementation of programs under the             children for criminal purposes. Young women and girls from Albania,
£33.5 million ($45.27 million) Modern Slavery Fund (MSF), of which             Bulgaria, and Romania, including ethnic Roma, remain vulnerable to
the government committed more than £4 million ($5.41 million) to a             sex trafficking in Northern Ireland.
range of anti-trafficking efforts in ﬁscal year 2021-2022, particularly in
Albania, Nigeria, and Vietnam. In Nigeria, the MSF provided embedded
                                                                                                                                   Haiti AR_001054               573
                               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 679 of 729
UNITED STATES OF AMERICA                                                                                     compensation for survivor input when forming policies, programs,
                            UNITED STATES OF AMERICA:                                                        outreach materials, and trainings. • Strengthen efforts to address

                            TIER 1                                                                           demand for all forms of human trafficking.
                                                                                                             As described in the Methodology section of this report, these
                                                                                                             recommendations were drawn from input solicited from multiple anti-
                           The Government of the United States fully meets the minimum
                                                                                                             trafficking stakeholders, such as advocates (which includes NGOs and
                           standards for the elimination of trafficking. The government continued
                                                                                                             subject matter experts who have survived human trafficking), academia,
                           to demonstrate serious and sustained efforts during the reporting
                                                                                                             and government agencies, on how the United States could better meet
                           period, considering the impact of the COVID-19 pandemic, if any, on its
                                                                                                             the minimum standards set forth in the TVPA.
                           anti-trafficking capacity; therefore the United States remained on Tier
                           1. These efforts included signiﬁcantly increasing the number of victims
                           served by federal grantees; issuing new policies and guidance to improve
                                                                                                             PROSECUTION
                                                                                                             The government maintained prosecution efforts. The TVPA, as amended
                           adjudication of trafficking-speciﬁc immigration options; passing laws
                                                                                                             and codiﬁed at Title 18 U.S. Code sections 1581, et seq., criminalizes sex
                           that prohibit federal law enforcement officers from engaging in a sexual
                                                                                                             and labor trafficking. U.S. law confers extraterritorial jurisdiction for
                           act or contact with anyone in their custody and raising the penalty for
                                                                                                             these human trafficking offenses, as long as the defendant (whether
                           doing so for law enforcement officers at any level of government; and
                                                                                                             individual or entity) is a U.S. national, U.S. lawful permanent resident, or
                           increasing enforcement of the prohibition of imports made wholly or in
                                                                                                             is present in the United States, regardless of the defendant’s nationality.
                           part by forced labor. The government made progress in implementing
                                                                                                             The penalties prescribed under these provisions, which can include up
                           its national action plan to combat trafficking, and several government
                                                                                                             to life imprisonment, are sufficiently stringent and, with respect to sex
                           agencies issued and began to implement their own internal action
                                                                                                             trafficking, commensurate with the penalties prescribed for other serious
                           plans and strategies. Although the government meets the minimum
                                                                                                             crimes, such as rape. U.S. law prohibits conspiracy and the attempt to
                           standards, in some cases survivors continued to be arrested for the
                                                                                                             violate these provisions, obstruction of the statutes’ enforcement, and
                           unlawful acts traffickers compelled them to commit, and some victim-
                                                                                                             beneﬁting from such acts. Additionally, a criminal statute prohibits the
                           witnesses did not receive needed protections during their case. There
                                                                                                             use of fraud to recruit, solicit, or hire workers abroad to come to the
                           was a continued lack of progress to comprehensively address labor
                                                                                                             United States to work, or to recruit workers to work on a U.S. government
                           trafficking in the United States, including in efforts to identify victims,
                                                                                                             contract performed outside the United States, on U.S. property, or
                           provide them specialized services, and hold labor traffickers, including
                                                                                                             on military installations outside the United States. The U.S. Congress
                           contractors and recruiters, accountable. The government continued not
                                                                                                             passed several laws that address human trafficking and related crimes,
                           to mandate human trafficking screening for all foreign national adults
                                                                                                             including a provision that requires the federal government to create
                           in immigration detention or custody and did not screen for trafficking
                                                                                                             a process through which survivors with certain documentation can
                           indicators among the people it removed. Advocates continued to report
                                                                                                             request to remove information about adverse credit activity from their
                           concerns that trafficking survivors were held in immigration detention
                                                                                                             credit report if the information is linked to their trafficking experience; a
                           and that the government’s policy to return to Mexico certain individuals
                                                                                                             provision that prohibits federal law enforcement officers from engaging
                           from the Western Hemisphere, while their U.S. removal proceedings
                                                                                                             in a sexual act or contact with anyone, including potential victims of
                           were pending, exacerbated their vulnerability to human trafficking.
                                                                                                             human trafficking, in their custody, under arrest, in detention, or under
                                                                                                             their supervision, regardless of consent; and another provision that
                                   UNITED STATES TIER RANKING BY YEAR                                        raises the penalty from a misdemeanor to a felony whenever anyone
                               1                                                                             acting under color of law (at any level of government) engages in
                               2                                                                             nonconsensual sexual acts or contact.
                             2WL                                                                             The Department of Justice (DOJ), Department of Homeland Security
                                                                                                             (DHS), and Department of State (State) are the primary investigating
                               3
                                      2015     2016      2017      2018   2019   2020     2021     2022      agencies for federal human trafficking and other related offenses, with
                                                                                                             the Department of Defense (DoD) enforcing the U.S. military code to
                                                                                                             prosecute sex trafficking-related offenses. DOJ prosecutes federal human
                                                                                                             trafficking cases. DOJ, DHS, and State support victims by engaging law
                           PRIORITIZED RECOMMENDATIONS:                                                      enforcement victim assistance specialists during trafficking investigations
                           Increase efforts to comprehensively address labor trafficking in the              and prosecutions, including by connecting identiﬁed victims to victim
                           United States, including identiﬁcation of and provision of services to labor      service providers. DOJ increased the number of trial attorneys in its
                           trafficking victims. • Screen all individuals in immigration detention or         specialized national human trafficking prosecution unit that works with
                           custody for human trafficking indicators. • Assess government systems             federal prosecutors throughout the United States. In Fiscal Year (FY)
                           and programs to ensure they advance equity for and decrease the                   2021, DHS forensic interview specialists conducted 542 trafficking-
                           vulnerability of marginalized communities to human trafficking. • Improve         focused interviews using a trauma-informed approach, and DHS victim
                           access to emergency and long-term housing for all victims. • Increase             assistance specialists assisted 728 victims of human trafficking. DOJ
                           access to and accessibility of specialized services for all victims. • Mitigate   forensic interview specialists conducted 202 human trafficking forensic
                           vulnerabilities in employment-based or other nonimmigrant U.S. visa               interviews of victims, and DOJ’s 172 victim specialists provided services
                           programs, including by holding accountable noncompliant employers and             to human trafficking victims in 708 cases. The Department of the Interior
                           labor contractors, as well as their agents, and improve workers’ access           (DOI) added four victim specialist positions, bringing the total number
                           to timely and comprehensive job information. • Increase the number of             of victim specialists to 29, to provide services to victims in DOI criminal
                           requests by federal law enforcement officials for Continued Presence.             cases, including human trafficking cases, and established a hotline that
                           • Shorten processing times for trafficking-related immigration beneﬁts            its law enforcement officers can use to reach the victim specialists. DHS
                           and remove barriers for victims to obtain those beneﬁts. • Encourage              issued internal guidance directing DHS officials to no longer conduct
                           state, local, and tribal authorities to implement policies not to prosecute       mass worksite enforcement operations aimed at identifying unauthorized
                           victims for unlawful acts traffickers compelled them to commit and                workers and instead shift enforcement resources to investigate employers
                           to adopt laws to prohibit law enforcement officials from engaging in              allegedly engaged in forced labor and other illegal acts.
                           sexual acts with victims. • Evaluate the effectiveness of current federal
                           law enforcement strategies in identifying and supporting victims and              DOJ, in coordination with DHS and the Department of Labor (DOL),
                           adjust strategies as necessary. • Train investigators, prosecutors, and           continued to support complex human trafficking investigations and
                           judges to increase the number of forfeiture orders and mandatory                  prosecutions initiated and developed in Phase II of the Anti-Trafficking
                           restitution orders for trafficking victims and use all available authorities      Coordination Team (ACTeam) Initiative. In FY 2021, DOJ provided
                           to ensure restitution is paid. • Increase survivor engagement, including          $22.3 million to support the work of 15 Enhanced Collaborative Model
                           by establishing accessible mechanisms for receiving and providing                 (ECM) anti-trafficking task forces, which included awards to 15 state

    574                                                                                                                                                    Haiti AR_001055
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 680 of 729




                                                                                                                                                         UNITED STATES OF AMERICA
and local law enforcement agencies and 15 victim service providers,          victim identiﬁcation among communities of color. One NGO noted
compared with more than $17.7 million for 14 ECM task forces in FY           law enforcement disproportionately dismissed requests for help from
2020 (13 state and local law enforcement agencies and 14 victim              survivors who were Black, Indigenous, or people of color, or arrested
service providers). In addition, DOJ provided $2.4 million to develop        them when they came forward. Advocates noted cases where law
strategies and models to support jurisdictions’ human trafficking law        enforcement used access to victim services as a tool to secure victims’
enforcement and prosecution efforts and to improve stakeholders’ ability     cooperation and deprioritized the protection of victim-witnesses as
to implement victim-centered and trauma-informed investigations and          the case progressed. Some diversion courts made survivors choose
prosecutions. The Department of the Treasury (Treasury) identiﬁed            between enrollment in services or incarceration. Advocates reported the
hundreds of shell companies registered in the United States that were        arrest and poor treatment of victims during the criminal justice process
part of supply chains where forced labor was found, and it shared that       increased those victims’ distrust of law enforcement and gave credibility
information with law enforcement. In June 2021, Treasury issued the ﬁrst     to traffickers’ warnings to not seek help. One NGO recommended the
government-wide priorities for anti-money laundering and countering          government adopt standardized trafficking screening for the judicial
the ﬁnancing of terrorism, which identiﬁed human trafficking as an           and criminal justice system to reduce the penalization of victims for
anti-money laundering priority. Several federal agencies participated        unlawful acts traffickers compelled them to commit.
in other human trafficking task forces nationwide consisting of federal,
                                                                             The federal government reports its law enforcement data by ﬁscal
state, and local law enforcement, as well as victim service providers.
                                                                             year, which may include joint federal and state or local actions but
DOJ and DHS continued to advance bilateral investigations and                does not include separate state or local law enforcement data. In FY
prosecutions of transnational trafficking enterprises operating across       2021, DHS opened 1,111 investigations related to human trafficking,
the U.S.-Mexico border by facilitating exchanges of leads, intelligence,     an increase from 947 in FY 2020. Six of those investigations were of
and expertise between U.S. and Mexican anti-trafficking authorities          individuals and entities that may be beneﬁting from goods produced
and providing support to Mexican state-level authorities and human           using forced labor overseas. DOJ formally opened 603 human trafficking
trafficking task forces. DOJ, in collaboration with Treasury, increased      investigations in FY 2021, a decrease from 663 in FY 2020. Of DOJ’s
engagement with Mexican anti-money laundering authorities to enhance         FY 2021 investigations, 577 involved predominantly sex trafficking and
capacity to identify and combat human trafficking and trace trafficking      26 involved predominantly labor trafficking, compared with 619 and
proceeds. DOJ assisted Mexican authorities with establishing an anti-        41, respectively, and three involving both sex and labor trafficking in
trafficking task force that handled complex investigations.                  FY 2020. State reported investigating 111 human trafficking-related
                                                                             cases worldwide during FY 2021, an increase from 95 in FY 2020. In FY
Advocates maintained that the use of traditional vice investigative
                                                                             2021, DoD reported investigating 108 human trafficking-related cases
strategies, like undercover sting operations, by law enforcement and
                                                                             involving DoD military, civilian, and contractor personnel, a signiﬁcant
federally funded task forces, has not been effective in identifying
                                                                             decrease from 160 in FY 2020, and 53 of those cases were referred
trafficking cases or leading to prosecutions for human trafficking
                                                                             for criminal investigation. Of the 108 human trafficking-related cases,
offenses. According to these advocates, such operations have resulted
                                                                             31 were related to forced labor (compared with 112 in FY 2020), most
in the re-traumatization of trafficking victims, including through the
                                                                             of which DoD investigated through an administrative process that
arrest of victims who did not self-identify to law enforcement as such,
                                                                             referred cases to criminal investigators if appropriate. The 31 forced
rough physical treatment, and the threat of criminal charges to compel
                                                                             labor investigations are detailed in the Prevention section below.
cooperation. Advocates reported federally funded task forces did not
sufficiently engage with local survivor leaders and service providers to     DOJ initiated a total of 228 federal human trafficking prosecutions in
improve victim services and better understand the communities and            FY 2021, an increase from 210 in FY 2020 and 220 in FY 2019, but a
populations they served. One study found, through interviews with law        decrease from 230 in FY 2018 and 282 in FY 2017. DOJ charged 347
enforcement officers, that officers sometimes chose not to work with         defendants in FY 2021, an increase from 337 in FY 2020 and 343 in FY
service providers, especially if they believed those providers would         2019, but a decrease from 386 in FY 2018 and 553 in FY 2017. Of these
inform survivors of their right not to speak with law enforcement. A         FY 2021 prosecutions, 221 involved predominantly sex trafficking and
federally funded study of 10 task forces found when law enforcement          seven involved predominantly labor trafficking, compared with 195
and service providers did collaborate, it improved task force efficacy.      and 15 in FY 2020; 208 and 12 in FY 2019; 213 and 17 in FY 2018; and
Advocates called on federal, state, and local governments to redirect        266 and 16 in FY 2017, respectively.
funding from law enforcement to community-led organizations to
                                                                             During FY 2021, DOJ secured the convictions of 203 traffickers, a
identify human trafficking situations in ways that would inﬂict less
                                                                             decrease from 309 in FY 2020, 475 in FY 2019, and 526 in FY 2018.
harm, in particular on Black and Brown communities, and better
                                                                             Of these, 190 involved predominantly sex trafficking and 13 involved
assist victims. Advocates also called for federal prosecutors and law
                                                                             predominantly labor trafficking, compared with 297 and 12 in FY 2020;
enforcement officers to adopt protocols to inform trafficking victims
                                                                             454 and 21 in FY 2019; and 501 and 25 in FY 2018, respectively.
of their legal rights at the start of and throughout their investigations.
                                                                             These prosecutions and convictions included cases brought under
Advocates reported instances of trafficking victims who, as a result
                                                                             trafficking-speciﬁc criminal statutes and non-trafficking criminal
of encounters with various law enforcement agencies, were arrested,
                                                                             statutes, but they did not include child sex trafficking cases brought
threatened with charges if they did not cooperate in a case against
                                                                             under non-trafficking statutes. Among the 177 traffickers sentenced
their trafficker, prosecuted, convicted, and—in cases where they were
                                                                             to prison in cases brought under trafficking-speciﬁc criminal statutes,
convicted of a certain criminal offense—required to register as a sex
                                                                             which excludes trafficking cases brought under non-trafficking statutes,
offender for unlawful acts traffickers compelled them to commit.
                                                                             judges imposed terms ranging from six months to life imprisonment,
Survivors in some cases received a criminal penalty that included fees
                                                                             with more than 84 percent of defendants receiving prison sentences
or ﬁnes, which required many of them to incur large ﬁnancial hardship
                                                                             of ﬁve or more years. Three traffickers received a probation-only
to pay. Although U.S. Supreme Court caselaw obligates states to return
                                                                             sentence, and eight received a suspended sentence. This sentencing
fees, court costs, and restitution assessed against defendants whose
                                                                             data came from federal courts, which tracked cases only by trafficking-
convictions were vacated and to not impose anything more than minimal
                                                                             speciﬁc criminal statutes, did not indicate all applicable charges when
procedures for seeking such refunds, one NGO noted many states
                                                                             a defendant was charged with more than ﬁve offenses, and did not
did not inform trafficking survivors of these obligations, resulting in
                                                                             capture trafficking cases resolved by pleas to non-trafficking charges.
survivors potentially not receiving refunds in such a manner due to lack
of awareness. The federally funded study found half of the 10 ECM task       A DHS inspector general report found DHS did not accurately track
forces included in the study indicated they arrested survivors as part of    dissemination and receipt of tips on human trafficking through its tip
the investigative strategy. Another study that included interviews with      line, take follow-up actions on the tips, or maintain accurate data on
law enforcement officials, survivors, and anti-trafficking advocates found   investigative cases and victims. In response, DHS formalized its intake
law enforcement disproportionately arrested victims who were Black           process and tracking policy for human trafficking tips that come through
women and girls during sting operations, and it noted bias inhibited

                                                                                                                             Haiti AR_001056             575
                               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 681 of 729
UNITED STATES OF AMERICA   its tip line to require each DHS ﬁeld office to track tips received and         trafficking survivors in criminal cases by offering alternative means of
                           report any investigative or enforcement outcome resulting from a tip.           providing testimony.
                           Advocates and racial justice experts have noted that increases in the           There were reports of government personnel complicit in human
                           number of investigations, prosecutions, and convictions do not on their         trafficking crimes, and the government took action to increase its
                           own indicate progress in anti-trafficking efforts, in securing equitable        ability to hold such personnel accountable in some cases. There were
                           outcomes for members of racial and ethnic minorities, or in implementing        also reported instances of law enforcement officers sexually abusing
                           victim-centered, trauma-informed approaches. Advocates recommended              or engaging in sexual acts with known or suspected victims of sex
                           that assessing law enforcement anti-trafficking efforts must center on          trafficking in the course of conducting criminal investigations. Federal
                           the treatment of survivors throughout the criminal justice process,             investigations into incidents involving federal law enforcement officers
                           such as how many survivors law enforcement arrested and how many                remained ongoing, and in the second half of 2021, DOJ issued a policy
                           survivors law enforcement connected to services. Advocates called for           notice prohibiting undercover personnel from engaging in sexual acts
                           the government to disaggregate law enforcement data by demographic              to obtain intelligence or evidence from investigative subjects or other
                           groups to better understand its approaches to different communities.            persons of interest. One study noted even where law enforcement
                                                                                                           officers did not engage in sex acts with victims, some of those officers
                           Federal human trafficking cases continued to involve predominantly
                                                                                                           thought they were allowed to do so. Advocates called for state legislation
                           sex trafficking despite service providers assisting signiﬁcant numbers of
                                                                                                           prohibiting engagement in sexual conduct with victims during law
                           labor trafficking victims. Advocates noted in particular the low number
                                                                                                           enforcement actions, which only one state in the country had in place.
                           of federal labor trafficking cases involving child labor trafficking victims,
                           private employer or corporate defendants, and forced criminality.               Domestically, the U.S. government continued to build the capacity of law
                                                                                                           enforcement, judges, military personnel, and labor inspectors, among
                           Advocates continued to call for federal prosecutors to seek, and for
                                                                                                           others, to respond more effectively to human trafficking cases through
                           courts to award, mandatory restitution for both sex and labor trafficking
                                                                                                           trainings and workshops. DOJ partnered with an NGO to develop training
                           cases, citing concerns about both the low number of cases in which it
                                                                                                           materials for law enforcement and prosecutors on labor trafficking.
                           was ordered and the low rate of payment of restitution to trafficking
                                                                                                           State began mandating biennial human trafficking training for its law
                           victims consistent with restitution orders. One NGO noted that about 34
                                                                                                           enforcement and security personnel. Internationally, through case-based
                           percent of defendants convicted of a crime that triggered mandatory
                                                                                                           mentoring and expert legal advice, the U.S. government worked with
                           restitution were ordered to pay restitution in 2021, compared with
                                                                                                           foreign counterparts to strengthen their capabilities to investigate and
                           approximately 47 percent in 2020. Advocates again called for increased
                                                                                                           prosecute human trafficking.
                           and improved training of investigators, prosecutors, and judges on
                           mandatory restitution and urged the government to use its available             Advocates again called for increased training—including in consultation
                           authorities, such as freezing or seizing assets and seeking forfeiture,         with survivor leaders—across all criminal justice system sectors, including
                           to ensure compliance with restitution orders. Advocates again noted             law enforcement, prosecutors, and judges, to correct misconceptions
                           that, while not required by law, many victims lacked independent legal          about what constitutes a human trafficking crime and to identify forced
                           counsel to assist them in obtaining restitution, and one advocate reported      criminality. Advocates highlighted, in particular, the need to increase
                           survivors were pressured into accepting lesser amounts.                         training for law enforcement and judges on victim identiﬁcation and
                                                                                                           trauma-informed approaches to interacting with victims, noting failures
                           State laws form the basis of most criminal actions in the United States.
                                                                                                           to inform survivors of their rights throughout the criminal justice process,
                           All U.S. states and territories have anti-trafficking criminal statutes. The
                                                                                                           to update survivors on the status of their cases, and to allow victim-
                           federal government expanded its collection of state, local, and tribal
                                                                                                           witnesses to access legally required and adequate protections during
                           data on human trafficking investigations through the Uniform Crime
                                                                                                           the investigation and prosecution.
                           Reporting Program and began to migrate it to a more dynamic platform. It
                           made data from 2020, collected from participating jurisdictions, publicly
                           available. All 50 U.S. states had some participating jurisdictions in 2020,
                                                                                                           PROTECTION
                                                                                                           The government increased overall protection efforts. The government
                           compared with 48 states the previous year, although the numbers of
                                                                                                           signiﬁcantly increased the number of victims served. It also adjudicated
                           participating jurisdictions within states varied. In 2020, participating
                                                                                                           more Continued Presence applications, granted more Certiﬁcation
                           jurisdictions reported 2,023 human trafficking offenses. There is no
                                                                                                           Letters, and granted signiﬁcantly more Eligibility Letters. The government
                           formal mechanism for the federal government to track prosecutions
                                                                                                           implemented policies intended to improve access to immigration
                           at the state, local, and tribal levels.
                                                                                                           beneﬁts, including Continued Presence and T and U nonimmigrant
                           An NGO-funded project reported 48 states have laws allowing survivors           status, for foreign national trafficking victims. However, the number
                           to seek a court order vacating, expunging, or sealing criminal convictions      of victims granted T nonimmigrant status signiﬁcantly decreased.
                           entered against them that resulted from unlawful acts traffickers               Although the median processing time for T nonimmigrant status slightly
                           compelled them to commit, compared with 46 states in the previous               decreased, victims still faced long periods of time without support
                           reporting period. In three of these states, however, such relief is only        services, legal status, and employment authorization. Advocates reported
                           available to child trafficking victims. One advocate reported some state        the government made efforts to improve access to trafficking-speciﬁc
                           vacatur laws only pertained to sex-related crimes, excluding other acts         immigration options but again expressed concerns about previous
                           traffickers may have compelled survivors to commit like drug trafficking        immigration policies and ongoing policies related to immigration
                           or ﬁnancial crimes. Even with such laws, the cost of applying for criminal      enforcement at the border. Advocates noted that trafficking survivors
                           record relief, including processing fees, legal representation, and travel      continued to fear reporting their cases to government officials, pursuing
                           to hearings, often created ﬁnancial hardship and inhibited survivors’           immigration options, or seeking services and that trafficking survivors
                           ability to obtain such relief. These costs from pursuing criminal record        were held in immigration detention facilities. The government did not
                           relief compounded the signiﬁcant ﬁnancial burden survivors may have             provide sufficient services for labor trafficking survivors, boys and
                           already faced from contesting the charges and convictions. NGOs                 men, LGBTQI+ persons, survivors struggling with addiction, persons
                           continued to call for the adoption of federal vacatur legislation.              with limited English proﬁciency, children aging out of services, and
                           According to one NGO report, 27 states and the District of Columbia             those who did not wish to participate in the criminal justice process.
                           had laws that prohibited the prosecution of child trafficking victims for       The government continued to identify victims of trafficking and fund
                           commercial sex, eight of which also prohibited arresting, detaining, and        trafficking-speciﬁc services. Certain federal agencies used formal
                           charging them. That same report noted only 17 states had laws that              procedures to identify victims and refer them to service providers. DHS
                           prohibited the prosecution of child sex trafficking victims for unlawful        and DOJ were required by law to establish law enforcement screening
                           acts traffickers compelled them to commit and only 32 states formally           protocols to identify human trafficking victims and started efforts to
                           recognized all child sex trafficking victims as such, whether or not there      do so. The government funded several federal tip lines, including an
                           was third-party control, under their criminal codes. That NGO called            NGO-operated national hotline and referral service, as well as victim
                           for states to reduce reliance on live, in-court testimony from child sex        assistance organizations that provided trafficking-speciﬁc services.

    576                                                                                                                                                 Haiti AR_001057
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 682 of 729




                                                                                                                                                              UNITED STATES OF AMERICA
Federally funded trafficking-speciﬁc services, primarily through DOJ and       part of the match, making it difficult to meet this matching requirement.
the Department of Health and Human Services (HHS), served foreign              In addition, advocates called for the government to establish feedback
national and domestic trafficking victims and included case management,        loops in programming to gather and act on survivor input in real time
mental health and medical care, substance use treatment, housing and           and to establish minimum standards of care for human trafficking
shelter, translation and interpretation services, legal services, employment   survivors that all federal victim services grantees would be required
training and job placement services, transportation assistance, and            to meet to increase oversight of grantees.
ﬁnancial assistance. DOJ and HHS record-keeping systems did not
                                                                               Federal resources or specialized services for labor trafficking survivors,
allow for cross-referencing to determine which victims were served
                                                                               boys and men, LGBTQI+ persons, survivors struggling with substance
by grantees of both agencies.
                                                                               abuse issues, persons with limited English proﬁciency, and children
During FY 2021, DOJ provided about $60 million for 85 awards to support        aging out of services, as well as those who did not wish to participate
human trafficking victim assistance programs across the United States,         in the criminal justice system, continued to be insufficient. Advocates
compared with $74.6 million for 131 awards in FY 2020. Speciﬁc programs        called for the government to provide technical assistance to service
included $15 million for housing assistance awards, $22 million for 36         providers to improve their ability to assess survivors for disabilities
victim service awards addressing a broad range of case management              they had prior to their trafficking or that resulted from their trafficking
and specialized service needs, $13 million to provide specialized services     and to ensure services are fully accessible to those with disabilities.
for children, $2 million to enhance juvenile and family court responses to     Survivors with criminal records resulting from unlawful acts traffickers
human trafficking, and $8 million for training and technical assistance to     compelled them to commit were still often excluded from employment,
improve identiﬁcation of and assistance to trafficking victims nationwide.     housing, and higher education; were ineligible for government programs;
As DOJ transitioned performance management systems for grantees                and faced difficulties meeting needs essential to their safety and
during the reporting period, comprehensive data from grantees on the           recovery. Of those survivors, some who were required to register as sex
total number of clients served in FY 2021 were unavailable. A subset           offenders by their state or local government as a result of a conviction
of DOJ anti-trafficking grantees reported 10,070 open trafficking client       for unlawful acts traffickers compelled them to commit faced social
cases from July 1, 2020, to June 30, 2021, compared with 9,854 open            or familial ostracization; restrictions on travel or relocation; additional
client cases the previous year. Of these cases, 5,931 were new clients,        limitations on accessing services, housing, and public amenities; and
compared with 5,968 new clients reported the previous year. DOJ’s              in some cases lost custody of their children because of their status as a
grantees reported 61 percent of clients served were U.S. citizens or           sex offender. Advocates reported the government provided insufficient
lawful permanent residents, 34 percent were foreign nationals, and             protections and support for victim-witnesses, including relocation and
the status of 5 percent was unknown. Grantees reported 61 percent of           living expenses for those vulnerable to retaliation from traffickers. The
clients served were victims of sex trafficking, 23 percent were victims        denial of these protections increased victim-witnesses’ instability and
of labor trafficking, 7 percent were identiﬁed as victims of both sex and      vulnerability to re-trafficking.
labor trafficking, and the form of trafficking for 9 percent was unknown.
                                                                               As part of HHS’s assistance to foreign national victims, HHS provides
HHS runs two victim assistance programs—one for foreign national               Certiﬁcation Letters to foreign national adult victims of severe forms
victims and the other for domestic victims of human trafficking. In FY         of trafficking in persons, which enables them to apply for beneﬁts and
2021, HHS awarded $2 million in new funding and made available funding         services to the same extent as refugees, after DHS grants Continued
from previous ﬁscal years that was unspent, totaling $14 million, for the      Presence or when a victim has a bona ﬁde or approved application for
provision of case management services to foreign national victims to one       T nonimmigrant status, as described further below. HHS also provides
NGO that contracted with a nationwide network of NGO sub-recipients,           Eligibility or Interim Assistance Letters to foreign national children,
compared with $5.4 million in FY 2020 and $10.9 million in FY 2019.            which enables them to apply for beneﬁts and services to the same
Through this program, HHS served 3,461 individuals, including 2,047            extent as refugees, upon receipt of credible information the child is or
victims of trafficking and 1,414 qualiﬁed family members in 40 states,         may be a victim of a severe form of trafficking in persons under the
the District of Columbia, and one U.S. territory, a signiﬁcant increase        TVPA. HHS issued 527 Certiﬁcation Letters to foreign national adults
from 2,352 individuals served the previous ﬁscal year. Of the individuals      in FY 2021, an increase from 508 in FY 2020 and 311 in FY 2019. Of the
served, 68 percent were victims of labor trafficking, 20 percent were          527 foreign national adults certiﬁed in FY 2021, 14 percent were sex
victims of sex trafficking, 9 percent were identiﬁed as victims of both        trafficking victims, 68 percent were labor trafficking victims, 16 percent
sex and labor trafficking, and the form of trafficking for 3 percent was       were victims of both sex and labor trafficking, and 2 percent were
unknown. For the provision of case management services to domestic             victims of a severe form of trafficking in persons unknown to HHS. HHS
victims of human trafficking, HHS awarded $5.3 million in FY 2021,             issued 1,200 Eligibility Letters to foreign national children in FY 2021,
compared with $5.4 million in FY 2020 and $2.9 million in FY 2019, to          a signiﬁcant increase from 673 in FY 2020 and 892 in FY 2019. Of the
18 grantees that served 829 victims of trafficking in 17 states through        1,143 foreign national children certiﬁed in FY 2021, 25 percent were sex
collaborative partnerships with 89 service providers, a decrease from          trafficking victims, 68 percent were labor trafficking victims, 6 percent
884 individuals served the previous year. HHS’s grantees in its victim         were victims of both labor and sex trafficking, and 1 percent were victims
assistance program for domestic victims of human trafficking reported          of a severe form of trafficking in persons unknown to HHS. Foreign
47 percent of individuals served were victims of sex trafficking, 4            national children currently in the United States who are identiﬁed as
percent were victims of labor trafficking, 4 percent were identiﬁed as         survivors of trafficking and receive an Eligibility Letter are also eligible
victims of both sex and labor trafficking, and the form of trafficking for     to participate in HHS’s Unaccompanied Refugee Minors Program. This
45 percent was unknown.                                                        program requires states to provide such child victims with the same
                                                                               assistance, care, and services available to children in foster care. In FY
Advocates noted funding for victim services remained inadequate to
                                                                               2021, the program served 399 child trafficking victims, including 129
cover the high cost of providing services and the increased demand
                                                                               new enrollees, compared with 329 child trafficking victims that included
for services due to the pandemic. Some federally funded services and
                                                                               142 new enrollees in FY 2020.
organizations’ program models continued to focus on time-limited
and immediate crisis intervention rather than long-term, holistic care.        DHS provides immigration options speciﬁcally for survivors of trafficking
Emergency, transitional, and long-term housing options for trafficking         through Continued Presence, a temporary immigration designation, and T
survivors were limited, as demand and costs increased during the               nonimmigrant status, another temporary immigration beneﬁt (commonly
pandemic, exacerbating preexisting housing constraints. Advocates              referred to as the “T visa”). Both immigration options strengthen
also called for increased access to mental health services, childcare,         law enforcement’s ability to detect, investigate, or prosecute human
and economic empowerment opportunities for survivors. Advocates                trafficking by offering foreign national survivors temporary immigration
called for Congress to remove or suspend the legislative requirement           relief. Another immigration beneﬁt available to survivors of certain
for some federal programs that grantees match 25 percent of the total          qualifying crimes, including human trafficking, is U nonimmigrant status
award. Advocates stated the pandemic limited grantees’ fundraising             (commonly referred to as the “U visa”). This status can be granted to
capabilities and volunteer workforces, whose time can be included as           survivors who are, have been, or are likely to be helpful in the detection,

                                                                                                                                 Haiti AR_001058              577
                               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 683 of 729
UNITED STATES OF AMERICA   investigation, prosecution, conviction, or sentencing of the qualifying      prosecutorial discretion in appropriate circumstances to facilitate
                           criminal activity and meet other speciﬁc eligibility requirements. DHS       access to justice and victim-based immigration beneﬁts. The policy
                           is unable to accurately track the number of approved petitions for U         also states DHS officials will look for indicia, or evidence, that suggests
                           nonimmigrant status based on the speciﬁc underlying qualifying criminal      a foreign national is a victim of crime, seek expedited adjudication of
                           activity, so it is unknown how many U visa petitions were approved           victim-based immigration applications, and refrain from taking civil
                           speciﬁcally for trafficking victims.                                         immigration enforcement action against foreign national victims of
                                                                                                        crime, including releasing foreign national victims from immigration
                           To qualify for Continued Presence, law enforcement must identify an
                                                                                                        detention and granting a stay of removal or deferred action.
                           individual as a victim of human trafficking who may be a potential witness
                           in the investigation or prosecution of the trafficker. DHS manages all       Advocates noted improvements in DHS trainings, policies, and public
                           requests from federal, state, and local law enforcement for Continued        outreach on human trafficking and immigration relief available to
                           Presence, authorizing foreign nationals identiﬁed by law enforcement         victims. Advocates again reported the administration’s actions to
                           as trafficking victims who may be potential witnesses to lawfully remain     review, rescind, or not implement prior modiﬁcations to certain forms
                           and work in the United States during the investigation and prosecution       of humanitarian relief as well as the re-establishment of stakeholder
                           of the crime for two years, renewable for up to two-year increments.         communication improved transparency and access to immigration
                           In FY 2021, DHS granted 247 initial Continued Presence requests and          protection.
                           57 extensions, compared with 97 initial grants and 57 extensions in FY
                                                                                                        However, advocates again reported signiﬁcant obstacles to obtaining
                           2020. (The FY 2020 number of Continued Presence initial requests
                                                                                                        T nonimmigrant status. For instance, advocates noted adjudicators
                           granted (97) represents a correction to the number cited last year (117).)
                                                                                                        continued to request additional evidence and continued to
                           To qualify for T nonimmigrant status, an applicant must demonstrate          inappropriately issue T nonimmigrant status denials, such as denials
                           that they (1) are a victim of a severe form of trafficking in persons; (2)   based on unlawful acts traffickers compelled victims to commit,
                           are physically present in the United States, its territories and outlying    based on improperly interpreted statutes and regulations or narrower
                           possessions, or at a U.S. port of entry on account of trafficking; (3)       interpretations of the physical presence requirement; the additional
                           have complied with reasonable requests from law enforcement, unless          requests for evidence increased overall processing times. Lengthy
                           they are younger than the age of 18 or unable to cooperate due to            T nonimmigrant status processing times added vulnerabilities for
                           trauma suffered; and (4) would suffer extreme hardship involving             survivors who lacked legal status or whose time-limited support
                           unusual and severe harm upon removal from the United States. T               services expired. Advocates called for improvements to T nonimmigrant
                           nonimmigrant applicants may also apply for certain family members to         status processing, such as hiring additional staff and streamlining
                           receive derivative T nonimmigrant status, including certain extended         forms. NGOs again voiced concern with the fact that DHS generally
                           family members who face a present danger of retaliation because              does not conduct bona ﬁde determinations for T nonimmigrant status
                           of the principal applicant’s escape from trafficking or cooperation          applications, which could allow applicants to receive deferred action
                           with law enforcement. Individuals with T nonimmigrant status are             from removal and employment authorization while they await ﬁnal
                           authorized to work, and their derivative family members can apply for        adjudication of their application. Advocates reported this has left
                           employment authorization. Both are eligible to receive certain beneﬁts       trafficking victims in vulnerable situations, whether in immigration
                           and services to the same extent as refugees. T nonimmigrant status is        detention, unable to legally work, or at risk of removal, the latter
                           granted for a period of four years and may be extended under certain         of which would make them ineligible for T nonimmigrant status.
                           limited circumstances. After three years, or upon the completion of          NGOs again called for DHS to improve training for adjudicators and
                           the investigation or prosecution, individuals with T nonimmigrant            incorporate input from survivors and other nongovernmental subject
                           status may apply for lawful permanent resident status, if they meet          matter experts.
                           certain requirements, and eventually for U.S. citizenship. DHS granted T
                                                                                                        Advocates reported continued concern with the low number of
                           nonimmigrant status to 829 victims and 622 family members in FY 2021,
                                                                                                        Continued Presence requests made by law enforcement and noted
                           a decrease from 1,040 victims and 1,018 family members in FY 2020.
                                                                                                        the heightened importance of this temporary status to access services
                           The median processing time for T nonimmigrant status applications
                                                                                                        given increased obstacles to obtaining T nonimmigrant status. NGOs
                           was 18 months in FY 2021, compared to 18.6 months in FY 2020, 16.2
                                                                                                        again called for targeted training of law enforcement in geographic
                           months in FY 2019, and 12.1 months in FY 2018.
                                                                                                        areas with the greatest disparities between requests for Continued
                           DHS made efforts to support victims’ access to immigration options. In       Presence and applications for T nonimmigrant status. Advocates
                           October 2021, DHS issued updated policy guidance on T nonimmigrant           again reported survivors of sex trafficking were more likely to obtain
                           status applications, including on eligibility requirements, evidentiary      Continued Presence than survivors of labor trafficking.
                           standards, burdens of proof, and the physical presence eligibility ground.
                                                                                                        DHS is required to screen certain individuals for human trafficking,
                           In January 2022, DHS updated the T nonimmigrant status application
                                                                                                        including unaccompanied children and some detained individuals.
                           to clarify ﬁling requirements and assist applicants, attorneys, and
                                                                                                        In the case of foreign national adults apprehended, interdicted, or
                           representatives with preparing their petitions. Further, DHS expanded
                                                                                                        in detention pending removal from the United States, DHS does not
                           outreach to stakeholders to increase their awareness of humanitarian
                                                                                                        mandate screening of such individuals for trafficking indicators. To
                           immigration programs. These efforts increased transparency and
                                                                                                        enhance protections for unaccompanied children and combat child
                           helped victims and their advocates prepare applications.
                                                                                                        trafficking, DHS and HHS share responsibility for the processing,
                           DHS also released updated resource guides on Continued Presence              treatment, and placement of unaccompanied children. This includes a
                           and T nonimmigrant status and conducted corresponding trainings for          screening by DHS within 48 hours of apprehension, transfer of certain
                           law enforcement to improve accessibility to these immigration options.       unaccompanied children to HHS custody within 72 hours, and prompt
                           DHS updated its immigration enforcement case management system               placement by HHS in the least restrictive setting that is in the best
                           to better ensure it did not subject individuals approved for Continued       interest of the child. When foreign national children are placed in the
                           Presence to inappropriate enforcement actions, such as detention or          care and custody of HHS, they are screened for human trafficking. HHS
                           removal, and moved to electronic processing of Continued Presence            assesses the safety of sponsor placements for unaccompanied children
                           applications. In June 2021, DHS updated its policy to newly conduct          prior to their release from the government’s custody and provides post-
                           bona ﬁde determinations for U nonimmigrant status petitions, whereby         release case management services to certain unaccompanied children
                           DHS determines a petition is compliant with initial requirements and         to promote their safety and well-being. The TVPA also requires any
                           other relevant considerations. A bona ﬁde determination allows DHS           federal, state, or local official with information on a foreign national
                           to provide employment authorization and deferred action to eligible          minor who may have experienced human trafficking to refer those
                           applicants while they await ﬁnal adjudication of their petitions.            cases to HHS to assess whether the minor is eligible for services to
                                                                                                        the same extent as a refugee.
                           To implement a victim-centered approach in civil immigration
                           enforcement actions involving foreign national crime victims, including      DHS made efforts to identify victims among individuals encountered
                           human trafficking victims, DHS issued a directive stating it will exercise   at the border and during immigration enforcement. These efforts
    578                                                                                                                                              Haiti AR_001059
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 684 of 729




                                                                                                                                                              UNITED STATES OF AMERICA
included implementing a new requirement for all DHS officers at the          PREVENTION
border to complete human trafficking awareness training, creating a          The U.S. government increased efforts to prevent trafficking. The
working group to add human trafficking-speciﬁc questions to DHS’s            government continued to implement a comprehensive three-year national
medical screening form for detained individuals, and designating             action plan to combat human trafficking and in December 2021 released
points of contact in its immigration enforcement ﬁeld offices to identify    an updated version that incorporated actions to advance gender and
and refer potential trafficking victims to appropriate DHS offices and       racial equity; workers’ rights; safe, orderly, and humane migration; and
coordinate with attorneys or representatives on immigration beneﬁts          support for underserved communities. To enhance transparency and
applications.                                                                stakeholder input, the President’s Interagency Task Force to Monitor and
The government continued to implement an order under Title 42 of the         Combat Trafficking in Persons reported on agency accomplishments
U.S. Code that authorized the government to suspend the introduction         and future efforts and again invited members of the presidentially-
of certain migrants arriving to the northern and southwest border who        appointed survivor advisory council to join its meeting. DOJ released a
would otherwise be introduced into a congregate setting. In March            comprehensive multi-year national strategy to strengthen capacity and
2022, an appellate court ruled the government can continue expelling         coordination within DOJ to combat human trafficking. HHS announced
individuals from the United States under Title 42 but cannot expel them      the establishment of a task force to prevent human trafficking, focusing
to places where they will be persecuted or tortured, although this order     on expanding access to services for survivors and preventing forced labor
had not gone into effect by the end of the reporting period. Separately,     in health care supply chains, among other initiatives. The U.S. Agency
in December 2021 pursuant to a federal court order, the government           for International Development (USAID) released its revised policy to
reimplemented its policy to return to Mexico certain foreign nationals       combat trafficking in persons aimed at promoting trauma-informed
who arrived by land while their U.S. removal proceedings were pending.       and survivor-centered approaches and strengthening partnerships.
The government updated the policy to apply to all nationals within           In FY 2021, Congress made available $99 million in foreign assistance
the Western Hemisphere (other than Mexico), added individualized             resources to State and USAID to support international anti-trafficking
exemptions to the program based on certain vulnerabilities such as           initiatives in countries in every region of the world. Although it increased
known mental or physical health issues, and provided that individuals        overall efforts to prevent trafficking, advocates continued to call for the
encountered will be affirmatively asked questions by DHS personnel           government to prioritize a more comprehensive and proactive approach
about their potential fear of return to Mexico. While implementing           to address the factors and conditions that increase vulnerabilities to
this policy, the government did not screen for trafficking among the         human trafficking, such as the exclusion of domestic and agricultural
individuals it returned to Mexico.                                           workers from legal worker protections. In addition, the government did
                                                                             not increase its ability to prevent human trafficking in its employment-
Advocates expressed concern about the long-term, cumulative effects          based and other nonimmigrant visa programs or to hold employers,
on trafficking survivors of prior immigration enforcement policies, as       farm labor contractors, and their agents, including labor recruiters,
well as the government’s ongoing implementation of Title 42 and its          accountable for practices known to lead to human trafficking.
policy to return potential asylum-seekers to Mexico while their cases
were pending. They noted the two ongoing policies left migrants at           HHS continued to fund an NGO to operate the national human trafficking
higher risk of human trafficking and without access to legal protections     hotline. In FY 2021, the hotline received 66,308 signals, including
called for by U.S. and international law. NGOs noted concern about the       calls, texts, chats, online tips, and emails that were substantive in
heightened risk of human trafficking for individuals forced to return to     nature (i.e., excluding hang-ups, wrong numbers, missed signals, and
Mexico and ﬁnd shelter in unsecured and unsanitary temporary camps,          signals in which the hotline could not determine the signaler’s reason
where they were often targeted by gangs and other criminals while            for calling); identiﬁed 10,983 potential human trafficking cases; and
awaiting asylum interviews. Further, NGOs have identiﬁed cases where         provided referrals for 10,633 unique signalers. More than 13,538 signals
unaccompanied children, whose families were returned to Mexico,              came from individuals who identiﬁed themselves as potential victims of
were subsequently subjected to trafficking in the United States. One         trafficking seeking help. The government operated other tip lines that
NGO report recorded more than 7,600 reports of crimes, including             received calls or messages related to suspected human trafficking cases.
several potential cases involving human trafficking, perpetrated against     The government continued public outreach measures on the causes
individuals between February 2021 and October 2021 after they were           and consequences of human trafficking and continued to seek and
forced to return to Mexico by the U.S. government. NGOs noted this           incorporate survivors’ expertise into policies and programs. Agencies
policy expanded and would expel to Mexico migrants from Haiti and            provided funding, materials, and trainings related to human trafficking
other Caribbean countries who are predominantly Black, placing               awareness to federal grantees, school communities, public health
these migrants at heightened risk of crime victimization, such as            providers, and public and private sector transportation stakeholders,
human trafficking, due to racial discrimination, language barriers, and      among others, including on trauma-informed and victim-centered
lack of legal status. Advocates continued to report foreign national         approaches to human trafficking. For the ﬁfth year, HHS continued
victims remained in trafficking situations because they were afraid to       its leadership academy composed of survivors and anti-trafficking
report their cases to law enforcement, pursue immigration options,           professionals, with the latest cohort developing recommendations for
or seek services. NGOs also reported transgender individuals were            service providers that receive federal, state, or local funding to build their
less likely than cisgender individuals to be released from immigration       capacity to address institutional inequities and better serve communities
detention, even after being identiﬁed as trafficking victims by law          of color and those at risk of human trafficking.
enforcement. Advocates continued to report that though the TVPA
requires trafficking screening and the provision of age-appropriate          Advocates urged the government to evaluate the effectiveness of anti-
services and protections, the government failed to fully implement           trafficking outreach efforts, including trainings, and ensure educational
these protections and provide comprehensive legal and social services        materials are survivor-informed and tailored to the industry of those
to unaccompanied children released from HHS custody. Advocates               being trained. NGOs called for all professionals, especially healthcare
recommended HHS provide services, such as case management and                workers and educators who are likely to encounter potential human
legal representation, to all unaccompanied children upon the children’s      trafficking victims and survivors, to receive human trafficking training,
release from its custody to better support them with rebuilding their        including on how to identify vulnerabilities traffickers target and connect
life in a new country and subsequently decrease their vulnerability          victims to support. NGOs noted the lack of prevalence data is a barrier
to human trafficking.                                                        to effective anti-trafficking prevention efforts and that the government
                                                                             did not publish a report on prevalence in the United States as required
The U.S. government continued to provide training, both directly and         by law; they called for additional nationwide prevalence studies to
through NGO partnerships, for federal, state, local, and tribal officials,   better target anti-trafficking efforts.
as well as for NGO service providers and health and human service
providers, to encourage more consistent application of victim-centered,      Advocates continued to call for the government to prioritize a more
trauma-informed, and culturally responsive approaches in all phases          comprehensive and proactive approach to address the factors and
of victim identiﬁcation, assistance, recovery, and participation in the      conditions—including those created by government policies or structures
criminal justice process.                                                    like the criminal justice system, immigration system, housing, and
                                                                                                                                Haiti AR_001060               579
                               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 685 of 729
UNITED STATES OF AMERICA   healthcare—that increase vulnerabilities to human trafficking. For           exploited. Advocates continued to call for regulatory changes to uncouple
                           example, advocates called for the government to create economic              employment visas from an employer or sponsor and to protect individuals
                           opportunities to empower individuals in communities it has historically      in certain temporary worker programs to the same extent as workers in
                           placed at higher risk of human trafficking through discriminatory            other programs. NGOs recommended the government develop a more
                           policies, such as individuals who are Black, Indigenous, people of color,    accessible database with real-time information to enable workers to verify
                           or LGBTQI+, and to further examine racism and discrimination as root         the existence of a job, self-petition, and access job-related information.
                           causes. Workers in domestic and agricultural sectors, performing duties      In June 2021, the U.S. Supreme Court found a state regulation allowing
                           historically performed by people who were enslaved, people who               labor organizers onto private agricultural property during non-work
                           were formerly enslaved, and their descendants, remained speciﬁcally          hours to talk with employees constituted taking private property for
                           excluded from legal worker protections under federal law. Their lack of      public use without just compensation. NGOs said this decision further
                           legal protections, combined with the heightened isolation, economic          isolated farmworkers and left them more vulnerable to exploitation,
                           uncertainty, and health risks due to COVID-19, increased their risk of       especially among H-2A workers, whose visas are tied to their employers.
                           human trafficking.
                                                                                                        Formal and informal recruiters, labor contractors, and agents continued
                           DOL, DHS, and State screen and approve employers and workers                 to charge workers prohibited fees, and the government’s enforcement
                           for temporary foreign worker programs to ensure compliance with              of the ban on worker-paid recruitment fees and other prohibited
                           program requirements, including worker protections. To reduce workers’       practices meant to prevent workers from experiencing situations of
                           vulnerability to exploitation, including human trafficking, the United       heightened risk to human trafficking remained weak. NGOs urged DOL
                           States bars employers participating in these programs and/or their           to require H-2A labor contractors to submit an H-2A application with
                           agents (whether or not those agents or others in the recruitment chain       an agricultural business as a joint employer so that the business is also
                           are in contractual privity with the employer or a recruiter, whether or      liable for the recruitment and treatment of workers. NGOs called for
                           not located in the United States, and whether or not such agents are         the government to increase transparency of the recruitment process,
                           governmental or non-governmental entities) from seeking or receiving         prioritize holding accountable employers and farm labor contractors,
                           payments from workers for any activities related to obtaining labor          as well as their agents who have exploited workers and violated visa
                           certiﬁcation or employment. These payments include job placement             program regulations, and pass federal legislation to regulate foreign
                           and recruitment fees and salary and wage deductions. The United              labor recruitment, including creation of a public registry of certiﬁed
                           States requires that the terms of employment be disclosed. When              labor recruiters.
                           State conducts visa interviews, it has direct contact with visa applicants
                                                                                                        State continued its oversight of the Exchange Visitor Program (EVP,
                           and can apprise applicants of their legal rights pertaining to worker
                                                                                                        commonly referred to as the “J-1 visa”), which includes among others
                           protections related to their temporary employment. In addition, the
                                                                                                        the Summer Work Travel (SWT) and Au Pair programs. State continued
                           government can use the criminal statute that prohibits the use of fraud
                                                                                                        to monitor exchange visitors to help safeguard their health, safety, and
                           to recruit, solicit, or hire workers abroad to come to the United States
                                                                                                        welfare and to identify and investigate program fraud and abuse. It also
                           to work to hold employers and their agents criminally responsible
                                                                                                        continued to increase its virtual monitoring capabilities through exchange
                           for abusive employment practices commonly associated with forced
                                                                                                        visitor surveys and reached approximately 42,000 exchange visitors
                           labor. In FY 2021, DOL conducted 248 and 538 audits of temporary
                                                                                                        that way in 2021. State conducted outreach to raise program sponsors’
                           labor certiﬁcations for H-2A and H-2B petitions, respectively, and as
                                                                                                        awareness of their administrative oversight and reporting obligations
                           it did not receive any voluntary disclosures from employers applying
                                                                                                        to State with respect to the health, safety, and welfare of exchange
                           for a temporary labor certiﬁcation that they or their agents charged
                                                                                                        visitors. State continued to liaise and collaborate with law enforcement
                           workers a prohibited fee, did not deny any temporary labor certiﬁcation
                                                                                                        on criminal investigations relating to the EVP and created a pamphlet to
                           applications solely on that basis. DOJ initiated one prosecution for fraud
                                                                                                        educate exchange visitors on their rights. State continued to sanction
                           in foreign labor contracting in FY 2021. State extended its interview
                                                                                                        sponsors that violated EVP regulations throughout the reporting period,
                           waiver authorization for certain ﬁrst-time H-2 visa applicants and
                                                                                                        but none were for trafficking or trafficking-related crimes.
                           expanded the waiver to include additional visa categories, which again
                           reduced the government’s ability to verbally ensure applicants knew their    Advocates continued to report the need for additional steps to reduce the
                           rights and to detect potential cases of fraud that increase applicants’      risks of exploitation in some EVP categories, noting two recent cases of
                           vulnerability to human trafficking. As part of the administration’s          EVP abuse, potential human trafficking cases identiﬁed by the national
                           strategy to promote safe, orderly, and humane migration in and from          human trafficking hotline, and concerns with fraudulent recruitment
                           North and Central America, as well as the Caribbean, the government          practices. Advocates noted that program fees left some SWT participants
                           expanded access to legal migration pathways, including the H-2 visa          indebted upon arrival to the United States. One advocacy group noted
                           program. To do so, USAID provided technical assistance and staffing to       SWT participants in hospitality placements in one Midwestern state were
                           the governments in northern Central America to increase their ability        often at increased risk to trafficking due to isolation and dependency
                           to recruit potential H-2 workers within their country, connect with U.S.     on their employer for housing. A news report featuring interviews with
                           businesses to increase demand for workers from those countries, and          former and current au pairs in the EVP detailed a lack of oversight of
                           facilitate the completion and submission of H-2 visa applications. The       sponsors and families, including false promises, threats of removal,
                           U.S. government issued H-2 visas to 9,797 northern Central American          and frequent sponsor non-compliance with the program’s reporting
                           applicants in FY 2021. Of those, 1,776 applicants applied with USAID         requirements. Advocates called for increased protections for the SWT
                           assistance (the remaining visas were issued to workers recruited through     (speciﬁcally for hospitality placements) and au pair categories under
                           private recruiters).                                                         U.S. labor and employment laws. Speciﬁcally, for the au pair category,
                                                                                                        advocates recommended increased program oversight by State, more
                           Oversight of employment-based and other nonimmigrant visa programs
                                                                                                        accountability of sponsors and participating employers, and greater
                           remained weak, and structural conditions embedded in some of these
                                                                                                        transparency about employers and occupations.
                           programs continued to enable human traffickers—employers, labor
                           contractors, or agents—to maintain control of workers. NGOs stated           State and the U.S. Mission to the UN continued to implement their
                           the administration’s expansion of the H-2 visa program without having        respective domestic worker in-person registration programs for A-3
                           ﬁrst addressed insufficient oversight and the longstanding structural        and G-5 visa holders employed by foreign mission and international
                           weaknesses of it placed workers at greater risk to human trafficking.        organization personnel in the United States. Due to the pandemic,
                           Advocates called for the government to launch an investigation into          the programs remained virtual, using phone and video registrations.
                           how a group of 24 employers and farm labor contractors who allegedly         In June 2021, in accordance with the TVPA, State suspended for ﬁve
                           subjected more than 100 H-2 workers to forced labor were able to             years the A-3 visa sponsorship privileges afforded to Cameroonian
                           petition for more than 70,000 H-2A positions over the course of six          bilateral mission members because the Government of Cameroon
                           years. Advocates called for an audit of the H-2A program and expressed       declined to waive diplomatic immunity for U.S. criminal proceedings
                           concern that the government had not followed up with the other               involving mistreatment of a domestic worker and did not initiate its own
                           workers on the defendants’ petitions to ensure they were not being           prosecution. This suspension followed State’s March 2021 request that

    580                                                                                                                                             Haiti AR_001061
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 686 of 729




                                                                                                                                                             UNITED STATES OF AMERICA
the Government of Cameroon waive immunity of a Cameroonian mission            sessions with anti-trafficking stakeholders. The government provided
member following an investigation into allegations including fraud in         anti-trafficking training to its diplomats.
foreign labor contracting and collection of data and State’s requiring
                                                                              Advocates called for greater efforts to address demand for all forms
the departure of the individual from the United States.
                                                                              of human trafficking. Advocates urged the government to ensure
Lawsuits in Colorado, Georgia, Texas, and California remained pending         stakeholder engagement on demand reduction is trauma-informed, is
against privately owned and operated detention facilities contracted by       survivor-informed, and prioritizes the inclusion of diverse experiences
DHS. These lawsuits allege the contractors forced detained non-citizens to    and voices.
work in violation of the TVPA during their federal immigration detention.
                                                                              The government made efforts to reduce the demand for participation
DHS is not party to the lawsuits, nor are any of its component agencies.
                                                                              in extraterritorial sexual exploitation and abuse (commonly referred to
Advocates again asserted that labor by individuals in immigration             as “international sex tourism”) by its citizens, including by proactively
detention and prisons perpetuates slavery and its legacy of racial            investigating allegations of child sexual exploitation crimes perpetrated
injustice. They continued to call for the government to end its use of        overseas by U.S. citizens and partnering with foreign law enforcement
labor in immigrant detention facilities, whether government-operated          counterparts to share information regarding international travel of
or operated through contracts with private entities, as these detained        registered child sex offenders. Four defendants were federally convicted
non-citizens have not been convicted of a crime. They also called on the      in FY 2021 of engaging in extraterritorial child sexual exploitation and
government to close all privately run immigration detention facilities        abuse, compared to at least three in FY 2020. Offenders who abuse
and amend the U.S. Constitution to eliminate the exception to the             children abroad may have been prosecuted under other statutes, which
Thirteenth Amendment that allows for slavery or involuntary servitude         are not reﬂected in this statistic.
as punishment for those convicted of a crime.
                                                                              DOJ and other federal law enforcement agencies did not receive any
Civil enforcement of federal laws continued to be a signiﬁcant component      allegations of forced labor or recruitment fees charged to third-country
of the government’s anti-trafficking efforts. DOL investigated complaints     nationals working on certain U.S. government contracts abroad. DOJ
and conducted targeted civil labor investigations involving workers           did not initiate any federal criminal prosecutions of employers or labor
in industries and sectors known to be vulnerable to labor trafficking,        contractors for such violations in FY 2021.
including complaints or investigations related to temporary foreign
                                                                              The Office of Management and Budget (OMB) notiﬁed agencies’
worker programs. Where appropriate, DOL refers these cases for criminal
                                                                              procurement offices three times of speciﬁc concerns regarding human
investigation. In FY 2021, DOL continued such enforcement activities
                                                                              trafficking risks in certain supply chains. Additionally, OMB updated
in industries including agriculture, landscaping, hospitality, seafood
                                                                              the human trafficking training for the acquisition workforce. Despite a
processing, construction, garment, health care, and child care. In FY 2021,
                                                                              2019 directive for certain agencies to designate a senior accountable
DOL made seven referrals to federal, state, and local law enforcement
                                                                              official to ensure effective implementation of anti-trafficking acquisition
agencies or task forces and referred two cases involving allegations of
                                                                              rules and best practices, not all had done so by the end of the reporting
human trafficking within the H-2 visa program to DOL’s inspector general,
                                                                              period. As stated in the Prosecution section above, in FY 2021, DoD
compared with nine referrals and two cases in FY 2020, respectively.
                                                                              reported investigating 31 cases related to forced labor in federal
(The FY 2020 number of referrals to law enforcement agencies (nine)
                                                                              contracts, compared to 112 cases in FY 2020. DoD took action against
and cases involving allegations of human trafficking within the H-2 visa
                                                                              noncompliant employers and labor contractors resulting in 16 local
program (two) represent corrections to the numbers cited last year
                                                                              corrective actions, one guilty plea in federal court, 12 actions with
(14 and six, respectively.)) Additionally, ﬁve law enforcement agencies
                                                                              outcomes not reported, and two cases with no action taken by DoD.
referred cases to DOL, and one law enforcement agency requested DOL
                                                                              Where appropriate, DoD refers these cases for criminal investigation
assistance. The Equal Employment Opportunity Commission (EEOC)
                                                                              or pursues criminal investigations. DHS did not debar any entities and
enforces federal employment discrimination statutes and continued
                                                                              did not convict any individuals of engaging in human trafficking from
to investigate civil employment discrimination charges ﬁled by or on
                                                                              conducting business with the federal government.
behalf of victims of trafficking and seek compensation where evidence
of discrimination was found. At the conclusion of the investigation, the      The government increased efforts to prevent human trafficking in U.S.
EEOC has the authority to ﬁle lawsuits to protect the rights of individuals   private sector supply chains. DHS continued to enforce the law that
and the interests of the public; it litigates a small percentage of the       prohibits the importation of goods mined, produced, or manufactured,
charges it investigates. In FY 2021, the EEOC received 15 new charges         wholly or in part, under forced labor conditions, including forced child
of discrimination linked to human trafficking, compared to three in FY        labor. DHS received 42 allegations and issued nine Withhold Release
2020. For the seven charges of discrimination the EEOC resolved in            Orders and one ﬁnding for shipments of goods where information
FY 2021, the EEOC recovered $6,750 in monetary beneﬁts, compared              reasonably indicated that merchandise within the purview of Title 19
to $0 in monetary beneﬁts it recovered in resolution of charges in            U.S. Code section 1307 is being, or is likely to be, imported into the
FY 2020. In May 2021, the EEOC recovered more than $4.8 million to            United States, resulting in the detention of 1,469 shipments worth
satisfy a judgement in a national origin and race discrimination lawsuit      approximately $486 million, compared with 50 allegations and 16
against a U.S.-based employer in Hawaii who, along with a farm labor          Withhold Release Orders and one ﬁnding within the previous reporting
contractor, subjected workers to physical violence, removal threats, a        period. DHS modiﬁed three Withhold Release Orders and one ﬁnding
variety of discriminatory pay practices, and inhumane living and working      after determining the companies remediated concerns about the use of
conditions. As of September 30, 2021, the EEOC had 11 pending charges         forced labor. DHS did not collect any civil penalties for violations of U.S.
linked to human trafficking.                                                  trade law regarding goods produced with forced labor. The Office of the
                                                                              U.S. Trade Representative engaged with trade ministers to coordinate
NGOs stated DOL and the EEOC investigative divisions continued
                                                                              with partner countries, regional and multilateral organizations, worker
to be signiﬁcantly underfunded and their work to protect workers
                                                                              organizations, businesses, civil society, and other key stakeholders to
underprioritized, which inhibited meaningful or systematic enforcement
                                                                              combat forced labor in their supply chains. DOL launched a new online
of labor laws and detection of forced labor in industry supply chains.
                                                                              compliance and accountability tool that shows which U.S. imports
Advocates called for expanded authorities and additional resources
                                                                              may be at higher risk for being made with child labor, forced labor, or
to be allocated to DOL and the EEOC to enhance efforts to address
                                                                              forced child labor.
labor trafficking cases.
                                                                              The government continued its efforts to prevent U.S. businesses
The government made efforts to reduce the demand for commercial sex
                                                                              and consumers from interacting with or purchasing from entities
acts, including by prosecuting individuals for sex trafficking involving
                                                                              engaged in forced labor and other human rights abuses in the Xinjiang
children. DHS conducted operations targeting online platforms used
                                                                              Uyghur Autonomous Region (Xinjiang) and beyond, including by
by sex traffickers to disrupt and dismantle their operations and to
                                                                              issuing an updated business advisory, imposing export controls,
identify and assist victims of human trafficking. The government’s
                                                                              and issuing sanctions against officials and entities. In December
ad hoc working group on demand reduction convened two listening
                                                                              2021, Congress passed and agencies began implementing legislation
                                                                                                                                Haiti AR_001062              581
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 687 of 729
URUGUAY   giving the government new tools to prevent goods made with forced             in CNMI. HHS partnered with an NGO to provide virtual trainings on
          labor in Xinjiang from entering U.S. markets, such as the creation of a       human trafficking and trauma-informed care for individuals with lived
          rebuttable presumption that all goods manufactured wholly or in part          experience of human trafficking to government and nongovernment
          in Xinjiang are the product of forced labor and not entitled to entry         stakeholders in Guam, including what human trafficking looks like
          at U.S. ports of entry.                                                       in the local context, identifying key partners that should comprise a
                                                                                        multidisciplinary response, and providing trauma-informed practices
          The Government Accountability Office made recommendations for
                                                                                        for frontline professionals. HHS announced a new program to fund
          DoD to prevent the availability of goods produced by forced labor
                                                                                        local organizations in Paciﬁc territories, including America Samoa,
          at its military commissaries and exchanges, including establishing an
                                                                                        Guam, and CNMI, to deliver services to foreign nationals who have
          overarching policy and consistent processes to prevent the availability
                                                                                        experienced trafficking in those territories.
          of such goods, establishing an oversight mechanism to monitor
          implementation, and using available federal information to identify risks.    As part of the prosecution statistics previously mentioned, DOJ ﬁled
          NGOs commended DHS’s increased enforcement of its prohibition on              two new human trafficking cases, one each in Puerto Rico and USVI,
          the importation of goods produced with forced labor but recommended           and convicted three defendants in the same locations.
          DHS increase transparency of its processes.
          In April 2021, DOI established a new unit to support interagency work
                                                                                        TRAFFICKING PROFILE
                                                                                        As reported over the past ﬁve years, human traffickers exploit domestic
          to resolve “cold cases” involving missing or murdered American Indians
                                                                                        and foreign national victims in the United States, and traffickers
          and Alaska Natives and to address underlying causes, including human
                                                                                        exploit victims from the United States abroad. Human trafficking
          trafficking. DOJ funded approximately $2.5 million to a grantee in Alaska
                                                                                        cases have been reported in all 50 states, the District of Columbia,
          for a ﬁve-year project to design and implement a human trafficking
                                                                                        and U.S. territories. Individuals who entered the United States with
          public awareness victim services campaign that will reach the entire
                                                                                        and without legal status have been identiﬁed as trafficking victims.
          state of Alaska. In FY 2021, HHS again funded a grant program in six
                                                                                        Victims originate from almost every region of the world; the top
          locations to strengthen the response to victims of human trafficking in
                                                                                        three countries of origin of victims identiﬁed by federally funded
          American Indian and Alaska Native communities. In FY 2021, HHS again
                                                                                        providers in FY 2021 were the United States, Mexico, and Honduras.
          funded a demonstration grant program to provide comprehensive case
                                                                                        Human trafficking patterns in the United States continued to reﬂect
          management services for Indigenous survivors of human trafficking in
                                                                                        the living legacy of the systemic racism and colonization globalized
          Alaska, Hawaii, Minnesota, North Carolina, Washington, and Wisconsin.
                                                                                        during the transatlantic slave trade through chattel slavery and
          HHS continued to offer online training to educate health care providers
                                                                                        regional practices of Indigenous dispossession. Traffickers often
          serving American Indians, Alaska Natives, Native Hawaiians, and
                                                                                        target those who experience compounding forms of discrimination
          Paciﬁc Islanders regarding human trafficking and its effect on their
                                                                                        (such as discrimination because of one’s racial or ethnic group,
          communities. In FY 2021, DOJ awarded more than $32 million to tribal
                                                                                        gender identity, disability, or sexual orientation), experience violence
          governments under its program to address domestic violence, dating
                                                                                        (such as intimate partner or domestic violence), or interact with
          violence, sexual assault, sex trafficking, and stalking and awarded
                                                                                        government-run programs (such as the criminal justice system, runaway
          $733,691 to tribal governments to exercise special domestic violence
                                                                                        and homeless youth services, foster or institutional care, and the
          criminal jurisdiction. In March 2022, the U.S. Congress reauthorized a
                                                                                        immigration enforcement system). Traffickers compel victims to engage
          law that included a provision to expand the special criminal jurisdiction
                                                                                        in commercial sex and to work in both legal and illicit industries and
          of tribal courts to cover non-Native perpetrators of violent crime,
                                                                                        sectors, including in hospitality, traveling sales crews, agriculture,
          including sex trafficking; other provisions of the law increase access
                                                                                        janitorial services, construction, landscaping, restaurants, factories
          to federal resources and data for Native communities and support the
                                                                                        and manufacturing, care for persons with disabilities, salon services,
          development of a pilot project to enhance access to safety for survivors
                                                                                        massage parlors, retail, fairs and carnivals, peddling and begging,
          in Alaska Native villages.
                                                                                        drug smuggling and distribution, religious institutions, child care, and
          Advocates expressed concern that the government did not adequately            domestic work. Traffickers continued to increasingly use social media
          address human trafficking within American Indian and Alaska Native            platforms to recruit and advertise victims. NGOs reported increasingly
          communities, noted existing programs were not designed to meet                seeing cases of human trafficking by a family member, guardian, or
          their needs, and highlighted the vulnerabilities created by systemic          intimate partner. Some U.S. citizens engage in extraterritorial child
          oppression, continued underfunding, and historical trauma that have           sexual exploitation and abuse in foreign countries.
          led to signiﬁcant rates of human trafficking among those communities.
          Advocates recommended increased investment in these communities,
          including trauma-informed cultural humility training for service
          providers, law enforcement, and court systems, and more culturally
          appropriate and community-speciﬁc support and services.
                                                                                         URUGUAY: TIER 2
                                                                                        The Government of Uruguay does not fully meet the minimum standards
          U.S. INSULAR AREAS
                                                                                        for the elimination of trafficking but is making signiﬁcant efforts to do
          Trafficking in persons occurs in the U.S. insular areas, including American
                                                                                        so. The government demonstrated overall increasing efforts compared
          Samoa, Guam, the Commonwealth of the Northern Mariana Islands
                                                                                        to the previous reporting period, considering the impact of the COVID-19
          (CNMI), Puerto Rico, and the U.S. Virgin Islands (USVI).
                                                                                        pandemic, if any, on its anti-trafficking capacity; therefore Uruguay
          In Guam and CNMI, DHS continued to engage with community                      remained on Tier 2. These efforts included adopting and beginning to
          partners to provide victim services, train law enforcement, and share         implement a new interinstitutional victim identiﬁcation and referral
          strategies for improving victim identiﬁcation. DOJ continued to               protocol, designating an agency responsible for coordinating care for
          advance an initiative that enhances coordination with stakeholders            male trafficking victims, and investigating more alleged traffickers.
          in the Paciﬁc Region on victim services, law enforcement responses,           However, the government did not meet the minimum standards in
          training, community outreach, and prevention programs. DOJ and DHS            several key areas. Officials did not identify any adult male trafficking
          continued to participate, along with local authorities in Puerto Rico, in     victims, the government did not provide adequate victim services or
          the crimes against children task force. In Puerto Rico, DHS engaged           consistent access to shelters, and law enforcement officials did not
          with federal, state, and local partners to combat sex trafficking and         proactively and systematically identify victims. The government devoted
          sexual exploitation of minors, as well as the prevalence of online child      inadequate resources to combating labor trafficking and protecting
          sexual abuse material.                                                        labor trafficking victims. The government’s national action plan (NAP)
          HHS provided comprehensive case management services to foreign                to combat trafficking expired without replacement.
          national victims of trafficking identiﬁed in American Samoa, Guam,
          CNMI, Puerto Rico, and USVI, and two DOJ grantees provided
          comprehensive and legal services to victims of all forms of trafficking
 582                                                                                                                                Haiti AR_001063
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 688 of 729




                                                                                                                                                              URUGUAY
                                                                               remained difficult to analyze trends and obtain comprehensive data,
        URUGUAY TIER RANKING BY YEAR                                           especially on trafficking investigations, prosecutions, and convictions
    1                                                                          outside the capital region.
    2                                                                          The Ministry of Interior’s organized crime division was the primary entity
  2WL                                                                          responsible for anti-trafficking law enforcement efforts. The Ministry of
                                                                               Labor (MTSS) directed most efforts related to labor trafficking; MTSS
    3
          2015      2016     2017      2018   2019   2020    2021    2022
                                                                               primarily punished labor traffickers through administrative processes,
                                                                               although the national prosecutor’s office could also criminally prosecute
                                                                               labor trafficking cases under the anti-trafficking law. The attorney
                                                                               general’s office in Montevideo had three gender-based violence units
PRIORITIZED RECOMMENDATIONS:                                                   that prioritized investigating and prosecuting crimes related to human
Provide adequate services and shelter for all victims, especially male         trafficking and the exploitation of children; there were no specialized
victims and those outside the capital. • Train law enforcement officials,      units outside of the capital.
labor inspectors, coast guard officers, prosecutors, judges, and social        The government offered limited anti-trafficking training to law
workers to understand human trafficking and utilize the interagency            enforcement officials responsible for victim identification and
mechanism for victim identiﬁcation and referral. • Operationalize a            investigation, but it collaborated with an international organization to
centralized database to systematically record official statistics on anti-     provide prosecutors a series of trainings on prosecuting human trafficking
trafficking law enforcement efforts and victim identiﬁcation, including        and other sexual crimes. The government included trafficking-speciﬁc
those outside the capital. • Refer labor trafficking victims to services       modules in standard gender-based violence training and offered an
upon identiﬁcation, hold labor traffickers criminally accountable, and         optional online anti-trafficking training for law enforcement. Observers
establish standard operating procedures for Ministry of Labor officials        indicated law enforcement officials’ use of systematic procedures to
to combat labor trafficking. • Adopt and fund a new NAP to combat              proactively identify victims varied throughout the country. Uruguayan
human trafficking. • Allocate a dedicated anti-trafficking budget and          officials coordinated with foreign counterparts on two anti-trafficking
expand funding for victim services, including daytime, long-term,              cases; in a joint operation with Spanish authorities, officials detained and
and reintegration services. • Proactively screen foreign workers for           prosecuted three alleged traffickers accused of recruiting Uruguayan
trafficking indicators, including through inspections aboard foreign-          women to travel to Spain with fraudulent job offers, where they exploited
ﬂagged vessels in Uruguayan waters and docked at port. • Vigorously            them in sex trafficking. The government reported the ongoing pandemic
investigate and prosecute all forms of human trafficking, including            had a limited impact on efforts to investigate, prosecute, and convict
forced labor and child sex trafficking. • Sentence convicted traffickers       traffickers; courts did not experience pandemic-related closures or
to adequate penalties, which should involve signiﬁcant prison terms. •         modify proceedings due to the pandemic.
Consistently inform victims of their rights under the law, including to
apply for permanent residence permits and compensation from their              PROTECTION
traffickers, and support those victims who wish to pursue these rights.        The government increased protection efforts. The government reported
• Revise the deﬁnition of trafficking under Uruguayan law to align with        identifying 357 trafficking victims (39 adult women and 318 children) in
the deﬁnition in the 2000 UN TIP Protocol.                                     2021, compared with identifying 37 adult female victims in 2020. The
                                                                               Ministry of Social Development (MIDES) and its agencies facilitated
PROSECUTION                                                                    the care and protection of trafficking victims. The National Institute
The government maintained law enforcement efforts. Article 78 of the           for Women (Inmujeres) served adult female trafficking victims, and
2008 immigration law criminalized sex trafficking and labor trafficking,       the National Institute for Children and Adolescents (INAU) served
prescribing penalties of four to 16 years’ imprisonment, which were            child trafficking victims. Both institutions primarily catered to sex
sufficiently stringent and, with respect to sex trafficking, commensurate      trafficking victims. In 2021, MIDES designated its sociocultural promotion
with penalties prescribed for other serious crimes, such as rape. The          office as the entity responsible for coordinating care for adult male
penalties were increased by one-third to one-half if the trafficking           trafficking victims, ﬁlling a gap in the government’s care framework.
offense involved a child victim. Inconsistent with the deﬁnition of            MIDES coordinated with MTSS when providing care to labor trafficking
trafficking under international law, the law established the use of force,     victims; MTSS could provide additional services, such as vocational
fraud, or coercion as an aggravating factor rather than as an essential        training, and ensure labor trafficking victims understood relevant
element of the crime.                                                          labor regulations. Inmujeres assisted 140 trafficking victims in 2021,
The government reported partial law enforcement statistics representing        compared with assisting 37 victims in 2020 and 83 victims in 2019; the
11 months of 2021. The government initiated 33 trafficking investigations      adult female victims Inmujeres assisted were mostly Uruguayan and
through November 2021, compared with 22 investigations in 2020 and             Dominican, but authorities also identiﬁed women victims from Bolivia,
23 in 2019. The government prosecuted nine alleged traffickers through         Cuba, Peru, and Venezuela. INAU assisted 318 child trafficking victims
November 2021, compared with 11 alleged traffickers in 2020 and four in        during the reporting period; INAU provided victims care (based on their
2019. The government did not report whether these alleged traffickers          needs) through its residential programs, mobile units, and daytime care
were accused of sex or labor trafficking or whether they were Uruguayan        centers. INAU did not collect trafficking-speciﬁc demographic statistics;
citizens or foreign nationals. Officials also prosecuted at least nine         it reported most of the child victims of sexual exploitation, including
individuals for soliciting child sex trafficking victims, compared with 39     trafficking, it identiﬁed in 2021 were teenage girls. The Human Rights
such prosecutions in 2020 and two in 2019. The government convicted            Division did not assist any adult male trafficking victims during the
four traffickers through November 2021, compared with four traffickers         reporting period. MTSS coordinated with a civil society organization to
convicted in 2020 and eight in 2019. The government did not report             provide additional support, including legal advice, for three potential
sentencing data for traffickers convicted in 2021; by comparison, judges       labor trafficking victims, all adult women. MIDES reported its agencies
sentenced traffickers convicted in 2020 to between 17 months and six           assisted six LGBTQI+ individuals, including a transgender girl, although it
years’ imprisonment. In the past ﬁve years, the government reported            did not specify whether the child was a victim of trafficking as opposed
prosecuting 51 alleged traffickers but convicted just 16 traffickers. The      to other forms of exploitation.
government reported convicting 13 individuals for soliciting a child sex       The government had a variety of victim protection protocols and written
trafficking victim in 2021, compared with one in 2020. The government          referral mechanisms on assisting victims, including an interagency
reported it prosecuted three law enforcement officials for alleged             response system. The government worked with an international
complicity in trafficking crimes. The national prosecutor’s office collected   organization to draft a new interinstitutional protocol outlining
data on active cases, including trafficking cases, via the Accusatory Penal    interagency procedures for identifying and referring trafficking victims
Process Information System (SIPPAU). However, the system did not               to services; the government approved the plan in 2021 and implemented
compile key metrics, such as convicted traffickers’ sentences or whether       it in 2022. MIDES was the principal provider of services for victims of
authorities charged alleged traffickers with sex or labor trafficking; it
                                                                                                                                 Haiti AR_001064              583
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 689 of 729
URUGUAY   all crimes, including trafficking. The government coordinated with civil       trafficking. However, the government’s 2018-2020 NAP expired without
          society to provide trafficking victims with similar services as those          replacement; the government did not establish a new NAP during
          available to victims of other crimes and vulnerable populations, such as       the reporting period. The national anti-trafficking council did not
          individuals experiencing homelessness, refugees, and citizens receiving        release a required public report on anti-trafficking efforts for the
          social support. These services included housing, vocational training,          second consecutive year. The government did not allocate funding to
          immediate response care, and counseling; however, specialized services         implement the trafficking law or the NAP, and the trafficking council
          for victims of trafficking were very limited in Uruguay and, in practice,      lacked an operational budget.
          most accessible to adult female sex trafficking victims. Civil society
                                                                                         The government conducted activities to promote awareness of
          reported government-funded services focused mostly on psycho-
                                                                                         human trafficking in 2021. It displayed information on trafficking risks
          social and legal assistance, while long-term services, such as housing,
                                                                                         prominently on its websites and conducted awareness-raising workshops
          vocational support, and job placement, were insufficient. Inmujeres
                                                                                         on trafficking risks for local officials. The government continued to
          continued to coordinate with civil society to provide services for female
                                                                                         distribute to the public informational and awareness-raising materials
          sex trafficking victims at its specialized centers in Montevideo and Cerro
                                                                                         developed in previous reporting periods. In 2021, it allocated 46,750
          Largo and established a new center in Paso de los Toros. INAU had a
                                                                                         pesos ($1,050) to producing and distributing awareness materials. The
          partial-service center for child sex trafficking victims in Paysandú and
                                                                                         government’s awareness-raising efforts primarily featured trafficking
          coordinated with civil society to operate a 14-member mobile team
                                                                                         as a sub-topic of wider programming on gender-based violence
          of psychologists, social workers, and lawyers that responded to cases
                                                                                         and other crimes; however, some efforts were trafficking-speciﬁc,
          involving child victims in the broader Montevideo region. Although the
                                                                                         including the guide the government developed and distributed to
          government had some facilities that could temporarily house victims,
                                                                                         journalists on accurately depicting trafficking situations in media. The
          it did not have dedicated shelters for trafficking victims. Government
                                                                                         government implemented a new annual anti-trafficking training course
          officials expressed concern that victims’ security would be at risk in a
                                                                                         for diplomats. The government operated telephone hotlines and a
          centrally located, trafficking-speciﬁc shelter, due to the country’s small
                                                                                         corresponding cellphone app where the public could report crimes; in
          size. The government instead preferred to lodge victims in hotels and
                                                                                         2021, it established a separate line for reports of sexual violence and
          occasionally referred them to shelters or group homes serving other
                                                                                         trafficking. The government did not report how many calls involved
          populations, such as victims of domestic violence. Civil society expressed
                                                                                         trafficking cases. The Ministry of Labor reported it trained its inspectors
          concerns about the suitability of these facilities, as they did not meet the
                                                                                         to identify labor trafficking indicators; these inspectors continued to
          needs of trafficking victims, and reported challenges ﬁnding shelter for
                                                                                         perform regular labor inspections during the pandemic, including in
          trafficking victims, particularly for those identiﬁed outside the capital.
                                                                                         establishments known to facilitate commercial sex. Labor inspectors
          Many shelters were overnight-only facilities; observers identiﬁed a
                                                                                         did not have agency-speciﬁc procedures to identify trafficking during
          need for daytime facilities and programming. The government did
                                                                                         inspections, although they had access to the new interinstitutional
          not have specialized services or shelters designed to accommodate
                                                                                         identiﬁcation and referral protocol. The government coordinated with
          male, LGBTQI+, or labor trafficking victims. When officials identiﬁed
                                                                                         an international organization to fund a program to reduce demand for
          such victims, the government could usually arrange ad hoc housing in
                                                                                         commercial sex acts involving children.
          hotels or non-specialized shelters designed to serve other vulnerable
          populations, such as individuals experiencing housing insecurity or
                                                                                         TRAFFICKING PROFILE
          recovering from addiction.
                                                                                         As reported over the past ﬁve years, human traffickers exploit domestic
          Inmujeres provided some services by phone or video call during the             and foreign victims in Uruguay, and traffickers exploit victims from
          reporting period to limit disruption under pandemic-related restrictions,      Uruguay abroad. Uruguayan women and girls—and, to a more limited
          although it could not administer all services virtually, and these services    extent, transgender adults and male adolescents—are exploited in
          were unavailable to victims for periods of time. The government adapted        sex trafficking within the country. Traffickers force Uruguayan women
          physical spaces to continue accommodating victims in person where              and LGBTQI+ individuals into commercial sex in Argentina, Brazil,
          possible, including by installing barriers and screening for symptoms.         Italy, and Spain. Traffickers exploit women from Cuba, the Dominican
          Inmujeres provided 14.32 million pesos ($322,160), compared with               Republic, Haiti, and to a lesser extent South American countries, in
          11.37 million pesos ($255,790) in 2020, to its NGO partners to fund            sex trafficking in Uruguay. Many victims are South American women
          provision of services. The government did not report allocating funding        of African descent. Foreign workers, mainly from Argentina, Bolivia,
          to cover short-term hotel stays for victims, compared with 304,500             Brazil, Cuba, the Dominican Republic, and Paraguay, are exploited in
          pesos ($6,850) in 2020. The government did not report other budget             forced labor in construction, domestic service, cleaning services, elder
          allocations or funding for victim assistance. The government had               care, wholesale stores, textile industries, agriculture, ﬁshing, and lumber
          a protocol to provide security and protection measures to victims.             processing. Cuban nationals working in Uruguay may be forced to work
          Uruguayan law required courts to order restitution upon a trafficker’s         by the Cuban government. Sex traffickers exploit migrants, particularly
          conviction; the government reported courts ordered restitution                 women, from Cuba in border cities; sex traffickers may move victims
          payments in four cases in 2021. Separately, victims could ﬁle civil suit       city-to-city to avoid detection and prolong exploitation. From 2018 to
          to seek compensation from their traffickers with support from public           2020, 17 crewmember deaths were associated with Taiwan-, People’s
          prosecutors, but the government did not report whether any victims             Republic of China (PRC)-, and other foreign-ﬂagged ﬁshing vessels
          did so in 2021. The law entitled foreign victims to work permits and           docked at the Montevideo port and in Uruguay’s waters; before 2018,
          permanent residency status, and they had 180 days to decide whether            observers reported an average of 11 crewmember deaths per year.
          to stay in the country, return to their country of origin, or resettle in a    Foreign workers aboard these vessels are subjected to abuses indicative
          third country. However, the government did not report issuing residence        of forced labor, including unpaid wages, conﬁscated identiﬁcation
          permits to any foreign victims, and there was no record it had done so         documents, and physical abuse, and there are anecdotal reports of
          since the 2018 legislation establishing this entitlement. The government       murder at sea. Citizens of other countries, including the PRC and the
          offered limited training opportunities related to victim identiﬁcation,        Dominican Republic, may transit Uruguay en route to other destinations,
          referral, and care throughout the year, often virtually and with the           particularly Argentina, where some are exploited in trafficking. There
          support of international organizations.                                        is heightened vulnerability to trafficking in the interior of the country,
                                                                                         where the government’s monitoring and anti-trafficking efforts have
          PREVENTION                                                                     limited reach; in particular, domestic workers employed in the interior
          The government maintained prevention efforts. The national anti-               of the country are at greater risk of trafficking.
          trafficking council, composed of high-level government agencies
          and civil society participants and led by MIDES, met twice during the
          reporting period. The council was responsible for the implementation
          of recommendations from international organizations and institutional
          oversight on the implementation of Law 19.643 and the NAP to combat

 584                                                                                                                                  Haiti AR_001065
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 690 of 729




                                                                                                                                                                UZBEKISTAN
                                                                                procedures. • Establish a victim-witness program to ensure a victim-
 UZBEKISTAN: TIER 2                                                             centered approach to any participation in criminal justice proceedings
                                                                                and increase training for prosecutors and judges to proactively seek
The Government of Uzbekistan does not fully meet the minimum                    victim restitution in criminal cases. • Improve anti-trafficking coordination
standards for the elimination of trafficking but is making signiﬁcant           and communication between government agencies, NGOs, and the
efforts to do so. The government demonstrated overall increasing                international donor community by establishing a secretariat within
efforts compared to the previous reporting period, considering the              the national trafficking in persons commission and allocate adequate
impact of the COVID-19 pandemic, if any, on its anti-trafficking capacity;      funding. • Amend legislation to ensure victims are not penalized for
therefore Uzbekistan remained on Tier 2. These efforts included                 any unlawful acts traffickers compel them to commit, particularly for
prosecuting, convicting, and sentencing more traffickers; prosecuting           illegal border crossings or loss of personal identiﬁcation documents. •
officials allegedly complicit in forced labor in the cotton harvest; and        Monitor private employment agencies for recruitment fees and ensure
identifying more victims. Authorities also increased funding for victim         they are paid by employers rather than prospective job applicants.
shelters, continued to dedicate funding to the Community Works Fund,
and continued to signiﬁcantly reduce the incidence of forced labor in           PROSECUTION
the annual cotton harvest. However, the government did not meet the             The government continued to increase law enforcement efforts. Article
minimum standards in several key areas. Local officials in some districts       135 of the criminal code criminalized sex trafficking and labor trafficking
continued to impose cotton production quotas in contravention of the            and prescribed penalties of three to ﬁve years’ imprisonment for offenses
national ban on the practice, perpetuating incentives for the mobilization      involving an adult victim and eight to 12 years’ imprisonment for those
of civil servants into cotton harvest forced labor in some areas of the         involving a child victim, which were sufficiently stringent. However,
country. Existing laws establishing forced labor as an administrative           with respect to sex trafficking, by allowing for house arrest in lieu of
violation at ﬁrst offense continued to constrain effective enforcement.         imprisonment, these penalties were not commensurate with those
The absence of victim-witness protection policies hindered some                 prescribed for other serious crimes, such as rape. Inconsistent with the
investigations and prosecutions; additionally, some law enforcement             deﬁnition of trafficking under international law, Article 135 established
officials lacked a victim-centered approach when working with victims,          the use of force, fraud, or coercion as aggravating factors rather than
potentially discouraging them from cooperating in investigations and            essential elements of the crime. Article 148 (2) of the criminal code
prosecutions.                                                                   addressed “administrative forced labor.” Such offenses involving adult
                                                                                victims were only considered administrative violations for ﬁrst time
                                                                                offenses; repeated offenses were penalized with a ﬁne or imprisonment
         UZBEKISTAN TIER RANKING BY YEAR
                                                                                of up to two years. Article 148 (2) criminalized all “administrative forced
     1
                                                                                labor” offenses involving children with a ﬁne or up to three years’
    2                                                                           imprisonment. Civil society and government contacts alike have noted
  2WL                                                                           these provisions, coupled with limited capacity to identify the crime
                                                                                among judicial officials and frontline officers, signiﬁcantly constrained
     3
           2015      2016      2017        2018   2019   2020   2021   2022     Uzbekistan’s ability to prosecute and convict labor traffickers.
                                                                                The government reported conducting 162 investigations, including 96
                                                                                for sex trafficking, 11 for labor trafficking, and 55 involving unspeciﬁed
                                                                                exploitation of children, compared with 566 investigations in 2020.
PRIORITIZED RECOMMENDATIONS:                                                    The government reported prosecuting 107 cases, including 46 cases
Vigorously strengthen enforcement of the national ban on cotton                 for sex trafficking, eight for forced labor, and 53 involving unspeciﬁed
production quotas at local levels and continue substantive action to end        exploitation of children, involving 155 suspects, compared with 93
all government-compelled forced labor. • Strengthen continued efforts           prosecutions involving 129 defendants in 2020. Because of a tendency to
to ensure all citizens are aware of their “right to refuse” participation in    conﬂate cases involving “sexual intercourse with a person under the age
the cotton harvest or other work outside their professional duties and          of 16” with sex trafficking and illegal adoption with child exploitation, it
of the requirement to pay for replacement workers, without suffering            is possible some of the 162 reported investigations contained elements
consequences. • Amend the provision, under Article 148 (2) of the               inconsistent with international law. The government reported convicting
Criminal Code, to remove the option for administrative violations for           154 defendants for crimes involving trafficking in 2021, compared
ﬁrst time offenders of adult forced labor. • Respecting due process,            with 100 in 2020. Of the 154 convicted traffickers, courts sentenced
increase investigations, prosecutions, and convictions of trafficking           94 to imprisonment, 43 to house arrest, two to correctional labor,
crimes and adequately sentence convicted traffickers, including officials       and 15 to probation, compared with sentencing 33 to imprisonment,
involved in mobilizing forced labor. • Establish and implement a legal          35 to house arrest, one to correctional labor, and 20 to probation in
framework to regulate labor brokers involved in the recruitment of              2020. Law enforcement efforts were, at times, constrained by gaps
seasonal agricultural workers. • Continue to grant and expand the               in technical capacity, lack of familiarity with existing laws, insufficient
access of independent observers to monitor cotton cultivation and fully         evidence gathering procedures, and poor coordination between the
cease the harassment, detention, and abuse of activists and journalists         labor inspectorate and judicial officials. Some law enforcement officers
for documenting labor conditions. • Amend Article 135 of the Criminal           were hesitant to investigate trafficking crimes due to a perception that
Code to prevent allowing house arrest in lieu of imprisonment for               cases would be too difficult to prosecute. The Prosecutor General’s
sex trafficking crimes and ensure penalties are commensurate with               Office worked closely with counterparts in Kazakhstan to extradite two
those prescribed for other serious crimes, such as rape. • Train all ﬁrst       Uzbekistani individuals involved in trafficking crimes back to Uzbekistan
responders to officially identify potential trafficking victims and refer       during the reporting period; the case remained pending at the end of
them to care, including among vulnerable populations such as returned           the reporting period. The government signed MOUs with South Korea,
migrants, foreign nationals, and Uzbekistani families repatriated from          the Kingdom of Saudi Arabia, Belarus, and Turkey to enhance law
armed conﬂict zones. • Ensure an equitable and transparent process in           enforcement collaboration on transnational crimes, including trafficking.
the allocation of land for cotton clusters, including by increasing oversight   Observers reported there may have been some delays in trafficking cases
of worker contracts, and ensure workers have bargaining power and               due to the impact of the pandemic. In previous years, victims reached
the choice of cluster-affiliation. • Expand space for civil society and         ﬁnancial settlements outside of the justice system, in some cases with
freedom of association for labor activists, including by ensuring local         the facilitation of low-level officials. The government’s requirement for
governments do not interfere with the formation of labor unions and             law enforcement to obtain hard evidence in order to open a trafficking
by removing obstacles to streamline and increase registration of anti-          case, noting victim testimony alone was not sufficient, inhibited law
trafficking NGOs. • Continue training law enforcement officials and labor       enforcement’s ability to fully investigate all trafficking crimes.
inspectors on proper identiﬁcation and handling of trafficking cases,
                                                                                The Ministry of Interior (MOI) maintained an investigatory unit dedicated
with an emphasis on anti-trafficking legislation and evidence gathering
                                                                                to trafficking crimes. In November 2021, the government established
                                                                                                                                  Haiti AR_001066               585
                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 691 of 729
UZBEKISTAN   procedures for entering trafficking data into the government’s Uniﬁed        officials regularly referred victims who did not wish to pursue a criminal
             Information Database on Crimes, which includes information on traffickers    case to NGO offices for assistance. During the previous reporting period,
             and trafficking crimes; the database was not yet operational by the          the government adopted Resolution No.60 “On the Referral System
             end of the reporting period. The government continued to provide             for Victims of Trafficking in Persons or Presumed Victims of Trafficking
             trafficking-speciﬁc training, seminars, and conferences to police, judges,   in Persons,” which speciﬁes measures for victim identiﬁcation and
             and other government officials, including the labor inspectorate, and        designations of government agencies, as well as offices responsible,
             conducted some activities in partnership with international organizations    and it includes the implementation of measures to prevent risk of re-
             and civil society.                                                           traumatization. Under the new resolution, 153 victims of trafficking were
                                                                                          referred to protection services.
             The labor inspectorate continued to gather evidence against
             local hokims and other officials for their alleged involvement in            The government reported it referred all 175 identiﬁed victims of trafficking
             cotton harvest-related crimes, including trafficking. The government         to care, compared with no victims referred in 2020 and 171 in 2019;
             administratively penalized 65 officials for violating labor laws during      all victims received services at the Republican Rehabilitation Center,
             the reporting period, compared with 170 in 2020; ﬁnes totaled 198.4          which provided shelter, medical, psychological care, and legal services.
             million soum ($18,360), compared with 653.2 soum ($62,450) in 2020.          An NGO supported the repatriation of 295 victims and provided legal
             The government reported ﬁve officials were prosecuted under Article          consultations to 241 victims and 178 vulnerable migrants, including 134
             51 of the Code of Administrative Liability for allowing forced labor in      legal consultations on recovery of wages. A local NGO provided legal
             the cotton harvest; the ﬁve officials were removed from their jobs, but      and psycho-social services and return and reintegration support to 250
             the cases remained pending at the end of the reporting period. The           individuals, including trafficking victims, returned migrants, and at-risk
             government did not report criminally prosecuting any officials for their     groups. In 2021, the government allocated 1.03 billion soum ($95,320)
             alleged complicity in forced labor crimes. Observers reported individuals    for the Republican Rehabilitation Center and an additional 5.5 billion
             with political connections are more likely to go unpunished for crimes       soum ($508,990) to support the activities of other shelters for trafficking
             they commit, including human trafficking. Police continued to arbitrarily    victims (compared with 1.2 billion soum ($111,050) and 962 million
             detain and threaten LGBTQI+ persons under legislation criminalizing          soum ($89,030) in the previous reporting period). The government
             homosexuality, at times resorting to threats and physical abuse to           continued to provide in-kind support to local NGOs for the provision
             extort bribes or coerce them into informant roles or pornography;            of victim assistance, such as food and clothing, and for the second
             authorities spuriously charged some LGBTQI+ persons under anti-              consecutive year, it reported provision of direct funding assistance to
             prostitution provisions. The government reported coordinating with           some anti-trafficking NGOs—345 million soum ($31,930) (compared
             international law enforcement agencies and counterparts from other           with 451 million soum ($41,740) in the previous reporting period). The
             countries through diplomatic missions abroad to coordinate the return        government did not report accommodating foreign victims in the center
             of an Uzbekistani victims.                                                   since 2009. The government also operated 197 centers to assist victims
                                                                                          of violence, including trafficking victims; these centers were managed
             PROTECTION                                                                   and funded by regional governments, some of which coordinated with
             The government increased protection efforts. Authorities identiﬁed 175       local anti-trafficking organizations. However, observers reported concerns
             victims of trafficking in 2021, compared with 150 in 2020. Of the 175        that some centers did not provide adequate protection. In addition, the
             victims, 120 were victims of sex trafficking, 33 were victims of forced      government established 29 centers throughout the country for female
             labor, and 22 were victims of unspeciﬁed exploitation, compared              victims of violence. Civil society observers noted ongoing delays in NGO
             with 89, 12, and 49, respectively, in 2020; all victims were Uzbekistani     registration constrained some civil society efforts to monitor and assist
             citizens exploited within Uzbekistan—there were 124 women and 38             victims, including in the cotton harvest.
             men (compared with 138 and 12, respectively, in 2020), 12 girls, and
                                                                                          Per Article 27 of the law, victims of human trafficking were exempted
             one boy. Of the cases categorized as unspeciﬁed exploitation, the
                                                                                          from civil, administrative, and criminal liability for acts committed under
             government did not report if these included sex trafficking or forced
                                                                                          coercion. Current law did not explicitly exempt transnational sex and
             labor indicators. The government did not identify any foreign national
                                                                                          labor trafficking victims from facing a criminal penalty for illegally
             victims, but reported foreign victims are entitled to the same beneﬁts
                                                                                          crossing international borders, which may have deterred some victims
             as citizens of Uzbekistan. An NGO identiﬁed and assisted 327 victims.
                                                                                          from reporting their traffickers. As part of its “Mehr” or “Compassion”
             The government had standard operating procedures (SOPs) for victim           campaign, the government also located and repatriated Uzbekistani
             identiﬁcation and referral, which outlined ministries authorized to make     women and children (more than 120 women and 380 children) who
             initial victim identiﬁcation and approve victims for receipt of government   had traveled with their male relatives to Syria, Iraq, and Afghanistan
             assistance, after which cases would be referred to local trafficking in      and had subsequently been conﬁned to camps, often in exploitative
             persons commissions for ﬁnal veriﬁcation. Officials authorized to identify   conditions. Although the government did not identify any of these
             trafficking victims could refer victims to either a state-run shelter or     women or children as victims of trafficking, it funded and provided
             NGOs for services. Civil society observers previously expressed concern      them with shelter, education, legal, limited psychosocial care, and
             that the two-step veriﬁcation process in the SOPs was not sufficiently       other medical services for ﬁve-week cycles throughout the reporting
             detailed or inclusive of NGO roles, lacked victim-centered approaches        period—some NGO observers have previously claimed capacity was
             outlined in relevant legislation, was overly bureaucratic in nature, and     low among psycho-social care providers in these facilities.
             might therefore incentivize territorial commissions to refer victims to
                                                                                          Although victims could bring civil suits against traffickers, such instances
             NGO services directly, rather than ﬁrst conﬁrming victim designation
                                                                                          were rare due to the high cost of legal representation, which was
             with officials. In October 2021, the government released guidance to
                                                                                          neither provided by the government nor affordable to most victims.
             enhance the use of its SOPs on the identiﬁcation and protection of
                                                                                          Authorities reported legal services were offered by the government but
             victims, with support from an international organization. Experts have
                                                                                          did not report if these services were provided to any victims during the
             noted that the implementation of the SOPs is limited—regional branches
                                                                                          reporting period. NGOs ﬁled 11 applications to initiate criminal cases
             of the Subcommittee on Combating Trafficking in Persons have minimal
                                                                                          on behalf of victims; authorities reported three criminal cases were
             knowledge on the legislation and the crime, in some cases do not want to
                                                                                          initiated as a result (compared with none in the previous reporting
             take responsibility for victim identiﬁcation, and have an unclear division
                                                                                          period). Authorities did not report support for victims’ participation in
             of labor. Regional governors who chair TIP commissions and make the
                                                                                          investigations or prosecutions of alleged traffickers. Experts reported
             ﬁnal decision on granting victim status do not have dedicated funds to
                                                                                          the government does not adequately ensure victim’s protection in
             assist victims and therefore are not incentivized to grant such status.
                                                                                          court trials, as reporting victims were verbally attacked and threatened;
             Due to insufficient use of formal identiﬁcation procedures, authorities
                                                                                          authorities also allowed perpetrators and victims to enter the courtrooms
             may have detained some unidentiﬁed trafficking victims, including
                                                                                          at the same time. Observers reported some victims felt pressured and
             individuals in commercial sex and migrant workers. Some victims were
                                                                                          ashamed as court trials are open to the public and held in victims’
             reluctant to contact or cooperate with law enforcement due to distrust
                                                                                          communities; due to the lack of safety, victims sometimes refuse to
             in the authorities and fear for their personal and familial safety. Local
                                                                                          testify against traffickers. In 2021, courts ordered 52 trafficking victims
  586                                                                                                                                  Haiti AR_001067
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 692 of 729




                                                                                                                                                               UZBEKISTAN
to receive $55,853 in restitution—no information was provided whether          avenues for private businesses to subject harvest workers to contract
the victims collected any funds.                                               violations, loss of bargaining power or choice of cluster-affiliation,
                                                                               coerced cultivation of cotton under threat of land loss, wage irregularities,
PREVENTION                                                                     and forced overtime. Some authorities reportedly expropriated land
The government maintained prevention efforts. The government’s                 formerly leased or owned by individual farmers for the creation of
National Commission on Trafficking in Persons and Forced Labor (the            new cluster sites without adequately compensating them, increasing
Commission) coordinated anti-trafficking efforts with the Chair of the         their vulnerability to forced labor at those cluster sites. NGO observers
Senate serving as the National Rapporteur. The Commission convened             noted the absence of a legal framework to ensure oversight of worker
four meetings in 2021, which included participation from government            contracts and regulate and ensure proper licensing of labor recruitment
agencies, regional government representatives, and civil society. The          intermediaries left seasonal agricultural workers vulnerable to forced
Commission directed the activities of regional commissions in 12 regions,      labor in some cluster sites. The government continued its commitment
one autonomous republic, and one independent city (Tashkent).                  to prohibit child labor in the cotton harvest; while there were isolated
Some international observers described insufficient coordination and           reports of children working in the ﬁelds—these appeared to have
communication between the Commission and civil society partners                involved children trying to earn extra money for their families—there
in the absence of a secretariat structure. The government did not              continued to be no reports of systemic mobilization. The government,
centrally allocate funding for the Commission, which instead required          in coordination with the ILO, continued to conduct awareness-raising
funding contributions from individual member ministries’ budgets; this         campaigns to ensure citizens were aware of their labor rights. Hokims
arrangement reportedly led to overreliance on NGO and international            were instructed by the Deputy Prime Minister not to use forced labor
assistance. The government reportedly updated its national action              to pick cotton.
plan to reﬂect input from international stakeholders in 2021 but did
                                                                               For the seventh consecutive year, the government allowed the ILO to
not provide information on these updates.
                                                                               monitor the cotton harvest for child and forced labor, and ILO monitors
A combination of ongoing robust mechanization efforts, continued               had unimpeded access to the cotton ﬁelds for observations and to
awareness-raising activities, continued consolidation of the cotton            interview laborers. The government continued to issue official monitoring
sector into a privatized “cluster”-based system, increased wages               access permits to civil society groups. The ILO assessed that government
for cotton pickers, some improved recruitment practices, and the               entities compelled 1 percent of the estimated two million pickers who
government-facilitated voluntary participation of unemployed individuals       participated in the 2021 harvest—or approximately 20,000 individuals.
continued to signiﬁcantly reduce the incidence of forced labor in the          This ﬁgure compares with 80,000 in 2020, 102,000 in 2019, 170,000
2021 harvest. According to the ILO, reports of forced labor in cotton          in 2018, and 336,000 in 2017. The government maintained the size of
picking decreased by 75 percent in 2021 (compared with 33 percent              the labor inspectorate, keeping the total number of labor investigators
in 2020). Monitors noted signs of coercion in only 1 percent of cotton         assigned to look into these complaints across the country to 600. The
pickers interviewed (compared with 4 percent in 2020 and 6 percent             labor inspectorate investigated 128 allegations of forced labor violations
in 2019). Representatives from the ILO and civil society reported only         during the 2021 cotton harvest and conducted monitoring of more than
a small number of scattered instances of forced labor persisted in the         13,419 farms and privatized cotton clusters. User assessments of the
annual cotton harvest. The government continued to implement ILO               Cotton Harvest Feedback Mechanism in 2021 were not yet available by
recommendations, further reduced land allocated for cotton cultivation,        the end of the reporting period; observers reported concerns about the
and purchased more machinery to work toward the mechanization of the           effectiveness of the mechanism, the credibility and efficacy of ensuing
harvest. In 2021, the government reported increasing the total number          investigations, and fear of retaliation for its use. For the fourth year, the
of private textile-cotton clusters to 124—28 more than the previous            government included independent human rights activists in harvest
year—accounting for nearly 100 percent of arable production land (an           monitoring, ﬁeld interviews, awareness raising activities, and the review
increase from 90 percent in 2020). The clusters processed cotton from          of cases gathered through the mechanism. Observers previously reported
cultivation to ﬁnished textile products and paid higher wages to workers.      isolated incidents in which local government officials harassed and
                                                                               temporarily detained independent civil society activists who attempted
While most observers assessed the government had made signiﬁcant
                                                                               to monitor the cotton harvest. Media, including state media outlets,
strides in combating forced labor in the cotton sector, including by
                                                                               continued to report on forced labor practices and violations, generally
abolishing the national cotton quota in 2020, experts noted the
                                                                               without penalization or censorship; however, at least one high-proﬁle
incentive structures that supported government-led coercion in the past
                                                                               blogger was subjected to politically motivated arrest and sentenced to
remained, functioning much like the former quota system as mahallas
                                                                               six-and-a-half years in prison after reporting on issues such as corruption
(neighborhood-level governments) still recruited cotton pickers, whose
                                                                               and farmers’ rights. In 2021, local authorities reportedly harassed and
beneﬁts they control, to meet the local government targets in direct
                                                                               threatened several activists in response to their efforts to establish
violation of the decree. Mahallas sometimes resorted to coercive practices
                                                                               Uzbekistan’s ﬁrst independent labor union. Some civil society experts
to recruit pickers due to shortages in some regions or at some stages of
                                                                               noted a lack of freedom of association for independent monitoring and
the harvest. International experts reported the limited cases of forced
                                                                               reporting of labor rights violations.
labor involved perceived threats rather than explicit coercion; there is
an expectation and belief that refusal results in negative consequences,       The government encouraged Ministers to use a special fund under the
such as losing a job or beneﬁts, particularly among health care workers,       Ministry of Employment and Labor Relations to recruit unemployed
teachers, employees of state-owned enterprises, and local government           individuals for public works, instead of subjecting civil servants and
staff, as well as individuals who receive public beneﬁts. Employees of         students to forced labor therein. Over the past ﬁve years, 1.4 million
public institution have reportedly been forced to pay for replacement          people have beneﬁtted from 1.3 trillion soum ($120.3 million) from
pickers if they refused to participate in the harvest in the past. NGOs        the Community Works Fund, serving to curtail economic drivers of
have reported in the past that many of the voluntary pickers preferred         potential exploitation; 243.3 billion soum ($22.52 million) was allocated
to be hired as replacement pickers by those seeking to avoid the cotton        in 2021, compared with 479.6 billion soum ($44.38 million) in 2020. An
ﬁelds, as this enabled them to earn income beyond the standard picking         NGO previously reported the central government continued to set silk
wages. Civil society experts noted continuous involvement of government        cocoon production quotas. NGO accounts of forced labor in the silk
officials in the organization of the harvest can lead to the use of coercion   cocoon harvest alleged direct local government involvement and that
due to the disparate power balance from a reliance on mahalla to recruit       some silk cocoon clusters forced farmers to sign compulsory contracts,
pickers and a lack of independent recruitment systems. Civil society           requiring them to provide a speciﬁc amount of silk cocoons for every
experts have reported clusters do not typically face any penalties from        hectare of land—farmers who failed to produce the required quota risked
local officials when they violate contract obligations with farmers—such       the expropriation of their land by the local government. In 2021, the
as delay of payments for cotton delivered. Hokims have reportedly forced       government, in cooperation with an international organization, carried
farmers to sign contracts with the clusters in their districts. Media and      out a survey of the silk cocoon industry and reported no systemic forced
civil society reports indicated ongoing development of the privatized          labor and no children in the production of silkworms.
cluster system inadvertently generated other vulnerabilities, including
                                                                                                                                 Haiti AR_001068               587
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 693 of 729
VANUATU   The government continued to provide support to labor migrants                   also creating a lucrative means of extortion for corrupt managers and
          abroad, including victims of forced labor, and allocated a budget of            officials. Private companies in some regions mobilize employees for the
          15.5 billion soum ($1.43 million), an increase from 9.1 billion soum            harvest. Farmers forced to vacate and remit their land to private cotton
          ($842,150) in 2020. Uzbekistan’s Agency for External Labor Migration            operators are at high risk of forced labor, including in the cluster sites
          provided legal, ﬁnancial, and social assistance to 323,620 labor migrants       established on their former land, due to disruption of livelihoods and
          overseas; the agency also provided entrepreneurship and/or vocational           ensuing economic hardships.
          training to 23,878 returned labor migrants. The agency conducted
                                                                                          Local government officials subject adults to forced labor in other
          pre-departure consultations with migrant workers, through which
                                                                                          sectors as well. Some local officials reportedly provide silkworms to
          it provided information on primary destination countries’ labor and
                                                                                          farmers and force them to sign contracts stating they will agree to
          immigration laws—especially Russia and Kazakhstan; issued some
                                                                                          cultivate silk cocoons in furtherance of national production quotas.
          prospective migrant workers health insurance; and provided micro-
                                                                                          Despite a 2018 government prohibition on the practice, some local
          loans to cover basic expenses such as transportation and insurance. The
                                                                                          officials continue to force teachers, students (including children),
          government operated a hotline to identify human trafficking victims
                                                                                          private businesses employees, and others to work in construction and
          and refer them to services—the hotline received 840 calls in 2021, and
                                                                                          other forms of non-cotton agriculture and to clean parks, streets, and
          195 led to criminal investigations; the government did not provide
                                                                                          buildings. Officials occasionally cast these compulsory tasks as part
          information about the number of victims who received assistance as a
                                                                                          of Uzbekistan’s traditional Hashar system, under which community
          result of hotline calls. The Commission also maintained a website where
                                                                                          members are expected to perform voluntary work for communal beneﬁt.
          victims could request assistance. The government operated a 24-hour
                                                                                          Criminalization of same-sex relationships between men makes some
          hotline in Russia that provided Uzbekistani labor migrants with legal
                                                                                          members of Uzbekistan’s LGBTQI+ communities vulnerable to police
          advice, advised them of their rights, and directed them to the nearest
                                                                                          abuse, extortion, and coercion into pornography and informant roles;
          consulate for assistance. An NGO operated a widely publicized 24/7
                                                                                          widespread social stigma and discrimination against LGBTQI+ individuals
          hotline, which received 12,082 calls on trafficking in 2021—the NGO
                                                                                          also compound their vulnerability to family-brokered forced marriages
          provided assistance to 2,652 individuals. Additionally, the government,
                                                                                          that may feature corollary sex trafficking or forced labor indicators.
          in cooperation with an NGO, provided information and support for
                                                                                          Children in institutions are vulnerable to sex trafficking. According to
          labor migrants on safe work abroad and their rights. The government
                                                                                          international organization experts, 24 percent of children in Uzbekistan
          maintained agreements to enhance coordination on labor migration
                                                                                          live in poverty and many end up working to help their families, facing high
          with eight countries, including the four with the highest populations of
                                                                                          risk for trafficking. Traffickers exploit Uzbekistani nationals domestically
          Uzbekistani labor migrants: Russia, Kazakhstan, Turkey, and South Korea.
                                                                                          in brothels, clubs, and private residences.
          Private companies, including foreign and local, had official permission
          from the government to recruit Uzbekistani citizens for jobs abroad and         Traffickers exploit Uzbekistani nationals in sex trafficking and forced
          within Uzbekistan. Although the companies were required to obtain               labor in the Middle East, including in Bahrain, Saudi Arabia, Iran, and
          recruitment licenses, the government did not report the number of               the United Arab Emirates; in Europe, including Estonia, Georgia,
          such licenses granted. Labor recruitment laws in Uzbekistan prohibit            Latvia, Moldova, Russia, and Turkey; and in Central, South, and East
          charging workers recruitment fees; however, it was unclear to what              Asia, including in Kazakhstan, Sri Lanka, and Thailand, respectively.
          extent authorities enforced this ban.                                           Uzbekistani nationals are subjected to forced labor in these regions
                                                                                          in the construction, transportation, oil and gas, agricultural, retail, and
          The government’s labor inspectorate reported conducting 27,471
                                                                                          food sectors. Hundreds of thousands of Uzbekistani migrant workers
          inspections in 2021 in all sectors of the economy, not counting those
                                                                                          are at elevated risk of trafficking within Russia, where employers and
          for farmers and clusters, (compared with 19,226 in 2020), and it collected
                                                                                          authorities charge high work permit fees that catalyze debt-based
          24 billion soum ($2.22 million) in ﬁnes (11.6 billion soum [$1.07 million] in
                                                                                          coercion, subject them to poor living and working conditions, and garnish
          2020) and contributed the amount to the Community Works Fund. As in
                                                                                          or withhold their wages; these vulnerabilities are often compounded
          previous years, the inspectorate did not report screening for trafficking
                                                                                          by Russian employers’ failure to register Uzbekistani migrant workers
          indicators. Labor inspectors were not empowered to bring criminal
                                                                                          with the relevant authorities. More than half of Uzbekistani migrant
          charges for ﬁrst time violations of the law against forced labor, and
                                                                                          workers reportedly forego the complex bureaucratic processes required
          international observers noted some inspectors also demonstrated limited
                                                                                          to obtain proper documentation, exacerbating their vulnerability within
          comfort with their administrative enforcement mandate. Authorities
                                                                                          the system. More than 70 percent of Uzbekistani migrants abroad reside
          continued to conduct public awareness efforts on transnational sex
                                                                                          in Russia, many Uzbekistani migrants face unemployment amidst the
          and labor trafficking, including through events, print media, television,
                                                                                          current Russian invasion of Ukraine, and thousands have returned
          and radio, often in partnership with and through in-kind support to
                                                                                          to Uzbekistan, making them vulnerable to exploitation. Due to the
          NGOs. The government supported public awareness activities on the
                                                                                          dependence on remittances, families of Uzbekistani migrants working
          trafficking risk in the hotel industry and trafficking awareness raising
                                                                                          in Russia may become vulnerable as the value of the ruble continues to
          campaigns for migrants departing airports. The government did not
                                                                                          decrease and as they face obstacles in transferring money from Russia.
          conduct efforts to reduce the demand for commercial sex acts. The
                                                                                          Some Uzbekistani men travel to Syria, Iraq, and Afghanistan to ﬁght
          government reported providing anti-trafficking training for its diplomatic
                                                                                          alongside or seek employment within armed groups and are subsequently
          personnel, as they are authorized to identify and refer trafficking victims
                                                                                          subjected to forced labor in cooking, cleaning, and portering. Uzbekistani
          in their host countries.
                                                                                          women and children traveling with these men are also vulnerable
                                                                                          to sex trafficking and forced labor on arrival; many are reportedly
          TRAFFICKING PROFILE                                                             placed alongside other Uzbekistani family members in makeshift
          As reported over the past ﬁve years, human traffickers exploit Uzbekistani
                                                                                          camp communities, where their travel and identity documentation is
          victims domestically and abroad, and some foreign nationals may be
                                                                                          conﬁscated and their freedom of movement is restricted. Many of these
          vulnerable to trafficking within Uzbekistan. Forced labor in the annual
                                                                                          women report having lost their husbands to armed conﬂict, after which
          cotton harvest continues to decrease as a function of ongoing national
                                                                                          their economic hardships and conﬁnement in the camps make them
          reforms within the sector; however, isolated instances of forced labor
                                                                                          vulnerable to coercive local marriages that may feature corollary sex
          from local officials persist in several areas of the country. The majority
                                                                                          trafficking or forced labor indicators.
          of pickers that participated in the most recent cotton harvest were
          women from rural areas. Some adults who refuse to pick cotton, are
          unable or unwilling to pay for a replacement worker, or do not fulﬁll
          their daily quota, at times feel threatened by the loss of social beneﬁts,
          termination of employment, or other forms of harassment. Some
                                                                                           VANUATU: TIER 2
          employees and market vendors choose to hire a replacement picker
          directly, pay a fee for the mobilizer to ﬁnd a replacement picker, or pay       The Government of Vanuatu does not fully meet the minimum standards
          a ﬁne, rather than pick cotton; this generates a coercive arrangement           for the elimination of trafficking but is making signiﬁcant efforts to do
          that penalizes those who choose not to participate in the harvest while         so. The government demonstrated overall increasing efforts compared
 588                                                                                                                                   Haiti AR_001069
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 694 of 729




                                                                                                                                                            VANUATU
with the previous reporting period, considering the impact of the              of slavery, human trafficking, money laundering, intentional assault,
COVID-19 pandemic, if any, on its anti-trafficking capacity; therefore         threats to kill, and employing non-citizens without a work permit and
Vanuatu remained on Tier 2. These efforts included convicting four             convicted another of trafficking, slavery, money laundering, employing
traffickers in the country’s ﬁrst trafficking case and establishing a          non-citizens without a work permit, and furnishing false information to
national interagency coordinating body to lead the government’s anti-          a labor officer; the remaining two were convicted of trafficking, slavery,
trafficking efforts. However, the government did not meet the minimum          and intentional assault. The government did not report sentencing
standards in several key areas. The government did not provide any             information for the four convicted traffickers. The government did not
protective services, and for the third consecutive year, authorities did       report any new trafficking investigations or prosecutions. The government
not identify any trafficking victims. For the second consecutive year,         did not report any investigations, prosecutions, or convictions of
the government did not initiate any new trafficking investigations, nor        government employees complicit in human trafficking crimes. The
did it conduct public awareness campaigns or administer systematic             National Intelligence Unit (NIU) within the Vanuatu Police Force was
anti-trafficking training for its law enforcement officials. Contrary to a     the lead agency for trafficking investigations; however, the lack of
victim-centered protection approach, the government did not provide            dedicated funding and training in the country’s anti-trafficking policy
effective legal alternatives to removal to countries in which the victims      infrastructure reportedly continued to constrain NIU officials’ ability
would face retribution or hardship, such as adequate documentation             to adequately investigate trafficking cases. The government did not
for victims to seek refuge in neighboring countries.                           report any anti-trafficking training activities for law enforcement or
                                                                               other government officials.

         VANUATU TIER RANKING BY YEAR
                                                                               PROTECTION
     1
                                                                               The government maintained inadequate efforts to protect victims.
     2                                                                         For the third consecutive year, the government did not identify any
  2WL                                                                          trafficking victims. The government continued to lack comprehensive,
                                                                               government-wide victim identiﬁcation and referral SOPs. The government
     3
           2015      2016      2017     2018   2019   2020   2021    2022      continued to implement border control screening procedures that
                                                                               reportedly contained gaps in passenger veriﬁcation in trafficking
                                                                               victim identiﬁcation measures. Officials expressed concern that the
                                                                               procedures may have adversely affected the government’s efforts to
PRIORITIZED RECOMMENDATIONS:                                                   identify trafficking cases; the government did not report updating the
Amend anti-trafficking legislation to remove sentencing provisions that        screening procedures to address these gaps. Observers noted that
allow ﬁnes in lieu of imprisonment for sex trafficking offenses. • Increase    police would tolerate violence and discrimination against LGBTQI+
efforts to investigate, prosecute, and convict traffickers under anti-         persons; therefore, criminal acts and trafficking indicators may have
trafficking laws and sentence convicted traffickers to adequate penalties,     gone unreported and resulted in unidentiﬁed trafficking victims. Due
which should involve signiﬁcant prison terms. • In coordination with civil     to a lack of formal identiﬁcation procedures, authorities likely punished
society, develop and implement comprehensive standard operating                or deported some unidentiﬁed trafficking victims.
procedures (SOPs) for victim identiﬁcation and referral, including by          For the second consecutive year, the government had only limited
screening for trafficking indicators among vulnerable populations, such        services available for victims and did not provide any victim protection
as individuals in commercial sex, LGBTQI+ persons, migrant workers,            services. In 2018, with assistance from an international organization,
and persons displaced by natural disasters. • Provide systematic training      the government identiﬁed 101 Bangladeshi adult male victims in forced
for all relevant officials on the trafficking law, victim identiﬁcation, and   labor in construction and domestic service. Upon discovery of that
referral mechanisms. • Allocate increased resources for and implement          case, the government, with support from partners, provided a broad
victim protection beneﬁts, including permission to work for foreign            range of services to the victims. Three Bangladeshi forced labor victims
victims who wish to participate in prosecutions against their alleged          identiﬁed in 2018 remained in country. These victims sought refuge from
traffickers, taking into consideration humanitarian and compassionate          neighboring countries, however, the countries were reportedly unable to
factors. • Ensure all identiﬁed victims are referred to services. • Cease      respond without formal documentation from the Vanuatu government
compelling foreign victims to remain in Vanuatu for the length of              stating the victims’ victimhood or refugee status. The government refused
prosecutions against their alleged traffickers. • Institute a campaign         to provide such documentation, citing that Vanuatu was not signatory
to raise public awareness of trafficking, including among remote and           to the UN TIP Protocol. In addition, these victims applied for asylum in
vulnerable communities. • Improve anti-trafficking coordination with           Vanuatu; the asylum claims were pending at the end of the reporting
international partners, including by increasing information sharing with       period. In the interim, authorities granted the victims temporary visas
sending countries and instituting standard repatriation procedures. •          to remain and work in Vanuatu.
Accede to the 2000 UN TIP Protocol.
                                                                               When available, protection services were time-limited, and authorities
                                                                               conditioned some services on victims’ participation in court proceedings
PROSECUTION
                                                                               against the alleged traffickers. As part of the 2018 Bangladeshi forced
The government slightly increased law enforcement efforts. Vanuatu
                                                                               labor case, the government required victims to remain in Vanuatu to
law criminalized sex trafficking and labor trafficking. Article 34 of the
                                                                               serve as witnesses in the prosecution and tied their repatriation to a
Counter Terrorism and Transnational Organized Crime (CTTOC) Act
                                                                               ﬁnal court ruling; an international organization reported this requirement
criminalized trafficking in persons offenses involving adult victims and
                                                                               may have re-traumatized several victims in prior reporting periods.
prescribed penalties of up to 10 years’ imprisonment, a ﬁne of up to 50
                                                                               The government did not share information or coordinate with the
million Vanuatu Vatu (VT) ($449,560), or both. Article 35 criminalized
                                                                               Government of Bangladesh on repatriation options for the remaining
trafficking in persons offenses involving child victims and prescribed
                                                                               victims; the government did not provide any funding or assistance to
penalties of up to 15 years’ imprisonment, a ﬁne of up to 75 million VT
                                                                               repatriation efforts. The government did not have a process in place
($674,340), or both. These penalties were sufficiently stringent; however,
                                                                               to change victims’ immigration status to grant them permission to
with respect to sex trafficking, by allowing ﬁnes in lieu of imprisonment,
                                                                               work until the court reached a verdict, which could compound some
these penalties were not commensurate with those prescribed for other
                                                                               victims’ indebtedness. In 2020, one of the Bangladeshi forced labor
serious crimes, such as rape.
                                                                               victims sought restitution, which remained pending with the court. The
In November 2021, courts convicted four Bangladeshi nationals on               government provided temporary visas to victims who participated in
trafficking and related charges under the CCTOC and other crimes under         court proceedings; however, the government did not provide victims
the Penal Code. The government ﬁrst arrested the defendants in March           who did not participate the option to obtain a visa.
2019 for allegedly exploiting 101 Bangladeshi victims in forced labor
and in November 2020 initiated their prosecution—the ﬁrst trafficking
prosecution in the country’s history. Courts convicted one trafficker
                                                                                                                               Haiti AR_001070              589
                Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 695 of 729
VENEZUELA                                                                                  occurred immediately after a cyclone in April 2020. Children are also
            PREVENTION
            The government increased efforts to prevent trafficking. The government,       subjected to trafficking through “child swapping”—brokered as an
            in partnership with an international organization, established the National    inter-familial cultural practice or as a method to pay off debts. Women
            Steering Committee on Migrant Protection (NSC) as the national                 in commercial sex face physical and sexual violence and are reportedly
            anti-trafficking coordinating body; the NSC held its ﬁrst meeting in           coerced into forced pregnancy and forced marriage; reports acknowledge
            November 2021. The NSC was an interagency committee composed of                a correlation between the lack of economic opportunities and an increase
            senior government officials from multiple agencies, including Vanuatu          in commercial sex. The limited ability for women and girls in commercial
            Immigration Services, Transnational Crime Unit, Department of Labor, and       sex to seek justice increases vulnerability to trafficking. Reports show
            National Security Council. The NSC, in partnership with an international       taxi drivers may facilitate the exploitation of children in commercial sex.
            organization, performed an assessment of existing anti-trafficking policies    Forced labor and child sex trafficking occur on ﬁshing vessels in Vanuatu.
            and legislation; the assessment was ongoing at the end of the reporting        Foreign tourists aboard boats reportedly approach remote ni-Vanuatu
            period. The Transnational Crime Unit had an action plan, which included        communities and offer money in exchange for marriage with underage
            anti-trafficking action items; however, it did not address all forms of        girls as a ploy for short-term sexual exploitation. Locals onshore, acting
            trafficking, and limited resources continued to hinder its implementation.     as recruiters, also reportedly take underage girls aboard vessels and
                                                                                           subject them to commercial sexual exploitation by foreign workers,
            For the third consecutive year, the government did not conduct systematic      often for weeks at a time. The local recruiters, and in some instances
            anti-trafficking awareness campaigns. The government did not have a            the families, receive payment for recruiting and transporting the girls
            trafficking hotline and lacked an adequate system to research and assess       to the boats. LGBTQI+ individuals are vulnerable to trafficking. Children
            the scope of its trafficking problem. The labor department licensed and        may also experience conditions indicative of forced labor in the illegal
            monitored agencies that could recruit workers from Vanuatu for overseas        logging industry and in newspaper sales.
            work. The government prohibited recruitment fees for seasonal work
            outside of Vanuatu and issued a notice of “non-compliance” to agents
            who charged migrant workers recruitment fees. During the previous
            reporting period, the government proposed policy and legislative action
            to abolish seasonal worker recruitment agents and create a centralized
                                                                                            VENEZUELA: TIER 3
            government-managed process to connect workers with employment;
            however, the government did not pass or implement the proposed actions         The Venezuela does not fully meet the minimum standards for the
            by the end of the reporting period. The government, in partnership with an     elimination of trafficking and is not making any efforts to do so, even
            international organization, continued to implement a program to digitize       considering the impact of the COVID-19 pandemic on its anti-trafficking
            and streamline citizen access to voter cards, citizenship documents,           capacity; therefore Venezuela remained on Tier 3. On January 10, 2019,
            and national identiﬁcation cards. The government did not provide anti-         the term of former president Nicolás Maduro ended. On January 23, 2019,
            trafficking training to its diplomatic personnel. The government did not       National Assembly president Juan Guaidó assumed the role of interim
            make efforts to reduce the demand for commercial sex acts. Vanuatu             president based on a presidential vacancy clause in the Venezuelan
            was not a party to the 2000 UN TIP Protocol.                                   Constitution. Maduro refused to cede control, preventing interim President
                                                                                           Guaidó from exercising authority within the country. The United States
            TRAFFICKING PROFILE                                                            continues to recognize the authority of the democratically elected
            Human traffickers exploit domestic and foreign victims in Vanuatu,             2015 National Assembly and Juan Guaidó as the interim president of
            and traffickers exploit victims from Vanuatu abroad. Labor traffickers         Venezuela. References herein reﬂect efforts made, or lack thereof, by
            exploit individuals from the People’s Republic of China (PRC), Thailand,       the Maduro regime representatives and not the democratically elected
            Bangladesh, and the Philippines in Vanuatu. Individuals from the PRC           administration that was unable to exercise its’ authority within the
            may have been forced to work in Vanuatu at projects run by PRC-based           country during the reporting period. Mentions of “representatives,”
            companies. Traffickers target migrant women in the hospitality and             “regime,” “regime representatives,” or “Maduro regime” below are not
            tourism sectors and low-skilled foreign workers in high-risk sectors, such     intended to indicate that the United States considers such entities to be
            as agriculture, mining, ﬁshing, logging, construction, and domestic service.   the recognized government of Venezuela. Despite the lack of signiﬁcant
            PRC national and South Asian migrant women are particularly at risk for        efforts, the regime representatives took some steps to address trafficking,
            labor trafficking in bars, beauty salons, and massage parlors. Bangladeshi     including arresting some complicit individuals and issuing a decree for
            criminal groups have reportedly lured Bangladeshi individuals with false       the development of the national action plan (NAP). However, regime
            promises of high-paying job opportunities in Australia, transported them       representatives did not report assisting any victims or prosecuting or
            through Fiji, India, and Singapore, and then subjected them to forced          convicting any traffickers. Regime restrictions on the press and pandemic-
            labor in the construction industry in Vanuatu. Some of the victims take        related measures limited reporting. Maduro and regime representatives
            out substantial loans to pay relevant travel expenses, which traffickers       continued to provide support and maintained a permissive environment to
            exploit through debt-based coercion. Foreign ﬁshermen working on               non-state armed groups that recruited and used child soldiers for armed
            Vanuatu-ﬂagged, Taiwan-owned vessels have experienced indicators               conﬂict and engaged in sex trafficking and forced labor while operating
            of forced labor, including deceptive recruitment practices, abuse of           with impunity. Despite such reports, representatives did not make sufficient
            vulnerability, excessive overtime, withholding of wages, physical and          efforts to curb forced recruitment of children by non-state armed groups.
            sexual violence, and abusive living and working conditions on board.
            Natural disasters and climate-induced displacement signiﬁcantly increases              VENEZUELA TIER RANKING BY YEAR
            ni-Vanuatu vulnerability to trafficking, particularly as a majority of the         1
            population relies on small-scale and subsistence agriculture. Thousands            2
            of ni-Vanuatu, who permanently or temporarily evacuated from the
                                                                                             2WL
            islands of Ambae and Ambrym due to volcanic activity, are at higher risk
            of trafficking due to the economic hardships ensuing from their ongoing            3
                                                                                                      2015     2016     2017        2018   2019   2020   2021   2022
            displacement. Women and girls may also be at risk of debt-based coercion
            in sex trafficking and domestic servitude via the customary practice of
            “bride-price payments,” where a man’s family gives a woman’s male
            relatives money or other valuables in order for the man and woman to
            become married. The man’s family may at times force the woman to               PRIORITIZED RECOMMENDATIONS:
            “pay back” the money through commercial sex acts or forced domestic            Vigorously investigate, prosecute, and convict traffickers, including
            service. The incidence of bride-price payments is linked to broader            complicit regime representatives and those involved in the forcible
            economic hardship and vulnerability, particularly in the context of the        recruitment of children into illegal armed groups. • Provide specialized
            country’s frequent natural disasters; increased reports of child marriage,     services for all trafficking victims, including repatriated victims, child
            where children may be exploited in domestic servitude or sex trafficking,      soldiers, men, boys, and LGBTQI+ individuals. • Proactively inform

 590                                                                                                                                         Haiti AR_001071
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 696 of 729




                                                                                                                                                               VENEZUELA
Venezuelans ﬂeeing the country on the risks of human trafficking,              Regime representatives did not report any prosecutions or convictions
as well as where and how to seek services. • Train all migration and           of public representatives complicit in trafficking crimes.
law enforcement personnel operating in border crossings to identify
                                                                               There were two special prosecutor’s offices responsible for investigating
and respond appropriately to trafficking indicators. • Draft and enact
                                                                               trafficking crimes against women, developing anti-trafficking policies, and
comprehensive anti-trafficking legislation criminalizing all forms of
                                                                               facilitating victims’ access to justice. The special prosecutor’s mandate
trafficking, including the criminalization of child sex trafficking without
                                                                               did not include trafficking crimes against transgender individuals,
elements of force, fraud, or coercion, and the trafficking of men and boys.
                                                                               children, or men, leading to impunity of traffickers and leaving victims
• Increase staffing and funding for the office of the special prosecutor
                                                                               unprotected and at risk of re-victimization. Media reporting indicated
to combat trafficking. • Given signiﬁcant concerns about forced labor
                                                                               the specialized prosecutor’s office was handling the investigation of a
indicators in Cuban international work programs, screen Cuban overseas
                                                                               child sex trafficking ring operating in Apure that led to numerous arrests
workers, including medical professionals, for trafficking indicators and
                                                                               including some complicit regime-affiliated individuals. Civil society
refer those identiﬁed to appropriate services. • Fund and collaborate
                                                                               organizations expressed some doubt whether the special prosecutor’s
with civil society organizations and other service providers to increase
                                                                               offices were active. Venezuelan prosecutors facilitated two workshops
protection and assistance for victims. • Implement formal procedures
                                                                               for civil servants on the criminalization of trafficking crimes.
and training for identifying victims among vulnerable populations,
such as individuals in commercial sex, and for referring victims for
                                                                               PROTECTION
care. • Finalize, fund, and implement a NAP to address trafficking and
                                                                               Regime representatives under Maduro maintained inadequate protection
present challenges, including mass migration and displacement, regime
                                                                               efforts. Regime representatives did not report identifying or referring
complicity, and forced recruitment of children for armed conﬂict. •
                                                                               victims to services during the reporting period. In a press statement, the
Enhance interagency cooperation by forming a permanent anti-trafficking
                                                                               attorney general noted that since 2017, the regime and its predecessor
working group. • Improve data collection of anti-trafficking efforts and
                                                                               had identiﬁed nearly 696 victims of human trafficking, of which 14 were
make this data publicly available.
                                                                               identiﬁed in 2021. Availability of victim services remained limited, and
                                                                               there were no specialized shelters for trafficking victims in the country.
PROSECUTION                                                                    While civil society and religious organizations provided some services
Regime representatives under Maduro maintained inadequate law
                                                                               to victims of trafficking, such assistance may have been temporarily
enforcement efforts. Venezuelan law did not criminalize all forms of
                                                                               suspended or limited as a result of the pandemic. In addition, regime
trafficking. The law criminalized labor trafficking and some forms of sex
                                                                               efforts to restrict foreign funding limited their ability to provide services
trafficking of women and girls through a 2007 law on women’s rights that
                                                                               to trafficking victims. The regime claimed to have a non-specialized
prescribed penalties of 15 to 20 years’ imprisonment. Inconsistent with
                                                                               victim care program under the public ministry. Regime representatives
international law, it required a demonstration of force, fraud, or coercion
                                                                               reportedly provided services based on a victim’s degree of vulnerability
to constitute child sex trafficking and therefore did not criminalize all
                                                                               and social risk, the type of crime involved, the victim’s relationship with
forms of trafficking. Venezuelan law failed to criminalize trafficking of
                                                                               the aggressor, and the victim’s individual psychological, social, and
men and boys when perpetrators were not part of an organized criminal
                                                                               economic proﬁle. NGOs remained skeptical of the regime’s reported
organization. The law addressing organized crime criminalized trafficking
                                                                               efforts. Historically, victims could reportedly access regime centers for
by organized criminal groups of three or more individuals, with penalties
                                                                               victims of domestic violence or at-risk youth, although services for male
of 20 to 30 years’ imprisonment. The penalties for trafficking crimes by
                                                                               victims were minimal. Venezuelan law and the regime representatives
organized criminal groups were sufficiently stringent and, with respect
                                                                               focused primarily on women and girls as potential victims of human
to sex trafficking, commensurate with penalties prescribed for other
                                                                               trafficking crimes to the exclusion of boys, men, and LGBTQI+ persons,
serious crimes, such as rape.
                                                                               leaving them vulnerable and unprotected. The regime reportedly
The organized crime office (ONCDOFT) focused on trafficking crimes             made psychological and medical examinations available to trafficking
and continued to be the lead entity for trafficking issues. Regime             victims, but additional victim services, such as follow-up medical aid,
representatives did not report investigating, prosecuting, or convicting       legal assistance with ﬁling a complaint, job training, and reintegration
any traffickers. A media outlet reported that the regime arrested between      assistance, were minimal. According to media sources, the ONCDOFT
26 and 30 alleged traffickers in 2021, compared with similar reports from      continued to operate a 24-hour hotline to receive general reports of
previous years noting the arrest or indictment of 63 individuals in 2020,      abuse against women, including trafficking allegations; however, in
17 in 2019, and 99 in 2018. In previous years, observers asserted some         previous years several of the numbers provided were often inactive.
of the arrests and investigations reported in the media were politically       Stakeholders reported unemployment, caused by pandemic quarantine
motivated persecutions by the Maduro regime of individuals helping             measures, increased the vulnerability of Venezuelans to sex trafficking
opposition supporters and others depart Venezuela. Years of corruption,        and forced labor, as many were unable to secure employment in the
incompetence, and abuse weakened the Maduro regime’s capacity to               formal or informal sector. Civil society organizations reported the regime
govern and hollowed out the country’s institutions, fostering a permissive     used resources that would otherwise have been dedicated to victim
environment for non-state armed groups to operate with impunity.               identiﬁcation and support to address the impact of the pandemic.
According to stakeholders, regime representatives at high levels linked        International media sources continued to report on the growing number
to Maduro were complicit in trafficking crimes perpetrated by non-state        of Venezuelan victims identiﬁed abroad; many repatriated or were
armed groups and provided support and a permissive environment.                deported back to Venezuela; the regime did not report what assistance,
NGOs indicated that regime representatives continued to overlook the           if any, they provided victims upon their return or if they coordinated
forced recruitment of children by illegal armed groups. Near border            with foreign governments to ensure the protection of those victims.
crossings, survivors reported national guard personnel facilitated, and
sometimes actively participated in, trafficking crimes. According to family    PREVENTION
members of those who disappeared at sea, regime representatives were           Regime representatives under Maduro maintained inadequate prevention
unwilling to investigate a trafficking network between Venezuela and           efforts. No permanent anti-trafficking interagency body existed. In 2021,
Caribbean countries because those same individuals were involved in            the regime approved a decree for the development of the 2021-2025 NAP;
the perpetration of trafficking crimes. Media sources reported some            however, regime representatives did not report efforts to implement or
regime representatives charged between $300 to $400 to allow the               fund the NAP. NGOs noted it was impossible to verify progress made due
departure of boats transporting trafficking victims to nearby Caribbean        to lack of transparency and coordination with external actors. In addition,
islands. The regime did not make notable efforts to investigate official       the regime did not report on the content of the plan, including whether
complicity, including in a case reported last year involving 13 alleged        it addressed present challenges, such as the increase in cases of forced
traffickers, including seven members of the national guard who may have        labor in domestic service, the forced recruitment of children into armed
facilitated the transport of victims to Trinidad and Tobago in a ship that     conﬂict, the increase in victim repatriations from other countries, and
capsized and killed 28 alleged victims of trafficking. In a press statement,   efforts necessary to mitigate the exploitation of those leaving the country
the regime reported arresting ﬁve civil servants for trafficking crimes.       as a result of the economic crisis. ONCDOFT conducted an awareness

                                                                                                                                 Haiti AR_001072               591
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 697 of 729
VIETNAM   campaign in the State of Portuguesa and separately participated in             Traffickers subject Venezuelan women and girls, including some lured
          the trafficking in persons breakout meeting at the South American              from poor interior regions to Caracas, Maracaibo, and Margarita Island,
          Conference on Migration. The regime did not provide anti-trafficking           to sex trafficking and child sex tourism within the country. Traffickers,
          training for their diplomatic personnel and did not report any speciﬁc         often relatives of the victims, exploit Venezuelan children in domestic
          activities to reduce the demand for commercial sex acts.                       servitude within the country. Regime representatives and international
                                                                                         organizations have reported identifying sex and labor trafficking victims
          TRAFFICKING PROFILE                                                            from South American, Caribbean, Asian, and African countries in
          As reported over the past ﬁve years, human traffickers exploit domestic        Venezuela. Foreign nationals living in Venezuela subject Ecuadorians,
          and foreign victims in Venezuela, and traffickers exploit Venezuelan           Filipinos, and other foreign nationals to domestic servitude. Illegal gold
          victims abroad. As the economic situation continues to spiral into critical    mining operations exist in some of the country’s most remote areas,
          deterioration, more than six million Venezuelans have ﬂed Venezuela            including the Orinoco Mining Arc in Bolivar state, where traffickers exploit
          to neighboring countries. Traffickers exploit Venezuelan nationals in          girls in sex trafficking, forcibly recruit youth to join armed criminal groups,
          Aruba, The Bahamas, Bolivia, Brazil, Chile, the People’s Republic of           and force children to work in the mines under dangerous conditions;
          China, Colombia, Costa Rica, Curaćao, Dominican Republic, Ecuador,             Approximately 45 percent of miners in Bolivar state were children and
          Egypt, Germany, Guyana, Haiti, Iceland, Macau, Mexico, Panama, Peru,           extremely vulnerable to trafficking. Armed groups exploit civilians
          Spain, Suriname, and Trinidad and Tobago. Venezuelan women and                 and kidnapping victims in sex trafficking and forced labor, including
          girls are particularly at risk of sex trafficking in Colombia, Ecuador,        farming, domestic service, and construction. Workers recruited from
          and Trinidad and Tobago. In 2021, traffickers lured women, including           other areas of the country were victims of forced labor and manipulated
          transgender women, to Spain and Germany with fraudulent employment             through debt, threats of violence, and even death. In 2021, an NGO
          opportunities and subjected them to forced surgical procedures before          reported non-state armed groups operating near Delta Amacuro in
          exploiting them in commercial sex. A civil society organization reported       Bolivar State led members of the Indigenous Warao community into
          517 victims were identiﬁed in 2020, of which 124 were children, 210 were       Guyana to work long shifts in illegal mines with no medical care and
          identiﬁed domestically, 60 in Colombia and Guyana, 52 in Trinidad and          under precarious conditions. Traffickers recruited Warao women to
          Tobago, 39 in Spain, 32 in the Dominican Republic, and 26 in Mexico.           work as cooks in the mines and later subjected them to sex trafficking
          Traffickers increasingly exploit Venezuelan men in forced labor in other       in Guyana. Some doctors participating in Cuba’s overseas medical
          countries, including Aruba and Curaćao.                                        program showed indicators of forced labor. In 2021, there were between
                                                                                         19,500 and 21,000 Cuban medical workers in the country. The Cuban
          Non-state armed groups, including Colombian illegal armed groups,
                                                                                         government may be exploiting Cuban overseas workers, participating
          especially near border regions, subject Venezuelans to forced criminality
                                                                                         in its government-sponsored medical missions in Venezuela, in forced
          and use child soldiers. In 2019, the UN, foreign governments, media
                                                                                         labor. Some Cuban medical professionals posted in Venezuela indicated
          outlets, and credible NGOs reported Maduro regime representatives,
                                                                                         Cuban minders withheld their documentation and coerced them to
          including members of security forces and local representatives, including
                                                                                         falsify medical records. An NGO reported failure to obtain adequate
          those near border regions, colluded with, tolerated, and allowed
                                                                                         personal protective equipment for potential medical worker victims could
          Colombian illegal armed groups to operate in Venezuelan territory with
                                                                                         have contributed to the death of at least one Cuban medical worker.
          impunity, while also confronting groups at other times. These officials
                                                                                         NGOs reported an increased incidence of domestic servitude and sex
          reportedly provided support and a permissive environment to non-state
                                                                                         trafficking within the country. According to civil society organizations,
          armed groups that recruited children for armed conﬂict and forced
                                                                                         Venezuela has the highest rate in Latin America of people exploited in
          criminality. These non-state armed groups grew through the recruitment
                                                                                         human trafficking with 5.6 per 1,000 people.
          of child soldiers and engaged in sex trafficking and forced labor. They
          lured children in vulnerable conditions and dire economic circumstances
          with gifts and promises of basic sustenance for themselves and their
          families to later recruit them into their ranks. These groups recruited
          children to strengthen their operations and terrorize border communities        VIETNAM: TIER 3
          in Venezuela and neighboring countries, especially Colombia, in areas
          with limited governance. An NGO reported non-state armed groups                The Government of Vietnam does not fully meet the minimum standards
          indoctrinated, recruited, and engaged children in ﬁve Venezuelan               for the elimination of trafficking and is not making signiﬁcant efforts
          states using lectures, brochures, and school supply donations. Reports         to do so, even considering the impact of the COVID-19 pandemic on its
          have documented the presence of six dissident movements comprising             anti-trafficking capacity; therefore Vietnam was downgraded to Tier
          FARC dissident combatants in at least seven of 24 Venezuelan states,           3. Despite the lack of signiﬁcant efforts, the government took some
          including Amazonas, Apure, Bolívar, Guárico, Mérida, Táchira, and              steps to address trafficking, including instituting formal child-centered
          Zulia, ﬁve of which are border states. In 2019, Colombian authorities          investigative policies that aimed to address longstanding insufficiencies
          estimated there were approximately 36 ELN camps located on the                 in preexisting law; increasing international law enforcement cooperation;
          Venezuela side of the Colombia-Venezuela border. In 2021, the regime           initiating a process to evaluate a preexisting anti-trafficking law for
          imprisoned a civil society activist under politically motivated pretexts       eventual amendment; achieving the ﬁrst modest increase in victim
          after his organization denounced and documented the regime’s support           identiﬁcation in ﬁve years; and assisting more victims than in 2020. It
          for non-state armed groups, including those that recruited children for        also enacted a series of policies to eliminate worker-paid service fees
          armed conﬂict among other crimes. Members of the Maduro regime                 and commissions that have historically placed Vietnamese workers at
          probably proﬁt from such non-state armed groups’ criminal and terrorist        high risk of debt-based coercion in several sectors and key destination
          activities inside Venezuela, including human trafficking, and such funds       countries. However, the government reported a decline in convictions
          likely contribute to their efforts to maintain their control. According to     of traffickers for the ﬁfth consecutive year; it also achieved signiﬁcantly
          documents reportedly from the regime’s intelligence agency (SEBIN)             fewer prosecutions than in 2020. Authorities again inspected thousands
          and published in Colombian press, the Armed Forces in 2019 ordered             of establishments most at risk for sex trafficking without identifying any
          members of the Army, National Guard, and militias present in four states       victims of sex trafficking in the process, despite widespread prevalence
          along the Colombia-Venezuela border to avoid engaging unspeciﬁed               at such sites. The government did not hold criminally or administratively
          allied groups in Venezuelan territory and encouraged the armed forces          accountable two Vietnamese diplomats who were allegedly complicit
          to aid and support their operations. These groups threaten to destabilize      in subjecting Vietnamese nationals to trafficking abroad during the
          the region, as they grow their ranks exploiting children in sex trafficking,   reporting period, and it did not make sufficient effort to protect the
          forced labor, and forced recruitment. According to NGOs, forced labor          victims in these cases. To the contrary, authorities at times reportedly
          is a common punishment for violating rules imposed by armed groups.            harassed and pressured survivors and their families in an effort to silence
          Illegal armed groups forced Venezuelans, including children, to work in        allegations of official complicity.
          mining areas and women and girls into sex trafficking.


 592                                                                                                                                    Haiti AR_001073
          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 698 of 729




                                                                                                                                                                   VIETNAM
                                                                                  coverage for 16- and 17-year-old children, in advance of projected 2023
         VIETNAM TIER RANKING BY YEAR                                             amendments. It also issued a formal decision approving Vietnam’s ﬁrst
     1                                                                            Program to Protect Children Online for 2021-2025, which included speciﬁc
                                                                                  guidance on prosecutions. No further information on content of these
    2
                                                                                  initiatives or their status was available at the end of the reporting period.
  2WL
                                                                                  The government investigated more alleged traffickers in 2021 but
    3
            2015     2016      2017     2018   2019   2020     2021     2022
                                                                                  prosecuted and convicted fewer individuals than the prior year.
                                                                                  Despite pandemic-related challenges, the government again provided
                                                                                  disaggregated law enforcement data by trafficking type. According to
                                                                                  MPS, authorities investigated 149 suspected traffickers in 77 cases in 2021
PRIORITIZED RECOMMENDATIONS:                                                      (compared with 144 suspected traffickers investigated in 110 cases in 2020).
Collaborate with NGOs and civil society to revise anti-trafficking                This ﬁgure included seven sex trafficking investigations, three forced labor
legislation, including by amending the penal code to fully criminalize the        investigations, and 67 investigations into unspeciﬁed exploitation “for the
sex trafficking of 16- and 17-year-old children consistent with international     purpose of transferring or receiving money, property, or other material
law. • Vigorously prosecute all forms of trafficking and convict and              beneﬁt” as deﬁned in penal code Articles 150 and 151 (not disaggregated
punish traffickers, including in cases involving forced labor or complicit        in 2020). Authorities did not provide sufficient information to determine
officials. • Continue to train officials on implementing guidelines for           if the aforementioned 67 cases met international deﬁnitional standards
Articles 150 and 151 of the penal code, with a focus on identifying and           of trafficking. The Supreme People’s Procuracy (SPP) submitted 98 cases
investigating forced labor and internal trafficking cases, including those        involving 177 alleged traffickers for prosecution in 2021, compared with
involving male victims. • In coordination with civil society, update and          106 cases involving 180 suspects submitted in 2020. Of these, 68 cases
train officials on victim identiﬁcation guidelines, and enhance interagency       involving 120 suspects were accepted for prosecution, including 44 cases
coordination to identify and assist victims among vulnerable groups,              under Article 150 and 24 cases under Article 151; this marked a decrease
such as migrant workers; individuals in commercial sex, including women           from 102 cases—65 and 37, respectively—involving 161 suspects in 2020.
and girls discovered during police raids and inspections of business              The 68 accepted prosecutions included 14 sex trafficking cases, three
establishments that facilitate commercial sex; child laborers; and North          forced labor cases, and 51 cases of unspeciﬁed exploitation; three cases
Korean and People’s Republic of China (PRC) nationals. • Finalize and             involved domestic trafficking crimes and 65 were transnational in nature
implement revisions to the 2014 National Referral Mechanism (NRM).                (compared with 79 sex trafficking cases, 18 forced labor cases, and ﬁve
• Eliminate all worker-paid recruitment fees and predatory recruitment            cases of unspeciﬁed exploitation, with ﬁve domestic and 97 transnational
practices for workers migrating abroad or to Vietnam; strengthen efforts          cases in 2020). Courts ultimately accepted 66 cases featuring 132 alleged
to monitor labor recruitment companies, third-party sub-brokers, and              traffickers for full prosecution but only initiated proceedings in 49 cases
the protections outlined in migrant worker contracts; and prosecute               involving 94 defendants (compared with accepting 107 cases involving
predatory or illegal sub-brokerage networks. • Expand training for                175 alleged traffickers, leading to 84 prosecutions of 136 defendants, in
social workers, ﬁrst responders, diplomats, and the judiciary on trauma-          2020). Among the 49 cases prosecuted, courts tried 27 cases involving
informed care and other victim-centered approaches to working with                51 defendants under Article 150 and 22 cases involving 43 defendants
victims of trafficking. • Implement and allocate sufficient resources to the      under Article 151 (compared with 60 cases involving 95 defendants
2021-2025 national action plan (NAP). • Invite independent veriﬁcation            and 24 cases involving 136 defendants, respectively, in 2020). Vietnam
of the termination of forced labor within drug treatment centers and              maintained a high conviction rate and continued to impose strict sentencing
make public the results of such veriﬁcation.                                      for convicted traffickers. The court system convicted all 94 individuals
                                                                                  (compared with 136 in 2020) under Articles 150 and 151. Sentences for
PROSECUTION                                                                       convicted traffickers ranged from less than three years’ to life imprisonment
The government decreased law enforcement efforts, including by failing            under both Articles 150 and 151 (compared with three years’ to 20 years’
to hold criminally or administratively accountable two officials who were         imprisonment in 2020).
allegedly complicit in forced labor crimes. Article 150 of the penal code         Throughout the reporting period, courts were intermittently closed due
criminalized labor trafficking and sex trafficking of adults and prescribed       to the pandemic; however, to ensure that all criminal cases—including
penalties of ﬁve to 10 years’ imprisonment and ﬁnes of 20 million to 100          human trafficking cases—were adjudicated in a timely manner, the Supreme
million Vietnamese dong (VND) ($879 to $4,390). Article 151 criminalized          People’s Court (SPC) issued a resolution allowing for all criminal, civil, and
labor trafficking and sex trafficking of children younger than the age of 16      administrative trials to be conducted online beginning in January 2022. It
and prescribed penalties of seven to 12 years’ imprisonment and ﬁnes of           also continued to direct the courts to schedule trials on the weekends, rent
50 million to 200 million VND ($2,200 to $8,790). These penalties were            additional space or utilize outdoor locations to hold hearings, and prioritize
sufficiently stringent and, with regard to sex trafficking, commensurate          trials set to expire. Civil society observers noted incremental improvements
with other serious crimes, such as rape. Inconsistent with international          in some provincial anti-trafficking law enforcement practices, including
law, Article 150 applied to children between the ages of 16 and 17 years old      efforts to address child forced labor in the garment sector in the northwest
and required a demonstration of force, fraud, or coercion to constitute a         part of the country. Anticipating that pandemic-related border closures
sex trafficking crime; it therefore did not criminalize all forms of child sex    may lead to a spike in domestic trafficking, MPS also issued policies
trafficking. Civil society observers previously reported this led to confusion    directing law enforcement to focus on the detection and handling of
among the courts on how to handle cases involving 16- and 17-year-old             trafficking crimes occurring within Vietnam. Police continued to conduct
children—particularly for cases involving labor trafficking—and that it           raids of establishments suspected of sex trafficking despite pandemic-
precluded child-centered best practices in such cases. In an effort to            related challenges. Law enforcement authorities reportedly increased
address this concern, in 2021, the Ministry of Public Security (MPS) issued       information-sharing activities and joint operations with counterpart
a new policy outlining child-centered procedures for the investigation of         agencies in the PRC, Germany, the Netherlands, Sweden, the United States,
trafficking crimes committed against persons younger than the age of 18;          and several Lower Mekong countries, including in special economic zones
this was the ﬁrst government-issued guidance instructing law enforcement          (SEZs) in Laos. The government did not receive extradition requests
to handle trafficking cases involving 16- and 17-year-olds as child trafficking   related to human trafficking cases in 2021.
cases. Authorities did not report statistics on its implementation in 2021.
Vietnam also maintained a broad 2011 anti-trafficking law that focused            In 2021, a Vietnamese labor attaché in Saudi Arabia and another staff
primarily on preventative measures; it contained some provisions that             member allegedly directly facilitated the forced labor of several Vietnamese
reportedly conﬂicted with the deﬁnitions outlined in the penal code.              nationals in Saudi Arabia. The government reported initiating an inquiry
According to NGO representatives, some officials were therefore unsure            into the case; the inquiry remained ongoing at the end of the reporting
whether to apply the 2011 law or penal code provisions when handling              period. Authorities allowed the diplomat to remain in his post and did not
trafficking cases. The government completed review of this law and issued         ﬁle criminal charges or implement any administrative penalties. Although
a six-step action plan to address these deﬁciencies, along with the gap in        authorities imposed administrative penalties on some of the entities
                                                                                  involved in the initial fraudulent recruitment or transportation of the
                                                                                                                                     Haiti AR_001074               593
              Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 699 of 729
VIETNAM   victims to Saudi Arabia, they did not seek criminal accountability; some          did record and grant 111 total requests for victim support in the form of
          of these alleged accomplices returned to Vietnam or traveled elsewhere,           medical and psychological care, legal aid, lodging, essential needs, travel
          and at least one reportedly continued recruitment activities with impunity.       expenses, vocational training, and loans (compared with 84 assisted in
          Vietnamese authorities penalized one labor export company for failing to          2020). Survivors beneﬁtting from these services included 12 male and
          resolve a pay issue; the company alleged that this action was a response to       99 female individuals, and ﬁve were foreign nationals—four Cambodians
          its attempting to assist some of the victims who reported these abuses. In        and one Thai national (unreported in 2020). Thirty-four victims requested
          a separate case, the government arrested and charged four high-ranking            and were granted legal aid. As with victim identiﬁcation, more than half
          Ministry of Foreign Affairs (MFA) consular officials for their alleged role in    of assisted survivors were members of ethnic minority groups (64).
          scheming to proﬁt by forcing Vietnamese nationals stranded abroad during          With donor funding, MOLISA continued to operate a 24-hour hotline
          the pandemic to pay exorbitant repatriation fees—a common source of               for victims of various crimes, including trafficking. Hotline operators
          indebtedness that traffickers were known to exploit. Authorities did not          could speak Vietnamese, English, and seven ethnic minority languages.
          provide further information on these charges, which did not appear to             Although the hotline reported an increase in the total number of calls
          result from the aforementioned incidents in Saudi Arabia. Police noted            received—3,808, up from 2,826 in 2020—it received fewer trafficking-
          the extraction, storage, and analysis of digital evidence, combined with          speciﬁc calls during the reporting period: 35 calls involving 39 victims,
          ambiguities surrounding its permissibility in court proceedings, negatively       compared with 59 calls involving an unspeciﬁed number of victims in
          impacted the government’s ability to combat internet-facilitated trafficking      2020. The majority of these cases (28) involved children. Observers
          crimes. The government continued to provide multiple anti-trafficking             ascribed this change to an increase in reported missing persons cases
          trainings—at times with support from international organizations, NGOs,           and a decrease in the movement of vulnerable people across international
          and foreign governments—to its personnel, including law enforcement               borders during pandemic-related travel restrictions. The hotline referred
          officers, border guard forces, prosecutors, judges, and social workers at         19 of these cases to police for recovery and investigations, 16 to MOLISA
          the district, provincial, and commune levels. In conjunction with foreign         for further assistance, two to an NGO, and one to a VWU shelter. The
          donors, the SPC continued to examine and hold discussions on a series             government maintained labor representatives at diplomatic missions
          of concluded trafficking cases in an effort to establish legal precedent          in countries that hosted large numbers of documented Vietnamese
          for reference in future prosecutions.                                             migrant workers, such as Japan, Malaysia, Saudi Arabia, South Korea,
                                                                                            Taiwan, and the United Arab Emirates (UAE). These missions could
          PROTECTION                                                                        provide basic provisions, transportation, and health care to Vietnamese
          The government maintained efforts to protect victims, but two allegedly           citizens subjected to trafficking abroad. MFA authorities did not report
          complicit officials took measures to harass, intimidate, and facilitate the re-   complete repatriation data, but Vietnam’s diplomatic mission in Burma
          exploitation of some survivors of trafficking with impunity. The government       reported receiving, identifying, and providing various support services
          reported identifying 126 victims in 2021, of whom 114 were female and             to 16 Vietnamese female victims of sexual exploitation there—14 women
          12 were male; 45 were children (compared with a total of 121 victims              and two girls—compared to nine victims repatriated from Burma in 2020.
          comprising 112 females, nine males, and 32 children in 2020). Of these,           MFA worked with Burmese authorities to fund and conduct repatriation
          120 were Vietnamese nationals, and 96 were subjected to transnational             for 11 of these victims after ﬁve opted to remain in Burma.
          trafficking. Twenty-two individuals were victims of forced labor and 28
                                                                                            Mandatory quarantine periods and other pandemic-related restrictions
          were victims of “sexual exploitation;” some of the latter cases may have
                                                                                            negatively affected some victim care and support services during the
          fallen outside international deﬁnitional standards for trafficking crimes.
                                                                                            reporting period. The government continued to assist vulnerable groups,
          Slightly more than half of identiﬁed victims (64) were members of ethnic
                                                                                            including trafficking victims, through 51 social protection and 43 social
          minority communities. Seventy-six individuals were victims of unspeciﬁed
                                                                                            service centers nationwide; some of these facilities operated with NGO
          trafficking, which in prior years included “illegal marriage” and “illegal
                                                                                            funding, and none provided services to male or child victims exclusively.
          adoption,” neither of which was consistent with international deﬁnitions of
                                                                                            The government also announced a series of protection-related actions to
          trafficking (64 and three, respectively, in 2020). The government utilized
                                                                                            supplement or clarify preexisting policies, laws, and initiatives during the
          victim identiﬁcation criteria as part of the Coordinated Mekong Ministerial
                                                                                            reporting period. In May 2021, the Prime Minister issued a formal decision
          Initiative against Human Trafficking (COMMIT), along with its own victim
                                                                                            approving a new national Child Labor Prevention and Reduction Program
          identiﬁcation procedures approved in 2014; however, identiﬁcation
                                                                                            for 2021-2025 which focused on the provision of timely support to all
          procedures remained largely reactive—rather than proactive—across
                                                                                            children subjected to sex trafficking and forced labor. The government
          various key agencies. The victim identiﬁcation process remained overly
                                                                                            also approved new policy guidance for a 2020 overseas employment
          cumbersome and complex, requiring approval from multiple ministries
                                                                                            law that added or increased ﬁnancial, legal, and vocational assistance
          before victims could be formally identiﬁed and assisted. Ineffective
                                                                                            options for Vietnamese workers who return home prior to the end of
          implementing guidelines on victim identiﬁcation procedures prevented
                                                                                            their contracts, including for those who are ﬂeeing forced labor. Another
          border guards, law enforcement, and other officials from fully detecting
                                                                                            new policy outlined the development of income generation projects for
          and assisting victims. Authorities did not proactively employ the COMMIT
                                                                                            trafficking survivors in predominantly ethnic minority communities in
          criteria or their own procedures to screen for trafficking indicators
                                                                                            mountainous regions. Authorities did not provide information on the
          among key vulnerable populations, including individuals in commercial
                                                                                            implementation of any of these policies in 2021. Authorities allowed victims
          sex, individuals transiting border stations, workers in the ﬁshing and
                                                                                            to stay at support facilities for up to three months with a meal stipend
          seafood processing industries, migrant workers returning from abroad,
                                                                                            and medical assistance according to a circular issued in 2020. A decree
          and child laborers. Despite conducting more than 36,000 inspections of
                                                                                            issued in the prior reporting period entitled foreign trafficking victims
          establishments most at risk for sex trafficking, authorities did not identify
                                                                                            to four support services: essential needs and travel expenses, medical
          any sex trafficking victims during these inspections.
                                                                                            support, psychological support, and legal aid. However, NGOs reported
          The government maintained an NRM approved in 2014, but some                       the government did not have adequately trained or experienced social
          local officials’ unfamiliarity with anti-trafficking protocol and policies,       workers to provide appropriate support to trafficking victims. Vietnamese
          insufficient inter-jurisdictional cooperation, and limited social worker          law guaranteed trafficking victims the right to legal representation; the
          capacity continued to hinder its systematic implementation. The labor             law did not require victims to be present at or testify in-person in court.
          and social affairs ministry (MOLISA) led an inter-ministerial process             The law also entitled trafficking victims to compensation in trafficking
          during the reporting period to review and revise the NRM, as well as to           cases; the government did not provide complete data on this entitlement,
          draft supplementary guidance on receiving and providing protection                but review of case records indicated at least seven cases concluded
          services to trafficking victims; neither effort was complete at the end of        with compensation orders ranging from 10 million to 100 million VND
          the reporting period. The government did not report the total number              ($439 to $4,390) in 2021 (compared with at least ten cases resulting in
          of victims it referred to NGO or state protection services (compared              non-disaggregated compensation orders, the highest of which was 45.3
          with 25 referrals to protection centers, 20 to police, 19 to an NGO, and          million VND, or $1,990, in 2020). The government encouraged trafficking
          three to the to the Vietnam Women’s Union (VWU) Center for Women’s                victims to assist in judicial proceedings against traffickers; however, NGOs
          Development in 2020), nor did it disaggregate data according to whether           previously reported victims were at times less likely to come forward
          victims received assistance from NGOs or official sources. Authorities            about their abuses in a judicial setting due to fears they may face arrest
 594                                                                                                                                     Haiti AR_001075
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 700 of 729




                                                                                                                                                                  VIETNAM
or deportation for crossing the border without documentation. During the            public awareness campaigns to promote its hotline. The government did
reporting period, MPS established 25 child-friendly investigation rooms             not make public any information on the implementation of its NAP, but
at the provincial level for testimony from persons younger than the age             it continued to monitor and evaluate its own progress against the plan
of 18, but officials did not report statistics on their use.                        through internal weekly, monthly, and semi-annual reports.
The government continued to train officials in various agencies on                  In 2021, the government worked with an international organization to
victim identiﬁcation and protection. In conjunction with an international           pass subordinate legislation for prior revisions to Law 69 that prohibited
organization, MFA continued work on standard operating procedures for               charging contract-based Vietnamese overseas workers certain brokerage
diplomats’ reference in supporting overseas Vietnamese women who                    fees and service charges and expanded their protections, including
were victims of violence, including trafficking. However, official complicity       the right to unilaterally terminate a contract. Notably, this included
was a signiﬁcant concern during the reporting period, including in cases            elimination of worker-paid service charges for Vietnamese participants
allegedly perpetrated by two members of Vietnam’s diplomatic service. A             in Japan’s Technical Intern Training Program (TITP), in which fees and
Vietnamese MFA official reportedly harassed, threatened, and restricted             commissions had previously placed thousands of Vietnamese workers
the communication of some of the victims of the aforementioned Saudi                at high risk of debt-based coercion into forced labor. It also outlined new
Arabia forced labor case after they attempted to request assistance. Some           protections for seafarers, preventative measures onboard ﬁshing vessels,
victims escaped and attempted to seek assistance at the Vietnamese                  and the mandatory placement of support personnel in key migrant labor
Embassy, only to be forcibly returned to the traffickers by the same                destination countries, among other improvements. Another decree
official. In other instances, after survivors sought shelter with a local           established additional fees as penalties for predatory entities that use
organization, the same official reportedly deceived them with promises              false advertising or deceptive recruitment practices to lure workers for
of repatriation in order to lure them out and then “sell” them to new               the purpose of exploitation or forced labor; that fail to conduct pre-
local employers, who continued to exploit them in forced labor. NGOs                departure trainings or compensate workers for damages; and that collect
and Saudi police conducted the recovery and repatriation of most of                 unlawful fees from workers. Authorities did not provide information on
the victims—reportedly without any assistance from the Vietnamese                   implementation of any of these initiatives. Some destination countries’
government—despite a Vietnamese law mandating the provision of                      individual labor recruitment regulations at times conﬂicted with these
repatriation expenses for all Vietnamese victims subjected to trafficking           reforms; for example, Japan passed a regulation in 2021 affirming that
abroad. An international organization interviewed 10 of the women                   Vietnamese workers were still required to pay service fees in order
repatriated from Saudi Arabia and assessed four as victims of human                 to participate in work programs there. Vietnamese labor recruitment
trafficking. Local authorities attempted to request victim compensation             ﬁrms—in particular, those affiliated with state-owned enterprises—and
from a Vietnam-based representative of one of the sending companies;                unlicensed brokers reportedly continued to charge some workers seeking
however, the compensation was only partially paid or not paid at all                overseas employment higher fees than the law allowed, placing many in
in some cases. The government reportedly examined, inspected, and                   indebtedness that traffickers could use to exploit them.
administratively sanctioned 10 out of 20 enterprises sending workers to
                                                                                    MOLISA received 58 civil complaints related to labor recruitment practices
Saudi Arabia, but authorities did not pursue criminal accountability for
                                                                                    in 2021, compared with 160 in 2020; this led to the inspection of 16 labor
their role in facilitating trafficking crimes. Authorities also penalized one
                                                                                    export enterprises, of which it ﬁned 12 for administrative violations to a
labor export company for failure to resolve its employees’ salary disputes,
                                                                                    total of 699 million VND ($30,710) (compared with 84 inspections and
which NGO representatives interpreted as government retaliation for its
                                                                                    32 ﬁnes leading to 2 billion VND ($87,850) in 2020). MOLISA did not
initial attempts to respond to victim allegations with support services. In
                                                                                    revoke the business licenses of any recruiters for violations of the 2006
Vietnam, police reportedly harassed and surveilled the family members
                                                                                    Law on Guest Workers (compared to six business licenses revoked in
of some of these victims, rather than assisting them in an attempt to
                                                                                    2020). Authorities continued to work with local police to investigate and
silence relevant allegations.
                                                                                    verify 128 cases of organizations and individuals sending workers abroad
Due to a lack of systematic implementation of victim-centered screening             without licenses (compared with 150 cases in 2020). In conjunction with
procedures during police raids on establishments most at risk for sex               an international organization and foreign donors, the government held a
trafficking, authorities may have penalized some women and children for             consultation workshop to review new anti-trafficking training materials
unlawful acts traffickers compelled them to commit. This insufficiency              for Vietnam Border Guard (VBG) and police. In previous years, MOLISA
also continued to place foreign victims, including children, at high risk of        raised awareness on labor laws and safe migration practices among
punitive deportation, although the government claimed it screened all               employment services centers and businesses. However, some NGO reports
deported individuals for trafficking indicators and did not identify any such       indicated Vietnam did not make sufficient efforts to educate the public
cases. Civil society groups previously reported Vietnamese victims who              on the risks inherent to seeking work abroad through unscrupulous labor
migrated via irregular means or who were forced to commit unlawful acts             export companies or vulnerable recruitment channels.
as a result of their trafficking feared reprisals from authorities. These victims
                                                                                    In 2021, MOLISA continued negotiations with the governments of Israel
were less likely to seek support and were vulnerable to re-trafficking.
                                                                                    and Kuwait to sign labor cooperation agreements; it had not ﬁnalized
International observers previously reported government officials often
                                                                                    these by the end of the reporting period. The government also maintained
blamed Vietnamese citizens for their exploitative conditions abroad or
                                                                                    preexisting labor migration agreements with the Government of the UAE
suggested victims inﬂated abuses to avoid immigration violations. The
                                                                                    for domestic workers and with the Government of Japan for skilled and
government did not report offering foreign victims legal alternatives to
                                                                                    technical workers and interns. It also maintained a 2017 Memorandum
their removal to countries where they may face retribution or hardship.
                                                                                    of Cooperation with the Government of Japan to improve protections
                                                                                    for Vietnamese participants in Japan’s TITP amid continued reports of
PREVENTION                                                                          severe exploitation of Vietnamese workers. Previous reports indicate
The government increased efforts to prevent trafficking. A steering
                                                                                    the government did not exercise sufficient oversight of contract and
committee chaired by a deputy prime minister, with the minister and
                                                                                    recruitment processes under the auspices of some of these bilateral
a vice minister of public security as deputy chairs, continued to direct
                                                                                    agreements. Within the country, NGO observers noted an inability
Vietnam’s anti-trafficking efforts. The government maintained a national
                                                                                    to form independent unions continued to constrain the protection of
anti-trafficking action plan for 2021-2025. The government’s 2021 budget
                                                                                    worker’s rights, and restrictions on freedom of expression and association
for trafficking prevention was 17 billion VND ($746,760), an increase
                                                                                    continued to impede some public discourse on key labor and land
from the 2020 budget of 15.44 billion VND ($678,100). Authorities did
                                                                                    rights issues related to trafficking vulnerabilities. Unlike in 2020, the
not report individual provincial budget allocations included within this
                                                                                    government made efforts to reduce the demand for commercial sex
amount (compared with 9.8 billion VND, or $430,490, per province in
                                                                                    acts and child sex tourism, including by issuing a new decree to double
2020). The central government, including provinces and municipalities,
                                                                                    ﬁnes for administrative violations related to “prostitution” and to seek
continued to organize several large-scale public anti-trafficking awareness
                                                                                    accountability for businesses that facilitate it. The government did not
campaigns, many with ﬁnancial and technical support from international
                                                                                    take steps to deny entry of known U.S. sex offenders.
organizations and foreign governments. MOLISA, in coordination with other
government ministries, international organizations, and NGOs, organized
                                                                                                                                     Haiti AR_001076              595
             Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 701 of 729
ZAMBIA                                                                                  vulnerabilities to trafficking, particularly for women and children in rural
         TRAFFICKING PROFILE
         As reported over the past ﬁve years, human traffickers exploit domestic        areas and among ethnic minorities. Traffickers are sometimes parents,
         and foreign victims in Vietnam, and they exploit victims from Vietnam          family members, or small-scale networks exploiting Vietnamese men,
         abroad. Vietnamese men and women migrate abroad for work informally,           women, and children—including unhoused children and children with
         including through illicit brokerage networks operated by other Vietnamese      disabilities—in forced labor, although little information is available on
         nationals based abroad, or through state-owned or state-regulated labor        these cases. One study indicates 80 percent of known trafficking victims
         recruitment enterprises. Some recruitment companies are unresponsive           in Vietnam are members of ethnic minority communities. Another
         to workers’ requests for assistance in situations of exploitation, and         suggests 5.6 percent of children in Vietnam may experience coercion
         some charge excessive fees that make workers vulnerable to forced              or exploitation indicative of trafficking or in the context of migration,
         labor through debt bondage. Traffickers subject victims to forced labor        with children from rural and underserved communities at particularly
         in construction, agriculture, mining, maritime industries, logging, and        high risk. Traffickers exploit children and adults in forced labor in the
         manufacturing, primarily in Malaysia, South Korea, Laos, Japan, and—to         garment sector, in street hawking and begging in major urban centers,
         a lesser extent—in some parts of the Middle East, Europe, and the UK,          and in forced or bonded labor in brick factories, urban family homes, and
         including in nail salons and on cannabis farms. There are increasing reports   privately-run rural gold mines. Sex traffickers target many children from
         of Vietnamese labor trafficking victims in Taiwan, continental Europe, the     impoverished rural areas and a rising number of women from middle class
         Middle East, and in Paciﬁc maritime industries, including on Indonesian        and urban settings. Traffickers increasingly channel their criminal activities
         and Taiwanese ﬁshing vessels operating under complex ownership and             through the traditional practice of “bride kidnapping” to exploit girls
         registration arrangements that enable traffickers to evade detection           from ethnic minority communities in the northwest highlands, including
         and intervention by law enforcement. Vietnamese traffickers, including         in sex trafficking and forced labor in domestic service. Child sex tourists,
         members of Vietnam’s diplomatic service, have reportedly subjected             reportedly from elsewhere in Asia, the UK, other countries in Europe,
         Vietnamese nationals to forced labor in Saudi Arabia. Many Vietnamese          Australia, Canada, and the United States, exploit children in Vietnam.
         nationals are subjected to forced labor under the auspices of Japan’s          The North Korean government may have forced North Koreans to work
         TITP and within agricultural education programs in Israel. Vietnamese          in Vietnam. In 2021, Vietnamese government and NGO officials reported
         nationals are subjected to restricted freedom of movement, travel and          an increase in Cambodian female adult and child trafficking victims
         identity document conﬁscation, threats of physical violence, poor living       transiting Vietnam en route to the PRC. In prior years there were reports
         and working conditions, contract irregularities, fraudulent recruitment,       of some complicit Vietnamese officials, primarily at commune and
         and punitive deportation at PRC national-owned factories affiliated with       village levels, who allegedly facilitated trafficking or exploited victims by
         the PRC’s Belt and Road Initiative in the Balkan region. Pandemic-related      accepting bribes from traffickers, overlooking trafficking indicators, and
         travel restrictions compound these vulnerabilities for many Vietnamese         extorting money in exchange for reuniting victims with their families. In
         migrant workers overseas, including by forcing some to remain in their         2019, the government reported it had ceased the practice of subjecting
         positions long after the conclusion of their contracts.                        drug users to forced labor in its 105 rehabilitation centers. A 2014 legal
         Traffickers are increasingly taking advantage of pandemic-induced              provision requires a judicial proceeding before detention of drug users in
         unemployment to lure Vietnamese nationals—especially women                     compulsory drug rehabilitation centers and restricts detainees’ maximum
         and members of ethnic minority groups—with false promises of job               workday to four hours. There were prior reports that prisoners, including
         opportunities abroad. Traffickers exploit Vietnamese women and children        political and religious dissidents, had been forced to work in agriculture,
         in sex trafficking overseas, misleading many victims with fraudulent           manufacturing, and hazardous industries, such as cashew processing.
         employment opportunities and transferring them to brothel operators on
         the borders of the PRC, Cambodia, and Laos, or to elsewhere in Asia, West
         Africa, and Europe. An increasing number of Vietnamese women and girls
         are reportedly subjected to sex trafficking in Burma. Some Vietnamese           ZAMBIA: TIER 2 WATCH LIST
         women who travel abroad for internationally brokered marriages or jobs
         in restaurants, massage parlors, and karaoke bars—including to Burma,          The Government of Zambia does not fully meet the minimum standards
         Japan, South Korea, Malaysia, the PRC, Saudi Arabia, Singapore, and            for the elimination of trafficking but is making signiﬁcant efforts to do
         Taiwan—are subjected to forced labor in domestic service or sex trafficking.
                                                                                        so. These efforts included increasing investigations, prosecutions, and
         Traffickers in border villages reportedly abduct Vietnamese women,
                                                                                        convictions of trafficking crimes; launching the national action plan
         particularly from the Hmong ethnic minority group, and transport them
                                                                                        (NAP) for trafficking in persons and implementing the national referral
         to the PRC for forced marriages that often feature corollary sex trafficking
                                                                                        mechanism (NRM); and increasing screening and identiﬁcation of
         and/or forced labor indicators. There are reports of Vietnamese women
                                                                                        trafficking victims among migrant populations. However, the government
         and girls in forced childbearing, including cases in which traffickers lure
                                                                                        did not demonstrate overall increasing efforts compared with the previous
         them to the PRC with false job offers, abduct them at the border, and
                                                                                        reporting period, even considering the impact of the COVID-19 pandemic
         transfer them to unregulated hospital facilities, where they are subjected
                                                                                        on its anti-trafficking capacity. The government did not amend the
         to forcible artiﬁcial insemination and conﬁned until they give birth.
         Vietnamese women and girls are reportedly vulnerable to forced labor           anti-trafficking law to criminalize all forms of child sex trafficking. The
         and sex trafficking at “girl bars”—entertainment sites advertising paid        government did not approve guidelines for the Anti-Human Trafficking
         “accompaniment” services often involving sex acts with young women             Fund or for shelter operations. Because the government has devoted
         and girls—in urban areas in Japan. Organized crime syndicates operating        sufficient resources to a written plan that, if implemented, would
         within SEZs in Southeast Asia—particularly in the Golden Triangle SEZ          constitute signiﬁcant efforts to meet the minimum standards, Zambia
         at the intersection of the Burmese, Thai, and Lao borders—subject              was granted a waiver per the Trafficking Victims Protection Act from
         Vietnamese nationals to deceptive recruitment and sex trafficking.             an otherwise required downgrade to Tier 3. Therefore Zambia remained
         Traffickers increasingly use the internet, gaming sites, and social media      on Tier 2 Watch List for the third consecutive year.
         to lure victims, proliferate trafficking operations, and control victims by
         restricting their social media access, impersonating them, and spreading                ZAMBIA TIER RANKING BY YEAR
         disinformation online. Men often entice young women and girls with online           1
         dating relationships, persuade them to move abroad, then subject them
                                                                                             2
         to forced labor or sex trafficking. During the migration process, European
         gangs and traffickers often exploit Vietnamese victims in forced labor and       2WL
         sex trafficking before they reach their ﬁnal destination. The operators of          3
         Vietnamese national-owned agricultural plantations subject local internal                  2015     2016      2017    2018   2019   2020     2021     2022
         migrants to forced labor in neighboring Laos.
         Within the country, pandemic-related unemployment, restrictions
         on movement, and other socio-economic stressors are increasing
 596                                                                                                                                    Haiti AR_001077
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 702 of 729




                                                                                                                                                               ZAMBIA
PRIORITIZED RECOMMENDATIONS:                                                  The government did not implement its plan to direct human trafficking
Institutionalize the NRM and train all relevant agencies to proactively       cases to two fast-track human trafficking courts; instead, in Lusaka,
identify trafficking victims by screening for trafficking indicators among    the subordinate court appointed two magistrates as trafficking focal
vulnerable populations, including individuals involved in commercial sex,     points to increase capacity to hear trafficking cases. The government
migrants, former refugees, and workers from the People’s Republic of          trained all 1,297 newly recruited police officers on human trafficking,
China (PRC), and refer all trafficking victims to appropriate services.       focusing on the NRM and the anti-trafficking law. The government, in
• Expand training for police, immigration officials, prosecutors, and         collaboration with an international organization, provided training for
judges on investigating and prosecuting trafficking crimes to increase        75 law enforcement officers and immigration officials in the Eastern,
investigations and prosecutions of alleged traffickers. • Amend the           Southern, and Western provinces, focused on child trafficking. The
anti-trafficking law to deﬁne child sex trafficking as not requiring          government reported collaboration on human trafficking investigations
force, fraud, or coercion. • Consistently investigate and prosecute           and victim repatriation with the Governments of Egypt, Turkey, and the
human trafficking crimes, separate from smuggling cases, and sentence         Democratic Republic of the Congo (DRC) during the reporting period.
convicted traffickers to adequate penalties. • Collaborate with NGOs          The Directors General of the Namibian and Zambian Departments of
and international organizations to increase the government’s capacity         Immigration met to increase future collaboration on human trafficking.
to provide shelter and protective services to more trafficking victims,
including adult males and foreign nationals. • Establish a network of         PROTECTION
interpreters to ensure provision of interpretation services for foreign       The government increased victim protection efforts. The government
victims to deliver comprehensive legal and protective services. •             identiﬁed 42 trafficking victims in 2021, compared with 199 victims
Appropriately fund the Secretariat on Human Trafficking to increase           identiﬁed in 2020, of which 140 were identiﬁed in two cases. The
coordination and capacity across the government. • Appoint investigators      government also identiﬁed an additional 174 potential trafficking
with specialized training on human trafficking investigation as trafficking   victims. The government reported referring all 216 trafficking victims
in persons focal points in all provinces. • Compile and make public           and potential victims to care, which is comparable with previous years.
information on trafficking cases and trends, separating data regarding        The Zambia Police Service and Department of Social Welfare (DSW)
smuggling and other crimes. • Seek input from survivors of human              jointly conducted enforcement operations in brothels where families
trafficking and civil society organizations on crafting policies and          exploited their children in sex trafficking, resulting in the identiﬁcation
programs. • Implement and consistently enforce strong regulations             of 85 child victims in the previous reporting period. This case was still
and oversight of labor recruitment companies, including by eliminating        under investigation at the end of the reporting period.
recruitment fees charged to migrant workers and holding fraudulent            The government revised and operationalized its NRM during the reporting
labor recruiters criminally accountable.                                      period with the assistance of an international organization. When
                                                                              victims were identiﬁed, the DSW received victim referrals, conducted
PROSECUTION                                                                   assessments, and facilitated victims’ access to services provided by
The government maintained anti-trafficking law enforcement efforts. The       NGOs, international organizations, and the government. While use of
Anti-Trafficking Act of 2008 criminalized some forms of sex trafficking       the NRM reportedly increased in 2021, some front-line officials and
and labor trafficking. Inconsistent with the deﬁnition of trafficking         NGOs neglected to use proper procedures to identify and refer victims
under international law, the law required a demonstration of threats,         to care, particularly in rural areas, which resulted in delays for victims
force, intimidation, or other forms of coercion to constitute a child         obtaining services and beneﬁts, including immigration documentation.
sex trafficking offense and therefore did not criminalize all forms of        The government, in partnership with an international organization,
child sex trafficking. The act prescribed penalties ranging from 20           continued to disseminate an updated standard victim identiﬁcation form
years to life imprisonment, which were sufficiently stringent and, with       to better guide front-line officials in proactively identifying trafficking
respect to sex trafficking, commensurate with penalties prescribed for        victims; however, wider dissemination and training on the use of different
other serious crimes, such as rape. For the third consecutive year, the       forms was needed.
government reported that draft amendments to bring the law in line
with international standards were awaiting ratiﬁcation by parliament.         The government partnered with NGOs and international organizations
                                                                              to offer routine assistance to both foreign and domestic potential
The government initiated 12 trafficking investigations in 2021 and            victims, including shelter, basic needs, medical care, counseling, and
continued eight investigations from 2020, compared with 17 investigations     other protection services. Foreign victims were entitled to the same
initiated in 2020. The government initiated 16 prosecutions involving 17      beneﬁts as Zambian victims. The Ministry of Community Development
defendants and continued four prosecutions involving four defendants,         and Social Services (MCDSS) operated one 40-person shelter in Luapula
compared with eight prosecutions involving 11 defendants reported in          Province and other shelters in Central and Western Provinces. Shelters
2020. The government convicted six traffickers in ﬁve cases, compared         were typically designated for survivors of gender-based violence or
with none in the previous reporting period. Courts acquitted two alleged      child abuse but were made available to trafficking victims. Most shelters
traffickers in 2021. Due to conﬂation between migrant smuggling and           only assisted women and children, but some accommodated adult male
human trafficking, the government may have prosecuted migrant                 victims of trafficking. Shelters across the country, especially in rural areas
smuggling crimes under its anti-trafficking law. Law enforcement and the      outside Lusaka and Copperbelt Provinces, continued to lack training
court system did not operate at full capacity during the reporting period     for shelter and victim support officers, resources, and funding, as well
due to pandemic-related restrictions imposed by health authorities.           as available space, education opportunities, and integration services
Corruption and official complicity in trafficking crimes remained             for victims. The government developed guidelines to operationalize
signiﬁcant concerns, inhibiting law enforcement action during the year.       the Anti-Human Trafficking Fund as designated by law; however, the
The government reported some law enforcement, military, security, and         guidelines remained pending approval at the end of the reporting period.
other government officials were complicit in human trafficking crimes.        With assistance from an international organization, the government
The government investigated two cases of law enforcement and border           developed standard operating procedures (SOPs) and guidelines for
officers allegedly complicit in human trafficking; however, investigations    shelters; however, the guidelines awaited ﬁnal approval by the Ministry
concluded the cases to be migrant smuggling. In 2019, the government          of Home Affairs and Internal Security (MHA) at the end of the reporting
investigated one government official for alleged complicity in forced         period. The government allocated 282,846 Zambian kwacha ($17,010) to
labor of a child in domestic work, but it did not provide any updates         support four government-operated shelters in 2021, the same amount
for the second consecutive year. In December 2021, the government             as the previous year.
settled the ﬁnal judgement in a Maryland federal court case against a         The government reported it proactively screened detained migrants for
former Zambian World Bank employee and her husband, a Zambian                 trafficking and referred identiﬁed victims to care based on the NRM. The
mission member posted in the United States, in a civil lawsuit brought by     government did not report the number of victims identiﬁed in immigration
their former G-5 domestic worker. The court found the couple violated         detention facilities or if victims were still detained alongside potential
federal and state labor law, and the World Bank employee breached             traffickers, as in previous years. The government reported children were
her employment contract.
                                                                                                                                 Haiti AR_001078               597
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 703 of 729
ZIMBABWE   no longer detained alongside adults in immigration detention facilities. In    to administrative constraints at the end of the reporting period. The
           2021, 59 victims cooperated with law enforcement on investigations and         government did not make efforts to reduce the demand for commercial
           prosecutions of traffickers, which was not required to access protection       sex acts. The government provided pre-deployment training for its
           services. The government increased opportunities for victim testimony via      diplomatic corps to prevent trafficking in persons, conducted by the
           video or written statements and assisted in protecting victims’ identities.    Zambia Institute of Diplomacy and International Studies and the Zambia
           The Department of Immigration (DOI) provided temporary immigration             Police Service. Zambian peacekeepers received pre-deployment anti-
           status for all foreign victims in accordance with the 2008 trafficking         trafficking training before deployment to UN missions in South Sudan
           law, which was dependent on cooperation with law enforcement, and              and AU missions in Somalia.
           offered a legal alternative to the removal of victims to countries where
           they may face hardship or retribution. The government did not report the       TRAFFICKING PROFILE
           number of victims who received immigration remedies. Additionally, the         As reported over the past ﬁve years, human traffickers exploit domestic
           pandemic caused logistical difficulties and delays in repatriating victims     and foreign victims in Zambia, and traffickers exploit victims from Zambia
           during the reporting period. The government reported interpretation            abroad. Most trafficking occurs within the country’s borders and involves
           services were provided free of charge to victims; however, the lack of         traffickers exploiting women and children from rural areas in cities in
           interpreters available continued to be a barrier to providing timely and       domestic servitude or forced labor in agriculture, textile production,
           comprehensive care for victims. The government did not report any              mining, construction, small businesses such as bakeries, and forced
           court orders of restitution for trafficking victims during the reporting       begging. Jerabo gangs may force Zambian children to engage in illegal
           period. The government provided legal assistance through legal aid             mining operations, such as loading stolen copper or crushing rocks.
           organizations for victims, including foreign nationals, through a witness      Orphans and children from rural areas remain vulnerable to trafficking.
           management fund by the National Prosecution Authority.                         Because of the perceived increase in status, families are enticed to send
                                                                                          children to work in cities without verifying conditions. School closures
           PREVENTION                                                                     due to the pandemic increased children’s vulnerability to exploitation,
           The government increased efforts to prevent trafficking. The MHA               including in sex trafficking and forced labor. Truck drivers exploit Zambian
           continued to oversee the government’s inter-ministerial National               boys and girls in sex trafficking in towns along the Zimbabwean and
           Committee on Human Trafficking, through its Secretariat on Human               Tanzanian borders, and miners exploit them in Solwezi. Traffickers exploit
           Trafficking National Office, which met regularly to conduct oversight          Zambian boys in sex trafficking in Zimbabwe and exploit women and
           of national anti-trafficking efforts. The Committee developed and              girls in sex trafficking in South Africa. Domestically, extended families
           launched a new 2022-2024 NAP on trafficking in persons and migrant             and trusted family acquaintances facilitate trafficking. Traffickers exploit
           smuggling, coordinated trainings on human trafficking hosted by                Zambians, including children, from rural areas in the Western province
           international organizations, reviewed policy and legislation, and              in forced labor on cattle farms in Namibia.
           developed and launched NRMs on trafficking in persons, migration,
                                                                                          Traffickers exploit women and children from neighboring countries in
           and migrant smuggling. The government committed funding of 50,000
                                                                                          forced labor and sex trafficking in Zambia, including transiting migrants
           kwacha ($3,001) to the DOI and 390,000 kwacha ($23,450) to the
                                                                                          whose intended destination is South Africa. Zambian women are recruited
           DSW to support implementation of the NAP. The Committee moved
                                                                                          for domestic servitude in Lebanon and Oman. In recent years, traffickers
           the Secretariat from the DOI to a dedicated office in the MHA, as
                                                                                          lure Rwandan women to Zambia with promises of refugee status and
           mandated under Zambian law. The Secretariat reported a lack of funding
                                                                                          coerce them into registering as DRC nationals seeking refugee status in
           hampered its efforts to effectively collect human trafficking data across
                                                                                          Zambia. They are subsequently exploited in sex trafficking, threatened
           agencies and appoint trafficking in persons focal points in each province.
                                                                                          with physical abuse, and reported to immigration officials for fraudulent
           The Committee created a subcommittee to develop mechanisms for
                                                                                          refugee claims. Traffickers increasingly exploit victims from Tanzania and
           protecting Zambian workers abroad, and the government signed a
                                                                                          Malawi in the Zambian timber industry. PRC nationals bring PRC women
           bilateral agreement with the Government of Seychelles to prevent
                                                                                          and girls to Zambia for sexual exploitation in brothels and massage
           potential exploitation of Zambian migrant workers. Pandemic-related
                                                                                          businesses in Lusaka; traffickers use front companies posing as travel
           restrictions hampered collaboration and awareness raising efforts, but the
                                                                                          agencies to lure PRC victims and coordinate with Zambian facilitators
           government adapted by holding virtual meetings and awareness events.
                                                                                          and middlemen. Indian-Zambian nationals operating in India facilitate
           The government contributed in-kind resources to awareness campaigns            illegal adoption of Indian children for the purpose of exploiting them
           facilitated by NGOs and international organizations, including public          in domestic servitude in Zambia.
           events and TV and radio programs. The government did not operate
           a hotline speciﬁcally for potential victims of trafficking; however,
           NGO-operated hotlines reported receiving 75 calls related to human
           trafficking. Of these calls, 15 calls were reported to law enforcement,         ZIMBABWE: TIER 2 WATCH
           resulting in three prosecutions and one conviction. The Employment
           Act set forth requirements for the regulation of labor brokers and              LIST
           prohibited labor brokers from charging prospective employees for
           any services rendered; however, the act allowed recruiters to charge
                                                                                          The Government of Zimbabwe does not fully meet the minimum
           workers 5 percent from their ﬁrst wage. The act also required a security
                                                                                          standards for the elimination of trafficking but is making signiﬁcant
           bond be paid by recruiters taking Zambian workers out of the country.
                                                                                          efforts to do so. These efforts included investigating and prosecuting
           The Ministry of Labor and Social Services (MOL) continued to regularly
                                                                                          human trafficking cases and conducting training for law enforcement,
           conduct inspections and investigations of labor brokers throughout the
                                                                                          immigration officials, and other key anti-trafficking officials. However,
           country to enforce recruitment regulations and prevent fraudulent job
                                                                                          the government did not demonstrate overall increasing efforts compared
           offers that may lead to exploitation. The MOL conducted 1,800 labor
                                                                                          with the previous reporting period, even considering the impact of the
           inspections in 2021, compared to 922 in 2020; however, the government
                                                                                          COVID-19 pandemic, on its anti-trafficking capacity. The government did
           did not report identifying any victims of forced or child labor during
           these inspections. In 2021, the MOL employed 240 labor inspectors, who         not amend its anti-trafficking law to criminalize all forms of trafficking.
           were not trained on identifying human trafficking, compared with 154           The government did not identify any trafficking victims or provide care
           employed the previous year. In partnership with various stakeholders, the      for victims in its designated shelter. The government did not convict
           government conducted an assessment in the Eastern Province of Zambia           any traffickers. Therefore Zimbabwe remained on Tier 2 Watch List for
           of increased ﬂows of irregular migration, which resulted in a collaborative    the second consecutive year.
           effort with an international organization to repatriate Ethiopian nationals,
           including a portion who were identiﬁed as trafficking victims. The
           National Committee on Human Trafficking generated a national report
           on trafficking in persons for 2020, which remained pending release due

 598                                                                                                                                   Haiti AR_001079
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 704 of 729




                                                                                                                                                               ZIMBABWE
                                                                                the previous reported period. The government did not report convicting
        ZIMBABWE TIER RANKING BY YEAR                                           any traffickers for forced labor or sex trafficking, compared with one
    1                                                                           conviction in the previous reporting period. The government did not
    2
                                                                                report the status of ﬁve ongoing prosecutions initiated in 2020. The
                                                                                pandemic severely curtailed investigations and operation of courts
  2WL                                                                           during the reporting period, resulting in a backlog of trafficking cases.
    3                                                                           Despite continued urging from victims to take action in the 17 alleged
           2015     2016     2017       2018   2019   2020    2021    2022      trafficking cases of Zimbabwean women exploited in Kuwait in 2016 and
                                                                                the victims’ stated willingness to participate in the trials, the government
                                                                                did not do so for the ﬁfth consecutive year. The government arrested a
                                                                                Zimbabwean labor recruiter for recruiting Zimbabwean women to work
PRIORITIZED RECOMMENDATIONS:                                                    in Oman, where they were allegedly exploited in domestic servitude;
Amend the anti-trafficking law to criminalize all forms of trafficking in
                                                                                the case remained pending at the end of the reporting period. The
line with the 2000 UN TIP Protocol. • Renew, implement, and allocate
                                                                                government reported collaborating with the Governments of South
sufficient resources to the anti-trafficking national action plan (NAP).
                                                                                Africa, Botswana, and Oman on investigations involving trafficking of
• Expedite trafficking cases in courts to address the signiﬁcant backlog
                                                                                Zimbabwean victims.
of cases. • Increase collaboration with, and provide ﬁnancial or in-kind
support to, NGOs that assist trafficking victims. • Increase efforts            The government did not report any investigations, prosecutions, or
to investigate and prosecute trafficking crimes, including complicit            convictions of government officials complicit in human trafficking
government officials and individuals who purchase commercial sex from           crimes; however, corruption and official complicity in trafficking crimes
children, through adequately funding law enforcement and developing             remained signiﬁcant concerns, inhibiting law enforcement action
capacity to conduct thorough investigations using enhanced evidence             during the year. Observers reported the government did not have a
collection. • Provide specialized training to law enforcement, labor            system to investigate and prosecute complicit officials. Reportedly,
inspectors, prosecutors, and judiciary officials on human trafficking           senior government officials obstructed investigations into allegations
investigations and prosecutions, particularly as distinct from labor            of child labor violations on farms in Mazowe district. For the fourth
law and immigration violations, and on a victim-centered approach to            consecutive year, the government did not investigate serious, credible
investigations and prosecutions. • Train frontline workers to proactively       claims that complicit magistrates, judges, and senior government
identify trafficking victims among vulnerable populations, including            officials undermined judicial independence, including by bribing judges
orphaned children, migrant workers, and Cuban medical workers, and              with farms and homes. Military officers patrolling the Beitbridge border
refer them to appropriate services using the national referral mechanism        post received bribes to facilitate unauthorized crossings, including in
(NRM). • Implement and consistently enforce strong regulations and              past years from organized criminal groups likely transporting victims
oversight of labor recruitment companies, including by eliminating              of human trafficking. During the previous reporting period, an NGO
recruitment fees charged to migrant workers and holding fraudulent              assisted four potential labor trafficking victims allegedly exploited
labor recruiters criminally accountable. • Establish shelters for trafficking   on a member of Parliament’s farm; the government did not report
victims in each province and actively refer identiﬁed victims to care.          any action to investigate the allegations by the end of the reporting
• Develop mutual legal assistance treaties and other agreements to              period. Officials accepted bribes to not inspect farms and businesses
facilitate information gathering and sharing with foreign governments.          that used exploitative labor practices. Observers reported that children
• Collect data on human trafficking trends within Zimbabwe to better            taken to one of the government-operated vulnerable children’s homes
inform government anti-trafficking efforts.                                     were allegedly forced to work on citrus farms in Mazowe. Violent gangs
                                                                                forced workers into labor in some artisanal and defunct gold mines,
PROSECUTION                                                                     operating with impunity due to their connections to police and local
The government maintained mixed anti-trafficking law enforcement                politicians who allegedly accepted bribes and allowed individuals to
efforts. Zimbabwean law criminalized some forms of sex trafficking              enter the mines and work without oversight. Trafficking victims reported
and labor trafficking. Inconsistent with international law, the 2014            law enforcement threatened and intimidated them when they tried to
Trafficking in Persons Act deﬁned trafficking in persons as a movement-         report their cases.
based crime and did not adequately deﬁne “exploitation.” The 2014 act           With support from an international organization, the government
criminalized the involuntary transport of a person and the voluntary            reported training 500 police officers, 10 immigration officers, and 20
transport for an unlawful purpose, into, outside, or within Zimbabwe.           members of the Anti-Trafficking Inter-Ministerial Committee (ATIMC)
The focus on transport and the inadequate deﬁnition of “exploitation”           on trafficking, including topics such as anti-trafficking laws, victim
left Zimbabwe without comprehensive prohibitions of trafficking crimes.         interviewing, and the NRM. However, observers reported the government
The law prescribed penalties of 10 years to life imprisonment, which            lacked systematic procedures to effectively investigate cases and
were sufficiently stringent and, with respect to sex trafficking crimes,        immigration officials lacked capacity to detect and investigate trafficking.
commensurate with penalties for other serious crimes, such as rape.             Because law enforcement and prosecutors lacked specialized training,
Zimbabwe’s Labor Relations Amendment Act criminalized forced labor              they routinely prosecuted trafficking cases as wage infractions or
and prescribed penalties of up to two years’ imprisonment, which were           immigration violations.
not sufficiently stringent. The Criminal Law (Codiﬁcation and Reform)
Act criminalized procuring a person for unlawful sexual conduct, inside         PROTECTION
or outside of Zimbabwe, and prescribed penalties of up to two years’            The government demonstrated negligible victim identiﬁcation and
imprisonment; these penalties were not sufficiently stringent when              protection efforts. For the second consecutive year, the government
applied to cases of sex trafficking. The act also criminalized coercing         did not report identifying any trafficking victims. NGOs reported the
or inducing anyone to engage in unlawful sexual conduct with another            Ministry of Public Service, Labor, and Social Welfare (MPSLSW) referred
person by threat or intimidation, prescribing sufficiently stringent            six trafficking victims for services. Media reported the government
penalties of one to ﬁve years’ imprisonment. For the third consecutive          identiﬁed at least 18 Zimbabwean victims abroad through investigations;
year, the government made no progress passing its 2019 draft Trafficking        repatriation efforts remained ongoing at the end of the reporting period.
in Persons Act Amendment Bill. The government did not consult civil             After reports of numerous Zimbabwean women exploited in Oman in
society during drafting, which several organizations viewed as an               domestic servitude, the government dispatched an investigative team
intentional move to avoid addressing deﬁciencies in farming and mining          to engage with the Omani government, identify additional victims, and
laws that facilitate forced labor.                                              facilitate repatriation. NGO-operated hotlines identiﬁed and referred
The government reported investigating seven trafficking cases, including        an additional 51 trafficking victims to care. NGOs and international
three cases of forced labor and four cases of sex trafficking, compared         organizations provided all care for trafficking survivors, including
with initiating none in the previous reporting period. The government           shelter, food, medical treatment, family reuniﬁcation and reintegration,
initiated prosecutions of four suspects, compared with none initiated in        counseling, and income-generating assistance; government social
                                                                                                                                  Haiti AR_001080              599
               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 705 of 729
ZIMBABWE   workers facilitated access to government beneﬁts. Shelters and services          its Consular Assistance course. The government did not make efforts
           for trafficking, domestic violence, and gender-based violence (GBV)              to reduce the demand for commercial sex acts.
           victims were available to males and females, nationals and foreigners,
           irrespective of the victim’s participation in legal proceedings. Additionally,   TRAFFICKING PROFILE
           NGOs reported pandemic lockdowns restricted their ability to identify            As reported over the past ﬁve years, human traffickers exploit domestic
           victims and provide services during the reporting period. For at least           and foreign victims in Zimbabwe, and traffickers exploit victims from
           the ﬁfth consecutive year, the government relied on NGOs and foreign             Zimbabwe abroad. Internal trafficking is prevalent and underreported.
           donors to fund trafficking victim services; organizations struggled to           Traffickers exploit Zimbabwean adults and children in sex trafficking and
           operate without adequate and consistent ﬁnancial support, and some               forced labor, including in cattle herding, domestic service, and mining
           could only provide short-term care. While the government had one                 in gold and diamond sectors. More than 71 percent of child labor occurs
           operational shelter that could accommodate 30 GBV and trafficking                in the agriculture sector, including on tobacco, sugarcane, and cotton
           victims and 24 vulnerable children’s homes, these shelters did not report        farms, as well as in forestry and ﬁshing sectors, where children weed,
           providing care for any trafficking victims during the reporting period. The      spray, harvest, and pack goods. Some of these children are victims of
           2014 anti-trafficking act required the government to establish service           forced labor, including some who work on small, unregulated farms.
           centers in each of Zimbabwe’s 10 provinces and provide counseling                Due to pandemic-induced school closures and worsening economic
           and reintegration services to survivors; however, the government had             conditions, observers reported child sex trafficking and child labor
           not established these centers.                                                   likely increased, particularly in agriculture, domestic service, informal
                                                                                            trading, begging, and artisanal mining. Children ages 9 to 14 work
           The government continued to use the NRM, which outlined standard
                                                                                            as nannies, housemaids, and gardeners in urban areas and mining
           operating procedures for the identiﬁcation, referral, and assistance
                                                                                            communities; some employers force children to work by withholding
           of victims. The government did not report if the technical steering
                                                                                            wages, denying them access to school, and subjecting them to GBV.
           committee for trafficking victim protection, led by the MPSLSW, met
                                                                                            Several traditional practices rendered young girls vulnerable to forced
           during the reporting period. The MPSLSW had a system whereby an
                                                                                            labor and sex trafficking, including the practice of trading daughters
           NGO and a Department of Social Development caseworker jointly
                                                                                            for food or money, using them as “replacement” brides for a deceased
           handled each reported potential trafficking case, but it did not use the
                                                                                            family member, and for ngozi, a reconciliation process where a family
           system in practice. The government had policies to encourage victim
                                                                                            gives a family member to another family to make amends for a murdered
           cooperation in investigations and prosecutions, but police unfamiliarity
                                                                                            relative. Traffickers exploit women and girls from Zimbabwean towns
           with trafficking crimes often caused re-victimization or re-traumatization
                                                                                            bordering South Africa, Mozambique, and Zambia in forced labor,
           of trafficking victims during the legal process. Courts had a separate
                                                                                            including domestic servitude, and sex trafficking in brothels catering
           room for victims to testify separately from their alleged perpetrators, and
                                                                                            to long-distance truck drivers on both sides of the border.
           victims could choose to testify via video; however, observers reported
           not every court had access to the necessary equipment, especially in             Traffickers exploit child laborers working as gold-panners and ore
           rural areas, and the government did not report whether any victims               couriers by providing inadequate compensation, stealing their income,
           utilized these services during the reporting period. While the trafficking       exacerbating food insecurity, and forcing them to take drugs to perform
           act required judges to order compensation from convicted traffickers             strenuous tasks. Near gold and diamond mines, traffickers force children
           to their victims, no judge did so. The government did not have legal             to sell illicit drugs, which increased during the pandemic. Illegal mining
           alternatives to repatriation for foreign trafficking victims, even if they       syndicates exploit Zimbabweans in trafficking. Experts estimate
           would face retribution or hardship in their countries of origin.                 thousands of children have joined illegal diamond mining syndicates
                                                                                            in the Marange ﬁelds in Chiadzwa since March 2020; some syndicates
           PREVENTION                                                                       target vulnerable populations, including illiterate individuals, and
           The government decreased efforts to prevent trafficking. The ATIMC               transport them to the mines at night to disorient potential victims and
           served as the national coordinating body for all anti-trafficking activities,    prevent their escape. Armed gangs known as “Mashurugwi” lure young
           and its secretariat led the government’s trafficking efforts, including          men to abandoned gold mines through promises of self-employment
           overseeing awareness-raising events. The ATIMC met twice during the              but force them to work the artisanal gold mines with threats of violence
           reporting period. While the government launched its 2019-2021 NAP in             and death. Child vendors, some of whom walk more than 25 kilometers
           the previous reporting period, the government did not operationalize             per day to sell goods or offer cooking and cleaning services to miners,
           it due to funding limitations. The government, in collaboration with an          are exploited by sex traffickers in illegal mining areas or by long-
           international organization, provided training to members of the ATIMC.           distance truckers who transport coal and minerals. Girls as young as 12
           While the pandemic imposed restrictions on gatherings, international             are exploited in sex trafficking along the Harare-Chinhoyi highway, in
           organizations reported the continued lack of political will, resources,          the informal settlement of Caledonia, and in gold mining communities
           and staff contributed to the ATIMC’s inaction. The government raised             in Mashonaland East, Mazowe, Bindura, and Shurugwi. During the
           public awareness of human trafficking through exhibitions at two trade           pandemic, organizations and media identiﬁed hundreds of children in
           and agricultural fairs.                                                          sex trafficking near the Mazowe mines. Miners force girls to enter into
                                                                                            coercive “relationships” where they are sexually exploited in exchange for
           The government continued to lack the political will to address child and
                                                                                            money and food and sometimes forced to assist with mining operations.
           forced labor, particularly in agriculture. During the previous reporting
                                                                                            In Chiredzi, sex traffickers recruit girls as young as 11 from surrounding
           period, a tripartite committee of government, labor unions, and business
                                                                                            areas. Children were forced to engage in sexual acts in exchange for
           representatives determined the MPSLSW would lead efforts to raise
                                                                                            water in Chitungwiza.
           awareness of child and forced labor among the tobacco industry and
           conduct regular inspections; however, the ministry took no steps to              Traffickers use false promises of legitimate employment opportunities,
           do so. The government did not report the number of labor inspections             particularly in nursing, including through social media and messaging
           conducted during the reporting period, compared with 1,860 labor                 applications, to lure Zimbabweans into sex trafficking and forced
           inspections in the previous reporting period, none of which identiﬁed            labor in neighboring countries, particularly South Africa, and the
           any cases of forced or child labor. Inspectors had the authority to              Middle East. In South Africa, traffickers exploit Zimbabweans for labor
           monitor private farms and homes for underage or forced child domestic            without pay in agriculture, construction, factories, mines, information
           labor but did not report doing so. The government opened a criminal              technology, and hospitality businesses. Syndicates operating in South
           investigation into a fraudulent recruiter during the reporting period            Africa recruit undocumented Zimbabwean migrants with promises
           but did not report any efforts to regulate labor recruiters to address           of legitimate employment in mining and force them into labor in
           fraudulent recruitment. The government did not report contributing               the illegal mining industry. Due to economic conditions caused by
           information to a regional centralized anti-trafficking database, despite         the pandemic, undocumented Zimbabwean women and children
           doing so in previous years. The government began conducting anti-                increasingly travel to South Africa for employment, where their lack
           trafficking trainings for diplomats assigned to foreign missions through         of legal status increases their vulnerability to traffickers. Facilitators
                                                                                            recruit and transport Zimbabwean migrants to South Africa, where

 600                                                                                                                                    Haiti AR_001081
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 706 of 729




                                                                                                                                                           SPECIAL CASE: LIBYA
international criminal syndicates subject them to sex trafficking in         GOVERNMENT EFFORTS
Musina, Pretoria, Johannesburg, and Durban. Traffickers have exploited       Lack of institutional capacity, as well as lack of Libyan law enforcement,
Zimbabwean women in domestic servitude, forced labor, and sex                customs, and military personnel, especially along the country’s borders,
trafficking in Iraq, Kenya, Kuwait, Saudi Arabia, Oman, the People’s         hindered authorities’ efforts to combat human trafficking crimes.
Republic of China (PRC), and Uganda, often under the guise of legitimate     Libyan law criminalized some forms of sex trafficking but did not
employment. Zimbabwean labor recruiters recruit Zimbabwean women             criminalize labor trafficking. Articles 418, 419, and 420 of the penal
for exploitation in domestic servitude in Oman, where their passports        code criminalized some forms of sex trafficking involving women and
are conﬁscated, and they are forced to work without pay. Traffickers         prescribed penalties of up to 10 years’ imprisonment and a ﬁne, which
use fraudulent scholarship schemes to lure Zimbabwean students to            were sufficiently stringent and commensurate with penalties prescribed
Cyprus ostensibly for educational purposes and exploit them in forced        for other serious crimes, such as rape. However, inconsistent with
labor and sex trafficking. Media reported Zimbabweans living abroad,         international law, the deﬁnition of trafficking within these provisions
particularly in the United Kingdom and Ireland, trick Zimbabweans to         required transnational movement of the victim and did not criminalize
travel abroad under the pretenses of tourism or legitimate employment        sex trafficking acts that were induced through fraudulent or coercive
and force them into domestic servitude. Traffickers recruit Zimbabwean       means. The law did not criminalize sex trafficking involving adult male
girls into neighboring countries with promises of marriage and, during       victims. Article 425 criminalized slavery and prescribed penalties of ﬁve
marriage, force them into domestic work.                                     to 15 years’ imprisonment. Article 426 criminalized the buying and selling
Zimbabwe is a transit country for Somalis, Ethiopians, Malawians, and        of slaves and prescribed penalties of up to 10 years’ imprisonment. These
Zambians en route to exploitation in South Africa. Zimbabwe is also          penalties were sufficiently stringent and, with respect to sex trafficking,
a destination country for forced labor and sex trafficking. Traffickers      commensurate with penalties prescribed for other serious crimes.
subject Mozambican children to forced labor in street vending, including     Libya’s criminal judicial system was not fully functioning in 2021, nor
in Mbare, the largest informal market in Harare. Mozambican children         were there administrative units and courts speciﬁcally dedicated to
who work on relatives’ farms in Zimbabwe are often undocumented              overseeing human trafficking cases. Law enforcement and judicial
and cannot enroll in school, which increases their vulnerability of          authorities often lacked the knowledge and understanding of the
trafficking. In prior years, there were reports of refugees from Somalia     crime of human trafficking. The Ministry of Interior (MOI), which was
and the Democratic Republic of the Congo traveling from Zimbabwe’s           nominally responsible for anti-trafficking law enforcement efforts, was
Tongogara Refugee Camp to Harare, where traffickers exploited them.          limited in its ability to carry out anti-trafficking operations. Although
Refugees and asylum-seekers are not permitted bank accounts and              entities such as the Ministry of Justice (MOJ) and Office of the Attorney
experience difficulties in obtaining identiﬁcation documents, which limits   General issued arrest warrants for alleged perpetrators of various crimes
employment opportunities and increases vulnerability to trafficking.         including trafficking, limited policing capacity hindered the government’s
Traffickers force some PRC nationals to work in restaurants in Zimbabwe.     ability to pursue these trafficking cases. During the reporting period,
Construction and mining companies owned by both PRC nationals                the Attorney General’s Office announced the arrest of two suspects
and PRC parastatal entities in Zimbabwe reportedly employ practices          for trafficking and migrant smuggling and related crimes including the
indicative of forced labor, including verbal, physical, and sexual abuse,    torturing, extortion, and killing of migrants; in both cases, the suspects
as well as coercion to induce work in unsafe or otherwise undesirable        remained in pre-trial detention at the end of the reporting period. Law
conditions. Cuban nationals working as doctors in Zimbabwe may have          enforcement functions sometimes fell to disparate armed groups, which
been forced to work by the Cuban government.                                 received salaries from the government and performed their activities
                                                                             without formal training and with varying degrees of accountability.
                                                                             The MOI and MOJ’s human rights offices, which continued to function
                                                                             throughout the reporting period, were mandated to raise awareness of
 SPECIAL CASE: LIBYA                                                         human rights violations including human trafficking crimes; however,
                                                                             international NGOs reported the offices lacked the capacity to carry
Libya is a Special Case for the seventh consecutive year. The Libyan         out their mandates. Perpetrators committing human rights abuses,
Government of National Unity (GNU), established through a UN-led             including human trafficking crimes, generally operated with impunity.
process in March 2021, did not effectively govern large swaths of            The government did not publicly report statistics on prosecutions or
Libyan territory, as it did not exercise control in several parts of the     convictions of trafficking offenders, including government officials and
country. The judicial system was not fully functioning, as courts in         government-aligned militias that were allegedly complicit in trafficking
major cities throughout the country have not been operational since          crimes; the government has never reported prosecuting or convicting
2014. Although the government and non-state actors largely upheld            anyone for forced labor or sex trafficking crimes. As in previous years,
the October 2020 ceaseﬁre agreement, isolated violence throughout            international organizations and foreign governments facilitated anti-
the country and political strife between the Tripoli-based GNU and rival     trafficking training for some legislators and government officials during
eastern institutions, including the self-styled Libyan National Army         the reporting period.
(LNA) and the House of Representatives-appointed Government of               International observers continued to report systemic and prevalent
National Stability, continued to foment instability during the reporting     complicity of government officials in human trafficking, including
period. Financial or military contributions from other states in the         Libyan Coast Guard (LCG) officials, immigration officers, security
region continued to destabilize the country, with Turkey supporting the      officials, Ministry of Defense (MOD) officials, members of armed groups
GNU, and Russia, the United Arab Emirates, and Egypt supporting the          formally integrated into state institutions, and officials from the MOI and
LNA, although some military support abated following the ceaseﬁre.           MOI’s Department to Combat Illegal Migration (DCIM). Various armed
Extra-legal armed groups, including foreign mercenaries, continued to        groups, militias, and criminal networks inﬁltrated the administrative
ﬁll a security vacuum across the country; such groups varied widely in       ranks of the government and abused their positions to engage in illicit
their make-up and the extent to which they were under the direction          activities, including human trafficking and alleged unlawful child soldier
of state authorities. These disparate groups committed various human         recruitment and use. Several credible sources continued to report that
rights abuses, including unlawful killings, forcible recruitment, forced     DCIM detention center guards and administrative staff forced detained
labor, and sex trafficking. Impunity by those committing abuses against      migrants to work at these detention centers and at third locations, such
civilians was a pervasive problem. There were continued reports that         as farms and construction sites. An NGO reported that refugees and
criminal networks, militia groups, government officials, and private         migrants as young as 14 years old, detained in DCIM detention centers
employers exploited migrants, refugees, and asylum-seekers in sex            in 2021, were forced to carry out construction or cleaning work in sites
and labor trafficking. Endemic corruption and militias’ inﬂuence over        such as military encampments and farms. There were reports that DCIM
government ministries contributed to the GNU’s inability to effectively      staff at detention centers contracted armed groups and militias—some
address human trafficking.                                                   of whom likely had ties to human trafficking networks—to provide
                                                                             security services at individual detention centers. Reports also suggested
                                                                             staff in some DCIM migrant detention centers in western Libya coerced
                                                                                                                              Haiti AR_001082              601
                           Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 707 of 729
               LIBYA
         CASE:LIBYA    detainees to clean and load weapons during active hostilities. In addition,        sea; however, the government’s procedures for disembarked migrants
                       DCIM guards and staff systematically subjected migrants detained in                remained unclear and put migrants further at risk of exploitation.
                       DCIM detention centers to sex trafficking and other forms of sexual                In addition, an NGO reported the quick and chaotic nature of
                       exploitation; guards and staff coerced women, girls, men, and boys to              disembarkation hampered the ability of international organizations to
                       perform sexual favors in exchange for essentials such as food, clean               assess speciﬁc needs and vulnerabilities, monitor violations, or record
                       water, and at times, their freedom. An NGO reported DCIM guards and                claims for protection before refugees and migrants were funneled into
 SPECIALCASE:


                       military officials also “sold” at least one female detainee to outside             detention; the NGO also reported refugees and migrants were unable
                       individuals who then exploited the woman in sex trafficking. In April              to conﬁdentially raise concerns, report abuse, or seek protection. The
                       2021, authorities released from prison the UN-sanctioned commander                 government continued to operate a limited number of social rehabilitation
                       of the Zawiya Libyan Coast Guard (LCG), arrested in October 2020                   centers for women in commercial sex and victims of sex trafficking and
                       for trafficking crimes—including selling female migrant detainees into             other forms of sexual abuse; however, these centers reportedly operated
                       sexual slavery—citing lack of evidence; media reported the government              as de facto prisons, and international observers continued to document
SPECIAL




                       promoted the commander while he was in detention.                                  incidents of abuse in these centers.
                       The government arrested, detained, deported, or otherwise punished                 Libya is a party to the 2000 UN TIP Protocol, but the government lacked
                       victims for unlawful acts traffickers compelled them to commit, such               the institutional capacity and resources to prevent human trafficking.
                       as immigration and prostitution violations and alleged affiliation to              The GNU did not have a national coordinating body responsible for
                       armed groups. During the reporting period, the government, at times                combating human trafficking. The government did not conduct any
                       working with local militias, deported Sub-Saharan African migrants—a               public anti-trafficking awareness campaigns, nor did it take actions to
                       population highly vulnerable to trafficking—without screening for                  reduce the demand for commercial sex acts or child sex tourism. The
                       trafficking indicators. Reports indicate authorities sometimes expelled            government did not report steps to prevent the recruitment and use of
                       migrants outside of official deportation procedures, including at times            children by militia groups, armed groups affiliated or aligned with the
                       leaving migrants in the desert at the Niger border. In January 2022,               government, or other armed groups operating throughout the country.
                       the UN estimated more than 12,000 migrants and refugees—many of                    During the reporting period, the GNU continued to partner with some
                       whom were unidentiﬁed trafficking victims—were held officially in 27               European countries to disrupt human trafficking and migrant smuggling
                       prisons and detention centers across Libya where armed groups and                  operations, reducing irregular migration ﬂows across the Mediterranean
                       government officials subjected them to a wide range of abuses including            over previous years. However, some European and international NGOs
                       sex trafficking and forced labor; the UN estimates thousands more are              criticized this cooperation, citing severe security and human rights
                       held illegally in facilities controlled by armed groups or in secret facilities.   conditions and an increased risk of trafficking for migrants forced to
                       Despite previous announcements the government would close detention                remain in Libya. The government did not provide anti-trafficking training
                       centers rife with abuse, international organizations and NGOs reported             for its diplomatic personnel.
                       the government opened new detention centers with repeated patterns
                       of abuse or re-opened centers that had been closed because of past                 TRAFFICKING PROFILE
                       human rights violations; DCIM also legitimized and integrated informal             As reported over the past ﬁve years, human traffickers exploit domestic
                       sites previously run by affiliated militias without holding any individuals        and foreign victims in Libya. Instability, conﬂict, and lack of government
                       accountable for abuses committed while operating detention centers.                oversight and capacity in Libya continued to allow for human trafficking
                       DCIM-run detention facilities suffered from massive overcrowding, lack             crimes to persist and be highly proﬁtable for traffickers. Trafficking
                       of basic infrastructure, dire sanitation problems, and food shortages.             victims—both adults and children—are highly vulnerable to extreme
                       Detainees, including trafficking victims, had limited access to medical            violence and human rights abuses in Libya by governmental and non-
                       care, legal aid, and other forms of protective services. During the                state armed groups, including physical, sexual, and verbal assault;
                       reporting period, DCIM allowed international organizations and NGOs                abduction for ransom; extortion; arbitrary killings; inhumane detention;
                       to conduct limited protection monitoring and medical visits to DCIM                and child soldiering. Credible reports since 2013 indicate numerous
                       detention centers; however, authorities frequently denied humanitarian             armed groups and militias, some of which are used as combat forces
                       actors access to DCIM centers or otherwise signiﬁcantly constrained                or security enforcement by the government, recruit and use children.
                       their ability to provide regular protection services. Detainees did not            During previous reporting periods, an international organization veriﬁed
                       have access to immigration courts or other forms of due process. No                former Government of National Accord (GNA), LNA, GNA-affiliated armed
                       DCIM detention centers employed female guards, except for the Tariq                groups, and LNA-affiliated armed groups all recruited and used child
                       al-Sekka detention center; the lack of female personnel at the majority            soldiers. In 2018, an international organization documented incidents
                       of detention centers and environment of impunity for sexual violence               in which local armed groups forcibly recruited boys 13-15 years old.
                       contributed to the increased vulnerability of female detainees to abuse            Sources continue to report Chadian mercenary groups recruit children as
                       and exploitation. In October 2021, security forces conducted mass raids            young as 13 years old as combatants. Uncorroborated media reports in
                       to round up undocumented and documented migrants and asylum-                       2018 also claimed that ISIS trained and used children in suicide attacks,
                       seekers—including trafficking victims—in Tripoli, using excessive and              to ﬁre weapons, and to make improvised explosive devices. Children
                       lethal force and causing casualties resulting in the arrest and detention in       associated with armed groups in Libya are also reportedly exposed
                       DCIM centers of more than 5,000 individuals; international organizations           to sexual violence. IDPs, including both Libyans and foreigners, are
                       reported these raids pushed already vulnerable individuals to unwittingly          vulnerable to both labor and sex trafficking. As of November 2021, there
                       seek aid from traffickers to avoid arrest and detention.                           were an estimated 179,047 IDPs in Libya, of whom 92 percent were
                                                                                                          displaced due to the deterioration of security conditions in the country.
                       The government did not have any policy structures, institutional capacity,
                       widespread political will, or resources to proactively identify and                Migrants in Libya are extremely vulnerable to sex and labor trafficking,
                       protect trafficking victims among vulnerable groups, such as migrants,             including those seeking employment in Libya or transiting Libya en
                       refugees, and asylum-seekers; women in commercial sex; and children                route to Europe. Migrants living in Libya are vulnerable to exploitation
                       recruited and used by armed groups. The government did not report                  by state and non-state actors, including employers who refuse to
                       identifying any victims nor providing foreign trafficking victims with             pay laborers’ wages. As of October 2021, international organizations
                       legal alternatives to their removal to countries where they could face             estimated there were at least 610,128 migrants and 41,000 refugees and
                       hardship or retribution. Libyan authorities continued to cooperate                 asylum-seekers in Libya. Migrant workers in Libya typically come from
                       with international organizations to repatriate, resettle, or evacuate              Sub-Saharan and Sahel states. Informal recruitment agencies recruit
                       some migrants, which likely included unidentiﬁed trafficking victims;              undocumented migrants to work in the agriculture, construction, and
                       however, the government suspended international organization-operated              domestic work sectors; the lack of government oversight and workers’
                       voluntary return ﬂights several times throughout the reporting period.             undocumented status increase migrants’ vulnerability to trafficking. The
                       The government allowed international organizations to be present at                country continues to serve as a departure point for migrants, including
                       some of the official disembarkation points along the western coastline             unaccompanied children, crossing the Mediterranean to Europe from
                       where migrants arrived after the LCG intercepted or rescued them at                North Africa; the number of sea departures from Libya to Europe

    602                                                                                                                                               Haiti AR_001083
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 708 of 729




                                                                                                                                                              SPECIAL CASE: SOMALIA
increased in 2021 by 150 percent, in part due to decreased economic            recruit Nigerian girls from rural regions of the country and facilitate
opportunities in Libya and the region. Elements of the LCG reportedly          the transportation of the girls through Libya for sex trafficking in Italy
work with armed groups and other criminals, including traffickers, to          and other European countries.
exploit migrants for proﬁt. There are ﬁnancial incentives for smugglers
and traffickers to prevent the disembarkation of migrants transiting
the Mediterranean and to return migrants to Libya for detention and
further exploitation. An international organization reports the LCG             SPECIAL CASE: SOMALIA
intercepted and returned 32,425 refugees and migrants to Libya in
2021, an increase of 173 percent compared to 11,891 in 2020. Since 2019,
                                                                               Somalia remains a Special Case for the 20th consecutive year. The
due to violence and localized conﬂict, as well as pandemic-related
                                                                               country continued to face protracted conﬂict, insecurity, and ongoing
border closures and movement restrictions, traditional smuggling and
                                                                               humanitarian crises, while the ongoing COVID-19 pandemic exacerbated
trafficking routes became more clandestine, creating greater risks and
                                                                               the crises and further hampered government, international community,
dangers for migrants.
                                                                               and NGO operations. The Federal Government of Somalia (FGS)
Various armed groups, criminal gangs and networks, tribal groups,              controlled its capital city, Mogadishu, and Federal Member State (FMS)
smugglers, and traffickers cooperate and compete in the smuggling              governments retained control over their respective capitals. The FGS had
and trafficking of migrants to and through Libya, while carrying out           limited inﬂuence outside Mogadishu. Al-Shabaab, an al-Qa’ida-affiliated
serious human rights abuses and violations against migrants, including         terrorist organization based in Somalia, continued to occupy and control
torture, sexual abuse and exploitation, rape, extortion, ransom, theft,        many rural areas and maintained freedom of movement in other areas,
and forced labor. International organizations report smugglers and             including south-central Somalia. The group exploited the local population
traffickers trade migrants and refugees within illicit networks, while         by collecting illegal “taxes” from businesses, conducting indiscriminate
holding them in inhumane conditions. Highly organized trafficking              attacks against civilians and civilian infrastructure across the country,
networks subject migrants to forced labor and sex trafficking through          and perpetrating human trafficking. The sustained insurgency by al-
fraudulent recruitment, conﬁscation of identity and travel documents,          Shabaab continued to be a signiﬁcant obstacle to the government’s
withholding or non-payment of wages, debt-based coercion, and verbal,          ability to address human trafficking. The government continued nascent
physical, and sexual abuse. In some cases, migrants reportedly pay             improvements to civilian justice systems and criminal investigation
smuggling fees to reach Tripoli, but once they cross the Libyan border         programs to address most crimes; however, it also conﬂated human
they are sometimes abandoned in southern cities or the desert where            trafficking and migrant smuggling, hindering the effectiveness of its
they are susceptible to severe forms of abuse, including human trafficking.    anti-trafficking efforts. Government complicity in trafficking crimes and
                                                                               limited ability to counter the recruitment and use of child soldiers by
Several credible sources continue to report that migrants held in detention
                                                                               al-Shabaab also continued to hamper anti-trafficking efforts. Overall, the
centers controlled by both the DCIM and non-state armed groups and
                                                                               government demonstrated minimal efforts in all regions on prosecution,
militias were subject to severe abuse, rampant sexual violence, and
                                                                               protection, and prevention of human trafficking.
forced labor. An unknown number of migrants are also held in criminal
prisons affiliated with the MOJ, MOI, and MOD. Private employers and
DCIM officials use detained migrants for forced labor in domestic work,        GOVERNMENT EFFORTS
garbage collection, construction, road paving, and agriculture. According      FGS and FMS authorities sustained minimal efforts to combat trafficking
to international observers, detention center operators also force migrants     during the reporting period. Law enforcement, prosecutorial personnel,
to provide ancillary services to armed groups, such as offloading and          and courts remained understaffed and undertrained and lacked capacity
transporting weapons, cooking food, cleaning, and clearing unexploded          to effectively enforce anti-trafficking laws. The FGS continued to lack
ordnance; armed groups also forcibly recruit detained migrants. Once           a comprehensive legal framework to address human trafficking. The
the work is completed, employers and detention center officials return         pre-1991 penal code—applicable at the federal and regional levels—
the migrants to detention. In some cases, detained migrants are forced         criminalized labor trafficking and some forms of sex trafficking. Article
to work or exploited in sex trafficking in exchange for basic necessities      455 criminalized slavery, prescribing penalties of ﬁve to 20 years’
or their release from prison. An international organization reported most      imprisonment. Article 464 criminalized forced labor, prescribing penalties
detained migrants are Sub-Saharan Africans and that they are treated           of six months to ﬁve years’ imprisonment. Article 457 criminalized the
in a harsher manner than other nationalities, suggesting discriminatory        transferring, disposing, taking possession, or holding of a person and
treatment. In November 2017, an international media outlet released            prescribed penalties of three to 12 years’ imprisonment. All these penalties
a video depicting unidentiﬁed individuals “selling” African migrants           were sufficiently stringent. Article 408(1) criminalized compelled
reportedly for labor in an undisclosed location in Libya. Furthermore, an      prostitution of a person through violence or threats, prescribing
international organization reported in 2017 that many militias in Libya        penalties of two to six years’ imprisonment, which were sufficiently
ﬁll their ranks with migrants from Niger, Nigeria, and Chad to perform         stringent but not commensurate with those prescribed for other serious
labor or to serve in other non-combat roles. During the reporting period,      crimes, such as rape. The provisional constitution prohibited slavery,
there were reports Chadian mercenary groups in Libya fraudulently              servitude, trafficking, and forced labor under Article 14. Article 29(6)
recruited and “sold” newly recruited ﬁghters between Chadian and               under the provisional constitution prohibited the use of children in
Libyan armed groups, mostly affiliated with the LNA; some recruits             armed conﬂict. In November 2017, the Puntland FMS ratiﬁed a human
reported being forced to engage in criminal activities. In November            trafficking legislative framework after three years of consultations with
2020, an NGO reported a UAE-based private security ﬁrm fraudulently            an international organization. The legal framework was composed of
recruited more than 390 Sudanese nationals to ﬁght in Libya for the            new penal and criminal procedure codes and a law that speciﬁcally
LNA and guard oil facilities in Ras Lanuf; the Sudanese recruits believed      prohibited trafficking; however, international organizations continued
they would be working as security guards in the UAE.                           to report authorities had not yet implemented the anti-trafficking law.

There is reportedly a high prevalence of sexual assault and other              Similar to previous years, neither the FGS nor the FMS gathered or shared
forms of sexual violence and exploitation of female migrants along the         comprehensive statistics on investigations, prosecutions, or convictions
migration routes to Libya and in DCIM-run and militia-run detention            related to trafficking. During the reporting year, the FGS Office of the
facilities in Libya; perpetrators of sexual violence against female migrants   Attorney General (AGO) reported 30 trafficking investigations, compared
include various armed groups, smugglers, traffickers, and MOI officials.       with one forced labor investigation and 479 arrests related to immigration
International NGOs also report migrant men and boys are increasingly           violations, which may have included potential trafficking crimes or
vulnerable to rape and other forms of sexual abuse. Commercial sex             penalized potential unidentiﬁed victims, in 2020. Of the 30 investigations,
rings reportedly subject Sub-Saharan women and girls to sex trafficking        nine involved forced labor; the government did not report any other case
in brothels, particularly in the towns of Ubari, Sebha, and Murzuq in          details. The government reported 21 investigations remained ongoing
southern Libya; Nigerian women and girls are at increased risk of sex          from the previous reporting period; however, the government did not
trafficking in Libya. According to a European NGO, Nigerian gangs              provide updates on these cases. The AGO reported prosecuting 30
                                                                               alleged traffickers—of which nine involved forced labor—compared with
                                                                                                                                 Haiti AR_001084              603
                            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 709 of 729
SPECIAL CASE: SOMALIA   two trafficking-related prosecutions in 2020. The government convicted            was inactive during the reporting period. For the second consecutive
                        nine traffickers—the ﬁrst convictions reported since 2018. Officials              year, the government did not report whether its lead anti-trafficking
                        prosecuted and convicted traffickers under trafficking-related laws of            official, the special envoy for children and migrants’ rights, continued
                        the penal code (Articles 455-457) and false identity laws (Article 383);          to function; observers previously reported the special envoy’s role
                        however, the government did not report disaggregated case data or                 was possibly reduced. Additionally, the government did not report if
                        sentencing details. The government reported cooperating informally with           the Ministry of Women and Human Rights technical task force, which
                        officials in Libya, South Sudan, and Sudan on migration issues, which may         included a working group on human trafficking and migration, continued
                        have included potential trafficking crimes; however, the government did           to function, after reports indicated the group’s inactivity in the previous
                        not report any speciﬁc anti-trafficking law enforcement actions during            reporting period. A lack of technical expertise and limited capacity
                        the year. The government did not report any investigations, prosecutions,         continued to hinder the government’s overall efforts to develop and
                        or convictions of government employees complicit in human trafficking             coordinate effective anti-trafficking policy. For the second consecutive
                        offenses, including military officials for the unlawful recruitment and           reporting period, the FGS did not report conducting anti-trafficking
                        use of children; however, corruption and official complicity in trafficking       awareness campaigns during the reporting period, compared with
                        crimes remained signiﬁcant concerns, inhibiting law enforcement action            multiple campaigns targeting ﬁrst responders in 2019. The government
                        during the year.                                                                  did not operate a hotline to report human trafficking crimes or refer
                                                                                                          potential victims to services. The Ministry of Labor and Social Affairs,
                        The Somali Police Force (SPF) Criminal Investigations Department
                                                                                                          which established a labor inspectorate in 2020 and hired 35 labor
                        maintained a specialized anti-trafficking and migrant smuggling unit
                                                                                                          inspectors, remained without an operational budget. The government
                        in Mogadishu mandated to investigate potential cases of trafficking,
                                                                                                          did not report providing anti-trafficking training to labor inspectors or
                        which employed an unspeciﬁed number of police officers. The unit,
                                                                                                          identifying any potential trafficking crimes. The government did not
                        supported by an international organization and a foreign donor, did
                                                                                                          provide anti-trafficking training for its diplomatic personnel, nor did it
                        not report investigating any potential trafficking cases for the third
                                                                                                          make efforts to reduce the demand for commercial sex acts. Somalia
                        consecutive year, compared with 43 investigations in 2018. Observers
                                                                                                          was not a party to the 2000 UN TIP Protocol.
                        previously reported that the SPF regularly tasked the anti-trafficking
                        unit to undertake other assignments unrelated to human trafficking. In            The dire security situation and restrictions on movement of humanitarian
                        December 2021, the SPF, in partnership with foreign donors, established           actors continued to hamper comprehensive efforts to address the
                        a new specialized anti-trafficking and migrant smuggling unit in Puntland         unlawful recruitment and use of child soldiers during the year. Observers
                        and began developing an additional unit in South West State. Foreign              reported pandemic-related travel restrictions decreased general access to
                        donors and international organizations supported training for police              monitor the recruitment and use of children, while threats of recruitment
                        officers across the country on investigating and prosecuting human                and use of children increased during the pandemic. Al-Shabaab continued
                        trafficking crimes, international cooperation in trafficking cases, and           to commit the vast majority of violations, although reports continued
                        the distinction between migrant smuggling and human trafficking.                  of the Somali federal defense and police forces—which included the
                        Officials noted a lack of comprehensive training for FGS and FMS                  Somali National Army (SNA) and the SPF—Puntland forces and police,
                        officials, language constraints, and lack of personnel capacity limited           Jubaland forces, Galmudug forces and police, Hirshabelle police, and
                        the effectiveness of some training.                                               clan militias unlawfully recruiting and using child soldiers, many between
                                                                                                          10 and 17 years old. According to an international organization, state
                        Similar to previous years, the government did not systematically gather
                                                                                                          and non-state actors unlawfully recruited and used children in various
                        or report statistics for trafficking victims, and reporting remained largely
                                                                                                          roles, including as combatants, security escorts, checkpoint guards,
                        anecdotal. The government did not have standardized procedures to
                                                                                                          messengers, and cleaners; however, perpetrators used the majority of
                        identify or refer trafficking victims to protective services at any level,
                                                                                                          children for unknown purposes.
                        and all levels of government relied fully on international organizations
                        and NGOs to provide victim assistance and reintegration services. The             The government continued to implement the 2012 action plan to end
                        FGS did not possess sufficient ﬁnancial resources to provide direct               the unlawful recruitment and use of children by the SNA; however, the
                        services or auxiliary support to organizations assisting victims and              FGS exercised inconsistent command and control of SNA forces. In
                        vulnerable populations. The government reported identifying and                   2021, the government established a national children and armed conﬂict
                        referring 45 trafficking victims to services, compared with identifying           working group chaired by the Ministry of Defense and composed of
                        329 potential victims in 2020. Of the 45 victims identiﬁed, traffickers           representatives from the FGS, FMS, and international organizations. The
                        exploited nine in forced labor, and the type of trafficking for the other         national working group met four times to discuss internal organization
                        36 victims was unknown.                                                           structures and procedures to strengthen efforts to prevent the unlawful
                                                                                                          recruitment and use of child soldiers. The government also established
                        An international organization continued to operate Migration Response
                                                                                                          and regularly convened regional-level working groups but did not report
                        Centers (MRCs) in Mogadishu and Bosasso and provided services for
                                                                                                          any actions taken by these groups. The Ministry of Defense’s Child
                        transiting migrants, including potential trafficking victims. The MRCs
                                                                                                          Protection Unit (CPU), in partnership with international organizations
                        offered medical care, psycho-social counseling, and shelter, in addition
                                                                                                          and foreign donors, screened 3,296 SNA personnel at ﬁve military
                        to operating a hotline. The MRCs registered 12 vulnerable migrants in
                                                                                                          bases, compared with screening 4,899 personnel during the previous
                        Mogadishu and 2,631 vulnerable migrants in Bosasso; an international
                                                                                                          reporting period. The CPU identiﬁed and referred to care one child soldier
                        organization screened all registered migrants for trafficking indicators
                                                                                                          among those ranks, compared with no child soldier identiﬁcations in the
                        and reported identifying many individuals as potential trafficking
                                                                                                          previous reporting period. Most Somalis lacked birth certiﬁcates, and in
                        victims. Victim support varied signiﬁcantly across the country, and
                                                                                                          the absence of established birth registration systems or standardized
                        specialized care was sporadic due to limited availability of services in
                                                                                                          methods for recruitment, verifying claims of unlawful child soldiering
                        country; victims in areas not serviced by the MRCs had irregular access
                                                                                                          remained difficult. In 2018, the FGS undertook a process of biometric
                        to protective services. Due to a lack of formal identiﬁcation procedures,
                                                                                                          registration of SNA soldiers to validate their identities, force numbers,
                        authorities routinely arrested, detained, or deported unidentiﬁed
                                                                                                          locales, electronic payment accounts, and registered weapons to
                        trafficking victims for immigration violations, including possession of
                                                                                                          increase transparency and accountability in the security sector and curb
                        fraudulent visas; however, the government reportedly screened some
                                                                                                          the recruitment and use of child soldiers in the SNA. The government
                        detained individuals for trafficking indicators at ports of entry, particularly
                                                                                                          did not report implementing this biometric registration mechanism for
                        in Mogadishu. The government did not have a legal alternative to the
                                                                                                          the third consecutive reporting period, though some SNA units have
                        removal of foreign trafficking victims from Somalia to countries where
                                                                                                          reportedly enrolled in the system. In collaboration with an international
                        they may face hardship or retribution, nor did it provide government
                                                                                                          organization and foreign donors, the CPU continued to conduct training
                        beneﬁts or services to foreign victims.
                                                                                                          and awareness campaigns targeted toward hundreds of military and
                        The government maintained a ministerial-level task force, chaired by              community leaders to prevent the recruitment and use of child soldiers.
                        the Ministry of Internal Security, focused on migration issues, which             International organizations continued to report some government forces
                        included a working group on human trafficking; however, the group                 arrested and detained children for their actual or alleged association

    604                                                                                                                                                Haiti AR_001085
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 710 of 729




                                                                                                                                                               SPECIAL CASE: SOMALIA
with al-Shabaab and did not apply juvenile justice standards or adhere        United States does not recognize Somaliland as an independent nation,
to international obligations.                                                 nor does any other country.
                                                                              Somaliland’s “penal code” criminalized some forms of trafficking. Article
TRAFFICKING PROFILE                                                           464 criminalized forcing a person into or beneﬁtting from compulsory
 As reported over the past ﬁve years, human traffickers exploit domestic
                                                                              labor and prescribed penalties of six months to ﬁve years’ imprisonment
and foreign victims in Somalia, and traffickers exploit victims from
                                                                              and a ﬁne. Articles 455-458 criminalized reducing a person to slavery,”
Somalia abroad. Information regarding trafficking trends and victims
                                                                              “dealing in trading in slaves,” and “sale and purchase of slaves” and
in Somalia remains challenging to obtain or authenticate. Anecdotal
                                                                              prescribed penalties ranging from three to 20 years’ imprisonment.
evidence indicates al-Shabaab continues to facilitate human trafficking
                                                                              Article 407 criminalized instigating, aiding, facilitating, or exploiting the
crimes, using deception, inﬁltration of madrassas and mosques, coercion
                                                                              proceeds of prostitution, prescribing a punishment of two months to
or harassment of clan elders or family members, school raids, and
                                                                              two years’ imprisonment and a ﬁne. Inconsistent with international law,
abductions to recruit and subsequently force victims—including children
                                                                              the penal code appeared to require force, fraud, or coercion to prove
from south-central Somalia and Kenya—into sex trafficking, military
                                                                              an offense of child sex trafficking. These penalties were sufficiently
support roles, direct combat, and marriages to al-Shabaab militants.
                                                                              stringent but, with regards to sex trafficking, did not appear to be
Al-Shabaab continues to enslave an indeterminate number of young
                                                                              commensurate with those prescribed for other serious crimes, such as
girls and exploit them in forced marriage and sexual servitude. IDPs,
                                                                              rape. In January 2022, Somaliland’s parliament passed an anti-trafficking
certain minority and marginalized communities, people residing in
                                                                              law designed in consultation with an international organization in 2017;
al-Shabaab territory, and children remain the most vulnerable to sex
                                                                              the law remained pending the president’s signature at the end of the
trafficking and forced labor. Some Somalis willingly surrender custody
                                                                              reporting period. In the absence of an anti-trafficking law in previous
of their children to people with whom they share familial ties and clan
                                                                              years, Somaliland representatives relied predominantly on immigration
linkages and who may subsequently exploit some of these children in
                                                                              laws to prosecute trafficking crimes.
forced labor or sex trafficking. While many children work within their
own households or family businesses, some traffickers may force children      For the second consecutive year, Somaliland did not report any anti-
into labor in agriculture, domestic work, herding livestock, selling or       trafficking enforcement actions, compared with the arrest of six
portering Khat, crushing stones, or the construction industry. Somali         individuals in connection with an alleged human trafficking and migrant
children working in the informal sector are vulnerable to trafficking,        smuggling case in 2019. Somaliland representatives did not report any
as they often are driven by familial or economic pressure to seek             information regarding ongoing cases from prior reporting periods.
employment opportunities abroad. Economic migrants sometimes incur            Somaliland did not report any investigations, prosecutions, or convictions
debts under the trafficking scheme dubbed “go now, pay later” or through      of Somaliland representatives complicit in human trafficking crimes;
economic exploitation. According to an international organization,            however, corruption and complicity among Somaliland representatives
traffickers extort payments from families left behind or exert threats if     in trafficking crimes remained signiﬁcant concerns, inhibiting authorities’
they refuse or are unable to pay.                                             action during the year. An international organization reported Somaliland
                                                                              forces unlawfully recruited and used two child soldiers (between 10 and
Traffickers exploit victims from Somalia and neighboring countries along
                                                                              17 years old) during the reporting period. Somaliland did not report
cross-border routes, mirroring migration ﬂows: a northern route to Europe
                                                                              identifying any trafficking victims or efforts to provide protection
via Libya; an eastern route to Europe via Turkey; a direct southern path to
                                                                              services to victims. Somaliland did not have standardized procedures
Kenya, Tanzania, or South Africa; and a path from south-central Somalia
                                                                              to identify or refer trafficking victims to protective services, and officials
through Puntland onward to Yemen via the Bab el-Mandeb strait. In
                                                                              at all levels relied fully on international organizations and NGOs to
prior years, the FGS anecdotally reported fewer Somalis arrived in their
                                                                              provide victim assistance and reintegration services. International NGOs
intended destination countries but rather became stranded in transit
                                                                              continued to provide the Somaliland Immigration and Border Control
countries, increasing their vulnerability to trafficking. An international
                                                                              Agency with two buses to transport migrants and potential trafficking
organization reported pandemic-related travel restrictions and border
                                                                              victims from remote regions to more populated areas where they could
closures increased the number of migrants stranded in Somalia while in
                                                                              be provided with services. Potential trafficking victims in Somaliland
transit to their destination, leading migrant smugglers to charge higher
                                                                              received assistance at an international organization-run MRC in Hargeisa
fees for their services and increasing migrants’ vulnerability to forced
                                                                              until the MRC could reunite them with their respective families; the
labor and sex trafficking. Since the ongoing conﬂict in Ethiopia began in
                                                                              international organization registered 1,693 vulnerable migrants, which
November 2020, observers reported an increasing number of Ethiopians
                                                                              may have included potential trafficking victims, in Hargeisa in 2021.
stranded in Somalia, increasing their vulnerability to trafficking.
                                                                              The Somaliland Ministry of Justice, in partnership with international
Most trafficking networks continue to be organized by a combination           organizations, reportedly maintained a mixed migration task force that
of Somali, Djiboutian, Eritrean, and North African traffickers. Traffickers   could oversee trafficking-related issues; however, authorities did not
increasingly recruit individuals through social media platforms and travel    report the task force undertaking anti-trafficking efforts for the second
agencies, with a growing level of network sophistication. Traffickers         consecutive year. Somaliland representatives did not report conducting
also target and recruit children, without their parents’ awareness or         awareness campaigns, operating a hotline for trafficking victims, or
support, using false promises that no payment will be demanded                making efforts to reduce the demand for commercial sex acts.
until they reach their targeted destinations. Traffickers and smugglers
                                                                              As reported over the past ﬁve years, human traffickers exploit domestic
reportedly take advantage of the vulnerability of internally displaced
                                                                              and foreign victims in Somaliland and traffickers exploit victims from
women and children, mostly from southern and central Somalia, at times
                                                                              Somaliland abroad. Information regarding trafficking trends and victims
using false promises of lucrative jobs in Europe and North America.
                                                                              in Somaliland remains challenging to obtain or authenticate. Traffickers
Traffickers transport Somali women, sometimes via Djibouti, to the
                                                                              exploit women and children in domestic servitude and sex trafficking in
Middle East, where they frequently endure forced labor, including in
                                                                              Somaliland. International organizations report some women in Somaliland
domestic service, or sex trafficking. Traffickers subject Somali men to
                                                                              may act as recruiters and intermediaries to transport victims to Djibouti
forced labor in farming and construction in the Gulf States. Traffickers
                                                                              and Ethiopia for the purposes of forced labor in domestic work or sex
transport children to Djibouti, Saudi Arabia, and the UAE and force
                                                                              trafficking. Somaliland continues to receive economic migrants and
them to beg on the streets. Dubious employment agencies facilitate
                                                                              refugees from war-torn Yemen and the Oromia region of Ethiopia, in
human trafficking by targeting individuals desiring to migrate to the
                                                                              addition to returnees primarily from Yemen and Saudi Arabia; these
Gulf States or Europe for employment.
                                                                              populations remain vulnerable to human trafficking due to lack of
                                                                              documentation, job access, or education opportunities.
THE SOMALILAND REGION
The northwestern region of Somalia is administered as a self-declared
but unrecognized independent region. In 1991, members of the Somali
National Movement proclaimed the area an independent republic. The

                                                                                                                                 Haiti AR_001086               605
                          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 711 of 729
SPECIAL CASE: YEMEN
                                                                                                    2022, authorities arrested two males for allegedly exploiting a female in
                       SPECIAL CASE: YEMEN                                                          sex trafficking; the government reported it referred the case to judicial
                                                                                                    authorities where the case remained pending prosecution at the close
                      Yemen remains a Special Case for the seventh consecutive year. The civil      of the reporting period. One alleged perpetrator brought a female
                      conﬂict and humanitarian crisis in Yemen continued during the reporting       victim to a hotel for the purposes of commercial sex; law enforcement
                      period, while the COVID-19 pandemic exacerbated the crisis and further        authorities subsequently raided the hotel room and arrested the male
                      hampered both government and NGO operations. Information on                   and detained him pending prosecution. The government reported the
                      human trafficking in the country has been increasingly difficult to obtain    second perpetrator was arrested separately for participating in the
                      since March 2015, when much of the Republic of Yemen Government               crime. The government did not report any investigations, prosecutions,
                      (ROYG) took refuge in Riyadh following the takeover of Sana’a by              or convictions of government officials allegedly complicit in trafficking
                      Iranian-backed Houthi rebels and lost control of signiﬁcant portions of       crimes; however, corruption and official complicity in trafficking crimes
                      the country. Although a ROYG and Southern Transitional Council (STC)          remained signiﬁcant concerns, including the alleged recruitment and
                      power-sharing agreement returned the ROYG to its temporary capital of         use of child soldiers by the YAF, inhibiting law enforcement action
                      Aden in December 2020, implementation of the agreement remained               during the year. The government reported it received training from
                      incomplete at the close of the reporting period. Furthermore, de facto        an international organization on preventing the unlawful recruitment
                      control over territory in northern Yemen by the Houthis hindered the          or use of child soldiers and reintegrating former child soldiers but did
                      ROYG from exercising control over large portions of the country or            not report if it conducted training on trafficking for any government
                      adequately combating trafficking and collecting data on trafficking           officials or provided support to NGOs or international organizations
                      during the reporting period. NGOs and international organizations             that may have conducted anti-trafficking training throughout the year.
                      reported vulnerable populations in Yemen were at an increased risk            ROYG authorities and institutions that oversaw migrant ﬂows, provided
                      of human trafficking due to the protracted armed conﬂict, civil unrest,       services and protection to migrants, and assisted vulnerable groups—
                      lawlessness, and worsening economic conditions. During the reporting          which may have interacted with trafficking victims—exhibited minimal
                      period, the Yemen Armed Forces (YAF) continued recruiting or using            function during the year. The government had limited capacity to identify
                      child soldiers. Migrant workers, especially women and children from the       and provide adequate protection services to trafficking victims among
                      Horn of Africa who remained or arrived in Yemen during the reporting          vulnerable groups, such as women in commercial sex and migrant
                      period, may have endured intensiﬁed violence. Due to pandemic-                workers, some of whom were in transit to the Gulf States. However, the
                      related border closures and movement restrictions, many migrants              government reported some efforts to protect potential and identiﬁed
                      traveling through Yemen to Gulf countries were stranded in Yemen,             trafficking victims, as well as vulnerable migrants who were stranded
                      heightening their risk to trafficking. The international organizations and    in Yemen due to pandemic-related movement restrictions during the
                      NGOs remaining in Yemen focused primarily on providing humanitarian           year. The government reported the female victim identiﬁed as part of
                      assistance to the local population and lacked adequate resources and          the sex trafficking case mentioned above was returned to her family
                      capacity to gather reliable data on human trafficking. Most Yemenis           following police intervention; however, the government did not report
                      required all types of assistance and basic social services, as the national   whether the victim was provided protective services. In addition, the
                      infrastructure had collapsed.                                                 government reported coordinating with an international organization,
                                                                                                    funded by a foreign government, to assist Gulf-bound undocumented
                      GOVERNMENT EFFORTS                                                            migrants with medical assistance and referrals to hospitals during the
                      Due to the protracted conﬂict and tenuous political situation, the            year. Although formal standard operating procedures for proactive
                      government faced serious challenges to combat trafficking, including          identiﬁcation of trafficking victims existed, the government did not
                      substantial internal security threats, weak institutions, systemic            make efforts to implement or train law enforcement on these procedures
                      corruption, economic deprivation, food insecurity, social disintegration,     due to prolonged unrest; consequently, some potential victims—such
                      limited territorial control, and poor law enforcement capabilities.           as women in commercial sex, migrant workers, and vulnerable migrants
                      Although the ROYG exercised only nominal control over government-             traveling to the Gulf through Yemen—may have remained unidentiﬁed
                      controlled areas and formal state institutions, increased government          within the law enforcement system. Furthermore, the government was
                      reporting suggests some, albeit limited, capacity to address trafficking      not able to encourage victims to assist in investigations or prosecutions
                      in persons. The absence of a law criminalizing all forms of trafficking and   of traffickers and was ﬁnancially unable to help its nationals repatriated
                      the government’s conﬂation of human trafficking with migrant smuggling        after enduring trafficking abroad.
                      hindered government efforts to investigate and prosecute trafficking
                      offenders. Article 248 of the penal code criminalized slavery and             Due to its broad lack of access and capacity limitations, as well as
                      prescribed penalties of up to 10 years’ imprisonment; these penalties were    the ongoing conﬂict, the government did not make sufficient efforts
                      sufficiently stringent and, with respect to sex trafficking, commensurate     to prevent trafficking during the reporting period. The government
                      with the penalties prescribed for other grave crimes, such as rape.           maintained the National Committee to Combat Human Trafficking
                      But Article 248 narrowly focused on transactions and movement, and            pursuant to the Council of Ministers Decision No.46 of 2012; its
                      therefore did not criminalize many forms of labor and sex trafficking         members included governmental and nongovernmental interlocutors.
                      as deﬁned under international law. Article 279 criminalized child sex         The government reported the committee was unable to meet due to
                      trafficking under its prostitution provision and prescribed penalties of      pandemic-related mitigation measures, unstable conditions in the
                      up to seven years’ imprisonment, which could be increased to up to 15         country, the lack of functioning state institutions, and the need to
                      years’ imprisonment under aggravating circumstances; these penalties          prioritize the worsening humanitarian crisis. A draft national strategy to
                      were sufficiently stringent and commensurate with those prescribed for        combat trafficking initiated by the Ministry of Human Rights in a previous
                      other serious crimes, such as rape. In 2014, the government adopted           reporting period, in coordination with an international organization,
                      a bill that it subsequently referred to the Parliament, which aimed to        remained pending. The draft included plans for raising awareness,
                      combat all forms of trafficking, protect and assist victims, generate         increasing cooperation between Yemen and neighboring countries,
                      societal awareness of the risks of trafficking to reduce the incidence        training officials in victim identiﬁcation, and instituting procedures
                      of the crime, and promote national cooperation.                               to protect victims. The government did not provide anti-trafficking
                                                                                                    training to its diplomatic personnel and did not make efforts to reduce
                      Although the ROYG had some oversight over its court system, experts           the demand for commercial sex acts.
                      noted that due to the conﬂict-inﬂicted infrastructure damage, severe
                      staff shortages, ﬁnancial and security challenges, weak law enforcement       During the reporting period, both government-aligned and militia forces
                      capacity, and the fragmented nature of authority in several areas in          continued to unlawfully recruit and use child soldiers. Since the escalation
                      Yemen, the government was unable to ensure judicial institutions              of armed conﬂict in March 2015, human rights organizations reported
                      functioned fully across the country during the year. Despite this             all parties to the conﬂict continued their unlawful recruitment and use
                      limitation, for the ﬁrst time since 2010, the government reported efforts     of child soldiers. However, documentation of such cases remained
                      to investigate and prosecute traffickers during the year. In February         challenging due to intensiﬁed military campaigns, security threats
                                                                                                    against the monitors and communities of interest, continued access
   606                                                                                                                                           Haiti AR_001087
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 712 of 729




                                                                                                                                                           SPECIAL CASE: YEMEN
restrictions, and waves of increasing COVID-19 infections. As a result       Tihamah region located on the west coast of Yemen, many of whom
of its limited capacity and the ongoing conﬂict, the ROYG did not            remained displaced and highly vulnerable to exploitation, including
implement a 2014 UN action plan to end the recruitment and use of            trafficking. In July 2021, rights groups reported Saudi Arabia began
child soldiers, although it continued to express interest in revitalizing    to terminate or not renew contracts of Yemeni professionals in the
the discussion on implementation. In 2018, the government entered            country following a policy change that required businesses to limit
into an agreement with the UN on a roadmap for implementation of             the percentage of their workers from certain nationalities, including
the existing action plan to prevent the recruitment and use of child         Yemen. Due to Saudi Arabia’s visa sponsorship system, workers who
soldiers. During the reporting period, the government held a two-day         were terminated or unable to renew their contracts had to ﬁnd another
workshop of the Joint Technical Committee of the Government of Yemen         employer to act as a sponsor to avoid leaving the country or risked
to discuss priority activities to expedite the implementation of the 2014    detainment and deportation if found to be residing illegally. Furthermore,
national action plan (NAP) and 2018 related roadmap. An international        Yemeni workers who chose to stay in Saudi Arabia without legal status
organization welcomed the government’s renewed engagement to                 increased their vulnerability to exploitation and trafficking. As the
implement the NAP and roadmap but remained concerned that political          civil war in Yemen continued, Yemeni workers who were forced to
impediments in the south continued to hinder its implementation. Due         return because they could not ﬁnd employment or were deported by
to continued military activity by government and Houthi forces, tribal       Saudi authorities likely faced famine, extreme violence, and increased
elements, and other foreign-backed militias during 2021, the recruitment,    vulnerability to exploitation upon their return. Similar to 2020, movement
training, and mobilization of children as participants in the conﬂict by     restrictions and border closures related to the pandemic led to a low rate
nongovernmental armed forces and by affiliated governmental armed            of migrant arrivals in Yemen during the current reporting period; a total
forces continued. An international organization reported armed groups        of 27,693 people arrived in 2021, a decrease from 37,535 arrivals in 2020.
used boys mostly in combatant roles, to guard checkpoints or to              Like previous years, most migrants were from Ethiopia and Somalia.
drive military vehicles, and forced other children to carry out support
                                                                             In 2021, an international organization reported large groups of migrants
duties, such as delivering supplies, escorting, and logistics. During the
                                                                             stranded in traditional transit hubs due to border closures, as well as
reporting period, an international organization noted the heightened
                                                                             impacts to internal migrant ﬂows due to escalating military campaigns.
use of “summer camps” by the Houthis to recruit, indoctrinate, and
                                                                             Many migrants remained stranded, living in overcrowded informal
use children; Houthis ran 186 “summer camps” that were documented
                                                                             settlements, detained by smugglers and traffickers, and subsequently
during the reporting period and attended by children ages 10 to 15.
                                                                             forcibly transferred across the frontlines of the conﬂict. An international
Reportedly, these camps were held in schools with the objective to
                                                                             organization estimated nearly 35,000 migrants were stranded in 2021
deliver cultural, ideological, political, and religious sessions and, in
                                                                             throughout the country, facing heightened vulnerability to exploitation
some cases, military and combat training. During the reporting period,
                                                                             and trafficking. Moreover, during the reporting period, there continued
cases of the unlawful recruitment and use of child soldiers occurred
                                                                             to be reports of migrants subjected to sex trafficking, forced labor,
with some familial knowledge or consent, and monetary and material
                                                                             physical and sexual abuse, and abduction for ransom. Due to a decrease
support were reportedly incentives for joining both the Houthis and
                                                                             in migrants transiting through Yemen, an international organization
the YAF. According to an international organization, between April
                                                                             continued to report traffickers were increasingly forcing migrant women
and December 2021, armed groups unlawfully recruited and used at
                                                                             to work off debts on farms or moving them to cities to work as domestic
least 54 children between the ages of 9 and 17, compared with at least
                                                                             laborers, subjecting them to debt bondage. During the reporting period,
118 from the previous reporting period who were between the ages
                                                                             both the pandemic and the country’s civil war continued to generate
of 12 and 17. Despite challenges in documenting information due to
                                                                             a substantial ﬂow of reverse migration for migrants who originated in
continued persistent security threats and pandemic-related movement
                                                                             the Horn of Africa, speciﬁcally Ethiopia. An international organization
restrictions, the recruitment and use of children remained a signiﬁcant
                                                                             reported it repatriated 2,027 Ethiopian migrants in 2021. However,
concern during the reporting period; in addition, the age at which
                                                                             repatriations to Ethiopia were placed on hold due to conﬂict in the
children were being recruited and used by the Houthis dropped to
                                                                             country, pushing some migrants to seek irregular pathways to return
the age of 9, indicating the deeply concerning effect of the ongoing
                                                                             home by engaging with smugglers, putting them at risk of exploitation.
conﬂict on children in Yemen. Recruitment and use of child soldiers were
                                                                             In 2021, approximately 11,620 migrants returned to the Horn of Africa
reportedly attributed to Houthis and affiliated factions, the government’s
                                                                             via smuggling boats. Since the escalation of armed conﬂict in March
YAF, and Security Belt Forces. In 2021, Yemeni officials did not report
                                                                             2015, human rights organizations reported all parties to the conﬂict
demobilizing any child soldiers. In the previous reporting period, the
                                                                             continued their unlawful recruitment and use of child soldiers. However,
government operated a Saudi-funded interim care center in Marib to
                                                                             documentation of such cases remained challenging during the reporting
assist former child soldiers; however, the center was not operational
                                                                             period due to intensiﬁed military campaigns, security threats against
during the reporting period while it underwent a comprehensive review.
                                                                             the monitors and communities of interest, continued access restrictions,
It is expected to resume services in 2022. In contrast, an international
                                                                             and waves of increasing COVID-19 infections. Civil society organizations
organization reported instances of YAF detaining boys for their alleged
                                                                             and media outlets assessed in the previous reporting period that
association with an opposition armed group in the conﬂict; the boys were
                                                                             traffickers had increasingly targeted Yemeni children since the civil
between the ages of 14 and 17, and some were reportedly interrogated
                                                                             war commenced and that children were disproportionately affected
and suffered ill-treatment before they were released. Detention ranged
                                                                             by its protracted escalation.
from two days to six months.

TRAFFICKING PROFILE
As reported over the past ﬁve years, human traffickers exploit domestic
and foreign victims in Yemen, and traffickers exploit victims from Yemen
who reside abroad. The ongoing conﬂict, lack of rule of law, economic
degradation, pervasive corruption, and fractional territorial control
have disrupted some trafficking patterns and exacerbated others. Prior
to the conﬂict, Yemen was a transit point and destination for women
and children, primarily from the Horn of Africa, who were exploited in
sex trafficking and forced labor. Many Ethiopians and Somalis traveled
voluntarily to Yemen with the hope of employment in Gulf countries;
traffickers exploited some of these migrants in forced labor and sex
trafficking in transit countries, reportedly most often in Yemen. Prior to
the conﬂict’s escalation and the government’s departure from Sana’a in
March 2015, Saudi Arabia allegedly deported Yemeni migrant workers
and returned them to Yemen through the al-Tuwal and al-Buq border
crossings. Most deportees reportedly returned to the impoverished
                                                                                                                              Haiti AR_001088              607
                                            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 713 of 729
RELEVANT INTERNATIONAL CONVENTIONS
                                     RELEVANT INTERNATIONAL CONVENTIONS
                                     The chart below shows the Ratiﬁcation, Accession (a), or Acceptance (A) of relevant international conventions for those countries that have ratiﬁed,
                                     acceded to, or accepted any such conventions between April 2021 and March 2022. A complete list that includes all of the countries covered by the
                                     Trafficking in Persons Report is available at: https://www.state.gov/international-and-domestic-law/#conventions.



                                                                    Optional
                                                                                  Optional
                                                                    Protocol
                                                                                  Protocol
                                                                    to the
                                                                                  to the                                                                  ILO
                                                     UN Protocol    Convention                                                               ILO
                                                                                  Convention                                                              Convention
                                                     to Prevent,    on the Rights                 ILO                                        Convention
                                                                                  on the                                                                  ,182
                                                     Suppress       of the Child                  Convention    2014 ILO Protocol of         ,105                        ,189 ILO Convention
                                                                                  Rights of the                                                           Elimination
                                     Country         and Punish     on the Sale                   Forced 29     to the Forced Labour         Abolition                   Domestic Workers
                                                                                  Child on the                                                            of Worst
                                                     Trafficking    of Children,                  Labour        Convention                   of Forced                   (2011)
                                                                                  involvement                                                             Forms of
                                                     in Persons     Child                         (1930)                                     Labour
                                                                                  of children                                                             ,Child Labor
                                                     (2000)         Prostitution                                                             (1957)
                                                                                  in Armed                                                                (1999)
                                                                    and Child
                                                                                  Conﬂict
                                                                    Pornography
                                                                                  (2000)
                                                                    (2000)


                                                                                                                                                                         2021 (will enter into
                                     Antigua and                                                               2021 (will enter into force                               force on 28 July
                                     Barbuda          2010          2002          —               1983         on 28 July 2022)              1983         2002           2022)

                                                                                                               2022 (will enter into force
                                     Australia        2005          2007          2006            1932                                       1960         2006           —
                                                                                                               on 31 March 2023)

                                                                                                               2022 (will enter into force
                                     Bangladesh       2019(a)       2000          2000            1972                                       1972         2001           —
                                                                                                               on 20 January 2023)

                                                                                                               2021 (will enter into force
                                     Comoros          2020(a)       2007 (a)      —               1978                                       1978         2004           —
                                                                                                               on 15 July 2022)

                                                                    9 March       29 March
                                     Fiji             2017(a)                                     1974         —                             1974         2002           —
                                                                    2021          2021

                                                                                                               2021 (entered into force
                                     Luxembourg       2009          2011          2004            1964                                       1964         2001           —
                                                                                                               on 18 March 2022)

                                                                                                               2022 (will enter into force
                                     Malaysia         2009(a)       2012(a)       2012(a)         1957                                       —            2000           —
                                                                                                               on 21 March 2023)

                                                                                                                                                                         2021 (will enter into
                                     Malta            2003          2010          2002            1965         2019                          1965         2001
                                                                                                                                                                         force on 14 May 2022)

                                                                                                                                                                         2021 (will enter into
                                     Norway           2003          2001          2003            1932         2015                          1958         2000
                                                                                                                                                                         force on 8 July 2022)

                                                                                                               2021 (will enter into force
                                     Peru             2002          2002          2002            1960                                       1960         2002           2018
                                                                                                               on 18 June 2022)

                                                                                                  2021 (will
                                                                                                  enter into
                                     Republic of
                                                      2015          2004          2004            force on     —                             —            2001           —
                                     Korea
                                                                                                  20 April
                                                                                                  2022)

                                                                                                               2021 (will enter into force
                                     Saudi Arabia     2007          2010(a)       2011(a)         1978                                       1978         2001           —
                                                                                                               on 26 May 2022)


                                                                                                               2021 (will enter into force                               2021 (will enter into
                                     Sierra Leone     2014          2001          2002            1961         on 25 August 2022)            1961         2011           force on 25 August
                                                                                                                                                                         2022)

                                                                                  16 Novem-
                                     Suriname         2007(a)       2012                          1976         2019                          1976         2006           —
                                                                                  ber 2021




      608                                                                                                                                                   Haiti AR_001089
        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 714 of 729




                                                                                                                                                INTERNATIONAL PEACEKEEPERS
STOPPING HUMAN TRAFFICKING AND SEXUAL
EXPLOITATION AND ABUSE BY INTERNATIONAL
PEACEKEEPERS AND CIVILIAN PERSONNEL
As required by law, this section summarizes actions taken by the UN, the North Atlantic Treaty Organization (NATO), and the OSCE to prevent
trafficking in persons or the exploitation of victims of trafficking.



                                    UNITED NATIONS                                     OSCE                                  NATO

Total Number of       75,252                                        3,603                                        20,967
Peacekeeping and
Support Personnel     (including 5,750 women)

Total Number of       12                                            14                                           2
Missions
Prevention Policy     “Special Measures for Protection from         “Code of Conduct for Staff and Mission       “NATO Policy on
                      Sexual Exploitation and Sexual Abuse”         Members”                                     Combating Trafficking in
                      (SEA) (2003)                                                                               Human Beings” (2004)


Lead Office           Department of Management Strategy, Policy     Office of Human Resources                    Human Security
Responsible for       and Compliance                                                                             Unit(political)
Implementation
                                                                                                                 International Military Staff
                                                                                                                 – Gender Advisor (Military
                                                                                                                 Advice)

                                                                                                                 Heads of NATO Military
                                                                                                                 Bodies (e.g. SACEUR, SACT)
Prevention            Pre-deployment and at mission, including a    Pre-deployment                               or preventing human
Training              new e-learning program                                                                     trafficking, conﬂict-related
                                                                                                                 sexual violence and SEA,
                                                                                                                 training is done via Pre-
                                                                                                                 deployment and during
                                                                                                                 any missions or operations.
                                                                                                                 Nations are responsible
                                                                                                                 for the provision of
                                                                                                                 pre-deployment training
                                                                                                                 of their personnel in
                                                                                                                 accordance with NATO
                                                                                                                 standards. Heads of NATO
                                                                                                                 Bodies are responsible for
                                                                                                                 providing training to their
                                                                                                                 personnel.
Number of             75 SEA allegations were made against          No reported allegations                      No reported allegations –
Allegations in 2021   military, police, and civilian personnel.                                                  NATO relies on contributing
                      The majority of the allegations were in                                                    countries to report
                      the Central African Republic (CAR), and                                                    allegations.
                      Democratic Republic of Congo (DROC).

                      25 of the allegations affected children.




                                                                                                                       Haiti AR_001090            609
                               Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 715 of 729
INTERNATIONAL PEACEKEEPERS

                                                             UNITED NATIONS                                       OSCE                                  NATO

                             New Initiatives   The Secretary-General, in September 2021,       The Secretariat developed and launched        2021 Conﬂict Related
                                               repatriated a contingent deployed to the        an online training module for OSCE staff      Sexual Violence policy
                                               Central African due to credible reports of      on trafficking in human beings. This is
                                               widespread SEA and due to history of non-       mandatory for all new OSCE employees.         2019 NATO Policy
                                               responsiveness by national authorities.                                                       on Preventing and
                                                                                               The Secretary General introduced a            Responding to Sexual
                                               Full-time Senior Victims’ Rights Officers       zero-tolerance policy to prevent sexual       Exploitation and Abuse
                                               were deployed to the CAR, Democratic            harassment in 2018 that was reiterated by
                                               Republic of the Congo, Haiti, and South         the new Secretary General upon taking         2022 – NATO will update
                                               Sudan to coordinate urgent medical care,        office in January 2021.                       it’s Combating Trafficking
                                               psychosocial support; facilitate access to                                                    in Human Beings policy
                                               legal aid; and provide livelihood support for   The staff instructions and revisions to the
                                               victims and their families.                     Code of Conduct are in preparation to be
                                                                                               adopted by the OSCE Permanent Council
                                               The Office of Internal Oversight Services,      in 2022.
                                               with the Department of Peace Operations
                                               and the Office of the High Commissioner          The Secretariat is also developing a staff
                                               for Human Rights, developed a “train-the-       instruction to prevent sexual exploitation
                                               trainer” program to strengthen the capacity     by staff and mission members.
                                               of member states to investigate complaints
                                               against deployed personnel. The training        Ongoing measures and training to ensure
                                               focuses on SEA and an emphasis on a             that procurement of the OSCE does
                                               victim-centered approach and standards of       not contribute to human trafficking or
                                               conduct expected of UN personnel.               forced labor; expanded initiative to ﬁeld
                                                                                               operations in 2021-2022.
                                               UNICEF, with other UN organizations,
                                               developed technical guidance on
                                               implementation of a UN protocol on
                                               provision of technical assistance to victims
                                               of SEA which was ﬁnalized and released
                                               with a training package launched in
                                               Democratic Republic of the Congo in late
                                               2021.

                                               The Office of the Victims’ Rights Advocate,
                                               in concert with the Office of Legal Affairs
                                               and other UN organizations, developed a
                                               roster of pro-bono lawyers and legal aid
                                               organizations to assist victims.
                              Links for         https://conduct.unmissions.org/                 http://www.osce.org/what/trafficking          http://www.nato.int/cps/
                              Additional                                                                                                      en/natolive/topics_50315.
                              Information                                                                                                     htm




     610                                                                                                                                      Haiti AR_001091
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 716 of 729




                                                                                                                                                   MULTILATERAL ORGANIZATIONS COMBATING TRAFFICKING IN PERSONS
INTERNATIONAL, REGIONAL, AND SUB-REGIONAL
ORGANIZATIONS COMBATING TRAFFICKING IN
PERSONS
 ORGANIZATIONS AND SELECTED
                                          FRAMEWORK DOCUMENT RELEVANT TO TIP                                                  TIP FOCAL POINT
 LINKS OF INTEREST
United Nations (UN)                      UN Convention and Protocol:                                                         UN Special
                                                                                                                             Rapporteur on
www.un.org                               Protocol to Prevent, Suppress and Punish Trafficking in Persons, Especially         Trafficking in
                                         Women and Children, Supplementing the United Nations Convention Against             Persons, Especially
United Nations Office on Drugs           Transnational Organized Crime (A/RES/55/25) (2000)                                  Women and
and Crime (UNODC) – Trafficking                                                                                              Children
in Persons                               United Nations Global Plan of Action to Combat Trafficking in Persons (A/
https://www.unodc.org/unodc/en/          RES/64/293) (2010)                                                                  UN Special
human-trafficking/index.html                                                                                                 Rapporteur on
                                         Political Declaration on the Implementation of the Global Plan of Action to         Contemporary
United Nations Office of the High        Combat Trafficking in Persons (2017) (A/RES/72/1)                                   Forms of Slavery
Commissioner on Human Rights
www.ohchr.org                            Political Declaration on the Implementation of the United Nations Global Plan of    UN Special
                                         Action to Combat Trafficking in Persons (2021) (A/76/L.11)                          Rapporteur on the
High-level Political Forum on SDGs                                                                                           Sale of Children,
                                         UNSC Resolutions:                                                                   Child Prostitution,
https://sustainabledevelopment.                                                                                              and Child
un.org/hlpf                              UNSC Resolutions on Trafficking in Persons in Conﬂict Situations 2331 (2016),       Pornography
                                         2388 (2017) and 2493 (2019 S/RES/2493)
The Inter-agency Coordination
Group against Trafficking in             UNODC Global Report on Trafficking in Persons (2020)
Persons (ICAT):
                                         Legislative Guide for the Implementation of the Protocol to Prevent, Suppress
http://icat.network/
                                         and Punish Trafficking in Persons, especially Women and Children (2020)
(ILO is listed under the UN box and is
                                         Model Legislative Provisions against Trafficking in Persons (2020)
not its own individual box)
                                         Female Victims of Trafficking for Sexual Exploitation as Defendants (2020)

                                         UNODC Toolkit for Mainstreaming Human Rights and Gender Equality into
                                         Criminal Justice Intervention to Address Trafficking in Persons and Smuggling
                                         of Migrants (2021)

                                         UN Sustainable Development Goal targets 5.2, 8.7, and 16.2 (SDGs)

                                         Toolkit on Trafficking in Persons for Organ Removal (2022)

                                         Conﬂict in Ukraine: Key evidence on risks of trafficking in persons (2022)
International Labour Organization        ILO Conventions:
(ILO)
                                         -C29 Forced Labour Convention (1930)
www.ilo.org
                                         -P029 Protocol of 2014 and Recommendation R203, supplementing the Forced
http://www.ilo.org/sapﬂ/                  Labour Convention (1930)
Informationresources/
ILOPublications/Byregion/Global/         -C105 Abolition of Forced Labour Convention (1957)
lang--en/index.htm
                                         -C182 Worst Forms of Child Labour Convention (1999)
http://www.ilo.org/dyn/normlex/
en/f?p=NORMLEXPUB:1:0                    -C189 Domestic Workers Convention, and its Recommendation R201 (2011)

                                         ILO training package on inspection of labour conditions on board ﬁshing vessels
                                         (2020)

                                         Making decent work a reality for domestic workers – Progress and prospects
                                         ten years after the adoption of the Domestic Workers Convention, 2011 (No.
                                         189) (2021)

                                         Child Labour: Global estimates 2020, trends and the road forward (2021)




                                                                                                                            Haiti AR_001092                           611
                                                                 Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 717 of 729
MULTILATERAL ORGANIZATIONS COMBATING TRAFFICKING IN PERSONS

                                                               ORGANIZATIONS AND SELECTED
                                                                                                    FRAMEWORK DOCUMENT RELEVANT TO TIP                                                 TIP FOCAL POINT
                                                               LINKS OF INTEREST
                                                              African Union (AU)                   Ouagadougou Action Plan to Combat Trafficking in Human Beings, Especially          N/A
                                                                                                   Women and Children (2006)
                                                              https://au.int/
                                                                                                   AU Commission Initiative against Trafficking Campaign (AU.COMMIT)

                                                                                                   October 1, 2020, Virtual Event, 2nd Virtual Technical Meeting on Data Collection
                                                                                                   on Irregular Migration and Associated Protection Risks towards the Production
                                                                                                   of a Statistical Report on Human Trafficking and Migrant Smuggling in the Horn
                                                                                                   of Africa and Surrounding Region

                                                                                                   January 23-24, 2020, Bishoftu, Ethiopia, National Stakeholder Workshop on the
                                                                                                   AU-Horn of Africa Mainstreaming Initiative for Countering Human Trafficking
                                                                                                   and Migrant Smuggling

                                                                                                   African Union Ten Year Action Plan on Eradication of Child Labour, Forced
                                                                                                   Labour, Human Trafficking and Modern Slavery in Africa (2020-2030)

                                                                                                   October 6-8, 2021 Technical Workshop of Senior Officials of AU Member States
                                                                                                   and RECs to Validate the Draft Policies on the Prevention of Trafficking in
                                                                                                   Persons (TIP) and Prevention of Smuggling of Migrants (SOM) in Africa
                                                              Khartoum Process                     Khartoum Process Factsheet

                                                              (EU/Horn of Africa Migration Route   Khartoum Declaration on AU-Horn of Africa Initiative on Human Trafficking and
                                                              Initiative)                          Smuggling of Migrants (2014)

                                                              https://www.khartoumprocess.net/     Valletta Summit Action Plan (2015)

                                                                                                   Valletta Summit Political Declaration (2015)

                                                                                                   EU-Africa Action Plan on Migration and Mobility (2014-2017)

                                                                                                   4-Module Webinar Series titled Trafficking in Human Beings: The 4Ps Revisited
                                                                                                   (March-April 2021)
                                                              Association of Southeast Asian       ASEAN Declaration Against Trafficking in Persons, Particularly Women and           ASEAN Senior
                                                              Nations (ASEAN)                      Children (2004)                                                                    Officials Meeting
                                                                                                                                                                                      on Transnational
                                                              www.asean.org                        ASEAN Convention Against Trafficking in Persons, Especially Women and              Crime
                                                                                                   Children (2015)

                                                                                                   ASEAN Plan of Action Against Trafficking in Persons, Especially Women and
                                                                                                   Children (2015)

                                                                                                   ASEAN Roadmap on the Elimination of the Worst Forms of Child Labour by
                                                                                                   2025 (2020)




           612                                                                                                                                                                 Haiti AR_001093
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 718 of 729




                                                                                                                                                  MULTILATERAL ORGANIZATIONS COMBATING TRAFFICKING IN PERSONS
 ORGANIZATIONS AND SELECTED
                                       FRAMEWORK DOCUMENT RELEVANT TO TIP                                                    TIP FOCAL POINT
 LINKS OF INTEREST
Bali Regional Ministerial             Co Chairs’ Statements of the ﬁrst (2002), second (2003), third (2009), fourth         Bali Process
Conference On People Smuggling,       (2011), ﬁfth (2013), sixth (2016) and seventh (2018) Declaration of the Seventh       Working Group
Trafficking in Persons and Related    Ministerial Conference of the Bali Process on People Smuggling, Trafficking in        on Trafficking in
Transnational Crime (Bali Process)    Persons and Related Transnational Crime (2018) Policy Guides & Handbooks:             Persons

www.baliprocess.net                   Guidelines for Information Sharing to Address People Smuggling, Trafficking in
                                      Persons and Related Transnational Crime

                                      Handbook on Addressing Irregular Migration through Effective Information
                                      Campaigns

                                      Policy Guides on Criminalizing Migrant Smuggling and Trafficking in Persons

                                      Policy Guides on Identiﬁcation and Protection of Victims of Trafficking

                                      Policy Guide on Following the Money in Trafficking in Persons Cases

                                      Policy Guide on Returns and Reintegration

                                      Protecting Migrants at Sea: Practical Guide to Fulﬁlling International Obligations

                                      Corruption as a facilitator of smuggling of migrants and trafficking in persons
                                      (2021)

                                      Compendium of Good Practice Examples to Combat Exploitation in Supply
                                      Chains (2021)
Colombo Process                       Colombo Process Member States identiﬁed concrete collaborative actions for
                                      advancing ethical recruitment (2017)
https://www.colomboprocess.org
                                      Colombo Process Member States gathered to discuss good practices as well as
                                      possible obstacles to migrant workers’ access to Complaints Mechanisms (2018)

                                      8th meeting of the Thematic Area Working Group (TAWG) on Fostering Ethical
                                      Recruitment Practices (FERP) (2021)
Commonwealth of Independent           Agreement on the Cooperation of the CIS Member States in Combating                    N/A
States (CIS)                          Trafficking in Persons, Human Organs and Tissues (2005)

www.cis.minsk.by/ (in Russian only)   Program of Cooperation between the CIS Member States against Trafficking in
                                      Persons for 2014–2018
Coordinated Mekong Ministerial        COMMIT Memorandum of Understanding on Cooperation Against Trafficking in              United Nations
Initiative against Trafficking        Greater Mekong Sub-Region (2004)                                                      Action for
(COMMIT)                                                                                                                    Cooperation
                                      COMMIT 4th Sub-Regional Plan of Action (COMMIT SPA IV 2015-2018)Victim                against Trafficking
http://un-act.org/                    Identiﬁcation and Referral Mechanisms: Common Guidelines for the Greater              in Persons
                                      Mekong Sub-region
                                                                                                                            Regional COMMIT
                                      Supporting the Reintegration of Trafficked Persons: A Guidebook for the               Task Force (TF)
                                      Greater Mekong Sub-Region:
Council of the Baltic Sea States      A Vision for the Baltic Sea region by 2020, CBSS Summit 2010                          Task Force against
(CBSS)                                                                                                                      Trafficking in
                                      Task Force against Trafficking in Human Beings Strategic Plan 2020-2025               Human Beings
https://cbss.org/our-work/safe-                                                                                             (TF-THB)
secure-region/anti-trafficking/       Human Trafficking 2020 – Baltic Sea Round-up Report
                                                                                                                            Expert Group on
                                      Guidelines for journalists reporting on cases of human trafficking: Media and         Children at Risk
                                      Trafficking in Human Beings (2019)
                                                                                                                            Task Force Against
                                      Joint Statement of commitment to work against human trafficking for labour            Trafficking in
                                      exploitation in the Baltic Sea Region (2021)                                          Human Beings




                                                                                                                           Haiti AR_001094                      613
                        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 719 of 729
CHILD SOLDIERS REPORT




    614                                                                                Haiti AR_001095
     Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 720 of 729




                                                                                                                                                       CHILD SOLDIERS REPORT
ANNUAL REPORT TO CONGRESS ON THE USE OF
CHILD SOLDIERS UNDER SECTION 405(C) OF THE
CHILD SOLDIERS PREVENTION ACT OF 2008

   This report is submitted in accordance with section 405(c) of the Child Soldiers Prevention Act of 2008 (22 U.S.C. 2370c-2(c)) (CSPA).
   Section 1 lists the countries identiﬁed as being in violation of the standards under the CSPA in 2021. Section 2 provides a description and the
   amounts of assistance withheld pursuant to section 404(a) of the CSPA. Section 3 provides a list of waivers or exceptions exercised under
   the CSPA. Section 4 contains the justiﬁcations for such waivers. Section 5 provides a description and the amounts of assistance provided to
   countries pursuant to such waivers.


SECTION 1. COUNTRIES IN VIOLATION OF THE STANDARDS UNDER THE CSPA IN 2021.
   The Secretary of State identiﬁed the following countries as having governmental armed forces, police, or other security forces or government-
   supported armed groups that recruited or used child soldiers within the meaning of section 404(a) of the CSPA during the reporting period of
   April 1, 2020 – March 31, 2021: Afghanistan, Burma, Democratic Republic of the Congo (DRC), Iran, Iraq, Libya, Mali, Nigeria, Pakistan, Somalia,
   South Sudan, Syria, Turkey, Venezuela, and Yemen.


SECTION 2. DESCRIPTION AND AMOUNT OF ASSISTANCE WITHHELD PURSUANT TO SECTION 404(A).
   No security assistance subject to section 404(a) of the CSPA was planned to be provided to Afghanistan, Burma, Iran, Libya, Mali, Syria, or
   Venezuela in ﬁscal year (FY) 2022.


SECTION 3. LIST OF WAIVERS OR EXCEPTIONS EXERCISED UNDER SECTION 404(A).
   On October 8, 2021, the President determined that it is in the national interest of the United States to waive the application of the prohibition
   in section 404(a) of the CSPA with respect to Iraq, Nigeria, Pakistan, and Turkey; and to waive the application of the prohibition in section
   404(a) of the CSPA with respect to the DRC to allow for the provision of International Military Education and Training (IMET) and Peacekeeping
   Operations (PKO) assistance, to the extent that the CSPA would restrict such assistance or support; to waive the application of the prohibition
   in section 404(a) of the CSPA with respect to Libya, Somalia, and Yemen to allow for the provision of IMET and PKO assistance and DoD
   support provided pursuant to 10 U.S.C. 333, to the extent that the CSPA would restrict such assistance or support; and to waive the application
   of the prohibition in section 404(a) of the CSPA with respect to South Sudan to allow for the provision of PKO assistance, to the extent that
   the CSPA would restrict such assistance or support. The President further certiﬁed that the governments of the above countries are taking
   effective and continuing steps to address the problems of child soldiers.
   On October 4, 2021, pursuant to a Presidential Delegation of Authority dated October 14, 2020, the Secretary of State determined that it is
   in the national interest of the United States to waive, in part, the application of the prohibition in section 404(a) of the CSPA with respect to
   Mali to allow for the issuance of licenses for direct commercial sales of military equipment, to the extent that the CSPA would restrict such
   assistance or support. The Secretary has further certiﬁed that the Government of Mali is taking effective and continuing steps to address the
   problem of child soldiers.


SECTION 4. JUSTIFICATIONS FOR WAIVERS AND EXCEPTIONS.
   MEMORANDUM OF JUSTIFICATION REGARDING THE PRESIDENT’S DETERMINATION AND CERTIFICATION PURSUANT TO THE CHILD
   SOLDIERS PREVENTION ACT OF 2008
   Pursuant to section 404 of the Child Soldiers Prevention Act of 2008 (CSPA) (22 U.S.C. 2370c-1), the President has determined that it is
   in the national interest of the United States to waive the application of the prohibition in section 404(a) of the CSPA with respect to Iraq,
   Nigeria, Pakistan, and Turkey; to waive, in part, the application of the prohibition with respect to the Democratic Republic of the Congo, Libya,
   Somalia, South Sudan, and Yemen; and to waive the application of the prohibition to allow for the issuance of licenses for direct commercial
   sales of military equipment related to other U.S. government assistance programs for such countries that are not subject to the prohibition
   in section 404(a). The President has further certiﬁed that the governments of the above countries are taking effective and continuing steps
   to address the problem of child soldiers. The justiﬁcation for this determination and certiﬁcation with respect to each country is set forth in
   this Memorandum.




                                                                                                                           Haiti AR_001096                 615
                        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 721 of 729
CHILD SOLDIERS REPORT
                        The Democratic Republic of the Congo (DRC)
                        The President has determined it is in the national interest of the United States to waive in part the application of the prohibition in section
                        404(a) of the CSPA with respect to DRC to allow for the provision of IMET and PKO assistance and has certiﬁed that the Government of the
                        DRC is taking effective and continuing steps to address the problem of child soldiers.
                        The DRC plays a critical role in regional stability and security as malign inﬂuences continue to expand in the region. President Felix Tshisekedi
                        has demonstrated that he is a willing partner committed to addressing instability and conﬂict in DRC but needs U.S. security assistance to
                        succeed in defeating armed groups threatening local populations, including ISIS-DRC, also known as the Allied Democratic Forces (ADF).
                        The country faces numerous longstanding challenges, including: inadequate infrastructure and human resources; the government’s inability
                        to project authority across the sizable country; corruption; a limited capacity to raise and manage revenues; outbreaks of infectious disease;
                        as well as the destabilizing activity of numerous armed groups. Unlike during the years under former President Kabila, senior Congolese
                        Armed Forces (FARDC) leadership now welcomes increased military cooperation with the United States. PKO and IMET funding for DRC
                        would enable the United States to continue to work to increase professionalization of the military, allowing it to provide security within its
                        territory while respecting human rights and international humanitarian law (IHL). In addition, PKO and IMET funding has supported areas such
                        as military justice, civil-military relations, human rights training, IHL training, English language training, military engineering, and resource
                        management and logistics, which not only enhances security provision, but also helps make the FARDC a more transparent, accountable
                        institution. Building on this successful cooperation, the United States signed a memorandum of understanding (MOU) with the Government
                        of DRC (GDRC) in August 2020, to launch new cooperation in civil military operations (CMO), strategic communications, engineering, and
                        English language training. We are also working with the FARDC to revamp their human resources infrastructure which, among other things,
                        would allow for enhanced accountability. President Tshisekedi has stated that he believes that improved security will enable health workers to
                        counter COVID and other global health threats, stem illicit mineral smuggling and other illicit trafficking of natural resources and transnational
                        criminal organizations, catalyze regional economic integration, and provide a much-needed boost to DRC’s development.
                        A secure DRC is essential to attracting the foreign investment and business necessary to leverage the country’s estimated $24 trillion in mineral
                        wealth and improve the welfare and livelihood of millions of Congolese people. Greater stability and self-reliance is one of our top strategic
                        objectives in the DRC. U.S. security assistance supports a more stable, democratically governed nation through improving the capacity and
                        governance of core national-level security institutions, creating an environment conducive to economic opportunities, responding to urgent
                        humanitarian needs, and addressing the root causes of conﬂict. As the DRC’s principal partner in ending three Ebola outbreaks and a major
                        contributor to humanitarian assistance overall, the United States can leverage existing relationships to multiply and synergize the impact of
                        PKO and IMET assistance. This waiver will allow the United States to provide security assistance that will support improving governance and
                        the rule of law, promoting peace and security, combating corruption, advancing respect for human rights, and creating conditions for greater
                        U.S. investment and economic growth. It also offers an opportunity to improve civil-military relations and inﬂuence the next generation of
                        FARDC leadership at a time when the government is undertaking initiatives to institute security sector reforms.
                        The GDRC is taking effective and continuing steps to address the problem of child soldiers and these efforts have accelerated since President
                        Tshisekedi took office in January 2019. The number of prosecutions of both state and armed group actors for crimes involving human rights
                        violations and abuses, including unlawful recruitment and use of children, is at an all-time high, as are the number of separations of children
                        from armed groups. During the reporting period, there were no cases of unlawful use of children by FARDC in combat roles. In a landmark
                        case, in November 2020 the government convicted ex-warlord and proliﬁc child soldier recruiter Ntabo Ntaberi Sheka and sentenced him to
                        life in prison. In December 2020, the Chair of the UN Working Group on Children in Armed Conﬂict welcomed “the continued commitment of
                        the [GDRC] to consolidate the gains of its action plan to end and prevent the recruitment and use of children, sexual violence and the other
                        four grave violations against children, to sustainably prevent the recruitment and use of children by its armed and security forces.” An August
                        2020 decree by the Minister of Defense reiterating the zero-tolerance policy for FARDC support for armed groups that unlawfully recruit or
                        use children led to the demobilization of 29 children from militias. Among the armed groups that most frequently use child soldiers in the
                        DRC are Nyatura, Mai Mai Mazembe, Apa Na Pale, Kamuina Nsapu, ADF and Congrès National pour le Renouveau et la Démocratie (CNRD),
                        which the FARDC are actively engaging to demobilize child soldiers. The government established a formal anti-trafficking inter-ministerial
                        committee that monitored shelters, coordinated with NGOs and international organizations to identify and protect victims and drafted and
                        launched the government’s ﬁrst national anti-trafficking action plan. In partnership with international organizations, the government also
                        continued to undertake measures to prevent and end the use of child soldiers, including separating child soldiers from non-state armed
                        groups, and conducting age veriﬁcation screening of recruits into the FARDC. Regarding the three cases of children used unlawfully by
                        FARDC officers in support roles, MONUSCO’s Child Protection Section concluded that there had not been a pattern of recruitment or use of
                        children and that military authorities took corrective action consistent with the national plan against the use of child soldiers. Additionally,
                        military courts continued to demonstrate their ability and willingness to prosecute FARDC soldiers implicated in crimes involving children by
                        initiating prosecutions of two FARDC soldiers accused of kidnapping children for the purpose of sexual enslavement and arresting an officer
                        for his alleged role in a child trafficking ring.


                        Iraq
                        The President has determined it is in the national interest of the United States to waive the application of the prohibition in section 404(a)
                        of the CSPA with respect to Iraq and has certiﬁed that the Government of Iraq (GOI) is taking effective and continuing steps to address the
                        problem of child soldiers.
                        U.S. strategy in Iraq is focused on working with the GOI to achieve a uniﬁed, democratic, peaceful, and inclusive Iraq by defeating ISIS;
                        promoting good governance and reform; supporting the increased capacity and professionalization of Iraq’s security forces to bring them
                        more in line with international best practices; promoting respect for human rights; and promoting the protection of Iraq’s diverse and often
                        marginalized communities. This waiver will allow the United States to continue to provide the assistance, support, and human rights training
                        necessary to achieve these goals, and to help Iraq build its capacity to continue conducting effective, sustained counterterrorism operations
                        against ISIS.
                        The GOI is taking effective and continuing steps to address the problem of child soldiers. As of 2020, Iraqi law prohibited recruitment
                        of any person younger than age 18 into governmental armed forces, including governmental paramilitary forces, militia groups, or other
                        armed groups. There were no reports of child soldiers used within the Iraqi military during the most recent CSPA reporting period, and the
                        government reportedly provided training to military officers on child soldier issues. The Iraqi government’s inter-ministerial senior committee

    616                                                                                                                                      Haiti AR_001097                 616
         Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 722 of 729




                                                                                                                                                              CHILD SOLDIERS REPORT
      to monitor, evaluate, and report on human rights violations involving children in conﬂict zones in Iraq continued to closely coordinate with
      an international organization during 2020 and thus far in 2021. The government also continued to discuss the development of an action plan
      with an international organization to address the recruitment and use of children by militias under Iraqi government control.
      The U.S. Government will continue to encourage the GOI to monitor progress and take additional actions to prevent the unlawful recruitment
      and use of child soldiers, and to identify, demobilize, rehabilitate, and reintegrate any children found serving in militias associated with the
      Popular Mobilization Forces (PMF). The United States government urges the GOI to continue its efforts to assert command and control over
      all elements of the PMF.


      Libya
      The President has determined it is in the national interest of the United States to waive the application of the prohibition in section 404(a) of the
      CSPA with respect to the Government of National Unity (GNU) in Libya to allow for the provision of IMET and PKO assistance and DoD support
      provided pursuant to 10 U.S.C. 333 and has certiﬁed the GNU is taking effective and continuing steps to address the problem of child soldiers.
      The Department of State assesses that immense insecurity coupled with social and economic hardships caused by periods of prolonged
      conﬂict are the primary drivers for the ongoing unlawful recruitment and use of child soldiers in Libya. In addition to GNU-aligned units,
      others, including the self-styled Libyan National Army, have engaged in the recruitment and use of child soldiers. The Department of State
      further assesses that the most durable solution to the unlawful recruitment and use of child soldiers will be a negotiated political settlement
      that ends Libya’s instability and the cycles of conﬂict. The October 2020 ceaseﬁre agreement, the Libya Political Dialogue Forum roadmap
      for elections in December 2021, and the establishment of the internationally recognized GNU, Libya’s interim government, represent progress
      in this regard. The GNU and its military leaders are critical interlocutors in these discussions. In the absence of a political settlement, ﬁghting
      could resume in Libya and further destabilize the broader region, creating the operating space for violent extremists to regroup.
      The United States provides targeted assistance to strengthen key Libyan institutions and build security capacity, promote political reconciliation,
      and increase Libya’s capacity to stand on its own through more effective governance.
      The Department of Defense intends to re-engage with and build the capacity of the Libyan armed forces under 10 U.S.C. 333 in support of
      U.S. national interests in ﬁghting terrorism, countering violent extremist organizations, and addressing improvised explosive devices. This
      support would be intended to provide carefully calibrated capacity-building for units not directly engaged in the current conﬂict.
      The GNU is taking effective and continuing steps to address the problem of child soldiers, including by working closely with the U.S. government
      in the context of our recurring bilateral Security Dialogue to disarm and demobilize militias, which engage in child soldier recruitment and
      use. GNU security sector leaders are also closely engaged in UN-led efforts to implement the terms of the October 23, 2020, Libyan ceaseﬁre
      agreement, which could remove the impetus for the unlawful recruitment and use of child soldiers. The U.S. government will continue to engage
      with the Libyan government to urge militias to cease the unlawful recruitment of children and to make proper referrals for such children.
      The GNU has also agreed to continue providing access to an international fact-ﬁnding mission created under the auspices of the UN Human
      Rights Council in June 2020 to document human rights abuses in Libya. The fact-ﬁnding mission has a mandate to document abuses by the
      Libyan government and non-state militias, including the unlawful recruitment or use of children.


      Nigeria
      The President has determined it is in the national interest of the United States to waive the application of the prohibition in section 404(a)
      of the CSPA with respect to the Government of Nigeria (GON), and has certiﬁed that the GON is taking effective and continuing steps to
      address the problem of child soldiers.
      This waiver is needed to achieve our national security goals during the next ﬁscal year; restricting security assistance for Nigeria would
      undermine our ability to carry out these national security objectives. Nigeria has shown notable progress in its efforts to end recruitment
      and use of child soldiers. Nigeria was included on the 2021 CSPA list due to the use of two children by the Civilian Joint Task Force (CJTF), a
      government-supported non-state armed group, at a single checkpoint in Borno State, which was immediately remedied. The quick remediation
      is a strong indication of progress Nigeria has made. The UN has also commended Nigeria for the progress it has made and the Secretary
      General’s 2020 Children And Armed Conﬂict Report for Nigeria delisted the CJTF following a signiﬁcant decrease in the recruitment and use
      of children through the continued implementation of its action plan, which was signed with the United Nations in 2017.
      The U.S. government's current security assistance goals with Nigeria are to: build more capable, professional, and accountable Nigerian
      security forces that respect human rights and protect civilians while building its ability to participate in counterterrorism operations and build
      its maritime security capabilities. These goals are directly aligned with the interim National Security Strategy, Africa Strategy, Africa Bureau,
      and Mission Nigeria goals for security assistance.
      A full waiver would allow the ability to provide IMET, FMF, PKO, EDA, and Department of Defense support provided pursuant to 10 U.S.C. 333.
      IMET funds training and education to increase the professionalization of the military, including through professional military education (PME)
      training in the United States. Nigeria would be eligible to receive FMF in FY 2022 through the Countering Chinese Inﬂuence Fund (CCIF).
      Section 333 is used to increase Nigeria’s counterterrorism capabilities including supporting the Air-to-Ground Integration (AGI) program,
      which integrates intelligence, surveillance and reconnaissance (ISR), precision strike, and military intelligence to increase the effectiveness
      of the Nigerian Air Force while reducing the potential for civilian harm through human rights and IHL training in support of the nationally
      funded FMS Super Tucano A-29 lines of effort. Section 333 is also used to support a related ISR effort to provide tactical Unmanned Aerospace
      Systems (UAS). Lastly, section 333 is used to support counter-improvised explosive devices (C-IED) or route clearance programming which
      enables the Nigerian military to escort humanitarian assistance convoys in the volatile Northeast where the violence wrought by ISIS-West
      Africa and Boko Haram has displaced 1.8 million civilians and rendered 9.8 million in the Lake Chad region in need of humanitarian assistance.
      Nigeria may receive EDA for maritime security improvements in the form of former U.S. Coast Guard vessels, which have been used to improve
      maritime navigation and counter-piracy efforts in the Gulf of Guinea and Niger Delta. PKO-funded assistance to Nigeria includes support
      through the Trans Sahara Counterterrorism Partnership (TSCTP) program to build its counterterrorism capacities including AGI advisory
      support to increase Nigerian Air Force effectiveness and reduce civilian harm; advisory support for Nigerian military intelligence institutions;
      and Civil-Military Operations training. In FY 2022, support is expected to strengthen Nigerian cadre and training facilities at their basic and
      advanced infantry schools and develop curriculum for Nigeria’s Defence Intelligence College. A full waiver of the application of the prohibition

617                                                                                                                              Haiti AR_001098                   617
                        Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 723 of 729
CHILD SOLDIERS REPORT
                        in section 404(a) of the CSPA with respect to Nigeria allows the U.S. government to continue to provide security assistance in delivery of
                        the above lines of effort. Waiver of the application of the prohibition on the issuance of export licenses for DCSis also critical to maintaining
                        existing security cooperation efforts.
                        The Government of Nigeria is taking effective and continuing steps to address the problem of child soldiers, including the steps outlined above.
                        In addition, consistent with the Action Plan signed with the UN, the Borno State government continues to work with the CJTF to release any
                        child soldiers and cease the recruitment of any new child soldiers.


                        Pakistan
                        The President has determined it is in the national interest of the United States to waive the application of the prohibition in section 404(a)
                        of the CSPA with respect to Pakistan and has certiﬁed that the Government of Pakistan (GOP) is taking effective and continuing steps to
                        address the problem of child soldiers.
                        Security assistance to Pakistan subject to the CSPA restriction supports critical U.S. objectives of promoting regional stability and
                        counterterrorism in South Asia. The U.S.-Pakistan security relationship is vitally important to U.S. Afghanistan policy, including the ongoing
                        withdrawal of U.S. troops and the evacuation of U.S. government personnel, U.S. citizens, certain third country nationals, and vulnerable
                        Afghans. In particular, the United States relies heavily on Pakistan’s inﬂuence with Taliban-affiliated groups in the ongoing Afghan negotiation
                        process: Pakistan has facilitated Taliban leaders’ participation in negotiations, which is one of the few venues by which the United States can
                        exert inﬂuence on conditions in Afghanistan following the withdrawal of U.S. forces. The continued provision of U.S. security assistance will be
                        essential for Pakistan’s ability and willingness to play a helpful role in this process and to furthering our broader regional security objectives.
                        Further, the GOP is one of the only external actors potentially able to inﬂuence Taliban groups in Afghanistan that recruit and use child soldiers.
                        While the United States must be clear-eyed that Pakistan has a limited ability to impact local recruitment decisions by Taliban-affiliated
                        commanders in Afghanistan, preserving our security relationship with Pakistan gives us more space to encourage the GOP to engage with
                        Taliban leaders on this issue.
                        The GOP is taking effective and continuing steps to address the problem of child soldiers. The Pakistani military does not recruit, use, or
                        condone the use of child soldiers. In accordance with the Pakistan National Service Ordinance of 1970, the Pakistani military does not permit
                        voluntary enlistment before the age of 16 or deployment for combat before the age of 18. Pakistan does not have compulsory recruitment at
                        any age. The Government of Pakistan has expressed openness to working with us to identify ways to pressure the Taliban groups to cease its
                        recruitment and use of child soldiers. Speciﬁcally, the Pakistani MFA noted in a July 2 press release that “it expects the sharing of ‘credible
                        information’ on cases involving Trafficking in Persons as well as on allegations pertaining to support to armed groups using child soldiers.”
                        We will work with Pakistani authorities to develop an engagement plan over the coming year.
                        Finally, U.S. security assistance to Pakistan protects U.S. national security by helping maintain a system of end-use authorization monitoring
                        and technical security for equipment, which the United States has already provided to Pakistan, such as F-16s and affiliated ammunitions.
                        Halting U.S. assistance in these areas would put at risk the technical security of these sensitive U.S. military technologies. Further, in the wake
                        of the Taliban takeover of Afghanistan, we will be increasingly reliant on Pakistan to conduct counterterrorism operations and allow continued
                        access to their Air Lines of Communication, which is currently our only access.


                        Somalia
                        The President has determined it is in the national interest of the United States to waive in part the application of the prohibition in section
                        404(a) of the CSPA with respect to Somalia to allow for the provision of IMET, PKO, and support provided pursuant to 10 U.S.C. 333 and has
                        certiﬁed that the Government of Somalia is taking effective and continuing steps to address the problem of child soldiers.
                        The U.S. strategy in Somalia focuses on achieving a uniﬁed, peaceful, and democratic Somalia, with a stable and representative government
                        able to defeat the foreign terrorist organization al-Shabaab; prevent terrorists and pirates from using its territory as a safe haven; provide
                        for its own internal defense; and facilitate and foster development, growth, and political inclusion, while progressing towards long-term
                        stability and prosperity. The waiver for IMET assistance will support the professionalization of the Somali military. This assistance enables the
                        U.S. government to continue to fulﬁll its goal of assisting the Federal Government of Somalia (FGS) to build effective and rights-respecting
                        security forces, which are indispensable to achieving greater military effectiveness. The waiver for PKO assistance, used in assisting efforts
                        to form broad-based, multi-clan Somali security forces, will also support this goal. Further, a waiver for support provided by the Department
                        of Defense pursuant to 10 U.S.C. 333 will allow for U.S. government assistance to build the Somali military's capacity to conduct effective,
                        sustained counterterrorism operations against al-Shabaab and, through cooperation, help reinforce U.S. values including those related to
                        preventing and responding to the unlawful recruitment and use of child soldiers.
                        The FGS is taking effective and continuing steps to address the problem of child soldiers. The FGS agreed on an action plan with the United
                        Nations in 2012 to end the recruitment and use of children by the Somali National Army (SNA). While implementation of the action plan at
                        the subnational level was limited until 2016, the SNA’s Child Protection Unit (CPU), which is partially funded by the United States, has put
                        particular emphasis on screening, training, and disseminating media to prevent the recruitment and use of child soldiers. The FGS continued
                        to rely on the CPU, which uses UN-approved materials on the prevention of child soldiers in its SNA screenings. In 2020, the CPU reported
                        that it screened 4,899 SNA soldiers, a three-fold increase from its screening of approximately 1,500 troops in 2019. The CPU did not ﬁnd
                        any cases of recruitment or use of children among the screened forces in 2020. The CPU raised awareness of child protection activities in
                        line with UN guidelines through inter-ministerial meetings with the Ministries of Women and Human Rights Development, Internal Security,
                        Justice, Health, and Education and developed and disseminated radio and print media content regarding the prevention of child recruitment
                        and conscription in armed conﬂict. The CPU also led efforts within the Ministry of Defense to draft a human rights policy to ensure Somali
                        armed forces’ compliance with international human rights obligations and commitments, including those relating to the recruitment and use
                        of children in armed conﬂict.
                        The United States continues to work with the FGS through the CPU and the UN to monitor progress and urge additional actions to prevent
                        the unlawful recruitment and use of child soldiers and to demobilize, rehabilitate, and reintegrate children identiﬁed in the SNA or associated
                        groups or previously associated with al-Shabaab.


    618                                                                                                                                      Haiti AR_001099
   Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 724 of 729




                                                                                                                                                     CHILD SOLDIERS REPORT
South Sudan
The President has determined that it is in the U.S. national interest to waive in part the application of the prohibition in section 404(a) of the
CSPA with respect to South Sudan to allow for provision of PKO assistance and has certiﬁed that the Government of South Sudan is taking
effective and continuing steps to address the problem of child soldiers.
PKO funds will be used to continue to support the Ceaseﬁre and Transitional Security Arrangements Monitoring and Veriﬁcation Mechanism
(CTSAMVM), which includes regional and international personnel that monitor, identify, and report on parties responsible for violations of the
December 2017 Agreement on the Cessation of Hostilities and the ceaseﬁre provisions of the September 2018 Revitalized Agreement on the
Resolution of the Conﬂict in the Republic of South Sudan (R-ARCSS). PKO funds will also be used to continue support to the Reconstituted
Joint Monitoring and Evaluation Commission (RJMEC), which oversees overall implementation of the R-ARCSS. Notably, the R-ARCSS requires
the Government of South Sudan to refrain from the recruitment and/or use of child soldiers. PKO funds have been used to support UNICEF’s
child soldier prevention efforts in South Sudan. Given the essential role that these monitoring mechanisms or efforts play as the parties to the
R-ARCSS continue to work to implement the peace agreement and form a transitional government, waiving restrictions to PKO assistance is
in the U.S. national interest to help avoid a return to conﬂict.
The Government of South Sudan is aware that recruitment and use of child soldiers is a problem and is taking effective and continuing steps
to release child soldiers and prevent future recruitment and use. However, lack of capacity, poor communication, poor command and control
of troops, and traditional cultural practices have impeded the government’s ability to fully address the problem of child soldiers.
By signing and beginning to implement the R-ARCSS the government has affirmed its intent to end the recruitment and use of child soldiers.
The government’s efforts to address child soldiers are continually discussed at regular RJMEC and CTSAMVM meetings. South Sudan is party
to the Optional Protocol to the Convention on the Rights of the Child on the involvement of children in armed conﬂict, and in the ﬁrst half
of 2020, armed groups released an additional 44 child soldiers. UNMISS and UNICEF worked with the government to establish a process for
identifying child soldiers and advocating for their release through the Disarmament, Demobilization, and Reintegration (DDR) commission,
established under the R-ARCSS. UNMISS reported that the government has been cooperative in its efforts to assess and verify child soldiers. In
February 2020, the Government of South Sudan signed a comprehensive action plan with the UN to address the “six grave violations against
children,” including unlawful recruitment and use, through the establishment of high-level and technical committees to ensure independent
and prompt investigations and prosecutions of government perpetrators of crimes involving unlawful recruitment or use of children. Despite
commitments from the Government of South Sudan and armed groups, the UN continues to verify reports of unlawful recruitment or use of
children committed by all parties to the conﬂict, and implementation of the action has been delayed. Signiﬁcant work needs to be done to
address this practice in South Sudan, and the U.S. government will continue to urge the government to take additional steps to prevent the
unlawful recruitment or use of child soldiers. Multiple NGO reports indicate the continued unlawful recruitment and use of child soldiers by
governmental armed forces and that the collection and veriﬁcation of information pertaining to child soldier recruitment and use was often
hindered by access constraints. A waiver to allow the continuation of PKO assistance to support CTSAMVM and RJMEC will help to address
the Government of South Sudan’s unlawful recruitment and use of child soldiers by allowing critical funding for the continued operation of
these key oversight and monitoring mechanisms.


Turkey
The President has determined it is in the national interest of the United States to waive the application of the prohibition in section 404(a)
of the CSPA with respect to Turkey and has certiﬁed that the Government of Turkey is taking effective and continuing steps to address the
problem of child soldiers.
U.S. strategic interests overlap with Turkey’s in many areas, including countering terrorism, ending the conﬂict in Syria, and supporting NATO
deterrence objectives. Turkey makes crucial contributions to NATO missions around the world. Our partnership with Turkey—which has the
second largest standing military in NATO— enables us to project power in the region and defend NATO’s eastern and southern ﬂanks. Turkey
helps constrain Russian inﬂuence in the region—both through Ankara’s support of Ukraine’s and Georgia’s sovereignty as well as through
Turkey’s role in Syria, the Caucasus, and Libya. In Syria, Turkey’s presence in the northwest acts as an important counterweight to indiscriminate
offensives by the Assad regime, protecting some 4 million Syrians; new attacks there would be both a humanitarian catastrophe and likely
launch a new wave of refugees into Turkey and Europe. Within its own borders, Turkey also supports four million refugees, including 3.6 million
Syrians, making Turkey the largest refugee-hosting country in the world. The United States also has an important economic relationship with
Turkey, one that generates upwards of $20 billion in annual bilateral trade. The Department approves arms sales to Turkey which protect
U.S. interests in the region, maintain NATO deterrence, cohesion, and interoperability, and ensure Turkey can continue its productive role in
NATO missions around the world.
Turkey was included on the 2021 CSPA list because Turkey provided support to the Sultan Murad Division, a Syrian non-state armed group
that recruited and used child soldiers. The Department of State is not aware of evidence that Sultan Murad recruited child soldiers while in
Turkey. This is the ﬁrst time Turkey has been included on the CSPA list. Military assistance as well as the issuance of export licenses for Direct
Commercial Sales (DCS) of military equipment to the Government of Turkey, are crucial to maintaining cooperation with Turkey that advance
U.S. interests and strengthen the NATO alliance.
The Government of Turkey is taking effective and continuing steps to address the problem of child soldiers, including the recruitment or use
of child soldiers by armed groups it supports, including the Syrian National Army (SNA) umbrella under which the Sultan Murad Division
falls. Following Turkish pressure, in summer 2020 the SNA conducted training on the law of armed conﬂict. Following Turkish pressure, the
Syrian Interim Government (SIG) Ministry of Defense, which is designated to oversee the SNA, also issued a decree in May 2020 prohibiting
the recruitment or use of persons under the age of 18. Mission Turkey also continues to engage with the Turkish government to urge Turkey
to cease support, including operational, in-kind, and ﬁnancial support, to armed groups that recruit or use child soldiers. The U.S. government
also continues to urge Turkey to use its inﬂuence with the SNA to end its recruitment and use of child soldiers, including in support roles.




                                                                                                                         Haiti AR_001100                 619
                          Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 725 of 729
CHILD SOLDIERS REPORT
                           Yemen
                           The President has determined that it is in the national interest of the United States to waive in part the application of the prohibition in section
                           404(a) of the CSPA with respect to Yemen to allow for provision of PKO, IMET, and DOD support provided pursuant to 10 U.S.C 333 and has
                           certiﬁed that the Government of Yemen is taking effective and continuing steps to address the problem of child soldiers.
                           It is in the U.S. national interest to support efforts to bring about a negotiated political settlement led by the United Nations Office of the
                           Special Envoy of the Secretary-General for Yemen and supported by the U.S. Special Envoy for Yemen. This waiver will allow assistance
                           that directly contributes to efforts to advance the UN-led political process. Additionally, a critical element of ending the conﬂict in Yemen
                           is our counterterrorism campaign and efforts to counter Iranian arms smuggling to the Houthis. Building the capacity of the Republic of
                           Yemen Government (ROYG) to meet these goals furthers important U.S. government security interests to include enhancing homeland
                           security, while simultaneously moving toward the goal of ending the conﬂict in Yemen. An end to the conﬂict will be critical in preventing the
                           further deterioration of socio-economic and security conditions, ensuring long-term stability, and securing the space for restoring effective
                           governance institutions that can partner with the United States and the international community in combatting terrorism. The Department
                           of State assesses that the social and economic disruption caused by the conﬂict are the primary drivers for the ongoing unlawful recruitment
                           and use of child soldiers in Yemen by all parties to the conﬂict.
                           To that end, PKO funding may be used to support UN Special Envoy efforts, including the participation of Yemen’s military leadership, to
                           reach an agreement to end the Yemeni conﬂict and allow for the resumption of a peaceful, inclusive, and Yemeni-led political transition.
                           IMET funding will be used to build capacity within the ROYG military by sending selected military officers to the United States for non-technical
                           training. These Professional Military Education courses would focus on the professionalization of military forces and would bolster respect
                           for the rule of law within the Yemeni Armed Forces. In turn, this training would support our efforts to prevent recruitment and use of child
                           soldiers both now and in the future.
                           The Department of Defense intends to use its authority under 10 U.S.C. 333 to re-engage with and build the capacity of the Yemeni Armed
                           Forces—the military of the recognized government of Yemen—in support of U.S. national interests in ﬁghting terrorism, countering violent
                           extremist organizations and illicit smuggling, and ensuring freedom of navigation through the Bab Al-Mandeb Strait. Critically, this focused
                           support would increase Yemeni capacity to counter malign Iranian activity, including the smuggling of lethal weapons that are contributing
                           to the continuation of the conﬂict. This carefully calibrated support would be provided to the Yemen Border Guard, Yemen Coast Guard, and
                           Yemen Special Operations Forces units not directly engaged in the current battlefront in the region surrounding Ma’rib, but rather working
                           to limit malign third-party inﬂuences contributing to the on-going conﬂict and crisis.
                           The ROYG is taking effective and continuing steps to address the problem of child soldiers. However, military escalation by the Houthis, political
                           tensions with the Southern Transitional Council, the COVID-19 pandemic, and the ROYG’s exercise of only nominal control of large areas of
                           the country during the reporting period have posed serious challenges. In March 2020, the government launched a rehabilitation program
                           for Houthi-recruited child soldiers in Ma’rib, in collaboration with NGOs and funding support from King Salman Humanitarian Aid and Relief
                           Center (KS Relief). In the face of decreased funding from KS Relief during the summer of 2020, the ROYG pursued funding from European
                           missions to continue programming in Mar’ib to address child soldiering. In October 2020, at the direction of President Hadi, the ROYG pursued
                           reports by the UN that armed forces under its control had engaged in recruitment or use of child soldiers by requesting details from the UN
                           Task Force as to speciﬁc military units, dates, and/or locations as to the incidents for the President to address. On June 6, 2020, the ROYG
                           Information Minister Muammar al-Eryani condemned Houthi child soldier recruitment. On June 7, 2021, the ROYG Ministry of Legal Affairs and
                           Human Rights organized a workshop in Aden on detecting child soldier recruitment and the Deputy Minister, Dr. Samir al-Shaibani, affirmed
                           the government’s commitment to implement the road map jointly developed with the United Nations that the ROYG signed in December
                           2018 to end and prevent child solider recruitment. Public statements by government officials against the unlawful recruitment and use of
                           child soldiers and improvements in reporting, prevention, and protection mechanisms demonstrate that, even with its limited capacity, the
                           Government of Yemen continues to address the issue of child soldiers in a meaningful manner.


                        SECTION 5. DESCRIPTION AND AMOUNT OF ASSISTANCE PROVIDED PURSUANT TO A WAIVER.
                           The information provided below only includes assistance obligated as of April 5, 2022. Additional assistance will be obligated during FY 2022.


                           Democratic Republic of the Congo
                           International Military Education Training                                                                                             $158,213.26
                           As of April 5, 2022, IMET funding was obligated for the following activity:
                           military professionalization training.
                           Peacekeeping Operations                                                                                                           $2,998,537.00
                           As of April 5, 2022, PKO funding was obligated in FY 2022 to support a military engineering
                           capacity building project.

                           Iraq
                           International Military Education Training                                                                                            $461,952.46
                           As of April 5, 2022, IMET funding was obligated for the following activity:
                           military professionalization training.




    620                                                                                                                                          Haiti AR_001101
  Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 726 of 729




                                                                                                                                     CHILD SOLDIERS REPORT
Nigeria
International Military Education Training                                                                             $308,034.36
As of April 5, 2022, IMET funding was obligated for the following activity:
military professionalization training.
Peacekeeping Operations                                                                                               $281,985.00
As of April 5, 2022, PKO funding was obligated in FY 2022 to support military intelligence
capacity building as part of the Trans Sahara Counterterrorism Partnership program.
10 U.S.C.333                                                                                                         $1,357,703.45
As of April 5, 2022, DoD section 333 funding was obligated for the following activities: training
and equipment.

Pakistan
International Military Education Training                                                                             $439,072.49
As of April 5, 2022, IMET funding was obligated for the following activity:
military professionalization training.

Somalia
International Military Education Training                                                                              $216,891.57
As of April 5, 2022, IMET funding was obligated for the following activity:
military professionalization training.
Peacekeeping Operations                                                                                             $27,884,475.23
As of April 5, 2022, PKO funding was obligated for Somali National Army and Somali Ministry
of Defense for the following activities: logistical support; stipends; advisory support; training; equipment;
and program oversight.
10 U.S.C. 333                                                                                                        $3,705,191.38
As of April 5, 2022, 333 funding was obligated for the following activities: training and equipment.

South Sudan
As of April 5, 2022, no PKO funds have been obligated.

Turkey
International Military Education Training                                                                             $100,749.45
As of April 5, 2022, IMET funding was obligated for the following activity:
military professionalization training.

Yemen
International Military Education Training                                                                             $526,295.66
As of April 5, 2022, IMET funding was obligated for the following activity:
military professionalization training.




                                                                                                                Haiti AR_001102          621
            Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 727 of 729
GLOSSARY
           GLOSSARY OF ABBREVIATIONS
                              ASEAN            Association of Southeast Asian Nations
                            ECOWAS             Economic Community of West African States
                                   EU          European Union
                           EUROPOL             European Union Agency for Law Enforcement Cooperation

                                FARC           Revoluntionary Armed Forces of Colombia
                                               Council of Europe’s Group of Experts on Action against
                              GRETA
                                               Trafficking in Human Beings
                                  IDP          Internally displaced person
                                  ILO          International Labour Organization
                           INTERPOL            International Criminal Police Organization
                                  IOM          International Organization for Migration
                                  ISIS         Islamic State of Iraq and Syria
                            LGBTQI+            Lesbian, Gay, Bisexual, Transgender, Queer, and Intersex
                                 NGO           Nongovernmental organization
                                 OAS           Organization of American States
                                OSCE           Organization for Security and Co-operation in Europe
                                   UN          United Nations
                              UNHCR            United Nations High Commissioner for Refugees
                              UNICEF           United Nations Children’s Fund
                              UNODC            United Nations Office on Drugs and Crime
                    UN TIP Protocol            Protocol to Prevent, Suppress and Punish Trafficking in Persons,
                 (Palermo Protocol)            Especially Women and Children, supplementing the United Nations
                                               Convention against Transnational Organized Crime



                Note: Local currencies have been converted to U.S. dollars ($) using the currency exchange rates reported by the
                U.S. Department of the Treasury on December 31, 2021.




 622                                                                                                       Haiti AR_001103
       Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 728 of 729




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                                                                                          Haiti AR_001104    623
                      Case 6:23-cv-00007 Document 93-4 Filed on 03/24/23 in TXSD Page 729 of 729
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   624                                                                                                                            Haiti AR_001105
